                                             09-50026-mg                 Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 1 of 850
Name                                              Address1                             Address2                   Address3    Address4          City            State Zip

0 TRAVIS J MYATT                                  3364 GERNADA                                                                                  CLIO            MI    48420‐1913
012‐54‐907 P AVERITT                              C/O BARBARA DICICCO                  29 BLACK PLAIN RD                                        EXETER          RI    02822‐2107
0711 R LACHAPELLE                                 3112 PIKE WOOD COURT                                                                          COMMERCE        MI    48382‐1441
0BEIDO HORTA                                      12380 SW 230TH ST                                                                             MIAMI           FL    33170‐4481
0DA M JOHNSON & GORDON C JOHNSON JT TEN           17 CHARLES CT                                                                                 BUFFALO GROVE   IL    60089‐4315
0ONALD L SMALLENBERGER CUST JASON L               231 S NEBRASKA AVE                                                                            MORTON          IL    61550‐2743
SMALLENBERGER UTMA IL
1 S FRANCISCO                                     9132 SOUTH ALBANY                                                                             EVERGREEN PRK   IL    60805‐1717
144‐18‐ ARROYO                                    115 SW 60TH AVE                                                                               MIAMI           FL    33144‐3342
1510 LATIMER ST INC                               C/O SEITCHIK                         LAND TITLE BLDG STE 1310                                 PHILA           PA    19110
1995 WAGNER PARTNERSHIP INVESTMENT CLUB           25826 N 102 AVENUE                                                                            PEORIA          AZ    85382‐9741
4‐H CARTEENS                                      C/O REBECCA J CROPPER                740 MT ORAB PIKE                                         GEORGETOWN      OH    45121‐1182
4‐H CLUB FOUNDATION OF SOUTH DAKOTA INC           BOX 2207E SDSU AG HALL                                                                        BROOKINGS       SD    57007‐0001
4‐H FUTURETTES CLUB                               C/O DARREL D SIEKMAN                 COURTHOUSE‐‐BOX 27                                       CENTRAL         NE    68826‐0027
4‐H SAFETY CLUB                                   ATTN RENEE DOTSON                    92 SAND ST                                               ELLIJAY         GA    30540
439 EAST 76TH ST INC                              C/O ELLIS E GOLUB                    202 DRAKES DRUM DR                                       BRYN MAWR       PA    19010‐1129
4NK LIMITED PARTNERSHIP                           PO BOX 899                           1005 WEST 10TH STREET                                    POST            TX    79356‐2451
4ROBERT J MOYER                                   722 ALBRIGHT DR                      APT 203                                                  MEADVILLE       PA    16335‐9446
95 WATER STREET INC                               526 VIENNA ST                                                                                 NEWARK          NY    14513‐9177
A A BURCH                                         605 E POND ROAD                                                                               DOUGLAS         GA    31533‐0722
A A CORSALINI                                     171 DELTA ROAD                                                                                EGGERTSVILLE    NY    14226‐2043
A A RAMOS                                         35‐33 87TH ST                                                                                 JACKSON HGTS    NY    11372‐5631
A A SUGG                                          BOX 5890                                                                                      SAN ANGELO      TX    76902‐5890
A AGUILERA                                        3020 SW98 AVE                                                                                 MIAMI           FL    33165‐2944
A ALAN SOBEL CUST KENNETH SOBEL UNDER THE         10730 NW 66TH ST #408                                                                         MIAMI           FL    33178‐3708
FLORIDA GIFTS TO MINORS ACT
A ALDEN HOFLING & MRS JOSETTE M HOFLING JT TEN    154 STRAITS RD                                                                                NEW HAMPTON     NH    03256‐4713

A ALVIN LANE                                      3991 PINE GROVE RD                                                                            PORT HURON      MI    48060‐4219
A ARAKELIAN                                       6040 OAKLAND AVE                                                                              OAK FOREST      IL    60452‐1826
A ASHTON DOVEL                                    136 SEA ISLE CIRCLE                                                                           SOUTH DAYTONA   FL    32119‐2229
                                                                                                                                                BCH
A ATLEE RADCLIFFE III                             106 UPPER COLLEGE TER                                                                         FREDERICK       MD    21701‐4840
A B ALLESHOUSE                                    7892 E R AVE                                                                                  SCOTTS          MI    49088‐9738
A B DAVIS SR                                      174 N ASTOR STREET                                                                            PONTIAC         MI    48342‐2502
A B LOOPER                                        4680 MOONEYHAM LONEWOOD ROAD                                                                  SPENCER         TN    38585‐4022
A B SHELLEY                                       101 POST OAK                                                                                  MANSFIELD       LA    71052‐6524
A BARRY MCGUIRE & HOLLY MCGUIRE JT TEN            1740 WELLINGTON RD APT 212                                                                    LANSING         MI    48910‐1178
A BAUZA                                           407 TURNEUR AVE                                                                               BRONX           NY    10473‐1620
A BEN REAVES & MRS FANNIE REAVES JT TEN           130 NORWOOD DR                                                                                ATHENS          GA    30601‐1056
A BERNARD HAIGHT JR                               5052 PINE BRANCHES CLOSE                                                                      DUNWOODY        GA    30338‐4006
A BERNICE LITTLE                                  2008 BAILEY ST                                                                                OAKFORD         PA    19053‐3504
A BOYD CLEMENTS & BETH S CLEMENTS TR CLEMENTS     350 E NORTHVIEW                                                                               PHOENIX         AZ    85020‐4933
FAM TRUST UA 10/03/97
A BYRIAN WATTS                                    4427 WHITES GAP RD                                                                            JACKSONVILLE    AL    36265‐8657
A BYRON COLLINS                                   6497 CUNNINGHAM CREEK RD                                                                      CANISTEO        NY    14823‐9661
A C BRADFIELD                                     6668 W 9 MILE RD                                                                              IRONS           MI    49644‐7106
A C CAMPBELL                                      2118 N UNION RD                                                                               TROTWOOD        OH    45426‐3420
A C CUMMINS                                       45 CHESTNUT STREET                                                                            AVENEL          NJ    07001‐2141
A C CURRIE                                        5121 MCCLELLAN                                                                                DETROIT         MI    48213‐3083
A C GATES                                         4087 KENDALL                                                                                  DETROIT         MI    48238‐2654
A C HAULMARK JR                                   33525 W 85TH ST                                                                               DE SOTO         KS    66018‐8117
A C HENDRICKS                                     2409 DRESDEN AVE                                                                              ROCKFORD        IL    61103‐3630
A C JACKSON JR TR UA 02/21/94 VIRGINIA E ALLUMS   1536 DOYLE DR                                                                                 DOWNINGTOWN     PA    19335‐3709

A C MC REE JR                                     1610 TRIMBLE HOLLOW RD S E                                                                    ADAIRSVILLE     GA    30103‐4038
A C MINELLA                                       16 MERRITT AVE                                                                                HIGHLAND        NY    12528‐1011
A C NICKELL                                       3690 STARLING ROAD                                                                            BETHEL          OH    45106‐9712
A C RUSSELL                                       3305 STAMM AVE                                                                                INDIANAPOLIS    IN    46240‐3538
                                             09-50026-mg                 Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 2 of 850
Name                                             Address1                              Address2               Address3        Address4          City              State Zip

A C SCHANICK JR                                  2396 MAPLELAWN DR                                                                              BURTON            MI    48519‐1338
A C SMITH & D C SMITH TR SMITH FAM REV LIVING    43279 SWAMP FOX CT                                                                             ASHBURN           VA    20147‐5309
TRUST UA 02/24/04
A CARAVELLA                                      3045 ESTERO BLVD                      APT 62                                                   FT MYERS BCH      FL    33931‐3626
A CARL SUMMERS                                   4402 HAMILTON ROAD                    DORCHESTER ON                          N0L 1G3 CANADA
A CATHLEEN MC CARTHY                             7534 33RD AVE NW                                                                               SEATTLE           WA    98117‐4711
A CHAVEZ                                         326 S CEDAR RIDGE CIRCLE                                                                       ROBINSON          TX    76706‐5670
A CHRISTIAN JACKSON & GLORIA COLLINS JT TEN      2 FIR ST                                                                                       HUDSON            NH    03051‐4719
A CHRISTOPHER EAMES                              2340 CAL YOUNG RD                                                                              EUGENE            OR    97401‐5154
A CLARK FLETCHER JR                              PO BOX E                                                                                       GREENSBORO        FL    32330‐0804
A CLIFTON SAMUELS & MARGARET B SAMUELS JT TEN    425 HANSON AVE                                                                                 FREDERICKSBURG    VA    22401‐3157

A CLINTON LINDBURG II                            9833 WATSON RD                                                                                 ST LOUIS          MO    63126‐1824
A CLYDE EIDE & LILLIAN F EIDE JT TEN             2046 E POWELL RD                                                                               LEWIS CENTER      OH    43035‐9510
A COMER HOBBS CUST COMER HOBBS III UGMA TN       1 KING ST APT 605                                                                              CHARLESTON        SC    29401

A COTARELO                                       25 CHESTNUT ST                                                                                 N TARRYTOWN       NY    10591‐2619
A CULLY TAYLOR JR                                443 VALMAR DR                                                                                  KEWANEE           IL    61443‐3648
A CURRY JR                                       446 NEVILLE ST                                                                                 PERTH AMBOY       NJ    08861‐3111
A D BRACKINS                                     9217 S 79TH AVE                                                                                HICKORY HILLS     IL    60457‐2151
A D DALTON                                       14430 LINDEN RD                                                                                BIRCH RUN         MI    48415‐8602
A D DALTON CAROL G DALTON                        14430 LINDEN RD                                                                                BIRCH RUN         MI    48415‐8602
A D NICHOLSON                                    209 N ST                                                                                       BEDFORD           IN    47421‐1709
A D R PHILLIPS                                   2052 WILLOW BEND DR                                                                            OAK LEAF          TX    75154‐3856
A D ROBINSON                                     19638 EAST RIVER RD                                                                            COLUMBIA STA      OH    44028‐9497
A D WILLIAMS                                     19460 AVON STREET                                                                              DETROIT           MI    48219‐2177
A DAVID TAKUS                                    30 SEWICKLEY HILLS DR                                                                          SEWICKLEY         PA    15143‐9117
A DENNIS GENOVESI                                11084 STRAYHORN DR                                                                             DALLAS            TX    75228‐2449
A DERMET MC CONNELL                              1465 RIVERMONT AVE                                                                             LYNCHBURG         VA    24503‐3925
A DINKELSPIEL                                    83WAVECREST AVE                                                                                LINDEN            NJ    07036‐6622
A DOMINIC C MARASIGAN                            674 MICHIGAN LN                                                                                ELK GROVE VILLAGE IL    60007‐2908

A DONALD MC KIBBIN JR                            3 BAY DR                                                                                       ENFIELD           NH    03748‐3564
A DUANE KNORST                                   PO BOX 159                                                                                     WATERVLIET        MI    49098‐0159
A E COLUCCI                                      125 EPPLER DR                                                                                  EASTON            PA    18040‐8798
A E KEYS                                         2878 IROQUOIS DR                                                                               THOMPSONS         TN    37179‐5004
                                                                                                                                                STATION
A E TAYLOR                                       PO BOX 357                                                                                     BRODHEAK          KY    40409‐0357
A EDWARD MC MURDO II                             1115 LOCUST GROVE LANE                                                                         CHARLOTTESVILLE   VA    22901‐5624

A EDWARD MILLER                                  150 PIZARRO DR                                                                                 HOT SPRINGS       AR    71909‐7927
                                                                                                                                                VILLAG
A EDWARD MILLER & MARY A MILLER TEN COM          150 PIZARRO DR                                                                                 HOT SPRINGS VLG   AR    71909‐7927
A EDWARD NORTON III & PENELOPE N NORTON JT TEN   26277 ELBA                                                                                     REDFORD TWP       MI    48239‐3103

A ELAINE BRACH                                   5105 KELSEY LANE                                                                               CLARKSTON         MI    48348‐3175
A ELAINE CAREY                                   APT C                                 2054 LAKEWOOD DR                                         DAYTON            OH    45420‐2066
A ELAINE TURNER                                  668 ALAYNE CT                                                                                  BRIGHTON          MI    48114‐9645
                                                                                                                                                TOWNSHIP
A ELAINE TURNER & ROBERT WILLIAM TURNER SR JT    668 ALAYNE CT                                                                                  BRIGHTON          MI    48114‐9645
TEN                                                                                                                                             TOWNSHIP
A ELEANOR MIRON                                  913 SPRUCE ST                                                                                  TRENTON           NJ    08638‐3968
A ELIZABETH WHITE                                69 WATERSIDE LANE                                                                              WEST HARTFORD     CT    06107‐3523
A EMERSON WILBY                                  1704 BROADMOOR DRIVE                                                                           RICHMOND          VA    23229‐4914
A EMMETT BARNES 4TH                              BUCKHEAD PLAZA STE 790                3060 PEACHTREE RD NW                                     ATLANTA           GA    30305‐2234
A ESCOBIO                                        APT 1‐A                               605 WEST 175TH ST                                        NEW YORK          NY    10033‐7929
A EUGENE KOZLOWSKI                               PO BOX 111                                                                                     SOUTH ORANGE      NJ    07079‐0111
A F CREECY                                       365 HOE AVENUE                                                                                 SCOTCH PLAINS     NJ    07076‐1134
A F DASILVA                                      8 SOMERSTOWN DR                                                                                OSSINING          NY    10562
                                             09-50026-mg                  Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 3 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

A F GARRIDO                                       6 SPRUCE ST                                                                                    NORTH             NY    10591‐1715
                                                                                                                                                 TARRYTOWN
A F NICKELSON‐INITIALS ONLY                       BOX 5311                                                                                       SHREVEPORT        LA    71135‐5311
A F PERROTTA                                      10654 AVENUE L                                                                                 CHICAGO           IL    60617‐6616
A F STADELMAIER                                   512 CONCORD AVE                                                                                ROMEOVILLE        IL    60446‐1316
A F TRAFTON                                       2100 CHESTNUT AVE                                                                              MANHATTAN         CA    90266‐2933
                                                                                                                                                 BEACH
A F WIRZ III                                  8207 MISTY LANDING CT                                                                              HUMBLE            TX    77396
A FERNANDEZ                                   29 SNOWFLAKE LANE                                                                                  NORTH EDISON      NJ    08820‐1461
A FRANK TOMBRAGEL & ESTHER M TOMBRAGEL JT TEN 4387 AIRYMONT COURT                                                                                CINCINNATI        OH    45211‐2724

A G BRANDENBURG & DOROTHY B G JT TEN              11900 NORTH ADAMS ROAD                                                                         NORTH ADAMS       MI    49262‐8724
A G BRANDENBURG & DOROTHY J BRANDENBURG JT        11900 NORTH ADAMS ROAD                                                                         NORTH ADAMS       MI    49262‐8724
TEN
A G EARP                                          522 SLICK ROCK RD                                                                              MOUNTAIN HOME     AR    72653‐8505

A G EDWARDS & SONS INC TR ROBERT J NEWELL IRA     5781 WEST MAIN STREET                                                                          OLCOTT            NY    14126‐0152

A G EDWARDS & SONS TR RONALD D WIK IRA            38201 14 MILE RD                                                                               FARMINGTON HILL   MI    48331‐5958

A G EDWARDS CUST LARRY G KEITH                    7611 E 50 N                                                                                    GREENTOWN         IN    46936‐1090
A G HENDERSON                                     857 CELIA LN                                                                                   LEXINGTON         KY    40504‐2305
A G MCDONALD                                      3904 SOUTHERN OAKS DR                 UNIT 5                                                   FAYETTEVILLE      NC    28314‐0999
A G PAXTON CO                                     180 W ROCKFORD DR                     H‐12                                                     BRANSON           MO    65616‐8854
A G WHITTLE                                       100 ACORN PL                                                                                   SPRING HILL       TN    37174‐2586
A GARY REDDICK                                    PO BOX 546                                                                                     EASTSOUND         WA    98245‐0546
A GARZA                                           4710 SPIRAL CREEK ST                                                                           SAN ANTONIO       TX    78238‐3623
A GEORGE CALDWELL                                 333 LEE DRIVE 180                                                                              BATON ROUGE       LA    70808‐0927
A GEORGE GRANT & HELENE GRANT JT TEN              ATTN SIEGEL                           24 TABOR CROSSING                                        LONGMEADOW        MA    01106‐1779
A GEORGE TRUETT & MARY R TRUETT JT TEN            7305 FULLER CIR                                                                                FORT WORTH        TX    76133‐6901
A GERARD LEONE TR A GERARD LEONE TRUST UA         65 MAPLETON                                                                                    GROSSE POINT      MI    48236‐3614
8/24/00                                                                                                                                          FARMS
A GLEN JOHNSON & DOLORES JOHNSON JT TEN           3323 PINEWOOD DR                                                                               NEW WATERFORD     OH    44445‐9619

A GRAHAM THOMSON                                  29 WALTON ST                                                                                   ALEXANDRIA        NY    13607‐1404
A GROH SCHNEIDER JR                               431 NORTH YORK RD                                                                              HATBORO           PA    19040‐2037
A H BOETTGER                                      127 SHERMAN AVENUE                                                                             MIDDLESEX         NJ    08846‐2524
A H DENIS III                                     BOX 84                                                                                         VAN COURT         TX    76955‐0084
A H MILSTEAD                                      2923 WOODWARDIA DRIVE                                                                          LOS ANGELES       CA    90077‐2124
A H WILLSON                                       4243 N GALE ROAD                                                                               DAVISON           MI    48423‐8952
A HAYS TOWN 3RD                                   PO BOX 80811                                                                                   BATON ROUGE       LA    70898‐0811
A HEATH LIGHT                                     11511 VALE ROAD                                                                                OAKTON            VA    22124‐1336
A HUNTER REYNAUD                                  6776 W MAIN ST                                                                                 HOUMA             LA    70360‐2420
A IRENE STARK & D JONATHAN STARK JT TEN           800 E SIGLIER RD                                                                               CARLETON          MI    48117‐9308
A J BARONE & JOSEPHINE M BARONE JT TEN            PO BOX 14564                                                                                   PHOENIX           AZ    85063‐4564
A J BRABAZON                                      7560 GRAND POINT                                                                               PRESQUE ISLE      MI    49777‐8644
A J BROCK                                         3455 WIEMAN ROAD                                                                               BEAVERTON         MI    48612‐8871
A J BROWN                                         4570 ELM STREET                                                                                BELLAIRE          TX    77401‐3718
A J DEATON                                        1821 BROADWAY BLVD                                                                             FLINT             MI    48506‐4464
A J KUCHAN                                        2611 NORTH 75TH AVE                                                                            ELMWOOD PARK      IL    60707‐1933
A J LARGENT & LUCY R LARGENT TR UA 12/03/90 THE   1420 FALLOWFIELD DR                                                                            NEW PRT RCHY      FL    34655
LARGENT TRUST
A J LATZKO                                        165 NORMANDY DRIVE                                                                             PISCATAWAY        NJ    08854‐3625
A J MCDANIEL                                      226 WOODLAND HEIGHTS                                                                           RECTOR            AR    72461
A J PREIS                                         7546 NORMILE ST                                                                                DEARBORN          MI    48126‐1680
A J ROCK                                          19225 HICKORY ST                                                                               MILAN             MI    48160‐9317
A J STUCKEY                                       4020 W 22ND PL                                                                                 GARY              IN    46404‐2817
A J TAYLOR                                        2425 PRARIE VIEW DR S W                                                                        ATLANTA           GA    30311‐1717
A J WLEKLINSKI                                    802 EAST 9TH ST                                                                                AUBURN            IN    46706‐2428
                                                09-50026-mg                Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 4 of 850
Name                                                Address1                             Address2             Address3          Address4          City             State Zip

A JACKSON CARREL                                  2838 LAKE VISTA RD                                                                              JACKSONVILLE     FL    32223‐7934
A JACQUES LANTAGNE                                640 BRIDLEWOOD CRES                    BURLINGTON ON                          L7L 4E1 CANADA
A JAMES BLUMBERG                                  75 CENTRAL PARK WEST                                                                            NEW YORK         NY    10023‐6011
A JAMES CHOJNICKI                                 17 LINDEN PARKWAY                                                                               NORWICH          CT    06360‐3413
A JAMES CHOJNICKI & MILDRED DE RUSHA CHOJNICKI JT 17 LINDEN PKWY                                                                                  NORWICH          CT    06360‐3413
TEN
A JAMES CHOJNICKI & MRS MILDRED DERUSHA           17 LINDEN PARKWAY                                                                               NORWICH          CT    06360‐3413
CHOJNICKI JT TEN
A JAMES TURPIN                                    219 SMYTHE DRIVE                                                                                SUMMERVILLE      SC    29485‐3418
A JEAN PRICE                                      3672 ELK RUN DR                                                                                 CASTLE ROCK      CO    80109
A JEANETTE CECIL & MICHAEL EADER JT TEN           206 S MONROE ST                        STE B                                                    TALLAHASSEE      FL    32301‐1801
A JEANNETTE ADAMS                                 615 LINWOOD                                                                                     PLESANT HILL     MO    64080‐1562
A JEROME PREIS & EVELYN PREIS JT TEN              7546 NORMILE ST                                                                                 DEARBORN         MI    48126‐1680
A JEROME WALNUT                                   11 E 12TH ST                                                                                    BARNEGAT         NJ    08006
A JOHN ARMBRUSTER JR                              111 N DIXON                                                                                     W PEORIA         IL    61604‐5476
A JOHN GIRONDA & ROSE MARIE GIRONDA TR UA         3192 YELLOWTAIL DRIVE                                                                           LOS ALAMITOS     CA    90720‐5249
06/13/89
A JOSEPH DIECKHAUS JR                             241 ORCHARD RD                                                                                  PAOLI            PA    19301‐1115
A JOSEPH SCHNEIDER                                6902 BERGENLINE AVE                                                                             GUTTENBERG       NJ    07093‐1808
A JOSEPH SCHUSTER                                 PO BOX 53                                                                                       DAUPHIN ISLND    AL    36528‐0053
A JOSEPH STERN CUST MOSHE DOV STERN UGMA NY       19 BROOKDALE COURT                                                                              HIGHLAND PARK    NJ    08904‐2720

A JOYCE HEDEMANN                                    505 S EGBERT ST                      BOX 636                                                  MONONA           IA    52159‐0636
A JUDSON BUSH JR TR A JUDSON BUSH JR LIVING TRUST   1502 ELEANOR CT                                                                               NORFOLK          VA    23508‐1046
UA 10/29/92
A K COLLINGWOOD                                     107 AVENUE DE COUR                   1001 LAUSANNE                          SWITZERLAND
A K FOWLER                                          3770 EMERALD AVE                                                                              ST JAMES CITY    FL    33956‐2205
A KALETA                                            2850 E 142ND ST                                                                               CHICAGO          IL    60633‐2057
A KATHRYN RIECK TOD JAMES J LYONS SUBJECT TO STA    1414 HIGHLAND AVE                                                                             KIRKSVILLE       MO    63501
TOD RULES
A KEITH CARTER & CAMELLIA A CARTER JT TEN           10 COUNTY ROAD 7012                                                                           BOONEVILLE       MS    38829‐9536
A KENNETH CARTER                                    1973 MEEKER HILL RD                                                                           LAFAYETTE        NY    13084‐9515
A KONRAD OLSEN                                      2726 WINONA RD                                                                                BALDWIN HARBOR   NY    11510‐3831

A KOUDOUNARIS                                       639 GOULD TERR                                                                                HERMOSA BEACH    CA    90254‐2240
A L CUEVAS                                          2155 SOUTH 155TH DR                                                                           GOODYEAR         AZ    85338‐2907
A L WEISS                                           36190 GOLDEN GATE DR                                                                          YUCAIPA          CA    92399‐9737
A LARRY ROSS                                        2838 EARLSHIRE LN                                                                             CARROLLTON       TX    75007‐4918
A LASIT                                             PO BOX 1401                                                                                   PEARL CITY       HI    96782‐8401
A LAVENER FORD                                      10355 FM 2661                                                                                 TYLER            TX    75704‐9466
A LESLIE JALABER & LUKEEYATU M JALABER JT TEN       247 MADISON ST                       APT 1                                                    BROOKLYN         NY    11216‐1401
A LOIS CROOK & ROSALYN L RUCKER JT TEN              9710 CEDAR GROVE RD                                                                           FAIRBURN         GA    30213‐1870
A LYNNE PARSONS                                     7 FRONT ST                                                                                    POCOMOKE CITY    MD    21851‐1011
A M BEEBEE III CUST MELLIFORA BEEBEE UTMA CA        4228 CHULA LENDA LN                                                                           LA CANADA        CA    91011‐3548
A M BONNER                                          229 E CLEARVIEW DR                                                                            COLUMBIA         MO    65202‐7977
A M CRIADO                                          2114 WOODGATE ST                                                                              YOUNGSTOWN       OH    44515‐5577
A M JERIS                                           117 EAST AVE                                                                                  WEST SENECA      NY    14224‐3171
A M MORAND JR                                       27 OLD LOCUST AVE                                                                             COURTLANDT       NY    10567‐4311
                                                                                                                                                  MANOR
A M RASHEED                                         1235 AUGUSTA DR                                                                               ALBANY           GA    31707‐5004
A M THIESSEN                                        960 HOPKINS RD #F                                                                             WILLIAMSVILLE    NY    14221‐8318
A MANIKYA RAO                                       546 REVERE AVE                                                                                WESTMONT         IL    60559‐1237
A MARIE COLOMBO TR A MARIE COLOMBO REV TRUST        11075 CEDAR VALLEY RIDGE DR                                                                   TRAVERSE CITY    MI    49684‐7763
UA 03/05/99
A MARIE KANDRA                                      709 VALLEY SPRINGS DRIVE                                                                      ARLINGTON        TX    76018‐2377
A MARIE MC CORMICK                                  1812 CHESTNUT HOLLOW LN                                                                       WEST CHESTER     PA    19382‐6774
A MARILYN WRIGHT                                    109 SAWMILL BEND                                                                              CHARDON          OH    44024‐1447
A MARVIN ARCHER                                     P O BOX 70                                                                                    DADE CITY        FL    33526
A MARY SPRINGER                                     5309 RAWLINGS CT                                                                              FLOWER MOUND     TX    75028‐1020
                                                 09-50026-mg                Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 5 of 850
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

A MAURICE GOLDBERG                                 1359 MELIA ST                                                                                   CAMARILLO         CA    93010‐1962
A MAXINE MARKS                                     679 E BIRCH                                                                                     FRESNO            CA    93720‐3001
A MICHAEL BARBER & JULIA GLENN BARBER JT TEN       19 BROOKSIDE DRIVE                                                                              NEWNAN            GA    30263‐1514

A MITCHELL MARROS                                  973 STARLITE LANE                                                                               YUBA CITY         CA    95991‐6720
A MODENE CLEMMER                                   4022 WINDFREE DR                                                                                COLLEGE STATION   TX    77845‐9350
A MORGAN BENJAMIN CUST ARNOLD BENJAMIN UTMA        4 WHITMAN ST                                                                                    BROCKTON          MA    02302
MA
A N JOHNSTON                                       10510 GORDON RD                                                                                 SPOTSYLVANIA      VA    22553‐1822
A NAHREBESKI                                       7952 TERRACE ROCK WAY                  APT 202                                                  LAS VEGAS         NV    89128
A NANCY OERTEL                                     3405 WESTCLIFFE COURT                                                                           ANTIOCH           TN    37013‐2525
A NEALY                                            14397 RUTHERFORD ST                                                                             DETROIT           MI    48227‐1833
A O BROWN & CLAUDIA A BROWN TR UA 10/11/96         2408 E 8TH ST                                                                                   PITTSBURG         KS    66762‐8455

A P BROWN                                          4981A THEKLA                                                                                    ST LOUIS          MO    63115‐1812
A P FALBO                                          28 NEWGATE RD                                                                                   BUFFALO           NY    14226‐1513
A P KUNKEL                                         1641 WHITE OAK CIR 1‐A                                                                          MUNSTER           IN    46321‐3889
A P KUNKEL & FRANCIS E KUNKEL JT TEN               1641 WHITE OAK CIR 1‐A                                                                          MUNSTER           IN    46321‐3889
A P MERCES                                         8 REDWOOD DR                                                                                    MARLBORO          NJ    07746‐1228
A P MERRITT OIL & GAS LTD                          BOX 1209                                                                                        KILGORE           TX    75663‐1209
A PAPPAS JR                                        12 S LAKEVIEW DR                                                                                JACKSON           NJ    08527‐2703
A PARKER                                           18 DEARBORNE ST                                                                                 YONKERS           NY    10710‐5306
A PAT SENTER JR                                    661 W JEFFERSON ST                                                                              TUPELO            MS    38804‐3735
A PATRICIA STANLEY                                 505 CLAGETT ST S W                                                                              LEESBURG          VA    20175‐4358
A PAUL RAWLINGS                                    804 CENTER AVE                                                                                  BRANDON           FL    33511‐7761
A PETER WELLMAN                                    9283 SHADY LAKE DRIVE                  #208K                                                    STREETSBORO       OH    44241
A PHILIP COSTELLO & WINIFRED A COSTELLO JT TEN     436 CANDLEWOOD ROAD                                                                             BROOMALL          PA    19008‐1734

A PICHARDO                                         3007 CUDAHY                                                                                     HUNTINGTON PARK CA      90255‐6830

A PULCHAK                                          14923 DELEON DR                                                                                 HUDSON            FL    34667‐1015
A R BRAND                                          1017 AVENT HILL                        APT B4                                                   RALEIGH           NC    27606
A R FUENTES                                        RES VALLE VERDE T 5                    FAJARDO                                PUERTO RICO
A RACHEL DIFFENDERFER                              3023 MARKWORTH RD                                                                               CHARLOTTE         NC    28210‐6432
A RANKIN SNEED CUST ANDREW R SNEED UTMA AL         514 VOEKEL RD                                                                                   HUNTSVILLE        AL    35811‐9168

A RANKIN SNEED CUST MARYDAE G SNEED UTMA AL        514 VOEKEL RD                                                                                   HUNTSVILLE        AL    35811‐9168

A RICHARD CATENACCI                                2920 GRASSWREN DR                                                                               N LAS VEGAS       NV    89084
A RICHARD RABE                                     15200 HWY US 42                                                                                 VERONA            KY    41092‐9321
A RICHARD SPANAGEL & MRS PATRICIA A SPANAGEL JT    10460‐2 JESICA LN                                                                               HARRISON          OH    45030‐7423
TEN
A RITA CHANDELLIER GLAVIN                          BOX 40                                                                                          WATERFORD         NY    12188‐0040
A ROBERT MATA & MRS JOAN M MATA JT TEN             509 CHESTNUT LANE                                                                               DARIEN            IL    60561‐3835
A ROBERT SAWYER                                    1205 SANDHILL                                                                                   DEWITT            MI    48820‐9551
A ROBERT SPADARO                                   10720 S W 44TH ST                                                                               MIAMI             FL    33165‐4837
A ROBIN RICHARD JR                                 525 ORCHARD DR                                                                                  LAKE CHARLES      LA    70605‐4449
A RODRIGUEZ                                        76 ROSELAWN RD                                                                                  HIGHLAND MILLS    NY    10930‐3202
A ROSE JANKER                                      2542 FERCHEN ST                                                                                 NIAGARA FALLS     NY    14304‐4608
A RUTH DETESKE                                     2499 DALTON ROAD                                                                                FAIRLAWN          OH    44333‐3851
A SARICH                                           21814 STATE RD 71‐N                                                                             ALTHA             FL    32421‐4338
A SCOTT                                            93 JEFFERSON COURT                                                                              PIEDMONT          SC    29673‐9777
A STEPHEN DAMBROWSKI                               238 HOFFMAN RD                                                                                  RIDLEY PARK       PA    19078
A STEWART BOOHER & KATHERINE D BOOHER JT TEN       14904 CHESTNUT RIDGE CT                                                                         GAITHERSBURG      MD    20878‐2421

A STEWART HOLVECK JR                               418 VERNON WOODS                                                                                GLEN MILLS        PA    19342‐3315
A THEODORE CHAMP                                   302 S FAWN ST                                                                                   PHILADELPHIA      PA    19107‐5913
A THERESA PEMBROKE                                 8744 W BUSH LAKE RD                                                                             MINNEAPOLIS       MN    55438‐1323
                                             09-50026-mg              Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 6 of 850
Name                                           Address1                             Address2                    Address3   Address4          City            State Zip

A THOMAS HOLLINGSWORTH & JACQUELINE E          1256 BALLINTON DR                                                                             MELBOURNE       FL    32940‐6006
HOLLINGSWORTH JT TEN
A THOMAS MORAN                                 20839 SENECA                                                                                  BROWNSTOWN      MI    48183‐5082
                                                                                                                                             TWP
A V KELLY                                      1427 W 183RD ST                                                                               GARDENA         CA    90248‐3901
A V MATLOCK                                    675 EASTVIEW RD                                                                               CAMDEN          TN    38320‐7804
A VALI                                         15 ROBBY DRIVE                                                                                OAKHURST        NJ    07755‐1374
A VIEIRA                                       910 NORTH M STREET                                                                            LAKE WORTH      FL    33460‐2643
A W CLEMONS                                    732 S 25TH                                                                                    SAGINAW         MI    48601‐6520
A W JACKSON                                    17420 PONTCHARTRAIN                                                                           DETROIT         MI    48203‐4040
A W WOOD                                       51 ORCHARD ST                                                                                 RED BANK        NJ    07701‐6261
A WARREN SKOOG                                 113 N MAIN ST                                                                                 CANANDAIGUA     NY    14424‐1224
A WILLIAM MARCHAL CUST ALBERT A MARCHAL UGMA   279 AUDUBON BLVD                                                                              NEW ORLEANS     LA    70125‐4123
LA
A WINSOR BROWN JR                              15332 FIELDSTON LANE                                                                          HUNTINGTON      CA    92647‐2410
                                                                                                                                             BEACH
A WRIGHT JARMAN & VIRGINIA F JARMAN JT TEN     8250 CHERTSEY CT                                                                              ORLAND PARK     IL    60462‐2811
A Y RODRIGUEZ                                  3725 GRINDLEY PK                                                                              DEARBORN        MI    48124
A YVONNE HILL                                  8032 FAIR PINES LANE                                                                          GARDEN VALLEY   CA    95633‐9448
A Z MCCOY                                      141 S BLVD W                                                                                  PONTIAC         MI    48341‐2967
A Z PITTS                                      1460 DERBYSHIRE DR                                                                            GREENWOOD       IN    46143‐9097
AAQIL S ZAKKEE                                 PO BOX 492                                                                                    ARCADIA         LA    71001‐0492
AARNE T KINNUNEN                               KOIVUSYRJA 19                        FI‐02130 ESPOO                         FINLAND
AARON A DILLARD                                18643 GRIGGS ST                                                                               DETROIT         MI    48221‐1907
AARON A FRISCH                                 38‐15 149TH ST APT 1N                                                                         FLUSHING        NY    11354
AARON A GESICKI                                2920 25TH AVENUE A                                                                            MOLINE          IL    61265‐4212
AARON A HILDEBRANT                             2600 SWAN LAKE ROAD                                                                           DULUTH          MN    55811‐4010
AARON A SAFFORD                                1958 LAWRENCE                                                                                 DETROIT         MI    48206‐1542
AARON A SINKA                                  114 W MARYKNOLL RD                                                                            ROCHESTER HLS   MI    48309
AARON A UMBACH                                 101 FAIRCREST CT                                                                              SAINT CHARLES   MO    63303‐7301
AARON A WARD                                   7429 WABASH                                                                                   KANSAS CITY     MO    64132‐3331
AARON ALTMAN                                   30 WAGON WHEEL LANE                                                                           DIX HILLS       NY    11746‐5028
AARON B FARRIS                                 11 SANDERS DRIVE                                                                              FLORENCE        KY    41042‐2111
AARON B FULCHER                                6116 FARNSWOOD LANE #905                                                                      FT WORTH        TX    76112‐1356
AARON B LEVINE                                 4449 CHESSWICK DR                                                                             CINCINNATI      OH    45242‐6013
AARON B STORY                                  2724 ARABIAN VIEW DR                                                                          JANESVILLE      WI    53545‐0753
AARON BIRNBAUM                                 1721 50TH ST                                                                                  BROOKLYN        NY    11204‐1259
AARON BRUCE                                    2571 OLD QUARRY RD                   APT 2038                                                 SAN DIEGO       CA    92108‐2769
AARON BUTTS                                    C/O DOROTHY BUTTS                    15321 ARCHDALE ST APT 319                                DETROIT         MI    48227‐1595
AARON C ALEXANDER                              2484 WINSHIRE DRIVE                                                                           DECATUR         GA    30035‐4242
AARON C BALAGOT                                PSC 473 BOX 864                                                                               FPO             AP    96349‐5555
AARON C MEYER                                  4261 AMERICANA DR                    APT 520                                                  STOW            OH    44224‐5627
AARON C SMITH                                  1511 WALNUT ST                                                                                SAGINAW         MI    48601‐1971
AARON CALDER SMITH                             169 STANLEY CIRCLE DR                                                                         ESTES PARK      CO    80517
AARON CLARK SR                                 3524 LYNCHESTER RD                                                                            BALTIMORE       MD    21215‐7415
AARON CORNELIUS BAUER                          4318 FLORAL AVE                                                                               CINCINNATI      OH    45212
AARON D CANTRELL                               9359 N COUNTY ROAD 25A                                                                        PIQUA           OH    45356‐8205
AARON D DICKEY                                 3203 E BEACH DR                                                                               OAK ISLAND      NC    28465‐5846
AARON D JOHNSON                                112 CLOVER DRIVE                                                                              COLUMBIA        TN    38401‐6156
AARON D JONES                                  PO BOX 9022                                                                                   WARREN          MI    48090‐9022
AARON D ROOT                                   10317 SOUTH MICHIGAN AVENUE                                                                   CHICAGO         IL    60628
AARON D SA'ADAH                                1318 FLORAL ST NW                                                                             WASHINGTON      DC    20012‐1718
AARON D WHITE                                  ATT JUANITA WITHERSPOON              100 SOUTH JEFFERSON #2FL                                 SAGINAW         MI    48607‐1238
AARON DANIEL SCALF                             5871 LOCH LEVEN DR                                                                            WATERFORD       MI    48327‐1845
AARON DAY                                      6150 MOZART DR                                                                                RIVERDALE       GA    30296‐2315
AARON DISMUKE                                  1214 STAMFORD RD                                                                              YOSILANTI       MI    48198‐3241
AARON E BLAIR                                  3709 OAKMOUNT RD                                                                              HOLCOMB         NY    14469‐9603
AARON E POFF                                   G 4207 E CARPENTER RD                                                                         FLINT           MI    48506
AARON E SEXTON                                 2205 FAULKLAND ROAD                                                                           WILMINGTON      DE    19805‐1041
                                           09-50026-mg                   Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 7 of 850
Name                                             Address1                              Address2                   Address3    Address4          City            State Zip

AARON F LONG                                     10058 SALEM WARREN RD                                                                          SALEM           OH    44460‐7626
AARON FORMAN & MRS ESTHER FORMAN JT TEN          5815 ANTIGUA DR                                                                                PORT ORANGE     FL    32127‐0911
AARON FREEMAN                                    2551 ASPINWALL                                                                                 WARREN          OH    44483‐2501
AARON G ANDERSON                                 2610 HOMEWOOD DR                                                                               LORAIN          OH    44055‐2252
AARON GARTH GERSHENBERG                          2307 WARNER RANGE AVE                                                                          MENLO PARK      CA    94025
AARON GLENN BRIGHAM                              944 SPRINGFIELD ST                                                                             DAYTON          OH    45403‐1348
AARON GOLDBERG CUST STEVEN R GOLDBERG UTMA       C/O GOLDMAR SALES CORP                180 W OSTEND ST BOX 6398                                 BALTIMORE       MD    21230‐3731
MD
AARON H SOUDERS                                  APT A                                 3095 MILLER ROAD                                         WASHINTON BORO PA     17582‐9607

AARON HARMON                                     23 LIVINGSTON LANE                                                                             ENGLISHTOWN     NJ    07726‐2808
AARON HAROLD RICE III                            315 PEACFUL LANE                                                                               WEST COLUMBIA   SC    29170‐1053
AARON HOBART CUST JACK HOBART UTMA NJ            18 MALSBURY ST                                                                                 ROBBINSVILLE    NJ    08691
AARON J DIRKS                                    6506 W 125TH TER                                                                               LEAWOOD         KS    66209‐2593
AARON J GORELICK                                 22 BLACKWELL LANE                                                                              HENRIETTA       NY    14467‐9752
AARON J HAYWOOD                                  1643 BELVIDERE                                                                                 DETROIT         MI    48214‐3083
AARON J LEWELLYN                                 10430 YORKFORD                                                                                 DALLAS          TX    75238‐2245
AARON J SOURY                                    245 ALBEMARLE RD                                                                               WHITE PLAINS    NY    10605‐3701
AARON J SPENCE                                   8990 SHEPARDSVILLE RD                                                                          LAINGSBURG      MI    48848‐8212
AARON J URIE                                     410 DIVINE HWY                                                                                 PORTLAND        MI    48875‐1235
AARON JASPER ODOM                                242 MESA TRL                                                                                   SPARTA          TN    38583
AARON JOE                                        PO BOX 13963                                                                                   DETROIT         MI    48213‐0963
AARON JOHN KLUG                                  13066 TULANE STREET                                                                            BROOKFIELD      WI    53005‐7243
AARON JOHNSON JR & MARGARET J JOHNSON JT TEN     1941 MIKE ALAN DR                                                                              WASHINGTON      MO    63090‐5557

AARON K WALLER & PINKIE W DAVID JT TEN           2412 OLD BERMUDA HUNDRED RD                                                                    CHESTER         VA    23836‐5409
AARON KAVETSKY & ROSE KAVETSKY JT TEN            110‐07 73RD RD APT 6G                                                                          FOREST HILLS    NY    11375
AARON KLINGLER                                   5223 N CANYON RISE PLACE                                                                       TUCSON          AZ    85749‐7157
AARON L BROWNING                                 1519 N EDEN ST                                                                                 BALTIMORE       MD    21213‐2805
AARON L CAMPBELL                                 70 HILLARY CIR                                                                                 NEW CASTLE      DE    19720‐8620
AARON L CLARK                                    716 GENERAL TAYLOR ST                                                                          NEW ORLEANS     LA    70115‐2615
AARON L COOK CUST ANDREW G COOK UGMA NY          1119 ERIE STREET RD                                                                            MACEDON         NY    14502‐9729
AARON L GILLILAND                                350 WILDWOOD DR                                                                                ST AUGUSTINE    FL    32086‐5526
AARON L HOLDEN JR                                1438 KINGSTON DR                                                                               SAGINAW         MI    48603‐5477
AARON L LARGENT                                  PO BOX 42091                                                                                   INDIANAPOLIS    IN    46242‐0091
AARON L LEBOWITZ & MRS DOROTHY LEBOWITZ JT TEN   4 PRESTON DR                                                                                   EPPING          NH    03042‐2543

AARON L MERCER III                               16747 HIGHLAND SUMMIT DR                                                                       WILDWOOD        MO    63011‐5421
AARON L WEST                                     PO BOX 523                                                                                     GASTON          IN    47342‐0523
AARON LEEDER CUST LOUIS ISRAEL LEEDER UGMA NY    918 EAST 14TH ST                                                                               BROOKLYN        NY    11230‐3647

AARON M ALDRIDGE                                 2151 POND CIR                                                                                  LINCOLN         NE    68512‐3601
AARON M CURRY                                    4096 STATE LINE RD                                                                             OKEANA          OH    45053‐9581
AARON M CURRY & MARILYN CURRY JT TEN             4096 STATELINE RD                                                                              OKEANA          OH    45053
AARON M GALE                                     2062 S PARKVIEW DR                                                                             MAPLETON        UT    84664‐4829
AARON M GEORGE                                   3435 LAMOR RD                                                                                  HERMITAGE       PA    16148‐3050
AARON M LAMBERT                                  1471 CRAWFORDVILLE HWY                                                                         CRAWFORDVILLE   FL    32327‐0180
AARON M MILLER                                   1579 WALNUT AVE                                                                                DES PLAINES     IL    60016‐6623
AARON M STANFIELD JR                             6784 WILLIAMS LAKE RD                                                                          WATERFORD       MI    48329‐2986
AARON M WALKER & KATHRYN WALKER JT TEN           350 ORCHARD ST                        APT B1                                                   GRAND BLANC     MI    48439‐1352
AARON MAGEE                                      227 W BALTIMORE                                                                                FLINT           MI    48505‐6302
AARON MALONE III                                 118 AUSTIN ST                                                                                  FLINT           MI    48505
AARON MAYNARD                                    31532 NELSON DRIVE                                                                             WARREN          MI    48093‐1827
AARON MITCHELL                                   360 E BELVEDERE AVE                                                                            BALTIMORE       MD    21212
AARON MOBLEY                                     26269 IVANHOE                                                                                  REDFORD         MI    48239‐3114
AARON MOORE                                      20103 RADLETT                                                                                  CARSON          CA    90746‐3138
AARON N WALDMAN                                  47 RECTOR STREET                                                                               METUCHEN        NJ    08840‐1928
AARON NIXON                                      67 SHALE CT NE                                                                                 ROCKFORD        MI    49341‐9243
AARON ONTIVEROS                                  602 LOBO LOOP                                                                                  LAREDO          TX    78045‐8701
                                              09-50026-mg                   Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 8 of 850
Name                                                Address1                              Address2                    Address3   Address4          City            State Zip

AARON P PATTERSON                                   1574 DOVER HILL NORTH                                                                          WALLED LAKE     MI    48390
AARON P ROBBINS                                     10026 DOWE R RR#1                                                                              DEFIANCE        OH    43512‐9720
AARON P STUBBS                                      4327 ARDMORE DR                                                                                BLOOMFIELD      MI    48302‐2105
AARON P STUBBS                                      4327 ARDMORE                                                                                   TWP OF          MI    48302‐2105
                                                                                                                                                   BLOOMFIELD
AARON PAUL LABOWITZ                                 17341 BRONTE PLACE                                                                             GRANADA HILLS   CA    91344‐1028
AARON PETERSON                                      3074 W LOOKOUT RD                                                                              DULUTH          MN    55804‐9716
AARON PITTS                                         2222 O'BRIEN RD                                                                                MT MORRIS       MI    48458‐2635
AARON R MCCOY                                       4116 INIDAN HILLS                                                                              FT WAYNE        IN    46807
AARON R PARSONS                                     2206 NORTH 600 WEST                                                                            ANDERSON        IN    46011‐9765
AARON R RESNICK                                     1900 SUNSET HARBOUR DR #1003                                                                   MIAMI BEACH     FL    33139‐1445
AARON R SHAUL                                       7775 N ONE MILE RD                                                                             PICKFORD        MI    49774‐9058
AARON R WILEY                                       2017 PARK PL                                                                                   DENVER          CO    80205‐5633
AARON ROSS JR                                       4720 BURNS ST                                                                                  DETROIT         MI    48214‐1214
AARON RUSSELL SHEETS                                1228 BRANDT DR                                                                                 INDIANAPOLIS    IN    46241‐3004
AARON S KANZE & SHARON T KANZE TEN ENT              20632 VALLEY FORGE CIR                                                                         KNG OF PRUSSA   PA    19406‐1121
AARON S MANDERS                                     5915 CHIMNEY SPRINGS                                                                           BUFORD          GA    30518‐1315
AARON S MARTELL                                     1242 NORTH LAKESHORE DR APT 6N                                                                 CHICAGO         IL    60610‐2332
AARON SCHUR                                         6529 N CENTRAL PARK                                                                            LINCOLNWOOD     IL    60645‐4013
AARON SCRUGGS                                       2309 LILLIE                                                                                    FT WAYNE        IN    46803‐3524
AARON SLONE                                         C/O MS SANDRA STONE                   4742 UPPER BRUSH CREEK RD                                HUSTONVILLE     KY    40437‐9009
AARON SPELTZ                                        3922 MARION ROAD SE                                                                            ROCHESTER       MN    55904
AARON T DAVIS                                       PO BOX 777                                                                                     TOMPKINSVILLE   KY    42167‐0777
AARON T JOHNSON                                     4567 MARTIN L KING JR BLVD                                                                     CLEVELAND       OH    44105‐6909
AARON T KOHN                                        831 S ALEXANDER ST                                                                             GREENVILLE      MI    48838‐2120
AARON TURNER                                        3982 17 TH ST                                                                                  ECORSE          MI    48229‐1310
AARON V JOHNSON III                                 10986 N STATE ROAD 267                                                                         BROWNSBURG      IN    46112‐9297
AARON V MURPHREE                                    RT 1 BOX 183                                                                                   SAINT JO        TX    76265‐9766
AARON W CHILDS                                      738 E HOLBROOK                                                                                 FLINT           MI    48505‐2237
AARON W GHOLSTON                                    10394 MUIR LN                                                                                  FISHERS         IN    46038‐7951
AARON W KOENIG                                      2660 COUNTRY KATE                                                                              IMLAY CITY      MI    48444‐9687
AARON W MARTIN                                      2020 MANOR DR                                                                                  LEBANON         IN    46052‐1321
AARON W SHIN                                        39 VIRGINIA RIDGE RD                                                                           SUDBURY         MA    01776
AARON W WHITE CUST LESLIE S WHITE UGMA NY           10945 FERNDALE                                                                                 DALLAS          TX    75238‐1012
AARON WATT                                          158 LAUREL DR                                                                                  NEEDHAM         MA    02492‐3207
AARON WHITE                                         4303 75TH ST                          LOT 118                                                  KENOSHA         WI    53142‐4256
AARON Y SMITH                                       PO BOX 80564                                                                                   ROCHESTER       MI    48308‐0564
AARONE P MONTGOMERY                                 PO BOX 33485                                                                                   PHOENIX         AZ    85067‐3485
AARRON M GREEN                                      7463 MILLER RD                                                                                 DURAND          MI    48429‐9106
AARTI BAMMI & DEEPAK BAMMI JT TEN                   382 BEVERLY RD                                                                                 BARRINGTON      IL    60010‐3408
AASE F FASTING                                      HARBITZALLEEN 20A                     0275 OSLO                              NORWAY
ABBAS D FARAJ                                       5001 STEADMAN ST                                                                               DEARBORN        MI    48126‐3032
ABBE CARRAWAY COUPER                                22230 NE 66TH PL                                                                               REDMOND         WA    98053‐2338
ABBE G HILDEBRANDT & STEVE P HILDEBRANDT JT TEN     1874 EDSON DR                                                                                  HUDSONVILLE     MI    49426‐8737

ABBE P MAGRILL CUST JAMIE L MAGRILL UTMA FL         1017 LAKE CHARLES CIRCLE                                                                       LUTZ            FL    33549‐4714
ABBEY E HARBERT & CAROL SUE HARBERT JT TEN          2867 UPPER MOUNTAIN RD                                                                         SANBORN         NY    14132‐9312
ABBIE CATTENHEAD                                    275 VALLEY NORTH BLVD                                                                          JACKSON         MS    39206‐3152
ABBIE CLARK                                         4 WINTERBERRY LANE                                                                             EASTHAM         MA    02642‐2691
ABBIE DEBOLD                                        12222 GRANDMONT                                                                                DETROIT         MI    48227‐1129
ABBIE KERR TR ABBIE KERR LIVING TRUST UA 04/05/01   10265 ULMERTON ROAD #93                                                                        LARGO           FL    33771‐4121

ABBIE ROBERTS                                       4314 CRISSMAN                                                                                  FLINT           MI    48505‐5334
ABBIE S PERKINS                                     110 GREEN LEAF LN                                                                              PITTSBURGH      PA    15238‐1169
ABBIGAIL L BOPP                                     5419 WINTERS RUN RD                                                                            DUBLIN          OH    43016‐8036
ABBOTT B SILBERMAN & JERALDINE SILBERMAN JT TEN     320 CENTRAL PARK W #5D                                                                         NEW YORK        NY    10025‐7659

ABBOTT WIDDICOMBE                                   PO BOX 1055                                                                                    WEST MEMPHIS    AR    72303‐1055
ABBY B HAIGHT                                       2726 SE 58TH AVE                                                                               PORTLAND        OR    97206‐1443
                                             09-50026-mg                   Doc 7123-43   Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 9 of 850
Name                                               Address1                              Address2             Address3          Address4             City             State Zip

ABBY C RENSBERRY                                   3855 MONTANA TR                                                                                   JANESVILLE       WI    53546‐9552
ABBY E ZANGER CUST MICHAEL ZANGER‐TISHLER UTMA     207 GROVE ST                                                                                      CAMBRIDGE        MA    02138‐1013
MA
ABBY G SCHRAGER                                    2438 JACKSON                                                                                      EVANSTON         IL    60201‐2331
ABBY JANE SMITH                                    1405 MASSACHUSETTS DR                                                                             XENIA            OH    45385‐4746
ABBY KONNER ROBERTSON                              906 INDIAN HILL RD                                                                                HENDERSONVILLE   NC    28791‐1830
ABBY M JEFFERIES CUST JEANNE C JEFFERIES UTMA OH   325 LEATHER LEAF LANE                                                                             LEBANON          OH    45036

ABBY MANN                                      30 COLBY LN                                                                                           CRANFORD         NJ    07016‐1653
ABDALLA A HANAFY & EARLEEN HELGELAEN HANAFY JT 1319 18TH AVE S                                                                                       ST CLOUD         MN    56301‐5114
TEN
ABDALLA EZZIDDIN CUST ALIA EZZIDDIN UGMA OH    4080 CHAGRIN RIVER RD                                                                                 CHAGRIN FALLS    OH    44022‐1136

ABDALLA EZZIDDIN CUST FARES EZZIDDIN UGMA OH       4080 CHAGRIN RIVER RD                                                                             CHAGRIN FALLS    OH    44022‐1136

ABDALLA EZZIDDIN CUST OMAR EZZIDDIN UGMA OH        4080 CHAGRIN RIVER RD                                                                             CHAGRIN FALLS    OH    44022‐1136

ABDEL‐LATI CHAHINE                                 7557 INDIANA                                                                                      DEARBORN         MI    48126‐1675
ABDELLAH I SUDAN                                   1018 EMMA ST                                                                                      ELIZABETH        NJ    07201‐1480
ABDIAS A ROJAS                                     PO BOX 183                            COAMO PR                               769 PUERTO RICO
ABDIEL D COSTA                                     C/O GM DUBAI                          PO BOX 9022                                                 WARREN           MI    48618
ABDOL R EBRAT                                      21224 EASTFARM LANE                                                                               FARMINGTON HILLS MI    48167‐9093

ABDON C BADILLO                                    PO BOX 633                                                                                        MINOOKA          IL    60447‐0633
ABDUL H AWKAL                                      46630 SNOWBIRD DR                                                                                 MACOMB           MI    48044‐4717
ABDUL HAMEED NAZ CUST NAVEED A NAZ UGMA MD         10708 STANMORE DR                                                                                 POTOMAC          MD    20854‐1518

ABDUL M SAEED                                      4032 STANLEY                                                                                      ALLEN PARK       MI    48101‐3061
ABDUL PREMJI                                       646 SPUNCE STREET                     WINNIPEG MB                            R3B 2S3 CANADA
ABDUL RAHMAN SHABAZZ                               PO BOX 25045                                                                                      NEWARK           NJ    07101‐7045
ABDUL S CHOUDHRY CUST TARIQ S CHOUDHRY UGMA        7918 FERRY RD                                                                                     GROSSE ILE       MI    48138‐1564
MI
ABDULLAH A ABDULLAH                                4245 CHARLES ST                                                                                   DEARBORN         MI    48126‐3430
ABDULLAH I AL FAWZAN                               PO BOX 568                            RIYADH               KINGDOM OF        11421 SAUDI ARABIA
ABE BRAURMAN & HILDA B JURIST JT TEN               C/O ROBERT SCHUTTE                    760 ELM SPRING RD                                           PITTSBURGH       PA    15243
ABE BRESLOW CUST LESLEY CARIN BRESLOW UGMA CT      970 HOPE STREET                       APT # 2C                                                    STAMFORD         CT    06907

ABE GORDON                                         PO BOX 48803                                                                                      LOS ANGELES      CA    90048‐0803
ABE H KONSTAM CUST CIPORA MIRIAM KONSTAM           3 OLYMPIA LANE                                                                                    MONSEY           NY    10952‐2829
UGMA NY
ABE HELFER & ANNA HELFER JT TEN                    155 GOLF LANE                                                                                     MEDFORD          NY    11763‐1246
ABE L KEYS                                         18114 LITTLEFIELD                                                                                 DETROIT          MI    48235‐1465
ABE MISHLER                                        9539 NORTH BELFORT CIRCLE                                                                         TAMARAC          FL    33321
ABE REDRICK                                        547 MARIETTA AVE NE                                                                               CANTON           OH    44704‐2691
ABE SELMON                                         23717 PLUMBROOKE DR                                                                               SOUTHFIELD       MI    48075‐3251
ABEL A GARZA                                       417 MEYERS RD                                                                                     GRAND PRAIRIE    TX    75050‐4744
ABEL A HERNANDEZ                                   4632 SOUTHERN AVE                                                                                 SHREVEPORT       LA    71106‐1303
ABEL ALBINO HERNANDEZ                              4632 SOUTHERN AVE                                                                                 SHREVEPORT       LA    71106‐1303
ABEL C ROBINSON                                    2105 FRANCIS AVE                                                                                  FLINT            MI    48505‐5013
ABEL F MONTEIRO                                    808 COURTHOUSE DR                                                                                 MARTINSBURG      WV    25404‐3775
ABEL FISCHER                                       RFD 567                                                                                           VINEYARD HAVEN   MA    02568
ABEL FUENTES                                       24 SOUTH ST                                                                                       BRASHER FALLS    NY    13813‐3149
ABEL J FERNANDES & PAUL J FERNANDES JT TEN         6B ROTHERHAM WAY                                                                                  HUDSON           MA    01749
ABEL J GUY                                         PO BOX 50237                                                                                      BALTIMORE        MD    21211‐4237
ABEL OSUNA                                         PO BOX 406                                                                                        CARROLLTON       MI    48724‐0406
ABEL P GUZMAN                                      13258 SUNBURST ST                                                                                 ARLETA           CA    91331‐4047
ABEL P GUZMAN                                      1629 SWEETBRIER ST                                                                                PALMDALE         CA    93550‐3921
ABEL R DAVIS                                       8300 HAWTHORNE AVENUE                                                                             RAYTOWN          MO    64138‐3384
ABEL R FLORES                                      6310 E 150TH TERRACE                                                                              GRANDVIEW        MO    64030‐4516
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 10 of 850
Name                                            Address1                            Address2              Address3          Address4          City               State Zip

ABEL ROSAS                                      8640 MORRIS RD                                                                                GOODELLS           MI    48027‐1303
ABEL SANTIAGO                                   104 RACE TRACK DR                                                                             HEWITT             NJ    07421‐1800
ABELARD0 ARAMBULA                               8080 FIVE POINT HWY                                                                           EATON RAPIDS       MI    48827‐9060
ABELARDO C VILA                                 1911 TOWNER LANE                                                                              GLENDALE HEIGHTS   IL    60139‐2153

ABELARDO C VILA & ELOISA S VILA JT TEN          1911 TOWNER LANE                                                                              GLENDALE HGTS      IL    60139‐2153
ABELARDO FLORES                                 2901 S CHESSINGTON DRIVE                                                                      NEW LENOX          IL    60451‐2893
ABELARDO QUIJANO                                9328 INVERNESS                                                                                GRAND BLANC        MI    48439‐9564
ABELINO CINTRON                                 1902 CARTIER ST                                                                               FLINT              MI    48504‐4838
ABEN P FREW                                     204 MOLDOFF RD                                                                                GLASSBORO          NJ    08028‐2020
ABHAY S PARIKH & SURESH R PARIKH JT TEN         PO BOX 3583                                                                                   NEWPORT BEACH      CA    92659‐8583
ABHAYSINGH J KAPADIA                            150 HONEY LOCUST                                                                              RICHMOND           VA    23238‐6165
ABHIJIT CHANDRA                                 3133 GREENWOOD DR                                                                             AMES               IA    50014‐4505
ABIDEMI F CRAIGHEAD CUST TALIA V CRAIGHEAD UTMA 137 ART RD                                                                                    MANAKIN SABOT      VA    23103‐3347
VA
ABIGAIL A NAKELSKI                              44 ALLHUSEN ROAD                                                                              NEW PALTZ          NY    12561‐4217
ABIGAIL B LAWING                                6881 CHARLESTON ST                                                                            HOLLYWOOD          FL    33024‐1825
ABIGAIL C KUHL                                  203 S 19TH ST                                                                                 BRIGANTINE         NJ    08203‐2023
ABIGAIL G HEWITT                                5699 ROLLING OAK DR                                                                           SACRAMENTO         CA    95841‐4725
ABIGAIL K SULLIVAN                              263 HARMONY LAKE DR                                                                           CANTON             GA    30115
ABIGAIL LANGFORD                                661 BOULEVARD                                                                                 WESTFIELD          NJ    07090
ABIGAIL M RUMMELL                               344 WEYMOUTH CLOSE                  FEARRINGTON VILLAGE                                       PITTSBORO          NC    27312‐8705
ABIGAIL MICHELLE MORRISON                       6 QUISSETT CIR                                                                                FLAMOUTH           MA    02540‐2253
ABIGAIL PRIDDY                                  114 N 80TH ST                                                                                 SEATTLE            WA    98103‐4202
ABIGAIL R WILLIAMS                              8260 S MAGNOLIA AVE                                                                           OCALA              FL    34476
ABIGAIL S EATON                                 1647 LINDEN ST                                                                                EAST LANSING       MI    48023‐3717
ABIGAIL STEELE HAMMOND                          332 WASHINGTON ST                                                                             HOLLISTON          MA    01746‐1348
ABIGALE W LITTLE                                19 PEBBLE HILL DRIVE                                                                          BRANDON            MS    39042‐2140
ABIJA D MCGHEE                                  626 RIDGE ROAD                                                                                CARYVILLE          TN    37714‐3215
ABILIO F CONTENTE                               2510 BEDLE PLACE                                                                              LINDEN             NJ    07036‐1315
ABNER ARMSTRONG                                 506 SW PERSELS RD                                                                             LEES SUMMIT        MO    64081‐2805
ABNER M SEAWRIGHT JR                            RT 2 BOX 154                                                                                  WEWOKA             OK    74884‐9631
ABOUD H HAMDI                                   3988 DORTHY ST                                                                                DETROIT            MI    48211‐1581
ABRAHAM A LEVI                                  25 W MAPLE AVE                                                                                MONSEY             NY    10952‐2933
ABRAHAM AAMIDOR & SHIRLEY AAMIDOR JT TEN        11507 WOODVIEW EAST DR                                                                        CARMEL             IN    46032‐3428
ABRAHAM ALBERTO                                 1202 COPEMAN BLVD                                                                             FLINT              MI    48504‐7351
ABRAHAM ALVARADO & MARGARET ALVARADO TEN        146 PERRY AVE                                                                                 NORWALK            CT    06850‐1207
COM
ABRAHAM B KAPLAN                                1576 BEECHCLIFF DR NE                                                                         ATLANTA            GA    30329‐3826
ABRAHAM BARDEKOFF                               2955 MARION AVE                                                                               BRONX              NY    10458‐2201
ABRAHAM BLUMBERG & BERTEL BLUMBERG JT TEN       98 COUNTISBURY AVE                                                                            VALLEY STREAM      NY    11580‐1748

ABRAHAM BUELL JR                                45734 LAKEVIEW CRT APT 16108                                                                  NOVI               MI    48377‐3840
ABRAHAM CHAZIN & MRS FREDA CHAZIN JT TEN        863 RED RD                                                                                    TEANECK            NJ    07666‐4611
ABRAHAM COOPER                                  1218 E WILLARD                                                                                MUNCIE             IN    47302‐3557
ABRAHAM DOBKIN                                  45 HIGHTOP LANE                                                                               JERICHO            NY    11753‐1718
ABRAHAM FELSENBURG                              5419 15TH AVE                                                                                 BROOKLYN           NY    11219‐4322
ABRAHAM GELBLOOM                                2 SHADY OAKS CRES                   TORONTO ON                              M3C 2L5 CANADA
ABRAHAM GERBER & MRS DEENA Y GERBER TEN COM     7441 JADE ST                                                                                  NEW ORLEANS        LA    70124‐3538

ABRAHAM GOLD                                    14 DONNA CT                                                                                   OCEAN              NJ    07712‐4185
ABRAHAM GOODWILL                                2285 CLAIRMOUNT                                                                               DETROIT            MI    48206‐2018
ABRAHAM GRONER & MRS CHARNA GRONER JT TEN       1870 N E 187TH ST                                                                             NORTH MIAMI        FL    33179‐4361
                                                                                                                                              BEACH
ABRAHAM H MARGOLIS                              8 WOOD LANE                                                                                   MENLO PARK         CA    94025‐6138
ABRAHAM H MARGOLIS CUST LEWIS SANDY MARGOLIS    8 WOODLANE                                                                                    MENLO PARK         CA    94025‐6138
UGMA NY
ABRAHAM HENRY JR                                216 GREYSTONE DR                                                                              FRANKLIN           TN    37069‐4304
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 11 of 850
Name                                             Address1                             Address2              Address3          Address4          City              State Zip

ABRAHAM ISAAC DEUTSCH & BERTHA DEUTSCH TEN       872 E 12TH ST                                                                                  BROOKLYN          NY    11230‐2934
COM
ABRAHAM J IAKOVIDES & MARIA A IAKOVIDES JT TEN   924 GROVECREST                                                                                 ROCHESTER HILLS   MI    48307‐2887

ABRAHAM JACOB GORELICK                           8500 S PFLUMM RD                                                                               LENEXA            KS    66215
ABRAHAM KANTOR & JUDITH KANTOR TR KANTOR         15 STEWART PLACE APT 7B                                                                        WHITE PLAINS      NY    10603‐3853
LIVING TRUST UA 8/15/91
ABRAHAM L BOLDEN & VANGERLIN BOLDEN JT TEN       3055 DUKE OF GLOUCESTER                                                                        EAST POINT        GA    30344‐5845

ABRAHAM LOFTON                                   10246 HARDPANE RD                                                                              ANGOLA            NY    14006‐8910
ABRAHAM M PRICE                                  PO BOX 10081                                                                                   GLENDALE          CA    91209
ABRAHAM PERKINS & ESTHER C PERKINS TEN ENT       45 N BARTRAM AVE                                                                               ATLANTIC CITY     NJ    08401‐3305
ABRAHAM RANDALL VOGELZANG                        320 DAVINCI COURT                                                                              ARGYLE            TX    76226
ABRAHAM STEPHENS                                 518 TENNESSEE                                                                                  DETROIT           MI    48215‐3231
ABRAHAM SWARTZ                                   294 DEAN ROAD                                                                                  BROOKLINE         MA    02445‐4171
ABRAHAM TABET                                    104 SOUTH SHORE DR                                                                             BOARDMAN          OH    44512‐5929
ABRAHAM TOPETE‐RUBIO                             13331 TERRA BELLA ST                                                                           PACOIMA           CA    91331‐3836
ABRAHAM WATSON                                   224 WARWICK AVE                                                                                ROCHESTER         NY    14611‐3037
ABRAHAM‐LOCKHART CORP                            10625 HONEY TREE RD                                                                            RICHMOND          VA    23235‐3834
ABRAM B AGNEW                                    C/O EVA G AGNEW WOODARD              13916 BRINGARD DR                                         DETROIT           MI    48205‐1284
ABRAM HAYDEN V                                   882 CINNAMON TEAL COURT                                                                        MANTECA           CA    95337‐6071
ABRAM WINOGRON & ROSA WINOGRON JT TEN            6357 PHEASENT RUN                                                                              WEST BLOOMFIELD   MI    48322‐1061

ABRAN TAMAYO                                     408 W F ST                                                                                     HASTINGS          NE    68901‐6122
ABRIEN MILLINGTON CUST TAMECOLE MILLINGTON       305 ALEXANDER AVE                                                                              BRIDGEPORT        CT    06606
UTMA CT
ABRILLA SHELBY                                   2453 SANDY RIDGE RUN                                                                           ROCK HILL         SC    29732‐8482
ABROM EDMOND                                     15834 PRINCETON                                                                                DETROIT           MI    48238‐4108
ABRON BROWN                                      ATTN WAYNE BROWN                     2904 CARLINGFORD DR                                       LOUISVILLE        KY    40222‐6123
ABU SHAKOOR                                      244 BALCOM AVE                                                                                 BRONX             NY    10465‐3103
ABUNDIO V MEDINA                                 PO BOX 132                                                                                     PIRU              CA    93040‐0132
ACE B VARNEY                                     152 LAUREL LEAH                                                                                FENTON            MI    48430‐8794
ACE J BROWN                                      10408 W CAMDEN AVE                                                                             SUN CITY          AZ    85351‐4437
ACELL SPENCER CUST ACELL ALEXANDER SPENCER II    1001 VANDERWOOD RD                                                                             CATONSVILLE       MD    21228
UTMA MD
ACENA I SHELTON                                  2539 MARLAND DR                                                                                HINCKLEY          OH    44233
ACHIEL C VIAENE JR                               19500 ARMADA RIDGE                                                                             ARMADA            MI    48005‐4221
ACHILLIO JOHN DELUCA                             7922 PHILADELPHIA RD                                                                           BALTIMORE         MD    21237‐2620
ACHIM KUEHNE                                     ADAM OPEL GMBH                       IPC 11‐08             RUESSELSHEIM      65423 GERMANY
ACIE WALKER JR                                   11491 SOUTHLAND                                                                                CINCINNATI        OH    45240‐2641
ACKERMANN FAMILY TRUST UA 04/11/2007             1514 HILLTOP DRIVE                                                                             MOUNT DORA        FL    32757
ACKIE FRIEND                                     724 POMPEII ROAD                                                                               CLAY CITY         KY    40312‐9630
ACLIN PLANNING CORP                              ATTN R L JABLONS                     53 CIRCLE DRIVE                                           ROSLYN HEIGHTS    NY    11577‐2201
ACQUANETTA W DANIELS                             PO BOX 333                                                                                     CIRCLEVILLE       NY    10919‐0333
ACT 1 LIMITED PARTNERSHIP                        2000 TOWN CENTER STE 2400                                                                      SOUTHFIELD        MI    48075‐1250
ACY D REYNOLDS                                   1451 CLOUGH PIKE                                                                               BATAVIA           OH    45103‐9731
ADA ARMSTRONG LEER                               3001 NOBLE ST                                                                                  ANDERSON          IN    46016‐5473
ADA B FISHER & MISS GLORIA FISHER JT TEN         2516 GREENVALLE RD                                                                             CLEVELAND         OH    44121‐1118
ADA B JEFFERSON                                  100 FLEMING DR                                                                                 BALTIMORE         MD    21222‐6232
ADA B NEELEY TR NEELEY FAMILY TRUST UA 8/29/96   3217 BASS RD                                                                                   FORT WAYNE        IN    46808‐2964

ADA B ROBERTSON                                  23963 W TONTO ST                                                                               BUCKEYE           AZ    85326‐8135
ADA B SIMS                                       18241 POINCIANA                                                                                REDFORD           MI    48240‐2030
ADA C BRACEFUL                                   17130 AVON AV                                                                                  DETROIT           MI    48219‐4129
ADA C HULICK                                     PO BOX 163                                                                                     WALDORF           MD    20604
ADA C PARKER                                     2451 WEBB AVE                        APT 3E                                                    BRONX             NY    10468‐4826
ADA C WAITE                                      175 AUBURN AVE                       HAMILTON ON                             L8K 3B4 CANADA
ADA CHRISTINE HOLTZ TR UA 04/11/92 THE ADA       313 GENEVA AVENUE                                                                              ELMHURST          IL    60126‐2407
CHRISTINE HOLTZ TRUST
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 12 of 850
Name                                              Address1                              Address2             Address3           Address4          City             State Zip

ADA D TRICE                                       PO BOX 404                                                                                      WARREN           OH    44482‐0404
ADA EDMISTON PARRISH                              29 RIVERSIDE DR                       APT 303                                                   COCOA            FL    32922‐8212
ADA F GOLBUS & BARRI G COLMAN JT TEN              7619A N EASTLAKE TERR                                                                           CHICAGO          IL    60626‐1493
ADA F GOLBUS & BRUCE F GOLBUS JT TEN              7619A N EASTLAKE TERR                                                                           CHICAGO          IL    60626‐1493
ADA F GOLBUS & STEVEN M GOLBUS JT TEN             7619A N EASTLAKE TERR                                                                           CHICAGO          IL    60626‐1493
ADA FRUSHOUR & JOHN V FRUSHOUR JT TEN             28984 RAYBURN                                                                                   LIVONIA          MI    48154‐3802
ADA G PRESTON                                     2929 N 58TH ST                                                                                  KANSAS CITY      KS    66104‐2022
ADA GEHMAN                                        440 KULPS RD                                                                                    BARTO            PA    19504‐8837
ADA GRALLNICK                                     11 MANN HILL RD                                                                                 SCITUATE         MA    02066
ADA HITCHCOCK                                     18820 MAINE                                                                                     DETROIT          MI    48234‐1421
ADA J ELLIS                                       1280 RENEE DR                                                                                   DECATUR          GA    30035‐1056
ADA J GERMERAAD                                   2955 PEEKHEATH SW                                                                               WYOMING PARK     MI    49509‐2953
ADA J WEBER                                       65 ARROWHEAD DR                                                                                 ROCHESTER        NY    14624‐2801
ADA JACKSON                                       22 CORNWALL CROSSING                                                                            ROCHESTER        NY    14624‐5009
ADA JANE GANZE                                    3414 FLEMING DR                                                                                 BAYTOWN          TX    77521‐9226
ADA K STOIBER                                     8 SHARON ST APT 1                                                                               MASSENA          NY    13662‐1652
ADA L BREEZE CUST FREDERICK JOHN BREEZE UGMA FL   6937 MCBRIDE POINT                                                                              TALLAHASSEE      FL    32312‐9665

ADA L DAVIS                                       17511 JUDSON DRIVE                                                                              CLEVELAND        OH    44128‐2248
ADA L DIXON                                       344 ENOS LOOMIS ST                                                                              PATASKALA        OH    43062
ADA L HAVENER                                     2300 HENNEPIN DR                                                                                ST LOUIS         MO    63114‐1808
ADA L WILES                                       ROUTE 1 BOX 194‐4                                                                               TUNNELTON        WV    26444‐9789
ADA LELIS                                         4253 GUNTHER DRIVE                                                                              STERLING HGTS    MI    48310‐6330
ADA LELIS & VACIUS LELIS JT TEN                   4253 GUNTHER DRIVE                                                                              STERLING HGTS    MI    48310‐6330
ADA LOU SISSON                                    13003 BONA VISTA                                                                                LA MIRADA        CA    90638‐1805
ADA M CASLER                                      175 CASLER RD                                                                                   FORT PLAIN       NY    13339‐3801
ADA M FERRARI                                     8 DEBBY LANE                                                                                    ROCHESTER        NY    14606‐5339
ADA M FISHER                                      PO BOX 777                                                                                      SALISBURY        NC    28145‐0777
ADA M HOBSON                                      2397 FRANCIS RD W                                                                               MT MORRIS        MI    48458‐8249
ADA M JONES                                       107 WEST LANE                                                                                   POWELL           TN    37849‐7015
ADA M KELTON                                      8504‐B ELM                                                                                      RAYTOWN          MO    64138‐3229
ADA M LINDSAY                                     BOX 703                                                                                         SPOKANE          WA    99210‐0703
ADA M MARTIN                                      17325 INVERMERE AVE                                                                             CLEVELAND        OH    44128‐1655
ADA M MUXO & LAURA A MUXO HERNANDEZ JT TEN        827 COLUMBIA AVE                                                                                SAINT CLOUD      FL    34769‐2065

ADA M OBRIEN & FRANCIS A OBRIEN TR ADA M OBRIEN   06061 ZENITH HEIGHTS                                                                            BOYNE CITY       MI    49712‐9359
TRUST UA 01/20/99
ADA M PULICE                                      27857 SANDERS LANE                                                                              NORTH OLMSTED    OH    44070‐1769
ADA M RANURO                                      721 HAMILTON AVE                                                                                RIDGEFIELD       NJ    07657‐2615
ADA MACK                                          910 E 129TH ST                                                                                  CLEVELAND        OH    44108‐2540
ADA MAHONEY                                       209 CARDINAL DRIVE                                                                              AGAWAM           MA    01001
ADA MARY BURKE TR 12/30/77 UA MB ADA MARY         1209 21ST AVE                         APT D314                                                  ROCK ISLAND      IL    61201‐7941
BURKE
ADA MEREDITH UHLER CROOK                          172 45TH AVE NE                                                                                 ST PETERSBURG     FL   33703‐4928
ADA NAYLOR                                        20716 APPLEGATE RD                                                                              MAPLE HEIGHTS     OH   44137‐3108
ADA O MADISON                                     C/O JOHN D PRICE                      PO BOX 286                                                COLUMBIANA        OH   44408‐0286
ADA P ANZELMO                                     1250 SALT SPRINGS RD                                                                            WARREN            OH   44481‐8624
ADA PLYMALE                                       4609 WATERFRONT FARMS DR                                                                        DRAPER            VA   24324‐2733
ADA R ROWLEY                                      104 MILLWOOD VILLAGE DR                                                                         CLAYTON           OH   45315‐9682
ADA R SMITH                                       472 GEORGIA DR                                                                                  XENIA             OH   45385‐5903
ADA SINCAGLIA                                     10 GARRETSON AVE                                                                                TOTOWA            NJ   07512‐2413
ADA SUE GROOME HENRY                              36 GLENN SPRINGS RD                                                                             TRAVELER'S REST   SC   29690‐9266
ADA W LUDLUM E                                    ATTN ADA J WELLMAN                    4282 MAPLE HILL                                           DAYTON            OH   45430‐1537
ADAH COURT ORDER OF AMARANTH INC                  2105 IRON                                                                                       NORTH KANSAS CITY MO   64116‐3530

ADAH JEAN VAUGHN                                  RD 3 BOX 231                                                                                    CANASTOTA        NY    13032
ADAH K MAXWELL                                    6659 W 100N                                                                                     TIPTON           IN    46072‐8667
ADAIR T LUMMIS                                    98 GIRARD AVE                                                                                   HARTFORD         CT    06105‐2229
ADALAIDE C PONDILLO                               559 WILCOX RD                                                                                   YOUNGSTOWN       OH    44515‐4244
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 13 of 850
Name                                             Address1                              Address2             Address3           Address4          City             State Zip

ADALAKE C BOHON                                  6252 QUALITY LANE                                                                               ZEPHYRHILLS      FL    33540‐6442
ADALBERT B RINGLSTETTER                          796 REEF POINT CIRCLE                                                                           MAPLES           FL    34108‐8778
ADALBERT J MICHALIK & MRS MARY T MICHALIK JT TEN 249 LAKE AVE                                                                                    PARK RIDGE       IL    60068‐4180

ADALBERT MULLER                                  9505 SPARLING RD                                                                                GOODELLS         MI    48027‐1710
ADALBERT SZCZEPANEK                              46 LEMANS DRIVE                                                                                 DEPEW            NY    14043‐4709
ADALBERTO C RAMIREZ                              5097 TUBBS RD                                                                                   WATERFORD        MI    48327‐1358
ADALBERTO NAVA                                   13910 PAXTON STREET                                                                             PACOIMA          CA    91331‐3545
ADALIA A HALSTEAD & WILLIAM A HALSTEAD & DEBRA L PO BOX 1397                                                                                     WARREN           MI    48090‐1397
ARMSTRONG JT TEN
ADALILA H PEREZ                                  2641 WEST AUBURN RD                                                                             ROCHESTER HILL   MI    48309‐4014
ADALINE LUTZE                                    5185 W WILSON                                                                                   CLIO             MI    48420‐9461
ADALORE C MARTELL & GERALDINE E MARTELL JT TEN 2324 N BIRCH                                                                                      WEST BRANCH      MI    48661‐9404

ADAM A BACAL                                     4612 RED MAPLE                                                                                  WARREN          MI     48092‐2356
ADAM A DABEK & KAREN E DABEK TEN COM             4656 N NARRAGANSETT AV                                                                          HARWOOD HEIGHTS IL     60706‐7432

ADAM A DENGAL                                  215 GRANTHAM RD                                                                                   ROCHESTER        NY    14609‐3049
ADAM A GUERRA                                  7045 LORRAINE TERRACE                                                                             STICKNEY         IL    60402‐4104
ADAM A MULLEK & EDNA M MULLEK TR UA 10/03/2007 8930 HAROLD DRIVE                                                                                 SAINT LOUIS      MO    63134
MULLEK JOINT TRUST
ADAM A MULLEK & MRS EDNA M MULLEK JT TEN       8930 HAROLD DRIVE                                                                                 ST LOUIS         MO    63134‐3543
ADAM A SHAKOOR PER REP EST EDWARD HICKS JR     243 W CONGRESS STE 350                                                                            DETROIT          MI    48226

ADAM A TAMMARO                                   2220 OLD EASTERN AVE                                                                            BALTIMORE        MD    21220‐4721
ADAM A WADECKI & ALLAN L WADECKI JT TEN          8145 ASHARE CT                                                                                  CLARKSTON        MI    48346‐1147
ADAM ADER                                        860 10TH AVE APT 3FS                                                                            NEW YORK         NY    10019‐2920
ADAM AQUINAGA                                    161 CAMELOT DR                        APT 3                                                     SAGINAW          MI    48638‐6497
ADAM AUSTER                                      10 COTTAGE AVE                                                                                  ARLINGTON        MA    02474‐5504
ADAM AVALOS                                      1044 LIVERNOIS                                                                                  DETROIT          MI    48209‐2319
ADAM B FISCHER                                   28 WESTBURY DR                                                                                  SARATOGA SPRINGS NY    12866‐9228

ADAM B LOVELUND & DENNIS B LOVELUND JT TEN       1283 NAAMANS CREEK RD                                                                           BOOTHWYN         PA    19061‐1804

ADAM B WEBER                                     PO BOX 3609                                                                                     HARRISBURG       PA    17105‐3609
ADAM B WEST                                      11155 HEATH ROW AVE                                                                             SPRINGHILL       FL    34609‐0232
ADAM BARWINSKI                                   6 ORCHARD LN                                                                                    WELLINGTON       OH    44090‐1224
ADAM BENNETT KLARFELD                            225 S 6TH ST                          STE 3150                                                  MINNEAPOLIS      MN    55402‐4640
ADAM BENOWSKYJ                                   1322 JAMES ST                                                                                   BALTIMORE        MD    21223‐3618
ADAM BIRD                                        1131 SHAWNEE RIDGE DR                                                                           CHESWICK         PA    15024‐2357
ADAM BIRKHOLD                                    23 STONE RUN RD                                                                                 BEDMINSTER       NJ    07921‐1772
ADAM BOWEN                                       4516 W MCDUFFIE                                                                                 LUMBERTON        NC    28360
ADAM BRILLIS & MRS MARY BRILLIS JT TEN           2 GOODWIN ST                                                                                    HASTINGS‐ON‐     NY    10706‐3913
                                                                                                                                                 HUDSON
ADAM BRODA                                       6140 CRAM LN                                                                                    CLARKSTON        MI    48346‐2401
ADAM C BICKEL                                    7983 BOURNEMOUTH ST                                                                             GROSSE ILE       MI    48138‐1109
ADAM C COLEMAN                                   PO BOX 7099                                                                                     FLINT            MI    48507‐0099
ADAM C COLLINS                                   64 NIMITZ DR                                                                                    DAYTON           OH    45431‐1312
ADAM C KARKKAINEN                                1074 E 17TH AVE                                                                                 BROOMFIELD       CO    80020
ADAM CHARLES HAHN                                9278 PEPPERIDGE LN                                                                              ALTA LOMA        CA    91701‐4915
ADAM CLIFFORD BLAKE                              10017 SETTLEMENT HOUSE RD                                                                       DAYTON           OH    45458‐9654
ADAM CONLIN SMITH & AILEEN MULLEN SMITH JT TEN   199 BEACH 127TH STREET                                                                          ROCKAWAY PARK    NY    11694‐1726

ADAM CORNELIUS                                   383 LEXINGTON ST                                                                                SAN FRANCISCO    CA    94110‐2411
ADAM COTTON JR                                   2411 E STANLEY RD                                                                               MT MORRIS        MI    48458‐8979
ADAM CYRIL RAPEZZI & PHILLIP RAPEZZI JT TEN      1461 SHIPMAN                                                                                    BIRMINGHAM       MI    48009
ADAM D GROSSMAN                                  180 RIVERSIDE BL 34C                                                                            NEW YORK         NY    10069‐0816
ADAM D KANSKI & AMBER R KANSKI JT TEN            32906 GREENWOOD DR                                                                              CHESTERFIELD     MI    48047‐2737
ADAM D LAMAY                                     1921 EAGLE CT                                                                                   OWOSSO           MI    48867‐9164
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 14 of 850
Name                                              Address1                            Address2              Address3          Address4          City              State Zip

ADAM D OSTERMAN                                   14606 MILLHOPPER RD                                                                           JACKSONVILLE      FL    32258‐3148
ADAM DAGGS                                        3850 N SYCAMORE                                                                               KERMAN            CA    93630
ADAM DARREL BAKER                                 2199 STEWARD RD                                                                               XENIA             OH    45385‐9323
ADAM DECKER                                       2022 JAMAICA ST                                                                               NAVARRE           FL    32566‐7648
ADAM DUCHENE                                      602 HICKORY ST                                                                                LIVERPOOL         NY    13088
ADAM E CASE                                       3762 COUNTY ROAD 3810                                                                         WEST PLAINS       MO    65775‐4900
ADAM E GACAYAN                                    PSC 473 BOX 864                                                                               FPO               AP    96349‐5555
ADAM E MALISE                                     1057 EAST 349 STREET                                                                          EASTLAKE          OH    44095‐2648
ADAM E PIEC                                       10649 S 81ST AVE                                                                              PALOS HILLS       IL    60465‐1819
ADAM E ROLINSKI                                   17117 MAPLEWOOD DR                                                                            PORT SHELDON      MI    49460‐9320
ADAM ELKINS                                       1704 SANDY HILL RD                                                                            PLYMOUNTH         PA    19462‐2530
                                                                                                                                                MEETING
ADAM F CUPER JR                                   347 MURRAY SE                                                                                 KENTWOOD          MI    49548‐3302
ADAM F LINK                                       520 WARBURTON AVE                                                                             YONKERS           NY    10701‐1832
ADAM F LINK & MICHAEL J LINK JT TEN               520 WARBURTON AVE                                                                             YONKERS           NY    10701‐1832
ADAM F QUILLEN & MONA J QUILLEN JT TEN            28 N CRAWFORD ST                                                                              TROY              OH    45373‐3401
ADAM F RINBRAND JR                                32 WALDRON AVENUE                                                                             GLEN ROCK         NJ    07452‐2831
ADAM FISHER                                       2075 RIVERBEND RD                                                                             ALLENTOWN         PA    18103‐9621
ADAM FREDBARDEN                                   32318 VALLEY VIEW CIRCLE                                                                      FARMINGTON        MI    48336‐3136
ADAM FRIED                                        8103 MCLUBBIN ROAD                  COTE ST LUC QC                          H4X 1A6 CANADA
ADAM FURMANOWICZ                                  1314 GULFVIEW WOODS LN                                                                        TARPON SPGS       FL    34689‐2930
ADAM GETZELS CUST ALEXANDER GETZELS UTMA FL       11864 HOLLYHOCK DR                                                                            BRADENTON         FL    24202

ADAM GORANSON & JILL GORANSON TEN COM             C/O CHUCK BURCH                     6075 HEATHERWOOD DR                                       ALEXANDRIA        VA    22310
ADAM H SAMUELS                                    327 CALLAN AVE                      APT 1                                                     EVANSTON          IL    60202‐6022
ADAM HATHAWAY HOLT                                914 RUGBY RD                                                                                  CHARLOTTESVILLE   VA    22903‐1606

ADAM HOPPE                                        PO BOX 291                                                                                    CRESCENT CITY     IL    60928‐0291
ADAM J GOOWIN                                     771 S TRAPPE RD                                                                               COLLEGEVILLE      PA    19426‐2839
ADAM J HERMAN                                     10860 KILMANAGH RD                                                                            SEBEWAING         MI    48759‐9748
ADAM J LOPISZ JR                                  625 S COTTONWOOD RD                                                                           N HAMPTON         PA    18067‐9634
ADAM J MCKAIN                                     1707 B AVE E                                                                                  OSKALOOSA         IA    52577‐4220
ADAM J MINEO                                      531 LOCUST ST                                                                                 NORTH             NY    14120‐4630
                                                                                                                                                TONAWANDA
ADAM J PERL                                       2201 SCENIC HWY                     APT H6                                                    PENSACOLA         FL    32503‐8005
ADAM J ROSEN                                      4140 BOULEVARD PL                                                                             MERCER ISLAND     WA    98040‐3404
ADAM J SCHNARS                                    5010 BOSUNS WAY                     APT A4                                                    YPSILANTI         MI    48197‐7137
ADAM J SKOMRA                                     14316 FENTON STREET                                                                           REDFORD           MI    48239‐3303
ADAM J STASIAK                                    5521 ELMGROVE                                                                                 WARREN            MI    48092‐3470
ADAM J SZPAK                                      1512 PORTER STREET                                                                            CONWAY            PA    15027‐1336
ADAM J URQUHART                                   504 CATALPA DR                                                                                ROYAL OAK         MI    48067‐1250
ADAM J WELTER                                     3505 TRAILS END RD                                                                            EAGAN             MN    55123‐1218
ADAM JAMES ARTIANO                                61 WASHINGTON AVE                                                                             CHATHAM           NJ    07928‐2014
ADAM JOHN LANGFORD                                106 WYNNEWOOD COURT                                                                           FREEHOLD          NJ    07728‐2813
ADAM JOHNSON                                      638 S MAIN ST APT 6F                                                                          PHILLIPSBURG      NJ    08865‐3168
ADAM JOSEPH ELLIS                                 1530 SOUTH STATE                    UNIT 12M                                                  CHICAGO           IL    60605‐2967
ADAM JOSHUA STERLING                              401 GLENNEYRE ST STE G                                                                        LAGUNA BEACH      CA    92651‐2401
ADAM K DONAHUE                                    36 CENTRAL ST                       APT 7                                                     ANDOVER           MA    01810‐3745
ADAM KRAFT JR & CAROLE KRAFT JT TEN               15658 FLANAGAN                                                                                ROSEVILLE         MI    48066‐1481
ADAM L BEDNAR                                     3116 DARTFORD TRCE                                                                            DUBLIN            OH    43017‐2219
ADAM L C V KELLEY                                 35 WINDSOR DR                                                                                 PRINCETON JCT     NJ    08550‐1667
ADAM L GIVENS                                     209 W RUSSELL AVE                                                                             FLINT             MI    48505‐2693
ADAM L KAPLAN                                     14 CAMBRIDGE CT                                                                               MORGANVILLE       NJ    07751‐9503
ADAM L KELLEY CUST ELIZABETH KELLEY UTMA NJ       35 WINDSOR DR                                                                                 PRINCETON JCT     NJ    08550‐1667
ADAM L KELLEY CUST KATHERINE CHI KELLEY UTMA NJ   35 WINDSOR DR                                                                                 PRINCETON JCT     NJ    08550

ADAM L LEE                                        2103 NE DELHI                                                                                 HOLT              MI    48842‐6800
ADAM LAIESKI                                      1016 REED ST                                                                                  ERIE              PA    16503‐1338
ADAM LINDLEY                                      5508 W VENUS WAY                                                                              CHANDLER          AZ    85226‐3567
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 15 of 850
Name                                             Address1                            Address2             Address3           Address4          City              State Zip

ADAM LOPEZ                                       4916 RICHMOND ST                                                                              LANSING           MI    48911‐2915
ADAM M BELL                                      13 WILDBERRY LANE                                                                             IOWA CITY         IA    52401
ADAM M KING                                      6562 ENGLISH OAK LANE                                                                         AVON              IN    46123‐8803
ADAM M KOLASA                                    315 DES PLAINES AVE                                                                           FOREST PARK       IL    60130‐1470
ADAM M SIZEN                                     6127 LANDMARK DR                                                                              FORT WAYNE        IN    46815‐8405
ADAM M WALKER & KATHRYN WALKER JT TEN            2356 EDWARDS                                                                                  GRAND BLANC       MI    48439‐5056
ADAM MARC BRAND                                  8240 SW 160 STREET                                                                            MIAMI             FL    33157‐3651
ADAM MEDEL                                       30162 VALENTI                                                                                 WARREN            MI    48093‐3352
ADAM N KURE                                      5252 BALBOA ARMS DR                 UNIT 114                                                  SAN DIEGO         CA    92117‐4927
ADAM NUGENT                                      6440 S WASATCH BLVD STE 150                                                                   SALT LAKE CTY     UT    84121
ADAM O KRAFT                                     8905 N GREGORY RD                                                                             FOWLERVILLE       MI    48836
ADAM OPPEL                                       242 WIMBLEDON COURT                                                                           WEST SENECA       NY    14224‐1955
ADAM P MINOTT                                    28 UNIVERSITY DR                                                                              EAST SETAUKET     NY    11733‐1134
ADAM PABST                                       5625 N MEADE                                                                                  CHICAGO           IL    60646‐6106
ADAM PAGAN                                       PO BOX 369                          COAMO                                   PUERTO RICO
ADAM PERROTTI                                    225 OLD YORK RD                                                                               FLEMINGTON        NJ    08822‐1924
ADAM QUATTRIN                                    3956 RIVER DR                                                                                 LINCOLN PARK      MI    48146‐4357
ADAM R SALLY & RUTH G SALLY JT TEN               1460 E DRAHNER RD                                                                             OXFORD            MI    48371‐5328
ADAM R THOMAS                                    309 PLEASANT AVE                                                                              MCMURRAY          PA    15317‐2939
ADAM REED                                        71 MINEBROOK RD                                                                               WEBSTER           MA    01570‐6808
ADAM ROMERO                                      310 TRACTEUR RD                                                                               YOUNGSVILLE       LA    70592‐5612
ADAM ROSENBERG                                   2134 O ST NW APT 1                                                                            WASHINGTON        DC    20037
ADAM ROZKOWSKI                                   7433 LAKE FOREST CIRCLE                                                                       PORT RICHEY       FL    34668‐5831
ADAM RUPPERT                                     1905 MILLER ST                      APT 35                                                    LA CROSSE         WI    54601‐8500
ADAM RYDELL                                      505 GREENLAUREL DR                                                                            ATLANTA           GA    30342
ADAM S BUNNELL TOD ZACK BUNNELL SUBJECT TO STA   44385 TELEGRAPH RD                                                                            ELYRIA            OH    44035
TOD RULES
ADAM S KRENCICKI                                 222 ROUTE 45                                                                                  SALEM             NJ    08079‐2046
ADAM S LEFKOWITZ                                 221 OVERBROOK AVE                                                                             GLASSBORO         NJ    08028
ADAM S SOHA                                      4204 DENNIS LN                                                                                BRUNSWICK         OH    44212‐2906
ADAM S TROSCINSKI                                2687 MOHAWK LN                                                                                ROCHESTER HILLS   MI    48306‐3825
ADAM S WERTHEIMER                                89 VILLAGE DRIVE                                                                              M0RRISTOWN        NJ    07960‐7317
ADAM SMITH CUST AIDAN CONLIN SMITH UTMA NY       199 BEACH 127TH STREET                                                                        ROCKAWAY PARK     NY    11694‐1726

ADAM T DIERKERS                                  2525 ELSMERF AVE                                                                              DAYTON            OH    45406‐1936
ADAM TABACZEWSKI                                 3390 BYRON RD                                                                                 HOWELL            MI    48843‐8766
ADAM TYMRAKIEWICZ                                26052 COLMAN DRIVE                                                                            WARREN            MI    48091‐1045
ADAM V ROMANO & MARION J ROMANO JT TEN           4 PERRY ST                          PO BOX 146                                                PEAPACK           NJ    07977‐0146
ADAM VAHRATIAN TR ADAM VAHRATIAN REVOCABLE       15570 PARKLANE                                                                                LIVONIA           MI    48154‐2357
TRUST UA 08/17/99
ADAM W BELSHE                                    9200 OLD ORCHARD ROAD                                                                         DAVIE             FL    33328
ADAM W CHACZYK                                   39561 TIMBERLANE                                                                              STERING HGTS      MI    48310‐2462
ADAM W DAHMAN                                    414 MCKAYS CT                                                                                 BRENTWOOD         TN    37027‐2932
ADAM W HOPPE                                     1737 E 1700 N                                                                                 WATSEKA           IL    60970‐7635
ADAM WAGNER                                      98 CRANBURY NECK RD                                                                           CRANBURY          NJ    08512‐2814
ADAM WASHINGTON                                  1918 HOLLY WAY                                                                                LANSING           MI    48910‐2543
ADAM WOJCIECHOWSKI                               23704 EUREKA                                                                                  WARREN            MI    48091‐4507
ADAM WRZESINSKI                                  108 CEDARWOOD DRIVE                                                                           NEW BRITAIN       CT    06052‐1506
ADAM Z FRANK                                     9624 DAUGHERTY DR                                                                             EL PASO           TX    79925
ADAN ANZURES                                     1021 MARTIN AVE                                                                               WACO              TX    76706‐3230
ADAN J VALDEZ                                    16114 TURNER                                                                                  LANSING           MI    48906‐1892
ADAN MALDONADO JR                                3230 OYSTER COVE DR                                                                           MISSOURI CITY     TX    77459‐3023
ADAN T PUGA                                      515 LINWOOD RD                                                                                LINWOOD           MI    48634
ADDENE BOWMAN                                    20515 RYAN RD                                                                                 DETROIT           MI    48234‐1965
ADDIE A HUSTON                                   6932 KILLARNY CT                                                                              DUBLIN            OH    43017‐1077
ADDIE B COVINGTON                                5642 S EMERALD                                                                                CHICAGO           IL    60621‐2939
ADDIE B GRANT                                    5641 ECHO RD                                                                                  GAHANNA           OH    43230‐1175
ADDIE B GRANT & ROBERT D GRANT JT TEN            5641 ECHO RD                                                                                  GAHANNA           OH    43230‐1175
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit E
                                                                                         Part 1 of 8 Pg 16 of 850
Name                                                Address1                             Address2                   Address3                 Address4            City             State Zip

ADDIE C RUSSELL TOD JOHN T CROSSKEY JR SUBJECT TO   PO BOX 14                                                                                                    DOLOMITE         AL    35061‐0014
STA TOD RULES
ADDIE CHRISTIANSEN TOD CHRIS CHRISTIANSEN           610 HIGH ST                                                                                                  CLINTON         WI     53525‐9125
ADDIE GREEN & TORRANCE GREEN JT TEN                 BOX 449                                                                                                      BOLTON          MS     39041‐0449
ADDIE J SIBLEY                                      208 S SOMERSET DRIVE                                                                                         MONROE          LA     71203‐2930
ADDIE L BELL                                        2863 PROSPECT ST                                                                                             FLINT           MI     48504‐7522
ADDIE L BROWN                                       6790 CAMP VALLEY RD                                                                                          RIVERDALE       GA     30296‐1706
ADDIE L LYLE                                        513 HOLIDAY ROAD                                                                                             VINTON          VA     24179‐1201
ADDIE L MOORE                                       725 E 6TH ST                                                                                                 MUNCIE          IN     47302‐3419
ADDIE M ALLEN                                       47302 VICTORIAN SQ S                                                                                         CANTON          MI     48188‐6329
ADDIE MAE GEORGE                                    110 E YORK AVE                                                                                               FLINT           MI     48505‐2145
ADDIE MAE REED                                      2210 GRACE RD                                                                                                WILMINGTON      DE     19809‐1112
ADDIE P BONNER                                      110 E GREENWAY PKWY                  APT 1076                                                                PHOENIX         AZ     85022‐2534
ADDIE P MATTOX                                      68 LOUISE                                                                                                    HIGHLAND PARK   MI     48203‐2772
ADDIE R BISHOP                                      444 RAGING RIVER RD                                                                                          MASON           MI     48854‐9332
ADDIE R QUIOVERS                                    PO BOX 14                                                                                                    DOLOMITE        AL     35061‐0014
ADDIE S STURKEY                                     17604 TALFORD AVE                                                                                            CLEVELAND       OH     44128‐1648
ADDIE T STULTZ                                      2025 E MILL AVE                                                                                              EDEN            NC     27288‐4021
ADDINGTON L CAMBRIDGE                               212 KENSINGTON TRACE                                                                                         STOCKBRIDGE     GA     30281
ADDISON A FARRA                                     G‐5417 ST LINDEN RD                                                                                          SWARTZ CREEK    MI     48473
ADDISON B MCGLORY                                   77 CRAWFORD ST                                                                                               PONTIAC         MI     48341‐2110
ADDISON G RISING                                    2147 ADAMS CIRCLE                                                                                            RANSOMVILLE     NY     14131‐9713
ADDISON N STITT                                     6 GODELL SR                                                                                                  HOWELL TOWNSHIP NJ     07731

ADDISON O MILLS & EDNA MILLS JT TEN                 1924 W 29TH ST                                                                                               LORAIN           OH    44052‐4204
ADDISON RILEY                                       7334 LISMORE LN                                                                                              FORT WAYNE       IN    46835‐9379
ADDONS WU                                           OWENS CORNING                        PO BOX 10044                                                            TOLEDO           OH    43659
ADDONS WU                                           SHANGHAI PO BOX 9022                 28401 MOUND RD                                                          WARREN           MI    48090‐9991
ADEAN COMBS                                         111 W CLARK                                                                                                  SWAYZEE          IN    46986‐9616
ADEAN M LEACH                                       315 CURTIS AVE                                                                                               POINT PLEASANT   NJ    08742‐2513
                                                                                                                                                                 BCH
ADEDOTUN B ADESUNLOYE                               PO BOX 602                                                                                                   LAKE FOREST      IL    60045‐0602
ADEEB M SAWIRES & SIGRID H M SAWIRES JT TEN         3447 NORTHWOOD DR                                                                                            OCEANSIDE        CA    92054‐7423
ADEENA RATNER                                       1717 EAST 28TH ST                                                                                            BROOKLYN         NY    11229‐2512
ADEL E SHAMOO                                       24844 BRACKEN LN                                                                                             NEWHALL          CA    91381‐2236
ADELA C TAYLOR & SCOTT R TAYLOR TEN ENT             47 HARRIS CIRCLE                                                                                             NEWARK           DE    19711‐2428
ADELA DE SOULAVY                                    C/O CAURIMARE RESID PARQUE           COLINAS‐APT 62‐A COLINAS   DE BELLO MONTE CARACAS   VENEZUELA
ADELA E COATES                                      111 RICE RD                                                                                                  ELMA             NY    14059‐9576
ADELA GARCIA TR ADELA GARCIA LIVING TRUST UA        2016 EMERALD WAY                                                                                             MONTEREY PARK    CA    91755‐6707
06/29/93
ADELA H ZWIER                                       229 LARCHMONT LN                                                                                             WEST GROVE       PA    19390‐8825
ADELA K PASSARELL                                   4001 BENNETTS CORS                                                                                           HOLLEY           NY    14470‐1207
ADELA M DE SCHAJOWICZ                               2006 LONG CASTLE FOREST CT                                                                                   CHESTERFIELD     MO    63017‐7414
ADELA MURRAY & BRENDA M BATAYEH JT TEN              24770 CHERNICK                                                                                               TAYLOR           MI    48180‐2114
ADELA N TETRICK                                     1228 MACQUEEN AVE                                                                                            CHARLESTON       SC    29407
ADELAIDA LUGO                                       C/O 243 PARIS STREET                 SUITE 1464                 SAN JUAN                 00917 PUERTO RICO                          ‐3632
ADELAIDE B BOGERT                                   63 TWIN BROOKS DR                                                                                            WILLOW GROVE     PA    19090‐3903
ADELAIDE B KENDRICK                                 2952 PINEHAVEN DRIVE                                                                                         BIRMINGHAM       AL    35223‐1252
ADELAIDE C THEIS                                    632 JONES ST                                                                                                 GRAND LEDGE      MI    48837‐1329
ADELAIDE COLE & WALTER COLE TR UA 08/29/95          727 EVERGREEN DR                                                                                             W HEMPSTEAD      NY    11552‐3404
ADELAIDE COLE
ADELAIDE D BARBOSA TR BARBOSA LIVING TRUST UA       355 MARSH ST                                                                                                 BELMONT          MA    02478‐1131
11/19/96
ADELAIDE D BARBOSA TR BARBOSA LIVING TRUST UA       355 MARSH STREET                                                                                             BELMONT          MA    02478‐1131
11/19/96
ADELAIDE DICKERSON                                  9801 WESTVILLE RD                                                                                            WYOMING          DE    19934‐2318
ADELAIDE F FARROW & ROBIN S FARROW JT TEN           960 CARTER DR NE                                                                                             ATLANTA          GA    30319
ADELAIDE F HECKLER & DENISE J GUIMOND JT TEN        16 HUGHES AVE                                                                                                RYE              NY    10580‐1317
                                              09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                           Part 1 of 8 Pg 17 of 850
Name                                                 Address1                              Address2                 Address3             Address4          City            State Zip

ADELAIDE F LEWIS                                     6500 LAKE GRAY BLVD.                  APT. 104                                                        JACKSONVILLE    FL    32244
ADELAIDE FITZGERALD & JOY CORREGE JT TEN             APT 10‐N                              900 W 190TH ST                                                  NEW YORK        NY    10040‐3665
ADELAIDE HALL                                        5502 N CHARLES STREET                                                                                 BALTIMORE       MD    21210‐2005
ADELAIDE J METZGER                                   4 DEERHORN TR                                                                                         UPPER SADDLE    NJ    07458‐1134
                                                                                                                                                           RIVER
ADELAIDE JORGE                                       157 BURRAGE STREET                                                                                    LUNENBURG       MA    01462‐2103
ADELAIDE K EMORY                                     PO BOX 294                                                                                            GLOUCESTER      VA    23061‐0294
ADELAIDE K ST CLAIRE                                 16 ALLEN ST                                                                                           IRVINGTON       NJ    07111‐2118
ADELAIDE KALSMITH                                    38 SLOAN DRIVE                                                                                        VALLEY STREAM   NY    11580‐3227
ADELAIDE M KOZLOWSKI                                 C/O A M WILLIAMS                      SPACE 11                 2436 W LOMITA BLVD                     LOMITA          CA    90717‐1430
ADELAIDE M MILLER TR UA 09/14/93 ADELAIDE M          1848 BRENTWOOD                                                                                        TROY            MI    48098‐2622
MILLER TRUST
ADELAIDE MYERS                                       5090 PLEASURE LAKE DR                                                                                 WILLIS          TX    77318
ADELAIDE QUINN & MICHAEL H QUINN JT TEN              13510 MONICA                                                                                          DETROIT         MI    48238‐2522
ADELAIDE V JOHNSON                                   38 GILLIGAN RD                                                                                        E GREENBUSH     NY    12061‐1713
ADELAIDO E QUINTANA                                  20501 RD 9                                                                                            LA JARA         CO    81140‐9509
ADELARD H BRETON CUST RICHARD P BRETON UNDER         149 WHIG HILL ROAD                                                                                    STRAFFORD       NH    03884‐6845
THE NEW HAMPSHIRE
ADELARD J LAGACE                                     1090 CANAAN SOUTHFIELD RD                                                                             SOUTHFIELD      MA    01259‐9773
ADELARD MANNIS                                       445 MOUNT PLEASANT RD                                                                                 HARRISVILLE     RI    02830‐1720
ADELBERT J STANN                                     2321 CENTER RD                                                                                        AVON            OH    44011‐1830
ADELBERT L PUNG                                      115 FLORAL                                                                                            ST JOHNS        MI    48879‐1045
ADELBERT L WAIGHT                                    720 EAST 169TH ST                                                                                     SOUTH HOLLAND   IL    60473‐3036
ADELBERT M ABRAM                                     3424 KIESEL RD                                                                                        BAY CITY        MI    48706‐2446
ADELBERT R DAVIS                                     7825 SWAN CREEK RD                                                                                    SAGINAW         MI    48609‐5306
ADELE AVOLIO                                         34750‐7 MILE RD                                                                                       LIVONIA         MI    48152
ADELE B POTTER                                       2060 LAKESIDE DR                                                                                      LEXINGTON       KY    40502‐3027
ADELE BOUBLIS PULEO                                  20 TERRACE AVE                        APT. E9                  HASBROCK HEIGHTS                       HASBROUCK HTS   NJ    07604
ADELE C CERRELLI                                     7507 WELLESLEY DR                                                                                     COLLEGE PARK    MD    20740‐3037
ADELE C DE MOOY                                      6217 N LAKEWOOD                                                                                       CHICAGO         IL    60660‐1906
ADELE C LEONE                                        165 RAMBLEWOOD PARKWAY                                                                                MT LAUREL       NJ    08054‐2325
ADELE CAROLYNN WADE                                  993 WAVERTREE ROAD                    NORTH VANCOUVER BC                            V7R 1S6 CANADA
ADELE CLAIRE DITULLIO                                C/O LEONE                             165 RAMBLEWOOD PARKWAY                                          MOUNT LAUREL    NJ    08054‐2325
ADELE ELLIOTT                                        323 WALSH RD                                                                                          ATHERTON        CA    94027‐6436
ADELE ERENSTONE                                      445 SAVAGE FARM DR                                                                                    ITHACA          NY    14850‐6507
ADELE FARINA                                         3121 MIDDLETOWN RD APT 6K                                                                             BRONX           NY    10461
ADELE G SILVER TR ADELE G SILVER INTER‐VIVOS TRUST   21729 CONSTITUTION AVE                                                                                SOUTHFIELD      MI    48076‐5520
UA 08/16/95
ADELE HAGEN                                          2240 VILLAGE CT APT5                                                                                  BELMONT         CA    94002‐3450
ADELE HARVAT & ADELE M MATIA JT TEN                  16819 BRINBOURNE AVE                                                                                  CLEVELAND       OH    44130‐5316
ADELE HOPKINS                                        89 CARR ST                                                                                            PONTIAC         MI    48342‐1708
ADELE J ALFORD                                       2773 JUPITER DR                                                                                       FAIRFIELD       OH    45014‐5000
ADELE K PIPAN                                        11438 STONE MILL CT                                                                                   OAKTON          VA    22124‐2031
ADELE KAMINSKI                                       590 BROUGHTON AVE                                                                                     BLOOMFIELD      NJ    07003‐4217
ADELE L CURTIN                                       5256 SE LOST LAKE WAY                                                                                 HOBE SOUND      FL    33455‐8121
ADELE LADIKA TR ADELE LADIKA REVOCABLE LIVING        10784 BORGMAN                                                                                         HUNTINGTON      MI    48070‐1107
TRUST UA 05/01/97                                                                                                                                          WOOD
ADELE LARZELERE                                      11 TERNBERRY CT                                                                                       TURNERSVILLE    NJ    08012‐1678
ADELE LOUISE CAPERS                                  1991 BEN MILLER ROAD                                                                                  DEEP GAP        NC    28618‐9155
ADELE M ENGEL                                        625 KITTYHAWK DR                                                                                      SYKESVILLE      MD    21784‐7746
ADELE M KUHAR CUST MARY K KUHAR UGMA MI              47146 PATTY DRIVE                                                                                     CHESTERFIELD    MI    48047‐5143
ADELE M SCHMOTZER                                    C/O A M HIPPLEY                       4860 W 229TH ST                                                 FAIRVIEW PARK   OH    44126‐2443
ADELE MAJCHRZAK                                      8873 BOSTON STATE RD                                                                                  BOSTON          NY    14025‐9686
ADELE MARIE KITTREDGE                                340 HOWARD ST                                                                                         BANGOR          ME    04401‐4152
ADELE MAXIN                                          217 BOOTH ST                          APT 427                                                         GAITHERSBURG    MD    20878‐5485
ADELE MUTWALLI                                       1803 CROSSGATE LN                                                                                     LOUISVILLE      KY    40222‐6403
ADELE NORRIS WEIR MARILYN WEIR & HAROLD R WEIR       RR 1 BOX 801                                                                                          ROCHEPORT       MO    65279‐9801
JT TEN
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 18 of 850
Name                                               Address1                              Address2             Address3           Address4          City               State Zip

ADELE R CUNNINGHAM TR ADELE R CUNNINGHAM           100 RIVERVIEW CT                                                                                BENTLEYVILLE       OH    44022‐3370
TRUST UA 09/09/99
ADELE ROCKOFF                                      27 MAXWELL AVE                                                                                  GENEVA             NY    14456
ADELE T HOLLANDER                                  7 SLADE AVE                           APT 220                                                   PIKESVILLE         MD    21208‐5204
ADELE T POLACHEK                                   267 FREDERIC ST                                                                                 KINGSTON           PA    18704‐2711
ADELE TURNER                                       11124 CEDAR LANE                                                                                BEALETON           VA    22712‐9770
ADELE V KLOTH                                      8911 CADIZ CT                                                                                   DAYTON             OH    45424‐7000
ADELE W BRASCH                                     147 FLYING CLOUD ISLE                                                                           FOSTER CITY        CA    94404‐1301
ADELE W MC COY                                     8626 GOHLER AVE                                                                                 SAVANNAH           GA    31406‐6122
ADELE WYSARD SHUMWAY                               2223 PATWYNN RD                                                                                 WILMINGTON         DE    19810‐2749
ADELE Z DITULLIO & RENEE JEAN DITULLIO & ADELE C   144 GREENVIEW TER                                                                               MT LAUREL          NJ    08054‐2305
LEONE JT TEN
ADELIA M COOLEY                                    1616 S HILL CIR                                                                                 BLOOMFIELD HILLS   MI    48304‐1184

ADELIA M EDMONDS                             3311 GOODFELLOW ROAD                                                                                  STAR CITY          AR    71667
ADELIA P MENDRYGA                            447 S WARING ST                                                                                       DETROIT            MI    48217‐1410
ADELINA MARTINS                              11212 PFLUMM RD                                                                                       LENEXA             KS    66215‐4811
ADELINE BAILEY & BARBARA BAILEY JT TEN       7841 NILES CENTER RD                                                                                  SKOKIE             IL    60077‐2704
ADELINE BEVERSDORF                                                                                                                                 BIRNAMWOOD         WI    54414
ADELINE C ADGATE                             8570 SWAN AVE                                                                                         NEWAYGO            MI    49337‐9216
ADELINE C HOPKINS                            4070 MAYNARD ROAD                                                                                     DELAWARE           OH    43015
ADELINE D KLECKOWSKI                         130 STERLING DR                                                                                       KENSINGTON         CT    06037‐2128
ADELINE D NADOLNY                            718 TAFT AVE                                                                                          BEDFORD            OH    44146‐3872
ADELINE F LLOYD                              9909 RAMM ROAD                                                                                        MONCLOVA           OH    43542‐9718
ADELINE F MALOOF CUST MATTHEW MALOOF UGMA TN PO BOX 908                                                                                            COPPERHILL         TN    37317‐0908

ADELINE FOSCHI                                     523 ANDREW RD                                                                                   SPRINGFIELD        PA    19064‐3813
ADELINE H PONDER                                   PO BOX 7200                                                                                     FLINT              MI    48507‐0200
ADELINE J KRAUTHEIM                                18 SCRIBNER PL                                                                                  WAYNE              NJ    07470‐2638
ADELINE J RIESTERER                                8339 PINE RD                                                                                    MILTON             WI    53563‐9617
ADELINE JOSEPHINE CORRIGAN TR UA 09/14/96          12745 SLEEPY HOLLOW RD                                                                          THREE RIVERS       MI    49093‐9545
ADELINE JOSEPHINE CORRIGAN
ADELINE KOZLOWSKI                                  211 NIAGARA STREET                                                                              LOCKPORT           NY    14094‐2605
ADELINE L MALECKI                                  6345 JOCKEY RD                                                                                  BURT               NY    14028‐9709
ADELINE L WANEK                                    3095 MIDLAND RD                                                                                 SAGINAW            MI    48603‐9635
ADELINE LAVIANI & DOLORES LAVIANI JT TEN           52‐29 DOUGLASTON PKWY                                                                           DOUGLASTON         NY    11362
ADELINE LIEBRICH                                   8420 CENTRAL AVE                                                                                INDIANAPOLIS       IN    46240‐2231
ADELINE M KOPP                                     10944 WEST OAKWOOD RD                                                                           FRANKLIN           WI    53132‐8815
ADELINE M MERTZ TR UA 04/27/93 ADELINE M MERTZ PO BOX 103                                                                                          SHELDON            MO    64784‐0103
TRUST
ADELINE M STIGLER TOD JOHN E STIGLER               3726 MAPLE AVE                                                                                  BROOKFIELD         IL    60513‐1537
ADELINE P POE                                      310 SOUTH ST E                                                                                  ATHENS             AL    35611‐2648
ADELINE P SASAKI CUST KARISSA JOY CASTILLO UTMA HI 3184 UNAHE ST                                                                                   LIHUE              HI    96766‐1272

ADELINE POWELL & LEONARD D POWELL JT TEN           93 LOUDEN RD                                                                                    SARATOGA SPGS      NY    12866‐5411
ADELINE R CZAJKA                                   6006 ALAN DR                                                                                    BRIGHTON           MI    48116
ADELINE R SMOLAK                                   616 E PARK AVE                                                                                  NEWTON FALLS       OH    44444‐1063
ADELINE RHODES                                     24340 S SCHOOLHOUSE RD                                                                          MANHATTAN          IL    60442‐9588
ADELINE S STACK                                    26 COOLIDGE AVE                                                                                 SO PORTLAND        ME    04106‐5013
ADELINE WACHMAN                                    411 FOXHOUND DR                                                                                 LAFAYETTE HL       PA    19444‐1041
ADELINO C MOLEANO                                  1840 SHARON WALK DR                                                                             CUMMING            GA    30041‐7435
ADELINO C SILVA                                    249 WOOD ST                                                                                     MAHOPAC            NY    10541‐5121
ADELIO FERRANTE & RITA FERRANTE JT TEN             3222 QINLAN STREET                                                                              YORKTOWN           NY    10598‐2517
                                                                                                                                                   HEIGHTS
ADELL GIBBS                                        1804 MORTON ST                                                                                  ANDERSON           IN    46016‐4151
ADELL HEAD                                         1865 CALSTOCK ST                                                                                CARSON             CA    90746‐2906
ADELL KIRKWOOD                                     10206 W 98TH TER                                                                                OVERLAND PARK      KS    66212‐5246
ADELL R HARRIS                                     328 ROBBIE LANE                                                                                 FLINT              MI    48505‐2100
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                    Part 1 of 8 Pg 19 of 850
Name                                            Address1                            Address2                 Address3              Address4          City            State Zip

ADELLA A FAIRLESS & RICHARD F FAIRLESS & THOMAS J 3110 CHEROKEE AVE                                                                                  FLINT           MI    48507‐1910
FAIRLESS JT TEN
ADELLA BANACH & ELAINE NEIHENGEN JT TEN           3135 TOWN SQUARE DRIVE            BUILDING 2 #407                                                  ROLLING MEADOWS IL    60008‐2673

ADELLA BANACH & MARYANN SOKOLOWSKI JT TEN       3135 TOWN SQUARE DR 407 B2                                                                           ROLLING MEADOWS IL    60008‐2673

ADELLA MCNEIR                                    601 S EBER ROAD                                                                                     SWANTON         OH    43558‐9643
ADELLE DIPUMA                                    27667 GILBERT                                                                                       WARREN          MI    48618
ADELLE GROSSKOPF                                 1778 OLD LLOYD RD                                                                                   MONTICELLO      FL    32344‐6048
ADELLE L TODD                                    1201 AVENUE F                                                                                       GARLAND         TX    75040‐6920
ADELLE TRACEY & ANDREW J TRACEY TR TRACEY FAMILY 1104 MORSE AVENUE                                                                                   SACRAMENTO      CA    95864‐3833
TRUST UA 02/21/01
ADELLE W SMITH                                   1412 LOCUST ST                                                                                      ANDERSON        IN    46016‐3439
ADELMA H LILLISTON                               99 N BROADWAY #2                                                                                    TARRYTOWN       NY    10591‐3231
ADELORE L LAHAIE                                 455 CAPAC RD                                                                                        BERLIN          MI    48002‐4204
ADELYNE H ARSENEAU & JANET L CUSSANS JT TEN      PO BOX 213                                                                                          MIO             MI    48647‐0213
ADERITO NUNES                                    1782 JACKSON ST                                                                                     MOHEGAN LAKE    NY    10547‐1853
ADESE HILL                                       2255 ADAMS ROAD                                                                                     NORWOOD         OH    45212‐3232
ADHEMAR L REYGAERT                               5338 SUNNYSIDE DRIVE                                                                                CLARKSTON       MI    48346‐3965
ADIL F MISTRY                                    28 CROSSWAY                                                                                         SCARSDALE       NY    10583
ADIN A HESTER TR ADIN HESTER TRUST UA 07/03/92   PO BOX 1752                                                                                         VISALIA         CA    93279
ADIN A HESTER
ADIN MILLER                                      2855 WALTON MOUNTAIN RD                                                                             WALTON          NY    13856‐6400
ADINA METZ                                       14231 UXBRIDGE ST                                                                                   WESTMINSTER     CA    92683‐4137
ADINE C PARADIS                                  6017 MONTGOMERY CORNER                                                                              SAN JOSE        CA    95135‐1431
ADIS E GAY & DORIS L GAY TR GAY FAMILY REV TRUST 6369 N 28TH ST                                                                                      RICHLAND        MI    49083‐9726
UA 10/15/02
ADITYA VIJ                                       GENERAL MOTORS NORDEN AB           PO BOX 44080             SE‐100 73 STOCKHOLM   SWEDEN
ADITYA VIJ                                       GM INDIA 6TH FLR TWR A GLBL        BUS PK MHRLI GURGON RD   GURGAON INDIA1        INDIA
ADLAI S MUNDAY                                   2850 CLASSIC DR                    UNIT 1309                                                        LITTLETON       CO    80126‐5082
ADLEAN DARTY                                     15318 WARWICK STREET                                                                                DETROIT         MI    48223‐1721
ADLEIZER JACKSON                                 260 BONDALE                                                                                         PONTIAC         MI    48341‐2720
ADLEY J DIXON                                    4701 SCOTHILLS DR                                                                                   ENGLEWOOD       OH    45322‐3522
ADLEY J DIXON & HELEN DIXON JT TEN               4701 SCOTHILLS DR                                                                                   ENGLEWOOD       OH    45322‐3522
ADNAN M HARB                                     4608 ORCHARD ST                                                                                     DEARBORN        MI    48126‐3047
ADOLF B LESNIAK                                  717 WEST SCOTT AVENUE                                                                               RAHWAY          NJ    07065‐3530
ADOLF C HENSE TOD JEANETTE F HENSE               12301 HOUNDS BAY ROW                                                                                BAYONET POINT   FL    34667
ADOLF GREUTER                                    MOWAG MOTORWAGENFABRIK AF          UNTERSEESTRASSE 65       KREUZLINGEN SWITZE    SWEDEN
ADOLF HESS & MRS PATRICIA A HESS JT TEN          2545 ELLSWORTH AVE                                                                                  LOUISVILLE      KY    40217‐1925
ADOLF J STOCKERL                                 1957 REGINA DR                                                                                      WINTER HAVEN    FL    33881‐9303
ADOLF JOE KORALEWSKI                             2163 E 8 MILE RD                                                                                    GROSSE POINTE   MI    48236‐1053
ADOLF K KILBERT                                  ERBSENGASSE 9                      D‐65451 KELSTERBACH                            GERMANY
ADOLF KUNZ                                       2201 NANDI HILLS TRAIL                                                                              SWARTZ CREEK    MI    48473‐7912
ADOLF O HOFMAN & DONNA L HOFMANN TEN ENT         5135 S WASHINGTON                                                                                   SAGINAW         MI    48601‐7224

ADOLF O WILDFANG & MRS MARY ANNE WILDFANG JT    5013 SANDLEWOOD DR                                                                                   GRAND BLAC      MI    48439‐4261
TEN
ADOLF POHLIS                                    8251 SOUTH SCHOOL ST                                                                                 LA GRANGE       IL    60525‐5228
ADOLF S FALCON                                  554 BLUEFIELD LANE                                                                                   HAYWARD         CA    94541‐7304
ADOLF VONHAKE & VERA VONHAKE JT TEN             45 WOODHOLLOW RD                                                                                     COLTS NECK      NJ    07722‐1311
ADOLFO B MARIEROSE                              8150 MURRAY HILL DRIVE                                                                               FT WASHINGTON   MD    20744‐4458
ADOLFO E BARRERA                                3104 N 27TH ST                                                                                       MCALLEN         TX    78501‐6215
ADOLFO G BARRERA                                2546 HAVENHURST AVE                                                                                  DALLAS          TX    75234‐6141
ADOLFO H ESCANUELAS                             11267 HEWITT                                                                                         SAN FERNANDO    CA    91340‐3809
ADOLFO J GARCIA                                 4732 S KENNETH AVE                                                                                   CHICAGO         IL    60632‐4425
ADOLFO MONTANO                                  23938 CREEK RIDGE DRIVE                                                                              SPRING          TX    77373‐5811
ADOLFO P CERPA                                  3450 ELMIRA RD                                                                                       EUGENE          OR    97402‐2424
ADOLFO REIMER                                   CP 20246 OS                         SAO PAULO                                      4035 BRAZIL
ADOLFO REYES                                    5405 S CATHERINE AVE                                                                                 COUNTRYSIDE     IL    60525‐2843
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 20 of 850
Name                                            Address1                            Address2             Address3           Address4          City              State Zip

ADOLFO S POBLETE                               1150 S CHARLEMAGNE DR                                                                          LAKE ST LOUIS     MO    63367‐2410
ADOLPH A DOLNEY TR MARIE C DOLNEY REVOC LIVING 8008 MASON DR                                                                                  ROHNERT PARK      CA    94928‐5449
TRUST UA 03/16/99
ADOLPH A KLAUTSCH CUST PAUL E KLAUTSCH UGMA MI 2316 FRANKFORT ST                                                                              WINTER HAVEN      FL    33881‐8266

ADOLPH A RUDMAN                             214 WESTPORT BAY DR                     APT 103                                                   GLEN BURNIE       MD    21061‐6372
ADOLPH C BEHMLANDER                         6750 7 MILE RD                                                                                    FREELAND          MI    48623‐9313
ADOLPH C BRUECKMANN & MARY R BRUECKMANN TEN BOX 1654                                                                                          ELLICOTT          MD    21041‐1654
ENT
ADOLPH C HERRERA                            2320 E BROWER ST                                                                                  SIMI VALLEY       CA    93065‐2504
ADOLPH CIESLUK                              298 WESTON ROAD                                                                                   WELLESLEY         MA    02482‐4579
ADOLPH F ANGELILLI & NANCY ANGELILLI JT TEN 19249 EASTBORNE                                                                                   HARPER WOODS      MI    48225‐2405
ADOLPH F MOSCOSO                            13269 W ST HIGHWAY 266                                                                            BOIS D'ARC        MO    65612
ADOLPH F SHERER                             291 TOWNSEND LN                                                                                   SANTA MARIA       CA    93455‐3126
ADOLPH F ZOLCZER                            2019 CALVIN ST                                                                                    MCKEESPORT        PA    15132‐5610
ADOLPH FLORES                               ATTN ADOLPH JAUREQUI JR                 PO BOX 194                                                ALPINE            AZ    85920‐0194
ADOLPH GURALECZKA                           906 COX FERRY CIR                                                                                 CONWAY            SC    29526‐8538
ADOLPH H RIOS                               718 FREEMAN                                                                                       FLINT             MI    48507‐1708
ADOLPH HERMANN                              16 COCHRAN DRIVE                                                                                  NEW CASTLE        PA    16105‐1814
ADOLPH HERRERA                              27816 ORLANDO AVE                                                                                 HAYWARD           CA    94545‐4757
ADOLPH I SOKOLOWSKI                         174 BRANDYWYNE DR N W                                                                             COMSTOCK PARK     MI    49321‐9208
ADOLPH J BREECHER                           120 NORTHEAST AVE                                                                                 TALLMADGE         OH    44278‐1926
ADOLPH J DEBOUVRE & LAURA A DEBOUVRE JT TEN 22411 COLONY                                                                                      ST CLAIR SHORES   MI    48080‐2178

ADOLPH J KURPIS                                 4948 DEBORAH                                                                                  INDIANAPOLIS      IN    46224‐2417
ADOLPH J MOTTA & MRS MARY MOTTA JT TEN          5 SARANAC RD                                                                                  FORT LAUDERDALE   FL    33308‐2910

ADOLPH J MUYLAERT & HELEN M MUYLAERT JT TEN     710 TURNBERRY DRIVE                                                                           SAINT CLAIR       MI    48079‐4280

ADOLPH J SCHETTER                               3 PETTICOAT LANE                                                                              BEACON            NY    12508‐2309
ADOLPH JACKSON                                  2130 ELECTRIC S                                                                               DETROIT           MI    48217‐1122
ADOLPH KULIS & SANDRA WAGNER JT TEN             2510 BRUNSWICK AVE                                                                            FLINT             MI    48507‐1604
ADOLPH L BUTLER                                 3667 VAGO LN                                                                                  FLORISSANT        MO    63034‐2374
ADOLPH L GELB JR & FRANCES K GELB JT TEN        35608 CYPRESS HAVEN WAY                                                                       LEESBURG          FL    34788‐3125
ADOLPH L LEASER                                 PO BOX 161                                                                                    PALMYRA           IN    47164‐0161
ADOLPH LONG                                     1605 N E 46TH                                                                                 OKLAHOMA CITY     OK    73111‐6040
ADOLPH LURIE & DIANA H LURIE JT TEN             PO BOX 5124                                                                                   WESTPORT          CT    06881‐5124
ADOLPH M GROSS                                  4920 LORING DR                      APT 1618                                                  WEST PALM BCH     FL    33417‐8404
ADOLPH M MIERZWA                                28401 RYAN ROAD                                                                               WARREN            MI    48092‐4123
ADOLPH N NITSCHKE                               15053 NICHOLS RD                                                                              BATH              MI    48808‐8722
ADOLPH NOBLES JR                                717 LOVELAND RD                                                                               ADRIAN            MI    49221‐1430
ADOLPH R BERNISKY                               4306 CLINTON ST                                                                               BUFFALO           NY    14224‐1647
ADOLPH R KURBIS                                 ATTN JOANNE KURBIS                  129 GILKISON                                              KALAMAZOO         MI    49006‐8320
ADOLPH RUTKIEWICZ                               40 RUTKIEWICZ RD                                                                              RAVENA            NY    12143
ADOLPH S TARCHALA & LENORE W TARCHALA JT TEN    1315 N VAIL AVE                                                                               ARLINGTON         IL    60004‐4734
                                                                                                                                              HEIGHTS
ADOLPH T MASSMAN & KATHLYN MASSMAN JT TEN       8951 MANTON AVE                                                                               PLYMOUTH          MI    48170

ADOLPH W SBIHLI                                 2111 KINGS PINE DR                                                                            JOHNS ISLAND      SC    29455‐6212
ADOLPH WARREN                                   4634 DAVID ST                                                                                 LAWRENCE          IN    46226
ADOLPHIA E CLINE                                9924 GRATIOT RD                                                                               SAGINAW           MI    48609‐9407
ADOLPHUS DARBY                                  3771 COVINGTON RD                                                                             CLEVELAND         OH    44121‐1901
ADOLPHUS LYLES                                  5095 ELDRED ST                                                                                FLINT             MI    48504‐1215
ADOLPHUS NORRINGTON JR                          6075 HILLVALE RD                                                                              LITHONIA          GA    30058‐4847
ADOLPHUS S MAGDALENA                            PO BXO 187                                                                                    KREBS             OK    74554‐0187
ADOLPHUS SANDERS                                1825 MEAD STREET                                                                              RACINE            WI    53403‐2619
ADOLPHUS SANDERS & CHRISTINE M SANDERS JT TEN   1825 MEAD STREET                                                                              RACINE            WI    53403‐2619

ADONNA M TIPPET                                 1323 W ST ST                                                                                  ABERDEEN          WA    98520
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 21 of 850
Name                                             Address1                              Address2             Address3           Address4           City              State Zip

ADONNA M WIRT                                   624 ERNIELU AVE                                                                                   ANDERSON          IN    46013‐3641
ADORA ENOCH                                     7042 OLD TROY PIKE                                                                                DAYTON            OH    45424‐2747
ADREA DESCAMP & AMY V BATESON JT TEN            22033 GARFIELD RD                                                                                 NORTHVILLE        MI    48167‐9732
ADREA SIBERMAN CUST DARA SILBERMAN ANINFANO     879 JANET AVENUE                                                                                  LANCASTER         PA    17601‐4568
UNDER THE NJ U‐G‐M‐A
ADREA TROPE SILBERMANN CUST JACLYN RACHEL       879 JANET AVENUE                                                                                  LANCASTER         PA    17601‐4568
SILBERMANN UNDERNJ U‐G‐M‐A
ADREAN P TAYLOR                                 477 TANGLEWOOD DRIVE                                                                              BRACEY            VA    23919‐1985
ADREN E RIDER & BETTY J RIDER JT TEN            6422 FENTON RD                                                                                    FLINT             MI    48507‐4753
ADRENNE M WYGONIK                               3035 LINDENWOOD DR                                                                                DEARBORN          MI    48120‐1311
ADREW ROBINS CUST MATTHEW A ROBINS UNDER FL U‐ ATTN GUNSTER YOAKLY CRISER &            STEART               PO BOX 14636                          FORT LAUDERDALE   FL    33302‐4636
G‐M‐A
ADRIAH WILLIAMS                                 17872 DWYER                                                                                       DETROIT           MI    48212‐1363
ADRIAN A BROOKS SR                              359 B SPORTMANS CLUB RD                                                                           LEESBURG          GA    31763‐3105
ADRIAN ANDRE                                    117 HAWTHORNE HOLLOW ROAD                                                                         MADISONVILLE      LA    70447‐9340
ADRIAN B DI CYAN TR UA 2/5/74                   PO BOX 427                                                                                        EVANSTON          IL    60204‐0427
ADRIAN BAUMGARDENER CUST JEFF ADRIAN            905 ELIZABETH DR                                                                                  MOUNT PLEASANT    MI    48858‐3613
BAUMGARDENER UGMA MI
ADRIAN BENES                                    120 LAKEVIEW                                                                                      BLOOMINGDALE      IL    60108
ADRIAN BRODBECK                                 GENERAL MOTORS EUROPE                  STELZENSTR #4                           8152 SWITZERLAND
ADRIAN C GONSOLIN & EVELYN BELL GONSOLIN JT TEN 507 1ST AVE NE                                                                                    WINCHESTER        TN    37398‐1651

ADRIAN C J HARRIS                                17 BIRDWOOD ST                        BALWYN               VICTORIA           3103 AUSTRALIA
ADRIAN CHALONA SR                                2209 MONTESQUIEU ST                                                                              CHALMETTE         LA    70043‐5017
ADRIAN DUNUWILA                                  4455 STEPHANIE DR                                                                                MANLIUS           NY    13104‐9390
ADRIAN E EVANS                                   3712 THE ALAMEDA                                                                                 BALTIMORE         MD    21218‐2115
ADRIAN E FREDRIKSSON                             915 30TH ST                                                                                      HONDO             TX    78861‐3508
ADRIAN E HANFT II                                1507 GLENMORE DR                                                                                 NORFOLK           NE    68701‐2636
ADRIAN E TORRES                                  1120 CERRITOS DR                                                                                 FULLERTON         CA    92835‐4020
ADRIAN E TOWNS                                   4140 ATLAS RD                                                                                    DAVISON           MI    48423‐8635
ADRIAN F BULMAN & BETH B BULMAN JT TEN           1200 PACES LN                         STE 201                                                    WOODSTOCK         GA    30189‐4840
ADRIAN F JORDAN & LINDA A JORDAN JT TEN          2765 FONTAINEBLEAU DR                                                                            DORAVILLE         GA    30360‐1253
ADRIAN F YAKOB CUST IAN F YAKOB UGMA DE          114 BLACKSHIRE RD                                                                                KENNETT SQ        PA    19348‐1669
ADRIAN G JELINEK                                 13573 EAST 46TH DRIVE                                                                            YUMA              AZ    85367‐6461
ADRIAN G RALSTIN                                 1517 EWING RD                                                                                    ROCHESTER         IN    46975‐8984
ADRIAN H BRADSHAW                                301 CAMBRIDGE DRIVE                                                                              DIMONDALE         MI    48821‐9775
ADRIAN H BRINKS                                  2756 SUNVALLEY                                                                                   JENISON           MI    49428‐8712
ADRIAN HARRISON                                  120 CALLE AMISTAD                     UNIT 6204                                                  SAN CLEMENTE      CA    92673‐6937
ADRIAN HASTINGS MERRYMAN                         BOX 26 FALLS ROAD                                                                                BROOKLANDVILLE    MD    21022‐0026

ADRIAN J ALCALA & ELVIRA ALCALA TEN ENT          8103 WILLIAM                                                                                     TAYLOR            MI    48180‐7409
ADRIAN J BESANCON                                8179 SHERBROOKE LANE                                                                             N CHARLESTON      SC    29418‐2045
ADRIAN J HUNKELE & PATRICIA R MCAULIFFE JT TEN   6442 LOST TREE LANE                                                                              SPRING HILL       FL    34606‐3332

ADRIAN JO GUIDOTTI                               6151 WOODLAKE AVE                                                                                WOODLAND HILLS    CA    91367‐3240

ADRIAN L AMSTUTZ                                 3457 CEDAR RIDGE RD                                                                              ALLISON PARK      PA    15101‐1041
ADRIAN L LEWIS                                   71 CART PATH CT                                                                                  ST CHARLES        MO    63304‐8551
ADRIAN L NEEDAM                                  211 ERMINE DR                                                                                    NEW CASTLE        DE    19720‐8604
ADRIAN M MANGINO                                 1701 NILES‐VIENNA RD                                                                             NILES             OH    44446
ADRIAN M SHAW                                    6322 MAGNOLIA TRAILS LN                                                                          GIBSONTON         FL    33534‐3002
ADRIAN MERRYMAN                                  BOX 26 FALLS ROAD                                                                                BROOKLANDVILLE    MD    21022‐0026

ADRIAN MORCHOWER                                 APT 103                               5600 WISCONSIN AVE                                         CHEVY CHASE       MD    20815‐4409
ADRIAN O BROWN                                   361 AVANT DR                          APT B                                                      HAZELWOOD         MO    63042‐3568
ADRIAN R PALACIOS                                PO BOX 09109                                                                                     CHICAGO           IL    60609‐0109
ADRIAN S ALLEN                                   13934 GREENVIEW RD                                                                               DETROIT           MI    48223‐2910
ADRIAN S NOVOTNY                                 5802 E PARKCREST ST                                                                              LONG BEACH        CA    90808‐2033
ADRIAN S RAMIREZ                                 34069 MELLO WAY                                                                                  FREMONT           CA    94555‐1450
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 22 of 850
Name                                             Address1                              Address2             Address3           Address4          City              State Zip

ADRIAN SHELTON                                   236 BROOKVIEW DR                                                                                ANDERSON          IN    46016‐6809
ADRIAN SOSIN                                     239 TAPPAN ST                                                                                   BROOKLINE         MA    02445‐4308
ADRIAN W CONTRERAS                               9852 DIXIE HWY                                                                                  CLARKSTON         MI    48348‐2459
ADRIAN W KUHLMAN                                 27235 STANDLEY RD                                                                               DEFIANCE          OH    43512‐6916
ADRIAN W WINSTON                                 2534 WEST 112 STREET                                                                            INGLEWOOD         CA    90303‐2413
ADRIAN WAITE                                     107‐D RIVERVIEW PL                                                                              SOUTHBRIDGE       MA    01550‐3170
ADRIAN WALLACE                                   558 S DEERFIELD DRIVE                                                                           CANTON            MS    39046‐9414
ADRIANA DELGADO & FLORA E RIEP & PAUL DELGADO JT 3201 HEMMETER RD                                                                                SAGINAW           MI    48603‐2018
TEN
ADRIANA FINDLAY                                  3483 ROLPH WAY                                                                                  EL DORADO HILLS   CA    95762‐4414
ADRIANA GONZALEZ                                 116 WATSON LAKE DR                                                                              LAREDO            TX    78041‐1924
ADRIANA IACOVO CUST ANTHONY R IACOVO UTMA NJ 2 HALSTEAD WAY                                                                                      MAHWAH            NJ    07430‐2934

ADRIANA Z PAYO CUST EDWARD ANTON PAYO UTMA FL 325 ASHLEY WAY                                                                                     BANNER ELK        NC    28604‐8297

ADRIANE G COROS                                  1200 E OCEAN BLVD APT 41                                                                        LONG BEACH        CA    90802
ADRIANE G DICKTER                                825 NATURES COVE ROAD                                                                           DANIA             FL    33004
ADRIANE HATKOFF                                  ADRIANE HATKOFF DISIGNS               477 ELEANOR AVE                                           SEBASTOPOL        CA    95472‐4201
ADRIANE M FISHER & LARRY J HARRIS JT TEN         419 RILEY ST                                                                                    BUFFALO           NY    14208‐2149
ADRIANE Y JOHNSON                                27957 LARSON LN                                                                                 FARMINGTN HLS     MI    48331‐3039
ADRIANNA BALDWIN                                 714 PALMER DR                                                                                   CONROE            TX    77302‐3824
ADRIANNA JO LEFEBRE                              156 HERITAGE LAKE DRIVE               DEWINTON ABLERTA                        T0L 0X0 CANADA
ADRIANNA L WILLIAMS                              575 GOLDEN DR                                                                                   KALAMAZOO         MI    49001‐3792
ADRIANNE A HOLKA & STEPHEN C CRAIG JT TEN        1419 BARDSHAR ROAD                                                                              SANDUSKY          OH    44870‐9750
ADRIANNE A WINKLER                               PO BOX 495                                                                                      OVID              MI    48866‐0495
ADRIANNE B PYNN                                  2714 BELL SHOALS RD                                                                             BRANDON           FL    33511‐7608
ADRIANNE CHARLOTTE MIKLAS                        10765 W MONTE VISTA RD                                                                          AVONDALE          AZ    85392
ADRIANNE H DUGGAN                                92 MENDINGWALL CIR                                                                              MADISON           CT    06443‐1645
ADRIANNE HOLKA                                   1419 BARDSHAR ROAD                                                                              SANDUSKY          OH    44870‐9750
ADRIANNE IVEY                                    367 KOERBER                                                                                     DEFIANCE          OH    43512‐3350
ADRIANNE LAZZARI                                 577 WOODBINE AVE S E                                                                            WARREN            OH    44483‐6050
ADRIANNE MANN                                    8129 BLANCHA DR                                                                                 UNIVERSITY CITY   MO    63130‐2004
ADRIANNE MANN & JOHN C MANN JT TEN               8129 BLANCHA DR                                                                                 UNIVERSITY CY     MO    63130‐2004
ADRIANNE MARHEVKA                                4119 BIDDULPH RD                                                                                CLEVELAND         OH    44109‐5016
ADRIANNE S DIPZINSKI                             1403 W COOK                                                                                     GRAND BLANC       MI    48439‐9364
ADRIANO C FERREIRA                               8 PORTLAND PL                                                                                   YONKERS           NY    10703‐2206
ADRIEN A CARLIER                                 20884 MANCHESTER                                                                                HARPER WOODS      MI    48225‐1808
ADRIENNE A TENNEY                                3395 S ARABIAN DR                                                                               JACKSON           WY    83001‐9103
ADRIENNE B BURDETT                               23528 E OTTAWA PLACE                                                                            AURORA            CO    80016
ADRIENNE BENZONI                                 PO BOX 98                                                                                       MOUNT LAUREL      NJ    08054
ADRIENNE BRATTON                                 136 CHESTUEE CIR NE                                                                             CLEVELAND         TN    37323‐5138
ADRIENNE C THORNTON                              15358 SNOWDEN                                                                                   DETROIT           MI    48227‐3358
ADRIENNE CHAVIN & DONALD CHAVIN JT TEN           2774 SANDALWOOD RD                                                                              BUFFALO GROVE     IL    60089‐6645
ADRIENNE CRANDON MARKS                           12901 BITNEY SPRINGS                                                                            NEVADA CITY       CA    95959‐9016
ADRIENNE D TILLMAN                               4507 CLARENCE                                                                                   ST LOUIS          MO    63115‐3111
ADRIENNE D WALLS                                 26128 PRINCETON                                                                                 INKSTER           MI    48141‐2443
ADRIENNE E BOBBE                                 134 SOUTHCOTE RD                                                                                RIVERSIDE         IL    60546‐1635
ADRIENNE E REANY                                 8535 W. COUNTY ROAD # 6                                                                         CAREY             OH    43316
ADRIENNE E SHROPSHIRE                            PO BOX 642                                                                                      BUFFALO           NY    14215‐0642
ADRIENNE HETTER                                  12300 WEST ALABAMA PL                                                                           LAKEWOOD          CO    80228‐3688
ADRIENNE JACOBS                                  8541 NORTH LOTUS AVE UNIT 711                                                                   SKOKIE            IL    60077‐2027
ADRIENNE JONES                                   18822 CHAREST                                                                                   DETROIT           MI    48234‐1624
ADRIENNE L ADAMS & ROBERT H ADAMS JR JT TEN      15200 SW 26TH ST                                                                                DAVIE             FL    33326‐2034

ADRIENNE L GREENE & DANIEL H GREENE JT TEN       1215 HUNTINGTON PIKE                                                                            HUNTINGDON        PA    19006‐8326
                                                                                                                                                 VALLEY
ADRIENNE L HAMILTON                              1370 LAKESHORE BLVD                                                                             LAKE ORION        MI    48362‐3910
ADRIENNE LARSON                                  PO BOX 10993                                                                                    TAMPA             FL    33679‐0993
ADRIENNE LASSIC                                  1107 ELN ST                                                                                     PEEKSKILL         NY    10566‐3501
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 23 of 850
Name                                             Address1                             Address2             Address3           Address4          City               State Zip

ADRIENNE LEE TIEBOR                              2499 CAYUGA ST                                                                                 NIAGARA FALLS      NY    14304‐4503
ADRIENNE LUTZ                                    77 NIGHTHAWK                                                                                   IRVINE             CA    92604‐3683
ADRIENNE M DONATELLI                             15 HARRISON ST                                                                                 NEWTON             NJ    07860‐1307
ADRIENNE MANNO                                   2525 SEPVIVA ST                                                                                PHILADELPHIA       PA    19125
ADRIENNE MARISA SMITH                            69 WEST 106TH STREET 5B                                                                        NEW YORK           NY    10025‐3882
ADRIENNE MITCHELL                                32688 SUTTON ROAD                                                                              CHESTERFIELD       MI    48047‐3367
ADRIENNE NILES                                   914 E 7TH ST                                                                                   FLINT              MI    48503‐2774
ADRIENNE OTTO                                    PO BOX 57                                                                                      SULLIVANS IS       SC    29482
ADRIENNE T MILLER                                PO BOX 80724                                                                                   SIMPSONVILLE       SC    29680‐0013
ADRIENNE V GLEASON                               8532 W CLARA DR                                                                                NILES              IL    60714‐2308
ADRIENNE VIETS CAMP                              307 THIMBLE ISLAND RD                                                                          BRANFORD           CT    06405‐5743
ADRIENNE W CARMACK                               11 BLACK BEAR DR                                                                               VEAZIE             ME    04401‐6929
ADRINE LAVINE                                    14444 DOVER FOREST DR                                                                          ORLANDO            FL    32828
ADRUAIN S CATO & VIOLA J CATO JT TEN             3240 MATLOCK ROAD                                                                              BOWLING GREEN      KY    42104‐8734
ADVANCED ENGINEERING INC                         513 AUTUMN SPRINGS CT                                                                          FRANKLIN           TN    37067
ADVERTISER CHRISTMAS FUND                        BOX 3110                                                                                       HONOLULU           HI    96802‐3110
ADVEST TR FBO MARGARET L REIMER                  799 BLAIRVILLE RD                                                                              YOUNGSTOWN         NY    14174‐1308
ADWANE S WARCHOL                                 8506 IVY HILL DR                                                                               YOUNGSTOWN         OH    44514‐5208
AE K JUNG                                        36300 DEQUINDRE RD                   APT 411                                                   STERLING HEIGHTS   MI    48310‐4247

AEGINA D MORRIS                                  4710 MEADOWOOD RD                                                                              COLUMBIA           SC    29206‐1132
AELCIDEAN STEWART & HAROLD W STEWART JT TEN      135 FORREST DR                                                                                 MARION             AR    72364‐2143

AELRED B GILL                                    729 HUNTLEY DR                                                                                 MEDINA             OH    44256‐7347
AERICK WILLIAM BACON                             6771 CORRAL CIRCLE                                                                             HUNTINGTON         CA    92648‐1532
                                                                                                                                                BEACH
AFOLABI OBAFEMI SONUGA                           4406 BEAVER POND CT                                                                            LOGANVILLE         GA    30052
AFONDA C CHOJNACKI                               181 HUNTINGTON TRAIL                                                                           CORTLAND           OH    44410
AFONSO C GOMES                                   49 MADDEN AVE                                                                                  MILFORD            MA    01757‐2317
AFTON H RATLIFF                                  795 CASTRO LANE                                                                                CINTI              OH    45246‐2603
AGAPE NATCIAS                                    931 SHOEMARKER RD                                                                              WEBSTER            NY    14580‐8737
AGAPITO SANCHEZ                                  13405 W 122ND TER                                                                              OVERLAND PARK      KS    66213‐4882
AGATHA A CONTI TR AGATHA A CONTI REVOCABLE       22992 LEEWIN                                                                                   DETROIT            MI    48219‐1117
TRUST UA 11/03/98
AGATHA C ZAMBOS                                  834 EARL AVE                                                                                   MIDDLETOWN         IN    47356‐9308
AGATHA E JACKSON JAMES H JACKSON & CAROLE A      8800 MACOMB                          APT 136                                                   GROSSE ILE         MI    48138‐1987
JACKSON JT TEN
AGATHA J LAHEY                                   35 HAMILTON ST                                                                                 ROCKVILLE CTR      NY    11570‐2036
AGATHA M TRUMPS                                  PO BOX 66063                                                                                   VIRGINIA BEACH     VA    23466‐6063
AGATHA M WOLF                                    7314 WEST OKLAHOMA AVE               APT 2                                                     WEST ALLILS        WI    53219‐2842
AGATHA M WOLF & BARBARA E SIMURDIAK JT TEN       7314 WEST OKLAHOMA AVE               APT 2                                                     WEST ALLILS        WI    53219‐2842

AGATHA M WOLF & DONNA SCHNEIDER JT TEN           7314 WEST OKLAHOMA AVE               APT 2                                                     WEST ALLILS        WI    53219‐2842
AGATHA M WOLF & JOHN W WOLF JT TEN               7314 WEST OKLAHOMA AVE               APT 2                                                     WEST ALLILS        WI    53219‐2842
AGATHA M WOLF & JOSEPH P WOLF JT TEN             7314 WEST OKLAHOMA AVE               APT 2                                                     WEST ALLILS        WI    53219‐2842
AGATHA M WOLF & NINETTE SUNN JT TEN              7314 WEST OKLAHOMA AVE               APT 2                                                     WEST ALLILS        WI    53219‐2842
AGATHA M WOLF & ROBERT E WOLF JT TEN             7314 WEST OKLAHOMA AVE               APT 2                                                     WEST ALLILS        WI    53219‐2842
AGATHA NEUFIND                                   1915 SIEBER                                                                                    HOUSTON            TX    77017‐6201
AGATHA S HAMBLIN                                 6601 MOSES RD                                                                                  W ALEXANDRIA       OH    45381‐9521
AGATHA T GRAHAM                                  165 N OSBORN                                                                                   YOUNGSTOWN         OH    44509‐2031
AGATHA Z PADLO                                   932 MAGIE AVENUE                                                                               ELIZABETH          NJ    07208‐1120
AGENOL RODRIGUEZ                                 3790 24TH AVE NE                                                                               NAPLES             FL    34120‐3546
AGGIE M TOPP                                     1007 RENSHAW DRIVE                                                                             ST LOUIS           MO    63135‐2830
AGNES A CHAPIN CUST MARK S CHAPIN UGMA CT        15605 WHITEWOOD DRIVE                                                                          SUN CITY WEST      AZ    85375‐6541
AGNES A HARKNESS TR AGNES A HARKNESS FAM TRUST   2923 SHADOW LN                                                                                 POLLOCK PINES      CA    95726‐9323
UA 03/04/92
AGNES A HEUERTZ TR ANN HEUERTZ LIVING TRUST UA   4767 CHICKASAW ROAD                                                                            MEMPHIS            TN    38117‐1854
07/16/01
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 24 of 850
Name                                             Address1                               Address2               Address3         Address4          City            State Zip

AGNES A JOHNSON TR UA 09/01/92 THE AGNES A       736 ISLAND WAY APT 403                                                                           CLEARWATER      FL    33767‐1837
JOHNSON TRUST
AGNES A KECZER                                   13333 PENNSYLVANIA ROAD                                                                          RIVERVIEW        MI   48193‐6671
AGNES A LAMBERT                                  4155 US HIGHWAY 6                                                                                ROME             OH   44085‐9612
AGNES A MARTIN                                   2575 RUSSELLVILLE RD                                                                             MORGANTOWN       KY   42261‐8505
AGNES A MILLS                                    801 MARYE ST                                                                                     FREDERICKSBURG   VA   22401‐5626
AGNES A MOROUN                                   BOX 3017                                                                                         CENTERLINE       MI   48015‐0017
AGNES A MOROUN                                   12225 STEPHENS RD                                                                                WARREN           MI   48089‐2010
AGNES A SPARPANIC & DIANE RICE JT TEN            33014 TOWNLINE RD                                                                                ONTONAGON        MI   49953‐9121
AGNES A STOKELY                                  7001 CRESTWOOD DR                                                                                DEARBORN HEIGHTS MI   48127‐4600

AGNES B BICE                                     1038 E GEORGIA AVE                                                                               PHOENIX         AZ    85014‐2609
AGNES B COWAN                                    542 PADDLE CREEK RD                                                                              BRISTOL         TN    37620‐8352
AGNES B DALLE                                    105 FOSTER RD                                                                                    ROCHESTER       NY    14616‐2428
AGNES B HANEY                                    709 W EVESHAM RD                                                                                 MAGNOLIA        NJ    08049‐1511
AGNES B MCEVOY                                   167 WADSWORTH AVE                                                                                AVON            NY    14414‐1157
AGNES B MUIR & PATRICIA MUIR ROACH JT TEN        34 HUQUENEN LN                                                                                   BLUFFTON        SC    29910‐4546
AGNES B SNIECHKUS                                APT 4‐F                                175 COLUMBIA HEIGHTS                                      BROOKLYN        NY    11201‐2156
AGNES B STEWART                                  PO BOX 98                                                                                        FORT VALLEY     GA    31030‐0098
AGNES BLAU                                       3425 FIFTH AVE                                                                                   YOUNGSTOWN      OH    44505‐1905
AGNES BOLTON & VERNOCIA BOLTON JT TEN            606 BERNADETTE DR                                                                                FOREST LAKE     MD    21050‐2716
AGNES BRADWAY                                    612 4TH ST                                                                                       ELK RIVER       MN    55330‐1430
AGNES BREWER                                     202 JOHNSON TRAIL                                                                                DAYTON          OH    45418‐2993
AGNES C BRENNAN                                  SHATTUCK MANOR                         5935 SHATTUCK RD       APT 3                              SAGINAW         MI    48603‐6908
AGNES C CURRY                                    1331 SECOND AVE                                                                                  ALTOONA         PA    16602‐3649
AGNES C DONAHOE                                  6312 MOUNT HERMON ROCK                 CREEK RD                                                  SNOW CAMP       NC    27349‐9204
AGNES C DORAN & ROBERT DORAN & BRUCE DORAN &     1160 SHERIDAN #238                                                                               PLYMOUTH        MI    48170‐1589
DENNIS DORAN JT TEN
AGNES C FAHL                                     116 QUINCY ST                                                                                    CHEVY CHASE     MD    20815‐3321
AGNES C GRAF CUST KARON L GRAF U/THE PENN        427 W UNION ST                                                                                   WHITEHALL       PA    18052‐5319
UNIFORM GIFTS TO MINORS ACT
AGNES C LUBY                                     511 KENSINGTON AVE #318                                                                          MERIDEN         CT    06451
AGNES C OSINSKI TR UA 05/27/92 AGNES C OSINSKI   45528 DOVER CT                                                                                   MT CLEMENS      MI    48044‐3832
TRUST
AGNES C STUPAR                                   PO BOX 385                                                                                       CHAMPION        PA    15622‐0385
AGNES CARTER                                     PO BOX 221                                                                                       SOUTH DENNIS    NJ    08245‐0221
AGNES CLAIRE KOZEL                               2302 LEAVENWORTH ST                                                                              SAN FRANCISCO   CA    94133‐2214
AGNES CLEMONS                                    235 HARRY S TRUMAN DR                  APT 14                                                    UPPR MARLBORO   MD    20774‐2033
AGNES D KNAPKE                                   321 EAST WARD ST                                                                                 VERSAILLES      OH    45380‐1433
AGNES D MANZELLA & DON F MANZELLA JT TEN         229 SPRUCEWOOD TERR                                                                              WILLIAMSVILLE   NY    14221
AGNES DODOK                                      RR1                                    CHATHAM ON                              N7M 5J1 CANADA
AGNES DOROTHY BACKA                              4158 W GRAND BLANC RD                                                                            SWARTZ CREEK    MI    48473‐9111
AGNES DUNN                                       45 QUEENS A                                                                                      GREENPORT       NY    11944‐2611
AGNES E ANTON                                    5720 S HARPER AVE                                                                                CHICAGO         IL    60637‐1841
AGNES E DESROSIERS                               905 E SILVER BELL RD                                                                             LAKE ORION      MI    48360‐2332
AGNES E ECKERMAN & TIMOTHY J ECKERMAN JT TEN     3372 WIDGEON DR                                                                                  JANESVILLE      WI    53546‐8418

AGNES E FOLEY                                   33 ALEXANDER AVE                                                                                  YONKERS         NY    10704‐4201
AGNES E FRANKO & CLARENCE FRANKO JT TEN         1718 BROOKVIEW BLVD                                                                               PARMA           OH    44134‐1764
AGNES E GULLSTRAND & LISA ANN GULLSTRAND JT TEN 1636 RANCHLAND DR                                                                                 GREEN BAY       WI    54304‐2923

AGNES E KEPLER                                   822 7TH ST                                                                                       KALONA          IA    52247‐9481
AGNES E LEWIS                                    3600 PARK ROAD APT HP15                                                                          CHARLOTTE       NC    28209
AGNES E MIMS TR AGNES E MIMS TRUST UA 08/31/95   5834 STARFISH BAY LN                                                                             NO LAS VEGAS    NV    89031

AGNES E RERKO                                    ROUTE 3                                                                                          TARRS           PA    15688‐9803
AGNES F CRANE                                    1249 QUAIL RIDGE DR                                                                              OXFORD          MI    48371‐6075
AGNES F CUNNINGHAM                               27825 DETROIT RD #505                                                                            WESTLAKE        OH    44145‐2128
AGNES FRAUNDORF                                  6817 PARKGATE OVAL                                                                               SEVEN HILLS     OH    44131‐3642
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 25 of 850
Name                                                Address1                              Address2               Address3         Address4          City               State Zip

AGNES FREY                                          9800 EAST IDLEWOOD DRIVE                                                                        TWINSBURG          OH    44087‐1624
AGNES G JIMENEZ                                     2320 14TH STREET                                                                                PORT HURON         MI    48060‐6576
AGNES GADULA                                        17658 CENTRALIA                                                                                 REDFORD            MI    48240‐2243
AGNES GALISZ                                        3949 WEST ALEXANDRA RD                BUILDING 37 APT 1213                                      NORTH LAS VEGAS    NV    89032‐2906

AGNES GAYLE HARRIS                                  399 CALEDON RD                                                                                  KING GEORGE        VA    22485‐7601
AGNES GERVASIO                                      7 MONACO COURT                                                                                  TOMS RIVER         NJ    08757‐3844
AGNES GORDON                                        2791 2 MILE RD                                                                                  BAY CITY           MI    48706‐1247
AGNES GRAHAM                                        6917 BRECKENRIDGE AVE                                                                           RALEIGH            NC    27615
AGNES H BUNSEY                                      2702 NORRIS AVE                                                                                 PARMA              OH    44134‐3910
AGNES H DONATI                                      5274 KELLEW LN                                                                                  BLOOMFIELD HILLS   MI    48302‐2738

AGNES H LIVENGOOD EXECUTOR E‐O BLANE LIVENGOOD 5603 MERKLE AVE                                                                                      CLEVELAND          OH    44129

AGNES H MASON & ROBERT N MASON & MARK A             320 HANOVER RD                                                                                  EVANSVILLE         IN    47710‐4269
MASON JT TEN
AGNES H OWENS                                       5050 MEADOMBROOK RD                                                                             WILLAIMSVILLE      NY    14221‐4214
AGNES H PEREZ‐DAVIS                                 445 MOCKERNUT LN                                                                                COLUMBIA           SC    29209‐4428
AGNES HUNT                                          3851 WEST 132 STREET                                                                            CLEVELAND          OH    44111‐4406
AGNES HUNT                                          3270 TAYLOR                                                                                     DETROIT            MI    48206‐1928
AGNES IDA HAZEN                                     1301 MOHAWK                                                                                     FLINT              MI    48507‐1919
AGNES J BETHARDS                                    5523 CORAL CT                                                                                   GALLOWAY           OH    43119‐8918
AGNES J BLANKENSHIP & MARK D BLANKENSHIP JT TEN     G‐1324 GREENRIDGE                                                                               FLINT              MI    48532

AGNES J DECKER TR THE EDWARD C DECKER FAMILY TR 1252 SCENIC DRIVE                                                                                   GLENDALE           CA    91205‐3744
UA 5/15/72
AGNES J IGNUDO                                        117 STANTON RD                                                                                WILM               DE    19804‐3625
AGNES J MC FADDEN                                     3608 CENTRAL AVENUE                                                                           OCEAN CITY         NJ    08226‐1929
AGNES J PERDUE                                        889 CROWLEY RD                                                                                FARMINGTON         NY    14425‐9548
AGNES J WELLIVER TR AGNES J WELLIVER TRUST UA         10418 KENSINGTON                                                                              KANSAS CITY        MO    64137‐1644
12/20/01
AGNES JANE PLUMMER                                    3049 E SOUTH SHORE DR                                                                         COLUMBIA CITY      IN    46725‐9365
AGNES JEAN HARPER                                     BOX 8 SITE 2                        R R NO 5               EDMONTON AB      ZZZZ CANADA
AGNES JEND TR UNDER DECLARATION OF TRUST              5409 W AGATITE                                                                                CHICAGO            IL    60630‐3501
02/01/91
AGNES JOHNSON                                         717 BELMONT DR                                                                                ROMEOVILLE         IL    60446‐1621
AGNES K HEHNLY                                        2674 YORK ROAD W                    BOX 86                                                    YORK               NY    14592‐0086
AGNES K RINK                                          1503 MILITARY RD                                                                              BUFFALO            NY    14217‐1339
AGNES KINSER                                          9 VERNON ST                                                                                   BRADFORD           MA    01835‐7232
AGNES L BALLARD                                       6091 BELFAST RD                                                                               GOSHEN             OH    45122‐9450
AGNES L BROWN                                         6418 GREEN BROOK DR                                                                           DAYTON             OH    45426‐1308
AGNES L LOOKADOO                                      16715 QUAKERTOWN LANE                                                                         LIVONIA            MI    48154‐1161
AGNES L MCNEICE                                       3449 PASADENA                                                                                 ORION              MI    48359‐2058
AGNES L PETERS                                        1934 PETERS ROAD                                                                              ALGER              MI    48610‐9577
AGNES L PULLEY                                        817 HAMPSHIRE RD                                                                              DAYTON             OH    45419‐3752
AGNES L QUIGLEY                                       8836 LOG RUN DR S                                                                             INDIANAPOLIS       IN    46234‐1336
AGNES L ROWLEE                                        134 E 11TH ST                                                                                 OSWEGO             NY    13126‐1630
AGNES LAHODA CUST JOHN LAHODA UGMA NY                 437 BUNN HILL ROAD                                                                            VESTAL             NY    13850‐5917
AGNES LAMAR & HECTOR LAMAR JT TEN                     185 BRONX RIVER ROAD                                                                          YONKERS            NY    10704‐3752
AGNES LE BOURDAIS                                     29185 WESTFIELD                                                                               LIVONIA            MI    48150‐3151
AGNES LEES                                            10744 LITTLE RIVER BLVD             WINDSOR ON                              N8P 1V8 CANADA
AGNES LEILANI AVALOS                                  746 ELIZABETH ST                                                                              SAN FRANCISCO      CA    94114‐3145
AGNES LOUISE BECHEL                                   9514 MCAFEE RD                                                                                MONTROSE           MI    48457‐9123
AGNES LUND                                            1420 LINCOLN DR                                                                               FLINT              MI    48503‐3556
AGNES M ANTONUCCI                                     8880 BALBOA DRIVE                                                                             STERLING HTS       MI    48313‐4815
AGNES M BASILE & PHILIP J BASILE & JANICE N BASILE JT 16324 CLYMER ST                                                                               GRANADA HILLS      CA    91344‐6817
TEN
AGNES M BERNHARDT                                     5 NEW HILLCREST AVE                                                                           TRENTON            NJ    08638‐3519
AGNES M BRADWAY                                       612 4TH ST NW                                                                                 ELK RIVER          MN    55330‐1430
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 26 of 850
Name                                            Address1                             Address2             Address3           Address4          City              State Zip

AGNES M CHOINIERE                               21 INDEPENDENCE AVE                                                                            FRANKLIN          NH    03235‐1262
AGNES M DENTON & DELILAH D WARD JT TEN          2230 BOYKIN RD                                                                                 AUGUSTA           GA    30906‐9488
AGNES M FOSTER                                  257 RALPH RAWLS RD                                                                             HATTIESBURG       MS    39402‐8790
AGNES M HUTCHINS                                904 NORMANDY DR                                                                                CLINTON           MS    39056‐3627
AGNES M JAWORSKI TR AGNES M JAWORSKI REV TRUST 7178 HITCHINGHAM                                                                                YPSILANTI         MI    48197‐8927
UA 10/30/96
AGNES M MCCREANOR                               106 AVICE STREET                                                                               NARRAGANSETT      RI    02882‐3224
AGNES M MORGAN                                  349 BLACKWELL LN                                                                               EOLIA             MO    63344
AGNES M PEACE                                   4215 KENDAL WAY                                                                                SLEEPY HOLLOW     NY    10591‐1070
AGNES M RASH & ROBERT L GRIMM JT TEN            405 ARDEN RD                                                                                   GULPH MILLS       PA    19428‐2507
AGNES M SCHRASS & THOMAS R SCHRASS JT TEN       6447 ORIOLE DRIVE                                                                              FLINT             MI    48506‐1722
AGNES M SILVIA                                  1112 HEWITT WAY                                                                                BALTIMORE         MD    21205‐3213
AGNES M SMITH                                   40050 JONES RD                                                                                 WELLINGTON        OH    44090‐9663
AGNES M SMITH & THOMAS H SMITH JT TEN           40050 JONES ROAD                                                                               WELLINGTON        OH    44090‐9663
AGNES M SNELER & ALTON SNELER & GEORGENE        2315 CLIPPER ST                                                                                SAN MATEO         CA    94403‐1005
MOORE JT TEN
AGNES M SOJKA                                   12521 WOODIN ROAD                                                                              CHARDON           OH    44024‐9141
AGNES M THOMPSON                                222 VALLEY VIEW RD                                                                             MANCHESTER        CT    06040‐6934
AGNES M WEBB                                    354 MONTGOMERY RD                                                                              RISING SUN        MD    21911‐2102
AGNES M WHEATON                                 120 SOUTH SHORE DR                                                                             CLAYTON           NY    13624
AGNES M WILSON                                  3708 GRAND CENTRAL AVE #F                                                                      VIENNA            WV    26105‐1656
AGNES MAE BOHANNON                              115 ST JOHNS RD                                                                                SHAWNEE           OK    74801‐8710
AGNES MARGOSIAN                                 PO BOX 395                                                                                     DINUBA            CA    93618‐0395
AGNES MARY QUIGLEY                              12 WINDMILL LANE                                                                               NEW CITY          NY    10956‐6105
AGNES MOWLL                                     PO BOX 574                                                                                     NEWARK            DE    19715‐0574
AGNES MROWIEC                                   27940 WALKER DR                                                                                WARREN            MI    48092‐3064
AGNES MURRAY O SHEA                             408 TURKEY LANE RD                                                                             LIVERMORE         ME    04253‐4206
AGNES N CANAAN                                  2741 N SALISBURY                     APT 3210                                                  WEST LAFAYETTE    IN    47906‐1431
AGNES O NIGOGHOSIAN                             6127 HARTWELL                                                                                  DEARBORN          MI    48126‐2243
AGNES O ROCKETT                                 PO BOX 856                                                                                     HALFWAY           OR    97834‐0856
AGNES OBRIEN & FRANK J KIEDAISCH JT TEN         538 16TH ST                                                                                    SANTA MONICA      CA    90402‐3002
AGNES P BIERY                                   421 GLENDOLA N W                                                                               WARREN            OH    44483‐1250
AGNES P HARRIS                                  641 GIBBS RD                                                                                   ASHLAND CITY      TN    37015‐9360
AGNES P MAHONEY                                 130 CAMBERLEY PLACE                                                                            PENFIELD          NY    14526‐2711
AGNES P MARGOLIS                                C/O EDWARD MARGOLIS                  1 ITHAN WOODS LANE                                        VILLANOVA         PA    19085‐1337
AGNES P O'BRIEN & JAMES E O'BRIEN JT TEN        59 COOLIDGE ST                                                                                 MALVERNE          NY    11565‐1807
AGNES PAL EX UW STEVE UVEGES                    13911 BENNINGTON BLVD                                                                          CLEVELAND         OH    44130‐7008
AGNES R ALBIN                                   225 BOZMAN                                                                                     STONEWALL         LA    71078‐9216
AGNES R BOWLES                                  6601 SAN VICENTE                                                                               CORAL GABLES      FL    33146‐3542
AGNES R BROWN                                   40 E REAMER AVE                      APT A                                                     WILMINGTON        DE    19804‐1368
AGNES R BUTANOWICZ                              26500 BAYFAIR DR                                                                               OLMSTED FALLS     OH    44138‐1800
AGNES R IGNACE                                  4260 CRESTKNOLL DRIVE                                                                          GRAND BLANC       MI    48439‐2064
AGNES RADABAUGH                                 14210 TWILIGHT WAY                                                                             NEWBERLONG        WI    53151‐3876
AGNES ROACHE & JAMES ROACHE TEN ENT             3101 MAGEE AVE                                                                                 PHILA             PA    19149‐2628
AGNES ROSSLER TR AGNES ROSSLER‐STANKLUS TRUST 6460 RIVER RUN BLVD                                                                              WEEKI WACHEE      FL    34607‐4007
UA 6/21/99
AGNES S HECK                                    3644 S ELM WAY                                                                                 DENVER            CO    80237‐1011
AGNES S NEDEFF                                  5129 E PLEASANT RUN                  PARKWAY S DR                                              INDIANAPOLIS      IN    46219
AGNES S STOCKDALE                               2706 WHITEHOUSE DRIVE                                                                          KOKOMO            IN    46902‐3028
AGNES SHIELDS & RICHARD L SHIELDS JT TEN        7201 N WALNUT                                                                                  GLADSTONE         MO    64118‐1854
AGNES SZWEC                                     BOX 392                                                                                        MILFORD           NJ    08848‐0392
AGNES T BUSANOVICH                              150 COOPERS KILL ROAD                                                                          DELRAN            NJ    08075‐2026
AGNES T GABRIELE                                1000 WINDROW DR                      STE 1                                                     PRINCETON         NJ    08540
AGNES T KRILL TR KRILL FAMILY TRUST UA 11/09/89 2650 E BARKLEY DRIVE                 APT B                                                     WEST PALM BEACH   FL    33415‐8138

AGNES T MURAWSKI                                10 DIAMOND ST                                                                                  TERRYVILLE        CT    06786‐5208
AGNES T RAMMEL & LAURIE RAMMEL & GREGG          19663 IRONWOOD COURT                                                                           NORTHVILLE        MI    48167‐2514
RAMMEL JT TEN
AGNES T WATROS                                  857 EASTLAND AVE S E                                                                           WARREN            OH    44484‐4507
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                      Part 1 of 8 Pg 27 of 850
Name                                             Address1                             Address2             Address3           Address4                City               State Zip

AGNES TAYLOR                                     309 OHIO AVE                         PO BOX 76                                                       HOOVEN           OH      45033‐0076
AGNES V BARTLEY                                  6 WALTER STREET                                                                                      NORTON           MA      02766‐1002
AGNES V BUTKI & ALAN G BUTKI JT TEN              2181 HILLWOOD CT                                                                                     CLEARWATER       FL      33763‐1314
AGNES V BUTKI & GARY G BUTKI JT TEN              2181 HILLWOOD COURT                                                                                  CLEARWATER       FL      33763
AGNES V BYRNE                                    11334 W RIVER RD                                                                                     COLUMBIA STATION OH      44028‐9526

AGNES VAZNA & GRACE PETRARCA JT TEN              176 VILLA AVENUE                                                                                     WARWICK            RI    02886‐5048
AGNES VIRTA TR AGNES VIRTA TRUST UA 12/16/02     1639 BOXFORD ST                                                                                      TRENTON            MI    48183‐1871

AGNES WILSON                                     202 S 33RD ST                                                                                        CAMDEN             NJ    08105‐3016
AGNES ZADRA BRAY                                 325 W 18TH ST                                                                                        PUEBLO             CO    81003‐2602
AGNETA M DOMASZEWICZ                             198 PELHAM ST                                                                                        PEMBROKE           MA    02359‐3739
AGNITA E SMITH                                   432 E CLARK ST                                                                                       DAVISON            MI    48423‐1821
AGNITA E SMITH & ROBERT E SMITH JT TEN           432 E CLARK ST                                                                                       DAVISON            MI    48423‐1821
AGOP Z DEMIRDJIAN                                32138 MEADOWBROOK                                                                                    LIVONIA            MI    48154‐3576
AGOSTINA E NOTARPASQUALE EX UW ANTONIO U         238 JERSEY BLACK CIR                                                                                 ROCHESTER          NY    14626‐4444
NOTARPASQUALE
AGOSTINHO G DACOSTA                              6 BETHEL RD                                                                                          MILFORD            MA    01757‐1829
AGOSTON FERENCZY                                 29100 LESNAU CT                                                                                      CHESTERFIELD       MI    48047‐6011
AGR MASTER LP                                    1350 AVENUES OF THE AMERICAS         SUITE 2300                                                      NEW YORK           NY    10019
AGUSTIN B GONZALEZ                               404 LOCUST STREET                                                                                    ROSELLE PARK       NJ    07204‐1921
AGUSTIN CERVERA                                  PO BOX 2891                                                                                          LAREDO             TX    78044‐2891
AGUSTIN GARCIA                                   2122 WALNUT CREEK                                                                                    WEST COVINA        CA    91791‐1907
AGUSTIN J RAMOS                                  6195 DEERWOODS TRAIL                                                                                 ALPHARETTA         GA    30005
AGUSTIN PADILLA                                  7415 W 62ND PL                                                                                       ARGO               IL    60501‐1707
AGUSTIN PENA & NORMA ALBALADEJO JT TEN           BALCONES DE MONTE REAL #2305         CAROLINA PR                             987 PUERTO RICO
AGUSTIN REYES                                    RR 2BOX 120‐A                                                                                        ALAMO              TX    78516
AGUSTIN RODRIGUEZ JR                             206 WILLIAM DURFEE DR                                                                                EATON RAPIDS       MI    48827‐9594
AGUSTIN S TORAL                                  13665 LEXICON PL                                                                                     SYLMAR             CA    91342‐1817
AGUSTIN YEPEZ                                    5701 W 56TH ST                                                                                       CHICAGO            IL    60638‐2831
AGUSTIN YEPEZ & THERESA T YEPEZ JT TEN           PO BOX 517                           SUMMITT                                                         SUMMIT ARGO        IL    60501
AHARON OSKIAN                                    107 ROBIN CT                                                                                         COLUMBIA           TN    38401‐5572
AHARON OSKIAN & ANNOULA OSKIAN & MANASEL         107 ROBIN COURT                                                                                      COLUMBIA           TN    38401
OSKIAN JT TEN
AHIJAH M ISRAEL                                  PO BOX 11081                                                                                         CINCINNATI         OH    45211‐0081
AHMAD A ALI                                      4750 HERMITAGE RD                                                                                    NIAGARA FALLS      NY    14305‐1416
AHMAD ALI                                        281 S FORTUNE ST                                                                                     DETROIT            MI    48209‐2625
AHMAD BEYDOUN                                    7849 HARTWELL                                                                                        DEARBORN           MI    48126‐1121
AHMAD D MAKKI                                    7817 INDIANA                                                                                         DEARBORN           MI    48126‐1205
AHMAD FAREGHBAL                                  48‐15 GLENWOOD ST                                                                                    LITTLE NECK        NY    11362‐1422
AHMAD J WALKER                                   3203 N LINDEN RD                                                                                     FLINT              MI    48504‐1752
AHMAD K BAYDOUN                                  7436 THELSEN ST                                                                                      DEARBORN           MI    48126‐2170
AHMAD M BEYDOUN                                  7345 PINEHURST                                                                                       DEARBORN           MI    48126‐1564
AHMAD M OMAR                                     3307 EDSEL ST                                                                                        DEARBORN           MI    48120‐1444
AHMAD M SAMHOURI & ELVIRA B SAMHOURI JT TEN      1937 GOLF RIDGE                                                                                      BLOOMFIELD HILLS   MI    48302‐1724

AHMAD MUTAALI                                    4023 QUEENSBURY CIRCLE                                                                               STOW               OH    44224‐5417
AHMAD RAZI                                       2227 WHISPERING COVE CIRCLE                                                                          WESTLAKE           OH    44145‐6608
AHMAD S HASAN                                    2202 CUMBERLAND                                                                                      SAGINAW            MI    48601‐4154
AHMAD T JABER                                    2400 GREEN                                                                                           DETROIT            MI    48209‐1244
AHMAD Y HAFFAR                                   2045 HICKORY LN                                                                                      OSHKOSH            WI    54901‐2513
AHMED C K KUTTY & TINA KUTTY JT TEN              3511 EAST COTTONWOOD ROAD                                                                            KEARNEY            NE    68845‐0609
AHMED HOSNEY AHMED                               C/O R MONTGOMERY                     ZAMALEK CAIRO                           EGYPT
AHMED KHAN                                       5816 N SHERIDAN RD                                                                                   CHICAGO            IL    60660‐4912
AHMED T KARKOUKLY                                29665 LITTLE MACK                                                                                    ROSEVILLE          MI    48066‐2255
AHMED Z GHANI                                    5023 N KINGSHIGHWAY BLVD                                                                             ST LOUIS           MO    63115‐1831
AHMET K TUGCU                                    MAYAVERA SITESI 3 ETAP NO 407        CEKMEKOY             UMRANIYE           ISTANBUL 34799 TURKEY
AHREN NATHAN FOX                                 1609 HUNSAKU ST                                                                                      OCEANSIDE          CA    92054
AHUVAH KELLER                                    152‐18 UNION TURNPIKE APT 8M                                                                         FLUSHING           NY    11367
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                         Part 1 of 8 Pg 28 of 850
Name                                                Address1                             Address2                   Address3        Address4              City              State Zip

AI CHEN & SHAN JIANG JT TEN                         2363 SHORTHILL DR                                                                                     OCEANSIDE         CA    92056‐3610
AI WATSON ADAMS                                     64 CEDAR RIDGE DR                                                                                     PORT MATILDA      PA    16870‐9592
AI‐CHING TAM                                        POB 2121                                                                                              CALIF CITY        CA    93504
AIDA CABRERA                                        14040 NOTREVILLE WAY                                                                                  TAMPA             FL    33624‐6952
AIDA DE BAISE                                       3 GRANTHAM RD                                                                                         WALLINGFORD       CT    06492‐5005
AIDA DEL PRETE                                      APT 5E                               75 MONTGOMERY STREET                                             NEW YORK          NY    10002‐6554
AIDA G ERNST                                        826 14TH ST                                                                                           PERU              IL    61354‐1810
AIDA I MARRIOTT                                     373 SOUTH BROADWAY APT 3A                                                                             YONKERS           NY    10705‐2013
AIDA M ARZUAGA                                      207 E 74TH ST APT 1B                                                                                  NEW YORK          NY    10021‐3341
AIDA M O'SULLIVAN TR THE O'SULLIVAN FAM TRUST UA    1734 NO CATALINA ST                                                                                   BURBANK           CA    91505‐1205
06/18/87
AIDA S DE CLAUSEN                                   COMPUTERSHARE                        LEGAL/COMPLIANCE/OFAC 3A   250 ROYALL ST   CANTON MA 2021 CUBA
AIDA T SAYESKI                                      PO BOX 20125                                                                                          BULLHEAD CITY    AZ     86439‐0125
AIDA Y SARMAST & EDISON M SARMAST JT TEN            752 E NICHOLS DR                                                                                      LITTLETON        CO     80122‐2842
AIDAN J NEILAN                                      30639 RUE LANG LOUIS                                                                                  RAN PALOS VERDES CA     90275‐5324

AIDEN EBBITT                                        705 MILLSTONE DRIVE                                                                                   ROCHESTER HILLS   MI    48309‐1651
AIKATERINI ELIA ZAFEROPOULOU                        ELL STRATIOTOU 3                     ABITOSAIGION                               GREECE
AIKEN COUNTY SHRINE CLUB                            BOX 297                                                                                               AIKEN             SC    29802‐0297
AILEEN A EDWARDS                                    PO BOX 2558                                                                                           ABINGDON          VA    24212‐2558
AILEEN BEEHLER TR AILEEN BEEHLER TRUST UA 7/21/99   168 EASTSIDE DR                                                                                       REHOBOTH BEACH    DE    19971‐1300

AILEEN C SWEETON                                    8 STRATHMORE LN                                                                                       AVON              CT    06001‐4535
AILEEN CLARK & DANNY CLARK & PATRICIA PRATHER JT    5328 CR427                                                                                            AUBURN            IN    46706‐9504
TEN
AILEEN D COUNTS                                     18768 FAUST                                                                                           DETROIT           MI    48219‐2945
AILEEN DORIS HUSEN                                  6930 SHERIDAN RD                                                                                      SAGINAW           MI    48601‐9767
AILEEN E FIELDS & LEWIS FIELDS JT TEN               15235 LOUIS MILL DR                                                                                   CHANTILLY         VA    20151‐1315
AILEEN ELLEN WAGNER                                 5404 LENNON RD                                                                                        SWARTZ CREEK      MI    48473‐7923
AILEEN F GROVES                                     2317 BRANNING RD                                                                                      LOUISVILLE        KY    40222‐6226
AILEEN FITZPARTRICK                                 33‐57 162 STREET                                                                                      FLUSHING          NY    11358‐1326
AILEEN K VADEN                                      1808 COLONIAL VILLAGE #3                                                                              WATERFORD         MI    48328‐1926
AILEEN KARLEWSKI                                    17701 FOX                                                                                             REDFORD           MI    48240‐2358
AILEEN LEIPPRANDT                                   3674 PETTIS NE                                                                                        ADA               MI    49301‐9720
AILEEN M ROBINSON & LYNNE M ROBINSON JT TEN         699 PLYMOUTH ROAD                                                                                     SAGINAW           MI    48603‐7142

AILEEN P BRUMFIELD                            ATTN VICKIE J BRUMFIELD                    1115 BRUMFIELD RD SW                                             BOQUE CHITTO      MS    39629‐5116
AILEEN R VAN CAMP                             13911 OLD SCUGOG ROAD BOX 320              BLACKSTOCK ON                              L0B 1B0 CANADA
AILEEN R VAN CAMP                             13911 OLD SCUGOG RD BOX 320                BLACKSTOCK ON                              L0B 1B0 CANADA
AILEEN R VAN CAMP                             13911 OLD SCUGOG RD                        PO BOX 320                 BLACKSTOCK ON   L0B 1B0 CANADA
AILEEN RANDALL                                1922 EARLMONT RD                                                                                            BERKLEY           MI    48072‐1873
AILEEN RICK                                   PO BOX 93                                                                                                   KANOPOLS          KS    67454‐0093
AILEEN ROY                                    100 ELIZABETH AVE APT 411                  ST JOHN'S NL                               A1B 1R9 CANADA
AILEEN V GOINS JR                             425 N HARRIS RD                            APT 3                                                            YPSILANTI         MI    48198‐4137
AILEEN WILSON                                 9062 WHITFIELD DR                                                                                           ESTERO            FL    33928‐4410
AILINE WEIDMAN                                175 COUNTRY BAY DR                                                                                          PIGEON            MI    48755‐9577
AILLA KAHN                                    13912 PEGG ST                                                                                               WESTMINSTER       CA    92683‐3552
AILON GRUSHKIN                                176 LAGUARDIA AVE                                                                                           STATEN ISLAND     NY    10314
AILSA A THOMPSON CUST GALE E THOMPSON UGMA PA 7604 EAST LN                                                                                                GLENSIDE          PA    19038‐8511

AILSA J PENNINGTON                                  207 MERCER MILL RD                                                                                    LANDENBERG        PA    19350‐9113
AILSIE B MCENTEGGART                                794 VALLOMBROSA AVE                                                                                   CHICO             CA    95926‐4041
AIMEE BLAZEK CUST DANIELLE BLAZEK UTMA WI           5241 MONCHES RD                                                                                       COLGATE           WI    53017
AIMEE C LE BLANC & PAULA J LE BLANC JT TEN          35 LAIKI PL                                                                                           MAKAWAO           HI    96768‐8025
AIMEE CAMPODONICO                                   4137 W MENLO AVE                                                                                      FRESNO            CA    93722‐3533
AIMEE E PHILLIPS                                    788 BROWN RD                                                                                          FREMONT           CA    94539‐7007
AIMEE LEIGHTON & ROBERT L LEIGHTON JT TEN           3064 OLD FARM RD                                                                                      FLINT             MI    48507‐1258
AIMEE M MILLER                                      8111 PACIFIC AVE                                                                                      WILDWOOD CREST    NJ    08260‐3631
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 29 of 850
Name                                               Address1                             Address2             Address3           Address4          City               State Zip

AIMEE MARIE D'AMICO                                47 MALLORCA                                                                                    LAGUNA NIGUEL      CA    92677
AIMEE R GRUBB                                      C/O M A GRUBB II                     2141 DELAVIEW AVE                                         WILM               DE    19810‐4146
AIMEE R LABRIE                                     372 FORDCROFT DR                                                                               ROCHESTER HILLS    MI    48309‐1145
AIMIE P WOCKENFUSS                                 4 HARVEST PL                                                                                   BALLSTON LAKE      NY    12019‐9125
AINA RUMPANS                                       PO BOX 2071                                                                                    JANESVILLE         WI    53547‐2071
AINSLEY HOSEA                                      7330 CHARREADO CT                                                                              LAS VEGAS          NV    89179‐1240
AINSLEY M BYFIELD                                  620 EAST 44TH ST                                                                               INDIANAPOLIS       IN    46205‐1808
AINSLEY SUDHOFF CUST TRISTEN DAVIS UGMA MI         4850 KELLY DR                                                                                  CARLSBAD           CA    92008‐3733
AINSLIE T SETTLES                                  5701 LOWELL                                                                                    SHAWNEE MISSION    KS    66202‐2249

AIRLENE E FOWLER                                   3009 HOGARTH                                                                                   DETROIT            MI    48206‐2595
AIRLIE L KLOCK                                     751 HILLSDALE DR                     APT 316                                                   CHARLOTTESVLE      VA    22901‐3303
AIRS T BARTON                                      3282 FULS RD                                                                                   FARMERSVILLE       OH    45325‐8207
AISIN HOLDINGS OF AMEIRCA                          24330 GARNIER ST                                                                               TORRANCE           CA    90505‐5327
AISYA J TAYLOR                                     9 LANDING CIR                                                                                  WILLIAMSBURG       VA    23188‐1204
AJAMAH V HUDSON                                    1733 JOAN DRIVE                                                                                LOUISVILLE         TN    37777‐5003
AJIT K CHOWDHURY                                   9006 SETTLERS RD                                                                               MADISON            WI    53717‐2714
AJIT SINGH                                         3417 NORTH DAMEN                                                                               CHICAGO            IL    60618‐6105
AKE NILSSON                                        SAAB AUTOMOBILE AB                   D1‐3 TA              TROLLHATTAN        SWEDEN
AKEIL I SAAB                                       7057 MIDDLEPOINT                                                                               DEARBORN           MI    48126‐1948
AKILA MALIK                                        803 LANCELOT AVE                                                                               MECHANICSBURG      PA    17055‐5737
AKIO T TAKAI & C SHIRLEY TAKAI JT TEN              11206 ORCHARD HILL COURT                                                                       ROMEO              MI    48065‐4397
AKIVA MOLDAVSKY & SONIA MOLDAVSKY JT TEN           599 E 7TH ST APT 3P                                                                            BROOKLYN           NY    11218‐5917
AKRAM KASSAB                                       PO BOX 163                                                                                     LAKE ANN           MI    49650‐0163
AL BAKER                                           550 KING ST W                        CHATHAM ON                              N7M 1H1 CANADA
AL BUNIKIS                                         16028 N 30TH AVE                                                                               PHOENIX            AZ    85053‐4017
AL CANALES JR                                      45377 CAMINO MONZON                                                                            TEMECULA           CA    92592‐1300
AL HERBST & GLORIA HERBST TR HERBST LIVING TRUST   102 FOXWOOD DR                                                                                 JERICHO            NY    11753‐1114
UA 11/02/95
AL J TERRELL                                       98 EAST BERKSHIRE RD                                                                           BLOOMFIELD HILLS   MI    48302‐0612

AL J WLEKLINSKI & TRACEY L WLEKLINSKI JT TEN       802 E 9TH ST                                                                                   AUBURN             IN    46706‐2428
AL JONES                                           1450 E PEBBLE RD                     APT 1030                                                  LAS VEGAS          NV    89123‐5371
AL K WALLACE                                       18991 HARLOWE                                                                                  DETROIT            MI    48235‐3278
AL KIRKMAN & JOAN KIRKMAN JT TEN                   4852 17TH ST                                                                                   ZEPHYRHILLS        FL    33542
AL L RHODES                                        7025 MEADOWBROOK LN                                                                            HANOVER PARK       IL    60133‐6420
AL L WASHINGTON                                    11155 TERWILLIGERS HILL CT                                                                     CINCINNATI         OH    45249‐2726
AL MCGOWAN & DIANE MCGOWAN JT TEN                  107 SYCAMORE DR                                                                                ROBBINSVILLE       NJ    08691‐1688
AL MURKEY                                          709 BAREFOOT ST                                                                                HARTSVILLE         SC    29550‐5133
AL P TOFFOLI & MRS MARGARET D TOFFOLI JT TEN       21512 MAGNOLIA                                                                                 WALNUT             CA    91789‐2141
AL PACE CUST ASHLEY K PACE UTMA OH                 12107 CHIPPEWA RD                                                                              BRECKSVILLE        OH    44141‐2127
AL PACE CUST MARK D PACE UTMA OH                   12107 CHIPPEWA RD                                                                              BRECKSVILLE        OH    44141‐2127
AL PACE CUST MICHAEL E PACE UTMA OH                12107 CHIPPEWA RD                                                                              BRECKSVILLE        OH    44141‐2127
AL PREMO                                           2624 FARWIN                                                                                    SAGINAW            MI    48603
AL R BRIDGES                                       29 SOUTH PADDOCK ST                                                                            PONTIAC            MI    48342‐2623
AL R GARCIA                                        10835 TERNEZ                                                                                   MOORPARK           CA    93021‐9767
AL SANDELMAN & RONNIE SANDELMAN JT TEN             72‐940 CABAZON PEAK                                                                            PALM DESERT        CA    92260‐1015
AL SCHUBOWSKY & MRS RAE SCHUBOWSKY JT TEN          3703 NE 166TH ST                                                                               NORTH MIAMI        FL    33160‐3883
                                                                                                                                                  BEACH
AL SISAM                                           4730 LLANO LANE                                                                                FAIR OAKS          CA    95628‐5827
AL SORRELS                                         2725 PURDUE AVE                                                                                DALLAS             TX    75225‐7910
AL T MCLEMORE                                      4792 HURLBUT ST                                                                                DETROIT            MI    48214‐1525
AL TAYLOR                                          1315 KEWAUNEE ST                                                                               RACINE             WI    53404‐2737
AL TORRENCE CUST RYAN TORRENCE UTMA FL             6645 RIDGE RD                                                                                  PORT RICHEY        FL    34668‐6838
AL V BOSTON                                        195 N PROSPECT                                                                                 OBERLIN            OH    44074‐1038
AL W SMITH JR                                      PO BOX 1133                                                                                    WINONA             MN    55987‐7133
AL WATSON & PAT WATSON JT TEN                      14638 HICKORY                                                                                  LEMONT             IL    60439‐7919
AL X BRYK                                          731 CRESTON POINT CIRCLE                                                                       INDIANAPOLIS       IN    46239‐9165
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 30 of 850
Name                                              Address1                               Address2             Address3           Address4            City              State Zip

ALABAMA AGRICULTURAL & MECHANICAL COLLEGE         PO BOX 1388                                                                                        NORMAL            AL    35762‐1388

ALABAMA STATE COLLEGE                             PO BOX 271                                                                                         MONTGOMERY        AL    36101‐0271
ALACH H COLE                                      2710 TUCKER RD                                                                                     LUCAS             OH    44843‐9520
ALADINO CAPRA                                     2445 AARON ST                                                                                      LOS ANGELES       CA    90026‐1772
ALAIN GENOUW                                      5566 MURFIELD DR                                                                                   ROCHESTER         MI    48306‐2377
ALAIN GOYENS                                      96 DUERFSTROOSS                        DONCOLS                                 L‐6947 LUXEMBOURG
ALAIN LECOMPTE                                    54263 KATHRINE WOOD LANE                                                                           MACOMB            MI    48042‐2318
ALAIN OUIMET                                      38 RUE LUCIEN‐PAQUETTE                 BLAINVILLE QC                           J7C 1J4 CANADA
ALAINA JUNE BECK                                  3251 E WILLIAM ST                                                                                  DECATUR           IL    62521‐1644
ALAINA RAE LEFLER                                 601 WESTOVER PASS                                                                                  GRAND BLANC       MI    48439
ALAINE POELSTRA                                   3816 COLLINGWOOD SW                                                                                WYOMING           MI    49509‐3609
ALAN A BALDECK                                    33 WILLIAM ST                                                                                      MUMFORD           NY    14511
ALAN A BERTCH                                     1965 ROOSEVELT HWY                                                                                 HILTON            NY    14468‐9727
ALAN A CASHORE                                    W6356 COUNTY ROAD J                                                                                JEFFERSON         WI    53549‐9666
ALAN A GIKKAS & ISABELLE M MARQUEST TR 01/06/05   2430 VINEYARD RD                                                                                   NOVATO            CA    94947
GIKKAS MARQUET
ALAN A GRANGER                                    4173 S BELSAY RD                                                                                   BURTON            MI    48519‐1730
ALAN A HUSBY & KATHLEEN J KRUMDIACK TEN COM       35 WILLOW AVE                                                                                      MILLBRAE          CA    94030‐2532

ALAN A LOWE                                       312 ROANOKE RD                                                                                     WESTFIELD         NJ    07090‐2920
ALAN A MABARAK                                    2966 MARION ST                                                                                     LEWISTON          MI    49756‐8656
ALAN A MARIAN                                     805 MT HOOD DR                                                                                     PITTSBURGH        PA    15239‐2515
ALAN A NUERMINGER                                 3250 LAWNDALE RD                                                                                   SAGINAW           MI    48603‐1619
ALAN A WALBAUM                                    10 PARKVIEW RD                                                                                     LONG VALLEY       NJ    07853‐3585
ALAN ALEXANDER                                    0‐84 FAIRLAWN PARKWAY                                                                              FAIR LAWN         NJ    07410‐3702
ALAN ALTMAN                                       3112 MAIN CAMPUS DR                                                                                LEXINGTON         MA    02421‐8626
ALAN ALTMAN & MRS D JOYCE ALTMAN JT TEN           3112 MAIN CAMPUS DR                                                                                LEXINGTON         MA    02421‐8626
ALAN AMICI & ELIZABETH M AMICI JT TEN             6225 N ROCHESTER RD                                                                                ROCHESTER HILLS   MI    48306‐3454
ALAN ANDERSON                                     15151 KELLY STREET                                                                                 SPRING LAKE       MI    49456
ALAN ARON                                         14 SHIRE CT                                                                                        GREENLAWN         NY    11740‐2632
ALAN ARONSON CUST JEFFREY ARONSON UGMA NY         326 WHITMAN DR                                                                                     BROOKLYN          NY    11234‐6933

ALAN B BLACKBURN                                  8073 TYLERSVILLE RD                                                                                WEST CHESTER      OH    45069‐2589
ALAN B CAPENHURST                                 78 PATRICIA DR                                                                                     TONAWANDA         NY    14150‐4617
ALAN B CHON                                       2 KINNEY DR                                                                                        WORCESTER         MA    01602‐1215
ALAN B CLOSE                                      313 MEADOWGLEN DR                                                                                  BEAR              DE    19701‐3377
ALAN B GILLIS & ROSS GILLIS 2ND JT TEN            788 FAIRVIEW CLUB LANE                                                                             DACULA            GA    30019‐3188
ALAN B HETH                                       917 S MAIN ST                                                                                      MORTON            IL    61550‐2419
ALAN B HUFFMAN                                    14620 LEAVENWORTH RD                                                                               BASEHORCITY       KS    66007‐5240
ALAN B LANG                                       19800 NEGAUNEE                                                                                     REDFORD TWP       MI    48240‐1642
ALAN B LARKIN                                     85 HIGHWOOD DR                                                                                     MANCHESTER        CT    06040‐5622
ALAN B PEARSON                                    3101 LINK RD UNIT 45                                                                               LYNCHBURG         VA    24503‐3238
ALAN B PETICOLAS                                  308 ELIZABETH AVE                                                                                  PNT PLEASANT      NJ    08742‐4131
                                                                                                                                                     BEACH
ALAN B PHILIPPS                                   13473 CARPENTER WAY                                                                                NUNICA            MI    49448‐9330
ALAN B SCHOENWALD                                 3725 RIVERBEND RD                                                                                  CHARLOTTE         NC    28210‐6819
ALAN B SMITH                                      19 BARLEY SHEAF ROAD                                                                               FLEMINGTON        NJ    08822‐3187
ALAN B STROHNIER & MARY K STROHMIER JT TEN        8054 OXFORD PIKE                                                                                   BROOKVILL         IN    47012‐9419
ALAN BACHMAN                                      300 WINSTON DRIVE APT 2221                                                                         CLIFFSIDE PK      NJ    07010
ALAN BERK                                         ATTN LEONARD ROSEN & CO P C            15 MAIDEN LANE                                              NEW YORK          NY    10038‐4003
ALAN BERKHEISER & PATRICE BERKHEISER JT TEN       251 SCHAN DR                                                                                       CHURCHVILLE       PA    18966‐1621
ALAN BITUMANN                                     5213 CATTERTON RD                                                                                  FREE UNION        VA    22940‐1936
ALAN BOSHART                                      13605 ARCTIC AVE                                                                                   ROCKVILLE         MD    20853‐2902
ALAN BROAD CUST TRAVIS ALAN BROAD UGMA MI         71 S DEEPLANDS                                                                                     GROSSE POINTE     MI    48236‐2643
                                                                                                                                                     SHRS
ALAN BROWN                                        12892 N 135TH ST                                                                                   SCOTTSDALE        AZ    85259
ALAN BRUCE SCHLIFTMAN                             CEDAR HILL ROAD                                                                                    BEDFORD           NY    10506
ALAN BURKE & E MAURINE BURKE JT TEN               5061 CROYDON CT                                                                                    FREDERICK         MD    21703‐6805
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 31 of 850
Name                                            Address1                            Address2             Address3           Address4          City               State Zip

ALAN BUYATTE & MRS FRANCES BUYATTE JT TEN       7400 W FLAMINGO RD UNIT 2052                                                                  LAS VEGAS          NV    89147‐4369
ALAN C ALEXANDER                                209 CIRCLE VIEW DR                                                                            FRANKLIN           TN    37067‐1382
ALAN C ARGYLE                                   6193 WILSON DR                                                                                WATERFORD          MI    48020
ALAN C BABCOCK & JOAN M BABCOCK JT TEN          13 FIELDSTONE RD                                                                              RYE                NY    10580‐4115
ALAN C BERG                                     2322 SPRING ROSE DR                                                                           DAYTON             OH    45459
ALAN C BEYEA                                    2883 NEW RD                                                                                   RANSOMVILLE        NY    14131‐9513
ALAN C BOLTON CUST CARY D BOLTON UGMA MI        2389 ISLAND VIEW DR                                                                           WEST BLOOMFIELD    MI    48324‐1433

ALAN C BOSCH & JAYNE A BOSCH TR ALAN & JAYNE     1839 PLEASANTWOOD DR                                                                         JENISON            MI    49428‐9426
BOSCH TRUST UA 02/27/06
ALAN C BRAY                                      1615 WEST PARK AVENE                                                                         NILES              OH    44446
ALAN C CHASSE                                    73 CRANE HILL RD                                                                             STORRS MANFLD      CT    06268‐2811
ALAN C FULTON                                    197 CRYSTAL BEACH LANE             RR 2                 MADOC ONTARIO ON   K0K 2K0 CANADA
ALAN C HUBER                                     695 NORTHSTREAM DR                                                                           TOMS RIVER         NJ    08753‐4418
ALAN C KAY                                       300 ALAMOANA BLVD                                                                            HONOLULU           HI    96850‐5000
ALAN C KELHOFFER                                 1512 PALISADE AVE                  APT 17F                                                   FORT LEE           NJ    07024‐5316
ALAN C LENTZ & CATHERINE M LENTZ JT TEN          510 WASHINGTON STREET              BOX 92                                                    NASHVILLE          MI    49073‐0092
ALAN C LOHRUM & TERRI L LOHRUM JT TEN            851 SUNSET DR                                                                                ARNOLD             MO    63010‐2219
ALAN C MACK                                      5144 MCGRANDY                                                                                BRIDGEPORT         MI    48722‐9785
ALAN C MAGOS                                     1470 WARNER RD NE                                                                            BROOKFIELD         OH    44403‐9752
ALAN C MAXWELL                                   N15921 HIGH ST                                                                               POWERS             MI    49874‐9614
ALAN C MAYBACH                                   71 SOUTH POINT DR                                                                            LANCASTER          NY    14086‐3333
ALAN C PETERSON                                  125 WESTROBIN LN                                                                             PALM COAST         FL    32164‐7739
ALAN C RICHARDS CUST TYLER PATRICK RICHARDS UTMA 4 BUTTERNUT ROAD                                                                             SEA GIRT           NJ    08750‐1303
NJ
ALAN C SCHWARK                                   7164 LAKE STREET                                                                             LEXINGTON          MI    48450
ALAN C UMSTEAD                                                                                                                                BRIGHTON           MI    48116
ALAN CHARLES BAUDER CUST JUSTYN JOHN BAUDER      498 FEURA BUSH RD #1                                                                         GLENMONT           NY    12077
UGMA MA
ALAN CHARLES ROEDER                              1250 INDIAN MOUND W                                                                          BLOOMFIELD HILLS   MI    48301‐2260

ALAN COLEMAN                                   84 SYLVAN HILLS LN                                                                             FREDERICKSBRG      VA    22406
ALAN COWLISHAW & VIOLET IRENE COWLISHAW JT TEN 762 N 6TH ST                                                                                   NEWARK             NJ    07107‐2717

ALAN D ABRAMS                                   14690 BANNER ST                                                                               TAYLOR             MI    48180‐4642
ALAN D BARNES                                   10529 BUTTON WILLOW DR                                                                        LAS VEGAS          NV    89134‐7347
ALAN D BIRGY                                    615 PLEASANT ST                                                                               CHARLOTTE          MI    48813‐1942
ALAN D BRENNAN                                  20922 ISLAND SOUND CIR              UNIT 405                                                  ESTERO             FL    33928‐8958
ALAN D BULLARD                                  629 BLUERIDGE DR                                                                              COLUMBIA           TN    38401‐6109
ALAN D BURNS & CAROL BURNS JT TEN               1034 LESLIE LANE                                                                              GIRARD             OH    44420‐1440
ALAN D CARLISLE                                 1926 LYNBROOK                                                                                 FLINT              MI    48507‐6036
ALAN D CHEEVER                                  18615 W 167TH                                                                                 OLATHE             KS    66062‐9569
ALAN D DAUGHTERS                                839 EICHER ST                                                                                 KEOKUK             IA    52632
ALAN D DEATRICK                                 25192 HOLLY RD                                                                                DEFIANCE           OH    43512‐8812
ALAN D EDWARDS                                  7036 FM 9 S                                                                                   WASKOM             TX    75692‐6410
ALAN D FLEMING                                  4166 WHITTLE AVE                                                                              OAKLAND            CA    94602‐2544
ALAN D FLOYD                                    566 COLLEGE AVE SE                                                                            GRAND RAPIDS       MI    49503‐5304
ALAN D GROSSMAN                                 155 DAVIS AVE                                                                                 BROOKLINE          MA    02445‐6001
ALAN D HARRISON                                 6275 HWY 81 SW                                                                                LOGANVILLE         GA    30052‐3415
ALAN D KEELEY                                   407 ROUTE 22                                                                                  NORTH SALEM        NY    10560‐3715
ALAN D KRODEL                                   227 POAGE FARM RD                                                                             WYOMING            OH    45215‐4117
ALAN D KUNTZ                                    55 COURT ST                                                                                   CANFIELD           OH    44406‐1406
ALAN D LUX                                      35791 SCHMID DRIVE                                                                            NEW BALTIMORE      MI    48047‐2441
ALAN D LYONS                                    4170 PARKMAN RD NW #2                                                                         WARREN             OH    44481‐9135
ALAN D MARTIN                                   4010 WATERLAND DR                                                                             METAMORA           MI    48455‐9610
ALAN D MCCLARY                                  4758 CINEMA AVE NE                                                                            GRAND RAPIDS       MI    49525‐6862
ALAN D MILSTONE                                 60 DORRANCE STREET                                                                            HAMDEN             CT    06518‐3307
ALAN D OHARA                                    415 TENNESSEE ST R                                                                            REDLANDS           CA    92373‐8168
ALAN D PETERS & ANN PETERS JT TEN               4899 CLARKE ROAD                                                                              MIDDLEFIELD        OH    44062‐9316
                                            09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 32 of 850
Name                                          Address1                             Address2               Address3         Address4                 City               State Zip

ALAN D PIAZZA                                 2219 RAMSEY RD                                                                                        MONROEVILLE        PA    15146‐4823
ALAN D POLLACK & MARTIN POLLACK JT TEN        4807 GANIMEDE LANE                                                                                    ORLANDO            FL    32821‐8217
ALAN D QUICK & WANDA E QUICK JT TEN           6609 FALCON RIDGE LANE                                                                                MCKINNEY           TX    75071
ALAN D REYNOLDS                               PO BOX 441                                                                                            ORTONVILLE         MI    48462‐0441
ALAN D REYNOLDS                               208 HEARTHSTONE DR                                                                                    WINSTON SALEM      NC    27107‐9373
ALAN D SLIVINSKI                              1579 RAVANUSA DR                                                                                      HENDERSON          NV    89052‐4069
ALAN D SMITH                                  5795 W HENRIETTA RD                                                                                   WEST HENRIETTA     NY    14586‐9756
ALAN D THOMAS                                 2 BRAMBLEWOOD LANE                                                                                    EAST AMHERST       NY    14051‐1413
ALAN D WEST                                   2114 TICE DR                                                                                          CULLEOKA           TN    38451‐2719
ALAN DANFORTH                                 106 OVERLOOK DR                                                                                       COBLESKILL         NY    12043‐5126
ALAN DANIELSEN                                2193 HAWK DR                                                                                          BETTENDORF         IA    52722
ALAN DAVID ARKAWY                             1131 ROUTE 52                                                                                         FISHKILL           NY    12524‐1612
ALAN DAVID MUTCHLER                           2735 HEMLOCK                                                                                          TOLEDO             OH    43614‐5520
ALAN DAVID SNIDER                             3001 FORESET HAMMOCK DR                                                                               PLANT CITY         FL    33566‐0385
ALAN DINESMAN                                 23 INWOOD AUTUMN                                                                                      SAN ANTONIO        TX    78248‐1679
ALAN DOUGLAS BEAVERS                          198 PALOMA                                                                                            NEW BRAUNFELS      TX    78133‐5400
ALAN DYCHES                                   3225 PINES RD                                                                                         SHREVEPORT         LA    71119‐3507
ALAN E BLAKEMAN                               22 WINTER ST                                                                                          MONTPELIER         VT    05602‐2244
ALAN E BURNETT                                255 MT DANDENONG TOURIST RD          FERNY CREEK VICTORIA                    3786 AUSTRALIA
ALAN E CORDTS                                 78 MAIN ST                                                                                            FALMOUTH           MA    02540‐2667
ALAN E DE WERTH                               10329 ALMIRA AVE                                                                                      CLEVELAND          OH    44111‐1208
ALAN E DENNIS                                 219 LOCUST ST                                                                                         CAMDEN             AR    71701
ALAN E DOWNS                                  10121 SOUTH 8TH AVE                                                                                   OAK CREEK          WI    53154
ALAN E FOWLER                                 PO BOX 115                           MAJURO                 GU               96960 MARSHALL ISLANDS
ALAN E GRIFFITH & ELSIE M GRIFFITH JT TEN     1800 S RUNDLE AVE                                                                                     LANSING          MI      48910‐9028
ALAN E HOPFINGER                              1624 SOUTH STATE RT 19                                                                                OAK HARBOR       OH      43449‐9659
ALAN E KEMP                                   35 S CONCORD DR                                                                                       JANESVILLE       WI      53545‐2179
ALAN E KIRBY                                  2050 STONEHENGE ROAD                                                                                  SPRINGFIELD      IL      62702‐2049
ALAN E KLINE                                  3504 S CREEK DR                                                                                       ROCHESTER HILLS  MI      48306‐1475
ALAN E KNUTSON                                5205 N NEWVILLE RD                                                                                    MILTON           WI      53563‐8886
ALAN E LANE                                   6810 BEAR RIDGE ROAD                                                                                  LOCKPORT         NY      14094‐9215
ALAN E LO BUE                                 PO BOX 3793                                                                                           PINETOP          AZ      85935‐3793
ALAN E MAFFESOLI                              31228 COUNTRY WAY                                                                                     FARMINGTON HILLS MI      48331‐1040

ALAN E MANICA                                 9506 BARNHART LN                                                                                      HOUSTON            TX    77065‐4452
ALAN E MILEWSKI                               5308 BLODGETT AVE                                                                                     DOWNERS GROVE      IL    60515‐5055
ALAN E NEAL                                   4120 WHITE OAK DR                                                                                     WINSTON            GA    30187‐1016
ALAN E OPSAHL                                 3577 RIDGE RD                                                                                         OCEANSIDE          CA    92056‐4952
ALAN E SNELSON                                2373 STAIR ST                                                                                         DETROIT            MI    48209‐1209
ALAN E TRICKLE                                117 EVERGREEN ST                                                                                      NEWARK             OH    43055‐3503
ALAN E WEISS                                  5721 DUNROVIN DR                                                                                      SAGINAW            MI    48603‐5408
ALAN E WINNER                                 3425 OAKTON DR                                                                                        MINNETONKA         MN    55305‐4434
ALAN EARNEST RICE                             20847 BETHLAWN                                                                                        FERNDALE           MI    48220‐2203
ALAN ENGLAND & MARK ENGLAND JT TEN            48 JOSEPH ST                                                                                          CLARK              NJ    07066‐2509
ALAN ENGLE                                    153 EAST LANE AVENUE                                                                                  COLUMBUS           OH    43201‐1212
ALAN ERON SUKOENIG                            APT 7‐F                              915 WEST END AVE                                                 NEW YORK           NY    10025‐3505
ALAN F DAYS                                   7291 CEDAR CREEK RD                                                                                   MANHATTAN          KS    66502
ALAN F DUNN                                   24861 WARD AVE                                                                                        FORT BRAGG         CA    95437‐8458
ALAN F FREESE & DIANA L FREESE JT TEN         3460 NORTHWEST 33RD COURT                                                                             LAUDERDALE LAKES   FL    33309‐5430

ALAN F GERNHARD                               6266 CHASE DR                                                                                         MENTOR             OH    44060‐3602
ALAN F HORTON & MRS BARBARA R HORTON JT TEN   67‐28 THORNTON PL                                                                                     FOREST HILLS       NY    11375‐4129

ALAN F HUGHES                                 57 PETERS WAY                                                                                         N ATTLEBORO        MA    02760‐4654
ALAN F KONOPKA                                11155 MILFORD                                                                                         HOLLY              MI    48442‐8106
ALAN F LEE                                    PO BOX 46013                                                                                          MOUNT CLEMENS      MI    48046
ALAN F LEVIN & DIANE R LEVIN JT TEN           5330 BRAESHEATHER                                                                                     HOUSTON            TX    77096‐4110
ALAN F LOCKWOOD                               14 HARVEL PL VILONE VILL                                                                              WILMINGTON         DE    19805‐2001
ALAN F OFFENEY                                7 LEWIS DR                                                                                            FAIRFIELD          CT    06432‐1919
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 33 of 850
Name                                                Address1                            Address2             Address3           Address4          City             State Zip

ALAN F SAYER                                    6636 SILVERMOUND DR                                                                               MENTOR           OH    44060‐8414
ALAN F SENDKER                                  6 CANNON FORGE DR                                                                                 FOXBORO          MA    02035‐5215
ALAN F SIGAFOOS                                 4697 WESTHAMPTON                                                                                  WILLIAMSBURG     VA    23188
ALAN F STOCKER CUST DEBORAH J STOCKER A UGMA NY 1030 PINELEDGE DR S                                                                               CLARENCE         NY    14031‐1534

ALAN F STOCKER CUST PAMELA J STOCKER A UGMA NY      166 BRUSH CREEK                                                                               WILLIAMSVILLE    NY    14221‐2743

ALAN F TIGERT                                       51 HONEYSUCKLE TRAIL                                                                          LAUREL           MS    39443‐7600
ALAN F VERBARG                                      2307 E COUNTRY CLUB RD                                                                        MARTINSVILLE     IN    46151‐6212
ALAN F YOUNG                                        8617 SPICEWOOD SPS RD UNIT 188                                                                AUSTIN           TX    78759‐4347
ALAN F ZERLA CUST WENDY ZERLA UGMA OH               5236 COUNTY RD 45                                                                             STEUBENVILLE     OH    43952‐7010
ALAN FARASH                                         704 HARMAN AVE                                                                                DAYTON           OH    45419‐3847
ALAN FINK & BRUCE E FINK TR UA 05/12/93 PAUL FINK   4 BOULDER BROOK CT                                                                            BALTIMORE        MD    21209‐5222
TRUST
ALAN FINKEL                                         3 HUMMING LANE                                                                                COMMACK          NY    11725‐2511
ALAN FLEISCHACKER                                   5702 JUMILLA AVE                                                                              WOODLAND HILLS   CA    91367‐6911

ALAN FLINT                                          357 BROOKDALE AVENUE                TORONTO ON                              M5M 1P9 CANADA
ALAN FOSTER VAUXHALL MOTORS LTD                     NRTH ROAD ELLESMERE PORT            UNITED KINGDOMCH65                      GREAT BRITAIN
ALAN FRANK JACKSON                                  2000 LORIENT DRIVE                                                                            CARROLLTON       TX    75007‐2320
ALAN G BLACKETT                                     PO BOX 70284                                                                                  FAIRBANKS        AK    99707‐0284
ALAN G CLARK                                        PO BOX 7028                                                                                   OCEAN VIEW       HI    96737‐7028
ALAN G COWELL                                       34 ALTER COURT                                                                                MOUNT CLEMENS    MI    48043‐1406
ALAN G FISCHER                                      4516 E PLEASANT VALLEY                                                                        INDEPENDENCE     OH    44131‐5245
ALAN G FORSSELL TR ALAN G FORSSELL TRUST UA         1425 S GREENBRIER ST                                                                          ARLINGTON        VA    22206‐1042
08/10/06
ALAN G FOWLER                                       905 FORESTDALE RD                                                                             ROYAL OAK        MI    48067‐1651
ALAN G GIER                                         2860 RIVER TRAIL                                                                              ROCHESTER HLS    MI    48309‐3201
ALAN G HENRY                                        5200 WASHBURN ROAD                                                                            GOODRICH         MI    48438‐9711
ALAN G KRAEMER                                      12‐11 117TH ST                                                                                COLLEGE POINT    NY    11356‐1554
ALAN G KREITZER CUST ALISON M KREITZER UGMA PA      9 NORTHWATCH LANE                                                                             MECHANICSBURG    PA    17055‐1775

ALAN G KREITZER CUST RYAN C KREITZER UGMA PA        9 NORTHWATCH LANE                                                                             MECHANICSBURG    PA    17055‐1775

ALAN G LISLE & JOANNE P LISLE JT TEN                7531 NEWPORT BAY DR                                                                           INDIANAPOLIS     IN    46240‐3373
ALAN G REED                                         18008 ASH DR                                                                                  STRONGSVILLE     OH    44136‐6810
ALAN G ROBINSON                                     92 PARK AVE                                                                                   HICKSVILLE       NY    11801‐4328
ALAN G ROSE                                         196 GRASSLAND DR                                                                              JACKSON          TN    38305‐3828
ALAN G SANTOS                                       5820 HALAKAHIKI PL                                                                            KAPAA            HI    96746‐9158
ALAN G STRAND                                       PO BOX 1024                                                                                   CARSON           WA    98610‐1024
ALAN G STRANGE                                      1015 COX AVE                                                                                  WASHINGTON CR    PA    18977‐1417
ALAN G UPCHURCH                                     28109 STATLER LANE                                                                            FARMINGTON HILLS MI    48334‐5174

ALAN G YOUNG                                        4920 IRONWOOD ST                                                                              SAGINAW          MI    48603‐5558
ALAN G YOUNG & JUDITH E YOUNG JT TEN                4920 IRONWOOD ST                                                                              SAGINAW          MI    48603‐5558
ALAN GAMIEL & SANDRA E GAMIEL JT TEN                3517 SE 22ND AVE                                                                              CAPE CORAL       FL    33904‐4453
ALAN GARD BRANT & NANCY HENNIS BRANT JT TEN         360 HAWTHORNE LANE NE                                                                         WARREN           OH    44484‐4655

ALAN GARFIELD                                       950 3RD AVE                         SUITE 2604                                                NEW YORK         NY    10022
ALAN GEHRICH                                        5505 CONNECTICUT AVE NW #253A                                                                 WASHINGTON       DC    20015‐2601
ALAN GILBERT BLEEZARDE                              79 NEW STREET                                                                                 NUTLEY           NJ    07110‐1601
ALAN GILL MCAULEY                                   879 IVANHOE ST NW                                                                             PALM BAY         FL    32907‐1708
ALAN GOLDBERG                                       1359 MELIA ST                                                                                 CAMARILLO        CA    93010‐1962
ALAN GREEN                                          129 SUN VALLEY DRIVE                                                                          HORSE HEADS      NY    14845‐9238
ALAN GRENAMYER                                      679 SOUTH LIPKEY                                                                              N JACKSON        OH    44451‐9748
ALAN GRUNWALD                                       205 DOE TRAIL                                                                                 MORGANVILLE      NJ    07751‐4406
ALAN GUREVITCH                                      7 CAMINO ALONDRA                                                                              SANTA FE         NM    87507‐4380
ALAN GUTKIN                                         6 VOELKOR RD                                                                                  FAIRFIELD        NJ    07004‐2317
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                      Part 1 of 8 Pg 34 of 850
Name                                             Address1                             Address2                      Address3   Address4          City              State Zip

ALAN H CASE TR ALAN H CASE REVOCABLE TRUST UA    25088 PIMLICO CT                                                                                FARMINGTON HILLS MI     48336‐1259
10/04/00
ALAN H CERVELLI                                  1853 CAPITAL                                                                                    LINCOLN PARK      MI    48146‐3214
ALAN H DOMBROWSKY & SUSAN B DOMBROWSKY JT        1420 NE 102ND ST                                                                                MIAMI SHORES      FL    33138‐2622
TEN
ALAN H FISHER                                    1430 PARK AVE                                                                                   BALTIMORE         MD    21217‐4230
ALAN H GREEN                                     3700 S WESTPORT AVE                  #932                                                       SUEFALLS          SD    57106‐6344
ALAN H HARTLEY                                   119 W KENT ROAD                                                                                 DULUTH            MN    55812‐1152
ALAN H JACOBS & ADRIENNE JACOBS JT TEN           8541 NORTH LOTUS AVE                 UNIT 711                                                   SKOKIE            IL    60077‐2027
ALAN H JONES                                     171 TRAVER RD                                                                                   PLEASANT VALLEY   NY    12569‐5426
ALAN H KIRSCHBAUM                                467 ALBEMARLE RD                                                                                NEWTONVILLE       MA    02460
ALAN H LEVINE                                    PO BOX 53372                                                                                    HOUSTON           TX    77052‐3372
ALAN H LEVINE CUST DANICA RUE LEVINE UGMA TX     PO BOX 53372                                                                                    HOUSTON           TX    77052‐3372

ALAN H LEVINE CUST HESTER ANN LEVINE UTMA TX     PO BOX 53372                                                                                    HOUSTON           TX    77052‐3372

ALAN H MORSE & DEBORAH E MORSE JT TEN            ATTN E NERENBLATT                    2401 PENNSYLVANIA AVE #9B27                                PHILADELPHIA      PA    19130‐3034
ALAN H NANSCAWEN                                 9 GLENARD DR                         EAGLEMONT                     VICTORIA   3084 AUSTRALIA
ALAN H PIGGOTT                                   10154 S GRANGE RD                                                                               PORTLAND         MI     48875‐9307
ALAN H ROSENTHAL                                 11001 ROUNDTABLE CT                                                                             ROCKVILLE        MD     20852‐4560
ALAN H ROSS                                      11 GREENLAWN RD                                                                                 PAOLI            PA     19301‐1531
ALAN H SILVER                                    1 OVERBROOK PLACE                                                                               HILLSDALE        NJ     07642‐2845
ALAN H SOULVIE                                   2495 BEEBE RD                                                                                   WILSON           NY     14172‐9759
ALAN H TAFLER                                    1022 COOLIDGE RD                                                                                ELIZABETH        NJ     07208‐1004
ALAN H WOLSON                                    4025 WEDGEWOOD ROAD                                                                             ALLENTOWN        PA     18104‐2021
ALAN HABERHERN                                   15016 WHITNEY RD                                                                                STRONGSVILLE     OH     44136
ALAN HAGYARD CUST ERIC HAGYARD UTMA NJ           145 FILBERT ST                                                                                  HAMDEN           CT     06517‐1315
ALAN HANAU CUST ILANA SUSAN HANAU UGMA NY        66 ORANGE ST #2B                                                                                BROOKLYN HEIGHTS NY     11201‐1777

ALAN HANCOCK                                     227 CLARK ST                                                                                    HIGHLAND        MI      48357‐4603
ALAN HARRIS POLONSKY                             18 VANESSA CT                                                                                   CHERRY HILL     NJ      08003‐2948
ALAN HENRY WILLOUGHBY                            6029 MONROVIA                                                                                   SHAWNEE MISSION KS      66216‐2033

ALAN HEYWOOD                                     32 OLD ORCHARD RD                                                                               SUDBURY           MA    01776‐3126
ALAN HILDEBRANDT & FERN HILDEBRANDT              6743 TREASHIIG                                                                                  SPRING            TX    77373
ALAN HOLBERT EDWARDS JR                          24 WYECREEK AVE                                                                                 CHARLESTON        SC    29412
ALAN HOOGS                                       1720 NW LOVEJOY ST                   APT 302                                                    PORTLAND          OR    97209‐2344
ALAN HOOGS & LEE M HOOGS JT TEN                  2416 N E 31ST AVE                                                                               PORTLAND          OR    97212‐4930
ALAN HOPEMAN                                     3651 S PONTIAC WAY                                                                              DENVER            CO    80237‐1326
ALAN HORTON CUST DAVID NATHAN HORTON UGMA        67‐28 THORNTON PL                                                                               FOREST HILLS      NY    11375‐4129
NY
ALAN HUFFMIRE                                    1450 CURRY BUSH RD                                                                              SCHENECTADY       NY    12306‐6213
ALAN I FINE                                      30262 BELMONT COURT                                                                             AGOURA HILLS      CA    91301‐4611
ALAN IAFRATE                                     240 LANDINGS BLVD                                                                               WESTON            FL    33327‐1116
ALAN IVERSEN                                     740 BERKELEY AVENUE                                                                             BEACHWOOD         NJ    08722‐4601
ALAN J ADAMISIN                                  PO BOX 227                                                                                      COLUMBIAVILLE     MI    48421‐0227
ALAN J ADELMAN                                   258 RIVERSIDE DR                                                                                NY                NY    10025‐6156
ALAN J AHRENS                                    BOX 9                                                                                           WINNEBAGO         WI    54985
ALAN J ANDERSON                                  2508 GRAND VISTA CT NW                                                                          GRAND RAPIDS      MI    49544‐1371
ALAN J ARMITAGE                                  4606 E PARISH RD                                                                                MIDLAND           MI    48642‐9783
ALAN J BASNER                                    404 SHARON DR                                                                                   FLUSHING          MI    48433‐1507
ALAN J BELICH                                    1100 N FINN RD                                                                                  ESSEXVILLE        MI    48732‐8710
ALAN J BLACKWELL                                 245 S LANGLEY AVE                                                                               TUCSON            AZ    85710‐1037
ALAN J BLAS & VIRGINIA BLAS JT TEN               8933 N ORIOLE AVE                                                                               MORTON GROVE      IL    60053‐1853
ALAN J BORNER                                    ADAMS POINT ROAD                                                                                DURHAM            NH    03824
ALAN J CALDER                                    32232 YONKA                                                                                     WARREN            MI    48092‐3234
ALAN J CLAUSEN                                   414 FALCON DR                                                                                   WAYLAND           MI    49348‐1352
ALAN J COOK & CAROLYN R COOK JT TEN              1134 BEACHWAY DR                                                                                WHITE LAKE        MI    48383‐3015
ALAN J DAMYEN                                    N7364 DEERVU LANE                                                                               ELDORADO          WI    54932‐9801
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 35 of 850
Name                                              Address1                               Address2                   Address3     Address4                 City               State Zip

ALAN J DECKER & DAVID D DECKER JT TEN           255 LAKESIDE DR                                                                                           NEW BLAINE         AR    72851
ALAN J DEMUTH                                   1408 S MOCK RD                                                                                            ALBANY             GA    31705‐4123
ALAN J ELNICK                                   108 HARVEST LN                                                                                            FRANKENMUTH        MI    48734‐1212
ALAN J FERRARA                                  17038 SYCAMORE CT                                                                                         NORTHVILLE         MI    48167‐4424
ALAN J FRITTS                                   PO BOX 365                                                                                                HAMPDEN            MA    01036
ALAN J GARRISON                                 5404 PINECREST ESTATES DR                                                                                 ANN ARBOR          MI    48105‐9571
ALAN J GEIER                                    24 TREEHAVEN                                                                                              LOCKPORT           NY    14094‐5913
ALAN J GREIMAN                                  1640 MAPLE AVE                           APT 1004                                                         EVANSTON           IL    60201
ALAN J HALL                                     654 TYNEBRAE DR                                                                                           FRANKLIN           TN    37064‐5332
ALAN J HOUGHTALING & SUSAN J HOUGHTALING JT TEN 25820 FRITH ST                                                                                            LAND O LAKES       FL    34639

ALAN J JONES & MARY G JONES JT TEN                ASH FARM ASH LANE                      THE ASH NR ETWALL          DERBYSHIRE   DE65 6HT GREAT BRITAIN
ALAN J KAST                                       6240 SANDYOAK DR                                                                                        PLANT CITY         FL    33565‐3347
ALAN J KOCHER                                     2455 E COUNTY ROAD 67                  LOT 13                                                           ANDERSON           IN    46017‐1933
ALAN J KORFF                                      13121 BOXWOOD CT                                                                                        OKLAHOMA CITY      OK    73170‐1425
ALAN J KRAKER                                     2515 PRAIRIE                                                                                            ANN ARBOR          MI    48105‐1447
ALAN J LESLIE                                     4104 SCENIC DR E                                                                                        SAGINAW            MI    48603‐9616
ALAN J LITTLE                                     2852 LOMAN AVENUE                                                                                       YORK               PA    17404‐9477
ALAN J MALMAN                                     APT 729                                5225 POOKS HILL RD SOUTH                                         BETHESDA           MD    20814‐2052
ALAN J MATHER                                     9204 MCWAIN                                                                                             GRAND BLANC        MI    48439‐8006
ALAN J MCKAY                                      4954 ARROWHEAD RD                                                                                       ORCHARD LAKE       MI    48033
ALAN J MILLER                                     6265 ATTICA RD                                                                                          IMLAY              MI    48444‐9638
ALAN J MOTTL                                      472 W WAGNER RD                                                                                         BUCHANAN           MI    49107‐9316
ALAN J MUNKACSY                                   2362 EMERALD FOREST CIRCLE                                                                              EAST LANSING       MI    48823‐7200
ALAN J O'BRIEN                                    68 LEATHERWOOD DR                                                                                       LUGOFF             SC    29078‐7108
ALAN J PAJOT                                      1353 SEVEN MILE RD                                                                                      KAWKAWLIN          MI    48631‐9737
ALAN J PRATT                                      1782 TWIN LAKES BLVD                                                                                    OXFORD             MI    48371‐5834
ALAN J RAMASOCKY                                  457 HOWLAND AVE                        LOWR                                                             TOLEDO             OH    43605‐2548
ALAN J RENNELLS                                   4884 COUNTY FARM RD                                                                                     ST JOHNS           MI    48879‐9259
ALAN J RUSS                                       6029 EMERALD DRIVE                                                                                      NORTH RIDGEVILLE   OH    44039‐2045

ALAN J SCHIFFMACHER                               868 EAST 39TH ST                                                                                        BROOKLYN           NY    11210‐2004
ALAN J SHAW                                       11535 PLAZA DR                         APT 204W                                                         CLIO               MI    48420‐1794
ALAN J SIEBLER TR SIEBLER TRUST UA 6/14/99        19742 BRYANT ST                                                                                         CANOGA PARK        CA    91306‐1408
ALAN J SMITH                                      9400 W LONE BEECH DR                                                                                    MUNCIE             IN    47304‐8930
ALAN J STRONG & NADINE D STRONG JT TEN            2008 CANYON BREEZE DR                                                                                   LAS VEGAS          NV    89134‐0300
ALAN J VALESTIN CUST JASON J VALESTIN UTMA IN     712 ALLEN DR                           PO BOX 355                                                       SWEETSER           IN    46987‐0355

ALAN J VAN OSTENBURG                              2651 BIDDLE ST APT 408                                                                                  WYANDOTTE          MI    48192‐5255
ALAN J WHITE                                      102 TIMBERLEA CRT                                                                                       APEX               NC    27502
ALAN J WOHLBERG                                   2805 AVENUE N                                                                                           BROOKLYN           NY    11210‐5320
ALAN JACOBSON CUST WILLIAM LOUIS JACOBSON         70 BEAVER RD                                                                                            WESTON             MA    02493‐1020
UGMA MA
ALAN JAMES KRASNICKI                              5023 E 113TH ST                                                                                         GARFIELD HTS       OH    44125‐2732
ALAN JAMES SECORD                                 2962 NURICK DR                                                                                          CHATTANOOGA        TN    37415‐6105
ALAN JAY BERKOWITZ                                513 ELM AVE                                                                                             SWARTHMORE         PA    19081‐1116
ALAN JEFFERY OSHER                                2103 GLENCORSE COURT                                                                                    PLAINFIELD         IL    60544‐8379
ALAN JOHN MACLEOD JR & ARIEL M MACLEOD JT TEN     51 VALLEY ST                                                                                            DUXBURY            MA    02332‐4129

ALAN JOHN RAGUNT II                               30415 GIDRAN TER                                                                                        MOUNT DORA         FL    32757‐7824
ALAN K ALBRECHT                                   4708 RADNOR RD                                                                                          INDIANAPOLIS       IN    46226‐2156
ALAN K BIELING                                    4381 DRYDEN RD                                                                                          DRYDEN             MI    48428‐9706
ALAN K BOYD                                       4341 THOMAS DR                         LOT K17                                                          PANAMA CITY        FL    32408‐7382
ALAN K GANN & JEANNIE Y GANN JT TEN               17563 MAPLE TREE RD                                                                                     GRAVOIS MILLS      MO    65037‐4556
ALAN K HADFIELD                                   931 WYNNWOOD LANE                                                                                       HOUSTON            TX    77008‐3449
ALAN K INGALLS & MARTHA P INGALLS JT TEN          102 POND DR                                                                                             NEWPORT            NC    28570‐9473
ALAN K KEEFER                                     8142 E CARPENTER RD                                                                                     DAVISON            MI    48423‐8961
ALAN K MARTIN                                     969 SUEIRRO ST                                                                                          HAYWARD            CA    94541‐5913
ALAN K MCCOMB                                     4936 HIDDENBROOK LANE                                                                                   ANN ARBOR          MI    48105‐9663
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 36 of 850
Name                                             Address1                            Address2             Address3           Address4          City            State Zip

ALAN K MCGARVEY & KIMBERLY A NOBLIT JT TEN       2411 TAYLOR RD                                                                                NEW SMYRNA      FL    32168‐9334
                                                                                                                                               BEACH
ALAN K POYNTER & CLAIRE POYNTER JT TEN           4104 PARADISE TRL                                                                             OXFORD          MI    48371‐6241
ALAN K SALMONS                                   260 BASTIAN RD                                                                                ROCHESTER       NY    14623‐1124
ALAN K SIEGEL                                    2770 OCEAN AVE                      APT 3E                                                    BROOKLYN        NY    11229‐4727
ALAN K STONEX & MARIANNE STONEX JT TEN           822 VILLA CT                                                                                  BOWLING GREEN   KY    42103‐1560
ALAN K TAYLOR                                    19056 MOTT                                                                                    EASTPOINTE      MI    48021‐2746
ALAN K WINTERS                                   1705 HILLCREST DR                                                                             NORMAN          OK    73071‐3064
ALAN KANE                                        7 REDWOOD RD                                                                                  NORTH BRUNSWICK NJ    08902‐1326

ALAN KAST & KIM KAST JT TEN                   6240 SANDYOAK DR                                                                                 PLANT CITY      FL    33563
ALAN KENNETH TAYLOR                           2807 WEXFORD                                                                                     SAGINAW         MI    48603‐3235
ALAN KESSLER                                  523 E 72ND ST 9TH FL                                                                             NEW YORK        NY    10021‐4099
ALAN KOERNER CUST BRENDAN IAN KOERNER UGMA CA 3 WEST 122ND STREET 5B                                                                           NEW YORK        NY    10027‐5611

ALAN KRALIK                                      14460 MAYFIELD ROAD                                                                           HUNTSBURG       OH    44046‐9739
ALAN KRAVITZ                                     6620 QUAKER RIDGE RD                                                                          ROCKVILLE       MD    20852‐3678
ALAN KROM                                        45792 NANCY LN                                                                                GREAT MILLS     MD    20634‐2009
ALAN KWASTEL & MRS ARLINE KWASTEL JT TEN         538 E OLIVE STREET                                                                            LONG BEACH      NY    11561‐3724
ALAN L ADLER & DEBBIE ADLER JT TEN               1649 MILLBROOK RD                                                                             CANTON          MI    48188‐2058
ALAN L AMAND                                     609 BONNYCASTLE AVE                                                                           ENGLEWOOD       OH    45322‐1806
ALAN L BARDSLEY                                  17781 LUCERO WAY                                                                              TUSTIN          CA    92780‐2649
ALAN L BASAK                                     8957 E 60TH STREET                                                                            RAYTOWN         MO    64133‐3710
ALAN L BOLDEN                                    99 HAGEN STREET                                                                               BUFFALO         NY    14211‐1911
ALAN L BONSER & LUANNE J BONSER JT TEN           BOX 141                                                                                       CUSTER          MI    49405
ALAN L BOYCE                                     34636 FARRAGUT                                                                                WESTLAND        MI    48186‐5441
ALAN L BURTON                                    4015 SW 15TH CT                                                                               BLUE SPRINGS    MO    64015‐8785
ALAN L CLEMENTS                                  3521 CHELSEA DR                                                                               ROCKY MOUNT     NC    27803‐1103
ALAN L COOLIDGE                                  314 BURK ST                         OSHAWA ON                               L1J 4C6 CANADA
ALAN L FAVA                                      1471 AKINS RD                                                                                 BROADVIEW HTS   OH    44147‐2315
ALAN L GANT & MARY ANN GANT JT TEN               YARDLEY COMMONS                     209 LAUREL ROAD      # 238                                VOORHEES        NJ    08043
ALAN L HALE                                      3019 STOW XING                                                                                MURFREESBORO    TN    37128‐5061
ALAN L HAMLET                                    4462 NIAGARA                                                                                  WAYNE           MI    48184‐2261
ALAN L HEIM                                      85 SKYCREST DR                                                                                ROCHESTER       NY    14616
ALAN L JAREMA                                    2650 BUSCH RD                                                                                 BIRCH RUN       MI    48415‐8918
ALAN L JOHNSON                                   6819 JUNIPER RD                                                                               JOSHUA TREE     CA    92252‐3036
ALAN L JONES                                     6244 N WINDERMERE DRIVE                                                                       SHREVEPORT      LA    71129‐3423
ALAN L KING                                      1016 STANWOOD DR                                                                              LEBANON         OH    45036‐1350
ALAN L KOROL                                     432 LA GRANGE AVE                                                                             ROCHESTER       NY    14615‐3257
ALAN L LAWSON                                    9420 PERGLEN RD                                                                               BALTIMORE       MD    21236‐1631
ALAN L LE BOVIDGE                                93 BONNY LANE                                                                                 NORTH ANDOVER   MA    01845‐1224
ALAN L LOKKER                                    1225 VIENNA DR #960                                                                           SUNNYVALE       CA    94089‐1856
ALAN L MANZ                                      8577 QUARLES RD                                                                               MAPLE GROVE     MN    55311‐1530
ALAN L MASON                                     2700 EATON RAPIDS ROAD #218                                                                   LANSING         MI    48911‐6326
ALAN L PARR                                      705 W VINYARD ST                                                                              ANDERSON        IN    46011‐3423
ALAN L ROWBOTHAM                                 101 QUEENS DR SW                                                                              WARREN          OH    44481‐9222
ALAN L RUHL                                      3748 S WRIGHT RD                                                                              FOWLER          MI    48835‐9244
ALAN L SCOTT                                     4780 PIERSONVILLE RD                                                                          COLUMBIAVILLE   MI    48421‐9328
ALAN L SHAW                                      205 N 100E                                                                                    PRICE           UT    84501‐2409
ALAN L SMOCK                                     3073 E STATE RD 56                                                                            DUBOIS          IN    47527‐9610
ALAN L STEVENS                                   3347 S BELSAY RD                                                                              BURTON          MI    48519‐1623
ALAN L STIEGEMEIER & MARY ELLEN STIEGEMEIER JT   2000 JERSEY                                                                                   QUINCY          IL    62301‐4338
TEN
ALAN L WOODWARD                                  273 SANDWICH ROAD                                                                             EAST FALMOUTH   MA    02536‐5035
ALAN L ZELL & CARRIE J ZELL JT TEN               5201 E GOLD DUST AVE                                                                          SCOTTSDALE      AZ    85253‐1055
ALAN L ZINN & MAXINE BACA ZINN JT TEN            928 BEECH ST                                                                                  E LANSING       MI    48823‐3504
ALAN LANDGRAF CUST ALEC KONSTANTIN LANDRAF       4 WEST ROYAL FOREST VLVD                                                                      COLUMBUS        OH    43214‐2025
UGMA OH
ALAN LAYTON                                      81 LAKEVIEW                                                                                   STANSBURY PK    UT    84074
                                            09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 37 of 850
Name                                           Address1                            Address2             Address3           Address4          City              State Zip

ALAN LEE BOWERS & JENNIFER BOWERS JT TEN       249 ROBINSON DRIVE                                                                            NEWPORT NEWS      VA    23601‐1735
ALAN LEE CURTIS                                16755 OCEANIA WAY                                                                             MONTROSE          CO    81401
ALAN LEE HARMON                                36 W 20TH ST                        FLOOR 6                                                   NEW YORK          NY    10011‐4212
ALAN LEE WARNER                                16267 WORDEN RD                                                                               HOLLY             MI    48442‐9783
ALAN LEON RUDOLPH                              BOX 225                                                                                       TAVERNIER         FL    33070‐0225
ALAN LEONARD WEBB                              4500 N DUNTON TERRACE                                                                         PERRY HALL        MD    21128‐9484
ALAN LEWIS & SUSAN K LEWIS JT TEN              4790 SURRY CT                                                                                 BETTENDORF        IA    52722‐5440
ALAN LEWIS WILLIAMS                            466 RT 245                                                                                    RUSHVILLE         NY    14544‐9608
ALAN LOOK & MRS LOUISE LOOK JT TEN             143‐36 SANFORD AVE                                                                            FLUSHING          NY    11355‐2044
ALAN LOUIS LAUB                                7510 KENNEDY LN                                                                               CINCINNATI        OH    45242‐7706
ALAN LOWREY BROWN                              3115 NOELA DR                                                                                 HONOLULU          HI    96815
ALAN LOWTHER                                   15710 KNAUFF RANCH CT.                                                                        CYPRESS           TX    77429
ALAN LUBARR                                    236 FOUNTAIN RD                                                                               ENGLEWOOD         NJ    07631‐4403
ALAN LUEBCKE                                   3694 AFTONSHIRE                                                                               DAYTON            OH    45430‐1643
ALAN LYONS                                     28 MOREHOUSE PLACE                                                                            NEW PROVIDENCE    NJ    07974‐2426

ALAN M BROWN                                   6187 BLOSSOM PARK DR                                                                          DAYTON            OH    45449‐3017
ALAN M DACZKA & SUSAN DACZKA JT TEN            6190 WEBSTER CHURCH RD                                                                        DEXTER            MI    48130‐9659
ALAN M DOHERTY                                 6821 TONA CRK RD                                                                              LOCKPORT          NY    14094
ALAN M FORK                                    5322 S EMERSON AVE                                                                            INDIANAPOLIS      IN    46237‐1957
ALAN M FREYBURGER                              221 BRENTWOOD DR                                                                              N TONAWANDA       NY    14120‐4860
ALAN M GRAHAM & PATRICIA R GRAHAM JT TEN       3240 PARK PL                                                                                  EVANSTON          IL    60201‐4908
ALAN M HANSBARGER                              4577 ANSONIA ELROY RD                                                                         ANSONIA           OH    45303‐9733
ALAN M HOPKINS                                 RR2 BOX 3230                                                                                  WATERVILLE        ME    04901‐9632
ALAN M HOPKINS                                 238 HIGH ST                                                                                   BELFAST           ME    04915‐6607
ALAN M KAUFMAN                                 79 KATHARINE DR                                                                               PLEASANT HILL     CA    94523‐2917
ALAN M KESSLER                                 4343 WINTERWOOD LANE                                                                          SAGINAW           MI    48603‐8672
ALAN M KOVACS                                  56 CRESCENT DRIVE                                                                             SEARINGTOWN       NY    11507‐1102
ALAN M LOSS & MRS MARCIA LOSS JT TEN           2119 COLVIN RUN DR                                                                            HENDERSON         NV    89052‐7057
ALAN M PIATKOWSKI                              122 CIRCLE DR E                                                                               CANASTOTA         NY    13032‐9708
ALAN M RAPOPORT                                239 S ORANGE DR                                                                               LOS ANGELES       CA    90036‐3010
ALAN M SANDERS                                 105 GLEN WAY                                                                                  SYOSSET           NY    11791
ALAN M SPAGNOLA                                22 WILDCAT SPRINGS DRIVE                                                                      MADISON           CT    06443‐2439
ALAN M STARKEY                                 7022 FRONTIER RIDGE                 MISSISSAUGA ON                          L5N 8C1 CANADA
ALAN M STONE                                   600 INKSTER RD                                                                                INKSTER           MI    48141‐1215
ALAN M YOUNGMAN                                914 IRONSTONE DRIVE                                                                           ROCHESTER HILLS   MI    48309‐1607
ALAN M ZIMMERMAN                               171 WINDING LANE                                                                              CINNAMINSON       NJ    08077‐2421
ALAN MARK ELLIS                                1906 SOMERSWORTH DR                                                                           SOUTH BEND        IN    46614‐6330
ALAN MATTHEW RALPH                             791 ROBINDALE                                                                                 FAIRFIELD         TX    75840
ALAN MC DONALD                                 5714 TEQUESTA CT                                                                              WEST BLOOMFIELD   MI    48323‐2347

ALAN MELTZER                                   22 RIDGE ST                                                                                   EASTCHESTER       NY    10709‐1701
ALAN MESKIL                                    51 WASHINGTON ST                                                                              HANOVER           MA    02339‐2337
ALAN MICHAEL WILDER KATZ                       PO BOX 6991                                                                                   SAN DIEGO         CA    92166‐0991
ALAN MILLER CUST EILEEN MANDY MILLER UGMA NY   C/O FIELD                           6 TILLMAN LANE                                            BREWSTER          NY    10509

ALAN MOSKOWITZ & MINNIE MOSKOWITZ JT TEN       3315 HULL AVE                                                                                 BRONX             NY    10467‐3321
ALAN N BONDURANT                               5303 DERBY CIR                                                                                HOLLY             MI    48442
ALAN N BRISCOE & KATHRYN A BRISCOE JT TEN      2236 MICHELE DR                                                                               TROY              MI    48098‐3879
ALAN N CHAPEL                                  2321 VERNOR RD                                                                                LAPEER            MI    48446‐8374
ALAN N DICKEY                                  304 E PARK ST                                                                                 PLAINFIELD        IN    46168‐1455
ALAN N GRANGER                                 PO BOX 797                                                                                    HANALEI           HI    96714‐0797
ALAN N TROBE                                   1021 N SADLIER DR                                                                             INDIANAPOLIS      IN    46219‐3720
ALAN NICHOLS                                   6000 N CANON DEL PAJARO                                                                       TUSCON            AZ    85750‐1360
ALAN O MAKOVSKY                                730 24TH ST N W                     APT 407                                                   WASHINGTON        DC    20037‐2546
ALAN P FILSINGER                               9215 63RD COURT EAST                                                                          PARRISH           FL    34219‐5447
ALAN P GEORGE                                  371 KILLARNEY BEACH ROAD                                                                      BAY CITY          MI    48706‐1108
ALAN P HUELSMAN                                5134 ITS IT RD                      LOT 11B                                                   CELINA            OH    45822‐9022
ALAN P KLINE & MARGARET J KLINE JT TEN         3435 PEET RD                                                                                  NEW LOTHROP       MI    48460‐9620
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 38 of 850
Name                                             Address1                            Address2                   Address3     Address4          City             State Zip

ALAN P PAPKE                                     1801 MAPLE                                                                                    WYANDOTTE        MI    48192‐5415
ALAN P SLACK                                     26 TULLAMORE DRIVE                                                                            WEST CHESTER     PA    19382
ALAN P WILLISON                                  1601 PEBBLESTONE RD                 COURTICE ON                             L1E 2H1 CANADA
ALAN PARCELLUZZI                                 12675 E HORSEHEAD RD                                                                          TUCSON           AZ    85749‐8680
ALAN PERKINS                                     5304 WINSHALL DRIVE                                                                           SWARTZ CREEK     MI    48473‐1108
ALAN PIKE & RICHARD PIKE & TERRI PIKE JT TEN     690 EMERSON SVENUE ON                                                       L1H 3L3 CANADA
ALAN PLOUGH                                      9 WINTERWOOD TERRACE                                                                          FARMINGTON       CT    06032‐2514
ALAN R BLOHM                                     2275 S FRASER                                                                                 KAWKAWLIN        MI    48631‐9145
ALAN R BLOHM & LEONA D BLOHM JT TEN              2275 S FRASER                                                                                 KAWKAWLIN        MI    48631‐9145
ALAN R BODEIS                                    3862 MERTZ RD                                                                                 MAYVILLE         MI    48744‐9748
ALAN R BOW                                       224 WALKER RD                                                                                 LANDERNBERG      PA    19350‐1559
ALAN R BRUNN                                     20 BELLCHASE CT                                                                               BALTIMORE        MD    21208‐1300
ALAN R BRYSON                                    4279 WEST TERRITORIAL ROAD                                                                    RIVES JUNCTION   MI    49277‐9639
ALAN R CHANDLER                                  924 PRAIRIE AVE                                                                               DOWNERS GROVE    IL    60515‐3637
ALAN R CRAWFORD & MARY F CRAWFORD JT TEN         476 W SADDLE RIVER ROAD                                                                       UPPER SADDLE     NJ    07458‐1626
                                                                                                                                               RIVER
ALAN R CRAWFORD CUST DAVID R CRAWFORD UGMA       642 S CLARK ST                                                                                CHICAGO          IL    60605‐1702
WI
ALAN R CRUCE                                     6159 MAPLE LEAF AVE                                                                           HARRISBURG       NC    28075‐6521
ALAN R DECKER                                    12113 YOLPE                                                                                   STERLING HTS     MI    48312
ALAN R GORDON                                    49 ORCHARD PL                                                                                 NEW ROCHELLE     NY    10801‐3510
ALAN R HARVEY & HELEN H HARVEY & JOANNE HARVEY   22731 BEECH                                                                                   DEARBORN         MI    48124‐2614
JT TEN
ALAN R IVERSON & MRS SUZANNE K IVERSON JT TEN    APT 3709                            2499 KAPIOLANI BOULEVARD                                  HONOLULU         HI    96826‐5339

ALAN R JONES                                     9340 NW 32ND ST                                                                               SUNRISE          FL    33351‐7106
ALAN R KEIFER & JACQUELINE KEIFER JT TEN         343 W MILLTOWN PMB #119                                                                       WOOSTER          OH    44691‐7287
ALAN R KNIGHT                                    6943 E COUNTY ROAD 350 N                                                                      BROWNSBURG       IN    46112‐9716
ALAN R L BUSSARD TR UW MARTHA BROWN RAY F/B/O    405 ALLEGHENY AVE                                                                             TOWSON           MD    21204‐4256
RICHARD B RAY
ALAN R LAMBERT                                   38475 WESTVALE STREET                                                                         ROMULUS          MI    48174‐1046
ALAN R LANDIS TR UA 02/03/93 ALAN R LANDIS       399 BRITTANY COURT                                                                            SOUDERTON        PA    18964‐2077
ALAN R LOCKWOOD                                  1725 CAHILL                                                                                   EAST LANSING     MI    48823‐4728
ALAN R MATSON                                    160 PARK AVE                                                                                  BINGHAMTON       NY    13903‐3225
ALAN R NAY                                       9 CEDARWOODN CT                                                                               PALM COAST       FL    32137‐8947
ALAN R OLSEN                                     565 W CENTER ST                                                                               LA VERKIN        UT    84745‐5417
ALAN R PETERMAN                                  14311 ZIEGLER                                                                                 TAYLOR           MI    48180‐5322
ALAN R PETREE                                    4839 COVENTRY PKWY                                                                            FORT WAYNE       IN    46804‐7132
ALAN R PILUKAS                                   8921 SALLY ROSE AVE                                                                           LAS VEGAS        NV    89149‐4465
ALAN R RADLICK                                   226 JONATHAN DRIVE                                                                            ALMONT           MI    48003‐8972
ALAN R SCHWEITZER                                630 N SAN MARCOS ROAD                                                                         SANTA BARBARA    CA    93111‐1529
ALAN R SILVERMAN                                 27150 GREENHAVEN ROAD                                                                         HAYWARD          CA    94542‐1437
ALAN R STUART                                    8670 HOPEWELL ROAD                                                                            CINCINNATI       OH    45242‐4508
ALAN R TOMER                                     116 DIX AVE                                                                                   NEWBURGH         NY    12550‐2713
ALAN R WADE                                      333 N KEYSTONE AVE                                                                            INDIANAPOLIS     IN    46201‐3107
ALAN R WEESE                                     5929 CR 9                                                                                     DELTA            OH    43515‐9448
ALAN R WILSON                                    1537 MORGAN ROAD                                                                              CLIO             MI    48420‐1866
ALAN R WORMSER                                   36 CHURCHILL RD                                                                               TENAFLY          NJ    07670‐3124
ALAN R YORK                                      8600 WOODLAKE DR                                                                              HAUGHTON         LA    71037‐9348
ALAN R ZINKE                                     2661 SECTION RD                                                                               NASHVILLE        MI    49073‐9125
ALAN R ZOYHOFSKI                                 28 LITTLE GLEN RD                                                                             PITTSFORD        NY    14534‐2620
ALAN RANDOLPH PRICE                              18826 RIOPELLE                                                                                DETROIT          MI    48203‐2158
ALAN RANDOLPH WALTHALL                           24 KALLIO LN                                                                                  BOZEMAN          MT    59718‐7859
ALAN RAUL JOHNSON                                78 RIVER FORD ROAD                                                                            BROOKFIELD       CT    06804‐1323
ALAN REHS                                        7 HOWLAND RD                                                                                  EAST ROCKAWAY    NY    11518‐1616
ALAN RENC                                        63 PARKWAY DRIVE                                                                              YORKVILLE        IL    60560‐9509
ALAN REYMANN                                     1904 OAK LODGE RD                                                                             BALTIMORE        MD    21228‐4765
ALAN RICE ENGLAND                                23 ARBOR BEND DR                                                                              HOUSTON          TX    77070‐4330
ALAN RICHARD ALBERTS                             2839 RIO DE JANEIRO AVE                                                                       COOPER CITY      FL    33026‐4544
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 39 of 850
Name                                               Address1                              Address2             Address3           Address4                  City              State Zip

ALAN ROBERT ROBITAILLE                             8317 RANDY                                                                                              WESTLAND          MI    48185‐7079
ALAN ROSENBERG                                     160 E 84TH ST APT 2E                                                                                    NEW YORK          NY    10028‐2074
ALAN ROUSSEAU                                      65 DOE MEADOW CT                                                                                        SOUTHINGTON       CT    06489
ALAN RUDOLPH & DONNA J RUDOLPH JT TEN              5011 BRONCO DR                                                                                          CLARKSTON         MI    48346‐2602
ALAN S ANDERSON & MRS INA‐CLAIRE ANDERSON JT       35 JULIO DR                           APT 324                                                           SHREWSBURY        MA    01545‐3057
TEN
ALAN S BATEY                                       10 SARAH CRESCENT                     TEMPLESTOWE          MELBOURNE          VICTORIA 3106 AUSTRALIA
ALAN S DUVAL                                       BOX 13                                                                                                  SOCIAL CIRCLE     GA    30025‐0013
ALAN S EVANS                                       701 JENNIE PL                                                                                           MONROE            MI    48161‐1870
ALAN S FREEMOND                                    29110 TANNERS LN                                                                                        BROOKVILLE        IN    47012‐8349
ALAN S GAYNOR TR HARRIET G MARKS U‐W GOLDIE J      C/O ALPERIN                           1504 VINTON                                                       MEMPHIS           TN    38104‐4922
GREEN
ALAN S GRENADIR                                    721 EAST 7 ST                                                                                           BROOKLYN          NY    11218‐5903
ALAN S HOFFMAN                                     65 CAMBRIDGE LANE                                                                                       BOYNTON BEACH     FL    33436‐6216
ALAN S JOHNSON                                     105 PARK ST                                                                                             ROCKPORT          ME    04856‐5509
ALAN S KAUFMAN & RUTH A KAUFMAN JT TEN             7055 CORNERSTONE DR SE                                                                                  CALEDONIA         MI    49316‐7888
ALAN S KINGSBERY                                   1507 WEST MARKET STREET                                                                                 LIMA              OH    45805‐2312
ALAN S KUSLER                                      60 RESERVOIR AVE                                                                                        ROCHESTER         NY    14620‐2754
ALAN S MCATTEE                                     6414 COULSON COURT                                                                                      LANSING           MI    48911
ALAN S MLOTEK                                      708 WEST ALDINE UNIT 202                                                                                CHICAGO           IL    60657‐3568
ALAN S PHILLIPS                                    6103 BALMORAL WAY                                                                                       COMMERCE TWP      MI    48382‐4892
ALAN S ROBINSON & MRS VIRGINIA R ROBINSON JT TEN   214 SPRUCE ST                                                                                           INDIANOLA         IA    50125‐4116

ALAN S RUNK                                  117 GREENSPRING RD                                                                                            WILM              DE    19807‐2201
ALAN S YOUNG                                 2371 W WARDLOW RD                                                                                             HIGHLAND          MI    48357‐3345
ALAN SAIDMAN CUST ETHAN RANDALL SAIDMAN UGMA 1021 S CORONA ST                                                                                              DENVER            CO    80209‐4413
PA
ALAN SALTZMAN CUST LAUREN SALTZMAN UGMA PA   706 HOOD BLVD                                                                                                 FAIRLESS HILLS    PA    19030‐3103

ALAN SAMPLE                                        2002 W 3RD STREET                                                                                       MARION           IN     46952‐3246
ALAN SANDLER                                       27 GROVE SQ                                                                                             RANDOLPH         MA     02368‐4027
ALAN SCOTT                                         4465 BRISTOL DR                                                                                         CHESEPEAKE BEACH MD     20732‐3938

ALAN SECHER & NANCY SECHER JT TEN                  955 NORTHWOODS DR                                                                                       WHITEFISH         MT    59937‐8161
ALAN SHAFER                                        2216 RIDGE RD                                                                                           REISTERSTOWN      MD    21136‐5625
ALAN SHAULTS                                       263 S MYRTLE AVE                                                                                        VILLA PARK        IL    60181‐2917
ALAN SHOIOCK                                       5 DARA CT                                                                                               MONROE            NY    10950‐1428
ALAN SHUGHART & LYNN SHUGHART JT TEN               55 KELLY ROAD                                                                                           SHIPPENSBURG      PA    17257‐9622
ALAN SHUGHART & LYNN SHUGHART JT TEN               55 KELLY ROAD                                                                                           SHIPPENSBURG      PA    17257‐9622
ALAN SHWEKY & JULIE SHWEKY JT TEN                  1530 E 8TH ST APT 3D                                                                                    BROOKLYN          NY    11230‐7032
ALAN SIEGEL                                        5557 TAMERLANE DR                                                                                       WEST BLOOMFIELD   MI    48322‐3887

ALAN SLAUGHTER CUST BARRETT ALAN SLAUGHTER         236 N HILLS DR                                                                                          PARKERSBURG       WV    26101‐9224
UTMA WV
ALAN SPECTOR TR ALAN SPECTOR TRUST UA 01/07/00     150 SOUTH WACKER DR SUITE 1200                                                                          CHICAGO           IL    60606‐4201

ALAN STAFFORD                                      3019 NAVAHO ST                                                                                          MIDDLETOWN        OH    45044‐7711
ALAN STOFFER                                       PO BOX 31                                                                                               HIGHLAND          MI    48357‐0031
ALAN STORCH                                        19 NORWICH AVE                                                                                          LYNBROOK          NY    11563‐4046
ALAN STRASSLER                                     1145 RAINWOOD CIR                                                                                       PALM BEACH        FL    33410‐5234
                                                                                                                                                           GARDENS
ALAN T BRUCZ                                       6802 TONAWANDA CREEK RD                                                                                 LOCKPORT          NY    14094‐7958
ALAN T FUNKHOUSER                                  21 POVALISH CT                                                                                          LEMONT            IL    60439‐3662
ALAN T GORTON                                      802 COUNTRYSIDE COURT                                                                                   MARIETTA          GA    30067‐5524
ALAN T GREGG                                       PO BOX 337                                                                                              SAINT MICHAELS    MD    21663‐0337
ALAN T JOHNSON                                     1875 KENMORE                                                                                            GROSSE POINTE     MI    48236‐1985
                                                                                                                                                           WOOD
ALAN T LUBBEN                                      18774 STONE BRIDGE RD                                                                                   MONTICELLO        IA    52310‐7608
ALAN T POPILEK & KRISTIN K POPILEK JT TEN          7488 SILVER FOX RUN                                                                                     SWARTZ CREEK      MI    48473‐8923
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 40 of 850
Name                                              Address1                               Address2             Address3           Address4          City             State Zip

ALAN T RISEDORF & LISA A RISEDORF JT TEN          627 EVERDELL AVE                                                                                 WEST ISLIP       NY    11795‐3322
ALAN T SLYN & SEYMOUR KRINSKY TEN COM             3007 BUNKER HILL DRIVE                                                                           LOUISVILLE       KY    40205
ALAN TEICHER                                      125 W 12TH ST APT 6A                                                                             NEW YORK         NY    10011‐8278
ALAN TOMLINSON                                    4006 TAMARIND DR                                                                                 BETHLEHEM        PA    18020‐7652
ALAN URBAN                                        1005 CEDARVILLE RD                                                                               EASTON           PA    18042‐6905
ALAN V ANDREWS                                    606 CARNATION                                                                                    CORONA DEL MAR   CA    92625‐2017

ALAN V DANIEL                                     7060 MICHAEL RD                                                                                  MIDDLETOWN       OH    45042‐1434
ALAN V DUNCAN                                     60 CASE ST                                                                                       CANTON           CT    06019‐5007
ALAN V ELLER TR ALAN V ELLER REVOCABLE TRUST UA   2447 NW 63RD ST                                                                                  BOCA RATON       FL    33496‐3625
08/19/97
ALAN V GOLD                                       11 SUTTON PLACE                                                                                  ROCHESTER        NY    14620‐3355
ALAN VANDUSEN                                     148 WHITESHIELD PLACE                  KAMLOOPS BC                             V2E 1H4 CANADA
ALAN VEATOR                                       25 COLUMBIA RD                                                                                   MEDFORD          MA    02155‐4506
ALAN W ABRAMS                                     134 N CHURCH RD                                                                                  ROCHESTER        NY    14612‐6105
ALAN W ANDERSON                                   103 DALE ST                                                                                      DEDHAM           MA    02026‐3428
ALAN W BANNER                                     BOX 1806                                                                                         JANESVILLE       WI    53547‐1806
ALAN W ELFERS                                     3550 W 105TH ST #204                                                                             CLEVELAND        OH    44111‐3838
ALAN W LESNER                                     6576 OBERLIN RD                                                                                  AMHERST          OH    44001‐1942
ALAN W MACGREGOR                                  90 INVERNESS CRESCENT                  KINGSTON ON                             K7M 6N7 CANADA
ALAN W MCLAUGHLIN & MARY L MC LAUGHLIN JT TEN     273 ANNE MARIE CT                                                                                HINCKLEY         OH    44233‐9228

ALAN W MORRISSEY                                  1636 SETTLERS WAY SW                                                                             OCEAN ISL BCH   NC     28469‐6536
ALAN W RICKETTS JR                                PO BOX 62                                                                                        SOUTH STRAFFORD VT     05070‐0062

ALAN W RUBADEAU                                   261 FOSTER ROAD                                                                                  FT COVINGTON     NY    12937
ALAN W SMITH                                      232 BARRMORE COURT                     BURLINGTON ON                           L7T 1B8 CANADA
ALAN W SMITH                                      232 BARRYMORE COURT                    BURLINGTON ON                           L7T 1B8 CANADA
ALAN W SZYMCZAK                                   4435 TWIN CREEK DR                                                                               COOKVILLE        TN    38506
ALAN W TRABILCY                                   11455 N 54TH ST                                                                                  SCOTTSDALE       AZ    85254‐4710
ALAN W WICKMAN                                    10828 CENTER ROAD                                                                                GRAND BLANC      MI    48439‐1035
ALAN WALDAUER & CATHERINE WALDAUER JT TEN         10 AUTUMN CIR                                                                                    FAYETTEVILLE     TN    37334

ALAN WALKER                                      6 CODINGTON LN                                                                                    WARREN           NJ    07059‐6853
ALAN WARNER                                      353 EAST 72 ST 3D                                                                                 NEW YORK         NY    10021‐4686
ALAN WARNER & LINDA WARNER TR UA 02/22/86 LISA J 5 WINTHROP HILLS                                                                                  WESTON           CT    06883‐1965
WARNER TRUST
ALAN WASHELESKI & ALICIA F WASHELESKI JT TEN     31786 ROBINHOOD DR                                                                                BEVERLY HILLS    MI    48025‐3535
ALAN WAYNE HATLEY                                389 AVENIDA MANZANOS                                                                              SAN JOSE         CA    95123‐1413
ALAN WAYNE MADISON                               302 LANCELOT DRIVE                                                                                CLEMSON          SC    29631‐2131
ALAN WILSON                                      54 MURHILL LIMPLEY STOKE                BATH AVON                               GREAT BRITAIN
ALAN YEOMAN & MARIANNE YEOMAN JT TEN             3230 OAK HAMPTON WAY                                                                              DULUTH           GA    30096‐5883
ALAN Z SHERBROOK                                 1351 RUE DEAVILLE                                                                                 YPSILANTI        MI    48198‐7551
ALAN ZIMMER & SUSAN C ZIMMER TR UA 02/09/94      3553 EVERGREEN ROAD                                                                               BONITA           CA    91902‐1444
ALAN ZIMMER & SUSAN C
ALANA DUBOST                                     1412 JOHNSON ST                                                                                   NOVATO           CA    94947‐4438
ALANA PAVLICK                                    25508 VINECHASE DR                                                                                PORTER           TX    77365
ALANA PODOLSKY                                   1424 N BOSWORTH #2                                                                                CHICAGO          IL    60642
ALANA SCHUYLER                                   55 FERRIS PL                                                                                      OSSINING         NY    10562‐3509
ALANA VEDDER‐LORD                                1057 GIDNER RD                                                                                    CHARLOTTE        MI    48813‐9743
ALAND D HUMPHRIES                                9150 RISING SUN DR                                                                                RENO             NV    89504
ALANDA L KANDAL                                  1514 PATTY CR                                                                                     ROWLETT          TX    75089‐3263
ALANE L SMITH                                    3454 WHARTON                                                                                      BUTTE            MT    59701‐4537
ALANE P LEVINE                                   14 LOUISE RD                                                                                      EDISON           NJ    08817
ALANNA AUSTIN AS PERSONAL REPRESENTATIVE         27012 VANHORN                                                                                     FLATROCK         MI    48134‐9239
ALANNA SILVER                                    2634 CALLE DE COMPADRES                                                                           ALPINE           CA    91901‐3606
ALANNA TESS                                      81 LAKE NESS DR                                                                                   MOUNT MORRIS     MI    48458‐8888
ALANSON F DAVIS                                  8037 THURSTON DRIVE                                                                               CICERO           NY    13039‐9033
ALASTAIR M STUART                                38 CHAPEL RD                                                                                      AMHERST          MA    01002‐3006
                                                09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 41 of 850
Name                                               Address1                                Address2             Address3           Address4          City              State Zip

ALAVI FOUNDATION MOHAMMAD GERAMIAN                 500 FIFTH AVE 23TH FL STE 2320                                                                    NEW YORK          NY    10110‐0002
PRESIDENT
ALAYNA FENSTER                                     5801 CHERRY CREST DR                                                                              W BLOOMFIELD      MI    48322‐1717
ALAYNE MEILMAN                                     39 ANDREA LANE                                                                                    SCARSDALE         NY    10583‐3115
ALBA JAMES BROOKS & KAREN L BROOKS TEN ENT         8125 BRIARWOOD DR                                                                                 BIRCH RUN         MI    48415
ALBA L WHITESIDE TR UA 12/31/05 ALBA L WHITESIDE   2229 ST RTE 256 APT 410                                                                           REYNOLDSBURG      OH    43068
REVOCABLE TRUST
ALBA M DOMINGUEZ                                   4519 NW INDIAN OAK COURT                                                                          JENSEN BEACH      FL    34957‐3478
ALBAN P SHAW 3RD                                   19 MARS RD NORTH STAR                                                                             NEWARK            DE    19711‐3054
ALBANO D MORAIS                                    480 PULASKI BL                                                                                    BELLINGHAM        MA    02019‐2036
ALBE KIELBASA                                      26141 BUSTER DR                                                                                   WARREN            MI    48091‐1042
ALBEN L WATTS                                      206 VALLEY RD                                                                                     JACKSON           GA    30233‐1654
ALBEN N HOPKINS                                    2701 24TH AVE                                                                                     GULFPORT          MS    39501
ALBENA A KURPOWIC & CHRISTINE KURZNEIC JT TEN      1529 GRANT                                                                                        LINCOLN PARK      MI    48146‐2136

ALBENA A KURPOWIC BARBARA ANN MCKENZIE             1529 GRANT                                                                                        LINCOLN PARK      MI    48146‐2136
ALBENA JONES                                       8830 ROYAL GRAND                                                                                  REDFORD           MI    48239‐1742
ALBERIGO GUERRIERI                                 812 LUTHUANICA LA                                                                                 WEBSTER           NY    14580‐9115
ALBERT A ABBO                                      2080 DAINTREE AVE                                                                                 W BLOOMFIELD      MI    48323‐3802
ALBERT A BAUER                                     S 5110 MOUNT VERNON BLVD                                                                          HAMBURG           NY    14075‐5553
ALBERT A BRACCINI & DOROTHY A BRACCINI JT TEN      PO BOX 10904                                                                                      FORT MOJAVE       AZ    86427‐0904

ALBERT A BRIENZA                                   F 2 SCARBOROUGH MANOR                                                                             SCARBOROUGH       NY    10510
ALBERT A COLACINO                                  233 E MILLER ST                                                                                   NEWARK            NY    14513‐1519
ALBERT A DENNEY JR                                 PO BOX 151                                                                                        RILLTON           PA    15678‐0151
ALBERT A DILGER & PATRICIA A DILGER JT TEN         3943 W 82ND ST                                                                                    CHICAGO           IL    60652‐2909
ALBERT A DIOMBALA & JEANNE A DIOMBALA JT TEN       9024 S UTICA AVE                                                                                  EVERGREEN PARK    IL    60805‐1337

ALBERT A FOWLER & ELIZABETH J FOWLER JT TEN  PO BOX 36                                                                                               BEDMINSTER        PA    18910‐0036
ALBERT A GARCEAU CUST DREW A GARCEAU UTMA OH 471 MERIDIAN COURT                                                                                      AVON LAKE         OH    44012‐2460

ALBERT A GEOIT                                     13242 SULLIVAN                                                                                    EMMETT            MI    48022‐1005
ALBERT A GREGORIO & CAROL A GREGORIO JT TEN        5 PUTTING GREEN LN                                                                                PENFIELD          NY    14526‐2524

ALBERT A HOYT                                      3003 W ASHLAND AVE                                                                                MUNCIE            IN    47304‐3804
ALBERT A IFRAH                                     622 TAUNTON PL                                                                                    BFLO              NY    14216‐2140
ALBERT A JURICH                                    874 CENTRAL                                                                                       DETROIT           MI    48209‐1902
ALBERT A KAMINSKI                                  14300 E MARINA DR                                                                                 AURORA            CO    80014‐3768
ALBERT A KISHBAUGH                                 215 SOUTH REACH LANE                                                                              SALEM             SC    29676‐4608
ALBERT A LOPEZ                                     1846 W 18TH ST                                                                                    CHICAGO           IL    60608‐1944
ALBERT A MANCINO                                   2444 W ERIC DRIVE                                                                                 WILMINGTON        DE    19808‐4250
ALBERT A MATTUCCI JR                               72 PRINCETON AVE                                                                                  DEPEW             NY    14043‐2816
ALBERT A MILLER & JOANNE MILLER JT TEN             16165 THAMES LN                                                                                   MACOMB            MI    48042‐6184
ALBERT A SAMMARCO                                  635 WALNUT STREET                                                                                 LOCKPORT          NY    14094‐3131
ALBERT A SAUER                                     7184 ELKWOOD DR                                                                                   WEST CHESTER      OH    45069‐3013
ALBERT A SEALS                                     240 PARKER RD                                                                                     LONG VALLEY       NJ    07853‐3055
ALBERT A SHAKAN & FLORENCE M SHAKAN JT TEN         2945 MENDON RD                                                                                    CUMBERLAND        RI    02864‐3458
ALBERT A THOMPSON                                  1096 CLUBHOUSE BLVD                                                                               NEW SMYRNA        FL    32168‐7964
                                                                                                                                                     BEACH
ALBERT A TUCKER                                    926 S BROADWAY ST                                                                                 DAYTON            OH    45408‐1915
ALBERT A VAZQUEZ                                   19726 ARMINTA ST                                                                                  WINNETKA          CA    91306‐2338
ALBERT A WHITE                                     1811 DAISY STREET EXT                                                                             CLEARFIELD        PA    16830‐3223
ALBERT A YUKNUS                                    7514‐D SWEETHOURS WAY                                                                             COLUMBIA          MD    21046‐2493
ALBERT ANTFLICK                                    25 W HAXELTINE AVE                                                                                KENMORE           NY    14217‐2619
ALBERT ANTHONY ARCHULETA ADM EST DEMECIO           901 S KOBAYASHI 122                                                                               WEBSTER           TX    77598
ALBERT ARCHULETA
ALBERT ARCOS                                       C/O Y ARCOS                             33‐47 91ST ST                                             JACKSON HEIGHTS   NY    11372‐1749

ALBERT ARNOLD JR                                   59 ELMWOOD AVE                                                                                    UNION             NJ    07083‐6910
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 42 of 850
Name                                              Address1                            Address2             Address3           Address4          City             State Zip

ALBERT ARTH CUST CASEY CARLSON UGMA CA            12157 ELM CT                                                                                  AUBURN           CA    95602‐8151
ALBERT AVILA                                      11424 W 109TH ST                                                                              OVERLAND PARK    KS    66210‐1294
ALBERT B BABBITT                                  2240 EAST HAMMOND LAKE DR                                                                     BLOOMFIELD       MI    48302
ALBERT B CHESNEY                                  2418 JEFFERSON AVE                                                                            CINCINNATI       OH    45212‐4008
ALBERT B CHRISTENSEN                              11139 BARE DR                                                                                 CLIO             MI    48420‐1576
ALBERT B COLLVER SR COLLVER TRUST NO 1 UA         306 W MUNGER RD                                                                               MUNGER           MI    48747
2/24/2005
ALBERT B HALL                                     30651 BOICE LANE                                                                              FORT BRAGG       CA    95437‐8325
ALBERT B KILBY & MARTHA T KILBY JT TEN            245 HINTON PL                                                                                 SOMERDALE        NJ    08083
ALBERT B LEON                                     APT A43                             67‐66 108TH ST                                            FOREST HILLS     NY    11375‐2912
ALBERT B LORDO & ROSE MARIE LORDO JT TEN          10450 MOORE DR                                                                                CLEVELAND        OH    44130‐6042
ALBERT B LUCERO                                   21 LOS CASTILLOS                                                                              BERNALILLO       NM    87004‐5900
ALBERT B MC GRAW & MARGARET D MC GRAW JT TEN      4830 SUNSET BLVD                                                                              TAMPA            FL    33629

ALBERT B MICKEL                                   1517 OVERLAND                                                                                 YOUNGSTOWN       OH    44511‐1681
ALBERT B MURRAY                                   820 SO B ST                                                                                   ELWOOD           IN    46036‐1945
ALBERT B PETERMAN JR & DEMARUS J PETERMAN JT      913A 4TH ST                                                                                   YREKA            CA    96097
TEN
ALBERT B RINALDI & MRS FRANCES R RINALDI JT TEN   300 LAKE AVENUE N E                 APT 332                                                   LARGO            FL    33771

ALBERT B SANDUSKY JR                              52 BONNIE STREET                                                                              BELLE VERNON     PA    15012‐1928
ALBERT B STAHL & MRS DOROTHY F STAHL JT TEN       106 GREENLAWN RD                                                                              SOUND BEACH      NY    11789‐1939
ALBERT B VAN VLAENDEREN                           255 THE ESPLANADE N APT 102                                                                   VENICE           FL    34285‐1518
ALBERT B VAN VLAENDEREN & JOAN J VAN              255 THE ESPLANADE N APT 102                                                                   VENICE           FL    34285‐1518
VLAENDEREN JT TEN
ALBERT B VERHINE & MRS GLENDA L VERHINE JT TEN    1525 KUHLACRES DR                                                                             TALLAHASSEE      FL    32308‐4716

ALBERT BAILEY                                     C/O ALLEN F BAILEY                  PO BOX 371                                                DORR             MI    49323‐0371
ALBERT BAKER                                      10780 TORREY RD                                                                               WILLIS           MI    48191‐9778
ALBERT BALDWIN                                    1255 WEBSTER AVE                    APT B2                                                    BRONX            NY    10456‐3319
ALBERT BALTZ & PATRICIA BALTZ JT TEN              516 CHAMBERLAIN MILLS RD                                                                      SALEM            NY    12865
ALBERT BANIS CUST MICHAEL ALBERT BANIS UGMA IL    9205 AVERS                                                                                    EVERGREEN PARK   IL    60805‐1415

ALBERT BEE                                        2662 MONTEREY                                                                                 DETROIT          MI    48206‐1113
ALBERT BENSON & ETHEL BENSON JT TEN               9330 SUNRISE LAKES BLVD             APT 206                                                   SUNRISE          FL    33322‐2161
ALBERT BETTIS JR                                  18177 SOUTH DR                      APT 112                                                   SOUTHFIELD       MI    48076‐1126
ALBERT BIGOS                                      C/O WANDA BIGOS                     PO BOX 619                                                PEPPERELL        MA    01463‐0619
ALBERT BRAGG                                      15697 HENLEY ROAD                                                                             CLEVELAND HTS    OH    44112‐4017
ALBERT BRANCA JR & SUSAN BRANCA JT TEN            9 WEST SENECA STREET                                                                          MASSAPEQUA       NY    11758‐7421
ALBERT BROWN JR                                   20026 CHAPEL ST                                                                               DETROIT          MI    48219‐1359
ALBERT BUSHMAN                                    6363 ASHDALE RD                                                                               CLEVELAND        OH    44124‐4101
ALBERT C ACKLEY                                   8 MEADOW WAY                                                                                  HOPEWELL JCT     NY    12533
ALBERT C ACKLEY & BARBARA J ACKLEY JT TEN         8 MEADOW WAY                                                                                  HOPEWELL JCT     NY    12533
ALBERT C ASHFORD                                  1126 NASH AVE                                                                                 YPSILANTI        MI    48198‐6289
ALBERT C BARNES JR                                7141 FM 2067                                                                                  CUERO            TX    77954
ALBERT C BEEN                                     28504 SAND CANYON RD 68                                                                       CANYON COUNTRY   CA    91351‐2112

ALBERT C BERNASCONI                               10550 RAGGIO AVE                                                                              LAS VEGAS        NV    89135‐3217
ALBERT C BOBCHUCK                                 1028 SUSAN LANE                                                                               GIRARD           OH    44420‐1452
ALBERT C BONTINEN                                 4631 CLAUDIA DRIVE                                                                            WATERFORD        MI    48328‐1101
ALBERT C BROWN                                    5237 MEADOWLARK LN                                                                            WILLIAMSBURG     MI    49690‐8624
ALBERT C CHAMPMAN & JOYCE A CHAPMAN JT TEN        2719 COOLEY DR                                                                                LANSING          MI    48911‐1667

ALBERT C CHEN                                     12 MOUNTAIN PASS ROAD                                                                         HOPEWELL         NY    12533‐5331
                                                                                                                                                JUNCTION
ALBERT C CLAUS                                    15928 W WOODBINE CIRCLE                                                                       VERNON HILLS     IL    60061‐4116
ALBERT C DOUGLAS JR                               125 WOODLAND HILL DR                                                                          FAIRBURN         GA    30213‐1060
ALBERT C GESSNER                                  89 FRANKLIN ST                                                                                PORT JERVIS      NY    12771‐2124
ALBERT C GLADSTONE                                325 ST IVES S                                                                                 LANSING          MI    48906‐1529
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 43 of 850
Name                                              Address1                              Address2             Address3           Address4          City               State Zip

ALBERT C HALSEY JR                              7842 S 1050 E                                                                                     NEW ROSS           IN    47968‐8029
ALBERT C HLADISH                                354 BIRCHFIELD RD                                                                                 MURPHY             NC    28906‐2173
ALBERT C HORAT                                  15923 LA FORGE ST APT B                                                                           WHITTIER           CA    90603‐2513
ALBERT C JONES                                  4528 CHANNING LN                                                                                  DAYTON             OH    45416‐1655
ALBERT C JONES TR INTERVIVOS TRUST 10/03/91 U‐A 8950 SW 62 COURT                                                                                  MIAMI              FL    33156‐1803
ALBERT C JONES
ALBERT C KEITH                                  12930 HAWKINS RD                                                                                  BURT               MI    48417‐9621
ALBERT C LARUE                                  4812 TURTLE BAY TER                                                                               BRADENTON          FL    34203
ALBERT C LEDNER                                 5328 BELLAIRE DRIVE                                                                               NEW ORLEANS        LA    70124‐1033
ALBERT C MCCALIPS                               1975 BIG RIDGE ROAD                                                                               LEWISTOWN          PA    17044‐8257
ALBERT C MENGER & MRS PAULINE M MENGER TEN ENT 233 STEEPLECHASE DR                                                                                ELVERSON           PA    19520

ALBERT C MILLS JR                                 7220 HY 964                                                                                     ZACHARY            LA    70791‐8714
ALBERT C MOLL                                     32615 REDWOOD BLVD                                                                              AVON LAKE          OH    44012‐1628
ALBERT C MORGAN                                   1785 RT PRONG BLUE BUCK RD                                                                      DUCK RIVER         TN    38454
ALBERT C PETERS                                   2820 SUBSTATION RD                                                                              MEDINA TWP         OH    44256‐8357
ALBERT C PROW                                     1421 VZCR 3103                                                                                  EDGEWOOD           TX    75117
ALBERT C REEVES                                   BOX 190                                                                                         WALLOON LAKE       MI    49796‐0190
ALBERT C SHERN & SHIRLEY A SHERN JT TEN           424 W FAIRVIEW AVE                                                                              INGLEWOOD          CA    90302‐1118
ALBERT C SHUFORD                                  964 EVERETT RD                                                                                  PISGAH FOREST      NC    28768
ALBERT C SMITH                                    206 HOLFORD                                                                                     NILES              OH    44446‐1719
ALBERT C STEVENS & MRS BARBARA A STEVENS JT TEN   315 NW 29TH ST                                                                                  GAINESVILLE        FL    32607‐2572

ALBERT C SULLIVAN                                 10209 DEEP CREEK PL                                                                             UNION CITY         GA    30291‐6040
ALBERT C TATE                                     1527 FOUNTAIN SQUARE DR APT 18                                                                  YOUNGSTOWN         OH    44515‐4671
ALBERT C UPSTROM & ELLEN L UPSTROM JT TEN         4209 CLAUSEN AVE                                                                                WESTERN SPRINGS    IL    60558‐1232

ALBERT C VINSON                                   6682 E WATSON RD                                                                                MOORESVILLE        IN    46158‐6144
ALBERT C WOODWARD                                 1317 S BELMONT ST                                                                               INDIANAPOLIS       IN    46221‐1543
ALBERT C ZAPANTA & ROCHELLE M ZAPANTA JT TEN      2516 CLEARSPRING DR N                                                                           IRVING             TX    75063‐3163

ALBERT CALILLE                                    1412 MAPLE                                                                                      PLMOUTH            MI    48170‐1516
ALBERT CARPENTER                                  1201 HIGHWAY 32 W                                                                               ASHDOWN            AR    71822‐8780
ALBERT CARPENTIER & EDNA R CARPENTIER &           34262 WHITE OSPREY DR NORTH                                                                     LILLIAN            AL    36549‐5386
MATTHEW CARPENTIER JT TEN
ALBERT CASCADDAN                                  2525 BULLOCK ROAD                                                                               LAPEER             MI    48446‐9754
ALBERT CHARLES MADY JR                            10606 ATWATER                         WINDSOR ON                              N8R 1P4 CANADA
ALBERT CHILDRESS                                  11212 E 59TH TERR                                                                               RAYTOWN            MO    64133‐4201
ALBERT CHOMICZ                                    38618 DAYTONA                                                                                   STERLING HEIGHTS   MI    48312‐1501

ALBERT CIERPIAL                                   51706 DEBORAH CIRCLE                  CHESTERFIELD TW                                           NEW BALTIMORE      MI    48047‐3060
ALBERT CLAIR JACKSON                              728 EICHER ST                                                                                   KEOKUK             IA    52632‐2419
ALBERT COHEN                                      5601 14TH AVE                                                                                   BROOKLYN           NY    11219‐4648
ALBERT COLE LITTRELL                              7725 U S HWY 331 SOUTH                                                                          DEFUNIAK SPRINGS   FL    32433‐5421

ALBERT COLE SR                                    2733 NEW PORT ROYAL RD                                                                          THOMPSONS STN      TN    37179‐9293
ALBERT COLLA                                      1940 STONY POINT ROAD                                                                           GRAND ISLAND       NY    14072‐2141
ALBERT CORRALES                                   37373 THIRD                                                                                     FREMONT            CA    94536‐2843
ALBERT COSTA & MRS ALVERA R COSTA JT TEN          811 WEST 5TH ST                                                                                 STAUNTON           IL    62088‐1617
ALBERT CURULLI & PAULINE CURULLI JT TEN           1756 W 10TH ST                                                                                  BROOKLYN           NY    11223‐1151
ALBERT D BALDERSTONE                              2435 YOSEMITE                                                                                   SAGINAW            MI    48603‐3356
ALBERT D CHRISTMANN                               105 WINDGATE DR                                                                                 WEXFORD            PA    15090‐7516
ALBERT D CORRELL                                  16042 S RED ROCK LN                                                                             MAYER              AZ    86333
ALBERT D DEAN III                                 4798 CEDAR PK WY                                                                                STONE MOUNTAIN     GA    30083‐1890

ALBERT D EAGLEN                                9821 SE SUNSET HARBOR RD                                                                           SUMMERFIELD        FL    34491‐4502
ALBERT D EAGLEN CUST MICHELLE LYNN EAGLEN UGMA 5540 DONS                                                                                          WATERFORD          MI    48329‐3227
MI
ALBERT D GROSS                                 243 MATILDA                                                                                        HARRISON           MI    48625
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 44 of 850
Name                                               Address1                           Address2             Address3           Address4          City            State Zip

ALBERT D HALL                                      932 ELK AV                                                                                   ADAMS           WI    53910‐9603
ALBERT D HASTING JR                                2888 PLEASANT GROVES RD                                                                      WEST MORELAND   TN    37186‐5286
ALBERT D HILL                                      4193 BURNS                                                                                   DETROIT         MI    48214‐1269
ALBERT D HILL JR                                   1017 SPATZ COURT                                                                             SAGINAW         MI    48602‐5755
ALBERT D IOPPOLO                                   721 YARMOUTH DR                                                                              WESTCHESTER     PA    19380‐6492
ALBERT D IRELAN                                    4856 NEWARK RD                                                                               ATTICA          MI    48412‐9619
ALBERT D JOHNSON                                   25685 PINEVIEW                                                                               WARREN          MI    48091‐3890
ALBERT D KRAGE                                     3070 LUDWIG ST                                                                               BURTON          MI    48529‐1038
ALBERT D LEE                                       715 W BROADWAY                                                                               HIGGINSVILLE    MO    64037‐1841
ALBERT D LEWIS                                     19723 BURRIS RD                                                                              HOLT            MO    64048‐8869
ALBERT D MEKKES                                    5450 ROCKBLUFF NE                                                                            COMSTOCK PARK   MI    49321‐9507
ALBERT D NEELY                                     2531 NEWBERRY ROAD                                                                           WATERFORD       MI    48329‐2345
ALBERT D NEMITZ                                    11846 STUART ST                                                                              GRAND BLANC     MI    48439‐1109
ALBERT D RAMSEY                                    4420 BONNYMEDE ST                                                                            JACKSON         MI    49201‐8511
ALBERT D RUSH                                      PO BOX 852                                                                                   BRISTOL         TN    37621‐0852
ALBERT D SCHWARZKOPF                               1483 N 100 W                                                                                 HARTFORD CITY   IN    47348‐9550
ALBERT D STEVENSON                                 522 W 38TH                                                                                   MARION          IN    46953‐4862
ALBERT D STULTS                                    4405 STATE ROAD 35 SOUTH                                                                     MUNCIE          IN    47302
ALBERT D SUTTON & MRS JEWEL D SUTTON JT TEN        1003 DIEGO CT                                                                                LADY LAKE       FL    32159‐5670
ALBERT D VAN BELLEGHEM                             1312 WOODMERE ROAD                                                                           SANTA MARIA     CA    93455‐6600
ALBERT DANIELS                                     1026 LODEMA LN                                                                               DUNCANVILLE     TX    75116‐2618
ALBERT DANITI CUST MICHAEL JORDAN DANITI UGMA      73‐29 180TH ST                                                                               FLUSHING        NY    11366‐1605
NY
ALBERT DE SANCTIS & ROSE MARIE DE SANCTIS JT TEN   54 SUELLEN DR                                                                                ROCHESTER       NY    14609‐3219

ALBERT DELLA BIANCA                                75 HOLDEN ST                                                                                 BRISTOL         CT    06010‐5348
ALBERT DERCOLE & JOSEPHINE DERCOLE JT TEN          763 BISHOP RD                                                                                CLEVELAND       OH    44143‐3011
ALBERT DERRICO                                     203 GREENE ST                                                                                BUFFALO         NY    14206‐1009
ALBERT DI SALLE                                    602 HYVIEW DR                                                                                WASHINGTON      WV    26181
ALBERT DOBSON                                      821 E WELLINGTON ST                                                                          FLINT           MI    48503‐2714
ALBERT DOLIN & EILEEN DOLIN TR ALBERT DOLIN &      13356 CORTE DE CHUCENA                                                                       SAN DIEGO       CA    92128‐1573
EILEEN DOLIN LIVING
ALBERT E ANNESSER                                  242 STRATFORD                                                                                FERNDALE        MI    48220‐2335
ALBERT E ANNESSER & GERALDINE D ANNESSER JT TEN    242 STRATFORD                                                                                FERNDALE        MI    48220‐2335

ALBERT E BESSEY JR                                 3829 SOUTH 19TH ST                                                                           MILWAUKEE       WI    53221‐1507
ALBERT E BLANKENSHIP                               1142 TIVERTON DR                                                                             MOORESVILLE     IN    46158‐1388
ALBERT E BOLDUC                                    4851 MC DERMED DRIVE                                                                         HOUSTON         TX    77035‐3401
ALBERT E BOWEN                                     7152 GATEWAY PARK DR                                                                         CLARKSTON       MI    48346‐2574
ALBERT E BROWN                                     5011 BROOKBURY BLVD                                                                          RICHMOND        VA    23234‐2925
ALBERT E BRYANT                                    38 ANDERSON STREET                 SAN REMO VICTORIA                       AUSTRALIA
ALBERT E CATALANO                                  20 PITKIN ST                                                                                 MANCHESTER      CT    06040‐4408
ALBERT E CHURCH II                                 75 CROWN ST                                                                                  BRISTOL         CT    06010‐6124
ALBERT E CHURCH II & DOROTHY CHURCH JT TEN         75 CROWN ST                                                                                  BRISTOL         CT    06010‐6124
ALBERT E CINELLI TR CHILDRENS TR 12/15/79          11509 JUNIPER                                                                                LEAWOOD         KS    66211‐1794
ALBERT E CREEL III                                 1202 WELCH BLVD                                                                              FLINT           MI    48504‐7349
ALBERT E DOMROESE III                              6938 SNOWAPPLE DR                                                                            CLARKSTON       MI    48346‐1636
ALBERT E DOZIER                                    11812 GUARDIAN BLVD                                                                          CLEVELAND       OH    44135‐4638
ALBERT E DREYER                                    2506 LAURELWOOD DR APT 4C                                                                    CLEARWATER      FL    33763
ALBERT E EYBS JR                                   809 N WOODWARD DRIVE                                                                         ESSEX           MD    21221‐4750
ALBERT E FELIKSA                                   3452 SALEM DR                                                                                ROCHESTER HLS   MI    48306‐2942
ALBERT E FELIKSA & MARGERY M FELIKSA JT TEN        3452 SALEM DR                                                                                ROCHESTER HLS   MI    48306‐2942
ALBERT E FERGUSON                                  1416 NE 1ST TERR                                                                             CAPE CORAL      FL    33909‐2640
ALBERT E FERGUSON & SHIRLEY LOUISE FERGUSON JT     1416 N E 1ST TERRACE                                                                         CAPE CORAL      FL    33909‐2640
TEN
ALBERT E G WELLS                                   107 WILLARD MEMORIAL SQ                                                                      WELLINGTON      OH    44090‐1342
ALBERT E GADRY                                     411 E 240 ST                                                                                 BRONX           NY    10470‐1709
ALBERT E GAZALIE & OLSA T GAZALIE JT TEN           165 MARKET ST                                                                                BROWNSVILLE     PA    15417‐1750
ALBERT E GILMAN III                                173 WOODFIELD CROSSING                                                                       GLASTONBURY     CT    06033‐1417
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 45 of 850
Name                                              Address1                              Address2             Address3           Address4          City               State Zip

ALBERT E GILMAN III & BEVERLY ANN GILMAN JT TEN   173 WOODFIELD CROSSING                                                                          GLASTONBURY        CT    06033‐1417

ALBERT E GUYOT                                    4601 MILENTZ                                                                                    ST LOUIS           MO    63116‐2205
ALBERT E HALL                                     803 KNOLL RD                                                                                    ALEXANDRIA         IN    46001‐9559
ALBERT E HAYMAN III & SUSAN H HAYMAN JT TEN       2020 GRAVERS LANE                                                                               WILMINGTON         DE    19810‐3906
ALBERT E HAYMAN III & SUSAN H HAYMAN TEN ENT      2020 GRAVERS LN                                                                                 WILIMINGTON        DE    19810‐3906

ALBERT E HILBRANDT                                306 GLENHURST RD                                                                                ROSCOMMON          MI    48653‐9244
ALBERT E HUNTER                                   12090 M 40                                                                                      GOBLES             MI    49055‐8640
ALBERT E HUNZICKER                                1325 GRACE LANE                                                                                 BOONVILLE          MO    65233‐2144
ALBERT E JOHNSON                                  512 W WITHERBEE                                                                                 FLINT              MI    48503‐5133
ALBERT E KOVAL & PATRICIA A KOVAL JT TEN          4162 CULLEN                                                                                     FENTON             MI    48430‐9329
ALBERT E KRISE 3RD                                140 W LORENGO AVE                                                                               NORFOLK            VA    23503‐4341
ALBERT E LAFRENAIS JR                             143 BLACK PLAIN RD                                                                              NORTH SMITHFIELD   RI    02896‐8002

ALBERT E LANNIGAN                                 280 WALDEN TRL                        APT 338                                                   DAYTON             OH    45440‐4404
ALBERT E LARKIN                                   5909 LOCUST ST EXT                                                                              LOCKPORT           NY    14094‐6509
ALBERT E LARSON                                   1388 E PALOMAR ST                     APT 61                                                    CHULA VISTA        CA    91913‐1899
ALBERT E MANDELKA                                 1821 HUFFMAN LAKE RD                                                                            VANDERBILT         MI    49795‐9724
ALBERT E MARTIN & LOUISE M MARTIN JT TEN          1333 GENELLA ST                                                                                 WATERFORD          MI    48328‐1340
ALBERT E MECHLING JR                              10775 EAST V W AVENUE                                                                           VICKSBURG          MI    49097‐9518
ALBERT E MERRIFIELD & MARIE A MERRIFIELD JT TEN   2920 SUMMERLAND DR                                                                              MATTHEWS           NC    28105‐0805

ALBERT E MIRELES                                  715 SHOEMAKER DR                                                                                LIVERMORE          CA    94550‐6920
ALBERT E MISENKO                                  5124 CREEKMORE COURT                                                                            KETTERING          OH    45440‐2015
ALBERT E MOHL                                     26 HAMILTON AVE                                                                                 TROY               NY    12180‐7865
ALBERT E NEUMANN                                  2817 ASTON MEADOWS DR                                                                           HASLET             TX    76052‐2686
ALBERT E NICHOLLS                                 3081 SUGAR TREE RD                                                                              BETHEL             OH    45106‐8217
ALBERT E NIMMER                                   8510 W HARRISON AVE                                                                             WEST ALLIS         WI    53227‐2716
ALBERT E PEERCY                                   1118 POPLAR HILL DR                                                                             LEBANON            OH    45036‐8520
ALBERT E PETERS                                   248 GREENBRIER DRIVE                                                                            CLARKES GREEN      PA    18411‐1159
ALBERT E PHILLIPS                                 2850 ECHO POINT LANE                                                                            TALLAHASSEE        FL    32310‐6401
ALBERT E PHILLIPS                                 5957 N 74TH STREET                                                                              MILWAUKEE          WI    53218‐1831
ALBERT E RADKE & ALBERT E RADKE JR JT TEN         6323 SANDPIPERS DRIVE                                                                           LAKELAND           FL    33809‐5677
ALBERT E ROTHER JR                                9527 BALBOA ST                                                                                  VENTURA            CA    93004‐1765
ALBERT E ROTHER JR & LYNNE C ROTHER JT TEN        9527 BALBOA ST                                                                                  VENTURA            CA    93004‐1765
ALBERT E SABOSKI                                  7500 N BROWN RD                                                                                 COLUMBIA CITY      IN    46725‐9542
ALBERT E SAMMET                                   138 MARILLA ROAD                                                                                COLUMBUS           OH    43207‐3812
ALBERT E SANTACRUZ                                17201 ACORN DR                                                                                  VANCLEAVE          MS    39565‐6070
ALBERT E SEIFERT                                  16625 8TH PL SW                                                                                 SEATTLE            WA    98166‐2917
ALBERT E SKARJUNE                                 31155 PORTSIDE DR                     APT 7109                                                  NOVI               MI    48377‐4222
ALBERT E SMITH                                    PO BOX 26061                                                                                    LANSING            MI    48909‐6061
ALBERT E STRASSER                                 3226 HILDRETH AVE                                                                               CINCINNATI         OH    45211‐6619
ALBERT E SULLIVAN JR                              94 LAURIE LANE                                                                                  HANOVER            MA    02339‐2715
ALBERT E TACKETT                                  9255 CONTINENTAL DR                                                                             TAYLOR             MI    48180‐3033
ALBERT E THOMAS                                   5163 DON SHENK DR                                                                               SWARTZ CREEK       MI    48473‐1207
ALBERT E TRENTON                                  440 MADISON AVE                                                                                 HASBROUCK          NJ    07604‐2619
                                                                                                                                                  HEIGHTS
ALBERT E VOLANSKY                                 21608 VIOLET                                                                                    ST CLAIR SHORES    MI    48082‐1972
ALBERT EARL LEVY                                  137 CARPENTER DR                                                                                JACKSON            MS    39212‐9671
ALBERT EDWARD HASSENBOHLER                        1187 SANDRIDGE ROAD                                                                             ALDEN              NY    14004‐9683
ALBERT EDWARD SMALLMAN                            3805 OLD CHERRY POINT RD                                                                        NEW BERN           NC    28560‐7033
ALBERT EDWARDS                                    9005 CASELMAN                                                                                   SACRAMENTO         CA    95829‐1138
ALBERT ELI BEARUP                                 11197 E HILL RD                                                                                 GOODRICH           MI    48438‐9741
ALBERT ELLIOT MCLAUGHLIN                          PO BOX 8659                                                                                     NORFOLK            VA    23503‐0659
ALBERT F ADCOCK                                   4582 BALES DRIVE                                                                                MARIANNA           FL    32446‐6912
ALBERT F ANDERSON                                 1310 E MAIN ST                                                                                  TROY               OH    45373‐3453
ALBERT F AYRES & MRS PATRICIA M AYRES JT TEN      171 MAC GREGOR DR                                                                               STAMFORD           CT    06902‐1409
ALBERT F BIR                                      1801 BROOKLINE AVE                                                                              DAYTON             OH    45420‐1953
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 46 of 850
Name                                             Address1                              Address2             Address3           Address4          City            State Zip

ALBERT F BROUGH JR                               307 JONES AVE                                                                                   SPRING HILL     TN    37174‐2644
ALBERT F CELLA                                   5929 THERFIELD                                                                                  SYLVANIA        OH    43560‐1038
ALBERT F COLLAS TR ALBERT F COLLAS TRUST UA      5868 COACHMONT DR                                                                               FAIRFIELD       OH    45014‐4816
10/19/01
ALBERT F COURTER JR & EDITH COURTER JT TEN       14 DRAYTON RD                                                                                   MANCHESTER TW   NJ    08759‐6052
ALBERT F COURTER JR & EDITH M COURTER JT TEN     14 DRAYTON RD                                                                                   MANCHESTER TW   NJ    08759‐6052
ALBERT F DERRICO                                 175 IRVING TERR                                                                                 KENMORE         NY    14223‐2754
ALBERT F DUASO                                   352 GREENBRIAR DRIVE                                                                            RAVENNA         OH    44266‐7713
ALBERT F EHN TR ALBERT F EHN REVOCABLE LIVING    17641 DOLOROSA DR                                                                               ORLAND PARK     IL    60467‐8228
TRUST UA 04/01/98
ALBERT F ERWIN                                   PO BOX 353                                                                                      BLANCHESTER     OH    45107‐0353
ALBERT F GALASSI & MADELINE M GALASSI JT TEN     3432 BERKSHIRE RD                                                                               JANESVILLE      WI    53546‐2251
ALBERT F GEARHEART                               888 BEARDON RD                                                                                  LAKE ORION      MI    48362‐2004
ALBERT F GILMAN III CUST ALEXANDRA M GILMAN      PO BOX 206                                                                                      MOUNT VERNON    ME    04352‐0206
UTMA NC
ALBERT F GRIMM & LUCY R GRIMM JT TEN             457 PARKER RD                                                                                   AURORA          OH    44202‐9749
ALBERT F HARRIS JR                               16525 WALKER RD                                                                                 GRASS LAKE      MI    49240‐9609
ALBERT F HERNANDEZ                               5007 GLENROSE DRIVE                                                                             COLUMBIA        TN    38401‐4955
ALBERT F KORNOVICH                               8935 S WOOD CREEK DR                  APT #210                                                  OAK CREEK       WI    53154‐8607
ALBERT F KUERBITZ                                232 S VALLEY ST                       APT 107                                                   WEST BRANCH     MI    48661
ALBERT F KUHR                                    1101 ELM ST                                                                                     DANVILLE        KY    40422‐1015
ALBERT F LANG                                    900 SYCAMORE DR                       CAYUGA VILLAGE                                            NIAGARA FALLS   NY    14304‐1965
ALBERT F LEWICKI                                 48715 CENTRAL PARK DR                                                                           CANTON          MI    48788‐1494
ALBERT F MARKLIN III                             2006 WINCHESTER DR                                                                              COLUMBIA        MO    65202‐3169
ALBERT F MC GEE JR TR U‐A WITH JOSEPH A ARATA    1 S NEW YORK AVE                      SUITE 602                                                 ATLANTIC CITY   NJ    08401‐8017
2/28/77
ALBERT F MILLER                                  PO BOX 42                                                                                       ROBBINSVILLE    NJ    08691‐0042
ALBERT F PFISTER                                 36 PRINCES PINE RD                                                                              NORWALK         CT    06850‐2227
ALBERT F RAPP                                    1000 E 83RD ST N                                                                                KANSAS CITY     MO    64118‐1346
ALBERT F ROBINSON                                1219 COUNTY ROAD 69                                                                             MUSCADINE       AL    36269‐5500
ALBERT F ROBINSON                                10652 E SAN SALVADOR DRIVE                                                                      SCOTTSDALE      AZ    85258‐6116
ALBERT F TURNER                                  7308 HILLSBORO COURT                                                                            CANTON TWP      MI    48187‐2241
ALBERT F TURNER & ARLENE M TURNER JT TEN         7308 HILLSBORO CT                                                                               CANTON          MI    48187‐2241
ALBERT F WARTH & MRS JOANN WARTH TEN COM         4401 BRISTOLWOOD DRIVE                                                                          FLINT           MI    48507‐3722
ALBERT F WELLS                                   2862 DELAND ST                                                                                  WATERFORD       MI    48329‐3420
ALBERT F WINKLER                                 4626 WENONAH AVE                                                                                BERWYN          IL    60402‐4353
ALBERT FERRARIS JR                               41 MEDWAY ST                                                                                    NORFOLK         MA    02056‐1348
ALBERT FIRSTMAN & JEAN FIRSTMAN JT TEN           13‐59 FINN TERR                                                                                 FAIR LAWN       NJ    07410‐5135
ALBERT FISHMAN                                   6405 SAINT ANNES ST NE                                                                          ALBUQUERQUE     NM    87111‐6558
ALBERT FRANKEL & BONNIE FRANKEL JT TEN           189 SAXONY D                                                                                    DELRAY BEACH    FL    33446
ALBERT FRED TREFTZ                               18068 EXCHANGE AVE                                                                              LANSING         IL    60438‐2212
ALBERT G ATTWOOD                                 2232 JAGOW ROAD                                                                                 WHEATFIELD      NY    14304‐2947
ALBERT G BADGLEY                                 714 MAURINE DRIVE                                                                               COLUMBUS        OH    43228‐3012
ALBERT G BROWN                                   600 SEQUOIA DR                                                                                  EDGEWOOD        MD    21040‐2824
ALBERT G CARNAHAN                                17421 GROVE AVE                                                                                 TEHACHAPI       CA    93561‐7601
ALBERT G CHERVENY                                7301 W 25TH ST                        PMB 273                                                   RIVERSIDE       IL    60546
ALBERT G DEIDRICH & LUCILLE DEIDRICH JT TEN      27999 33 MILE RD                                                                                RICHMOND        MI    48062‐4417
ALBERT G EISEN CUST SHELLEY MICHELE EISEN UGMA   8 APPLE BLOSSOM WAY                                                                             GROVELAND       MA    01834‐1743
MA
ALBERT G GAGOLA JR & DAWN E GAGOLA JT TEN        5250 GASPORT RD                                                                                 GASPORT         NY    14067‐9352
ALBERT G GEIGER                                  11 ALBEMARLE ROAD                                                                               TRENTON         NJ    08690‐2135
ALBERT G GROSCH TR GROSCH LIVING TRUST UA        8604 CARRIAGE WAY DR                                                                            AFFTON          MO    63123‐2232
02/17/92
ALBERT G HOLLER JR                               817 BYRNWYCK ROAD                     NE                                                        ATLANTA         GA    30319
ALBERT G JOHNSON                                 24711 PENN ST                                                                                   DEARBORN        MI    48124
ALBERT G KRAMPITZ                                166 BUTTERFIELD HILL EXT                                                                        PERKINGVILLE    VT    05151‐9513
ALBERT G LEDFORD                                 PO BOX 621                                                                                      BOGOTA          TX    75417‐0621
ALBERT G MIHIC III                               4645 S COUNTY ROAD 450 E                                                                        MIDDLETOWN      IN    47356‐9504
ALBERT G NACCARELLI                              16023 BRYANT ST                                                                                 SEPULVEDA       CA    91343‐5720
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 47 of 850
Name                                             Address1                            Address2                 Address3       Address4          City            State Zip

ALBERT G NORMANN                                 34 OLD TAVERN RD                                                                              HOWELL           NJ   07731‐8726
ALBERT G REDMOND                                 3008 BELUCHE DR                                                                               GALVESTON        TX   77551
ALBERT G ROTHENBERG & DIANE R BEAN JT TEN        1503 VINE AVE                                                                                 PARK RIDGE       IL   60068‐5416
ALBERT G SCHARDIEN & JOAN SCHARDIEN JT TEN       30 APPLE TREE LANE                                                                            BASKING RIDGE    NJ   07920‐1104
ALBERT G SMITH                                   PO BOX 4159                                                                                   SHREVEPORT       LA   71134‐0159
ALBERT G WARFIELD                                PO BOX 2378                                                                                   ALPINE           CA   91903‐2378
ALBERT G WEDEN                                   259 VZ COUNTY ROAD 3810                                                                       WILLS POINT      TX   75169‐6969
ALBERT G WHITSON                                 31 MILLCREEK DR                                                                               SILEX            MO   63377‐2565
ALBERT G WILKINS SR                              10077 BROADWAY RD                                                                             GOWANDA          NY   14070‐9675
ALBERT GADRY                                     191 STICKLETOWN ROAD                                                                          WEST NYACK       NY   10994‐2915
ALBERT GAINES                                    2231 LEDYARD                                                                                  SAGINAW          MI   48601‐2279
ALBERT GAMBLE & CYNTHIA GAMBLE JT TEN            1182 WARWICK ST                                                                               UNIONDALE        NY   11553‐1415
ALBERT GARZA DELAO                               4550 S PORTSMOUTH RD                                                                          BRIDGEPORT       MI   48722‐9743
ALBERT GRABLICK                                  1139 CHAMPAIGN                                                                                LINCOLN PARK     MI   48146‐2414
ALBERT GRAHAM                                    26199 CORNWALL CT                                                                             SOUTHFIELD       MI   48076‐4711
ALBERT GRANT                                     7 MICHELE DR                                                                                  DEPEW            NY   14043‐1408
ALBERT GUELCHER & VIRGINIA GUELCHER JT TEN       24 HICKORY LANE                                                                               GARNERVILLE      NY   10923‐1906
ALBERT GUERRA                                    38042 STEN HAMMER DR                                                                          FREMONT          CA   94536‐1864
ALBERT GUTIERREZ JR & ALLAN GUTIERREZ JT TEN     38124 JAMES DR                                                                                CLINTON TOWNSHIP MI   48036‐1835

ALBERT H ABERNATHY                                 729 CHURCH ST                                                                               JANESVILLE      WI    53548‐2381
ALBERT H ALLEN                                     17 REDWOOD RD                                                                               SAUGERTIES      NY    12477‐2117
ALBERT H BROWN                                     4401 GEORGETOWN VERONA RD                                                                   LEWISBURG       OH    45338‐9518
ALBERT H BURGET                                    4680 SAWMILL ROAD                                                                           CLARENCE        NY    14031‐2260
ALBERT H COLLINS                                   408 MEADOW LANE                                                                             MIDLAND         MI    48640‐7335
ALBERT H DORAN                                     8730 CREEKSTONE PL                                                                          GAINESVILLE     GA    30506‐4838
ALBERT H DRAKE                                     55 SOUTHVILLE ROAD                                                                          SOUTHBOROUGH    MA    01772‐4025
ALBERT H ELLIOTT                                   1176 E HOME AVE                                                                             FLINT           MI    48505‐3010
ALBERT H EMANUEL                                   11420 STEEL                                                                                 DETROIT         MI    48227‐3765
ALBERT H EWING JR                                  4956 SORRENTO CT                  LOCAL CARRIER ROUTE 77                                    CAPE CORAL      FL    33904‐9434
ALBERT H FELUREN                                   3352 LEE ST                                                                                 HOLLYWOOD       FL    33021‐4335
ALBERT H GANZ                                      55 WILLOW WOOD RD                                                                           NEWARK          OH    43055
ALBERT H GOTI                                      2740 GARDEN GROVE RD                                                                        GRAND PRAIRIE   TX    75052‐4431
ALBERT H HAIGHT                                    6310 W PROVIDENCE ST              APT 2                                                     NEW PRT RCHY    FL    34652‐2151
ALBERT H HECKO                                     512 BASELINE RD                                                                             GRAND ISLAND    NY    14072‐2502
ALBERT H IMLAH & JANET I COLLETT TR U‐A WITH JANET 31 AGASSIZ AVE                                                                              BELMONT         MA    02478‐1320
I COLLETT 9/6/73
ALBERT H JENNINGS                                  123 NEIGHBORLY WAY                                                                          MURPHY          NC    28906‐7658
ALBERT H JONES                                     6056 YOSEMITE DR                                                                            GOLF MANOR      OH    45237‐4944
ALBERT H JONES JR                                  49 W VILLAGE RD                                                                             NEWARK          DE    19713‐3844
ALBERT H KRAFT JR & MILDRED E KRAFT JT TEN         5288 SW ORCHID BAY DRIVE                                                                    PALM CITY       FL    34990‐8519
ALBERT H LEPPERT & DONA M LEPPERT JT TEN           8510 WESTMORE RD 277                                                                        SAN DIEGO       CA    92126‐5425
ALBERT H LUEKE JR                                  12760 GENESEE                                                                               ALDEN           NY    14004‐9638
ALBERT H MALZAN                                    5110 LAUREL AVE                                                                             CYPRESS         CA    90630‐4409
ALBERT H MILLS                                     3629 CHELTON RD                                                                             CLEVELAND       OH    44120‐5065
ALBERT H MURRAY                                    1005 HODGES WEBB RD                                                                         HAZLEHURST      MS    39083‐8780
ALBERT H OGER                                      34480 COLVILLE PL                                                                           FREMONT         CA    94555‐3313
ALBERT H PINSKY                                    16 E MAIN ST                      STE 950                                                   ROCHESTER       NY    14614‐1809
ALBERT H POPPE                                     2458 N CNTY RD 1000 E                                                                       INDIANAPOLIS    IN    46234‐9017
ALBERT H ROHRABACHER & EMILY JANET                 1320 ASHEBURY LN 356                                                                        HOWELL          MI    48843‐1269
ROHRABACHER JT TEN
ALBERT H SALEH & ROBERT SALEH & LILA BERRY JT TEN 7000 PAYNE                                                                                   DEARBORN        MI    48126‐1745

ALBERT H SANTO & MARIE SANTO JT TEN              531 HOWARD ST                                                                                 BELLE VERNON    PA    15012‐1834
ALBERT H SCHAEFER                                28864 PALM BEACH DR                                                                           WARREN          MI    48093‐6439
ALBERT H SCHAEFER & NELLIE H SCHAEFER JT TEN     28864 PALM BEACH                                                                              WARREN          MI    48093‐6439
ALBERT H SEIDLER                                 2300 INDIAN CREEK BLVD WC 111                                                                 VERO BEACH      FL    32966
ALBERT H SILBERFELD                              305 WEST END AVE                    APT 410                                                   NEW YORK        NY    10023‐8157
ALBERT H SNIDER                                  2426 LEITH STREET                                                                             FLINT           MI    48506‐2824
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 48 of 850
Name                                               Address1                             Address2             Address3           Address4          City            State Zip

ALBERT H SNIDOW JR                               2181 GREENBRIER ST                                                                               CHARLESTON      WV    25311‐9623
ALBERT H SONDERMAN TR UA 07/20/2007 ALBERT H     2167 CHERRY VALE PLACE                                                                           THE VILLAGES    FL    32162
SONDERMAN REVOCABLE TRUST
ALBERT H WOOD                                    412 BLUEBELL COURT                                                                               CLAYTON         OH    45315‐7728
ALBERT H WYCKOFF                                 5160 E HOPP LN                                                                                   INERNESS        FL    34452‐8335
ALBERT HAEBERLIN                                 3414 GLENVIEW AVE                                                                                LOUISVILLE      KY    40222‐6131
ALBERT HARDEN                                    1174 E HOLBROOK AVE                                                                              FLINT           MI    48505‐2327
ALBERT HARRIS                                    BOX 200                                                                                          SAXTON          PA    16678‐0200
ALBERT HASSON & CAROLL FOGEL JT TEN              PO BOX 17374                                                                                     ENCINO          CA    91416‐7374
ALBERT HAYNES                                    3806 OLD FEDERAL HILL                                                                            JARRETTSVILLE   MD    21084‐1632
ALBERT HENRY SNIDER                              5148 E DODGE ROAD                                                                                MOUNT MORRIS    MI    48458‐9719
ALBERT HERNANDEZ                                 424 LINDEN STREET                                                                                ELIZABETH       NJ    07201‐1013
ALBERT HOGAN                                     8622 WOODSMAN DR                                                                                 WASHINGTON      MI    48094‐1628
ALBERT HOMER LLOYD & JEWELL M LLOYD JT TEN       4010 IVEY ST                                                                                     HALTOM CITY     TX    76111‐6847
ALBERT HUERECA                                   109 SOUTH JOSEPHINE                                                                              WATERFORD       MI    48328‐3813
ALBERT HUFF                                      994 MEADOW THRUSH DR                                                                             CLAYTON         OH    45315‐8718
ALBERT HUGH DICKINSON                            2510 LAKE MICHIGAN DR NW               APT A‐205                                                 GRAND RAPIDS    MI    49504‐8044
ALBERT I BROUGHTON                               5241 E COLDWATER RD LOT 112                                                                      FLINT           MI    48506‐4505
ALBERT I GOODMAN                                 1028 SENECA ROAD                                                                                 WILMETTE        IL    60091‐1255
ALBERT I SHADDAY                                 2802 NORTH RITTER AVENUE                                                                         INDIANAPOLIS    IN    46218‐3208
ALBERT I WERTHEIMER                              15 NORRISTOWN RD                                                                                 BLUE BELL       PA    19422‐2801
ALBERT J ALEXANDER & MRS RUTH L ALEXANDER JT TEN 1717 MANOR DR                                                                                    LEBANON         IN    46052‐1316

ALBERT J ANTON & NANCY A ANTON JT TEN              2930 ANACAPA PL                                                                                FULLERTON       CA    92835‐1543
ALBERT J BAILEY                                    2414 BRISTOW                                                                                   CHARIACK VILL   MO    63114‐5209
ALBERT J BANDEL                                    PO BOX 142                                                                                     CEDAR GROVE     NJ    07009‐0142
ALBERT J BANKER                                    7224 CORK LN                                                                                   ENGLEWOOD       FL    34224‐8166
ALBERT J BARATTO                                   1113 STATE RT 22                                                                               CAMBRIDGE       NY    12816‐2601
ALBERT J BENTZ CUST JASON ROBERT BENTZ UTMA PA     8715 ROOSERVELT BLVD                                                                           PITTSBURGH      PA    15237‐4488

ALBERT J BENVENUTI                                 11018 STONE BRANCH DR                                                                          RIVERVIEW       FL    33569‐2029
ALBERT J BONAVITA                                  450 MAIN ST                                                                                    SPRINGFIELD     MA    01105‐2410
ALBERT J BRODACK                                   173 SHAFFER RD                                                                                 ROCKINGHAM      NC    28379‐7925
ALBERT J BROWN                                     4187 OAK TREE CIRCLE                                                                           ROCHESTER       MI    48306‐4663
ALBERT J BUDNEY JR & KAREN VICKERS BUDNEY JT TEN   18 CROSS ST                                                                                    DOVER           MA    02030‐2211

ALBERT J BUZMINSKI                               123 ORIOLE ST                          OSHAWA ON                               L1H 6Y7 CANADA
ALBERT J BUZZERIO & MAUREEN BUZZERIO TR 06/21/97 20627 SETON HILL DR                                                                              WALNUT          CA    91789
ALBERT J &
ALBERT J CANTU                                   1020 PINE AVE                                                                                    ALMA            MI    48801‐1237
ALBERT J CIVALE & DOROTHY E CIVALE JT TEN        5 JAMES ST                                                                                       MERIDEN         CT    06451‐3121
ALBERT J COOLMAN                                 17‐437 RDE                                                                                       BRYAN           OH    43506
ALBERT J COOLMAN & THELMA M COOLMAN JT TEN       17‐437 RDE                                                                                       BRYAN           OH    43506‐9802

ALBERT J COULSON                                   780 ARDEN COURT                      OSHAWA ON                               L1G 1X7 CANADA
ALBERT J CRAEMER                                   4817 DEER PARK RD                                                                              OWINGS MILLS    MD    21117‐4711
ALBERT J CRAFT                                     14291 N BRAY RD                                                                                CLIO            MI    48420‐7943
ALBERT J CRUMP                                     3413 CROYDON ROAD                                                                              BALTIMORE       MD    21207‐4547
ALBERT J DE CRISCIO                                6498 SPRINGBORN                                                                                CHINA           MI    48054‐3803
ALBERT J DETAVERNIER JR                            23013 LINGEMANN                                                                                ST CLAIR SHRS   MI    48080‐2173
ALBERT J DI STEFANO                                200 S OGLE AVE                                                                                 WILMINGTON      DE    19805‐1423
ALBERT J DIDZBALIS                                 55 LLOYD STREET                                                                                EDISON          NJ    08817‐5253
ALBERT J DIEHL JR & ROSEMARY MOODY DIEHL JT TEN    12662 WILLOW SPRING CT                                                                         HERNDON         VA    20170‐2857

ALBERT J DISLER                                  2431 E MARCIA ST                                                                                 INVERNESS       FL    34453‐9530
ALBERT J DUDASH                                  20451 CANAL DRIVE                                                                                GROSSE ILE      MI    48138‐1191
ALBERT J DUDASH & MRS JACQUELINE L DUDASH JT TEN 20451 CANAL DR                                                                                   GROSSE ILE      MI    48138‐1191
                                                  09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 49 of 850
Name                                                Address1                             Address2             Address3           Address4          City              State Zip

ALBERT J EISENBEIS JR & ELIZABETH M EISENBEIS JT TEN 477 PARKVIEW DRIVE                                                                            PITTSBURGH        PA    15243‐1962

ALBERT J ELLSWORTH                                  G1374 W CARPENTER RD                                                                           FLINT             MI    48505‐2060
ALBERT J ERNST                                      722 HART DRIVE                                                                                 BRIDGEWATER       NJ    08807‐2104
ALBERT J FRYE                                       122 GOEDE RD                                                                                   EDGERTON          WI    53534‐9305
ALBERT J FUGE JR CUST ALBERT J FUGE III UTMA NJ     P O BOX 519                                                                                    HOPE              NJ    07844

ALBERT J FUGE JR CUST ROBERT ELROY FUGE UGMA NJ     170 CHANGEBRIDGE RD                  BLDG B5                                                   MONTVILLE         NJ    07045‐9114

ALBERT J GLUECK CUST KIMBERLY L COLE UTMA NY        BOX 92                                                                                         TANNERSVILLE      NY    12485‐0092

ALBERT J GLUECKERT JR & CAROL L GLUECKERT JT TEN    8329 KILDARE AVE                                                                               SKOKIE            IL    60076‐2641

ALBERT J GOAD                                       170 DELANCY RD                                                                                 ELKTON            MD    21921‐6237
ALBERT J GROBE & JOHN CHRISTOPHER GROBE JT TEN      1003 CHATTEAU DR NE                                                                            CULLMAN           AL    35055‐2180

ALBERT J GROBE JR                                 1003 CHATTEAU DR N E                                                                             CULLMAN           AL    35055‐2180
ALBERT J GROBE JR & JOHN CHRISTOPHER GROBE JT TEN 1003 CHATTEAU DRIVE N E                                                                          CULLMAN           AL    35055‐2180

ALBERT J GRUTSCH                                    1605 TOWNLINE                                                                                  BELOIT            WI    53511‐3247
ALBERT J HABARTH JR                                 49721 KEYCOVE                                                                                  NEW BALTIMORE     MI    48047‐4308
ALBERT J HABARTH JR & JEANNE M HABARTH JT TEN       49721 KEYCOVE DR                                                                               NEW BALTIMORE     MI    48047‐4308

ALBERT J HARRIS                                     48856 OAK ARBOR CT                                                                             SHELBY TOWNSHIP   MI    48317‐2534

ALBERT J HARRIS JR                                  3010 COLONIAL HILL RD                                                                          LOUISVILLE        KY    40205‐2706
ALBERT J HARRIS JR                                  3010 COLONIAL HILL RD                                                                          LOUISVILLE        KY    40205‐2706
ALBERT J HAUSER                                     506 GOUVERNEUR                       PO BOX 216                                                MORRISTOWN        NY    13664
ALBERT J HELMKE JR                                  4842 BURLINGTON COURT                                                                          SANTA ROSA        CA    95405‐7901
ALBERT J HILL & RUTH ANNE HILL JT TEN               9243 SHERWOOD DR                                                                               DAVISBURG         MI    48350‐1927
ALBERT J IRWIN                                      8874 CLIPPERT ST                                                                               TAYLOR            MI    48180‐2829
ALBERT J JEFFRIES & FLORENCE B JEFFRIES JT TEN      BOX 729                                                                                        PENTWATER         MI    49449‐0729
ALBERT J JEFFRIES III                               898 SANDS ST                         PO BOX 729                                                PENTWATER         MI    49449‐0729
ALBERT J KAMM III                                   2215 HIRAM COURT                                                                               WHEATON           IL    60187‐8958
ALBERT J KAMM JR & MARY LOUISE KAMM JT TEN          20207 S GREENFIELD LN                                                                          FRANKFORT         IL    60423‐8925
ALBERT J KAMOSKY                                    24 LANESBORO RD                                                                                WORCESTER         MA    01606‐1320
ALBERT J KARRAM                                     2412 STOCKBRIDGE AVE                                                                           BURTON            MI    48509‐1150
ALBERT J KARTMANN                                   385 ROUND TOWER DR                                                                             ST CHARLES        MO    63304‐0814
ALBERT J KELLEY                                     2603 ORCHARD AVE                                                                               WILMINGTON        DE    19805‐2274
ALBERT J KEMP JR                                    8633 HONEY TREE 196                                                                            CANTON            MI    48187‐4181
ALBERT J KIELICH                                    106 BRADFIELD DR                                                                               EAST AMHERST      NY    14051‐1861
ALBERT J KING                                       5839 SEAMAN ST                                                                                 OREGON            OH    43616‐4217
ALBERT J KLOUDA                                     832 HYDE SHAFFER RD                                                                            BRISTOLVILLE      OH    44402‐9717
ALBERT J KOCHIS JR                                  PO BOX 60009                                                                                   PALM BAY          FL    32906‐0009
ALBERT J KODMAN & GRACELLA M KODMAN TEN ENT         535 CHURCH ST                                                                                  INDIANA           PA    15701‐2728

ALBERT J KUPIEC U/GDNSHIP OF ALBERT J KUPIEC JR     10 HICKORY HILL RD                                                                             WILLISTON         VT    05495‐9423

ALBERT J LA FORCE & CONSTANCE A LA FORCE JT TEN     64 PRUDENCE COURT                                                                              WARWICK           RI    02888‐5733

ALBERT J LAMB II                                    5709 DARTMOOR DRIVE                                                                            FITCHBURG         WI    53711‐7208
ALBERT J LANG TR UA 02/03/72 MICHELE LANG TRUST     67 MANSEL DRIVE                                                                                LANDING           NJ    07850‐1628

ALBERT J LANG TR UA 02/03/91 KIMBERLY LANG TRUST 67 MANSEL DRIVE                                                                                   LANDING           NJ    07850‐1628

ALBERT J LATOZAS & FRANCES E LATOZAS JT TEN         5920 WARBLE DR                                                                                 CLARKSTON         MI    48346‐2974
ALBERT J LAUCIUS                                    415FOURTH AVE                                                                                  GARWOOD           NJ    07027‐1008
ALBERT J LEIBY                                      845 GAYLORD GROVE RD                                                                           CUYAHOGA FALL     OH    44221‐2905
ALBERT J LOEFFLER                                   2157 ALBON ROAD                                                                                HOLLAND           OH    43528‐9617
                                                 09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                       Part 1 of 8 Pg 50 of 850
Name                                               Address1                            Address2                    Address3         Address4          City              State Zip

ALBERT J MACEK & SHAREN MACEK JT TEN               5979 WILLIAMS                                                                                      PLAINFIELD      IN      46168‐9321
ALBERT J MADDOCK                                   8159 BALDWIN RD                                                                                    SWARTZ CREEK    MI      48473‐9128
ALBERT J MAHER JR                                  SPACE 129 PALOMAR EST W             1930 W SAN MARCOS BLVD                                         SAN MARCOS      CA      92069‐3909
ALBERT J MARRONE                                   65 MIDDLE HILL RD                                                                                  COLONIA         NJ      07067‐4119
ALBERT J MARTIN & VERNESTIEN MARTIN JT TEN         3916 TIMBERLANE RD                                                                                 WESSON          MS      39191‐9413
ALBERT J MARTINEZ                                  1370 W BOROS CT                                                                                    LA HABRA        CA      90631‐2045
ALBERT J MAYER III                                 8702 SHADOWLAKE WAY                                                                                SPRINGFIELD     VA      22153‐2140
ALBERT J MC COY                                    66 VICTORY                                                                                         PONTIAC         MI      48342‐3128
ALBERT J MCADOO                                    7506 S MASCOTTE STREET                                                                             TAMPA           FL      33616
ALBERT J MCGRAW & GRACE M MCGRAW JT TEN            4939 CHESTNUT ST                                                                                   NEWFANE         NY      14108‐9620
ALBERT J MUTH JR                                   1443 SEMINOLE RD                                                                                   NORTH BRUNSWICK NJ      08902‐1454

ALBERT J NEWMAN & JOAN F NEWMAN TEN ENT           120 APPLETREE DR                                                                                    MEDIA             PA    19063
ALBERT J NEWMAN TR UA 03/14/90 ALBERT J NEWMAN C/O ALAN BERK                           LEONARD ROSEN & CO PC       15 MAIDEN LANE                     NEW YORK          NY    10038‐4003
LIV TR
ALBERT J OMARA                                    14118 SHOAL DRIVE                                                                                   HUDSON            FL    34667
ALBERT J PAPALEO                                  42 COURTLAND CIRCLE                                                                                 BEAR              DE    19701‐1201
ALBERT J PARISON & DOROTHY G PARISON JT TEN       5893 CAMP WAHSEGA RD                                                                                DAHLONEGA         GA    30533‐1872
ALBERT J PASTULA                                  7183 WALDO ST                                                                                       DETROIT           MI    48210‐2717
ALBERT J PROMER                                   23612 CARRIAGE LANE                                                                                 NORTH OLMSTED     OH    44070‐1409
ALBERT J ROEHL                                    10102 NORTH ALLENDALE RD                                                                            EDGERTON          WI    53534
ALBERT J RUSAK                                    87 E NEWPORT ST                                                                                     ASHLEY            PA    18706‐3021
ALBERT J SCALZA                                   27 PALLANT AVE                                                                                      LINDEN            NJ    07036‐3605
ALBERT J SCARNATI                                 411 6TH ST                                                                                          NEW CASTLE        PA    16102‐1281
ALBERT J SCHLITT & RUTH ANN SCHLITT JT TEN        208 W 2ND ST                                                                                        N MANCHESTER      IN    46962‐1537
ALBERT J SHOBE TR ALBERT J SHOBE REVOCABLE LIVING 12050 IDA WEST RD                                                                                   IDA               MI    48140‐9505
TRUST UA 12/10/98
ALBERT J SOLOMON & RUTHANE C SOLOMON TEN ENT 2013 CARDINAL LN                                                                                         CLARKS SUMMIT     PA    18411‐9292

ALBERT J STEFANIK                                  190 SMITH SCHOOL RD                                                                                FARMINGTON        PA    15437‐1330
ALBERT J STUBE & SYLVIA A STUBE JT TEN             18002 CONQUISTADOR DR                                                                              SUN CITY WEST     AZ    85375‐5120
ALBERT J TEGLASH JR                                635 W INMAN AVE                                                                                    RAHWAY            NJ    07065‐2216
ALBERT J TOMECHKO & IDA D TOMECHKO JT TEN          34516 SUMMER HILL DR                                                                               AVON              OH    44011‐3200
ALBERT J TOROK & WANDA H TOROK JT TEN              8104 KOOY DR                                                                                       MUNSTER           IN    46321‐1842
ALBERT J TWIEST                                    4047 LEONARD ST N W                                                                                GRAND RAPIDS      MI    49544‐2117
ALBERT J VALASEK                                   105 CIRCLE ROAD                                                                                    N SYRACUSE        NY    13212‐4032
ALBERT J VANNEST                                   11 CHANDLER CT                                                                                     HILLSBOROUGH      NJ    08844
ALBERT J VIANELLO                                  14920 SUMMERLIN WOODS DR                                                                           FORT MYERS        FL    33919‐6874
ALBERT J WRIGHT                                    3600 IRON BRIDGE RD                                                                                RICHMOND          VA    23234‐2940
ALBERT J YESUE                                     BOX 2                                                                                              BOLTON            MA    01740‐0002
ALBERT J ZUPANCIC & AVA LOU ZUPANCIC JT TEN        47960 HARBOR DRIVE                                                                                 NEW BALTIMORE     MI    48047‐3461
ALBERT JACKSON KEISTER & ROSE G KEISTER JT TEN     C/O ALBERT JACKSON KEISTER          12498 MARIAH ANN CT SOUTH                                      JACKSONVILLE      FL    32225‐2674

ALBERT JAZWINSKI                                   4541 RICKOVER CT                                                                                   NEW PORT RICHEY   FL    34652‐3172

ALBERT JOE REYNOLDS & NANCY JO REYNOLDS JT TEN     1004 PROSPECT AVE                                                                                  NORFOLK           NE    68701‐3849

ALBERT JOHN MACEK & ALBERT BRIAN MACEK JT TEN      5979 WILLIAMS DR                                                                                   PLAINFIELD        IN    46168‐9321

ALBERT JOHN MADRICK TR ALBERT JOHN MADRICK         10008 HUNTER SPRINGS DRIVE                                                                         LAS VEGAS         NV    89134‐7560
TRUST UA 08/28/01
ALBERT JOHN SCHROEDER TR UA 06/09/1994 ALBERT      7220 YORK AVE SOUTH                 #212                                                           EDINA             MN    55435
JOHN SCHROEDER TRUST
ALBERT JOHNSON                                     3362 ALTRURIA RD                                                                                   MEMPHIS           TN    38135‐2540
ALBERT JOHNSON                                     624 E 222ND ST                                                                                     BROOKLYN          NY    10467‐5147
ALBERT JOSEPH LEISING JR                           3083 BEVERLY CT                                                                                    MERCED            CA    95340‐2684
ALBERT JOZWIAK                                     1110 N GENESEE RD                                                                                  BURTON            MI    48509‐1435
ALBERT JUDSON JR                                   33 POOR FARM RD                                                                                    NOTTINGHAM        NH    03290‐5405
ALBERT K GILBERT                                   18285 FERGUSON                                                                                     DETROIT           MI    48235‐3209
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 51 of 850
Name                                            Address1                              Address2             Address3           Address4          City             State Zip

ALBERT K KHAN                                  755 HIDALGO COURT                                                                                MORGAN HILL      CA    95037‐4011
ALBERT K KROHER JR                             256 MAPLE ST                                                                                     EAST HARTFORD    CT    06118‐2733
ALBERT K MCDONALD                              RT 1 BOX 18 GREEN RD                                                                             GAY              GA    30218‐9801
ALBERT K NOBLE                                 21 TUNES BROOK ROAD                    MALLARD POINT                                             BRICK TOWN       NJ    08723‐6635
ALBERT K NOBLE & LETHA E NOBLE JT TEN          21 TUNES BROOK ROAD                                                                              BRICK TOWN       NJ    08723‐6635
ALBERT K STOLPE                                345 WYNGATE DRIVE                                                                                ROCHESTER        MI    48307‐1732
ALBERT KAHN CUST RACHEL I KAHN UNDER THE       7391 SW 153RD ST                                                                                 MIAMI            FL    33157‐2437
FLORIDA GIFTS TO MINORS ACT
ALBERT KAMINSKY                                610 BEACH 8TH ST                                                                                 FAR ROCKAWAY     NY    11691‐5202
ALBERT KAMINSKY CUST JACOB DAVID KAMINSKY UGMA 13001 SW 15TH COURT APT T204                                                                     PEMBROKE PNES    FL    33027
NY
ALBERT KASZAS                                  1333 BALDWIN RD                                                                                  YORKTOWN         NY    10598‐5820
ALBERT KEMPER CUST ROSS HILTON KEMPER UGMA MI 1115 LAALTURA ROAD                                                                                BEVERLY HILLS    CA    90210

ALBERT KIRSCHBAUM                               2326 SILVER CIRCLE                                                                              WATERFORD        MI    48328‐1739
ALBERT KONICKI                                  C/O KAREN BRITTINGHAM EX              5181 MONITOR DR                                           DAYTON           OH    45424‐5963
ALBERT KORNBERG                                 15 VILLAGE CT                                                                                   MT LAUREL        NJ    08054‐3002
ALBERT KOZAR                                    9275 N CHURCH DRIVE                                                                             PARMA HEIGHTS    OH    44130‐4783
ALBERT KULWIN                                   BOX 240                                                                                         KANONA           NY    14856‐0240
ALBERT L ANGLIN                                 5170 MILLS ST                                                                                   COVINGTON        GA    30014‐1433
ALBERT L ARMSTRONG                              809 BRIARWOOD LANE                                                                              MARION           IN    46952‐2661
ALBERT L BASSETT                                9280 YARROW STREET                    4303                                                      WESTMINSTER      CO    80021
ALBERT L BEDNARSKI                              2534 COTTONWOOD DRIVE                                                                           LODI             CA    95242‐4649
ALBERT L BURCH                                  273 ROCKDALE DRIVE                                                                              WEST AMHERST     NY    14228‐2842
ALBERT L CANTRELL                               400 RIVERWOOD                                                                                   DESOTO           TX    75115‐5628
ALBERT L CIMPERMAN & ZORA S CIMPERMAN JT TEN    2710 INGLESIDE DRIVE                                                                            PARMA            OH    44134‐2916

ALBERT L CIMPERMAN JR & PATRICIA CIMPERMAN JT   3344 N NEWHALL                                                                                  MILWAUKEE        WI    53211‐3044
TEN
ALBERT L CLARK & EUNICE E CLARK JT TEN          277 CHATTERTON PKWY                   #2                                                        WHITE PLAINS     NY    10606‐2013
ALBERT L CLARK JR                               451 LORENZ AV                                                                                   DAYTON           OH    45417‐2339
ALBERT L CLOUGH                                 167 MIDWAY AVE                                                                                  ROSSVILLE        GA    30741‐3400
ALBERT L COOPER JR                              4143 WOODCREEK LANE                                                                             LANSING          MI    48911‐1932
ALBERT L COURSE                                 148 E HURON BLVD                                                                                MARYSVILLE       MI    48040‐1422
ALBERT L EVANS JR & BETTY DEAN EVANS TR EVANS   2536A RIVER BEND DR                                                                             SPRING VALLEY    OH    45370‐9002
LIVING TRUST UA 9/8/97
ALBERT L FERREBEE                               22A MAHONING COURT                                                                              NEWTON FALLS     OH    44444‐1901
ALBERT L GAFFNEY                                19 PINE ST                                                                                      WOONSOCKET       RI    02895‐5351
ALBERT L GOELZ & JANET A GOELZ JT TEN           1635 N MILWAUKEE AVE                  #205                                                      LIBERTYVILLE     IL    60048‐3942
ALBERT L GRABLICK                               21900 BOHN RD                                                                                   BELLEVILLE       MI    48111‐9211
ALBERT L GREENBERG                              2419 LAVISTA RD NE                                                                              ATLANTA          GA    30329
ALBERT L GUY & MRS LINDA M GUY JT TEN           1689 OAK PLACE                                                                                  CLEARWATER       FL    33755‐1351
ALBERT L HABITZRUTHER                           40 IRONDALE DRIVE                                                                               DEPEW            NY    14043‐4428
ALBERT L HAMILTON                               2005 ELIZABETH                                                                                  DEARBORN         MI    48128‐1371
ALBERT L HOLDEN                                 2601 TATNALL ST                                                                                 WILMINGTON       DE    19802‐3525
ALBERT L HOLTZ                                  5465 POSSUM LN                                                                                  ORCHARD LAKE     MI    48324‐2270
ALBERT L HOYT                                   8146 SKYLINE LN                                                                                 CHAGRIN FALLS    OH    44022‐3856
ALBERT L HOYT & PEGGY L HOYT JT TEN             8146 SKYLINE LN                                                                                 CHAGRIN FALLS    OH    44022‐3856
ALBERT L HUNDT                                  9780 W CHESANING RD                                                                             CHESANING        MI    48616‐9403
ALBERT L HURD                                   1576 FILMORE                                                                                    YOUNGSTOWN       OH    44505‐3916
ALBERT L JACES & ROSE MARIE JACES JT TEN        4928 HARTLEY DRIVE                                                                              LYNDHURST        OH    44124‐1024
ALBERT L JACOBS JR                              200 E 57TH ST APT 16L                                                                           NEW YORK         NY    10022‐2868
ALBERT L KEENAN & MRS ALMA M KEENAN JT TEN      101 HILL ST                           APT 3                                                     STONEHAM         MA    02180‐3703
ALBERT L KEMPERLE EX UW ALBERT KEMPERLE         7 HECKSCHER DR                                                                                  HUNTINGTON BAY   NY    11743‐1115

ALBERT L KOCH                                   14837 DIAGONAL ROAD                                                                             LAGRANGE         OH    44050‐9528
ALBERT L LANATA                                 16805 VENTANA BLVD                                                                              EDMOND           OK    73003‐8991
ALBERT L MALONEY                                PO BOX 1124                                                                                     LOCKPORT         NY    14095
ALBERT L MAYER                                  1551 PRAIRIE OWL RD                                                                             PARKER           CO    80138‐4656
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 52 of 850
Name                                              Address1                            Address2             Address3           Address4          City               State Zip

ALBERT L MIDDLETON                                6214 WHITE STONE RD                                                                           JACKSON            MS    39206‐2311
ALBERT L MILLANE & EVELYN B MILLANE JT TEN        126 FORSYTH RD                                                                                OAKDALE            CT    06370‐1203
ALBERT L MILLER                                   703 BINFORD ST                                                                                CRAWFORDSVILLE     IN    47933‐1904

ALBERT L MOORE                                    1149 TOD AVE S W                                                                              WARREN             OH    44485‐3806
ALBERT L NISTICO JR                               470CRISFIELD DR                                                                               ABINGTON           MD    21009
ALBERT L NISWONGER                                20671/2W FRANCES                                                                              MT MORRIS          MI    48458
ALBERT L PASADYN                                  352 FIELDSTONE CT                                                                             WELLINGTON         OH    44090‐1191
ALBERT L PAULEY                                   5954 SOUTH RIDGEVIEW RD                                                                       ANDERSON           IN    46013‐9774
ALBERT L PEAKE                                    5489 MILL CREEK BLVD                                                                          YOUNGSTOWN         OH    44512‐2514
ALBERT L PHILION                                  83 HARTFORD AVE                     POINTE CLAIRE QC                        H9R 3C9 CANADA
ALBERT L PORCHIK & IRENE A PORCHIK JT TEN         216 N 5TH AVE                                                                                 MANVILLE           NJ    08835‐1204
ALBERT L PRICE                                    619 S 27TH ST                                                                                 SAGINAW            MI    48601‐6539
ALBERT L RAYBORN                                  542 FILDEW ST                                                                                 PONTIAC            MI    48053
ALBERT L RITZIE                                   3458 HAMILTON SCIPIO RD                                                                       HAMILTON           OH    45013‐8203
ALBERT L ROBERSON                                 2920 BROADBAY DRIVE                                                                           WINSTON SALEM      NC    27107‐2562
ALBERT L ROBERTSON                                959 SPRING ST                                                                                 COVINGTON          KY    41016
ALBERT L ROBISON                                  9703 N CO RD 200W                                                                             BRAZIL             IN    47834
ALBERT L ROTUNNO                                  759 VALLEY VIEW DR                                                                            BROOKFIELD         OH    44403‐9651
ALBERT L RUFFIN                                   6613 DONALD                                                                                   NORTHWOODS         MO    63121‐3203
ALBERT L RUSK                                     2251 LASALLE AVENUE                                                                           NIAGARA FALLS      NY    14301‐1415
ALBERT L SAGANEK                                  522 JOHNSON BLVD                                                                              PIERSON            MI    49339‐9797
ALBERT L SALAS                                    5540 BUTANO PK DR                                                                             FREMONT            CA    94538‐3200
ALBERT L SCHAAF SR                                7887 COOK JONES RD                                                                            WAYNESVILLE        OH    45068‐9729
ALBERT L SCHAAF SR & LANA J SCHAAF JT TEN         7887 COOK JONES RD                                                                            WAYNESVILLE        OH    45068‐9729
ALBERT L SCHADEL                                  6716 POTTERY RD                                                                               WARNERS            NY    13164‐9737
ALBERT L SEBBEN                                   PO BOX 1322                                                                                   PARAMUS            NJ    07653‐1322
ALBERT L SHARP                                    899 LAWRENCE ST                                                                               DETROIT            MI    48202‐1018
ALBERT L SILVIS                                   1850 S M 52                                                                                   OWOSSO             MI    48867‐9229
ALBERT L SMITH                                    20175 TERRELL                                                                                 DETROIT            MI    48234‐3206
ALBERT L SPICER                                   4085 LOMLEY                                                                                   WATERFORD          MI    48329‐4122
ALBERT L STEFFY CUST ALLISON N STEFFY UGMA PA     330 W CHURCH RD                                                                               EPHRATA            PA    17522‐9692

ALBERT L STEFFY CUST SHANNON MARIE STEFFY UTMA    330 W CHURCH RD                                                                               EPHRATA            PA    17522‐9692
PA
ALBERT L TAYLOR                                   1475 MCKINSTRY MILL RD                                                                        UNION BRIDGE       MD    21791‐8807
ALBERT L TEPASTTE                                 4937 BUCHANAN AVE S W                                                                         WYOMING            MI    49548‐4237
ALBERT L TEPASTTE & MARY E TEPASTTE JT TEN        4937 BUCHANAN AVE S W                                                                         GRAND RAPIDS       MI    49548‐4237
ALBERT L THOMAS                                   748 ESTES PARK DRIVE                                                                          ST PETERS          MO    63376‐2089
ALBERT L TOWNE                                    8610 BEACHCRAFT DRIVE                                                                         RENO               NV    89506‐2156
ALBERT L WALTEMYER                                3662 COACHMANS RIDGE DR                                                                       SAGINAW            MI    48603‐8716
ALBERT L WALTER & LOIS S WALTER JT TEN            20 NORTH LIGONIER ST                                                                          LATROBE            PA    15650‐1170
ALBERT L WEBSTER & MRS EVELYN WEBSTER JT TEN      1400 WASHO DRIVE                                                                              FREMONT            CA    94539‐6659

ALBERT L WILSON                                   2576 VERNOR RD                                                                                LAPEER             MI    48446‐8329
ALBERT LAURENTO TUNESI                            37807 SARAFINA                                                                                STERLING HEIGHTS   MI    48312‐2075

ALBERT LAWRENCE                                465 BLOOMFIELD ST                                                                                PONTIAC            MI    48053
ALBERT LEE                                     6314 LANGDON LN                                                                                  LANHAM             MD    20706‐2392
ALBERT LEE HOOKER                              2726 WESLEYAN DRIVE                                                                              IRVING             TX    75062
ALBERT LEIF                                    77 MAIN ST                                                                                       NYACK              NY    10960‐3109
ALBERT LEWIS & NANCT L LEWIS JT TEN            8785 FISHER AVENUE                                                                               LAS VEGAS          NV    89149‐4053
ALBERT LEWIS ZUMPE & PHYLLIS L ZUMPE JT TEN    8023 PARK STAR DRIVE                                                                             INDIANAPOLIS       IN    46217
ALBERT LIDAUER                                 SCHWARZWALDGASSE #40                   A‐1230 VIENNA                           AUSTRIA
ALBERT LIDAUER                                 SCHWARZWALDGASSE #40                   A‐123O VIENNA                           AUSTRIA
ALBERT LOGAN HOLIDAY II                        5028 OAKVIEW DR                                                                                  MIDDLETOWN         OH    45042‐4901
ALBERT LOSCHIAVO CUST VINCENT A LOSCHIAVO UGMA 6551 SEGOVIA CIR                                                                                 HUNTINGTON         CA    92647‐6643
CA                                                                                                                                              BEACH
ALBERT M ANDERSON                              8850 MASHALL CORNER FOUR OAKS                                                                    POMFRET            MD    20675
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                        Part 1 of 8 Pg 53 of 850
Name                                              Address1                              Address2               Address3                 Address4          City              State Zip

ALBERT M ATKINSON                              13460 JOBIN                                                                                                SOUTHGATE         MI    48195‐3601
ALBERT M BERKELHAMMER & MRS EILEEN F           SPRINGHILL RD RRD                                                                                          ANNANDALE         NJ    08801
BERKELHAMMER JT TEN
ALBERT M BLACKMORE                             STE 105 GREY CLIFFE                      304 PORTUGAL COVE PL   ST JOHNS NEW FOUNDLAND   A1B 2N9 CANADA
ALBERT M BLISS                                 1224 PARKWAY DR                                                                                            GREENVILLE        OH    45331‐2651
ALBERT M BUDA                                  114 BALD CYPRESS LN                                                                                        MOORESVILLE       NC    28115‐5761
ALBERT M COLEGROVE & MRS AMELIA M COLEGROVE JT 39 LAKEVIEW DR                                                                                             WILLIAMSTOWN      KY    41097‐9471
TEN
ALBERT M CREAMER                               12 CRESCENT ROAD                                                                                           LEXINGTON         MA    02421‐6345
ALBERT M DECKER                                313 S MOSCOW RD                                                                                            HORTON            MI    49246‐9565
ALBERT M FARRIS                                206 BYERS                                                                                                  JOPLIN            MO    64801‐2604
ALBERT M FERNANDEZ                             3219 BLUEBUSH RD                                                                                           MONROE            MI    48162‐9448
ALBERT M GOIK                                  7722 LAKESHORE DR                                                                                          NEWPORT           MI    48166‐9791
ALBERT M GREEN                                 4157 ARTESA DR                                                                                             BOYNTON BEACH     FL    33436
ALBERT M GUBALA                                1466 W TEMPERANCE RD                                                                                       TEMPERANCE        MI    48182‐9487
ALBERT M HOURWITZ & MRS FLORENCE HOURWITZ JT 3711 WHITNEY AVE                           UNIT 6                                                            HAMDEN            CT    06518‐1533
TEN
ALBERT M JOHNSON                               3109 SUSAN DR                                                                                              KOKOMO            IN    46902‐3957
ALBERT M KELLEY                                10 BLOOMFIELD LANE                                                                                         WILLINGBORO       NJ    08046‐1513
ALBERT M LANKTREE                              3621 E MARBLE PEAK PL                                                                                      TUCSON            AZ    85718‐2207
ALBERT M LYLES                                 5100 SHARON RD APT 2202 S                                                                                  CHARLOTTE         NC    28210‐4768
ALBERT M MARLAND                               17807 DAVES AVE                                                                                            MONTE SERENO      CA    95030‐3217
ALBERT M MONTE                                 15108 INA DR                                                                                               PHILADELPHIA      PA    19116‐1450
ALBERT M MONTGOMERY                            916 N BRADY ST                                                                                             MUNCIE            IN    47303‐5035
ALBERT M PASCENTE                              65 ATWOOD DR                                                                                               ROCHESTER         NY    14606‐4564
ALBERT M POBOCIK & GREGORY M POBOCIK JT TEN    5192 REID RD                                                                                               SWARTZ CREEK      MI    48473‐9418

ALBERT M SCARINCI                                 1001 RARITAN ROAD                                                                                       SCOTCH PLAINS     NJ    07076‐2737
ALBERT M SUTCLIFFE & MRS ANNETTE A SUTCLIFFE JT   12 NANCY AVE                                                                                            PELHAM            NH    03076‐3331
TEN
ALBERT M TEITELBAUM                               18744 CANASTA ST                                                                                        TARZANA           CA    91356‐4116
ALBERT M THUT                                     3738 24TH AVE N                                                                                         ST PETERSBURG     FL    33713‐3402
ALBERT M TURNER                                   259 WATERVIEW DR                                                                                        POLK CITY         FL    33868‐8924
ALBERT M VARVEL                                   1100 SWEITZER ST                                                                                        GREENVILLE        OH    45331‐1083
ALBERT M WARE                                     6761 MAPLE CREEK BLVD                                                                                   WEST BLOOMFIELD   MI    48322‐4556

ALBERT M WATSON                                   C/O LAWRENCE L WATSON                 606 RIDGEMONT DR                                                  MOUNTAIN HOME     AR    72653‐2907

ALBERT M WEEKLEY JR & CAROLYN WEEKLEY JT TEN      172 MAIN ST                                                                                             BUTLER            OH    44822‐9680

ALBERT MACK                                       508 DUTCHESS TURNPIKE                                                                                   POUGHKEEPSIE      NY    12603‐1104
ALBERT MANUAL LANKTREE & DORIS GRACE LANKTREE     3621 E MARBLE PEAK PL                                                                                   TUCSON            AZ    85718‐2207
JT TEN
ALBERT MARTIN                                     1317 ELDORADO DR                                                                                        FLINT             MI    48504‐3238
ALBERT MATHEW PATSY                               7275 RIVER RD                                                                                           FLUSHING          MI    48433‐2251
ALBERT MAYWOOD AREHART                            5486 W 900 N                                                                                            FRANKTON          IN    46044‐9695
ALBERT MC NAIR                                    1811 BRANDON ST                                                                                         POLAND            OH    44514‐1206
ALBERT MCHENRY JR                                 5567 LAVACA RD                                                                                          GRAND PRAIRIE     TX    75052‐8565
ALBERT MCMILLON III                               12207 MONICA                                                                                            DETROIT           MI    48204‐5305
ALBERT METZGER                                    380 OLIVE TREE LANE                                                                                     SIERRA MADRE      CA    91024‐1143
ALBERT MILHOUSE                                   99 E UTICA ST                                                                                           BUFFALO           NY    14209‐1927
ALBERT MINOR                                      633 W PHILADELPHIA BLVD                                                                                 FLINT             MI    48505‐6317
ALBERT MOORE                                      614 WASHINGTON AVE                                                                                      JACKSON           MI    49201‐2030
ALBERT MORENO                                     1443 BENNET                                                                                             FLINT             MI    48506‐3301
ALBERT MURATORE                                   2853 STEELWOOD CIR                                                                                      AKRON             OH    44312‐5853
ALBERT MYCZKOWIAK                                 6894 MCCARTY RD                                                                                         SAGINAW           MI    48603‐9605
ALBERT N ANTAKI JR                                214 82ND ST                                                                                             VIRGINIA BEACH    VA    23451‐1804
ALBERT N APPERSON                                 928 E NORTH E ST                                                                                        GAS CITY          IN    46933‐1329
ALBERT N BANKE & GERALDINE C BANKE JT TEN         4180 JUNIPER STREET                                                                                     PLACERVILLE       CA    95667‐7020
                                                 09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                             Part 1 of 8 Pg 54 of 850
Name                                                   Address1                              Address2               Address3         Address4          City              State Zip

ALBERT N EVANS & ANNE M EVANS JT TEN             5959 SUN N LAKE BLVD                        APT C413                                                  SEBRING           FL    33872‐1013
ALBERT N PARKER                                  2496 HYDE MANOR DR NW                                                                                 ATLANTA           GA    30327‐1130
ALBERT N STELLWAG                                ROUTE 16 5 BROAD ST                                                                                   MT HOLLY          NJ    08060‐3601
ALBERT N TARDIF & DOROTHY A TARDIF JT TEN        41 HARWOOD ROAD                                                                                       FARMINGDALE       ME    04344
ALBERT N WONG & THOMAS M MAWN JR TR              1 ELLEN ROAD                                                                                          WOBURN            MA    01801‐2209
REVOCABLE TRUST 04/05/90 U‐A ELSIE
ALBERT N YERGER                                  111 STOVER PARK RD                                                                                    PIPERSVILLE       PA    18947‐9351
ALBERT N ZIELESCH                                6302 US 41 SOUTH LOT 120                                                                              RUSKIN            FL    33570‐2512
ALBERT NEIL BAKER                                3508 EVANSVILLE AVE                                                                                   DAYTON            OH    45406
ALBERT NEUKOM & JAN E NEUKOM JT TEN              12701 PLEASANT LAKE ROAD                                                                              MANCHESTER        MI    48158‐9570
ALBERT O LABONTE & DONNA L LABONTE TR LABONTE 4400 SUNSET DR                                                                                           VERO BEACH        FL    32963‐1214
TRUST UA 07/08/96
ALBERT O MIRACLE                                 3080 SHIMMONS                                                                                         PONTIAC           MI    48326‐2063
ALBERT O VALASEK                                 10580 E COPAS RD                                                                                      LENNON            MI    48449‐9651
ALBERT O WEND & MRS JEAN WEND JT TEN             59 W WEND ST                                                                                          LEMONT            IL    60439‐4492
ALBERT OGONOWSKI                                 C/O DENNIS OGONOWSKI                        5318 S BROADWAY #103                                      ENGLEWOOD         CO    80110‐6894
ALBERT P BYRD                                    152 CUMBERLAND AVE                                                                                    PENNS GROVE       NJ    08069‐1732
ALBERT P CHALLENGER & MRS EUNICE P CHALLENGER JT 5955 QUINN ORCHARD RD                       UNIT 232                                                  FREDERICK         MD    21704‐6669
TEN
ALBERT P CHITTENDEN                              6600 DRUNKARD RD                                                                                      JETERSVILLE       VA    23083‐2863
ALBERT P COPELAND                                21910 KIPLING                                                                                         OAK PARK          MI    48237‐2702
ALBERT P DE COURSEY                              601 E OGDEN AVE                             UNIT 603                                                  MILWAUKEE         WI    53202‐2683
ALBERT P DONOFRIO                                31 LAKE SHORE DR                                                                                      YOUNGSTOWN        OH    44511‐3570
ALBERT P HALL JR                                 5948 ST REGIS ROAD                                                                                    BALTIMORE         MD    21206‐4042
ALBERT P KOSTER                                  3746 ATWOOD RD                                                                                        STONE RIDGE       NY    12484‐5456
ALBERT P LAVALLE                                 3 GARDINER PL                                                                                         HUNTINGTN STA     NY    11746‐2710
ALBERT P PARKER                                  3152 NAPA DRIVE                                                                                       SAN JOSE          CA    95148‐2026
ALBERT P PASCUCCI                                623 WILLIAMS STREET                                                                                   N TONAWANDA       NY    14120‐1712
ALBERT P POPP                                    3906 CAMBORNE LN                                                                                      LOUISVILLE        KY    40299‐5472
ALBERT P ROMAIN JR                               1592 SALTSPRINGS RD                                                                                   WARREN            OH    44481‐8625
ALBERT P SHERWOOD & BARBARA A SHERWOOD JT TEN 2816 EDGE HILL RD                                                                                        HUNTINGDON VY     PA    19006‐5023

ALBERT P SISK                                  6542 PINE TRAIL LN                            APT 3                                                     TINLEY PARK       IL    60477‐5076
ALBERT P SMITH JR                              9701 ROCHESTER COZADDALE RD                   #9701                                                     GOSHEN            OH    45122‐9605
ALBERT P STEFAN                                N 12318WHITE LAKE RD                                                                                    FENTON            MI    48430‐2572
ALBERT P TURCO                                 2496 W SHIAWASSEE AVE                                                                                   FENTON            MI    48430‐1742
ALBERT P WALKER CUST KATHY JEAN WALKER UGMA VA ATTN KATHY W STOCKTON                         2930 ELLESMERE DRIVE                                      MIDLOTHIAN        VA    23113‐3880

ALBERT PACHECO                                         3746 BUCKINGHAM DR                                                                              JANEVILLE         WI    53546‐8849
ALBERT PACHECO & DELIA EVA PACHECO JT TEN              3746 BUCKINGHAM DR                                                                              JANESVILLE        WI    53546‐8849
ALBERT PACKARD                                         2410 S TROPICAL TRAIL                                                                           MERRITT IS        FL    32952‐4105
ALBERT PADAR JR                                        2663 WINDSOR                                                                                    TROY              MI    48098‐3727
ALBERT PERAGLIE                                        465 PERAGLIE RD                                                                                 JEFFERSON         NY    12093‐9733
ALBERT PETRO                                           13460 ST CLAIR DR                                                                               N HUNTINGTON      PA    15642‐5109
ALBERT PICCIRILLI & LOUISE PICCIRILLI TR UA 07/20/95   14246 KERNER DR                                                                                 STERLING HEIGHT   MI    48313‐2131

ALBERT PISANO                                          320 BOWMAN DR                                                                                   KENT              OH    44240‐4508
ALBERT POPOT                                           81 BURHANS AVE                                                                                  YONKERS           NY    10701‐5570
ALBERT PRICE                                           131 SOUTH 22 ND ST                                                                              SAGINAW           MI    48601‐1450
ALBERT PRICE JR                                        440 S 25TH                                                                                      SAGINAW           MI    48601‐6409
ALBERT PROSTIC & SHIRLEY E PROSTIC TEN ENT             904 BURNT EMBER CT                                                                              BALTIMORE         MD    21208‐3506
ALBERT R ANNUNZIATA                                    41 TUMBLE BROOK RD                                                                              WOODBRIDGE        CT    06525‐2533
ALBERT R BUHL                                          3488 SHADYCREEK DRIVE                                                                           HARTLAND          MI    48353‐2126
ALBERT R BULLOCK                                       100 PO BOX                                                                                      HUBBARD LAKE      MI    49747‐9741
ALBERT R BURGER                                        1753 E U S 22‐3                                                                                 MORROW            OH    45152‐8971
ALBERT R CLUTTEUR                                      1906 MOUNTAIN CREEK DRIVE                                                                       STONE MOUNTAIN    GA    30087‐1016

ALBERT R CORNELL                                       4270 MAPLE ST                                                                                   BROWN CITY        MI    48416‐8655
ALBERT R DELUCA                                        20 FAIRWAY CRESCENT                   AMHERSTBURG ON                          N9V 3T6 CANADA
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 55 of 850
Name                                               Address1                              Address2             Address3           Address4          City              State Zip

ALBERT R ELLWOOD & ESTHER M ELLWOOD TR UA          2194 DUDLEY ST                                                                                  PASADENA          CA    91104‐4123
3/31/88 THE ELLWOOD TRUST
ALBERT R FOSTER JR                                 8236 LOCKWOOD LANE                                                                              INDIANAPOLIS      IN    46217‐4243
ALBERT R FRITZ III                                 5400 W BELMONT RD                                                                               TUCSON            AZ    85743‐9798
ALBERT R GILDNER                                   4500 WINTERS DR                                                                                 FLINT             MI    48506‐2001
ALBERT R HAJDUK                                    8520 US I UNIT G11                                                                              MICCO             FL    32976
ALBERT R HAMLIN                                    296 IDLEWILD DRIVE                                                                              SPARTA            TN    38583‐3115
ALBERT R HUISMAN                                   C/O MARCELLA HUISMAN                  1302 TIMBER TR                                            AUBURN            IN    46706‐3804
ALBERT R JOHNSON                                   214 CREST DR                                                                                    MOUNT OLIVE       NC    28365‐2620
ALBERT R JOHNSON                                   1357 COUNTY ROUTE 41                                                                            PULASKI           NY    13142‐2193
ALBERT R JUDSON JR & VALERIE H JUDSON JT TEN       33 POOR FARM RD                                                                                 NOTTINGHAM        NH    03290‐5405
ALBERT R LAMOUREUX                                 252 HARRINGTON ST                                                                               EAST BROOKFIELD   MA    01515‐1713
ALBERT R LEASURE                                   875 SHADY GROVE RD                                                                              CLARKSVILLE       TN    37043‐7933
ALBERT R LEFEVRE                                   8088 DUFFIELD RD                                                                                GAINES            MI    48436‐9716
ALBERT R LEPAGE TR 12/18/01 ALBERT R LEPAGE DEED   BOX 1085                                                                                        AUBURN            ME    04211‐1085
OF TRUST
ALBERT R LIPSCOMB                                  5206 SANTA BARBARA                                                                              SPARKS            NV    89436‐3602
ALBERT R MAKI                                      RR1 BOX 485                                                                                     NEWBERRY          MI    49868‐9361
ALBERT R MANGEL                                    5338 ANNOUER RD                                                                                 LEWISTON          NY    14092‐2106
ALBERT R MEADOWS                                   469 DUNEDIN DR                        LONDON ON                               N6H 3G9 CANADA
ALBERT R MERESS                                    BOX 507                                                                                         FLORENCE          WI    54121‐0507
ALBERT R MERTI & ROBIN L MERTI JT TEN              7 LYDIA DR                                                                                      UNIONTOWN         PA    15401‐8919
ALBERT R MONTEVILLE                                1025 PAIGE COURT                                                                                NEWTON FALLS      OH    44444‐8774
ALBERT R MONTGOMERY                                430 MAPLE DR                                                                                    LAPEER            MI    48446‐8722
ALBERT R PALMA                                     715 25TH ST                                                                                     AMBRIDGE          PA    15003
ALBERT R PARENT                                    1529 FIRSESIDE STREET                                                                           PORT CHARLOTTE    FL    33592
ALBERT R PAULSON                                   635 WEST LUSHER                                                                                 ELKHART           IN    46517‐1638
ALBERT R PLACK                                     9333 N CHURCH DR                      APT 411                                                   CLEVELAND         OH    44130‐4718
ALBERT R PLATA                                     12623 HADDON AVE                                                                                SYLMAR            CA    91342
ALBERT R REID                                      3189 FARNSWORTH                                                                                 LAPEER            MI    48446‐8721
ALBERT R RILEY                                     182 PARKER LAKE DR                                                                              OXFORD            MI    48371‐5245
ALBERT R RITCHER & AUDREY M RITCHER JT TEN         674 BRAE BURN RD                                                                                MANSFIELD         OH    44907‐1916
ALBERT R ROSENTHAL & PATRICIA ROSENTHAL JT TEN     70 PINELAWN RD                        # 222                                                     MELVILLE          NY    11747

ALBERT R TRICASE & MARY J TRICASE JT TEN           47 ROOSEVELT STREET                                                                             MASSENA           NY    13662‐1216
ALBERT RAY WHITE                                   8300 E 104TH ST                                                                                 KANSAS CITY       MO    64134‐2110
ALBERT REIBER                                      C/O PATSY J REIBER                    80 LAKE NESS                                              MOUNT MORRIS      MI    48458‐8888
ALBERT RESNICK & SYLVIA RESNICK TR RESNICK FAM     3497 BENDEMEER ROAD                                                                             CLEVELAND         OH    44118‐1912
TRUST UA 05/29/96                                                                                                                                  HEIGHTS
ALBERT REYNAGA                                     762 TROTTER COURT                                                                               WALNUT            CA    91789‐1277
ALBERT ROSCOE LAUX                                 920 W WILLOW RUN CT                                                                             MOORESVILLE       IN    46158‐8782
ALBERT ROTHENBERG                                  52 PINE RIDGE RD                                                                                CANAAN            NY    12029‐3101
ALBERT RUDMAN                                      22680 CEDAR LANE CT APT 3204                                                                    LEONARDTOWN       MD    20650‐3931
ALBERT RUDMAN & MRS GENEVIEVE RUDMAN JT TEN        800 OREGON ST                         APT 189                                                   SONOMA            CA    95476‐6470

ALBERT RUSSELL JR & DORIS RUSSELL JT TEN           9 LYNNFIELD STREET                                                                              BEDFORD           MA    01730‐2517
ALBERT S ANDREWS                                   3431 SWEETWATER DR SW                                                                           LAWRENCEVILLE     GA    30044‐4151
ALBERT S BOWLEY                                    3938 E VISTA DR                                                                                 VISALIA           CA    93292‐7106
ALBERT S BROWNING                                  11620 VISTA FOREST DR                                                                           ALPHARETTA        GA    30005‐6494
ALBERT S BROWNING CUST BENJAMIN H BROWNING         11620 VISTA FOREST DR                                                                           ALPHARETTA        GA    30005‐6494
UTMA GA
ALBERT S EMERSON                                   1706 WALNUT ST                                                                                  SAGINAW           MI    48601‐1933
ALBERT S ENGSTROM                                  966 FAIRWAY DRIVE                                                                               BAKERSFIELD       CA    93309‐2480
ALBERT S FENZEL                                    5180 SHERRY LANE                                                                                FAIRFIELD         OH    45014‐2494
ALBERT S FENZEL & LINDA R FENZEL JT TEN            5180 SHERRY LANE                                                                                FAIRFIELD         OH    45014‐2494
ALBERT S FENZEL & LINDA R FENZEL JT TEN            5180 SHERRY LANE                                                                                FAIRFIELD         OH    45014‐2494
ALBERT S HALL & MARILYN M HALL JT TEN              114 MCGRATH POND ROAD                                                                           OAKLAND           ME    04963‐4243
ALBERT S HARDING                                   4828 SW MARGUERITE                                                                              BLUE SPRINGS      MO    64015
ALBERT S HARON                                     802 WINDING WAY                                                                                 WESTVILLE         NJ    08093
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 56 of 850
Name                                              Address1                             Address2             Address3           Address4          City            State Zip

ALBERT S HOWE TR UA 06/11/89 ALBERT SCOTT HOWE    850 DEL MAR DOWNS RD                 APT 220                                                   SOLANA BEACH    CA    92075‐2720
TRUST
ALBERT S JOHNSON                                  547 BAINTREE RD                                                                                DAVIS           IL    61019‐9441
ALBERT S JORDAN                                   PO BOX 194                                                                                     RANSOMVILLE     NY    14131‐0194
ALBERT S KIRSCHMAN JR                             18 GARDNER PLACE                                                                               PARLIN          NJ    08859‐1606
ALBERT S MOVSESIAN & MRS CHARLOTTE M              369 GREAT POND RD                                                                              NORTH ANDOVER   MA    01845‐2018
MOVSESIAN JT TEN
ALBERT S PATON & CAROL S PATON JT TEN             12037‐96 CALLE DE MEDRIO                                                                       EL CAJON        CA    92019‐4907
ALBERT S PERRY                                    1227 RIDGE RD                                                                                  RISING SUN      MD    21911‐1507
ALBERT S PORTER JR                                21 MYRTLE BANK ROAD                                                                            HILTON HEAD     SC    29926‐1809
                                                                                                                                                 ISLAND
ALBERT S REGULA III                               BOX 738                                                                                        ELMSFORD        NY    10523‐0738
ALBERT S REGULA JR                                644 MOUNTAIN AVE                                                                               WASHINGTON      NJ    07676‐4424
                                                                                                                                                 TWNSHIP
ALBERT S REGULA JR & LORETTO F REGULA JT TEN      644 MOUNTAIN AVE                                                                               WASHINGTON      NJ    07676‐4424
                                                                                                                                                 TWNSHIP
ALBERT S RICCARDI & JOANNE S RICCARDI JT TEN      PO BOX 528                                                                                     BERLIN          NY    12022‐0528
ALBERT S WAKEFIELD                                4606 BRADLEY BROWNLEE RD                                                                       FARMDALE        OH    44417‐9751
ALBERT S WEEMS                                    RT 4                                                                                           POTSDAM         NY    13676‐9804
ALBERT SAAB & EMILY M SAAB JT TEN                 548 E FULTON ST                                                                                CANTON          MS    39046‐4704
ALBERT SALEH EIDI                                 4513 SULGRAVE DR                                                                               TOLEDO          OH    43623‐2049
ALBERT SANCHEZ                                    3429 N MINDEN ST                                                                               VISALIA         CA    93291
ALBERT SANDERS                                    294 RILEY ST                                                                                   BUFFALO         NY    14208‐2003
ALBERT SARAFIAN                                   37254 MUNGER                                                                                   LIVONIA         MI    48154‐1642
ALBERT SARVER                                     20 KYLES LN                          #1                                                        FORT THOMAS     KY    41075‐1401
ALBERT SCIOLI                                     160 HOWE ST                                                                                    MARLBORO        MA    01752‐2866
ALBERT SERA                                       39800 ROMEO PLANK RD                                                                           CLINTON TWP     MI    48038‐2917
ALBERT SEVERADO                                   319 W 15TH ST                                                                                  GEORGETOWN      IL    61846‐1032
ALBERT SHIMKUS                                    180 KATHERINE DRIVE                                                                            N HUNTINGDON    PA    15642‐1058
ALBERT SHODA                                      1559 E 219 ST                                                                                  EUCLID          OH    44117‐1549
ALBERT SIMMONS                                    828 KAMMER AVE                                                                                 DAYTON          OH    45417‐2334
ALBERT SIMS                                       2922 FULLERTON                                                                                 DETROIT         MI    48238‐3302
ALBERT SMITH                                      6190 PARK RIDGE DR                                                                             DAYTON          OH    45459‐2252
ALBERT SOCHIN JR                                  2645 DORKING PL                                                                                SANTA BARBARA   CA    93105‐2214
ALBERT SPATOLA                                    920 BAYCHESTER AVE                   APT 2G                                                    BRONX           NY    10475‐1741
ALBERT STACY                                      1050 WING DRIVE                                                                                ANN ARBOR       MI    48103‐1467
ALBERT STACY & MARY E STACY JT TEN                1050 WING DR                                                                                   ANN ARBOR       MI    48103‐1467
ALBERT STANTON                                    4866 ADAMS POINTE CT                                                                           TROY            MI    48098‐4111
ALBERT STERN                                      510 MAPLE AVE                                                                                  UNIONDALE       NY    11553‐2135
ALBERT STOLF                                      3304 TRISHADOWS DRIVE                MISSISSAUGA ON                          L5A 2A7 CANADA
ALBERT STOLF                                      3304 TRISHADOWNS DRIVE               MISSISSAUGA ON                          L5A 2A7 CANADA
ALBERT SUTTER JR                                  211 OLD TURNPIKE RD                                                                            PORT MURRAY     NJ    07865‐3000
ALBERT SYLVESTER BUDA                             1464 KENMORE AVE                                                                               BUFFALO         NY    14216‐1113
ALBERT T BOWMAN JR                                PO BOX 29468                                                                                   INDIANAPOLIS    IN    46229‐0468
ALBERT T CROWDER JR                               624 GROVE AVE                                                                                  WYOMING         OH    45215‐2762
ALBERT T KRAKER                                   15445 PROSPECT RD                                                                              STRONGSVILLE    OH    44149‐4857
ALBERT T PING                                     32 FARLEY RD                                                                                   SCARSDALE       NY    10583‐1114
ALBERT T RIDDLE                                   2121 BONBRIGHT ST                                                                              FLINT           MI    48505‐4661
ALBERT TACCONELLI & PHYLLIS E TACCONELLI JT TEN   14617 EMERSON DR                                                                               STERLING HTS    MI    48312‐5758

ALBERT TELL & MADELINE TELL JT TEN                215 EVENINGSIDE GLN                                                                            ESCONDIDO       CA    92026
ALBERT THOMAS                                     1116 N PERSHING AVE                                                                            INDIANAPOLIS    IN    46222‐3155
ALBERT THOMAS BINDA                               28 CLARK ST                                                                                    MEDWAY          MA    02053‐2257
ALBERT THOMAS GREEN & OLIVE MOUERY GREEN TEN      244 S MAPLE ST                                                                                 MT CARMEL       PA    17851‐2027
ENT
ALBERT TOM                                        1567 MINDEN DRIVE                                                                              SAN DIEGO       CA    92111
ALBERT TOM & MRS JUNE TOM JT TEN                  1567 MINDEN DRIVE                                                                              SAN DIEGO       CA    92111‐7121
ALBERT TORREZ                                     1504 BASSETT                                                                                   LANSING         MI    48915‐1504
ALBERT TOTH JR                                    2567 NILES VIENNA RD                 APT 117                                                   NILES           OH    44446‐5403
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 57 of 850
Name                                              Address1                              Address2             Address3           Address4          City               State Zip

ALBERT UNDERWOOD                                  14291 CRUSE ST                                                                                  DETROIT            MI    48227‐3118
ALBERT URICK TR UA 06/14/07 ALBERT URICK TRUST    6051 ROLLING GREEN DR                                                                           GRAND BLANC        MI    48439

ALBERT V ALEXANDER                                77 ROBY ST                                                                                      LOCKPORT           NY    14094‐1425
ALBERT V CROSS JR                                 100 WALTER AVE                                                                                  WASHINGTONVIL      OH    44490‐9609
ALBERT V IMPERI & PATTIANN IMPERI & ALICIA M      167 FAIRFIELD                                                                                   BUFFALO            NY    14223
IMPERI JT TEN
ALBERT V MARGENOT & IRENE S MARGENOT JT TEN       11 SACHEM RD                                                                                    GREENWICH          CT    06830‐7230

ALBERT V PLACZEK                                  225 LIVINGSTON RD                                                                               W MIFFLIN          PA    15122‐2520
ALBERT V ROPER                                    3237 HEPFER RD                                                                                  LANSING            MI    48911‐2216
ALBERT V SCHWARTZ JR & MARIE H SCHWARTZ JT TEN    5915 VICTOR CIR                                                                                 ALIQUIPPA          PA    15001‐4847

ALBERT VASANSKI                                   26 BEAL STREET                                                                                  TRENTON            NJ    08610‐5109
ALBERT VERMONT LEACH                              6385 S OLD FLORAL CITY RD                                                                       FLORAL CITY        FL    34436‐2386
ALBERT VEST & ANITA VEST JT TEN                   523 BARHAMS RIDGE DR                                                                            MCDONOUGH          GA    30252‐5800
ALBERT VOLK CUST RYAN NAU UTMA OH                 11690 LEGEND CREEK DR                                                                           CHESTERLAND        OH    44026‐1663
ALBERT W BOBBITT                                  16545 INVERNESS                                                                                 DETROIT            MI    48221‐3108
ALBERT W BOBINSKI                                 C/O DAPHNE BOBINSHI                   83 PERSHING STREET                                        TORRINGTON         CT    06790‐5716
ALBERT W BRAME JR                                 708 STAUNTON DR                                                                                 GREENSBORO         NC    27410‐6005
ALBERT W CASTRODALE                               29845 WESTFIELD                                                                                 LIVONIA            MI    48150‐3926
ALBERT W CHAN                                     1370 CATHERINES WAY                                                                             HOWELL             MI    48843‐7175
ALBERT W CHIARELLO & MARY CHIARELLO JT TEN        11 BRIAR RD                                                                                     FREEHOLD           NJ    07728‐2013
ALBERT W DANIELS                                  7321 NW LOCUST DR                                                                               PARKVILLE          MO    64152‐1907
ALBERT W DAULT                                    1501 E HAMILTON AVE                                                                             FLINT              MI    48506‐3534
ALBERT W DAY                                      11641 PINE VALLEY CLUB DR                                                                       CHARLOTTE          NC    28277‐4042
ALBERT W DEGYANSKY                                11237 STRATFORD WAY                                                                             FISHERS            IN    46038‐1798
ALBERT W EMMERT                                   568 WEST STREET                                                                                 SOUTHINGTON        CT    06489
ALBERT W EMMERT & BARBARA K EMMERT JT TEN         568 WEST ST                                                                                     SOUTHINGTON        CT    06489‐2348
ALBERT W GABALIS TR ALBERT W GABALIS LIVING TRUST 43420 TUSCANY DR                                                                                STERLING HEIGHTS   MI    48314‐1948
UA 08/18/00
ALBERT W GERLACH                                  10710 SE 174TH LOOP                                                                             SUMMERFIELD        FL    34491‐8948
ALBERT W GORDON                                   21588 MAGDALENA TERR                                                                            BOCA RATON         FL    33433‐3045
ALBERT W GRACE                                    8408 DEER CREEK                                                                                 WARREN             OH    44484‐2030
ALBERT W GRONER                                   325 DEER CREEK DR                                                                               STRUTHERS          OH    44471‐3103
ALBERT W HAWKINS MD INC MONEY PURCHASE            1300 E CYPRESS STE G‐1                                                                          SANTA MARIA        CA    93454‐4736
PENSION TRUST DTD 10‐01‐85
ALBERT W HUFSCHMIDT JR                            1126 EAGLES NEST RD                                                                             VANDERGRIFT        PA    15690‐9103
ALBERT W INNES                                    BOX 220                               SPEDDEN AB                              T0A 3E0 CANADA
ALBERT W JONES JR                                 151 HOFFMAN ROAD                                                                                ROCHESTER          NY    14622‐1158
ALBERT W KOSSLER TR ALBERT W KOSSLER FAMILY       5524 SW 23RD TERRACE                                                                            TOPEKA             KS    66614‐1732
LIVING TRUST UA 8/13/98
ALBERT W KOSSMAN & ANNE T KOSSMAN JT TEN          691 HILLCREST DR                                                                                MILFORD            MI    48381‐1582
ALBERT W KRANTZ                                   5 HOOK RD                                                                                       LEVITTOWN          PA    19056‐1126
ALBERT W LANGSHAW                                 2031 BENTWOOD CT                                                                                WILMINGTON         DE    19804‐3937
ALBERT W LANGSHAW & JANE C LANGSHAW JT TEN        2021 BENTWOOD CT                                                                                WILMINGTON         DE    19804‐3937

ALBERT W LOMBARDINI & CAROLE P LOMBARDINI JT      2031 BRYS DR                                                                                    GROSSE POINTE      MI    48236‐1039
TEN                                                                                                                                               WOOD
ALBERT W MCGUE                                    1194 E DECAMP ST                                                                                BURTON             MI    48529‐1106
ALBERT W MELHINCH                                 613 W RIVER RD N                                                                                ELYRIA             OH    44035‐4913
ALBERT W METCALFE                                 305 S BROADWAY STREET                                                                           NATCHEZ            MS    39120‐3447
ALBERT W MUNDY JR                                 728 TYLER POINT RD                                                                              DEALE              MD    20751‐9733
ALBERT W MURRAY                                   15056 SENECA                                                                                    REDFORD            MI    48239‐3030
                                                                                                                                                  TOWNSHIP
ALBERT W NEAL                                     8105 MCCLEMENTS RR#2                                                                            BRIGHTON           MI    48114‐8722
ALBERT W PROBERT & LORETTA E PROBERT JT TEN       759 LYLE DR                                                                                     WATERFORD          MI    48327‐3052
ALBERT W RICHARDSON & MRS MARILYN B               3034 VERMONT RTE 14                                                                             NORTH              VT    05666‐8009
RICHARDSON JT TEN                                                                                                                                 MONTPELIER
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 58 of 850
Name                                                Address1                            Address2                    Address3    Address4          City             State Zip

ALBERT W ROLLINS                                SUITE 200                               1161 CORPORATE DRIVE WEST                                 ARLINGTON        TX    76006‐6819
ALBERT W SELMANOWITZ & SHIRLEY SELMANOWITZ JT 9 GREELEY COURT                                                                                     PLAINVIEW        NY    11803‐6011
TEN
ALBERT W SHEELER                                1040 WATERSEDGE CIRCLE                                                                            BIRMINGHAM       AL    35242‐2425
ALBERT W SMITH & MRS SHIRLEY S SMITH JT TEN     98 OLD WHITE BRIDGE RD                                                                            WAYNESBORO       VA    22980‐6559
ALBERT W TERRY                                  707 OLIVE ST                                                                                      SCRANTON         AR    72863‐9094
ALBERT W THOMAS                                 156 MEADOWLARK DR                                                                                 HARRIMAN         TN    37748‐4130
ALBERT W TILLER                                 8166 OHARA                                                                                        DAVISON          MI    48423‐9504
ALBERT W VERHEYN                                13154 DUNWOODY LANE                                                                               CARMEL           IN    46033
ALBERT W WALLNER                                8083 PIEDMONT                                                                                     DETROIT          MI    48228‐3353
ALBERT W ZELLER JR                              1926 EKIN AVE                                                                                     NEW ALBANY       IN    47150‐1750
ALBERT WALKER & EILEEN A WALKER JT TEN          15 SYCAMORE DR                                                                                    READING          PA    19606‐9538
ALBERT WALTER BOLDEN                            8890 FIELDING ST                                                                                  DETROIT          MI    48228‐1646
ALBERT WALTER ZDROJEWSKI                        16520 SPRING VALLEY RD                                                                            DADE CITY        FL    33523‐6344
ALBERT WANGERIN                                 BOX 221                                                                                           WARRENVILLE      IL    60555‐0221
ALBERT WERDEN                                   30 WILLOW WAY                                                                                     CANFIELD         OH    44406‐9226
ALBERT WHEELER                                  BOX 17 GRP5 RR1                         DUFRESNE MB                             R0A 0J0 CANADA
ALBERT WIL LEONG NG                             3227 CLEMENT ST                                                                                   SAN FRANCISCO    CA    94121‐1616
ALBERT WILLIAM HEIMAN III & DOROTHY K HEIMAN JT 717 ERNIE‐LU AVE                                                                                  ANDERSON         IN    46013‐3657
TEN
ALBERT WILLIAMS                                 5504 SAVINA AVE                                                                                   DAYTON           OH    45415‐1144
ALBERT WILLIAMS                                 5504 SAVINA AVE                                                                                   DAYTON           OH    45415‐1144
ALBERT WOLSKY TR ALBERT WOLSKY LIVING TRUST UA C/O FRIEDMAN & LAROSA INC                1344 LEXINGTON AVE                                        NEW YORK         NY    10128‐1507
06/05/87
ALBERT WRIGHT MORRIS & DOROTHY LOUISE MORRIS JT 3631 CONEJO DR                                                                                    SAN BERNARDINO   CA    92404‐1921
TEN
ALBERT YATKAUSKAS                               1520 SPRUCE ST                          APT 605                                                   PHILADELPHIA     PA    19102‐4507
ALBERT Z KAPIKIAN                               11201 MARCLIFF RD                                                                                 ROCKVILLE        MD    20852‐3631
ALBERT ZUCCARO TR ALBERT ZUCCARO REVOCABLE      21200 HARRINGTON                                                                                  CLINTON TWP      MI    48036‐1931
TRUST 10/28/91
ALBERT ZULLI III & JANET LEE ZULLI JT TEN       11207 STONEY BROOK DRIVE                                                                          GRAND LEDGE      MI    48837‐9154
ALBERTA A BOYD                                  18 PACKER AV                                                                                      RUMSON           NJ    07760‐2028
ALBERTA A BURNS                                 704 MENOMONEE AVE                                                                                 S MILWAUKEE      WI    53172‐3241
ALBERTA A FOX                                   62072 YORKTOWN DR APT 2                                                                           SOUTH LYON       MI    48178‐1714
ALBERTA A MATREJEK & ROBERT J MATREJEK JT TEN   3225 N FRANCIS SLOCOM TR                                                                          MARION           IN    46952‐9796

ALBERTA A PATTERSON                                 PO BOX 1362                                                                                   PRINCETON        TX    75407‐1362
ALBERTA A RIFKIN                                    521 CONCORD STREET #102                                                                       GLENDALE         CA    91203‐1565
ALBERTA A WIRSCH                                    5273 CHERRY MILL COURT                                                                        FAIRFIELD        OH    45014‐3251
ALBERTA ANN KUHN & ARTHUR P KUHN TR UA 9/28/00      1330 NORTHCREST RD                                                                            LANSING          MI    48906‐1203
ALBERTA ANN KUHN TRUST
ALBERTA B IANNOTTI                                  530 SPRUCE AVENUE                                                                             PITMAN           NJ    08071‐2020
ALBERTA BEAVERS                                     PO BOX 513                                                                                    WENTZVILLE       MO    63385‐0513
ALBERTA BRYE                                        215 MONTEREY                                                                                  HIGHLAND PARK    MI    48203‐3422
ALBERTA BURNETTE                                    PO BOX 264                                                                                    SWAINSBORO       GA    30401‐0264
ALBERTA C BALLEW                                    2206 GARFIELD                                                                                 LEXINGTON        MO    64067‐1631
ALBERTA C FELL & HAROLD H FELLS                     PO BOX 43                                                                                     AYLETT           VA    23009‐0043
ALBERTA CAMERON LEMON                               233 LARCHMONT DRIVE                                                                           SAVANNAH         GA    31419‐9615
ALBERTA D DIXON                                     26003 CARLYSLE                                                                                INKSTER          MI    48141‐2619
ALBERTA D MELE‐WHITE                                184 MARKET STREET                                                                             CORTLAND         OH    44410‐1063
ALBERTA DIETZ TOD REGISTRATION                      BENEFICIARY FRANK L DIETZ           7601 CLINGAN RD                                           POLAND           OH    44514
ALBERTA E HAGYARD                                   19 BENSON AVENUE                                                                              WEST SENECA      NY    14224‐2601
ALBERTA E PARRISH                                   4457 LA VISTA RD                                                                              TUCKER           GA    30084
ALBERTA F LEWIS                                     10 BROOKLANDS CIR APT 3H                                                                      BRONXVILLE       NY    10708‐3532
ALBERTA FANDEL CUST KARL J FANDEL UTMA IL           214 WHISPERING OAKS DR                                                                        METAMORA         IL    61548‐9123
ALBERTA FRY BINNS                                   1035 ORILLA DEL MAR                                                                           SANTA BARBARA    CA    93103
ALBERTA G TOLLY TR TOLLY FAMILY TRUST UA 03/16/93   42608 GRANITE PLACE                                                                           PALM DESERT      CA    92260‐2225

ALBERTA HOLMES                                      2311 PASADENA                                                                                 DETROIT          MI    48238‐2989
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 59 of 850
Name                                             Address1                                Address2             Address3           Address4          City            State Zip

ALBERTA J DIETZ                                  4427 COTTON RUN RD                                                                                HAMILTON        OH    45011‐9656
ALBERTA J KILBOURNE                              26532 ETON                                                                                        DEARBORN HTS    MI    48125‐1313
ALBERTA J KOSTRY & MARSHA J NOVAK JT TEN         434 N LEWIS RUN RD                                                                                W MIFFLIN       PA    15122‐3024
ALBERTA J LINDSAY                                9646 BOUCHER RD                                                                                   OTTER LAKE      MI    48464‐9415
ALBERTA J MYLES                                  629 MAJESTIC DR                                                                                   DAYTON          OH    45427‐2827
ALBERTA J SWEET ALBERTA J SWEET TRUST NO 1 UA    17482 SMOKEY HOLLOW                                                                               TRAVERSE CITY   MI    49686‐8708
8/14/98
ALBERTA K WOLF & RONALD E WOLF JT TEN            708 TERRACE COURT                                                                                 TRENTON         OH    45067
ALBERTA KADLUBOSKI                               203 W BLANCKE ST                                                                                  LINDEN          NJ    07036‐5039
ALBERTA KORZENIEWSKI                             42000 7 MILE RD APT 108                                                                           NORTHVILLE      MI    48167‐2479
ALBERTA L CHAPPELL                               37 ROSSMORE RD                                                                                    LYNNFIELD       MA    01940‐1553
ALBERTA L HOLLIS                                 301 BLUE HERON CT                                                                                 MIDDLETOWN      DE    19709‐2213
ALBERTA L MILLER                                 1102 SLATER STEET                                                                                 TOLEDO          OH    43612‐2806
ALBERTA L THOMSON                                15 LISTWAN DR                           ST CATHARINES ON                        L2M 2W5 CANADA
ALBERTA L WERKMEISTER                            512 SUMMIT DR                                                                                     PT PLEASANT     NJ    08742‐2779
ALBERTA M COLBRY & NORMAN L COLBRY JT TEN        13926 BRAMBLE BRAE DR                                                                             GREGORY         MI    48137‐9655
ALBERTA M COLBRY CUST DIRK JOEL COLBRY UGMA MT   13926 BRAMBLE BRAE                                                                                GREGORY         MI    48137‐9655

ALBERTA M COLBRY CUST TRICIA MARLENE COLBRY       13926 BRAMBLE BRAE DRIVE                                                                         GREGORY         MI    48137‐9655
UGMA MI
ALBERTA M GOLDEY                                  16 GRACE AVENUE                                                                                  PENNSVILLE      NJ    08070‐1205
ALBERTA M HINKLE TR ALBERTA M HINKLE LIV TRUST UA 5571 NOEL ST                                                                                     LOUISVILLE      OH    44641
08/13/99
ALBERTA M LUKACS                                  10 FIRETHORN CIR                                                                                 RED BANK        NJ    07701‐6734
ALBERTA MAHAFFEY                                  1505 BENSON DR                                                                                   DAYTON          OH    45406‐4515
ALBERTA NATOLI                                    99 OLIVER RD                                                                                     BELMONT         MA    02478‐4622
ALBERTA NEELEY                                    PO BOX 38762                                                                                     DETROIT         MI    48238‐0762
ALBERTA OGLETREE                                  632 ELLSWORTH DRIVE                                                                              TROTWOOD        OH    45426‐2514
ALBERTA OXFORD                                    31 PATRIOTS DR                                                                                   CANTON          MA    02021‐3626
ALBERTA PILLOWS                                   9158 S PARNELL                                                                                   CHICAGO         IL    60620‐2317
ALBERTA R LARSON                                  RR 1 BOX 704                                                                                     CANADENSIS      PA    18325‐9759
ALBERTA ROOKSTOOL & CAROL HILLMAN & LAURA         1335 E FOX                                                                                       SO BEND         IN    46613‐3340
HILLMAN JT TEN
ALBERTA S RIDGE                                   C/O A VICTOR                           424 PARKWAY DR                                            PUEBLO WEST     CO    81007‐3641
ALBERTA SMITH                                     11501 HARTS RD APT 1606                                                                          JACKSONVILLE    FL    32218‐3745
ALBERTA SNELL                                     1256 VAN VLEET RD                                                                                SWARTZ CREEK    MI    48473‐9708
ALBERTA T HENDRICKSON                             1840 ROBIN WAY                                                                                   BETHLEHEM       PA    18018‐1461
ALBERTA TARANTINO                                 85 JULIETTE ST                                                                                   HOPELAWN        NJ    08861‐2252
ALBERTA TAYLOR                                    1539 MILITARY                                                                                    DETROIT         MI    48209‐2055
ALBERTA THERESA BANFIELD                          3069‐B VIA SERENA NORTH                                                                          LAGUNA WOODS    CA    92653‐0414
ALBERTA TROUT                                     295 VILLAGE LN                         APT 165                                                   GREENWOOD       IN    46143‐2470
ALBERTA W REEDY                                   620 WARNER ROAD                                                                                  BROOKFIELD      OH    44403‐9704
ALBERTA WALKER                                    308 VERONA RD                                                                                    DAYTON          OH    45417‐1329
ALBERTA WASHINGTON                                118 ROBINSON LN                                                                                  DELHI           LA    71232‐2626
ALBERTA WHITFORD                                  1760 JILL JANET ST                                                                               HARRISON        MI    48625‐8560
ALBERTA WILHELMI                                  5196 DELONG RD                                                                                   CASS CITY       MI    48726‐9353
ALBERTEEN TOLIVER                                 4456 S HILLCREST CIR                                                                             FLINT           MI    48506‐1452
ALBERTINA SAGE                                    64‐34 68TH AVE                                                                                   RIDGEWOOD       NY    11385‐4644
ALBERTINE BROWN                                   1905 SHERIDAN                                                                                    SAGINAW         MI    48601‐3608
ALBERTINO J SILVA                                 10 ALCOTT CT                                                                                     FREEHOLD        NJ    07728‐4306
ALBERTO A GOMEZ                                   83 GOUGH AVE                           TORONTO ON                              M4K 3N9 CANADA
ALBERTO A GOMEZ                                   83 GOUGH AVE                           TORONTO 279 ON                          M4K 3N9 CANADA
ALBERTO AMON                                      PO BOX 348                             15315 S CIR DR                                            BASEHOR         KS    66007‐9758
ALBERTO BARONE                                    111 GARTSHORE DR                       WHITBY ON                               L1P 1N8 CANADA
ALBERTO C FRAZAO                                  108 LAKE SHORE DR                                                                                LAKE HIAWATHA   NJ    07034‐2837
ALBERTO CABALLRO                                  2991 SE TIMBER DRIVE                                                                             ARCADIA         FL    34266
ALBERTO CARRERA PRIETO                            GM DE MEXICO                           LAGO VICTORIA #74    11520 MEXICO D F   MEXICO
ALBERTO CERRATO                                   8 CHAUCER CIRCLE                                                                                 MANCHESTER      NJ    08759
ALBERTO CRUZ                                      5290 YOUNG RD                                                                                    BELLEVUE        MI    49021‐9434
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 60 of 850
Name                                               Address1                            Address2                Address3        Address4            City             State Zip

ALBERTO DELCASTILLO                                14117 TRUMBALL                                                                                  WHITTIER         CA    90604‐2504
ALBERTO F CORREIA                                  3 LEAH LN                                                                                       MILFORD          MA    01757‐1276
ALBERTO F GUERRERO                                 35421 YOUNG DR                                                                                  CLINTON TWP      MI    48035‐2390
ALBERTO GARCIA CARMONA                             ZEBRUNO 455 HPCC                    DEL VISO PILAR          BUENOS AIRES    1669 ARGENTINA
ALBERTO GOMEZ                                      TEACOTALPAN 111 APT 1               MEXICO D F C P                          6760 MEXICO
ALBERTO HALPHEN                                    10803 MEADOWLEA RD                                                                              OWINGS MILLS     MD    21117‐3233
ALBERTO HASSAN                                     ATTN ALBERTO HASSAN SIVENSA         STE 700                 SDP INC         14505 COMMERCE WY   HIALEAH          FL    33016‐1597
ALBERTO HERNANDEZ                                  11266 HEWITT ST                                                                                 SAN FERNANDO     CA    91340‐3810
ALBERTO J MORALES                                  20211 HILL SPRINGS RD                                                                           WILDOMAR         CA    92595‐8161
ALBERTO LANZA                                      717 GARY LN                                                                                     EL PASO          TX    79922‐2205
ALBERTO LEVEN JR                                   759 WOODLAWN                                                                                    OWOSSO           MI    48867‐4628
ALBERTO M AGUIRRE                                  1140 MASSACHUSETTS                                                                              RIVERSIDE        CA    92507‐2839
ALBERTO M OJEDA                                    3440 SW 129TH AVENUE                                                                            MIAMI            FL    33175‐2720
ALBERTO MANETTA CUST KATHERINE MANETTA UGMA        91 MURASAKI ST                                                                                  IRVINE           CA    92617‐4088
PA
ALBERTO MEZA JR                                    1615 N 75TH DR                                                                                  KANSAS CITY      KS    66112‐2201
ALBERTO N REGINALDO & NIEVES A REGINALDO JT TEN    4881 EAST STRONG CT                                                                             ORCHARD LAKE     MI    48323‐1578

ALBERTO PARDO                                      4517 MAHAN                                                                                      EATON RAPIDS     MI    48827‐9043
ALBERTO R CORTEZ                                   9865 COLMAN RD                                                                                  HASLETT          MI    48840‐9328
ALBERTO RAMIREZ                                    424 KINAIRD AVE                                                                                 FORT WAYNE       IN    46807
ALBERTO REJMAN                                     35638 FREDERICKSBURG RD                                                                         FARMINGTN HLS    MI    48331‐2567
ALBERTO TRAJTENBERG                                FLORIDA 375 6TH FL                  C1005AAG BUENOS AIRES                   ARGENTINA
ALBERTO VILLARREAL                                 2118 BONNIE LN                                                                                  FOREST GROVE     OR    97116‐8637
ALBERTS ANCANS                                     1721 LENOZA TERRACE NW                                                                          GRAND RAPIDS     MI    49504‐4944
ALBERTUS BYSTERBUSCH                               701 BRIDLE WAY                                                                                  FRANKLIN LAKES   NJ    07417‐1501
ALBIN A STACHURA                                   614 71ST ST                                                                                     NIAGARA FALLS    NY    14304‐2222
ALBIN B ONEAL                                      17367 WAX RD                                                                                    GREENWEL SPGS    LA    70739
ALBIN BAUER                                        909 HANSON ST                                                                                   NORTHWOOD        OH    43619‐1723
ALBIN BIZILJ & LJUDMILA BIZILJ JT TEN              268 ERATH DR                                                                                    ROCHESTER        NY    14626‐1929
ALBIN J GORECKI & MRS MARY C GORECKI JT TEN        20 YARD RD                                                                                      PENNINGTON       NJ    08534‐3905
ALBIN J JANOVSKY                                   4412 CENTER AVE                                                                                 LYONS            IL    60534‐1922
ALBIN J LINGA                                      27 HAYNES ST                                                                                    WORCESTER        MA    01603‐2625
ALBIN K STACK II                                   909 REEF RD                                                                                     LOCKPORT         IL    60441‐2501
ALBIN R PINA JR                                    997 POINT RD                                                                                    MARION           MA    02738‐1118
ALBIN V GLAZA                                      1420 FRASER                                                                                     BAY CITY         MI    48708‐7958
ALBINA JAMSEK                                      24622 SURREY CIRCLE                                                                             CLEVELAND        OH    44145‐4956
ALBINA LEVINE TR ALBINA LEVINE TRUST UA 04/25/95   217‐10 132 RD                                                                                   SPRINGFIELD      NY    11413‐1517
                                                                                                                                                   GARDEN
ALBINA MAKOWSKI & HANNA STELMAN JT TEN             7323 CARSON RD                                                                                  YALE             MI    48097‐3623
ALBINA RAIK                                        #335                                4 GATEWAY DR                                                EUCLID           OH    44119‐2455
ALBINA SKALA                                       2529 STONY BROOK LN                                                                             CLEARWATER       FL    33761‐2576
ALBINA SUBACH TR UA 08/20/2007 ALBINA M SUBACH     3620 SOUTH 57TH AVE                                                                             CICERO           IL    60804
TRUST
ALBINA V ARIETTA TR SURVIVOR'S TRUST UA 09/29/95   287 CHRISTOPHER DR                                                                              SAN FRANCISCO    CA    94131‐1101

ALBINA VYSNIAUSKAS                                 4129 MERRIFIELD CT                                                                              SUNNY HILLS      FL    32428‐3044
ALBINAS ZIURINSKAS & BRENDA E ZIURINSKAS JT TEN    32109 BARTON                                                                                    GARDEN CITY      MI    48135‐1292

ALBINO B FERREIRA                                  94 SPRUCE STE                                                                                   MILFORD          MA    01757‐1701
ALBINO E ALCANTARA                                 897 MUIRFIELD AVE APT S                                                                         SIMI VALLEY      CA    93065‐5638
ALBINO E PINA JR                                   309 COLONEL THOMAS HEYWARD RD                                                                   OKATIE           SC    29909‐5032
ALBINO SEBOLAO & IDALINA SEBOLAO JT TEN            15 HART PLACE                                                                                   UNION            NJ    07083‐3923
ALBINO VOLPI & EUNICE VOLPI JT TEN                 1715 UNION AVE                                                                                  ASHTABULA        OH    44004‐2465
ALBION J MOQUIN                                    150 FAIRFIELD ST                                                                                BRISTOL          CT    06010‐3621
ALBRECE HODGES                                     25681 YUCCA VALLEY RD                                                                           VALENCIA         CA    91355‐2438
ALBRECHT KOCH                                      WALDSTRASSE 79                      64569 NAUHEIM                           GERMANY
ALCARO & ALCARO PLATING CO                         C/O ANTHONY ALCARO                  1112 PINE ST                                                MONCLAIR         NJ    07042
ALCEE H ALFRED                                     PO BOX 25856                                                                                    SAINT LOUIS      MO    63136‐0856
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 61 of 850
Name                                            Address1                              Address2             Address3           Address4          City             State Zip

ALCHANA L PHILLIPS & REBECCA J HEERES JT TEN    1322 WAVERLY AVE                                                                                GRAND HAVEN      MI    49417‐2255
ALCIDES ALBARRAN                                6 LENORA AVE                                                                                    MORRISVILLE      PA    19067‐1206
ALCIDES RIBEIRO                                 9712 CHARLESTON DRIVE                                                                           SHREVEPORT       LA    71118‐4206
ALCIDES RIVERA                                  3704 MARVIN AV                                                                                  CLEVELAND        OH    44109‐2141
ALCINO J GONCALVES                              150 EDGEWATER DR                                                                                FRAMINGHAM       MA    01702‐5617
ALCIRA ALBERS                                   1641 ARBOR DRIVE                                                                                REDLANDS         CA    92373‐7177
ALDA AZEVEDO                                    8 SAGE RD                                                                                       PAWLING          NY    12564‐2007
ALDA B KENDELL                                  33616 MILL CREEK RD                                                                             BELLEVUE         IA    52031‐9143
ALDA E BEACH                                    C/O ALDA BEACH ABBOTT                 8533 SCARLETT DR                                          BATON ROUGE      LA    70806‐8525
ALDA EVANGELISTI & LINDA JOHNSON JT TEN         2333 W 24TH ST                                                                                  CHICAGO          IL    60608‐3807
ALDA F TREVINO                                  3201 KENRICK                                                                                    KEEGO HARBOR     MI    48320‐1232
ALDA L SMITH                                    503 S SAGINAW ST                      STE 1000                                                  FLINT            MI    48502‐1822
ALDA M NOFTSINGER TR ALDA M NOFTSINGER          6 MIST FLOWER RD                                                                                BERLIN           MD    21811‐1697
REVOCABLE TRUST UA 05/18/01
ALDA N CARLISLE                                 238 N HIGHSCHOOL RD                                                                             INDIANAPOLIS     IN    46214‐3847
ALDA WARNAGIRIS                                 551 CRANBURY RD                       APT 460                                                   E BRUNSWICK      NJ    08816‐4067
ALDEN A ROGGOW                                  13555 SWAN CREEK RD RT 1                                                                        HEMLOCK          MI    48626‐9797
ALDEN A ROGGOW & CAROLINE ROGGOW JT TEN         13555 SWAN CREEK RD RT 1                                                                        HEMLOCK          MI    48626‐9797
ALDEN ANDERSON EX EST BERTIL C ANDERSON         166 EIGHT LOTS RD                                                                               SUTTON           MA    01590‐1225
ALDEN BADERSHALL & JANE BADERSHALL JT TEN       361 BLUFF RD                                                                                    NORTHPORT        ME    04849‐4202
ALDEN C CAMPBELL & RHODA M CAMPBELL TEN ENT     36 ROBINSON RD                                                                                  SEVERNA PARK     MD    21146‐2846

ALDEN C WARDER & CARI ANNE WARDER JT TEN        7178 SOARING HAWK CT                                                                            LAS VEGAS        NV    89113‐0232
ALDEN CALDWELL                                  20 CALDWELL RD                                                                                  KELSO            TN    37348‐6138
ALDEN E HANSON & FLORA M HANSON JT TEN          BOX 207                                                                                         CATAUMET         MA    02534‐0207
ALDEN E HAYDEL II                               2450 E CLEVELAND                                                                                ASHLEY           MI    48806‐9737
ALDEN J MARSHALL                                3477 OREGON TRL                                                                                 DECATUR          GA    30032‐6026
ALDEN L BREWBAKER                               2183 BIG CYPRESS BL                                                                             LAKELAND         FL    33810‐2309
ALDEN L CASSITY                                 22 HILLTOP DR                                                                                   DANVILLE         IN    46122‐1334
ALDEN M LORING TR ALDEN M LORING LIVING TRUST   PO BOX 1989                                                                                     BROOKINGS        OR    97415‐0065
UA 09/12/91
ALDEN M PAGE                                    41980 N COYOTE RD                                                                               QUEEN CREEK      AZ    85242‐9851
ALDEN M TENEYCK                                 PO BOX 172                                                                                      WINTHROP         NY    13697‐0172
ALDEN N SMITH                                   C/O DARLENE SMITH                     914 COMMERCIAL                                            WARSAW           MO    65355‐1435
ALDEN S PRICE IV                                24 GLEN RIDDLE RD                                                                               MEDIA            PA    19063‐5307
ALDEN SHERMAN PRICE III CUST ALDEN S PRICE IV   24 GLEN RIDDLE RD                                                                               MEDIA            PA    19063‐5307
UGMA PA
ALDEN SHERMAN PRICE III CUST BENJERMAN SCOTT    24 GLEN RIDDLE RD                                                                               MEDIA            PA    19063‐5307
PRICE UGMA PA
ALDEN W SEARS & DONNA SEARS JT TEN              509 1ST ST                                                                                      KALKASKA         MI    49646‐9482
ALDEN W THOMAS                                  1115 S 75TH ST                                                                                  KANSAS CITY      KS    66111‐3283
ALDENE R MUHSTADT                               11351 AARON DR                                                                                  CLEVELAND        OH    44130‐1264
ALDINE G FINLEY                                 3264 LOCKPORT‐OLCOH RD                                                                          NEWFANE          NY    14108‐9604
ALDINE L CECH                                   206 WALTHAM ST                        APT 117                                                   WEST NEWTON      MA    02465‐1751
ALDINE V TOLLIVER                               3446 KENSINTON                                                                                  KANSAS CITY      MO    64128‐2130
ALDIS LAYTON GUNN                               C/O BEVERLY A CASH                    1069 FROGS LEAP                                           CICERO           IN    46034
ALDIS R RAYMOND JR                              1215 PLANTATION LAKES CIR                                                                       CHESAPEAKE       VA    23320‐8109
ALDO ANTHONY MORETTI                            BOX 114                                                                                         DEARBORN HGTS    MI    48127‐0114
ALDO B CHECCOBELLI                              28661 BAYBERRY CT E                                                                             LIVONIA          MI    48154‐3869
ALDO B COULTAS JR                               14 PINE AVE                                                                                     MADISON          NJ    07940‐1119
ALDO DEL TURCO                                  115 CASTLE RIDGE DRIVE                                                                          EAST HANOVER     NJ    07936‐3556
ALDO E BOBST                                    VIA BERTONI 1                         6903 LUGANO                             SWITZERLAND
ALDO F DI VINCENZO                              38 FORESTBROOK CT                                                                               GETZVILLE        NY    14068‐1405
ALDO J PERLOT                                   473 WOOD HILL RD                                                                                CHESHIRE         CT    06410‐4334
ALDO L MARTIN & SUSAN M MARTIN JT TEN           16578 WEATHERFIELD DR                                                                           NORTHVILLE TWP   MI    48167‐2324
ALDO L MILLER                                   5817 STATE ROUTE 123                                                                            FRANKLIN         OH    45005‐4631
ALDO L SCALZILLI                                2805 OAKTON MILL                                                                                OAKTON           VA    22124‐1641
ALDO MARIO MELILLO                              17145 SAN MATEO ST                    APT C                                                     FOUNTAIN VLY     CA    92708‐3687
ALDO O ALLEGREZZA                               91 PURCHASE ST                                                                                  MILFORD          MA    01757‐1152
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                      Part 1 of 8 Pg 62 of 850
Name                                              Address1                            Address2             Address3               Address4                 City             State Zip

ALDO PEREZ & MARIA I PEREZ JT TEN                 14041 LAKE SARANAC AVE                                                                                   MIAMI LAKES      FL    33014‐3059
ALDO W COOPER                                     RT 1 BOX 100                                                                                             BELLE            MO    65013‐9722
ALDOROTHY HUTCHERSON                              19140 ASBURY PARK                                                                                        DETROIT          MI    48235‐2401
ALDRED G SHEPARD                                  10133 ROMAINE                                                                                            ROMULUS          MI    48174‐3982
ALDRED L HELLMICH TR ALDRED L HELLMICH TRUST UA   103 HOLLY DRIVE                                                                                          WEBSTER GROVES   MO    63119‐4638
02/15/99
ALDRED L YARNALL                                  2485 BROOKDALE DR                                                                                        SPRINGFIELD      OH    45502‐8519
ALDRICH G COVERT CUST DREW A COVERT UGMA MI       4110 HAILEY DR                                                                                           SAINT JOSEPH     MI    49085‐9535

ALDUAYNE M JOHNSON                                1320 PALMER LANE                                                                                         PALM HARBOR      FL    34685‐1816
ALEAN BLAKE                                       1016 S 3RD AVE                                                                                           MAYWOOD          IL    60153‐2241
ALEASE D KARNAZES                                 1042 ROANOKE AVE                                                                                         CHARLOTTE        NC    28205‐6336
ALEASSA J SCHAMBERS                               141 N CHARLES AVE                                                                                        VILLA PARK       IL    60181‐2354
ALEATHA M ELSEY                                   14300 E MARINA DR APT 601                                                                                AURORA           CO    80014‐3765
ALEC C LUDWIG                                     3988 QUAIL HILL COURT                                                                                    BOISE            ID    83703
ALEC E GORES                                      10877 WILSHIRE BL                   APT 1805                                                             LOS ANGELES      CA    90024‐4373
ALEC G CHOLOK                                     10736 BREWER HOUSE RD                                                                                    ROCKVILLE        MD    20852‐3421
ALEC JACKSON                                      5200 IRVINE BLVD SPC 329                                                                                 IRVINE           CA    92620‐2067
ALEC M HORVATH                                    405 EDWARD PL                                                                                            MAMRONECK        NY    10543‐2902
ALEC M LEWIS                                      18518 RUSHBROOKE DR                                                                                      OLNEY            MD    20832‐3147
ALEC UNVERZAGT                                    7445 ETIWANDA AVE                                                                                        RESEDA           CA    91335‐3109
ALEC UNVERZAGT & MARTHA L UNVERZAGT JT TEN        7445 ETIWANDA AVE                                                                                        RESEDA           CA    91335‐3109

ALECIA A CREASAP                                  1700 WESTWOOD DR                                                                                         LEWIS CENTER     OH    43035‐6098
ALECK BRAILSFORD CUST AIDEN BRAILSFORD UTMA FL    15728 SW 49TH CT                                                                                         MIRAMAR          FL    33027‐4936

ALEE FOSTER                                   5706 LANTANA AVE                                                                                             CINCINNATI       OH    45224‐3014
ALEE W GOULD                                  38 HEATH DR NW                                                                                               WARREN           OH    44481‐9001
ALEEN M ENGELSMAN & MARVIN J ENGELSMAN JT TEN 1925 W 14 MILE                                                                                               ROYAL OAK        MI    48073‐1412

ALEGRA ABADI CUST MAX ABADI UGMA NY               CARRERA 39 #164‐13                  BOGOTA               SOUTH AMERICA          COLOMBIA
ALEGRA VICTORIA MOLLET                            105‐30 66TH AVE                     APT 5‐G                                                              FOREST HILLS     NY    11375‐2170
ALEJANDRA NETT                                    1400 WAGNER ST                                                                                           HOUSTON          TX    77007‐3722
ALEJANDRIN MIRELES                                2629 W 22ND PL                                                                                           CHICAGO          IL    60608‐3516
ALEJANDRO A MANZANARES & MARIE L ERWIN JT TEN     7371 20 1/2 AVE                                                                                          LEMOORE          CA    93245‐9608

ALEJANDRO B PARDO                                2849 EL ROBLE DR                                                                                          EAGLE ROCK       CA    90041‐1803
ALEJANDRO CARDOSA JR                             3976 21ST                                                                                                 DORR             MI    49323‐9546
ALEJANDRO E RODRIGUEZ                            2052 MENDOTA WAY                                                                                          SAN JOSE         CA    95122‐1739
ALEJANDRO F HERNANDEZ                            2295 FABIAN DR                                                                                            SAGINAW          MI    48603‐3614
ALEJANDRO G RIVERA                               3206 GLACIER DR                                                                                           LAKE ORION       MI    48360‐1038
ALEJANDRO G SALAZAR                              1735 MARY AVE                                                                                             LANSING          MI    48910‐5210
ALEJANDRO J PEREZ                                1036 WATERSMEET DR                                                                                        OXFORD           MI    48371‐6618
ALEJANDRO LIPIEJKO                               12263 WOODLEY AVE                                                                                         GRANADA HILLS    CA    91344‐2848
ALEJANDRO MARTINEZ                               2252 CALLEJON CHECO                                                                                       SAN JUAN         PR    00915‐2544
ALEJANDRO MARTINEZ                               GENERAL MOTORS EUROPE IS&S           150 BATH ROAD        MAIDENHEAD BERKSHIRE   SL6‐ 4LB GREAT BRITAIN
ALEJANDRO MEDARO JR                              210 EAST SOUTH STREET                                                                                     MONROEVILLE      IN    46773‐9398
ALEJANDRO MORENO                                 1040 MARINER DR                                                                                           KEY BISCAYNE     FL    33149‐2474
ALEJANDRO N ZELAYA & MYRNA A ZELAYA JT TEN       7615 W ARCADIA                                                                                            MORTON GROVE     IL    60053‐1606
ALEJANDRO S REGUEIRO                             9194 WALTHAM ST                                                                                           WHITE LAKE       MI    48386‐1578
ALEJANDRO U ACOSTA                               2420 SW 103                                                                                               OKLAHOMA CITY    OK    73159
ALEJANDRO V MONTOYA                              12333 83 RD AVE APT 2702                                                                                  KEW GARDENS      NY    11415
ALEJANDRO VILLANUEVA                             PO BOX 404                                                                                                VERMONTVILLE     MI    49096‐0404
ALEJANDRO VILLANUEVA & BEVERLY SUE VILLANUEVA JT PO BOX 404                                                                                                VERMONTVILLE     MI    49096‐0404
TEN
ALEJO C HERNANDEZ                                8811 CANOGA BLVD SP 205                                                                                   CANOGA PARK      CA    91304‐1504
ALEJO CATALAN                                    CEJADOR FRAUCA 3                     CASA 20              ZARAGOZA               50006 SPAIN
ALEKSANDAR MATEIEVIC                             8061 WHITTAKER                                                                                            DETROIT          MI    48209‐1528
ALEKSANDER RUB & MARIA J RUB JT TEN              17686 WESTBROOK DR                                                                                        LAVONIA          MI    48152‐2740
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 63 of 850
Name                                          Address1                            Address2                  Address3      Address4          City              State Zip

ALEKSANDR FRIDMAN                             14221 SUNBURY                                                                                 LIVONIA           MI    48154‐4582
ALEKSANDR GORBACH C/O ICN HOLDING US          420 LEXINGTON AVE RM 412                                                                      NEW YORK          NY    10170
INTERNATIONAL
ALEKSANDRA MULLER                             290 SAUNDERS RD                                                                               LAKE FOREST       IL    60045‐2575
ALENA PETERSON                                PO BOX 1828                                                                                   SYKESVILLE        MD    21784‐1820
ALENE B JONES                                 351 N MERIDAN RD #8                                                                           APACHE JUNCTION   AZ    85220‐3654

ALENE C FLORES                                  906 OLD MAIN ST                                                                             MIAMISBURG        OH    45342‐3139
ALENE FITE                                      4261 BEXAR AVE E                                                                            HAMILTON          AL    35570‐4624
ALENE G DAVIS                                   319 WEST E ST                                                                               CHASE CITY        VA    23924‐1801
ALENE PUCKETT                                   5381 ORMAND RD                                                                              DAYTON            OH    45449‐2707
ALENE R MCINTYRE                                329 S SEVENTH ST                                                                            ANN ARBOR         MI    48103‐4377
ALENE T CLARK                                   16300 HOLLYWOOD ST                                                                          ROMULUS           MI    48174‐3116
ALENE WILLIAMS & JERRY E WILLIAMS JT TEN        PO BOX 204                                                                                  PRAGUE            OK    74864‐0204
ALESIA BROWN ADAMS                              5204 7TH AVE S                                                                              BIRMINGHAM        AL    35212‐3906
ALESIA J BALL & DON E BALL JT TEN               210 SW BOWSER                                                                               MONTICELLO        AR    71655
ALESIA J ELMORE                                 7444 NETT                                                                                   DETROIT           MI    48213‐1062
ALESIA K VOLK                                   870 WESTGATE DR                                                                             ANDERSON          IN    46012‐9245
ALESIA L KELLY                                  ATTN ALESIA L KELLY NUNN          23561 SCOTIA                                              OAK PARK          MI    48237‐2158
ALESIA TOLSON                                   4256 MEADE ST NE                                                                            WASHINGTON        DC    20019‐1977
ALETA COLLINS BURLEY                            320 PARK TERR                                                                               ELBERON           NJ    07740‐4563
ALETA E COLLINS                                 C/O MRS A M BURLEY JR             320 PARK TERR                                             ELBERON           NJ    07740‐4563
ALETA G CHEUVRONT                               279 DIXON CT                                                                                COLUMBUS          OH    43214‐2740
ALETA JACKSON                                   1509 44TH AVE N                                                                             MINNEAPOLIS       MN    55412‐1201
ALETA O O'NEAL                                  20245 HUNTINGTON                                                                            DETROIT           MI    48219‐1413
ALETA SMITH JOHNSON & GUY J JOHNSON JR TR UW OF PO BOX 9741                                                                                 NEWARK            DE    19714‐9741
GUY J JOHNSON
ALETA V SAWCZYN                                 ATTN ALETA V NICHOLS              215 SE 3RD AVE APT 502A                                   HALLANDALE        FL    33009‐5672
ALETHA FOLLAND GLOEGE                           30153 HUNT RD                                                                               SEBEKA            MN    56477‐9802
ALETHA J BOLCAVAGE                              127 POPLAR STREET                                                                           CARTERET          NJ    07008‐1626
ALETHA J LEHMAN                                 4102 N PINE DELL DR                                                                         LANSING           MI    48911
ALETTA A HOLMES & CHARLES A HOLMES JT TEN       18910 BECK RD                                                                               NORTHVILLE        MI    48168
ALETTA BLOOM                                    93 WOODSTOCK AVE                                                                            PALENVILLE        NY    12463‐2531
ALEX A DE RANGO                                 1022 GRACE DR                                                                               MT PROSPECT       IL    60056
ALEX A ROCCO & SHIRLEY S ROCCO JT TEN           14 BELLITA DRIVE                                                                            PUEBLO            CO    81001‐1403
ALEX B MERSON                                   9700 AUDUBON PL                                                                             DALLAS            TX    75220‐2011
ALEX B SAWYER                                   1373 HIGHLAND MEADOWS DRIVE                                                                 FLINT             MI    48532‐2038
ALEX BARBA                                      2745 LATHROP RD                                                                             SYLVANIA          OH    43558‐8948
ALEX BASCH & JUDY BASCH RUTTER JT TEN           10 SUSSEX PL                                                                                JACKSON           NJ    08527‐1275
ALEX BASCH & ZILA BASCH JT TEN                  10 SUSSEX PL                                                                                JACKSON           NJ    08527
ALEX BEACH                                      2015 DIETZ NW                                                                               ALBUQUERQUE       NM    87107‐3240
ALEX BEARD                                      163 S AIRPORT RD                                                                            SAGINAW           MI    48601‐9459
ALEX BIZEM                                      PO BOX 252                                                                                  BUFFALO           NY    14207‐0252
ALEX BOROS                                      12091 DAVISON RD                                                                            DAVISON           MI    48423‐8103
ALEX BRAITMAN                                   10861 LEXINGTON DR                                                                          INDIANAPOLIS      IN    46280‐1158
ALEX BRAND                                      APT 210                           5200 W OAKTON ST                                          SKOKIE            IL    60077‐3624
ALEX BROWN                                      25622 PRESIDIO ALLEY                                                                        BOERNE            TX    78015
ALEX C MARINOS & SYLVIA MARINOS JT TEN          2401 INDIAN KEY DR                                                                          HOLIDAY           FL    34691‐7815
ALEX C SHAW                                     15426 LOWELL RD                                                                             LANSING           MI    48906‐9393
ALEX D ALSTON                                   11035 BIEGELOW RD                                                                           DAVISBURG         MI    48350‐1831
ALEX D BIRKHOLZ                                 468 GRAND AVE                                                                               NEW RICHMOND      WI    54017‐2220
ALEX D CARMON                                   888 KELTON                                                                                  COLUMBUS          OH    43206‐1720
ALEX D JOHNSON                                  19 GREENWOOD AVE                                                                            BUFFALO           NY    14218‐2130
ALEX D KOVACH & MARLENE S KOVACH JT TEN         2800 MCMACKIN RD                                                                            MADISON           OH    44057‐2323
ALEX D PATTERSON                                426 ALMOND DRIVE                                                                            LAKE WORTH        FL    33461‐3801
ALEX D'ANGELO                                   3715 EAST AVENUE                                                                            ROCHESTER         NY    14618‐3522
ALEX DAVIDSON                                   261 LIVINGSTON CT                                                                           HAMILTON          OH    45013‐6353
ALEX DENNIS IDERAN                              BOX 642                                                                                     KASILOF           AK    99610‐0642
ALEX E EDWARDS                                  269 OLD JACKSON HY                                                                          JACKSON           SC    29831‐2916
                                               09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 64 of 850
Name                                             Address1                           Address2              Address3          Address4           City                State Zip

ALEX E GRUENING                                  749 RD 3E                          KINGSVILLE ON                           N9Y 2E5 CANADA
ALEX E GRUENING                                  749 RD 3E RR 2                     KINGSVILLE ON                           N9Y 2E5 CANADA
ALEX E PROTASIEWICZ CUST ERIK H PROTASIEWICZ     5 SILVER FOX                                                                                  FAIRPORT            NY    14450‐8663
UGMA NY
ALEX E WISNIEWSKI                                201 GREEN HOLLY RD                                                                            MILLSBORO           DE    19966‐9738
ALEX ECKERDT                                     PO BOX 146                                                                                    SWARTZ CREEK        MI    48473
ALEX ECKERDT & MARION ECKERDT JT TEN             PO BOX 146                         4420 SPRINGBROOK DR   SWARTZCREEK                          SWARTZ CREEK        MI    48473
ALEX ECKERDT JR & MARION A ECKERDT JT TEN        PO BOX 146                                                                                    SWARTZ CREEK        MI    48473‐0146
ALEX F GULARSKI                                  20531 GAYLORD                                                                                 RDFD TWP            MI    48240‐1133
ALEX F JOHNS                                     6423 E 700 S                                                                                  JONESBORO           IN    46938‐9721
ALEX F PASTOR                                    407 E FLINT ST                                                                                DAVISON             MI    48423‐1220
ALEX FERGUSON                                    7933 S DANTE                                                                                  CHICAGO             IL    60619‐4618
ALEX FIELDER JR & MRS BETTY J FIELDER JT TEN     5950 AMBASSADOR DR                                                                            FAIRFIELD           OH    45014‐4602
ALEX FLOREZ                                      1840 KENNETH LANE                                                                             CHOCTAW             OK    73020‐6495
ALEX FUNKE                                       1176 FISKE STREET                                                                             PACIFIC PALISADES   CA    90272‐3845

ALEX G ALEXANDER & MARTHA ALEXANDER JT TEN       702 MAIN ST                        PO BOX 421                                                 WEST RUTLAND        VT    05777‐0421

ALEX G HUDY                                      10269 STARK                                                                                   LIVONIA             MI    48150‐2619
ALEX G PERAKIS                                   12941 N PIONEER WAY                                                                           TUCSON              AZ    85737‐1732
ALEX H BENGIE                                    802 BLAINE                                                                                    PONTIAC             MI    48340‐2404
ALEX H GILGINAS & LEONA GILGINAS TEN ENT         61947 MIRIAM DR                                                                               WASHINGTON          MI    48094‐1428
ALEX H MAC WILLIAM CUST DINA E MAC WILLIAM       2127 BRICK SCHOOLHOUSE RD                                                                     HILTON              NY    14468‐9109
UGMA NY
ALEX H MCCLELLAND                                18320 SOUTH STEEL ROAD                                                                        HENDERSON           MI    48841‐9508
ALEX H STEPHENS 3RD                              3910 NEREIS DRIVE                                                                             LA MESA             CA    91941‐8018
ALEX H YOVANOVICH                                450N                               5481 E COUNTY RD                                           BROWNSBURG          IN    46112‐9773
ALEX HAUSLER                                     BETSCHARTMATTE 27                  ALTDORF                                 6460 SWITZERLAND
ALEX HOLLINS                                     4171 FLAKES MILL MANOR LN                                                                     ELLENWOOD           GA    30294‐1498
ALEX INDIK & MARCEL INDIK JT TEN                 753 1/2 N SYCAMORE AVE                                                                        LOS ANGELES         CA    90038‐3300
ALEX IWASZCZENKO                                 18 HICKORY CIR                                                                                BARNEGAT            NJ    08005‐2215
ALEX J ANTONIK                                   1306 KEMPTON DRIVE                                                                            LIBERTYVILLE        IL    60048‐5216
ALEX J BACSIK & MARIETTA BACSIK JT TEN           716 HUNTINGTON DR                                                                             LITTLETON           CO    80126
ALEX J BELL                                      36333 GARFIELD RD                  APT 218                                                    CLINTON TWP         MI    48035‐1181
ALEX J BERG                                      7528 N 50W                                                                                    LIZTON              IN    46149
ALEX J CARIAGA                                   5236 WEST AVE M                                                                               QUARTZ HILL         CA    93536‐3013
ALEX J DISTEL & MARGARET E DISTEL JT TEN         1180 KEMPER                                                                                   BLOOMFIELD HILLS    MI    48302‐0147

ALEX J JACYNA & MRS HENRIETTA JACYNA JT TEN      4541 N KOSTNER                                                                                CHICAGO             IL    60630‐4109
ALEX J KOFFMAN & REGINA J KOFFMAN JT TEN         W2863 MIDDLE RD                                                                               CAMPBELLSPORT       WI    53010‐1606
ALEX J LEPRO                                     5205 BRIGHT‐BALDWIN RD                                                                        NEWTON FALLS        OH    44444‐9431
ALEX J VAIDO                                     22710 W CEDAR ST                                                                              CURTICE             OH    43412‐9634
ALEX KAST & KIRA KAST JT TEN                     111 ANDOVER‐SPARTA RD                                                                         NEWTON              NJ    07860‐9755
ALEX KATSINIS                                    159 PATTON PL                                                                                 BUFFALO             NY    14221‐3757
ALEX KING                                        192 SHERWOOD AVE                                                                              ROCHESTER           NY    14619‐1112
ALEX KOSTOFF & ANGIE KOSTOFF JT TEN              1922 WHITEFIELD                                                                               DEARBORN HTS        MI    48127‐3421
ALEX KOZAKOWSKI                                  PO BOX 324                                                                                    LONG LAKE           MI    48743‐0324
ALEX KRASZEWSKI                                  507 BECKER AVE                                                                                WILMINGTON          DE    19804‐2103
ALEX KUBIK                                       8539 MORNING SKYE WAY                                                                         ANTELOPE            CA    95843
ALEX L JOHNSON                                   300 NE HIDDEN VALLEY WAY                                                                      LEES SUMMIT         MO    64064‐1268
ALEX L PETERMAN                                  3381 E MAPLE RD                                                                               BURTON              MI    48529‐1815
ALEX L WINSTEAD                                  774 HWY 852                                                                                   RAYVILLE            LA    71269‐6018
ALEX LLAMAS                                      1381 PALM AVENUE SPC 49                                                                       SAN DIEGO           CA    92154‐1053
ALEX M FANGONILO                                 2542 GLEN DUNDEE WAY                                                                          SAN JOSE            CA    95148‐4134
ALEX M PAPPAS CUST DAVID A PAPPAS UGMA MA        3 HICKORY LANE                                                                                AUBURN              MA    01501‐2307
ALEX M RODOLAKIS                                 83 BLANTYRE AVE                                                                               CENTERVILLE         MA    02632‐3005
ALEX M SARAFIAN                                  16810 WAYNE RD                                                                                LIVONIA             MI    48154‐2217
ALEX MEDER JR                                    34712 S DIX POINT RD                                                                          DRUMMOND            MI    49726‐9465
                                                                                                                                               ISLAND
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 65 of 850
Name                                                Address1                             Address2             Address3           Address4          City              State Zip

ALEX METZGER & ROBERTA METZGER JT TEN               4631 CATAMARAN CIR                                                                             BOYNTON BEACH     FL    33436‐1549
ALEX MILLER                                         173 ALEXANDER CIRCLE                                                                           COLUMBIA          SC    29206‐4957
ALEX MOHAMMED                                       137 GALEWOOD CIR                                                                               SAN FRANCISCO     CA    94131‐1131
ALEX MOORE                                          291 S ANDERSON                                                                                 PONTIAC           MI    48342‐3201
ALEX MOSKIOS                                        3525 MOYLAN DR                                                                                 BOWIE             MD    20715‐2924
ALEX MURCHISON                                      100 ASHLEY DR                                                                                  FAYETTEVILLE      GA    30214‐3742
ALEX N NOVAK & MARY NOVAK JT TEN                    4216 DEER RUN CT                                                                               MAUMEE            OH    43537‐8877
ALEX NEMET                                          5070 FARIVIEW ST UNIT 110            BURLINGTON ONT ON                       L7L 0B8 CANADA
ALEX ORLYK TOD LINDA J RIEMER SUBJECT TO STA TOD    145 COLUMBIA AVE                     APT 308                                                   HOLLAND           MI    49423‐2984
RULES
ALEX P CECE                                         15803 EDMORE                                                                                   DETROIT           MI    48205‐1430
ALEX P HERRINGTON JR                                2008 ROUND RIDGE ROAD                                                                          LOUISVILLE        KY    40207‐1135
ALEX P TYWLAK & LORRAINE MARIE TYWLAK JT TEN        18886 COMSTOCK                                                                                 LIVONIA           MI    48152‐2858

ALEX PALMER ROE                                     1906 HANDLEY                                                                                   SAGINAW           MI    48602‐3665
ALEX R BAKSA JR & DOROTHY E BAKSA TR ALEX R BAKSA   584 HILLIARD RD                                                                                ELYRIA            OH    44035‐3739
JR TRUST UA 04/04/00
ALEX R RAMIREZ                                      3865 GOLDEN HORN LANE                                                                          FORT WORTH        TX    76123‐2561
ALEX RACHEL                                         122 RED HILL RD                                                                                GLEN GARDNER      NJ    08826
ALEX ROBINS & PEGGY ROBINS JT TEN                   902 VELMA LANE                                                                                 MURFREESBORO      TN    37129‐2368
ALEX ROSENFELD                                      18260 NE 19TH AVENUE                                                                           N MIAMI BEACH     FL    33162‐1632
ALEX ROZENTULLER                                    25 FOREST ST 12F                                                                               STAMFORD          CT    06901‐1851
ALEX RUSKOWSKI                                      RR #2 16600 RT 48                                                                              CUTCHOGUE         NY    11935
ALEX S FEDAK                                        4787 N 9 MILE RD                                                                               PINCONNING        MI    48650‐8941
ALEX S SALTER                                       316 FLYNN RD                                                                                   MEMPHIS           TN    38109‐2723
ALEX SIMENETA                                       166 OLD BELAIR RD S                                                                            GROVETOWN         GA    30813‐4528
ALEX SUNIGA                                         6911 BOTHWELL ROAD                                                                             RESEDA            CA    91335‐3610
ALEX SZIGETI JR                                     308 AUDREY AVE                                                                                 TOMS RIVER        NJ    08755‐3604
ALEX T GWIAZDOWSKI                                  522 NORTH MAIN ST                                                                              THREE RIVERS      MI    49093‐1427
ALEX TENCH                                          5009 BAR HARBOR LANE                                                                           STOW              OH    44224‐6011
ALEX TORRES                                         13766 HOYT STREET                                                                              PACOIMA           CA    91331‐3721
ALEX TRIPP                                          936 E DAN SIMEON WAY                                                                           BOUNTIFUL         UT    84010
ALEX TRUJILLO                                       18837 LAMSON ROAD                                                                              CASTRO VALLEY     CA    94546‐2133
ALEX TSIROS                                         37 DENNISON AVE                                                                                FRAMINGHAM        MA    01702‐6416
ALEX W DZIALO JR                                    145 ISINGLASS HILL RD                                                                          PORTLAND          CT    06480‐1045
ALEX W LEE                                          4612 GREEN VALLEY DR                                                                           SALT LAKE CITY    UT    84107‐4110
ALEX WASHINGTON                                     19191 MARLOWE                                                                                  DETROIT           MI    48235‐1946
ALEX WHITEFIELD                                     4114 VILLAGER DR                                                                               LAKE ORION        MI    48359‐1886
ALEXA ERCK                                          201 15TH ST                                                                                    WILMETTE          IL    60091‐3232
ALEXA KRISTINE HORVATH                              1632 S ST NW                         APT 2                                                     WASHINGTON        DC    20009‐6460
ALEXA MORGAN                                        7474 BELLFLOWER RD                                                                             MENTOR            OH    44060‐3947
ALEXA S CAUSEY                                      6568 BLUEBONNET DR                                                                             CARLSBAD          CA    92009‐2502
ALEXANDE S COLLIS                                   3309 PANGBURN RD                                                                               HEBER SPRINGS     AR    72543‐8074
ALEXANDER A APERAUCH                                C/O ANNE COCQUYT                     475 HINCHEY ROAD                                          ROCHESTER         NY    14624‐2826
ALEXANDER A BIEDRON & MRS JULIA A BIEDRON JT TEN    1714 STONY CREEK DR                                                                            ROCHESTER HILLS   MI    48307‐1785

ALEXANDER A BIRCH JR & KAREN L BIRCH JT TEN         171 PRIMROSE RD                                                                                ADVANCE           NC    27006‐7576
ALEXANDER A BRONSON JR                              49 ELM AVE APT 5F                                                                              MOUNT VERNON      NY    10550‐2319
ALEXANDER A GERGELY JR                              9168 S V L BOX                                                                                 VICTORVILLE       CA    92395‐9168
ALEXANDER A GRAY                                    28480 COUNTY ROAD #388                                                                         GOBLES            MI    49055
ALEXANDER A PEDU JR CUST JEFFREY C PEDU UGMA NY     11 TAMARACK AVE                                                                                LAKE PLACID       NY    12946‐1607

ALEXANDER A PIETRAS                                 7551 SOVEY DR                                                                                  NEWPORT           MI    48166‐9174
ALEXANDER A SWITALSKI                               7325 MARSHA                                                                                    FLUSHING          MI    48433‐8820
ALEXANDER A VASTA                                   9682 HARVEST LANE                                                                              ANAHEIM           CA    92804‐3418
ALEXANDER ADAMS                                     205 DUNLOP ST                                                                                  TONAWANDA         NY    14150‐7839
ALEXANDER ALDRIDGE                                  1134 RICHADINE                                                                                 AUSTIN            TX    78721
ALEXANDER ALECK BERKUTA                             C/O KARL BERKUTA                     135 MAJOR RD                                              MONMOUCH JCT      NJ    08852‐2307
ALEXANDER ALTENHOFF II                              104 REDTAIL PLACE                                                                              WINTER SPRING     FL    32708‐5623
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 66 of 850
Name                                              Address1                              Address2             Address3           Address4          City              State Zip

ALEXANDER AMBROSE                                 35 OAK ST                                                                                       FRANKLIN          MA    02038‐1822
ALEXANDER ASHBY THORN                             5089 JAMESWOOD CIR                                                                              DAYTON            OH    45429‐5415
ALEXANDER B ARCHIE                                18044 PARKSIDE                                                                                  DETROIT           MI    48221‐2719
ALEXANDER B BANFI                                 42 ACKERMAN PLACE                                                                               NYACK             NY    10960‐2106
ALEXANDER B COMBS                                 316 CABRILLO RD                                                                                 ARCADIA           CA    91007‐6241
ALEXANDER B COOK                                  6120 CLAIRIDGE RD                                                                               WILMINGTON        NC    28403‐0144
ALEXANDER B CROCE                                 616 RONNIE ROAD                                                                                 MADISON           TN    37115‐2568
ALEXANDER B GRAHAM                                7525 DICKSON ST                                                                                 PITTSBURGH        PA    15218‐2505
ALEXANDER B HIGHLANDS & ANNE I HIGHLANDS JT TEN   3122 TAFT ROAD                                                                                  NORRISTOWN        PA    19403‐4037

ALEXANDER B KIDD                                695 MAPLE RIDGE DR                                                                                BOARDMAN          OH    44512‐3527
ALEXANDER B SHARTLE                             10346 EBY RDR                                                                                     GERMANTOWN        OH    45327
ALEXANDER BEJCZY                                4862 VALLEY RD                                                                                    TRENTON           MI    48183‐5702
ALEXANDER BIEDRON                               4190 POMEROY                                                                                      DRAYTON PLNS      MI    48020
ALEXANDER BODO JR TR ALEXANDER BODO JR TRUST UA 28 QUAIL RUN                                                                                      PLANT CITY        FL    33565‐2800
09/06/02
ALEXANDER BOHM                                  6545 DEVONSHIRE LANE                                                                              MURRELLS INLET    SC    29576‐8962
ALEXANDER BOLKUNOFF & NADEJDA BOLKUNOFF JT      3119 BURTON AVE                                                                                   ROSEMEAD          CA    91770‐2705
TEN
ALEXANDER BRONIAK                               ATTN GERTRUDE BRONIAK                   18923 SANDHURST DR                                        CLINTON TOWNSHIP MI     48038‐4982

ALEXANDER BROWN                                   5565 E OUTER DR                                                                                 DETROIT           MI    48234‐3717
ALEXANDER BRUCE                                   747 JAMAICA BLVD                                                                                TOMS RIVER        NJ    08757‐3712
ALEXANDER C GOMORI                                29 N OSBORNE AVE                                                                                YOUNGSTOWN        OH    44509‐2029
ALEXANDER C KAZEROONI                             1912 GEDDES RD                                                                                  ANN ARBOR         MI    48104‐1798
ALEXANDER C KURAS & EILEEN M KURAS JT TEN         112 PASBEHEGH DR                                                                                WILLIAMSBURG      VA    23185‐1417
ALEXANDER C MACKINNON                             3008 MORNINGSIDE DR                   BRIGHTS GROVE ON                        N0N 1C0 CANADA
ALEXANDER C MARTIN & DIANNE L MARTIN JT TEN       1165 10TH AVE N                                                                                 NAPLES            FL    34102‐5425

ALEXANDER C MC GEE                                6707 PAWSON RD                                                                                  ONSTED            MI    49265‐9737
ALEXANDER C W SHAY                                6244 GANDER RD E                                                                                DAYTON            OH    45424
ALEXANDER C ZINGHER                               3632 LAGO SERENO                                                                                ESCONDIDO         CA    92029
ALEXANDER CANON BRYAN                             1318 HOMER ST STE 202                 VANCOUVER BC                            V6B 6A7 CANADA
ALEXANDER CARLTON BLUMENTHAL                      290 RIVERSIDE DRIVE                   APT 13‐A                                                  NEW YORK         NY     10025‐5247
ALEXANDER CARTER                                  111 SUZANNE COVE                                                                                CLINTON          MS     39056‐4607
ALEXANDER CASTAGNA                                5249 CALLE MORELIA                                                                              SANTA BARBARA    CA     93111‐2439
ALEXANDER CAUTHER                                 155 RATT DR                                                                                     MCCORMICK        SC     29835‐2949
ALEXANDER CEGLARZ & MRS IRENE K CEGLARZ JT TEN    4217 MC KINLEY                                                                                  DEARBORN HEIGHTS MI     48125‐2506

ALEXANDER CHAN & GRACE CHAN JT TEN                3420 PARKSIDE DR                                                                                FLINT             MI    48503‐4685
ALEXANDER CHARLES GROELLER                        30215 GROVELAND ST                                                                              MADISON HTS       MI    48071‐5201
ALEXANDER CHOMA                                   65 PRINCE CHARLES DR                                                                            TOMS RIVER        NJ    08757‐6574
ALEXANDER CILENTO JR                              48 RUTGERS ROAD                                                                                 CLARK             NJ    07066‐2743
ALEXANDER CLAYTON MCCRACKEN                       1127 W MULBERRY ST                                                                              FORT COLLINS      CO    80521
ALEXANDER CROWE                                   PO BOX 1125                                                                                     FLINT             MI    48501‐1125
ALEXANDER D CARD JR                               6123 LAKEVIEW SOUTH                                                                             SAGINAW           MI    48603‐4249
ALEXANDER D EWING                                 1535 ROSEWOOD TERRACE DR                                                                        BALLWIN           MO    63021
ALEXANDER D FAITH                                 10860 BIG POOL ROAD                                                                             BIG POOL          MD    21711‐1200
ALEXANDER D HELTER                                60 BOW STREET APT B                                                                             SOMERVILLE        MA    02143
ALEXANDER D HOLOTA                                0576 DEMILLE RD                                                                                 LAPEER            MI    48446‐3052
ALEXANDER D KROEPLIN                              4681 ECKLES                                                                                     CLARKSTON         MI    48346‐3510
ALEXANDER D MC CONNELL                            3637 WEST HWY 390                     APT 611                                                   PANAMA CITY       FL    32405
ALEXANDER D MESAEH & STELLA F MESAEH JT TEN       3718 S UNION                                                                                    CHICAGO           IL    60609‐1649
ALEXANDER DALE MARK                               6146 N VASSAR RD                                                                                FLINT             MI    48506‐1238
ALEXANDER DAVID BODIAN                            2412 HICKORY LN                                                                                 COOPERSBURG       PA    18036‐9677
ALEXANDER DAVID MURRIAN                           1212 FIELDOAK COURT                                                                             ANTIOCH           TN    37013‐5715
ALEXANDER DAVIS WILSON                            5506 ROLAND AVE                                                                                 BALTIMORE         MD    21210‐1427
ALEXANDER DEBRYN TR UA 05/11/93 ALEXANDER         3302 SPRINGBROOK CT                                                                             WEST BLOOMFIELD   MI    48324‐3253
DEBRYN TRUST
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 67 of 850
Name                                                 Address1                           Address2                 Address3       Address4                 City              State Zip

ALEXANDER DIAZ                                       4103 INTERLAKE DR                                                                                   TAMPA             FL    33624‐2346
ALEXANDER DINATALE & JOANNE DINATALE JT TEN          46 WHITE PINE DR                                                                                    SEWELL            NJ    08080‐2810

ALEXANDER DIOYENIS                                   8880 E BURSAGE DR                                                                                   GOLD CANYON       AZ    85219‐7060
ALEXANDER DOREVITCH & BARBARA N DOREVITCH JT         6627 N FRANCISCO                                                                                    CHICAGO           IL    60645‐4305
TEN
ALEXANDER DURHAM                                     PO BOX 3592                                                                                         ELIZABETH         NJ    07207‐3592
ALEXANDER E DEEB & LAURICE M DEEB JT TEN             8823 COLONIAL RD                                                                                    BROOKLYN          NY    11209‐5501
ALEXANDER E SCHIELKE JR                              3840 JACKSON RD                                                                                     SARANAC           MI    48881‐9742
ALEXANDER ELIAS BATTEY                               101 WEST ALEXANDRIA AVENUE                                                                          ALEXANDRIA        VA    22301‐2016
ALEXANDER F BLACK                                    15 GERBEN DR                                                                                        STONY POINT       NY    10980‐1307
ALEXANDER F BOHIL                                    3350 W EPTON                                                                                        HENDERSON         MI    48841‐9756
ALEXANDER F FALCONE JR                               24386 LARCHMONT CT                                                                                  LAGUNA HILLS      CA    92653‐6264
ALEXANDER F HARTLEY & JAMES T HARTLEY JT TEN         6831 ROUTE 49                                                                                       KNOXVILLE         PA    16928
ALEXANDER F JEFFKO JR & MARY A JEFFKO JT TEN         303 STEVENS ST                                                                                      BRISTOL           CT    06010‐2768
ALEXANDER F LERI                                     520 S ALARIC DR                                                                                     PUEBLO WEST       CO    81007‐1539
ALEXANDER F MC GEOCH                                 8 KAMES BAY                        MILLPORT                                KA28 0BA GREAT BRITAIN
ALEXANDER F SILVESTRINI & BEVERLY P SILVESTRINI JT   14 WOOD AVE                                                                                         QUINCY            MI    49082
TEN
ALEXANDER F WAGNER                                   5887 E RICE RD                                                                                      CEDAR             MI    49621‐9618
ALEXANDER FLEMING                                    83 WATERMAN ST                                                                                      LOCKPORT          NY    14094‐4956
ALEXANDER FRANCIS PALERMO                            1151 SW 12TH AVE                                                                                    BOCA RATON        FL    33486‐5436
ALEXANDER FRITZLER II                                7168 W FARRAND RD                                                                                   CLIO              MI    48420‐9424
ALEXANDER G GREEN JR                                 PO BOX 125                                                                                          MARKHAM           VA    22643‐0125
ALEXANDER G MANSO                                    514 WILDWOOD RD                                                                                     WEST ALLENHURST   NJ    07711‐1333

ALEXANDER G ROMANOW JR & JANE F ROMANOW JT           101 SANDY POINT DR                                                                                  BRICK             NJ    08723‐5834
TEN
ALEXANDER G SPARKS 2ND                               PO BOX 63                                                                                           MONTROSE          PA    18801‐0063
ALEXANDER G SPARKS II & MRS JANE H SPARKS JT TEN     PO BOX 63                                                                                           MONTROSE          PA    18801‐0063

ALEXANDER GOLDMAN TR ALEXANDER GOLDMAN           1110 MC DANIEL ST                                                                                       SUN CITY CENTER   FL    33573‐7039
TRUST UA 08/27/93
ALEXANDER H GRAY                                 2805 RIGGS AVE                                                                                          BALTIMORE         MD    21216‐4327
ALEXANDER H PIRIE                                22 HARMONY DR                          NIAGARA ON THE LAKE ON                  L0S 1J0 CANADA
ALEXANDER H PIRIE                                22 HARMONY DR                          NIAGARA ON THE LAKE ON                  L0S 1J0 CANADA
ALEXANDER H PIRIE                                22 HARMONY DR                          NIAGARA ON THE LAKE ON                  L0S 1J0 CANADA
ALEXANDER HARKINS                                19 WEIDNER RD                                                                                           OLEY              PA    19547‐9003
ALEXANDER HARLLEE BRANCH                         2422 BUCKLEBURY RD                                                                                      DAVIS             CA    95616‐3091
ALEXANDER HERNANDEZ                              6023 NW 79 AVE                                                                                          TAMARAC           FL    33321
ALEXANDER HEWLITT                                BOX 583                                BOBCAYGEON ON                           K0M 1A0 CANADA
ALEXANDER HRINKO JR                              3700 WARREN MEADVILLE RD                                                                                CORTLAND          OH    44410‐9464
ALEXANDER HUDSON                                 2290 SALLIES LN                                                                                         WINSTON SALEM     NC    27106‐8613
ALEXANDER J BENEDICT JR & MRS BARBARA A BENEDICT 521 BEDFORD ROAD                                                                                        ARMONK            NY    10504‐2509
JT TEN
ALEXANDER J BRIDGES                              346 PETTY RD                                                                                            MANCHESTER        TN    37355‐6702
ALEXANDER J CARLING                              22075 NELSON                                                                                            WOODHAVEN         MI    48183‐1536
ALEXANDER J COMAZZI TR COMAZZI REVOCABLE         201 HOT SPRINGS RD                                                                                      CLOVERDALE        CA    95425‐4204
SURVIVOR'S TRUST UA 07/03/03
ALEXANDER J CZAJKA                               152 TOM SWAMP RD                                                                                        ATHOL             MA    01331‐9413
ALEXANDER J HAMILL                               1721 ELM ST                                                                                             WALL              NJ    07719‐3133
ALEXANDER J HORN                                 8526 NANTUCKET ST                                                                                       WICHITA           KS    67212‐6211
ALEXANDER J KASSEL                               ATTN NLRB                              82 IONIA N W                                                     GRAND RAPIDS      MI    49503‐3022
ALEXANDER J LAMARTINE & ESTHR K LAMARTINE JT TEN 131 WATERMILL TRACE                                                                                     FRANKLIN          TN    37069‐1841

ALEXANDER J LYONS & EDNA S LYONS JT TEN           6469 PINE MEADOWS DR                                                                                   SPRING HILL       FL    34606‐3343
ALEXANDER J MILNE & CYNTHIA L MILNE JT TEN        6223 W ALLEN RD                                                                                        FOWLERVILLE       MI    48836‐9754
ALEXANDER J PAPAS & CHRISTINA ALEXIA PAPAS JT TEN 15726 EDGEWOOD DR                                                                                      MONTCLAIR         VA    22025‐1730
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                         Part 1 of 8 Pg 68 of 850
Name                                               Address1                              Address2                   Address3             Address4                 City            State Zip

ALEXANDER J PEZANOWSKI                             33 TRILLIUM CIR                       APT 716                                                                  DOTHAN          AL    36301‐5699
ALEXANDER J SEIBERT & APRIL ANN SEIBERT JT TEN     29139 NEWPORT                                                                                                  WARREN          MI    48093‐3612

ALEXANDER J SEIBERT & MAUREEN J SEIBERT JT TEN     29139 NEWPORT                                                                                                  WARREN          MI    48093‐3612

ALEXANDER J SEIBERT CUST JODIE LYNN SEIBERT UGMA 29139 NEWPORT                                                                                                    WARREN          MI    48093‐3612
MI
ALEXANDER J SHIMON                               6424 EMERALD LAKE DR                                                                                             TROY            MI    48098‐1435
ALEXANDER J SIEBERT & MAUREEN J SIEBERT JT TEN   29139 NEWPORT                                                                                                    WARREN          MI    48093‐3612

ALEXANDER J SLEZAK TR ALEXANDER J SLEZAK TRUST UA PO BOX 1002                                                                                                     JAMESPORT       NY    11947‐1002
11/6/01
ALEXANDER J SMITH JR & BARBARA R SMITH JT TEN     17 LOWELL MASON ROAD                                                                                            MEDFIELD        MA    02052‐1709

ALEXANDER J VALVO                                  12169 CREEKRIDGE DR                                                                                            EAST AURORA     NY    14052‐9531
ALEXANDER J WYSOCKI                                PO BOX 438                                                                                                     PERRY           OH    44081‐0438
ALEXANDER J ZABINSKI                               19886 KEITH AVE                                                                                                GROSSE ILE      MI    48138‐1049
ALEXANDER JOHN KURMAS                              201 MAIN STREET                                                                                                ESSEXVILLE      MI    48732‐1656
ALEXANDER JOHN SINCLAIR                            THE BEECHES                           7 GLENWOOD DRIVE           WORLINGHAM BECCLES   SUFFOLK NR34 7OT GREAT
                                                                                                                                         BRITAIN
ALEXANDER JONATHAN KATZMAN                         11286 WESTMINSTER AVE 301                                                                                      LOS ANGELES     CA    90066‐2900
ALEXANDER K FERGUSON                               8 FLAZINGTON CRT                      AJAX ON                                         L1S 6N5 CANADA
ALEXANDER K PEAT                                   178 ANNWOOD CT                                                                                                 SALINE          MI    48176‐1307
ALEXANDER KAUNITZ & HILDA KAUNITZ JT TEN           17 E 97TH ST                          APT 4C                                                                   NEW YORK        NY    10029‐6969
ALEXANDER KOCHIS                                   2524 50TH ST S                                                                                                 GULFPORT        FL    33707‐5173
ALEXANDER KONIGSBERG & ELLA KONIGSBERG JT TEN      2562 SEYMOUR AVE                                                                                               BRONX           NY    10469‐5618

ALEXANDER KOPICKO                             1680 S GROUT RD                                                                                                     GLADWIN          MI   48624‐9437
ALEXANDER KORIAKIN JR                         9 PINEWOOD AVE                                                                                                      PENNS GROVE      NJ   08069‐2816
ALEXANDER KOSTOFF CUST ZLATKO KOSTOFF UGMA MI 1922 WHITEFIELD                                                                                                     DEARBORN HEIGHTS MI   48127‐3421

ALEXANDER KUSS                                     325 MANITOU BEACH RD                                                                                           HILTON          NY    14468‐9538
ALEXANDER L BELL                                   12 KNOLLWOOD ROAD                                                                                              MEDFIELD        MA    02052‐2724
ALEXANDER L MACMASTER                              4200 KINGSTON                                                                                                  DEARBORN HGTS   MI    48125‐3238
ALEXANDER L MACMASTER & MARY JO MACMASTER JT       4200 KINGSTON                                                                                                  DEARBORN        MI    48125‐3238
TEN
ALEXANDER LEARMONTH                                9485 RAWSONVILLE RD                                                                                            BELLEVIEW       MI    48111‐9368
ALEXANDER LIDDELL                                  2133 S CHICAGO STREET                                                                                          JOLIET          IL    60436‐3157
ALEXANDER LIEBERMAN                                2830 KINNOW PL                                                                                                 ROWLAND HGHTS   CA    91748

ALEXANDER LIMONAD                                  10547 LADYPALM LN                     UNIT A                                                                   BOCA RATON      FL    33498‐1558
ALEXANDER LIVINGSTONE                              2745 FRICK LANE                                                                                                CONNELLSVILLE   PA    15425‐1936
ALEXANDER LONG & ANNE LONG JT TEN                  2172 PACIFIC AVE                      APT 4                                                                    SAN FRANCISCO   CA    94115‐1548
ALEXANDER LOVERME                                  85 HOLT RD                                                                                                     WILTON          NH    03086‐5139
ALEXANDER M ALLAN & HAZEL I ALLAN JT TEN           19373 CARDENE WAY                                                                                              NORTHVILLE      MI    48167‐3197
ALEXANDER M BURKS TOD JANICE R BROWN SUBJECT       526 S 4TH AVE                                                                                                  SAGINAW         MI    48601‐2130
TO STA TOD RULES
ALEXANDER M LECKIE                                 372 LAMBETH COURT                     OSHAWA ON                                       L1G 6W2 CANADA
ALEXANDER M MCGOWAN & ANN MCGOWAN JT TEN           100 TERRACE ST                                                                                                 CARBONDALE      PA    18407‐2361

ALEXANDER M STONE JR                               BOX 438 PUMPKINTOWN ROAD                                                                                       MARIETTA        SC    29661‐0438
ALEXANDER M SUDIA & ARLENE R SUDIA JT TEN          4831 NAPIER RD                                                                                                 PLYMOUTH        MI    48170‐5124
ALEXANDER MACKAY                                   360 CH BIRCHWOOD                      SAINT SAUVEUR DES MON QC                        J0R 1R1 CANADA
ALEXANDER MACKAY                                   360 CH BIRCHWOOD                      ST‐SAUVEUR QUEBEC          CANAD                J0R 1R1 CANADA
ALEXANDER MACQUEEN                                 254 CIRCLEGATE RD                                                                                              NEW LENOX        IL   60451‐2690
ALEXANDER MAGHEN                                   700 WESTBOURNE DR                                                                                              W HOLLYWOOD      CA   90069‐5104
ALEXANDER MC LUCKIE TR ALEXANDER MC LUCKIE         621 S HIGBIE PL                                                                                                GROSSE PTE WOODS MI   48236‐2417
REVOCABLE TRUST UA 7/26/99
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 69 of 850
Name                                             Address1                               Address2                 Address3       Address4          City               State Zip

ALEXANDER MC LUCKIE TR EVELYN MC LUCKIE FAMILY   621 HIGBIE PL SOUTH                                                                              GROSSE POINT       MI    48236‐2417
TRUST UA 07/26/99
ALEXANDER MCTAGGART                              7 HALLOWELL LN                                                                                   CORAM              NY    11727‐1802
ALEXANDER MEZDREA                                36237 ARLENE DR                                                                                  STERLING HEIGHTS   MI    48310‐4303

ALEXANDER MICHAEL LAMPROS                        7102 GALGATE DR                                                                                  SPRINGFIELD        VA    22152‐3522
ALEXANDER MURFEY & MRS BARBARA MURFEY JT TEN     3637 N SPRINGFIELD AVE                                                                           CHICAGO            IL    60618‐4028

ALEXANDER MURRAY                                PO BOX 1106                                                                                       QUOGUE             NY    11959‐1106
ALEXANDER N CHEN                                18822 EVERGREEN FALLS                                                                             HOUSTON            TX    77084‐4458
ALEXANDER N LIBANTE                             5209 CASTLE ST                                                                                    FAIR OAKS          CA    95628‐3301
ALEXANDER N MOGAB III TR LORRAINE A MOGAB TRUST 27676 VIA GRANADOS                                                                                MISSION VIEJO      CA    92692‐2029
B UA 09/15/93
ALEXANDER NEUHAUS                               C/O OCCIDENTAL EXPRESS                  1019 HOWARD ST                                            SAN FRANCISCO      CA    94103‐2806
ALEXANDER NOWYORKAS                             G4065 S GENESEE RD                                                                                GRAND BLANC        MI    48439
ALEXANDER OGANOWSKI & THERESA OGANOWSKI JT      713 BROADWAY ROAD                                                                                 DRACUT             MA    01826‐2726
TEN
ALEXANDER ORPHANOS & MRS PENELOPE A ORPHANOS 54 WHITEWOOD CIR                                                                                     NORWOOD            MA    02062‐5539
JT TEN
ALEXANDER OZYJOWSKI                             1045 MARLSTONE PLACE                                                                              COLORADO SPRINGS CO      80904‐2988

ALEXANDER P ANTONCHAK                           4248 SMITH STEWART RD                                                                             VIENNA             OH    44473‐9613
ALEXANDER P CONNELLY                            8129 S GRASS CREEK DR                                                                             SIOUX FALLS        SD    57108‐6232
ALEXANDER P GLORIEUX                            644 FOERSTER ST                                                                                   SAN FRANCISCO      CA    94127‐2339
ALEXANDER P MANCINI                             37 GARDEN DR                                                                                      SOUTHINGTON        CT    06489‐1117
ALEXANDER P MORGAN                              8470 S SHORE DR                                                                                   CLARKSTON          MI    48348‐2674
ALEXANDER P PARYASKI                            1932 NORTH OGEMAW                                                                                 WEST BRANCH        MI    48661‐9060
ALEXANDER P SILIUS                              10707 LOUISIANA CT                                                                                ORLAND PARK        IL    60467‐8835
ALEXANDER PAGONIS                               14448 BLACK WALNUT CT                                                                             SARATOGA           CA    95070
ALEXANDER PASSIAK                               8336 PENINSULA DRIVE                                                                              STANWOOD           MI    49346‐9746
ALEXANDER PAUSLEY TR ALEXANDER PAUSLEY TRUST UA 1111 BAYSHORE BLVD                      APT F6                                                    CLEARWATER         FL    33759‐3319
08/02/00
ALEXANDER PERK                                  29 AVENUE DE LA TERRASSE                78360 MONTESSON                         FRANCE
ALEXANDER PERK                                  29 AVENUE DE LA TERRASSE                78360 MONTESSON                         FRANCE
ALEXANDER PHILLIPS                              5800 GREEN VALLEY CIR                   APT 302                                                   CULVER CITY        CA    90230‐6935
ALEXANDER POLETELO                              111 CRESTWOOD AVE                                                                                 SOMERVILLE         NJ    08876‐3911
ALEXANDER POLITARHOS                            2154 BRANDYWOOD DR                                                                                WILMINGTON         DE    19810‐2435
ALEXANDER POSHAROW JR & JENNIFER I POSHAROW JT 1305 S MICHIGAN AVE                      APT 1002                                                  CHICAGO            IL    60605‐3399
TEN
ALEXANDER PREHODKA SR                           187 CABOT AVE                                                                                     EDISON             NJ    08837‐2839
ALEXANDER R DEMATTEO JR                         5204 BLAZE CT                                                                                     ROCKLIN            CA    95677‐4443
ALEXANDER R MACKENZIE                           6815 W UNIVERSITY AVE                   APT 13107                                                 GAINESVILLE        FL    32607
ALEXANDER R MUNRO                               9915 OAKFIELD DR SW                     CALGARY AB                              T2Y 1R7 CANADA
ALEXANDER R ORTELL                              610 HILLMONT ST                                                                                   HUNTSVILLE         AL    35816
ALEXANDER R PASTUSZEK                           301 RIVERVIEW RD                                                                                  SWARTHMORE         PA    19081‐1219
ALEXANDER R TAYLER                              1192 PROGRESSIVE AVE                    NIAGARA ON THE LAKE ON                  L0S 1J0 CANADA
ALEXANDER RAHALEWICZ                            97 S RIDGE TRAIL                                                                                  FAIRPORT           NY    14450‐3846
ALEXANDER RASKE                                 918 W 20TH AVE                                                                                    SPOKANE            WA    99203‐1143
ALEXANDER REED MAYER                            4200 N HAZEL STREET                     #402                                                      CHICAGO            IL    60613‐1655
ALEXANDER RENKO & MRS FRANCES RENKO JT TEN      680 VZ COUNTY RD 2703                                                                             MABANK             TX    75147‐5929

ALEXANDER RESNANSKY                              7805 PANTHER BRANCH DR                                                                           RALEIGH            NC    27612‐7368
ALEXANDER ROBB JACOBY                            PO BOX 659                                                                                       DURHAM             NH    03824‐0659
ALEXANDER ROMANSKI                               915B ST BIMINI CIRCLE                                                                            PALM SPRINGS       CA    92264‐8021
ALEXANDER ROSE                                   803 S UNION                                                                                      LIMA               OH    45804‐1539
ALEXANDER RYAN NANCE                             106 WALTER LN                                                                                    KING               NC    27021‐8731
ALEXANDER S EVANS                                14023 PONDS BLUFF DR                                                                             BELLEVILLE         MI    48111‐7304
ALEXANDER S JOHNSTON                             210 MOUNT PLEASANT PLACE DRIVE APT     208                                                       MONROE             OH    45050
ALEXANDER S LYNN                                 1560 CHELSEA                                                                                     SAN MARINO         CA    91108‐1819
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 70 of 850
Name                                             Address1                            Address2             Address3           Address4          City               State Zip

ALEXANDER S NASCH                                10110 EMPYREAN WY‐10‐203                                                                      LOS ANGELES        CA    90067‐3829
ALEXANDER S NEMETZ                               6846 GUYER AVE                                                                                PHILADELPHIA       PA    19142‐2519
ALEXANDER S PASKEVICH                            2315 N 42ND ST                                                                                PHOENIX            AZ    85008‐3107
ALEXANDER S WONG                                 7600 WILD FLOWER CT                                                                           GRANITE BAY        CA    95746‐9445
ALEXANDER SANCHEZ                                2768 KINGSBURY DR                                                                             ROCKY RIVER        OH    44116‐3220
ALEXANDER SANDEL                                 15726 NIEMAN DR                                                                               MT CLEMENS         MI    48038‐2646
ALEXANDER SANTELLI                               23321 SESAME STREET                                                                           TORRANCE           CA    90502‐3049
ALEXANDER SCOTT PORTER                           4210 APACHE CT                                                                                WESTMINISTER       MD    21157
ALEXANDER SHADID JR                              9 VERNON                                                                                      NEWPORT COAST      CA    92657‐0101
ALEXANDER SHANBURN                               30038 PLEASANT TRL                                                                            SOUTHFIELD         MI    48076‐1036
ALEXANDER SILVA & SAE K SILVA JT TEN             40642 RINALDI                                                                                 STERLING HEIGHTS   MI    48313‐4049

ALEXANDER SMITH JR                               8285 CAMP GROUND ROAD                                                                         CLERMONT           GA    30527‐1628
ALEXANDER SOSIK & LYNN ELISE SOSIK JT TEN        170 HAMILTON RD                                                                               LANDENBERG         PA    19350‐9357
ALEXANDER SPOTSWOOD ROBINS III                   902 VELMAN LANE                                                                               MURFREESBORO       TN    37129‐2368
ALEXANDER SURMA & DOLORES C SURMA JT TEN         496 JENSEN AVE                                                                                RAHWAY             NJ    07065‐2245
ALEXANDER SWANSON & BEN ESPOSITO JT TEN          95 NEW YORK AVE                                                                               SMITHTOWN          NY    11787‐3447
ALEXANDER T AUSTIN                               403 GARNET CT                                                                                 FORT MILL          SC    29708‐7892
ALEXANDER T BLUMENTHAL                           3234 29TH AVE CT                                                                              ROCK ISLAND        IL    61201‐5554
ALEXANDER T CRAVEN & JOY J CRAVEN JT TEN         3097 S STEELE ST                                                                              DENVER             CO    80210‐6949
ALEXANDER T CSAPO JR                             18 FARNSWORTH AVE                                                                             BORDENTOWN         NJ    08505‐1348
ALEXANDER T CSAPO JR & ALEXANDER T CSAPO SR JT   18 FARNSWORTH AVE                                                                             BORDENTOWN         NJ    08505‐1348
TEN
ALEXANDER T LAMAR                                3608 ROSEDALE AVE                                                                             DALLAS             TX    75205‐1228
ALEXANDER T LEE                                  5345 DRAYTON RD                                                                               CLARKSTON          MI    48346‐3711
ALEXANDER T LESLIE                               2905 CLUBHOUSE DR                                                                             PLANT CITY         FL    33567‐7273
ALEXANDER T PETERS                               39586 NESTON                                                                                  NOVI               MI    48377‐3744
ALEXANDER T SMITH                                13344 CUMBERLAND HIGHWAY                                                                      ORRESTOWN          PA    17244‐9627
ALEXANDER T VAN BRERO                            GM DUBAI ‐ BOX 9022                                                                           WARREN             MI    48090‐9022
ALEXANDER T WOLGAT & OLGA WOLGAT JT TEN          26262 MEADOWBROOK WAY                                                                         LATHRUP VILLAGE    MI    48076‐4414

ALEXANDER TATUM                                  331 W 3RD AVE                                                                                 ROSELLE            NJ    07203‐1185
ALEXANDER TAYLOR                                 1503 JOSHUA RUN RD                                                                            COLUMBUS           OH    43232‐6466
ALEXANDER TREMBLE                                4000 LOGAN GATE RD                  APT 21                                                    YOUNGSTOWN         OH    44505‐1721
ALEXANDER TURKE & MARY ANN TURKE JT TEN          RR #2                               5711 MCKINLEY RD                                          CHINA              MI    48054‐4305
ALEXANDER U BROOKS & NANCY M BROOKS JT TEN       P O BOX 141                                                                                   ROSEBUSH           MI    48878‐0141

ALEXANDER V BOGAERTS & MARILYN BOGAERTS JT TEN 100 WOODLAND VILLA CT                                                                           BIRMINGHAM         MI    48009‐1632

ALEXANDER V CHAVIS                               15119 WASHBURN ST                                                                             DETROIT            MI    48238‐1639
ALEXANDER V LAMB                                 8383 STEWART AVE                                                                              WESTCHESTER        CA    90045‐2748
ALEXANDER V WHITE                                1655 17TH AVE                                                                                 MARION             IA    52302‐2379
ALEXANDER VESA JR                                6606 BEAR HOLLOW ROAD                                                                         FORT SMITH         AR    72916‐7403
ALEXANDER VON KROPFF                             PFARRER‐BRANTZEN‐STR 54             D 55122 MAINZ                           GERMANY
ALEXANDER W COOK                                 6856 SE TWIN OAKS CIR                                                                         STUART             FL    34997‐8125
ALEXANDER W DAVIS                                125 CIRCLEVIEW DR                                                                             LEXINGTON          SC    29072‐3918
ALEXANDER W KONOPKA                              15 OVERLOOK DRIVE                                                                             WILMINGTON         DE    19808‐5827
ALEXANDER W MISKI & BARBARA N MISKI JT TEN       30 KAREN ST                                                                                   FAIRFIELD          CT    06430‐4034
ALEXANDER W PAPOW                                13419 TERRA SANTA DR                                                                          STERLING HEIGHTS   MI    48312‐4166

ALEXANDER W POLLOCK & SHARI K CATANESE JT TEN    7109 CARRIAGE PINES DRIVE                                                                     RICHMOND           VA    23225‐7043

ALEXANDER W RUTCHIK                              9970 ALLEN POINT DR                                                                           PELHAN PARK        MI    48101‐1489
ALEXANDER WASSELL JR                             12517 LOCHNESS CT                                                                             PLYMOUTH           MI    48170‐6914
ALEXANDER WATT                                   ATTN JOSEPH C WATT                  4511 PLEASANT AVE    UNIT A                               NORFOLK            VA    23518‐1804
ALEXANDER WHITE                                  1214 N CHURCH ST                                                                              KALAMAZOO          MI    49007‐3498
ALEXANDER WILKERSON                              4371 GLENWOOD RD                    APT J12                                                   DECATUR            GA    30032‐5033
ALEXANDER WILKIE MAYERHOFF                       31 STONEHENGE LN                                                                              MALVERN            PA    19355‐2886
ALEXANDER WITAN                                  17480 WESTGROVE DR                                                                            MACOMB TWP         MI    48042‐3534
                                                09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 71 of 850
Name                                              Address1                           Address2             Address3           Address4           City               State Zip

ALEXANDER WOWK CUST JERRY WOWK U/THE OHIO         2088 ETTA BLVD                                                                                BRUNSWICK          OH    44212‐4010
UNIFORM GIFTS TO MINORS ACT
ALEXANDER WUNG JR                                 870 W KAWAILANI ST                                                                            HILO               HI    96720‐3124
ALEXANDER Y SAKAMOTO                              94‐337 KAMALEI ST                                                                             MILILANI           HI    96789‐2142
ALEXANDER YOUNG                                   2590 TURNBULL CANYON RD                                                                       HACIENDA HGTS      CA    91745‐4021
ALEXANDER ZABARCKI                                4866 BEECHWOOD AVE                                                                            GAYLORD            MI    49735‐9645
ALEXANDER ZAMBRANO                                1338 RUSTICVIEW DR                                                                            BALLWIN            MO    63011‐4271
ALEXANDER ZOROVIC                                 23 HIGH ST                                                                                    NATICK             MA    01760‐4825
ALEXANDRA A SERAFIN                               APT 6‐F                            50 RIVERSIDE DRIVE                                         NEW YORK           NY    10024‐6504
ALEXANDRA B GOLASKI                               6452 WOODBINE AVE                                                                             PHILADELPHIA       PA    19151‐2405
ALEXANDRA B WOLFRAM                               826 TULIP CT S W                                                                              WARREN             OH    44485‐3668
ALEXANDRA C TILLOTSON                             2075 WEIR RD NE #28                                                                           WARREN             OH    44483‐2800
ALEXANDRA CALLEWAERT                              10535 AMBER LN                                                                                ORLAND PARK        IL    60467‐1348
ALEXANDRA COX DUTTON                              2208 FAIRGREEN AVE                                                                            MONROVIA           CA    91016‐4910
ALEXANDRA DRUMMOND LOCKWOOD                       9541 DOROTHY BLVD                                                                             THORNTON           CO    80229‐3609
ALEXANDRA ELIOPOULOS TR UA 03/18/09 ALEXANDRA     20 HEARD DR                                                                                   IPSWICH            MA    01938‐1629
ELIOPOULOS 2009 TRUST
ALEXANDRA EVANS PORPS                             PO BOX 278                                                                                    PEACHAM            VT    05862‐0278
ALEXANDRA HOPE DARIGAN                            604 W REACH DR                                                                                JAMESTOWN          RI    02835‐2200
ALEXANDRA JANE PORTER & ANNA THOMAS PORTER JT     515 KOBERLIN                                                                                  SAN ANGELO         TX    76903‐5511
TEN
ALEXANDRA K MCNETT                                14 OVERBROOK DR                                                                               SAINT LOUIS      MO      63124‐1482
ALEXANDRA KAZENSKY EX UW ELIZABETH R BYERS        21326 HICKORYWOOD COURT                                                                       DEARBORN HEIGHTS MI      48127‐2426

ALEXANDRA KELLY                                   4 WILLIS CRESENT                   BINBROOK ON                             L0R 1C0 CANADA
ALEXANDRA M HIGHTOWER                             1420 EDEN LN                                                                                  RALEIGH            NC    27608‐1910
ALEXANDRA M POHODICH CUST EDWARD J POHODICH       719 HANCOCK ST                                                                                PERRYOPOLIS        PA    15473‐5375
UTMA PA
ALEXANDRA M TURNER                                4 SAXER AVE                                                                                   SPRINGFIELD        PA    19064
ALEXANDRA MARIA SCHULZE                           3142 DEERFIELD DR                                                                             LOUISVILLE         TN    37777‐3411
ALEXANDRA N SCHMIDT                               341 CLAYTON MANOR DR                                                                          MIDDLETOWN         DE    19709‐8859
ALEXANDRA N ZUBIA                                 1710 EASTON AVE                                                                               BETHLEHEM          PA    18017‐5139
ALEXANDRA NICKAS & DIANA PAPPAS JT TEN            9030 FOUR MILE CREEK RD                                                                       CHARLOTTE          NC    28277‐9068
ALEXANDRA RIGGIN                                  292 VICTORIA STREET                LONDON ON                               N6A 2C5 CANADA
ALEXANDRA S EGLIN                                 21 MOUNT WILLIAMS DR                                                                          WILLIAMSTOWN       MA    01267‐2531
ALEXANDRA TANGALOS                                11865 RAINTREE CT                                                                             UTICA              MI    48315‐1157
ALEXANDRA VALICENTI                               22 DUSENBERRY ROAD                                                                            BRONXVILLE         NY    10708‐2421
ALEXANDRA VERONICA THEW                           19 THE COMMONS                     3516 SILVERSIDE RD                                         WILMINGTON         DE    19810‐4932
ALEXANDRA WELD SCHULTHEIS                         85 YOUNGS RD                                                                                  MERRILL            NY    12955‐2400
ALEXANDRA YORK                                    C/O SILVA                          PO BOX 1329          MANILA             1099 PHILIPPINES
ALEXANDRE GALSKOY                                 1507 CHIGWELL LANE SOUTH                                                                      WEBSTER            NY    14580‐8558
ALEXANDRIA A WEAKLAND                             4720 BENJAMIN DR                                                                              STERLING HEIGHTS   MI    48310‐1910

ALEXANDRIA BROOKS                                 136 NW 82 COURT                                                                               OCALA              FL    34482‐3822
ALEXANDRIA E KIRKPATRICK                          PO BOX 1657                                                                                   BLUE HILL          ME    04614‐1657
ALEXANDRIA ELIZABETH SKUBITZ CUST ANDREW J        901 BROOKFIELD ST                                                                             WICHITA            KS    67206‐1415
SKUBITZ UTMA KS
ALEXANDRIA FACCONE                                25 BROOKWILLOW AVE                                                                            W LONG BRANCH      NJ    07764‐1819
ALEXANDRIA HAWKINS                                6719 49TH PL NE                                                                               MARYSVILLE         WA    98270‐8990
ALEXANDRIA L SAUK & JAMES J SAUK JT TEN           C/O PAULETTE SAUK                  48045 LIBERTY DR                                           SHELBY TOWNSHIP    MI    48315‐4060

ALEXANDRIA L WROE                                 4207 VALLEYWOOD DRIVE                                                                         GRAPEVINE          TX    76051‐6569
ALEXANDRIA MARIKIS                                46900 W 11 MILE RD                                                                            NOVI               MI    48374
ALEXANDRIA R VELLA & TIMOTHY J VELLA TR VELLA     221 BROOKBERRY RD                                                                             HOLLY SPRINGS      NC    27540‐9464
TRUST FUND UA 11/03/98
ALEXANDROS GEORGOPOULOS                           4099 RISEDORPH                                                                                BURTON             MI    48509‐1067
ALEXIA DOYLE                                      14 WEST VIEW LANE                                                                             RED HOOK           NY    12571‐2273
ALEXIA N WARING                                   232 SENA DR                                                                                   METAIRIE           LA    70005
ALEXIEN E BAYA                                    4025 SUTHERLAND DR                                                                            PALO ALTO          CA    94303
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 72 of 850
Name                                              Address1                               Address2              Address3          Address4          City            State Zip

ALEXIS A NELSON CUST BENJAMIN NELSON DOWNEY        W 17 26TH AVENUE                                                                                SPOKANE         WA    99203‐1817
UGMA WA
ALEXIS A NELSON CUST MEARA NELSON DOWNEY UGMA W 17 26TH AVENUE                                                                                     SPOKANE         WA    99203‐1817
WA
ALEXIS ANSELIN                                     75 WATERMAN ST 4180                                                                             PROVIDENCE      RI    02912‐9079
ALEXIS CEMETARY ASSOCIATION INC                    BOX 353                                                                                         ALEXIS          IL    61412‐0353
ALEXIS DENTON JENKINS & ROBERT S JENKINS II JT TEN 2133 S SHORE ACRES RD                                                                           SODDY‐DAISY     TN    37379‐8143

ALEXIS F FLEMING & JOHN H FLEMING JT TEN          43233 HEYDENREICH                                                                                CLINTON TWP     MI    48038‐2427
ALEXIS FLYER                                      39 VIA MONARCA                                                                                   MONARCH BEACH   CA    92629‐4082
ALEXIS FRANCOS                                    600 N SCHOOL LN                                                                                  LANCASTER       PA    17603
ALEXIS H HARRISON                                 600 STATE ROAD 76                      APT 5‐28                                                  ESPANOLA        NM    87532‐5511
ALEXIS J CHING                                    239 SCHOLES ST                         #2                                                        BROOKLYN        NY    11206‐2203
ALEXIS P VICTORS                                  550 W PATRIOT BLVD                                                                               RENO            NV    89511‐1055
ALEXIS QUINLAN                                    360 FIRST AVE APT 1G                                                                             NEW YORK        NY    10010
ALEXIS R CLARK & MARY E CLARK JT TEN              80 ROAD 3323                                                                                     AZTEC           NM    87410‐9798
ALEXIS RHYMES SMITH                               PO BOX 7141                                                                                      PHOENIX         AZ    85011‐7141
ALEXIS STORY DYER                                 PO BOX 160                                                                                       STOCKBRIDGE     MI    49285‐0160
ALEXIS TERRELL‐PITTS                              ATTN ALEXIS TERRELL‐JONES              8336 BINGHAM                                              DETRIOT         MI    48228‐2731
ALEXSANDRA LEAL                                   6307 BLUFF SPRINGS RD                  APT 321                                                   AUSTIN          TX    78744‐4223
ALEXZENA MILES                                    39 EAST END AVE                                                                                  PENNS GROVE     NJ    08069‐2249
ALEYAMMA ABRAHAM                                  2923 SAINT JUDE DR                                                                               WATERFORD       MI    48329‐4353
ALF ERIKSSON                                      BACKSIPPESTIGEN 5                      S‐43236               VARBERG           SWEDEN
ALF ROAR NIELSEN                                  OSCARSGT 76 B 0256                     OSLO 2                                  NORWAY
ALFA MARIA GIOVANNONI & ROBERT GIOVANNONI JT      3306 WEST WARNER AVENUE                                                                          CHICAGO         IL    60618‐2314
TEN
ALFEN HUMERICKHOUSE                               108 RAVINA AVE                                                                                   ANDERSON        IN    46011‐1342
ALFIO GENTILE                                     12568 69TH ST N                                                                                  WEST PALM BEACH FL    33412‐2008

ALFONCE SIMMONS                                   444 DARIUS PEARCE RD                                                                             YOUNGSVILLE     NC    27596‐9345
ALFONS E JANKOWSKI                                5280 BROOKSIDE DR                                                                                UTICA           MI    48316‐3128
ALFONSE A VOLANTE & MRS MARY VOLANTE JT TEN       3656 LOCKFORD COURT                                                                              THOUSAND OAKS   CA    91360‐6244

ALFONSE GALEOTA                                   25 PARK PLACE                                                                                    GREAT NECK      NY    11021‐5015
ALFONSE J ZAJAC                                   37 CRESTHAVEN DR                                                                                 BURLINGTON      MA    01803‐2137
ALFONSE KRAMPAS                                   2946 WALWORTH                          MARION ROAD                                               MARION          NY    14505‐9605
ALFONSE SZUMA JR                                  849 SOUTH COURT AVE                                                                              GAYLORD         MI    49735‐2005
ALFONSO A DEROSA                                  610 MILL CRK                                                                                     POMPTON PLNS    NJ    07444‐2118
ALFONSO B CURD                                    601 OAK ST                                                                                       LUDLOW          KY    41016‐1319
ALFONSO BONHAM                                    13918 ROSELAWN ST                                                                                DETROIT         MI    48238‐2423
ALFONSO C RODRIGUEZ                               9309 SANDALWOOD DRIVE                                                                            SHREVEPORT      LA    71118‐2825
ALFONSO C TEJEDA                                  205 OAKLAND DR                                                                                   EAST LANSING    MI    48823‐4748
ALFONSO CARRILLO                                  123 OLD OAK RD                                                                                   CANONSBURG      PA    15317‐2626
ALFONSO E RODRIGUEZ                               PO BOX 3581                                                                                      BALTIMORE       MD    21214‐0581
ALFONSO F WHITAKER                                3509 PORTCHARLOTTE BOULEVARD                                                                     PORTCHARLOTTE   FL    33952‐6625
ALFONSO F WILLIAMS                                1751 E GATE DANCER CIR                                                                           INVERNESS       FL    34453
ALFONSO G CARBAJAL                                14045 DAVENTRY ST                                                                                PACOIMA         CA    91331‐3519
ALFONSO GUZMAN                                    14775 ELWELL RD                                                                                  BELLEVILLE      MI    48111‐2580
ALFONSO J CRISCONI                                403 SOUTH SCOTT STREET                                                                           WILMINGTON      DE    19805‐3823
ALFONSO J GALLO JR                                PO BOX 16                                                                                        TALKEETNA       AK    99676‐0016
ALFONSO J TAMAYO                                  413 W 111TH ST TERR                                                                              KANSAS CITY     MO    64114
ALFONSO JANNOTTA                                  70 LAUREL BROOK LANE                                                                             FAIRFIELD       CT    06430‐2079
ALFONSO L CUEVAS                                  APARTADO POSTAL # 149                  MERIDA YUC                              MEXICO
ALFONSO L WILBURN JR                              605 HIDDEN BROOKE DR                                                                             DE SOTO         TX    75115‐3850
ALFONSO LAUDERDALE                                216 CHESSER PARK DR                                                                              CHELSEA         AL    35043
ALFONSO MARTORANA                                 VIA PIAZZA‐VECCHIA 7                   REALMONTE‐AGRIGENTO                     92010 ITALY
ALFONSO PIETRONIGRO & ROSEMARIE PIETRONIGRO JT    2729 SHORE DR                                                                                    MERRICK         NY    11566‐5218
TEN
ALFONSO R MACIAS                                  6620 VERNETTE RD                                                                                 AUSTINTOWN      OH    44515‐2100
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 73 of 850
Name                                                Address1                             Address2             Address3           Address4          City            State Zip

ALFONSO SERRANO                                     5832 E 10TH AVE                                                                                GARY            IN    46403‐3828
ALFONSO SMITH                                       1953 E LOCUST ST                                                                               KANKAKEE        IL    60901‐2728
ALFONSO V WILLIAMSON                                542 YORK ST                                                                                    BURLINGTON      NJ    08016‐1628
ALFONSO Z DELGADO                                   14721 BRAND BLVD                                                                               MISSION HILLS   CA    91345‐1708
ALFONZA COPES                                       823 MIDDLESEX ST                                                                               LINDEN          NJ    07036‐2148
ALFONZA DILLARD                                     29910 RANCHO CALIFORNIA RD           APT 319                                                   TEMECULA        CA    92591‐2978
ALFONZA L MOLDER                                    128 PENNSYLVANIA AVE                                                                           YARDLEY         PA    19067‐1721
ALFONZA PORTER                                      48891 FOX DR SOUTH                                                                             PLYMOUTH        MI    48170‐5209
ALFONZO TUGGLE                                      PO BOX 7364                                                                                    HAMPTON         VA    23666‐0364
ALFORD E CATHEY                                     5068 RUM CREEK COURT S E                                                                       KENTWOOD        MI    49508‐5280
ALFORD E PEABODY & BETTIE J PEABODY JT TEN          3214 GINGER SNAP LANE                                                                          LANSING         MI    48911‐1510
ALFORD E WALTZ                                      5533 MEADOWOOD DRIVE                                                                           SPEEDWAY        IN    46224‐3339
ALFORD E WALTZ & SHIRLEY J WALTZ JT TEN             5533 MEADOWOOD                                                                                 SPEEDWAY        IN    46224‐3339
ALFORD H SHEPARD                                    309 E STEWART                                                                                  FLINT           MI    48505‐3412
ALFORD JOHNSON                                      4545 WEST ELKTON RD                                                                            HAMILTON        OH    45011‐8814
ALFORD PARTIN                                       3271 PLEASENT HILL RD                                                                          MT ORAB         OH    45154‐9177
ALFORD T WARBRITTON JR                              709 NICOLE                                                                                     BURLESON        TX    76028‐5271
ALFORD WILSON                                       48 E COLUMBIA                                                                                  PONTIAC         MI    48340‐2710
ALFORNIA SMITH                                      5480 BIG PINE DR                                                                               YPSILANTI       MI    48197‐7180
ALFORNICE C MANZIE                                  1921 CARTER RD                                                                                 ROCHESTER HLS   MI    48306‐4503
ALFREADA M WALLACE                                  18756 MIDWAY AVE                                                                               SOUTHFIELD      MI    48075‐7143
ALFRED A ANDERSEN & KATHRYN I ANDERSEN JT TEN       7175 N LAPEER RD                                                                               FOSTORIA        MI    48435‐9626

ALFRED A ANDERSON                                   529 MOUNTAIN VIEW TER                                                                          DUNELLEN        NJ    08812‐1137
ALFRED A AZEVEDO                                    23 ALPINE PLACE                                                                                KEARNY          NJ    07032‐1607
ALFRED A BAGAGLIA                                   10 BRIAR HILL ROAD                                                                             NORTH           RI    02904‐3305
                                                                                                                                                   PROVIDENCE
ALFRED A BRIZZOLARA                                 2408 PENNINGTON DR                                                                             WILMINGTON      DE    19810‐2509
ALFRED A BRIZZOLARA JR                              2712 LANDSDOWNE DRIVE E                                                                        WILMINGTON      DE    19810‐3459
ALFRED A BRIZZOLARA JR & BARBARA L BRIZZOLARA JT    2712 LANDSDOWNE DRIVE E                                                                        WILMINGTON      DE    19810‐3459
TEN
ALFRED A BSHARAH                                    2854 MARATHON DR                                                                               SAN DIEGO       CA    92123‐3231
ALFRED A CARROTHERS                                 2949 LACOTA RD                                                                                 WATERFORD       MI    48328‐3128
ALFRED A CARROTHERS & ROSA L CARROTHERS JT TEN      2949 LACOTA RD                                                                                 WATERFORD       MI    48328‐3128

ALFRED A CHURCH & MARIA M CHURCH JT TEN             3 BOSTON LANE                                                                                  PALM COAST      FL    32137‐8519
ALFRED A CYNAR                                      PO BOX 536                                                                                     STERLING HTS    MI    48311‐0536
ALFRED A DIPZINSKI & MRS LORENE DIPZINSKI JT TEN    1464 PARKWOOD ST                                                                               BURTON          MI    48529‐1634

ALFRED A EVANS                                      4004 CENTER RD                                                                                 JONESVILLE      NC    28642‐9238
ALFRED A GALLAGHER                                  3377 PARAMOUNT LN                                                                              AUBURN HILLS    MI    48326‐3964
ALFRED A JEFFERSON                                  29340 STELLAMAR DR                                                                             SOUTHFIELD      MI    48076‐5267
ALFRED A KEMPA                                      105 HARRIS COURT                                                                               BUFFALO         NY    14225‐3868
ALFRED A KONOPKA                                    9030 ARNOLD                                                                                    REDFORD TWP     MI    48239‐1530
ALFRED A LAUN III                                   PO BOX 97                                                                                      TEMPLE HILLS    MD    20757‐0097
ALFRED A LESLIE                                     18731 HW 139                                                                                   HARRIS          MO    64645‐8166
ALFRED A MONIZE                                     1308 RUHL MEADOWS CRT                                                                          KOKOMO          IN    46902
ALFRED A MONROE                                     464 ROBINSON DR                                                                                WILMINGTON      DE    19801‐5745
ALFRED A NITSCHKE                                   9299 PINE ISLAND DR                                                                            SPARTA          MI    49345‐9444
ALFRED A PETOSKY                                    4914 SCATTERED PINES LN NW                                                                     ROCHESTER       MN    55901
ALFRED A POLACCO                                    PO BOX 603                                                                                     MIDDLEBORO      MA    02346‐0603
ALFRED A PREIBISCH                                  726 BRICKEL RD                                                                                 JAMESTOWN       OH    45335‐8725
ALFRED A TEIXEIRA                                   5 ST JOHN LANE                                                                                 MILFORD         MA    01757
ALFRED A TENNISON III TR BYPASS TRUST U‐W‐O EDITH   2800 LESLIE DR                                                                                 ALEXANDER       AR    72002‐8630
DORSEY TENNISON
ALFRED A TUCKER                                     210 BENNETT RD                                                                                 ROCKMART        GA    30153‐3120
ALFRED A ZIEL                                       2434 BERLIN TURNPIKE                                                                           BERLIN          CT    06037‐4021
ALFRED ACTON 2ND & HENRIETTA G ACTON JT TEN         116 WALNUT WAY                                                                                 PINEVILLE       SC    29468‐3060
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 74 of 850
Name                                                 Address1                             Address2             Address3           Address4          City           State Zip

ALFRED ASHMAN & DORIS JEAN ASHMAN JT TEN             84 CORRY AVENUE                                                                                LANCASTER      PA    17601‐3932
ALFRED B CANDELARIA                                  3212 NE 69TH ST                                                                                KANSAS CITY    MO    64119‐5208
ALFRED B CHASTAIN                                    5620 CANGRO ST                                                                                 COCOA          FL    32926‐2217
ALFRED B CLARKE & RUTH B CLARKE JT TEN               122 WALNUT STREET                                                                              BROOKVILLE     PA    15825‐1028
ALFRED B FIFIELD JR                                  64150 DEQUINDRE ROAD                                                                           WASHINGTON     MI    48095‐2206
ALFRED B HENDERSON                                   PO BOX 86                                                                                      ARBYRD         MO    63821‐0086
ALFRED B HURT JR                                     173 S J E GENTRY RD                                                                            CRUMPLER       NC    28617‐9486
ALFRED B LOOS & LAURA E LOOS TR UA 09/08/93 THE      5046 SAND LAKE DR                    RT 1                                                      ONSTED         MI    49265‐9753
LOOS FAM REV TR
ALFRED B PHILLIPS                                    8353 RUTHERFORD RD                                                                             SHIPMAN        IL    62685‐6072
ALFRED B SMITH JR                                    11606 NOBLEWOOD CREST LANE                                                                     HOUSTON        TX    77082‐6813
ALFRED B SMITH JR TR UA 04/05/89 ALFRED B SMITH JR   11606 NOBLEWOOD CREST LANE                                                                     HOUSTON        TX    77082‐6813

ALFRED B WAGNER & JANE WAGNER JT TEN             3001 VIA DE CABALLO                                                                                OLIVENHAIN     CA    92024‐6924
ALFRED BENTLEY                                   1405 TUNNELL MILL RD                                                                               CHARLESTOWN    IN    47111‐1540
ALFRED BIEDERWOLF                                1022 CLARA AVE                                                                                     SHEBOYGAN      WI    53081‐5316
ALFRED BILGRAI                                   2110 OCEAN STREET EXT                                                                              SANTA CRUZ     CA    95060‐1741
ALFRED BLUSMA                                    15776 HUBBARD RD                                                                                   LIVONIA        MI    48154‐3160
ALFRED BOCANEGRA                                 3502 W 38TH PLACE                                                                                  CHICAGO        IL    60632‐3324
ALFRED BOLINSKY                                  40 W PHILLIPS ST                                                                                   COALDALE       PA    18218‐1437
ALFRED BYRON HALL                                RR 1 BOX 1077                                                                                      CARBONDALE     PA    18407‐9014
ALFRED C ADKINS                                  3208 S VINE ST                                                                                     MUNCIE         IN    47302‐5241
ALFRED C ALZHEIMER                               6 POLE BRIDGE RD                                                                                   EGG HBR TWP    NJ    08234‐5844
ALFRED C AUSTIN                                  7016 TALLMADGE ROAD                                                                                ROOTSTOWN      OH    44272‐9759
ALFRED C CONRADI & MARY ANN CONRADI JT TEN       9521 N ORIOLE AVE                                                                                  MORTON GROVE   IL    60053‐1013
ALFRED C DROUILLARD III                          5337 SHADYLANE                                                                                     SPRUCE         MI    48762‐9765
ALFRED C DURBIN                                  3929 CYPRESS                                                                                       KANSAS CITY    MO    64130‐1533
ALFRED C ECKERT JR                               2960 N LAKE SHORE DR                     APT 1400                                                  CHICAGO        IL    60657
ALFRED C GARUZZO TR UA 05/11/88 ALFRED C GARUZZO 2693 HIGHWAY 50                                                                                    BEAUFORT       MO    63013‐1300
REVOCABLE LIVNG TRUST
ALFRED C HURST                                   4001 FOREST GLEN DRIVE                                                                             GREENSBURG     PA    15601‐9068
ALFRED C HURST                                   4001 FOREST‐GLEN DR                                                                                GREENSBURG     PA    15601‐9068
ALFRED C JACOBSEN                                2100 NORTH ATLANTIC AVENUE               APT 604                                                   COCOA BEACH    FL    32931
ALFRED C JETT                                    6214 LAKEVIEW DRIVE                                                                                GUYMON         OK    73942
ALFRED C JONES                                   4929 OAKNOLL DR                                                                                    INDIANAPOLIS   IN    46221‐3774
ALFRED C LACOMBE                                 9264 IRON RIDGE RD                                                                                 NEWPORT        MI    48166‐9579
ALFRED C MARIANO CUST ALISON M MARIANO UTMA      27 HOMEWARD LANE                                                                                   WALPOLE        MA    02081‐2239
MA
ALFRED C MORGAN                                  580 CUMMINS HWY                                                                                    MATTAPAN       MA    02126‐1203
ALFRED C PAULK                                   834 E EIGHTH ST                                                                                    FLINT          MI    48503‐2779
ALFRED C PUFF                                    76 IDLEWOOD DRIVE                                                                                  ORCHARD PARK   NY    14127‐2822
ALFRED C WEBBER                                  BOX 97                                                                                             CHADDS FORD    PA    19317‐0097
ALFRED C WISSINGER                               PO BOX 208                                                                                         GRAND HARRIS   MI    49839‐0208
ALFRED CAMERON BURRIS JR                         331 W RADCLIFF                                                                                     GARDEN CITY    MI    48135‐1044
ALFRED CARL & MRS BETTY I CARL JT TEN            11821 CAROL ST                                                                                     WARREN         MI    48093‐4619
ALFRED CARLOS                                    14314 BRIDGEWOOD DR                                                                                LA MIRADA      CA    90638‐2001
ALFRED CASTANTINI & MRS BETTY CASTANTINI JT TEN  6 WILDWOOD DR                                                                                      NEWBURYPORT    MA    01950‐4528

ALFRED CASTILLO                                8879 LYONS HWY                                                                                       SAND CREEK     MI    49279‐9771
ALFRED CAVASIN                                 13997 CORNELL RD                                                                                     COMCORD        MI    49237‐9504
ALFRED CHAN & MAY CHAN TR UNDER DECLARATION OF 3732 ELSTON AVE                                                                                      OAKLAND        CA    94602‐1602
TRUST 05/22/90
ALFRED CHARLES BINGHAM                         99A FOXBERRY DR                                                                                      GETZVILLE      NY    14068‐1028
ALFRED COLLINS                                 324 RIVER VILLAGE DR                                                                                 DESTREHAN      LA    70047‐4017
ALFRED COMBS                                   42 REGINA AVE                                                                                        FAIRBORN       OH    45324‐4328
ALFRED COMBS                                   11291 MANNING RD                                                                                     FARMERSVILLE   OH    45325‐9208
ALFRED CONEY                                   1822 WHITTLESEY ST                                                                                   FLINT          MI    48503‐4345
ALFRED COOK                                    140 WASHINGTON ST APT#C‐6                                                                            E ORANGE       NJ    07017‐1140
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 75 of 850
Name                                              Address1                              Address2                    Address3    Address4          City               State Zip

ALFRED CORSICO CUST CHRISTOPHER CORSICO UGMA      36 FAIR GROUNDS ROAD                                                                            WOODBURY           CT    06798
NY
ALFRED COUCH                                      624 CLEVELAND AV                                                                                HAMILTON         OH      45013‐2919
ALFRED D BANKS & ANNE M BANKS JT TEN              RR #2 BOX 2272                                                                                  EAST STROUDSBURG PA      18301‐9642

ALFRED D BRITTON 3RD                              17 GUION ST                                                                                     PLEASANTVILLE      NY    10570‐2105
ALFRED D BRYANT SR                                PO BOX #204                                                                                     LAKE VILLAGE       AR    71653‐0204
ALFRED D CHEESMAN                                 621 E 13TH                                                                                      DANVILLE           IL    61832‐7744
ALFRED D DISNEY                                   17061 US HIGHWAY 52                                                                             METAMORA           IN    47030‐9747
ALFRED D KINGSLEY                                 37 GREENWAY S                                                                                   FOREST HILLS       NY    11375‐5940
ALFRED D KINGSLEY & E TEMMA KINGSLEY JT TEN       37 GREENWAY S                                                                                   FOREST HILLS       NY    11375‐5940
ALFRED D KRONTZ                                   BOX 187                                                                                         BLAKSLEE           OH    43505‐0187
ALFRED D KROPIWNICKI & KAREN E KRYSTOSIK JT TEN   1301B CHESAPEAKE AVE                                                                            NAPLES             FL    34102‐0508

ALFRED D METZ JR                                  4222 INDIAN RIPPLE RD                                                                           DAYTON             OH    45440‐3248
ALFRED D OLIVER                                   7439 W WILSON RD                                                                                MONTROSE           MI    48457‐9171
ALFRED D PODCZERVINSKI                            20952 POWERS                                                                                    DEARBORN HGTS      MI    48125‐2817
ALFRED D PRICE                                    2013 TREADWAY AVE                                                                               CLEVELAND          OH    44109‐3656
ALFRED D RICHARDS CUST GREG MATTHEW RICHARDS      PO BOX 850                                                                                      AQUEBOGUE          NY    11931‐0850
UGMA NY
ALFRED D TOMAK                                    350 MARKS RD                                                                                    BRUNSWICK          OH    44212‐1040
ALFRED D VIGNA                                    2815 S E 69TH AVE                                                                               PORTLAND           OR    97206‐1230
ALFRED D VIGNA CUST U/THE LAWS OF OREGON FOR      2815 SOUTHEAST 69TH                                                                             PORTLAND           OR    97206‐1230
DENNIS J VIGNA
ALFRED D VIGNA CUST UNDER THE LAWS OF OREGON      2815 SOUTHEAST 69TH                                                                             PORTLAND           OR    97206‐1230
FOR GARY L VIGNA
ALFRED D YOST                                     1018 MANATEE ROAD E‐205                                                                         NAPLES             FL    34114‐3921
ALFRED DEBONO                                     56534 BROADMOOR LN                                                                              MACOMB             MI    48042
ALFRED DI BAGGIO                                  9515 PLYMOUTH AVE                                                                               GARFIELD HEIGHTS   OH    44125‐2366

ALFRED DIAZ                                       900 LONG BL 235                                                                                 LANSING            MI    48911‐6708
ALFRED DONALD MILLER                              777 WOOLDRIDGE LANE                                                                             JELLICO            TN    37762‐3517
ALFRED DORN                                       250 RIDGE PIKE                        APT 132                                                   LAFAYETTE HL       PA    19444‐1907
ALFRED DUANE WILSHUSEN                            900 GLEN LAKES TOWER                  9400 N CENTRAL EXPRESSWAY   SUITE 900                     DALLAS             TX    75231‐5041
ALFRED E BAUMGART & RUTH E BAUMGART JT TEN        12170 WATERFOWL LANE                                                                            CHARDON            OH    44024‐7023

ALFRED E BAUMGART & RUTH E BAUMGART JT TEN        12170 WATERFOWL LN                                                                              CHARDON            OH    44024‐7023

ALFRED E BISSELL 3RD                              9 ADAMS RD                                                                                      BOXFORD            MA    01921‐1301
ALFRED E BOGGS                                    3379 ONSTED HWY                                                                                 ADRIAN             MI    49221‐9459
ALFRED E BYWATER JR                               331 W FRONT                                                                                     OVID               MI    48866‐9615
ALFRED E DELLAPENNA                               C/O BRAIDWOOD SENIOR HOUSING          660 WEST SECOND STREET      APT 112                       BRAIDWOOD          IL    60408
ALFRED E FARRON                                   3103 POPLAR HILL ROAD                                                                           LIVONIA            NY    14487‐9321
ALFRED E FLAGG                                    3787 E COPAS RD R#2                                                                             OWOSSO             MI    48867‐9611
ALFRED E GARLAND                                  1596 GREENHILL RD                                                                               MOUNT AIRY         NC    27030‐9482
ALFRED E GUNTHARP                                 7 DUTCH MEADOWS DR                                                                              COHOES             NY    12047‐4940
ALFRED E GWOZDZ & ALAN R GWOZDZ JT TEN            112 VICTORIA CT                                                                                 SAINT CLAIR        MI    48079‐5542
ALFRED E GWOZDZ & KATHLEEN R GWOZDZ JT TEN        37390 FIORE TRAIL                                                                               MT CLEMENS         MI    48036‐2032

ALFRED E HEIDEN & BARBARA L HEIDEN JT TEN         7376 LAKE LAKOTA PL                                                                             INDIANAPOLIS       IN    46217‐7085
ALFRED E HILLENBRAND                              407 LOTHROP                                                                                     GROSSE POINTE      MI    48236‐3207
                                                                                                                                                  FARM
ALFRED E HINES                                    16 JOHN ST                                                                                      SUMMIT             NJ    07901‐3980
ALFRED E KEMPSKI                                  2401 W ERIC DRIVE                                                                               WILMINGTON         DE    19808
ALFRED E LEWIS & GLADYS E LEWIS JT TEN            12321 NEEDLEPINE TERRACE                                                                        SILVER SPRING      MD    20904‐6650
ALFRED E MARSHALL                                 11738 YELLOWSTONE                                                                               DETROIT            MI    48204‐1493
ALFRED E MC GEE                                   LOCK BOX 7632                                                                                   CHICAGO            IL    60680‐7632
ALFRED E MESING & BETTY K MESING JT TEN           1813 GILL HALL RD                                                                               FINLEYVILLE        PA    15332‐9306
ALFRED E MIDDLETON                                500 S HIGHLAND ST                                                                               DEARBORN           MI    48124‐1657
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 76 of 850
Name                                             Address1                               Address2             Address3           Address4          City              State Zip

ALFRED E ROBERTS & HENRIETTA M ROBERTS JT TEN    PO BOX 702                                                                                       SHELTER ISLAND    NY    11964‐0702

ALFRED E ROSIN                                   10916 BLUE RIDGE LANE                                                                            NECOSTA           MI    49332‐9540
ALFRED E SAMUELS                                 1201 FORT ST                           APT 212                                                   LINCOLN PARK      MI    48146‐1822
ALFRED E SEIDEL IV                               208 LEAP ST                                                                                      EGG HBR TWP       NJ    08234
ALFRED E SPITZA                                  3151 EDEN TRL                                                                                    BRIGHTON          MI    48114‐9185
ALFRED E SYTSMA                                  1068 76TH SE ST                                                                                  BYRON CENTER      MI    49315‐9319
ALFRED E VAUGHAN II                              494 RIVER CHASE WAY                                                                              NEW BRAUNFELS     TX    78132‐5212
ALFRED E WALKER                                  1801 HEMLOCK                                                                                     PLAINFIELD        IN    46168‐1832
ALFRED E WATSON                                  740 SOUTH LUCINDA DRIVE                TUSON                                                     TUCSON            AZ    85748
ALFRED E WILLIAMS & SANDRA K WILLIAMS JT TEN     3 BELLWOOD DR                                                                                    SWARTZ CREEK      MI    48473‐8283

ALFRED E ZIMMER                                  5118 LAKE SHORE DR                                                                               DEFIANCE          OH    43512‐8408
ALFRED ENLUND & MRS LILLIAN ENLUND JT TEN        PO BOX 5328                                                                                      BAYSHORE          NY    11706‐0232
ALFRED F ADAMIC JR                               29601 ROBERT ST                                                                                  WICKLIFFE         OH    44092‐2263
ALFRED F BOTTKE JR                               11304 SPRINGFIELD DR                                                                             FREDERICKSBURG    VA    22408‐1547
ALFRED F BREMER                                  201 DEARBORN ST                                                                                  OGDENSBURG        NY    13669‐2115
ALFRED F DEL ROSSI JR                            11414 VALLEY FORGE CIR                                                                           KING OF PRUSSIA   PA    19406‐1191
ALFRED F EBERT JR                                893 N 975 W                                                                                      ANDREWS           IN    46702‐9744
ALFRED F FISCHL                                  1831 BURNING BUSH                                                                                ROCHESTER         MI    48309‐3320
ALFRED F HERKNESS AND PAULINE M HERKNESS UTA     17934 VALLE DE LOBO DR                                                                           POWAY             CA    92064‐1021
DTD 04‐19‐83
ALFRED F HUGUELY                                 5283 BEAR LAKE DRIVE                                                                             EAST LANSING      MI    48823‐7213
ALFRED F LABRECQUE SR                            2352 NICHOLS AVE                                                                                 FLINT             MI    48507‐4450
ALFRED F LATIMER II                              4 HIGHGATE COURT                                                                                 ST CHARLES        IL    60174‐1425
ALFRED F MILLER JR                               3007 SEEMSVILLE ROAD                                                                             NORTHAMPTON       PA    18067‐8932
ALFRED F MOSHKOSKY                               6439 BISHOP                                                                                      LANSING           MI    48911‐6214
ALFRED F PERRAULT & HELEN L PERRAULT JT TEN      G 3248 N CENTER RD                                                                               FLINT             MI    48506‐2070
ALFRED F SEVERYN                                 3689 ELMBROOK DRIVE                                                                              CLEVELAND         OH    44147‐2054
ALFRED F SEVERYN & RITA R SEVERYN JT TEN         3689 ELM BROOK DRIVE                                                                             CLEVELAND         OH    44147‐2054
ALFRED F STABILITO & GINA M POPOVICH JT TEN      75 MEADOWBROOK                                                                                   YOUNGSTOWN        OH    44512‐2606
ALFRED F WARZALA                                 1570 PLANK RD                                                                                    PETERSBURG        NY    12138‐5632
ALFRED FERNANDES                                 6174 MASTERS DR                                                                                  SHREVEPORT        LA    71129‐4134
ALFRED G ADAMS                                   1708 ROSECRANS PL                                                                                BRENTWOOD         TN    37027‐1705
ALFRED G BEYER                                   1537 CR 218                                                                                      WEIMAR            TX    78962‐5184
ALFRED G BRECHTELSBAUER                          5284 LAKEVIEW RD                                                                                 GLADWIN           MI    48624‐9261
ALFRED G BROWN & DORIS M BROWN TR BROWN          39760 FOX VALLEY DR                                                                              CANTON            MI    48188‐1533
LIVING TRUST UA 07/22/05
ALFRED G BURITZ & MRS BETTY JANE BURITZ JT TEN   3816 WEDGEWOOD DR                                                                                BLOOMFIELD TWP    MI    48301‐3949

ALFRED G CAPRONI JR & MARY ANN CAPRONI JT TEN    452 WALKER ST                                                                                    NORTH ADAMS       MA    01247‐2883

ALFRED G CONTE & DOROTHY E CONTE JT TEN          C/O ROBERT A CONTE                     406 MAPLE AVE                                             WILMINGTON        DE    19809
ALFRED G ELDRIDGE                                77 LAKE NESS DR                                                                                  MOUNT MORRIS      MI    48458‐8888
ALFRED G GRUSZCZYNSKI                            830 MAIN AVE                                                                                     SCHENECTADY       NY    12303‐1130
ALFRED G MAASS                                   11336 HWY 290W                                                                                   BRENHAM           TX    77833‐1623
ALFRED G MOUGHLER                                108 SABRA DR                                                                                     EASLEY            SC    29642‐2958
ALFRED G PAWLACZYK & JUNE M PAWLACZYK JT TEN     13514 TOUCHSTONE PL                                                                              WEST PALM BCH     FL    33418‐6974

ALFRED G ROGNLIEN                                2049 LAKE MOOR DRIVE                                                                             OLYMPIA           WA    98512‐5565
ALFRED G SANSONE & JUDITH ANN SANSONE JT TEN     244 DEER RUN DR                                                                                  WALKERSVILLE      MD    21793‐8192

ALFRED G WATERS & MARGARET L WATERS JT TEN       PO BOX 138                                                                                       CHESWOLD          DE    19936‐0138
ALFRED G YATES JR & BARBARA L YATES JT TEN       8 GREEN BRIER                                                                                    ALLISON PARK      PA    15101‐1600
ALFRED GARIPAY OLIVIER JR                        4312 COWAN PLACE                                                                                 BELCAMP           MD    21017‐1347
ALFRED GARZA & NORA S GARZA JT TEN               6464 BREWER RD                                                                                   FLINT             MI    48507‐4606
ALFRED GAULDEN JR                                128 S 29TH ST                                                                                    MUSKOGEE          OK    74401
ALFRED GAWRON                                    23 LEE AVE                                                                                       SOUTH AMBOY       NJ    08879‐1240
ALFRED GEORGE MOUNT                              2547 FAIRWAY DR                                                                                  YORK              PA    17402‐7785
                                         09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 77 of 850
Name                                           Address1                            Address2             Address3           Address4          City            State Zip

ALFRED GIOVETTI                                1615 FREDERICK RD                                                                             CATONSVILLE      MD   21228
ALFRED GUNN & MARY GUNN JT TEN                 106 LEE AVE                                                                                   ROCKVILLE CENTRE NY   11570‐3018

ALFRED H BARTH                                 17908 CAINFORD PLACE                                                                          OLNEY           MD    20832
ALFRED H BERGMANN                              6101 E MOLLOY RD                                                                              E SYRACUSE      NY    13057‐1019
ALFRED H BORMAN                                39W990 ROBERT LOWELL PL                                                                       SAINT CHARLES   IL    60175‐7764
ALFRED H CAREY JR                              335 MOCKINGBIRD HILL ROAD                                                                     HOCKESSIN       DE    19707‐9723
ALFRED H CLAUSEN                               10265 TURQUOISE CT                                                                            PARKER          CO    80134‐9154
ALFRED H COBURN                                60 LINWOOD ST                                                                                 CHELMSFORD      MA    01824‐2233
ALFRED H DUNHAM III                            194 STILLHOUSE RD                                                                             MILLSTONE TWP   NJ    08510
ALFRED H HITCHCOX JR                           9745 WOODLAWN DR                                                                              PORTAGE         MI    49002‐7220
ALFRED H HOFFMANN                              7206 2ND ST                                                                                   PORT HURON      MI    48059‐1903
ALFRED H HOLMES                                59 BRIARWOOD ROAD                                                                             NAUGATUCK       CT    06770‐1607
ALFRED H KLEIMAN & EDITH KLEIMAN JT TEN        160 WEST END AVE                    APT 2E                                                    NEW YORK        NY    10023‐5602
ALFRED H O BOUDREAU                            415 MARKET STREET                                                                             PARKERSBURG     WV    26101
ALFRED H PRIDE                                 3716 CHERRY RIDGE BLVD                                                                        DECATUR         GA    30034‐5009
ALFRED H RAYNES                                31 GLENVIEW DR                      PO BOX 6                                                  HARVARD         MA    01451‐0006
ALFRED H RICH                                  605 RIVIERA DR                                                                                MCKINNEY        TX    75070
ALFRED H SCHMIDUTZ                             1220 N SAGINAW                                                                                LAPEER          MI    48446‐1542
ALFRED H SCHUBERT & ALICE L SCHUBERT JT TEN    4 N 970 E MARY DR                                                                             ST CHARLES      IL    60175
ALFRED H SCHUMACHER & ESTHER M SCHUMACHER JT   2750 60TH ST SE                                                                               GRAND RAPIDS    MI    49508‐6612
TEN
ALFRED H SWAFFORD                              5040 MARILAKE CIR                                                                             KETTERING       OH    45429‐5416
ALFRED HAMMER & BLANCHE HAMMER JT TEN          137 SURREY DR                                                                                 NEW ROCHELLE    NY    10804‐1608
ALFRED HAMMONDS JR                             8 HONEYSUCKLE WAY                                                                             EAST AMHERST    NY    14051‐1109
ALFRED HANKINS                                 32206 ANDREW PL                                                                               WARSAW          MO    65355‐4712
ALFRED HARDY                                   28 OAKWOOD PL                                                                                 ELIZABETH       NJ    07208‐3214
ALFRED HARRIS                                  3646 LUDGATE RD                                                                               CLEVELAND       OH    44120‐5068
ALFRED HELUK                                   55 JAMES ST                                                                                   SOUTH RIVER     NJ    08882‐2027
ALFRED HERZOG & SUSAN HERZOG JT TEN            46 BANK ST                                                                                    NEW YORK        NY    10014‐5216
ALFRED HOOPER                                  8827 MARYGROVE                                                                                DETROIT         MI    48221‐2947
ALFRED HULSTRUNK                               1355 RT 146                                                                                   REXFORD         NY    12148‐1218
ALFRED I HABERMAN                              129 MORGAN ST                                                                                 HOLYOKE         MA    01040‐2015
ALFRED J ARMSTRONG & CAROLYN J ARMSTRONG JT    6228 HEREFORD ROAD                                                                            SALINE          MI    48176‐9225
TEN
ALFRED J BAILEY                                103 YORKSHIRE CIR                                                                             TRENTON         NJ    08628‐3250
ALFRED J BANKS                                 2135 WALLACE ST                                                                               STROUDSBURG     PA    18360‐2818
ALFRED J BANKS & SHEILA BANKS JT TEN           76 HONORS COURSE DR                                                                           LAS VEGAS       NV    89148‐2501
ALFRED J BERNARD                               2605 CEDAR POINTE DR                                                                          JANESVILLE      WI    53546‐5453
ALFRED J BLOCK JR                              6260 LANGE RD                                                                                 BIRCH RUN       MI    48415‐8749
ALFRED J CALACI                                6525 COUNTY HIGHWAY 16                                                                        DELHI           NY    13753
ALFRED J CASEBOLT                              3970 S HIGH ST                                                                                COLUMBUS        OH    43207‐4014
ALFRED J CURTISS JR                            30 HIGHLAND AVE                                                                               W SENECA        NY    14224‐2827
ALFRED J DI BERARDINE                          BOX 197                                                                                       CRABTREE        PA    15624‐0197
ALFRED J DIGIACOMO                             14 GLENNWOOD DR                                                                               PLAINVILLE      CT    06062‐1021
ALFRED J DROUILLARD                            1116 SYMES CT                                                                                 ROYAL OAK       MI    48067‐1568
ALFRED J EDGAR                                 21445 RAINTREE DR                                                                             MACOMB          MI    48044‐6412
ALFRED J ELLIOTT                               7875 FENNER RD                                                                                LAINGSBURG      MI    48848‐8701
ALFRED J ERZAK JR                              3151 CRYSTAL LAKE DR                                                                          NAPLES          FL    34119
ALFRED J FARO                                  50 MOUNTAIN ST                                                                                WOBURN          MA    01801‐1230
ALFRED J FORTINO                               320 W HODGE AVE                                                                               LANSING         MI    48910‐2915
ALFRED J GILLIO JR                             746 WAYNE PL                                                                                  TOWNSHIP OF     NJ    07676‐4238
                                                                                                                                             WASHINGTON
ALFRED J GLOVER                                2356 BENSON CREEK                                                                             LAWRENCEBURG    KY    40342‐9485
ALFRED J GRACIANO                              1354 CLOVE COURT                                                                              NEWMAN          CA    95360‐1043
ALFRED J GRZEGOREK III                         17539 SNAPDRAGON DR                                                                           ROCKWOOD        MI    48173‐8745
ALFRED J GRZEGOREK JR                          13121 ORANGE                                                                                  SOUTHGATE       MI    48195‐1615
ALFRED J HRUSKA                                920 NORTH 17TH ST                                                                             NEDERLAND       TX    77627‐4905
ALFRED J HUPP                                  4588 WARWICK DR S                                                                             CANFIELD        OH    44406‐9240
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 78 of 850
Name                                             Address1                               Address2             Address3           Address4          City                State Zip

ALFRED J JANKOWSKI                               791 ALLEN ST                                                                                     CARO                MI    48723‐1414
ALFRED J JENSON                                  720 KNIGHT DR                                                                                    MILFORD             MI    48381‐1114
ALFRED J KANDIK                                  2701 PENNY LANE                        APT 115                                                   AUSTIN              TX    78757‐7616
ALFRED J KANEWSKI                                65 CREST BLVD                                                                                    EASTON              PA    18045‐3139
ALFRED J KENNARD                                 319 GAYWAY                                                                                       VASSAR              MI    48768‐9670
ALFRED J KLIMEK                                  21 ELIZABETH ST                                                                                  SAYREVILLE          NJ    08872‐1624
ALFRED J KOVATS                                  11810 HILLBROOK DR                                                                               HOUSTON             TX    77070‐1223
ALFRED J KRAMER                                  14133 GILBERT RD                                                                                 ALLENTON            MI    48002‐3801
ALFRED J LA GAMBA                                508 COACH RD                                                                                     BLACKWOOD           NJ    08012‐1204
ALFRED J LEAVEY & EVELYN J LEAVEY JT TEN         15428 VAUGHAN                                                                                    DETROIT             MI    48223‐1755
ALFRED J LEMOINE                                 733 HIGHLAND ST                                                                                  NORTHBRIDGE         MA    01534‐1115
ALFRED J LOUNDS                                  1140 W TAFT RD                                                                                   SAINT JOHNS         MI    48879‐9104
ALFRED J LUKER JR & ELIZABETH L LUKER JT TEN     1106 HIGHGATE ROAD                                                                               WILMINGTON          DE    19808‐2112
ALFRED J LUNDIE & BETTY M LUNDIE JT TEN          20519 CEDAR                                                                                      ST CLAIR SHORES     MI    48081‐1793
ALFRED J MARTIN JR                               PO BOX 4697                                                                                      SANTA FE            NM    87502‐4697
ALFRED J MORAN                                   136 TAYLOR AVE                                                                                   DEDHAM              MA    02026‐5106
ALFRED J MURPHY & MARGARET M MURPHY JT TEN       5 CHERRY PL                                                                                      HILLSDALE           NJ    07642‐2525

ALFRED J NARDI                                   1385 ROUTE 35                          PMB 166                                                   MIDDLETOWN          NJ    07748‐2012
ALFRED J NAVARRO                                 131 BLAINE                                                                                       PONTIAC             MI    48342‐1102
ALFRED J OLINGER                                 1615 SLEEPY HOLLOW DRIVE                                                                         COSHOCTON           OH    43812‐3145
ALFRED J PAULSEN & MRS ARLENE N PAULSEN JT TEN   837 ORADELL AVE                                                                                  ORADELL             NJ    07649‐2033

ALFRED J RICCIUTO                                 433 MORRIS STREET                     SUDBURY ON                              P3B 1B8 CANADA
ALFRED J SANVILLE & MARY L SANVILLE JT TEN        635 MOUNTAINVIEW AVE                                                                            SYRACUSE            NY    13224‐1318
ALFRED J SCHLOFF JR                               5014 SPICE GARDEN LN                                                                            WOODSTOCK           GA    30189‐6911
ALFRED J SCHREMS JR                               1751 SOUTH BEYER ROAD                                                                           SAGINAW             MI    48601‐9433
ALFRED J SERVATI                                  134 JONQUIL LN                                                                                  ROCHESTER           NY    14612‐1468
ALFRED J SIRUTIS JR                               2890 GREEN MOUNTAIN RD                                                                          DELAND              FL    32720‐1425
ALFRED J SKORUPA                                  2341 UNION RD                         APT 146                                                   WEST SENECA         NY    14224‐1470
ALFRED J SODERBERG                                29 S EDITH                                                                                      PONTIAC             MI    48342‐2938
ALFRED J SOHACKI                                  140 E BROWN RD                                                                                  MUNGER              MI    48747‐9303
ALFRED J STEMPIEN JR                              2722 WESTON AVENUE                                                                              NIAGARA FALLS       NY    14305‐3230
ALFRED J TERP SR & ALFRED J TERP JR JT TEN        BOX 325                               MAIN ST                                                   CUTCHOGUE           NY    11935‐0325
ALFRED J TRAKUL & DWAYNE D TRAKUL JT TEN          9164 MORNING WALK LANE                APT 104                                                   CORDOVA             TN    38018‐2430
ALFRED J TRUDEAU TR ALFRED J TRUDEAU LIVING TRUST 5233 BELMONTE DR                                                                                ROCHESTER           MI    48306‐4786
UA 06/25/03
ALFRED J TYNAN & EILEEN M TYNAN JT TEN            5552 DELORES AVE                                                                                BALTIMORE           MD    21227‐2727
ALFRED J VALYOU TR VALYOU FAMILY TRUST UA         411 STATE RD                                                                                    CHERAW              SC    29520‐1621
08/17/00
ALFRED J WIENER                                   1904 ALLEN ST                                                                                   ALLENTOWN           PA    18104‐5005
ALFRED J WILLIAMS JR                              1627 COLUMBIA RD                                                                                BERKLEY             MI    48072
ALFRED J WOOD & ANNA M WOOD JT TEN                23712 HOLLANDER                                                                                 DEARBORN            MI    48128‐1295
ALFRED J WOZNIAK & CAROL J WOZNIAK JT TEN         510 ORIENTAL POPPY                                                                              VENICE              FL    34293‐6959
ALFRED J ZUKOWSKI & JUDITH A ZUKOWSKI JT TEN      321 NORTH AVE EAST                    UNIT 112                                                  CRANFORD            NJ    07016‐2468

ALFRED JAMES RUSSELL                             1309 BRISTERS HILL RD                                                                            WAUSAU              WI    54401‐9007
ALFRED JENKINS                                   18978 STOEPEL                                                                                    DETROIT             MI    48221‐2253
ALFRED JENNINGS WILSON                           210 E 8TH ST                                                                                     ALEXANDRIA          IN    46001‐2617
ALFRED JENTSCH JR                                11242 EAST EMELITA AVE                                                                           MESA                AZ    85208‐7679
ALFRED JOE HOLLIFIELD                            310 APPALOOSA                                                                                    POCATELLO           ID    83201‐7004
ALFRED JOHN DI LEONE                             84 BEACON ST                                                                                     HAMDEN              CT    06514‐4011
ALFRED JOHN HOUSE                                BOX 304                                                                                          RICHFIELD SPRINGS   NY    13439‐0304

ALFRED JOHN LOCARNI JR                           5901 SAINT CROIX DR                                                                              COEUR D ALENE       ID    83815‐0487
ALFRED JOHN YACCINO                              196 MARGARETTA ST                                                                                CARNEGIE            PA    15106‐2250
ALFRED JONES                                     1100 GRANGER RD                                                                                  ORTONVILLE          MI    48462‐9298
ALFRED JORDAN                                    105 EAST PARADE                                                                                  BUFFALO             NY    14211‐1346
ALFRED JOSEPH CAIRONE                            17 KING ROAD                                                                                     FOSTER              RI    02825‐1340
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 79 of 850
Name                                               Address1                              Address2                   Address3     Address4          City              State Zip

ALFRED K ONO                                       1609 N E KNOTT                                                                                  PORTLAND          OR    97212‐3325
ALFRED K TALMADGE JR                               36 WOODCREST DR                                                                                 BRISTOL           CT    06010‐3062
ALFRED KELDORF                                     260 LYEL STREET                                                                                 SPENCERPORT       NY    14559‐9562
ALFRED KERENDIAN                                   4470 SHELDON DRIVE                                                                              LA MESA           CA    91941‐7806
ALFRED KITT BERG                                   9 ELMHIRST DRIVE                                                                                OLD WESTBURY      NY    11568‐1007
ALFRED KOEHNE                                      14345 S KOLIN                                                                                   MIDLOTHIAN        IL    60445‐2653
ALFRED KOURBAGE                                    148 HUNTER AVE                                                                                  STATEN ISLAND     NY    10306‐3417
ALFRED L ALSPACH TR ALFRED L ALSPACH REVOCABLE     332 LARK DRIVE                                                                                  PASO ROBLES       CA    93446‐4031
TRUSTUA 1/21/00
ALFRED L ARNOLD                                    C/O ANDREW JAY THAV                   29200 NORTHWESTERN HWY     SUITE 155                      SOUTHFIELD        MI    48034
ALFRED L BEAVER JR                                 1476 TAIT ROAD                                                                                  LORDSTOWN         OH    44481‐9644
ALFRED L BEEMAN                                    3624 HARBORVIEW CT                                                                              NEW PORT RICHEY   FL    34652‐3013

ALFRED L BILLINGS CUST MARY A BILLINGS UGMA MA     109 S RED HILL ROAD                                                                             MARTINSBURG       WV    25401

ALFRED L BLUNK                                     8081 N MONTGOMERY CO LINE RD                                                                    ENGLEWOOD         OH    45322‐9620
ALFRED L BROWN                                     745 UNDERWOOD ROAD                                                                              RUSSELLVILLE      AL    35654‐8144
ALFRED L CLORE                                     12489 ELMS RD                                                                                   BIRCH RUN         MI    48415‐8768
ALFRED L COLOMBO JR                                218 ATKINS AVE                                                                                  WILMINGTON        DE    19805
ALFRED L CORDER                                    2205 WHITECLIFF DR                                                                              INDIANAPOLIS      IN    46234‐8855
ALFRED L FAVRE                                     16 PARWOOD TRL                                                                                  DEPEW             NY    14043‐1066
ALFRED L GAWNE                                     4979 BRIGHAM                                                                                    GOODRICH          MI    48438‐9603
ALFRED L GITRE                                     7501 BEAN ROAD                                                                                  FENTON            MI    48430‐8971
ALFRED L GOLDEN                                    1200 HASTINGS CT                                                                                ROCK HILL         SC    29732‐9046
ALFRED L GRAY                                      N16 W27564 PHEASANT LANE                                                                        PEWAUKEE          WI    53072‐5351
ALFRED L GREENLEAF JR                              51 MAHEU STREET                                                                                 BRISTOL           CT    06010‐3051
ALFRED L HART JR                                   PO BOX 1381                                                                                     BRYN MAWR         PA    19010‐7381
ALFRED L HILL & MARY ALICE HILL TEN COM            409 SEVENTH ST                                                                                  CARROLLTON        KY    41008‐1301
ALFRED L HOLLOMAN                                  87 HUNTER ST                                                                                    OSSINING          NY    10562‐5441
ALFRED L JELLISON & MARGARET K JELLISON JT TEN     BOX 109 JOHNSON RD                                                                              DEDHAM            ME    04429

ALFRED L JOHNSON & BETTY MARIE JOHNSON JT TEN      325 OSMUN ST                                                                                    PONTIAC           MI    48342‐3132

ALFRED L KORNDOERFER JR & N GAIL KORNDOERFER JT    203 MONTANA TRAIL                                                                               BROWNS MILLS      NJ    08015‐5740
TEN
ALFRED L KRESSE JR & ANN L KRESSE JT TEN           8664 GATES ROAD                                                                                 ROMEO             MI    48065‐4365
ALFRED L LOGAN & MARJORIE C LOGAN JT TEN           3509 CRANSTON AVE                                                                               WILMINGTON        DE    19808‐6105
ALFRED L MILLER & ANNA H MILLER TEN ENT            400 LOCUST LANE S                                                                               WEST CHESTER      PA    19380‐2285
ALFRED L NAGY                                      208 CAMBRIDGE DRIVE                                                                             AURORA            OH    44202‐8454
ALFRED L NARDINE JR                                3422 S PETERSBURG ROAD                                                                          WHEATLAND         IN    47597‐9777
ALFRED L NORVELL                                   2150 N UNION RD                                                                                 DAYTON            OH    45426‐3420
ALFRED L OSINSKI                                   4800 S BRENNAN RD                                                                               HEMLOCK           MI    48626‐9747
ALFRED L PENA                                      4001 N MISSION RD                     APT A43                                                   LOS ANGELES       CA    90032‐2562
ALFRED L PETTIT                                    308 W BEARDSLEY AVE                                                                             ELKHART           IN    46514‐2749
ALFRED L RAY                                       2205 SWENSBERG NE                                                                               GRAND RAPIDS      MI    49505‐4065
ALFRED L SCOTT & RUTH E VON WIESENTHAL TR UW       C O SCOTT MACON                       800 THIRD AVE 16TH FLOOR                                  NEW YORK          NY    10022‐7604
SIMON SCHLESINGER ART 4
ALFRED L SOVIE                                     510 WADHAMS ST                                                                                  OGDENSBURG        NY    13669‐2118
ALFRED L STEPHENS & EVA DOREEN STEPHENS JT TEN     5227 DEL PRADO BLVD S                                                                           CAPE CORAL        FL    33904

ALFRED L TUCKER                                    936 HAYES RD                                                                                    CROSSVILLE        TN    38555‐6933
ALFRED L WASH                                      2400 68TH AVE                                                                                   OAKLAND           CA    94605‐2338
ALFRED L WEBERSINN                                 15495 RIDDLE LANE                                                                               CHAGRIN FALLS     OH    44022‐3943
ALFRED L WINTERS                                   RR 1 BOX 1                                                                                      PLEASANTON        KS    66075‐9704
ALFRED LABALBO & MRS RUTH LABALBO JT TEN           83‐B WINTHROP RD                                                                                MONROE            NJ    08831‐2603
                                                                                                                                                   TOWNSHIP
ALFRED LEWIS                                       539 CALIFORNIA                                                                                  PONTIAC           MI    48341‐2514
ALFRED LICHTER                                     850 WEST 176TH ST                                                                               NEW YORK          NY    10033‐7419
ALFRED LOW & MRS LILLIAN L LOW JT TEN              PO BOX 522                                                                                      ORINDA            CA    94563‐0522
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                                                         Part 1 of 8 Pg 80 of 850
Name                                               Address1                              Address2                Address3                         Address4          City             State Zip

ALFRED LUPERCIO                                    28756 ANCHOR                                                                                                     CHESTERFIELD     MI    48047‐5308
ALFRED LYON BIXLER III                             201 BUCKHEAD DR                                                                                                  LAURENS          SC    29360‐3968
ALFRED M BERTOLET & MAGDA Y BERTOLET JT TEN        1962 MEADOW LN                                                                                                   READING          PA    19610‐2710

ALFRED M BROWN JR                                  1001 E MARY LANE                                                                                                 OAK CREEK        WI    53154‐6468
ALFRED M BUTZBAUGH                                 11492 REDBUD TRL                                                                                                 BERRIEN SPGS     MI    49103‐9216
ALFRED M COOPER                                    647 WILBURN ST                                                                                                   LONDON           KY    40741
ALFRED M DOWNUM & DARLENE M DOWNUM TR UA           6557 PINE MEADOWS DR                                                                                             SPRING HILL      FL    34606‐3346
DOWNUM FAMILY TRUST 02/16/90
ALFRED M FLORES                                    10251 HADDON AVE                                                                                                 PACOIMA          CA    91331‐3116
ALFRED M HARRISON                                  409 WASHBURN RD                                                                                                  BENTON           KY    42025‐6358
ALFRED M MAY                                       30 SWEETMAN LANE                                                                                                 WEST MILFORD     NJ    07480‐2933
ALFRED M PHELEY JR & BETTY E PHELEY JT TEN         12874 KELLY RD                                                                                                   BROOKLYN         MI    49230‐8400
ALFRED M SAYERS                                    148 WHIRLAWAY LOOP                                                                                               PATASKALA        OH    43062‐9547
ALFRED M SEXTON 2ND                                22 HAWTHORNE LANE                                                                                                WESTON           MA    02493‐2267
ALFRED M SNYDER                                    2114 N COUNTY ROAD 800 E                                                                                         AVON             IN    46123‐9628
ALFRED M STETTNER                                                                                                                                                   MEDUSA           NY    12120
ALFRED M VELASCO                                   11618 MITLA AVENUE                                                                                               DOWNEY           CA    90241‐4336
ALFRED MARK ROOT & BEVERLY JEAN ROOT TR UA         3082 SHADOW BROOK CT                                                                                             GRAND JUNCTION   CO    81504‐4259
08/28/91 ROOT LIVING TRUST
ALFRED MORELAND                                    22 DELBEATRICE CRES                   WEST HILL ON                                             M1C 3L7 CANADA
ALFRED N CLOSSON JR                                8613 CHATHAM ST                                                                                                  FORST MYERS      FL    33907‐4111
ALFRED N OSTUN                                     4954 PINCKNEY ROAD                                                                                               HOWELLL          MI    48843‐7807
ALFRED N RETTENMIER                                3932 HOLLADAY PARK LOOP SE                                                                                       LACEY            WA    98503‐6984
ALFRED N RUDZINSKI                                 828 SOUTHVIEW DR                                                                                                 ENGLEWOOD        OH    45322‐2213
ALFRED N SELBERG & REGINA L SELBERG JT TEN         8930 TWIN LAKES DR                                                                                               WHITE LAKE       MI    48386‐2090
ALFRED N SELBERG REGINA L SELBERG & MARY J HALL JT 8930 TWIN LAKES DR                                                                                               WHITE LAKE       MI    48386‐2090
TEN
ALFRED NADER EDWARD NADER & RICHARD NADER JT 33900 MACOMB                                                                                                           FARMINGTON       MI    48335‐3535
TEN
ALFRED NUTLOUIS                                    101 E AITKEN                                                                                                     PECK             MI    48466‐9608
ALFRED O BERGGREEN                                 3033 POTOMAC DR                                                                                                  BATON ROUGE      LA    70808‐3456
ALFRED O PACE & MRS BERTHA PACE JT TEN             9 KIMBORLY CT                                                                                                    COLLINSVILLE     IL    62234‐5544
ALFRED O REYNOLDS JR                               1755 ORANGE GROVE SHORES DR                                                                                      CHARLESTON       SC    29407‐3667
ALFRED O WILLIAMS III                              PO BOX 856                            S DENNIS                                                                   SOUTH DENNIS     MA    02660
ALFRED OBERLANDER & SHARON OBERLANDER JT TEN 2103 LARISSA CT                                                                                                        TRINITY          FL    34655‐4956

ALFRED ONO CUST UNDER THE LAWS OF OREGON FOR       1609 N E KNOTT                                                                                                   PORTLAND         OR    97212‐3325
ALISTAIR A ONO
ALFRED ORESCOVICH & MRS ANTOINETTE ORESCOVICH      68 COZY CORNER                                                                                                   AVENEL           NJ    07001‐1123
JT TEN
ALFRED P ACERRA                                    4603 65TH PL                                                                                                     WOODSIDE         NY    11377‐5843
ALFRED P GUENTHER                                  R R #2 970 LINE #1                    NIAGARA‐ON‐THE‐LAK ON                                    L0S 1J0 CANADA
ALFRED P GUENTHER                                  970 LINE 1                            RR2                     NIAGARA ON THE LAKE ONTARIO ON   L0S 1J0 CANADA

ALFRED P KLOCKOWSKI                           2231 WILSHIRE COURT                                                                                                   GRAYSLAKE        IL    60030‐4415
ALFRED P KOTTENHAHN                           704 SEVERN RD                                                                                                         WILMINGTON       DE    19803‐1727
ALFRED P LONGO CUST ADAM JONATHAN LONGO UTMA 3433 QUAKER ST                                                                                                         WALL             NJ    07719‐4753
NJ
ALFRED P LOPEZ                                3816 DOUGLAS AVE                                                                                                      FLINT            MI    48506‐2426
ALFRED P MARZETTI & BARBARA H MARZETTI JT TEN 8404 DAVISHIRE DR                                                                                                     RALEIGH          NC    27615‐1802

ALFRED P ROMITELLI & MISS LISENA T ROMITELLI JT TEN 810 GINO MERLI DRIVE                                                                                            PECKVILLE        PA    18452‐1704

ALFRED P SENTER JR                                 661 W JEFFERSON ST                                                                                               TUPELO           MS    38804‐3735
ALFRED P SENTER JR & MARTHA K SENTER JT TEN        661 W JEFFERSON ST                                                                                               TUPELO           MS    38804‐3735
ALFRED P SILL & MADELINE N SILL JT TEN             1004 GOODWIN LANE                                                                                                WEST CHESTER     PA    19382‐7324
ALFRED P TORGERSON JR                              26682 CRANAGE ROAD                                                                                               OLMSTED FALLS    OH    44138‐1420
ALFRED P WILLOCKX                                  6590 RIDGEWOOD RD                                                                                                CLARKSON         MI    48346‐1023
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 81 of 850
Name                                            Address1                              Address2             Address3           Address4          City             State Zip

ALFRED P WYLUBSKI                               4384 NORTH RIDGE                                                                                LOCKPORT         NY    14094‐9774
ALFRED PALERMO                                  37917 POINTE ROSA RD                                                                            MT CLEMENS       MI    48045‐2756
ALFRED PALISI                                   47 FULTON AVE                                                                                   BEACON           NY    12508‐3718
ALFRED PARKER                                   PO BOX 28059                                                                                    CLEVELAND        OH    44128‐0059
ALFRED PARKINSON                                68 SANDUSKY STREET                                                                              PLYMOUTH         OH    44865‐1169
ALFRED PARKINSON III                            68 SANDUSKY STREET                                                                              PLYMOUTH         OH    44865‐1169
ALFRED PLUME                                    573 WEEKS RD                                                                                    ELLIJAY          GA    30540‐1763
ALFRED PODCZERVINSKI                            20952 POWERS                                                                                    DEARBORN         MI    48125‐2817
ALFRED POGACSNIK & ALICE POGACSNIK JT TEN       21821 OVERLOOK DRIVE                                                                            CLEVELAND        OH    44126‐2638
ALFRED PREISS                                   1363 OUTLOOK DR                                                                                 MOUNTAINSIDE     NJ    07092‐1422
ALFRED PROSS                                    PO BOX 247                                                                                      PINCONNING       MI    48650‐0247
ALFRED R ABBOTT                                 13406 TUSCOLA ROAD                                                                              CLIO             MI    48420‐1851
ALFRED R CONNER                                 2 AUTUMN WOOD DR                                                                                GEENBRIER        AR    72058‐9607
ALFRED R EVANS                                  104 WILLIAM ST                                                                                  CARTERET         NJ    07008‐1319
ALFRED R EVANS & DOROTHY I EVANS JT TEN         104 WILLIAM ST                                                                                  CARTERET         NJ    07008‐1319
ALFRED R GENKINGER & CATHERINE W GENKINGER JT   9 CHESTNUT DR                                                                                   MATAWAN          NJ    07747‐2906
TEN
ALFRED R HICKMAN                                2980 W US HIGHWAY 10                                                                            BALDWIN          MI    49304‐8565
ALFRED R HOLLAND                                G 4051 DALLAS ST                                                                                BURTON           MI    48519
ALFRED R JORDAN                                 7384 W REID RD                                                                                  SWARTZ CREEK     MI    48473‐9465
ALFRED R LA ROCK JR                             1109 WOODLAND PL                                                                                SHARON           PA    16146‐3049
ALFRED R MAGERS                                 916 E 35TH ST                                                                                   MARION           IN    46953
ALFRED R MESHELL                                447 BURFORD RD                                                                                  STONEWALL        LA    71078‐9699
ALFRED R MILLER                                 632 S GRANT AVE                                                                                 THREE RIVERS     MI    49093‐2051
ALFRED R MORES & NENA O MORES JT TEN            5016 WATERFORD PL                                                                               VIRGINIA BEACH   VA    23464‐5537
ALFRED R OGLESBY                                4212 HWY 24 SOUTH                                                                               WAYNESBORO       GA    30830
ALFRED R PANKOW & MRS CAROLE J PANKOW JT TEN    8420 ARCHER                                                                                     WILLOW SPRINGS   IL    60480‐1371

ALFRED R SHARPE                                 17446 GATEWAY CIR                                                                               SOUTHFIELD       MI    48075‐4714
ALFRED R SUCHMAN                                6786 RYAN HWY                                                                                   TIPTON           MI    49287‐9788
ALFRED R TALBOT                                 2210 E GRAND BLANC RD                                                                           GRAND BLANC      MI    48439‐8113
ALFRED R TASKER                                 181 DUTCHESS DR                                                                                 LEESBURG         FL    34748‐8509
ALFRED R THOMAS & DAVID J THOMAS JT TEN         1301 NANCARROW WAY                                                                              SAN JOSE         CA    95120‐3957
ALFRED R WILLIAMS                               3317 E 117TH ST                                                                                 CLEVELAND        OH    44120‐3845
ALFRED RANDA & AMY LYNNE HINRICHER JT TEN       39520 MILL CREEK RD                                                                             WADSWORTH        IL    60083‐9783
ALFRED RANDA & REBECCA ANNE HINRICHER JT TEN    39520 MILL CREEK RD                                                                             WADSWORTH        IL    60083‐9783

ALFRED RATINI                                  5425 BRIGHT BALDWIN SW                                                                           NEWTON FALLS     OH    44444‐9431
ALFRED RAYMOND                                 10635 ABISKO DR                                                                                  WHITTIER         CA    90604‐2404
ALFRED REYNOLDS                                10992 CHILLICOTHE RD                                                                             KIRTLAND         OH    44094‐5104
ALFRED RHODES CONKLIN 3RD                      2057 STONEFIELD LN                                                                               SANTA ROSA       CA    95403‐0952
ALFRED ROBINSON                                2211 GARLAND                                                                                     DETROIT          MI    48214‐4035
ALFRED ROSEBROCK JR                            1023 CASS                                                                                        SAGINAW          MI    48602‐2318
ALFRED ROZBRUCH CUST ALISON S ROZBRUCH UGMA NY 51 FLOWER HILL ROAD                                                                              HUNTINGTON       NY    11743‐2342

ALFRED ROZBRUCH CUST ANDREW D ROZBRUCH UGMA     51 FLOWER HILL RD                                                                               HUNTINGTON       NY    11743‐2342
NY
ALFRED S ABBOTT JR                              16885 WHITCOMB                                                                                  DETROIT          MI    48235‐3721
ALFRED S BINO                                   176 SWITZER AVE                       OSHAWA ON                               L1G 3J7 CANADA
ALFRED S BLUM                                   26 GLENMOOR DR                                                                                  ENGLEWOOD        CO    80110‐7115
ALFRED S DAISLEY & DARLENE E GREGORY JT TEN     6164 WILSON DR                                                                                  WATERFORD        MI    48329‐3168
ALFRED S DELANIS                                4808 S SEDGEWICK                                                                                LYNDHURST        OH    44124‐1109
ALFRED S DELANIS & JUDITH L DELANIS JT TEN      4808 S SEDGEWICK RD                                                                             LYNDHURST        OH    44124‐1109
ALFRED S DUDZINSKI                              1525 OAK BRANCH DR                                                                              COLUMBIA         TN    38401‐8801
ALFRED S GANOE                                  15109 STUDEBAKER RD                                                                             NORWALK          CA    90650‐5448
ALFRED S KAYE                                   7 PRESIDENTS WALK                                                                               WILLIAMSVILLE    NY    14221‐2426
ALFRED S MARTINEZ                               RRT 3 BOX 193‐11                                                                                ESPANOLA         NM    87532‐9659
ALFRED S PALERMO                                8670 CEDAR HAMMOCK CIR                #231                                                      NAPLES           FL    34112‐3310
ALFRED S STEVENS                                1010 QUARRY ST                                                                                  GALLITZIN        PA    16641‐1128
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 82 of 850
Name                                            Address1                            Address2             Address3           Address4          City              State Zip

ALFRED S VALDEZ                                 6085 CECIL ST                                                                                 DETROIT           MI    48210‐1536
ALFRED S WESTON                                 PO BOX 66                                                                                     PLYMOUTH          PA    18651‐0066
ALFRED SIMENAUER                                4701 WILLARD AVE APT 535                                                                      CHEVY CHASE       MD    20815‐4615
ALFRED SKROBALA & LORI J SKROBALA JT TEN        28042 BARLEY RUN‐OLDE MILL                                                                    SEAFORD           DE    19973‐9764
ALFRED SOTO                                     2504 WESTCHESTER DR                                                                           ARLINGTON         TX    76015‐1137
ALFRED SUTER & TRACY SUTER JT TEN               86 HERNANDEZ AVE                                                                              PALM COAST        FL    32137
ALFRED SYKES                                    1148 LYDEN AVENUE                                                                             YOUNGSTOWN        OH    44505‐3834
ALFRED T BOND JR                                2810 GARFIELD                                                                                 BAY CITY          MI    48708‐8609
ALFRED T BURKE                                  307 STRATFORD DR                                                                              BROADVIEW HTS     OH    44147‐4434
ALFRED T CRANE & MRS JOSEPHINE M CRANE JT TEN   165 CHESTNUT ST                                                                               WALTHAM           MA    02453‐0434

ALFRED T DANOROVICH                             2044 HAYES DENTON RD                                                                          COLUMBIA          TN    38401‐8227
ALFRED T EZMAN SR & MARIANNE T EZMAN JT TEN     3322 COTTONFIELD DR                                                                           MT PLEASANT       SC    29466‐8012
ALFRED T HUBLAR JR                              1010 WOODSIDE DR                                                                              NEW ALBANY        IN    47150‐2349
ALFRED T JOSHUA JR                              4277 POLARIS AVE                                                                              UNION CITY        CA    94587‐4042
ALFRED T MARTINS JR                             7330 GUNPOWDER RD                                                                             BALTIMORE         MD    21220‐1159
ALFRED T ROBERTS                                8730 GLENWOOD ROAD                                                                            CUMBERLAND        OH    43732‐9719
ALFRED T WILLIAMS                               224 VAN BUREN DR                                                                              MASON             OH    45040‐2138
ALFRED THEODORE WILLIAMS JR                     640 STAR ROUTE 314 RD 12                                                                      MANSFIELD         OH    44903
ALFRED THORNTON                                 G1127 W HARVARD AVE                                                                           FLINT             MI    48505
ALFRED TIMMERMANN                               PO BOX 133                                                                                    COMINS            MI    48619‐0133
ALFRED TREMAINE JOHNSON                         29942 PARKWOOD ST                                                                             INKSTER           MI    48141‐1567
ALFRED TROTTIER                                 PO BOX 356                                                                                    ROSCOMMON         MI    48653‐0356
ALFRED TRZECIAK & MARGARET TRZECIAK JT TEN      7 SUTTIE AVE                                                                                  PISCATAWAY        NJ    08854‐4212
ALFRED V DEMEO                                  20 NORTH ST                                                                                   MILFORD           MA    01757‐1708
ALFRED V DUMSA JR                               10929 BLAINE                                                                                  BRIGHTON          MI    48114‐9648
ALFRED V ESCOBAR JR                             1507 PARKWAY DR                                                                               ALVIN             TX    77511‐3722
ALFRED V SHAW                                   PO BOX 4313                                                                                   DETROIT           MI    48204‐0313
ALFRED V THAYER & BEVERLY H THAYER JT TEN       1264 LOVERS COURT                                                                             TALLAMASSEE       FL    32311‐8427
ALFRED V TJARKS JR                              3625 TER VIEW DR                                                                              ENCINO            CA    91436‐4019
ALFRED VELARDO                                  45866 GLEN CT                                                                                 MACOMB TWP        MI    48044‐4222
ALFRED VIEHBECK                                 5871 LAKESIDE WOODS CIR                                                                       SARASOTA          FL    34243‐4617
ALFRED W ACKEN                                  1076 W WHITTEMORE                                                                             FLINT             MI    48507‐3642
ALFRED W BARNES & ELIZABETH BARNES JT TEN       PO BOX 2166                                                                                   OWASSO            OK    74055‐9666
ALFRED W BARR JR                                3744 FRANKLIN RD                                                                              JACKSON           MI    49203‐2448
ALFRED W BECK                                   3017 W BUENA VISTA ST               APT 303                                                   DETROIT           MI    48238
ALFRED W BRACKIN JR                             PO BOX 566                                                                                    DEVERS            TX    77538‐0566
ALFRED W DAVIS                                  6104 REDBIRD CR                                                                               DALLAS            TX    75232‐2732
ALFRED W ECTOR                                  111 W BUENA VISTA                                                                             HIGHLAND PK       MI    48203‐3617
ALFRED W FETZ & HEIDI M FETZ JT TEN             23 OAKLYNN CT                                                                                 SIMPSONVILLE      SC    29680
ALFRED W GATES                                  25 SOBIESKI ST                                                                                ROCHESTER         NY    14621‐3717
ALFRED W HERPEL JR                              6233 FRITH RD                                                                                 ST CLAIR          MI    48079‐1206
ALFRED W JOHNSON                                4300 BRADFORD CIRCLE                                                                          MYRTLE BEACH      SC    29579‐9115
ALFRED W MARKS & ANNE L MARKS JT TEN            88 LENOX ROAD APT 1D                ROCKVILLE CENTER                                          ROCKVILLE CTR     NY    11570
ALFRED W NELSON                                 24 MCCRACKEN RD                                                                               MILLBURY          MA    01527‐1514
ALFRED W NICHOLLS & LEREE E NICHOLLS JT TEN     621 TOUCHSTONE CIRCLE                                                                         PORT ORANGE       FL    32127‐4809
ALFRED W PITMAN                                 673 HARRISONVILLE ROAD              PO BOX 185                                                HARRISONVILLE     NJ    08039‐0185
ALFRED W SCHOPF                                 5137 COUNTY I                                                                                 STURGEON BAY      WI    54235
ALFRED W WALSH                                  1325 ALCONA DR                                                                                BURTON            MI    48509‐2001
ALFRED W WILKE 2ND                              22057 SHOREPOINTE                                                                             ST CLAIR SHORES   MI    48080‐3576
ALFRED W WILKE CUST KRISTOFFER ANDREW WILKE     22057 SHOREPOINTE                                                                             ST CLAIR SHORES   MI    48080‐3576
UGMA MI
ALFRED WARREN CUST BETH WARREN UGMA PA          ATTN BETH HEWITT                    414 BAKER DR                                              ALIQUIPPA         PA    15001‐1704
ALFRED WEISSMAN                                 805 TAYLORS LN                                                                                MAMARONECK        NY    10543‐4251
ALFRED WHITEHEAD & GRACE WHITEHEAD JT TEN       13 BRACKEN HILL RD                                                                            HAMBURG           NJ    07419
ALFRED WITKAS                                   308 ANN ST                                                                                    HARRISON          NJ    07029‐1908
ALFRED WYATT                                    6262 WEST RIVER STREET S                                                                      ELYRIA            OH    44035‐5434
ALFRED ZIESEMANN                                949 DONALD STREET                                                                             SONOMA            CA    95476‐4610
ALFREDA ANDERSON                                2933 E HOWELL DR                                                                              LAWRENCEVILLE     GA    30044‐4329
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 83 of 850
Name                                            Address1                             Address2             Address3           Address4          City            State Zip

ALFREDA J CARLTON                             1435 LAWRENCE                                                                                    DETROIT         MI    48206‐1514
ALFREDA K HUNTER                              5020 RYAN RD #C103                                                                               TOLEDO          OH    43614
ALFREDA L KOLY                                32 CANAL STREET                                                                                  WOONSOCKET      RI    02895‐2925
ALFREDA MERGOS                                41081 MILLBROOK DR                                                                               STERLING HTS    MI    48314‐2074
ALFREDA PIATEK                                C/O ROBERT PIATEK                      1837 WHITEHAVEN RD                                        GRAND ISLAND    NY    14072‐1803
ALFREDA R EVANZ                               PO BOX 697                                                                                       BUFFALO         NY    14223‐0697
ALFREDA S SMITH                               14702 KELLERTON CT                                                                               CYPRESS         TX    77429‐2387
ALFREDA SAGAN                                 8239 ROSELAWN                                                                                    WESTLAND        MI    48185‐1613
ALFREDA SCHMIDT                               1414 LINDBERGH DR                                                                                LANSING         MI    48910‐1818
ALFREDA VALDES                                PO BOX 17891                                                                                     SEATTLE         WA    98107‐1891
ALFREDA ZURAWSKI                              18 CREEK WALK                                                                                    CHEEKTOWAGA     NY    14227‐2376
ALFREDIA SESSIONS                             590 FLATBUSH AVENUE #25                                                                          BROOKLYN        NY    11225‐4966
ALFREDIA WILLIAMS                             13 WEARIEN LANE                                                                                  BEAUFORT        SC    29906
ALFREDIE ANDERSON                             1513 GUENTHER AVE                                                                                LANSING         MI    48917‐9562
ALFREDO A CLEMENTE CUST A HARRY CLEMENTE UGMA 303 LLANGOLLEN BLVD                                                                              NEW CASTLE      DE    19720‐4749
DE
ALFREDO A LOPEZ                               1276 EAST POTTER                                                                                 THOUSAND OAKS   CA    91360‐6419
ALFREDO B FERNANDEZ                           54 SILVER LAKE RD                                                                                STATEN ISLAND   NY    10301‐3013
ALFREDO BRENER                                2995 LAZY LANE                                                                                   HOUSTON         TX    77019‐1301
ALFREDO C FONTES                              36 CLIFF AVE 2ND FL                                                                              YONKERS         NY    10705‐2208
ALFREDO C HERNANDEZ                           9754 LEV AVE                                                                                     ARLETA          CA    91331‐4630
ALFREDO CASTILLO                              5074 AMSTERDAM                                                                                   HOLT            MI    48842‐9605
ALFREDO CHAVEZ                                13208 DUFFIELD AVE                                                                               LA MIRADA       CA    90638‐1710
ALFREDO D PERUSQUIA                           4715 BUFFALO AVE                                                                                 SHERMAN OAKS    CA    91423‐2404
ALFREDO DIPINTO                               19 SPRUNT LN                                                                                     CLINTON         NC    28328‐1174
ALFREDO ESTRADA JR & NORA ESTRADA JT TEN      809 ATHENS ST                                                                                    SAN FRANCISCO   CA    94112‐3811
ALFREDO GARZA & NORA S GARZA JT TEN           6464 BREWER RD                                                                                   FLINT           MI    48507‐4606
ALFREDO GONZALEZ CAMBERO                      1542 CLUB DR                                                                                     LYNCHBURG       VA    24503‐2557
ALFREDO HERNANDEZ & ANAYANZI MENDEZ JT TEN    13545 SACRAMENTO AVE                                                                             BLUE ISLAND     IL    60406‐2839

ALFREDO J AMADOR                                429 CAMERON ST                                                                                 PONTIAC         MI    48053
ALFREDO L QUINTANA                              4172 N 700E                                                                                    NEEDHAM         IN    46162‐9748
ALFREDO L SALDIVAR                              3821 RONALD ST                                                                                 LANSING         MI    48911‐2670
ALFREDO M CHAURAND                              5100 FOXRIDGE DR                     # 723                                                     MISSION         KS    66202‐1585
ALFREDO M MENDES                                11 BEAR HILL RD                                                                                MILFORD         MA    01757‐3619
ALFREDO M RANGEL                                1218 S TUSCOLA RD                                                                              BAY CITY        MI    48708‐9633
ALFREDO MONTALVO                                2226 MAPLEWOOD AVE                                                                             LANSING         MI    48910
ALFREDO OLMEDA                                  9557 E PICKWICK CIR                                                                            TAYLOR          MI    48180‐3821
ALFREDO R VERGARA                               63 FOREST VIEW DR                                                                              SAN FRANCISCO   CA    94132‐1442
ALFREDO REBOLLOSA                               PO BOX 1301                                                                                    TOLLESON        AZ    85353‐1121
ALFREDO REYNA                                   8928 DUNMORE LANE                                                                              FORT WAYNE      IN    46804‐3448
ALFREDO RIVERO                                  55 AUSTIN PL 6YEEK DRIVE                                                                       STATEN ISLAND   NY    10304‐2141
ALFREDO ROMANO                                  905 LINFIELD RD                                                                                NEWARK          DE    19713‐2410
ALFREDO S MENDOZA                               PO BOX 3824                                                                                    ANTHONY         NM    88021‐3824
ALFREDO SALDANA BARRON                          2834 STATE STREET                                                                              SAGINAW         MI    48602‐3741
ALFREDO SOARES                                  66 CENTRAL AVE                                                                                 TARRYTOWN       NY    10591‐3312
ALFREEDA MOORE TR UA 02/19/91 ALFREEDA MOORE    2016 KRISTEN                                                                                   TROY            MI    48084‐1134

ALFREEDA V MOORE TR UA 2/19/91 ALFREEDA V       2016 KRISTIN                                                                                   TROY            MI    48084‐1134
MOORE
ALFRETA F EARNEST                               4313 TERRY ST                                                                                  CHINO           CA    91710‐2185
ALFRIEDA A NICHOLS                              2368 BEVERLY PLACE                                                                             COLUMBUS        OH    43209‐2808
ALFRIEDA CORDES TR ALFRIEDA CORDES TRUST UA     88 LAKEMONT DR                                                                                 DALY CITY       CA    94015‐3040
03/25/96
ALGE T PETERSON III                             9601 DEARBORN                                                                                  OVERLAND PARK   KS    66207‐2823
ALGENOID HENDERSON                              30 PURITAN ST                                                                                  HIGHLAND PARK   MI    48203
ALGER B ROBINSON                                110 AVE G                                                                                      SAN MANUEL      AZ    85631‐1351
ALGER E MORRISON                                BOX 165                                                                                        MARIENVILLE     PA    16239‐0165
ALGER F KOESTER                                 4030 CYNTHIA TERR                                                                              NORTH PORT      FL    34286‐7603
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 84 of 850
Name                                             Address1                              Address2             Address3           Address4          City            State Zip

ALGER R COGGAN                                   4333 24TH AVE                         LOT 147                                                   FORT GRATIOT    MI    48059‐3879
ALGERNON THOMAS SR                               748 HAVELOCK LN                                                                                 MONTGOMERY      AL    36117‐3210
ALGERT A SANDERSON                               1821 VALENCIA DR                                                                                ROCKFORD        IL    61108‐6815
ALGIE A MORRIS                                   219 CARR                                                                                        PONTIAC         MI    48342‐1607
ALGIE H KENNEDY JR PERS REP EST MARGARET         PO BOX 4643                                                                                     PINOPOLIS       SC    29469‐4643
KENNEDY
ALGIE J BLACK                                    133 COUNTY ROAD 636                                                                             ETOWAH          TN    37331‐5117
ALGIE L EVANS                                    826 E 76TH PL                                                                                   LOS ANGELES     CA    90001‐2811
ALGIE L WILLIAMS                                 8340 LAUDER ST                                                                                  DETROIT         MI    48228‐2483
ALGIMANTAS A RIMAS                               145 GAGE ROAD                                                                                   RIVERSIDE       IL    60546‐2311
ALGIN BONNER                                     1811 AVE A                                                                                      FLINT           MI    48505‐4611
ALGIRDAS GAMZIUKAS                               40 LAKEWOOD PARKWAY                                                                             SNYDER          NY    14226‐4001
ALGIRDAS J BURDULIS                              ATTN CURRAN                           179 VAN BUREN ST                                          TAUNTON         MA    02780‐1450
ALGIS A BACKAITIS & SHARON E BACKAITIS JT TEN    17091 PENNSYLVANIA                                                                              SOUTHFIELD      MI    48075‐2987
ALGIS A KAPOCIUS                                 6264 THORNCREST DRIVE                                                                           GREENDALE       WI    53129‐2647
ALI A FAWAZ                                      3706 KINGS POINTE                                                                               TROY            MI    48083‐5315
ALI A MAWRI                                      5437 KENILWORTH                                                                                 DEARBORN        MI    48126‐3163
ALI B DARAISEH & HUDA ALI DARAISEH JT TEN        3889 BLACKSTONE DR                                                                              AURORA          IL    60504‐5389
ALI E GUZELDERE                                  5309 OAKTON ST                                                                                  SKOKIE          IL    60077‐2433
ALI H FARHOUD                                    22126 HUNTER CIRCLE                                                                             TAYLOR          MI    48180
ALI KARBASSIOUN                                  15522 MOORPARK ST 2                                                                             ENCINO          CA    91436‐1642
ALI M GOBAH                                      4178 VIRA RD                                                                                    STOW            OH    44224‐3639
ALI O SHAH BUKHARI & MARGARET A MAXWELL JT TEN   9583 DAVIS RD                                                                                   LOVELAND        OH    45140‐1457

ALI PANDIR                                       GMODC SINGAPORE                       15 BENOI SECTOR      SINGAPORE6         SINGAPORE
ALI S SALAMEH                                    27079 SHEAHAN DRIVE                                                                             DEARBORN HEIGHTS MI   48127‐3649

ALIAH S HINES                                    6705 CRANWOOD DR                                                                                FLINT           MI    48505‐1960
ALICE A AYDJIAN                                  205 HAWTHORNE DR                                                                                WILMINGTON      DE    19802‐1301
ALICE A BAJOR                                    12273 MARTINSVILLE                                                                              CARLETON        MI    48117‐9551
ALICE A BEAGLEY‐BILLER & BRUCE A BILLER JT TEN   858 BURRITT ROAD                                                                                HILTON          NY    14468‐9725
ALICE A BLAHO                                    750 N KING ROAD                                                                                 ROYSE CITY      TX    75189‐4108
ALICE A BODEN TR UW OF SHELTON B ARTERBURN       111 DORCHESTER                                                                                  ANCHORAGE       KY    40223‐2805
ALICE A BROWN & DAVID KENNETH BROWN TR ALICE A   13810 SHEPHERDS PATH E                APT 411                                                   SHAKOPEE        MN    55379‐2485
BROWN TRUST UA 02/17/95
ALICE A CARMAN                                   2919 LARIMORE RD                                                                                MOUNT VERNON    OH    43050‐9425
ALICE A CHESTNUT                                 34 FAIRCREST AVE                                                                                TRENTON         NJ    08609‐1306
ALICE A COMPTON                                  7142 WHISPER LOOP #37                                                                           BROOKSVILLE     FL    34601‐5515
ALICE A DUPUIS                                   305 EDWARD STREET                                                                               VERONA          WI    53593‐1009
ALICE A EPLEY                                    9548 S MARION AVE                                                                               OAK LAWN        IL    60453‐2708
ALICE A FLANDRENA                                419 WEST VAN NORMAN AVE                                                                         MILWAUKEE       WI    53207‐5839
ALICE A GOLEC                                    2462 N PROSPECT AVE                   APT 621                                                   MILWAUKEE       WI    53211‐4456
ALICE A HOLIHAN                                  34 FALLING BROOK ROAD                                                                           FAIRPORT        NY    14450‐8956
ALICE A KATTAU                                   985 COLONIAL DRIVE                                                                              AVON            IN    46123‐9753
ALICE A KIER                                     404 SELYE TERRACE                                                                               ROCHESTER       NY    14613‐1626
ALICE A KWIECINSKI                               174 RIDGEWOOD ROAD                                                                              EAST HARTFORD   CT    06118
ALICE A MC MAHAN                                 8405 NORTHERN                                                                                   RAYTOWN         MO    64138‐3447
ALICE A MCMAHAN & ROY L MCMAHAM SR JT TEN        8405 NORTHERN ST                                                                                RAYTOWN         MO    64138‐3447
ALICE A MENTLEY                                  201 OAKLAKE COVE                                                                                NICEVILLE       FL    32578‐4421
ALICE A MERLINI                                  PO BOX 362                                                                                      AVONDALE        PA    19311‐0362
ALICE A MINOR                                    ALICE A CHESSER                       204 MARIAN CT                                             HOCKESSIN       DE    19707‐9781
ALICE A MOURADIAN                                15614 MCLAIN AVE                                                                                ALLEN PARK      MI    48101‐2024
ALICE A POWELL                                   5237 LAKEVIEW STREET                                                                            DETROIT         MI    48213‐3719
ALICE A RASMUSSEN                                7403 PERSHING BLVD                                                                              KENOSHA         WI    53142‐1936
ALICE A SCHNEIDER                                6249 KENWOOD HILLS DRIVE                                                                        CINCINNATI      OH    45227‐1307
ALICE A SCHULTZ                                  401 N CHURCH ST                                                                                 HERTFORD        NC    27944‐1109
ALICE A ST PIERRE                                6481 SW 26TH CT                                                                                 MIRAMAR         FL    33023‐3809
ALICE A SULIK                                    363 PAGELS CT                                                                                   GRAND BLANC     MI    48439‐2424
ALICE A SUMMERS                                  43970 JUDD ROAD                                                                                 BELLEVILLE      MI    48111‐9105
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                       Part 1 of 8 Pg 85 of 850
Name                                              Address1                             Address2                Address3                Address4          City               State Zip

ALICE A TEKIELE                                   1525 RIO GRANDE CT                                                                                     FLINT              MI    48532‐2069
ALICE A VANDEMERGLE                               22918 PORT                                                                                             ST CLAIR SHORES    MI    48082‐2484
ALICE A VENTO                                     4936 FOXLAIR TRL                                                                                       RICHMOND           OH    44143‐2730
                                                                                                                                                         HEIGHTS
ALICE A WHITE                                     3768 SILVER LEAF                                                                                       WHITE LAKE         MI    48383‐3532
ALICE A WILKINSON                                 1022 JANEHAVEN                                                                                         CLEBURNE           TX    76033
ALICE A WIMPFHEIMER                               C/O BOLIVAR                          APT 9C                  230 CENTRAL PARK WEST                     NEW YORK           NY    10024‐6042
ALICE ABRAHAM & HANNA KOVACS JT TEN               2164 BRIAR LANE                                                                                        BURTON             MI    48509‐1233
ALICE ADELE ALCORN                                39652 MUIRFIELD LANE                                                                                   NORTHVILLE         MI    48167‐3485
ALICE AL‐LI SUN SARVIS                            8616 BRICKYARD RD                                                                                      POTOMAC            MD    20854‐1708
ALICE ANN STONE                                   7923 BREEZEWOOD CT                                                                                     YPSILANTI          MI    48197‐6208
ALICE ARGNIAN                                     22184 WEST VILLAGE DR                                                                                  DEERBORN           MI    48124‐2295
ALICE ASHMON                                      20278 WESTBROOK                                                                                        DETROIT            MI    48219‐1321
ALICE AUD                                         2326 NORTHGATE AVE                                                                                     RIVERSIDE          IL    60546‐1342
ALICE B AKE                                       1122 JEWELL DR                                                                                         WATERTOWN          NY    13601‐4253
ALICE B CAIN TR ALICE B CAIN TRUST UA 3/29/99     PO BOX 939                                                                                             CARUTHERSVILLE     MO    63830‐0939
ALICE B CARPENTER                                 2696 EVANS RD                                                                                          OCEANSIDE          NY    11572‐2620
ALICE B COOLICAN                                  516 EAST WARREN ST                                                                                     DUNMORE            PA    18512‐2075
ALICE B DIETRICH                                  41 MALLOW LANE                                                                                         LEVITTOWN          PA    19054‐2011
ALICE B EGGLESTON                                 115 WRENWOOD ST                                                                                        SPRINGFIELD        MA    01119‐2215
ALICE B GUTZLAFF                                  1004 BEECH #220                                                                                        GRAFTON            WI    53024‐3205
ALICE B HAWK                                      176 ALTON ROAD                                                                                         GALLOWAY           OH    43119‐9536
ALICE B HOLLINSHEAD                               1221 DRURY COURT #C443                                                                                 MAYFIELD HEIGHTS   OH    44124‐2054

ALICE B HUNTER                                    408 SHIRLEY RD                                                                                         SUMMIT POINT       WV    25446‐3668
ALICE B KLINE                                     360 N 1ST ST                         APT 24                                                            EL CAJON           CA    92021‐6962
ALICE B LACROIX                                   2270 SW 43 AVE                                                                                         FORT LAUDERDALE    FL    33317‐6628

ALICE B LAUGHLIN                                  320 HAMPTON DR                                                                                         FEASTERVILLE       PA    19053‐4502
ALICE B MALLORY & MORTON L MALLORY JR &           625 NW GILMAN BLVD                                                                                     ISSAQUAH           WA    98027‐2434
THADDEUS O MALLORY JT TEN
ALICE B MEYER                                     568 EAST PINE ST                                                                                       TREVOSE            PA    19053
ALICE B PEARSON                                   1073 MARLAND DRIVE N                                                                                   COLUMBUS           OH    43224‐1018
ALICE B PETERS                                    MONROE COMMUNITY HOSPITAL            435 EAST HENRIETTA RD   ATTN CASHIER                              ROCHESTER          NY    14620‐4629
ALICE B SAUNDERS                                  PO BOX 122                                                                                             SAPPHIRE           NC    28774‐0122
ALICE B SNYDER                                    2848 DOVE POND DR                                                                                      GRAPEVINE          TX    76051‐2508
ALICE B STARK                                     1620 GOLDEN BLVD                                                                                       BILLINGS           MT    59102‐6592
ALICE B STROHMEYER                                5165 WALKER AVE                                                                                        CUMMING            GA    30040‐9420
ALICE B TINDAL                                    1171 GATEWOOD DR                     APT 203A                                                          AUBURN             AL    36830‐1810
ALICE B WADE                                      294 LEONARD BRIDGE RD                                                                                  LEBANON            CT    06249‐1936
ALICE BANKS YEAMAN                                633 ROCK REST RD                                                                                       PITTSBORO          NC    27312‐6916
ALICE BASKERVILLE                                 309 DUVALL                                                                                             LEWISVILLE         TX    75077‐6942
ALICE BAZER                                       4717 HEDGES AVE                                                                                        KANSAS CITY        MO    64133‐2213
ALICE BERENT & DENNIS A BERENT JT TEN             36048 MIDDLEBORO                                                                                       LIVONIA            MI    48154
ALICE BERGRIN                                     7004 BLVD E #316‐F                                                                                     GUTTENBERG         NJ    07093‐5029
ALICE BIELERT                                     26 DELMAR DRIVE                                                                                        BRISTOL            CT    06010‐2524
ALICE BLAHUT & EDWARD BLAHUT TR BLAHUT TRUST      7077 S ELEVEN HUNDRED EAST                                                                             CULVER             IN    46511‐8713
UA 06/09/90
ALICE BLAIR                                       5913 I PRINCE JAMES DRIVE                                                                              SPRINGFIELD        VA    22152‐1173
ALICE BLOUGH                                      13210 52ND                                                                                             LOWELL             MI    49331‐9088
ALICE BOYD                                        6540 CRIEPZ RD                                                                                         DIAMONDALE         MI    48821‐9502
ALICE BRAUN & RICHARD P FINNEMAN JT TEN           5609 TABING RD                                                                                         ROME               NY    13440
ALICE BRIGGS                                      APT 234                              14 RIVER ST EXT                                                   LITTLE FERRY       NJ    07643‐1126
ALICE BROWN DIEKER                                578‐B LAKE POINT DR                                                                                    LAKEWOOD           NJ    08701‐6135
ALICE BRYANT                                      6 DONCASTER RD                                                                                         NEWCASTLE          DE    19720‐3013
ALICE BURNES MORRILL                              883 DUNHAM RD                                                                                          DELAWARE           OH    43015‐8688
ALICE BURNS                                       248 HERBERT AVE                                                                                        LINDENHURST        NY    11757‐5441
ALICE BUTTNER & ROBERT K BUTTNER JT TEN           3 RIVER ST                                                                                             ARCHBALD           PA    18403‐2324
ALICE C BOUTIN                                    282 WEST ST                                                                                            BRISTOL            CT    06010‐5737
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 86 of 850
Name                                              Address1                               Address2              Address3          Address4          City             State Zip

ALICE C BROWN                                     RD #2                                                                                            ROME             PA    18837‐9802
ALICE C BROWN                                     60 LAKE LORRAINE CIRCLE                                                                          SHALIMAR         FL    32579‐1638
ALICE C COLLA                                     PO BOX 1830                                                                                      GREAT FALLS      MT    59403‐1830
ALICE C CUMMINGS                                  5 ELLIS DR                                                                                       BROCKPORT        NY    14420‐2338
ALICE C DIERMAN                                   10720 STANMORE DR                                                                                POTTOMAC         MD    20854‐1518
ALICE C DONOHUE                                   4420 BARTON DR                                                                                   LANSING          MI    48917‐1603
ALICE C DULL                                      15660 KRISTIN LANE                                                                               RIVERVIEW        MI    48192‐8137
ALICE C GERVAIS                                   259 PARK ST                                                                                      MALONE           NY    12953
ALICE C GOODMAN                                   2 LASERENA COURT                                                                                 ALAMO            CA    94507‐2125
ALICE C HADLEY                                    22 PIEDMONT DR                                                                                   RUTLAND          VT    05701‐4246
ALICE C HOWARD                                    5363 MEADOWOOD DR                                                                                SPEEDWAY         IN    46224‐3379
ALICE C LIPPERT & PAULINE A BLANCHARD JT TEN      36 SURRY ROAD                                                                                    ELLSWORTH        ME    04605
ALICE C LONDON                                    101 RIDGEMONT CT                                                                                 AUSTIN           TX    78746‐5498
ALICE C MC GRATH                                  944 GRANT PLACE                                                                                  NORTH BELLMORE   NY    11710‐1013

ALICE C NOECKER                                   1117 PAR‐4 CIRCLE                                                                                KALAMAZOO        MI    49008‐2917
ALICE C OJA                                       C/O A HENDRICKSON                      62780 COUNTY HWY 70                                       SEBEKA           MN    56477‐2522
ALICE C OVERMYER                                  450 PARKWAY                            BOX 53                                                    LAKE GEORGE      MI    48633‐0053
ALICE C ROQUEMORE                                 65 SUNNYRIDGE LANE                                                                               DAYTON           OH    45429‐5428
ALICE C SHEFPO & PATRICIA SUE VOYLES JT TEN       3003 HERON LAKE DR #A                                                                            KISSIMMEE        FL    34741‐5201
ALICE C VERVAIS & DAVID J VERVAIS JT TEN          5830 BISHOP ROAD                                                                                 GENEVA           OH    44041‐9655
ALICE C WARGO                                     1161 EMERICK AVE                                                                                 ROEBLING         NJ    08554‐1805
ALICE C WRIGHT                                    1135 ALAMEDA                                                                                     YOUNGSTOWN       OH    44510‐1277
ALICE CAMPBELL PALMITER & RONALD P PALMITER JT    17019 LEAL AVE                                                                                   CERRITOS         CA    90703‐1335
TEN
ALICE CARMICHAEL‐BROWN                            20230 HILLCREST AVE                                                                              EUCLID           OH    44117‐2268
ALICE CECH TOD CARLA CECH NEIMES SUBJECT TO STA   10115 HICKORY RIDGE DR                                                                           BRECKSVILLE      OH    44141‐3617
TOD RULES
ALICE CECH TOD KATHLEEN GIANNOU SUBJECT TO STA    5343 HIGHLAND ROAD                                                                               HIGHLAND HEIGHTS OH    44143‐1912
TOD RULES
ALICE CHAN CUST JOANNE CHAN UGMA NY               16 ANNE DR                                                                                       HICKSVILLE       NY    11801‐6534
ALICE CHRISCO                                     38 RANCHWOOD ST                                                                                  DAYTON           TX    77535
ALICE CLAEYS FRIEND TR ALICE CLAEYS FRIEND        308 NORTH PLUM GROVE RD                                                                          PALATINE         IL    60067‐5235
REVOCABLE TRUST UA 8/12/00
ALICE COBB                                        300 HECHT DR                                                                                     MADISON HTS      MI    48071‐2885
ALICE COOLICAN                                    516 E WARREN ST                                                                                  DUNMORE          PA    18512‐2075
ALICE CRAIG COYNE & THOMAS G COYNE TEN ENT        APT 503                                135 ABBEYVILLE ROAD                                       PITTSBURGH       PA    15228‐1798
ALICE CROSSLEY & DEBORA A ARCELLO JT TEN          701 MARKET ST                          APT 237                                                   OXFORD           MI    48371‐3576
ALICE D ANGNEY                                    PO BOX 453                                                                                       MONTPELIER       VT    05601‐0453
ALICE D BAYS                                      6777 DANDISON                                                                                    ORCHARD LAKE     MI    48324‐2815
ALICE D ELLIOT                                    9614 E 39TH ST                                                                                   INDIANAPOLIS     IN    46235‐1605
ALICE D FLAHERTY                                  606 INDIGO LN                                                                                    DOWNINGTOWN      PA    19335‐4810
ALICE D HENDRICK & ANITA J HENDRICK JT TEN        7575 E INDIAN BEND RD                  UNIT 1037                                                 SCOTSDALE        AZ    85250‐4662
ALICE D MCELYEA                                   3215 MANASSAS SW RU                                                                              DECATUR          AL    35603‐3162
ALICE D MOODY                                     3892 N 5000 W RD                                                                                 KANKAKEE         IL    60901‐7297
ALICE D MOORE                                     1418 BANBURY PL                                                                                  FLINT            MI    48505‐1927
ALICE D PATTERSON                                 4510 EAGLE ESTATES DR                                                                            FLORISSANT       MO    63034‐1605
ALICE D PESCHL                                    3931 ANTLER DR R 2                                                                               BELOIT           WI    53511‐9802
ALICE D ROSS                                      17640 PALORA STREET                                                                              ENCINO           CA    91316
ALICE D SCHICK                                    118 SARATOGA WAY                                                                                 ANDERSON         IN    46013‐4770
ALICE D STEPHENSON                                817 BLAINE AVE                                                                                   PONTIAC          MI    48340‐2407
ALICE D TOMKO                                     305 KENMORE S E                                                                                  WARREN           OH    44483‐6148
ALICE DALESANDRO                                  40 MOUNTHAVEN DR                                                                                 LIVINGSTON       NJ    07039‐2742
ALICE DAVENPORT HAYNES CUST JOHN MATHEW           204 FAN BRANCH LANE                                                                              CHAPEL HILL      NC    27516
HAYNES UGMA NC
ALICE DAVENPORT HAYNES CUST KATHARINE ALICE       3630 N CHEW ST                                                                                   ALLENTOWN        PA    18104‐4500
HAYNES UGMA NC
ALICE DELONG & RACHELLE DELONG JT TEN             137 PASEO DE LA COMCHA                 APT B                                                     REDONDO BEACH    CA    90277‐6230
ALICE DIANA MOBERG                                C/O ALICE DIANA MOBERG SARVER          709 CRAWFORD AVE                                          SYRACUSE         NY    13224‐1925
                                                   09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                         Part 1 of 8 Pg 87 of 850
Name                                                 Address1                            Address2             Address3               Address4          City             State Zip

ALICE DOROTHY HERRING                                4020 E 52ND ST                                                                                    MOUNT MORRIS     MI    48458‐9454
ALICE DURGIN                                         187 GROVELAND RD                                                                                  BRADFORD         MA    01835‐8248
ALICE DWORKIN EX UW MARTIN DWORKIN                   19085 SE CORAL REEF LANE                                                                          JUPITER          FL    33458‐1040
ALICE E ASKIN TR UA 11/20/06 ALICE E ASKIN TRUST     2709 BARDELL DR                                                                                   WILMINGTON       DE    19808

ALICE E CARR                                         PO BOX 45                                                                                         MERRIMAC         MA    01860‐0045
ALICE E DAVIS                                        206 PERTH LN                                                                                      SANDSTON         VA    23150‐2822
ALICE E DECKERHOFF                                   PO BOX 183                                                                                        CHAPPELL HILL    TX    77426‐0183
ALICE E GALLAGHER                                    312 2ND AVE                                                                                       PISCATAMAY       NJ    08854‐3636
ALICE E GARRETSON TR ALICE E GARRETSON TRUST UA      17 CURTIS RD                                                                                      HAMPTON FALLS    NH    03844‐2421
05/17/05
ALICE E GELLERT                                      213 ELM ST                                                                                        MENASHA          WI    54952‐3403
ALICE E GROAT                                        2775 N WICKHAM RD                   UNIT A 105                                                    MELBOURNE        FL    32935‐2243
ALICE E HENNESSY & LEO P HENNESSY JT TEN             93 N AVERY RD                                                                                     WATERFORD        MI    48328‐2903
ALICE E HILL                                         16824 ASPEN                                                                                       FOUNTAIN HILLS   AZ    85268‐1304
ALICE E KARL & ALICE E KARL JT TEN                   BOX 74006                                                                                         DAVIS            CA    95617‐5006
ALICE E KUMAGAI                                      4831 SEA CORAL DR                                                                                 SAN DIEGO        CA    92154
ALICE E MACHTEL                                      119 EVESHAM                                                                                       SUMMERVILLE      SC    29485‐5849
ALICE E MASTERS                                      546 OSHAWA BLVD N                   OSHAWA ON                                   L1G 5T7 CANADA
ALICE E MASTERS                                      546 OSHAWA BLVD N                   OSHAWA ON                                   L1G 5T7 CANADA
ALICE E MULKEEN                                      323 ACADIA DR                                                                                     KISSIMMEE        FL    34759‐3628
ALICE E NICOLS                                       #3                                  BLDG 6               1253 REDTAIL HAWK CT                     BOARDMAN         OH    44512‐8019
ALICE E PALING                                       6221 EUCLID ST                      APT 4                                                         MARLETTE         MI    48453‐1440
ALICE E ROSE                                         223 VICTORIA PARK CT                                                                              HOWELL           MI    48843‐1261
ALICE E SADLER                                       9365 WHITNEY RD                                                                                   WILLIAMSBURG     MI    49690‐9766
ALICE E SHUTTS                                       1415 KING RICHARD PKWY                                                                            DAYTON           OH    45449
ALICE E TAYLOR & RONALD J TAYLOR JT TEN              168 HIGMAN PARK                                                                                   BENTON HARBOR    MI    49022
ALICE E TOWNSEND                                     128 BIRCHWOOD CT                                                                                  SANDUSKY         OH    44870
ALICE E WARANOWICZ                                   7 PARK AVE                                                                                        SOUTH RIVER      NJ    08882‐1949
ALICE E WATTS                                        5082 LEEDALE DR                                                                                   DAYTON           OH    45418‐2008
ALICE E WIKOFF                                       51 S MAIN ST                                                                                      ALLENTOWN        NJ    08501‐1616
ALICE E WILDE                                        7601 LYNDALE AVE S                  APT AL24                                                      MINNEAPOLIS      MN    55423‐6012
ALICE E WITTERHOLT CUST ALISON WITTERHOLT UGMA       2435 W 18TH ST                                                                                    WILMINGTON       DE    19806‐1205
DE
ALICE EASTMAN                                        P O BOX 726                                                                                       SANDY            OR    97055
ALICE EDDLESTON & GEORGE E EDDLESTON JT TEN          28 AMBER CT                                                                                       HOMOSASSA        FL    34446‐4300

ALICE EDWARDS                                   1109 CLEARBROOK DR PDK HILLS                                                                           CINCINNATI       OH    45229‐1105
ALICE ELIZABETH THORN                           204 MONEY RD                                                                                           TOWNSEND         DE    19734‐9336
ALICE ELIZABETH WOODWARD                        229 JIM GARVEY RD                                                                                      HARTWELL         GA    30643
ALICE EVELYN HOWE TR ALICE EVELYN HOWE TRUST UA 2131 ESSEX RD                                                                                          NATIONAL CITY    MI    48748‐9627
6/21/05
ALICE F ARNOLD & RONALD L ARNOLD JT TEN         304 EAST SUNBURY STREET                                                                                SHAMOKIN         PA    17872‐4933
ALICE F BELLANT                                 23563 15 MILE RD                         APT 2                                                         CLINTON TWP      MI    48035‐5606
ALICE F CHEN                                    #6C                                      108 FIFTH AVENUE                                              NEW YORK         NY    10011‐6905
ALICE F CIBOROWSKI & SUSAN CRAFT JT TEN         30213 TORRY AVE                                                                                        FLAT ROCK        MI    48134‐1415
ALICE F CLARK                                   511 N HOLMES                                                                                           ST LOUIS         MO    63122‐4603
ALICE F EVANS                                   C/O ALICE F EVANS‐MESSMER                625 TURF RIDER CT                                             WALTON           KY    41094
ALICE F FISHER                                  4334 HARDISON MILL RD                                                                                  COLUMBIA         TN    38401‐7673
ALICE F GOENS                                   68280 46TH ST                                                                                          PAW PAW          MI    49079‐9750
ALICE F HENDRICKSON TR 11/04/93 ALICE F         9 SUNSET LANE                                                                                          BLOOMFIELD       CT    06002‐1623
HENDRICKSON REVOCABLE TRUST
ALICE F KARCZEWSKI                              2605 EMERSON NW                                                                                        GRAND RAPIDS     MI    49544‐1719
ALICE F KUNSTLER & JANE KUNSTLER JT TEN         90 PROSPECT AVE                                                                                        HACKENSACK       NJ    07601‐1909
ALICE F LALES                                   4007 CHRIS LANE                                                                                        CRYSTAL LAKE     IL    60014‐4659
ALICE F LAMPKIN                                 616 ROCKY MEADOW DR                                                                                    GREENWOOD        IN    46143
ALICE F LONG CUST COLEMAN DUPONT LONG UGMA DE BOX 4140                                                                                                 GREENVILLE       DE    19807‐0140

ALICE F MANINI                                       1421 STEELE STREET                                                                                FT MYERS         FL    33901‐8431
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 88 of 850
Name                                                Address1                              Address2              Address3          Address4          City             State Zip

ALICE F MILLER                                      1070 ROYCO DR                                                                                   ACWORTH          GA    30101‐3349
ALICE F NASH                                        600 1/2 BRIDGE ST                                                                               GRAND RAPIDS     MI    49504‐5329
ALICE F POWERS                                      185 FOREST ST                                                                                   WINCHESTER       MA    01890‐1055
ALICE F RELERFORD                                   316 W JACKSON AVE                                                                               FLINT            MI    48505‐4054
ALICE F ROBERTS                                     222 AMBER LN                                                                                    HAYDEN           AL    35079‐8117
ALICE F SARGEANT                                    1100 RALPH TERR                                                                                 RICHMOND         MO    63117‐1529
                                                                                                                                                    HEIGHTS
ALICE F SARGENT                                     1100 RALPH TERR                                                                                 SAINT LOUIS      MO    63117‐1529
ALICE F SEBOK                                       5070 E COURT ST SOUTH                                                                           BURTON           MI    48509‐1947
ALICE F SETSER                                      18504 MERRIMAN                                                                                  ROMULUS          MI    48174‐9488
ALICE F SWIFT                                       20544 ST MARYS                                                                                  DETROIT          MI    48235‐2135
ALICE F TOWNSEND                                    BOX 326 SEGAR RD                                                                                RAUNEONGA LAKE   NY    12749‐0326

ALICE F WANDERSKI & DORIS PLOCH JT TEN              4765 ORCHARD                                                                                    DEARBORN         MI    48126‐4600
ALICE F WARD                                        5684 CLIPPERT ST                                                                                DEARBORN HGTS    MI    48125‐2759
ALICE FASS BROD                                     25 SOUNDVIEW LN                                                                                 SANDS POINT      NY    11050‐1342
ALICE FAY FERGUSON                                  4680 NEW HORIZON DR                                                                             LOGANVILLE       GA    30052‐5565
ALICE FERNANDEZ                                     128 S HAMMES AVE                                                                                JOLIET           IL    60436‐1172
ALICE FINN                                          7 TORNGAT CRES                        SAINT JOHN'S NL                         A1E 5W7 CANADA
ALICE FISHER                                        621 TREMONT ST #1                                                                               BOSTON           MA    02118
ALICE FOEHR BAUMANN                                 733 WENONAH AVE                                                                                 OAK PARK         IL    60304
ALICE FRANCES LOOKWORD                              PO BOX #75052                                                                                   OKLAHOMA CITY    OK    73147‐0052
ALICE G BRIGHT                                      6451 LUCAS RD                                                                                   FLINT            MI    48506‐1222
ALICE G DOLEZAL                                     36130 SHADE TREE TRL                                                                            AVON             OH    44011‐1093
ALICE G GEEKIE                                      PO BOX 829                                                                                      SALISBURY        NC    28145‐0829
ALICE G GILLIES                                     2184 MEADOW LANE                                                                                GRAND ISLAND     NY    14072‐2111
ALICE G HARTING                                     2633 FINCHLEY LANE                                                                              NAPLES           FL    34105‐5654
ALICE G KANABLE                                     4965 WEST 100 SOUTH                                                                             ANDERSON         IN    46011
ALICE G KERN TR ALICE G KERN TRUST UA 02/08/77      6122 N MC VICKER AVE                                                                            CHICAGO          IL    60646‐3811
AMENDED 12/02/94
ALICE G MATHEWS                                     4701 KEPPLER PLACE                                                                              TEMPLE HILLS     MD    20748‐2100
ALICE G POWERS                                      185 FOREST ST                                                                                   WINCHESTER       MA    01890‐1055
ALICE G PURTEE                                      PO BOX 315                                                                                      SWEETSER         IN    46987‐0315
ALICE G SHREVES                                     865 GALLAGHER DR                                                                                CANYON LAKE      TX    78133‐6453
ALICE G WEBB                                        PO BOX 67                                                                                       NEW BRAINTREE    MA    01531‐0067
ALICE GALLIOS TR JAMES GALLIOS TRUST UA 02/23/92    16 SHEFFIELD LANE                                                                               OAK BROOK        IL    60523‐2355

ALICE GERALD                                        1150 E CR 350 N                                                                                 DANVILLE         IN    46122‐9565
ALICE GIESEN                                        1800 BADGER ROAD                                                                                BENSALEM         PA    19020‐3037
ALICE GIORGINI & HARRY GIORGINI JT TEN              80 HOMECREST DR                                                                                 KENSINGTON       CT    06037‐2119
ALICE GOODWIN BEAN                                  PO BOX 1066                                                                                     BRUNSWICK        ME    04011‐1066
ALICE GRAFFAM                                       194 W MAIN ST                                                                                   DENMARK          ME    04022
ALICE GRIMES GAITHER                                4312 WESTOVER PL NW                                                                             WASHINGTON       DC    20016‐5550
ALICE H ANTHONY                                     7033 N KEDZIE                         APT 1702                                                  CHICAGO          IL    60645‐2854
ALICE H BANK CUST RICHARD H BANK JR UGMA NY         2 PETER COOPER RD APT 6G                                                                        NEW YORK         NY    10010‐6730

ALICE H BENDER TR ALICE H BENDER TRUST UA 10/11/94 38 PINE IN THE WOOD                                                                              DAYTONA BEACH    FL    32119‐8977

ALICE H BUBBETT                                     4625 OLD LOONEY MILL RD                                                                         BIRMINGHAM       AL    35243
ALICE H CHIN                                        141 BEVERLY HILL TERRACE B                                                                      WOODBRIDGE       NJ    07095
ALICE H FAIRCLOTH & JEFFREY DEAN FAIRCLOTH JT TEN   7035 W 10TH AVE                                                                                 HIALEAH          FL    33014‐5205

ALICE H GOLDBERG                                    262 WHITE AV                                                                                    OZARK            AL    36360‐0906
ALICE H KELLER                                      200 KINGS CROSSING CIR 3C                                                                       BEL AIR          MD    21014‐3284
ALICE H LAUGHLIN                                    ATTN ALICE LAUGHLIN COMBS             2079 W MEMORIAL HWY                                       UNION GROVE      NC    28689‐9264
ALICE H LEES                                        PO BOX 369                                                                                      PHILOMONT        VA    20131‐0369
ALICE H SPRAGGS                                     111 PINE LAKE CIRCLE                                                                            CUMMING          GA    30040‐2019
ALICE H TAMSEN                                      19697 ALLEN RD APT 66                                                                           BROWNSTOWN       MI    48183‐1126
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 89 of 850
Name                                               Address1                           Address2                 Address3       Address4          City            State Zip

ALICE HAGERMAN FLEMING TR ALICE HAGERMAN         10243 MELVIN AVE                                                                               NORTHRIDGE      CA    91324
FLEMING TRUST UA 06/22/99
ALICE HAGGIS                                     C/O NIKI SAINT                       11 ROCKLAND STREET                                        FAIRHAVEN       MA    02719‐1522
ALICE HALBROOK MIDDLETON                         1554 FRENCHMANS BEND RD                                                                        MONROE          LA    71203‐8767
ALICE HAMSHAR CISCO                              39 WILLOW BRIDGE DR                                                                            DURHAM          NC    27707‐5457
ALICE HANBERG TR UA 03/22/2006 MELVIN & ALICE    10603 FLAXTON ST                                                                               CULVER CITY     CA    90230‐5442
HANBERG FAMILY TRUST A
ALICE HARRISON                                   26698 ST RD 19                                                                                 ARCADIA         IN    46030‐9725
ALICE HEARD                                      720 ERNROE DR                                                                                  DAYTON          OH    45408‐1508
ALICE HERMAN                                     C/O ALICE M RICE                     1199 LEMONT COURT WEST                                    CANTON          MI    48187‐5061
ALICE HESSENAUER                                 2215 HUBBARD ST                                                                                JANESVILLE      WI    53546‐3154
ALICE HINDS JOHNSTON CUST ROBERT BRIAN JOHNSTON 3701 TURTLE CREEK BLVD                APT 11G                                                   DALLAS          TX    75219‐5534
UGMA TX
ALICE HYLAND                                     70 ELM ST                                                                                      KEARNY          NJ    07032
ALICE I CURRAN                                   683 COLUMBIA ROAD                                                                              DORCHESTER      MA    02125‐1712
ALICE I DREHER                                   13460 E TWP RD 178                                                                             BELLEVUE        OH    44811‐9553
ALICE I GREEN & MARSHA G GREEN JT TEN            2514 FAIRFAX RD                                                                                LANSING         MI    48910‐8727
ALICE I LANE                                     3513 HIPSLEY MILL RD                                                                           WOODBINE        MD    21797‐7613
ALICE ISABEL BROWN                               222 E BROADWAY                       APT 304                                                   EUGENE          OR    97401‐8704
ALICE J BARNES                                   10135 EDGEFIELD DR                                                                             FLORISSANT      MO    63136‐5619
ALICE J BECKETT                                  1635 ROBINHOOD LN                                                                              CLEARWATER      FL    33764‐6447
ALICE J BOCHOW                                   258 BROAD AVE                                                                                  LEONIA          NJ    07605‐1828
ALICE J BONDON                                   10638 OAKLANE                        APT 12 202                                                BELLVILLE       MI    48111‐4397
ALICE J BOPP                                     235 W LINCOLN                                                                                  BARRINGTON      IL    60010‐4267
ALICE J CARIELLO                                 3819 SE 2ND AVE                                                                                CAPE CORAL      FL    33904‐4808
ALICE J CROWDER                                  23925 EDINBURGH                                                                                SOUTHFIELD      MI    48034‐4893
ALICE J DAVIS                                    29 CROWN POINT LN                                                                              BUFFALO         NY    14221‐1817
ALICE J HAGEMAN                                  2486 ST HWY 24                                                                                 FORT ATKINSON   IA    52144‐9727
ALICE J HEGWOOD TR ALICE J HEGWOOD TRUST U/T/D 12405 3D ST E APT 306                                                                            TREASURE IS     FL    33706‐4462
09/19/90
ALICE J HOCKLEY                                  212 CASS AVE                         APT A5                                                    MOUNT CLEMENS MI      48043‐2282
ALICE J HUGHES                                   149 TARKILN RD SE                                                                              LANCASTER        OH   43130‐8372
ALICE J JONES                                    130 BELT ROAD                                                                                  PHILLIPSBURG     NJ   08865‐3502
ALICE J KIMMEL TR ALICE J KIMMEL TRUST UA 3/5/98 35310 LONE PINE LANE                                                                           FARMINGTON HILLS MI   48335‐4699

ALICE J LEYS                                       739 ST CLAIR NW                                                                              GRAND RAPIDS    MI    49544‐3422
ALICE J LOCICERO TOD NANCY M LOCICERO SUBJECT TO   1406 NE 21ST PL                                                                              CAPE CORAL      FL    33909
STA TOD RULES
ALICE J MARTIN                                     12595 TUSCOLA ROAD                                                                           CLIO            MI    48420‐1087
ALICE J MCMAKEN                                    606 E WALNUT ST                                                                              COVINGTON       OH    45318‐1648
ALICE J MUTRYN                                     28 EASTHOLM ROAD                                                                             SCHENECTADY     NY    12304‐1902
ALICE J NAILS                                      309 WHISPERING RD                                                                            TROTWOOD        OH    45426‐3032
ALICE J PRAGACZ                                    595 BLACKHAWK DR                                                                             BATAVIA         IL    60510
ALICE J REDICK                                     2088 WIGGINS ROAD                                                                            FENTON          MI    48430‐9719
ALICE J RYAN                                       111 MONTICELLO RD                                                                            WILMINGTON      DE    19803‐3006
ALICE J SHEPHERD                                   10396 N GOOSE RD                                                                             CARTHAGE        IN    46115
ALICE J THOMAS                                     2804 MCNALLEY AVE                                                                            ALTADENA        CA    91001‐5141
ALICE J WATERMAN EASTMAN                           112 E LAKE AVE                                                                               BALTIMORE       MD    21212‐2431
ALICE J WESTFALL                                   161 1/2 N HIGH ST                                                                            COVINGTON       OH    45318‐1307
ALICE J WHEELER                                    328 DAVIS MILL DR                                                                            DALLAS          GA    30157‐6260
ALICE J WILEY                                      1657 OAKLAND PARK AVE X                                                                      COLUMBUS        OH    43224‐3554
ALICE J WISLER                                     865 ROSEWOOD DR                                                                              GALION          OH    44833‐2331
ALICE J WORTH                                      6824 COOPER RD                                                                               LANSING         MI    48911‐6524
ALICE JANE SUTER                                   39105 RIVER RD                                                                               DADE CITY       FL    33525‐7129
ALICE JANE WILLIAMS                                5625 W 63RD STREET                                                                           LOS ANGELES     CA    90056‐2012
ALICE JANET WOLFE                                  8C                                 80 N MAIN ST             PO BOX 14                        KENT            CT    06757‐0014
ALICE JEANNETTE HECKMAN                            104 LORRAINE CT                                                                              BEREA           KY    40403
ALICE JOHNSON                                      5401 SARAH ROSE DR                                                                           FLINT           MI    48505‐5601
ALICE JOHNSTON HIRST                               8 TIMBER MILL LN                                                                             LANDENBERG      PA    19350‐9138
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 90 of 850
Name                                              Address1                            Address2             Address3           Address4          City             State Zip

ALICE JOSEPHINE SHACKLETTE                        815 MILAN ROAD                                                                                PAYNEVILLE       KY    40157‐7501
ALICE JOSEPHINE SHACLETTE                         815 MILAN ROAD                                                                                PAYNEVILLE       KY    40157‐7501
ALICE JOYCE CRUTCHER                              310 EAST THIRD ST                                                                             CLE ELUM         WA    98922‐1212
ALICE K BERGLAS                                   60 EAST END AVENUE APT 23C                                                                    NEW YORK         NY    10028‐7945
ALICE K CIRIELLI                                  25 OLD FARMS RD                                                                               POUGHKEEPSIE     NY    12603‐5005
ALICE K FROHLICH                                  ATTN ALICE K HINE                   1830 KENT RD                                              ORTONVILLE       MI    48462‐8659
ALICE K GANSEL                                    4332 BURGE                                                                                    ALMA CENTER      WI    54611
ALICE K GREKO                                     234 GATEWAY DR                                                                                HENDERSONVLLE    NC    28739‐8167
ALICE K HOLTON                                    537 FEY RD                                                                                    CHESTERTOWN      MD    21620‐2128
ALICE K HOLTON CUST DOUGLAS D RAE UTMA MD         541 FEY RD                                                                                    CHESTERTOWN      MD    21620‐2128
ALICE K MATSUMURA                                 13 SPRING LANE                                                                                MORGAN HILL      CA    95037‐6112
ALICE K MAUTE                                     6501 17TH AVE W                     APT I109                                                  BRADENTON        FL    34209‐7816
ALICE K MONNINGHOFF                               160 COUNTY LINE E                                                                             EASTON           PA    18042‐9772
ALICE K PRINGLE                                   1529 FOREST AVE                                                                               WILMETTE         IL    60091‐1635
ALICE K RAYMOND                                   3671 WILDWOOD RD                                                                              HOLLY            MI    48442‐8813
ALICE K WENZEL                                    4021 WEST 158TH                                                                               CLEVELAND        OH    44135‐1233
ALICE KELLER                                      200 KINGS CROSSING CIR 3C                                                                     BEL AIR          MD    21014‐3284
ALICE KENNY & MICHAEL KENNY JT TEN                41 BRAMBLEBUSH RD                                                                             CROTON HDSN      NY    10520‐3416
ALICE KIM TR ALICE KIM REVOCABLE LIVING TRUSTUA   2300 PACIFIC AVE APT 304                                                                      SAN FRANCISCO    CA    94115‐1212
07/15/99
ALICE KISELIK CUST JAMES KISELIK UTMA NJ          11 ELLIOT PL                                                                                  SHORT HILLS       NJ   07078
ALICE KRAFT FITZPATRICK                           2802 WEST 35TH AVE APT 14                                                                     KENNEWICK         WA   99337‐2582
ALICE L BOYLES                                    9B SPRING CREEK                                                                               CORTLAND          OH   44410‐1662
ALICE L BREUSS                                    3625 PLEASANT AVE                                                                             HAMBURG           NY   14075‐4601
ALICE L BURGESS                                   5 GROVER AVE                                                                                  SOUTH GLENS FALLS NY   12803‐5023

ALICE L BURGESS                                   4296 SUNRISE DR                                                                               CROWN POINT      IN    46307‐8967
ALICE L BURGET                                    1318 S PLATE                                                                                  KOKOMO           IN    46902‐1855
ALICE L CARLSON TR UA 10/05/83 ALICE L CARLSON    1220 NEWTON AVE                                                                               BATAVIA          IL    60510‐4531
TRUST
ALICE L CRAIG                                     2410 LINKWOOD AVE                                                                             WILMINGTON       DE    19805‐2330
ALICE L CURRIER                                   1103 CARLSON DRIVE                                                                            BURTON           MI    48509‐2305
ALICE L DALTON                                    6311 SO RIDGEVIEW DRIVE                                                                       ANDERSON         IN    46013‐9794
ALICE L EMERSON                                   4134 ASHERTON DR                                                                              CHARLOTTE        NC    28226‐7986
ALICE L GENG TR UA 06/01/92 THE ALICE L GENG      941 ARMSTRONG AVE                                                                             ROCKTON          IL    61072‐2705
REVOCABLE TRUST
ALICE L GONZALEZ                                  12288 RICHFIELD RD                                                                            DAVISON          MI    48423‐8406
ALICE L HENDERSON                                 13216 G A R HIGHWAY                                                                           CHARDON          OH    44024
ALICE L JENCO                                     41968 VIA SAN CARLOS                                                                          FREMONT          CA    94539‐4738
ALICE L JONES                                     10364 SHADOW VALLEY CT                                                                        BURLESON         TX    76028‐1198
ALICE L KULHANEK                                  857 WAGNER DRIVE                                                                              BATTLE CREEK     MI    49017‐5479
ALICE L LA VALLEE                                 14 FRANCONIA ST                                                                               SPRINGFIELD      MA    01108‐3523
ALICE L LOVE                                      4002 E 600 N                                                                                  PERU             IN    46970‐8558
ALICE L MCCARTHY                                  127 PLEASANT STREET                                                                           COHASSET         MA    02025‐1751
ALICE L MOORE                                     16490 VAUGHAN                                                                                 DETROIT          MI    48219‐3357
ALICE L MORROW                                    118 JUSTIN CT                                                                                 GALT             CA    95632‐2621
ALICE L NEWMAN & THOMAS M NEWMAN JT TEN           516 HIGHLAND                                                                                  LINCOLN PARK     MI    48146‐4305
ALICE L OSBORN & ROGER H OSBORN & MARJORIE        24775 ANCHOR INN LN                                                                           WEBSTER          WI    54893‐9260
BRYANT JT TEN
ALICE L PEARCE                                    4341 GOLD DUST                                                                                PERRINTON        MI    48871‐9611
ALICE L RAZOR                                     899 DANMEAD ST                                                                                AKRON            OH    44305‐1123
ALICE L RAZOR & BESSIE M RAZOR JT TEN             899 DANMEAD ST                                                                                AKRON            OH    44305‐1123
ALICE L RYAN & WILLIAM C RYAN JT TEN              646 W MAIN STREET                                                                             SOMERSET         PA    15501‐1240
ALICE L RYSDYK                                    8225 ARVEE DR                                                                                 PORT RICHEY      FL    34668
ALICE L SHAW                                      556 WEBSTER ST                                                                                NEEDHAM          MA    02494‐1138
ALICE L SHAW                                      556 WEBSTER ST                                                                                NEEDHAM          MA    02494‐1138
ALICE L SLAHTA                                    6854 FOX LN                                                                                   WATERFORD        MI    48327‐3504
ALICE L SLOAN TR UA 12/10/1998 SLOAN REVOCABLE    7625 WARD RD                                                                                  MILLINGTON       TN    38053
LIVING TRUST
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 91 of 850
Name                                              Address1                              Address2               Address3         Address4          City           State Zip

ALICE L SMITH                                     10364 BLACKBIRCH DR                                                                             DAYTON         OH    45458‐9472
ALICE L THIEL                                     17203 N CALICO DR                                                                               SUN CITY       AZ    85373
ALICE L WILLIAMS                                  322 E DUPONT HWY                                                                                MILLSBORO      DE    19966‐1917
ALICE LAMB HIDLAY                                 157 CROSS RD                                                                                    BLOOMSBURG     PA    17815
ALICE LEE GILLESPIE                               511 WASHINGTON AVENUE                                                                           NITRO          WV    25143
ALICE LEPAK                                       S89 W22515 FRANZ DR                                                                             BIG BEND       WI    53103‐9711
ALICE LOPER                                       11646 W BELL MAR DR                                                                             FRANKLIN       WI    53132‐1114
ALICE M ALPER                                     703 NOTTINGHAM RD                                                                               WILMINGTON     DE    19805‐2810
ALICE M ARABIAN                                   3939 WALNUT AVE                       UNIT 222                                                  CARMICHAEL     CA    95608‐7323
ALICE M AUDIA                                     4163 BRADEN                                                                                     BYRON          MI    48418‐9720
ALICE M BAILEY                                    2152 BROADVENT WAY                                                                              KATTERING      OH    45440‐2529
ALICE M BASCH                                     24 HEMLOCK COURT                                                                                ROHNERT PARK   CA    94928‐2607
ALICE M BEARDSLEY TR UA 06/30/94 THE BEARDSLEY    9514 SHIPROCK DR                                                                                SUN CITY       AZ    85351‐2913
TRUST
ALICE M BEEMS                                     4571 GERMANIA RD                                                                                SNOVER         MI    48472‐9366
ALICE M BEGGROW                                   105 WALNUT ST                                                                                   ASHVILLE       OH    43103
ALICE M BIALECKI TR ALICE M BIALECKI REVOCABLE    630 48TH ST                                                                                     BALTIMORE      MD    21224‐3116
TRUSTUA 10/03/01
ALICE M BITTENBENDER                              3470 MOULTON RD                                                                                 CUBA           NY    14727‐9547
ALICE M BODNAR                                    #311                                  1838 BLACK ROCK TPKE                                      FAIRFIELD      CT    06432‐3547
ALICE M BREWER & RODNEY D BREWER JT TEN           2104 WHITE SREET                                                                                CLIFTON        TX    76634
ALICE M CARVALHO                                  195 INDEPENDENCE AVE #140                                                                       QUINCY         MA    02169‐7749
ALICE M CASTETTER                                 16961 CIMARRON PASS                                                                             NOBLESVILLE    IN    46060‐4137
ALICE M CONNAUGHTON & JOHN J CONNAUGHTON JT       32421 LYNDON                                                                                    LIVONIA        MI    48154‐4101
TEN
ALICE M DAVID                                     9150 COLFAX AVE SOUTH                                                                           MINNEAPOLIS    MN    55420‐3421
ALICE M DAVID & RICHARD T DAVID JT TEN            9150 COLFAX AVE SOUTH                                                                           MINNEAPOLIS    MN    55420‐3421
ALICE M DE LAS ALAS                               423 N HARVARD AVE                                                                               ARLINGTON      IL    60005‐1150
                                                                                                                                                  HEIGHTS
ALICE M DECKER                                     2200 W 4TH ST                        APT 325‐1                                                 WILMINGTON     DE    19805‐3347
ALICE M DEVERAUX                                   255 POSSUM PARK RD                   APT 217                                                   NEWARK         DE    19711‐3880
ALICE M DONNELLY                                   347 CASE AVE                                                                                   SHARON         PA    16146‐3429
ALICE M ELLIS                                      11722 WAYNERIDGE ST                                                                            FULTON         MD    20759‐9730
ALICE M ENGLERT                                    150 ROUTE 87                                                                                   COLUMBIA       CT    06237‐1027
ALICE M ERWIN                                      ATTN ALICE GILMARTIN                 5 LEMANS PLACE                                            SAINT LOUIS    MO    63367‐1511
ALICE M EVANS                                      2261 ROBINSON DR                                                                               BELOIT         WI    53511
ALICE M FETZER                                     PO BOX 333                                                                                     BATH           OH    44210‐0333
ALICE M FRIEDMAN                                   227 W 20TH STREET 1A                                                                           NEW YORK       NY    10011
ALICE M G JOHNSON                                  3 BROOKS ROAD                                                                                  WAYLAND        MA    01778‐4607
ALICE M G JOHNSON                                  3 BROOKS ROAD                                                                                  WAYLAND        MA    01778‐4607
ALICE M GANDER & LYNETTE A JEFFERS & NANELLE M     2604 COLUMBIA RD                                                                               MEDINA         OH    44256‐9474
DILL JT TEN
ALICE M GEARLD                                     1150 E COUNTRY ROAD 350 N                                                                      DANVILLE       IN    46122
ALICE M GILSON                                     22 AUSTIN AVENUE                                                                               WHEELING       WV    26003‐5102
ALICE M GLENN                                      1454 WISHART PL                                                                                OLIVETTE       MO    63132‐1426
ALICE M GOWGIEL TR UA 12/2/92 ALICE M GOWGIEL      1080 PARK PL                                                                                   RERRE HAUTE    IN    47802‐7878
DECLARATION TRUST
ALICE M HARRIS                                     1030 MIDDLE AV                                                                                 ELYRIA         OH    44035‐7068
ALICE M HARTNETT                                   C/O MRS A M LAFFERT                  3 KINGS RD                                                LYNNFIELD      MA    01940‐2225
ALICE M HERBST TR UA 10/14/93 HERBST FAMILY LIVING 33620 GERTRUDE ST                                                                              WAYNE          MI    48184
TRUST
ALICE M HITE                                       2715 NORTH CO ROAD 700 W                                                                       KOKOMO         IN    46901
ALICE M HOFMANN                                    12912 RIVER RD                                                                                 MILAN          OH    44846‐9412
ALICE M HOGLE                                      11 WIMBLETON CRESCENT                KITCHENER ON                            N2B 3K4 CANADA
ALICE M HOLLEY                                     PO BOX 2675                                                                                    ROCK HILL      SC    29732‐4675
ALICE M HORWATT                                    510 GREENSIDE DR                                                                               TAINESVILLE    OH    44077‐4800
ALICE M HOTCHKISS TR ALICE M HOTCHKISS REVOCABLE 9 STAYSAIL WAY                                                                                   PORTSMOUTH     NH    03801‐3366
TRUSTUA 08/24/04
ALICE M JOHNSON & FORREST E COONS JR JT TEN        145 KNAPP N E                                                                                  GRAND RAPIDS   MI    49505‐6264
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                    Part 1 of 8 Pg 92 of 850
Name                                            Address1                            Address2             Address3             Address4          City              State Zip

ALICE M JORGENSEN                               629 W LEWISTON AVE                                                                              FERNDALE          MI    48220‐1203
ALICE M KAY                                     134 SCOTT CREEK DR                                                                              CROSSVILLE        TN    38571‐3649
ALICE M KELLEY                                  242 VEVAY DR E                                                                                  MASON             MI    48854‐9226
ALICE M KENDER                                  740 MULDOWNEY AVE                                                                               WEST MIFFLIN      PA    15122‐1131
ALICE M KIRK                                    10266 NICKLAUS DR                                                                               NEW PORT RICHEY   FL    34655‐2042

ALICE M KNOB                                      3900 CANAL ROAD NUMBER 1                                                                      MINSTER           OH    45865‐9376
ALICE M KRAUSS                                    2297 ROBINSON DR                                                                              BELOIT            WI    53511‐2525
ALICE M LADUKE TR UA 08/04/07 LADUKE FAMILY TRUST 6201 HARTEL ROAD                                                                              POTTERVILLE       MI    48876

ALICE M LANCASTER                               11501 N COUNTY RD 100 W                                                                         MUNCIE           IN     47303‐9364
ALICE M LANG                                    25 IROQUOIS DRIVE                                                                               ROYERSFORD       PA     19468‐3012
ALICE M LANGER                                  282 MAIN ST                         UNIT 26                                                     TERRYVILLE       CT     06786‐5924
ALICE M LEGANT                                  7 N 300W                            PO BOX 550                                                  PAROWAN          UT     84761‐0550
ALICE M LEMIEUX                                 LOT 84                              THIRD STREET         26235 W WARREN AVE                     DEARBORN HEIGHTS MI     48127‐4620

ALICE M MAGUIRE                                   102 MIDDLE ST                                                                                 WOBURN            MA    01801‐2567
ALICE M MAIANI                                    249 MADDEN AVE                                                                                BELLEVUE          OH    44811‐9758
ALICE M MANSFIELD                                 32115 W WARREN                                                                                GARDEN CITY       MI    48135‐1725
ALICE M MAULT                                     246 BRANCH ST                                                                                 LOCKPORT          NY    14094‐8941
ALICE M MCCLELLAN                                 403 E 2ND ST                                                                                  LIMA              OH    45804‐2007
ALICE M MEDLIN                                    3041 WALKER DR                                                                                MARIETTA          GA    30062‐1528
ALICE M MEDYN TR UA 05/05/1999 MEDYN LIVING       206 CASE ST                                                                                   SOLVAY            NY    13209
TRUST
ALICE M MELTON                                    PO BOX 13410                                                                                  FLINT             MI    48501‐3410
ALICE M MICHAEL                                   4725 PREEMPTION RD                                                                            ROCK STREAM       NY    14878‐9653
ALICE M MILLER                                    PO BOX 172                                                                                    ATTICA            OH    44807‐0172
ALICE M MILLWARD                                  PO BOX 100                                                                                    BARBOURVILLE      KY    40906‐0100
ALICE M MURRAY                                    7832 MILAN                                                                                    UNIVERSITY CI     MO    63130‐1250
ALICE M O'DONOGHUE                                90 INDIAN TRAIL                                                                               NORTH SCITUATE    MA    02066‐1026
ALICE M OBRIEN                                    66 ELM ST                                                                                     MELROSE           MA    02176‐2324
ALICE M ODOM                                      8646 COUNTY LINE RD                                                                           SPARTA            IL    62286‐4002
ALICE M ODRI                                      634 EAST WOOD DRIVE                                                                           KISSIMMEE         FL    34759‐4126
ALICE M PETERSON                                  34235 CHERRY HILL                                                                             WESTLAND          MI    48186‐9214
ALICE M PLAS                                      14450 ROBINWOOD DRIVE                                                                         PLYMOUTH          MI    48170‐2613
ALICE M PROWS                                     2685 DRY RIDGE RD                                                                             VERSAILLES        KY    40383‐8731
ALICE M REEVES & TODD M REEVES JT TEN             12342 OAK RD                                                                                  OTISVILLE         MI    48463‐9722
ALICE M REVELSKI TOD ARTHUR G REVELSKI SUBJECT TO 2607 W LUNT AVE                                                                               CHICAGO           IL    60645
STA TOD RULES
ALICE M RIESS                                     15143 CHIPPEWA DR                                                                             WARREN            MI    48088‐2091
ALICE M RITZENDOLLAR                              2 LAYTONS LAKE DR                                                                             CARNEY'S POINT    NJ    08069‐9724
ALICE M ROBERTS                                   642 DLYN ST                                                                                   COLUMBUS          OH    43228‐2516
ALICE M ROBINSON                                  3498 PAUL STREET                                                                              ALEXANDRIA        VA    22311
ALICE M SANBORN                                   LAKEVIEW PARK                                                                                 COLUMBIA          CT    06237
ALICE M SEABOLT                                   12917 BASS LAKE RD                                                                            CHARDON           OH    44024‐8319
ALICE M SHAFFER                                   95 W 10 TH ST                                                                                 GREENVILLE        PA    16125‐8225
ALICE M SHANNON                                   120 SW 8TH PL                                                                                 BOYNTON BEACH     FL    33426‐4747
ALICE M SNYDER                                    336 W OAK ORCHARD ST                                                                          MEDINA            NY    14103‐1550
ALICE M STEPANICK                                 634 SPRUCE AVE                                                                                GARWOOD           NJ    07027‐1224
ALICE M STRAUGHN                                  825 SHENANDOAH DR                                                                             SUNNYVALE         CA    94087‐2219
ALICE M THIGPEN & MORRISON A THIGPEN & MILDRED 111 GRAYSON AVE                                                                                  MADISON           AL    35758‐1710
T ALLRED JT TEN
ALICE M THOMAS                                    7510 KRISTYWOOD COVE                                                                          MEMPHIS           TN    38133‐5243
ALICE M TINCHER                                   1316 OAKWOOD AVE                                                                              COLUMBUS          OH    43206‐3163
ALICE M TOTH & WILLIAM L TOTH & SALLY A MC GLAUN 9897‐G SW 88TH CT ROAD                                                                         OCALA             FL    34481‐6681
JT TEN
ALICE M TRAYNOR & FRANK A TRAYNOR JT TEN          60‐15 FRESH POND ROAD             APT 8‐B                                                     MASPETH           NY    11378‐3471
ALICE M TRIBETT & C EARL TRIBBETT JT TEN          PO BOX 34                                                                                     INGLESIDE         MD    21644‐0034
ALICE M VANDER VEEN                               286 PLAINVIEW DR                  BOLING BRROOK                                               BOLINGBROOK       IL    60440
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                     Part 1 of 8 Pg 93 of 850
Name                                             Address1                            Address2             Address3               Address4          City              State Zip

ALICE M VEAL                                     1813 ZIMMERMAN STREET                                                                             FLINT             MI    48503‐4736
ALICE M WASHINGTON                               3107 PALMER DR                      APT 7                                                         JANESVILLE        WI    53546‐2314
ALICE M WILLIAMS                                 425 POLLOCK RD                                                                                    DAYTON            OH    45403‐3222
ALICE M WILSON                                   213 DOGWOOD CIRCLE                                                                                SEMINOLE          FL    33777‐4818
ALICE M WIRSU                                    52763 BRENTWOOD                                                                                   SHELBY TOWNSHIP   MI    48316‐3747

ALICE M YARSEVICH                                14897 WOOD ROAD                                                                                   LANSING           MI    48906‐6013
ALICE MAE DAVIDSON                               3700 TERRACE HILL DR NE                                                                           CEDAR RAPIDS      IA    52402‐2846
ALICE MAE HORVATH & GEORGE J HORVATH JT TEN      4632 W CHOLLA                                                                                     GLENDALE          AZ    85304‐3537

ALICE MAE KELL SIMEK                             3824 WEST 81ST ST                                                                                 CHICAGO           IL    60652‐2425
ALICE MAJEWSKI                                   4289 BRANDYWYNE DR                                                                                TROY              MI    48098‐4277
ALICE MALY ALEXANDER                             321 WEST 29TH                                                                                     ANDERSON          IN    46016‐5905
ALICE MANCINA                                    251 BLANCHE                                                                                       TROY              MI    48098‐2948
ALICE MARIE HENTSCHEL CUST TODD HENTSCHEL JR     44 ELLIOT AVE                                                                                     LAKE GROVE        NY    11755‐2040
UGMA NY
ALICE MARIE JOHNSON TR UA 04/04/08 ALICE MARIE   10480 SUNLAND BLVD APT #2                                                                         SUNLAND           CA    91040
JOHNSON LIVING TRUST
ALICE MARIE STRAWSER                             1508 S MEEKER                                                                                     MUNCIE            IN    47302‐3828
ALICE MARTINEZ                                   3417 BENT OAK HIGHWAY                                                                             ADRIAN            MI    49221‐9598
ALICE MAUDE USHER                                18 FAIRWAY DR                       NEWCASTLE ON                                L1B 1B3 CANADA
ALICE MEEGAN                                     4987 LYNWOOD AVENUE                                                                               BUFFALO           NY    14219‐2609
ALICE MELISSA BROWN                              7121 WIND CHIME DR                                                                                FORT WORTH        TX    76133‐6622
ALICE MERRY GEIGER                               311 JULIAN DR                                                                                     ROCKWALL          TX    75087‐4649
ALICE MILANO & JOSEPH MILANO JT TEN              434 WIGGINS LAKE CT                 #102                                                          NAPPLES           FL    34110‐6057
ALICE MOODY & MARVIN MOODY JT TEN                20 MELROSE LANE                                                                                   LINCOLNSHIRE      IL    60069‐3134
ALICE MORLAN SIMRALL DE HAVEN                    10119 SARATOGA DRIVE                                                                              SHREVEPORT        LA    71115‐3451
ALICE N DOTY                                     2021 E 41ST STREET                                                                                ANDERSON          IN    46013‐2578
ALICE N GRISWOLD & F DANIEL GRISWOLD JR JT TEN   16657 FOREST GATE RD                                                                              DUBUQUE           IA    52001‐9754

ALICE N POWELL                                   9712 US HIGHWAY 301                                                                               DADE CITY         FL    33525‐1850
ALICE N SCHILLER                                 2629 CREST LANE                                                                                   SCOTCH PLAINS     NJ    07076‐1513
ALICE NECEFER                                    820 N EDGEWORTH                                                                                   ROYAL OAK         MI    48067‐2100
ALICE NEFF ROSENBLATT                            5012 S WASHTENAW AVE                                                                              CHICAGO           IL    60632‐2011
ALICE NELSON                                     2751 HOMAN PLACE                                                                                  BALDWIN           NY    11510‐4114
ALICE NORTHAM                                    14 E 60TH ST                        STE 1001                                                      NEW YORK          NY    10022‐7119
ALICE NORTHCUTT MCKIDDY                          25 ALTON CIR                                                                                      HAMILTON          OH    45013‐3901
ALICE NORTON KRATZER                             104 CHESTNUT                                                                                      MT DORA           FL    32757‐3203
ALICE NUGENT                                     149 FARNSWORTH AVE APT 9A                                                                         BORDENTOWN        NJ    08505
ALICE O DNISTRAN                                 1946 DRAKE RD                                                                                     BROCKPORT         NY    14420‐9632
ALICE O FINNEY                                   5553 FAIRVIEW RD                                                                                  GREENWOOD         IN    46142‐7601
ALICE O MAYLE                                    5786 YOUNGSTOWN‐HUBBARD RD                                                                        HUBBARD           OH    44425‐2552
ALICE OLIVIA OROURKE                             ALICE O'ROURKE                      C/O SEAN O'ROURKE    1405 OAK HILL CIRCLE                     LEWISVILLE        TX    75067‐4983
ALICE P BISHOP                                   PO BOX 334                                                                                        RUSSIAVILLE       IN    46979‐0334
ALICE P BOYLE                                    548 SPRINGFIELD AVE APT 2D                                                                        SUMMIT            NJ    07901‐4417
ALICE P CERCONE                                  234 WOODLAWN DRIVE                                                                                TRAFFORD          PA    15085‐1233
ALICE P CERCONE & EDWARD G CERCONE JT TEN        234 WOODLAWN DR                                                                                   TRAFFORD          PA    15085‐1233
ALICE P CROSSLAND                                812 N SURREY AVE                                                                                  VENTNOR           NJ    08406‐1227
ALICE P CROSSLAND & RICHARD B CROSSLAND JT TEN   812 N SURREY AVE                                                                                  VENTNOR           NJ    08406‐1227

ALICE P NUNN                                     PO BOX 1158                                                                                       BIG RAPIDS        MI    49307‐0158
ALICE P OOMEN                                    1548 S STINE RD                                                                                   CHARLOTTE         MI    48813
ALICE P SCHERWIN                                 82‐29 166TH ST                                                                                    JAMAICA           NY    11432‐1217
ALICE P THOMAS                                   1459 MADDEN DR                                                                                    MONROEVILLE       PA    15146‐3907
ALICE PALMAI FECSKOVICS                          613 CHARLES ST                                                                                    PORT ORANGE       FL    32129‐3819
ALICE PARKHURST COOPER                           2709 FLETCHER ST                                                                                  ANDERSON          IN    46016‐5340
ALICE PARR                                       APT 1508                            1370 SO OCEAN BLVD                                            POMPANO BEACH     FL    33062‐7168
ALICE PARTLOW                                    206 MARLETTE DRIVE                                                                                NORTH PORT        FL    34287‐1532
ALICE PARTOW                                     206 MARIETTE DR                                                                                   NORTH PORT        FL    34287‐1532
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 94 of 850
Name                                              Address1                              Address2             Address3           Address4          City            State Zip

ALICE PATERSON CUST LAUREN H PATERSON UTMA OH 12085 WOODVIEW BLVD                                                                                 PARMA HEIGHTS   OH    44130‐4322

ALICE PATRICIA HOWARD SPICKARD                    8448 LAGRANGE RD                                                                                SMITHFIELD      KY    40068‐7608
ALICE PAUL & MARCELLE ROBINSON JT TEN             143 STORRS AVE                                                                                  BRAINTREE       MA    02184‐4016
ALICE PELINO                                      4720 HARRIS HILL ROAD                                                                           WILLIAMSVILLE   NY    14221‐6228
ALICE PERRY                                       203 ENCHANTED RIVER                                                                             SPRING          TX    77388‐5930
ALICE PERSON                                      PO BOX 11436                                                                                    FORT WAYNE      IN    46858‐1436
ALICE PHELAN                                      6636 PALOVERDE LANE                                                                             CHARLOTTE       NC    28227‐8034
ALICE PHILLIPS                                    212 HARRISON                                                                                    PONTIAC         MI    48341‐2438
ALICE PROUT GWYN                                  333 E BOUNDARY ST                     APT 101                                                   PERRYSBURG      OH    43551‐2863
ALICE R BEARD                                     1204 BAGLEY DR                                                                                  KOKOMO          IN    46902‐3223
ALICE R BENEDICT                                  34 CHANNING AVE                                                                                 PROVIDENCE      RI    02906‐5511
ALICE R BRAKE                                     170 RIDGEWAY DR                                                                                 BRIDGEPORT      WV    26330‐1175
ALICE R BUTLER                                    1469 N RIVER RD                                                                                 ST CLAIR        MI    48079‐2806
ALICE R CARLSON                                   PO BOX 131                                                                                      CANADENSIS      PA    18325
ALICE R COLLINS                                   4600 ORCHARD STREET                                                                             LEWISBURG       OH    45338‐9747
ALICE R DISHMAN                                   1503 MONTEZUMA                                                                                  DOTHAN          AL    36303‐2745
ALICE R FREEMAN                                   1432 JILL DRIVE                                                                                 HUMMELSTOWN     PA    17036‐9007
ALICE R GRODUS TOD LAVERNE M ANDREOLLI            7460 GREENMEADOW LN                                                                             CANTON          MI    48187
ALICE R HADDAD                                    7430 FENTON STREET                                                                              DEERBOURNE      MI    48127‐1752
                                                                                                                                                  HEIGHTS
ALICE R HUNTER                                    1230 WESTMORELAND DR                                                                            BURLINGTON      NC    27217
ALICE R INSALACO                                  477 DUANE DR                                                                                    N TONAWANDA     NY    14120‐4138
ALICE R KELLY                                     12396 BARONY DR                                                                                 DUBUQUE         IA    52001‐9636
ALICE R LAMOCK                                    18521 HERMITAGE RD                                                                              ONANCOCK        VA    23417‐2018
ALICE R LOGAN                                     3180 HORSESHOE PIKE #A104                                                                       HONEY BROOK     PA    19344
ALICE R PARKER                                    4190 BERKFORD CIR NE                                                                            ATLANTA         GA    30319‐1702
ALICE R PARKMAN                                   728 ROXBURY AVE                                                                                 YOUNGSTOWN      OH    44502‐2539
ALICE R ROBY                                      PO BOX 805                                                                                      KENBRIDGE       VA    23944‐0805
ALICE R ROLLINS                                   BOX 571                                                                                         GUILFORD        ME    04443‐0571
ALICE R SNIDER                                    2429 NOBLE ST                                                                                   ANDERSON        IN    46016‐4574
ALICE RAMON & LOUIS RAMON JT TEN                  1830 KIPLING ST                                                                                 HOUSTON         TX    77098‐1610
ALICE RAMSEY                                      310 ALDERGLEN DR                                                                                DIXON           CA    95620‐3204
ALICE RATLIFF                                     1159 MARK WAYNE                                                                                 LOUISA          KY    41230‐8625
ALICE REDZILOW                                    26 LINDEN ST                                                                                    BAYONNE         NJ    07002
ALICE RETA RAMSAY                                 PO BOX 977                                                                                      BERTHOUD        CO    80513‐0977
ALICE RICE                                        2351 FIELDCREST DR                                                                              ROCKWALL        TX    75032‐9219
ALICE RITZEL KELLY & JOSEPH E KELLY JT TEN        208 ELMWOOD AVE LINCOLN PARK                                                                    READING         PA    19609‐2469
ALICE ROMANELLI                                   3293 OCEAN HARBOR DR                                                                            OCEANSIDE       NY    11572‐3545
ALICE RUTH CERUTTI CUST KRISTINA M CERUTTI UTMA   505 IRIS AVE                                                                                    PALM BEACH      FL    33410‐4829
NM                                                                                                                                                GARDENS
ALICE RUTH MARSHALL                               1106 SOUTH NEBRASKA STREET                                                                      MARION          IN    46953‐2127
ALICE S CHATTMAN                                  2741 LEXINGTON AVE NW                                                                           WARREN          OH    44485‐1535
ALICE S CHRISTIANSEN                              4 BELLAIRE DR                                                                                   RIDGE           NY    11961‐2312
ALICE S CUNNINGHAM & BARBARA SUE CUNNINGHAM       24765 BECK AVE                                                                                  EASTPOINTE      MI    48021
JT TEN
ALICE S DEROUEN & THOMAS R DEROUEN EX UW          1107 LANCELOT LANE                                                                              CONWAY          SC    29526‐9389
BEULAH F SMITH
ALICE S FORTUNA TR ALICE S FORTUNA TRUST UA       BOX 20035                                                                                       FRANKLIN        MI    48025‐1385
06/16/94
ALICE S FORTUNA TR ALICE S FORTUNA TRUST UA       PO BOX 20035                                                                                    FRANKLIN        MI    48025‐0035
06/16/94
ALICE S FUCHS                                     240 LIONS HILL RD                     APT E201                                                  STATE COLLEGE   PA    16803‐1821
ALICE S HERALD                                    1903 STRAWBRIDGE DR                                                                             SOUTH PARK      PA    15129
ALICE S HOUSER                                    PO BOX 86                             3314 OLD ERIE PIKE                                        WEST DECATUR    PA    16878
ALICE S HUTTON                                    3078 MOOSE RIVER RD                                                                             BOONVILLE       NY    13309‐3519
ALICE S HUTTON AS LIFE TENANT U‐W OF WILLIAM F    121 THORNTON AVE                                                                                BOONVILLE       NY    13309‐1114
HUTTON
ALICE S JOHNSON                                   2101 GRAYLING COURT                                                                             WILMINGTON      DE    19804‐3619
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 95 of 850
Name                                               Address1                              Address2             Address3           Address4          City               State Zip

ALICE S LEE                                        2828 EASTCOAST HIGHWAY                                                                          CORONA DELMAR CA         92625‐2207
ALICE S MCCLAFLIN                                  3412 SCENIC DR                                                                                  NAPA              CA     94558‐4238
ALICE S RECKMACK                                   688MOUNTAIN ROAD                                                                                CHESHIRE          CT     06410‐3306
ALICE S THORPE                                     13421 N43RD AVE APT 3114                                                                        PHOENIX           AZ     85029
ALICE S WEBER                                      6330 2ND PALM POINTE                                                                            ST PETERSBURG BCH FL     33706‐2118

ALICE SAKIN FRIEDIN                                5169 NW 26TH CIRCLE                                                                             BOCA RATON         FL    33496
ALICE SALLY KOZEK                                  2146 JONES BRIDGE RD                                                                            LEICESTER          NY    14481‐9742
ALICE SAYLES                                       2804 EDGEHILL RD                                                                                HUNTINGDON         PA    19006‐5023
                                                                                                                                                   VALLEY
ALICE SCHUETTE                                     9029 BRIAR FOREST DR                                                                            HOUSTON            TX    77024‐7220
ALICE SCHUSTER                                     PO BOX 386                                                                                      NEW YORK           NY    10024‐0386
ALICE SCOVILLE BARRY                               P O BOX 188                                                                                     FOREST DALE        VT    05745
ALICE SEGALLA                                      155 OCEAN LANE DR                                                                               KEY BISCAYNE       FL    33149‐1459
ALICE SHAMMAH                                      539 SENATOR ST                                                                                  BROOKLYN           NY    11220‐5411
ALICE SHELIA WALLACK & LYNN W SIROW JT TEN         100 LANDING RD                        APT 161                                                   ROSLYN             NY    11576
ALICE SHELIA WALLACK CUST JULIETTE A WALLACK       100 LANDING RD                        APT 161                                                   ROSLYN             NY    11576‐1167
UGMA MD
ALICE SHEPHERD SHEPPARD                            1196 COUNTY ROAD 48                                                                             HOWARD             CO    81233‐9690
ALICE SHINDORF                                     PO BOX 146                                                                                      OAKLEY             MI    48649‐0146
ALICE SHURE CUST MICHAEL SHURE JR UGMA NY          800 5TH AVE                                                                                     NY                 NY    10021‐7216
ALICE SHUTTS TR ALICE SHUTTS LIVING TRUST UA       1415 KING RICHARD PKWY                                                                          DAYTON             OH    45449
10/23/93
ALICE SINGER                                       45 E 82ND ST                          # 2W                                                      NEW YORK           NY    10028‐0326
ALICE SLYMAN                                       756 7TH AVE                                                                                     BEAVER FALLS       PA    15010‐3252
ALICE SMILEY                                       254 GREEN ST                                                                                    LOCKPORT           NY    14094‐2708
ALICE SOKOL SCZESNY                                PO BOX 252                                                                                      MARKLEVILLE        IN    46056‐0252
ALICE SORENSEN GUY                                 34 PLAZA ST E APT 1104                                                                          BROOKLYN           NY    11238‐5018
ALICE STANLEIGH CUST BERTRAM ONEILL STANLEIGH      ATTN BERTRAM ONEILL STANLEIGH         387 PACIFIC ST                                            BROOKLYN           NY    11217‐2219
UGMA NY
ALICE STINSON & LEO STINSON JT TEN                 310 17TH ST                                                                                     BRIGANTINE         NJ    08203‐2008
ALICE STROZIK LINYEAR & GEORGE T LINYEAR JT TEN    4626 ARROWHEAD ROAD                                                                             RICHMOND           VA    23235‐1628

ALICE SUE MICK                                     680 KENILWORTH AVE                                                                              SHEFFIELD LK       OH    44054‐1231
ALICE SWARTZ                                       2981 S M‐76                                                                                     STANDISH           MI    48658‐9102
ALICE T BLAZEY                                     368 BIRDSALL PARKWAY                                                                            PALMYRA            NY    14522‐1311
ALICE T BROCKMAN                                   6000 NOBHILL DR #101                                                                            CHARGIN FALLS      OH    44022‐3349
ALICE T CARTER                                     PO BOX 153                                                                                      PROSPECT HARBOR    ME    04669‐0153

ALICE T MAGNEY & JOHN D THIRKILL JT TEN            5292 S 1300E DR                                                                                 OGDEN              UT    84403‐4557
ALICE T PELINO                                     4720 HARRIS HILL RD                                                                             WILLIAMSVILLE      NY    14221
ALICE T RAMSEY & MARSHALL W RAMSEY JT TEN          12606 E 1100 NORTH RD                                                                           CHENOA             IL    61726‐9032
ALICE T ZIMMER                                     47 HERON CIR                                                                                    CORTLAND           OH    44410‐1079
ALICE THERESA SMOOT ADM OF THE ESTATE OF           29 ELM ST                                                                                       NATCHEZ            MS    39120‐2368
CLARENCE SMOOT
ALICE TILLEM CUST EMILY ARONICA UGMA NY            20 QUAKER RIDGE DR                                                                              BROOKVILLE         NY    11545‐3326
ALICE TILLEM CUST JESSE ARONICA UGMA NY            20 QUAKER RIDGE DR                                                                              BROOKVILLE         NY    11545‐3326
ALICE TURAK                                        1534 S YORK ST                                                                                  DENVER             CO    80210‐2817
ALICE UMUTONI                                      4606 WATERFALL CT                     APT M                                                     OWINGS MILLS       MD    21117‐7602
ALICE V BILA TR ALICE V BILA TRUST UA 11/20/98     935 JILMAR DR                                                                                   CHESANING          MI    48616‐1367
ALICE V DIAZ                                       2127 ADVENTURE DRIVE                                                                            KETTERING          OH    45420‐3601
ALICE V HALL                                       33 KNOXE                                                                                        ECORSE             MI    48229‐1720
ALICE V MEYER                                      LANTERN HILL RD                                                                                 EASTON             CT    06612
ALICE V SMITH                                      5258 CORNELIUS                                                                                  INDIANAPOLIS       IN    46208‐2512
ALICE VICKERS DUBOIS                               PO BOX 1586                                                                                     ALBANY             LA    70711‐1586
ALICE VICTOR CUST MARK VICTOR UGMA NY              2343 EAST 16TH STREET                                                                           BROOKLYN           NY    11229‐4435
ALICE VINTLAND & DENNIS VINTLAND JT TEN            11255 KINGS DR                                                                                  STERLING HEIGHTS   MI    48312‐3745

ALICE W BANES                                      3210 HIGHWAY 69                                                                                 GRAND RIDGE        FL    32442‐4258
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 96 of 850
Name                                              Address1                              Address2                Address3        Address4                 City             State Zip

ALICE W CROWE                                     2 OAKLAND DRIVE                                                                                        CARTERSVILLE     GA    30120‐3425
ALICE W DRISCOLL & CHARLOTTE C JERMYN JT TEN      ATTN ALICE D JERMYN                   330 HILLDALE DR                                                  DECATUR          GA    30030‐3824

ALICE W HOLMES TOD CLAYTON TYLER HOLMES SUBJECT #6 CEDAR LAKE LANE                                                                                       GOLDSBY          OK    73093‐9223
TO STA TOD RULES
ALICE W HOLMES TOD MATTHEW S HOLMES SUBJECT TO #6 CEDAR LAKE LANE                                                                                        GOLDSBY          OK    73093‐9223
STA TOD RULES
ALICE W JONES                                   635 BLACKTHORN RD                                                                                        WINNETKA         IL    60093‐2005
ALICE W MC CARTHY                               38 STEEPLE CHASE CIRCLE                                                                                  ATTLEBORO        MA    02703‐3222
ALICE W MENZIE                                  150 W 46TH AVE                                                                                           GARY             IN    46408‐3906
ALICE W SAYLES & LEONARD P SAYLES TEN COM       2804 EDGE HILL RD                                                                                        HUNTINGDON       PA    19006‐5023
                                                                                                                                                         VALLEY
ALICE W TERRY                                  7245 SO 525 E #3                                                                                          MIDVALE          UT    84047‐2278
ALICE W TURINAS CUST MATTHEW I TURINAS UGMA NY POST RESTANTE                            214 UPPER RICHMOND RD   LONDON          SW15 6TF GREAT BRITAIN

ALICE W VERLENICH                                 8927 BRIAR BROOK DR N E                                                                                WARREN           OH    44484‐1742
ALICE WARDACH                                     504 RIDGEVIEW CIRCLE                                                                                   CLARKS SUMMIT    PA    18411‐9375
ALICE WARE SMITH                                  1510 CHESTERFLD                                                                                        ANDERSON         IN    46012
ALICE WARK                                        1491 OXFORD                                                                                            GROSSE PT WDS    MI    48236‐1817
ALICE WARREN‐MILLER                               4300 HOLBROOK ROAD                                                                                     RANALLSTOWN      MD    21133‐1102
ALICE WEISS & SAMUEL A WEISS JT TEN               80‐40 LEFFERTS BLVD                                                                                    KEW GARDENS      NY    11415‐1723
ALICE WENDELL VOLZ                                PO BOX 14888                                                                                           PORTLAND         OR    97293‐0888
ALICE WHITMIRE                                    399 CR 238C                                                                                            CAMERON          TX    76520
ALICE WIGGINS                                     34 BURNETT ST                                                                                          PROVIDENCE       RI    02907
ALICE WILLIAMS                                    21512 ORCHARD ST                                                                                       DETROIT          MI    48219‐2380
ALICE ZEMBRODT                                    672 WISCHER DR                                                                                         COVINGTON        KY    41015‐2134
ALICE ZENDEL SIMON                                2511 NW 98TH TERRACE                                                                                   CORAL SPRINGS    FL    33065‐4952
ALICIA A BERTULFO & AUGUSTO B BERTULFO JT TEN     98‐429 KAAMILO ST                                                                                      AIEA             HI    96701‐4313

ALICIA A CRIBBS                                   1920 RICHMOND AVE                     APT 3                                                            HOUSTON          TX    77098‐3432
ALICIA A FRANCO CUST ROBERT STEPHEN FRANCO JR     106 COUNTRY CLUB LN                                                                                    JACKSON          TN    38305‐3910
UTMA TN
ALICIA A MCENDARFER                               5015 WILEY HOLLOW                                                                                      CULLEOKA         TN    38451‐2409
ALICIA A PULLMAN                                  926 SOUTH9TH AVENUE                                                                                    ARCADIA          CA    91006
ALICIA A WINKLE                                   5110 DUCE RD                                                                                           AVOCA            MI    48006‐3325
ALICIA ANNETTE DANGERFIELD                        4647 OWENS DRIVE                                                                                       DAYTON           OH    45406‐1342
ALICIA B FRANCO CUST JAMES RICHARD FRANCO UTMA    106 COUNTRY CLUB LN                                                                                    JACKSON          TN    38305‐3910
TN
ALICIA B FRANCO CUST MATTHEW ANTHONY FRANCO       106 COUNTRY CLUB LN                                                                                    JACKSON          TN    38305‐3910
UTMA TN
ALICIA B GERLACH                                  1210 TERRY ST                                                                                          ANDERSON         IN    46013‐1342
ALICIA C MORROW                                   8345 MCCANDLISH ROAD                                                                                   GRAND BLANC      MI    48439‐7422
ALICIA CONTRERAS                                  6415 SHERIDAN RD                                                                                       SAGINAW          MI    48601‐9767
ALICIA D HOTHEM                                   19150 OXFORD TR5                      PO BOX 26                                                        W LAFAYETTE      OH    43845
ALICIA E MATTHEWS                                 28830 KIRANICOLA CT                                                                                    BONITA SPGS      FL    34135
ALICIA EDGAR                                      10377 MCWAIN RD                                                                                        GRAND BLANC      MI    48439‐2521
ALICIA FREEZE                                     1430 ARLINGTON ST                                                                                      LINCOLN PARK     MI    48146‐1759
ALICIA G ALLGOOD                                  8801 WILDLIFE RDG                                                                                      WESTPOINT        IN    47992‐9313
ALICIA G TORRES                                   2804 S KOSTNER                                                                                         CHICAGO          IL    60623‐4220
ALICIA HARPER FITZGERALD                          PO BOX 46                                                                                              ARKABUTLA        MS    38602‐0046
ALICIA HARTGERS                                   820 ATTERBURY LANE                                                                                     FRANKLIN LAKES   NJ    07417‐2940
ALICIA J MANAGBANAG                               1703 CALICO CANYON LANE                                                                                PEARLAND         TX    77581
ALICIA J SMITH                                    21533 PORT VIEW CIRCLE                                                                                 LEONARDTOWN      MD    20650‐2338
ALICIA J WILLIAMS                                 4291 MANTELL CT                                                                                        KETTERING        OH    45440‐3870
ALICIA K ANSPAUGH                                 BOX 141                                                                                                DAWSON           IA    50066‐0141
ALICIA KYANA WEISBERG‐ROBERTS & KELYN H ROBERTS   2421 3RD ST                                                                                            SANTA MONICA     CA    90405‐3602
JT TEN
ALICIA LUEVANOS                                   1135 VINEWOOD                                                                                          DETROIT          MI    48216‐1497
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 97 of 850
Name                                               Address1                             Address2              Address3          Address4          City               State Zip

ALICIA M EDGAR CUST CHELSEA K SPENCER UTMA MI      10377 MCWAIN                                                                                   GRAND BLANC        MI    48439‐8321

ALICIA M EDGAR CUST EMILY E EDGAR UTMA MI          10377 MCWAIN                                                                                   GRAND BLANC        MI    48439‐8321
ALICIA M EDGAR CUST LOGAM J EDGAR UTMA MI          10377 MCWAIN                                                                                   GRAND BLANC        MI    48439‐8321
ALICIA M GILBERT                                   100 JENKS HILL RD                                                                              LINCOLN            RI    02865‐4613
ALICIA M HERRERA                                   1349 BEDFORD ST                                                                                FREMONT            CA    94539‐4603
ALICIA M NOLAN                                     175 CRESSINGHAM LN                                                                             POWELL             OH    43065‐6660
ALICIA M RESENDEZ                                  2186 LAUDERDALE ST                                                                             FLINT              MI    48532‐4140
ALICIA M STRAIN & THOMAS E STRAIN JT TEN           8612 SCIPIO RD                                                                                 NUNDA              NY    14517‐9745
ALICIA NICOLE GRIPPALDI                            49 DRIFTWAY ROAD                                                                               HOWELL             NJ    07731‐2436
ALICIA NICOLE HILL                                 3010 CALDWELL RD                     UNIT 210                                                  ASHLAND CITY       TN    37015
ALICIA NOWACK                                      1619 ARCGER LANE                                                                               NEKOOSA            WI    54457‐9224
ALICIA R HEIDORN                                   2262 N TULANE DR                                                                               DAYTON             OH    45431‐2422
ALICIA R WILKERSON                                 432 ROLLING GREEN CIRCLE             SOUTH                                                     ROCHESTER HILLS    MI    48309
ALICIA SPEARS CUST KHARI WOOL FOLK UGMA MI         7447 S CALUMET                                                                                 CHICAGO            IL    60619‐1865
ALICIA VALSINT                                     626 RIVERSIDE DR#13J                                                                           NEW YORK           NY    10031‐7219
ALICIA W BAYS & BRIAN H BAYS JT TEN                3815 PARK RD                                                                                   ANDERSON           IN    46011‐9453
ALICJA J KOSOWICZ & MALGORZATA WERNER JT TEN       625 S WELLS STREET                                                                             LAKE GENEVA        WI    53147‐2105

ALICJA KEBETZ                                      20158 PACKARD                                                                                  DETROIT            MI    48234‐3169
ALICK MACLEAN                                      1 PRINCE RUPERT DR                   COURTICE ON                             L1E 1Z4 CANADA
ALIDA F ARNDT                                      12599 COUNTY 40                                                                                PARK RAPIDS        MN    56470‐4523
ALIDA M YORK & JUDY A PRATO JT TEN                 4566 D ROAD                                                                                    BARK RIVER         MI    49807‐9514
ALIDA MACOR                                        PO BOX 187                                                                                     MARTINSVILLE       NJ    08836‐0187
ALIECE M THOMPSON                                  14 PIPERS MEADOW TRAIL                                                                         PENFIELD           NY    14526‐1154
ALIENE M RUEDLIN                                   145 S EAGLE ST                                                                                 BELLE PLAINE       MN    56011‐1501
ALIESSA R PHIPPS                                   4809 GULFSTREAM DR                                                                             DALLAS             TX    75244‐7631
ALINA A LIVENGOOD                                  6209 GLENSHIRE ROW                                                                             ALEXANDRIA         VA    22315‐5293
ALINA GASIOROWSKI                                  6114 SHADOWLAWN                                                                                DEARBORN HTS       MI    48127‐2968
ALINA MCCLARY                                      3850 HACIENDA BLVD                                                                             LA HABRA HEIGHTS   CA    90631

ALINA T GOLDBERG                                   1063 SAGINAW CRT                     MISSISSAUGA ON                          L5H 3W4 CANADA
ALINDA FAVORS                                      6085 MOZART DR                       RURAL RTE 4                                               RIVERDALE          GA    30296‐2300
ALINE CAIN CASS                                    1100 19TH STREET                                                                               SNOHOMISH          WA    98290‐1434
ALINE D GARRETT & SARA G HILL JT TEN               85‐16 66TH RD                                                                                  REGO PARK          NY    11374‐5212
ALINE DANIELS                                      718 PALMER WAY                                                                                 MELBOURNE          FL    32940
ALINE F KOUNS TR ALINE F KOUNS TRUST UA 07/25/96   PO BOX 73068                                                                                   SAN CLEMENTE       CA    92673‐0102

ALINE HOOKER                                       5920 S E 87TH ST                                                                               OKLAHOMA CITY      OK    73135‐6079
ALINE L BOURQUE                                    5017 SANDALWOOD DRIVE                                                                          GRAND BLANC        MI    48439‐4261
ALINE MORIN                                        10200 CONOVER DR                                                                               SILVER SPRING      MD    20902‐4814
ALINE POIRIER & ROLAND POIRIER JT TEN              30 LEYLAND AVE                                                                                 HAVERHILL          MA    01832‐3708
ALINE R FREEMAN                                    1491 EAST 191                        APT 349                                                   EUCLID             OH    44117‐1345
ALINE R HEISTON                                    45 MONGER HILL RD                                                                              ELKTON             VA    22827
ALINE SANDOMIRE                                    5381 E BRITTANY PLACE                                                                          LITTLETON          CO    80121‐3401
ALINE W HEISTON                                    45 MONGER HILL RD                                                                              ELKTON             VA    22827‐3008
ALIO TOMMASINO & MRS ALICE TOMMASINO JT TEN        PO BOX 543                                                                                     METHUEN            MA    01844‐0543

ALIREZA AMIRREZVANI                                372 WELLINGTON PKWY                                                                            NOBLESVILLE        IN    46060‐5447
ALISA A VAN OVERSTRAETEN                           4281 RIVER RD                                                                                  SIDNEY             OH    45365‐8158
ALISA M BAUER                                      19533 WATERLOO RD                                                                              CHELSEA            MI    48118‐9017
ALISA P DANIEL                                     ATTN ALISA ZIFF                      1555 MARINE PKWY                                          BROOKLYN           NY    11234‐3413
ALISA P PAPIR CUST ALYSON TRACI PAPIR              ATTN ALISA ZIFF                      1555 MARINE PARKWAY                                       BROOKLYN           NY    11234‐3413
ALISA R TAYLOR                                     3425V CO RD 9                                                                                  BELLEFONTAINE      OH    43311
ALISA TEMPLETON                                    10800 NIGHTHAWK LN                                                                             FLAGSTAFF          AZ    86004‐1300
ALISE B RALSTON                                    1821 PETERSON                                                                                  S PASADENA         CA    91030‐4034
ALISE HARRISON                                     5531 PLYMOUTH STREET                                                                           STERLING HEIGHTS   MI    48310‐6641

ALISE I DARLAND                                    9248 NOVEMBER BREEZE                                                                           LAS VEGAS          NV    89123‐5352
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                       Part 1 of 8 Pg 98 of 850
Name                                              Address1                             Address2                       Address3            Address4                City            State Zip

ALISE J RIES                                      6995 WASHINGTON                                                                                                 ST LOUIS        MO    63130‐4309
ALISE PAPWORTH GORDON                             8368 WATERWOOD DR                                                                                               KALAMAZOO       MI    49048‐4832
ALISHA M GOURLEY                                  PO BOX 463                                                                                                      WOODBURN        IN    46797‐0463
ALISON A BOTEK                                    95 ORIOLE CIRCLE SOUTH                                                                                          LOCK HAVEN      PA    17745‐9522
ALISON A GOLOMBEK                                 5770 PLUM ORCHARD DRIVE                                                                                         COLUMBUS        OH    43213‐2676
ALISON A KAUFFMAN                                 108 RECOVERY DR                                                                                                 CENTREVILLE     MD    21617‐2607
ALISON A WINKENHOWER                              6053 BATTISON ST                     VANCOUVER BC                                       V5S 3M7 CANADA
ALISON B MURRAY                                   PO BOX 1106                                                                                                     QUOGUE          NY    11959‐1106
ALISON BROOKS MILLS                               69 HAMILTON TERRACE                  LONDON                                             NW8 9QX GREAT BRITAIN
ALISON C DAVIS CUST CHRISTOPHER P DAVIS UTMA NJ   4 1ST ST                                                                                                        FLORHAM PARK    NJ    07932‐1719

ALISON C HOLBROOK                                 20752 IVY CIR                                                                                                   YORBA LINDA     CA    92887‐3323
ALISON COOK                                       6992 HUNTSMAN CT                                                                                                CINCINNATI      OH    45230‐2204
ALISON G BEAUTZ                                   52 OAKRIDGE DRIVE                                                                                               BINGHAMTON      NY    13903‐2125
ALISON GREEN                                      821 ATWOOD RD                                                                                                   PHILADELPHIA    PA    19151‐3307
ALISON HOLZBERG                                   502 PARK AVE                         # 22                                                                       NEW YORK        NY    10022‐1108
ALISON HUTH                                       1829 CRABTREE LANE                                                                                              ELKHARDT        IN    46514‐4226
ALISON J BURNHAM                                  172 EVERGREEN ST                                                                                                CONNEAUT        OH    44030‐1958
ALISON J HUNTOON                                  C/O A MARTELL                        31121 WOODVIEW                                                             CHESTERFIELD    MI    48047‐5919
ALISON J PERRY                                    5204 BECKINGTON LANE                                                                                            DALLAS          TX    75287‐5418
ALISON K HARRIGAN & MICHAEL B HARRIGAN JT TEN     10506 BANCROFT RD                                                                                               GARRETTSVILLE   OH    44231‐9633

ALISON L GRABER                                   10512 DECATUR AVE S                                                                                             MINNEAPOLIS     MN    55438‐1950
ALISON L SCHOTTERS                                6367 CHEROKEE TRL                                                                                               HUGO            MN    55038‐9144
ALISON LEIGH JACOBS CUST WILLIAM H JACOBS UGMA    1922 N 69TH ST                                                                                                  MILWAUKEE       WI    53213‐1908
WI
ALISON LONG TR JOHN A ULLMAN & ELEANOR G          186 MONPONSETT STREET                                                                                           HALIFAX         MA    02338‐1404
ULLMAN TRUST UA 11/06/95
ALISON M BERNDT                                   1370 PINE ST                                                                                                    LIVERMORE       CA    94551‐1934
ALISON M HEYDE                                    1165 N PRAIRIEWOOD DR                                                                                           ROCHESTER       IN    46975‐7801
ALISON M SALE                                     7 MEADOWRUE DRIVE                                                                                               GLASTONBURY     CT    06033‐1254
ALISON M STRONG & STEVEN L STRONG JT TEN          6363 OLIVER ROAD                                                                                                FOSTORIA        MI    48446‐9301
ALISON M SWIFT                                    5300 POST RD                         APT 352                                                                    E GREENWICH     RI    02818‐3070
ALISON MARIE VINCENT                              215 WEST GARFIELD STREET                                                                                        SEATTLE         WA    98119
ALISON MEAD HUSTING                               49 WILLIS RD                                                                                                    SUDBURY         MA    01776‐1614
ALISON N SZWEDO                                   ATT ALISON N MC CULLOCH              3225 MINERVA                                                               FERNDAL         MI    48220‐3601
ALISON O FREEMAN & SUSAN O CONNOR JT TEN          2937 SAN MARCOS PASS RD                                                                                         SANTA BARBARA   CA    93105‐9724
ALISON PIPER ROTH & MICHAEL ANGELO PATELLIS JT    2145 LAKE SHORE LANDING                                                                                         ALPHARETTA      GA    30005
TEN
ALISON RAZINSKY                                   3793 LONGFELLOW RD                                                                                              TALLAHASSEE     FL    32311
ALISON S B YELLEN                                 DEPT OF ANTHROPOLOGY                 GEORGE WASHINGTON UNIVERSITY                                               WASHINGTON      DC    20006
ALISON S TERRY                                    7 HAMMOND ST                         BRIGHTON VIC                                       3186 AUSTRALIA
ALISON STUART PERCY                               91 ROBINSON RD                                                                                                  W SPRINGFIELD   MA    01089‐2932
ALISON SUE MCBRIDE                                13 GRAY SQUIRREL COURT                                                                                          TIMONIUM        MD    21093‐4006
ALISON T OUCHI                                    6935 E THIRSTY CACTUS LN                                                                                        SCOTTSDALE      AZ    85262‐7303
ALISON WEBB                                       APPSPOND COTTAGE APPSPOND LANE       POTTERS CROUCH ST ALBANS       HERTS UNITED KING   GREAT BRITAIN
ALISON Z N TERWEDOW                               31 MONTANARI DRIVE                   MARLBORO                                                                   MARLBOROUGH     MA    01752
ALISON ZAVADIL                                    15615 GOLDEN DR                                                                                                 MACOMB          MI    48044
ALISSA CARSON                                     1336 HEPAKI PL                                                                                                  KAILUA          HI    96734‐4512
ALISTAIR MURRAY SINCLAIR                          550 BURRARD ST STE 1028              VANCOUVER BC                                       V6C 2B5 CANADA
ALISTAIR WALLACE CUST JOHN EDWARD WALLACE         243 DEKALB AVE APT 3                                                                                            BROOKLYN        NY    11205
UTMA NY
ALIZABETH MADILL & SUE MADILL & NANCY THOMAS &    3017 E JOHN CABOT DR                                                                                            PHOENIX         AZ    85032‐1176
RALPH MADILL JT TEN
ALIZIE ROBINSON                                   18029 HUBBELL ST                                                                                                DETROIT         MI    48235‐2710
ALKA J STAPLETON                                  9226 BRUCE DRIVE                                                                                                FRANKLIN        OH    45005‐1407
ALL SAINTS CHURCH                                 570 SIBLEY ST                                                                                                   HAMMOND         IN    46320‐1607
ALLAN A CORNAGGIA CUST KEITH ALLEN CORNAGGIA A    787 GARY ST                                                                                                     GILROY          CA    95020‐4003
UGMA CA
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 99 of 850
Name                                           Address1                              Address2             Address3           Address4          City               State Zip

ALLAN A DELIKAT                                15 SASSAFRAS LN                                                                                 SWEDESBORO         NJ    08085‐1445
ALLAN A H MAKI                                 30 MAPLEHURST AVE                                                                               DEBARY             FL    32713‐2025
ALLAN A HELBER                                 5641 FAIFIELD STREET                                                                            LACASTER           OH    43140
ALLAN A KETCHUM                                4832 EOLA DRIVE NW                                                                              SALEM              OR    97304‐3313
ALLAN A KINGSBURY TR UA 03/04/2010 ALLAN A     PO BOX 97                                                                                       GILMANTON          NH    03237
KINGSBURY REVOCABLE TRUST
ALLAN A KIRWAN                                 PO BOX 64                                                                                       AVONDALE EST       GA    30002‐0064
ALLAN A MOORE                                  6415 HAVELOCK                                                                                   CLARKSTON          MI    48346‐2355
ALLAN A PICHE                                  HC 2 BOX 2420                                                                                   ISABELLA           MO    65676‐9720
ALLAN A SCHAFFER                               1774 KAPEL DR                                                                                   CLEVELAND          OH    44117‐1826
ALLAN A SKUNDA                                 5069 WOODCLIFF DR                                                                               FLINT              MI    48504‐1254
ALLAN A SWANSON                                1225 NORTH WEST SHORE DRIVE                                                                     SAULT SAINTE       MI    49783‐8813
                                                                                                                                               MARIE
ALLAN B BOSHELL & CAROL L BOSHELL JT TEN       121 ALTAMA CONNECTOR                                                                            BRUNSWICK          GA    31525
ALLAN B COX                                    5338 VAN VLEET RD                                                                               SWARTZ CREEK       MI    48473‐8571
ALLAN B CURRIE                                 55651 LORDONA                                                                                   UTICA              MI    48315‐1079
ALLAN B GIBSON                                 566 RIDGEWAY AVE                      OSHAWA ON                               L1J 2V9 CANADA
ALLAN B LITTLE JR                              PO BOX 528                                                                                      ELLIJAY          GA      30540
ALLAN B MASSIE                                 127 MURDOCK RD                                                                                  BALTIMORE        MD      21212‐1749
ALLAN B MC CLELLAN                             1107 ARUNDEL DRIVE                                                                              KOKOMO           IN      46901‐3922
ALLAN B REED                                   38368 JONATHAN ST                                                                               CLINTON TOWNSHIP MI      48036‐1845

ALLAN B RODRIGUES & MRS VICTORIA A RODRIGUES JT 2663 DOUGLAS DR                                                                                BLOOMFIELD HILLS   MI    48304‐1736
TEN
ALLAN BRUCE HOOVER & ALLAN E HOOVER JT TEN      45727 BRANDYWYNNE                                                                              MACOMB             MI    48044‐4132
ALLAN C BACKUS                                  208 ALDRICH ROAD                                                                               FAIRPORT           NY    14450‐9544
ALLAN C BLOOD                                   101 WESTLAND AVE                                                                               ROCHESTER          NY    14618‐1044
ALLAN C CHESHIRE                                156 N MILTON AVE                                                                               GLEN ELLYN         IL    60137‐5436
ALLAN C CHRISTOPHER                             433 COUNTRY DR                                                                                 DOVER              DE    19901‐4789
ALLAN C DICKERSON                               460 PADDOCK WAY                                                                                MATTITUCK          NY    11952‐2369
ALLAN C FENSCH                                  6185 DENTON RD                                                                                 BELLEVILLE         MI    48111‐1012
ALLAN C LITTLE                                  9109 PINE BLUFF DR                                                                             FLUSHING           MI    48433‐1221
ALLAN C SCHAPPERT JR                            RR 5 BOX 277                                                                                   DANVILLE EAST      PA    17821‐8604
ALLAN C STEPHENS                                1421 MCGEE ROAD                                                                                LAKE CITY          MI    49651‐9775
ALLAN C STEVEN                                  2254 CAMDEN LN                                                                                 TEMPERANCE         MI    48182‐2240
ALLAN CAMERON                                   1677 DOLLARD AVE                     SUDBURY ON                              P3A 4H1 CANADA
ALLAN CHARLES BLOOD                             101 WESTLAND AVE                                                                               ROCHESTER          NY    14618‐1044
ALLAN CHARLES HUGHES                            902 CALIFORNIA AV                                                                              SAN JOSE           CA    95125‐2403
ALLAN CHERNIKOFF CUST JASON CHERNIKOFF UGMA NY 2524 AVENUE N                                                                                   BROOKLYN           NY    11210‐5227

ALLAN CHERNIKOFF CUST JEREMY CHERNIKOFF UGMA   2524 AVENUE N                                                                                   BROOKLYN           NY    11210‐5227
NY
ALLAN CHRISTIAN CLEARY                         6820 THORNCLIFF TRAIL                                                                           PLANO              TX    75023‐1344
ALLAN D BEVERAGE                               847 CASCADE RD                                                                                  CINCINNATI         OH    45240‐3611
ALLAN D BEVERAGE & MILDRED I BEVERAGE JT TEN   847 CASCADE                                                                                     CINCINNATI         OH    45240‐3611

ALLAN D BOWEN                                  3396 CHERYL DRIVE                                                                               HOWELL           MI      48843‐9377
ALLAN D DUTCHER & KEVIN DUTCHER JT TEN         5307 MORRICE RD                                                                                 OWOSSO           MI      48867‐8716
ALLAN D HINKEL                                 11379 STATE ROUTE 177                                                                           CAMDEN           OH      45311‐9616
ALLAN D KNAKE                                  2340 MT ROYAL                                                                                   WATERFORD        MI      48328
ALLAN D MOON                                   13844 ALASKA AVE                                                                                EAGLE            MI      48822‐9541
ALLAN D PEEL CUST ALEXANDER S PEEL UTMA CA     1707 HILO DR                                                                                    VISTA            CA      92081‐7512
ALLAN D PERRY                                  140 OAK BARK DRIVE                                                                              HOWELL           MI      48843‐7895
ALLAN D STRATON                                1665 SE 4TH CT                                                                                  DEERFIELD BEACH FL       33441‐4919
ALLAN D TABESH                                 33228 W 12MILE ROAD F#361                                                                       FARMINGTON HILLS MI      48334‐3309

ALLAN D WHITFORD                               22749 ROXANA AVE                                                                                EASTPOINTE         MI    48021‐1921
ALLAN D ZUKOWSKI                               7010 BLOOMFIELD DR EAST                                                                         INDIANAPOLIS       IN    46259‐1274
ALLAN E ARMS                                   2671 PORCUPINE TRAIL                                                                            LAPEER             MI    48446‐8324
                                               09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                                                    Part 1 of 8 Pg 100 of 850
Name                                             Address1                            Address2                         Address3             Address4          City               State Zip

ALLAN E BARNES                                   6435 PHILLIPS RD                                                                                            BURT               NY    14028‐9713
ALLAN E BOND                                     587 SCHEURMANN RD                                                                                           BAY CITY           MI    48708‐9174
ALLAN E CAESAR                                   5828 PRESCOTT DR                                                                                            TAWAS CITY         MI    48763‐9454
ALLAN E CARSON                                   651 WHITTIER DR                                                                                             WARMINSTER         PA    18974
ALLAN E HINZ                                     7072 TAPPON DRIVE                                                                                           CLARKSTON          MI    48346‐2634
ALLAN E JONES                                    14598 HWY C                                                                                                 PHILLIPSBURG       MO    65722‐7129
ALLAN E KITZMILLER                               19300 SUNNYRIDGE CT                                                                                         OREGON CITY        OR    97045‐9762
ALLAN E KREJCI                                   622 W 4TH                                                                                                   SCHUYLER           NE    68661‐2519
ALLAN E LIEN                                     9150 W DODGE RD                                                                                             MONTROSE           MI    48457‐9188
ALLAN E LOVE                                     108 BEACHWOOD DR                                                                                            FAIRFIELD GLADE    TN    38558‐7545
ALLAN E ROSS                                     7221 E JUNE ST                                                                                              MESA               AZ    85207‐2958
ALLAN E YOUNG                                    SCHOOL OF MANAGEMENT                SYRACUSE UNIVERSITY              721 UNIVERSITY AVE                     SYRACUSE           NY    13244‐2450
ALLAN ESPIRITU CUST JARED ESPIRITU UTMA NJ       3762 KIMBERLY LANE                                                                                          DOVER              PA    17315
ALLAN F GAYNOR                                   918 ALLMEN AVE                                                                                              HINSDALE           IL    60521‐4553
ALLAN F JOSEPH & SYLVIA L JOSEPH JT TEN          24028 KAREN                                                                                                 WARREN             MI    48091‐1606
ALLAN F KLAPPA                                   541 SOUTH BIRON DRIVE                                                                                       WISCONSIN RAPIDS   WI    54494‐1858

ALLAN F KLAPPA & ELISABETH KLAPPA JT TEN         541 S BIRON DR                                                                                              WISCONSIN RAPIDS WI      54494‐1858

ALLAN F REICHEL                                  1191 HINDU COVE                                                                                             GULF BREEZE        FL    32561‐3572
ALLAN F SCHAEFER & SUZANNE D SCHAEFER JT TEN     54810 NINE MILE RD                                                                                          NORTHVILLE         MI    48167‐9736

ALLAN F SWANSON                                  2456 ELM DRIVE                                                                                              WHITE BEAR LAKE    MN    55110‐5576
ALLAN FOGELMAN CUST NIA FOGELMAN UGMA NY         222‐04 77TH AVE                                                                                             HOLLIS HILLS       NY    11364‐3041

ALLAN FOLKART                                    196 STONE MANOR DR                                                                                          SOMERSET           NJ    08873‐6025
ALLAN G CRIST & MRS MARGARET H CRIST JT TEN      9922 CORSICA ST                                                                                             VIENNA             VA    22181‐3103
ALLAN G DEBIAW                                   1724 MURDOCK RD                                                                                             LYNDONVILLE        NY    14098
ALLAN G MARTIN & PAULINE MARTIN JT TEN           8210 TAMARAC                                                                                                WICHITA            KS    67206‐2336
ALLAN G MARTIN & PAULINE MARTIN JT TEN           8210 TAMARAC                                                                                                WICHITA            KS    67206‐2336
ALLAN G MILLER                                   9252 ARBOR CT                                                                                               GOODRICH           MI    48438‐9465
ALLAN G TURKELTAUB                               3 DRUID HILL DRIVE                                                                                          PARSIPPANY         NJ    07054‐1411
ALLAN GATEWOOD                                   5718 PIPER AVE                                                                                              LANSING            MI    48911‐4614
ALLAN GREENMAN CUST ALLYSON UGMA NJ              201 SCHOOL HOUSE DR                                                                                         LINWOOD            NJ    08221‐1629
ALLAN H BORKLUND & LEAH A BORKLUND JT TEN        3925 TERNEZ DR                                                                                              MOORPARK           CA    93021‐9765
ALLAN H BURNSON                                  21933 EMILY LANE                                                                                            FRANKFORT          IL    60423‐7886
ALLAN H FISHER JR                                406 NEW MARK ESPANADE                                                                                       ROCKVILLE          MD    20850‐2735
ALLAN H GOLDBERG & MARYLIN GOLDBERG JT TEN       1 KENSINGTON GATE APT 320                                                                                   GREAT NECK         NY    11021‐1231

ALLAN H HARRIS & SHARON HARRIS JT TEN            56 HOLLY PLACE                                                                                              LARCHMONT          NY    10538‐1346
ALLAN H KAUFMAN                                  14020 WEEPING CHERRY DR                                                                                     ROCKVILLE          MD    20850‐5470
ALLAN H LUTHER & MRS RENATA LUTHER JT TEN        ROSENVAENGETS HOVEDVEJ 48           COPENHAGEN                                            2100 DENMARK
ALLAN H MARX                                     11100 CAMBRIDGE COMMONS DR                                                                                  LOUISVILLE         KY    40291‐5342
ALLAN H SABIT                                    15705 MILLAR                                                                                                CLINTON TWP        MI    48036‐1620
ALLAN H SELIG                                    BASEBALL OFFICE OF THE COMMISNR     777 E WISCONSIN AVE SUITE 2010                                          MILWAUKEE          WI    53202‐5302
ALLAN H WILLAND                                  117 LOCUST AVE                                                                                              W LONG BRANCH      NJ    07764‐1640
ALLAN HENRY ZIMMERMAN                            2111 BEAVER HILL RD                                                                                         CHESTER SPRGS      PA    19425‐2617
ALLAN HOOSAIN CUST FARAH HOOSAIN UTMA VA         330 BRONZE LEAF DR                                                                                          CHRISTIANSBURG     VA    24073‐7653
ALLAN HOWARD SCHUSTER                            8521 WESTMORELAND LANE                                                                                      MINNEAPOLIS        MN    55426‐1930
ALLAN J BUYNAK                                   154 HURONDALE                                                                                               WHITE LAKE         MI    48386‐2527
ALLAN J COLCERNIAN                               58398 PLEASANT VEIW COURT                                                                                   WASHINGTON TWP     MI    48094‐2473

ALLAN J COX                                      322 E MULEN AVE                                                                                             MARTINSBURG        WV    25401‐4720
ALLAN J DAMINATO                                 PO BOX 4296                                                                                                 CHESTERFIELD       MO    63006‐4296
ALLAN J F FAULDS                                 103 CASTLEWOOD DR                                                                                           BROOKLYN           MI    49230‐9723
ALLAN J GEARHART                                 8567 VASSAR RD                                                                                              MILLINGTON         MI    48746‐9546
ALLAN J GOCI & TARA CARVER GOCI JT TEN           2183 NORTH FAIRVIEW LANE                                                                                    ROCHESTER HILLS    MI    48306‐3929
ALLAN J JONES                                    9455 PARK LN                                                                                                COMMERCE TWP       MI    48382‐4375
ALLAN J KOTWICKI                                 9618 ELK LAKE TRAIL                                                                                         WILLIAMSBURG       MI    49690‐9506
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 101 of 850
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

ALLAN J KRISTEL                                   11 DOCK HOLLOW RD                                                                             COLD SPG HBR      NY    11724‐1001
ALLAN J MICHIE                                    1366 CHARLESTON LN                                                                            COLUMBIA          TN    38401‐7344
ALLAN J NOELLE                                    490 HEIDELBERG AVE                                                                            VENTURA           CA    93003‐2130
ALLAN J SINDLER EX EST MANDEL PAYEFF              2006 N BRAILSFORD RD                                                                          CAMDEN            SC    29020
ALLAN J SPENCER                                   266 FAIRWAY CRESCENT                 ST CLAIR BEACH ON                      N8N 2Z2 CANADA
ALLAN J TERRY                                     20 MEADOWBROOK DRIVE                                                                          SAN FRANCISCO     CA    94132‐1410
ALLAN J VANVLERAH                                 14618 CAMPBELL RD                                                                             DEFIANCE          OH    43512‐8832
                                                                                                                                                JUNCTION
ALLAN JAMES WILKINSON                           16119 CHATHAM DR                                                                                CLINTON TWP       MI    48035‐1117
ALLAN K FLAUGHER                                1208 FALL RIVER                                                                                 YPSILANTI         MI    48198‐3154
ALLAN K HOWELL                                  2325 SO B ST                                                                                    ELWOOD            IN    46036‐2145
ALLAN K JONAS & DOROTHY N JONAS TR JONAS FAMILY 10313 W PICO BLVD                                                                               LOS ANGELES       CA    90064‐2607
TRUST UA 7/18/97
ALLAN K SKIVER                                  15939 HARRIS RD                                                                                 DEFIANCE          OH    43512‐8088
ALLAN KENNETH BENNETT & DOROTHY BENNETT JT TEN 13655 E VICTOR RD                                                                                LODI              CA    95240‐9709

ALLAN KWASTEL                                     538 E OLIVE ST                                                                                LONG BEACH        NY    11561‐3724
ALLAN L AMUNDSON                                  6343 LOCKWOOD DR                                                                              JANESVILLE        WI    53545‐8856
ALLAN L FERRIER                                   3375 N LINDEN RD                     APT 246                                                  FLINT             MI    48504‐5727
ALLAN L FRICK                                     8030 REESE RD                                                                                 CLARKSTON         MI    48348‐4341
ALLAN L GROSS                                     5400 NEW LOTHROP RD                                                                           CORUNNA           MI    48817‐9750
ALLAN L LUPTON                                    4177 SUGARCREEK DRIVE                                                                         BELLBROOK         OH    45305‐1328
ALLAN L RINGEL                                    2115 LAKEFIELD DRIVE                                                                          HURON             OH    44839‐2071
ALLAN L SMITH                                     940 W LOCUST ST                                                                               MIDDLETOWN        IN    47356‐1224
ALLAN L SMITH                                     7869 JOSE LAKE DR                                                                             SOUTH BRANCH      MI    48761‐9602
ALLAN L SU                                        5850 SPRINGWATER                                                                              W BLOOMFIELD      MI    48322‐1754
ALLAN LAMOTTE                                     397 FALL CREEK RD                                                                             FREEVILLE         NY    13068‐9568
ALLAN LANDOSKY                                    1452 TREVINO DRIVE                                                                            TROY              MI    48098‐6101
ALLAN LAURENCE TIEDEMAN                           3457 CLEARWATER DR                                                                            DAVISON           MI    48423‐8736
ALLAN LEFF                                        37 SHADETREE LN                                                                               ROSLYN HEIGHTS    NY    11577‐2502
ALLAN M CAMERON III                               6415 BENTWOOD LN                                                                              WILLOWBROOK       IL    60527‐5447
ALLAN M JACKSON JR                                1393 E 3900 N RD                                                                              CABERY            IL    60919‐7021
ALLAN M JACKSON SR                                5147 W 1000 N RD                                                                              KANKAKEE          IL    60901‐7631
ALLAN M KATZ                                      1420 VETERANS SUITE 200                                                                       METAIRIE          LA    70005
ALLAN M KORN & LINDA J KORN JT TEN                188 CEDAR RIDGE CIRCLE                                                                        ST AUGUSTINE      FL    32080‐6573
ALLAN M REIDOSH                                   3373 BROCKPORT ROAD                                                                           SPENCERPORT       NY    14559‐2169
ALLAN M SPENCER & MARY ELLEN SPENCER JT TEN       3883 MAYFIELD RD                                                                              CLEVELAND         OH    44121‐2224
                                                                                                                                                HEIGHTS
ALLAN M VAN DE MARK & RITA J VAN DE MARK JT TEN   2504A KATEY CT                                                                                STERLING          IL    61081‐9062

ALLAN MANGAN                                      522 ROUNDTOP BLVD                                                                             DUNCANVILLY       TX    75116‐2507
ALLAN MARK ALTMAN                                 120 FATE CT                                                                                   DALLAS            GA    30157‐7470
ALLAN MARK MOSES                                  34 ONE STACK DR                                                                               BOW               NH    03304‐4707
ALLAN MONDEAU                                     2018 WEST BAY DRIVE                                                                           MUSCATINE         IA    52761
ALLAN N GEISENDORFER                              5503 TANSY CT                                                                                 SCHNECTADY        NY    12303‐5090
ALLAN N GRAHAM                                    RR1                                  WOODSLEE ON                            N0R 1V0 CANADA
ALLAN N SAUER                                     6390 WHITTEMORE RD                                                                            WHITTEMORE        MI    48770‐9701
ALLAN NAKATA                                      900 FORT STREET MALL #1280                                                                    HONOLULU          HI    96813
ALLAN P FLACHSMANN                                3742 WINDING PINE DR                                                                          METAMORA          MI    48455‐8969
ALLAN P FREUND                                    3945 ADELL CT                                                                                 COMMERCE          MI    48382‐4482
ALLAN P SMITH                                     2443 COLLINGWOOD BLVD                                                                         TOLEDO            OH    43620‐1153
ALLAN P STRIKE                                    C/O APHQ CHINA                       PO BOX 9022                                              WARREN            MI    48090‐9022
ALLAN P VITELLO                                   246 E 238TH ST                                                                                BRONX             NY    10470‐1805
ALLAN PAUL LONG                                   7525 SAWYER PIKE                                                                              SIGNAL MT         TN    37377‐1617
ALLAN R BOGAN                                     10467 HILL RD                                                                                 SWARTZ CREEK      MI    48473‐8569
ALLAN R CARLIN CUST JASON D CARLIN UGMA NJ        158 CHURCH LANE                                                                               EAST BRUNSWICK    NJ    08816‐2405
ALLAN R COOPER                                    517 FOOTE RD                                                                                  CHEBOYGAN         MI    49721‐9093
ALLAN R FAIGHT                                    1881 OLD RTE 22                                                                               DUNCANSVILLE      PA    16635‐5709
ALLAN R GLAVAN                                    2587 OAK DR                                                                                   WHITE BEAR LAKE   MN    55110‐5643
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 102 of 850
Name                                            Address1                                Address2             Address3          Address4          City               State Zip

ALLAN R GROSSMAN & FLORA L GROSSMAN JT TEN      740 MOBILE RD                                                                                    FAR ROCKAWAY       NY    11691‐4836

ALLAN R HUFFMIRE                                1450 CURRY BUSH RD                                                                               SCHENECTADY        NY    12306‐6213
ALLAN R PARKER                                  7278 KILDEER LN                                                                                  LUDINGTON          MI    49431‐9764
ALLAN R REED                                    36800 PAYNE ST                                                                                   CLINTON TWP        MI    48035‐1352
ALLAN R SATKOWIAK                               3917 COUNTY ROAD 19                                                                              AUBURN             IN    46706‐9403
ALLAN R SMITH JR                                208 SOUTH WATER STREET                                                                           NEW OXFORD         PA    17350‐9426
ALLAN R STRATTON                                5368 NASHUA DR                                                                                   AUSTINTOWN         OH    44515‐5125
ALLAN R STRATTON                                5368 NASHUA DR                                                                                   AUSTINTOWN         OH    44515‐5125
ALLAN R SZYDLOWSKI                              56671 DICKENS DR                                                                                 SHELBY TOWNSHIP    MI    48316‐4880

ALLAN RAKOS                                     725 S GREENSFERRY RD                                                                             POST FALLS         ID    83854‐7285
ALLAN ROBERT PURCELL                            APT 121                                 615 E WONSLEY DR                                         AUSTIN             TX    78753‐6516
ALLAN ROGERS & MRS MARGARET HELEN ROGERS JT     50 GREEN HILL RD                                                                                 HUNTINGTON         NY    11746‐3906
TEN                                                                                                                                              STATION
ALLAN ROSENBLUTH CUST EVAN ROSENBLUTH UGMA      3851 DIAMANE PL                                                                                  ENCINO             CA    91316
CA
ALLAN ROTHLIND                                  SAAB AUTOMOBILE                         SE‐461 80            TROLLHATTAN       SWEDEN
ALLAN S BENNETT                                 PO BOX 75101 1/C1‐13                    J‐81598                                                  REPRESA          CA      95671‐5071
ALLAN S BRUBAKER                                7457 SHAKER LN                          APT C                                                    MAINEVILLE       OH      45039‐8777
ALLAN S COOK                                    23320 GLEN CREEK DRIVE                                                                           FARMINGTON HILLS MI      48336‐3037

ALLAN S JARRETT                                 447 WOODLAWN AVENUE                                                                              BUFFALO            NY    14208‐1924
ALLAN SIMON & LORRAINE SIMON JT TEN             3570 WASHINGTON PIKE                    APT 7                                                    BRIDGEVILLE        PA    15017‐1091
ALLAN SIMS                                      1748 KINGWOOD LANE                                                                               ROCKVALE           TN    37153‐4019
ALLAN SJOBERG                                   2414 BANKER ST                                                                                   MC KEESPORT        PA    15132‐5707
ALLAN SONES & TOBY SONES JT TEN                 1246 WILLIAM DR                                                                                  LAKE ZURICH        IL    60047‐2777
ALLAN T FENLEY CUST VICTORIA FENLEY UGMA NY     PO BOX 6089                                                                                      FALMOUTH           ME    04105‐6089
ALLAN T JONES                                   PO BOX 415                                                                                       HOGANSBURG         NY    13655‐0415
ALLAN T KOHL                                    12020 CROOKED LAKE BLVD N W                                                                      COON RAPIDS        MN    55433‐1736
ALLAN T LANGSTON                                5203 JOY RD                                                                                      DETROIT            MI    48204‐2152
ALLAN T REID & GLORIA I REID JT TEN             13 CARDINAL DR                                                                                   AGAWAM             MA    01001‐2186
ALLAN W FELGER                                  10426 CARROLL RD                                                                                 CHURUBUSCO         IN    46723‐9408
ALLAN W FOESS                                   6826 ARCHDALE                                                                                    DETROIT            MI    48228‐4200
ALLAN W HORST                                   22‐50 JACKSON AVENUE                                                                             LONG ISLAND CITY   NY    11101‐4312

ALLAN W KUEHN                                   15677 HALLAUET RD                                                                                OBERLIN            OH    44074‐9788
ALLAN W LAGE                                    2050 IMPERIAL EAGLE PL                                                                           KISSIMMEE          FL    34746‐1914
ALLAN W LOMER                                   3225 VIRGINIA WAY                                                                                LONGVIEW           WA    98632‐5420
ALLAN W PANKRATZ                                1217B SHETLAND DR                                                                                LAKEWOOD           NJ    08701‐8207
ALLAN W PERDUE                                  2124 HADLEY RD                                                                                   LAPEER             MI    48446‐9647
ALLAN W TEGT                                    1400E 3200 S                                                                                     FRANCIS            UT    84036‐9614
ALLAN WALLACE                                   10065 WINDSTREAM DR                     APT 3                                                    COLUMBIA           MD    21044‐2539
ALLAN WAYNE ARNOLD                              7400 S WOODBRIDGE RD                                                                             ASHLEY             MI    48806‐9371
ALLAN WEISSMAN                                  39 CARRINGTON PLACE                                                                              CLIFTON            NJ    07013‐2658
ALLAN WILSON                                    C/O FLORA WILSON                        3715 EDMONDSON AVE                                       BALTO              MD    21229‐2940
ALLANA M MILLER                                 23 LOCKE ROAD                                                                                    WABAN              MA    02468‐1415
ALLARD GOFF                                     236 W 2ND ST                                                                                     MT VERNON          NY    10550‐2829
ALLEENE B WILEY                                 6162 CLEMATIS DR                                                                                 DAYTON             OH    45449‐3006
ALLEGRA CELESTE MOUNT                           395 GARNSEY RD                                                                                   PITTSFORD          NY    14534‐4543
ALLEN A ALGRIM                                  RR 3 FOSSUM RD                                                                                   BRODHEAD           WI    53520‐9803
ALLEN A BARNHART TR ALLEN A BARNHART TRUST UA   769 HISER AVE                                                                                    SPRINGFIELD        OH    45503‐7433
11/18/99
ALLEN A CANDAN & FLORDELIZA CANDAN JT TEN       9944 NW 48 ST CIRCLE                                                                             DORAL              FL    33178
ALLEN A COCKRELL & GOLDA R COCKRELL JT TEN      7033 TOURANT RD                         UNIT 1                                                   SAN ANTONIO        TX    78240‐2445
ALLEN A COOPER JR & MRS CHRISTA COOPER JT TEN   PO BOX 35841                                                                                     HOUSTON            TX    77235‐5841

ALLEN A COSTA                                   4471 E SPRINGFIELD                                                                               FRESNO             CA    93725‐9691
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                        Part 1 of 8 Pg 103 of 850
Name                                              Address1                               Address2                      Address3   Address4          City             State Zip

ALLEN A JAKUBOWSKI                                231 S WILKE RD                                                                                    ARLINGTON        IL    60005‐1511
                                                                                                                                                    HEIGHTS
ALLEN A KAUFMAN & BARRY KAUFMAN & RONALD          C/O RP KAUFMAN 5139 TOP SEED CT                                                                   CHARLETTE        NC    28226
KAUFMAN & LANNY KAUFMAN
ALLEN A OLSON II                                  5879 VERTA                                                                                        BELMONT          MI    49306‐9753
ALLEN A OUELLETTE                                 1216 LOUIS AVE                         WINDSOR ON                               N8X 4B9 CANADA
ALLEN A POPELKA                                   4825 N PARKWAY                                                                                    KOKOMO           IN    46901‐3940
ALLEN ALBERT                                      C/O LOIS ALBERT                        1651 SW 127TH AVENUE #A‐411                                PEMBROKE PINES   FL    33027‐2187
ALLEN ALBERT BURCHELL                             6301 NEW TOWN CIRCLE 1A6                                                                          TAMPA            FL    33615
ALLEN ANDERSON                                    3939 NELSON DR                                                                                    NEW PORT         MI    48166‐9007
ALLEN ARON & LANA ARON JT TEN                     3107 OLD GLENVIEW RD                                                                              WILMETTE         IL    60091‐2910
ALLEN AUTOMATED SYSTEMS ATTN LUCAS INDUSTRIES     12841 STARK ROAD                                                                                  LIVONIA          MI    48150‐1525
INC
ALLEN B BAKER                                     42 HANWELL PLACE                                                                                  DEPEW            NY    14043‐1107
ALLEN B BAKER & LINDA LEE BAKER JT TEN            42 HANWELL PL                                                                                     DEPEW            NY    14043‐1107
ALLEN B CAMPBELL JR                               118 SENATE DR                                                                                     PITTSBURGH       PA    15236‐4416
ALLEN B COLE & MRS JOSEPHINE L COLE JT TEN        3646 N FREMONT ST                                                                                 CHICAGO          IL    60613‐4349
ALLEN B CRUMM & MRS EDNA L CRUMM JT TEN           3158 MORRISH RD                                                                                   FLUSHING         MI    48433‐2211
ALLEN B DOWNS                                     820 VAN NESS CIRCLE                                                                               LONGWOOD         FL    32750‐2929
ALLEN B FOWLER                                    44 WHEATSTONE CIRCLE                                                                              FAIRPORT         NY    14450
ALLEN B HULL                                      4018 STOCKTON RD                                                                                  JAMESTOWN        TN    38556‐6043
ALLEN B JOHNSON JR                                PO BOX 27580                                                                                      PANAMA CITY      FL    32414‐7580
                                                                                                                                                    BEACH
ALLEN B LEVITHAN CUST DAVID B LEVITHAN UGMA NJ    43 ATHENS ROAD                                                                                    SHORT HILLS      NJ    07078‐1351

ALLEN B MILLER                                    12200 E DODGE RD                                                                                  OTISVILLE        MI    48463‐9774
ALLEN B ORGANICK & ELLEN M SOFFER TEN COM         420 PIERREMONT RD                                                                                 SHREVEPORT       LA    71106‐2206
ALLEN B ROBINSON                                  21662 LILAC LN                                                                                    SOUTHFIELD       MI    48034‐3914
ALLEN B UYEDA                                     797 PUUIKENA DR                                                                                   HONOLULU         HI    96821
ALLEN BAITY                                       3937 CHICHESTOR RD                                                                                EDWARDS          MS    39066‐9633
ALLEN BALLARD                                     967 EAST 225TH STREET                                                                             BRONX            NY    10466‐4605
ALLEN BARNUM                                      14031 SHERIDAN RD                                                                                 MONTROSE         MI    48457‐9347
ALLEN BAXTER COURTS & MARIE COURTS JT TEN         451 WESTERN HILLS RD                                                                              FOSTER           KY    41043‐9204
ALLEN BEAL                                        932 WARBURTON DRIVE                                                                               TROTWOOD         OH    45426‐2236
ALLEN BELDEN JR                                   1202 W 45TH ST                                                                                    RICHMOND         VA    23225‐4627
ALLEN BELL                                        720 NUTWOOD ST                                                                                    BOWLING GREEN    KY    42103‐1622
ALLEN BEN SHRUM                                   631 GLENWOOD AVE                                                                                  OWOSSO           MI    48867‐4615
ALLEN C ABRAMS CUST JEFFREY T ABRAMS UGMA MN      10155 GREENBRIER RD                    APT 212                                                    HOPKINS          MN    55305‐3418

ALLEN C BAISLEY                                   2230 SABAL PALM DR                                                                                EDGEWATER        FL    32141
ALLEN C BURDEN                                    417 OLIVE ROAD                                                                                    TROTWOOD         OH    45426‐2609
ALLEN C COZART                                    3130 MCCLURE                                                                                      FLINT            MI    48506‐2536
ALLEN C CULBERTSON                                3540 JEWELL ROAD                                                                                  HOWELL           MI    48843‐8975
ALLEN C GREENWOOD                                 RD #4                                                                                             WEST CHESTER     PA    19382‐9804
ALLEN C HALL                                      11859 TWIN BROOK DR                                                                               ROMEO            MI    48065‐5442
ALLEN C MCLAUGHLIN                                7116 FORESTVIEW                                                                                   ARLINGTON        TX    76016‐5031
ALLEN C MINNIX JR                                 6021 RIVERSIDE DR                                                                                 E NEW MARKET     MD    21631‐9503
ALLEN C PARKER & ALFRED W PARKER JT TEN           5525 COURTNEY RD                                                                                  MONTROSE         MI    48457‐9626
ALLEN C PRATT                                     PO BOX 171                                                                                        ARCADIA          MI    49613‐0171
ALLEN C TERHUNE & FLORENCE M TERHUNE JT TEN       518 HOWARD COURT                                                                                  FAIRMOUNT        IN    46928‐1332

ALLEN C THORINGTON                                1325 W KITCHEN RD                                                                                 LINWOOD          MI    48634‐9755
ALLEN CADIEUX & CAROL CADIEUX JT TEN              38870 ELMITE                                                                                      HARRISON         MI    48045‐2036
                                                                                                                                                    TOWNSHIP
ALLEN CARLSON TOD JUDITH CARLSON SUBJECT TO STA   1975 N HAMMOND LAKE DR                                                                            BLOOMFIELD       MI    48302
TOD RULES
ALLEN CARTER HINCKLEY                             870 5TH AVE                                                                                       NEW YORK         NY    10021‐4953
ALLEN COOPER                                      1040 EXMOOR AVE                                                                                   COMPTON          CA    90220‐4422
ALLEN D ANNEBERG                                  211 PERCH AVE                                                                                     CARROLL          IA    51401‐1620
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 104 of 850
Name                                           Address1                                Address2             Address3          Address4          City               State Zip

ALLEN D AVERY                                  6103 S FLORENCE PL                                                                               TULSA              OK    74136‐1201
ALLEN D BALL                                   9499 RAYMOND                                                                                     CLARKSTON          MI    48348‐1545
ALLEN D BECKER                                 4202 LEANN DR                                                                                    GLEN ROCK          PA    17327‐8761
ALLEN D BURGESS                                6300 N WELLING RD                                                                                SAINT JOHNS        MI    48879‐9615
ALLEN D CORNELL                                PO BOX 369                                                                                       MORRICE            MI    48857‐0369
ALLEN D COSTELLO JR                            1028 KOKOMO LN                                                                                   INDIANAPOLIS       IN    46241‐1717
ALLEN D DORSEY & RUBY M DORSEY JT TEN          8936 SUMTER DR                                                                                   ST LOUIS           MO    63136‐2806
ALLEN D ETHINGTON                              718 HURON STREET                                                                                 FLINT              MI    48507‐2551
ALLEN D FAILS                                  14213 COVINGTON RD                                                                               INDEPENDENCE       MO    64055‐4945
ALLEN D FRANCIS                                302 KINDRED BLVD                                                                                 PORT CHARLOTTE     FL    33954‐1709
ALLEN D JOHNSON                                12286 CASERO CT                                                                                  SAN DIEGO          CA    92128‐2723
ALLEN D KEELING                                166 ENDICOTT                                                                                     HOWELL             MI    48843
ALLEN D KEENEY                                 7034 CASTLE MANOR DR                                                                             INDIANAPOLIS       IN    46214‐3626
ALLEN D LAWRENCE                               126 MILWAUKEE                                                                                    LAWSON             MO    64062‐9332
ALLEN D MCCOOL                                 184 CEDAR AVE                                                                                    BRODHEAD           WI    53520‐1041
ALLEN D MILLER                                 919 GUISANDO DE AVILA                                                                            TAMPA              FL    33613‐1060
ALLEN D MURRAY                                 16472 DAWN LIGHT DR                                                                              FENTON             MI    48430‐8956
ALLEN D SABOURIN                               3916 THENDARA CT                                                                                 GLADWIN            MI    48624‐7111
ALLEN D SANDERS                                808 S CLARK ST                                                                                   KOKOMO             IN    46901‐6604
ALLEN D SMITH                                  2265 NERREDIA                                                                                    FLINT              MI    48532‐4824
ALLEN D SOLLARS                                RR 1 BOX 222                                                                                     ADRIAN             MO    64720‐9719
ALLEN D SWINFORD JR                            1531 N GIRLS SCHOOL RD                                                                           INDIANAPOLIS       IN    46214‐3309
ALLEN D WARNER                                 17352 W BAJADA DR                                                                                SURPRISE           AZ    85387‐1001
ALLEN D WRUBEL                                 4365 18 1/2 MILE ROAD                                                                            STERLING HGTS      MI    48314‐2908
ALLEN DAVID STREITHORST                        916 LARRIWOOD DRIVE                                                                              KETTERING          OH    45429‐4749
ALLEN DICKMAN                                  3590 SAGAMORE AVE                                                                                MOHEGAN LAKE       NY    10547
ALLEN DOUGLAS                                  2804 W CALDWELL ST                                                                               COMPTON            CA    90220‐3959
ALLEN E BARTON                                 38750 BRONSON                                                                                    STERLING HEIGHTS   MI    48310‐2813

ALLEN E BLOTNEY                                3300 SAN MATEO DR                                                                                PLANO              TX    75023‐6130
ALLEN E BOOTH                                  1945 MAPLEWOOD DR                                                                                OWOSSO             MI    48867‐9082
ALLEN E BRONSON                                11930 WOODLAND DR                                                                                LENNON             MI    48449‐9663
ALLEN E BROWN                                  8992 CANOE DRIVE                                                                                 GALLOWAY           OH    43119‐9490
ALLEN E BULLE                                  232 BERGER ST                                                                                    SOMERSET           NJ    08873‐3309
ALLEN E BULLE & FLEETA B BULLE JT TEN          232 BERGER STREET                                                                                SOMERSET           NJ    08873‐3309
ALLEN E COLEMAN                                2415 LAKESIDE DR                                                                                 HIGHLAND           MI    48356‐2429
ALLEN E COLLINS                                112 WHITE DR                                                                                     FITZGERALD         GA    31750‐8870
ALLEN E COWAN                                  8682 POLK ST NE                                                                                  BLAINE             MN    55434‐2368
ALLEN E DAVIS                                  1915 COLONY DR APT 2107                                                                          CINCINNATI         OH    45205
ALLEN E ELWELL & NANCYKAE ELWELL TR ELWELL     1420 WEST GREER AVE                                                                              HOLBROOK           AZ    86025‐1931
FAMILY TRUST UA 01/13/99
ALLEN E FARRINGTON JR                          3840 STONE FARM ROAD                                                                             EDGERTON           WI    53534‐9721
ALLEN E FELDER                                 62 SHADOW LANE                                                                                   STATED ISLAND      NY    10306‐2055
ALLEN E FELDMAN                                PO BOX 10367                                                                                     TAMPA              FL    33679‐0367
ALLEN E HILL                                   306 HUDSON HILL DR                                                                               MACON              GA    31220
ALLEN E IMES                                   C/O JOYCE HOWE                          461 PENN LN                                              BRANDON            MS    39047‐7224
ALLEN E KAMPMAN TR THE ALLEN E KAMPMAN DECL OF 4732 BEAU BIEN LN E                     APT C                                                    LISLE              IL    60532‐1772
TRUST 01/28/93
ALLEN E MCVETY JR                              980 JORDAN CIR                                                                                   WHITE BLUFF        TN    37187‐4833
ALLEN E MOORE                                  4877 MAGGIE'S WAY CT                                                                             CLARKSTON          MI    48346‐1975
ALLEN E NEWSOME                                1734 LITTLE ROBINSON CRK                                                                         VIRGIE             KY    41572‐8428
ALLEN E NOLTON                                 4101 EAGLE CT                                                                                    WATERFORD          MI    48329‐1901
ALLEN E OLSON                                  3632 3RD AVE S                                                                                   MINNEAPOLIS        MN    55409‐1322
ALLEN E POPOWICH                               2469 RIDGE RD N E                                                                                VIENNA             OH    44473‐9706
ALLEN E THOMPSON & LOIS J THOMPSON JT TEN      1450 CAROL AVENUE                                                                                PLYMOUTH           MI    48170‐2018
ALLEN E TURNER                                 BUCK RT HC 77 BOX 39                                                                             HINTON             WV    25951‐9606
ALLEN E WILLIAMS & DOROTHY J WILLIAMS JT TEN   39 BINEFAR WAY                                                                                   HOT SPRINGS        AR    71909‐7427

ALLEN E WILLIAMSON                             5715 SOUTHWARD AVE                                                                               WATERFORD          MI    48329‐1566
                                                  09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 105 of 850
Name                                                Address1                              Address2              Address3         Address4          City            State Zip

ALLEN E WINEGARD                                    435 HOURGLASS LANE                                                                             BALDWINSVILLE   NY    13027‐8653
ALLEN EDGAR JOHNSON                                 1101 NORTHWEST NORCROSS WAY                                                                    SEATTLE         WA    98177‐5231
ALLEN ELIASON & MRS SANDY J ELIASON JT TEN          35424 MARODA DRIVE                                                                             CROSSLAKE       MN    56442‐9319
ALLEN F BAILEY                                      PO BOX 371                                                                                     DORR            MI    49323‐0371
ALLEN F CORNELL & DALE CORNELL JT TEN               292 LOWER PINE VALLEY RD                                                                       HOOSICK FALLS   NY    12090‐9801
ALLEN F KIBZEY                                      20117 HERINGBONE                                                                               MACOMB          MI    48044
ALLEN F LUCAS                                       2547 N 9TH ST                                                                                  TERRE HAUTE     IN    47804‐1101
ALLEN F SOVA                                        61190 ROMEO PLANK                                                                              RAY             MI    48096‐2923
ALLEN FOSTER CARTER                                 902 WEST BROW RD                                                                               LOOKOUT         TN    37350‐1022
                                                                                                                                                   MOUNTAIN
ALLEN FULLER                                        3 GROVE ISLE DR #1702                                                                          COCONUT GROVE   FL    33133‐4118
ALLEN G BOHR                                        262 IDLEWOOD RD                                                                                YOUNGSTOWN      OH    44515‐2830
ALLEN G FLETCHER                                    20543 HOLLY CIRCLE                                                                             STRONGVILLE     OH    44136‐5609
ALLEN G GATFIELD                                    487 HOPI COURT                                                                                 PORT ORANGE     FL    32127‐6710
ALLEN G KOCH                                        6761 SCHUMACHER ROAD                                                                           WAUNAKEE        WI    53597
ALLEN G LONG                                        6930 W 200 S                                                                                   HUNTINGTON      IN    46750‐9038
ALLEN GILBERT JONES                                 BOX 69                                                                                         MULBERRY        IN    46058‐0069
ALLEN GLUCK & SHAINDY GLUCK JT TEN                  76 S MADISON AVE                                                                               SPRING VALLEY   NY    10977
ALLEN GORDON CUST ERIK PAUL GORDON UGMA VA          225 BRIDGEVIEW CIR                                                                             CHESAPEAKE      VA    23322‐4013

ALLEN H ANDREWS JR & SHIRLEY G ANDREWS JT TEN       4900 N KNOXVILLE AVE                                                                           PEORIA          IL    61614‐4979

ALLEN H BELKNAP                                     26 CARTER DR                                                                                   FRAMIGHAM       MA    01701‐3003
ALLEN H BLOOM                                       8304 EASTON LANE                                                                               LOUISVILLE      KY    40242‐2518
ALLEN H BULKLEY IV                                  5229 EAST LAKE RD                                                                              ROMULUS         NY    14541‐9731
ALLEN H CAMPBELL                                    10097 WILDWOOD DRIVE                                                                           OTISVILLE       MI    48463‐9710
ALLEN H DUNN                                        15685 BROOK                                                                                    LANSING         MI    48906‐1475
ALLEN H FRY                                         6325 LEWIS RD                         PO BOX 235                                               MIAMIVILLE      OH    45147‐0235
ALLEN H GAMBLE                                      6930 MAIER S W                                                                                 GRANDVILLE      MI    49418‐2144
ALLEN H MALEPORT                                    C/O GERTRUDE WOLF                     6588 COBBLER CT SE                                       CALEDONIA       MI    49316‐9172
ALLEN H MC DOWELL                                   6151 MCCUE RD                                                                                  HOLT            MI    48842‐9658
ALLEN H OKAMOTO                                     728 NORRISTOWN RD #F113                                                                        LOWER GWYNEDD   PA    19002‐2133

ALLEN H PEASE                                       59 JUGGLER MEADOW ROAD                                                                         LEVERETT        MA    01054‐9521
ALLEN H RUSSELL                                     1901 CALADIUM DR                                                                               MARIETTA        GA    30062‐1916
ALLEN H SCOTT                                       415 S CHESTNUT                                                                                 OLATHE          KS    66061‐4403
ALLEN H SOMERS                                      2297 CORNWALL ST                                                                               GERMANTOWN      TN    38138‐4646
ALLEN H VINEY                                       123 E HIGH ST                                                                                  MILTON          WI    53563‐1619
ALLEN H WALKER JR                                   BOX 506                                                                                        HILLSBORO       NC    27278‐0506
ALLEN H WOODS                                       7471 SCHOOL AVE                                                                                BALTIMORE       MD    21222‐3115
ALLEN HABERMAN                                      241 1/2 POLLARD ST                                                                             BATESVILLE      MS    38606‐1616
ALLEN HARLEY EDELIST                                18046 BORIS DRIVE                                                                              ENCINO          CA    91316‐4351
ALLEN HARRIS                                        505 EAST 120 ST                                                                                CLEVELAND       OH    44108‐1845
ALLEN HARVEY DEACON                                 #67                                   38703 N SHERIDAN RD                                      BEACH PARK      IL    60099‐3957
ALLEN HENDERSON                                     8 SHENANDOAH WAY                                                                               PACIFICA        CA    94044‐3861
ALLEN HINMAN                                        1431 ARBOR DR                                                                                  LAKE            MI    48632‐8957
ALLEN HUEBNER                                       32844 FM 1301                                                                                  WEST COLUMBIA   TX    77486‐9534
ALLEN I LOFTSPRING TR ALLEN I LOFTSPRING LIVING     8585 ARBORCREST DR                                                                             CINCINNATI      OH    45236‐1407
TRUST UA 11/04/96
ALLEN J ALBRIGHT                                    7020 KNICKERBOCKER ROAD                                                                        ONTARIO         NY    14519‐9784
ALLEN J ANDERSON                                    1615 CROCKETT HILLS                                                                            BRENTWOOD       TN    37027‐7334
ALLEN J BELLI & MRS LUCILLE BELLI JT TEN            1545 EAGLE RIDGE DRIVE                                                                         ANTIOCH         IL    60002‐8890
ALLEN J BERG & LINDA A BERG JT TEN                  7528 N 50 W                                                                                    LIZTON          IN    46149
ALLEN J BOWERMAN & RUBY E BOWERMAN JT TEN           3141‐E EAST MIMOSA ST                                                                          SPRINGFIELD     MO    65804‐4745

ALLEN J CHINAVARE & GERALDINE J CHINAVARE JT TEN    4732 CRYSTAL DR                                                                                BEULAH          MI    49617‐9490

ALLEN J DIBLER                                      833 WESTWOOD DR                                                                                FENTON          MI    48430‐1465
ALLEN J DIGIROLAMO                                  4 FLEMISH WAY                                                                                  MOUNT HOLLY     NJ    08060‐4500
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 106 of 850
Name                                                 Address1                              Address2             Address3          Address4          City            State Zip

ALLEN J FLACK JR                                     6449 CHARLOTTEVILLE RD                                                                         NEWFANE         NY    14108‐9711
ALLEN J GARLAND                                      7625 HILLSIDE                                                                                  OAKLAND         CA    94605‐2823
ALLEN J GIANNAKOPOULOS                               15867 SW 142ND TE                                                                              MIAMI           FL    33196‐6725
ALLEN J HOLLAND                                      85 KEITH AVE                                                                                   CAMDEN          TN    38320‐6823
ALLEN J HOLLENBECK                                   8063 IMLAY CITY RD                                                                             IMLAY CITY      MI    48444‐9462
ALLEN J JUDAY                                        29050 WILDERNESS TRL                                                                           STURGIS         MI    49091‐8428
ALLEN J KAMRAD                                       8509 SOUTHWIND BAY CIRCLE                                                                      FT MYERS        FL    33908‐6033
ALLEN J LECOMPTE & NORMA L LECOMPTE JT TEN           1715 E SIEBENTHALER                                                                            DAYTON          OH    45414‐5330
ALLEN J LESTERSON                                    27715 SYLVAN AVE                                                                               WARREN          MI    48093‐4941
ALLEN J LEWIS & BARBARA G LEWIS JT TEN               99 WOODSIDE DR                                                                                 MT HOLLY        NJ    08060‐5277
ALLEN J MCCANN                                       PO BOX 1431                                                                                    JANESVILLE      WI    53547‐1431
ALLEN J NATOWITZ                                     1857 W 10TH ST                                                                                 BROOKLYN        NY    11223‐2552
ALLEN J SHERMAN                                      60 W CEDRO DR                                                                                  GEENVALLEY      AZ    85614‐4204
ALLEN J SHERMAN & LAVANNA T SHERMAN JT TEN           60 WEST CEDRO DR                                                                               GREENVALLEY     AZ    85614‐4204
ALLEN J WEESE & LUCINDA A WEESE JT TEN               57 WETWOOD CT                                                                                  HEDGESVILLE     WV    25427‐5658
ALLEN J WILTZ                                        103 VILLAGE COURT                                                                              NATCHITOCHES    LA    71457
ALLEN JACOBSON CUST ELYSSA JACOBSON UGMA NJ          121 GREENE ST                         APT 3                                                    NEW YORK        NY    10012

ALLEN JAMES SHIER JR                                 1209 ROLLING LANE                                                                              JOHNSBURG       IL    60051‐9680
ALLEN JENKINS JR                                     8041 TANAGER COURT                                                                             INDIANAPOLIS    IN    46256‐1776
ALLEN JOEL KAPLAN                                    5410 CONNECTICUT AVE NW                                                                        WASHINGTON      DC    20015‐2859
ALLEN JOHNSON                                        6020 SAMUEL STREET                                                                             LA MESA         CA    91942‐2554
ALLEN JONES                                          1034 E AUSTIN ST                                                                               FLINT           MI    48505‐2218
ALLEN JONES III                                      105 SUNCREST DRIVE                                                                             FLINT           MI    48504‐8101
ALLEN K GRANT                                        3434 PLANTATION DR                                                                             ALBANY          GA    31701
ALLEN K LEE                                          1746 SELMA RD                                                                                  SPRINGFIELD     OH    45505‐4244
ALLEN K NEWMAN                                       21840 WOHLFEIL ST                                                                              TAYLOR          MI    48180‐2849
ALLEN K PRELL & SARAH A PRELL TR UA 11/08/89 PRELL   395 HURST                                                                                      TROY            MI    48098
TRUST
ALLEN K ROBERTS                                      68 MAPLETON RD                                                                                 GROSSE POINTE   MI    48236‐3615
                                                                                                                                                    FARM
ALLEN K WEBB                                         3018 E DUBLIN ST                                                                               GILBERT         AZ    85295‐0406
ALLEN KEN KATAYAMA                                   198 REGENCY DR                                                                                 BARTLETT        IL    60103‐4442
ALLEN KIMBALL & DORIS KIMBALL JT TEN                 823 CEDAR CREST                                                                                ALLEN           TX    75002‐5069
ALLEN KING JR                                        9251 GREENWOOD RD                                                                              GRASS LAKE      MI    49240‐9590
ALLEN KOHN                                           1 CHURCHILL RD                                                                                 PORT CHESTER    NY    10573‐1110
ALLEN KOZLOWSKI                                      9858 NIVER                                                                                     ALLEN PARK      MI    48101‐1349
ALLEN KWASTEL & MRS ARLENE KWASTEL JT TEN            538 E OLIVE ST                                                                                 LONG BEACH      NY    11561‐3724
ALLEN L AHRENS                                       16165 COLONIAL DR                                                                              WILLIAMSBURG    OH    45176‐9762
ALLEN L BUTTS                                        12725 BEDDINGFIELD DR                                                                          CHARLOTTE       NC    28278
ALLEN L CERGOL                                       4612 FOX FIRE TRAIL                                                                            PORTAGE         MI    49024‐8140
ALLEN L CLICK                                        14909 HOLLAND RD                                                                               BROOK PARK      OH    44142‐3067
ALLEN L DAVIDSON                                     2215 ROBINA                                                                                    BERKLEY         MI    48072‐4004
ALLEN L DOWNING                                      522 MUIR ST                                                                                    JANESVILLE      WI    53546‐3109
ALLEN L FLETCHER                                     8316 HILL CREST RD APT A                                                                       KANSAS CITY     MO    64132
ALLEN L GLUNT                                        6912 WILSON STREET                                                                             WEST MIFFLIN    PA    15122‐2756
ALLEN L GRIECO                                       146 PARKMEADOW DR                                                                              PITTSFORD       NY    14534‐2670
ALLEN L GRIFFIN                                      22 OAK STREET                                                                                  EXETER          NH    03833‐1621
ALLEN L HATT                                         9359 BAKER RD                                                                                  JASPER          MI    49248‐9704
ALLEN L HNATIW                                       9111 RIVERSIDE DR                                                                              GRAND LEDGE     MI    48837‐9243
ALLEN L HOLLOWAY                                     218 W POLK ST                                                                                  ALEXANDRIA      IN    46001‐1127
ALLEN L HUBBARD                                      5088 TERRITORIAL RD                                                                            GRAND BLANC     MI    48439‐2047
ALLEN L HUNTER                                       877 ADDISON STREET                                                                             ADRIAN          MI    49221‐2408
ALLEN L IPPOLITO                                     2817 S 10TH AVE                                                                                BROADVIEW       IL    60155‐4827
ALLEN L KAPLAN CUST DAVID KAPLAN UGMA MA             11 SASSAMON RD                                                                                 NATICK          MA    01760
ALLEN L KEIL                                         4134 PAGE ST                                                                                   FRIE            PA    16510‐3570
ALLEN L LUDWICK CUST MEGAN ELIZABETH LUDWICK A       3524 MAYBEL                                                                                    LANSING         MI    48911‐2829
UGMA MI
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 107 of 850
Name                                              Address1                               Address2             Address3          Address4          City                State Zip

ALLEN L LUDWICK CUST SARA DAWN LUDWICK A UGMA 3524 MAYBEL                                                                                         LANSING             MI    48911‐2829
MI
ALLEN L MANN                                  1325 BELL CREEK DR                                                                                  FLINT               MI    48505‐2542
ALLEN L MC KINNEY                             520 FURNACE ST                                                                                      ELYRIA              OH    44035‐3530
ALLEN L MCMASTER                              13882 RIVERWOOD DR                                                                                  STERLING HEIGHTS    MI    48312‐5665

ALLEN L MENOSKY                                   5510 NEWBERRY ROAD                                                                              DURAND              MI    48429‐9131
ALLEN L MOODY                                     17085 SE 93RD YONDEL CIR                                                                        LADY LAKE           FL    32162‐1871
ALLEN L MOODY & REBECCA SUE MOODY JT TEN          17085 SE 93RD YONDEL CIRCLE                                                                     LADY LAKE           FL    32162
ALLEN L NOLFF                                     7404 PONDEROSA DR                                                                               SWARTZ CREEK        MI    48473‐9414
ALLEN L NORTHEY                                   114 ELM                                                                                         CAMBRIDGE           WI    53523‐8907
ALLEN L O'BRIEN & IRENE M O'BRIEN TR O'BRIEN FAM  3 PURDY LANE                                                                                    WALLINGFORD         PA    19086‐6067
TRUST UA 09/03/98
ALLEN L PARRISH                                   3460 RALSTON                                                                                    INDIANAPOLIS        IN    46218‐1053
ALLEN L SMITH                                     1500 ROSEWOOD DR APT G35                                                                        COLUMBIA            TN    38401‐4892
ALLEN L SMITH & RUTH A SMITH TR SMITH JOINT TRUST 2540 CARLETON S ROCKWOOD                                                                        CARLETON            MI    48117‐9237
UA 03/06/97
ALLEN L SMITH SR & MARILYN A SMITH JT TEN         2072 11TH                                                                                       WYANDOTTE           MI    48192‐3810
ALLEN L STEVENS                                   585 OLD STAMFORD ROAD                                                                           NEW CANAAN          CT    06840‐6617
ALLEN L WATSON                                    17195 COUNTY ROAD 222                                                                           CRANE HILL          AL    35053‐3009
ALLEN L WINN                                      20468 STEEL ST                                                                                  DETROIT             MI    48235‐1137
ALLEN LEE GAULER                                  922 TEWA LOOP                                                                                   LOS ALAMOS          NM    87544‐3230
ALLEN LERNER & JOSEPHINE LERNER JT TEN            21 PINE ST                                                                                      DEERFIELD           IL    60015
ALLEN LEWIS LEVY                                  2739 S OAKLAND CIR W                                                                            AURORA              CO    80014
ALLEN LINBERGER                                   10602 BURNSIDE LANDING COURT                                                                    BURKE               VA    22015‐2520
ALLEN LOEHR                                       5389 SHORE DRIVE                                                                                BELLAIRE            MI    49615‐9404
ALLEN M DE BRAAL                                  6717 PLYMOUTH ROAD                                                                              DOWNERS GROVE       IL    60516‐3213
ALLEN M GRIEVE & MRS PANSY L GRIEVE JT TEN        10048 BARBERTON DR                                                                              ST LOUIS            MO    63126‐2303
ALLEN M JONES                                     17 MATTHES AVE                                                                                  WILMINGTON          DE    19804‐1543
ALLEN M KIRKLAND                                  2246 POLAR ROCK AVE                                                                             ATLANTA             GA    30315‐6434
ALLEN M MAIER                                     555 CANTERBURY RD                                                                               BAY VILLAGE         OH    44140‐2409
ALLEN M PRESTON                                   2626 EDISON ST N W                                                                              UNIONTOWN           OH    44685‐8486
ALLEN M SLAYTON JR                                14225 FORRER                                                                                    DETROIT             MI    48227‐2144
ALLEN M SWAN & VERLA J SWAN JT TEN                2275 PANORAMA DR                                                                                SALT LAKE CITY      UT    84124‐2806
ALLEN M WALLACE                                   3051 RIO DOSA DRIVE APT 233                                                                     LEXINGTON           KY    40509
ALLEN M WHITE                                     22937 EBONY AVE                                                                                 BLOOMFIELD          IA    52537‐7335
ALLEN M ZACHAREVICH                               3635 GREEN MEADOW LN                                                                            ORION TWP           MI    48359‐1493
ALLEN MANN & JUNE MANN TR UA 03/21/84 MANN        434 CHAUTAUQUA BLVD                                                                             PACIFIC PALISADES   CA    90272‐4406
FAMILY TRUST
ALLEN MARBERRY                                    5277 PAGE                                                                                       ST LOUIS            MO    63113‐1501
ALLEN MASSIE EARMAN                               4327 LAKE SANTA CLARA DR                                                                        SANTA CLARA         CA    95054‐1331
ALLEN MAYER ABRAMS                                2216 SCHILLER AVE                                                                               WILMETTE            IL    60091‐2328
ALLEN MICHAEL GOWN                                2637 11TH AVE E                                                                                 SEATTLE             WA    98102‐3902
ALLEN MITCHELL CUST DAVID S MITCHELL UGMA IL      2265 WHITE OAK DR                                                                               NORTHBROOK          IL    60062‐6360

ALLEN MIXSON & MRS LILLIAN M CHASE JT TEN         5091 NW 146TH TERRACE                                                                           PORTLAND            OR    97229
ALLEN N BROWN                                     229 W UPSAL ST                         APT 910                                                  PHILADELPHIA        PA    19119‐4009
ALLEN N BROWN                                     7259 MAPLECREST CIR                                                                             SWARTZ CREEK        MI    48473‐1595
ALLEN N HELINE & MRS JEANNETTE M HELINE TEN ENT   517 STEVENS CT                                                                                  SLEEPY HOLLOW       IL    60118‐1822

ALLEN N HOLE                                  1270 SAMUEL ROAD                                                                                    WEST CHESTER        PA    19380‐1066
ALLEN N KNOX & MRS ALLEN N KNOX TEN COM       1742 ATOKA TRL                                                                                      CAMDEN              SC    29020‐9402
ALLEN N MAHOWALD & MRS VIRGINIA A MAHOWALD JT 706 PERSHING AVE N                                                                                  NEW PRAGUE          MN    56071‐2164
TEN
ALLEN N WILLIAMS                              4065 CHURCHILL DOWNS DR                                                                             GAINESVILLE         GA    30507‐9533
ALLEN OREAR CUST JASON MATTHEW OREAR UGMA MI 1272 BROOKLINE DR                                                                                    CANTON              MI    48187‐3236

ALLEN OUELLETTE                                   1216 LOUIS AVENUE                      WINDSOR ON                             N8X 4B9 CANADA
ALLEN P GOTTLER                                   2350 FIX RD                                                                                     GRAND ISLAND        NY    14072‐2544
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 108 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

ALLEN P MUNN                                       4050 W SOUNDVIEW DRIVE                                                                         TACOMA            WA    98466‐1222
ALLEN P WEISS CUST BARRY I WEISS UGMA IL           350 CHURCH ST C                                                                                SAN FRANCISCO     CA    94114‐1757
ALLEN PARKER                                       38284 CAROLON BLVD                    # 15                                                     WESTLAND          MI    48185‐8700
ALLEN PARKER & GEORGIA B PARKER JT TEN             38284 CAROLON BLVD                    # 15                                                     WESTLAND          MI    48185‐8700
ALLEN POINESETT                                    702 HUGHE RD                                                                                   JOHN'S ISLAND     SC    29455‐7920
ALLEN R ANDIS                                      3209 ELWOOD DRIVE                                                                              RACINE            WI    53406‐5217
ALLEN R BARTINE                                    1100 HAVENWOOD LANE                                                                            LAKE FOREST       IL    60045‐3386
ALLEN R BEACH TR UA 06/07/73 ALLEN R BEACH TRUST   1922 SOUTHBRIDGE WAY                                                                           SANDY             UT    84093‐2550

ALLEN R BOWER                                      213 N MAIN STREET                                                                              BRITTON           MI    49229‐9518
ALLEN R BROOKS                                     12761 DEVOE                                                                                    SOUTHGATE         MI    48195‐2367
ALLEN R BROSHEARS                                  1120 ROSNER DR                                                                                 INDIANAPOLIS      IN    46224‐6946
ALLEN R BUSH CUST ALYSON L BUSH UTMA FL            405 HORSEMAN CLUB RD                                                                           PALATKA           FL    32177‐7917
ALLEN R CAMPBELL                                   12105 DALHART DRIVE                                                                            FENTON            MI    48430‐8858
ALLEN R COOK & DIANN D COOK JT TEN                 300 COMANCHE ROAD                                                                              SHELBYVILLE       KY    40065‐1977
ALLEN R CRESSMAN                                   2901 NORTHAMPTON ST                                                                            EASTON            PA    18045‐2557
ALLEN R DAVIDSON                                   20700 HELL HIGH                                                                                ONAWAY            MI    49765
ALLEN R DIXON                                      C/O G DIXON                           2148 ROBIN RD                                            BOWLING GREEN     KY    42101‐3672
ALLEN R DOWNEY                                     30925 BLAKELY RIVER RD                                                                         SPANISH FORT      AL    36527‐3091
ALLEN R EDWARDS                                    1843 OHIO AVE                                                                                  ANDERSON          IN    46016‐2103
ALLEN R FINLEY                                     4303 REVERE CIRCLE                                                                             MARIETTA          GA    30062‐5771
ALLEN R HICKS                                      1640 NORWOOD AVE                                                                               ITASCA            IL    60143‐1002
ALLEN R HURST & GERALDINE HURST JT TEN             466 REVERE RD                                                                                  LANCASTER         PA    17601‐2841
ALLEN R JONES                                      3398 HIWOOD AVENUE                                                                             STOW              OH    44224‐4624
ALLEN R JONES & SHARON A JONES JT TEN              13820 NW 120TH ST                                                                              KEARNEY           MO    64060‐9083
ALLEN R JUMP                                       675 GARNER DR                                                                                  COVINGTON         KY    41015‐2324
ALLEN R KAISER                                     6113 NW HWY 9                                                                                  PARKVILLE         MO    64152‐3546
ALLEN R KIGHT                                      1001 LOOP 236 P O BOX 315                                                                      QUEEN CITY        TX    75572‐0315
ALLEN R MINCE                                      N10458 STATE HWY M64                                                                           MARENISCO         MI    49947‐9726
ALLEN R NYE & SUSAN A NYE JT TEN                   1009 WOODLAWN PARK DR                                                                          FLINT             MI    48503
ALLEN R PETERSEN CUST MARY KATHERINE PETERSEN      8859 NW 67TH CT                                                                                JOHNSTON          IA    50131‐1900
UTMA IA
ALLEN R SANDERS                                    7548 N LINDEN LANE                                                                             PARMA             OH    44130‐5807
ALLEN R SCHNECK                                    36248 WORTHING DRIVE                                                                           NEWARK            CA    94560‐2047
ALLEN R SHAW & CAROLE L SHAW JT TEN                1034 PORT ORANGE WAY                                                                           NAPLES            FL    34120‐2915
ALLEN R SHOAF                                      R2                                                                                             WILLIAMSPORT      IN    47993‐9802
ALLEN R SORGENFREI                                 18600 MARBLE HEAD DR                                                                           NORTHVILLE        MI    48168‐8549
ALLEN R STEFANSKI                                  3200 OAKDALE                                                                                   HICKORY CORNERS   MI    49060‐9318

ALLEN R STEWART                                    6 ELM ST                                                                                       GERMANTOWN        OH    45327‐1205
ALLEN R TACEY SR                                   101 TRINITY LAKE DR                   APT 454                                                  SUNCITY CENTER    FL    33573‐7707
ALLEN R TAVALIERI                                  4180 UNIVERSITY                                                                                DETROIT           MI    48224‐1468
ALLEN R UPTON                                      104 FEILD AVE W                                                                                VENICE            FL    34285‐3832
ALLEN R WADLEY                                     1554 RICHMOND                                                                                  PONTIAC           MI    48340‐1021
ALLEN R WHITE                                      2401 MAROPOSA DRIVE                                                                            TERREHAUTE        IN    47803‐1850
ALLEN R WIRTH                                      13665 W DEXTER TRL                                                                             FOWLER            MI    48835‐9251
ALLEN ROPER                                        PO BOX 404                                                                                     PALOS HTS         IL    60463‐0404
ALLEN RUSCA                                        21 LYNN DRIVE                                                                                  NEPTUNE           NJ    07753‐3211
ALLEN S CHIN                                       4735 HOLLAND DR                                                                                TROY              MI    48098‐7016
ALLEN S COLONNA                                    107 OBERLIN TER                                                                                LANSDALE          PA    19446
ALLEN S HALL                                       3545 SE 29TH CT                                                                                OCALA             FL    34471‐6895
ALLEN S HOFFMAN                                    2631 CHAUCER LN                                                                                RINER             VA    24149‐3301
ALLEN S LINDEMANN                                  1201 DENNISON RD                                                                               DUNDEE            MI    48131‐9609
ALLEN S MATHEWS                                    24 WALNUT ST                                                                                   BLOOMINGDALE      NJ    07403‐1819
ALLEN S NICKLOW                                    16624 MT TRACK RD                                                                              ORANGE            VA    22960‐9547
ALLEN SAYLOR                                       4168 BRUCE DR                                                                                  FAIRFIELD         OH    45014‐5902
ALLEN SCHIPRITT                                    39 SOUTH 2ND ST                                                                                MERIDEN           CT    06451
ALLEN SEYMOUR LEFOHN                               BOX 196                                                                                        CLANCY            MT    59634‐0196
ALLEN SHARENOW                                     2535 RIVIERA DR                                                                                DELRAY BEACH      FL    33445‐1342
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 109 of 850
Name                                               Address1                           Address2             Address3          Address4          City             State Zip

ALLEN STEPHEN PARK                                 37 MAPLE LANE                                                                               BLAIRSTOWN       NJ    07825‐9679
ALLEN SVETEK                                       PO BOX 33                                                                                   STOUTSVILLE      OH    43154‐0123
ALLEN T BARR                                       5697 W BARNES RD                                                                            EATON RAPIDS     MI    48827‐9606
ALLEN T BROKAW                                     1142 PARKWAY AVE                                                                            TRENTON          NJ    08628
ALLEN T COX                                        5437 HOLCOMB                                                                                DETROIT          MI    48213‐3090
ALLEN T FREDERICK                                  819 SOUTH JAHNCKE AVE                                                                       COVINGTON        LA    70433‐3722
ALLEN T GUMBRELL                                   1205 MAYFIELD CT                                                                            ROCKFORD         IL    61107
ALLEN T LIEBERG                                    12050 MONTGOMERY RD APT 340                                                                 CINCINNATI       OH    45249‐2025
ALLEN T MANLEY                                     17116 SPRENGER                                                                              EASTPOINT        MI    48021‐4501
ALLEN T ONEIL                                      10239 PANGBORN AVE                                                                          DOWNEY           CA    90241
ALLEN TALTON                                       39120 ARGONAUT WAY # 775                                                                    FREMONT          CA    94538
ALLEN TALTON                                       PO BOX 7661                                                                                 FREMONT          CA    94537
ALLEN TURNER                                       2242 WINCHESTER LOOP                                                                        DISCOVERY BAY    CA    94514‐1850
ALLEN V CARTER JR                                  3406 ROCKDALE CT                                                                            BALTIMORE        MD    21244‐2935
ALLEN W ADAMS                                      321 E 28TH STREET                                                                           MUNCIE           IN    47302‐5623
ALLEN W BAKER JR                                   230 LARK LANE                                                                               WEST SALEM       WI    54669‐1246
ALLEN W BISHOP                                     120 GUM DR                                                                                  CHRISTIANSBURG   VA    24073‐4510
ALLEN W CALDEIRA                                   12746 LODESTAR DR                                                                           GRASS VALLEY     CA    95949‐9316
ALLEN W DUNN                                       3727 CAMERON AVE                                                                            BLOOMINGTON      IN    47401‐4212
ALLEN W GOMOLL                                     4 JACQUELINE CIRCLE                                                                         RICHBORO         PA    18954
ALLEN W GREGORY                                    41 TOWANA RD                                                                                RICHMOND         VA    23226‐3124
ALLEN W HALL                                       128 COUNTY RD 5591                                                                          POPLAR BLUFF     MO    63901‐7478
ALLEN W HEATHERLY                                  2518 GOTHAM WAY                                                                             VALRICO          FL    33594‐6377
ALLEN W KENDZIORA                                  234 BARBADOS DR                                                                             CHEEKTOWAGA      NY    14227‐2528
ALLEN W LOWRIE                                     416 1/2 E MIDDLE ST                                                                         WILLIAMSTON      MI    48895‐1436
ALLEN W MCBETH                                     4904 VIRGIL                                                                                 FT WORTH         TX    76119‐2162
ALLEN W MCCAHREN                                   3326 HUNTERLS LODGE RD                                                                      MARIETTA         GA    30062
ALLEN W NICKOLAI & EDNA M NICKOLAI JT TEN          22 WHITETAIL CT                                                                             JACKSON          MI    49203‐5174
ALLEN W RIGSBY JR & KATHLEEN C RIGSBY TEN COM      558 MANORWOOD LN                                                                            LOUISVILLE       CO    80027

ALLEN W ROBINSON                                   15931 BROWN SCHOOLHOUSE RD                                                                  HOLLEY           NY    14470‐9711
ALLEN W RYDINSKY & MRS SHERRYL S RYDINSKY JT TEN   12 RIVERSIDE PARK S                                                                         MECHANICVILLE    NY    12118‐2628

ALLEN W SNOW                                       2644 MOHICAN AVE                                                                            KETTERING        OH    45429‐3735
ALLEN W WEHRMEISTER                                3288 VIA MARIN UNIT 50                                                                      LA JOLLA         CA    92037‐2947
ALLEN WATSON                                       2443 KEYWORTH AVE                                                                           BALTIMORE        MD    21215‐7647
ALLEN WINGARD                                      929 TINDALAYA DR                                                                            LANSING          MI    48917‐4128
ALLEN WOODS                                        5626 BROOKFIELD AVENUE             NIAGARA FALLS ON                       L2G 5R1 CANADA
ALLEN Z STEGALL                                    50 RIVERHILL RD LOT 2                                                                       FULTON           MS    38843
ALLENE A FINLEY                                    14384 HESS RD                      PO BOX 333                                               HOLLY            MI    48442‐0333
ALLENE BROWN                                       9610 57TH AVE #10K                                                                          FLUSHING         NY    11368‐3441
ALLENE C REYNOLDS                                  809 HEARD AVE                                                                               MAYBROOK         NY    12543‐1315
ALLENE JONES                                       413 W 3RD ST                       APT 4                                                    FLINT            MI    48503‐2688
ALLENE MUSGRAVE                                    495 KINGWOOD PIKE                                                                           MORGANTOWN       WV    26508‐3963
ALLENE WEIGEL                                      7426 EMI DRIVE                                                                              MIDDLETOWN       OH    45044‐9625
ALLESIA J HUNTER                                   1783 JOHNSON RD NW                 APT 4200                                                 ATLANTA          GA    30318‐8910
ALLEYNIE V HAMMONS EX UW ODIE L HAMMONS            5115 W HEAPS RD                                                                             PYLESVILLE       MD    21132‐1928
ALLI KERYAN                                        207 BAUCOM PARK DR                                                                          GREERS           SC    29650‐2974
ALLI PLEASONTON                                    106 S MANTLE AVE                                                                            ELIZABETHTOWN    KY    42701‐1606
ALLIE DEATON                                       301 E LINDEN AVE                                                                            MIAMISBURG       OH    45342‐2827
ALLIE E CORBIN                                     315 S AURORA ST                                                                             EASTON           MD    21601‐3414
ALLIE F CARTWRIGHT                                 925 YOUNGSTOWN WARREN RD           APT 90                                                   NILES            OH    44446‐4638
ALLIE F NICHOLSON                                  4030 GREEN CORNERS RD                                                                       METAMORA         MI    48455‐9739
ALLIE JOE COHEN                                    6027 COUNTRY CLUB DR                                                                        VICTORIA         TX    77904‐1630
ALLIE JOE COHEN & SUSAN MILLER COHEN JT TEN        PO BOX 1128                                                                                 VICTORIA         TX    77902‐1128
ALLIE L WATSON                                     6184 HARWOOD DR                                                                             MT MORRIS        MI    48458‐2771
ALLIE M CARTER                                     3943 LEBANON ROAD                                                                           MURFREESBORO     TN    37129‐1238
ALLIE M JEFFERSON                                  12121 CORBETT                                                                               DETROIT          MI    48213‐1700
ALLIE M VALLERY                                    CRM 427 BOX 3669                                                                            APO              AE    09630
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 110 of 850
Name                                             Address1                              Address2              Address3         Address4          City               State Zip

ALLIE MCLEOD GILLIS                              3212 DUFFIELD ROAD                                                                             FLUSHING           MI    48433‐9709
ALLIE SCARBERRY                                  10702 OAK LANE APT 14113                                                                       BELLEVILLE         MI    48111‐4709
ALLIE SLAYMEN JR                                 1414 SOM CTR RD                       APT‐306                                                  MAYFIELD HTS       OH    44124‐2105
ALLIE V JENT                                     1244 CAMPBELL                                                                                  NEW CARLISLE       OH    45344‐2836
ALLIE W SIMMONS                                  2484 CRANWOOD DR SW                                                                            WARREN             OH    44485‐3305
ALLIEN W NETTER                                  13770 SHADY LANE                                                                               MONROE             MI    48161‐3818
ALLINE M PURVIS                                  5130 BRITTANY DR S APT 204                                                                     ST PETERSBURG      FL    33715‐1515
ALLINE M PURVIS                                  33 STADIA DRIVE                                                                                FRANKLIN           OH    45005‐1736
ALLINE W BROWN                                   1706 KNUPKE ST                                                                                 SANDUSKY           OH    44870‐4347
ALLIS E SANFORD                                  309 NE GRATTAN ST                                                                              TOPEKA             KS    66616
ALLIS E SANFORD                                  309 NE GRATTAN ST                                                                              TOPEKA             KS    66616
ALLISON A DAVIS                                  2633 CENTURY OAKS LN                                                                           CHARLOTTE          NC    28262‐3164
ALLISON A WILLIAMS                               10066 NE 29TH PL                                                                               BELLEVUE           WA    98004‐1936
ALLISON ANNE STREHL                              PO BOX 4896                                                                                    OAK BROOK          IL    60522‐4896
ALLISON B DE BRUX                                7726 FARR ST                          APT 709                                                  DANIEL ISLAND      SC    29492‐6402
ALLISON B GLIDDEN                                282 CHORRO ST                                                                                  SAN LUIS OBISPO    CA    93405‐2370
ALLISON B OGLESBY                                16815 HUNTINGTON                                                                               DETROIT            MI    48219‐4022
ALLISON BABCOCK                                  PO BOX 965                                                                                     LOCKPORT           NY    14095‐0965
ALLISON C ALLEN                                  10492 WHISPERING OAKS                                                                          NEVADA CITY        CA    95959‐8710
ALLISON C CRAIG                                  PO BOX 2850                                                                                    BRANDON            FL    33509‐2850
ALLISON C SEMMES & MRS MARILYN B SEMMES JT TEN   7104 ARROWOOD RD                                                                               BETHESDA           MD    20817‐2809

ALLISON COTTON CUST SPENCER S COTTON UTMA TX     C/O J WENTZ                           125 COPPERLEAF RD                                        AUSTIN             TX    78734‐3836

ALLISON D DURRANCE                               23353 NW CR 235                                                                                LAKE BUTLER        FL    32054‐3636
ALLISON E CLOSE                                  527 EAST UNIVERSITY #1104                                                                      ROCHESTER          MI    48307‐2181
ALLISON E DESOUSA                                5 BROWNSTONE RD                                                                                EAST GRANBY        CT    06026‐9705
ALLISON E DURECKI & STANLEY P DURECKI JT TEN     38187 BEECHER                                                                                  STERLING HEIGHTS   MI    48312‐1407

ALLISON ELIZABETH KOURY                          71 SIDNEY RD                                                                                   AMMANDALE          NJ    08801‐3612
ALLISON ENGELHART                                5768 HIGH ROCK DR                                                                              WESTERVILLE        OH    43081
ALLISON ENGINE CO PERSONAL SAVINGS TR JAMES W    5538 LIBERTY BLVD PLACE                                                                        INDIANAPOLIS       IN    46220
MURPHY IRA UA 12/26/95
ALLISON GARRETT PULLEN                           ROUTE 1                               3757 BEN VENUE COVE                                      HERNANDO           MS    38632‐9801
ALLISON H GREGORY & JEFFREY W GREGORY JT TEN     880 BUTTONWOOD CIR                                                                             NAPERVILLE         IL    60540‐6351

ALLISON J HOUCK CUST RYE L HOUCK UTMA OR         2612 GRAY OAK LANE S                                                                           SALEM           OR       97302‐9776
ALLISON J SPENCER & PHILLIP A WHITE JT TEN       78 OAKFORD AVE                                                                                 RICHWOOD        WV       26261‐1129
ALLISON K ALTENHOFF                              200 BATH CLUB S BL                                                                             NORTH REDINGTON FL       33708‐1532
                                                                                                                                                BE
ALLISON K BUTLER                                 11560 SHAFTSBURG RD                                                                            LAINGSBURG      MI       48848‐9732
ALLISON KAY MILLER                               120 HEATHERWOOD DR                                                                             ATHENS          GA       30606‐5020
ALLISON L GIBSON                                 16771 CEDAR CORNORS RD                                                                         BRIDGEVILLE     DE       19933‐4145
ALLISON L STITELER                               631 STATE ST                                                                                   OXFORD          MI       48371
ALLISON L ULLMAN & MICHAEL W ULLMAN JT TEN       4666 BOCAIRE BLVD                                                                              BOCA RATON      FL       33487‐1144

ALLISON LAVALAIS                                 453 LINDA VISTA                                                                                PONTIAC            MI    48342‐1745
ALLISON LEE CUST COLLIN E LEE UGMA CA            5317 GRASSWOOD CIRCLE                                                                          CONCORD            CA    94521‐5003
ALLISON LEWIS MAHER                              1618 TREVILIAN WAY                                                                             LOUISVILLE         KY    40205‐2062
ALLISON MARTIN EATON                             2707 SUMMERWIND                                                                                CHAPEL HILL        NC    27516‐5838
ALLISON MARY STRAZZELLA                          937 CHECKERED NW WA                                                                            KENNESAW           GA    30152‐7817
ALLISON MCDAVID LAWTON                           2439 GRAMERCY AVENUE                                                                           TORRANCE           CA    90501‐4445
ALLISON NICOLE ADAMS                             1389 GREEN OAKS DRIVE                                                                          GREENWOOD          CO    80121‐1330
                                                                                                                                                VILLAGE
ALLISON NICOLE BROWN                             1654 IROQUOIS RD                                                                               ROCKLIN            CA    95765‐5435
ALLISON PETRILLO                                 355 DEERHAVEN WAY                                                                              GLENMOORE          PA    19343‐8922
ALLISON R BLANEY                                 20 WHEELER LANE                                                                                NATICK             MA    01760‐1842
ALLISON R POGUE                                  135 BROKEN ARROW TRL                                                                           PETAL              MS    39465‐8953
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 111 of 850
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

ALLISON S KEPSEL                                133 JEFFERSON AVE                                                                               HASBROUCK       NJ    07604‐1211
                                                                                                                                                HEIGHTS
ALLISON S WAGER                                 APT 608                                121 TRUDELLE ST      SCARBOROUGH ON    M1J 3K4 CANADA
ALLISON SANDERS                                 2914 CHESTNUT ST                                                                                TOLEDO           OH   43608‐1906
ALLISON SKLAREW                                 6208 POINDEXTER LANE                                                                            N BETHESDA       MD   20852‐3643
ALLISON TAYLOR                                  2096 TIMBER WAY                                                                                 CORTLAND         OH   44410‐1811
ALLISON TRACY STARK                             ATTN ALLISON STARK MCQUADY             4103 WOODSTONE WAY                                       LOUISVILLE       KY   40241‐5868
ALLISON TURK                                    5490 TENINO AVE                                                                                 BOULDER          CO   80303
ALLISON VINCENT                                 215 WEST GARFIELD STREET                                                                        SEATTLE          WA   98119
ALLISON WILLIAMS                                1711 TAMIAMI TRL N #5                                                                           NOKOMIC          FL   34275‐1442
ALLISTER G MURNER                               P O BOX 757                                                                                     PETOSKEY         MI   49770
ALLON DUCKETT                                   7452 LINWOOD                                                                                    DETROIT          MI   48206
ALLOWAY JOHNSON                                 19622 ALCOY ST                                                                                  DETROIT          MI   48205
ALLYN GAIL ACHESON & JAMES H ACHESON JT TEN     36142 CAPPER                                                                                    CLINTON TOWNSHIP MI   48035‐1424

ALLYN HOUCK                                     1100 EVERGREEN                                                                                  BLYTHEVILLE     AR    72315‐2207
ALLYN J GARAVAGLIA                              7803 W HIAWATHA TRL                                                                             NAUBINWAY       MI    49762
ALLYN J ROCHE & CORREEN ROCHE JT TEN            1404 BEVERLY DR                                                                                 QUAKERTOWN      PA    18951‐6203
ALLYN K BRONK & MRS JUNE E BRONK JT TEN         22126 W 119TH ST                                                                                PLAINFIELD      IL    60544‐9408
ALLYN L BRUCH                                   8901 N COCHRAN RD                                                                               GRAND LEDGE     MI    48837‐9486
ALLYN M SEITZ TR UA 08/22/95                    111 ARDEN LN                                                                                    CHELSEA         MI    48118‐9538
ALLYN M SHEA                                    PO BOX 246                                                                                      SCOTTSVILLE     NY    14546‐0246
ALLYN MEYER & JO ANN MEYER JT TEN               719 36TH ST SE                                                                                  CEDAR RAPIDS    IA    52403‐4315
ALLYN MOORE STATON                              102 ROBERT HUNT DR                                                                              CARRBORO        NC    27510‐4121
ALLYN ROCHE CUST COLE M ROCHE UTMA PA           1404 BEVERLY DR                                                                                 QUAKERTOWN      PA    18951‐6203
ALLYNE C HALSTEAD                               3 BALDWIN PL                                                                                    WESTPORT        CT    06880
ALLYSE NICOLE BURLAND                           5238 ALLISON DR                                                                                 TROY            MI    48098‐3468
ALLYSON B GREENWOOD                             12155 STATE ROUTE 9                                                                             SEDRO WOOLLEY   WA    98284
ALLYSON D SCHUTZ                                1083 MISTY HOLLOW LN                                                                            TARPON SPRINGS  FL    34688‐9226
ALLYSON E COMBS                                 316 CABRILLO ROAD                                                                               ARCADIA         CA    91007‐6241
ALLYSON JENNIFER BAEHR                          5101 N KOLB ROAD                                                                                TUCSON          AZ    85750
ALLYSON L ATKINS                                6440 AXEITOS TER                       UNIT 103                                                 ORLANDO         FL    32835
ALLYSON L DELK                                  531 E MORTON AVE                                                                                PORTERVILLE     CA    93257
ALLYSON M STEED                                 1763 N SEVEN OAKS WAY                                                                           EAGLE           ID    83616‐6619
ALLYSON NICOLE DECKER                           3209 KNIGHT DR                                                                                  BUCHANAN        MI    49107‐9430
ALLYSSA NICOLE SMITH                            142 GRANDVIEW CIR                                                                               ROGERSVILLE     TN    37857‐7024
ALMA A ALBRIGHT                                 129 N 11TH ST                                                                                   ALLENTOWN       PA    18102‐3840
ALMA A BRYANT                                   8260 RUSSELL LANE                                                                               CLEVELAND       OH    44144‐1132
ALMA A EVANS                                    4506 RIVERWOOD CIRCLE                                                                           DECATUR         GA    30035‐2934
ALMA A KARCHER & KIM KARCHER JT TEN             2661 SOUTH COURSE DR BLDG 21           #807                                                     POMPANO BEACH FL      33069‐3988
ALMA B HALL                                     181 HEBARD ST                                                                                   ROCHESTER       NY    14605‐2321
ALMA B HELTON                                   3140 S 27TH ST                         #A                                                       ABILENE         TX    79605‐6220
ALMA B VEAL                                     6606 TULIP LANE                                                                                 MIDDLETOWN      OH    45044‐9796
ALMA B WATSON                                   4921 STONEYVIEW CT                                                                              HUBER HEIGHTS   OH    45424‐2531
ALMA B WILLIAMS                                 6606 TULIP LN                                                                                   MIDDLETOWN AREA OH    45044‐9796
                                                                                                                                                2
ALMA BOWEN CUST MAYA BOWEN UTMA CA              425 WOODBINE WAY                                                                                WINDSOR         CA    95492
ALMA C BIRMINGHAM & LEO V BIRMINGHAM JT TEN     C/O JOHN BIRMINGHAM                    799 WOODLAND AVE                                         OLD TOWN        ME    04468

ALMA C LYONS                                    39 CYPRESS ST                                                                                   FARMINGDALE     NY    11735‐5333
ALMA C NETTLES                                  3455 ANGEL DR                                                                                   SAGINAW         MI    48601‐7202
ALMA CARDENAS                                   984 ALPINE TER 2                                                                                SUNNYDALE       CA    94086‐2459
ALMA CRUTCHER                                   4072 32ND ST                                                                                    DETROIT         MI    48210‐2555
ALMA D THOMAS                                   357 49TH ST APT 8                                                                               OAKLAND         CA    94609‐2263
ALMA E RIPPS                                    19 WEST MYRTLE STREET                                                                           ALEXANDRIA      VA    22301‐2422
ALMA F LEE                                      5222 KATHIE CRT                                                                                 GREENWOOD       IN    46143‐8905
ALMA F WILEY                                    24340 BERKLEY ST                                                                                OAK PARK        MI    48237‐1678
ALMA G KEMP                                     63 CHANDELLE RD                                                                                 BALTIMORE       MD    21220‐3541
ALMA G LONG                                     1010 S GARDEN ST                                                                                FLINT           MI    48503‐4730
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                       Part 1 of 8 Pg 112 of 850
Name                                              Address1                              Address2               Address3         Address4                 City               State Zip

ALMA G M LEGGETT CUST GLENN TIMOTHY LEGGETT       55544 WILBUR RD                                                                                        THREE RIVERS       MI    49093‐8815
UGMA MI
ALMA G THOMPSON TR ALMA G THOMPSON TRUST UA       4918 STONE QUARRY ROAD                                                                                 JOHNSTOWN          OH    43031‐9482
06/16/00
ALMA G WAGNER                                     2832 OXFORD LN                                                                                         FLOWER MOUND       TX    75028‐1580
ALMA H FADDEN                                     50 LAKE BLVD APT 629                                                                                   BUFFALO GROVE      IL    60089‐4369
ALMA H HANNAH                                     411 ASCOT CT                                                                                           KNOXVILLE          TN    37923‐5807
ALMA I SHULTZ                                     1115 HERTIAGE POINT SUITES                                                                             MORGANTOWN         WV    26505‐3064
ALMA J BAKER                                      9845 MEADOW VIEW DR                                                                                    ST LOUIS           MO    63114‐2527
ALMA J CHISHOLM                                   212 SCHAANER ST                                                                                        NORTH PORT         FL    34287
ALMA J HENDERSON                                  618 E DAMON RD                                                                                         FLINT              MI    48505‐3734
ALMA J HENSON                                     191 ORINOCO STREET                                                                                     DAYTON             OH    45431‐2069
ALMA J KOZACK                                     583 ELBRIDGE RD                                                                                        MORRISVILLE        PA    19067‐6811
ALMA J LABADIE                                    31429 ANNAPOLIS STREET                                                                                 WAYNE              MI    48184‐2241
ALMA J LAGNESS & TERRY ANN KINNEY JT TEN          8676 FULMER RD                                                                                         MILLINGTON         MI    48746‐9702
ALMA J REPPUHN                                    13433 FENTON RD                                                                                        FENTON             MI    48430‐1117
ALMA J REPPUHN & DANIEL M REPPUHN JT TEN          13433 FENTON ROAD                                                                                      FENTON             MI    48430‐1117
ALMA J ROUSSEAU & WILLIAM ROUSSEAU JT TEN         8 RICE ST                                                                                              HOPKINTON          MA    01748‐1562
ALMA J STARKS‐BARNETT                             1416 BEAUMONT CIR                                                                                      FLUSHING           MI    48433‐1872
ALMA J STOVER                                     6210 BELVIDERE                                                                                         CLEVELAND          OH    44103‐3817
ALMA J TAYLOR                                     5377 DENNY DR                                                                                          COLLEGE PARK       GA    30349‐5205
ALMA J WILLIAMS                                   448 RICE ST                                                                                            BELLWOOD           IL    60104‐1857
ALMA JEAN GOETZ & ANGUS G GOETZ JR JT TEN         445 CAMBRIDGE WAY                                                                                      BLOOMFIELD HILLS   MI    48304‐3815

ALMA JEAN RODRIGUEZ                                1050 C R 157                                                                                          FREMONT            OH    43420
ALMA JEAN ROSFELDER                                9454 PORTER RD                                                                                        RYLAND HGTS        KY    41015
ALMA K CORRIS                                      316 DEAN ST NE                                                                                        GRAND RAPIDS       MI    49505‐4735
ALMA K MYERS                                       3109 S STATE ROAD 9                                                                                   GREENFIELD         IN    46140‐9277
ALMA L ARCANGELINI                                 15954 BIRCHCROFT DR                                                                                   BROOK PARK         OH    44142‐3735
ALMA L B WRIGLEY                                   236 PROSPECT DR                                                                                       WILMINGTON         DE    19803‐5330
ALMA L BAILEY TOD MICHAEL A BAILEY & JOHN T BAILEY 1040 N MAIN STREET                                                                                    RUSHVILLE          IN    46173‐1255

ALMA L ELLIOTT                                    1176 EAST HOME                                                                                         FLINT              MI    48505‐3010
ALMA L MCCORMICK                                  1050 C R 157                                                                                           FREMONT            OH    43420
ALMA L MOULTON                                    PO BOX 4125                                                                                            IRONTON            OH    45638‐4125
ALMA L POWELL                                     416 INDIAN LAKE NE                                                                                     SPARTA             MI    49345
ALMA LEACHMAN                                     4405 DANNYWOOD ROAD                                                                                    LOUISVILLE         KY    40220‐1207
ALMA LILLIAN HEDBLAD                              3216 MCKITRICK                                                                                         MELVINDALE         MI    48122‐1113
ALMA LODGE NO 523 I‐O‐O‐F                         442 MAIN ST 2ND FLOOR                                                                                  JOHNSTOWN          PA    15901‐1819
ALMA LORENE TINCHER                               PO BOX 19903                                                                                           LOUISVILLE         KY    40259‐0903
ALMA LOUISE FOWLER                                2031 E CONNELL ST                                                                                      BURTON             MI    48529‐1332
ALMA LOUISE MUTCH                                 RR 5                                  CHARLOTTETOWN PE                        C1A 7J8 CANADA
ALMA M BROWN                                      134 ALLENDALE ROAD                                                                                     FOREST HOME        AL    36030
ALMA M CAMPBELL                                   3179 E SHORE DR                                                                                        COLUMBIANVILLE     MI    48505‐1514
ALMA M COOK TR THE ALMA M COOK TRUST UA           2712 COLONY LAKE E DR                                                                                  PLAINFIELD         IN    46168‐7867
05/06/96
ALMA M HOWE                                       19 ARCH ST                                                                                             NORTHFIELD         NH    03276‐1530
ALMA M KELLER                                     2920 W 13TH                                                                                            GRAND ISLAND       NE    68803‐2439
ALMA M MILLER                                     401 FRANK STREET                                                                                       MITHCELL           IN    47446‐1825
ALMA M PARKER                                     56 WEST JUDSON                                                                                         YOUNGSTOWN         OH    44507‐2039
ALMA M PERRY                                      12613 HAMBURG                                                                                          DETROIT            MI    48205‐3303
ALMA M RICE                                       1415 HICKORY RUN DRIVE                                                                                 COLUMBUS           OH    43204‐1518
ALMA M WHEATLEY                                   906 CHEAIRS CIR                                                                                        COLUMBIA           TN    38401‐2214
ALMA MALLER                                       GRAYS LANE HOUSE                      UNIT 205               100 GRAYS LANE                            HAVERFORD          PA    19041‐1753
ALMA MARJORIE JONES                               1224 13TH NW ST                                                                                        CEDAR RAPIDS       IA    52405‐2404
ALMA MASLAN                                       213‐01 75TH AVE                                                                                        BAYSIDE            NY    11364‐3363
ALMA NORTH                                        2 PRIORWAY AVE                        BORROWASH DERBYSHIRE                    DE72 3HW GREAT BRITAIN
ALMA O MARGRAVE                                   247 GLENDOLA ST NW                                                                                     WARREN             OH    44483‐1246
ALMA P JONES                                      1013 CIVIC ST                                                                                          MONROE             LA    71201‐4101
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 113 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

ALMA PETRINI & MARIO A PETRINI JT TEN            14139 WINSTON                                                                                   REDFORD          MI    48239‐2813
ALMA RUTH MCMILLAN                               833 PELICAN BAY DR                                                                              DAYTONA BEACH    FL    32119‐8752
ALMA RUTH SWITZER                                RURAL DELIVERY #2                                                                               KNOX             PA    16232‐9802
ALMA S KERNODLE                                  2003 ELON OSSIPEE RD                                                                            ELON COLLEGE     NC    27244‐7525
ALMA T DIX & CHERYL D PRITCHARD JT TEN           4071 ROCKHILL RD                                                                                MECHANICSVILLE   VA    23111‐6902
ALMA T PRIESTLY & JO ANN C PRIESTLY JT TEN       1452 S ELLSWORTH SP 1289 #2813                                                                  MESA             AZ    85208‐3700
ALMA V CUELLAR                                   4304 TILDEN AVE                                                                                 LAREDO           TX    78041
ALMA V GRUNOW & ROBERT J GRUNOW JT TEN           1246 BAYARD AVE                                                                                 MURFREESBORO     TN    37130‐9542
ALMA W COLES & RACHEAL A KENT JT TEN             707 W HART                                                                                      BAY CITY         MI    48706‐3628
ALMA WASHINGTON                                  5430 GRANDVIEW DR                                                                               INDIANAPOLIS     IN    46228‐1942
ALMA WILLIAMS                                    612 EPPINGTON DR N                                                                              TROTWOOD         OH    45426‐2518
ALMANDO A FRATICELLI                             2615 HERITAGE FARM DRIVE                                                                        WILMINGTON       DE    19808‐3729
ALMARYNE THOMPSON                                # 8 CHIMNEY HOLLOW                                                                              ODESSA           TX    79762‐8005
ALMEDA M YARDIC                                  121 TULIP DRIVE                                                                                 W CARROLLTON     OH    45449‐2043
ALMEDIE K MC KOWN                                42 WEST ST                                                                                      SHELBY           OH    44875‐1150
ALMER J STAPF                                    170 SOUTH COLUMBUS DRIVE                                                                        HAMILTON         OH    45013‐4803
ALMER T GLIDDON TR ALMER T GLIDDON DECL OF       240 SNOW ST                                                                                     SUGAR GROVE      IL    60554‐5204
TRUST 03/05/93
ALMON A ANCEL                                    7381 SUNSET S 75 LANE                                                                           RAPID RIVER      MI    49878‐9592
ALMON O INGALLS & MRS AGATHA M INGALLS JT TEN    4444 W COURT ST                                                                                 FLINT            MI    48532‐4329

ALMON W TAYLOR                                    622 BELMONT DR                                                                                 WATERTOWN        WI    53094
ALMUS FRANKLIN WILLIAMS                           777 PIONEER RD                        TRLR 9                                                   MARQUETTE        MI    49855‐9174
ALMYER J NEIGH                                    213 MAPLE LN                                                                                   CALIFON          NJ    07830‐4015
ALOAH B KINCAID                                   1346 E 26TH STREET                                                                             TULSA            OK    74114‐2734
ALOAH B KINCAID                                   1346 E 26TH STREET                                                                             TULSA            OK    74114‐2734
ALOHA F BOETCHER                                  11904 FOUNTAINVIEW BLVD                                                                        ROMEO            MI    48065‐3839
ALOIS B WILHELMI                                  2768 SLINGER RD                                                                                RICHFIELD        WI    53076‐9620
ALOIS G SCHNEIDER                                 9130 GREENWAY L191                                                                             SAGINAW          MI    48609‐6730
ALOIS HUNKA                                       915 PENN AVE                          APT 813                                                  PITTSBURGH       PA    15222‐3831
ALOIS J SCHULTZ                                   3009 LUELLA LANE                                                                               SPRINGPORT       MI    49284‐9312
ALOIS ROBERT EYSLER CUST DAVID LEE EYSLER UGMA NY 111 LAWRENCE HILL ROAD                                                                         COLD SPRING      NY    11724‐1706
                                                                                                                                                 HARBOR
ALOIS ROTH                                       PO BOX 790                                                                                      GUTTENBERG       IA    52052‐0790
ALOIS W SCHAAR TR UA 12/08/2005 ALOIS W SCHAAR   1875 SPRUCE CREEK BLVD E                                                                        PORT ORANGE      FL    32128
REVOCABLE TRUST
ALOISIUS R STEMPIEN                              2485 CHILDS LAKE RD                                                                             MILFORD          MI    48381‐3020
ALOJZY WOLOSZYNEK                                1830 KEYSTONE ROAD                                                                              PARMA            OH    44134‐3013
ALOK C NIGAM                                     1448 CALLINGTON RIDGE LANE                                                                      VIENNA           VA    22182‐1754
ALOK GUPTA                                       28216 SEAMOUNT DR                                                                               RCH PALOS VRD    CA    90275
ALOMA S MIARS                                    1261 CANDLEWOOD                                                                                 YPSILANTI        MI    48198‐3112
ALON K YU CUST JON MARTIN YU UGMA CA             3681 NORDSTROM LANE                                                                             LAFAYETTE        CA    94549‐3027
ALONA ABBADY                                     9340 NW 17TH ST                                                                                 PLANTATION       FL    33322‐4316
ALONEZAR ROUSER                                  171 S PADDOCK                                                                                   PONTIAC          MI    48342‐3049
ALONSO CABRERA                                   300 BAYVIEW DR #1109                                                                            NO MIAMI BEACH   FL    33160‐4745
ALONSO M RIVERA                                  4141 BURROWS ST                                                                                 SAGINAW          MI    48638
ALONZA M MANNING & ESSIE B MANNING JT TEN        BOX 202                                                                                         FALKLAND         NC    27827‐0202
ALONZA OLIVER                                    3677 BENSON                                                                                     DETROIT          MI    48207‐2424
ALONZIE PITTS                                    1613 LIPPINCOTT                                                                                 FLINT            MI    48503‐5847
ALONZO A CALVILLO                                1273 SUNDOWN LANE                                                                               SAN JOSE         CA    95127‐4047
ALONZO B WILKERSON                               PO BOX 1632                                                                                     OCALA            FL    34478‐1632
ALONZO BORUM                                     1395 COUNTY ROAD 47                                                                             TUSKEGEE         AL    36083‐6002
ALONZO BROWN                                     1533 WALL STREET                                                                                PORT HURON       MI    48060‐5055
ALONZO C MC FARLING                              115 SOUTHMOOR DRIVE                                                                             DENVER           CO    80220‐5957
ALONZO C TWITTY                                  1437 STINER AVE                                                                                 DAYTON           OH    45408‐1813
ALONZO C UNDERWOOD                               62 WINDSOR DR                                                                                   MAUMELLE         AR    72113‐6890
ALONZO CHEERS III                                5353 N DYEWOOD DR                                                                               FLINT            MI    48532‐3322
ALONZO COLLINS                                   PO BOX 1688                                                                                     ROLLA            MO    65402‐1688
ALONZO COOPER JR                                 19927 PREST                                                                                     DETROIT          MI    48235‐1808
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 114 of 850
Name                                            Address1                             Address2              Address3         Address4          City            State Zip

ALONZO DUERSON                                  1018 W 2ND ST                                                                                 DAYTON          OH    45402‐6820
ALONZO DUNLAP                                   10943 S WALLACE ST                                                                            CHICAGO         IL    60628
ALONZO E ADCOCK                                 503 LAKE FOREST PKWY                                                                          LOUISVILLE      KY    40245‐5103
ALONZO E WIGGINS                                23160 PARKLAWN                                                                                OAK PARK        MI    48237‐3639
ALONZO ELSWICK JR                               2543 WOODWAY AVE                                                                              DAYTON          OH    45406‐2153
ALONZO G TATE                                   501 WEST BROADWAY                    PLAZA A #213                                             SAN DIEGO       CA    92101‐3536
ALONZO H KELLY 3RD                              PO BOX 82840                                                                                  COLLEGE         AK    99708‐2840
ALONZO HOHEIMER JR                              522 N RUSH STREET                                                                             FAIRMOUTH       IN    46928‐1355
ALONZO JIMMY RAMIREZ                            PO BOX 277                                                                                    LANDER          WY    82520‐0277
ALONZO KEYT SPENCER JR                          674 ANN PL                                                                                    MILPITAS        CA    95035‐3444
ALONZO LEGGETT                                  417 CAMPBELL ST                                                                               RIVER ROUGE     MI    48218‐1068
ALONZO M CONTRERAS                              8031 TUNNEY AVE                                                                               RESEDA          CA    91335‐1040
ALONZO M CONTRERAS                              8031 TUNNEY AVE                                                                               RESEDA          CA    91335‐1040
ALONZO M HICKS JR & CAROLYN J HICKS JT TEN      2211 SHIVER DR                                                                                ALEXANDRIA      VA    22307‐1638
ALONZO MASON & STACY MASONJT TEN COM            928 OPEQUON AVE                                                                               WINCHESTER      VA    22601
ALONZO ORTIZ                                    585 W GRAND BLVD                                                                              DETROIT         MI    48216‐2200
ALONZO P PARRA                                  1706 BARNABY LK RD                                                                            EUREKA          MT    59917‐9542
ALONZO PARHAM III                               1059 ADA                                                                                      MUSKEGON        MI    49442‐4040
ALONZO PATTON                                   5020 ROCKLAND DRIVE                                                                           DAYTON          OH    45406‐1239
ALONZO PHILLIPS                                 2300 ENON RD SW                                                                               ATLANTA         GA    30331‐7881
ALONZO R STEWART JR                             18438 SUNDERLAND                                                                              DETROIT         MI    48219‐2846
ALONZO R TAYLOR                                 2501 GROVE ROAD                                                                               LIBRARY         PA    15129‐9214
ALONZO RALSTON JR                               5099 W CR 200N                                                                                NEW CASTLE      IN    47362‐9175
ALONZO REED                                     #10 BELLERIVE ACRES                                                                           ST LOUIS        MO    63121‐4321
ALONZO RUEL DRAKE                               15222 SEYMOUR ROAD                                                                            LINDEN          MI    48451‐9774
ALONZO TREVILLISON JR                           10034 SOUTHRIDGE DRIVE                                                                        OKLAHOMA CITY   OK    73159‐7329
ALONZO TYSON                                    8325 BYNUM RD                                                                                 LITTLE ROCK     AR    72210‐4063
ALONZO WHEAT                                    880 LINDH RD                         APT 228                                                  GULFPORT        MS    39507
ALONZO WILLIAMS JR                              24610 KELLY RD                                                                                EASTPOINTE      MI    48021‐1372
ALOSIUS FRANK GRZYBEK & FRANCIS JOHN GRZYBEK JT 1200 EARHART RD                      APT 429                                                  ANN ARBOR       MI    48105
TEN
ALOYISUS EDWARDS                                2514 SW 146TH ST                                                                              NEWBERRY        FL    32669‐4604
ALOYS F ILS                                     ATT HELEN ILS                        1055 OLD DEARING RD                                      ALVATON         KY    42122‐8669
ALOYSIOUS S ANDRZEJEWSKI TR UA 05/03/93         1608 SOUTH KEISEL                                                                             BAY CITY        MI    48706‐5240
ALOYSIOUS S ANDRZEJEWSKI TRUST
ALOYSIUS E HOFFMAN                              5812 BELLE RIVER RD                                                                           CHINA TWP       MI    48054‐3320
ALOYSIUS J DULLINGER                            9120 W BANCROFT                                                                               HOLLAND         OH    43528‐9734
ALOYSIUS J KLOSOWSKI                            2640 22ND ST                                                                                  BAY CITY        MI    48708‐7614
ALOYSIUS J MULLEN JR                            1255 TEAKWOOD LANE                                                                            BRUNSWICK       OH    44212‐2846
ALOYSIUS J ONTKO                                2090 S TECUMSEH BLVD                                                                          LAKESIDE MARB   OH    43440‐2467
ALOYSIUS J TEUBER                               10501 W MILLER ROAD                                                                           SWARTZ CREEK    MI    48473‐8588
ALOYSIUS L BAMERT                               PO BOX 1037                                                                                   LAKE SHERWOOD   MO    63357‐1037
ALOYSIUS M DOPTIS                               819 N SHORE DR                                                                                LEWISVILLE      TX    75077‐6485
ALOYSIUS M SAJDAK                               3253 CANTERBURY DR                                                                            BAY CITY        MI    48706‐2005
ALOYSIUS P CANNON & MRS SYLVIA B CANNON TEN ENT 609 N VINE ST                                                                                 HAZLETON        PA    18201‐4217

ALOYSIUS PARA & JOANNE PARA JT TEN              15179 DRAKE                                                                                   SOUTHGATE       MI    48195‐2605
ALOYSIUS R PESEK                                7848 RICHWOOD DR                                                                              MENTOR ON THE   OH    44060‐2540
                                                                                                                                              LAKE
ALOYSIUS T WEISS                                9659 ROSEDALE                                                                                 ALLEN PARK      MI    48101‐1305
ALPEN PATEL                                     23 PIERSIDE DR                       APT 318                                                  BALTIMORE       MD    21230‐5469
ALPHA B WHITSETT                                3700 SANDY POINT ST                                                                           MILTON          FL    32583
ALPHA D PETTRY                                  10671 REVERE                                                                                  PICKNEY         MI    48169‐9334
ALPHA GAMMA DELTA FOUNDATION                    3905 VINCENNES RD STE 105                                                                     INDIANAPOLIS    IN    46268
ALPHA IOTA CHAPTER OF DELTA KAPPA GAMMA         552 S DIVISION                                                                                WEST POINT      MS    39773‐2912
ALPHA K DE KRAMER TR ALPHA K DE KRAMER LIVING   712 GARFIELD AVE                                                                              S PASADENA      CA    91030‐2807
TRUST UA 02/15/94
ALPHA M MCGRIFF                                 1839 W 5TH ST                                                                                 DAYTON          OH    45417‐2566
ALPHA MCKNIGHT                                  5989 STATE ROAD 58E                                                                           HELTONVILLE     IN    47436‐8698
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 115 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

ALPHA SIGMA ASSOCIATION                           2221 ABINGTON RD                                                                              COLUMBUS          OH    43221‐3113
ALPHA TAU GAMMA INC                               PO BOX 9678                                                                                   NORTH AMHERST     MA    01059‐9678
ALPHEA A RICKMAN                                  752 ALBERTA                                                                                   AUBURN            MI    48057
ALPHEUS T DE LA MARE III                          2453 N CAMINO RELOJ                                                                           GREEN VALLEY      AZ    85614‐4922
ALPHONS S BORKOWSKI & JUDITH A HALL JT TEN        71 SANDY POND RD                                                                              LINCOLN           MA    01773‐2602
ALPHONSE A AUSTIN                                 308 THOMAS ST                                                                                 SCOTTVILLE        MI    49454‐1066
ALPHONSE A RACHILLA & GERALDINE E RACHILLA JT TEN 1491 TIVERTON TRAIL                                                                           ROCHESTER HILLS   MI    48306‐4077

ALPHONSE A VANNESTE TR ALPHONSE A VANNESTE       1087 FAIRWAY DR                                                                                WEIDMAN           MI    48893‐9336
LIVING TRUSTUA 3/26/87
ALPHONSE ACAMPORA & MARY ACAMPORA JT TEN         159 WHITE ST                                                                                   WEST HAVEN        CT    06516‐5421

ALPHONSE B REVARD                                7155 GILLETTE RD                                                                               FLUSHING          MI    48433‐9207
ALPHONSE C KASZA                                 9501 E HIGHLAND RD                    APT 226                                                  HOWELL            MI    48843‐5000
ALPHONSE CARLISI                                 18117 13 MILE RD                                                                               FRASER            MI    48026‐4601
ALPHONSE DERVINIS                                632 BOB WHITE RD                                                                               WAYNE             PA    19087
ALPHONSE E GAPCZYNSKI & JOSEPH C GAPCZYNSKI JT   1532 W THIRD AVE                                                                               ROGERS CITY       MI    49779‐1505
TEN
ALPHONSE J CASTONGUAY JR                         521 SPRING VALLEY DR                                                                           COLUMBIA          TN    38401‐6115
ALPHONSE J HUSS CUST JENNIFER R HUSS UGMA NJ     33 OSWESTRY WAY                                                                                SOMERSET          NJ    08873‐6417

ALPHONSE J KOETH                                 2545 W WALLINGS ROAD                                                                           BROADVIEW         OH    44147‐1050
                                                                                                                                                HEIGHTS
ALPHONSE J KORENKIEWICZ                          4906 FAIR ELMS                                                                                 WESTERN SPRIN     IL    60558‐1711
ALPHONSE J MARCIULIONIS                          PO BOX 395                                                                                     GOODMAN           WI    54125‐0395
ALPHONSE J TEUBER                                241 BARRY RD                                                                                   HASLETT           MI    48840‐9111
ALPHONSE JUERGENSMEYER                           60 LYNN MEADOWS LANE                                                                           FLORISSANT        MO    63033‐5841
ALPHONSE L SAIA                                  137 LIGHTWOOD LN                                                                               ROCHESTER         NY    14606‐3601
ALPHONSE MAZZIO & MARGARET A MAZZIO JT TEN       24A HERITIGE DRIVE                                                                             CHATHAM           NJ    07928‐3217

ALPHONSE PIEKUT & DOLORES A PIEKUT JT TEN        400 BLAIR RD                                                                                   VIENNA            VA    22180‐4105
ALPHONSE S KUPIEC                                210 VERNON RD                                                                                  MORRISVILLE       PA    19067‐4812
ALPHONSE S WEICK                                 5142 ALDERSYDE RD                                                                              OAK FOREST        IL    60452‐4404
ALPHONSE STEPHEN RUCKI                           182 EASTLAND PKWY                                                                              BUFFALO           NY    14225‐3113
ALPHONSE T SOKOLOWSKI & CHRISTINE E SOKOLOWSKI   441 WALL ST                                                                                    MERIDEN           CT    06450‐4457
JT TEN
ALPHONSO ABNEY                                   5009 STONEDALE DR                                                                              SALIDA            CA    95368‐8149
ALPHONSO BLAKE                                   12105 WARWICKSHIRE WAY                                                                         RALEIGH           NC    27613‐6023
ALPHONSO E BROWN III                             22 OLD MILL RD                                                                                 WEST NYACK        NY    10994
ALPHONSO E STEVENS                               12246 WEBB FARM RD                                                                             GREENWOOD         DE    19950‐5107
ALPHONSO FRAZIER                                 4236 BAYLOR ST                                                                                 FT WORTH          TX    76119‐3702
ALPHONSO GIBBS                                   15311 RANCHO CLEMENTE DR                                                                       PARAMOUNT         CA    90723‐4578
ALPHONSO GIBBS & KATHERINE GIBBS JT TEN          15311 RANCHO CLEMENTE DR                                                                       PARAMOUNT         CA    90723‐4578
ALPHONSO HOLMES                                  351 NEWBURGH AVE                                                                               BUFFALO           NY    14215‐3518
ALPHONSO J SCHNEIDER                             6902 BERGENLINE AVE                                                                            GUTTENBERG        NJ    07093‐1808
ALPHONSO L BROWN                                 106 THOMASON BLVD                                                                              GOOSE CREEK       SC    29445‐2944
ALPHONSO L BROWN                                 106 THAMES DR                                                                                  GOOSE CREEK       SC    29445‐7182
ALPHONSO L DONAN                                 725 E RIDGEWAY AVE                                                                             FLINT             MI    48505‐2916
ALPHONSO PERRY & GENEVIEVE PERRY JT TEN          208 N BOUNDARY AVE                                                                             MASSAPEQUA        NY    11758‐1143
ALPHONSO R FOSTER                                1525 BERRYWOOD LN                                                                              FLINT             MI    48507‐5352
ALPHONSO RALPH SMITH                             1590 WILDWOOD TRL                                                                              SALINE            MI    48176‐1653
ALPHONSO RICHARDSON                              1333 RICHARDSON ROAD                                                                           WARRENTON         NC    27589‐8955
ALPHONSO ROBINSON                                2816 TUSCANY CIRCLE                                                                            SHREVEPORT        LA    71106‐8415
ALPHONSO SMITH                                   6047 WOODHAVEN RD                                                                              JACKSON           MS    39206‐2528
ALPHONSO TROTMAN                                 3720 W COLDSPRING LA                                                                           BALTIMORE         MD    21215‐6118
ALPHONSO WILLIAMS                                1000 CLIFFSIDE RUN                                                                             LITHONIA          GA    30058‐6297
ALPHONZO BOWE                                    925 E WELLINGTON                                                                               FLINT             MI    48503‐2713
ALQUIEN OWENS                                    3454 BEWICK                                                                                    DETROIT           MI    48214‐2124
ALSBURY H MC DONALD                              6401 S W 111TH PLACE                                                                           OCALA             FL    34476‐8810
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 116 of 850
Name                                           Address1                              Address2             Address3          Address4          City           State Zip

ALSINE CRAWFORD & GERALD S CRAWFORD JT TEN     6314 JOHNSTON AVE                                                                              STARKE         FL    32091‐9722

ALSON J KLOSSNER                               10600 ALLEGHANY RD                                                                             DORIEN CENTER   NY   14040‐9743
ALSON J WILHELM                                18 LOU DRIVE                                                                                   DEPEW           NY   14043‐4748
ALT REYNOLDS                                   69 DURAND DR                                                                                   ROCHESTER       NY   14622‐1232
ALTA ADELIA PIMM                               6309 WEST ROAD                                                                                 CONEWANGO VLY NY     14726
ALTA B WORRELL                                 1378 LARAMIE DR                                                                                DAYTON          OH   45432‐3146
ALTA BEHARY TOD ALEXANDER BEHARY JR            PO BOX 1694                                                                                    PETERSBURG      AK   99833‐1694
ALTA COLE OWEN & DORIS PRATT JT TEN            BOX 164                                                                                        NEWPORT         ME   04953‐0164
ALTA DOYLE                                     2503 SUE ANN LANE                                                                              FLINT           MI   48507‐3570
ALTA E CORRIGAN                                ATTN GERALD L CORRIGAN                303 HATTON PL                                            GLEN MILLS      PA   19342‐3309
ALTA E FRISK                                   145 VISTA DR                                                                                   SAYRE           PA   18840‐1107
ALTA E WISENBAUGH                              10966 HAVEN DR                                                                                 SEBEWAING       MI   48759‐9765
ALTA GARR CANNON                               274 LAKEVIEW RD                                                                                BYRON           GA   31008‐5906
ALTA J BERRY                                   2963 HILL DRIVE                                                                                TROY            MI   48098‐3715
ALTA J GILLEN                                  914 S JEFFERSON ST                                                                             PILOT POINT     TX   76258‐4320
ALTA J WINN                                    ROUTE 1BOX 48 B                                                                                PADEN           OK   74860‐9739
ALTA JEAN JONES                                26 SUMMIT DR                                                                                   LATHAM          NY   12110‐4116
ALTA L MUENCHO                                 N1759 LAKE SHORE DR                                                                            CAMPBELLSPORT   WI   53010‐3434
ALTA L WAGNER                                  2040 E BOULEVARD                                                                               KOKOMO          IN   46902‐2451
ALTA LANGLEY GAPPENS                           ATTN MARCIA RUHLIG                    467 EAST 625 NORTH                                       SHARPSVILLE     IN   46068‐9056
ALTA M HARDIN                                  927 E MESQUITE AVE                                                                             APACHE JCT      AZ   85219‐7757
ALTA M MADDEN                                  2409 WANDA WAY                                                                                 LEXINGTON       KY   40505‐1919
ALTA M WHITE & BARBARA STEWART JT TEN          40 MEADOW GLEN                                                                                 FAIRPORT        NY   14450
ALTA NOREEN OGILVIE                            220 COOPER ST                         APT 10A                                                  HOT SPRINGS     AR   71913‐3265
ALTA V THOMAS                                  1062 NORTH CORNELL                                                                             FLINT           MI   48505‐1345
ALTA V THOMAS & LYLE R THOMAS JT TEN           1062 N CORNELL AVENUE                                                                          FLINT           MI   48505‐1345
ALTA VIVIAN WATSON                             C/O HELEN HAYWORTH                    506 PALM LANE                                            KOKOMO          IN   46901‐8614
ALTEE PITTMAN                                  1471 LAWNCREST DR NE                                                                           GRAND RAPIDS    MI   49505‐3984
ALTER WEST                                     PO BOX 842                                                                                     HOLLY SPRINGS   MS   38635‐0842
ALTHA GENE CARSON                              6355 LANSDALE ROAD                                                                             FORT WORTH      TX   76116‐1621
ALTHA L FORD                                   984 W 24TH ST                                                                                  BALDWIN         MI   49304
ALTHA P LEROY & GERALD R LEROY JT TEN          15185 W VIA MANANA                                                                             SUN CITY WEST   AZ   85375‐2959
ALTHAMESE P BARNES                             2619 SUMMERWOOD AVE                                                                            TALLAHASSEE     FL   32303
ALTHEA H HEAD                                  1405 ROPER AVE                                                                                 WEST POINT      GA   31833‐1241
ALTHEA HAWKINS BOATWRIGHT                      11900 MIAMI                                                                                    DETROIT         MI   48217‐1663
ALTHEA J DOVE                                  12601 ABBOTTSFORD CI                                                                           FORT WASHINGTON MD   20744‐6401

ALTHEA J LLOYD                                 1058 BROOKFIELD DR                                                                             MEDINA         OH    44256
ALTHEA L HENNINGER                             29338 LYON LN                                                                                  LACOMBE        LA    70445
ALTHEA M DAVIS                                 13928 GLASTONBURY                                                                              DETROIT        MI    48223‐2922
ALTHEA M METZGER TR ALTHEA M METZGER TRUST UA 2259 KASSUBA ROAD                                                                               GAYLORD        MI    49735‐9109
10/29/02
ALTHEA P WHITEHEAD & LINDA L HUNT & GEORGIANNA 7301 FALMOUTH RD                                                                               FALMOUTH       MI    49632‐9790
SEARS JT TEN
ALTHEA R MARTIE                                1001 SEAVIEW AVE                      PO BOX 493                                               BARNEGAT LGT   NJ    08006
ALTHEA S PLATT                                 1271 POND RD                                                                                   SHELBURNE      VT    05482‐7071
ALTHEA SPEAR KAY                               PO BOX 59144                                                                                   RENTON         WA    98058‐2144
ALTHEA Z LATOUR                                1616 DAVID DR                                                                                  METAIRIE       LA    70003‐5022
ALTIA JESSIE JOHNSON                           PO BOX 338                                                                                     CHOWCHILLA     CA    93610‐0338
ALTON A HOLLAND JR                             12975 COVENTRY COURT                                                                           SUMMERDALE     AL    36580‐4240
ALTON A LYNCH JR                               PO BOX 833                                                                                     LLANO          TX    78643‐0833
ALTON B BRYANT & LOIS W BRYANT JT TEN          19 ROBIN LANE                                                                                  SHELTON        CT    06484‐3510
ALTON B SMITH                                  3368 BOOKER RIDGE RD                                                                           MT PLEASANT    TN    38474‐3005
ALTON C TERNASKY                               9444 WADENA WAY                                                                                ELK GROVE      CA    95758
ALTON CURTIS                                   801 LELAND AVE                                                                                 DAYTON         OH    45407‐1309
ALTON D CROW                                   7370 ROBINHOOD LANE                                                                            FT WORTH       TX    76112‐5837
ALTON D HART                                   31 MORGAN ST                                                                                   MOORESVILLE    IN    46158‐1514
ALTON E BRANCH                                 990 FARRIS CR BR RD                                                                            BELVIDERE      TN    37306‐2524
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 117 of 850
Name                                           Address1                             Address2             Address3          Address4          City            State Zip

ALTON E PANGLE                                 42 REYNOLDS WOOD DR                                                                           BREVARD         NC    28712‐7244
ALTON F BOYLE                                  7740 S CHANDLER RD                                                                            ST JOHNS        MI    48879‐8111
ALTON F SAPP                                   7631 BIDWELL RD                                                                               JOELTON         TN    37080‐8620
ALTON F STARNES & SUE STARNES JT TEN           2756 PARK WEST DR                                                                             COOKEVILLE      TN    38501‐5612
ALTON FREE METHODIST CHURCH                    PO BOX 131                                                                                    ALTON           NY    14413‐0131
ALTON G ARGO                                   195 BREWER RD                                                                                 LULA            GA    30554‐4148
ALTON G BRAY                                   1317 WILLOW TREE DR                                                                           WOODSTOCK       GA    30188‐4647
ALTON H BAKER                                  11117 LAUREL RD                                                                               LAUREL          DE    19956‐3565
ALTON H CARLYLE                                2125 COLE RD                                                                                  CARNESVILLE     GA    30521‐4242
ALTON H CRAIG                                  648 DOVIE PL                                                                                  LAWRENCEVILLE   GA    30045‐2854
ALTON HOLLIS                                   17526 WESTMORELAND                                                                            DETROIT         MI    48219‐3549
ALTON J ANDERSON                               50 CRABTREE ROAD                                                                              ROSSVILLE       GA    30741‐5005
ALTON J ANNABLE & MRS NANCY G ANNABLE JT TEN   805 RUBI CT                                                                                   SAN JACINTO     CA    92583‐6804

ALTON J BARRETT                                1343 OXBOW LK RD                                                                              WHITE LAKE      MI    48386‐3849
ALTON J HAYOSTEK                               2037 LAUREL LK DR                                                                             MONTEAGUE       TN    37356‐5022
ALTON J HUNTSMAN                               8703 N CO RD 150 E                                                                            PITTSBORO       IN    46167‐9471
ALTON J SECORD                                 C/O RANDALL SECORD                   3797 JUNIPER ST                                          CLARKSTON       MI    48348‐1440
ALTON L CHANEY                                 412 HALL DR                                                                                   GREENWOOD       IN    46142‐9678
ALTON L MERRELL                                2673 BEAL NW ST                                                                               WARREN          OH    44485‐1205
ALTON L MORELAND & BERNICE MORELAND JT TEN     8301 W CHARLESTON BL 1031W                                                                    LAS VEGAS       NV    89117‐9064

ALTON M SUTTON                                 47 TERRACE PK                                                                                 ROCHESTER       NY    14619‐2416
ALTON O ECKHARDT                               3022 ONEIDA                                                                                   SAN ANTONIO     TX    78230‐3431
ALTON R ANGEL                                  1221 EGO DR                                                                                   CRESTVIEW       FL    32536‐4273
ALTON R HAWKINS                                319 RIDGECREST DR                                                                             W CARROLLTON    OH    45449‐2239
ALTON R HAWKINS                                1924 UPPER RIVER ROAD                                                                         DECATUR         AL    35603‐5922
ALTON R HERALD                                 4531 E KY RT 10                                                                               ALEXANDRIA      KY    41001
ALTON R PAGE                                   PO BOX 564                                                                                    DEARBORN        MI    48121‐0564
ALTON R TUCKER                                 10 CORD 50                                                                                    LEXINGTON       AL    35648
ALTON ROYSTER                                  1812 FLEETWOOD DR                                                                             KILLEEN         TX    76543‐3983
ALTON T SCHUTZA                                4709 ALAMO CT                                                                                 GRAND PRAIRIE   TX    75052‐1704
ALTON T STANFORD                               2611A HOWARD                                                                                  ST LOUIS        MO    63106‐2023
ALTON W LAMM                                   POBOX 982                                                                                     CHARLESTON      WV    25324
ALTON W RAY                                    PO BOX 218                                                                                    CHINA SPRING    TX    76633‐0218
ALTON W SHAFFER                                14788 HOLLEY RD                                                                               ALBION          NY    14411‐9573
ALTOON SUTTON                                  1407 BROADWAY 30TH FLR                                                                        NEW YORK        NY    10018‐2480
ALVA A JACKSON                                 8624 RED MILE TRL                    APT F                                                    FLORENCE        KY    41042‐7365
ALVA B JONES                                   3400 WICKLOW LN                                                                               RICHMOND        VA    23236‐1328
ALVA C RIFFLE                                  7107 CHATHAM RD                                                                               MEDINA          OH    44256‐8539
ALVA E BUTT                                    409 ALEXANDER DR                                                                              DAYTON          OH    45403‐3251
ALVA E DAVIDSON & EVELYN M DAVIDSON JT TEN     402 E PITMAN AVE                                                                              WENTZVILLE      MO    63385‐1742
ALVA E GILLENWATER                             8009 OAKLAND AVE                                                                              KANSAS CITY     KS    66112‐2148
ALVA J BROCK                                   2025 NORTHAIRE LN                                                                             SAINT LOUIS     MO    63138‐1230
ALVA JOE WILLIAMS                              512 BALSAM ST                                                                                 GRANTS          NM    87020‐3310
ALVA K TURNBOUGH                               C/O SHIRLEY TURNBOUGH                205 WEST JEFFERSON                                       POTOSI          MO    63664
ALVA L GREGORY                                 1418 S M‐88                                                                                   BELLAIRE        MI    49615‐9448
ALVA L MELSON & KATHRYN MELSON JT TEN          1202 DEL NORTE                                                                                HOUSTON         TX    77018‐1306
ALVA L PETERS                                  3469 SKYWAY DR                                                                                WILLIAMSTON     MI    48895‐9502
ALVA LEROY WAYMIRE                             6400 W BETHEL AV                                                                              MUNCIE          IN    47304‐8510
ALVA LOUISE JONES                              3835 VANETTE LN                                                                               DALLAS          TX    75216‐6052
ALVA M RATLIFF                                 APT 302                              1951 CHENE COURT                                         DETROIT         MI    48207‐4921
ALVA NELSON DEAN & SHIRLEY DEAN JT TEN         62072‐2 YORKTOWN                                                                              SOUTH LYON      MI    48178‐1714
ALVA R BALLENTINE                              1825 ST JULIAN PLACE                 12‐G                                                     COLUMBIA        SC    29204‐2424
ALVA R EFFRICK                                 3300 NICHOLS RD                                                                               LENNON          MI    48449‐9328
ALVA T LUPTOWSKI                               1101 S FARRAGUT                                                                               BAY CITY        MI    48708‐8011
ALVADA STANLEY                                 8 APACHE CT                                                                                   TIPP            OH    45371‐1501
ALVADORE MC CLOY JR                            ROUTE 1                                                                                       GREENWOOD       WV    26415‐9801
ALVAH C LAMMIMAN                               609 STOCKDALE ST                                                                              FLINT           MI    48503‐5162
                                                09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 118 of 850
Name                                                Address1                               Address2             Address3          Address4          City               State Zip

ALVAH C PHILLIPS JR                                 2619 WOODSIDE DR                                                                                ARLINGTON          TX    76016‐1370
ALVAH E GROUT                                       325 N COOL SPRING ST                   # 102                                                    FAYETTEVILLE       NC    28301‐5137
ALVAH G CRAIG JR                                    3141 CLEAR SPRINGS RD                                                                           SPRING VALLEY      OH    45370‐9735
ALVAIN L MOODY                                      13646 MENDOTA                                                                                   DETROIT            MI    48238‐2241
ALVARO GRANDO                                       1659 CROSSBOW                                                                                   ROCHESTER HILLS    MI    48306
ALVARO HERNANDEZ JR                                 3101 DELTA RIVER DR                                                                             LANSING            MI    48906‐3454
ALVARO MARQUEZ                                      1150 ROXBORO                                                                                    ANAHEIM            CA    92805‐1641
ALVARO RODRIGUEZ                                    869 PRIMROSE PLACE DR                                                                           LAWRENCEVILLE      GA    30044‐7005
ALVE J ERICKSON                                     350 2ND AVE                                                                                     WALTHAM            MA    02451‐1104
ALVENA I RHINEHARDT                                 6270 SEEGER RD                                                                                  CASS CITY          MI    48726‐9672
ALVENA I RHINEHARDT & TROY RHINEHARDT JT TEN        6270 SEEGER ROAD                                                                                CASS CITY          MI    48726‐9672

ALVENIA A CASEY                                     553 WHITEHORNE AVE                                                                              COLUMBUS           OH    43223‐1738
ALVERA E TACINA                                     PO BOX 447                                                                                      QUINNESEC          MI    49876‐0447
ALVERA PETERS                                       5798 NORTH ARGYLE AVE                                                                           GLENDALE           WI    53209‐4346
ALVERDA MARIE BOYER                                 12036 BELANN COURT                                                                              CLIO               MI    48420‐1043
ALVERSON B WILLIAMS & SALLY J WILLIAMS JT TEN       7461 CRYSTAL BLVD                                                                               EL DORADO          CA    95623‐4812

ALVERTA B LUMA                                      7113 MAPLE AVE                                                                                  CASTALIA           OH    44824‐9301
ALVESTER ANDERSON                                   2117 AITKEN AVE                                                                                 FLINT              MI    48503‐5868
ALVESTER DEAN                                       3810 LYON AVE                                                                                   OAKLAND            CA    94601‐3830
ALVIA WILLIAMS                                      PO BOX 46452                                                                                    CLEVELAND          OH    44146‐0452
ALVIE D KILLINGSWORTH                               648 COCHRAN DRIVE                                                                               NORCROSS           GA    30071‐2107
ALVIE D SUTHERLAND                                  10468 WILSON RD                        PO BOX 27                                                MONTROSE           MI    48457‐0027
ALVIE H TAYLOR                                      2565 WOODVILLE PIKE                                                                             GOSHEN             OH    45122‐8500
ALVIN A BEARD                                       116 S KNOWLTON                                                                                  ELSIE              MI    48831‐9764
ALVIN A CARLSON & ROBERTA RUDNESS JT TEN            323 KAWBAWGAM RD                                                                                MARQUETTE          MI    49855‐9574
ALVIN A ELLIS III CUST ALVIN A ELLIS IV UTMA MT     RTE 1 BOX 4840                                                                                  RED LODGE          MT    59068
ALVIN A ELLIS III CUST NICHOLE THEO ELLIS UTMA MT   RTE 1 BOX 4840                                                                                  RED LODGE          MT    59068

ALVIN A MACHONIS & MRS MONICA A MACHONIS JT    980 BROWN RD                                                                                         BRIDGEWATER        NJ    08807‐1259
TEN
ALVIN B ALSTON                                 3214 FRANKTON DR                                                                                     TROY               MI    48083‐5009
ALVIN B GETTEL & ANNA GETTEL JT TEN            170 N 5TH ST                                                                                         HARBOR BEACH       MI    48441‐1137
ALVIN B HAMMOND                                BOX 12705                                                                                            ROANOKE            VA    24027‐2705
ALVIN B SMITH                                  1705 VILLA SOUTH DR                                                                                  DAYTON             OH    45449‐3718
ALVIN BARGE DOROTHY BARGE EROS UW OTIS A BARGE 3747 PEACHTREE RD                           APT 713‐14                                               ATLANTA            GA    30319‐1360
SR FBO ALVIN BARGE JR
ALVIN BETHANY                                  1813 NELSON RD                                                                                       SHERIDAN           MI    48884‐9218
ALVIN C BASSE                                  W 179 S 6659                                RANCH DR                                                 MUSKEGO            WI    53150
ALVIN C BUSSEY                                 1930 BRADY AVE                                                                                       BALTIMORE          MD    21227‐4108
ALVIN C HOCKMUTH                               4705 EAST CATALINA                                                                                   MESA               AZ    85206‐5001
ALVIN C HUNSAKER & BERTHA L HUNSAKER JT TEN    1552 BOXWOOD DR                                                                                      JACKSON            MO    63755‐1004

ALVIN C JOHNSON                                     19080 JEANETTE STREET                                                                           SOUTHFIELD         MI    48075‐1730
ALVIN C KAZARIAN                                    1807 ALDERWOOD COURT                                                                            SAN MATEO          CA    94402‐3910
ALVIN C KLANK                                       35842 MALIBU                                                                                    STERLING HEIGHTS   MI    48312‐4056

ALVIN C KRAUSS & MARGARET E KRAUSS JT TEN           19 CATAWBA ST                                                                                   DUMONT             NJ    07628‐2801
ALVIN C MILLER & DOROTHY J MILLER JT TEN            6651 RIDGEWOOD                                                                                  CLARKSTON          MI    48346‐1026
ALVIN C PENN                                        9175 BRIARWOOD                                                                                  PLYMOUTH           MI    48170‐4703
ALVIN C RICHARDSON                                  7164 N BRAY RD                                                                                  MOUNT MORRIS       MI    48458‐8989
ALVIN C SCHUBERT                                    109 SUNSET AVE                                                                                  SHERWOOD           OH    43556
ALVIN C SUTTON & PATRICIA P SUTTON JT TEN           BOX 572                                                                                         CHATSWORTH         GA    30705‐0572
ALVIN C WILSON                                      6862 FRYING PAN ROAD                                                                            BOULDER            CO    80301‐3605
ALVIN CARTER                                        1338 SUNSET DR                                                                                  SLIDELL            LA    70460‐2518
ALVIN D AUSTIN                                      1444 E OAKLAND AVE                                                                              LANSING            MI    48906‐5557
ALVIN D BJORGE                                      4707 BILLMYER HWY                                                                               BRITTON            MI    49229‐8702
ALVIN D CLEMENS                                     14 LANDIS AVE                                                                                   JEANNETTE          PA    15644‐3014
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                         Part 1 of 8 Pg 119 of 850
Name                                              Address1                                Address2                       Address3   Address4          City            State Zip

ALVIN D GUENTHARDT                                6520 SHEPHERD OAKS ST                                                                               LAKELAND        FL    33811‐3159
ALVIN D LATTEN                                    16150 LASALLE                                                                                       DETROIT         MI    48221‐3113
ALVIN D NORTH                                     C/O MARY O NORTH                        9392 LAKE RAY ROBERTS DAM RD                                AUBREY          TX    76227‐3263
ALVIN D REYNOLDS                                  5004 MT MORRIS RD                                                                                   COLUMBIAVILLE   MI    48421‐8943
ALVIN D REYNOLDS & BETH E REYNOLDS JT TEN         5004 MT MORRIS RD                                                                                   COLUMBIAVILLE   MI    48421‐8943
ALVIN D RIVERA & CAROL S RIVERA JT TEN            10 SEPULVEDA DR                                                                                     PUEBLO          CO    81005‐2924
ALVIN D WALK                                      3021 SHERWOOD                                                                                       SAGINAW         MI    48603‐2058
ALVIN D YATS                                      6242 W STANLEY RD                                                                                   MT MORRIS       MI    48458‐9318
ALVIN DECKER                                      4625 CURDY                                                                                          HOWELL          MI    48843‐9740
ALVIN DIGREGORIO & SAMUEL DIGREGORIO JT TEN       419 HARDING HWY                                                                                     PENNSGROVE      NJ    08069‐2260

ALVIN DOW                                         ATTN P A PRICE                          11348 FIELDING ST                                           DETROIT         MI    48228‐1216
ALVIN E CRISP                                     4655 FOREST TRAIL                                                                                   DOUGLASVILLE    GA    30135‐1715
ALVIN E DURST                                     RR 3 BOX 31                                                                                         STOYSTOWN       PA    15563‐9325
ALVIN E FELMEY                                    213 KING GEORGE DRIVE                                                                               GLEN BURNIE     MD    21061‐4013
ALVIN E HARPER                                    4924 EMERSON                                                                                        ST LOUIS        MO    63120‐2240
ALVIN E HAUGEN                                    RR 3                                                                                                BRODHEAD        WI    53520‐9803
ALVIN E JENKINS                                   3522 ELLERSLIE AVE                                                                                  BALTIMORE       MD    21218‐2931
ALVIN E KYTE                                      RD2                                     BOX 36                                                      WELLSBORO       PA    16901‐9611
ALVIN E LADACH                                    8105 COVERT NE                                                                                      MANCELONA       MI    49659‐9572
ALVIN E MELCHERT                                  8640 W WELDON AVE                                                                                   PHOENIX         AZ    85037‐2742
ALVIN E POSTER                                    3266 BROWN CABIN RD                                                                                 LUZERNE         MI    48636
ALVIN E SCALIN                                    2905 W HOWARD ST                                                                                    CHICAGO         IL    60645‐1229
ALVIN E TAYLOR                                    2134 DRAKE DRIVE                                                                                    XENIA           OH    45385‐3918
ALVIN E VANOY                                     31616 TERRACE DRIVE                                                                                 TAVARES         FL    32778‐4748
ALVIN E WARD & BEVERLY L WARD JT TEN              3583 PINE CREEK DR                                                                                  METAMORA        MI    48455‐9602
ALVIN EDWARD LION                                 3512 BURROWS AVE                                                                                    FAIRFAX         VA    22030‐2902
ALVIN F CZERNIAK                                  1107 CUBA ST                                                                                        TOLEDO          OH    43615‐4313
ALVIN F FIEDLER                                   1010 ALICE STREET                                                                                   NASHVILLE       TN    37218‐2901
ALVIN F KOLPACKE                                  PSC 277                                 PO BOX 184                     APO AP     96549 AUSTRALIA
ALVIN F SANCLEMENTE                               37562 CHARTER OAKS                                                                                  MT CLEMENS      MI    48036‐2422
ALVIN F WALMER                                    4318 N DANDYLION LN                                                                                 EVANSVILLE      WI    53536‐9008
ALVIN F ZICK JR                                   1620 BRAID HILLS DRIVE                                                                              PASADENA        MD    21122‐3521
ALVIN FRANK & ELIZABETH FRANK TR FRANK LIVING     18758 CASTLE RD                                                                                     HOMEWOOD        IL    60430‐4101
TRUST UA 12/11/91
ALVIN FREEMAN                                     509 S HOME ST                                                                                       CORRIGAN        TX    75939‐2625
ALVIN FREEMAN & YESHIA FREEMAN JT TEN             509 S HOME STREET                                                                                   CORRIGAN        TX    75939‐2625
ALVIN FUST                                        687 LOS ARBOLES                                                                                     WALLED LAKE     MI    48390‐2023
ALVIN G CHEVALIER                                 3626 STATE ST RD                                                                                    BAY CITY        MI    48706‐2150
ALVIN G EASTERLING                                711 OAKVIEW                                                                                         SAGINAW         MI    48604‐2126
ALVIN G HOFFMAN                                   21728 LAMBRECHT                                                                                     EAST DETROIT    MI    48021‐2532
ALVIN G HUSSAR                                    595 KENMORE AVE NE                                                                                  WARREN          OH    44483‐5521
ALVIN G MARSHALL & ALICE I MARSHALL JT TEN        401 WHITTIMORE ST                                                                                   WHITTEMORE      MI    48770‐0373
ALVIN G VOELKER JR                                141 GRANT ST                                                                                        LOCKPORT        NY    14094‐5007
ALVIN G WILHELM                                   200 MENDELSSOHN CT                                                                                  COTATI          CA    94931‐5378
ALVIN GILINSKY                                    14B ASHBOURNE DR                                                                                    MONROE          NJ    08831‐4655
                                                                                                                                                      TOWNSHIP
ALVIN GRADY                                       3292 PINGREE                                                                                        DETROIT         MI    48206‐2104
ALVIN GROSS                                       1195 CEDAR BEND RD                                                                                  JACKSON         KY    41339‐9448
ALVIN H FRITSCHLER                                17 COUNTRY CLUB DR                                                                                  ROCHESTER       NY    14618‐3757
ALVIN H MCMILLAN                                  208 EASTERN HTS BLV                                                                                 ELYRIA          OH    44035‐6454
ALVIN H MILLER JR & ALEXANDRA K MILLER JT TEN     3500 ROBIOUS FOREST WAY                                                                             MIDLOTHIAN      VA    23113‐3760

ALVIN H MURRAY & MARY LOU MURRAY JT TEN           1049 ARROWHEAD DRIVE                                                                                BURTON          MI    48509‐1419
ALVIN H ROSENBROCK                                1401 N GARFIELD ROAD                                                                                LINWOOD         MI    48634‐9759
ALVIN H SCHMIDT & MARTHA M SCHMIDT TR SCHMIDT     200 N BREAKER COVE DR                                                                               BAY CITY        MI    48708‐8808
FAM TRUST UA 05/06/97
ALVIN H SINGER                                    PO BOX 2250                                                                                         BAY CITY        MI    48707‐2250
ALVIN H WILSON                                    2744 DELAND                                                                                         WATERFORD       MI    48329‐3418
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 120 of 850
Name                                               Address1                               Address2                Address3       Address4          City              State Zip

ALVIN HAMBRICK JR                                  8120 BRIDGEWAY CIR APT 1A                                                                       FORT WAYNE        IN    46816‐2318
ALVIN HOLLIDAY                                     4301 E MINNESOTA ST                                                                             INDIANAPOLIS      IN    46203‐3446
ALVIN I GREEN                                      1525 HOLLY HILL ROAD                                                                            GERMANTOWN        TN    38138‐1810
ALVIN J AUBRY JR & YVONNE A CLARK JT TEN           COTTONWOOD MEDICAL & DENTAL CENTER     4301 N MACARTHUR BLVD   #203                             IRVING            TX    75038
ALVIN J BEARD                                      351 HOLFORD                                                                                     RIVER ROUGE       MI    48218‐1151
ALVIN J BOONE                                      5716 MONTERREY DR                                                                               FT WORTH          TX    76112‐3902
ALVIN J BRAINERD JR                                5451 LITCHFIELD DR                                                                              FLINT             MI    48532‐4040
ALVIN J COLLINS                                    12280 SHAFFER RD                                                                                DAVISBURG         MI    48350‐3738
ALVIN J CRITTENDEN                                 8326 M‐25                                                                                       AKRON             MI    48701‐9774
ALVIN J EPPLING & ALVINA L EPPLING JT TEN          2815 CARL T JONES DRIVE SE             APT 166                                                  HUNTSVILLE        AL    35802‐4911
ALVIN J GROVES                                     2428 LEONA DRIVE                                                                                GREEN BAY         WI    54313
ALVIN J HEMMERT                                    352 WILSHIRE DRIVE                                                                              BLOOMFIELD HL     MI    48302‐1064
ALVIN J HUBER & RITA E HUBER JT TEN                5738 E 61ST PLACE                                                                               TULSA             OK    74136‐2707
ALVIN J KAHN MD PC PROF SHAR PLAN U‐A DTD 8/1/72   37‐44 90TH ST                                                                                   JACKSON HEIGHTS   NY    11372‐7830

ALVIN J KLOECKNER                                  11111 WRIGHT RD                                                                                 EAGLE             MI    48822‐9738
ALVIN J KLUCZYNSKI                                 2335 BROOKRIDGE DR                                                                              TOLEDO            OH    43613‐1503
ALVIN J MOZDZEN                                    7116 WICKERT RD                                                                                 HALE              MI    48739‐9506
ALVIN J NOTERMAN TR ALVIN J NOTERMAN TRUST UA      3800 CLOVERLEAF DR                                                                              BOULDER           CO    80304‐1521
02/07/97
ALVIN J SCHULTE & SCOTT MICHAEL SCHULTE JT TEN     833 WALTON NICHOLSON PIKE                                                                       WALTON            KY    41094‐8791

ALVIN J SEDINGER                                   1609 PINE ST                                                                                    GREENSBURG       PA     15601‐5443
ALVIN J TUCK IV                                    PO BOX 215                                                                                      BROOKFIELD       CT     06804‐0215
ALVIN J VAUGHAN                                    4224 GOLDIE ST                                                                                  JACKSONVILLE     FL     32207‐6827
ALVIN J VENTURA                                    35047 PERRY ROAD                                                                                UNION CITY       CA     94587‐5265
ALVIN J VIEAU                                      93 EARTH AVE                                                                                    CHEBOYGAN        MI     49721‐8669
ALVIN J WILSON                                     7280 S ROLAND BLVD                                                                              ST LOUIS         MO     63121‐2619
ALVIN J YORK                                       11621 HWY 3                                                                                     BARNWELL         SC     29812‐9801
ALVIN JACKSON                                      PO BOX 1164                            371 E VAN WAGONER                                        FLINT            MI     48505
ALVIN K KEESEE                                     7000 ST BERNARD                                                                                 OKLAHOMA CITY    OK     73141‐9042
ALVIN KAPLAN                                       18 WOODCREST DR                                                                                 ARMONK           NY     10504‐2902
ALVIN KIEVAL                                       7112 GULF BREEZE CIR                                                                            HUDSON           FL     34667‐6805
ALVIN KLING                                        1430 CANDLEWICK DRIVE                                                                           CINCINNATI       OH     45231‐2460
ALVIN KRAUSS                                       19 CATAWBA ST                                                                                   DUMONT           NJ     07628‐2801
ALVIN L ALIFF                                      232 WEST SHADBOLT                                                                               LAKE ORION       MI     48362‐3069
ALVIN L ANDREWS                                    2876 E BOMBAY RD                                                                                MIDLAND          MI     48642‐7381
ALVIN L BENJAMIN                                   11 BAYLEAF POINT                                                                                FORT STEWART     GA     31314
ALVIN L BIGGS                                      26288 SHEAHAN                                                                                   DEARBORN HEIGHTS MI     48127‐4118

ALVIN L EDWARDS TR EDWARDS FAMILY TRUST UA         12875 CIMARRON WAY                                                                              VICTORVILLE       CA    92392‐8061
01/09/03
ALVIN L ERICKSON                                   PO BOX 912                                                                                      AU GRES           MI    48703‐0912
ALVIN L EVANS                                      4070 TIPP COWLESVILLE ROAD                                                                      TIPP CITY         OH    45371‐3039
ALVIN L FERGUSON                                   8322 BROKEN TIMBER WAY                                                                          HOUSTON           TX    77095
ALVIN L FISHMAN                                    2310 FILBERT STREET                                                                             SAN FRANCISCO     CA    94123‐3314
ALVIN L GARNER JR                                  16142 FAIRFIELD                                                                                 DETROIT           MI    48221‐3004
ALVIN L GIROIR & FRANKIE D GIROIR TEN COM          26281 LEE ELLIS RD                                                                              DENHAM SPRINGS    LA    70726‐5808

ALVIN L HALL                                       4015 HWY 30                                                                                     LONEDELL          MO    63060‐1214
ALVIN L JACKSON                                    1700 ACE PL                                                                                     DAYTON            OH    45408‐2304
ALVIN L JONES                                      1836 OLT RD                                                                                     DAYTON            OH    45418‐1742
ALVIN L KINNEBREW                                  2675 COLD SPRING TRAIL                                                                          MARIETTA          GA    30064‐4461
ALVIN L LOUGH                                      5751 REMDON BLOODWORTH RD                                                                       FORT WORTH        TX    76140‐9616
ALVIN L MILSTED                                    19 EUCLID AVE                                                                                   PITMAN            NJ    08071‐2422
ALVIN L MYERS & ARLENE F MYERS JT TEN              209 W SICKLES ST                                                                                ST JOHNS          MI    48879‐2164
ALVIN L PRINCE                                     3505 BROPHY RD                                                                                  HOWELL            MI    48843‐9744
ALVIN L ROCKHEY                                    2022 LAUREL DRIVE                                                                               TROY              MI    48085‐3821
ALVIN L ROSS JR                                    1114 BROOKE HOLLOW LANE                                                                         COVINGTON         LA    70433‐2300
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 121 of 850
Name                                           Address1                              Address2             Address3          Address4          City               State Zip

ALVIN L ROSSER                                 4463 CATALINA CR S W                                                                           EAST POINT         GA    30344‐6510
ALVIN L SHAZIER                                4422 PHILIP ST                                                                                 DETROIT            MI    48215‐2327
ALVIN L SMITH                                  2816 MERIDIAN ST                                                                               ANDERSON           IN    46016‐5258
ALVIN L TOM & MERRI TOM JT TEN                 11958 KONTIKI DR                                                                               STERLING HEIGHTS   MI    48312‐3030

ALVIN L VALENTINE JR                           1028 LOGAN ST                                                                                  MADISON            IL    62060‐1006
ALVIN L VICKERY                                104 P O BOX 972                                                                                CROWLEY            TX    76036‐0972
ALVIN L YARCH                                  1487 S HOME ROAD ROUTE 8                                                                       MANSFIELD          OH    44904‐9551
ALVIN LEVINE & HARRIET LEVINE JT TEN           16‐83 212TH ST                                                                                 BAYSIDE            NY    11360‐1526
ALVIN LEWIS                                    PO BOX 2262                                                                                    POMONA             CA    91769‐2262
ALVIN M GUTHRIE                                1114 GOULD ROAD                                                                                LANSING            MI    48917‐1757
ALVIN M JEFFERSON                              7698 PLUMARIA DR                                                                               FONTANA            CA    92336‐1658
ALVIN M MERRENBLUM                             7023 TOBY DR                                                                                   MT WASHINGTON      MD    21209‐1567
ALVIN M PARKER                                 48 NORMAN STREET                                                                               BUFFALO            NY    14210‐2319
ALVIN M SCOTT                                  5136 LIBERTY RD                                                                                GREENSBORO         NC    27406‐9749
ALVIN MACK                                     1508 12TH PL                          PHOENIX CITY                                             PHENIX CITY        AL    36867
ALVIN MARELLI                                  117 ROOSEVELT AVE                                                                              PORT JEFFERSON     NY    11777‐2046
ALVIN MCKEE                                    460 SUMMERWIND DR                                                                              CROSSVILLE         TN    38571‐3693
ALVIN MICHEL & LAURIE MICHEL JT TEN            115 WILLOW DR                                                                                  OLD TAPPAN         NJ    07675‐6833
ALVIN N BARNETT                                2507 CARMEL BLVD                                                                               ZION               IL    60099‐3043
ALVIN N FREED                                  2144 TITUS AVENUE                                                                              ROCHESTER          NY    14622‐1833
ALVIN N STANDARD                               6195 MALLARD CT                                                                                CLARKSTON          MI    48346‐2295
ALVIN NAPIER                                   2188‐C CORINNE COURT SOUTH                                                                     ST PETERSBURG      FL    33712
ALVIN NEIDERMEYER                              BOX 496 BENWOOD HILL RD                                                                        BENWOOD            WV    26031
ALVIN NELSON                                   18890 MOENART                                                                                  DETROIT            MI    48234‐2352
ALVIN O WILSON SR                              1515 EAST TENESEE                                                                              SAGINAW            MI    48601
ALVIN ODELL                                    755 CRALL RD                                                                                   MANSFIELD          OH    44903‐9519
ALVIN P ANDERSON                               329 PALMER DR                                                                                  BOWLING GREEN      KY    42101‐9127
ALVIN PATTERSON                                PO BOX 395                                                                                     SCOTTSVILLE        TX    75688‐0395
ALVIN PENN                                     PO BOX 236                                                                                     FRISCO             TX    75034‐0004
ALVIN PHELAN                                   45301 LINDSEY DRIVE                                                                            BELLEVILLE         MI    48111‐5342
ALVIN PITTS                                    PO BOX 653                                                                                     IRVINE             KY    40336‐0653
ALVIN POPIEL & MRS FAYE E POPIEL JT TEN        3479 GREENWAY RD                                                                               GRAND ISLAND       NY    14072‐1016
ALVIN R ERVIN                                  9110 BELVOIR WOODS PKWY               APT 303                                                  FORT BELVOIR       VA    22060‐2718
ALVIN R GOULD & RUTH N GOULD JT TEN            8464 W MERCER WAY                                                                              MERCER ISLAND      WA    98040‐5633
ALVIN R HUTCHINS C/O                           2188 TITUS RD NW                                                                               RAPID CITY         MI    49676‐9539
ALVIN R MOORE                                  3900 BRIMSTONE SCHOOL HOUSE                                                                    MOSS               TN    38575
ALVIN R NIX                                    270 BENT RIDGE DR N                                                                            DAWSONVILLE        GA    30534‐3324
ALVIN R PRICE                                  15576 SO HIGHWAY 68                                                                            ST JAMES           MO    65559‐6119
ALVIN R SEABOLT                                PO BOX 283                                                                                     MURRAYVILLE        GA    30564‐0283
ALVIN R SINCLAIR                               1150 8TH AVE SW                       APT 2411                                                 LARGO              FL    33770‐3142
ALVIN ROBERT STUCKO                            6539 N PONCHARTRAIN BLVD                                                                       CHICAGO            IL    60646‐2724
ALVIN ROSS                                     12119 ROSELAWN                                                                                 DETROIT            MI    48204‐5419
ALVIN RUBEN                                    3175 NW 84TH WAY                                                                               SUNRISE            FL    33351‐8951
ALVIN RUCKER                                   6919 AROEE WAY                                                                                 SAINT LOUIS        MO    63130‐1949
ALVIN S HALLEY                                 3325 EMERALD PARK DR                                                                           MILFORD            MI    48380‐3352
ALVIN S MUNDEL & SHIRLEY K MUNDEL TEN ENT      350 N SARATOGA DR                                                                              UNIONTOWN          PA    15401‐5644
ALVIN S STRANE                                 45 WESLEY DR                                                                                   SHELTON            CT    06484‐5236
ALVIN S VOGEL                                  3 RUTLEDGE RD                                                                                  SCARSDALE          NY    10583‐6713
ALVIN SCHAEFER & MURIEL SCHAEFER JT TEN        302 LYDIA LANE                                                                                 BUFFALO            NY    14225‐5233
ALVIN SCHARF & MRS EVELYN SCHARF JT TEN        206 NORTH ROAD                                                                                 CHESTER TWNSHP     NJ    07930‐2324

ALVIN SILVERMAN & MRS FAY SILVERMAN JT TEN     5055 OAK HILL LN APT 212                                                                       DELRAY BEACH       FL    33484‐8309
ALVIN SOOHOO                                   5845 LALOR DR                                                                                  SAN JOSE           CA    95123‐3928
ALVIN STANCHOS JR & MALLIE STANCHOS JT TEN     543 WEST SEVENTH STREET                                                                        YORKTOWN           TX    78164‐5014
ALVIN STAR & PAULA STAR JT TEN                 209 GLEN RD                                                                                    WOODCLIFF LAKE     NJ    07677‐7830
ALVIN STEPHEN REEDER                           311 HANCOCK ST                                                                                 HENDERSON          KY    42420‐3913
ALVIN T AMARAL JR                              5331 BELFERN DR                                                                                BELLINGHAM         WA    98226‐9003
ALVIN T ANDERSON                               30 DE FORD DRIVE                                                                               SAN RAFAEL         CA    94903‐3216
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 122 of 850
Name                                              Address1                             Address2                Address3       Address4          City               State Zip

ALVIN T DAVIS                                  1185 BLOOD ROAD                                                                                  COWLESVILLE        NY    14037‐9740
ALVIN T GESFORD                                1352 FRIZZELL LN NW                                                                              PT CHARLOTTE       FL    33948‐2034
ALVIN T MORIKAWA & MRS CAROL S MORIKAWA JT TEN 5117 KEIKILANI CIRCLE                                                                            HONOLULU           HI    96821

ALVIN T NUNES                                  4713 BALBOA WAY                                                                                  FREMONT            CA    94536‐5614
ALVIN T REYNOLDS                               54501 CR 657                                                                                     PAW PAW            MI    49079‐8614
ALVIN TOPOL                                    500 E 85 ST #20‐C                                                                                NEW YORK           NY    10028‐7456
ALVIN V KOLLMANN & MRS JACQUELIN D KOLLMANN JT 100 WINDRIDGE                                                                                    COLLINSVILLE       IL    62234‐4737
TEN
ALVIN V WHITE                                  414 S HAMILTON                                                                                   YPSILANTI          MI    48197‐5476
ALVIN VANDERWOUDE                              12851 SPRUCE AVE                                                                                 GRANT              MI    49327‐8707
ALVIN VICTOR CONNER JR                         45 HIGHGATE AVE                                                                                  BUFFALO            NY    14214‐1408
ALVIN W ALLEN JR                               7321 RED OAK ST                                                                                  N RICHLAND HILLS   TX    76180‐3457

ALVIN W BARLOW & EVELYN J BARLOW JT TEN           5197 WESLEY RD                                                                                SALT LAKE CITY     UT    84117‐6625
ALVIN W BELFORD & SHIRLEY JANE BELFORD JT TEN     2409 SYLVAN DR                                                                                GARLAND            TX    75040‐3364

ALVIN W BERGER CUST ANGELA M BERGER UGMA IN       6158 CLOVERDALE DR                                                                            GREENTOWN          IN    46936‐9708

ALVIN W BROWN & SUSAN K BROWN JT TEN              ROBANS CROSSROADS                    PO BOX 982                                               LUGOFF             SC    29078‐0982
ALVIN W GLASER & ALICE S GLASER JT TEN            1724 PINE VALLEY DR                  APT 116                                                  FORT MYERS         FL    33907
ALVIN W GOLDEN                                    9775 JUDD RD                                                                                  WILLIS             MI    48191‐9758
ALVIN W HUNT                                      PO BOX 110                                                                                    ROGERS CITY        MI    49779‐0110
ALVIN W LADD & NORMA B LADD TR UA F‐B‐O LADD      27003 WOODBROOK RD                                                                            RANCHO PALOS       CA    90275‐2233
TRUST 02/09/88                                                                                                                                  VERDE
ALVIN WOODRUFF                                    629 NAPOLEON RD                                                                               MICHIGAN CTR       MI    49254‐1346
ALVIN ZELSMAN                                     APT 818                              333 CLARK AVENUE WEST   THORNHILL ON   L4J 7K4 CANADA
ALVINA BAIRD & MARY EILEEN GUILDAY JT TEN         10 PARK AVE                                                                                   MOUNT AIRY         MD    21771‐5438
ALVINA BLAIR & THOMAS C BASNER JT TEN             309 N FAYETTE                                                                                 SAGINAW            MI    48602‐4212
ALVINA M YUHASZ TR ALVINA M YUHASZ TRUST UA       234 CRESTLINE DR                                                                              LOWELL             IN    46356‐2118
06/20/97
ALVINO CORTEZ & ELIZABETH A CORTEZ JT TEN         9 KENSINGTON CT                                                                               ROSWELL            NM    88201‐3493
ALVINO G JIMENEZ                                  713 GLENOAKS                                                                                  SAN FERNANDO       CA    91340‐1431
ALVIRA E PHANEUF                                  203 WINDSOR DR                                                                                PORT ORANGE        FL    32119‐7490
ALVIS B BEARD                                     318 LAFAYETTE AVE                    VILLA HEIGHTS                                            MARTINSVILLE       VA    24112‐1031
ALVIS D MORRIS                                    1071 COUNTY ROAD 1246                                                                         CULLMAN            AL    35057‐6704
ALVIS M BROWN                                     1225 RED LION RD                                                                              BEAR               DE    19701‐1820
ALVIS M WOODS                                     17345 PREVOST                                                                                 DETROIT            MI    48235‐3554
ALVIS MATLOCK                                     12309 SAINT JOHN AVE                                                                          CLEVELAND          OH    44111‐5141
ALVIS R SALMONS                                   2524‐23RD STREET                                                                              CUYAHOGA FALL      OH    44223‐1610
ALVIS T LEMONDS                                   3037 CANNON                                                                                   CAPE GIRARDEAU     MO    63701‐2679
ALWIDA KAMINSKI                                   36814 ELMER DR                                                                                OCEAN VIEW         DE    19970
ALWIN F MEYER                                     18623 N PALOMAR DR                                                                            SUN CITY WEST      AZ    85375‐4721
ALWIN POGUE                                       16083 BROWN SCHOOLHOUSE RD                                                                    HOLLEY             NY    14470‐9712
ALWIN S MILIAN JR                                 827 SUNSET COVE DR                                                                            WINTER HAVEN       FL    33880‐1783
ALWYN KEENEY                                      2499 HEROLD RD                                                                                BATAVIA            OH    45103‐2101
ALYCE ANDERSON                                    BRYAN ROAD                                                                                    MILAN              OH    44846
ALYCE ANN NEWMAN                                  1137 OLD WILMINGTON RD                                                                        HOCKESSIN          DE    19707‐9653
ALYCE BURDEN TOD KIMBERLY C BURDEN                40840 41ST ST W                                                                               PALMDALE           CA    93551‐1249
ALYCE C JANSSEN                                   149 PROSPECT AVENUE                                                                           MERCHANTVILLE      NJ    08109‐2628
ALYCE C PANZARINO                                 2158 BAYOU GRANDE NE BL                                                                       SAINT PETERSBURG   FL    33703‐3440

ALYCE DRAXLER EX EST WILLIAM E DEXTER             114 MEIGS LANE                                                                                MOORESVILLE        NC    28117
ALYCE E SHAPIRO CUST STEVEN P SHAPIRO UGMA MA     96 WILD GROVE LANE                                                                            LONGMEADOW         MA    01106‐2150

ALYCE F DANIELSON                                 876 POLING DRIVE                                                                              COLUMBUS           OH    43224‐1956
ALYCE F PRESTON & BERDIA P PRESTON JT TEN         8691 MTN BLVD                                                                                 OAKLAND            CA    94605‐4545
ALYCE H IHNAT                                     117 W 6TH ST                                                                                  PORT CLINTON       OH    43452‐2301
ALYCE J WILEY                                     53 WATROUS RD                                                                                 BOLTON             CT    06043
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 123 of 850
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

ALYCE JEAN DUFFUS                                3001 PELONE DRIVE                                                                                VERONA             PA    15147
ALYCE L KRELL TR UA 07/12/91 THE ALYCE L KRELL   7527 E RANCHO VISTA DR                                                                           SCOTTSDALE         AZ    85251‐1560
LIVING TRUST
ALYCE M MITCHELL                                 2654 COTTAGE CIRCLE                                                                              RALEIGH            NC    27613‐3607
ALYCE M VAUGHN                                   1390 16TH AVE                                                                                    SAN FRANCISCO      CA    94122‐2012
ALYCE MAE HALL                                   779 N BROAD ST EXT                                                                               GROVE CITY         PA    16127‐4615
ALYCE MARIE BLUMENSTOCK                          2656 WEST ALEX BELL PIKE                APT 231                                                  DAYTON             OH    45459
ALYCE PALAMENTI                                  36‐05 HILLSIDE TERRACE                                                                           FAIR LAWN          NJ    07410‐4233
ALYCE R B ZYNDA                                  2898 OAKHAVEN CT                                                                                 MIDLAND            MI    48642‐7869
ALYCE R JORDAN                                   114 MEIGS LANE                                                                                   MOORESVILLE        NC    28117‐8482
ALYCE S OHMAN                                    223 W BRISTOL AVE                                                                                SPOKANE            WA    99224‐8563
ALYCE SCHLOSS BUTNER                             3415 KNOLLWOOD DRIVE NW                                                                          ATLANTA            GA    30305‐1019
ALYCE SHERIN                                     6244 ALCOVE AVE                                                                                  N HOLLYWOOD        CA    91606‐3015
ALYCE W FAULKNER                                 1518 WEST DAVIS ST                                                                               BURLINGTON         NC    27215‐2002
ALYCE Y JACKSON                                  22 NORTH BALTIMORE STREET                                                                        DILLSBURG          PA    17019‐1210
ALYCIA E ANDRESS                                 617‐WEST GRAHAM STREET                                                                           COTTONWOOD         AZ    86326
ALYCIA HENNING CUST BRANDT T HENNING UGMA IN     1116 SUNSET DR                                                                                   ANDERSON           IN    46011‐1623

ALYCIA KATHLEEN BAEHR                            727 W CAMINO DEL ORO                                                                             TUCSON             AZ    85704‐4721
ALYCIA T WRIGHT & JAMIE E WRIGHT JT TEN          800 RED MILLS RD                                                                                 WALLKILL           NY    12589‐3281
ALYDA A DENEKE                                   82‐85 159TH ST                                                                                   JAMAICA            NY    11432‐1105
ALYNE D ARCHER                                   2603 LAUREL BUSH RD                                                                              ABINGDON           MD    21009‐1521
ALYNE R CLEMENTS                                 550E AN ARBOR AVE #13‐B                                                                          DALLAS             TX    75216‐6718
ALYS BRADY                                       86 WEST AVE                                                                                      FAIRPORT           NY    14450‐2124
ALYS H SHOEMAKE                                  7312 PLANTATION DRIVE                                                                            ANDERSON           IN    46013‐3808
ALYS WOLTERS                                     5026 EAGLE HARBOR RD                                                                             ALBION             NY    14411‐9336
ALYSE BUCHDRUKER                                 AKA ALYSE DANIS                         19 MAYWOOD DR                                            SAN FRANCISCO      CA    94127‐2007
ALYSE C SWITZER                                  1557 ELLIS RD                                                                                    DUNDEE             NY    14837
ALYSON COLEEN MOORE                              ATTN ALYSON C ROSS                      7719 TOMLINSON AVE                                       CABIN JOHN         MD    20818‐1304
ALYSON J PRIVITERA                               9 TRUMPS CT                                                                                      BALTIMORE          MD    21206‐1428
ALYSON KAPLAN CUST JOSHUA T KAPLAN UTMA FL       10968 NW 9TH MANOR                                                                               CORAL SPRINGS      FL    33071

ALYSON KAPLAN CUST KYLIE L KAPLAN UTMA FL        10968 NW 9TH MANOR                                                                               CORAL SPRINGS      FL    33071
ALYSSA C CROCKER                                 4024 SAVANNAH GLEN BLVD                                                                          ORANGE PARK        FL    32073‐7618
ALYSSA GILBERTI                                  59 ROCKWOOD ESTATES                                                                              WEST GARDINER      ME    04345‐3234
ALYSSA K BONEBRAKE & MARGO K BONEBRAKE JT TEN    2539 OAK ST                                                                                      RIVER GROVE        IL    60171‐1605

ALYSSA L PARROTT                                 7474 INGLENOOK                                                                                   GURNEE             IL    60031‐5126
ALYSSA M SHARKEY                                 3 JARRELL FARMS DR                                                                               NEWARK             DE    19711‐3060
ALZETTA C VICK & CHARLES G VICK JT TEN           10102 WAVING FIELDS DR                                                                           HOUSTON            TX    77064‐4428
AM SOUTH BANK TR ELIZABETH JORGENSEN IRA         8805 29TH ST EAST                                                                                PARRISH            FL    34219‐8310
AMA RIDDLE                                       651 MILE HILL RD                                                                                 JOHNSTOWN          PA    15909‐4014
AMADA M MOZADER                                  5935 W DALE RD                                                                                   BEAVERTON          MI    48612‐9796
AMADEO C ZAPATA                                  707 EMILY AVE                                                                                    LANSING            MI    48910‐5601
AMADEO J PESCE & MRS ANNA L PESCE JT TEN         4101 MOUNT HUKEE AVE                                                                             SAN DIEGO          CA    92117
AMADEU GONSALVES                                 1774 RHINE PLACE BETHLEHEN TOWNSHIP                                                              EASTON             PA    18045
AMADI J LUNARDI                                  5171 MELODY LANE                                                                                 WILLOUGHBY         OH    44094‐4313
AMADO LONGORIA                                   905 N CHILSON                                                                                    BAY CITY           MI    48706‐3501
AMADO RIVERA                                     1 S CRANFORD                                                                                     BARDONIA           NY    10954‐2023
AMADO T RODRIGUEZ                                27630 REDWOOD WAY                                                                                CASTAIC            CA    91384‐4119
AMADO VARONA III                                 2607 S MOONGLOW COURT                                                                            HARTLAND           MI    48353‐2547
AMADOR VAZQUEZ                                   6210 FLAMINGO WAY                                                                                ROCKLIN            CA    95765‐5905
AMALFE BROS PROFIT SHARING PLAN DTD 01‐01‐83     120 FIELDCREST AVE                      STE A                                                    EDISON             NJ    08837‐3656

AMALFI S CATO                                    7055 COLLINS PT ROAD                                                                             CUMMING            GA    30041‐4711
AMALIA E RHOADES                                 5BERKSHIRE DRIVE                                                                                 BERKELEY HEIGHTS   NJ    07922‐2604

AMALIA F ECHEVARRIA                              1201 NEW JERSEY AV                                                                               NEW CASTLE         DE    19720‐1858
AMALIA KANNER                                    305 EAST 24TH ST                        APT 10R                                                  NEW YORK           NY    10010‐4059
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 1 of 8 Pg 124 of 850
Name                                             Address1                               Address2                      Address3   Address4          City              State Zip

AMALIA SPESCHA                                   610 SOUTH FOURTH ST                                                                               FAIRFIELD         IA    52556‐3509
AMANCIO Z SYCIP & CARMEN SO‐SYCIP JT TEN         603 SOUTH PARK ROSE                                                                               MONROVIA          CA    91016
AMAND CAMPEAU                                    6 SUNSET TR B                                                                                     SUNSET VALLEY     TX    78745
AMANDA A GRAVES                                  4236 BELLEMEADE DR                                                                                BELLBROOK         OH    45305‐1405
AMANDA BESS JONES                                ATTN AMANDA BESS JACKSON               201 HIGH POINTE VILLAGE WAY                                KINGSTON          TN    37763‐7008
AMANDA BUSEY                                     6100 HOUSATONIC CT                                                                                FAIRFAX STATION   VA    22039
AMANDA C BURGER                                  25 F CANDLEWYCK LN                                                                                UTICA             NY    13502‐2606
AMANDA C CHAMBERS                                19663 EASTLAND VILLAGE DR 3                                                                       HARPER WOODS      MI    48225‐1568
AMANDA C HELBIG CUST CODY JASON HELBIG UTMA AZ   2426 EAST CHRISTY DRIVE                                                                           PHOENIX           AZ    85028‐2516

AMANDA C HELBIG CUST DUSTIN R HATCHER UTMA AZ    2205 W KATHLEEN RD                                                                                PHOENIX           AZ    85023

AMANDA C HELBIG CUST DUSTIN R HATCHER UTMA AZ    2205 W KATHLEEN RD                                                                                PHOENIX           AZ    85023

AMANDA C MERLO                               PO BOX 627                                                                                            WOODBRIDGE        CA    95258‐0627
AMANDA C RAY                                 6132 VALDEZ DR                                                                                        REX               GA    30273‐1010
AMANDA C RESSA                               PO BOX 150                                                                                            ASHLEY            OH    43003‐0150
AMANDA CHISAMORE                             52 CAMDEN PLACE                                                                                       CORPUS CHRISTI    TX    78412‐2652
AMANDA D ERVIN                               635‐A SHOREROAD                                                                                       SEVERNA PARK      MD    21146
AMANDA DANIELLE TALBOTT                      17 LANGMAID AVE                            #2                                                         SOMERVILLE        MA    02145‐2410
AMANDA DAVIS CHANDLER & CARSON JOSEPH        2907 MUSSELWHITE AVE                                                                                  ORLANDO           FL    32804
CHANDLER JT TEN
AMANDA DIONIAN                               225 WILDWOOD RD                                                                                       RONKONKOMA        NY    11779‐4848
AMANDA DUSIK                                 4504 RAYMOND AVENUE                                                                                   BROOKFIELD        IL    60513‐2242
AMANDA E COOMBS SHIMP                        333 SHIRLEY RD                                                                                        ELMER             NJ    08318
AMANDA E MYRICK                              660 SUN ROSE AVE                                                                                      BAKERSFIELD       CA    93308‐5636
AMANDA E PHILLIPS                            20 CHARLES AVE                                                                                        EGG HARBOR CY     NJ    08215
AMANDA ELISE KILIAN                          42 GORSUCH RD                                                                                         LUTHVLE TIMON     MD    21093‐4215
AMANDA FAVORS                                2233 BRIER ST SE                                                                                      WARREN            OH    44484‐5273
AMANDA G LUCZAK                              2 STAGS LEAP CT                                                                                       GERMANTOWN        MD    20874‐6326
AMANDA GILLEN‐HALL                           1107 WOODLAWN ST                                                                                      KILGORE           TX    75662‐3862
AMANDA GRACE CHEKIRDA                        5530 SAVOY DR                                                                                         WATERFORD         MI    48327‐2771
AMANDA GRISH                                 1411 CYPRESS LANE                                                                                     MT PROSPECT       IL    60056
AMANDA H MCGUIRE                             PO BOX 779                                 707 EAST COOPER AVENUE                                     FOLLY BEACH       SC    29439‐0779
AMANDA HEMGESBERG                            617 RAMSEY LANE                                                                                       PLEASANT LAKE     MI    49272‐9716
AMANDA J WILLIAMS                            47021 HIDDEN RIVER CIR                                                                                CANTON            MI    48188
AMANDA JACKSON                               342 PAXTON                                                                                            CALUMET CITY      IL    60409
AMANDA JAMES                                 5302 FLEMING ROAD                                                                                     FLINT             MI    48504‐7080
AMANDA JANE STILES                           12503 CHASBARB TER                                                                                    HERNDON           VA    20171‐2469
AMANDA JANE THAYER                           18545 S SONOITA RD B                                                                                  VAIL              AZ    85641‐9107
AMANDA JO ATKINS                             15015 W AIRPORT BLVD                       APT 1133                                                   SUGAR LAND        TX    77478‐7094
AMANDA JOAN JOHNSON                          502 LOTHIAN WAY                                                                                       ABINGDON          MD    21009‐2946
AMANDA JOHNSON                               21‐61 24TH STREET                                                                                     ASTORIA           NY    11105‐3356
AMANDA JOHNSON CUST NICOLA M JOHNSON UTMA CA 7172 HAWTHORN AVE APT 110                                                                             LOS ANGELES       CA    90046‐3282

AMANDA K BUCHFINCK                               332 LAKE MEADOW DR                                                                                WATERFORD         MI    48327‐1787
AMANDA K DEVETSKI                                105 LITTLE BRANCH TRL                                                                             CHAPEL HILL       NC    27517‐8127
AMANDA L BINNS                                   2926 KENMORE PLACE                                                                                SANTA BARBARA     CA    93105
AMANDA L BROTHERTON                              10658 N 300 WEST                                                                                  MARKLE            IN    46770‐9745
AMANDA L DE CARLO & ROBERT A DE CARLO JT TEN     630 E CHURCH ST                                                                                   HOMER CITY        PA    15748‐1345

AMANDA L FOSCO                                   2370 MEADOWSHIRE RD                                                                               GALENA            OH    43021
AMANDA L HILL                                    885 ZION CIRCLE                                                                                   ROSWELL           GA    30075‐4553
AMANDA L KENT                                    5808 COMMUNITY HOUSE ROAD                                                                         COLUMBIA          VA    23038‐2620
AMANDA L PRICE‐SANCHEZ                           545 LEGENDS DR                                                                                    LEWISVILLE        TX    75057‐4175
AMANDA L SMITH                                   14171 BURNS ST                                                                                    SOUTHGATE         MI    48195
AMANDA LYN SHANNON                               199 COBBLESTONE LN                                                                                SOMERSET          PA    15501‐3720
AMANDA M AMRTELL                                 1242 N LAKESHORE DRIVE                 APT 6N                                                     CHICAGO           IL    60610‐2332
AMANDA M BOHL                                    26561 WEST RIVER ROAD                                                                             GROSSE ILE        MI    48138
                                         09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 1 of 8 Pg 125 of 850
Name                                          Address1                            Address2             Address3          Address4          City            State Zip

AMANDA M GEROW & DUSTIN A GEROW JT TEN        5935 W DALE RD                                                                               BEAVERTON       MI    48612‐9796
AMANDA M HARRIS                               6254 SHAPPIE RD                                                                              CLARKSTON       MI    48348‐2042
AMANDA M MAYER                                2810 55TH STREET                                                                             LUBBOCK         TX    79413
AMANDA M PRICE                                11635 W SHORE DR                                                                             PINCKNEY        MI    48169‐9090
AMANDA M ROGER                                820 HOLLAND LANE                                                                             CAMDEN          SC    29020‐8311
AMANDA M VINCENT                              94 CEDAR LN                                                                                  CICERO          IN    46034‐9518
AMANDA M WHEELER                              1605 LEXINGTON AVE                                                                           ALLEN           TX    75013
AMANDA MARIE MOSES                            11531 EVESBORORGH                                                                            HOUSTON         TX    77099‐2013
AMANDA P MAYFIELD                             9851 YORKSHIRE RD                                                                            DETROIT         MI    48224‐1930
AMANDA P TOMPKINS                             6717 HARTFORD                                                                                DETROIT         MI    48210‐1309
AMANDA PAIGIE BLEVINS                         3548 CREEKWOOD DR                   APT 13                                                   LEXINGTON       KY    40502‐6548
AMANDA PHILLIPS                               414 CIRCLE DR                                                                                CLARKSVILLEN    TN    37043
AMANDA R APPLEGATE                            311 W WISCONSIN ST 1                                                                         CHICAGO         IL    60614‐5415
AMANDA R SMITH                                C/O ARTHUR S LYNN                   10 MEANDERING WAY                                        GRANITE FALLS   NC    28630‐9324
AMANDA S ARBUCKLE                             2442 H ST                                                                                    BEDFORD         IN    47421‐5122
AMANDA SCHWARTZ                               16621 DENISE DR                                                                              AUSTIN          TX    78717‐3051
AMANDA SIMONS                                 42 HEMMAN STREET                                                                             ROSLINDALE      MA    02131‐4534
AMANDA SKURKA                                 7510 MASON ST                                                                                SWARTZ CREEK    MI    48473‐1492
AMANDA SPELLMAN & NORMA SAUNDERS JT TEN       1321 BRENTWOOD PL                                                                            JOLIET          IL    60435
AMANDA SPENCE                                 BOX 850                             WHITE OAK RD                                             CHAPMANVILLE    WV    25508‐0850
AMANDA V L SMITH                              740 PICKERING BEACH RD              AJAX ON                                L1S 3K8 CANADA
AMANDA WINDHURST                              43 GRANITE ST                       APT D1                                                   NEW LONDON      CT    06320‐5953
AMANDA Y UPCHURCH                             115 MORSE ST                                                                                 HAMDEN          CT    06517‐3213
AMANDEEP SIDHU                                5209 CATHEDRAL AVE NW                                                                        WASHINGTON      DC    20016‐2664
AMANDIO J SILVA                               17 GROVER RD                                                                                 ASHLAND         MA    01721‐2512
AMANTHA KOLLENGODE                            2012 26TH STREET SE                                                                          ROCHESTER       MN    55904‐5892
AMARPAL SINGH                                 24456 TUFTON ST                                                                              PLAINFIELD      IL    60585‐5767
AMARYALLIS R ANKENY                           1427 WILLAMET RD                                                                             DAYTON          OH    45429‐4836
AMATORE D MAZZACANO & ANNE MAZZACANO JT TEN   1115 HICKORY TRAIL                                                                           DOWNERS GROVE   IL    60515‐1237

AMAZON R EMELIO                              15230 MARSON ST                                                                               PANORAMA CITY   CA    91402‐4419
AMBER CLATTERBUCK                            711 ASH ST                                                                                    STRASBURG       VA    22657‐2029
AMBER DEANE ALEXANDER                        1946 FOX HUNTER RD                                                                            FAYETTEVILLE    AR    72701‐2963
AMBER E BOXRUD                               450 S 39TH STREET                                                                             BOULDER         CO    80303
AMBER FRACE                                  160 BRIARCLIFF RD                                                                             BERWICK         PA    18603‐4205
AMBER HAACK                                  511 GARFIELD AVE                                                                              SO PASADENA     CA    91030‐2210
AMBER HENDERSON GEIMAN                       1934 NW 48TH AV                                                                               COCONUT CREEK   FL    33063‐7756
AMBER ILLIG                                  7642 TIMBER SPRINGS DR                                                                        FISHERS         IN    46038‐3205
AMBER JONES                                  3 PERSHING CIRCLE                                                                             OFALLON         MO    63366‐3819
AMBER KING                                   218 PINEDALE RD                                                                               LIBERTY         SC    29657
AMBER L HAAS                                 3181 SOUTHERN BLVD                                                                            KETTERING       OH    45409
AMBER M WINSKE                               PO BOX 5867                                                                                   MARLBORO        MA    01752‐8867
AMBER NICHOLE SHOOPMAN & DELBERT D SHOOPMAN 3232 BELFORD RD                                                                                HOLLY           MI    48442‐9450
SR JT TEN
AMBER PHILLIPS                               1933 SOUTH BARSKDALE ST                                                                       MEMPHIS         TN    38114‐4504
AMBER R DUDZIK & MICHAEL P DUDZIK JT TEN     14386 N BRAY RD                                                                               CLIO            MI    48420‐7929
AMBER R TANNER                               10352 VARIEL AVE                                                                              CHATSWORTH      CA    91311‐2352
AMBER STOCKSLAGER                            1748 LAKESHORE DR                                                                             TROY            OH    45373‐8716
AMBRA TURNER SR                              161 GRESHAM AVE                                                                               KEYSVILLE       GA    30816‐5071
AMBROCIO R PEDRAZA                           15040 COUNTY ROAD 191                                                                         DEFIANCE        OH    43512‐9306
AMBROSE A DASKY TR AMBROSE A DASKY REVOCABLE 21071 NORTH SHORE DRIVE                                                                       HILLMAN         MI    49746‐7903
TRUST UA 10/01/96
AMBROSE A LAWRENCE                           17524 WALNUT ST                                                                               HESPERIA        CA    92345‐6251
AMBROSE A RUCKER                             BOX 23                                                                                        BEDFORD         VA    24523‐0023
AMBROSE BOLLING                              2808 WEIR AVE                                                                                 WEIRTON         WV    26062‐3146
AMBROSE C SMITH                              2391 SALVATORE PL                                                                             HAMILTON        OH    45013‐4839
AMBROSE G HOPPER                             1474 EATON DRIVE                                                                              MONROE          MI    48162‐3321
AMBROSE J NEALON & HELEN R NEALON JT TEN     114 BAMBI LN                                                                                  MADISON         AL    35758‐6808
AMBROSE L HAGAN & DORA S HAGAN JT TEN        5913 SHADY WOODS CT                                                                           GULF SHORES     AL    36542‐2612
                                                 09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 126 of 850
Name                                               Address1                              Address2                   Address3    Address4          City               State Zip

AMBROSE NWAGBARAJI                                 737 W 2ND STREET                                                                               FLORENCE           NJ    08518‐1103
AMBROSE P ELMOORE                                  12130 RAELYN HILLS DR                                                                          PERRY              MI    48872‐9168
AMBROSE P THOME JR                                 11291 OLD MILL ROAD                                                                            SPENCER            OH    44275‐9520
AMBROSE Z DUSZAK                                   105 WATERTOWN RD                                                                               THOMASTON          CT    06787‐1827
AMBROUS W BUNCH                                    719 E TENNYSON                                                                                 PONTIAC            MI    48340‐2963
AMDREAS STOLL                                      SCHUTTE‐LANZ STRASSE 14               D‐12209                    BERLIN      GERMANY
AMEDEO A SALVADOR                                  2177 GARFIELD AVE                                                                              NILES              OH    44446‐4205
AMEDEO C OLIVIERO                                  58 E PARK AVE                                                                                  LONG BEACH         NY    11561‐3504
AMEDEO P DESANTIS                                  109 LOOMIS AVE                                                                                 TRENTON            NJ    08610‐4435
AMEET H PADNANI                                    635 HARMON COVE TOWER                                                                          SECAUCUS           NJ    07094
AMEIDA D GREEN                                     210 W PULASKI                                                                                  FLINT              MI    48505‐6400
AMEL GONZALEZ                                      PO BOX 2055                                                                                    SOUTH GATE         CA    90280‐9055
AMELI PADRO‐FRAGETTA                               16515 DUNOON CT                                                                                MIAMI LAKE         FL    33014‐6049
AMELIA A GERKIN                                    419 OAKLAND AVENUE                                                                             INDIALANTIC        FL    32903
AMELIA A MONAGAS                                   PO BOX 60920                                                                                   ROCHESTER          NY    14606‐0920
AMELIA A NICHOLS                                   62 MARIVA STREET                                                                               PONTIAC            MI    48342‐2821
AMELIA C PARKER                                    40 BEACH AVE                                                                                   PENNSVILLE         NJ    08070‐1622
AMELIA C URBECK                                    3150 W MOTT AVE                                                                                FLINT              MI    48504‐6841
AMELIA D BROWN                                     2412 MIMOSA LN                                                                                 ANDERSON           IN    46011‐9783
AMELIA D TOMASELLI                                 20 EISENHOWER DR                                                                               LOCKPORT           NY    14094‐5759
AMELIA DI GERONIMO & MELINA DI GERONIMO JT TEN     3225 HELEN DR                                                                                  NORTH ROYALTON     OH    44133‐2226

AMELIA DOLAN                                       9917 SHADY LN                                                                                  BROOKLYN           OH    44144‐3010
AMELIA E SCOTT & ROBERT F SCOTT JT TEN             5525 W EDWARDS AVE                                                                             INDIANAPOLIS       IN    46221‐3113
AMELIA E TOMAINO                                   6378 LOCUST ST EXT                                                                             LOCKPORT           NY    14094‐6512
AMELIA F NASUTOVICH                                22811 W 7 MILE RD                                                                              DETROIT            MI    48219‐1739
AMELIA F STEWART                                   801 N JACKSON ST                                                                               WILMINGTON         DE    19806‐4630
AMELIA F URO                                       106 VALLEYVIEW ROAD                                                                            HOCKESSIN          DE    19707‐9537
AMELIA G RATTIGAN                                  UNIT 109A                             4545 CHESTNUT RIDGE ROAD                                 AMHERST            NY    14228‐3308
AMELIA H BENDER                                    C/O J L BENDER                        6233 WALHONDING ROAD                                     BETHESDA           MD    20816‐2138
AMELIA H WRIGHT CUST RYAN C WRIGHT UTMA MA         19 OLD FARM RD                                                                                 METHUEN            MA    01844‐4624

AMELIA J LACERVA                                   918 LAWRENCE                                                                                   GIRARD             OH    44420‐1910
AMELIA J MOSER & DUANE A MOSER JT TEN              1212 SPRINGBROOK DR                                                                            MANSFIELD          OH    44906
AMELIA JANE SMITH                                  241 MORNINGLAND DRIVE                                                                          WINDBER            PA    15963‐5614
AMELIA K NOLAN                                     3280 EAST BUCKSKIN LANE                                                                        HERNANDO           FL    34442‐8002
AMELIA L HARP                                      8 LITTLE MOUNTAIN RD                                                                           N SALEM            NY    10560‐2912
AMELIA LOPEZ                                       3357 SHANE DRIVE                                                                               BAY CITY           MI    48706‐1236
AMELIA LOPEZ & JOSEPH R LOPEZ JT TEN               3357 E SHANE DRIVE                                                                             BAY CITY           MI    48706‐1236
AMELIA LYNN GRANT                                  6073 WOODLAND ST 35                                                                            VENTURA            CA    93001
AMELIA M CAGLE                                     2317 BROAS DR                                                                                  MARRERO            LA    70072‐5119
AMELIA M DE TOIA                                   PO BOX 644                                                                                     MAHOPAC            NY    10541‐0644
AMELIA M DI LALLO & FLORENCE L DI LALLO JT TEN     3916 DEER TRAIL AVE                                                                            MINERAL RIDGE      OH    44440‐9046

AMELIA M RIOS                               13655 SOUTH MOONLIGHT ROAD                                                                            OLATHE             KS    66061‐9610
AMELIA MARLENE NEUMAN & EPHRAIM M NEUMAN JT 151 ROCKWOOD PLACE                                                                                    ENGLEWOOD          NJ    07631‐4939
TEN
AMELIA MORGA                                40353 LA GRANGE                                                                                       STERLING HEIGHTS   MI    48313‐5434

AMELIA NODINE                                      555 MILE SQUARE ROAD                                                                           YONKERS            NY    10701‐6345
AMELIA O ALEXANDER                                 89 SLOCUM ST                                                                                   KINGSTON           PA    18704
AMELIA R ALVAREZ                                   10205 SW 26TH TERR                                                                             MIAMI              FL    33165‐2848
AMELIA RINZIVILLO                                  21 HILL & DALE ROAD                                                                            CORTLANDT          NY    10567‐6106
                                                                                                                                                  MANOR
AMELIA ROHRICK & RONALD A ROHRICK JT TEN           21645 SW MCCORMICK HILL RD                                                                     HILLSBORO          OR    97123‐8767
AMELIA RUSSO FORAN                                 3855 WESLEY ST                                                                                 SEAFORD            NY    11783‐2527
AMELIA S DOBBINS                                   102 SEAWRIGHT DRIVE                                                                            IVA                SC    29655‐9070
AMELIA SMITH & ANNETTE CORGIAT JT TEN              9018 29TH ST                                                                                   BOOKFIELD          IL    60513‐1020
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                      Part 1 of 8 Pg 127 of 850
Name                                              Address1                             Address2                      Address3   Address4           City              State Zip

AMELIA T MAROTTA TR AMELIA T MAROTTA LIVING       79‐14 210TH ST                                                                                   OAKLAND GARDENS NY      11364‐3224
TRUST UA 04/30/04
AMELIA TROHA SMITH                                9018 W 29TH ST                                                                                   BROOKFIELD        IL    60513‐1020
AMELIA VIRGINIA TAFROW                            14 HARWICK DR                                                                                    MERCERVILLE       NJ    08619‐3011
AMELINA H YOUNG                                   635 S KENSINGTON                                                                                 LA GRANGE         IL    60525‐2706
AMELIO NOTARAINNI                                 42000 7 MILE RD                      APT 101                                                     NORTHVILLE        MI    48167‐2479
AMELITA MARINETTI                                 3165 HIDDEN POND DR                  APT 208                                                     RALEIGH           NC    27613
AMERICA BETTY BANKS                               294 85 CHAPPEL HILL                                                                              WEST HARRISON     IN    47060
AMERICA L SNYDER                                  35 FARR DR                                                                                       SPRINGBORO        OH    45066‐8651
AMERICA LODGE 2245 OSIA                           PO BOX 337                                                                                       FRANKLIN SQUARE   NY    11010‐0337

AMERICAN CANCER SOCIETY                           ATTN BOB FRAZIER                     6500 SUGARLOAF PKWY STE 260                                 DULUTH            GA    30097‐6205
AMERICAN EQUITY LIFE INSURANCE TR JANE S REED     6704 ST RT 5                                                                                     KINSMAN           OH    44428‐9781

AMERICAN EXPRESS FIANCIAL ADV CUST NICHOLAS A     1544 E FLORIAN CIR                                                                               MESA              AZ    85204‐5149
VACCARO IRA
AMERICAN EXPRESS FINANCIAL ADV FBO GEORGE M       2935 NEWTON TOMLINSON RD                                                                         NEWTON FALLS      OH    44444‐9772
CARIGLIO
AMERICAN EXPRESS TR HENRY G PETERSON              4830 S SAINT LAWRENCE AVE                                                                        CHICAGO           IL    60615‐1510
AMERICAN EXPRESS TRUST CO TR ROBERT L CROSS IRA   7074 CARNCROSS                                                                                   PITTSFORD         MI    49271‐9761

AMERICAN LEGION LAROY FARST POST INC NO 245       BOX 127                                                                                          NEW MADISON       OH    45346‐0127

AMERICAN LEGION POST NO 821                       RIVERSIDE DR                                                                                     CLAYTON           NY    13624
AMERICAN POLYMER INDUSTRIES OF LAKE CHARLES       2811 HIGHLAND BLVD                                                                               NEDERLAND         TX    77627

AMERICIS REED                                     1417 SPYGLASS HILL DR                                                                            DULUTH            GA    30097‐5949
AMERICO MORAIS                                    387 FRANKLIN ST                                                                                  FRAMINGHAM        MA    01702‐6230
AMERICO P GIFALDI                                 2 CHIPPENBEN DRIVE                                                                               HOLLEY            NY    14470‐1002
AMERICO RIVERA                                    EE‐30 N‐14 ST                        GLENVIEW GARDENS              PONCE      PUERTO RICO
AMERIGO C STORACE                                 17180 HAWKS LOOKOUT LN                                                                           STRONGSVILLE      OH    44136‐6275
AMERIGO P PALLINI                                 379 DIXON BLVD                                                                                   UNIONTOWN         PA    15401‐3967
AMERIGO R MIOTTO                                  17059 W GROVE DR                                                                                 MACOMB            MI    48042‐3529
                                                                                                                                                   TOWNSHIP
AMERIPRISE TRUST CO CUST RAYMOND SCHINLER         3723 WHITE RIVER DR                                                                              HESPERIA          MI    49421‐9526
AMETHIA E TURNER                                  18875 BUFFALO ST                                                                                 DETROIT           MI    48234‐2440
AMEURFINA A MELENCIO‐HERRERA                      6751 AYALA AVENUE MAKATI             METRO MANILA                             1200 PHILIPPINES
AMI C GARLAND                                     4092 STONE RD                                                                                    IONIA             MI    48846‐9742
AMI T YUNGERMAN & RUTH YUNGERMAN JT TEN           7140 VENETO DRIVE                                                                                BOYNTON BEACH     FL    33437
AMIE H LEBO CUST MALLORY KATE LEBO UTMA PA        3788 RIDGE RD                                                                                    GLEN ROCK         PA    17327‐8766
AMIE HIRSCH COHEN                                 1359 EASTWOOD AVE                                                                                HIGHLAND PARK     IL    60035‐2818
AMIE L PRESTON                                    6109 JOHNNYCAKE RD                                                                               BLATIMORE         MD    21207‐3928
AMIE M O'CONNOR                                   120 DEERFIELD DR                                                                                 CANANDAIGUA       NY    14424‐2410
AMIE VIGNAROLI                                    5824 BAY MEADOWS ROAD                                                                            OMAHA             NE    68127‐3520
AMIE W UPTON                                      2578 E 360 N                                                                                     ANDERSON          IN    46012‐9239
AMILEE TROUTMAN                                   3009 FOREST HILL                                                                                 FLINT             MI    48504‐2651
AMILEIGH MARIE SHATTUCK                           13781 TIMBERLAKE DR                                                                              DENHAM SPGS       LA    70726‐8824
AMIN KHAN CUST NASREEN P KHAN UTMA OK             6408 S 76TH EAST AVE                 TULAS                                                       TULSA             OK    74133‐7500
AMIN M DOSANI                                     15 BOSWELL RD                        MARKHAM ON                               L6B 0E3 CANADA
AMIN MATEEN                                       2258 GLEN DALE DR                                                                                DECATUR           GA    30032‐5810
AMINE M GOCHOEL                                   3259 AERIAL AVE                                                                                  DAYTON            OH    45429‐3421
AMION T CAMPLIN                                   34617 SHERIDAN                                                                                   WESTLAND          MI    48185‐3614
AMIR B HERSHKOVITZ                                6883 CLUBSIDE DRIVE                                                                              LOVELAND          OH    45140‐6042
AMIR BORUCH HERSHKOVITZ                           6883 CLUBSIDE DR                                                                                 LOVELAND          OH    45140‐6042
AMMIE J KELLEY CUST ALLIE KELLEY UTMA AL          7487 COUNTY RD 136                                                                               TOWN CREEK        AL    35672‐5648
AMMIE J KELLEY CUST HALLE KELLEY UTMA AL          7487 COUNTY RD 136                                                                               TOWN CREEK        AL    35672‐5648
AMMIE J KELLEY CUST WHITNEY TERRY UTMA AL         7487 COUNTY RD 136                                                                               TOWN CREEK        AL    35672‐5648
AMMON E HALEY JR                                  7201 MUDVILLE ROAD ROUTE 1                                                                       MILLINGTON        TN    38053‐4720
AMMON E LACY II                                   11 FAIRLANE CIR                                                                                  WARRENTON         MO    63383‐4422
                                          09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 128 of 850
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

AMO LEONA SUMMERS                               8276 E KORALEE PL                                                                             TUCSON           AZ    85710‐4235
AMON W BERGSTROM                                111 BROOK AVE                                                                                 RIVERSIDE        RI    02915‐1765
AMORY E OLIVER                                  437 RITTIMAN RD #B                                                                            SAN ANTONIO      TX    78209‐2809
AMOS A ADAMS                                    2704 79TH AV                                                                                  BATON ROUGE      LA    70807‐5628
AMOS A HOLEY                                    3601 CHRISTINE DR                                                                             LANSING          MI    48911‐1352
AMOS A MCCORMICK                                9152 SOUTH FRANCISCO AVE                                                                      EVERGREEN PARK   IL    60805‐1705
AMOS A SPRAGGINS                                1509 E 51ST PLACE                                                                             GARY             IN    46409‐2938
AMOS ADAMS & HELEN ADAMS JT TEN                 PO BOX 194                                                                                    ARBYRD           MO    63821‐0194
AMOS BROADDUS                                   5700 PENNYWELL DRIVE                                                                          DAYTON           OH    45424‐5432
AMOS BROADDUS                                   5700 PENNYWELL DR                                                                             DAYTON           OH    45424
AMOS BUFORD                                     1321 BANBURY                                                                                  FLINT            MI    48505‐1937
AMOS C CAUSEY                                   7528 BRIAR CLIFF PKWY                                                                         MIDDLEBURG HTS   OH    44130‐6433

AMOS C LITTLEJOHN                               1253 HOOK ESTATE DR                                                                           DAYTON           OH    45405‐1959
AMOS CURRY                                      711 PAUL ST                                                                                   ESCONDIDO        CA    92027‐3949
AMOS D CALDWELL JR                              208 HENNEPIN RD                                                                               GRAND ISLAND     NY    14072‐2325
AMOS D TURNER                                   1901 DUKE DR                                                                                  WOODBRIDGE       NJ    07095‐3831
AMOS E HALL                                     12050 HILL RD                                                                                 SWARTZ CREEK     MI    48473‐8580
AMOS E JACKSON                                  C/O HOWARD JACKSON                   322 SUNRISE DR                                           SYRACUSE         NY    13205‐2821
AMOS E KILLINGSWORTH                            16314 CHANCELLORS RIDGE WAY                                                                   NOBLESVILLE      IN    46062‐7153
AMOS E WRIGHT                                   1215 WESTWOOD AVE                                                                             CHATTANOOGA      TN    37405‐2329
AMOS ELLIS                                      15703 SNOWDEN                                                                                 DETROIT          MI    48227‐3361
AMOS ESTEP                                      PO BOX 713                                                                                    IAEGER WVA       WV    24844‐0713
AMOS F LICHTY & JOAN Y LICHTY JT TEN            324 COLEBROOK ROAD                                                                            MOUNT JOY        PA    17552‐9776
AMOS F TAYLOR                                   PO BOX 37351                                                                                  SHREVEPORT       LA    71133‐7351
AMOS FORD                                       26271 WESTHILL                                                                                INKSTER          MI    48141‐1906
AMOS FULLER                                     2600 W 83RD PL                                                                                CHICAGO          IL    60652‐3928
AMOS H LIEBERMAN & ELAINE LIEBERMAN JT TEN      3059 FRANKLIN ST                                                                              SAN FRANCISCO    CA    94123‐2307
AMOS HARDY                                      3600 WILSON AVE                                                                               CINCINNATI       OH    45229‐2416
AMOS J BRADSHER                                 14350 N HOLLY RD                                                                              HOLLY            MI    48442‐9404
AMOS JARRELL                                    6400 DUFFY ROAD                                                                               DELAWARE         OH    43015‐7930
AMOS JUNIOR GOODMAN                             5070 W CARPENTER ROAD                                                                         FLINT            MI    48504‐1054
AMOS L DEATON                                   3789 MARTIN FARM RD                                                                           SUWANEE          GA    30024‐2274
AMOS L EASH                                     7802 TREESWALLOW DRIVE SE                                                                     GRAND RAPIDS     MI    49508‐7228
AMOS L GLASPER & SHIRLEY A GLASPER JT TEN       14961 N 151 DR                                                                                SURPRISE         AZ    85379‐7005
AMOS M ARTHUR                                   931 SHELBY ST                                                                                 INDIANAPOLIS     IN    46203‐1151
AMOS R WILLIAMS                                 59 W ELZA AVE                                                                                 HAZEL PARK       MI    48030‐2205
AMOS SMITH                                      2842 WESTON BROOK LN                                                                          DULUTH           GA    30096‐4995
AMOS T JORDAN & GWENDOLYN JORDAN JT TEN         2859 TUBMAN AVE                                                                               DAYTON           OH    45408‐2240
AMOS WASHINGTON                                 692R GARDEN ST                                                                                HARTFORD         CT    06112‐2020
AMOUS GREEN                                     626 W HOLBROOK                                                                                FLINT            MI    48505‐2058
AMPARO M VALONE                                 97 MAPLE CENTER RD                                                                            HILTON           NY    14468‐9013
AMUEL A BARNES                                  222 COKE RD                                                                                   BYHALIA          MS    38611‐9660
AMVETS INC FEDERAL POST NO 7                    PO BOX 5372                                                                                   CHICAGO          IL    60680‐5372
AMY A GOERTEMILLER                              17564 EAST LAKE ESTATES DRIVE                                                                 ARP              TX    75750‐9804
AMY A GOERTEMILLER CUST NICHOLAS P              17564 EAST LAKE ESTATES DRIVE                                                                 ARP              TX    75750‐9804
GOERTEMILLER UTMA TX
AMY A GOERTEMILLER TOD ABAGAIL G GOERTEMILLER   17564 EAST LAKE ESTATES DR                                                                    ARP              TX    75750
SUBJECT TO STA TOD RULES
AMY A KENNEDY                                   PO BOX 1535                                                                                   CORRALES         NM    87048‐1535
AMY A MERRICK                                   308 BASTIAN AVE                                                                               SOUTH            PA    17702‐7716
                                                                                                                                              WILLIAMSPORT
AMY A PEARL CUST AARON SAMUEL PEARL UTMA MA     47 PLEASANT STREET                                                                            FRAMINGHAM       MA    01701‐4752

AMY A PIKE & DENISE G BURROWS JT TEN            10640 LAFAYETTE                                                                               PINCKNEY         MI    48169‐9337
AMY A SCHROEDER                                 9924 STATE RD 11 W                                                                            JANESVILLE       WI    53545‐9132
AMY ANN AUTH                                    950 BELTREES ST R                                                                             DUNEDIN          FL    34698‐7874
AMY ANN DEAN ATTN BURNSIDE CONSTRUCTION CO      11835 BUFFALO CREEK PLACE                                                                     DALLAS           TX    75230‐2355
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 129 of 850
Name                                             Address1                               Address2                  Address3     Address4          City            State Zip

AMY ATWOOD FORSBERG                              2005 E EATON PL                                                                                 SEATTLE         WA    98112‐2928
AMY AUSLANDER                                    C/O AMY V BROWN                        405 DREW CT                                              STERLING        VA    20165‐5833
AMY B ALVORD                                     BEN FRANKLIN GARDENS                   135 FLAX HILL RD APT 20                                  NORWALK         CT    06854‐2870
AMY B BARKER                                     2017 CHESTNUT HILL DR                                                                           YOUNGSTOWN      OH    44511
AMY B BERNS                                      3915 WATERFORD CT                                                                               BEACHWOOD       OH    44122‐4743
AMY B HARDING                                    8006 ROCKY RUN RD                                                                               GAINESVILLE     VA    20155‐1740
AMY B NELSON                                     111 W MEADOWS DR                                                                                ROCHESTER       NY    14616‐3408
AMY B PITZER                                     207 MILHOLLAN DRIVE                                                                             ELKTON          MD    21921‐6548
AMY B RABOVSKY                                   12841 LARSEN                                                                                    OVERLAND PARK   KS    66213‐3450
AMY BARNHILL                                     251 GULLEY DR                                                                                   SUMMERTOWN      TN    38483
AMY BAZZANI                                      OLD FORD ROAD                          BOX 144                                                  WAVELAND        IN    47989‐0144
AMY BEDDARD                                      5 ROSEBERRY LN                                                                                  KITTERY         ME    03904‐1073
AMY BETH SKRETNY                                 74 W CAVALIEN DR                                                                                CHEEKTOWN       NY    14227‐3526
AMY BIEL                                         ATTN AMY BIEL ROVIARO                  472 MISTY LN                                             WINTER PARK     FL    32789‐2509
AMY BROOKS WALLS                                 201 BROOKVIEW TER                                                                               WINDER          GA    30680‐7901
AMY BRUNO                                        13811 N 147TH LN                                                                                SURPRISE        AZ    85379
AMY BUMBAUGH CUST JAXON ALLISTER BUMBAUGH        31737 WALTHAM CT                                                                                BEVERLY HILLS   MI    48025‐3923
UGMA MI
AMY C KRESS CUST KATHERINE C KRESS UTMA CA       15590 OLDEN STREET                                                                              SYLMAR          CA    91342‐1242
AMY C KWIECINSKI                                 ATTN AMY C MCGOWAN                     8 CHARLES DAVIS DR                                       WENHAM          MA    01984‐1718
AMY C ROCK                                       6906 84TH STREET                                                                                LUBBOCK         TX    79424‐4743
AMY C SCHEMENAUER & DAVID B SCHEMENAUER JT       2755 SAGITTARIUS DR                                                                             RENO            NV    89509‐3879
TEN
AMY CANNON & DWIGHT M CANNON JT TEN              3853 LEEWARD LANE                                                                               HANOVER PARK    IL    60133‐6172
AMY CARRAWAY HARRINGTON                          3806 MEDINAH CT                                                                                 AUGUSTA         GA    30907
AMY CATHARINE RICHARDSON                         8190 STRAWBERRY LN                     APT 429                                                  FALLS CHURCH    VA    22042‐1040
AMY CATHERINE WALKER                             38421 BLACKHAWK DR                                                                              OCONOMOWOC      WI    53066
AMY CHARNEY                                      1455 SALZBURG                                                                                   AUBURN          MI    48611‐9552
AMY CHASE WANDMACHER                             9505 GENEVIEVE DR                                                                               ST JOHN         IN    46373‐8923
AMY CHRISTINE FISHER                             8667 BLACK OAK ROAD                                                                             BALTIMORE       MD    21234‐3608
AMY CHRISTINE POPE                               C/O FITZGERALD                         13606 BROCKMEYER COURT                                   CHANTILLY       VA    20151‐3380
AMY CHRISTINE WAUGH                              ATTN AMY WAUGH GOLDEN                  154 DEER RIDGE RD                                        ANNISTON        AL    36207‐2611
AMY CLAIRE FORD KEOKANE                          10 OWENOKE WAY                                                                                  RIVERSIDE       CT    06878‐1902
AMY CLAIRE ZAUM                                  109 MARLBOROUGH RD                                                                              W HEMPSTEAD     NY    11552‐1713
AMY CLAYTON‐BENJAMIN                             19 SEA SPRAY RD                                                                                 WESTPORT        CT    06880‐6930
AMY COLE DAWSON                                  8600 MCDONOGH ROAD                                                                              OWINGS MILLS    MD    21117
AMY COLE DAWSON TR DAVID P DAWSON TRUST UA       8600 MCDONOGH ROAD                                                                              OWINGS MILLS    MD    21117
01/01/03
AMY COOK                                         12523 WOODLAKE RD                                                                               GRASS VALLEY    CA    95949‐9744
AMY COOK CUST CHANDLER MAE COOK UTMA WA          1010 MARSHALL                                                                                   RICHLAND        WA    99352

AMY D DECKER & AARON DECKER JT TEN                 640 HIGH ROCK ROAD                                                                            HANNACROIX      NY    12087
AMY D DEVORE & WILLIAM O DEVORE JT TEN             1411 OLD FORGE RD                                                                             NILES           OH    44446‐3241
AMY D KIESLING TR AMY D KIESLING TRUST UA 04/06/90 1830 BRANTLEY RD                     APT E1                                                   FORT MYERS      FL    33907‐3932

AMY D WEATHERS                                   125 MEARS ST                                                                                    WINDER          GA    30680‐1758
AMY DEGENAARS                                    4440 CLEVELAND AVENUE                                                                           PLANO           TX    75093‐5435
AMY DIANE WHEELER CUST BRANDON ROBERT            25573 CO RD 646                                                                                 MCMILLAN        MI    49853
WHEELER UTMA MI
AMY DUCKETT LESSNER                              28 LESSNER RD                                                                                   JEFFERSON       ME    04348‐3441
AMY DURBEN                                       3 LEFFLER CT                                                                                    MARION          IN    46953‐3825
AMY E BRAUN                                      4900 ROYCE DRIVE                                                                                MOUNT DORA      FL    32757
AMY E KIRCHER                                    PO BOX 307                                                                                      BOYNE FALLS     MI    49713‐0307
AMY E KIRCHER                                    BOX 19                                                                                          BOYNE FALLS     MI    49713
AMY E LITTLE                                     223 S EAST AVE                                                                                  OAK PARK        IL    60302‐3211
AMY E NAUS                                       7576 S BOCAGE CT                                                                                BATON ROUGE     LA    70809‐1171
AMY E NEWKIRK                                    PO BOX 406                                                                                      STUTTGART       AR    72160‐0406
AMY E ROCK                                       368 ALCATRAZ AVE                                                                                OAKLAND         CA    94618‐1367
AMY E STOCKBURGER                                1434 VALLEY VIEW DR                                                                             WARRINGTON      PA    18976‐1346
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 130 of 850
Name                                              Address1                              Address2              Address3         Address4                 City            State Zip

AMY ELAINE WARREN                                 421 HUCKELBERRY LANE                                                                                  LONDON          KY    40744‐7503
AMY ELIZABETH COFFMAN                             14747 INDIAN HILL RD                                                                                  AMARILLO        TX    79124‐2609
AMY ELIZABETH FADOOL                              4030 TATES CREEK RD APT 1156                                                                          LEXINGTON       KY    40517‐3079
AMY EVANS CUST ZACHARY PATRICK EVANS U/T/M/MI     47145 SOUTHERN CROSS DR                                                                               MACOMB          MI    48044

AMY F SAWUSCH                                     2649 TEXTER ROAD                                                                                      ADDISON         MI    48367‐3033
                                                                                                                                                        TOWNSHIP
AMY F STEVENS                                     2 EDES ST                             APT 1A                                                          PLYMOUTH        MA    02360‐3990
AMY FESTA TR AMY FESTA LIVING TRUST UA 08/22/05   31 EAST DRIVE                                                                                         GARDEN CITY     NY    11530‐1926

AMY G WISSING                                     264 PICARDY LN                                                                                        BOLINGBROOK     IL    60440‐4529
AMY GENT                                          1585 S PARENT                                                                                         WESTLAND        MI    48186‐4127
AMY GRANT BASSETT                                 BOX 475                                                                                               JACKSON         WY    83001‐0475
AMY GREENBERG CUST ALEX SCOTT BRANDFON UGMA       81 COLEYTOWN RD                                                                                       WESTPORT        CT    06880‐1529
CT
AMY H CULLEN                                      ATTN AMY H CULLEN BURD                367 WOODBINE AVE SE                                             WARREN          OH    44483‐6046
AMY H LIIPFERT                                    PO BOX 1147                                                                                           FORT VALLEY     GA    31030‐1147
AMY H TAUCHERT                                    169 MERRIMAC ST UNIT #3                                                                               NEWBURYPORT     MA    01950‐2328
AMY HALL                                          1003 LONGFELLOW                                                                                       ROYAL OAK       MI    48067‐3319
AMY HARPER‐HOGANCAMP                              1012 ST RTE 1301                                                                                      CLINTON         KY    42031
AMY I CRABTREE                                    1107 CANDELA LN                                                                                       GRAND LEDGE     MI    48837‐2258
AMY I HANEY                                       350 FISHER CT                                                                                         CLAWSON         MI    48017‐1610
AMY I HARRIS CUST TYLER J HARRIS UGMA MI          5437 LIBERTY DR                                                                                       TRAVERSE CITY   MI    49684‐7577
AMY ILENE ABRAHAMS CUST CHARLES HUNTER            3773 ORCHARD HIGHLANDS DR                                                                             PALM HARBOR     FL    34684‐4158
ABRAHAMS UTMA IL
AMY J BUTTIGIEG                                   3709 CYPRESS MILL RD                                                                                  CHESAPEAKE      VA    23322‐2509
AMY J COROSO                                      98 LYNESS ST                                                                                          MANCHESTER      CT    06040‐4842
AMY J DAWSON                                      RT 3 BOX 513                                                                                          LOST CREEK      WV    26385‐9701
AMY J FISHER & ADAM C FISHER JT TEN               6220 WATERMARK DR                     APT 102                                                         RIVERVIEW       FL    33578‐3973
AMY J KOPIETZ & KATHERINE A SOLOMON JT TEN        5826 ORCHARD AVE                                                                                      OMAHA           NE    68117‐1765
AMY J POST                                        C/O AMY DAWSON                        ROUTE 3 BOX 513                                                 LOST CREEK      WV    26385‐9701
AMY J SANSBURY                                    5311 BRANDY LANE                                                                                      SYLVANIA        OH    43560‐1804
AMY J SPRATT                                      523 LONGBRANCH CT                                                                                     KOKOMO          IN    46901‐4025
AMY J TIMM & CATHLEEN M TIMM JT TEN               4460 CURWOOD SE                                                                                       KENTWOOD        MI    49508‐4613
AMY JACKSON                                       12133 FLOWING WATER TRAIL                                                                             CLARKSVILLE     MD    21029‐1683
AMY JO FRICK                                      25756 GALAXIE AVE                                                                                     FARMINGTON      MN    55024‐9066
AMY JO MOSER                                      1212 SPRINGBROOK DRIVE                                                                                MANSFIELD       OH    44906‐3543
AMY JO SPEICHER                                   18 HOLLY DRIVE                                                                                        GANSEVOORT      NY    12831‐1010
AMY K GUSTAFSON                                   5305 FIREWOOD                                                                                         ARLINGTON       TX    76016‐1216
AMY K LAUGHLIN                                    1671 E 236 ST                                                                                         ARCADIA         IN    46030‐9775
AMY K LECAT                                       C/O A L ODONOGHUE                     1025 WILLOW RD                                                  WINNETKA        IL    60093‐3636
AMY KARL JOHNSON                                  43120 TAOS TRAIL                                                                                      ELIZABETH       CO    80107
AMY KATHERINE WOOTTON                             4800 KOKOMO DRIVE #3312                                                                               SACRAMENTO      CA    95835
AMY KATHERINE ZINCK FARKAS                        47 CHURCH ST                                                                                          NORTH WALPOLE   NH    03609‐1720
AMY KEKKO & DOROTHY A CORSIATTO JT TEN            621 W LAUREL WOODS CT                                                                                 SOUTH BEND      IN    46637‐1474
AMY KORMAN                                        HAY B'IYAR 64/9                       TEL AVIV                               92148 ISRAEL
AMY L ADAMS                                       5578 SUMMERWOOD XING                                                                                  GALENA          OH    43021
AMY L ALLEN                                       4423 W 26TH PL                                                                                        JOPLIN          MO    64804‐7019
AMY L ANDERSON                                    1753 LAS GALLINAS                                                                                     SAN RAFAEL      CA    94903
AMY L BRANDT & STEVEN E BRANDT JT TEN             651 ALICE                                                                                             SAGINAW         MI    48602‐2709
AMY L CANNON                                      364 GALES NECK PL                                                                                     MATHEWS         VA    23109‐2225
AMY L CARPENTER & AUDREY R CARPENTER JT TEN       24809 W 77TH ST                                                                                       SHAWNEE         KS    66227‐3051

AMY L CLOUD                                       7113 HARTCREST LANE                                                                                   CENTERVILLE     OH    45459‐4882
AMY L CLOUD & TIMOTHY D CLOUD JT TEN              7113 HARTCREST LANE                                                                                   CENTERVILLE     OH    45459‐4882
AMY L CUMMINGS                                    14 THE GORSES COODEN                  BEXHILL E SUSSEX                       TN39 3BE GREAT BRITAIN
AMY L DAVIS CUST KACEY E DAVIS UTMA CO            10255 S WOODROSE LN                                                                                   HIGHLANDS RANCH CO    80129‐5427
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 131 of 850
Name                                           Address1                              Address2             Address3          Address4          City              State Zip

AMY L DAVIS CUST NATHAN P DAVIS UTMA CO        10255 S WOODROSE LANE                                                                          HIGHLANDS RANCH CO      80129‐5427

AMY L DOUGLAS                                  11321 NIAGARA DR                                                                               FISHERS           IN    46037‐4072
AMY L FILPULA                                  1045 YELLOW BRICK RD                  APT 217                                                  CHASKA            MN    55318‐2176
AMY L FOLEY                                    561 S ESSINGTON DR                                                                             ROUND LAKE        IL    60073‐5632
AMY L GAWEL STANLEY GAWEL & NANCY L GAWEL JT   6 COLTON CT                                                                                    DURHAM            NC    27713‐8889
TEN
AMY L GRENNAN                                  103 LARKSPUR LN                                                                                BRISTOL           CT    06010‐8937
AMY L HARNEY CUST RYAN A HARNEY UTMA CO        6170 SUMMER RIDGE WAY                                                                          CASTLE ROCK       CO    80109
AMY L HARROVER                                 ATTN AMY L CRAWLEY                    905 GLENVILLE RD                                         CHURCHVILLE       MD    21028‐1426
AMY L HAY                                      10332 RYAN HOLLOW RD                                                                           COHOCTON          NY    14826‐9665
AMY L HEYBOER                                  2326 BRIDLE CREEK SE                                                                           KENTWOOD          MI    49508‐0958
AMY L HOUSER                                   15603 ECHO CANYON DRIVE                                                                        HOUSTON           TX    77084‐3114
AMY L KENFIELD                                 9732 PHINNEY AVENUE N                                                                          SEATTLE           WA    98103‐3028
AMY L KESSLER                                  26627 HENLEY AVE                                                                               HUNTINGTON WD     MI    48070‐1014

AMY L LINN                                     1110 PRESTON BLVD                                                                              CORRECTIONVILLE   IA    51016‐8167

AMY L MCDONALD                                 8040 19TH AVE NE                                                                               SEATTLE           WA    98115
AMY L PAGELS                                   PO BOX 70                                                                                      BAKERSVILLE       NC    28705‐0070
AMY L PHILLIPS                                 916 DRUMMOND AVENUE                                                                            CHARLOTTE         NC    28205
AMY L RHODES                                   2638 PATRICK HENRY DR                                                                          AUBURN HILLS      MI    48057
AMY L SALMON                                   160 FREE UNION RD                                                                              BELVIDERE         NJ    07823‐3032
AMY L STILLING                                 1131 RIVER DR                                                                                  WATERTOWN         WI    53094
AMY L WADE                                     1953 WEST 257TH                                                                                ST LOMITA         CA    90717‐2619
AMY LAVONE BOWMAN CUST CARTER NELSON           PO BOX 22                                                                                      ALLONS            TN    38541‐0022
BOWMAN UTMA TN
AMY LEVINE                                     106 HANSON LANE                                                                                NEW ROCHELLE      NY    10804‐1727
AMY LEWIN EX EST FRIEDA NORWALK                3117 CLUBHOUSE RD                                                                              MERRICK           NY    11566
AMY LOBCZOWSKI                                 3517 CHECKERED TAVERN RD                                                                       LOCKPORT          NY    14094‐9423
AMY LOUISE JOHNSON                             1606 REDHILL NORTH DR                                                                          UPLAND            CA    91786‐2409
AMY LOUISE MORGAN‐HILL                         7307 OAK SHORES DR                                                                             AUSTIN            TX    78730
AMY LYNN BURNS                                 142 WILLOW BREEZE RD                                                                           BUFFALO           NY    14223‐1356
AMY LYNN CYMBALSKY                             600 6/2A PINE HOLLOW RD                                                                        EAST NORWICH      NY    11732
AMY LYNN DILL                                  307 SHISLER CT                                                                                 NEWARK            DE    19702‐1341
AMY LYNN EDELMAN                               13337 NOKA TRAIL                                                                               TIME              CO    80470‐9411
AMY LYNN KOZLOWSKI                             1617 FIELDING LEWIS WA                                                                         MC LEAN           VA    22101‐3246
AMY LYNN SMITH                                 27 IRVING ST                          UNIT #2                                                  WORCESTER         MA    01609‐2459
AMY LYNN WARRINER O'BRIEN                      819 S MACOMBER ST                                                                              GREENVILLE        MI    48838‐2256
AMY LYNNE HINRICHER                            705 WEST BLODGETT                                                                              LAKE BLUFF        IL    60044‐1609
AMY LYNNE SWENSON                              4456 LIME LEDGE RD                    RD 1                                                     MARCELLUS         NY    13108‐9801
AMY M BANCROFT                                 244 BUTTONBALL LANE                                                                            GASTONBURY        CT    06033‐3224
AMY M BARSA                                    4298 SHELLY DR                                                                                 SEVEN HILLS       OH    44131‐6266
AMY M HARDIN                                   6438 LARCOB DR                                                                                 HUBER HEIGHTS     OH    45424
AMY M HOBAUGH                                  12906 NEW PARKLAND DR                                                                          HERNDON           VA    20171‐2645
AMY M JUMP                                     26529 LOCUST DR                                                                                OLMSTED FALLS     OH    44138‐2528
AMY M LATSON                                   PO BOX 563                                                                                     HOLMEN            WI    54636
AMY M LIANG TR AMY M LIANG TRUST UA 06/25/96   28 WOODHILL RD                                                                                 WILTON            CT    06897‐2326

AMY M LIPPA                                   8014 OCTAVIA                                                                                    NILE              IL    60714‐2929
AMY M LOASCHING                               4220 N BLOOMINGTON AVE                 APT 102                                                  ARLINGTON HTS     IL    60004‐7511
AMY M MARTIN & J DAVID MARTIN JT TEN          5461 MOCERIE LANE                                                                               GRAND BLANC       MI    48439‐4369
AMY M NOTHOFF                                 ATTN PLUMSTEAD                         2228 BANKSTON RD                                         FRANKFORT         MI    49635‐9450
AMY M PARRISH                                 6411 42ND AVE                                                                                   KENOSHA           WI    53142
AMY M SALVATORE CUST DANIEL ANTHONY SALVATORE 122 FREEMAN ST                                                                                  WOODBRIDGE        NJ    07095‐3126
UTMA NJ
AMY M SALVATORE CUST GRACE EVELYN SALVATORE   122 FREEMAN ST                                                                                  WOODBRIDGE        NJ    07095‐3126
UTMA NJ
AMY M SCHMIDHUBER                             31675 FRASER DR                                                                                 FRASER            MI    48026‐2509
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 132 of 850
Name                                           Address1                               Address2              Address3         Address4          City            State Zip

AMY M SMITH                                    635 N DUNTON AVE                                                                                ARLINGTON       IL    60004‐5531
                                                                                                                                               HEIGHTS
AMY M SNYDER                                   3470 N RAISIN CTR HWY                                                                           ADRIAN          MI    49221‐9337
AMY M WEBB                                     4617 AGGIE DRIVE                                                                                MARYVILLE       TN    37803‐0671
AMY M WEBB                                     607 AUSTIN AVE                                                                                  CARY            NC    27511
AMY M YOUNG                                    23 ANN ST                                                                                       OSSINING        NY    10562‐3209
AMY MARGARET STIDD BRACEY CUST MARGARET        255 HOWLAND CT                                                                                  DANVILLE        VA    24541‐3765
NICOLE FREEMAN UGMA VA
AMY MARIE BROFT CUST IAN WARREN THOMAS BROFT   7291 CUESTA WAY DR NE                                                                           ROCKFORD        MI    49341‐8383
UTMA OH
AMY MASON PRESTON                              PO BOX 303                                                                                      WAPITI          WY    82450‐0303
AMY MCFARLAND ROLLINS                          251 CAMDEN RD                                                                                   LINCOLNVILLE    ME    04849‐6020
AMY MEIMETEAS                                  30 CLOVERDALE AVE                                                                               SALEM           MA    01970
AMY MOSELY SMITH                               29 BUENA VISTA RD                                                                               NEW CITY        NY    10956‐1303
AMY N BOGUTH                                   1427 HARWOOD DR                                                                                 OXFORD          MI    48371‐4431
AMY N ZOLTOSKI CUST PAUL A ZOLTOSKI UTMA NV    3915 LEGEND HILLS ST                   UNIT 202                                                 LAS VEGAS       NV    89129‐4552

AMY O ALESSANDRI                               PO BOX 2855                                                                                     FAIR OAKS       CA    95628‐9404
AMY O BOZEMAN                                  PO BOX 2506                                                                                     THOMASVILE      GA    31799‐2506
AMY P CAPUA                                    1014 NORMANDY TERR DR                                                                           FLINT           MI    48532‐3547
AMY P KOHN                                     204 FARWOOD ROAD                       CARROLL PARK                                             WYNNEWOOD       PA    19096‐4011
AMY P LEONARD & JAY F LEONARD JT TEN           631 MOUNTAIN RD                                                                                 KINNELON        NJ    07405‐2129
AMY P NEU                                      27 E 65TH ST                           APT 12A                                                  NEW YORK        NY    10021‐6522
AMY P SCHAFER                                  2140 LANCASTER                                                                                  BLOOMFIELD      MI    48302‐0635
                                                                                                                                               TOWNSHP
AMY P WOLF                                    PO BOX 347                                                                                       TILTON          NH    03276‐0347
AMY P WOLF CUST MARGARET E WOLF UTMA NH       PO BOX 347                                                                                       TILTON          NH    03276‐0347
AMY PARKS MYLAR                               405 GRANT AVE                                                                                    MONTEREY        CA    93940‐3812
AMY PERSON                                    103 COPPER BEECH DRIVE                  APT E                                                    RADFORD         VA    24141
AMY PETERS                                    123 S EASTWOOD DR 162                                                                            WOODSTOCK       IL    60098
AMY PETERSON                                  9250 DAVIS NW PL                                                                                 SILVERDALE      WA    98383‐9200
AMY PREBLE & HERBERT PREBLE JT TEN            140 HIGHLAND AVE                                                                                 MILLINOCKET     ME    04462‐1519
AMY R DILGER                                  4912 SUNRISE AVE                                                                                 BENSALEM        PA    19020‐1113
AMY R DOLAN                                   18 E WEBSTER ST                                                                                  MERRICK         NY    11566‐2720
AMY R HORTON BEARDEN & BENNETT L BEARDEN JT   BOX 20276                                                                                        TUSCALOOSA      AL    35402‐0276
TEN
AMY R ROMAN                                   89 COUNTRY VILLAGE LANE                                                                          NEW HYDE PARK   NY    11040‐1007
AMY RASMUSSEN U/GDNSHP OF JENIFER A RASMUSSEN 3045 MARINA BAY DR                      APT 14206                                                LEAGUE CITY     TX    77573‐2783

AMY RUTH MILES                                 ATTN AMY RUTH JEDRZEJOWSKI             1810 JAMESTOWN CIRC                                      HOFFMAN ESTATES IL    60195‐2826

AMY S BEDILION CUST MAX D BEDILION UTMA DE     908 ASTER AVE                                                                                   NEWARK          DE    19711‐2632
AMY S BEDILION CUST SAM R BEDILION UTMA DE     908 ASTER AVE                                                                                   NEWARK          DE    19711‐2632
AMY S BURDICK                                  5595 COUNTY HWY 33                                                                              BLOOMVILLE      NY    13739
AMY S CANNELLO                                 995 CLAY HAMMOND RD                                                                             PRNC FREDERCK   MD    20678‐4537
AMY S DONOVAN                                  426 BURNS LANE                                                                                  NEWTOWN         PA    18940
AMY S FRANK                                    142 SUMMERBROOK LN                                                                              MOORESVILLE     NC    28117‐4402
AMY S GILLESPIE POST                           18111 HIDDEN FALLS AVE                                                                          EAGLE RIVER     AK    99577‐8533
AMY S KOBACH                                   3805 SW CHELSFORD RD                                                                            TOPEKA          KS    66610‐1448
AMY S KORTH                                    1601 W ALTGELD ST #3D                                                                           CHICAGO         IL    60614‐2879
AMY S LIGHT                                    8733 BRENT DR                                                                                   CINCINNATI      OH    45231‐4911
AMY S MIGA                                     255 SUNSET DRIVE                                                                                CIRCLEVILLE     OH    43113‐1337
AMY S TUCKER                                   2088 MOUNDS AVE                                                                                 NEW BRIGHTON    MN    55112‐5115
AMY SAVINO CUST JOSEPH SAVINO III UTMA NJ      276 ROSELAND AVE                                                                                ESSEX FELLS     NJ    07021‐1316
AMY SHIMADA & STEVEN HASHIMOTO JT TEN          1425 WESTMORELAND DR                                                                            MONTEBELLO      CA    90640‐1811
AMY ST JOHN HAMILTON                           1157 PALMETTO ST                                                                                MOBILE          AL    36604‐2930
AMY STANKS ZAKIEWICZ                           19623 AMBERWOOD DR                                                                              BRISTOL         IN    46507‐9651
AMY STOLTMAN                                   96 HILL TER                                                                                     HENRIETTA       NY    14467‐9710
AMY SUE ANDERSON                               1614 NW MYRTLE AVE                                                                              ARCADIA         FL    34266‐5361
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                     Part 1 of 8 Pg 133 of 850
Name                                            Address1                              Address2             Address3            Address4             City              State Zip

AMY SUE ROSEN                                   ATTN AMY SUE MANCHESTER               63 GOODNOW RD                                                 SUDBURY          MA     01776‐1640
AMY T FEDOR                                     12380 WINDCLIFF DR                                                                                  DAVISBURG        MI     48350‐1677
AMY TORRANS                                     28 NORTHRIDGE CIRCLE                                                                                TEXARKANAS       TX     75503‐1868
AMY TSUCHIDA CUST AKI TSUCHIDA UTMA GA          765 ELLSBOROUGH CT                                                                                  ALPHARETTA       GA     30005‐2575
AMY TUMBLIN                                     610 EVENING ST                                                                                      WORTHINGTON      OH     43085‐3573
AMY V AHERN                                     1566 MANDRELL DR                                                                                    KNOXVILLE        TN     37918‐0946
AMY W DALTON & MACKENZIE R DALTON JT TEN        9920 HAWTHORN HILL CT                                                                               MANASSAS         VA     20110‐2704
AMY W FORRER                                    4222 RILEY DR                                                                                       LONGMONT         CO     80503‐4130
AMY WAHL & GERALD P WAHL JT TEN                 24161 SHERBECK                                                                                      CLINTON TOWNSHIP MI     48036‐2867

AMY WARD                                        27 E SALZBURG                                                                                       BAY CITY          MI    48706‐9712
AMY WESTFALL                                    803 MASON CREEK CIRCLE                                                                              ATLANTA           GA    30350
AMY WORRELL LAFOREST CUST GENEVIEVE ELIZABETH   366 N MONTCLAIR AVE                                                                                 GLEN ELLYN        IL    60137‐5061
LAFOREST UTMA MD
AMY Z LEVIS                                     12 ANITA CT                                                                                         KINGSTON          NY    12401‐7113
AMY ZOBER TR UA 12/12/86 THE AMY ZOBER TRUST    5212 PICCADILLY CIR                                                                                 WESTMINSTER       CA    92683‐4839

AN C CHUANG                                     31 CARPENTER PL                                                                                     UNION             NJ    07083‐7413
AN TUONG MA & MUNG T TANG MA JT TEN             201 TONKAWA RIDGE                                                                                   HUTTO             TX    78634‐5431
AN‐FA CHANG                                     712 YUROK CT                                                                                        FREMONT           CA    94539‐6620
ANA A MALDONADO                                 9248 ROSE ST                                                                                        BELLFLOWER        CA    90706‐6422
ANA C FERREIRA                                  AVE INDIANOPOLIS 3096 BLDG B          5TH FLR SAO PAULO    SAO PAULO BRAZIL0   BRAZIL
ANA C MEJIA                                     935 WEST LAKE AVENUE                                                                                RAHWAY            NJ    07065‐1621
ANA C WHITE                                     127 E SUFFOLK CT                                                                                    FLINT             MI    48507‐4254
ANA CULIC                                       33 OAKRIDGE DRIVE                                                                                   LANGHORNE         PA    19047‐1045
ANA DE LA PENA                                  11287 GLENOAKS BLVD                                                                                 PACOINA           CA    91331‐1621
ANA E YEPES                                     15 KING RD                                                                                          WEST HARTFORD     CT    06107‐3311
ANA ELENOR L PANES                              68 BRADHURST AV 6U                                                                                  NEW YORK          NY    10039‐3316
ANA G DAVIS                                     1622 PRIMM DR                                                                                       BRENTWOOD         TN    37027‐7380
ANA JANI                                        11035 DOOGAN AVE                                                                                    WILLOW SPRINGS    IL    60480‐1111

ANA M BARREIRO KELLY                            122 HOWLAND FARM RD                                                                                 BELMONT           VT    05730
ANA M CABOT                                     2180 LORAIN ROAD                                                                                    SAN MARINO        CA    91108‐2845
ANA MARIA SMITH & LIZA B SMITH JT TEN           18301 FREELAND                                                                                      DETROIT           MI    48235‐2537
ANA MARIA YEPEZ WIECZOREK                       5701 W 56TH ST                                                                                      CHICAGO           IL    60638‐2831
ANA R ALFARO                                    768 SAINT CLAIR ST                                                                                  PONTIAC           MI    48340‐2662
ANA R LOPEZ                                     712 WILLOW                                                                                          HURST             TX    76053‐5538
ANA R MARTINEZ                                  34 WALNUT AVE                                                                                       MASSENA           NY    13662‐2021
ANA ROSA MARCOS DE YCAZA                        C/O GRANT HERRMANN SCHWARTZ           SUITE 1200                                                    NEW YORK          NY    10017
ANA S REYES                                     2804 IVY GLEN CT                                                                                    GRAND PRAIRIE     TX    75052
ANA V LOPEZ                                     13233 S W 13ST                                                                                      MIAMI             FL    33184‐1905
ANA ZLONGST CAPPELLETTI                         2542 32ND AVE                                                                                       SAN FRANCISCO     CA    94116‐2952
ANABEL F TEETERS                                5914 W 325 S                                                                                        TRAFALGAR         IN    46181
ANABELLA COOLIDGE                               5801 WEDGWOOD DR                                                                                    FORT WORTH        TX    76133‐2726
ANAHEIM VENTURE A PARTNERSHIP                   PO BOX 42458                                                                                        LAS VEGAS         NV    89116‐0458
ANALDINO URBISCI                                7775 MONTICELLO DRIVE                                                                               WEST CHESTER      OH    45069‐3316
ANALIZABETH PHILIPS                             6635 HATCHERY RD                                                                                    WATERFORD         MI    48327‐1127
ANALYN R MCDANIEL                               137 SENTRY CT                                                                                       WINDER            GA    30680‐1798
ANAMARIA YLIZALITURRI                           18438 MIDDLESEX                                                                                     LATHRUP VILLAGE   MI    48076‐4516

ANAMARIE M BARNES                               108 WINNEPOGE DR                                                                                    FAIRFIELD         CT    06825‐2546
ANAND S IYER                                    15 WINTHROP DR                                                                                      RIVERSIDE         CT    06878‐1911
ANANDA DE SILVA                                 13505 WESTON PARK DR                                                                                SAINT LOUIS       MO    63131‐1046
ANANDA SELVARAJ & JOSEPHINE SELVARAJ JT TEN     1790 PORPOISE ST                                                                                    MERRITT ISLAND    FL    32952‐5640
ANANT B DESAI & FALGUNI A DESAI JT TEN          1500 RIDGEMONT CT                                                                                   FULLERTON         CA    92831‐1223
ANASTACIO F GUERRERO                            367 RACKLEY RD                                                                                      HOHENWOLD         TN    38462‐5508
ANASTACIO REIS                                  503 WOODHAVEN DR                                                                                    EDISON            NJ    08817‐3799
ANASTASIA BRANNIGAN                             1004 MARCIE LN                                                                                      MILFORD           OH    45150‐2019
ANASTASIA D KENNARD                             6176 NATCHEZ DR                                                                                     MT MORRIS         MI    48458‐2769
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 134 of 850
Name                                            Address1                              Address2             Address3          Address4          City               State Zip

ANASTASIA L HOPE                                8921 E 59TH STREET                                                                             RAYTOWN            MO    64133‐3784
ANASTASIA LIASKOS                               2457 CAMNER ST                                                                                 FORT LEE           NJ    07024‐3937
ANASTASIA MILIOS                                3987 NOWAK DRIVE                                                                               STERLING HGTS      MI    48310‐5326
ANASTASIA PRYJMA                                21117 MASCH                                                                                    WARREN             MI    48091‐4653
ANASTASIA PRYJMA & ROMAN PRYJMA JT TEN          21117 MASCH                                                                                    WARREN             MI    48091‐4653
ANASTASIA STATHOS                               PO BOX 372                                                                                     LINCOLN            MA    01773‐0372
ANASTASIOS P PERPERIDIS                         8531 SLEEP HOLLOW DRIVE NE                                                                     WARREN             OH    44484‐2049
ANASTASIOS T FITOS                              9 BAYWOOD DR                                                                                   PALM HARBOR        FL    34683‐1301
ANASTATIA HURLEY                                55‐D BUCKINGHAM DR                                                                             LAKEWOOD           NJ    08701‐6302
ANATOL DOWBNIA                                  159 MINUTEMAN CIR                                                                              ALLENTOWN          NJ    08501‐1860
ANATOL MUSIENKO                                 3805 DILL DRIVE                                                                                WATERFORD          MI    48329‐2135
ANATOLY N PRIMAK                                1324 RINGLING AVE                                                                              JOHNSTOWN          PA    15902‐3438
ANCEL M CLOUGH                                  7717 MEADOWHAVEN DR                                                                            DALLAS             TX    75240‐8105
ANCEL R DE PRIEST                               320 S DYER                                                                                     ODESSA             MO    64076‐1221
ANCELL F NOEL                                   11090 MCKINNEY                                                                                 DETROIT            MI    48224‐1113
ANCHOR NATIONAL LIFE INSURANCE TR RUSSELL J     639 OAK PARK RD                                                                                TOLEDO             OH    43617‐2021
TUMEY JR
ANCIL H EVANS                                   462 GLENDALE DR                                                                                TROY               OH    45373‐2208
ANCIL L FREDRICK                                80 CANBY LN RR 2                                                                               CORINTH            KY    41010‐5003
ANCIL L STRICKLIN                               35916 JAY DRIVE                                                                                CUSTER PARK        IL    60481‐8447
ANDE ELLEN WINKLER                              245 E 63RD ST                                                                                  NY                 NY    10021‐7466
ANDELIA GARCIA                                  5047 RIVER RIDGE DR                                                                            LANSING            MI    48917‐1356
ANDERS E ERIKSON                                13311 BURMA ROAD S W                                                                           VASHON             WA    98070‐3333
ANDERS ERIKSSON                                 PL 4159 GUBBARP                       S‐28022 VITTSJO                        SWEDEN
ANDERS MARTENSON III                            21 VALLEY RD                                                                                   MIDDLEBORO         MA    02346‐2532
ANDERS SVENSSON                                 SOLSKENSVAGEN 20                      SE‐46159             TROLLHATTAN       SWITZERLAND
ANDERSON A BEE & BARBARA ANN AGUAYO JT TEN      401 EILEEN DRIVE                                                                               BLOOMFIELD HILLS   MI    48302‐0432

ANDERSON FERNANDERS                             5801 MARLOWE DR                                                                                FLINT              MI    48504‐7055
ANDERSON FOUNDATION INC                         6419 RAILROAD AVE                                                                              CRESTWOOD          KY    40014
ANDERSON HACKER                                 112 CENTER ST                                                                                  MANCHESTER         KY    40962‐1223
ANDERSON LAMB                                   488 BAY ST                                                                                     PONTIAC            MI    48342‐1912
ANDERSON POTTS II                               14180 HUNTER RD                                                                                HARVEST            AL    35749‐7367
ANDERSON SMALL JR                               9953 DARROW PARK DR                   APT 107H                                                 TWINSBURG          OH    44087‐1492
ANDI ARE                                        PO BOX 786                                                                                     CASCADE            CO    80809‐0786
ANDI M SMITH                                    1158 OAK GROVE DR                                                                              LOS ANGELES        CA    90041‐2418
ANDIGONI T STEFFA                               15108 ANNS CHOICE WAY                                                                          WARMINSTER         PA    18974‐3335
ANDOVER COMM A BETTER CHANCE                    BOX 212                                                                                        ANDOVER            MA    01810‐0004
ANDOVER PUBLIC LIBRARY                          PO BOX 1210                                                                                    ANDOVER            OH    44003‐1210
ANDRA J BLUM                                    974 UNDERHILLS RD                                                                              OAKLAND            CA    94610‐2527
ANDRA M JACKSON                                 1826 PROSPECT SE                                                                               GRAND RAPIDS       MI    49507‐2542
ANDRAE D PATTERSON                              5213 BROMWICK DRIVE                                                                            DAYTON             OH    45426‐1909
ANDRAOS AZZAM                                   1335 SURF WAY                                                                                  RENO               NV    89503‐1947
ANDRAS BERETKA                                  77 BRONX RIVER RD                                                                              YONKERS            NY    10704‐4463
ANDRAS LOSHONCY                                 40426 MARCIA ST                                                                                FREMONT            CA    94538‐2861
ANDRE A ARMSTER & ARCHINA ARMSTER JT TEN        307 RAEBURN                                                                                    PONTIAC            MI    48341‐3051
ANDRE B BESANCON                                8179 SHERBROOKE LN                                                                             N CHARLESTON       SC    29418‐2045
ANDRE BERGERON                                  190 RUE DES FOUGERES                  PREVOST QC                             J0R 1T0 CANADA
ANDRE C CRUZ                                    901 PARK AVENUE                                                                                LINDEN             NJ    07036‐1647
ANDRE C PINCHEM                                 19526 CRANBROOK DR                    APT B                                                    DETROIT            MI    48221
ANDRE CHATMAN                                   15088 STRATHMOOR                                                                               DETROIT            MI    48227‐2934
ANDRE CRENSHAW                                  19605 TALISMAN ST                     TORRENCE                                                 TORRANCE           CA    90503
ANDRE D JANISSE & LAVERNE M JANISSE JT TEN      340 WINDSOR SPRING DRIVE                                                                       ST LOUIS           MO    63122‐7125
ANDRE D WILLIAMS                                420 S OPDYKE RD                       APT 6D                                                   PONTIAC            MI    48341‐3110
ANDRE DEBBANE                                   561 ALGONQUIN                         MONTREAL QC                            H3R 1C9 CANADA
ANDRE DEBOER                                    2724 FLOWERSTONE DR                                                                            DAYTON             OH    45449‐3217
ANDRE E ABSTON                                  C/O Y MAJEED                          590 NEVADA AVE                                           PONTIAC            MI    48341‐2553
ANDRE F LAMBERT                                 365 MOWRY ST                                                                                   HARRISVILLE        RI    02830‐1425
ANDRE F MARTINELLI                              53 FAIRCHILD PL                                                                                BUFFALO            NY    14216‐2726
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 135 of 850
Name                                              Address1                               Address2                   Address3    Address4          City               State Zip

ANDRE GAINES CUST TIERRA LATRICE RANGE UTMA LA    2112 GEN MOUTON                                                                                 BOSSIER CITY       LA    71112‐4734

ANDRE GRANT                                       15241 NORTHFIELD                                                                                OAK PARK           MI    48237‐1581
ANDRE H BELANGER                                  PO BOX 136                                                                                      SIDNAW             MI    49961‐0136
ANDRE I WILLIAMS                                  12195 NORTHLAWN                                                                                 DETROIT            MI    48204‐5400
ANDRE J CORNELISSEN                               59425 JULIE LANE                                                                                NEW HAVEN          MI    48048‐2070
ANDRE J LAURIN                                    4361 E MT MORRIS RD                                                                             MOUNT MORRIS       MI    48458‐8978
ANDRE J OLIGNY                                    60 PLACE BERLIOZ                       CANDIAC QC                             J5R 3Z4 CANADA
ANDRE J OLIGNY                                    60 PLACE BERLIOZ                       CANDIAC QC                             J5R 3Z4 CANADA
ANDRE JACQUI MITTON                               135 HAWTHORNE STREET                   6D                                                       BROOKLYN           NY    11225‐5804
ANDRE KEITH                                       PO BOX 40193                                                                                    CINCINNATI         OH    45240‐0193
ANDRE L BARKER                                    109 W 113TH ST                                                                                  CHICAGO            IL    60628‐4827
ANDRE L HARRIS                                    PO BOX 30651                                                                                    WILMINGTON         DE    19805‐7651
ANDRE L MACKEY                                    PO BOX 72254                                                                                    NEWNAN             GA    30271‐2254
ANDRE L MOORE                                     PO BOX 716                                                                                      BIRMINGHAM         MI    48012‐0716
ANDRE LAMARCHE                                    2012 BROADWAY ST                                                                                SAN FRANCISCO      CA    94115‐1588
ANDRE LANGER & ELAINE LANGER JT TEN               175 WEST BEACH ST                                                                               LONG BEACH         NY    11561‐3303
ANDRE LAVIGNE EX EST VICTOR FABRE                 257 A RUE PRINCIPALE                   LA SARRE QC                            J9Z 1Y7 CANADA
ANDRE M L BLOMME                                  POLODREEF 19                           B 2950 HOOGBOOM‐KAPELLEN               BELGIUM
ANDRE M LOPEZ                                     656 OGLETHORPE ST NE                                                                            WASHINGTON         DC    20011‐1631
ANDRE M S DACOSTA & AGNES E S DACOSTA JT TEN      2317 OLD FOREST DRIVE                                                                           HILLSBOROUGH       NC    27278‐7599

ANDRE NIRNBERGER                                  EICHENAUER WEG 70 D‐12355              BERLIN                                 GERMANY
ANDRE P VIGER                                     51788 EVA DR                                                                                    MACOMB             MI    48042‐4234
ANDRE PIDWERBETSKY                                1238 FRANTZKE AVE                                                                               SCHENECTADY        NY    12309‐5013
ANDRE PUGEL & JOSEPHINE PUGEL & J THOMAS M        21 FONTANA LANE                                                                                 GROSSE POINTE      MI    48236‐1504
PUGEL JT TEN                                                                                                                                      SHRS
ANDRE R FRANCE                                    5323 MARK CT                                                                                    AGOURA HILLS       CA    91301‐5201
ANDRE R TESSIER                                   45 MAPLE HILL RD                                                                                PASCOAG            RI    02859‐1703
ANDRE S NEBERLE                                   1357 ASHOUER DR                                                                                 BLOOMFIELD HILLS   MI    48013

ANDRE SALAUN CUST JOHN SALAUN UGMA NY             1 CANOPUS HOLLOW RD                                                                             PUTNAM VALLEY      NY    10579‐1804
ANDRE ST PIERRE                                   81 RUE JACK RICE                       ROSEMAERE QC                           J7A 4Z2 CANADA
ANDRE T PTAK                                      505 QUINLAN DR                                                                                  PEWAUKEE           WI    53072‐2480
ANDREA A CAPOZZI                                  1501 PENNSYLVANIA AVE                                                                           IRWIN              PA    15642
ANDREA A LIGHTHALL TR UA 02/23/88 M/B ANDREA A    4026 PARKVIEW DRIVE                                                                             ROYAL OAK          MI    48073‐6374
LIGHTHALL
ANDREA A WALKER                                   7377 NW 48TH PL                                                                                 LAUDERHILL         FL    33319‐3479
ANDREA ANN VANDEVELDE CUST JENNIFER MARIE         4089 CHAPMAN RD                                                                                 SHELBY TOWNSHIP    MI    48316‐1410
VANDEVELDE UGMA MI
ANDREA B ANIA                                     1175 BARE POINT ROAD APT 5                                                                      ALPENA             MI    49707
ANDREA B SWEETING                                 118 NEW HAVEN DRIVE                                                                             URBANA             OH    43078‐2252
ANDREA BENNETT PEDIGO                             4622 LANE DR                                                                                    GARDENDALE         AL    35071‐2618
ANDREA BETH KLUEPFEL CUST HEIDI JANE KLUEPFEL     11 GEORGE ST                                                                                    BLOOMFIELD         NJ    07003‐4329
UGMA NJ
ANDREA BONTUMASI                                  1317 ASPEN CT                                                                                   FLINT              MI    48507‐3200
ANDREA BOSS FOLKERTSMA                            205 GARDEN AVE                                                                                  GROVE CITY         PA    16127‐1417
ANDREA BURKE ROBERTS CUST DARRELL T ROBERTS III   304 SCIOTO COURT                                                                                DULUTH             GA    30097‐2053
UTMA GA
ANDREA C BRIEN                                    133 S WAVERLY                                                                                   MT PROSPECT        IL    60056‐2936
ANDREA C DAVIS TR UA 09/17/2008 ANDREA C DAVIS    106 GLENEAGLE DR                                                                                ELYRIA             OH    44035
REVOCABLE TRUST
ANDREA C IRWIN                                    120 OTTER RD                                                                                    HILTON HEAD        SC    29928‐3104
ANDREA C L DUDDLES                                3475 WATERS GLEN WA                                                                             ALPHARETTA         GA    30022‐5839
ANDREA C SEARCH                                   20 OAKWOOD DRIVE                                                                                NEW BRIGHTON       MN    55112‐3327
ANDREA C STARR CUST CARL WILLIAM STARR JR UGMA    1610 WILD CHERRY LN                                                                             LAPEER             MI    48446‐8714
MI
ANDREA C STARR CUST FELICIA RAE STARR UGMA MI     1610 WILD CHERRY LN                                                                             LAPEER             MI    48446‐8714
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                     Part 1 of 8 Pg 136 of 850
Name                                            Address1                              Address2                   Address3          Address4          City             State Zip

ANDREA CATES                                    560 BLUE HERON WAY                                                                                   ALPHARETTA       GA    30004‐2770
ANDREA COHEN LAING                              1287 NW 127TH DRIVE                                                                                  SUNRISE          FL    33323‐3110
ANDREA CYCHOSZ                                  3315 SOUTH ADAMS AVE                                                                                 MILWAUKEE        WI    53207‐2707
ANDREA D GRIFFIN MOORE & STEVEN MOORE JT TEN    4029 N GRANT                                                                                         WESTMONT         IL    60559‐1313

ANDREA D SMITH                                  41546 HAMLIN                                                                                         BELLEVILLE       MI    48111‐1421
ANDREA D SMITH                                  442 HAMILTON PLACE                                                                                   HAKENSACK        NJ    07601‐1511
ANDREA D TENDANNE                               8142 E 8TH PL                                                                                        DENVER           CO    80230‐6141
ANDREA DAWN MOCK                                6221 W OKLAHOMA                                                                                      TUCSON           AZ    85746
ANDREA DEE BLUM                                 428 BROOME ST                                                                                        NEW YORK         NY    10013‐3252
ANDREA DOBBS                                    254 RIDGE AVE                                                                                        TOWSON           MD    21286‐5432
ANDREA DROSCHA                                  8118 CIERRA WOODS LN                                                                                 CAPENTERSVILLE   IL    60110
ANDREA E GRANT                                  HOLDEN LTD 241 SALMON ST              MAIL PT A1 PRT MELBOURNE   VICTORIA AUSTRA   AUSTRIA
ANDREA E MARTIN                                 PO BOX 96                                                                                            ALPHA            OH    45301‐0096
ANDREA E MILLER                                 113 AMORA AVE                                                                                        VENICE           FL    34285‐3245
ANDREA EIERMANN                                 BOX 381                                                                                              NO SAN JUAN      CA    95960‐0381
ANDREA ELIZABETH WHITE                          1655 17TH AVE                                                                                        MARION           IA    52302‐2379
ANDREA F MARSH                                  5201 POINT BLF                                                                                       CHEYENNE         WY    82009‐5004
ANDREA F MULLEN                                 525 OAKLAWN DR                                                                                       METAIRIE         LA    70005‐2808
ANDREA F PARCIARELLI                            221 S MELBORN                                                                                        DEARBORN         MI    48124‐1457
ANDREA FAIN SELIG                               420 39TH AVE E                                                                                       SEATTLE          WA    98112‐5021
ANDREA FP GARNER                                221 S MELBORN                                                                                        DEARBORN         MI    48124‐1457
ANDREA G BRODY CUST MICHAEL H BRODY UTMA IL     241 BARBERRY RD                                                                                      HIGHLAND PARK    IL    60035‐4421

ANDREA G MILLUNCHICK                            1501 MAPLE AV                         APT 308                                                        EVANSTON         IL    60201‐4341
ANDREA G THRASHER                               2286 SAGAMORE HILLS DRIVE                                                                            DECATUR          GA    30033
ANDREA G ZABAWA & THOMAS M ZABAWA JT TEN        3321 TIQUEWOOD CIRCLE                                                                                COMMERCE TWP     MI    48382
ANDREA GARANT                                   9036 STATE ROAD                                                                                      MILLINGTON       MI    48746‐8902
ANDREA GARED                                    19904 LISA LANE                                                                                      NORTHRIDGE       CA    91326‐3884
ANDREA H LANGE                                  6226 ROUTE 722                                                                                       ARCANUM          OH    45304‐9408
ANDREA H LIGHTHALL                              4026 PARKVIEW DRIVE                                                                                  ROYAL OAK        MI    48073‐6374
ANDREA HELEN POLESKY                            7685 SHADY CREEK RD                                                                                  DUBLIN           CA    94568
ANDREA HOWLAND                                  C/O RIDGLEY BECK                      LA PLAISANCE               41 LEDGE ROAD                       NEWPORT          RI    02840‐4257
ANDREA J ADCOX                                  140 KIM DR                                                                                           ANDERSON         IN    46012‐1013
ANDREA J AUDET                                  40 ASPEN LANE                                                                                        GREENVILLE       RI    02828‐1451
ANDREA J DUHOW                                  3522 DRUM RD                                                                                         MIDDLEPORT       NY    14105‐9742
ANDREA J GROSSKOPF                              3292 DAVIDSON RD                                                                                     FRIENDSHIP       NY    14739
ANDREA J LAYMAN                                 9311 PATRIOT WOODS CT                                                                                DAYTON           OH    45458‐9460
ANDREA J MATTHEWS                               ATTN ANDREA J NICHOLLS                40 MAYFAIR DRIVE           LONDON ON         N6A 2M6 CANADA
ANDREA J MEKKELSON                              5141 33RD STREET S                                                                                   LA CROSSE        WI    54601
ANDREA J WHITE                                  39 WEST DR                            TRLR 24                                                        RUSSELL SPGS     KY    42642‐6943
ANDREA J YARED CUST JOHN YARED UGMA MI          325 CARNOUSTIE SE                                                                                    GRAND RAPIDS     MI    49546‐2224
ANDREA J ZIEGLER                                15852 HUMPHREY ST                                                                                    SOUTHGATE        MI    48195‐2785
ANDREA JANE HEUSON                              ATTN ANDREA HEUSON SHARP              7289 SW 53RD COURT                                             MIAMI            FL    33143‐5817
ANDREA JOY PERRY                                220 E RICHMOND ST                                                                                    WESTMONT         IL    60559‐1833
ANDREA K BELILL                                 ATTN ANDREA K ANSON                   6365 STONEGATE PKWY                                            FLINT            MI    48532‐2153
ANDREA K COLLINS                                5330 KENZIE AUDREY COURT                                                                             PERRY HALL       MD    21128
ANDREA K JACKSON                                24661 KENOSHA STREET                                                                                 OAK PARK         MI    48237‐1421
ANDREA K JUST                                   3280 BYRON ROAD                                                                                      HOWELL           MI    48843‐8766
ANDREA K SULLENGER                              PO BOX 295                                                                                           INTERLOCHEN      MI    49643‐0295
ANDREA KEMPNER‐HOGAN & ELLIS S KEMPNER JT TEN   14527 BARKWOOD DR                                                                                    ROCKVILLE        MD    20853‐2316

ANDREA KREULEN                                  941 HESTERS CROSSING RD               APT 3606                                                       ROUND ROCK       TX    78681‐7830
ANDREA L BLANKENBERG                            1408 E HOWARD AVE                                                                                    MILWAUKEE        WI    53207‐4050
ANDREA L BOWSER                                 1639 KIRKWOOD RD                                                                                     BALTIMORE        MD    21207‐4937
ANDREA L DANIELSON                              2200 KNOLLWOOD DR                                                                                    ELGIN            IL    60123‐4925
ANDREA L GEARING                                2810 GAINESWAY CT 113                                                                                CUMMING          GA    30041‐6311
ANDREA L GERICH                                 8079 GROVEWOOD DR                                                                                    MENTOR           OH    44060‐2054
ANDREA L KUNERT                                 303 CROMMELIN DRIVE                                                                                  WETUMPKA         AL    36092‐3010
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 137 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

ANDREA L LEWIS                                    6872 W REMUDA DR                                                                                PEORIA            AZ    85382‐7000
ANDREA L MATTHIAS                                 4718 NORWICK ST                                                                                 LANSING           MI    48917‐4167
ANDREA L MAYS                                     6073 ROSELLE MEADOWS TRL                                                                        SAN DIEGO         CA    92130‐6904
ANDREA L SAMEL                                    6872 WEST REMUDA DRIVE                                                                          PEORIA            AZ    85382‐7000
ANDREA L SCHULER                                  55 ADDINGTON ROAD APT 1                                                                         BROOKLINE         MA    02445
ANDREA L SEAL                                     631 BONNIE PL                                                                                   FRANKLIN          TN    37064‐2954
ANDREA L SHEA                                     56 SAINT ROBERTS DR                                                                             STAFFORD          VA    22554‐3600
ANDREA L TOTH                                     7451 WINDING WAY                                                                                BRECKSVILLE       OH    44141‐1923
ANDREA L TREON                                    1624 HARRISON STREET                                                                            LOWELL            IN    46356‐1972
ANDREA LA TURNO                                   2218 HAWTHORNE                                                                                  GROSSE POINTE     MI    48236‐1480
                                                                                                                                                  WOOD
ANDREA LEE MCCLAIN                                5759 S DOUGLAS WAY                                                                              ANDERSON          IN    46013‐9626
ANDREA LIPSON                                     1205 HARBROOKE                                                                                  ANN ARBOR         MI    48103‐3722
ANDREA LYNN & JARED ERIC TRUST LINDA JEAN DRAKE   PO BOX 205                                                                                      STANLEY           VA    22851‐0205
TR UW OF ROY L DRAKE
ANDREA M BURTON                                   2600 BEAGAN CT                                                                                  MILFORD           MI    48381‐3200
ANDREA M CAULFIELD                                55 NORMANDY RD                                                                                  EVESHAM           NJ    08053‐5527
ANDREA M GOUGARTY                                 16 ANNABELLE COURT                                                                              GREER             SC    29650
ANDREA M LABIK                                    2805 NOYES AVE                                                                                  CHARLESTON        WV    25304‐1105
ANDREA M PENDLETON                                2501 KENWOOD DRIVE                                                                              PINE HILL         NJ    08021
ANDREA M PUTNAM                                   4425 S LINDEN RD                                                                                FLINT             MI    48507‐2911
ANDREA M SCHWARTZ                                 171 WOODLAND DR                                                                                 BUFFALO           NY    14223‐1657
ANDREA M SIMPSON                                  35 HARBORVIEW DR                       APT 211                                                  RACINE            WI    53403‐4609
ANDREA M SOUTHLAND                                59 LEXINGTON PLACE                                                                              DURHAM            CT    06422
ANDREA M THEBAUD                                  PO BOX 404                                                                                      MT DESERT         ME    04660‐0404
ANDREA MACIVOR HESS                               154 S DENWOOD                                                                                   DEARBORN          MI    48124‐1310
ANDREA MANDEL CUST MORGAN MANDEL UGMA PA          200 E WOODLAND AVE                                                                              SPRINGFIELD       PA    19064‐2914

ANDREA MANNING VON RAABE                          3752 WOODBRIDGE RD                                                                              UPPER ARLINGTON   OH    43220‐4768

ANDREA MARGARET JONES                          1868 GLAGSGOW ST                                                                                   VALPARAISO        IN    46385‐7306
ANDREA MARIE HARTMAN CUST JAMES WILLIAM        1217 HUNTCLIFF TRACE                                                                               AIKEN             SC    29803‐8831
LEHEW UGMA SC
ANDREA MARIE HARTMAN CUST JESSICA MARIE        1217 HUNCLIFF TRACE                                                                                AIKEN             SC    29803
HARTMAN UGMA SC
ANDREA MARIE HARTMAN CUST KAYLEY XAN STALLINGS 1217 HUNTCLIFF TRACE                                                                               AIKEN             SC    29803‐8831
UGMA SC
ANDREA MARIE HARTMAN CUST MATHEW GARRETT       1217 HUNTCLIFF TRACE                                                                               AIKEN             SC    29803‐8831
LOYD UGMA SC
ANDREA MARIE HARTMAN CUST SAMUEL WAYNE LOYD 1217 HUNTCLIFF TRACE                                                                                  AIKEN             SC    29803‐8831
UGMA SC
ANDREA MEGHAN LUETHGE                          122 E WASHINGTON ST                                                                                DEWITT            MI    48820‐8914
ANDREA MELCHIN                                 5504 BUCKSKIN DR                                                                                   THE COLONY        TX    75056
ANDREA MILLS BARBIERI FOUNDATION U‐A DTD       501 W MERMAID LANE                                                                                 PHILADELPHIA      PA    19118‐4205
12/15/63
ANDREA MUNOZ                                   33268 SLOCUM DR                                                                                    FARMINGTON        MI    48336‐3902
ANDREA N MAYER                                 41509 COUNTY ROAD 27                                                                               WOODLAND          CA    95776‐9370
ANDREA N SAPP                                  4550 EAST 25TH STREET                                                                              JOPLIN            MO    64804
ANDREA N SHAPIRO & ALICE GREENSTONE & JENNIFER 156 DEMAREST AVENUE                                                                                ENGLEWD CLFS      NJ    07632
HYMAN JT TEN
ANDREA O GILMER                                601 LYONS CRT                                                                                      CHARLOTTESVILLE   VA    22902‐4311

ANDREA P DIEMUNSCH                                4124 LE FERVE DRIVE                                                                             KETTERING         OH    45429‐3220
ANDREA P SHEIKHZADEH                              3066 HANCHETT                                                                                   SAGINAW           MI    48604‐2464
ANDREA PENNACCHINI U/GDNSHP OF KEN                4295 S ATLANTIC AVE                                                                             WILBER BY THE SEA FL    32127‐6610
PENNACCHINI
ANDREA PERAINO                                    11438 RUNNELS DRIVE                                                                             CLIO              MI    48420‐8265
ANDREA PERAINO & VITA PARAINO JT TEN              11438 RUNNELS DR                                                                                CLIO              MI    48420‐8265
ANDREA PETERSEL‐PAMPILLONIO                       2 BAY CLUB DR APT 10G                                                                           BAYSIDE           NY    11360
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                         Part 1 of 8 Pg 138 of 850
Name                                               Address1                               Address2             Address3           Address4          City              State Zip

ANDREA POINDEXTER                                  1211 BOULDERWOODS DR                                                                             HOUSTON           TX    77062‐2013
ANDREA R CROSBY                                    C/O ANDREA R SHAMBO                    PO BOX 454                                                BRUSHTON          NY    12916‐0454
ANDREA R DEFINO                                    4 LEN FELL LANE                                                                                  ESSEX FELLS       NJ    07021‐1217
ANDREA R NORMAN                                    194 GRIFFIN STREET                                                                               LAWRENCEVILLE     GA    30045‐5830
ANDREA R SCHOENROCK                                511 E HIGH ST                                                                                    WILLIAMSTON       MI    48895‐1505
ANDREA R SHEPPARD                                  3712 AVALON STREET                                                                               PHILADELPHIA      PA    19114‐1506
ANDREA REIGER                                      1105 EDGEWOOD DR                                                                                 CHILLECOTHE       OH    45601‐2003
ANDREA ROYCE & MIKE ROYCE TEN COM                  4299 MEADOWCROFT RD                                                                              KETTERING         OH    45429
ANDREA S PETERS                                    47 LONDONDERRY LANE                                                                              SOMERS            NY    10589‐2902
ANDREA SCHROEDER                                   1238 W GENESEE ST                                                                                LAPEER            MI    48446‐1823
ANDREA SHAMBO EX EST HELEN CROSBY                  PO BOX 454                                                                                       BRUSHTON          NY    12916
ANDREA SPORER SIMON                                51 WILL MERRY LANE                                                                               GREENWICH         CT    06830‐1547
ANDREA SUE SILVERMAN                               8817 E 2ND PLACE                                                                                 TUCSON            AZ    85710‐2602
ANDREA THOMAS WALSH                                406 DAYLILY DRIVE                                                                                ROCHESTER HILLS   MI    48307‐5219
ANDREA TONDOW                                      23 CLIFFSIDE WY                                                                                  BOONTON           NJ    07005‐9028
ANDREA TOUB                                        117 LOGANS WAY                                                                                   HOPEWELL JCT      NY    12533
ANDREA TRIMBLE                                     15752 FREELAND                                                                                   DETROIT           MI    48227‐2915
ANDREA TURKHEIMER & ARNOLD TURKHEIMER JT TEN       1016 COVINGTON PLACE                                                                             ALLISON PARK      PA    15101‐1607

ANDREA URDI                                        PO BOX 134                                                                                       NORTH EASTON      MA    02356‐0134
ANDREA ZOCCHI                                      6665 EAST JAMISON AVE                                                                            ENGLEWOOD         CO    80112‐2503
ANDREA ZUCKERMAN BOBER                             8 OLD OAK ROAD                                                                                   RYE BROOK         NY    10573‐1911
ANDREAN A ROBBINS                                  3367 WINWOOD DRIVE                                                                               FLINT             MI    48504‐1250
ANDREAN A ROBBINS & WILLIE E ROBBINS JR JT TEN     3367 WINWOOD DR                                                                                  FLINT             MI    48504‐1250

ANDREAS BAHLSEN                                    ATTN SUSANNE BAHLSEN                   ZUM WALDTERCH 20     D‐30559 HANNOVER   GERMANY
ANDREAS C CANGELLARIS                              3101 VALLEY BROOK DR                                                                             CHAMPAIGN         IL    61822‐6111
ANDREAS DRESCHER                                   30249 MOULIN                                                                                     WARREN            MI    48093‐3109
ANDREAS GROUMPOS                                   1012 ST CROIX AVE                      LONDON ON                               N6H 3X7 CANADA
ANDREAS HAEFELE                                    ADAM OPEL AG                           IPC 85‐20/N‐20 II    RUSSELSHEIM        GERMANY
ANDREAS JOHANN ZUGSCHWERT & NANCY A                5419 RIVES JUNCTION ROAD                                                                         JACKSON           MI    49201‐9413
ZUGSCHWERT JT TEN
ANDREAS K HATZIANTONIOU                            8895 INDEPENDENCE DRIVE                                                                          STERLING HTS      MI    48313‐4020
ANDREAS P PETROS                                   5245 SNOWDEN DR                                                                                  TOLEDO            OH    43623‐1529
ANDREAS P PETROS CUST ERENE A PETROS UTMA OH       5245 SNOWDEN                                                                                     TOLEDO            OH    43623

ANDREAS RUST                                       HASSELHOST WEG 35 D‐60599              FRANKFURT MAIN                          GERMANY
ANDREAS WOELFEL                                    ADAM OPEL AG                           IPC A5‐02 D‐65423    RUSSELSHEIM        GERMANY
ANDREAS WOELFEL                                    ADAM OPEL IPC D4‐02                    RUESSELSHEIM                            GERMANY
ANDREE CONRAD                                      PO BOX 513                                                                                       ANNA MARIA        FL    34216‐0513
ANDREE DESJARDINS                                  472 LAC CLAIR                          EMBRANCHEMENT #5     FALARDEAU QC       G0V 1C0 CANADA
ANDREE M DE GEDRINSKY                              PO BOX 808                                                                                       ENGLEWOOD         NJ    07631‐0808
ANDREE MC GUIRE                                    PO BOX 808                                                                                       ENGLEWOOD         NJ    07631‐0808
ANDREE TROSHAGIRIAN                                6915 62ND DR APT 3                                                                               MIDDLE VLG        NY    11379
ANDREJ MIKOLENKO                                   2181 S BISCAYNE DR                                                                               NORTH PORT        FL    34287‐4112
ANDRES C DUENAS                                    PO BOX 391                                                                                       GLENDORA          CA    91740‐0391
ANDRES C SAENZ JR                                  712 OAKCREST SW                                                                                  WYOMING           MI    49509‐4021
ANDRES CAMPOS                                      15565 PINE ST                                                                                    MONROE            MI    48161‐3614
ANDRES CARLOS                                      10123 FAIRVIEW                                                                                   TAYLOR            MI    48180‐3295
ANDRES CAVAZOS                                     2512 HIGHRIDGE LN                                                                                EDINBURG          TX    78539‐6167
ANDRES L ESPINOZA                                  1365 STANLEY AVE                       APTD                                                      LONG BEACH        CA    90804‐2354
ANDRES L FIGUEROA                                  4223 S E 1ST AVENUE                                                                              CAPE CORAL        FL    33904‐8345
ANDRES M GARCIA                                    158 BELLMONT LN                                                                                  DAVENPORT         FL    33897‐5903
ANDRES M QUINTERO                                  6131 WINDCHARME AVE                                                                              LANSING           MI    48917‐1279
ANDRES MORALES JR                                  102 PINOAK PLACE                                                                                 CAMPBELL          OH    44405‐1682
ANDRES N MADRID                                    106 BEDFORD ST 2C                                                                                NEW YORK          NY    10014
ANDRES N VILLARREAL                                6033 GALLANT ST                                                                                  BELL GARDENS      CA    90201‐5507
ANDRES R HERNANDEZ                                 2560 N RAISINVILLE                                                                               MONROE            MI    48162‐9669
ANDRES R VALDEZ                                    6364 E HILL RD                                                                                   GRAND BLANC       MI    48439‐9125
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 139 of 850
Name                                             Address1                            Address2              Address3         Address4                 City               State Zip

ANDRES T HERNANDEZ                               29266 HIDDEN RIVER DR                                                                               ROCKWOOD           MI    48173‐1247
ANDRES V KAROLIN                                 70158 GREY LOOP                                                                                     NEW ALBANY         OH    43054
ANDREW A BINION                                  15363 TULLER                                                                                        DETROIT            MI    48238‐1962
ANDREW A BIRTALAN                                ATTN MAGGIE L BIRTALAN              3926 BRYANT DRIVE                                               YOUNGSTOWN         OH    44511‐1156
ANDREW A BJORKMAN                                137 STERLING ST APT 5                                                                               WEST BOYLSTON      MA    01583‐1245
ANDREW A BREGIER                                 42693 WILMINGTON DR                                                                                 STERLING HEIGHTS   MI    48313‐2672

ANDREW A BRYANT                                 33 LANGHORNE CIR                                                                                     NEWPORT NEWS       VA    23606‐2003
ANDREW A CERMELE JR                             101 VILLANOVA DRIVE                                                                                  LAWRENCEVILLE      NJ    08648‐4430
ANDREW A COSNER                                 135 WELLAND RD                       HILTON DERBSHIRE UK                    DE65 5NE GREAT BRITAIN
ANDREW A GAETA                                  904 STONEWALL LANE                                                                                   FREDERICKSBURG     VA    22407‐7431
ANDREW A GERKMAN                                8602 WILDWOOD TRAIL                                                                                  SOUTH LYON         MI    48178‐9634
ANDREW A JENKS JR                               15181 EAST LEE RD                                                                                    ALBION             NY    14411‐9546
ANDREW A KOWALSKI                               10619 ST JOHN DR                                                                                     MOKENA             IL    60448‐1744
ANDREW A LANG JR CUST JEFFREY PAUL LANG UGMA PA 86 CAMP HORNE RD                                                                                     PITTSBURGH         PA    15202‐1601

ANDREW A LOEFFLER                                PO BOX 74                                                                                           HEMLOCK            MI    48626‐0074
ANDREW A MALBURG                                 5933 SCOTCH SETTLEMENT RD                                                                           ALMONT             MI    48003‐9603
ANDREW A NEMETH                                  3815 FAULK ROAD                                                                                     ASHLAND            OH    44805‐9645
ANDREW A NOGA                                    R D #1 BOX 625                                                                                      NEW SALEM          PA    15468‐9526
ANDREW A PALATKA & ARLENE M PALATKA JT TEN       800 ADAMS AVE                                                                                       ELLWOOD CITY       PA    16117‐3809
ANDREW A PALATKA & ARLENE PALATKA JT TEN         800 ADAMS AVE                                                                                       ELLWOOD CITY       PA    16117‐3809
ANDREW A ROTH                                    PO BOX 30041                                                                                        MIDDLEBURG         OH    44130‐0041
                                                                                                                                                     HEIGHTS
ANDREW A ROTH & ELEANOR A ROTH JT TEN            PO BOX 30041                                                                                        MIDDLEBURG         OH    44130‐0041
                                                                                                                                                     HEIGHTS
ANDREW A SCHMIDTMAN JR                           PO BOX 342                                                                                          SAINT JOSEPH       MI    49085‐0342
ANDREW A SHUKAIT                                 ATTN MRS VIRGINIA SHUKAIT           29 SPANISH COURT      ROUTE 23                                  FORT MYERS         FL    33912‐2101
ANDREW A YATCKO & HELEN YATCKO & HELEN M         17129 HELEN AVE                                                                                     ALLEN PARK         MI    48101‐1441
SCHWARTZ JT TEN
ANDREW A YATCKO JR & HELEN YATCKO & ANDREW       17129 HELEN AVE                                                                                     ALLEN PARK         MI    48101‐1441
STEPHEN YATCKO JT TEN
ANDREW A ZAMPINI                                 307 DAKOTA AVE                                                                                      WILMINGTON         DE    19803‐3219
ANDREW A ZIZINIA JR                              6001 COUNTRY CLUB DR                                                                                VICTORIA           TX    77904‐1630
ANDREW ABRAHAM                                   1675 WETHERSFIELD CT                                                                                ROCHESTER HILLS    MI    48309‐4281
ANDREW ALEXANDER                                 136LEHIGH AVE                                                                                       NEWARK             NJ    07112‐2036
ANDREW ALLYN PANZAR CUST BERNARD PANZAR UGMA 1991 LYNTON CIR                                                                                         WELLINGTON         FL    33414‐8048
NY
ANDREW AMSEL                                     APT 3‐C                             97‐37 63RD ROAD                                                 REGO PARK          NY    11374‐1628
ANDREW ANGELO MATTELIANO                         196 GREENHAVEN TERRACE                                                                              TONAWANDA          NY    14150‐5550
ANDREW ANINSMAN & LISA ANINSMAN JT TEN           6017 SNAPDRAGON CRT                                                                                 BENSALEM           PA    19020‐2481
ANDREW ANTHONY AMENDOLA                          155 WOODLANDS AVE                                                                                   WHITE PLAINS       NY    10607
ANDREW ATELSKI                                   4801 E WABASH AVE                                                                                   TERRE HAUTE        IN    47803‐1445
ANDREW AUSTIN DRISKO                             1515 PENISTONE                                                                                      BIRMINGHAM         MI    48009‐7211
ANDREW B ABRAMSON                                1122 CLIFTON AVE                                                                                    CLIFTON            NJ    07013‐3622
ANDREW B BERRY                                   PO BOX 120                                                                                          WHITEFIELD         ME    04353‐0120
ANDREW B CAMPBELL                                637 N 22ND ST                                                                                       PHILADELPHIA       PA    19130‐3136
ANDREW B CARLSEN                                 PO BOX 612                                                                                          SHELTER ISLAND     NY    11965‐0612
ANDREW B CHAAB                                   9 PARKER ROAD                                                                                       EDISON             NJ    08820‐2323
ANDREW B CHRISTENSEN                             720 PROSPECT HILL DRIVE                                                                             MARTINSVILLE       VA    24112‐4516
ANDREW B CHRISTENSEN & LOIS A CHRISTENSEN JT TEN 720 PROSPECT HILL DRIVE                                                                             MARTINSVILLE       VA    24112‐4516

ANDREW B CHUPKA JR & ELIZABETH W CHUPKA JT TEN   12 PEER ST                                                                                          BINGHAMTON         NY    13901‐5908

ANDREW B COLLIAS                                 7402 W JONES AVE                                                                                    PHOENIX            AZ    85043
ANDREW B DOMSIC & GLADYS E DOMSIC JT TEN         13524 GLYNSHEL DR                                                                                   WINTER GARDEN      FL    34787‐5000
ANDREW B KERSCHNER                               172 W ROCK AVE                                                                                      NEW HAVEN          CT    06515‐2223
ANDREW B MOORE                                   PO BOX 26074                                                                                        SAINT LOUIS        MO    63136
ANDREW B NOBEL                                   400 BOOTH ROAD                                                                                      CHAPEL HILL        NC    27516
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 140 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

ANDREW B STARKE                                  1237 HARRISON GLEN LN                                                                          KNOXVILLE         TN    37922‐5588
ANDREW BAER                                      64 SYCAMORE DR                                                                                 EAST HAMPTON      NY    11937‐1438
ANDREW BALOG                                     1033 NORTHFORD CT                                                                              MEDINA            OH    44256‐2895
ANDREW BARNET MILLER                             1018 OVERBROOK ROAD                                                                            BALTIMORE         MD    21239‐1537
ANDREW BARTISH EX EST MILDRED EBERLE             1063 TAHOE TERRACE                                                                             GETTYSBURG        OH    45328
ANDREW BARTON REID                               3622 WOODBURNE DRIVE                                                                           MASON             OH    45040‐8154
ANDREW BARTUSIAK & MARIAN K BARTUSIAK JT TEN     2453 JEFFERSON AVE                                                                             WASHINGTON        PA    15301‐1421

ANDREW BARTUSIAK & MARIAN K BARTUSIAK TEN ENT    2453 JEFFERSON AVE                                                                             WASHINGTON        PA    15301‐1421

ANDREW BARTUSIAK CUST ROBERT ANDREW              2453 JEFFERSON AVE                                                                             WASHINGTON        PA    15301‐1421
BARTUSIAK UGMA PA
ANDREW BATES CRAVER                              11 CHENEY ROAD                                                                                 NO                CT    06255‐2006
                                                                                                                                                GROSVENORDALE
ANDREW BEDNAR                                    5959 REYNOLDS RD                                                                               MARLETTE          MI    48453‐9317
ANDREW BEKOFF & LINDA BRECHER JT TEN             49 MICHAELSON DRIVE                                                                            MT LAUREL         NJ    08054‐1355
ANDREW BIAS                                      112 W GRANT ST                                                                                 MCADOO            PA    18237‐1504
ANDREW BLANTON                                   636 DUKE CIR                                                                                   AUSTINTOWN        OH    44515‐4163
ANDREW BOLCSKEY & MRS MARY BOLCSKEY JT TEN       1086 QUARTERSTAFF CT                                                                           NEKOOSA           WI    54457‐9283

ANDREW BRET BEARSE & SALLIE PATRICE BEARSE &     387 MERRIWEATHER RD                                                                            GROSSE POINTE     MI    48236‐3446
EDNA JULIE WHARTON JT TEN
ANDREW BRICE                                     425 ELM AVE                                                                                    HAWORTH           NJ    07641‐1144
ANDREW BROOKS JR & MARY F BROOKS JT TEN          PO BOX 6212                                                                                    PINE MOUNTAIN     CA    93222‐6212
ANDREW BROWN                                     11815 KILBOURNE                                                                                DETROIT           MI    48213‐1375
ANDREW BROWN                                     2724 WOODHILL ROAD                                                                             CLEVELAND         OH    44104‐3661
ANDREW BROWN JR & MALANEY L BROWN JT TEN         23100 MORNINGSIDE ST                                                                           SOUTHFIELD        MI    48034‐2047

ANDREW BRYMER TR BRYMER TRUST UA 02/29/00        2700 ARLEIGH ROAD                                                                              EAST MEADOW       NY    11554‐3415

ANDREW BRYSON KOPPERT                            PSC 811 BOX 388                                                                                FPO               AE    09609‐1001
ANDREW BUGDA                                     412 AZRA CT                                                                                    HVRE DE GRACE     MD    21078‐2587
ANDREW BUYNYAK & ROSE BUYNYAK JT TEN             2118 TRACE ST                                                                                  HERMITAGE         PA    16148‐4004
ANDREW BUYNYAK & ROSE BUYNYAK JT TEN             2118 TRACE ST                                                                                  HERMITAGE         PA    16148‐4004
ANDREW C BARLOW                                  303 E FAIRMOUNT DRIVE                                                                          MONROE            CT    06468
ANDREW C BENNETT JR                              PO BOX 465                                                                                     HOMER             GA    30547‐0465
ANDREW C BLAKE                                   36165 CURTIS                                                                                   LIVONIA           MI    48152‐2815
ANDREW C BOHNER                                  304 TILMOR DRIVE                                                                               WATERFORD         MI    48328‐2564
ANDREW C DICKSON                                 925 NE SWAN RD                        APT B                                                    LEES SUMMIT       MO    64086‐5641
ANDREW C EWING                                   2510 CINNAMON RIDGE CT                                                                         MIAMISBURG        OH    45342‐5209
ANDREW C FRAELICH                                414 BLUE CLIFF PLACE                                                                           FORT WAYNE        IN    46804‐6463
ANDREW C GREGOS & DIANE M GREGOS JT TEN          3076 CRESCENT DR                                                                               WARREN            OH    44483‐6302
ANDREW C GROOMS                                  622 DUNAWAY ST                                                                                 MIAMISBURG        OH    45342‐3829
ANDREW C HARRIS                                  7 WESTMINSTER DRIVE                                                                            COLTS NECK        NJ    07722‐1451
ANDREW C HARWOOD                                 21 FORREST ST                                                                                  BYFIELD           MA    01922‐1004
ANDREW C HAYES                                   311 CHESTNUT AVE                                                                               WILMINGTON        DE    19809‐3225
ANDREW C HOGUE                                   200 E 84TH                            APT 8A                                                   NEW YORK          NY    10028
ANDREW C HOWARD                                  677 DOWNINGTOWN PIKE                  APT 3                                                    WEST CHESTER      PA    19380
ANDREW C KOHLER                                  5005 ROBINWOOD                                                                                 MONROE            MI    48161‐3643
ANDREW C LAWRENCE                                16996 SYCAMORE CT                                                                              NORTHVILLE        MI    48167‐4423
ANDREW C MATTELIANO                              2 SABLEWOOD CIRCLE                                                                             FAIRPORT          NY    14450
ANDREW C MITCHELL                                190 CHRISTIANA RD                                                                              NEW CASTLE        DE    19720‐3007
ANDREW C MOORE JR                                105 MALCOLM LANE                                                                               SIGNAL MOUNTAIN   TN    37377‐2532

ANDREW C NEWBON                                  4 BERKLEY DR                                                                                   YARDLEY           PA    19067‐3302
ANDREW C NORTON                                  430 WEDINGTON CT                                                                               ROCHESTER         MI    48307‐6036
ANDREW C OGDEN                                   2941 SEABROOK ISLAND RD                                                                        JOHNS ISLAND      SC    29455‐6222
ANDREW C REED                                    4634 MORGAN LN                                                                                 COLUMBIAVILLE     MI    48421‐9624
ANDREW C SCIANDRA                                3692 PEACEPIPE CRT                                                                             CLERMONT          FL    34711
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 141 of 850
Name                                             Address1                            Address2             Address3          Address4          City            State Zip

ANDREW C SHUM                                    1338 S 6TH AVE                                                                               DES PLAINES     IL    60018‐1442
ANDREW C SMITH                                   17011 BROOKHURST                                                                             MT CLEMENS      MI    48044‐4005
ANDREW C TOTH                                    1598 NW 143RD AVE                                                                            PORTLAND        OR    97229‐4384
ANDREW C WHITAKER                                1577 CHANTICLAIR CIR                                                                         WIXOM           MI    48393‐1610
ANDREW CALDWELL                                  PO BOX 3383                                                                                  KINGSPORT       TN    37664‐0383
ANDREW CARNAN                                    330 TECUMSEH AVE                                                                             MT VERNON       NY    10553‐1905
ANDREW CARUSO                                    127 GRANT ST                                                                                 HAWORTH         NJ    07641‐1915
ANDREW CHARLES IRISH                             701 BOLD DRIVE                                                                               SAN JOSE        CA    95111‐2613
ANDREW CHUPKO & HELEN CHUPKO JT TEN              11 TAPOLA RD                                                                                 TOMS RIVER      NJ    08757‐6226
ANDREW CLIFTON HUMPHREY JR                       PO BOX 44811                                                                                 DETROIT         MI    48244
ANDREW COFFEE                                    446 S ANDERSON                                                                               PONTIAC         MI    48342‐3408
ANDREW CROWDER                                   3947 2ND AVE S                                                                               MINNEAPOLIS     MN    55409‐1605
ANDREW CRUZ JR                                   325 N 3RD STREET                                                                             SAGINAW         MI    48607‐1429
ANDREW D BARRON                                  412 VIKING WAY                                                                               BROCKPORT       NY    14420‐2429
ANDREW D BOVENMYER                               330 CROWN HILL DR                                                                            HUNTINGTON      IN    46750
ANDREW D DANKO                                   6176 HEDGEROW CIRCLE S                                                                       GRAND BLANC     MI    48439‐9787
ANDREW D DODDE                                   34111 GABLE DR                                                                               LIVONIA         MI    48152‐1219
ANDREW D EISNER                                  3626 LORRIE DRIVE                                                                            OCEANSIDE       NY    11572‐5953
ANDREW D FITTING                                 1276 PRESCOTT AVE                                                                            SUNNYVALE       CA    94089‐2334
ANDREW D FRIEND & MRS VIRGINIA I FRIEND JT TEN   PO BOX 80                                                                                    CLARENCE        IA    52216

ANDREW D JOFFE                                   61 THRASHER ST                                                                               NEW ORLEANS     LA    70124‐4108
ANDREW D JOHNSON                                 74 N ARDMORE ST                                                                              PONTIAC         MI    48342‐2702
ANDREW D KABAT                                   PO BOX 1011                                                                                  DUNNELLON       FL    34430‐1011
ANDREW D MCGEE                                   419 W 129TH ST APT 55                                                                        NEW YORK        NY    10027‐2723
ANDREW D NEWSOME                                 18627 TRACEY                                                                                 DETROIT         MI    48235‐1760
ANDREW D PAGE JR                                 318 S GRIFFIN MILL CT                                                                        SPARTANBURG     SC    29307‐2636
ANDREW D PARKER                                  625 EAGER RD                                                                                 HOWELL          MI    48843‐9776
ANDREW D PATTON TR PATTON FAMILY TRUST UA        11680 WHETHERWOOD PLACE                                                                      SAN DIEGO       CA    92131
06/12/02
ANDREW D RAMSEY                                  170 COURT DRIVE                                                                              PONTIAC         MI    48058
ANDREW D SUSKI                                   2284 WESTERN MEADOWS                                                                         FLUSHING        MI    48433
ANDREW DANA WESTERGREN                           33 MACE RD                                                                                   HAMPTON         NH    03842‐2050
ANDREW DAVID DICK                                4210 HARRIS PL                                                                               WILMINGTON      DE    19808‐5758
ANDREW DAVID RODERICK                            1 ASTOR CT                                                                                   COMMACK         NY    11725‐3701
ANDREW DAVID SIEGEL                              1081 DURBIN PARKE DR                                                                         JACKSONVILLE    FL    32259‐4265
ANDREW DAVIS                                     6408 N CAMAC STREET                                                                          PHILADELPHIA    PA    19126‐3643
ANDREW DE FINIS & JENNIFER DE FINIS JT TEN       143 BLACKBERRY DRIVE                                                                         WHITE LAKE      MI    48386‐4419
ANDREW DE IONNO                                  10 HOGAN CIRCLE                                                                              MIDDLETOWN      DE    19709‐9367
ANDREW DELAMATER                                 793 ALISAL RD                                                                                SOLVANG         CA    93463
ANDREW DELANO BUTLER JR                          1815 CRAIG BLVD                                                                              EDMOND          OK    73003‐3159
ANDREW DENTON JR                                 11271 S LOOMIS ST                                                                            CHICAGO         IL    60643‐4471
ANDREW DIAKUN                                    14 CARDINAL DRIVE                                                                            WILLIAMSVILLE   NY    14221‐3428
ANDREW DINSMORE                                  76 PACER DR                                                                                  HENRIETTA       NY    14467
ANDREW DONALD PERINI TR ANDREW D PERINI SR REV   4911 HARRISON ST                                                                             HOLLYWOOD       FL    33021‐7208
TRUST UA 01/07/92
ANDREW DRAKE                                     3151 HIDDEN COURT                                                                            BRIGHTON        MI    48114
ANDREW DUNSTAN VAUXHALL MOTORS LTD               GRIFFIN HOUSE OSBORNE RD            LUTON BEDS L                           GREAT BRITAIN
ANDREW E BAUR                                    29030 MORLOCK                                                                                LIVONIA          MI   48152‐2044
ANDREW E BAYOWSKI                                7174 STRUTHERS RD                                                                            POLAND           OH   44514‐2269
ANDREW E BEHUN                                   1031 OVERLOOK AVE                                                                            RAVENNA          OH   44266‐2633
ANDREW E GANDER                                  212 W 8TH ST                                                                                 NEWPORT          KY   41071‐1307
ANDREW E GIN                                     267 SAN RAFAEL AVE                                                                           SANTA BARBARA    CA   93109
ANDREW E JAGODA                                  17402 DUVAL CT                                                                               CLINTON TOWNSHIP MI   48038‐7127

ANDREW E KRZEWSKI                                2830 48TH CT #1F                                                                             CICERO          IL    60804‐3618
ANDREW E LESKO & VIRGINIA ANN LESKO JT TEN       PO BOX 258                                                                                   ROSCOMMON       MI    48653‐0258
ANDREW E RICK                                    136 WINTERBROOK DR                                                                           CRANBERRY TWP   PA    16066‐7716
ANDREW E ROEDEL 3RD                              218 W 7TH AVE                                                                                CHEYENNE        WY    82001‐1357
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 142 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

ANDREW E ROTH                                      4 MARTINE AVENUE                      APT 1408                                                 WHITE PLAINS     NY    10606
ANDREW E RUCINSKI                                  5671 EAGLEBROOK RD                                                                             TOLEDO           OH    43615
ANDREW E SPULER JR & MRS ELIZABETH J SPULER JT TEN 1415 VALLEY VIEW AVE                                                                           WILLIAMSPORT     PA    17701‐1365

ANDREW E TOTH                                     719 CEADER POINT PL                                                                             THOUSAND OAKS    CA    91362‐5423
ANDREW E WALPOLE                                  10786 CAROLINA PINES DR                                                                         HARRISON         OH    45030
ANDREW E WILKINSON                                1430 PINETREE DRIVE                                                                             CHARLOTTE        NC    28270‐5912
ANDREW EDWARD STEFANOVICH                         1425 GROVE AVE                                                                                  RICHMOND         VA    23220‐4601
ANDREW EKBLAW & ALICE V EKBLAW JT TEN             1015 TOMAHAWK TRAIL                                                                             SCOTIA           NY    12302‐3334
ANDREW ELLIOT KALB                                695 SUNSET RDG                                                                                  DUBUQUE          IA    52003‐7764
ANDREW EMEOTT                                     1010 N WENONA ST                                                                                BAY CITY         MI    48706‐3596
ANDREW ERLICH HOLM                                30 EAST 71ST ST                        APT 7B                                                   NEW YORK         NY    10021‐4956
ANDREW EVAN MATTEI                                12317 LONGMIRE COVE                                                                             CONROE           TX    77304‐1082
ANDREW F BULTAS TOD MATTHEW L BULTAS              1725 35TH ST.                          APT. 2240            OAKBROOK                            OAK BROOK        IL    60523
ANDREW F COTTAGE                                  4709 ROBINWOOD DR                                                                               MENTOR           OH    44060‐1148
ANDREW F GRZELAK & ELIZABETH F GRZELAK JT TEN     3 NORTHFIELD RD                                                                                 MATAWAN          NJ    07747

ANDREW F KOEHLER CUST STEPHANIE KOEHLER UTMA      119 W FAIRVIEW ST                                                                               UPPER SANDUSKY   OH    43351‐1613
OH
ANDREW F LANZA                                    154 COLON AVE                                                                                   STATEN ISLAND    NY    10308‐1405
ANDREW F MYTINGER                                 5625 CRESCENT PARK W #336                                                                       PLAYA VISTA      CA    90094
ANDREW F PRAXMARER & MARY T PRAXMARER JT TEN      11602 BRIARWOOD LANE                                                                            BURR RIDGE       IL    60527‐8003

ANDREW F RODONDI                                  3840 ORANGEVILLE ROAD                                                                           SHARPSVILLE      PA    16150‐9415
ANDREW F ROSS & JO ANN R ROSS JT TEN              16465 BENMAR CT                                                                                 ROSEVILLE        MI    48066‐2071
ANDREW F SLANINA                                  28 CREED CIRCLE                                                                                 CAMPBELL         OH    44405‐1250
ANDREW F STAFFORD                                 960 DOMINION COURT                                                                              MILFORD          OH    45150‐2079
ANDREW F TWARDZIK                                 1218 CAMPBELL ST                                                                                SANDUSKY         OH    44870‐3470
ANDREW F WALKER                                   3657 COUNTY ROAD 620                                                                            CAPE GIRARDEAU   MO    63701‐9249
ANDREW FAVORS                                     3712 LOCHEARN DRIVE                                                                             BALTIMORE        MD    21207‐6360
ANDREW FELDMAN CUST JASON D FELDMAN UGMA NY       167 RUSKIN ROAD                                                                                 BUFFALO          NY    14226‐4264

ANDREW FELDMAN CUST MATTHEW S FELDMAN UGMA 167 RUSKIN ROAD                                                                                        BUFFALO          NY    14226‐4264
NY
ANDREW FINEBERG                             333 E 68TH ST                                                                                         NEW YORK         NY    10021‐5693
ANDREW FISHKIN                              4 DEBRA CT                                                                                            MARLBORO         NJ    07746‐2042
ANDREW FLEMING                              2257 BATES RD                                                                                         MOUNT MORRIS     MI    48458‐2603
ANDREW FORREST                              122 WALNUT STREET                                                                                     BERLIN           MA    01503‐1201
ANDREW FRANCIS                              699 HIGHLAND BLADE                           NEWMARKET ON                           L3X 1H1 CANADA
ANDREW FRAY                                 5564 OTTAWA PASS                                                                                      CARMEL          IN     46033‐2371
ANDREW FREDERICK JAVONAVICH                 15077 FAIRLANE                                                                                        LIVONIA         MI     48154‐5134
ANDREW G ANDREWS                            21725 SUNNYDALE                                                                                       ST CLAIR SHORES MI     48081‐2883
ANDREW G ANEMA                              625 CAMP RD                                                                                           COCOA           FL     32927‐4766
ANDREW G B SCHMIDT                          13015 AMESBURY COURT                                                                                  FENTON          MI     48430‐2502
ANDREW G BORRIES & BARBARA L BORRIES JT TEN 5 WHITE OAK DRIVE                                                                                     PORT WASHINGTON NY     11050‐4215

ANDREW G CONRAD                                   20341 ROOKERY DR                                                                                ESTERO           FL    33928‐3039
ANDREW G CUSSON                                   48905 WEST 9 MILE ROAD                                                                          NORTHVILLE       MI    48167‐9707
ANDREW G GABOW                                    38 HICKORY LANE                                                                                 W HARTFORD       CT    06107‐1134
ANDREW G GOLDBERG                                 19 HOPEMONT DR                                                                                  NEWPORT NEWS     VA    23606‐2146
ANDREW G GOLDEN                                   3135 MELDRUM RD                                                                                 CASCO            MI    48064‐1316
ANDREW G HAMILTON                                 41089 WYNDCHASE BLVD                                                                            CANTON           MI    48188‐1995
ANDREW G ISRAEL                                   4280 ARGUELLO ST                                                                                SAN DIEGO        CA    92103‐1506
ANDREW G ISRAEL CUST DAVID N ISRAEL UTMA CA       4280 ARGUELLO ST                                                                                SAN DIEGO        CA    92103‐1506

ANDREW G LEWIS                               5010 JUNIPER DR                                                                                      MISSION          KS    66205‐1254
ANDREW G MORRIS & ROGER L MORRIS JT TEN      14 MADISON AVE                                                                                       WAKEFIELD        MA    01880‐3914
ANDREW G NUGENT & DOROTHY S NUGENT TR NUGENT 211 S POE ST                                                                                         HARTSDALE        NY    10530‐1316
LIVING TRUST UA 12/14/94
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 143 of 850
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

ANDREW G PORTH & MARY SUZANNE PORTH TR PORTH 5905 FULTONS LANDING COURT                                                                       BURKE            VA    22015‐2567
FAMILY TRUST UA 08/24/05
ANDREW G REX                                 406 N 8TH ST                                                                                     MCCONNELSVILLE   OH    43756‐1155

ANDREW G SCHMIDT & CHARLOTTE A SCHMIDT JT TEN   13015 AMESBURY                                                                                FENTON           MI    48430‐2502

ANDREW G SPIROPOULOS                            1205 NW 19TH STREET                                                                           OKLAHOMA CITY    OK    73106‐4001
ANDREW G STOPCHINSKI                            32305 HAZELWOOD ST                                                                            WESTLAND         MI    48186‐8937
ANDREW G SUTHERLAND                             118 ORANGE ST                        WOODSTOCK NB                           E7M 2J9 CANADA
ANDREW G SUTHERLAND                             2016 CUMBERLAND AVENUE                                                                        PETERSBURG       VA    23805
ANDREW G TSALDARIS                              2502 BAYNARD BL 1                                                                             WILMINGTON       DE    19802‐2978
ANDREW G WELDING                                50770 WOODBURY WAY                                                                            GRANGER          IN    46530‐8407
ANDREW G WILSON & MARGARET B WILSON JT TEN      1268 GREENLEAF DR                                                                             ROCHESTER HLS    MI    48309‐1723

ANDREW G WILSON & MRS MARGARET B WILSON JT      1268 GREENLEAF DR                                                                             ROCHESTER HLS    MI    48309‐1723
TEN
ANDREW G WINTERS                                36 MANOR OAKS DR                                                                              MILLERSVILLE     PA    17551‐9504
ANDREW G XENOS                                  42 SMITH ST                                                                                   ROUSES POINT     NY    12979‐1608
ANDREW GARY MEADOWS                             327 PARK GLEN DR                                                                              MOUNT JULIET     TN    37122‐5612
ANDREW GARY POPELY                              1241 REUTER RANCH ROAD                                                                        ROSEVILLE        CA    95661‐6305
ANDREW GAVULA & MRS HELEN GAVULA JT TEN         53 LEIGH ST                                                                                   JOHNSON CITY     NY    13790‐1651
ANDREW GAVULA JR                                53 LEIGH ST                                                                                   JOHNSON CITY     NY    13790
ANDREW GAVULA SR                                53 LEIGH ST                                                                                   JOHNSON CITY     NY    13790‐1651
ANDREW GEBEL                                    616 WILLOW BEND DR                                                                            DAVIS JCT        IL    61020‐9437
ANDREW GERMANY                                  1025 ALEXANDRIA LN                                                                            CONYERS          GA    30094‐5699
ANDREW GILBERT                                  188 AIRPORT ST                                                                                KEYSER           WV    26726
ANDREW GLENN                                    111 STEPHENS STREET                                                                           LOCKPORT         NY    14094‐4231
ANDREW GORDON ERICKSON JR                       8470 SUNSET HILL RD                                                                           GREENOUTH        MT    59836‐9614
ANDREW GORSKI                                   1763 S DOVER POINTE RD                                                                        RICHMOND         VA    23238
ANDREW GRANT                                    5171 HARRY                                                                                    FLINT            MI    48505‐1769
ANDREW GRAVES                                   17193 GOLDWIN STREET                                                                          SOUTHFIELD       MI    48075‐7004
ANDREW GREGER                                   11902 WAPLES MILL RD                                                                          OAKTON           VA    22124
ANDREW GULACSIK                                 9615 BERKSHIRE STREET                                                                         NAPLES           FL    34109‐1601
ANDREW GUNTA                                    454 OLD BRIDGE TP                                                                             SOUTH RIVER      NJ    08882‐1470
ANDREW GUY JR                                   202 WAYPOINT CIR                                                                              HARVEST          AL    35749‐9613
ANDREW H ACCETTURO CUST CHRISTOPHER A           6840 SW 56TH CT                                                                               DAVIE            FL    33314‐7002
ACCETTURO UTMA FL
ANDREW H CRAWFORD                               1910 RAMSEY BLVD                                                                              FLINT            MI    48503‐4741
ANDREW H GREEN                                  54700 ELEVEN MILE ROAD                                                                        NEW HUDSON       MI    48165‐9761
ANDREW H HOLMES                                 3124 RIVIERE DU CHIEN LOOP W                                                                  MOBILE           AL    36693‐5421
ANDREW H HUNTER                                 25 LLOYD WAY                         APT C                                                    FORT BENNING     GA    31905‐9332
ANDREW H ISABELLA                               9 NOLAN AVE                                                                                   YONKERS          NY    10704‐2119
ANDREW H KAPLAN                                 39 NEWELL AVE                                                                                 PLATTSBURGH      NY    12901‐6418
ANDREW H KLEYA                                  380 W HARTFORD AVE                                                                            UXBRIDGE         MA    01569‐1122
ANDREW H POULOS & FREIDA M POULOS JT TEN        92 SPRING GARDEN ST                                                                           HAMDEN           CT    06517‐1914
ANDREW H SHOUN                                  405 CHERAKEE DR                                                                               GREENVILLE       SC    29615‐1615
ANDREW H WEISS                                  1016 SW SQUIRE JOHNS LN                                                                       PALM CITY        FL    34990‐7832
ANDREW H ZAK & MONICA ZAK JT TEN                41919 RIDGE ROAD E                                                                            NOVI             MI    48375‐2670
ANDREW HAGOOD JR                                705 CLEGG STREET                                                                              DAYTON           OH    45408‐2632
ANDREW HALL                                     5079 WOODCLIFF                                                                                FLINT            MI    48504‐1254
ANDREW HALTER                                   9925 BEDFORD DR                                                                               HUNTLEY          IL    60142‐2305
ANDREW HANKERSON                                747 FRONT ST                                                                                  WEYMOUTH         MA    02188‐1916
ANDREW HARSANYI                                 7228 TITONKA WAY                                                                              DERWOOD          MD    20855‐2663
ANDREW HARSFAI TR ANDREW HARSFAI REV LIVING     2141 UNIVERSITY BLVD                                                                          HOUSTON          TX    77030‐1218
TRUST UA 07/15/97
ANDREW HARTMAN                                  2514 EVANS AVE                                                                                LOUISVILLE       CO    80027‐1215
ANDREW HARTZELL                                 1193 64TH STREET                                                                              OAKLAND          CA    94618
ANDREW HAYNES                                   11629 PEACH GROVE LN                                                                          ORLANDO          FL    32821‐7918
ANDREW HEDRICK                                  3109 RUDDER LN APT B201                                                                       BLOOMINGTON      IL    61704‐8691
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                       Part 1 of 8 Pg 144 of 850
Name                                             Address1                               Address2                        Address3          Address4                 City              State Zip

ANDREW HIGGINS VAUXHALL MOTORS LTD               DIRECTOR AFTERSALES                    CEE CLUSTER SZABADSAG UTE 117   H 2040 BUDA ORS   BUDAPEST HUNGARY (REP)
ANDREW HOLLANDER                                 137 JAMES ST                                                                                                      KINGSTON          PA    18704‐5217
ANDREW HOLLON ABBOTT                             12300 APACHE AVE                       APT 412                                                                    SAVANNAH          GA    31419‐2344
ANDREW HOWARD                                    3254 W FULTON BLVD                                                                                                CHICAGO           IL    60624‐2011
ANDREW HOYSOCK                                   44‐L E BACON ST                                                                                                   PALO ALTO         PA    17901‐3902
ANDREW I LEMONS                                  251 MARLBOROUGH                                                                                                   DETROIT           MI    48215‐3134
ANDREW INES                                      1968 ZOE LN                                                                                                       MANTECA           CA    95336
ANDREW J ASHTON                                  5600 EZEKIEL PL                                                                                                   LINCOLN           NE    68516‐6394
ANDREW J AUMAN                                   120 WESTROCK FARM ROAD                                                                                            UNION             OH    45322‐2944
ANDREW J BACIK                                   7791 SILVER FOX TRAIL                                                                                             BOARDMAN          OH    44512‐5326
ANDREW J BANIK                                   10736 WOODRUN DR                                                                                                  STRONGSVILLE      OH    44136‐3777
ANDREW J BARTON CUST ANGELA BARTON UTMA CT       153 SOUTHDOWN DR                                                                                                  BRISTOL           CT    06010‐8946

ANDREW J BARTON CUST TAYLOR BARTON UTMA CT       153 SOUTHDOWN DR                                                                                                  BRISTOL           CT    06010‐8946

ANDREW J BARTON JR                               392 HICKORY DR                                                                                                    TROY              MI    48083‐1620
ANDREW J BRIGGS                                  130 EAST LINE ST                                                                                                  GENEVA            IN    46740
ANDREW J BRODER                                  2311 EAST NEWTON AVENUE                                                                                           SHOREWOOD         WI    53211‐2617
ANDREW J BROWN                                   1407 REDWOOD DR                                                                                                   PISCATAWAY        NJ    08854‐2050
ANDREW J CANNATA                                 5 UPLAND AVE                                                                                                      BOSTON            MA    02124‐2132
ANDREW J CHURILLA                                31205 BALMORAL                                                                                                    GARDEN CITY       MI    48135‐1984
ANDREW J CLARA                                   12165 HICKORY W                                                                                                   UTICA             MI    48315‐5839
ANDREW J CLARK & PHYLLIS A CLARK JT TEN          1226 62ND ST                                                                                                      DOWNERS GROVE     IL    60516‐1853
ANDREW J COOKSON                                 351 MAIN STREET                                                                                                   MANASQUAN         NJ    08736‐3140
ANDREW J CORVI & DOROTHY CORVI JT TEN            33‐46 92ND ST                                                                                                     JACKSON HEIGHTS   NY    11372‐1845

ANDREW J DAUBMAN                                 18 MARK VINCENT DR                                                                                                POUGHKEEPSIE      NY    12603‐3715
ANDREW J DEWHURST                                1012 DEER RUN DRIVE                                                                                               KOKOMO            IN    46901‐9770
ANDREW J DUNNE                                   3005 AVENUE N                                                                                                     BROOKLYN          NY    11210‐5410
ANDREW J EILERSTEN                               32 LANDMARK LANE                                                                                                  PITTSFORD         NY    14534‐1623
ANDREW J FARAH                                   4642 WHITE OAKS DRIVE                                                                                             TROY              MI    48098
ANDREW J FARMER                                  PO BOX 684                                                                                                        TAYLORS           SC    29687‐0014
ANDREW J FERGUS                                  801 33RD AVE SE                                                                                                   ALBANY            OR    97321‐4121
ANDREW J FLANAGIN                                509 E PEDREGOSA ST                                                                                                SANTA BARBARA     CA    93103‐1940
ANDREW J GALANT                                  2731 PLYMOUTH                                                                                                     SHELBY TWP        MI    48316‐4888
ANDREW J GEISENDORFER                            1518 BELLE MEAD                                                                                                   COPLEY            OH    44321‐1808
ANDREW J GOULETTE                                11 DEER RUN                                                                                                       YORK              ME    03909‐5223
ANDREW J GRAY                                    99 LAKEGREN DR                                                                                                    EATON             OH    45320
ANDREW J GUADAGNI III & AIMEE M J GUADAGNI JT    7841 RATTLE RUN RD                                                                                                COLUMBUS          MI    48063‐2113
TEN
ANDREW J HARRIS                                  428 W STEWART ST                                                                                                  DAYTON            OH    45408‐2049
ANDREW J HENCH                                   PO BOX 41790                                                                                                      HOUSTON           TX    77241‐1790
ANDREW J HILBERT                                 419 N MICHIGAN AVE                                                                                                HOWELL            MI    48843‐1505
ANDREW J HUNEYCUTT                               8828 E 3 CHOPT RD                                                                                                 RICHMOND          VA    23229‐4752
ANDREW J HYNSON                                  15 WANDIN ROAD                         CAMBERWELL                                        AUSTRALIA
ANDREW J JACKSON CUST TAYLOR A JACKSON UTMA TX   3006 DEVONSHIRE CV                                                                                                GERMANTOWN        TN    38139‐8061

ANDREW J JENKINS                                 2534 PALISADE DRIVE                                                                                               FORT WAYNE        IN    46806‐5317
ANDREW J JOHNSTONE                               PO BOX 9391                                                                                                       S LAKE TAHOE      CA    96158‐2391
ANDREW J JONES JR                                9123 RETREAT PASS                                                                                                 JONESBORO         GA    30236‐5290
ANDREW J KAY                                     4825 JACKSON COVE RD                                                                                              TALLAHASSEE       FL    32303‐8098
ANDREW J KMETZ TR UA 05/23/97 ANDREW J KMETZ     1874 CHESHIRE DR                                                                                                  CHEYENNNE         WY    82001
REVOCABLE TRUST
ANDREW J KRAJNICK                                10355 PULBROOK ROAD                    WINDSOR ON                                        N8R 1C2 CANADA
ANDREW J LABEDZ                                  3428 N BRAVO DR                                                                                                   BEVERLY HILLS     FL    34465‐4467
ANDREW J LOMONACO                                100 N INGRAHAM ST                                                                                                 NORWOOD           MO    65717
ANDREW J LONGO                                   937 AUGUSTA DR                                                                                                    YOUNGSTOWN        OH    44512‐7923
ANDREW J LONGO                                   14911 ROYAL PORT                                                                                                  SAN ANTONIO       TX    78247‐3058
ANDREW J LUND                                    4193 BAYBROOK                                                                                                     WATERFORD         MI    48329‐3877
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 145 of 850
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

ANDREW J MACHAK                                  133 BURNIAH LANE                                                                                LAKE ORION         MI    48362‐2060
ANDREW J MARCINKO                                1691 FAXON AVE                                                                                  MEMPHIS            TN    38112‐4952
ANDREW J MARCOTTE                                7067 SOUTH LN                                                                                   WILLOUGHBY         OH    44094
ANDREW J MAY III                                 877 E DAVIS DR                                                                                  FRANKLIN           IN    46131‐7680
ANDREW J MC CLAY                                 1515 GREEN HILL RD                                                                              COLLEGEVILLE       PA    19426‐1404
ANDREW J MC COMAS JR                             31090 FRANKLIN RD                                                                               FRANKLIN           MI    48025‐1351
ANDREW J MILLER                                  22615 W 46TH TER                                                                                SHAWNEE            KS    66226‐2449
ANDREW J MULHALL                                 158 GRAND STREET                                                                                CROTON‐ON‐         NY    10520‐2309
                                                                                                                                                 HUDSON
ANDREW J NADZAN JR                               22 CULEBRA AVE                                                                                  TOMS RIVER         NJ    08753‐4723
ANDREW J NEWCOMER                                1878 HUNTERS RIDGE DR                                                                           BLOOMFIELD HILLS   MI    48304‐1034

ANDREW J OLAY JR                               7423 NORTH GAIL RD                                                                                OTISVILLE          MI    48463
ANDREW J ORENSKY                               750 NW 23RD LN                                                                                    DELRAY BEACH       FL    33445‐2002
ANDREW J PACKER CUST JONATHAN D PACKER UGMA IA 42 GOODWIN CIR                                                                                    HARTFORD           CT    06105‐5207

ANDREW J PAGAN                                   701 ENGLISH IVY                                                                                 O FALLON           MO    63368‐7458
ANDREW J PETTIT                                  3012 MIDVALE AVE                                                                                PHILADELPHIA       PA    19129‐1028
ANDREW J PINKOWSKI & MARIE J PINKOWSKI JT TEN    604 BERWICK RD                                                                                  WILMINGTON         DE    19803‐2204

ANDREW J PLOESSL                                 835 BLUE SKY DR                        APT 203                                                  NORTH LIBERTY      IA    52317‐9036
ANDREW J POCSI                                   10470 S R 48 NORTH                                                                              COVINGTON          OH    45318‐9628
ANDREW J PULLO                                   8 HENDERSON ROAD                                                                                WOBURN             MA    01801‐5919
ANDREW J PUSZYKOWSKI                             131 S CHARLES                                                                                   SAGINAW            MI    48602‐2504
ANDREW J RASTALLIS                               139 NORTH MAIN ST                                                                               EAST GRANBY        CT    06026‐9728
ANDREW J RICHARDSON                              976 E LAKESIDE DR                                                                               EDGERTON           WI    53534‐8538
ANDREW J ROBERTS                                 SCHWANTHALERSTR 18                     FRANKFURT AM MAIN                      GERMANY
ANDREW J RYBICKI                                 8226 HIGHLAND RD                                                                                WHITE LAKE         MI    48386‐2013
ANDREW J SALVATORI                               RR2                                    HALIBURTON ON                          K0M 1S0 CANADA
ANDREW J SCHIEBERL                               1945 WILDER ST                                                                                  HASLETT            MI    48840‐8209
ANDREW J SCHIPKE                                 2 LOWBRIDGE PASSAGE                                                                             MEDFORD            NJ    08055‐3356
ANDREW J SCOPELLITI                              21 CAROL LANE                                                                                   SPOTSWOOD          NJ    08884‐1415
ANDREW J SHAY                                    36 W HILL VALLEY                                                                                INDIANAPOLIS       IN    46217‐4916
ANDREW J SHEPOSH                                 36436 CENTER COURT                                                                              WAYNE              MI    48184‐1117
ANDREW J SHERLAG                                 3726 CLEVELAND AVE                                                                              BROOKFIELD         IL    60513‐1510
ANDREW J SHERMAN                                 10914 NW 33 ST                         SUITE 115                                                MIAMI              FL    33172‐5028
ANDREW J SKAPINAC                                2101 WALLACE RD                                                                                 SOUTH PARK         PA    15129‐8952
ANDREW J SMOGER                                  1380 PAUL BLVD                                                                                  LAKE ORION         MI    48362‐3739
ANDREW J SOMERVILLE JR                           8120 WOODMONT AVE STE 106                                                                       BETHESDA           MD    20814‐2743
ANDREW J SOSA                                    2404 SNYDER AVENUE                                                                              MODESTO            CA    95356‐9542
ANDREW J STACY                                   5931 HWY 11 W                                                                                   JANESVILLE         WI    53545‐9298
ANDREW J STEFFEN CUST ANDREW L STEFFEN UTMA NJ   69 OAKWOOD COURT                                                                                FANWOOD            NJ    07023‐1163

ANDREW J STEWART JR                              2709 SUMMIT VIEW DR                                                                             BEDFORD            TX    76021‐4319
ANDREW J STRENG                                  75 EAST DEPEW AVE                                                                               BUFFALO            NY    14214‐1815
ANDREW J SZADY JR                                102 WILLIAM LANE                                                                                OAK RIDGE          TN    37830‐8647
ANDREW J SZADY JR & MRS MARIA A SZADY JT TEN     102 WILLIAM LANE                                                                                OAK RIDGE          TN    37830‐8647

ANDREW J TACK JR & MRS MARY E TACK JT TEN        53 FOXWOOD RUN                                                                                  MIDDLETOWN         NJ    07748‐2431
ANDREW J TAYLOR III                              12369 E BURT RD                                                                                 BIRCH RUN          MI    48415‐9320
ANDREW J TOWNS                                   15030 WARWICK ST                                                                                DETROIT            MI    48223‐2272
ANDREW J VOLK                                    3508 92ND CT NE                                                                                 CIRCLE PINES       MN    55014‐3821
ANDREW J WALKER                                  422 OGDEN ST                                                                                    SOMERSET           KY    42501‐1767
ANDREW J WATSON                                  2639 ODUM ST                                                                                    SNELLVILLE         GA    30078‐3446
ANDREW J WATSON & MAUDE WYNELLE WATSON JT        2639 ODUM ST                                                                                    SNELLVILLE         GA    30078‐3446
TEN
ANDREW J WELLS                                   2667 ROLAND ROAD                                                                                WHITESBORO         TX    76273‐4574
ANDREW J WILLIAMS                                1019 JOHNSON ST                                                                                 SAGINAW            MI    48607‐1464
ANDREW J WILLIAMS                                2903 LAYTON RD                                                                                  ANDERSON           IN    46011‐4538
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 146 of 850
Name                                           Address1                               Address2               Address3        Address4                 City            State Zip

ANDREW J WINER                                  130 N KENSICO AVE                     APT 2                                                           WHITE PLAINS    NY    10604
ANDREW J WORTH                                  126 FENNERTON RD                                                                                      PAOLI           PA    19301‐1107
ANDREW J YURKO                                  950 MAPLE AVENUE                                                                                      BOARDMAN        OH    44512‐6121
ANDREW J ZUCARO CUST DONALD A ZUCARO UNDER U‐ 28 SHERWOOD DOWNS                                                                                       PARK RIDGE      NJ    07656‐2603
G‐M ACT NJ
ANDREW J ZUCARO CUST JENNIFER A ZUCARO UNDER U‐ 28 SHERWOOD DOWNS                                                                                     PARK RIDGE      NJ    07656‐2603
G‐M ACT NJ
ANDREW J ZUCARO CUST KATHERINE LEE ZUCARO       28 SHERWOOD DOWNS                                                                                     PARK RIDGE      NJ    07656‐2603
UNDER U‐G‐M ACT NJ
ANDREW J ZUSI                                   119 PINEHURST DR                                                                                      NEW BERN        NC    28562‐2942
ANDREW JAMES                                    1202 CHESTNUT ST                                                                                      VICKSBURG       MS    39183‐2710
ANDREW JAMES COOK                               2508 OAKWOOD                                                                                          GREEN BAY       WI    54301
ANDREW JAMES DOMINIANNI                         5469 EARLINGTON PKWY                                                                                  DUBLIN          OH    43017‐2429
ANDREW JAMES TEIMAN                             17492 BELL PORT CIR                                                                                   HUNTINGTON      CA    92649‐4701
                                                                                                                                                      BEACH
ANDREW JEFFERSON COX                           2029 LAKEVIEW AVENUE                                                                                   ROCKY RIVER     OH    44116‐2415
ANDREW JOHN SEKORA & JANE S SEKORA JT TEN      3626 THEISEN                                                                                           GAYLORD         MI    49735‐9261
ANDREW JOHN SOURLIS                            11605 34TH PLACE                                                                                       BELTSVILLE      MD    20705‐2702
ANDREW JOHN YUHAS                              1016 ETON WAY                                                                                          NEPTUNE         NJ    07753‐4360
ANDREW JOHNSON                                 621 NORTH 52ND ST                                                                                      EAST ST LOUIS   IL    62203‐1004
ANDREW JOHNSON                                 5612 N STONEWALL DR                                                                                    OKLAHOMA CITY   OK    73111‐6734
ANDREW JOHNSON JR                              C/O ANNIE D JOHNSON                    3306 MACKIN ROAD                                                FLINT           MI    48504‐3287
ANDREW JOLLEY                                  STONEWALL HOUSE FOSTERS BOOTH          TOWCESTER NORTHANTS                    NN12 8LG GREAT BRITAIN
ANDREW JONES                                   4251 STONE MOUNTAIN DR                                                                                 CHINO HILLS     CA    91709‐6155
ANDREW JOSEPH LIPINSKI                         2482 KIRKLAND DR                                                                                       GRAYLING        MI    49738‐7242
ANDREW JOSEPH OLAY                             JULIA OLAY                             5444 LIPPINCOTT BLVD                                            BURTON          MI    48519‐1250
ANDREW K ANSPACH                               6117 HABER DRIVE                                                                                       FORT WAYNE      IN    46809‐9735
ANDREW K CARRIVEAU                             3707 ACADEMY                                                                                           DEARBORN        MI    48124‐3328
ANDREW K GEYER                                 1143 KINGS WAY                                                                                         NOKOMIS         FL    34275
ANDREW K JUENGER                               15410 NE 198TH ST                                                                                      WOODINVILLE     WA    98072
ANDREW K RAMSAY III & NANCY C RAMSAY JT TEN    43716 VINEYARD TERR                                                                                    ASHBURN         VA    20147‐5618
ANDREW KABELIS                                 16 JULIE ST                                                                                            SHELTON         CT    06484‐2413
ANDREW KABELIS CUST MATTHEW KABELIS UTMA CT    16 JULIE ST                                                                                            SHELTON         CT    06484‐2413
UNIF TRAN MIN ACT
ANDREW KACHMARIK                               9233 INDEPENDENCE BLVD                                                                                 PARMA HEIGHTS   OH    44130‐4781
ANDREW KAHN CUST MICHAEL PAUL KAHN UGMA NY     5 LAKEWOOD LANE                                                                                        LARCHMONT       NY    10538‐1011

ANDREW KALTER                                  201 PLEASAND VALLEY ROAD POB 383                                                                       S FALLSBURG      NY   12779
ANDREW KASPARAITIS                             2630 VALE COURT                                                                                        DOWNERS GROVE IL      60516‐2122
ANDREW KAVLESKI                                604 LT BRENDER HWY                                                                                     FERNDALE         NY   12734‐5509
ANDREW KINNEAR                                 39548 FREMONT BLVD                     APT 106                                                         FREMONT          CA   94538‐2169
ANDREW KOFMAN                                  145 E84TH STREET                       APARTMENT 9A                                                    NEW YORK         NY   10028‐2093
ANDREW KOHUT                                   1058 N LESLEY                                                                                          INDIANAPOLIS     IN   46219‐3138
ANDREW KOLEMBA                                 106 WAPITI DR                                                                                          AZLE             TX   76020‐1454
ANDREW KONESSNY                                218‐27 36TH AVE                                                                                        BAYSIDE          NY   11361‐2253
ANDREW KONSOL JR                               1793 OHLTOWN MCDONALD ROAD                                                                             NILES            OH   44446‐1361
ANDREW KORSNAK JR                              5029 EVERGREEN DRIVE                                                                                   NORTH OLMSTED    OH   44070‐3073
ANDREW KOSCHO‐JR                               115 COUNTRY LANE                                                                                       BRISTOL          CT   06010‐2520
ANDREW KOZAN                                   44724 RIVERGATE DR                                                                                     CLINTON TOWNSHIP MI   48038‐1382

ANDREW KVARTEK                                 121 REDWOOD AVE                                                                                        EDISON          NJ    08817‐4323
ANDREW L BAKER                                 2214 FRUEH ST                                                                                          SAGINAW         MI    48601‐4120
ANDREW L BAXTER                                7803 MALLARD WAY                                                                                       INDIANAPOLIS    IN    46256‐1710
ANDREW L BUCZKO                                1 LOVERS LANE                                                                                          BLOOMVILLE      OH    44818‐9402
ANDREW L CARSON                                3535 PINGREE AVE                                                                                       FLINT           MI    48503‐4544
ANDREW L CHERN                                 110 POSTWOOD PL                                                                                        NASHVILLE       TN    37205‐1604
ANDREW L CLARK                                 7712 NE 53RD TERR                                                                                      KANSAS CITY     MO    64119‐4075
ANDREW L DOWD JR                               909 LIND ST                                                                                            JOLIET          IL    60432‐1437
ANDREW L EASTRIDGE                             4890 W GOODEMOTE RD                                                                                    LAKE ODESSA     MI    48849‐9733
                                           09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                Part 1 of 8 Pg 147 of 850
Name                                         Address1                            Address2             Address3          Address4          City             State Zip

ANDREW L FISHER & EVA D FISHER JT TEN        10 LOTT PLACE                                                                                KETTERING        OH    45420‐2924
ANDREW L FOGG                                4884 GRAY ST                                                                                 DETROIT          MI    48215‐2043
ANDREW L FOSTER & EMILY A FOSTER JT TEN      6021 CHEVIGNY 16A                                                                            ANCHORAGE        AK    99502‐2075
ANDREW L FUGATE                              224 N HAWKINS ST                                                                             ROGERSVILLE      TN    37857‐2723
ANDREW L GRIFFIN                             1480 S BOULDER STREET               UNIT C                                                   GILBERT          AZ    85296
ANDREW L HAMM                                12802 NEW PARKLAND DRIVE                                                                     HERNDON          VA    20171‐2687
ANDREW L HARVAN                              601 E PATTERSON                                                                              LANSFORD         PA    18232‐1612
ANDREW L HOSMER                              1880 HAYES                                                                                   MARNE            MI    49435‐9754
ANDREW L MACDONALD                           2111 JENNY LIND ST                                                                           MC KEESPORT      PA    15132‐4444
ANDREW L MACKEY                              19645 RENFREW RD                                                                             DETROIT          MI    48221‐1891
ANDREW L MC CLAIN JR                         310 S ARTESIAN AVE                                                                           CHICAGO          IL    60612‐2934
ANDREW L MCDANIEL                            12046 IRONWOOD                                                                               OTISVILLE        MI    48463‐9760
ANDREW L OLTMANNS                            56 LYNN DRIVE                                                                                ENGLEWOOD CLIFFS NJ    07632‐2205

ANDREW L ROSE                                35315 GOSLING LN                                                                             LOCUST GROVE     VA    22508‐2186
ANDREW L ROSS                                943 MCCLEARY STREET                                                                          DELRAY BEACH     FL    33483‐4966
ANDREW L SCOTT JR                            6202 ROBIN HILL RD                                                                           BALTIMORE        MD    21207‐6260
ANDREW L SHASHLO                             173 KINGSWOOD DR                                                                             PARKERSBURG      WV    26104‐9602
ANDREW L STRONGRICH                          1865 WILSON AVE                                                                              SAGINAW          MI    48638
ANDREW L SWANSON                             5231 VILLAGE DR SW 145                                                                       WYOMING          MI    49509‐5147
ANDREW L WARD                                2920 GARDENTOWN DR SW               APT 10                                                   WYOMING          MI    49519‐2668
ANDREW L WILLIAMS                            371 ELIZABETH LAKE RD                                                                        PONTIAC          MI    48341
ANDREW L WINFREE                             43239 ROUTE 20 EAST                                                                          OBERLIN          OH    44074‐9588
ANDREW L WOODS JR                            1215 DAKOTA ST                                                                               FARRELL          PA    16121‐1203
ANDREW LADIKA & MARGARET C LADIKA JT TEN     3951 RIVER LN                                                                                ROCKY RIVER      OH    44116‐3824
ANDREW LARSON GIBSON JR                      4275 W FARRAND ROAD                                                                          CLIO             MI    48420‐8244
ANDREW LASLEY                                21238 CUNION CT                                                                              NOBLESVILLE      IN    46060‐7445
ANDREW LEE WOLFF                             2512 PEGASUS LANE                                                                            RESTON           VA    20191‐4227
ANDREW LEIGH GROBMYER                        117 WESTOVER DRIVE                                                                           NASHVILLE        TN    37205‐3714
ANDREW LEMIEUX                               PO BOX 523                                                                                   MERIDITH         NH    03253‐0523
ANDREW LEONARD DRAPER                        5260 W FOSTER AVE                   APT 2                                                    CHICAGO          IL    60630‐2499
ANDREW LILLY                                 738 E LYNDON AVE                                                                             FLINT            MI    48505‐2954
ANDREW LILLY HIGHFILL                        523 HERMITAGE COURT                                                                          CHARLOTTE        NC    28207‐1413
ANDREW LINN                                  427 CRESCENT RD                                                                              WYNCOTE          PA    19095‐1717
ANDREW LIPUT                                 19 CREST AVE                                                                                 PENNINGTON       NJ    08534
ANDREW LITAVEC                               7019 COLEMAN                                                                                 DEARBORN         MI    48126‐1726
ANDREW LIYANA                                102 LOCH LEVEN WAY                                                                           HENDERSONVILLE   TN    37075‐7702
ANDREW LORD BROWNE                           3623 BARCLAY DOWNS DR                                                                        CHARLOTTE        NC    28209
ANDREW LOW DON JR                            10 HARBOR VIEW RD                                                                            SCITUATE         MA    02066‐3405
ANDREW LOWISZ                                2121 GOLF CREST DR                                                                           MILFORD          MI    48382‐1257
ANDREW LOZIER                                3811 N LINCOLN AVE                  APT 2                                                    CHICAGO          IL    60613‐5879
ANDREW LUBRANO JR                            216 ROSEEVELT AVE                                                                            MINEOLA          NY    11501‐2922
ANDREW LUTEN                                 5817 MARTEL AVE                                                                              DALLAS           TX    75206‐5705
ANDREW M APPEL                               12 MORNINGSIDE DR                                                                            SUCCASUNNA       NJ    07876‐1522
ANDREW M BALL                                334 SHORE DRIVE                                                                              ELLENTON         FL    34222‐2026
ANDREW M BARCLAY                             71 LIBERTY ST                                                                                ACTON CENTER     MA    01720‐3545
ANDREW M BODE                                4120 PRESCOTT AVE                   102                                                      DALLAS           TX    75219
ANDREW M CAPRON JR IN TRUST FOR ANTHONY      100 W LAKESHORE DR                                                                           CARRIERE         MS    39426‐7906
MICHAEL CAPRON
ANDREW M CERNY                               3012 N PARK AVE EXT                                                                          WARREN           OH    44481‐9365
ANDREW M CHUDOBA                             412 ALLENTOWN ROAD                                                                           SOUDERTON        PA    18964‐2104
ANDREW M COLE                                2504 VT RT 12                                                                                WOODSTOCK        VT    05091‐8174
ANDREW M COLE & JERRI C COLE TEN ENT         2504 VT RT 12                                                                                WOODSTOCK        VT    05091‐8174
ANDREW M CRAIG                               1674 HEATHSIDE CRESENT              PICKERING ON                           L1V 5V6 CANADA
ANDREW M CROFTCHECK                          38 GALE RD                                                                                   CAMP HILL        PA    17011‐2619
ANDREW M DAVIS                               1817 BALDWIN FARMS DR                                                                        MARIETTA         GA    30068‐1557
ANDREW M DIERINGER                           72765F MESQUITE COURT                                                                        PALM DESERT      CA    92260‐5324
ANDREW M DIFEO                               256 SYCMORE AVE                                                                              SHREWSBURY       NJ    07702‐4509
ANDREW M FRAZEE                              1232 CADMUS DR                                                                               TROY             MI    48085‐1217
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 148 of 850
Name                                           Address1                              Address2             Address3          Address4          City             State Zip

ANDREW M HARRIS                                1141 SKYLINE DR                                                                                TACOMA           WA    98406‐1823
ANDREW M KNOTT                                 646 RATON PASS                                                                                 MIAMISBURG       OH    45342‐2227
ANDREW M KUZMIAK                               962 LINCOLN HEIGHTS AVE                                                                        EPHRATA          PA    17522‐1542
ANDREW M LANG                                  103 SUNKEN MEADOW RD                                                                           FT SALONGA       NY    11768‐2726
ANDREW M LAX CUST DAVID LAX UTMA NY            645 WEST END AVENUE                   APT 9E                                                   NEW YORK         NY    10025
ANDREW M LOBSENZ                               300 COLLINGWOOD AVE                                                                            FAIRFIELD        CT    06825‐1821
ANDREW M MANCE                                 1127 GROVE AVE                                                                                 ROYAL OAK        MI    48067‐1451
ANDREW M MANCE & SUSAN B MANCE JT TEN          1127 GROVE AVE                                                                                 ROYAL OAK        MI    48067‐1451
ANDREW M MARK & MRS SARAH A MARK JT TEN        306 2ND ST                                                                                     BELVIDERE        NJ    07823‐1518
ANDREW M MARTINEZ                              1170 WINTER GREEN                                                                              HOLLAND          MI    49424‐2508
ANDREW M MASCELLA                              5263 MELODY LANE                                                                               WILLOUGHBY       OH    44094‐4315
ANDREW M MICHELAKIS                            1787 WALNUT HEIGHTS DR                                                                         EAST LANSING     MI    48823‐2945
ANDREW M PARADISO                              119 LASOLIS DR                                                                                 ROCHESTER        NY    14626‐4318
ANDREW M PETRELLA                              2930 SPARTACUS DRIVE                                                                           GRAND PRAIRIE    TX    75052‐8000
ANDREW M PHILLIPS                              REAR 309 2ND AVE                                                                               JESSUP           PA    18434
ANDREW M REPASKY                               424 ATWOOD ST NW                                                                               WARREN           OH    44483‐2119
ANDREW M ROTH                                  3544 FAWNRUN DR                                                                                CINCINNATI       OH    45241‐3832
ANDREW M SCHOKA                                11009 HOWLAND DR                                                                               RESTON           VA    20191
ANDREW M SVEC                                  APT 8006                              600 GRAND AVE W      CHATHAM ON        N7L 4E3 CANADA
ANDREW M VALROSA & CELIA VALROSA JT TEN        37 BIRCHWOOD PARK DR                                                                           SYOSSET          NY    11791‐6418
ANDREW M VANDERPLOEG                           138 LAKEVIEW DRIVE                                                                             MULBERRY         FL    33860‐8319
ANDREW M VOTEDIAN & FRANCINE D VOTEDIAN JT TEN 1305 MARTHA ST                                                                                 MUNHALL          PA    15120‐2053

ANDREW M ZERKLE                                133 LYNNVIEW CT                                                                                MCDONOUGH        GA    30252‐5758
ANDREW MACKIE                                  185 APOLLO CR                                                                                  FLUSHING         MI    48433‐9323
ANDREW MACKIE & KATHRYN J MACKIE JT TEN        185 APOLLO CR                                                                                  FLUSHING         MI    48433‐9323
ANDREW MAIORANA & OLIVIA MAIORANA JT TEN       31215 NEWPORT DRIVE                                                                            WARREN           MI    48093‐1834
ANDREW MALDONADO                               100 CEDAR ST A‐40                                                                              DOBBS FERRY      NY    10522‐1019
ANDREW MARGOLIUS                               2720 DRYDEN RD                                                                                 SHAKER HEIGHTS   OH    44122‐2702
ANDREW MARK                                    720 MAIN STREET                                                                                SIMPSON          PA    18407‐1246
ANDREW MARK SCHWARZ                            555 N LIVE OAK AVE                                                                             GLENDORA         CA    91741‐2808
ANDREW MARSHALL                                16565                                                                                          RIVERSIDE        CA    92506
ANDREW MARTIN KUZMIAK                          962 LINCOLN HEIGHTS AVE                                                                        EPHRATA          PA    17522‐1542
ANDREW MARTIN LERNER                           1008 CAROLYN AVE                                                                               SAN JOSE         CA    95125‐4307
ANDREW MARZETT                                 20251 BURGESS                                                                                  DETROIT          MI    48219‐1366
ANDREW MASONE CUST DOMINIC STEUDE MASONE       72 NELSON DRIVE                                                                                CHURCHVILLE      PA    18966‐1543
UTMA CA
ANDREW MCTAGGART                               PO BOX 886                                                                                     LAKE ARROWHEAD   CA    92352‐0886

ANDREW MIKLOSIK                             455 CUNNINGHAM AVE                       OSHAWA ON                              L1J 3C1 CANADA
ANDREW MOEDER                               1060 WHITTIER DR                                                                                  E LANSING        MI    48823‐2470
ANDREW MONKS                                667 COUNTY ROAD 22                                                                                PACHUTA          MS    39347
ANDREW MOORE                                213 SOUTH GRANT ST                                                                                CLYDE            KS    66938‐9461
ANDREW MORELLI JR                           6109 YARMOUTH DR                                                                                  SHELBY TWP       MI    48316‐3373
ANDREW N ALEXANDER                          23322 SHANNONDELL DRIVE                                                                           AUDUBON          PA    19403‐5672
ANDREW N DELLA VECCHIA                      10 BENEDICT ST                                                                                    TERRYVILLE       CT    06786‐5522
ANDREW N FENNELL                            120 COMPTON RD                                                                                    ROCKMART         GA    30153‐4951
ANDREW N GRUNEWALD CUST ROBERTA L GRUNEWALD 2918 CULVER LANE                                                                                  WEST CHICAGO     IL    60185‐6187
UTMA IL
ANDREW N LYPKA CUST JESSICA C LYPKA UTMA MI 45713 JASLYN LANE                                                                                 NOVI             MI    48374

ANDREW N MARKO & MRS LYNNE ANN MARKO JT TEN    13302 CRANE RIDGE DR                                                                           FENTON           MI    48430‐1083

ANDREW N SABOW                                 4622 MICHELLE SOUTH                                                                            SAGINAW          MI    48601‐6631
ANDREW N WESA                                  826 NORTH WILSON                                                                               ROYAL OAK        MI    48067‐2046
ANDREW NAGLE                                   233 FOREST RD                                                                                  MAHOPAC          NY    10541‐1113
ANDREW NEAL MACDONALD                          502 WHITE PINE DR                                                                              CADILLAC         MI    49601‐8505
ANDREW NESTOR JR & HARRIET C NESTOR JT TEN     638 FIVE POINT‐RICHMOND RD                                                                     BANGOR           PA    18013
ANDREW NEVIL WISE                              1978 DOROTHEA                                                                                  BERKLEY          MI    48072‐1867
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 149 of 850
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

ANDREW NORTHERN                                  5222 BIG BEND DR                                                                                 DAYTON           OH    45427‐2715
ANDREW NORTHRUP                                  93 GOLFVIEW CRESCENT                    DUNDAS ON                              L9H 6T5 CANADA
ANDREW O MACKEY                                  1325 WILSON AVE                                                                                  CHAMBERSBURG     PA    17201‐1333
ANDREW O MOORE                                   12767 ROCKY CREEK DR                                                                             PICKERINGTON     OH    43147‐7868
ANDREW ORANSKY & ELISSA ORANSKY JT TEN           21242 BISHOP                                                                                     MISSION VIEJO    CA    92692‐4063
ANDREW OSBORN                                    4812 90TH ST                                                                                     MONTEZUMA        IA    50171‐8466
ANDREW OUVRIER CUST BLAKE OUVRIER UTMA CA        11845 HIGHWATER AVE                                                                              GRANADA HILLS    CA    91344‐2106

ANDREW OUVRIER CUST PARKER OUVRIER UTMA CA       11845 HIGHWATER AVE                                                                              GRANADA HILLS    CA    91344‐2106

ANDREW P BIGGS                                   PO BOX 405D                                                                                      CECILTON         MD    21913‐0405
ANDREW P BODNAR                                  9350 S WESTERN AVE                                                                               OKLAHOMA CITY    OK    73139‐2729
ANDREW P BOKROS III                              3705 KAREN DRIVE                                                                                 MINERAL RIDGE    OH    44440‐9302
ANDREW P BRYS                                    38 COLUMBUS AVE                                                                                  MIDDLETOWN       CT    06457‐2648
ANDREW P BUTTERWORTH                             5270 PAULA CREST                                                                                 COMMERCE TWP     MI    48382‐1058
ANDREW P COBIANCHI                               428 MILLSTONE CIR                                                                                FLORENCE         SC    29505‐3923
ANDREW P FORD & LAUREN RENEE FORD JT TEN         135 COLDSTREAM RD                                                                                PHOENIXVILLE     PA    19460‐2003
ANDREW P HUBBELL                                 2459 NIELSEN                                                                                     MUSKEGON         MI    49445‐1615
ANDREW P KOWALOW                                 70 PEARL STREET                                                                                  BUFFALO          NY    14224‐1718
ANDREW P KRISTICH                                572 AUBURN AVENUE                                                                                BUFFALO          NY    14222‐1324
ANDREW P LANDERS                                 7202 TUNBRIDGE DR                                                                                NEW ALBANY       OH    43054‐8309
ANDREW P MASINO & FRANCINE MASINO JT TEN         40 LESLIE LANE                                                                                   SMITHTOWN        NY    11787‐2352
ANDREW P PELLGRINO & ANDREA W PELLGRINO JT TEN   1509 VERNO RD                                                                                    BLUE BELL        PA    19422‐3525

ANDREW P RENGARTS & ROBERTA S RENGARTS TEN ENT 12350 DAD'S DESIRE LN                                                                              WORTON           MD    21678‐1623

ANDREW P RIPBERGER                               8747 W 10TH ST                                                                                   INDIANAPOLIS     IN    46234‐2129
ANDREW P SCITTINE                                9959 DRURY LANE                                                                                  WESTCHESTER      IL    60154‐3747
ANDREW P SHIELDS                                 2102 LARGO ROAD                                                                                  WILMINGTON       DE    19803‐2308
ANDREW P SHOWS SR & LUCY MAY SHOWS JT TEN        5510 ADLEIGH AVE                                                                                 BALTIMORE        MD    21206‐3618

ANDREW PATON                                     7821 LAKE AVE APT 411                                                                            CLEVELAND        OH    44102‐6401
ANDREW PATTERSON DUNCAN                          150 W OKLAHOMA ST                                                                                TUCSON           AZ    85714‐3033
ANDREW PAUL GODISH                               1409 OAK ST                                                                                      OAKMONT          PA    15139‐1013
ANDREW PAUL WHITE                                42 CROXTETH WAY                         WANTIRNA VIC                           3152 AUSTRALIA
ANDREW PELEKIS                                   15 OWATONNA ST                                                                                   HAWORTH          NJ    07641‐1810
ANDREW PETRICK                                   781 HARNED ST                                                                                    PERTH AMBOY      NJ    08861‐1701
ANDREW PETSAKOS                                  364 TOD AVE S W                                                                                  WARREN           OH    44481
ANDREW PITTS                                     39 WATERWHEEL CIR                                                                                DOVER            DE    19901‐6261
ANDREW POLADIAN & ALIS L POLADIAN JT TEN         727 N ROSEVERE                                                                                   DEARBORN         MI    48128‐1777
ANDREW POLISKY                                   1601 3RD AVE APT 17B                                                                             NEW YORK         NY    10120‐3455
ANDREW PORTER                                    449 SILVER CHIEF PLACE                                                                           DANVILLE         CA    94526‐4933
ANDREW PORTER JR                                 932 BROOKLEY BLVD                                                                                TOLEDO           OH    43607‐3045
ANDREW PREGO                                     93 GARFIELD AVE                                                                                  COLONIA          NJ    07067‐2220
ANDREW PREKOPA                                   44 DOVER PARKWAY N                                                                               STEWART MANOR    NY    11530
ANDREW PRINSTER III                              992 ‐ 23 ROAD                                                                                    GRAND JUNCTION   CO    81505‐9618

ANDREW PYLYPYSHYN                                400 LAKE PARK DR                                                                                 MYRTLE BEACH     SC    29588‐6816
ANDREW R ANDERSON                                214 BROOKTONDALE RD                                                                              BROOKTONDALE     NY    14817‐9513
ANDREW R ARCARO                                  26844 N TOURMALINE DR                                                                            HEBRON           MD    21830‐2105
ANDREW R BILYK                                   8913 DENNE                                                                                       LIVONIA          MI    48150‐3944
ANDREW R BUCKI                                   105 S LEXINGTON DR                                                                               JANESVILLE       WI    53545‐4319
ANDREW R CAMERON                                 142 NORTH SMITH RD                                                                               LAGRANGEVILLE    NY    12540‐5303
ANDREW R CRANE                                   7145 ANN RD                                                                                      CASEVILLE        MI    48725‐9756
ANDREW R DASSIE                                  35 REDPATH DR                           NEPEAN ON                              K2G 6E4 CANADA
ANDREW R DAYS                                    8201 HAMPDEN LANE                                                                                BETHESDA         MD    20817‐6731
ANDREW R DOMBROSKI                               19 KELLY COURT                                                                                   HAMILTON         NJ    08690‐3617
ANDREW R FALLS                                   3701 FAWN TRL                                                                                    JUPLIN           MO    64804‐6027
ANDREW R FINK                                    21 DAWSON AVE                                                                                    WEST ORANGE      NJ    07052‐2307
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 150 of 850
Name                                             Address1                             Address2             Address3          Address4           City             State Zip

ANDREW R GILSON VAUXHALL MOTORS LTD              GRIFFIN HOUSE OSBORNE RD             LUTON BEDS LU1                         GREAT BRITAIN
ANDREW R HUNT                                    905 MANSION DR                                                                                 HOPEWELL         VA    23860‐1923
ANDREW R INZENGA                                 3137 MCCLENDON CT                                                                              BATON ROUGE      LA    70810‐8376
ANDREW R JARETT                                  3122 ANTELOPE SPRINGS RD                                                                       NORTHBROOK       IL    60062‐3318
ANDREW R JENSEN                                  10485 CRABB RD                                                                                 TEMPERANCE       MI    48182‐9347
ANDREW R KANAPKY & ISABELLE S KANAPKY JT TEN     6001 RICHMOND RD                                                                               SOLON            OH    44139‐2123

ANDREW R KANO CUST LYNDY ANN KANO UTMA HI        1344 AINAKOA AVE                                                                               HONOLULU         HI    96821‐1110

ANDREW R KANO CUST RONALD Y KANO UTMA HI         1344 AINAKOA AVE                                                                               HONOLULU         HI    96821‐1110
ANDREW R KATZANEK                                21 DELAWARE AVE                                                                                CUMBERLAND       RI    02864‐5726
ANDREW R KHULA                                   22000 27 MILE RD                                                                               RAY              MI    48096‐3801
ANDREW R KOVAK TR ANDREW R KOVAK TRUST UA        1340 MAHONING AVE NW                 UNIT 112                                                  WARREN           OH    44483‐2085
02/03/99
ANDREW R MACDONALD                               6243 BANNING RD                                                                                CINCINNATI       OH    45239‐6641
ANDREW R MATYAS                                  149 SEADARER LANE                                                                              BERLIN           MD    21811
ANDREW R MAYER III                               222 RHONDEL DRIVE                                                                              ST THOMAS        PA    17252‐9644
ANDREW R PALKO & BARBARA PALKO JT TEN            22571 PARK                                                                                     DEARBORN         MI    48124‐2739
ANDREW R PEEBLES II                              1342 W 6TH STREET                                                                              WILMINGTON       DE    19805‐3216
ANDREW R PIERCE                                  638 N MCKINLEY RD                    LOT 47                                                    FLUSHING         MI    48433‐1376
ANDREW R ROBERTS                                 81 BULL RUN RD                                                                                 WALES            ME    04280‐3112
ANDREW R ROGERS                                  10759 TEA OLIVE LN                                                                             BOCA RATON       FL    33498‐4844
ANDREW R SMITH SR                                3449 FINESSE DR                                                                                DECATUR          GA    30032‐7213
ANDREW R SPEAR                                   19 GARDEN DR                                                                                   FAIRPORT         NY    14450‐2332
ANDREW R SPENCER                                 124 WOODGATE TERR                                                                              ROCHESTER        NY    14625‐1735
ANDREW R YENZER                                  1819 KNOWLTON ST                                                                               SIERRA VISTA     AZ    85635‐1462
ANDREW R YOUNG                                   674 ABERDEEN RUN                                                                               THE VILLAGES     FL    32162‐4402
ANDREW RAWLINS                                   216 ROSE ST                                                                                    IRVINE           KY    40336‐1145
ANDREW REDDEN                                    3771 SENTIENL HEIGHTS                                                                          LAFAYETTE        NY    13084‐9780
ANDREW RESTIVO                                   72 CEDAR ST                                                                                    EAST HANOVER     NJ    07936‐3029
ANDREW RICHARD STANLEY                           420 N SIERRA BONITA AVE                                                                        LOS ANGELES      CA    90036‐2408
ANDREW ROBERSON                                  211 MONTAGUE PLACE                                                                             SOUTH ORANGE     NJ    07079‐2128
ANDREW ROBERT BUTLER                             SOUS LA PAS                          LA PLAGNE            74360 ABONDANCE   FRANCE
ANDREW ROBERT HOFFMAN                            5136 BECHT RD                                                                                  COLOMA           MI    49038‐9580
ANDREW ROBERT MINETT                             PO BOX 58                            MATAMATA                               2271 NEW ZEALAND
ANDREW ROBERT SLEPETSKI                          7746 PAINT CREEK DR                                                                            YPSILANTI        MI    48197‐6139
                                                                                                                                                TOWNSHIP
ANDREW ROBINSON YOUNG                            91 BREWSTER RD                                                                                 NEEDHAM          MA    02194‐3300
ANDREW ROBSON CUST GEOFFREY ROBSON UGMA NY       10833 N NELSON RD                                                                              NORTHPORT        MI    49670‐9515

ANDREW ROHACEK JR                                333 ELM                                                                                        TALLMADGE        OH    44278‐2435
ANDREW ROMANOWSKI                                4675 SW TRAIL RD                                                                               TUALATIN         OR    97062‐7784
ANDREW ROSS JR                                   3419 EAST 45TH TERRACE                                                                         KANSAS CITY      MO    64130‐2045
ANDREW S BURZYNSKI                               1107 WEBSTER                                                                                   BAY CITY         MI    48708‐8331
ANDREW S CLARK                                   1690 GEORGE TOWNE BLVD                                                                         SARASOTA         FL    34232‐2008
ANDREW S CROSSLEY JR & CAROL B CROSSLEY JT TEN   725 S HARMONY ROAD                                                                             NEWARK           DE    19713‐3342

ANDREW S DECKER                                  237 MAIN ST                                                                                    LOPEZ            PA    18628
ANDREW S EISENBERG                               32 PLENNERT RD                                                                                 FLEMINGTON       NJ    08822‐1907
ANDREW S GOODMAN                                 10101 THREAVE RD                     APT 107                                                   RALEIGH          NC    27617‐4384
ANDREW S HAGOOD & HELEN S HAGOOD JT TEN          59 BRANDY COURT                                                                                ST CHARLES       MO    63303‐5052
ANDREW S HEDDEN                                  18 E 84TH ST                         APT 4B                                                    NEW YORK         NY    10028
ANDREW S JUPINA                                  13 STONEY CREEK DR                                                                             EGG HARBOR TWP   NJ    08234‐7525

ANDREW S KATSANIS                                244 ST AUGUSTINE AVE 502W                                                                      VENICE           FL    34285‐1842
ANDREW S KELLY JR                                551 SOUTHERN HILLS DR                                                                          EUREKA           MO    63025‐3612
ANDREW S KIM                                     302 MINERVA AVE                                                                                WAUCONDA         IL    60084‐1741
ANDREW S LINDSAY                                 218 IRON BRIDGE ROAD                                                                           FREEPORT         PA    16229‐1718
ANDREW S MATTSON                                 CANADA 02                            PO BOX 9022                                               WARREN           MI    48090‐9022
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 151 of 850
Name                                            Address1                              Address2                  Address3     Address4          City            State Zip

ANDREW S MCCANN                               3164 MARION AVE                                                                                  MARGATE         FL    33063‐8003
ANDREW S MESSICK & AUDREY MESSICK JT TEN      2937 PALM BEACH BLVD                                                                             FORT MYERS      FL    33916‐1504
ANDREW S NOWAK & RITA K NOWAK TR NOWAK LIVING 26966 NORTHMORE DR                                                                               DEARBORN HGTS   MI    48127‐3679
TRUST UA 11/07/00
ANDREW S PARKER                               2508 NE 59TH ST                                                                                  KANSAS CITY     MO    64118
ANDREW S PETRUCHIK                            507 STONE VALLEY DR                                                                              AMHERST         OH    44001‐2901
ANDREW S PFEIFFENBERGER                       4223 BAYSHORE RD                                                                                 SARASOTA        FL    34234‐3708
ANDREW S PINKOWSKI                            604 BERWICK ROAD                                                                                 WILMINGTON      DE    19803‐2204
ANDREW S PTASHNIK                             42240 CHATTERTON CT                                                                              NORTHVILLE      MI    48168‐2009
ANDREW S THOMAS                               1828 MAYFIELD DR                                                                                 CRESTWOOD       KY    40014‐9604
ANDREW S WILCOX & SUZANNE L WILCOX JT TEN     2354 ARIZONA CT                                                                                  ROCHESTER       MI    48309‐1446
ANDREW SABETTA & LOUISE SABETTA JT TEN        50 RIC CT                                                                                        N BRANFORD      CT    06471‐1237
ANDREW SANKIEWICZ                             4980 ROCHESTER RD                                                                                DRYDEN TWNSHP   MI    48428‐9328
ANDREW SAWINA                                 9 HOSTA CT                                                                                       WILMINGTON      DE    19808‐1953
ANDREW SCHLEDEWITZ                            20813 HOPPER DR                                                                                  MITCHELL        NE    69357‐2564
ANDREW SCHWARTZ                               1211 26TH ST S                                                                                   ARLINGTON       VA    22202‐2202
ANDREW SEGOVIA                                19811 WEDGEWOOD DRIVE                                                                            GROSSE POINT    MI    48236‐2732
                                                                                                                                               WOODS
ANDREW SETH WEBER CUST MARC IAN WEBER UGMA      2 PHYLLIS DR                                                                                   BETHPAGE        NY    11714‐6015
NY
ANDREW SHOH                                     20 MILL VIEW TERRACE                                                                           RIDGEFIELD      CT    06877‐3519
ANDREW SHOLES                                   737 NAMQUID DRIVE                                                                              WARWICK         RI    02888‐5338
ANDREW SHORT                                    PO BOX 784                            2019 POOR HOUSE RD                                       CELINA          TN    38551‐5425
ANDREW SMITH JR                                 11311 BELLETERRE                                                                               DETROIT         MI    48204‐1336
ANDREW SMITH JR                                 5072 RIDGEWOOD                                                                                 DETROIT         MI    48204‐2123
ANDREW SOLEIMAN CUST JOCELYN SOLEIMAN UGMA      11 CHERRY LANE                                                                                 SCARSDALE       NY    10583‐3117
NY
ANDREW SPROK JR                                 4746 COTTONWOOD LANE                                                                           BRUNSWICK       OH    44212‐2412
ANDREW STEPHEN NOWELL                           1000 FOUNTAINVIEW CIR                 APT 101                                                  NEWARK          DE    19713‐3865
ANDREW STEWART FIELD                            PO BOX 248                                                                                     PINE ISLAND     NY    10969‐0248
ANDREW STOY CUST GEORGIA STOY UTMA MI           522 HAWTHORN AVE                                                                               ROYAL OAK       MI    48067
ANDREW STRENK                                   39 W 855 BUCKSKIN TRAIL                                                                        SAINT CHARLES   IL    60175
ANDREW SUTHERLAND                               118 ORANGE STREET                     WOODSTOCK NB                           E7M 2J9 CANADA
ANDREW SVONAVEC                                 8212 CLOVER LN                                                                                 GARRETTSVILLE   OH    44231‐1033
ANDREW SZAREK                                   281 EDGEWOOD AVE                                                                               TONAWANDA       NY    14223
ANDREW T ASHFORD                                PO BOX 136                                                                                     BRANCH          MI    49402‐0136
ANDREW T BERCHIK                                859 S HUBBARD RD                                                                               LOWELLVILLE     OH    44436‐9754
ANDREW T BURKE                                  3292 HARBOR BAY DRIVE                                                                          COLUMBUS        OH    43221‐4821
ANDREW T BUTTLES                                256 CIDER COURT                                                                                SEVERNA PARK    MD    21146‐1343
ANDREW T CURRIER                                C/O T A CURRIER                       1300 YONGE ST SUITE 500   TORONTO ON   M4T 1X3 CANADA
ANDREW T DAUSCHER & MICHAEL J DAUSCHER JT TEN   30 ONTARIO AVE                                                                                 PLAINVIEW       NY    11803‐3445

ANDREW T FOUNTAIN                            881 STORMY LANE                                                                                   JONESBORO       GA    30238‐5984
ANDREW T KRASULA                             44 COMBES AVE                                                                                     ROCKVILLE CTR   NY    11570‐3205
ANDREW T MARHEVKA & MRS JOAN MARHEVKA JT TEN 1105 GOLF PARK DRIVE                                                                              LAKE ARIEL      PA    18436‐4804

ANDREW T NEVILLES                               443 PERU AVE                                                                                   SAN FRANCISCO   CA    94112‐1616
ANDREW T PANCHURA                               1221 SW SHORELINE DR                  APT 1128                                                 PALM CITY       FL    34990‐4554
ANDREW T TART & MRS ERNESTINE TART JT TEN       8850 S BLACKSTONE                                                                              CHICAGO         IL    60619‐7105
ANDREW T TRAILOR CUST GARRETT A TRAILOR UTMA FL 6400 S W 94TH ST                                                                               MIAMI           FL    33156

ANDREW T WARMACK                                8820 STONEWALL E                                                                               CLARKSTON       MI    48348‐3067
ANDREW TAYLOR                                   14815 TRACEY ST                                                                                DETROIT         MI    48227‐3266
ANDREW TAYLOR JR                                204 E MOUNT HOPE AVE                                                                           LANSING         MI    48910‐9158
ANDREW TESCH                                    7075 S HILL RD                                                                                 DEFOREST        WI    53532‐1717
ANDREW THOMAS BAYMAN                            2585 WOODWARD WAY NW                                                                           ATLANTA         GA    30305‐3563
ANDREW TOMEI                                    325 LEERIE DR                                                                                  ROCHESTER       NY    14612‐2993
ANDREW TONG                                     10807 TUCANNON CT SE                                                                           YELM            WA    98597
                                          09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 152 of 850
Name                                           Address1                              Address2             Address3          Address4          City            State Zip

ANDREW TORCHIA & MRS MARIAN B TORCHIA TEN COM PO BOX 40961                           6308 LARNACA                           CYPRUS

ANDREW TORNABENE JR & KELLY A TORNABENE JT TEN 1173 ALPS ROAD                                                                                 WAYNE           NJ    07470‐3745

ANDREW TRECKER                                 10517 KENTUCKY AVE S                                                                           MINNEAPOLIS     MN    55438‐2124
ANDREW TYNAN                                   836 NORTH END ST                                                                               ST AUGUSTINE    FL    32095
ANDREW TYTAR                                   11204 WOODBRIDGE DR                                                                            GRAND BLANC     MI    48439‐1021
ANDREW V ALLEN                                 1691 PENBROOKE TRL                                                                             CENTERVILLE     OH    45459‐3341
ANDREW V MARTINCAK & ANDREW V MARTINCAK JR     437 MURPHREE ST                                                                                TROY            AL    36081‐2116
TEN COM
ANDREW VAN VLEET HARRIS                        3607 EVERGREEN POINT RD                                                                        BELLEVUE        WA    98004‐1026
ANDREW VANVIG                                  16450 EAST AVE OF THE FOUNTAIN        77                                                       FOUNTAIN HLS    AZ    85268
ANDREW VEADER                                  169 PROMENADE CIR                                                                              LAKE MARY       FL    32746‐4380
ANDREW VERDRAGER                               2265 GERRITSEN AVE                    APT 5N                                                   BROOKLYN        NY    11229‐5619
ANDREW VLAHOULIS                               6019 N 80TH PLACE                                                                              SCOTTSDALE      AZ    85250‐5867
ANDREW W ALBRANT                               6141 BELLINGHAM CRT                                                                            BURTON          MI    48519‐1615
ANDREW W BIGGS SR & LOIS M BIGGS TR UA BIGGS   4804 WINDING WAY                                                                               SACRAMENTO      CA    95841‐4542
FAMILY TRUST 04/18/91
ANDREW W GIEDROCZ & RUTH C GIEDROCZ TEN ENT    921 ADAMS ST                                                                                   SAGINAW         MI    48602‐2304

ANDREW W JEFFERS                               361 UTAH                                                                                       BELLEVILLE      MI    48111‐9045
ANDREW W LAVACS                                5403 SANDY LANE DR                                                                             COLUMBIAVILLE   MI    48421‐8967
ANDREW W LEWIS                                 45 CHADDWYCK BLVD                                                                              NEW CASTLE      DE    19720‐8817
ANDREW W MASON                                 BOX 362                               502 N MAIN ST                                            MT AIRY         MD    21771‐7439
ANDREW W MYERS                                 64 KNICKERBOCKER ROAD                                                                          CLOSTER         NJ    07624‐1100
ANDREW W OLEARY                                200 GARDEN CITY DR                                                                             MATTYDALE       NY    13211‐1412
ANDREW W PETERMEYER                            200 MARQUETTE ST                                                                               CREVECOUER      IL    61610‐3923
ANDREW W PIERCE                                4910 WESTMINSTER TER                                                                           SAN DIEGO       CA    92116‐2317
ANDREW W RIGHTMYER                             4A LINDEN ST                                                                                   LIVONIA         NY    14487‐9735
ANDREW W SCHERRER JR & JENNIFER L HICKEY‐      35055 HOLLY AVE                                                                                YUCAIPA         CA    92399‐2963
SCHERRER JT TEN
ANDREW W SCHONZEIT CUST JEREMY B SCHONZEIT     C/O IDESCO CORPORATION                37 W 26TH ST                                             NEW YORK        NY    10010‐1006
UGMA NY
ANDREW W SINGER                                860 RUSHMORE AVE                                                                               MAMARONEDE      NY    10543‐4526
ANDREW W TODD & ELSIE D TODD JT TEN            106 MILITARY DRIVE                                                                             CHATHAM         VA    24531‐4654
ANDREW W VANBEELEN                             1208 N JENISON AVE                                                                             LANSING         MI    48915‐1416
ANDREW W WAYMACK                               9202 HONEY CREEK                                                                               SAN ANTONIO     TX    78230‐4062
ANDREW WADE SCOTT                              114 PRINCE ST                                                                                  ALEXANDRIA      VA    22314‐3312
ANDREW WADE TRASK JR                           106 GRAHAM ST                                                                                  GREENVILLE      NC    27858‐3923
ANDREW WALTERS                                 3023 WALDRON ROAD                                                                              CAMDEN          NY    13316‐3749
ANDREW WARREN                                  5744 AUDUBON RD                                                                                DETROIT         MI    48224‐2665
ANDREW WAYNE JOHNSTON                          2662 MAIN ST                                                                                   NEWFANE         NY    14108‐1031
ANDREW WEISBLATT & SAMANTHA ROSENTHAL JT TEN   1800 SAINT JAMES PL                   STE 105                                                  HOUSTON         TX    77056‐4109

ANDREW WHITT                                   200 E ELIZABETH ST                                                                             FENTON          MI    48430‐2324
ANDREW WICK & MARIAN WICK TR WICK FAM TRUST    1760 CARRIAGE LANE                                                                             ST JOSEPH       MI    49085‐9489
UA 02/18/86
ANDREW WIELING JR                              1078 ARLINGTON BLVD                                                                            EL CERRITO      CA    94530‐2742
ANDREW WIESEL                                  23 SAXON WAY                                                                                   NEW ROCHELLE    NY    10804‐2005
ANDREW WILLIAM ALTER                           33 RICHARD DRIVE                                                                               SHORT HILLS     NJ    07078‐1361
ANDREW WILLIAM ASHLEY                          489 COVEWOOD BLVD                                                                              WEBSTER         NY    14580‐1107
ANDREW WILLIAM BURLAND                         2946 ATHENA DR                                                                                 TROY            MI    48083‐2413
ANDREW WILLIAM SCRIBNER                        4205 ELLISFIELD DR                                                                             DURHAM          NC    27705‐6172
ANDREW WILSON JR                               4109 RIVERSHELL LN                                                                             LANSING         MI    48911‐1908
ANDREW WOOD                                    305 WEST LAKE RD                                                                               FITZWILLIAM     NH    03447‐3509
ANDREW WOODS                                   18645 SANTA ROSA                                                                               DETROIT         MI    48221‐2246
ANDREW WRIGHT                                  18044 ROBERT ST                                                                                MELVINDALE      MI    48122‐1460
ANDREW YACHECKO & MRS MARGARET YACHECKO JT     90 W SCHOOL STREET                                                                             OLYPHANT        PA    18447‐1732
TEN
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 153 of 850
Name                                           Address1                             Address2             Address3          Address4             City              State Zip

ANDREW YOUNG                                   33841 CTY RTE 46                                                                                 THERESA           NY    13691‐2219
ANDREW Z GUESS                                 3566 FOX                                                                                         INKSTER           MI    48141‐2023
ANDREW ZAWADOWSKI                              350 WATSON AVE                       OAKVILLE ON                            L6J 3V6 CANADA
ANDREW ZOLEDZIEWSKI                            826 ZEISS                                                                                        ST LOUIS          MO    63125‐1733
ANDREWS LORD BROWNE                            3623 BARCLAY DOWNS DR                                                                            CHARLOTTE         NC    28209
ANDREZ MARTINEZ                                11841 HAGGERTY ROAD                                                                              PLYMOUTH          MI    48170‐4415
ANDREZ N HERRERA                               3153 WIDDOCK ST                                                                                  ERIE              MI    48133‐9715
ANDRIS BORKMANIS                               56 MORNINGSIDE DRIVE                                                                             GRAND ISLAND      NY    14072‐1334
ANDRIS BORKMANIS & MARGA BORKMANIS JT TEN      56 MORNINGSIDE DRIVE                                                                             GRAND ISLAND      NY    14072‐1334

ANDRIUS A NAUJOKAS                             394 PHILLIPS RD                                                                                  WEBSTER           NY    14580‐8519
ANDRIUS SULSKIS                                W2201 CTH VV                                                                                     KESHENA           WI    54135
ANDRONIKE ANTIGONE TSAGARIS                    215 W 78TH ST APT 3B                                                                             NEW YORK          NY    10024‐6630
ANDRUS J FRUGE & GLORIA E FRUGE TEN ENT        3906 WALTMAR                         PO BOX 194                                                  BRIDGEPORT        MI    48722‐0194
ANDRUS J FRUGE & MRS GLORIA E FRUGE JT TEN     3906 WALTMAR DR                      PO BOX 194                                                  BRIDGEPORT        MI    48722‐0194
ANDRUS R ECKLER                                224 LIME ST                                                                                      DUPO              IL    62239‐1028
ANDRZEJ DUDEK                                  37212 CARTIS RD                                                                                  LIVONIA           MI    48152‐4089
ANDRZEJ JEDRZEJOWSKI                           4781 MEAD                                                                                        DEARBORN          MI    48126‐3013
ANDRZEJ NAWROCKI                               UL LASKOWSKIEGO 17A                  NIESZAWA                               87730 POLAND (REP)
ANDRZEJ ZDANOWICZ                              17298 GARLAND DR                                                                                 MACOMB            MI    48042‐3564
ANDY A VASKO                                   23 SOUTHDALE DRIVE                   ST CATHARINES ON                       L2M 3N3 CANADA
ANDY A VASKO                                   23 SOUTHDALE DRIVE                   ST CATHARINES ON                       L2M 3N3 CANADA
ANDY AHIJEVYCH                                 6161 MIDDLEBURY DR E                                                                             WORTHINGTON       OH    43085‐3374
ANDY C ELKINS                                  5094 COUNTY ROAD 460                                                                             MOUNT HOPE        AL    35651‐9632
ANDY C WILSON                                  211 DOVER RD NW                                                                                  CARTERSVILLE      GA    30120‐4637
ANDY DANYI JR                                  274 LOWRY DR                                                                                     WEST MILTON       OH    45383‐1323
ANDY F LEONE JR & JOHN LEONE JT TEN            3320 HUDSON DR                                                                                   YOUNGSTOWN        OH    44511‐3168
ANDY FIETZ                                     182 ST MICHAEL RD                    WINNIPEG MB                            R2M 2K9 CANADA
ANDY G AKERS                                   2195 GLENCOE                                                                                     CULLEOKA          TN    38451
ANDY G HINSON                                  5321 N 3RD ST                                                                                    KALAMAZOO         MI    49009‐8891
ANDY G WOLF                                    10401 HWY 195                                                                                    FLORENCE          TX    76527‐4525
ANDY GIBBS                                     8414 NUNLEY DR                       APT B                                                       PARKVILLE         MD    21234
ANDY GRIER                                     6978 BRITT GAILEY ROAD                                                                           CLERMONT          GA    30527‐1616
ANDY HORNER                                    450 NORTHWESTERN DR #R                                                                           ADRIAN            MI    49221‐1433
ANDY HUBER                                     12111 GOODMAN ST                                                                                 OVERLAND PARK     KS    66213‐1243
ANDY HYDEL                                     47175 DUNSANY CT                                                                                 NORTHVILLE        MI    48167‐1038
ANDY J NIZNIK                                  611 E TROPICAL TRCE                                                                              JACKSONVILLE      FL    32259‐1931
ANDY J RICHARDSON CUST MONICA MCCALL           976 E LAKESIDE DR                                                                                EDGERTON          WI    53534‐8538
RICHARDSON UTMA WI
ANDY J SPEARMAN                                727 N SUMMIT ST                                                                                  DAYTON            OH    45407‐1928
ANDY KAMPO TR ANDY KAMPO TRUST UA 12/22/93     1806 MAPLE PARK DRIVE E                                                                          CANTON            MI    48188‐4826

ANDY L BOWMAN                                  919 FALLEN STONE CT                                                                              BEL AIR           MD    21014‐5548
ANDY L FAVEL                                   14197 WEIR RD                                                                                    CLIO              MI    48420‐8853
ANDY M GEORGE & TERI JO MILLER JT TEN          1077 CLAMTOWN RD                                                                                 TAMAQUA           PA    18252‐5455
ANDY M RUTLEDGE                                116 BROOK HOLLOW LAKE TRAIL                                                                      CUMMING           GA    30040‐7226
ANDY M SCHUEBEL                                1547 WEDGEWOOD DR                                                                                RACINE            WI    53402‐2587
ANDY NELSON CHANCELLOR                         G‐4111 CROSBY RD                                                                                 FLINT             MI    48506
ANDY P WILMORE                                 2869 BREEZYHILL RD                                                                               DAVISBORO         GA    31018‐5617
ANDY SENKO                                     3148 WEST 139 STREET                                                                             CLEVELAND         OH    44111‐1542
ANDY SIMKANIN                                  1601 NORTH ATLANTIC BLVD                                                                         FORT LAUDERDALE   FL    33305‐3722

ANDY SIMKOVIC                                  106 CIRCLEVUE DR                                                                                 CARMICHAELS       PA    15320‐1106
ANDY U WHITED                                  74 HIGH ST NE                                                                                    LONDON            OH    43140‐9653
ANDY VIVIRITO & SALVATORE VIVIRITO TEN COM     PO BOX 926                                                                                       DOWNEY            CA    90241‐0926
ANDY W FORGO & JOYCE L FORGO TR FORGO FAMILY   2593 LAKE ST                                                                                     GREENBUSH         MI    48738‐9644
TRUST UA 8/03/05
ANDY W WOODIWISS                               2360 HIGHFIELD                                                                                   WATERFORD         MI    48329‐3913
ANEKA BORGWARDT                                FRIEDRICHSBRUNNER STRASSE 34         D‐12347              BERLIN            GERMANY
                                          09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                    Part 1 of 8 Pg 154 of 850
Name                                          Address1                               Address2                   Address3            Address4              City            State Zip

ANELLE R TUMMINELLO & JOSEPH V TUMMINELLO &   849 PAT LANE                                                                                                ARNOLD          MD    21012‐1245
NELL L TUMMINELLO JT TEN
ANES M BRUNER                                 3055 EDISON ST                                                                                              DAYTON          OH    45417‐1605
ANETA M LOUGHRIDGE                            PO BOX 24265                                                                                                BLUE SPRINGS    MO    64013‐4265
ANETT KRAUSSE                                 KAISERDAMM 88 14057                    BERLIN                                         GERMANY
ANETTE KOBS‐WILLIAMS                          LINDENSTR 36                           GEBROTH                                        55595 GERMANY
ANETTE M TAYLOR                               1803 CARDIGAN                                                                                               NILES           OH    44446‐3903
ANETTE R STEENWYK                             195 LAURELWOOD COURT SW                                                                                     GRAND RAPIDS    MI    49548‐7942
ANGE R DEPASCALE                              1 CANARY ST                                                                                                 ROCHESTER       NY    14613‐1524
ANGEA S REID & PAMELA D REID JT TEN           8 LOUMAC RD                                                                                                 WILMINGTON      MA    01887‐2335
ANGEL A LLERENA                               810 EMERALD COURT                                                                                           NORCACROSS      GA    30093‐5000
ANGEL A NIEVES                                3811 NW 11TH STREET                    APT H                                                                COCONUT CREEK   FL    33066‐1611
ANGEL A PALACIOS                              23921 N STUART PLACE RD                                                                                     HARLINGEN       TX    78552‐2468
ANGEL A RODRIGUEZ                             620 N BERENDO ST                                                                                            LOS ANGELES     CA    90004‐2104
ANGEL A VARGAS                                1069 BROOK HOLLOW DR                                                                                        COTTONWOOD      AZ    86326‐5032
ANGEL BAGENETA ANGUIO                         CAMINO DE LA ZARZUELA 47‐2B            28023 MADRID (ARAVACA)                         SPAIN
ANGEL C GONZALEZ                              2731 UPPER MOUNTAIN RD                                                                                      SANBORN         NY    14132‐9315
ANGEL C SULSE                                 423 AIRBOY AVE                                                                                              WOODBRIDGE      NJ    07095
ANGEL D VARGAS                                HC 2 7602                                                                                                   BARCELONETA     PR    00617‐9810
ANGEL E PAGAN                                 1999 W EUCLID ST                                                                                            DETROIT         MI    48206‐2416
ANGEL G HERMIDA                               CALLE SAN ANTONIO D‐1                  URB EL ALAMO               GUAGNABO            00969 PUERTO RICO                           ‐4507
ANGEL GONZALEZ                                753 E MADISON                                                                                               PONTIAC         MI    48340‐2940
ANGEL J MERCADO                               136 WENDY LN                                                                                                FITZGERALD      GA    31750‐8679
ANGEL L BOSQUE                                681 BAKER RD                                                                                                COLUMBIA        TN    38401‐5592
ANGEL L ESTRONZA                              822 CHEMUNG FOREST DR 68                                                                                    HOWELL          MI    48843‐7137
ANGEL L GONZALEZ                              1510 N FRANKLIN                                                                                             DEARBORN        MI    48128‐1026
ANGEL L PACHECO                               3539 DECATUR AVE #706                                                                                       BRONX           NY    10467‐1754
ANGEL L QUINONES                              2161 QUIMBY AVENUE                                                                                          BRONX           NY    10473‐1332
ANGEL L RIVERA                                K‐362 CALLE ECUADOR EX F HILL          BAYMON                                         PUERTO RICO
ANGEL L ROSADO                                60 MORELAND ST                                                                                              PONTIAC         MI    48342‐2321
ANGEL LARRAMENDI                              2588 HYLER AVE                                                                                              LOS ANGELES     CA    90041‐2949
ANGEL LOPEZ                                   2533 SLEEPY HOLLOW LANE                                                                                     SAN JOSE        CA    95116‐3750
ANGEL LOPEZ                                   2706 DOLES PLACE                                                                                            SHREVEPORT      LA    71104‐3802
ANGEL M ARMAS                                 COMPUTERSHARE                          LEGAL/COMPLIANCE/OFAC 3A   250 ROYALL ST       CANTON MA 2021 CUBA
ANGEL M BERNOT                                13155 IXORA CT #508                                                                                         MORTH MIAMI     FL    33181‐2325
ANGEL M DAVILA                                CALLE 1 K4                             FOREST HILLS               BAYAMON             PUERTO RICO
ANGEL M DE JESUS                              1805 MORGANS RUN TRL                                                                                        BUFORD          GA    30519‐7968
ANGEL M PEREZ                                 127 WINSLOW PL                                                                                              GARWOOD         NJ    07027‐1130
ANGEL M PEREZ                                 APT 25                                 629 W 135TH ST                                                       NEW YORK        NY    10031‐8349
ANGEL M RIVERA                                2008 COLUMBUS ROAD                                                                                          BURLINGTON      NJ    08016‐9730
ANGEL M SEDAN                                 18246 CODDING ST                                                                                            DETROIT         MI    48219‐2213
ANGEL M TOVAR                                 8933 SW 123RD CT                       APT 304                                                              MIAMI           FL    33186‐1987
ANGEL MARTIN DELCASTILLO                      10255 E VIA LINDA                      UNIT 1011                                                            SCOTTSDALE      AZ    85258‐5319
ANGEL MIGUEL                                  6415 BROADWAY IA                                                                                            W NEW YORK      NJ    07093‐3147
ANGEL P FEAGIN                                203 LAKE SEBRING DR                                                                                         SEBRING         FL    33870‐1574
ANGEL R VALDEZ                                6221 NEWCASTLE AVE                                                                                          GOLETA          CA    93117‐2032
ANGEL T RODRIGUEZ                             3300 N STATE ROAD 7                    UNIT 622                                                             HOLLYWOOD       FL    33021‐2161
ANGEL WOLAK                                   908 DORRIS HEIGHTS RD                                                                                       HARRISBURG      IL    62946‐3808
ANGEL Z ALMAZAN                               GM BRASIL AVE GOIAS 1805               SAO CAETANO DO SUL         SAO PAULO BRASIL0   BRAZIL
ANGELA A BEAN                                 573 MONTCLAIR AVENUE                                                                                        OAKLAND         CA    94606‐1549
ANGELA A BENDER                               46 HAVEN PLACE                                                                                              SAN RAMON       CA    94583‐3316
ANGELA A HARDIN                               68 PINNACLE PT                                                                                              ASHEVILLE       NC    28805‐2403
ANGELA A HODGES                               1856 FAYETTE AV                                                                                             BELOIT          WI    53511‐3651
ANGELA A HURTADO                              C/O MRS ANGELA GREENWOOD               154 HARBOUR DR                                                       HALF MOON BAY   CA    94019‐4239
ANGELA A PATERNO                              16 VALLEY FIELD RD                                                                                          WESTPORT        CT    06880‐3834
ANGELA A RODGERS                              18064 ARCHDALE ST                                                                                           DETROIT         MI    48235‐3261
ANGELA ALESSANDRINI TR UA 07/01/2004 ANGELA   15181 FORD ROAD                        APT 401                                                              DEARBORN        MI    48126
ALESSANDRINI TRUST
ANGELA ANG                                    ASIAN & PAC OPER‐INTL                  NGEEANN CTY TOWER B16‐01                       SINGAPORE
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 155 of 850
Name                                              Address1                              Address2                Address3       Address4          City             State Zip

ANGELA BARR                                       1723 SAVANNAH LN                                                                               YPSILANTI        MI    48198‐3680
ANGELA BERZIN                                     35620 GOLDSMITH DR                                                                             FREMONT          CA    94536‐2519
ANGELA BLAIR                                      2524 EAST 142ND AVE                                                                            THORNTON         CO    80602
ANGELA BOORAS CUST BAILEY BOORAS UTMA IL          PO BOX 1864                                                                                    TAHOE CITY       CA    96145‐1864
ANGELA BOORAS CUST BLYTHE BOORAS UTMA IL          PO BOX 1864                                                                                    TAHOE CITY       CA    96145‐1864
ANGELA BOORAS CUST BRYNN BOORAS UTMA IL           PO BOX 1864                                                                                    TAHOE CITY       CA    96145‐1864
ANGELA BRINSON SMITH                              PO BOX 431                                                                                     BOLTON           MS    39041‐0431
ANGELA BROUGHTON LEIGH                            3107 WALDIE CT                                                                                 LAKEWOOD         CA    90712‐1460
ANGELA BRUMME CUST MICHAEL A BRUMME UTMA          10627 IVYRIDGE                                                                                 HOUSTON          TX    77043‐4139
(TX)
ANGELA BRUMME CUST SAMUEL J BRUMME UTMA TX        10627 IVYRIDGE                                                                                 HOUSTON          TX    77043‐4139

ANGELA BURTZ                                      9260 CHACONAS CT                                                                               NOKESVILLE       VA    20181
ANGELA C GIBSON                                   301 DEMOTT AVE                                                                                 CLIFTON          NJ    07011‐3750
ANGELA C HAMILTON TR ANGELA C HAMILTON TRUST      7700 SUN ISLAND DR #308                                                                        S PASADENA       FL    33707‐4444
UA 05/15/02
ANGELA C JACKS                                    2506 W 125 S                                                                                   PORTLAND         IN    47371
ANGELA C MARTIN & A HAROLD MARTIN JT TEN          5 RIVER FRONT COURT                                                                            APPLETON         WI    54914‐5449
ANGELA C MEHALL                                   8953 DEER TRL                                                                                  BRIGHTON         MI    48114‐7567
ANGELA C MIX                                      1825 N DUCK CREEK RD                                                                           NORTH JACKSON    OH    44451‐9613
ANGELA C ROACH CUST JOHN P ROACH UTMA NY          7323 ERICA LN                                                                                  N TONAWANDA      NY    14120‐4904
ANGELA C WALKER                                   3023 FOREST CIR                                                                                JACKSONVILLE     FL    32257‐5619
ANGELA CARMONEY                                   210 S DUNBAR                                                                                   POTTERVILLE      MI    48876‐8775
ANGELA CHANG LIN                                  6551 ABBOTTSWOOD DRIVE                                                                         RANCHO PALOS     CA    90275‐3105
                                                                                                                                                 VERDE
ANGELA CICALO & JOSEPH CICALO JT TEN              71 WINTERCRESS LA                                                                              E NORTHPORT      NY    11731‐4714
ANGELA COOK                                       4973 MEMPHIS CT                                                                                HILLIARD         OH    43026‐5730
ANGELA D AUSTIN                                   622 MISTY WATER LN                                                                             SAN ANTONIO      TX    78260‐2242
ANGELA D HOLMES                                   318 N GRANTLEY ST                                                                              BALTIMORE        MD    21229
ANGELA D LACEY                                    4624 SYLVAN OAK DR                                                                             DAYTON           OH    45426‐2124
ANGELA D LAURITE                                  1173 WHITEHALL POINTE                                                                          DUNWOODY         GA    30338‐2654
ANGELA D MILLS ROBINSON TR UA 10/16/89 BEATRICE A 2765 JARED LN                                                                                  MARRERO          LA    70072‐5880
CAMPBELL TRUST
ANGELA D SHAUL & RODNEY E SHAUL JT TEN            5405 LANCASTER HILLS DR               APT 41                                                   CLARKSTON        MI    48346‐4426
ANGELA D SHERMAN                                  C/O ANGELA D SCHNEIER                 4310 PORTLAND LAKE DR                                    FLORISSANT       MO    63034‐3447
ANGELA D WILBURN                                  5123 3RD ST NW                                                                                 WASHINGTON       DC    20011‐3224
ANGELA D WRIGHT                                   762 WORCESTER AVE                                                                              WESTCHESTER      IL    60154‐2535
ANGELA DE LUCA                                    245 MILL RD                                                                                    ROCHESTER        NY    14626‐1034
ANGELA DEFRANCO                                   2728 N PARK ST                                                                                 FRANKLIN PARK    IL    60131
ANGELA DENE SALL CUST LEWIS MATTHEW SALL UGMA 31 TURNER DR                                                                                       GREENICH         CT    06831‐4415
NY
ANGELA DORIO & JOAN DORIO JT TEN                  137 WEST 25TH STREET                                                                           BAYONNE          NJ    07002‐1715
ANGELA E ANDERSON & CHARLIE L ANDERSON JR JT TEN 21857 SHEFFIELD DR                                                                              FARMINGTON HILLS MI    48335‐5467

ANGELA E SACCHETTA                                127 AMACKASSIN TERR                                                                            YONKERS          NY    10703‐2035
ANGELA ELIZABETH ETZEL                            1308 E GEORGIA                                                                                 RUSTON           LA    71270‐4020
ANGELA F GORDON                                   6550 CIRCLE HILL DR                                                                            SAN JOSE         CA    95120‐4507
ANGELA F WYKRENT & KENNETH WYKRENT JT TEN         15335 FORDLINE                                                                                 SOUTHGATE        MI    48195‐2083
ANGELA FAYE TANNER CUST SARAH MICHELLE TANNER     250 AUSTIN DRIVE                                                                               DOUGLASVILLE     GA    30134‐5192
UTMA FL
ANGELA FLANAGAN                                   9514 81ST ST                                                                                   OZONE PARK       NY    11416‐1128
ANGELA FULLER                                     1806 CRESTVIEW DR SE                                                                           DECATUR          AL    35601‐6160
ANGELA GAVIN                                      15206 ELM PARK COURT                                                                           MONTE SERENO     CA    95030‐2118
ANGELA GENEVIEVE GRAYR                            20402 FAIRWEATHER ST                                                                           CANYON COUNTRY   CA    91351‐2451

ANGELA GLORIA                                     1280 OAK TRAIL DR                                                                              LIBERTYVILLE     IL    60048‐3418
ANGELA GRAYCE WAGY                                102 CITATION STREET                                                                            TEXARKANA        TX    75501‐2914
ANGELA H AN                                       6327 LAKE MATHIAS DR                                                                           NEW ALBANY       OH    43054‐7013
ANGELA H BATES                                    5253 E BROAD ST APT 104                                                                        COLUMBUS         OH    43213‐3834
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 156 of 850
Name                                           Address1                               Address2             Address3          Address4          City             State Zip

ANGELA H CHIANG                                3627 KERRIELL CT                                                                                NAPERVILLE       IL    60564‐8312
ANGELA H STAUDER                               109 MINUTEMAN DR                                                                                FOREST           VA    24551‐2722
ANGELA H STREETER                              5401 KRISTEN PL                                                                                 ANDERSON         IN    46017‐9660
ANGELA HAGUE                                   62 E RATTLING RUN RD                                                                            MICKLETON        NJ    08056‐1426
ANGELA HARRIS CUST BRANDEN BUSH UGMA SC        146 N LAKE SHORE DR                                                                             GOOSE CREEK      SC    29445‐4800
ANGELA HEARTFIELD                              12022 NE 161ST STREET                                                                           BOTHELL          WA    98011‐4157
ANGELA HELEN LAUB                              2628 N KATHWOOD CIRCLE                                                                          CINCINNATI       OH    45236‐1022
ANGELA HOGREFE                                 1451 SR 109                                                                                     DELTA            OH    43515
ANGELA HOOK & GLORIA NEVILLE JT TEN            915 N MICHIGAN AVENUE                                                                           HOWELL           MI    48843‐1218
ANGELA HUTCHEON                                46421 HAMPTON DR                                                                                SHELBY TWP       MI    48315‐5633
ANGELA I DE PEW                                3721 ECKERT RD                                                                                  FREEPORT         MI    49325‐9736
ANGELA J BLATNICK                              1641 BALL TOWN RD                                                                               SCHENECTADY      NY    12309‐2325
ANGELA J DRAKE                                 5708 MYRON MASSEY BLVD                                                                          FAIRFIELD        AL    35064‐2528
ANGELA J PRIVITERA                             20458 SUNBRIGHT LANE                                                                            GERMANTOWN       MD    20874
ANGELA J SANZERI                               52 RAY ST                                                                                       WATERBURY        CT    06708‐2010
ANGELA J ZOGAS & EDWARD H ZOGAS JT TEN         176 SHELDON AVE                                                                                 PITTSBURGH       PA    15220‐2637
ANGELA K GRZELECKI                             5063 LAKESIDE CT                                                                                STOW             OH    44224‐6047
ANGELA K MURPHY & CATHLEEN A MURPHY JT TEN     205 E HACKNEY BOX 66                                                                            CALEDONIA        MN    55921‐0066

ANGELA K SNYDER EX UW FRANKLIN W SNYDER        511 E PLEASANT                                                                                  SPRINGFIELD      OH    45505‐2018
ANGELA K TAYLOR                                ATTN ANGELA K MADDOCK                  2391 KING RD                                             LAPEER           MI    48446‐8390
ANGELA KENEVEN                                 10565 WYNDTREE DR                                                                               CONCORD          OH    44077‐9310
ANGELA KOELLMEL TR MARY THERESA KOELLMEL UA    150 PULIS AVE                                                                                   FRANKLIN LAKES   NJ    07417‐2020
06/17/54
ANGELA L FASSBENDER                            1515 W 13TH STREET                                                                              SPENCER          IA    51301‐2925
ANGELA L GETZINGER                             1506 GRANT COURT                       EDMONTON AB                            T5T 6L3 CANADA
ANGELA L HARPER                                12 LARCHMONT CT                                                                                 ST PETERS        MO    63376‐4552
ANGELA L HARRIS                                30 EHRBAR AVE APT 414                                                                           MT VERNON        NY    10552‐3609
ANGELA L JONES                                 7810 GREENLAND PL                                                                               CINCINNATI       OH    45237
ANGELA L PRELESNIK                             3443 N HOYNE                                                                                    CHICAGO          IL    60618‐6109
ANGELA L WILLEY                                4098 E FARRAND RD                                                                               CLIO             MI    48420‐9131
ANGELA LEE                                     8255 VINEYARD AVE                      APT 2200 G                                               RANCHO           CA    91730‐7193
                                                                                                                                               CUCAMONGA
ANGELA LEE STEPHENSON CUST CHRISTAL LEE       4144 BELSAY RD                                                                                   FLINT            MI    48506‐1677
STEPHENSON UGMA MI
ANGELA LESCHKE                                25 MANSFIELD RD                                                                                  WHITE PLAINS     NY    10605‐4308
ANGELA LODATO                                 114 GRECIAN GARDEN APTS #D                                                                       ROCHESTER        NY    14626‐2669
ANGELA LORETTA WOLKE                          1714 ASHFORD LN                                                                                  CRYSTAL LAKE     IL    60014‐2012
ANGELA LUNDY                                  1703 RAVENWOOD DR                                                                                ARLINGTON        TX    76013‐3441
ANGELA M BARBER                               278O GLADSTONE AVE                                                                               ANN ARBOR        MI    48104‐6431
ANGELA M BARROW                               511 SIERRA RIDGE                                                                                 PACIFIC          MO    63069
ANGELA M BENCZIK                              120 MAPLEFIELD RD                                                                                PLEASANT RDG     MI    48069‐1022
ANGELA M BISHOP                               803 N HILL ST                                                                                    SILOAM SPGS      AR    72761‐2453
ANGELA M BROWN                                1927 GREEN FOREST DRIVE                                                                          NORTH AUGUSTA    SC    29841‐2159
ANGELA M CASTAGNA                             2637 WHITEWOOD ST                                                                                ANN ARBOR        MI    48104‐5363
ANGELA M CHIMPOUKCHIS                         S FAIRVIEW AVE                          PO BOX 666                                               MONTAUK          NY    11954‐0502
ANGELA M COHENOUR                             226 SANDCLAY RD                                                                                  SPRING LAKE      NC    28390‐7832
ANGELA M COHENOUR & MICHAEL D LUBAWSKI &      226 SANDCLAY RD                                                                                  SPRING LAKE      NC    28390‐7832
JOSEPH P LUBAWSKI III JT TEN
ANGELA M DOYLE                                174 CHESTNUT HILL RD                                                                             LITCHFIELD       CT    06759‐4106
ANGELA M GALLI                                19 WILLELA PLACE                                                                                 NEWBURGH         NY    12550‐2839
ANGELA M GURSKY                               21090 ROBINHOOD                                                                                  FAIRVIEW PARK    OH    44126‐2737
ANGELA M HABERMAN                             202 BEECH DRIVE                                                                                  DELAWARE         OH    43015‐3236
ANGELA M HILL & ROBERT C HILL TR UA 4/30/84   1052 SW 8TH ST                                                                                   LEE'S SUMMIT     MO    64081‐2567
ANGELA M HILL
ANGELA M LEE                                  504 DELAND                                                                                       FLUSHING         MI    48433‐1304
ANGELA M LOCOCO                               125 BEDFORD PLACE                                                                                MORGANVILLE      NJ    07751‐1725
ANGELA M MC MONAGLE CUST KATHLEEN M CHECKERIS 105 WIMBLETON RD                        ETOBICOKE ON                           M9A 3S4 CANADA
A MINOR
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 157 of 850
Name                                            Address1                              Address2                 Address3      Address4          City            State Zip

ANGELA M MCCOULLEY                              333 WOODLAND                                                                                   DETROIT         MI    48202‐1149
ANGELA M MCMONAGLE CUST WILLIAM J CHECKERIS A   105 WIMBLETON RD                      ETOBICOKE ON                           M9A 3S4 CANADA
MINOR
ANGELA M MOORE                                  1905 N KING AVE                                                                                INDIANAPOLIS    IN    46222‐2857
ANGELA M ODISTER                                6146 WEYBRIDGE DRIVE                                                                           DAYTON          OH    45426‐1440
ANGELA M OLSON                                  220 TRINITY CT                                                                                 RIO VISTA       CA    94571‐1529
ANGELA M ROY                                    28 ROXWOOD CIR                                                                                 ROCHESTER       NY    14612‐3026
ANGELA M SANDBERG & SHELLI L FIORENZA EX EST    22031 EMILY LN                                                                                 FRANKFORT       IL    60423
WILLIAM E DADE
ANGELA M SHAY                                   412 BURGESS AVE                                                                                DAYTON          OH    45415
ANGELA M SHIKNER                                14205 COURTLAND AVENUE                                                                         CLEVELAND       OH    44111‐4918
ANGELA M STRINGER                               PO BOX 52                                                                                      MATTAWANA       PA    17054‐0052
ANGELA M SUSALLA                                2200 JONES                                                                                     WATERFORD       MI    48327‐1226
ANGELA M SWEET                                  26 SPARTAN DR                                                                                  ROCHESTER       NY    14609‐1403
ANGELA M TULLIS                                 8070 WISCONSIN                                                                                 DETROIT         MI    48204‐3245
ANGELA M WITKOWSKI                              5261 HOLLOW DRIVE                                                                              BLOOMFIELD      MI    48302‐2507
ANGELA MAIRS                                    119 EAST SHOWALTER DRIVE                                                                       GEORGETOWN      KY    40324
ANGELA MANNARINO & JULIE MANNARINO JT TEN       215 CROWN STREET                                                                               BRISTOL         CT    06010

ANGELA MARICLE                                   4030 JOYNER                                                                                   FLINT           MI    48532‐3851
ANGELA MARIE HENDRIX                             9 INSKEEP COURT                                                                               TABERNACLE      NJ    08088‐8631
ANGELA MARIE ZANGRILLO                           31 NORFIELD RD                                                                                WESTON          CT    06883‐2103
ANGELA MCMILLEN CUST STEVEN R MCMILLEN UTMA      351 LAKE OF THE WOODS BLVD                                                                    AKRON           OH    44333‐2788
NJ
ANGELA N RADOSSI CUST ANDREA LYNN RADOSSI        534 WYNDEMERE AVENUE                                                                          RIDGEWOOD       NJ    07450‐3529
UNDER U‐G‐M ACT NJ
ANGELA N RADOSSI CUST CHRISTINA MARIE RADOSSI    534 WYNDEMERE AVENUE                                                                          RIDGEWOOD       NJ    07450‐3529
UNDER U‐G‐M ACT NJ
ANGELA N RADOSSI CUST DANIELLE A RADOSSI UTMA NJ 534 WYNDEMERE AVENUE                                                                          RIDGEWOOD       NJ    07450‐3529

ANGELA N WAGNER                                 4851 LAKEWOOD DR                                                                               CEDAR RAPIDS    IA    52411‐7843
ANGELA NICOLE LOSCH                             3404 GLASTONBURY DR                                                                            PEARLAND        TX    77581‐2451
ANGELA ORLANDO                                  817 NORTH SHORE DRIVE                                                                          ST CLAIR SHRS   MI    48080‐2829
ANGELA PATRIARCA                                36 VALLEY VIEW RD                                                                              ORINDA          CA    94563‐1404
ANGELA PEDISON COOK                             1802 CENTENARY DR                                                                              LONGVIEW        TX    75601‐3520
ANGELA PHOENIX                                  4038 W SAINT KATERI DR                                                                         PHOENIX         AZ    85041‐4982
ANGELA PIAZZA                                   23 CARPENTER AVE                                                                               MT KISCO        NY    10549‐2401
ANGELA R ADAMS                                  9 UTE RIVER CT                                                                                 SACRAMENTO      CA    95831‐3372
ANGELA R ANDRUS‐ALBERT                          3704 MAPLECREST AVE                                                                            PARMA           OH    44134‐3514
ANGELA R CATTON                                 2620 56TH ST S                                                                                 GULFPORT        FL    33707‐5231
ANGELA R GRIFFIN                                2016 NORTH 14                                                                                  KANSAS CITY     KS    66104‐5803
ANGELA R JENNINGS                               7010 TARQUIN AVE                                                                               TEMPLE HILL     MD    20748‐6920
ANGELA R JOHNSON                                ATTN ANGELA R MANLEY                  23979 HUNTERS LN                                         SOUTHFIELD      MI    48034‐3388
ANGELA R LUMKIN                                 2941 PANORAMA TRAIL                                                                            BIRMINGHAM      AL    35216‐3734
ANGELA R SPRAGUE                                755 ESTATES BLVD                      APT 273                                                  TRENTON         NJ    08619‐2619
ANGELA R VENEZIANI                              6 STONEGATE COURT                                                                              BLACKWOOD       NJ    08012‐5356
ANGELA RAKUS CUST ANDREA M RAKUS UGMA MI        16566 DIXIE HIGHWAY                                                                            DAVISBURG       MI    48350
ANGELA RENEE HICKS                              2285 OGLESBY BRIDGE RD                                                                         CONYERS         GA    30094‐4208
ANGELA RIEDISSER                                7290 WHEATLAND MEADOW CT                                                                       WEST CHESTER    OH    45069‐5814
ANGELA ROLLINGS                                 700 N BRUCE LN APT 404                                                                         GLENWOOD        IL    60425‐1135
ANGELA ROSE NOTTOLI                             ATTN ANGELA ROSE HAUGLIE              11276 N SEVEN FALLS DR                                   ORO VALEY       AZ    85737‐1508
ANGELA RUTH MANLEY                              8255 WOODSEDGE DRIVE                                                                           WHITELAKE       MI    48386
                                                                                                                                               TOWNSHIP
ANGELA S ALESSANDRONI                           60 CROSBY ST                                                                                   ARLINGTON       MA    02474‐2257
ANGELA S SUGAR                                  24 N ROCKBURN ST                                                                               YORK            PA    17402‐2332
ANGELA S TOMBOR                                 5095 ALVA AVE NW                                                                               WARREN          OH    44483‐1207
ANGELA SOUZA CUST PABLO SOUZA UGMA VA           200 FOREST DR                                                                                  SOUTH BOSTON    VA    24592‐1618
ANGELA SPARKS                                   9071 E 100 N                                                                                   GREENTOWN       IN    46936‐8868
ANGELA STEPHANIE GILLIO                         128 ZELLERS RD                                                                                 LONG VALLEY     NJ    07853‐3647
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 158 of 850
Name                                              Address1                              Address2                Address3       Address4          City              State Zip

ANGELA SUE ZUNK                                   1071 DR HARDY CIRCLE                                                                           DILLON            SC    29536
ANGELA SYBERT                                     3 PERSHING CIRCLE                                                                              OFALLON           MO    63366‐3819
ANGELA T VAN DYK                                  7403 PINE MANOR                                                                                GRAND LEDGE       MI    48837‐9139
ANGELA TUSKENIS TR ANGELA TUSKENIS TRUST UA       293 KELSEY PARK CIR                                                                            PALM BCH GDNS     FL    33410‐3258
8/22/89
ANGELA V ARRIAGA                                  4194 KERR ROAD                                                                                 BIDWELL           OH    45614‐9261
ANGELA V OFFENBECHER                              PO BOX 3022                                                                                    ALLIANCE          OH    44601‐7022
ANGELA WILSON                                     409 CEDAR AVENUE                                                                               WILMINGTON        DE    19804‐2903
ANGELA Y SMITH                                    811 BROKEN BOW TRL                    APT 313                                                  INDIANAPOLIS      IN    46214‐2738
ANGELA Z ALOUPIS                                  15 ASTER PL                                                                                    BANGOR            ME    04401‐3223
ANGELE M YOUNG                                    100 HIGHLAND COMMONS CT               APT 224                                                  CARY              NC    27511‐6732
ANGELENA CARTER                                   5726 W HICKORY HOLLOW ST                                                                       WAYNE             MI    48184‐2651
ANGELES B GRAHAM                                  8536 SW 94 STREET                                                                              MIAMI             FL    33156‐7309
ANGELIA A CUZMAR                                  2 SWAINSON CT                                                                                  IRMO              SC    29063‐7808
ANGELIA B PORTER                                  2096 CHERRY LANE                                                                               DECATUR           GA    30032‐5340
ANGELIA CHERRI ANDERSON                           5126 W CR 325 S                                                                                LOGANSPORT        IN    46947‐6729
ANGELIA COLLINS                                   4502 JOE SANCHEZ RD                                                                            PLANT CITY        FL    33565‐5973
ANGELIA E STONE                                   3404 ARSENAL CT 208                                                                            CHARLOTTE         NC    28273‐4016
ANGELIA J DRAKE                                   5708 MYRON MASSEY BL                                                                           FAIRFIELD         AL    35064‐2528
ANGELIA SMILEY                                    571 S 12TH ST                                                                                  HAMILTON          OH    45011‐3728
ANGELIAN G BARKER TOD ROBERT L BARKER SUBJECT     3870 W STOLL ROAD                                                                              LANSING           MI    48906
TO STA TOD RULES
ANGELICA N TWAITS                                 1172 RED BLUFF DRIVE APT A                                                                     W CARROLLTON      OH    45449
ANGELICO CORDERO                                  62 CORTLANDT ST                                                                                BELLEVILLE        NJ    07109‐3007
ANGELIKA H BEYER & ROBERT E BEYER JT TEN          707 ALBERT COURT                                                                               LUDINGTON         MI    49431‐1380
ANGELIKA PETRI                                    AUF DER HAARDT 1                      BAD KREUZNACH           GERMANY DE     55545 GERMANY
ANGELIKI E MELIGARIS                              45 MORNINGSIDE DR                                                                              NILES             OH    44446‐2109
ANGELINA A CREMONA TOD JOSEPHINE DENAPOLI         10744 ROYAL CARIBBEAN CIRCLE                                                                   BOYNTON BEACH     FL    33437
SUBJECT TO STA TOD RULES
ANGELINA B ATTILIO                                13207 W BEECHWOOD DR                                                                           SUN CITY WEST      AZ   85375‐3261
ANGELINA C ERIQUEZ & LUKE L ERIQUEZ JT TEN        2187 E 2ND ST                                                                                  BROOKLYN           NY   11223‐4724
ANGELINA CHIN                                     860 N LAKE SHORE DR                   APT 10M                                                  CHICAGO            IL   60611‐1773
ANGELINA DECRESCE & FRANK J DECRESCE JT TEN       207 CYNWYD DRIVE                                                                               ABSECON            NJ   08201
ANGELINA DI LELLO                                 57‐22 142ND ST                                                                                 FLUSHING           NY   11355‐5319
ANGELINA DRAGO                                    2 N HOFFMAN LANE                                                                               HAUPPAUGE          NY   11788‐2735
ANGELINA F DE CRESCE                              207 CYNWYD DR                                                                                  ABSECON            NJ   08201
ANGELINA F DE MAIO                                42 DEVONSHIRE RD #3                                                                            CEDAR GROVE        NJ   07009‐2022
ANGELINA F SNYDER                                 142 GREYSTONE LANE                    B10 APT 13                                               ROCHESTER          NY   14618
ANGELINA G CUCCARO                                652 DOWNER ST                                                                                  WESTFIELD          NJ   07090‐4115
ANGELINA GIURICI                                  310 POULTNEY ST                                                                                SI                 NY   10306‐5021
ANGELINA J FUSCO                                  PO BOX 37                                                                                      HAWORTH            NJ   07641‐0037
ANGELINA J JONES                                  144 TOLEDO LN                                                                                  WILLINGBORO        NJ   08046
ANGELINA J SHAW                                   151 HIGHLAND AVE                                                                               SLEEPY HOLLOW      NY   10591‐1407
ANGELINA L DEAN                                   7143 EL MEYERS ST                                                                              ZEPHYRHILLS        FL   33541‐1375
ANGELINA L DEMARTINO                              10 KINSALE STREET                                                                              TOMS RIVER         NJ   08757‐4036
ANGELINA L KASKOUN                                HAMPTON CROSSING D203                                                                          SOUTHAMPTON        PA   18966‐3760
ANGELINA M DESTITO                                963 RINGWOOD AVE                                                                               HASKELL            NJ   07420‐1322
ANGELINA M PINCHAK                                48 ORCHARD DR                                                                                  WORTHINGTON        OH   43085‐3655
ANGELINA MERLO                                    C/O ARABELLA MERLO                    PO BOX 627                                               WOODBRIDGE         CA   95258‐0627
ANGELINA MUSSO                                    2644 CLOVER ST                                                                                 ROCHESTER          NY   14618‐4848
ANGELINA PARKER & FRANCINE PARKER JT TEN          22700 GORDON SWITCH                                                                            SAINT CLAIR SHORES MI   48081‐1308

ANGELINA S JAEHN                                  1868 LAVALA LN                                                                                 EL CAJON          CA    92021‐3635
ANGELINA SCALZITTI                                3300 NETHERLAND AVE                                                                            BRONX             NY    10463‐3438
ANGELINA T HOCKNELL                               252 WASHINGTON DRIVE                                                                           PENNSVILLE        NJ    08070‐1314
ANGELINA T HOYT & ROBERT A HOYT JR JT TEN         3 HILLSIDE ST                                                                                  TARRYTOWN         NY    10591‐5903
ANGELINA V CASSIN CUST KENNETH E CASSIN UGMA PA   960 SONNY LN                                                                                   RICHLANDTOWN      PA    18955‐1118

ANGELINE A GREEN                                  BROOKHAVEN MANOR                      3717 HIGHLANDER WAY W                                    ANN ARBOR         MI    48108‐9648
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 159 of 850
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

ANGELINE ANDREW & HELEN USTIC JT TEN             1107 CIRCULO DEL NORTE                                                                           GREEN VALLEY    AZ    85614‐2853
ANGELINE BARILE                                  166 LEONORE ROAD                                                                                 EGGERTSVILLE    NY    14226‐2038
ANGELINE BOWYER                                  5300 W 96TH ST                                                                                   INDIANAPOLIS    IN    46268‐3905
ANGELINE BUCCELLATO                              PO BOX 70268                                                                                     ROCHESTER       MI    48307
ANGELINE BUSH TR ANGELINE BUSH TRUST UA 07/23/97 47525 ARBOR TRL                                                                                  NORTHVILLE      MI    48168‐8501

ANGELINE C BALL & STEPHEN C KASPRZAK & FREDERICK   17 ROSE HILL CIR                                                                               LANCASTER       NY    14086‐1046
G KASPRZAK JT TEN
ANGELINE C ELSTON & CHERELL A TIER JT TEN          4670 W CLENDENING                                                                              GLADWIN         MI    48624‐9658
ANGELINE C HAEHL                                   312 CHAPEL STREET                                                                              LOCKPORT        NY    14094‐2406
ANGELINE CHERRY & ROBERT JOSEPH SALVO JT TEN       909 HILLSIDE DR                                                                                LUTZ            FL    33549‐3818

ANGELINE CRUVER                                    350 SUNSET TERRACE                                                                             ORCHARD PARK    NY    14127‐2535
ANGELINE D KASICK TR ANGELINE D KASICK             3700 N 124TH ST                                                                                KANSAS CITY     KS    66109‐4217
DECLARATION OF TRUST 05/19/92
ANGELINE D ZABOROWSKI                              3207 TIPSICO LK RD                                                                             HARTLAND        MI    48353‐2418
ANGELINE E MAINOLFI TR ANGELINE E MAINOLFI TRUST   2700 MARFITT RD #207                                                                           E LANSING       MI    48823‐6338
UA 07/25/01
ANGELINE E MARTIN                                  5532 THRUSH STRET                                                                              GRAND BLANC      MI   48439‐7940
ANGELINE F CWIKLINSKI                              12200 COUNTRY RUN DR                                                                           BIRCH RUN        MI   48415‐8535
ANGELINE G MARTELL                                 351 ERIE AVE                                                                                   CARNEYS POINT    NJ   08069‐2602
ANGELINE G SFIKAS                                  7147 MANCHESTER RD                                                                             CANAL FULTON     OH   44614
ANGELINE GITRE                                     6140 COOLIDGE                                                                                  DEARBORN HEIGHTS MI   48127‐2863

ANGELINE H CHAPPELL                                14206 TUCKAHOE AVE                                                                             CLEVELAND       OH    44111‐2324
ANGELINE H EBLE                                    3332 ROMAKER                                                                                   TOLEDO          OH    43615‐1433
ANGELINE HAMILTON                                  22645 NONA ST                                                                                  DEARBORN        MI    48124‐4712
ANGELINE HARRIS                                    2021 KEYLIME STREET                                                                            OCOEE           FL    34761‐3932
ANGELINE HIGGERSON                                 13100 TULLER                                                                                   DETROIT         MI    48238‐3128
ANGELINE HILDMAN                                   114 STRAND PL                                                                                  SYRACUSE        NY    13208‐2718
ANGELINE HOGGINS & STEVE DEL COSTELLO JT TEN       18 WEST STREET                                                                                 GLOVERSVILLE    NY    12078‐2808

ANGELINE J ROBINSON                                760 GREENS MILL RD                                                                             CLARKTON        NC    28433‐8488
ANGELINE L DAVIS                                   15229 WEDGEWOOD COMMONS DR                                                                     CHARLOTTE       NC    28277‐2913
ANGELINE L HUGHES                                  3112 OLD POWDER HOUSE RD                                                                       AIKEN           SC    29803‐6279
ANGELINE L MULLER                                  1101 PINEWOOD DR N W                                                                           WALKER          MI    49544‐7969
ANGELINE LORRAINE DITZHAZY                         7836 ROBIN MEADOWS                                                                             FREELAND        MI    48623‐8403
ANGELINE M BRONSON                                 6167 WHITE SANDS DR                                                                            OTTER LAKE      MI    48464‐9725
ANGELINE M CANALE                                  BOX 317                                                                                        CASPIAN         MI    49915‐0317
ANGELINE M CASAROTTO & EDMOND G CASAROTTO JT       45 GRAHAM WAY                                                                                  E GREENWICH     RI    02818
TEN
ANGELINE M PEPPLER                                 1125 PINE AVE                         APT 11C                                                  REDLANDS        CA    92373‐5517
ANGELINE M SAUNDERS                                1618 BURKE ROAD                                                                                BALTIMORE       MD    21220‐4421
ANGELINE M SEARIGHT                                3445 HILL LN                                                                                   ACWORTH         GA    30102‐1596
ANGELINE M TOUPIN                                  PO BOX 12682                                                                                   TEMPE           AZ    85284‐0045
ANGELINE M WATSON & PENELOPE F WATSON &            183 WHITE OAK DR                                                                               SANTA ROSA      CA    95409‐5912
MICHAEL R WATSON JT TEN
ANGELINE MARIE KEANE                               159 KENWOOD BLVD                      LASALLE ON                             N9J 1R6 CANADA
ANGELINE MCGRAW                                    4600 GREGORY RD                                                                                GOODRICH        MI    48438‐8910
ANGELINE P FERNANDEZ                               196 ORCHARD CREEK LN                                                                           ROCHESTER       NY    14612‐3514
ANGELINE P HISLER TR ANGELINE P HISLER REVOCABLE   7222 N VIA DE PAESIA                                                                           SCOTTSDALE      AZ    85258‐3738
TRUST UA 09/30/97
ANGELINE PRYOR                                     BOX 99                                                                                         ARCADIA         IN    46030‐0099
ANGELINE R GLOSEK                                  179 MESSER AVE                                                                                 DEPEW           NY    14043‐4431
ANGELINE ROCHA                                     531 WEADOCK ST                                                                                 SAGINAW         MI    48607
ANGELINE S BROWN                                   40616 WILLIAM DR                                                                               CLINTON TWP     MI    48038‐4730
ANGELINE SACKRISON                                 4233 64TH ST                                                                                   GRANDVILLE      MI    49418‐9359
ANGELINE SLEZAK TR ANGELINE SLEZAK LIVING TRUST    40238 KRAFT DR                                                                                 STERLING HGTS   MI    48310‐1765
UA 04/06/00
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 160 of 850
Name                                              Address1                            Address2             Address3          Address4          City              State Zip

ANGELINE STEFANIK                                 305 HIGH ST                                                                                  LOCKPORT          NY    14094‐4601
ANGELINE TRYBUSKIEWICZ                            21 HOLMES STREET                                                                             BUFFALO           NY    14207‐2228
ANGELINE TUCK                                     8756 MORNING GLORY WAY                                                                       ELK GROVE         CA    95624‐3840
ANGELINE V FESKUN                                 117 BENNINGTON RD                                                                            SNYDER            NY    14226‐4909
ANGELINE ZACK                                     C/O DANIEL E ZACK                   8221 COLFAX NE                                           ALBUQUERQUE       NM    87109‐4911
ANGELINO FIGUEROA                                 6807 ROSEDALE ST NW                                                                          GIG HARBOR        WA    98335
ANGELIQUE F ALLEN                                 RR 2 BOX 262                                                                                 TOWANDA           PA    18848‐9105
ANGELIQUE GATES                                   12005 CLEVELAND GIBBS RD                                                                     ROANOKE           TX    76262‐5769
ANGELIQUE R BENTON                                1080 CRABAPPLE LAKE CIRCLE                                                                   ROSWELL           GA    30076‐4272
ANGELITA ESCOBEDO                                 460 N LANE ST                                                                                BLISSFIELD        MI    49228‐1156
ANGELITA MARIE TURNER                             11414 WESTWOOD                                                                               DETROIT           MI    48228‐1389
ANGELITA MOLINA                                   648 BELFAST FARMINGTON RD                                                                    BELFAST           TN    37019
ANGELITO MACABUAG                                 3073 SYCAMORE POINT TRL                                                                      HIGH POINT        NC    27265‐8306
ANGELLE F COOPER                                  2418 CLIFTON SPRINGS                MANOR                                                    DECATUR           GA    30034
ANGELO A LUCA                                     9200 GREENHOUSE CIR                                                                          BALTIMORE         MD    21236‐1761
ANGELO A LUCA & MINNIE LUCA JT TEN                9200 GREENHOUSE CIR                                                                          BALTIMORE         MD    21236‐1761
ANGELO A MAGLIONE                                 6157 ROSEBAY ST                                                                              LONG BEACH        CA    90808‐4007
ANGELO A MATERA                                   2551 STANMOOR DR                                                                             WATERFORD         MI    48329‐2365
ANGELO A MULE                                     3 GRADY LN                                                                                   BREWSTER          NY    10509‐3230
ANGELO A PICICCI                                  4922 RIVERRIDGE DR                                                                           LANSING           MI    48917‐1353
ANGELO ACQUISTA CUST DOMINICK ACQUISTA UGMA       32 NORTH DR                                                                                  MALBA             NY    11357‐1067
NY
ANGELO ALFONSO                                    860 MICHAYWE DR                                                                              GAYLORD           MI    49735‐8756
ANGELO BACACIO                                    APT 1                               7370 WOODVIEW                                            WESTLAND          MI    48185‐5912
ANGELO BELLIZZI                                   22 HART AVE                                                                                  YONKERS           NY    10704‐3612
ANGELO BONOMO & MRS ELENA BONOMO JT TEN           20100 FAIRMONT BLVD APT 203                                                                  SHAKER HTS        OH    44118
ANGELO C CALCATERRA & SALLY A CALCATERRA JT TEN   16964 DRIFTWOOD DR                                                                           MACOMB            MI    48042‐3603
                                                                                                                                               TOWNSHIP
ANGELO C MILAZZO                                  92 HARTWELL RD                                                                               BUFFALO           NY    14216‐1704
ANGELO C RENNA & JANICE RENNA JT TEN              10 DANBURY CT                                                                                CLIFTON PARK      NY    12065‐8733
ANGELO CAMPISI                                    8089 PAGODA DR                                                                               SPRING HILL       FL    34606‐6814
ANGELO CATAPANO                                   1234 HOMESTEAD ROAD                                                                          LAGRANGE PARK     IL    60526‐1158
ANGELO CHELLI                                     3125 BEACH VIEW CT                                                                           LAS VEGAS         NV    89117‐3532
ANGELO CHIARELLI                                  6531 SADDLE RIDGE LANE                                                                       LONG GROVE        IL    60047‐2022
ANGELO CIAMPA                                     253 TUFTS LANE                                                                               FALLING WATERS    WV    25419‐7047
ANGELO CIANCIOSI                                  84 WASHINGTON AVE                                                                            ORCHARD PARK      NY    14127‐1721
ANGELO COCCO                                      280 TOCKWOGH DR                                                                              EARLEVILLE        MD    21919‐2701
ANGELO CORNNACCHIA                                16414 BRAEBURN RIDGE TR                                                                      DELRAY BEACH      FL    33446‐9508
ANGELO D VALLETTA                                 53 PARK HILL DR                                                                              NEWBURGH          NY    12553‐6437
ANGELO DANDUCCI                                   191 HEATHER LN                                                                               CORTLAND          OH    44410‐1217
ANGELO DI VECCHIO & MRS ELEANOR DI VECCHIO JT     1407 ST ANN ST                                                                               SCRANTON          PA    18504‐3018
TEN
ANGELO DIBELLO & MATHILDE DIBELLO JT TEN          10815 ELLICOTT RD                                                                            PHILADELPHIA      PA    19154‐4407
ANGELO DIMILLO                                    18 KING ST                                                                                   LOCKPORT          NY    14094‐4108
ANGELO DISCERNI                                   633 NEW JERSEY AVENUE                                                                        LYNDHURST         NJ    07071‐2020
ANGELO F RICAPITO                                 20 SHADY GLEN COURT #2‐G                                                                     NEW ROCHELLE      NY    10805‐1810
ANGELO F TRANI                                    1050 S JEFFERSON ST                                                                          ALLENTOWN         PA    18103‐3869
ANGELO FAITAGE & NOULA FAITAGE TR ANGELO          22421 SUZAN CT                                                                               ST CLAIR SHORES   MI    48080‐2532
FAITAGE TRUST UA 04/03/98
ANGELO FAZIO                                      49 SUNSET LANE                                                                               BERLIN            CT    06037‐3125
ANGELO FOTIA & JOSEPH M FOTIA JT TEN              63 SOUTH NEW YORK ST                                                                         LOCKPORT          NY    14094‐4226
ANGELO G PINTO                                    16240 SW LOON DR                                                                             BEAVERTON         OR    97007‐8990
ANGELO G SANTANIELLO                              25 SHIRLEY LANE                                                                              NEW LONDON        CT    06320‐2929
ANGELO G STRABLEY                                 19160 OAKMONT DRIVE S                                                                        SOUTH BEND        IN    46637‐3531
ANGELO GENCARELLI                                 60 BIRCHWOOD TER                                                                             WAYNE             NJ    07470‐3459
ANGELO GIBELLI                                    120 CONANT ST                                                                                REVERE            MA    02151‐5633
ANGELO GIOVINO                                    23 80 E 74TH ST                                                                              BROOKLYN          NY    11234‐6626
ANGELO GIOVINO & MRS STELLA GIOVINO JT TEN        2380 EAST 74TH ST                                                                            BROOKLYN          NY    11234‐6626
ANGELO GRIMES                                     3706 PAULDING AVE                                                                            BRONX             NY    10469‐1212
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 161 of 850
Name                                               Address1                            Address2                Address3       Address4          City            State Zip

ANGELO H DI NITTO                                  927 FRANKLIN ST                                                                              MONTEREY        CA    93940
ANGELO I POPE                                      115 INDIAN TRAIL RD                                                                          OAK BROOK       IL    60523‐2794
ANGELO IALACCI                                     6883 STRATHAM RD                                                                             TEMPERANCE      MI    48182‐2214
ANGELO IPPOLITO & LILLIAN IPPOLITO JT TEN          812 AVE O                                                                                    BROOKLYN        NY    11230‐6415
ANGELO J ALFIERI                                   380 RAINES PARK                                                                              ROCHESTER       NY    14613‐1117
ANGELO J BUTERA                                    508 30TH ST                                                                                  NIAGARA FALLS   NY    14301‐2538
ANGELO J CAMPANELLA                                3201 RIDGEWOOD DR                                                                            HILLIARD        OH    43026
ANGELO J EGIZIO & MARY C EGIZIO JT TEN             2145HIDDEN VALLEY DR                                                                         NAPERVILLE      IL    60565‐9313
ANGELO J GIACCIO                                   C/O JOAN GROSCH                     1840 GREENVIEW AVENUE                                    CHICAGO         IL    60622
ANGELO J HILL                                      10388 W GRAND BLANC RD                                                                       GAINES          MI    48436‐9772
ANGELO J LA PORTA                                  764 MEADOW BROOK DRIVE                                                                       NORTH           NY    14120‐1922
                                                                                                                                                TONAWANDA
ANGELO J LAZZARINI & VITTORIA M LAZZARINI JT TEN   17279 W 13 MILE RD                                                                           SOUTHFIELD      MI    48076‐1259

ANGELO J LERAKIS                                   359 OAK KNOLL NE                                                                             WARREN          OH    44483‐5422
ANGELO J METOYER                                   13248 GABLE                                                                                  DETROIT         MI    48212‐2530
ANGELO J PORTELLI & MRS LORRAINE G PORTELLI JT TEN 523 WYOMING AVE                                                                              WEST PITTSTON   PA    18643‐2751

ANGELO J REDAELLI                              276 FAIRPARK DRIVE                                                                               BEREA           OH    44017‐2405
ANGELO KAPERNEKAS CUST EUGENIA LYNN            1812 BRISTOL ST                                                                                  WESTCHESTER     IL    60154‐4404
KAPERNEKAS UGMA IL
ANGELO KAPERNEKAS CUST KARA A KAPERNEKAS UTMA 1812 BRISTOL AVE                                                                                  WESTCHESTER     IL    60154‐4404
IL
ANGELO KRIS BENDOFF II                         2836 W BROAD ST                                                                                  COLUMBUS        OH    43204‐2644
ANGELO L ABBENANTE                             1401 LAND END RD                                                                                 LAKE WORTH      FL    33462
ANGELO LA ROCCA                                487 GUINEVERE DR                                                                                 ROCHESTER       NY    14626‐4341
ANGELO LOVELLO                                 2428 POPLAR ST                                                                                   UNION           NJ    07083‐6513
ANGELO M FERRARA                               BOX 192                                                                                          BAYONNE         NJ    07002‐0192
ANGELO M LUGARDO                               7904 ELMSTONE CI                                                                                 ORLANDO         FL    32822‐6982
ANGELO M PUMA                                  117 CULPEPPER ROAD                                                                               WILLIAMSVILLE   NY    14221‐3639
ANGELO M SEGGIO                                235 POINCIANA PKWY                                                                               CHEEKTOWAGA     NY    14225‐5211
ANGELO M ZINE & LUCILLE M ZINE JT TEN          130 W HILL TER                                                                                   PAINTED POST    NY    14870‐1002
ANGELO MANUEL QUILES                           6711 PAX CT                                                                                      ARLINGTON       TX    76002‐3520
ANGELO MANUELE CUST ANGELA ELLEN MANUEL UGMA 3026 S OAK PARK                                                                                    VISALIA         CA    93277‐7433
CA
ANGELO MARINACCIO                              150 FOX MEADOW RD                                                                                SCARSDALE       NY    10583‐2302
ANGELO MARIO OLDANI & PATRICIA ANN OLDANI JT   117 S DOHENY DR                         APT 216                                                  LOS ANGELES     CA    90048‐2937
TEN
ANGELO MICHAEL FERRO                           100 PT SAN PEDRO RD                                                                              SAN RAFAEL      CA    94901‐4200
ANGELO MICHAEL MIANO                           1323 SHERWOOD AVE                                                                                N TONAWANDA     NY    14120‐3520
ANGELO MILANO                                  4 NORTHERN AVE                                                                                   WILMINGTON      DE    19805‐5134
ANGELO MODESTI                                 234 KEARNEY AVE                                                                                  BRONX           NY    10465‐3423
ANGELO MUNOZ                                   3168 MARIGOLD RD                                                                                 BELOIT          WI    53511‐1633
ANGELO N CIURLEO & LUCY N CIURLEO JT TEN       30360 WESTBROOK PARKWAY                                                                          SOUTHFIELD      MI    48076‐5378
ANGELO NAPOLI                                  549 FOURTH AVENUE                                                                                ELIZABETH       NJ    07202‐3728
ANGELO O LEWIS                                 17377 FREELAND                                                                                   DETROIT         MI    48235‐3908
ANGELO OLDANI CUST PATRICK ANGELO MARIO OLDANI 5312 REBER PLACE                                                                                 ST LOUIS        MO    63139‐1419
UGMA MO
ANGELO P BERTOLINI & IRENE BERTOLINI JT TEN    PO BOX 118                                                                                       LEONARD         MI    48367‐0118
ANGELO P BONAQUEST                             233 SHTON RD                                                                                     SHARON          PA    16146
ANGELO P CRETICOS & ANASTASIA CRETICOS JT TEN  2449 CARDINAL LANE                                                                               WILMETTE        IL    60091‐2334

ANGELO P GENOVESI                                  9535 BIRCH RUN DR                                                                            GAYLORD         MI    49735‐8535
ANGELO P PITTO                                     65 DICHIERA CT                                                                               SAN FRANCISCO   CA    94112‐4105
ANGELO PALMUCCI                                    410 N BEVERLY DR                                                                             SANDUSKY        OH    44870‐5472
ANGELO PAOLO                                       3841 KILBOURNE AVE                                                                           CINCINNATI      OH    45209‐1814
ANGELO PAULINE                                     RR 1 BOX 1397                                                                                GOULDSBORO      PA    18424‐9446
ANGELO R BAILEY                                    PO BOX 1052                                                                                  BOWLING GREEN   KY    42102‐1052
ANGELO R SICILIANO JR                              3424 ROCKER DR                                                                               CINCINNATI      OH    45239‐4020
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 162 of 850
Name                                            Address1                               Address2             Address3          Address4                City               State Zip

ANGELO RODRIGUEZ JR                             1217 HARDING AVE                                                                                      LINDEN             NJ    07036‐4713
ANGELO SANTORO                                  249 LATTINGTOWN RD                                                                                    LOCUST VALLEY      NY    11560
ANGELO STAGNARO                                 18110 VON GLAHN AVE                                                                                   ESCALON            CA    95230
ANGELO T VACI                                   8818 W 89TH ST                                                                                        HICKORY HILLS      IL    60457‐1203
ANGELO V MANGO                                  APT 4C                                 403 E 69TH STREET                                              NEW YORK           NY    10021‐5631
ANGELO V PANOURGIAS                             13118 HICKORY MILL CT                                                                                 SAINT LOUIS        MO    63146‐1812
ANGELO VALLECOCCIA                              13677 ASCOT DRIVE                                                                                     STERLING HEIGHTS   MI    48312‐4108

ANGELO ZAFFUTO                                  306 W FILBERT ST                                                                                      E ROCHESTER        NY    14445‐2126
ANGELYN H SERVIS                                12196 SOUTH BLOSSOM LEA                                                                               ALDEN              NY    14004‐9440
ANGELYN M ELKINS & MARION V ELKINS JT TEN       795 OPA LOCKA BLVD                                                                                    MIAMI              FL    33168‐2928
ANGELYN S JAMES                                 755 PATTERNS DR                                                                                       MABLETON           GA    30126‐1664
ANGELYN S LEWIS                                 755 PATTERNS DR                                                                                       MABLETON           GA    30126‐1664
ANGELYNN DAWN MCKENZIE                          3100 LA ORILLA NW                                                                                     ALBUQUERQUE        NM    87120‐2504
ANGENELLA HELLER                                217 E BAKER                                                                                           FLINT              MI    48505‐4976
ANGIE DIDONATO                                  3728 SW 15TH PL                                                                                       CAPE CORAL         FL    33914‐5172
ANGIE K HAMPTON                                 822 SUNNYVIEW AVE                                                                                     DAYTON             OH    45406‐1956
ANGIE L TAYLOR                                  20191 KENTUCKY                                                                                        DETROIT            MI    48221‐1138
ANGIE LONG                                      11821 SOUTH WALKER                                                                                    OKLAHOMA CITY      OK    73170‐6407
ANGIE M HELBIG                                  3282 WASHINGTON ROAD                                                                                  MANSFIELD          OH    44903‐7337
ANGIE M MANOLATOS & CAROL A WYSZYNSKI JT TEN    15112 ARDLEY HALL COURT                                                                               SHELBY TWP         MI    48315‐4963

ANGIE M PEREZ                                   18180 LAKE CHABOT ROAD                                                                                CASTRO VALLEY      CA    94546‐1941
ANGIE M UPSHAW TR ANGIE UPSHAW TRUST UA         1305 SHADY OAK DR                                                                                     CARSON CITY        NV    89710
5/23/95
ANGIE REUSING                                   104 BONNIE LESLIE AVE                                                                                 BELLEVUE           KY    41073‐1703
ANGIENETTE BAILEY                               32448 WEST TEN MILE ROAD                                                                              FARMINGTON HILL    MI    48226

ANGNES BRANDOLINE                               C/O 900 REVLAND DR                     TECUMSEH ON                            N8N 5B2 CANADA
ANGUS D MCEACHEN & PAULA B MCEACHEN JT TEN      195 LINDEN ROAD                        PO BOX 2301                                                    PINE HURST         NC    28370‐2301

ANGUS F MC DUFFIE                               437 HAYNSWORTH ST                                                                                     SUMTER             SC    29150‐4055
ANGUS J SAYLOR                                  2603 OAK SUMMIT DR                                                                                    JACKSONVILLE       FL    32211‐3836
ANGUS J SMITH                                   20920 SEMINOLE                                                                                        SOUTHFIELD         MI    48034‐3552
ANGUS J SMITH & MARJORIE SMITH JT TEN           20920 SEMINOLE                                                                                        SOUTHFIELD         MI    48034‐3552
ANGUS JAMES JOHNSTON 3RD                        907 SHERMER RD                                                                                        NORTHBROOK         IL    60062‐3728
ANGUS KENNEDY & BARBARA D KENNEDY JT TEN        1083 HALL ST                                                                                          MANCHESTER         NH    03104‐3852
ANGUS M ODDY                                    2209 WOODBINE DRIVE                                                                                   PORTAGE            MI    49002‐7241
ANGUS O BOWLES                                  204 LAWRENCE LN                                                                                       SPRINGFIELD        TN    37172‐5503
ANGUS S HINDS JR                                849 N LONG LAKE BLVD                                                                                  LAKE ORION         MI    48362‐1867
ANGUS T GILLIS                                  FIVE MARTINS RD                                                                                       NEWTON SQUARE      PA    19073‐1915
ANGUS THOMSON                                   7 PARKSIDE                             WELWYN HERTS                           AL6 9DQ GREAT BRITAIN
ANGUS THOMSON                                   7 PARKSIDE                             WELWYN HERTS                           AL6 9DQ GREAT BRITAIN
ANGUS THOMSON                                   7 PARKSIDE WELWYN                      HERTS                                  AL6 9DQ GREAT BRITAIN
ANH T TRAN                                      1718 WOODMAN DR                                                                                       DAYTON             OH    45420‐3639
ANIBAL ALAMO                                    2237 WHISTLER'S PARK CIR 8                                                                            KISSIMMEE          FL    34743‐3223
ANIBAL J TINEO                                  31‐35 CRESCENT ST                      APT 2U                                                         ASTORIA            NY    11106‐3723
ANIBAL PERDOMO                                  11 FAWNDALE RD                                                                                        ROSLINDALE         MA    02131‐2001
ANICA VELKOSKI                                  PO BOX 1432                                                                                           COOLIDGE           AZ    85228‐1432
ANICE J RANDALL                                 4212 SABAL COURT                                                                                      BAKERSFIELD        CA    93301‐5978
ANICE M FREEZE                                  ATTN ANICE CLAYTON                     1704 HORLACHER AVE                                             KETTERING          OH    45420‐3237
ANIDA L LEAFGREEN & DONALD R LEAFGREEN JT TEN   7790 GOLF BLVD                                                                                        ZOLFO SPRINGS      FL    33890‐3419

ANIELLO L RINALDI                               41 DEAN RD                                                                                            SPENCERPORT        NY    14559‐9537
ANIELLO ROMANO                                  2078 OLD HICKORY BLVD                                                                                 DAVISON            MI    48423‐2030
ANIL BAJPAI CUST GAURI BAJPAI UTMA IN           3692 CASTLE ROCK DR                                                                                   ZIONSVILLE         IN    46077‐7800
ANIL H BAROT                                    415 OAK MONT                                                                                          SCHAUMBURG         IL    60173
ANIL H SHAH & NEVENDU PATEL JT TEN              304 GRANDE RIVER BLVD                                                                                 TOMS RIVER         NJ    08755‐1189
ANIL KUMAR                                      CONANT ROAD                                                                                           LINCOLN            MA    01773
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 163 of 850
Name                                                 Address1                             Address2             Address3          Address4          City              State Zip

ANIL KUMAR THAGIRISA TR PAVANI THAGIRISA             1516 COUNTRY CLUB ROAD                                                                        FAIRMONT          WV    26554‐1307
IRREVOCABLE TRUST UA 05/29/96
ANIMAL CARE FUND INC                                 P OB OOX A                                                                                    EAST SMITHFIELD   PA    18817
ANIMAL RIGHTS MOBILIZATION INC                       C/O KAY SIEVERS                      PO BOX 671                                               PLACITAS          NM    87043‐0671
ANIMAL WELFARE LEAGUE OF BENZIE COUNTY               BOX 172                                                                                       FRANKFORT         MI    49635‐0172
ANINA M ENGELHORN                                    1002 DURHAM DR                                                                                BLOOMINGTON       IL    61704‐1256
ANIRUTH NAVANUGRAHA                                  15 LUDLOW LN                                                                                  PALMCOAST         FL    32137
ANISE E PITTMAN                                      1660 BLAINE                                                                                   DETROIT           MI    48206‐2206
ANISE FARLEY                                         2514 W WOODWELL RD                                                                            BALTIMORE         MD    21222‐2333
ANISE PIERCE                                         307 POLK ST                                                                                   RIVER ROUGE       MI    48218‐1030
ANISE V FRYE                                         64 WISTERIA COURT                                                                             FALLING WTRS      WV    25419
ANITA A BENTLEY                                      12050 MARKHAM COTTAGE RD                                                                      SOUTH DAYTON      NY    14138‐9755
ANITA A SMITH                                        822 WEST 19TH ST                     N VANCOUVER BC                         V7P 1Z6 CANADA
ANITA A STANSELL                                     2900 RUSHLAND DRIVE                                                                           KETTERING         OH    45419‐2136
ANITA AGUILERA                                       436 HOWARD MANOR DR                                                                           GLEN BURNIE       MD    21060‐8260
ANITA ALEXANDER                                      30833 OLD SHORE DR                                                                            NORTH OLMSTED     OH    44070‐3807
ANITA ALVARADO                                       323 PARKWEST #T‐4                                                                             LANSING           MI    48917‐2541
ANITA B ALLINGHAM & DEAN B ALLINGHAM JT TEN          9919 THORNWOOD RD                                                                             KENSINGTON        MD    20895‐4229

ANITA B FELDMAN                                      4 GAIL COURT                                                                                  WAYSIDE           NJ    07712‐3763
ANITA B HACK TOD AVI R GOULD SUBJECT TO STA TOD      2901 S LEISURE WORLD BLVD APT 306                                                             SILVER SPRING     MD    20906
RULES
ANITA B HERRON                                       46 OAKWOOD AVE                                                                                RYE               NY    10580‐3404
ANITA B ONEILL TR ANITA B ONEILL TRUST UA 07/31/98   124 BROADWAY AVE                                                                              WILMETTE          IL    60091‐3463

ANITA BENI                                           2450 LLOYD GEORGE RD                 WINDSOR ON                             N8T 2T4 CANADA
ANITA BENNETT                                        PO BOX #398                                                                                   WAYLAND           NY    14572‐0398
ANITA BERNS                                          20400 APPLE HARVEST CIR              APT L                                                    GERMANTOWN        MD    20876‐4089
ANITA BERRY LOWDEN                                   8 ANGEO ROAD                                                                                  ROME              GA    30165‐6678
ANITA BERUTTI                                        26 MOUNTAIN RIDGE DR                                                                          OXFORD            NJ    07863‐3602
ANITA BRANTLEY                                       1004 10TH PLACE S W                                                                           ALABASTER         AL    35007‐9288
ANITA BROCK                                          354 E HATT SWANK RD                                                                           LOVELAND          OH    45140‐9707
ANITA BROWN SILBERMAN                                292 VAN NOSTRAND AVE                                                                          ENGLEWOOD         NJ    07631‐4715
ANITA C BOYDE                                        13431 BURTON                                                                                  OAK PARK          MI    48237‐1690
ANITA C RIDDLE                                       C/O ANITA JOHNSON                    2642 WHITE OAK DR                                        ANN HARBOR        MI    48301
ANITA C ROSS                                         12924 FOREST HILL AVE                                                                         E CLEVELAND       OH    44112‐4727
ANITA C SERRA                                        10412 BENT BROOK PLACE                                                                        LAS VEGAS         NV    89134‐5149
ANITA C TRAINOR                                      446 MANOR RIDGE RD                                                                            PELHAM MANOR      NY    10803‐2316
ANITA CAVA                                           915 PLACITAS AVE                                                                              CORAL GABLES      FL    33146‐3434
ANITA CLEMONS CUST ALEX CLEMONS UTMA KY              2010 FAIRWAY VISTA DR                                                                         LOUISVILLE        KY    40245‐6527
ANITA COMEDY                                         1081 EAST 167TH STREET                                                                        CLEVELAND         OH    44110‐1522
ANITA CRAIG                                          ROUTE 1 ARNOLD HIGHWAY                                                                        JASPER            MI    49248‐9801
ANITA CUERBO SALOMON CUST TYLER GEORGE               215 QUINNIPIAC ST                                                                             WALLINGFORD       CT    06492‐3525
SALOMON UTMA NJ
ANITA D COMPTON                                      6667 BARBARA ST                                                                               INDIAN RIVER      MI    49749‐9351
ANITA D DILLON PER REP EST RALPH K DILLON SR         3422 MOSS ISLAND HEIGHTS                                                                      ANDERSON          IN    46011
ANITA D HENNEBERRY                                   7129 DRIFTWOOD DRIVE                                                                          FENTON            MI    48430‐4302
ANITA D PULIZZI                                      1128 BILLETTER DR                                                                             HURON             OH    44839‐2689
ANITA D WIDMANN                                      RR 06                                                                                         IRWIN             PA    15642‐9806
ANITA DAQUINO                                        33 DEUMANT TER                                                                                TONAWANDA         NY    14223‐2733
ANITA DE ROSA                                        706 BENTLEY COURT                                                                             BREWSTER          NY    10509‐6559
ANITA DI GIOIA                                       7A HUGHES PL                                                                                  NEW HAVEN         CT    06511
ANITA E CAREY                                        399 TAVA LANE                                                                                 PALM DESERT       CA    92211‐9053
ANITA E CUTLIP                                       1440 N REDDICK DR                                                                             PERRY             FL    32347
ANITA E EDINGTON                                     2148 M ST SW                                                                                  MIAMI             OK    74354
ANITA E EDINGTON & JERRY K EDINGTON JT TEN           1920 CHASE ST                                                                                 ANDERSON          IN    46016‐4237
ANITA E FERRARI                                      2 PARKHURST ST                                                                                MILFORD           MA    01757‐3538
ANITA E LEATHAM                                      1725 N CURTIS RD                                                                              BOISE             ID    83706‐1141
ANITA E MERCADO                                      2417 SE 45TH                                                                                  OKLAHOMA CITY     OK    73129‐8601
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 164 of 850
Name                                             Address1                               Address2                  Address3     Address4          City            State Zip

ANITA E OSBORNE                                  222 LA MESA DR                                                                                  LEWISVILLE      TX    75077‐7209
ANITA E WARNER                                   33417 ORANGELAWN                                                                                LIVONIA         MI    48150‐2631
ANITA F CATHER                                   29 BOSLEY AVENUE                                                                                COCKEYSVILLE    MD    21030‐2332
ANITA F ENTRICAN                                 1005 LOTT SMITH RD NW                                                                           WESSON          MS    39191‐9625
ANITA F FALASCO                                  3 IRISH MOSS CT                                                                                 SIMPSONVILLE    SC    29680‐7600
ANITA F GLASSER CUST AVAN MICHAEL GLASSER UGMA   34222 GLOUSTER CIRCLE                                                                           FARMINGTN HLS   MI    48331‐4702
MI
ANITA F STRUBLE                                  4255 WEAVER RD                                                                                  GERMANTOWN      OH    45327‐9517
ANITA F WENRICH & WILLIAM C WENRICH JT TEN       291 BROOKLAKE ROAD                                                                              FLORHAM PARK    NJ    07932
ANITA F WETZEL TR UA 07/16/2004 ANITA F WETZEL   10430 NOLAND RD                                                                                 OVERLAND PARK   KS    66215
LIVING TRUST
ANITA FLORIO HOFFMAN                             PREMIUM POINT                                                                                   NEW ROCHELLE     NY   10801
ANITA FREUDIGMAN                                 11072 WINDHURST                                                                                 WHITE LAKE       MI   48386‐3678
ANITA G AUTEN                                    445 WOLF LAKE                                                                                   BROOKLYN         MI   49230
ANITA G BACHMAN                                  3901 POULIOT PL                                                                                 WILMINGTON       MA   01887‐4588
ANITA G LE JUNE                                  11025 CHARLTON WOOD                                                                             BEAUMONT         TX   77705‐5833
ANITA G YOUNG                                    2049 WINSLOW CT                                                                                 MURFREESBORO     TN   37128‐5655
ANITA GAIL BURFORD                               5010 WHITFIELD                                                                                  DETROIT          MI   48204‐2135
ANITA GAIL SMITH KIMBO                           1207 JONES ST                                                                                   OLD HICKORY      TN   37138‐2934
ANITA GARCIA                                     112 NORTH MONROE AVENUE                                                                         SHREWSBURY       NJ   07702‐4020
ANITA GEE                                        1856 25TH AVE                                                                                   SAN FRANCISCO    CA   94122‐4314
ANITA GELMAN                                     6320 SWAINLAND RD                                                                               OAKLAND          CA   94611‐1844
ANITA GERTRUDE FUCHS                             C/O ANITA G F WEISBECK                 415 STATE HIGHWAY 120 W                                  THERMOPOLIS      WY   82443‐9100
ANITA GLASSER CUST AMY BETH GLASSER UGMA MI      33000 COVINGTON CLUB DR #47                                                                     FARMINGTON HILLS MI   48334‐1651

ANITA GLASSER CUST DEBORAH I GLASSER UGMA MI     33000 COVINGTON CLUB DR # 47                                                                    FARMINGTON HILLS MI   48334‐1651

ANITA GREEN CUST KEVIN GREEN UGMA MD             6700 MAXWELL DR                                                                                 HUGHESVILLE     MD    20637‐2543
ANITA GREGORY                                    2301 W 8TH STREET                                                                               MUNCIE          IN    47302‐1631
ANITA GURWIN CUST MICHAEL GURWIN UTMA CO         4539 LYNDENWOOD CIR                                                                             LITTLETON       CO    80130‐8811

ANITA H SHAKUR                                   5560 HWY 43                                                                                     JEFFERSON       TX    75657
ANITA H WEITZMAN CUST CRAIG M WEITZMAN UGMA      1015 DARTMOUTH LANE                                                                             WOODMERE        NY    11598‐1011
NY
ANITA H WEITZMAN CUST DANIELLE WEITZMAN UTMA     1015 DARTMOUTH LANE                                                                             WOODMERE        NY    11598‐1011
NY
ANITA H WEITZMAN CUST JONATHAN E WEITZMAN        1015 DARTMOUTH LANE                                                                             WOODMERE        NY    11598‐1011
UTMA NY
ANITA HALLINAN                                   186 HILLSIDE DR                                                                                 ORCHARD PARK    NY    14127‐3247
ANITA HARTZBAND                                  7900 N W 85TH TERRACE                                                                           TAMARAC         FL    33321‐1673
ANITA HIGGINS                                    C/O ANITA QUINN                        33 RAWSON COURT                                          HILLSDALE       NJ    07642‐1708
ANITA HILL                                       1020 SCOTLAND DR                                                                                DESOTO          TX    75115‐2053
ANITA HOLMES                                     984 CECELIA DR                                                                                  ESSEXVILLE      MI    48732‐2104
ANITA HOWE                                       LANDING RD                                                                                      SOUTHPORT       ME    04569
ANITA J BOWEN                                    2947 HIGHWAY 582                                                                                PINE TOP        KY    41843‐9049
ANITA J HESS                                     1488 ESTELLE RD                                                                                 GAYLORD         MI    49735‐9298
ANITA J JOSEPH                                   15659 KNOLL OAK CT                                                                              HUNTERSVILLE    NC    28078‐4834
ANITA J KOMMNICK                                 41 TURTLEBACK TRL                                                                               PONTE VEDRA     FL    32082‐2565
                                                                                                                                                 BEACH
ANITA J LAGA                                     1422 BRINKER CT                                                                                 METAMORA        MI    48455‐8922
ANITA J LAYCOX                                   7 STARR PL                                                                                      DAYTON          OH    45420‐2931
ANITA J MIKULA SMITH                             1123 ANNE ELISA CIRCLE                                                                          SAINT CLOUD     FL    34772
ANITA J WILLIAMS                                 PO BOX 459                                                                                      PANGUITCH       UT    84759‐0459
ANITA J WILLIS                                   5305 ONONDAGA ROAD R D NO 1                                                                     CAMILLUS        NY    13031‐9711
ANITA JACOBS EX EST MORRIS L JACOBS              PO BOX 848                                                                                      PARKER          CO    80134
ANITA JANE SCHREIBER                             345 MILLERS TAVERN RD                                                                           TAPPAHANNOCK    VA    22560‐4938
ANITA JOHNSON                                    712 WGRAND                                                                                      DETROIT         MI    48216
ANITA K SANDERS                                  1176 TRUXELL DRIVE                                                                              MANSFIELD       OH    44906‐1558
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 165 of 850
Name                                             Address1                                  Address2             Address3          Address4          City              State Zip

ANITA K SIMPSON TR 10/04/04 ANITA K SIMPSON      445 LIMIT AVE                                                                                      MOUNT DORA        FL    32757
FAMILY TRUST
ANITA KRUSE                                      6425 BELMONT ST                                                                                    HOUSTON           TX    77005‐3801
ANITA KUBICINA                                   1216 WOODLEDGE DR                                                                                  MINERAL RIDGE     OH    44440‐9406
ANITA L AGUIRRE                                  608 CEDAR SIDE NE CI CIR                                                                           PALM BAY          FL    32905‐5021
ANITA L BRAMLETT                                 407 PINE CONE CIRCLE                                                                               HAUGHTON          LA    71037‐9510
ANITA L FEHR                                     186 CANAL ST APT 1                                                                                 CANASTOTA         NY    13032‐1360
ANITA L FORD                                     6508 STONEBROOK LN                                                                                 FLUSHING          MI    48433‐2593
ANITA L FREEMAN                                  12546 FAREGLOW WALK                                                                                DALLAS            TX    75243‐3248
ANITA L GALLOCHER                                217 06 53 AVE                                                                                      BAYSIDE           NY    11364
ANITA L KRESGE                                   106 OLD POINT RD                                                                                   WILMINGTON        DE    19803‐3009
ANITA L LACKEY & JESSICA L LACKEY JT TEN         11405 HILLSBORO ROAD                                                                               PLATTE CITY       MO    64079
ANITA L LAWLESS                                  213 MEDLOCK LN                                                                                     ALEXANDRIA        VA    22304
ANITA L MANILLA                                  38 SHENANGO BLVD                                                                                   FARRELL           PA    16121‐1736
ANITA L MARKHAM & PAUL R MARKHAM TR ANITA L      4463 WESTOVER DR                                                                                   WEST BLOOMFIELD   MI    48323‐2876
MARKHAM TRUST UA 6/14/99
ANITA L MATIKA                                   85 LIGHT STREET                           WOODSTOCK ON                           N4S 6G9 CANADA
ANITA L MCCABE                                   11875 STONE BLUFF DR                                                                               GRAND LEDGE       MI    48837‐2415
ANITA L MILLER & STEVEN B MILLER JT TEN          4510 GRAND LIN                                                                                     SWARTZ CREEK      MI    48473‐9184
ANITA L MOORE                                    8138 S GARFIELD WAY                                                                                LITTLETON         CO    80122‐3613
ANITA L NAUGLE                                   4179 E ROLSTON ROAD                                                                                LINDEN            MI    48451‐8437
ANITA L NEGENDANK                                21001 THIELE                                                                                       ST CLR SHRS       MI    48081‐3058
ANITA L PETRELLA CUST JAMES WILLIAM PETRELLA     200 BRAYBARTON BLVD                                                                                STEUBENVILLE      OH    43952‐2338
UTMA OH
ANITA L POLLAK                                   92 OAK HILL RD                                                                                     WESTFORD        MA      01886‐1507
ANITA L RICHARDSON                               8789 ROBLES DR                                                                                     SAN DIEGO       CA      92119‐1429
ANITA L SEVERN                                   PO BOX 1054                                                                                        SALUDA          NC      28773‐1054
ANITA L SILVERNAIL                               5624 HUBBARDSTON RD                                                                                HUBBARDSTON     MI      48845‐9705
ANITA L TROST                                    21 CRESTWOOD ROAD                                                                                  PORT WASHINGTON NY      11050‐4422

ANITA L WARREN                                   1724 34TH STREET S W                                                                               WYOMING           MI    49509‐3311
ANITA LECCESE                                    830 W 4TH ST                                                                                       PORT ANGELES      WA    98363‐2107
ANITA LESTER                                     17 CARRIAGE HILL LANE                                                                              POUGHKEEPSIE      NY    12603‐4232
ANITA LIND                                       81 EDGEWATER PL                                                                                    EDGEWATER         NJ    07020‐1205
ANITA LORENE WARNTJES                            2927 LAW AVE                                                                                       BOISE             ID    83706‐5056
ANITA LOUISE AIKINS                              311 ROBBIE LN                                                                                      FLINT             MI    48505‐2136
ANITA LOUISE STAATS                              PO BOX 44717                                                                                       MADISON           WI    53744‐4717
ANITA LOUISE THOERNER                            11587 PLUMHILL DR                                                                                  CINCINNATI        OH    45249‐1706
ANITA LOVE & LEWIS E LOVE SR JT TEN              43 BAKER HILL ROAD                                                                                 GREAT NECK        NY    11023‐1508
ANITA LYNN SEVERN                                PO BOX 1054                                                                                        SALUDA            NC    28773‐1054
ANITA M AUGAITIS                                 428 EASTON GREY LOOP                                                                               CARY              NC    27519
ANITA M AUSTIN                                   2419 TIFFANY CIR                                                                                   DECATUR           GA    30035‐3318
ANITA M BIVER                                    1530 DANIEL DRIVE                                                                                  ARLINGTON         TX    76010‐8209
ANITA M BOHENSKY & JESSIE PULNAROWICZ JT TEN     16383 AVENIDA SUAVIDAD                                                                             SAN DIEGO         CA    92128‐3216

ANITA M CASON                                    13550 ALEX PACE                                                                                    CARR              CO    80612
ANITA M DINTINO & JOHN DINTINO JT TEN            5109 FIFTH AVE EXT                                                                                 YOUNGSTOWN        OH    44505‐1214
ANITA M DROUSE                                   4443 W DODGE ROAD                                                                                  CLIO              MI    48420‐8580
ANITA M EWING TR THE ANITA M EWING REVOCABLE     9803 BLUE RIDGE DRIVE                                                                              SUN CITY          AZ    85351‐3627
LIVING TRUST UA 09/23/02
ANITA M FRYE                                     2424 PINEHURST CRT                                                                                 MIDLAND           MI    48640‐4146
ANITA M GENERAL                                  162 HOOVER RD                                                                                      TROUTMAN          NC    28166‐9585
ANITA M GETTINGS                                 3672 WATERSIDE DR                                                                                  ORANGE PARK       FL    32065‐6982
ANITA M HUERTA & CATHERINE A VAUGHN JT TEN       555 MELROSE LN                                                                                     MOUNT MORRIS      MI    48458‐8926
ANITA M HUFFMAN                                  9850 CASE RD                                                                                       BROOKLYN          MI    49230
ANITA M JACKSON                                  104 S BRANCH ST                                                                                    REIDSVILLE        NC    27320‐3914
ANITA M JANNING                                  14 BENZELL DRIVE                                                                                   CENTERVILLE       OH    45458‐2439
ANITA M KARBACZ                                  22709 ARMSTRONG                                                                                    BROWNSTOWN        MI    48192‐8211
ANITA M KELLY                                    212 NW JACKIE AVE                                                                                  GRAIN VALLEY      MO    64029‐8004
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 166 of 850
Name                                               Address1                             Address2               Address3        Address4          City               State Zip

ANITA M MANNING                                    204 INDIAN SPRING DR                                                                          SILVER SPRING      MD    20901‐3110
ANITA M MARINI                                     23817 DEZIEL                                                                                  ST CLR SHORES      MI    48082
ANITA M MULLINS                                    1218 BOYD ROAD                                                                                XENIA              OH    45385‐9771
ANITA M NOVAK & JEROME D NOVAK JT TEN              41602 EAST EAGLE LAKE RD                                                                      FIFTY LAKES        MN    56448
ANITA M PRICE                                      25 SPRUCE ST                                                                                  MANCHESTER         CT    06040‐5313
ANITA M REETZ                                      1427 WOLCOTT                                                                                  JANESVILLE         WI    53546‐5551
ANITA M RUPPERT & FRED J RUPPERT JT TEN            1135 DENBIGH DR                                                                               IOWA CITY          IA    52246
ANITA M SAYLOR                                     507 CURLY MAPLE SQUARE                                                                        CINCINNATI         OH    45246‐4170
ANITA M SCHERER                                    5511 PALOMINO DRIVE                                                                           CINCINNATI         OH    45238‐4143
ANITA M TOTH                                       42 IRVEN ST                                                                                   TRENTON            NJ    08638‐2714
ANITA M WINDAS                                     486 MUNROE AVE                                                                                NORTH              NY    10591‐1422
                                                                                                                                                 TARRYTOWN
ANITA M WINDAS CUST ROBERT J WINDAS UGMA NY        486 MUNROE AVE                                                                                NORTH              NY    10591‐1422
                                                                                                                                                 TARRYTOWN
ANITA M WINDAS CUST SHARON N WINDAS UGMA NY        486 MUNROE AVE                                                                                NORTH              NY    10591‐1422
                                                                                                                                                 TARRYTOWN
ANITA M WINDAS CUST THOMAS M WINDAS UGMA NY 486 MUNROE AVE                                                                                       NORTH              NY    10591‐1422
                                                                                                                                                 TARRYTOWN
ANITA M WOODRUFF & NORMAN WOODRUFF JT TEN          4647 AUBUBON RD                                                                               INDIANAPOLIS       IN    46226‐2201

ANITA MAE KNIEPER                                  7290 MAPLE RD                                                                                 FRANKENMUTH        MI    48734‐9547
ANITA MALASPINA                                    219 SCHLERRER ST                                                                              CRANFORD           NJ    07016‐2548
ANITA MC RAE                                       1120 MILL CREEK BLVD                 APT C205                                                 MILL CREEK         WA    98012‐3098
ANITA MELLER & MANFRED MELLER JT TEN               12527 B CRYSTAL POINTE DR                                                                     BOYNOTE BEACH      FL    33437‐5675
ANITA MIGNON GRAIG                                 PO BOX 252                                                                                    COVINGTON          TX    76636‐0252
ANITA MOLINARI                                     658 BROAD ST                                                                                  MERIDEN            CT    06450‐4336
ANITA MOORE SAMS                                   3705 FAIRFIELD LN                                                                             ANDERSON           IN    46012‐9629
ANITA MORALES                                      628 E NORTH                                                                                   NEW BRAUNFELS      TX    78130‐4250
ANITA O PITLOCK                                    39582 EDGEMONT                                                                                STERLING HEIGHTS   MI    48310‐2320

ANITA P ALLEN                                      19140 3RD AVE NE                     PO BOX 1000                                              POULSBO            WA    98370‐0029
ANITA P CLARK                                      1573 NORTH FIVE LAKES RD                                                                      ATTICA             MI    48412‐9375
ANITA P WOMBOLD                                    11996 PUTNAM ROAD                                                                             ENGLEWOOD          OH    45322‐8732
ANITA PATE SULLIVAN                                62798 PEARL RD                                                                                MONTROSE           CO    81401‐9138
ANITA PEARSON                                      1860 ALABAMA AVE SE                                                                           WASHINGTON         DC    20020‐2810
ANITA PENA                                         305 SW 21ST ST                                                                                BLUE SPRINGS       MO    64015‐4025
ANITA PERKINS SHOEMAKER                            3534 WELCOME AVENUE NORTH                                                                     CRYSTAL            MN    55422‐2636
ANITA PINKAS                                       114 CLOVER RD                                                                                 IVYLAND            PA    18974‐1372
ANITA PODELL MILLER                                2020 QUAIL RUN DR NE                                                                          ALBUQUERQUE        NM    87122‐1100
ANITA PUCCI                                        960 JENNINGS RD #PRIVATE                                                                      FAIRFIELD          CT    06430‐4630
ANITA R BOROFF                                     1217 BROOKFIELD LN                                                                            MANSFIELD          TX    76063‐2565
ANITA R BRUETT                                     33 SELKIRK AVE                                                                                TOMS RIVER         NJ    08757
ANITA R FRANK                                      60 RIVER ST                          APT 405                                                  ROCHESTER          NY    14612‐4749
ANITA R QUINN                                      33 RAWSON CT                                                                                  HILLSDALE          NJ    07642‐1708
ANITA R RUNKLE                                     277 LOWELL                                                                                    XENIA              OH    45385‐2727
ANITA R SCHWENDT                                   114 CRESCENT LANE                                                                             HARLEYSVILLE       PA    19438‐1068
ANITA R SHIMER                                     7444 SPRING VILLAGE DR #302                                                                   SPRINGFIELD        VA    22150‐4473
ANITA R SMITH                                      PO BOX 20369                                                                                  SEDONA             AZ    86341‐0369
ANITA R SMITH CUST ALLYSSA D SMITH UGMA DC         10 MARY CATHERINE CIR                                                                         WINDSOR            CT    06095‐1775
ANITA R SPIER                                      23937 ‐ 21 MILE ROAD                                                                          MACOMB             MI    48042‐5110
ANITA R WHITE TR ANITA R WHITE TRUST UA 01/20/03   710 CLINTON PLACE                                                                             RIVER FOREST       IL    60305‐1914

ANITA RIDDLE JOHNSON                               2642 WHITE OAK DR                                                                             ANN ARBOR          MI    48103‐2361
ANITA ROLNICK                                      110 WEST ST                          APT 341                                                  NEEDHAM HGTS       MA    02494‐1399
ANITA ROSE                                         ATTN ANITA POWELL                    3304 NANCY ELLEN WAY                                     OWINGS MILLS       MD    21117‐1512
ANITA ROTHENBERG                                   PO BOX 1469                                                                                   ROCKVILLE          MD    20849‐1469
ANITA S CAMEY                                      530 S 16TH ST                                                                                 RICHMOND           CA    94804‐3715
ANITA S CRAIG                                      3501 RIVER PARK DR                                                                            ANDERSON           IN    46012‐4643
ANITA S MULLEN                                     4448 LOWER MOUNTAIN RD                                                                        LOCKPORT           NY    14094‐8811
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 167 of 850
Name                                             Address1                              Address2             Address3          Address4                         City              State Zip

ANITA S RANDELL                                  17 DELWICK LANE                                                                                               SHORT HILLS       NJ    07078‐2078
ANITA S ROBERTS                                  4305 CLIFFORD RD                                                                                              BROWNSBURG        IN    46112‐8533
ANITA S RUSSELL                                  3690 SHAYTOWN RD                                                                                              VERMONTVILLE      MI    49096‐9554
ANITA S VALANJO                                  1543 ROOSEVELT AV                                                                                             SALT LAKE CITY    UT    84105‐2735
ANITA S WOOTON                                   2525 SUNDANCE LANE                                                                                            OKEMOS            MI    48864‐5211
ANITA SHAPIRO CUST JEFFREY M SHAPIRO UGMA NC     2984 OAKBROOK DR                                                                                              WESTON            FL    33332‐3416

ANITA SWINGLE CUST CODY SWINGLE UTMA FL          9009 EXPOSITION DR                                                                                            TAMPA             FL    33626
ANITA T HARLOW                                   40 MALUS LANE                                                                                                 MIDDLETOWN        NJ    07748‐3076
ANITA THERESA KUTZ & TIMOTHY M KUTZ JT TEN       1701 S GRANT                                                                                                  BAY CITY          MI    48708‐8094
ANITA V MONTCREASE                               9039 BEVERLY                                                                                                  DETROIT           MI    48204‐2341
ANITA V NELSON & PHILLIP NELSON JT TEN           1321 VIA CATALUNA                                                                                             PALOS VERDES      CA    90274‐2009
                                                                                                                                                               ESTAT
ANITA W HARRIS                                   1044 GOLF LN                                                                                                  INDIANAPOLIS      IN    46260‐4466
ANITA W HARRIS & RANDY C HARRIS JT TEN           1044 GOLF LN                                                                                                  INDIANAPOLIS      IN    46260‐4466
ANITA W HARRIS & YELENA RANIKA HARRIS JT TEN     1044 GOLF LN                                                                                                  INDIANAPOLIS      IN    46260‐4466
ANITA WARD CUST TOMMY BERNAL UTMA OH             10173 WIDDINGTON CLOSE                                                                                        POWELL            OH    43065‐9059
ANITA WILDER                                     BOX 8                                                                                                         MENDOCINO         CA    95460‐0008
ANITA WILLIAMS                                   1914 CALVERT                                                                                                  DETROIT           MI    48206‐1530
ANITA WILSON                                     1044 GOLF LANE                                                                                                INDPLS            IN    46260‐4466
ANITA WINDAS                                     486 MUNROE AVE                                                                                                NORTH             NY    10591‐1422
                                                                                                                                                               TARRYTOWN
ANITA Y SANDEFUR CUST AMELIA A SANDEFUR UTMA    2958 THORNWOOD DRIVE                                                                                           MACON             GA    31204‐1250
GA
ANITA Y SANDEFUR CUST JOSEPH T SANDEFUR UTMA GA 2958 THORNWOOD DR                                                                                              MACON             GA    31204‐1250

ANITA Y SANDEFUR CUST OSCAR N SANDEFUR UTMA GA 2958 THORNWOOD DR                                                                                               MACON             GA    31204‐1250

ANITA YOUNT                                      715 INDIAN RIVER AVE                                                                                          TITUSVILLE        FL    32780‐4212
ANITA ZELMON                                     31367 HARLO DR                        APT A                                                                   MADISON HTS       MI    48071
ANITHA CHANNAPPA                                 25290 E OTTAWA DR                                                                                             AURORA            CO    80016‐7533
ANITIONETT SANDERS                               16400 N PARK DR                       APT 310                                                                 SOUTHFIELD        MI    48075‐4726
ANITRA M DYER                                    PO BOX 722                            BASSETERRE           WEST INDIES       ST CHRIS. (ST KITTS) AND NEVIS

ANJANETTE CONWAY                                17570 WISCONSIN ST                                                                                             DETROIT          MI     48221‐2504
ANJELLA A PELLEGRINO CUST VICTOR A DUNN UTMA MI 44669 RIVERGATE DR                                                                                             CLINTON TOWNSHIP MI     48038‐1378

ANJERONE CUNNINGHAM                              10302 FOXLAKE DR                                                                                              BOWIE             MD    20721‐2607
ANJIE LOU PICKETT                                5069 CHIMNEY ROCK                                                                                             CANYON LAKE       TX    78133‐3779
ANJUM B ILAHI                                    7768 THORNAPPLE CLUB DR SE                                                                                    ADA               MI    49301‐9428
ANKA ARBUTINA                                    PO BOX 134                                                                                                    BUCKHANNON        WV    26201
ANKA ARSENIJEVIC                                 1011 SE 3RD TER                                                                                               LEES SUMMIT       MO    64063‐3262
ANKA ZDJELAR                                     93 MORNINGSIDE DR                                                                                             GRAND ISLAND      NY    14072‐1333
ANKA ZDJELAR & BOZO ZDJELAR JT TEN               93 MORNINGSIDE DR                                                                                             GRAND ISLAND      NY    14072‐1333
ANKICA OGNJANOVSKI                               2383 WESTCOTT CT                                                                                              SHELBY TOWNSHIP   MI    48316‐1282

ANKUR DOSHI                                      6662 LANDVIEW RD                                                                                              PITTSBURG         PA    15217‐3019
ANN & ROGER E & JOHN E CROWELL TR EDMUND E       215 WESTMORELAND ST                                                                                           COLLINSVILLE      IL    62234‐2961
CROWELL TRUST UA 12/05/94
ANN A BASS                                       7650 CLOVERHILL COURT                                                                                         WEST CHESTER      OH    45069‐3250
ANN A BLAIS                                      25 PINECREST LANE                                                                                             DOVER             NH    03820‐4703
ANN A BUBANOVICH                                 5423 W GREENFIELD AVE                                                                                         MILWAUKEE         WI    53214‐5230
ANN A CURTIS                                     3115 STEVENS CHAPEL RD                                                                                        SMITHSFIELD       NC    27577
ANN A MCCLURE                                    2645 COUNTRY CLUB RD                                                                                          SPARTANBURG       SC    29302‐4418
ANN A MCDANIEL & ORMOND W MCDANIEL JT TEN        248 PLANTATION DR                                                                                             MONTROSS          VA    22520‐8628

ANN A MERS                                       210 N CONNECTICUT                                                                                             ROYAL OAK         MI    48067‐2063
ANN A PAUSIC                                     20571 LAKESHORE BLVD                                                                                          EUCLID            OH    44123
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 168 of 850
Name                                             Address1                               Address2               Address3        Address4          City             State Zip

ANN A ROBERTS TR REVOCABLE TRUST UA 10/24/84     38 CHURCHILL DR                                                                                 BELLA VISTA      AR    72715
ANN A ROBERTS
ANN A WHITE TR WHITE REVOCABLE TRUST UA          201 DRUID HILLS ROAD                                                                            TEMPLE TERRACE   FL    33617‐4124
06/23/95 ANN A WHITE
ANN ADSIT                                        W 9569 SKOGEN RD                                                                                CAMBRIDGE        WI    53523
ANN ALBERT                                       APT 609                                2939 VAN NESS ST N W                                     WASHINGTON       DC    20008‐4622
ANN AMATO                                        13629 PACIFIC ECHO DR                                                                           CHARLOTTE        NC    28277
ANN APPICH HARRISON                              3921 MONTEVALLO RD                                                                              BIRMINGHAM       AL    35213‐3025
ANN ARNESON MASON                                9263 PLATTEVIEW RD                                                                              PAPILLION        NE    68046‐4641
ANN ARNEY HALVERSON                              502 SHADYWOOD ROAD                                                                              HOUSTON          TX    77057‐1438
ANN B CADOVICH & JOANN C CADOVICH JT TEN         29191 HEMLOCK CT                                                                                FARMINGTON HILLS MI    48336‐2113

ANN B CARMI                                      5804 BENT TWIG ROAD                                                                             MCLEAN           VA    22101‐1806
ANN B CHORBA                                     976 BROAD RUN RD                                                                                LANDENBERG       PA    19350‐9352
ANN B FIELDS                                     2215 STRADELLA ROAD                                                                             LOS ANGELES      CA    90077‐2330
ANN B GARDNER                                    4232 SHADY LN                                                                                   INDIANAPOLIS     IN    46226‐3342
ANN B HAMBRECHT                                  7019 OHIO AVE                                                                                   CINCINNATI       OH    45236‐3548
ANN B HARDIN                                     G 5351 E CARPENTER RD                                                                           FLINT            MI    48506
ANN B HEAVEY TR ANN B HEAVEY MARITAL TRUST UA    722 HIGH RD                                                                                     PALM SPRINGS     CA    92262‐4321
03/12/04
ANN B HENDRICK & LARRY F HENDRICK JT TEN         5560 BASSWOOD CT                                                                                PETOSKEY        MI     49770‐8326
ANN B LOGAN                                      5390 WEYBURN DR                                                                                 DAYTON          OH     45426‐1467
ANN B LUERS                                      515 WEAVER DR                                                                                   DOVER           DE     19901‐1377
ANN B LUNDE                                      22 IVY WAY                                                                                      PORT WASHINGTON NY     11050‐3802

ANN B MAIN                                       11500 CEDAR LN                                                                                  BELTSVILLE       MD    20705‐2611
ANN B MICHALSKI                                  4214 MOHAWK DR                                                                                  MADISON          WI    53711‐3723
ANN B MURPHY                                     PO BOX 421                                                                                      CHESTERTOWN      NY    12817‐0421
ANN B O'MAHONY                                   GLENCOE BALLY CUMMING                  RAHEEN                                 IRELAND
ANN B OAKES                                      315 BERKSHIRE PL                                                                                SHREVEPORT       LA    71106‐2401
ANN B OAKES USUFRACTUARY GENE PHILIP OAKES       315 BERKSHIRE PL                                                                                SHREVEPORT       LA    71106‐2401
NAKED OWNER
ANN B RHINESMITH & PAMELA RUTH RHINESMITH JT     915 MIFFLIN ST R                                                                                HUNTINGDON       PA    16652‐1817
TEN
ANN B RHINESMITH & WILLIAM H RHINESMITH JT TEN   915 MIFFLIN STREET R                                                                            HUNTINGDON       PA    16652‐1817

ANN B ROTH                                     4695 BARRVILLE RD                                                                                 ELBA             NY    14058
ANN B SHANAHAN TR UA 10/20/92 M‐B ANN B        12660 BANBURY CIR                                                                                 CARMEL           IN    46033‐2421
SHANAHAN
ANN B SWINSCOE                                 277 MARLBORO ST 3A                                                                                BOSTON           MA    02116‐1759
ANN B TAGUCHI                                  770 GABLE DR                                                                                      FREMONT          CA    94539‐7521
ANN B TEWKSBURY TR UA 02/20/82 ANN B TEWKSBURY 1059 EVERGREEN RD                                                                                 PRESCOTT         AZ    86303‐3574
TRUST
ANN B WEST & JOSEPH W WEST JT TEN              19 WINDFIELD LN                                                                                   WEST UNION       OH    45693
ANN B WINSLOW                                  2 POPLAR ST                                                                                       COLORADO SPRINGS CO    80906‐3320

ANN B WOHLSTETTER                                2220 ADAIR ST                                                                                   SAN MARINO       CA    91108‐2606
ANN B YURASEK                                    762 CONNORS LANE                                                                                STRATFORD        CT    06614‐2645
ANN BAKER                                        117 PATRICIA DRIVE                                                                              KOKOMO           IN    46902‐5114
ANN BALCOMB                                      4013 RISING FAWN LN                                                                             COLUMBIA         TN    38401‐7357
ANN BALDWIN                                      369 YVONNE DR                                                                                   YOUNGSTOWN       OH    44505‐1968
ANN BALDWIN TOD KATHY SAUTTER SUBJECT TO STA     2782 ASBURY RD                                                                                  ALBERTVILLE      AL    35951‐6408
TOD RULES
ANN BARBARA CADOVICH                             29191 HEMLOCK                                                                                   FARMINGTON HILLS MI    48336‐2113

ANN BARBARA MCKAY                                70 MORSE AVE                                                                                    DEDHAM           MA    02026‐3112
ANN BASILONE                                     32 GOLF OVAL                                                                                    SPRINGFIELD      NJ    07081‐2504
ANN BENDER                                       2160 NEWELL RD                                                                                  PALO ALTO        CA    94303‐3429
ANN BENSINGER                                    2039 NEW HAMPSHIRE AVE                 APT 509LING ST                                           WASHINGTON DC    DC    20009‐3479
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 169 of 850
Name                                            Address1                           Address2             Address3          Address4          City             State Zip

ANN BEREZIN                                     5 WILLIAMSBURG DR                                                                           LONGMEADOW       MA    01106
ANN BERGMAN GUARDIAN OF THE ESTATE OF STEPHEN   6317 MURDOCK AVE                                                                            ST LOUIS         MO    63109‐2707
GERARD BERGMAN A MINOR
ANN BERRYMAN                                    46380 WOODLAKE PL                                                                           STERLING       VA      20165‐6427
ANN BIANCO                                      303 N MECCA ST                     APT 203                                                  CORTLAND       OH      44410‐1083
ANN BOGART                                      309 TAYLOR ST                                                                               COLUMBUS GROVE OH      45830‐1125

ANN BOWDEN OAKES USUFRUCTUARY JOY LYNN OAKES 315 BERKSHIRE PL                                                                               SHREVEPORT       LA    71106‐2401
MC CLELEN NAKER OWNER
ANN BOYD                                       125 TALL PINE LN                                                                             KITTY HAWK       NC    27949‐3130
ANN BROADBENT                                  ROUTE 2 BOX 48C                                                                              NAHUNTA          GA    31553‐9613
ANN BROADHEAD                                  12661 CEADAR ROAD                                                                            CLEVELAND        OH    44106‐3332
ANN BROOKE REAUGH                              1000 MITCHELL RD                                                                             BLAINE           TN    37709‐5924
ANN BRUNO FERRETTI CUST THOMAS A FERRETTI JR   5089 HIGH POINTE DRIVE                                                                       PENSACOLA        FL    32505
UTMA FL
ANN BRYANT AMOS                                PO BOX 53                                                                                    DRY FORK         VA    24549‐0053
ANN BUCKNER SANNER                             RR 2 BOX 188                                                                                 SULLIVAN         IL    61951‐9460
ANN BUDINI                                     MENANDS APT 12204                   13 PARK HILL DR                                          MENANDS          NY    12204‐2219
ANN C BAILIFF                                  PO BOX 2225                                                                                  BROWNWOOD        TX    76804‐2225
ANN C BEEVER                                   525 KENSINGTON FARMS DRIVE                                                                   ALPHARETTA       GA    30004‐3733
ANN C BEST                                     5809 N SHERIDAN RD                                                                           PEORIA           IL    61614‐4266
ANN C DAVIES                                   3120 SOUTHSHIRE SE AV                                                                        GRAND RAPIDS     MI    49506‐4274
ANN C DEFFLER                                  808 N 162ND ST                                                                               OMAHA            NE    68118‐2525
ANN C DEMSKY                                   8801 MAYFLOWER DRIVE                                                                         PLYMOUTH         MI    48170‐3925
ANN C DINTELMANN                               333 N FORSYTHE BLVD                                                                          ST LOUIS         MO    63105‐3617
ANN C DURHAM                                   17527 HUNTINGTON RD                                                                          DETROIT          MI    48219‐3522
ANN C FAILING                                  212 MILLER ST                                                                                WESTERNPORT      MD    21562‐1711
ANN C FLICK TR UA 02/26/79 ANN C FLICK TRUST   2 ELSINOOR DRIVE                                                                             LINCOLNSHIRE     IL    60069‐3117
ANN C GUASTELLA                                118 WATERFRONT VIEW                                                                          MOHEGAN LAKE     NY    10547
ANN C HOLKO                                    5396 OLE BANNER TR                                                                           GRAND BLANC      MI    48439‐7705
ANN C HOLKO & JAMES M HOLKO JT TEN             5396 OLE BANNER TR                                                                           GRAND BLANC      MI    48439‐7705
ANN C HUTCHINSON                               C/O ANN HUTCHINSON MEYERS           12675 OLD WICK RD                                        SAN ANTONIO      TX    78230‐1947
ANN C JOHNSON                                  530 N ELMWOOD AVE                                                                            TRAVERSE CITY    MI    49684
ANN C KAUFFMANN                                14 HARMONY CROSSING                                                                          ST PETERS        MO    63376‐4437
ANN C KAZAK                                    33 POLLY DR                                                                                  HUNTINGTON       NY    11743‐6812
ANN C KAZAK & AGNES BOUDREAU TR ANN C KAZAK U‐ 33 POLLY DR                                                                                  HUNTINGTON       NY    11743‐6812
W‐O HELEN E NOVELLINO
ANN C KURZYN                                   155 CHAPMAN ST                                                                               NEW BRITAIN      CT    06051
ANN C MULLINS                                  1520 LOUDON HEIGHTS ROAD                                                                     CHARLESTON       WV    25314‐1653
ANN C MURPHY                                   7755 EL PASTEL                                                                               DALLAS           TX    75248‐3120
ANN C NELSON                                   18081 TEBBS LN                                                                               DUMFRIES         VA    22026‐2412
ANN C NOBLE                                    C/O ANN C STRAPP                    81 WHITMAN ROAD                                          NEEDHAM          MA    02492‐1020
ANN C NORTHY                                   1361 BOOT RD APT 107                                                                         WEST CHESTER     PA    19380‐5988
ANN C OSIM                                     902 WOODSBORO DR                                                                             ROYAL OAK        MI    48067‐1272
ANN C PHAGAN                                   4381 PINEDALE                                                                                CLARKSTON        MI    48346‐3832
ANN C SOULE                                    107 MORGAN ROAD                                                                              SALEM            CT    06420‐3829
ANN C ST MARTIN                                BOX 217                                                                                      GATE CITY        VA    24251‐0217
ANN C STAEBLER                                 2575 S WILLOW 168                                                                            FRESNO           CA    93725‐1847
ANN C STEVER                                   1118 37TH AVE                                                                                SEATTLE          WA    98122‐5231
ANN C SUTTON EX UW ANNA SUTTON                 54 COMMODORE CIR                                                                             PORT JEFFERSON   NY    11776‐2299
                                                                                                                                            STN
ANN C VANDERGELD                                922 S SUNFISH AVE                                                                           INVERNESS        FL    34450‐5410
ANN C WALKER                                    18 BRETON HARBORS DR                                                                        TOMS RIVER       NJ    08753‐7008
ANN C WHITE                                     1515 GOLFCREST PLACE                                                                        VISTA            CA    92081
ANN C WISE                                      1047 PERCY WARNER BLVD                                                                      NASHVILLE        TN    37205‐4126
ANN C WOODMANSEE                                42502 ROYAL LANE                                                                            MT CLEMENS       MI    48038‐5004
ANN CAMERON MORRIS                              504 BUNKERS COVE RD                                                                         PANAMA CITY      FL    32401‐3916
ANN CARMIEN SHELY                               7061 SWEETWATER DR                                                                          FLORENCE         KY    41042‐2531
ANN CASEY MC KENNA                              40 E COLEMAN AVE                                                                            CHATHAM          NJ    07928‐2205
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 170 of 850
Name                                              Address1                             Address2               Address3        Address4          City               State Zip

ANN CASSIDY                                    765 KENILWORTH                                                                                   PONTIAC            MI    48340‐3101
ANN CATELLI                                    18 JUNIPER LANE                                                                                  BERLIN             CT    06037‐2413
ANN CAVALLO                                    568 ANDERSON AVE                                                                                 CLIFFSIDE PARK     NJ    07010‐1721
ANN CELESTE KEHINDE                            2934 WYMAN PARKWAY                                                                               BALTIMORE          MD    21211‐2802
ANN CHASE RICE                                 BOX 403                                                                                          GATLINBURG         TN    37738‐0403
ANN CLARK HARMON                               PO BOX 425                                                                                       CENTER             TX    75935‐0425
ANN COFFINBERRY SMITH                          426 B HERITAGE VILLAGE                                                                           SOUTHBURY          CT    06488‐1609
ANN COLE                                       1000 PINE ST                                                                                     CORONADO           CA    92118‐2419
ANN COLEMAN GOODWIN                            12060 GRANDVIEW FARM RD                                                                          GORDONSVILLE       VA    22942‐9039
ANN CORK PAYNE                                 341 SANFORD STREET                                                                               MORGANTOWN         WV    26501‐6546
ANN COUGHLAN                                   1367 HOLLYWOOD AVE                                                                               BRONX              NY    10461‐6032
ANN CRISTANTELLO                               1 WAYCROSS RD                                                                                    FAIRPORT           NY    14450‐9357
ANN CUOMO SMITH                                9101 DEVIATION RD                                                                                BALTIMORE          MD    21236‐2052
ANN D BAKER & WILLIAM J BAKER JT TEN           32334 RIVER RD                                                                                   MILLSBORO          DE    19966‐2550
ANN D BOWEN TR UA 06/20/2008 ANN D BOWEN TRUST 613 E HIGHVIEW TERR                                                                              LAKE FOREST        IL    60045

ANN D DAVIS                                       28503 BENNINGTON DR                                                                           WESLEY CHAPEL      FL    33544‐2827
ANN D EMHARDT                                     3336 BAY ROAD SOUTH DR                                                                        INDIANAPOLIS       IN    46240‐2975
ANN D FISHER TR UA 11/22/89 M/B ANN D FISHER      150 BRADY LANE                                                                                BLOOMFIELD HILLS   MI    48304‐2804

ANN D GEPHART                                     C/O LAURA ZEMSZEL                    741 LINCOLN AVE                                          LOCKPORT           NY    14094‐6153
ANN D GOTT                                        ATTN ANN D PLEASANTON                523 HOWELL SCHOOL RD                                     BEAR               DE    19701‐2351
ANN D KNOTTS                                      267 COUNTY RD 1723                                                                            BAY SPRINGS        MS    39422‐9013
ANN D LAWLER                                      135 LAWLER DR                                                                                 MONTEVALLO         AL    35115‐8209
ANN D MASSA & FREDERICK P MASSA JT TEN            64 ACADEMY HILL RD                                                                            DERBY              CT    06418‐2029
ANN D MCLAUGHLIN                                  3150 SOUTH NW ST APT 2A                                                                       WASHINGTON         DC    20007‐4455
ANN D MERRILL                                     10 EAGLE DRIVE                                                                                ENDWELL            NY    13760
ANN D MOORE & DONALD L MOORE JT TEN               1210 WOLSEY DR                                                                                MAITLAND           FL    32751‐4843
ANN D MOORE & DONALD L MOORE JT TEN               1210 WOLSEY DRIVE                                                                             MAITLAND           FL    32751‐4843
ANN D MORRIS TR MORRIS FAMILY TRUST UA 10/06/00   40 WOODHAVEN                                                                                  VICKSBURG          MS    39180‐9716

ANN D PARKER                                      3974 EDMONTON CT                                                                              ANN ARBOR          MI    48103‐6306
ANN D SUNEALITIS CUST AMY L SUNEALITIS UGMA PA    1215 KIWANIS TRAIL                                                                            DUBOIS             PA    15801‐5157

ANN D'AGOSTINO GINEO                              189 KRAWSKI DRIVE                                                                             SOUTH WINDSOR      CT    06074‐3857
ANN DANIEL                                        77 MEASE RD                                                                                   HOUTZDALE          PA    16651‐8740
ANN DARMSTAETTER                                  124 E 91ST ST                                                                                 NEW YORK           NY    10128‐1652
ANN DE PROSPO                                     1 PLEASANT CIR                                                                                HOLLIDAYSBURG      PA    16648‐2253
ANN DELANEY                                       605 SOUTH 21ST ST                                                                             SAGINAW            MI    48601‐1536
ANN DELEMA CLARK DENNIS & STEPHEN CLARK           1514 RIVERSIDE DR APT A102                                                                    SALISBURY          MD    21801‐6744
PARSONS JT TEN
ANN DELEMA CLARK PARSONS & STEPHEN CLARK          1514 RIVERSIDE DR APT A102                                                                    SALISBURY          MD    21801‐6744
PARSONS JT TEN
ANN DENISE ALVIS & DENNIS LARRY ALVIS JT TEN      2221 WISE CT                                                                                  COMMERCE           MI    48382‐3278
                                                                                                                                                TOWNSHIP
ANN DIXON & JAMESANA ANDERSON JT TEN              15730 WORMER                                                                                  REDFORD            MI    48239‐3545
ANN DORCAS BLUTH & ALAN GEORGE BLUTH JT TEN       7221 DOBSON ROAD                                                                              JONESVILLE         MI    49250‐9760

ANN DOWNING EVANS & GERALD MEREDITH EVANS JT      21404 ROBERTSON AVE                                                                           PETERSBURG         VA    23803‐2230
TEN
ANN DUHME HOLMES                                  ATTN CAROL DUHME                     8 EDGEWOOD RD                                            SAINT LOUIS        MO    63124‐1817
ANN DURGIN CLIFF                                  PO BOX 57043                                                                                  BABSON PARK        MA    02457
ANN DUTKOVICH                                     6918 S HIGH                                                                                   DARIEN             IL    60561‐3955
ANN E & DANIEL M MCGEE JT TEN                     74 STAROLA ROAD                                                                               MIDDLETOWN         NJ    07748
ANN E ASHBAUGH                                    9153 SHERIDAN                                                                                 BURT               MI    48417‐9718
ANN E BEHRENS                                     1808 BIG BEND RD                                                                              WAUKESHA           WI    53189‐7691
ANN E BIRD                                        11784 E CLINTON                                                                               SCOTTSDALE         AZ    85259‐4120
ANN E BIROU                                       C/O A COOK                           1881 S LEE                                               ST DAVID           AZ    85630‐6219
ANN E BOSSUNG & KARL L BOSSUNG JT TEN             3560 CEDAR SHAKE DR                                                                           ROCHESTER HILLS    MI    48309‐1011
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 171 of 850
Name                                               Address1                             Address2              Address3         Address4          City              State Zip

ANN E BURLEIGH                                     PO BOX 414                                                                                    GORMAN            TX    76454‐0414
ANN E CAVALLI                                      6701 SARONI DRIVE                                                                             OAKLAND           CA    94611‐2344
ANN E COHEN                                        9 LENNOX DR                                                                                   BINGHAMTON        NY    13903‐1313
ANN E COVERDALE                                    600 LAKE HOLLYBROOK                                                                           GOSPORT           IN    47433‐8179
ANN E DARWIN                                       520 INTERMONT RD                                                                              CHATTANOOGA       TN    37415‐4823
ANN E DISBROW                                      514 S MAIN ST                                                                                 PENNINGTON        NJ    08534‐2717
ANN E DURRELL                                      61 FOX CROSSING                                                                               BRIDGTON          ME    04009‐3118
ANN E FRENZ & RICHARD L FRENZ JT TEN               21 WILLOW ST                                                                                  BAYPORT           NY    11705‐2019
ANN E HAENER                                       ATTN ANN E HAENER‐MAGHRAN            28545 S POINTE DR                                        GROSSE ILE        MI    48138‐2047
ANN E HEGE TR ANN E HEGE TRUST UA 03/04/03         4176 WEST POINTE DR                                                                           WATERFORD         MI    48329‐4634
ANN E HICKEY                                       1245 SILVER FERN DR                                                                           LAKE ST LOUIS     MO    63367‐4775
ANN E HIEMENZ                                      442 CEDAR CREEK ROAD                                                                          PALATKA           FL    32177‐6917
ANN E HYKAL                                        2211 TERRAPIN                                                                                 WOLVERINE LAKE    MI    48390‐1950
ANN E JONES                                        1780 BAILEY AVENUE                                                                            BUFFALO           NY    14211‐2418
ANN E KASTLER                                      697 FOREST AVE                                                                                FULTON            NY    13069‐3335
ANN E KEVRA                                        1309 SOUTH ST                                                                                 AVOCA             PA    18641‐1733
ANN E KRUSE                                        925 WARREN ST                                                                                 DEFIANCE          OH    43512‐2057
ANN E LYNCH                                        16023 26TH AVE NE                                                                             SHORELINE         WA    98155‐6405
ANN E RYAN                                         1737 STANLEY                                                                                  BIRMINGHAM        MI    48009
ANN E SIMPSON                                      PO BOX 368                                                                                    BEAVER            WA    98305‐0368
ANN E SKINDINGSRUDE                                N655 HOWARD RD                                                                                WHITEWATER        WI    53190‐3021
ANN E SPAULDING                                    27516 ONEIL                                                                                   ROSEVILLE         MI    48066‐3021
ANN E SPENCER                                      ATTN ANN E SPENCER‐HLISTA            8101 LONG CANYON DR                                      AUSTIN            TX    78730‐2805
ANN E STEVENSON                                    908 W BROADWAY                                                                                LOUISVILLE        KY    40203‐2029
ANN E VAN NOSTRAND                                 110 GREEN ST APT B201                                                                         BROOKLYN          NY    11222
ANN E WILKINS                                      330 KERCHEVAL                                                                                 GROSSE PT FARMS   MI    48236‐3063

ANN E WOOD                                         5323 PASEO RIO                                                                                SANTA BARBARA     CA    93111‐1131
ANN E WOODRING & JOSEPH D WOODRING JT TEN          2657 VIREO RD                                                                                 YORK              PA    17403‐9501

ANN E WOS TR ANN E WOS TRUST UA 01/01/99           3071 LODGE DR                                                                                 N ROYALTON        OH    44133‐4143
ANN EASTON FORSHEY                                 7439 HWY 70 S 215                                                                             NASHVILLE         TN    37221‐1725
ANN EDWARDS‐DUFF                                   3605 LYNBROOK DR                                                                              PLANO             TX    75075‐4724
ANN EISMANN                                        648 WYOMING AVE                                                                               BUFFALO           NY    14215‐2630
ANN ELISABETH SOLOSKI                              8540 EAST MCDOWELL RD #107                                                                    MESA              AZ    85207‐1433
ANN ELIZABETH CORCORAN                             1858 PILGRIM AVE                                                                              BRONX             NY    10461‐4106
ANN ELIZABETH DUFFY                                ATTN ANN DUFFY BELLOWS               24 TUDOR PLACE                                           BUFFALO           NY    14222‐1616
ANN ELIZABETH MACGUIDWIN CUST KATHERINE ANN        10 MT RAINIER LN                                                                              MADISON           WI    53705‐2419
MACGUIDWIN A UGMA MI
ANN ELIZABETH MURPHY                               2978 SANDY OAKS LN                                                                            FORT GRATIOT      MI    48059‐2866
ANN ELIZABETH PATTERSON                            351 FISHER ROAD                                                                               CABOT             PA    16023‐2109
ANN ELIZABETH REA                                  1566 PERSHING DR                     APT E                                                    SAN FRANCISCO     CA    94129‐1235
ANN ELIZABETH WAGNER                               1530 LOST CREEK DR                                                                            PAHRUMP           NV    89048‐9133
ANN ELSER GIBSON & RICHARD S GIBSON JT TEN         68 UNIT D CALLE ARAGON                                                                        LA GUNA WOODS     CA    92653
ANN EMORE                                          643 AMES ST                                                                                   SPRING            TX    77373‐5620
ANN ERWIN                                          PO BOX 10617                                                                                  NAPLES            FL    34101‐0617
ANN EVANS GUISE                                    4701 PINE ST K 4                                                                              PHILADELPHIA      PA    19143‐1816
ANN EWING                                          7728 S ALDER DR                                                                               TEMPE             AZ    85284‐1644
ANN F BASSE TR UA 05/20/93 ANN F BASSE REVOCABLE   7718 MIDDLEPOINTE                                                                             DEARBORN          MI    48126‐1295
LIVING TRUST
ANN F BOOHER                                       3224 WONDERVIEW DR                                                                            DAYTON            OH    45414‐5443
ANN F BRADLEY                                      248 IRISH SETTLEMENT RD                                                                       DANFORTH          ME    04424‐3136
ANN F BURKE                                        1628 10TH AVE                                                                                 BROOKLYN          NY    11215
ANN F CAGGIANO                                     16 AUGUSTINE BLVD                                                                             MIDDLETOWN        DE    19709
ANN F CAGGIANO & JOHN A CAGGIANO JT TEN            16 AUGUSTINE BLVD                                                                             MIDDLETOWN        DE    19709
ANN F CATALANO & JOHN A CATALANO JT TEN            10120 LOBLEY HILL LANE                                                                        RALEIGH           NC    27613
ANN F HALL                                         516 W PENNSYLVANIA ST                                                                         SHELBYVILLE       IN    46176‐1138
ANN F HAMMERMAN                                    2281 VIRGINIA DRIVE                  OTTAWA ON                              K1H 6R9 CANADA
ANN F IANDOLI                                      1515 IMPERIAL AVE                                                                             NEW HYDE PARK     NY    11040‐3945
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 172 of 850
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

ANN F ISALY                                    3279 S PALOMINO WAY                                                                             YUMA              AZ    85365‐8083
ANN F KIEFFER                                  71 PINE VIEW DR                                                                                 BLUFFTON          SC    29910‐6807
ANN F KRUG                                     988 PATRIOT SQ DR                                                                               DAYTON            OH    45459‐4043
ANN F MALINOWSKI                               138 CRYSTAL RUN DR                                                                              MIDDLETOWN        DE    19709‐6012
ANN F MASSEY                                   422 LAFAYETTE AVE                                                                               RIVER EDGE        NJ    07661‐1804
ANN F MULLAHY                                  330 KELLEY ST                                                                                   HAWTHORNE         NY    10532‐1108
ANN F POWER TR ANN F POWER REV TRUST UA        PO BOX 283                                                                                      NEW PT RICHEY     FL    34656‐0283
04/04/96
ANN F ROARK                                    4195 RISHEL COURT                                                                               GROVE CITY        OH    43123
ANN F SETTEL                                   73 WRIGHT ST                                                                                    SARATOGA SPGS     NY    12866‐4931
ANN F SKIPPER & PETER SKIPPER JT TEN           1736 N BEVERLY DRIVE                                                                            BEVERLY HILLS     CA    90210‐1609
ANN F SULEK                                    7480 GRAHAM RD                                                                                  ST CHARLES        MI    48655‐9532
ANN F YAMAMOTO                                 3010 WELLINGTON ST                                                                              PHILADELPHIA      PA    19149‐1407
ANN FEFFERMAN                                  111 E CHESTNUT ST APT 34A                                                                       CHICAGO           IL    60611‐6012
ANN FITZGERALD SKIPPER                         1736 N BEVERLY DRIVE                                                                            BEVERLY HILLS     CA    90210‐1609
ANN FLYNN KLUNK & JOSEPH E KLUNK JT TEN        50 EAST 9TH ST                                                                                  CLIFTON           NJ    07011‐1108
ANN FRANCES DAVIS                              3647 VACATION LANE                                                                              ARLINGTON         VA    22207‐3819
ANN FRANCES DUELFER CUST JONATHAN DAVID        48 GREEN VALE LN                                                                                FRANKLIN          NC    28734‐5336
DUELFER UTMA RI
ANN FRANCES FRIDAY CRABTREE                    3055 KELLY RD                                                                                   ALEDO             TX    76008‐4809
ANN FRANCES KENION                             PO BOX 264                                                                                      MOULTON           AL    35650‐0264
ANN FREEL & DAVID FREEL JT TEN                 1191 HOMBACH STREET                                                                             SAINT IGNACE      MI    49781
ANN G BOTHELL                                  10618 E VOAX DR                                                                                 SUN LAKES         AZ    85248‐7776
ANN G DINGMAN & ELIZABETH A ABLETT JT TEN      5869 PINGREE RD                                                                                 HOWELL            MI    48843‐7616
ANN G EVANS                                    713 FOXWOOD DR                                                                                  LAFAYETTE         IN    47905‐8786
ANN G EVANS & DOUGLAS E EVANS JT TEN           713 FOXWOOD DR                                                                                  LAFAYETTE         IN    47905‐8786
ANN G EVANS CUST BRYAN D EVANS UTMA IN         713 FOXWOOD DR                                                                                  LAFAYETTE         IN    47905‐8786
ANN G EVANS CUST BRYAN DAVID EVANS UGMA IN     713 FOXWOOD DRIVE                                                                               LAFAYETTE         IN    47905‐8786

ANN G EVANS CUST KYLE A EVANS UTMA IN          713 FOXWOOD DR                                                                                  LAFAYETTE         IN    47905‐8786
ANN G EVANS CUST KYLE ANDREW EVANS UGMA IN     713 FOXWOOD DR                                                                                  LAFAYETTE         IN    47905‐8786

ANN G GILES                                    3435 BENTWOOD DR                                                                                CUMMING           GA    30041‐2854
ANN G LANZILLOTTA                              1705 N HARRISON ST                                                                              ARLINGTON         VA    22205‐2730
ANN G LAUSE CUST ANDREW E LAUSE UTMA MO        9822 WARSON RD                                                                                  ST LOUIS          MO    63124
ANN G LETOSKY                                  1331CLARK ST                                                                                    NILES             OH    44446‐3445
ANN G MAXWELL                                  C/O PATRICIA A FINLAN                  6593 34TH AVENUE                                         HUDSONVILLE       MI    49426
ANN G MCBRYAR                                  3655 ELDER MTN RD                                                                               CHATTANOOGA       TN    37419
ANN G ROSENMAN TR UA 09/18/2007 ANN G          6925 PISANO DR                                                                                  LAKE WORTH        FL    33467
ROSENMAN REVOCABLE LIVING TRUST
ANN G VANDAM                                   1951 N 64TH SE #33                                                                              MESA              AZ    85205‐3621
ANN G YOUNG                                    225 SILVER COURT                                                                                LAKEPORT          CA    95453
ANN GAIL MCDUFFEE                              863 IRIQUOIS                                                                                    DETROIT           MI    48214‐2711
ANN GALLOWAY                                   326 VILLA LANE                                                                                  ST CLAIR SHORES   MI    48080‐2763
ANN GAMBARDELLA                                25 GREGORY AVE                                                                                  W ORANGE          NJ    07052‐4031
ANN GARDNER SCHAAF                             3402 S ROCKFIELD DRIVE                                                                          WILMINGTON        DE    19810‐3229
ANN GARLAND DORE                               1013 JACKSNIPE LN                                                                               MT PLEASANT       SC    29464‐4103
ANN GATES CARTER                               12912 DELMAR                                                                                    LEAWOOD           KS    66209‐2350
ANN GERTH                                      5301 OCEAN AVE                         APT 401                                                  WILDWOOD          NJ    08260‐4448
ANN GERTRUDE DE NARDIS                         15737 NE ROSE PARKWAY                                                                           PORTLAND          OR    97230‐5135
ANN GIBBONS                                    4905 W ST NW                                                                                    WASHINGTON        DC    20007‐1521
ANN GILCHRIST                                  307 RIDGEWOOD AVE                                                                               GLEN RIDGE        NJ    07028‐1401
ANN GOETZ GLIDDON                              240 W SNOW ST                                                                                   SUGAR GROVE       IL    60554‐5204
ANN GOLOP                                      406 E 308TH ST                                                                                  WILLOUGHBY        OH    44095‐3720
ANN GRAHAM                                     110 WEDGWOOD DR                                                                                 CHADDS FORD       PA    19317‐9325
ANN GREGOIRE KNIGHT                            502 ORANOLE RD                                                                                  MAITLAND          FL    32751‐3222
ANN GUY                                        12 PONDFIELD PARKWAY                                                                            MT VERNON         NY    10552‐1111
ANN H BOYD                                     4314 RENO RD                                                                                    SPRINGFIELD       OH    45503‐6330
ANN H BROWN                                    PO BOX 5173                                                                                     SALISBURY         MA    01952‐0173
                                          09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 173 of 850
Name                                            Address1                            Address2             Address3          Address4          City            State Zip

ANN H BROWN                                    3379 MILL VISTA RD                   UNIT 4121                                                LITTLETON       CO    80129‐2406
ANN H EVANS                                    APT D‐6                              24 GOLFVIEW DR                                           NEWARK          DE    19702‐1705
ANN H GREEN                                    3566 LOCUST                                                                                   WHITE CLOUD     MI    49349
ANN H HOLLAND                                  1330 KRA NUR DRIVE                                                                            BURTON          MI    48509‐1633
ANN H KING                                     2023 HIGHLAND AVE                                                                             HUNTINGDON      PA    16652
ANN H LAKEMACHER & WILLIAM G LAKEMACHER JT TEN 3205 MEADOW DR                                                                                ROLLING MEADOWS IL    60008‐2728

ANN H PARKER                                    1698 GLENDOLA RD                                                                             WALL            NJ    07719‐4506
ANN H POTTS                                     1317 OLDE SAYBROOK ROAD                                                                      LANCASTER       PA    17601‐5323
ANN H POTTS & JOSEPH POTTS JT TEN               1317 OLDE SAYBROOK RD                                                                        LANCASTER       PA    17601‐5323
ANN H SHAFFER                                   108 N SPRING ST                                                                              EVERETT         PA    15537‐1161
ANN H SINCLAIR                                  ATTN ANN SINCLAIR ADAMS             86 YOCUM ROAD                                            ROGERS          AR    72756‐9245
ANN H SOISSON & ROSEMARY S HERHOLD JT TEN       1304 MILL GLEN CIR                                                                           RALEIGH         NC    27614‐8506
ANN H SWARTZ                                    13321 BREST AVENUE                                                                           SOUTHGATE       MI    48195‐1004
ANN H WACHTEL                                   11537 ORCAS AVE                                                                              SYLMAR          CA    91342‐6731
ANN H WILLOUGHBY TR ANN H WILLOUGHBY TRUST UA   242 CLAIREMONT DRIVE                                                                         DETROIT         MI    48362‐3616
12/29/98
ANN HAHN STERR                                  2322 KING COURT                                                                              GREEN BROOK     NJ    08812‐1722
ANN HAJKOWSKI                                   622 PRINCETON RD                                                                             LINDEN          NJ    07036‐5906
ANN HAMMOND VANAMAN                             200 MORRIS AVE                                                                               LUTHVLE TIMON   MD    21093‐5324
ANN HARDINK                                     1786 HOPEHAVEN DRIVE                                                                         PARMA           OH    44134
ANN HARNEY COWARD                               801 A LONG HILL RD                                                                           MIDDLETOWN      CT    06457‐5080
ANN HATHAWAY COLEMAN                            155 E 47TH ST APT 15C                                                                        NEW YORK        NY    10017‐1225
ANN HAWKINS                                     4518 CENTRAL AVE                                                                             MIDDLETOWN      OH    45044‐5241
ANN HERCHE & CORNELIUS W BENOWITZ JT TEN        81 STONELAKE CIR                                                                             SAVANNAH        GA    31419‐9807
ANN HICKS GAILEY                                PO BOX 569                                                                                   DAHLONEGA       GA    30533‐0010
ANN HILDA WELSH                                 128 WILMAR DRIVE                                                                             PITTSBURGH      PA    15238‐1608
ANN HILL                                        20539 CORBRIDGE RD SE                                                                        MONROE          WA    98272‐9694
ANN HIROMI HASEGAWA                             518 NORTH 170TH COURT                                                                        SHORELINE       WA    98133‐5263
ANN HOMMEL MATHEWS CUST JULIANNE HOMMEL         86 DIXIE AVENUE                                                                              HAWTHORNE       NJ    07506‐1723
MATHEWS UTMA NJ
ANN HUBERMAN                                    2136 SABOT COVE                                                                              COSTA MESA      CA    92627‐1799
ANN HUGHES                                      403 RED WOLF LN                                                                              TOWNSEND        TN    37882‐3543
ANN I POIRIER                                   1044 SUMMIT ST                                                                               OWOSSO          MI    48867‐1866
ANN I REYNOLDS                                  C/O DURISH                          3550 CANNON ROAD                                         ROUND‐O         SC    29474‐4188
ANN J BARTH                                     23800 MERRILL                                                                                SOUTHFIELD      MI    48075‐3495
ANN J BURNETT                                   18975 STANSBURY                                                                              DETROIT         MI    48235‐1729
ANN J ERICKSON                                  8517 NW 70TH ST                                                                              OKLAHOMA CITY   OK    73132‐4090
ANN J ERICKSON & DALLAS K ERICKSON JT TEN       8517 NW 70TH ST                                                                              OKLAHOMA CITY   OK    73132‐4090
ANN J FARLEY                                    111 ONEIDA DR                                                                                GREENWICH       CT    06830‐7127
ANN J HERRERA                                   201 SWANTON WAY                                                                              DECATUR         GA    30030‐3271
ANN J HITCHEN                                   BOX 68                                                                                       WEST PAWLET     VT    05775‐0068
ANN J HOTZ TR ANN J HOTZ TRUST UA 02/05/88      912 E EDWARDS                                                                                GARDEN CITY     KS    67846‐4516
ANN J LEPORATI                                  13117 OLYMPUS WAY                                                                            STRONGSVILLE    OH    44149‐3243
ANN J MAHLER & RICHARD C MAHLER JT TEN          990 N HALIFAX DR                                                                             ORMOND BEACH    FL    32176‐4169
ANN J MAIBAUM METZ                              2804 W 8TH ST                                                                                YANKTON         SD    57078‐6375
ANN J MALONEY                                   65 SPORT HILL PKWY                                                                           EASTON          CT    06612‐2239
ANN J MILLEVOI                                  6631 N W 21ST ST                                                                             MARGATE         FL    33063‐2113
ANN J NASTANSKY                                 1356 SANIBEL LANE                                                                            GULF BREEZE     FL    32563
ANN J SCHOLL                                    1612 WICHITA DR                                                                              BISMARCK        ND    58504
ANN J TIRPACK CUST BENJAMIN MICHAEL DORN UTMA   1597 APPLEWOOD DR                                                                            DAYTON          OH    45434‐6900
OH
ANN J TIRPACK CUST C J DORN UTMA OH             1597 APPLEWOOD DRR                                                                           DAYTON          OH    45434‐6900
ANN J WILLETT                                   ATTN ANN J HARGITT                  23825 WILMARTH ST                                        FARMINGTON      MI    48335‐3476
ANN JACKLICH                                    302 PARK DR                                                                                  CLAWSON         MI    48017‐1268
ANN JARRETT EX EST GLENN HARVEY JARRETT         61 CLARK RD                                                                                  BRYSON CITY     NC    28713
ANN JASIENSKI                                   46 MARION STREET                                                                             CARTERET        NJ    07008‐2411
ANN JASPER                                      357 LAKESHORE DR                                                                             N SIOUX CITY    SD    57049‐4002
ANN JEAN HILL                                   348 NEWTON SWARTSWOOD ROAD                                                                   NEWTON          NJ    07860‐5130
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 174 of 850
Name                                               Address1                              Address2             Address3          Address4          City               State Zip

ANN JEANNETTE BROWN                                3181 AVIAMAR CIR                      APT 102                                                  NAPLES             FL    34114‐9587
ANN K BRAJKOVICH                                   47 WAVERLY AVE                                                                                 KENMORE            NY    14217‐1005
ANN K COLLARD                                      510 S OAK STREET                                                                               DURAND             MI    48429‐1627
ANN K EADS TR UA 08/22/2007 ELOISE V ALLEN TRUST   2610 ABERDOVEY                                                                                 ROYAL OAK          MI    48073

ANN K ENGEL                                        1008 7TH AVE S                                                                                 VIRGINIA           MN    55792‐3151
ANN K FECICH                                       750 WASHINGTON RD                     APT 1209                                                 PITTSBURGH         PA    15228‐2054
ANN K LONTORFOS                                    9364 SHERWOOD DR                                                                               DAVISBURG          MI    48350‐1934
ANN K LULLOFF                                      2520 BETTY COURT                                                                               GREEN BAY          WI    54301‐1815
ANN K OWENS                                        248 ALABAMA ST                                                                                 ST SIMONS ISLAND   GA    31522‐2621

ANN K WILLIAMS                                     11259 SNOWVILLE RD                                                                             BRECKSVILLE        OH    44141‐3423
ANN K WOJCIECHOWSKI                                8200 ALBION RD                                                                                 NORTH ROYALTO      OH    44133‐1723
ANN KAEGI BUTTON                                   512 RUDGATE LANE                                                                               KOKOMO             IN    46901‐3816
ANN KAREN HOWARD                                   APT 608 S                             5225 POOKS HILL RD                                       BETHESDA           MD    20814‐2015
ANN KATHERINE RASKOB                               ATTN KATHERINE VALOAN                 1654 W GERANIUM PL                                       TUCSON             AZ    85737‐7254
ANN KATHLENE GROENE                                7640 RANDWICK RD                                                                               PENSACOLA          FL    32514‐6448
ANN KAZOKAS                                        45‐69 172 STREET                                                                               FLUSHING           NY    11358‐3335
ANN KEENAN MC CARTHY                               1500 CLONCURRY RD                                                                              NORFOLK            VA    23505‐1716
ANN KENT DENNIS                                    1780 PINERIDGE DRIVE                                                                           CAMBRIA            CA    93428‐5838
ANN KERN CAROLIN CUST JOHN VALENTINE CAROLIN       4600 BROOK HOLLOW DR NW                                                                        ATLANTA            GA    30327‐3513
UTMA IL
ANN KILROY                                         49 BUTTERNUT LN                                                                                LEVITTOWN        NY      11756‐3011
ANN KLCO & PHYLLIS A HUFFMAN JT TEN                7466 GERALDINE DR                                                                              SWARTZ CREEK     MI      48473‐7641
ANN KOLLEWE                                        1274 HEAVENLY DR                                                                               MARTINEZ         CA      94553‐3511
ANN KOSTAL CUST JENNIFER KOSTAL UTMA PA            104 LEE RIDGE                                                                                  CORAOPOLIS       PA      15108‐1134
ANN KRENKOWITZ                                     39 THORN TERRACE                                                                               WEST ORANGE      NJ      07052‐3533
ANN KRIEG                                          1050 OPAL STREET #204                                                                          BROOMFIELD       CO      80020‐7303
ANN KRISTOF & MICHAEL KRISTOF JT TEN               3 VILLAGE WAY                                                                                  MEDFIELD         MA      02052‐2645
ANN KUJAWINSKI                                     272 BETTIS RD                                                                                  DRAVOSBURG       PA      15034‐1021
ANN L ANDRUS & BRYAN J ANDRUS JT TEN               707 WEST HOUSTONIA AVE                                                                         ROYAL OAK        MI      48073‐4057
ANN L BEEBE                                        12544 S LINDEN RD                                                                              LINDEN           MI      48451‐9455
ANN L BLACKANN                                     1230 WINDING PATH RD                                                                           LAKE WYLIE       SC      29710‐7781
ANN L BRADLEY                                      44660 CONNECTICUT CT                                                                           CLINTON TOWNSHIP MI      48038‐1075

ANN L BROWN                                        566 ROUTE 45                                                                                   SALEM              NJ    08079‐4222
ANN L BUCKAY                                       34221 CHOPE PL                                                                                 CLINTON TWP        MI    48035‐3317
ANN L BURDICK                                      682 ELMGROVE ROAD                                                                              ROCHESTER          NY    14606‐4322
ANN L DAVIS                                        201 HULLIHEN DRIVE                                                                             NEWARK             DE    19711‐3650
ANN L DEMARTINI TR ANN L DEMARTINI TRUST UA        2323 VISTA DEL MAR LANE                                                                        TIBURON            CA    94920‐1208
08/28/89
ANN L DOW                                          336 W WINDMILL WAY                                                                             MIDDLETOWN         DE    19709‐9667
ANN L DRUEKE                                       4430 36TH STREET                                                                               GRANDVILLE         MI    49418‐2249
ANN L DUNN                                         44 LUNADO WAY                                                                                  SAN FRANCISCO      CA    94127‐2853
ANN L DUNSON                                       C/O A VAUGHAN                         160 LAUREL LAKE RD                                       TYRONE             GA    30290‐1912
ANN L FAREED                                       1171 GARSON AVE                                                                                ROCHESTER          NY    14609‐6530
ANN L GERVAIS                                      790 ANDOVER ST                                                                                 LOWELL             MA    01852‐2002
ANN L GLORCH CUST SALLY ANN GLORCH UTMA NJ         S5705 HAPPY HILL RD                                                                            NORTH FREEDOM      WI    53951‐9575

ANN L GLORCH TR UA 08/04/89 M‐B ANN L GLORCH       3750 RUN ROW                                                                                   NAPLES             FL    34102

ANN L HARRIS                                       1546 HICKORY GLEN DR                                                                           MIAMISBURG         OH    45342‐2012
ANN L HEILER                                       17 CHESTNUT DR                                                                                 ROCHESTER          NY    14624‐4021
ANN L HORAN                                        1032 TERRACE BLVD                                                                              TRENTON            NJ    08618‐1904
ANN L JOHNSTON                                     642 LOCKPORT ST                                                                                YOUNGSTOWN         NY    14174‐1147
ANN L JUEL‐LARSEN                                  5 DUNHAM POND RD                                                                               STORRS             CT    06268‐2024
ANN L KACZMARSKI                                   6009 BIDDULPH RD                                                                               BROOKLYN           OH    44144‐3340
ANN L KAMMERER                                     728 N 113TH ST                                                                                 WAUWATOSA          WI    53226‐3724
ANN L KING                                         1722 CAVENDISH CT                                                                              CHARLOTTE          NC    28211‐3946
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 175 of 850
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

ANN L LANDER                                      135 NORTHFIELD DRIVE                                                                           ELYRIA          OH    44035‐1839
ANN L LEE                                         12025 WESTGATE                                                                                 OVERLAND PARK   KS    66213‐2266
ANN L LENZ & BARBARA STINSON JT TEN               21277 GOETHE ST                                                                                GROSSE POINTE   MI    48236‐1055
                                                                                                                                                 WOOD
ANN L MARKULIS                                    202‐4TH AVENUE S E                                                                             GLEN BURNIE     MD    21061‐3615
ANN L MARKULIS & THOMAS G MARKULIS JT TEN         202‐4TH AVENUE S E                                                                             GLEN BURNIE     MD    21061‐3615
ANN L MCMURRAY                                    2117 AMY ST                                                                                    BURTON          MI    48519‐1107
ANN L MIKA                                        1477 EAST 11TH ST                                                                              SALEM           OH    44460‐1827
ANN L MULLIKIN                                    621 N SAINT ASAPH STREET #109                                                                  ALEXANDRIA      VA    22314‐1928
ANN L NICHOLS                                     405 LORE AVE                                                                                   WILMINGTON      DE    19809‐3231
ANN L PONTIUS                                     447 CHAPIN RD                                                                                  PLAINFIELD      VT    05667‐9327
ANN L SICKS                                       1160 GLEN VIEW                                                                                 LEONARD         MI    48367‐3124
ANN L SPAETH TR ANN L SPAETH TRUST UA 01/15/87    3011 BRAMBLE DR                                                                                KALAMAZOO       MI    49009‐9156

ANN L SULLENGER                                   5707 45TH ST EAST LOT 139                                                                      BRADENTON        FL   34203‐5535
ANN L TATE                                        1124 ALDEN RD                                                                                  ALEXANDRIA       VA   22308‐2554
ANN L TAYLOR                                      443 RUTH RIDGE DR                                                                              LANCASTER        PA   17601‐3633
ANN L TOPOLOVICH                                  294 GREENBRIAR DR                                                                              AURORA           OH   44202‐9208
ANN L TURNER                                      4371 W 147 STREET                                                                              CLEVELAND        OH   44135‐2007
ANN L VARALLA & E SCOTT LITTLE JT TEN             2832 SUMMER BRANCH LN                                                                          BUFORD           GA   30519
ANN L WARNER & ROBERT S LOCHER JT TEN             5562 CRANBROOK DR                                                                              DEARBORN HEIGHTS MI   48125‐2305

ANN L WERELEY                                     6865 COUNTY ROAD 31                                                                            FRIENDSHIP      NY    14739‐8643
ANN L WIKOFF                                      6807 ARBOR OAKS DRIVE                                                                          BRADENTON       FL    34209‐7403
ANN L WILSON                                      1205 KENSINGTON AVE                                                                            FLINT           MI    48503‐5374
ANN L WINKLEY                                     2441 LOCKPORT OLCOTT RD                                                                        NEWFANE         NY    14108‐9518
ANN LAING HETZEL TR ANN LAING HETZEL REVOCABLE    9269 SW 92ND LN                                                                                OCALA           FL    34481‐8601
TRUSTUA 03/10/97
ANN LAZOR                                         18623 CHICKASAW AVE                                                                            CLEVELAND       OH    44119‐2722
ANN LEE ARROWOOD CUST HOUSTON ARROWOOD            1200 CAMBRIDGE DR                                                                              FRIENDSWOOD     TX    77546‐5273
UTMA AZ
ANN LEE BARON                                     1119 CEDAR TER                                                                                 COLUMBIA        SC    29209‐1613
ANN LEIDY                                         8805 LOCHMOOR RD                                                                               TAMPA           FL    33635‐1334
ANN LEMMOND                                       BOX 531                                                                                        CORRIGAN        TX    75939‐0531
ANN LESESNE ACKERMAN                              1515 WITSELL ROAD                                                                              SEABROOK        SC    29940‐3702
ANN LESLIE NADLER CUST AARON M NADLER UTMA IL     194 ASPEN                                                                                      HIGHLAND PARK   IL    60035‐4521

ANN LEVY GOLDBERG                                 801 OLIVE ST                          APT 2                                                    SCRANTON        PA    18510‐1660
ANN LIEBER                                        56 JACKSON AVE                                                                                 CARTERET        NJ    07008‐1639
ANN LINDSAY GARDNER                               1016 COFFELT AVE                                                                               BETTENDORF      IA    52722‐4052
ANN LISA WARNER                                   15 DANIEL DR                                                                                   GERMANTOWN      OH    45327‐1644
ANN LOUGHEAD LONG                                 880 NE 69ST APT 9N                                                                             MIAMI           FL    33138‐5747
ANN LOUISA SWEENEY                                351 WILLIAMS RD                                                                                WYNNEWOOD       PA    19096‐1612
ANN LOUISE CARROLL                                1715 MILLINGTON TERRACE                                                                        WEBSTER         NY    14580‐9631
ANN LOUISE KLEPER CUST ADAM ROSS LEVINE UTMA IL   15 SEQUOIA LANE                                                                                DEERFIELD       IL    60015‐4426

ANN LOUISE LAGOMARCINO                            1219 E WAYNE ST S                                                                              SOUTH BEND      IN    46615‐1046
ANN LOUISE MCGUFF                                 1157 DEERFIELD CIR                                                                             HAMILTON        OH    45013
ANN LUCILLE ELSEN                                 6147 RAINBOW DR                                                                                ELKRIDGE        MD    21075‐5544
ANN LYNN HENDERSON                                423 S CENTRAL AVE                                                                              RAMSEY          NJ    07446‐2441
ANN LYNNE STRUG                                   3944 N LINDSTROM PLACE                                                                         TUCSON          AZ    85750‐2089
ANN M ALEXANDER                                   101 LIN‐DON DRIVE                                                                              SOMERSET        KY    42501‐6275
ANN M ARMEY & GLEN LEE ARMEY JT TEN               1155 WEST MAIN ST                                                                              PLEASANT LAKE   IN    46779‐9789
ANN M BARGOWSKI                                   651 NORTH MILDRED                                                                              DEARBORN        MI    48128‐1730
ANN M BERGQUIST                                   17630 13TH AVE NO                                                                              PLYMOUTH        MN    55447‐2934
ANN M BLACK                                       301 PALAMAR DR                                                                                 FAIRFIELD       CT    06432‐2539
ANN M BLAKE                                       476 WILLOWHURST DR                                                                             CENTERVILLE     OH    45459‐4335
ANN M BOLDUC                                      28 HIGH ST                                                                                     HALLOWELL       ME    04347‐1222
ANN M BOLTE                                       12 VALENCIA DR                                                                                 MANCHESTER      NJ    08759
                                          09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 176 of 850
Name                                           Address1                                Address2              Address3         Address4          City              State Zip

ANN M BOUCHER                                  3 JONATHAN LANE                                                                                  CHELMSFORD        MA    01824‐2008
ANN M BRAKE                                    11425 KATHERINE                                                                                  TAYLOR            MI    48180‐4226
ANN M BRAMAN TR REGINA A WILLIAMS TRUST UA     3129 TECUMSEH RIVER ROAD                                                                         LANSING           MI    48906‐3855
09/22/00
ANN M BRANNAN                                  8416 SHADY OAKS DR                                                                               N RICHLND HLS     TX    76180‐1450
ANN M BROWNING                                 2901 ESTHER BOULEVARD                                                                            LOUISVILLE        KY    40220‐1410
ANN M BRUMAR                                   29115 LORI ST                                                                                    LIVONIA           MI    48154‐4022
ANN M BYRNE                                    104 PUNGO TURN                                                                                   YORKTOWN          VA    23693‐2790
ANN M CARBERY                                  105 W HIGH TERR                                                                                  SYRACUSE          NY    13219‐2428
ANN M CHARLES                                  132 DEMOREST AVE                                                                                 AVENEL            NJ    07001‐1246
ANN M CHRISTENSEN                              10 FALL CREEK RD                                                                                 RIDGEWAY          VA    24148‐3190
ANN M CLEARY                                   563 CHERRY ST                                                                                    GROVEPORT         OH    43125‐1403
ANN M CLINEDINST                               107 DYCKMAN PLACE                                                                                BASKING RIDGE     NJ    07920‐1427
ANN M COOKE                                    4 ALLENDALE ROAD                                                                                 OLD SAYBROOK      CT    06475‐1801
ANN M COOPER                                   3125 W SPARTON RD                                                                                NATIONAL CITY     MI    48748‐9672
ANN M COSGROVE MD                              BOX 5519                                                                                         ARDMORE           OK    73403‐0519
ANN M COSGROVE TR AUGUSTIN L COSGROVE LIVING   PO BOX 5519                                                                                      ARDMORE           OK    73403‐0519
TRUSTUA 08/22/91
ANN M COX                                      933 W TEMPLE                                                                                     HOUSTON           TX    77009‐5235
ANN M DE FELICE TR ANN M DE FELICE TRUST UA    3121 ALBEMARLE RD                       LINDEN HILL VILLAGE                                      WILMINGTON        DE    19808‐2701
11/11/93
ANN M DE SANTIS                                8 AZEE DR                                                                                        HAZLET            NJ    07730‐2608
ANN M DEANGELIS & JESSICA A DEANGELIS JT TEN   28 SHEFFIELD AVENUE                                                                              PAWTUCKET         RI    02860‐5732
ANN M DETHLEFS                                 4237 A ST                                                                                        OMAHA             NE    68105‐3822
ANN M DICOCSKY                                 5 YALE RD                                                                                        WILMINGTON        DE    19808‐2205
ANN M DOWNIE                                   86 ALBERT DR                                                                                     PARLIN            NJ    08859‐1832
ANN M DUSEK                                    56 TOWNSHIP ROAD 156                                                                             CHESAPEAKE        OH    45619‐7718
ANN M FAYNIK                                   7226 W 60TH PLACE                                                                                SUMMIT            IL    60501‐1516
ANN M FEGAN                                    19 THIRD ROAD                                                                                    SOUTHAMPTON       NY    11968‐1514
ANN M FERINA                                   10 SONORA WAY                                                                                    HOT SPRINGS       AR    71909‐3027
ANN M FERRENTINO                               APT 102W                                3181 S OCEAN DR                                          HALLANDALE        FL    33009‐7223
ANN M FITZGERALD                               500 E 77TH ST #2618                                                                              NEW YORK          NY    10162‐0008
ANN M FLANIGAN                                 4505 E LAKE RD                                                                                   LIVONIA           NY    14487‐9723
ANN M FLOWERS                                  4000 FOXFIELD PLACE                                                                              RICHMOND          VA    23233‐1019
ANN M FORD                                     6097 E MAPLE AVE                                                                                 GRAND BLANC       MI    48439‐9171
ANN M FORMAN                                   13 ROCK DELL LANE                                                                                BIRMINGHAM        AL    35213‐4103
ANN M FOSS                                     1841 MILES RD                                                                                    LAPEER            MI    48446‐8042
ANN M FRAZEE                                   1315 LASSEN AVE                                                                                  MILPITAS          CA    95035‐6406
ANN M GALLO                                    30 WOODSTOCK STREET                                                                              YONKERS           NY    10701‐1735
ANN M GANGALE & FRANK C GANGALE & PHYLLIS M    4634 MEMPHIS VILLAS S                                                                            BROOKLYN          OH    44144‐2414
PARSONS JT TEN
ANN M GARCIA                                   5172 BIGGER ROAD                                                                                 KETTERING         OH    45440‐2566
ANN M GARRETT                                  ATTN ANN M MCCALEB                      84 MARTIN BLVD                                           DAHLONEGA         GA    30533‐6625
ANN M GATES & ALLEN G GATES JT TEN             642 VALLEY VIEW DR                                                                               BOILING SPRINGS   PA    17007‐9618
ANN M GOFFREDO                                 1151 W 14TH PL                          UNIT 135                                                 CHICAGO           IL    60608‐2846
ANN M GOODMAN                                  432 SAWYER ST                                                                                    ROCHESTER         NY    14619‐1956
ANN M GRAY                                     6031 DUNDEE DR                                                                                   HUNTINGTON        CA    92647‐2408
                                                                                                                                                BEACH
ANN M GREENWALD                                5790 MCKEE RD                                                                                    NEWFANE           NY    14108‐9612
ANN M GROVER                                   11 FAIRMOUNT ST                                                                                  WINCHESTER        MA    01890‐1305
ANN M HADIDON                                  691 W DEWEY RD                                                                                   OWOSSO            MI    48867‐8977
ANN M HALLENBECK                               8780 W CUTLER RD                                                                                 DEWITT            MI    48820‐8064
ANN M HELLMAN CUST RANDALL UTMA SC             19 REBELLION RD                                                                                  CHARLESTON        SC    29407‐7457
ANN M IHDE                                     58080 MONTEGO DR                                                                                 NEW HUDSON        MI    48165‐9735
ANN M INGERSOLL                                28 KENT DR                                                                                       VICTOR            NY    14564‐1233
ANN M IWEN                                     2707 N LEXINGTON DR                     APT 104                                                  JANESVILLE        WI    53545‐0340
ANN M JENKINS & JAMES E JENKINS JT TEN         6870 S SECTION LINE RD                                                                           DELAWARE          OH    43015‐9250
ANN M JESIENSKI                                5 SEABREEZE CT                                                                                   BAYVILLE          NJ    08721‐1781
ANN M JIVERY                                   2556 W OLD SLOCUM TRL                                                                            LA FONTAINE       IN    46940‐9286
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 177 of 850
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

ANN M JOHNSON & MILTON Q JOHNSON JT TEN        80 KELLEY RD                                                                                   SO WINDSOR      CT    06074‐3122
ANN M KAMINSKI CUST LAUREL ANN KAMINSKI UGMA 15125 SE 47TH PLACE                                                                              BELLEVUE        WA    98006‐3210
WA
ANN M KAPPLER                                  3320 SHEPHERD ST                                                                               CHEVY CHASE     MD    20815‐3226
ANN M KAPPLER CUST CIARAN LEONARD HERLIHY UTMA 3320 SHEPHERD STREET                                                                           CHEVY CHASE     MD    20815‐3226
DC
ANN M KAPPLER CUST LIAM GEORGE HERLIHY UTMA DC 3320 SHEPHERD ST                                                                               CHEVY CHASE     MD    20815‐3226

ANN M KAY                                       24575 WILLOWBY AVE                                                                            EASTPOINTE      MI    48021‐3460
ANN M KEARNEY                                   1501 ROOSEVELT AVE APT K‐12                                                                   CARTERET        NJ    07008‐1420
ANN M KEGLOVITZ & ALFRED KEGLOVITZ JT TEN       23 HELEN ST                                                                                   STROUDSBURG     PA    18360‐8489
ANN M KETNER                                    1255 WESTWOOD DRIVE                                                                           FLINT           MI    48532‐2662
ANN M KILLEEN                                   22‐36‐37 TH STREET                                                                            ASTORIA         NY    11105‐1906
ANN M KOVALCIK                                  19 MARKET ST                                                                                  GARFIELD        NJ    07026‐3744
ANN M KOZUP                                     3045 MONROE ST                                                                                DEARBORN        MI    48124‐4609
ANN M LARSEN                                    25210 FREDRICK                                                                                SOUTHFIELD      MI    48034‐6722
ANN M LINGLE                                    869 E QUEENS ST                                                                               ANNVILLE        PA    17003‐1913
ANN M LINGLE TR LUCILLE M LINGLE UA 9/27/68     ATTN MRS LUCILLE M WHISLER           1527 WHEATFIELD LN                                       LEBANON         PA    17042‐6444
ANN M LINGLE TR THOMAS G LINGLE UA 9/27/68      2311 NORDOK PL                                                                                ALEXANDRIA      VA    22306‐2534
ANN M MAGGITTI                                  7279 GEORGE WASHINGTON LANE                                                                   AWENDAW         SC    29429
ANN M MAHER                                     65 CHRISTFIELD ST                                                                             YONKERS         NY    10710
ANN M MAHLER                                    509 SUMMIT COVE CT                                                                            BALLWIN         MO    63011‐1775
ANN M MARLING CUST RYAN J MARLING UTMA OH       58171 E 34TH ST                                                                               SHADYSIDE       OH    43947

ANN M MAX                                       471 GLIDE STREET                                                                              ROCHESTER       NY    14606‐1341
ANN M MCCARTHY                                  330 N COUNTY LINE RD                                                                          HINSDALE        IL    60521‐3803
ANN M MCFADDEN                                  1060 SPRING VALLEY DR                                                                         FLORISSANT      MO    63033‐3352
ANN M MECKES                                    2500 CHESTNUT ST                                                                              GIRARD          OH    44420‐3105
ANN M MILLER                                    24102 HURON RIVER DR                                                                          NEW BOSTON      MI    48164‐9437
ANN M MILLER                                    227 WILLETS LANE                                                                              JERICHO         NY    11753‐1613
ANN M MORTON                                    1225 S OCEAN BLVD                    APT 606                                                  DELRAY BEACH    FL    33483‐6550
ANN M MOSES                                     455 AUTUMNWOOD DR SW                                                                          DECATUR         AL    35601‐5657
ANN M MRACEK                                    22 MORWOOD LANE                                                                               CREVE COEUR     MO    63141‐7621
ANN M MURRAY                                    ATTN ANN MURRAY‐WINN                 912 MICHIGAN                                             PETOSKEY        MI    49770‐2657
ANN M MUSIELAK & MICHAEL MUSIELAK JT TEN        3967 POSEYVILLE                                                                               HAMLOCK         MI    48626‐9519
ANN M NAIDUS                                    191 BIRCHWOOD PARK DR                                                                         JERICHO         NY    11753‐2240
ANN M NIKIEL                                    17042 OLD ORCHARD LN N                                                                        LOCKPORT        IL    60441‐7412
ANN M OJILE & MARY OJILE JT TEN                 8828 PARAGON CIR                                                                              ST LOUIS        MO    63123‐1114
ANN M PARKER                                    11919 DREAM ST SW                                                                             OLYMPIA         WA    98512‐1075
ANN M PATANELLA                                 8311 18TH AVE NW                                                                              SEATTLE         WA    98117‐3643
ANN M PATTERSON & ROBERT E PATTERSON JT TEN     2317 NW SUMMERFIELD DRIVE                                                                     LEES SUMMIT     MO    64081‐1921

ANN M PISTOLE                                   19404 MUNCASTER RD                                                                            ROCKVILLE       MD    20855‐2436
ANN M PLATT CUST LAUREN MICHELE PLATT UGMA TX   1206 S ADAMS ST                                                                               FORT WORTH      TX    76104‐4428

ANN M PLAYTER                                   11319 BAY PINES CT                                                                            FORT WAYNE       IN   46804
ANN M POCARO                                    612 JEFFERSON DR                                                                              HIGHLAND HGTS    OH   44143
ANN M POCARO & ANTHONY J POCARO JT TEN          612 JEFFERSON DR                                                                              HIGHLAND HEIGHTS OH   44143‐2037

ANN M RASMUSSEN                                 225 CHALFONTE                                                                                 GROSSE PTE FARMS MI   48236‐3427

ANN M RECKTENWALL                               719 E BOYDSTON MILL DR                                                                        NORTH WEBSTER   IN    46555‐9599
ANN M RIES                                      3703 91ST PL SE                                                                               EVERETT         WA    98208‐3032
ANN M RISO & LINDA J FINNEGAN JT TEN            173 HASBROUK RD                                                                               GOSHEN          NY    10924
ANN M RUIZ                                      518 82ND ST                                                                                   NIAGARA FALLS   NY    14304‐2306
ANN M RUSSO                                     BOX 33                                                                                        SPRING MOUNT    PA    19478‐0033
ANN M SCHUMACHER                                28 NORMANDY TER                                                                               BRONXVILLE      NY    10708‐4809
ANN M SHARP & WILLIAM G SHARP JT TEN            203 FOXWOOD CIR                                                                               WEST PEABODY    MA    01960‐4765
ANN M SIARKIEWICZ                               558 RIVERMOOR PKWY                                                                            WATERFORD       WI    53185‐4043
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 178 of 850
Name                                            Address1                              Address2                Address3       Address4          City               State Zip

ANN M SMELA                                    6286 CONCORD DR                                                                                 SWARTZ CREEK       MI    48473‐7959
ANN M SMITH                                    815 VILLAGE PINE LN                                                                             ORTONVILLE         MI    48462‐8594
ANN M SMYTHE TR UA 07/01/86 ANN M SMYTHE TRUST 97 ALMA ST                                                                                      BENTON             WI    53803‐8908

ANN M SOBCZAK                                   11625 LADD RD                                                                                  BROOKLYN         MI      49230‐8502
ANN M ST JOHN                                   309 E DUCHARME                                                                                 KAU KAUNA        WI      54130‐1633
ANN M STEVENSON                                 140 GRASSY PLAIN STREET                                                                        BETHEL           CT      06801‐2803
ANN M SUBLER                                    76 HICKORY DR                                                                                  VERSAILLES       OH      45380‐9559
ANN M SWEENEY                                   47 LEICESTER ST                                                                                BRIGHTON         MA      02135‐2737
ANN M TENGLUND                                  101 N 21ST ST                                                                                  OLEAN            NY      14760‐1906
ANN M TERNES                                    38314 WYNMAR COURT                                                                             FARMINGTON HILLS MI      48331‐2885

ANN M THELEN                                    13084 TAFT ROAD                                                                                WESTPHALIA         MI    48894
ANN M TONKOVICH                                 28578 IMPERIAL DR                                                                              WARREN             MI    48093‐4203
ANN M TOTH                                      PO BOX 11862                                                                                   TUCSON             AZ    85734‐1862
ANN M TUCK                                      1871 BRENTWOOD POINTE                                                                          FRANKLIN           TN    37067‐6419
ANN M URBAND                                    1368 FAIRBANKS DR                                                                              CLEARWATER         FL    33764‐2805
ANN M VAN PRAAG                                 130 WOODLAWN AVE                                                                               VALLEY STREAM      NY    11581‐1332
ANN M VARTANIAN                                 320 RIVERSIDE DR APT 1G                                                                        NEW YORK           NY    10025
ANN M VIELHABER                                 C/O ANN M DIRLING                     36556 MILLS RD                                           AVON               OH    44011‐2306
ANN M VITALE                                    19 WEBSTER AVENUE                                                                              NARRAGANSETT       RI    02882
ANN M WALLING                                   5136 MAPLE LANE                                                                                INDIANAPOLIS       IN    46219‐5626
ANN M WEST                                      8634 TRINITY ST                                                                                DETROIT            MI    48228‐2844
ANN M WIGHTMAN & NORMAN D WIGHTMAN JT TEN       6770 CREYTS RD                                                                                 DIMONDALE          MI    48821‐9409

ANN M WILUSZ                                    8645 WILSHIRE CT                                                                               STERLING HEIGHTS   MI    48314‐2453

ANN M YAGER                                     W287N6370 BROADWING CT                                                                         HARTLAND           WI    53029
ANN M ZALEWSKI                                  31618 RAYMOND DRIVE                                                                            WARREN             MI    48093‐1777
ANN M ZURKO TR THE ANN M ZURKO REV LIVING       996 SHARON HOGUE RD                                                                            MASURY             OH    44438‐9746
TRUSTUA 05/04/99
ANN M ZYLKA                                     825 POTOMAC AVENUE                                                                             BUFFALO            NY    14209‐1064
ANN MAGEE PERETZMAN                             48 MAGNOLIA LN                                                                                 PRINCETON          NJ    08540‐4064
ANN MARGARET BRANDT                             PO BOX 9022                                                                                    WARREN             MI    48090‐9022
ANN MARIE ARCIERI                               6935 SERENITY LN                                                                               ST CLAIR           MI    48079‐1705
ANN MARIE BRANDT                                PO BOX 1375                                                                                    TAOS               NM    87571‐1375
ANN MARIE BRINKEL                               10 WAYNE TERRACE #21                                                                           CHEEKTOWAGA        NY    14225‐1062
ANN MARIE BROADSTONE                            1119 EAST DAVID ROAD                                                                           DAYTON             OH    45429‐5514
ANN MARIE BRONIMAN                              2172 GUM SPRINGS CHURCH RD                                                                     PITTSBORO          NC    27312‐6642
ANN MARIE BROWNING & STEVEN K BROWNING JT TEN   452 BEACH ST                                                                                   MT MORRIS          MI    48458‐1904

ANN MARIE BRUMFIELD                             2820 SANDY CREEK RD                                                                            DRY FORK           VA    24549‐2508
ANN MARIE BURDO U/GDNSHP OF RICHARD MICHAEL     706 W BARRINGTON CIR                                                                           JACKSON            MI    49203
BURDO & KAREN ANN BURDO
ANN MARIE C MC DONALD                           854 70TH ST                                                                                    BROOKLYN           NY    11228‐1013
ANN MARIE C RUSSO                               37 OLD BRIDGE RD                                                                               BROOKFIELD         CT    06804
ANN MARIE C STARR CUST CATHERINE M STARR UTMA   1600 W GREEN TREE RD                  APT 234                                                  MILWAUKEE          WI    53209‐2963
WI
ANN MARIE CHAMPION                              203 NW 2ND AVE                                                                                 GALVA              IL    61434
ANN MARIE COON                                  C/O ANN MARIE COON BUTLER             422 EAST 61ST TERRACE                                    KANSAS CITY        MO    64110‐3316
ANN MARIE DOLAN‐VICK & JAMES R VICK JT TEN      201 GODFROY AVE                                                                                MONROE             MI    48162‐2725
ANN MARIE DURDIK                                5794 TIMBER RIDGE ROAD                                                                         STURGEON BAY       WI    54235‐3123
ANN MARIE E ESKEW                               2253 BECKENHAM DR                                                                              MT PLEASANT        SC    29466‐9010
ANN MARIE GOHL SHAFFER                          58 WAVERLY ST                                                                                  PITTSFIELD         MA    01201‐7334
ANN MARIE HAMILL                                26111 47TH DR NE                                                                               ARLINGTON          WA    98223‐5754
ANN MARIE HARKINS                               PO BOX 897                                                                                     BERKELEY SPRINGS   WV    25411‐0897

ANN MARIE HICKS                                 5643 GERTRUDE                                                                                  DEARBORN HTS       MI    48125‐2811
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 179 of 850
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

ANN MARIE HOTROVICH & JOSEPH HOTROVICH JT TEN    80 FIRST AVENUE/APT 9G                                                                           NEW YORK           NY    10009‐6329

ANN MARIE JONES & CHARLES JONES JT TEN           1656 WESTCHESTER AVE                                                                             PEEKSILL           NY    10566
ANN MARIE KALB                                   1655 LAFAYETTE ST                       SUITE 302                                                DENVER             CO    80218‐1500
ANN MARIE KRACKE & FRED KRACKE JT TEN            58 DELANO RD                                                                                     MARION             MA    02738‐2011
ANN MARIE LOCKE                                  11705 BROWNELL                                                                                   PLYMOUTH           MI    48170‐4408
ANN MARIE MARGLIN                                407 MISSION SANTA FE CIR                                                                         CHICO              CA    95926‐5112
ANN MARIE MCENANLEY                              1427 LANTERN LANE                                                                                ROCHESTER HILLS    MI    48306‐4240
ANN MARIE MCMANUS                                17 FAYETTE ST                                                                                    EDISON             NJ    08817‐4203
ANN MARIE MOGGE TR ANN MARIE MOGGE TRUST UA      1451 SPRUCE AVE                                                                                  HANOVER PARK       IL    60133‐3717
2/04/03
ANN MARIE NUNKOVICH                              10017 SOUTH FAIRFIELD                                                                            CHICAGO            IL    60655‐1641
ANN MARIE O'LEARY GLOVER                         3540 MERRICK CRT #239                                                                            LEXINGTON          KY    40502
ANN MARIE P MEEHAN                               3216 E TONTO LANE                                                                                PHOENIX            AZ    85050‐7921
ANN MARIE PETERS                                 79 SMALLRIDGE LA                                                                                 ROCHESTER          NY    14617‐5138
ANN MARIE PISCETELLI                             35 ROCKTOWN HILL ROAD                                                                            RINGOES            NJ    08551‐1233
ANN MARIE PULCHAK                                50 HOLLAND AVE                                                                                   NORTH              NY    10591‐1938
                                                                                                                                                  TARRYTOWN
ANN MARIE ROLLO                                  2716 GREEN ST                                                                                    CLAYMONT           DE    19703‐1906
ANN MARIE RYAN & RENEE RYAN JT TEN               209 HALIFAX DR                                                                                   DOTHAN             AL    36305‐3131
ANN MARIE UHER & JOSEPHINE OCCHIPINTI JT TEN     52 W 71ST ST                            APT 4A                                                   NEW YORK           NY    10023‐4244

ANN MARIE UNGVARSKY                              728 BOULEVARD                                                                                    WESTFIELD          NJ    07090‐3212
ANN MARIE VAN BRUNT                              RR #7 BOX 7093                                                                                   MOSCOW             PA    18444‐9244
ANN MARIE VILLANUEVA                             7412 GRENFELL CT                                                                                 ELK GROVE          CA    95758‐7811
ANN MARIE VOLLMER                                3762 BRIDLE CT                                                                                   COLUMBUS           OH    43221‐5901
ANN MARIE WALL                                   10148 GROVE LOOP                        UNIT D                                                   WESTMINSTER        CO    80031‐6796
ANN MARIE WIBERG                                 191 W RIO DR                                                                                     CASA GRANDE        AZ    85222
ANN MARSH AYERS                                  5207 DUN ROBIN LANE                                                                              CHARLOTTE          NC    28226‐3295
ANN MARSHALL GIBSON                              1625 COUNTY RD 950                                                                               CRANE HILL         AL    35053
ANN MARTIN                                       25 WYCKHAM RD                                                                                    SPRING LAKE        NJ    07762‐2255
                                                                                                                                                  HEIGHT
ANN MARY PLEVA                                   420 DRACEN‐A‐WAY                                                                                 GULF BREEZE        FL    32561‐4604
ANN MARY TELFEIAN                                22 MOORE ST                                                                                      PRINCETON          NJ    08542‐6940
ANN MC DERMOTT                                   HORIZONS AT FISHKILL                    14 DOGWOOD LN.       UNIT 308                            BEACON             NY    12508
ANN MC NABB‐KARTH                                224 YACHT CLUB DRIVE                                                                             FT WALTON BEACH    FL    32548‐6422

ANN MCCARTER METZ                                2783 KIRCHLING ROAD                                                                              HAMILTON           OH    45013
ANN MCMAHON BOGART                               5 JORDAN RD                                                                                      HASTINGS‐ON‐       NY    10706‐3919
                                                                                                                                                  HUDSON
ANN MCNAB SARETSKY                               521 CROMWELL WAY                                                                                 LEXINGTON          KY    40503
ANN MERMELL & DEBRA CAUSA JT TEN                 15 WINTHROP AVE                                                                                  MIDDLETOWN         NY    10940
ANN MICHELE BUCKNER                              RR2 BOX 188                                                                                      SULLIVAN           IL    61951
ANN MILLHOUSE VAN HYFTE                          30114 H AVE                                                                                      ADEL               IA    50003‐8123
ANN MILLSAPS WALLACE                             455 DICKERSON LN                                                                                 COLUMBUS           MS    39705‐1648
ANN MITULINSKY                                   918 GARY AVENUE                                                                                  GIRARD             OH    44420‐1940
ANN MONSOUR NUTTLE                               4413 WINDING RIDGE CIR                                                                           NORMAN             OK    73072‐3142
ANN MORRONE                                      PARKHOUSE F23 30 PARK STREET                                                                     NORWICH            NY    13815
ANN MURRAY COLE                                  C/O ANNE C PIERCE                       3117 WOODCREEK WAY                                       BLOOMFIELD HILLS   MI    48304‐1865

ANN MUSGRAVE                                     2 GUTTER ROAD                           SWEET BOTTOM         SAINT JOSEPH      BARBADOS
ANN N DUS                                        7572‐1 MONTEREY BAY DR                                                                           MENTOR ON THE      OH    44060‐9013
                                                                                                                                                  LAKE
ANN N FRISINO & LEO FRISINO JT TEN               BOX 36                                                                                           VALLEY FALLS       NY    12185‐0036
ANN N HEDDEN TR THE ANN N HEDDEN LIVING TRUST    11115 STROUP RD                                                                                  ROSWELL            GA    30075‐2221
UA 08/14/00
ANN NADINE NICHOLSON                             1642 NUALA ST                                                                                    CONCORD            CA    94518‐3308
ANN NEUMEISTER                                   1212 NUTWOOD CIR                                                                                 LOUISVILLE         OH    44641‐2127
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 180 of 850
Name                                              Address1                                 Address2               Address3        Address4          City            State Zip

ANN NEWTON CUST LISA KAROLINE NEWTON UGMA TX 5279 CREEKSIDE BL                             APT N2                                                   BRUNSWICK       OH    44212‐1967

ANN NOBLE STRAPP                                  81 WHITMAN ROAD                                                                                   NEEDHAM         MA    02492‐1020
ANN NOBLE WHITEHURST                              PO BOX 658                                                                                        BETHEL          NC    27812
ANN NOLAN O'BRIEN KIISKILA CUST NOLAN FRANKLIN    1753 DORN ST                                                                                      LEONARD         MI    48367‐2633
KIISKILA UGMA MI
ANN NOLAN OBRIEN KIISKILA                         1753 DORN ST                                                                                      LEONARD         MI    48367‐2633
ANN NORTH                                         8 LOCKHAVEN COURT                                                                                 BEDMINSTER      NJ    07921‐1730
ANN NORTON CONNELL & WILLIAM CONNELL JT TEN       606 NORTH BROMLEY AVE                                                                             SCRANTON        PA    18504‐1804

ANN NORTON CONNELL CUST PATRICK JOSEPH CONNELL 606 NORTH BROMLEY AVE                                                                                SCRANTON        PA    18504‐1804
UTMA PA
ANN NORTON CONNELL CUST WILLIAM FRANCIS        606 NORTH BROMLEY AVE                                                                                SCRANTON        PA    18504‐1804
CONNELL IV UTMA NY
ANN O BLASKAY                                  23561 TIREMAN                                                                                        DEARBORN HTS     MI   48127‐1563
ANN O KEARNEY                                  18 WINDSOR RD                                                                                        WILMINGTON       DE   19809‐2145
ANN O MIMS                                     3712 WOODVALE RD                                                                                     BIRMINGHAM       AL   35223‐1444
ANN OATMAN GARDNER                             841 E SAN MIGUEL ST                                                                                  COLORADO SPRINGS CO   80903‐2660

ANN OKOLOVITCH                                    3552 SHELBY ST                                                                                    WATERFORD       MI    48328
ANN OLSZEWSKI & BARBARA DAY JT TEN                126 KNECHT AVE                                                                                    DAYTON          OH    45405‐2628
ANN OLSZEWSKI & HENRY PAUL OLSZEWSKI JT TEN       126 KNECHT AVE                                                                                    DAYTON          OH    45405‐2628

ANN P BALDWIN                                      PO BOX 12                                                                                        HUNTINGDON      PA    16652‐0012
ANN P BOLICK                                       ATTN ANN P MOSS                         PO BOX 310                                               TIGER           GA    30576‐0310
ANN P CALLAHAN                                     3222 1ST PL N                                                                                    ARLINGTON       VA    22201‐1039
ANN P CAMERON                                      651 SNUG HARBOR DR # R2                                                                          BOYNTON BEACH   FL    33435‐6179
ANN P EGAN & JAMES EGAN JT TEN                     9 PEACH ORCHARD RD                                                                               PROSPECT        CT    06712‐1052
ANN P GRIFFITH TR GRIFFITH FAMILY TRUST UA 5/14/93 869 ARMADA TERRACE                                                                               SAN DIEGO       CA    92106‐3055

ANN P HANEY                                       199 BELLEVUE ST                                                                                   NEWTON          MA    02458‐1812
ANN P MCBRIDE                                     81 FILLINGHAM DR                                                                                  ROCHESTER       NY    14615‐2151
ANN P MEIDENBAUER                                 40 ROLLINGWOOD DRIVE                                                                              LANCASTER       NY    14086‐9662
ANN P NALLY                                       70 ELMCROFT RD                                                                                    ROCHESTER       NY    14609‐7742
ANN P PURDY                                       PO BOX 1173                                                                                       FOREST          VA    24551
ANN PARRIS CUST DAMON FRANZEN UGMA VA             21375 DOVE HILL RD                                                                                CULPEPER        VA    22701‐8134
ANN PATRICE FARLEY                                178 KITCHELL LAKE DRIVE                                                                           WEST MILFORD    NJ    07480‐4404
ANN PATRICIA ZURIK                                APTRDO 50363                             BARRANQUILLA                           COLOMBIA
ANN PATTON TR PATTON FAMILY TRUST UA 5/20/98      1191 W MAIN ST                                                                                    NEWARK          OH    43055‐2005

ANN PERAINO & MARY ANN TERRANOVA JT TEN           29621 BRADNER DR                                                                                  WARREN          MI    48088‐3701
ANN PERRY WASHBURN                                PO BOX 241                                                                                        AYLETT          VA    23009‐0241
ANN PHILLIPS                                      3544 VIEWEL AVE                                                                                   DAYTON          OH    45414
ANN PICKARD                                       10609 FERNGLEN AVE                                                                                TUJUNGA         CA    91042‐1523
ANN PILLA & STEPHEN A GALBA JT TEN                61 LE GRANDE AVE                                                                                  TARRYTOWN       NY    10591‐3405
ANN PRESTON                                       614 SOUTH 8TH STREET                     APT 326                                                  PHILADELPHIA    PA    19147‐2002
ANN Q PERRY                                       108 TERRELL DR                                                                                    TOCCOA          GA    30577‐3828
ANN R BECKER                                      4407 DENALI CV                                                                                    FORT WAYNE      IN    46845‐9116
ANN R BRETZ                                       102 POPLAR ST                                                                                     KINGSTON        PA    18704‐2810
ANN R COLLETTE                                    6313 HURST ST                                                                                     NEW ORLEANS     LA    70118‐6162
ANN R CSUTORA & MARY ANN CSUTORA JT TEN           9414 NEWCASTLE BLVD                                                                               SHREVEPORT      LA    71129‐4840
ANN R DAINWOOD RIDDLE                             6544 ROLLING FORK DR                                                                              NASHVILLE       TN    37205‐3915
ANN R GELDERT                                     6313 HURST ST                                                                                     NEW ORLEANS     LA    70118‐6162
ANN R GIOVACCHINI                                 PO BOX 3018                                                                                       CLEARLAKE       CA    95422
ANN R HARKELRODE                                  2875 WEST INTERNATIONAL AIRPORT RD       APT D201                                                 ANCHORAGE       AK    99502
ANN R HIGGINBOTHAM                                625 EXETER ROAD                                                                                   LEBANON         CT    06249‐1707
ANN R HOEL                                        737 KENSINGTON SQ                                                                                 STOUGHTON       WI    53589‐4839
ANN R JONES                                       ATTN ANN R PELSOR                        28109 CEDAR CREEK DR                                     SUNMAN          IN    47041‐8533
ANN R O'DWYER                                     2620 W CARSON ST                                                                                  TORRANCE        CA    90503‐6141
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 181 of 850
Name                                               Address1                              Address2                Address3       Address4          City             State Zip

ANN R POWELL                                       806 D LINCOLNWOOD LANE                                                                         INDIANAPOLIS     IN    46260‐4652
ANN R RUSH                                         12870 ALMA ST BOX 72                                                                           BURT             MI    48417‐0072
ANN R SCHOCH                                       PO BOX 13596                                                                                   DAYTON           OH    45413‐0596
ANN R URIE & EDWIN E URIE JT TEN                   11149 WOOD ELVES WAY                                                                           COLUMBIA         MD    21044‐1001
ANN R WELCH                                        5 NIXON PLACE                                                                                  LOCKPORT         NY    14094
ANN RAIA & MARIANNE RAIA JT TEN                    4721 AMBROSE AVE                                                                               LOS ANGELES      CA    90027‐1904
ANN RAY LEHMAN                                     3044 BRITTANY WAY                                                                              CHESAPEAKE       VA    23321‐4574
ANN REYNOLDS LAWLER DEWEY                          79 E 79TH ST                                                                                   NEW YORK         NY    10021‐0202
ANN ROARK                                          4540 FRANCISO ROAD                                                                             PENSACOLA        FL    32503
ANN ROBERTA                                        PO BOX 424                                                                                     HONOMU           HI    96728‐0424
ANN ROBERTS                                        1416 N TAYLOR AVE                                                                              ST LOUIS         MO    63113‐2734
ANN RYAN TOD GEORGE CAKOUNGS SUBJECT TO STA        200 MARKET ST                         APT B32                                                  LOWELL           MA    01852‐1879
TOD RULES
ANN S BIDDINGER                                    1549 N OGEMAW TRL                                                                              WEST BRANCH      MI    48661‐9713
ANN S CONTI                                        62‐38 138TH ST                                                                                 FLUSHING         NY    11367‐1128
ANN S COWETT & ALFRED A COWETT JT TEN              7 TIBBETTS DRIVE                                                                               LINCOLN          ME    04457‐1111
ANN S ELBERT                                       7754 BEAUDELAIRE CIRCLE                                                                        GALVESTON        TX    77551
ANN S GRAVATT TR ANN S GRAVATT REVOCABLE TRUST     3608 DOVER RD                                                                                  DURHAM           NC    27707‐5104
UA 01/14/94
ANN S GREGORY                                      7872 LAKESIDE BLVD                                                                             HALE             MI    48739‐8919
ANN S HAUSNER TR UA 07/17/02 ANN S HAUSNER         6549 WOOSTER AVE                                                                               LOS ANGELES      CA    90056
REVOCABLE TRUST
ANN S HUGHES EX EST FRANK HUGHES                   1701 TIEMAN DRIVE                                                                              GLEN BURNIE      MD    21061
ANN S HUNTER                                       40 BRADLEY RUN RD                                                                              ELKTON           MD    21921‐3810
ANN S KEY                                          3984 S TROPICAL TRL                                                                            MERRITT ISLAND   FL    32952‐6220
ANN S LANG                                         8618 CALLIE                                                                                    MORTON GROVE     IL    60053‐2803
ANN S LEVIN                                        ATTN ANN V SOBLE                      2996 SANDPIPER PL                                        CLEARWATER       FL    33762‐3058
ANN S PALENSKE                                     9029 BROWER LAKE RD NE                                                                         ROCKFORD         MI    49341‐8900
ANN S PUCILOWSKI & CAROL ANN PUCILOWSKI JT TEN     C/O CAROL ANN KUSKY                   5272 WYNDEMERE SQUARE                                    SWARTZ KREEK     MI    48473‐8895

ANN S RIVERS                                       810 BURCHILL ST                                                                                ATLANTA          GA    30310‐4626
ANN S ROSS                                         931 N SELFRIDGE BLVD                                                                           CLAWSON          MI    48017‐1032
ANN S SPEED                                        8200 A1 HIGHWAY 14 E                                                                           SELMA            AL    36701
ANN S STARK                                        ATTN ANN S PHILLIPS                   11719 SANDMAN                                            SAN ANTONIO      TX    78216‐3020
ANN S TODD SEPARATE PROPERTY                       3141 ST ANDREWS DR                                                                             LAKE CHARLES     LA    70605
ANN S ZACK & DIANE ZACK TALLMAN JT TEN             1002 PARADISE RD                      APT 2D                                                   SWAMPSCOTT       MA    01907‐1307
ANN S ZACK & MARCIA B ZACK JT TEN                  1002 PARADISE RD                      APT 2D                                                   SWAMPSCOTT       MA    01907‐1307
ANN SAMUELSON                                      PO BOX 151                                                                                     RANDALLSTOWN     MD    21133‐0151
ANN SATZ & JEANNE SOZIO JT TEN                     1501 SW 7TH TER                                                                                BOCA RATON       FL    33486‐7014
ANN SCERBA & JOHN D SCERBA & LARRY R SCERBA JT     BOX 162                                                                                        FAIRBANK         PA    15435‐0162
TEN
ANN SCERBA JOHN D SCERBA & LARRY R SCERBA JT TEN   PO BOX 162                                                                                     FAIRBANK         PA    15435‐0162

ANN SELBERG & THERESA A PREDMORE JT TEN            8486 BURTNETT ROAD                                                                             GAMBIER          OH    43022‐9782
ANN SEMJAN                                         229 EDWARDS PLACE                                                                              YONKERS          NY    10703‐2305
ANN SHANNON                                        541 FIFTH ST                                                                                   TRAVERSE CITY    MI    49684‐2407
ANN SHNEIDER CUST BRIAN SHNEIDER UGMA MI           17017 GOYA STREET                                                                              GRANADA HILLS    CA    91344
ANN SHNEIDER CUST MICHAEL D SHNEIDER UGMA MI       6133 BRIDGEWATER CIRCLE                                                                        EAST LANSING     MI    48823‐9737

ANN SMITH                                          1430 BEECHWOOD                                                                                 BREA             CA    92821‐2058
ANN SMITH & GEORGE I SMITH JT TEN                  2637 NE HAMBLET                                                                                PORTLAND         OR    97212‐1653
ANN SMITHWICK                                      1326 PENNROSE DR                                                                               REIDGVILLE       NC    27320‐5553
ANN SOUILLARD                                      60 AUDUBON ST                                                                                  OSSINING         NY    10562‐2915
ANN SPINKS                                         8722 BERMUDA LN                                                                                PORT RICHEY      FL    34668‐5940
ANN STARK CALLAWAY                                 4400 ISLAND AVE                                                                                AUSTIN           TX    78731
ANN STREVEL                                        37 S WILSON ST                                                                                 MOUNT CLEMENS    MI    48043‐2145
ANN SUE CAMPBELL                                   110 N BAKER ST                                                                                 EDINA            MO    63537‐1118
ANN SUE GARNER                                     1204 ARROWHEAD FARM RD                                                                         JONESBORO        AR    72401‐8931
ANN SULLIVAN                                       19 RHODA AVE                                                                                   HAVERSTRAW       NY    10927‐1007
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                       Part 1 of 8 Pg 182 of 850
Name                                             Address1                               Address2              Address3                Address4          City             State Zip

ANN T CASTRO                                     716 N 82ND ST                                                                                          E ST LOUIS       IL    62203‐1832
ANN T CONLEY                                     403 NORTH PARK DR                                                                                      ROCHESTER        NY    14609‐1017
ANN T DOCHOD                                     716 BURKE AVE NE                                                                                       GRAND RAPIDS     MI    49503‐1923
ANN T GEORGE                                     6 FORREST                                                                                              MENDHAM          NJ    07945‐1615
ANN T HACKER                                     3991 BRUNSWICK AVE S                                                                                   ST LOUIS PARK    MN    55416‐2721
ANN T JABRUCKI                                   128 GERMAIN ST                                                                                         BUFFALO          NY    14207‐2851
ANN T JOHNSON                                    10261 FENNER RD                                                                                        PERRY            MI    48872‐9751
ANN T KELLY                                      92‐04 69TH AVE                                                                                         FOREST HILLS     NY    11375‐5818
ANN T MADDEN                                     ATTN ANN MADDEN‐KIRVIN                 416 ROCKY HILL RD                                               NORTHAMPTON      MA    01062‐9793
ANN T MCKEE                                      PO BOX 411                                                                                             ISLAND HEIGHTS   NJ    08732‐0411
ANN T MIKULAK TOD THERESA A BARRESI SUBJECT TO   36 SHENANDOAH BLVD                                                                                     NESCONSET        NY    11767
STA TOD RULES
ANN T NOBLE & JAMES R NOBLE JT TEN               3697 CHRISTY WAY WEST                                                                                  SAGINAW          MI    48603‐7228
ANN T PACIFIC                                    94 PROSPECT ST                                                                                         MARLBOROUGH      MA    01752‐4115
ANN T PAYNE                                      1245 DUXBERRY AVE                                                                                      COLUMBUS         OH    43211‐2230
ANN T REVEN                                      7115 E COUNTY RD 400N                                                                                  BROWNSBURG       IN    46112‐9460
ANN T SHARPLES                                   POBOX 60830                                                                                            HARRISBURG       PA    17106
ANN T SKOG                                       45 BRIARWOOD SQ                                                                                        INDIAN HEAD PK   IL    60525‐4425
ANN T TRIERWEILER                                C/O BARBARA JEAN FOX                   FIRST NATIONAL BANK   OF WYOMING TRUST DEPT   PO BOX 490        LARAMIE          WY    82073‐0490
ANN T YELVERTON                                  1919 GREENBRIER RD                                                                                     WINSTON‐SALEM    NC    27104‐2323
ANN THERESA REILLY                               44 HOLLY AVE                                                                                           MINEOLA          NY    11501‐4617
ANN THORNDIKE                                    204 UNIVERSITY AVE                                                                                     PROVIDENCE       RI    02906‐5435
ANN TYE                                          13380 WOLF DR                                                                                          STRONGSVILLE     OH    44136‐1934
ANN UNDERWOOD SMITH                              5707 LAUDERDALE RD                                                                                     BROWNS SUMMIT    NC    27214

ANN URUSKI                                       848 BRECKENRIDGE WEST                                                                                  FERNDALE         MI    48220‐1245
ANN V CARVEN                                     1509 DONEGAL RD                                                                                        BEL AIR          MD    21014‐5622
ANN V HITCHNER                                   242 WOODSTOWN DEARTOWN RD                                                                              PILESGROVE       NJ    08098‐3342
ANN V LIEGEOIS TR LIEGEOIS FAMILY TRUST UA       1523 10TH ST                                                                                           MARINETTE        WI    54143‐3523
07/01/05
ANN V NORRIS & PETER KEVIN NORRIS JT TEN         18507 QUEEN ANNE RD                                                                                    UPPER MARLBORO   MD    20774‐8879

ANN VELASQUEZ                                    PO BOX 4002                                                                                            DALLAS           TX    75208‐0002
ANN VYCE                                         30D SOUTHPORT LANE                                                                                     BOYNTON BEACH    FL    33436‐6433
ANN W CONRAD                                     8211 COLONIAL FOREST                                                                                   SPRING           TX    77379‐3907
ANN W F PUTNAM                                   269 RIDGEWOOD RD                                                                                       WEST HARTFORD    CT    06107‐3510
ANN W GIBSON                                     511 SPENCER ST                                                                                         FLINT            MI    48505‐4257
ANN W HAUCK                                      BOX 243                                                                                                SUNBURY          OH    43074‐0243
ANN W I'ANSON TR UW MARY VA D WOODWARD           306 SYCAMORE RD                                                                                        PORTSMOUTH       VA    23707‐1217
ANN W KENDRICK                                   26569 SUMMERDALE DR                    APT 128                                                         SOUTHFIELD       MI    48034‐2223
ANN W OBRIEN                                     2389 DEERHORN DR                                                                                       RIVERSIDE        CA    92506‐3418
ANN W ROTH                                       8141 # FOUR ROAD                                                                                       LOWVILLE         NY    13367
ANN W VON SAAS & THOMAS A M VONSAAS JT TEN       PO BOX 49                                                                                              NEW HAVEN        OH    44850‐0049

ANN W WEDEWART                                   1972 WEST FAIRWAY CIRCLE                                                                               DUNEDIN          FL    34698‐3117
ANN W WROBLEWSKI                                 104 FOULKSTONE WY                                                                                      VALLEJO          CA    94591‐7242
ANN WAGNER                                       90 TRANSYLVANIA ROAD                                                                                   ROXBURY          CT    06783‐2107
ANN WARE                                         4588 JOLIET RD                                                                                         CLEVELAND        OH    44105‐6715
ANN WAROBLAK LUKSIK                              205 HOUSTON RD                                                                                         PITTSBURGH       PA    15237‐3623
ANN WEEKS SCOTT                                  306 OAK DR                                                                                             WASHINGTON       NC    27889‐3325
ANN WERTHEIM                                     350 1ST AVE                            APT 4D                                                          NEW YORK         NY    10010‐4908
ANN WHEELER WILLIAMSON                           PO BOX 66797                                                                                           FALMOUTH         ME    04105
ANN WHITE                                        RTE 4 BOX 11170                                                                                        HAWKINSVILLE     GA    31036‐9734
ANN WICKARD PICKART                              4510 S 95 E                                                                                            BRINGHURST       IN    46913
ANN WILCOX MACKAY EX EST JAMES MACKAY            1‐39 29TH ST                                                                                           FAIRLAWN         NJ    07410‐3902
ANN WILKINSON TR ANN WILKINSON TR UA 6/19/79     1812 ORANGETREE LANE                                                                                   MOUNTAIN VIEW    CA    94040‐4036

ANN WILLEY                                       908 S WINTHROP ST                                                                                      SAINT PAUL       MN    55119‐5618
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 183 of 850
Name                                                Address1                            Address2             Address3          Address4          City            State Zip

ANN WINN WENTWORTH & HELEN W MOWRY TR            141 WAKEFIELD RD                                                                                W NEWFIELD      ME    04095‐3327
FRANK W WINN TRUST UA 7/16/98
ANN WINSTON                                      C/O BROWN                              13 SHORE RD                                              EDGEWATER       NJ    07020‐1540
ANN WOO                                          1522 SHEPARD CIR                                                                                ELK GROVE VLG   IL    60007‐2845
ANN WOODLEY EYER & FRANKLIN H EYER JT TEN        31 KENSINGTON CIR                                                                               BELVIDERE       NJ    07823‐1714
ANN WOODS FOX                                    6312 STARVUE DR                                                                                 CINCINNATI      OH    45248‐2112
ANN WOODWARD I'ANSON                             306 SYCAMORE RD                                                                                 PORTSMOUTH      VA    23707‐1217
ANN WOOLERY GABOR                                1570 LOGANBERRY WAY                                                                             PLEASANTON      CA    94566‐6022
ANN Y GOWATY                                     4 BAILEY DR                                                                                     PRINCETON       NJ    08540‐7955
ANN Y MOLINA                                     G‐8164 CORUNNA RD                                                                               FLINT           MI    48504
ANN Y RICHMAN                                    291 COLE AVE                                                                                    PROVIDENCE      RI    02906‐3452
ANN Y SHIELDS                                    21 WILLOW CREEK LANE                                                                            NEWARK          DE    19711‐3428
ANN YANEK                                        24 N 9TH ST                                                                                     KENILWORTH      NJ    07033‐1540
ANN YOCKEL                                       856 REDMAN RD                                                                                   HAMLIN          NY    14464‐9610
ANN Z NEWBERG TR UA 1/4/93 ANN Z NEWBERG         4201 W CHARLOTTE DR                                                                             GLENDALE        AZ    85310‐3215
SURVIVORS TRUST A
ANN ZALINGER                                     12 MERRILL TER                                                                                  MONTPELIER      VT    05602‐2467
ANN ZUGER PEARCE                                 204 WEST AVE B                                                                                  BISMARCK        ND    58501‐3603
ANN ZURKO                                        996 SHARON‐HOGUE ROAD                                                                           MASURY          OH    44438‐9746
ANN‐MARIE DOMBROWSKI CUST ASHLEY DOMBROWSKI 206 WARN AVE                                                                                         PINE BUSH       NY    12566‐6610
UTMA NY
ANN‐MARIE KIRKHAM                                538 CHARRINGTON AVE                    OSHAWA ON                              L1G 7L8 CANADA
ANN‐MARION MARIE BECHTHOLD                       971 GUERRERO ST                                                                                 SAN FRANCISCO   CA    94110
ANN‐PATRICIA WATSON‐JOHNSON CUST ALEXANDER       4629 N MALDEN                                                                                   CHICAGO         IL    60640
PAUL JOHNSON UTMA IL
ANNA A MC CROSKEY                                283 NORTH 8TH STREET                                                                            LEHIGHTON       PA    18235‐1208
ANNA A WARZECHA                                  316 BRISTOL LN                                                                                  CLARKSTON       MI    48348‐2316
ANNA ABBEY LARSON & PATRICIA ABBEY LARSON JT TEN 447 LANGE DR                                                                                    TROY            MI    48098‐4672

ANNA ADAMO                                          1023 MILDRED ST                                                                              FLUSHING        MI    48433‐1756
ANNA ADESSA TR ANNA ADESSA LIVING TRUST UA          151‐33 28TH AVE                                                                              FLUSHING        NY    11354‐1557
02/17/94
ANNA ANDERSON                                       4 SINGING WOODS COURT                                                                        NORWALK         CT    06850‐1223
ANNA ARLENE MCCROSKEY                               283 N 8TH ST                                                                                 LEHIGHTON       PA    18235‐1208
ANNA ARLENE RAU                                     3072 E NORTH UNION RD                                                                        BAY CITY        MI    48706‐2526
ANNA B BRAVO                                        1134 S L ST                                                                                  OXNARD          CA    93033‐1521
ANNA B CARHART                                      296 BOONE DR                                                                                 CADIZ           KY    42211‐7852
ANNA B DANIEL                                       14977 HANNAH WALK                                                                            HARVEST         AL    35749‐7479
ANNA B FAFARA                                       3 SERVISS ST                                                                                 SOUTH RIVER     NJ    08882‐1704
ANNA B FINN & JOHN G FINN JT TEN                    1402 S BUCKEYE ST                                                                            KOKOMO          IN    46902‐6319
ANNA B FLEMING                                      4090 CALKINS RD                                                                              DRYDEN          MI    48428‐9710
ANNA B GRIFFIN TR ANNA B GRIFFIN TRUST UA 7/15/04   12364 FOREST MEADOW DR                                                                       PERRY           MI    48872‐9150

ANNA B KONDAK TR ANNA B KONDAK TRUST UA             740 HAWTHORNE                                                                                GROSSE PTE WOODS MI   48236‐1451
11/29/95
ANNA B NESENKAR                                     2303 EDINBURG DR                                                                             FALLSTON        MD    21047‐2908
ANNA B OWENS                                        4450 LAKESHORE RD                                                                            MANISTEE        MI    49660‐9218
ANNA B PHILLIPS                                     682 COVERED BRIDGE RD                                                                        GREENWOOD       IN    46142‐1110
ANNA B REBER                                        2356 PINNACLE RD                                                                             RUSH            NY    14543‐9456
ANNA B SAYLES                                       10 HERTEL AVE                       APT 901                                                  BUFFALO         NY    14207‐2534
ANNA B SCHRODER                                     1666 PHEASANT RIDGE DR                                                                       LINCOLN         IL    62656‐5128
ANNA B TINO                                         23 HOLMES AVE                                                                                NEW BRITAIN     CT    06053‐3905
ANNA B TURNER                                       166 DEER TRACE DR                                                                            LEESBURG        GA    31763‐5820
ANNA B WALLACE                                      8 FREEMAN AVE                                                                                MIDDLEPORT      NY    14105‐1353
ANNA B WARNER                                       2825 WINTON DR                                                                               KETTERING       OH    45419‐2318
ANNA B WARNER TR ANNA B WARNER REVOCABLE            2825 WINTON DR                                                                               KETTERING       OH    45419‐2318
TRUST UA 10/28/96
ANNA BANACHOWSKI                                    50 SOTHEBY DR                                                                                ROCHESTER       NY    14626‐4451
ANNA BARBARA HENDRICKS                              41 S MARCIA DR                                                                               AUSTINTOWN      OH    44515‐3961
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 184 of 850
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

ANNA BARTEK                                     20 CAREY RD                                                                                     SUCCASUNNA        NJ    07876‐1103
ANNA BECK TR BECK REVOCABLE TRUST UA 03/11/98   23342 HAYES                                                                                     TAYLOR            MI    48180‐2314

ANNA BELLANTONI                                 439 HERITAGE HLS                                                                                SOMERS            NY    10589‐1920
ANNA BELLE CAREY                                1528 BARTH AVE                                                                                  INDIANAPOLIS      IN    46203‐2740
ANNA BELLE DYAS                                 4191 N AVENIDA DE MONTEZUMA                                                                     TUCSON            AZ    85749
ANNA BELLE FRIEDMAN EX EST DOROTHY MC CASKILL   108 CATER STREET                                                                                ST SIMONS IS      GA    31522

ANNA BOB & DONALD BOB JT TEN                    68 76 76TH STREET                                                                               MIDDLE VILLAGE    NY    11379‐2827
ANNA BOGDEN & EDWARD P BOGDEN JT TEN            16693 E KENT DR                                                                                 AURORA            CO    80013‐2816
ANNA BORDENCA                                   APT A4                                 209 QUEENSBURY DR                                        HUNTSVILLE        AL    35802‐1544
ANNA BRENIO                                     1724 NORTH LINCOLN AVENUE                                                                       SALEM             OH    44460‐1343
ANNA BRUKWINSKI                                 38722 BARNSTABLE LANE                                                                           MT CLEMENS        MI    48038‐3402
ANNA BRUKWINSKI & DINA ANNA M GRIFO JT TEN      38722 BARNSTABLE LANE                                                                           MT CLEMENS        MI    48038‐3402

ANNA BRUKWINSKI & DINA F GRIFO JT TEN           38722 BARNSTABLE LANE                                                                           MT CLEMENS        MI    48038‐3402
ANNA BRUKWINSKI & WALTER BRUKWINSKI JT TEN      38722 BARNSTABLE LANE                                                                           MT CLEMENS        MI    48038‐3402

ANNA C BARNHART                                 BOX 62                                                                                          DALEVILLE         IN    47334‐0062
ANNA C BILIK                                    85‐15 60 DRIVE                                                                                  ELMHURST          NY    11373‐5431
ANNA C DAVIS                                    9336 PINECREST CT                                                                               DAVISON           MI    48423‐8419
ANNA C DEVINE                                   471 SOUTH VIENNA                                                                                EL PASO           TX    79938‐8991
ANNA C DOVAN                                    16 COUNTRY LANE WAY                                                                             PHILADELPHIA      PA    19115‐2152
ANNA C FORRER                                   1105 LINCOLN ST                                                                                 DUNCANNON         PA    17020‐1908
ANNA C GROMOWSKI                                ATTN ANNA C NOVOTNY                    4058 CADDIE DR E                                         BRADENTON         FL    34203‐3428
ANNA C KAATZ                                    PO BOX 1348                                                                                     ENGLEWOOD         CO    80150‐1348
ANNA C KOZA & HELEN KOZA JT TEN                 G‐3164 W CARPENTER ROAD                                                                         FLINT             MI    48504
ANNA C LANG & WALTER C LANG JT TEN              485 FLEMINGO LN                                                                                 ELLENTON          FL    34222‐3211
ANNA C MARTIN                                   7811 HAYFIELD RD                                                                                ALEXANDRIA        VA    22315‐4023
ANNA C MATTHEWS                                 374 OLD TARRYTOWN ROAD                                                                          WHITE PLAINS      NY    10603‐2606
ANNA C MC ATEER                                 312 LAKE SHORE DR                                                                               MONROE            NY    10950‐1812
ANNA C NEUMANN                                  41352 CLAIRPOINTE STREET                                                                        HARRISON          MI    48045‐5915
                                                                                                                                                TOWNSHIP
ANNA C O'BIER                                   1 BARNSDALE DR                                                                                  MIDDLETOWN        DE    19709‐7833
ANNA C OBIER & GEORGIANA O BAGBY JT TEN         1 BARNSDALE DR                                                                                  MIDDLETOWN        DE    19709‐7833
ANNA C RHODES TOD MICHAEL P RHODES              2203 W STATE                                                                                    BOISE             ID    83702‐3247
ANNA C WILLIAMS TR ANNA C WILLIAMS TRUST UA     G‐3064 MILLER RD APT 505                                                                        FLINT             MI    48507‐1341
07/13/95
ANNA CALVARUSO                                  235 LAURELWOOD CT S W                                                                           GRAND RAPIDS      MI    49548‐7900
ANNA CAROLINE NEWTON                            2801 MAFFITT CT                                                                                 FAYETTEVILLE      NC    28303‐5906
ANNA CATHERINE ELLIS                            750 PARK AVE NE                        #27 N                                                    ATLANTA           GA    30326‐3268
ANNA CATHERINE ZOULKO                           ZOULKO RD BOX 94                                                                                MACHIAS           NY    14101‐0094
ANNA CHAI & VICTOR CHAI JT TEN                  4167 BELL COMMON                                                                                FREMONT           CA    94536‐6988
ANNA CLUTE                                      401 GRIFFITH RD                                                                                 MONROE            NC    28112‐6033
ANNA CORINNE SCOTT                              PO BOX 142                                                                                      CAPEVILLE         VA    23313‐0142
ANNA D BUCHANAN & RONALD A BUCHANAN JT TEN      2734 FERNLEAF RD                                                                                CHARLOTTESVILLE   VA    22911‐8277

ANNA D HALTMAN                                  3653 DEMURA DRIVE                                                                               WARREN            OH    44484‐3724
ANNA D LEONE                                    608 MAPLE AVE                                                                                   TRENTON           NJ    08618‐2604
ANNA D MCKINNEY TR UNDER DECLARATION OF TRUST   2433 BEAR DEN ROAD                                                                              FREDERICK         MD    21701‐9321
U‐A‐DTD 05/10/84
ANNA D PETRO                                    6700 NW 90TH AVE                                                                                OCALA             FL    34482‐1917
ANNA D SCHULLER                                 815 JUNIPER DRIVE                                                                               SEYMOUR           IN    47274
ANNA D SPRY                                     11630 ZIEGLER                                                                                   TAYLOR            MI    48180‐4318
ANNA DAISY BELL                                 PO BOX 91                                                                                       GREENVILLE        NC    27835‐0091
ANNA DANEK                                      46 BIG RIDGE ESTS                                                                               E STROUDSBURG     PA    18301‐9332
ANNA DANEK & STEVE E DANEK JT TEN               46 BIG RIDGE ESTS                                                                               E STROUDSBURG     PA    18301‐9332
ANNA DARLENE BARRETT                            17356 DORIS AVE                                                                                 FRASER            MI    48026‐3302
ANNA DELANEY                                    21 CHIPPEWAY CRT                                                                                PALM COAST        FL    32137‐8934
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 185 of 850
Name                                                Address1                               Address2             Address3          Address4          City             State Zip

ANNA DER MARDEROSIAN                                681 CONCORD AVE                                                                                 BELMONT          MA    02478‐2027
ANNA DIAK                                           1209 THELMA TERRACE                                                                             LINDEN           NJ    07036‐5517
ANNA DOBIAS                                         1529 ROKOSZ LANE                                                                                DYER             IN    46311‐1392
ANNA DOTY                                           590 WADLEIGH AVE                                                                                WEST HEMPSTEAD   NY    11552‐3715

ANNA DOUGLAS                                        2448 DONNA                                                                                      WARREN           MI    48091‐1048
ANNA DROST                                          181 VERBENA AVE                                                                                 FLORAL PARK      NY    11001‐3043
ANNA E BINKLEY                                      2423 EMERALD LAKE DR #208                                                                       SUN CITY CTR     FL    33573
ANNA E BROWN                                        23 ST AMBROSE ST                                                                                CAHOKIA          IL    62206‐1616
ANNA E COVEYOU & DONALD E COVEYOU JT TEN            3126 LOCKE RD                                                                                   NATIONAL CITY    MI    48748‐9652
ANNA E CROSS                                        3223 S LEAVITT RD                                                                               WARREN           OH    44481‐9115
ANNA E HECHLER                                      920 DECATUR ST                                                                                  BARRY            IL    62312‐1321
ANNA E HERSOM                                       2 DRIFTWOOD LANE                                                                                NORWALK          CT    06851‐1116
ANNA E KESSLER                                      4603 WENHAM PARK                                                                                COLUMBUS         OH    43230‐8445
ANNA E KOST                                         2000 CAMBRIDGE AVE                     #244                                                     WYOMISSING       PA    19610‐2735
ANNA E MCCOLLUM                                     2417 YOUNGSTOWN LKPT RD                                                                         RANSOMVILLE      NY    14131
ANNA E MORLEY                                       315 MERION AVE                         APT 1074                                                 PENNS GROVE      NJ    08069‐3403
ANNA E MURPHY                                       PO BOX 33                                                                                       PENNSVILLE       NJ    08070‐0033
ANNA E NELSON                                       PO BOX 24                                                                                       PRINCETON        MA    01541‐0024
ANNA E TRZASKOWSKI                                  228 PEMBERTON DR                                                                                ELYRIA           OH    44035‐8882
ANNA E WHARTON                                      G1187 SOUTH ELMS RD                                                                             FLINT            MI    48532
ANNA E WHITBECK                                     MAIN STREET                                                                                     SALISBURY        CT    06068
ANNA E WILKINSON & DONALD L WILKINSON JT TEN        4355 ROSSMAN RD                                                                                 KINGSTON         MI    48741‐9530

ANNA EASHOO                                         4376 CROSBY RD                                                                                  FLINT            MI    48506‐1416
ANNA EMANUEL                                        81 UNION AVE APT 9E                                                                             IRVINGTON        NJ    07111‐3293
ANNA EVANS                                          120 ATLAS LOOP APT B                                                                            UNIONTOWN        PA    15401‐6642
ANNA EVEVSKY                                        510 BAY MEADOWS DR                                                                              WEBSTER          NY    14580‐4001
ANNA F ALLMAN                                       PO BOX 697                                                                                      JAMESTOWN        KY    42629‐0697
ANNA F BUCKNER                                      803 26TH ST                                                                                     PHENIX CITY      AL    36867‐4021
ANNA F CONSTANTINE                                  60 NEETA TRAIL                                                                                  MEDFORD LAKES    NJ    08055‐1613
ANNA F CROW                                         2780 E 100 N                                                                                    KOKOMO           IN    46901‐3442
ANNA F DRUMMOND                                     18550 GOLFVIEW DR                                                                               LIVONIA          MI    48152‐2868
ANNA F GOEBEL & LELAND R GOEBEL JR JT TEN           7200 DEARBORN ST                                                                                OVERLAND PARK    KS    66204‐2143
ANNA F KERR & JUDY M LINVILLE JT TEN                P O BOX 5545 T E                                                                                BRADENTON        FL    34281
ANNA F MAURO                                        2 TWIN OAK DR                                                                                   ROCHESTER        NY    14606‐4406
ANNA F MC GAFFIGAN                                  6 MAKEPEACE LANE                                                                                WEST YARMOUTH    MA    02673‐3589
ANNA F PEOPLES                                      PO BOX 254                                                                                      TANNER           AL    35671‐0254
ANNA F ROSE                                         1105 MICHIGAN ST                                                                                HAMMOND          IN    46320‐1337
ANNA F SHOOPS                                       50 HOWDER ST                                                                                    HILLSDALE        MI    49242‐1336
ANNA F TRIPLETT                                     ONE MORRIS ST APT 303                                                                           CHAS             WV    25301‐2934
ANNA FACHILLA                                       7720 COOLIDGE                                                                                   CENTER LINE      MI    48015‐1071
ANNA FAUSTINI CUST PAUL LOUIS FAUSTINI UGMA NJ      135 MEHRHOF RD                                                                                  LITTLE FERRY     NJ    07643‐2114

ANNA FAUSTINI CUST WILLIAM FAUSTINI JR UGMA NJ      15 CHURCH ST                           STE #3                                                   VERNON           NJ    07462

ANNA FENKO VOYTKO                                   1513 NORWOOD DR SW                                                                              LILBURN          GA    30047‐5503
ANNA FERRARA                                        230 PARK RIDGE DR                                                                               EASTON           PA    18040‐7963
ANNA FINI                                           16415 GRILLO                                                                                    CLINTON TWP      MI    48038‐4007
ANNA FISHER HOOD                                    101 WINTERSET DRIVE                                                                             STARKVILLE       MS    39759‐4125
ANNA G ALKEVICIUS TR ALKEVICIUS TRUST UA 04/29/99   31239 GAY ST                                                                                    ROSEVILLE        MI    48066‐1224

ANNA G BELTOWSKI                                    6221 CENTER ST #104                                                                             MENTOR           OH    44060‐8607
ANNA G SCHOONE                                      4553 PENSACOLA BOULEVARD                                                                        DAYTON           OH    45439‐2825
ANNA G SIEGEL                                       63 JASMINE ST                                                                                   DENVER           CO    80220‐5910
ANNA G WATSON                                                                                                                                       OOLITIC          IN    47451
ANNA GARINGER & JOEL J GARINGER JT TEN              3112 JOHANN DR                                                                                  SAGINAW          MI    48609‐9133
ANNA GARON                                          1534 GLEN COVE LN                                                                               BELLINGHAM       WA    98229
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 186 of 850
Name                                               Address1                             Address2             Address3          Address4          City            State Zip

ANNA GONZALEZ CUST CATHERINE GONZALEZ UTMA CA 3671 FARQUHAR AVE                         APT 2                                                    LOS ALAMITOS    CA    90720‐3966

ANNA GONZALEZ CUST MICHAEL CRUZ UTMA CA            3671 FARQUHAR AVE                    APT 2                                                    LOS ALAMITOS    CA    90720‐3966
ANNA GRAHAM                                        816 BELVEDERE NE                                                                              WARREN          OH    44483‐4230
ANNA GRATTAN                                       821 WANDA                                                                                     FERNDALE        MI    48220‐2659
ANNA H FIORELLI                                    26831 HASS                                                                                    DEARBORN HTS    MI    48127‐3942
ANNA H HASKELL                                     525 TOBY CREEK RD                                                                             BARNWELL        SC    29812‐6151
ANNA H OWENS                                       10702 GREENFIELD RD                                                                           SODDY DAISY     TN    37379‐3606
ANNA H PORTER & JANICE M PORTER JT TEN             17645 SPRENGER                                                                                EASTPOINTE      MI    48021‐3150
ANNA H SMITH & NORMAN J SMITH & NORMA S            PO BOX 35                            39 E HIGH ST                                             MAYTOWN         PA    17550‐0035
RODNEY JT TEN
ANNA HAMMOND PRESCOTT                              433 METAIRIE RD                      STE 102                                                  METAIRIE        LA    70005‐4324
ANNA HELEN CERAK                                   14 BLUEJAY DRIVE                                                                              MANTUA          NJ    08051‐1327
ANNA HEOTES & MARY HEOTES JT TEN                   BOX 1367                                                                                      VALLEJO         CA    94590‐0136
ANNA HERKO                                         15 MADIE AVE                                                                                  SPOTSWOOD       NJ    08884‐1139
ANNA HERPOK                                        33 MURRAY ST                                                                                  HAMDEN          CT    06514‐4422
ANNA HESS STANTON & GENEVIEVE E HESS TR UA         7271 PLEASANTS VALLEY RD                                                                      VACAVILLE       CA    95688‐9713
04/29/85 RAE R HESS
ANNA HICKS & THERESA DANIEL & JOAN BOSTIC JT TEN   3707 ROCKDALE RD                                                                              MANCHESTER      MD    21102‐2619

ANNA HING LIN YEE                                  4408 CHINOOK DR                                                                               REDDING         CA    96002‐3547
ANNA HULST TR UA 02/08/94 THE ANNA HULST TRUST     130 PARKSIDE DR                                                                               ZEELAND         MI    49464‐2011

ANNA I BILINSKI                                    4705 PROSPECT ST                                                                              CUBA            NY    14727‐9544
ANNA I JOHNSON                                     G‐4073 GRANDVIEW DRIVE                                                                        FLUSHING        MI    48433
ANNA I VAN WULFEN                                  13437 NORTH HENDERSON RD                                                                      OTISVILLE       MI    48463‐9719
ANNA IDA CAMPA                                     91 COLUMBIA AVE                                                                               HARTSDALE       NY    10530‐2509
ANNA INGRASSIA & IGNAZIO INGRASSIA JT TEN          84 ROOSEVELT AVE                                                                              JERSEY CITY     NJ    07304‐1208
ANNA J ALLEY                                       14977 HANNAH WALK                                                                             HARVEST         AL    35749‐7479
ANNA J BARE                                        1176 CHINQUAPIN GROW ROAD                                                                     BLUFF CITY      TN    37618‐4562
ANNA J BRANT                                       3308 MAE DRIVE S W                                                                            WARREN          OH    44481‐9210
ANNA J COE                                         1121 3RD STREET                                                                               SANDUSKY        OH    44870‐3841
ANNA J DEVICH & SHARON A OSLER JT TEN              624 TENNYSON                                                                                  ROCHESTER       MI    48307
ANNA J FOOTE                                       209 EAST FRONT ST                    UNIT C                                                   MEDIA           PA    19063‐3046
ANNA J HARTEL TR ANNA J HARTEL REVOCABLE LIVING    1130 CARPENTER NW                                                                             GRAND RAPIDS    MI    49504‐3729
TRUST UA 04/26/00
ANNA J HAUCK & SUE BAYLOR KEITH JT TEN             310 MCCORMICK AVENUE                                                                          STATE COLLEGE   PA    16801‐5427
ANNA J JACKSON                                     1902 ROSEDALE                                                                                 MUSCLE SHOALS   AL    35661‐1980
ANNA J JAMES                                       984 S HAGUE AVE                                                                               COLUMBUS        OH    43204‐2308
ANNA J JONES                                       2160 SINGLETON STREET                                                                         INDIANAPOLIS    IN    46203‐3925
ANNA J KAGE                                        2540 DAVID                                                                                    LAPEER          MI    48446‐8330
ANNA J KIRBY                                       370 WALNUT LANE                                                                               NORTH EAST      MD    21901‐6118
ANNA J KOENIG                                      710 SCOTT DR                                                                                  MANSFIELD       OH    44906‐4003
ANNA J MADDOX                                      5146 N 500 E                                                                                  MARION          IN    46952‐9642
ANNA J MARCH                                       C/O WOOD                             3800 GRANGER RD                                          ORTONVILLE      MI    48462‐9103
ANNA J MIJOU                                       2108 MARIPOSA AVE                                                                             LAS VEGAS       NV    89104‐3800
ANNA J MORRIN                                      6790 CRABB RD                                                                                 TEMPERANCE      MI    48182‐9530
ANNA J PACHL & MARGITH R PACHL JT TEN              6509 N NORTHWEST HIGHWAY                                                                      CHICAGO         IL    60631‐1424
ANNA J RUDOLPH & DALE C RUDOLPH JT TEN             4095 W COOK ROAD                                                                              SWARTZ CREEK    MI    48473‐9138
ANNA J STEVENSON                                   25700 W 12 MILE RD                   BUILDING 6 APT 106                                       SOUTHFIELD      MI    48034‐1872
ANNA J STROJNY                                     14050 WHITNEY RD                                                                              STRONGSVILLE    OH    44136‐1961
ANNA J WATSON                                      5240 OAKLEAF DR                      APT C5                                                   INDIANAPOLIS    IN    46220‐3366
ANNA JEAN JORDAN                                   4501 N WHEELING 7A‐107                                                                        MUNCIE          IN    47304‐1277
ANNA JEAN PITT                                     1808 ABELIA RD                                                                                FALLSTON        MD    21047‐1750
ANNA JEAN PITT CUST WILLIAM A PITT III UGMA MD     2802 OVERLAND AVE                                                                             BALTIMORE       MD    21214‐3132

ANNA JENCO                                         760 ERCAMA STREET                                                                             LINDEN          NJ    07036
ANNA JEZEWSKI                                      703 CHARLES ST                                                                                SOUTH AMBOY     NJ    08879
ANNA JOHNSON                                       3147 MARYLAND                                                                                 FLINT           MI    48506‐3030
                                                 09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 187 of 850
Name                                               Address1                             Address2             Address3          Address4          City             State Zip

ANNA K BLAZEJOWSKI                                 354 BALDWIN DR                                                                                BRISTOL          CT    06010‐3082
ANNA K BURNS                                       288 PLACER DR                                                                                 GOLETA           CA    93117‐1312
ANNA K DEAN                                        1452 PLEASANT DR                                                                              WHEELING         WV    26003‐1410
ANNA K MILLER                                      15477 WATERS CREEK                                                                            CENTREVILLE      VA    20120‐1165
ANNA K RAMSEY                                      C/O ROBERT G RAMSEY                  177 CANOE CREEK RD                                       RAINBOW CITY     AL    35906‐8978
ANNA KANTOR                                        21135 WARRIOR'S PATH DR                                                                       PEYTON           CO    80831
ANNA KAPLAN & DENNIS KAPLAN JT TEN                 2947 CHARLOTTE DR                                                                             MERRICK          NY    11566‐5301
ANNA KASPER                                        611 S LEROY                                                                                   FENTON           MI    48430‐2154
ANNA KISS                                          1013 THE CAPPES BLVD                                                                          PAINESVILLE      OH    44077‐1464
                                                                                                                                                 TWNSHP
ANNA KOUKOVENKO                                3507 N SPRINGFIELD AVE                   #2                                                       CHICAGO          IL    60618‐5019
ANNA KULIK & RAYMOND A KULIK JT TEN            867 WAINWRIGHT DR                                                                                 COLUMBUS         OH    43224‐3950
ANNA KURBOS                                    1875 BRAEBURN PARK DR N E                                                                         EUCLID           OH    44117‐1803
ANNA L ANDERSON TR UA 09/25/91 ANNA L ANDERSON 24675 ETON AVE                                                                                    DEARBORN HTS     MI    48125‐1807
TRUST
ANNA L BEASON                                  1025 BOATLANDING RD                                                                               BOWLING GREEN    KY    42101‐9614
ANNA L BRATUS & KAREN M BRATUS & BARBARA A     16361 RICHFIELD                                                                                   LIVONIA          MI    48154‐1424
SCHMELING JT TEN
ANNA L CESSNA                                  4431 MAIN RD                                                                                      BEDFORD          PA    15522‐4721
ANNA L COYNER TR UA 07/22/93 REVOCABLE TRUST   1317 E ROSEBRIER STREET                                                                           SPRINGFIELD      MO    65804‐3640

ANNA L CRAW                                        190 RAINBOW DR #9053                                                                          LIVINGSTON       TX    77399‐0001
ANNA L DURKEE                                      1140 ADELINE ST                                                                               TRENTON          NJ    08610‐6407
ANNA L EDMISTER                                    2460 DIBBLEE AVE                                                                              COLUMBUS         OH    43204‐3423
ANNA L GERMAN                                      3714 MIDDLE RIVER AVENUE                                                                      BALTIMORE        MD    21220‐4334
ANNA L HAGSTROM & GARY R HAGSTROM JT TEN           1008 CENTER RD                                                                                CONNEAUT         OH    44030
ANNA L HANCE & FRANK E HANCE TR HANCE FAMILY       11277 HIGHWAY 68                                                                              SAINT JAMES      MO    65559‐6104
TRUST UA 07/28/00
ANNA L HAYES                                       2926 SILVERHILL                                                                               WATERFORD        MI    48329‐4424
ANNA L HAZLETT                                     32030 CENTER RIDGE RD N                                                                       NORTH RIDGEVILLE OH    44039‐2445

ANNA L KAELIN TR ANNA L KAELIN TRUST UA 09/22/06   201 EAST FOOTHILL BLVD NO 206                                                                 MONROVIA         CA    91016‐5506

ANNA L KEITH                                       2152 LAUREL CIR                                                                               FORREST CITY     AR    72335
ANNA L KING‐BAKER                                  2689 GLENNY LANE                                                                              WEST MIFFLIN     PA    15122‐3542
ANNA L KOSCIELSKI & ROBERT W KOSCIELSKI JT TEN     3449 ALBANTOWNE WAY                                                                           EDGEWOOD         MD    21040‐3505

ANNA L MASON                                       8297 CLEVELAND                                                                                COOPERVILLE      MI    49404‐9412
ANNA L MOONEY                                      7459 COUNTRY MEADOW DR                                                                        SWARTZ CREEK     MI    48473‐1485
ANNA L MOZDZIESZ                                   164 GEORGE ST                                                                                 MIDDLETOWN       CT    06457‐3516
ANNA L NOEL                                        107 REFLECTIONS BLVD                                                                          AUBURNDALE       FL    33823‐9655
ANNA L PESTER                                      2068 POLEN DRIVE                                                                              KETTERING        OH    45440‐1853
ANNA L PLACEK                                      4190 GARDENER‐BARCLAY RD                                                                      FARMDALE         OH    44417‐9770
ANNA L PUSKAR                                      164 COUNTY PARK ROAD                                                                          MOUNT PLEASANT   PA    15666‐2382

ANNA L RAFFERTY & GEORGE C RAFFERTY JT TEN         25124 CRYSLER                                                                                 TAYLOR           MI    48180‐3234
ANNA L ROWE                                        653 ANN MARIE COURT                                                                           OREGON           OH    43616‐3028
ANNA L SAMPLO TR ANNA L SAMPLO TRUST UA            32611 CAMBRIDGE ST                                                                            GARDEN CITY      MI    48135‐1606
03/07/00
ANNA L SCHULEMBERG                                 200 WHITELY ST                                                                                BRIDGEPORT       OH    43912‐1079
ANNA L SCHULENBERG                                 200 WHITELY ST                                                                                BRIDGEPORT       OH    43912‐1079
ANNA L SEGGIA                                      PO BOX 5221                                                                                   MIDDLEBUSH       NJ    08875‐5221
ANNA L SHIFFERT                                    224 E MARKET ST                                                                               ORWIGSBURG       PA    17961‐1906
ANNA L SMITH                                       3515 FOREST TER                                                                               ANDERSON         IN    46013‐5259
ANNA L SMITH                                       204 CEDARDALE AVE                                                                             PONTIAC          MI    48341‐2724
ANNA L SOUTHERS TR ANNA L SOUTHERS TRUST UA        2016 W WALL ST                                                                                JANESVILLE       WI    53545‐3457
10/20/00
ANNA L STARK                                       12203 CHAMPIONSHIP CIR                                                                        FORT MYERS       FL    33913‐8122
ANNA L STARRETT                                    235 BAILEY LANE                                                                               SPRINGBORO       OH    45066
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 188 of 850
Name                                             Address1                                Address2              Address3         Address4          City               State Zip

ANNA L TENNEY                                    3173 NOTTINGHAM N W                                                                              WARREN             OH    44485‐2025
ANNA L VELEZ                                     1 SIERRA TRL                                                                                     CLINTON            NJ    08809‐1069
ANNA L WALLACE                                   6889 E 950 N                                                                                     WILKINSON          IN    46186
ANNA L WINCHESTER                                510 S 3RD ST                                                                                     STERLING           CO    80751
ANNA LAMBERT                                     4925 MARLIN DRIVE                                                                                NEW PORT RICHEY    FL    34652‐4415

ANNA LAURAL LE PLEY                              BOX 14                                                                                           SOLVANG            CA    93464‐0014
ANNA LEE BAXTER ALLENDER                         640 STATE ROAD 446                                                                               BEDFORD            IN    47421‐9232
ANNA LEE MOSS                                    5230 ROYAL CREST DRIVE                                                                           DALLAS             TX    75229‐5539
ANNA LENA RONCERAY SCANNIELLO                    17 NEWELL DR                                                                                     BASKING RIDGE      NJ    07920‐2509
ANNA LESSER                                      354 PARK STREET                                                                                  FREELAND           PA    18224‐2139
ANNA LEUZZI                                      205 PARK ST                                                                                      RAMSEY             NJ    07446‐1024
ANNA LEVERING                                    3208 ERNSBERGER RD                                                                               MANSFIELD          OH    44903‐9711
ANNA LISA KUBIT                                  3065 BERKSHIRE DR                                                                                BLOOMFIELD HILLS   MI    48301‐3301

ANNA LONSKI                                      429 RAVENCREST LANE                                                                              WESTLAND           MI    48185‐5004
ANNA LOUISE BELMONTE & LINDA A TRAD JT TEN       20501 VIA EL TAJO                                                                                YORBA LINDA        CA    92887‐3202
ANNA LOUISE JAKUBUS & CAROL LEE JAKUBUS JT TEN   6016 LARKINS ST                                                                                  DETROIT            MI    48210‐1546

ANNA LOUISE WALTON                               3014 BEACON HILL DR                                                                              HOLLAND            PA    18966‐2500
ANNA LOUISE WYETH & ASHLEY BISCHOFF JT TEN       5788 YORKTOWN LANE                                                                               AUSTINTOWN         OH    44515‐2237
ANNA LUCARA RISHER                               18700 WINDING CREEK PL                                                                           GERMANTOWN         MD    20874‐1952
ANNA LUCILLE CALLAHAN                            10312 GEORGE HART CT                                                                             LAS VEGAS          NV    89129‐5006
ANNA LYNCH PENNINGTON                            417 OLIVER ST                                                                                    OWOSSO             MI    48867
ANNA LYNN KJELLSTROM                             310 HUTCHINSON RD                                                                                PARIS              KY    40361‐9005
ANNA LYNN SCHRADER                               2779 SWETT RD                                                                                    LYNDONVILLE        NY    14098‐9789
ANNA M ARANDA                                    3225 BIRCH RUN                                                                                   ADRIAN             MI    49221‐1155
ANNA M BACKER                                    403 W MAIN ST                                                                                    VEVAY              IN    47043‐1007
ANNA M BALADY                                    20 DYKERS FARM RD                                                                                N HALEDON          NJ    07508‐2649
ANNA M BALL                                      1566 GREGORY                                                                                     LINCOLN PARK       MI    48146‐3510
ANNA M BASSHAM                                   901 BLANCHARD AVE                                                                                FLINT              MI    48503
ANNA M BIRKMAN                                   1079 BROOKWOOD DRIVE                                                                             DERBY              NY    14047‐9507
ANNA M BOCHENEK CUST MATTHEW L BOCHENEK          36316 JAMISON                                                                                    LIVONIA            MI    48154‐5115
UGMA MI
ANNA M BRADSHAW                                  1935 W PUZZLE CREEK DR                                                                           MERIDIAN        ID       83646
ANNA M BURRIS                                    1221 COLUMBIA 61                                                                                 MAGNOLIA        AR       71753‐9012
ANNA M CAIN                                      2325 WATERMAN RD                                                                                 VASSAR          MI       48768‐9566
ANNA M CARTER                                    500 S PINE ST                           APT 413                                                  LANSING         MI       48933‐2247
ANNA M CAVERSON                                  1147 RURAL ST                           LOT 2                                                    AURORA          IL       60505‐2580
ANNA M CHORBA                                    215 SPRINGER RD                                                                                  MC CLELLANDTOWN PA       15458‐1105

ANNA M CONWAY                                    7103 CLOVERNOLL DR                                                                               CINCINNATI         OH    45231‐5305
ANNA M CORMIER                                   402 CHAMPS LN                                                                                    MIDDLETOWN         DE    19709‐3118
ANNA M CRAWFORD                                  9411 MAPLE HILL RD                                                                               HOWARD CITY        MI    49329‐9546
ANNA M CRONE                                     3291 NW MT VINTAGE WAY                  APT F405                                                 SILVERDALE         WA    98383
ANNA M DAVIS                                     28340 NORTH 1700 EAST RD                                                                         ALVIN              IL    61811‐3010
ANNA M DEGRANDCHAMP                              45866 KINSINGTON ST                                                                              UTICA              MI    48317‐5961
ANNA M DONALL                                    812 DURANT ST                                                                                    LANSING            MI    48915‐1329
ANNA M EMMI                                      7938 CONKLIN ST                                                                                  DOWNEY             CA    90242‐4107
ANNA M FABIAN                                    563 BENEDICT AVE                                                                                 TARRYTOWN          NY    10591‐5049
ANNA M FERGUSON                                  1727 SYLVAN COURT                                                                                FLOSSMOOR          IL    60422‐1943
ANNA M FRANCE                                    ATTN ANNA M STIERS                      1495 EAST 240 NORTH                                      ANDERSON           IN    46012‐9582
ANNA M GABOR                                     PO BOX 69                                                                                        VERONA             PA    15147‐0069
ANNA M GARDNER & FRANK J GARDNER & MICHAEL L     3127 DAVIS DRIVE                                                                                 INDIANAPOLIS       IN    46221‐2126
GARDNER JT TEN
ANNA M GIBSON & BILLIE L GIBSON JT TEN           7440 WASHBURN RD                                                                                 GOODRICH           MI    48438‐9749
ANNA M GILBERT                                   507 LAMBERT LANE                                                                                 ENGLEWOOD          OH    45322‐2047
ANNA M GNIESER & RAYMOND C GNISESER JT TEN       16 DOUGLASTON CT                                                                                 RIDGE              NY    11961‐1609
ANNA M GREEN & THOMAS L GREEN JT TEN             1552 ARAPAHO TRL NE.                                                                             SOLON              IA    52333
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 189 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

ANNA M GRIECO                                    152 TENTH ST                                                                                   BROOKLYN        NY    11215‐3803
ANNA M HAMILTON                                  1016 BAL ISLE DRIVE                                                                            FORT MYERS      FL    33919‐5904
ANNA M HANEY & JEANNE M HANEY JT TEN             2480 DORCHESTER                                                                                ANN ARBOR       MI    48104‐5025
ANNA M HARRIS                                    306 CHAMBERLAIN                                                                                FLUSHING        MI    48433‐1616
ANNA M HARRY                                     186 EAST STATE RD                                                                              SENECA          PA    16346‐3024
ANNA M HENDERSON                                 699 LOUIE SMITH RD                                                                             WILLIAMS        IN    47470‐8757
ANNA M HENDERSON                                 8646 FENNER RD                                                                                 BALDWINSVILLE   NY    13027‐9621
ANNA M HIGGINS                                   5885 BUCKEYE PKWY                                                                              GROVE CITY      OH    43123‐8379
ANNA M HOLTON & LINDA MESZAROS & BRYAN           104 MERRITT AVE                                                                                SOUTH AMBOY     NJ    08879‐1955
MESZAROS JT TEN
ANNA M HOUGHTON                                  14665 WORDEN RD                                                                                GREGORY         MI    48137‐9439
ANNA M HRADEL                                    14397 US HIGHWAY 10                                                                            HERSEY          MI    49639‐8553
ANNA M HUNTER TR UA 08/11/08 ANNA MURIEL         2410 ROSS HANOVER RD                                                                           HAMILTON        OH    45013
HUNTER REVOCABLE TRUST
ANNA M IMMERS & ANTHONY C IMMERS JT TEN          32665 N RIVER RD                                                                               HARRISON TWP    MI    48045‐1487
ANNA M JACOBI                                    3517 S E 19TH PLACE                                                                            CAPE CORAL      FL    33904‐4420
ANNA M JAMES                                     4920 MELBETH DR                                                                                GREENVILLE      OH    45331‐9325
ANNA M JONES                                     51 E 34TH ST                          APT 1B                                                   NEW YORK        NY    10016
ANNA M KACZMAREK                                 68 CLAREMONT AVE                                                                               VERONA          NJ    07044‐2804
ANNA M KADELA                                    6847 CALHOUN ST                                                                                DEARBORN        MI    48126‐1808
ANNA M KOVAL                                     95 BEEKMAN AVE 217H                                                                            SLEEPYHOLLOW    NY    10591‐7729
ANNA M LESTER                                    107 ASPEN CT UNIT 2                                                                            WARREN          OH    44484‐1059
ANNA M LUDDEN                                    2871 RANDOLPH NW                                                                               WARREN          OH    44485‐2522
ANNA M LUFF TR ANNA MARIE LUFF REVOCABLE TRUST   323 HAWTHORNE                                                                                  ROYAL OAK       MI    48067‐3617
UA 05/03/94
ANNA M MARTIN                                    1926 MEADOW LANE                                                                               JANESVILLE      WI    53546‐5369
ANNA M MCELROY                                   73 PINEHURST RD                                                                                MUNROE FALLS    OH    44262‐1129
ANNA M MCGRATH & EARL L MCGRATH JT TEN           10221 N POLK AVE                                                                               HARRISON        MI    48625‐8837
ANNA M MCTARSNEY                                 648 NORTH YOUNG                                                                                FRANKLIN        IN    46131‐1523
ANNA M MILES                                     37101 LOIS AVE                                                                                 ZEPHYRHILLS     FL    33542‐5322
ANNA M MONAGHAN                                  44 N SUGAN RD #103                                                                             NEW HOPE        PA    18938‐1437
ANNA M MONTY                                     884 WOODSFALLS ROAD                                                                            MOOERS FORKS    NY    12959‐2113
ANNA M MOONEY                                    12 EARHART PLACE                                                                               DAYTON          OH    45420‐2915
ANNA M NAJJAR                                    37592 SUMMERS                                                                                  LIVONIA         MI    48154‐4947
ANNA M NICHOLSON                                 7447 CAMBRIDGE 62                                                                              HOUSTON         TX    77054‐2019
ANNA M NISCHBACH & MARY ANNE BROOKS JT TEN       1426 KILGORE DRIVE                                                                             ST LOUIS        MO    63137‐1510

ANNA M PRANGE TR PRANGE FAMILY REV TRUST UA      1148 JOLENE DR                                                                                 ST LOUIS        MO    63137‐1314
08/28/98
ANNA M RAMSE                                     35535 RICHLAND                                                                                 LIVONIA         MI    48150‐2545
ANNA M RAY                                       5156 PERRY CREEK RD                                                                            YAZOO CITY      MS    39194‐9711
ANNA M RICCI & FREDERICK A RICCI TR REVOCABLE    83 CHURCH ST                          APT 3                                                    WINCHESTER      MA    01890‐2545
TRUST 10/12/88 U‐A ANNA
ANNA M ROSAMOND                                  13379 NEWBERRY RD                                                                              BLAIR           SC    29015‐9488
ANNA M SCANLAN                                   625 27 1/2 RD                         UNIT 306                                                 GRAND JCT       CO    81506‐5100
ANNA M SCHUMAKER TR SCHUMAKER FAM TRUST UA       825 DOVERTON SQUARE                                                                            MOUNTAINVIEW    CA    94040‐4413
11/14/85
ANNA M SHANEY                                    12533 GRACEWOOD DR                                                                             BALTIMORE       MD    21220‐1237
ANNA M SHIMINSKY CUST KEVIN DOUGLAS HENSON       20621 MERRIMAN RD                                                                              ROMULUS         MI    48174‐9285
UGMA MI
ANNA M SHIPLEY                                   937 CREEKSIDE LANE                                                                             PLAINFIELD      IN    46168‐2392
ANNA M SHUMSKI                                   803 SWIGART DRIVE                                                                              FAIRBORN        OH    45324‐5440
ANNA M SMITH                                     429 WISP CREEK DR                                                                              BAILEY          CO    80421‐2356
ANNA M SUROWIEC & ROBERT P SUROWIEC JT TEN       702 ISLAND CIR E                                                                               ST HELENA IS    SC    29920‐3042

ANNA M SUTHERLAND                                1805 ROLLING LANE                                                                              CHERRY HILL     NJ    08003‐3325
ANNA M TERRY & JANE A HAMILTON JT TEN            24317 ROXANA                                                                                   EASTPOINTE      MI    48021‐4206
ANNA M TURNER                                    4210 HAMILTON SCIPIO RD                                                                        HAMILTON        OH    45013‐8214
ANNA M VACCA                                     2301 WINTERBERRY WAY                                                                           BIRMINGHAM      AL    35216‐2446
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 190 of 850
Name                                             Address1                             Address2                   Address3    Address4          City            State Zip

ANNA M VALASEK & BARBARA M VALASEK JT TEN        17628 FRANCAVILLA DR                                                                          LIVONIA         MI    48152‐3110
ANNA M VARLOE                                    718 BECKER AVE SW                                                                             WILLMAR         MN    56201‐3151
ANNA M WARD                                      7608 APPERSONWAY N                                                                            KOKOMO          IN    46901‐6003
ANNA M WELCH                                     C/O ANNA M VEGH                      41500 BUTTERNUT RIDGE RD                                 ELYRIA          OH    44035‐7448
ANNA M WELLS                                     2226 WHITMAN RD                                                                               RALEIGH         NC    27607‐6649
ANNA M WILHELMI                                  3454 GOBLE RD                                                                                 EARLVILLE       IL    60518‐5044
ANNA M ZAMBELLETTI                               9 HALF MOON LN                                                                                TARRYTOWN       NY    10591‐4807
ANNA MACHEK                                      21320 CAROL DR                                                                                EUCLID          OH    44119‐1831
ANNA MAE GOOD                                    1945 DAYTON SMICKSBURG RD                                                                     SMICKSBURG      PA    16256‐2233
ANNA MAE HALL                                    915 E HARWELL RD                                                                              GILBERT         AZ    85234‐2507
ANNA MAE HERR TR ANNA MAE HERR REVOCABLE         1350 KINGSPATH DR                                                                             ROCHESTER HLS   MI    48306‐3729
TRUST UA 12/02/02
ANNA MAE HOWICK CUST ROBERT W HOWICK UGMA        235 STARR ST                                                                                  PONTIAC         MI    48053
MI
ANNA MAE JAMES                                   893 N JACKSON                                                                                 BUSHNELL        IL    61422‐1209
ANNA MAE KITA                                    709 PROSPECT AVE                                                                              BETHLEHEM       PA    18018‐5321
ANNA MAE LAUGHLIN TR ANNA MAE LAUGHLIN REV       1717 WEST LAWRENCE AVE                                                                        SPRINGFIELD     IL    62704‐2323
LVG TRUST UA 10/28/99
ANNA MAE MARSH EX UW KEITH FOSTER MARSH          1116 HICKORY RD                                                                               CHARLESTON      WV    25314‐1231
ANNA MAE RICHARDSON                              1757 PATTERSON BRANCH RD                                                                      SOMERSET        KY    42503‐4748
ANNA MAE SAUNDERS                                11250 ROSEWOOD LN                                                                             ATHENS          OH    45701‐9001
ANNA MAE SMITH                                   15125 VAUGHN STREET                                                                           DETROIT         MI    48223‐2134
ANNA MAE SOPATA TOD ROBERT J SZYMANSKI SUBJECT   7286 GLENGARY DR                                                                              SAGAMORE HLS    OH    44067
TO STA TOD RULES
ANNA MAE STINE                                   51 FOXWOOD DR                                                                                 MOORESTOWN      NJ    08057‐4102
ANNA MAE WEGENER                                 11 E BENJAMIN                        PO BOX 264                                               CONYNGHAM       PA    18219
ANNA MAE YOUNG FORKEY                            446 HARVEY ST                                                                                 GREENSBURG      PA    15601‐1985
ANNA MAESOPATA TOD ROBERT J SZYMANSKI SUBJECT    7286 GLENGARY DRIVE                                                                           SAGAMORE HLS    OH    44067‐4200
TO STA TOD RULES
ANNA MALAS CUST LYNN MALAS U/THE WISCONSIN       10 E GORHAM ST                                                                                MADISON         WI    53703‐2172
UNIFORM GIFTS TO MINORS ACT
ANNA MARCIAN & NORBERT F MARCIAN JT TEN          948 BERMUDA LANE                                                                              ANNAPOLIS       MD    21401
ANNA MARGARET JONES                              1206 SUSANNA ST                                                                               MENDOTA         IL    61342
ANNA MARGARET TINTLE                             5256 COLLEGE GARDENS CT                                                                       SAN DIEGO       CA    92115‐1106
ANNA MARIA FRANCO                                2316 VALDIVIA WAY                                                                             BURLINGAME      CA    94010‐5430
ANNA MARIE AUMER                                 220 SOUTHWESTERN DR                  APT 240                                                  LAKEWOOD        NY    14750‐2145
ANNA MARIE BATES                                 216 HAYES ST                                                                                  PENNS GROVE     NJ    08069‐2023
ANNA MARIE BERTANI & DARRYL W BERTANI JT TEN     11702 MCKEE RD                                                                                NORTH           PA    15642‐2343
                                                                                                                                               HUNTINGDON
ANNA MARIE BERTOLDO                              C/O LEVITO                           11990 MARKET ST            816                           RESTON          VA    20190
ANNA MARIE BREWER                                49237 LEHR DR                                                                                 MACOMB          MI    48044‐1748
ANNA MARIE BUKSA                                 517 15TH ST                                                                                   HUNTINGTON      CA    92648‐4045
                                                                                                                                               BEACH
ANNA MARIE CLEGG                              PO BOX 54                                                                                        FOUNTAIN        FL    32438‐0054
ANNA MARIE GRACA                              114 BERMONT                                                                                      MUNROE FALLS    OH    44262‐1104
ANNA MARIE HOLDORF                            2961 SAN MATEO DR                                                                                MINDEN          NV    89423‐7811
ANNA MARIE JOHNSON                            3812 KINGS ROW                                                                                   NACOGDOCHES     TX    75961‐5857
ANNA MARIE JOHNSON CUST CHRISTOPHER JEROME    22034 OAKWOOD                                                                                    EAST POINT      MI    48021‐2132
JOHNSON UGMA MI
ANNA MARIE LEACH CUST DANNY EGER UTMA CA      510 W I ST                                                                                       BENICIA         CA    94510‐3061
ANNA MARIE MEEKS                              14448 HARTZOG RD                                                                                 WINTER GARDEN   FL    34787‐9653
ANNA MARIE MICHELI                            MOUNTED ROUTE                           BOX 334                                                  PERU            IL    61354‐0334
ANNA MARIE PINKERTON                          1486 GLEN WILLOW RD                                                                              AVONDALE        PA    19311‐9527
ANNA MARIE REID                               65 MT LEBANON DR                                                                                 WHEELING        WV    26003‐4819
ANNA MARIE SHANKS & STANLEY SHANKS JT TEN     8716 S AUSTIN                                                                                    OAK LAWN        IL    60453‐1128
ANNA MARIE SORBI                              C/O ANNA MARIE SORBI DEANGELIS          53 TRAVIS LANE                                           MONTROSE        NY    10548‐1029
ANNA MARIE SWEENEY                            372 FOREST DR                                                                                    BELLE VERNON    PA    15012‐9675
ANNA MARIE THOMAS CUST JAMES MCCLELLAN PORTER 515 KOBERLIN                                                                                     SAN ANGELO      TX    76903‐5511
UGMA TX
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 191 of 850
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

ANNA MARIE TUMBLIN                               19781 ROAD B                                                                                  CONTINENTAL     OH    45831‐9709
ANNA MARIE WARD                                  7608 APPERSONWAY NORTH                                                                        KOKOMO          IN    46901‐6003
ANNA MARIE ZINKAND                               811 S CONKLING ST                                                                             BALTIMORE       MD    21224‐4304
ANNA MARY FEENEY                                 2460 3 C FOUNTAIN PLACE                                                                       LAKESIDE PARK   KY    41017‐1652
ANNA MARY RISK TR ROBERT M WHITE UA 9/17/80      PO BOX 709                                                                                    LEWISPORT       KY    42351‐0709

ANNA MARY VOLLICK TR ANNA MARY VOLLICK TRUST     14356 BLUE SKIES                                                                              LIVONIA         MI    48154‐4931
UA 2/15/99
ANNA MAY AHERN TR ANNA MAY AHERN TRUST UA        10600 S CIRERO AVE                                                                            OAKLAWN         IL    60453‐5911
11/01/94
ANNA MAY ARENELLA                                599 QUINBY WAY                                                                                THE VILLAGES    FL    32162
ANNA MAY CALL                                    11702 E 118TH PL                                                                              HENDERSON       CO    80640‐7421
ANNA MAY JAMES                                   4920 MELBETH DR                                                                               GREENVILLE      OH    45331‐9325
ANNA MAY SCHRIEFER                               305 S HAMMES AVE                                                                              JOLIET          IL    60436‐1107
ANNA MAYER                                       618 PAXSON AVE                                                                                TRENTON         NJ    08619‐1167
ANNA MC GILLICUDDY                               15 MATTHEWS ST                                                                                HARRISON        NY    10528‐2103
ANNA MILCHEN                                     118 KENDALL DRIVE E                                                                           EAST SYRACUSE   NY    13057‐2628
ANNA MITOS                                       284 BARNSLEY AVE                                                                              MORRISVILLE     PA    19067‐2248
ANNA MOTA                                        5202 HEDDA ST                                                                                 LAKEWOOD        CA    90712‐1360
ANNA MUSIL                                       413 N GRANT                                                                                   WESTMONT        IL    60559‐1506
ANNA N PLUTE                                     3380 W MONMOUTH                                                                               ENGLEWOOD       CO    80110‐6337
ANNA NOEL DAMEREL TR ANNA NOEL DAMEREL REV       3135 RAGSDALE RD                                                                              RICHMOND        VA    23235‐2313
TRUST UA 10/01/02
ANNA NOVACK & MARILYN ZERECKER JT TEN            29 SULLIVAN DRIVE                                                                             STONY POINT     NY    10980‐2226
ANNA NOWAK                                       12650 W 64TH AVE                     #E‐130                                                   ARVADA          CO    80004‐3893
ANNA O RADFORD                                   3637 HARVARD AVE                                                                              INDIANAPOLIS    IN    46226
ANNA OLARY & WILLIAM D OLARY JT TEN              2383 RIVER RD                                                                                 MARYSVILLE      MI    48040‐1965
ANNA OLEJAR                                      7211 NORTHFIELD CIR                                                                           FLUSHING        MI    48433‐9427
ANNA ONDRACEK                                    389 DESPLAINES AVE                                                                            RIVERSIDE       IL    60546‐1849
ANNA P HILL                                      300 GREENBRIAR                                                                                JACKSONVILLE    TX    75766‐9388
ANNA P KNIPSCHILD & FRANCES MC KINSTERY JT TEN   6034 ROBIN HILL RD                                                                            NASHVILLE       TN    37205‐3234

ANNA P LUCIC                                     105 FOX POINTE DR                                                                             CHARDON         OH    44024‐2812
ANNA P PARMELEE                                  2981 TREE TOP ROAD                                                                            DACULA          GA    30019
ANNA P QUINLAN                                   4545 KAWANEE AVE                                                                              METAIRIE        LA    70006‐2831
ANNA P SEARCY                                    PO BOX 8002                                                                                   SAVANNAH        GA    31412‐8002
ANNA P SWEENY                                    PO BOX 231                           SUGARHOUSE RD                                            NEW LONDON      NH    03257‐0231
ANNA PALMER & CONSTANCE ANNE TARMANN JT TEN      7601 LYNDALE AVE S APT 222                                                                    RICHFIELD       MN    55423‐4098

ANNA PALMER & NANCY JANE HEGNA JT TEN            7601 LINDALE AVE SOUTH               APT 222                                                  RICHFIELD       MN    55423
ANNA PARIS                                       1977 DEVONSHIRE DR                                                                            WIXOM           MI    48393‐4411
ANNA PARISH GARMAN                               9049 W 1300 N                                                                                 ELWOOD          IN    46036‐8648
ANNA PARK QUAN LEONG                             1417 BERKELEY WAY                                                                             BERKELEY        CA    94702‐1519
ANNA PIERARD & SANDRA LUCOSTIC JT TEN            113 ELIZABETH RD                                                                              CHARLEROI       PA    15022
ANNA PIERARD & SANDRA LUCOSTIC JT TEN            113 ELIZABETH RD                                                                              CHARLEROI       PA    15022
ANNA PIERNO HAHN                                 534 PENNY LANE                                                                                PHILADELPHIA    PA    19111‐1200
ANNA PIPER                                       16359 OXFORD DRIVE                                                                            TINLEY PARK     IL    60477‐1756
ANNA POLLOCK & PAULA A BRUSO & MARGARET          515 LOWES HILL RD                                                                             MUNSON          PA    16860
STEFANIAK JT TEN
ANNA PORTER PER REP EST NORMAN PORTER            17645 SPRENGER AVE                                                                            EASTPOINTE      MI    48021‐3150
ANNA PRESTON & LOUIS PAPPAS JT TEN               209 GLENBRIAR CIR                                                                             DAYTONA BEACH   FL    32114‐7144
ANNA PROIA                                       265 FIESTA RD                                                                                 ROCHESTER       NY    14626‐3841
ANNA R BARTLEY                                   PO BOX 686                                                                                    NOVATO          CA    94948‐0686
ANNA R BRUMMER                                   15243 UNIVERSITY                                                                              ALLEN PARK      MI    48101‐3022
ANNA R COCHRAN                                   30051 MUNRO                                                                                   GIBRALTAR       MI    48173‐9722
ANNA R CONLIN                                    2823 W SUNSET AVE                                                                             BOISE           ID    83703‐5644
ANNA R FABINA                                    4480 MOUNT ROYAL BLVD                APT 239                                                  ALLISON PARK    PA    15101‐2680
ANNA R GOEHRING                                  925 THIRTEENTH ST                                                                             ELIZABETH       PA    15037‐1254
ANNA R JONES                                     4528 CHANNING LN                                                                              DAYTON          OH    45416‐1655
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 192 of 850
Name                                              Address1                               Address2                Address3       Address4          City              State Zip

ANNA R KNUDSEN & MICHAEL W KNUDSEN JT TEN         8 EVERGREEN PLACE                                                                               HACKETTSTOWN      NJ    07840‐3912

ANNA R MANN                                    5216 W THOMPSON RD                                                                                 INDIANAPOLIS      IN    46221‐3922
ANNA R MCINTYRE & PEGGY MCINTYRE JT TEN        9198 SEMINOLE                                                                                      REDFORD           MI    48239‐2326
ANNA R MCMILLAN                                1255 EAST 137 STREET                                                                               EAST CLEVELAN     OH    44112‐2417
ANNA R MENGEL                                                                                                                                     CENTERPORT        PA    19516
ANNA R MOORE                                   37856 WESTVALE                                                                                     ROMULUS           MI    48174‐4723
ANNA R RAMBO & TOM LEE RAMBO JT TEN            2763 W HICKORY DR                                                                                  ANDERSON          IN    46013‐9762
ANNA R SCANTLAND                               243 TARA DR                                                                                        COOKEVILLE        TN    38501‐2144
ANNA R SMITH                                   160 W ARIZONA                                                                                      INDIANAPOLIS      IN    46225‐1506
ANNA R SZCZERBA                                818 BENGIES RD 1                                                                                   BALTIMORE         MD    21220‐1905
ANNA R WASZKIEWICZ & CATHRYNE M WASZKIEWICZ JT 469 LANING ST                                                                                      SOUTHINGTON       CT    06489‐1636
TEN
ANNA R WILLIAMS                                2160 SNELLBROOK RD                                                                                 AUBURN HILLS      MI    48326‐2342
ANNA RACZ                                      1395 ROSE                                                                                          LINCOLN PARK      MI    48146‐3350
ANNA RAE PRESENT                               LOYALTON APT 221                          220 SOUTHWESTERN DR                                      LAKEWOOD          NY    14750‐2100
ANNA RAPKA                                     39 NELSON AVE                                                                                      JERSEY CITY       NJ    07307
ANNA RAZINSKY CUST ALISON RAZINSKY UGMA CA     3793 LONGFELLOW RD                                                                                 TALLAHASSEE       FL    32311

ANNA REBECCA KATZ                                 233 GLENMONT AVENUE                                                                             COLUMBUS          OH    43214‐3205
ANNA REPICKY                                      660 DEXTER DR                                                                                   DUNEDIN           FL    34698‐8009
ANNA ROSE RICHARDS                                1379 MERTZ                                                                                      CARO              MI    48723‐9508
ANNA ROSE RUNKLE                                  865 EAST SPEAR RD                                                                               COLUMBIA CITY     IN    46725‐8964
ANNA ROSE STRASSER TR ANNA ROSE STRASSER LIVING   27040 PRESLEY                                                                                   SUN CITY          CA    92586‐2062
TRUST UA 03/03/95
ANNA ROSE WIGMAN                                  3200 LORIENT                                                                                    MCHENRY          IL     60050‐6115
ANNA ROSENBAUM                                    C/O ST WILLIAM CENTER                  215 W BRECKINRIDGE ST                                    LOUISVILLE       KY     40203‐2219
ANNA RUTA                                         7483 FENTON                                                                                     DEARBORN HEIGHTS MI     48127‐1751

ANNA RUTH KEELER                                  172 RIDGEVIEW ESTATES                                                                           HARLEYSVILLE      PA    19438‐1047
ANNA S DE FELICE                                  1013 JARDIN CT                                                                                  BURLINGTON        NJ    08016‐2227
ANNA S DELROSSO                                   713 N BENTLEY AVE                                                                               NILES             OH    44446‐5213
ANNA S ENDLICH & RICHARD E ENDLICH JT TEN         16080 FOREST                                                                                    EAST DETROIT      MI    48021‐1135
ANNA S HAMPTON                                    1800 W 10TH ST                                                                                  ANDERSON          IN    46016‐2711
ANNA S KORBEL                                     1018 BERKSHIRE RD                                                                               DAYTON            OH    45419‐3739
ANNA S MANCUSO & ROBERT F MAJKA & BRANDY R        9567 LINDBERGH BLVD                                                                             OLMSTEAD FALLS    OH    44138‐2816
MAJKA JT TEN
ANNA S POTTER                                     450‐80TH ST                                                                                     NIAGARA FALLS    NY     14304‐3364
ANNA S PRINCE                                     4228 HILLBROOK DR                                                                               LOUISVILLE       KY     40220‐3656
ANNA S PRINCE & KAREN P BAILEY JT TEN             4228 HILLBROOK DR                                                                               LOUISVILLE       KY     40220‐3656
ANNA S PRINCE & KENNETH P PRINCE JT TEN           4228 HILLBROOK DR                                                                               LOUISVILLE       KY     40220‐3656
ANNA S ROGERS                                     111 KENWOOD                                                                                     ANN ARBOR        MI     48103‐4161
ANNA SABO                                         27 CARLEE CT                           APT#7                                                    ROCHESTER        NY     14616‐3063
ANNA SALYAN                                       30018 BARJODE ROAD                                                                              WILLOWICK        OH     44095‐4941
ANNA SARAH ZURAWSKI & FLORENCE V PELEO JT TEN     15835 N FRANKLIN DR                                                                             CLINTON TOWNSHIP MI     48038‐1031

ANNA SAUSNOCK                                     304 W ELM ST                                                                                    LINDEN            NJ    07036‐4120
ANNA SCHOZER                                      30 STEPHEN PLACE                                                                                VALLEY STREAM     NY    11580‐2524
ANNA SCOPAZ                                       793 ELM ST #9                                                                                   SAN CARLOS        CA    94070‐3076
ANNA SEARLES                                      4925 MARLIN DRIVE                                                                               NEW PORT RICHEY   FL    34652‐4415

ANNA SENYK                                        12 MANETTO RD                                                                                   FARMINGDALE       NY    11735‐2339
ANNA SHIN                                         13651 35TH AVE                         # 3C                                                     FLUSHING          NY    11354‐2925
ANNA SILTANEN & JAMES N SILTANEN JT TEN           16212 OAK CREEK TRAIL                                                                           POWAY             CA    92064‐1704
ANNA SKAPURA                                      6723 WEDGEWOOD DR                                                                               NORTH OLMSTED     OH    44070‐4747
ANNA SMITH                                        510 CHERRYWOOD DR                                                                               FLUSHING          MI    48433‐3300
ANNA SNOWBERGER                                   37442 STREAMVIEW DR                                                                             STERLING HTS      MI    48312
ANNA SOUKAS & ANASTASIOS SOUKAS JT TEN            9831 DEL WEBB PKWAY                    UNIT 4405                                                JACKSONVILLE      FL    32256
ANNA SPOO SLATER                                  4051 W JULEP ST                                                                                 TUCSON            AZ    85741‐1069
                                          09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                      Part 1 of 8 Pg 193 of 850
Name                                           Address1                                Address2                Address3                  Address4          City              State Zip

ANNA STANTON                                201 MOORE AVENUE                                                                                               KENMORE           NY    14223‐1614
ANNA STINDT                                 122 GREENWOOD ST                                                                                               HEREFORD          TX    79045‐3845
ANNA STOKES                                 18401 CHAGRIN BLVD                                                                                             SHAKER HTS        OH    44122‐4848
ANNA SUE MENDELSOHN                         9 VISTA TERRACE                                                                                                LIVINGSTON        NJ    07039
ANNA SUE Z GONZALEZ                         7907 JACKSON SPRINGS RD                                                                                        TAMPA             FL    33615‐3336
ANNA T ARMSTRONG                            380 PROSPECT AVE                                                                                               AVENEL            NJ    07001‐1110
ANNA T BAUMANN TOD LUANN T AWALT            105 8TH AVE                                                                                                    BALTIMORE         MD    21225‐2907
ANNA T FLYNN & LENORA M FLYNN JT TEN        3311 SHORE PARKWAY                         APT 1N                                                              BROOKLYN          NY    11235‐3938
ANNA T ROMANOWSKI ADM EST JOHN P ROMANOWSKI 8413 HEATH RD                                                                                                  COLDEN            NY    14033‐9701

ANNA T SPENCER TR ANNA T SPENCER REVOCABLE     5189 W CANNONSVILLE RD                                                                                      LAKEVIEW          MI    48850‐9542
LIVING TRUST UA 03/13/03
ANNA TERRELL TULINSON                          944 EAST JORDAN                                                                                             WEST POINT        MS    39773‐3240
ANNA TRIPLETT HOLLIN TR UW MARY TURPIN EDWARDS PO BOX 134                                                                                                  PROSPECT          KY    40059‐0134

ANNA TRIPODI                                   29 GRANT AVE                                                                                                CLIFTON           NJ    07011‐3511
ANNA V BROWN                                   217 HUMMINGBIRD LN                                                                                          UNION             SC    29379‐8704
ANNA V FRITZ & CAROLYN A SHORT JT TEN          2711 LAWSON ROAD                                                                                            FALLSTON          MD    21047‐2009
ANNA V RIMOLDI                                 638 COUNTRY CLUB DR                                                                                         ST CLAIR SHORES   MI    48082‐2927
ANNA V SCOTT TR ANNA V SCOTT LIVING TRUST UA   929 TROSPER ROAD SW                     # 230                   TUMWATR                                     OLYMPIA           WA    98512
02/22/93
ANNA V VAN ITAS                                C/O REUSSILLE LAW FIRM                  PO BOX 580                                                          RED BANK          NJ    07701
ANNA VACCARO‐STERN                             76 REMSEN ST APT 6D                                                                                         BROOKLYN          NY    11201‐3426
ANNA VECCHIO GOGOLA                            202 COOK AVE                                                                                                YONKERS           NY    10701‐5214
ANNA VLAHOV                                    46 LINKS LANE                           BRAMPTON ON                                       L6Y 5H2 CANADA
ANNA W BJORK                                   12065 LONG LAKE DR                                                                                          SPARTA            MI    49345‐8594
ANNA W DRAKE                                   506 HOWLAND AVE                                                                                             PONTIAC           MI    48341‐2765
ANNA W KENNEDY                                 PO BOX 376                                                                                                  SHIRLEY           IN    47384‐0376
ANNA W MOORE                                   2226 WHITMAN RD                                                                                             RALEIGH           NC    27607‐6649
ANNA W TROST TR ANNA W TROST REVOCABLE TRUST   35 STATEN DR                                                                                                HOCKESSIN         DE    19707‐1338
UA 12/29/98
ANNA W URSO                                    1415 SUNNYFIELD NW AV                                                                                       WARREN            OH    44481‐9133
ANNA WALTER & HELEN L HOLLAND JT TEN           8 LAKEVEIW DR                                                                                               ANDOVER           NJ    07821
ANNA WEIR                                      800 NAPA VALLEY DR                      APT 234                                                             LITTLE ROCK       AR    72211‐2397
ANNA Y MALIK                                   263 WATER ST                                                                                                PERTH AMBOY       NJ    08861‐4436
ANNA Z BIELERT                                 7334 CREEKWOOD DR                                                                                           NORTH ROYALTO     OH    44133‐3848
ANNA ZAKAREVICZ                                261 PATTERSONVILLE RD                                                                                       RINGTOWN          PA    17967‐9765
ANNA ZELINSKI                                  6 WHITED ST                                                                                                 LITTLE FALLS      NY    13365‐1712
ANNA ZINTEL & KENNETH W ZINTEL JT TEN          4420 SUNDERLAND PLACE                                                                                       FLINT             MI    48507‐3720
ANNABEL JULIUS                                 4744 N BROOKE DR                                                                                            MARION            IN    46952‐8566
ANNABEL ODELL BAXTER                           1002 LEELAND HEIGHTS BLVD EAST                                                                              LEHIGH ACRES      FL    33936‐6430
ANNABEL S WILSON                               703 NORRIS DR                                                                                               ANDERSON          IN    46013‐3955
ANNABELL A PETRO                               2113 NO A ST                                                                                                ELWOOD            IN    46036‐1731
ANNABELL MANNING                               192 EGRET DR                                                                                                ELYRIA            OH    44035‐8995
ANNABELLE BORZI                                27700 PARKVIEW DRIVE                                                                                        EUCLID            OH    44132‐1346
ANNABELLE CLOSSER                              2311 ARROWHEAD BLVD                                                                                         LAKELAND          FL    33813‐3802
ANNABELLE CRAGER                               8505 GEORGE                                                                                                 CENTERLINE        MI    48015‐1733
ANNABELLE D ALEXANDER                          BOX 35                                                                                                      BLADEN            NE    68928‐0035
ANNABELLE G GIRTON                             ATTN ANNABELLE G NEAL                   C/O STEPHANIE NICHOLS   1711 NORTH HAWTHORNE RD                     MARION            IN    46952‐1324
ANNABELLE GILBERT                              1140 W MYRTLE ST                                                                                            FORT COLLINS      CO    80521‐3555
ANNABELLE K G KRAWCZAK & FRANK V KRAWCZAK JT   19163 SEVEN OAKS DR                                                                                         STRONGSVILLE      OH    44136‐7541
TEN
ANNABELLE L BALDWIN                            201 HIGH ST                                                                                                 DANVILLE          IN    46122‐1015
ANNABELLE L JOHNSON                            112 WALKER ROAD                         P.O. BOX 239                                                        MULDRAUGH         KY    40155‐0239
ANNABELLE L MEYER                              2716 TOWNLINE RD 32                                                                                         MONROEVILLE       OH    44847‐9777
ANNABELLE L WELDIN                             3109 WRANGLE HILL ROAD                                                                                      BEAR              DE    19701‐2117
ANNABELLE M ZASTROW                            2605 N MAIN ST                                                                                              NEWFANE           NY    14108‐1020
ANNABELLE MORGAN                               4710 PINEDALE                                                                                               CLARKSTON         MI    48346‐3755
ANNABELLE MYERS SAUER                          304 11TH AVE                                                                                                LANGDON           ND    58249‐2446
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 194 of 850
Name                                            Address1                                Address2             Address3          Address4          City              State Zip

ANNABELLE NASE                                  8211 DEERFIELD DR                                                                                PARMA             OH    44129‐4332
ANNABELLE RUTH AMBROSE                          10 WOODMAN RD                                                                                    CHESTNUT HILL     MA    02467‐1222
ANNABELLE SCHUSTER                              8024 SE 167TH HILLTOP LOOP                                                                       THE VILLAGES      FL    32162
ANNABELLE SCHUSTER & JUDITH A BALL JT TEN       8024 SE 167TH HILLTOP LOOP                                                                       THE VILLAGES      FL    32162
ANNABELLE THWAITE                               C/O STUBBS                              2202 BEATTIE RD                                          ALBANY            GA    31707‐2104
ANNABELLE WEST                                  1102 CLEAR SPRINGS ROAD                                                                          RUSSELL SPRINGS   KY    42642‐8859
ANNABELLE ZIRKLE                                4013 N 1100 W                                                                                    KEMPTON           IN    46049‐9300
ANNABELLEJ NORTHRUP                             PO BOX 1024                                                                                      GWINN             MI    49841‐1024
ANNACHRISTINA ROUSE                             5417 IDELLA DR                                                                                   ANDERSON          IN    46013‐3021
ANNALEE M SMITH                                 4527 BLACK WALNUT WOODS                                                                          SAN ANTONIO       TX    78249‐3900
ANNALEE MARLETTE                                33920 MOORE ST                                                                                   FARMINGTON        MI    48335‐4151
ANNALENE O PRICE                                4962 LORD ALFRED CT                                                                              CINCINNATI        OH    45241‐2196
ANNALYN MCDANIEL                                137 SENTRY CT                                                                                    WINDER            GA    30680‐1798
ANNAMAE L PFOUTZ                                57 NEW AMWELL RD                                                                                 HILLSBOROUGH      NJ    08844‐5020
ANNAMARIA FATO                                  5500 NORTHUMBERLAND ST                                                                           PITTSBURGH        PA    15217‐1131
ANNAMARIE BELL                                  102 CAROLINE AVE                                                                                 ELMHURST          IL    60126‐2904
ANNAMARIE DEROSSI                               6 BROOKWOOD LANE                                                                                 NEW CITY          NY    10956‐2204
ANNAMARIE M BUGGELL & SUSAN LYNN BUGGELL JT     24759 HIGHLANDS DRIVE                                                                            NOVI              MI    48375‐2625
TEN
ANNAMAY V KUNZ TR ANNAMAY V KUNZ REVOCABLE      2535 OAKMONT TERRACE DR                 APT 145                                                  SAINT LOUIS       MO    63129‐4744
TRUST UA 06/21/06
ANNAMMA EIPE CUST GEORGE ALUMOOTIL UGMA CA      20035 NORTHRIDGE RD                                                                              CHATSWORTH        CA    91311‐1823

ANNANDALE MASONIC TEMPLE CORPORATION            BOX 164                                                                                          ANNANDALE         VA    22003‐0164
ANNE A BRIER                                    5024 FLINN RD                                                                                    BROOKVILLE        IN    47012‐9425
ANNE A COLLINS                                  5358 DENISE DR                                                                                   DAYTON            OH    45429‐1914
ANNE A DEALY                                    11 BROUSHANE CIRCLE                                                                              SHREWSBURY        MA    01545‐2050
ANNE A FITZ HUGH                                256 AUDUBON ST                                                                                   NEW ORLEANS       LA    70118‐4838
ANNE A LEMM                                     8 WEAVER RD                                                                                      HASTINGS          NY    13076‐4101
ANNE AGNEW                                      8113 S CAMPBELL                                                                                  CHICAGO           IL    60652‐2840
ANNE ARKWRIGHT                                  9105 CHICKAWANE CT                                                                               ALEXANDRIA        VA    22309‐2909
ANNE ASCHER                                     9040 COLLINS AVE APT 3                                                                           MIAMI BEACH       FL    33154
ANNE ASEKOFF TR ASEKOFF FAM TRUST UA 07/10/96   67 RYAN ST                                                                                       NEW BEDFORD       MA    02740‐2365

ANNE ASENSIO                                    5147 PROVINCIAL                                                                                  BLOOMFIELD        MI    48302‐2529
ANNE ATHERTON BARBER                            102 WILDERNESS WAY                      APT 245                                                  NAPLES            FL    34105
ANNE AVERY                                      96 PAW PAW LAKE DR                                                                               CHAGRIN FALLS     OH    44022‐4215
ANNE B ABRAMSON                                 4550 NORTHWEST 24TH WAY                                                                          BOCA RATON        FL    33431‐8433
ANNE B ALLEN                                    3827 E 127TH WAY                                                                                 DENVER            CO    80241‐3170
ANNE B BATEMAN                                  91‐2047 KAIOLI ST #2603                                                                          EWA BEACH         HI    96706‐6159
ANNE B BROWN                                    110 ROBINWOOD DRIVE                                                                              PARIS             IL    61944‐1917
ANNE B BURKLEY                                  2005 INDIAN CHUTE                                                                                LOUISVILLE        KY    40207‐1184
ANNE B DELEGAL                                  720 MONTEGO RD W                                                                                 JACKSONVILLE      FL    32216‐9338
ANNE B DESALVO CUST COOPER ADAIR DESALVO UTMA   12717 GRANDVIEW STREET                                                                           OVERLAND PARK     KS    66213‐3041
KS
ANNE B DOYLE                                    42 KENILWORTH ST                                                                                 PORTLAND          ME    04032
ANNE B EDGAR                                    20 HIGHLANDS DRIVE                                                                               SOUTHAMPTON       NY    11968‐1600
ANNE B EME & KENENTH J EME JT TEN               14793 SHEA COURT                                                                                 GRANGER           IN    46530‐4240
ANNE B ESTERLY                                  5200 PEACHTREE RD                       APT 1114                                                 ATLANTA           GA    30341‐2740
ANNE B FRISCIA                                  238 SWIFT ST                                                                                     SANTA CRUZ        CA    95060‐6226
ANNE B IFERT                                    2066 QUARRY RD                                                                                   HARLEYSVILLE      PA    19438‐1532
ANNE B LATTAY                                   161 CHEROKEE CI                                                                                  THOMASVILLE       GA    31757‐0307
ANNE B MANTELL                                  817 CANTERBURY HILL                                                                              SAN ANTONIO       TX    78209‐6038
ANNE B MC NICHOLAS                              23 PAMELA LANE                                                                                   STATEN ISLAND     NY    10304‐4438
ANNE B MCHALE                                   80 26TH AVE                                                                                      SAN FRANCISCO     CA    94121‐1133
ANNE B MICHAEL                                  3745 SEBRING PARKWAY                                                                             SEBRINQ           FL    33870
ANNE B MILLS                                    1795 KEARNEY ST                                                                                  DENVER            CO    80220‐1546
ANNE B NEUROHR                                  8413 COLEBROOK RD                                                                                RICHMOND          VA    23227‐1205
ANNE B PLOSSL                                   630 MAGEE ST                                                                                     PHILADELPHIA      PA    19111‐4716
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 195 of 850
Name                                              Address1                                Address2              Address3         Address4          City            State Zip

ANNE B PLOSSL                                 630 MAGEE AVE                                                                                        PHILADELPHIA    PA    19111‐4716
ANNE B SCHAEFER                               140 MAYFLOWER LANE                                                                                   MERIDEN         CT    06450‐3525
ANNE B STEARNS                                21 S GROVE ST                                                                                        LITTLETON       NH    03561‐4211
ANNE B STERLING                               2348 BLUE HERON LOOP                                                                                 LINCOLN         CA    95648‐8747
ANNE B WHITNEY                                734 WESLEY DR                                                                                        ATLANTA         GA    30305‐3934
ANNE BARNETT MERRILL                          900 SEVENTEENTH ST NW #1000                                                                          WASHINGTON      DC    20006
ANNE BAXTER WEBB                              420 HOLLY AVE                                                                                        ST PAUL         MN    55102‐2204
ANNE BECKER                                   1630 LEXINGTON RD                                                                                    EATON           OH    45320‐1329
ANNE BEDDOW MOOR                              3315 CHEROKEE RD                                                                                     BIRMINGHAM      AL    35223‐1313
ANNE BETH VANSUMEREN                          300 S WOODBRIDGE                                                                                     BAY CITY        MI    48706‐2938
ANNE BIFARO                                   1 MILL CREEK RD                                                                                      NEW CITY        NY    10956‐6411
ANNE BOGGS                                    415 N D ST                                                                                           HAMILTON        OH    45013‐3117
ANNE BOWIE RICE                               2545 CARROLLTON RD                                                                                   ANNAPOLIS       MD    21403‐4263
ANNE BRINK                                    7955 BYRON CENTER AVE SW                                                                             BYRON CENTER    MI    49315
ANNE BROKAW VERHULST                          LESCURE                                     F‐15230 PIERREFORT                     FRANCE
ANNE BROWN                                    RD 1                                                                                                 MORRAL          OH    43337
ANNE BROWN                                    2027 MCPHERSON RD                                                                                    MEMPHIS         TN    38116‐8638
ANNE BRUNO                                    ATTN ANNE BRUNO RITCHEY                     BOX 6119                                                 TAHOE CITY      CA    96145‐6119
ANNE BUCKLEY CUST SARAH MARIE BUCKLEY UTMA MO 926 S SPARKS                                                                                         SPRINGFIELD     MO    65802‐2854

ANNE BUSH LITTLE                                  7708 GERANIUM ST                                                                                 BETHESDA       MD     20817‐5510
ANNE BUTLER                                       23 DAVIS ROAD                                                                                    SOUTH WEYMOUTH MA     02190‐1311

ANNE C BAILEY                                    2043 ARLENE AVE                                                                                   DAYTON          OH    45406‐2421
ANNE C BORRELLI                                  341 CRYSTAL DR                                                                                    BRICK TOWN      NJ    08723‐5903
ANNE C BRYANT TR ANNE C BRYANT TRUST UA 05/15/96 10364 KESWICK AVE                                                                                 LOS ANGELES     CA    90064‐2525

ANNE C BURNS                                      1937 W DUBLIN GRANVILLE ROAD                                                                     WORTHINGTON     OH    43805
ANNE C CSABAY                                     53 GARWOOD ST                                                                                    SOUTH RIVER     NJ    08882‐1401
ANNE C DARROW                                     8415 SE 36TH                                                                                     MERCER ISLAND   WA    98040‐3601
ANNE C DINGMAN                                    02268 S M‐66                                                                                     EAST LANSING    MI    49727‐9168
ANNE C FORD                                       3511 STOKESMONT RD                                                                               NASHVILLE       TN    37215‐1571
ANNE C HAGAN TR ANNE C HAGAN LIVING TRUST UA      PO BOX 164                                                                                       HULLS COVE      ME    04644‐0164
4/3/97
ANNE C JANNAMAN & JEFFREY J JANNAMAN & J GARY     2617 DARBY DR                                                                                    WILMINGTON      DE    19808‐2209
JANNAMAN JT TEN
ANNE C JOHNSON & PATRICIA D JOHNSON JT TEN        PO BOX 460                                                                                       DRYDEN          VA    24243‐0460
ANNE C JOYCE TOD COLLEEN J MUCKRIDGE SUBJECT TO   1310 FIFTH AVE                          # 303                                                    YOUNGSTOWN      OH    44504
STA TOD RULES
ANNE C LAFFERTY                                   8820 GAP NEWPORT PIKE                                                                            AVONDALE        PA    19311‐9740
ANNE C LE DUC                                     200 PLEASANT VALLEY AV                                                                           MOORESTOWN      NJ    08057‐2608
ANNE C LESTER                                     2584 PIEDMONT CT                                                                                 WESTLAKE        OH    44145‐2974
ANNE C LUKASZEK                                   ATTN ANNE BOXER                         345 W PARK ST                                            MARQUETTE       MI    49855‐3328
ANNE C MILLER CUST MADELINE G MILLER UTMA NY      108 DEAN DRIVE                                                                                   N TONAWANDA     NY    14120

ANNE C MILLER CUST MICHAEL C MILLER UTMA NY       108 DEAN DR                                                                                      N TONAWANDA     NY    14120

ANNE C MILLER CUST OLIVIA J MILLER UGMA NY        108 DEAN DR                                                                                      N TONAWANDA     NY    14120
ANNE C MURRAY                                     ATTN ANNE C BRYANT                      10364 KESWICK AVE                                        LOS ANGELES     CA    90064‐2525
ANNE C PENCE                                      3004 DILLON ST                                                                                   BALTIMORE       MD    21224‐4941
ANNE C ROBINSON                                   580 EDMANDS RD                                                                                   FRAMINGHAM      MA    01701‐3090
ANNE C ROSENBERG                                  C/O ANNE C CLARK                        2728 KENYONVILLE RD                                      ALBION          NY    14411‐9175
ANNE C ROYER                                      5950 CENTER ST                                                                                   MENTOR          OH    44060‐2271
ANNE C SMALL                                      8709 #3 KENNEDY CIRCLE                                                                           WARREN          MI    48093
ANNE C SMITH                                      77 REGENT ST                                                                                     LOCKPORT        NY    14094‐5016
ANNE C SOHMER                                     180 GRACE CHURCH ST                                                                              RYE             NY    10580‐4212
ANNE C ST JOHN                                    13 BOXWOOD COURT                                                                                 GRANBY          CT    06035‐2418
ANNE C STANSFIELD                                 2 AMBROSIA PL                                                                                    THE WOODLANDS   TX    77381‐4740
ANNE CAMMERANO                                    135 ORCHARD STREET                                                                               GARFIELD        NJ    07026‐3218
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 196 of 850
Name                                           Address1                             Address2             Address3          Address4          City              State Zip

ANNE CAROL GIBSON                              8151 ROCKY MOUNTAIN DRIVE                                                                     LAKEWOOD          CO    80214‐5546
ANNE CARTY                                     281 NW 143RD ST                                                                               MIAMI             FL    33168‐4137
ANNE CELESTE OROURKE                           38 HOBSON ST                                                                                  STAMFORD          CT    06902‐8114
ANNE CHOMAS                                    3255 SCHOOL ROAD                                                                              RHODES            MI    48652‐9707
ANNE CHRISTINE POGUE                           2600 WATER VALLEY RD                                                                          COBDEN            IL    62920‐3531
ANNE COBB PRIEST                               8 GUILFORD ST                                                                                 WINDSOR LOCKS     CT    06096‐2018
ANNE COLEMAN                                   C/O ANNE C COLEMAN CALDWELL          423 ORONOCO ST                                           ALEXANDRIA        VA    22314‐2323
ANNE COLL‐PARDO YUHASZ                         5801 LA SALLE AVE                                                                             OAKLAND           CA    94611‐3209
ANNE CONNOR & WILLIAM CONNOR JT TEN            63 MEADOW ST                                                                                  GARDEN CITY       NY    11530‐6243
ANNE CRIMMINS AWAD                             134 W WATKINS                                                                                 LOOKOUT           TN    37350‐1138
                                                                                                                                             MOUNTAIN
ANNE CUSACK DERK CUST GEORGE TORREY DERK UGMA 1636 N CHILCO CT                                                                               THOUSAND OAKS     CA    91360‐2135
IL
ANNE CUSACK DERK CUST GWENDOLYN ROSE DERK       1636 N CHILCO CT                                                                             THOUSAND OAKS     CA    91360‐2135
UTMA IL
ANNE CUSACK DERK CUST MARGARET JANE DERK UTMA 1636 N CHILCO CT                                                                               THOUSAND OAKS     CA    91360‐2135
IL
ANNE D CARBERRY                                 1059 BROWER RD                                                                               LIMA              OH    45801
ANNE D COFFIN                                   346 CHESTNUT TREE HILL RD                                                                    SOUTHBURY         CT    06488‐3921
ANNE D CRANE                                    21 DWYER PLACE                                                                               ST LOUIS          MO    63124‐1625
ANNE D HABERSETZER                              7160 TWIN BRANCH RD NE                                                                       ATLANTA           GA    30328‐1744
ANNE D HANDEN                                   5 KING COURT                                                                                 ANNAPOLIS         MD    21401‐3222
ANNE D HIESTER                                  8308 S CREEK RD                                                                              WILLOW SPRING     NC    27592‐9626
ANNE D JASKET                                   73 STANDISH DR                                                                               CLIFTON           NJ    07013‐2542
ANNE D LANDES                                   207 W SUMMIT ST A367                                                                         SOUDERTON         PA    18964‐2054
ANNE D ZIMRING TR UA 06/15/87 ANNE D ZIMRING    2805 W FITCH                                                                                 CHICAGO           IL    60645‐2905
TRUST
ANNE D ZIMRING TR UA 06/15/87 ANNE D ZIMRING    2805 W FITCH                                                                                 CHICAGO           IL    60645‐2905
TRUST
ANNE DAMIANO                                    PO BOX 2176                                                                                  BALTIMORE         MD    21203‐2176
ANNE DAVIDOW SEEGER                             4150 KENSINGTON ROAD                                                                         DETROIT           MI    48224‐2728
ANNE DAVIS AKERS                                50 SPORT HILL PKWY                                                                           EASTON            CT    06612‐2225
ANNE DE LOSH DOW & JOHN W DOW JT TEN            10 DELANO PARK                                                                               ROSLINDALE        MA    02131‐4226
ANNE DENISE HARKINS                             136 SUNBEAM AVE                                                                              BETHPAGE          NY    11714‐3577
ANNE DIMATARIS                                  P O BOX 79136                                                                                HOUSTON           TX    77279
ANNE DOLE                                       14 SOUTHDOWN DR                                                                              LAFAYETTE         NJ    07848‐3023
ANNE DROST & RUTH WILKINS & DIANE PRESBITERO JT 6525 S KOMENSKY                                                                              CHICAGO           IL    60629‐5130
TEN
ANNE E ALBERTUS & STEPHEN L ALBERTUS JT TEN     2540 MEADOWVIEW CT                                                                           ROCHESTER HILLS   MI    48306‐3822
ANNE E ALEXANDER TR ANNE E ALEXANDER TRUST UA 177 CEDAR AVE                                                                                  E GREENWICH       RI    02818‐3170
12/28/95
ANNE E ARMSTRONG                                2711 GULF ROAD R D NO 2                                                                      MANLIUS           NY    13104‐9560
ANNE E BROWN                                    63 13TH STREET                                                                               LOWELL            MA    01850‐1635
ANNE E BURTON                                   195 NORIDGE DR                                                                               ROCHESTER         NY    14622‐2117
ANNE E BYRNE                                    351 S MAIN ST                                                                                MINOA             NY    13116‐1916
ANNE E CARY                                     PO BOX 1326                                                                                  HANNIBAL          MO    63401‐1326
ANNE E DELL                                     930 JOHN R RD                       APT 707                                                  TROY              MI    48083‐4316
ANNE E DILL                                     207 GILES ST                                                                                 ITHACA            NY    14850‐5911
ANNE E ENGLER                                   17340 SW MONTAGUE WAY                                                                        TIGARD            OR    97224‐2235
ANNE E GARDNER                                  5791 WAYSIDE AVE                                                                             CINCINNATTI       OH    45230‐5132
ANNE E HORNSBY                                  330 JIM HORNSBY LANE                                                                         DECATUR           TN    37322‐3006
ANNE E LEBLANC                                  202 LEO DRIVE                                                                                GARDNER           MA    01440
ANNE E LUTTON                                   C/O ANNE E GARDNER                  817 GIRALDA CRT                                          MARCO ISLAND      FL    34145
ANNE E MACPHAIL                                 388 TIMBER CREST DR                                                                          TRAVERSE CITY     MI    49686‐6113
ANNE E MATTIMORE                                24520 GRAND CENTRAL PKWY                                                                     BELLEROSE         NY    11426‐2741
ANNE E MCKENNY                                  129 INVERNESS                                                                                HOWELL            MI    48843‐1143
ANNE E MEAD                                     137 S MONTE REY DR                                                                           LOS ALAMOS        NM    87544‐3858
ANNE E MISSAVAGE CUST KAREN CARTER CLARK UTMA 4415 SENECA DR                                                                                 OKEMOS            MI    48864‐2945
CA
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 197 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

ANNE E MISSAVAGE CUST LAURA MICHELLE CLARK        4415 SENECA DR                                                                                 OKEMOS            MI    48864‐2945
UTMA CA
ANNE E MOWCHAN                                    65 MERRIT RD                                                                                   EAST PROVIDENCE   RI    02915‐3804

ANNE E MURRU                                     2704 EAST BAYVIEW LANE                                                                          SANDUSKY          OH    44870‐5901
ANNE E NEMETZ‐CARLSON                            259 LUCE ROAD                                                                                   WILLIAMSTOWN      MA    01267‐2920
ANNE E O'CONNELL                                 PO BOX 881                                                                                      BREWSTER          MA    02631‐0881
ANNE E PHILLIPS                                  6635 HATCHERY RD                                                                                WATERFORD         MI    48327‐1127
ANNE E PORTER & ANNETTE J LEAGUE JT TEN          391 COUNTY ROAD 658                                                                             HANCEVILLE        AL    35077
ANNE E PORTER & DENNIS W PORTER JT TEN           2308 HARMONY                                                                                    BURTON            MI    48509‐1164
ANNE E R PEARCE & LEWIS H PEARCE JT TEN          13 RICHFORD ROAD                                                                                KENDALL PARK      NJ    08824‐1107
ANNE E RADIEL                                    11760 S OLIVER                                                                                  MULVANE           KS    67110‐9477
ANNE E REID                                      7679 SEDON DRIVE                                                                                DUBLIN            OH    43016‐9583
ANNE E STANG                                     225 S LAKE AVE                         STE 300                                                  PASADENA          CA    91101‐3009
ANNE E TANCREDI TR ANNE E TANCREDI TRUST UA      5613 KIRKRIDGE TRL                                                                              ROCHESTER HILLS   MI    48306‐2258
03/13/97
ANNE E TIELEMAN                                  45 GUNNING LANE                                                                                 LANGHORNE         PA    19047‐8514
ANNE E TRUE                                      130 ELKINS LAKE                                                                                 HUNTSVILLE        TX    77340‐7303
ANNE E UBER                                      2805 STACEY ST                                                                                  THOMPSONS STN     TN    37179‐5218
ANNE E WALES TR ANNE E WALES REVOCABLE LIVING TR 1605 E HIGGINS LAKE DR                                                                          ROSCOMMON         MI    48653‐7613
UA 12/8/00
ANNE E WARREN                                    191 HILLCREST DRIVE                                                                             PACKANACK LAKE    NJ    07470‐5629
ANNE E WELLMAN & EDWARD C WELLMAN JR TEN COM 6576 SADDLEBACK AVE                                                                                 FIRESTONE         CO    80504‐5481

ANNE E WILCOX                                     1316 CLAYTON ROAD                                                                              LANCASTER         PA    17603‐2402
ANNE EDHOLM                                       3600 CALVERT ST                                                                                LINCOLN           NE    68506‐5731
ANNE ELISABETH PETROFF                            41 WEST 96 ST #12A                                                                             NEW YORK          NY    10025‐6519
ANNE ELISE TILGHMAN                               PO BOX 498                                                                                     HIAWASSEE         GA    30546‐0498
ANNE ELIZABETH BARKER                             3796 NORTH MONTCLAIR                                                                           MENPHIS           TN    38111‐6913
ANNE ELIZABETH BURKS FRENCH                       108 POPLAR ST                                                                                  MONROE            LA    71201‐4036
ANNE ELIZABETH FINCH & JAN FINCH BATES JT TEN     PO BOX 83                                                                                      THETFORD          VT    05074‐0083

ANNE ELIZABETH GURNEY                             918 SANTMYER DR SE                                                                             LEESBURG          VA    20175‐8911
ANNE ELIZABETH LANG                               3645 RANCH CREEK                                                                               AUSTIN            TX    78730‐3702
ANNE ELIZABETH PALMER                             1911 GRAND OAKS AVENUE                                                                         ALTA DENA         CA    91001‐3520
ANNE ELIZABETH PANDOLPH                           233 VERMONT ST                                                                                 GREENSBURG        PA    15601‐3940
ANNE ELIZABETH PAROULEK CUST TIMOTHY AARON        105 PILOT CT                                                                                   CHESTER           MD    21619‐2518
PAROULEK UGMA MD
ANNE ELIZABETH PAROULEK CUST TIMOTHY AARON        105 PILOT COURT                                                                                CHESTER           MD    21619‐2518
PAROULEK UGMA MI
ANNE ELIZABETH PAROULEK CUST TIMOTHY AARON        105 PILOT CT                                                                                   CHESTER           MD    21619‐2518
PAROULEK UTMA MD
ANNE ELIZABETH PHELAN                             15622 N 38TH PLACE                                                                             PHOENIX           AZ    85032‐4030
ANNE ELIZABETH PRESTON                            95 OVERHILL ROAD                                                                               BALA CYNWYD       PA    19004‐2227
ANNE ELIZABETH RODRIGUEZ                          896 BURR STREET                                                                                FAIRFIELD         CT    06430‐7111
ANNE ELIZABETH TAUNTON                            602 S ADAMS                                                                                    MOSCOW            ID    83843‐3018
ANNE F DAWSON                                     20 COPELAND AVE                                                                                READING           MA    01867‐3301
ANNE F DITHRICH                                   209 ACADEMY AVE                                                                                SEWICKLEY         PA    15143‐1211
ANNE F GINN                                       505 NEFF                                                                                       GROSSE PTE        MI    48230
ANNE F GOODRICH                                   R R 3 BOX 4859                        CHASANNA DRIVE                                           RUTLAND           VT    05701‐9248
ANNE F GORDON                                     1261 BEACH DRIVE                                                                               LAKE ORION        MI    48360
ANNE F GRANGER                                    3644 BRIGGS ROAD                                                                               OTTER LAKE        MI    48464‐9734
ANNE F HUCKINS                                    844 PROVIDENCE RD                                                                              STRAFFORD         NH    03884‐6548
ANNE F KELLY                                      2136 WASHINGTON STREET                                                                         CANTON            MA    02021‐1675
ANNE F KOSLOW                                     1000 OLD YORK ROAD                                                                             ABINGTON          PA    19001‐4512
ANNE F KRAINTZ                                    6 DEER PATH CT                                                                                 WAUPUN            WI    53963
ANNE F TILLSON                                    105 COTTONWOOD DR                                                                              JAMESTOWN         NC    27282‐9468
ANNE FAHY CUST WALKER CURRAN FAHY UTMA GA         1844 NORTH HARVARD BLVD               APT 11                                                   LOS ANGELES       CA    90027
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                      Part 1 of 8 Pg 198 of 850
Name                                              Address1                             Address2                      Address3   Address4          City             State Zip

ANNE FERNICOLA & LAUREN ROSE KENNEDY JT TEN       8591 RIO VISTA SHORES LN             #4                                                         PARKER           AZ    85344‐9511

ANNE FRIEDRICHS LAIRMORE                        753 MANITOU ROAD                                                                                  HILTON           NY    14468‐9785
ANNE G BALOG                                    8445 CROW RD                                                                                      LITCHFIELD       OH    44253‐9514
ANNE G BUGAI TR ANNE G BUGAI REVOCABLE TRUST UA 4655 OAKHURST RIDGE RD                                                                            CLARKSTON        MI    48348‐5027
10/26/99
ANNE G FASOLI                                   2457 SYLVAN AVE                                                                                   HAMILTON         NJ    08610‐1712
ANNE G KNIGHT                                   502 ORANOLE ROAD                                                                                  MAITLAND         FL    32751‐3222
ANNE G LORD                                     BOX 190                                                                                           INDIANOLA        NE    69034‐0190
ANNE G MILLER                                   2658 S WINDY GAP RD                                                                               NORTH            NC    28659‐7544
                                                                                                                                                  WILKESBORO
ANNE G MOORHOUSE                                  80 OLD LEONARD FARM RD                                                                          SWANZEY          NH    03446‐3309
ANNE G MURFF                                      1812 MORRIS LANDERS DRIVE                                                                       ATLANTA          GA    30345‐4104
ANNE G ORENT                                      29 GOODNOUGH RD                                                                                 CHESTNUT HILL    MA    02467‐3140
ANNE G SCOTT                                      5 ROMA DR                                                                                       FARMINGTON       CT    06032‐2158
ANNE G STIRES                                     1 ANN ST                                                                                        VERONA           NJ    07044‐1905
ANNE G SUDIA                                      750 ERUDO ST                                                                                    LINDEN           NJ    07036‐5732
ANNE G WEISBROD                                   146 NORMAN RD                                                                                   NEW ROCHELLE     NY    10804‐3112
ANNE G WESTERVELT                                 9 BOUQUET LANE                                                                                  BLUFFTON         SC    29909‐4432
ANNE GEISLER                                      198 BRYANT RD                                                                                   HAMPTON          NJ    08827
ANNE GOWEN WILLIAMS                               BOX 526                                                                                         WOODBINE         GA    31569‐0526
ANNE GROSSMAN                                     3927 HADJES DRIVE APT 2403                                                                      LAKE WORTH       FL    33467
ANNE GUERIN                                       61 WALDO AVE                                                                                    ROCHESTER        NY    14609‐4307
ANNE H BAILEY                                     232 AZALEA LN                                                                                   WEST GROVE       PA    19390‐9479
ANNE H BRANDT                                     3130 HIGHLANDS BLVD                                                                             PALM HARBOR      FL    34684‐2702
ANNE H CLITES                                     1617 HIGH HOLLOW                                                                                ANN HARBOR       MI    48103‐9621
ANNE H CREELMAN                                   112 BELMONT DRIVE                                                                               EGG HARBOR       NJ    08234‐6739
                                                                                                                                                  TOWNSHI
ANNE H DORSEY                                     1705 BANBURY ROAD                                                                               RALEIGH          NC    27608‐1148
ANNE H DOYLE                                      3418 STONERIDGE DR                                                                              JOHNSON CITY     TN    37604
ANNE H FOSTER                                     24 BERRY CT                                                                                     ELKTON           MD    21921‐4945
ANNE H HAGERMAN                                   1510 LINDEN AVE                                                                                 OWENSBORO        KY    42301‐3555
ANNE H HUMMER                                     28 WINGSTONE LANE                                                                               DEVON            PA    19333‐1651
ANNE H INFURNA                                    7931 WEST FLOWER                                                                                PHOENIX          AZ    85033‐4845
ANNE H JONAS TRE ANNE H JONAS REVOCABLE TRUST     4731 CUMBERLAND COVE CT                                                                         JACKSONVILLE     FL    32257‐5296
UA 06/23/94
ANNE H KERRIGAN                                   940 N WARD AVE                                                                                  GIRARD           OH    44420‐1954
ANNE H LAW & JAMES M LAW JT TEN                   80 DREW DR                                                                                      EASTPORT         NY    11941‐1336
ANNE H MC LEAN                                    3213 STRADA MATEO                                                                               FLORENCE         SC    29501‐0202
ANNE H MONNIG                                     10004 CERRO ALTO COVE                                                                           AUSTIN           TX    78733
ANNE H VITALIS                                    5298 NAPLES CEDAR DR SW                                                                         WYOMING          MI    49519‐9651
ANNE H WILDER                                     1096 SPRUCE STREET                                                                              WINNETKA         IL    60093‐2171
ANNE HALL                                         2150 S FOWLERVILLE RD BOX 858                                                                   FOWLERVILLE      MI    48836‐0858
ANNE HANLEY                                       196 RAWLINSON RD                                                                                ROCHESTER        NY    14617‐4636
ANNE HARMAN ADAIR                                 BOX 877                                                                                         RICHLANDS        VA    24641‐0877
ANNE HARRINGTON                                   46‐243 KAPEA ST                                                                                 KANEOHE          HI    96744‐3615
ANNE HODGDON                                      3300 PARK AV                         UNIT 36                                                    BRIDGEPORT       CT    06604‐1141
ANNE HOLMES CECIL                                 BOX 607                                                                                         CASTLE ROCK      CO    80104‐0607
ANNE HYATT                                        PO BOX 337                                                                                      SHEFFIELD        MA    01257‐0337
ANNE I GORDON SCHREIBER                           715 BROWNLEE DRIVE                                                                              NASHVILLE        TN    37205‐3142
ANNE I MCCABE                                     12 JOAN CIRCLE                                                                                  MILFORD          MA    01757
ANNE I POWER                                      24 SALISBURY DR                                                                                 WESTWOOD         MA    02090
ANNE ISABEL GORDON                                C/O ANNE ISABEL GORDON SWIFT         1212 THORNTON ST                                           FREDERICKSBURG   VA    22401‐4634
ANNE J ANDERSEN                                   6 HOWARD CT                                                                                     LEBANON          NJ    08833‐2109
ANNE J ASH TR UA 03/29/91 ANNE J ASH ANNE J ASH   100 KEYES RD APT 423                 MILLDAM SQUARE CONDOMINIUMS                                CONCORD          MA    01742‐1655
TRUST
ANNE J BELL                                       4555 LAREN LANE                                                                                 DALLAS           TX    75244‐6714
ANNE J LANDRUM                                    915 TURTLE COVE LN                                                                              VERO BEACH       FL    32963‐2323
ANNE J MARTIN                                     1820 COMMON ST                       STE 121                                                    NEW BRAUNFELS    TX    78130‐3469
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 199 of 850
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

ANNE J PUETT                                      424 13TH ST                                                                                      OGDEN            KS    66517
ANNE J RASMUSSEN                                  71 APPLE DR                                                                                      SPRING LAKE      NJ    07762‐2182
ANNE J SAULNIER                                   1117 DENNIS AVE                                                                                  SILVER SPRING    MD    20901‐2163
ANNE J SPEICHER                                   48 W HILLCREST AVE                                                                               HAVERTOWN        PA    19083‐1433
ANNE J WARDLAW                                    C/O M S BAILEY & SON BANKERS            TRUST DEPT           PO BOX 494                          CLINTON          SC    29325‐0494
ANNE JANE BITTNER PORTER & ALEX TRISTAN PORTER JT 1543 WATERBURY WOODS LN                                                                          DAYTON           OH    45458‐3593
TEN
ANNE JULIE HACKER                                 19885 NORTH AVE                                                                                  BATTLE CREEK     MI    49017‐9450
ANNE K DI GRAZIA                                  320 COOK AVE                                                                                     MIDDLESEX        NJ    08846‐2001
ANNE K DOWLING                                    35 BEACH 222ND STREET                                                                            BREEZY POINT     NY    11697‐1502
ANNE K FLEMING                                    2010 NW FRAZIER CREEK RD                                                                         CORVALLIS        OR    97330‐9722
ANNE K HALL                                       C/O ANNE K LECLAIR                      600 PLYMOUTH AVE                                         BRULINGAME       CA    94010‐2733
ANNE K MC COY                                     50 KINGS RD                                                                                      LAKE GEORGE      NY    12845‐6011
ANNE K MUNDY                                      28 WEST CHAMPLAIN AVE                                                                            WILM             DE    19804‐1747
ANNE K SIKORSKI                                   1001 W YORK ST                                                                                   OAK CREEK        WI    53154‐3729
ANNE K SMITH                                      156 HILLYNDALE RD                                                                                STORRS MANSFIELD CT    06268‐1828

ANNE K TOTTEN                                      12520 MALLARD BAY DR                                                                            KNOXVILLE        TN    37922‐9322
ANNE K ZIMMER                                      8915 SHERMER ROAD                                                                               MORTON GROVE     IL    60053‐2075
ANNE KAREN KOEHNE                                  702 S CLAY ST                          APT 1                                                    HOPKINSVILLE     KY    42240‐3407
ANNE KELLY TORTORELLA                              189 FOREST AVE #412                                                                             PARAMUS          NJ    07652‐5353
ANNE KEREKES                                       9037 MANCHESTER LANE APT F                                                                      WEST MELBOURNE   FL    32904‐2035

ANNE KEREKES TR UA 12/08/09 ANNE KEREKES           9037 MANCHESTER LANE APT F24                                                                    W MELBOURNE      FL    32904
REVOCABLE LIVING TRUST
ANNE KESSLER PHILLIPS                              344 PATRIOT'S LANDING                                                                           COASTVILLE       IN    46121‐8954
ANNE KIDD REIGHT                                   2735 SPICER LN                                                                                  DECATUR          GA    30033‐2926
ANNE KITCHEN ENRIGHT                               2260 GLADSTONE DR                      STE 2                                                    PITTSBURG        CA    94565‐5125
ANNE L CHENEY                                      1925 EMERSON AVE S                                                                              MINNEAPOLIS      MN    55403‐2917
ANNE L DAVIS TR UA 05/22/91 ANNE L DAVIS TRUST     350 OLD BRIDGE RD                                                                               GRAND BANC       MI    48439‐1148

ANNE L ELLIOTT                                     1103 REDAN TRAIL CT                                                                             STONE MOUNTAIN   GA    30088‐2540

ANNE L ENNOR TR ANNE L ENNOR REVOCABLE TRUST       1109 KALUANUI RD                                                                                HONOLULU         HI    96825‐1349
UA 04/17/98
ANNE L FREEMAN                                     12526 39TH NE                                                                                   SEATTLE          WA    98125‐4610
ANNE L HAWKINS                                     3400 WEXFORD COURT                                                                              ANN ARBOR        MI    48108‐1763
ANNE L HICKLAND                                    49 WEST BROADWAY                                                                                SALEM            NY    12865‐9718
ANNE L HOBBS                                       2103 BULLOCK                                                                                    LAPEER           MI    48446‐9705
ANNE L HUBER                                       309 GRANT TERRACE                                                                               MAMARONECK       NY    10543‐1409
ANNE L JAMES                                       5745 S HIL‐MAR CIRCLE                                                                           FORESTVILLE      MD    20747‐2973
ANNE L JOHNSON & JOHN H STURGIS JR JT TEN          20454 OXLEY                                                                                     DETROIT          MI    48235‐1647
ANNE L KNORR                                       54 LANTERN LN                                                                                   SHIPPENSBURG     PA    17257‐8769
ANNE L KNUDTEN                                     1841 SUNSET ST                                                                                  GRINNELL         IA    50112‐1046
ANNE L LEE                                         4335 BELKNAP ROAD                                                                               CHARLOTTE        NC    28211‐3826
ANNE L MOORE TR RICHARD & ANNE MOORE LIVING        6102 AUGUSTA DR 202                                                                             FT MYERS         FL    33907‐5778
TRUST 10/27/97
ANNE L POLLAK                                      145 WOODS END DR                                                                                BASKING RIDGE    NJ    07920‐1970
ANNE L SALES                                       2027‐2 WOODHAVEN DRIVE                                                                          FORT WAYNE       IN    46819‐1038
ANNE L STRASSNER                                   955 LEXINGTON AVE #3B                                                                           NEW YORK         NY    10021‐5107
ANNE L VOGELSBERG                                  BOX 112                                                                                         HOLMEN           WI    54636‐0112
ANNE L VORCE                                       618 BENNINGTON DR                                                                               SILVER SPRING    MD    20910‐4204
ANNE L WHITAKER                                    11553 HALAWA LANE                                                                               CYPRESS          CA    90630‐5706
ANNE LACK                                          195 SOUTHLAWN AVE                      OSHAWA ON                              L1H 3Y5 CANADA
ANNE LADD                                          11225 CHERRYLAWN                                                                                BRIGHTON         MI    48114‐8104
ANNE LARUE CROWE                                   5210 UNION CHURCH RD                                                                            FLOWERY BRANCH   GA    30542‐5272

ANNE LEAKE BRADLEY BIGGERS                         2952 ST ANDREWS LANE                                                                            CHARLOTTE        NC    28205‐3737
ANNE LESLIE HART                                   ATTN ANNE L HART BALDWIN               8124 CAMPBELL AVE                                        INDIANAPOLIS     IN    46250‐1814
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 200 of 850
Name                                            Address1                             Address2               Address3        Address4          City             State Zip

ANNE LESNIAK & CASIMIRA YEHLE JT TEN             2497 REDWOOD DR                                                                              FLUSHING         MI    48433‐2441
ANNE LEWIS                                       3660 NE 166TH ST                    CONDO #506                                               N MIAMI BEACH    FL    33160‐3880
ANNE LEYDEN                                      C/O RALPH L AMBROSE                 251 WOODVALLEY ROAD                                      ANNISTON         AL    36207‐6415
ANNE LINDSAY WELTER CUST JOHN THOMAS LEMMER 443 E NORWICH ST                                                                                  MILWAUKEE        WI    53207‐4441
UGMA WI
ANNE LOUISE HICKMAN                              624 MONTE ALTO DRIVE N E                                                                     ALBUQUERQUE      NM    87123‐2265
ANNE LOUISE HORN                                 ATTN ANNE L CASADAY                 579 BRIGHTON WAY                                         PHOENIXVILLE     PA    19460‐5717
ANNE LOUISE ZIKORUS                              48 WARWICK CIR                                                                               MECHANICSBURG    PA    17050‐2600
ANNE LUCARIELLO                                  69 COEYMAN AVE                                                                               NUTLEY           NJ    07110‐1513
ANNE LYNCH                                       17 BOURNE AVE                                                                                SANDWICH         MA    02563‐1806
ANNE M AKUS & ANNE L DEPIERO TR UA 07/07/94 ANNE 4 BRENTWOOD CIR                                                                              DANVERS          MA    01923‐1512
M AKUS REVOCABLE TR
ANNE M ALBOSTA                                   4399 BRADFORD DR                                                                             SAGINAW          MI    48603‐3049
ANNE M ALBOSTA                                   4399 BRADFORD DRIVE                                                                          SAGINAW          MI    48603‐3049
ANNE M ALLAN                                     4560 GUNNVILLE ROAD                                                                          CLARENCE         NY    14031‐1944
ANNE M BAILEY & GEORGE J BAILEY JT TEN           950 WILLOW VALLEY LAKES DR                                                                   WILLOW STREET    PA    17584‐9663
ANNE M BARTHELS                                  1544 WEST ARNDALE RD                                                                         STOW             OH    44224‐2312
ANNE M BARTINI                                   3 PINECREST DR                                                                               LENOX            MA    01240‐2227
ANNE M BEAZLEY                                   3311 VICTORIA CT E                                                                           JACKSONVILLE     FL    32216‐5608
ANNE M BELL                                      126 REEDSDALE RD                                                                             MILTON           MA    02186‐3919
ANNE M BOLANDER                                  7611 ARCOLA                                                                                  WESTLAND         MI    48185‐2668
ANNE M BRANDELL                                  ATTN ANNE M B DROLET                8290 STAGHORN TRL                                        CLARKSTON        MI    48348‐4571
ANNE M BUCHANAN                                  3311 VICTORIA CT E                                                                           JACKSONVILLE     FL    32216‐5608
ANNE M CAMERON                                   4660 FIELDMOOR DR                                                                            LEXINGTON        KY    40515‐1536
ANNE M CAMERON CUST TERANCE R CAMERON UGMA 76 S LEXINGTON AVE APT 4B                                                                          WHITE PLAINS     NY    10606‐2544
NY
ANNE M CAMPBELL                                  96 MCFEETERS                        BOWMANVILLE ON                         L1C 4Y6 CANADA
ANNE M CAPELLA                                   2518 POYNCINA DR                                                                             WESTON           FL    33327‐1415
ANNE M CARTY                                     11 TANAGER RD                                                                                ATTLEBORO        MA    02703‐1722
ANNE M CHASE‐STERNQUIST                          3495 MOORE RD                                                                                ADRIAN           MI    49221‐9517
ANNE M COOK & DAVID F COOK JT TEN                17400 KEDZIE AVE                    APT 332                                                  HAZEL CREST      IL    60429‐1668
ANNE M COOK & NANCY L PAYNE JT TEN               17400 KEDZIE AVE                    APT 332                                                  HAZEL CREST      IL    60429‐1668
ANNE M DELORME                                   ATTN ANNE M BARTINI                 12 PINECREST DRIVE                                       LENOX            MA    01240‐2227
ANNE M DEVOE                                     41 S ROBERT STREET                                                                           SEWAREN          NJ    07077‐1311
ANNE M DONAHUE & DENNIS M DOWNEY JT TEN          6175 MOONRISE ARC                                                                            LAS CRUCES       NM    88012‐9573
ANNE M DUGAN                                     108 SANDY CV                                                                                 TINTON FALLS     NJ    07753‐7740
ANNE M FAGAN                                     13 WINTERBURY CIRCLE                                                                         WILMINGTON       DE    19808‐1429
ANNE M FALKOWSKI                                 2219 17TH ST                                                                                 CUYAHOGA FALLS   OH    44223‐1939
ANNE M FARRELL TR ANNE M FARRELL REVOCABLE       316 PIONEER CLUB RD                                                                          E BRAND RAPIDS   MI    49506‐2033
TRUST UA 05/06/99
ANNE M FEDERKIEWICZ TR ANNE M FEDERKIEWICZ       1753 HOLDEN'S ARBOR RUN                                                                      WESTLAKE         OH    44145‐2039
REVOCABLE TRUST UA 07/07/98
ANNE M FIELD                                     RR 2 BOX 8300                                                                                DILLWYN          VA    23936‐8540
ANNE M FITZGIBBON                                2405 SHIRLEY RD                                                                              WILMINGTON       NC    28405‐2839
ANNE M FRON                                      C/O NUWER                           9 HORVATH DR                                             ITHACA           NY    14850‐9711
ANNE M GRAFF                                     23 PARADISE RD                                                                               EAST AMHERST     NY    14051‐1727
ANNE M GUY                                       APT 2127N                           5500 FRIENDSHIP BLVD                                     CHEVY CHASE      MD    20815‐7275
ANNE M HAGAN & KEVIN A RUCCI JT TEN              812 MEETING HOUSE RD                                                                         CINNAMINSON      NJ    08077‐3706
ANNE M HAGY                                      855 N PARK RD J‐202                                                                          WYOMISSING       PA    19610‐1367
ANNE M HALTOM                                    183 N FAIRFIELD DR                                                                           DOVER            DE    19901‐5749
ANNE M HENDERSON                                 619 FRANK STREET                                                                             FLINT            MI    48504
ANNE M HONG                                      183 OLD PETTY HR RD                 ST JOHNS NL                            A1G 1R4 CANADA
ANNE M JONES                                     3 HICKORY LN                                                                                 SPENCERPORT      NY    14559‐2511
ANNE M JUTT & NELLE M JUTT & JOSEPH J JUTT &     47 BATES RD                                                                                  WESTFIELD        MA    01085‐2543
ANTHONY J JUTT JT TEN
ANNE M KEKISH                                    3625 POLLEY DR                                                                               YOUNGSTOWN       OH    44515‐3349
ANNE M KROCKENBERGER HEIDELINDE KASZUBA &        14 MAGWOOD COURT                    TORONTO ON                             M6S 2M5 CANADA
LORRAINE CEFAI JT TEN
                                           09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 201 of 850
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

ANNE M KROPIK TR THE CHARLES T KROPIK TRUST UA   750 ARLINGTON RD                                                                                 RIVERSIDE         IL    60546‐1702
12/18/89
ANNE M LEE CUST CATHERINE L LEE U/THE MASS       2 LOCKELAND RD                                                                                   WINCHESTER        MA    01890‐3342
UNIFORM GIFTS TO MINORS ACT
ANNE M LINKINS                                   1829 SENATE ST APT 11A                                                                           COLUMBIA          SC    29201‐3838
ANNE M LOCKARD                                   1088 NORTH 400 WEST                                                                              PERU              IN    46970‐7579
ANNE M LODS                                      231 SPRINGMEADOW DR                     UNIT H                                                   HOLBROOK          NY    11741‐4136
ANNE M LONCAR                                    2780 GRETCHEN DR N E                                                                             WARREN            OH    44483‐2924
ANNE M MARKEY                                    83 MAGNOLIA AVE                                                                                  JERSEY CITY       NJ    07306‐1813
ANNE M MARTYN                                    356 WESTCHESTER AVE                                                                              CRESTWOOD         NY    10707‐1633
ANNE M MASON & H P BALDWIN TERRY JR TR U‐W‐O     63 POUND HOLLOW RD                                                                               GLEN HEAD         NY    11545‐2211
GREY MASON
ANNE M MATEREK & HENRY A MATEREK TR ANNE M       49332 MARQUETTE CT                                                                               SHELBY TWP        MI    48315‐3956
MATEREK TRUST UA 10/23/02
ANNE M MATKOVIC                                  2840 EASTERN BLVD                                                                                BALDWIN           NY    11510‐4232
ANNE M MC CRORY                                  PO BOX 186                                                                                       OUTLOOK           MT    59252‐0186
ANNE M MCGRATH TOD ARTHUR P DAY JR SUBJECT TO    1 ABBOTT RD UNIT 171                                                                             ELLINGTON         CT    06029‐3870
STA TOD RULES
ANNE M MEISTER                                   641 N ABINGTON ST                                                                                ARLINGTON         VA    22203‐2045
ANNE M MEIXNER                                   14 OHIO AVE                                                                                      METUCHEN          NJ    08840‐2104
ANNE M MURPHY                                    6538 TIMBER OAKS DR                                                                              OLIVE BRANCH      MS    38654‐6928
ANNE M PIEPOL                                    123 FLORENCE AVE                                                                                 ARLINGTON         MA    02476‐7231
ANNE M POWELL                                    13401 OLD CHAPEL RD                                                                              BOWIE             MD    20720‐4714
ANNE M RANDOLPH CUST EMILY R BACON UTMA CA       26 PARKLANE DR                                                                                   ORINDA            CA    94563‐3237

ANNE M RANDOLPH CUST JESSICA R BACON UTMA CA     26 PARKLANE DR                                                                                   ORINDA            CA    94563‐3237

ANNE M RANDOLPH CUST SARAH R BACON UTMA CA       26 PARKLANE DR                                                                                   ORINDA            CA    94563‐3237

ANNE M REILLY                                    BOX 3596                                                                                         SANTA BARBARA     CA    93130‐3596
ANNE M REYNOLDS                                  N1136 REDWING DR                                                                                 GREENVILLE        WI    54942‐8736
ANNE M RODEN                                     12 BEAVERBROOK DR                                                                                BROOKHAVEN        NY    11719‐9404
ANNE M RUELLE                                    11325 DAVISBURG RD                                                                               DAVISBURG         MI    48350‐2623
ANNE M SCHIERENBERG                              PO BOX 72                                                                                        STERLING FOREST   NY    10979‐0072
ANNE M SCHNEIDER                                 13203 ACADIA CV                                                                                  FORT WAYNE        IN    46845‐9072
ANNE M SCHOCK                                    31255 BARTON                                                                                     GARDEN CITY       MI    48135‐1383
ANNE M SCHULTZ                                   99 WOODCREST DR NW                                                                               GRAND RAPIDS      MI    49504‐6037
ANNE M SEARS                                     720 EAST CHURCH ST                                                                               PLANO             IL    60545‐1270
ANNE M SHARPE                                    1000 WOODLAND DR                                                                                 WILSON            NC    27893‐2120
ANNE M SHAWVER                                   PO BOX 715                                                                                       SENECA FALLS      NY    13148‐0715
ANNE M SIBILSKY SCHULZE                          11469 MAJORCA PLACE                                                                              FENTON            MI    48430‐8714
ANNE M SIMS                                      7021 AKRON RD                                                                                    LOCKPORT          NY    14094‐6203
ANNE M SKLENA                                    3623 S LOWE AVE                                                                                  CHICAGO           IL    60609‐1627
ANNE M SMITH                                     5231 GLENBROOD DR                                                                                VIENNA            WV    26105
ANNE M STROMICK                                  164 GREENWAY BLVD                                                                                CHURCHVILLE       NY    14428‐9211
ANNE M SUR                                       17 RUE STE RICHARDE                     SAND                 67230 BENFELD     FRANCE
ANNE M SWAIM                                     PO BOX 79647                                                                                     HOUSTON           TX    77279‐9647
ANNE M VANSICE                                   5248 W 50TH ST                                                                                   CLEVELAND         OH    44134‐1022
ANNE M VIERS                                     16375 ROME ROAD                                                                                  MANITOU BEACH     MI    49253‐9756
ANNE M WALKER                                    274 HILLTOP DRIVE                                                                                DAHLONEGA         GA    30533
ANNE M WALLACE                                   4729 EAST SUNRISE DRIVE #113            TUSCON                                                   TUCSON            AZ    85718‐4535
ANNE M WELLMAN                                   8210 AREA DR                                                                                     SAGINAW           MI    48609‐4844
ANNE M WILDS & WILLIAM A WILDS JT TEN            5261 CARNEY RD                                                                                   EMMETT            MI    48022‐1404
ANNE M WILLIAMSON                                C/O ROBERT J WILLIAMSON                 2154 VILLAGE RD                                          SEA GIRT          NJ    08750
ANNE M WILSON                                    3701 INTERNATIONAL DRIVE                                                                         SILVER SPRING     MD    20906
ANNE M WINTERSTEEN & BRUCE D WINTERSTEEN JT      1012 LINDEN AVE                                                                                  CHESTER SPRGS     PA    19425
TEN
ANNE M WRIGHT                                    280 THIRD ST #1                                                                                  JERSEY CITY       NJ    07301
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 202 of 850
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

ANNE MARGARET ARMITAGE & WILLIAM ARMITAGE JT     34 SEAGULL DRIVE                                                                                 LITTLE EGG HARBOR NJ    08087‐1636
TEN
ANNE MARIE ABRASHOFF                             ATTN ANNE M ABRASHOFF KOWATCH           151 DEL RIO DR                                           PITTSBURGH        PA    15236‐2014
ANNE MARIE ALZAPIEDI                             24 FIREHOUSE RD                                                                                  TRUMBULL          CT    06611‐2604
ANNE MARIE ANTHONY WILSON                        2201 ANDOVER RD                                                                                  CINNAMINSON       NJ    08077‐3506
ANNE MARIE ASSUR                                 21 SHAWNEE RD                                                                                    SCARSDALE         NY    10583‐2210
ANNE MARIE BOEHNE OLDHAM                         212‐4TH STREET                                                                                   ENCINITAS         CA    92024‐3247
ANNE MARIE BROWN                                 3404 PINE RIDGE RD                                                                               BIRMINGHAM        AL    35213‐3910
ANNE MARIE BUCKLEY                               1525 OAKMONTE BLVD                                                                               WEBSTER           NY    14580‐7219
ANNE MARIE COMBS & RAYMOND G COMBS JR JT TEN     BOX 583                                                                                          CHAPTICO          MD    20621‐0583

ANNE MARIE E CHOLAK                             777 FAIRWAY DRIVE                        #727                                                     COPPELL           TX    75019
ANNE MARIE ECKMAN                               5337 BIGGER RD                                                                                    KETTERING         OH    45440‐2608
ANNE MARIE GALLETTA                             94 CASPER CT                                                                                      PT CHESTER        NY    10573‐3150
ANNE MARIE GARTI                                PO BOX 249                                                                                        DELHI             NY    13753‐0249
ANNE MARIE GINISO CUST JAMES CHRISTOPHER GINISO 523 MANCHESTER RD                                                                                 YORKTOWN          NY    10598‐1205
UGMA NY                                                                                                                                           HEIGHTS
ANNE MARIE GINISO CUST KRISTEN NOEL GINISO UGMA 523 MANCHESTER RD                                                                                 YORKTOWN          NY    10598‐1205
NY                                                                                                                                                HEIGHTS
ANNE MARIE GRBIC                                2906 WISCONSIN AVE                                                                                BERWYN            IL    60402‐2947
ANNE MARIE KEARNEY                              PO BOX 881                                                                                        GRAPEVINE         TX    76099
ANNE MARIE KEATING & BERNARD KEATING JT TEN     10 GRIFFEN PL                                                                                     YORKTOWN HTS      NY    10598

ANNE MARIE KOSSOWSKI                             35 LONGWOOD RD                                                                                   MASPHEE           MA    02649‐2847
ANNE MARIE LATTIN                                707 INGLESIDE PL                                                                                 EVANSTON          IL    60201‐1709
ANNE MARIE LEONARD                               339 DEBORAH                                                                                      CONVERSE          TX    78109‐1521
ANNE MARIE LUBERSKI                              7340 COLCHESTER LANE                                                                             WEST BLOOMFIELD   MI    48322‐3187

ANNE MARIE MERFELD                               9311 ROYAL OAK DR                                                                                ALEXANDRIA        KY    41001‐9067
ANNE MARIE MERSEREAU                             115 ARLINGTON AVE                                                                                JERSEY CITY       NJ    07305‐4303
ANNE MARIE O'BRIEN CUST PATRICIA ANN O'BRIEN     12821 JACKSON ST                                                                                 OMAHA             NE    68154‐2934
UGMA NE
ANNE MARIE P SMARRA                              402 SOUTH SHORE RD                                                                               ABSECON           NJ    08201‐2725
ANNE MARIE PETROKUBI                             PO BOX 1772                                                                                      TAOS              NM    87571‐1772
ANNE MARIE RANNEY                                1849 KIESER RIDGE RD                                                                             CHARLOTTESVILLE   VA    22911‐8344

ANNE MARIE RUFO                                  523 MANCHESTER RD                                                                                YORKTOWN          NY    10598‐1205
                                                                                                                                                  HEIGHTS
ANNE MARIE SCHULTZ                               5427 CHARLESTON AVE                                                                              TAVARES           FL    32778‐9279
ANNE MARIE SONDEK                                2260 LONG ROAD                                                                                   GRAND ISLAND      NY    14072‐1357
ANNE MARIE STANTON                               71 SHORT ST                                                                                      SOUTH EASTON      MA    02375‐1018
ANNE MARIE VASSALLO                              9433 OLD COURTHOUSE RD                                                                           VIENNA            VA    22182‐2052
ANNE MARIE VILLENEUVE                            24166 CRANBROOK DR                                                                               NOVI              MI    48375‐3672
ANNE MARIE WILLIAMS                              5319 NORTH KENMORE RD                                                                            INDIANAPOLIS      IN    46226‐1660
ANNE MARKO                                       61 HAMPTON PKWY                                                                                  KENMORE           NY    14217‐1217
ANNE MARRIOTT STEWART                            86 SUNSET DR                                                                                     CARLISLE          PA    17013‐2125
ANNE MARY CONNER                                 111 CROCKETT DRIVE                                                                               QUINCY            MI    49082‐8537
ANNE MATANIN & JAMES MATANIN JT TEN              119 E CENTRAL AVE                                                                                WHARTON           NJ    07885‐2136
ANNE MC ALLISTER LA BOON                         PO BOX 854                                                                                       SOUTHEASTERN      PA    19399‐0854
ANNE MC KEE SITES                                5202 HOGAN LN                                                                                    WINTER HAVEN      FL    33884‐3600
ANNE MCGEE CUST CLAIRE E MCGEE UNDER THE OH      11 DOVE DR                                                                                       ATHENS            OH    45701
TRAN MIN ACT
ANNE MCGEE CUST SAMUEL E MCGEE UNDER THE OH      11 DOVE DR                                                                                       ATHENS            OH    45701
TRAN MIN ACT
ANNE MCNAMARA CUST KEVIN GERARD MCNAMARA         17612 CHARITY LANE                                                                               GERMANTOWN        MD    20874‐2962
UGMA MD
ANNE MICHELE BARKER                              32415 LAKE BARLEE LANE                                                                           FREMONT           CA    94555‐1029
ANNE MICHELE EAGAN                               90 SMITH ROAD                                                                                    MARGARETVILLE     NY    12455
ANNE MOELLER                                     PO BOX 71                                                                                        CLIO              MI    48420‐0071
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 203 of 850
Name                                           Address1                             Address2             Address3          Address4          City              State Zip

ANNE MORGAN BOWLING                            P O 684                                                                                       HARLETON       TX       75651‐0684
ANNE MURPHY                                    PO BOX 208                                                                                    SOUTH EGREMONT MA       01258‐0208

ANNE N SPRAGUE                                 350 MAHAN DENMAN NW RD                                                                        BRISTOLVILLE      OH    44402‐9735
ANNE NEMETZ CARLSON CUST LINCOLN NEMETZ        259 LUCE                                                                                      WILLIAMSTOWN      MA    01267‐2920
CARLSON UTMA MA
ANNE O CULLER                                  108 LITTLE RIDGE RD                                                                           DULUTH            GA    30096‐3046
ANNE O SHIELS & ROBERT SHIELS JT TEN           67 HIGHLAND AVENUE                   ST CATHERINES ON                       L2R 4H9 CANADA
ANNE O TROMBLY & KATHERINE T ALLEN JT TEN      1254 JASMINE WAY                                                                              CLEARWATER        FL    33756‐4289
ANNE O TROMBLY & RUSSELL H TROMBLY JT TEN      1254 JASMINE WAY                                                                              CLEARWATER        FL    33756‐4289
ANNE OLSEN & GINNVOR E BULLARD JT TEN          PO BOX109                                                                                     NASHVILLE         IN    47448‐0109
ANNE ORDING & LORRAINE ORDING JT TEN           1425 TAYLOR STREET #305                                                                       SAN FRANCISCO     CA    94133‐4747
ANNE P BOLL                                    707 BELMARK CT                                                                                SAN ANTONIO       TX    78258‐2505
ANNE P FISCHER                                 733 W SMOKE TREE RD                                                                           GILBERT           AZ    85233‐6836
ANNE P FRASER                                  16 QUINCY AVENUE                                                                              NORWOOD           MA    02062‐3147
ANNE P HOWELL TR UA 09/22/2005 ANNE P HOWELL   2743 CARISBROOK DR                                                                            OAKLAND           CA    94611
REV TRUST
ANNE P MARBLESTONE                             38W245 PARS PATH                                                                              ELGIN             IL    60124‐8433
ANNE P MEISCH                                  26 SLAY BACK DR                                                                               PRINCETON JT      NJ    08550‐1906
ANNE P NISSIM                                  7 CHERYL LN                                                                                   CLARKSBURG        NJ    08510‐1614
ANNE P RICH                                    26 RICH RD                                                                                    COLUMBIA          NJ    07832‐2408
ANNE P RIZZO                                   717 45TH ST                                                                                   SARASOTA          FL    34234‐4515
ANNE P SHERMAN                                 7665 SWAMP RD                                                                                 BERGEN            NY    14416
ANNE P STALLINGS                               4330 CASCADE RD SW                                                                            ATLANTA           GA    30331‐7248
ANNE P SWEIKOWSKY                              296 AVIUM LN                                                                                  CANTON            MI    48187
ANNE P WERNER                                  4201 CATHEDRAL AVE NW1014 E                                                                   WASHINGTON        DC    20016‐4901
ANNE PAGLIA                                    114 VALLEY ROAD                                                                               KATONAH           NY    10536‐1706
ANNE PALYS                                     36 SANDALWOOD DR                                                                              EDISON            NJ    08820‐1249
ANNE PANKO                                     C/O LORRAINE DINAN                   109 LUKE ST                                              SOUTH AMBOY       NJ    08879‐2237
ANNE PAPPAS                                    519 SOUTH LAKESHORE DR                                                                        FONTANA           WI    53125
ANNE PAPPAS & JOANNE M SITTERLET & JOHN M      31230 LAHSHER RD                                                                              BEVERLY HILLS     MI    48025‐3631
PAPPAS JT TEN
ANNE PASTORINO TR UA 04/15/1998 CHARLES F      207 DENEEN LANE                                                                               MT PROSPECT       IL    60056
PASTORINO FAMILY B TRUST
ANNE PATTON GORHAM                             4040 TAYLORSVILLE ROAD                                                                        TAYLORSVILLE      KY    40071‐9737
ANNE PAVELKA                                   9 TUDOR CT                                                                                    MARLTON           NJ    08053‐2085
ANNE PETERPAUL                                 21 MARSHALL RD                                                                                HILLSBOROUGH      NJ    08844
ANNE PETLOCK                                   820 WORTHINGTON AVE                                                                           CLAIRTON          PA    15025‐1233
ANNE PEYTON COOPER                             21 BADEAU AVE                                                                                 SUMMIT            NJ    07901‐2130
ANNE PFANDER JEROME                            305 PEARCE                                                                                    WEST MEMPHIS      AR    72301‐2928
ANNE PIETROFESA                                1944 FIRESIDE CT                                                                              CASSELBERRY       FL    32707‐4109
ANNE PILSBURY                                  182 FREEMAN STREET                                                                            BROOKLYN          NY    11222‐1433
ANNE PLANKO                                    2014 BROOKDALE DRIVE                                                                          FORKED RIVER      NJ    08731‐5630
ANNE POLTE CUST MILO J POLTE UGMA PA           2734 WARM SPRINGS RD                                                                          HUNTINGTON        PA    16652‐2839
ANNE PREECE                                    3816 MEADOWBROOK CT                                                                           OWENSBORO         KY    42303‐9659
ANNE PRESTON KIGER                             1106 BLACKSHIRE RD                                                                            WILMINGTON        DE    19805‐2615
ANNE PUGLIESE                                  35 WILSON AVE                                                                                 WATERTOWN         MA    02472‐3318
ANNE Q WARD                                    20 PINE VIEW RD                                                                               WESTBROOK         ME    04092‐4632
ANNE R C O SEEP & HELEN MCCONNELL JT TEN       245 COLD SPRING RD                                                                            BELCHERTOWN       MA    01007‐9559
ANNE R COLEMAN                                 5325 CORRICK LANE                                                                             SANTA ROSA        CA    95409‐3313
ANNE R FEDORONKO & CAROL M BURKE JT TEN        7555 DORWICK DRIVE                                                                            NORTHFIELD        OH    44067‐2632
ANNE R HARTEL                                  17811 COTTONWOOD DRIVE                                                                        MACOMB            MI    48042‐3523
ANNE R HARVEY                                  ATTN ANNE HARVEY COX                 1922 N FREMONT                                           CHICAGO           IL    60614‐5017
ANNE R HEALY                                   BOX 1016                                                                                      RANCHO SANTA FE   CA    92067‐1016

ANNE R JACOBY                                  COUNTRY CLUB DR                                                                               MARIETTA          OH    45750
ANNE R KARPP                                   83 LANCIA DR                                                                                  E NORWICH         NY    11732‐1113
ANNE R KRISHFIELD                              84 CROSS ROAD                                                                                 EAST FALMOUTH     MA    02536‐4945
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 204 of 850
Name                                            Address1                             Address2               Address3        Address4          City             State Zip

ANNE R LEWIS                                    556 GULF RD                                                                                   MIDDLETOWN       VT    05757‐4280
                                                                                                                                              SPRINGS
ANNE R MITCHELL & MARIE A KUNZ JT TEN           9012 MENARD AVENUE                                                                            MORTON GROVE     IL    60053‐2465
ANNE R PALMISANO                                922 GAHLE RD                                                                                  WESTMINSTER      MD    21157‐6314
ANNE R PANGBORN                                 2034 STANHOPE ST                                                                              GROSSE POINTE    MI    48236‐1906
                                                                                                                                              WOOD
ANNE R ROTHBERG & BETTI ROTHBERG JT TEN         6223 COSTELLO AVE                                                                             VAN NUYS         CA    91401‐2251
ANNE R ZMORA                                    9416 S AVERS                                                                                  EVERGREEN PARK   IL    60805‐2007
ANNE REDMAN                                     26 SCHOOL ST                                                                                  LANCASTER        NY    14086‐2213
ANNE RIINA & HOWARD RIINA JT TEN                125 BIRCHALL DR                                                                               SCARSDALE        NY    10583‐4504
ANNE ROBBINS & JOYCE MC CANDLESS JT TEN         2054 DEPINTO AVE                                                                              HENDERSON        NV    89052‐6983
ANNE ROBERTS & ROBIN L ROBERTS JT TEN           198 ALBEMARLE STREET                                                                          SPRINGFIELD      MA    01109‐3213
ANNE ROTHENBERG & ELAINE H PIKULIK JT TEN       226‐55 76TH RD                                                                                BAYSIDE          NY    11364‐3139
ANNE S FOOTE TR ANNE S FOOTE REVOCABLE TRUST UA 1120 NORSAM ROAD                                                                              GLADWYNE         PA    19035‐1420
05/24/06
ANNE S HINTLIAN                                 137 8TH AVE                          #3                                                       HAVERHILL        MA    01830‐3907
ANNE S LEWIS                                    3612 BRIDLE PATH                                                                              AUSTIN           TX    78703‐2647
ANNE S MEADVIN                                  5100 HIGHBRIDGE ST                   APT 34D                                                  FAYETTEVILLE     NY    13066‐2454
ANNE S MOGEL                                    8309 MICHAEL RD                                                                               RICHMOND         VA    23229‐4137
ANNE S MUNN                                     117 ACADIAN LN                                                                                MANDEVILLE       LA    70471‐1789
ANNE S NIFONG                                   206 PICCADILLY DRIVE                                                                          WINSTON‐SALEM    NC    27104‐3528
ANNE S PALMA                                    3 CEBOLLA LOOP                                                                                JEMEZ SPRINGS    NM    87025
ANNE S REESE                                    9 WILLING WAY                                                                                 WILMINGTON       DE    19807‐3129
ANNE S RETTIG                                   231 VIKING DR                                                                                 EL PASO          TX    79912‐3827
ANNE S ZETTS                                    4601 SPALDING DR                                                                              DUMFRIES         VA    22026‐1323
ANNE SANFILIPPO                                 161 BARBARA STREET                                                                            STATEN ISLAND    NY    10306‐1829
ANNE SAWYER                                     1224 GREENE ST                                                                                GARY             IN    46403‐3856
ANNE SCHABERG & BUREL SCHABERG JT TEN           6112 MEADOW BROOK DR                                                                          FORT SMITH       AR    72916‐9040
ANNE SCHUCHAT                                   785‐6 HOUSTON MILL RD                                                                         ATLANTA          GA    30329‐4229
ANNE SCHULTZ                                    ATTN ANNE PLANKO                     2014 BROOKDALE DRIVE                                     FORKED RIVER     NJ    08731‐5630
ANNE SCHULTZE                                   3312 PINE VILLA CT                                                                            GRAND BLANC      MI    48439‐7938
ANNE SCHUSTER                                   PO BOX 201                                                                                    HAZLET           NJ    07730‐0201
ANNE SCIARRA                                    832 N 6TH ST                         UNIT 401                                                 SHEBOYGAN        WI    53081‐4198
ANNE SCOTT HACKMAN                              2335 MARENGO RD                                                                               WARRIORS MARK    PA    16877‐6803
ANNE SCULTZ & WALTER PAGE JT TEN                236 37 LAWRENCE                                                                               DEARBORN         MI    48128
ANNE SERGI                                      12 MOON ST                                                                                    BOSTON           MA    02113‐2041
ANNE SILVER                                     6910 AVENUE U                        APT 6B                                                   BROOKLYN         NY    11234‐6131
ANNE SIMS MANASERI                              7021 AKRON RD                                                                                 LOCKPORT         NY    14094‐6203
ANNE SINGLETON MARCHAND                         11731 NORGROVE LANE                                                                           ROSSMOOR         CA    90720‐4218
ANNE SLUPE TECKEMEYER                           33914 STATE HWY 87                                                                            FRAZEE           MN    56544‐8500
ANNE SMITH HASSON                               9835 SW VIEW CT                                                                               TIGARD           OR    97224‐4966
ANNE SPIDER TOD DEBORAH MARIE SPIDER SUBJECT TO 7258 RIDGE RD                                                                                 PARMA            OH    44129‐6636
STA TOD RULES
ANNE SPISELMAN                                  810 N NOBLE ST REAR                                                                           CHICAGO          IL    60642
ANNE STAUDT & JOHN STAUDT JT TEN                78 SILBER AVE                                                                                 BETHPAGE         NY    11714‐1321
ANNE STUBBS                                     163 WATERBURY CRESCENT               PORT PERRY ON                          L9L 1S3 CANADA
ANNE SUTHON LAIRD                               1663 VALMONT ST                                                                               NEW ORLEANS      LA    70115‐4944
ANNE SWEENEY HACKETT                            16 MORNING MARSH RD                                                                           SAVANNAH         GA    31411‐2203
ANNE T ARMOCK                                   1476 EMMA CT S W                                                                              WYOMING          MI    49509‐4392
ANNE T ARNESANI & LISA A JOHNSON & NANCY L      9 HERITAGE LN                                                                                 LYNNFIELD        MA    01940‐2506
ARNESANI JT TEN
ANNE T CHRISTENSEN TR CHRISTENSEN TRUST UA      17300 N 88TH AVE APT 318                                                                      PEORIA           AZ    85382‐3507
07/21/95
ANNE T COFFMAN                                  1461 FORD                                                                                     LINCOLN PK       MI    48146‐3958
ANNE T DONNELLY                                 12150 KELLY SANDS WAY                UNIT 629                                                 FORT MYERS       FL    33908‐5939
ANNE T ENGLISH                                  99 HARLAND RD                                                                                 NORWICH          CT    06360‐2430
ANNE T HUBER                                    4733 WEST ST                                                                                  WHITEHALL        PA    18052‐1920
ANNE T LARIN                                    3725 GLAZIER WAY                                                                              ANN ARBOR        MI    48105‐3024
ANNE T MANZO & JOHN M MANZO JT TEN              7949 BRIDGE VALLEY DRIVE                                                                      CLARKSTON        MI    48348‐4350
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                      Part 1 of 8 Pg 205 of 850
Name                                             Address1                              Address2                Address3               Address4          City             State Zip

ANNE T MC CALLUM & BARBARA J STRALEY JT TEN     40 VERO DR                                                                                              POUGHKEEPSIE     NY    12603‐6616
ANNE T MC CALLUM & KAREN A HANSEN JT TEN        40 VERO DR                                                                                              POUGHKEEPSIE     NY    12603‐6616
ANNE T MORDECZKO                                3511 CAREY RD                                                                                           PHILADELPHIA     PA    19154‐4008
ANNE T PRICE & GEORGE L PRICE JT TEN            1205 MIXON AVENUE                                                                                       BAY MINETTE      AL    36507‐5112
ANNE T VAUGHAN                                  166 FAIRVIEW AVE                                                                                        HIGH BRIDGE      NJ    08829‐1213
ANNE T WILLIAMSON                               1215 GROVENBURG RD                                                                                      HOLT             MI    48842‐8612
ANNE TERESA COURTNEY                            5408 MARSHALL AVE                                                                                       VENTNOR CITY     NJ    08406‐1403
ANNE TERESA WENDELL CUST LINDSAY RENEE WENDELL 840 TANGLEWOOD                                                                                           EAST LANSING     MI    48823‐2174
UGMA MI
ANNE TERESE COLAO                               20 VANDERBILT DR                                                                                        LAKE SUCCESS     NY    11020‐1117
ANNE THERESE CUOMO                              1961 ASHFORD DR                                                                                         PLOVER           WI    54467‐3047
ANNE TOPALU NIXON                               601 SUMATRA AVE                                                                                         AKRON            OH    44305‐1925
ANNE TROISE                                     60 CARTIER ST APT 503                  OTTAWA ON                                      K2P 2E1 CANADA
ANNE V FERGUSON                                 645 KING'S MILL ROAD                                                                                    DANVILLE         KY    40422‐8874
ANNE V HALL                                     3 MOHICAN TRAIL                                                                                         OAK RIDGE        NJ    07438‐9350
ANNE V PETHIA TR HELEN I PETHIA REVOCABLE TRUST 7312 BRAEWOOD DR                                                                                        INDEPENDENCE     OH    44131‐5550
UA 09/19/05
ANNE V SAWICKI                                  35767 HATHERLY PL                                                                                       STERLING HTS     MI    48310‐5144
ANNE V THALLMAN                                 565 PEACHTREE ST NE                    UNIT 1302                                                        ATLANTA          GA    30308‐2276
ANNE V V WEBB                                   227 BAKERVILLE RD                                                                                       SOUTH            MA    02748‐1175
                                                                                                                                                        DARTMOUTH
ANNE VANEETA HAMILTON                            3800 N FAIRFAX DR                     UNIT 404                                                         ARLINGTON        VA    22203‐1787
ANNE VIRGINIA POWER                              14 VIRGINIA RD                                                                                         WALTHAM          MA    02453‐1546
ANNE VROOM & WILLIAM VROOM JT TEN                32 GROVER AVE                                                                                          SOUTH AMBOY      NJ    08879‐1946
ANNE W AREY                                      589 QUAKER RIDGE CT                                                                                    ARNOLD           MD    21012‐2626
ANNE W BRISTOL                                   1605 OAK OPENINGS RD                                                                                   AVON             NY    14414‐9515
ANNE W CORL & DENNIS P CORL & RONALD H CORL JT   6210 CHERYL DRIVE                                                                                      FALLS CHURCH     VA    22044‐1803
TEN
ANNE W HOURIGAN                                  490 OAK LN                                                                                             MOUNTAINTOP      PA    18707‐1761
ANNE W HUMMER & ROBERT W HORLEY JR TR JANE W     28 WINGSTONE LN                                                                                        DEVON            PA    19333‐1651
HUMMER TRUST UA 12/20/90
ANNE W KOHLBECKER                                73 PARKER AVE                                                                                          LITTLE SILVER    NJ    07739‐1534
ANNE W MC DOUGALL                                965 LINDEN DR                                                                                          SANTA CLARA      CA    95050‐6110
ANNE W OSBORN                                    ATTN ANNE W PORTO                     3 PATRICK LANE                                                   BRANFORD         CT    06405‐6136
ANNE W OSTERHOUDT                                BRITTANY POINTE                       ESTATES APT 119         1001 VALLEY FORGE RD                     LANDSDALE        PA    19446‐6502
ANNE W RICHIE                                    2855 CARLSBAD BLVD N213                                                                                CARLSBAD         CA    92008‐2902
ANNE W VINICOMBE TR UA 10/08/91 ANNE W           704 N MAIN ST                                                                                          WOLFEBORO        NH    03894‐4316
VINNICOMBE 1991 TRUST
ANNE W WARNER & CHARLES ROBERT WARNER JT TEN     6200 WESTCHESTER PARK DR              APT 1216                                                         COLLEGE PARK     MD    20740‐2841

ANNE W WRIGHT CUST JOHN T MC MANUS UGMA MI       118 RINGWOOD RD                                                                                        ROSEMONT         PA    19010‐2714

ANNE W ZITTELL                                   PO BOX 307                                                                                             NORTH CHATHAM    NY    12132‐0307
ANNE WEIER                                       815 MULHOLLEN DR                                                                                       MONROE           MI    48161‐1839
ANNE WENDLANT HASSELLE                           BOX 787                                                                                                TUNICA           MS    38676‐0787
ANNE WEYMAN                                      1662 PRINCETON AVE                                                                                     SALT LAKE CITY   UT    84105‐1738
ANNE WILLIAMS & DENNIS WILLIAMS JT TEN           116 LANTANA DRIVE                                                                                      KENNET SQ        PA    19348
ANNE WISE KAPPEL                                 1607 WINDYBUSH ROAD                                                                                    WILMINGTON       DE    19810‐4423
ANNE WL SHAW                                     4‐5 FOXWOOD DR                                                                                         PLEASANTVILLE    NY    10570‐1629
ANNE WOLF & MAUREEN WOLF JT TEN                  5455 NORTH SHERIDAN RD                APT 1501                                                         CHICAGO          IL    60640‐7427
ANNE Y GURBEL                                    108 ST ALBANS WAY                                                                                      BALTIMORE        MD    21212‐3331
ANNE YERPE KAVCIC                                HOFWIESSTR 14                         CH‐5420 EHRENDINGEN                            SWITZERLAND
ANNE Z MORMAN                                    546 S DELRIDGE DR                                                                                      CINCINNATI       OH    45238‐5510
ANNE‐MARIE CAMPSEN                               1 DORIS DR                                                                                             SCARSDALE        NY    10583‐2711
ANNE‐MARIE EHRET                                 6713 HASTINGS ST                                                                                       METAIRIE         LA    70003‐3024
ANNELIESE BRYANT                                 4473 WOODNER ROAD                                                                                      KETTERING        OH    45440‐1222
ANNELIESE KOONTZ                                 1810 HUNTERS COVE CIR                                                                                  KOKOMO           IN    46902
ANNELIESE KUHN                                   HAARHOLZER STR 19                     4630 BOCHUM 1 STIEPEL                          GERMANY
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 206 of 850
Name                                             Address1                             Address2             Address3          Address4          City             State Zip

ANNELIESE WILLIAMS TR A&K WILLIAMS TRUST UA      906 WEST ST                                                                                   HOLLISTER        CA    95023‐4621
08/13/96
ANNELIESE ZIMMER & BARBARA ZIMMER JT TEN         12 ANN ST                                                                                     NORWICH          CT    06360
ANNELLA S WOLF & DWIGHT M WOLF JT TEN            2735 ATER DR                                                                                  BEAVERCREEK      OH    45434‐6501
ANNELLAJO M SHARPE & LAWRENCE R SHARPE JT TEN    6429 GARLAND CIRCLE                                                                           NORFOLK          VA    23509‐1604

ANNEMARIE FRANCIS                                2 COLUMBIA AVE                                                                                VILLAS           NJ    08251
ANNEMARIE SAFFORD                                7606 PALMILLA DRIVE #37                                                                       SAN DIEGO        CA    92122‐5025
ANNEMARIE SCHENCK                                34 MAMMOTH RD                        UNIT 27                                                  HOOKSETT         NH    03106‐1114
ANNER L COOPERWOOD                               1427 GIDDINGS AVE SE                                                                          GRAND RAPIDS     MI    49507‐2220
ANNEROSE LANGAN                                  1369 CLARKE RD                                                                                ROSLYN           PA    19001‐2801
ANNESLEY C SWICKER EX UW HELEN CHASE             454 BEECHWOOD PL                                                                              WESTFIELD        NJ    07090‐3202
ANNETIA B RANKIN                                 12221 WESTCREEK CT                                                                            INDIANAPOLIS     IN    46236‐9280
ANNETIA B RANKIN & RONALD L RANKIN JT TEN        12221 WESTCREEK CT                                                                            INDIANAPOLIS     IN    46236‐9280
ANNETTA B PLATTE & GREGORY S PLATTE & THOMAS R   1150 FOURTH AVE                                                                               ELIZABETH        PA    15037‐1018
PLATTE JT TEN
ANNETTA F EDWARDS                                4533 STEPHEN CR NW APT 310                                                                    CANTON           OH    44718‐3627
ANNETTA I DISHNER                                1921 S MARKET ST                                                                              KOKOMO           IN    46902‐2230
ANNETTA K KRONZ                                  12413 ALEXANDER CORNELL DR                                                                    FAIRFAX          VA    22033‐2415
ANNETTA P BUGG                                   125 N THOMAS ST                                                                               SOUTH HILL       VA    23970‐1817
ANNETTA R TOBIAS                                 14167 SWANEE BEACH                                                                            FENTON           MI    48430‐3249
ANNETTE A AYRES                                  PO BOX 697                                                                                    SPRINGHILL       TN    37174‐0697
ANNETTE A MURGES                                 APT 6‐C                              150 W 82ND ST                                            NEW YORK         NY    10024‐7307
ANNETTE ALEX                                     135 BAYVIEW AVENUE                                                                            BELVEDERE        CA    94920
ANNETTE B COORTS                                 1495 BARNES DR                                                                                COOKEVILLE       TN    38501
ANNETTE B HAMMONS                                12009 BROWNS FERRY RD                                                                         ATHENS           AL    35611‐6805
ANNETTE B HOLLAND                                PO BOX 394                                                                                    WOOD DALE        IL    60191‐0394
ANNETTE B LYONS                                  400 NIX ST                                                                                    HARTSELLE        AL    35640‐1650
ANNETTE B NADBOY                                 753 WILDWOOD RD                                                                               WEST HEMPSTEAD   NY    11552‐3413

ANNETTE BAKER FOX                                 18 LAKE DRIVE                                                                                RIVERSIDE        CT    06878‐2035
ANNETTE BARGAINEER                                12626 SAINT MARYS ST                                                                         DETROIT          MI    48227‐1247
ANNETTE BASRI                                     1595 N LAKE DRIVE                                                                            LAKEWOOD         NJ    08701‐1542
ANNETTE BENNETT FARRIS                            22092 DOVER BRIDGE RD                                                                        PRESTON          MD    21655‐2201
ANNETTE BERRA & JAMES A BERRA JT TEN              5337 GREENDALE                                                                               TROY             MI    48098‐3477
ANNETTE BLACK                                     12739 VASOLD RD                                                                              FREELAND         MI    48623‐9291
ANNETTE BLANKS                                    18684 LINDSAY ST                                                                             DETROIT          MI    48235‐3053
ANNETTE BRONKESH                                  23 VIRGINIA AVE                                                                              CLINTON          NJ    07012‐1222
ANNETTE BURNEY                                    2222 PEPPERIDGE DR                                                                           AUGUSTA          GA    30906‐8997
ANNETTE BURNS                                     19377 REVERE ST                                                                              DETROIT          MI    48234‐1709
ANNETTE C MOOERS                                  147 ROGERS ST                                                                                LOWELL           MA    01852‐3632
ANNETTE C RANDALL                                 4122 CREEKWOOD CIRCLE                                                                        BAY CITY         MI    48706
ANNETTE CARD                                      19762 TRACEY STREET                                                                          DETROIT          MI    48235‐1527
ANNETTE CONFORTI                                  3400 PEBBLES BEACH DR                                                                        WILMINGTON       DE    19808‐2617
ANNETTE COOK FISHER & CHRISTOPHER J FISHER JT TEN BOX 45                                                                                       FOXBORO          MA    02035‐0045

ANNETTE CUSENZA                                  562 BALLANTYNE ROAD                                                                           GROSSE PTE SH   MI     48236‐2646
ANNETTE D BELL                                   7290 HIGHVIEW TRAIL                                                                           VICTOR          NY     14564‐9773
ANNETTE D GUMBRECHT                              1215 THOMAS DR                                                                                FORT WASHINGTON PA     19034‐1646

ANNETTE D MCCORMICK                              2382 BRALEY RD                                                                                RANSOMVILLE      NY    14131‐9606
ANNETTE D PALMS                                  3304 NORWOOD HILLS RD                                                                         AUSTIN           TX    78723‐5432
ANNETTE D WILLIAMS                               7450 RADFORD TRAIL                                                                            SAN ANTONIO      TX    78244‐2232
ANNETTE D YOUNG                                  7146 PENNSYLVANIA                                                                             KANSAS CITY      MO    64114‐1317
ANNETTE DESOUSA CUST JOSHUA F DESOUSA UTMA CA    629 ROBIN DR                                                                                  SANTA CLARA      CA    95050‐6943

ANNETTE E ZECHMAN                                11150 OLD MILL RD                                                                             SPENCER          OH    44275‐9536
ANNETTE ELAINE JONES                             48712 MEADOW DR                                                                               PLYMOUTH         MI    48170‐3260
ANNETTE ELIZABETH CRAWFORD                       929 VAN LEER DR                                                                               NASHVILLE        TN    37220‐1147
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                      Part 1 of 8 Pg 207 of 850
Name                                             Address1                              Address2                    Address3            Address4          City               State Zip

ANNETTE F BENNETT                              25 HAMMOND ST                           APT 1013                                                          ROXBURY XING       MA    02120‐2320
ANNETTE F COLOGIE                              1712 JOSHUA TREE CRT                                                                                      LAS VEGAS          NV    89108‐2584
ANNETTE F MATTHEWS                             7104 SPRINGRIDGE ROAD                                                                                     W BLOOMFIELD       MI    48322‐4158
ANNETTE FARKAS                                 675 MARKLEY ROAD                                                                                          LONDON             OH    43140‐8709
ANNETTE FISHER                                 5790 DENLINGER RD                                                                                         DAYTON             OH    45426‐1898
ANNETTE G BIRD                                 2831 BIG OAKS DR                                                                                          GARLAND            TX    75044‐7449
ANNETTE G DIXON                                7290 HIGHVIEW TRL                                                                                         VICTOR             NY    14564‐9773
ANNETTE G FELIX                                136 CENTRAL AVE                                                                                           WEST TRENTON       NJ    08628‐2905
ANNETTE G WHITTEN                              960 RICHMOND HILL DRIVE                                                                                   MARIETTA           GA    30068‐4441
ANNETTE GAVENS                                 22 BERWYN RD                                                                                              WEST HARTFORD      CT    06107‐1104
ANNETTE H COLES                                872 SINGLETON RIDGE RD                  RM 303                                                            CONWAY             SC    29526‐1102
ANNETTE H UITZ                                 3424 S 38TH ST                                                                                            MILWAUKEE          WI    53215‐4013
ANNETTE HARRIS                                 9253 EDMUNDS AVE                                                                                          CLEVELAND          OH    44106‐1513
ANNETTE HUTCHINS CUST ELLIOT JAY HUTCHINS UTMA 922 WATERFALL LN                                                                                          DURANGO            CO    81301
CO
ANNETTE I BURKE & CHARLES L BURKE JT TEN       72 GLEASON RD                                                                                             READING            MA    01867
ANNETTE I CAVENDER                             630 ALAMO HTS BLVD                                                                                        SAN ANTONIO        TX    78209‐4507
ANNETTE J FULLBRIGHT                           612 KAMPMANN BLVD                                                                                         SAN ANTONIO        TX    78201
ANNETTE J HUHN                                 2002 HANEY ROAD                                                                                           STROUDSBURG        PA    18360‐9407
ANNETTE J HUHN & CHARLES R HUHN JT TEN         2002 HANEY ROAD                                                                                           STROUDSBURG        PA    18360‐9407
ANNETTE J LEAGUE & JERRY L LEAGUE JT TEN       391 COUNTY ROAD 658                                                                                       HANCEVILLE         AL    35077
ANNETTE J ROSE                                 27103 TRINITY HTS                                                                                         SAN ANTONIO        TX    78261‐2430
ANNETTE J WALLRATH                             1503 BRAEMAR DRIVE                                                                                        TRAVERSE CITY      MI    49686‐9217
ANNETTE JILES                                  219 KNOX CREEK TRAIL                                                                                      MADISON            AL    35757
ANNETTE JONES                                  1828 MIDVALE DRIVE                                                                                        SAN DIEGO          CA    92105‐5616
ANNETTE K SMITH                                16503 CYPRESS CT                                                                                          NORTHVILLE         MI    48168‐4408
ANNETTE KAISERMAN                              VEGAS TOWERS                            1065 EAST FLAMINGO RD APT   207                                   LAS VEGAS          NV    89119‐7450
ANNETTE KATZ                                   10250 EAST MOUNTAIN VIEW RD             APT 157                                                           SCOTTSDALE         AZ    85258‐5305
ANNETTE KAY BLAND TR                           UA 01/08/07                             BLAND FAMILY TRUST          13002 HWY 5 SOUTH                     MOUNTAIN HOME      AR    72653

ANNETTE KNOX                                     7621 MATHERLY DR                                                                                        WAKE FOREST        NC    27587‐8767
ANNETTE KURKOWSKI & SHAE MARIE HANHAM JT TEN     9548 SARDIS SCOTTS HILL RD                                                                              SCOTTS HILL        TN    38374

ANNETTE L BAKER                                  C/O ANNETTE L SMITH                   108 BEAR CREEK RD S E                                             EATONTON           GA    31024
ANNETTE L BOICE TR UA 03/27/92 ANNETTE L BOICE   5548 CITATION RD NORTH                                                                                  TOLEDO             OH    43615‐2158

ANNETTE L CAMPBELL                               800 DOLAN ROAD # 8                                                                                      MOSS LANDING       CA    95039‐9708
ANNETTE L FOX                                    6070 POPLAR SPRING DRIVE                                                                                NORCROSS           GA    30092‐1383
ANNETTE L GOLDRAJCH                              106 S UNIVERSITY LOT #2                                                                                 DENVER             CO    80209‐3234
ANNETTE L HARDY                                  1032 TONI DR                                                                                            DAVISON            MI    48423‐2800
ANNETTE L MAGEE                                  15325 BITTERSWEET LANE                                                                                  BROOKFIELD         WI    53005‐2633
ANNETTE L MERCER                                 ATTN ANNETTE M MCCAULYE               506 ANTHONYS DR                                                   EXTON              PA    19341‐2348
ANNETTE L MILLER                                 PO BOX 577                                                                                              SPRING HILL        TN    37174‐0577
ANNETTE L MILLER                                 1300 E KERCHER AVE #A9                                                                                  MYERSTOWN          PA    17067‐2901
ANNETTE L PETZEL                                 2101 WEST CAMBRIDGE AVE                                                                                 PHOENIX            AZ    85009‐1947
ANNETTE L ROE CUST DANIEL GRANT ROE UTMA OR      115 ROGUE RIVER HWY 306                                                                                 GRANTS PASS        OR    97527‐5483

ANNETTE L ROE CUST JAMES ROSS ROE UTMA OR        115 SE ROGUE RIVER HWY 306                                                                              GRANTS PASS        OR    97527‐5483
ANNETTE L ROE CUST LINDSAY ANNETTE‐MARIE         115 ROGUE RIVER HWY 306                                                                                 GRANTS PASS        OR    97527‐5483
BOUQUET UTMA OR
ANNETTE LEA MCCULLOUGH                           1750 NOLAN RD                                                                                           MIDDLEBURG         FL    32068‐3054
ANNETTE LOTT                                     48 FREUND ST                                                                                            BUFFALO            NY    14211‐1920
ANNETTE M AVOLIO & LOUIS F AVOLIO JT TEN         7 FALCON PL                                                                                             WAYNE              NJ    07470‐3505
ANNETTE M BROPHY                                 6 BRIGHAM WAY                                                                                           PENNINGTON         NJ    08534‐1106
ANNETTE M BUSHEY                                 40550 COLONY DRIVE                                                                                      STERLING HTS       MI    48313
ANNETTE M FRIDEY                                 4568 DAFFODIL TRL                                                                                       PLANO              TX    75093‐7227
ANNETTE M GILGENBACH                             11240 N DURKEE RD                                                                                       GRAFTON            OH    44044‐9102
ANNETTE M KELM                                   4939 FLORAMAR TER                     APT 303                                                           NEW PRT RCHY       FL    34652‐3304
ANNETTE M KNUDSON                                1060 FAIRWAY PL                                                                                         N SALT LAKE CITY   UT    84054‐3373
                                           09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                 Part 1 of 8 Pg 208 of 850
Name                                          Address1                            Address2              Address3             Address4          City               State Zip

ANNETTE M KRAUSKI                             2409 ANDOVER BLVD                                                                                ROCHESTER          MI    48306‐4936
ANNETTE M LA ROCQUE                           38136 MURRIETA CREEK DR                                                                          MURRIETA           CA    92562
ANNETTE M LERCEL                              6130 E VERA                                                                                      SIMI VALLEY        CA    93063‐3747
ANNETTE M MARKWALDER                          ATTN ANNETTE M ZWERNER              2895 MEADOWOOD LANE                                          BLOOMFIELD HILLS   MI    48302‐1031

ANNETTE M MCJUNKINS                           ATTN ANNETTE M NADEAU‐BOUCHER       #C                    1150 CANTERBURY CT                     INDIANAPOLIS     IN      46260‐2241
ANNETTE M MORAWSKI                            2587 ORBIT DRIVE                                                                                 LAKE ORION       MI      48360
ANNETTE M OLSEN                               9153 GRANT PARK DR                                                                               ST LOUIS         MO      63123‐1971
ANNETTE M PRIEST                              14437 N VASSAR ROAD                                                                              MILLINGTON       MI      48746‐9205
ANNETTE M ROGERS                              906 WILL SCARLET WAY                                                                             CHESAPEAKE       VA      23322‐7090
ANNETTE M UNGER                               119 MATHEWS ST                                                                                   TAWAS CITY       MI      48763‐9501
ANNETTE M WIKLE                               ATTN ANNETTE W FULTON               4860 E ENON RD                                               YELLOW SPRINGS   OH      45387‐9709
ANNETTE M WILSON & JULIA J WILSON JT TEN      2559 PAYNE E CI                                                                                  COLORADO SPRINGS CO      80916‐2848

ANNETTE M WOOD                                707 PLUM TREE LANE                                                                               HANOVER          PA      17331‐7837
ANNETTE M ZIMMERMAN                           4300 S DUFFIELD RD                                                                               LENNON           MI      48449‐9419
ANNETTE MARIE ATTEBURY‐KENNY                  4653 CHAMBERLAIN DR                                                                              EAST CHINA       MI      48054‐3500
ANNETTE MARIE HAUSER                          PO BOX 1023                                                                                      HAMPTON BAYS     NY      11946‐0303
ANNETTE MARIE THOMAS                          37 ALDRICH RD                                                                                    FAIRPORT         NY      14450‐9586
ANNETTE MC CARLEY RUSHING                     603 BELL AVENUE                                                                                  GREENWOOD        MS      38930‐3201
ANNETTE MCGUIRE                               2742 DEAKE ST                                                                                    ANN ARBOR        MI      48108‐1335
ANNETTE MENKE                                 4214 CINNAMON FERN CT                                                                            SAINT CLOUD      FL      34772‐7744
ANNETTE MILLER                                C/O FALLOWS                         759 S MILLER CT                                              LAKEWOOD         CO      80226‐3932
ANNETTE MYERS                                 2396 ECHO VALLEY DR                                                                              STOW             OH      44224‐2730
ANNETTE N KOGUT                               4901 ONYX LANE 101                                                                               NEW PRT RCHY     FL      34652
ANNETTE O NAVARROBURT                         131 BLAINE AV                                                                                    PONTIAC          MI      48342‐1102
ANNETTE ODOM JONES                            16595 EDINBOROUGH RD                                                                             DETROIT          MI      48219‐4018
ANNETTE OSADA                                 6534 N CHARLESWORTH ST                                                                           DEARBORN HEIGHTS MI      48127

ANNETTE P OLAIZ                               10313 MCGRAW DR                                                                                  OAK CREEK          WI    53154‐6409
ANNETTE P WARREN                              4023 ASHLAND CITY HWY                                                                            NASHVILLE          TN    37218‐2657
ANNETTE PARENTE CUST DANDREA JOY PARENTE UGMA 26 FURMAN AVE                                                                                    E PATCHOGUE        NY    11772‐5522
NY
ANNETTE PARKS                                 206 MICHAEL ST                                                                                   KNOXVILLE          TN    37914‐4287
ANNETTE PATRICIA HUENE                        7429 N VALENTINE RD                                                                              FRESNO             CA    93711‐0643
ANNETTE PERRY ROBERTSON                       3141 WHIDDON MILL ROAD                                                                           TIFTON             GA    31794‐7217
ANNETTE QUINN MERLINO                         PO BOX 65                                                                                        MINERSVILLE        PA    17954‐0065
ANNETTE R FELL                                4101 LONG PRAIRIE ROAD                                                                           FLOWER MOUND       TX    75028‐1567
ANNETTE REISMAN & GEORGE REISMAN JT TEN       155 ROLLING HILL GREEN                                                                           STATEN ISLAND      NY    10312‐1817
ANNETTE S ALBIN & JOHN D ALBIN JT TEN         8 CARDIGAN DR                                                                                    FERGUSON           MO    63135‐1202
ANNETTE S DONOVAN                             4942 SUMMERFORD DRIVE                                                                            DUNWOODY           GA    30338‐4926
ANNETTE S STANDISH                            3314 KEARSLEY LAKE BLVD                                                                          FLINT              MI    48506‐2045
ANNETTE S SYCIP & STEVE PRIBYL JT TEN         545 E JACKSON ST                                                                                 PASADENA           CA    91104‐3622
ANNETTE SHELTON                               7662 EL VINO WAY                                                                                 BUENA PARK         CA    90620‐2514
ANNETTE SMITH & DONALD R SMITH JT TEN         236 59TH ST                                                                                      DOWNERS GROVE      IL    60516‐1503
ANNETTE SOBOCINSKI                            11250 LINDA KAY                                                                                  GOODRICH           MI    48438‐8801
ANNETTE SOFEN                                 6781 SW 75TH TERR                                                                                SOUTH MIAMI        FL    33143‐4507
ANNETTE SWEENEY                               49890 MICHIGAN AVE                                                                               BELLEVILLE         MI    48111
ANNETTE T CLAREY & ROBERT T CLAREY JT TEN     630 EAST DOVER STREET                                                                            MILWAUKEE          WI    53207‐2108
ANNETTE T DRAGOTTA                            23 LADIK PLACE                                                                                   MONTVALE           NJ    07645‐1405
ANNETTE T LUONGO                              787 BRYN MAWR CT                                                                                 MOUNTAIN VIEW      CA    94043‐2672
ANNETTE T ROBART                              22485 NANCY AVE                                                                                  SOUTHFIELD         MI    48033‐6731
ANNETTE TEICHNER                              245‐20 GRAND CENTRAL PARKWAY 6C                                                                  BELLEROSE          NY    11426‐2751
ANNETTE W GARBETT                             919 BEATRICE PARKWAY                                                                             EDISON             NJ    08820‐1743
ANNETTE WALKER                                9811 MANITOU BEACH DR NE                                                                         BAINBRIDGE IS      WA    98110‐3363
ANNETTE WALL                                  APT F                               2330 LINWOOD AVE                                             FORT LEE           NJ    07024‐3814
ANNETTE WERNER                                685 CUNNINGHAM LN                                                                                EL CAJON           CA    92019‐3504
ANNETTE WOODRING                              1556 HESS LAKE DR                                                                                GRANT              MI    49327‐9395
ANNI M PERRY                                  1321 N HAWTHORNE LANE                                                                            INDIANAPOLIS       IN    46219‐2943
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                    Part 1 of 8 Pg 209 of 850
Name                                            Address1                             Address2                 Address3       Address4              City               State Zip

ANNIBALE MARIANETTI                            WESLEY GARDENS                        ROOM 218                 3 UPTON PARK                         ROCHESTER          NY    14607‐1500
ANNICE R OVERALL CUST ANDREW S OVERALL UTMA TN 2561 SUNNY GLADE CV                                                                                 MEMPHIS            TN    38133‐5049

ANNIE A CRADDOCK                                1215 CRADDOCK RD                                                                                   LAWSONVILLE        NC    27022‐7602
ANNIE A FOSTER                                  1029 HWY EE                                                                                        WINFIELD           MO    63389‐2105
ANNIE A HARRINGTON                              17912 3RD CALLYAN‐LOFTY HAVEN                                                                      BARRYTON           MI    49305‐9575
ANNIE A NICHOLS TR ANNIE A NICHOLS TRUST UA     11435 FAIRLANE DR                                                                                  SOUTH LYON         MI    48178‐8602
11/27/95
ANNIE A TUNG                                    445 LONE PINE                                                                                      BLOOMFIELD HILLS   MI    48304

ANNIE ASHFORD & KENNETH ROGERS JT TEN           1333 N 13TH ST                                                                                     EAST SAINT LOUIS   IL    62205‐2910
ANNIE AVENT                                     2012 MEADOW CREST WAY                                                                              VIRGINIA BEACH     VA    23456‐1254
ANNIE B BEVERLY & DOUGLAS S BEVERLY JT TEN      2821 4TH                                                                                           WYANDOTTE          MI    48192‐5809
ANNIE B BROWN & CHARLES R BROWN JT TEN          16844 N ALLIS HWY                                                                                  ONAWAY             MI    49765‐8998
ANNIE B BROWN & FREDERICK JOSEPH BROWN JT TEN   16844 N ALLIS HWY                                                                                  ONAWAY             MI    49765‐8998

ANNIE B BROWN & HELEN M HOUSER JT TEN           16844 N ALLIS HWY                                                                                  ONAWAY             MI    49765‐8998
ANNIE B CAESAR                                  3911 CONE CT                                                                                       DAYTON             OH    45408‐2313
ANNIE B HURLEY                                  17 BRANDYWINE FALLS                                                                                WILMINGTON         DE    19806
ANNIE B SESSIONS                                123 E 39TH ST                                                                                      BROOKLYN           NY    11203‐2902
ANNIE B THOMPSON                                29 YELLOWSTONE                                                                                     W HENRIETTA        NY    14586‐9706
ANNIE B WOODFORK                                3426 SUMTER PL                                                                                     DECATUR            GA    30034‐1846
ANNIE BELL SCOTT                                300 RIVERFRONT PARK                  APT 151                                                       DETROIT            MI    48226‐4517
ANNIE BURROUGHS                                 122‐06 IRWIN PLACE                                                                                 ST ALBANS          NY    11434‐1910
ANNIE C CAMPBELL                                900 COLES FERRY PIKE                 APT 108                                                       LEBANON            TN    37087‐5673
ANNIE C COURSE                                  1162 ARBOR VISTA BLVD                                                                              JACKSON            MS    39209‐7136
ANNIE C FLETCHER                                4412 ALHAMBRA DR                                                                                   ANDERSON           IN    46013‐2541
ANNIE C GISSENTANNER                            18645 PRAIRIE                                                                                      DETROIT            MI    48221‐2133
ANNIE C MOORE                                   2211 FAIRVIEW ST                                                                                   ANDERSON           IN    46016‐4148
ANNIE C WOODSON                                 4230 CORTLAND                                                                                      DETROIT            MI    48204‐1508
ANNIE CHEW                                      PO BOX 29443                         CHRISTCHURCH FENDALTON                  NEW ZEALAND
ANNIE CHEW & HILARY ANNE STOCK JT TEN           PO BOX 29443 AVE                     FENDALTON                CHRISTCHURCH   ZEALAND NEW ZEALAND
ANNIE D BUCHANAN                                9638 TERRY                                                                                         DETROIT            MI    48227‐2473
ANNIE D MILLER                                  31 GREENE TERRANCE                                                                                 IRVINGTON          NJ    07111
ANNIE D QUALLS                                  PO BOX 281                                                                                         ELYRIA             OH    44036
ANNIE D SCOTT                                   72 NORVIN PLACE                                                                                    FORSYTH            GA    31029‐3330
ANNIE D WARREN                                  1402 FORKNER ST                                                                                    ANDERSON           IN    46016‐3333
ANNIE DASHKO                                    591 MAPLEWOOD AVE                                                                                  STRUTHERS          OH    44471‐1134
ANNIE E FORD                                    1233 FRANK DR                                                                                      MONROE             MI    48162‐3465
ANNIE E GREER                                   9525 W 66TH AVE                                                                                    ARVADA             CO    80004‐5208
ANNIE E MARTIN & JACKSON L MARTIN II JT TEN     1647 WESTWIND WAY                                                                                  MCLEAN             VA    22102‐1603
ANNIE E SESCO                                   409 CEDARWOOD COURT                                                                                MANSFIELD          OH    44906‐1713
ANNIE E TORRES TR ANNIE E TORRES TRUST UA       43067 EVERGLADES PARK DR                                                                           FREMONT            CA    94538‐3978
05/26/99
ANNIE ELIZABETH ANDERSON                        15022 VICTORIA CT                                                                                  SHELBY TWP         MI    48315‐4457
ANNIE F ALEXANDER & ALEX CURTIS JT TEN          PO BOX 28670                                                                                       CLEVELAND          OH    44128‐0670
ANNIE FRANKS & MARY H DELANEY JT TEN            30608 MOULIN                                                                                       WARREN             MI    48088‐6830
ANNIE G BOYNTON                                 4208 N EDMONDSON                                                                                   INDIANAPOLIS       IN    46226‐3669
ANNIE G PARKER                                  715 BRICE AVE                                                                                      LIMA               OH    45801‐3913
ANNIE H DAVIS                                   1050 OAKDALE DR                                                                                    ANDERSON           IN    46011‐1178
ANNIE H MILLER                                  3481 SURREY S E                                                                                    WARREN             OH    44484‐2840
ANNIE H WACHTEL                                 11537 ORCAS AVE                                                                                    SYLMAR             CA    91342‐6731
ANNIE HARRIS PERRY                              BOX 13                                                                                             SARATOGA           NC    27873‐0013
ANNIE HORTON                                    BECON RIDGE APARTMENTS               1500 SHELFIELD ROAD      APT 505                              ENTERPRISE         AL    36330‐8404
ANNIE HOST                                      335 FAIRLAWN ST                      OSHAWA ON                               L1J 4R2 CANADA
ANNIE J ARCHER & ALVATINE SMITH JT TEN          16206 WILDEMERE STREET                                                                             DETROIT            MI    48221‐3330
ANNIE J BONDON & GEORGE BONDON SR JT TEN        1014 WORDEN SE                                                                                     GRAND RAPIDS       MI    49507‐1351
ANNIE J FENN                                    2780 NORTHFIELD CT APT 4                                                                           SAGINAW            MI    48601‐7308
ANNIE J LOWE                                    7130 IOWA                                                                                          DETROIT            MI    48212‐1426
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 210 of 850
Name                                           Address1                               Address2                Address3       Address4                   City               State Zip

ANNIE J ROCHELL & RONA ROCHELL JT TEN          3852 COMMANDER DRIVE                                                                                     CHAMBLEE           GA    30341‐1871
ANNIE JANE NANCY CORY                          HILLSDALE TERRACE                      600 OSHAWA BLVD NORTH   ROOM 254       OSHAWA ON L1G 5T9 CANADA

ANNIE K LEWIS                                  4618 NORFOLK DR                                                                                          NORTHFIELD         MI    48167‐8695
ANNIE K WILLIAMS CUST JAMIE R MAPP UTMA GA     854 ELEANOR CT NW                                                                                        ATLANTA            GA    30318‐6010
ANNIE KATHERINE ALLEN TOWNES                   66 COLLEGE BLVD                                                                                          GRENADA            MS    38901‐3804
ANNIE L BREWER                                 PO BOX 511                                                                                               FLINT              MI    48501‐0511
ANNIE L CARTER                                 725 WOODBINE AVE                                                                                         ROCHESTER          NY    14619‐2031
ANNIE L CHEATHAM                               311 DAVIDSON AVE                                                                                         BUFFALO            NY    14215‐2346
ANNIE L EDWARDS & DAVID I EDWARDS JT TEN       1983 KLINGENSMITH #36                                                                                    BLOOMFIELD HILLS   MI    48302‐0276

ANNIE L EVANS                                  PO BOX 31923                                                                                             CLARKSVILLE        TN    37040‐0033
ANNIE L GHOLSTON & WILLIAM GHOLSTON JT TEN     18032 ILENE                                                                                              DETROIT            MI    48221‐2437

ANNIE L HILL                                   606 KENSINGTON AVE                                                                                       BUFFALO            NY    14214‐2816
ANNIE L HILL                                   12428 HASTINGS RD                                                                                        MIDWEST CITY       OK    73130‐4928
ANNIE L HOOSE                                  3256 AVENHAM AV SW                                                                                       ROANOKE            VA    24014‐1408
ANNIE L JOHNSON                                3040 FALLS STREET                                                                                        NIAGARA FALLS      NY    14303‐2007
ANNIE L ROBERTS                                PO BOX 5436                                                                                              FLINT              MI    48505‐0436
ANNIE L SMITH                                  3415 E 45TH ST                                                                                           KANSAS CITY        MO    64130‐2048
ANNIE L THOMPSON                               4146 GRANDVIEW DR                                                                                        FLUSHING           MI    48433‐2316
ANNIE L WALKER                                 178 BROOKS AVE                                                                                           ROCHESTER          NY    14619‐2448
ANNIE L WALKER & SYLVIA E WALKER JT TEN        178 BROOKS AVE                                                                                           ROCHESTER          NY    14619‐2448
ANNIE L WOODARD                                3125 PROCTOR AVE                                                                                         FLINT              MI    48504‐2647
ANNIE LEE                                      225 DOUGLAS                                                                                              JACKSON            MI    49203‐4125
ANNIE LEE CUNNINGHAM                           24 THATCHER AVE                                                                                          BUFFALO            NY    14215‐2234
ANNIE LEE ETHERIDGE & ANN M MORRIS JT TEN      3076 STRONG HEIGHTS                                                                                      FLINT              MI    48507‐4544
ANNIE LEE HORNE                                20557 STOUT ST                                                                                           DETROIT            MI    48219‐1428
ANNIE LOU WALTERS                              424 MAPLE BRANCH RD                                                                                      REEVESVILLE        SC    29471‐5008
ANNIE LOUISE HAMMOND                           403 MANOR DR                                                                                             KENNETT SQ         PA    19348‐1410
ANNIE M AVILA                                  450 WEST HILDALE ST                                                                                      DETROIT            MI    48203‐1950
ANNIE M BEECHAM                                525 N DEERFIELD AV                                                                                       LANSING            MI    48917‐2912
ANNIE M BLASCHAK                               202 5TH STREET                                                                                           ST AUGUSTINE       FL    32084‐2906
ANNIE M BOWERS                                 124 BROOKLYN AVE                                                                                         LAUREL             DE    19956‐1183
ANNIE M BRICE                                  12111 CHIMNEY ROCK RD                                                                                    HOUSTON            TX    77035‐4407
ANNIE M CAMPBELL                               PO BOX 6148                                                                                              MOBILE             AL    36660‐0148
ANNIE M DROLLETTE                              88 SPRINGWOOD DRIVE                                                                                      WEBSTER            NY    14580‐2812
ANNIE M HOLLAND                                G6239 BALLARD DR                                                                                         FLINT              MI    48505
ANNIE M JACKSON                                1700 ACE PL                                                                                              DAYTON             OH    45408‐2304
ANNIE M LETANOSKY                              26 OAK PLACE                                                                                             PLEASANT GROVE     AL    35127‐1813
ANNIE M LIVERMAN                               115 CAMELIA DR                                                                                           MOYOCK             NC    27958‐9738
ANNIE M MATTHEWS                               PO BOX 15021                                                                                             DETROIT            MI    48215‐0021
ANNIE M MITCHELL                               8434 SOUTHAVEN CIR W                                                                                     SOUTHAVEN          MS    38671‐3527
ANNIE M MORGAN                                 1023 FOURTH AVENUE                                                                                       YORK               AL    36925‐2150
ANNIE M NEWMAN                                 18260 LESURE                                                                                             DETROIT            MI    48235‐2520
ANNIE M PIERCE                                 4337 WINDSWEPT CRT                                                                                       JACKSONVILLE       FL    32257
ANNIE M REESE                                  3721 LYNN DR                                                                                             POWDER SPRING      GA    30127‐2278
ANNIE M RUDOLPH                                498 MONTANA                                                                                              PONTIAC            MI    48341‐2533
ANNIE M S FRINK                                765 SEASIDE RD SW                                                                                        OCEAN ISLE BEACH   NC    28469‐6122

ANNIE M SMITH                                  4312 TRUMBULL DR                                                                                         FLINT              MI    48504‐3754
ANNIE M STEPHENS & GALE R STEPHENS JT TEN      19311 BLOOM                                                                                              DETROIT            MI    48234
ANNIE MAE STEPHENS                             2853 EAST 91ST ST                                                                                        CLEVELAND          OH    44104‐3305
ANNIE MAE SUTTON                               5312 S RIMPAU BLVD                                                                                       LOS ANGELES        CA    90043‐1744
ANNIE MAE WEIR FORD                            103 OHIO AVE                                                                                             NEW ELLENTON       SC    29809‐3508
ANNIE MAGGIE HOOPER                            12000 SUSSEX                                                                                             DETROIT            MI    48227‐2029
ANNIE MARY HYLAND                              FLAT A 6 TULLIDEPH STREET              DUNDEE                                 DD2 2PQ GREAT BRITAIN
ANNIE NEWMAN MATTHEWS                          3216 WHITEHALL RD                                                                                        COLUMBIA           SC    29204‐3340
ANNIE O BANYARD                                408 ERIE ST                                                                                              JACKSON            MS    39203‐1113
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 211 of 850
Name                                            Address1                                Address2                Address3       Address4          City            State Zip

ANNIE O SMITH                                     2626 78TH AVE                                                                                  OAKLAND         CA    94605‐3206
ANNIE P BEAVER                                    3489 ST CLAIR                                                                                  DETROIT         MI    48214‐2111
ANNIE P BOOTH                                     409 JORDON RD                                                                                  PONTIAC         MI    48342‐1738
ANNIE P CURTIS                                    5452 S DYEWOOD DRIVE                                                                           FLINT           MI    48532‐3343
ANNIE P DAVIS                                     2000 GARDEN LANE                                                                               TOLEDO          OH    43607
ANNIE P FRANKLIN                                  PO BOX 416                                                                                     GREENVILLE      AL    36037‐0416
ANNIE P PETERSON                                  3821 BAXTER                                                                                    SHREVEPORT      LA    71109‐7403
ANNIE P PULLINS                                   18236 MIDWAY                                                                                   SOUTHFIELD      MI    48075‐7137
ANNIE P SIMS                                      4413 TRUMBULL DR                                                                               FLINT           MI    48504‐3757
ANNIE P SMITH                                     8888 STEEL                                                                                     DETROIT         MI    48228‐2678
ANNIE P THOMAS                                    1357 HOSLLANDER                                                                                FLINT           MI    48505
ANNIE PEARL WORMELY                               7505 MELROSE ST                                                                                DETROIT         MI    48211‐1344
ANNIE PELEROSE                                    881 CLEVELAND                                                                                  LINCOLN PK      MI    48146‐2724
ANNIE R DELK TOD CHESTER JARRETT SUBJECT TO STA   4639 SOUTH LAWLWR AVENUE                                                                       CHICAGO         IL    60638‐2009
TOD RULES
ANNIE R GOLSTON                                   16599 SUSSEX                                                                                   DETROIT         MI    48235‐3855
ANNIE R HERRON                                    81756 M 51 HWY N                                                                               DECATUR         MI    49045‐9166
ANNIE R JONES                                     926 HELEN                                                                                      INK             MI    48141‐1288
ANNIE R KLAES                                     1155 E LAKE ROAD                                                                               ERIE            PA    16507‐1929
ANNIE R LONG                                      2511 W 11TH ST                                                                                 ANDERSON        IN    46011‐2514
ANNIE R PERKINS                                   315 WHITE ST                                                                                   FLINT           MI    48505‐4129
ANNIE R ROBINSON                                  20482 YONKA                                                                                    DETROIT         MI    48234‐1834
ANNIE R SHELL TR ANNIE R SHELL LIVING TRUST UA    19830 FLORENCE                                                                                 DETROIT         MI    48219‐3346
04/05/04
ANNIE R SHELL TR ANNIE R SHELL REVOCABLE TRUST UA 19830 FLORENCE                                                                                 DETROIT         MI    48219‐3346
04/05/04
ANNIE R SHUMATE                                   236LANE ST                                                                                     SANDUSKY        OH    44870‐4112
ANNIE R TROTT                                     2419 HANOVER                                                                                   MEMPHIS         TN    38119‐7121
ANNIE R TUCCORI                                   215 BRIGHTWOOD AVE                                                                             HAMPTON         VA    23661‐1610
ANNIE RAY HIGGINS                                 5920 ANDREW PLACE                                                                              NEWPORT NEWS    VA    23605‐2306
ANNIE REYNOLDS WHITTLE                            ATTN NANCY W WHITTLE                  3636 LAKE SHORE DRIVE                                    MARTINEZ        GA    30907‐2982
ANNIE RUTH HURTH                                  1036 W 102TH ST                                                                                LOS ANGELES     CA    90044
ANNIE RUTH NORWOOD                                4154 EMMAJEAN RD                                                                               TOLEDO          OH    43607‐1015
ANNIE SANDERS                                     20022 WASHBURN                                                                                 DETROIT         MI    48221‐1020
ANNIE T CRUISE                                    133 SUNSET DR                                                                                  MT JULIET       TN    37122‐2909
ANNIE T OKEEFE                                    PO BOX 2665                                                                                    CHAPEL HILL     NC    27515‐2665
ANNIE T QUINN TOD MARY P QUINN SUBJECT TO STA     33118 SNADPIPER COURT                                                                          N RIDGEVILLE    OH    44039
TOD RULES
ANNIE UNDERWOOD                                   8615 NORTH DELANEY ROAD                                                                        OAKLEY          MI    48649‐9603
ANNIE W ALEXANDER                                 15095 MARKTWAIN                                                                                DETROIT         MI    48227‐2917
ANNIE W HAWKINS & CLINEL HAWKINS JT TEN           7143 PUGLIESE PLACE                                                                            DAYTON          OH    45415‐1207
ANNIE W MAY                                       1158 SOUTHERN BLVD                                                                             WARREN          OH    44485‐2246
ANNIE W THOMPSON                                  C/O KASANDRA A THOMPSON               185 FORD AVENUE                                          HIGHLAND PARK   MI    48203‐3042
ANNIE WARREN                                      1402 FORKNER                                                                                   ANDERSON        IN    46016‐3333
ANNIE WILLIAMS                                    335 FAIRLAWN ST                       OSHAWA ON                              L1J 4R2 CANADA
ANNIE Y BEATY                                     6240 KNYGHTON ROAD                                                                             INDIANAPOLIS    IN    46220
ANNIECE E RIDEOUT                                 PO BOX 162                                                                                     EAST LANSING    MI    48826‐0162
ANNIKA PEARSON                                    8112 SANTA FE TRAIL                                                                            AMARILLO        TX    79110‐4735
ANNIOUS WILSON                                    6136 NATCHEZ                                                                                   MT MORRIS       MI    48458‐2778
ANNIS ESTELLE SMITH & JOHN EMERSON SMITH &        1294 SWAN RD                                                                                   OLD FORT        TN    37362‐6009
THOMAS WILLIAM SMITH JT TEN
ANNIS J HOWELL                                    715 PARHAM ROAD                                                                                RICHMOND        VA    23229‐7249
ANNISE C MACKINNON                                377 DIAMOND SPRING RD                                                                          DENVILLE        NJ    07384‐2186
ANNISE C MACKINNON & JOHN A MACKINNON JT TEN 377 DIAMOND SPRING RD                                                                               DENVILLE        NJ    07834‐2935

ANNISE G PRESTON                                2811 OLD FRANKLIN TPKE                                                                           ROCKY MOUNT     VA    24151‐5685
ANNITA BEASLEY                                  2010 SANTA BARBARA DR                                                                            FLINT           MI    48504‐2065
ANNJENNETTE BROWN                               3181 AVIAMAR CIR                        APT 102                                                  NAPLES          FL    34114‐9587
ANNLEE L GREYERBIEHL                            1740 E CODY ESTEY RD                                                                             PINCONNING      MI    48650‐8437
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 212 of 850
Name                                            Address1                                Address2             Address3          Address4          City               State Zip

ANNMARIE CLEAVER                                 3216 E TONTO LANE                                                                               PHOENIX            AZ    85050‐7921
ANNMARIE FENNESSY                                10402 PRESTON ST                                                                                WESTCHESTER        IL    60154‐5310
ANNMARIE JONES                                   1656 WESTCHESTER AVE                                                                            PEEKSKILL          NY    10566‐3007
ANNMARIE LAINO                                   173 SHAGBAK LANE                                                                                HOPEWELL JCT       NY    12533
ANNMARIE LUBRANO                                 35 PLYMOUTH                                                                                     MINEOLA            NY    11501‐3423
ANNMARIE MASTANDO                                4212 EAST TREMONT AVE                                                                           BRONX              NY    10465‐3320
ANNMARIE MORENO                                  20170 LICHFIELD RD                                                                              DETROIT            MI    48221‐1330
ANNMARIE PEEVER                                  23910 ELMIRA                                                                                    REDFORD            MI    48239‐1406
ANNMARIE SPORTELLO                               220 PUDDING ST                                                                                  PUTNAM VALLEY      NY    10579‐1334
ANNMARIE SPORTELLO CUST ESTHER C SPORTELLO       220 PUDDING ST                                                                                  PUTNAM VALLEY      NY    10579‐1334
UGMA NY
ANNMARIE SPORTELLO CUST PETER RUSSELL SPORTELLO 220 RIDDING STREET                                                                               PUTNAM VALLEY      NY    10579
JR UGMA NY
ANNMARIE Z SMITH                                 45604 TRILLIUM CT E                                                                             PLYMOUTH           MI    48170‐3582
ANNUNCIATA M MANTIA & SALVATORE A MANTIA JT      10435 CENTURY LANE                                                                              OVERLAND PARK      KS    66215‐2203
TEN
ANNY NEY EX UW ELIZABETH LICHTMAN                6 LAMSON CT                                                                                     FREEHOLD           NJ    07728‐9257
ANO H OLSON JR                                   BOX 164                                                                                         ORTONVILLE         MI    48462‐0164
ANOLA E RADTKE                                   2915 TROXELL AVENUE                                                                             LONGMONT           CO    80503‐7025
ANOMI R DAVIS                                    8727 TAYLORSVILLE RD                                                                            HUBER HEIGHTS      OH    45424‐6337
ANOOP C JOSHI                                    111 COLEY WAY                                                                                   GREENVILLE         SC    29615‐5800
ANOOSH GIRAGOSIAN TR ANOOSH GIRAGOSIAN TRUST 10 JANA RD                                                                                          SALEM              NH    03079‐2261
UA 06/21/95
ANSEL F THOMPSON & MRS IRENE T THOMPSON TEN      RIDDLE VILLAGE                         210 HAMPTON                                              MEDIA              PA    19063‐6039
ENT
ANSEL L BURDITT                                  PO BOX 927                                                                                      METAMORA           IL    61548‐0927
ANSEL PERKINS                                    6471 ELKHORN ROAD                                                                               KNIFLEY            KY    42753‐6327
ANSELMO A SCALISE                                5171 TIMBER LANE                                                                                SCHNECKSVILLE      PA    18078‐2626
ANSELMO A SCALISE & MRS SHIRLEY K SCALISE JT TEN 5171 TIMBER LANE                                                                                SCHNECKSVILLE      PA    18078‐2626

ANSELMO MARTINEZ JR                             144 PRINCE PHILLIP DR                                                                            ST AUGUSTINE       FL    32092‐1746
ANSELMO MORELLI                                 26 PARK AVE                                                                                      TARRYTOWN          NY    10591‐4414
ANSELMO RAMIREZ                                 5403 BROAD ST                                                                                    ROSCOE             IL    61073‐7322
ANSEN MARK CUST JAMES F MARK UGMA CO            3837 S HARLAN ST                                                                                 DENVER             CO    80235‐2926
ANSON L BRYANT                                  2810 NORTH EDGEMOOR CIRCLE                                                                       WICHITA            KS    67220‐4244
ANTANAS RAGAUSKAS                               3137 KENILWORTH AVE                                                                              BERWYN             IL    60402‐3002
ANTANAS ZAPARACKAS & STASE ZAPARACKAS JT TEN    7405 ROCKDALE CT                                                                                 WEST BLOOMFIELD    MI    48322‐1073

ANTASHA O SMITH                                 9919 MEMORIAL                                                                                    DETROIT            MI    48227‐1013
ANTENA SHATOS                                   92 FERN                                                                                          ATHOL              MA    01331‐2735
ANTENOR JUSTE                                   295 SHERIDAN AVE                                                                                 ALBANY             NY    12206‐3133
ANTERO LOPES                                    260 MAIN ST APT A                                                                                MEDWAY             MA    02053‐1626
ANTHIE C BECKER                                 22 EVELYN RD                                                                                     WEST ISLIP         NY    11795‐3815
ANTHIONNET M HARRELL                            302 N TRANSIT ST                                                                                 LOCKPORT           NY    14094‐2106
ANTHLEAN D MCINTOSH                             1496 WESTWOOD DR                                                                                 FLINT              MI    48532‐2674
ANTHONY A BALTHASAR                             4657 E CHISUM TR                                                                                 PHOENIX            AZ    85050‐8541
ANTHONY A BONANNO                               12387 CEDAR                                                                                      SHELBY             MI    48087
ANTHONY A BORING                                6391 BROWN HOLLOW RD                                                                             LYLES              TN    37098‐1803
ANTHONY A CHESERONI JR                          317 BREWSTER DR                                                                                  NEWARK             DE    19711‐6612
ANTHONY A CRACCHIOLO                            29360 PRIVATE DR                                                                                 CHESTERFIELD TWP   MI    48047‐5146

ANTHONY A CUEVAS                                511 SHIRLEY AVE 2                                                                                BUFFALO            NY    14215‐1235
ANTHONY A ELZERMAN                              5421 LITCHFIELD DR                                                                               FLINT              MI    48532‐4040
ANTHONY A FLORENCE                              41234 GLOCA MORA                                                                                 MT CLEMENS         MI    48045‐1443
ANTHONY A GOIDOSIK                              11180 DAISY LN                                                                                   SAGINAW            MI    48609‐9442
ANTHONY A GONECONTI                             12 CARLTON COURT                                                                                 NEW CITY           NY    10956‐5830
ANTHONY A GONECONTI & VICTORIA GONECONTI JT     12 CARLTON ST                                                                                    NEW CITY           NY    10956‐5830
TEN
ANTHONY A HARDEN                                KOKOMO REGENCY L‐150                                                                             KOKOMO             IN    46902
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 213 of 850
Name                                            Address1                               Address2             Address3          Address4          City             State Zip

ANTHONY A HUNT                                 28 SHARONS WAY                                                                                   WILMINGTON       DE    19808‐5236
ANTHONY A JECKEWICZ                            9522 COOLEY LAKE ROAD                                                                            UNION LAKE       MI    48085
ANTHONY A KUSHNER & PATRICIA K KUSHNER TEN ENT 09277 MAPLE GROVE RD                                                                             CHARLEVOIX       MI    49720‐9144

ANTHONY A LANSBARKIS                            9430 E SUNRIDGE DR                                                                              SUN LAKES        AZ    85248‐5912
ANTHONY A LEONARDI                              718 WOODTOP ROAD                                                                                WILMINGTON       DE    19804‐2666
ANTHONY A LUMETTA & BARBARA LUMETTA JT TEN      27421 PALOMINO                                                                                  WARREN           MI    48093‐8324

ANTHONY A MAXWELL                              2631 KEENAN AVE                                                                                  DAYTON           OH    45414‐4909
ANTHONY A MAZZEO & MARIE MAZZEO TR UA 10/28/93 36 GARDINERS BAY DR                     PO BOX 3005                                              SHELTER ISLAND   NY    11965‐3005
MAZZEO LIVING TRUST                                                                                                                             HTS
ANTHONY A MILEWSKI                             45745 PRAIRIE GRASS CT                                                                           BELLEVILLE       MI    48111
ANTHONY A OTTMAN                               21 HANRATTY ST                                                                                   KINGSTON         NY    12401‐5541
ANTHONY A PAPI                                 7891 TURRILLIUM LN                                                                               WATERFORD        MI    48327‐4348
ANTHONY A PASQUALE                             6806 ERRICK RD                                                                                   NORTH            NY    14120‐1159
                                                                                                                                                TONAWANDA
ANTHONY A PINEAU                                71 LOUIE LN                                                                                     STAFFORD         VA    22554‐5836
ANTHONY A PREVOST                               5065 PRESTONWOOD LN                                                                             FLUSHING         MI    48433‐1381
ANTHONY A PRINCE                                1690 HARVEST LANE                                                                               ALPHARETTA       GA    30004‐6740
ANTHONY A ROSATI                                21 GRAF AVE                                                                                     LAWRENCE TWP     NJ    08648‐4315
ANTHONY A ROTOLI                                279 SANTEE STREET                                                                               ROCHESTER        NY    14613‐2131
ANTHONY A SACCO                                 116 HAZON AVE                                                                                   ELLWOOD CITY     PA    16117‐5208
ANTHONY A SCHULTZ                               393 MARQUETTE AVE                                                                               CALUMET CITY     IL    60409‐2323
ANTHONY A SEMSKI                                7 HOPEMAN LANE                                                                                  BELLA VISTA      AR    72715‐4810
ANTHONY A STANOLIS                              4710 VARGAS RD                                                                                  CHOCTAW          OK    73020‐9006
ANTHONY A SZCZOTKA                              18800 LOVELAND                                                                                  LIVONIA          MI    48152‐4430
ANTHONY A VOJTILLA                              730 RIDGE AVE                                                                                   FORD CITY        PA    16226‐1143
ANTHONY A YERMAL & MRS VERONICA E YERMAL JT     62 CAREY ROAD                                                                                   SUCCASUNNA       NJ    07876‐1124
TEN
ANTHONY A ZIOMEK & MRS PAMELA J ZIOMEK JT TEN   157 CHURILOTI WAY                                                                               LOUDON           TN    37774‐2604

ANTHONY A ZUNO                              116 JOSIAH LN                                                                                       HAMILTON         NJ    08691‐3366
ANTHONY ABATE                               6657 LEXINGTON AVE N                                                                                SHELBY TWP       MI    48317‐2398
ANTHONY ADAMCZYK                            4258 NIAGARA                                                                                        WAYNE            MI    48184‐2259
ANTHONY AGNELLO                             3204 GLENNON PLACE                                                                                  BRONX            NY    10465
ANTHONY AGUANNO CUST JOSEPH AGUANNO UGMA NJ 31 BASE ROAD                                                                                        DENVILLE         NJ    07834‐1115

ANTHONY AIELLO                                  2303 E MICHIGAN                                                                                 FRESNO           CA    93703‐1103
ANTHONY ALESSANDRO                              51772 SHADYWOOD DR                                                                              MACOMB           MI    48042‐4294
ANTHONY ALMEIDA                                 3910 IBIS DR                                                                                    ORLANDO          FL    32803‐3004
ANTHONY ALONZO                                  321 51ST ST                                                                                     BROOKLYN         NY    11220‐1807
ANTHONY AMATO JR                                1532 E FRANKLIN                                                                                 HUNTINGTON       IN    46750‐2510
ANTHONY ANASTASI                                180 LAFAYETTE AVE                      APT 1H                                                   PASSAIC          NJ    07055‐4735
ANTHONY ANDERSON                                19142 PROVENCIAL DR                                                                             MACOMB           MI    48044‐1284
ANTHONY ANELLO                                  8 KNOX PL                                                                                       NUTLEY           NJ    07110‐2003
ANTHONY ANGIOLLO                                146 ECHO TRL                                                                                    PORTAGE          IN    46368‐4610
ANTHONY ANISKEVICH                              4800 SYLVESTER AVE                                                                              WATERFORD        MI    48329‐1849
ANTHONY AQUILINO                                1473 WHITTY RD                                                                                  TOMS RIVER       NJ    08753‐2714
ANTHONY ARDITI                                  3525 CONNOR STREET                                                                              BRONX            NY    10475‐1201
ANTHONY ARENA                                   6570 HARVEST RIDGE DR                                                                           AUSTINTOWN       OH    44515‐5560
ANTHONY ARTHUR ISACKS                           139 POOPDECK LN                                                                                 FREEPORT         TX    77541‐7905
ANTHONY AULICINO                                11537 SPYGLASS RIDGE DR                                                                         FISHERS          IN    46037
ANTHONY B AMOROSANO                             2645 SAMOVAR TER                                                                                NORTH PORT       FL    34286‐8782
ANTHONY B BARNETT                               1000 HOLGATE AVE                                                                                DEFIANCE         OH    43512‐2046
ANTHONY B CARTER                                601 SHERRY DR                                                                                   COLUMBIA         TN    38401‐6118
ANTHONY B CASTRO                                BOX 95                                                                                          MERCED           CA    95341‐0095
ANTHONY B CHITTAM                               24844 HOLLAND LN                                                                                ATHENS           AL    35613‐6639
ANTHONY B FERGUSON                              2450 LANSING AVE N                                                                              LAKE ELMO        MN    55042‐9490
ANTHONY B GIGANDET                              2035 SOUTH LINDA DRIVE                                                                          BELLBROOK        OH    45305‐1526
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                         Part 1 of 8 Pg 214 of 850
Name                                              Address1                                Address2             Address3                   Address4                 City               State Zip

ANTHONY B KOWALEWSKI JR                      1815 TWIN OAK ROAD                                                                                                    JARRETTSVILLE      MD    21084‐1211
ANTHONY B KUSHNER                            4683 CAROLEE LANE                                                                                                     DEARBORN HGTS      MI    48125‐1817
ANTHONY B MC NEAL                            30066 PONDSVIEW DRIVE                                                                                                 FRANKLIN           MI    48025‐1524
ANTHONY B ODOM                               4717 WISNER                                                                                                           FLINT              MI    48504‐2091
ANTHONY B SALFI                              3709 MARINER                                                                                                          WATERFORD          MI    48329‐2273
ANTHONY B SHERMAN CUST ZOE ROSE SHERMAN UTMA 905 HUCKLEBERRY                                                                                                       NORTHBROOK         IL    60062‐3420
IL
ANTHONY B SPANGLER                           200 WASHINGTON STREET                                                                                                 BEAVER DAM         WI    53916‐2461
ANTHONY B URBANOVICH                         16545 EDGEWOOD RD                                                                                                     PLAINFIELD         IL    60586‐9620
ANTHONY B VANHESTEREN                        103 SHERWOOD DRIVE                                                                                                    LEXINGTON          OH    44904‐1009
ANTHONY BACZEWSKI                            121 MAIDEN LANE                                                                                                       OAKLAND            CA    94602‐3556
ANTHONY BALDRIDGE                            15521 DONS RD                                                                                                         OKLAHOMA CITY      OK    73165‐7306
ANTHONY BARBARINI                            1107 ROBBINS AVE                                                                                                      NILES              OH    44446‐3347
ANTHONY BARBIERI                             195 LAKESIDE DR                                                                                                       LEWES              DE    19958‐8931
ANTHONY BARCELO & ELIZABETH BARCELO JT TEN   53 BUSHNELL RD                                                                                                        OLD BRIDGE         NJ    08857‐2368
ANTHONY BARRY THOMAS                         18 BROOK FARM CLOSE                          ORMSKIRK             LANCASHIRE                 L394YA GREAT BRITAIN
ANTHONY BELL                                 13967 ASBURY PA                                                                                                       DETROIT            MI    48227‐1364
ANTHONY BENICEWICZ                           56 CLAPBOARD RIDGE RD                                                                                                 DANBURY            CT    06811‐4544
ANTHONY BIAFORE JR                           123 RICE RD                                                                                                           MERIDEN            CT    06450‐7213
ANTHONY BILL GREEN                           16 MEADOW END                                GOTHAM NOTTINGHAM                               NG11 0HP GREAT BRITAIN
ANTHONY BLASCOVICH                           5321 N FOWLERVILLE RD                                                                                                 FOWLERVILLE        MI    48836‐9361
ANTHONY BLINN CUST GARY D BLINN UGMA OH      199 GREENLAWN BLVD                                                                                                    WEIRTON            WV    26062‐2949
ANTHONY BOHANON                              89 SCHOOLHOUSE LN                                                                                                     BARGERSVILLE       IN    46106‐8457
ANTHONY BOND                                 43280 KEYSTONE LN                                                                                                     CANTON             MI    48187‐3471
ANTHONY BOTTEON JR                           31 NEW ENGLAND RD                                                                                                     MAPLEWOOD          NJ    07040‐1028
ANTHONY BROWN                                1207 WELCH                                                                                                            FLINT              MI    48504‐7359
ANTHONY BUGTER & DEBORAH M BUGTER TR BUGTER 3812 STONECREST COURT                                                                                                  SPRING HILL        TN    37174‐2196
FAM TRUST UA 03/21/00
ANTHONY BUKOWSKI                             3563 WILDER RD                                                                                                        BAY CITY           MI    48706‐2128
ANTHONY BUONANNO                             1 EASTVIEW COURT                                                                                                      VALHALLA           NY    10595‐1005
ANTHONY BURRELLO                             363 E LEGEND CT                                                                                                       CLEVELAND          OH    44143‐3686
ANTHONY BURRUS                               4419 ISLEVIEW COVE                                                                                                    FT WAYNE           IN    46804‐4860
ANTHONY C BARZYK                             4641 E JOPPA RD                                                                                                       PERRY HALL         MD    21128‐9339
ANTHONY C BLACKBURN                          129 WILMUTH AVE                                                                                                       LACKAWANNA         NY    14218‐2549
ANTHONY C BLASKIEWICZ                        6034 LARKINS                                                                                                          DETROIT            MI    48210‐1546
ANTHONY C BONAVITA ADM EST MARY C BONAVITA   683 COOPER STREET                                                                                                     AGAWAM             MA    01001

ANTHONY C BROWN                                   30140 PLEASANT TRL                                                                                               SOUTHFIELD         MI    48076‐1055
ANTHONY C BYNES                                   2571 HIAWATHA                                                                                                    KANSAS CITY        KS    66104‐5422
ANTHONY C DI CICCO                                4862 ATTICA RD                                                                                                   ATTICA             MI    48412‐9701
ANTHONY C DUBANIK                                 4396 RURIK DR                                                                                                    HOWELL             MI    48843‐9411
ANTHONY C EIRICH & MRS PATRICIA H EIRICH JT TEN   6753 N ROCKWELL                                                                                                  CHICAGO            IL    60645‐4625

ANTHONY C FERRONE                                 235 WEST 103RD ST                                                                                                NEW YORK           NY    10025‐4489
ANTHONY C GULLY & HELEN A GULLY JT TEN            21‐51 36TH ST                                                                                                    LONG ISLAND CITY   NY    11105‐2103

ANTHONY C JOHNSON                                 16 CLINTON SPRINGS AVE                                                                                           CINCINNATI         OH    45217‐1902
ANTHONY C KURZANSKI                               580 ORCHARD PARK RD                     RM242                                                                    WEST SENECA        NY    14224‐2662
ANTHONY C LINES                                   SADDLERS COTTAGE                        21 CHURHC SQUARE     TODDINGTRON BEDFORDSHIRE   LU5 6AA GREAT BRITAIN
ANTHONY C LINES                                   SADDLERS COTTAGE                        21 CHURCH SQUARE     TODDINGTON BEDFORDSHIRE    LU5 6AA GREAT BRITAIN
ANTHONY C LURASCHI                                1527 D'ANGELO DR                                                                                                 N TONAWANDA        NY    14120‐3074
ANTHONY C MARIA                                   25 SUMMERHILL RD                                                                                                 MAYNARD            MA    01754‐1514
ANTHONY C MARTIN                                  523 SW 13TH ST                                                                                                   BLANCHARD          OK    73010‐7547
ANTHONY C MIDDLETON & R LUCILLE MIDDLETON JT      65 BRENTWOOD DRIVE                                                                                               BRISTOL            CT    06010‐2505
TEN
ANTHONY C NOVAK                                   4000 FIRSTVIEW DRIVE                                                                                             AUSTIN             TX    78731‐3810
ANTHONY C OKAFOR                                  3010 CUMBERLAND RD                                                                                               LANSING            MI    48906‐3623
ANTHONY C PACE                                    3371 SOMERSET TRACE                                                                                              MARIETTA           GA    30067‐5013
ANTHONY C QUAIZAR                                 12880 TRIST ROAD                                                                                                 GRASS LAKE         MI    49240‐9254
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 215 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

ANTHONY C ROBERTS                                3427 BRIMSFIELD                                                                                FLINT            MI    48503‐2944
ANTHONY C STEWART                                8219 N ROCKWELL AVE                   APT 1015                                                 OKLAHOMA CITY    OK    73132‐4253
ANTHONY C SUVAR                                  15161 HAMLIN STREET                                                                            PLAINFIELD       IL    60544‐2400
ANTHONY C SUVAR CUST DANIEL JOSEPH SUVAR UTMA    6021 BLACSTONE DR                                                                              FORT WAYNE       IN    46818
OH
ANTHONY C TYLER                                  200 OELLA RIDGE CT                                                                             HENDERSON        NV    89012
ANTHONY C WISE & GRACE M WISE JT TEN             367 NORTH RIVER DR                                                                             GWINN            MI    49841‐9520
ANTHONY CALIFANO                                 359 CENTRE STREET                                                                              NUTLEY           NJ    07110‐2736
ANTHONY CANCRO                                   448 CORNELL DRIVE                                                                              BRICK            NJ    08723‐5069
ANTHONY CANNON                                   3511 SOUTH 400 EAST                                                                            MARION           IN    46953‐9662
ANTHONY CAPALDO                                  1813 GILPIN AVENUE                                                                             WILMINGTON       DE    19806‐2305
ANTHONY CAPANO                                   85 E ARBOR AVE                                                                                 VINELAND         NJ    08360
ANTHONY CAPRARO                                  28674 WESTFIELD X                                                                              LIVONIA          MI    48150‐3135
ANTHONY CARAGLIANO                               224 66TH ST                                                                                    WEST NEW YORK    NJ    07093‐3109
ANTHONY CARL THOMAS                              3536 CORNSTREAM RD                                                                             RANDALLSTOWN     MD    21133‐2439
ANTHONY CARLONE                                  20743 HURLEY AVE                                                                               LAKEVILLE        MN    55044‐5872
ANTHONY CAROZZA                                  ELLIOT ST                                                                                      PLEASANTVILLE    NY    10570
ANTHONY CARUSO                                   15W441 VICTORY PKWY                                                                            ELMHURST         IL    60126‐1309
ANTHONY CASILIO                                  119 JORDACHE LN                                                                                SPENCERPORT      NY    14559‐2062
ANTHONY CERCHIARA CUST ANTHONY CERCHIARA JR      560 N COLUMBUS AVE                                                                             MT VERNON        NY    10552‐1324
UGMA NY
ANTHONY CHARLES VELLA                            1039 PROMENADE ST                                                                              HERCULES         CA    94547
ANTHONY CHEVROLET COMPANY                        PO BOX 1627                                                                                    FAIRMONT         WV    26555‐1627
ANTHONY CHIRAS                                   50 FRYE ST                                                                                     MARLBOROUGH      MA    01752‐1111
ANTHONY CIAVATTONI & MARY CIAVATTONI JT TEN      207 ARDSLEY ST                                                                                 STATEN ISLAND    NY    10306‐1608

ANTHONY CIORRA CUST THOMAS J CIORRA UTMA NY      1325 WHITTIER AVE                                                                              MERRICK          NY    11566‐1745

ANTHONY CIPRIANO                                 42339 CREEKSIDE DR                                                                             CLINTON TWP      MI    48038‐5237
ANTHONY CIRCOSTA                                 115 LONG LN                                                                                    BRISTOL          CT    06010‐2681
ANTHONY CLARK TRIANA                             12760 BURNINGLOG LN                                                                            DALLAS           TX    75243‐3232
ANTHONY COLACE                                   835 DANFORTH AVENUE                   TORONTO ON                             M4J 1L2 CANADA
ANTHONY COLASANTI TR UA 03/25/80 AMY HAUKE       6 MUSKET LANE                                                                                  FREEHOLD         NJ    07728‐3134

ANTHONY COLETTI & DOROTHY COLETTI JT TEN         1435 EAST 12 ST                                                                                BROOKLYN         NY    11230‐6605
ANTHONY COLLETTI                                 410 FAY AVE                                                                                    ELIZABETH        NJ    07202‐2438
ANTHONY COLLINS                                  603 E EUCLID ST                                                                                DETROIT          MI    48202‐2216
ANTHONY CONGIUSTA CUST DANIEL ANTHONY            56 OAK TER                                                                                     HILLSBOROUGH     NJ    08844‐1119
CONGIUSTA UTMA NJ
ANTHONY CORBO JR                                 328 CONGRESS ST                                                                                SADDLE BROOK     NJ    07663‐4610
ANTHONY CORVINO                                  471 CHRISTIAN HERALD RD                                                                        VALLEY COTTAGE   NY    10989‐2236
ANTHONY COSSA                                    75 SHERWOOD RD                                                                                 CORTLANDT MNR    NY    10567
ANTHONY CRISAFIO JR & MRS MARY CRISAFIO JT TEN   309 FISK ST                                                                                    PITTSBURGH       PA    15201‐1707

ANTHONY CURRENTI                                 16 DANIEL DRIVE                                                                                ROCHESTER        NY    14624‐1606
ANTHONY CURRY                                    1926 E RUDISILL BLVD                                                                           FORT WAYNE       IN    46806‐1974
ANTHONY D APOSTLE                                21 FRANKLIN AVE                                                                                PITMAN           NJ    08071‐1781
ANTHONY D BERRIGAN                               2752 GALAHAD DRIVE                                                                             BATON ROUGHE     LA    70816‐2417
ANTHONY D CLOUM                                  1022 N ROESSLER                                                                                MONROE           MI    48162‐2866
ANTHONY D DI TULLIO                              7263 AKRON RD                                                                                  LOCKPORT         NY    14094‐6205
ANTHONY D DONATELLI                              151‐11 26TH AVE                                                                                FLUSHING         NY    11354‐1515
ANTHONY D GALLAGHER                              710 PARAMUS ROAD                                                                               PARAMUS          NJ    07652‐1735
ANTHONY D GARA                                   512 70TH ST                                                                                    NIAGARA FALLS    NY    14304‐3230
ANTHONY D HALL                                   333 TOLL STREET                                                                                MONROE           MI    48162‐7904
ANTHONY D JACKSON                                4887 E 500 S                                                                                   MIDDLETOWN       IN    47356
ANTHONY D KERWIN                                 36 CAMROSE CT                         LONDON ON                              N6K 4S4 CANADA
ANTHONY D KOSIS                                  88 W BIHRWOOD PL                                                                               WEST SENECA      NY    14224‐3626
ANTHONY D LAGALO & JOAN D LAGALO & JUDITH E      2428 STARLITE                                                                                  SAGINAW          MI    48603‐2537
KING JT TEN
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 216 of 850
Name                                             Address1                             Address2             Address3          Address4                 City            State Zip

ANTHONY D MAY                                    1625 NE JADE CT                                                                                      LEES SUMMIT     MO    64086‐5938
ANTHONY D MAYER                                  75 HAROLD ST                                                                                         FRANKLIN        OH    45005‐1718
ANTHONY D NUNNERY                                4502 N 64TH ST                                                                                       MILWAUKEE       WI    53218‐5503
ANTHONY D POWERS                                 6145 PASEO BLVD                                                                                      KANSAS CITY     MO    64110‐3533
ANTHONY D PRYOR                                  917 WAVERLY ST                                                                                       HOUSTON         TX    77008‐6757
ANTHONY D SIMEONE                                28 HITREE LN                                                                                         ROCHESTER       NY    14624‐4742
ANTHONY D SOX                                    18729 ELKHART                                                                                        HARPER WOODS    MI    48225‐2103
ANTHONY D STIGER                                 166 BOURNDALE RD NORTH                                                                               MANHASSET       NY    11030‐1938
ANTHONY D TURNER & CHRISTOPHER L TURNER JT TEN   P O BOX 421                                                                                          BETHANY         LA    71007

ANTHONY D VERBISCUS                           21855 CURRIE RD                                                                                         NORTHVILLE      MI    48167‐9798
ANTHONY D VULCANO                             2107 FRED ST                                                                                            WARREN          MI    48092‐1872
ANTHONY D WONCH                               5168 ROBERTS DR                                                                                         FLINT           MI    48506‐1591
ANTHONY D YARBROUGH                           1511 WESLEY DR                                                                                          RENO            NV    89503‐2545
ANTHONY DALOISIO                              23185 CHURCHES ST                                                                                       SOUTHFIELD      MI    48033‐2988
ANTHONY DAMIANO                               35 RUTH ST APT 65                                                                                       BRISTOL         CT    06010‐3253
ANTHONY DANIEL NOVAK                          313 THREE OAKS DR                                                                                       EDGEWATER       FL    32141‐3015
ANTHONY DANISH                                781 MAPLECREST RD                                                                                       TOMS RIVER      NJ    08753‐7849
ANTHONY DE GENNARO & SANDRA DE GENNARO JT TEN 150 CANYON DR                                                                                           NAPA            CA    94558‐1255

ANTHONY DE MUNNO JR                              8336 WATERLINE DRIVE UNIT 101                                                                        BOYNTON BEACH   FL    33472
ANTHONY DE MUNNO JR                              8336 WATERLINE DRIVE UNIT 101                                                                        BOYNTON BEACH   FL    33472
ANTHONY DE ROSE & EDNA M DE ROSE JT TEN          27 GIFFORD DRV                                                                                       SYRACUSE        NY    13219‐1245
ANTHONY DEAN                                     77‐16 95 AVE                         OZONE PARK                                                      QUEENS          NY    11416‐1116
ANTHONY DEROSA                                   12 ASTOR DR                                                                                          MAHOPAC         NY    10541‐3700
ANTHONY DI BELLA                                 27314 PALOMINO                                                                                       WARREN          MI    48093‐8321
ANTHONY DI CLEMENTINE & HILDA DI CLEMENTINE JT   410G TANTON WAY                                                                                      WEBSTER         NY    14580‐4071
TEN
ANTHONY DI COSMO                                 701 E ELIZABETH AVE                                                                                  LINDEN           NJ   07036‐2621
ANTHONY DI VITA                                  6749 ENFIELD DRIVE                                                                                   MAYFIELD HEIGHTS OH   44124‐3601

ANTHONY DIBATTISTA & ROSEMARY DIBATTISTA JT TEN 50 FARLEY AVE                                                                                         FANWOOD         NJ    07023‐1205

ANTHONY DIOGUARDI                             1 WINGATE COURT                                                                                         MONROE TWP      NJ    08831‐4832
ANTHONY DIOGUARDI & MRS CARMELLO DIOGUARDI JT 1 WINGATE COURT                                                                                         MONROE TWP      NJ    08831‐4832
TEN
ANTHONY DIRAFFAEL                             12008 SILVERCREST STREET                                                                                MOORPARK        CA    93021
ANTHONY DONALD                                7731 WEAVER AVE                                                                                         NEW ORLEANS     LA    70127‐1234
ANTHONY DUFAULT                               11 MARKHAM LN                                                                                           LADERA RANCH    CA    92694
ANTHONY DUVA & CATHERINE DUVA JT TEN          5360 GREENFIELD RD                                                                                      BRIGHTON        MI    48114‐9071
ANTHONY E ANDRUS JR                           2583 EDWIN DR                                                                                           WARREN          MI    48092‐2199
ANTHONY E AUSTIN                              P O P O BOX 35113                                                                                       KANSAS CITY     MO    64134
ANTHONY E BEAVER                              183 RESERVOIR RD                                                                                        FORT EDWARD     NY    12828‐2409
ANTHONY E BRUSS                               13405 TERRA SANTA DR                                                                                    STERLING HTS    MI    48312
ANTHONY E BURAGINA                            336 BELFIELD ST                         LONDON ON                              N5Y 2K2 CANADA
ANTHONY E FAMELIO                             113 PULASKI BLVD                                                                                        TOMS RIVER      NJ    08757‐6421
ANTHONY E FROST EX EST KENNETH BUSBY          1 WILLOW FARM CLOSE                     ALCONBURY WESTON                       PE28 4FJ GREAT BRITAIN
ANTHONY E GOLE                                3380 COHOCTAH RD                                                                                        FOWLERVILLE     MI    48836‐8556
ANTHONY E GORDON                              222 ESTHER DR                           BARRIE ON                              L4N 0G3 CANADA
ANTHONY E GORSKI JR                           39 CHARLESCREST CT                                                                                      BUFFALO         NY    14224‐3807
ANTHONY E HEERSE                              743 MOUNTAIN AVE                                                                                        WYCKOFF         NJ    07481‐1048
ANTHONY E KOCON                               9503 YOSEMITE CIRCLE                                                                                    MINNEAPOLIS     MN    55437‐1920
ANTHONY E KOCON & JO ANN KOCON JT TEN         9503 YOSEMITE CIRCLE                                                                                    MINNEAPOLIS     MN    55437‐1920
ANTHONY E LAFAYETTE                           12566 MARINE AVE APT 21                                                                                 SAINT LOUIS     MO    63146‐2419
ANTHONY E LIVINGSTON                          1449 LAWRENCE                                                                                           DETROIT         MI    48206‐1514
ANTHONY E MC CAULEY JR                        18519 MARGARETA STREET                                                                                  DETROIT         MI    48219‐2929
ANTHONY E MC CLEARY                           1300 NEW CASTLE CT                                                                                      ROCKY MOUNT     NC    27803‐8952
ANTHONY E MCGRAW                              16228 ONEAL RD                                                                                          ATHENS          AL    35614‐5129
ANTHONY E MOORE                               13 SUMMER ST                                                                                            ROCKPORT        MA    01966‐2138
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 217 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

ANTHONY E MORATO                                  2215 SE 28TH PL                                                                                OCALA           FL      34471‐6189
ANTHONY E OBRIEN                                  6552 W IMLAY CITY RD                                                                           IMLAY CITY      MI      48444‐8503
ANTHONY E POWELL                                  5607 KINGSWAY CT W                                                                             CINCINNATI      OH      45215‐5111
ANTHONY E RIVA                                    42790 WOODBRIDGE                                                                               CANTON TOWNSHIP MI      48188‐1173

ANTHONY E RUTKOWSKI                               116 N CEDAR ST                        APT 1                                                    DRESDEN           TN    38225
ANTHONY E RYAN                                    322 FOSTER KNOLL DR                                                                            JOPPA             MD    21085‐4706
ANTHONY E SLATTERY                                11S246 CARPENTER                                                                               LEMONT            IL    60439‐9641
ANTHONY E SMITH                                   1546 VAN DYKE ST                                                                               SAN FRANCISCO     CA    94124‐3235
ANTHONY E SPERDUTI                                1055 FERNWOOD DR                                                                               LOCKPORT          NY    14094‐7113
ANTHONY EARL EVANS                                3800 INDIGO                                                                                    PLANO             TX    75075‐3568
ANTHONY EDWARDS                                   2001 S MICHIGAN AV                    19C                                                      CHICAGO           IL    60616‐1725
ANTHONY ETTS & GERTRUDE ETTS JT TEN               31 CLAFLIN BLVD                                                                                FRANKLIN SQUARE   NY    11010‐4314

ANTHONY EUGENE ODDO                               PO BOX 1281                                                                                    ELMHURST          IL    60126‐8281
ANTHONY EVOR EMMENDORFER                          11484 DUFFIELD RD                                                                              MONTROSE          MI    48457‐9430
ANTHONY F BARBIERI                                195 LAKESIDE DR                                                                                LEWES             DE    19958‐8931
ANTHONY F CAGLIOTTI                               44 PRYER TERR                                                                                  NEW ROCHELLE      NY    10804‐4419
ANTHONY F CASSINE                                 12 CROSSWOOD CT                                                                                ROCHESTER         NY    14612‐2765
ANTHONY F CILLUFFO & PATRICIA A CILLUFFO JT TEN   20447 WILDCAT RUN DR                                                                           ESTERO            FL    33928‐2014

ANTHONY F COMI & SANDRA L COMI JT TEN             6474 WATERCREST WAY                   APT 402                                                  BRADENTON         FL    34202
ANTHONY F COSTELLO                                40 WITCH HAZEL CT                                                                              MONMOUTH JNCT     NJ    08852‐2343

ANTHONY F FERRARA & ANNA FERRARA JT TEN           2311 DUNKIRK DR                                                                                CLINTON            MD   20735‐9411
ANTHONY F FERRARA & ANNA FERRARA JT TEN           2311 DUNKIRK DR                                                                                OWINGS             MD   20736
ANTHONY F KOTSONIS                                5194 HADLEY                                                                                    GOODRICH           MI   48438‐9608
ANTHONY F KRUKOWSKI                               21731 ARROWHEAD ST                                                                             SAINT CLAIR SHORES MI   48082‐1251

ANTHONY F KRUSZEWSKI & SANDRA L KRUSZEWSKI TEN    45273 DUNBARTON DR                                                                             NOVI              MI    48375‐3811
COM
ANTHONY F LOPILATO JR                             46 AMELIA PLACE                                                                                REVERE            MA    02151‐1940
ANTHONY F MASSARO & LENA MASSARO JT TEN           3360 S NORMAL                                                                                  CHICAGO           IL    60616‐3513
ANTHONY F MENNILLO                                464 N FULTON AVE                                                                               MOUNT VERNON      NY    10552‐1908
ANTHONY F MITAS & DOROTHY M MITAS TEN ENT         5601 FERGUS ROAD                                                                               ST CHARLES        MI    48655‐9694
ANTHONY F MOSCATO JR                              23536 DEMLEY                                                                                   CLINTON TWP       MI    48035‐2915
ANTHONY F MUSTON                                  1315 MORLINTY CT                                                                               COLUMBIA          TN    38401‐8064
ANTHONY F OGNJAN & CAROLE E OGNJAN JT TEN         14785 RUNNYMEADE                                                                               SHELBY TOWNSHIP   MI    48315‐2540

ANTHONY F PATRICELLI & MARY ANN PATRICELLI JT TEN 4332 RIPPLING BROOK DRIVE                                                                      NORTH LAS VEGAS   NV    89032‐0172

ANTHONY F PAVIDIS                                 1167 S MAIN ST                                                                                 BELLINGHAM        MA    02019‐1500
ANTHONY F RICHARDS & ALTHEA D RICHARDS JT TEN     3993 N RIVER ROAD                                                                              FORT GRATIOT      MI    48059‐4190

ANTHONY F ROSA                                    14 MANGER CIRCLE                                                                               PELHAM MANOR      NY    10803‐2628
ANTHONY F ROSA                                    1635 HERING AVE                                                                                BRONX             NY    10461‐2005
ANTHONY F SADOWSKI                                39320 NORTHAMPTON                                                                              WESTLAND          MI    48186‐3715
ANTHONY F STIEL JR                                638 FAIRLEDGE AVE                                                                              LAKE ORION        MI    48362‐2608
ANTHONY F UNIATOWSKI                              1403 MARKET ST                                                                                 WILMINGTON        DE    19804‐2329
ANTHONY F VARRATO JR TR ANTHONY F VARRATO JR      BOX 49754                                                                                      SARASOTA          FL    34230‐6754
TRUST UA 04/19/89
ANTHONY F WALRAVEN                                79 JANICE CT #219                                                                              ESSEXVILLE        MI    48732‐9403
ANTHONY F WENZEL & DENISE A WENZEL JT TEN         308 2ND ST                                                                                     MOSINEE           WI    54455‐1417
ANTHONY F WHITMORE & TWILA WHITMORE JT TEN        825 CEDAR POINT RD                                                                             SANDUSKY          OH    44870

ANTHONY FABELLO                                   2‐4 VICTORIA ST                       WATERDOWN ON                           L0R 2H6 CANADA
ANTHONY FALCETTA                                  2868 WILLOWDALE RD                    APT 2                                                    PORTAGE           IN    46368‐3352
ANTHONY FALL                                      113 S HAMILTON                                                                                 YPSILANTI         MI    48197‐5416
ANTHONY FARGNOLI JR                               16 LIBERTY AVE                                                                                 WHITESBORO        NY    13492
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 218 of 850
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

ANTHONY FASANELLO                             156 CHARTER OAKS DR #A                                                                               BUFFALO          NY    14228‐2516
ANTHONY FERRANDINO & JOANNE FERRANDINO JT TEN 341 HAVERFORD AVE                                                                                    WENONAH          NJ    08090‐1319

ANTHONY FERRARA CUST DAVID ANTHONY FERRARA        1 FONTAIRE                                                                                       TRABUCO CANYON   CA    92679‐4904
UGMA MD
ANTHONY FICARROTTO & RITA M FICARROTTO JT TEN     3812 JACQUELINE ST                                                                               BETHPAGE         NY    11714‐5409

ANTHONY FOSTER                                    21569 VIRGINIA                                                                                   SOUTHFIELD       MI    48076‐2364
ANTHONY FOTI & MRS DOROTHY A FOTI JT TEN          21443 SHANNON CT                                                                                 CUPERTINO        CA    95014‐4970
ANTHONY FRAGIONE                                  139 FLORENCE ST #1                                                                               EVERETT          MA    02149‐4906
ANTHONY FRANCIS MASSINO                           1620 E FIRST ST                                                                                  STREATOR WEST    IL    61364‐9784
ANTHONY FRIDECKY                                  21035 FLEETWOOD                                                                                  MT CLEMENS       MI    48035‐1609
ANTHONY G BALCZAK                                 1506 FREMONT NW                                                                                  GRAND RAPIDS     MI    49504‐3020
ANTHONY G BARNES                                  7487 LEXINGTON DR                                                                                MECHANICSVLLE    VA    23111‐4505
ANTHONY G BARTOSZ                                 327 8TH STREET                                                                                   MANISTEE         MI    49660‐2176
ANTHONY G BASILA                                  1125 CHESTNUT LANE                                                                               SOUTH LYONS      MI    48178‐0827
ANTHONY G BOCCHINO                                50 MYERS AVENUE                                                                                  HICKSVILLE       NY    11801‐2535
ANTHONY G BOZAAN                                  16161 GOLFVIEW                                                                                   LIVONIA          MI    48154‐2131
ANTHONY G BRAHOS                                  618 ORCHARD HILL DRIVE                                                                           PITTSBURGH       PA    15238‐2518
ANTHONY G CAMPISE                                 11226 DEBRA                                                                                      GRANADA HILLS    CA    91344‐3701
ANTHONY G CANNATA                                 320 W TEMPLE ST                                                                                  LOS ANGELES      CA    90012‐3208
ANTHONY G CASTRO                                  141 NW 96TH ST                                                                                   MIAMI SHORES     FL    33150‐1714
ANTHONY G DARMANIN                                118 DEER VALLEY CRES                    LONDON ON                              N6J 4K8 CANADA
ANTHONY G ESPOSITO & JANICE A ESPOSITO JT TEN     4616 NAVASSA LANE                                                                                NAPLES           FL    34119

ANTHONY G ESPOSITO TR ANTHONY G ESPOSITO TRUST    4616 NAVASSA LANE                                                                                NAPLES           FL    34119
UA 12/28/89
ANTHONY G FINAZZO                                 1739 SNAPP RD                                                                                    SEVIERVILLE      TN    37862‐9323
ANTHONY G FINAZZO & ROSE L FINAZZO JT TEN         1739 SNAPP RD                                                                                    SEVIERVILLE      TN    37862‐9323
ANTHONY G FORBERS                                 18645 OAK DR                                                                                     DETROIT          MI    48221‐2261
ANTHONY G HOUSE                                   300 HIGHGATE                                                                                     BUFFALO          NY    14215‐1026
ANTHONY G HYDE                                    53 OLD MORNINGTON RD                    MT ELIZA                               3930 AUSTRALIA
ANTHONY G HYDE                                    53 OLD MORNINGTON RD                    MT ELIZA                               3930 AUSTRALIA
ANTHONY G HYDE                                    53 OLD MORNINGTON ROAD                  MT ELIZA AUSTRALI                      3930 AUSTRALIA
ANTHONY G INSANO                                  129 DITTMOR DR                          SOUTH TOMS RIVER                                         TOMS RIVER       NJ    08757
ANTHONY G JENNINGS                                300 BALTIC SEA CT                                                                                PITTSBURG        CA    94565‐3532
ANTHONY G JOACHIM                                 4280 BRACKENWOOD DR                                                                              OLD HICKORY      TN    37138‐4216
ANTHONY G KAPUSIN                                 184 WASHINGTON ST N E                                                                            WARREN           OH    44483‐4925
ANTHONY G KAZAKOS & LORRAINE KAZAKOS JT TEN       2947 SILVERSTONE LANE                                                                            WATERFORD        MI    48329‐4538

ANTHONY G LICATA                                  24422 BROADVIEW                                                                                  FARMINGTON HILLS MI    48336‐1810

ANTHONY G MARESCO & JOAN M MARESCO JT TEN         20 SWEETBRIAR LANE                                                                               QUEENSBURY       NY    12804‐1218

ANTHONY G MASSOP                                  264 SUNDRIDGE DR                                                                                 BUFFALO          NY    14228‐1807
ANTHONY G MCKINNEY                                11339 LISTER DR                                                                                  KANSAS CITY      MO    64137‐2607
ANTHONY G OLTEAN                                  9021 S DECATUR                                                                                   LAS VEGAS        NV    89139
ANTHONY G ORTIZ                                   722 WHITEWING LANE                                                                               WALNUT           CA    91789‐1849
ANTHONY G PANICCIA                                38489 KELMAR ST                                                                                  CLINTON TWP      MI    48036‐2149
ANTHONY G PANICCIA                                38489 KELMAR                                                                                     CLINTON TOWNSHIP MI    48036‐2149

ANTHONY G PANICCIA & JOSEPH PANICCIA JT TEN       6251 OAKMAN                                                                                      DEARBORN         MI    48126‐2311
ANTHONY G ROSSI III                               1905 BRITTAINY OAKS TRL NE                                                                       WARREN           OH    44484‐3959
ANTHONY G SRAJ                                    1522 CATHERINE STREET                                                                            JOLIET           IL    60435‐4036
ANTHONY G STOCKTON                                93 INDIAN TRAILS CIRCLE                                                                          BEDFORD          IN    47421‐8742
ANTHONY G WRIGHT                                  643 ALGER                                                                                        DETROIT          MI    48202‐2150
ANTHONY G YUG                                     13795 FOREST GROVE ROAD                                                                          BROOKFIELD       WI    53005‐6533
ANTHONY G YUG                                     13795 FOREST GROVE ROAD                                                                          BROOKFIELD       WI    53005‐6533
ANTHONY GABIS JR                                  62 RIDGE ROAD                                                                                    HOLLISTON        MA    01746‐1580
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 219 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

ANTHONY GARFIELD                                  9131 KENSINGTON AVE                                                                            DETROIT           MI    48224‐1924
ANTHONY GARRAMONE                                 2216 MARGUERITA DR                                                                             LADY LAKE         FL    32159‐9542
ANTHONY GATTO                                     115 NORTH HERMAN AVE                                                                           BETHPAGE          NY    11714
ANTHONY GAUDIOSO & MARY E GAUDIOSO JT TEN         303 LAUREL RD                                                                                  SHARON HILL       PA    19079‐1205

ANTHONY GEORGE SHOWICH                            13453 LAKEVIEW DR                                                                              SHELBY TWP        MI    48315‐3531
ANTHONY GIAMBASTIANI & MRS IVA GIAMBASTIANI JT    8368 WEST SUNNYSIDE AVE                                                                        NORRIDGE          IL    60706
TEN
ANTHONY GIAMBO                                    122 WOODHAVEN ST                                                                               MATTAPAN          MA    02126‐1730
ANTHONY GIAMMANCO                                 162 CAMBER LANE                                                                                MOUNT LAUREL      NJ    08054‐3333
ANTHONY GILBERT & MICHELLE GILBERT JT TEN         20099 MUIRFIELD VILLAGE COURT                                                                  ASHBURN           VA    20147‐4101
ANTHONY GIUNTA                                    413 NORTH FIVE POINT RD                                                                        WEST CHESTER      PA    19380‐4632
ANTHONY GONCALVES                                 48 MARIOMI RD                                                                                  NEW CANAAN        CT    06840‐3309
ANTHONY GRECO                                     2211 CYPRESS ST                                                                                WANTAGH           NY    11793
ANTHONY GREEN                                     1842 OAKLAND AV                                                                                KANSAS CITY       KS    66102‐2656
ANTHONY GUARINO & DOMENICA GUARINO JT TEN         13830 S W 72ND COURT                                                                           MIAMI             FL    33158‐1260

ANTHONY GUIDICE                                   394 CAMPUS DR                                                                                  FRANKLIN SQUARE   NY    11011

ANTHONY H BERTUCCI JR                          16574 TRAILWAY DR                                                                                 MACOMB            MI    48042‐5777
ANTHONY H CHLUDZINSKI                          14401 PLUMMER ST UNIT 1                                                                           PANORAMA CITY     CA    91402‐1136
ANTHONY H CODESPOTE & GERALDINE C CODESPOTE JT 3309 6TH AVE                                                                                      BEAVER FALLS      PA    15010‐3513
TEN
ANTHONY H CONTE JR                             4139 CONTE RD                                                                                     LOTHIAN           MD    20711‐9537
ANTHONY H GRACE & GERALDINE M GRACE TR GRACE 3989 HIPP ST                                                                                        DEARBORN HGTS     MI    48125‐2909
FAMILY TRUST UA 06/22/00
ANTHONY H KARLINCHAK                           2701 MILLBURN ST                                                                                  MCKEESPORT       PA     15132‐5928
ANTHONY H LEWIS                                17659 IDA EAST                                                                                    CLINTON TOWNSHIP MI     48038‐1745

ANTHONY H LEWIS                                   17659 IDA EAST                                                                                 CLINTON TOWNSHIP MI     48038‐1745

ANTHONY H NICOTRA                                 1875 N 25TH ST                                                                                 KANSAS CITY       KS    66104‐4812
ANTHONY H SACCO                                   960 AMBERLY PLACE                                                                              COLUMBUS          OH    43220‐4102
ANTHONY HAYNES A MINOR                            3005 WESTBROOK                                                                                 SAGINAW           MI    48601‐6946
ANTHONY HENRY CORTESE CUST MICHELLE LYNN          8209 E ORME                                                                                    WICHITA           KS    67207‐2359
CORTESE
ANTHONY HINES                                     3613 SOLOMON DR                                                                                KILLEEN           TX    76542‐3011
ANTHONY HNATOW                                    106 WINCHELL DR                                                                                SYRACUSE          NY    13209‐1448
ANTHONY I ANAEBERE & VICTORIA N ANAEBERE JT TEN   9117 S 4TH AVE                                                                                 INGLEWOOD         CA    90305‐2817

ANTHONY IACABONI CUST MICHAEL IACABONI UGMA       173 CHASE HILL RD                                                                              STERLING          MA    01564‐1529
MA
ANTHONY IASCI                                     222 ROSS DR                                                                                    MONROE            MI    48162‐3219
ANTHONY ILLUZZI                                   120 DUNWOODIE COURT                                                                            YORKTOWN HGTS     NY    10598‐2207
ANTHONY J ACQUISTO                                234 ENCHANTED FOREST NORTH                                                                     LANCASTER         NY    14043‐5013
ANTHONY J ADAMS                                   376 CENTRAL                                                                                    PONTIAC           MI    48341‐3208
ANTHONY J AMELLA                                  21900 ALICE                                                                                    ST CL SHS         MI    48080‐2497
ANTHONY J ANGIE JR                                1432 IROQUOIS AVE                                                                              CLEVELAND         OH    44124‐1551
ANTHONY J ARAS                                    173 SCHOOLHOUSE LN                                                                             HOPEWELL JCT      NY    12533
ANTHONY J ARQUIETT                                77 MCCARTHY RD                                                                                 BRASHER FALLS     NY    13613‐3254
ANTHONY J BABICH                                  5114 S MOBILE AVE                                                                              CHICAGO           IL    60638‐1312
ANTHONY J BATTISTA                                61 LE GRANDE AVE                                                                               TARRYTOWN         NY    10591‐3405
ANTHONY J BELLUCCO                                1240 SALT RD                                                                                   WEBSTER           NY    14580‐9332
ANTHONY J BIANCONI                                325 30TH ST                                                                                    MC KEESPORT       PA    15132‐7119
ANTHONY J BITRITTO                                305 72ND ST                                                                                    NORTH BERGEN      NJ    07047‐5619
ANTHONY J BOEHM JR                                5533 HUNTER TERRACE                                                                            RAYTOWN           MO    64133‐3270
ANTHONY J BOSCO & LINDA A BOSCO JT TEN            2611 BAINBRIDGE LANE                  VILLAGE OF HADLEY                                        THE VILLAGES      FL    32162
ANTHONY J BUCALO                                  140 W 71ST ST                         APT 8A                                                   NEW YORK          NY    10023‐4019
ANTHONY J BUSCEMI & JOSEPH A BUSCEMI JT TEN       20299 WOODSIDE                                                                                 HARPER WOODS      MI    48225‐2207
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 220 of 850
Name                                             Address1                              Address2                Address3       Address4          City              State Zip

ANTHONY J BUSCEMI & OLIVIA M BUSCEMI JT TEN      20299 WOODSIDE                                                                                 HARPER WOODS      MI    48225‐2207
ANTHONY J BUSCEMI & SERAFIN A BUSCEMI JT TEN     20299 WOODSIDE                                                                                 HARPER WOODS      MI    48225‐2207

ANTHONY J CAMUTO & MARY A CAMUTO TR ANTHONY      2560 KIMBROUGH CIR                                                                             CHARLOTTESVILLE   VA    22901‐9516
J CAMUTO TRUST UA 04/14/94
ANTHONY J CAPOZZI & THURZA W CAPOZZI JT TEN      9636 COBBLESTONE DR                                                                            CLARENCE          NY    14031‐1574
ANTHONY J CARUSI                                 236 EAST ST                                                                                    FOWLERVILLE       MI    48836‐9512
ANTHONY J CAVOTTA                                116 POST RD                                                                                    ALAMO             CA    94507‐2619
ANTHONY J CAVUOTO                                70 ROCMAR DR                                                                                   ROCHESTER         NY    14626‐3811
ANTHONY J CELENTANO & ANNA C CELENTANO JT TEN    165 BROOK ST                                                                                   GARDEN CITY       NY    11530‐6422

ANTHONY J CHAVES                                 103 PACKARD ST                                                                                 HUDSON            MA    01749‐1454
ANTHONY J CHIRCO                                 ATTN ANTHONY CAPIZZI                  2103 FIRST NATL PLAZA                                    DAYTON            OH    45402
ANTHONY J CIACIUCH JR                            437 STOKER DR                                                                                  SAGINAW           MI    48604‐2332
ANTHONY J CICHY JR                               1720 STATE STREET                                                                              SCHENECTADY       NY    12304
ANTHONY J CITRO                                  7211 W 58TH PL                                                                                 SUMMIT            IL    60501‐1403
ANTHONY J COLUCCI & MRS BARBARA J COLUCCI JT TEN 82 GREENMOUNT TERR                                                                             WATERBURY         CT    06708‐4213

ANTHONY J D'AMORE                                5410 NE 15TH AVE                                                                               FT LAUDERDALE     FL    33334
ANTHONY J DAMATTOS & LOUIS P DEMATTOS JT TEN     PO BOX 2022                                                                                    GLENS FALLS       NY    12801‐2022

ANTHONY J DAVELLA                               34 GLEN COURT                                                                                   CHESHIRE          CT    06410‐2320
ANTHONY J DAVIS                                 1954 TROUP                                                                                      KANSAS CITY       KS    66104‐5727
ANTHONY J DE ALBUQUERQUE                        935 UNION LAKE RD                      APT 132                                                  WHITE LAKE        MI    48386
ANTHONY J DE SABIO                              169 NORWOOD AVE                                                                                 BUFFALO           NY    14222‐1915
ANTHONY J DE VENGENCIE                          2745 YOUNGSTOWN ROAD                                                                            WARREN            OH    44484‐5002
ANTHONY J DE VITA                               6523 HAVERFORD AVE                                                                              PHILADELPHIA      PA    19151‐3740
ANTHONY J DECARLO                               222 SOUTH ALGONQUIN                                                                             COLUMBUS          OH    43204‐1905
ANTHONY J DECESARE                              5544 N CROCKETT TERR                                                                            BEVERLY HILLS     FL    34465‐2105
ANTHONY J DECHICO                               1280 MAPLE AV                                                                                   PEEKSKILL         NY    10566‐4853
ANTHONY J DEMSKI                                3192 N TERM                                                                                     FLINT             MI    48506‐1962
ANTHONY J DENARDO                               1218 S 48TH ST                                                                                  DUNDALK           MD    21222‐1221
ANTHONY J DEPIERRO                              8019 STONE RD                                                                                   MEDINA            OH    44256‐8977
ANTHONY J DEROSE                                27 GIFFORD DR                                                                                   SYRACUSE          NY    13219‐1245
ANTHONY J DESCIPIO JR                           101 PINEWOOD RD                                                                                 ROARING BK TP     PA    18444
ANTHONY J DI CENZO                              80 FAIRELM LN                                                                                   CHEEKTAWAGA       NY    14227‐1356
ANTHONY J DI FIORE                              130 WEEKS RD                                                                                    EAST WILLISTON    NY    11596‐1426
ANTHONY J DI NARDO & MARGARET R DI NARDO JT TEN 109 RIVERGLEN RD                                                                                LIVERPOOL         NY    13090‐2811

ANTHONY J DIBIASE & DONNA L DIBIASE JT TEN       232 STANHOPE DR                                                                                WILLOWBROOK       IL    60527‐2957
ANTHONY J DIGREGORIO                             70 THE WOODS ROAD                                                                              HEDGESVILLE       WV    25427
ANTHONY J DILORENZO                              35UNION ST                                                                                     MERIDEN           CT    06451‐3140
ANTHONY J DUDEREWICZ                             164 S OGDEN ST                                                                                 BUFFALO           NY    14206‐3522
ANTHONY J DURKIN                                 5539 BRIAR LN                                                                                  WHITEHALL         PA    18052‐2167
ANTHONY J DUYCK                                  4545 E PALOMINO                                                                                PHOENIX           AZ    85018‐1719
ANTHONY J ENRIQUEZ                               201 ARVA CT                                                                                    COLUMBIA          TN    38401‐2695
ANTHONY J FARENO & PRISCILLA FARENO JT TEN       55 HARMONY WAY                                                                                 NEWTOWN           PA    18940
ANTHONY J FARKAS JR & MARY ANN FARKAS JT TEN     117 DOGWOOD LN                                                                                 NEWBURGH          NY    12550‐2027

ANTHONY J FATURA                                 7682 W M 21                                                                                    OVID              MI    48866‐9468
ANTHONY J FLIHAN                                 49 ALHAMBRA DR                                                                                 ROCHESTER         NY    14622‐3157
ANTHONY J FONTANA                                723 DOGWOOD LN                                                                                 VERMILLION        OH    44089‐2084
ANTHONY J FRATANGELI                             1620 FILLMORE ST                                                                               ALIQUIPPA         PA    15001‐2004
ANTHONY J FROEHLICH & MRS MARYANN FROEHLICH      8918 BRIERLY RD                                                                                CHEVY CHASE       MD    20815‐4747
TEN ENT
ANTHONY J FUIMO & MARIETTA L FUIMO JT TEN        298 PARK ST                                                                                    SI                NY    10306‐1814
ANTHONY J GARGOTTA                               2661 N W LEE'S SUMMIT RD                                                                       LEE'S SUMMIT      MO    64064‐2238
ANTHONY J GARTHWAITE                             6099 WEAVER ROAD                                                                               BERLIN CENTER     OH    44401‐8715
ANTHONY J GASPAROVIC                             711 CARVER                                                                                     YPSILANTI         MI    48198‐3001
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 221 of 850
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

ANTHONY J GAZELLA                                  5647 WALNUT ST                                                                                  MENTOR           OH    44060‐2545
ANTHONY J GENNARO                                  4957 PINE LEDGE DR E                                                                            CLARENCE         NY    14031‐1528
ANTHONY J GENNARO & SADIE M GENNARO JT TEN         4957 PINE LEDGE DR E                                                                            CLARENCE         NY    14031‐1528

ANTHONY J GENTILE JR                               44 HIGHLAND CROSSING                                                                            SCITUATE         MA    02066‐3100
ANTHONY J GERMANO & ANN M GERMANO JT TEN           216 EAST SWANSON CIRCLE                                                                         SOUTH BEND       IN    46615‐2549

ANTHONY J GIANNOLA TR ANTHONY J GIANNOLA TRUST 8317 CORAL DRIVE                                                                                    NORRIDGE         IL    60706‐4301
UA 12/17/03
ANTHONY J GIORDANO JR                          117 BAR HARBOR RD                                                                                   PASADENA         MD    21122‐2626
ANTHONY J GIRARDI                              2215COLUMBUS AVE                                                                                    SANDUSKY         OH    44870‐4825
ANTHONY J GIULIANO                             3009 PHILIP AVE                                                                                     BRONX            NY    10465‐2332
ANTHONY J GRANDSTAFF                           205 W OTTAWA ST                                                                                     LOGANSPORT       IN    46947‐2505
ANTHONY J GRIECO                               105 BECKER HILL RD                                                                                  WILLIAMSPORT     PA    17701‐9389
ANTHONY J GUARNERI & LILLIAN R GUARNERI JT TEN 212 1/2 DUNDAFF ST                                                                                  CARBONDALE       PA    18407‐1515

ANTHONY J GUINTA                                103 N ROXFORD ROAD                                                                                 SYRACUSE         NY    13208‐1942
ANTHONY J HATKOW                                27235 WYATT                                                                                        TRENTON          MI    48183‐4854
ANTHONY J HENGESBACH & DALE A HENGESBACH JT     23130 SHEPHERD LN                                                                                  MACOMB           MI    48042‐5492
TEN
ANTHONY J HINES                                 PO BOX 14                                                                                          GOULD CITY       MI    49838‐0014
ANTHONY J IMPERATRICE                           15 STACEY LN                                                                                       STATEN ISLAND    NY    10306‐5101
ANTHONY J KALB CUST ANDREW ELLIOTT KALB UGMA IA 695 SUNSET RDG                                                                                     DUBUQUE          IA    52003‐7764

ANTHONY J KALB CUST ANN MARIE KALB UGMA IA         2835 E CEDAR AVE                                                                                DENVER           CO    80209‐3209
ANTHONY J KALB CUST MARTHA JO KALB UGMA IA         626‐13TH AVE NORTH                                                                              ONALASKA         WI    54650‐2403

ANTHONY J KALB CUST PAUL FREDERIC KALB UGMA IA     12471 EATON CIRCLE                                                                              DUBUQUE          IA    52001‐8831

ANTHONY J KAVALESKI & MARSHA J KAVALESKI JT TEN    294 HUDSON ROAD                                                                                 STOW             MA    01775‐1447

ANTHONY J KERR                                     6285 STATE RT 201                                                                               TIPP CITY        OH    45371‐8557
ANTHONY J KOMERSKA                                 4037 WENTWORTH DR                                                                               TROY             MI    48098‐4247
ANTHONY J KOSTECKI & JOAN C KOSTECKI JT TEN        3821 DILL DR                                                                                    WATERFORD        MI    48329‐2135
ANTHONY J KUKULICH                                 2200 KINGSRIDGE DRIVE                                                                           WILMINGTON       DE    19810‐2712
ANTHONY J KUKULICH & STELLA R KUKULICH JT TEN      2200 KINGSRIDGE DR                                                                              WILMINGTON       DE    19810‐2712

ANTHONY J KUMOR                                    123 OAK LEAF WAY                                                                                PEARL            MS    39208‐8117
ANTHONY J LAPOLLA JR & PATRICIA D LAPOLLA JT TEN   1838 NE 21ST TERRACE                                                                            JENSEN BEACH     FL    34957‐5139

ANTHONY J LAWRENCE                                11204 STOCKWELL                                                                                  DETROIT          MI    48224‐1530
ANTHONY J LAZARECKI JR & SUSAN K LAZARECKI JT TEN 5137 RIDGETOP DR                                                                                 WATERFORD        MI    48327‐1347

ANTHONY J LEDESMA                                  14830 N BLACK CANYON HWY               APT 1115                                                 PHOENIX          AZ    85053‐4940
ANTHONY J LIUZZA                                   5233 KAWANEE AVENUE                                                                             METAIRIE         LA    70006‐2549
ANTHONY J LO POMO                                  934 QUINCY DR                                                                                   BRICKTOWN        NJ    08724‐1088
ANTHONY J LOBIG & FRANK D LOBIG JT TEN             1072 SW 10TH AVE                                                                                BOCA RATON       FL    33486‐5482
ANTHONY J LOMANTO                                  9 PARK AVENUE                                                                                   VERONA           NJ    07044‐2138
ANTHONY J LUPO                                     474 CHARLES PL                                                                                  FREEHOLD         NJ    07728‐3403
ANTHONY J MAINELLA & MARION M MAINELLA JT TEN      PO BOX 389                                                                                      GORDON           PA    17936‐0389

ANTHONY J MANCUSO & DARLENE MANCUSO JT TEN         RR1 BOX 402                                                                                     CLARKSBURG       WV    26301‐9755

ANTHONY J MARANDOLA                                319 GEORGETOWN RD                                                                               CARNEYS POINTE   NJ    08069‐2509
ANTHONY J MARLOW                                   4 CORBETT AVE                          ST CATHARINES ON                       L2N 5M4 CANADA
ANTHONY J MARTIN                                   1768 W VERMONTVILLE HWY                                                                         CHARLOTTE        MI    48813‐8600
ANTHONY J MARTONE                                  35 FRANCINE DR                                                                                  ROCHESTER        NY    14606‐3342
ANTHONY J MASSIELLO                                23 FORDHAM RD                                                                                   ESSEX            CT    06426‐1424
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 222 of 850
Name                                                Address1                               Address2             Address3          Address4          City               State Zip

ANTHONY J MATTIUCCI & GLORIA V MATTIUCCI JT TEN     2002 ROBINSON DR N                                                                              ST PETERSBURG      FL    33710‐3820

ANTHONY J MAZZALI                                   2530 IROQUOIS STREET                                                                            DETROIT            MI    48214‐1883
ANTHONY J MCLAUGHLIN                                30 SUMMERLAKE CT                                                                                TROY               MO    63379‐3855
ANTHONY J MIKOVSKY                                  1015 EDINBURG ROAD                                                                              TRENTON            NJ    08690‐1229
ANTHONY J MIKOVSKY & LORETTA A MIKOVSKY JT TEN      1015 EDINBURG ROAD                                                                              TRENTON            NJ    08690‐1229

ANTHONY J MONEIKIS                                  144 AMES ST                                                                                     BROCKTON           MA    02302‐2035
ANTHONY J NAPOLEON                                  609 PENDLEBURY PARK PL                                                                          FRANKLIN           TN    37069‐6536
ANTHONY J NARDOZZI                                  76955 MCKAY                                                                                     ROMEO              MI    48065‐2711
ANTHONY J NEGLIA & JANET N MEGLIA JT TEN            18 LINDA LANE                                                                                   COMMACK            NY    11725‐2312
ANTHONY J NEWBY                                     518 TENNYSON                                                                                    ROCHESTER HILLS    MI    48307‐4245
ANTHONY J NICHOLS                                   21001 US HIGHWAY 1 N                                                                            MATTHEWS           GA    30818‐2103
ANTHONY J PANE TR TRUST AGREEMENT UA 5/27/98        PO BOX 8207                                                                                     MC LEAN            VA    22106

ANTHONY J PAQUE CUST SAMUEL DAVID PAQUE UTMA        W11024 EAGLE DR                                                                                 LODI               WI    53555‐1572
WI
ANTHONY J PASKO JR                                  75 TALL TIMBER RD                                                                               MIDDLETOWN         NJ    07748
ANTHONY J PATANELLA                                 3950 SCENIC RDG                        APT 123                                                  TRAVERSE CITY      MI    49684‐3905
ANTHONY J PAWLOWSKI                                 2853 E OAKLAND DR                                                                               WILMINGTON         DE    19808‐2420
ANTHONY J PERRINO                                   6440 GOLF VIEW DR                                                                               CLARKSTON          MI    48346‐3084
ANTHONY J PFAFF JR                                  6110 HENDERSON RD                                                                               COLUMBIAVILLE      MI    48421‐8803
ANTHONY J PIANGA                                    33955 ARROWHEAD                                                                                 WESTLAND           MI    48185‐2718
ANTHONY J PIZZIRUSSO & MRS VICTORIA PIZZIRUSSO JT   15 ADMIRAL ROAD                                                                                 MASSAPEQUA         NY    11758‐7816
TEN
ANTHONY J POLZELLA                                  613 WOLCOTT STREET                                                                              BRISTOL            CT    06010‐5918
ANTHONY J POYMA                                     3065 HAMPIKIAN                                                                                  MILFORD            MI    48380‐3515
ANTHONY J PRETTITORE CUST PAUL SCOTT PRETTITORE     341 HOWARD AVE                                                                                  FAIRLAWN           NJ    07410‐3543
UGMA NJ
ANTHONY J PRINCE & THERESA A PRINCE JT TEN          4378 SQUIRREL RD                                                                                LAKE ORION         MI    48359‐1855
ANTHONY J PTAK                                      39254 BLACK STONE                                                                               STERLING HEIGHTS   MI    48313‐5029

ANTHONY J PUCHOWICZ                             6670 STRATHMORE DRIVE                                                                               VALLEY VIEW        OH    44125‐5517
ANTHONY J PUKENAS EX UW HELEN PUKEN UA 10/07/93 1073 FLORENCE COLUMBUS RD                                                                           BPRDENTOWN         NJ    08505‐4219

ANTHONY J RAPPA & GRACE L RAPPA JT TEN              4711 GEORGE LANE                                                                                GLENDORA           NJ    08029
ANTHONY J RENDINA & NINA M RENDINA JT TEN           1902 WEST 7TH ST                                                                                WILMINGTON         DE    19805‐3040
ANTHONY J ROBUSTELLI & LILLIAN ROBUSTELLI JT TEN    1143 JENSEN AVE                                                                                 MAMARONECK         NY    10543‐3838

ANTHONY J ROMANO                                    304 BROOKSBY VILLAGE DR                UNIT 117                                                 PEABODY            MA    01960‐8581
ANTHONY J ROMANO & EMILY ROMANO JT TEN              304 BROOKSBY VILLAGE DR UNIT 117                                                                PEABODY            MA    01960‐8581
ANTHONY J RYDZYNSKI JR & ANTOINETTEM RYDZYNSKI      668 RANSOM RD                                                                                   LANCASTER          NY    14086‐9714
JT TEN
ANTHONY J SANDORA & THELMA R SANDORA JT TEN         21640 WINSHALL ST                                                                               ST CLAIR SHORES    MI    48081‐1216

ANTHONY J SCHAFER                                  10203 KINLEY RD                                                                                  FOWLER             MI    48835‐9714
ANTHONY J SCHIAVINO                                1 GRACE DRIVE                                                                                    SOUTH AMBOY        NJ    08879‐1315
ANTHONY J SCHIAVINO & JOAN SCHIAVINO JT TEN        1 GRACE DRIVE                                                                                    SOUTH AMBOY        NJ    08879‐1315
ANTHONY J SCHULTE                                  4826 WOODLEY AVE                                                                                 ENCINO             CA    91436‐1473
ANTHONY J SCHULTZ III CUST TRACY A SCHULTZ UGMA IL 652 SCHOOL ST                                                                                    KOHLER             WI    53044‐1430

ANTHONY J SCINTA                                    32 WOODGATE RD                                                                                  TONAWANDA          NY    14150‐8132
ANTHONY J SHEPPARD                                  8431 HIGHWAY 106 S                                                                              HULL               GA    30646‐3104
ANTHONY J SIGNORELLI & MARSHA M SIGNORELLI JT       3787 BAILEY HOLLOW RD                                                                           NEWARK VALLEY      NY    13811‐3123
TEN
ANTHONY J SIMIELE JR CUST ANTHONY JOHN SIMIELE      38866 CALISTOGA ST                                                                              PALMDALE           CA    93551‐4608
UGMA CA
ANTHONY J SPAGNOLETTA                               1131 PARK AVE                                                                                   GIRARD             OH    44420‐1804
ANTHONY J SPARACELLO                                146 LIBERTY PL                                                                                  W KEANSBURG        NJ    07734‐3162
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 223 of 850
Name                                             Address1                             Address2             Address3          Address4                         City            State Zip

ANTHONY J STAPF                                  1332 SWANN BEATTY ROAD                                                                                       CAMDEN          OH    45311‐8620
ANTHONY J STEMPKY & SUE K STEMPKY JT TEN         7951 STONE BARN DRIVE                                                                                        WEST CHESTER    OH    45069‐2092
ANTHONY J STORNANT                               15110 WESTERN VALLEY DR                                                                                      HOLLY           MI    48442‐1912
ANTHONY J SUAREZ                                 7346 TERRANOVA DR                                                                                            WARRENTON       VA    20187‐7240
ANTHONY J SULLIVAN                               RR#2 BOX 430                                                                                                 MASSENA         NY    13662‐9802
ANTHONY J SUMMA                                  64 MELWOOD DR                                                                                                ROCHESTER       NY    14626‐4277
ANTHONY J SZAFRANSKI CUST JILL SZAFRANSKI UGMA   2377 WILLOW RUN CT                                                                                           GIBSONIA        PA    15044‐8112
PA
ANTHONY J SZCZUKA & FRANK E SZCZUKA JT TEN       2128 HAVEN RD                                                                                                WILMINGTON      DE    19809‐1034
ANTHONY J SZCZUR & MARY J SZCZUR JT TEN          631 MANCHESTER RD                                                                                            NORRISTOWN      PA    19403‐4156
ANTHONY J TARANTINO                              54 PARKVIEW DR                                                                                               PLANTSVILLE     CT    06479‐1918
ANTHONY J TARINELLI JR                           PO BOX 76                            303 LINDABURY LANE                                                      POTTERVILLE     NJ    07979‐0076
ANTHONY J TATONETTI                              966 ROYAL RD                                                                                                 CLEVELAND       OH    44110‐3160
ANTHONY J TESTA                                  5996 MAYFLOWER RD                                                                                            NIAGARA FALLS   NY    14305‐1475
ANTHONY J TESTA                                  109 MEADOWLARK DR                                                                                            HAMILTON SQUARE NJ    08690‐3559

ANTHONY J TRABUCCO                               PO BOX 236                                                                                                   JORDAN          NY    13080‐0236
ANTHONY J TRUSEWICZ                              849 VINEWOOD                                                                                                 WYANDOTTE       MI    48192‐5008
ANTHONY J VALENTI                                4058 W 226TH ST                                                                                              CLEVELAND       OH    44126‐1076
ANTHONY J VASQUEZ                                3129 ELK CREEK DR 133                                                                                        SWARTZ CREEK    MI    48473‐8630
ANTHONY J VENTRELLA                              24 VILLLAGE STREET                                                                                           BRISTOL         CT    06010
ANTHONY J VENTRICELLI                            185 KING ST                                                                                                  BRIDGEPORT      CT    06605
ANTHONY J VICIDOMINI                             25 KNOLL CT                                                                                                  MATAWAN         NJ    07747‐9513
ANTHONY J VIRGA                                  17 CAROLINE ST                                                                                               WORCESTER       MA    01604‐3854
ANTHONY J WESSELMANN                             1232 BAHAMAS DR                                                                                              EDWARDSVILLE    IL    62025‐5125
ANTHONY J WIECH JR                               295 SOUTH MEADOW DRIVE                                                                                       N TONAWANDA     NY    14120‐4858
ANTHONY J WILSON                                 4174 CASTLEMOOR DR                                                                                           JANESVILLE      WI    53546‐9379
ANTHONY J WOODS                                  975 GRACE ST                                                                                                 SAN LEANDRO     CA    94578‐3521
ANTHONY J YELK                                   1015 ELLSWORTH DR                                                                                            GRAYSLAKE       IL    60030
ANTHONY J ZEKA                                   11213 SALENTINO AVE                                                                                          LAS VEGAS       NV    89138‐7511
ANTHONY J ZELENKA                                401 GRACE ST                                                                                                 OWOSSO          MI    48867‐4401
ANTHONY J ZIOBRO                                 12148 N ELMS                                                                                                 CLIO            MI    48420‐9426
ANTHONY J ZIOBROWSKI                             14671 BARKLEY ST                     APT 32202                                                               OVERLAND PARK   KS    66223‐3881
ANTHONY J ZONE                                   3375 SANDALWOOD LANE                                                                                         YOUNGSTOWN      OH    44511‐2528
ANTHONY J ZUGIE                                  1334 SYCAMORE AVE                    C/O MARGARET ZUGIE                                                      WILMINGTON      DE    19805‐5043
ANTHONY J ZUKOFSKY                               2583 HAMILTON TERRACE                                                                                        UNION           NJ    07083‐4961
ANTHONY JAMES ANNUNZIATO                         6110 WHISKEY CREEK DR                SUITE 228                                                               FORT MEYERS     FL    33919‐8722
ANTHONY JAMES ARCURI SR & TONI ANN ARCURI JT TEN 257 CORBIN AVE                                                                                               STATEN ISLAND   NY    10308‐1877

ANTHONY JAMES STRAZISAR                          11875 LAUREL RD                                                                                              CHESTERLAND     OH    44026‐1722
ANTHONY JOHN DYER                                PO BOX 722                           BASSETERRE           WEST INDIES       ST CHRIS. (ST KITTS) AND NEVIS

ANTHONY JOHN NICHOLES CUST ANDREW JOHN           9 LEONARD AVENUE                                                                                             LEONARDO        NJ    07737‐1536
NICHOLES UGMA NY
ANTHONY JOHN ROTTENBUCHER                        4720 RICHARDSON RD                                                                                           ELKTON           MI   48731‐9749
ANTHONY JOSEPH KOWAL                             79 TRENT DR                                                                                                  TOMS RIVER       NJ   08757‐6576
ANTHONY JOSEPH LEWKOWSKI                         2610 S FORREST GREEN DR                                                                                      DECATUR          IL   62521‐5411
ANTHONY JOSEPH PUZA                              431 1ST ST                                                                                                   EYNON            PA   18403‐1434
ANTHONY K DOUGLAS                                1090 MAPLE STREET                                                                                            SOUTH STE MARIE MI    49783‐2432
ANTHONY K KELICHNER                              9368 SE 124TH LOOP                                                                                           SUMMERFIELD      FL   34491‐9444
ANTHONY K MANN                                   14560 KEPPEN AVE                                                                                             ALLEN PARK       MI   48101‐2908
ANTHONY K POLO                                   8579 FAIRLANE DR                                                                                             OLMSTED TWP      OH   44138‐2116
ANTHONY K STANG                                  120 ZOERB AVE                                                                                                CHEEKTOWAGA      NY   14225‐4724
ANTHONY K TANNER                                 BOX 3038                                                                                                     GALLUP           NM   87305‐3038
ANTHONY K WILLIAMS                               1628 N 49TH ST                                                                                               KANSAS CITY      KS   66102‐1734
ANTHONY KERI                                     976 FORD RD                                                                                                  HIGHLAND HTS     OH   44143‐3130
ANTHONY KERI & CLARA KERI JT TEN                 976 FORD ROAD                                                                                                HIGHLAND HEIGHTS OH   44143‐3130

ANTHONY KIERNAN & DAVIDA KIERNAN JT TEN          13 THE SPUR                                                                                                  STOSSET         NY    11791‐4129
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 224 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

ANTHONY KIWAK                                      4938 FOXWOOD LAKE DR                                                                           LAKELAND          FL    33810‐3026
ANTHONY KOSHIVOS                                   4 BRIELLE RD                                                                                   NORTH GRAFTON     MA    01536‐1167
ANTHONY KOURIS                                     645 ROSE AVE                                                                                   PRICE             UT    84501
ANTHONY KOUSTAS CUST MISS LESLIE JANE KOUSTAS      29873 S GIBRALTAR RD                                                                           ROCKWOOD          MI    48173‐9428
UGMA MI
ANTHONY KOWALEWSKI                                 26054 BARNES ST                                                                                ROSEVILLE         MI    48066‐3521
ANTHONY L ABNEY                                    413 CAMERON PLACE                                                                              HAMILTON          OH    45013‐4123
ANTHONY L ARNOLD                                   6648 COOL SPRINGS ROAD                                                                         THOMPSON          TN    37179‐9209
                                                                                                                                                  STATION
ANTHONY L ARTIS                                    1507 SPRING HOUSE COURT                                                                        WINCHESTER        VA    22601‐6748
ANTHONY L BAKER                                    209 S MUSTIN DRIVE                                                                             ANDERSON          IN    46012‐3157
ANTHONY L BOWEN CUST GEOFFREY PETER BOWEN          LAFAYETTE AVE                                                                                  PARK RIDGE        NJ    07656
UGMA NJ 108
ANTHONY L BRITTON                                  4001 VALACAMP S E                                                                              WARREN            OH    44484‐3318
ANTHONY L CARR                                     1816 LONGWOOD DR                                                                               RALEIGH           NC    27612‐6416
ANTHONY L CORTEZ                                   15628 S AVALON                                                                                 SOUTH HOLLAND     IL    60473‐1811
ANTHONY L DRERUP                                   6451 KIGGINS RD                                                                                DELPHOS           OH    45833‐9001
ANTHONY L EVANS                                    8523 GALLANT FOX DRIVE                                                                         INDIANAPOLIS      IN    46217‐4808
ANTHONY L FALASCA JR & VICTORIA E FALASCA JT TEN   5 PHILLIPS LANE                                                                                WEST NYACK        NY    10994‐1913

ANTHONY L FARINACCI & MRS JAYMEE D FARINACCI TEN 13101 SANFIELD RD                                                                                BALDWIN           MD    21013‐9326
ENT
ANTHONY L FILIPEK                                15321 WILLIAMS                                                                                   LIVONIA           MI    48154‐1843
ANTHONY L FREY                                   305 MAE ST                              FORTCOLLINS                                              FORT COLLINS      CO    80525‐2144
ANTHONY L GOMEZ                                  203 WEST RIDGE RD                                                                                NORMAN            OK    73069‐8744
ANTHONY L GOTTLIEB                               1801 NW 126TH WAY                                                                                CORAL SPRINGS     FL    33071‐5414
ANTHONY L HOLLAND                                11802 WOODSPOINTE                                                                                GRAND LEDGE       MI    48837‐9100
ANTHONY L KONDEL                                 510 S GEECK RD                                                                                   CORUNNA           MI    48817‐9550
ANTHONY L KOVACH                                 5420 MC KEACHIE ROAD                                                                             WHITE LAKE        MI    48383‐1335
ANTHONY L KUIAWA                                 2611 SMITH LAKE ROAD N W                                                                         KALKASKA          MI    49646‐9400
ANTHONY L LIM & LOUISE N LIM JT TEN              2143 SADDLEBROOK ST                                                                              STOCKTON          CA    95209‐4246
ANTHONY L MATTIODA                               3601 TIMBERLAKE RD                                                                               MCALESTER         OK    74501‐8288
ANTHONY L MAUSER                                 3096 E CO RD 800N                                                                                BAINBRIDGE        IN    46105‐9545
ANTHONY L PEIFFER                                193 1ST ST                                                                                       SHELBY            MI    49455‐1021
ANTHONY L PLESH                                  42 KENNETH PLACE                                                                                 CLARK             NJ    07066‐1721
ANTHONY L POSAWATZ                               8071 PINE FOREST CT                                                                              DAVISBURG         MI    48350‐2041
ANTHONY L RACH                                   914 STATE ROUTE 183                                                                              ATWATER           OH    44201‐9571
ANTHONY L RUH                                    3417 LAKE CREEK TRAIL                                                                            MANSFIELD         TX    76063‐5490
ANTHONY L SCHWARTZFISHER                         1715 W STOLL RD                                                                                  DEWITT            MI    48820‐8641
ANTHONY L SIGNA                                  106 MORTIMER AVE                                                                                 RUTHERFORD        NJ    07070‐1615
ANTHONY L SIMON                                  5011 N RED FARM WAY                                                                              WEST BLOOMFIELD   MI    48323‐2450

ANTHONY L SMITH                                2253 QUINDARO BLVD                                                                                 KANSAS CITY       KS    66104‐4533
ANTHONY L SURDOCK & LORRAINE O SURDOCK TEN ENT 7750 MELOURNE                                                                                      SAGINAW           MI    48604‐9781

ANTHONY L TOWNSEL                                  10517 W OUTER DR                                                                               DETROIT           MI    48223‐2116
ANTHONY L VALPONE                                  717 CRESCENT PL                                                                                SEA GIRT          NJ    08750‐2802
ANTHONY L VUOCOLO                                  2492 OAKDALE DRIVE                                                                             ANN ARBOR         MI    48108‐1264
ANTHONY L WAGNER IV & LINDA M WAGNER TEN COM       776 DIEHL RD                                                                                   BEDFORD           PA    15522‐4739

ANTHONY L WALKER                                   5500 N DOUGLAS BVD                                                                             SPENCER           OK    73084‐1519
ANTHONY L WATSON                                   1025 ELMARNA AVE                                                                               ASHLAND           OH    44805‐2926
ANTHONY L WILLIAMS                                 3135 N WASHINGTON BLVD                                                                         INDIANAPOLIS      IN    46205‐3932
ANTHONY L WILLIAMS                                 PO BOX 17253                                                                                   DAYTON            OH    45417‐0253
ANTHONY L WOODRUFF                                 58666 MAIN ST                                                                                  NEW HAVEN         MI    48048‐2634
ANTHONY LAMPERT & KATALIN LAMPERT JT TEN           138 CLARKSON ST                                                                                BRIDGEPORT        CT    06605‐3240
ANTHONY LAWRENCE GUTTADORA                         768 SPRINGFIELD AVE                   # UNIT B 7                                               SUMMIT            NJ    07901‐2331
ANTHONY LEIDEKER & MRS ELIZABETH LEIDEKER JT TEN   1921 SW 83RD TER                                                                               DAVIE             FL    33324‐5249
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 225 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

ANTHONY LIVEO SCOVANNER                         6326 ARROWPOINT DR                                                                              LOVELAND         OH    45140‐7521
ANTHONY LOPEZ & EDNA LOPEZ JT TEN               132 TARPON DR                                                                                   SEA GRIT         NJ    08750‐2219
ANTHONY LOUIS ARCINIAGA                         200 RIVERSIDE BLVD                     APT 9H                                                   NEW YORK         NY    10069‐0909
ANTHONY LUSCHINSKI                              29524 HEMLOCK LN                                                                                EASTON           MD    21601‐4886
ANTHONY LYCEUM LIBRARY ASSOCIATION              ATTN JAMES A HOPKINS                   260 DIVISION ST                                          EAST GREENWICH   RI    02818‐4045
ANTHONY M ANDERSON                              3922 TAYLOR RD                         APT 64                                                   FORT WAYNE       IN    46804‐1944
ANTHONY M ANGEROME                              7832 COLDBROOKE DR                                                                              SEVERN           MD    21144‐2005
ANTHONY M ANNICCHIARICO                         138 CHURCHILL DR                                                                                ROCHESTER        NY    14616‐2104
ANTHONY M BARCLAY                               5004 ASHBURG DR                                                                                 GLEN ALLEN       VA    23060‐6297
ANTHONY M BELLISSIMO                            1556 CONGRESS HILL LN                                                                           FAIRFIELD        OH    45014‐4604
ANTHONY M BRADLEY                               2377 LAVELLE RD                                                                                 FLINT            MI    48504‐2309
ANTHONY M BRATKOVICH & MARIA L BRATKOVICH JT    14053 SE CLAREMONT ST                                                                           HAPPY VALLEY     OR    97086‐7136
TEN
ANTHONY M CARUSO                                360 EAST 328TH ST                                                                               WILLOWICK        OH    44095‐3308
ANTHONY M CASTELLETTI                           83 SPRINGFIELD AVE                                                                              TONAWANDA        NY    14150‐9117
ANTHONY M CERRA                                 428 QUANE AVE                                                                                   SPRING HILL      FL    34609‐0213
ANTHONY M CIRINCIONE                            1705 COVELL RD                                                                                  BROCKPORT        NY    14420‐9732
ANTHONY M CUCCIARRE & ANTOINETTE A CUCCIARRE JT 499 N BROADWAY                         APT 5C                                                   WHITE PLAINS     NY    10603‐3242
TEN
ANTHONY M DECARE                                BOX 577                                                                                         NORFOLK          NY    13667‐0577
ANTHONY M DEGROOT                               852 BAISLEY TRL                                                                                 THE VILLAGES     FL    32162‐2432
ANTHONY M DEMCHUK                               30109 WHITEHALL CRT                                                                             FARMINGTON HILLS MI    48331‐1936

ANTHONY M DUNCAN & VIRGINIA A DUNCAN JT TEN      1800 ASHLAND AVE                                                                               NORFOLK          VA    23509‐1236

ANTHONY M DUNCAN CUST SAMANTHA M DUNCAN          1800 ASHLAND AVE                                                                               NORFOLK          VA    23509‐1236
UTMA VA
ANTHONY M EDWARDS                                3329 WOODS FIELD DRIVE                                                                         MARIETTA         GA    30062‐5358
ANTHONY M ELLIOTT                                248 AOK POINT LANDING DR                                                                       MOUNT PLEASANT   SC    29464‐6283

ANTHONY M ENGLISH                                3073 AZALEA DR                                                                                 FORT MILL        SC    29707‐5860
ANTHONY M ENNAS JR                               6149 HAVENVIEW DR                                                                              MECHANICSVLLE    VA    23111
ANTHONY M FERRANTE                               601 JACKSON AVE                                                                                VANDERGRIFT      PA    15690‐1472
ANTHONY M FIKANY & CARRIE LOUISE FIKANY JT TEN   3928 WOODMAN                                                                                   TROY             MI    48084‐1147

ANTHONY M GIANSANTE                           568 E MIDLOTHIAN                                                                                  YOUNGSTOWN       OH    44502‐2545
ANTHONY M GLIECO JR                           8108 RED CLOVER AVE                                                                               WILLIAMSVILLE    NY    14221‐2837
ANTHONY M GONZALEZ                            7907 JACKSON SPRINGS ROAD                                                                         TAMPA            FL    33615‐3336
ANTHONY M HALL                                PO BOX 37802                                                                                      OAK PARK         MI    48237‐0802
ANTHONY M HIRSCH & MARION A HIRSCH JT TEN     626 DETROIT AVE                                                                                   LAKE ORION       MI    48362‐2332
ANTHONY M HIRSCH CUST ANTHONY T HIRSCH UGMA 626 DETROIT AVE                                                                                     LAKE ORION       MI    48362‐2332
MI
ANTHONY M HIRSCH CUST PAMELA M HIRSCH UGMA MI 626 DETROIT AVE                                                                                   LAKE ORION       MI    48362‐2332

ANTHONY M JELENEK                                55 SHELDON AVE                                                                                 TARRYTOWN        NY    10591‐6104
                                                                                                                                                HEIGHTS
ANTHONY M JOSEPH & FRED J JOSEPH JT TEN          799 CAMBRIDGE                                                                                  BERKLEY          MI    48072‐1931
ANTHONY M KABALA                                 29 MOORE AVE                                                                                   KENMORE          NY    14223‐1511
ANTHONY M KAUTZ                                  819 KAY ST                                                                                     DAVISON          MI    48423‐1065
ANTHONY M KOSHER                                 7285 FARNHAM DR                                                                                MENTOR           OH    44060‐4612
ANTHONY M KULBACKI                               15 VILLA PLACE                                                                                 LANCASTER        NY    14086‐2617
ANTHONY M LASAPONARA & TERRY M LASAPONARA JT     9487 S STREET ROAD                                                                             LE ROY           NY    14482‐8930
TEN
ANTHONY M LASSAPONARA & DEBORAH L STELLA JT      9487 S STREET ROAD                                                                             LE ROY           NY    14482‐8930
TEN
ANTHONY M LEMUS                                  442 LINCOLN                                                                                    LINCOLN PARK     MI    48146‐2816
ANTHONY M LEONARD                                1635 CORNWELL                                                                                  MEMPHIS          MI    48041‐2419
ANTHONY M LEWANDOWSKI & NICOLETTA                215 COLUMBUS AVE                                                                               BUFFALO          NY    14220‐1736
LEWANDOWSKI JT TEN
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 226 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

ANTHONY M LIPARE & LISBETH L LIPARE JT TEN       40810 VILLAGEWOOD                                                                               NOVI             MI    48375‐4470
ANTHONY M MUNGIELLO                              147 WYCKOFF AVE                                                                                 WYCKOFF          NJ    07481‐3144
ANTHONY M NAPOLI                                 1497 E 51ST ST                                                                                  BROOKLYN         NY    11234‐3201
ANTHONY M PARISI & NANCY KNAPP PARISI JT TEN     1855 CAMINO VERA CRUZ                                                                           CAMARILLO        CA    93010‐9270

ANTHONY M PERRUCCI JR                            140 HUGHES LN                                                                                   WATCHUNG         NJ    07069‐5927
ANTHONY M PIKOS                                  PO BOX 941                                                                                      TARPON SPRINGS   FL    34688‐0941
ANTHONY M PINAZZA                                219 ADRAIN AVE                                                                                  TRAFFORD         PA    15085‐1030
ANTHONY M PINAZZA & ALMEDIA SIMOLA JT TEN        219 ADRAIN AVE                                                                                  TRAFFORD         PA    15085‐1030
ANTHONY M RICCIO                                 10000 W RIDGEWOOD DR                   APT 625                                                  CLEVELAND        OH    44130‐4061
ANTHONY M RIGNOLA & PATRICIA B RIGNOLA JT TEN    26 FURMAN AVE                                                                                   E PATCHOGUE      NY    11772‐5522

ANTHONY M RUSSO                                  105 JEWELL DR                                                                                   LIVERPOOL        NY    13088‐5419
ANTHONY M SCHIRALLI                              100 SUNSET ST                                                                                   DUMONT           NJ    07628
ANTHONY M SCUKANEC                               3613 KINGSWOOD CT                                                                               EAU CLAIRE       WI    54701‐9215
ANTHONY M SILVA                                  744 AMBOY AVE                                                                                   EDISON           NJ    08837‐3224
ANTHONY M SLOAN EX UW MARY LOU SLOAN             PO BOX 808                                                                                      MT PLEASANT      SC    29465
ANTHONY M SPARACINO & MARY SPARACINO JT TEN      224 BROWN ST                                                                                    MINEOLA          NY    11501‐2015

ANTHONY M SWEENEY                                7901 W 102ND ST                                                                                 PALOS HILLS      IL    60465‐1526
ANTHONY M TORISK                                 392 SPRING STREET                                                                               STRUTHERS        OH    44471‐1218
ANTHONY M TRAVAGLINI                             151 CONGRESS ST                                                                                 MILFORD          MA    01757‐3716
ANTHONY M VAISE                                  826 UMBRA ST                                                                                    BALTIMORE        MD    21224‐4611
ANTHONY M ZARRELLA & JOYCE E ZARRELLA JT TEN     156 WINTONBURY AVE                                                                              BLOOMFIELD       CT    06002‐1964

ANTHONY M ZDROJEWSKI & JOYCE M ZDROJEWSKI JT  508 GLOVER RD                                                                                      WILMINGTON       DE    19804‐3032
TEN
ANTHONY MACHADO                               1128 EAST 20TH ST                                                                                  GREELEY          CO    80631‐6111
ANTHONY MAIELLO & MRS ANGELO M MAIELLO JT TEN 2325 BARCELONA RD                                                                                  SCHENECTADY      NY    12309‐5304

ANTHONY MAIULLO II                               17610 SOUTH BEACH ROAD                                                                          PERRY            FL    32347‐9221
ANTHONY MANCINE                                  535 BERNARD AVENUE                                                                              LINDEN           NJ    07036‐1701
ANTHONY MANION                                   919 CAMBRIDGE COURT                                                                             THE VILLIAGES    FL    32162‐3385
ANTHONY MANION & BEVERLY A MANION JT TEN         919 CAMBRIDGE COURT                                                                             THE VILLIAGES    FL    32162‐3385
ANTHONY MARCH                                    17028 CANDELEDA DE AVILA                                                                        TAMPA            FL    33613‐5212
ANTHONY MARCHEGGIANI                             19 NARRAGANSETT AVE                    # 221                                                    OSSINING         NY    10562‐2843
ANTHONY MARINO                                   3167 AMPERE AVENUE                                                                              BRONX            NY    10465‐1029
ANTHONY MARINO                                   55 W BROOK LINE DR                                                                              LAUREL SPRINGS   NJ    08021‐4857
ANTHONY MARINO                                   PO BOX 1343                                                                                     LAKE DALLAS      TX    75065‐1343
ANTHONY MARK INGROS & MARIANNE MELCHICK          520 GRAFFIUS AVE                                                                                PUNXSUTAWNEY     PA    15767‐1638
INGROS JT TEN
ANTHONY MARRONE                                  56 HOLLYBROOK DRIVE                                                                             TUCKERTON        NJ    08087‐1844
ANTHONY MARTIN                                   292 DEEPWOODS DR                                                                                VALLEY GRANDE    AL    36701‐0401
ANTHONY MASON & MARCIA MASON JT TEN              26 HARRISBURG AVE                                                                               NEW CASTLE       DE    19720‐1413
ANTHONY MASTEN                                   1213 BRIARCHASE DR                                                                              O FALLON         MO    63366‐6442
ANTHONY MAZZA                                    572 E 86TH ST                                                                                   BROOKLYN         NY    11236
ANTHONY MAZZONE                                  23 DONNELLY CROSS RD                                                                            SPENCER          MA    01562
ANTHONY MC I OSTHEIMER                           2459 HI HI TAH                                                                                  SAINT IGNATIUS   MT    59865‐9519
ANTHONY MC NEAL                                  409 W JAMEISON                                                                                  FLINT            MI    48505‐4057
ANTHONY MCCARTHY                                 565 CORAL TRACE BLVD                                                                            EDGEWATER        FL    32132‐6944
ANTHONY MICHAEL CALANDRA                         575 S OCEAN AVE APT 3                                                                           PATCHOGUE        NY    11772‐3537
ANTHONY MICHAEL HATFIELD                         135 SPRINGWOOD DRIVE                                                                            AVON             IN    46123‐8092
ANTHONY MICHAEL SANCHEZ                          149 DAFFODIL TRL                                                                                ROCHESTER        NY    14626‐4728
ANTHONY MILES CUST DELROME EUGENE MILES UGMA     13521 DARTMOUTH                                                                                 OAK PARK         MI    48237‐1639
MI
ANTHONY MILES CUST RAMELL A MILES UGMA MI        10718 CURTIS                                                                                    DETROIT          MI    48221‐2328
ANTHONY MILO & MRS MARIA MILO JT TEN             HOOP POLE HILL RD                                                                               WOODBURY         CT    06798
ANTHONY MOCERI SR                                246 EL DORADO PKWY W                                                                            CAPE CORAL       FL    33914‐7173
ANTHONY MOISESHYN                                248 REDRUTH                                                                                     CLAWSON          MI    48017‐1956
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 227 of 850
Name                                              Address1                              Address2              Address3         Address4          City              State Zip

ANTHONY MONDELLI                                  2600 SE OCEAN BLVD                    APT W8                                                   STUART            FL    34996‐3450
ANTHONY MONTANO                                   675 CYPRESS RD                                                                                 NEWINGTON         CT    06111‐5604
ANTHONY MORELLI                                   1914 W 12 STREET                                                                               BROOKLYN          NY    11223‐2432
ANTHONY MORGAN                                    #4                                    2500 QUEEN CITY AVE                                      CINCINNATI        OH    45238‐2926
ANTHONY MORTON                                    206 BASCOMB LN                                                                                 WOODSTOCK         GA    30189‐3504
ANTHONY MOSCA                                     7 MCCARTHY DRIVE                                                                               OSSINING          NY    10562
ANTHONY MUNOZ CUST CEDAR JOAQUIN MUNOZ            805 HAYES AVE                                                                                  OAK PARK          IL    60302‐1410
UTMA IL
ANTHONY MURAD                                     PO BOX 811                                                                                     LEBANON SPRINGS   NY    12125‐0811

ANTHONY MUSMANNO                                  2028 FOX CHASE COURT                                                                           MINERAL RIDGE     OH    44440‐9034
ANTHONY N ALESCI JR CUST MARCUS KOCIK UTMA OH     7239 ANADALE DR                                                                                SOLON             OH    44139‐5679

ANTHONY N ALESCI JR CUST PHILLIP ROHAL UTMA OH    7239 ANADALE DR                                                                                SOLON             OH    44139‐5679

ANTHONY N BICONISH                                196 MURRAY ST                                                                                  BINGHAMTON        NY    13905‐2354
ANTHONY N D APICE                                 2025 FALLSGROVE WY                                                                             FALLSTON          MD    21047‐1509
ANTHONY N DRAHOS & DEBORAH A DRAHOS JT TEN        97 MITCHELL RD                                                                                 SOMERS            NY    10589‐1801

ANTHONY N IACCHETTA                               404 JORPARK CIR                                                                                SPENCERPORT       NY    14559
ANTHONY N IRVIN                                   110 COLE CT                                                                                    BOWLING GREEN     KY    42101‐1120
ANTHONY N JUSTICE                                 2444 WEMBLEY TER N                                                                             TOLEDOA           OH    43617‐2248
ANTHONY N LATTANZIO                               125 MELROSE AVE                                                                                OAKVILLE          CT    06779‐2225
ANTHONY N MALLIE                                  4839 S RIDGE DR                                                                                WEST BLOOMFIELD   MI    48323‐2080

ANTHONY N MARGADONNA & VICTORIA L                 1614 WIGHT ST                                                                                  WALL              NJ    07719‐3955
MARGADONNA JT TEN
ANTHONY N THAVORIDES & FAY THAVORIDES TR          1 NEW BALLAS PLACE APT 628                                                                     ST LOUIS          MO    63146‐8704
THAVORIDES TRUST UA 08/25/86
ANTHONY N VERANO                                  223 E LAKEVIEW AVE                                                                             WHITE PLAINS      NY    10604‐2015
ANTHONY N WITTMANN                                108 GRANT STREET                                                                               LINDEN            NJ    07036
ANTHONY NEAL                                      4144 CORNEILUS AVE                                                                             INDIANAPOLIS      IN    46208‐3815
ANTHONY NERI                                      9 FAWN LN                                                                                      ARMONK            NY    10504‐1126
ANTHONY NESPOLI                                   11071 BELLAIRE DR                                                                              N HUNTINGDON      PA    15642‐6328
ANTHONY NICHOLAS VOLINO                           15653 HIGHVIEWCIRCLE                                                                           APPLE VALLEY      MN    55124‐7104
ANTHONY NITSCH                                    10349 GOLFSIDE DR                                                                              GRAND BLANC       MI    48439‐9437
ANTHONY NOVAK                                     1 GATEWAY DR APT 201                                                                           EUCLID            OH    44119‐2447
ANTHONY O ENDRES                                  LINDENSTR 28                          SCHALLSTADT           REPL OF          79227 GERMANY
ANTHONY O SMITH                                   717 12TH AVE S                                                                                 NAPLES           FL     34102‐7321
ANTHONY OLIVERI                                   17 SHERWOOD ROAD                                                                               REDBANK          NJ     07701‐5526
ANTHONY OLIVERIO & HELEN C OLIVERIO JT TEN        27029 CECILE                                                                                   DEARBORN HEIGHTS MI     48127‐3331

ANTHONY ORTICELLE CUST KAREN MARIE ORTICELLE      ATTN KAREN M MILLER                   4 CHELSEA DR                                             MERRICK           NY    11566‐2004
UGMA NY
ANTHONY P ANTINOZZI                               9230 COLORADO                                                                                  LIVONIA           MI    48150‐3719
ANTHONY P ARRIGO                                  7123 PINEBROOK RD                                                                              PARK CITY         UT    84098‐5343
ANTHONY P ARRIGO CUST ELISABETH CLAIRE ARRIGO     7123 PINEBROOK RD                                                                              PARK CITY         UT    84098
UTMA UT
ANTHONY P BLASCO & JOANNE M BLASCO JT TEN         13170 DA VINCI ST                                                                              LEMONT          IL      60439‐9158
ANTHONY P BUGAJSKY & NANCY A BUGAJSKY JT TEN      4202 E FRONTAGE RD                                                                             ROLLING MEADOWS IL      60008‐2520

ANTHONY P BURNS                                   1161 WEST DUARTE RD #6                                                                         ARCADIA           CA    91007‐7740
ANTHONY P CARISSIMI                               7700 HUNTINGTON DR                                                                             YOUNGSTOWN        OH    44512‐8038
ANTHONY P DEGIULIO & NADINE E DEGIULIO JT TEN     598 S 1500 W                                                                                   PINGREE           ID    83262‐1228

ANTHONY P DISIMPLICO                              59 OAK KNOLL RD                                                                                WILMINGTON        DE    19808‐3113
ANTHONY P FARAONE                                 2034 NORTHWEST AVE                                                                             LANSING           MI    48906‐3650
ANTHONY P FILICE                                  4564 MYRTLE BEACH DR                                                                           SEBRING           FL    33872‐1741
ANTHONY P FILICE & KAY A FILICE JT TEN            4564 MYRTLE BEACH DR                                                                           SEBRING           FL    33872‐1741
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 228 of 850
Name                                            Address1                              Address2             Address3          Address4          City             State Zip

ANTHONY P FITZPATRICK                           529 P O BOX 13                                                                                 EAGLE            MI    48822‐0013
ANTHONY P FOX                                   25719 BANNER SCHOOL ROAD                                                                       DEFIANCE         OH    43512‐9689
ANTHONY P GARDINO                               5558 DUSKYWING DR                                                                              ROCKLEDGE        FL    32955
ANTHONY P GIAMETTA                              9360 HERNANDO RIDGE RD                                                                         WEEKI WACHEE     FL    34613
ANTHONY P GIUSTI                                30 PARK CIR                                                                                    WHITE PLAINS     NY    10603‐3506
ANTHONY P HURD                                  3780 VICKSBURG                                                                                 DETROIT          MI    48206‐2359
ANTHONY P KEMPA                                 7665 EDDY ROAD                                                                                 COLDEN           NY    14033‐9744
ANTHONY P KLYMENKO & PRISCILLA V KLYMENKO JT    122 THOMA AVENUE                                                                               MAYWOOD          NJ    07607‐1134
TEN
ANTHONY P LIMITONE JR                           8 BEEKMAN RD                                                                                   SUMMIT           NJ    07901‐1706
ANTHONY P LOPANE                                3029 WILBANKS DR                                                                               NORTON           OH    44203‐6343
ANTHONY P MASTROLIA & MRS CAROLE MASTROLIA JT   26 MALLORY RD                                                                                  WEST MILFORD     NJ    07480‐3733
TEN
ANTHONY P MODAFFERI                             1585 HIDDEN VALLEY DRIVE                                                                       MILFORD          MI    48380‐3328
ANTHONY P MODAFFERI                             1585 HIDDEN VALLEY DR                                                                          MILFORD          MI    48380‐3328
ANTHONY P NELIPOVICH JR                         2435 N INDIAN HILL                                                                             CLAREMONT        CA    91711‐1730
ANTHONY P PATLEWICZ & JAMES PATLEWICZ JT TEN    16757 HUNTINGTON WOODS                                                                         MACOMB           MI    48042‐2927

ANTHONY P PERINO                                608 ROOKERY LN                                                                                 JOLIET           IL    60431‐4800
ANTHONY P PEROZZI                               3059 BROADWAY                                                                                  OAKFIELD         NY    14125‐1042
ANTHONY P SANTONASTASO                          205 SIENNA DR                                                                                  LITTLE RIVER     SC    29566‐7095
ANTHONY P SCAMPA                                1240 WILBUR                                                                                    PINCKNEY         MI    48169‐9032
ANTHONY P SCOTT CUST MISS TERESA MARIE SCOTT    26 JEROME AVE                                                                                  BINGHAMTON       NY    13905‐3930
U/THE NY U‐G‐M‐A
ANTHONY P STELLA                                285 COMMERCE ST                                                                                HAWTHORNE R      NY    10532‐1901
ANTHONY P UEBELHOR                              PO BOX 145                                                                                     HUNTINGBURG      IN    47542‐0145
ANTHONY P UEBELHOR & MICHELE LYNN UEBELHOR JT   PO BOX 145                                                                                     HUNTINGBURG      IN    47542‐0145
TEN
ANTHONY P UMBER                                 24023 MADACA LN                       UNIT 103                                                 PT CHARLOTTE     FL    33954‐2812
ANTHONY P VANSANT                               785 DEXTER CORNER RD                                                                           TOWNSEND         DE    19734‐9239
ANTHONY P WHITTON                               26358 YORK                                                                                     HUNTINGTON       MI    48070‐1313
                                                                                                                                               WOODS
ANTHONY P ZANOTTI                               G3402 FENTON RD                                                                                FLINT            MI    48507‐3350
ANTHONY PADILLA                                 5044 NW 113TH AV                                                                               CORAL SPRINGS    FL    33076‐2785
ANTHONY PAQUE CUST PHILLIP THOMAS PAQUE UTMA    W 11024 EAGLE DR                                                                               LODI             WI    53555‐1572
WI
ANTHONY PASCALE JR & CHARISSE PASCALE JT TEN    4186 MISTRAL CIR                                                                               LIVERPOOL        NY    13090‐2951

ANTHONY PASKUS                                  386 HILLSIDE PL                                                                                SOUTH ORANGE     NJ    07079‐2903
ANTHONY PASQUALE                                165 ARCHER AVE                                                                                 MOUNT VERNON     NY    10550‐1401
ANTHONY PATRICK COLLERAINE                      PO BOX 12009                                                                                   LA JOLLA         CA    92039‐2009
ANTHONY PAUL FRANKLIN                           PO BOX 337                                                                                     LOS ALTOS        CA    94023‐0337
ANTHONY PAUL SCAFFIDI                           20755 VINCENT CT                                                                               BROOKFIELD       WI    53045‐1803
ANTHONY PAWLOSKI                                PO BOX 511                                                                                     COLDWATER        MI    49036‐0511
ANTHONY PECCHIA                                 1970 OAK POINTE DR                                                                             ROCHESTER        MI    48306
ANTHONY PETRELLA JR                             16199 CADBOROUGH                                                                               CLINTON TOWNSHIP MI    48038‐2741

ANTHONY PETRELLA TR ANTHONY PETRELLA TRUST UA   18145 MILLAR RD                                                                                CLINTON TOWNSHIP MI    48036‐2087
11/03/81
ANTHONY PETTINARI                               28 BEAVER HOLLOW DR                                                                            BRICK            NJ    08724‐5007
ANTHONY PHILIP MAUCERI                          156 CORNELL DR                                                                                 COMMACK          NY    11725‐2524
ANTHONY PIAZZA & MARGARET PIAZZA JT TEN         816 E PARK AVE                                                                                 LONG BEACH       NY    11561‐2701
ANTHONY PICONE                                  15 SCARBOROUGH PL                                                                              TOMS RIVER       NJ    08757‐4623
ANTHONY PINTO                                   50 JEFFERY RD                                                                                  COLONIA          NJ    07067‐2414
ANTHONY POLSINELLI                              178 SUNNYSIDE ROAD                                                                             SCOTIA           NY    12302‐3662
ANTHONY PONTE                                   1270 MARGINAL RD                                                                               ATLANTIC BEACH   NY    11509‐1651
ANTHONY POSAWATZ                                48667 HUNTER DRIVE                                                                             MACOMB           MI    48044‐5568
                                                                                                                                               TOWNSHIP
ANTHONY PUCCI & ELENA PUCCI JT TEN              PO BOX 1592                                                                                    ROCKY POINT      NY    11778‐1592
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 229 of 850
Name                                              Address1                                Address2             Address3          Address4                 City            State Zip

ANTHONY R BAILEY                                  1701 SOUTH 700 WEST                                                                                     ANDERSON        IN    46011‐9441
ANTHONY R BATTAGLIA                               TRIALER ESTATES                         PO BOX 6524                                                     BRATENTON       FL    34281‐6524
ANTHONY R BENDAVINE                               106 STOVER RD                                                                                           ROCHESTER       NY    14624‐4452
ANTHONY R BUNDY & MARCIA L BUNDY JT TEN           8412 DIMARE DRIVE                                                                                       ORLANDO         FL    32822
ANTHONY R BURNIP                                  63 NEWPORT ROAD                         WOBURN SANDS         BUCKS MK178V0     GREAT BRITAIN
ANTHONY R BURNIP                                  63 NEWPORT RD                           WOBURN SANDS         BUCKS MK1780Q     GREAT BRITAIN
ANTHONY R BURNIP                                  63 NEWPORT ROAD                         WOBURN SANDS         BUCKS             MK17 8UQ GREAT BRITAIN
ANTHONY R CAMPBELL                                PO BOX 15145                                                                                            YOUNGSTOWN      OH    44515‐8145
ANTHONY R CATANIA                                 APT 2                                   3272 SENECA ST                                                  WEST SENECA     NY    14224‐2797
ANTHONY R CHIODO & MRS DOLORES CHIODO JT TEN      17 GLENROY RD SOUTH                                                                                     FAIRFIELD       NJ    07004‐1516

ANTHONY R CHITTY                                  23888 EVERGREEN RD                      APT 222                                                         SOUTHFIELD      MI    48075
ANTHONY R CITTADINO                               5026 RIVER GLEN DR                      UNIT 161                                                        LAS VEGAS       NV    89103
ANTHONY R COLLINS JR                              804 CORWIN CT                                                                                           PONTIAC         MI    48340‐2416
ANTHONY R D ERRICO                                152 E MAIN STREET                                                                                       GIRARD          OH    44420‐2603
ANTHONY R FERRARO                                 4620 MOHR EST S D                                                                                       NEW PALESTINE   IN    46163‐9531
ANTHONY R FERRERI                                 40 SEDGEFIELD                                                                                           ROCHESTER       NY    14622
ANTHONY R FORTH                                   24635 MARY                                                                                              TAYLOR          MI    48180‐2177
ANTHONY R GRAZIANO                                18 SPINNAKER WAY                                                                                        WARETOWN        NJ    08758‐1929
ANTHONY R GUDINO                                  32783 SUMAC ST                                                                                          UNION CITY      CA    94587‐1306
ANTHONY R GULLO                                   500 I‐45 S                                                                                              CONROE          TX    77304
ANTHONY R GUZMAN                                  1064 SUNFISH DR                                                                                         MANTECA         CA    95337‐6721
ANTHONY R HARRISON                                3902 SUNBURY RD                                                                                         COLUMBUS        OH    43219‐3057
ANTHONY R JANOWIAK                                4368 COASTAL PARKWAY                                                                                    WHITE LAKE      MI    48386‐1102
ANTHONY R KUBACKI                                 7728 BAY CITY FORESTVILLE RD                                                                            CASS CITY       MI    48726‐9720
ANTHONY R LUCAS                                   1809 AZURE CT #1                                                                                        MANTECA         CA    95336‐4953
ANTHONY R MARCHEGIANI                             12 HOLLY DRIVE                                                                                          NEW CASTLE      DE    19720‐2337
ANTHONY R MERINO                                  4332 TERRACE                                                                                            KANSAS CITY     MO    64111‐4221
ANTHONY R MORALES                                 163 E HUMBOLDT ST                                                                                       SAN JOSE        CA    95112‐5906
ANTHONY R NAVARRETTE                              413 VALENCIA DR                                                                                         PONTIAC         MI    48342‐1770
ANTHONY R NIKODEMSKI                              1687 COUNTRY CLUB DRIVE                                                                                 GRAND RAPIDS    MI    49505‐4806
ANTHONY R PAIGE                                   3735 ELM RIDGE DR                                                                                       HOLLAND         MI    49424‐7747
ANTHONY R PASQUALICHIO                            2439 INDEPENDENCE AVE                                                                                   NIAGARA FALLS   NY    14301‐2437
ANTHONY R PATTERSON                               2501 WILLIAMS DR                                                                                        WATERFORD       MI    48328‐1869
ANTHONY R POLITO                                  58 DANIELLE DR                                                                                          SOUTH           NY    14227‐3406
                                                                                                                                                          CHEEKTOWAGA
ANTHONY R RAJCA                                   PO BOX 596                                                                                              TAYLORSVILLE    IN    47280‐0596
ANTHONY R RINGUETTE & CHRISTELLE M RINGUETTE JT   512 FREMONT AVE                                                                                         PACIFICA        CA    94044‐1913
TEN
ANTHONY R SAENZ                                   31 STRATFORD DR                                                                                         WHITMORE LAKE   MI    48189‐9003
ANTHONY R STEPPAN                                 368 EL GAUCHO RD                                                                                        SANTA BARBARA   CA    93111‐1908
ANTHONY R TAFUN                                   1576 CREEK BED DR                                                                                       HARRISBURG      PA    17110‐2904
ANTHONY R TRUJILLO                                13659 BORDEN AVENUE                                                                                     SYLMAR          CA    91342‐2033
ANTHONY R WAGNER                                  9154 COLEMAN RD                                                                                         BARKER          NY    14012‐9678
ANTHONY R WILLEY II                               1932 SADDLEHORN WAY                                                                                     MARYSVILLE      OH    43040
ANTHONY R WILLIAMS                                18317 LITTLEFIELD                                                                                       DETROIT         MI    48235‐1487
ANTHONY R ZOGARIA                                 116 IROQUOIS AVE                                                                                        CHEEKTOWGA      NY    14206‐2625
ANTHONY RANSFORD                                  3300 N VIEWPOINT DR                                                                                     OKLAHOMA CITY   OK    73110‐1524
ANTHONY RAYMORE                                   2930 MCMANAWAY DR                                                                                       MIDLOTHIAN      VA    23112‐3746
ANTHONY REED CUST JACKSON KEITH REED UTMA CA      325 LAUREL AVE                                                                                          ARCADIA         CA    91006‐2518

ANTHONY REPICI                                    1000 RIVERS EDGE DRIVE                                                                                  COLLEGEVILLE    PA    19426‐3250
ANTHONY REYES                                     UNIT #4                                 11955 SW 18 TERR                                                MIAMI           FL    33175‐1677
ANTHONY RICHMAN                                   1300 TERRACE DR                                                                                         DEFIANCE        OH    43512‐3045
ANTHONY RIZZO                                     57 THE VILLEGE GREEN                                                                                    WILLIAMSVILLE   NY    14221‐4518
ANTHONY ROBERT JAMES BOOTH                        15 SHERWOOD DRIVE                                                                                       HOLLIS          NH    03049‐6109
ANTHONY ROCCO LAMACCHIA                           2620 CASTLE OAK AV                                                                                      ORLANDO         FL    32808‐3420
ANTHONY ROGALSKI                                  762 YALE AVE                                                                                            MERIDEN         CT    06450‐6804
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 230 of 850
Name                                            Address1                              Address2             Address3          Address4                City             State Zip

ANTHONY ROMA CUST ALESSANDRO ROMA UGMA MI       19777 BEVERLY RD                                                                                     BEVERLY HILLS    MI    48025‐3912

ANTHONY ROSS                                   17131 FORRER ST                                                                                       DETROIT          MI    48235‐3537
ANTHONY ROTONDI                                2 LILLIAN CRES                         NEWCASTLE ON                           L1B 1G2 CANADA
ANTHONY RUND                                   5245 MIERS DR                                                                                         DECATUR          IL    62526
ANTHONY RUOCCO JR                              21575 BERWHICH RUN                                                                                    ESTERO           FL    33928‐6238
ANTHONY RUSSELL FASCIANA                       91 KENVIEW AVE                                                                                        KENMORE          NY    14217‐1417
ANTHONY RUSSELL RIZZO                          656 70TH STREET                                                                                       MIAGARA FALLS    NY    14304‐2254
ANTHONY RUSSOMANNO                             1530 CANEY CT                                                                                         CHAPEL HILL      TN    37034‐2086
ANTHONY RUSTOM & PATRICIA J RUSTOM JT TEN      54106 OVERBROOK CT                                                                                    SHELBY TWP       MI    48316‐1300
ANTHONY S ALLEN III                            1109 DOUGLAS STREET                                                                                   FREDERICKSBRG    VA    22401
ANTHONY S ANDREJICKA                           3565 SAINT CLAIR PARKWAY               SOMBRA ONTARIO                         NOP 2HO GREAT BRITAIN
ANTHONY S ARCIDIACONO                          601 SORENSON DR                                                                                       CARNEY'S POINT   NJ    08069‐2987
ANTHONY S BRINKER                              25176 FIRWOOD AVE                                                                                     WARREN           MI    48089‐4135
ANTHONY S CABBELL                              3531 WATERSTONE CT                                                                                    INDIANAPOLIS     IN    46268‐4845
ANTHONY S CIARROCCA                            308 ELM TER                                                                                           MARLTON          NJ    08053‐7021
ANTHONY S FERA & TONI M GREENWELL JT TEN       2327 UNIT B TORRINGTON DRIVE                                                                          ARLINGTON        TX    76012‐2725
ANTHONY S GERVASE                              6 COUNTRY LN                                                                                          LEBANON          CT    06249‐2040
ANTHONY S GLADD                                2260 WISPERING MEADOWS                                                                                WARREN           OH    44483‐3671
ANTHONY S KRISTICH                             734 EDGEWATER DR                                                                                      AMHERST          NY    14228‐3023
ANTHONY S LA BRUNA                             210 KENMORE AVE                                                                                       BUFFALO          NY    14223‐3018
ANTHONY S LANASA                               887 REMINGTON DRIVE                                                                                   N TONAWANDA      NY    14120‐2931
ANTHONY S LIMA                                 50 WINKLER DR #1                                                                                      TONAWANDA        NY    14150‐6116
ANTHONY S MCCLAIN                              555 S 22ND ST                                                                                         SAGINAW          MI    48601‐1540
ANTHONY S PICCARIELLO                          10 BUTTONWOOD CIR                                                                                     FAIRPORT         NY    14450‐3704
ANTHONY S PIERONI                              743 OAK AVE                                                                                           RIVER EDGE       NJ    07661‐2219
ANTHONY S RISKOVICH                            1814 TUSCOLA AVE                                                                                      FLINT            MI    48503‐5336
ANTHONY S SERCEL TOD ANTHONY D SERCEL SUBJECT 3585 GREENBRIER BLVD                    APT 77A                                                        ANN ARBOR        MI    48105‐2605
TO STA TOD RULES
ANTHONY S SUDZIARSKI                           99 W ASBURY ANDERSON RD                                                                               HAMPTON          NJ    08827‐4503
ANTHONY S ZIELINSKI                            1691 HWY 50 E                                                                                         CENTERVILLE      TN    37033‐5153
ANTHONY S ZIELINSKI & CLARINE ZIELINSKI JT TEN 1691 HWY 50 E                                                                                         CENTERVILLE      TN    37033‐5153
ANTHONY S ZUMMER                               164 OXFORD RD                                                                                         KENILWORTH       IL    60043‐1207
ANTHONY SABATELLI TOD LISA TAMBASCIO & JANINE  HC 1 BOX 1A103                                                                                        LACKAWAXEN       PA    18435‐9738
TOMPKINS
ANTHONY SALVAGGIO                              10 MONSON DR                                                                                          WEST PEABODY     MA    01960‐3550
ANTHONY SALVAGGIO JR                           795 TURTLE LAKE ROAD                                                                                  UNION CITY       MI    49094‐9648
ANTHONY SANTISI                                439 FANNING ST                                                                                        STATEN ISLAND    NY    10314‐5268
ANTHONY SCHLAEFER CUST MAXWELL WUEST UTMA WI 230 E ELM STREET                                                                                        CAMPBELLSPORT    WI    53010‐2736

ANTHONY SCHMITZ & MARY JANE SCHMITZ JT TEN      14 VEGA DR                                                                                           SHOREHAM         NY    11786‐2305
ANTHONY SCHULTE & MURIEL M SCHULTE TR SCHULTE   30135 MADLOY ST                                                                                      CASTAIC          CA    91384‐3213
FAMILY TRUST UA 05/25/94
ANTHONY SCOTT CULBERTSON & KARLA M WELCH JT     350 HYACINTH WAY                                                                                     SAN RAFAEL       CA    94903‐2402
TEN
ANTHONY SCUKANEC                                165 SIMPSON AVENUE                                                                                   ELKHART          IN    46516‐4669
ANTHONY SERFUSTINI CUST DAVID SERFUSTINI UGMA   2106 POPPYWOOD AVE                                                                                   HENDERSON        NV    89012‐4519
NV
ANTHONY SHEPHERD                                363 BEACH 54TH ST 2A                                                                                 ARVERNE          NY    11692‐1716
ANTHONY SILVA                                   3524 WESTVIEW DR                                                                                     SAGINAW          MI    48602‐3332
ANTHONY SIMONE                                  25 STEVENS DR                                                                                        VOORHEES         NJ    08043‐2273
ANTHONY SINELLI & ISABEL SINELLI JT TEN         29045 W 11 MILE RD                                                                                   FARMINGTON       MI    48336‐1406
ANTHONY SMITH                                   29 WINDSOR DR                                                                                        WINDER           GA    30680‐2036
ANTHONY SOKOLOSKI                               1501 CAPRICE                                                                                         JENISON          MI    49428‐9582
ANTHONY SOVIS                                   4379 MORRISH RD                                                                                      SWARTZ CREEK     MI    48473‐1363
ANTHONY SPATARELLA                              2 TARWORTH TER                                                                                       MANCHESTER       NJ    08759‐6670
ANTHONY STATHOPLOS CUST AMY STATHOPLOS UGMA     29 WESTMINISTER DR                                                                                   WEST HARTFORD    CT    06107‐3353
CT
ANTHONY STEC & PHYLLIS STEC JT TEN              720 FANNIN ST                                                                                        HOUSTON          TX    77002‐3408
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 231 of 850
Name                                              Address1                             Address2             Address3          Address4          City               State Zip

ANTHONY STEVENS                                   6322 HOLIDAY HILLS CT                                                                         CLEVELAND          OH    44146‐3159
ANTHONY STIMAC                                    3165 WEST 139 ST                                                                              CLEVELAND          OH    44111‐1545
ANTHONY SWETZ & MARY SWETZ TEN ENT                315 GATEWAY CT APT B                                                                          EDWARDSVILLE       PA    18704‐5935
ANTHONY SWIT                                      4486 W 11TH                                                                                   CLEVELAND          OH    44109‐3682
ANTHONY T BALAWENDER                              6952 W 97TH STREET                                                                            OAK LAWN           IL    60453‐2024
ANTHONY T BROWN                                   4800 S CHICAGO BEACH DR              APT 1108‐S                                               CHICAGO            IL    60615‐2056
ANTHONY T DICKERSON                               596 LONGFELLOW                                                                                INKSTER            MI    48141‐3303
ANTHONY T FOSTER                                  2 CHELSEA LN                                                                                  GRANTVILLE         GA    30220‐2037
ANTHONY T HOWARD                                  4674 ACHILLA                                                                                  COMMERCE TWP       MI    48382‐3901
ANTHONY T KLEMER                                  4821 SCHOOL BELL LN                                                                           BLOOMFIELD HILLS   MI    48301‐1349

ANTHONY T MCDOWELL                                 10134 AGORA PLACE                                                                            FORT WAYNE         IN    46201
ANTHONY T OKUTSU                                   2415 S SAN PEDRO                                                                             LOS ANGELES        CA    90011‐1518
ANTHONY T RAFFA                                    874 S FRASER                                                                                 KAWKAWLIN          MI    48631‐9432
ANTHONY T RATKOWIAK                                452 WINDSOR DR                                                                               OSWEGO             IL    60543‐9824
ANTHONY T ROBERTS                                  8324 WHITE HILL LANE                                                                         WEST CHESTER       OH    45069‐7824
ANTHONY T RUBICCO                                  37 NORTH FRENCH AVENUE                                                                       ELMSFORD           NY    10523‐3205
ANTHONY T SCARPELLI                                82 WELLINGTON RD                                                                             PORTLAND           ME    04103
ANTHONY T TOCHKO                                   MAIN ST                                                                                      BROOKLINE          NH    03033
ANTHONY T TRAKIMAS & MRS WINIFRED B TRAKIMAS JT PO BOX 448                                                                                      ARROYO SECO        NM    87514‐0448
TEN
ANTHONY TALANDIS                                   405 N WOODWARD DR                                                                            BALTIMORE          MD    21221‐6648
ANTHONY TAMBASCO                                   6 KILKENNY COURT                                                                             FAIRPORT           NY    14450‐9172
ANTHONY TAMBONI                                    360 EAST 88 STREET                  APT 2C                                                   NEW YORK           NY    10128‐4983
ANTHONY TANSKIE                                    5577 HAUSERMAN ROAD                                                                          CLEVELAND          OH    44130‐1268
ANTHONY TANTILLO                                   15 OLD ROUTE 299                                                                             NEW PALTZ          NY    12561‐3208
ANTHONY TATE                                       1607 S SMITH RD                                                                              URBANA             IL    61802‐4731
ANTHONY TEDESCHI                                   114 LENOX AVE                                                                                RIDGEWOOD          NJ    07450‐4219
ANTHONY TEKNYOS                                    792 BERMUDA AVE                     OSHAWA ON                              L1J 6B2 CANADA
ANTHONY TERESI & SYLVIA S TERESI JT TEN TOD JOSEPH 13900 PAWNEE TRAIL                                                                           MIDDLEBURG HTS     OH    44130‐6721
ATERESI SR
ANTHONY TESTA                                      525 TINDALL                                                                                  TRENTON            NJ    08610‐5340
ANTHONY THOMAS BAIETTI                             1414 CATALPA CT                                                                              FORT COLLINS       CO    80521‐7550
ANTHONY THOMAS FERRELL                             5488 LOS GATOS CT                                                                            CONCORD            CA    94521‐2450
ANTHONY TROIA                                      860 PALISADE AVE APT 2E                                                                      YONKERS            NY    10703‐1549
ANTHONY TUCKER & ANTHONY TUCKER JR JT TEN          26 SOUTH WESTFIELD AVE                                                                       TRENTON            NJ    08618‐5130
ANTHONY TUSKENIS                                   6145 W 79TH PL                                                                               BURBANK            IL    60459‐1901
ANTHONY U GUZZO                                    84 CLEARFIELD DR                                                                             WILLIAMSVILLE      NY    14221‐2440
ANTHONY URQUIDEZ & JULIE URQUIDEZ JT TEN           BOX 137                                                                                      SANTA YNEZ         CA    93460‐0137
ANTHONY UZAREVIC                                   462 E 327TH                                                                                  WILLOWICK          OH    44095‐3314
ANTHONY V CASCARELLI                               855 W JEFFERSON LOT 162                                                                      GRAND LEDGE        MI    48837‐1370
ANTHONY V CHICORELLI                               3 S MAIN ST                                                                                  ONEONTA            NY    13820‐2516
ANTHONY V CICIRELLA                                9136 RANCH DR                                                                                CHESTERLAND        OH    44026‐3142
ANTHONY V DE THOMAS & MRS CAROLYN DE THOMAS 36 OAKRIDGE RD                                                                                      BRISTOL            CT    06010‐3119
JT TEN
ANTHONY V DIXON                                    22140 GARDNER ST                                                                             OAK PARK           MI    48237‐2684
ANTHONY V FERRONE                                  2240 EDGAR RD                                                                                POINT PLEASANT     NJ    08742‐4418
ANTHONY V GALILEI                                  307 POINTE PL                                                                                WESTERVILLE        OH    43082‐6395
ANTHONY V GENNUSA                                  4 SAINT EDWARD COURT                                                                         WILMINGTON         DE    19808‐4054
ANTHONY V GENTILE                                  25 CHESTNUT DRIVE                                                                            MATAWAN            NJ    07747‐2906
ANTHONY V GENTILELLA & JEANINE GENTILELLA JT TEN 312 VINELAND AVE                                                                               STATEN ISLAND      NY    10312‐2924

ANTHONY V IOVINO                                  2030 S OCEAN DR                      APT 520                                                  HALLANDALE BEACH FL      33009‐6607

ANTHONY V KRAINIK & MARYANN KRAINIK JT TEN        1759 GREENLEAF AVENUE                                                                         DES PLAINES        IL    60018‐3834
ANTHONY V LUCCA JR & SALLY J LUCCA JT TEN         3895 DOROTHY LANE                                                                             WATERFORD          MI    48329‐1112
ANTHONY V PATRINO & MINNIE V PATRINO JT TEN       114 GREENCREST TR                                                                             AKRON              OH    44313‐6305
ANTHONY V PRIGATANO & JANICE R PRIGATANO JT TEN   24 MONROE COURT                                                                               MERIDEN            CT    06451‐3127
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                        Part 1 of 8 Pg 232 of 850
Name                                              Address1                               Address2                         Address3   Address4          City               State Zip

ANTHONY V SAVONI                                  46653 MORNINGTON                                                                                     CANTON             MI    48188‐3013
ANTHONY V STORNELLI                               14 YELLOWSTONE DR                                                                                    WEST HENRIETTA     NY    14586‐9704
ANTHONY V STORNELLI & GAIL M STORNELLI JT TEN     14 YELLOWSTONE DR                                                                                    WEST HENRIETTA     NY    14586‐9704

ANTHONY V ULARICH                                 23 CEDAR ST                                                                                          HOPKINTON          MA    01748‐1247
ANTHONY VALENTI & MARIE A CHICK JT TEN            7212 LANGERFORD                                                                                      PARMA              OH    44129‐6505
ANTHONY VEDRODY                                   743 TODD AVE                                                                                         LEWISBURG          TN    37091‐5000
ANTHONY VICTOR CHICORELLI                         3 SOUTH MAIN STREET                                                                                  ONEONTA            NY    13820‐2516
ANTHONY VICTOR MANFREDO                           2250 N FRENCH RD 235N                                                                                GETZVILLE          NY    14068‐1485
ANTHONY VIDAK TOD NICHOLAS G VIDAK                1336 CHESTNUT ST                                                                                     SAN FRANCISCO      CA    94123‐3106
ANTHONY VINK                                      1831 N LAFAYETTE                                                                                     DEARBORN           MI    48128‐1166
ANTHONY VITKAUSKAS                                8125 BOCA CIEGA DR                                                                                   ST PETE BEACH      FL    33706‐1518
ANTHONY VITOBELLO                                 33‐31 203RD ST                                                                                       BAYSIDE            NY    11361‐1149
ANTHONY W ABRAHAM                                 30422 LA VUE                                                                                         LAGUNA NIGUEL      CA    92677‐5533
ANTHONY W ACRES                                   PO BOX 155                                                                                           LAFAYETTE          TN    37083‐0155
ANTHONY W AMBURGEY                                1578 KENSINGTON DRIVE                                                                                BELLBROOK          OH    45305‐1121
ANTHONY W AMBURGEY                                214 INLET WAY                          APT 206                                                       WEST PALM BCH      FL    33404‐6251
ANTHONY W BENNETT                                 2799 S 200 E                                                                                         KOKOMO             IN    46902‐4153
ANTHONY W BONASORO                                41 GILBERT ST                                                                                        FRAMINGHAM         MA    01702‐7221
ANTHONY W CHIANO                                  5290 WYNDEMERE SQ                                                                                    SWARTZ CREEK       MI    48473‐8895
ANTHONY W COCKERHAM                               1900 FARMERSVILLE W ALEX RD                                                                          FARMERSVILLE       OH    45325‐7212
ANTHONY W COLACE                                  4318 LEISURE LN                                                                                      PERRYSVILLE        OH    44864‐9692
ANTHONY W CRESSWELL                               1814 NW 93RD ST                                                                                      KANSAS CITY        MO    64155‐7814
ANTHONY W DE CARLO & JOANNE C DE CARLO JT TEN     630 E CHURCH STREET                                                                                  HOMER CITY         PA    15748‐1345

ANTHONY W DITTO                                   PO BOX 330                                                                                           DONEGAL            PA    15628‐0330
ANTHONY W ENGLISH                                 PO BOX 11643                                                                                         KANSAS CITY        MO    64138‐0143
ANTHONY W FICCO & PAULINE FICCO                   41 CRESCENT ST                                                                                       FRANKLIN           MA    02038‐1903
ANTHONY W FLESCH & MRS VIVIAN P FLESCH JT TEN     590 CENTRAL DR                         APT 404                                                       SOUTHERN PNES      NC    28387‐2861

ANTHONY W GREEN                                   4833 KANSAS ST                         APT 202                                                       SAN DIEGO          CA    92116‐1524
ANTHONY W HOSKINS                                 3 EARL DR                                                                                            CONWAY             AR    72032‐8036
ANTHONY W HUDOCK                                  590 BLUEBERRY HILL DR                                                                                CANFIELD           OH    44406‐1032
ANTHONY W KAWA                                    33742 TWICKINGHAM                                                                                    STERLING HGTS      MI    48310‐6356
ANTHONY W KAWA & JANETTE V KAWA JT TEN            33742 TWICKINGHAM                                                                                    STERLING HEIGHTS   MI    48310‐6356

ANTHONY W LEDBETTER                               PO BOX 1485                                                                                          WINDER             GA    30680‐6485
ANTHONY W MENNELLA & THERESA M MENNELLA JT        17 E CHERYL RD                                                                                       PINE BROOK         NJ    07058‐9427
TEN
ANTHONY W MICHAEL                                 1924 AMYS RIDGE CT                                                                                   DAYTON             OH    45434‐7194
ANTHONY W MOSELEY                                 603 NEWPOT TER                                                                                       LAKE ST LOUIS      MO    63367‐1411
ANTHONY W OLSON                                   355 S COCHRAN AVE                                                                                    CHARLOTTE          MI    48813‐1555
ANTHONY W PARKER                                  1132 HARMONY CIR NW                                                                                  JANESVILLE         WI    53545‐2008
ANTHONY W PERRO                                   521 MERAVAN DR                                                                                       PALM HARBOR        FL    34683‐6049
ANTHONY W PRESTON TR ANTHONY W PRESTON REV        3700 BAL HARBOR BLVD UNIT 105                                                                        PUNTA GORDA        FL    33950‐8256
LIVING TRUST UA 05/04/88
ANTHONY W REED                                    8168 SUE DRIVE                                                                                       FRANKLIN           OH    45005‐4162
ANTHONY W SHAPIRO                                 5810 CHERRY ST                                                                                       KANSAS CITY        MO    64110‐3024
ANTHONY W SMITH                                   1481 KITTRELL RD                                                                                     FRANKLIN           TN    37064‐7400
ANTHONY W SMITH                                   17530 RUTHERFORD ST                                                                                  DETROIT            MI    48235‐3154
ANTHONY W VASILE                                  111 SPRING VALLEY RD                                                                                 PARAMUS            NJ    07652‐4318
ANTHONY W VASQUEZ                                 3414 RUSSELL                                                                                         SAGINAW            MI    48601‐4743
ANTHONY W WILSON                                  4531 UNION GROVE RD                                                                                  RICHMOND           VA    23231‐7618
ANTHONY WALDROPT                                  56 KITTY MURRAY LANE                   ANCASTER ON                                 L9K 1H7 CANADA
ANTHONY WALDROPT                                  56 KITTY MURRAY LANE                   ANCASTER ON                                 I9K 1H7 CANADA
ANTHONY WALLACE                                   4154 S VASSAR ROAD                                                                                   BURTON             MI    48519
ANTHONY WAYNE HATFIELD                            C/O R HATFIELD WOMACK                  12120 WEST WOODCREEK DRIVE                                    YORKTOWN           IN    47396‐9281
ANTHONY WEIMERT & MRS HELEN WEIMERT JT TEN        SENTINEL POINTE APT                    2900 THORNHILLS AVE SE APT 247                                GRAND RAPIDS       MI    49546‐7131
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 233 of 850
Name                                                Address1                               Address2             Address3          Address4          City               State Zip

ANTHONY WILLIAM EITEL                               2130 FRONT ROYAL COURT                                                                          DUNWOODY         GA      30338‐5209
ANTHONY WILLIAM LAFOREST                            454 LOCKPORT ST                                                                                 YOUNGSTOWN       NY      14174‐1162
ANTHONY WILLIAM RASKOB JR                           2310 LOCKHAVEN DR                                                                               COLORADO SPRINGS CO      80909‐2042

ANTHONY WILLIAMS                                    3980 18TH ST                                                                                    ECORSE             MI    48229‐1312
ANTHONY WOJCIECHOWSKI                               5754 ARCOLA                                                                                     GARDEN CITY        MI    48135‐2956
ANTHONY WOJNAROWSKI & CLAUDIA CZUCHAJ JT TEN        22615 LIBERTY                                                                                   ST CLAIR SHORES    MI    48080‐3432

ANTHONY WOLOSKY & JULIA WOLOSKY JT TEN              1555 LONDON                                                                                     LINCOLN PARK       MI    48146‐3521
ANTHONY WONDERLY                                    2102 VISTA RIDGE CT                                                                             ARLINGTON          TX    76013
ANTHONY YACOBELLI & DELPHINE M YACOBELLI TR         46224 WINSTON DR                                                                                SHELBY TWP         MI    48315‐5616
YACOBELLI TRUST 12/21/99
ANTHONY YUHAS & BARBARA G YUHAS JT TEN              36650 HOWARD                                                                                    FARMINGTON HILLS MI      48331‐3573

ANTHONY ZDANUK                                      8921 RANDOM RD                                                                                  FT WORTH           TX    76179‐2735
ANTHONY ZDROJEWSKI JR CUST ANTHONY ZDROJEWSKI       118 CRYSTAL RUN DR                                                                              MIDDLETOWN         DE    19709
III UTMA DE
ANTHONY ZOLLO & IRMGARD ZOLLO JT TEN                216‐10 68TH AVE                                                                                 BAYSIDE            NY    11364‐2605
ANTHONY ZONA CUST MARIO ZONA UNDER NY               57 DEAN RD                                                                                      SPENCERPORT        NY    14559‐9537
UNIFORM GIFTS TO MINROS ACT
ANTHONY ZURAWSKI                                    PO BOX 1344                                                                                     SCHENECTADY        NY    12301‐1344
ANTIGONE E HANNA                                    PO BOX 19406                                                                                    PITTSBURGH         PA    15213‐5406
ANTIONETTE BEST                                     818 SYCAMORE ST                                                                                 ROCKY MOUNT        NC    27801‐5978
ANTIONETTE GRANT                                    3434 CAVE SPRINGS AVE                                                                           BOWLING GREEN      KY    42104‐5524
ANTIONETTE R PISANI                                 712 THORNBY RD                                                                                  WILMINGTON         DE    19803‐2230
ANTOINE G KAPEL & SHIRLEY J KAPEL JT TEN            W11449 COUNTY RD                                                                                W PORTAGE          WI    53901‐9620
ANTOINE J LE BLANC                                  PO BOX 521                                                                                      MANDEVILLE         LA    70470‐0521
ANTOINET CHAUVIN CRANE                              4197 INDIAN GLEN                                                                                OKEMOS             MI    48864‐3848
ANTOINETTE C KEDERIS TOD PATRICIA J SABO & JOHN E   2144 EAGLE STICKS DR                                                                            HENDERSON          NV    89012‐2576
KEDERIS
ANTOINETTE CAIN                                     305 WALTON AVE                                                                                  DAYTON             OH    45417‐1669
ANTOINETTE CARTER                                   1024 GREENTREE                                                                                  BLOOMFIELD HILLS   MI    48304‐2534

ANTOINETTE CASSINE                             66 KINGSRIDGE LANE                                                                                   ROCHESTER          NY    14612‐3739
ANTOINETTE CIOLINO & SAL CIOLINO JT TEN        5719 LOST BROOK CT                                                                                   ST LOUIS           MO    63129‐2927
ANTOINETTE D WARRICK TR UA 08/01/89 ANTOINETTE 2958 GARDENDALE DR                                                                                   SAN JOSE           CA    95125‐4230
D WARRICK
ANTOINETTE DE VITTORI                          PO BOX 1051                                 FORT ERIE ON                           L2A 5N8 CANADA
ANTOINETTE DI DOMENICO CUST JOSEPH DI DOMENICO PO BOX 190                                                                                           CARMEL             NY    10512‐0190
UGMA NY
ANTOINETTE DORIS MAZZARINI & VICTOR FRANCIS    21 FLEMING COURT                                                                                     PALM COAST         FL    32137‐8188
MAZZARINI JT TEN
ANTOINETTE DORIS MAZZARINI & VICTOR FRANCIS    21 FLEMING CT                                                                                        PALM COAST         FL    32137‐8188
MAZZARINI JT TEN
ANTOINETTE DOUPE                               33220 MELTON                                                                                         WESTLAND           MI    48186‐7822
ANTOINETTE E PINEAU                            2043 WOODLAND AVE                                                                                    OJAI               CA    93023‐4045
ANTOINETTE E SMITH                             1121 CICILION AVE                                                                                    DAYTON             OH    45407‐1112
ANTOINETTE FEDE                                69 GRANT AVE                                                                                         NUTLEY             NJ    07110‐1906
ANTOINETTE FLEMING                             4316 TRUMBULL DR                                                                                     FLINT              MI    48504‐3754
ANTOINETTE FULCHER                             16843 VALLEY BL E640                                                                                 FONTANA            CA    92335‐6666
ANTOINETTE G TALBOT & CHRISTOPHER J TALBOT JT  19333 SUMMERLIN RD #877                                                                              FORT MYERS         FL    33908‐5207
TEN
ANTOINETTE GALETTO                             779 ROYAL SUNSET DR                                                                                  WEBSTER            NY    14580‐2580
ANTOINETTE J BAGARELLA TR UA 10/14/2008        4829 N NEVA AVE                                                                                      CHICAGO            IL    60656
ANTOINETTE J BAGARELLA TRUST
ANTOINETTE JABLONSKI                           51560 DEBORAH CIRCLE                                                                                 NEW BALTIMORE      MI    48047‐3056
ANTOINETTE K DEGUTIS                           306 PLYMOUTH RD                                                                                      UNION              NJ    07083‐7808
ANTOINETTE K MITCHELL                          6842 ROBINWOOD TRAIL                                                                                 DOUGLASVILLE       GA    30135‐2486
ANTOINETTE K RUSSO                             ATTN MRS ANTOINETTE CONTINISIO              877 CENTRAL AVE                                          HAMMONTON          NJ    08037‐1114
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                    Part 1 of 8 Pg 234 of 850
Name                                           Address1                              Address2                           Address3   Address4                 City               State Zip

ANTOINETTE KAVICH & BARBARA MONTES JT TEN      6541 W 81ST PL                                                                                               BURBANK            IL    60459‐1710
ANTOINETTE L BRONGO                            2185 MANITOU RD                                                                                              ROCHESTER          NY    14606‐3211
ANTOINETTE L NOVOTNEY                          12825 ASTONWOOD DR                    APT 108                                                                TAMPA              FL    33626‐3131
ANTOINETTE L POVICH                            11473 IMPERIAL GROVES DR EAST                                                                                LARGO              FL    33774‐4036
ANTOINETTE L PROTO                             20 WOODSIDE DR                                                                                               WOODBRIDGE         CT    06525‐2037
ANTOINETTE L PRZYTULA                          46466 BEN FRANKLIN DR                                                                                        SHELBY TWP         MI    48315‐5808
ANTOINETTE L RAMBO                             565 44TH AVENUE N E                                                                                          ST PETERSBURG      FL    33703‐5023
ANTOINETTE LEE                                 1598 HARVARD X                                                                                               COLUMBUS           OH    43203‐1250
ANTOINETTE M DOBOS                             4060 BOB‐O‐LINK DR                                                                                           YOUNGSTOWN         OH    44511
ANTOINETTE M LABELLE                           7360 CRYSTAL LAKE DR APT 1                                                                                   SWARTZ CREEK       MI    48473‐8942
ANTOINETTE M LEPPELMEIER                       3306 CATBIRD LN                                                                                              ENGLEWOOD          FL    34224
ANTOINETTE M MARLINGA                          32 VALOIS AVE                                                                                                PITTSBURGH         PA    15205‐2021
ANTOINETTE M MIKOLAY                           1935 SUNSET DRIVE                                                                                            RICHMOND HTS       OH    44143‐1248
ANTOINETTE M MULIDORE                          6564 MERMAID CIRLE                                                                                           LAS VEGAS          NV    89103
ANTOINETTE M RYDER                             BOX 10                                                                                                       CARMEL             NY    10512‐0010
ANTOINETTE M SANBORN & GREGORY M SANBORN JT    5147 DURWOOD DR                                                                                              SWARTZ CREEK       MI    48473‐1123
TEN
ANTOINETTE M SHELLEY TR ANTOINETTE M SHELLEY   5400 GULF DR 33                                                                                              HOLMES BEACH       FL    34217‐1731
LIVING TRUST UA 10/17/02
ANTOINETTE M TOMCZYK                           259 A NASSAU AVE                                                                                             BROOKLYN           NY    11222‐3712
ANTOINETTE M TRAMONTIN                         30468 DIAMONNTE LN                                                                                           RANCHO PALOS       CA    90275‐6397
                                                                                                                                                            VERDE
ANTOINETTE M TREGRE                            3753 SCOFIELD ST                                                                                             METAIRIE           LA    70002‐1508
ANTOINETTE MARGARET SIMPSON                    LITTLE RABBITS CROSS                  FARMHOUSE CHART SUTTON MAIDSTONE   KENT       ME17 3EV GREAT BRITAIN

ANTOINETTE MARIE FINOCCHIARO                   159 ELM ST APT 2                                                                                             MILFORD            NH    03055
ANTOINETTE MARIE OROSZ TR UA 11/30/79          2007 VINSETTA                                                                                                ROYAL OAK          MI    48073‐3971
ANTOINETTE MARIE OROSZ TRUST
ANTOINETTE MILLER TOD ROSEMARY TERESA LONG     6715 W 80 ST                                                                                                 OVERLAND PARK      KS    66204
SUBJECT TO STA TOD RULES
ANTOINETTE ORANSKI & RONALD ORANSKI JT TEN     7603 BRECKSVILLE RD                                                                                          INDEPENDENCE       OH    44131‐6536
ANTOINETTE P MILINCHUK                         421 APPLEDORE CIRCLE #5A                                                                                     MYRTLE BEACH       SC    29572
ANTOINETTE P PORTER                            101 PARKER FARMS RD                                                                                          WALLINGFORD        CT    06492‐2835
ANTOINETTE R FISHER                            6121 VAUGHN DR NE                                                                                            RIO RANCHO         NM    87144‐6375
ANTOINETTE R KUROWSKI                          1243 E MARCONI AVE                                                                                           PHOENIX            AZ    85022‐3234
ANTOINETTE RAAD                                43207 GINA DR                                                                                                STERLING HEIGHTS   MI    48314‐6302

ANTOINETTE S COMITO                             4228 74TH AVE E                                                                                             SARASOTA           FL    34243‐5116
ANTOINETTE S DELEO                              466 COLLEGE ST                                                                                              NIAGARA FALLS      NY    14305‐1526
ANTOINETTE SCALIA & JOSEPH SCALIA JT TEN        76 BARLOW ST                                                                                                BRISTOL            CT    06010‐4071
ANTOINETTE SPOSITO                              1213 CEDAR RD                                                                                               SOUTHPORT          CT    06890
ANTOINETTE SURACE                               6392 O'CONNOR DR                                                                                            LOCKPORT           NY    14094‐6516
ANTOINETTE T CUNNIFF                            99 WILDWOOD DR                                                                                              TROY               MI    48085
ANTOINETTE T DECKER                             1252 SCENIC DR                                                                                              GLENDALE           CA    91205‐3744
ANTOINETTE TAAFFE                               13520 EVERGREEN LN N                                                                                        DAYTON             MN    55327‐9500
ANTOINETTE TEIXEIRA                             3015 GREENWOOD DR                                                                                           FREMONT            CA    94536‐3716
ANTOINETTE TOMCZYK & ELIZABETH MARY TOMCZYK JT 259A NASSAU AVENUE                                                                                           BROOKLYN           NY    11222‐3712
TEN
ANTOINETTE WISE                                 400 SO ST PO BOX 834                                                                                        PEEKSKILL          NY    10566‐0834
ANTOINETTE WISNIEWSKI                           805 UPPER MAIN ST                                                                                           SOUTH AMBOY        NJ    08879‐1418
ANTOININE FOX                                   117 E RACINE ST                                                                                             JANESVILLE         WI    53545‐4857
ANTON BAUMGARTNER                               2187 PYRAMID DR                                                                                             RICHMOND           CA    94803‐3219
ANTON C ADAMS III CUST TAYLOR PEYTON RANDOLPH 9601 FIRESIDE DR                                                                                              GLEN ALLEN         VA    23060‐6279
ADAMS UTMA VA
ANTON C KMOCH                                   21328 WEST DOUGLAS LANE                                                                                     PLAINFIELD         IL    60544‐5600
ANTON C SENFTLEBEN & REGINA T SENFTLEBEN JT TEN 53200 PINERIDGE DR                                                                                          CHESTERFIELD       MI    48051‐2746

ANTON C TRANCHINA                              60121 OAKLAWN AVE                                                                                            LACOMBE            LA    70445‐3889
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                                                      Part 1 of 8 Pg 235 of 850
Name                                            Address1                               Address2                  Address3                    Address4          City               State Zip

ANTON DOCEKAL & WILMA V DOCEKAL TR UA 08/26/92 PO BOX 642                                                                                                      FREMONT            NE    68026‐0642
ANTON DOCEKAL TRUST
ANTON F TEISL & MRS BETTY L TEISL JT TEN       20379 EFFIGY MOUNDS LN                                                                                          MUSCODA            WI    53573‐5444
ANTON FASSERO                                  BOX 117                                                                                                         BENLD              IL    62009‐0117
ANTON G DEGENHARDT & MARY C DEGENHARDT JT TEN 3583 BROOKSTONE S DR                                                                                             ST LOUIS           MO    63129‐2964

ANTON GRAFF                                     33245 LAKE SHORE BLVD                                                                                          EASTLAKE           OH    44095‐2705
ANTON H KOVACIK                                 5 ELEANOR LANE                                                                                                 PORTLAND           CT    06480‐1204
ANTON H LORBER                                  850 EAGLE CREST CT                                                                                             RIVERSIDE          CA    92506‐7528
ANTON HEBENSTREIT & MARIANNE HEBENSTREIT JT TEN 53 FOREST ST                                                                                                   NEW BRITAIN        CT    06052‐1424

ANTON HORVATIC                                  2562 MERIDIAN AVE                                                                                              SAN JOSE           CA    95124‐1745
ANTON J CHRNKO                                  7803 MARYLAND AVE                                                                                              CLEVELAND          OH    44105‐5931
ANTON J RAAB & MARILYN A RAAB JT TEN            4106 E WILDER #321                                                                                             BAY CITY           MI    48706‐2239
ANTON KLINE                                     BOX 5056                                                                                                       PLAYA DEL RAY      CA    90296‐5056
ANTON LAROUSA                                   2817 CHEROKEE DR                                                                                               WATERFORD          MI    48328‐3159
ANTON M BRENNER                                 2200 N ROCK ROAD                                                                                               SHELBY             OH    44875‐9014
ANTON MOLL                                      GENERAL MOTORS‐EUROPE AG               PO BOX STELZENSTRASSE 4   CH‐8152 GLATTBRUGG/ZURICH   SWITZERLAND
ANTON MOLL                                      VOGELHALDE 15                          CH‐8532 WARTH                                         SWITZERLAND
ANTON N PFENDT                                  25315 SUGAR VLY DR                                                                                             SPRING             TX    77373‐8008
ANTON O MELBY                                   121 DICKINSON LANE WEST PARK                                                                                   WILMINGTON         DE    19807‐3139
ANTON P SMITH & BONNIE H SMITH JT TEN           706 ASHLAND AVE                                                                                                SANTA MONICA       CA    90405‐4512
ANTON SADAR JR                                  31827 CHARDON RD                                                                                               WILLOUGHBY HL      OH    44094‐9149
ANTON SCHOMODJI                                 7804 LUXOR ST                                                                                                  DOWNEY             CA    90241‐4677
ANTON STRAZAR                                   4077 MAGNOLIA DR                                                                                               BRUNSWICK          OH    44212‐1570
ANTON STRAZAR & ANN E STRAZAR JT TEN            4077 MAGNOLIA DR                                                                                               BRUNSWICK          OH    44212‐1570
ANTON W GRASL                                   40034 CAPITOL                                                                                                  STERLING HEIGHTS   MI    48313‐5304

ANTON Z PANASEWICZ                              6428 WESTMINISTER DRIVE                                                                                        PARMA              OH    44129‐4946
ANTONE B MELLO                                  1559 GRANDVIEW AVE                                                                                             ROCHESTER HILL     MI    48064
ANTONE C DEMELLO 3RD                            PO BOX H 3069                                                                                                  NEW BEDFORD        MA    02740
ANTONE E WILLOUR                                6234 CHESTERFIELD LANE                                                                                         RENO               NV    89523‐1725
ANTONE M SILVIA                                 758 UNION ST                                                                                                   PORTSMOUTH         RI    02871‐2236
ANTONE RITA                                     378 TRAMWAY DR                                                                                                 MILPITAS           CA    95035‐3523
ANTONETTA GIORDANO                              13240 INKSTER RD                                                                                               ROMULUS            MI    48174‐2839
ANTONETTA PRATI                                 110 BENNETT AVE                                                                                                NEPTUNE CITY       NJ    07753‐6207
ANTONETTE A HOULIHAN & ANN MARIE MAROS JT TEN   8 WALL STREET                                                                                                  WORCESTER          MA    01604‐3714
TOD KAREN M BLANCHARD
ANTONETTE B MOLITOR                             12516 S ARCHER AVE                                                                                             LEMONT             IL    60439‐9335
ANTONETTE GAMBINI                               401 FALLING LEAF DRIVE                                                                                         FRIENDSWOOD        TX    77546‐4521
ANTONETTE GRAMMATIKOS                           909 WILLARD AVE NE                                                                                             WARREN             OH    44483‐4243
ANTONETTE R BEAL                                2066 PARKWOOD DR N W                                                                                           WARREN             OH    44485‐2325
ANTONI BROZDA                                   4641 JONATHAN                                                                                                  DEARBORN           MI    48126‐4028
ANTONI LELEJ                                    43733 VINTNERS PLACE DRIVE                                                                                     STERLING HEIGHTS   MI    48314‐1336

ANTONI ODORCZUK & HALINA ODORCZUK JT TEN        54 HARWINTON HEIGHTS RD                                                                                        HARWINTON          CT    06791
ANTONIA B PALAZZOLO                             73 GEORGE ROAD                                                                                                 ROCKY HILL         CT    06067‐3509
ANTONIA CEDILLO & RAYMUNDO CEDILLO JT TEN       4839 CASTLE SHIELD                                                                                             SAN ANTONIO        TX    78218‐4016
ANTONIA E CHIESA                                1200 LOCUST ST                                                                                                 DENVER             CO    80220‐2829
ANTONIA E JONES                                 5109 N CAPITOL                                                                                                 INDIANAPOLIS       IN    46208‐3406
ANTONIA ECHAVARRIA                              6001 ELKHORN LN                                                                                                SANTA MARIA        CA    93455‐6036
ANTONIA H CARDENAS                              1632 BROWN ST                                                                                                  SAGINAW            MI    48601‐2826
ANTONIA J ROSETTI                               2209 23RD AVE                                                                                                  GULFPORT           MS    39501‐4612
ANTONIA K MILONAS CUST CHRIS MARIO TSOUNAKIS    C/O ANTONIA K MILONAS                  171 W 57TH ST 11C                                                       NEW YORK           NY    10019‐2222
UTMA NY
ANTONIA K MILONAS CUST GEORGE ANTHONY           C/O ANTONIA K MILONAS                  171 W 57TH ST 11C                                                       NEW YORK           NY    10019‐2222
TSOUNAKIS UTMA NY
ANTONIA KURTIS & DENISE DIEGELMANN & MICHAEL    6768 ARTHUR HILLS DR                                                                                           GAINESVILLE        VA    20155‐3101
KURTIS JT TEN
                                          09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                  Exhibit E
                                                                                    Part 1 of 8 Pg 236 of 850
Name                                          Address1                               Address2                     Address3             Address4            City            State Zip

ANTONIA M FERRANTE                            188 CENTER ST                          APT 118                                                               CARLETON        MI    48117‐9051
ANTONIA M SANGSTER                            2054 NORTHAIRE LN                                                                                            SAINT LOUIS     MO    63138‐1229
ANTONIA MARBLE                                C/O DENNIS ELIAS                       11105 CALLANISH PARK DRIVE                                            AUSTIN          TX    78750‐3532
ANTONIA MIHALCNONOK & ANNA GOBRATSEVICH JT    116 LORRAINE AVE N                                                                                           SYRACUSE        NY    13210‐3222
TEN
ANTONIA PIOTROWSKI                            7153 SHERWOOD LANE                                                                                           DAVISON          MI   48423‐2369
ANTONIA POOR                                  RTE 1                                  3M DIXIE DR                                                           CANUTILLO        TX   79835‐6432
ANTONIA R BARABANI                            1696 TOWNSHIP ROAD                     1419                                                                  MANSFIELD        OH   44903‐9506
ANTONIA RODRIGUEZ                             5A EARHART LN #5A                                                                                            BRONX            NY   10475‐5513
ANTONIA TRACY                                 8671 SUGAR TREE DRIVE                                                                                        NOVELTY          OH   44072‐9615
ANTONIA TRACY & JAMES J TRACY JT TEN          8671 SUGARTREE                                                                                               RUSSELL TOWNSHIP OH   44072‐9615

ANTONIE SLEGER                                23A JAMES BUCHANAN DR                                                                                        MONROE          NJ    08831‐4847
                                                                                                                                                           TOWNSHIP
ANTONIETA P RINALDI                            8 MONMOUTH AVENUE                                                                                           BERLIN          NJ    08009‐1185
ANTONIETTA BERNIERI                            22014 CUNNINGHAM                                                                                            WARREN          MI    48091‐3628
ANTONIETTA M DI FILLIPPO                       2233 MANITOU RD                                                                                             ROCHESTER       NY    14606‐3213
ANTONIETTA SERIO                               19 VIKING ROAD                                                                                              SAUGUS          MA    01906‐4134
ANTONINA ADAMEK TR U‐A D 04/17/86 M‐B ANTONINA 27963 THORNTREE LANE                                                                                        HARRISON TWP    MI    48045‐2242
ADAMEK
ANTONINA ADAMEK TR UA 04/17/96 ANTONINA        27963 THORNTREE LANE                                                                                        HARRISON TWP    MI    48045‐2242
ADAMEK AS GRANTOR
ANTONINA M KULP                                3034 HIGHLAND ST                                                                                            ALLENTOWN       PA    18104‐3556
ANTONINA SANGIORGI                             430 HOWARD RD                                                                                               ROCHESTER       NY    14606‐5652
ANTONINA VIGNERI                               125 SILVERDALE DR                                                                                           ROCHESTER       NY    14609‐2970
ANTONINO CAMPO & ANNA CAMPO & JOHN CAMPO JT 28022 LIBERTY DR                                                                                               WARREN          MI    48092‐2539
TEN
ANTONINO CASCIO                                37 FRANCES DR                                                                                               KATONAH         NY    10536‐3210
ANTONINO CRACCHIOLO                            14463 CORAM                                                                                                 DETROIT         MI    48205‐1926
ANTONINO GRADO                                 11866 SAVANNA STREET                  WINDSOR ON                                        N8P 1P1 CANADA
ANTONINO MOTTA                                 8 PRIORY LANE                                                                                               PELHAM MANOR    NY    10803‐3604
ANTONINO PATANE                                728 POND ST                                                                                                 SYRACUSE        NY    13208‐2154
ANTONIO A COELHO                               54 E WALNUT ST                                                                                              MILFORD         MA    01757‐3548
ANTONIO A COELHO & ANNA M COELHO JT TEN        54 E WALNUT ST                                                                                              MILFORD         MA    01757‐3548
ANTONIO A SANDOVAL                             1494 W CRANE POND DR                                                                                        MARION          IN    46952‐9202
ANTONIO ABRANTES CUST TIAGO B ABRANTES UTMA NJ 404 CHESTNUT ST #23                                                                                         NEWARK          NJ    07105‐2468

ANTONIO ARQUILLA                              514 WOODHILL DR                                                                                              CAROL STREAM    IL    60188‐4311
ANTONIO AUSIELLO                              PO BOX 241                                                                                                   GREENVILLE      MI    48838‐0241
ANTONIO B CERVANTES                           2227 W ARMITAGE AVE                                                                                          CHICAGO         IL    60647‐4418
ANTONIO BARRAGAN                              1420 APPLEWOOD                                                                                               LINCOLN PARK    MI    48146‐2043
ANTONIO BARREIRO                              505 LA GUARDIA PL                                                                                            NEW YORK        NY    10012‐2001
ANTONIO BOURGEOIS                             1301 FIRST STREET                                                                                            ORANGE          TX    77630‐4005
ANTONIO C DIAS                                AVENUE DA CORREDOURA NO 6              CELORICO DA BEIRA                                 6360 PORTUGAL
ANTONIO C HINOJOSA                            5349 TANGELWOOD PARK DR                                                                                      FREMONT          CA   94538‐3256
ANTONIO C JURADO                              17756 BLYTHE ST                                                                                              RESEDA           CA   91335‐2205
ANTONIO C MANUEL                              132 BAY MAR DR                                                                                               FORT MYERS BEACH FL   33931‐3808

ANTONIO C MIGUELEZ                            802 HIGH POINT CIRCLE                                                                                        LANGHORNE       PA    19047‐5163
ANTONIO C RODRIGUEZ                           1619 WEBBER                                                                                                  SAGINAW         MI    48601‐3414
ANTONIO CANIZE                                16 SWARTHMORE ROAD                                                                                           LINDEN          NJ    07036‐3841
ANTONIO CARBONE                               223 WINTHROPST                                                                                               FRAMINGHAM      MA    01702‐8531
ANTONIO CARELLI                               9 TARWOOD DR                                                                                                 ROCHESTER       NY    14606‐5707
ANTONIO CARELLI & ROSA CARELLI JT TEN         9 TARWOOD DR                                                                                                 ROCHESTER       NY    14606‐5707
ANTONIO CASAREZ                               3601 MT ROYAL                                                                                                DALLAS          TX    75211‐3042
ANTONIO CECCARELLI                            11391 SUFFOLK                                                                                                SOUTH GATE      MI    48195‐3356
ANTONIO CHACON                                10105 HAYVENHURST AVE                                                                                        NORTH HILLS     CA    91343‐1105
ANTONIO CINQUANTA                             25 N HIGHLAND PLACE                                                                                          CROTON          NY    10520‐2013
ANTONIO COBO RUIZ                             GM ESPANA SA                           CARRETERA NACL 232 KM 29     FIGUERELAS ZARAGZA   SPAIN
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                          Part 1 of 8 Pg 237 of 850
Name                                                Address1                               Address2                  Address3     Address4            City             State Zip

ANTONIO COLAROSSI                                   33863 JAMES COURT                                                                                 FARMINGTON       MI    48335‐4147
ANTONIO COLON                                       URB MONTE VERDE                        901 MONTE BRITTON ST                                       MANATI           PR    00674‐5744
ANTONIO COSCARELLA                                  719 PEBBLEBROOK LANE                                                                              EAST LANSING     MI    48823
ANTONIO COSCIA                                      743 MILE SQUARE ROAD                                                                              YONKERS          NY    10704‐1936
ANTONIO D CASTILLO                                  531 MUIR ST                                                                                       JANESVILLE       WI    53546‐3110
ANTONIO D DIAS                                      16 W MAPLE ST                                                                                     MILFORD          MA    01757‐4010
ANTONIO D DIGONNO                                   1449 WELSH AVE                                                                                    HAMILTON         OH    45011‐4360
ANTONIO D JAO                                       2242 RIDGEWOOD CIR                                                                                ROYAL PALM BEACH FL    33411‐6156

ANTONIO D JAO EMD                                   2242 RIDGEWOOD CIRCLE                                                                             ROYAL PALM BEACH FL    33411‐6156

ANTONIO D SOARES                                    10 FEENEY ROAD                                                                                    OSSINING         NY    10562‐2612
ANTONIO DA COSTA & JANET DA COSTA JT TEN            218 E PASEO WAY                                                                                   TEMPE            AZ    85283‐3622
ANTONIO DE GIROLAMO                                 4594 BARCLAY DR                                                                                   DUNWOODY         GA    30338
ANTONIO DE LA VEGA                                  OPEL ESPANA MANF ENG BLD 42 II         APARTADO DE CORREOS 375   ZARAGOZA     SPAIN
ANTONIO DE PALMA                                    261 SUMMIT RD                                                                                     MOUNTAINSIDE     NJ    07092‐2308
ANTONIO DE ROSA                                     5102 BOTTLEBRUSH ST                                                                               DELRAY BEACH     FL    33484‐5533
ANTONIO DELGADO                                     1327 SUMMERCHASE RD                                                                               SAN JACINTO      CA    92582‐6201
ANTONIO DEMARCO                                     23 POTTER ROAD                                                                                    FRAMINGHAM       MA    01701‐3424
ANTONIO DI PONIO                                    4422 NATHAN W DRIVE                                                                               STERLING HTS     MI    48310‐2655
ANTONIO DOSSANTOS                                   1310 STREAMVIEW CT                                                                                BEL AIR          MD    21015‐5026
ANTONIO DUARTE JR                                   2155 BLACK HAWK TRAIL                                                                             LAWRENCEVILLE    GA    30043‐6678
ANTONIO ENCARNACION                                 PO BOX 683                             SALINAS                                PUERTO RICO
ANTONIO ENCISO                                      630 MAYFLOWER                                                                                     SAGINAW          MI    48603‐5754
ANTONIO F CUNHA                                     704 GROVE ST                                                                                      ELIZABETH        NJ    07202‐3508
ANTONIO F ESTRADA                                   1723 ABERDEEN COURT                                                                               ARLINGTON        TX    76015‐1348
ANTONIO F FERREIRA & IVA FERREIRA JT TEN            15 MERIDAN LANE                                                                                   NANUET           NY    10954‐1333
ANTONIO F GABRIELE                                  2433 LYELL RD                                                                                     ROCHESTER        NY    14606‐5321
ANTONIO F GASALLA                                   8132 SW 103RD ST                                                                                  MIAMI            FL    33156‐2531
ANTONIO F SIERRA                                    4512 COUNTY ROAD 656                                                                              WEBSTER          FL    33597‐7371
ANTONIO F STANFIELD                                 2821 QUAIL CV                                                                                     ENTERPRISE       AL    36330‐5019
ANTONIO FAMIGLIETTI                                 630 ROSEWOOD TERRACE                                                                              LINDEN           NJ    07036‐5835
ANTONIO FEDERICO SR & CHRISTINE K FEDERICO JT TEN   24821 FOURL RD                                                                                    NEW HALL         CA    91321‐3443

ANTONIO FERNANDEZ                                   9323 HUBBARD ROAD                                                                                 DAVISON          MI    48423‐9370
ANTONIO FRACASSO & STEPHANIE FRACASSO JT TEN        8 VIRGINIA AVE                                                                                    FORT LEE         NJ    07024‐6420

ANTONIO FRANCAVILLA                                 C/O GLIWICE‐OPEL POLSKA                POBOX 9022                                                 WARREN           MI    48090‐9022
ANTONIO FUSCIARDI                                   4055 HEATHERWOOD HOLLOW AVE                                                                       MOORPARK         CA    93021‐3117
ANTONIO FUTIA                                       52 PARTRIDGE LANE                                                                                 MIDDLETOWN       CT    06457‐2349
ANTONIO G CIAMPA                                    228 WEST DELANO AVE                                                                               YONKERS          NY    10704‐3830
ANTONIO G FERNANDEZ & MRS ROSE FERNANDEZ JT         2959 DE SOTO ROAD                                                                                 SARASOTA         FL    34234‐3364
TEN
ANTONIO G GRANA & RIGOBERTO M COLOM JT TEN          851 N SURF RD APT 203                                                                             HOLLYWOOD        FL    33019‐1227

ANTONIO G GUEVARA                                   2399 KANSAS                                                                                       SAGINAW          MI    48601‐5533
ANTONIO GARBINI                                     259 WASHINGTON DRIVE                   CHURCHTOWN                                                 PENNSVILLE       NJ    08070‐1313
ANTONIO GARZA                                       1115 S MAIN ST                                                                                    EATON RAPIDS     MI    48827‐1735
ANTONIO GIAMBO                                      122 WOODHAVEN ST                                                                                  MATTAPAN         MA    02126‐1730
ANTONIO GIL GARCIA                                  REYES DE ARAGON 18 2B                  ZARAGOZA                               50012 SPAIN
ANTONIO GIURASTANTE                                 29144 RAYBURN                                                                                     LIVONIA          MI    48154‐3852
ANTONIO GROSS                                       549 COUNTY LINE RD                                                                                ONTARIO          NY    14519‐9200
ANTONIO GROSS & MRS ROSEMARIE H GROSS JT TEN        549 COUNTY LINE RD                                                                                ONTARIO          NY    14519‐9200

ANTONIO GUZMAN                                      21641 HOLLY                                                                                       MT CLEMENS       MI    48035‐1735
ANTONIO H VELASCO                                   1032 N 3RD                                                                                        SAGINAW          MI    48601‐1008
ANTONIO HADDAD & LILLIAN HADDAD JT TEN              639 WOOD AVE                                                                                      WOONSOCKET       RI    02895‐2131
ANTONIO HERNANDEZ                                   5673 OAK CLIFF DR                                                                                 EL PASO          TX    79912‐4215
ANTONIO HERRERA                                     33754 15TH ST                                                                                     UNION CITY       CA    94587‐3317
                                         09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                   Part 1 of 8 Pg 238 of 850
Name                                          Address1                              Address2             Address3          Address4            City               State Zip

ANTONIO I CASTANON                             9980 W 189 N‐27                                                                                 CONVERSE           IN    46919‐9501
ANTONIO IANNACITO CUST MARISA E IANNACITO UGMA 117 4TH ST                                                                                      TROY               NY    12180‐3912
NY
ANTONIO IERACI                                 1419 DONCASTER DR                                                                               YOUNGSTOWN         OH    44511‐3609
ANTONIO J AGOSTO                               8019 FERH HILL AVE                                                                              CLEVELAND          OH    44129
ANTONIO J ALMEIDA                              1743 MACY LANE                                                                                  LAWRENCEVILLE      GA    30043‐3297
ANTONIO J PATTERINO                            200 WESTON AVE                                                                                  GLOUSTER CITY      NJ    08030‐1355
ANTONIO L CRESPO                               14809 M 60 LOT 21                                                                               THREE RIVERS       MI    49093‐8542
ANTONIO L QUIJALVO & FUNG L QUIJALVO JT TEN    433 MISSION PARK DR                                                                             STOCKTON           CA    95207‐2046
ANTONIO LEOS                                   10509 MARSHALL RD                                                                               BIRXH RUN          MI    48415‐9044
ANTONIO LOZANO                                 2016 JEFFERS                                                                                    SAGINAW            MI    48601‐4818
ANTONIO M CARDOSO                              14 NEWBROOK RD                                                                                  NEWARK             DE    19711‐5522
ANTONIO M CURRENTI                             16 DANIEL DR                                                                                    ROCHESTER          NY    14624‐1606
ANTONIO M FOWLER                               24020 GENEVA                                                                                    OAK PARK           MI    48237‐2116
ANTONIO M GOMES                                26 UNION ST                                                                                     MILFORD            MA    01757‐2340
ANTONIO M LOPES                                5 DIANA CIR                                                                                     MILFORD            MA    01757
ANTONIO M MANZO                                5000 ACKERMAN BLVD                                                                              KETTERING          OH    45429‐5648
ANTONIO M MARQUES                              17 ROCKING HORSE DR                                                                             PALM COAST         FL    32164‐6968
ANTONIO M VIURQUEZ                             7421 W 57TH ST                                                                                  SUMMIT ARGO        IL    60501
ANTONIO MARTINEZ JR                            2644 SOUTH KOMENSKY                                                                             CHICAGO            IL    60623‐4444
ANTONIO MATIAS                                 34 WOOD AVE                                                                                     FRAMINGHAM         MA    01702‐7236
ANTONIO MAZZEO & LORRAINE MAZZEO JT TEN        54 SW AVE                                                                                       BRIDGETON          NJ    08302‐2354
ANTONIO MEYRELES                               1521 KELBY RD                                                                                   KISSIMMEE          FL    34744‐2719
ANTONIO MILANO                                 308 SPENCER STREET                                                                              ELIZABETH          NJ    07202‐3926
ANTONIO MIRANDA                                4852 MIRA‐SOL DRIVE                                                                             MOORPARK           CA    93021‐9745
ANTONIO MONTALVO                               52 N SMITH ST                                                                                   AVENEL             NJ    07001‐1747
ANTONIO MORELLI & MARIA MORELLI JT TEN         14360 DRUMRIGHT                                                                                 STERLING HEIGHTS   MI    48313‐4322

ANTONIO MORENO                                3631 SW 132ND CT                                                                                 MIAMI              FL    33175‐6921
ANTONIO MORIERI                               KALKOFENSTRASSE 20                    CH‐8810HORGEN                          SWITZERLAND
ANTONIO N DE CARLO                            2205 BADIAN DR                                                                                   SILVER SPRING    MD      20904‐5406
ANTONIO N PINTO                               75 HOUGHTON ST                                                                                   HUDSON           MA      01749‐2514
ANTONIO N SANTOS                              37935 FARWELL DR                                                                                 FREMONT          CA      94536‐7007
ANTONIO N SAVACCHIO                           150‐08‐84TH DRIVE                                                                                JAMAICA          NY      11432‐2519
ANTONIO N VERDUZCO                            2850 S PULASKI                                                                                   CHICAGO          IL      60623‐4455
ANTONIO NAPOLI                                18 BERYL CT                                                                                      BREWSTER HEIGHTS NY      10509‐4620

ANTONIO NAVAIRA                               31274 BRODERICK DR                                                                               CHESTERFIELD       MI    48051‐1803
ANTONIO O GONZALEZ                            423 MURPHY DR                                                                                    ROMEOVILLE         IL    60446‐1718
ANTONIO O YBARRA                              1292 E MAIN ST                                                                                   OTTAWA             OH    45875‐2037
ANTONIO P ALVARADO                            13540 TREASURE WAY                                                                               CHINO HILLS        CA    91709‐1213
ANTONIO P CENTI                               24364 RIVARD CT                                                                                  GROSSE ILE         MI    48138‐2214
ANTONIO P GUEVARA                             4328 1/2 PERLITA AVE                                                                             LOS ANGELES        CA    90039‐1204
ANTONIO PADILLA                               LIC JOSE MARIA LOZANO #46             SAN MIGUEL EL ALTO   JALISCO           47140 MEXICO
ANTONIO PALACIO                               5653 ROOSEVELT                                                                                   DEARBORN HTS       MI    48125‐2585
ANTONIO PARDO                                 25334 JUBAL STREET                                                                               PUNTA CORDA        FL    33955‐4251
ANTONIO PERCONTINO                            105 NIEHAUS AVE                                                                                  LITTLE FERRY       NJ    07643‐1730
ANTONIO PEREZ BAYONA                          GM ESPANA SA                          APARTADO 375         50080 ZARAGOZA    SPAIN
ANTONIO PEREZ BAYONA                          GM ESPANA                             APT DE CORREOS 375   ZARAGOZA          SPAIN
ANTONIO PICCORELLI                            1106 MOOK STREET                                                                                 BRANDON            FL    33510‐2917
ANTONIO PIRES                                 5928 BRADFORD LANE                                                                               TUSCALOOSA         AL    35405‐5677
ANTONIO PUCCI                                 7230 WHITTIER DR                                                                                 DARIEN             IL    60561‐3729
ANTONIO QUINTANILLA                           1834 E BENWICK                                                                                   TOLEDO             OH    43613‐2306
ANTONIO R DA SILVA                            11 JENCKS RD                                                                                     MILFORD            MA    01757‐3675
ANTONIO R MARTINEZ                            3138 W FRANCES RD                                                                                CLIO               MI    48420‐8530
ANTONIO R MESTRES                             13381 SW 78TH ST                                                                                 MIAMI              FL    33183‐3301
ANTONIO R SALOMON                             521 W FERNFIELD DR                                                                               MONTEREY PARK      CA    91754‐7002
ANTONIO RICHMOND                              5122 GALBRAITH CIR                                                                               ST MOUNTAIN        GA    30088‐1707
ANTONIO RON & ELIZABETH RON JT TEN            13018 W BLANCHARD RD                                                                             WAUKEGAN           IL    60087‐3205
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                    Part 1 of 8 Pg 239 of 850
Name                                            Address1                             Address2                 Address3      Address4             City             State Zip

ANTONIO RUFO                                     208 N BANCROFT PKWY                                                                             WILMINGTON       DE    19805‐3328
ANTONIO RUIVO                                    301 9TH NORTH AVE                                                                               LAKE WORTH       FL    33460‐2739
ANTONIO S FELICIANO                              324 SHERIDAN DR                                                                                 NEW CASTLE       DE    19720‐2161
ANTONIO S GUERRERO                               15685 LA BELLA CRT                                                                              MORGAN HILL      CA    95037
ANTONIO S PEREIRA                                39 LAWRENCE ST                                                                                  MILFORD          MA    01757‐4115
ANTONIO S SIQUEIRA                               RUA PEIXOTO GOMIDE 1572 APT 61      SAO PAULO BRAZIL0                      BRAZIL
ANTONIO S VALLE                                  103 W WHITE                                                                                     BAY CITY         MI    48706‐4560
ANTONIO SALVUCCI                                 175 SOMERWORTH DR                                                                               ROCHESTER        NY    14626‐3637
ANTONIO SEVERO                                   181 HYATT AVE                                                                                   YONKERS          NY    10704‐3637
ANTONIO SOTELO                                   230 S EIGHTH ST                                                                                 LANSING          MI    48912‐1422
ANTONIO SPIZZICA                                 1119 55TH ST                                                                                    BROOKLYN         NY    11219‐4142
ANTONIO STANCO                                   60 ROOSEVELT ST                                                                                 ROSELAND         NJ    07068‐1259
ANTONIO STENTA                                   16163 HOMESTEAD CIR                                                                             NORTHVILLE       MI    48168‐4315
ANTONIO T PEREZ                                  3212 MALONEY ST                                                                                 LANSING          MI    48911‐1841
ANTONIO TAURINA                                  8318 W CATHERINE AVE                                                                            CHICAGO          IL    60656‐1434
ANTONIO TELLERIA DOMINGUEZ                       JAI ALAI N 102 A                    SAN SEBASTIAN                          SPAIN
ANTONIO TROIA                                    61 CLIFF AVE                                                                                    YONKERS           NY   10705‐2274
ANTONIO V MCJENNETT II                           31114 SPRING CT E                                                                               FRASER            MI   48026‐2426
ANTONIO V PINORI                                 9309 NAVAHO DR                                                                                  BRENTWOOD         TN   37027‐7447
ANTONIO VALDEZ                                   4257 MOHAWK TRAIL                                                                               ADRIAN            MI   49221‐9394
ANTONIO VETTRAINO                                36839 WEST 7 MILE RD                                                                            LIVONIA           MI   48152‐1114
ANTONIO Z MARASIGAN CUST ANTONIO C MARASIGAN 674 MICHIGAN LN                                                                                     ELK GROVE VILLAGE IL   60007‐2908
JR UGMA WI
ANTONIOS BOURTIS & OLGA BOURTIS JT TEN           265 HILLARY LANE                                                                                PENFIELD         NY    14526‐1646
ANTONIOS P TSAROUHAS                             2804 WALNUT RIDGE                                                                               AKRON            OH    44333
ANTONIOS TSOUNAKIS                               C/O ANTONIA K MILONAS               171 W 57TH ST 11C                                           NEW YORK         NY    10019‐2222
ANTONIUS H NYHUIS & LAMONA G NYHUIS JT TEN       23 79 ANZA AVE                                                                                  SPRING HILL      FL    34609‐3502
ANTONIUS M N WINKELMAN ATTN G M HOLDENS PTY 37 SUNBEAM AVE                           RINGWOOD EAST VICTORIA                 3135 AUSTRALIA
LTD
ANTONIUS N VAN LEEUWEN & LUCILLE E VAN LEEUWEN MRJ MEERMAN STRAAT 9                  2552KR DEN HAAG          NEDERLAND     NETHERLANDS
JT TEN
ANTRANICK HARABEDIAN                             9708 SHERWOOD                                                                                   YPSILANTI        MI    48198‐9526
ANTRANIK HAZARYAN                                17807 SAILFISH DR                   APT D                                                       LUTZ             FL    33558‐6606
ANTRIECE CARTER                                  4834 BALDWIN                                                                                    DETROIT          MI    48214‐1071
ANTUN BABIC                                      7747 CHARDON RD                                                                                 KIRTLAND         OH    44094‐9578
ANTUN DEHLIC                                     492 BERKSHIRE DRIVE                                                                             SALINE           MI    48176‐1080
ANWAR AMER                                       19137 URODA ST                                                                                  ROCKWOOD         MI    48173‐9308
ANWAR S BAIG TR ANWAR S BAIG REV TRUST UA        44400 MIDWAY                                                                                    NOVI             MI    48375‐3946
02/14/94
ANYA MALKIN                                      71 SHEFFIELD LN                                                                                 FLORENCE         MA    01062‐1342
AP GRYGLAS                                       1194 FOUR WINDS WAY                                                                             HARTLAND         WI    53029
APARNA RAHMAN                                    1210 WILSHIRE CT                                                                                CHAMPAIGN        IL    61821‐6915
APHRODITE KATRAMADOS                             761 WIGWAM LANE                                                                                 STRATFORD        CT    06614‐2444
APHRODITE STEFANY & CHRIST STEFANY JT TEN        9406 AVE M                                                                                      BROOKLYN         NY    11236‐5017
APOLINARIO D CAJIMOT                             931 SELF LANE                                                                                   HONOLULU         HI    96819‐4074
APOLLONIA WOLF                                   27403 NEWPORT STREET                                                                            WARREN           MI    48088‐8308
APOLONIA L RADOS                                 9 QUEENS PLACE                                                                                  ORCHARD PARK     NY    14127‐2269
APOLONIO GOMEZ                                   1431 BLISS ST                                                                                   SAGINAW          MI    48602‐2622
APPLE INVESTORS                                  C/O KENT L ALDERSHOF                217 GODWIN AVE                                              RIDGEWOOD        NJ    07450‐3709
APPLI‐CARE HEATING                               C/O JOHN WATSON                     304 S FOURTH STREET                                         YOUNGWOOD        PA    15697‐1208
APRIL A MILLS                                    1229 WEST 36TH ST                                                                               INDIANAPOLIS     IN    46208‐4133
APRIL A PRICKETT                                 2913 WESTERLAND DR                                                                              SAINT CHARLES    MO    63301‐4212
APRIL A STRONG TR APRIL A STRONG LIVING TRUST UA 193 AUTUMN WOODS DR                                                                             CHILLICOTHE      OH    45601‐7055
05/27/04
APRIL A TACKETT CADD                             7886 SYRACUSE ST                                                                                TAYLOR           MI    48180‐2250
APRIL BARBER                                     718 S MAPLE STREET                                                                              COLUMBIA         SC    29205
APRIL BERRY & ERIC BERRY JT TEN                  2016 KILDARE WOODS DR                                                                           GREENSBORO       NC    27407
APRIL C AIKENS                                   5124 GRAHAM RD                                                                                  MIDDLEPORT       NY    14105‐9612
APRIL CAIN                                       105 N ERLWOOD CT                                                                                RICHMOND         VA    23229‐7679
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 240 of 850
Name                                              Address1                            Address2             Address3          Address4          City            State Zip

APRIL D CLOOTEN                                   6988 MCKEAN RD 124                                                                           YPSILANTI       MI    48197‐9799
APRIL D MCDANIEL                                  547 COUNTRY CLUB SQUARE DR                                                                   CAMERON         MO    64429‐9719
APRIL D REESE & JAMES P REESE JT TEN              27070 HEARTS DR                                                                              CRISFIELD       MD    21817‐2616
APRIL D ROARK                                     6080 PREBLE COUNTY LINE RD                                                                   BROOKVILLE      OH    45309‐9774
APRIL D THIBAUT                                   PO BOX 8283                                                                                  FLINT           MI    48501‐8283
APRIL DAWN DOWNEY                                 PO BOX 117                                                                                   MONTVILLE       NJ    07045‐0117
APRIL DIANE BROCK                                 1740 RICHMOND ST                    APT 11                                                   SACRAMENTO      CA    95825‐2125
APRIL JOY TOD MICHAEL GLENN VORE SUBJECT TO STA   PO BOX 391                                                                                   ALMA            MI    48801
TOD RULES
APRIL KALOV MEYER CUST JOSHUA MATTHEW KALOV       450 VITA DR                                                                                  WHEELING        IL    60090‐6228
UTMA IL
APRIL KATHERINE HURST                             85 BON HAVEN                                                                                 WINCHESTER      KY    40391‐1107
APRIL L LEIGH                                     5541 FAIRFIELD SCHOOL RD                                                                     COLUMBIANA      OH    44408‐9611
APRIL L NEMRAVA                                   1344 N STREAMWOOD LANE                                                                       VERNON HILLS    IL    60061‐1200
APRIL L SMITH                                     107 CRESTBREEZE MANOR                                                                        CRESCENT CITY   FL    32112
APRIL L STEVENS                                   3784 ROOP ROAD                                                                               NEW WINDSOR     MD    21776‐8224
APRIL LYNN HANSON & BETTE JANE HANSON JT TEN      9701 E 16TH ST                                                                               INDIANAPOLIS    IN    46229‐2010

APRIL LYNN NIDO                                   894 SYLVANWOOD AVE                                                                           TROY             MI   48098‐3176
APRIL M ELSASSER                                  11120 HAWKE ROAD                                                                             COLUMBIA STATION OH   44028‐9768

APRIL M HOLEVA                               49 RIDGEWOOD RD                                                                                   BETHANY         CT    06524
APRIL M PETERS                               312 WILDWOOD ROAD                                                                                 GADSDEN         AL    35901‐5610
APRIL M SALYER                               331 N HAWTHORNE                                                                                   WESTLAND        MI    48185‐3692
APRIL MAXAM BUTLER                           3836 BRITTANY COURT                                                                               ROCKY MOUNT     NC    27803‐8989
APRIL P BOHANNON                             4025 POLARIS AVENUE                                                                               LOMPOC          CA    93436
APRIL PAULMAN                                5404 N BRANDYWINE RD                                                                              SHELBYVILLE     IN    46176
APRIL R KENFIELD                             1814 N WILMOT AVE #2                                                                              CHICAGO         IL    60647‐4417
APRIL S BALL                                 4075 JAMIE DRIVE                                                                                  HAMILTON        OH    45011‐8608
APRIL SPRAKER                                295 N STURBRIDGE RD                                                                               CHARLTON        MA    01507
APRILL R MC QUITTY                           471 W HILDALE                                                                                     DETROIT         MI    48203‐1949
APRYL D SKAGGS                               637 E BURLWOOD LN                                                                                 LEMOORE         CA    93245‐2413
AQUILES C ZAPATA                             818 MILL POND DR                                                                                  SUGAR LAND      TX    77478‐2756
AQUILLA A KELLAR                             20145 CAROL ST                                                                                    DETROIT         MI    48235
ARA ARAKELIAN                                219 COMMERCIAL ST                                                                                 LEAVENWORTH     WA    98826‐1310
ARA F BOLES                                  1555 OAKVIEW                                                                                      CANTON          MI    48187‐3138
ARA G WEEKS                                  977 E BALDWIN LAKE DRIVE                                                                          GREENVILLE      MI    48838‐8111
ARA JAMES NAJARIAN                           8 MANNING ST                                                                                      LEXINGTON       MA    02421‐4346
ARA RICHARD MANOOGIAN & CAROLYN MANOOGIAN JT 3523 SW TENTH TERRACE                                                                             OCALA           FL    34474‐5983
TEN
ARA SHOOSHANIAN TR ARA SHOOSHANIAN LIVING    27086 WALLOON WAY                                                                                 FLAT ROCK       MI    48134‐8058
TRUST UA 04/03/93
ARA T DILDILIAN                              27 MILL RD                                                                                        HYDE PARK       NY    12538‐2065
ARABELLA J MERLO                             4926 W TURNER RD                                                                                  LODI            CA    95242‐9311
ARABELLE P FEDORA                            923 ARBOR RD                                                                                      WINSTON SALEM   NC    27104‐1025
ARALENE P TROSTLE                            130 WYNDHAM WAY                                                                                   HARRISBURG      PA    17109
ARAM SEKTERIAN                               28374 MORTENVIEW                                                                                  TRENTON         MI    48183‐5031
ARANKA FUREDI TR ARANK FUREDI FAM TRUST UA   524 MADERA AVE                                                                                    YOUNGSTOWN      OH    44504‐1335
04/23/99
ARAX BOYAJIAN                                BALD EAGLE COMMON                        4 RICHMOND ROAD      SUITE 304                           W MILFORD       NJ    07480‐1995
ARAX VERITY                                  808 WALLING AVE                                                                                   BELMAR          NJ    07719‐3129
ARBA DELLA PEEL                              2037 COUNTY ROAD XX                                                                               ROTHSCHILD      WI    54474‐9008
ARBEJDERNES                                  JYSKE BANK ST KONGENSGADE 1              1264 COPENHAGEN K                      DENMARK
ARBIN W HORN                                 230 PALMER DR                                                                                     FAIRBORN        OH    45324‐5644
ARBRA B BILLINGS                             167 SALEM CHURCH RD                                                                               NEWARK          DE    19713‐2942
ARBUTIS RUDDLE JONES                         249 OLD MILL RD                                                                                   STAUNTON        VA    24401‐9256
ARBUTUS M CONRAD                             5933N CAMELRIDER RD                                                                               WETMORE         MI    49895‐9208
ARBUTUS W HEATH                              BOX 164                                                                                           KENANSVILLE     NC    28349‐0164
ARBY L MINCHEW                               HC 69 BOX 487                                                                                     HUGO            OK    74743‐9281
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 241 of 850
Name                                             Address1                              Address2              Address3         Address4          City            State Zip

ARCH B BOYD JR & LILLY EDEE BOYD JT TEN          601 E MARTIN ST                                                                                CAMPBELL        MO    63933‐1261
ARCH C SCURLOCK JR                               7425 WALTON LANE                                                                               ANNANDALE       VA    22003‐2504
ARCH J CARPENTER                                 PO BOX 564                                                                                     MASONTOWN       WV    26542‐0564
ARCH K KIRBY                                     37030 COOPER                                                                                   STERLING HGTS   MI    48312‐2122
ARCH KENNEDY LINDSAY                             131 NORTH MAUDE LANE                                                                           ANAHEIM         CA    92807‐3115
ARCH NEAL JR                                     1572 COURTER STREET                                                                            DAYTON          OH    45427‐3213
ARCH O BIBBS JR & DOROTHY L BIBBS JT TEN         2727 RASKOB                                                                                    FLINT           MI    48504‐3356
ARCH ONEAL BIBBS JR                              2727 RASKOB                                                                                    FLINT           MI    48504‐3356
ARCH ROUNTREE & MARY ROUNTREE JT TEN             RR 2 BOX 182                                                                                   DUNCAN          OK    73533‐9620
ARCH ROWAN ALTGELT                               71 GRANBURG CIR                                                                                SAN ANTONIO     TX    78218‐3031
ARCH W RILEY                                     PO BOX 631                                                                                     WHEELING        WV    26003‐0081
ARCHER E LACKEY TR UA 11/18/91 ARCHER E LACKEY   2808 N VAN BUREN ST                                                                            ARLINGTON       VA    22213
TRUST
ARCHER M MILLER                                  3 BEACH DR                                                                                     KEY WEST        FL    33040‐6128
ARCHESTER THOMAS                                 11908 GUARDIAN BLVD                                                                            CLEVELAND       OH    44135‐4640
ARCHIBALD BLAIR JR                               62 MIDDLETOWN RD                                                                               BERLIN          CT    06037‐3204
ARCHIBALD CURRIE JOHNSTON                        1726 OVERTON PARK                                                                              MEMPHIS         TN    38112‐5344
ARCHIBALD M DUNCAN III & SUZANNE DUNCAN JT TEN   133 ABILENE AVE                                                                                NORFOLK         VA    23502‐4701

ARCHIBALD MCKINLAY                               316 SE PIONEER WAY #348                                                                        OAK HARBOUR     WA    98277‐5716
ARCHIBALD MENZIES                                1301 RECREATION DRIVE                                                                          GLADWIN         MI    48624‐8025
ARCHIBALD R BARTLEBAUGH                          1042 BULL RUN                                                                                  NAPLES          FL    34110‐8851
ARCHIBALD R BARTLEBAUGH                          1042 BULL RUN DRIVE                                                                            NAPLES          FL    34110‐8851
ARCHIBOLD G MORRISON                             13540 CAPERNALL ROAD                                                                           CARLETON        MI    48117‐9591
ARCHIE A ALLEN                                   247 OLD HOPKINSVILLE HWY                                                                       CLARKSVILLE     TN    37042‐3342
ARCHIE A FRIER                                   6800 N COCOA BLVD                     APT 4101                                                 COCOA           FL    32927‐5069
ARCHIE A HAYMON                                  8342 JEFFERSON AVE                                                                             ST LOUIS        MO    63114‐6208
ARCHIE A JOHNSON                                 1690 LEISURE WORLD                                                                             MESA            AZ    85206‐2327
ARCHIE ALLAN WILLIAMS                            14478 MADDOX RD                                                                                ANDALUSIA       AL    36420‐6527
ARCHIE ARAGON                                    1390 WEAVER DRIVE                                                                              SAN JOSE        CA    95125‐3735
ARCHIE B CRAWFORD                                16001 SIERRA PASS WAY                                                                          HACIENDA HGTS   CA    91745‐6538
ARCHIE B HINSON                                  10867 SOUTH 39TH                                                                               SCOTTS          MI    49088‐9332
ARCHIE BERRY                                     1353 PHILADELPHIA ST                                                                           HARTSVILLE      SC    29550
ARCHIE BRIDGER EGLIN                             5035 WHITEHAVEN AVE                                                                            BATON ROUGE     LA    70808‐8670
ARCHIE C CROWE JR                                PO BOX 85                                                                                      PROVDENCE FRG   VA    23140
ARCHIE C STURGELL                                2605 MAPLEGROVE AVE                                                                            DAYTON          OH    45414‐5014
ARCHIE CARR JR                                   E 590 R D 3                           ROUTE 2                                                  DESHLER         OH    43516‐9802
ARCHIE COMBS                                     803 S 700 E                                                                                    MARION          IN    46953‐9666
ARCHIE D DENNISON                                1021 VOORHEIS                                                                                  PONTIAC         MI    48341‐1876
ARCHIE D LEACH                                   5290 SKELTON RD                                                                                COLUMBIAVILLE   MI    48421‐8725
ARCHIE D WILLIAMS                                250 DELLWOOD DR                                                                                FAIRBORN        OH    45324‐4225
ARCHIE DEAN PATERSON & PATSY MARIE PATERSON JT   2932 SCHOOLSIDE ST                                                                             MURFREESBORO    TN    37128‐5808
TEN
ARCHIE E ALEXANDER                               184 S FRANCIS                                                                                  PONTIAC         MI    48342‐3230
ARCHIE E CRUM                                    1006 JENNINGS AVE                                                                              SALEM           OH    44460‐1548
ARCHIE E SLAUGHTER                               915 SEIDER LN                                                                                  GRAND PRAIRIE   TX    75052‐2749
ARCHIE G MOSES                                   C/O BERNIECE E MOSES                  1860 N COOPER #49‐A                                      ARLINGTON       TX    76011‐3639
ARCHIE G SMITH JR                                1069 CROW TRL                                                                                  MACEDONIA       OH    44056‐1661
ARCHIE GORDON                                    1836 WESTOVER AVE SW                                                                           ROANOKE         VA    24015‐2425
ARCHIE J COLE                                    PO BOX 378                                                                                     JACKSONVILLE    TX    75766‐0378
ARCHIE J LARKIN                                  15 BOLLAR ST                                                                                   CUBA            AL    36907‐9763
ARCHIE J LEITCH                                  694 LUCILLE DRIVE                                                                              WALLED LAKE     MI    48390‐2325
ARCHIE J MACLARTY                                3031 HWY 470                                                                                   OPKAHUMPKA      FL    34762‐3103
ARCHIE J MURRISH & JEANETTE M MURRISH JT TEN     5172 BLUE HERON STREET                                                                         PORTAGE         MI    49024‐5505

ARCHIE J PARGETT & FLORENCE G PARGETT & RUSSELL L 12350 WESTOVER ROAD                                                                           OMAHA           NE    68154‐2318
PARGETT JT TEN
ARCHIE J SNIDER                                   8422 HEARTWOOD DR                                                                             NEWPORT         MI    48166‐7806
ARCHIE L BARNER                                   6701 E 46TH ST                                                                                INDIANAPOLIS    IN    46226‐3632
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 242 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

ARCHIE L BRAINARD & NANCY J BRAINARD JT TEN      1353 E EDINGER AVE                                                                             SANTA ANA       CA    92705‐4430
ARCHIE L CALDWELL                                131 W LYTLE 5 PT RD                                                                            SPRINGBORO      OH    45066‐9050
ARCHIE L LOGAN                                   13531 INDIANA                                                                                  DETROIT         MI    48238
ARCHIE L ONEAL & MARTHA A ONEAL JT TEN           5315 E C R 700 S                                                                               GREENCASTLE     IN    46135‐7902
ARCHIE L SMITH                                   5121 LIN HILL DR                                                                               SWARTZ CREEK    MI    48473‐8837
ARCHIE LAMONT LYONS                              306 PARKMAN RD                                                                                 SW WARREN       OH    44485
ARCHIE M THOMAS & MRS MARGARET P THOMAS JT       725 COLUMBUS AVE                                                                               FOSTORIA        OH    44830‐3255
TEN
ARCHIE MORRISON                                  1620 S COLONIAL AVE                                                                            HOMOSASSA       FL    34448‐1603
ARCHIE P HACKNEY & MRS MARJORIE HACKNEY JT TEN   2076 E 8TH ST N                                                                                NEWTON          IA    50208‐1850

ARCHIE R EASTERWOOD                              4080 REDWING                                                                                   FLINT           MI    48532‐4566
ARCHIE R LAWRENCE JR                             2228 LOTHRUP ST                                                                                DETROIT         MI    48206‐2672
ARCHIE R SIMINGTON                               RR 1 BOX 32B                                                                                   DODDRIDGE       AR    71834‐9702
ARCHIE R WOODCOCK                                6385 E STATE RD 144                                                                            MOORESVILLE     IN    46158‐6237
ARCHIE S CLARK & CAROL J CLARK TR UA 9/29/2005   2340 FOREST HILLS LN                                                                           SAINT JOSEPH    MI    49085
CLARK FAMILY TRUST
ARCHIE SCATES                                    8 JOHNSON CHAPEL RD                                                                            TRENTON         TN    38382‐9718
ARCHIE SMITH                                     6437 E FOREST                                                                                  DETROIT         MI    48207‐1719
ARCHIE SPARKS                                    4118 BUCKINGHAM RD #B                                                                          LOS ANGELES     CA    90008‐3341
ARCHIE TYSON                                     178 HUNTINGTON TERRACE                                                                         NEWARK          NJ    07112‐1856
ARCHIE W DODSON                                  ROUTE 1 BOX 368‐C                                                                              SHENANDOAH      VA    22849‐9801
ARCHIE W PARKER                                  1531 BLUE TOP RD                                                                               TAZEWELL        TN    37879‐6017
ARCHIE W PARKER & MARGIE B PARKER JT TEN         1531 BLUE TOP RD                                                                               TAZEWELL        TN    37879‐6017
ARCHIE W STURGELL                                6311 AGENBROAD RD                                                                              TIPP CITY       OH    45371‐8759
ARCHIE WAYNE PARKER & MARGIE B PARKER JT TEN     1531 BLUE TOP RD                                                                               TAZEWELL        TN    37879‐6017

ARCHIE WHORTON JR                                516 E MARTIN                                                                                   CAMPBELL        MO    63933‐1226
ARCHINA ARMSTER                                  307 RAEBURN                                                                                    PONTIAC         MI    48341‐3051
ARDATH MCKAY MALTBY & CHARLES MCKAY & JOAN G     2939 LORRAINE ST                                                                               MARLETTE        MI    48453‐1045
JENSEN JT TEN
ARDAVASTE S AVAKIAN                              36008 ANN ARBOR TRL                                                                            LIVONIA         MI    48150‐3577
ARDE STALEY                                      3822 HOLCOMB                                                                                   DETROIT         MI    48214‐1385
ARDEIS H MYERS JR                                STE 359                               4800 MAIN ST                                             KANSAS CITY     MO    64112‐2522
ARDEL A NELSON & MICHAEL W NELSON JT TEN         2875 GULF SHORE BLVD NORTH            UNIT C406                                                NAPLES          FL    34103‐4359
ARDELIA K COLEMAN                                928 STODDARD CT                                                                                BALTIMORE       MD    21201‐2119
ARDELL BOOTHE                                    14382 HESS RD                                                                                  HOLLY           MI    48442‐8731
ARDELL BUTLER & SHARON RANDOLPH JT TEN           206 RIVERSIDE DR                                                                               DETROIT         MI    48215‐3011
ARDELL CASON                                     1526 S FRANKLIN AVENUE                                                                         FLINT           MI    48503‐2877
ARDELL KLEMME & JEANETTE KLEMME COMMUNITY        9411 STRATFORD LANE                                                                            HARSHAW         WI    54529‐9774
PROPERTY
ARDELL L FEELEY & MRS VIVIAN P FEELEY JT TEN     4027 GREYSTONE DR.                                                                             MORGANTOWN      WV    26508‐8681
ARDELL LONCA                                     695 SANDY AVENUE                                                                               ANGOLA          NY    14006‐8844
ARDELL M HUGHES                                  2521 E COURT ST                                                                                FLINT           MI    48503‐2814
ARDELL M KENT & ROBERT A KENT JT TEN             8323 MAPLE DR                                                                                  CHESTERLAND     OH    44026‐2515
ARDELL V GALLAGHER                               4 MICKEY COURT                                                                                 HUNTINGTON      NY    11746‐2855
                                                                                                                                                STATION
ARDELLA J ADAMS                                  2169 E 300 N                                                                                   ANDERSON        IN    46012‐9613
ARDELLA M MC CARTY                               G‐2444 UTLEY RD                                                                                FLINT           MI    48532
ARDELLE L BROWN                                  5932 MONDAY TROY VILLA BLVD                                                                    HUBER HEIGHTS   OH    45424
ARDELLE R KREGER                                 275 MILLER LAKE RD                                                                             COLUMBIAVILLE   MI    48421‐9715
ARDELLE THOMPSON                                 BOX 65                                                                                         ROBERTS         IL    60962‐0065
ARDEN B GACKENBACH                               227 WASHINGTON AVE                                                                             BETHLEHEM       PA    18018‐2520
ARDEN BIODEN & LORYCE BRODEN JT TEN              N‐2557 FOSTER CITY ROAD                                                                        VULCAN          MI    49892‐8271
ARDEN D CARSON                                   2609 IMPALA                                                                                    WOOSTER         OH    44691‐1313
ARDEN E WRISLEY                                  327 SARATOGA RD                                                                                SNYDER          NY    14226‐4632
ARDEN E WRISLEY & JULIE K WRISLEY JT TEN         327 SARATOGA RD                                                                                AMHERST         NY    14226‐4632
ARDEN EUGENE WATSON                              PO BOX 293                                                                                     BRIGHAM CITY    UT    84302‐0293
ARDEN G FJELSTED & PATRICIA A BALES JT TEN       2800 VAHAN CT                                                                                  LANCASTER       CA    93536‐5868
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 243 of 850
Name                                              Address1                             Address2             Address3          Address4          City             State Zip

ARDEN G SOMERS                                     PO BOX 29                                                                                    BEAR LAKE        MI    49614‐0029
ARDEN J MILLER                                     2681 HITTLE ROAD                                                                             MONROEVILLE      OH    44847‐9565
ARDEN JUDITH LOWE                                  11 HILLCREST PARK                                                                            SOUTH HADLEY     MA    01075‐2986
ARDEN K COLBY                                      20091 BAYVIEW                                                                                NEWPORT BEACH    CA    92660‐0706
ARDEN KOPP                                         9392 W HWY 90                                                                                LAKE CITY        FL    32055
ARDEN L KESSLER TOD PENNY J KESSLER SUBJECT TO STA 4239 DININGER RD                                                                             SHELBY           OH    44875
TOD RULES
ARDEN L SULT                                       14268 SOUTH 24TH STREET                                                                      VICKSBURG        MI    49097‐9751
ARDEN P IRWIN                                      4710 CRESTBROOK LANE                                                                         FLINT            MI    48507‐2286
ARDEN P ZIPP 2ND                                   36 MELINDA LN                                                                                TULLY            NY    13159‐2452
ARDEN V BECK                                       5080 N OKEMOS RD                                                                             EAST LANSING     MI    48823‐2951
ARDEN W ROGERS & EVA J ROGERS JT TEN               106 GLACIAL LANE                                                                             MARBLEHEAD       OH    43440‐2213
ARDENUS FRED MC BRIDE                              36 RICHLAND RD                                                                               GREENWICH        CT    06830‐6053
ARDIE B HALL                                       1435 W GRAND AVE                                                                             DAYTON           OH    45407‐2037
ARDIE M GRIFFIN                                    10339 S MORGAN ST                                                                            CHICAGO          IL    60643‐3001
ARDIS A YOUNG                                      965 TODD DR                                                                                  COVINGTON        GA    30014‐7021
ARDIS ARLENE HOWEY                                 5188 WINSHALL DR                                                                             SWARTZ CREEK     MI    48473‐1223
ARDIS C PHELPS & WILLIAM E PHELPS JT TEN           PO BOX 1806                                                                                  LK HAVASU CTY    AZ    86405‐1806
ARDIS H SMITH & KENNETH WESLEY LYNN JT TEN         ATTN ROBERT H SMITH                 10713 SHERMAN WAY                                        SUN VALLEY       CA    91352‐5155
ARDIS JEAN HARRINGTON                              1900 W 5TH ST                                                                                STORM LAKE       IA    50588‐3036
ARDIS L CAIN & OPAL M CAIN JT TEN                  6704 E 140 PL                                                                                GRANDWIEW        MO    64030‐3845
ARDIS L ROBERTS                                    4343 N CLARENDON AVE #2116                                                                   CHICAGO          IL    60613‐1546
ARDIS R MARTINDALE                                 6107 W LEROY AVE                                                                             GREENFIELD       WI    53220‐3039
ARDIS STRALEY                                      1829 S RUNDLE                                                                                LANSING          MI    48910‐9027
ARDITH A SALTER                                    785 OLD M 37                                                                                 MESICK           MI    49668‐9314
ARDITH ANN DEHTAN                                  110 PECAN ST                                                                                 WHITESBORO       TX    76273‐1820
ARDITH CHARLENE PRATT                              4527 DAVID HIGHWAY                                                                           SARANAC          MI    48881‐9738
ARDITH GAZDAG                                      6503 EAST MN AVE                                                                             KALAMAZOO        MI    49048
ARDITH GOODROE                                     1417 CUTLER                                                                                  BURTON           MI    48509‐2116
ARDITH HAY                                         2201 MONTHAVEN DR                                                                            DURHAM           NC    27712‐1928
ARDITH HELTON                                      5350 CARTHAGE AVE                                                                            NORWOOD          OH    45212‐1550
ARDITH JEAN HUSTED                                 3616 OVERTON ST                                                                              WATERFORD        MI    48328‐1412
ARDTRENDA L MOSBY                                  11507 JIM THORPE LN                                                                          AUSTIN           TX    78748‐2930
ARDYSE L MUND                                      3328 EDINGTON RD                                                                             AKRON            OH    44333‐3137
ARDYTH B COURTNEY                                  5152 DON RICARDO DR                                                                          CARLSBAD         CA    92010‐3944
ARDYTHE E GOODEN                                   2802 RODGERS AVENUE                                                                          ELLICOTT CITY    MD    21043‐3314
AREL K ROBISON                                     34 RT 2 STATE                                                                                IVYDALE          WV    25113
ARELENE R SALTER                                   PO BOX 15                                                                                    CAMPBELL         OH    44405‐0015
ARELIUS H REVELS                                   4344 TYLER                                                                                   DETROIT          MI    48238‐3280
ARELIUS J HARBUT JR                                2412 BAYWOOD ST                                                                              DAYTON           OH    45406‐1407
AREND DRIESENGA                                    7420 NEW HOLLAND ST                                                                          ZEELAND          MI    49464‐9528
ARES P GEORGITSIS                                  736 LAKE AVE                                                                                 GREENWICH        CT    06830‐3363
ARETHA BLACKMAN                                    13301 GLENDALE AVE                                                                           CLEVELAND        OH    44105‐4658
ARETHA F CANNON                                    20516 CAROL                                                                                  DETROIT          MI    48235‐1632
ARETHA THOMPSON                                    26863 YALE                                                                                   INKSTER          MI    48141‐2547
ARETI PIATOV                                       680 MOORE AVE                                                                                KENMORE          NY    14223‐1804
ARFELLOW I GATES                                   284 VANDIVER RD                                                                              CANTON           GA    30114‐2031
ARGEL B FORRESTER                                  6124 PORTSMOUTH DRIVE                                                                        FLOWERY BRANCH   GA    30542‐5335

ARGELIA S CHAPA                                   1813 REGINA AVENUE                                                                            LINCOLN PARK     MI    48146‐3207
ARGENE C CARR                                     RR 1 BOX 260                                                                                  FRAMETOWN        WV    26623‐9705
ARGENE GIANNETTI & DONALD C GIANNETTI JT TEN      165 N KENILWORTH APT 1E                                                                       OAK PARK         IL    60301‐1264

ARGENE GIANNETTI & FRANCIS J GIANNETTI JT TEN     165 N KENILWORTH APT 1E                                                                       OAK PARK         IL    60301‐1264

ARGETA KOUTOUDIS                                  317 ELBERON AVENUE                                                                            ALLENHURST       NJ    07711‐1014
ARGIE C RADER                                     146 DAVENPORT                                                                                 DAYTON           OH    45427‐2403
ARGIE L BAIN                                      44 RAWLINGS DRIVE PIGEON RUN                                                                  BEAR             DE    19701‐1520
ARGIL C BARRETT                                   4350 BENNETT DR                                                                               BURTON           MI    48519‐1112
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 244 of 850
Name                                             Address1                              Address2              Address3         Address4          City            State Zip

ARGIL E GULLEDGE                                 2800 PORTHENON                                                                                 DESOTO          MO    63020‐4634
ARGUSTA COOPER & EARMA J COOPER JT TEN           6150 PALMETTO DR                                                                               MOUNT MORRIS    MI    48458‐2830
ARGUSTA L LUCAS                                  12611 W PARKWAY                                                                                DETROIT         MI    48223‐3015
ARGUSTUS C WILLIAMS JR                           16600 EDMORE DRIVE                                                                             DETROIT         MI    48205‐1514
ARI JASON SHALIT                                 36 BARBARA DR                                                                                  RANDOLPH        NJ    07869‐4141
ARI M TEGER                                      25350 KINGSHIRE                                                                                SOUTHFIELD      MI    48075‐2016
ARI PAPPAS                                       3428 N RUTHERFORD                                                                              CHICAGO         IL    60634‐3726
ARI SCHERTZ CUST AMIEL SCHERTZ UGMA NY           PO BOX 415                                                                                     CEDARHURST      NY    11516‐0415
ARI SCHERTZ CUST MAXWELL SCHERTZ UGMA NY         PO BOX 415                                                                                     CEDARHURST      NY    11516‐0415
ARI SETH ZABELL                                  609 NW 131ST ST                                                                                VANCOUVER       WA    98685‐2968
ARIAN B MASON                                    8883 W CO RD 100 N                                                                             KOKOMO          IN    46901
ARIANA PANSA MAKI & MARTHA PANSA MAKI JT TEN     PO BOX 625                                                                                     EDMONDS         WA    98020

ARIANE BIBA S KAVASS                              1925 ASHLAND CITY RD #1525                                                                    CLARKSVILLE     TN    37043
ARIC MILLER                                       20411 COACHWOOD                                                                               RIVERVIEW       MI    48192
ARIE BROUWER                                      139 MERIDITH DR                      SAINT CATHERINES ON                    L2M 6C6 CANADA
ARIE H HOEK & INGRID A HOEK TR UA 04/14/2008 HOEK 4018 HILL SPRINGS DRIVE                                                                       KINGWOOD        TX    77345
LIVING TRUST
ARIE MAE ARBOR                                    1001 SOMERSET LANE                                                                            FLINT           MI    48503‐2982
ARIE MAE ARBOR & JANET ARBOR TR ARBOR TRUST UA 1001 SOMERSET LN                                                                                 FLINT           MI    48503‐2982
05/03/95
ARIEL M MARTINEZ                                  15046 BLEDSOE ST                                                                              SYLMAR          CA    91342‐2707
ARIEL MORALES                                     PO BOX 20                                                                                     ELIZABETH       NJ    07207‐0020
ARIEL WEISSBERG & HAVA WEISSBERG JT TEN           1049 MANOR DRIVE                                                                              WILMETTE        IL    60091‐1024
ARIETTA PHYLLIS BIALLAS                           2366 MONTROYAL                                                                                WATERFORD       MI    48328‐1728
ARILLA MILLER                                     2272 HUBBARD AVE                                                                              MEMPHIS         TN    38108‐2348
ARIS HOVSEPIAN                                    PO BOX 18615                                                                                  ENCINO          CA    91416‐8615
ARIS L WALKER                                     1900 W HILLSDALE ST                                                                           LANSING         MI    48915‐1120
ARISTIDES G CHIOLES                               49 LINDEN ST                                                                                  HOLYOKE         MA    01040‐4117
ARISTIDES KOSTAKIS                                213‐39 28TH AVE                                                                               BAYSIDE         NY    11360‐2546
ARITA DILWORTH LEWRY CUST KASEY BRENNA LEWRY 1221 PURITAN AVE                                                                                   BIRMINGHAM      MI    48009‐4814
UGMA MI
ARITHA WILLIAMS‐MOORE                             10907 S MACKINAW                                                                              CHICAGO          IL   60617
ARIZONA CONFERENCE CORP OF SEVENTH DAY            ATTN BO FULLER                       PO BOX 7269                                              WESTLAKE VILLAGE CA   91359‐7269
ADVENTISTS
ARIZONA F NEWSOME                                 92 QUINBY LANE                                                                                RIVERSIDE       OH    45432‐3414
ARIZONA HARRELL                                   185 BUSH RD                                                                                   SPENCER         IN    47460
ARJEAN JORDAN                                     4972 MCGINNIS LN                                                                              WEST JORDAN     UT    84088‐3378
ARJEN BRUINSMA                                    42 CROYDON DRIVE                     ST CATHARINES ON                       L2M 1J5 CANADA
ARJEN BRUINSMA                                    42 CROYDON DRIVE                     ST CATHARINES ON                       L2M 1J5 CANADA
ARK LEE CUST CATHELINE R LEE UGMA CA              19648 CLEVELAND BAY LN                                                                        YORBA LINDA     CA    92886
ARK LEE CUST EDWARD A LEE UGMA CA                 19648 CLEVELAND BAY LN                                                                        YORBA LINDA     CA    92886‐7924
ARKELL MICHAEL BURNAP                             4533 52ND AVE S                                                                               SEATTLE         WA    98118‐1501
ARKIE D FANNING                                   151 MCNUTT ROAD                                                                               HARTSELLE       AL    35640‐7542
ARKIE I VALLINA                                   3201 ZARTMAN RD                                                                               KOKOMO          IN    46902‐6809
ARLA D HOOSER JR                                  725 PARKVALE LANE                                                                             GRAND PRAIRIE   TX    75052‐5216
ARLA G PRATT TR ARLA G PRATT LIVING TRUST UA      317 W 13TH ST                                                                                 NEWPORT         KY    41071‐2316
10/16/94
ARLA KRUSE                                        11215 GRAND                                                                                   NORTHLAKE       IL    60164‐1034
ARLA SAUL TR ARLA SAUL REVOCABLE LIVING TRUSTUA 8258 BAYFRONT LANE                                                                              CHINCOTEAGUE    VA    23336‐1116
10/07/03
ARLAN J DURFEE                                    6489 E TOMAH ROAD                                                                             MT PLEASANT     MI    48858‐7944
ARLAN J WEISS                                     1930 WRIGHT PLACE APT 33                                                                      SACRAMENTO      CA    95825‐8712
ARLAN R MASON                                     1250 PLEASENT VILLAY DR NE                                                                    WARREN          OH    44483‐4551
ARLAND A PIKE                                     MAY ROAD                                                                                      POTSDAM         NY    13676
ARLAND BLAKELY                                    5430 SILVERCREST                                                                              SAGINAW         MI    48603‐5432
ARLAND E DAVIS                                    PO BOX 235                                                                                    INGALLS         IN    46048‐0235
ARLAND R BRUCE                                    908 EDGEMERE                                                                                  OLATHE          KS    66061‐4207
ARLANDIS CLAYBORNE                                9723 S WENTWORTH                                                                              CHICAGO         IL    60628‐1353
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 245 of 850
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

ARLANDO L WILLIAMS                               30350 HUNTERS DR                        APT 21                                                   FARMINGTN HLS     MI    48334‐1355
ARLANDUS T JONES                                 5391 WASHBURN DR                                                                                 TROTWOOD          OH    45426‐1101
ARLEE A THOROMAN TOD LINDA M JUKKALA SUBJECT     6175 ANAVISTA DR                                                                                 FLINT             MI    48507‐3882
TO STA RULES
ARLEE W HANLIN                                   2003 LINCOLN AVE                                                                                 WILMINGTON        DE    19809‐1427
ARLEEN A BAKER                                   12544 TYLERWOOD CT                                                                               WELLINGTON        FL    33414‐5630
ARLEEN A BAKER & JEFFREY A BAKER JT TEN          12544 TYLERWOOD CT                                                                               WELLINGTON        FL    33414‐5630
ARLEEN A ROGERS                                  24 CHARLOTTE DR                                                                                  BRIDGEWATER       NJ    08807‐2501
ARLEEN C FERLITO                                 754 ESTHER RD                                                                                    HIGHLAND HGTS     OH    44143
ARLEEN GRIFFIN                                   4908 N EMERSON                                                                                   INDIANAPOLIS      IN    46226‐2225
ARLEEN H FENNEY                                  303 MADISON WAY APT 1                                                                            SHAWANO           WI    54166‐2294
ARLEEN J ROBERTS                                 31846 KELLY                                                                                      ROSEVILLE         MI    48066‐1205
ARLEEN K MELOHN                                  5571 RYLAND AVE                                                                                  TEMPLE CITY       CA    91780‐2724
ARLEEN LOUGHLIN & BERNARD LOUGHLIN JT TEN        120 42 STREET                                                                                    LINDENHURST       NY    11757‐2725
ARLEEN M GERBA                                   96 ORCHARD ST                                                                                    KEANSBURG         NJ    07734‐1942
ARLEEN WACKENHUTH                                186 COUNTRY VILLAGE LANE                                                                         EAST ISLIP        NY    11730‐3708
ARLEN BLACKWELL                                  11451 MOSS SIDE AVE                                                                              GONZALES          LA    70737‐7777
ARLEN BOGGS                                      185 WILLIS MARTIN RD                                                                             COOKEVILLE        TN    38501‐9137
ARLEN D FREE                                     209 CHERRY ST                                                                                    WAUSEON           OH    43567‐1555
ARLEN E BUCKNER                                  40 E 650 S                                                                                       PENDLETON         IN    46064‐9153
ARLEN L MARSHALL                                 28196 ROAN                                                                                       WARREN            MI    48093‐7837
ARLEN L NISSEN                                   5843 SCENIC DR                                                                                   MINNETONKA        MN    55345‐5345
ARLEN N YOUNG & BEVERLY A YOUNG JT TEN           2435 NE 42ND                                                                                     PORTLAND          OR    97213‐1336
ARLEN R WALLACE                                  5580 HERRON RD                                                                                   ALPENA            MI    49707‐9756
ARLEN T KITSIS CUST MINDY ANN KITSIS UGMA MN     4665 XIMINES LN N                                                                                PLYMOUTH          MN    55442‐3112

ARLENE A BATTISTA & JOSEPH J BATTISTA JT TEN     11100 MARTINDALE DR                                                                              WESTCHESTER       IL    60154‐4920
ARLENE A BATTISTA & ROBERT J BATTISTA JT TEN     11100 MARTINDALE DR                                                                              WESTCHESTER       IL    60154‐4920
ARLENE A DONICA                                  764CR SE 3470                                                                                    WINNSBORO         TX    75494
ARLENE A GOMBOS                                  7678 WILLIAM                                                                                     TAYLOR            MI    48180‐7401
ARLENE A LEE                                     3247 HEMMETER RD                                                                                 SAGINAW           MI    48603‐2022
ARLENE A LEE                                     PO BOX 3094                                                                                      SCRANTON          PA    18505‐0094
ARLENE A LOWEN                                   3214 W IONA TER                                                                                  MILWAUKEE         WI    53221‐4072
ARLENE A SANDERSON                               7794 FAIRLAWN                                                                                    JENISON           MI    49428‐7708
ARLENE A SHAW                                    8615 CAMBERLEY WAY                                                                               GAINESVILLE       GA    30506‐7955
ARLENE A TRAVIS                                  5001 FIVE LAKE RD                                                                                NORTH BRANCH      MI    48461
ARLENE ALLEN                                     1405 DEL CARLO CIRCLE                                                                            SEAGOVILLE        TX    75159
ARLENE ALTHEIMER                                 221 GREAT EAST NECK RD                                                                           WEST BABYLON      NY    11704‐7801
ARLENE ARROW & BEREL ARROW JT TEN                1922 HAROLDSON AVE                                                                               LANCASTER         PA    17601‐3624
ARLENE AVERSA                                    8800 20TH AVE                                                                                    BROOKLYN          NY    11214‐4849
ARLENE B BURYLSKI                                162‐D DEMETER DRIVE                                                                              ROCHESTER         NY    14626‐2534
ARLENE B BURYLSKI & VERONICA M WALKER JT TEN     162‐D DEMETER DRIVE                                                                              ROCHESTER         NY    14626‐2534

ARLENE B ERFLING                                 PO BOX 275                              642 RIVER DR                                             PRINCETON         IA    52768‐0275
ARLENE B HOWE                                    800 MOORE DRIVE                                                                                  CHELSEA           MI    48118‐1348
ARLENE B ROGALA                                  45 KIBLER DR                                                                                     TONAWANDA         NY    14150‐5130
ARLENE BAKER                                     14139 HEATHERFIELD DRIVE                                                                         HOUSTON           TX    77079‐6805
ARLENE BELL                                      PO BOX 80                                                                                        CANUTILLO         TX    79835‐0080
ARLENE BORDMAN TR UA 07/17/93 ARLENE BORDMAN     6703 POST OAK DRIVE                                                                              WEST BLOOMFIELD   MI    48322‐3834
REVOCABLE LIVING TRUST
ARLENE C BURTON                                  4622 S TURNER RD                                                                                 CANFIELD          OH    44406‐8739
ARLENE C CAUGHLIN FRANCES CAUGHLIN & DENNIS      1605 LLOYD AVE                                                                                   ROYAL OAK         MI    48073‐3917
CAUGHLIN JT TEN
ARLENE C JOLLY                                   308 W ADAMS ST                                                                                   SANDUSKY          OH    44870‐2401
ARLENE C PEREZ                                   14‐18 145TH PLACE                                                                                WHITESTONE        NY    11357‐2431
ARLENE C RAYL                                    575 WASHBURN RD                                                                                  TALLMADGE         OH    44278‐2619
ARLENE C RIDDLE                                  27069 WALTZ RD                                                                                   NEW BOSTON        MI    48164‐9324
ARLENE C SAULSBURY                               3630 EVERLAWN ST                                                                                 WEST MIFFLIN      PA    15122‐2103
ARLENE C SCHEER                                  1906 OAK GLN                                                                                     NEW BRAUNFELS     TX    78132‐3824
                                                 09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 246 of 850
Name                                               Address1                             Address2             Address3          Address4          City             State Zip

ARLENE C SZYMANSKI                                 15643 EVERGREEN AVE                                                                           EASTPOINTE      MI     48021‐1668
ARLENE C URABE & JOHN Y URABE JT TEN               6536 N CALLISCH AVE                                                                           FRESNO          CA     93710
ARLENE C VOLZ                                      517 CLINTON ST                                                                                SANDUSKY        OH     44870‐2102
ARLENE C WEAVER                                    425 WESTMINSTER AVE                  COTTAGE 34                                               HANOVER         PA     17331‐9141
ARLENE C ZIEGLER                                   636 OLD SKIPPACK RD                                                                           HARLEYSVILLE    PA     19438
ARLENE CAROL LEDER                                 6059 S NOME ST                                                                                ENGLEWOOD       CO     80111‐5833
ARLENE CARPEL                                      554 N 23RD ST                                                                                 PHILADELPHIA    PA     19130‐3117
ARLENE CASWELL                                     1734 MC MILLAN AVE                                                                            DOVER           OH     44622‐1057
ARLENE CERTO CUST FRANK S CERTO UGMA NJ            501 ADAMS LANE                                                                                NORTH BRUNSWICK NJ     08902‐4504

ARLENE CORTRIGHT & DAVID CORTRIGHT JT TEN          5 GRIGGS RD                                                                                   CRANBURY         NJ    08512
ARLENE D GREENWALD                                 7 ROCK SPRING AVE                                                                             W ORANGE         NJ    07052‐2626
ARLENE D JONACH                                    459 PASSAIC AVE                      APT 4234                                                 WEST CALDWELL    NJ    07006‐7428
ARLENE D KEEN                                      200 PEGOTTY CT                                                                                WARREN           OH    44484‐6402
ARLENE D SIMMONS                                   4969 HERITAGE CROSSING DR                                                                     HIRAM            GA    30141‐6377
ARLENE DAVIES                                      16093 DUGAN                                                                                   ROSEVILLE        MI    48066‐1480
ARLENE E BOOKS                                     PO BOX 495                                                                                    LEVELLAND        TX    79336‐0495
ARLENE E CASTOR                                    PO BOX 222                                                                                    WEST JEFFERSON   OH    43162‐0222
ARLENE E JOHNSON                                   215 HOWE ST                                                                                   ANACONDA         MT    59711‐1609
ARLENE E KUCABA & ANTON V KUCABA JT TEN            622 GIERZ                                                                                     DOWNERS GROVE    IL    60515‐3834
ARLENE E NABOR                                     129 AMHERST DRIVE                                                                             BARLETT          IL    60103‐4640
ARLENE E NUNZIATA                                  1929 WINGFIELD DR                                                                             LONGWOOD         FL    32779‐7010
ARLENE E OSGOOD                                    7984 SAGEBRUSH COURT                                                                          BOULDER          CO    80301‐5007
ARLENE EARHART TR ARLENE EARHART TRUST UA          202 N 5TH                                                                                     ALBION           IL    62806‐1025
07/10/97
ARLENE ELIZABETH HURD                              411 W MAPLE                                                                                   BYRON            MI    48418
ARLENE F KOVALIK                                   75 PINEVIEW                                                                                   YOUNGSTOWN       OH    44515‐1032
ARLENE F MITCHELL                                  6898 E INDEPENDENCE RD                                                                        ATTICA           IN    47918‐7779
ARLENE FALICK CUST GAYLE HOPE FALICK UGMA NY       1441 PENNSYLVANIA ST #14                                                                      DENVER           CO    80203‐4724

ARLENE FAY JOHNSTON                                136 N CALVADOS AVE                                                                            AZUSA            CA    91702‐3905
ARLENE FINATERI                                    5401 CLEAR LAKE RD                                                                            NORTH BRANCH     MI    48461‐8944
ARLENE FISHER                                      8592 ROSWELL RD 334                                                                           ATLANTA          GA    30350‐1888
ARLENE G BOYER                                     326 E OAKWOOD ST                                                                              BRADFORD         OH    45308‐1124
ARLENE G HEAGNEY                                   336 CAROLINA ST                                                                               CLARK            NJ    07066‐1106
ARLENE G MCKAY                                     123 MONTCLAIR CIRCLE                                                                          DURHAM           NC    27713‐2516
ARLENE G RICE                                      4476 GRAYCE AVE                                                                               GASPORT          NY    14067‐9224
ARLENE GRANT                                       721 CLARK AVE                                                                                 BILLINGS         MT    59101‐1616
ARLENE GRASSO                                      1121A THORNBURY LN                                                                            MANCHESTER       NJ    08759
ARLENE H PRINCE                                    6516 NUSSER LANE                                                                              AUSTIN           TX    78739
ARLENE H REYNOLDS                                  41 TAMARACK AVE UNIT 116                                                                      DANBURY          CT    06810
ARLENE HELEN ANGELL                                PO BOX 142                                                                                    MONROE CENTER    IL    61052‐0142
ARLENE HELLERMAN                                   175 WEST 73RD STREET APT 6J                                                                   NEW YORK         NY    10023
ARLENE I SMITHSON & ALFRED R SMITHSON JT TEN       6897 N TERRITORIAL RD                                                                         PLYMOUTH         MI    48170‐5039

ARLENE J BERGEMANN                                 6630 W WILLOW HWY                                                                             LANSING          MI    48917‐9738
ARLENE J BIBA                                      2204 S HAINSWORTH                                                                             N RIVERSIDE      IL    60546‐1327
ARLENE J BOYLE                                     40 APELDORN DR                                                                                ROTTERDAM        NY    12306‐2537
ARLENE J FURCHAK                                   1353 LAUREL BLVD                                                                              LANOKA HARBOR    NJ    08734‐2913
ARLENE J KINGSMILL & ROBERT J KINGSMILL JT TEN     4912 CLEARVIEW PKWY                                                                           METAIRIE         LA    70006‐1219

ARLENE J SKONIECZNY                                4594 RIVERVIEW RD                                                                             THOMSON          IL    61285‐7704
ARLENE J VIGLIANCO                                 1818 MARTHA AVE                                                                               FAIRMONT         WV    26554‐8533
ARLENE JEAN GOLD                                   2321 E 65TH ST                                                                                BROOKLYN         NY    11234‐6322
ARLENE JOHNSTON                                    7936 CEDARBROOK AVE                                                                           PHILADELPHIA     PA    19150‐1326
ARLENE JONES                                       43 ESQUIRE DR                        UNIT C                                                   MANCHESTER       CT    06040‐2440
ARLENE JOYCE SKRZYPCZAK                            444 RIVERWOODS DR                                                                             FLUSHING         MI    48433
ARLENE JUNE BRAUN                                  PO BOX 427                                                                                    ST MARYS         OH    45885‐0427
ARLENE K BARNEY                                    11 MONT MORENCY DR                                                                            ROCHESTER        NY    14612
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 247 of 850
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

ARLENE K HEARSCH                                  40672 LENOX PARK DR                                                                              NOVI            MI    48377
ARLENE K KWIECIEN & GARY P KWIECIEN JT TEN        4619 BELCOLLA LANE                                                                               LAS VEGAS       NV    89122‐6194
ARLENE K MURPHY                                   BOX 63 ROCK ST                                                                                   SHERWOOD        OH    43556‐0063
ARLENE K STREICH                                  36022 GLENWOOD                                                                                   WESTLAND        MI    48186‐5486
ARLENE L ABEL                                     900 KENILWORTH AVE                                                                               NEWARK          DE    19711‐2638
ARLENE L CAG & LYNN SEMPROCH & PAUL CAG TR        22415 SILVER CREEK DR                                                                            WOODHAVEN       MI    48183‐5233
STANLEY &
ARLENE L GEIER                                    27 WESTCHESTER DRIVE                                                                             KISSIMMEE       FL    34744‐5826
ARLENE L MOODY & LINDA A MOODY JT TEN             4341 BARNES ROAD                                                                                 MILLINGTON      MI    48746‐9662
ARLENE L TEBOREK                                  C/O ARLENE MOWRY                        94 MILL RD                                               NORTH HAMPTON   NH    03862‐2322

ARLENE LA MARCA                                   6 ORCHARD LANE                                                                                   FAIRFIELD       NJ    07004‐1928
ARLENE LAHM                                       6523 EL NIDO DRIVE                                                                               MCLEAN          VA    22101‐4636
ARLENE LANG & HARRY L LANG TR LANG LIVING TRUST   3458 MILBURN AVE                                                                                 BALDWIN         NY    11510‐5165
UA 11/18/03
ARLENE LORD                                       10009 MEADOW LN                                                                                  DES PLAINES      IL   60016‐1530
ARLENE LYNN WELLS                                 1204 LODI HILL RD                                                                                UPPER BLACK EDDY PA   18972‐9747

ARLENE LYONS                                      12003 FORRER ST                                                                                  DETROIT         MI    48227‐1763
ARLENE M BAIN                                     27 COLUMBUS CIRCLE                                                                               BLUFFTON        SC    29909
ARLENE M BLASCIUC                                 17861 FOX POINTE                                                                                 CLINTON TWP     MI    48038
ARLENE M BLUM & WALTER R BLUM JT TEN              870 FAIRFIELD AVE                                                                                WESTBURY        NY    11590‐6006
ARLENE M BOHANE                                   75 BRALEY JENKINS RD                                                                             CENTERVILLE     MA    02632
ARLENE M BOOMERSHINE                              2279 YORKSHIRE PLACE                                                                             DAYTON          OH    45419‐2833
ARLENE M BOUGHTON                                 388 STONE RD                                                                                     ROCHESTER       NY    14616‐4218
ARLENE M BURKE                                    2116 E STAGECOACH RD                                                                             KILLEEN         TX    76542‐5697
ARLENE M BURNS                                    2073 MONTCLAIR RD                                                                                CLEARWATER      FL    33763
ARLENE M CLARK                                    23033 SCHAFER DRIVE                                                                              MT CLEMENS      MI    48043
ARLENE M CLYMER                                   PO BOX 209                                                                                       LINDEN          MI    48451‐0209
ARLENE M DAVIS                                    4405 W COOK ROAD                                                                                 SWARTZ CREEK    MI    48473‐9105
ARLENE M DAVIS & KEITH L DAVIS JT TEN             4405 W COOK ROAD                                                                                 SWARTZ CREEK    MI    48473‐9105
ARLENE M DONOHUE                                  31 LAKE ST                                                                                       HAMDEN          CT    06517‐2316
ARLENE M FIORENTINE & MICHAEL J FIORENTINE JT TEN 441 EDISON ST                                                                                    STRUTHERS       OH    44471‐1359

ARLENE M GREEN & JACK E GREEN JT TEN              00555 E DEER LAKE RD                                                                             BOYNE CITY      MI    49712‐9614
ARLENE M HAYGOOD                                  12234 ARLINGTON DR                                                                               HUNTLEY         IL    60142‐7829
ARLENE M KERSHNER                                 636 MORGAN AVE                                                                                   MANSFIELD       OH    44905‐1408
ARLENE M KOLM CUST MISS DEBRA MICHELE KOLM        ATTN DEBRA MICHELE STAFFORD             6192 DEER PATH CT                                        MARASSAS        VA    20112‐3036
U/THE NEBR U‐G‐M‐A
ARLENE M KRUPA                                    2073 MONTCLAIR RD                                                                                CLEARWATER      FL    33763‐4230
ARLENE M LAWSON                                   5332 FRANKLIN                                                                                    WESTERN SPNGS   IL    60558‐2053
ARLENE M LEYDEN                                   142 VISTA BLUFF LN                                                                               MOORESVILLE     NC    28117‐6410
ARLENE M OTTO                                     203 W WATER ST                                                                                   MONDOVI         WI    54755‐1546
ARLENE M PERKINS                                  2038 GENOA AVE NW                                                                                WARREN          OH    44483‐3236
ARLENE M PLUMMER                                  23 WINTER RDG                                                                                    SPENCERPORT     NY    14559‐2504
ARLENE M PRUSINSKI & TIMOTHY J PRUSINSKI JT TEN   1061 N PASADENA AVENUE                                                                           ELYRIA          OH    44035‐2967

ARLENE M PUFFPAFF & HAROLD K PUFFPAFF JT TEN      902 PIONEER TRAIL                                                                                SAGINAW         MI    48604‐2223

ARLENE M QUEEN                                    5121 HALLS MILL RD                      LOT 13                                                   MOBILE          AL    36695
ARLENE M ROHLIN                                   52 SKYCREST DR                                                                                   ROCHESTER       NY    14616‐1412
ARLENE M ROSENGARD                                2931 N EUCLID                                                                                    BAY CITY        MI    48706‐1302
ARLENE M SEIDEL & STEVEN C SEIDEL JT TEN          91 CORNELL ST                                                                                    HOWELL          MI    48843‐1772
ARLENE M SMIEDALA                                 344 76TH ST                                                                                      NIAGARA FALLS   NY    14304‐4118
ARLENE M STEPHENS                                 N33W22159 MEMORY LN                                                                              PEWAUKEE        WI    53072‐4132
ARLENE M SZCZEPANEK                               1789 EAGLE VILLAGE AVE                                                                           HENDERSON       NV    89012‐6191
ARLENE M WEEKS                                    515 HUDSON                                                                                       YPSILANTI       MI    48198‐8004
ARLENE M WHETSTONE                                2435 SECTION LINE ROAD                                                                           WILLARD         OH    44890‐9662
ARLENE M WOHADLO                                  139 JUNIPER DR                                                                                   SCHERERVILLE    IN    46375‐1110
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 248 of 850
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

ARLENE M WOJCICKI TOD CATHY MANDAS SUBJECT TO    1239 FULTON DRIVE                                                                               STREAMWOOD      IL    60107‐2804
STA TOD RULES
ARLENE MAE ADAMS                                 127 HANCOCK DR                                                                                  SYRACUSE        NY    13207‐1544
ARLENE MANCUSO                                   2941 EAST LAUREL ST                                                                             MESA            AZ    85213
ARLENE MARIE CZARNOTA                            10251 GREEN RD                                                                                  FENTON          MI    48430‐9029
ARLENE MARIE SEIDEL                              4610 PONTIAC TRAIL                                                                              ANN ARBOR       MI    48105
ARLENE MAY PETTISE                               1018 ROSCOMARE ROAD                                                                             BEL AIR         CA    90077‐2228
ARLENE MC GINNIS KING                            2427 SOLOMON DR                                                                                 LANSING         MI    48910‐4871
ARLENE MC PARTLAND CUST CHRISTINE MC PARTLAND    6 AVERY COURT                                                                                   NESCONSET       NY    11767‐1555
UGMA NY
ARLENE MC PARTLAND CUST EILEEN MC PARTLAND       6 AVERY COURT                                                                                   NESCONSET       NY    11767‐1555
UGMA NY
ARLENE MC PARTLAND CUST KATHLEEN MC PARTLAND     6 AVERY COURT                                                                                   NESCONSET       NY    11767‐1555
UGMA NY
ARLENE MC PARTLAND CUST MAUREEN MC PARTLAND      6 AVERY COURT                                                                                   NESCONSET       NY    11767‐1555
UGMA NY
ARLENE MCCLELLAN                                 6540 BALSAM DR #E104                                                                            HUDSONVILLE     MI    49426‐9268
ARLENE MCDERMOTT                                 115 MELROSE CIRCLE                                                                              FLORENCE        MS    39073‐8844
ARLENE MINELLA                                   2815 MIDDLETOWN RD                                                                              BRONX           NY    10461‐5302
ARLENE MOJESKI                                   528 NORTH MAIN STREET                                                                           SOUTHAMPTON     NY    11968
ARLENE MONKLEY CUST DANIEL D SWIRIDUK UGMA NY    146 SUZETTE DRIVE                                                                               CHEEKTOWAGA     NY    14227‐3713

ARLENE MORRELL                                   130 W MAPLE ST                         APT 301                                                  GLADWIN         MI    48624‐1558
ARLENE N COSTELLO CUST KRISTIN S COSTELLO UGMA   1947 EASTWOOD AVE                                                                               JANESVILLE      WI    53545‐2607
WI
ARLENE N COSTELLO CUST MICHAEL J COSTELLO UGMA   4314 SOUTHWYCK DR                                                                               JANESVILLE      WI    53546‐2117
WI
ARLENE N RICKETTS                                50 EDDENDERRY LINE                     ENNISMORE ON                           K0L 1T0 CANADA
ARLENE NIELSON STEWART                           C/O A N MINDERMANN                     16200 SW 232ND ST                                        GOULDS          FL    33170‐6711
ARLENE O COUCH & JAMES E COUCH JT TEN            3933 GAGE AVE                                                                                   LYONS           IL    60534
ARLENE O MOHERMAN                                6640 OLD STATE RT 5                                                                             KINSMAN         OH    44428‐9738
ARLENE P MCMATH TR ARLENE P MCMATH LIVING        211D CROWFIELDS DR                                                                              ASHEVILLE       NC    28803‐3703
TRUST UA 5/7/93
ARLENE P RICHARDS                                14579 LAKE MEADOWS DR                                                                           PERRYSBURG      OH    43551‐8858
ARLENE PETRIELLA                                 9836 TRACY TRAIL                                                                                PARMA           OH    44130‐5263
ARLENE PLOUGHE                                   1007 N ASA DR                                                                                   FRANKFORT       IN    46041‐9406
ARLENE R BARRETT                                 200 COOLIDGE RD                                                                                 ROCHESTER       NY    14622‐1926
ARLENE R HOEVE                                   180 N PATTERSON RD                                                                              WAYLAND         MI    49348‐9338
ARLENE R LANGLEY & VERNON T LANGLEY JR JT TEN    8106 FOREST DR                                                                                  SAINT GERMAIN   WI    54558‐9022

ARLENE R RAPANT & DAVID A RAPANT JT TEN         699 MINERAL SPRINGS ROAD                                                                         COBLESKILL      NY    12043‐5614
ARLENE R SCHOLL                                 1851 EMERALD TERRACE RR 5                                                                        EDGERTON        WI    53534‐8920
ARLENE R TURNER                                 337 BEULAH ST                                                                                    WHITMAN         MA    02382
ARLENE R WILLIAMSON                             214 N HOOPES AVE                                                                                 AUBURN          NY    13021‐2902
ARLENE RAINES                                   5085 ZINK RD                                                                                     MAYBEE          MI    48159‐9612
ARLENE RAWLEY & CHRISTINE MC DONALD JT TEN      1890 LIVE OAK TR                                                                                 WILLIAMSTON     MI    48895‐9500
ARLENE RL LANDAU                                899‐A DUMBARTON DRIVE                                                                            LAKEWOOD        NJ    08701‐6629
ARLENE ROSE PRUE                                C/O ARLENE R LONG                       303 FARGO                                                LAKE MILLS      WI    53551‐1320
ARLENE ROWLEY                                   2061 BRENTWOOD DRIVE                                                                             HATFIELD        PA    19440‐2202
ARLENE RUTH DAVIS TR UA 01/10/2008 DAVIS FAMILY 3925 BARTON RD                                                                                   LANSING         MI    48917‐1605
TRUST
ARLENE S ANDREWS                                9119 NORTHLAKE ROAD                                                                              FOSTORIA        MI    48435‐9720
ARLENE S BIALOS                                 45 SOMERSTOWN RD                                                                                 OSSINING        NY    10562‐3106
ARLENE S HARRIS                                 PO BOX 516                                                                                       WALTERBORO      SC    29488‐0005
ARLENE S POSTUPAK CUST ANNE MARGARET POSTUPAK 660 S CRESCENT AVE                                                                                 HAMBURG         PA    19526‐1429
UGMA PA
ARLENE S SIEGEL                                 11 HIGHET AVE                                                                                    WOBURN          MA    01801‐2407
ARLENE S STAVROPOULOS                           233 DEXTER PL                                                                                    SAN RAMON       CA    94583‐2911
ARLENE S TOBACK                                 69 SCHLEMMER RD                                                                                  LANCASTER       NY    14086‐9726
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 249 of 850
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

ARLENE S VENCEL                                 1020 PAIGE CT                                                                                  NEWTON FALLS    OH    44444‐8774
ARLENE S WHITE                                  239 MALVERNE DR                                                                                SYRACUSE        NY    13208‐1840
ARLENE SAPP                                     2598 LYDIA                                                                                     WARREN          OH    44481‐8618
ARLENE SELTZER CUST ROBIN SUE SELTZER UGMA OH   7430 FOURWINDS DR                                                                              CINCINNATI      OH    45242‐5913

ARLENE SMIECINSKI & CHRISTOPHER W BRUMM &       48552 HUDSON BAY CT                                                                            SHELBY TWP      MI    48315‐4275
RODNEY T BRUMM JT TEN
ARLENE SMITH                                    PO BOX 183                                                                                     ROSSVILLE       IL    60963‐0183
ARLENE SOHL                                     6303 GLENWOOD DR                                                                               MENTOR          OH    44060‐2457
ARLENE STOLZENBERG                              1908 PLYMOUTH DR                                                                               WESTBURY        NY    11590‐5842
ARLENE STRICKLAND SMITH                         1648 STONES DAIRY RD                                                                           BASSETT         VA    24055‐4938
ARLENE SUNDEN‐DARRIGO CUST BRANDON ROBERT       103 TRYON DR                                                                                   SUMMERVILLE     SC    29485‐8430
DARRIGO UTMA NJ
ARLENE U GRIFFIN                                104 POWDERHORN DRIVE                                                                           PHOENIXVILLE    PA    19460‐2649
ARLENE V FERGUADY & HARRY G VAVRA JR JT TEN     11922 TRAVISTOCK CT                                                                            RESTON          VA    20191‐2730
ARLENE V LEMANSKI                               118 SKY LINE DR                                                                                MILLINGTON      NJ    07946
ARLENE W CLEELAND                               231 FAIRWAY LANE                                                                               BUTLER          PA    16002‐7639
ARLENE W MASON                                  1250 PLEASENT VILLAGE DR NE                                                                    WARREN          OH    44480‐9787
ARLENE WALLACE                                  512 TILTON DRIVE                                                                               TECUMSEH        MI    49286‐1640
ARLENE WELCH                                    6745 S POINTE DRIVE 3A                                                                         TINLEY PARK     IL    60477‐3627
ARLENE Z KELLETT                                10299 COUNTY RD W                                                                              WINCHESTER      WI    54557
ARLES L GAINS                                   671 RED PINE DR                                                                                FLINT           MI    48506‐5231
ARLESTER HORNE                                  RT 2 BOX 54                                                                                    WALSTONBURG     NC    27888‐9707
ARLETT LEVON HAFFNER                            4181 S COUNTY ROAD 900 W                                                                       DALEVILLE       IN    47334‐9691
ARLETT SIMMONS                                  16841 TRACEY                                                                                   DETROIT         MI    48235‐4024
ARLETTA CRITESER & ERMA J MCCLELLAN JT TEN      15153 INA DRIVE                                                                                PHILADELPHIA    PA    19116‐1451
ARLETTA S BANAS                                 20131 HERON CROSSING DR                                                                        TAMPA           FL    33647‐3561
ARLEVA K WATSON TOD ALNITA C HOUSE SUBJECT TO   449 MAIN ST                                                                                    ANDERSON        IN    46016‐1185
STA TOD RULES
ARLEY C SHEPHERD JR                             CO LINDA DARMARD                      HC 69 BOX 12                                             MIDDLE BOURNA   WV    26149‐8820
ARLEY D NICHOLSON JR                            ROUTE 1                               BOX 40‐I                                                 BURNSVILLE      WV    26335‐9609
ARLEY F TAYLOR & MARGARET R TAYLOR JT TEN       1054 NINE FOOT ROAD                                                                            GREENWOOD       DE    19950‐2054
ARLEY JORDAN                                    4559 BARKLEY BRIDGE RD                                                                         HARTSELLE       AL    35640‐6195
ARLEY L WATSON                                  712 KEYSTONE ST                                                                                MESQUITE        TX    75149
ARLEY M JUSTICE JR                              15939 SE 6TH ST                                                                                BELLEVUE        WA    98008‐4823
ARLEY R PRUITT                                  300 WESTERN AVE                       APT J820                                                 LANSING         MI    48917‐3774
ARLEY R TALLEY CUST DAVID A TALLEY UGMA MI      35701 WOODVILLA DR                                                                             STERLING HTS    MI    48312‐4464
ARLEY W MCCLINTIC                               N6985 ATTICA RD                                                                                ALBANY          WI    53502‐9773
ARLIE C BROWN                                   1080 E 1100 S                                                                                  UPLAND          IN    46989
ARLIE C CORNWELL                                5951 W 1191 S                                                                                  FAIRMOUNT       IN    46928‐9520
ARLIE COMBS                                     3765 CATALINA DR                      APT A                                                    BEAVER CREEK    OH    45431‐1759
ARLIE E BURNETTE                                55 POND ROAD                                                                                   MARTINSVILLE    VA    24112‐7463
ARLIE E DANIEL TOD BARBARA A MOSS               3860 REFLECTION WAY                                                                            LAS VEGAS       NV    89147
ARLIE E DIEHL                                   5325 KERGER RD                                                                                 ELLICOTT CITY   MD    21043‐7013
ARLIE G JOBE                                    28502 KENWOOD DR                                                                               MEADOWVIEW      VA    24361
ARLIE G MARSH                                   1233 WINDSOR COURT                                                                             ALABASTER       AL    35007‐4155
ARLIE M DAVIS                                   1740 W AQUA CLEAR DR                                                                           MUSTANG         OK    73064‐1107
ARLIE S CARR                                    122 GOLDENROD LANE                                                                             WARNERS         NY    13164
ARLILLIAN VAN‐COLLINS                           7338 SOUTH DANTE AVE                                                                           CHICAGO         IL    60619‐2117
ARLIN HITCHCOCK                                 3089 ST R 80 E                                                                                 MAYFIELD        KY    42066‐9805
ARLIN J BEADLE                                  1735 YALTA DRIVE                                                                               BEAVERCREEK     OH    45432‐2329
ARLIN J HEAD                                    179 N CLARK RD                                                                                 DANSVILLE       MI    48819‐9713
ARLIN J PARKS & CAROLYN A PARKS JT TEN          1319 N MUSKEGON BANKS RD                                                                       MARION          MI    49665‐9505
ARLIN J PARKS & JILL M PARKS JT TEN             4530 FOURTH NORTH AVENUE              POSTAL BOX 576                                           JOSEPH CITY     AZ    86032‐0576
ARLIN J PARKS & JUDY L PARKS JT TEN             1319 N MUSKEGON BANKS RD                                                                       MARION          MI    49665
ARLIN K GILPIN                                  3315 S OAKHILL AVE                                                                             JANESVILLE      WI    53546‐9058
ARLIN PAYNE                                     4211 BRITT RD                                                                                  TUCKER          GA    30084‐2102
ARLINDA E VALITE‐ANDERSEN                       1641 HAKUAINA PLACE                                                                            HONOLULU        HI    96819‐1643
ARLINDA G DORSEY                                242 GOODELL ST                                                                                 RIVER ROUGE     MI    48218‐1611
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                       Part 1 of 8 Pg 250 of 850
Name                                             Address1                               Address2                       Address3   Address4          City              State Zip

ARLINDA K MORGAN                                 911 CINDY DR                                                                                       CARBONDALE        IL    62901‐3317
ARLINE A ROSSI                                   21 COOPER LN                                                                                       CHESTER           NJ    07930‐2637
ARLINE A STEPHANY                                229 WEST AVENUE                                                                                    BROCKPORT         NY    14420
ARLINE B EARLY                                   1477 W EASTON RD                                                                                   OWOSSO            MI    48867‐9090
ARLINE D WUSSOW                                  708 ELAINE RD                                                                                      WEST PALM BCH     FL    33413
ARLINE DURAND                                    C/O BERNICE LEMKE                      N1969 STATE ROAD 22                                         WAUTOMA           WI    54982‐8023
ARLINE E GILLETE                                 558 CROSSMAN RD                                                                                    WYOMING           NY    14591‐9536
ARLINE E REMDE                                   2636 SOUTH LOGAN AVE                   APT 210                                                     MILWAUKEE         WI    53207‐1880
ARLINE FELERSKI                                  8541 W MIDLAND DR                                                                                  GREENDALE         WI    53129‐1036
ARLINE FLINTROP                                  375 SADDLE RIVER RD                                                                                MONSEY            NY    10952‐5026
ARLINE GOLD                                      7 MARTIN CT                                                                                        MANALAPAN         NJ    07726‐3350
ARLINE H HOLLISTER                               8810 HORIZON BLVD NE                   APT 206                                                     ALBUQUERQUE       NM    87113‐1695
ARLINE H MADDEN & JOHN L MADDEN JT TEN           3665 SOMERSET DR                                                                                   BEAVERCREEK       OH    45431‐2486
ARLINE LIGHT                                     104 IMO                                                                                            GREENVILLE        OH    45331‐2825
ARLINE M LONG TR ARLINE M LONG FAMILY TRUST UA   208 JESSICA DR                                                                                     DOVER             OH    44622‐9656
01/23/92
ARLINE M RUCZYNSKI                               381 W AITKEN RD                                                                                    PECK              MI    48466‐9708
ARLINE M SHEATS                                  544 VOORHEES AVE                                                                                   MIDDLESEX         NJ    08846‐2449
ARLINE M WELDON                                  1901 FANWOOD AVE                                                                                   LONG BEACH        CA    90815‐4547
ARLINE MACLEOD BLADE                             466 I EYE AVE                                                                                      CORONADO          CA    92118‐1626
ARLINE MAE LANE                                  ATTN ROBERT J W LANE                   1245 W OLSON RD                                             MIDLAND           MI    48640‐7835
ARLINE MASSAKER & WILLIAM MASSAKER JT TEN        375 SADDLE RIVER RD                                                                                MONSEY            NY    10952‐5026
ARLINE P NEWTON                                  815 STAFFORD AVE APT B6                                                                            BRISTOL           CT    06010‐3849
ARLINE R BREMER                                  4987 LAKE RD                                                                                       BROCKPORT         NY    14420‐9779
ARLINE R PELLETIER                               100 DIVINITY STREET #3 FLR                                                                         BRISTOL           CT    06010‐6004
ARLINGTON C DUMAS I                              PO BOX 36                                                                                          FLINT             MI    48501
ARLINGTON STREET METHODIST CHURCH                C/O BOARD OF TRUSTEES                  63 ARLINGTON ST                                             NASHUA            NH    03060‐4031
ARLIS C GLENN                                    160 PASCHALL MILL ROAD                                                                             WEST GROVE        PA    19390‐9103
ARLIS D HINSON                                   1501 OKALONA ROAD                                                                                  RICKMAN           TN    38580‐1959
ARLIS F ANDERSON                                 1500 PLEASANT GROVE RD                                                                             MOUNT JULIET      TN    37122‐3534
ARLIS L FAUST                                    6544 S STRAWTOWN PK                                                                                JONESBORO         IN    46938‐9603
ARLIS L MCKAY                                    PO BOX 591                                                                                         GILMER            TX    75644‐0591
ARLIS M ALLEN                                    1311 SOUTH OAK                                                                                     EUDORA            KS    66025‐9422
ARLIS O SPIVEY                                   PO BOX 598                                                                                         LAKE PANOASOKEE   FL    33538‐0598

ARLISHA D WILLIAMS                               1205 DONPHIL RD                                                                                    DURHAM            NC    27712‐2109
ARLISS L LAUX                                    1351 W ELMDALE                                                                                     CHICAGO           IL    60660‐2515
ARLO E PRITCHARD                                 550 CHARLES STREET                     WINDSOR ON                                N8X 3G3 CANADA
ARLO F KOHNZ & ROSE A KOHNZ JT TEN               109 W WOODLAND RDG                                                                                 VALMEYER          IL    62295‐3013
ARLO F MCPHERSON                                 570 E BLAINE RD                                                                                    BLAINE            ME    04734‐4018
ARLO HULTS & SONJA HULTS JT TEN                  2353 ELEVADO RD                                                                                    VISTA             CA    92084‐2847
ARLO L BRADSHAW                                  6316 FM 1902                                                                                       JOSHUA            TX    76058‐4553
ARLONE M PASSENO & JUDITH M FREDETTE & WILLIAM   9265 JOHN WERNER DR                                                                                CHEBOYGAN         MI    49721‐9411
C PASSENO JT TEN
ARLOYNE MILLER                                   5015 35TH AVE S                        APT 407                                                     MINNEAPOLIS       MN    55417‐1565
ARLTON M LAMONT & MRS INGRID E LAMONT JT TEN     935 GROSVENORS CORNERS RD                                                                          CENTRAL BRIDGE    NY    12035

ARLUS DANIEL                                     2458 BINGHAM RD                                                                                    CLIO              MI    48420‐1972
ARLYN D GEORGE                                   960 NORTH 13TH ST                                                                                  WYTHEVILLE        VA    24382‐1212
ARLYN E MARKS                                    9155 BARNES RD                                                                                     VASSAR            MI    48768‐9646
ARLYN L WILLETTE                                 5225 N ELMS RD                                                                                     FLUSHING          MI    48433‐9063
ARLYN R DOWNS                                    4400 HERNER COUNTY LINE RD                                                                         SOUTHINGTON       OH    44470‐9563
ARLYN R REECE                                    9312 BRAY RD                                                                                       MILLINGTON        MI    48746‐9559
ARLYN RANDS                                      C/O PERSONAL REPRESENTATIVE            2699 S BAYSHORE DR SUITE 400                                MIAMI             FL    33133‐5408
ARLYN WILL                                       11005 E KILAREA AVE                                                                                MESA              AZ    85209‐1311
ARLYNE B RAWSON                                  18215 JAMESTOWN CIRCLE                                                                             NORTHVILLE        MI    48167‐1826
ARLYNE BETH SALCEDO                              115 SW 51ST TER                                                                                    CAPE CORAL        FL    33914‐7107
ARLYNE R FETTEROLF                               14150 SO MAIN ST                                                                                   BELOIT            OH    44609‐9528
ARLYS E KASSNER                                  1022 ERNST DRIVE                                                                                   GREEN BAY         WI    54304‐2206
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 251 of 850
Name                                              Address1                             Address2                Address3       Address4          City               State Zip

ARMAND ANTHONY PEREZ                              PO BOX 520                                                                                    ZAPATA             TX    78076‐0520
ARMAND B PERLMAN                                  10 MINOLA RD                                                                                  LEXINGTON          MA    02421‐5512
ARMAND BARTOS                                     C/O KAREN RAND ASSOCIATES            60 E 42ND ST STE 2012                                    NEW YORK           NY    10165‐2012
ARMAND CISTARO JR & FILOMENA C CRANK TR UA        604 DONALD PL                                                                                 ROSELLE PARK       NJ    07204‐1329
10/10/78
ARMAND E VEILLEUX                                 140 HIGH RIDGE RD                                                                             WATERFORD          VT    05819‐9472
ARMAND GENEREUX                                   BOX 643                                                                                       MASSENA            NY    13662‐0643
ARMAND H BERARD                                   40 MAPLEWOOD AVE                                                                              MARLBORO           MA    01752‐2112
ARMAND HANDFUS                                    APT 4‐F                              66 FRANKFORT ST                                          NEW YORK           NY    10038‐1622
ARMAND J DOUCETTE                                 11 BRIAN AVE                                                                                  NORTH SMITHFIELD   RI    02896‐7734

ARMAND J VAN ACKER & BARBARA J VAN ACKER TR UA    21610 N 145TH DR                                                                              SUN CITY WEST      AZ    85375‐6125
7/01/82
ARMAND M CORONA                                   2202 MONTE CARLO                                                                              PLACENTIA        CA      92870‐1824
ARMAND M MINARDI                                  30 HILLSIDE PL                                                                                TARRYTOWN        NY      10591‐3008
ARMAND MYERS                                      6644 BERWYN                                                                                   DEARBORN HEIGHTS MI      48127‐2068

ARMAND P CARIAN                                   3325 SOUTH 57TH ST                                                                            MILWAUKEE          WI    53219‐4447
ARMAND R DAIGNEAULT                               58 ESTHER ST                                                                                  WORCHESTER         MA    01607‐1144
ARMAND R KLEB                                     117 LINWOOD DR                                                                                COLLINSVILLE       IL    62234‐2314
ARMAND R MATARRESE                                750 LOIS AVE                                                                                  BROOKFIELD         WI    53045‐6755
ARMAND SOKOLOWSKI & MRS VICTORIA SOKOLOWSKI       29692 ENGLISH WAY                                                                             NOVI               MI    48377‐2032
JT TEN
ARMAND VERDONE JR & LINDA A VERDONE JT TEN        PO BOX 32711                                                                                  PHOENIX            AZ    85064‐2711

ARMANDE LEONARD                                   172 WALTON GROVE RD                                                                           SUMMERVILLE        SC    29483‐5703
ARMANDE O NORRIE                                  28 REILLY PLACE                                                                               BRISTOL            CT    06010‐4165
ARMANDE P LEFEBVRE                                928 BROWN AVE                                                                                 EVANSTON           IL    60202‐1504
ARMANDO A BUONANNO                                106 SALEM ST                                                                                  LAWRENCE           MA    01843‐1516
ARMANDO A GRAZIANI                                3300 SPRINGDALE BLVD BUILDING        APT 306                                                  PALM SPRINGS       FL    33461‐6392
ARMANDO ANAYA                                     12508 PASEO ALEGRE DRIVE                                                                      EL PASO            TX    79928‐5652
ARMANDO BELLI                                     30145 OAK GROVE                                                                               ST CLAIR SHORES    MI    48082‐2631
ARMANDO BELLI & CLARA BELLI JT TEN                30145 OAK GROVE                                                                               ST CLAIR SHORES    MI    48082‐2631
ARMANDO BERNARDI                                  4600 N OPAL AVE                                                                               NORRIDGE           IL    60656‐4404
ARMANDO BERNARDI                                  4600 N OPAL AVE                                                                               NORRIDGE           IL    60706‐4404
ARMANDO CASTANEDA                                 141 NO SCHMIDT ROAD                                                                           BOLINGBROOK        IL    60440‐2632
ARMANDO CONTRERAS                                 5750 N 10TH ST UNIT 3                                                                         PHOENIX            AZ    85014‐2270
ARMANDO D LOPEZ                                   2433 S RIDGEWAY                                                                               CHICAGO            IL    60623‐3806
ARMANDO DEANDA                                    7666 MUIRFIELD RD                                                                             LAS VEGAS          NV    89147‐4930
ARMANDO E RODRIGUEZ                               PO BOX 4245                                                                                   JOLIET             IL    60434‐4245
ARMANDO F ONORATI                                 34 PIZZULLO RD                                                                                TRENTON            NJ    08690‐3207
ARMANDO FERNANDEZ JR                              7280 CALKINS RD                                                                               FLINT              MI    48532‐3005
ARMANDO G RODRIGUEZ                               4949 W PINE BLVD                     APT 10J                                                  SAINT LOUIS        MO    63108‐1475
ARMANDO GALARDO                                   1414 SOM CENTER ROAD #714                                                                     MAYFIELD HEIGHTS   OH    44124‐2107

ARMANDO I ARCE                                    1306 LEXINGTON                                                                                LAREDO             TX    78040‐8425
ARMANDO J FRATEZI SR & SALENA FRATEZI JT TEN      711 WATER ST                                                                                  BELVIDERE          NJ    07823‐2632
ARMANDO J GARAVENTA                               14 FARVIEW CT                                                                                 SAN FRANCISCO      CA    94131‐1212
ARMANDO J MARTINS                                 75 YALE AVENUE                                                                                OSSINING           NY    10562‐3421
ARMANDO J PERINI                                  40 GATE HOUSE LANE                                                                            EDISON             NJ    08820
ARMANDO L LABASTIDA & SUSANA K LABASTIDA JT TEN   2712 N MAPLE RD                                                                               ANN ARBOR          MI    48103‐2159

ARMANDO LOPEZ                                     375 S ARIZONA AVE                                                                             LOS ANGELES        CA    90022
ARMANDO M BARAJAS                                 2129 HUNTER DR                                                                                LAPEER             MI    48446‐7731
ARMANDO M SALAIS                                  4240 BEACH                                                                                    ECORSE             MI    48229‐1120
ARMANDO MARTINS                                   16 JOHNSON RD                                                                                 LAGRANGEVILLE      NY    12540‐5708
ARMANDO MUSTILLO                                  45 GLENDALE TERR                                                                              ORCHARD PARK       NY    14127‐2333
ARMANDO MUSTILLO & ROSEMARY MUSTILLO JT TEN       45 GLENDALE TERRACE                                                                           ORCHARD PARK       NY    14127‐2333
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 252 of 850
Name                                            Address1                                Address2             Address3          Address4          City            State Zip

ARMANDO P NEVES                             30 ROSSITER AVE                                                                                      YONKERS         NY    10701‐5009
ARMANDO P NEVES & MARIA C NEVES JT TEN      30 ROSSITER AVE                                                                                      YONKERS         NY    10701‐5009
ARMANDO SINEIRO                             1133 ARCARO CT                                                                                       JACKSONVILLE    FL    32218‐1758
ARMANDO V VILLARREAL                        725 MABEL JOSEPHINE DR                                                                               TRACY           CA    95377‐8698
ARMANDO Z CARRILLO                          RT 1 BOX 440                                                                                         CLIFTON         AZ    85533‐9734
ARMEDA C BOSCARDIN TOD MARYLOU COUROSSI     521 DOGWOOD DR                                                                                       MECHANICSBURG   PA    17055‐6176
ARMELDA C CAIN                              1368 TONYA DR                                                                                        LA VERGNE       TN    37086
ARMELINA M CERTESIO TR ARMELINA M CERTESIO  606 DORCASTER DRIVE                                                                                  WILMINGTON      DE    19808‐2212
REVOCABLE TRUST UA 11/11/97
ARMEN DERDERIAN                             14 FAIRWAY DR                                                                                        ATTLEBORO       MA    02703‐2740
ARMEN G DERDERIAN                           BOX 1049                                                                                             METHUEN         MA    01844‐0990
ARMEN P GOOGASIAN                           1080 DOLLIVER ST                                                                                     ROCHESTER       MI    48306‐3918
ARMENIO L BORGES                            45 WILSON ST                                                                                         FRAMINGHAM      MA    01702‐6529
ARMERIA CARDONA                             254 MELBOURNE                                                                                        BOARDMAN        OH    44512‐3417
ARMILLA JONES                               PO BOX 37883                                                                                         OAK PARK        MI    48237‐0883
ARMILLA JONES CUST CHARLES EDWARD JONES JR  PO BOX 37883                                                                                         OAK PARK        MI    48237‐0883
UTMA MI
ARMIN GROND                                 AMSELWEG 21                                 CH‐2563 IPSACH                         SWITZERLAND
ARMIN J DEPPER                              4631 MILFORD LN                                                                                      EVANSVILLE      IL    62242‐1644
ARMIN K JORCK                               428 OTT RD                                                                                           BAY CITY        MI    48706‐9429
ARMIN R ROEGER                              78 LOGANS RUN                                                                                        ROCHESTER       NY    14626‐4303
ARMIN R TAPLINGER                           12 LAGOON DRIVE EAST                                                                                 TOMS RIVER      NJ    08753‐2569
ARMINA N HYLTON                             2833 W MARKET ST                                                                                     WARREN          OH    44485‐3059
ARMINE M KEAZIRIAN                          CABLE GARDENS B212                          126 COUNTY RD                                            IPSWICH         MA    01938‐2580
ARMINTA KAMINSKI                            PO BOX 20904                                                                                         ROCHESTER       NY    14602‐0904
ARMINTA R JOHNSON                           4493 BUCKSPORT COURT                                                                                 DAYTON          OH    45440‐4416
ARMISTEAD DENNETT                           38 MENDUM AVE                                                                                        KITTERY         ME    03904‐1505
ARMON G GOODWYN                             3636 PROFESSIONAL DRIVE                                                                              PORT ARTHUR     TX    77642‐3848
ARMON J RUSS                                11985 DUNHAM RD                                                                                      SAGAMORE HILL   OH    44067‐1015
ARMOND BUXBAUM & MRS ELEANOR BUXBAUM JT TEN 10 MAPLEWOOD DR                                                                                      NORTHPORT       NY    11768

ARMOND D MCDOWELL                               2229 RANCH TRL                                                                                   NORCROSS        GA    30071‐3318
ARMOND DABIERE & OLGA DABIERE JT TEN            1540 PENNSYLVANIA AV                                                                             MIAMI BEACH     FL    33139‐3663
ARMOND J ASMO                                   7041 BENT TREE BLVD                     APT 617                                                  COLUMBUS        OH    43235‐3919
ARMOND L SALVATORE                              C/O MARY SALVATORE                      1791 CENTER ROAD                                         KENDALL         NY    14476‐9738
ARMOND S OLESKI                                 4900 HOUGHTON DRIVE                                                                              PINCKNEY        MI    48169‐9399
ARMOND SCHIFF                                   7868 TRAVELERS TREE DRIVE                                                                        BOCA RATON      FL    33433‐6156
ARMONDO G HATCHER                               769 KITCHENER ST                                                                                 DETROIT         MI    48215‐2938
ARMONDO VALENTINO                               219 GILLIS ST                                                                                    SYRACUSE        NY    13209‐2336
ARMOUR C WINSLOW                                1421 SEMINOLE AVE                                                                                METAIRIE        LA    70005‐1339
ARMOUR J SPANGLER JR                            423 RANKIN DR                                                                                    ENGLEWOOD       OH    45322
ARMOUR PURCELL                                  PO BOX 12                                                                                        HOUSTON         DE    19954‐0012
ARMUND W PALMS                                  4571 RIVER RD                                                                                    SCOTTSVILLE     NY    14546‐9527
ARMYE J ROBINSON                                2556 BRENTFORD PL                                                                                DECATUR         GA    30032‐5623
ARNA B MARGOLIES                                55 STANDISH ROAD                                                                                 NEEDHAM         MA    02492‐1115
ARNA RUTH SIMPSON                               18705 ROCKY WAY                                                                                  DERWOOD         MD    20855‐1453
ARNALDO BORRI                                   730 GLEN CROSSING RD                                                                             GLEN CARBON     IL    62034‐4026
ARNALDO DESANCTIS                               178 PARK HILL AVE                                                                                YONKERS         NY    10705‐1420
ARNALDO J SOTOLONGO                             1308 AVY ST                                                                                      HILLSIDE        NJ    07205‐2214
ARNALDO MARANGONI                               C/O W BERTAGNI GM BRAZIL                PO BOX 9022                                              WARREN          MI    48090‐9022
ARNALDO PEREZ                                   4545 PALISADE AVE APT 6H                                                                         UNION CITY      NJ    07087‐5080
ARNE E SALO                                     9296 SUNVIEW DR N E                                                                              WARREN          OH    44484‐1157
ARNE G OSTROM & ANNA MARIA OSTROM JT TEN        PO BOX 496                                                                                       RIDERWOOD       MD    21139‐0496
ARNE J ANDERSON                                 484 CARDINAL AVE                                                                                 DOWS            IA    50071‐8072
ARNE M JOKINEN                                  11568 E LENNON RD                                                                                LENNON          MI    48449‐9667
ARNE M OVSTEDAL & MARTIN G OVSTEDAL & JAMES L   37949 BRONSON                                                                                    CLINTON TWP     MI    48036
OVSTEDAL JT TEN
ARNE M OVSTEDAL & MARTIN G OVSTEDAL JT TEN      37949 BRONSON                                                                                    CLINTON TWP     MI    48036
ARNE R RODE                                     1147 W OHIO ST APT 505                                                                           CHICAGO         IL    60622‐6467
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 253 of 850
Name                                             Address1                             Address2             Address3          Address4          City             State Zip

ARNEATHA W COCKRANE                              4115 NORTH 39TH STREET                                                                        MILWAUKEE        WI    53216‐1642
ARNEL E BAILEY                                   4379 ST MARTINS DR                                                                            FLINT            MI    48507‐3728
ARNEL E JACKSON                                  120 W ATLANTIC AVE                                                                            AUDUBON          NJ    08106‐1413
ARNELL GRANT                                     10749 S CALUMET                                                                               CHICAGO          IL    60628‐3608
ARNELLA WHITE                                    PO BOX 72288                                                                                  THORNDALE        PA    19372‐0288
ARNET C AKERS                                    11209 RUNYON LAKE ROAD                                                                        FENTON           MI    48430‐2457
ARNETT D PARKER                                  15024 LAKEWOOD                                                                                PLYMOUTH         MI    48170‐2652
ARNETT J FRIDLEY                                 4330 EVERETT HULL RD                                                                          CORTLAND         OH    44410‐9772
ARNETT T LEAVELL JR                              2521 W 11TH ST                                                                                ANDERSON         IN    46011‐2514
ARNETTA G GARY                                   5289 COCO DR                                                                                  DAYTONOD         OH    45424‐5701
ARNETTA J ROBINSON                               3761 HAZELWOOD                                                                                DETROIT          MI    48206‐2157
ARNETTA L JUDD                                   1109 ROLLING OAKS ROAD                                                                        GROVE            OK    74344‐3519
ARNETTA R BLACKMON                               18544 MACKAY                                                                                  DETROIT          MI    48234‐1426
ARNETTE A CALLAWAY                               620 E TAYLOR ST                                                                               FLINT            MI    48505‐4322
ARNETTE CARROTHERS FASO                          74612 AZARITE CIRCLE                                                                          PALM DESERT      CA    92260‐2267
ARNEY J SCHMIDT                                  4455 ALTADENA DR                                                                              BAY CITY         MI    48706‐2513
ARNEY V ANDERSON                                 316 W CLAUDE ST                                                                               LAKE CHARLES     LA    70605‐3404
ARNIE C ECKDAHL                                  4863 NO THOMAS                                                                                FREELAND         MI    48623‐7803
ARNIE K GERREN                                   4606 CROWNE LAKE CIR                 APT 1E                                                   JAMESTOWN        NC    27282‐7909
ARNIE TINNEL                                     144 MARNEY COVE RD                                                                            KINGSTON         TN    37763‐6213
ARNIE W PATRICK                                  610 ASHBURNHAM ST                                                                             AUBURN HILLS     MI    48326‐3400
ARNITA B WOODS                                   3933 BENTON BLVD                                                                              KANSAS CITY      MO    64130‐1433
ARNITA HUDSON                                    ATTN ARNITA HUDSON CARTWRIGHT        4808 ALBERMARLE DR                                       FORT WORTH       TX    76132‐2529
ARNITA W SMITH & GLENN SMITH JT TEN              323 TARBERT DR                                                                                WEST CHESTER     PA    19382‐2501
ARNNIE F SUKO                                    BOX 137 R‐3                                                                                   JAMESTOWN        ND    58401
ARNO H MEYER & NINA MEYER JT TEN                 3742 ARVONIA PL                                                                               TOPEKA           KS    66610‐1356
ARNO HECHT                                       198‐27 FOOTHILL TERR                                                                          JAMAICA          NY    11423‐1611
ARNO LINDER & MRS RUTH LINDER JT TEN             3845 SEDGWICK AVE                                                                             BRONX            NY    10463‐4444
ARNO WIEDENROTH                                  ERBACHER STR 30                      55218 INGELHEIM                        GERMANY
ARNOE M MARTENS                                  406 SO WILLIAMS ST                                                                            BAY CITY         MI    48706‐4684
ARNOL D GREGORY                                  4057 FARRAND RD                                                                               CLIO             MI    48420
ARNOLD A COLLIER & ELSIE B COLLIER TR COLLIER    116 S 8TH ST                                                                                  DIXON            CA    95620‐3611
FAMILY TRUST UA 06/12/90
ARNOLD A COONS JR                                63 TANGLEWOOD TRAIL                                                                           VALPARAISO       IN    46385‐8944
ARNOLD A GOMEZ                                   2022 GOSSER ST                                                                                MILPITAS         CA    95035‐5030
ARNOLD A JOHANSEN & MARILYN C JOHANSEN JT TEN    1812 W LINCOLN                                                                                MOUNT PROSPECT   IL    60056‐2834

ARNOLD A STULCE                                  141 LEWIS ST                                                                                  SODDY‐DAISY      TN    37379‐4738
ARNOLD AMEL STUHR                                2720 CODY ESTEY RD                                                                            RHODES           MI    48652‐9516
ARNOLD ARNIS RUNDIKS                             1760 ULSTER ST                                                                                DENVER           CO    80220‐2053
ARNOLD B CHRISTY                                 173 DELU ROAD                                                                                 WEST SUNBURY     PA    16061‐3011
ARNOLD B ESSIG                                   23838 WOODLAND CT                                                                             CLINTON TWSP     MI    48036‐2980
ARNOLD B KAGLE JR                                11 LAGUNA MADRE DR                                                                            PORT ISABEL      TX    78578‐2602
ARNOLD B SCOTT                                   439 W ROCKSPRING ST                                                                           HENDERSON        NC    27536‐3455
ARNOLD B SCOTT & ARNOLD SCOTT JR JT TEN          439 W ROCKSPRING ST                                                                           HENDERSON        NC    27536‐3455
ARNOLD B WEST                                    5577 ASHBURN RD                                                                               SPRINGFIELD      TN    37172‐8130
ARNOLD B WEST & KATHERINE WEST JT TEN            5577 ASHBURN RD                                                                               SPRINGFIELD      TN    37172‐8130
ARNOLD BARR & MRS BEVERLY S BARR TEN ENT         848 S BOND ST                                                                                 BALTIMORE        MD    21231‐3306
ARNOLD BIGNEY & MARILYN BIGNEY JT TEN            51 PIERHEAD DRIVE                                                                             BARNEGAT         NJ    08005‐3365
ARNOLD BRAUN                                     6 BARBARA DR                                                                                  CROSSWICKS       NJ    08515‐9715
ARNOLD BROWN                                     ROUTE 1 BOX 288                                                                               SONTAG           MS    39665‐9801
ARNOLD C ERICKSON & PATRICIA L ERICKSON JT TEN   345 E PASEO DE GOLF                                                                           GREEN VALLEY     AZ    85614‐3318

ARNOLD C FRITZ                                  4674 LOXLEY DR                                                                                 DAYTON           OH    45439‐3024
ARNOLD C GIADROSICH & FRANCES GIADROSICH JT TEN 9102 DRIFTSTONE DR                                                                             SPRING           TX    77379‐4403

ARNOLD C HYDE                                    1505 RT 146                                                                                   REXFORD          NY    12148‐1217
ARNOLD C PURIFOY                                 4456 SEYBURN                                                                                  DETROIT          MI    48214‐1018
ARNOLD CARLSON & MAUREEN CARLSON JT TEN          1603 SE P ST                                                                                  BENTONVILLE      AR    72712‐6840
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 254 of 850
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

ARNOLD CARTY                                     115 HAMMONDS FK RD                                                                               SALYERSVILLE    KY    41465‐9532
ARNOLD COOMER                                    1516 CHAPEL ST                                                                                   DAYTON          OH    45404‐1812
ARNOLD CUMMINGS                                  622 WOODLAWN AVE                                                                                 BUFFALO         NY    14211‐1235
ARNOLD CYRIL GATER & MRS KAZUKO GATER JT TEN     1316 W COLONIAL AVE                                                                              ANAHEIM         CA    92802‐2130

ARNOLD D ADKINS                                  5321 STEWARDS DR                                                                                 LAS CRUCES      NM    88012‐7832
ARNOLD D DAVIS                                   PO BOX 479                                                                                       DAHLONEGA       GA    30533‐0008
ARNOLD D DUNCHOCK                                PO BOX 187                                                                                       VERNON          MI    48476‐0187
ARNOLD D HELM TR UA 05/26/94 ARNOLD D HELM       1300 TOWN LINE 16                                                                                PINCONNING      MI    48650
TRUST
ARNOLD D LEWIS SR                                PO BOX 364                                                                                       ALICEVILLE       AL   35442‐0364
ARNOLD D MADISON                                 1806 S HAYWORTH AVE                                                                              LOS ANGELES      CA   90035‐4620
ARNOLD D MOYE                                    2110 HICKORY HOLLOW DRIVE                                                                        ROCK HILL        SC   29730
ARNOLD D NADLER                                  43 WALTER ST                                                                                     SALEM            MA   01970‐2440
ARNOLD DIFIORE & ROSE DIFIORE JT TEN             122‐20 135TH AVE                                                                                 SOUTH OZONE PARK NY   11420‐3231

ARNOLD E ALLEN                                   1710 W 166TH ST                                                                                  COMPTON         CA    90220‐4326
ARNOLD E BERRY                                   16325 SEYMOUR                                                                                    LINDEN          MI    48451‐9645
ARNOLD E BRINSON                                 6248 GREENS WAY                                                                                  HAMILTON        OH    45011‐8207
ARNOLD E BUSH                                    81 NIGHTENGALE AVENUE                                                                            MASSENA         NY    13662
ARNOLD E CHILDRESS                               PO BOX 134                                                                                       MUNCIE          IN    47308‐0134
ARNOLD E COOPER                                  PO BOX 14                                                                                        EATON RAPIDS    MI    48827‐0014
ARNOLD E FRIEDMAN CUST DAVID BRIAN FRIEDMAN      2 E HERITAGE DRIVE                                                                               NEW CITY        NY    10956‐5347
UGMA NY
ARNOLD E HAGGARD                                 221 W EPLE AVE                                                                                   INDIANAPOLIS    IN    46217‐3712
ARNOLD E HOPSON                                  PO BOX 106                                                                                       SICKLERVILLE    NJ    08081‐0106
ARNOLD E HOWE                                    56 THOMAS ROAD EXT                                                                               STANDISH        ME    04084‐5440
ARNOLD E KORTE                                   215 E MAIN BOX 98                                                                                DEWITT          MI    48820‐8971
ARNOLD E NICHOLS                                 9970 HARTMAN ROAD                                                                                DANSVILLE       NY    14437‐9422
ARNOLD E POHL TOD KATHLEEN B CHARNESKY SUBJECT   7323 W ABERT COURT                                                                               MILWAUKEE       WI    53216
TO STA TOD RULES
ARNOLD E SCHNEIDER                               VANN ROAD RD #2                                                                                  BALDWINSVILLE   NY    13027
ARNOLD E SMITH                                   3965 WOLF CREEK RD                                                                               WILLIAMSBURG    KY    40769‐7753
ARNOLD E STEVENS                                 8300 RUSTIC TRL                                                                                  LINDEN          MI    48451‐9752
ARNOLD E WALKINGTON                              7313 TUPPER LAKE ROAD                                                                            LAKE ODESSA     MI    48849‐9706
ARNOLD E WERSCHIN & ANN WERSCHIN JT TEN          2236 MERION COURT                       TIMBER PINES                                             SPRING HILL     FL    34606‐3528
ARNOLD EDWARDS                                   1113 WOODROW ST                                                                                  WILSON          NC    27893‐5852
ARNOLD EUGENE DUNLAP                             152 EVERGREEN RD                                                                                 FLINT           MI    48506‐1500
ARNOLD F BELLINI & MRS LOUISE G BELLINI JT TEN   4205 CARROLLWOOD VILLAGE CT                                                                      TAMPA           FL    33618‐8603

ARNOLD F CONNORS CUST JAMES A CONNORS UGMA       7180 OSAGE                                                                                       ALLEN PK        MI    48101‐2473
MI
ARNOLD F EDDS                                    2133 OLD OXFORD RD                                                                               HAMILTON        OH    45013‐9366
ARNOLD F ESCHER                                  20160 WILLIAMSVILLE RD                                                                           GREGORY         MI    48137‐9705
ARNOLD F KRAUSE JR                               501 S 525 W                                                                                      COLUMBUS        IN    47201‐4730
ARNOLD F LAWSON                                  225 E VILLAGE CIRCLE                                                                             LAFOLLETTE      TN    37766‐7335
ARNOLD F MALVERN TR UA 11/30/92 ARNOLD F         129 COTTONWOOD DR                                                                                WILLIAMSVILLE   NY    14221‐1612
MALVERN LIVING TRUST
ARNOLD F RAMEY                                   PO BOX 654                                                                                       LAFAYETTE       TN    37083‐0654
ARNOLD F SHORT                                   113 S BARNES ST                                                                                  MASON           MI    48854‐1619
ARNOLD FLEMING                                   388 EIGHTH AVE                                                                                   MANSFIELD       OH    44905‐1941
ARNOLD FORD                                      1064 LUCAS ST                                                                                    CALUMET CITY    IL    60409
ARNOLD FRANK VOGEL                               2809 SOMERSET CT                                                                                 CINNAMINSON     NJ    08077‐4038
ARNOLD FREIWALD & NANCY J FREIWALD JT TEN        2901 WINCHELL AVE                                                                                KALAMAZOO       MI    49008‐2114
ARNOLD G ACKLEY                                  1994 NORTH M66 HIGHWAY                                                                           WOODLAND        MI    48897‐9641
ARNOLD G ALBRECHT                                2626 BOTHAM CT SAIN                                                                              SAINT JOSEPH    MI    49085‐1918
ARNOLD G BAYS                                    13412 HIGHLANDVIEW                                                                               CLEVELAND       OH    44135‐1621
ARNOLD G MOHN                                    5895 MARSH RD                           APT 107                                                  HASLETT         MI    48840‐8997
ARNOLD G SMITH                                   2029 NICHOLS RD                                                                                  LENNON          MI    48449‐9320
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 255 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

ARNOLD G SMITH & CAROL A SMITH JT TEN            2029 NICHOLS RD                                                                                LENNON            MI    48449‐9320
ARNOLD G TAYLOR                                  21130 MASONIC                                                                                  ST CLAIR SHORES   MI    48002‐1001
ARNOLD GENTZ & MARY M GENTZ JT TEN               33500 HAYES                                                                                    FRASER            MI    48026‐3542
ARNOLD GERMAN CUST AUSTIN GERMAN UTMA NJ         10 PUDDINGSTONE ROAD                                                                           MORRIS PLAINS     NJ    07950‐1114

ARNOLD GOODMAN TR ARNOLD GOODMAN TRUST UA 503 LEITH AVENUE                                                                                      WAUKEGAN          IL    60085‐3330
11/30/96
ARNOLD GUREVITZ                                 315 NE 95TH ST                                                                                  MIAMI SHORES      FL    33138‐2713
ARNOLD H BOETTCHER                              1001 BURLINGTON DR                                                                              FLINT             MI    48503‐2978
ARNOLD H GALE                                   2306 ASHLEIGH DR                                                                                YORK              PA    17402‐4987
ARNOLD H HOLTZMAN                               208 STONE CROP RD                                                                               WILM              DE    19810‐1320
ARNOLD H KNOFSKE                                24829 MIDDLEBELT RD                                                                             NEW BOSTON        MI    48164‐9717
ARNOLD H MELBYE                                 2114 RIVER VIEW DR                                                                              JANESVILLE        WI    53546‐5382
ARNOLD H RUSCH                                  7777 W 130TH ST                                                                                 PARMA             OH    44130‐7161
ARNOLD H SCHULLER & JOYCE ANN CANNON & JAMES H 10300 VILLAGE CIR DR                    APT 1301                                                 PALOS PARK        IL    60464‐3325
SCHULLER JT TEN
ARNOLD HECKER CUST DAVID HECKER U/THE NEW YORK APT 20                                  4 SADORE LANE                                            YONKERS           NY    10710‐4752
U‐G‐M‐A
ARNOLD HILL                                     1721 TUSCALOOSA STREET                                                                          GREENSBORO        AL    36744‐1030
ARNOLD HOLDER & LEO MICHEUZ JT TEN              22813 OVERLAKE                                                                                  ST CLAIR SHORES   MI    48080‐3854
ARNOLD HOSKINS                                  H C 61 BOX 120                                                                                  PINEVILLE         KY    40977‐9205
ARNOLD I WILSON & MARION F WILSON JT TEN        2755 RASKOB ST                                                                                  FLINT             MI    48504‐3356
ARNOLD J AGLE & PEARL L AGLE JT TEN             2046 ROSLYN AVE                                                                                 FLINT             MI    48532‐3925
ARNOLD J ANDRES                                 51 FALCON LN                                                                                    PORT LUDLOW       WA    98365‐9746
ARNOLD J BISHOFF                                5447 KIMBERLY DR                                                                                GRAND BLANC       MI    48439‐5167
ARNOLD J BOELTER                                8259 LAFAYETTE                                                                                  DETROIT           MI    48209‐1971
ARNOLD J BURNETT                                4324 MAUREEN DR                                                                                 YOUNGSTOWN        OH    44511‐1016
ARNOLD J COFFEY                                 6980 HAM MIDDLETOWN RD                                                                          FRANKLIN          OH    45005‐2919
ARNOLD J DAIEN                                  7624 CLIPPERT                                                                                   TAYLOR            MI    48180‐2569
ARNOLD J FORCE & JEANNE M FORCE JT TEN          404 N CARDINAL CT                                                                               FRANKLIN          TN    37067‐5616
ARNOLD J GETZAN & DOROTHY M GETZAN JT TEN       5425 HEATH                                                                                      CLARKSTON         MI    48346‐3536
ARNOLD J GILCHRIST                              730 EAST PHILLIPS DRIVE SOUTH                                                                   LITTLETON         CO    80122‐2870
ARNOLD J HEIDT III                              6726 KESWICK DR                                                                                 RIVERDALE         GA    30296
ARNOLD J HOFFMANN                               2090 KING RD                                                                                    LAPEER            MI    48446‐8386
ARNOLD J JOHNSTON SR & MRS EVELYN H JOHNSTON JT 10252 PALM DR                                                                                   LARGO             FL    33773
TEN
ARNOLD J KOWALSKI                               67 DIRKSON                                                                                      WEST SENECA       NY    14224‐1813
ARNOLD J MULLINS                                445 E MONTROSE ST                                                                               RIALTO            CA    92376‐7613
ARNOLD J OZ                                     3330 MERRICK                                                                                    DEARBORN          MI    48124‐3847
ARNOLD J PEREZ                                  4225 RIVER RD                                                                                   EUGENE            OR    97404‐1209
ARNOLD J RICERCA                                1006 ORANGE AVE                                                                                 CRANFORD          NJ    07016‐2068
ARNOLD J RUSSELL‐SNYDER TR UA 12/28/81 M‐B J M  BOX 1655                                                                                        SAN LEANDRO       CA    94577‐0391
SNYDER
ARNOLD J SCHMITTER & LEONA M SCHMITTER TEN ENT 7129 HESS ROAD                                                                                   MILLINGTON        MI    48746‐9127

ARNOLD J SCRIPTER                                1923 EDEN RD                                                                                   MASON             MI    48854‐9255
ARNOLD J SY & RONALD LEE SY JT TEN               112 N SENECA RD                                                                                OAK RIDGE         TN    37830‐8411
ARNOLD JAEGER                                    8435 BEECHER RD                                                                                FLUSHING          MI    48433‐9401
ARNOLD K FUNKENHAUSER                            1940 TODD LANE#                       WINDSOR ON                             N9H 1J5 CANADA
ARNOLD K FURLONG                                 4759 BROWN RD                                                                                  PARMA             MI    49269‐9614
ARNOLD K GRAHAM                                  768 FOREST GREEN DR                                                                            ELA CANADA        CA    91011‐4201
ARNOLD K KISSELL                                 BOX 7583                                                                                       NEWARK            DE    19714‐7583
ARNOLD K LEVINE                                  109 OLD CROSSING DRIVE                                                                         BALTIMORE         MD    21208‐3321
ARNOLD KOLB                                      BOX 1828                              ALAMO GORDO                                              ALAMOGORDO        NM    88310
ARNOLD KRATZ & MRS SHIRLEY E KRATZ JT TEN        PO BOX 3813                                                                                    ROCK ISLAND       IL    61204‐3813
ARNOLD KREVITZ                                   500 E 86TH AVE                                                                                 MERRILLVILLE      IN    46410‐6213
ARNOLD L CHADWICK & WENONA M CHADWICK JT TEN     2137 BALLA WAY                                                                                 GRAND PRARIE      TX    75051‐3909

ARNOLD L FLANNERY                                271 MEANDER WAY                                                                                GREENWOOD         IN    46142‐8536
                                              09-50026-mg                     Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 1 of 8 Pg 256 of 850
Name                                                Address1                                 Address2             Address3          Address4          City              State Zip

ARNOLD L FOX                                        196 BEN JONES LOOP                                                                                WILLIAMSBURG      KY    40769‐9747
ARNOLD L JACO                                       10000 LACKLAND                                                                                    OVERLAND          MO    63114‐2214
ARNOLD L JINES                                      5457 MONICA DR                                                                                    INDIANAPOLIS      IN    46254‐1642
ARNOLD L MENCHIN                                    60‐39 251 STREET                                                                                  LITTLE NECK       NY    11362‐2433
ARNOLD L PAWLOWSKI                                  PO BOX 112                                                                                        PORT AUSTIN       MI    48467‐0112
ARNOLD L QUINTON                                    1225 W WASHINGTON ST                                                                              BLUFFTON          IN    46714‐1641
ARNOLD L RIDGEWAY                                   BOX 216                                                                                           TOWN CREEK        AL    35672‐0216
ARNOLD L ROBERTS                                    18 COLGATE DRIVE                                                                                  MASSENA           NY    13662‐2529
ARNOLD L ROBERTS & JEAN S ROBERTS JT TEN            18 COLGATE DRIVE                                                                                  MASSENA           NY    13662‐2529
ARNOLD L ROSE                                       5204 POINTE GATE DR                                                                               LIVINGSTON        NJ    07039‐1743
ARNOLD L WRIGHT                                     3231 JONATHAN ROAD                                                                                OXFORD            MI    48371‐1253
ARNOLD LABAHN TR UA 04/23/91 ARNOLD LABAHN          18226 MURPHY CR                                                                                   TINLEY PARK       IL    60477‐4785
TRUST
ARNOLD LAWSON JR                                    111 COLEMAN ST                                                                                    HARROGATE         TN    37752‐8118
ARNOLD LETT                                         462 S CASS ST                                                                                     MECOSTA           MI    49332‐9401
ARNOLD LIPSKY CUST LAUREN EVE LIPSKY U/THE CALIF U‐ 7185 CALABRIA CT UNIT C                                                                           SAN DIEGO         CA    92122‐5599
G‐M‐A
ARNOLD M BIRT                                       6287 LEAWODD DRIVE                                                                                HUBER HEIGHTS     OH    45424‐3038
ARNOLD M EHRLINGER                                  8110 KING RD                                                                                      SAGINAW           MI    48601‐9434
ARNOLD M FERGUSON                                   26005 WALDORF                                                                                     ROSEVILLE         MI    48066‐3528
ARNOLD M GAYLORD                                    48WEBSTER ST                                                                                      UNIONVILLE        CT    06085‐1054
ARNOLD M HALPERN                                    4023 PARK AVE                                                                                     FAIRFIELD         CT    06432‐1265
ARNOLD M HALPERN & BEATRICE HALPERN JT TEN          4023 PARK AVE                                                                                     FAIRFIELD         CT    06432‐1265

ARNOLD M PETTI                                      9837 SOUTH 230TH EAST AVE                                                                         BROKEN ARROW      OK    74014‐6852
ARNOLD M THOMAS                                     517 LOU ALICE DR                                                                                  COLUMBIAVILLE     MI    48421‐9706
ARNOLD M WILLIS & PEGGY G WILLIS TR WILLIS LIVING   407 TAMMERY DR                                                                                    TALLMADGE         OH    44278‐3034
TRUST UA 08/06/97
ARNOLD MCKINNEY                                     18256 JAMESTOWN CIR                                                                               NORTHVILLE        MI    48168‐3515
ARNOLD MONHOLLEN                                    1846 MICHIGAN BLVD                                                                                LINCOLN PARK      MI    48146‐3926
ARNOLD N JUENGER                                    9954 NEW ATHENS                          DARMSTADT ROAD                                           LENZBURG          IL    62255
ARNOLD NORMAN HIRSCH                                BOX 1237                                                                                          APACHE JUNCTION   AZ    85217‐1237

ARNOLD P JOHNSON                                    22445 SOLO RUNWAY                                                                                 DEMING            NM    88030
ARNOLD PARTIN                                       913 EDGEHILL DR                                                                                   FLORENCE          KY    41042‐1238
ARNOLD R DUDLEY                                     5400 WENTWORTH LN                                                                                 MUNCIE            IN    47304‐9820
ARNOLD R GIBSON                                     BX 213 POOLS                                                                                      COLDSPRINGS       KY    41076
ARNOLD R HAGEN                                      11400 HIBNER RD                                                                                   HARTLAND          MI    48353‐1227
ARNOLD R HART                                       3360 W SHERMAN                                                                                    FLINT             MI    48504‐1406
ARNOLD R JAMES                                      2713 S E RAWLINGS RD                                                                              PORT ST LUCIE     FL    34952‐6655
ARNOLD R JOHNSON                                    8 MIFFLIN AVE                                                                                     NEW CASTLE        DE    19720‐1144
ARNOLD R LEFLER                                     PO BOX 125                                                                                        LAKE GEORGE       MI    48633‐0125
ARNOLD R LILLY                                      21034 BECKLEY RD                                                                                  FLAT TOP          WV    25841‐9705
ARNOLD R MASHAK                                     19511 SYCAMORE ST                                                                                 MOKENA            IL    60448‐9326
ARNOLD R PERSONS                                    7515 TRINKLIEN                                                                                    SAGINAW           MI    48609‐5357
ARNOLD R PETRALIA                                   64 EVERWILD LN                                                                                    ROCHESTER         NY    14616‐2059
ARNOLD R PREWITT                                    2052 HIGHLAND RD                                                                                  MARYVILLE         TN    37801‐5471
ARNOLD R ROBINSON                                   662 ROSS DR                                                                                       DANDRIDGE         TN    37725‐6360
ARNOLD R THOMAS                                     3380 TRILLIUM LN                                                                                  OXFORD            MI    48371‐5530
ARNOLD RANKIN SNEED                                 503 VOEKEL ROAD                                                                                   HUNTSVILLE        AL    35811‐9167
ARNOLD RATHJE & MRS HARRIET RATHJE JT TEN           31550 CHESWICK PL                                                                                 SOLON             OH    44139‐1208
ARNOLD REICHENTHAL & ISA REICHENTHAL JT TEN         7428 GRANVILLE AVE                                                                                BOYNTON BEACH     FL    33437‐8302

ARNOLD REICHLIN                                     351 CHURCH AVE                                                                                    GERMANTOWN        NY    12526‐5712
ARNOLD S WAX                                        32 WELWYN RD                                                                                      GREAT NECK        NY    11021‐2528
ARNOLD SAENZ                                        712 OAKCREST ST                                                                                   WYOMING           MI    49509‐4021
ARNOLD SANDOLFINI                                   1969 QUAKER RD                                                                                    BARKER            NY    14012‐9622
ARNOLD SCHUESSLER JR                                2802PETERSON LANE                                                                                 SANDUSKY          OH    44870‐5980
ARNOLD SIEGEL                                       11629 E SORREL LN                                                                                 SCOTTSDALE        AZ    85259‐5973
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 257 of 850
Name                                           Address1                              Address2                Address3       Address4          City             State Zip

ARNOLD SLONE                                   202 OAKWOOD DRIVE                                                                              GEORGETOWN       TX    78628‐8335
ARNOLD STADIG & DONNA STADIG JT TEN            272 OCEAN RD                                                                                   GREENLAND        NH    03840‐2442
ARNOLD V BRINGOLD                              29414 SHERIDAN                                                                                 GARDEN CITY      MI    48135‐2658
ARNOLD V HEGELMANN & JANICE D HEGELMANN JT     7536 WEST KL AVENUE                                                                            KALAMAZOO        MI    49009‐7917
TEN
ARNOLD V HOFFE                                 27711 HOFFE LANE                                                                               DAKOTA           MN    55925‐9713
ARNOLD W BOHLANDER & GAIL BOHLANDER JT TEN     12950 HILLCREST DR                                                                             CHINO            CA    91710‐2933

ARNOLD W DICKINSON                             8195 HOLLY DR                                                                                  CANTON            MI   48187‐4236
ARNOLD W FERGUSON                              9446 TERRACE VIEW CT                                                                           JEROME            MI   49249‐9691
ARNOLD W FISHER                                109 S WASHINGTON AVE                                                                           BERGENFIELD       NJ   07621‐2343
ARNOLD W GASKILL & VERONICA GASKILL JT TEN     942 E MORGAN DR                                                                                INDIANAPOLIS      IN   46227‐1641
ARNOLD W HULLMAN & BETTY J HULLMAN JT TEN      45182 W PARK DR                       APT 30                                                   NOVI              MI   48377‐4900
ARNOLD W IRELAN JR & NANCY C IRELAN JT TEN     9658 DARTMOUTH                                                                                 CLARKSTON         MI   48348‐2213
ARNOLD W LACY                                  4121 GROVELAND RD                                                                              ORTONVILLE        MI   48462‐9010
ARNOLD W LINDER                                BOX 722                               506 PINE                                                 WELLSVILLE        KS   66092‐8890
ARNOLD W NILES                                 3 PORTOFINO DR                        STE 1306                                                 GULF BREEZE       FL   32561‐2497
ARNOLD W TAYLOR                                2061 WALLER RD                                                                                 VERONA            KY   41092‐8216
ARNOLD W ZUEHL                                 WAGGENER RANCH                        1071 RANGER RIDGE                                        NEW BRAUNFELS     TX   78132
ARNOLD WEISS & RITA S WEISS JT TEN             9 PARK FOREST DR                                                                               BUFFALO           NY   14221‐4317
ARNOLD WIDELITZ                                6 CATHAY ROAD                                                                                  EAST ROCKAWAY     NY   11518‐2212
ARNOLD WIDEN                                   APT 27‐D                              1300 LAKE SHORE DRIVE                                    CHICAGO           IL   60610‐2193
ARNOLD ZWEIG                                   APT 725                               3800 S OCEAN DR                                          HOLLYWOOD         FL   33019‐2918
ARNOLDA E VERMET                               1027 SOMERSET                                                                                  GROSSE POINT PARK MI   48230‐1333

ARNOLDO A RIOS                                 7307 SUNSET DRIVE                                                                              LANSING          MI    48917‐9619
ARNOLDO C VALDOVINOS                           181 JOE PHILLIPS RD                                                                            MADISON          AL    35758‐9769
ARNOLDO LAGOS                                  5712 W NEWPORT AVE                                                                             CHICAGO          IL    60634‐4341
ARNOLDO WILSON                                 PO BOX 417                                                                                     JAMAICA          NY    11430‐0417
ARNT A FOSSUM                                  4435 W COVERT ROAD                                                                             LESLIE           MI    49251‐9710
ARNULFO A SOTO                                 26600 ANN ARBOR TRL                   # 21                                                     DEARBORN HTS     MI    48127‐1171
ARNULFO S RODRIGUEZ                            10410 N LINDEN ROAD                                                                            CLIO             MI    48420‐8500
ARON D WORTHAM JR                              33651 TRILLIUM CT                                                                              LIVONIA          MI    48150‐3681
ARON E MATHIS                                  1429 SNOWBIRD LN                                                                               O FALLON         MO    63366‐3202
ARON GRAGNAMI                                  649 DARIEN WAY                                                                                 SAN FRANCISCO    CA    94127
ARON IMBIMBO                                   175 POND ST                           #1                                                       LEOMINSTER       MA    01453‐3541
ARON L LAUFER & JUDITH D LAUFER JT TEN         1 ALBERT COURT                                                                                 SPRINGFIELD      NJ    07081‐3301
ARON P LOFTIS                                  401 CROWNE WAY                                                                                 COOKEVILLE       TN    38501‐1086
ARONI SEN                                      14904 DORIA DR                                                                                 AUSTIN           TX    78728
AROUND THE MOUNTAIN INVESTMENTS                2951 SHAMRELL BLVD                    SUITE 110                                                FLAGSTAFF        AZ    86001‐9420
ARPIE C LANDRUM                                205 E SUNRISE AVE                                                                              DAYTON           OH    45426‐2808
ARPIL JOHNSON                                  2212 M ST                                                                                      RICHMOND         VA    23223‐7236
ARRELL SIMMONS                                 3639 SOLAR VISTA PL                                                                            CINCINNATI       OH    45213‐1823
ARRENZA COX                                    1706 PIERCE ST                                                                                 SANDUSKY         OH    44870‐4550
ARRENZA COX & BOBBIE COX JT TEN                1706 PIERCE STREET                                                                             SANDUSKY         OH    44870‐4550
ARRICK F BEEMAN                                1315 BROWN                                                                                     SAGINAW          MI    48601‐2604
ARRIE L BOZEMAN                                2212 ALTOONA RD                                                                                BLOOMINGTON      IL    61704‐5208
ARRON DAWKINS                                  1431 WASHINGTON BLVD                  APT 1811                                                 DETROIT          MI    48226‐1726
ARSENE MARKARIAN                               3165 SHADY WOODS CIRCLE                                                                        LAWRENCEVILLE    GA    30044‐2556
ARSENIO ALVAREZ                                191 WILLOUGHBY ST                     APT 12L                                                  BROOKLYN         NY    11201‐5442
ARSENIO PEDRO PRIETO                           5047 WOODSTONE CIRCLE N                                                                        LAKE WORTH       FL    33463‐5821
ART A FREY                                     1600 S KERBY RD                                                                                CORUNNA          MI    48817‐9102
ART A KIRIKIAN                                 14 COACH DR                                                                                    LAWRENCEVILLE    NJ    08648‐1565
ART ALLIS                                      2509 ALYDAR DR                                                                                 WEXFORD          PA    15090‐7954
ART BROKX TR MICHELLE E BROKX UA 11/29/78      1918 MONTEREY ROAD                                                                             SOUTH PASADENA   CA    91030‐3936

ART CARR                                       50 JEFFTON CRESCENT                   TORONTO ON                             M1G 2R5 CANADA
ART F MARTIN JR                                711 COUNTRY LN                                                                                 FRANKENMUTH      MI    48734‐9789
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 258 of 850
Name                                           Address1                             Address2             Address3          Address4          City            State Zip

ART GOLDENBAUM TOD WENDY TOURLAKIS SUBJECT TO 305 WOOD LANDING RD                                                                            FREDERICKSBRG   VA    22405
STA TOD RULES
ART GOULD                                       1301 WARREN ST                                                                               PLACENTIA       CA    92870‐3642
ART JUSTIN                                      2252 UNIT D VIA PUERTA                                                                       LAGUNA HILLS    CA    92653
ART KNECHTEL                                    811 MCCOMB LN                                                                                CHADDS FORD     PA    19317‐9228
ART TAYLOR & LUCY TAYLOR TR TAYLOR FAM TRUST UA 9931 SANTA GERTRUDES                                                                         WHITTIER        CA    90603‐1349
06/30/95
ARTA MAE CALLAHAN & MARYANN BLANKENSHIP JT      808 FOUNTAIN VIEW WAY                                                                        SEYMOUR         TN    37865
TEN
ARTANDRA HENDRICKS                              2414 COOLIDGE HWY                   APT 101                                                  TROY            MI    48084‐3640
ARTEE H WALKER                                  3825 CENTRE #20                                                                              SAN DIEGO       CA    92103‐3620
ARTEE L LANDRY                                  17881 MARX ST                                                                                HIGHLAND PARK   MI    48203‐2417
ARTELIA THOMAS                                  1630 E SYCAMORE                                                                              KOKOMO          IN    46901‐4997
ARTEMI YASUK                                    3864 FREDRO ST                                                                               DETROIT         MI    48212‐2835
ARTEMIO A DELCARMEN                             PO BOX 99542                                                                                 TROY            MI    48099‐9542
ARTEMIO RAMIREZ                                 12527 MISTY WATER DR                                                                         HERNDON         VA    20170‐5704
ARTEMIS HEATH                                   302 DANIELS AVE                                                                              HAMILTON        NJ    08619‐1774
ARTEMIS TSEKOURAS & ELIAS TSEKOURAS JT TEN      88‐11 RANSOM STREET                                                                          QUEENS VLG      NY    11427
ARTEN NARSISIAN                                 653 DETROIT                                                                                  LINCOLN PARK    MI    48146‐3031
ARTEWAY G PEETE                                 21 ORTON STREET                                                                              PONTIAC         MI    48053
ARTEZ M HOUSTON                                 1365 WHITNEY AVE                                                                             NIAGARA FALLS   NY    14301‐1261
ARTH NANA                                       707 REDWOOD HIGHWAY                                                                          MILL VALLEY     CA    94941‐2538
ARTHA E CONTE                                   75 OAKLAND AVE                                                                               TUCKAHOE        NY    10707‐1732
ARTHA HICKS                                     11412 SAYWELL                                                                                CLEVELAND       OH    44108‐3823
ARTHENIA A SAPP                                 C/O JOHN MASHBUM                    PO BOX 125                                               GROVEPORT       OH    43125‐0125
ARTHER BRADEN                                   12848 VERNON                                                                                 WARREN          MI    48089‐4840
ARTHER D GUNTER                                 703 BREEDING AVENUE                                                                          COOKEVILLE      TN    38501‐2834
ARTHER L CARR                                   10 DOROTHY ATKINSON RD                                                                       TYLERTOWN       MS    39667‐6218
ARTHOR C SMITH                                  19330 JUSTINE                                                                                DETROIT         MI    48234‐2132
ARTHUR & ROSEMARY CHLEBOWSKI REVOCABLE LIVING 25128 KENNETH AVE                                                                              EDWARDSBURG     MI    49112
TRUST UA 11/09/98
ARTHUR A ADAMS                                  9769 SPENCER LAKE RD                                                                         SPENCER         OH    44275‐9312
ARTHUR A ADLER JR                               4318 SOMERVILLE DR                                                                           W BLOOMFIELD    MI    48323‐2763
ARTHUR A AHERN                                  7400 BENNETT LK RD                                                                           FENTON          MI    48430‐9010
ARTHUR A ANDERSON                               446 SO MAIN ST                                                                               PARKER          IN    47368‐9549
ARTHUR A ARNOLD                                 400 FRANKLIN ST                                                                              SPRINGVILLE     NY    14141‐1130
ARTHUR A AUSTIN & MRS MARTHA L AUSTIN JT TEN    4307 SULGRAVE                                                                                SWARTZ CREEK    MI    48473‐8277

ARTHUR A BARBUTO                               200 ESSEX ST                                                                                  LYNNFIELD       MA    01940‐1205
ARTHUR A BARTFAY                               2987 TRENTWOOD ROAD                                                                           COLUMBUS        OH    43221‐2346
ARTHUR A BARTLEWSKI                            9270 SW 91ST CIR                                                                              OCALA           FL    34481‐8406
ARTHUR A BILOON CUST ELLICE K BILOON UGMA DE   401 HERB RIVER DR                                                                             SAVANNAH        GA    31406‐3212

ARTHUR A COLLINS JR                            2223 N 64TH ST                                                                                KANSAS CITY     KS    66104‐2729
ARTHUR A COLLVER                               6246 COUNTRYWAY                                                                               SAGINAW         MI    48603
ARTHUR A CONDON                                7342 WOODBINE ROAD                                                                            WOODBINE        MD    21797‐8912
ARTHUR A CONDON & DORIS L CONDON JT TEN        7342 WOODBINE ROAD                                                                            WOODBINE        MD    21797‐8912
ARTHUR A CONLEY                                4311 BROOKGROVE DRIVE                                                                         GROVE CITY      OH    43123‐3505
ARTHUR A DANIELEWICZ                           26247 SCHOENHERR                                                                              WARREN          MI    48089‐3692
ARTHUR A DOMBROWSKI                            5710 CHATHAM DR                                                                               SEVEN HILLS     OH    44131‐1822
ARTHUR A G LAMB                                591 BARD AVE                                                                                  STATEN ISLAND   NY    10310‐3015
ARTHUR A GARCIA                                312 E ORANGEBURG AVE                 APT 116                                                  MODESTO         CA    95350‐5346
ARTHUR A GETZ                                  6 STILLWATER LN                                                                               NEWBURGH        NY    12550‐8730
ARTHUR A GRECH & MRS KAY D GRECH JT TEN        4047 SAMANTHA DR                                                                              BRITTON         MI    49229‐8724
ARTHUR A HAGER JR                              17 TAFT STREET                                                                                QUINCY          MA    02169‐6825
ARTHUR A HALL                                  11701 N CR 200 WEST                                                                           MUNCIE          IN    47303‐9342
ARTHUR A HAYES & SARA K HAYES JT TEN           35 CHURCH ST                                                                                  BELFAST         ME    04915‐6206
ARTHUR A KELLY                                 38246 JOURNEY LANE                                                                            LADY LANE       FL    32159‐4802
ARTHUR A LIKE                                  43 INDEPENDENCE LANE                                                                          SHREWSBURY      MA    01545
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 259 of 850
Name                                            Address1                                Address2             Address3          Address4          City            State Zip

ARTHUR A LUCHT                                  3500 FIRESIDE DR                                                                                 BRUNSWICK       OH    44212‐2250
ARTHUR A MC GIVERIN & MARY JOAN MC GIVERIN JT   1731 N ELM                                                                                       OTTUMWA         IA    52501‐1421
TEN
ARTHUR A MIKLES                                 601 GLADES RD SHOP 8                                                                             GATLINBURG      TN    37738
ARTHUR A MOSELER                                3038 PLAINFIELD AVE NE                                                                           GRAND RAPIDS    MI    49505‐3259
ARTHUR A PHILLIPS                               19491 APPOLINE                                                                                   DETROIT         MI    48235‐1212
ARTHUR A PISANI                                 42380 CLEMMONS AVE                                                                               PLYMOUTH        MI    48170‐2593
ARTHUR A POND                                   180 PINE WOODS AVE                                                                               TONAWANDA       NY    14150‐7022
ARTHUR A QUARANTA                               500 BAY AVE                             CONDO #310N                                              OCEAN CITY      NJ    08226‐3979
ARTHUR A RIDLEY                                 3349 GENOA                                                                                       CLARKSTON       MI    48346‐4023
ARTHUR A ROBAK                                  2353 MONTROYAL                                                                                   WATERFORD       MI    48328‐1729
ARTHUR A ROBINSON                               6816 ENGLISH RD                                                                                  SILVERWOOD      MI    48760‐9402
ARTHUR A ROMERO JR                              906 ELFERS ROAD                                                                                  PATTERSON       CA    95363‐9710
ARTHUR A RUPRECHT & ESTHER A RUPRECHT JT TEN    2461 WOODCLIFF TRL                                                                               HARTLAND        MI    48353‐2532

ARTHUR A SERCK CUST MISS SUSAN B SERCK U/THE    1131 LINDEN AVENUE                                                                               DEERFIELD       IL    60015‐2131
ILLINOIS U‐G‐M‐A
ARTHUR A SHAFT                                  3519 SNOWY LANE                                                                                  SAGINAW         MI    48601‐7054
ARTHUR A SMALL                                  1017 WINNIPEG DR                                                                                 YUKON           OK    73099‐5433
ARTHUR A SPENCER                                19861 CHAPIN RD                                                                                  ELSIE           MI    48831‐9202
ARTHUR A STOIKE II                              3970 W DALE RD                                                                                   BEAVERTON       MI    48612‐9753
ARTHUR A TAUSIG & GRETCHEN TAUSIG JT TEN        1220 N PASS AVE                                                                                  BURBANK         CA    91505‐2135
ARTHUR A TOWNE JR                               469 WESTMOUNT ST                                                                                 ROCHESTER       NY    14615‐3217
ARTHUR A WALKOWIAK                              17200 ELLIS CT                                                                                   S HOLLAND       IL    60473‐3536
ARTHUR A WHITESIDE                              171 LEAH MARTIN CT                                                                               TALLAHASSEE     FL    32317‐7218
ARTHUR A WHITTIER                               102 ROSIN DR                                                                                     CHESTERTOWN     MD    21620‐2818
ARTHUR A ZINGARO TR ARTHUR A ZINGARO LIVING     PO BOX 1387                                                                                      MARCO ISLAND    FL    34146‐1387
TRUST UA 01/10/97
ARTHUR AGAZARIAN                                12 EXETER ST                                                                                     PORTLAND        ME    04102‐2807
ARTHUR ALBERT NELSON III                        2400 TROWER AVE                                                                                  NAPA            CA    94558‐6719
ARTHUR ANDERSON                                 8638 ROSEBANK MT OLOVER RD                                                                       CRUGER          MS    38924‐3736
ARTHUR ANDERSON                                 377 SANDFORD ST                                                                                  NEW BRUNSWICK   NJ    08901‐2345
ARTHUR ANDREWS                                  405 DAWNVIEW AVENUE                                                                              DAYTON          OH    45431‐1806
ARTHUR AXELBANK                                 330 WEST KING STREET                                                                             HILLSBOROUGH    NC    27278‐2420
ARTHUR B AMBRUS                                 PO BOX 475                                                                                       TAYLOR          MI    48180‐0475
ARTHUR B BAUM                                   2186 ARMSTRONG RD                                                                                MT MORRIS       MI    48458‐2619
ARTHUR B BRELAND                                4436 PARK ROAD                                                                                   CHARLOTTE       NC    28209‐3130
ARTHUR B CLEMENT TOD DIXSON B CLEMENT SUBJECT   507 SOUTH ST                                                                                     PIQUA           OH    45356‐3445
TO STA TOD RULES
ARTHUR B COLLIGAN                               165 CRESTWOOD AVE                                                                                TUCKAHOE        NY    10707‐2208
ARTHUR B CURRAN & ROSALIE N CURRAN JT TEN       1705 HIGHLAND AVE                                                                                ROCHESTER       NY    14618‐1111
ARTHUR B ELLIOTT JR CUST ELIZABETH BRADBURY     310 MOSS CREEK DR                                                                                HILTON HEAD     SC    29926‐1071
ELLIOTT UGMA TX
ARTHUR B ESBERG                                 148 RALPH AVE                                                                                    VACAVILLE       CA    95687‐5225
ARTHUR B ESBERG TR THE ARTHUR ESBERG FAMILY     148 RALPH AVENUE                                                                                 VACAVILLE       CA    95687‐5225
TRUST UA 11/16/01
ARTHUR B FRENCH                                 29424 SHERRY AVE                                                                                 MADISON HEIGHTS MI    48071‐4480

ARTHUR B JOHNSON                                149 KING RD                                                                                      CHURCHVILLE     NY    14428‐9747
ARTHUR B LENOIR                                 6231 TRENTON DRIVE                                                                               FLINT           MI    48532‐3230
ARTHUR B LOOPER                                 1424 EMERALD FOREST PARKWAY                                                                      CHARLESTON      SC    29414‐5805
ARTHUR B MILLER III                             2415 FALLS CHURCH                                                                                HOUSTON         TX    77067‐1253
ARTHUR B NEILSON                                7770 ROBB RD                                                                                     FOWLERVILLE     MI    48836‐9750
ARTHUR B PAIGE JR                               3472 W PASADENA AVE                                                                              FLINT           MI    48504‐2353
ARTHUR B RENO                                   15052 MASONIC                                                                                    WARREN          MI    48093‐7920
ARTHUR B RUELLE                                 5137 FARM ROAD                                                                                   WATERFORD       MI    48327‐2419
ARTHUR B SCHOFIELD                              11139 PHYLLIS DR                                                                                 CLIO            MI    48420‐1562
ARTHUR B SMITH                                  445 S 23RD ST                                                                                    SAGINAW         MI    48601‐1543
ARTHUR B WARREN                                 NO GRATIOT CO LINE RD                                                                            WHEELER         MI    48662
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 260 of 850
Name                                            Address1                             Address2               Address3        Address4                 City            State Zip

ARTHUR B WENK GDN ADRIANA CAITLIN WENK          49 MULGROVE DR                       TORONTO ON                             M9C 2R4 CANADA
ARTHUR B WEST                                   504 LOWRY ST                                                                                         JAMESTOWN       IN    46147‐8905
ARTHUR BARZYK                                   18465 BUCKHANNON                                                                                     ROSEVILLE       MI    48066‐4947
ARTHUR BARZYK & ANNA MARIE BARZYK JT TEN        18465 BUCKHANNON                                                                                     ROSEVILLE       MI    48066‐4947
ARTHUR BEN HULL                                 52 LITTLE PLAINS RD                                                                                  SOUTHAMPTON     NY    11968‐4904
ARTHUR BIERDEMAN                                5509 WEST BLVD                                                                                       YOUNGSTOWN      OH    44512‐2528
ARTHUR BOWEN                                    1389 CRISFIELD DR                                                                                    COLUMBUS        OH    43204‐3912
ARTHUR BREARLEY                                 26 W 534 JEWELL RD                                                                                   WINFIELD        IL    60190‐1121
ARTHUR BRENNAN PETAR SEPARATE PROPERTY          13052 FLINT DR                                                                                       SANTA ANA       CA    92705
ARTHUR BRENNECKE                                29 RICHARD DRIVE                                                                                     WALDWICK        NJ    07463‐2010
ARTHUR BRUCE GEISLER                            17151 PINEHURST LN                                                                                   HUNTINGTON      CA    92647‐5519
                                                                                                                                                     BEACH
ARTHUR BRYAN                                    5252 CHAMPLAIN TRAIL                 MISSISSAUGA ON                         L5R 2Z1 CANADA
ARTHUR BURNS & LORENE BURNS JT TEN              178 HUNTINGTON RD                                                                                    NEWTOWN         CT    06470‐2613
ARTHUR BUTLER & SANDRA BUTLER JT TEN            15 BARTON CLOSE                      SHEPPERTON MIDDLESEX                   TW17 9AQ GREAT BRITAIN
ARTHUR BYAS JR                                  18466 ALBION                                                                                         DETROIT         MI    48234‐3804
ARTHUR C AIKIN JR & MRS DOROTHY JEANNE AIKIN JT 14301 CANTRELL RD                                                                                    SILVER SPRING   MD    20905‐4425
TEN
ARTHUR C AMSLER II                              401 PLAINS CHURCH RD                                                                                 EVANS CITY      PA    16033‐3025
ARTHUR C AYERS                                  514 EAST ST                                                                                          THREE RIVERS    MI    49093‐1412
ARTHUR C B HALVORSEN                            77 MCNAB CRESCENT                    REGINA SK                              S4S 4A9 CANADA
ARTHUR C BARR                                   10560 MARIE LANE                                                                                     PICKERINGTON    OH    43147‐9659
ARTHUR C BELL                                   21267 WALNUT CT                                                                                      WARRENTON       MO    63383‐5743
ARTHUR C BENNETT                                282 WEST WHITNEY ROAD                                                                                PENFIELD        NY    14526‐2325
ARTHUR C BRANSON                                PO BOX 74                                                                                            SUMMITVILLE     IN    46070‐0074
ARTHUR C CAREY & JANET K CAREY JT TEN           3048 REYNOLDS CT                                                                                     FREMONT         CA    94536‐2504
ARTHUR C CASPER & OLIVIA M CASPER JT TEN        116 LOWELL LANE                                                                                      W SENECA        NY    14224‐1547
ARTHUR C CLOUSE                                 1 KIRKWALL DR                                                                                        PITTSBURGH      PA    15215‐1115
ARTHUR C DUTTON                                 17100 E 31ST TERR                                                                                    INDEPENDENCE    MO    64055‐2808
ARTHUR C EARLS III                              BOX 50576                                                                                            NASHVILLE       TN    37205‐0576
ARTHUR C FIELDS                                 PO BOX 479                                                                                           ANDERSON        MO    64831‐0479
ARTHUR C FONG & JUNE FONG TR UA 04/29/94 ARTHUR 955 UNION STREET                                                                                     SAN FRANCISCO   CA    94133‐2631
C FONG & JUNEFONG
ARTHUR C GOODMAN                                E 3216 GILLILAND RD                                                                                  TRENARY         MI    49891‐9605
ARTHUR C GREENBERG EX EST PAUL GREENBERG        4702 PINEYWOOD DRIVE S W                                                                             DECATUR         AL    35603
ARTHUR C GREER                                  6418 SOUTH MARION ST                                                                                 LITTETON        CO    80121‐2551
ARTHUR C HANNAN                                 109 PARKWAY DR                                                                                       STRATFORD       CT    06614‐3230
ARTHUR C HARDER                                 715 JULIA ELIZABETH DR                                                                               WENTZVILLE      MO    63385
ARTHUR C HESTER & MAE J HESTER JT TEN           10425 BALLENTINE                                                                                     OVERLAND PARK   KS    66214‐3046
ARTHUR C KEITH                                  41 CHERRY ST                                                                                         WALTHAM         MA    02453
ARTHUR C KEITH JR                               41 CHERRY ST                                                                                         WALTHAM         MA    02453‐3905
ARTHUR C KILGORE                                1025 SHELDON SE                                                                                      GRAND RAPIDS    MI    49507‐1166
ARTHUR C LAWRENCE                               3072 MARLINGTON                                                                                      WATERFORD       MI    48329‐3652
ARTHUR C LOOMOS                                 524 BOSTON ST                                                                                        LYNN            MA    01905‐2157
ARTHUR C MANSFIELD                              281 WILDWOOD DR                                                                                      CADILLAC        MI    49601‐8761
ARTHUR C MC NUTT                                5321 KNOX DRIVE                                                                                      THE COLONY      TX    75056‐2155
ARTHUR C MCADAMS                                417 KINGFISHER LN                                                                                    DENTON          TX    76209‐3531
ARTHUR C MERRILL JR                             147 BAY SPRING VILLAGE AVE           APT 350                                                         BARRINGTON      RI    02806
ARTHUR C MILES & AURELIA F MILES JT TEN         41546 LADYWOOD                                                                                       NORTHVILLE      MI    48167‐2342
ARTHUR C NEWMAN                                 316 LEONARD RD                                                                                       ROCHESTER       NY    14616‐2936
ARTHUR C PERRY                                  322 WOODBINE AVENUE                                                                                  NARBERTH        PA    19072‐2034
ARTHUR C PRUIETT                                G‐2074 E WHITTEMORE AVE                                                                              BURTON          MI    48529
ARTHUR C RADKE                                  1217 PARKDALE                                                                                        LANSING         MI    48910‐1880
ARTHUR C RADKE & GERALDINE F RADKE JT TEN       1217 PARKSDALE                                                                                       LANSING         MI    48910‐1880
ARTHUR C RIDER & SHIRLEY RIDER JT TEN           71 WOODSIDE AVE                                                                                      OXFORD          CT    06478‐1947
ARTHUR C RUPERT & MILDRED M RUPERT JT TEN       100 NORTON RD                                                                                        STROUDSBURG     PA    18360‐9105
ARTHUR C RUPERT & MILDRED M RUPERT JT TEN       100 NORTON ROAD                                                                                      STROUDSBURG     PA    18360‐9105
ARTHUR C RUTSCHER JR & JUDITH S RUTSCHER JT TEN 7960 KIMBRO AVE N                                                                                    STILLWATER      MN    55082‐8329
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                      Part 1 of 8 Pg 261 of 850
Name                                              Address1                             Address2                    Address3       Address4                City              State Zip

ARTHUR C SANTORA II                               154 OAKWOOD RD                                                                                          WATCHUNG          NJ    07060‐6110
ARTHUR C SCARLETT JR                              220 HIGHLANDER HEIGHT DR                                                                                GLENSHAW          PA    15116‐2536
ARTHUR C SCARLETT JR CUST JAMES D SCARLETT UTMA   220 HIGHLANDER HEIGHT DR                                                                                GLENSHAW          PA    15116‐2536
PA
ARTHUR C SCHICHTEL JR                             945 MAPLEROW                                                                                            WALKER            MI    49544‐3629
ARTHUR C SCHWAN                                   9565 MIDLAND ROAD                                                                                       FREELAND          MI    48623‐9710
ARTHUR C SMITH TR UA 10/27/89 ARTHUR C SMITH      2609 W SOUTHERN AVE                  LOT 456                                                            TEMPE             AZ    85282‐4237
TRUST
ARTHUR C STEWART & BONNIE R STEWART JT TEN        520 GREENWAY DRIVE                                                                                      DAVISON           MI    48423‐1213
ARTHUR C STRINGFELLOW                             315 MADISON                                                                                             WASHINGTON        IL    61571‐1420
ARTHUR C SWORTFIGUER                              #12 RUE JULES SUPERVIELLE            41350 SAINT GERVAIS         LAFORET        FRANCE
ARTHUR C THOMPSON                                 131 NORMA DR                                                                                            KINSTON           NC    28504‐8216
ARTHUR C TOOGOOD                                  904 SYCAMORE                                                                                            HASTINGS          NE    68901‐3339
ARTHUR C TRIGGS                                   14586 WISCONSIN                                                                                         DETROIT           MI    48238‐1751
ARTHUR C VAN DYKE & BARBARA L VAN DYKE JT TEN     1726 STONEHAVEN DR                                                                                      HOLT              MI    48842‐1965

ARTHUR C VOGT & CAROL VOGT JT TEN              2612 PINE SPRINGS DRIVE                                                                                    PLANO             TX    75093‐3567
ARTHUR C WISE JR                               1405 GREENLEAF ST                                                                                          EVANSTON          IL    60202‐1154
ARTHUR C WOJNO II                              132 MARINER LANE                                                                                           ROTUNDA WEST      FL    33947‐2032
ARTHUR CAESAR                                  215‐08 28TH AVENUE                                                                                         BAYSIDE           NY    11360‐2616
ARTHUR CALHOUN                                 1900 INKSTER RD                         APT 511                                                            INKSTER           MI    48141
ARTHUR CALVERT WILLIAMS                        2336 KING ARTHUR BLVD                                                                                      LEWISVILLE        TX    75056
ARTHUR CHAMBERS                                4503 FORREST PARK AVE                                                                                      BALTIMORE         MD    21207‐7454
ARTHUR CHANG                                   1400 OAK AVE                                                                                               LOS ALTOS         CA    94024‐5706
ARTHUR CHILDS                                  253 BELLEVIEW TERR                                                                                         HILLSIDE          NJ    07205‐1530
ARTHUR CHU                                     175 CONCHO DR.                                                                                             FREMONT           CA    94539
ARTHUR CLARK                                   500 MAPLE ST                                                                                               SAULT STE MARIE   MI    49783‐2044
ARTHUR COOPER HUDNUTT                          777 WASHINGTON AVE                                                                                         ELYRIA            OH    44035‐3604
ARTHUR CORLISS                                 46 WINCHESTER AVE                                                                                          YONKERS           NY    10710‐5859
ARTHUR CUMMINS JR                              4354 BRIDGEFIELD W RD                                                                                      PLAINFEILD        IN    46168‐9508
ARTHUR CURRAN                                  496 N HURD RD                                                                                              ORTONVILLE        MI    48462‐9418
ARTHUR D AUVENSHINE TR AUVENSHINE FAMILY TRUST 1291 W HERBISON RD                                                                                         DEWITT            MI    48820‐8307
UA 5/6/02
ARTHUR D BIEG                                  46 OLD JARVIS AVE                                                                                          HOLYOKE           MA    01040‐1800
ARTHUR D BIXLER & VIRGINIA S BIXLER JT TEN     7948 REXTOWN RD                                                                                            SLATINGTON        PA    18080‐3464
ARTHUR D CAMPBELL                              805 SUFFOLK                                                                                                JANESVILLE        WI    53546‐1823
ARTHUR D CARR                                  38025 MAYWOOD BAY DR                                                                                       LEESBURG          FL    34788‐8132
ARTHUR D CARRIGAN                              2237 W BARNES RD                                                                                           MASON             MI    48854‐9232
ARTHUR D COOPER                                6110 HIDDEN HOLLOW DR                                                                                      SYKESVILLE        MD    21784‐8717
ARTHUR D DAVIS                                 377 SPRUCEWOOD AVE                                                                                         OAK PARK          CA    91377‐1227
ARTHUR D DODGE                                 8678 HORNER AVE                                                                                            BALTIMORE         MD    21234‐3933
ARTHUR D ECKFORD                               PO BOX #880                             COLBORNE ON                                K0K 1S0 CANADA
ARTHUR D FENDT                                 704 SEDGEWICK COURT                                                                                        SEWELL            NJ    08080‐2520
ARTHUR D FRINK                                 711 DRAKE AVE                                                                                              MIDDLESEX         NJ    08846‐2143
ARTHUR D GISI                                  1821 MCKELVEY ROAD                                                                                         MARYLAND HGTS     MO    63043‐2818
ARTHUR D HAINES                                DANEWOLD 9A STEWKLEY RD                 SOULBURY LEIGHTON BUZZARD   BEDFORDSHIRE   LU7 0DH GREAT BRITAIN
ARTHUR D HAINES                                DANEWOLD 9A STEWKLEY RD                 SOULBURY LEIGHTON BUZZARD   BEDFORDSHIRE   LU7 0DH GREAT BRITAIN
ARTHUR D HAMMER                                34 PRINCETON                                                                                               DEPEW             NY    14043‐2814
ARTHUR D HAWKINS                               1475 HWY 315                                                                                               WATER VALLEY      MS    38965‐3298
ARTHUR D HODGES                                31294 BRAE BURN AV K3                                                                                      HAYWARD           CA    94544‐7695
ARTHUR D HUFFMAN                               R 115 EASTEND RD                                                                                           CONNELLSVILLE     PA    15425
ARTHUR D HUFFMAN CUST FRANKLIN D HUFFMAN       R 115 EAST END RD                                                                                          CONNELLSVILLE     PA    15425
UGMA PA
ARTHUR D MASON                                 703 E 83RD STREET                                                                                          LOS ANGELES       CA    90001‐3603
ARTHUR D MCKNIGHT                              5388 E POTTER ROAD                                                                                         BURTON            MI    48509‐1345
ARTHUR D MONTGOMERY                            5480 MARENGO AVE                        APT 79                                                             LA MESA           CA    91942‐2195
ARTHUR D NANCE                                 2433 WILLOW BEACH                                                                                          KEEGO HARBOR      MI    48320‐1320
ARTHUR D POTTER                                809 N WAVERLY RD                                                                                           LANSING           MI    48917‐2242
ARTHUR D POWERS                                47 E 13TH ST                                                                                               EDMOND            OK    73034‐3930
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 262 of 850
Name                                             Address1                            Address2             Address3          Address4          City               State Zip

ARTHUR D ROBERTSON                               4142 TULLOCK CREEK DR                                                                        CHARLOTTE          NC    28269‐1701
ARTHUR D SEFCOVIC                                8408 GALLANT FOX TRAIL                                                                       FLUSHING           MI    48433‐8826
ARTHUR D SELLERS                                 17906 PUMPKIN CENTER RD                                                                      DANVILLE           IL    61834‐7840
ARTHUR D SINNETT                                 5488 COLUMBIA RD                                                                             MEDINA             OH    44256‐8598
ARTHUR D SMOLINSKI                               29632 VAN LAAN                                                                               WARREN             MI    48092‐4251
ARTHUR D STABILE JR                              3836 POINCIANA DR                                                                            LAKE WORTH         FL    33467‐2952
ARTHUR D STOCKTON                                1645 S COUNTY ROAD 400 W                                                                     GREENCASTLE        IN    46135‐8279
ARTHUR D STRATHERN III                           2420 N FLORIDA ST                                                                            ARLINGTON          VA    22207‐1772
ARTHUR D THOMAS                                  10385 CRONK RD                                                                               LENNON             MI    48449‐9647
ARTHUR D THUMA & RUTH A THUMA JT TEN             10802 PLAINS RTE NO 1                                                                        EATON RAPIDS       MI    48827‐9705
ARTHUR D UNDERWOOD                               145 CHURCH ST                                                                                ST IGNACE          MI    49781‐1601
ARTHUR D WALDROP JR & RICHARD A WALDROP JT TEN   608 OVERVIEW LN                                                                              FRANKLIN           TN    37064‐5556

ARTHUR D WILHELM                                 50 N PERDUE AVE                                                                              NEW CASTLE         DE    19720‐4315
ARTHUR D WUNDERLY & JOAN L WUNDERLY JT TEN       207 ELROSE DR                                                                                PITTSBURGH         PA    15237‐2244

ARTHUR D YATES JR & MRS LORETTA M YATES JT TEN   82 AMBROSIA LN                                                                               SUNRISE BEACH      MO    65079‐7335

ARTHUR DAGUIAR                                   76 DUNCAN ST                                                                                 NEW BEDFORD        MA    02745‐6107
ARTHUR DAGUIAR & MRS CAROLINA DAGUIAR JT TEN     76 DUNCAN ST                                                                                 NEW BEDFORD        MA    02745‐6107

ARTHUR DAVID MAROSI                              5285 OLDE SHAWBORO RD                                                                        GRAND BLANC        MI    48439‐8766
ARTHUR DAVIS JR                                  596 CREDITON                                                                                 LAKE ORION         MI    48362‐2028
ARTHUR DAWSON & DELORES DAWSON JT TEN            1740 VALLEY AVE SW                                                                           WARREN             OH    44485‐4078
ARTHUR DE PRESCA                                 205 BROWNING ST                                                                              CARTHAGE           TX    75633‐2103
ARTHUR DEGROAT                                   2175 MARLOU CT                                                                               SAGINAW            MI    48603‐3707
ARTHUR DESIMONE                                  186 LESLIE DRIVE                                                                             PORTSMOUTH         NH    03801‐3531
ARTHUR DI MARTINO & MRS JOAN DI MARTINO JT TEN   412 FAIRVIEW AVE                                                                             JEANNETTE          PA    15644‐2335

ARTHUR DIMARTINO                                 412 FAIRVIEW AVE                                                                             JEANNETTE          PA    15644‐2335
ARTHUR DIRTH                                     CHESTNUT HILL RD                                                                             ORANGE             MA    01364
ARTHUR DISEGNA                                   9124 SE HAWKS NEST COURT                                                                     HOBE SOUND         FL    33455‐8934
ARTHUR DONALD MEAD & BERNICE E MEAD JT TEN       7825 HARRIS LOOP                                                                             FORT MEADE         MD    20755‐1121

ARTHUR DONOVAN CUST CHRISTINE MARY DONOVAN       1512 JEFFERS RD                                                                              TOWSON             MD    21204‐1931
UGMA MD
ARTHUR DONOVAN CUST DEBRA LYNN DONOVAN           1512 JEFFERS RD                                                                              TOWSON             MD    21204‐1931
UGMA MD
ARTHUR DONOVAN CUST MARY PATRICIA DONOVAN        1512 JEFFERS RD                                                                              TOWSON             MD    21204‐1931
UGMA MD
ARTHUR DROGAN                                    8773 LAGUNA ROYALE PTS                                                                       LAKE WORTH         FL    33467‐6914
ARTHUR DUDLEY JR                                 349 ARTHUR AVE                                                                               APTOS              CA    95003‐5201
ARTHUR E ADAMS JR & KATHERINE Z ADAMS JT TEN     4141 PALMETTO DRIVE                                                                          LEXINGTON          KY    40513‐1304

ARTHUR E AVERY                                   1694 FILLNER AVE                                                                             N TONAWANDA        NY    14120‐3016
ARTHUR E BALL JR                                 110 E CENTER ST                     APT 1302                                                 MADISON            SD    57042‐2908
ARTHUR E BASKERVILLE                             430 ELDRIDGE AVE                                                                             COLUMBUS           OH    43203‐1231
ARTHUR E BAUMAN                                  807 ABUTUS                                                                                   MANISTIQUE         MI    49854‐1607
ARTHUR E BEASLEY                                 10 GARDEN DR                                                                                 WILLISTON          SC    29853‐2218
ARTHUR E BOSETTI                                 1876 MORINGLINE DRIVE                                                                        VERO BEACH         FL    32963
ARTHUR E BOUDREAU                                773 THIRD ST                                                                                 DUNELLEN           NJ    08812‐1146
ARTHUR E BOWMAN                                  385 N CASTLEWOOD CYN RD                                                                      FRANKTOWN          CO    80116
ARTHUR E CLARK & MRS JESSICA L CLARK JT TEN      10421 FLORAL DR                                                                              ADELPHI            MD    20783‐1225
ARTHUR E DILLARD                                 2628 AVIS DRIVE SO                                                                           STERLING HEIGHTS   MI    48310‐5854

ARTHUR E FRENCH III                              12 ENGLEWOOD TERR                                                                            FORTY FORT         PA    18704‐4322
ARTHUR E GRAHAM                                  4390 N IRISH RD                                                                              DAVISON            MI    48423‐8946
ARTHUR E GREEN & LEONA M GREEN JT TEN            332 COUSINTOWN RD                                                                            DEKALB JUNCTION    NY    13630‐4100
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 263 of 850
Name                                             Address1                            Address2              Address3         Address4          City             State Zip

ARTHUR E GREENE                                  37 S SYRACUSE DR                                                                             CHERRY HILL      NJ    08034‐1237
ARTHUR E GWIZDALA                                5491 TURNER ROAD                                                                             TAWAS CITY       MI    48763‐9403
ARTHUR E HAMPTON                                 4321 WILD IVY LN                                                                             SALIDA           CA    95368‐9709
ARTHUR E HAWKINS                                 8128 FRIAR POINT DR                                                                          PORT ARTHUR      TX    77642‐6809
ARTHUR E HAWKINS & BETTY L HAWKINS JT TEN        8128 FRIAR POINT DR                                                                          PORT ARTHUR      TX    77642‐6809
ARTHUR E HOWE                                    5248 EVANS RD                                                                                HOLLY            MI    48442‐9437
ARTHUR E HOWLE JR                                34927 ROYCROFT                                                                               LIVONIA          MI    48154
ARTHUR E JACKSON                                 5040 N HUBBARD LAKE RD                                                                       SPRUCE           MI    48762‐9564
ARTHUR E JOHNSON                                 935 UNION LAKE RD                   APT 401                                                  WHITE LAKE       MI    48386‐4536
ARTHUR E LOKERSON CUST ARTHUR E LOKERSON JR      2306 BALLE LANE                                                                              POINT PLEASANT   NJ    08742‐4314
UTMA NJ
ARTHUR E MARONEY JR                              390 HEIGHTS RD                                                                               RIDGEWOOD        NJ    07450‐2416
ARTHUR E MILES                                   10395 RUSTIC RIDGE                                                                           FENTON           MI    48430‐8432
ARTHUR E MILLER                                  PO BOX S                                                                                     COLEMAN          MI    48618‐0518
ARTHUR E MILLER                                  37545 MUNGER                                                                                 LIVONIA          MI    48154‐1276
ARTHUR E MULLINS                                 2423 N 49TH ST                                                                               KANSAS CITY      KS    66104‐3219
ARTHUR E NELSON & MARCELINE J NELSON JT TEN      18568 KECKLER DRIVE                                                                          STANWOOD         MI    49346
ARTHUR E NORMAN JR                               2225 HILLWOOD                                                                                DAVISON          MI    48423‐9572
ARTHUR E ORTEGON                                 1016 82ND AVENUE                                                                             OAKLAND          CA    94621‐2467
ARTHUR E PARKS III                               11 ICHABOD LN                                                                                MARION           MA    02738‐1003
ARTHUR E PILON                                   6064 CASSON ST                                                                               BROOKSVILLE      FL    34604
ARTHUR E RINIER & MRS MARY Z RINIER JT TEN       2701 REGENCY OAKS BLVD              APT P202                                                 CLEARWATER       FL    33759‐1578
ARTHUR E RINIER & MRS MARY Z RINIER TEN ENT      2701 REGENCY OAKS BLVD              APT P202                                                 CLEARWATER       FL    33759‐1578
ARTHUR E ROBINSON                                2374 HARDING AVE SW                                                                          NEWTON FALLS     OH    44444‐9729
ARTHUR E ROBINSON & GARNET I ROBINSON JT TEN     2374 HARDING AVE SW                                                                          NEWTON FALLS     OH    44444‐9729

ARTHUR E RONCHIE                                 46 CLINTON AVE                                                                               JAMESTOWN        RI    02835‐1204
ARTHUR E SCHMITZ & KATHARINA A SCHMITZ JT TEN    155 WEST BROWN RD                   APT 152                                                  MESA             AZ    85201‐3470

ARTHUR E SIDENSTRICKER                         1541 STATE ROUTE 380                                                                           XENIA            OH    45385‐9789
ARTHUR E SNIDER & JANICE L SNIDER JT TEN       6819 LINTON RD                                                                                 GOSHEN           OH    45122‐9455
ARTHUR E STEVENSON TR ARTHUR E STEVENSON TRUST 2037 MARSH RD                                                                                  ARDEN            DE    19810‐3933
UA 11/12/01
ARTHUR E SWEETEN                               5129 N 200 W                                                                                   KOKOMO           IN    46901‐8290
ARTHUR E SYTEK                                 37916 VALENCIA AVE                                                                             ZEPHYRHILLS      FL    33541‐1342
ARTHUR E SZUBROWSKI CUST JENNIFER LEIGH        5731 OLD CRAIN DR                                                                              BOWIE            MD    20715‐4314
SZUBROUWSKI UGMA MD
ARTHUR E TAPPER                                2338 WRENS NEST ROAD                                                                           RICHMOND         VA    23235‐3670
ARTHUR E TENNANT                               4304 MOORE LN                                                                                  CULLEOKA         TN    38451‐2062
ARTHUR E TESSMER & BARBARA A TESSMER JT TEN    129 N MAIN STREET                                                                              CLINTONVILLE     WI    54929‐1255
ARTHUR E TROMBLEY                              702 FROST DRIVE                                                                                BAY CITY         MI    48706‐3507
ARTHUR E TUCKER                                4167 16TH                                                                                      ECORSE           MI    48229‐1238
ARTHUR E WEISMAN                               100 HATHAWAY RD                                                                                WEST JEFFERSON   OH    43162‐1075
ARTHUR E WELLISLEY                             9650 GENESEE RD                                                                                MILLINGTON       MI    48746‐9731
ARTHUR E WENDEL                                28 GAFFNEY RD                                                                                  LOCKPORT         NY    14094‐5536
ARTHUR E WOOLLEY TR UA 12/17/2005 ALMA S       13 BASSWOOD COURT                                                                              CATONSVILLE      MD    21228
WOOLLEY BYPASS TRUST
ARTHUR E WYCKOFF JR                            306 RANSOM ROAD                                                                                GRAND ISLAND     NY    14072
ARTHUR EARL GRAHAM JR                          PO BOX 633                                                                                     CAMDEN           SC    29020‐0633
ARTHUR EDWARD ROME                             17 CUMBERLAND RD                                                                               LEOMINSTER       MA    01453‐2009
ARTHUR ELLSWORTH                               931 MEL AVE                                                                                    LANSING          MI    48911‐3617
ARTHUR ELMORE & MRS KATHERINE ELMORE JT TEN    1533 SOUTH 11TH ST                                                                             RICHMOND         IN    47374‐6929

ARTHUR EMSIG & MRS MARYANN EMSIG JT TEN          18 SEWARD DR                                                                                 DIX HILLS        NY    11746‐7908
ARTHUR ENRIQUEZ                                  C/O COLLEEN M ENRIQUEZ              2450 SW ABERDEEN ST                                      PORT ST LUCIE    FL    34953‐2536
ARTHUR ESPINOZA                                  1832 PATRICK ST                                                                              YPSILANTI        MI    48198‐6702
ARTHUR EUGENE KRESKA CUST ELIZABETH ANN KRESKA   30247 BERGHWAY TRAIL                                                                         WARREN           MI    48092
UGMA MI
ARTHUR EUGENE ZDENEK                             2129 N OAK RD                                                                                DAVISON          MI    48423‐8116
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 264 of 850
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

ARTHUR EVAN BOSS JR                              348 ACKERMAN AVE                                                                                MOUNTAINSIDE    NJ    07092‐1314
ARTHUR EWTUSHIK                                  1090 THIMBLEBERRY CIRCLE               OSHAWA ON                              L1K 2H2 CANADA
ARTHUR EWTUSHIK                                  1090 THIMBLEBERRY CIRCLE               OSHAWA ON                              L1K 2H2 CANADA
ARTHUR F BIECHLER                                64 HEMLOCK ST                                                                                   FRANKLIN        OH    45005‐1721
ARTHUR F BILLUPS                                 6812 WOODLAKE DR                                                                                TOLEDO          OH    43617‐1141
ARTHUR F BIVINS                                  14626 SAN JUAN DRIVE                                                                            DETROIT         MI    48238‐1973
ARTHUR F BUTLER                                  2323 E CURTIS CT                                                                                GLENDORA        CA    91741‐4003
ARTHUR F FONSECA & ANITA MARQUARD JT TEN         38 PEARL ST                                                                                     MEDFORD         MA    02155
ARTHUR F GILES JR                                124 HIBISCUS PLACE                                                                              RIVER RIDGE     LA    70123‐2506
ARTHUR F GRZEGORCZYK                             2302 LUHRING                                                                                    MIDLAND         MI    48640‐2528
ARTHUR F HACKETT                                 1312 SE 42ND ST                                                                                 CAPE CORAL      FL    33904‐7974
ARTHUR F HIXON                                   107 E 14TH PLACE                                                                                LOMBARD         IL    60148‐4519
ARTHUR F HORVAT & FRANCES HORVAT TR HORVAT       30653 RUSH                                                                                      GARDEN CITY     MI    48135‐3407
FAMILY TRUST UA 10/07/03
ARTHUR F JELINEK                                 2121 ADEL ST                                                                                    JANESVILLE      WI    53546‐3239
ARTHUR F KARNATZ JR                              686 KELLOGG                                                                                     PLYMOUTH        MI    48170‐1707
ARTHUR F LAMEY JR                                2931 KINCAID RD                                                                                 BILLINGS        MT    59101‐9498
ARTHUR F LEWIS & MRS ROSEMARY J LEWIS JT TEN     14138 FARLEY                                                                                    DETROIT         MI    48239‐2831

ARTHUR F LIPHARD & VIRGINIA A LIPHARD JT TEN     143 PRESIDENT TRAIL E                                                                           INDIANAPOLIS    IN    46229‐3509
ARTHUR F LITTLE TR ARTHUR F LITTLE JR REV LIVING PO BOX 327                                                                                      EAST DENNIS     MA    02641‐0327
TRUST UA 10/04/89
ARTHUR F LUKOWICZ & MRS PATRICIA LUKOWICZ JT TEN 445 W MILLERS ROAD                                                                              DES PLAINES     IL    60016‐2636

ARTHUR F MARTZ JR                                4 PIEDMONT DRIVE                                                                                WEST WINDSOR    NJ    08550
ARTHUR F MC LEAN JR                              2836 CHAUTAUQUA AVE                                                                             ASHVILLE        NY    14710‐9729
ARTHUR F MURPHY                                  200 GROSVENOR PL NW                                                                             ATLANTA         GA    30328
ARTHUR F OKARSKI & PATRICIA C OKARSKI JT TEN     3357 ROBINSON RD                                                                                JACKSON         MI    49203‐4964
ARTHUR F PENNER                                  1176 CRANBERRY AVE                                                                              SUNNYVALE       CA    94087‐2001
ARTHUR F PIERCE                                  140 NOTO DRIVE                                                                                  SHERRILL        NY    13461
ARTHUR F RAMSDELL JR CUST CHRISTOPHER K          5 RED ROCK TRL                                                                                  SADDLE RIVER    NJ    07458‐2622
RAMSDELL UGMA NJ
ARTHUR F REED & MARILYN K REED JT TEN            1472 LAWRENCE RD                                                                                HILTON          NY    14468‐9733
ARTHUR F ROACH                                   3324 CALLIE STILL RD                                                                            LAWRENCEVILLE   GA    30045‐8607
ARTHUR F SLIGHTOM                                1070 W JEFFERSON ST                                                                             FRANKLIN        IN    46131
ARTHUR F SMITH                                   26746 ANNAPOLIS                                                                                 INKSTER         MI    48141‐3100
ARTHUR F SMOROL & DORIS R SMOROL JT TEN          5427 LORETTA LN                                                                                 CLAY            NY    13041‐9172
ARTHUR F STRAND & SANDRA L STRAND JT TEN         115 E JAMET ST                         PO BOX 983                                               MACKINAW CITY   MI    49701‐0983
ARTHUR F STRAW                                   10395 BUSCH ROAD                                                                                BIRCH RUN       MI    48415‐9710
ARTHUR F STRAW & MRS MARGARET A STRAW JT TEN     10395 BUSCH RD                                                                                  BIRCH RUN       MI    48415‐9710

ARTHUR F STRAW & SCOTT ARTHUR STRAW JT TEN       10395 BUSCH RD                                                                                  BIRCH RUN       MI    48415‐9710

ARTHUR F TAYLOR                                 39 BURT ST                                                                                       NORTON          MA    02766‐2569
ARTHUR F TAYLOR CUST JANE ANN TAYLOR U/THE MASS 39 BURT ST                                                                                       NORTON          MA    02766‐2569
U‐G‐M‐A
ARTHUR F TOBIN                                  647 STONE DRIVE                                                                                  GREENTOWN       IN    46936‐1176
ARTHUR F TRUDEL JR                              8704 HARNESS TRAIL                                                                               POTOMAC         MD    20854‐2553
ARTHUR F VAN FLEET                              9460 PARALLEL                                                                                    KANSAS CITY     KS    66109‐4328
ARTHUR F VANADIA & ARTHUR F VANADIA JR JT TEN   7196 LINDEN RD                                                                                   SWARTZ CREEK    MI    48473‐9417

ARTHUR F VANADIA JR                              7196 S LINDEN RD                                                                                SWARTZ CREEK    MI    48473‐9417
ARTHUR F VOGEL                                   5815 WILLOW SPRINGS RD                                                                          COUNTRYSIDE     IL    60525‐3480
ARTHUR F VOLLANS & ANNA B VOLLANS JT TEN         PO BOX 726                                                                                      SIASCONSET      MA    02564‐0726
ARTHUR F WISNIEWSKI                              1196 JACK'S LANDING ROAD                                                                        HILLMAN         MI    49746‐9618
ARTHUR F WITTMAN & FLORENCE S WITTMAN JT TEN     72 SHADOW LANE                                                                                  ROCHESTER       NY    14606‐4360

ARTHUR FERRELL                                   951 E GRAND BLVD                                                                                DETROIT         MI    48207‐1964
ARTHUR FINE                                      155 W 81ST ST APT 6J                                                                            NEW YORK        NY    10024‐7218
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                     Part 1 of 8 Pg 265 of 850
Name                                            Address1                              Address2                Address3             Address4            City              State Zip

ARTHUR FORMAN                                   247 WHITE HORSE AVE                                                                                    TRENTON           NJ    08610‐2625
ARTHUR FOSTER JR                                2511 NEEDHAM ST 4566                                                                                   SAGINAW           MI    48601‐1247
ARTHUR FRANKLIN CLEVELAND II                    PO BOX 3126                                                                                            SPARTANBURG       SC    29304
ARTHUR FREDERICK DORNER JR                      18250 N 129TH AVE                                                                                      SUN CITY WEST     AZ    85375‐5006
ARTHUR FREDERICK PATTON                         2603 CHEROKEE PL                                                                                       BIRMINGHAM        AL    35216‐1010
ARTHUR FREDRICKSEN & DOROTHY FREDRICKSEN JT TEN 6 JANET DR                                                                                             NORTH HAVEN       CT    06473‐2926

ARTHUR FRIEND & JEANNE FRIEND JT TEN            2107 SW 22ND CT                                                                                        BOYNTON BEACH     FL    33426‐6531
ARTHUR G BANGERT                                4330 MASTERS ROAD                                                                                      LEAVITTSBURG      OH    44430‐9541
ARTHUR G BARRETT & EILEEN K BARRETT JT TEN      53 BELLMAWR DRIVE                                                                                      ROCHESTER         NY    14624‐4626
ARTHUR G BIRCHENOUGH                            23250 CEDAR POINT RD                                                                                   BROOKPARK         OH    44142‐1021
ARTHUR G BLUE III                               537 PHYLLIS AVE                                                                                        ENTERPRISE        AL    36330‐8849
ARTHUR G BOURCHIER                              30 KINROSS ST                         PASCOE VALE             MELBOURNE VICTORIA   3044 AUSTRALIA
ARTHUR G BRETON                                 4391 WHITE ACRES RD                                                                                    CLARENCE          NY    14031‐1824
ARTHUR G BURKI JR                               PO BOX 334                                                                                             CARTHAGE          MO    64836‐0334
ARTHUR G CALESS                                 174 HARVARD RD                                                                                         BOLTON            MA    01740‐1023
ARTHUR G CALESS & CAROL J CALESS JT TEN         174 HARVARD RD                                                                                         BOLTON            MA    01740‐1023
ARTHUR G COON                                   7266 E POTTER ROAD                                                                                     DAVISON           MI    48423‐9544
ARTHUR G DAHLBERG                               51402 WOODSIDE DR                                                                                      MACOMB            MI    48042
ARTHUR G DASCZYNSKI                             5332 S HICKAM CT                                                                                       COLUMBIA          MO    65203‐9141
ARTHUR G GOVAN                                  12K RIVER RD                                                                                           NUTLEY            NJ    07110‐3426
ARTHUR G GROGG                                  1042 16TH ST                                                                                           WYANDOTTE         MI    48192‐3117
ARTHUR G GUTIERREZ                              P O BX 223                                                                                             TAYLOR SPRGS      IL    62089‐0223
ARTHUR G HOGAN                                  110 DUNDEE DR                                                                                          SYRACUSE          NY    13207‐1007
ARTHUR G IAIA JR & ELLEN T IAIA JT TEN          207 ROBY DRIVE                                                                                         ROCHESTER         NY    14618‐2115
ARTHUR G JOHNSON                                6620 PARKER ROAD                                                                                       FLORRISANT        MO    63033‐5041
ARTHUR G KIRCHOFF JR                            39309 SUPERIOR                                                                                         ROMULUS           MI    48174‐1033
ARTHUR G KOCK                                   54128 AVONDALE DR                                                                                      NEW BALTIMORE     MI    48047‐1009
ARTHUR G MEIER & MRS DOROTHY MEIER JT TEN       1203 N RILEY AVE                                                                                       INDIANAPOLIS      IN    46201‐1859
ARTHUR G MERIWEATHER                            5320 LANCELOT DR                                                                                       INDIANAPOLIS      IN    46228‐2172
ARTHUR G MILLEGE                                PO BOX 1084                                                                                            SAGINAW           MI    48606‐1084
ARTHUR G MOSIER                                 7520 CHILI RIGA CENTER RD                                                                              CHURCHVILLE       NY    14428
ARTHUR G NOIROT SR                              NINE 9TH STREET N E                                                                                    BARBERTON         OH    44203‐3701
ARTHUR G NORD                                   2191 WELL CT                                                                                           EUREKA            CA    95503‐8536
ARTHUR G O'DELL                                 2595 CHESHIRE DRIVE                                                                                    FLORISSANT        MO    63033‐1411
ARTHUR G PETRIDIS                               742 PENNINGTON ST                                                                                      ELIZABETH         NJ    07202‐1104
ARTHUR G PORT                                   2801 N CHEVROLET AVE                                                                                   FLINT             MI    48504‐2888
ARTHUR G SCHWARTZ                               45 COLLEGE GREENE DR                  APT 116                                                          NORTH CHILI       NY    14514‐1248
ARTHUR G SEHNKE JR                              26323 URSULINE                                                                                         ST CLAIR SHORES   MI    48081‐3862
ARTHUR G SIMMONS                                264 HENRY LEWIS RD                                                                                     BREMEN            GA    30110‐4259
ARTHUR G SMITH JR                               410 W ROSETTI DR                                                                                       NOKOMIS           FL    34275‐3545
ARTHUR G SMITH TR EDWARD SMITH MARITAL TRUST    595 BLACK RIVER ROAD                                                                                   CAMDEN            SC    29020‐9336
UA 10/19/03
ARTHUR G WALKER                                 7246 N DORT HWY                                                                                        MT MORRIS         MI    48458‐2234
ARTHUR GEDEON SQUIRES                           1702 HILLCREST DR                                                                                      LAKE              MI    48632‐9025
ARTHUR GENE GRANT                               1510 MORNING ST                                                                                        WINNSBORO         LA    71295‐3017
ARTHUR GEORGE                                   193 S FRANKLIN ST                                                                                      HOLBROOK          MA    02343‐1454
ARTHUR GEORGE EGLE & VIRGINIA MAY EGLE JT TEN   785 ST CLAIR PARKWAY                  CORUNNA ON                                   N0N 1G0 CANADA

ARTHUR GEORGE GOULETTE JR                       379 COREY LN                                                                                           ORTONVILLE        MI    48462‐9707
ARTHUR GERADA & JOYCE C GERADA JT TEN           1228 GREEN RIDGE RD                                                                                    ROCHESTER         MI    48309‐2921
ARTHUR GERALD EDWARDS                           1051 LYMAN RD                                                                                          CHINQUAPIN        NC    28521‐8603
ARTHUR GETZ & LUCILLE GETZ JT TEN               6 STILLWATER LANE                                                                                      NEWBURGH          NY    12550‐8730
ARTHUR GOBER                                    30 THE FARM RD                                                                                         MC DONOUGH        GA    30252‐5618
ARTHUR GRAY                                     PO BOX 25920                          CHRISTENSTED ST CROIX                        US VIRGIN ISLANDS
ARTHUR GREENE & DORIS M GREENE TEN ENT          37 S SYRACUSE DR                                                                                       CHERRY HILL       NJ    08034‐1237
ARTHUR H ANDERSON                               546 HIGH ST                                                                                            CHARLOTTE         MI    48813‐1246
ARTHUR H BARRETT & EDITH E BARRETT JT TEN       1710 GRAND VILLA DR                                                                                    LAGRANGE          KY    40031‐8956
                                            09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 1 of 8 Pg 266 of 850
Name                                          Address1                            Address2             Address3          Address4          City             State Zip

ARTHUR H BIEHLER                              20 NW 161 STREET                                                                             NORTH MIAMI      FL    33169‐6514
                                                                                                                                           BEACH
ARTHUR H BLOSSEY & BARBARA A BLOSSEY JT TEN   7075 NATIVE CIR                                                                              COLORADO SPGS    CO    80919‐5004
ARTHUR H BOTJER                               428 S WILHELM ST                                                                             HOLGATE          OH    43527‐9746
ARTHUR H BOWERS                               1010 WORDEN RD                                                                               WICKLIFFE        OH    44092‐1743
ARTHUR H BROWN                                602 ARSAN AVE                                                                                BROOKLYN         MD    21225‐1918
ARTHUR H CARTER                               5675 HARTFORD                                                                                DETROIT          MI    48210‐1421
ARTHUR H CASSADY                              6528 WASHBURN RD                                                                             GOODRICH         MI    48438‐9762
ARTHUR H CLARE                                14 ITALO LN                                                                                  BERWICK          ME    03901‐2337
ARTHUR H CRIDDLE JR                           19 PENT ROAD AT WEBSTER POINT                                                                MADISON          CT    06443‐3263
ARTHUR H DAUBERT                              1410 LUZ DE CAMINO WA                                                                        EL PASO          TX    79912‐8418
ARTHUR H EKBLAD                               1210 7TH ST SW                                                                               MINOT            ND    58701‐5704
ARTHUR H FOLAND                               1341 TATTERSALL RD                                                                           DAYTON           OH    45459‐2459
ARTHUR H GRAEFF                               7246 PEACAN ST                                                                               MOORPARK         CA    93021‐1668
ARTHUR H GRAEFF                               7246 PECAN ST                                                                                MOORPARK         CA    93021‐1668
ARTHUR H HAMLIN                               PMB 227                             1783 FOREST DR                                           ANNAPOLIS        MD    21401
ARTHUR H HARTMAN JR                           111 DUNCAN STATION RD                                                                        MCKEESPORT       PA    15135‐3303
ARTHUR H HEMBROOK                             189 S COLLIER BLVD                  APT C203                                                 MARCO ISLAND     FL    34145
ARTHUR H HENDEL                               126 CROWTHERS LANE                                                                           HAMILTON         OH    45013‐1778
ARTHUR H HOFMEISTER                           2908 GREGG DR                                                                                BAY CITY         MI    48706‐1225
ARTHUR H HOMEYER CUST AMY HOMEYER UGMA NJ     9 ANDERSON AVE                                                                               ROCKAWAY         NJ    07866‐1109

ARTHUR H HOMEYER JR                           9 ANDERSON AVENUE                                                                            ROCKAWAY         NJ    07866‐1109
ARTHUR H HOMEYER JR CUST BRIAN ALAN HOMEYER   9 ANDERSON AVE                                                                               ROCKAWAY         NJ    07866‐1109
UGMA NJ
ARTHUR H INDISH & EVELYN P INDISH JT TEN      16594 MONTICELLO                                                                             CLINTON TOWNSHIP MI    48038‐4034

ARTHUR H ISAACS                               3013 HAYFIELD DR                                                                             LOUISVILLE       KY    40205‐2871
ARTHUR H JOHNSON                              3 BRAMPTON ST                                                                                GALLOWAY         NJ    08205
ARTHUR H JONES                                7717 GOAT BLUFF DR                                                                           YELLVILLE        AR    72687‐8231
ARTHUR H JONES & M P JONES JT TEN             7717 GOAT BLUFF DR                                                                           YELLVILLE        AR    72687‐8231
ARTHUR H JUHLIN                               630 BARNSDALE ROAD                                                                           LA GRANGE PARK   IL    60526‐5704
ARTHUR H JUHLIN TR U/DECL OF TR 9/4/79        630 BARNSDALE RD                                                                             LA GRANGE        IL    60526‐5704
ARTHUR H KAHN JR                              APT 9‐J                             310 LEXINGTON AVE                                        NEW YORK         NY    10016‐3139
ARTHUR H KLIMACK                              211 PECK RD                                                                                  HILTON           NY    14468‐9320
ARTHUR H LAWSON                               3418 CLIFFORD RD                                                                             CLIFFORD         MI    48727‐9704
ARTHUR H LEAS                                 201 S WASHINGTON STREET                                                                      DE SOTO          MO    63020‐1855
ARTHUR H LEWIS                                128 URBAN ST                        APT 1                                                    BUFFALO          NY    14211‐1359
ARTHUR H METHOT                               1301 N 3RD ST                                                                                LOMPOC           CA    93436‐3636
ARTHUR H MOORE & EDNA C MOORE TR ARTHUR H     6803 SHENANDOAH CT                                                                           ADAMSTOWN        MD    21710‐9640
MOORE FAM TRUST UA 01/20/95
ARTHUR H MUELLER                              940‐H HOPKINS RD                                                                             BUFFALO          NY    14221‐8316
ARTHUR H NELSON                               655 LEISURE WORLD                                                                            MESA             AZ    85206‐3136
ARTHUR H NELSON & HELEN J NELSON JT TEN       655 LEISURE WORLD                                                                            MESA             AZ    85206‐3136
ARTHUR H NOLAND                               507A FAIRWAYS LN                                                                             OCALA            FL    34472
ARTHUR H OLZMANN                              17381 CONTESTI DR                                                                            CLINTON TOWNSHIP MI    48035‐2334

ARTHUR H ORLOWSKI TR ARTHUR H ORLOWSKI TRUST 1725 CORBETT HIGHLANDS PLACE                                                                  ARROYO GRANDE    CA    93420
UA 05/10/95
ARTHUR H OSELAND                                6206 S ILLINOIS AVEE                                                                       CUDAHY           WI    53110‐2927
ARTHUR H PETERSON & MRS MARIE E PETERSON JT TEN 46 BILLINGS DRIVE                                                                          SUPERIOR         WI    54880‐4463

ARTHUR H RAMSTAD                              413 APPLEWOOD LANE                                                                           JANESVILLE       WI    53545‐3284
ARTHUR H ROE                                  319 EUCLID AVE                                                                               ALMA             MI    48801‐1925
ARTHUR H SEELY                                22010 ALGER                                                                                  ST CLAIR SHORES  MI    48080‐2358
ARTHUR H SEELY & MARY A SEELY JT TEN          22010 ALGER ST                                                                               ST CLAIR SHORES  MI    48080‐2358
ARTHUR H SELVIG                               4693 25TH                                                                                    DORR             MI    49323‐9726
ARTHUR H SMITH & MARY C SMITH JT TEN          29742 OLD BEDFORD                                                                            FARMINGTON HILLS MI    48331‐2225
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 267 of 850
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

ARTHUR H STOCKLAS                               7630 MAYBERRY DR                                                                                ST LOUIS        MO    63123‐2768
ARTHUR H WILLIAMS                               1710 E 30TH ST                                                                                  BALTIMORE       MD    21218‐3748
ARTHUR H WOOD                                   4900 NIXON RD                                                                                   DIMONDALE       MI    48821‐9718
ARTHUR H YOUNG                                  BOX 400                                                                                         VANDALIA        IL    62471‐0400
ARTHUR H YOUNG CUST ALLISON P BROWN UTMA IL     PO BOX 400                                                                                      VANDALIA        IL    62471‐0400

ARTHUR H ZIENERT                                6329 DENTON DRIVE                                                                               TROY            MI    48098‐2052
ARTHUR HALL                                     182 TORREY PINES DR                                                                             TOMS RIVER      NJ    08757‐5724
ARTHUR HAYGOOD                                  19637 PELKEY ST                                                                                 DETROIT         MI    48205‐1700
ARTHUR HELLER CUST NATHAN PAUL HELLER UTMA FL   750 KAPPOCK ST                                                                                  BRONX           NY    10463‐4612

ARTHUR HENRY HEIMAN                             PO BOX 150                                                                                      DOBBS FERRY     NY    10522‐0150
ARTHUR HOPKINS CUST MATTHEW C HOPKINS UGMA      18 PINECREST PARKWAY                                                                            HASTINGS        NY    10706‐3704
NY
ARTHUR HUDAK & REBECCA HUDAK JT TEN             105 SHIRLEY DR                                                                                  SCHENECTADY     NY    12304‐2230
ARTHUR HUMPHRIES & PAULA A HUMPHRIES JT TEN     3268 MEANDERWOOD DRIVE                                                                          CANFIELD        OH    44406‐8633

ARTHUR I FOX                                    50‐56 BROADLAWN PARK                   APT 307                                                  CHESTNUT HILL   MA    02467‐3510
ARTHUR I S NELSON                               PO BOX 601                                                                                      MONTROSE        MI    48457‐0601
ARTHUR I STOTTLEMYRE                            43 FERNBARRY ST                                                                                 WATERFORD       MI    48328‐3112
ARTHUR I TURK                                   17030 COUNTESS PL                                                                               ENCINO          CA    91436‐3501
ARTHUR ILARDI & GRACE ILARDI JT TEN             761 EAST BAFFIN DRIVE                                                                           VENICE          FL    34293‐1332
ARTHUR ISAAC                                    12 BELLINGHAUS LN                                                                               GREENSBORO      NC    27455‐2497
ARTHUR J ACKERMAN                               520 BARFIELD RD                                                                                 ELGIN           SC    29045
ARTHUR J ANTONIO & GERTRUDE M ANTONIO JT TEN    121 PAWNEE COURT                                                                                NEWARK          DE    19702

ARTHUR J APPLEGARTH                             11459 BEARD ROAD                                                                                NEW SPRINGFLD   OH    44443‐9723
ARTHUR J ASHTON                                 79 UNION ST                                                                                     SALEM           NJ    08079‐1741
ARTHUR J AUSPAKER & ANNA F AUSPAKER JT TEN      30 MARIDON LANE                                                                                 COMMACK         NY    11725‐1916
ARTHUR J BAHL & DOROTHY M BAHL TEN ENT          3854 HARPEN RD                                                                                  PITTSBURGH      PA    15214‐1946
ARTHUR J BISONE                                 190 VILLA AVE                                                                                   BUFFALO         NY    14216‐1339
ARTHUR J BLECKINGER                             464 TAULMAN RD                                                                                  ORANGE          CT    06477‐3016
ARTHUR J BODDY                                  1432 SE 33RD TER                                                                                CAPE CORAL      FL    33904‐4277
ARTHUR J BOYLE JR & JO ANNE W BOYLE JT TEN      BOX 400                                                                                         LAUGHLINTOWN    PA    15655‐0400
ARTHUR J BROCK JR                               49673 TIMBER TRAIL                                                                              NOVI            MI    48374‐2162
ARTHUR J BROWN                                  PO BOX 227                                                                                      PARISH          NY    13131‐0227
ARTHUR J BURKE JR                               1025 HIGHLAND AVE                                                                               ABINGTON        PA    19001‐4506
ARTHUR J BUSH                                   18 SUNSET RIDGE CIR                                                                             POMONA          CA    91766‐4940
ARTHUR J CANNON CUST ARTHUR J CANNON JR UTMA    5416 DEEPDALE WAY                                                                               ELKGROVE        CA    95758‐6835
WA
ARTHUR J CANNON CUST KATHLEEN K CANNON UTMA     5416 DEEPDALE WAY                                                                               ELKGROVE        CA    95758‐6835
WA
ARTHUR J CHARLIER                               25067 FLACH RD                                                                                  MENDON          MI    49072‐9760
ARTHUR J CHRISTIAN                              754 OLIVE ST                                                                                    ROEBLING        NJ    08554‐1924
ARTHUR J CICALO                                 2048 SILVER CREEK DR                                                                            PRESCOTT        MI    48756‐9276
ARTHUR J COLE & MRS DONNA A COLE JT TEN         478 COUNTY ROAD 579                                                                             MILFORD         NJ    08848‐2130
ARTHUR J CORRADO                                1222 WATERFORD ROAD                                                                             WEST CHESTER    PA    19380‐5861
ARTHUR J CORRADO & LENORE P CORRADO JT TEN      1222 WATERFORD RD                                                                               WEST CHESTER    PA    19380‐5861

ARTHUR J CROTEAU                                9480 LOUIS                                                                                      DETROIT          MI   48239‐1751
ARTHUR J DE COOK & CAROL J DE COOK JT TEN       37870 WEST HORSESHOE DRIVE                                                                      CLINTON TOWNSHIP MI   48036‐1734

ARTHUR J DE COOK JR                             1067 MORAN DR                                                                                   ROCHESTER       MI    48307‐6083
ARTHUR J DEARLOVE JR                            1337 CHISWICK DR                                                                                WEST CHESTER    PA    19380‐3901
ARTHUR J DEMBIK                                 16 NORTHEAST RD                                                                                 FARMINGTON      CT    06032
ARTHUR J DI ROCCO                               30 WEST KIDDER STREET                                                                           PORTLAND        ME    04103‐4935
ARTHUR J DIXON                                  419 HIGHWOOD ST                                                                                 JACKSON         MS    39209‐2118
ARTHUR J DROZD & PHYLLIS A DROZD JT TEN         86 LAURENTIAN DR                                                                                BUFFALO         NY    14225‐2756
ARTHUR J DRYJA                                  34 NANDALE DRIVE                                                                                BUFFALO         NY    14227‐1812
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 268 of 850
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

ARTHUR J FARMER & DONNA K FARMER JT TEN         1680 BERRY LN SW                                                                                SNELLVILLE      GA    30078‐5904
ARTHUR J FLANAGAN                               19437 S OAKLEY RD                                                                               OAKLEY          MI    48649‐9794
ARTHUR J GALLIGAN                               12350 AVALON DR                                                                                 GRAFTON         OH    44044‐9555
ARTHUR J GARDNER                                16706 GREENLAWN                                                                                 DETROIT         MI    48221‐2937
ARTHUR J GASKINS                                5147 CHIPMAN                                                                                    WATERFORD       MI    48327‐3231
ARTHUR J GEORGER                                5401 JEFFERSON ST                                                                               YORBA LINDA     CA    92886‐4815
ARTHUR J GOGUEN                                 173 PRINCETON AVE                                                                               WALTHAM         MA    02451‐0942
ARTHUR J GREEN                                  10033 E H J AVE                                                                                 GALESBURG       MI    49053‐9713
ARTHUR J GUEVARA                                6073 NORTH RIVER                                                                                FREELAND        MI    48623‐8508
ARTHUR J HALL                                   13552 NW 160TH AV                                                                               MORRISTON       FL    32668‐7009
ARTHUR J HANNAN & MARILYN A WILLIAMS JT TEN     83 CRESCENT STREET                                                                              GREENFIELD      MA    01301‐3007

ARTHUR J HEYDERMAN CUST CATHY HEYDERMAN         1430 CRAPLER CT                                                                                 BETTENDORF      IA    52722
UGMA NJ
ARTHUR J HINTZMAN                               3807 YOUNG RD                                                                                   ROCHESTER       IL    62563‐8024
ARTHUR J HOLTON                                 12091 COLLEGE                                                                                   DETROIT         MI    48205‐3313
ARTHUR J HONIGBAUM                              585 COEUR DE ROYALE                                                                             SAINT LOUIS     MO    63141‐6926
ARTHUR J HULSMAN JR                             12685 LARKSPUR LANE                                                                             CAMBRIDGE       OH    43725‐9100
ARTHUR J HUOT                                   12930 BLANCA AVE W                                                                              ROSEMOUNT       MN    55068‐3648
ARTHUR J JABURY                                 1697 HILLMOUNT N W                                                                              GRAND RAPIDS    MI    49504‐2634
ARTHUR J JANSSEN                                PO BOX 22202                                                                                    OKLAHOMA CITY   OK    73123‐1202
ARTHUR J JENKINS                                512 OAKDALE CIR                                                                                 ELYRIA          OH    44035‐0907
ARTHUR J JOHNSON                                8010 NOEL CT                                                                                    SAINT LOUIS     MO    63130‐1244
ARTHUR J JOSEPH JR                              10 BURNS LN                                                                                     NORWELL         MA    02061‐1446
ARTHUR J KAMINSKI                               5240 UPPER HOLLEY                                                                               HOLLEY          NY    14470‐9764
ARTHUR J KARLEY                                 48 CAMPFIRE RD N                                                                                HENRIETTA       NY    14467‐9521
ARTHUR J KING                                   16240 US 12                                                                                     CEMENT CITY     MI    49233‐9708
ARTHUR J KROENKE                                3980 E JACKSON DR                                                                               INDEPENDENCE    MO    64057‐2205
ARTHUR J KROENKE                                207 NW BIRCH ST                                                                                 LEES SUMMIT     MO    64064‐1459
ARTHUR J LATZKO                                 165 NORMANDY DR                                                                                 PISCATAWAY      NJ    08854‐3625
ARTHUR J LAWRENCE                               15HIGH STREET                                                                                   WALLINGFORD     CT    06492‐3120
ARTHUR J LEACH                                  3984 ARTMAR                                                                                     YOUNGSTOWN      OH    44515‐3304
ARTHUR J LESTER JR                              PO BOX 164                                                                                      CLIFFORD        MI    48727‐0164
ARTHUR J LYNCH                                  6305 SUN DELL CIR                                                                               BLACKSHEAR      GA    31516‐4972
ARTHUR J MARSIK                                 15324 MUSKINGUM                                                                                 BROOKPARK       OH    44142‐2324
ARTHUR J MC KINNON JR                           77 MERCER AV                                                                                    BUFFALO         NY    14214‐1821
ARTHUR J MCCAHILL                               8506 MIDDLE VALLEY RD                                                                           HIXSON          TN    37343‐1334
ARTHUR J MCNEIL                                 1839 S CROSBY AVE                                                                               JANESVILLE      WI    53546‐5615
ARTHUR J MERLO & PEGGY A MERLO JT TEN           1384 PEORI PL                                                                                   N BRUNSWICK     NJ    08902‐1605
ARTHUR J METZLER                                609 E ATHERTON RD                                                                               FLINT           MI    48507‐2796
ARTHUR J MIGNONE & LORRAINE MIGNONE JT TEN      MEAD POND LANE                                                                                  RYE             NY    10580

ARTHUR J MILLER JR                              11139 OLIVE                                                                                     WARREN          MI    48093‐6557
ARTHUR J MILLER JR                              14078 TAFT                                                                                      SPRING LAKE     MI    49456‐9521
ARTHUR J MOFFI                                  112 WEST ST                                                                                     MILFORD         MA    01757‐3016
ARTHUR J MORENZ                                 152 BRANCH RD                                                                                   THOMASTON       CT    06787‐1918
ARTHUR J MOZADER & EUNICE MOZADER JT TEN        5357 MCDOWELL ROAD                                                                              LAPEER          MI    48446‐8049
ARTHUR J MUSCOLINO                              82 OLIVIA CIRCLE                                                                                ROCHESTER       NY    14626‐4302
ARTHUR J MUSCOLINO & ROSEMARIE MUSCOLINO JT     82 OLIVIA CIRCLE                                                                                ROCHESTER       NY    14626‐4302
TEN
ARTHUR J NATTANS                                11244 LIBERTY RD                                                                                OWINGS MILLS    MD    21117‐4604
ARTHUR J NEWBY                                  3116 CASS LAKE AVE                                                                              KEEGO HARBOR    MI    48320‐1203
ARTHUR J NOEL & JEAN SCHWARTZ JT TEN            42 LAKEVIEW AVE                                                                                 SCARSDALE       NY    10583‐5115
ARTHUR J OSENTOSKI                              2310 S FLETCHER RD                                                                              CHELSEA         MI    48118‐9620
ARTHUR J OSTERMAN                               10325 FARRAND RD                                                                                MONTROSE        MI    48457‐9733
ARTHUR J PACKARD                                1903 GALKE COURT                                                                                BAY CITY        MI    48708‐8162
ARTHUR J PACKARD & JEAN L PARCKARD JT TEN       1903 GALKE CT                                                                                   BAY CITY        MI    48708‐8162
ARTHUR J PALUMBO                                195 E PASSAIC AVE                                                                               BLOOMFIELD      NJ    07003‐3832
ARTHUR J PERKINS JR                             2143 HEATHER WAY                                                                                GLADWIN         MI    48624‐8607
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 269 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

ARTHUR J PORTER                                 9611 HOLTON AVE                                                                                  CLEVELAND         OH    44104‐4519
ARTHUR J PRESS CUST MERYL PRESS UGMA PA         405 COTSWOLD LANE                                                                                WYNNEWOOD         PA    19096‐2301
ARTHUR J RABINOWITZ & FREDA M RABINOWITZ JT TEN 230 WATERFORD J                                                                                  DELRAY BEACH      FL    33446‐1242

ARTHUR J RAYMOND                                  1731 KILBURN RD N                                                                              ROCHESTER HILLS   MI    48306‐3033
ARTHUR J REVOLINSKI & DIANE E REVOLINSKI JT TEN   3665 HAWKSHEAD DRIVE                                                                           CLERMONT          FL    34711‐6942

ARTHUR J ROONEY JR & KATHLEEN K ROONEY JT TEN     1190 WASHINGTON RD                                                                             PITTSBURGH        PA    15228‐1817

ARTHUR J ROSE III                                 31851 MOUND RD                                                                                 WARREN            MI    48092‐4742
ARTHUR J SCHWARTZ & RUTH A SCHWARTZ JT TEN        2013 E RICE DRIVE                                                                              TEMPE             AZ    85283‐2426

ARTHUR J SCRIVEN                                  26 BRINKWORTH ST                      SOUTH PLYMPTON       SA                5038 AUSTRALIA
ARTHUR J SHEPARD                                  1920 WALDREP LOOP                                                                              LEIGHTON          AL    35646‐4918
ARTHUR J SHEPARD                                  4165 SLEIGHT RD                                                                                BATH              MI    48808‐9407
ARTHUR J SHOWS JR                                 115 BIG BUCK RIDGE                                                                             BRANDON           MS    39042
ARTHUR J SIMPSON JR                               2813 COMANCHE AVE                                                                              FLINT             MI    48507‐1852
ARTHUR J SMITH                                    4541 VELMA CIR                                                                                 MONTGOMERY        AL    36108‐4251
ARTHUR J SMITH & LILLIAN A SMITH JT TEN           15 SHORT HILL DR                                                                               POUGHKEEPSIE      NY    12603‐1718
ARTHUR J STAHNTEN CUST MICHAEL STAHNTEN UTMA      89 REDWOOD LANE                                                                                FREEHOLD          NJ    07728‐2959
NJ
ARTHUR J SUTTER                                   17001 SANDY POINT RD                                                                           CHARLES CITY      VA    23030‐4308
ARTHUR J TOMKO                                    2865 LOMAN AVENUE                                                                              YORK              PA    17404‐9478
ARTHUR J TOPPA JR                                 4813 NORWAY ST                                                                                 OSCODA            MI    48750
ARTHUR J VINCENTINI                               18895 LEXINGTON                                                                                REDFORD           MI    48240‐1944
ARTHUR J WAKELEY & CYNTHIA J WAKELEY JT TEN       4624 HOMESTEAD RD                                                                              GRAYLING          MI    49738
ARTHUR J WEBER                                    1230 NO FRENCH RD                                                                              NO TONAWANDA      NY    14228‐1983
ARTHUR J WYZGOSKI                                 2045 HIGHFIELD RD                                                                              WATERFORD         MI    48329‐3828
ARTHUR JACK DAHLGREN                              9137 BAYSINGER                                                                                 DOWNEY            CA    90241‐2722
ARTHUR JAMES SULLIVAN                             38216 WESTLAND                                                                                 CLINTON TWP       MI    48036‐2978
ARTHUR JAY TURKEL                                 1536 57TH ST                                                                                   BROOKLYN          NY    11219
ARTHUR JOHN KRANZ                                 8927 SE MARINA BAY DR                                                                          HOBE SOUND        FL    33455‐2955
ARTHUR JOHN WETZEL TRIPLE E EQUIPMENT CO          269 VETERANS MEMORIAL HWY                                                                      MABLETON          GA    30126
ARTHUR JOHNSON                                    4493 BUCKSPORT COURT                                                                           DAYTON            OH    45440‐4416
ARTHUR JOHNSON JR & LIESELOTTE JOHNSON TEN ENT    PO BOX 550                                                                                     SOULSBYVILLE      CA    95372‐0550

ARTHUR JORDAN & ANN MARIE JORDAN JT TEN           C/O ANN MARIE TURO                    26 CUMBERLAND ST                                         BOSTON            MA    02115‐5306
ARTHUR JOSEPH DUMAIS CUST TIFFANY MONTINE         112 HAMPTON LAKE DRIVE                                                                         PELHAM            AL    35124
DUMAIS UGMA AL
ARTHUR JOSEPH MATHEWS JR                          127 CLIFF COURT                                                                                SOUTHERN PINES    NC    28387‐6601
ARTHUR JOUPPI                                     6751 PARKLAND                                                                                  DEARBORN HGTS     MI    48127‐2526
ARTHUR JULKS                                      PO BOX 341                                                                                     CARROLLTON        MI    48724‐0341
ARTHUR K CARSTENSEN                               9 CARTERET ST                                                                                  SI                NY    10307‐1604
ARTHUR K KINDBERG‐TACHIKAWA                       PO BOX 1785                                                                                    VALLEY CENTER     CA    92082‐1785
ARTHUR K KOSKINEN & MRS RUTH T KOSKINEN JT TEN    22 KNOLLWOOD DR                                                                                PERRYSBURG        OH    43551‐3108

ARTHUR K LING                                     531 CAMINO VERDE                                                                               SOUTH PASADENA    CA    91030‐4137

ARTHUR K LING & HELEN Y LING JT TEN               531 CAMINO VERDE                                                                               S PASADENA        CA    91030‐4137
ARTHUR K MIDDAUGH                                 5186 W STONES CROSSING RD                                                                      GREENWOOD         IN    46143
ARTHUR KARMEN & MRS MARCIA KARMEN JT TEN          110 COLONIAL PKWY                                                                              MANHASSET         NY    11030‐1833
ARTHUR KATZ & MRS LOIS JEAN KATZ JT TEN           7721 KEDVALE                                                                                   SKOKIE            IL    60076‐3601
ARTHUR KNESBACH & DIANE KNESBACH JT TEN           5230 JASON STREET                                                                              HOUSTON           TX    77096‐1315
ARTHUR KOWALKOWSKI                                909 19TH                                                                                       BAY CITY          MI    48708‐7270
ARTHUR KRASS                                      1715 OCEAN PARKWAY                                                                             BROOKLYN          NY    11223‐2048
ARTHUR KRAWCHUK & DOLORES C KRAWCHUK JT TEN       6075 MABLEY HILL ROAD                                                                          FENTON            MI    48430‐9402

ARTHUR L ANDERSON                                 164 EAGLE RIDGE DR                                                                             WAVERLY           IA    50677‐4374
ARTHUR L ARMSTRONG                                1202 LONGFELLOW                                                                                ROYAL OAK         MI    48067‐4502
                                        09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                               Part 1 of 8 Pg 270 of 850
Name                                          Address1                          Address2             Address3          Address4          City              State Zip

ARTHUR L ASHLEY                               3988 BENITEAU                                                                              DETROIT           MI    48214‐1600
ARTHUR L BACON                                5990 CANAAN WOODS DR                                                                       ATLANTA           GA    30331‐8056
ARTHUR L BASS                                 1632 PLEASANT RUN                                                                          KELLER            TX    76248‐5381
ARTHUR L BEABOUT II                           2027 MILTON‐NEWTON RD                                                                      NEWTON FALLS      OH    44444‐9302
ARTHUR L BENDALL & ALMA C BENDALL JT TEN      8507 JOSEPH ST                                                                             GRAND BLANC       MI    48439‐8302
ARTHUR L BEST SR & NANCY S BEST JT TEN        921 EDGEWOOD AVE                                                                           LANCASTER         PA    17603‐4857
ARTHUR L BLAIR & GERALDINE P BLAIR JT TEN     4261 OAKRIDGE DR NW                                                                        GRAND RAPIDS      MI    49544‐7923
ARTHUR L BLOODWORTH & DORIS M BLOODWORTH JT   5267 ROSTRAVER CT                                                                          SHELBY TOWNSHIP   MI    48316‐5237
TEN
ARTHUR L BONHAM                               RR 1 BOX 310                                                                               HONESDALE         PA    18431‐9710
ARTHUR L BRANNON                              3013 BEGOLE                                                                                FLINT             MI    48504‐2915
ARTHUR L BRYANT                               22 RAVENWOOD                                                                               ROCHESTER         NY    14624‐4457
ARTHUR L BURKENBINE                           81063 ROLLINS LN                                                                           HERMISTON         OR    97838‐6281
ARTHUR L BURNLEY                              210 CARLTON DRIVE                                                                          ROCKMART          GA    30153‐1502
ARTHUR L BURNS                                4214 KELLAR AVE                                                                            FLINT             MI    48504‐2163
ARTHUR L CAIN                                 4260 BURNING BUSH RD                                                                       RINGGOLD          GA    30736‐5728
ARTHUR L CAIN & MRS MARTHA B CAIN JT TEN      4260 BURNING BUSH RD                                                                       RINGGOLD          GA    30736‐5728
ARTHUR L CHESTNUT                             1019 N 8TH STREET                                                                          TERRE HAUTE       IN    47807‐1515
ARTHUR L CLIATT                               PO BOX 5152                                                                                SAGINAW           MI    48603‐0152
ARTHUR L COPELAND                             2924 SUNRISE AVE                                                                           CHESAPEAKE        VA    23324‐3941
ARTHUR L DECKER                               G11355 S VASSAR RD                                                                         HOLLY             MI    48442
ARTHUR L DETTLOFF JR                          514 N HOME PL                                                                              CHANDLER          AZ    85224‐4240
ARTHUR L DIXON                                1138 ENGLEWOOD AVE #LWR                                                                    BUFFALO           NY    14223‐1902
ARTHUR L DREW                                 4782 W 55TH                                                                                TROY              OH    45373
ARTHUR L ERICKSON                             3199 PINEHILL PLACE                                                                        FLUSHING          MI    48433‐2451
ARTHUR L ERNST                                510 ACKERMAN PLACE                                                                         XENIA             OH    45385‐2418
ARTHUR L EVERETTE                             PO BOX 481                                                                                 BUFFALO           NY    14240‐0481
ARTHUR L FAIR                                 634 FIRST ST                                                                               PONTIAC           MI    48055
ARTHUR L FALK                                 W5003 COUNTY RD S                                                                          HORICON           WI    53032‐9714
ARTHUR L FRICK                                3864 HALSEY PL                                                                             COLUMBUS          OH    43228‐2117
ARTHUR L FRICK JR                             2173 CLARA MATHIS RD                                                                       SPRING HILL       TN    37174‐2544
ARTHUR L FUST JR & WILMA L FUST JT TEN        2809 FISHERVILLE RD                                                                        FISHERVILLE       KY    40023
ARTHUR L GLASSTETTER                          1334 PROPER AVE                                                                            FLINT             MI    48529‐2042
ARTHUR L GOOSSEN                              1509 3 MILE NE                                                                             GRAND RAPIDS      MI    49505‐3429
ARTHUR L GROENKE                              16322 BARBER CREEK                                                                         KENT CITY         MI    49330‐9734
ARTHUR L GUIDROZ                              PO BOX 473                                                                                 PARADISE          CA    95967‐0473
ARTHUR L GUIDROZ & VERNA M GUIDROZ JT TEN     PO BOX 473                                                                                 PARADISE          CA    95969‐3208
ARTHUR L HEARNS                               PO BOX 777                                                                                 SAINT HELEN       MI    48656‐0777
ARTHUR L HENRY                                6451 WESTERN WAY                                                                           FLINT             MI    48532‐2052
ARTHUR L HOBLEY                               4208 CRESTVIEW LN                                                                          MANSFIELD         TX    76063
ARTHUR L HOLBROOK                             7422 IRWINGROVE DR                                                                         DOWNEY            CA    90241‐2163
ARTHUR L HOOBERMAN                            2312 HARTZELL                                                                              EVANSTON          IL    60201‐1402
ARTHUR L HUNTER SR                            832 BELMONT AVE                                                                            FLINT             MI    48503‐2741
ARTHUR L JACKSON                              89 COURT                                                                                   PONTIAC           MI    48342‐2507
ARTHUR L JAMES                                120 COLLIER RD                                                                             AUBURN HILLS      MI    48326‐1402
ARTHUR L JENT                                 2324 N 200 E                                                                               ANDERSON          IN    46012‐9621
ARTHUR L JOHNSON                              902 W TILLMAN ST                                                                           DOUGLAS           GA    31533‐2416
ARTHUR L LECURU                               19715 ELIZABETH                                                                            ST CLAIR SHRS     MI    48080‐3351
ARTHUR L LEEK                                 1248 AIRPORT ROAD                                                                          WARREN            OH    44481‐9319
ARTHUR L LENTNER                              10233 MAPLE ST                                                                             PRESQUE ISLE      MI    49777‐8311
ARTHUR L LOWE                                 935 HERRING AVE                                                                            MANSFIELD         OH    44906‐1653
ARTHUR L MARTIN                               517 CHRISTIAN CI                                                                           SENOIA            GA    30276‐1574
ARTHUR L MCCLURE                              503 JORDAN RD                                                                              BOWIE             TX    76230‐7020
ARTHUR L MILLER JR                            8807 N 1000 EAST                                                                           WILKINSON         IN    46186‐9785
ARTHUR L NEAL                                 2319 EASTERN AVE SE                                                                        GRAND RAPIDS      MI    49507‐3232
ARTHUR L OTOOLE                               773 EMERALD BAY DR                                                                         FAIRFIELD         CA    94534‐4023
ARTHUR L PARKS                                3818 SOUTH DRIVE                                                                           FORT WAYNE        IN    46815‐4728
ARTHUR L PAUL & MRS IRENE E PAUL JT TEN       4342 PHEASENT DR                                                                           FLINT             MI    48506‐1772
ARTHUR L PECK JR                              1308 ARUNDEL DRIVE                                                                         KOKOMO            IN    46901
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 271 of 850
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

ARTHUR L RALPH                                    222 HUFFMAN ST                          APT 1                                                    GEORGETOWN        IL    61846‐1426
ARTHUR L RATLIFF                                  625 BLOOMFIELD AVE                                                                               PONTIAC           MI    48341‐2715
ARTHUR L REDDICK                                  4169 9TH ST                                                                                      ECORSE            MI    48229‐1207
ARTHUR L RICHARDSON                               366 E CAREY                                                                                      KNIGHTSTOWN       IN    46148‐1208
ARTHUR L RICHARDSON & SHIRLEY M KEITH JT TEN      366 E CAREY                                                                                      KNIGHTS TOWN      IN    46148‐1208

ARTHUR L RITTER                                   6100 S ANDERSON RD                                                                               OKLAHOMA CITY     OK    73150
ARTHUR L ROBY JR                                  6313 LAFLEUR DRIVE                                                                               SHREVEPORT        LA    71119‐6214
ARTHUR L RODRIQUEZ                                3413 WILLOWBROOK DR                                                                              FT WORTH          TX    76133‐4218
ARTHUR L RYAN                                     545 SEWARD ST                                                                                    SEWARD            PA    15954‐3034
ARTHUR L SAGONE JR & JUDITH M SAGONE JT TEN       1234 SOUTHPORT DR                                                                                COLUMBUS          OH    43235‐7644
ARTHUR L SCHREIBER & EDITH R SCHREIBER JT TEN     6745 WEST FARM ACRES DR                                                                          CINCINNATI        OH    45237‐3619

ARTHUR L SCOTT                                    7482 E CR 900 S                                                                                  CLOVERDALE        IN    46120‐9061
ARTHUR L SCOTT & CAROLYN SCOTT JT TEN             17482 EAST COUNTY ROAD 900 S                                                                     CLOVERDALE        IN    46120
ARTHUR L SEKOL JR                                 20 OLD IVY CIRCLE                                                                                ROCHESTER         NY    14624‐4716
ARTHUR L SHAFER JR                                5681 BANCROFT RD                                                                                 DURAND            MI    48429‐9153
ARTHUR L SHIREY JR                                237 LOCHMOOR                                                                                     TEMPERANCE        MI    48182‐2308
ARTHUR L SLASINSKI & WANDA SLASINSKI JT TEN       13900 LAKESIDE BLVD N                   APT 129                                                  SHELBY TOWNSHIP   MI    48315‐6064

ARTHUR L SMITH                                    6600 CO RD 2570                                                                                  WEST PLAINS       MO    65775‐4837
ARTHUR L SMITH                                    3630 N LESLEY AVENUE                                                                             INDIANAPOLIS      IN    46218‐1856
ARTHUR L SPENCER JR & MRS BERJOUHI SPENCER JT TEN 38 POND VIEW LANE WEST                                                                           CHATHAM           MA    02633‐1887

ARTHUR L STARRING                                 1327 CLEARPOINT DR                                                                               HIXSON            TN    37343‐4402
ARTHUR L TARBUTTON                                307 STACIE LANE                                                                                  MISSION           TX    78572‐2362
ARTHUR L TAYLOR                                   4276 SHERIDAN                                                                                    LENNON            MI    48449
ARTHUR L TAYLOR                                   219 PARK AVENUE                                                                                  PISCATAWAY        NJ    08854‐4846
ARTHUR L TERRY                                    304 MARTIN LUTHER KING JR BLVD S                                                                 PONTIAC           MI    48342‐3338
ARTHUR L THOMAS                                   1151 W 2ND ST                                                                                    DAYTON            OH    45402‐6823
ARTHUR L THOMPSON                                 18514 ROSELAWN                                                                                   DETROIT           MI    48221‐2182
ARTHUR L TIFFANY & FAYE L TIFFANY JT TEN          26436 FEATHERSOUND DR                                                                            PUNTA GORDA       FL    33955‐4713
ARTHUR L VAUGHAN                                  930 W MOUNTAIN VIEW DR                                                                           KINGMAN           AZ    86409‐6981
ARTHUR L VROMAN                                   12325 WILSON DR                                                                                  CARLETON          MI    48117‐9234
ARTHUR L WALLS                                    165 CHRISTIANA ROAD                                                                              NEW CASTLE        DE    19720‐3040
ARTHUR L WARD                                     4060 LOUELLA                                                                                     WATERFORD         MI    48329‐4123
ARTHUR L WARREN JR                                4584 ISLAND PARK DRIVE                                                                           WATERFORD         MI    48329‐1922
ARTHUR L WARREN JR                                395 WOODSTONE RD                                                                                 WATERFORD         MI    48327‐1770
ARTHUR L WASHINGTON                               2570 IOWA AVE                                                                                    SAGINAW           MI    48601‐5415
ARTHUR L WELLS                                    169 AUSTIN RYAN DRIVE                                                                            KINGSLAND         GA    31548‐6190
ARTHUR L WHITE                                    1447 GATTEGNO                                                                                    YPSILANTI         MI    48198‐6509
ARTHUR L WHITEHEAD                                20 KIMANN DR                                                                                     TERRYVILLE        CT    06786‐4622
ARTHUR L WILLIAMS                                 52 CLERK STREET                                                                                  JERSEY CITY       NJ    07305‐4306
ARTHUR LANIER & DOROTHY J LANIER JT TEN           1480 PARADON PARKWAY                                                                             BIRMINGHAM        AL    35235
ARTHUR LAWTON III & JOAN K LAWTON JT TEN          2057 FRANKLIN ST                                                                                 ROCK HILL         SC    29732‐1620
ARTHUR LEE FOLEY III                              2109 E BAY DR                                                                                    OLYMPIA           WA    98506‐3254
ARTHUR LEE GASTON                                 P O DRAWER 608                                                                                   CHESTER           SC    29706‐0608
ARTHUR LEE HOLT                                   1115 S STATE ST                                                                                  OWOSSO            MI    48867‐4252
ARTHUR LEE MINNEFIELD & PATRICIA ELAINE           11119 CABRIOLET RUN                                                                              FORT WAYNE        IN    46845‐2107
MINNEFIELD JT TEN
ARTHUR LEE SMITH                                  36761 CLEARWOOD CT                                                                               PALMDALE          CA    93550‐8523
ARTHUR LEE STARKS                                 67 OBRIEN DR                                                                                     LOCKPORT          NY    14094‐5112
ARTHUR LEE THOMPSON                               1400 ROBINSON RD                                                                                 CANTON            MS    39046‐9139
ARTHUR LEE WAGNER                                 97‐40 62ND DR APT 9F                                                                             REGO PARK         NY    11374‐1329
ARTHUR LEIBOWITZ                                  165 LA SALLE DR                                                                                  YONKERS           NY    10710‐3124
ARTHUR LELAND SORENSEN                            8192 NIXON AVE BOX 132                                                                           MT MORRIS         MI    48458‐1310
ARTHUR LEOTIS FRANKS                              2727 CROWN POINTE CIR                   APT 125                                                  ANDERSON          IN    46012‐3265
ARTHUR LIANG                                      P OBOX 16871                                                                                     IRVINE            CA    92623
ARTHUR LILIENTHAL                                 585 W END AVE                                                                                    NEW YORK          NY    10024‐1715
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 272 of 850
Name                                            Address1                              Address2             Address3          Address4          City           State Zip

ARTHUR LIZOTTE                                  5068 N COUNTRY DR                                                                              LAKE CITY      MI    49651‐8938
ARTHUR LOEWY CUST CARY E LOEWY UGMA MI          4321 SHAD DR                                                                                   SEBRING        FL    33870‐8463
ARTHUR LOUIS JACK                               1655 FALTBUSH AVENUE                  APT B‐1204                                               BROOKLYN       NY    11210‐3282
ARTHUR LUBITZ                                   205 W END AVE                         APT 17G                                                  NEW YORK       NY    10023‐4811
ARTHUR LUBRANO                                  35 PLYMOUTH                                                                                    MINEOLA        NY    11501‐3423
ARTHUR M AHO                                    1574 STEWART                                                                                   LINCOLN PARK   MI    48146‐3551
ARTHUR M ALLEN                                  106 ROBIN HOOD TRL                                                                             LOOKOUT        GA    30750‐2821
                                                                                                                                               MOUNTAIN
ARTHUR M ANZALONE                               24 PUDDINGSTONE LANE                                                                           BELLINGHAM     MA    02019‐1250
ARTHUR M BOGEDIN                                23439 TALBOT                                                                                   CLINTON TWP    MI    48035‐4356
ARTHUR M CANNON                                 G‐5312 DEARING DRIVE                                                                           FLINT          MI    48506
ARTHUR M DONAHOUE                               5413 FORTUNE ST                                                                                ALBANY         GA    31705‐5608
ARTHUR M DONAHOUE CUST ARTURO M DONAHOUE        5413 FORTUNE ST                                                                                ALBANY         GA    31705‐5608
UTMA GA
ARTHUR M DUNLAP                                 38 GROVE ST                                                                                    WAYLAND        MA    01778‐1004
ARTHUR M ELLIOT                                 4510 LAKE VILLAGE DR                                                                           FULSHEAR       TX    77441‐4035
ARTHUR M FERRARA                                193 STATE PARK AVE                                                                             SALAMANCA      NY    14779‐1752
ARTHUR M FIEBIG & MRS ILA L FIEBIG JT TEN       PO BOX 126                                                                                     JONESVILLE     MI    49250‐0126
ARTHUR M GISBRECHT                              540A PILLTOWN RD                                                                               BOSWELL        PA    15531‐2049
ARTHUR M GOLUMBIA                               29350 SOUTHFIELD RD                                                                            SOUTHFIELD     MI    48076‐2053
ARTHUR M GRIEGER & CATHERINE L GRIEGER JT TEN   1401 S CAGE BLVD #77                                                                           PHARR          TX    78577‐6207

ARTHUR M HOOKS                                  1613 E C ST                                                                                    BELLEVILLE     IL    62221‐4909
ARTHUR M JONES                                  PO BOX 865                                                                                     ALBANY         KY    42602‐0865
ARTHUR M JONES                                  700 12TH AVE                          APT 5                                                    MONROE         WI    53566‐1463
ARTHUR M JORDAN                                 6248 E SNOWDON ST                                                                              MESA           AZ    85215‐9632
ARTHUR M KAVULLA                                RD 4 9309 ANGLING ROAD                                                                         WAKEMAN        OH    44889‐9645
ARTHUR M LADOUCEUR                              20 KLONDIKE RD                                                                                 OGDENSBURG     NY    13669‐4469
ARTHUR M LAVERY                                 3428 S COUNTY LINE                                                                             DURAND         MI    48429‐9759
ARTHUR M LOPEZ                                  3617 CHARLOTTE ST                                                                              KANSAS CITY    MO    64109‐2635
ARTHUR M LUKENS                                 416 NORMANDY CRT                                                                               VIRGINIA BCH   VA    23464
ARTHUR M MOSS                                   1451 E BROWN ROAD                                                                              MESA           AZ    85203‐5025
ARTHUR M MOSS & BEVERLY L MOSS JT TEN           1451 E BROWN RD                                                                                MESA           AZ    85203‐5025
ARTHUR M ODUM & MARILLYN K ODUM JT TEN          1611 GULF AVE                                                                                  MIDLAND        TX    79705‐8618
ARTHUR M OVERTON                                7816 COUNTY ROAD 633                                                                           BUCKLEY        MI    49620‐9450
ARTHUR M READ II & WILMA G READ JT TEN          5 KENMORE CT                                                                                   BARRINGTON     RI    02806‐1222
ARTHUR M RICHARD                                5365 WENTWORTH AVE                                                                             OAKLAND        CA    94601‐5818
ARTHUR M ROBERTS CUST REID T ROBERTS UGMA MD    13729 PRINCESS ANNE WAY                                                                        PHOENIX        MD    21131‐1523

ARTHUR M SCHEUERING                             7 MAPLE ST                            APT 2                                                    EXETER         NH    03833‐2751
ARTHUR M SCHREIER & MARCIA SCHREIER JT TEN      178 OLD LYME RD                                                                                PURCHASE       NY    10577‐1518
ARTHUR M SCHWEIZER                              4332 CAMINO MADERA                                                                             SARASOTA       FL    34238‐5582
ARTHUR M SCHWEIZER & ANNETTE SCHWEIZER JT TEN   4332 CAMINO MADERA                                                                             SARASOTA       FL    34238‐5582

ARTHUR M SHOULTES                               7391 ELEVEN MILE                                                                               BENTLEY        MI    48613‐9635
ARTHUR M STOUT                                  9609 S HIGHPOINT DR                                                                            MUNCIE         IN    47302‐8343
ARTHUR M TOLAN                                  8043 GUTCHESS RD                                                                               ALPENA         MI    49707‐8827
ARTHUR M VILES                                  205 KNOLLWOOD WAY                                                                              JACKSONVILLE   IL    62650‐6564
ARTHUR M WHISH                                  5 LEONARD ST                                                                                   HINGHAM        MA    02043‐4725
ARTHUR M WILD & TWYLA J WILD JT TEN             3000 WILDHAVEN RD                                                                              ESSEXVILLE     MI    48732‐8715
ARTHUR M WILLIAMSON III                         11 SHERRY LN                                                                                   SPENCER        MA    01562‐3131
ARTHUR M WIPF                                   324 OAKMOND AVE                       APT 5                                                    MITCHELL       SD    57301‐5326
ARTHUR MAC FARLANE                              DON MACFARLANE                        113 BOXBORO RD                                           STOW           MA    01775‐1157
ARTHUR MACIAG & CHARLOTTE MACIAG JT TEN         81 ROBERTS AVE                                                                                 BUFFALO        NY    14206‐3119
ARTHUR MADILL                                   337 HOWE ISLE FERRY RD                R R #3               GANANOQUE ON      K7G 2V5 CANADA
ARTHUR MANDEL                                   2740 VINTAGE RESERVE LANE                                                                      MARIETTA       GA    30066‐3352
ARTHUR MARK JR                                  5314 CALKINS ROAD                                                                              FLINT          MI    48532‐3306
ARTHUR MARSHALL HALBROOK                        2434 DAWSONS CREEK LANE                                                                        BATON ROUGE    LA    70808
ARTHUR MARTINEZ                                 RT 1 BOX 125‐AG                                                                                SANTA FE       NM    87501‐9704
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 273 of 850
Name                                             Address1                              Address2               Address3        Address4          City            State Zip

ARTHUR MARTUCCI                                  94 MADISON AVE                                                                                 GILLETTE        NJ    07933‐1802
ARTHUR MARVIN QUATTLEBAUM                        10 PINE FOREST DR                                                                              GREENVILLE      SC    29601‐4420
ARTHUR MAX BACON                                 377 HIGHVIEW DR SE                                                                             SMYRNA          GA    30082‐3707
ARTHUR MC CRACKEN                                1825 MILTON NEWTON RD                                                                          NEWTON FALLS    OH    44444‐9302
ARTHUR MCCLENDON                                 1241 LINCOLN                                                                                   CHICAGO HGHTS   IL    60411‐2839
ARTHUR MCLAUGHLIN                                60 CLEARWATER DR                                                                               FENTON          MI    48430‐8751
ARTHUR MEAD MARTIN TR UA 05/01/79 BERNARD P      APT 15B                               1100 N LAKE SHORE DR                                     CHICAGO         IL    60611‐1083
MARTIN TRUST B
ARTHUR MENTON                                    354 E PARKER AVE                                                                               MADISON HTS     MI    48071‐2844
ARTHUR MILES SIMPSON                             BOX 155                                                                                        CONRAD          IA    50621‐0155
ARTHUR MILLER CUST HERMAN HOWARD MILLER          1731 SEAVIEW AVE                                                                               DEL MAR         CA    92014‐2225
UNDER GIFTS TO MINORS ACT
ARTHUR MOORE JR                                  3140 RAY                                                                                       SAGINAW         MI    48601‐4627
ARTHUR MORRIS HANKS                              1952 HORNER CHAPEL RD                                                                          PEEBLES         OH    45660‐9269
ARTHUR MULLEN & LAUREN MULLEN JT TEN             1331 WAYBURN ST                                                                                GROSSE POINTE   MI    48230‐1070
ARTHUR MULROY                                    91B BEVERLY HILL TERRACE                                                                       WOODBRIDGE      NJ    07095‐4024
ARTHUR MURILLO & ESTHER MURILLO JT TEN           807 CORBIN                                                                                     SILVER CITY     NM    88061‐6456
ARTHUR MURRAY GRIFFIN                            9100 JONES ROAD                                                                                GOSPORT         IN    47433‐8099
ARTHUR N BECKER & MRS BARBARA L BECKER JT TEN    2751 GERTRUDE                                                                                  LOS ALAMITOS    CA    90720‐4740

ARTHUR N BOYARS                                  916 N BELGRADE ROAD                                                                            SILVER SPRING   MD    20902‐3248
ARTHUR N COBB                                    247 RICHMOND DR                                                                                WARWICK         RI    02888‐1213
ARTHUR N GLODOWSKI                               52 COUNTRY LANE                                                                                BUFFALO         NY    14224‐1509
ARTHUR N HUGHES TR ARTHUR N HUGHES REVOCABLE     1426 MARINA POINTE BLVD                                                                        LAKE ORION      MI    48362‐3905
TRUST UA 1/9/01
ARTHUR N KLEVE                                   1111 41ST AVE EAST                                                                             ELLENTON        FL    34222‐2538
ARTHUR N ROWLEY                                  460 NORTHWOOD DR APT D2                                                                        CENTRE          AL    35960
ARTHUR N WEISER JR                               7189 BRANTFORD RD                                                                              DAYTON          OH    45414‐2352
ARTHUR NEWSOME                                   3395 CREEKSIDE BLVD                                                                            BURTON          MI    48519
ARTHUR O ADAMS JR                                14870 VAUGHAN                                                                                  DETROIT         MI    48223‐2133
ARTHUR O CAMPBELL                                17 GREY DAPPLE WAY                                                                             ORMOND BEACH    FL    32174‐1414
ARTHUR O LEARY                                   3381 OLD LAKEVIEW RD                                                                           HAMBURG         NY    14075‐6142
ARTHUR O SHELTON                                 9172 MORROW‐WOODVILLE RD                                                                       PLEASNT PLAIN   OH    45162‐9725
ARTHUR OUGENDAL & LILLY OUGENDAL JT TEN          PO BOX 421                                                                                     CATHLAMET       WA    98612‐0421
ARTHUR P BARRETTE                                60 URBAN AV                           APT 27                                                   NORTH           RI    02904‐4941
                                                                                                                                                PROVIDENCE
ARTHUR P BOLLON                                  13227 CEDAR LN                                                                                 DALLAS          TX    75234‐5210
ARTHUR P CORSO                                   52 YALE ST                                                                                     ROSLYN HTS      NY    11577‐2430
ARTHUR P CULLON                                  2500 MANN ROAD #332                                                                            CLARKSTON       MI    48346‐4290
ARTHUR P DAILY                                   205 STANFORD LN                                                                                SEAL BEACH      CA    90740‐2519
ARTHUR P DEVERILL & JEAN DEVERILL JT TEN         3705 BENT BRANCH RD                                                                            FALLS CHURCH    VA    22041‐1007
ARTHUR P DURUSSEL                                4195 N PORTSMOUTH RD                                                                           SAGINAW         MI    48601‐9683
ARTHUR P FOREMAN                                 910 SWALLOW ST SW                                                                              WARREN          OH    44485‐3655
ARTHUR P GRIBBEN                                 452 SUNNING DALE                                                                               INKSTER         MI    48141‐4006
ARTHUR P GRIBBEN & ARTHUR W GRIBBEN JT TEN       452 SUNNINGDALE                                                                                INKSTER         MI    48141‐4006
ARTHUR P GRIBBEN & ESTHER A MC DIARMID JT TEN    452 SUNNINGDALE                                                                                INKSTER         MI    48141‐4006

ARTHUR P GRIBBEN & MARGARET E LUDWIG JT TEN      6394 WILLIS RD                                                                                 YPSILANTI       MI    48197‐8920

ARTHUR P GRIBBEN & SHIRLEY M WILLIAMS JT TEN     21615 HANCOCK                                                                                  FARMINGTON HILLS MI   48336‐5717

ARTHUR P HARRIS                                  SR 2002 BOX 333                                                                                MCKEE           KY    40447
ARTHUR P JACOB                                   PO BOX 505                                                                                     SLATERSVILLE    RI    02876‐0505
ARTHUR P JORDAN                                  1461 BUD                                                                                       YPSILANTI       MI    48198‐3308
ARTHUR P MANONI                                  28 WHEELER DR                                                                                  CLIFTON PARK    NY    12065‐1814
ARTHUR P MATA                                    PO BOX 1404                                                                                    HOLLAND         MI    49422‐1404
ARTHUR P SAMUELSON                               440 DAVIS COURT #611                                                                           SAN FRANCISCO   CA    94111‐2416
ARTHUR P SARKISIAN                               28 PINE ST                                                                                     TILLSON         NY    12486‐1504
ARTHUR P SCAFE                                   678 ROXBURY CT                                                                                 LAKE ORION      MI    48359‐1748
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 274 of 850
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

ARTHUR P SUTTY                                   PO BOX 239                                                                                       MCCORMICK       SC    29835‐0239
ARTHUR P TELLEZ                                  24107 REAGON CANYON DR                                                                           HOCKLEY         TX    77447‐9291
ARTHUR PALECKI                                   PO BOX 194                                                                                       EMMETT          MI    48022‐0194
ARTHUR PALEW & MRS EMILY PALEW JT TEN            206 HARBOR DR                                                                                    MOREHEAD CITY   NC    28557‐8911
ARTHUR PARTIDA                                   15544 DALMATIAN AV                                                                               LA MIRADA       CA    90638‐5345
ARTHUR PAUL HYMAN                                292 N MIDLAND AVE                                                                                NYACK           NY    10960‐1637
ARTHUR PETER & ANNA M PETER JT TEN               PO BOX 466                                                                                       HOPE            NJ    07844‐0466
ARTHUR PETRONIO                                  1803 EAGLE RIDGE DR                                                                              MONROEVILLE     PA    15146‐1770
ARTHUR PFLEGER                                   3449 WOODSIDE DR                                                                                 DEARBORN        MI    48124‐3978
ARTHUR POEHLER & ELISABETH M POEHLER JT TEN      143 SPRING LANE                                                                                  PARAMUS         NJ    07652‐5301

ARTHUR POSILLIPO JR                              3 LAGO COURT                                                                                     BARNEGAT        NJ    08005‐5533
ARTHUR POTYK CUST LISA JEANNE POTYK UGMA NJ      869 KNOLLWOOD TERR                                                                               WESTFIELD       NJ    07090‐3459

ARTHUR PRICE                                     4708 HIGHLAND AVE                                                                                ST LOUIS        MO    63113‐1805
ARTHUR PRUITT                                    144 KASTNER AVE                                                                                  DAYTON          OH    45410‐1518
ARTHUR PULIZOS                                   4425 S QUINCY                                                                                    MILWAUKEE       WI    53207‐5220
ARTHUR R AMARE & BARBARA V AMARE JT TEN          109 CONTI CT                                                                                     FAIRHOPE        AL    36532
ARTHUR R AUMAN JR                                1027 WOODLAND DR                                                                                 BELLEFONTE      PA    16823
ARTHUR R BALLIEN & MARGARET R BALLIEN JT TEN     7400 HACKETT RD                                                                                  FREELAND        MI    48623‐8625

ARTHUR R BEAM CUST MEGAN T WARREN UGMA TX        3822 TWIN FALLS                                                                                  IRVING          TX    75062‐3025

ARTHUR R BEEBE & DONNALEE J BEEBE JT TEN         11855 WOOD RD                                                                                    DWEITT          MI    48820‐9342
ARTHUR R BIGELOW                                 8450 NEFF RD                                                                                     MT MORRIS       MI    48458‐1045
ARTHUR R BLANCHONE                               3 PAMELA DRIVE                                                                                   WALLINGFORD     CT    06492‐1712
ARTHUR R CARLISLE                                21825 MAPLEWOOD DR                                                                               SOUTHFIELD      MI    48034‐5942
ARTHUR R CHYBA                                   4006 MAIDEN                                                                                      WATERFORD       MI    48329‐1049
ARTHUR R CLARK                                   2114 N SUMAC DR                                                                                  JANESVILLE      WI    53545‐0565
ARTHUR R DEAN                                    PO BOX 89                                                                                        GALLOWAY        OH    43119‐0089
ARTHUR R FREY & JESSIE M FREY JT TEN             BOX 182                                                                                          POUGHQUAG       NY    12570‐0182
ARTHUR R GALLUP                                  PO BOX 35171                                                                                     BON AIR         VA    23235‐0171
ARTHUR R GOATBE                                  13093 ELMS RD                                                                                    CLIO            MI    48420‐8213
ARTHUR R GORMAN                                  8365 CRESTVIEW DR                                                                                STERLING HTS    MI    48312‐6022
ARTHUR R GRETZINGER                              1107 LAKE SHORE CIRCLE                                                                           GRAND BLANC     MI    48439‐8043
ARTHUR R GRETZINGER & MARY E GRETZINGER JT TEN   1107 LAKE SHORE CIRCLE                                                                           GRAND BLANC     MI    48439‐8043

ARTHUR R GRIFFEY                                 599 CALDWELL AVE                                                                                 MANSFIELD       OH    44905‐1458
ARTHUR R HILLMAN                                 834 E BAIRD ST                                                                                   HOLLY           MI    48442‐1705
ARTHUR R HOLTMAN                                 116 HARVARD DRIVE                                                                                TORRINGTON      CT    06790‐5837
ARTHUR R HOTZ                                    55 VILLAGE BLVD                                                                                  CANFIELD        OH    44406‐1354
ARTHUR R JONIAK                                  22220 ROCKINGHAM                                                                                 RICHTON PARK    IL    60471‐1119
ARTHUR R KENYON CUST DIANNE B KENYON U/THE       C/O DIANNE B TOUGAS                     117 LUMAE ST                                             SPRINGFIELD     MA    01119‐2507
MASS U‐G‐M‐A
ARTHUR R KING                                    1440 WILLIAMSBURG RD                                                                             ROCKFORD        IL    61107‐2440
ARTHUR R KING & CAROL KING JT TEN                1440 WILLIAMSBURG RD                                                                             ROCKFORD        IL    61107‐2440
ARTHUR R KLEIST JR                               3250 JACKS RUN ROAD                                                                              MCKEESPORT      PA    15131‐2512
ARTHUR R KOVARIK                                 07010 37TH STREET                                                                                GOBLES          MI    49055‐9014
ARTHUR R KRCEK                                   6692 DEWEESE RD                                                                                  JACKSON         MI    49201‐9556
ARTHUR R MAHON & MRS KATHLEEN MAHON JT TEN       7 TIMBERLANE DR                                                                                  CLEAR LAKE      IA    50428‐1164

ARTHUR R MC DONALD                               12627 JUNIPER CIR                                                                                LEAWOOD         KS    66209‐3130
ARTHUR R MCQUISTION                              16619 GALEHOUSE RDL                                                                              DOYLESTOWN      OH    44230‐9752
ARTHUR R MENHINICK                               5230 E WALKER RD                                                                                 LAKE CITY       MI    49651‐9650
ARTHUR R MILLIMAN & MARION M MILLIMAN JT TEN     1125 BRIARCLIFF                                                                                  FLINT           MI    48532‐2102

ARTHUR R MONTSINGER                              11704 LEIGH RIVER ST                                                                             BAKERSFIELD     CA    93312‐5705
ARTHUR R MOONEY & MARIE A MOONEY TEN ENT         C/O SHEA & SHEA LLP                     P.O. BOX 128                                             BRYN MAWR       PA    19010
ARTHUR R MORENO                                  5713 PIONEER BLVD                                                                                WHITTIER        CA    90606‐1047
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 275 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

ARTHUR R NICHOLL                                  3720 ALLISON STREET                                                                             WHEATRIDGE        CO    80033‐6124
ARTHUR R NORRIS                                   1500 MOUNTAIN TOP LN                                                                            COOKEVILLE        TN    38506‐6370
ARTHUR R PALMER                                   250 LONE TREE RD                                                                                MILFORD           MI    48380‐2412
ARTHUR R PATRICK                                  18955 PINEHURST                                                                                 BEND              OR    97701‐5237
ARTHUR R PATRICK & MICHELLE Y PATRICK JT TEN      18945 PINEHURST                                                                                 BENT              OR    97701‐5237
ARTHUR R RAYMOND                                  10101 CANADA RD                                                                                 BIRCH RUN         MI    48415‐9217
ARTHUR R REDMAN                                   57 MAPLE AVE                                                                                    BRISTOL           CT    06010‐2657
ARTHUR R REPENSHEK & GENEVIEVE A PRUSACK JT TEN   1711 WILSON AVE                                                                                 SHEBOYGAN         WI    53081‐6622

ARTHUR R ROBELL                                   14239 LAKE STREET                                                                               LEROY             MI    49655‐8281
ARTHUR R SAWYER                                   1317 E OUTER DR                                                                                 SAGINAW           MI    48601‐5221
ARTHUR R SEE                                      4036 ADEER DR                                                                                   CANFIELD          OH    44406‐9309
ARTHUR R SENF                                     2694 E RIVER RD                                                                                 GRAND ISLAND      NY    14072‐2155
ARTHUR R SPENCER                                  7430 SETTING SUN WY                                                                             COLUMBIA          MD    21046‐1276
ARTHUR R SULLIVAN                                 41 HILLCREST AVE                                                                                WHITE PLAINS      NY    10607‐1231
ARTHUR R THOMAS JR                                PO BOX 405                                                                                      MT PLEASANT       MI    48804‐0405
ARTHUR R TRAVIS                                   328 CHRISTINA CT                                                                                PLEASANTON        CA    94566‐7122
ARTHUR R VAUGHAN & LINDA VAUGHAN JT TEN           7213 NEEF                                                                                       MANHATTAN         KS    66503‐9725
ARTHUR R VUOLO JR                                 30860 PALMER DR                                                                                 NOVI              MI    48377‐4520
ARTHUR R WATKINS                                  3261 BATHURST                                                                                   ROCHESTER HILLS   MI    48309‐4026
ARTHUR R WILSON & MRS FRANCES WILSON JT TEN       9287 EMILY DRIVE                                                                                DAVISON           MI    48423‐2868

ARTHUR R WOODKE                                   16736 BEVERLY                                                                                   TINLEY PARK       IL    60477‐2951
ARTHUR RADUN                                      3288 CROOKED TREE DRIVE                                                                         MASON             OH    45040‐7957
ARTHUR RAY YANTA & PATSY G YANTA JT TEN           769 FM 99                                                                                       KARNES CITY       TX    78118‐5010
ARTHUR REYES                                      4484 KILARNEY PARK DR                                                                           BURTON            MI    48529‐1823
ARTHUR RICE JR                                    4437 CASA VERDE DR                                                                              FT WAYNE          IN    46816‐1615
ARTHUR RISKE                                      G 6119 W COURT ST                                                                               FLINT             MI    48504
ARTHUR ROBINSON JR                                1822 ADAMS                                                                                      FLINT             MI    48505‐5004
ARTHUR RUDOLPH & DOROTHY RUDOLPH JT TEN           1190 GRACE HADAWAY LANE                                                                         LAWRENCEVILLE     GA    30043‐4658
ARTHUR S BERNAT & MARY ANN BERNAT JT TEN          3954 FRAZHO                                                                                     WARREN            MI    48091‐3753
ARTHUR S CHESLOCK & ROSALIND P CHESLOCK TEN ENT   2510 SMITH AVE                                                                                  BALTIMORE         MD    21209

ARTHUR S DAROVIC TR ARTHUR S DAROVIC REV LIV      808 SEVENTH AVE                                                                                 LAGRANGE          IL    60525‐2909
TRUST UA 02/03/00
ARTHUR S GREGORY                                  2535 ATSINA                                                                                     SERIA VISTA       AZ    85650‐8423
ARTHUR S JACKSON                                  402 GRAYSLAKE WAY                                                                               ABERDEEN          MD    21001‐1841
ARTHUR S JENNINGS JR                              780 AUBURN MILL ROAD                                                                            HOCKESSIN         DE    19707‐9617
ARTHUR S JUGG & AILEEN L JUGG JT TEN              5870 CROSS BRIDGE CIR                                                                           PLAINFIELD        IN    46168‐9300
ARTHUR S KAMINSKI                                 10410 RAPIDS RD                                                                                 CLARENCE CENTER   NY    14032‐9265

ARTHUR S KLAUS                                    1925 LAKEHURST DR                                                                               SAINT LOUIS       MO    63146‐3708
ARTHUR S MCINTOSH                                 290 W 350 S                                                                                     HUNTINGTON        IN    46750‐8155
ARTHUR S MULLINS TR UA 08/03/2007 ARTHUR S        2 WOODRIDGE DR                                                                                  OAK BROOK         IL    60523
MULLINS TRUST
ARTHUR S PALUCH                                   63 ORCHARD AVE                                                                                  WEST SENECA       NY    14224‐1416
ARTHUR S PLATT JR                                 560 CLEARVIEW DRIVE                                                                             NEWTON            NJ    07860‐6773
ARTHUR S SAVARESE & ELSIE A SAVARESE JT TEN       72 44 66 RD                                                                                     MIDDLE VILLAGE    NY    11379‐2116
ARTHUR S STAIGER & MRS MARCILLE STAIGER JT TEN    5801 UPTON ROAD                                                                                 MOUNT VERNON      IN    47620‐8112

ARTHUR S WITKOWSKI                                7463 GREEN MEADOW LANE                                                                          CANTON            MI    48187‐3680
ARTHUR SACRAMONE & MRS HELEN E SACRAMONE JT       496 GREENSIDE AVE                                                                               PORTSMOUTH        NH    03801‐4721
TEN
ARTHUR SAMILTON JR                                4174 DEACON LANE                                                                                ATLANTA           GA    30341‐1612
ARTHUR SARNO                                      99 WOODSIDE RD                                                                                  MAPLEWOOD         NJ    07040‐1950
ARTHUR SAUNDERS & RUTH L SAUNDERS JT TEN          65A GLENWOOD AVE                                                                                DOVER             NH    03820‐2309
ARTHUR SCHATZLE                                   6712 LAKESHORE DR                                                                               LAKEPORT          MI    48059‐2217
ARTHUR SCHNEIDER                                  37 OAKRIDGE DR                                                                                  WILLIAMSVILLE     NY    14221‐1723
ARTHUR SCHUBERT                                   3097 SEMINOLE DR                                                                                REDDING           CA    96001
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 276 of 850
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

ARTHUR SCOTT                                     8726 S APPLETREE PLACE                                                                           HIGHLANDS RANCH CO    80126‐2148

ARTHUR SECORD                                    200 NAHMA                                                                                        CLAWSON         MI    48017‐1993
ARTHUR SELDIN & SHIRLEY SELDIN JT TEN            PO BOX 842                                                                                       WELLFLEET       MA    02667‐0842
ARTHUR SIMMONS                                   557 COUNTY RD 1                         RR #8                PICTON ON         K0K 2T0 CANADA
ARTHUR SIMMS LINDE                               5341 BROAD BRANCH RD NW                                                                          WASHINGTON      DC    20015‐1352
ARTHUR SKORA                                     16471 TAFT                                                                                       ROMULUS         MI    48174‐3239
ARTHUR SMITH CUST FREDRIC ALAN SMITH UGMA MI     7459 FRANKLIN RIDGE WAY                                                                          WEST BLOOMFIELD MI    48322‐4128

ARTHUR SOLARSH CUST STEPHANIE KAY SOLARSH UTMA 11215 72ND RD                             APT 201                                                  FOREST HILLS    NY    11375‐4670
CA
ARTHUR SPARKMAN                                6803 HALLOWELL RD                                                                                  HURLOCK         MD    21643‐3331
ARTHUR SPECTOR                                 11180 KAPALUA WAY                                                                                  BOYNTON BEACH   FL    33437‐7189
ARTHUR SPERANZO                                PO BOX 172                                                                                         MONTGOMERY      NY    12549‐0172
ARTHUR ST CHARLES                              2168 E PARKWOOD AVE                                                                                BURTON          MI    48529‐1766
ARTHUR ST LAURENT                              170 MENDON ST                                                                                      BLACKSTONEAS    MA    01504‐1207
ARTHUR STERN 3RD                               30 WOODCREST DR                                                                                    ARMONK          NY    10504‐2902
ARTHUR STORY INMAN & ALAN WAYNE INMAN JT TEN 604 TOBBLE CREEK CT                                                                                  HENDERSON       NV    89011‐1875

ARTHUR T BISHOP & MRS DOROTHY A BISHOP JT TEN    95 CATHERINE                                                                                     RIVER ROUGE     MI    48218‐1505

ARTHUR T BRILL                                   105 SEMINOLE TRL                                                                                 ROSCOMMON       MI    48653‐8370
ARTHUR T CARVER                                  3509 PIERCE DRIVE                                                                                GAINESVILLE     GA    30507‐8654
ARTHUR T DOLAN                                   911 WORTHSHIRE                                                                                   HOUSTON         TX    77008‐6436
ARTHUR T DOLAN & VERA C DOLAN TEN COM            6202 CINDY LN                                                                                    HOUSTON         TX    77008
ARTHUR T JONES                                   70 HUETTER                                                                                       TOWN OF TONAW   NY    14207‐1057
ARTHUR T JONES                                   6078 MAPLEVIEW LN                                                                                YPSILANTI       MI    48197‐9479
ARTHUR T LANG                                    50W478 MARCY RD                                                                                  SYCAMORE        IL    60178
ARTHUR T MOORE JR                                57 BRADFORD CIRCLE                                                                               SUGARLAND       TX    77479‐2971
ARTHUR T NEWMAN                                  2123 WEST MULBERRY STREET                                                                        LANCASTER       OH    43130‐2269
ARTHUR T PITTS & IRIS M PITTS JT TEN             54 CLIFFBIRCH DRIVE                                                                              LINDALE         GA    30147‐1339
ARTHUR T ROAT                                    9528 TROUT DR                                                                                    SEARS           MI    49679‐8038
ARTHUR T SEMPLINGER                              37‐04 VAN NOSTRAND PL                                                                            DOUGLASTON      NY    11363‐1236
ARTHUR T SHAK                                    845 CORONADO AVE                                                                                 LONG BEACH      CA    90804‐5020
ARTHUR T SKEBO                                   7840 GARTNER                                                                                     DETROIT         MI    48209‐1865
ARTHUR T SMITH                                   PO BOX 120                                                                                       NEW LOTHROP     MI    48460‐0120
ARTHUR T SMITH & LYNDA M SMITH JT TEN            3713 WYNGATE CV                                                                                  BIRMINGHAM      AL    35242‐4218
ARTHUR T STRONG & SUSAN L STRONG JT TEN          11591 COMPASS POINT DR                                                                           FORT MYERS      FL    33908‐4930
ARTHUR T URBAN                                   4635 MACKY WAY                                                                                   BOULDER         CO    80305‐6743
ARTHUR T WILLIAMS                                1023 S 10TH ST                                                                                   AUGRES          MI    48703‐9559
ARTHUR T WILLIAMS JR                             839 WELLINGTON RD                                                                                WINSTON SALEM   NC    27106‐5514
ARTHUR T WOODY                                   521 JEFFERSON ST                                                                                 CHARLOTTE       MI    48813‐1903
ARTHUR T WOOLARD                                 96 COLUMBUS AVE                                                                                  PLEASANTVILLE   NY    10570‐3212
ARTHUR TEITELBAUM & CAROL SILVERBERG JT TEN      447 WELLINGTON H                                                                                 WEST PALM BCH   FL    33417‐2576

ARTHUR THOMAS DAVIS                              9690 PLANTATION LANE                                                                             CRYSTAL RIVER   FL    34429‐8157
ARTHUR THOMAS SWAN III & BELINDA C SWAN JT TEN   1107 N ARMOUR ST                                                                                 WICHITA         KS    67206‐1331

ARTHUR THOMAS ULRICH                             3082 PLEASANT CT                                                                                 TALLAHASSEE     FL    32303‐2075
ARTHUR THOMPSON & MAYDINE THOMPSON JT TEN        18514 ROSELAWN                                                                                   DETROIT         MI    48221‐2182

ARTHUR TRICKA                                    14 DODD HILL RD                                                                                  HAGUE           NY    12836‐1901
ARTHUR U AYRES JR                                17 CONEJO ROAD                                                                                   SANTA BARBARA   CA    93103‐1635
ARTHUR V BEERY                                   3936 BROADMOOR CIR                                                                               NAPERVILLE      IL    60564‐9751
ARTHUR V DIAZ                                    58220 MAIN STREET                       PO BOX 342                                               NEW HAVEN       MI    48048‐0342
ARTHUR V HICKEY                                  401 FOURTH ST                                                                                    UPLAND          PA    19015‐2504
ARTHUR V HOLZ                                    110 WEST ORCHARD SPRINGS                                                                         DAYTON          OH    45415‐3119
ARTHUR V JENKINS III                             312 MEADOW VISTA DRIVE                                                                           TOWNSEND        DE    19734‐9686
ARTHUR V KELSEY                                  34616 S FAIRBANK POINT RD                                                                        DRUMMOND ISLA   MI    49726‐9442
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 277 of 850
Name                                            Address1                              Address2             Address3          Address4          City               State Zip

ARTHUR V LEE                                    9836 MADISON AVE                                                                               ROCK HILL          MO    63119‐1242
ARTHUR V NETO                                   11 PINE AVE                                                                                    OSSINING           NY    10562‐3501
ARTHUR V SALEMME                                110 MARSHALL DR                                                                                PITTSBURGH         PA    15214
ARTHUR V SOMERS TR ARTHUR V SOMERS INTERVIVOS   2472 LEISURE LANE                                                                              TRAVERS CITY       MI    49686‐4993
TRUST UA 02/21/96
ARTHUR V VARUOLA & DOLORES P VARUOLA JT TEN     341 FRAZIER DRIVE                                                                              WILKINS            PA    15235‐5256

ARTHUR VASQUEZ                                  3444 2ND AVE                          APT 201                                                  DETROIT            MI    48201‐2348
ARTHUR VINCENT HICKEY                           12 3RD ST                                                                                      UPLAND             PA    19015‐2417
ARTHUR W ALTENDERFER                            145 JOYCE RD                                                                                   MURPHY             NC    28906‐9724
ARTHUR W BARNES                                 115 ARKANSAS                                                                                   WHITAKER           PA    15120‐2452
ARTHUR W BIRCHMEIER                             11306 W STANLEY RD                                                                             FLUSHING           MI    48433‐9205
ARTHUR W BLACKBURN                              5028 LINDBERG BLVD                                                                             DAYTON             OH    45449‐2737
ARTHUR W BOYCE & ELIZABETH H BOYCE JT TEN       PO BOX 1065                                                                                    MIDDLETOWN         MD    21769‐1065
ARTHUR W BROWN JR                               35 GLEANNLOCH ESTATES DR                                                                       SPRING             TX    77379‐3689
ARTHUR W CABALLERO JR                           722 ASH AVE                                                                                    COLLINGDALE        PA    19023‐3506
ARTHUR W COWAN                                  29510 JAMES                                                                                    GARDEN CITY        MI    48135‐2046
ARTHUR W DAVIS                                  18177 RIVIERA PL SW                                                                            SEATTLE            WA    98166‐3855
ARTHUR W DAY & JANE E DAY JT TEN                4302 WOODWAY DR                                                                                AUSTIN             TX    78731‐2037
ARTHUR W DICKERSON                              10605 SHERIDAN                                                                                 BURT               MI    48417‐9788
ARTHUR W DOYLE JR                               25410 ANN'S CHOICE WAY                                                                         WARMINSTER         PA    18974
ARTHUR W DUNBAR                                 1609 OAKLAND AVE                                                                               CREST HILL         IL    60403‐2459
ARTHUR W ENGLUND                                13872 LAURINDA WAY                                                                             SANTA ANA          CA    92705‐2665
ARTHUR W FISCHER                                52175 SOUTHVIEW RDG                                                                            MACOMB             MI    48042‐1121
ARTHUR W GARDNER                                642 LOIS DRIVE                                                                                 PITTSBURGH         PA    15236‐2436
ARTHUR W GERTZ                                  3250 SANDY SHORE DR                                                                            METAMORA           MI    48455‐8915
ARTHUR W GORDEN                                 15451 STANLEY RD                                                                               BEULAH             MI    49617‐9268
ARTHUR W GREELEY                                64 DUNN RD                                                                                     POLAND             ME    04274‐5506
ARTHUR W HALL & RUTH H HALL JT TEN              928 EXCHANGE ST                                                                                IRVING             NY    14081‐9665
ARTHUR W HEADY                                  1720 CHOUTEAU AVE                     APT 302                                                  SAINT LOUIS        MO    63103‐3139
ARTHUR W HENKE                                  1411 DICKEN DR                                                                                 ANN ARBOR          MI    48103‐4416
ARTHUR W HENKE & ELAINE S HENKE JT TEN          1411 DICKEN DR                                                                                 ANN ARBOR          MI    48103‐4416
ARTHUR W HOFFMANN                               34046 JEFFERSON AVE                                                                            SAINT CLAIR SHORES MI    48082‐1162

ARTHUR W HOFFMANN CUST KIMBERLY FAY             34046 JEFFERSON AVE                                                                            ST CLAIR SHORES    MI    48082‐1162
HOFFMANN UGMA MI
ARTHUR W HOFFMANN CUST STEPHEN A HOFFMANN       34046 JEFFERSON                                                                                ST CLAIR SHORES    MI    48082‐1162
UGMA MI
ARTHUR W HOWARD & DALE E HOWARD JT TEN          702 PAM ST                                                                                     WARSAW             IN    46580‐3227
ARTHUR W HOWARD & J ARTHUR HOWARD JT TEN        702 PAM ST                                                                                     WARSAW             IN    46580‐3227

ARTHUR W KELLOND JR                             10026 EDEN VALLEY DR                                                                           SPRING             TX    77379‐2991
ARTHUR W KRAMER JR                              19 EASTVIEW ROAD                                                                               SOUTHINGTON        CT    06489‐4707
ARTHUR W LAIS & ETHEL E LAIS JT TEN             1600 W BLUE SAGE DR                   APT 3103                                                 PEORIA             IL    61615‐7221
ARTHUR W LAMBKE & SHIRLEY LAMBKE JT TEN         1980 PRESTWICK                                                                                 GROSSE POINTE      MI    48236‐1943
                                                                                                                                               WOOD
ARTHUR W LAND & JUNE E LAND JT TEN              2559 S SHORE E                                                                                 FRANKFORT          MI    49635‐9552
ARTHUR W LEDERER JR                             11 LOCUST PL                                                                                   NO PLAINFIELD      NJ    07060‐4503
ARTHUR W LEIBOLD JR                             1795 W COMMUNITY DR                                                                            JUPITER            FL    33458‐8219
ARTHUR W LUNDGREN                               64 SUTTON DRIVE                                                                                BERKELEY HEIGHTS   NJ    07922‐2513

ARTHUR W LYONS                              3997 CORDGRASS WAY                                                                                 NAPLES             FL    34112‐3371
ARTHUR W MC NABB CUST LORI KAY MC NABB UGMA 22552 TEN MILE ROAD                                                                                ST CLAIR SHORES    MI    48080‐1363
MI
ARTHUR W MCCOMMON & FRANCES A MCCOMMON JT 620 SOUTH CENTER STREET                                                                              GROVE CITY         PA    16127‐1328
TEN
ARTHUR W MERSCHDORF                         205 LAKEVIEW DR                                                                                    BRYAN              OH    43506‐9185
ARTHUR W MESSENGER                          8122 W FLAMINGO RD                        UNIT 127                                                 LAS VEGAS          NV    89147‐4214
ARTHUR W MIDGLEY                            700 E LANSING RD                                                                                   MORRICE            MI    48857‐9629
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 278 of 850
Name                                              Address1                             Address2             Address3          Address4          City               State Zip

ARTHUR W MIDGLEY & DOROTHY L MIDGLEY JT TEN       700 E LANSING RD                                                                              MORRICE            MI    48857

ARTHUR W MILLEISEN & FLORENCE MILLEISEN JT TEN    9 WELSLEY LANE                                                                                SMITHTOWN          NY    11787‐4707

ARTHUR W NIEMER JR                                806 BROOKS DRIVE                                                                              NORTH AUGUSTA      SC    29841‐3222
ARTHUR W PALMER                                   5629 ANTONE RD                                                                                FREMONT            CA    94538‐3901
ARTHUR W PALMER                                   4318 COLUMBINE AVE                                                                            BURTON             MI    48529‐2117
ARTHUR W PHILLIPS                                 27 GREENCLIFF DR                                                                              BEDFORD            OH    44146‐3439
ARTHUR W PIATT & GLORIA PIATT JT TEN              36328 CECILIA DR                                                                              STERLING HEIGHTS   MI    48312‐2923

ARTHUR W RANDALL                                  718 S DARGAN ST APT 311A                                                                      FLORENCE           SC    29506‐5525
ARTHUR W SCHEIDER JR                              449 EAST 275TH                                                                                EUCLID             OH    44132‐1715
ARTHUR W SHEWMAKE                                 14312 WOODLAWN LN                                                                             WOODLAWN           IL    62898‐3502
ARTHUR W SMITH JR                                 4356 RIVIERA DR                                                                               STOCKTON           CA    95204‐1118
ARTHUR W SMITH JR                                 3449 S IRIS COURT                                                                             LAKEWOOD           CO    80227‐4447
ARTHUR W SPICER JR                                5148 APPLEGROVE CT                                                                            WHITE LAKE         MI    48383‐1975
ARTHUR W STIGILE CUST ARTHUR ROBERT STIGILE       9900 WOODLAND DR                                                                              SILVER SPRING      MD    20902‐4046
UGMA MD
ARTHUR W STIGILE CUST JESSICA LYNN STIGILE UGMA   9900 WOODLAND DR                                                                              SILVER SPRING      MD    20902‐4046
MD
ARTHUR W STIGILE CUST ROBERT JOHN STIGILE UGMA    9900 WOODLAND DR                                                                              SILVER SPRING      MD    20902‐4046
MD
ARTHUR W THOMPSON                                 213 BLUE RIDGE ROAD WEST                                                                      NEWALLA          OK      74857‐8692
ARTHUR W VALENZUELA                               28798 HEARTHSTONE DR                                                                          NOVI             MI      48377‐2722
ARTHUR W VANCE & PATRICIA VANCE JT TEN            1485 E CHEYENNE ST                                                                            GILBERT          AZ      85296‐1329
ARTHUR W WESTPHAL JR                              26350 DRAKE ROAD                                                                              FARMINGTON HILLS MI      48331‐3852

ARTHUR W WRIEDEN 3RD                              1697 CANYON VIEW LOOP                PO BOX 37                                                WILLIAMS           AZ    86046
ARTHUR WEISBERG                                   364 WEAVER ST                                                                                 LARCHMONT          NY    10538‐1745
ARTHUR WILEY                                      3466 CALEDONIA AVON RD                                                                        CALEDONIA          NY    14423‐9757
ARTHUR WILLIAM LANKFORD III                       925 S SCHUMAKER DR                                                                            SALISBURY          MD    21804‐8722
ARTHUR WILLIAM LUCAS                              PO BOX 1036                                                                                   BISMARCK           ND    58502‐1036
ARTHUR WILLIAM NELSON                             18 RED FOX RD                                                                                 ST PAUL            MN    55127‐6331
ARTHUR WILLIAM STEPPER                            8928 AMESTOY AVE                                                                              NORTHRIDGE         CA    91325‐2601
ARTHUR WILLIS 3RD                                 18 HUNTINGTON DR                                                                              RUMFORD            RI    02916‐1925
ARTHUR WILTON HODGE                               W298 S5716 CLIFFSIDE CT                                                                       WAUKESHA           WI    53189‐9033
ARTHUR WINEKOFF                                   500 RONNIE DR                                                                                 BUFFALO GROVE      IL    60089
ARTHUR WOODS                                      726 S 10TH                                                                                    SAGINAW            MI    48601‐2101
ARTHUR X MAITLAND                                 3027 N BELSAY                                                                                 FLINT              MI    48506‐2232
ARTHUR Y ALTENDERFER                              4854 BACCUS AVE                                                                               SARASOTA           FL    34233‐4017
ARTHUR Y PANG & MAUREEN W PANG JT TEN             2315 S PRINCETON AVE                                                                          CHICAGO            IL    60616‐1924
ARTHUR ZAMARRIPA                                  PO BOX 5133                                                                                   CHULA VISTA        CA    91912‐5133
ARTHUR ZIRGER & MRS THERESA ZIRGER JT TEN         2140 NW 7TH PL                                                                                GAINSVILLE         FL    32603‐1115
ARTIE B MILLER                                    3185 EDGE MONT WY                                                                             DECATUR            GA    30032‐5850
ARTIE BUCHER & DORIS M BUCHER JT TEN              925 NORTHWESTERN ST                                                                           WOOSTER            OH    44691‐2721
ARTIE BUCK                                        4717 EATON STREET                                                                             ANDERSON           IN    46013‐2737
ARTIE C CHILCUTT                                  140 WARDWAY DR                                                                                BOYCE              LA    71409‐8765
ARTIE E JONES                                     406 SW PERSEL RD                                                                              LEE S SUMMIT       MO    64081‐2803
ARTIE E TRUE JR                                   40574 W HWY H                                                                                 RICHMOND           MO    64085‐8531
ARTIE L LEVANDUSKI                                123 N 10TH STREET                    SPACE 2                                                  TAFT               CA    93268
ARTIE M ROBERTS                                   33 CRESCENT RD                                                                                WILLINGBORO        NJ    08046‐3507
ARTIE M SUMMEROUS                                 1112 SEVEN SPRINGS CIRCLE                                                                     MARIETTA           GA    30068‐2661
ARTIE P PRITT JR                                  9188 RAVENNA RD                                                                               CHARDON            OH    44024‐9140
ARTIE S WILEY CUST ELIZABETH M WILEY UGMA CT      16435 SE 94TH TER                                                                             SUMMERFIELD        FL    34491‐5863

ARTIE WOODS                                       1211 CUTTER AVE                                                                               JOLIET             IL    60432‐1139
ARTIMUS SCISSUM                                   427 EARLY ROAD                                                                                YOUNGSTOWN         OH    44505‐3950
ARTIS B MOON                                      3618 LYNNFIELD                                                                                SHAKER HTS         OH    44122‐5112
ARTIS F BURNEY                                    927 E 218TH ST                                                                                BRONX              NY    10469‐1005
                                            09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 279 of 850
Name                                            Address1                            Address2             Address3          Address4          City               State Zip

ARTIS F RIGDON                                  1421 BARNEY AVE                                                                              DAYTON             OH    45420‐3301
ARTIS G THOMAS                                  PO BOX 1571                                                                                  CEDAR HILL         TX    75106‐1571
ARTIS J HILL                                    8145 N LINDEN RD                                                                             MOUNT MORRIS       MI    48458‐9488
ARTIS J LAWRENCE                                4909 W JOSHUA BLVD                  APT 2008                                                 CHANDLER           AZ    85226‐6024
ARTIS L HAMILTON                                4569 HAMPTON CT                                                                              CLEVELAND          OH    44128‐6037
ARTIS M GOINS                                   5230 US 31 SOUTH                                                                             PERU               IN    46970‐3638
ARTIS M GREEN                                   210 BLUE RIDGE DR                                                                            HENDERSON          KY    42420‐3880
ARTIS M NOEL                                    5040 PONVALLEY                                                                               BLOOMFIELD HILLS   MI    48302‐2830

ARTISTIDES ARVANITES & RHEA ARVANITES JT TEN    2636 WALMAR DR                                                                               LANSING            MI    48917‐5110
ARTO SAVOLAINEN OPEL GMBH                       ADAM OPEL STRABE 100                EISENACH                               99817 GERMANY
ARTRIES N BABER                                 58 MOUNTAINVIEW AVENUE                                                                       EAST ORANGE        NJ    07018‐2369
ARTUR EA SCHMITZ & KATHARINA A SCHMITZ JT TEN   155 WEST BROWN RD                   APT 152                                                  MESA               AZ    85201‐3470

ARTURO BAYUDAN CUST ALEXIS MAE C BAYUDAN UTMA 3922 PRENTON AVE                                                                               COOPER CITY        FL    33026
FL
ARTURO C HERRERA                              4123 FOREST                                                                                    BROOKFIELD         IL    60513‐2125
ARTURO CANCINOS                               1784‐C FIFTH AVE PMB 254                                                                       BAY SHORE          NY    11706
ARTURO D LERMA                                5601 S WASHINGTON AVE                                                                          LANSING            MI    48911‐4902
ARTURO F RAY                                  2525 N BLECKLEY DR                                                                             WICHITA            KS    67220‐3019
ARTURO G AGUILAR JR                           836 MAPLERIDGE                                                                                 SAGINAW            MI    48604‐2015
ARTURO GONZALEZ                               41 W YALE AVE                                                                                  PONTIAC            MI    48340‐1858
ARTURO M MARTINEZ                             5356 SASHABAW RD                                                                               CLARKSTON          MI    48346‐3871
ARTURO MARIN BULLARD                          777 S MATHILDA AVE                    APT 170                                                  SUNNYVALE          CA    94087‐1341
ARTURO MARTINEZ                               PO BOX 25173                                                                                   LANSING            MI    48909‐5173
ARTURO MORIEL                                 1206 WYOMING ST #A                                                                             EL PASO            TX    79902‐5521
ARTURO O RANDEZ                               201 WEBER AVE                                                                                  PATTERSON          CA    95363‐2429
ARTURO ORTEGON                                1016 82ND AVENUE                                                                               OAKLAND            CA    94621‐2467
ARTURO RAY                                    2525 N BLECKLEY DR                                                                             WICHITA            KS    67220‐3019
ARTURO REYES                                  3052 OLEARY RD                                                                                 FLINT              MI    48504‐1710
ARTURO TORRES                                 8006 NICKLAUS DRIVE                                                                            ORLANDO            FL    32825‐8241
ARTURO VALDEZ                                 4616 PINEDALE AVE                                                                              CLARKSTON          MI    48346‐3753
ARTURO VALLS                                  2400 WHITEMORE                                                                                 SAGINAW            MI    48602‐3531
ARUIN L MEYER                                 2390 EAST CHOCTAW ROAD                                                                         BULL HEAD          AZ    86426‐9117
ARUL E DANIEL & VASANTHA C DANIEL JT TEN      PO BOX 1044                                                                                    BELLEVUE           WA    98009‐1044
ARUN KUMAR                                    4631 SPAR LANDING                                                                              MACUNGIE           PA    18062‐9796
ARUN LALBHAI MULTANI                          2020 GRANTHAM RD                                                                               BERWYN             PA    19312‐2120
ARUN N JOSHI & VANDANA A JOSHI JT TEN         270 MEADOW HILLS DR                                                                            RICHLANDK          WA    99352‐8598
ARUN SHETH & RAVINDRA SHETH JT TEN            8017 E GEDDES AVE                                                                              ENGLEWOOD          CO    80112‐1877
ARUN SIROHI & RENU SIROHI JT TEN              75 CONCORD CREEK RD                                                                            GLEN MILLS         PA    19342‐1272
ARUN WADHAWAN                                 5687 MARTELL DR                                                                                TROY               MI    48098‐3161
ARUNA S NARAYANA                              4721 MAURA LN                                                                                  WEST BLOOMFIELD    MI    48323‐3626

ARUSSEL CURRY & MARY R CURRY JT TEN             1922 OWEN ST                                                                                 FLINT              MI    48503‐4361
ARUSSEL CURRY & MARY RUTH CURRY JT TEN          1922 OWEN ST                                                                                 FLINT              MI    48503‐4361
ARVA JEAN JACKSON                               11629 REGENCY DRIVE                                                                          POTOMAC            MD    20854‐3737
ARVA M HUNT                                     PO BOX 99                                                                                    GRANDVIEW          ID    83624‐0099
ARVA V DEAN                                     1161 JOSEPH MARTIN HWY                                                                       MARTINSVILLE       VA    24112‐0102
ARVADA RASMUSSEN                                PO BOX 35                                                                                    IOLA               WI    54945‐0035
ARVEDA M HONDZINSKI                             31 HAMPTON PARKWAY                                                                           TONAWANDA          NY    14217‐1217
ARVEL BROWN                                     7005 JERRY DR                                                                                WEST CHESTER       OH    45069‐4037
ARVEL C LAFEVER                                 4390 S BUNKER HILL RD                                                                        COOKEVILLE         TN    38506‐8899
ARVEL GODWIN                                    3512 BERYL RD                                                                                FLINT              MI    48504‐1746
ARVEL H RODGERS                                 3940 BARNES BRIDGE ROAD                                                                      DALLAS             TX    75228‐2481
ARVEL L WIREMAN                                 21089 ST                            RT 18W                                                   DEFIANCE           OH    43512‐9801
ARVELL MCGUIRE                                  844 N CLINTON ST                    APT C45                                                  DEFIANCE           OH    43512‐1616
ARVELL R CRAWFORD                               2985 MAPLEWOOD CT                                                                            LAKE ORION         MI    48360‐1724
ARVELLA GERARD                                  1707 BETHANY RD                     # 232                                                    ANDERSON           IN    46012‐9669
ARVELLA J WARREN                                4931 JADE DR                                                                                 DALLAS             TX    75232‐1521
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 280 of 850
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

ARVELLA L BEAMAN                                 4000 TERI LN                                                                                  LINCOLN         NE    68502‐5951
ARVELLA L LINDSEY                                8321 CRETAN BLUE LN                                                                           LAS VEGAS       NV    89128‐7468
ARVENIA WELCH                                    1437 EVERGREEN DR                                                                             FIRCREST        WA    98466‐6458
ARVEY A TROTNER                                  1910 BAYARD ST                                                                                BETHLEHEM       PA    18017‐5302
ARVICE PEROT                                     2334 BELTON DR                                                                                ARLINGTON       TX    76018‐2556
ARVID A HELD                                     N 6609 CEMETERY RD                                                                            LADYSMITH       WI    54848‐9623
ARVID E WINBERG                                  N6244 SCHRAVEN CIR                                                                            FOND DU LAC     WI    54937‐9470
ARVID FREDERICK REITER                           316 PANSY STREET                                                                              DAVENPORT       FL    33837‐7126
ARVID G FAGERBERG                                1238 PASATIEMPO WAY                                                                           SALINAS         CA    93901‐1726
ARVID G MONROE & MRS TERESA D MONROE JT TEN      422 BROOKSIDE TERR                                                                            OKLAHOMA CITY   OK    73160‐3106

ARVIL D TURPIN                                    8675 EDITH ST                                                                                MARTINSVILLE    IN    46151‐7777
ARVIL J PERRY                                     897 KNOTTY PINE LN                                                                           DUFF            TN    37729‐3515
ARVIL M BURNS                                     46992 AL HIGHWAY 75 N                                                                        CROSSVILLE      AL    35962‐5000
ARVIL MILLER                                      2524 CAMPBELL ST                                                                             SANDUSKY        OH    44870‐5309
ARVILEE W PETTIT                                  212 N BRIDGE ST                     STE 2                                                    GRAND LEDGE     MI    48837‐2609
ARVILLA BIRDEEN ALLEN                             3506 CEADERDALE CT                                                                           TOLEDO          OH    43623‐1826
ARVILLA S BETTS                                   809 40TH ST SW                                                                               WYOMING         MI    49509‐4401
ARVILLE BURKE                                     4938 KAREN AVE SW                                                                            WYOMING         MI    49548‐4256
ARVILLE D SMITH                                   22756 BOHN ROAD                     PO BOX 363                                               BELLEVILLE      MI    48112‐0363
ARVILLE J BLAZER TOD SUEANN STOKES SUBJECT TO STA 714 MELROSE DR                                                                               NEW WHITELAND   IN    46184‐1164
TOD RULES
ARVILLE W PETTIT                                  1132 PINE                                                                                    GRAND LEDGE     MI    48837‐2121
ARVIN E MATHERLY                                  710 S MILFORD RD                                                                             MILFORD         MI    48381‐2797
ARVIN E MICHAEL                                   8800 E COUNTY RD                    800 SOUTH                                                MUNCIE          IN    47302
ARVIN K MATHERLY                                  1483 HARBOR DR                                                                               WALLED LAKE     MI    48390‐3633
ARVIND S SABHARWAL                                PO BOX 913                                                                                   TROY            MI    48099‐0913
ARVIND SHAH & NALINI SHAH JT TEN                  514 HIGH RD                                                                                  RIVERVALE       NJ    07675‐6121
ARVIS L PRESLEY                                   149 RYDELL RD                                                                                CORBIN          KY    40701‐4173
ARVIST R FORD SR                                  6717 WEST COUNTY ROAD 250 S                                                                  DANVILLE        IN    46122‐8850
ARVLE HALCOMB                                     1320 GINGHAM‐FRED RD                                                                         TIPP CITY       OH    45371
ARVLE HOPPER                                      6999 EASY ST                                                                                 OCALA           FL    34472‐9141
ARVOL L MCABEE                                    1020 RALEIGH DR                     APT 405                                                  CARROLLTON      TX    75007‐7903
ARVON M HARDING SR                                1819 N KELHAM                                                                                OKLA CITY       OK    73111‐1327
ARWILDA MARTIN                                    218 FIFTH AVE N                                                                              KURE BEACH      NC    28449‐3822
ARWIN PATRICK WRIGHT                              PO BOX 4                                                                                     BATON ROUGE     LA    70821‐0004
ARY CHARLES ARNESON                               316 CALIFORNIA AVE 754                                                                       RENO            NV    89509
ARY M REED & BERNICE REED JT TEN                  192 B HERITAGE VILLAGE                                                                       SOUTHBURY       CT    06488‐1442
ARYEH JESELSOHN & MRS SURE JESELSOHN JT TEN       3100 INDEPENDENCE AVE                                                                        BRONX           NY    10463‐1006
ARYEH L FRIEDMAN                                  46 EASTON RD                                                                                 WESTPORT        CT    06880‐2214
ARZEL TURNBOW                                     PO BOX 672                                                                                   HIGHLAND        MI    48357‐0672
ARZELLA A HERNANDEZ                               3646 BRUMBAUGH BLVD                                                                          DAYTON          OH    45416‐1327
ARZIE GREENE                                      4645 HANLEY PARK DR                                                                          WALKERTOWN      NC    27051
ARZLENE A JOHNSON                                 815 ERNROE DR                                                                                DAYTON          OH    45408‐1509
ARZOLA M GILBERT                                  ROUTE 53                            2423 SOUTH ST                                            TIFFIN          OH    44883
ASA B FREEMAN                                     8534 CEDAR POINT RD                                                                          OREGON          OH    43616‐5885
ASA F ERB                                         23 CHESTNUT ST                                                                               WESTBOROUGH     MA    01581‐3001
ASA G BROWNING                                    2443 MARCHMONT DR                                                                            DAYTON          OH    45406‐1232
ASA G BROWNING JR                                 2443 MARCHMONT DRIVE                                                                         DAYTON          OH    45406‐1232
ASA K JENNINGS                                    5305 CARNEIA COURT                                                                           CARMICHAEL      CA    95608‐5009
ASA V FORBES TR UA 4/15/02 THE ASA V FORBES REV   4373 SOUTH ST                                                                                MARIANNA        FL    32448‐4470
TRUST
ASA W PELTON                                      4810 OAKLEY ROAD                                                                             AKRON           MI    48701‐9520
ASA WHITAKER & DOROTHY E WHITAKER JT TEN          17 N MAPLEWOOD DR                                                                            BRICKTOWN       NJ    08723‐3389
ASBURY COLLINS                                    4415 FARMETTE DR                                                                             RAVENHA         OH    44266‐9331
ASBURY PRESBYTERIAN CEMETERY ASSOCIATION          PO BOX 42                                                                                    ASBURY          NJ    08802‐0042
ASCENCION J ESCOJIDO                              PO BOX 195                                                                                   DIMONDALE       MI    48821‐0195
ASDRUBAL F LORADOR                                48 WOODFIELD TERR                                                                            TARRYTOWN       NY    10591‐5019
ASENCION J GUZMAN                                 3375 BARNARD RD                                                                              SAGINAW         MI    48603‐2505
                                            09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 281 of 850
Name                                          Address1                             Address2             Address3          Address4          City               State Zip

ASHBY E STINNETT                              2805 FLOYD HAMPTON RD                                                                         CROWLEY            TX    76036‐9181
ASHBY J SINGLETARY JR                         154 CHAMPLAIN ST                                                                              ROCHESTER          NY    14608‐2516
ASHBY JOHN MITCHELL                           6 NICOL TER                                                                                   RUMSON             NJ    07760
ASHELEY MADSEN                                6167 S OLD ORCHARD LANE                                                                       SALT LAKE CITY     UT    84121‐1575
ASHER G MURPHY                                3081 LODI COURT                                                                               DELTONA            FL    32738‐5354
ASHER I SMITH                                 3562 S VALLEY AVE                                                                             MARION             IN    46953‐3419
ASHEVILLE SCHOOL INC                          ASHEVILLE SCHOOL                                                                              ASHEVILLE          NC    28801
ASHIMA TAHILRAMANI                            4851 PELOWORTH PL                                                                             SAGIANW            MI    48603
ASHISH TALWAR                                 9 GRANTBROOK CT                      BRAMPTON ON                            L6S 2K8 CANADA
ASHLEE FRANCES HARRIS                         7294 E WOODSAGE LN                                                                            SCOTTSDALE         AZ    85258‐2075
ASHLEIGH E CRATE                              812 THE QUEENSWAY                    TORONTO ON                             M8Z 1N5 CANADA
ASHLEY AARON WHITE                            12520 BAILEY DR N E                                                                           LOWELL             MI    49331‐9782
ASHLEY ALLYN THORN                            1501 CARDINGTON RD                                                                            DAYTON             OH    45409‐1746
ASHLEY ANNE MASTERS                           5140 S HYDE PARK BLVD                APT 17H                                                  CHICAGO            IL    60615‐4266
ASHLEY B COOK                                 2617 BARTON AVE                                                                               NASHVILLE          TN    37212‐4116
ASHLEY B ENGLISH JR                           15255 N FRANK LLOYD WRIGHT BLVD      APT 1102                                                 SCOTTSDALE         AZ    85260
ASHLEY C LAWRENCE                             696 WOODBINE RD                                                                               WAYNESVILLE        NC    28785
ASHLEY CARMAN                                 6920 DRAKE ROAD                                                                               CINCINNATI         OH    45243‐2736
ASHLEY CAROLYN BILLICK                        615 WINDWALK DR                                                                               ROSWELL            GA    30076‐1276
ASHLEY CLARK                                  C/O HELEN ASHTON                     RR 1                 BALTIMORE ON      K0K 1C0 CANADA
ASHLEY CLINTON                                PO BOX 1924                                                                                   LINDALE            TX    75771‐1924
ASHLEY D MIHLE                                2929 KINGS RD                        APT 5301                                                 DALLAS             TX    75219‐6151
ASHLEY DUNHAM BOYD                            182 SHORE RD                                                                                  OLD GREENWICH      CT    06870‐2422
ASHLEY E BURKE                                210 FACTORS WALK                                                                              SUMMERVILLE        SC    29485‐5814
ASHLEY E KACZOR                               3260 MILLERSPORT HWY                 APT 1                                                    GETZVILLE          NY    14068‐1479
ASHLEY E LUNDGREN                             41 WILDWOOD AVE                                                                               BRAINTREE          MA    02184‐8036
ASHLEY E QUINN                                1548 VINE ST                                                                                  EL CENTRO          CA    92243‐3741
ASHLEY E REED                                 9703 WILDBRIAR LANE                                                                           RICHMOND           VA    23229‐3944
ASHLEY E THOMPSON                             1224 WOODLAND DR                                                                              FAYETTEVILLE       NC    28305
ASHLEY ELIZABETH JONAS                        1360 CARMEN LN                                                                                GASTONIA           NC    28054‐5738
ASHLEY F TALBOT & JEAN N TALBOT JT TEN        76 COMANCHE AVE                                                                               ROCKAWAY           NJ    07866‐1116
ASHLEY FORRESTER                              2618 KENSINGTON ALY                                                                           GAINESVILLE        GA    30504‐2690
ASHLEY G SWIFT & ROBERTA J SWIFT JT TEN       18324 ADMIRALTY DR                                                                            STRONGSVILLE       OH    44136‐7018
ASHLEY HALE                                   1330 TIFFANY LN                      APT E                                                    MURRAY             KY    42071‐8725
ASHLEY HOPE DAFFRON                           7819 NORTH COVE RD                                                                            BALTIMORE          MD    21219‐1919
ASHLEY HOWARD                                 2256 ACTON PARK CIR                                                                           BIRMINGHAM         AL    35243
ASHLEY KIMCAID                                12454 LIMBERLOST DR                                                                           CARMEL             IN    46033
ASHLEY M BROWN                                14710 MYER TERR                                                                               ROCKVILLE          MD    20853‐2240
ASHLEY M COPPS                                2559 WHITE OAK DR                                                                             GADSDEN            AL    35907‐7074
ASHLEY M EDWARDS                              33370 FAIRWAY VISTA                                                                           NEW BALTIMORE      MI    48047‐4521
ASHLEY M EDWARDS                              54014 STARLITE                                                                                SHELBY TOWNSHIP    MI    48316‐1540

ASHLEY N DESPAIN                              4646 GEARY BLVD                      APT 3                                                    SAN FRANCISCO      CA    94118‐2928
ASHLEY O BUSH JR                              1657 GRASSHILL RD                                                                             ESTILL             SC    29918
ASHLEY REGAN LEAPHART                         411 BERNARD ST                                                                                LEESVILLE          SC    29070‐7858
ASHLEY ROBINSON                               27 CRESTONE PL                                                                                PARACHUTE          CO    81635
ASHLEY ROUNTREE                               7365 FIELDGATE DR                                                                             DALLAS             TX    75230‐5425
ASHLEY TAYLOR SMITH                           331 S VAN DIEN AVE                                                                            RIDGEWOOD          NJ    07450‐5222
ASHOK A AGUIAR                                1365 KNOLLCREST CR                                                                            BLOOMFIELD HILLS   MI    48304‐1241

ASHOK CHOKSI & MADELINE M CHOKSI JT TEN       12 SILVER LANE                                                                                PLAINSBORO         NJ    08536‐1116
ASHOK K RATTAN                                13176 CONNELL ST                                                                              OVERLAND PARK      KS    66213‐3314
ASHOK V DALVI                                 1940 DEVONSHIRE DR                                                                            WIXOM              MI    48393‐4411
ASHOK V MEHTA & VARSHA A MEHTA JT TEN         7307 STONES RIVER DRIVE                                                                       INDIANAPOLIS       IN    46259‐5796
ASHVIN V SOMPURA                              4276 VIA AZUL                                                                                 NEWBURY PARK       CA    91320‐6804
ASHWANI K GALHOTRA                            5466 WALNUT KNOLL CT                                                                          WEST BLOOMFIELD    MI    48323‐2550

ASIF ALI CUST ZANE ALI UTMA FL                2230 PARKSIDE ST                                                                              BOCA RATON         FL    33486‐5208
ASILO DE INFANCIA DESVALIDA PONTA DELGADA     PONTA DELGADA SAO MIGUEL             AZORES                                 PORTUGAL
                                             09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                  Part 1 of 8 Pg 282 of 850
Name                                           Address1                            Address2                Address3              Address4          City               State Zip

ASILO DE INFANCIA DESVALIDA RIBEIRA GRANDE     R BOTELHO                           25 MATRIZ               9600 RIBEIDA GRANDE   PORTUGAL
ASILO DE MENDICIDADE PONTA DELGADA             RUA LUIS SOARES DE SOUSA            66‐9500 PONTA DELGADA   AZORES                PORTUGAL
ASILO DE MENDIGIDE RIBEIRA GRANDE              9600 RIBEIRA GRANDE                 SAO MIGUEL              AZORES                PORTUGAL
ASMA AKHRAS                                    9001 TURNBERRY DR                                                                                   BURR RIDGE         IL    60521‐0314
ASMA J SARAJ                                   255 SEQUOIA DR                                                                                      PASADENA           CA    91105‐2163
ASMAHAN J RAAD                                 3733 LANCASTER DR                                                                                   STERLING HEIGHTS   MI    48310‐4407

ASNER B MCCOY                                  16721 MURRAYHILL                                                                                    DETROIT            MI    48235‐3639
ASPASIA Z MELLAS                               55 PENNSYLVANIA AVENUE                                                                              LOCKPORT           NY    14094‐5725
ASPEN HEATING & COOLING                        31750 KREBBS                                                                                        AVON LAKE          OH    44012‐2728
ASPI R WADIA                                   10003 MORGANSTRACE DRIVE                                                                            LOVELAND           OH    45140‐8924
ASSEMBLY ORDER NO 01‐SOCIAL ORDER OF BEAUCEANT C/O MRS DALLAS LLOYD                766 W FREMONT DR                                                LITTLETON          CO    80120

ASSOCIATED STUDENTS INC                        UNIVERSITY UNION RM 217             STUDENT LIFE CAL POLY                                           SAN LUIS OBISPO    CA    93407
ASSUNTA S LONGO                                9135 JOHNNYCAKE RIDGE RD                                                                            MENTOR             OH    44060‐7018
ASTA I ZEGELIEN                                14 DEFIANCE COMMONS UNIT F                                                                          WAPAKONETA         OH    45895‐1255
ASTRID D RUSSO                                 2592 NORTHWEST BLVD & CAROL DR                                                                      VINELAND           NJ    08360
ASTRIDA TERAUDS                                711 E PARK AVE                                                                                      LONG BEACH         NY    11561‐2621
ATANACIO G TRIGO JR                            405 UNION ST                                                                                        SAINT LOUIS        MI    48880‐1833
ATANACIO VILLEGAS                              240 HILTON                                                                                          TOLEDO             OH    43615‐5024
ATELIA I MELAVILLE                             1218 BRUNSWICK CT                                                                                   ARNOLD             MD    21012‐2331
ATHA S AYERS                                   804 E 154TH ST                                                                                      COMPTON            CA    90220‐2515
ATHALEAN C HARDRICK                            18010 SAN JUAN                                                                                      DETROIT            MI    48221‐2643
ATHAN E ZOGRAPHOS & MARY G ZOGRAPHOS           4125 SEMINOLE DR                                                                                    ROYAL OAK          MI    48073‐6314
ATHANASIA ZIGOURIS                             18578 GLENGARRY DR                                                                                  LIVONIA            MI    48152‐8098
ATHELEEN R HARGETT                             101 MILLS PLACE                                                                                     NEW LEBANON        OH    45345‐1430
ATHELENE E LUNEK                               7112 B R NOBLE COURT                                                                                LEXINGTON          MI    48450‐8946
ATHENA A BEAN                                  11030 COUNTY ROAD 454                                                                               BROWNWOOD          TX    76801‐0431
ATHENA H BEAN & WALTER H HAFNER JT TEN         602 SPRINGDALE SRIVE                                                                                SAN ANTONIO        TX    78227
ATHENA H BEAN CUST ANA ALAINA HAFNER UGMA TX   602 SPRINGVALE DR                                                                                   SAN ANTONIO        TX    78227‐4453

ATHENA H BEAN CUST ARIEL HAFNER UGMA TX        602 SPRINGVALE DR                                                                                   SAN ANTONIO        TX    78227‐4453
ATHENA H BEAN CUST ELLIE M HAFNER UTMA TX      602 SPRINGVALE DR                                                                                   SAN ANTONIO        TX    78227‐4453
ATHENA M MACIAS                                2932 YORK ST                                                                                        ROCHESTER          MI    48309‐3131
ATHENA R DUMAS                                 434 JORDAN RD                                                                                       PONTIAC            MI    48342‐1735
ATHENODORO S KYRIAKIDES                        960 SPENCE ST                                                                                       PONTIAC            MI    48340‐3061
ATHENS COLLEGE FOUNDATION                      ATTN ATHENS STATE COLLEGE           300 N BEATY ST                                                  ATHENS             AL    35611‐1902
ATHENS RURAL CEMETERY ASSOCIATION              BOX 150                                                                                             ATHENS             NY    12015‐0150
ATHENS‐LIMESTONE COUNTY UNITED WAY             419 S MARION                                                                                        ATHENS             AL    35611‐2507
ATHER A QUADER                                 1808 WASHINGTON ROAD                                                                                ROCHESTER HILLS    MI    48306‐3551
ATHLYNN G RICAMORE                             195 ORA RD                                                                                          OXFORD             MI    48371‐3229
ATHOL E WARREN                                 RR #1 BOX 399                                                                                       ADRIAN             MO    64720‐9741
ATHON WEBBER                                   9909 SANDUSKY AVE                                                                                   CLEVELAND          OH    44105‐2368
ATILDA BRIGHT KEY                              PO BOX 354                                                                                          VERNON             IN    47282‐0354
ATLAS J MALEC                                  7030 HARTLAND                                                                                       FENTON             MI    48430‐9513
ATLEE D LINDSAY                                1927 EVANS ST                                                                                       NEWBERRY           SC    29108‐2615
ATMARAM B BHANSALI & PANNA BHANSALI JT TEN     124 MINGES HILLS DRIVE                                                                              BATTLE CREEK       MI    49015‐9340

ATSUKO A JUDGE                               APT 1203                              1001 PINE ST                                                    SAN FRANCISCO      CA    94109‐5008
ATSUKO TAMURA TR UA 01/29/1998 SEIZO TAMURA  920 W LAWRENCE AVE 605                                                                                CHICAGO            IL    60640
FAMILY TRUST
ATTILA E KNIZNER                             11099 OLDE ORCHARD CT                                                                                 ROSCOMMON          MI    48653‐8907
ATTILA S NEMETH                              PO BOX 3927                                                                                           MANSFIELD          OH    44907‐3927
ATTILIO A PECORA                             211 RAYMALEY ROAD                                                                                     HARRISON CITY      PA    15636‐1427
ATTILIO CAMMARATO & MRS ANN CAMMARATO JT TEN 39646 KEITHS CIR                      # SUNDANCE                                                      ZEPHYRHILLS        FL    33542‐2982

ATTILIO DE PAOLA                               1250 RIVER BAY RD                                                                                   ANNAPOLIS          MD    21409‐4916
ATTILIO F CAPO & SHARON M CAPO JT TEN          1006 EDWARD ST                                                                                      N VERSAILLES       PA    15137‐2004
ATTILIO L SPOGLI                               5649 LAKEVIEW MEWS DR                                                                               BOYNTON BEACH      FL    33437‐1508
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 283 of 850
Name                                            Address1                             Address2             Address3          Address4          City              State Zip

ATTIS E THORNTON                                5189 OLD SMITH VALLEY RD                                                                      GREENWOOD         IN    46143‐8818
ATTORNEY JAMES WELDON HILL SR                   7755 YARDDY DR #411D                                                                          TAMARAC           FL    33321‐0843
ATUL KAPOOR                                     11200 ELMVIEW PL                                                                              GREAT FALLS       VA    22066‐3039
ATWOOD H KELTS                                  3166 N OAK RD                                                                                 DAVISON           MI    48423‐8114
AUBIN J CHANG                                   7896 TROTTERS PARK ST                                                                         YPSILANTI         MI    48197‐1862
AUBRA M BROWNING                                8701 E SPLINTER RIDGE RD                                                                      MADISON           IN    47250‐8502
AUBRA PAUL DEAN & SALLEY SUE DEAN JT TEN        RT 4 BOX 4958                                                                                 JONESVILLE        VA    24263‐9382
AUBREY A WHITT                                  3410 W 22ND AVE                                                                               GARY              IN    46404‐2954
AUBREY A ZOOK                                   2980 OLD STATE RD 37 N                                                                        MARTINSVILLE      IN    46151‐7638
AUBREY BELT                                     1106 WINFIELD AVE                                                                             CINCINNATI        OH    45205‐1621
AUBREY C FREEL                                  1566 MOCKINBIRD DR                                                                            MURRAY            KY    42071‐3280
AUBREY CRAVEN                                   ATTN MARTHA COOK                     506 COUNTY ROAD 1                                        WEDOWEE           AL    36278‐6264
AUBREY CULP                                     1209 DALE RD                                                                                  BEAVERTON         MI    48612‐9195
AUBREY D GANTT JR                               13737 LAKESIDE DR                                                                             CLARKSVILLE       MD    21029‐1346
AUBREY D OBRIEN & ELEANORE M OBRIEN JT TEN      209 E GREEN                                                                                   BIRMINGHAM        AL    35243‐1863
AUBREY F COLES                                  1961 SAINT JAMES RD                                                                           RICHMOND          VA    23231‐6953
AUBREY G DAVIS                                  213 BECKWITH RD                                                                               WEST HENRIETTA    NY    14586‐9720
AUBREY H TOBIN                                  5498 SUNNYCREST DRIVE                                                                         WEST BLOOMFIELD   MI    48323‐3861

AUBREY I FINN                                   8962 HOLLYWOOD HILLS RD                                                                       LOS ANGELES       CA    90046‐1415
AUBREY J HOPPER                                 13387 HENDERSON                                                                               OTISVILLE         MI    48463‐9719
AUBREY L BARKER                                 8070 DOUTHIT RD                                                                               HIGGINSVILLE      MO    64037‐9801
AUBREY L BENANDO                                13471 POPLAR                                                                                  SOUTHGATE         MI    48195‐2449
AUBREY L FLOYD                                  6147 DAHLONEGA HWY                                                                            CLERMONT          GA    30527‐1210
AUBREY L HILL                                   35937 JOY RD                                                                                  WESTLAND          MI    48185‐1105
AUBREY L LA FORCE                               619 RIVERSIDE                                                                                 DEFIANCE          OH    43512‐2842
AUBREY L PRICE                                  206 W STEWART STREET                                                                          MOORESVILLE       NC    28115‐2258
AUBREY L WOODS                                  3305 DANDRIDGE AVE                                                                            DAYTON            OH    45407‐1130
AUBREY LEE EVAN JR                              2219 ADY ROAD                                                                                 FOREST HILLS      MD    21050‐1706
AUBREY LYNN ELLIS                               748 ERIE AVE                                                                                  CHILLICOTHE       OH    45601‐1423
AUBREY MANNING JR                               16051 KENNEDY                                                                                 ROSEVILLE         MI    48066‐2320
AUBREY R SANDERS                                2 CIRCLE C                                                                                    ORANGE            TX    77630‐4639
AUBREY R SNYDER                                 327 EAST 9TH AVE                                                                              TARENTUM          PA    15084‐1043
AUBREY S BROWN                                  2501 E PROVINCIAL HOUSE DR                                                                    LANSING           MI    48910‐4877
AUBREY S TOMLINSON JR                           P O DRAWER 708                                                                                LOUISBURG         NC    27549‐0708
AUBREY S WALTERS                                400 E DAYTON CIRCLE                                                                           FT LAUDERDALE     FL    33312‐1917
AUBREY SCOTT                                    5707 GRANDVISTA DR                                                                            INDIANAPOLIS      IN    46234‐3654
AUBREY T BLAYLOCKI JR                           2140 EARLY SETTLERS RD                                                                        RICHMOND          VA    23235
AUBREY T LAMBACK                                PO BOX 92                                                                                     CONLEY            GA    30288‐0092
AUBREY V BANKS                                  229 CORWIN LN                                                                                 FORT WAYNE        IN    46816‐1020
AUBREY V FISHER                                 191 FOLEY DRIVE                                                                               SOUTHINGTON       CT    06489‐4413
AUBREY W GREEN                                  2201 LAKEWOOD DRIVE                                                                           NOKOMIS           FL    34275‐3526
AUBREY W HARDY SR                               170 EAST AVE                         APT 4                                                    WINFIELD          MO    63389‐3442
AUBREY W HODGES                                 55 AUTUMN RUN DR                                                                              MONTICELLO        KY    42633‐3721
AUBURN C PERKINS                                222 N SUMMIT                                                                                  WEBBERVILLE       MI    48892
AUBURN R PACE                                   1825 W EMELITA AVE                   OFC                                                      MESA              AZ    85202‐4060
AUDENCIO A PADILLA                              934 COAL CT                                                                                   SPARKS            NV    89434‐5817
AUDETH HARRIS                                   2016 PEABODY ST                                                                               HYATTSVILLE       MD    20782
AUDIA MOTORS SALES INC                          3692 ROUTE 44                                                                                 MILLBROOK         NY    12545‐5816
AUDIE L JOHNSON                                 PO BOX 14                                                                                     BOYNE FALLS       MI    49713‐0014
AUDIE L JOHNSON & ESTHER CHEYNE JT TEN          PO BOX 14                                                                                     BOYNE FALLS       MI    49713‐0014
AUDIE REX TURNER JR CUST AUDIE REX TURNER III   701 PARTRIDGE DR                                                                              ALBANY            GA    31707‐3086
UTMA GA
AUDIE REX TURNER JR CUST LEE ANN TURNER UTMA GA 701 PARTRIDGE DR                                                                              ALBANY            GA    31707‐3086

AUDIS L BRUCE                                   1052 COUNTRY LANE                                                                             ATLANTA           GA    30324‐4508
AUDLEY A WEBSTER                                4449 BOATMANS CV                                                                              STONE MOUNTAIN    GA    30083‐2483

AUDLEY J THOMPSON JR                            PO BOX 308                                                                                    SLIDELL           LA    70459‐0308
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 284 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

AUDLEY O REDWOOD                                 12639 SOUTH LOWE                                                                                CHICAGO          IL    60628‐7015
AUDLEY R BAILEY                                  2177 CONNALLY DRIVE                                                                             EAST POINT       GA    30344‐1105
AUDRA D MC CORD & DEBORAH A SKORESEN JT TEN      2705 RIDGEMERE DR                                                                               FLOWER MOUND     TX    75028

AUDRA HARRISON                                   120 CALLE AMISTAD                      UNIT 6204                                                SAN CLEMENTE     CA    92673‐6937
AUDRA L NEWKIRK                                  18651 HASSE                                                                                     DETROIT          MI    48234‐2139
AUDRA M BILDEAUX & NATHAN L BILDEAUX JT TEN      3190 VOSS DR                                                                                    TRAVERSE CITY    MI    49684‐7873

AUDRA M BROWNING                                 10498 BENT TREE VW                                                                              DULUTH           GA    30097‐4423
AUDRA R BRYANT                                   2810 NORTH EDGEMOOR CIRCLE                                                                      WICHITA          KS    67220‐4244
AUDRA R SIEGEL                                   600 SPANG RD                                                                                    BADEN            PA    15005‐2546
AUDRAE R REBSTOCK                                3824 S 16TH ST                                                                                  MILWAUKEE        WI    53221‐1624
AUDRAE W KING                                    PO BOX 5716                                                                                     BREMERTON        WA    98312‐0577
AUDRAE W KING TR AUDRAE W KING LIVING TRUST UA   PO BOX 5716                                                                                     BREMERTON        WA    98312‐0577
06/13/97
AUDRE M VYSNIAUSKAS                              10693 PARKER COURT                                                                              SOUTH LYON       MI    48178‐9300
AUDRELL B BROWN                                  123 E 34TH ST                                                                                   ANDERSON         IN    46013‐4613
AUDREY A ARRINGTON                               18085 GRUEBNER                                                                                  DETROIT          MI    48234‐3853
AUDREY A CHRISTOPHEL                             5231 APPLEWOOD DR                                                                               YPSILANTI        MI    48197‐8351
AUDREY A CRONK                                   6767 SAN CASA DR                       LOT 80                                                   ENGLEWOOD        FL    34224‐7612
AUDREY A FROST                                   244 MAC ARTHUR DRIVE                                                                            PORT CHARLOTTE   FL    33954‐2413
AUDREY A HUGHES                                  1 DEMPSEY DRIVE                                                                                 NEWARK           DE    19713‐1929
AUDREY A HUNCKLER                                3476 FLEETWOOD DR                                                                               SALT LAKE CITY   UT    84109‐3214
AUDREY A MEAD                                    6449 GERALD AVE                                                                                 VAN NUYS         CA    91406‐5605
AUDREY A MISHLER                                 11596 STATE ROUTE 122                                                                           CAMDEN           OH    45311‐8870
AUDREY A RACZKOWSKI                              42748 TESSMER DR                                                                                STERLING HGTS    MI    48314‐3078
AUDREY A WIATROWSKI                              1 PLEASANT AVE W                       STE 1                                                    LANCASTER        NY    14086‐2146
AUDREY A WORTHINGTON                             7186 BISHOP RD                                                                                  APPLETON         NY    14008‐9633
AUDREY A ZAHARES                                 8 HEALTH RD                                                                                     OLD ORCHARD      ME    04064
                                                                                                                                                 BEACH
AUDREY A ZANTO                                   19 SPARROW HILL CT                                                                              BALTIMORE        MD    21228‐2546
AUDREY ARNOLD CHATELAIN                          4747 FRANKLIN AVENUE                                                                            NEW ORLEANS      LA    70122‐6111
AUDREY AUGUSTIN HUFFMAN                          560 BROOK RD                                                                                    WAITSFIELD       VT    05673‐7403
AUDREY B ANGELL TR AUDREY B ANGELL REVOCABLE     28 KINGSTON DR                                                                                  RIDGE            NY    11961‐2054
TRUST UA 04/05/01
AUDREY B GESENHUES                               12492 PETRILLO DR                                                                               HIGHLAND         MD    20777‐9567
AUDREY B GILLENWATER                             1075 KISMET DR                                                                                  AIKEN            SC    29803
AUDREY B GLADNEY                                 80 SUCCESS DRIVE                                                                                BOLTON           MS    39041‐9647
AUDREY B GOSS                                    1641 ELM AVE                           APT 18                                                   PT PLEASANT      NJ    08742‐4517
AUDREY B LIVINGSTON                              7204 FAIRLANE RD                                                                                POWELL           TN    37849‐4441
AUDREY B ROGERS                                  9146 SOUTH DENKER AVE                                                                           LOS ANGELES      CA    90047
AUDREY B SPAULDING                               10474 SEYMOUR RD                                                                                MONTROSE         MI    48457‐9015
AUDREY B WEISS                                   20 SIXTH ST                                                                                     COLORADO SPRINGS CO    80906‐3628

AUDREY B WEISS CUST AMY ELIZABETH WEISS UGMA CO 6203 S BOSTON CT                                                                                 ENGLEWOOD        CO    80111‐5282

AUDREY BRENNAN OVES                              5879 STORR RD                                                                                   FERNDALE         WA    98248‐9651
AUDREY C CAMPBELL                                111 ELLISWOOD DR                                                                                STATESBORO       GA    30458‐9113
AUDREY C SIZEMORE                                137 CAVALRY DR                                                                                  FRANKLIN         TN    37064‐4907
AUDREY CANELAKE                                  APT 309                                400 GROVELAND AVE                                        MINNEAPOLIS      MN    55403‐3243
AUDREY COPELAND                                  17733 NORTHROP STREET                                                                           DETROIT          MI    48219‐2321
AUDREY CORDES                                    12 RUGBY RD                                                                                     CEDAR GROVE      NJ    07009‐1707
AUDREY CRISLIP & JACK E CRISLIP JR JT TEN        731 CONNELLSVILLE AVE                                                                           CONNELLSVILLE    PA    15425‐9738
AUDREY CURTIS                                    12565 IMPERIAL ISLE DR                 APT 407                                                  BOYNTON BEACH    FL    33437‐7239
AUDREY D DINGMAN & JAMES C DINGMAN JT TEN        13109 SOUTH M‐F HIGHWAY                                                                         LONE JACK        MO    64070‐8540
AUDREY D HARE & VIRGINIA RUTH HARE JT TEN        ROUTE 3 BOX 86                                                                                  JAY              OK    74346‐9807
AUDREY D HENDRICKS                               7243 EDINBURGH                                                                                  LAMBERTVILLE     MI    48144‐9546
AUDREY D POOL                                    1519 N MARTEL AVE #210                                                                          LOS ANGELES      CA    90046‐3688
AUDREY D TUCKER                                  744 N MAIN ST                                                                                   LAKE MILLS       WI    53551‐1115
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 285 of 850
Name                                                Address1                              Address2              Address3         Address4          City                State Zip

AUDREY D TUCKER                                    744 N MAIN ST                                                                                   LAKE MILLS          WI    53551‐1115
AUDREY DRISKELL                                    2321 BRISTOL DR                                                                                 MACON               GA    31217‐4501
AUDREY DRUVA                                       1625 BRAE ST                                                                                    SANTA FE            NM    87505‐2008
AUDREY E BASSO                                     20 BROCKTON DR                                                                                  MENDHAM             NJ    07945‐3007
AUDREY E BIXLER TR UA 09/10/92 BIXLER FAMILY TRUST 1379 DEPOT STREET                                                                               MINERAL RIDGE       OH    44440‐9536

AUDREY E BULMER                                     161 WOODLANE COURT                    OSHAWA ON                              L1G 6Y5 CANADA
AUDREY E DEMPSEY                                    2 WILLOW SPRING DR                                                                             MORRISTOWN          NJ    07960‐2833
AUDREY E GARVIE                                     20 BROMLEY AVE                        PYMBLE NEW SO WALES                    2073 AUSTRALIA
AUDREY E OLAS                                       127 WEXFORD PL                                                                                 WEBSTER             NY    14580
AUDREY E RUNYAN                                     456 N OAKLAND AVE                                                                              SHARON              PA    16146‐2392
AUDREY E SHELDON & LES M SHELDON JT TEN             3131 N SQUIRREL RD                    APT 330                                                  AUBURN HILLS        MI    48326‐3952
AUDREY E SIMPSON                                    208 S CRAWFORD ST                                                                              THOMASVILLE         GA    31792‐5503
AUDREY E TANK & EARL A TANK JR JT TEN               21601 BRIXHAM RUN LOOP                                                                         ESTERO              FL    33928‐3290
AUDREY E WARREN & CORINNE L WARREN JT TEN           3406 NORWOOD DR                                                                                FLINT               MI    48503‐2378
AUDREY E WEBER                                      467 WOODLAND DR                                                                                PITTSBURGH          PA    15237‐3775
AUDREY E WHITNEY                                    9942 LEDGESTONE TERRACE                                                                        AUSTIN              TX    78737‐1133
AUDREY EDWARD WHITWORTH                             801 HENDRIX                                                                                    POPLAR BLUFF        MO    63901‐3121
AUDREY EILEEN LUCE                                  475 REMINGTON CT                                                                               FENTON              MI    48430‐3109
AUDREY ELLEN BRODIE                                 114 COVENTRY COURT                                                                             DOVER               DE    19901‐6551
AUDREY EMGE                                         357 WEST CHESTER                                                                               NASHVILLE           IL    62263‐1456
AUDREY F DENNISS & CHRISTINE L DENNISS & JENNIFER   1192 BORG AVE                                                                                  TEMPERANCE          MI    48182‐9670
L SOBCZAK JT TEN
AUDREY F DUNN & ROBERT EDWARDS DUNN JR JT TEN       12229 OLD CREEDMORE ROAD                                                                       RALEIGH             NC    27613‐7214

AUDREY F HOUSE                                      10490 W MARKLEY RD                                                                             LAURA               OH    45337‐8730
AUDREY FAN CAPIN                                    1127 20TH STREET #4                                                                            SANTA MONICA        CA    90403‐5603
AUDREY G DE VOTO                                    1525 WALPOLE DR                                                                                CHESTERFIELD        MO    63017‐4614
AUDREY G HALLER                                     14 WELLS RD                                                                                    MONROE              CT    06468‐1232
AUDREY G LEWIS                                      10345 CANYON TR                                                                                JONESBORO           GA    30238‐6499
AUDREY G LOKANIS                                    45810 MEADOW CIRCLE W                                                                          MACOMB              MI    48044‐3910
AUDREY G ROBINSON                                   12919 W BEECHWOOD DRIVE                                                                        SUNCITY WEST        AZ    85375‐3237
AUDREY G WILCOX TR THE WILCOX TRUST UA 01/05/90     4144 VIA SOLANO                                                                                PALOS VERDES        CA    90274‐1132
                                                                                                                                                   ESTAT
AUDREY GAHN                                         1513 HACKWORTH ST                                                                              COLUMBUS            OH    43207‐4493
AUDREY H DAVIS                                      3117 E ROVEEN AVE                                                                              PHOENIX             AZ    85032‐6570
AUDREY H HUGHES                                     606 COLVILLE PLACE                                                                             WAUKEGAN            IL    60087‐5027
AUDREY H PATTERSON                                  5529 WALNUT CIRCLE WEST                                                                        WEST BLOOMFIELD     MI    48033

AUDREY H SKIDMORE                                   1141 PROSPECT ST                                                                               SALEM               OH    44460‐2056
AUDREY H WHITTEN                                    10408 RECLINATA LN                                                                             TAMPA               FL    33618‐4220
AUDREY HAIRSTON                                     705 TRELLIS CT                                                                                 MCDONOUGH           GA    30253‐7279
AUDREY HARTSELL GOODMAN                             ATTN AUDREY GOODMAN RIGSBEE           25666 PRESTON LN                                         ALBEMARLE           NC    28001‐9488
AUDREY HELEN FISCHER                                9 CLYDE STREET                                                                                 GLOVERSVILLE        NY    12078‐4110
AUDREY HILL                                         700 WINTER AVE                                                                                 WASILLA             AK    99654
AUDREY HILL OLIVA                                   741 GREENTREE ROAD                                                                             PACIFIC PALISADES   CA    90272‐3910

AUDREY HUME SCHILKEY & ROBERT L SCHILKEY JT TEN     1500 ADALEEN                                                                                   HIGHLAND            MI    48357‐3000

AUDREY I LESAGE & LINDA M LESAGE JT TEN             13416 GRAND RIVER DR                                                                           LOWELL              MI    49331‐9311
AUDREY I NEWMAN TR AUDREY I NEWMAN LIVING           9464 E MENLO CIR                                                                               MESA                AZ    85207‐2530
TRUST UA 09/06/94
AUDREY I PHELPS TR REVOCABLE TRUST 07/19/89 U‐A     1802 SW 19TH AVE                                                                               BOYNTON BEACH       FL    33426‐6509
AUDREY I PHELPS
AUDREY INGLE                                        112 HARVARD RD                                                                                 FAIRHAVEN           NJ    07704‐3105
AUDREY J ANDERSON                                   2120 N EAST                                                                                    LANSING             MI    48906‐4176
AUDREY J BARLOH                                     7640 TRAILWIND DRIVE                                                                           CINCINNATI          OH    45242‐5934
AUDREY J CADY                                       1145 RAMSGATE RD APT 1                                                                         FLINT               MI    48532‐3139
AUDREY J CONNAUGHTON                                1709 N DALEY                                                                                   MESA                AZ    85203‐3366
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 286 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

AUDREY J DIGIORGI                                191 FIELD MILLER ROAD                                                                           OTEGO            NY    13825‐2105
AUDREY J DUBE & SUSAN K HARRINGTON JT TEN        3900 STRATFORD AVE                                                                              LANSING          MI    48911‐2235
AUDREY J FRISBIE & CHRISTINE SNYDER JT TEN       2672 FRANK STREET                                                                               LANSING          MI    48911‐6401
AUDREY J GLASS                                   ATTN AUDREY J BURGESS                  2147 VOIGHT ROAD                                         SAINT HELEN      MI    48656‐9426
AUDREY J GRUVER                                  5151 2ND ST                                                                                     WHITEHALL        PA    18052‐1846
AUDREY J HILLERT                                 482 10TH PLACE                                                                                  VERO BEACH       FL    32960‐6818
AUDREY J JENNINGS TR AUDREY J JENNINGS 1995      3026 CHAUTAUQUA DR                                                                              SILVER LAKE      OH    44224‐3825
LIVING TRUST UA 09/01/95
AUDREY J LASKY                                   5408 W MOUNT MORRIS ROAD                                                                        MOUNT MORRIS     MI    48458‐9483
AUDREY J LEWIS & LAURA V LEWIS JT TEN            500 ARDUSSI AVE                                                                                 SAGINAW          MI    48602‐2786
AUDREY J MADDOCKS                                220‐15 KINGSBURY AVENUE                                                                         BAYSIDE          NY    11364‐3536
AUDREY J PALMIERI                                5035 DREWERSBURG PIKE                                                                           WEST HARRISON    IN    47060‐9639
AUDREY J SAUNDERS                                328 CLEVELAND AVE                                                                               CINCINNATI       OH    45246
AUDREY J SORENSEN & GERALDINE A SORENSEN &       1848 HOWARD ST N                                                                                MAPLEWOOD        MN    55109‐4843
MARICAROL A JOHNSON JT TEN
AUDREY J WALSH                                   3321 ARROW LANE                                                                                 PARMA            OH    44134‐5611
AUDREY J WARNER                                  591 CHESTNUT ST                                                                                 NEEDHAM          MA    02492‐2834
AUDREY J YOUNG                                   700 NE SILVERLEAF PL                                                                            LEES SUMMIT      MO    64064‐1659
AUDREY J ZYNDA                                   34826 HIVELEY                                                                                   WESTLAND         MI    48186‐4367
AUDREY JEAN CLARKIN                              1 ACORN LA                                                                                      LARCHMONT        NY    10538‐1901
AUDREY JEAN KNOTTS & RICHARD E KNOTTS JT TEN     1016 ROBERTS QUARTERS RD                                                                        CONCORD          GA    30206‐3290

AUDREY K CANNON                                  1520 AVE C                                                                                      FLINT            MI    48503‐1428
AUDREY K KRATZ & BENJAMIN D KRATZ JT TEN         306 S ELMS RD                                                                                   FLUSHING         MI    48433‐1835
AUDREY K MILLARD CUST ERIC W VOGT UGMA WI        2431 NORTH 95TH STREET                                                                          WAUWATOSA        WI    53226‐1747
AUDREY K ROBINSON                                7101 WHITTINGHAM DR                                                                             FORT MILL        SC    29707
AUDREY K TYGARD                                  14308 GRAFTON PL                                                                                TAMPA            FL    33625‐3353
AUDREY K ZANCO TR AUDREY K ZANCO DECLARATION     747 BROOKWOOD TERR #5                                                                           OLYMPIA FIELDS   IL    60461‐1543
OF TRUST UA 09/26/01
AUDREY KAPETANSKY                                2599 SONATA DRIVE                                                                               COLUMBUS         OH    43209‐3212
AUDREY KEHRER                                    8646 INGALLS LN                                                                                 CAMBY            IN    46113‐8116
AUDREY KRETZCHMAR                                785 KINGS RD                                                                                    ATHENS           GA    30606‐3158
AUDREY L AMES                                    4404 SULGRAVE DRIVE                                                                             SWARTZ CREEK     MI    48473‐8268
AUDREY L BENEDIS & DAWN M YANDEL JT TEN          4139 E MC DOWELL A‐9                                                                            PHOENIX          AZ    85008
AUDREY L BRIEN                                   5667 RT #3                                                                                      SARANAC          NY    12981‐2622
AUDREY L BROWN                                   6740 WISNER HWY                                                                                 ADRIAN           MI    49221‐9552
AUDREY L COLLINS & JOHN W DEMPSEY JT TEN         7349 SHILOH RD                                                                                  GOSHEN           OH    45122‐9647
AUDREY L ERICKSON                                308 BETHUNE DR                                                                                  VIRGINIA BEACH   VA    23452‐6603
AUDREY L FISHER                                  ATTN AUDREY L NICHOLSON                305 NEWARK AVE                                           EGG HARBOR TWP   NJ    08234‐7211

AUDREY L IKERD                                   58 OLD ORCHARD RD                      PO BOX 344                                               SHERBORN         MA    01770‐0344
AUDREY L JESCHKE                                 2330 PRETZER RD                                                                                 HEMLOCK          MI    48626‐8737
AUDREY L JOHNSON                                 6442 OLD HIGHGATE DR                                                                            ELKRIDGE         MD    21075‐6173
AUDREY L LIND                                    1209 BERON DRIVE                                                                                METAIRIE         LA    70003‐5511
AUDREY L MANNING                                 224 N MAIN ST                                                                                   LYNDONVILLE      NY    14098‐9601
AUDREY L MCCOURTY                                1418 MAPLE AVE                                                                                  PLAINFIELD       NJ    07060‐2908
AUDREY L MOYE                                    41 MILLER ST                                                                                    PONTIAC          MI    48341‐1736
AUDREY L PUTNAM                                  PO BOX 62                                                                                       SHEPHERD         MI    48883‐0062
AUDREY L RAYLE                                   225 PROSPECT                                                                                    DAYTON           OH    45415‐2237
AUDREY L SMITH                                   224 NORTH MAIN ST                                                                               LYNDONVILLE      NY    14098‐9601
AUDREY L SMITH                                   18528 GRACIE LEE ST                                                                             BROOKSVILLE      FL    34610‐1203
AUDREY L SVENSSON & SUSAN H RUBIO JT TEN         PO BOX 1236                                                                                     LAKE CITY        FL    32056‐1236
AUDREY L WEYANT                                  1971 FLORIDA AVE                                                                                JOHNSTOWN        PA    15904‐1101
AUDREY LING                                      1281 HILLTOP RD                                                                                 XENIA            OH    45385‐7040
AUDREY LOMBARD                                   329 ABBINGTON                                                                                   BUFFALO          NY    14223‐1628
AUDREY LOUISE HARRISON                           ATTN BURNETT                           PO BOX 438                                               SAN LUIS REY     CA    92068‐0438
AUDREY M ATCHISON                                2009 FOX HILL DR                       APT 3                                                    GRAND BLANC      MI    48439‐5202
AUDREY M ATCHISON TR AUDREY ATCHISON TRUST       2009 FOX HILL DR                       APT 3                                                    GRAND BLANC      MI    48439‐5202
UNDER AGREEMENT 07/26/83
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 287 of 850
Name                                              Address1                              Address2                Address3       Address4          City              State Zip

AUDREY M BARUT                                    11835 PARKLIND DRIVE                                                                           ST LOUIS          MO    63127‐1611
AUDREY M BULLOCK                                  114 ELBOW RD                          APT 232                                                  NORTH SYRACUSE    NY    13212‐3880
AUDREY M BUSCH                                    70‐14 KESSEL ST                                                                                FOREST HILLS      NY    11375‐5844
AUDREY M EPPERSON                                 RR#1                                                                                           MCLEANSBORO       IL    62859‐9801
AUDREY M FIGURA TR UA 12/17/08 DAVID E & AUDREY   12 MAYBERRY AVE                                                                                READING           PA    19605
M FIGURA FAMILY TRUST
AUDREY M GARRETT                                  675 BARCELONA COURT                                                                            SATELLITE BEACH   FL    32937‐3907
AUDREY M GERDING                                  2130 BRADY                                                                                     BURTON            MI    48529‐2425
AUDREY M GORSUCH                                  1814 JETHRO AVE                                                                                ZION              IL    60099‐1518
AUDREY M GRENING                                  392 OHIO ST                                                                                    JOHNSTOWN         PA    15902‐3110
AUDREY M HUTTON                                   PO BOX 3212                                                                                    KINGSTON          NY    12402
AUDREY M JOHNSON                                  PO BOX 338                                                                                     SANBORN           NY    14132‐0338
AUDREY M KRAMER                                   66 PARK PL                                                                                     GRAND ISLAND      NY    14072‐3516
AUDREY M KRAMZAR & KAREN L PAWLACZYK JT TEN       2624 HIGH RANGE DR                                                                             LAS VEGAS         NV    89134

AUDREY M KRAUN                                    490 CLUBFIELD DRIVE                                                                            ROSWELL           GA    30075‐5521
AUDREY M KROHN                                    603 GLENVIEW AVE                                                                               WAUWATOSA         WI    53213
AUDREY M LINDSAY                                  10308 OAK POND CIR                                                                             CHARLOTTE         NC    28277‐9513
AUDREY M MCMINN & JUNE DIEBEL JT TEN              801 FORESTDALE                                                                                 ROYAL OAK         MI    48067‐1644
AUDREY M ROBINSON                                 5300 ZIMMER RD N                                                                               WILLIAMSTOWN      MI    48895‐9180
AUDREY M SCHMIDT                                  7237 E 400 NORTH                                                                               VAN BUREN         IN    46991‐9710
AUDREY M SINCLAIR                                 18315 HINTON ST                                                                                HESPERIA          CA    92345‐6913
AUDREY MCKEEVER HACKETT & CONSTANCE HACKETT       1050 ARBOR LN                                                                                  NORTHFIELD        IL    60093‐3357
TAYLOR JT TEN
AUDREY MILES CUST KENNETH ALLEN MILES UGMA NY     PO BOX 6653                                                                                    WOODLAND HLS      CA    91365‐6653

AUDREY MORTON                                     29315 MOULIN                                                                                   WARREN            MI    48093‐8528
AUDREY MUIR & TERRENCE MUIR JT TEN                1053 MERION DR                                                                                 WEST MIFFLIN      PA    15122‐3109
AUDREY P BUCHANAN                                 1609 ROCKWOOD ROAD                                                                             RICHMOND          VA    23226‐3817
AUDREY P DURHAM                                   2321 BROOKS NILL RD                                                                            GLADE HILL        VA    24092‐9622
AUDREY P KOWALSKI                                 286 CREEKSIDE DR                                                                               TONAWANDA         NY    14150‐1435
AUDREY P PARKER TR AUDREY P PARKER REVOCABLE      5814 STATE RD P                                                                                DE SOTO           MO    63020‐3410
LIVING TRUST UA 08/22/02
AUDREY P RICHARD                                  109 DUER STREET                                                                                NO PLAINFIELD     NJ    07060‐4733
AUDREY PARTRIDGE                                  401 FARM ST                                                                                    NEW BEDFORD       MA    02740‐2132
AUDREY PERRY                                      1795 EAST 53RD ST                                                                              BROOKLYN          NY    11234‐4618
AUDREY PHILLIPS                                   4325 DAVISON RD                                                                                LAPEER            MI    48446‐2843
AUDREY POOL O'NEAL                                1519 N MARTEL AVE #210                                                                         LOS ANGELES       CA    90046‐3688
AUDREY PRAZMA                                     15415 LUTHER AVE                                                                               LOMBARD           IL    60148
AUDREY R GOINS                                    1039 ROYAL DR                                                                                  CANONSBURGH       PA    15317‐5004
AUDREY R HARDIN                                   7935 PIPERS CREEK ST                  APT 302                                                  SAN ANTONIO       TX    78251‐2472
AUDREY R MICHALSKI                                12130 FOOTHILLS BLVD                                                                           YUMA              AZ    85367‐6013
AUDREY R SOCKOLOV TR LISA DIANE SOCKOLOV A        900 CREED ROAD                                                                                 OAKLAND           CA    94610‐1829
MINOR U/DEC TR 6/24/57
AUDREY RABINOWITZ                                 28 SHADOW RD                                                                                   UPPER SADDLE      NJ    07458‐1918
                                                                                                                                                 RIVER
AUDREY REED                                       68 BROOK ST                                                                                    GARDEN CITY       NY    11530‐6313
AUDREY REED TR UA 09/10/93                        37516 COOK AVE                        REED FAMILY LIV TRUST                                    DADE CITY         FL    33525‐4822
AUDREY REIKOWSKY                                  20684 ITHACA                                                                                   BRANT             MI    48614‐8758
AUDREY ROGERS                                     PO BOX 7484                                                                                    BAINBRIDGE        GA    39818‐7484
AUDREY ROSS                                       2108 FOREST EDGE DR                                                                            GREENSBORO        NC    27406‐5428
AUDREY S GALLOW                                   10835 WEST NEADE DRIVE                                                                         SUN CITY          AZ    85351‐1523
AUDREY S GRABOWSKI                                PO BOX 1282                                                                                    OGUNQUIT          ME    03907
AUDREY S HUMPHREY                                 228 W 1350 S                                                                                   KOKOMO            IN    46901‐7636
AUDREY S LAWSON                                   224 FERDON STREET                                                                              PIERMONT          NY    10968‐1202
AUDREY S LONGO                                    11 WOODLAND DRIVE                                                                              POUGHQUAG         NY    12570‐5439
AUDREY S M WONG ALOIAU TR AUDREY S M WONG         4952 N MAYNARD AVE                                                                             LOS ANGELES       CA    90041‐2001
ALOIAU TRUST UA 03/25/94
AUDREY S RUDDY                                    3039 DRAPER ST SE                                                                              WARREN            OH    44484‐3320
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 288 of 850
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

AUDREY SCHANERBERGER & ELLSWORTH                  15964 SWATHMORE CT                                                                               NORTH LIVONIA      MI    48154‐1005
SCHANERBERGER JT TEN
AUDREY SCHLECHT                                   410 NORTHVIEW DRIVE                                                                              RICHARDSON         TX    75080
AUDREY STANLEY                                    3821 ENVIRON BLVD                       APT 204                                                  LAUDERHILL         FL    33319‐4217
AUDREY SUSAN WAGNER                               73 FAIRMONT ST                                                                                   BELMONT            MA    02478
AUDREY SZYMBORSKI TOD EDDIE SZYMBORSKI SUBJECT    22045 N NUNNELEY                                                                                 CLINTON TWP        MI    48036
TO STA TOD RULES
AUDREY T BARKER                                   BOX 12                                  7107 STONINGTON CT                                       CHESTERFIELD       VA    23832‐6664
AUDREY T O'NEILL                                  46 FLORAL BLVD                                                                                   FLORAL PARK        NY    11001
AUDREY T S FUSCO                                  310 LE ROI RD                                                                                    PITTSBURGH         PA    15208‐2718
AUDREY TRAVER CUST DEBRA JEAN TRAVER UGMA NY      PO BOX 31                                                                                        BUSKIRK            NY    12028‐0031

AUDREY TRICK                                      11943 N DOG LEG RD                                                                               TIPP CITY          OH    45371‐9500
AUDREY V BENES TR BENES FAM TRUST UA 05/14/97     7063 SCRIPPS CRESCENT                                                                            GOLETA             CA    93117‐2953

AUDREY V SHERIDAN                                 1921 CHERRYVALE COURT                                                                            TOMS RIVER         NJ    08755‐0846
AUDREY V WILBURN                                  241 MOCKERSON RD                                                                                 LEOMA              TN    38468‐5522
AUDREY VASTOLER CUST LEANNA VASTOLER UTMA NJ      12 RENE DR                                                                                       MARLBORO           NJ    07746‐1240

AUDREY VASTOLER CUST ZACHARY VASTOLER UTMA NJ 12 RENE DR                                                                                           MARLBORO           NJ    07746‐1240

AUDREY VEZELL HEMPHILL & ELMER LEON HEMPHILL JT   2901 E 31ST ST                                                                                   TULSA              OK    74105‐2401
TEN
AUDREY W BOWMAN                                   7940 CEDAR PARK DR                                                                               CANFIELD           OH    44406
AUDREY W HOLLY                                    44‐O DANIEL AVE                                                                                  NEW OAK            DE    19711‐2024
AUDREY W PARK                                     17 OAK HILL DR                                                                                   SOUTH              VT    05403‐7345
                                                                                                                                                   BURLINGTON
AUDREY W RECORDS & JEAN FOOTE JT TEN              P O BOX 1647                                                                                     BETHANY BEACH      DE    19930
AUDREY WALDSTREICHER & ELLIOT WALDSTREICHER JT    157 BEACH 126TH ST                                                                               ROCKAWAY PARK      NY    11694‐1718
TEN
AUDREY WILLIAMS‐NESBITT                           40 EAST SIDNEY AVE #3B                                                                           MT VERNON          NY    10550‐1417
AUDRIA L GREEN                                    2487 DIVISION AVE                                                                                DAYTON             OH    45414‐4009
AUDRIA SEWELL                                     333 MILLER COUNTY 187                                                                            DODDRIDGE          AR    71834‐1431
AUDRY A WOODY                                     4616 EASTLAWN AVE                                                                                WOODBRIDGE         VA    22193‐2606
AUDRY E HATLEY                                    518 8TH ST                                                                                       MARKED TREE        AR    72365‐2704
AUDUN G BIRKEDAL & EILEEN A BIRKEDAL JT TEN       4506 CEDAR CRESCENT                     TERRACE BC                             V8G 1X6 CANADA
AUDWIN CHARLES TAYLOR                             931 CRAFT ST                                                                                     JACKSON            MS    39209‐7316
AUDY PEREZ                                        1658 GLEN AVE                                                                                    PASADENA           CA    91103‐1514
AUGIE F LUZ                                       3637 ALMERIA ST                                                                                  SAN PEDRO          CA    90731‐6409
AUGUST ARNETT                                     LOT #224                                2450 KROYSE RD                                           OWOSSO             MI    48867‐9307
AUGUST BALLA JR                                   917 UNION ST                                                                                     TAYLOR             PA    18517‐1601
AUGUST C GARUFY                                   3131 KNAPP RD                                                                                    VESTAL             NY    13850‐3038
AUGUST D MARAZZO & NANCY C MARAZZO JT TEN         67 VANTROBA DR                                                                                   GLENDALE HEIGHTS   IL    60139‐2710

AUGUST E DERYKE                                   34230 JOHN ST                                                                                    WAYNE              MI    48184‐2425
AUGUST E FLEMING                                  3290 E 48TH ST                                                                                   INDIANAPOLIS       IN    46205
AUGUST E NUESCH & MRS DOROTHY J NUESCH JT TEN     4 RICHMOND RD APT 115                                                                            WEST MILFORD       NJ    07480‐1994

AUGUST FOGOROS & EILEEN E FOGOROS JT TEN          25886 CURIE AVE                                                                                  WARREN             MI    48091‐3830
AUGUST G FIX                                      34627 SPRING VALLEY DRIVE                                                                        WESTLAND           MI    48185‐9461
AUGUST G SECUE                                    29067 SCHWARTZ RD                                                                                WESTLAKE           OH    44145‐3812
AUGUST G VENCELLER                                54 MAGOWAN AVENUE                                                                                HAMILTON           NJ    08619‐3412
AUGUST H BERNSEN                                  1520 FLICKER DR                                                                                  FLORISSANT         MO    63031‐3411
AUGUST H ECKES                                    C/O DUNDALK OIL COMPANY                 7734 WISE AVENUE                                         BALTIMORE          MD    21222‐3210
AUGUST J ARMBRUSTER                               888 CHAFFIN RD                                                                                   AKRON              OH    44306‐3918
AUGUST J BAUMAN                                   534 E BAKER                                                                                      CLAWSON            MI    48017‐1670
AUGUST J CIRRITO                                  24 KILLEEN DRIVE                                                                                 FAIRFORT           NY    14450‐4508
AUGUST J DI DONNA                                 2034 LENOX RD                                                                                    SCHENECTADY        NY    12308‐1305
AUGUST J LADENSACK                                7238 MARINE CITY HWY                                                                             EAST CHINA         MI    48054‐4201
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 289 of 850
Name                                              Address1                                 Address2             Address3          Address4          City              State Zip

AUGUST J LUKSO                                 22807 SOUTH 80TH AVENUE                                                                              FRANKFORT         IL    60423‐7798
AUGUST J NAVELLI & JULIA NAVELLI JT TEN        601 WALNUT ST                                                                                        ROME              NY    13440‐2325
AUGUST J PROPERSI CUST THOMAS PROPERSI UGMA NY 225 MAGNOLIA AVE                                                                                     MT VERNON         NY    10552‐3752

AUGUST J PRYATEL TR REVOCABLE TRUST 05/21/92 U‐A 5880 GLASGOW LANE                                                                                  SOLON             OH    44139‐5934
AUGUST J PRYATEL
AUGUST J VAN MARTINET                            52626 BORDEAUX WAY                                                                                 SHELBY TOWNSHIP   MI    48315‐2509

AUGUST J ZADRA & CAROL A ZADRA TR ZADRA LIVING    1085 CONIFER DR                                                                                   MINDEN            NV    89423‐5183
TRUST UA 04/22/03
AUGUST JOSEPH MADARAS JR                          1026 S FRANKLIN AVE                                                                               FLINT             MI    48503‐2818
AUGUST K KRUG                                     5949 SPRINGHOUSE RD                                                                               ROME              NY    13440‐7862
AUGUST L MUELLER                                  2742 GLENWOOD PLACE                                                                               SOUTH GATE        CA    90280‐2802
AUGUST L ROSENBERGER                              11851 RINEYVILLE                         BIG SPRING RD                                            RINEYVILLE        KY    40162
AUGUST LUCHETTE & MARY LUCHETTE JT TEN            716 FAIRFIELD DR                                                                                  HERMITAGE         PA    16148‐1562
AUGUST M FALCONE                                  344 JEFFERSON AVE                                                                                 PENNDEL           PA    19047‐5336
AUGUST M SUMMERS                                  15545 BROOKVIEW CT                                                                                RIVERSIDE         CA    92504‐6133
AUGUST P ECKHOUT JR & MARION L ECKHOUT JT TEN     15607 N 18TH ST                                                                                   PHOENIX           AZ    85022‐3354

AUGUST PLAS JR                                      1296 N BINGHAM                                                                                  WHITE CLOUD       MI    49349‐9448
AUGUST R FREDA                                      89 CROOKERHOUSE LN                                                                              BRADFORD          PA    16701‐3927
AUGUST S LANDER                                     11 COURTLANDT PL                                                                                HOUSTON           TX    77006‐4013
AUGUST S MARCOCCIA                                  104 DOLORES TERRACE N                                                                           SYRACUSE          NY    13212‐3504
AUGUST SEDIK & BRIAN S SEDIK & KAREN A SEDIK JT TEN 19217 TYRONE                                                                                    HARPER WOODS      MI    48225‐2425

AUGUST T GIACOPINI                                275 PINERIDGE ROAD                                                                                TORRINGTON        CT    06790‐4014
AUGUST THICK                                      9621 BLACKJACK ROAD                                                                               MACCLENNY         FL    32063‐4517
AUGUST TRENKLE                                    STROMBERGERSTR 12                        55444 SCHOENEBERG                      GERMANY
AUGUST TRENKLE                                    STROMBERGERSTR 12                        55444 SCHOENEBERG                      GERMANY
AUGUST URBELIS                                    1134 N THACKERAY DRIVE                                                                            PALATINE          IL    60067
AUGUST V MAGILL                                   156 E MUSTANG ARBOR                                                                               SANDIA            TX    78383‐9410
AUGUST W BLOMQUIST                                33953 SCHULTE                                                                                     FARMINGTON        MI    48335‐4162
AUGUST W DIAMOND                                  181 JACOBS CREEK ROAD                                                                             SMITHFIELD        PA    15478‐1033
AUGUST W HADRICH                                  4739 CLEAR LAKE RD                                                                                NORTH BRANCH      MI    48461‐8929
AUGUST W PAKASKI                                  1511 DENTON RD                                                                                    BALTO             MD    21221‐6308
AUGUST WALLMAN JR                                 9865 RAWSONVILLE ROAD                                                                             BELLEVILLE        MI    48111‐9369
AUGUST WILLIAM DIAMOND & ESTHER E DIAMOND JT      181 JACOBS CREEK RD                                                                               SMITHFIELD        PA    15478‐1033
TEN
AUGUST WYS                                        6567 GOLFVIEW                                                                                     GARDEN CITY       MI    48135‐2006
AUGUST YOSHI STARCK                               3223 LAKE MENDOTA DR                                                                              MADISON           WI    53705
AUGUST ZISTL                                      316 WELCH TRACT RD                                                                                NEWARK            DE    19702‐1023
AUGUSTA A BUDD                                    2011 SILVER CT                                                                                    HAMILSTON         NJ    08690‐3532
AUGUSTA ALVAREZ                                   179 SKYLINE RD                                                                                    BRIDGEWATER       CT    06752
AUGUSTA C GARBER                                  6600 SWEET AIR LANE                                                                               ELDERSBURG        MD    21784‐6363
AUGUSTA E BRULEY                                  C/O A B ELMWOOD                          1514 ST ROCH AVE                                         NEW ORLEANS       LA    70117‐8347
AUGUSTA F BEEBE & LUCILLE B FARRAR JT TEN         PO BOX 1895                                                                                       DAYTONA BEACH     FL    32115‐1895
AUGUSTA F BEEBE & SUE B DANIEL JT TEN             PO BOX 1895                                                                                       DAYTONA BEACH     FL    32115‐1895
AUGUSTA H BIGGS                                   52352 ACORN CIR                                                                                   AMHERST           OH    44001‐9466
AUGUSTA H MCPHERSON TR AUGUSTA H MCPHERSON        141 MIRAMONTES RD                                                                                 WOODSIDE          CA    94062‐3624
REV TRUST UA 05/06/99
AUGUSTA HAMILTON FOUNDATION INC                   BOX 1027                                                                                          MANITOWOC         WI    54221‐1027
AUGUSTA HUDSON & LEODA JEAN BROWNELL JT TEN       9797 BAY PINES BLVD                      APT 125                                                  ST PETERSBURG     FL    33708‐3785

AUGUSTA L FOWLER                                  4253 VAN SLYKE RD                                                                                 FLINT             MI    48507
AUGUSTA NUGENT                                    149‐23 7TH AVE                                                                                    WHITESTONE        NY    11357‐1634
AUGUSTA R CLARKE                                  5 S 563 KIRK PLACE                                                                                NAPERVILLE        IL    60563‐1956
AUGUSTA S BROOKENS                                506 WEST 5TH ST                                                                                   PLAINFIELD        NJ    07060‐2104
AUGUSTA S PEPPER                                  1917 FREEMONT DR                                                                                  TROY              MI    48098‐2520
AUGUSTA W LAWSON                                  6845 LOCKWOOD BLVD                       APT 181                                                  YOUNGSTOWN        OH    44512‐3928
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 290 of 850
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

AUGUSTA WYNNE                                     6038 HANCOCK                                                                                  ST LOUIS          MO    63139‐1920
AUGUSTIN CAPA JR & MARLENE E CAPA JT TEN          460 COLDIRON DR                                                                               ROCHESTER HILLS   MI    48307‐3814
AUGUSTINE A CAPASSO                               700 N ALABAMA ST                     APT 815                                                  INDIANAPOLIS      IN    46204‐1321
AUGUSTINE BOKANO                                  35530 SEVILLE DRIVE                                                                           MT CLEMENS        MI    48043
AUGUSTINE D CROSBY                                60 RIVER RD                          APT E201                                                 BOGOTA            NJ    07603‐1532
AUGUSTINE E JEROME & MARIAN A JEROME TEN ENT      38 DEFOREST AVENUE                                                                            FAIRCHANCE        PA    15436‐1152

AUGUSTINE G FITZGERALD                            1930 MUNSEY DR                                                                                FOREST HILL       MD    21050‐2746
AUGUSTINE GAMINO                                  419 NE FREEMAN AVE                                                                            TOPEKA            KS    66616‐1218
AUGUSTINE GARDINO & PATRICIA A GARDINO JT TEN     125 ENCHANTED CT                                                                              BURLESON          TX    76028‐2364

AUGUSTINE J CALVARESE JR                          105 REGISTER DR                                                                               NEWARK            DE    19711‐2287
AUGUSTINE J LAPOLLA                               486 CRYSTAL AVE                                                                               STATEN ISLAND     NY    10314‐2058
AUGUSTINE J LOSCHIAVO                             81 CRESTWOOD AVENUE                                                                           BUFFALO           NY    14216‐2721
AUGUSTINE L COLEMAN                               4806 VAN BUREN ST                                                                             GARY              IN    46408‐4560
AUGUSTINE L ROSAS                                 13306 HUBBARD                                                                                 SYLMAR            CA    91342‐3223
AUGUSTINE MAY & SHIRLEY D MAY JT TEN              13612 BETH DR                                                                                 WARREN            MI    48093‐4811
AUGUSTINE PEMBERTON BREWER                        1220 COLUMBUS                                                                                 STUTTGART         AR    72160‐5121
AUGUSTINE SEULEAN & ANITA R SEULEAN JT TEN        1645 OAKWOOD DR                                                                               ANDERSON          IN    46011‐1028
AUGUSTINO J PUNTURIERO                            455 MEADOW DRIVE                                                                              BUFFALO           NY    14224‐1517
AUGUSTINO ROSSINI                                 101 WILLOWFARM LANE                  AURORA ON                              L4G 6K3 CANADA
AUGUSTO AGUIRRE                                   92‐31 57TH AVE                       APT 2F                                                   ELMHURST          NY    11373‐5059
AUGUSTO B BELTRAN CUST ISAIAH MIGUEL E BELTRAN    PSC 47 BOX 761                                                                                APO               AE    09470
UTMA CA
AUGUSTO CARDOSO                                   26 MCDONALD AVE                                                                               FITCHBURG         MA    01420‐4810
AUGUSTO DESA                                      32 SHORE RD                                                                                   TIVERTON          RI    02878‐5016
AUGUSTO DESA & CHRISTOPHER A DESA JT TEN          32 SHORE RD                                                                                   TIVERTON          RI    02878‐5016
AUGUSTO JORGE                                     9 HUDSON VIEW DRIVE                                                                           YONKERS           NY    10701‐1910
AUGUSTO N DE LEON                                 18832 STARK AVE                                                                               CERRITOS          CA    90703‐8436
AUGUSTUS A ISE & CAROL ANN ISE JT TEN             APT 4B                               1141 HARTFORD AVE                                        JOHNSTON          RI    02919‐7113
AUGUSTUS A THOMPSON                               1523 CHURCHMAN AVE                                                                            INDIANAPOLIS      IN    46203‐2917
AUGUSTUS B WALKER & BARBARA A MALTA JT TEN        9 SAYBRIDGE CT                                                                                MANCHESTER        MO    63011‐3574

AUGUSTUS C WILKINS JR                             1143 17TH AVE                                                                                 WEST BELMAR       NJ    07719‐3469
AUGUSTUS E MAXWELL                                2821 ALTAAIEW DR S E                                                                          ATLANTA           GA    30354‐2105
AUGUSTUS F YARNALL                                452 LLOYD RD                                                                                  OXFORD            PA    19363‐2332
AUGUSTUS G HOWARD                                 7032 BROOKVIEW CRK                                                                            RIVERDALE         GA    30274‐7200
AUGUSTUS H ROUSE                                  1607 BAYVIEW AVENUE                                                                           HILLSIDE          NJ    07205‐1411
AUGUSTUS J BACKALUKAS                             4906 E BROWN RD                      UNIT 18                                                  MESA              AZ    85205‐4264
AUGUSTUS M FILBERT                                210 WEST FOURTH STREET                                                                        CORNING           NY    14830‐2430
AUGUSTUS M FILBERT & MARY JOY FILBERT TEN ENT     210 W 4TH ST                                                                                  CORNING           NY    14830‐2430

AUGUSTUS M FILBERT CUST DAVID A FILBERT UGMA NY 210 W 4TH ST                                                                                    CORNING           NY    14830‐2430

AUGUSTUS M FILBERT CUST MARK T FILBERT UGMA NY 210 W 4TH ST                                                                                     CORNING           NY    14830‐2430

AUGUSTUS STEPHAS                                  1408 NEEDLE RUSH LN                                                                           CHATTANOOGA       TN    37415
AUGUSTUS W SAINSBURY                              339 WALKER DR                                                                                 CANANDAIGUA       NY    14424‐2373
AUGUSTUS WHITE                                    729 E 347 ST                                                                                  EASTLAKE          OH    44095‐2419
AULS A RUSSELL                                    117 HERMITAGE DRIVE                                                                           MARTINSBURG       WV    25405
AUN‐DREY BROWN                                    100 GREYSTONE RD                                                                              MOUNT JULIET      TN    37122
AUNA D CROSBY                                     25522 W 12 MILE RD                   APT 302                                                  SOUTHFIELD        MI    48034‐8096
AUNDREA HUNTER                                    206 MAPLE ST                                                                                  DANVILLE          PA    17821‐1316
AUNDREA WILCOX                                    3717 APPLE GROVE CI                                                                           KINGSPORT         TN    37664‐3901
AUNDRELL LETT                                     9580 BRYDEN                                                                                   DETROIT           MI    48204‐2034
AURA C PETZOLD TR AURA C PETZOLD LIV TRUST UA     1068 NETTLES BLVD                                                                             JENSEN BEACH      FL    34957
02/08/02
AURALIE S ABFALTER                                720 SAWYER RD                                                                                 LANSING           MI    48911‐5534
AURBON D WHITEHEAD                                11495 E MOUNT MORRIS RD                                                                       DAVISON           MI    48423‐9319
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 291 of 850
Name                                            Address1                                Address2             Address3          Address4          City             State Zip

AUREA R LEON                                    22516 ASHLEY DRIVE                                                                               FARMINGTON HL    MI    48024
AUREA SCHWARZ                                   320 ROCKWELL RD PO BOX 131                                                                       NEDROW           NY    13120‐0131
AUREL MANER ERWIN                               1151 RINGE CT                                                                                    POMONA           CA    91767‐4201
AUREL PLACINTA                                  18881 VAN RD                                                                                     LIVONIA          MI    48152‐4703
AURELIA J MASTROIANNI                           1758 RANDOLPH RD                                                                                 SCHENECTADY      NY    12308‐2020
AURELIA J MILLER                                1758 RANDOLPH RD                                                                                 SCHENECTADY      NY    12308‐2020
AURELIA L DRIVER                                7 BRIAN CT                                                                                       PISCATAWAY       NJ    08854‐5230
AURELIA M EVANS                                 1513 E MAXLOW AVE                                                                                HAZEL PARK       MI    48030‐2382
AURELIA M ONEAL                                 2807 HERBERT DR                                                                                  WILMINGTON       DE    19808‐2418
AURELIA M REDO TR AURELIA M REDO TRUST UA       68‐1724 HULUKOA PLACE                                                                            WAIKOLOA         HI    96738‐5106
01/17/85
AURELIA SCHULMEISTER                            15 SPRINGHILL RD                                                                                 MATAWAN          NJ    07747‐6410
AURELIA V HICKEY                                1240 CHARLANE CT                                                                                 SAINT LOUIS      MO    63119‐1104
AURELIA Y HAMBLIN                               14348 93RD AVE NORTH                                                                             SEMINOLE         FL    33776‐1903
AURELIEN R SOUCY                                18 ST PAUL ST                                                                                    BLACKSTONE       MA    01504‐2254
AURELIO S LAGMAN                                2748 SUNLIGHT CREEK ST                                                                           HENDERSON        NV    89052‐3924
AURELIO V CANALES                               10412 HADDON AVE                                                                                 PACOIMA          CA    91331‐3016
AURELIO V GARCIA                                14007 SAN JOSE ST                                                                                SAN FERNANDO     CA    91340‐3823
AURELIUS F CHAPMAN & MARY A CHAPMAN JT TEN      C/O CRAIG CHAPMAN                       PO BOX 49106                                             ATLANTA          GA    30359‐1106

AURICO HILL                                     1624 OPALINE DRIVE                                                                               LANSING          MI    48917‐9735
AURILLA H DENNINGS                              1094 VAN VLEET ROAD                                                                              SWARTZ CREEK     MI    48473‐9751
AURLE KILKO                                     14529 N CHESHIRE ROAD                   PO BOX 241                                               BURTON           OH    44021‐0241
AURORA CARRASQUILLA                             650 DEVONCHIRE BLVD                                                                              LONGWOOD         FL    32750‐3944
AURORA G CARPIO                                 20 WOODBRIDGE STREET                                                                             NEW BRUNSWICK    NJ    08901‐2225
AURORA G CUTRONI                                78 LEWIS ROAD                                                                                    BELMONT          MA    02478‐3425
AURORA J SUBOSICS                               1490 FIRESIDE STREET                                                                             PORT CHARLOTTE   FL    33952‐2607
AURORA M HILLMAN                                1910 S WILLIAMS RD                                                                               FRANKFORT        IN    46041‐4224
AURORA QUINTANILLA                              8348 N BRAY RD                                                                                   MOUNT MORRIS     MI    48458‐8929
AURORA R HERNANDEZ                              5053 JONFIELDS SE                                                                                KENTWOOD         MI    49548‐7664
AURORA RACCUIA                                  39 HILLVIEW DR                                                                                   NORWICH          NY    13815‐1006
AURORA RASO                                     4614 S WINCHESTER                                                                                CHICAGO          IL    60609‐3850
AURORA SLATINO                                  409 FLOCK RD                                                                                     TRENTON          NJ    08619‐1407
AURORE BISSONNETTE                              30 CROSS STREET                                                                                  CHARLESTOWN      RI    02813‐1308
AURTHUR J SPRUNK TR UA 05/24/77 AURTHUR J       1230 SOUTHDOWN RD                                                                                HILLSBOROUGH     CA    94010‐7248
SPRUNK TRUST
AUSTAIN J PLUMLEY                               8265 E CHEROKEE DR                                                                               CANTON           GA    30115‐6113
AUSTIN B DAVENPORT                              PO BOX 7921                                                                                      HUNTINGTON       WV    25779‐7921
AUSTIN B FLEMING JR                             15467 TEN POINT DR                                                                               NOBLESVILLE      IN    46060‐8027
AUSTIN BELL                                     3755 ALLERTON PL                        APT H                                                    INDIANAPOLIS     IN    46226‐6189
AUSTIN BRAVATA                                  6633 OLD DARBY TRAIL                                                                             ADA              MI    49503
AUSTIN BRYCE EHLERS                             ATTN CHET W EHLERS                      3460 MARK HALL DR                                        MARIETTA         GA    30068
AUSTIN C PECK & PATRICIA A PECK JT TEN          1285 CLIFFRIDGE LANE                                                                             VALLEY PARK      MO    63088‐1154
AUSTIN CATRON                                   2166 MACOBEE RD                                                                                  OLIVE HILL       KY    41164
AUSTIN D HOFFMAN                                3630 HOFFMAN‐NORTON RD                                                                           SOUTHINGTON      OH    44470‐9709
AUSTIN DANIEL TEBELMAN                          3508 ROBB AVE                                                                                    CINCINNATI       OH    45211‐5312
AUSTIN E HELSEL & MRS CLARA I HELSEL JT TEN     112 CONCORD DRIVE                                                                                WATKINSVILLE     GA    30677‐2401
AUSTIN E NORRIS                                 16117 W 153RD TER                                                                                OLATHE           KS    66062
AUSTIN E WILSON                                 42 N HORTON ST                                                                                   DAYTON           OH    45403‐1219
AUSTIN G PARKIN                                 5900 FINDLAY RD                                                                                  ST JOHNS         MI    48879‐8513
AUSTIN G SUTTLE                                 1212 AIRFIELD LANE                                                                               MIDLAND          MI    48642‐4797
AUSTIN HARTLEY                                  5665 ST RT 56                                                                                    ATHENS           OH    45701
AUSTIN HIRAI & TYLER HIRAI GROTHEN JT TEN       5173 MOUNT HELIX DR                                                                              LA MESA          CA    91941‐8038
AUSTIN J HARRIS                                 220 PLUNDER COVE                                                                                 EATON            OH    45320‐2817
AUSTIN J PAGE & ROSEMARY P PAGE JT TEN          132 MEADOW LN                                                                                    MIDDLETOWN       RI    02842‐5394
AUSTIN J WEBBERT                                8810 WALTHER BLVD                       APT 2102                                                 BALTIMORE        MD    21234‐0020
AUSTIN JAMES                                    9422 ANDREWS MILL LN                                                                             FREDERICKSBURG   VA    22408‐7715
AUSTIN JAMES PERKINS                            6813 W WESTERN CT                                                                                NEW PALESTINE    IN    46163‐9047
AUSTIN JAMES SHEPHERD                           1710 COLONIAL DR                                                                                 ROCHESTER        IN    46975‐8958
                                                09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 292 of 850
Name                                               Address1                                Address2               Address3        Address4          City            State Zip

AUSTIN JONES                                       3205 ATHENS AVENUE                                                                               DAYTON          OH    45406‐4306
AUSTIN L CASHWELL JR & ADA R CASHWELL JT TEN       1001 STEVENSON DR                                                                                WILMINGTON      NC    28405‐1532

AUSTIN L JARVIS CUST KATHERINE T JARVIS UGMA NY    APT 5‐M                                 1834 CATON AVE                                           BROOKLYN        NY    11226‐2815

AUSTIN L JARVIS CUST KENNETH T JARVIS UGMA NY      APT 5‐M                                 1834 CATON AVE                                           BROOKLYN        NY    11226‐2815

AUSTIN L JARVIS CUST MICHAEL JARVIS UGMA NY        APT 5‐M                                 1834 CATON AVE                                           BROOKLYN        NY    11226‐2815
AUSTIN L JARVIS CUST RAYMOND S JARVIS UGMA NY      APT 5‐M                                 1834 CATON AVE                                           BROOKLYN        NY    11226‐2815

AUSTIN LOUIS                                       1614 ARBOR LAKES CIR                                                                             SANFORD         FL    32771‐7376
AUSTIN M KOLBE                                     1071 ORCHARD PARK DRIVE                                                                          ROCKY RIVER     OH    44116‐2041
AUSTIN M LONG III                                  3316 WOODLAND BLVD                                                                               MONROE          MI    48162‐5820
AUSTIN M PURVES CUST MARY LOUISE PURVES UTMA       P O BOX 3068                                                                                     WEST TISBURY    MA    02575
MA
AUSTIN MOORE & MRS JAON MOORE JT TEN               7840 COLF RD                                                                                     CARLETON        MI    48117‐9543
AUSTIN MURFF JR                                    3641 E 46                                                                                        INDIANAPOLIS    IN    46205‐1609
AUSTIN O MOORE                                     7840 COLF RD                                                                                     CARLETON        MI    48117‐9543
AUSTIN P HUGHES & JANET M HUGHES JT TEN            4837 E COUNTY ROAD J                                                                             BELOIT          WI    53511‐8926
AUSTIN PEAT                                        610 W PULASKI                                                                                    FLINT           MI    48505‐6205
AUSTIN R DUFFY                                     4830 LINE AVE BOX 164                                                                            SHREVEPORT      LA    71106
AUSTIN R HOCKEY                                    1205 WRIGHT                                                                                      CLAWSON         MI    48017‐1074
AUSTIN R SANDEFUR                                  295 SOUTHERN LANE                                                                                TAZEWELL        TN    37879‐5224
AUSTIN S WILEY                                     615 SAINT NICHOLAS AVE                                                                           DAYTON          OH    45410‐2435
AUSTIN T BURKE                                     14 ARCHIBALD TERR                                                                                KEARNY          NJ    07032‐1908
AUSTIN T SMITH                                     10563 PAGEWOOD DR                                                                                DALLAS          TX    75230‐4255
AUSTIN T VALVO                                     12169 CREEKRIDGE DR                                                                              EAST AURORA     NY    14052‐9531
AUSTIN W AUBERT                                    134 N COURT ST                                                                                   LAPEER          MI    48446‐2212
AUSTIN W WHITE                                     PO BOX 82                                                                                        MINOR HILL      TN    38473‐0082
AUSTIN WAND                                        6980 CHARLESFIELD LANE                                                                           CINCINNATI      OH    45243‐2585
AUSTIN WILLIAM TOTT                                663 NIAGARA BLVD                        FORT ERIE ON                           L2A 3H9 CANADA
AUSTRALIA CHAROLAIS YOUTH SCHOLARSHIP FUND         PO BOX 772                              ARMIDALE NSW                           2350 AUSTRALIA

AUT J LOWE                                         296 6TH AVE                                                                                      GALION          OH    44833‐3008
AUTA R HALFACRE                                    5764 BURGESS FALLS RD                                                                            SPARTA          TN    38583‐5152
AUTIE MAE GARRISON                                 R ROUTE 2 BOX 194                       4379 ALEXANDRIA PIKE                                     ANDERSON        IN    46012‐9572
AUTILIA DIAS TOD UMBERTO DIAS SUBJECT TO STA TOD   66 LAWRENCE ST                                                                                   MILFORD         MA    01757‐4133
RULES
AUTOMOBILE BOILEAU LTEE                            230 RUE PRINCIPALE SUD                  LANNONCIATION QC                       J0T 4T0 CANADA
AUTREY L MCILROY                                   4475 THORNAPPLE CIR                                                                              BURTON          MI    48509‐1234
AUTRY F GIBBS JR                                   2516 SMITH SPRINGS RD                                                                            NASHVILLE       TN    37217‐3412
AUTRY L GRIFFIN                                    5208 ROANOKE DRIVE                                                                               SAINT CHARLES   MO    63304‐7884
AUTUMN L SHAUL & MARK W SHAUL JT TEN               14197 N CENTER ROAD                                                                              CLIO            MI    48420‐7908
AUTUMN M RIVEST                                    2808 CHARTER DR                         APT 204                                                  TROY            MI    48083‐1379
AUTUMN P LEMKE CUST CLAY P MCDOWELL UTMA NV        46031 SANDIA CREEK DR                                                                            TEMECULA        CA    92590‐4158

AUTUMN W BURDETTE                                  275 MORLAND DR                                                                                   CANFIELD        OH    44406‐1027
AUVERGNE WILLIAMS III                              3935 RESTBROOK PLACE                                                                             JACKSON         MS    39211‐6747
AVA AIKEN                                          23541 RADCLIFT ST                                                                                OAK PARK        MI    48237‐2480
AVA C KAZALUNAS                                    16254 CHARLESTON AVE                                                                             FT MYERS        FL    33908‐3522
AVA FANTASIA & SALVATORE FANTASIA JT TEN           84 BRIGHAM HILL RD                                                                               GRAFTON         MA    01519‐1132
AVA G HILL                                         248 BANKS RIDGE ROAD                                                                             TAZEWELL        VA    24651
AVA J HUME                                         9314 MONTICELLO DRIVE                                                                            GRANBURY        TX    76049‐4504
AVA J MARTIN                                       1690 SHADY LANE RD X                                                                             COLUMBUS        OH    43227‐2571
AVA J WILLIAMS                                     42732 TAVISTOCK DR                                                                               VAN BUREN TWP   MI    48111‐1748
AVA JEAN BRACK                                     207 YUCCA TER                                                                                    PLAINVIEW       TX    79072‐5800
AVA L ANDERSON                                     3019 DAVID CT                                                                                    COLUMBUS        OH    43224‐1894
AVA L MILLER                                       1140 SPRINGVIEW DR                                                                               FLUSHING        MI    48433‐1448
AVA M COHOON                                       919 JEFFERSON                                                                                    COVINGTON       IN    47932‐1523
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                       Part 1 of 8 Pg 293 of 850
Name                                               Address1                             Address2             Address3          Address4             City             State Zip

AVA R OGLESBY                                      2829 YALE STREET                                                                                 FLINT            MI    48503‐4637
AVA S GLENDENNING                                  109 N ALLEY                                                                                      JEFFERSON        TX    75657‐1407
AVA TRAURIG CUSHNER & SUZANNE TRAURIG JT TEN       871 CAROL COURT                                                                                  WOODMERE         NY    11598‐1510

AVA W RIFFLE                                       3994 WARREN RAVENNA ROAD                                                                         NEWTON FALLS     OH    44444‐8736
AVAGALE LOVE                                       20104 N COUNTY ROAD 100 W                                                                        MUNCIE           IN    47303‐9776
AVALIN B GREEN                                     184 SUMMER ST                                                                                    LYNNFIELD        MA    01940‐1857
AVANA G GRAYR                                      20402 FAIRWEATHER ST                                                                             CANYON COUNTRY   CA    91351‐2451

AVANAH B HUMPHREY                                  11563 EASY ST                                                                                    GULFPORT         MS    39503‐6132
AVANELL K RUTH                                     819 NAUDAIN AVE                                                                                  CLAYMONT         DE    19703‐1014
AVARD M JENKINS                                    2281 S E 12 ST                                                                                   POMPANO BEACH    FL    33062‐7036
AVARI MOLLENHAUER                                  117 W 6TH ST                         BOX 812                                                     WILTON           IA    52778‐0014
AVE M ALEXANDER                                    490 TONYS RD                                                                                     ELKTON           MD    21921‐3120
AVEARY R CLARK                                     635 WELLINGTON                                                                                   SAGINAW          MI    48604‐1541
AVELINO D SANTO                                    16 LILLIAN RD                                                                                    FRAMINGHAM       MA    01701‐4821
AVEOLA R LANE                                      8600 SHORE FRONT PKWY                                                                            FAR ROCKAWAY     NY    11693‐1854
AVERNELL MCCULLOUGH                                709 BETHNAL ROAD                                                                                 BALTIMORE        MD    21229‐4502
AVERY ALLEN OBANION                                2231 PARK AVE                                                                                    ANDERSON         IN    46016‐3861
AVERY DELOTT                                       1916 SUNSET RD                                                                                   HIGHLAND PARK    IL    60035‐2346
AVERY DOREMUS                                      9 CREST HILL DR                                                                                  OAK RIDGE        NJ    07438‐8968
AVERY FOSTER                                       2106 HAMMEL                                                                                      SAGINAW          MI    48601‐2253
AVERY GIBBS                                        782 N HWY 343                                                                                    CAMDEN           NC    27921
AVERY H GREENE & MRS JANETTE L GREENE JT TEN       3105 CHERRY VALLEY CIRCLE                                                                        FAIRFIELD        CA    94534‐7510
AVERY H NEWBERRY                                   4025 CELINA HWY                                                                                  ALLONS           TN    38541‐6722
AVERY L CRAVEN                                     600 WELCH CREEK RD                                                                               WALTERBORO       SC    29488‐9727
AVERY L FIGURES                                    2701 CARTER ST                                                                                   DETROIT          MI    48206‐4101
AVERY L KELLOGG                                    10123 SPRING LAKE TER                                                                            FAIRFAX          VA    22030‐2037
AVERY M HARRIS                                     APT 17‐C                             300 E 46TH ST                                               NEW YORK         NY    10017‐3020
AVERY N VAUGHN & KAREN M VAUGHN TR VAUGHN          2320‐23RD ST                                                                                     ROCKFORD         IL    61108‐7410
TRUST NO 96 UA 06/12/96
AVERY R HUMBLE                                     1182 FIELDING LN                                                                                 FRANKLIN         IN    46131‐7510
AVERY SMITH                                        4312 MACDOUGAL CIRCLE                                                                            LANSING          MI    48911
AVERY SUE SPEARE                                   7932 BANNER                                                                                      TAYLOR           MI    48180‐2142
AVERY TABB                                         7115 S ABERDEEN                                                                                  CHICAGO          IL    60621‐1003
AVERY W TAUL                                       16718 HEYDEN STREET                                                                              DETROIT          MI    48219‐3367
AVI T SATHE                                        11106 ISLAND CT                                                                                  ALLENDALE        MI    49401‐9669
AVIAM SOIFER                                       1589 ALLENCASTER ST                                                                              HONOLULU         HI    96816
AVIS B HUMPHREY                                    6677 SODOM HUTCHINGS RD                                                                          GIRARD           OH    44420‐1211
AVIS B PARKER                                      ROUTE 2 BOX 171                                                                                  FAIRMONT         WV    26554‐9535
AVIS E BROWN                                       2726 CALEDONIA ST                                                                                NEWFANE          NY    14108‐1302
AVIS E HOLLOWAY                                    2768 WOODLAWN DRIVE                                                                              ANDERSON         IN    46013‐9735
AVIS HOSNER                                        2755 W BURT RD                                                                                   MONTROSE         MI    48457‐9361
AVIS I PITTMAN                                     453 LAWRENCEVILLE ST                                                                             NORCROSS         GA    30071‐3946
AVIS J CROWE                                       498 STARK STREET                                                                                 LAWRENCEVILLE    GA    30045‐4780
AVIS L CASLER TR UA 06/01/04 AVIS L CASLER TRUST   3186 BENDING BROOK DR                                                                            FLUSHING         MI    48433‐3005

AVIS L WHITE                                       609 KENILWORTH AVENUE                                                                            DAYTON           OH    45405‐4043
AVIS L ZIMBLER                                     418 ALPINE LANE                                                                                  WILMETTE         IL    60091‐3142
AVIS M HELM                                        10768 DUCK CREEK RD                                                                              SALEM            OH    44460‐9638
AVIS R HENSON                                      3222 VILLAGE DRIVE                                                                               AVENEL           NJ    07001‐1061
AVIVA J RADBORD                                    6808 LINDEN LANE                                                                                 PITTSBURGH       PA    15208‐2843
AVIVA R EICHLER                                    7 JERICHO ST                         BEERSHEVA                              ISRAEL
AVIVYA S STOHL                                     137 N ALTA VISTA                                                                                 LOS ANGELES      CA    90036
AVNER HOROWICZ                                     1/4 LAMERHAV ST                      RAMAT HASARON                          47216 ISRAEL
AVNER PORAT                                        818 W BENDER RD                                                                                  MILWAUKEE        WI    53217‐4152
AVON C LEWIS                                       810 WALBROOK DRIVE                                                                               HOUSTON          TX    77062‐4030
AVON CLANTON                                       2433 CODY ST                                                                                     HAMTRAMCK        MI    48212‐2245
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 294 of 850
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

AVON L RUTH & JEANNE E RUTH & BRIAN G RUTH JT TEN RT 2 BOX 108                                                                                   DOWNING            MO    63536

AVON NURSING HOME INC                                                                                                                            AVON               IL    61415
AVON W PARKER                                     7611 SO MERRILL AVE                                                                            CHICAGO            IL    60649‐4132
AVON W STANDARD                                   3700 BERKELEY RD                                                                               CLEVELAND HTS      OH    44118‐1943
AVONNE BLAND                                      3762 E CALLE DE SOTO                                                                           TUCSON             AZ    85716‐5124
AVRA R SHAPIRO                                    6128 SHADYGLADE AVE                                                                            NORTH              CA    91606‐4636
                                                                                                                                                 HOLLYWOOD
AVRAM N COHEN                                     256 LAUREL AVE                                                                                 PROVIDENCE         RI    02906‐5735
AVRIL FALLAT                                      2/18 FOURTH AVE LANE COVE             NSW                                    2066 AUSTRALIA
AVRUM REIFER                                      3016 W SHERWIN AVE                                                                             CHICAGO            IL    60645‐1134
AWANDA L FRY                                      11130 CRAWFORD DR                                                                              PINCKNEY           MI    48169‐9755
AWNI I NABER                                      140 WATERFORD CIR                                                                              RANCHO MIRAGE      CA    92270‐3100
AWOUKE LANTIDERU                                  4330 43RD ST                                                                                   SAN DIEGO          CA    92105‐1285
AWTERLY KERN                                      2510 LIDDESDALE                                                                                DETROIT            MI    48217‐1197
AWVERGNE M GETTLE                                 1724 MARSHA DR                                                                                 INDIANAPOLIS       IN    46214‐3227
AXA EQUITABLE CUST                                FBO NANCY WESTERHOF IRA               557 ROCHELLE                                             EAST CHINA         MI    48054
AXA EQUITABLE CUST NICHOLAS BORING II IRA         686 OTTAWA                                                                                     TROY               MI    48085
AXEL F MEISTER & MARILYN J MEISTER TR MEISTER     13023 ST FILAGREE DR                                                                           RIVERVIEW          FL    33579‐7083
LIVING TRUST UA 8/19/99
AXEL HARDING STEELE                               17514 YORK RD                                                                                  HAGERSTOWN         MD    21740‐7528
AXIE LYONS                                        C/O DON THOMAS                        PO BOX 61                                                LEON               OK    73441‐0061
AYELET F OSER                                     106 JAY DR                                                                                     ROCKVILLE          MD    20850‐4709
AYELET M SCHLAFFER CUST SHARON SCHLAFFER UTMA     804 EASLEY STREET                                                                              SILVER SPRING      MD    20910‐4551
MD
AYMAH MILLIGAN & NANCY M BROWN JT TEN             9606 FOX SHORES DR                                                                             ALGONQUIN          IL    60102‐9645
AYOOB DADABHOY                                    2908 PARCO AVE                                                                                 ONTARIO            CA    91761‐7039
AZADOUHI PRICE                                    PO BOX 982                                                                                     LAKEPORT           CA    95453‐0982
AZALEA RITA KONOP                                 9203 CEDAR CREST DR                                                                            AUSTIN             TX    78750‐2718
AZALEE BLADSOE                                    1522 DILLON                                                                                    SAGINAW            MI    48601‐1328
AZAT GALSTYAN                                     13147 BASSETT ST                                                                               NO HOLLYWOOD       CA    91605‐4726
AZELL L PATTERSON JR                              3613 STERLING                                                                                  FLINT              MI    48504‐3532
AZHAR SESI SESI FAMILY TRUST UA 12/21/05          2504 BURNINGBUSH DR                                                                            STERLING HEIGHTS   MI    48314‐4529

AZMAT A ASSUR & ANN MARIE ASSUR JT TEN            21 SHAWNEE RD                                                                                  SCARSDALE          NY    10583‐2210
AZNOR SHAW                                        1452WAMAJO DRIVE                                                                               SANDUSKY           OH    44870‐4355
AZRIEL HAIMOWITZ                                  440 EAST 57TH ST                                                                               NEW YORK           NY    10022‐3045
AZTEC CORPORATION                                 ATTN MARY JANE RANDEL                 608 WALNUT ST        PO BOX 67                           FORD               KS    67842
AZZY E MILLS                                      10940 W ROUNDELAY CIR                                                                          SUN CITY           AZ    85351‐2111
B & M INTERNATIONAL MANAGEMENT CO L WILLIAM T     201 12TH ST 800                                                                                ARLINGTON          VA    22202‐5408
FARRELL MANAGER
B A DAVIS                                         4351 SPRINGHILL DR                                                                             INKSTER         MI       48141‐2141
B A LAMERS                                        6171 STONE BRIDGE AV                                                                           WESTMINSTER     CA       92683‐2952
B A MCCLENDON                                     1287 FOREST AVE                                                                                SOPERTON        GA       30457‐2139
B A POLESHUK                                      465 NOTRE DAME DRIVE                                                                           ALTOMONTE       FL       32714‐4016
                                                                                                                                                 SPRINGS
B A ROWLETT                                       32 N LANG                                                                                      O FALLON        MO       63366‐3808
B A WRIGHT                                        4539 ASHBY RD                                                                                  SAINT ANN       MO       63074‐1207
B ALLEN YOUNG                                     373 STINSON AVE                                                                                SAINT PAUL      MN       55117‐5222
B ANDREW KIN                                      C/O JOYCE MARCUZZI                    1382 SIOUX ROAD                                          NORTH BRUNSWICK NJ       08902‐1522

B ANN WHITNEY                                     9675B W MOUNTAIN VIEW                                                                          PEORIA             AZ    85345‐6919
B C HART CUST KYLE ELMQUIST HART UGMA MN          9727 PRIMROSE AVE N                                                                            STILLWATER         MN    55082‐9590
B C MISCHEAUX                                     3707 KOSSUTH AVE #A                                                                            ST LOUIS           MO    63107‐1737
B C WALING & ELLEN F WALING TR WALING LIVING      2521 WEST DANTE JR                                                                             TUCSON             AZ    85741
TRUST UA 09/12/06
B CHARLES LEVINE & SYLVIA LEVINE TEN ENT          305 E MC CORMICK AVE                                                                           STATE COLLEGE      PA    16801‐5428
B COLLEEN RYAN                                    ATTN B COLLEEN RYAN‐MARTIN            4890 PINETREE DR                                         MIAMI BEACH        FL    33140‐3139
B D DIEDERICH                                     3101 O'HARE                                                                                    ST ANN             MO    63074‐3829
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                      Part 1 of 8 Pg 295 of 850
Name                                            Address1                               Address2                         Address3   Address4          City              State Zip

B D KING & KRISTIN D MAUND JT TEN               6265 SNOW APPLE DR                                                                                   CLARKSTON         MI    48346‐2475
B D ROBINSON                                    5136 KENSINGTON                                                                                      ST LOUIS          MO    63108‐1012
B D THORESON                                    1814 MOREHEAD HILL CT                                                                                DURHAM            NC    27703‐7972
B DAVID CRONSHAW                                1944 SUNSET AVE SW                                                                                   SEATTLE           WA    98116‐1950
B DAVID WORKMAN & ANNA M WORKMAN JT TEN         386 MUTTON CREEK DR                                                                                  SEYMOUR           IN    47274‐4050

B E BEECROFT                                    BOX 2643                                                                                             CORPUS CHRISTI    TX    78403‐2643
B ELAINE SPARKS & SHELLEY D SPARKS JT TEN       12480 JOEL DR                                                                                        CLIO              MI    48420‐1840
B EMMET BOHAN                                   C/O THE CREANER LAW FIRM PC            1777 SOUTH HARRISON ST STE 909                                DENVER            CO    80210‐3934
B F HOWELL JR                                   1143 SMITHFIELD CIR                                                                                  STATE COLLEGE     PA    16801‐6424
B F PHILLIPS                                    8615 LYNHAVEN PL                                                                                     ST LOUIS          MO    63147‐1518
B FORTI                                         208 HY VUE CIRCLE                                                                                    NEWBURGH          NY    12550‐1810
B FRANK MOON                                    4969 EDGEWATER BEACH RD                                                                              GREEN BAY         WI    54311
B G ABSHERE                                     P O BOX 91829                                                                                        SANTA BARBARA     CA    93190
B G LITTLE                                      52 SANBORN ST APT 203                                                                                READING           MA    01867‐2948
B G THOMASON                                    132 KENNEDY                            RT 6 HASKELL                                                  BENTON            AR    72015‐8927
B GIBSON SMITH                                  1400 S DANZLER RD                                                                                    DUNCAN            SC    29334‐9533
B GRACE TOWNER TR F WILLIAM TOWNER FAMILY       882 SIOUX DR                                                                                         ELGIN             IL    60120‐2351
TRUST UA 12/12/94
B GRAHAM FITZGERALD                             8008 PLUM CREEK DR                                                                                   GAITHERSBURG      MD    20879‐5632
B GREGORY TRAPANI CUST BENNETT PAUL TRAPANI     151 W WING ST                          APT 704                                                       ARLINGTON HTS     IL    60005‐5817
UTMA IL
B H ARP                                         3783 BARCLAY MESSERLY RD                                                                             SOUTHINGTON       OH    44470‐9747
B HILL                                          2096 BETHEL RD N W                                                                                   ATLANTA           GA    30314‐1304
B IRENE JOHNSON                                 3792 CHIRICAHUA DRIVE                                                                                LAKE HAVASUS CITY AZ    86406‐7944

B J BOYKIN                                      832 LESTER AVE                                                                                       HAYWARD         CA      94541‐5904
B J ESTIGOY                                     1306 DULONG                                                                                          MADISON HEIGHTS MI      48071‐4808

B J O KANE                                   199 KEATS AVENUE                                                                                        ELIZABETH         NJ    07208‐1059
B J RAMSEY                                   30 WOODS CREEK CT                                                                                       COVINGTON         GA    30016‐7180
B J ROBINSON                                 5314 PINEVIEW DR                                                                                        WINSTON SALEM     NC    27105‐1836
B J THOMPSON                                 4625 N GREGORY                                                                                          SAGINAW           MI    48601‐6622
B JAMES                                      191 14 WOOD HULL AVE                                                                                    HOLLIS            NY    11423‐2972
B K THOMAS                                   7371 CHOUPIQUE RD                                                                                       SULPHUR           LA    70665‐8470
B KEITH COKER & CONNIE T COKER JT TEN        1151 POPOLEE ROAD                                                                                       JACKSONVILLE      FL    32259‐3816
B L FRAZIER & BETH FRAZIER TEN COM           210 N VANCOUVER                                                                                         RUSSELLVILLE      AR    72801‐2746
B L GAMBLE                                   122 WINTHROP AVE                                                                                        ELMSFORD          NY    10523‐1908
B L GOODKNECHT                               6450 NORTH TALLMAN ROAD ROUTE 1                                                                         FOWLER            MI    48835‐9789
B L LITTLE                                   2504 NEEDHAM                                                                                            SAGINAW           MI    48601‐1246
B LANCE KENNEDY                              1199 INCA TRL                                                                                           LAKE ORION        MI    48362‐1425
B LAVERNE SHAFFER & DAVID E SHAFFER          PO BOX 92041                                                                                            CITY INDUSTRY     CA    91715‐2041
B LAWRENCE TIERNEY                           119 SHALA MAR RUE                                                                                       WINCHESTER        KY    40391‐9748
B LOUISE CUDNEY & KAREN BROCK JT TEN         5901 W 107TH ST UNIT 258                                                                                OVERLAND PARK     KS    66207
B MARY J HERMAN & MILTON J HERMAN JR JT TEN  3716 ANDERSON AVE SE                                                                                    ALBUQUERQUE       NM    87108‐4303
B MAYNARD ZIMMERMAN TR UA 01/08/91 B MAYNARD 150 CAMBRIDGE BLVD                                                                                      PLEASANT RDG      MI    48069‐1006
ZIMMERMAN TRUST
B MICHAEL GARBER                             149‐B HERITAGE HILLS DR                                                                                 SOMERS            NY    10589‐1117
B MICHAEL POWELL                             2067 SAINT ANNE ST                        TECUMSEH ONTAIRO                            N8N 1V8 CANADA
B MOTT JONES & NANCY S JONES JT TEN          5872 BRIERGLEN                                                                                          MEMPHIS           TN    38120‐2312
B PHYLLIS MINER                              2227 E ROCKWELL                                                                                         SPOKANE           WA    99207‐4457
B R CHESTNUT                                 7931 CLEVELAND                                                                                          KANSAS CITY       KS    66109‐2273
B R DENNIS                                   8424 LUCAS HUNT ROAD                      #303                                                          SAINT LOUIS       MO    63136
B R JACOBELLIS                               10597 HOLLOW BAY TER                                                                                    WEST PALM BEACH   FL    33412‐3030

B R PHELPS                                      414 E CANAL ST                                                                                       TROY              OH    45373‐3617
B RUSSELL YOUNGMAN III                          759 N MESA ROAD                                                                                      MILLERSVILLE      MD    21108‐2043
B RUSTON MC ALISTER                             1230 DA ANDRA DR                                                                                     WATKINSVILLE      GA    30677‐1585
B S ADAMS                                       3062 N IRISH RD                                                                                      DAVISON           MI    48423‐9558
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 296 of 850
Name                                              Address1                               Address2               Address3        Address4          City              State Zip

B S CHOPRA & ARUNA CHOPRA JT TEN                 319 W ROSEVALLEY RD                                                                              WALLINGFORD       PA    19086‐6302
B S MORGAN                                       1518 LAUGHLIN                                                                                    ST LOUIS          MO    63130‐1240
B T JEWELL                                       1009 SPRING VALLEY DRIVE                                                                         ANDERSON          IN    46011‐2352
B T LOCKETT                                      2614 PATRICK HENRY                                                                               AUBURN HILLS      MI    48326‐2323
B TERESA FLOYD                                   453 CUMBERLAND LN                                                                                BOLINGBROOK       IL    60440‐2821
B V AMSTERDAMSCH ADMINISTRATIEKANTOOR VAN        PO BOX 3960                             1001 AT AMSTERDAM                      NETHERLANDS
AMERIKAANSCHE WAARDEN
B VISCOGLIOSI                                    ATTN BALEA                              20 SUMMERSHADE COURT                                     EAST AMHERST      NY    14051‐1676
B W BEST CUST JO MARIE BEST U/THE NORTH CAROLINA ATTN MARIE MATTHEWS                     2617 GONEAWAY ROAD                                       CHARLOTTE         NC    28210‐6111
U‐G‐M‐A
B W DIAMOND                                      391 MEADOWS CIRCLE SOUTH                                                                         WIXOM             MI    48393‐3958
B W EICHENLAUB                                   75 BRANCHWOOD DR                                                                                 COVINGTON         GA    30016‐4570
B WADE BINFORD & MRS BARBARA R BINFORD JT TEN 916 2ND ST S                                                                                        KIRKLAND          WA    98033‐6526

B WAYNE CLAY                                      4743 EMORY LANE                                                                                 CHARLOTTE         NC    28211‐3063
B‐KAY‐J ENT LTD                                   PO BOX 2840                                                                                     EL CAJON          CA    92021‐0840
B‐KAY‐JAY ENT LTD                                 PO BOX 2840                                                                                     EL CAJON          CA    92021‐0840
B2 L P A PARTNERSHIP                              PO BOX 48626                                                                                    ST PETERSBURG     FL    33743‐8626
BABA J CARPENTER                                  1623 N WABASH                                                                                   KOKOMO            IN    46901‐2008
BABBI S SHAW                                      5128 N BUCKSKIN DR                                                                              JANESVILLE        WI    53546‐8880
BABBIE A GILLARD                                  PO BOX 6699                                                                                     KOKOMO            IN    46904‐6699
BABETTE G ESSELMAN                                #617                                   8415 BELLONA LN                                          BALTIMORE         MD    21204‐2018
BABETTE HARRISON                                  122 DOWNEY DRIVE                                                                                TENAFLY           NJ    07670‐3006
BABY RUTH GOODMAN                                 18445 SORRENTO                                                                                  DETROIT           MI    48235‐1320
BABY TALBOTT                                      19317 CYPRESS VIEW DR                                                                           FORT MYERS        FL    33967
BACHTHUY TRUONG VO & THUY LONG TO JT TEN          12350 SWALLOW ST NW                                                                             MINNEAPOLIS       MN    55448‐1251
BADIE J MOGHABGHAB                                1090 SALSONA AVE                                                                                KISSIMMEE         FL    34744‐6034
BAE K MAGRUDER                                    BOX 1912                                                                                        MCCOMB            MS    39648‐1912
BAILA DRILLICK                                    1542 EAST 33RD STREET                                                                           BROOKLYN          NY    11234‐3457
BAILEY B BOWEN                                    108 WILTSHIRE RD                                                                                BALT              MD    21221‐6934
BAILEY B RATLIFF SR                               C/O RATLIFF AUTO CO INC                PO BOX 277                                               LLANO             TX    78643‐0277
BAILEY B SORY IV                                  403 LAUREL ST                                                                                   SAN FRANCISCO     CA    94118‐1909
BAILEY D LEWIS                                    9102 FORREST PINE DR                                                                            CLIO              MI    48420‐8513
BAILEY HARWOOD COOPER                             8032 SO FIRST ST                                                                                MILAN             TN    38358‐6836
BAILEY J DICKENS                                  1012 HICKORY CT                                                                                 LEBANON           TN    37087‐3318
BAILEY R WILLIAMS                                 PO BOX 1389                                                                                     ANNA MARIA        FL    34216‐1389
BAILEYVILLE CEMETERY                              ATTN CONNIE E HEIMAN                   828 HILLCREST DR                                         SENECA            KS    66538‐2609
BAINBRIDGE LIMITED PARTNERSHIP                    10245 NANCY DR                                                                                  MEADVILLE         PA    16335‐6325
BAL HARBOUR POLICE AND FIREMENS BENEVOLENT        655 96TH ST                                                                                     BAL HARBOUR       FL    33154‐2428
ASSOCIATION
BALA MURTHY                                       1741 GREENWICH                                                                                  TROY            MI      48098‐6619
BALA T DURVASULA                                  C/O DR RAVI V DURVASULA                1133 SANTA ANNA SE                                       ALBUQUERQUE     NM      87123
BALARAMA V MURTY                                  5456 CRISPIN WAY                                                                                WEST BLOOMFIELD MI      48323‐3402

BALARAMA V MURTY & SUBBALAKSHMI V MURTY JT        5456 CRISPIN WAY                                                                                WEST BLOOMFIELD MI      48323‐3402
TEN
BALBINO G DELGADILLO                              4927 W NEWPORT                                                                                  CHICAGO           IL    60641‐3559
BALCONES /LIMITED PARTNERSHIP/                    PO BOX 5399                                                                                     AUSTIN            TX    78763‐5399
BALDASSARE S FUOCO                                419 SENECA CREEK ROAD                                                                           WEST SENECA       NY    14224‐2376
BALDASSARE S FUOCO & JANETTE M FUOCO JT TEN       419 SENECA CREEK ROAD                                                                           WEST SENECA       NY    14224‐2376

BALDEMAR G SALINAS                                2100 TURTLE LANE                                                                                MISSION           TX    78572‐3263
BALDEMAR GARZA & ARACELI B GARZA JT TEN           BOX 724                                                                                         RIO GRANDE CITY   TX    78582‐0724
BALDOMERO CALERO                                  423 HARRIET ST                                                                                  LANSING           MI    48917‐2739
BALDOMERO QUIROZ JR                               30 DEL SANTELLO                                                                                 TUSCANY HILLS     CA    92532‐0209
BALDWIN E DORSCH & MRS REBECCA A DORSCH JT TEN    208 INGLESIDE AVE                                                                               BALTIMORE         MD    21228‐4420

BALFORD L NEAD & LILA FERN NEAD TR UA 7/13/93 B L F 915 E MONTANA ST                                                                              LIVINGSTON        MT    59047‐2214
NEAD TRUST
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 297 of 850
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

BALJIT S SIDHU                                    13801 ALLIED RD                                                                                  CHESTER            VA    23836‐6435
BALLARD C BLEIGH                                  3420 LYLEWOOD RD                                                                                 WOODLAWN           TN    37191‐9216
BALLARD E WEST JR & LOIS G WEST JT TEN            306 E WAYNE ST                                                                                   SPENCER            IN    47460‐1889
BALLARD H CANTRELL                                4 NYLKED TERRACE                                                                                 ROWAYTON           CT    06853‐1716
BALLARD J HICKS                                   418 WEST MAIN ST                        BOX 371                                                  LAGRANGE           OH    44050‐0371
BALLARD S GOODWIN                                 11380 NW HIGHWAY 320                                                                             MICANOPY           FL    32667
BALLARD STIDHAM                                   1896 ANDOVER ST NW                                                                               PALM BAY           FL    32907‐9490
BALTAZAR CHAVEZ                                   402 TEXAS PT                                                                                     SAN ANTONIO        TX    78260‐7737
BALTAZAR M MUNAR                                  3130 ALBANY DR                                                                                   STERLING HEIGHTS   MI    48310‐2927

BAMBI JEAN SMITH & CHRISTOPHER C SMITH JT TEN     278 CATHERINE DR                                                                                 OWOSSO             MI    48867‐1227

BANC ONE SECURITIES TR MARLENE KIRK IRA           P O BOX 127                                                                                      SWARTZ CREEK       MI    48473
BANCROFT UNITED METHODIST CHURCH                  101 S BEACH ST BOX 175                                                                           BANCROFT           MI    48414‐9799
BANEQUA L HUDSON‐BUTLER                           1703 STINSON STREET                                                                              BAINBRIDGE         GA    39819‐4912
BANK OF AMERICA                                   26 CENTURY HILL DR                                                                               LATHAM             NY    12110‐2128
BANK OF AMERICA TR JEAN C LA BELLE IRA            105 BARNEY LANE                                                                                  ROCHESTER          NY    14606‐5347
BANK OF MAYSVILLE TR DORAH H MERZ MEMORIAL        PO BOX 40                                                                                        MAYSVILLE          KY    41056‐0040
PLAYGROUND U‐W EUGENE MERZ
BANK ONE CUST BRENDA M SWEELY IRA                 447 W NEW YORK AVE                                                                               SEBRING            OH    44672‐1928
BANK ONE TR GRADY DAVIS IRA                       5117 MALIBU CT                                                                                   DAYTON             OH    45426‐2353
BANK ONE TR GREGORY HOLLAND IRA                   2760 LEXINGTON NW                                                                                WARREN             OH    44485‐1534
BANKS D SULLIVAN                                  110 CREEK RD                                                                                     CLINTON            MS    39056‐9705
BANNIE PALILLA & FRED S PALILLA JT TEN            4446‐1A HENDRICKS AVE #411                                                                       JACKSONVILLE       FL    32207
BAO G LE                                          7085 ROCKAWAY CT                                                                                 HUNTINGTON         CA    92648‐6238
                                                                                                                                                   BEACH
BAOHUNG NGUYEN                                    867 W THOMAS L PKWY                                                                              LANSING            MI    48917
BAPTHOL JOSEPH                                    3300 SPANISH MOSS TER                   APT 206                                                  LAUDERHILL         FL    33319‐5051
BARANT R MC PHEETERS                              2209 AMY ST                                                                                      BURTON             MI    48519‐1109
BARARA F BOWERS                                   7 HOMESTEAD RD                                                                                   METUCHEN           NJ    08840‐1113
BARATA E BEY                                      9600 STRATHMOOR                                                                                  DETROIT            MI    48227‐2715
BARATHAM SREENIVASAN & PANKAJA SREENIVASAN JT     708 AVENIDA VALENCIA                                                                             CAMARILLO          CA    93012‐0984
TEN
BARBARA A ADGER                                   8411 LIBERTRY RD                                                                                 BALTIMORE          MD    21207
BARBARA A ADLER & KARYN M ADLER JT TEN            1245 SCHOOL HOUSE LANE                                                                           CHESTER SPRINGS    PA    19425‐2716
BARBARA A ALDEN & LEWIS J ALDEN TEN ENT           1516 BLAIRMOOR COURT                                                                             GROSSE POINT       MI    48236‐1006
                                                                                                                                                   WOODS
BARBARA A ALTHOFF                                 3802 CORDELL DRIVE                                                                               DAYTON             OH    45439‐2405
BARBARA A ANDERSON TRUST UA 07/30/07              1026 TOWLSTON RD                                                                                 MC LEAN            VA    22102
BARBARA A ARMANDI & MATTHEW S ARMANDI JT TEN      1 LILLIAN ROAD                                                                                   NESCONSET          NY    11767

BARBARA A ASHBAUGH                                PO BOX 941                                                                                       HEALDSBURG       CA      95448‐0941
BARBARA A ATNIP                                   3412 STOREY LAKE DR                                                                              TYLER            TX      75707‐1760
BARBARA A BAGGETT & DAVID C BAGGETT JT TEN        812 MARKDALE                                                                                     LAKE ORION       MI      48362‐3418
BARBARA A BAILEY                                  4307 RUSH BLVD                                                                                   YOUNGSTOWN       OH      44512‐1264
BARBARA A BALES                                   125 N ALLEN                             UNIT 215                                                 PASADENA         CA      91106‐2233
BARBARA A BANKS                                   1220 MEDINA RD                                                                                   LAKEWOOD         NJ      08701‐3703
BARBARA A BARCLAY                                 16291/2NICHOL AVE                                                                                ANDERSON         IN      46011
BARBARA A BARNETT                                 1789 WILDE DR                                                                                    DISCOVERY BAY    CA      94505‐2647
BARBARA A BEARDSLEY & RODNEY A BEARDSLEY JT TEN   451 VENANGO AVE                                                                                  CAMBRIDGE        PA      16403‐1133
                                                                                                                                                   SPRINGS
BARBARA A BEATTY                                  26073 WILSON                                                                                     DEARBORN HEIGHTS MI      48127‐4150

BARBARA A BECKER                                  244 MORADA LN                                                                                    SANTA BARBARA      CA    93105‐1922
BARBARA A BEHZ                                    1217 TIMBER RIDGE LN                                                                             CHESTER SPRINGS    PA    19425‐1427
BARBARA A BELTON                                  98 NORTHSANFORD                                                                                  PONTIAC            MI    48342‐2754
BARBARA A BELTZ                                   378 83RD ST                             APT 1                                                    STONE HARBOR       NJ    08247‐1761
BARBARA A BERLIN                                  4 DIANE CRT                                                                                      WAYNE              NJ    07470‐1913
BARBARA A BERRY                                   58 CARRIAGE SQUARE                                                                               AURORA             OH    44202‐9215
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 298 of 850
Name                                            Address1                              Address2             Address3          Address4          City               State Zip

BARBARA A BEVIS                                 782 GRANGE HALL RD                                                                             ORTONVILLE         MI    48462‐8822
BARBARA A BICE                                  245 JAMES ST                                                                                   PIEDMONT           AL    36272‐6311
BARBARA A BIEDERMAN & BERNHARD F BIEDERMAN JT   1397 KENILWOOD COURT                                                                           RIVERWOODS         IL    60015‐1937
TEN
BARBARA A BLIVEN                                PO BOX 546                                                                                     BALDWINSVILLE      NY    13027‐0546
BARBARA A BODNAR                                106 CAMBRIDGE CT                                                                               CLIFTON            NJ    07014‐1300
BARBARA A BOMIER & BERNARD L BOMIER JT TEN      BOX 151                                                                                        RED CLIFF          CO    81649‐0151
BARBARA A BOSTIC                                29 WINDCREST DR                                                                                COVINGTON          GA    30016‐0902
BARBARA A BOVEE                                 62 DUNLAP CIRCLE                                                                               OXFORD             MI    48371‐5207
BARBARA A BOWERS                                726 BAY TREE CT                                                                                NAPLES             FL    34108‐3429
BARBARA A BOWERS                                28 JOYCE DRIVE                                                                                 PISCATAWAY         NJ    08854‐3429
BARBARA A BOWERSOCK                             2128 NEWGATE AVE                                                                               DAYTON             OH    45420‐3151
BARBARA A BOWIE                                 11561 RAWSTORNE LANE                                                                           MISHAWAKA          IN    46545‐7940
BARBARA A BOYD                                  9465 PARKWOOD BLVD                                                                             DAVISON            MI    48423‐2847
BARBARA A BRADY & JOHN JAMES BRADY JR JT TEN    4 REYNOLDS RD                                                                                  PEQUANNOCK         NJ    07440

BARBARA A BRANCHEAU                             1919 E SIGLER                                                                                  CARLETON           MI    48117‐9309
BARBARA A BRANDT                                2427 PATRICIA DR #14‐2427                                                                      URBANDALE          IA    50322‐5205
BARBARA A BRAUN                                 13609 SE 43RD PL                                                                               BELLEVUE           WA    98006‐2229
BARBARA A BRENNEMAN                             735 LONDON GROVEPORT RD                                                                        LOCKBOURNE         OH    43137‐9246
BARBARA A BRINDLE & ADRIAN D BRINDLE JT TEN     37 WINDSOR RD                         ST CATHARINES ON                       L2N 3A1 CANADA
BARBARA A BROOKS                                394 BERKSHIRE DRIVE                                                                            RIVA               MD    21140‐1429
BARBARA A BROSHERS                              13451 MOENART ST                                                                               DETROIT            MI    48212‐1837
BARBARA A BROWN                                 ATTN BARBARA A MOORE                  6430 GARDEN DR                                           MT MORRIS          MI    48458‐2337
BARBARA A BROWN                                 PO BOX 791                                                                                     BAY CITY           MI    48707‐0791
BARBARA A BROWN                                 401 KARIN AVE                                                                                  VESTAL             NY    13850‐2411
BARBARA A BROWN                                 1024 FORD BLVD                                                                                 LINCOLN PARK       MI    48146‐4225
BARBARA A BRUCE                                 5047 POTOMAC DR                                                                                ROCKFORD           IL    61107‐2429
BARBARA A BRYANT                                C/O B B KESSLING                      1820 JENNIFER LANE   UNIT 103                            FAYETTEVILLE       NC    28314
BARBARA A BUCCI                                 157 UNION AVE                                                                                  TARRYTOWN          NY    10591‐3811
                                                                                                                                               HEIGHTS
BARBARA A BURCH                                 2436 DAGENHARDT RD                                                                             GIBSONIA           PA    15044‐8128
BARBARA A BURKE                                 2100 WEST 104 ST                                                                               CLEVELAND          OH    44102‐3533
BARBARA A BURKS                                 721 REED ST SE                                                                                 ATLANTA            GA    30315‐1228
BARBARA A BURNS                                 49137 CONWAY COURT                                                                             SHELBY TWP         MI    48315‐3916
BARBARA A BUTLER                                23111 HARDING ST                                                                               OAK PARK           MI    48237‐2448
BARBARA A BUTTARS                               401 AUGUST DRIVE                                                                               FOSTORIA           MI    48435‐9704
BARBARA A CAMPBELL                              20064 WOODINGHAM                                                                               DETROIT            MI    48221‐1253
BARBARA A CAMPBELL                              C/O BARBARA CAMPBELL LOFINK           155 CENTRE AVE       APT 6C                              NEW ROCHELLE       NY    10805‐2757
BARBARA A CARLSON                               1095 ARCLAIR PL                                                                                SAGINAW            MI    48638‐5605
BARBARA A CARNAHAN                              1319 ALAMEDA BLVD                                                                              TROY               MI    48085‐6739
BARBARA A CARNAHAN & PAUL W CARNAHAN & PAUL     1319 ALAMEDA BLVD                                                                              TROY               MI    48085‐6739
M CARNAHAN JT TEN
BARBARA A CARNEY                                112 HALL DR                                                                                    SALISBURY          MD    21804
BARBARA A CASEY                                 53 PRESIDENTIAL DR                                                                             SOUTHBOROUGH       MA    01772‐1126
BARBARA A CHUBBUCK                              329 PUTNAM RD                                                                                  POMFRET CENTER     CT    06259‐1224
BARBARA A COLANDO & DAVID B COLANDO JT TEN      648 MAINSAIL PL                                                                                NAPLES             FL    34110‐3612

BARBARA A COLANDO & DAVID B COLANDO JT TEN      648 MAINSAIL PL                                                                                NAPLES             FL    34110‐3612

BARBARA A COOK                                  433 OGDEN PARMA TL RD                                                                          SPENCERPORT        NY    14559
BARBARA A CORNELIUS                             11776 FARMINGTON RD                                                                            LIVONIA            MI    48150‐1722
BARBARA A CORNWELL                              3300 SW 35TH ST                                                                                DES MOINES         IA    50321‐1830
BARBARA A CRAWFORD                              29 WESTWOOD PARK CIR                                                                           ATTLEBORO          MA    02703‐1914
BARBARA A CUBBA & DENNY J SMITH JT TEN          8 MONOGAHEILA DR                                                                               CHEROKEE VILLAGE   AR    72529

BARBARA A CULLEEN                               109 LEAFCUP CT                                                                                 GAITHERSBURG       MD    20878‐2632
BARBARA A DAVENPORT                             100 VALERIE CT                                                                                 STOCKBRIDGE        GA    30281‐2505
BARBARA A DAVIDSON                              11561 RAWSTORNE LN                                                                             MISHAWAKA          IN    46545‐7940
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                       Part 1 of 8 Pg 299 of 850
Name                                               Address1                             Address2                     Address3   Address4          City               State Zip

BARBARA A DAVIES & LESLEY A DAVIES JT TEN          334 WHITAKER AVE SOUTH                                                                         POWELL             OH    43065‐8516
BARBARA A DAVIES & SANDRA L SCHERER JT TEN         334 WHITAKER AVE SOUTH                                                                         POWELL             OH    43065‐8516
BARBARA A DAVIS                                    17238 DEAN                                                                                     DETROIT            MI    48212‐1267
BARBARA A DE CARLO                                 605 27TH ST                                                                                    NIAGARA FALLS      NY    14301‐2527
BARBARA A DEVLIN                                   17156 EDGEWATER LANE                                                                           HUNTINGTON         CA    92649‐4210
                                                                                                                                                  BEACH
BARBARA A DIRKMAAT                                 11801 HOSKINS NE                                                                               CEDAR SPRINGS      MI    49319‐9180
BARBARA A DIVEN & RONALD S DIVEN & STACY D PITRE   313 NE 88 TERR                                                                                 KANSAS CITY        MO    64155‐2345
JT TEN
BARBARA A DIXON                                    9646 S JAMES MADISON HWY                                                                       DILLWYN            VA    23936‐2417
BARBARA A DIXON                                    1414 LAKE NEPESSING                                                                            LAPEER             MI    48446‐2927
BARBARA A DIXON & ROGER M DIXON JT TEN             1414 LAKE NEPESSING                                                                            LAPEER             MI    48446‐2927
BARBARA A DOBNER                                   35750 SHELL DR                                                                                 STERLING HEIGHTS   MI    48310‐4979

BARBARA A DOCKSTADER                               7910 E BRITTON DRIVE                                                                           NIAGARA FALLS      NY    14304‐1004
BARBARA A DOHERTY & JEAN S DOHERTY JT TEN          1301 29TH AVE                                                                                  SAN FRANCISCO      CA    94122‐1405
BARBARA A DU CHARME                                PO BOX 324                                                                                     BROOKLYN           CT    06234‐0324
BARBARA A DUCHARME                                 9402 W PIERSON RD                                                                              FLUSHING           MI    48433‐9717
BARBARA A DUFALLA & DARLA S ARNOLD JT TEN          420 GARLAND DR                                                                                 NILES              OH    44446‐1107
BARBARA A DUFF                                     C/O DORETHA BUCKNER                  6652 FOUNTAIN SPRINGS BLVD                                INDIANAPOLIS       IN    46236‐7217
BARBARA A DUHIGG                                   5679 MONROE ST BLDG 2 #304                                                                     SYLVANIA           OH    43560‐2726
BARBARA A DUKE                                     705 NW SUMMERCREST BLVD                                                                        BURLESON           TX    76028
BARBARA A DURANT                                   336 SWISS DR L239                                                                              CROWLEY            TX    76036
BARBARA A EARLY                                    8093 TONAWANDA CREEK RD                                                                        LOCKPORT           NY    14094‐9045
BARBARA A EATS‐LUCIER & ANTHONY L LUCIER JT TEN    2765 BROADWAY                                                                                  SCHNECTADY         NY    12306‐2334

BARBARA A EDWARDS                                  508 HEATHER DRIVE APT 5                                                                        DAYTON             OH    45405
BARBARA A EHRICK                                   4392 NOGAL AVE                                                                                 YORBA LINDA        CA    92886‐2546
BARBARA A EVANS                                    12245 SLEE RD                                                                                  MANITOU BEACH      MI    49253‐9739
BARBARA A FALLSTAD TOD RUSSELL T FALLSTAD          330 FORESTVIEW LANE N                                                                          PLYMOUTH           MN    55441‐5913
SUBJECT TO STA TOD RULES
BARBARA A FARRIS                                   2004 SHELMAN TRL                                                                               FORT WORTH         TX    76112‐5233
BARBARA A FARROW                                   15897 WHEELER RD                                                                               LAGRANGE           OH    44050‐9565
BARBARA A FEDUN                                    505 RUSTIC RD                                                                                  ORADELL            NJ    07649‐1320
BARBARA A FERGUSON                                 5808 WIND GATE LN                                                                              LITHONIA           GA    30058‐2600
BARBARA A FERNALD                                  57 RAYMOND RD                                                                                  NOTTINGHAM         NH    03290‐5107
BARBARA A FERRIS                                   1000 EDGEHILL DR                                                                               FERGUSON           MO    63135‐2808
BARBARA A FORBES                                   14 MILLER RD                                                                                   PUTNAM VALLEY      NY    10579‐2816
BARBARA A FORBES & RALPH S FORBES & ERIC W         3432 LAKEVIEW DR                                                                               HIGHLAND           MI    48356‐2372
FORBES JT TEN
BARBARA A FORBES & RALPH S FORBES & RACHELLE R     3432 LAKEVIEW DR                                                                               HIGHLAND           MI    48356‐2372
FORBES JT TEN
BARBARA A FOREMAN                                  3520 BEELER AV                                                                                 INDIANAPOLIS       IN    46224‐1922
BARBARA A FOX                                      208 PINE HOV CIR                     APT C‐1                                                   GREENACRES         FL    33463‐9093
BARBARA A FREGOLLE                                 PO BOX 87312                                                                                   SAN DIEGO          CA    92138‐7312
BARBARA A FULTON                                   ATTN C AMANN                         31401 SUNSET                                              BIRMINGHAM         MI    48025‐5108
BARBARA A GALLANATI                                BOX 157                                                                                        BROOKLYN           MI    49230‐0157
BARBARA A GAMBLE                                   1242 RING WALT DR                                                                              DAYTON             OH    45432‐1739
BARBARA A GANZER                                   5426 GRUBB RD                                                                                  ERIE               PA    16506‐4112
BARBARA A GARDY                                    6410 TOWNLINE RD                                                                               BIRCH RUN          MI    48415‐9069
BARBARA A GARLAND                                  1307 N BERWICK AVENUE                                                                          INDIANAPOLIS       IN    46222‐2976
BARBARA A GARLOW                                   2456 BALMER ROAD                                                                               RANSOMVILLE        NY    14131‐9743
BARBARA A GARTEE                                   2832 SPIELMAN HGTS DR                                                                          ADRIAN             MI    49221‐9228
BARBARA A GEIL                                     16142 FAIR LANE                                                                                LIVONIA            MI    48154‐2566
BARBARA A GERHART                                  2801 SPIELMAN HEIGHTS DR                                                                       ADRIAN             MI    49221‐9228
BARBARA A GERLACH                                  3436 WOODLEY COURT                                                                             TOLEDO             OH    43606
BARBARA A GERM                                     3311 MAE DR                                                                                    WARREN             OH    44481‐9210
BARBARA A GETCHELL                                 6139 HAMPSHIRE AVE N                                                                           MINNEAPOLIS        MN    55428‐2930
BARBARA A GEYER                                    3325 NORTH HURDS CORNER ROAD                                                                   CARO               MI    48723‐9163
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 300 of 850
Name                                              Address1                                Address2              Address3         Address4          City             State Zip

BARBARA A GOODHUE                                 11343 E STANLEY ROAD                                                                             DAVISON          MI    48423‐9308
BARBARA A GOODMAN                                 1065 JEFFERSON BLVD                                                                              FLINT            MI    48507‐4244
BARBARA A GOODRIDGE                               330 W MONTGOMERY AVE                                                                             NORTH WALES      PA    19454‐3416
BARBARA A GORDON                                  1955 VAN COURTLAND                                                                               TROY             MI    48083‐1844
BARBARA A GORDON                                  23831 DONALD AVE                                                                                 EASTPOINTE       MI    48021‐4626
BARBARA A GORDON                                  ATTN BARBARA A SQUIRES                  2107 BUTLER ROAD                                         FORT WAYNE       IN    46808‐1369
BARBARA A GRAF                                    2511 BARRYKNOLL ST                                                                               KETTERING        OH    45420‐3513
BARBARA A GRAHAM                                  12119 GRAND RIVER AVE                                                                            EAGLE            MI    48822‐9704
BARBARA A GRAYSON                                 ATTN JOHNSON GRAYSON                    6871 PENNY LN                                            KALAMAZOO        MI    49009‐7505
BARBARA A GRIMES                                  8 HILL DR                               DUNE ACRES                                               CHESTERTON       IN    46304‐1010
BARBARA A GRODZICKI                               15635 HANFOR                                                                                     ALLEN PARK       MI    48101‐2784
BARBARA A GROSS                                   ATTN BARBARA A REABOLD                  6315 EAST LAKE ROAD                                      BURT             NY    14028‐9706
BARBARA A HALL                                    10217 WESTLAKE                                                                                   TAYLOR           MI    48180‐3267
BARBARA A HAMMETT                                 85 MCHENRY RD                                                                                    INDIANA          PA    15701‐8595
BARBARA A HANNING & LEONA GALLANT JT TEN          9272 WILDWOOD LAKE DRIVE                                                                         WHITMORE LAKE    MI    48189‐9429
BARBARA A HANRHAN & LOUIS R HANRHAN JT TEN        89 GARDNER ST                                                                                    HINGHAM          MA    02043‐3743

BARBARA A HARASYMIW & MICHELE HOURIGAN JT TEN 300 SOUTH BUCKHOUT ST                                                                                IRVINGTON        NY    10533‐2205

BARBARA A HARRIS                                  1281 RACQUET CLUB NORTH DR              APT A                                                    INDIANAPOLIS     IN    46260‐1116
BARBARA A HASTINGS                                26566 LOCUST DR                                                                                  OLMSTED          OH    44138‐2529
BARBARA A HAYNES                                  2897 E 800 NORTH                                                                                 ALEXANDRIA       IN    46001‐9219
BARBARA A HEARIN                                  2580 IVY HILL LANE                                                                               SAGINAW          MI    48603‐2712
BARBARA A HEAVRIN & KATIE A HEAVRIN JT TEN        6036 N COUNTY ROAD Y                                                                             MILTON           WI    53563‐8914
BARBARA A HEENAN                                  27 STIMENN DR APT 7                                                                              MANSFIELD        OH    44907‐6502
BARBARA A HEILMAN                                 29 FAIRVIEW AVE                                                                                  BRICK            NJ    08724‐4314
BARBARA A HELLBERG                                50 HARBOR VIEW LN                       APT 29                                                   BELLEAIR BLF     FL    33770‐2652
BARBARA A HELTON                                  15439 SOUTH SCOTT DR                                                                             LOCKPORT         IL    60441‐7323
BARBARA A HERD                                    8111 W 91ST ST                                                                                   OVERLAND PARK    KS    66212‐2910
BARBARA A HETNER & KEVIN W HETNER JT TEN          24319 HEATHERWOOD DR                                                                             SOUTH LYON       MI    48178‐8001
BARBARA A HILL                                    1473 COUNTY STREET 2986                                                                          BLANCHARD        OK    73010‐3187
BARBARA A HILLYER                                 5107 COUNTYFAIR CRT                                                                              MONEE            IL    60449
BARBARA A HILTS                                   5690 AVE G                                                                                       OUTER LAKE       MI    48464‐9776
BARBARA A HOFFERT                                 4322 ILLINOIS AVE SW                                                                             WYOMING          MI    49509‐4453
BARBARA A HOLLEY                                  1144 WOLFENBARGER ROAD                                                                           TAZEWELL         TN    37879
BARBARA A HOLMES                                  4516 BERQUIST DR                                                                                 DAYTON           OH    45426‐1804
BARBARA A HUFFMAN                                 9632 VALE RD                                                                                     DEERFIELD        OH    44411
BARBARA A IRISH                                   3488 NORTH BELSAY ROAD                                                                           FLINT            MI    48506‐2269
BARBARA A JAEGER                                  653 BROAD ST                                                                                     BLOOMFIELD       NJ    07003‐2800
BARBARA A JAKUBCZAK                               8613 OLMSTEAD TERR                                                                               NORTH RICHALND   TX    76180‐5316
                                                                                                                                                   HIL
BARBARA A JANOS                                   11908 HIGHWAY 28 EAST                                                                            PINEVILLE        LA    71360‐0721
BARBARA A JENSEN                                  1603 KUMMER CT                                                                                   GENEVA           IL    60134‐2929
BARBARA A JERMANSKI                               565 FAIRFIELD NW                                                                                 GRAND RAPIDS     MI    49504
BARBARA A JOHNSON                                 111 WILLOW DR                                                                                    SHREWSBURY       WV    25015‐1828
BARBARA A JONES                                   155 LISBON AVE                                                                                   BUFFALO          NY    14214‐1404
BARBARA A JONES                                   9500 TRAVERSE                                                                                    DETROIT          MI    48213‐1160
BARBARA A JORDAN                                  17125 LEE STREET                                                                                 SOUTHFIELD       MI    48075‐2938
BARBARA A KAATZ                                   2528 JULIE DR                                                                                    COLUMBIAVILLE    MI    48421‐8911
BARBARA A KAISER                                  2666 RIDGEWAY AVE                                                                                ROCHESTER        NY    14626‐4209
BARBARA A KALOYDIS                                1153 LAKE VALLEY DRIVE                                                                           FENTON           MI    48430‐1229
BARBARA A KAPLAN                                  38 EAST 85TH STREET                                                                              NEW YORK         NY    10028‐0905
BARBARA A KATZ TR BARBARA A KATZ REVOCABLE        12 KIMBERLY LN                                                                                   DEARBORN         MI    48120‐1304
LIVING TRUST UA 10/22/98
BARBARA A KAZIERCZAK                              1411 JEAN                                                                                        FERNANDALE       MI    48220‐2351
BARBARA A KELLY                                   1304 WOODPOINTE DR                                                                               JEFFERSON CTY    TN    37760‐5268
BARBARA A KENO & ROBERT P KENO TR UA 07/30/2007   12267 WILDFLOWER LANE                                                                            HUNTLEY          IL    60142
KENO LIVING TRUST
BARBARA A KENT                                    222 E 56TH ST APT 3L                                                                             NEW YORK         NY    10022‐3719
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 301 of 850
Name                                                Address1                               Address2             Address3          Address4          City              State Zip

BARBARA A KERYAN                                   207 BAUCOM PARK DR                                                                               GREER             SC    29650‐2974
BARBARA A KIMMEL                                   335 ALLANHURST AVENUE                                                                            VANDALIA          OH    45377‐1720
BARBARA A KING                                     655 BIRCH TREE CT                                                                                ROCHESTER HILLS   MI    48306‐3303
BARBARA A KIRKPATRICK & KEITH A KIRKPATRICK JT TEN 32700 MAPLEWOOD                                                                                  GARDEN CITY       MI    48135‐1689

BARBARA A KOVALCHIK & JOHN P KOVALCHIK JT TEN       18550 KALVIN DR                                                                                 BROOK PARK        OH    44142‐3472

BARBARA A KRANER                                    3473 OLD PULASKI RD                                                                             NEW CASTLE        PA    16105‐3511
BARBARA A KRISHAN CUST ANDREA R KRISHAN UTMA        12522 S CEDAR AVE                                                                               JENKS             OK    74037‐4983
OK
BARBARA A KRUEGER                                   2326 MERSHON                                                                                    SAGINAW           MI    48602‐5271
BARBARA A KUTZ                                      ATTN BARBARA KUTZ WALSH                16 CIRCLE DRIVE                                          DOVER             MA    02030‐2106
BARBARA A LA MARCA                                  C/O B SHARP                            200 W 79TH ST                                            NY                NY    10024‐6212
BARBARA A LANE & GEORGE L LANE JT TEN               815 KEVIN DR                                                                                    JEFFERSON CITY    MO    65109‐9702
BARBARA A LANGDON                                   4237 SWALLOW DRIVE                                                                              FLINT             MI    48506‐1604
BARBARA A LANGSTON                                  1589 AUSTIN DR                                                                                  DECATUR           GA    30032‐3837
BARBARA A LANTING                                   1029 NEWBERRY AVE                                                                               LA GRANGE PK      IL    60526‐1667
BARBARA A LANTING & CHARLES R NEMECEK JT TEN        1029 NEWBERRY AVE                                                                               LA GRANGE PARK    IL    60526‐1667

BARBARA A LARSON                                    2829 KEVIN ST                                                                                   SAINT JOSEPH     MI     49085‐3326
BARBARA A LAVIOLETTE                                14194 STRAITS VIEW DR                                                                           CHEBOYGAN        MI     49721‐8952
BARBARA A LAW                                       425 N WINTER ST                                                                                 YELLOW SPRINGS   OH     45387‐2051
BARBARA A LAZORE                                    PO BOX 954                                                                                      HOGANSBURG       NY     13655‐0954
BARBARA A LE KATES                                  2339 TAGGART COURT                                                                              WILMINGTON       DE     19810‐2615
BARBARA A LE PETRI CUST NICOLE E LE PETRI UGMA NY   389 HEMPSTEAD AVE                                                                               ROCKVILLE CENTRE NY     11570‐2013

BARBARA A LEMLEY                                    513 TURNBERRY WAY                                                                               CIBOLO            TX    78108‐4337
BARBARA A LENNEMAN                                  3948 WINGATE CT                                                                                 RAPID CITY        SD    57701‐8634
BARBARA A LEVESQUE & DONALD D LEVESQUE JT TEN       220 AIRPORT RD                                                                                  CONCORD           NH    03301‐5203

BARBARA A LEWANDOWSKI                               2802 E ROCKRIDGE CIRCLE                                                                         TOLEDO            OH    43606‐2849
BARBARA A LEWIS & WILLIAM LEWIS JR JT TEN           420 S DUPONT ROAD                                                                               WILMINGTON        DE    19804‐1636
BARBARA A LIMBERG KACHINSKY                         832 NEFF COURT                                                                                  NEENAH            WI    54956‐2031
BARBARA A LISIAK                                    4700 WRIGHT WIND DR SE                                                                          GRAND RAPIDS      MI    49546
BARBARA A LITTLEFIELD                               2680 CINNAMON RIDGE                                                                             HOWELL            MI    48843‐9069
BARBARA A LOMBARDO                                  76 BERRY AVE                                                                                    STATEN ISLAND     NY    10312‐1510
BARBARA A LUCKETT                                   2523 HILLCREST AVE                                                                              PENSACOLA         FL    32526‐8996
BARBARA A LUNDIN                                    28328 LORENZ                                                                                    MADISON HEIGHTS   MI    48071‐2840

BARBARA A LUTTRELL                                  6239 BAKER RD                                                                                   SEAFORD           DE    19973‐6536
BARBARA A LUTZ                                      247 CYPRESS CREEK RD                                                                            SEVERNA PARK      MD    21146‐4043
BARBARA A MACERONI                                  5434 WEST WILLOW HIGHWAY                                                                        LANSING           MI    48917‐1428
BARBARA A MAGEL                                     733 PRICE LANE                                                                                  DEERFIELD         IL    60015‐4177
BARBARA A MAHAN                                     4502 N 56TH ST                                                                                  MILWAUKEE         WI    53218‐5601
BARBARA A MAHONEY                                   3 RIDGE AVENUE                                                                                  NATICK            MA    01760‐2501
BARBARA A MANN                                      9200 N IRISH RD                                                                                 MT MORRIS         MI    48458‐9715
BARBARA A MARSHALL                                  3309 IROQOUIS                                                                                   FLINT             MI    48505‐4005
BARBARA A MARTIN                                    9 SPRUCE ST                                                                                     STONEHAM          MA    02180‐3060
BARBARA A MARTIN CUST MEGHAN E MARTIN UTMA          9 SPRUCE STREET                                                                                 STONEHAM          MA    02180‐3060
MA
BARBARA A MARTIN CUST MICHAEL E MARTIN UGMA         9 SPRUCE ST                                                                                     STONEHAM          MA    02180‐3060
MA
BARBARA A MASTAW                                    15635 HANFOR                                                                                    ALLEN PARK        MI    48101‐2784
BARBARA A MATHEWS                                   9 LAKEVIEW CT                                                                                   FORISTELL         MO    63348‐2463
BARBARA A MATTHEWS                                  7 DAN LEE TERRACE                                                                               MARTINSVILLE      VA    24112‐4401
BARBARA A MATTICK                                   2737 N 300 W                                                                                    GREENFIELD        IN    46140‐8480
BARBARA A MATTINGLY                                 4137 BROWN RD                                                                                   INDIANAPOLIS      IN    46226‐4419
BARBARA A MAY                                       2160 BREWER RD                                                                                  HOWELL            MI    48843‐8759
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 302 of 850
Name                                            Address1                              Address2             Address3          Address4          City               State Zip

BARBARA A MAY                                   2169 CHANNEL WAY                                                                               NORTH FORT MYERS FL      33917‐2513

BARBARA A MAYBERRY                              7440 ELIN CT                                                                                   DAYTON             OH    45415‐1101
BARBARA A MAYFIELD                              50 THORNHILL LANE                                                                              WILLINGBORO        NJ    08046‐3628
BARBARA A MAYFIELD & THOMAS H MAYFIELD JT TEN   50 THORNHILL LANE                                                                              WILLINGBORO        NJ    08046‐3628

BARBARA A MAZA                                  4600 CRAIG AVE                                                                                 METAIRIE           LA    70003‐7605
BARBARA A MC CANTS                              1221 BOYLE ST                                                                                  PITTSBURGH         PA    15212‐4711
BARBARA A MC DUFFORD                            334 SHADE DR                                                                                   FAIRBORN           OH    45324‐4239
BARBARA A MC GRATH                              8911 CEDAR DR                                                                                  PRAIRIE VILLAGE    KS    66207‐2215
BARBARA A MC NALLY                              4302 28TH PL                          APT 2                                                    MOUNT RAINIER      MD    20712‐1519
BARBARA A MCCANN                                ATTN BARBARA A BROWN                  1062 RADEMACHER                                          DETROIT            MI    48209‐2245
BARBARA A MCCULLOUGH                            2516 S UNION RD                                                                                ANDERSON           IN    46017
BARBARA A MCDONALD                              3610 DAVISON LAKE RD                                                                           ORTONVILLE         MI    48462‐9531
BARBARA A MCELWAIN                              2571 CHATEAUGAY ST                    PO BOX 402                                               FORT COVINGTON     NY    12937‐0402
BARBARA A MCGLOIN                               25 LINDEN ST                                                                                   GARDEN CITY        NY    11530‐1838
BARBARA A MEILANDER                             5253 EDGEWATER DRIVE                                                                           SHEFFIELD LK       OH    44054
BARBARA A MERCURIO                              4639 DUSTIN ROAD                                                                               BURTONSVILLE       MD    20866‐1028
BARBARA A MESSICK                               4083 BAYBROOK                                                                                  WATERFORD          MI    48329‐3874
BARBARA A METAL                                 100 CAMBRIA HILL DR                                                                            TARENTUM           PA    15084‐9301
BARBARA A METCALFE & RONDAL W METCALFE JT TEN   1708 ROCKY POINTE DR                                                                           LAKELAND           FL    33813‐1972

BARBARA A MICKEL                                39608 ARDELL BLVD                                                                              NOVI               MI    48377‐3726
BARBARA A MILLER                                6621 SEVEN PINES DR                                                                            BRADENTON          FL    34203‐7870
BARBARA A MILLER                                653 BROAD ST                                                                                   BLOOMFIELD         NJ    07003‐2800
BARBARA A MILLER TR BARBARA A MILLER TRUST UA   934 WHEATLAND DR                                                                               CRYSTAL LAKE       IL    60014‐1601
08/23/94
BARBARA A MINTZ                                 8 JUNIPER PL                                                                                   LEXINGTON          MA    02420‐3534
BARBARA A MITCHELL                              3615 MAYBELL                                                                                   LANSING            MI    48911‐2832
BARBARA A MOELLER                               523 NW 35TH PLACE                                                                              CAPE CORAL         FL    33993‐5625
BARBARA A MONTGOMERY & WILLIAM F                3515 SW 6TH AVE APT 242                                                                        TOPEKA             KS    66606
MONTGOMERY JR JT TEN
BARBARA A MORGAN & DAVID M TAYLOR JT TEN        75 CONNOR PASS                                                                                 UXBRIDGE        MA       01569‐3209
BARBARA A MUELLER                               305 MICHIGAN AVE                                                                               SOUTH MILWAUKEE WI       53172‐2800

BARBARA A MULROONEY                             1 CASTLE HILL DRIVE                   HALIFAX NS                             B3M 3A2 CANADA
BARBARA A MURPHY                                PMB 350                               1807 S WASHINGTON    SUITE 110                           NAPERVILLE         IL    60565‐2050
BARBARA A MURPHY                                31 FISHER RD                                                                                   GROSSE POINTE      MI    48230‐1601
BARBARA A MURTON                                5138 NAN LINN DR                                                                               WILLOUGHBY         OH    44094‐4360
BARBARA A MYERS                                 1920 LINCOLN ST                       #2N                                                      EVANSTON           IL    60201‐5820
BARBARA A MYERS & WILLIAM JOSEPH MYERS JT TEN   7285 AUDUBON                                                                                   ALGONAC            MI    48001‐4101

BARBARA A NELSON                                430 SUMMIT QVE                                                                                 KENT               WA    98031
BARBARA A NEWSOME                               4906 ARLINGTON ST                                                                              ST LOUIS           MO    63120‐2333
BARBARA A NIEWOIT                               35750 SHELL DR                                                                                 STERLING HEIGHTS   MI    48310‐4979

BARBARA A NITTIS                                67850 DEQUINDRE ROAD                                                                           WASHINGTON         MI    48095‐1036
BARBARA A NOBLE                                 13 MARTY LANE                                                                                  WEST               OH    45381‐1165
                                                                                                                                               ALEXEXANDRIA
BARBARA A NOEL                                  1457 EL CAMINO DRIVE                                                                           CLAYTON            CA    94517‐2109
BARBARA A NOONAN                                328 GRAYTON ROAD                                                                               TONAWANDA          NY    14150‐8622
BARBARA A NOYES TR BARBARA A NOYES TRUST UA     24 SANDRA DR                                                                                   CHELMSFORD         MA    01824‐4767
08/15/95
BARBARA A OBRIEN                                1498 REGENT ST                                                                                 SCHENECTADY        NY    12309‐4316
BARBARA A PAIGE & DWIGHT C PAIGE JT TEN         2906 WUTHERING HEIGHTS                                                                         HOUSTON            TX    77045‐4741
BARBARA A PATTON                                547 JUANA AVE                         APT A                                                    SAN LEANDRO        CA    94577‐5049
BARBARA A PEARL                                 31372 CREEK SIDE DR DR                                                                         WARREN             MI    48093‐5526
BARBARA A PEARSON                               6377 TORREY RD                                                                                 FLINT              MI    48507‐5905
BARBARA A PECK                                  633 N MAIN ST                                                                                  GERMANTOWN         OH    45327‐1015
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 303 of 850
Name                                            Address1                               Address2             Address3          Address4          City               State Zip

BARBARA A PECORA                                128 PEMBERTON AVE                                                                               PLAINFIELD         NJ    07060‐2852
BARBARA A PERCIVAL                              495 WEXFORD HOLLOW RUN                                                                          ROSWELL            GA    30075‐1464
BARBARA A PINGLETON                             1859 COUNTY LINE ROAD                                                                           KENDALL            NY    14476‐9751
BARBARA A PIRRONELLO & DEBRA J HARBISON & DAVID 19161 SURREY LANE                                                                               NORTHVILLE         MI    48167‐3138
E HANNERT JT TEN
BARBARA A PIRRONELLO & DEBRA J HARBISON JT TEN  19161 SURREY LANE                                                                               NORTHVILLE         MI    48167‐3138

BARBARA A PLUMMER                             9230 CASE                                                                                         BROOKLYN           MI    49230‐9516
BARBARA A POELMAN                             2478 PARKVIEW SW                                                                                  WYOMING            MI    49519
BARBARA A POHLMAN                             1615 BALSAM WAY                                                                                   MILFORD            MI    48381‐3389
BARBARA A POHLMAN                             1615 BALSAM WAY                                                                                   MILFORD            MI    48381‐3389
BARBARA A POLITO                              22 RED CEDAR DR                                                                                   ROCHESTER          NY    14616‐1666
BARBARA A PORREY                              526 GLENVIEW CT                                                                                   WEBSTER            NY    14580‐1502
BARBARA A POWELL                              1199 HALLS BRIDGE RD                                                                              JACKSON            GA    30233
BARBARA A POWERS                              17763 CROOKED OAK AVE                                                                             BOCA RATON         FL    33487
BARBARA A PREL                                12903 PRAIRIE KNOLL CT                                                                            GERMANTOWN         MD    20874‐6347
BARBARA A PRETZER                             3916 2 MILE RD                                                                                    BAY CITY           MI    48706‐9245
BARBARA A PREWITT                             14576 FARMCREST PL                                                                                SILVER SPRING      MD    20905‐6009
BARBARA A PRIHODA                             3 ELTON AVE                                                                                       HAMILTON           NJ    08620‐1501
BARBARA A PURCELL                             527 COUNTRY CLUB RD                                                                               CAMP HILL          PA    17011‐2114
BARBARA A PURDHAM & CHARLES R PURDHAM TEN ENT 112 WHITE FAWN RD                                                                                 NEWARK             DE    19711‐7214

BARBARA A REAVIS                                614 HALLIWELL ST                                                                                CHARLOTTE        NC      28262‐1589
BARBARA A REEDER                                1622 W BOWMAN AVE                                                                               KETTERING        OH      45409
BARBARA A REESE                                 2615 NO 93RD STREET APT 5                                                                       OMAHA            NE      68134‐5749
BARBARA A REICHERT                              2978 CRYSTAL                                                                                    PINCKNEY         MI      48169‐9345
BARBARA A RHODES                                315 S 10TH AVE                                                                                  STROUD           OK      74079‐3833
BARBARA A RICE                                  C/O BARBARA A RICE PRINCE              4214 RICHTON ST                                          DETROIT          MI      48204‐1540
BARBARA A RICHARDSON                            419 N 2ND ST                                                                                    DENNISON         OH      44621‐1107
BARBARA A RIGGS                                 2298 REED                                                                                       LANSING          MI      48911‐7202
BARBARA A RINEER CUST BRITTANY M RINEER UTMA CO 1111 WHITEHOUSE DR                                                                              COLORADO SPRINGS CO      80904‐1234

BARBARA A RINEER CUST CARISSA ANN RINEER UTMA    1111 WHITEHOUSE DR                                                                             COLORADO SPRINGS CO      80904‐1234
CO
BARBARA A RIPPERT                                516 ALLEN ST                                                                                   WEST HAZLETON      PA    18202‐2627
BARBARA A ROBARE                                 47 BEMAN ST                                                                                    MALONE             NY    12953‐1621
BARBARA A ROBERTS                                109 WARWICK DRIVE                                                                              MONROE             LA    71203‐2935
BARBARA A ROCK & BRUCE T ROCK TR ROCK FAM LIVING 9012 W BEHREND DR                                                                              PEORIA             AZ    85382‐8675
TRUST UA 04/04/96
BARBARA A RODEN                                  39551 LEGEND CT                                                                                NORTHVILLE         MI    48167‐3935
BARBARA A ROHMAN                                 7766 HOERTZ RD                                                                                 PARMA              OH    44134‐6404
BARBARA A ROWE                                   2310 CRESTBROOK LANE                                                                           FLINT              MI    48507‐2209
BARBARA A RUHLMAN                                89 MCKINLEY AVENUE                                                                             WARREN             PA    16365‐3464
BARBARA A RUPCIC                                 102 E PINE HOLLOW LN                  APT 7                                                    OAK CREEK          WI    53154‐7712
BARBARA A RUTKOWSKI & GARY M RUTKOWSKI JT TEN 41970 GLEN ARBOR                                                                                  CANTON             MI    48188‐2602

BARBARA A RUTLER                              124 HIGHVIEW DR                                                                                   CLIFTON            NJ    07013‐3322
BARBARA A SANDERS                             RR 2 BOX 582                                                                                      PHILIPPI           WV    26416‐9207
BARBARA A SANGER                              PO BOX 1882                                                                                       MORRISTOWN         TN    37816‐1882
BARBARA A SASSO                               5901 W BEHREND DR                        APT 1012                                                 GLENDALE           AZ    85308‐6934
BARBARA A SCHELL                              2355 GENERATION DR                                                                                RESTON             VA    20191‐3033
BARBARA A SCHMIDT                             708 CAROLINE AVE                         MT SHASTA                                                MOUNT SHASTA       CA    96067‐2039
BARBARA A SCHNABEL                            216 CHURCH ST                                                                                     NEWINGTON          CT    06111
BARBARA A SCHNELBACH                          1280 HUNTCLIFF COURT                                                                              MILFORD            MI    48380‐4492
BARBARA A SCHUMACHER                          34233 ELDORADO DRIVE                                                                              CLINTON TWP        MI    48035‐3450
BARBARA A SCHWARTZ & NORMAN G SCHWARTZ JT TEN 13773 ABBEY CT                                                                                    STERLING HEIGHTS   MI    48312‐4101

BARBARA A SEARCY                                12697 BRIAR THECH ROAD                                                                          HOUSTON            TX    77077‐2331
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 304 of 850
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

BARBARA A SEMAN TR ROBERT L SEMAN REVOCABLE      1191 NAPA RIDGE DRIVE                                                                           DAYTON             OH    45458‐6019
LIVING TRUST UA 05/22/97
BARBARA A SHANKS                                 6055 KNYGTHTON RD                                                                               INDIANAPOLIS       IN    46220‐4990
BARBARA A SHARP                                  200 WEST 79TH STREET                                                                            NEW YORK           NY    10024‐6212
BARBARA A SHERRY                                 6140 BOROWY                                                                                     COMMERCE           MI    48382‐3611
                                                                                                                                                 TOWNSHIP
BARBARA A SIBLEY & HARRY SIBLEY JT TEN           8430 WEST 26 RD                                                                                 MESICK             MI    49668‐9312
BARBARA A SIDERS CUST ANNICE T SIDERS UGMA MI    2009 WASHTENAW AVE                                                                              ANN ARBOR          MI    48104‐3611

BARBARA A SILBER                                 404 RIVERSIDE DR                       # 5B                                                     NEW YORK           NY    10025‐1861
BARBARA A SIMMONS                                24720 MANISTEE                                                                                  OAK PARK           MI    48237‐1766
BARBARA A SLADE                                  2151 W FAIR AVE                        UNIT 187                                                 LANCASTER          OH    43130‐7861
BARBARA A SMITH                                  4039 LEDAN EXT                                                                                  GAINESVILLE        GA    30506‐2024
BARBARA A SMITH CUST CASSI M SMITH UTMA MI       15889 UV AVE                                                                                    FULTON             MI    49052‐9719
BARBARA A SNYDER                                 2323 DUE WEST DR                                                                                THE VILLAGES       FL    32162
BARBARA A SPAETH & DONALD O SPAETH TR UA         2582 DELWAWARE AVE                                                                              SAINT PAUL         MN    55118‐4715
05/31/96 BARBARA A SPAETH
BARBARA A SPRING                                 11000 CHADDOCK RD                                                                               ALEXANDER          NY    14005
BARBARA A STEELE                                 6488 CLOVERLEAF DR                                                                              LOCKPORT           NY    14094
BARBARA A STEPHENS & BEVERLY S MAGGART JT TEN    109 RYBURN DRIVE                                                                                OLD HICKEY         TN    37138‐2814

BARBARA A STERNER                                8266 S COUNTRY CLUB CIR                                                                         FRANKLIN           WI    53132‐8532
BARBARA A STILWELL                               3384 CANDLEWOOD DRIVE                                                                           LAKE HAVESU CITY   AZ    86406‐9142

BARBARA A STRADTMAN                              1414 JULIANNE CIRCLE                                                                            SANDUSKY           OH    44870‐7032
BARBARA A STRATTON                               10338 BREEZEWAY CIR                                                                             BROWNSBURG         IN    46112‐8951
BARBARA A SUAREZ                                 539 OLD MAIN ST                                                                                 ROCKY HILL         CT    06067‐1511
BARBARA A SWANN                                  700 NAPA VALLEY DR                     APT 208                                                  MILFORD            MI    48381‐1066
BARBARA A SWANSON                                853 N HWY 89 #70                                                                                CHINO VALLEY       AZ    86323
BARBARA A TAGGART & ALEXANDER K TAGGART JT TEN   54 BOTSFORD ROAD                                                                                SEYMOUR            CT    06483‐2304

BARBARA A TAYLOR                                 9137 S TIMBERLINE TER                                                                           INVERNESS          FL    34452‐9081
BARBARA A TERDIK                                 605 WELLAND AVE UNIT 31                ST CATHARINES ON                       L2M 7Z7 CANADA
BARBARA A THACKER                                PO BOX 925                                                                                      CUYAHOGA FLS       OH    44223
BARBARA A TILLEMA                                W8834 JASON DR                                                                                  BEAVER DAM         WI    53916‐9787
BARBARA A TITUS                                  901 BELLEVUE TER                                                                                SYRACUSE           NY    13204
BARBARA A TODD                                   397 CATALINA DR                                                                                 MOORESVILLE        NC    28117‐8566
BARBARA A TRUNECEK TRUNECEK REVOCABLE TRUST      PO BOX 2068                                                                                     HOBE SOUND         FL    33475‐2068
UA 2/27/97
BARBARA A URBANIAK                               35109 DEARING DR                                                                                STERLING HTS       MI    48312
BARBARA A URIG                                   464 AUBURN ST                                                                                   ELYRIA             OH    44035‐8830
BARBARA A VALE                                   82 51 234TH ST                                                                                  BELLROSE MANOR     NY    11427‐2117

BARBARA A VAN NESS                               87 PINE WOOD DR                                                                                 TRENTON            NJ    08690
BARBARA A VANEIMEREN                             1746 EMERALD COVE CIR                                                                           CAPE CORAL         FL    33991‐3494
BARBARA A VANOOSTEN                              121 LANGDON N E                                                                                 GRAND RAPIDS       MI    49503‐3539
BARBARA A VIATER                                 23 LEHIGH AVE                                                                                   AVENEL             NJ    07001‐1812
BARBARA A VOISINET                               PO BOX 575                                                                                      BARKER             TX    77413‐0575
BARBARA A VONTILLOW                              2326 GROSSE AVE                                                                                 SANTA ROSA         CA    95404‐3127
BARBARA A WAID TOD ALVEN BRAINERD                1170 ROBERT T LONGWAY BLVD                                                                      FLINT              MI    48503‐1851
BARBARA A WALLACK                                3920 DELANEYS FERRY RD                                                                          VERSAILLES         KY    40383‐9403
BARBARA A WARD                                   11052 NC HWY‐138                                                                                NORWOOD            NC    28128‐7512
BARBARA A WEBB                                   2246 E 68TH ST TERR                                                                             KANSAS CITY        MO    64132‐2936
BARBARA A WEST                                   3 GATES END                                                                                     OAKLAND            NJ    07436‐2315
BARBARA A WILLIAMS                               3779 SUNNYBROOK                                                                                 YOUNGSTOWN         OH    44511‐2833
BARBARA A WISNIEWSKI                             7819 S DUNE HWY                                                                                 EMPIRE             MI    49630‐9772
BARBARA A WITUCKI                                135 LEMYRA ST                                                                                   WYOMING            MI    49548‐1243
BARBARA A WOLANSKY                               1287 OXFORD LANE                                                                                UNION              NJ    07083‐5447
BARBARA A WOLF                                   1810 ENRIQUE DR                                                                                 THE VILLAGES       FL    32159‐8579
                                         09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 305 of 850
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

BARBARA A WOODWARD                             4463 ELLIOT AVE                                                                                 DAYTON            OH    45410‐3425
BARBARA A WOODWORTH TR BARBARA A               2641 WATKINS RD                                                                                 BATTLE CREEK      MI    49015
WOODWORTH TRUST UA 06/14/02
BARBARA A WORTNER                              6308 BALBOA LANE                                                                                APOLLO BEACH      FL    33572‐2313
BARBARA A WRIGHT                               65 BRETTS LANE                                                                                  HENDERSON         TN    38340‐7561
BARBARA A Y PLOTZ                              120 SUNRIDGE DR                                                                                 PITTSBURGH        PA    15234‐1021
BARBARA A YAGLEY                               860 HUNTSFORD                                                                                   TROY              MI    48084‐1614
BARBARA A YAKAMAVAGE & DAVID B YAKAMAVAGE JT   89 SUNDAY DR                                                                                    POTTSVILLE        PA    17901‐9004
TEN
BARBARA A YAKAMAVAGE & MICHELLE YAKAMAVAGE     89 SUNDAY DR                                                                                    POTTSVILLE        PA    17901‐9004
JT TEN
BARBARA A YAKAMAVAGE & TERRI LESHKO JT TEN     89 SUNDAY DR                                                                                    POTTSVILLE        PA    17901‐9004
BARBARA A YONTEK                               35007 C S TURTLE TRL                                                                            WILLOUGHBY        OH    44094‐4261
BARBARA ABELN                                  37458 SD HWY 26                                                                                 REDFIELD          SD    57469‐7007
BARBARA ABRAHAMS CUST PETER ALAN ABRAHAMS      10692 OAKTON RIDGE COURT                                                                        OAKTON            VA    22124
UGMA NY
BARBARA ALBERTINI                              274 CYPRESS PT                                                                                  PETERSBURG        IL    62675‐9765
BARBARA ALDAVE                                 86399 N MODESTO DR                                                                              EUGENE            OR    97402
BARBARA ALICE TARRANTS                         9301 ESTRELLA CT                                                                                NEW PRT RCHY      FL    34655‐1771
BARBARA ANDERSON                               715 HARTFORD DR                                                                                 ELYRIA            OH    44035‐3003
BARBARA ANGUS                                  506 9TH S AV                                                                                    EDMONDS           WA    98020‐3309
BARBARA ANM BROWN                              23735 W CHICAGO                                                                                 REDFORD           MI    48239
BARBARA ANN AGAN                               810 S E SHARON DRIVE                                                                            ANKENY            IA    50021‐3604
BARBARA ANN ALBANESE                           3S549 ELIZABETH AVE                                                                             WARRENVILLE       IL    60555‐3209
BARBARA ANN APPLEGATE                          412 EDKEN AVE                                                                                   TOMS RIVER        NJ    08753‐5535
BARBARA ANN AUXIER                             2222 SWAYZE STREET                                                                              FLINT             MI    48503‐3319
BARBARA ANN BINGHAM                            3704 E AHWATUKEE DRIVE                                                                          PHOENIX           AZ    85044‐3807
BARBARA ANN BORGER                             11488 FORMOSA ST                                                                                BROOKSVILLE       FL    34613‐7312
BARBARA ANN BRYANT                             9653 N HIGHGATE CIRCLE                                                                          INDIANAPOLIS      IN    46250‐3112
BARBARA ANN BURTT                              30 ESSEX CIR                                                                                    HUDSON            OH    44236‐1649
BARBARA ANN COX                                733 E 192ND ST                                                                                  GLENWOOD          IL    60425
BARBARA ANN CRAWFORD                           PO BOX 7757                                                                                     ALBUQUERQUE       NM    87194‐7757
BARBARA ANN DAVIS                              2628 DUNBAR RD                                                                                  CROSSVILLE        TN    38555‐6635
BARBARA ANN DENLINGER                          3355 ANNABELLE DR                                                                               KETTERING         OH    45429‐4203
BARBARA ANN DUBISKY & GARY L DUBISKY JT TEN    11061 ASPEN LANE WEST                                                                           CLIO              MI    48420‐2406
BARBARA ANN EDENS                              1711 CAMELLIA LN                                                                                SCHAUMBURG        IL    60173‐2004
BARBARA ANN ERVIN                              6881 CATLETT ROAD                                                                               SAINT AUGUSTINE   FL    32095‐8305
BARBARA ANN ERVING                             550 S JEFFERSON ST                     APT 206                                                  MUNCIE            IN    47305‐2438
BARBARA ANN EVANS                              2490 SW 32ND ST                                                                                 FT LAUDERDALE     FL    33312
BARBARA ANN EWELL                              4 LACASSE DRIVE                                                                                 MILTON            VT    05468‐3788
BARBARA ANN FIEBEL                             4936 NOTTINGHAM LANE                                                                            BIRMINGHAM        AL    35223‐1620
BARBARA ANN FISHER                             5473 WEST E AVE                                                                                 KALAMAZOO         MI    49009‐9040
BARBARA ANN FITZGERALD CUST LAURA ANN          11 HEATHWOOD AVE                                                                                JACKSON           NJ    08527‐4226
FITZGERALD UGMA NY
BARBARA ANN FOSTER                             3937 PROMONTORY CT                                                                              BOULDER           CO    80304‐1055
BARBARA ANN GALLAGHER                          24647 ZIMMER RD                                                                                 GUILFORD          IN    47022‐9732
BARBARA ANN GROEBNER                           6196 27TH STREET N                                                                              OAKDALE           MN    55128‐3510
BARBARA ANN HACZELA                            250 HILLSIDE RD                                                                                 NORTH ANDOVER     MA    01845‐5929
BARBARA ANN HARNEDY                            7419 HEARTHSTONE WAY                                                                            INDIANAPOLIS      IN    46227‐7988
BARBARA ANN HEYER & ELSBETH C HEYER JT TEN     5501 HANCOCK ROAD                                                                               FORT LAUDERDALE   FL    33330‐3001

BARBARA ANN HOOD                               12 WINBURN DRIVE                                                                                NEW CASTLE        DE    19720‐3722
BARBARA ANN HOUTSMA                            ATTN BARBARA RUTLER                    124 HIGHVIEW DRIVE                                       CLIFTON           NJ    07013‐3322
BARBARA ANN HULL                               13807 OLD PAINT TRAIL                                                                           SCOTTSDALE        AZ    85262‐5715
BARBARA ANN JACKSON                            5850 COLEMAN RD                                                                                 EAST LANSING      MI    48823‐9762
BARBARA ANN JONES                              113 FARMHOUSE DR                                                                                AUDUBON           PA    19403‐1743
BARBARA ANN JONES                              742 PINE RIDGE DR                                                                               FOREST PARK       GA    30297‐4035
BARBARA ANN KAISER                             7798 ASBURY HILLS DR                                                                            CINCINNATI        OH    45255‐4352
BARBARA ANN KLOOZE                             540 LN 890 SNOW LK                                                                              FREMONT           IN    46737‐9046
                                             09-50026-mg                     Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                           Part 1 of 8 Pg 306 of 850
Name                                               Address1                                 Address2                     Address3   Address4          City              State Zip

BARBARA ANN KRUPA                                  40849 BRIGHTSIDE CT                                                                                STERLING HTS      MI    48310‐6954
BARBARA ANN LA BEAU                                52887 BURGESS DR                                                                                   CHESTERFIELD      MI    48047
BARBARA ANN LA BEAU & KENNETH CARL LA BEAU JT      52887 BURGESS DR                                                                                   CHESTERFIELD      MI    48047
TEN
BARBARA ANN LAVIGNE & FREDRIC HALEY LAVIGNE JT     6646 RUSTIC RIDGE TRAIL                                                                            GRAND BLANC       MI    48439‐4953
TEN
BARBARA ANN LEWIS                                  11454 LONG TATE RD                                                                                 ELKINS            AR    72727‐3520
BARBARA ANN LEWIS                                  465 SOUTH MARKET                                                                                   SELINSGROVE       PA    17870‐1817
BARBARA ANN LEWIS & GORDON E LEWIS JT TEN          4160 DAWN LANE                                                                                     ORCHARD LAKE      MI    48323‐1708
BARBARA ANN LINDLEY                                89 GATES AVE                                                                                       GILLETTE          NJ    07933‐1403
BARBARA ANN LUCZUN                                 27 MCKENZIE AVE                                                                                    E RUTHERFORD      NJ    07073‐1606
BARBARA ANN MICHALSEN                              1028 WHITEBICK DR                                                                                  SAN JOSE          CA    95129‐3049
BARBARA ANN MILOSVICH                              438 NORTH COLORADO STREET                                                                          HOBART            IN    46342‐2150
BARBARA ANN MOUNTAIN                               1833 KING ST                                                                                       SIDNEY            NE    69162‐1431
BARBARA ANN NOVAK                                  5255 SCENERY DR                                                                                    PITTSBURGH        PA    15236‐2332
BARBARA ANN NOVORR                                 3346 W 138TH TERR                                                                                  LEAWOOD           KS    66224‐4592
BARBARA ANN O'CONNOR                               716 SELBORNE                                                                                       RIVERSIDE         IL    60546‐1759
BARBARA ANN ODONNELL                               12 WOODCLIFF DR                                                                                    MADISON           NJ    07940‐2006
BARBARA ANN PAIGE                                  3331 BROADMOOR BLVD                                                                                SAN BERNARDINO    CA    92404‐2403
BARBARA ANN PECK                                   13250 E CENTER AVE                                                                                 AURORA            CO    80012‐3514
BARBARA ANN PEGRUM                                 50 BIRCH DR                                                                                        WEST SAND LAKE    NY    12196‐1701
BARBARA ANN PIKE                                   4477 OLD CARRIAGE RD                                                                               FLINT             MI    48507‐5619
BARBARA ANN PORZADEK                               19946 IMPERIAL HWY                                                                                 REDFORD           MI    48240‐1051
BARBARA ANN PRENDERGAST                            1110 NORTH HAYES AVENUE                                                                            OAK PARK          IL    60302‐1106
BARBARA ANN PUGNER                                 18 FOX RUN                                                                                         JAMESBURG         NJ    08831‐1909
BARBARA ANN QUINN                                  PO BOX 38                                                                                          LITCHFIELD PARK   AZ    85340‐0038
BARBARA ANN RAYDER & ANNA E CONNOR JT TEN          2401 WILBRAHAM ROAD                                                                                SPRINGFIELD       MA    01129‐1853
BARBARA ANN REED                                   PO BOX 4376                                                                                        HUACHUCA CITY     AZ    85616‐0376
BARBARA ANN RIGGS                                  608 GOLF CLUB ROAD                                                                                 ANDERSON          IN    46011‐1725
BARBARA ANN ROGERS                                 2415 CALLE MONTILLA                                                                                SANTA BARBARA     CA    93109‐1139
BARBARA ANN S WINTER & GARY A WINTER JT TEN        PO BOX 7114                                                                                        JACKSON           WY    83002‐7114

BARBARA ANN SHERWOOD                               507 NW BRIARCLIFF RD                                                                               KANSAS CITY       MO    64116‐1617
BARBARA ANN SHIELDS                                PO BOX 44892                                                                                       MIDDLETOWN        OH    45044‐0892
BARBARA ANN SHIVLEY                                PO BOX 1445                              0138 RIVERSIDE CT #C                                      AVON              CO    81620‐1445
BARBARA ANN SLOVISKY                               6554 WAGNER COURT                                                                                  EAST LANSING      MI    48823‐9406
BARBARA ANN TUCKER                                 40 BRIGHTON RD                                                                                     WORCESTER         MA    01606‐2129
BARBARA ANN WALLACE & ANNE L KNIGHT JT TEN         11537 HODSON WHITE ROAD                                                                            DAMES QUARTER     MD    21821‐1145
BARBARA ANN WATSON                                 2003 MYRTLE AVE                                                                                    JACKSONVILLE      FL    32209‐5630
BARBARA ANN WICKER                                 PO BOX 54887                                                                                       HURST             TX    76054‐4887
BARBARA ANNE BARABASZ                              8909 ROBIN DR                                                                                      DES PLAINES       IL    60016‐5412
BARBARA ANNE JOUETT                                3489 FOOTHILL RD                                                                                   SANTA BARBARA     CA    93105‐1902
BARBARA ANNE MOORE CUST KAREN LYNN MOORE           2095 SHAG BARK LANE                                                                                OKEMOS            MI    48864‐3625
UGMA MI
BARBARA ANNE ROCHE                                 13533 OTTOMAN STREET                                                                               ARLETA           CA     91331‐6311
BARBARA ANNE SEUBERT                               24 TREMONT ST                                                                                      GARDEN CITY      NY     11530‐6540
BARBARA APPLEQUIST                                 PO BOX 267                               4207 HERNER COUNTY LINE RD                                SOUTHINGTON      OH     44470‐9562
BARBARA ARLENE SZIRTES CUST ELLIOT DAVID SZIRTES   29244 VALLEY BEND COURT                                                                            FARMINGTON HILLS MI     48331‐2458
UGMA MI
BARBARA ARNBURG                                    81 THIRD STREET                          BOWMANVILLE ONTARIO CA                  L1C 2G5 CANADA
BARBARA ASHTON CERMAK                              3007 OAKWOOD ST                                                                                    ERIE              PA    16508‐1230
BARBARA ATARIS                                     1624 E UNION AVE                                                                                   FULLERTON         CA    92831‐2936
BARBARA ATKIN & CHARLES R ATKIN JT TEN             10427 MULLIGAN CT                                                                                  TAMPA             FL    33647‐1890
BARBARA ATKINS BROOKS                              290 BYRDS MILL RD                                                                                  GLADE HILL        VA    24092‐3535
BARBARA AUTREY                                     1868 BASSETT                                                                                       DETROIT           MI    48217‐1647
BARBARA AVERY                                      133 SOMERSHIRE DR                                                                                  ROCHESTER         NY    14617‐5643
BARBARA AYES CUST JARED AYES UGMA PA               16 LLANBERRIES ROAD                                                                                BALA CYNWYD       PA    19004‐2403
BARBARA AYES CUST LESLEE AYES UGMA PA              16 LLANBERRIES ROAD                                                                                BALA CYNWYD       PA    19004‐2403
BARBARA AYES CUST LYLE AYES UGMA PA                104 BROWNING RD                                                                                    SHORT HILLS       NJ    07078‐1143
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 307 of 850
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

BARBARA B ANKRUM                                 101 E CLEVELAND ST                                                                           ALEXANDRIA       IN    46001‐1022
BARBARA B BROOKER                                3002 LANDSEND LN                                                                             LIVERPOOL        NY    13090‐1439
BARBARA B CHURCH                                 247 HARRIS CHAPEL ROAD                                                                       ESTILL SPRINGS   TN    37330‐3640
BARBARA B COPPLE                                 1218 CHERRY AVE                                                                              SAN JOSE         CA    95125‐3719
BARBARA B DIORIO                                 313 COLONIAL DR                                                                              TOMS RIVER       NJ    08753‐4211
BARBARA B EICHOLZ TR BARBARA B EICHOLZ LIVING    425 SPRING ST                                                                                SANTA CRUZ       CA    95060‐2042
TRUST UA 11/20/92
BARBARA B FAY & CYNTHIA SUE FAY JT TEN           6812 WEST COURT                                                                              CLARKSTON        MI    48346‐1588
BARBARA B FAY & LLOYD BYRNS FAY JT TEN           6812 WEST COURT                                                                              CLARKSTON        MI    48346‐1588
BARBARA B FORD                                   638 BISSONETTE RD                                                                            OSCODA           MI    48750‐9011
BARBARA B GREGG & ROBERT W GREGG JT TEN          3601 DUNDEE DR                                                                               CHEVY CHASE      MD    20815‐4738
BARBARA B HAEUSSLER                              217 BOOTH ST APT 421                                                                         GAITHERSBURG     MD    20878‐5485
BARBARA B HAMMERER                               14 ALFRED AVE                       VILONE VILLAGE                                           WILMINGTON       DE    19805‐2028
BARBARA B HARRIS                                 6700 MANCHESTER BEACH RD                                                                     FAIRVIEW         PA    16415‐1636
BARBARA B HART                                   610 HIGHLAND DR                                                                              W MEMPHIS        AR    72301‐2510
BARBARA B HORVATH                                928 BALSAM STREET                                                                            BAREFOOT BAY     FL    32976‐7378
BARBARA B HUNTT                                  1705 CEDAR AVE                                                                               SHADY SIDE       MD    20764‐9758
BARBARA B JAVARAS TR BARBARA B JAVARAS           1555 N ASTOR STREET #47W                                                                     CHICAGO          IL    60610‐5789
REVOCABLE TRUST UA 06/02/06
BARBARA B JOHNSON                                461 PLANTATION DR                                                                            TITUSVILLE       FL    32780‐2572
BARBARA B JONES                                  33 BEACON HILL DR                                                                            CHESTER          NJ    07930‐3013
BARBARA B KELLEY                                 551 FERRY RD                                                                                 ORANGE           CT    06477‐2504
BARBARA B KEOUGH                                 15055 KELVIN AVE                                                                             PHILADELPHIA     PA    19116‐1340
BARBARA B KIMPLAND CUST CYNTHIA B KIMPLAND       1A BROCK LN                                                                                  HACKETTSTOWN     NJ    07840‐5681
UGMA NJ
BARBARA B KIMPLAND CUST ROBERT E KIMPLAND        2 BEEKMEER PL                                                                                FLANDERS         NJ    07836‐9534
UGMA NJ
BARBARA B LITTLEWOOD                             1922 S PRAIRIE WINDS DR                                                                      URBANA           IL    61802
BARBARA B MASON                                  718 SOUTH LONELL                                                                             CHATTANOOGA      TN    37412‐2942
BARBARA B MC COY                                 108 HEDGES LANE                     PO BOX 324                                               SAGAPONACK       NY    11962‐0324
BARBARA B MILLER                                 2702 W GARRISON AVE                                                                          BALTIMORE        MD    21215‐5333
BARBARA B MONROE                                 PO BOX 4165                                                                                  BROOKHAVEN       MS    39603‐6165
BARBARA B NELSON                                 BOX 506                                                                                      E ORLEANS        MA    02643‐0506
BARBARA B PAWLAK                                 909 WEST LAGUNA DR                                                                           TEMPE            AZ    85282‐4780
BARBARA B POWELL                                 7512 MARMION LN                                                                              KING GEORGE      VA    22485‐7302
BARBARA B PUTNAM                                 PO BOX 641                                                                                   PINE PLAINS      NY    12567‐0641
BARBARA B RAETZEL CUST MICHAEL THOMAS RAETZEL 5520 LAKESHORE RD                                                                               FORT GRATIOT     MI    48059‐2813
UGMA MI
BARBARA B RAMSEY                                 164 WEST 79TH ST #1B                                                                         NEW YORK         NY    10024‐6440
BARBARA B REED                                   4401 KINSMAN ROAD                   PO BOX 172                                               MESOPOTAMIA      OH    44439‐0172
BARBARA B SALOMON                                651 ROCKHILL AVE                                                                             DAYTON           OH    45429‐3441
BARBARA B SHIPPER                                1626 MILFORD STREET                                                                          HOUSTON          TX    77006‐6028
BARBARA B SMITH                                  6 REGINA ROAD                                                                                PORTSMOUTH       NH    03801‐5711
BARBARA B SNYDER                                 304 HIGH ST                                                                                  VICTOR           NY    14564‐1166
BARBARA B TOCCO                                  439 FIFTH AVE EXT                                                                            FRANKFORT        NY    13340‐3412
BARBARA B TOWNSEND                               118 CUMBERLAND AVE                                                                           SHIPPENSBURG     PA    17257‐1604
BARBARA B WILLIAMS                               391 SAN JOSE                                                                                 WINTER HAVEN     FL    33884‐1740
BARBARA B WILLIAMS                               2002 EDWARD LANE                                                                             JACKSON          MS    39213‐4439
BARBARA B YAKUB                                  5113 WHITE RIVER ST                                                                          GREENWOOD        IN    46143‐8959
BARBARA B ZORN & WILLIAM H ZORN JT TEN           636 WYNDCLIFT CIRCLE                                                                         YOUNGSTOWN       OH    44515‐4367
BARBARA BACKE LAVIGNE & FREDRIC HALEY LAVIGNE JT 6646 RUSTIC RIDGE TRAIL                                                                      GRAND BLANC      MI    48439‐4953
TEN
BARBARA BACON                                    5 SAXONY DRIVE                                                                               CINNAMINSON      NJ    08077‐4389
BARBARA BANTA ZAMEN                              8405 SILVER RIDGE DR                                                                         AUSTIN           TX    78759‐8140
BARBARA BATTISTA                                 1257 EAST 2 ST                                                                               ASHTABULA        OH    44004‐3756
BARBARA BAXTER                                   216 WOORI YALLOCK ROAD              COCKATOO VICTORIA                      3781 AUSTRALIA
BARBARA BECK REYNOLDS                            75 RIDGEFIELD DR                                                                             EAST GREENWICH   RI    02818‐3034
BARBARA BEHLKE                                   5686 BROADVIEW RD APT 2122                                                                   PARMA            OH    44134
BARBARA BELL GESKE                               10241 CLAIR DR                                                                               SUN CITY         AZ    85351
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 308 of 850
Name                                             Address1                                Address2               Address3        Address4          City              State Zip

BARBARA BELLER CUST JAMIE ALLISON BELLER UGMA CA 157 N CARMELINA AVE                                                                              LOS ANGELES       CA    90049‐2723

BARBARA BELLINSON BICKEL                         5045 LAURELGROVE AVE                                                                             NORTH             CA    91607‐3037
                                                                                                                                                  HOLLYWOOD
BARBARA BENNET THOMAS                            690 HANOVER                                                                                      YORKTOWN          NY    10598‐5939
BARBARA BENNETT CURTIS CUST ANDREA L CURTIS      3217 TATES CREEK RD                                                                              LEXINGTON         KY    40502‐3405
UGMA CA
BARBARA BERGER & CHRISTOPHER LOVELAND JT TEN     4022 SYKESVILLE ROAD                                                                             FINKSBURG         MD    21048‐2619

BARBARA BERKEY                                   335 BONDS PKWY                                                                                   BEREA             OH    44017‐1273
BARBARA BERNS                                    10702 HORLEY AVE                                                                                 DOWNEY            CA    90241‐2108
BARBARA BERUTTI & VICTOR BERUTTI JT TEN          400 HILLTOP CIR                                                                                  GLENMORE          PA    19343‐8923
BARBARA BETH KANTOR                              345 W 30TH ST                           APT 6D                                                   NEW YORK          NY    10001‐2778
BARBARA BIDEAU                                   1746 FRIENDSHIP CIRCLE                                                                           HATFIELD          PA    19440‐3344
BARBARA BISHOP MANN                              2417 FALKIRK DRIVE                                                                               RICHMOND          VA    23236‐1648
BARBARA BLACKSHERE & TIMOTHY J BLACKSHERE JT     253 CLIFTON NE                                                                                   WARREN            OH    44484‐1805
TEN
BARBARA BLAKE MC ADAMS                           RT 1 BOX 176                                                                                     NEW MARTINSVILLE WV     26155‐9720

BARBARA BLAZZARD                                 719 WALNUT WAY                                                                                   MODESTO           CA    95351‐3037
BARBARA BLESSING‐KUCERA                          432 LUISA LANE                                                                                   SANTA FE          NM    87505‐4016
BARBARA BLOCK                                    187‐B HERITAGE VILLAGE                                                                           SOUTHBURY         CT    06488‐1441
BARBARA BLOOM & STEVEN BLOOM JT TEN              800 PONUS RIDGE RD                                                                               NEW CANAAN        CT    06840‐3414
BARBARA BLOSSOM WEIMER                           240 LAKESHORE DR                                                                                 HILTON            NY    14468‐9530
BARBARA BOEHMER                                  6035 COACHSHIRE CT                                                                               CENTERVILLE       OH    45459‐2221
BARBARA BOROWIAK & PATRICIA R BOROWIAK JT TEN    5152 S MORRISH RD APT 73                                                                         SWARTZ CREEK      MI    48473

BARBARA BOSTIC                                   6020 GOSHEN ROAD                                                                                 GOSHEN            OH    45122‐9449
BARBARA BRAND STOCKARD                           1514 COLONEL DR                                                                                  GARLAND           TX    75043‐1219
BARBARA BRIDGEWATER                              4837 E 43RD STREET                                                                               KANSAS CITY       MO    64130‐2215
BARBARA BRINK GULLEY                             ATTN CHAPMAN                            106 E 85TH ST APT 2N                                     NEW YORK          NY    10028‐0982
BARBARA BROWN MEYERS                             5105 STONEY BRIDGE CT                                                                            MINNETONKA        MN    55345‐4200
BARBARA BROZIC                                   178 BRUSH RD                                                                                     CLEVELAND         OH    44143‐1128
BARBARA BRUCE KENT                               1503 FOULKEWAYS                         # 3R                                                     GWYNEDD           PA    19436‐1016
BARBARA BURG CUST TRENT C BURG UTMA KS           5717 W 98TH PL                                                                                   SHAWNEE MISSION   KS    66207‐2963

BARBARA C ALDERETE                               2628 HENLEY DR                                                                                   ROUND ROCK        TX    78681‐2228
BARBARA C ALLMAN                                 2208 CHAMBERLIN AVE                                                                              DAYTON            OH    45406‐2503
BARBARA C ALMY                                   3056 N STODDARD AVE                                                                              SAN BERNARDINO    CA    92405‐2630
BARBARA C BASSETT                                6261 NELL CIRCLE                                                                                 ROANOKE           VA    24019‐5413
BARBARA C BATES                                  4060 FM1940                                                                                      FRANKLIN          TX    77856‐4157
BARBARA C BLACKSHERE                             253 CLIFTON NE                                                                                   WARREN            OH    44484‐1805
BARBARA C BLAIS                                  206 E CHIPPENS HILL RD                                                                           BURLINGTON        CT    06013‐2116
BARBARA C BOHL                                   426 EDEN BAY DR                                                                                  NAPLES            FL    34110‐7036
BARBARA C BOWEN                                  3692 E 200 SOUTH                                                                                 ANDERSON          IN    46017‐9726
BARBARA C BUFFINGTON                             28 BODDINGTON COURT                                                                              ASHVILLE          NC    28803
BARBARA C CHILDERS                               6954 WEST 400 SOUTH                                                                              ANDERSON          IN    46011‐9403
BARBARA C COE                                    6725 REGAL BLUFF                                                                                 DALLAS            TX    75248‐5433
BARBARA C CONN                                   410 DEAN DR CEDARCROFT                                                                           KENNETT SQUARE    PA    19348
BARBARA C COPARE & HARRY E COPARE JT TEN         3700 N CAPITOL NW ST                    APT 194                                                  WASHINGTON        DC    20011‐8400
BARBARA C CROSBY EX EST LOUISE M CROSBY          215 10TH AVE S                          UNIT 208                                                 MINNEAPOLIS       MN    55415‐1749
BARBARA C DE SMET                                1808 SUNSET DRIVE                                                                                BETTENDORF        IA    52722‐6046
BARBARA C DEAN & KELI ANNE DEAN KIMBALL JT TEN   2437 EAST MAYWOOD DRIVE                                                                          SALT LAKE CITY    UT    84109‐1611

BARBARA C DEAN & MARK S DEAN JT TEN              2437 MAYWOOD DR                                                                                  SALT LAKE CTY     UT    84109‐1611
BARBARA C ESKILSON                               108 WHIPPANY RD                                                                                  BARNEGAT          NJ    08005‐2807
BARBARA C FARMER                                 506 HICKORY GLEN                                                                                 WOODSTOCK         GA    30188‐1922
BARBARA C FITZSIMMONS                            ATTN BARBARA C MURPHY                   519 SHALISA BLVD                                         AUBURNDALE        FL    33823‐9668
BARBARA C FITZSIMMONS                            ATTN BARBARA C MURPHY                   519 SHALISA BLVD                                         AUBURNDALE        FL    33823‐9668
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 309 of 850
Name                                            Address1                              Address2             Address3          Address4          City           State Zip

BARBARA C FIX                                   550 BUFFALO TRAIL CIRCLE                                                                       INDINAPLOLIS   IN    46227‐2871
BARBARA C FRANKLIN                              25036 HEATHER LANE                                                                             RICHMOND       OH    44143‐1739
                                                                                                                                               HEIGHTS
BARBARA C GRAY & DONALD C GRAY TR GRAY FAMILY   31341 SUMMERHILL CT                                                                            COTO DE CAZA   CA    92679‐4163
TRUST UA 08/08/02
BARBARA C HANN                                  55 HIGHLAND RD #608                                                                            BETHEL PARK    PA    15102‐1883
BARBARA C HARRELL                               1199 RANGER RD                                                                                 RAYMOND        MS    39154‐8782
BARBARA C HOLM                                  10735 HAMILTON PASS                                                                            FISHERS        IN    46037‐9493
BARBARA C KANCHOK                               ATTN BARBARA BICKEL                   428 CHAMPION E                                           WARREN         OH    44483‐1505
BARBARA C LAVARNWAY                             1113 N E 6TH                                                                                   MOORE          OK    73160‐6870
BARBARA C MANLEY                                246 NICHOLAS DR                                                                                LANCASTER      MA    01523‐2969
BARBARA C MCMANUS                               PO BOX 6414                                                                                    RICHMOND       VA    23230‐0414
BARBARA C MILLER                                1440 JOSEPH LN                                                                                 HUDSONVILLE    MI    49426‐8714
BARBARA C MILLER & JANET S COWAN JT TEN         15932 PLYMOUTH DR                                                                              CLINTON TWP    MI    48038‐1050
BARBARA C MORGAN & JIM MORGAN JT TEN            2108 TARA HILL DR                                                                              KNOXVILLE      TN    37919‐8942
BARBARA C NIES                                  108 SCOTLAND RD                                                                                MADISON        CT    06443‐3312
BARBARA C PORTER                                1205 E THIRD ST                                                                                SUPERIOR       WI    54880‐3377
BARBARA C SANDBERG CUST ROBERT C SANDBERG JR    BARBARA C SANDBERG INTERIOR           4919 RYLAND AVENUE                                       TEMPLE CITY    CA    91780‐4036
UGMA CA
BARBARA C SCAMMELL                              6 BALLYHEAN COURT                                                                              LUTHERVILLE    MD    21093‐1813
BARBARA C SLY                                   58 HEATH VILLAGE                                                                               HACKETTSTOWN   NJ    07840‐4032
BARBARA C TESTER & WILLIAM M TESTER JT TEN      186 E MAGNOLIA AVE                                                                             MAYWOOD        NJ    07607‐1944
BARBARA C TREMBLAY                              259 FEARRINGTON POST                                                                           PITTSBORO      NC    27312‐8556
BARBARA C URBAN                                 PO BOX 730                                                                                     UNIONTOWN      OH    44685‐0730
BARBARA C WHITE                                 5728 WEST 250 SOUTH                                                                            ANDERSON       IN    46011‐9437
BARBARA C ZAPPITELLI                            651 WRIGHT AVE                                                                                 CONNEAUT       OH    44030‐1666
BARBARA CALABRESE                               237 MAHOPAC AVE                                                                                YORKTOWN       NY    10598‐6301
                                                                                                                                               HEIGHTS
BARBARA CALLAHAN                                3720 MOGADORE RD                                                                               MAGADORE       OH    44260‐1167
BARBARA CAMMARATA                               347 LAKE ARBOR DR                                                                              LAKE WORTH     FL    33461‐2155
BARBARA CANTLON                                 3760 ST CLAIR RD                                                                               FALLON         NV    89406‐9237
BARBARA CAROL HESS                              5005 11TH ST SOUTH                                                                             ARLINGTON      VA    22204‐3212
BARBARA CAROL MARCUM                            281 DAN'S BRANCH RD                                                                            WILLIAMSON     WV    25661‐9667
BARBARA CAROLYN WIGGANS                         RD 2 BOX 211                                                                                   LOCKE          NY    13092‐9802
BARBARA CARPENTER CARLTON & LYNN F CARLTON JT   173 NELSON RD                                                                                  SCARSDALE      NY    10583‐5822
TEN
BARBARA CARPENTER PAGE                          200 MARKET ST APT 601                                                                          LOWELL         MA    01852‐1844
BARBARA CARSWELL                                5600 TIMBERLANE CIR                                                                            PALM BEACH     FL    33418‐3889
BARBARA CATHERINE WARREN                        2207 AVENUE D SW                                                                               WINTER HAVEN   FL    33880‐2548
BARBARA CATTERSON                               W1658 SAND RD                                                                                  GRANTON        WI    54436‐8022
BARBARA CAVALIER                                451/2 WEST BROAD ST                                                                            HOPEWELL       NJ    08525
BARBARA CHAPIN CUST SCOTT B CHAPIN UTMA CA      2123 RODNEY DR APT 309                                                                         LOS ANGELES    CA    90027‐6501

BARBARA CHARGO                                  136 LEEDS                                                                                      WALLED LAKE    MI    48390‐3639
BARBARA CHARGO & MARTIN CHARGO JT TEN           136 LEEDS                                                                                      WALLED LAKE    MI    48390‐3639
BARBARA CHARNS                                  1701 TUDOR DRIVE                                                                               ANN ARBOR      MI    48103
BARBARA CHARNS                                  1701 TUDOR DRIVE                                                                               ANN ARBOR      MI    48103
BARBARA CHASE                                   369 SANDERS RD                                                                                 BUFFALO        NY    14216‐1420
BARBARA CISCO                                   99 E WOODLAND AVE                                                                              COLUMBIANA     OH    44408‐1516
BARBARA CLARK                                   26153 FLORENCE                                                                                 INKSTER        MI    48141‐2629
BARBARA CLAYMAN                                 2008 PLEASANT VIEW                                                                             ASHTABULA      OH    44004‐9718
BARBARA CLELAND                                 1062 WHITMAN DR                                                                                EAST LANSING   MI    48823‐2450
BARBARA CLEVELAND BARKLEY                       8431 DAYCOACH LANE                                                                             HOUSTON        TX    77064‐8104
BARBARA COLLEEN LOZIER                          7712 TURTLE CREEK RD                                                                           FLORENCE       IN    47020‐9601
BARBARA COLLETTE SMITH & KATHRINE COLLETTE      4839 HART DR                                                                                   SAN DIEGO      CA    92116‐2334
KROHN JT TEN
BARBARA COLLINS                                 928 SPRING DRIVE                                                                               LUGOFF         SC    29078‐9117
BARBARA COLLINS CUST AARON J COLLINS UGMA NY    60‐01 D 194TH ST                                                                               FLUSHING       NY    11365
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 310 of 850
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

BARBARA COLLINS CUST ETHAN T COLLINS UGMA NY    60‐01 D 194TH ST                                                                              FLUSHING        NY    11365

BARBARA CONCANNON & CAROLYN CONCANNON TR        29 ADELHAIDE LN                                                                               EAST ISLIP      NY    11730‐2201
BCD TRUST UA 02/19/98
BARBARA CONGER                                  424 PENINSULA DR                                                                              SHELBYVILLE     IN    46176‐2999
BARBARA CONLEY EX UW THURMAN CONLEY             377 DEEP CREEK CIR                                                                            NORTHFIELD      OH    44067‐5005
BARBARA CONNER CORRADI & VINCENZO CORRADI JT    130 ANDREW LANE                                                                               LANSDALE        PA    19446‐1419
TEN
BARBARA CONSTABLE                               1707 PULLIAM ST                                                                               RICHMOND        VA    23235‐2973
BARBARA COPPOLA                                 27 PARKVIEW DRIVE                                                                             SUCCASUNNA      NJ    07876‐1072
BARBARA COSTELLO                                979 HOODS MILL RD                                                                             COOKSVILLE      MD    21723
BARBARA COWDEROY                                239 ROSEMONT AVE                                                                              PASADENA        CA    91103‐3551
BARBARA CRONKRIGHT & TRUMAN CRONKRIGHT &        14229 N STATE RD                                                                              OTISVILLE       MI    48463‐9712
JEAN ANN WHITNEY JT TEN
BARBARA CRONKRIGHT & TRUMAN CRONKRIGHT &        14229 N STATE RD                                                                              OTISVILLE       MI    48463‐9712
ROSE MARIE CONAWAY JT TEN
BARBARA CRUICKSHANK & DUANE A CRUICKSHANK JT    4302 N CHAPMAN ST                                                                             SHAWNEE         OK    74804‐1255
TEN
BARBARA CRUMBLY                                 22052 KARL ST                                                                                 DETROIT         MI    48219‐2361
BARBARA CZERNESKI                               4860 BELL OAK RD                                                                              WEBBERVILLE     MI    48892‐9754
BARBARA D AKINS                                 4841 WOODRIDGE DR                                                                             AUSTINTOWN      OH    44515‐4830
BARBARA D BAINTON TR BARBARA D BAINTON          19 LAKE ST                           PO BOX 434                                               WOLFEBORO       NH    03894‐0434
REVOCABLE TRUSTUA 09/01/99
BARBARA D BELVEAL                               C/O BARBARA D BAKER                  10780 REMINGTON CT                                       INDEPENDENCE    KY    41051‐8195
BARBARA D BETTS                                 6361 PELICAN BAY BLVD P#2                                                                     NAPLES          FL    34108‐8197
BARBARA D BRAUN                                 2908 PEASE                                                                                    SANDUSKY        OH    44870‐5927
BARBARA D CHARD                                 13584 EAST EVANS AVE                                                                          AURORA          CO    80014‐4317
BARBARA D COVINGTON                             SUITE 1200                           100 PARK AVENUE                                          OKLAHOMA CITY   OK    73102‐8004
BARBARA D CUTHBERT                              87 HILLTOP ROAD                                                                               ROCHESTER       NY    14616‐2834
BARBARA D DEHAVEN & CLAYTON C DEHAVEN JT TEN    4305 FAIRWAY DR                                                                               NORTH PORT      FL    34287‐6108

BARBARA D FLANAGAN                              308 E BARTON AVE                                                                              GREENWOOD       MS    38930‐2309
BARBARA D FRITZ                                 PO BOX 63                                                                                     CHESTERFIELD    IN    46017‐0063
BARBARA D GARRETT                               STONEVALE                            86 ROCKTOWN ROAD                                         RINGOES         NJ    08551‐1211
BARBARA D GROSS                                 1220 WALNUT VALLEY LANE                                                                       CENTERVILLE     OH    45458‐9683
BARBARA D HANSON                                BOX 1260                                                                                      GLEN            NH    03838‐1260
BARBARA D HIGLE & GEORGE HIGLE JT TEN           100 INNISBROOK CIRCLE                                                                         DAYTONA BEACH   FL    32114‐1141
BARBARA D HOVANIC                               130 WELLAND ROAD                     FONTHILL ON                            L0S 1E4 CANADA
BARBARA D JONES                                 4648 S VERSAILLES                                                                             DALLAS          TX    75209‐6018
BARBARA D KEENEY                                419 SOUTHWICK RD                     APT F25                                                  WESTFIELD       MA    01085‐4765
BARBARA D LEE                                   225 PAWNEE DRIVE                                                                              ORMOND BEACH    FL    32174‐5817
BARBARA D LOPEZ                                 R F D 2 BOX 261                                                                               PLYMOUTH        NH    03264‐9424
BARBARA D LUCHT                                 BOX 403                                                                                       EAST MARION     NY    11939‐0403
BARBARA D MARCHBANKS                            BOX 64                                                                                        SWARTZ          LA    71281‐0064
BARBARA D MCCALL                                PO BOX 112                                                                                    CORTLAND        OH    44410‐0112
BARBARA D NEELY                                 9077 E EMERALD DR                                                                             EFFINGHAM       IL    62401‐7675
BARBARA D PIEPER                                823 S ROXMERE ROAD                                                                            TAMPA           FL    33609
BARBARA D ROBERTSON                             2134 GARDENA ST                                                                               STOCKTON        CA    95204
BARBARA D ROSEBERRY                             646 KENNY LANE                                                                                BROOKHAVEN      PA    19015‐1423
BARBARA D SCHARMEN                              3081 BULL RUN                                                                                 HOWELL          MI    48843‐9641
BARBARA D SCHMALER & MAXINE M SCHMALER JT TEN   9433 BEECHER RD                                                                               FLUSHING        MI    48433‐9769

BARBARA D SIMPSON CUST SARAH M RADNEY UTMA VA 901 VIGINIA AVE                                                                                 COPPERAS COVE   TX    76522‐3139

BARBARA D SLAYTON                               620 N 25TH ST                                                                                 ELWOOD          IN    46036‐1327
BARBARA D SLEAN                                 5300 SHREWSBURY                                                                               TROY            MI    48085‐3242
BARBARA D SPEICHER                              3260 BRAEMAR RD                                                                               SHAKER HTS      OH    44120‐3330
BARBARA D STONE                                 530 SHEEP RD                                                                                  NEW LEBANON     OH    45345‐9220
BARBARA D STOUT                                 357 COOLIDGE AVE                                                                              BAYVILLE        NJ    08721‐2903
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 1 of 8 Pg 311 of 850
Name                                               Address1                             Address2              Address3           Address4          City             State Zip

BARBARA D SWEAT                                    775 SHOCCO SPGS RD                                                                              TALLADEGA        AL    35160‐5841
BARBARA D TOTH                                     172 MARTINDALE ROAD                  UNIT 3                ST CATHERINES ON   L2S 4C8 CANADA
BARBARA D WARZALA                                  157 HUNTINGTON DR N W B                                                                         WARREN           OH    44481‐9137
BARBARA D YAUCH                                    16106 WORLINGTON PLACEL                                                                         ODESSA           FL    33556‐5702
BARBARA D YOUNGBERG                                1106 NORTH 11TH                                                                                 FARGO            ND    58102
BARBARA D'AMATO & SCOTT D'AMATO JT TEN             14 SOVEREIGN WAY                                                                                FT PIERCE        FL    34949‐8365
BARBARA DAIDONE CUST ANDREW DAIDONE UTMA NJ        207 VALLEY COURT                                                                                HAWORTH          NJ    07641‐1215

BARBARA DALE MCLAM                               GOSHEN RD                                                                                         BRADFORD         VT    05033
BARBARA DALTON                                   8175N CR 100W                                                                                     SPRINGPORT       IN    47386‐9753
BARBARA DANIEL WILCOX                            420 OLD OMEN RD A                      APT 1318                                                   TYLER            TX    75707
BARBARA DANIELS                                  G‐23308 CHARTER OAKS                                                                              DAVISON          MI    48423‐3333
BARBARA DANNBAUER                                1 TRENTON ST                                                                                      MELROSE          MA    02176‐4412
BARBARA DANNER                                   4160 WASHINGTON BLVD                                                                              INDIANAPOLIS     IN    46205‐2617
BARBARA DARLING POSTON                           279 NO 13TH ST                                                                                    MIDDLETOWN       IN    47356‐1101
BARBARA DAVIS TR UA 09/25/90 BARBARA DAVIS TRUST 5700 BALTIMORE DR APT 4                                                                           LA MESA          CA    91942‐1615

BARBARA DEAN                                       HC 81 BOX 339                                                                                   MATEWAN          WV    25678‐9716
BARBARA DEFAZIO                                    68 DUXBURY RD                                                                                   ROCHESTER        NY    14626‐2543
BARBARA DEMOPOLIS                                  31518 CARMODY                                                                                   WARREN           MI    48092‐1390
BARBARA DENISE CAMMANN & FRED W CAMMANN JT         3516 SCHEID ROAD                                                                                HURON            OH    44839
TEN
BARBARA DENNEHY RACICOT                            109 ROBIN CIR                                                                                   TOLLAND          CT    06084‐2905
BARBARA DIAMOND                                    201 E 66TH ST #6K                                                                               NEW YORK         NY    10021‐6455
BARBARA DIECKMANN                                  29W041 BLAIR ST                                                                                 WEST CHICAGO     IL    60185
BARBARA DODGE GORMAN                               3 BANEBERRY LANE                                                                                WETHERSFIELD     CT    06109‐3510
BARBARA DOREMUS                                    ATTN B SEEDMAN                       250 BRADLEY PL #408                                        PALM BEACH       FL    33480‐3754
BARBARA DRAGO                                      9 KENMORE ROAD                                                                                  MELROSE          MA    02176‐2017
BARBARA DRAGO CUST ROBYN T DRAGO UGMA MA           9 KENMORE RD                                                                                    MELROSE          MA    02176‐2017

BARBARA DRUMHELLER                                 18203 BARROW KNOLL LANE                                                                         PURCEVILLE      VA     20132
BARBARA DUDICH                                     1011 KNOLLCREST                                                                                 DANVILLE        IL     61832‐2027
BARBARA DUNBAR KIMREY                              5412 NORTH 23RD                                                                                 ARLINGTON       VA     22205‐3143
BARBARA DUNHAM                                                                                                                                     KNOWLESVILLE    NY     14479
BARBARA E ACEY                                     15657 VIEW DR                                                                                   SPRING LAKE     MI     49456‐1868
BARBARA E BAKER                                    PO BOX 624                                                                                      COLUMBIA        CA     95310
BARBARA E BATES                                    1432 NORIDGE TRL                                                                                PORT WASHINGTON WI     53074‐1371

BARBARA E BATES‐NELSON                             1432 NORIDGE TRL                                                                                PORT WASHINGTON WI     53074‐1371

BARBARA E BURROWS                                  1612 LLOYD DR                                                                                   MIDWEST CITY     OK    73130‐1521
BARBARA E CALVARESE                                8 MATTHEWS ROAD                                                                                 NEWARK           DE    19713‐2556
BARBARA E CHAPPELL                                 3801 WALDON RD                                                                                  LAKE ORION       MI    48360‐1631
BARBARA E CLARK                                    3319 S COUNTY ROAD 825 E                                                                        FILLMORE         IN    46128‐9460
BARBARA E CONSTANTINO                              24276 LEXINGTON AVE                                                                             EASTPOINTE       MI    48021‐1304
BARBARA E COOPER                                   11725 NW 1ST CT                                                                                 CORAL SPRINGS    FL    33071‐8067
BARBARA E CROSS                                    1045 SCHMIDLIN                                                                                  OREGON           OH    43616‐3405
BARBARA E CUNNINGHAM                               13933 GARFIELD                                                                                  REDFORD          MI    48239‐2832
BARBARA E DELORENZO                                1025‐29 OLD STATE RD                                                                            BINGHAMTON       NY    13904‐3006
BARBARA E DEMPKOWSKI                               6061 ARDMORE PARK ST                                                                            DEARBORN HTS     MI    48127‐3927
BARBARA E DI SIMONE                                32 WAKEFIELD DR                                                                                 NEWARK           DE    19711‐7012
BARBARA E DONLEY                                   67 APONI CRESCENT                    LONDON ON                                N5V 2V3 CANADA
BARBARA E DOVE                                     9561 UTE POINT                                                                                  CLARKSTON        MI    48346‐1758
BARBARA E FELS                                     PO BOX 925                                                                                      HACKETTSTOWN     NJ    07840‐0925
BARBARA E FORRESTER                                6124 PORTSMOUTH DRIVE                                                                           FLOUREY BRANCH   GA    30542‐5335
BARBARA E FORRESTER & ARGEL B FORRESTER JT TEN     6124 PORTSMOUTH DRIVE                                                                           FLOUREY BRANCH   GA    30542‐5335

BARBARA E FRITZSCHE & HERBERT J FRITZSCHE JT TEN   168 GOVERNOR MARKHAM DR                                                                         GLEN MILLS       PA    19342‐1033
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 312 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

BARBARA E GIBSON                                 29906 DIXIE AVE                                                                                 RANDOLPH         MN    55065‐9501
BARBARA E GOLDTHORPE                             6 LADYSLIPPER CT                       THORNHILL ON                           L3T 2S4 CANADA
BARBARA E GOLDTHROPE                             6 LADYSLIPPER CT                       THORNHILL ON                           L3T 2S4 CANADA
BARBARA E GRAHAM                                 13782 CYNTHEANNE RD                                                                             NOBLESVILLE      IN    46060‐9491
BARBARA E GRAY                                   2706 UNICORN LANE NW                                                                            WASHINGTON       DC    20015‐2234
BARBARA E GROSS                                  708 E MILL ST                                                                                   HASTINGS         MI    49058‐1541
BARBARA E GRYDER TR UA 09/22/89 BARBARA E        1 LINSWOOD                                                                                      MONROE           MI    48162‐3171
GRYDER TRUST
BARBARA E HANLON                                 11 RIVERVIEW LANE                                                                               HO HO KUS        NJ    07423‐1205
BARBARA E HANLON TR UW JOHN BALDOVIN F‐B‐O       11 RIVERVIEW LANE                                                                               HO HO KUS        NJ    07423‐1205
JOHN FRANCIS BALDOVIN
BARBARA E HILL                                   5026 NW WOODSIDE DR                                                                             RIVERSIDE        MO    64150‐3641
BARBARA E HILTERMAN                              1817 PIEDMONT DR                                                                                AUBURN           AL    36830‐2580
BARBARA E HOLLIMAN                               2205 MARS AVE                                                                                   LAKEWOOD         OH    44107‐5844
BARBARA E HUDSON                                 1518 BELL AVENUE                                                                                SACRAMENTO       CA    95838‐2808
BARBARA E JANKOWER                               2902 ANN ARBOR                                                                                  HOUSTON          TX    77063‐4702
BARBARA E JIANNINEY                              2509 RED LION RD                                                                                BEAR             DE    19701‐2421
BARBARA E JOHNSON                                4119 KNOXVILLE AVE                                                                              LAKEWOOD         CA    90713‐3221
BARBARA E KEAS                                   BOX 94                                                                                          HARMONSBURG      PA    16422‐0094
BARBARA E KILDOW                                 410 EAST MONROE                                                                                 ALEXANDRIA       IN    46001‐1406
BARBARA E KIRCHNER                               11918 WINDING WOODS WAY                                                                         BRADENTON        FL    34202‐2867
BARBARA E KROL                                   929 C WINDFIELD PLACE                                                                           APPLETON         WI    54911‐1582
BARBARA E LAIS BEAVER                            16 UP‐A‐WAY DR                                                                                  SUSSEX           NJ    07461
BARBARA E LANGNER                                4823 STEARNS                                                                                    SHAWNEE          KS    66203‐1174
BARBARA E LENSKI                                 620 WILLOW LANE                                                                                 GENEVA           IL    60134‐1053
BARBARA E LITTLETON                              #2228 OLD ORCHARD ROAD                                                                          WILMINGTON       DE    19810‐4111
BARBARA E MAHLAU                                 2 AMAWALK COURT                                                                                 OSSINING         NY    10562‐4509
BARBARA E MARKS                                  PO BOX 896                                                                                      CHAPPAQUA        NY    10514‐0896
BARBARA E MARQUEZ                                3100 HYDE ST                                                                                    OAKLAND          CA    94601‐1921
BARBARA E MCKEE TR LIVING TRUST 10/30/91 U‐A     37217 EDITH STREET                                                                              NEWARK           CA    94560‐3205
BARBARA E MCKEE
BARBARA E MILLER                                 1527 N CLAREMONT DR                                                                             JANESVILLE       WI    53545‐1350
BARBARA E MOORE & RONALD L MOORE JR JT TEN       PO BOX 174                                                                                      KAWKAWLIN        MI    48631‐0174
BARBARA E NEVADOMSKI                             128 HARWOOD RD                                                                                  SPENCERPORT      NY    14559‐2136
BARBARA E NIELSON                                12121 CRAWFORD RD                                                                               OTISVILLE        MI    48463‐9730
BARBARA E PARKER                                 3726 N LAKESIDE DR                                                                              MUNCIE           IN    47304‐5266
BARBARA E POSTELNICK                             1055 HOFFMAN                                                                                    PETOSKEY         MI    49770‐3240
BARBARA E QUICK                                  1995 E 75 N                                                                                     LEBANON          IN    46052‐8120
BARBARA E RYERSON TR RYERSON FAM TRUST UA        4747 E SILVERLEAF AVE                                                                           ORANGE           CA    92869‐3017
09/28/99
BARBARA E SEKOWSKI                               1911 BERKSHIRE EVE DR                                                                           DULUTH           GA    30097‐6296
BARBARA E SEXTON                                 28 W WINDS DR                                                                                   ST PETERS        MO    63376‐1141
BARBARA E SIEBOLD                                PO BOX 464                                                                                      NEDERLAND        CO    80466‐0464
BARBARA E SKUBISH & DONALD J SKUBISH JT TEN      1323 MORELAND DR                                                                                CLEARWATER       FL    33764‐2924
BARBARA E TATE                                   2650 SCHAAF DR                                                                                  COLUMBUS         OH    43209‐3210
BARBARA E TAYLOR                                 306 OHERAY AVE                                                                                  HIGH POINT       NC    27262
BARBARA E TEIKE                                  4360 NORTH RD 725 W                                                                             BARGERSVILLE     IN    46106‐9573
BARBARA E TIEDEMANN‐MACE                         57 EVERGREEN LANE                                                                               LEVITTOWN        PA    19054‐3209
BARBARA E TRISSEL                                42 SELWYN RD                                                                                    BELMONT          MA    02478‐3556
BARBARA E WAINER                                 56 CASTLETON DRIVE                                                                              UPPER MARLBORO   MD    20774‐1439

BARBARA E WALDON                                 1104 SOUTHWAY BLVD E                                                                            KOKOMO           IN    46902‐4360
BARBARA E WHITCOMB                               345 LEAR RD                            APT 115                                                  AVON LAKE        OH    44012‐2097
BARBARA E WHITE & LLOYD C WHITE JT TEN           3493 WINDY KNOLL LN                                                                             CARMEL           IN    46032
BARBARA E WILSON                                 4719 OLLIE CHUNN RD                                                                             SPRING HILL      TN    37174‐2247
BARBARA E YOUNG                                  9312 CORUNNA RD                                                                                 SWARTZ CREEK     MI    48473‐9731
BARBARA E ZIENTARA                               1608 SELKIRK RD                                                                                 DAYTON           OH    45432‐3514
BARBARA EARLE NORTH                              2621 EVERGREEN DR                                                                               PORT ARTHUR      TX    77642‐2535
BARBARA EBERLE                                   243 SCOTT LAKE ROAD                                                                             SALEM            NY    12865‐9525
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 313 of 850
Name                                               Address1                              Address2                Address3       Address4          City              State Zip

BARBARA EBLE TR BARBARA EBLE TRUST UA 02/16/98     25806 BARBARA ST                                                                               ROSEVILLE         MI    48066‐3868

BARBARA EGHAN                                      16 CLAIRE CT                                                                                   OLD BRIDGE        NJ    08857‐3806
BARBARA ELAINE BAILEY                              2135 MAYFAIR WAY                      LOT 73                                                   TITUSVILLE        FL    32796‐2090
BARBARA ELAINE ELGGREN WILLIAMS                    708 DUSTY CREEK AVE                                                                            SANDY             UT    84094‐5322
BARBARA ELIZABETH PAINTER                          480 ACADEMY HILL ROAD                                                                          RED HOOK          NY    12571
BARBARA ELLEN HARMS                                824 COLE ST #2                                                                                 SAN FRANCISCO     CA    94117‐3908
BARBARA ELLEN NEWKIRK                              886 ST ANDREWS DRIVE                                                                           AVON              IN    46123
BARBARA ELLISON                                    C/O BARBARA BURGIO                    3629 WOODHAVEN CIRCLE                                    HAMBURG           NY    14075‐2261
BARBARA EMERSON                                    1724 OSBAND ST                                                                                 LANSING           MI    48910‐1441
BARBARA ENOCH                                      2240 SALT SPRINGS RD                                                                           WARREN            OH    44481‐9766
BARBARA ENSLEY                                     166 CHURCHILL LANE                                                                             TURTLE CREEK      PA    15145‐1004
BARBARA ERWIN METZGER                              105 ROBINALL DR                                                                                EASLEY            SC    29642‐1353
BARBARA ETHEL BRYANT                               2502 C S WALTER REED DR                                                                        ARLINGTON         VA    22206‐1259
BARBARA EVANS                                      PO BOX 743                                                                                     RIDGELY           MD    21660‐0743
BARBARA F BACKSTROM                                712 RICHMOND AVE                                                                               SILVER SPRING     MD    20910‐5224
BARBARA F BARTLEY & GLENN E BARTLEY JT TEN         5080 HICKORY POINTE DR                                                                         ORCHARD LAKE      MI    48323‐1520
BARBARA F BROMFIELD                                1130 OLD CLUBHOUSE RD                                                                          VIRGINIA BEACH    VA    23456‐3012
BARBARA F CALLAHAN                                 17 EATON ROAD                                                                                  AMHERST           NH    03031‐3307
BARBARA F CHAMPEL                                  33439 VARGO DRIVE                                                                              LIVONIA           MI    48152‐3125
BARBARA F COBB                                     6027 BROOKFIELD ROAD                                                                           RICHMOND          VA    23227
BARBARA F CORDIER                                  2740 BRAHMS BLVD                                                                               WEST CARROLLTON   OH    45449‐3205

BARBARA F DUFF                                     8708 TARRYTOWN DR                                                                              RICHMOND          VA    23229‐7134
BARBARA F FIFE                                     928 SODOM HUTCHINGS RD                                                                         VIENNA            OH    44473‐9625
BARBARA F FITZGERALD                               261 ELM ROAD                                                                                   MASTIC BEACH      NY    11951‐5319
BARBARA F FORTENER                                 11888 ELMGROVE CIR                                                                             CINCINNATI        OH    45240‐1524
BARBARA F HILL                                     1037 SHAKESPEARE AVENUE                                                                        DAYTON            OH    45407‐1653
BARBARA F HOPKINS                                  9540 E LIVE OAK                                                                                TEMPLE CITY       CA    91780‐2513
BARBARA F KANNEGIESER                              145 RAFKIND RD                                                                                 BLOOMINGDALE      NJ    07403‐1517
BARBARA F LILL                                     5 FELLS MANOR RD                                                                               CALDWELL          NJ    07006‐6126
BARBARA F MAZANY & SHIRLEY SMITH JT TEN            5558 BULL RUN                                                                                  GREGORY           MI    48137‐9525
BARBARA F MEYER                                    1413 HAMPSHIRE PL                                                                              NASHVILLE         TN    37221
BARBARA F PAPROCKI                                 1301 S PALMETTO AVE                                                                            DAYTONA BEACH     FL    32114‐6125
BARBARA F PARIS                                    5672 GLADE VIEW DRIVE                                                                          MEMPHIS           TN    38120‐2258
BARBARA F PARTLOW & EDDIE A PARTLOW JT TEN         4941 LAKERIDGE DR                                                                              OLD HICKORY       TN    37138
BARBARA F RODMAN                                   169 NEW RD                            PO BOX 166                                               TOLLAND           CT    06084‐0166
BARBARA F STONE                                    108 RAILROAD AVE                      BOX 395                                                  PEDRICKTOWN       NJ    08067‐3525
BARBARA F WHITE                                    1711 ESTUDILLO AVE                                                                             SAN LEANDRO       CA    94577‐3917
BARBARA F WHITE & H LESLIE WHITE JT TEN            TURK HILL RD                                                                                   BREWSTER          NY    10509
BARBARA F WILKINS                                  69 N ONTARIO ST                       BOX 224                                                  LA CARNE          OH    43439‐0224
BARBARA F WISHAK                                   736 NEW YORK AVE                                                                               MCDONALD          OH    44437‐1828
BARBARA F WOLCOTT & PHILIP W WOLCOTT TR            25571 SALTWATER                                                                                DANA PT           CA    92629‐1509
WOLCOTT FAM TRUST UA 05/31/95
BARBARA FAGA                                       147 THE PRADO NE                                                                               ATLANTA           GA    30309‐3327
BARBARA FEFFERMAN CUST BRADLEY FEFFERMAN           19367 BLUE LAKE LOOP                                                                           BEND              OR    97702‐1923
UGMA CA
BARBARA FEKETE                                     14001 HERITAGE ST                                                                              RIVERVIEW         MI    48193
BARBARA FELDMAN CUST ANDREW FELDMAN UTMA IL        PO BOX 2416                                                                                    EDWARDS           CO    81632‐2416

BARBARA FELDMAN CUST ERIC FELDMAN UTMA IL          PO BOX 2416                                                                                    EDWARDS           CO    81632‐2416
BARBARA FEYS POERSTEL                              19375 CYPRESS RIDGE TERRACE 311                                                                LANSDOWNE         VA    20176‐5184
BARBARA FICNER                                     4544 S ALBANY                                                                                  CHICAGO           IL    60632‐2532
BARBARA FINLEY                                     2255 PIPING ROCK                                                                               RENO              NV    89502‐9718
BARBARA FISHER                                     5515 HIGHWAY 70 W                                                                              NEWHOPE           AR    71959
BARBARA FITZPATRICK CUST CRISTY BETH FITZPATRICK   10 KENNEDY LANE                                                                                WEST ISLIP        NY    11795‐5110
UGMA NY
BARBARA FITZPATRICK CUST KEVIN MICHAEL             10 KENNEDY LANE                                                                                WEST ISLIP        NY    11795‐5110
FITZPATRICK UGMA NY
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                    Part 1 of 8 Pg 314 of 850
Name                                            Address1                             Address2                         Address3   Address4          City              State Zip

BARBARA FLEMING & SUZANNE M FLEMING JT TEN      211 E WINTHROPE RD                                                                                 KANSAS CITY       MO    64113

BARBARA FLESHMAN                               330 LITTLE SATILLA DRIVE                                                                            SCREVEN           GA    31560‐9449
BARBARA FORD                                   42 SYCAMORE AVE                                                                                     MILL VALLEY       CA    94941‐2720
BARBARA FORD & BARRY K FORD JT TEN             42 SYCAMORE AVENUE                                                                                  MILL VALLEY       CA    94941‐2720
BARBARA FOSTER EGGLESTON                       9512 HOLLIDAY CIR                                                                                   INDIANAPOLIS      IN    46260‐1411
BARBARA FRAKER SCHULZ                          790 30TH ST                                                                                         SPRINGFIELD       OR    97478‐5807
BARBARA FRANCES SCHMITT                        PO BOX 534                                                                                          CHAUTAUQUA        NY    14722‐0534
BARBARA FRIEDMAN                               6785 BERRYHILL COURT                                                                                FORESTVILLE       CA    95436‐9780
BARBARA FRIEDMAN CUST CAROLINE FRIEDMAN UGMA 14 KINGSFORD ROAD                                                                                     HANOVER           NH    03755‐2210
NY
BARBARA FRIEDMAN CUST DAVID B FRIEDMAN UGMA ALTMAN GREENFIELD & SELVAGGI             11766 WILSHIRE BLVD SUITE 1610                                LOS ANGELES       CA    90025‐6565
NY
BARBARA FUSCO                                  3409 BENT WILLOW                                                                                    YOUNGSTOWN        OH    44511
BARBARA G AMOS                                 16117 SALEM RD                                                                                      EXCLSOR SPRGS     MO    64024
BARBARA G B LILLICH                            225 N DICKINSON SCHOOL RD                                                                           CARLISLE          PA    17013‐9154
BARBARA G BALLERINI TR THE BALLERINI FAMILY    POBOX 2689                                                                                          VISTA             CA    92085‐2689
RESIDUAL TRUST UA 08/22/77
BARBARA G BANKS                                13533 RUTHERFORD                                                                                    DETROIT           MI    48227‐1731
BARBARA G CLARKE                               611 RT 517                                                                                          SUSSEX            NJ    07461‐4826
BARBARA G DELINSKY & STEPHEN R DELINSKY JT TEN 19 PHEASANT LANDING RD                                                                              NEEDHAM           MA    02492‐1000

BARBARA G ELLIS                                 2466 CALVERT ST                                                                                    DETROIT           MI    48206‐1534
BARBARA G GODFREY                               BOX 303                                                                                            CAMERON           NC    28326‐0303
BARBARA G HAWKINS                               315 STONY POINT RD                                                                                 KINGS MOUNTAIN    NC    28086‐8563

BARBARA G HIGBY & PAUL K HIGBY JT TEN           324 CHAGEE LANE                                                                                    BREVARD           NC    28712‐9429
BARBARA G HOLLAND TR UA 08/14/92 HOLLAND FAMILY 1917 LAKE CREST DR                                                                                 BELLINGHAM        WA    98229‐4510
TRUST
BARBARA G HORN TR LISA MARIE HORN TRUST UA      47 SHAWNEE RD                                                                                      HOPATCONG         NJ    07843‐1454
07/14/98
BARBARA G HORN TR MICHAEL ANDREW HORN TRUST 47 SHAWNEE RD                                                                                          HOPATCONG         NJ    07843‐1454
UA 07/14/98
BARBARA G HUGHES                                2345 MINTON ROAD                                                                                   HAMILTON          OH    45013‐4331
BARBARA G JOHNSON                               10923 HOLLY TERR                                                                                   HAGERSTOWN        MD    21740‐7804
BARBARA G KELLEY                                204 RIVER VIEW TRL                                                                                 ROSWELL           GA    30075‐4867
BARBARA G LONG                                  7219 CORAL LAKE DRIVE                                                                              FLOWERY BR        GA    30542
BARBARA G MINTON                                36 MAPLE AVE                                                                                       KATONAH           NY    10536‐3721
BARBARA G OCONNELL                              1 HELENE CIRCLE                                                                                    HIGHLAND MILLS    NY    10930‐2808
BARBARA G PARNES                                1205 TYNECASTLE WAY NE                                                                             ATLANTA           GA    30350‐3517
BARBARA G PERRY                                 120 RHODE ISLAND                                                                                   HIGHLAND PK       MI    48203‐3359
BARBARA G ROESSLER                              5121 PINECREST AVENUE                                                                              YOUNGSTOWN        OH    44515‐3947
BARBARA G SEELIG                                34‐29 80TH STREET                                                                                  JACKSON HEIGHTS   NY    11372‐2705

BARBARA G THOMAS                                1857 ROSSER LANE                                                                                   WINCHESTER        VA    22601‐6353
BARBARA G TROJAN                                550 HIGHVIEW AVE                                                                                   PEARL RIVER       NY    10965‐1229
BARBARA G TURPIN                                457 DOGWOOD ROAD                                                                                   CANDLER           NC    28715‐8414
BARBARA G WALKER                                1115 FISHER PARK ST                                                                                BROOKHAVEN        MS    39601‐8143
BARBARA G WYNN                                  8219 LAKEVIEW TERR                                                                                 RIVERDALE         GA    30274‐4113
BARBARA GAGE                                    PO BOX 213                                                                                         COLUMBIA          KY    42728‐0213
BARBARA GAIL HAYES & GARY STEVEN HAYES JT TEN   28096 HUGHES                                                                                       ST CLAIR SHORES   MI    48081‐1424

BARBARA GARFIEN                                 PO BOX 827                                                                                         NICASIO           CA    94946‐0827
BARBARA GAYDOS                                  78 HERMANN ST                                                                                      WEST CARTERET     NJ    07008‐1357
BARBARA GELLER                                  323 COBBLESTONE DR                                                                                 MAYFIELD HTS      OH    44143‐3688
BARBARA GERARO KLUZ                             2356 S 58TH ST                                                                                     WEST ALLIS        WI    53219‐2110
BARBARA GIANCASPRO                              65 WILLIAM ST                                                                                      NORWOLK           CT    06851‐6022
BARBARA GIANNASI                                209 E PARK                                                                                         LAKE FOREST       IL    60045‐1338
BARBARA GIFFORD                                 220 GARDEN LN                                                                                      DECATUR           GA    30030‐2376
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 315 of 850
Name                                           Address1                               Address2             Address3          Address4          City            State Zip

BARBARA GIUCA                                  15 DANBURY CT                                                                                   RED BANK        NJ    07701‐5427
BARBARA GLASS                                  1804 DAKIN CHAPEL RD                                                                            SABINA          OH    45169
BARBARA GLAZER & BRADFORD ALAN GLAZER JT TEN   9200 FLORAL AVE                                                                                 CINCINNATI      OH    45242‐6954

BARBARA GLEICHER                               66 MIDWOOD                                                                                      ROSLYN          NY    11576
BARBARA GLUCK                                  19 COOPER BEECH LANE                                                                            LAWRENCE        NY    11559‐2605
BARBARA GOFF                                   130 TRACEY DR                                                                                   VERNON          CT    06066‐4125
BARBARA GOLDBERGER                             7 DERBY DR                                                                                      PEEKSKILL       NY    10566‐2560
BARBARA GOLSER                                 39‐26 58 ST                                                                                     WOODSIDE        NY    11377‐3352
BARBARA GONOS TOD DAVID GONOS                  49 DELAWARE AVE                                                                                 W LONG BRANCH   NJ    07764
BARBARA GONZALEZ & PASQUALE GONZALEZ JT TEN    2023 SAINT LUCIE BLVD                  LOT 250                                                  FORT PIERCE     FL    34946‐8726

BARBARA GOODNOUGH                              C/O BARBARA G ANSLEY                   44 SPRUCE STREET                                         JAMESTOWN       NY    14701‐3108
BARBARA GOODWIN MOTTA                          7427 GARLAND                                                                                    ARVADO          CO    80005‐4169
BARBARA GOTLIB                                 215 LEICESTER ST                                                                                PORT CHESTER    NY    10573‐2645
BARBARA GRAFF & BERNARD GRAFF JT TEN           12 JAY AVE                                                                                      BRIDGETON       NJ    08302‐3828
BARBARA GRAY                                   4971 PLEASANT AVE                      LOT 67                                                   FAIRFIELD       OH    45014‐2598
BARBARA GREEN                                  609 BALSAM TER                                                                                  WILMINGTON      DE    19804
BARBARA GREENHILL                              120 CROTON AVE                                                                                  OSSINING        NY    10562‐4204
BARBARA GUNSHER                                139 BRIGHT AVE                                                                                  CHEEKTOWAGA     NY    14206‐2610
BARBARA H BAKER                                215 HEMLOCK LN                                                                                  ABERDEEN        MD    21001
BARBARA H BLUME                                118 GLENEAGLE DR                                                                                CENTERVILLE     MA    02632‐2319
BARBARA H COLE                                 91 4 MILE VLG                                                                                   BOXFORD         MA    01921‐1631
BARBARA H DARBEE                               4005 HUCKLEBERRY DR                                                                             RALEIGH         NC    27612‐3617
BARBARA H DELLERMAN                            3933 WHITECLIFF WAY                                                                             ERLANGER        KY    41018‐3871
BARBARA H EPHESSIOS                            215 E 64TH ST APT 6F                                                                            NEW YORK        NY    10065
BARBARA H FAHEY                                406 LAUREL BLVD                                                                                 LANOKA HARBOR   NJ    08734‐2624
BARBARA H GILSTRAP                             103 WEST EDGEFIELD DR                                                                           SUMMERVILLE     SC    29483‐4411
BARBARA H GREAVES                              47 TURNER STREET                                                                                NORFOLK         MA    02056‐1012
BARBARA H HANAHAN TR BARBARA H HANAHAN TRUST PO BOX 478                                                                                        WALLOON LAKE    MI    49796‐0478
UA 04/26/85
BARBARA H KOMENAK                              6939 BERRY BLOSSOM DRIVE                                                                        CANFIELD        OH    44406‐8503
BARBARA H LARIVEY                              ATTN BARBARA L SIMPSON                 2505 BAKER ROAD                                          HOUSTON         TX    77094‐3124
BARBARA H LOEB & AL M LOEB TR UA 01/18/85 LOEB 4348 RAND LANE                                                                                  SACRAMENTO      CA    95864‐5323
DECLARATION OF TRUST
BARBARA H OSMAN                                29721 FRANKLIN ROOSEVELT LN                                                                     MILLSBORO       DE    19966‐8236
BARBARA H PEIRCE                               2501 NUTMEG AVE                                                                                 MORRO BAY       CA    93442‐1735
BARBARA H PHELPS                               135 WILLOW RD                                                                                   ELMHURST        IL    60126‐2937
BARBARA H REID                                 1158 HEDGEWOOD LN                                                                               NISKAYUNA       NY    12309‐4603
BARBARA H REYNOLDS                             12095 WHITCOMB                                                                                  DETROIT         MI    48227‐2075
BARBARA H REYNOLDS                             G3155 BEECH TREE LANE                                                                           FLUSHING        MI    48433
BARBARA H ROBINSON                             ATTN BARBARA H ENRIGHT                 19 MELISSA CIR                                           GRIFFIN         GA    30224‐7952
BARBARA H ROTHSCHILD & ELAINE I CHRISTOPHER JT 1053 APPLE CREEK LN                                                                             DES PLAINES     IL    60016
TEN
BARBARA H SMOLOWITZ                            12009 CEDAR CREEK DR                                                                            PEARLAND        TX    77584
BARBARA H TATEM                                32 ROBIN HOOD WAY                                                                               WAYNE           NJ    07470‐5477
BARBARA H TEETER                               5025 WOODMIRE                                                                                   SHELBY TWP      MI    48316‐2363
BARBARA H TOWN                                 5100 SHARON RD                         UNIT 126B                                                CHARLOTTE       NC    28210‐4881
BARBARA H VEGHTE                               BOX 101                                                                                         PIERMONT        NH    03779‐0101
BARBARA H WEISER & JACK WEISER TR UA 11/03/93  22905 ROYAL CROWN TERR                                                                          BOCA RATON      FL    33433‐6260
WEISER REVOCABLE TRUST
BARBARA H WILLIAMS                             770 STONEBRIDGE RD                                                                              MILTON          VT    05468‐4460
BARBARA H WOJTOWICZ                            315 S FRANKLIN                                                                                  FRANKENMUTH     MI    48734‐1529
BARBARA H WYLIE                                4029 KINGSGATE PL                      APT B                                                    CHARLOTTE       NC    28211‐5581
BARBARA HALEY                                  G 5068 ROBERTS DR                                                                               FLINT           MI    48506
BARBARA HALFMAN                                693 STATE ROUTE 14                                                                              PENN YAN        NY    14527
BARBARA HAMM                                   722 W MAIN ST                                                                                   WEATHERLY       PA    18255‐1029
BARBARA HANSEN                                 912 RAYMERE AVENUE                                                                              OCEAN TWP       NJ    07712‐4112
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                       Part 1 of 8 Pg 316 of 850
Name                                              Address1                              Address2                  Address3         Address4          City            State Zip

BARBARA HARRIS THOMPSON CUST MARY JANE            1621 PEMBROKE LN                                                                                   MCKINNEY        TX    75070‐4279
THOMAS UGMA IL
BARBARA HART TR LEE B HART 2003 TRUST UA 01/12/04 9 HEARDS OVERLOOK CT                                                                               ATLANTA         GA    30328‐4757

BARBARA HAWTHORNE ADM EST JEANETTE PEARSON        36 BLUFF RIDGE COURT                                                                               GREENSBORO      NC    27455‐2298

BARBARA HEFFNER VANTINE                           235 WOODLAND DR                                                                                    KENMORE         NY    14223‐1640
BARBARA HEIL                                      3505 LENNOX VIEW CT #103                                                                           LOUISVILLE      KY    40299‐7310
BARBARA HEITNER                                   1 WOOLEYS LANE APT 1Q                                                                              GREAT NECK      NY    11023‐2108
BARBARA HELEN SLATER                              7815 HUNTERS RIDGE DRIVE                                                                           WESTCHESTER     OH    45069‐2036
BARBARA HELLMAN                                   37 WEST 72ND ST APT 1D                                                                             NEW YORK        NY    10023‐3412
BARBARA HERING LIEU & JEAN M CAMPBELL & RUTH A    PO BOX 32                                                                                          MENLO           GA    30731‐0032
HERING JT TEN
BARBARA HERRING SHUMATE                           209 BENNETT STREET                                                                                 AUBURNDALE      FL    33823‐3518
BARBARA HICKS                                     235 ANTHONY WAYNE TERRACE                                                                          BADEN           PA    15005‐2003
BARBARA HILLMAN DIAMOND                           7465 OLIVETAS AVE                     APT 207                                                      LA JOLLA        CA    92037‐4936
BARBARA HIX CARSON                                8212 BUCKEYE DRIVE                                                                                 RICHMOND        VA    23228‐3204
BARBARA HOCKENBROUGH                              21 W EUREKA                                                                                        LEMONT          IL    60439‐3938
BARBARA HODGKINS CHELSEA                          CP 200                                PIETRASANTA LUCCA                          55045 ITALY
BARBARA HOFFMANN                                  RESIDENCE BELLARIA                    BRUNAUSTRASSE 21          CH‐8002 ZURICH   SWITZERLAND
BARBARA HOLCOMB                                   1539 SCHUMACHER DR                                                                                 BOLINGBROOK     IL    60490
BARBARA HOLMES                                    2610 NORTH LIBERTY STREET                                                                          VISALIA         CA    93292‐7644
BARBARA HOOVER KENNEDY                            382 MARGARET DRIVE                                                                                 CRESENT         PA    15046‐4924
BARBARA HORSEY                                    10194 OLD KENT LANE                                                                                CLARKSTON       MI    48348‐1612
BARBARA HOYLER                                    301 LYNN AVE                                                                                       AMES            IA    50014‐7148
BARBARA HOYT MILLER CUST ELIZABETH ANN MILLER     5 GALLOPING HILL RD                                                                                MONTAGUE        NJ    07827‐3204
UGMA NJ
BARBARA HOYT MILLER CUST PETER F MILLER UGMA NJ   15427 LIMESTONE RD                                                                                 NORTHPORT       AL    35475‐3942

BARBARA HUESTIS ARMSTRONG                        158 WENONAH RD                                                                                      LONGMEADOW      MA    01106‐1931
BARBARA HUNTER                                   474 HAWTHORNE TERR                                                                                  STROUDSBURG     PA    18360‐2904
BARBARA HURST                                    8289 ANDRIA COURT                                                                                   WEST CHESTER    OH    45069‐2642
BARBARA HUTCHINSON TR FRANCES L PHILLIP TRUST UA 8844 RIVER VALLEY ROAD                                                                              BRIGHTON        MI    48116‐8819
9/28/99
BARBARA I HAECK                                  2355 SPRUCE RD                                                                                      EATON RAPIDS    MI    48827‐9320
BARBARA I LEWIS                                  8228 RIVERBOAT DR                                                                                   TAMPA           FL    33637‐6577
BARBARA I NORWOOD                                251 E OHIO ST                          STE 830                                                      INDIANAPOLIS    IN    46204‐2133
BARBARA I NOVAK                                  41467 REDMOND CT                                                                                    CLINTON TWP     MI    48038‐5854
BARBARA I SCHOEN                                 682 ARMAND DR                                                                                       TROY            OH    45373‐2767
BARBARA I SLATER‐BROWN                           1029 THORN STREET                                                                                   RAHWAY          NJ    07065‐4931
BARBARA IRENE CANTY                              4812 TRITON CT #E                                                                                   CAPE CORAL      FL    33904
BARBARA IRENE ERNESTUS                           1201 LUCINDA WAY                                                                                    TUSTIN          CA    92780‐2414
BARBARA IRENE KONTELAS                           1903 PLAINFIELD ROAD UNIT C                                                                         DARIEN          IL    60561‐5084
BARBARA IRVIN                                    3661 AIRPORT BLVD                      APT 311                                                      MOBILE          AL    36608‐1659
BARBARA IRVINE                                   1 BOWNE ST                                                                                          GLEN COVE       NY    11542‐2950
BARBARA J ACKERMAN                               10383 W DODGE RD                                                                                    MONTROSE        MI    48457‐9121
BARBARA J ADELWERTH                              42 EAST POND LANE                                                                                   EASTPORT        NY    11941‐1303
BARBARA J ALVES                                  378 CROWN RIDGE                                                                                     NEW BRAUNFELS   TX    78132
BARBARA J ANDERSON                               143 S 15TH ST                                                                                       SAGINAW         MI    48601‐1845
BARBARA J ANDERSON                               5920 WYNBROOK CT                                                                                    RACINE          WI    53406‐1894
BARBARA J ANDREWS                                3 BELLAIRE CT                                                                                       DENVILLE        NJ    07834‐9648
BARBARA J ANKLAM                                 5733 DUNROVIN                                                                                       SAGINAW         MI    48603‐5408
BARBARA J ARION                                  ATTN BARBARA J STOUGH                  19145 TIPSICO LAKE ROAD                                      FENTON          MI    48430‐8516
BARBARA J ARMBRUSTER                             524 OAKLAND AVE                                                                                     BIRMINGHAM      MI    48009‐5751
BARBARA J ARONHIME                               2511 HARMONY ROAD                                                                                   LOUISVILLE      KY    40299‐2711
BARBARA J ASBURY                                 3477 UNIONTOWN RD                                                                                   WESTMINSTER     MD    21158‐3591
BARBARA J B KATZ                                 PO BOX 818                                                                                          MONTICELLO      NY    12701‐0818
BARBARA J BAILEY                                 5208 HERITAGE VLG                                                                                   SOUTHBURY       CT    06488‐1532
BARBARA J BAILEY                                 10976 E 00 NS                                                                                       GREENTOWN       IN    46936‐9592
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 317 of 850
Name                                               Address1                              Address2              Address3         Address4          City              State Zip

BARBARA J BARD                               562 MELROSE LANE                                                                                     MT MORRIS         MI    48458‐8926
BARBARA J BARRETT                            115 S DRAKE                                                                                          KANSAS CITY       MO    64119
BARBARA J BARTLEY                            602 N HUBBARD AVE                                                                                    MUNFORDVILLE      KY    42765
BARBARA J BATES                              1953 MECKLENBURG HWY                                                                                 MOORESVILLE       NC    28115‐8575
BARBARA J BATISTE MURPHY                     901 E BUNCHE ST                                                                                      DOTHAN            AL    36303‐1846
BARBARA J BEGEL                              5704 WONDERWOODS DRIVE                                                                               WONDER LAKE       IL    60097‐9114
BARBARA J BENNETT                            708 N JAMES ST                                                                                       LUDINGTON         MI    49431
BARBARA J BERRY                              1535 RYAN ST                                                                                         FLINT             MI    48532‐5066
BARBARA J BEVELHIMER                         2938 SE 21ST COURT                                                                                   OKEECHOBEE        FL    34974‐6329
BARBARA J BIRRELL                            11800 PARKWOOD DR                                                                                    CHARDON           OH    44024‐9188
BARBARA J BLOCKER                            7181 WILLIAMS RD                                                                                     LANSING           MI    48911‐3034
BARBARA J BOJARSKI                           ATTN BARBARA J HOOK                         493 SHADOW LAKE BAY                                      ROSELLE           IL    60172‐1209
BARBARA J BOUWMAN & WILLIAM A BOUWMAN JT TEN 4378 BURTON ST SW                                                                                    GRAND RAPIDS      MI    49544‐6671

BARBARA J BOWERS                                   1031 E AVE                                                                                     CAYCE            SC     29033‐3309
BARBARA J BRANA & JOHN BRANA JT TEN                6100 BURGER                                                                                    DEARBORN HEIGHTS MI     48127‐2479

BARBARA J BRANCH                                 16 VERMONT AVENUE                                                                                LOCKPORT          NY    14094‐5730
BARBARA J BRANG                                  MILES AVE EXT                                                                                    FAYETTEVILLE      NY    13066
BARBARA J BROTHERTON                             2891 SOUTHWEST BLVD                                                                              GROVE CITY        OH    43123‐2069
BARBARA J BROWN                                  15141 CHIPPEWA                                                                                   DETROIT           MI    48235‐1658
BARBARA J BROWN                                  500 SEVILLE BLVD                                                                                 PONTIAC           MI    48340
BARBARA J BRUCE & ROBERT J BRUCE TR BRUCE FAMILY 2928 NE TORCH LAKE DR                                                                            CENTRAL LAKE      MI    49622‐9643
TRUST UA 01/31/02
BARBARA J BRUHN‐DING                             5800 ROYAL OAKS DR                                                                               SHOREVIEW         MN    55126
BARBARA J BURNS                                  13855 STRATTON AVE                                                                               SYLMAR            CA    91342‐1823
BARBARA J BURNS                                  6463 LOS ALTOS DR NE                                                                             ROCKFORD          MI    49341‐8106
BARBARA J BURRIS                                 2008 EAST ST                                                                                     TRACY             CA    95376‐2742
BARBARA J BURROUGHS                              319 N 1ST ST                                                                                     CHESANING         MI    48616‐1042
BARBARA J BURTON                                 427 DANIEL DR                                                                                    STEWARTSVILLE     NJ    08886‐3207
BARBARA J BUTCH TOD DIANA BUTCH SUBJECT TO STA PO BOX 85                                                                                          UNIONVILLE        CT    06086
TOD RULES
BARBARA J BUTCH TOD KATIE BUTCH SUBJECT TO STA   PO BOX 85                                                                                        UNIONVILLE        CT    06035
TOD RULES
BARBARA J CALLANDER                              467 TELECOM RD                          PONTYPOOL ONTARIO     L0A 1K           ZZZZ CANADA
BARBARA J CALLIGHAN                              205 E MAPLE ST                                                                                   KALAMAZOO         MI    49001‐2821
BARBARA J CARAMANIAN                             PO BOX 859                                                                                       OWENSVILLE        OH    45160‐0859
BARBARA J CARPENTER                              4021 FOREST HILL AVE                                                                             FLINT             MI    48504‐2246
BARBARA J CARROLL                                2 PELL PLACE                                                                                     PELHAM            NY    10803‐1310
BARBARA J CARROLL & TERRY R CARROLL JT TEN       4536 WEST AVE                                                                                    BURLINGTON        IA    52601‐9465
BARBARA J CARTER                                 3629 N AUDUBON RD                                                                                INDIANAPOLIS      IN    46218‐1833
BARBARA J CASE                                   853 BEACH BUGGY LN                                                                               LINDEN            MI    48451‐9692
BARBARA J CASLER                                 121 S WESTERN AVE                                                                                KOKOMO            IN    46901‐5212
BARBARA J CIKANEK & EDMUND F CIKANEK JT TEN      1585 CHESAPEAKE                                                                                  HOFFMAN ESTATES   IL    60195‐1219

BARBARA J COAPMAN                                  2810 ENCINAL AVE                                                                               ALAMEDA           CA    94501‐4727
BARBARA J COLEMAN                                  1480 PRAIRIE OAKS DR                                                                           SAINT CLOUD       FL    34771‐8875
BARBARA J COLLINS                                  805 ECHO LN                                                                                    KOKOMO            IN    46902‐2600
BARBARA J COLLINS STYCZYNSKI                       248 BAILEY RD APT F                                                                            NAPERVILLE        IL    60565‐1443
BARBARA J COLWELL                                  9050 MCCALL RD                                                                                 GRAND BLANC       MI    48439‐9327
BARBARA J COMINS CUST JODY S COMINS UGMA ME        6 BARRY DRIVE                                                                                  FRAMINGHAM        MA    01702‐6102

BARBARA J CONTE & JOHN E CONTE JT TEN              20 SLAYTONBUSH LANE                                                                            UTICA             NY    13501
BARBARA J COOPER & CLAIRE A COOPER JT TEN          BOX 1442                                                                                       KINGSTON          WA    98346‐1442
BARBARA J CORBIN                                   705 N WEBSTER                                                                                  KOKOMO            IN    46901‐3305
BARBARA J COX                                      4146 ISLAND PARK DR                                                                            WATERFORD         MI    48329‐1913
BARBARA J COX TR BARBARA J COX TRUST UA 01/18/99   1741 TRI COUNTY HIGHWAY                                                                        WILLIAMSBURG      OH    45176‐9208

BARBARA J CROSSNOE                                 2380 E REID RD                                                                                 GRAND BLANC       MI    48439‐8535
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 318 of 850
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

BARBARA J CROWN                                  1621 UPPER IRON BRIDGE RD                                                                        OAKLAND         KY    42159‐9729
BARBARA J DAVIDSON                               71 MOHAWK RD                                                                                     PONTIAC         MI    48341‐1122
BARBARA J DAVIS                                  304 TOURNAMENT TRL                                                                               CORTLAND        OH    44410‐9745
BARBARA J DELOATCH                               849 FRANKLIN SE RD                      APT 1418                                                 MARIETTA        GA    30067‐7951
BARBARA J DEW                                    16110 SUSSEX                                                                                     DETROIT         MI    48235‐3852
BARBARA J DICKIE‐JACKSON                         3800 W OUTER DRIVE                                                                               DETROIT         MI    48221‐1537
BARBARA J DOWELL CUST ROBERT LYMAN DOWELL        774 GREEN HILL RD                                                                                LEXINGTON       VA    24450‐6737
UGMA CT
BARBARA J DUNCAN                                 355 GILMORE RD                                                                                   NEW CASTLE      PA    16102‐3613
BARBARA J DUNLAP                                 4392 PARKTON DRIVE                                                                               WARR HTS        OH    44128‐3512
BARBARA J DUWEL                                  3340 COVE RD                                                                                     TEQUESTA        FL    33469‐2408
BARBARA J EADES & JOHNNY I EADES JT TEN          907 ALEXANDER ST                                                                                 SEDRO WOOLLEY   WA    98284‐1917
BARBARA J EASTHOPE                               39471 CLOVERLEAF ST                                                                              HARRISON        MI    48045
                                                                                                                                                  TOWNSHIP
BARBARA J ENGLISH TR LIVING TRUST OF BARBARA     6470 MOURNING DOVE DR                   UNIT 203                                                 BRADENTON       FL    34210‐4316
ENGLISH UA 11/13/00
BARBARA J ERICKSON                               7137 REFLECTION BAY DR                                                                           FRISCO          TX    75034‐2970
BARBARA J FARMER                                 31730 BAINBROOK CT                                                                               WESTLAKE VLG    CA    91361‐4507
BARBARA J FAW & LARRY A FAW JT TEN               15014 N 64TH AVE                                                                                 GLENDALE        AZ    85306‐3262
BARBARA J FEGAN                                  GREENORE                                DUNDALK CO           LOUTH             IRELAND
BARBARA J FILLMORE & MILLARD E FILLMORE JT TEN   N‐6484 FOREST LAKE RD                                                                            AU TRAIN        MI    49806‐9604

BARBARA J FITZPATRICK                            4058 SUZANNE LANE                                                                                DULUTH           GA   30096‐2544
BARBARA J FLANNERY                               3216 CHANDLER COURT                                                                              KETTERING        OH   45420
BARBARA J FOSCO                                  518 TAYLOR RD                                                                                    SANDUSKY         OH   44870‐8342
BARBARA J FRANZ TR REVOCABLE LIVING TRUST        29250 W 10 MI #61                                                                                FARMINGTON HILLS MI   48336‐2870
10/08/91 U‐A BARBARA J FRANZ
BARBARA J FRENCH                                 1950 ANDOVER DR                                                                                  YPSILANTI       MI    48198‐9411
BARBARA J FUCA                                   4416 CLOVER CREST LANE                                                                           ROCKFORD        IL    61109‐2806
BARBARA J FUGH                                   10565 GODWIN RD                                                                                  ARLINGTON       TN    38002‐9552
BARBARA J FULLER & JOHN I FULLER JT TEN          PO BOX 415                                                                                       WARE            MA    01082‐0415
BARBARA J FULTON                                 2546 S AINGER RD                                                                                 CHARLOTTE       MI    48813‐9570
BARBARA J FUSCO & ALBERT M FUSCO JT TEN          42 B BUCKSKIN LANE                                                                               STRATFORD       CT    06614‐8120
BARBARA J GADSON                                 3465 TILLMAN RD                                                                                  RIDGELAND       SC    29936‐6152
BARBARA J GALE                                   PO BOX 1461                                                                                      ROME            GA    30162‐1461
BARBARA J GALLAGHER                              17218 ASHWOOD DR                                                                                 ORLAND PARK     IL    60467‐6015
BARBARA J GAMBLE                                 435 IRWIN ST                                                                                     PONTIAC         MI    48341‐2954
BARBARA J GAMBLE                                 4016 38TH ST                                                                                     HAMILTON        MI    49419‐9756
BARBARA J GAMSBY                                 RR 2                                    GUELPH ON                              N1H 6H8 CANADA
BARBARA J GARRETT CUST SUZANNE L GARRETT UGMA    12555 HYNE RD                                                                                    BRIGHTON        MI    48114‐9299
MI
BARBARA J GARRINGER & SCOTT GARRINGER JT TEN     1194 E 600 N                                                                                     ALEXANDRIA      IN    46001‐8790

BARBARA J GEISERT                                103 N ORCHARD                                                                                    RIDGE FARM      IL    61870
BARBARA J GIPSON                                 420 E 131ST ST                                                                                   LOS ANGELES     CA    90061‐2726
BARBARA J GLASER TR THE BARBARA J GLASER TRUST   41110 FOX RUN RD #117                                                                            NOVI            MI    48377‐4804
UA 07/15/03
BARBARA J GLAUDE                                 17 SUNSET HILL RD                                                                                SIMSBURY        CT    06070‐3050
BARBARA J GRANT                                  5971 TEAKWOOD DR                                                                                 TROY            MI    48098‐3895
BARBARA J GRAUEL                                 1204 APPALOOSA WAY                                                                               BARTLETT        IL    60103‐1872
BARBARA J GRAY                                   3175 SHERWOOD                                                                                    SAGINAW         MI    48603‐2080
BARBARA J GRAYER                                 3131 S 25 W                                                                                      TRAFALGAR       IN    46181‐9769
BARBARA J GROSS                                  3487 HARVEYSBURG RD                                                                              WAYNESVILLE     OH    45068‐9420
BARBARA J GUNN                                   6815 PRINCESS DR                                                                                 LITTLE ROCK     AR    72205‐5037
BARBARA J HACKER                                 505 ALVINA LN                                                                                    CINCINNATI      OH    45255‐3301
BARBARA J HAILS                                  147 W BRISTOL RD                                                                                 CHURCHVILLE     PA    18966‐1002
BARBARA J HALL                                   8356 OHIO ST                                                                                     DETROIT         MI    48204‐5501
BARBARA J HALL & WILLIAM L HALLJT WROS           4070 GEMSTONE AVE                                                                                KINGMAN         AZ    86401‐7384
BARBARA J HAMMETT                                246 MAPLELAWN SW                                                                                 WYOMING         MI    49548‐3044
                                               09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 319 of 850
Name                                                 Address1                               Address2             Address3          Address4          City             State Zip

BARBARA J HAROUTUNIAN                                2405 CLIFFSIDE DR                                                                               PLANO            TX    75023‐5335
BARBARA J HARRELSON                                  422 W SHADY SHORES RD                                                                           DENTON           TX    76208‐5613
BARBARA J HARRIS                                     2447 RETREAT CLOSE                                                                              MARIETTA         GA    30066‐5177
BARBARA J HARRIS & GORDON S HARRIS JT TEN            3665 W COGWOOD CIR                                                                              BEVERLY HILLS    FL    34465‐2988
BARBARA J HAWLEY                                     417 WESTCOMBE AVE                                                                               FLINT            MI    48503‐2305
BARBARA J HAWVER                                     4219 FLYNN DR                                                                                   HIGHLAND         MI    48356‐1813
BARBARA J HAYES & CLAUD L HAYES JT TEN               5144E STAGECOACH RD                                                                             VINCENNES        IN    47591‐8717
BARBARA J HEATHCOTT                                  449 SUMMIT OAKS DRIVE                                                                           NASHVILLE        TN    37221‐1317
BARBARA J HEITZ                                      7366 WOODCROFT                                                                                  CINCINNATI       OH    45230‐4350
BARBARA J HELING                                     1368 COTTONWOOD CT                                                                              MILFORD          OH    45150‐2419
BARBARA J HELMAN                                     112 PRINCETON RD                                                                                FAIR HAVEN       NJ    07704
BARBARA J HEMSCHOOT                                  205 SING TREE LN                                                                                ATHENS           GA    30601
BARBARA J HENNESSY & PETER A HENNESSY JT TEN         12 WOOD DR                                                                                      MENDON           MA    01756‐1251

BARBARA J HENSON                                     1605 CRESTLINE LN                                                                               ROCHESTER HLS    MI    48307‐3413
BARBARA J HERRING                                    43 SHELBERN DRIVE                                                                               LINCROFT         NJ    07738‐1324
BARBARA J HEWELT                                     2708 WINDING OAKS DRIVE                                                                         ARLINGTON        TX    76016‐1712
BARBARA J HIGGINS                                    701 MAPLESIDE DRIVE                                                                             TROTWOOD         OH    45426
BARBARA J HILLYER                                    HC‐01 579                                                                                       KAUNAKAKAI       HI    96748
BARBARA J HOAG                                       1059 EASTWOOD SE                                                                                E GRAND RAPIDS   MI    49506‐3577
BARBARA J HOPKINS                                    710 HEATHER LANE                                                                                JACKSON          MS    39206‐3312
BARBARA J HORTON                                     4441 N COLLEGE AVE                                                                              INDIANAPOLIS     IN    46205‐1933
BARBARA J HOWARD                                     1077 GRACE ST                                                                                   MANSFIELD        OH    44905‐2115
BARBARA J HOWARD                                     15351 HEYDEN                                                                                    DETROIT          MI    48223‐1744
BARBARA J HUBER                                      9721 RAVENWOOD DR                                                                               BATON ROUGE      LA    70818
BARBARA J HUBER                                      4721 BINGHAM ROAD                                                                               MILTON           WI    53563‐8665
BARBARA J HUNTER                                     2503 TINDERBOX LANE                                                                             GREENSBORO       NC    27455‐1002
BARBARA J HUNTER & ROBERT W HUNTER JT TEN            6750 WS SAGINAW RD                                                                              BAY CITY         MI    48706
BARBARA J IVERSEN CUST ERIKA R IVERSEN UGMA IL       68 HERITAGE CT                                                                                  WAYNESVILLE      NC    28785‐6901

BARBARA J IVERSEN CUST JENNIFER ANN IVERSEN          68 HERITAGE CT                                                                                  WAYNESVILLE      NC    28785‐6901
UGMA NC
BARBARA J JACKSON                                    1845 POGGI ST                          # 119                                                    ALAMEDA          CA    94501‐1878
BARBARA J JACOBS                                     515 LAY DR APT H                                                                                PORT CLINTON     OH    43452‐1735
BARBARA J JAMES TOD BRIDGET R JAMES SUBJECT TO       4104 GLENBURNE BLVD                                                                             LANSING          MI    48911‐2536
STA RULES
BARBARA J JAMES TOD EDDIE JAMES III SUBJECT TO STA   4104 GLENBURNE BLVD                                                                             LANSING          MI    48911‐2536
RULES
BARBARA J JOHNSON                                    2049 MONROVIA AVE                                                                               COSTA MESA       CA    92627‐4138
BARBARA J JOHNSON                                    ATTN BARBARA HODGE                     6619 E IRWIN DRIVE                                       INDIANAPOLIS     IN    46219‐6213
BARBARA J JOHNSTON                                   130 NOELINE CT                                                                                  SAN DIEGO        CA    92114‐7440
BARBARA J JONES & WILBUR H JONES JT TEN              4780 FIFTH AVE EXT                                                                              YOUNGSTOWN       OH    44505‐1207
BARBARA J JOSEPH                                     360 E TUTTLE LOT 162                                                                            IONIA            MI    48846‐8625
BARBARA J K MAURER                                   2223 SARAGOSSA AVE                                                                              JACKSONVILLE     FL    32217‐2685
BARBARA J KASSLER                                    436 CASWELL BEACH RD                                                                            OAK ISLAND       NC    28465‐8445
BARBARA J KAZANJIAN                                  8326 INGRAM ST                                                                                  WESTLAND         MI    48185‐1538
BARBARA J KELLY                                      3356 VAN CAMPEN DRIVE                                                                           FLINT            MI    48507‐3307
BARBARA J KEMP                                       PO BOX 864                                                                                      LINCOLN PARK     MI    48146
BARBARA J KEYES                                      1320 DEAKIN AVE EXTENTION                                                                       MOSCOW           ID    83843
BARBARA J KINSEY                                     1893 CLAYTON DELANEY RD                                                                         CLAYTON          DE    19938‐9777
BARBARA J KIPLER                                     50 MEADOWLAWN ROAD                                                                              ORCHARD PARK     NY    14127‐4241
BARBARA J KIRBY                                      139 STOKES ROAD                                                                                 MEDFORD LAKES    NJ    08055‐1503
BARBARA J KIRSCH                                     23 HIGH ST                                                                                      TARRYTOWN        NY    10591‐6228
BARBARA J KLETTE                                     8772C AURA ST                                                                                   KALEVA           MI    49645‐9692
BARBARA J KOVACH                                     45279 VANKER                                                                                    UTICA            MI    48317‐5793
BARBARA J KRAUSE                                     9110 WEHRLE DR                                                                                  CLARENCE         NY    14031‐1823
BARBARA J KRONENWETTER                               16790 WEST MELODY DR                                                                            NEW BERLIN       WI    53151‐6570
BARBARA J KROOGER                                    FOUNTAIN POINTE                        6025 APT 1                                               GRAND BLANC      MI    48439
BARBARA J KRZYZANIAK                                 17 WOODSHIRE DR                                                                                 FREELAND         MI    48623
                                            09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 320 of 850
Name                                           Address1                             Address2             Address3          Address4          City              State Zip

BARBARA J KUGHN                                913 MATADOR DR SE                                                                             ALBUQUERQUE       NM    87123‐4220
BARBARA J KURAS                                12527 ARISTO PL                                                                               GRANADA HILLS     CA    91344‐1302
BARBARA J KUZILA                               5242 LORIN DR                                                                                 SHELBY TOWNSHIP   MI    48316‐2322

BARBARA J LA MAIR                              200 FAIRHILLS DRIVE                                                                           SAN RAFAEL        CA    94901‐1109
BARBARA J LA POINTE                            19A COUNTRY CLUB DR                                                                           NEW SMYRNA        FL    32168‐6301
BARBARA J LAFOLLETTE                           1470 N LAKE SHORE DR                                                                          KEWANNA           IN    46939‐9592
BARBARA J LAKHANI                              ATTN BARBARA J QUANTE                RR 3 BOX 333                                             CONNERSVILLE      IN    47331‐9803
BARBARA J LANZO                                10284 ANTLERS RIDGE                                                                           EDEN PRAIRIE      MN    55347
BARBARA J LASKOWSKI                            9131 S ASPEN DR UNIT 1                                                                        OAK CREEK         WI    53154‐4453
BARBARA J LEE                                  556 ALLWOOD ROAD                     APT 2                                                    CLIFTON           NJ    07012‐2138
BARBARA J LEISING                              513 PEMBERTON                                                                                 GROOSE POINT      MI    48230‐1711
                                                                                                                                             PARK
BARBARA J LIEFL                                 7328 MOUNT JOY CT                   NIAGRA FALLS ON                        L2J 3T2 CANADA
BARBARA J LOCKE                                 8426 VAN DR                                                                                  POLAND            OH    44514‐2949
BARBARA J LOEWIT                                1286 MACACHEE                                                                                YOUNGSTOWN        OH    44511‐3662
BARBARA J LOMBARDI                              1733 COLORADO AVE                                                                            FLINT             MI    48506‐4630
BARBARA J LONSDORF                              1320 MCINDOE ST                                                                              WAUSAU            WI    54403‐5083
BARBARA J LORENC                                PO BOX 781                                                                                   SOMMERDALE        AL    36580‐0781
BARBARA J LUCAS                                 11613 S NATCHEZ                                                                              WORTH             IL    60482‐2319
BARBARA J LUCAS & LEE C LUCAS JT TEN            11613 S NATCHEZ                                                                              WORTH             IL    60482‐2319
BARBARA J LUNDY TR UA 06/10/1993 MARY H         129 EAST H ST                                                                                ONTARIO           CA    91764
JOHNSTON TRUST
BARBARA J LUPO                                  1908 SOUTH VANBUREN                                                                          BAY CITY          MI    48708‐8789
BARBARA J LYLE                                  4032 N MAIN ST                      APT 814                                                  DAYTON            OH    45405‐1609
BARBARA J MACTIER                               RR1                                 OLDCASTLE ON                           N0R 1L0 CANADA
BARBARA J MAGONE                                2936 LUANA DR                                                                                OCEANSIDE         CA    92056‐4307
BARBARA J MAHONE                                100 FOX HOLLOW DR                   APT 405                                                  CLEVELAND         OH    44124‐4166
BARBARA J MANN                                  ATTN BARBARA J ANZALDI              2215 BENSLEY ST                                          HENDERSON         NV    89044
BARBARA J MANN                                  119 ROCKWOOD DRIVE                                                                           PITTSBURGH        PA    15238‐2333
BARBARA J MANNAIONI                             39516 HEATHERHEATH DR                                                                        CLINTON TWP       MI    48038‐2641
BARBARA J MAPLE                                 3112 SUSAN DR                                                                                KOKOMO            IN    46902‐7508
BARBARA J MARKLEY TR BARBARA J MARKLEY TRUST UA 842 ELDERWOOD AVE                                                                            TIPP CITY         OH    45371‐2791
08/18/97
BARBARA J MARONECK                              43591 INGLENOOK CT                                                                           STERLING HGTS     MI    48314‐1921
BARBARA J MARRS                                 10045 RUSSELLVILLE RD                                                                        BELVIDERE         IL    61008‐8927
BARBARA J MARSHALL                              1765 REED ROAD                                                                               BERGEN            NY    14416‐9302
BARBARA J MARTZ TR BARBARA J MARTZ TRUST UA     1548 HAZEL STREET                                                                            BIRMINGHAM        MI    48009‐6802
11/03/05
BARBARA J MASTERS & JAMES C MASTERS JT TEN      59 WOOD END LN                                                                               MEDFIELD          MA    02052‐2211
BARBARA J MATHEWS                               9250 WHITE ROAD                                                                              LINDEN            MI    48451‐9610
BARBARA J MC COMB                               29622 ROCKSTULL RD                                                                           LAGAN             OH    43138‐9023
BARBARA J MCCLENATHAN CUST TIFFANY M ATHEY      4374 ROBINDALE DR                                                                            BURTON            MI    48519‐1240
UGMA MI
BARBARA J MCCONNELL                             PO BOX 115                                                                                   NEW HARMONY       IN    47631‐0115
BARBARA J MCDANIEL                              14085 ROBSON                                                                                 DETROIT           MI    48227‐2582
BARBARA J MCFARLAND                             PO BOX 3322                                                                                  MANSFIELD         OH    44904‐0322
BARBARA J MCHENRY                               8129 FRENCH RD                                                                               ALPENA            MI    49707‐9387
BARBARA J MCINTYRE                              3022 LONGWOOD DR                                                                             SHELBY            NC    28152‐8639
BARBARA J MEDWID & JEFFREY B MEDWID JT TEN      8820 SHINING OCEANS WA 303                                                                   COLUMBIA          MD    21045‐5962
BARBARA J MERCURIO & RICHARD MERCURIO JT TEN    701 RANGE RD                                                                                 MARYSVILLE        MI    48040‐2533

BARBARA J MERIDETH                             1206 OLD DALLAS ACWORTH RD                                                                    DALLAS            GA    30132‐8018
BARBARA J MERRIAM‐WIEHAGEN                     643 WOODCREST DR                                                                              PITTSBURGH        PA    15205
BARBARA J MESAROS                              5214 KIRK RD                                                                                  YOUNGSTOWN        OH    44515‐5026
BARBARA J MEYERS                               4703 PINEMORE LN                                                                              LAKE WORTH        FL    33463‐6992
BARBARA J MICHALAK                             100 W 94TH ST                                                                                 NEW YORK          NY    10025‐7041
BARBARA J MIERAS & NORMAN J MIERAS JT TEN      125 COUNTRY ROAD                                                                              SILVER CITY       NM    88061
BARBARA J MIKSCH                               3 BREEZE ST                                                                                   GULF BREEZE       FL    32561‐4033
                                          09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 1 of 8 Pg 321 of 850
Name                                          Address1                            Address2                Address3       Address4          City             State Zip

BARBARA J MILLER                               3337 FIELD RD # B1‐A                                                                        CLIO             MI    48420‐1161
BARBARA J MILLER                               PO BOX 161                                                                                  TOPINABEE        MI    49791‐0161
BARBARA J MILLS                                35425 GLENWOOD                                                                              WAYNE            MI    48184‐1179
BARBARA J MINTON                               3518 WALLACE DR                                                                             GRAND ISLAND     NY    14072‐1036
BARBARA J MITCHELL                             13884 ELDER AVENUE                                                                          GRANT            MI    49327‐9656
BARBARA J MITCHELL                             111 ELAIN AVE                                                                               E FALMOUTH       MA    02536‐4969
BARBARA J MOLINARY                             619 TAMARACK RD                                                                             CHESHIRE         CT    06410‐3227
BARBARA J MOORE                                3230 BEATRICE                                                                               DETROIT          MI    48217‐1572
BARBARA J MORSE                                9118 N DUFFIELD                                                                             MONTROSE         MI    48457‐9116
BARBARA J MOSCONI                              6646 REED CT                                                                                ARVADA           CO    80003‐4005
BARBARA J MOSELEY                              1809 CAMINO RASO NW                                                                         ALBUQUERQUE      NM    87107‐2616
BARBARA J MUELLER & AMY M MUELLER JT TEN       6950 46TH AVE N LOT 29                                                                      ST PETERSBURG    FL    33709‐4700
BARBARA J MUNOZ                                472 1ST ST                                                                                  ESCALON          CA    95320‐9696
BARBARA J MYERS                                10 SHARON ST                                                                                BRISTOL          CT    06010‐3653
BARBARA J MYRICK                               7229 MARTELL AVENUE                                                                         BALTIMORE        MD    21222‐3147
BARBARA J NAGEOTTE                             2495 WILSHIRE DRIVE                                                                         CORTLAND         OH    44410‐9226
BARBARA J NELSON CUST UNDER THE LAWS OF OREGON 603 ILIMANO STREET                                                                          KAILUA           HI    96734‐1832
FOR ROBERT JON NELSON
BARBARA J NEMECHEK                             8380 GREENSBORO DR 722                                                                      MCLEAN           VA    22102‐3521
BARBARA J NOVAK 11412 CLOVIS PTE               431 HIGH ST                                                                                 KINGSTON         TN    37763
BARBARA J O'BRIEN & MICHAEL O O'BRIEN JT TEN   12521 ROSS LN                                                                               AUGUSTA          MI    49012‐9283
BARBARA J OATES                                1716 E WARDLOW RD                                                                           HIGHLAND         MI    48356‐2220
BARBARA J OLIVER                               3294 HARTLEY DRIVE                                                                          ADRIAN           MI    49221‐9247
BARBARA J OLSON                                6308 WINDCREST DR                  APT 1513                                                 PLANO            TX    75024‐3022
BARBARA J OLSON                                23 WESTGATE AVE APT 204                                                                     AKRON            NY    14001‐1336
BARBARA J OPALKA                               1030 LUCY RD                                                                                SCHENECTADY      NY    12303‐3367
BARBARA J OWEN                                 594 STATE HIGHWAY 43                                                                        SPENCER          IN    47460‐6728
BARBARA J OYLER TR BARBARA J OYLER TRUST UA    3516 E GLEN EAGLES DR                                                                       AVON PARK        FL    33825‐6052
6/16/97
BARBARA J PAGE                                 2126 CRESTAS AVE                                                                            N VERSAILLES     PA    15137‐1307
BARBARA J PAHMIER                              8700 W CO RD 600 S                                                                          DALEVILLE        IN    47334‐9734
BARBARA J PARKER                               1816 CUMBERLAND AVE S W                                                                     DECATUR          AL    35603‐1011
BARBARA J PARRISH                              604 CHERRY GLEN CIR                                                                         NASHVILLE        TN    37215
BARBARA J PASTRANA                             37115 ASH STREET                                                                            NEWARK           CA    94560‐2807
BARBARA J PERELLA                              102 WILLOWBROOK BLVD                                                                        LEWISBURG        PA    17837‐9341
BARBARA J PERI                                 5825 OLD SCHOOL RD                                                                          PLEASANTON       CA    94588‐9407
BARBARA J PETERS                               5140 SEQUOIA DR SE                                                                          GRAND RAPIDS     MI    49512‐9621
BARBARA J PETERSON                             245 CHESTNUT ST E                                                                           ANNANDALE        MN    55302‐9593
BARBARA J PETERSON & CHARLES P PETERSON JT TEN 2124 W CHURCH RD                                                                            BEECHER          IL    60401‐5058

BARBARA J PFENNING                            2043 EMERALD NE                                                                              GRAND RAPIDS     MI    49505‐4358
BARBARA J PHINISEE                            1106 ORIO ST NW                                                                              WARREN           OH    44485
BARBARA J PHIPPS                              491 RADER DR                                                                                 VANDALIA         OH    45377‐2515
BARBARA J PIECHOWSKI                          332 WESTCOMBE AVE                                                                            FLINT            MI    48503‐2369
BARBARA J PINKERTON                           6075 S 1150 W 90                                                                             WARREN           IN    46792‐9564
BARBARA J PORTER                              203 SKINNER ST                                                                               CARL JUNCTION    MO    64834‐9178
BARBARA J POTTER                              6033 CR 44A                                                                                  WILDWOOD         FL    34785‐8892
BARBARA J POWER                               5110 ARROWHEAD BLVD                                                                          KOKOMO           IN    46902‐5317
BARBARA J POWERS                              20518 ALDEN ST                                                                               MEADVILLE        PA    16335‐4122
BARBARA J PRUITT                              19 SAN CARLOS                                                                                BELLEVILLE       MI    48111‐2925
BARBARA J PUGH                                18700 WALKERS CHOICE RD #203                                                                 GAUTHRESBURG     MD    20886‐0554
BARBARA J RADON                               ATTN BARBARA J KESSELL              3598 SOWELL MILL PIKE                                    LOUISBURG        TN    37091‐6481
BARBARA J RAFTERY                             6424 BROYLES DR                                                                              TROY             MO    63379‐4842
BARBARA J RAPPUHN                             1124 RINN ST                                                                                 BURTON           MI    48509‐2354
BARBARA J REDD                                137 EUTAW LN                                                                                 PAWLEYS ISLAND   SC    29585‐7541
BARBARA J REDDICK                             3511 CALABASH CI                                                                             MURFREESBORO     TN    37129‐8633
BARBARA J RENDZIO                             15998 NOLA DR                                                                                LIVONIA          MI    48154‐1209
BARBARA J REYNOLDS                            148 SUNSET RIDGE DR                                                                          CROSSVILLE       TN    38571‐3670
BARBARA J RICHARDSON                          203 E JUDSON ST                                                                              PONTIAC          MI    48342‐3039
                                                  09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 322 of 850
Name                                                Address1                                Address2             Address3          Address4          City             State Zip

BARBARA J RICHARDSON                             N91W17012 APPLE TREE CT                    APT 2                                                    MENOMONEE FLS    WI    53051‐7906
BARBARA J RICHMOND & DANIEL S TUTTY & DAVID C    27724 BERTRAND ST                                                                                   CHESTERFIELD     MI    48051‐1666
RICHMOND JT TEN
BARBARA J RICKS                                  12091 STAHELIN AVE                                                                                  DETROIT          MI    48228‐1347
BARBARA J RISE                                   8720 EXPOSTION DR                                                                                   TAMPA            FL    33626
BARBARA J ROBINSON & RICHARD L RICHARDSON JT TEN 1800 N WIXOM RD                                                                                     WIXOM            MI    48393‐1267

BARBARA J ROBINSON TOD GAIL A FINLEY SUBJECT TO     11535 PLAZA DR                          APT 111W                                                 CLIO             MI    48420‐2132
STA TOD RULES
BARBARA J ROGERS                                    2185 OAKVIEW DR                                                                                  CANTON           MI    48187‐3140
BARBARA J ROSSI & JOSEPH J ROSSI JT TEN             5615 ESTES ST                                                                                    ARVADA           CO    80002‐2217
BARBARA J ROTROFF                                   16714 W ADOBE DR                                                                                 LOCKPORT         IL    60441‐6335
BARBARA J RYAN                                      24 NEWPORT PL                                                                                    TOMS RIVER       NJ    08753‐1648
BARBARA J SALVATO                                   3933 N KOSTNER AVE                      #2                                                       CHICAGO          IL    60641‐2839
BARBARA J SAMPLE                                    4341 S 450 E                                                                                     KOKOMO           IN    46902‐9369
BARBARA J SCHEIDT                                   310 W HOUSTON MESA RD                                                                            PAYSON           AZ    85541‐3147
BARBARA J SCHENDEL & CORRIE A MURRAY JT TEN         4165 NORTH RIDGE RD                                                                              LOCKPORT         NY    14094‐9726

BARBARA J SCHIKORE                                  1983 GREENHEATH DR                                                                               FLORISSANT       MO    63033‐1212
BARBARA J SCHMITZ & JEFFREY R SCHMITZ JT TEN        122 WOODSTOCK AVE                                                                                AVON LAKE        OH    44012‐1666
BARBARA J SCHWANIK                                  1092 S 33 ROAD                                                                                   CADILLAC         MI    49601‐9137
BARBARA J SCOTT                                     3363 E M 36                                                                                      PINCKNEY         MI    48169‐9141
BARBARA J SCOTT                                     2611 LA HIGHWAY 594                                                                              MONROE           LA    71203‐7318
BARBARA J SCULLY                                    1702 CASTLEBAR RD                                                                                MCHENRY          IL    60050‐6430
BARBARA J SEEGER                                    2300 AVONHILL                                                                                    ARLINGTON        TX    76015‐1201
BARBARA J SEIFRIED & MICHELLE M SEIFRIED JT TEN     505 GRACELAND N E                                                                                GRAND RAPIDS     MI    49505‐4107

BARBARA J SEMESTER                                  4516 ABBEY DR                                                                                    CARMEL           IN    46033‐2458
BARBARA J SEUFER & MARTIN A SEUFER JT TEN           415 PARK AVE                                                                                     WILLIAMSTOWN     WV    26187‐1530
BARBARA J SHAW                                      375 CANNON GREEN APT G                                                                           GOLETA           CA    93117‐2837
BARBARA J SHELL                                     26232 ETON                                                                                       DEARBORN HGTS    MI    48125‐1445
BARBARA J SHERFIELD & PENELOPE J SHERFIELD JT TEN   PO BOX 839                                                                                       PORTERDALE       GA    30070‐9998

BARBARA J SIMPSON                                   808 BRENTWOOD                                                                                    YOUNGSTOWN       OH    44511‐1449
BARBARA J SKELLY & WILLIAM C SKELLY JT TEN          2976 MICKEY LAKE TRAIL                                                                           TRAVERSE CITY    MI    49684
BARBARA J SLIWINSKI                                 5668 WHITEHAVEN DR                                                                               TROY             MI    48098‐3137
BARBARA J SMALL                                     3351 SHEPHARD RD                                                                                 BROWN CITY       MI    48416‐9152
BARBARA J SMITH                                     7026 DUNSTANS                                                                                    TOLEDO           OH    43617‐1311
BARBARA J SMITH                                     320 WEST 22ND STREET                                                                             MARION           IN    46953‐3027
BARBARA J SMITH                                     1216 PARMER DR                                                                                   FLORISSANT       MO    63031‐1964
BARBARA J SMITH                                     1528 W 28 ST                                                                                     INDIANAPOLIS     IN    46208‐5263
BARBARA J SMITH                                     81 DUTCH RD                                                                                      CENTRAL SQUARE   NY    13036‐2385
BARBARA J SMOLLIN                                   22 JAMES LANE                                                                                    TROY             NY    12182‐1408
BARBARA J SNELL                                     6131 HUGH ST                                                                                     BURTON           MI    48509‐1623
BARBARA J SNYDER & GAYLORD A SNYDER JT TEN          8601 EDGAR                                                                                       VESTABURG        MI    48891‐9409
BARBARA J SOLLINGER                                 PO BOX 114                                                                                       GERMFASK         MI    49836
BARBARA J SOWARDS                                   2630 KANAWHA BLVD E                                                                              CHARLESTON       WV    25311‐2301
BARBARA J STAMPICK                                  4633 W 1500 NORHT                                                                                PLAIN CITY       UT    84404
BARBARA J STANDRIDGE & DONALD R STANDRIDGE JT       5920 GRANGE HALL RD                                                                              HOLLY            MI    48442‐8758
TEN
BARBARA J STARBUCK                                  1508 CRANBROOK DR                                                                                KOKOMO           IN    46902‐5612
BARBARA J STARKEY                                   1117 NORTH COLLAGE RD                                                                            MASON            MI    48854‐9321
BARBARA J STAUB                                     67 MORTON BAY                           WINNIPEG MB                            R3R 2C1 CANADA
BARBARA J STEAGALL                                  490 GRIFFIN HOLLOW RD                                                                            SHADY VALLEY     TN    37688‐5014
BARBARA J STEELE                                    134 SO CANAL ST                                                                                  CHESANING        MI    48616‐1510
BARBARA J STEELE                                    143 OAK AVE                                                                                      RUNNEMEDE        NJ    08078‐1808
BARBARA J STEMMER                                   408 HARVEST COMMONS                                                                              WESTPORT         CT    06880‐3946
BARBARA J STEVENS                                   14 HILLCREST DR                                                                                  CORTLAND         NY    13045‐1017
BARBARA J STEVENSON                                 1725 CHESTER RD #C‐1                                                                             ROYAL OAK        MI    48073‐1925
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 323 of 850
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

BARBARA J STEVENSON & WILLIAM R STEVENSON JT       1725 CHESTER RD #C‐1                                                                            ROYAL OAK        MI    48073‐1925
TEN
BARBARA J STEWART                                  37904 BARCELONA AVE                                                                             ZEPHYRHILLS      FL    33541
BARBARA J STOKEL                                   9 LEDYARD ROAD                                                                                  WEST HARTFORD    CT    06117‐1712
BARBARA J STRUBLE                                  323 NORTHWAY DR                                                                                 SUN CITY CTR     FL    33573‐6909
BARBARA J STRUCK DODSON                            4001 THE OAKS DR                                                                                RALEIGH          NC    27606‐3467
BARBARA J STUCKY                                   3125 RIVER FOREST DR                                                                            FORT WAYNE       IN    46805‐2235
BARBARA J STURTEVANT                               2 WAPPING RD                                                                                    KINGSTON         MA    02364‐1310
BARBARA J SULLINS                                  322 HIDDEN VALLEY TRL                                                                           SHERMAN          TX    75092‐7618
BARBARA J SULLIVAN                                 2113 RUDY LANE                                                                                  LOUISVILLE       KY    40207‐1280
BARBARA J SULLIVAN                                 17 GUERNSEY ST                                                                                  MEDWAY           MA    02053
BARBARA J SWINKS                                   1505 SKYLINE DR                                                                                 GAUTIER          MS    39553‐7625
BARBARA J SWINT                                    11154 FLINTROCK DR                                                                              GRAND LEDGE      MI    48837‐9127
BARBARA J TALBOTT                                  3800 COLON RD                                                                                   SANFORD          NC    27330‐9657
BARBARA J TEETOR CUST CHRISTOPHER TEETOR UGMA      1629 NEWARK RD                                                                                  KENNETT SQUARE   PA    19348‐1104
PA
BARBARA J TERMEER & REX R TERMEER JT TEN           2718 FULLER NE                                                                                  GRAND RAPIDS     MI    49505‐3746
BARBARA J TESON & GERALD F TESON JT TEN            1125 HOMEFIELD COMMONS DR                                                                       O'FALLON         MO    63366‐4598
BARBARA J THOMAS                                   5512 ORINDA COURT                                                                               LIVERMORE        CA    94550‐1138
BARBARA J THOMAS                                   8023 S RHODES AVENUE APT 1                                                                      CHICAGO          IL    60619‐3811
BARBARA J TOWNSVILLE                               8120 E OUTER DR                                                                                 DETROIT          MI    48213‐1383
BARBARA J TRAIN                                    8000 W FLORISSANT AVE MS‐2066                                                                   ST LOUIS         MO    63136‐1414
BARBARA J TUCKER                                   ATTN BARBARA J LEE                     2562 N LAPEER RD                                         LAPEER           MI    48446‐8759
BARBARA J TURNER                                   906 DALLAS AVE SE                                                                               GRAND RAPIDS     MI    49507‐1323
BARBARA J TURNER & DONALD H TURNER SR JT TEN       906 DALLAS AVE SE                                                                               GRAND RAPIDS     MI    49507‐1323

BARBARA J TYMKEWICZ                                4085 TENNYSON LANE                                                                              NORTH OLMSTED    OH    44070‐1915
BARBARA J VAN DE ZILVER                            168 GRAND CENTRAL PARKWAY                                                                       BAYVILLE         NJ    08721‐2712
BARBARA J VAN ESS                                  2710 RUM CREEK DR SE                                                                            KENTWOOD         MI    49508‐5278
BARBARA J VARIS                                    599 CIELO VISTA DR                                                                              GREENWOOD        IN    46143‐1714
BARBARA J VIRDEN                                   361 BIDDLE AVE                         APT 4                                                    WYANDOTTE        MI    48192‐2543
BARBARA J VONDRASEK                                504 BRIDGE ST                                                                                   E TAWAS          MI    48730‐9703
BARBARA J VORHEES                                  28350 BLACKJACK RD                                                                              LOGAN            OH    43138‐9539
BARBARA J VORIS                                    599 CIELO VISTA DR                                                                              GREENWOOD        IN    46143‐1714
BARBARA J WADLINGTON                               95 S LINDEN ROAD                                                                                MANSFIELD        OH    44906‐3004
BARBARA J WASHBURN                                 3636 N PIEDMONT ST                                                                              ARLINGTON        VA    22207‐5333
BARBARA J WEBER                                    308 GREENBRIAR LANE                                                                             WEST GROVE       PA    19390
BARBARA J WELTY                                    1832 NEW HOLLAND PIKE                                                                           LANCASTER        PA    17601‐5522
BARBARA J WENDELL                                  5 HILLGARD ST                                                                                   TROTWOOD         OH    45426‐3053
BARBARA J WEST                                     369B THIRD ST #453                                                                              SAN RAFAEL       CA    94901‐3581
BARBARA J WHEAT                                    7622 CHESTNUT RIDGE RD                                                                          LOCKPORT         NY    14094‐3508
BARBARA J WHEAT                                    9024 ATLEE ROAD                                                                                 MECHANICSVILLE   VA    23116‐2507
BARBARA J WHITTIER                                 402 THOMAS LANE                                                                                 GRAND BLANC      MI    48439‐1526
BARBARA J WHITTIER & LILLIAN F WHITTIER JT TEN     402 THOMAS LN                                                                                   GRAND BLANC      MI    48439‐1526

BARBARA J WIESE                                    4814 61ST AVE TERR W                                                                            BRADENTON        FL    34210‐4037
BARBARA J WIGGINS                                  7709 EAST 118TH TERR                                                                            KANSAS CITY      MO    64134‐3945
BARBARA J WILLIAMS                                 PMB 244                                2017 HARRISON AVE                                        BUTTE            MT    59701
BARBARA J WILLIAMS                                 4019 CRESCENT AVENUE                                                                            LAFAYETTE HILL   PA    19444‐1632
BARBARA J WILLISTON                                3109 CHICAGO BLVD                                                                               FLINT            MI    48503‐3474
BARBARA J WILLISTON & MELANIE J LOGSDON JT TEN     3109 CHICAGO BLVD                                                                               FLINT            MI    48503‐3474

BARBARA J WILMOTH                                  2766 YORK ST                                                                                    ROCHESTER        MI    48309‐3128
BARBARA J WILSON                                   9279 MOUNTAIN ROAD                                                                              GASPORT          NY    14067‐9330
BARBARA J WITHEY                                   1018 REED ST                           APT 3                                                    NASHVILLE        MI    49073‐9412
BARBARA J WOOD                                     8086 CRESTVIEW DR                                                                               JENISON          MI    49428‐9124
BARBARA J WOODRING                                 86 LAKE NESS DR                                                                                 MOUNT MORRIS     MI    48456‐8888
BARBARA J WOOLDRIDGE                               6383 SHAFFER RD NW                                                                              WARREN           OH    44481‐9379
BARBARA J WOREL                                    4810 HOBSON AVE                                                                                 WATERFORD        MI    48328‐2144
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 324 of 850
Name                                              Address1                               Address2               Address3        Address4          City            State Zip

BARBARA J WRIGHT                                  1026 WREN CIRCLE                                                                                CHATTANOOGA     TN    37421‐4086
BARBARA J YANCEY                                  20546 ANNCHESTER                                                                                DETROIT         MI    48219‐1462
BARBARA J YOEST                                   230 GREENWOOD DR                                                                                CRANBERRY TWP   PA    16066‐4920
BARBARA J YOUNG & JOYCE Y SILVA JT TEN            23 NELSON AVE                          PO BOX 704                                               PROVINCETOWN    MA    02657‐0704
BARBARA J ZAK                                     1029 WEBSTER STREET N                                                                           HUDSON          WI    54016‐1130
BARBARA J ZILLMER                                 3217 NE 83RD                                                                                    PORTLAND        OR    97220‐5235
BARBARA J ZUBERBUEHLER                            3832 SHERRIE LANE                                                                               RACINE          WI    53405‐4857
BARBARA JACKSON DE ALMEIDA                        10402 SW 16TH MANOR                                                                             DAVIE           FL    33324
BARBARA JANE ALLEN & JOHN RECTOR ALLEN JR TEN     4812 WESTFIELD DR                                                                               AUSTIN          TX    78731‐5538
COM
BARBARA JANE BOZMAN                               9 DISTON CT                                                                                     MT LAUREL       NJ    08054‐3310
BARBARA JANE COLE                                 246 OAK DR                                                                                      MIDDLESEX       NJ    08846‐2339
BARBARA JANE DEWEESE                              BOX 211                                                                                         ARIZONA CITY    AZ    85123
BARBARA JANE DRAKE                                PO BOX 1123                                                                                     DILLWYN         VA    23936‐1123
BARBARA JANE FARBER                               7 RUE LEMANS                                                                                    KENNER          LA    70065‐2024
BARBARA JANE GEORGE                               3021 CHURCHILL ROAD                                                                             RALEIGH         NC    27607
BARBARA JANE HERRON                               44 HICKORY PL                          BRANTFORD ON                           N3S 3C8 CANADA
BARBARA JANE MILNER                               87 HOURIGAN DRIVE                                                                               MERIDEN         CT    06451‐3674
BARBARA JANE SFERRA                               63 COMO ST                                                                                      STRUTHERS       OH    44471‐1604
BARBARA JANE WASZKIEWICZ                          11 WHITE PINE RD                                                                                NEW HARTFORD    NY    13413‐5527
BARBARA JANE WEIDERT                              8055 WATKINS DRIVE                                                                              CLAYTON         MO    63105‐2516
BARBARA JEAN BELLI & CLARA BELLI JT TEN           C/O LEONHARDT                          17660 WILHELMINE AVE                                     FRASER          MI    48026‐3838
BARBARA JEAN BOGART                               1145 WYNN CIR                                                                                   LIVERMORE       CA    94550‐3790
BARBARA JEAN BYRD                                 130 HUNTERS CROSSING                                                                            CALHOUN         GA    30701‐4197
BARBARA JEAN CARTER                               PO BOX 71                                                                                       ESSEX           MA    01929‐0002
BARBARA JEAN CRAYCRAFT                            4900 OAKS CIRCLE                                                                                MIDDLETOWN      OH    45042‐4920
BARBARA JEAN DAVIES                               339 W COMMERCE ST                                                                               MILFORD         MI    48381‐1821
BARBARA JEAN DERING                               APT 8K                                 250 W 94TH ST                                            NEW YORK        NY    10025‐6954
BARBARA JEAN DEWEY                                163 HOLABIRD AVE                                                                                WINSTED         CT    06098‐1728
BARBARA JEAN EBERLE                               110 FAIRVIEW AVE                                                                                BUTLER          PA    16001‐6448
BARBARA JEAN ECHOLS                               12 PARK PL                                                                                      RICHWOOD        WV    26261‐1116
BARBARA JEAN ESKRIDGE                             PO BOX 341                                                                                      PORT ROYAL      SC    29935‐0341
BARBARA JEAN FOX                                  171 CENTER OAK CIR                                                                              SPRING HILL     FL    34609‐0244
BARBARA JEAN FRANZREB                             4 SURREY LANE                                                                                   RANCHO PALOS    CA    90275‐5258
                                                                                                                                                  VERDE
BARBARA JEAN GORE                                 C/O DALE & BARBARA BROWN               5880 M‐33                                                ALGER           MI    48610‐9301
BARBARA JEAN GOSSETT                              PO BOX 19                                                                                       ROSEVILLE       IL    61473‐0019
BARBARA JEAN HARPER TR BARBARA JEAN HARPER        6301 BLOSSOM PARK DR                                                                            W CARROLLTON    OH    45449‐3020
TRUST UA 02/26/04
BARBARA JEAN HEALY                                7227 HERTFORDSHIRE WAY                                                                          VICTOR          NY    14564‐1101
BARBARA JEAN HELLER                               99 ALTAMONT AVE                                                                                 SEA CLIFF       NY    11579‐1403
BARBARA JEAN HUESKE                               108 ELMAR DRIVE SE                                                                              VIENNA          VA    22180‐5802
BARBARA JEAN JORDAN                               34822 N 14TH ST                                                                                 PHOENIX         AZ    85027‐8857
BARBARA JEAN KELLER SMITH                         24189 JAMORE DR                                                                                 SEAFORD         DE    19973‐7738
BARBARA JEAN LAROSE                               2052 VALLEY FORGE                                                                               BURTON          MI    48519‐1320
BARBARA JEAN LAZAROWICZ                           433 W MILL ST                          APT 16                                                   STANDISH        MI    48658‐9503
BARBARA JEAN LINXWILER                            318 HERNANDO AVE                                                                                SARASOTA        FL    34243‐2030
BARBARA JEAN LOSEY & LILLIAN ANN LOSEY JT TEN     141 MARIAN PL                                                                                   STEUBENVILLE    OH    43953‐3456

BARBARA JEAN MCCLENDON                            580 MARCY AVE                          # 2B                                                     BROOKLYN        NY    11206‐6403
BARBARA JEAN MCQUISTON                            3127 MATTHEW DR                        APT D                                                    KOKOMO          IN    46902‐4082
BARBARA JEAN PARK                                 57 HERRICK MTN RD                                                                               NEW VINEYARD    ME    04956
BARBARA JEAN POWELL‐MILLER                        3604 RAMBLIN CREEK ROAD                                                                         LOUISVILLE      KY    40299‐4449
BARBARA JEAN RATZ                                 517 PHILADELPHIA BLVD                                                                           SEA GIRT        NJ    08750‐2613
BARBARA JEAN SAMUELS & JEROME M SAMUELS JR JT     5315 CANTANTE                                                                                   LAGUNA WOODS    CA    92653‐1813
TEN
BARBARA JEAN SAUER CUST ERIC STEVEN SAUER UGMA    598 DEANNA STROLL RD                                                                            HEATH           OH    43056‐9706
OH
BARBARA JEAN SCHMIDT                              1706 CALUMET AVE                                                                                VALPARAISO      IN    46383‐3129
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                      Part 1 of 8 Pg 325 of 850
Name                                             Address1                              Address2              Address3               Address4          City            State Zip

BARBARA JEAN SMITH                               3380 WAVERLY LN                                                                                      COLORADO SPGS   CO    80922‐1288
BARBARA JEAN STEWART                             58523 MEADOW CREEK BLVD                                                                              NEW HAVEN       MI    48048
BARBARA JEAN TANNER                              PO BOX 244                                                                                           BARTON CITY     MI    48705‐0244
BARBARA JEAN VAN DYKE KRAHENBUHL                 119 HALIBURTON                                                                                       INDEPENDENCE    MO    64050‐4431
BARBARA JEAN VOSS TR BARBARA JEAN VOSS REV       120 LAKE WASHINGTON DR                                                                               WASHINGTON      MO    63090‐5382
LIVING TRUST UA 05/04/93
BARBARA JEAN WYDRONKOWSKI                        51 MANOR AVE                                                                                         COHOES          NY    12047‐1737
BARBARA JEANNE BROWN                             2026 QUAY VILLAGE CT                  T1                                                             ANAPOLIS        MD    21403‐5221
BARBARA JESSEL LACK                              102 CREEKSIDE                                                                                        VICTORIA        TX    77904‐1102
BARBARA JO BRISSON                               22358 TIMBERLEA LANE                                                                                 KILDEER         IL    60047‐2916
BARBARA JO BROWN                                 139 WEST END AVE                                                                                     BINGHAMTON      NY    13905‐3846
BARBARA JO HOWARD                                6017 ALTAMONT PL                                                                                     BALTIMORE       MD    21210‐1001
BARBARA JO JOHNSON                               6627 GOULD                                                                                           SARANAC         MI    48881‐9631
BARBARA JO LINNEROOTH                            ATTN BARBARA JO WERNER                2542 LEYLAND TRAIL                                             WOODBURY        MN    55125‐3429
BARBARA JO RUNAC & JOSEPH RUNAC JT TEN           92 POPLAR STREET                                                                                     GARDEN CITY     NY    11530‐6517
BARBARA JOAN BATTEN & CHRISTINE ANN HENDERSON    145 COLUMBIA AVE APT 623                                                                             HOLLAND         MI    49423‐2980
JT TEN
BARBARA JOAN BATTEN & JODY LYNN KLEEMAN JT TEN   145 COLUMBIA AVE APT 623                                                                             HOLLAND         MI    49423‐2980

BARBARA JOAN CHATMAN‐ROYCE                       21 HIGHSPIRE RD                       PO BOX 333                                                     LYNDELL         PA    19354‐0333
BARBARA JOAN GOODWIN                             118 MAPLE GROVEAVENUE                                                                                PRUDENVILLE     MI    48651‐9711
BARBARA JOAN KOZIATEK                            8 JEFFERSON DR                                                                                       EAST LYME       CT    06333‐1224
BARBARA JOAN MILLER                              713 PAHAQUARRY STREET                                                                                BELVIDERE       NJ    07823‐2013
BARBARA JOAN SHETLER                             4404 HWY 2 RR 1                       NEWTONVILLE ON                               L0A 1J0 CANADA
BARBARA JOAN WEAVER                              3079 HILTON RD                        HILTON BEACH ON                              D0R 1G0 CANADA
BARBARA JOELLE BLOOM                             13438 HUSTON ST                       APT D                                                          SHERMAN OAKS    CA    91423‐2016
BARBARA JOHANNA BREWSTER                         15908 W CR 50 N                                                                                      ANDERSON        IN    46012
BARBARA JOHNSON                                  201 VAN HECKE APT 50                                                                                 OCONTO          WI    54153
BARBARA JOHNSON                                  12300 PARK BLVD #101                                                                                 SEMINOLE        FL    33772‐4533
BARBARA JONES                                    323 S YALE AVE                                                                                       VILLA PARK      IL    60181‐2561
BARBARA JONES                                    1000 LAKE SHORE PLAZA                                                                                CHICAGO         IL    60611
BARBARA JOY MULLEN                               ATTN BARBARA JOY MULLEN               SCHAEFFER             1736 ORCHARD WOOD RD                     ENCINITAS       CA    92024‐5655
BARBARA JOY PEARL                                11698 SW 51 COURT                                                                                    COOPER CITY     FL    33330‐4416
BARBARA JOYCE FREEMAN                            14648 TRACEY                                                                                         DETROIT         MI    48227‐3265
BARBARA JUNE MARVIN                              4629 TILDEN ST N W                                                                                   WASHINGTON      DC    20016‐5617
BARBARA JUNIOR                                   ATTN BARBARA BUSH                     406 FERNCREST COURT                                            THREE BRIDGES   NJ    08887‐2135
BARBARA JUSTICE                                  4273 S EXTENSION RD                                                                                  CHEBOYGAN       MI    49721‐9753
BARBARA K ALLAERT CUST MARY L ALLAERT UGMA IL    123 ST KITTS WAY                                                                                     APOLLO BEACH    FL    33572‐2222

BARBARA K ALT                                    1351 TERMAN ROAD                                                                                     MANSFIELD       OH    44907‐3033
BARBARA K ALT & KENNETH F ALT JT TEN             1351 TERMAN ROAD                                                                                     MANSFIELD       OH    44907‐3033
BARBARA K BECKER                                 645 EAST SHORE DRIVE                                                                                 WHITMORE LAKE   MI    48189‐9445
BARBARA K BELFORE                                1125 GRAYTON                                                                                         GROSSE PNT PK   MI    48230‐1426
BARBARA K BIGGS                                  9 MIMOSA PLACE                                                                                       RIDGEFIELD      CT    06877‐2509
BARBARA K BOREN                                  1412 CAMBRIDGE ROAD                                                                                  BERKLEY         MI    48072‐1938
BARBARA K BYERS CUST JONATHAN K BYERS UTMA VA    512 HAMPTON PL                                                                                       PORTSMOUTH      VA    23704‐2520

BARBARA K CARY                                   C/O BARBARA BRINK                     N2277 SALT BOX RD                                              DARIEN          WI    53114‐1310
BARBARA K CHYNOWETH                              PO BOX 62574                                                                                         HOUSTON         TX    77205‐2574
BARBARA K DELONG TR BARBARA K DELONG LIVING      59563 BARKLEY DRIVE                                                                                  NEW HUDSON      MI    48165‐9661
TRUST UA 06/22/01
BARBARA K DEPAUL                                 304 CLEARFIELD DR                                                                                    LINCOLN UNIV    PA    19352
BARBARA K DRENNAN                                PO BOX 39                                                                                            DITTMER         MO    63023‐0039
BARBARA K DURSUM TR UA 11/09/92 BARBARA K        2517 N MAIN                                                                                          ROYAL OAK       MI    48073‐3410
DURSUM LIVING TRUST
BARBARA K EVANS                                  3314 DECAMP RD                                                                                       YOUNGSTOWN      OH    44511‐1246
BARBARA K FOSTER                                 2812 WOODPATH LN                                                                                     BEDFORD         TX    76021‐2745
BARBARA K GUCFA                                  6555 TAMARACK DR                                                                                     TROY            MI    48098‐1903
BARBARA K HILL & WILLIAM HILL JT TEN             6627 OGDEN ST                                                                                        OMAHA           NE    68104
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 326 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

BARBARA K HRUSOSKY                               1813 MIA DR                                                                                    CREST HILL       IL    60403
BARBARA K LEWIS                                  3046 CHERRYLAWN CT                    PO BOX 913                                               LEWISTON         MI    49756
BARBARA K MARTIN                                 5020 FOREST VALLEY DR                                                                          CLARKSTON        MI    48348
BARBARA K MILLER                                 4555 EATON RD                                                                                  GLADWIN          MI    48624‐8719
BARBARA K MISENCIK                               69 MACARTHUR ROAD                                                                              TRUMBULL         CT    06611‐3750
BARBARA K MORRIS                                 1351 TERMAN ROAD                                                                               MANSFIELD        OH    44907‐3033
BARBARA K MOSELEY                                167 TRINIDAD DRIVE                                                                             TIBURON          CA    94920‐1037
BARBARA K MURRAY                                 488 W HIGHBANKS RD                                                                             DEBARY           FL    32713‐4646
BARBARA K NEAST                                  1006 CENTER AVE                                                                                JIM THORPE       PA    18229‐1016
BARBARA K OLSON & JOHN P OLSON JT TEN            916 CRESTVIEW DRIVE                                                                            WATERTOWN        WI    53094‐6079
BARBARA K READ                                   2479 N LONG LAKE RD                                                                            FENTON           MI    48430‐8839
BARBARA K REVOIR                                 110 WILLIAM ST                                                                                 MIDLAND          MI    48640‐5443
BARBARA K RICHARDS                               5910 NORTH THIERMAN ROAD                                                                       SPOKANE          WA    99217‐9306
BARBARA K RICHARDS & WENDELL W RICHARDS JT TEN   5910 NORTH THIERMAN ROAD                                                                       SPOKANE          WA    99217‐9306

BARBARA K SCHLINKERT                             112 E PENE AVE                                                                                 WEST LAFAYETTE   IN    47906‐4831
BARBARA K SCHMIDT                                1130 WESTRUN DRIVE                                                                             BALLWIN          MO    63021
BARBARA K SHAW                                   6202 S R 702 S                                                                                 ROY              WA    98580‐9224
BARBARA K SHAY                                   25563 M DRIVE N                                                                                ALBION           MI    49224
BARBARA K SHECTER TR BARBARA K SHECTER LIVING    50 LONGWOOD AVE APT 912                                                                        BROOKLINE        MA    02446‐5224
TRUST UA 08/20/97
BARBARA K SMITH                                  1258 ARBOR AVE                                                                                 DAYTON         OH      45420‐1907
BARBARA K SMITH                                  411 W 20TH ST                                                                                  ANDERSON       IN      46016
BARBARA K THOMAS                                 362 STONE STEWART RD                                                                           HULL           GA      30646‐2211
BARBARA K WHISTLER                               760 FAIRFORD                                                                                   GROSSE POINTE  MI      48236‐2433
                                                                                                                                                WOOD
BARBARA K WILLIAMS                             7154 SOCIAL WAY                                                                                  HOSCHTON       GA      30548‐4100
BARBARA K WILSON TR UA 11/30/90 THE BARBARA K  4108 BATTLES LANE                                                                                NEWTOWN SQUARE PA      19073‐1602
WILSON TRUST
BARBARA K WRIGHT CUST STACY RENEE WRIGHT UGMA 179 SHAWSWICK STATION ROAD                                                                        BEDFORD          IN    47421
IN
BARBARA KALINSKI                               7607 EL MANOR                                                                                    LOS ANGELES      CA    90045‐1352
BARBARA KAMPF TR MICHAEL & BARBARA KAMPF       124 MARTESIA WAY                                                                                 INDIAN HARBOUR   FL    32937‐3569
REVOCABLE TRUST UA 09/10/02                                                                                                                     BCH
BARBARA KANTER & MITCHEL A KANTER JT TEN       2404 HANNON CT                                                                                   ELLICOTT CITY    MD    21042‐1763
BARBARA KAREN SHERMAN                          2101 SHARON OAKS LN APT 103                                                                      CHARLOTTE        NC    28210
BARBARA KASKOSZ                                1500 BROAD ROCK ROAD                                                                             PEACE DALE       RI    02879‐1856
BARBARA KATIC                                  9108 REGENCY WOODS DR                                                                            KIRTLAND         OH    44094‐9381
BARBARA KAY DROTTER TR UA 08/11/1994 JAMES R & 79540 BAYA ST                                                                                    LA QUINTA        CA    92253‐4840
BARBARA K DROTTER TRUST
BARBARA KAY FRICK                              2248 BELLOAK DR                                                                                  KETTERING        OH    45440‐2006
BARBARA KAY NICHOLS & DONALD W NICHOLS JT TEN 612 AUTUMN WOOD DR                                                                                RICHMOND         KY    40475‐9098

BARBARA KEIL JACOBY                              43 SPRUCE ST                                                                                   SHREWSBURY       MA    01545‐2842
BARBARA KELLEY SMITH                             1337 OTTAWA AVE                                                                                OTTAWA           IL    61350‐3454
BARBARA KENNEDY & DOUGLAS KENNEDY JT TEN         8009 SHADETREE DR                                                                              WEST CHESTER     OH    45069‐2411
BARBARA KERNER                                   600 SO DEARBORN APT 1412                                                                       CHICAGO          IL    60605‐1834
BARBARA KESHIN WINGROVE TR BARBARA KESHIN        249 LIKES RD                                                                                   EDGEWATER        MD    21037‐4930
WINGRAVE TRUST UA 02/04/00
BARBARA KESSNER CUST JEFFREY KESSNER UTMA FL     9310 D SW 61ST WAY                                                                             BOCA RATON       FL    33428‐6193

BARBARA KIMMEL CUST BRIAN KIMMEL UGMA NJ         250 BEACON HILL RD                                                                             CALIFON          NJ    07830‐3519
BARBARA KITTREDGE                                527 N M‐66                                                                                     EAST JORDAN      MI    49727‐9432
BARBARA KLAF STEPHENS CUST ELIZABETH             PO BOX 659                                                                                     PORTSMOUTH       RI    02871‐0659
MERIWETHER STEPHENS UGMA MA
BARBARA KLAYF STEPHENS CUST LOUISA DIXON         PO BOX 659                                                                                     PORTSMOUTH       RI    02871‐0659
STEPHENS UGMA MA
BARBARA KLINE                                    PO BOX 3792                                                                                    KETCHUM          ID    83340‐3792
BARBARA KNAPP                                    7180 RANDALL ROAD                                                                              FENTON           MI    48430‐8962
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 327 of 850
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

BARBARA KNECHT REYNOLDS                           324 RUSSELLCROFT ROAD                                                                           WINCHESTER      VA    22601‐3429
BARBARA KONIG                                     W 148 N 6268 POCOHONTAS                                                                         MENOMONEE FALLS WI    53051‐5817

BARBARA KONIG GUARDIAN FOR MICHAEL KONIG          W 148 N 6268 POCOHONTAS                                                                         MENOMONEE FALLS WI    53051‐5817

BARBARA KOPIK                                     1995 ST GEORGE'S AVE                                                                            RAHWAY          NJ    07065
BARBARA KOTULA                                    1239 BELLVER CIRCLE                                                                             FALLBROOK       CA    92028‐3506
BARBARA KOZLOWSKI TR BARBARA KOZLOWSKI TRUST      8 ARDENWOOD WAY                                                                                 SAN FRANCISCO   CA    94132‐1606
UA 12/09/94
BARBARA KRANICH JOYCE                             2215 POOR RICHARDS LN                                                                           PITTSBURGH      PA    15237
BARBARA KREGER                                    196 S LAKE DRIVE                                                                                COLUMBIAVILLE   MI    48421‐9714
BARBARA KREIGH                                    127 SOUTH STREET                                                                                ANDERSON        IN    46017
BARBARA KUCHAR CUST JUSTIN MICHAEL KUCHAR         809 BELLIS PARKWAY                                                                              ORADELL         NJ    07649‐2014
UGMA NJ
BARBARA KURTZ FENSTER CUST SARAH ALEXIS FENSTER   20210 FRANKLIN                                                                                  SARATOGA        CA    95070‐4930
UGMA CA
BARBARA L ADAMS                                   3 STONEY BROOK DR                                                                               SOUTHWICK       MA    01077‐9229
BARBARA L ANDERSON & JOHN E ANDERSON JT TEN       318 MAPLE HILL ROAD                                                                             NAUGATUCK       CT    06770‐2234

BARBARA L BACON                                   5700 BARBERRY LANE                                                                              SAGINAW         MI    48603‐2667
BARBARA L BARTLETT                                71 BRIXHAM RD                                                                                   ELIOT           ME    03903‐1200
BARBARA L BECKER CUST GAIL P BECKER UGMA CA       2751 GERTRUDE DR                                                                                LOS ALAMITOS    CA    90720‐4740

BARBARA L BECKER CUST MARK E BECKER UGMA CA       2751 GERTRUDE DR                                                                                LOS ALAMITOS    CA    90720‐4740

BARBARA L BECKER CUST ROBERT J BECKER UGMA CA     271 AVALON                                                                                      FT LAUDERDALE   FL    33308‐3501

BARBARA L BECKETT                                  104 TEMI RD                                                                                    RAYNHAM         MA    02767‐1250
BARBARA L BEEBE & BEVERLY A BEEBE JT TEN           219 HIBBARD RD                                                                                 HORSEHEADS      NY    14845‐7904
BARBARA L BEFUS                                    4235 EDINBURGH DR SE                                                                           GRAND RAPIDS    MI    49546
BARBARA L BELL                                     RR 8 BOX 5866                                                                                  MONTICELLO      KY    42633
BARBARA L BENSON                                   67 WEST ST                                                                                     TUNKHANNOCK     PA    18657‐1405
BARBARA L BERGEN & ROBERT BERGEN TR BERGEN         6632 E YOSEMITE AVE                                                                            ORANGE          CA    92867‐2477
FAMILY TRUST UA 1/20/99
BARBARA L BLAIR TOD BELINDA S BLAIR SUBJECT TO STA 2337 ATLAS DRIVE                                                                               TROY            MI    48083‐2473
TOD RULES
BARBARA L BLAIR TOD DAVID M BLAIR SUBJECT TO STA 2337 ATLAS DRVE                                                                                  TROY            MI    48083
TOD RULES
BARBARA L BOWERS & CHARLES D BOWERS JT TEN         406 HAWTHORNE RD                                                                               LINTHICUM HTS   MD    21090‐2308

BARBARA L BRINK TR BARBARA L BRINK TRUST UA       PO BOX 3957                                                                                     PARK CITY       UT    84060‐3957
01/15/97
BARBARA L BRIZZOLARA CUST MARGARET M              2712 LANDSDOWNE DR                                                                              WILMINGTON      DE    19810‐3459
BRIZZOLARA UGMA DE
BARBARA L BRIZZOLARA CUST SARAH L BRIZZOLARA      2712 LANDSDOWNE DR                                                                              WILMINGTON      DE    19810‐3459
UGMA DE
BARBARA L BRODEUR                                 30650 SMITHSON VALLEY RD                                                                        BULVERDE        TX    78163‐2750
BARBARA L BROWN                                   9230 GRANDVILLE                                                                                 DETROIT         MI    48228‐1722
BARBARA L BRYANT                                  7500 S SCARFF RD                                                                                NEW CARLISLE    OH    45344
BARBARA L BUCHANAN                                2341 N SUMAC DR                                                                                 JANESVILLE      WI    53545‐0508
BARBARA L BURNS                                   2 S 563 ASHLEY DRIVE                                                                            GLEN ELLYN      IL    60137‐6944
BARBARA L BUSH & NANCY J REICH JT TEN             117 KENILWORTH AVE                                                                              GLEN ELLYN      IL    60137
BARBARA L CALLAWAY                                8069 GOTHAM RD                                                                                  GARRETTSVILLE   OH    44231‐9749
BARBARA L CANFIELD TR BARBARA L CANFIELD TRUST    13209 N 99TH DR                                                                                 SUN CITY        AZ    85351‐2835
UA 11/01/93
BARBARA L CLAPP                                   59 SMITH RD                                                                                     BEDFORD         NH    03110‐6326
BARBARA L COBB                                    4429 WATSON RIDGE DR                                                                            STONE MTN       GA    30083‐1337
BARBARA L COLLINS TR COLLINS LIVING TRUST UA      928 SPRING DRIVE                                                                                LUGOFF          SC    29078‐9117
02/24/96
                                              09-50026-mg           Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 328 of 850
Name                                            Address1                           Address2                 Address3      Address4          City            State Zip

BARBARA L COOK                                  PO BOX 1672                                                                                 WAYNESBORO      VA    22980‐7672
BARBARA L COX & KENNY L COX JT TEN              7885 MERRICK                                                                                TAYLOR          MI    48180
BARBARA L CROW                                  4118 SCHOOL ST                                                                              METAMORA        MI    48455‐9768
BARBARA L CRUMPTON TR BARBARA L CRUMPTION       7738 BYRON DEPOT DR SW                                                                      BYRON CENTER    MI    49315‐8282
LIVING TRUSTUA 04/14/70
BARBARA L CUMMING                               15 AMELIA CT                                                                                SARATOGA SPRINGS NY   12866‐6313

BARBARA L DAMANT                                605 PARK ROAD NORTH                OSHAWA ON                              L1J 5Y8 CANADA
BARBARA L DAOUST                                801 INVERNESS DRIVE                                                                         DEFIANCE        OH    43512‐9190
BARBARA L DART                                  42259 LADYWOOD DRIVE                                                                        NORTHVILLE      MI    48167‐2082
BARBARA L DATISH                                251 TERRE HILL DRIVE                                                                        CORTLAND        OH    44410‐1634
BARBARA L DOERR                                 1285 CEDAR LAKE ROAD                                                                        POCATELLO       ID    83204‐4947
BARBARA L DOSTER & BARD ALLEN DOSTER JT TEN     BOX 36344                                                                                   TUCSON          AZ    85740‐6344
BARBARA L DRAPER                                PO BOX 225                                                                                  CUTLER          IN    46920‐0225
BARBARA L DUNIFON                               95 TANGLEWOOD LN                                                                            THONOTOSASSA    FL    33592‐3928
BARBARA L EBERLY & DAVID A EBERLY JT TEN        909 SNAPPER DAM RD                                                                          LANDISVILLE     PA    17538‐1542
BARBARA L ENNES & SHIRLEY A GERVAIS JT TEN      707 WOODCREST DRIVE                                                                         ROYAL OAK       MI    48067‐4907
BARBARA L ERB & JUDITH F TALFORD JT TEN         2662 W WOODLANDS DR                                                                         TRAVERSE CITY   MI    49684
BARBARA L ESTRADA                               27361 SEIRRA HIGHWAY               # 189                                                    CANYON CNTRY    CA    91351
BARBARA L FICK                                  1661 HARTLEY AVE                                                                            HENDERSON       NV    89052‐6899
BARBARA L FIELDS                                1434 W FRENCH RD                                                                            SAINT JOHNS     MI    48879‐9406
BARBARA L FURGALA                               6201 HILLIARD RD                                                                            LANSING         MI    48911‐5624
BARBARA L GARNI & REMO J GARNI JT TEN           1007 3RD ST SO                                                                              VIRGINIA        MN    55792‐3011
BARBARA L GEIGER                                407 MARILYN COURT                                                                           KOKOMO          IN    46902‐3717
BARBARA L GOLDBURG                              26109 GERMAN MILL                                                                           FRANKLIN        MI    48025‐1146
BARBARA L GRIFFITH                              516 STONERIDGE TRL                                                                          WEATHERFORD     TX    76087‐4412
BARBARA L GRUVER                                57 MARY PL                                                                                  GERMANTOWN      OH    45327‐1614
BARBARA L HAGGADONE & PAMELA A DART JT TEN      1353 WILLIAMSBURG ROAD                                                                      FLINT           MI    48507‐5627

BARBARA L HASSELSCHWERT                         801 INVERNESS DRIVE                                                                         DEFIANCE        OH    43512‐9190
BARBARA L HEJDONECK                             23W040 MULBERRY LN                                                                          GLEN ELLYN      IL    60137‐7219
BARBARA L HENNESSY                              14 ALINA ST                                                                                 FAIRPORT        NY    14450‐2845
BARBARA L HERNANDEZ                             39885 WYATT LANE                                                                            FREMONT         CA    94538‐1942
BARBARA L HERNANDEZ                             PO BOX 6722                                                                                 SAGINAW         MI    48608‐6722
BARBARA L HOLMES & RITA HOLMES & ROSA HOLMES JT PO BOX 38823                                                                                DETROIT         MI    48238‐0823
TEN
BARBARA L HOUSKE & MURRAY D HOUSKE JT TEN       5512 RICHMOND AVE                                                                           GARDEN GROVE    CA    92845‐1949
BARBARA L ILICH                                 8017 SIMONE AVE                                                                             LAS VEGAS       NV    89147‐5028
BARBARA L JOHNSON                               4005 WEST ROYERTON RD 500N                                                                  MUNCIE          IN    47304‐9146
BARBARA L KALLNER                               1953 GODER DR                                                                               FRANKFORT       IN    46041‐2265
BARBARA L KELLER                                1756 HIGHLAND AVE                                                                           DELOIT          WI    53511‐5948
BARBARA L KEMP                                  C/O FLORIMONT                      7 STURGIS RD                                             LAVALLETTE      NJ    08735‐2843
BARBARA L KNOCHE TOD ANDREA LEE KNOCHE          PO BOX 7175                                                                                 KANSAS CITY     MO    64113‐0175
BARBARA L KNOLINSKI                             2019 FOXTAIL DR                                                                             AURORA          IL    60504‐4225
BARBARA L KOEHLER PRUITT                        319 E OAK AVE                                                                               MOORESTOWN      NJ    08057‐2019
BARBARA L KOSAL & STUART E KOSAL JT TEN         PO BOX 74                          1731 JEWELL LAKE DRIVE                                   BARTON CITY     MI    48705‐0074
BARBARA L KRINITZ                               21204 75TH AVE APT 6P                                                                       OAKLAND GDNS    NY    11364‐3397
BARBARA L KULKENS & JOHN F KULKENS JT TEN       3709 FINCH CIR                                                                              SIERRA VISTA    AZ    85650‐5319
BARBARA L LAWS                                  607 APPLEGATE LANE                                                                          GRAND BLANC     MI    48439‐1668
BARBARA L LICQUIA & JAMES L LICQUIA JT TEN      6332 MEADOWWOOD LANE                                                                        GRAND BLANC     MI    48439‐9197
BARBARA L LOCKE                                 427 W 6TH ST                                                                                PERRYSBURG      OH    43551‐1552
BARBARA L LOCKWOOD                              3965 N MICHIGAN AVE                APT 6                                                    SAGINAW         MI    48604‐1811
BARBARA L LOGAN                                 12801 WEEPING OAK TRL                                                                       SAN ANTONIO     TX    78233‐2439
BARBARA L LOMASCOLA                             34 MALONE CT                                                                                SACRAMENTO      CA    95820‐4338
BARBARA L LONGO CUST ANTHONY LONGO UTMA AZ      7341 E ELI DR                                                                               TUCSON          AZ    85710‐4956

BARBARA L LONGO CUST JOSEPH LONGO UTMA OH       7341 E ELI DR                                                                               TUCSON          AZ    85710‐4956

BARBARA L MANDELBAUM                            44 TONAWANDA ROAD                                                                           GLEN ROCK       NJ    07452‐2608
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 329 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

BARBARA L MARUCA                                 6883 NICKIS LN #23                                                                             NIAGARA FALLS      NY    14304‐2940
BARBARA L MC DAVID                               326 DWIGHT ST                                                                                  JOLIET             IL    60436‐1919
BARBARA L MCCONVILLE                             4098 ROSE MARY DRIVE                                                                           STERLING HEIGHTS   MI    48310‐4583

BARBARA L MCCURRY                                ATTN BARBARA L RICHARDSON             24 SAN ROBERTO                                           FORT PIERCE        FL    34951‐2817
BARBARA L MCKINNEY                               2054 VALLEY RD NW                                                                              KALKASKA           MI    49646‐9412
BARBARA L MELNICK                                27 LEIGHTON RD                                                                                 FALMOUTH           ME    04105‐2012
BARBARA L METZGER                                241 EWING SMITH RD                                                                             ALLENDALE          SC    29810‐2426
BARBARA L MILLER                                 106 CHRISTY LANE                                                                               KOKOMO             IN    46901‐3840
BARBARA L MITCHELL & DONALD L MITCHELL JT TEN    2424 SW KINGS COURT                                                                            TOPEKA             KS    66614‐5612

BARBARA L MOORE                                  1372 S MERIDIAN                                                                                MASON              MI    48854
BARBARA L MORGAN & DONALD L MORGAN JT TEN        PO BOX 1217                                                                                    CASPER             WY    82601

BARBARA L MORRISON                               10791 CLINTON MACON RD                                                                         TECUMSEH           MI    49286‐9644
BARBARA L MOSIER                                 660 FOX MEADOW RD                                                                              ROCHESTER          NY    14626‐3172
BARBARA L NORTON                                 5709 OVERLEA RD                                                                                BETHESDA           MD    20816‐1918
BARBARA L NOTO                                   71 ROBERT BEST ROAD                                                                            SUDBURY            MA    01776‐2819
BARBARA L NOTTONSON                              ATTN B L FRANK                        S 206                569 N ROSSMORE                      LOS ANGELES        CA    90004‐2452
BARBARA L ORLING                                 8365 WILDWOOD TRAIL                                                                            KISSIMMEE          FL    34747‐1322
BARBARA L PAGACH                                 447 SHILOH CREEK WAY                                                                           INDIANAPOLIS       IN    46234‐9621
BARBARA L PALAZZOLO                              410 NORMA                                                                                      WESTLAND           MI    48186‐3886
BARBARA L PALM & DAVID W PALM JT TEN             1795 HARTSELL RD                                                                               ELKTON             MI    48731‐9715
BARBARA L PAUL                                   47 HAMILTON ST                                                                                 SAYVILLE           NY    11782‐3203
BARBARA L PEARCE                                 6633 WEST 87TH PLACE                                                                           LOS ANGELES        CA    90045‐3727
BARBARA L PEERY                                  208 NORTH VINE ST                                                                              RICHMOND           VA    23220‐3515
BARBARA L PETERSON                               9333 ACCESS RD                                                                                 BROOKVILLE         OH    45309‐9649
BARBARA L PINSON                                 538 HARRIET ST                                                                                 DAYTON             OH    45408‐2026
BARBARA L POWERS                                 58 GRANT PL                                                                                    THORNWOOD          NY    10594‐1404
BARBARA L REED                                   5273 FARM RD                                                                                   WATERFORD          MI    48327‐2421
BARBARA L REESE                                  10325 JOHN EAGER CT                                                                            ELLICOTT CITY      MD    21042‐1600
BARBARA L RIGNEY                                 7719 HARSHMANVILLE RD                                                                          DAYTON             OH    45424‐2144
BARBARA L RITTER                                 249 DEERHURST LANE                                                                             WEBSTER            NY    14580‐2783
BARBARA L ROBERTS                                1508 SW 90TH STREET                                                                            OKLAHOMA CITY      OK    73159‐7104
BARBARA L ROWE                                   54 SHARPSTEAD LANE                                                                             GAITHERSBURG       MD    20878
BARBARA L RUTKOWSKI                              48428 JEFFERSON                                                                                NEW BALTIMORE      MI    48047‐2216
BARBARA L SAVIDGE                                124 15 WESTFIELD LAKES CIRCLE                                                                  WINTER GARDEN      FL    34787‐5273
BARBARA L SEEGERT                                382 KELBURN RD                        APT 124                                                  DEERFIELD          IL    60015‐4372
BARBARA L SIMMONS                                6143 HEMPWOOD AVE                                                                              CINCINNATI         OH    45224‐2651
BARBARA L SKWARA                                 144 OAKLAND DR                                                                                 EAST LANSING       MI    48823‐4715
BARBARA L SMITH                                  9561 WESTWOOD ST                                                                               DETROIT            MI    48228‐1671
BARBARA L SMITH                                  2034 CHELSEA LN                                                                                TRAVERSE CITY      MI    49684‐7084
BARBARA L SNIP                                   15‐286 HAMILTON DRIVE                 ANCASTER ON                            L9G 4W6 CANADA
BARBARA L SOULES                                 3614 SHADYSIDE DRIVE                                                                           ERLANGER           KY    41018‐2159
BARBARA L STACK                                  13896 ALLEN ROAD #1                                                                            ALBION             NY    14411‐9253
BARBARA L STALEY                                 530 DUNNIGAN DRIVE                                                                             VANDALIA           OH    45377‐2621
BARBARA L STONE                                  2256 SPANISH DRIVE #8                                                                          CLEARWATER         FL    33763‐2929
BARBARA L SULLIVAN                               209 LONGVIEW DR                                                                                CENTERVILLE        MA    02632‐1988
BARBARA L SWAIN                                  227 ASHRIDGE LN                                                                                NEWPORT NEWS       VA    23602‐8304
BARBARA L SYKES                                  4710 ADRIATIC DR                                                                               CHARLOTTE          NC    28227‐6000
BARBARA L SZEMARDI                               8320 NE SANDY BLVD                    APT 208                                                  PORTLAND           OR    97220‐5074
BARBARA L TART & CHARLES L TART JT TEN           2925 LARKIN ROAD                                                                               BOOTHWYN           PA    19061‐2508
BARBARA L TATE                                   1205 PIPER RD                                                                                  MANSFIELD          OH    44905‐1352
BARBARA L THORN TR UA 11/05/91 THE BARBARA L     106 PARKSIDE RD                                                                                SILVER SPRINGS     MD    20910‐5456
THORN TRUST
BARBARA L TODD                                   1215 KINGSLAND RD                                                                              RICHMOND           VA    23231‐8351
BARBARA L TULOCK                                 308 E LAFAYETTE ST                                                                             STURGIS            MI    49091‐1120
BARBARA L VLAHAKIS                               1750 HITCHING POST                                                                             E LANSING          MI    48823‐2144
BARBARA L WACKER                                 PO BOX 1571                                                                                    BROKEN ARROW       OK    74013
                                         09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                    Part 1 of 8 Pg 330 of 850
Name                                          Address1                               Address2                     Address3   Address4          City             State Zip

BARBARA L WALLACE                             11646 FREDERICK PIKE                                                                             VANDALIA        OH     45377‐9790
BARBARA L WENZLICK                            2215 ARCH RD                                                                                     EATON RAPIDS    MI     48827‐8227
BARBARA L WHITTAKER                           1594 HERONWOOD CT                                                                                BLOOMFIELD TWSP MI     48302‐0832

BARBARA L WIDRIG                              3205 YOUNG ST                                                                                    JAMESTOWN        NY    14701‐9705
BARBARA L WONTKOWSKI                          15630 BONO DR                                                                                    CLINTON TOWNSHIP MI    48038‐1804

BARBARA L YEATMAN                             326 WOODVIEW ROAD                                                                                WEST GROVE       PA    19390‐9211
BARBARA L ZABEL                               76 PENNSBURY WAY                                                                                 EAST BRUNSWICK   NJ    08816‐5278
BARBARA L ZELNER                              4201 CATHEDRAL AVE NW 1008 E                                                                     WASHINGTON       DC    20016‐4918
BARBARA LADD BERRY                            679 HILLCREST DRIVE                                                                              CARLISLE         PA    17013‐4335
BARBARA LAMAY HURTADO                         2937 E WALTON BLVD                                                                               AUBURN HILLS     MI    48326‐2561
BARBARA LANDIS                                880 RODGERS AVE                                                                                  WARRINGTON       PA    18976‐2111
BARBARA LARICK                                C/O BARBARA SMITH                      205 SHEARWATER CT W APT 22                                JERSEY CITY      NJ    07305‐5419
BARBARA LECLAIR                               278 BRITANNIA ST APT 6                                                                           MERIDEN          CT    06450‐2254
BARBARA LEE BLUNK                             8040 E VASSAR DR                                                                                 DENVER           CO    80231‐7624
BARBARA LEE BONNIWELL                         ATTN BARBARA LEE WILLIAMS              2129 KENDALL WAY NW                                       ACWORTH          GA    30102‐7965
BARBARA LEE CHENOWETH                         PO BOX 44                                                                                        SPRINGFIELD      CO    81073‐0044
BARBARA LEE COLGROVE                          3923 DEMERY DRIVE EAST                                                                           JACKSONVILLE     FL    32250‐1927
BARBARA LEE HADDOX                            3593 LANSDOWNE DR                                                                                LEXINGTON        KY    40517‐1403
BARBARA LEE HARRIS                            111 CLAIRE RD                                                                                    SYRACUSE         NY    13214‐1907
BARBARA LEE NOVOTNY                           ATTN BARBARA NOVOTNY WALLER            413 OLEY ST                                               READING          PA    19601‐2531
BARBARA LEE PATTERSON                         247 VESTAL RD                                                                                    PLAINFIELD       IN    46168‐1263
BARBARA LEE SZYMASZEK                         ATTN BARBARA LEE FANNING               33 WILLIEB ST                                             GLASTONBURY      CT    06033‐3043
BARBARA LEE TRAINER                           1300 FIELDPOINT DR                                                                               WEST CHESTER     PA    19382‐8229
BARBARA LEHRER                                37 D HERITAGE DR                                                                                 NEW CITY         NY    10956‐5343
BARBARA LEMAN                                 3637 QUAIL HOLLOW DRIVE                                                                          COLUMBUS         OH    43228‐9392
BARBARA LESIC                                 410 STEVENS BLVD                                                                                 RICHMOND         OH    44143‐1724
                                                                                                                                               HEIGHTS
BARBARA LESLIE RESNICK                        7 OVERHILL LN                                                                                    ROSLYN           NY    11576‐1407
BARBARA LESTZ CUST ROBIN H LESTZ UGMA PA      1375 DAWN DRIVE                                                                                  MAPLE GLEN       PA    19002‐3146
BARBARA LEVY                                  341 SWAN DR                                                                                      BRANDON          MS    39047‐6730
BARBARA LEWIS MCQUAID                         4696 LARAMIE GATE COURT                                                                          PLEASONTON       CA    94566‐4568
BARBARA LEWY                                  30 REGENT DRIVE                                                                                  LONG BEACH       NY    11561‐4923
BARBARA LIBERTI                               197 RUTGERS AVE                                                                                  MANAHAWKIN       NJ    08050‐2947
BARBARA LIBERTI & FRANK LIBERTI JT TEN        197 RUTGERS AVE                                                                                  MANAHAWKIN       NJ    08050‐2947
BARBARA LIEBERMAN CUST MAX DANIEL LIEBERMAN   25 ASTOR CT                                                                                      COMMACK          NY    11725‐3723
UGMA NY
BARBARA LIGGONS                               546 SHASTA DR                                                                                    TOLEDO           OH    43609‐1955
BARBARA LILLIEN & LAUREN LILLIEN JT TEN       1065 HIGHLAND PL                                                                                 WOODMERE         NY    11598‐1111
BARBARA LINCOLN                               1500 CHEVRON DRIVE                                                                               ATLANTA          GA    30350‐4421
BARBARA LINCOLN HALL                          BOX 3479                                                                                         MERIDIAN         MS    39305‐1902
BARBARA LINDSAY                               13619 DRONFIELD AVE                                                                              SYLMAR           CA    91342‐1429
BARBARA LIPKIN                                3815 SPRING BLVD                                                                                 EUGENE           OR    97405‐5806
BARBARA LIST METZGER                          3355 SPRING VALLEY RD                                                                            AKRON            OH    44333‐1239
BARBARA LIZETTE                               218 BARNHART RD                                                                                  MASSENA          NY    13662
BARBARA LLOYD & RAYMOND J LLOYD JT TEN        PO BOX 762                                                                                       BASYE            VA    22810‐0762
BARBARA LOEB & HERMAN LOEB TR UA 10/06/2009   46 OCASO DR                                                                                      ASHEVILLE        NC    28806
BARBARA LOEB LIVING TRUST
BARBARA LOFTEN CUST TRAVIS L LOFTEN UTMA WI   W 3332 4TH ST                                                                                    EAST TROY CENTER WI    53120‐1723

BARBARA LONELLE TAYLOR                        103 MARKHAM PL                                                                                   PORTLAND         TX    78374‐1417
BARBARA LOO                                   APT 1                                  65 PARK DRIVE                                             BOSTON           MA    02215‐5207
BARBARA LORKOVIC                              402 STEVEN BLVD                                                                                  RICHMOND HTS     OH    44143‐1724
BARBARA LOUISE MAKI                           36420 AUGUSTANA DR                                                                               BATTLE LAKE      MN    56515‐9346
BARBARA LUCAS                                 527 SIR ARTHUR CT                                                                                APOPKA           FL    32712‐3618
BARBARA LUNDY LUMBIE                          22 LEE LANE                            HEX ACRES R D 1                                           HARDING          PA    18643‐9606
BARBARA LUTZ                                  248 WEST 870 NORTH                                                                               LOGAN            UT    84321‐7819
BARBARA LYNN CARSON                           3124 BEETHOVEN WAY                                                                               SILVER SPRING    MD    20904‐6860
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 331 of 850
Name                                             Address1                               Address2               Address3        Address4          City               State Zip

BARBARA LYNN MARCY                               18 PINEBROOK RD                                                                                 TOWACO             NJ    07082‐1429
BARBARA LYNN MELTZER                             9 POWDERHORN ST                                                                                 HOUSTON            TX    77024‐5124
BARBARA LYNN STELZER                             65 PARK TERRACE WEST                   APT 7E                                                   NEW YORK           NY    10034
BARBARA LYNN STRICKLAND                          151 PURCELL DR                                                                                  ALAMEDA            CA    94502‐6551
BARBARA LYNN ULRICH                              C/O BARBARA L HOLM                     2118 SO GARRISON                                         LAKEWOOD           CO    80227‐2258
BARBARA LYNN WEATHERFORD                         42 EVERITTSTOWN RD                                                                              FRENCHTOWN         NJ    08825
BARBARA LYNN WEBER                               2030 NORTH PINETREE                                                                             ARLINGTON          IL    60004‐3234
                                                                                                                                                 HEIGHTS
BARBARA LYNNE NELSON                             75‐15 35TH AVE APT B6                                                                           JACKSON HTS        NY    11372‐8103
BARBARA LYNNE WILLIAMS                           9996 S UNION RD                                                                                 MIAMISBURG         OH    45342‐4610
BARBARA M BACZEWSKI                              36653 CHENE DRIVE                                                                               STERLING HEIGHTS   MI    48310‐4528

BARBARA M BARBANO                                  114 BOOREAM AVE                                                                               MILLTOWN           NJ    08850
BARBARA M BELLETINI & DAVID P BELLETINI & DENNIS E PO BOX 40555                                                                                  REDFORD            MI    48240‐0555
BELLETINI JT TEN
BARBARA M BIRD                                     21 CONDON ST                                                                                  BELFAST            ME    04915‐6701
BARBARA M BLANCHARD & DECATUR BLANCHARD JT         116 MCMILLAN AVE                                                                              WALLACE            NC    28466‐3131
TEN
BARBARA M BLOMME & GERARD J BLOMME & SHARON 13073 ROXBURY                                                                                        STERLING HTS       MI    48312
K BLOMME JT TEN
BARBARA M BOVINO                                   19W045 CHATEAUX N                                                                             OAK BROOK          IL    60523‐1660
BARBARA M BREAM                                    561 CONGRESS PKWY                                                                             LAWRENCEVILLE      GA    30044‐4576
BARBARA M BURGESS                                  9611 47TH AVE SW                                                                              SEATTLE            WA    98136
BARBARA M CARLINE                                  C/O TONI MCBRIDE                     9398 ORTONVILLE ROAD                                     CLARKSTON          MI    48348‐2851
BARBARA M CASSIS                                   2412 S IZAAK WALTON ROAD 200E                                                                 KOKOMO             IN    46902
BARBARA M CLANCY                                   106 OLD CHARTER RD                                                                            MARLBORO           MA    01752‐7304
BARBARA M COBLE CUST KATHERINE ANNE COBLE          6638 CHERBOURG CIRCLE                                                                         INDIANAPOLIS       IN    46220‐6015
UGMA IN
BARBARA M COLLINS                                  28562 CEDAR RIDGE RD                                                                          TRABUCO CYN        CA    92679‐1123
BARBARA M COTE                                     42720 PLYMOUTH HOLLOW DRIVE                                                                   PLYMOUTH           MI    48170‐2563
BARBARA M CRUBAUGH                                 416 KELLOGG APT 62                                                                            ANN ARBOR          MI    48105‐1642
BARBARA M DAVIS                                    14901 LINDSAY                                                                                 DETROIT            MI    48227‐4401
BARBARA M DEBENPORT                                651 LAKERIDGE DR                                                                              FAIRVIEW           TX    75069
BARBARA M DEVINE                                   6 GREEN WAY UNIT 102                                                                          WAYLAND            MA    01778‐2617
BARBARA M DOLL                                     930 CHESTER RIVER DR                                                                          GRASONVILLE        MD    21638‐1005
BARBARA M DOMINGUE                                 809 E BUTCHER SWITCH RD                                                                       LAFAYETTE          LA    70507‐3910
BARBARA M DONELIK                                  96 MALLARD RD                                                                                 MIDDLETOWN         NJ    07748‐2950
BARBARA M DUNCAN                                   6203 BAYVIEW AVE                                                                              BEACH HAVEN        NJ    08008‐3707
BARBARA M DURAN                                    6805 TUSCANY LANE                                                                             EAST AMHERST       NY    14051‐2316
BARBARA M FECHTEL                                  693 WINCHESTER                                                                                YOUNGSTOWN         OH    44509‐1857
BARBARA M FINLEY                                   111 LOWER WARNER ROAD                                                                         NORWICH            NY    13815‐3440
BARBARA M FORTINI                                  11 ALTAIR COURT                                                                               TURNERSVILLE       NJ    08012‐2406
BARBARA M FRASIER                                  4679 HEATHERBROOK DR                                                                          TROY               MI    48098‐4666
BARBARA M GRANATO TR ELEANOR LEIGER                104 DANIEL DRIVE                                                                              LIVERPOOL          NY    13088‐5603
IRREVOCABLE TRUSTUA 06/17/03
BARBARA M GREENLAW                                 27 BUNKER AVE                                                                                 FAIRFIELD          ME    04937‐1501
BARBARA M HAILEY                                   719 CIDERBROOK RD                                                                             HOCKESSIN          DE    19707‐1307
BARBARA M HART                                     4627 FRANKLIN TRL                                                                             STERLING           MI    48659‐9427
BARBARA M HARTEL                                   607 THIRD STREET                                                                              MARIETTA           OH    45750‐2106
BARBARA M HOOVER                                   2124 BROOKHAVEN VW NE                                                                         ATLANTA            GA    30319‐5401
BARBARA M JONES                                    1328 DONSON CIRCLE                                                                            KETTERING          OH    45429‐5758
BARBARA M KIEFER                                   152 TURIN ST                         APT 304                                                  ROME               NY    13440
BARBARA M KING                                     1171 NELSON DR                                                                                MCCOMB             MS    39648‐9729
BARBARA M KNIGHT                                   489 DIAMOND CT                                                                                BRUNSWICK          OH    44212‐1119
BARBARA M KRONER                                   982 CHRYSANN AVE                                                                              GIRARD             OH    44420‐2139
BARBARA M KUCHAR CUST GRANT JOHN KUCHAR UTMA 809 BELLIS PKWY                                                                                     ORADELL            NJ    07649‐2014
NJ
BARBARA M KUCHAR CUST STEPHANIE ELIZABETH          809 BELLIS PARKWAY                                                                            ORADELL            NJ    07649‐2014
KUCHAR UGMA NJ
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 332 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

BARBARA M KUZBYT                                 4 SWEET WILLIAM CT                                                                            HOMOSASSA         FL    34446‐5137
BARBARA M LANDRY                                 3 RIVER BEND                                                                                  YARMOUTH          ME    04096‐7742
BARBARA M LEVERT                                 1625 VALMONT ST                                                                               NEW ORLEANS       LA    70115‐4944
BARBARA M LYONS                                  C/O B L CLANCY                       106 OLD CHARTER RD                                       MARLBORO          MA    01752‐7304
BARBARA M MAC LELLAN                             30512 WOODMONT                                                                                MADISON HTS       MI    48071‐2125
BARBARA M MAGID                                  3000 OCEAN PKWY APT 17L                                                                       BROOKLYN          NY    11235
BARBARA M MAGNANI                                9303 FORDSON RD                                                                               HENRICO           VA    23229‐3011
BARBARA M MARTIN                                 12250 VISTA DEL CAJON ROAD           SPACE #5                                                 EL CAJON          CA    92021‐1635
BARBARA M MATTEI CUST MARNIE MATTEI UTMA WI      213 WINDY HILL RD                                                                             WISCONSIN DELLS   WI    53965‐1836

BARBARA M MATTEI CUST NATALLI MATTEI UTMA WI     213 WINDY HILL RD                                                                             WISCONSIN DELLS   WI    53965‐1836

BARBARA M MC MULLEN                              69 HILLSIDE DRIVE                                                                             ELLINGTON         CT    06029‐2418
BARBARA M MEYER                                  PO BOX 946                                                                                    MATTITUCK         NY    11952‐0917
BARBARA M MONSON & WILLIAM R MONSON JT TEN       1727 CRESTWOOD DR                                                                             ALEXANDRIA        VA    22302‐2307

BARBARA M MOSHER EX UW FRANCIS E MOSHER          11 ANTWERP STREET                                                                             PHILADELPHIA      NY    13673‐4156
BARBARA M MUZZARELLI                             12115 TAMARACK LANE                  14612 ARBORETUM                                          LOCKPORT          IL    60441‐9330
BARBARA M NASSRI                                 7648 NANCY LEE DR                                                                             UTICA             MI    48317‐2424
BARBARA M NOWOSATKO                              13221 BAUMGARTNER RD                                                                          ST CHARLES        MI    48655‐9679
BARBARA M ORLOVSKY                               67 VAN RIPER AVE                                                                              CLIFTON           NJ    07011‐1325
BARBARA M PERKINS & WILLIAM C PERKINS JT TEN     3375 FLEET COVE RD                                                                            BRADFORD          NY    14815‐9619

BARBARA M RAMSEY                                 108 SUNRISE LANE                                                                              SPARTA            NC    28675
BARBARA M RANKIN                                 235 SUMMIT AVE                                                                                PITTSBURGH        PA    15202‐2937
BARBARA M REYNOLDS & WILLIAM R REYNOLDS JR JT    3352 CARMEN                                                                                   WATERFORD         MI    48329‐2700
TEN
BARBARA M ROBISON                                69 ELMWOOD TERRACE                                                                            WEST CALDWELL     NJ    07006‐7942
BARBARA M SCHAEFER                               76 BELL ST                                                                                    BELLVILLE         OH    44813‐1046
BARBARA M SCHALK                                 511 CHATTIN RD                                                                                CANTON            GA    30115‐8241
BARBARA M SEARLES                                77 LIMEWOOD                                                                                   IRVINE            CA    92614‐7579
BARBARA M SISSON                                 28 HICKORY TRAIL                                                                              KITTY HAWK        NC    27949‐3200
BARBARA M SMITH                                  44 DRAKE ROAD                                                                                 SCARSDALE         NY    10583‐6465
BARBARA M SMITH                                  32136 VIA BUENA                                                                               SAN JUAN          CA    92675‐3825
                                                                                                                                               CAPISTRAN
BARBARA M SMYTH & GLENN E SMYTH JT TEN         201 HOWARD ST                                                                                   RIVERTON          NJ    08077‐1235
BARBARA M SOLTESZ                              7215 POORE RD                                                                                   CONNEAUT          OH    44030‐3143
BARBARA M SUTTON                               HC 66 BOX 150‐A‐10                                                                              WARSAW            MO    65355‐9807
BARBARA M TAYLOR CUST ARTHUR FRANCIS TAYLOR JR 39 BURT STREET                                                                                  NORTON            MA    02766‐2569
UGMA MA
BARBARA M TOUPS                                1617 CLAUDIUS ST                                                                                METAIRIE          LA    70005‐1511
BARBARA M TREADWAY                             19563 DAWNSHIRE DR                                                                              BROWNSTOWN        MI    48193‐8517
BARBARA M VALASEK                              17628 FRANCAVILLA LANE                                                                          LIVONIA           MI    48152‐3110
BARBARA M VANDORP                              19576 SLATE DR                                                                                  MACOMB            MI    48044‐1778
BARBARA M VASS                                 3804 E POTTER AVE                                                                               KINGMAN           AZ    86409
BARBARA M WALLACE & WILLIAM C WALLACE 2ND TEN 216 MINISTERIAL RD                                                                               WAKEFIELD         RI    02879‐4810
ENT
BARBARA M WARD & SUSAN W SHAW & MARK A WARD 327 SHIRLEY CT                                                                                     BILOXI            MS    39531‐3440
JT TEN
BARBARA M WATERS                               2210 ANDOVER DR                        APT G                                                    SURFSIDE BEACH    SC    29575‐4838
BARBARA M WENIGMAN                             24639 82ND ST                                                                                   SALEM             WI    53168‐9513
BARBARA M WRIGHT                               1946 LAKE POINTE DR                                                                             ORTONVILLE        MI    48462‐8860
BARBARA M ZELAKIEWICZ                          104 KEMP AVE                                                                                    CHEEKTOWAGA       NY    14225‐4537
BARBARA MACHER & CAROL HICKEY JT TEN           207 BUTTERNUT RD 5                                                                              CALIFON           NJ    07830‐4300
BARBARA MAGINNIS                               1707 CIRCLE DRIVE                                                                               LAKE PLACID       FL    33852‐5752
BARBARA MAGUIRE ASH & CARLTON F ASH JT TEN     112 MACY CIR                                                                                    GOOSE CREEK       SC    29445‐6661
BARBARA MANSFIELD                              48 HILLCREST RD                                                                                 WINDSOR           CT    06095‐3309
BARBARA MARCIN GODFREY                         3 PINECREST DR                                                                                  WILMINGTON        DE    19810‐1414
BARBARA MARIE FULLER                           27353 PINEHURST ST                                                                              ROSEVILLE         MI    48066‐2861
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 333 of 850
Name                                           Address1                               Address2                Address3       Address4          City              State Zip

BARBARA MARIE GRIX                             236 MEADOW LANE CIRCLE                                                                          ROCHESTER HILLS   MI    48307‐3065
BARBARA MARIE SHERIDAN                         C/O SICHAK                             3531 E COMMERCE RD                                       COMMERCE TWP      MI    48382‐1418
BARBARA MARTIN                                 2355 BOISSEAU AVE                                                                               SOUTHOLD          NY    11971‐2941
BARBARA MASON                                  260 WELLINGTON STREET N                WOODSTOCK ON                           N4S 6R9 CANADA
BARBARA MASON & JAMES MASON JT TEN             6651 MT FOREST DR                                                                               SAN JOSE          CA    95120‐1930
BARBARA MAY DRISKO                             1515 PENISTONE                                                                                  BIRMINGHAM        MI    48009‐7211
BARBARA MC CONNELL CUST DOUGLAS MC CONNELL     1682 ASH CT APT 284                                                                             KENT              OH    44240‐7646
UGMA OH
BARBARA MC CONNELL CUST JENNIFER MC CONNELL    10803 LAKE AVE #306                                                                             CLEVELAND         OH    44102‐1251
UGMA OH
BARBARA MC DERMOTT                             2003 BRIARCLIFF                                                                                 SPRINGFIELD       IL    62704‐4125
BARBARA MC DONALD CUST KELLY MC DONALD UGMA    3534 CARNOUSTIE DRIVE                                                                           AUGUSTA           GA    30907‐9504
FL
BARBARA MC GRATH STODDARD                      8516 SIKORSKI                                                                                   DALLAS            TX    75228‐5447
BARBARA MCCARTY TR WILLIAM F & BARBARA R       1425 E CAROLINE LN                                                                              TEMPE             AZ    85284‐3307
MCCARTY TRUST UA 11/30/98
BARBARA MCCLAIN LANE                           588 CAMELOT DR                                                                                  SEYMOUR           IN    47274‐1922
BARBARA MCKAY LANG                             182 KENDALL RD                                                                                  KENDALL PARK      NJ    08824‐1335
BARBARA MCKINZIE                               5954 W SHORE DRIVE                                                                              PENSACOLA         FL    32526‐1537
BARBARA MCKONE & TIMOTHY MCKONE JT TEN         4703 BYRON RD                                                                                   CORUNNA           MI    48817
BARBARA MCMAHON                                500 79TH AVENUE                                                                                 ST PETERSBURG BCH FL    33706‐1722

BARBARA MEIXNER & KATHRYN M PECCOLO JT TEN     9 WOODSTEAD RD                                                                                  BALLSTON LAKE     NY    12019‐1623

BARBARA MELODY ZELAZO                          PO BOX 239                                                                                      WILSON            WY    83014‐0239
BARBARA MELVILLE EXCUTRIX U‐W OF EDWARD J      1340 BAPTIST CHURCH RD                                                                          YORKTOWN          NY    10598‐5802
HURLEY
BARBARA MERRILL CLARKSON                       14 N VIEW TER                                                                                   HAMPDEN           MA    01036‐9665
BARBARA MERRITTS                               3870 SOUTHVIEW STREET                                                                           BEAVERCREEK       OH    45432‐2120
BARBARA MESSNER CUST JOHN MESSNER UTMA IL      8110 MARMORA AVE                                                                                MORTON GROVE      IL    60053‐3325

BARBARA METZLER                                4234 47TH ST NW                                                                                 WASHINGTON       DC     20016‐2458
BARBARA MEYER                                  11788 LIBERTY CHAPEL RD                                                                         MT VERNON        OH     43050‐9657
BARBARA MEYERS                                 1772 VALLEY GREENE RD                                                                           PAOLI            PA     19301‐1035
BARBARA MEYERS                                 2 HORATIO ST                                                                                    NY               NY     10014‐1608
BARBARA MICHELLE HAGMAN                        1755 TAMARACK DR                                                                                MEDINA           MN     55356‐9584
BARBARA MICHELS MORAN                          239 BROOKHAVEN CT                                                                               ACWORTH          GA     30102‐2190
BARBARA MICHNICH                               827 SMTIH ST                                                                                    LINDEN           NJ     07036‐6413
BARBARA MILLER & JANET S COWAN JT TEN          15932 PLYMOUTH DR                                                                               CLINTON TOWNSHIP MI     48038‐1050

BARBARA MILLS                                  ELGIN BAY CLUB                         140 CEDAR ISLAND #215   ORILLIA ON     L3V 1T1 CANADA
BARBARA MILLS                                  36300 MT PLEASANT ROAD                                                                          WILLARDS          MD    21874
BARBARA MILLS WOLFE                            11185 FOREST GLN                                                                                BEAUMONT          TX    77713‐9005
BARBARA MILO & SCOTT MILO JT TEN               5841 CYPRESS RD                                                                                 PLANTATION        FL    33317‐2523
BARBARA MINDEL                                 330 E 79TH ST                                                                                   NEW YORK          NY    10021‐0966
BARBARA MINERS NEWMAN NEWBURGER                10 PARK AVE APT 4KL                                                                             NEW YORK          NY    10016
BARBARA MINTER DOTSON                          2734 DEFORD MILL RD                                                                             OWENS X RDS       AL    35763
BARBARA MINTON                                 83 N BROADWAY #3E                                                                               WHITE PLAINS      NY    10603‐3707
BARBARA MIZRAKHY LAZARUS                       230 ROBERT DR                                                                                   NEW ROCHELLE      NY    10804‐2336
BARBARA MOINET                                 2011 N MERIDIAN RD                                                                              OVID              MI    48866‐9557
BARBARA MONROE                                 890 HONEY CREEK DR                                                                              ANN ARBOR         MI    48103‐1640
BARBARA MORETINA                               1110 SW WINTERBERRY CIR                                                                         OAK GROVE         MO    64075‐7333
BARBARA MORGAN DETJEN                          C/O DAVID W DETJEN                     90 PARK AVE                                              NEW YORK          NY    10016‐1301
BARBARA MORRIS                                 2804 PEDIGO PL                                                                                  THOMPSONS         TN    37179‐9268
                                                                                                                                               STATION
BARBARA MOSS NULL                              6718 MONITOR RD                                                                                 RICHMOND          VA    23225‐1818
BARBARA MOWER                                  645 WELLESLEY ST                                                                                WESTON            MA    02493‐1065
BARBARA MULLER                                 343 COLLEGE ROAD                                                                                BRONX             NY    10471‐3001
BARBARA MURRAY VETOR                           RR #2                                  BOX 279                                                  MONTGOMERY        IN    47558‐9547
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 334 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

BARBARA MUSCATELLA CUST BRANDON J MUSCATELLA     160 DOUGLAS AVE                                                                                YONKERS            NY    10703‐1917
UTMA NY
BARBARA N BERMAN CUST MARCIA S BERMAN UGMA       450 FALLIS RD                                                                                  COLUMBUS           OH    43214‐3773
OH
BARBARA N BOGART & SAM L BOGART JT TEN           1524 E LYNN ST                                                                                 ANDERSON           IN    46016‐1955
BARBARA N FERRELL                                132 GAEWOOD TERRACE                                                                            WHEELING           WV    26003‐5034
BARBARA N KILBOURN                               2255 E WILLARD                                                                                 CLIO               MI    48420‐7702
BARBARA N KOSA                                   BOX 84                                                                                         ELEANOR            WV    25070‐0084
BARBARA N MARSHALL CUST JOSEPH WARREN            115 AIKAHI LOOP                                                                                KAILUA             HI    96734‐1643
MARSHALL UGMA MA
BARBARA N MCKNIGHT                               PO BOX 333                                                                                     BROOKFIELD         OH    44403‐0333
BARBARA N PASSMAN CUST HART PASSMAN UTMA IL      429 W MELROSE ST APT 1W                                                                        CHICAGO            IL    60657‐3878

BARBARA N PEARCE                                 213 MAIN ST                                                                                    CHATHAM            MA    02633‐2423
BARBARA N SPENCER                                5131 E MICHIGAN AVE                                                                            AU GRES            MI    48703‐9470
BARBARA N STEPHENS                               5338 N PARK AVE                                                                                BRISTOLVILLE       OH    44402‐8713
BARBARA N TEASLEY                                24386 HWY 271                                                                                  GLADEWATER         TX    75647‐9034
BARBARA N WEST                                   ATTN BARBARA N CASERIO                8804 GRAPE COVE                                          AUSTIN             TX    78717‐3000
BARBARA N WILLIAMS                               920 HILL PLACE                                                                                 MACON              GA    31210‐3329
BARBARA NANCY HENRICH                            444 FOX HILLS DR N APT 5                                                                       BLOOMFIELD HILLS   MI    48304‐1329

BARBARA NEEFE CUST RICHARD CHARLES NEEFE IV      208 E OAK ST                                                                                   COUDERSPORT        PA    16915‐1535
UGMA PA
BARBARA NELSON                                   ATTN BARBARA NELSON KEMPF             PO BOX 242                                               WIMBERLEY          TX    78676‐0242
BARBARA NESTLER                                  289 CANTERBURY DR W                                                                            PALMBEACH          FL    33418‐7178
                                                                                                                                                GARDENS
BARBARA NEWMAN TR UW BERTHA GLICK NEWMAN         C/O N DEAN HAWKINS                    13 INTREPID CIR                                          ROCKWALL           TX    75087
FBO SYLVAN ROY NEWMAN
BARBARA NEWTON                                   2912 ESSINGTON                                                                                 BLOOMINGTON        IL    61704‐6539
BARBARA NIMROD BENJAMIN                          8700 MORNING MIST DR                                                                           CLARKSTON          MI    48348‐2861
BARBARA NINA DAVIS                               9107 SOUTHEAST SHARON STREET                                                                   HOBE SOUND         FL    33455‐6927
BARBARA NITZBERG‐GREEBEL CUST GENNIFER GREEBEL   40 TOMPKINS ROAD                                                                               SCARSDALE          NY    10583‐2836
UGMA NY
BARBARA NORTH                                    2621 EVERGREEN                                                                                 PORT ARTHUR        TX    77642‐2535
BARBARA O KESSEL                                 6433 FOUNTAINHEAD DR                                                                           DAYTON             OH    45424‐8100
BARBARA O TOLBERT                                536 SCHORES LN                                                                                 BEDFORD            IN    47421‐6733
BARBARA O VANDERLYKE                             2351 CONWAY DR                                                                                 ESCONDIDO          CA    92026‐1496
BARBARA O'C MORTON                               2011 KANAWHA AVE ST                                                                            CHARLESTON         WV    25304‐1021
BARBARA O'CONNELL                                400 E 77TH ST                         APT 5A                                                   NEW YORK           NY    10021‐2348
BARBARA O'DELL                                   518 WESLEY AVENUE                                                                              ELYRIA             OH    44035‐3849
BARBARA O'TOOLE                                  31 GLOUSTER ST                                                                                 CLIFTON PARK       NY    12065
BARBARA OBETTS & DEBORAH A OBETTS JT TEN         1310 BUTH DR NE                                                                                COMSTOCK PARK      MI    49321‐9698
BARBARA ONEIL                                    103 LUTON SE AV                                                                                GRAND RAPIDS       MI    49506‐1571
BARBARA ORESKY                                   29217 HAYES H‐1                                                                                WARREN             MI    48088‐4058
BARBARA OTOS                                     3316 38TH AVE S                                                                                MINNEAPOLIS        MN    55406‐2147
BARBARA P CRAWFORD                               32 KENNEY RD                                                                                   MEDFIELD           MA    02052‐1819
BARBARA P ELLIS                                  17 GARRISON ROAD                                                                               QUEENSBURY         NY    12804‐2001
BARBARA P GORDON                                 8511 RD 95                                                                                     PAULDING           OH    45879‐9402
BARBARA P HELFRICH                               11869 DELFINA LN                                                                               ORLANDO            FL    32827‐7105
BARBARA P HENDRIX                                103 SHIREWOOD PARK                                                                             PEACHTREE CTY      GA    30269‐1160
BARBARA P HORN                                   206 WESTERN AVE                                                                                TOWANDA            PA    18848
BARBARA P JONES                                  270 ALTAIR AVE                                                                                 LOMPOC             CA    93436‐1106
BARBARA P LANE                                   27 GRASMERE                                                                                    PONTIAC            MI    48341‐2819
BARBARA P MORCHOWER                              7231 CURRIN DR                                                                                 DALLAS             TX    75230‐3647
BARBARA P MORSE                                  PO BOX 241                                                                                     PORT CLINTON       OH    43452‐0241
BARBARA P NIESE                                  1501 MAYO DR                                                                                   DEFIANCE           OH    43512‐3319
                                                                                                                                                JUNCTION
BARBARA P PASSALINQUA TOD MARK PASSALINQUA       1729 WOODSIDE DR                                                                               HERMITAGE          PA    16148‐1614
SUBJECT TO STA TOD RULES
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 335 of 850
Name                                             Address1                              Address2                Address3       Address4          City              State Zip

BARBARA P ROGERS                                 1935 FONTAINE RD                                                                               LEXINGTON         KY    40502‐1931
BARBARA P SEIZERT                                11133 BLUESTEM LANE                                                                            EDEN PRAIRIE      MN    55347‐4732
BARBARA P TITAK                                  2644 VESTAL RD                                                                                 YOUNGSTOWN        OH    44509‐1461
BARBARA P YOUNG TR BARBARA P YOUNG REVOCABLE     131R KINGS HIGHWAY                    GOOSE ROCKS BEACH                                        KENNEBUNKPORT     ME    04046
TRUST UA 5/08/06
BARBARA PATRICK JONES                            1507 QUEENS RD                                                                                 KINSTON           NC    28501‐2835
BARBARA PATTON                                   3492 WEST WEMBLEY LN                                                                           KALAMAZOO         MI    49009‐7803
BARBARA PEEL & CHARLES PEEL JT TEN               6 FARNWOOD STREET                     WHITBY ON                              L1R 1M4 CANADA
BARBARA PERDUE                                   2823 FOREST GLEN DR                                                                            BALDWIN           MD    21013‐9574
BARBARA PINCUS                                   31 B ROTHWELL DR                                                                               MONROE TWP        NJ    08831
BARBARA PISANSKY & MICHAEL PISANSKY JT TEN       350 OAKWOOD DR #1                                                                              NEW BRIGHTON      MN    55112‐3353
BARBARA POOR BAKER                               331 PEARL ST                                                                                   CHESTERFIELD      IN    46017‐1608
BARBARA POSS WRIGHT & WILLIAM B WRIGHT JT TEN    9104 AUTUMN OAK COURT                                                                          FAIRFAX STATION   VA    22039‐3345

BARBARA POTTS CUST MARY A POTTS UGMA OH          4937 STATE ROUTE 276                                                                           BATAVIA           OH    45103‐1209
BARBARA POWELL AYERS & JOHN CLINTON AYERS JT     106 SPRINGWOOD LN                                                                              BECKLEY           WV    25801‐9242
TEN
BARBARA POWERS                                   12 WEST BURDA PLACE                                                                            NEW CITY          NY    10956‐7112
BARBARA PRICE COBB                               17660 HIGH RD                                                                                  SONOMA            CA    95476‐4720
BARBARA PRIJIC                                   13 COLE DR                                                                                     NORWICH           NY    13815‐1041
BARBARA PURTHER CUST TONY PURTHER UGMA MI        759 WOODDALE RD                                                                                BLOOMFIELD        MI    48301

BARBARA PUTZ                                     3540 W 79TH ST                                                                                 INDIANAPOLIS      IN    46268‐1916
BARBARA QUINLAN LEE                              203 BITTERSWEET                                                                                SAUTE NACOCHE     GA    30571
BARBARA R ARSHAM CUST ELIZABETH ANN ARSHAM       22364 DOUGLAS RD                                                                               SHAKER            OH    44122‐2041
UTMA OH
BARBARA R BRIDGMAN                               91 RICE'S RIPS ROAD                                                                            OAKLAND           ME    04963‐5228
BARBARA R CAMPBELL                               50 HUMPHREYS LN                                                                                DUXBURY           MA    02332‐4846
BARBARA R CARNEY                                 7766 JOAN DR                                                                                   WEST CHESTER      OH    45069‐3680
BARBARA R CASPER JR CUST BLAIR WINSTON UTMA PA   10562 MACARTHUR BLVD                                                                           POTOMAC           MD    20854‐3837

BARBARA R DANCER                                ATTN BARBARA R BONGIORNO               14 COUNTRY CLUB LN                                       COLTS NECK        NJ    07722‐2222
BARBARA R EGAN TR EGAN FAMILY TRUST UA 01/31/97 18A BENNETT ST                                                                                  MANCHESTER        MA    01944

BARBARA R ERCOLI                                 626 TANGLEWOOD RD                                                                              MATTESON          IL    60443‐2845
BARBARA R FIELDS                                 812 COOPER AVE                                                                                 BELLEFONTAINE     OH    43311‐2612
BARBARA R FINSTAD                                PO BOX 1609                                                                                    HILLTOP LAKES     TX    77871‐1609
BARBARA R FLEMING                                4364 COOK PL                                                                                   DECATUR           GA    30035‐1703
BARBARA R GAY                                    1290 CENTRA VILLA DR SW                                                                        ATLANTA           GA    30311‐3422
BARBARA R HAUSER                                 ROCHESTER TOWERS CONDOMINIUM          APT 806                                                  ROCHESTER         MN    55902
BARBARA R JACKSON                                10938 SAFFRON CT                                                                               ORLAND PARK       IL    60467‐8765
BARBARA R JACKSON                                913 SADDLEBACK COURT                                                                           MCLEAN            VA    22102‐1317
BARBARA R JOHNSON                                11346 OLD LAUREL HILL RD                                                                       ST FRANCISVLE     LA    70775‐5120
BARBARA R KALYNKO                                685 EMERSON AVE                       OSHAWA ON                              L1H 3L2 CANADA
BARBARA R KEENAN                                 ATTN BARBARA K CARLUCCI               11 BRYANT CRES APT 2J                                    WHITE PLAINS      NY    10605‐2728
BARBARA R KENSLER                                31 WESTBROOK WAY                                                                               EUGENE            OR    97405‐2074
BARBARA R KING                                   2156 AMI LANE                                                                                  LEXINGTON         KY    40516‐9602
BARBARA R KYLE                                   2663 AFT AVENUE                                                                                NAPLES            FL    34109‐7617
BARBARA R LOCHERT CUST RAYE ANTHONY LOCHERT      4725 ARCADIA DR                                                                                SANTA ROSA        CA    95401‐5662
UGMA CA
BARBARA R MAIER                                  427 S EDGEWORTH                                                                                ROYAL OAK         MI    48067‐3935
BARBARA R MC MILLAN                              154 LAUREL CT                         OSHAWA ON                              L1G 6M5 CANADA
BARBARA R MCINTYRE                               267 FORTHTON DR                                                                                TROY              MI    48084‐5454
BARBARA R MULRY                                  9139 SOUTH SPRINGFIELD AVE                                                                     EVERGREEN PK      IL    60805‐1459
BARBARA R NICHOLS                                5332 STURBRIDGE CT                                                                             SHEFFIELD VILLAGE OH    44054‐2967

BARBARA R NIRKA                                  485 MOSS FARMS ROAD                                                                            CHESHIRE          CT    06410‐1911
BARBARA R PERLES TR BARBARA R PERLES TRUST UA    3200 NE 36TH ST APT 1010                                                                       FT LAUDERDALE     FL    33308‐6762
12/19/89
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 336 of 850
Name                                             Address1                              Address2              Address3         Address4          City             State Zip

BARBARA R PRESLEY                                2709 ATHENA DR                                                                                 TROY             MI    48083‐2412
BARBARA R ROGUSTA                                7186 JAMAICA LANE                                                                              KALAMAZOO        MI    49002‐9402
BARBARA R SANDERS                                1462 DUBLIN PL                                                                                 UNION            KY    41091‐9617
BARBARA R SCOTT & WALTER J SCOTT JT TEN          655 KENWOOD DRIVE SW                                                                           VERO BEACH       FL    32968‐4030
BARBARA R SIDERS CUST TODD E SIDERS UGMA CA      14708 44TH AVE NW                                                                              GIG HARBOR       WA    98332‐9038

BARBARA R SILER                                11501 E MOVIL LAKE RD NE                                                                         BEMIDJI          MN    56601‐8116
BARBARA R SILER & CHRISTOPHER SILER JT TEN     11501 E MOVIL LAKE RD NE                                                                         BEMIDJI          MN    56601‐8116
BARBARA R SISSON                               477 GIDSVILLE RD                                                                                 AMHERST          VA    24521‐5200
BARBARA R STARR                                6396 E. COURTLAND AV                                                                             FRESNO           CA    93727
BARBARA R STOCKING                             18854 MAGENTA BAY                                                                                EDEN PRAIRIE     MN    55347
BARBARA R TAYLOR                               2314 SIBLEY ST                                                                                   ALEXANDRIA       VA    22311‐5744
BARBARA R THOMSON                              800 DEBORA ST                                                                                    NORTHFIELD       NJ    08225‐1347
BARBARA R TRUE                                 4825 RIVER OAK LANE                                                                              FORT PIERCE      FL    34981‐4423
BARBARA R VIGES                                2011 N MERIDIAN RD                                                                               OVID             MI    48866‐9557
BARBARA R WILSON                               114 GARDEN ST                                                                                    GARDEN CITY      NY    11530‐6509
BARBARA RAAF                                   2273 WELLINGTON CIRCLE                                                                           HUDSON           OH    44236‐3491
BARBARA RANDALL KOSS                           21733 PICADILLY CIR                                                                              NOVI             MI    48375‐4793
BARBARA RANDLE CUST WESLEY KICE RANDLE UTMA MI 15520 16 MILE RD                                                                                 RODNEY           MI    49342‐9625

BARBARA REDD                                     612 DRAKE AVE                                                                                  ROSELLE          NJ    07203‐2249
BARBARA RENDELL                                  1366 AKEN ST                                                                                   PORT CHARLOTTE   FL    33952‐2984
BARBARA RERKO                                    7759 SHAUGHNESSY RD                                                                            MINNEAPOLIS      MN    55439‐2639
BARBARA REVER                                    PO BOX XX                                                                                      CARMEL           CA    93921‐1908
BARBARA REWEY MINER                              1831 SABAL PALM DR                                                                             BOCA RATON       FL    33432‐7426
BARBARA RICE                                     66 HALLIDAY ST                                                                                 ROSLINDALE       MA    02131‐2211
BARBARA RICHARDS                                 171 TONELA LANE                                                                                BARNSTABLE       MA    02637
BARBARA RIGG PRATT                               8480 CRAIG ST                         APT 263                                                  INDIANAPOLIS     IN    46250
BARBARA RIZZO                                    4 PLEASANT AVE                                                                                 ONEONTA          NY    13820‐2112
BARBARA ROBERTS MASON                            6835 LANSDOWNE                                                                                 DIMONDALE        MI    48821‐9431
BARBARA ROMANYCIA                                601 EUGENIE ST EAST                   WINDSOR ON                             N8X 2Y3 CANADA
BARBARA RUBESHA & ANN B RUBESHA JT TEN           8755 JEFFERSON                                                                                 MUNSTER          IN    46321‐2422
BARBARA RUNAC & JOSEPH RUNAC JT TEN              92 POPLAR ST                                                                                   GARDEN CITY      NY    11530‐6517
BARBARA RUNCKEL                                  457 S TEMPLE DR                                                                                MILPITAS         CA    95035‐6037
BARBARA RUTH MORGAN                              2615 DARLINGTON COURT                                                                          CONYERS          GA    30013‐4916
BARBARA S ABRAMS                                 9040 ALEXANDER RD                                                                              BATAVIA          NY    14020‐9506
BARBARA S ALTMAN                                 405 LINDA LANE                                                                                 CABOT            AR    72023
BARBARA S BAILEY                                 10976 E 00 NS                                                                                  GREENTOWN        IN    46936‐9592
BARBARA S BEHAN                                  10 QUINNEHTUK RD                                                                               LONGMEADOW       MA    01106‐2912
BARBARA S BRASINGTON                             9929 FAIRBANKS                                                                                 BELLEVILLE       MI    48111‐3472
BARBARA S BYERS CUST JAMES M BYERS UTMA IL       PO BOX 244                                                                                     O'FALLON         IL    62269‐0244
BARBARA S CALK                                   337 COLONY BLVD                                                                                LEXINGTON        KY    40502‐2504
BARBARA S CALK TR BARBARA S CALK REVOCABLE       337 COLONY BLVD                                                                                LEXINGTON        KY    40502‐2504
LIVING TRUST UA 6/29/05
BARBARA S CALLAGHAN                              1605 WIXOM RD                                                                                  MILFORD          MI    48381‐2468
BARBARA S COHN                                   25 BAYLEY AVE                                                                                  YONKERS          NY    10705‐2943
BARBARA S CORNETT & WILLIAM J CORNETT JT TEN     138 DALEFIELD LOOP                                                                             CROSSVILLE       TN    38558‐7426

BARBARA S CRAWFORD                               111 MARGARETTA                                                                                 STARKVILLE       MS    39759‐2325
BARBARA S DE LABARDINI                           14618 MANSFIELD DAM CT                UNIT 12                                                  AUSTIN           TX    78734‐2016
BARBARA S DELORY                                 4030 BARTLETT AVE                                                                              ROSEMEAD         CA    91770‐1332
BARBARA S DRUMMOND                               1000 WOODLAND AVE                     MARSHALLTON HEIGHTS                                      WILMINGTON       DE    19808‐5756
BARBARA S DUNN TR DUNN FAMILY TRUST UA 6/25/97   493 SAGE SPARROW WAY                                                                           SAN MARCOS       CA    92078‐4444

BARBARA S EDWARDS                                1041 SAND ILAND DR                                                                             MILLER FERRY     AL    36726
BARBARA S ENGLE                                  383‐C CANNON GREEN                                                                             GOLETA           CA    93117‐2837
BARBARA S FISHER                                 709 STOCKLEY GARDENS APT 1                                                                     NORFOLK          VA    23507
BARBARA S FITZPATRICK                            10 KENNEDY LANE                                                                                WEST ISLIP       NY    11795‐5110
BARBARA S FOLSOM                                 3833 5 POINT HWY                                                                               CHARLOTTE        MI    48813
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                      Part 1 of 8 Pg 337 of 850
Name                                            Address1                               Address2                      Address3   Address4          City              State Zip

BARBARA S GARDNER                               3012 PALMER ST                                                                                    LANSING           MI    48910‐2921
BARBARA S GEISER                                123 E HAMTON RD                                                                                   BINGHAMTON        NY    13903‐3112
BARBARA S GREEN                                 1929 EMPRESS CT                                                                                   NAPLES            FL    34110‐8141
BARBARA S GRIESEMER                             626 WINDING TRL                                                                                   GREENWOOD         IN    46142‐1166
BARBARA S GROGAN & KIM J GROGAN JT TEN          614 STEWART ST                                                                                    MORGANTOWN        WV    26505‐3535
BARBARA S HAMMOND                               5304 ROCKPORT STREET                                                                              COLUMBUS          OH    43235‐4047
BARBARA S HENNINGHAM                            6528 SHEETRAM RD                                                                                  LOCKPORT          NY    14094‐7962
BARBARA S HOROWITZ                              1 POND PARK RD                                                                                    GREAT NECK        NY    11023‐2011
BARBARA S JOHNSON                               63 CHRISTIAN ST                        PO BOX 325                                                 WASHINGTON        CT    06794‐0325
                                                                                                                                                  DEPOT
BARBARA S KAMEL                                 529 KIMBALL TURN                                                                                  WESTFIELD         NJ    07090‐2326
BARBARA S KREITZER                              2149 S HELENWOOD DRIV                                                                             DAYTON            OH    45431‐3012
BARBARA S LAMM                                  1370 NC HWY 118                                                                                   VANCEBORO         NC    28586‐8360
BARBARA S LEITER                                230 GARFIELD ST                                                                                   WAYNESBORO        PA    17268‐1126
BARBARA S LINGO                                 3057 S HIGUERA ST #180                                                                            SAN LUIS OBISPO   CA    93401‐6580
BARBARA S LOVSE TR BARBARA S LOVSE REVOCABLE    13700 N FOREST BEACH SHORES RD                                                                    NORTHPORT         MI    49670‐9657
TRUST UA 10/19/00
BARBARA S MACKLIN                               2307 SLEEPY OAKS CIR                   APT 2902                                                   ARLINGTON         TX    76011‐2054
BARBARA S MELIN                                 1119 BAY DRIVE                                                                                    TAWAS CITY        MI    48763‐9315
BARBARA S MOORE                                 1177 WELLINGTON DRIVE                                                                             VICTOR            NY    14564‐1504
BARBARA S MOSELEY & JAMES P MOSELEY JT TEN      7755 US 68 EAST                                                                                   HOPKINSVILLE      KY    42240
BARBARA S MULLALY & ALISA J WINOWIECKI JT TEN   128 RIVER ST BOX 5                                                                                ELK RAPIDS        MI    49629‐9604

BARBARA S MULLEN & MATTHEW C MULLEN JT TEN      7348 KATRIN DR                                                                                    WEST BLOOMFIELD MI      48322‐3559

BARBARA S MURPHY                                421 BREAKSPEARE ROAD                                                                              SYRACUSE          NY    13219‐2315
BARBARA S OTTE                                  2438 PARIS AVE SE                                                                                 GRAND RAPIDS      MI    49507‐3523
BARBARA S PARKS                                 1732 PEMBROKE RD                                                                                  BIRMINGHAM        MI    48009‐5820
BARBARA S RADOSA                                4084 KANE RD                                                                                      MERRILL           MI    48637‐9327
BARBARA S RAMEE                                 5722 CROWNLEIGH CT                                                                                BURKE             VA    22015‐1884
BARBARA S REECE                                 919 CROOKEDSTICK DR                                                                               CRYSTAL LAKE      IL    60014‐8258
BARBARA S RIGGS                                 21282 UNISON RD                                                                                   MIDDLEBURG        VA    20117‐3810
BARBARA S ROBERTSON                             18724 40TH PL NE                                                                                  SEATTLE           WA    98155‐2806
BARBARA S SCHULTE                               125 PRIMROSE PL                                                                                   SAN ANTONIO       TX    78209‐3832
BARBARA S SCHWAB CUST STEPHEN DANIEL SCHWAB     628 REGGIE JACKSON TRAIL                                                                          ROUND ROCK        TX    78664
UGMA MI
BARBARA S SCHWEMMIN                             5425 CHANTILLY                                                                                    SARASOTA          FL    34235‐4629
BARBARA S SCHWEMMIN & GERALD C SCHWEMMIN JT     5425 CHANTILLY                                                                                    SARASOTA          FL    34235‐4629
TEN
BARBARA S SEARLES                               2161 MT HOPE LN                                                                                   TOMS RIVER        NJ    08753‐1438
BARBARA S SEARS                                 27 N COOK ST                                                                                      PLANO             IL    60545‐1462
BARBARA S SEYFARTH                              1209 ARBOR RDG                                                                                    CHAMBERSBURG      PA    17201‐4054
BARBARA S SHAFER                                766 PERKINSWOOD N E                                                                               WARREN            OH    44483‐4412
BARBARA S SIMPSON                               WOODLEA APARTMENTS                     5500 FAIRMONT DRIVE APT 508                                WILMINGTON        DE    19808‐3402
BARBARA S STAMP                                 485 SHARON ST                                                                                     WATERFORD         MI    48328‐2148
BARBARA S TAYLOR                                911 MULBERRY LN                                                                                   MT PLEASANT       MI    48858‐3627
BARBARA S TOLLES                                91 BICKFORD LANE                                                                                  NEW CANAAN        CT    06840‐6104
BARBARA S WIECHERS                              ATTN CHAD A WIECHERS                   1379 POPPY HILLS DR                                        BLACKLICK         OH    43004‐9006
BARBARA S WIESE & KURT M WIESE JT TEN           4645 GOODISON PLACE DR                                                                            ROCHESTER         MI    48306‐1648
BARBARA S YOUNG & JOHN W YOUNG JT TEN           9053 SW 91ST CIR                                                                                  OCALA             FL    34481‐8404
BARBARA S ZIRKLE                                103 FLEETWOOD CT/PO BOX 601                                                                       WHEATLAND         PA    16161‐0601
BARBARA SAAD                                    81 GRAND AVE APT 2‐D                                                                              ENGLEWOOD         NJ    07631‐2902
BARBARA SABATINO                                502 CHASE AVE                                                                                     LYNDHURST         NJ    07071‐2410
BARBARA SADOUSKY BUTLER                         6311 N W 63 WAY                                                                                   PARKLAND          FL    33067‐1517
BARBARA SALAMON RUDOLPH                         19901 S WOODLAND RD                                                                               CLEVELAND         OH    44122‐2866
BARBARA SALTZMAN                                1170 GULF BLVD                         UNIT 306                                                   CLEARWATER        FL    33767‐2780
BARBARA SANISLO                                 4722 VIA DEL RANCHO                                                                               THOUSAND OAKS     CA    91320‐6755
BARBARA SCHAEFER                                4191 GEORGIA ST NW                                                                                MASSILLON         OH    44646
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 338 of 850
Name                                            Address1                               Address2             Address3          Address4          City             State Zip

BARBARA SCHIFF TR BABARA SCHIFF DECLARATION     12921 CREST VIEW DR                                                                             HUNTLEY          IL    60142‐7802
TRUST UA 08/04/98
BARBARA SCHNEIDER CUST AVICHAI SMOLEN UTMA NJ   311 MACK PL                                                                                     NEW MILFORD      NJ    07646‐1234

BARBARA SCHROEDER                               1010 STILLWATER DRIVE                                                                           JUPITER          FL    33458‐6821
BARBARA SEIDEL SWAGERTY                         1602 RIVER OAKS RD                                                                              ABILENE          TX    79605‐4809
BARBARA SELANDER                                225 SEA HILL RD                                                                                 NORTH BRANFORD   CT    06471‐1407

BARBARA SELBERG & BRUCE P SELBERG TR UA 05/01/07 28848 W SUPERIOR DUNES                PO BOX 337                                               GRAND MARAIS     MI    49839
BARBARA SELBERG TRUST
BARBARA SHAW                                     121 SOMERSET RD                                                                                NORWOOD          NJ    07648‐1929
BARBARA SHAYNE                                   23 MYSTIC RIVER SQ                                                                             MYSTIC           CT    06355‐1956
BARBARA SHEPHERD BENNERT                         173 RAY HILL RD                                                                                WILMINGTON       VT    05363‐9776
BARBARA SHERMAN                                  1980 SW 73RD AVE                                                                               PLANTATION       FL    33317‐4930
BARBARA SHERMAN CUST LINDSEY SHERMAN UTMA FL 1980 SW 73RD AVE                                                                                   PLANTATION       FL    33317‐4930

BARBARA SHORT CASTELLANO                        10836 SNOWMASS COURT                                                                            GLEN ALLEN       VA    23060
BARBARA SILMAN CUST HARRY E SILMAN UGMA NY      30 PARK ST 1                                                                                    TUPPER LAKE      NY    12986‐1615

BARBARA SIMMONS                                 24720 MANISTEE                                                                                  OAK PARK         MI    48237‐1766
BARBARA SIMONETTI                               277 ABBEY RD                                                                                    MANHASSET        NY    11030‐2701
BARBARA SIMPSON BLETHROW                        2317 SANDPIPER CT                                                                               OKLAHOMA CITY    OK    73170‐3604
BARBARA SLOVER                                  373 MT PLEASANT AVE                                                                             PROVIDENCE       RI    02908‐3847
BARBARA SMEWING                                 PO BOX 216                                                                                      ROSE CITY        MI    48654‐0216
BARBARA SMITH                                   14 PARTRIDGE RUN                                                                                CHARLESTOWN      RI    02813‐2830
BARBARA SMITH BENCOMO                           3346 DELL GLADE DRIVE                                                                           MEMPHIS          TN    38111‐4716
BARBARA SOKOLNICK & WILLIAM SOKOLNICK JT TEN    979 SINCLAIR AVE                                                                                STATEN ISLAND    NY    10309‐2230

BARBARA SOMMONS                                 319 E SUMMIT AV                                                                                 HADDONFIELD      NJ    08033‐1621
BARBARA SOPHIA TIMOCK & GEORGE PAUL TIMOCK JT   3950 SCENIC RIDGE APT 333                                                                       TRAVERSE CITY    MI    49684
TEN
BARBARA SPENCER                                 10012 8TH ST                                                                                    OSCODA           MI    48750‐1925
BARBARA SPOERRI CUST REID GUNNELL UTMA CA       660 EVERGREEN FARM WAY                 APT 6014                                                 SEQUIM           WA    98382‐5069
BARBARA ST LOUIS                                45 GREENBROOK RD                                                                                GREEN BROOK      NJ    08812‐2637
BARBARA STANGELAND NRA                          924 ORCHID POINT WAY                                                                            VERO BEACH       FL    32963‐9517
BARBARA STANKE                                  2405 NE 32ND PL                                                                                 PORTLAND         OR    97212‐4942
BARBARA STANTON PIES                            947 N KELLOGG AVE                                                                               SANTA BARBARA    CA    93111‐1022
BARBARA STARK SAUNDERS TR UA 10/25/77           1560 BENDER RD                                                                                  CHASKA           MN    55318‐2612
BARBARA STEGUN PHAIR                            177 CLAUDY LN                                                                                   NEW HYDE PARK    NY    11040‐1638
BARBARA STEVESON CUST BRIAN JAMES STEVESON      7885 BELLFLOWER RD                                                                              MENTOR           OH    44060‐4004
UTMA OH
BARBARA STEVESON CUST TIMOTHY MICHAEL           7885 BELLFLOWER RD                                                                              MENTOR           OH    44060‐4004
STEVESON UTMA OH
BARBARA STEWART                                 328 MAGNOLA DRIVE                                                                               ENGLEWOOD        OH    45322‐1259
BARBARA STEWART & MICHAEL STEWART JT TEN        328 MAGNOLIA DRIVE                                                                              ENGLEWOOD        OH    45322‐1259
BARBARA STITT GREENE                            8008 HOLLYRIDGE RD                                                                              JACKSONVILLE     FL    32256‐7106
BARBARA STITZINGER                              5931 RIDGEVIEW DR                                                                               DOYLESTOWN       PA    18901
BARBARA STORM MORRIS                            1901 SHERMAN DR                                                                                 UTICA            NY    13501‐5814
BARBARA STRAUSER                                1801 H SABAL RIDGE COURT                                                                        PALM BEACH       FL    33418‐8921
                                                                                                                                                GARDEN
BARBARA STRIBHEI                                1004 TWIN POINT RD                                                                              HOT SPRINGS      AR    71913‐7013
BARBARA SUE ANDERSON                            67 E SOCIAL ROW ROAD                                                                            CENTERVILLE      OH    45458‐4407
BARBARA SUE ELLIOTT                             C/O BARBARA KERMAN                     448 BUCKTHORN TERR                                       BUFFALO GROVE    IL    60089‐1828
BARBARA SUE ISAACS                              8409 NOTTINGHAM PKWY                                                                            LOUISVILLE       KY    40222‐5361
BARBARA SUE KOWDYN                              16397 RONNIE LANE                                                                               LIVONIA          MI    48154‐2249
BARBARA SUE LOGAN                               7633 MONTGOMERY RD APT 7                                                                        CINCINNATI       OH    45236‐4278
BARBARA SUE OSADCKY                             4378 BROOK AVE                                                                                  EDINA            MN    55424‐1010
BARBARA SULLIVAN SMITH                          236 DIAMOND DR                                                                                  DAYTON           OH    45458‐4946
BARBARA SUPERNAW                                98 TUCKAHOE DR                                                                                  SHELTON          CT    06484‐2709
                                          09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 339 of 850
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

BARBARA SUSAN MINES                             71 S WILLIAMS ST                       #3                                                       BURLINGTON      VT    05401‐1707
BARBARA SUSAN SASMOR                            113 LEAH WAY                                                                                    PARSIPTANY      NJ    07054‐3449
BARBARA SWANSON & EILEEN SWANSON JT TEN         1211 CANDLEWOOD HILL RD                                                                         NORTHBROOK      IL    60062‐4407
BARBARA SWARTWOOD & WILLIAM SWARTWOOD JT        16 LUZERNE ST                                                                                   HANOVER         PA    18702‐3306
TEN                                                                                                                                             TOWNSHIP
BARBARA SWIRLES LUND & EDWIN H LUND JT TEN      4751 GREENTREE DRIVE                   APT # A                                                  BOYNTON BEACH   FL    33436‐4153

BARBARA SWYT                                    84 EAST 199TH ST                                                                                EUCLID          OH    44119‐1006
BARBARA SZYSZKO                                 3328 BAYPORT DR                                                                                 HOLIDAY         FL    34691‐1537
BARBARA T APGAR & GREGORY F RUPPERT & SUSAN M   427 LA GRANDE AVE                                                                               FANWOOD         NJ    07023
RUPPERT JT TEN
BARBARA T BRAUN                                 719 KNORR ST                                                                                    PHILADELPHIA     PA   19111‐4707
BARBARA T COLLINS                               9838 FAIRWAY RIDGE RD                                                                           CHARLOTTE        NC   28277‐8761
BARBARA T DIAMOND & LEO A DIAMOND & PAULA A     7639 GRAYFIELD                                                                                  DEARBORN HEIGHTS MI   48127‐1533
MIES JT TEN
BARBARA T DRAGO CUST SCOTT ROBERT DRAGO UGMA    9 KENMORE RD                                                                                    MELROSE         MA    02176‐2017
MA
BARBARA T FAHEY & M CODY FAHEY JT TEN           446 POST RD                                                                                     WAKEFIELD       RI    02879
BARBARA T GARRISON                              20 GOOD SAMARITAN DR                   APT 506                                                  MOUNTAIN HOME   AR    72653‐9327

BARBARA T GUSTAVSON & RALPH D GUSTAVSON JT TEN PO BOX 1570                                                                                      SHERWOOD        OR    97140‐1570

BARBARA T HARRIS                                5771 DURAND ST                                                                                  DAYTON          OH    45414‐3015
BARBARA T HODGE HARRY E HODGE & DONNA M         17817 SE 84TH SHELDON TER                                                                       THE VILLAGES    FL    32162‐2895
HODGE JT TEN
BARBARA T HODGE HARRY E HODGE & HARRY GLEN      17817 SE 84TH SHELDON TER                                                                       THE VILLAGES    FL    32162‐2895
HODGE JT TEN
BARBARA T HODGE HARRY E HODGE & JAMES A HODGE   17817 SE 84TH SHELDON TER                                                                       THE VILLAGES    FL    32162‐2895
JT TEN
BARBARA T HODGE HARRY E HODGE & PATRICIA L      17817 SE 84TH SHELDON TER                                                                       THE VILLAGES    FL    32162‐2895
HODGE JT TEN
BARBARA T JONES                                 1004 SOUTH LOCUST STREET                                                                        OXFORD          OH    45056‐2529
BARBARA T MAHONEY                               1519 S K ST                                                                                     ELWOOD          IN    46036‐2836
BARBARA T MILLIGAN                              1126 FOUR SEASONS CIR APT 209                                                                   SARASOTA T      FL    34234‐3987
BARBARA T MORRIS                                2611 LAKE OVERLOOK                                                                              MARIETTA        GA    30062‐5389
BARBARA T ROBERTS                               32 BARTLETT ROAD                                                                                EAST HAVEN      CT    06512‐3402
BARBARA T WILLIS & BOB D WILLIS JT TEN          807 HORSEPEN RD                                                                                 RICHMOND        VA    23229‐6724
BARBARA TAVEIRNE                                13741 MAIDSTONE CT                                                                              STERLING HTS    MI    48312‐3327
BARBARA TAYLOR                                  9206 GREENFORD DR                                                                               RICHMOND        VA    23294‐5712
BARBARA THEOHAR & P TIM MIEDERHOFF JT TEN       507 ELIZABETH DR                                                                                ST LOUIS        MO    63119‐4239
BARBARA THEOPHILAKOS                            18 BUCKINGHAM DRIVE                                                                             JACKSON         NJ    08527‐2605
BARBARA THOMSON                                 19302 OUTER DR                                                                                  DEARBORN        MI    48124‐1405
BARBARA TINDEL                                  19 LIGHTHOUSE RD                                                                                KINGS POINT     NY    11024‐1139
BARBARA TIPOLT                                  6795 LINGOR APT #8                                                                              CLARKSTON       MI    48346
BARBARA TOMPKINS                                3205 40TH STREET W                     SANDPOINTE ESTATES                                       BRADENTON       FL    34205‐1230
BARBARA TSAREFF CUST CHRISTOPHER TSAREFF UGMA   6695 WIMBLEDON DR                                                                               INDIANAPOLIS    IN    46077‐9153
IN
BARBARA TSAREFF CUST TAMARA TSAREFF UGMA IN     5646 MEADOWOOD DR                                                                               SPEEDWAY        IN    46224‐3342

BARBARA TUPPER BIERKOE                          1405 NE 14TH TERR                                                                               CAPE CORAL      FL    33909‐1583
BARBARA TURNER                                  1014 LINDBERG RD                                                                                ANDERSON        IN    46012‐2632
BARBARA U PAYSON                                48 THORNHURST PT                                                                                FALMOUTH        ME    04105‐1930
                                                                                                                                                FORESIDE
BARBARA ULLOM VARNER                            1202 WILLOWBROOK DR                                                                             CARY            NC    27511‐4521
BARBARA UNDERWOOD                               5555 GADWALL DR                                                                                 FRISCO          TX    75034‐5065
BARBARA V AMARE                                 109 CONTI CT                                                                                    FAIRHOPE        AL    36532
BARBARA V AMARE CUST CHERYL V AMARE UGMA MI     109 CONTI COURT                                                                                 FAIRHOPE        AL    36532
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 340 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

BARBARA V AMARE CUST DOUGLAS A AMARE UGMA MI 109 CONTI CT                                                                                      FAIRHOPE          AL    36532

BARBARA V ECHEVERRIA                             PO BOX 87                                                                                     SPRUCE HEAD       ME    04859
BARBARA V MANNERING                              520 LAKE DR                                                                                   MIDDLETOWN        DE    19709‐9682
BARBARA V PELOQUIN                               2278 JASMINE WA                                                                               NORTH PORT        FL    34287‐5707
BARBARA V RICHARDSON                             2217 NOLITA CT                                                                                NOLENSVILLE       TN    37135‐5011
BARBARA V TOLER & HAROLD GAY TOLER JT TEN        30021 JOHNSON POINT                                                                           LEESBURG          FL    34748‐9214
BARBARA VINCENT                                  1731 WINDSOR CT                                                                               WENATCHEE         WA    98801‐6247
BARBARA VISSER                                   2024 COLLINGWOOD AVE                                                                          WYOMING           MI    49519‐1648
BARBARA VOLPICELLO                               199 HAMDEN AVE                                                                                STATEN ISLAND     NY    10306‐3414
BARBARA W ANDERSEN                               C/O W A WALLS                        1428 HOURGLASS RD                                        HARTLY            DE    19953‐2807
BARBARA W BLOOM                                  16945 SUNSET LANE                                                                             THREE RIVERS      MI    49093‐9008
BARBARA W BOOS                                   548 OAKDALE DR                                                                                HASLETT           MI    48840‐9718
BARBARA W BRADFORD                               8331 BEA LANE                                                                                 GREENWOOD         LA    71033‐3304
BARBARA W BRIAN                                  10350 N HADLEY COURT                                                                          WHITE BEAR LAKE   MN    55110‐1208
BARBARA W CATES                                  3387 SUBURBAN DR                                                                              DAYTON            OH    45432‐2719
BARBARA W DESGUIN TR WEBSTER TRUST UA 06/19/89   C/O BARBARA W DESGUIN                271 HIGH BANK ROAD                                       SOUTH YARMOUTH    MA    02664‐2315

BARBARA W FROETSCHER                             PO BOX 425                                                                                    CHATHAM           NJ    07928‐0425
BARBARA W GRISHMAN                               3544 CLIFFORD DR                                                                              METAIRIE          LA    70002‐1942
BARBARA W HAYNIE                                 886 RIDGE ROAD                                                                                VIENNA            OH    44473‐9735
BARBARA W HUGG                                   889 14TH AVE SOUTH                                                                            SAFTEY HARBOR     FL    34695‐4121
BARBARA W HULL & LAWRENCE M HULL JT TEN          83 ROUNDING WOOD DR                                                                           WOLFEBORO         NH    03894
BARBARA W LARUE                                  PO BOX 396                                                                                    TYBEE ISLAND      GA    31328
BARBARA W LYON & ROBERT E LYON JT TEN            1104 PRAIRE WIND                                                                              STEPHENVILLE      TX    76401
BARBARA W LYON & ROBERT E LYON JT TEN            1104 PRAIRE WIND                                                                              STEPHENVILLE      TX    76401
BARBARA W MOORE & JANICE W BROUSSARD JT TEN      4828 FLEUR PL                                                                                 DENHAM SPRINGS    LA    70726‐5427

BARBARA W NOBLE                                80 LURLINE DR                                                                                   BASKING RIDGE     NJ    07920‐2619
BARBARA W PARTRIDGE & RICHARD W PARTRIDGE JT   1133 WINDSOR DRIVE                                                                              WEST CHESTER      PA    19380‐4012
TEN
BARBARA W PETERSON & TIMOTHY D PETERSON JT TEN HC 72 BOX 19600                                                                                 DYER              NV    89010‐9716

BARBARA W PIERCE                              191 HUN RD                                                                                       PRINCETON         NJ    08540‐6723
BARBARA W PIRTZ                               5467 ST RT 303                                                                                   NEWTON FALLS      OH    44444‐8508
BARBARA W PLOWMAN TR BARBARA W PLOWMAN        6196 W 9740 N                                                                                    HIGHLAND          UT    84003‐9289
TRUST UA 05/12/93
BARBARA W REYNOLDS                            1850 SW 40TH PLACE                                                                               OCALA             FL    34471‐0168
BARBARA W RUMPF                               3773 N 2525 E                                                                                    LAYTON            UT    84040‐8457
BARBARA W SIXSMITH                            4425 SETTLES BRIDGE RD                                                                           SUWANEE           GA    30024‐1981
BARBARA W SMITH                               120 SALINA LANE                                                                                  GOOSE CREEK       SC    29445‐4813
BARBARA W SULLIVAN                            1366 W BROADWAY                                                                                  MAYFIELD          KY    42066‐1930
BARBARA W TARRYK                              4165 BIRCHWOOD AVE                                                                               SEAL BEACH        CA    90740‐2808
BARBARA W WARD                                3615 N KING                                                                                      OKLAHOMA CITY     OK    73111
BARBARA W WHITE                               1476 HARPSWELL NECK RD                                                                           HARPSWELL         ME    04079‐3221
BARBARA W WILSON TR BARBARA W WILSON TRUST UA 5550 S SOUTH SHORE DR                   APT 510                                                  CHICAGO           IL    60637
08/11/99
BARBARA W YOST                                574 CROWN POINT ROAD                                                                             NEWPORT NEWS      VA    23602‐7007
BARBARA WAITERS                               173 THRUSH LANE                                                                                  HEDGESVILLE       WV    25427‐5729
BARBARA WARNER                                1121 BEDFORD WOODS DR                                                                            TOLEDO            OH    43615‐4331
BARBARA WARNER KING TR UA 11/17/88 BARBARA    750 CHAMBERLAIN                                                                                  FLUSHING          MI    48433‐1774
WARNER KING TRUST
BARBARA WASHBURN & ROBERT C WASHBURN JT TEN 10563 BIG CANOE                                                                                    BIG CANOE         GA    30143‐5128

BARBARA WASSIL                                   79 HARNED AVE                                                                                 HOPELAWN        NJ      08861‐1509
BARBARA WATSON                                   2500 PARK ST                                                                                  ROLLING MEADOWS IL      60008‐1837

BARBARA WEBER                                    28253 MERRIT                                                                                  WESTLAND          MI    48185‐1827
BARBARA WEISBERG & ERWIN WEISBERG JT TEN         42 WILLOW ST                                                                                  BROOKLYN          NY    11201‐1606
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 341 of 850
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

BARBARA WEISE HOLLOWAY                          620 SAND HILL RD #301D                                                                        PALO ALTO        CA    94304‐2073
BARBARA WELLS & KENNETH W WELLS JT TEN          5850 KIMBERLY DR                                                                              BEDFORD HTS      OH    44146‐3004
BARBARA WENTWORTH MONETTE                       45 GREENAWAY ROAD                                                                             ROCHESTER        NY    14610‐3221
BARBARA WHEAT                                   4613 BROMLEY LANE                                                                             RICHMOND         VA    23226‐1201
BARBARA WHITAKER                                1612 DUTCHESS AVE                                                                             KETTERING        OH    45420‐1338
BARBARA WHITBREAD                               39 VALERIE CT                                                                                 SAYVILLE         NY    11782‐2035
BARBARA WIGHTMAN                                2533 NORTH 300 WEST                                                                           SUNSET           UT    84015
BARBARA WILDBORE & KATHY CRINER JT TEN          3491 E WILSON RD                                                                              CLIO             MI    48420‐9776
BARBARA WILKES SHEEHAN                          305 SUDBURY ROAD                                                                              CONCORD          MA    01742‐3422
BARBARA WILLIAMS                                1208 SIOUX TER                                                                                MADISON          TN    37115‐5504
BARBARA WILLIAMSON                              8470 SLEEPY HOLLOW DR NE                                                                      WARREN           OH    44484
BARBARA WILSON                                  835 W LARKSPUR DR                                                                             JEFFERSONVILLE   IN    47130‐4944
BARBARA WISNIEWSKI                              128 CLOUDSONG                                                                                 SANTA TERESA     NM    88008
BARBARA WOLFE BARRIELLE                         13360 HUSTON ST                      APT B                                                    SHERMAN OAKS     CA    91423‐2038
BARBARA WOODHULL                                3 HARBOR ISLAND                                                                               NEWPORT BEACH    CA    92660‐7201
BARBARA WOODS TR UA 09/14/87 BARBARA WOODS      4417 MEADOW CREEK COURT                                                                       SAGINAW          MI    48603
REV TRUST
BARBARA WRIGHT                                  8016 AGNEW AVE                                                                                LOS ANGELES      CA    90045‐1015
BARBARA WRIGHT                                  808 WEST 12TH                                                                                 ANDERSON         IN    46016‐1235
BARBARA WRIGHT                                  361 CR4233                                                                                    BONHAM           TX    75418‐9528
BARBARA WYLIE                                   2464 ACADEMY RD                                                                               HOLLY            MI    48442
BARBARA Y HERNDON & ROBIN D HERNDON JT TEN      830 ANDERSON DR                                                                               PARIS            TN    38242‐9586

BARBARA Y LISTON                                785 SNODGRASS RD                                                                              PIQUA            OH    45356
BARBARA Y ONSGARD                               485 NORTH PEARL ST                                                                            JANESVILLE       WI    53545‐3558
BARBARA Y PETAK                                 2 ARMS BLVD APT 8                                                                             NILES            OH    44446‐5304
BARBARA Y WINNER                                552 SCHOOLHOUSE LANE                                                                          WILLOW GROVE     PA    19090
BARBARA YARDLEY                                 1721 QUAIL CIRCLE                                                                             ROSEVILLE        CA    95661‐3613
BARBARA YUKI                                    18311 CLIFFTOP WAY                                                                            MALIBU           CA    90265‐5627
BARBARA Z BAK                                   38 WOODBRIDGE RD                                                                              BRISTOL          CT    06010‐2371
BARBARANN J EVANS                               433 S KINZER AVE                                                                              NEW HOLLAND      PA    17557‐9360
BARBARANN PATNODE                               25 PLANTATION CIR                                                                             SAULSBURY        TN    38067‐7536
BARBARO A LARRINAGA                             559 SAMANTHA STREET                                                                           LANSING          MI    48910‐5405
BARBAZA F RITCHIE                               10842 LEMARIE                                                                                 CINCINNATI       OH    45241‐2802
BARBER VINTAGE MOTORSPORTS MUSEUM               27 INVERNESS CENTER PKWY                                                                      BIRMINGHAM       AL    35242
BARBERREE P HOLBEN                              315 N LAGRANGE RD                    APT 533                                                  LA GRANGE PK     IL    60526
BARBRA A MAGUIRE CUST AARON T MAGUIRE UGMA      124 LAWRENCE HILL RD                                                                          STAMFORD         CT    06903
OH
BARBRA JO MARKEL                                4041 GRANGE HALL RD LOT 78                                                                    HOLLY            MI    48442‐1921
BARBRA MERKER                                   80 SYLVAN AVE                                                                                 FLANDERS         NY    11901
BARBRA MERKER CUST REBECCA MERKER UTMA NY       80 SYLVAN AVE                                                                                 FLANDERS         NY    11901

BARCLAY E VAN NESS                              33 PAXSON AVE                                                                                 HAMILTON SQ      NJ    08690‐1906
BARCLAY H BLOOMGARDEN                           PO BOX 26                                                                                     CHESTERTOWN      MD    21620‐0026
BARCLAY HAMILTON JR & LOURDES HAMILTON JT TEN   795 NW 155 TERRACE                                                                            PEMBROKE PINES   FL    33028‐1511

BARCLAY HAMILTON JR CUST GABRIELLE HAMILTON     795 NW 155 TERRACE                                                                            PEMBROKE PINES   FL    33028‐1511
UGMA FL
BARCLAY HAMILTON JR CUST PHILIP HAMILTON UTMA   795 NW 155 TERRACE                                                                            PEMBROKE PINES   FL    33028‐1511
FL
BARD N SCOTT                                    2162 BRADY AVE                                                                                BURTON           MI    48529
BARDIAN ASSOCIATES                              410 N TREE ROAD                                                                               CENTEREACH       NY    11720‐1026
BARDIN LEVAVY                                   41 ESSEX RD                                                                                   MAPLEWOOD        NJ    07040‐2338
BARI B BODDEN                                   803 PORTLAND CT                                                                               RICHMOND         TX    77469‐2381
BARI L BOYD                                     PO BOX 1705                                                                                   LEAGUE CITY      TX    77574‐1705
BARI L BOYD CUST NICOLE L BOYD UGMA SC          PO BOX 1705                                                                                   LEAGUE CITY      TX    77574‐1705
BARI T MCDUFFIE CUST DAVID E MCDUFFIE UTMA TN   9832 N HOUSTON OAK DR                                                                         GERMANTOWN       TN    38139‐6918

BARICA HRCEK                                    15 READONA LA                                                                                 PENFIELD         NY    14526‐9512
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 342 of 850
Name                                             Address1                               Address2             Address3          Address4          City               State Zip

BARKLEY ENTERPRISES LP                           415 EAST BANKHEAD ST                                                                            NEW ALBANY         MS    38652
BARLAN G EVARDO                                  314 BOURBON STREET APT A                                                                        HAVRE DE GRACE     MD    21078‐3100
BARNARD T KING                                   6363 BRANDYWINE TRL                                                                             NORCROSS           GA    30092‐4866
BARNE J HODGE                                    2040 GRAMER RD                                                                                  WEBBERVILLE        MI    48892‐9719
BARNET CHIZ DIXIE TOBACCO & CANDY CO             BOX 466                                                                                         SHAW               MS    38773‐0466
BARNETT E MERRELL                                BOX 578                                                                                         ST HELEN           MI    48656‐0578
BARNETT ROBERT FELDMAN                           5726 DAPHNE LANE                                                                                DAYTON             OH    45415‐2646
BARNETTA HUDSON SANFORD                          258 WELDON RD                                                                                   FAYETTEVILLE       GA    30215
BARNEY B HUNT & BILLIE M HUNT JT TEN             119 S MAIN ST                                                                                   ROCKFORD           MI    49341‐1221
BARNEY E MALK                                    6689 HALES CORNER                                                                               STILLMAN VALLEY    IL    61084‐9458
BARNEY EARL MEASELS                              135 SKYLANE                                                                                     PEARL              MS    39208‐4242
BARNEY F BLASS                                   530 S DENWOOD X                                                                                 DEARBORN           MI    48124‐1525
BARNEY J ANDERSON                                4183 EMERALD NORTH DR                                                                           DECATUR            GA    30035‐2750
BARNEY J ELLINGSON                               G 7277 LAPEER RD                                                                                DAVISON            MI    48423
BARNEY J KEDZIOREK                               4442 ROSE MARY DR                                                                               STERLING HTS       MI    48310‐4591
BARNEY J RADFORD                                 200 RUGBY AVENUE                                                                                ROCHESTER          NY    14619‐1140
BARNEY L GILLETTE                                9408 S CORN RD                                                                                  OAK GROVE          MO    64075‐7269
BARNEY L GREEN                                   1443 GITTINGS AV                                                                                BALTIMORE          MD    21239‐1804
BARNEY LEWIS SHARP & MATTIE LOU SHARP JT TEN     418 EAST CENTER ST                                                                              CANTON             MS    39046‐3806

BARNEY M HUTCHENS                                2188 MONACO ST                                                                                  FLINT              MI    48532‐4424
BARNEY NOKES                                     6812 AUMOAE CT                                                                                  DIAMONDHEAD        MS    39525
BARNEY P GAIL                                    9936 ELLIS ST                                                                                   PORTLAND           OR    97266‐4336
BARNEY R HUNT                                    PO BOX 134                                                                                      VADER              WA    98593
BARNEY SHURIN TR BARNEY SHURIN REVOCABLE TRUST   11536 NORSEMAN DR                                                                               MANASSAS           VA    20112‐8672
UA 09/04/98
BARNEY SILVERMAN CUST JOSHUA NATHANIEL           2 WHEELOCK RD                                                                                   SCARSDALE          NY    10583‐6933
SILVERMAN UGMA NY
BARNEY SILVERMAN CUST SARAH PAULINE SILVERMAN    2 WHEELOCK RD                                                                                   SCARSDALE          NY    10583‐6933
UGMA NY
BARNEY W CAMPBELL                                6539 HWY 120                                                                                    ZWOLLE             LA    71486‐2963
BARNEY W GOFORTH                                 40 N WINDING DR                                                                                 WATERFORD          MI    48328‐3067
BARNIE F CASEY                                   6204 HIGHWAY 53                                                                                 HARVEST            AL    35749‐8514
BARON CARTER                                     1375 HULACO RD                                                                                  ARAB               AL    35016
BARON PARKER                                     4480 SHISLER RD                                                                                 CLARANCE           NY    14031‐2116
BARRETT D KURRE & PATRICIA A KURRE JT TEN        1014 CURRAN                                                                                     ST LOUIS           MO    63122‐2815
BARRETT E YOUNG                                  212 W BARNES LK RD                                                                              COLUMBIAVILLE      MI    48421‐9720
BARRETT HARGREAVES SR & JEAN E HARGREAVES TEN    23490 E MORAINE PL                                                                              AURORA             CO    80016
ENT
BARRETT LYNN TOMLINSON                           1243 KIELY BLVD                                                                                 SANTA CLARA        CA    95051‐3822
BARRETT M CANTER                                 PO BOX 271                                                                                      BROOKLINE          MA    02446‐0002
BARRIE A RILEY                                   25102 KATHY CRT                                                                                 FLATROCK           MI    48134‐9414
BARRIE A WELCH                                   7020 RATTALEE LAKE RD                                                                           CLARKSTON          MI    48348‐1826
BARRIE C STEELE                                  1495 BARCLAY DR                                                                                 LAWRENCEVILLE      GA    30043‐2792
BARRIE E GIBSON                                  2133 MOORLANDS VIEW                                                                             HOWELL             MI    48855‐6435
BARRIE P MURPHY                                  14726 BLUE SKIES                                                                                LIVONIA            MI    48154‐4966
BARRIE P MURPHY & DELILAH M MURPHY JT TEN        14726 BLUE SKIES                                                                                LIVONIA            MI    48154‐4966
BARRINGTON D MARTIN                              1454 NORTH AVE                                                                                  ATLANTA            GA    30318‐8116
BARRINGTON S WILLIAMS                            21330 WINCHESTER                                                                                SOUTHFIELD         MI    48076‐5677
BARRINGTONC TYSON                                13766 AMANDA DR                                                                                 STERLING HEIGHTS   MI    48313‐3502

BARRION A HICKS                                  3220 WESTWOOD PKWY                                                                              FLINT              MI    48503‐4679
BARRON D BERGER & MRS RUTH J BERGER JT TEN       25 TURTLE BACK TRAIL                                                                            POINT VEDRA        FL    32082‐2528
                                                                                                                                                 BEACH
BARRON JOHNSON                                   14934 BIRWOOD                                                                                   DETROIT            MI    48238‐1600
BARRY A ARMSTRONG                                1215 PINE ST                                                                                    GRAND LEDGE        MI    48837‐2122
BARRY A CAMPBELL                                 9522 ARROWCREEK DR                                                                              OREGONIA           OH    45054‐9481
BARRY A CIASCHINI                                221 BAYHILLS DRIVE                                                                              HIDEAWAY           TX    75771
BARRY A COYNE                                    4601 MEADOWLAWN                                                                                 PORT HURON         MI    48059‐3551
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 343 of 850
Name                                            Address1                                Address2              Address3         Address4          City             State Zip

BARRY A CRABTREE                                3843 GLEN HILLS                                                                                  HARTLAND         MI    48353‐1103
BARRY A DEATON                                  454 FREEDOM DR                                                                                   MCDONOUGH        GA    30252‐8407
BARRY A EPPINGER                                23 SHELDON COURT                                                                                 EAST HANOVER     NJ    07936‐2406
BARRY A FRIEDMAN                                203 OLIVE PLACE                                                                                  BREA             CA    92821‐5025
BARRY A GOLDBERG TR BARRY A GOLDBERG TRUST UA   838 MICHIGAN APT 3C                                                                              EVANSTON         IL    60202‐2537
03/13/98
BARRY A JOHNSON                                 3701 PRIMAVERA AVE                                                                               LOS ANGELES      CA    90065‐3313
BARRY A MCCLINTON                               PO BOX 11                                                                                        MEAD             WA    99021‐0011
BARRY A POPE                                    10139 N WABASH AVE                                                                               KANSAS CITY      MO    64155‐2965
BARRY A STRINGFIELD                             1610 T B HOSPITAL RD                                                                             BOWLING GREEN    KY    42101‐8913
BARRY A TIPTON                                  4350 MEDIA LN                                                                                    HARTLAND         MI    48353‐1336
BARRY A WADE                                    1510 WANDO VIEW LN                                                                               MT PLEASANT      SC    29464‐7921
BARRY B GERTH                                   3819 KNIGHT STREET                                                                               GLENVIEW         IL    60025‐1234
BARRY B MC GRANE                                6230 SWARTZ RD                                                                                   DANSVILLE        NY    14437‐9716
BARRY B MCGRANE & ALICE H MCGRANE JT TEN        6230 SWARTZ RD                                                                                   DANSVILLE        NY    14437‐9716
BARRY B WYNN                                    11242 SHADYWOOD DRIVE                                                                            BRIGHTON         MI    48114‐9248
BARRY BROWN                                     35 MORNING GLORY LANE                                                                            MARLTON          NJ    08053‐5557
BARRY BRUCK CUST MICHAEL BRUCK UGMA NY          1303 SAINT LAWRENCE DRIVE                                                                        PALM BCH GARDENS FL    33410‐2140

BARRY C CHANEY                                  2008 ROCKBROOK DR                                                                                ARLINGTON        TX    76006
BARRY C FLEMMONS                                48961 27TH ST                                                                                    MATTAWAN         MI    49071‐8744
BARRY C GIBSON                                  15125 RESTWOOD                                                                                   LINDEN           MI    48451‐8771
BARRY C SMITH                                   PO BOX 450                                                                                       CABIN JOHN       MD    20818‐0450
BARRY C VANDERGRIFF                             11538 EAST STATE HWY E                                                                           CADET            MO    63630
BARRY C WEBBER                                  6687 DUNN ROAD                                                                                   HOWELL           MI    48843‐9064
BARRY C WEITZEL                                 2224 SPRING ST                                                                                   WEST LAWN        PA    19609‐1622
BARRY CASLMON                                   9318 ISABELLA LN                                                                                 DAVISON          MI    48423‐2849
BARRY COHEN CUST CHLOE ROSE COHEN UGMA NY       565 MOHAWK ROAD                                                                                  WEST HEMPSTEAD   NY    11552‐3924

BARRY COHEN CUST DEVON MEYER COHEN UGMA NY      565 MOHAWK ROAD                                                                                  WEST HEMPSTEAD   NY    11552‐3924

BARRY COHEN CUST KEITH MAXWELL COHEN UGMA NY 565 MOHAWK RD EAST                                                                                  WEST HEMPTEAD    NY    11552‐3924

BARRY D BECKER                                  131 GLENWOOD BND                                                                                 MADISON          MS    39110‐6571
BARRY D BICKLE                                  935 S MILTON SHOPIERE RD                                                                         JANESVILLE       WI    53546‐8626
BARRY D BLUM                                    2185 FERRY RD                                                                                    BELLBROOK        OH    45305‐9728
BARRY D BOMIER & GAE BOMIER JT TEN              5825 MEADOWS DR                                                                                  CLARKSTON        MI    48348
BARRY D CHILDERS                                14964 E 206TH STREET                                                                             NOBLESVILLE      IN    46060‐9392
BARRY D CONDIE                                  1397 SUGAR RUN                                                                                   VENETIA          PA    15367‐1511
BARRY D FISHBURN                                97 DANIEL ST                                                                                     DOVER            NJ    07801‐2053
BARRY D FORRO                                   4301 BREEN RD                                                                                    EMMETT           MI    48022‐2801
BARRY D GROSS                                   28 E SOUTHINGTON AVE                                                                             WORTHINGTON      OH    43085‐3635
BARRY D LEIWANT                                 APT 8B                                  375 RIVERSIDE DRIVE                                      NEW YORK         NY    10025‐2127
BARRY D MAXWELL & CONNIE L MAXWELL JT TEN       6606 VALLEY MILLS AVENUE                                                                         INDIANAPOLIS     IN    46241‐9629
BARRY D MUSSER                                  6717 MACK                                                                                        ST JOSEPH        MO    64504‐2030
BARRY D PATTON                                  600 AUBUCHON RD                                                                                  TROY             MO    63379‐4312
BARRY D PIERSOL                                 528 MCKINLEY DR                                                                                  BOWLING GREEN    OH    43402‐1539
BARRY D RACHUBA                                 4384 JEAN RD                                                                                     BAY CITY         MI    48706‐2204
BARRY D SCOTT                                   402 EAST 37TH                                                                                    INDIANAPOLIS     IN    46205‐3530
BARRY DAVID COHEN                               13702 LAMBERTINA PL                                                                              ROCKVILLE        MD    20850‐5437
BARRY DAVID KAYE                                1211 EDRIS DR                                                                                    LOS ANGELES      CA    90035‐1113
BARRY DAVID ROSE                                1450 LOGAN                                                                                       DENVER           CO    80203‐1911
BARRY DOOLEY                                    15311 CORNUTA AVE                                                                                BELLFLOWER       CA    90706‐3909
BARRY E ADKINS                                  6404 WILSON                                                                                      WATERFORD        MI    48329‐3175
BARRY E CARTER                                  139 W ROBINSON ST                                                                                JACKSON          MI    49203‐4235
BARRY E CHILDS                                  5271 PRIMROSE AVE                                                                                INDIANAPOLIS     IN    46220‐3314
BARRY E HOBBS                                   5138 ROTHERFIELD COURT                                                                           CHARLOTTE        NC    28277‐2661
BARRY E HOLLIS                                  1420 KNOWLTON ST                                                                                 CINCINNATI       OH    45223‐2127
BARRY E ROSENBLATT                              177 TAMPA AVE                                                                                    ALBANY           NY    12208‐1430
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 344 of 850
Name                                          Address1                               Address2             Address3          Address4             City             State Zip

BARRY E SCHWABE                               6309 EXCELSIOR BOULEVARD                                                                           ST LOUIS PARK    MN    55416‐2726
BARRY E STONE & JACK R STONE JR JT TEN        7601 CHURCHILL WAY APT 1717                                                                        DALLAS           TX    75251
BARRY E SWARTZ                                391 CASTLEBURY DR                                                                                  SALINE           MI    48176‐1473
BARRY E SWARTZ & JEANETTE L SWARTZ JT TEN     391 CASTLEBURY DR                                                                                  SALINE           MI    48176‐1473
BARRY EDWARD MCQUADE                          303 1/2 E CHERRY ST                                                                                KISSIMMEE        FL    34744‐4225
BARRY EUGENE REYNOLDS                         1416 MT RANIER                                                                                     LEXINGTON        KY    40509
BARRY F BEZEAU                                3370 LAKESHORE DRIVE                                                                               MONROE           MI    48162‐4432
BARRY F BRATSPIS                              1200 WEST AVENUE #407                                                                              MIAMI BEACH      FL    33139
BARRY F HAMMOND                               43 ALLEN AVE                                                                                       ASHEVILLE        NC    28803‐2101
BARRY F HICKEY                                328 E RUSSET WAY                                                                                   PALATINE         IL    60067‐3457
BARRY F STRIETER                              6243 CENTER ST                                                                                     UNIONVILLE       MI    48767‐9785
BARRY F WOOD                                  363 SIMCOE N UNIT 102                  OSHAWA ON                              L1G 4T2 CANADA
BARRY FAHMER                                  17042 RIDGE RD                                                                                     HOLLEY           NY    14470‐9369
BARRY FINDLEY & MRS BETTY FINDLEY JT TEN      3424 OLD CANTRELL RD                                                                               LITTLE ROCK      AR    72202‐1860
BARRY FORMAN                                  155 MERION WAY                                                                                     HAINESPORT       NJ    08036‐2785
BARRY G ADAIR                                 RR 2 BOX 215                                                                                       ADRIAN           MO    64720‐9412
BARRY G COATS                                 1422 S BARNES AVE                                                                                  SPRINGFIELD      MO    65804‐1702
BARRY G COLE                                  3630 MALTBY ROAD                                                                                   OAKFIELD         NY    14125‐9405
BARRY G DONAHOO                               18196 GIFFORD RD                                                                                   WELLINGTON       OH    44090‐9732
BARRY G FISHER                                PO BOX 15695                                                                                       LOVES PARK       IL    61132‐5695
BARRY G LA LONDE                              1513 E KALAMAZOO ST                                                                                LANSING          MI    48912‐2401
BARRY GERARD RULE                             3764 LANCASTER DR                                                                                  PINCKNEY         MI    48169‐9351
BARRY GOUGHAN CUST PAUL SHEEHAN GOUGHAN       26 WHISPERING LN                                                                                   HOLLISTON        MA    01746‐1493
UGMA MI
BARRY GUGGENHEIMER                            1609 MEARS AVE                                                                                     CINCINNATI       OH    45230
BARRY H FREEDMAN                              7212 E INSPIRATION DR                                                                              PARKER           CO    80138‐8605
BARRY H GOLD & MRS HELENE K GOLD JT TEN       11 CRAIG RD                                                                                        FRAMINGHAM       MA    01701‐7601
BARRY H KENT & MRS MAUREEN M KENT JT TEN      1686 ALINE DR                                                                                      GROSSE POINTE    MI    48236‐1004
                                                                                                                                                 WOOD
BARRY H LIEBER                                1 THE PROMENADE                                                                                    NEW CITY         NY    10956‐4122
BARRY H PILSON                                21 CYPRESS POINT CT                                                                                NEW ORLEANS      LA    70128‐3628
BARRY H PORTER                                114 FOUNTAIN ST                                                                                    BANGOR           ME    04401‐3848
BARRY H SCHNEIDER                             125 CENTRAL ST                                                                                     MANSFIELD        MA    02048‐1309
BARRY HARTIGAN                                7600 S W 3RD PLACE                                                                                 GAINESVILLE      FL    32607‐6509
BARRY HASTINGS                                25392 BUTLER MILL DR                                                                               SEAFORD          DE    19973‐6776
BARRY HERMAN                                  107‐25 METROPOLITAN AVE                                                                            FOREST HILLS     NY    11375‐6820
BARRY HOLZNAGLE                               1203 BIRCH AVENUE                                                                                  WANAMASSA        NJ    07712‐4513
BARRY HOWE                                    19 MOORESFIELD LANE                    CAMDEN                                 NSW 2570 AUSTRALIA
BARRY J BERLIN                                9198 ALPINE BLISS ST                                                                               LAS VEGAS        NV    89123‐2978
BARRY J BRANDT                                312 TAHLEQUAH DR                                                                                   LOUDON           TN    37774‐3174
BARRY J BRANDT & JANICE M BRANDT JT TEN       312 TAHLEQUAH DR                                                                                   LOUDON           TN    37774‐3174
BARRY J DONOHUE CUST KATLYN DONOHUE UGMA NY   77 BROAD ST                                                                                        TONAWANDA        NY    14150‐2231

BARRY J DONOHUE CUST MICHAEL DONOHUE UGMA NY 77 BROAD ST                                                                                         TONAWANDA        NY    14150‐2231

BARRY J HALL                                  9555 RIDGE HWY                                                                                     BRITTON          MI    49229‐9591
BARRY J HATTEM                                18145 ERIK CT                          UNIT 227                                                    CANYON CNTRY     CA    91387‐4901
BARRY J LOOP                                  BOX 264                                                                                            SIDELL           IL    61876‐0264
BARRY J NICHOLS                               534 HALIFAX CIRCLE                                                                                 CINCINNATI       OH    45244‐1866
BARRY J RATZLAFF                              3000 CORTE PORTOFINO                                                                               NEWPORT BEACH    CA    92660
BARRY J SCHIMMEL                              182 W BROAD ST                                                                                     BERGENFIELD      NJ    07621‐2802
BARRY J SHEREMETA                             520 BASKET ROAD                                                                                    WEBSTER          NY    14580‐9610
BARRY J VERVILLE                              100 MCGINNIS RD                                                                                    WADDINGTON       NY    13694‐3169
BARRY J ZADWORNY                              565 FLOCK ROAD                                                                                     HAMILTON SQURE   NJ    08690‐1337

BARRY JAY DOST                                6502 AIROSO AVE                                                                                    SAN DIEGO        CA    92120‐4809
BARRY JAY KIRSHNER                            11157 SANDYSHELL WAY                                                                               BOCA RATON       FL    33498‐4914
BARRY JAY WIENER                              6873‐G GLENLAKE PARKWAY                                                                            ATLANTA          GA    30328‐7229
BARRY K KISTNER                               58574 WILLOW DRIVE                                                                                 COLON            MI    49040‐9515
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 345 of 850
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

BARRY K LASLEY                                    8790 NORTH GREEN LASLEY                                                                          TRAFALGAR       IN    46181
BARRY K MARGESON CUST CHRISTOPHER A MARGESON      103 WOODSMEADOW LANE                                                                             ROCHESTER       NY    14623
UGMA NY
BARRY K MARGESON CUST SAMANTHA A MARGESON         103 WOODSMEADOW LANE                                                                             ROCHESTER       NY    14623
UGMA NY
BARRY K PERKINS                                   64 WESTRIDGE DR                                                                                  CHURCHVILLE     VA    24421‐2647
BARRY K WALUZAK                                   13005 FAIR GREEN DRIVE                                                                           RIVERVIEW       FL    33569‐7031
BARRY K WYLD                                      17187 BRIDLE PATH                                                                                HAMMOND         LA    70403‐4781
BARRY KANTOR & JILL KANTOR JT TEN                 155 PARK AVENUE                                                                                  LEONIA          NJ    07605‐2018
BARRY KENNEDY                                     58 DOCK RD                                                                                       SOUTH AMBOY     NJ    08879
BARRY KURTZ & BEVERLY KURTZ TR KURTZ TRUST UA     4840 WODDLEY AVE                                                                                 ENCINO          CA    91436‐1407
12/11/03
BARRY KUSMAN                                      5801 E FINISTERRA DR                                                                             TUCSON          AZ    85750‐1008
BARRY L ADAMS & MARY JANE ADAMS JT TEN            166 JUNIPER WAY                                                                                  DILLSBURG       PA    17019
BARRY L AMOS                                      28 RAVENGLASS CR                        LONDON ON                              N6G 4K1 CANADA
BARRY L ANGEVINE                                  150 BENTLEY WAY                                                                                  FAYETTEVILLE    GA    30214‐3746
BARRY L BOGGANO                                   1605 HALPIN RD                                                                                   CLARKSVILLE     OH    45113‐9381
BARRY L BUFFINGTON                                1140 E SILVER BELL                                                                               LAKE ORION      MI    48360‐2335
BARRY L CHAPMAN                                   4824 PENDULA DRIVE                                                                               CARMEL          IN    46033‐3992
BARRY L ERNST                                     166 W 22ND ST                           APT 5E                                                   NEW YORK        NY    10011
BARRY L GELLIS                                    5026 ROBINHOOD LANE                                                                              ERIE            PA    16509‐2559
BARRY L GOODIN                                    2919 PEARCE RD                                                                                   N TONAWANDA     NY    14120‐1135
BARRY L GOODIN JR                                 C/O WINFIELD                            852 KENSINGTON AVE                                       BUFFALO         NY    14215‐2707
BARRY L GREEN                                     440 NORLAND                                                                                      LK ORION        MI    48362‐3349
BARRY L HAMBURGER & YVETTE HAMBURGER JT TEN       100 OCEAN PKWY                                                                                   BROOKLYN        NY    11218‐1755

BARRY L HARRISON                                  9401 MCAFEE RD                                                                                   MONTROSE        MI    48457‐9123
BARRY L HITCHNER                                  333 ERNEST GARTEN RD                                                                             BRIDGETON       NJ    08302‐5514
BARRY L HUTTEN                                    221 HAWTHORNE AVE                                                                                BUFFALO         NY    14223‐3003
BARRY L JACKSON                                   5383 BENNETT RD PO BOX 275                                                                       SARANAC         MI    48881‐0275
BARRY L JOHNSON                                   1804 E MAIN STREET                                                                               EATON           OH    45320‐2240
BARRY L KELLY                                     30 SYLWOOD PL                                                                                    JACKSON         MS    39209‐9187
BARRY L LEVY CUST BRIAN LEVY UGMA CT              455 E TALL TIMBERS                                                                               GLASTONBURY     CT    06033‐3346
BARRY L MURRAY                                    2905 ROME ANTHONY RD                                                                             YADKINVILLE     NC    27055‐6324
BARRY L REYNOLDS                                  557 ROBERT ST                                                                                    LANSING         MI    48910‐5432
BARRY L SCHWENDEMAN                               505 STAFFORD AVE                                                                                 NEWARK          DE    19711‐5578
BARRY L SMITH                                     1104 GREATHOUSE RD                                                                               BOWLING GREEN   KY    42103‐9072
BARRY L SMITH                                     2105 E STEWART RD                                                                                MIDLAND         MI    48640‐8926
BARRY L WIGLEY                                    146 SHADY LN                                                                                     LANGSTON        AL    35755‐8326
BARRY LEE HOFFMAN                                 261 EAST FIFTH STREET                                                                            MIFFLINVILLE    PA    18631
BARRY LEFKOWITZ CUST JACOB LEFKOWITZ UGMA NY      7 HUNTINGTON RD                                                                                  LIVINGSTON      NJ    07039‐5111

BARRY LEIBOWITZ                                 2130 P STREET NW #521                                                                              WASHINGTON      DC    20037‐1029
BARRY LEIDL                                     47 CROSS CREEK BLVD RR5                   GUELPH ON                              N1H 6J2 CANADA
BARRY LEVINE CUST LOUIS BENJAMIN LEVINE UGMA NY 3416 PARK PL                                                                                       SPRINGFIELD     NJ    07081

BARRY LYNN BAXTER                                 321 CADGEWITH WEST                                                                               LANSING         MI    48906
BARRY M BENHAM                                    3735 HEATHERFIELD                                                                                WASHINGTON      MI    48094‐1120
BARRY M BENHAM & LORI BENHAM JT TEN               3735 HEATHERFIELD                                                                                WASHINGTON      MI    48094‐1120
BARRY M BOLAND                                    13110 ROSEWOOD GLEN DR                                                                           CYPRESS         TX    77429‐5105
BARRY M COE SR DEREK M COE UNIF GIFT MIN ACT MI   2214 MALLERY ST                                                                                  FLINT           MI    48504‐3134

BARRY M COE SR ZACHARY M COE UNIF GIFT MIN ACT    2214 MALLERY ST                                                                                  FLINT           MI    48504‐3134
MI
BARRY M GRODEN                                    3725 MACNICHOL TR                                                                                WEST BLOOMFIELD MI    48323‐1740

BARRY M RESIDE                                    4126 MILL ST                                                                                     DRYDEN          MI    48428‐9342
BARRY M SIGMON                                    8060 DRENA DR                                                                                    SHERRILLS FRD   NC    28673
BARRY M YOUNG                                     1301 BEACH DR                                                                                    LAKE ORION      MI    48360‐1207
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 346 of 850
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

BARRY MACDOUGALL                                  1126 OLDEN RD                                                                                  ANN ARBOR       MI    48103‐3005
BARRY MARCUS & SUSANNE MARCUS JT TEN              43 NORTH WOODS LN                                                                              EASTHAMPTON     NY    11937‐3514
BARRY MEDA                                        32470 COVENTRY PLACE                                                                           WARREN          MI    48093‐6119
BARRY MENIN CUST JOAN ROBERTA MENIN U/T FLA       25 BROAD ST                           APT 5C                                                   NEW YORK        NY    10004‐2519
GIFTS TO MINORS ACT
BARRY MENIN CUST RICHARD J MENIN U/THE FLORIDA    25 BROAD ST PH 1                                                                               NEW YORK        NY    10004‐2529
GIFTS TO MINORS ACT
BARRY MITCHELL JONES                              2409 MONROE DRIVE                                                                              BIRMINGHAM      AL    35210‐4426
BARRY MOHUN CUST BARRY W MOHUN UGMA AL            PO BOX 282                                                                                     LOWNDESBORO     AL    36752‐0282
BARRY MOORE                                       6653 WOOD MEADOW CV                                                                            MEMPHIS         TN    38141‐1214
BARRY N CAVALCANTE                                101 CROSS CREEK DRIVE                                                                          WARREN          OH    44483‐7111
BARRY N LAVEN                                     987 INDEPENDENCE DR                                                                            ALAMEDA         CA    94501
BARRY N LIPPA TR BARRY N LIPPA TRUST UA 8/01/95   2832 W FARGO                                                                                   CHICAGO         IL    60645‐1240

BARRY N MICHELS                                   1789 HURON CT                                                                                  OXFORD          MI    48371
BARRY NUDELMAN                                    9257 SEAWIND COURT                                                                             COLUMBIA        MD    21045‐1825
BARRY O POWER & MARY B POWER JT TEN               3724 BISQUIER DRIVE                                                                            ANCHORAGE       AK    99508‐4803
BARRY P BLUMENTHAL & PATRICIA P BLUMENTHAL JT     105 CHICKAMAW PLACE                                                                            MANDEVILLE      LA    70471
TEN
BARRY P FRANK                                     14 GARNET TER                                                                                  LIVINGSTON      NJ    07039‐2302
BARRY P PETIT                                     1329 DONNA RD                                                                                  LEWISBURGH      TN    37047‐4233
BARRY P WESSOL                                    9800 N W 71 TERRACE                                                                            PARKVILLE       MO    64152‐2416
BARRY PATRICK QUINN                               414 NORTH CLINTON STREET                                                                       CHICAGO         IL    60610‐8801
BARRY PHILLIP QUILLIN                             PO BOX 428                                                                                     WANCHESE        NC    27981‐0428
BARRY POWER BOOTHE                                2435 DIVISADERO ST                                                                             SAN FRANCISCO   CA    94115‐1117
BARRY R ARMSTRONG                                 264 MIDDLE RD                                                                                  LEWISTOWN       PA    17044‐8054
BARRY R BOWYER                                    2509 VALENCIA                                                                                  SANTA ANA       CA    92706‐1732
BARRY R CHUBA                                     10 ALMEIDA LN                                                                                  WALLINGFORD     CT    06492‐3022
BARRY R EVANS                                     16 FREETOWN STREET                                                                             LAKEVILLE       MA    02347‐2260
BARRY R FURMAN & JUDITH B FURMAN JT TEN           6335 43RD CT E                                                                                 SARASOTA        FL    34243‐7909
BARRY R HOPPER                                    110 GLOUCESTER ROAD                                                                            NATCHEZ         MS    39120‐4510
BARRY R JACOBS                                    2520 NATCHEZ TRACE                                                                             DENTON          TX    76205‐2930
BARRY R JOHNSON                                   2244 EAST REID RD                                                                              GRAND BLANC     MI    48439‐8534
BARRY R KENO                                      195 GREEN BAY RD                                                                               HIGHLAND PARK   IL    60035‐5115
BARRY R KRATZER                                   2496 E 400N                                                                                    KOKOMO          IN    46901‐8598
BARRY R LERNER CUST MOLLY E LERNER UTMA FL        9721 SEA TURTLE DR                                                                             DAVIE           FL    33324‐2820
BARRY R MORSE                                     9 RIDING CLUB RD                                                                               DANVERS         MA    01923‐1662
BARRY R POPKEY                                    58‐15 FOREST PARK WAY                 PORT MOODY BC                          V3H 5G7 CANADA
BARRY R SOLWAY & ANGELINE M SOLWAY JT TEN         102 N MARGARET ST                     APT A                                                    GEORGETOWN      DE    19947‐2341
BARRY R SOMERVILLE & DENISE E SOMERVILLE JT TEN   300 SCENE RIDGE RD                                                                             MCKEESPORT      PA    15133

BARRY R SPEAR & PAMELA SPEAR JT TEN               19 GARDEN DR                                                                                   FAIRPORT        NY    14450‐2332
BARRY R WILSON                                    7 RYECORN PL                                                                                   PALM COAST      FL    32164‐6430
BARRY ROTHAUS & MARGARET A ROTHAUS JT TEN         1614 FAIRACRE DR                                                                               GREELEY         CO    80631‐5320
BARRY ROTHAUS CUST ELIZABETH SUSAN ROTHAUS        1614 FAIRACRE DR                                                                               GREELEY         CO    80631‐5320
UGMA MI
BARRY ROTHAUS CUST ERIC S G ROTHAUS UGMA MI       1614 FAIRACRE DR                                                                               GREELEY         CO    80631‐5320

BARRY ROTHAUS CUST LESLIE TRUDY ROTHAUS UGMA      1614 FAIRACRE DR                                                                               GREELEY         CO    80631‐5320
MI
BARRY RUDNITSKY                                   8917 DARNEL ROAD                                                                               EDEN PRAIRIE    MN    55347‐1912
BARRY S DURHAM                                    9281 GOURMET LN                                                                                CINCINNATI      OH    45140‐7006
BARRY S FLYNN                                     118 N MAIN ST                                                                                  MODOC           IN    47358
BARRY S NEUMAN D V M CUST ALISON BETH NEVMAN      6059 WOODDALE DRIVE                                                                            LA JOLLA        CA    92037‐0905
UGMA MA
BARRY S ORAM                                      852 BERKSHIRE DRIVE                   LONDON ON                              N6J 3S7 CANADA
BARRY S SAUER CUST TODD ADRIAN SAUER UGMA WI      N4070 BROWNDEER DR                                                                             BRODHEAD        WI    53520‐9614

BARRY S WALTERS & LESLIE R WALTERS JT TEN         8 BRIDLEWOOD COURT                                                                             OWINGS MILLS    MD    21117‐2344
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 347 of 850
Name                                                Address1                            Address2             Address3          Address4          City            State Zip

BARRY SCHOENHAUT                                    21 PARK TERR S                                                                               CONGERS         NY    10920‐2625
BARRY SININS & MRS ELAINE SININS JT TEN             2304 TRIDENT MAPLE ST                                                                        LAS VEGAS       NV    89117‐1894
BARRY SNYDER CUST ERIC SNYDER UGMA PA               640 VALLEY VIEW RD                                                                           LANGHORNE       PA    19047‐2223
BARRY SNYDER CUST SEAN SNYDER UGMA PA               640 VALLEY VIEW RD                                                                           LANGHORNE       PA    19047‐2223
BARRY STEPHENSON JR                                 13790 QUARRY ROAD                                                                            OBERLIN         OH    44074‐9442
BARRY SWAYNE STOTT                                  14016 BORA BORA WAY                 APT G225                                                 MARINA DL REY   CA    90292
BARRY T ANDERSON                                    3744 RED LION RD                                                                             BEAR            DE    19701‐2403
BARRY T BURNS                                       367 E RIVER RD                                                                               KAWKAWLIN       MI    48631‐9723
BARRY T DAY                                         3472 N MEADOW GROVE DR SE                                                                    GRAND RAPIDS    MI    49512‐9353
BARRY T MILLS                                       W 163 S 7410 BAY LANE                                                                        MUSKEGO         WI    53150‐9709
BARRY T SHARPE                                      BOX 484                                                                                      IRVINGTON       AL    36544‐0484
BARRY T WATTS                                       1206 80TH ST                                                                                 NEWPORT NEWS    VA    23605‐3311
BARRY THOMAS FEUERBORN                              3109 CRUDEN DR                                                                               NORMAN          OK    73072‐1937
BARRY V EWING                                       26512 SUMMERDALE BLDG 8 APT 53                                                               SOUTHFIELD      MI    48034‐2235
BARRY V SCORSE                                      93 AYER STREET                                                                               ROCHESTER       NY    14615‐2641
BARRY W BAILEY                                      5174 BLOSSOM DRIVE                                                                           FLUSHING        MI    48433‐9024
BARRY W GLASS CUST TRAVIS R GLASS UTMA AL           4901 TWIN PINE CIR                                                                           BIRMINGHAM      AL    35226
BARRY W GREY & EDWARD R GREY JT TEN                 8379 COMPASS ROSE DR S                                                                       JACKSONVILLE    FL    32216‐6313
BARRY W GUSDORF & LORI A GUSDORF JT TEN             1904 BUCKTHORN LANE                                                                          RESTON          VA    20191‐5202
BARRY W HOWELL                                      67820 WAYSIDE ROAD                                                                           IRON RIVER      WI    54847‐4462
BARRY W JONES                                       1055 HIDDEN CREEK DR                                                                         KOKOMO          IN    46902‐5165
BARRY W KING                                        3559 CHURCH ST                                                                               SAGINAW         MI    48604‐2142
BARRY W MOHUN                                       180 HAMPTON HILLS DR                                                                         MOUNDVILLE      AL    35474
BARRY W OGLE & CINDY J OGLE JT TEN                  1927 CONDON AVE                                                                              REDONDO BEACH   CA    90278‐3402
BARRY W SHELTON                                     14021 IROQUOIS WOODS DR                                                                      FENTON          MI    48430‐1639
BARRY W TROY & LYNN M TROY JT TEN                   1583 BOGEY ST                                                                                BYRON CENTER    MI    49315‐9732
BARRY W VANDERHOOF                                  329 SAYBROOK DRIVE                                                                           RICHMOND        VA    23236‐3623
BARRY W YORK                                        2279 VIRGINIA DR                                                                             XENIA           OH    45385‐4654
BARRY W ZUROSKI                                     912 HUNTINGTON HILLS DR                                                                      FORT COLLINS    CO    80525‐5890
BARRY WALTER CHAMBERLAIN                            346 SERPENTS TRAIL DR                                                                        GRAND JCT       CO    81503‐9543
BARRY WAYNE RASHKOVER                               320 RIVERSIDE DR #7G                                                                         NEW YORK        NY    10025‐4115
BARRY WENIG CUST DANA WENIG UGMA NY                 9016 KEELER                                                                                  SKOKIE          IL    60076‐1604
BARRY YAVITZ                                        855 W OAKDALE AV                                                                             CHICAGO         IL    60657
BARRY ZEMBOWER & PATRICIA BAILEY‐ZEMBOWER JT        810 WEDGEWOOD DR                                                                             ERIE            PA    16505‐1152
TEN
BARRY ZUCKERMAN & MARIE ZUCKERMAN JT TEN            1 OLD ANVIL LN                                                                               MIDDLETOWN      NY    10940‐2601
BART A MARCHAND                                     2230 POIPU WAY                                                                               SAN DIEGO       CA    92154‐1562
BART BRUNSWICK CUST LINSEY MICHELE BRUNSWICK        2870 PEACHTREE ROAD #195                                                                     ATLANTA         GA    30305‐2918
UGMA OH
BART D MARTELL                                      409 S WINDING                                                                                WATERFORD       MI    48328‐4157
BART E JONES                                        1637 WINTERCREST ST                                                                          EAST LANSING    MI    48823‐1733
BART GENSBURG JR                                    1200 HALLOCK YOUNG RD                                                                        WARREN          OH    44481‐8605
BART J BURNS                                        C/O MAUREEN B SCHMIDT               1765 ROBINWOOD LN                                        RIVERWOODS      IL    60015
BART J ELKINS                                       2S648 BUCKTHORN CT                                                                           WARRENVILLE     IL    60555‐1400
BART J MALARA & ANGELA MALARA JT TEN                28 CHERYL LANE N                                                                             FARMINGDALE     NY    11735‐4409
BART J WATERS                                       1401 WINCHESTER DR                                                                           MIDLAND         MI    48642‐7160
BART KRICORIAN & DEANDRE HAMILTON JT TEN            11829 DARBY AVE                                                                              NORTHRIDGE      CA    91326‐1321
BART L HOLLIS & TERRI L HOLLIS JT TEN               926 LINDSAY LN                                                                               LANCASTER       PA    17601
BART LYNCH TROY                                     210 1/2 S 6TH ST #310                                                                        SPRINGFIELD     IL    62701‐1503
BART MAGGIO                                         10 MEADOW LN                                                                                 W LONG BRANCH   NJ    07764‐1171
BART MORRISON & MELANIE MORRISON JT TEN             1211 TONY DR                                                                                 JONESBORO       AR    72401‐4552
BART ODDO                                           29 LAKEWOOD DR                                                                               ORCHARD PARK    NY    14127‐1131
BART WILLIAMS CUST KELLY LEEANNE WILLIAMS UTMA      2574 SHREWSBURY CT                                                                           COLUMBUS        OH    43211
IL
BARTH A MAY                                         725 BOX CANYON RD                                                                            CANOGA PARK     CA    91304‐1014
BARTH D HODGES                                      1110 SALLEETOWN RD                                                                           CAMPBELLSVLLE   KY    42718‐9270
BARTH J GERVELIS                                    7727 KINSMAN ORANGEVILLE RD                                                                  KINSMAN         OH    44428
BARTH WESTON FLIPPIN JR & VERTILIA FLIPPIN JT TEN   1906 S WESTMORELAND RD                                                                       RED OAK         TX    75154‐8724
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 348 of 850
Name                                            Address1                             Address2             Address3          Address4          City              State Zip

BARTHOLMEW J HORRIGAN & MARY ELLEMENT‐        69 HIGH VIEW TER                                                                                BUFFALO           NY    14220‐2716
HORRIGAN JT TEN
BARTHOLOME W DOMBY JR                         10281 MONROE RD                                                                                 DURAND            MI    48429‐1820
BARTHOLOMEW CASPER LA GRASSA                  740 WYNGATE ROAD                                                                                SUMMERDALE        NJ    08083‐2413
BARTHOLOMEW CHARLES PEMBERTON                 4730 EAST PIMA ST                                                                               TUCSON            AZ    85712‐3521
BARTHOLOMEW G CASIELLO & MRS THERESA CASIELLO 220 E HERON RD                                                                                  HOLLAND           PA    18966‐2068
JT TEN
BARTHOLOMEW J MORLEY & MRS MARY ANN F MORLEY 104 YEW COURT                                                                                    STERLING          VA    20164‐2834
JT TEN
BARTHOLOMEW WEIGEL                            7808 SIX MILE LANE                                                                              LOUISVILLE        KY    40220‐3339
BARTLETT D MARKEL                             3211 WEST HILL ROAD                                                                             FLINT             MI    48507‐3863
BARTLETT H ROLPH                              13021 W JEWELL CIRCLE                                                                           LAKEWOOD          CO    80228‐4266
BARTLEY C BERNGARD                            1010 N PLUM GROVE RD                   APT 206                                                  SCHAUMBURG        IL    60173
BARTLEY D SMETHWICK                           5320 DEARING DR                                                                                 FLINT             MI    48506‐1536
BARTLEY G CILENTO                             14 METACOMETT RD                                                                                SCITUATE          MA    02066‐3724
BARTLEY J CULLY                               817 STRASBURG DR                                                                                MARS              PA    16046‐2386
BARTOLINI MICHAEL                             40 W BURRELL ST                                                                                 BLAIRSVILLE       PA    15717‐1210
BARTOLOMEJ RADA                               538 FAIRWAY ROAD                                                                                LINDEN            NJ    07036‐5413
BARTOLOMEO DIVIESTE & MARIA D DIVIESTE JT TEN 2346 E POINTE SE                                                                                WARREN            OH    44484

BARTOLOMEO PICCININNI                           405 MAYER COURT                                                                               RIDGEFIELD        NJ    07657‐2307
BARTON A BONNER & MRS NAOMI J BONNER JT TEN     1268 CORONADO ST                                                                              UPLAND            CA    91786‐2101

BARTON A LOWEN                                  37619 DORCHESTER                                                                              FARMINGTON HILLS MI     48331‐1864

BARTON A SMITH CUST JASON BARTON SMITH UGMA      1026 WALLACE DRIVE                                                                           SAN JOSE          CA    95120‐1852
MI
BARTON BROTHERS LAND AND ROYALTY CO              1919 N TURNER ST                                                                             HOBBS             NM    88240‐2712
BARTON C RITTENHOUSE                             05924 CHRISTY RD                                                                             DEFIANCE          OH    43512‐8230
BARTON D LENEKER                                 BOX 131                                                                                      PALATINE BRIDGE   NY    13428‐0131
BARTON D PRIM                                    2071 ARBOR WAY                                                                               MOUNT DORA        FL    32757‐3647
BARTON E FRAYER                                  1840 WEST SHORE DR APT A2                                                                    EAST LANSING      MI    48823
BARTON F BAKER                                   7287 E VALLEY VIEW RD                                                                        SCOTTSDALE        AZ    85250‐6459
BARTON F HANSON & DIANE M HANSON JT TEN          7364 CHICHESTER                                                                              CANTON            MI    48187‐1439
BARTON F HANSON & DIANE M MOREY JT TEN           7364 CHICHESTER                                                                              CANTON            MI    48187‐1439
BARTON HARLO FAYLOR                              580 ROCK CREEK DRIVE                                                                         ANN ARBOR         MI    48104‐1864
BARTON J RINKENBERGER & JANELL D RINKENBERGER JT 437 S OHIO AVE                                                                               MORTON            IL    61550‐2771
TEN
BARTON K CRANDELL                                2701 VIA CASA LOMA                                                                           SAN CLEMENTE      CA    92672‐3619
BARTON L COLEMAN                                 5836 ORMES RD                                                                                VASSAR            MI    48768‐9696
BARTON L GROSS                                   1344 BROWNSWOOD DR                                                                           BROWNSBURG        IN    46112‐1937
BARTON L LUCIER JR                               1088 13TH AVE                                                                                ARKDALE           WI    54613‐9618
BARTON L MONTGOMERY                              3949 SANTA CLARA DR                                                                          GREENWOOD         IN    46142‐8420
BARTON LEONARD LUCIER III                        1088 13TH AVE                                                                                ARKDALE           WI    54613
BARTON M EMMONS                                  813 CANBORO RD E                    PO BOX 42            FENWICK ON        L0S 1C0 CANADA
BARTON P BRANDES                                 10414 LONG JOHN SILVER RD                                                                    THONOTOSASSA      FL    33592‐8390
BARTON R CAMPBELL                                E 5369 WOODLAND AVE                                                                          AUTRAIN           MI    49806‐9648
BARTON REED JACKSON                              2353 PALOMIRA CT                                                                             CHULA VISTA       CA    91915‐1243
BARTON S IVINS JR                                118 STEEPLECHASE DR                                                                          DOYLESTOWN        PA    18901‐5718
BARTON TOMLINSON                                 OYSTER HARBORS                      BOX 2047                                                 OSTERVILLE        MA    02655
BARUGUR SUBRAMANIAN RAVI                         440 LEWERS ST                       APT 1103                                                 HONOLULU          HI    96815‐2430
BASCAL M PETTY                                   835 JESS HEARD ROAD                                                                          WHITE BLUFF       TN    37187‐4319
BASCOM C SHOAF JR                                2342 S COAST HWY                                                                             LAGUNA BEACH      CA    92651‐3930
BASCOM L KIRK                                    1288 ENOCHS DR                                                                               DAYTON            OH    45432‐2814
BASCOM SMITH                                     115 PLEASANT VIEW RD                                                                         FALKVILLE         AL    35622‐5346
BASHIR ROBERT FIROZ                              141 GILMORE BLVD                                                                             FLORAL PORTE      NY    11001‐3718
BASIL A NAGANASHE                                3370 AAGIMAAK ST                                                                             MOUNT PLEASANT    MI    48858‐7359
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 349 of 850
Name                                                Address1                              Address2             Address3          Address4          City             State Zip

BASIL A SAKELLARIOS & ANASTASIA T SAKELLARIOS JT    539 COMMONWEALTH AVE                                                                           NEWTON           MA    02459‐1601
TEN
BASIL A TOYLOY                                      PO BOX 3001                                                                                    MC ALLEN         TX    78502‐3001
BASIL ALSAEEGH                                      5713 REVETON RD                                                                                W BLOOMFIELD     MI    48322‐1354
BASIL B ELLIOTT                                     1184 TOWNLINE RD #79                                                                           NEW LONDON       OH    44851‐9486
BASIL B NOSAL & DOROTHY E NOSAL                     7 COVINGTON DR                                                                                 FREDERICKSBRG    VA    22406‐8400
BASIL B SORRELLS JR                                 30359 LEDGEMONT                                                                                GEORGETOWN       TX    78628‐1126
BASIL C DOUMAS                                      912 MARYE STREET                                                                               FREDERICKSBURG   VA    22401‐5629
BASIL C HARRIS & IDA M HARRIS & CAROL H BULLER JT   2325 ROCKWELL DR                      APT 104                                                  MIDLAND          MI    48642‐9334
TEN
BASIL E DAVIS                                       2020 S NEBRASKA ST                                                                             MARION           IN    46953‐3045
BASIL E MINOR                                       2245 S RIVER RD                                                                                SAGINAW          MI    48609‐5385
BASIL E WALKER                                      10420 E BELLEVUE HWY                                                                           EATON RAPIDS     MI    48827‐8540
BASIL F BROWN                                       2230 FRONTIER CT NW                                                                            CORYDON          IN    47112‐6898
BASIL GENE LEWIS                                    32811 FOREST AVE                                                                               LEESBURG         FL    34788‐3937
BASIL J CICHORSKI                                   2957 W 81ST ST                                                                                 CHICAGO          IL    60652‐2742
BASIL J MILES                                       2965 TUXEDO                                                                                    WATERFORD        MI    48329‐2866
BASIL K WOODS                                       122 ISLINGTON RD                                                                               AUBURNDALE       MA    02466‐1010
BASIL L NOBLET                                      1737 NORFOLK                                                                                   SPEEDWAY         IN    46224‐5526
BASIL LINVILLE JR & JANET E LINVILLE JT TEN         37130 MILL STREAM COURT                                                                        EUSTIS           FL    32736‐8553
BASIL M GRIFFIN JR                                  188 LAUREL LANE                                                                                PONTE VEDRA      FL    32082‐3908
                                                                                                                                                   BEACH
BASIL M HALL                                        PO BOX 11                                                                                      BARNWELL         SC    29812‐0011
BASIL M THOMPSON                                    524 E 550 NORTH                                                                                KOKOMO           IN    46901‐8537
BASIL MARCHUK & OKSANA MARCHUK JT TEN               740 RUTH LAKE                                                                                  HINSDALE         IL    60521
BASIL MCDONNELL                                     RATHSCANLON                           SWINFORD             CO MAYO           IRELAND
BASIL PECKNYO                                       3609 MILLER RD                                                                                 FLINT            MI    48052
BASIL PECKNYO & MARGARET L PECKNYO JT TEN           3609 MILLER ROAD                                                                               FLINT            MI    48052
BASIL PLASTIRAS JR                                  25 TURTLE ROCK CT                                                                              TIBURON          CA    94920‐1301
BASIL S YANAKAKIS TR MARIA YANAKAKIS 1995 TRUST     13611 DEERING BAY DRIVE               UNIT#904                                                 CORAL GABLES     FL    33158‐2842
UA 06/14/95
BASIL S YANAKAKIS TR SOPHIA YANAKAKIS 1995 TRUST    13611 DEERING BAY DRIVE               UNIT# 904                                                CORAL GABALS     FL    33158‐2842
UA 06/14/95
BASIL SAKALL JR                                     PO BOX 746                                                                                     MICHIGAN CTR     MI    49254‐0746
BASIL SIMON                                         2900 HYLANE                                                                                    TROY             MI    48098‐4289
BASIL T LANEY                                       4204 KINCHELOE ROAD                                                                            GEORGETOWN       OH    45121‐8886
BASILE VALTADOROS & HELEN VALTADOROS JT TEN         41319 HARVARD DRIVE                                                                            STERLING HTS     MI    48313

BASILIO MENDOZA                                     1315 G ST                                                                                      UNION CITY       CA    94587‐3323
BASILIO T CATAYONG & ERLINDA V CATAYONG JT TEN      5923 W WILSON AVE                                                                              CHICAGO          IL    60630‐3123

BASILLE E BLAESING                                  600 GOLF VISTA CIRCLE                                                                          DAVENPORT        FL    33837
BASSORA EISENBERG                                   1758 EAST 29TH ST                                                                              BROOKLYN         NY    11229‐2517
BASTIAAN VAHRMEYER                                  736 WELLAND ROAD BOX 4                FENWICK ON                             L0S 1C0 CANADA
BASTIAAN W BOSCH                                    205 MARINERS WAY                                                                               COPIAGUE         NY    11726‐5112
BATE C TOMS JR                                      931 MULBERRY RD                                                                                MARTINSVILLE     VA    24112‐4416
BAUDELIO FLORES JR                                  326 FOXLAIR CT                                                                                 ROCK HILL        SC    29730‐9550
BAUDOUIN DIERCKX DE CASTERLE                        KLIEN TOMMESTRAAT 8                   B‐3040 OTTENBURG                       BELGIUM
BAUER REVOCABLE LIVING TRUST UA 12/20/99            5115 WIXOM DRIVE                                                                               BEAVERTON        MI    48612
BAUGHER CHEVROLET INC                               162 ARROWROOT DR                                                                               LYNDHURST        VA    22952‐2904
BAUTJE HERNANDEZ CUST MARC BRANDON                  9204 EDGEMONT LANE                                                                             BOCA RATON       FL    33434‐5521
HERNANDEZ UTMA FL
BAVAN Y WILLIAMS                                    284 WINDERMERE BLVD                                                                            BUFFALO          NY    14226‐3045
BAXTER COOPER                                       1610 AYERSVILLE RD                                                                             DEFIANCE         OH    43512‐3607
BAXTER L CRAWFORD JR                                3924 DUBOSE ROAD                                                                               COLUMBIA         SC    29204‐4229
BAXTER L ENGRAM                                     14539 OHIO                                                                                     DETROIT          MI    48238‐1746
BAY PLUMBING                                        C/O WILLIAM FRIZZELL                  PO BOX 336                                               SUQAMISH         WA    98392‐0336
BAY V LUONG                                         801 COREY CT                                                                                   WENTZVILLE       MO    63385‐1141
BAY VIEW ASSOC                                      PO BOX 583                                                                                     PETOSKEY         MI    49770‐0583
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                      Part 1 of 8 Pg 350 of 850
Name                                              Address1                             Address2                Address3           Address4          City             State Zip

BAYARD L STANABACK & DONNA J STANABACK JT TEN     3904 NORTH AUSABLE ROAD                                                                           EAST TAWAS       MI    48730‐9625

BAYARD W ALLMOND III TR UW ANNA S HARTMAN FBO     1400 MARKET STREET                                                                                WILMINGTON       DE    19801
MICHELLE HARTMAN
BAYARD W ALLMOND JR                               36 HILLCREST RD                                                                                   BERKELEY         CA    94705‐2807
BAYER CADILLAC OLDS MOBILE INC                    ATTN STEVE BAYER                     2 MEADOW ST                                                  SOUTH NORWALK    CT    06854‐4519
BAYLIS M WEST                                     637 HIGHWAY DD                                                                                    DEFIANCE         MO    63341‐2003
BAYNON J HARRIS                                   280 CARTER RD                                                                                     DOWNSVILLE       LA    71234‐2722
BAYO ODUTOLA & JOANNE M ASSELIN JT TEN            1516 CAVERLY STREET                  OTTAWA ON                                  K1G 0Y1 CANADA
BAYTOWN COMMUNITY CHEST OF BAYTOWN TEXAS          PO BOX 425                                                                                        BAYTOWN          TX    77522‐0425

BAZIL HENRY AREVALO                               5821 FARISH RD                                                                                    PLACERVILLE      CA    95667‐8273
BEA RANDALL                                       502 AUBURN AVE                                                                                    MONROE           LA    71201‐5304
BEAR CREEK                                        4‐H CLUB                             C/O SANDRA FARRIS       2 ABERCROMBIE DR                     HOUSTON          TX    77084‐4233
BEAR STEARNS CUST FBO NORMAN SPALENY IRA          G‐6220 LUCAS RD                                                                                   FLINT            MI    48506
BEARD OIL COMPANY                                 C/O THOMAS MISIURA                   PO BOX 628A                                                  CLEARFIELD       PA    16830‐0628
BEARL R WHEELER                                   781 LARRY HENRY ROAD                                                                              W MONROE         LA    71292‐8377
BEAT G LEHMANN                                    6 ALLEE DES ROUGEMONTS               LOUVECIENNES FRAN                          FRANCE
BEATA G PARKER                                    C/O P MANPREIAN                      1029 DES PLAINES #105                                        FOREST PARK      IL    60130‐2143
BEATE M REUBER                                    BOX 668                                                                                           HECTOR           MN    55342‐0668
BEATE SCHAEFER                                    GROSSE KIRCHENSTRASSE 2‐4            MAINZ KASTEL                               GERMANY
BEATMON J CROSBY                                  5178 NEAL'S MILL ROAD SOUTH EAST                                                                  DEARING          GA    30808‐2602
BEATRES WALLER                                    19560 REDFERN                                                                                     DETROIT          MI    48219‐5514
BEATRICE A BOUCHARD                               38 PROSPECT ST                                                                                    ELMSFORD         NY    10523‐3758
BEATRICE A CLARK                                  1166 LAFAYETTE ROAD E‐12                                                                          MEDINA           OH    44256‐2481
BEATRICE A CONARD                                 243 STAHL RD                                                                                      SOUTHAMPTON      PA    18966‐3259
BEATRICE A HALSTEAD                               318 WOODBRIDGE                                                                                    GRAND BLANC      MI    48439‐1140
BEATRICE A ISMAN & SETH ISMAN & LLOYD ISMAN JT    225 MIDDLE ST                                                                                     HADLEY           MA    01035‐9717
TEN
BEATRICE A LEDDEN                                 116 SALEM AVE                                                                                     SPRING LAKE      NJ    07762‐1040
BEATRICE A MAGILL                                 2210 S ROSS                                                                                       SANTA ANA        CA    92707‐2719
BEATRICE A MCCOY                                  6322 WOODCHUCK DR                                                                                 PENDLETON        IN    46064‐9076
BEATRICE A MILLER                                 2423 BELVO RD                                                                                     MIAMISBURG       OH    45342‐3909
BEATRICE A SNYDER                                 3923 KINGS MILL RD                                                                                N BRANCH         MI    48461‐8907
BEATRICE A STEPHENS                               ATTN BEATRICE A JOHNSON              4742 42ND AVE SW # 14                                        SEATTLE          WA    98116‐3132
BEATRICE ANDERSON                                 108 W MARKET ST                                                                                   ROCKAWAY POINT   NY    11697‐1122

BEATRICE ANDERSON TOD WALTER J ANDERSON           108 W MARKET ST                                                                                   ROCKAWAY PT      NY    11697
SUBJECT TO STA TOD RULES
BEATRICE ANN CURRAN                               325 CRANBERRY BEACH BLVD                                                                          WHITE LAKE       MI    48386‐1996
BEATRICE ANN DIMPFL                               130 RUDGEAR DRIVE                                                                                 WALNUT CREEK     CA    94596‐6316
BEATRICE ANN KUWIK                                73 GREENSIDE AVE                                                                                  YPSILANTI        MI    48197‐3775
BEATRICE ARONOWITZ                                C/O TAYLOR                           78‐10 222ND ST                                               FLUSHING         NY    11364‐3635
BEATRICE AXFORD                                   4355 WHITEHOUSE TRAIL                                                                             GAYLORD          MI    49735‐9733
BEATRICE B BREAKEY TR BEATRICE B BREAKEY TRUST UA 453 S PONTIAC TR                                                                                  WALLED LAKE      MI    48390‐3356
02/03/03
BEATRICE B JACKSON                                1461 ARLINGTON                                                                                    ST LOUIS         MO    63112‐4241
BEATRICE B LAMPORT                                2033 E RIVER RD                      UNIT 1                                                       NEWTON FALLS     OH    44444‐8778
BEATRICE B MOORE & GARRY D MOORE JT TEN           2409 PLAINFIELD AVE                                                                               FLINT            MI    48506‐1860
BEATRICE B OSBORN                                 8001 CANARY LN                       APT A                                                        INDIANAPOLIS     IN    46260‐2452
BEATRICE B PHILLIPS                               40 CONGER APT 701B                                                                                BLOOMFIELD       NJ    07003‐3349
BEATRICE B QUINN & JACQUELINE B QUINN JT TEN      5 KAPPINS PATH                                                                                    NEWTON CENTRE    MA    02159‐3712

BEATRICE B WILLIAMS                               C/O SYLVESTER WILLIAMS               8002 VENABLE RD                                              KENTS STORE      VA    23084
BEATRICE BALES                                    1819 MONTGOMERY PLACE                                                                             JACKSONVILLE     FL    32205‐9319
BEATRICE BASTA                                    4200 WESTBROOK DRIVE                 BLDG 1 #309                                                  BROOKLYN         OH    44144‐1217
BEATRICE BELLAIRE TR BELLAIRE LIVING TRUST UA     14193 ARNOLD                                                                                      REDFORD          MI    48239‐2818
12/17/98
BEATRICE BLY                                      33 MEADOW LANE                                                                                    PINE CITY        NY    14871‐9001
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 351 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

BEATRICE BYRD                                     15988 WELLINGTON ST                                                                            TAYLOR            MI    48180‐4873
BEATRICE C DEATON                                 10231 YANKEE ST                                                                                CENTERVILLE       OH    45458‐3525
BEATRICE C FRAZIER                                7202 EAST ST                                                                                   BAYTOWN           TX    77521‐1212
BEATRICE C HAGEMASTER                             2306 TOPAZ DR                                                                                  TROY              MI    48098‐3840
BEATRICE C JOHNSON                                2801 GAMMA LANE                                                                                FLINT             MI    48506‐1854
BEATRICE C KING                                   302 RESERVE CIRCLE                                                                             CLARENDON HILLS   IL    60514‐1565

BEATRICE C MCCLURE & LOIS ELAINE MCCLURE JT TEN   133 PERSHING DRIVE                                                                             SAN LEANDRO       CA    94577‐1632

BEATRICE C PARK                                   15729 LABRADOR ST                                                                              NORTH HILLS       CA    91343‐2024
BEATRICE C RUDDY                                  26 MAYNARD RD                                                                                  NORTHAMPTON       MA    01060‐2810
BEATRICE C VELASQUEZ                              1458 KEPPEN                                                                                    L PK              MI    48146‐1619
BEATRICE CHANG OHTA                               7 SPRINGER COURT                                                                               BETHESDA          MD    20817‐5545
BEATRICE COOPWOOD                                 7136 LINDALE DR                                                                                MT MORRIS         MI    48458‐9738
BEATRICE D MANESS                                 1723 COPPERPLATE RD 9                                                                          CHARLOTTE         NC    28262‐6435
BEATRICE D MASON                                  2905 UPTON COVE                                                                                MEMPHIS           TN    38128‐5485
BEATRICE D MORGAN                                 3729 CITRUS HEIGHTS AVE                                                                        N LAS VEGAS       NV    89081‐5249
BEATRICE D WALTERS                                625 MORNING GLORY LANE                                                                         UNION             OH    45322‐3021
BEATRICE DOSIK TR REVOCABLE LIVING TRUST 06/02/87 11588 VIA RANCHO SAN DIEGO            APT J4109                                                EL CAJON          CA    92019‐5277
U‐A BEATRICE DOSIK
BEATRICE E BARTUCCA                               85 RIVERSIDE AV                                                                                FORT FAIRFIELD    ME    04742‐3228
BEATRICE E BURKE                                  1465 S VERNON RD                                                                               CORUNNA           MI    48817‐9555
BEATRICE E CUMMINGS                               212 PRICE ST                                                                                   LOCKPORT          NY    14094‐4920
BEATRICE E FINCH TR BEATRICE E FINCH TRUST UA     348 W JUANA AVE APT 69                                                                         SAN LEANDRO       CA    94577‐3664
06/06/96
BEATRICE E GARLAND                                3837 HULL ROAD                                                                                 LESLEY            MI    49251‐9576
BEATRICE E LACY & PAMELA D LACY JT TEN            5340 HADFIELD                                                                                  PHILIDELPHIA      PA    19143‐4116
BEATRICE E MARSHALL‐BUHL                          5326 ROSE LANE                                                                                 FLINT             MI    48506‐1517
BEATRICE E NITZEL                                 5039 CISNE S W                                                                                 GRAND RAPIDS      MI    49548‐5649
BEATRICE E PATTERSON                              8398 DODGE RD                                                                                  OTISVILLE         MI    48463‐9485
BEATRICE E PATTERSON & TERRY J WOODRUFF JT TEN    8398 DODGE RD                                                                                  OTISVILLE         MI    48463‐9485

BEATRICE E REED TR UA 06/14/90 BEATRICE E REED    3613 VALLEY LANE                                                                               CLINTON           IA    52732‐1318
TRUST
BEATRICE EDSTROM                                  10 SOUNDVIEW DR                                                                                NORTHPORT         NY    11768‐1445
BEATRICE ELLIS                                    12300 FLANDERS                                                                                 DETROIT           MI    48205‐3946
BEATRICE F CONNORS & DAVID J HEIMAN JT TEN        4220 LILLIAN HALL LANE                                                                         ORLANDO           FL    32812
BEATRICE F MENDOZA                                25 SOUTH TWELTH ST                                                                             COTTONWOOD        AZ    86326
BEATRICE F STEPANSKI                              3960 SMITH RD                                                                                  BAY CITY          MI    48706‐1745
BEATRICE FAVINO                                   215 E 68TH STREET                                                                              NEW YORK          NY    10021‐5718
BEATRICE FLORES                                   15‐105 COUNTY RD 2                                                                             NAPOLEON          OH    43545
BEATRICE G ROELOFSZ                               210 FINE                              APT 3                                                    EXCELSIOR SPG     MO    64024
BEATRICE G SANDERSON                              899 PLYMOUTH CT                       UNIT #2109                                               CHICACO           IL    60605‐2051
BEATRICE G YOUNG                                  1706 HIGHLAND CT                                                                               ANDERSON          IN    46011‐1317
BEATRICE GEE                                      2706 FAN PALM CT                                                                               HENDERSON         NV    89014‐1988
BEATRICE GELLER                                   520 EAST 20TH ST                                                                               NEW YORK          NY    10009‐8311
BEATRICE GONZALES                                 201 S 12TH                                                                                     SAGINAW           MI    48601‐1865
BEATRICE H COOK & JUSTIN E SHARPE JT TEN          9012 DEMUNDA AVE                                                                               NIAGARA FALLS     NY    14304‐2634
BEATRICE H MALLECK                                303 SO FARRAGUT ST                                                                             BAY CITY          MI    48708‐7354
BEATRICE H MANUEL & ROY H MANUEL JT TEN           679 NEW CHURCHMAN RD                                                                           NEWARK            DE    19702
BEATRICE HARDIMAN & CATHERINE HARDIMAN JT TEN     290 MILLBROOK RD                                                                               WASHINGTON        NJ    07882‐3715

BEATRICE HEERING                                  1236 GEORGIAN TER                                                                              LAKEWOOD          NJ    08701‐1638
BEATRICE I GREENE & TANIA T JOOSTBERNS JT TEN     701 E MICH AVE                                                                                 MARSHALL          MI    49068‐2023
BEATRICE ISRAEL MUHLENDORF                        PO DRAWER J                                                                                    SHEFFIELD         AL    35660‐0169
BEATRICE J HLAD                                   1330 RIVERVIEW ST NW                                                                           WARREN            OH    44485‐2442
BEATRICE J LAMPLEY                                1106 RIVERVIEW ST NW                                                                           WARREN            OH    44485
BEATRICE J PARKS                                  3080 CREEKWOOD CIR                                                                             BAY CITY          MI    48706‐5621
BEATRICE J RUTKOWSKI                              137 MESSER AVE                                                                                 DEPEW             NY    14043‐4431
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 352 of 850
Name                                                Address1                             Address2                Address3       Address4          City            State Zip

BEATRICE JENNINGS                                   17178 ST AUBIN                                                                                DETROIT         MI    48212‐1544
BEATRICE K FRAUGHNAUGH TR BEATRICE KOEHL            25208 JERUSALEM RD                                                                            MILFORD         VA    22514‐2640
FRAUGHNAUGH TRUST UA 08/24/00
BEATRICE K JAMES                                    1785 HOPEWELL AVE                                                                             DAYTON          OH    45418‐2244
BEATRICE K PADULA                                   8320 ORCHARD AV                                                                               PENNSAUKEN      NJ    08109‐3836
BEATRICE K REICHERT                                 234 EAST 9TH AVE                                                                              COLLEGEVILLE    PA    19426‐2320
BEATRICE K WEEKS                                    PO BOX 547                                                                                    MANTON          MI    49663‐0547
BEATRICE KEMP                                       1125 E CORNELL                                                                                FLINT           MI    48505‐1617
BEATRICE KLEIMENHAGEN                               3801 N WRIGHT RD APT 152                                                                      JANESVILLE      WI    53546
BEATRICE L BAILEY                                   23219 DEAL RD                                                                                 GAMBIER         OH    43022‐8717
BEATRICE L BERNEAR                                  2731 CEDAR ST                                                                                 FENNVILLE       MI    49408‐9661
BEATRICE L BURT                                     2016 S PENNSYLVANIA                                                                           LANSING         MI    48910‐3254
BEATRICE L BUTLER & DONNA L BUTLER JT TEN           3464 S BRADLEYVILLE                                                                           VASSOR          MI    48768‐9765
BEATRICE L CHASE                                    PO BOX 70                                                                                     BARKER          NY    14012‐0070
BEATRICE L DOBRUCKY                                 21 HIGH ST                                                                                    GREENWICH       CT    06830‐5925
BEATRICE L HILL TOD DOUGLAS S HILL SUBJECT TO STA   6369 GALE RD BOX 37                                                                           ATLAS           MI    48411‐0037
TOD RULES
BEATRICE L KIMBALL                                  4288 FENTON RD                                                                                HARTLAND         MI   48353‐1400
BEATRICE L MARSNICK                                 8305 NIGTHINGALE                                                                              DEARBORN HEIGHTS MI   48127‐1289

BEATRICE L MURPHY                                   1752 CURRY RD                        HALIBURTON ON                          K0M 1S0 CANADA
BEATRICE L MURPHY                                   1752 CURRY RD                        HALIBURTON ON                          K0M 1S0 CANADA
BEATRICE L PARK                                     219 STATE ST                                                                                  BREWER          ME    04412‐1552
BEATRICE L VENEZIO                                  2 BLYTH COURT                                                                                 TOMS RIVER      NJ    08757‐6566
BEATRICE LADOCHI                                    15830 HUNTCLIFF DR                                                                            MACOMB          MI    48044‐3856
BEATRICE LETISIA BUCKLEH                            6600 WARNER #7                                                                                HUNTINGTON      CA    92647‐7916
                                                                                                                                                  BEACH
BEATRICE LOOMIS                                     8493 PAIGE                                                                                    WARREN          MI    48089‐1727
BEATRICE LUNDSTEN                                   9332 TEXAS                                                                                    LIVONIA         MI    48150‐3878
BEATRICE M BOLAND                                   26 FARM RD                                                                                    NEW CANAAN      CT    06840‐6340
BEATRICE M DRICS                                    9209 W 52ND STREET                                                                            INDIANAPOLIS    IN    46234‐2810
BEATRICE M HAMELL TR BEATRICE M HAMELL LIVING       9295 LA SPEZIA DR                                                                             DAVISON         MI    48423‐8709
TRUST UA 01/17/96
BEATRICE M HARRINGTON                               27824 PARK LANE                      LOT 20 COLONIAL ACRES                                    LAUREL          DE    19956‐3675
BEATRICE M HUNT & JANIS L COLLISON JT TEN           3286 N BRANCH DRIVE                                                                           BEAVERTON       MI    48612‐8105
BEATRICE M LANE & MELVIN H LANE JT TEN              C/O BEATRICE M LANE                  8717 E 96TH ST                                           KANSAS CITY     MO    64134
BEATRICE M MOONE                                    154 LANNING AVE                                                                               PENNS GROVE     NJ    08069‐1018
BEATRICE M NEWMAN                                   355 S CHIPPEWA ST                                                                             SHEPHERD        MI    48883‐9077
BEATRICE M PRANKIENAS                               3296 HIDDEN RD                                                                                BAY CITY        MI    48706‐1207
BEATRICE M ROSE                                     BOX 38                                                                                        GALVESTON       IN    46932‐0038
BEATRICE M WELZEL                                   3310 FOX RIDGE DR                                                                             WINTER HAVEN    FL    33884
BEATRICE M WHALEN & BARRY J WHALEN JT TEN           98 LONG MEADOW HILL ROAD                                                                      BROOKFIELD      CT    06804‐1324
BEATRICE MACDONALD & MARK S MACDONALD JT TEN        17060 WAKENDEN                                                                                REDFORD         MI    48240‐2400

BEATRICE MAE RIEDY                                  2025 HAYES AVE                                                                                SANDUSKY        OH    44870‐4739
BEATRICE MATZNICK & ROBERT MATZNICK JT TEN          5538 MCDOWELL ROAD                                                                            LAPEER          MI    48446‐8010
BEATRICE METEYER                                    218 GORHAM ST                                                                                 CANANDAIGUA     NY    14424‐1839
BEATRICE MILLER                                     8 PARKSIDE DRIVE                                                                              NORTH BRUNSWICK NJ    08902‐1219

BEATRICE NYKAMP                                     80 DOGWOOD DRIVE                                                                              MILFORD         NJ    08848‐1845
BEATRICE OROSZ                                      2394 ANTIOCH RD                                                                               PERRY           OH    44081‐9718
BEATRICE OUSLEY                                     5182 KENSINGTON                                                                               ST LOUIS        MO    63108‐1012
BEATRICE P ARNOLD & DANIEL J ARNOLD JT TEN          340 RIVIERA TERRACE                                                                           WATERFORD       MI    48328‐3469
BEATRICE P MITCHELL                                 2278 WILLOWCREEK RD                                                                           PORTAGE         IN    46368‐2124
BEATRICE P MOSER                                    138 W PLAIN ST                                                                                WAYLAND         MA    01778‐4451
BEATRICE PEDATI                                     3 WILLIAMS DRIVE                                                                              WEST PATERSON   NJ    07424‐2930
BEATRICE PORTER                                     59 JOHN ST APT 6F                                                                             NEW YORK        NY    10038
BEATRICE PORTIS                                     6917 CARDWELL ST                                                                              GARDEN CITY     MI    48135‐2241
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                        Part 1 of 8 Pg 353 of 850
Name                                             Address1                                Address2                  Address3        Address4          City              State Zip

BEATRICE R JORDAN                                156‐7 E CHELSEA CIRCLE                  GREENE COUNTRIE VILLAGE                                     NEWTOWN SQUARE PA       19073

BEATRICE R LEZOTTE & ROBERT J LEZOTTE JT TEN     34601 ELMWOOD ST APT 212                                                                            WESTLAND          MI    48185‐8142
BEATRICE R RUBIE                                 2112 ROBINSON RD SE                                                                                 GRAND RAPIDS      MI    49506‐1848
BEATRICE REISS FRABLE                            1116 KIRKLAND VILLAGE CIR                                                                           BETHLEHEM         PA    18017
BEATRICE RICHARDSON                              219 W CHESTERFIELD                                                                                  FERNDALE          MI    48220‐2427
BEATRICE RUDOLPH                                 25‐11 VALE AVE                                                                                      WYOMING           OH    45215‐2161
BEATRICE RUTHERFORD                              2413 PLEASANT VIEW                                                                                  ROCHESTER HILLS   MI    48306‐3147
BEATRICE S DZIKIEWICZ                            1724 S 4TH ST                                                                                       MILWAUKEE         WI    53204‐4017
BEATRICE S GONZALES                              1758 PALMER DR                                                                                      DEFIANCE          OH    43512
BEATRICE S HARDMAN                               2708 DUNWICK DRIVE                                                                                  PLANO             TX    75023
BEATRICE S OLSON                                 8409 SE 33RD PL                                                                                     MERCER ISLAND     WA    98040‐3007
BEATRICE S WOLF                                  241 DRAKESIDE RD                        UNIT 1218                                                   HAMPTON           NH    03842‐1824
BEATRICE SCHILL JOYCE                            114 CHARTERWOOD DRIVE                                                                               PITTSBURGH        PA    15237‐4019
BEATRICE SCHUERER                                BOX 95                                                                                              NORTHFIELD        MN    55057‐0095
BEATRICE SHAFFER                                 PO BOX 1586                                                                                         GROTON            CT    06340‐1586
BEATRICE SHAPERO                                 53 PARK AVE                                                                                         NEWTON            MA    02458‐2627
BEATRICE SILVERMAN & BRUCE SILVERMAN JT TEN      40 BAILEY RD                                                                                        MIDDLE ISLAND     NY    11953‐1317

BEATRICE SIMMONDS                                422 SHEPPARD                                                                                        MIO               MI    48647‐9120
BEATRICE SMITH                                   1317 W 110 PLACE                                                                                    CHICAGO           IL    60643‐3615
BEATRICE SPEIGHT                                 1010 LAURA ST 1                                                                                     ELIZABETH         NJ    07201‐1506
BEATRICE SUMNER                                  16574 E ALABAMA PL                                                                                  AURORA            CO    80017‐4155
BEATRICE SWOPES                                  12008 NORTHGATE DR                                                                                  HUNTSVILLE        AL    35810‐6100
BEATRICE T ADDONIZIO                             135 OSBORNE RD                                                                                      WEST HEMPSTEAD    NY    11552‐1344

BEATRICE T ALLEN                                 227 N DOUBLEGATE DR                                                                                 ALBANY            GA    31721‐8797
BEATRICE TOKER                                   10 EAST END AVE                                                                                     NEW YORK          NY    10075
BEATRICE V TAYLOR                                19018 JOHN J WILLIAMS HWY                                                                           REHOBOTH          DE    19971‐4406
BEATRICE W NASH                                  27 JASON DR                                                                                         BOERNE            TX    78006‐5759
BEATRICE WALTER                                  701 THREE ISLANDS BLVD                                                                              HALLANDALE        FL    33009‐2822
BEATRICE WHITE                                   29 SHELTON CT                                                                                       INDIAN HEAD       MD    20640‐2054
BEATRICE YOFFA                                   4920 OXFORD COURT J‐10                                                                              BENSALEM          PA    19020‐1759
BEATRIS WALLER                                   19560 REDFERN                                                                                       DETROIT           MI    48219‐5514
BEATRIX F RUITER & CHERYL R LEACH JT TEN         4785 BOSTON POST ROAD                                                                               ENOSBURG FALLS    VT    05450‐5745
BEATRIX H GOUDEY                                 127 GLEN AVE                                                                                        GLEN ROCK         NJ    07452‐2111
BEATRIX M HERNANDEZ                              633 SNOWHILL BLVD                                                                                   SPRINGFIELD       OH    45504‐1629
BEATRIZ GAMBOA                                   903 HACKBERRY AVE                                                                                   LA PORTE          TX    77571‐6911
BEATRIZ M ZEPEDA                                 2241 LINDALE AVE                                                                                    SIMI VALLEY       CA    93065‐2723
BEATRIZ PISA                                     6420 MENLO ST                                                                                       SIMI VALLEY       CA    93063‐3845
BEATRIZ PRICE                                    1390 GULF BL                            APT 1104                                                    CLEARWATER        FL    33767‐2824
                                                                                                                                                     BEACH
BEATRIZ VIGIL JACQUEZ                            40428 BLANCHARD ST                                                                                  FREMONT           CA    94538‐2863
BEAU BRAUD                                       8609 R DAWES DR                                                                                     DENHAM SPRINGS    LA    70706‐8571

BEAULAH HOLLMAN                                  18 BRIDLE PATH LN                                                                                   FREDERICKSBURG    VA    22405‐3333
BEAULAH M ANTISDEL                               10415 BRYSON AVE                                                                                    SOUTH GATE        CA    90280‐6756
BEAUMONT CHARLES MARGESSON LIFE TENANT U‐W       268 DANDARO VILLAGE                     BORROWDALE                HARARE AFRICA   ZIMBABWE
HILDA JOYCE MARGESSON
BEBE ELLEN LEIK                                  1612 MIRACLE DRIVE                                                                                  CASPER            WY    82609‐4615
BEBE J OSBORN TR UNDER THE BEBE J OSBORN         13381 TALL GRASS CT                                                                                 FORT MYERS        FL    33912‐3821
DECLARATION OF TRUST 11/04/93
BECK FEIBELMAN                                   140 EAST 7TH STREET APT 5E                                                                          NEW YORK          NY    10009‐6216
BECKER & CO                                      C/O THE BANK OF NEW YORK                PO BOX 11203                                                NEW YORK          NY    10286‐1203
BECKETT J SHADY                                  504 ACACIA LANE                                                                                     NOKOMIS           FL    34275‐1902
BECKIE ANN HAYES                                 1892 STOCKWELL DR                                                                                   COLUMBUS          OH    43235‐7370
BECKIE H HAYES                                   1892 STOCKWELL DR                                                                                   COLUMBUS          OH    43235‐7370
BECKIE L BENNETT                                 3132 CREEKMONT DRIVE                                                                                LAWRENCEBURG      TN    38464‐6149
BECKIE MARCO                                     1010 SUSCON RD                                                                                      PITTSTON          PA    18640‐9543
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                      Part 1 of 8 Pg 354 of 850
Name                                             Address1                              Address2                Address3           Address4          City              State Zip

BECKWITH HASLANGER CROMER                        33 CORNELL RD                                                                                      BALA CYNWYD       PA    19004‐2104
BECKY A CIKOCH                                   1 N CHESTNUT AVE                      APT 3H                                                       ARLINGTON HTS     IL    60005‐1452
BECKY A LUKASIK                                  325 AUBURN ST                                                                                      PLYMOUTH          MI    48170‐1070
BECKY A POLEN                                    871 MAPLE ST                                                                                       LAKE LINDEN       MI    49945‐1131
BECKY A WILCOX                                   3191 WOODVALLEY DR                                                                                 FLUSHING          MI    48433‐2226
BECKY BEMMES                                     233 BERNARD AVE                                                                                    READING           OH    45215‐3403
BECKY ELAINE MEARS                               23671 W MOUNTAIN RD                                                                                DECATUR           AR    72722‐8800
BECKY GEEHR                                      1152 GOLFVIEW TER                                                                                  MONROE            GA    30655‐2233
BECKY GILBERT                                    E2750 BLUE BIRD RD                                                                                 LONE ROCK         WI    53556‐9668
BECKY GRABER                                     12570 SO 200 W                                                                                     KOKOMO            IN    46901‐7657
BECKY H HAMBY CUST MATTHEW BRIAN HAMBY UTMA      63 BRAND AND KNIGHT RD                                                                             WINDHAM           ME    04062
NC
BECKY H HAMBY CUST TIMOTHY LEE HAMBY UTMA NC     63 BRAND AND KNIGHT RD                                                                             WINDHAM           ME    04062

BECKY HARRISON SULLIVAN                          3412 CALEO COURT                                                                                   PLANO             TX    75025‐2204
BECKY J CAMPBELL                                 6701 EVERHART RD                      APT 910                                                      CRP CHRISTI       TX    78413‐2351
BECKY J FIGGS                                    C/O BECKY J FRANK                     26221 CULVER                                                 ST CLAIR SHORES   MI    48081‐3336
BECKY J HALBACH                                  4953 CLOVERHILL DR                                                                                 MURFREESBORO      TN    37128‐3702
BECKY J PAEG                                     50 S FAIRGREEN DR                                                                                  DAYTON            OH    45416‐1602
BECKY J SHADY                                    504 ACACIA LANE                                                                                    NOKOMIS           FL    34275‐1902
BECKY JO WASHBURN                                401 CASTLE                                                                                         JEFFERSON CITY    MO    65109‐0830
BECKY L BURCHETT                                 4609 EAST JOAN D ARC AVENUE                                                                        PHOENIX           AZ    85032
BECKY L GACKSTATTER                              ATTN BECKY L SCHURMAN                 2412 W STATE ST                                              JANESVILLE        WI    53546‐5358
BECKY L MORRELL                                  1167 LINWOOD                                                                                       WENTZVILLE        MO    63385‐4332
BECKY L SMITH                                    541 S LYNHURST DR                                                                                  INDIANAPOLIS      IN    46241‐0647
BECKY LADD                                       ATTN BECKY MARTINEZ                   1108 3RD ST N                                                ST CLOUD          MN    56303‐3902
BECKY LYNN GARLINGER TOD RONALD J GARLINGER      4702 W ANNETTE CIR                                                                                 GLENDALE          AZ    85308‐3446
SUBJECT TO STA TOD RULES
BECKY LYNN MIDDLETON                             1821 WALNUT ST                                                                                     ASHLAND           PA    17921‐1727
BECKY LYNN RUSSELL ADM EST JULIE ANDERSON        PO BOX 234                                                                                         BOWLING GREEN     KY    42102‐0234
BECKY M SCHEIMAN CUST KAITLYN R JUNN UTNA OH     1182 HILLVIEW WAY                                                                                  MEDINA            OH    44256

BECKY MOTLEY                                     1314 N 7TH AVE                                                                                     HASTINGS          NE    68901‐4550
BECKY S FARRA                                    4719 PENSACOLA BOULEVARD                                                                           DAYTON            OH    45439‐2829
BECKY SUE MOREAU                                 1212 LEISURE DR                                                                                    FLINT             MI    48507‐4051
BECKY TAYLER                                     1903 TERISU COVE                                                                                   AUSTIN            TX    78728‐6866
BEDA B SEITZ                                     1362 YANK STREET                                                                                   GOLDEN            CO    80401‐4245
BEDA HEAVEY                                      ARDILAWN                              ARCADIA ATHLONE         COUNTY WESTMEATH   IRELAND
BEDFORD H LYDON JR                               31 HILLCREST AVE                                                                                   SUMMIT            NJ    07901‐2011
BEDFORD R SMITH                                  1317 SE 46TH LANE                                                                                  CAPE CORAL        FL    33904‐8623
BEEBE L STEPHENSON CUST JAKE PARKER STEPHENSON   2521 CHEROKEE HILLS DR                                                                             BARTLESVILLE      OK    74006
UTMA OK
BEECHER C WHITEAKER                              161 MARRY GARDNER RD                                                                               SPARTA            TN    38583‐2725
BEECHER E DELK                                   3343 W WAHALLA LANE                                                                                PHOENIX           AZ    85027‐3823
BEECHER HOWARD                                   206 WRIGHT AVE                                                                                     LEBANON           OH    45036‐2255
BEECHER I UNDERHILL                              1022 JONES WOODS RD                                                                                GOOD HOPE         GA    30641‐2302
BEECHER I UNDERHILL & CAROL J UNDERHILL JT TEN   1022 JONES WOODS RD                                                                                GOOD HOPE         GA    30641‐2302

BEEHIVE ASSOCIATES INC                           C/O I G SELBERT                       42 E MAIN ST                                                 AMSTERDAM         NY    12010‐4504
BEGONIA MARTINEZ & CARMEN AZA MARTINEZ JT TEN    201 E 79TH ST #16D                                                                                 NEW YORK          NY    10021‐0839

BEHRAM M IRANI & KHORSHED B IRANI JT TEN         345 WHISMAN STATION DRIVE                                                                          MOUNT VIEW        CA    94043‐5256
BEI TSE CHAO & MAY CHAO JT TEN                   APT 6103                              CLARK‐LINDSEY VILLAGE   101 W WINDSOR RD                     URBANA            IL    61802‐6663
BELA GRINBERG                                    18 DINA CT                                                                                         STATEN ISLAND     NY    10306‐1132
BELA JOBB                                        1820 DELAWARE AVE                                                                                  FLINT             MI    48506‐3394
BELEN CARREON                                    600 FAIRFAX RD                        APT 76                                                       BAKERSFIELD       CA    93306‐6872
BELENDA L STRAUSS                                8340 WIGGINS RD                                                                                    HOWELL            MI    48843‐9214
BELIEVERS INVESTMENT ASSOC                       BOX 13386                                                                                          FLINT             MI    48501‐3386
BELINDA A HUTCHISON                              141 FREDERICSBURG DR                                                                               AVON LAKE         OH    44012‐1863
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 355 of 850
Name                                           Address1                                Address2                   Address3    Address4          City            State Zip

BELINDA A HUTCHISON CUST LINDSEY KARYN         141 FREDERICKSBERG DR                                                                            AVON LAKE       OH    44012‐1863
HUTCHISON UTMA OH
BELINDA A JONES                                157 N 400 E                                                                                      KOKOMO          IN    46901‐5754
BELINDA B ROBERTS                              ATTN BELINDA B GWINN                    4356 LONGCREEK CUTOFF RD                                 MERIDIAN        MS    39301
BELINDA BARLOW‐POOLE                           145 GRAHAM ST                                                                                    SAGINAW         MI    48602‐3132
BELINDA CHENOT                                 41 SANTA MARIA PL                                                                                HAMILTON        OH    45013
BELINDA D BARLOW‐POOLE & BERNICE M BARLOW JT   145 GRAHAM                                                                                       SAGINAW         MI    48602‐3132
TEN
BELINDA D COLLINS & BERNARD W THIELEN JT TEN   1110 WOLFF ST                                                                                    RACINE          WI    53402‐4168

BELINDA DAVIDSON                                7814 KAY DR                                                                                     CARLISLE        OH    45005‐4157
BELINDA DIXON CUST ERIC DIXON UTMA IL           PO BOX 1995                                                                                     MATTESON        IL    60443‐4995
BELINDA G WILKEY                                250 BRAEMAR RD                                                                                  FAYETTEVILLE    GA    30215‐1833
BELINDA G WINSTON                               16706 WAYNE DR                                                                                  CLEVELAND       OH    44128‐3359
BELINDA GAIL YOUNG                              1548 DOUBLETREE LN                                                                              NASHVILLE       TN    37217
BELINDA J BATES                                 PO BOX 1712                                                                                     BIRMINGHAM      MI    48012‐1712
BELINDA J HALABICKY                             5470 STIMSON RD                                                                                 DAVISON         MI    48423‐8782
BELINDA J WOODY                                 11495 JULIETTE                                                                                  WASHINGTON      MI    48094‐3678
BELINDA JO BOROWICZ & RANDALL T BOROWICZ JT TEN 2845 N BYRON ROAD                                                                               LENNON          MI    48449‐9606

BELINDA K MILLIKAN                             10944 ECHO TRAIL                                                                                 INDIANAPOLIS     IN   46236‐9079
BELINDA L HESS                                 PO BOX 464                                                                                       HAYMARKET        VA   20168‐0464
BELINDA L KEENER                               34 SCHUELE                                                                                       BUFFALO          NY   14215‐4036
BELINDA LADD                                   ATTN BELINDA O'CONNOR                   224 RIVIERA DR                                           BROOKLYN         MI   49230‐9777
BELINDA M BYRD                                 PO BOX 2088                                                                                      ANDERSON         IN   46018‐2088
BELINDA M DIETRICH                             128 PERRY ST                            APT 1106                                                 SANDUSKY         OH   44870‐2865
BELINDA M DOAK                                 220 WINFIELD DR                                                                                  NEW BRITAIN      CT   06053‐2620
BELINDA M MASSUCCI                             10331 ENDICOTT                                                                                   BELLEVILLE       MI   48111‐1249
BELINDA M WOLFORD                              8032 COUNTY ROAD 26                                                                              WEST MANSFIELD OH     43358‐9527
BELINDA PRUITT                                 37436 WILLOW LN                         APT X8                                                   WESTLAND         MI   48185‐3341
BELINDA R HOPKINS                              5631 DA COSTA                                                                                    DEARBORN HEIGHTS MI   48127‐2415

BELINDA S BAYLESS & JOHN C BAYLESS JT TEN      589 ANASAZI CRT                                                                                  KIOWA            CO   80117
BELINDA WOOD                                   200 LONG RUN RD                                                                                  LOUISVILLE       KY   40245‐4365
BELISA M OLIVEIRA                              6162 9TH AVENUE CIR NE                                                                           BRADENTON        FL   34202‐9559
BELL CHREVROLET OLDS INC                       ATTN HENRY BELL                         600 CHELSEA ST                                           SISTERVILLE      WV   26175‐1310
BELLA BUCHWALD                                 194 STOBE AVE                                                                                    STATEN ISLAND    NY   10306‐3520
BELLA GAETANO                                  480 HIGGINS RD                                                                                   CHESHIRE         CT   06410‐4260
BELLA GORDON                                   19 PROSPECT AVE                                                                                  RED BANK         NJ   07701‐2305
BELLAIRE 4‐H CLUB                              2 ABERCROMBIA DR                                                                                 HOUSTON          TX   77084‐4233
BELLAIRE COUNCIL 87 ROYAL & SELECT MASTERS     PO BOX 7                                                                                         BELLAIRE         OH   43906‐0007
BELLE A BELL                                   8056 WOODSTONE DR                                                                                GRAND BLANC      MI   48439‐7096
BELLE E SCHLESINGER                            38‐17 203RD ST                                                                                   BAYSIDE          NY   11361‐1862
BELLE GOLD CUST JEFFREY GOLD UGMA NY           2 SLEEPY HOLLOW RD                                                                               CHAPPAQUA        NY   10514‐1411
BELLE L POLIHONKI & SUSAN K SILKY JT TEN       4000 W ST JOSEPH                                                                                 LANSING          MI   48917‐4215
BELLE POWELL BRIGHTWELL                        1708 CARTER AVE                                                                                  COLUMBUS         GA   31906‐1408
BELLE S FIELDS                                 3615 CHATEAU DR                                                                                  COLUMBIA         SC   29204‐3908
BELLE S REESE                                  60 BYRON PLACE                                                                                   NEW HAVEN        CT   06515‐2406
BELLE WELLEK & ROBERT M WELLEK JT TEN          11 OLD CREEK COURT                                                                               ROCKVILLLE       MD   20854‐5529
BELLMINA GRUEY                                 202 LIVINGSTON ROAD                                                                              WEST MIFFLIN     PA   15122‐2521
BELLS FOOD MARKET INC                          PO BOX 48087                                                                                     ATHENS           GA   30604‐8087
BELMONT H KOCH                                 2005 OLIVE STREET                                                                                HIGHLAND         IL   62249‐2612
BELMONT INVESTMENT CO                          1801 GLEN MOOR DR                                                                                DENVER           CO   80215‐3037
BELTON H CROCKER                               610 E PULASKI                                                                                    FLINT            MI   48505‐3381
BELVA BULL                                     1740 GENTIAN CIR                                                                                 SOUTH LAKE TAHOE CA   96150‐6811

BELVA C OLIVER                                 8217 AUGUST AVE                                                                                  WESTLAND        MI    48185‐1741
BELVA DRAKE                                    151 WILDWOOD CT                                                                                  GREENEVILLE     TN    37745‐0434
BELVA E STUMP                                  917 MAIN ST                                                                                      ELKVIEW         WV    25071‐9703
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 356 of 850
Name                                               Address1                                Address2             Address3          Address4          City             State Zip

BELVA E WILSON                                     5652 BEAR STONE RUN                                                                              OVIEDO           FL    32765‐5030
BELVA HILLS                                        RURAL ROUTE 5                           LEAMINGTON ON                          N8H 3V8 CANADA
BELVER G GOODE                                     156 BROWNINGS CV                                                                                 SHIPMAN          VA    22971‐2585
BELVIA HAYWOOD                                     100 DETROIT BLVDS                                                                                LAKE ORION       MI    48362
BELVIN V LYONS                                     36887 S WHITNEY BAY RD                                                                           DRUMMOND         MI    49726‐9460
                                                                                                                                                    ISLAND
BEN A BODINE                                       24277 INKSTER RD                                                                                 NEW BOSTON       MI    48164‐9764
BEN A CHAVEZ                                       1384 W MEAD DR                                                                                   CHANDLER         AZ    85248‐5521
BEN A DONNELL & ELINOR D DONNELL JT TEN            205 JACKSON PL                                                                                   CORPUS CHRISTI   TX    78411‐1215
BEN A LEWIS                                        3132 OREGON AVE                                                                                  ST LOUIS         MO    63118‐2309
BEN A LUONGO                                       5 SKYLINE CI                                                                                     CANTON           MA    02021‐1868
BEN A MURRAY & GLORIA MURRAY JT TEN                1611 OVERBROOK RD                                                                                ENGLEWOOD        FL    34223‐1536
BEN A SHAVER                                       3162 ANNANDALE RD                                                                                FALLS CHURCH     VA    22042‐2635
BEN A STIDD                                        4426 JOHN THOMAS RD                                                                              RAVENNA          OH    44266‐9274
BEN ALEX                                           BOX 1741                                                                                         PALM SPRINGS     CA    92263‐1741
BEN B BRANTLEY                                     1128 ALVAREZ DRIVE                                                                               SARALAND         AL    36571‐9203
BEN B LEVITT & MRS GERALDINE B LEVITT JT TEN       97 RUDDY DUCK RD                                                                                 HEATHSVILLE      VA    22473‐3799
BEN B STORY                                        3147 2ND AVE                                                                                     OXFORD           WI    53952
BEN BEILER                                         950 N MICHIGAN AVE                      UNIT 3303                                                CHICAGO          IL    60611‐7516
BEN BORIN & RALPH BORIN SUCESSOR TR UW ANNA        SUITE 100                               11900 GLOBE ROAD                                         LIVONIA          MI    48150‐1141
BORIN
BEN BOUCHER                                        3 HOLMES COURT                                                                                   MONTPELIER       VT    05602‐2836
BEN C GREENLEE                                     6106 MEADOW DRIVE                                                                                LATHROP          MO    64465‐9103
BEN C HARRISON                                     PO BOX 3547                                                                                      SPARTANBURG      SC    29304‐3547
BEN C KEMENDO                                      3638 E 69TH PL                                                                                   TULSA            OK    74136‐2645
BEN C MURPHY                                       2066 ATTALA ROAD 3989                                                                            VAIDEN           MS    39176
BEN C ROBINSON                                     2 CONNEMARA COURT                                                                                ST PETERS        MO    63376‐2343
BEN CARDINALLI & MRS BARBARA J CARDINALLI JT TEN   70 OAKLAWN DR APT#23                                                                             DALY CITY        CA    94015‐3019

BEN CARR SWANSON                                   789 WESTLEDGE DR                                                                                 TROTWOOD         OH    45426‐2240
BEN COOPER JR                                      5952 LEHMAN DR                                                                                   BEDFORD          OH    44146‐3131
BEN DAHLMANN & ANN DAHLMANN JT TEN                 1552 NEWPORT CREEK DR                                                                            ANN ARBOR        MI    48103‐2200
BEN DARNELL & PHYLLIS DARNELL JT TEN               3461 SANDY BEACH                                                                                 WAYLAND          MI    49348‐9333
BEN DEANGELIS & MRS CATHERINE DEANGELIS JT TEN     4165 FRONTIER RD                                                                                 HATBORO          PA    19040‐3006

BEN DOOLEY                                         2646 VILLA AVENUE                                                                                INDIANAPOLIS     IN    46203
BEN E CHASE                                        15813 PAGE                                                                                       HARVEY           IL    60426‐4243
BEN E DAVIS                                        28 AVON AVE                                                                                      WAYNESBORO       VA    22980‐6566
BEN E DOBBS & JOAN V DOBBS JT TEN                  320 N FOSTER AVE                                                                                 ALBANY           IN    47320‐1313
BEN E GROCE                                        PO BOX 36                                                                                        STOCKBRIDGE      GA    30281‐0036
BEN E KEITH CO                                     PO BOX 2628                             ATTN MEL COCKRELL                                        FT WORTH         TX    76113‐2628
BEN E KENDRICK                                     3945 COUNTY RD 613                                                                               ALVARADO         TX    76009‐5157
BEN E NELSON                                       320 WEST HILLS RD                                                                                CHATTANOOGA      TN    37419‐2100
BEN E WIMBERLEY                                    4125 JAROSITE CT                                                                                 ANTIOCH          CA    94509‐8941
BEN ELLIS CUST MISS SUSAN RANDI ELLIS U/THE        1869 CRAIG PARK CT                      STE B1                                                   SAINT LOUIS      MO    63146‐4154
MISSOURI U‐G‐M‐A
BEN F BURDEN & JANE BURDEN JT TEN                  44 BROOKS SCHOOLHOUSE RD                                                                         CALHOON          KY    42327‐9702
BEN F DAVIS & YVONNE E DAVIS JT TEN                1508 APACHE LANE SE                                                                              DECATUR          AL    35601‐6518
BEN F HART                                         1518 LAKE AVE                                                                                    WILMETTE         IL    60091‐1638
BEN F PEARSON & JOANNE K PEARSON JT TEN            7117 EAST 69TH                                                                                   TULSA            OK    74133‐7704
BEN F RICHARDS                                     31 S FERNWOOD AV                                                                                 PITMAN           NJ    08071‐1641
BEN FOSTER                                         86 GREENFIELD AVE                                                                                ARDMORE          PA    19003‐1236
BEN FUTERNICK                                      5 SOMERSET DR SOUTH                                                                              GREAT NECK       NY    11020‐1821
BEN G SHEPPARD                                     16048 HIBISCUS WA                                                                                NORTH FORT MYERS FL    33903‐1444

BEN G SISSMAN                                      STE #3010                               100 N MAIN BLDG                                          MEMPHIS          TN    38103‐5031
BEN H JACKSON & CAROL K JACKSON JT TEN             2611 HABERSHAM AVE                                                                               COLUMBUS         GA    31906‐1352
BEN H KANIPE                                       6410 TWIGHLIGHT ST                                                                               KALAMAZOO        MI    49004
BEN H WILEY                                        12403 WYLIE LN                                                                                   SCURRY           TX    75158‐3754
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                    Part 1 of 8 Pg 357 of 850
Name                                           Address1                              Address2                     Address3   Address4          City              State Zip

BEN HALPERN & LOIS JULE HALPERN JT TEN         435 S CURSON AVE                      APT 7H                                                    LOS ANGELES       CA    90036‐5248
BEN HANKINS JR                                 109 WOODS STREET                                                                                EXCELSIOR SPRINGS MO    64024‐1717

BEN I ALLEN                                    7066 ARCADIA AVE                                                                                ST LOUIS          MO    63130‐2445
BEN I GEBHART                                  30 INDIAN RUN RD                                                                                GLENMOORE         PA    19343‐1302
BEN ISRAEL                                     8152 S EBERHART AVE                                                                             CHICAGO           IL    60619‐4908
BEN J DODSON                                   188 IDAHO RD                                                                                    YOUNGSTOWN        OH    44515‐2622
BEN J MILLER & MARGARET MILLER JT TEN          7323 PINEGROVE DR                                                                               JENISON           MI    49428‐7725
BEN J OLDS                                     2115 PINEBROOK TRAIL                                                                            CUYAHOGA FALLS    OH    44223‐2538
BEN K GIN & MRS SUE G GIN JT TEN               6007 GILMAN TRACE LN                                                                            HOUSTON           TX    77092‐5568
BEN K GRAHAM                                   BOX 501                                                                                         SOUTHBRIDGE       MA    01550‐0501
BEN K LEAVENWORTH & KIM K LEAVENWORTH JT TEN   9209 CROSS OAKS CT                                                                              FAIRFAX STATION   VA    22039‐3337

BEN KANTOR & BEATRICE KANTOR JT TEN            2201 S OCEAN DR                                                                                 HOLLYWOOD       FL      33019‐2539
BEN KENNEDY                                    365 BREADEN STREET                                                                              YOUNGSTOWN      OH      44502‐1835
BEN KNIZAN & MRS ANNE KNIZAN JT TEN            8361 WEST 4TH ST                                                                                LOS ANGELES     CA      90048‐4202
BEN L THOMPSON                                 BOX 25                                                                                          MC CRACKEN      KS      67556‐0025
BEN LANDSMAN & MYRIL LANDSMAN JT TEN           3100 LEXINGTON LN APT 206                                                                       GLENVIEW        IL      60025‐5936
BEN LATTIMORE & MARCI LATTIMORE JT TEN         1428 BARTON DR                                                                                  FORT WASHINGTON PA      19034‐2821

BEN LONDON                                     C/O TRUDY LONDON                      5 ARISTA CT                                               DIX HILLS         NY    11746‐4908
BEN M CABELL                                   C/O VIRGIE M CABELL                   20450 HUEBNER RD APT 11202                                SAN ANTONIO       TX    78258‐3907
BEN M DYER                                     5410 WESTERHAM PL                                                                               HOUSTON           TX    77069‐1945
BEN M FLOWE                                    11316 BRIEF RD                                                                                  CHARLOTTE         NC    28227‐8497
BEN M PERKINS                                  111 DIXON RD                                                                                    BOWDON            GA    30108‐2427
BEN MALEKZADEH                                 8406 DUNHAM STATION DR                                                                          TAMPA             FL    33647
BEN MCCLELLAN                                  246 SPIERS WA                                                                                   CROSSVILLE        TN    38555‐5247
BEN MOND & ROSE MOND JT TEN                    14777 WILDFLOWER LN                                                                             DELRAY BEACH      FL    33446‐1629
BEN NAKAMURA & BETTY S NAKAMURA JT TEN         955 E HOLLAND AVE                                                                               FRESNO            CA    93704‐3810
BEN NEAL                                       8209 S GREEN ST                                                                                 CHICAGO           IL    60620‐3146
BEN NEELY                                      737 LONGFELLOW DR                                                                               BEREA             OH    44017‐1128
BEN NEELY                                      737 LONGFELLOW DR                                                                               BEREA             OH    44017‐1128
BEN NOBLIN                                     453 DANDY BRUSH LN W                                                                            GAHANNA           OH    43230‐6822
BEN O BATIE                                    832 OAKDALE DRIVE                                                                               ANDERSON          IN    46011‐1143
BEN O ORDIWAY                                  4280 E LANSING ROAD                                                                             BANCROFT          MI    48414‐9722
BEN O WILKERSON JR                             5762 BUCKLAND MILLS                                                                             PINSON            AL    35126‐5523
BEN PAUL & JANIS SINKO JT TEN                  2711 VIA MONTEZUMA                                                                              SAN CLEMENTE      CA    92672‐3630
BEN R JOSEPH                                   1871 HAROLD ST                                                                                  ADRIAN            MI    49221‐4461
BEN R MC REE IV                                413 PHILMONT DR                                                                                 LANCASTER         PA    17601‐2821
BEN R RUSSELL & JOANN RUSSELL JT TEN           128 MURFIELD DR                                                                                 DAYTONA BEACH     FL    32114‐7128
BEN RHYMES                                     5152 ST LOUIS AVE                                                                               ST LOUIS          MO    63115‐1046
BEN S WARE                                     9408 HWY 495                                                                                    MERIDIAN          MS    39305‐8819
BEN SINGER & MRS RUTH SINGER JT TEN            407 RICHMOND A                                                                                  DEERFIELD BEACH   FL    33442‐2989
BEN SLIFE                                      1220 13TH AVE                                                                                   UNION GROVE       WI    53182
BEN SMITH                                      7477 SELENA ST                                                                                  RIVERSIDE         CA    92508‐6629
BEN T DAVIS CUST MICHAEL P DAVIS UGMA AZ       1740 N ACACIA STREET                                                                            MESA              AZ    85213‐3446
BEN T GILL JR & NELLIE N GILL JT TEN           318 MADRID DR                                                                                   UNIVERSAL CITY    TX    78148‐3143
BEN T GILL JR & NELLIE N GILL TEN COM          318 MADRID DR                                                                                   UNIVERSAL CITY    TX    78148‐3143
BEN T HEAD                                     930 COUNTY ROAD 744                                                                             ALMONT            CO    81210‐9702
BEN T MORGAN                                   339 W FARM RD                                                                                   NANCY             KY    42544‐8933
BEN T MULLINS                                  3711 OZIAS RD                                                                                   EATON             OH    45320‐9750
BEN T TSURUDA                                  729 PALERMO DR                                                                                  SANTA BARBARA     CA    93105‐4449
BEN VINEGAR                                    314 PROSPECT                                                                                    PONTIAC           MI    48341‐3244
BEN W BOHANNON                                 27024 NEW YORK                                                                                  INKSTER           MI    48141‐2526
BEN W HALL & MELVENIA HALL JT TEN              2274 FRANKLIN DR                                                                                WINTERVILLE       NC    28590
BEN W JERNIGAN JR                              STE 340                               315 W PONCE DE LEON AVE                                   DECATUR           GA    30030‐2450
BEN W JOHNSON                                  29460 ANNAPOLIS                                                                                 INKSTER           MI    48141‐2828
BEN W MULDER & JOSIE MULDER JT TEN             505 1/2 BROADWAY ST                                                                             PELLA             IA    50219‐1817
BEN W PEEBLES                                  1921 MAGNOLIA                                                                                   FLINT             MI    48503‐4091
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 358 of 850
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

BEN W WATTS                                       724 MAGRUDER CRT                                                                                 EVANS           GA    30809‐4064
BEN WALTER LUTEK & LAURA JANE LUTEK TR LUTEK      2901 CEDAR RIDGE DRIVE                                                                           MCKINNEY        TX    75070‐3913
FAMILY TRUST UA 10/21/99
BEN WALTON                                        350 NORFOLK ST                                                                                   BUFFALO         NY    14215‐3109
BEN WORTH MCWHORTER                               2015 Q AVE                                                                                       NEW CASTLE      IN    47362‐2147
BEN YOUNG HICKS                                   406 FERN CT                                                                                      FREDERICKSBRG   VA    22408‐1527
BEN ZAVALA TR UA 03/23/99 ZALVLA LIVING TRUST     12271 COIT RD APT 2313                                                                           DALLAS          TX    75251

BEN‐HUR BAZ                                       ATTN ADAMS & BECKER                     22 OAKWOOD RD                                            HUNTINGTON      NY    11743‐4231
BENA RAYMAN                                       C/O WILMA CHAMIS                        411 JEFFERSON ST                                         HERCULANEUM     MO    63048‐1106
BENARD MC KINNON JR                               3012 BETHEL CHURCH RD                                                                            BETHEL PARK     PA    15102‐1202
BENEDETTO DE GENNARO                              1875 CARDINAL CT                                                                                 NILES           OH    44446‐4101
BENEDETTO MITRANO                                 22 ELLEN RD                                                                                      STONEHAM        MA    02180‐1500
BENEDICT AZZARO & MRS CARMELA AZZARO JT TEN       305 NEILSON ST                                                                                   DIX HILLS       NY    11746‐7016

BENEDICT BATTAGLINO CUST WENDY JILL BATTAGLINO    28292 BRICK ROW DR                                                                               OXFORD          MD    21654‐1735
UGMA NJ
BENEDICT D ELWARTOWSKI                            47986 VITTORIO                                                                                   SHELBY TWP      MI    48315‐4235
BENEDICT E BUSZKA JR                              89 FRANCIS ST                                                                                    SLOAN           NY    14212‐2323
BENEDICT F TANTILLO & THERESA M TANTILLO JT TEN   255 BUFF CAP RD                                                                                  TOLLAND         CT    06084‐2607

BENEDICT H ZALBA TR SANDRA JO ZALBA              38180 DEL WEBB BLVD                      PMB 20                                                   PALM DESERT     CA    92211‐1256
BENEDICT HO & JEANNIE HO JT TEN                  160‐52 27TH AVE                                                                                   FLUSHING        NY    11358‐1012
BENEDICT IMPRESICA & MRS OPAL M IMPRESCIA JT TEN 1381 PEREGRINE DRIVE                                                                              GILROY          CA    95020‐7756

BENEDICT J KLIMAS                                 4015 JEFFERSON AVENUE                                                                            HAMBURG         NY    14075‐2939
BENEDICT J MICELI                                 951 GROVE ST                                                                                     MEADVILLE       PA    16335‐2939
BENEDICT J RUPAKA                                 220 MORNINGSIDE DR E                                                                             BRISTOL         CT    06010
BENEDICT JOHN ZIEMSKI JR CUST ANDREW JOHN         1609 DUNDALK AVE                                                                                 BALTIMORE       MD    21222‐1034
ZIEMSKI UTMA MD
BENEDICT K KING & PEGGY H KING TR KING TRUST UA   16 ECLIPSE CT                                                                                    ALAMEDA         CA    94501
11/23/94
BENEDICT K SMITH                                  312 SEABROOK DR                                                                                  WILLIAMSVILLE   NY    14221‐1918
BENEDICT M DUBROVICH                              1763 WINTERPARK DR                                                                               PARMA           OH    44134‐6636
BENEDICT ROMEO & ALICE ROMEO JT TEN               44 HILLSIDE AVE                                                                                  CRESSKILL       NJ    07626‐1610
BENEDICT T LAMEY                                  3106 W 53RD ST                                                                                   ANDERSON        IN    46011‐9459
BENEDICTINE MONKS INC ST BENEDICTS ABBEY                                                                                                           BENET LAKE      WI    53102
BENEDICTO PADRON                                  270 W 25TH ST                                                                                    HOLLAND         MI    49423‐4907
BENETTA JONES                                     1839 OWEN                                                                                        FLINT           MI    48507
BENFORD AMMONS JR                                 181 MARYVIEW PKWY                                                                                MATTESON        IL    60443‐1297
BENGT O ERIKSON                                   6360 E WASHINGTON AVE                                                                            LAS VEGAS       NV    89110‐1921
BENIAMINO A MUCCI                                 11663 MORAN                                                                                      TAYLOR          MI    48180‐4135
BENIGNO CRUZ                                      40669 PAM DR                                                                                     CLINTON TWP     MI    48038‐4127
BENIGNO CRUZ                                      40669 PAM DR                                                                                     CLINTON TWP     MI    48038‐4127
BENIGNO GOIRIGOLZARRI & LUISA GOIRIGOLZARRI JT    C/O JAVIER GOIRICOLZARRI                1221 GARDEN GROVE                                        ROSEBURG        OR    97470‐9576
TEN
BENIGNO RIVERA                                    5651 WILLIAMS LAKE RD                                                                            DRAYTON PLNS    MI    48020
BENIGNO S NEGRON                                  66 S SKYWARD DR                                                                                  NEWARK          DE    19713‐2843
BENILEA ANNUNZIO                                  16037 VIA VECINOS                                                                                SAN LORENZO     CA    94580‐2039
BENITA BOOK                                       1724 E MAYNARD DR                                                                                INDIANAPOLIS    IN    46227‐5020
BENITA G CURRY                                    1018 73RD AVE                                                                                    OAKLAND         CA    94621‐2910
BENITA MOLT                                       115 ORCHARD DRIVE                                                                                TRAFFORD        PA    15085‐1610
BENITA MOLT & JOHN A MOLT JT TEN                  115 ORCHARD DR                                                                                   TRAFFORD        PA    15085
BENITI L GLOW                                     7860 CALLE JUELA                                                                                 SAN DIEGO       CA    92037‐4002
BENITO ARBORE                                     11 ANN MARIE DR                                                                                  ROCHESTER       NY    14606‐4601
BENITO CANDILLO                                   3126 KARNES BLVD                                                                                 KANSAS CITY     MO    64111‐3653
BENITO DIAZ                                       1605 OAK ST                                                                                      TOLEDO          OH    43605‐3411
BENITO L VILLARREAL                               2132 HOUNSLOW DR                                                                                 SAN JOSE        CA    95131‐2621
                                               09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 359 of 850
Name                                                 Address1                               Address2                    Address3   Address4          City            State Zip

BENITO MATOS                                         GM VENEZOLANA C A                      8424 NW 56 ST                                            CODIGO VLN 0005 FL    33166‐3327
                                                                                                                                                     MI
BENITO RAMIREZ                                       322 REMOLINO                                                                                    SAN ANTONIO      TX   78237‐3957
BENITO RODRIGUEZ                                     7143 NORWALK                                                                                    WHITTIER         CA   90606‐1754
BENITO VELOZ                                         422 CORRAL PATH                                                                                 LANSING          MI   48917‐2726
BENITORIAN JURADO                                    1434 S 27TH                                                                                     KANSAS CITY      KS   66106‐2127
BENJAMIN A DONAHEE                                   38667 FLORENCE                                                                                  WESTLAND         MI   48185‐8802
BENJAMIN A DUNLAP                                    4084 W LASING RD                                                                                ROSCOMMON        MI   48653‐8738
BENJAMIN A GIBERT                                    18460 VIA PIAZZA DR                                                                             NORTHVILLE       MI   48167
BENJAMIN A HUGGIN JR                                 16 THOMAS DR                                                                                    POQUOSON         VA   23662‐1722
BENJAMIN A KNAUP                                     3548 KOSSEN LANE                                                                                SPRINGFIELD      MO   65803
BENJAMIN A MCMAHAN                                   25204 TOWER                                                                                     LENWOOD          CA   92311‐3548
BENJAMIN A MIKULSKY                                  93 GRANITE ST                                                                                   UXBRIDGE         MA   01569‐1228
BENJAMIN A PARKER                                    441 BRANCH AVE                                                                                  LITTLE SILVER    NJ   07739‐1164
BENJAMIN A PERRY                                     535 S CAMPBELL                                                                                  ROYAL OAK        MI   48067‐3952
BENJAMIN A PITEO JR                                  26 WHISPERING ROD RD                                                                            FARMINGTON       CT   06085‐1437
BENJAMIN A POREDA                                    994 S BROAD ST                                                                                  TRENTON          NJ   08611‐2008
BENJAMIN A RANDAZZO                                  1312 SUNRISE BLVD                                                                               MONROE           MI   48162‐4382
BENJAMIN A SEASE                                     2978 SAN PABLO RD                                                                               JACKSONVILLE     FL   32224‐1832
BENJAMIN A SMITH JR                                  854 DERBY FARMS DR                                                                              SEVERN           MD   21144‐2735
BENJAMIN A SULKOWSKI                                 42105 HIDDEN BROOK DR                                                                           CLINTON TOWNSHIP MI   48038‐2161

BENJAMIN A SULLIVAN                                  65 RINGLE ST                                                                                    ROCHESTER       NY    14619‐1011
BENJAMIN A SUMLER                                    4131 VALLEY ROAD                                                                                HARRISBURG      PA    17112‐2886
BENJAMIN ALLAN PIERCEY                               7840 DILLEY RD                                                                                  DAVISBURG       MI    48350‐2640
BENJAMIN B BOLGER                                    6606 HWY M‐71                                                                                   DURAND          MI    48429‐9767
BENJAMIN B BROWN JR                                  625 WOOD RD                                                                                     CHARLESTON      WV    25302‐2923
BENJAMIN B CAINE                                     53 APPLEWOOD                                                                                    CHILLICOTHE     OH    45601‐1906
BENJAMIN B GROSSMAN CUST ROBERT GROSSMAN             PO BOX 64                                                                                       CEDAR KNOLLS    NJ    07927‐0064
U/THE NEW YORKU‐G‐M‐A
BENJAMIN B WRIGHT & SANDRA L WRIGHT TR WRIGHT        804 WEST OCEAN FRONT                                                                            BALBOA          CA    92661‐1114
FAMILY TRUST UA 05/20/85
BENJAMIN BARCKHOLTZ                                  1615 LINCOLN AVE                                                                                PLATTSMOUTH     NE    68048
BENJAMIN BISSETT III & MARGUERITE C BISSETT JT TEN   330 SPRUCE DR                                                                                   MERCER          PA    16137‐9120

BENJAMIN BISSETT III CUST BENJAMIN BISSETT IV UTMA 330 SPRUCE AVE                                                                                    MERCER          PA    16137‐9120
PA
BENJAMIN BISSETT III CUST CATHERINE BISSETT UTMA 330 SPRUCE AVE                                                                                      MERCER          PA    16137‐9120
PA
BENJAMIN BLAVAT                                    BLDG 17 APT 205                          9520 S HOLLYBROOK LAKE DR                                PEMBROKE PNS    FL    33025‐1677
BENJAMIN BROCK                                     2432 WILSHIRE WAY                                                                                 DOUGLASVILLE    GA    30135‐8129
BENJAMIN C KENNY                                   719 MAIDEN CHOICE LN                     APT BR434                                                CATONSVILLE     MD    21228‐6196
BENJAMIN C LEE                                     12323 BAND BOX PL                                                                                 DALLAS          TX    75244‐7001
BENJAMIN C NEELEY                                  2006 N ST                                                                                         BEDFORD         IN    47421‐4035
BENJAMIN C PASZENSKI                               248 BARMONT DR                                                                                    ROCHESTER       NY    14626‐1506
BENJAMIN C SIRMARCO                                850 BRYAN STREET                                                                                  ELMHURST        IL    60126‐4848
BENJAMIN C SIRMARCO & ANN M SIRMARCO JT TEN        850 BRYAN STREET                                                                                  ELMHURST        IL    60126‐4848

BENJAMIN C SPANN CUST JOSEPH B SPANN UTMA LA         14226 WOODLAND RIDGE AVE                                                                        BATON ROUGE     LA    70816‐2739

BENJAMIN C SPANN CUST PATRICK L SPANN UTMA LA        14226 WOODLAND RIDGE AVE                                                                        BATON ROUGE     LA    70816‐2739

BENJAMIN C TRAMMELL                                  PO BOX 121                                                                                      CHERRY LOG      GA    30522‐0121
BENJAMIN C TURNER                                    2745 ROBERTS DR                                                                                 MONROE          MI    48162‐4339
BENJAMIN C WETZEL JR                                 APT 901                                1301 N HARRISON ST                                       WILMINGTON      DE    19806‐3168
BENJAMIN CARMONA                                     14365 SW BEEF BEND RD 2                                                                         PORTLAND        OR    97224‐1939
BENJAMIN CASTRO & AIDA CASTRO JT TEN                 3 WESTGATE CT                                                                                   TOMS RIVER      NJ    08757‐6546
BENJAMIN CHATZKEL                                    6868 GRENELEFE ROAD                                                                             BOYNTON BEACH   FL    33437‐6000
BENJAMIN CHOY                                        2848 MODESTO AVE                                                                                OAKLAND         CA    94619‐3336
                                                09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 360 of 850
Name                                              Address1                                 Address2             Address3          Address4          City                State Zip

BENJAMIN CLAUDE SPANN                             14226 WOODLAND RIDGE AVE                                                                          BATON ROUGE         LA    70816‐2739
BENJAMIN COHEN & ZELDA COHEN JT TEN               87 BRIDGE ST                                                                                      LEXINGTON           MA    02421‐7946
BENJAMIN COLE                                     48 ELLSWORTH AVE                                                                                  TRENTON             NJ    08618‐4102
BENJAMIN COOPER III                               4622 LISTER                                                                                       KANSAS CITY         MO    64130‐2267
BENJAMIN D GRATTAN                                6804 VALIANT DR                                                                                   WINDSOR             WI    53598‐9504
BENJAMIN D HOUSE                                  610 HWY 246‐E                                                                                     VANDERVOORT         AR    71972‐9612
BENJAMIN D HUNTER                                 315 GRACE ST                                                                                      COLQUITT            GA    31737‐3512
BENJAMIN D LINGLE                                 PO BOX 1683                                                                                       LANCASTER           SC    29720
BENJAMIN D OPYR & EDITH M OPYR JT TEN             52314 LIVINGSTONE CT                                                                              SHELBY TOWNSHIP     MI    48316‐3444

BENJAMIN D PINGREE                                8215 ROLLING FIELDS RD                                                                            CHARLOTTE           NC    28227‐7051
BENJAMIN D ROBINSON & MARY A ROBINSON JT TEN      13625 SUMMER RAIN DRIVE                                                                           ORLANDO             FL    32828‐7446

BENJAMIN D RODRIGUEZ & VISITACION C RODRIGUEZ JT 274 16TH AVE                                                                                       SAN FRANCISCO       CA    94118‐1019
TEN
BENJAMIN D SNY                                   1952 FREELAND RD                                                                                   BAY CITY            MI    48706‐9383
BENJAMIN DERIN                                   475 SHADOWBROOK CIR                                                                                AURORA              OH    44202
BENJAMIN DIXON GADDY III                         3613 LAMAR AVE                                                                                     RED BANK            TN    37415‐4001
BENJAMIN E ADKINS & HEATHER M ADKINS JT TEN      11851 E FENWICK RD                                                                                 CARSON CITY         MI    48811‐9754
BENJAMIN E ASUNCION                              11819 DORAL AVE                                                                                    NORTHRIDGE          CA    91326‐1220
BENJAMIN E BOSTICK & MISS PATTI M BOSTICK JT TEN 59 SADDLERIDGE CT                                                                                  MYERSVILLE          MD    21773‐7802

BENJAMIN E BUTZBAUGH 2ND                       P O BOX 2743                                                                                         DAPHNE              AL    36526
BENJAMIN E DREIDEL                             70 EMERSON AVE                                                                                       UTICA               NY    13501‐5639
BENJAMIN E HUDSON & JANET B HUDSON JT TEN      SETUCKET RD                                                                                          BREWSTER            MA    02631
BENJAMIN E JUNG                                BOX 233                                                                                              JEFFERSON           WI    53549‐0233
BENJAMIN E KALLEVIK & MRS NORMA R KALLEVIK JT  5504 MC GUIRE ROAD                                                                                   EDINA               MN    55439‐1343
TEN
BENJAMIN E KOWALCYK                            3726 CIRCLE DRIVE                                                                                    FLINT               MI    48507‐1879
BENJAMIN E KOWALCYK & MRS MARY ELLEN KOWALCYK 3726 CIRCLE DRIVE                                                                                     FLINT               MI    48507‐1879
JT TEN
BENJAMIN E LEIBE JR                            170 SUSIE DR                                                                                         CANYON LAKE         TX    78133‐5209
BENJAMIN E LICHTTENEGGER TR BENJAMIN E         C/O CAROL BANKS                             13776 FORDHAM AVE                                        APPLE VALLEY        MN    55124
LICHTTENEGGER TRUST UA 04/06/88
BENJAMIN E MORGAN                              621 PEERMAN PLACE                                                                                    CORPUS CHRISTI      TX    78411‐2241
BENJAMIN E STAPP & ANITA G STAPP JT TEN        1414 WHISPER LAKE BLVD                                                                               SEBRING             FL    33870
BENJAMIN EATON                                 32 MEANDER ROW                                                                                       CHARLESTON          SC    29412
BENJAMIN EVANS                                 801 WALNUT AVE                                                                                       BULL SHOALS         AR    72619
BENJAMIN F ALEXANDER                           7615 BRESNAHAN ST                                                                                    SAN ANTONIO         TX    78240‐3631
BENJAMIN F ANDREWS                             19160 INDIANA                                                                                        DETROIT             MI    48221‐3206
BENJAMIN F BRANCH                              797 COLLEGE RUN DR                                                                                   SURRY               VA    23883‐2607
BENJAMIN F BURDA & MRS VICTORIA C BURDA JT TEN 21621 E 9 MILE RD                                                                                    SAINT CLAIR SHORE   MI    48080‐1811

BENJAMIN F CAGLE                                  2876 CHADWICK DR                                                                                  BEL RIDGE           MO    63121‐4709
BENJAMIN F DANIELS & MAUDE L DANIELS JT TEN       215 S ANTLER ST APT 312                                                                           GLADWIN             MI    48624‐2044
BENJAMIN F DUVALL                                 6305 MELROSE ST                                                                                   DOUGLASVILLE        GA    30134‐1881
BENJAMIN F FOLGER 3RD                             4556 FERNHAVEN CIR                                                                                WINSTON SALEM       NC    27104‐2939
BENJAMIN F GACAYAN                                PSC 473 BOX 864                                                                                   FPO                 AP    96349‐5555
BENJAMIN F HERR TR B FRANKLIN HERR JR REV LIV     1065 SHEEHAN BLVD                                                                                 PORT CHARLOTTE      FL    33952‐1725
TRUST UA 03/20/01
BENJAMIN F HINES                                  3865 VILLAGE DR S W                                                                               ATLANTA             GA    30331‐2221
BENJAMIN F HOLLIMAN                               3335 SCHUBERT AVE                                                                                 CHICAGO             IL    60647‐1301
BENJAMIN F LEEPER                                 PO BOX 207                                                                                        HODGE               LA    71247‐0207
BENJAMIN F LOGAN SR                               3481 DALE LN SW                                                                                   ATLANTA             GA    30331‐2513
BENJAMIN F MERCHANT III                           597 JOHNSON RD                                                                                    IONIA               MI    48846‐9540
BENJAMIN F MOYD                                   380 ABERDEEN ST                                                                                   ROCHESTER           NY    14619‐1339
BENJAMIN F MURPHY                                 805 KAUFMAN AVE                                                                                   FORT PIERCE         FL    34950‐6542
BENJAMIN F PAXTON JR                              1329 POND BRANCH RD                                                                               GILBERT             SC    29054‐8734
BENJAMIN F PHILLIPS                               90 MANOR RD                              APT A                                                    KINGSTON            PA    18704‐5929
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 361 of 850
Name                                               Address1                             Address2             Address3          Address4          City               State Zip

BENJAMIN F PITTS                                9 LABETTE CT                                                                                     LITTLE ROCK        AR    72205‐6807
BENJAMIN F PORTER                               2890 CROSSWHITE DR                                                                               HERMITAGE          PA    16148‐7013
BENJAMIN F QUINN CUST CHRISTINA ANN QUINN UTMA‐ 1973 CEDARWOOD DR                                                                                MELBOURNE          FL    32936
FL
BENJAMIN F RANDOLPH JR                          1812 ARCH ST                                                                                     YOUNGSTOWN         OH    44505‐3506
BENJAMIN F ROBERTS                              4536 ARROWHEAD DRIVE SE                                                                          DECATUR            AL    35603‐5142
BENJAMIN F SARO & LYNNE A SARO JT TEN           BOX 733                                                                                          DAYTONA BEACH      FL    32115‐0733
BENJAMIN F SPROAT                               BOX 185                                                                                          SPRINGBORO         OH    45066‐0185
BENJAMIN F TODD & THRESA M TODD JT TEN          5255 WORCHESTER DR                                                                               SWARTZ CREEK       MI    48473‐1159
BENJAMIN FABISZEWSKI                            541 LYMAN AVE                                                                                    WOODBRIDGE         NJ    07095‐2224
BENJAMIN FELDMAN                                84 CHOIR LANE                                                                                    WESTBURY           NY    11590
BENJAMIN FERRI                                  19 MEREDITH LANE                                                                                 STAMFORD           CT    06903‐4114
BENJAMIN FINE                                   24 WESTBANK LN                                                                                   STAMFORD           CT    06902‐1309
BENJAMIN FLES & EDITH V FLES JT TEN             7390 OLD MILL RD                                                                                 BLOOMFIELD HILLS   MI    48301‐3936

BENJAMIN FRANKLIN WARNER                           5907 WARM SPRINGS                                                                             HOUSTON            TX    77035‐2327
BENJAMIN FULTON                                    4915 BANGOR DR                                                                                KENSINGTON         MD    20895‐1213
BENJAMIN G BELL                                    2338 POST ST                                                                                  JACKSONVILLE       FL    32204‐3622
BENJAMIN G DAVIS JR                                6580 MADRIGAL TERR                                                                            COLUMBIA           MD    21045‐4628
BENJAMIN G DEMLER                                  580 OLIVER ST                        APT 1                                                    N TONAWANDA        NY    14120‐4379
BENJAMIN G DINES                                   220 PERKINSWOOD BLVD SE APT C                                                                 WARREN             OH    44483‐6256
BENJAMIN G FARNUM TR UA 07/28/82 B ALDEN           397 FARNUM STREET                                                                             N ANDOVER          MA    01845‐5611
FARNUM REVOCABLE FAMILY TRUST
BENJAMIN G FARR                                    2158 S 380E                                                                                   ANDERSON           IN    46017‐9727
BENJAMIN G HUGAN                                   G5210 SOUTH VASSAR ROAD                                                                       GRAND BLANC        MI    48439
BENJAMIN GARRETT REYNOLDS                          224 YOUNGER RD                                                                                DIANA              TX    75640
BENJAMIN GEBHART                                   30 INDIAN RUN ROAD                                                                            GLENMOORE          PA    19343‐1302
BENJAMIN GEBHART & MRS SONDRA GEBHART JT TEN       30 INDIAN RUN ROAD                                                                            GLENMOORE          PA    19343‐1302

BENJAMIN GEORGE ENGER                              77777 COON CREEK ROAD                                                                         ARMADA             MI    48005‐1910
BENJAMIN GERSOVITZ                                 4360 MONTROSE AVE                    WESTMOUNT QC                           H3Y 2B1 CANADA
BENJAMIN GOLDSMITH                                 4968 JUNCTION ST                                                                              DETROIT         MI       48210‐2519
BENJAMIN GROSS                                     3930 WILL O WAY LANE                                                                          WEST BLOOMFIELD MI       48322

BENJAMIN GUTIERREZ                                 5259 HARVERCREST WALK CT                                                                      LILBURN            GA    30047‐5964
BENJAMIN H AIKEN                                   3154 GRACEFIELD RD                   APT 310                                                  SILVER SPRING      MD    20904‐0807
BENJAMIN H BAKER                                   9293 CLARIDGE                                                                                 DAVISON            MI    48423‐8708
BENJAMIN H BAKER                                   9293 CLARIDGE DR                                                                              DAVISON            MI    48423‐8708
BENJAMIN H BOUIER JR                               ATTNN CARL PAYNE‐POA                 3546 CAMPGROUND RD                                       ATOKA              TN    38004‐6530
BENJAMIN H BOUIER JR & CHRISTINE P BOUIER JT TEN   ATTN CARL PAYNE‐POA                  3546 CAMPGROUND RD                                       ATOKA              TN    38004‐6530

BENJAMIN H BROMLEY                                 73 HOYCLO RD C/O J ROBERT            BROMLEY                                                  STAMFORD           CT    06903‐2930
BENJAMIN H DANIELS                                 214 SPOONBILL LOOP                                                                            ELIZABETH CTY      NC    27909‐7973
BENJAMIN H DIXON                                   720 W 111 ST                                                                                  LOS ANGELES        CA    90044‐4235
BENJAMIN H DOTSON                                  9142 COLUMBIA ROAD                                                                            LOVELAND           OH    45140‐1117
BENJAMIN H ELFERS                                  13501 MILLIMAN RD RT 1                                                                        NORWALK            OH    44857‐9618
BENJAMIN H KELLER                                  P O BOX 391                                                                                   ATGLEN             PA    19310
BENJAMIN H LAI                                     UNIT 7 7170 ANTRIM AVE               BURNABY BC                             V5J 5K2 CANADA
BENJAMIN H LAURY                                   C/O LAURY HEATING                    400 SALEM STREET                                         ELMER              NJ    08318‐2213
BENJAMIN H LOCHER                                  4139 MEIGS                                                                                    DRAYTON PLNS       MI    48020
BENJAMIN H MCCULLOCH                               617 HICKORY LANE                                                                              BERWYN             PA    19312‐1436
BENJAMIN H RIPPEON                                 2721 ONTARIO ROAD NW                                                                          WAASHINGTON        DC    20009‐2107
BENJAMIN H VICKERS                                 10001 BORDER CT                                                                               GRAND BAY          AL    36541‐4957
BENJAMIN H WHITFIELD JR                            PO BOX 639                                                                                    RAWLINS            WY    82301‐0639
BENJAMIN HARRISON BESHEARS                         2163 BIG IVY RD                                                                               PURLEAR            NC    28665‐9103
BENJAMIN HARVIN JR                                 1710 DARLEY AVE                                                                               BALTIMORE          MD    21213‐1332
BENJAMIN HORNE TR BENJAMIN DODGE HORNE UA          TODD POND RD                                                                                  LINCOLN            MA    01773
12/28/76
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 362 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

BENJAMIN HORNE TR TERENCE DODGE HORNE UA         TODD POND RD                                                                                    LINCOLN          MA    01773
12/28/76
BENJAMIN HOWIE CUST GRIFFIN P MEYERS UGMA NJ     8 ROCKS RD                                                                                      GLEN ROCK        NJ    07452‐2024

BENJAMIN HUANG                                   3014 ONEIDA STREET                                                                              PASADENA         CA    91107‐5319
BENJAMIN IROING SHAW III                         6701 ELTON DENNIS RD                                                                            WILLARDS         MD    21874‐1147
BENJAMIN J CISROW JR                             BOX 336                                                                                         BRIDGETON        NJ    08302‐0258
BENJAMIN J DAVIS SR                              2346 WADE AVE                                                                                   RALEIGH          NC    27607‐6944
BENJAMIN J EDMUNDSON                             5850 BELL CREEK RD                                                                              MUNCIE           IN    47302‐8899
BENJAMIN J FERGUSON                              596 HERBERT SEGARS RD                                                                           GILLSVILLE       GA    30543‐4615
BENJAMIN J FITZGERALD                            10830 MILL RD                                                                                   CINCINNATI       OH    45240‐3514
BENJAMIN J HAMILTON                              8800 S 300 W                                                                                    PONETO           IN    46781‐9708
BENJAMIN J JONES                                 1205 MARKET                                                                                     MADISON          IL    62060
BENJAMIN J MILLER & SHARON K MILLER JT TEN       2238 BLACKTHORN DR                                                                              BURTON           MI    48509‐1204
BENJAMIN J MOSSAWIR                              1107 VILLA ST                                                                                   MOUNTAIN VIEW    CA    94041‐1239
BENJAMIN J PEMBERTON                             PO BOX 490                                                                                      CONGRESS         AZ    85332‐0490
BENJAMIN J RODGERS JR                            3125 WESTLOCH CIR                                                                               YPSILANTI        MI    48198‐9655
BENJAMIN J SWANSON                               800 GIBSON                                                                                      OXFORD           MI    48371‐4521
BENJAMIN J TOMASIK & IRENE M TOMASIK JT TEN      15174 OCONNOR                                                                                   ALLEN PARK       MI    48101‐2938
BENJAMIN J UNDERWOOD                             20268 VAUGHAN                                                                                   DETROIT          MI    48219‐1454
BENJAMIN J VILLNAVE                              3085 WIEDRICH RD                                                                                WALWORTH         NY    14568‐9516
BENJAMIN J WACHELDORF                            4112 SANDY LN                                                                                   CONCORD          NC    28027‐8901
BENJAMIN J WARREN                                1333 96TH AVE                                                                                   OAKLAND          CA    94603‐1425
BENJAMIN JACOB GENET                             3870 N 40TH AVE                                                                                 HOLLYWOOD        FL    33021‐1861
BENJAMIN JAMES SHAUGHNESSY                       10044 IRWIN CIR                                                                                 MINNEAPOLIS      MN    55437
BENJAMIN JERRED BENNETT                          6628 KELSEY CT                                                                                  MINNEAPOLIS      MN    55436‐2719
BENJAMIN JOANNOU SR                              10155 SW 124TH AVE                                                                              MIAMI            FL    33186‐2516
BENJAMIN JOHN AYDENT                             664 W RAMBLER CT                                                                                CASA GRANDE      AZ    85222‐6672
BENJAMIN JOHNS JR & BENJAMIN JOHNS III TEN COM   5269 CORDOVA BAY RD                    VICTORIA BC                            V8Y 2L3 CANADA

BENJAMIN JOHNSON JR                              1760 ESTATES DR                                                                                 DETROIT          MI    48206‐2827
BENJAMIN K ASHER                                 400 HILLBROOK DR                                                                                CUYAHOGA FALLS   OH    44223‐3509
BENJAMIN K EMERSON                               31 MASSACHUSETTS AVE                                                                            DEDHAM           MA    02026‐1407
BENJAMIN K HAWK                                  502 PROMENADE COURT                                                                             FRANKLIN         TN    37064‐0736
BENJAMIN KELLY                                   695 MAIN ST                                                                                     FREMONT          NH    03044‐3583
BENJAMIN L BADGEROW                              1884 MELVIN HILL RD                                                                             CAMPOBELLO       SC    29322‐8356
BENJAMIN L BEAVIN                                2957 SUNDERLAND CT                                                                              ABINGDON         MD    21009‐1921
BENJAMIN L BENAVIDES                             5604 SCHAFER RD                                                                                 LANSING          MI    48911‐4916
BENJAMIN L DOUMA                                 10240 N 2ND                                                                                     OTSEGO           MI    49078‐9516
BENJAMIN L GOOCH & OCTAVIA A GOOCH JT TEN        57 HARVEY MILL RD                                                                               LEE              NH    03824‐6302
BENJAMIN L HARTLEY                               400 E GENESEE ST                                                                                DURAND           MI    48429‐1405
BENJAMIN L LIPSCOMB                              2758 PIERCE RD                                                                                  GAINESVILLE      GA    30507‐7874
BENJAMIN L MACANDOG JR                           5519 GREENBRIAR DR                                                                              W BLOOMFIELD     MI    48322‐1400
BENJAMIN L MYERS                                 2329 WILLOW LANE                                                                                GRAND BLANC      MI    48439
BENJAMIN L RUSSELL                               4266 DROWFIELD DR                                                                               DAYTON           OH    45426
BENJAMIN L TABER TR BEJAMIN L TABER TRUST UA     459 PASSAIC AVE                        APT 122                                                  CALDWELL         NJ    07006‐7458
05/25/95
BENJAMIN LELAND LORCH                            42 PATTEN DR                                                                                    L COMPTON        RI    02837‐1333
BENJAMIN LEV                                     1122 GREENTREE LN                                                                               PENN VALLEY      PA    19072‐1218
BENJAMIN LINCOLN SMITH                           7800 46TH N AV                                                                                  ST PETERSBURG    FL    33709‐2353
BENJAMIN LIVINGSTON                              80 FREEDMONT STREET                                                                             ROCHESTER        NY    14612‐5414
BENJAMIN M BRINDLEY                              259 E NETHERWOOD RD                                                                             OREGON           WI    53575‐1120
BENJAMIN M CARTER                                1009 GALLAGHER                                                                                  SAGINAW          MI    48601‐3320
BENJAMIN M CORROLO                               97OAK AVE                                                                                       TORRINGTON       CT    06790‐6538
BENJAMIN M DAVIS                                 BOX 563                                                                                         MOUNT EAGLE      TN    37356‐0563
BENJAMIN M GILBERT                               1174 COUNTY LINE RD                                                                             CUMMING          GA    30040‐5410
BENJAMIN M KENSINGER                             24 E HIGH ST                                                                                    PLYMOUTH         OH    44865‐1033
BENJAMIN M LOPEZ                                 219 AVENUE C                                                                                    ROCHESTER        NY    14621‐4442
BENJAMIN M MANSFIELD                             31 THORNBERRY CIR                                                                               MASHPEE          MA    02649‐3342
                                                09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 363 of 850
Name                                               Address1                                Address2             Address3          Address4          City            State Zip

BENJAMIN M MARZULLO                                311 HIGHGATE                                                                                     BUFFALO         NY    14215‐1025
BENJAMIN M RIPLINGER                               1929 SANTA MONICA DR                                                                             ROCKFORD        IL    61108‐6728
BENJAMIN M RUSSELL III & IVERNE D RUSSELL JT TEN   11644 SEVILLE ROAD                                                                               FISHERS         IN    46038‐7978

BENJAMIN M SKINKER & MARY S SKINKER JT TEN         2673 SKINKERS NECK RD                                                                            RAPHANCK ACAD   VA    22538‐2025
BENJAMIN M SKINKER JR & MARY S SKINKER JT TEN      2673 SKINKER'S NECK RD                                                                           RAPPAHANNOCK    VA    22538‐2025
                                                                                                                                                    ACDMY
BENJAMIN M WATTENMAKER EX EST RICHARD              50 BRACE ROAD                                                                                    WEST HARTFORD   CT    06107
WATTENMAKER
BENJAMIN MARCUS BUEHRER                            100 BLACK TIE LN                                                                                 CHAPEL HILL     NC    27514‐6654
BENJAMIN MART BAILEY JACKSON                       19071 YACHT LANE                                                                                 HUNTINGTON      CA    92646‐2122
                                                                                                                                                    BEACH
BENJAMIN MILCHIKER                                 26132 OROVILLE PLACE                                                                             LAGUNA HILLS    CA    92653‐6315
BENJAMIN MINOR COMER                               6200 ROBINWOOD RD                                                                                BETHESDA        MD    20817‐6115
BENJAMIN N DOWNEY                                  1505 N HOYNE AVE                        APT 3E                                                   CHICAGO         IL    60622‐1806
BENJAMIN N GRAF                                    3174 STONY POINT ROAD                                                                            GRAND ISLAND    NY    14072‐1115
BENJAMIN N LUDWIG                                  9900 SILVEROD PL                                                                                 SACRAMENTO      CA    95829‐8123
BENJAMIN N OKWUMABUA                               505 CHAUTAUQUA AVE                                                                               JAMESTOWN       NY    14701‐7615
BENJAMIN N WALKER                                  11590 FROST ROAD                                                                                 FREELAND        MI    48623‐8872
BENJAMIN NEUMAN                                    110 COALPIT HILL RD                     UNIT D7                                                  DANBURY         CT    06810‐8080
BENJAMIN NORMAN MARION                             1739 IVANHOE RD                                                                                  ELY             IA    52227
BENJAMIN O COLLINS                                 3500 SQUAWFIELD RD RTE 3                                                                         HILLSDALE       MI    49242‐8201
BENJAMIN O RICHMOND                                413 WILSON PARK DRIVE                                                                            W CARROLLTON    OH    45449‐1645
BENJAMIN O SIMON SR                                306 REDBLUFF RD                                                                                  FRIERSON        LA    71027‐1914
BENJAMIN OLIEN & PATRICIA OLIEN JT TEN             PO BOX 70                                                                                        MOTT            ND    58646‐0070
BENJAMIN OROS & PHYLLIS M OROS TR OROS FAM         7391 SYLVAN DR                                                                                   KENT            OH    44240‐6328
LIVING TRUST UA 02/01/96
BENJAMIN P GRIMES                                  6276 AMANDA DR                                                                                   SAGINAW         MI    48603‐4361
BENJAMIN P HAYWARD & FLO B HAYWARD JT TEN          PO BOX 882                                                                                       INVERNESS       FL    34451‐0882
BENJAMIN P WESCOTT & DOUGLAS M WESCOTT JT TEN      5241 HERZELL WOODS CT                                                                            FAIRFAX         VA    22032‐3916

BENJAMIN PELTO                                     32337 FAIRCHILD                                                                                  WESTLAND        MI    48186‐8913
BENJAMIN POUGH                                     4296 BAMBERG RD                                                                                  COPE            SC    29038‐9091
BENJAMIN PROCTOR                                   427 ALABAMA ROAD                                                                                 BALTIMORE       MD    21204‐4308
BENJAMIN R BERLINER                                2432 S 21ST AVE                                                                                  BROADVIEW       IL    60153
BENJAMIN R BROOKMYER                               PO BOX 687                                                                                       MEREDITH        NH    03253
BENJAMIN R BROWN                                   134 WHITE OAK LANE                                                                               DAHLONEGA       GA    30533‐4484
BENJAMIN R GARCIA                                  1678 ESTATES DR                                                                                  SAN JOSE        CA    95127‐4609
BENJAMIN R HOYT                                    175 BRIGHAM HILL RD                                                                              NORTH GRAFTON   MA    01536‐1117
BENJAMIN R MARTTILA                                2823 WOODMEADOW PLACE                                                                            GRAND RAPIDS    MI    49546‐8005
BENJAMIN R MOGAVERO                                136 LONGMEADOW RD                                                                                BUFFALO         NY    14226‐2812
BENJAMIN R NIX                                     111 RIDGE VIEW CT                                                                                DAHLONEGA       GA    30533‐5436
BENJAMIN R SHUTE JR                                150 E 73 ST                                                                                      NEW YORK        NY    10021‐4362
BENJAMIN R SWOPES                                  260 ELMORE ST                                                                                    MORGANTOWN      IN    46160‐9755
BENJAMIN R VAN SLOOTEN & MARION HAZEL VAN          10175 LAKESHORE AVENUE                                                                           WEST OLIVE      MI    49460‐9553
SLOOTEN JT TEN
BENJAMIN RAYMOND                                   2145 SW LITTLE RD                                                                                LAKE CITY       FL    32024
BENJAMIN RICHARD HELLIER & CATHLEENE B HELLIER JT 14 BERKSHIRE RD                                                                                   WILLIAMSBURG    VA    23188‐1502
TEN
BENJAMIN ROUJANSKY                                 2 CYPRESS LN                                                                                     ORANGEBURG      NY    10962‐1410
BENJAMIN ROY MITCHELL                              550 E COURTLAND ST                                                                               VIDOR           TX    77662‐5024
BENJAMIN RUSSELL RASKOB                            4800 ROYENE NE                                                                                   ALBUQUERQUE     NM    87110‐5836
BENJAMIN S BLAKLEY III & KATHLEEN M BLAKLEY JT TEN 250 EAST SHERMAN AVE                                                                             DUBOIS          PA    15801‐3164

BENJAMIN S FULDORD & INEZ M FULFORD JT TEN         304 DEVONSHIRE RD                                                                                WASHINGTON      IL    61571‐1316
BENJAMIN S HERRING                                 7416 ALESTONE DR                                                                                 WILMINGTON      NC    28411‐9679
BENJAMIN S JOHNSON                                 5 PEACHY CT                                                                                      STAFFORD        VA    22554‐8703
BENJAMIN S JUAREZ                                  13697 SIMSHAW AVE                                                                                SYLMAR          CA    91342‐3327
BENJAMIN S KRISTAN                                 4300 WESTFORD PL UNIT 13 B                                                                       CANFIELD        OH    44406‐7012
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 364 of 850
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

BENJAMIN S MACFARLAND JR                          5740 COLUMBIA CIR                                                                              WEST PALM BCH   FL    33407‐2217
BENJAMIN S PARSONS TR BENJAMIN S PARSONS TRUST    285 CYPRESS ST                                                                                 NEWTON CENTRE   MA    02459‐2227
UA 9/26/01
BENJAMIN S POLUS                                  13814 GANDER AV                                                                                WARREN          MI    48088‐6029
BENJAMIN S PRICE                                  24 GLEN RIDDLE RD                                                                              MEDIA           PA    19063‐5307
BENJAMIN S TOMYL                                  1264 MANTUCKET RD                                                                              VENICE          FL    34293
BENJAMIN SANDLER                                  C/O NANCY COHEN                       2469 GOLD OAK CT E                                       SARASOTA        FL    34232‐6823
BENJAMIN SCHAFER & MARY M SCHAFER TEN ENT         3485 BOWMAN DRIVE                                                                              SAGINAW         MI    48609‐9794
BENJAMIN SCHWARTZ & MRS IDA SCHWARTZ TEN ENT      161 VILLA DR                                                                                   WARMINSTER      PA    18974‐3783

BENJAMIN SCHWARTZ TR STANLEY M SCHWARTZ A         9586 CAMPI DRIVE                                                                               LAKE WORTH      FL    33467‐6997
MINOR U/DEC OF TRUST 9/10/56
BENJAMIN SCOTT                                    705 BRANCH RD                                                                                  ALBANY           GA   31705‐5308
BENJAMIN SMITH                                    19339 ORLEANS                                                                                  DETROIT          MI   48203‐1349
BENJAMIN SORY FLETCHER 3RD                        PO BOX 1107                                                                                    HOPKINSVILLE     KY   42241‐1107
BENJAMIN SYKES                                    2306 ADAMS AVE                                                                                 FLINT            MI   48505‐4902
BENJAMIN T ALIFF                                  5499 HAMILTON RD                                                                               LEBANON          OH   45036‐9761
BENJAMIN T DECI                                   1275 S NANAGOSA TRL                                                                            SUTTONS BAY      MI   49682‐9549
BENJAMIN T GOORIN                                 346 DUNCAN STREET                                                                              SAN FRANCISCO    CA   94131
BENJAMIN TOBIAS PRITIKIN                          2001 GEORGIA AVE                                                                               SANTA MONICA     CA   90402
BENJAMIN TRASEN                                   220 MADISON ST                                                                                 DENVER           CO   80206‐5407
BENJAMIN V KOWALSKI                               1201 29TH STREET                                                                               BAY CITY         MI   48708‐7948
BENJAMIN VOSS & MARY JO MARINE VOSS JT TEN        3216 OLD MOORINGSPORT RD                                                                       SHREVEPORT       LA   71107‐3927
BENJAMIN W BROWN                                  159 ST CLAIR DR                                                                                LEESBURG         GA   31763‐3224
BENJAMIN W BROWN JR                               14 E FRANKLIN AVE                                                                              PEQUANNOCK       NJ   07440‐1339
BENJAMIN W CRAIN                                  2309 SOUTHWAY BLVD E                                                                           KOKOMO           IN   46902‐4568
BENJAMIN W GREGG                                  7725 ORCHARD VILLAGE DRIVE                                                                     INDIANAPOLIS     IN   46217‐2909
BENJAMIN W HARRISON                               30797 COUNTRY RIDGE CIRCLE                                                                     FARMINGTON HILLS MI   48331‐1110

BENJAMIN W HUBBARD                                3475 WEXFORD                                                                                   ANN ARBOR       MI    48108‐1763
BENJAMIN W ROBIDOU & ESTHER A ROBIDOU TR          7507 MULLETT LAKE RD                                                                           MULLETT LAKE    MI    49761
ROBIDOU TRUST UA 07/23/05
BENJAMIN W RUSSELL                                1215 LENNOX ST                                                                                 ANDERSON        IN    46012‐4423
BENJAMIN W SIMON & MARGIE G SIMON JT TEN          784 WEST LAKE LANSING RD                                                                       EAST LANSING    MI    48823
BENJAMIN W TURNER JR CUST PAGE VIRGINIA TURNER    5 EDEN ROCK VLG II                                                                             NEW HOPE        PA    18938‐2207
UTMA FL
BENJAMIN W VAN DEL                                1543 DE 74TH AVE                                                                               HILLSBORO       OR    97123‐6135
BENJAMIN W WATSON                                 8231 GREEN LEAF LN                                                                             SHREVEPORT      LA    71108‐5705
BENJAMIN WILL & MICHAEL WILL JT TEN               5815 MOUNTAIN VIEW DRIVE                                                                       KINGWOOD        TX    77345‐1827
BENJAMIN WILLINGHAM                               108 COTTAGE                                                                                    PONTIAC         MI    48342‐3027
BENJAMIN WRIGHT                                   18 BEEMER RD                                                                                   WANTAGE         NJ    07461‐3816
BENJAMIN Y OKAZAKI TR BENJAMIN Y OKAZAKI TRUST    2029 LEE PL                                                                                    HONOLULU        HI    96817‐2442
AGMT 07/20/83
BENJAMIN ZIMMERMAN & MICHAEL ZIMMERMAN JT         12630 N MEADOW CIR DR W                                                                        MEQUON          WI    53092
TEN
BENJAMIN ZSOLT KARASZ                             3605 S OCEAN BLVD A233                                                                         PALM BEACH      FL    33480
BENJAMINE L BROWN                                 5862 FOSTORIA RD                                                                               COLUMBIAVILLE   MI    48421‐9333
BENJI G PECK                                      PO BOX 485                                                                                     CLERMONT        GA    30527‐0485
BENJIE A GIAZZON                                  5028 LOWER MT ROAD                                                                             LOCKPORT        NY    14094
BENJIE G CHAPMAN                                  2403 CANNON SWAMP RD                                                                           NEWBERRY        SC    29108‐9556
BENJIMAN F WEAVER                                 PO BOX 1793                                                                                    FORREST CITY    AR    72336‐1793
BENN L GRODIN                                     8819 VICTORY LN                                                                                POTOMAC         MD    20854‐3645
BENNEI ABRAMSON                                   7500 GRANVILLE AVE                                                                             BOYNTON BEACH   FL    33437‐8303
BENNET DWORKIS & ARLENE DWORKIS JT TEN            7579 IMPERIAL DR #502A                                                                         BOCA RATON      FL    33433‐2819
BENNETT A JOHNSON                                 1260 NORTH 9TH ST                                                                              FORT DODGE      IA    50501‐2518
BENNETT C WHITLOCK JR & ELIZABETH M WHITLOCK JT   4645 LUXBERRY DR                                                                               FAIRFAX         VA    22032‐1932
TEN
BENNETT E ZINN                                    228 ST ANDREWS CIR                                                                             OXFORD          MS    38655‐2506
BENNETT F HART                                    1518 LAKE AVE                                                                                  WILMETTE        IL    60091‐1638
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 365 of 850
Name                                            Address1                            Address2             Address3          Address4          City               State Zip

BENNETT F HART CUST JOHN FRANCIS HART UTMA IL   1518 LAKE AVE                                                                                WILMETTE           IL    60091‐1638

BENNETT F HART CUST MARY MARGARET HART UTMA IL 1518 LAKE AVE                                                                                 WILMETTE           IL    60091‐1638

BENNETT F HART CUST MICHAEL B HART UTMA IL     1518 LAKE AVE                                                                                 WILMETTE           IL    60091‐1638
BENNETT J FREDERICK                            97 S MERRIMAC                                                                                 PONTIAC            MI    48340‐2537
BENNETT L WENGER & MRS SYLVIA K WENGER TEN ENT 1815 NORTH 16TH ST                                                                            READING            PA    19604‐1621

BENNETT LEWIS                                  5921 WHITTIER ST                                                                              DETROIT            MI    48224‐2637
BENNETT M HEFFRON                              115 MANDALAY RD                                                                               NEWTON CENTRE      MA    02459‐1318
BENNETT P KINCER                               12550 ROME RD                                                                                 MANITOU BEACH      MI    49253‐9714
BENNETT PRODUCTION CORP EMPLOYEES PROF SHAR TR PO BOX 391                                                                                    BOWIE              TX    76230‐0391
UA 10/2/67
BENNETT R BRANSON                              10825 RAWSONVILLE RD #49                                                                      BELLEVILLE         MI    48111‐8629
BENNETT R KLINERT                              709 AUTUMN RIDGE LN                                                                           COLUMBIA           TN    38401
BENNETT SHIRLEY I TOD                          9908 NORTH HAWTHORNE AVENUE                                                                   KANSAS CITY        MO    64157‐9410
BENNETTE M COPE                                227 HOWARTH RD                                                                                MEDIA              PA    19063‐5344
BENNIE A CAMPBELL                              10067 ROMAINE                                                                                 ROMULUS            MI    48174‐3965
BENNIE ARMSTARD MORGAN JR                      C/O JULIE TIERNEY                    13685 DIXIE HWY                                          BIRCH RUN          MI    48415‐9303
BENNIE BRUCE                                   138 LEY CT                                                                                    PEARL CITY         HI    96782‐3404
BENNIE C BILBREY                               6565 S MILL RD                                                                                SPICELAND          IN    47385‐9611
BENNIE C ISOM                                  616 LEE RD                                                                                    BIRMINGHAM         AL    35215‐8054
BENNIE C LANCE                                 2101 PARKER RD                                                                                MORRISON           TN    37357‐3755
BENNIE C TRAYLOR                               1038 COACH ROAD                                                                               HOMEWOOD           IL    60430‐4145
BENNIE CAMPBELL                                404 FORREST DR                                                                                COLUMBIA           TN    38401‐6500
BENNIE COLLINS                                 1716 W STEWART AVE                                                                            FLINT              MI    48504‐2106
BENNIE D ISAACS                                PO BOX 518                                                                                    BOONEVILLE         KY    41314‐0518
BENNIE D MANNI                                 53267 VILLA CIR                                                                               SHELBY TWNSHP      MI    48316‐2464
BENNIE DAVIS                                   PO BOX 67973                                                                                  ROCHESTER          NY    14617
BENNIE DE VORE JR                              28 WEST AVON AVENUE                                                                           IRVINGTON          NJ    07111‐2551
BENNIE E ALLEN                                 1869 FOOTHILL VISTA DR                                                                        TRACY              CA    95376‐0218
BENNIE E JONES                                 10606 GOODING AVENUE N                                                                        CLEVELAND          OH    44108‐3036
BENNIE E POWELL JR                             1956 BLOOMFIELD DR                                                                            BLOOMFIELD HILLS   MI    48302‐0121

BENNIE E RIGGS                                  9333 SW 22ND ST                                                                              OKLAHOMA CITY      OK    73128‐4930
BENNIE E TUCKER                                 7469 SHARP RD                                                                                SWARTZ CREEK       MI    48473‐9409
BENNIE F GILARDI                                19906 SCARTH                                                                                 MOKENA             IL    60448‐1741
BENNIE F LUPTOWSKI JR                           451 NEWBERG ROAD                                                                             PINCONNING         MI    48650
BENNIE F MACEK                                  17202 VILLAGE DR                                                                             REDFORD            MI    48240‐1693
BENNIE F STOKES                                 715 OAKLAND AVE                                                                              OAKLAND            CA    94611‐4519
BENNIE FRANKLIN LEITH JR                        1763 MEANDER RUN RD                                                                          LOCUST DALE        VA    22948‐4815
BENNIE G JOHNSON                                3020 EDGEHILL AVE                                                                            CLEVELAND HTS      OH    44118‐2020
BENNIE G MOORE                                  5284 SCOFIELD RD                                                                             MAYBEE             MI    48159‐9609
BENNIE GOODMAN                                  5100 LODGE                                                                                   SAGINAW            MI    48601‐6828
BENNIE GOOLSBY JR                               521 JACKSON STREET                                                                           WASHINGTON         GA    30673‐1309
BENNIE GORDON                                   256 WREFORD                                                                                  DETROIT            MI    48208‐1133
BENNIE H COLLINS                                175 COLLINS CIRCLE                                                                           BARNWELL           SC    29812‐9339
BENNIE H ROBINSON                               7032 ROHN DR                                                                                 SAINT LOUIS        MO    63121‐3029
BENNIE H SHANNON                                27 HOLLIS JONES RD                                                                           TYLERTOWN          MS    39667‐5846
BENNIE H VARNEY                                 12460 SORRENTO BLVD                                                                          STERLING HTS       MI    48312‐1368
BENNIE HARRELL                                  1148 MIAMI                                                                                   YOUNGSTOWN         OH    44505‐3746
BENNIE HILL                                     3308 FULLERTON ST                                                                            DETROIT            MI    48238‐3317
BENNIE HOLLERS                                  109 ELMWOOD TER                                                                              GREENSBORO         NC    27408
BENNIE HORTON JR                                737 EAST VOGEL AVE                  APT 201                                                  PHEONIX            AZ    85020‐5900
BENNIE I FREY JR CUST BRENT J FREY UGMA MI      23376 ARGYLE                                                                                 NOVI               MI    48374‐3696
BENNIE J CLINTON                                266 GARDEN STREET                                                                            ENGLEWOOD          NJ    07631‐3826
BENNIE J DRIVER                                 1467 WEST SMITH VALLEY ROAD                                                                  GREENWOOD          IN    46142‐1544
BENNIE J ISABELLE                               C/O EARLEEN ISABELLE                180 BOSTIC RD                                            GURLEY             AL    35748‐9488
BENNIE L BINGHAM & KATHIE A BINGHAM JT TEN      2827 W TAYLOR                                                                                GREENSBURG         IN    47240
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 366 of 850
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

BENNIE L BRADSHAW                               701 EAST ATHERTON ROAD                                                                         FLINT           MI    48507‐2810
BENNIE L BUCHANAN                               PO BOX 203                                                                                     BEAVERVILLE     IL    60912‐0203
BENNIE L CHOICE                                 33514 HIGH DRIVE                                                                               E TROY          WI    53120‐9621
BENNIE L DAILY                                  1320 MARCY RD                                                                                  LANSING         MI    48917‐9504
BENNIE L HOLLIS                                 9749 MC QUADE                                                                                  DETROIT         MI    48206‐1637
BENNIE L JEFFERSON                              19675 STOTTER                                                                                  DETROIT         MI    48234‐3139
BENNIE L LASH                                   934 CANTEBURRY DRIVE                                                                           PONTIAC         MI    48341
BENNIE L MARTIN                                 17780 SW WASHINGTON DR                                                                         ALOHA           OR    97007‐1747
BENNIE L MAXWELL                                432 W STEWART ST                                                                               DAYTON          OH    45408‐2049
BENNIE L NORTON                                 8948 N MARTINDALE                                                                              DETROIT         MI    48204‐2391
BENNIE L POWELL                                 2134 PARKTON ROAD                                                                              MT MORRIS       MI    48458‐2652
BENNIE L RIX                                    1413 CLAREOLA AVE                                                                              LAKE            MI    48632
BENNIE L SULLIVAN                               906 TURNER                                                                                     TOLEDO          OH    43607‐3030
BENNIE LANDI                                    119 SALEM ROAD                                                                                 VALLEY STREAM   NY    11580‐1109
BENNIE LASKOWSKI                                2102 PARMALEE LN                                                                               BRIGHTON        MI    48114‐9229
BENNIE LIPSEY                                   24 HOME SE                                                                                     GRAND RAPIDS    MI    49507‐1752
BENNIE M COPELAND                               1114 CHESTER ST                                                                                ANDERSON        IN    46012‐4331
BENNIE M RANSOM JR                              3308 WILKERSON DR                                                                              GAINESVILLE     GA    30506‐4422
BENNIE M TEAGUE                                 625 WASHINGTON CT                                                                              ANDERSON        IN    46011‐1835
BENNIE MASON                                    3044 9TH STREET                                                                                MONROE          MI    48162‐4805
BENNIE MOTEN                                    1601 W MCCLELLAN ST                                                                            FLINT           MI    48504‐2500
BENNIE P SCRUGGS                                1783 W MADISON AVENUE                                                                          ATHENS          TN    37303
BENNIE PARKER                                   144 N ANDY ST                                                                                  VASSAR          MI    48768‐1801
BENNIE R GASKIN                                 10819 NORTH KITCHEN RD                                                                         MOORESVILLE     IN    46158‐6527
BENNIE R GRAHAM & SARAH M GRAHAM JT TEN         6424 CATES AVE                                                                                 SAINT LOUIS     MO    63130‐3469
BENNIE R GRAMMER                                4820 PENNSYLVANIA                                                                              ST LOUIS        MO    63111‐2039
BENNIE R MILLER                                 405 CENTER PARK DR                                                                             SPRINGHILL      LA    71075
BENNIE R MORRIS JR                              3479 GREENS MILL RD                                                                            SPRING HILL     TN    37174‐2125
BENNIE R PHILLIPS                               7815 BUNTON RD                                                                                 YPSILANTI       MI    48197‐9417
BENNIE R SEVERS                                 31143 GARDENDALE                                                                               WARREN          MI    48093‐2074
BENNIE R WHITLEY                                314 LAWRENCE AVE                                                                               CHAPEL HILL     TN    37034‐3225
BENNIE R WILLIS                                 2041 BARK ST                                                                                   FLINT           MI    48503‐4305
BENNIE ROSS JR                                  839 BATES SE                                                                                   GRAND RAPIDS    MI    49506‐2615
BENNIE RUBEN OSBORN & LUCILLE DELORES OSBORNE   23 FRANKLIN AVE                                                                                MONTCLAIR       NJ    07042‐2407
JT TEN
BENNIE T MORA                                   15886 CAMPBELL RD                                                                              DEFIANCE        OH    43512‐8833
BENNIE W PILLOWS                                4060 JANICE DR # B6                                                                            ATLANTA         GA    30344‐6539
BENNIE W ROGGE                                  2605 CEDAR LANE                                                                                ROSENBERG       TX    77471‐6057
BENNIE WALKER                                   2167 FLAMINGO DR                                                                               MT MORRIS       MI    48458‐2633
BENNIE WILLIAMS                                 914 THOMPSON ST                                                                                SAGINAW         MI    48607‐1662
BENNO GRAUERT                                   5 SKYTOP DR                           APT C                                                    CROTON HDSN     NY    10520‐1377
BENNY A PRICE                                   3316 D'EVEREUX PL                                                                              MONROE          LA    71201‐2874
BENNY A WOZNIAK CUST BRIAN WOZNIAK UGMA MI      28665 CAMPBELL                                                                                 WARREN          MI    48093‐2619

BENNY ANTOSZ                                    3350 P O BOX 57                                                                                NEWPORT         MI    48166‐0057
BENNY C ELLERBEE                                12301 KILBOURNE                                                                                DETROIT         MI    48213‐1488
BENNY C SHOLAR                                  270 PULLIN RD                                                                                  MCDONOUGH       GA    30253‐7335
BENNY C TAYLOR                                  1037 8TH ST                                                                                    LORAIN          OH    44052‐1565
BENNY C THURMAN                                 134 BRYAN ST                                                                                   BREMEN          GA    30110‐1504
BENNY D ALBRIGHT                                920 GILEAD RUPE RD                                                                             LEXINGTON       MO    64067‐9740
BENNY D HERNANDEZ                               9100 LAMAR AVE                        APT 204                                                  OVERLAND PARK   KS    66207‐2495
BENNY D SANDERS                                 8521 CR 1004                                                                                   GODLEY          TX    76044‐3115
BENNY D VAUGHN                                  2228 THOMAS RIDGE RD                                                                           DUNVILLE        KY    42528‐5883
BENNY DIAZ                                      2776 E DEXTER DR                                                                               SAGINAW         MI    48603‐3209
BENNY E KONOSKI                                 14053 NORTH ELMS                                                                               MONTROSE        MI    48457‐9777
BENNY E NEWMAN                                  3625 BAYVIEW DR                       APT 76                                                   LANSING         MI    48911‐2059
BENNY F REEVES JR                               4450 SEWELL RD                                                                                 CUMMINGS        GA    30040‐7513
BENNY F WILLIAMS                                PO BOX 2171                                                                                    SAGINAW         MI    48605‐2171
BENNY G HUERTA                                  5232 W WILLOW ST                                                                               LANSING         MI    48917‐1418
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 367 of 850
Name                                              Address1                            Address2             Address3          Address4          City            State Zip

BENNY G TRICE                                     17138 WISCONSIN ST                                                                           DETROIT         MI    48221‐2577
BENNY GATEWOOD                                    5629 LESLIE COURT                                                                            FLINT           MI    48504‐7017
BENNY H STEPHENS                                  PO BOX 28547                                                                                 DETROIT         MI    48228‐0547
BENNY H UPCHURCH & BETTY A UPCHURCH JT TEN        176 MELYERS COURT                                                                            COLUMBUS        OH    43235‐6417

BENNY HERRERA                                     12031 TANFIELD DR                                                                            LA MIRADA       CA    90638‐1153
BENNY J CARTER                                    21 SPRINGVALLEY TRAIL                                                                        HARTSELLE       AL    35640‐7040
BENNY J KROLEWSKI                                 18040 MARQUETTE ST                                                                           ROSEVILLE       MI    48066‐3418
BENNY J SCUCCI                                    2244 HIGH DESERT NE CI                                                                       RIO RANCHO      NM    87144‐8077
BENNY JAN LEE                                     6860 BRIGHTON DR                                                                             DUBLIN          CA    94568‐1728
BENNY L CORTES                                    PO BOX 2914                                                                                  OAK HARBOR      WA    98277‐6914
BENNY L COVINGTON                                 16 COOPER ST                                                                                 PONTIAC         MI    48342‐2009
BENNY L HOLLOWAY                                  2400 COUNTY HIGHWAY 13                                                                       CLEVELAND       AL    35049‐5026
BENNY L MIKE                                      5525 E CULVER ST                                                                             INDIANAPOLIS    IN    46226‐4714
BENNY L REYNOLDS                                  102 CHESTNUT GROVE RD                                                                        PULASKI         TN    38478‐8448
BENNY LACCA                                       1633 61ST ST                                                                                 BROOKLYN        NY    11204‐2110
BENNY LANFORD                                     702 E MISSION ST                                                                             SAN JOSE        CA    95112‐1518
BENNY MARCELLO CUST VINCENZO MARCELLO UGMA        220 BROWER RD                                                                                SPENCERPORT     NY    14559‐2205
NY
BENNY R AVILES                                    2170 NEW LEWISBURG HWY                                                                       COLUMBIA        TN    38401‐8109
BENNY R CURRY                                     38210 9 MILE RD                                                                              NORTHVILLE      MI    48167‐9014
BENNY R EVANS                                     95 WEBSTER CV                                                                                ATOKA           TN    38004‐7622
BENNY R HOLCOMB                                   BOX 38                                                                                       GILLSVILLE      GA    30543‐0038
BENNY S BRYANT                                    7‐7 SEATTLE COURT                                                                            FREEHOLD        NJ    07728‐3612
BENNY V STAFFORD                                  155 FORD RD N                       LOT 41                                                   MANSFIELD       OH    44905‐2978
BENNY VARANELLI                                   443 GOLDIE RD                                                                                LIBERTY TWNSP   OH    44505‐1951
BENNY W BARNHART                                  1130 MANNING CT                                                                              SAN MARTIN      CA    95046‐9792
BENOIT FICHAULT                                   234 PRINCIPALE                      CHATEAU GUAY QC                        J6J 3H3 CANADA
BENOIT L LABONTE                                  6929 W UNIVERSITY AVE               APT 10D                                                  GAINESVILLE     FL    32607‐1659
BENOIT L LORQUET                                  139 TRIPPANY ROAD                                                                            MASSENA         NY    13662‐3230
BENOIT PAQUET                                     1760 ROUTE KENNEDY N                SAINTE‐MARIE QC                        G6E 3A9 CANADA
BENRICE L WOHLFERT TR UA 02/02/93 THE BERNICE L   600 AQUAZIEW DR                                                                              KALAMAZOO       MI    49009‐9651
WOHLFERT TRUST
BENSHAN HAO & ZHIFENG ZHENG JT TEN                64 70 184TH STREET                                                                           FRESH MEADOWS   NY    11365‐2131
BENSIONT CLARK                                    2136 ANNESLEY                                                                                SAGINAW         MI    48601‐2046
BENSON A EDWARDS & GAIL V EDWARDS JT TEN          12422 WALLER RD                                                                              TACOMA          WA    98446‐2018
BENSON EVAN MILLER                                111 MUNSON RD                                                                                MIDDLEBURY      CT    06762‐1320
BENSON F HOWARD                                   BOX 232                                                                                      BARTLETT        NH    03812
BENSON GREEN & BETTY GREEN JT TEN                 PO BOX 2376                                                                                  HELENDALE       CA    92342
BENSON LEE                                        622 35TH AVE                                                                                 SAN FRANCISCO   CA    94121‐2710
BENSON N MARTINEZ                                 1703 RED OAK RD SE                                                                           HUNTSVILLE      AL    35801‐2145
BENSON WARIBOKO ALALI                             4905 BARRINGTON LN                                                                           EDMOND          OK    73034‐7989
BENTE ROED COCHRAN                                10943 77 AVENUE                     EDMONTON AB                            T6G 0L2 CANADA
BENTLEY C GREGG                                   418 EAST ST NORTH EAST                                                                       VIENNA          VA    22180‐3576
BENTLEY H BROWN                                   148 MEADOW CIRCLE                                                                            BEREA           OH    44017‐2610
BENTLEY L CUTTER                                  111 SPARROW DR                                                                               HAMILTON        NJ    08690
BENTLEY LAWRENCE PIERCE                           8226 OLD POST ROAD EAST                                                                      EAST AMHERST    NY    14051‐1583
BENTLEY LAWRENCE PIERCE & BARBARA B PIERCE JT     8226 OLD POST RD                                                                             EAST AMHERST    NY    14051‐1583
TEN
BENTLEY MCCHARGUE TOD DIANNA R MCCHARGUE          215 CLOVER LANE                                                                              LOUISVILLE      KY    40207‐2755
SUBJECT TO STA TOD RULES
BENTO M BENEVIDES                                 33 TOWER ST                                                                                  FALL RIVER      MA    02724‐3020
BENTO M DASILVA                                   6 SILVA ST                                                                                   MILFORD         MA    01757‐3476
BENTON BOJAK BARNEY                               1059 S COOK ST                                                                               DENVER          CO    80209
BENTON BOSTICK                                    2733 WOODWAY AVENUE                                                                          DAYTON          OH    45405‐2748
BENTON C LATTIN                                   139 ALLIE DR                                                                                 GARNER          NC    27529
BENTON C TOLLEY JR                                106 MOORINGS PARK DR                UNIIT C101                                               NAPLES          FL    34105
BENTON D MC CAULEY                                PO BOX 191                                                                                   MCLOUD          OK    74851‐0191
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 368 of 850
Name                                             Address1                               Address2               Address3        Address4          City            State Zip

BENTON E RIDDLE TR BENTON E RIDDLE REVOCABLE     21800 MORLEY AVE APT 1118                                                                       DEARBORN        MI    48124‐2335
LIVING TRUST UA 8/27/99
BENTON J HILTZ II                                53 HOWARD LANE                                                                                  TONAWANDA       NY    14150‐8162
BENTON KRUMPE                                    PO BOX 2013                                                                                     HAILEY          ID    83333‐2013
BENTON L CARRIKER                                1106 WILDWOOD TRL                                                                               N MYRTLE BCH    SC    29582‐4841
BENTON M THREET                                  1398 SAWMILLS RD                                                                                CROSSVILLE      TN    38555‐1432
BENTON PURDY                                     443 PURDY RD                                                                                    CALHOUN         LA    71225‐8438
BENTON R MCMURTRY                                4010 OLD HIGHWAY 52 E                                                                           WESTMORELAND    TN    37186‐4703
BENTON RURAL CEMETERY ASSOCIATION                ATTN KAREN HUDSON                      860 PRE‐EMPTION ROAD                                     PENN YAN        NY    14527‐9165
BENTON V KELLY JR                                222 PICO RD                                                                                     BUCHANAN        VA    24066‐5173
BENTSION ZIMMERMAN & ELAINE ZIMMERMAN JT TEN     1873 49TH ST                                                                                    BROOKLYN        NY    11204‐1245

BENYAMIN SURYANTO & JANIS CORNELL SURYANTO JT    1180 FOREST ST                                                                                  MARSHFIELD      MA    02050‐6264
TEN
BERARDINO PIETRANGELI                            127 PALISADE RD                                                                                 ELIZABETH       NJ    07208‐1103
BERCH E PARKER & REBECCA PARKER JT TEN           7046 AIVLIS ST                                                                                  LONG BEACH      CA    90815‐3502
BERDAN E CONNER JR                               6792 HIGHLAND DRIVE                                                                             LAINGSBURG      MI    48848‐9231
BERDENA J GATES                                  8241 ALASKA DR                                                                                  CALEDONIA       MI    49316‐9580
BERDENIA M RUSSELL                               1320 HAZELWOOD DR                                                                               MIDWEST CITY    OK    73110‐7410
BERGE V TOMBALAKIAM                              187 BUSTEED DRIVE                      APT 366                                                  MIDLAND PARK    NJ    07432‐1905
BERGMANN YU & HING BIU YOUNG JT TEN              2444 BRAGG ST                                                                                   BROOKLYN        NY    11235‐1206
BERIT SUBA                                       1755 FILBERT ST 1G                                                                              SAN FRANCISCO   CA    94123
BERJ D TUJIAN                                    PO BOX 4442                                                                                     FOSTER CITY     CA    94404‐0442
BERKELEY B MALAGON                               2102 CLINTON AVE #1                                                                             BRONX           NY    10457‐3628
BERKEN CHANG                                     1200 RUBIO ST                                                                                   ALTADENA        CA    91001‐2029
BERL G MOORE                                     102 ASH ST                                                                                      LODI            OH    44254‐1208
BERLE J BELL & MODENA H BELL & RICKIE J BELL &   3300 W 1000 S                                                                                   VERNAL          UT    84078‐8952
VALDEAN BELL JT TEN
BERLEY ANDERSON                                  149 CARLTON DR                                                                                  RICHMOND        KY    40475‐8202
BERLIN CONN                                      439 WYOMING STREET                                                                              DAYTON          OH    45410‐1317
BERLIN E SHIVELEY                                270 BLUE CREEK RD                                                                               STOUT           OH    45684‐9616
BERLIN EDWARD SNYDER III                         2019 TUPSFIELD RD                                                                               COLUMBUS        OH    43229‐3815
BERLINE BENNETT‐CASON                            PO BOX 39022                           23511 MEADOW PK                                          REDFORD         MI    48239‐1148
                                                                                                                                                 TOWNSHIP
BERLINE BROWN                                    23511 MEADOW PK                        PO BOX 39022                                             REDFORD         MI    48239‐0022
                                                                                                                                                 TOWNSHIP
BERMAN E HENNINGER                               3980 SR 49                                                                                      ARCANUM         OH    45304
BERMAN E PRITT JR                                242 E 300 N                                                                                     BLUFFTON        IN    46714‐9714
BERNA D HOLMES                                   120 OTTAWA DRIVE                                                                                PONTIAC         MI    48341‐1634
BERNABE COBOS JR                                 7724 RANCHLAND                                                                                  EL PASO         TX    79915‐2045
BERNABE GARCIA                                   3833 S WOLCOTT AVE                                                                              CHICAGO         IL    60609‐2013
BERNADEAN P CARPENTER EST BERNARD V ROURKE       5260 LEHMAN ROAD                                                                                WEST BRANCH     MI    48661

BERNADENE V BISHOP                               BOX 308                                                                                         WASHINGTON      GA    30673‐0308
BERNADETTE A BARRY                               109 SPRING LAKE GARDENS CT                                                                      SPRING LAKE     NJ    07762‐2533
BERNADETTE A HINEY                               99 KENSINGTON AVE                                                                               NORWOOD         NJ    07648‐1919
BERNADETTE A HOWARD                              1228 WOOD ST                                                                                    OAKLAND         CA    94607‐1527
BERNADETTE ANN TRAVIS                            18765 FLORIDA ST                       APT 102                                                  HUNTINGTN BCH   CA    92648‐1944
BERNADETTE B ARO                                 6 CHERRY LANE                                                                                   ELKTON          MD    21921‐4102
BERNADETTE B LENGAUER                            800 LAKE PORT BLVD APT H104                                                                     LEESBURG        FL    34748
BERNADETTE BACHMAN                               28 PLANTATION DR                                                                                HAUPPAUGE       NY    11788‐2767
BERNADETTE BAUER & CARL F BAUER JT TEN           3925 N OKETO AVE                                                                                CHICAGO         IL    60634‐3414
BERNADETTE BRADY CUST PATRICIA ANN BRADY UGMA    1 EDGEWOOD DR                                                                                   GREENWICH       CT    06831‐5213
NY
BERNADETTE D BERGERON TR BDB TRUST UA 01/17/06   471 FALLWOOD LN                                                                                 LAS VEGAS       NV    89107‐2849

BERNADETTE E BOWMAN TR BERNADETTE EVELYN         961 SHOSHONE CIR                                                                                WATERFORD       MI    48327
BOWMAN TRUST UA 06/30/00
BERNADETTE E FOX                                 1955 SOUTH WRIGHT ROAD                                                                          FOWLER          MI    48835‐9769
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 369 of 850
Name                                            Address1                              Address2                   Address3    Address4          City            State Zip

BERNADETTE E IFTINIUK & LANA DE FOUR JT TEN     15470 CLAREMONT DR N                                                                           CLINTON TWP     MI    48038‐3576
BERNADETTE E ZAMBO                              3961 HARDING                                                                                   DEARBORN HTS    MI    48125‐2825
BERNADETTE EDWARDS                              186 FINCH DR                                                                                   WASHINGTON      MO    63090‐5499
BERNADETTE F FOX                                #LOT 8                                3481 NILES CORTLAND ROAD                                 CORTLAND        OH    44410‐1754
BERNADETTE F LAMB                               9439 WISH AVE                                                                                  NORTHRIDGE      CA    91325‐2535
BERNADETTE F LAMB & TERRY M LAMB & ANGELA M     9439 WISH AVE                                                                                  NORTHRIDGE      CA    91325‐2535
STUEVE JT TEN
BERNADETTE F SCHEIB                             4231 RAYMOND AVENUE                                                                            BROOKFIELD      IL    60513‐1823
BERNADETTE GERHART EX EST FRANK A CARUSONE      188 JEFFERSON ST                                                                               NEWARK          NJ    07105‐1622

BERNADETTE H GOERKE                           5451 LOMA VISTA LOOP                                                                             DAVENPORT       FL    33896‐5005
BERNADETTE HERMAN TOD LOUISE M JACOBS         414 GROUSE LANE S                                                                                DEERFIELD       IL    60015
BERNADETTE HEZO MACHNICS                      3109 FOREST ROAD                                                                                 VOWINCKEL       PA    16260‐1105
BERNADETTE J SOFFA                            3708 WAYNE RD                                                                                    MUNHALL         PA    15120‐3069
BERNADETTE JERONIMO                           47 MARKWOOD RD                                                                                   FOREST HILLS    NY    11375‐6049
BERNADETTE KAUFMANN & CHRISTINE A KAUFMANN JT 2 GARDEN ST                                                                                      VALLEY STREAM   NY    11581
TEN
BERNADETTE KAUFMANN & JENNIFER K KAUFMANN JT 46 GARDEN ST                                                                                      VALLEY STREAM   NY    11581‐2908
TEN
BERNADETTE KOCAN                              3620 VAN KLEY DRIVE                                                                              WHEATFIELD      IN    46392‐9225
BERNADETTE KOVAL                              14206 JANE CLAIRE DRIVE                                                                          NO HUNTINGDON   PA    15642‐1630
BERNADETTE KRAWCZYK                           23259 HOLLANDER                                                                                  DEARBORN        MI    48128‐1303
BERNADETTE L GAUL                             29 PHYLLIS DR                                                                                    NEWARK          DE    19711‐6603
BERNADETTE L SIMMONS & MELVIN ROBERTS JT TEN  4980 N MARINE DRIVE #233                                                                         CHICAGO         IL    60640‐3930

BERNADETTE LUMIA                                22 CAYMAN COURT                                                                                POUGHKEEPSIE    NY    12603‐7000
BERNADETTE M ANSELL & ROBERT W ANSELL JT TEN    1151 HEMINGWAY LN                                                                              TRAVIS CITY     MI    49686‐5069

BERNADETTE M BUZA                               10225 MALLARD WAY                                                                              AUBURN          CA    95602
BERNADETTE M DE VITA                            49 LYNN DIRVE                                                                                  TOMS RIVER      NJ    08753
BERNADETTE M DONOHUE                            2353 EATON GATE                                                                                LAKE ORION      MI    48360‐1842
BERNADETTE M GILCHRIST                          13981 SEYMOUR                                                                                  MONTROSE        MI    48457‐9710
BERNADETTE M KOTECKI                            8470 WARREN BLVD                                                                               CENTERLINE      MI    48015‐1544
BERNADETTE M MILLARD TOD MICHAEL A MILLARD      2200 E 49TH ST                                                                                 SIOUX FALLS     SD    57103

BERNADETTE M NOWAK & JAMES E NOWAK JT TEN       32456 WHITLEY CIR                                                                              WARREN          MI    48088

BERNADETTE M SOX                                85 PARK DR                                                                                     ROSSFORD        OH    43460‐1044
BERNADETTE MARKESE & DONALD MARKESE JT TEN      15 EMANUEL ST                                                                                  EAST HANOVER    NJ    07936‐3612

BERNADETTE MARKEY SCHULTZE                      19 FLEETWOOD DRIVE                                                                             HAMILTON SQUARE NJ    08690‐1508

BERNADETTE MASTROIANNI                          C/O B KILION                          R D 1 BOX 191                                            WALL            NJ    07719‐9801
BERNADETTE O AGUILAR                            3746 OAK PARK AV                                                                               BERWYN          IL    60402‐3901
BERNADETTE OCONNOR                              1426 RICHARD ST                                                                                SCHENECTADY     NY    12303‐1328
BERNADETTE PEER                                 225 BRUSH CREEK DRIVE                                                                          ROCHESTER       NY    14612‐2269
BERNADETTE R DOUGLAS                            1812 E GATE DANCER CIRCLE                                                                      INVERNESS       FL    34453‐3394
BERNADETTE R PALAMA                             3215 NICHOLSON RD                                                                              FRANKSVILLE     WI    53126‐9204
BERNADETTE RACHWAL                              8134 ZIMMERMAN RD                                                                              HAMBURG         NY    14075‐7142
BERNADETTE ROZMAN CUST BRET POWNER UTMA PA      1075 FRANKLIN AVE                                                                              BADEN           PA    15005‐1343

BERNADETTE S WATHEN                             2950 NEW HAVEN ROAD                                                                            BARDSTOWN       KY    40004‐9509
BERNADETTE SALVATORE PERS REP EST JOANNA        33 GULL DR                                                                                     HAUPPAUGE       NY    11788‐1101
WITTENBERG
BERNADETTE T CRAWFORD                           62 HAMILTON ST                                                                                 BUFFALO         NY    14207
BERNADETTE T SARMIENTO CUST ANDRES M            3827 WHITE CLOUD DR                                                                            SKOKIE          IL    60076‐1727
SARMIENTO UTMA IL
BERNADETTE T SARMIENTO CUST MARLY A SARMIENTO   3827 WHITE CLOUD DR                                                                            SKOKIE          IL    60076‐1727
UTMA IL
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 370 of 850
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

BERNADETTEC ADAMS & MERLE H ADAMS JT TEN          12306 SHOREWOOD BEACH RD                                                                       DETROIT LAKES    MN    56501‐7027
BERNADETTEM PERSYN                                48716 TILEH                                                                                    MACOMB           MI    48044
                                                                                                                                                 TOWNSHIP
BERNADIA HANKERSON                                19371 BENTLER STREET                                                                           DETROIT          MI    48219‐1960
BERNADINE A DORLAND                               18534 WOOD ST                                                                                  MELVINDALE       MI    48122‐1442
BERNADINE A ELLIOTT                               PO BOX 24539                                                                                   DETROIT          MI    48224
BERNADINE A KIRBY TR UW LAWRENCE R KIRBY          825 MT KATAHDIN TRAIL                                                                          ALPHARETTA       GA    30022‐7104
BERNADINE A MINISTERO                             241 DUNLOP AVE                                                                                 TONAWANDA        NY    14150‐7839
BERNADINE A PARKMAN                               C O DEAN PARKMAN                      689 FEDERAL PKWY                                         LINDENHURST      IL    60046‐7838
BERNADINE A PELTS                                 PO BOX 358                                                                                     STANDISH         MI    48658‐0358
BERNADINE A WILLIAMS                              22499 BELL BROOK                                                                               SOUTHFIELD       MI    48034‐2001
BERNADINE A YEAGER & DANIEL C YEAGER JT TEN       4935 SE 420 ST                                                                                 IOWA CITY        IA    52240‐8112
BERNADINE B KIRCHER                               PO BOX 827                                                                                     WOODBINE         NJ    08270‐0827
BERNADINE B VLACH & DENISE R BARRY JT TEN         12240 ROUNDWOOD RD 810                                                                         TIMONIUM         MD    21093
BERNADINE BARNES                                  1148 E MARIAN CT                                                                               WILLIAMSTON      MI    48895
BERNADINE C SHEPHERD                              56 GEORGIA AVE                                                                                 BARNWELL         SC    29812‐1405
BERNADINE CASS                                    1277 DRIFTWOOD DR                                                                              N FT MYERS       FL    33903‐3634
BERNADINE COLEMAN                                 9343 WARWICK                                                                                   DETROIT          MI    48228‐1734
BERNADINE DOLORES WAZDRAG                         1725 COGGINS RD                                                                                PINCONNING       MI    48650‐9480
BERNADINE E PARR TR UA 09/06/2007 BERNADINE E     1911 BRIARWOOD DR                                                                              LANSING          MI    48917
PARR TRUST
BERNADINE F DROBNIC                               1100 W JEFFERSON KIOUSVILLE RD        SE                                                       W JEFFERSON      OH    43162‐9513
BERNADINE F HARDNETT                              5265 HALCYON DR                                                                                COLLEGE PARK     GA    30349‐1502
BERNADINE FISCHER                                 1158 BLUE HERON DR                                                                             SAGINAW          MI    48609‐8909
BERNADINE G GRAYR                                 20402 FAIRWEATHER STREET                                                                       CANYON COUNTRY   CA    91351‐2451

BERNADINE J KANSKI TR BERNADINE J KANSKI TRUST UA 37941 GILCHRIST                                                                                CLINTON TWP      MI    48036‐2821
09/03/95
BERNADINE J KOWALSKI                              67 DIRKSON ST                                                                                  W SENECA         NY    14224‐1813
BERNADINE J WITTAK TR WITTAK FAMILY EXEMPTION     5539 SAN PATRICIO DR                                                                           SANTA BARBARA    CA    93111‐1456
TRUST UA 02/26/97
BERNADINE KIEFFER & BRUCE R KIEFFER JT TEN        801 N LANSING                                                                                  ST JOHNS         MI    48879‐1065
BERNADINE KOBLINSKI                               330 1/2 W MAIN ST                                                                              PLYMOUTH         PA    18651‐2903
BERNADINE L IHUS                                  1639 SOUTH RIVER RD                                                                            JANESVILLE       WI    53546‐5678
BERNADINE M AKRIDGE                               3612 WILLIS AVE                                                                                LOUISEVILLE      KY    40207‐3773
BERNADINE M FENCYK & JAMES N FENCYK JT TEN        6429 SHARON DR                                                                                 GARDEN CITY      MI    48135‐2025
BERNADINE M HORAN & GERALD M HORAN JT TEN         19570 WHITBY                                                                                   LIVONIA          MI    48152‐1249

BERNADINE M LUEBKE                                915 ST CROIX ST                                                                                HUDSON           WI    54016‐1454
BERNADINE M SCOWDEN & RODNEY L D SCOWDEN JT       13760 DOW LN                                                                                   BEULAH           MI    49617‐9486
TEN
BERNADINE MEYER TOD DUQUESNE UNIVERSITY           100 ADAMS AVE                         APT 610                                                  PITTSBURGH       PA    15243‐1084
BERNADINE MOLOTZAK                                34 FARMBROOK DR                                                                                OLD BRIDE        NJ    08857‐1451
BERNADINE MORRIS                                  PO BOX 357                                                                                     WOODBURY         NJ    08096‐7357
BERNADINE N HERBECK & STACEE Y TRULOVE JT TEN     9823 EAST COOPERSHAWK DRIVE                                                                    SUNLAKE          AZ    85248‐7339

BERNADINE N HERBECK & TERRY F HERBECK JT TEN      9823 EAST COPPERSHAWK DRIVE                                                                    SUN LAKE         AZ    85248‐7339

BERNADINE O PRINDLE                               1179 RICHWOOD AVE                                                                              WARREN           OH    44485‐4163
BERNADINE R GASPER & RICHARD G GASPER JT TEN      203 NORTH 24TH ST                                                                              OLEAN            NY    14760‐1911

BERNADINE R MOORE                                 806 ELM AVE                                                                                    OAKES            ND    58474‐1027
BERNADINE T CALVERT                               32520 BIRCHWOOD                                                                                WESTLAND         MI    48186‐5251
BERNADINE THOMAS                                  3113 STATE RD 580 LOT 389                                                                      SAFTY HARBOR     FL    34695‐5931
BERNADINE WILLIAMS                                4516 MODEL CITY RD                    PO BOX 2                                                 MODEL CITY       NY    14107‐0002
BERNADO SANCHEZ JR                                25831 ANNAPOLIS                                                                                DEARBORN HTS     MI    48125‐1433
BERNADYNE CLARK                                   BOX 52                                                                                         CAMBRIA          CA    93428‐0052
BERNAIRD MAYBERRY SR                              54 NORTH GATE DR                                                                               MONROE           LA    71201‐2215
BERNAL K WRIGHT                                   5641 W STATE RD 234                                                                            JAMESTOWN        IN    46147‐9337
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 371 of 850
Name                                           Address1                             Address2             Address3          Address4          City              State Zip

BERNARD A BARTYS                                  771 W SAGANING RD                                                                          BENTLEY           MI    48613‐9631
BERNARD A BLASZKOWSKI                             4136 COUNTRY TRAILS                                                                        BONITA            CA    91902‐3028
BERNARD A BRYANT                                  20801 NORTHOME                                                                             SOUTHFIELD        MI    48076‐5260
BERNARD A BUTCHER                                 3757 E RILEY RD RT                                                                         OWOSSO            MI    48867‐9093
BERNARD A DAVIS JR                                PO BOX 5425                                                                                WILMINGTON        DE    19808‐0425
BERNARD A FINNEGAN TR BERNARD A FINNEGAN TRUST 5654 N KOSTNER                                                                                CHICAGO           IL    60646‐5918
UA 07/17/96
BERNARD A FORTMAN JR                              3670 WESTON LANE N                                                                         PLYMOUTH          MN    55446
BERNARD A HECHT & JANET L HECHT TR HECHT FAMILY 3480 WESTBURY RD                                                                             DAYTON            OH    45409‐1246
TRUST UA 03/23/23/05
BERNARD A JEFFERSON                               101 OLYMPIC DR                                                                             MARTINSBURG       WV    25404
BERNARD A KANSKY                                  103 ALETHA RD                                                                              NEEDHAM           MA    02492‐3931
BERNARD A LECH                                    PO BOX 164                                                                                 W BOOTHBY HBR     ME    04575‐0164
BERNARD A MAHONEY                                 9058 W BURT RD                                                                             ST CHARLES        MI    48655‐9683
BERNARD A MANTEY                                  5404 COUNTY RD 311                                                                         IGNACIO           CO    81137‐9712
BERNARD A MARX                                    4840 ELMWOOD DRIVE                                                                         PITTSBURGH        PA    15227‐3700
BERNARD A MC CONNELL                              13263 HERBERT                                                                              WARREN            MI    48089‐1316
BERNARD A MILLER                                  2681 GUNNELL RD                                                                            EATON RAPIDS      MI    48827‐9342
BERNARD A MOHR & MRS HELEN A MOHR JT TEN          460 ARROWHEAD SE                                                                           GRAND RAPIDS      MI    49546‐2202
BERNARD A NUTTER                                  77 HEMPSTEAD DR                                                                            NEWARK            DE    19702
BERNARD A OSBORN & SHAWN OSBORN & HEATHER         9927 SHERIDAN ROAD                                                                         MILLINGTON        MI    48746‐9335
DESROBERTS JT TEN
BERNARD A POWER                                   495 GOLD STAR HWY                 STE 324                                                  GROTON            CT    06340
BERNARD A ROGOSZEWSKI                             6200 COUNTRY WAY N                                                                         SAGINAW           MI    48603‐1087
BERNARD A ROKOSZ                                  7049 NICHOLS RD                                                                            FLUSHING          MI    48433‐9222
BERNARD A SACHS & LILLIAN K SACHS TR U/DECL OF TR 10475 WILSHIRE BLVD               UNIT 101                                                 LOS ANGELES       CA    90024‐4691
4/11/78
BERNARD A SAMBLANET                               476 N JOHNSON                                                                              SEBRING           OH    44672‐1006
BERNARD A SCHWARTZ                                615 FRANKLIN AVE                                                                           FRANKLIN LAKES    NJ    07417‐2521
BERNARD A SHANNON JR                              14 LEXINGTON AVE                                                                           SOUTH RIVER       NJ    08882‐2037
BERNARD A SHANNON JR & MARGARET A SHANNON JT 14 LEXINGTON AVENUE                                                                             SOUTH RIVER       NJ    08882‐2037
TEN
BERNARD A SHOWERS                                 10635 WINDSMONT CT                                                                         LEHIGH ACRES      FL    33936‐7268
BERNARD A WILFONG                                 35197 MARGURETTE LANE                                                                      PAW PAW           MI    49079‐9681
BERNARD A WOZNIAK CUST CAROLYN WOZNIAK UGMA 28665 CAMPBELL                                                                                   WARREN            MI    48093‐2619
MI
BERNARD A WOZNIAK CUST MICHELLE WOZNIAK UGMA 28665 CAMPBELL                                                                                  WARREN            MI    48093‐2619
MI
BERNARD A YEMC                                    2529 BERWYN RD                                                                             WILMINGTON        DE    19810‐3568
BERNARD ABRAHAMS & GERALDINE ABRAHAMS JT TEN 22655 CHAGRIN BLVD SUIT 315                                                                     BEACHWOOD         OH    44122‐5314

BERNARD ADLER                                  1501 BEACON ST                       APT 404                                                  BROOKLINE         MA    02446
BERNARD ALLEN                                  8890 PATTON ST                                                                                DETROIT           MI    48228‐1620
BERNARD B BELANT & LORRAINE B BELANT JT TEN    1771 CAPISTRANO GLN                                                                           ESCONDIDO         CA    92026‐1856
BERNARD B BUCHANAN & FRANCES R BUCHANAN JT     PO BOX 199                                                                                    LESAGE            WV    25537
TEN
BERNARD B KOOGLER                              811 PINELAND LN                                                                               LINDALE           TX    75771
BERNARD B NEBENZAHL & NANCY A NEBENZAHL        255 SO ROXBURY DR                                                                             BEVERLY HILLS     CA    90212‐3708
COMMUNITY PROPERTY
BERNARD B STRANGE                              2237 ISLAND HOME BLVD                                                                         KNOXVILLE         TN    37920‐2744
BERNARD B WEISKOPF                             26101 VILLAGE LANE #104                                                                       BEACHWOOD         OH    44122‐7525
BERNARD B ZYDOR                                510 CLOVER RDG AVE NW                APT 32                                                   GRAND RAPIDS      MI    49504‐8036
BERNARD BALTES CUST JOHN B BALTES UGMA MN      1524 SHADOW OAK ROAD                                                                          CHARLOTTESVILLE   VA    22901‐1279

BERNARD BARTEE                                 PO BOX 667                                                                                    HAYNEVILLE        AL    36040‐0667
BERNARD BERKMAN                                842‐A BEACON ST ARUNDEL ST                                                                    BOSTON            MA    02115
BERNARD BICKERSTAFF JR                         1813 SHAFTESBURY ROAD                                                                         DAYTON            OH    45406‐3911
BERNARD BLUEFORD & JOYCE R BLUEFORD JT TEN     3128 WASHINGTON BOULEVARD                                                                     FREMONT           CA    94539‐5037
                                           09-50026-mg                     Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 372 of 850
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

BERNARD BOREN & HARRIET L BOREN JT TEN            37177 DEER RUN DR                                                                                FARMINGTON HILLS MI    48331‐1882

BERNARD BROOKER & BONNY M BROOKER & JOHN H        301 E 280TH ST                                                                                   EUCLID           OH    44132‐1309
BROOKER JT TEN
BERNARD BROWN & BEVERLY E BROWN JT TEN            4905 COTTONWOOD RD                                                                               HARRISON         AR    72601‐7659
BERNARD BROWN CUST BRUCE BROWN UGMA CA            119 ANTLER WAY                                                                                   EVERGREEN        CO    80439‐4322

BERNARD BROWN JR                                  1245 GLEN EAGLE RD                                                                               BALTIMORE        MD    21239‐2236
BERNARD BROWN SR                                  513 HARWOOD AVE                                                                                  BALTIMORE        MD    21212‐3914
BERNARD BURNS JR                                  3433 BOOKER FARM RD                                                                              MOUNT PLEASANT   TN    38474‐3025

BERNARD BURTON CUST ANDREW FUCHS UGMA NY          26 W BROADWAY                           APT 503                                                  LONG BEACH       NY    11561‐4062

BERNARD C CHAISSON                                PO BOX 4859                                                                                      RANCHO PALOS     CA    90274‐9636
                                                                                                                                                   VERDE
BERNARD C CRAIN & JEWELL N CRAIN JT TEN           7900 N LA CANADA DR                     APT 2103                                                 TUSCON           AZ    85704‐2007
BERNARD C DENNIS                                  755 NORTH GRAF ROAD RT 2                                                                         CARO             MI    48723‐9680
BERNARD C FARRELL                                 36469 DOVER                                                                                      LIVONIA          MI    48150‐3581
BERNARD C FISHER                                  2727 S FLOWAGELAKE RD                                                                            WEST BRANCH      MI    48661‐9375
BERNARD C FOWLER                                  2515 HENRIETTA AVE                                                                               E SAINT LOUIS    IL    62205‐2317
BERNARD C GARDOCKI JR & ROBERTA GARDOCKI JT TEN   822 RED COAT ROAD                                                                                COLLEGEVILLE     PA    19426‐1872

BERNARD C KALKMAN & GERRY KAY KALKMAN TEN ENT 3276 WADSWORTH                                                                                       SAGINAW          MI    48601‐6247

BERNARD C KEHLER & DOROTHY KEHLER JT TEN          401 CIFFEE POT RIVIERA                  NE                                                       ST PETERSBURG    FL    33704‐3615
BERNARD C KRAFT                                   28552 ELMWOOD                                                                                    GARDEN CITY      MI    48135‐2471
BERNARD C LARAMY                                  961 IOWA ST S W                                                                                  GRAND RAPIDS     MI    49509‐3931
BERNARD C MARX                                    815 DIVISION STREET                                                                              OSHKOSH          WI    54901‐4407
BERNARD C MCELWAIN                                97 FOY ELDRED RD                                                                                 BOMBAY           NY    12914‐3100
BERNARD C REDER                                   115 S GARFIELD ROAD                                                                              LINWOOD          MI    48634‐9724
BERNARD C REDER & GAYLE A REDER JT TEN            115 S GARFIELD RD                                                                                LINWOOD          MI    48634‐9724
BERNARD C SAJDAK                                  1694 E LINWOOD RD                                                                                LINWOOD          MI    48634‐9445
BERNARD C SHULTS                                  114 SWIFT CREEK LANE                                                                             COLONIAL HGTS    VA    23834‐1631
BERNARD C TARNOWSKY                               15284 FRAZHO                                                                                     ROSEVILLE        MI    48066‐5021
BERNARD C VANDENBERG                              27767 JOHNSON                                                                                    GROSSE ILE       MI    48138‐2016
BERNARD C WEIDEMAN                                3581 WEST 50TH ST                                                                                CLEVELAND        OH    44102‐5860
BERNARD C WILDGEN & MRS NORMA WILDGEN JT TEN      3660 HUTCHINS HILL DR                                                                            W BLOOMFIELD     MI    48323

BERNARD CAMPBELL                                  1633 E LWR SPRINGBORO RD                                                                         WAYNESVILLE      OH    45068‐9357
BERNARD CHARLES BAKER                             4669 SW 13TH TER                                                                                 MIAMI            FL    33134‐2730
BERNARD CLIFF                                     66 MAIN ST                                                                                       BROCKPORT        NY    14420‐1908
BERNARD CLIFF                                     163 LYMAN ST                                                                                     BROCKPORT        NY    14420‐1621
BERNARD COHEN                                     804 VAN NESS CIRCLE                                                                              LONGWOOD         FL    32750‐2929
BERNARD COLLIER                                   300 HUMBOLDT PKWY                                                                                BUFFALO          NY    14214‐2729
BERNARD COOK & MARGARET D COOK JT TEN             505 E KELLER HILL RD                                                                             MOORESVILLE      IN    46158‐7269
BERNARD COOPERMAN & MRS ANITA COOPERMAN JT        29 W HICKORY ST                                                                                  SPRING VALLEY    NY    10977‐3633
TEN
BERNARD COTE & BARBARA COTE JT TEN                7027 CITRUS POINT                                                                                WINTER PARK      FL    32792
BERNARD D ALEXANDER                               13973 ARLINGTON                                                                                  DETROIT          MI    48212‐2170
BERNARD D BLAKE                                   6230 MAPLE RIDGE RD                                                                              ALGER            MI    48610‐9737
BERNARD D BROWN                                   24 VISTA GARDENS TRL APT 203                                                                     VERO BEACH       FL    32962‐1793
BERNARD D DUNN                                    424 CHESTNUT DRIVE                                                                               LOCKPORT         NY    14094‐9166
BERNARD D FAVUZZA & LINDA ANN FAVUZZA JT TEN      8 EVERGREEN COURT                                                                                SUFFERN          NY    10901‐3507

BERNARD D GLASER & IRMA L GLASER JT TEN           4895 LAGOONS CIR                                                                                 WEST BLOOMFIELD MI     48323‐2045

BERNARD D GRIFFIN                                 PO BOX 328                                                                                       GRAY             KY    40734‐0328
BERNARD D GROCHOWSKI JR                           78 WILLIAMSBURG LN                                                                               LANCASTER        NY    14086‐2963
BERNARD D HADSALL                                 1614 HICKORY LN                                                                                  OSAWATOMIE       KS    66064
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 373 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

BERNARD D HIRSCH                                  2513 SHADOW CHASER DRIVE                                                                       SPRINGFIELD       IL    62707‐7226
BERNARD D HOUSEMAN                                460 WITBECK DRIVE                                                                              CLARE             MI    48617‐9721
BERNARD D HOUSEMAN & ILA M HOUSEMAN JT TEN        460 WITBECK DR                                                                                 CLARE             MI    48617‐9721

BERNARD D MOORES                                603 WEST MAIN ST                                                                                 WESTPORT          IN    47283‐9611
BERNARD D PANITZ                                2405 NEWTON RD                                                                                   WILMINGTON        DE    19810‐3520
BERNARD D STERNER & MRS RACHEL V STERNER JT TEN 839 S EUCLID                                                                                     VILLA PARK        IL    60181‐3328

BERNARD D VAUGHAN                                 PO BOX 387                                                                                     BAGDAD            FL    32530‐0387
BERNARD D WEIX & KARAN WEIX JT TEN                368 FOREST PRESERVE DR                                                                         WOODDALE          IL    60191‐1976
BERNARD DENGLER                                   545 FOWLER AVE                                                                                 PELHAM MANOR      NY    10803‐2521
BERNARD DENT & BARBARA J DENT JT TEN              13225 VASSAR AVE                                                                               DETROIT           MI    48235‐1243
BERNARD DESROSIERS                                212 FRONTENAC                         PINCOURT QC                            J7V 3V2 CANADA
BERNARD DOLNANSKY                                 134 KETCHAMS RD                                                                                SYOSSET           NY    11791‐6729
BERNARD DONALD SCHANTZ                            2144 CUMBERLAND RD                                                                             ROCHESTER HLS     MI    48307‐3705
BERNARD DOUGHERTY                                 100 HOWARD ST                                                                                  WILMINGTON        DE    19804‐1515
BERNARD DUKE                                      2427 VILLA VERA                                                                                ARLINGTON         TX    76017
BERNARD E DODD                                    3406 CLAIRMONT ST                                                                              FLINT             MI    48503‐3417
BERNARD E FEDERER & MRS RUTH FEDERER JT TEN       401 CHURCH ST                                                                                  LOMIRA            WI    53048

BERNARD E GOLOMB                                  RD #10                                1 MC CULLOUGH RD                                         PLAINS TOWNSHIP   PA    18702‐1825

BERNARD E HELMICK                                 1845 TAFT                                                                                      NILES             OH    44446‐4115
BERNARD E HILL                                    C/O CHERYL A HILL                     3330 KILT DR                                             ALMA              MI    48801‐8721
BERNARD E HONAKER                                 937 BLACKBIRD LANDING RD                                                                       TOWNSEND          DE    19734‐9149
BERNARD E KEATON                                  2252 CORNWALL DRIVE                                                                            XENIA             OH    45385‐4712
BERNARD E KING                                    1256 HEATHERWOOD LN                                                                            PONTIAC           MI    48341‐3173
BERNARD E LIVINGSTON                              288 15TH STREET                                                                                OTSEGO            MI    49078‐9686
BERNARD E LOVE                                    5750 VIA REAL                         UNIT 288                                                 CARPINTERIA       CA    93013‐2639
BERNARD E MOSEBY                                  4001 PERCH POINT DRIVE                                                                         MOBILE            AL    36605‐4544
BERNARD E OKEEFE & JEANNETTE S OKEEFE JT TEN      25 BOY ST                                                                                      BRISTOL           CT    06010‐2331
BERNARD E PEARCE                                  235 BATH ST                                                                                    ELYRIA            OH    44035‐3503
BERNARD E PERSHIN                                 4203 CUSTER DRIVE                                                                              VALRICO           FL    33594‐4910
BERNARD E ROTHMAN                                 407 CHERRY HILL BLVD                                                                           CHERRY HILL       NJ    08002‐1911
BERNARD E SPAETH & MARY F SPAETH JT TEN           3380 S ORR RD                                                                                  HEMLOCK           MI    48626‐9790
BERNARD E STRICKLAND                              42 VIA GATILLO                                                                                 SANTA MARGARITA   CA    92688‐3148

BERNARD E SYLVESTER                               2509 LEBOURDOIS                                                                                LINWOOD           MI    48634‐9431
BERNARD E THOMAS                                  9046 BENNETT LAKE RD                                                                           FENTON            MI    48430‐9053
BERNARD E TOPORZYCKI                              2903 LEMAR ROAD                                                                                MERCERSBURG       PA    17236‐9616
BERNARD E TURNER                                  1120 NORTHWOOD DRIVE                                                                           INKSTER           MI    48141‐1769
BERNARD E TURNER & PATSY E TURNER JT TEN          1120 NORTHWOOD DR                                                                              INKSTER           MI    48141‐1769
BERNARD E WERNER                                  4704 W BAY VIEW AVE                                                                            TAMPA             FL    33611‐1130
BERNARD E WILKINSON                               305 SHEERWOOD DRIVE                                                                            LADY LAKE         FL    32159‐3872
BERNARD E YAN WU & MARYANN MAY YEE KWOK JT        12318 CASCADES POINTE DR                                                                       BOCA RATON        FL    33428‐4852
TEN
BERNARD EDWARDS                                   3054 BROOKSIDE DR                                                                              WATERFORD         MI    48328‐2595
BERNARD EPIFANIO & SARAH EPIFANIO JT TEN          46358 IMPERIAL LANE                                                                            MACOMB            MI    48044‐3922
                                                                                                                                                 TOWNSHIP
BERNARD EULACE WILLIAMS                           3101 IROQUOIS AVE                                                                              FLINT             MI    48505‐4047
BERNARD F AUSTERMANN                              2008 CAESAR DR                                                                                 FENTON            MO    63026‐2163
BERNARD F BANASH JR CUST BERNARD F BANASH III     4332 FRUITVALE AVE                                                                             OAKLAND           CA    94602‐2521
UTMA CA
BERNARD F BANASH JR CUST MARGARET L BANASH        4332 FRUITVALE AVE                                                                             OAKLAND           CA    94602‐2521
UTMA CA
BERNARD F BEDNARZ JR CUST BERNARD F BEDNARZ III   3544 DEER LAKE CT SE                                                                           SALEM             OR    97301‐9378
UGMA TX
BERNARD F BULKOWSKI                               4337 RICHMOND ST                                                                               WALKER            MI    48504
BERNARD F DIAMOND                                 8380 DEAN RD                                                                                   FENTON            MI    48430‐9281
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                        Part 1 of 8 Pg 374 of 850
Name                                             Address1                                Address2                   Address3      Address4          City              State Zip

BERNARD F FERDINANDO                            7205 BRIDALWOOD DR                       CONCORD TOWNSHIP                                           PAINESVILLE       OH    44077
BERNARD F FERDINANDO & CLAIRE FERDINANDO JT TEN 822 CHARLES STREET                                                                                  WILLOWICK         OH    44095‐4302

BERNARD F FULLER                                 9245 BAYOU ROAD                                                                                    LILLIAN           AL    36549‐5529
BERNARD F GRASSMID                               7574 ORCHARD CIRCLE                                                                                FREMONT           MI    49412‐8519
BERNARD F JAROLD                                 9025 PLEASANTVIEW DRIVE                                                                            NORTHFIELD        OH    44067‐2659
                                                                                                                                                    CENTER
BERNARD F NUNES                                PO BOX 570                                                                                           NORTH TRURO       MA    02652‐0570
BERNARD F R MAY & PATRICIA A MAY JT TEN        908 MC KNIGHT RD                                                                                     INDIANA           PA    15701‐3355
BERNARD F SCHNEIDER                            733 LINCOLN CT                                                                                       LANSING           MI    48917‐9261
BERNARD F SHOTWELL                             737 BAY RD                                APLIN BEACH                                                BAY CITY          MI    48706‐1931
BERNARD F TIRPAK                               606 ST AGNES LANE                                                                                    W MIFFLIN         PA    15122‐2925
BERNARD F WOLNY                                1733 BROCKWAY                                                                                        SAGINAW           MI    48602‐2648
BERNARD FRANCIS COTTER                         BOX 1614                                                                                             N LITTLE ROCK     AR    72115‐1614
BERNARD FRANCIS LANDIS                         2959 CROWN POINTE DR                                                                                 TRAVERSE CITY     MI    49685‐7282
BERNARD FRANCIS LOTHAMER & RUTHANNE F          2311 LEESMOOR LN                                                                                     FORT WAYNE        IN    46808‐1643
LOTHAMER JT TEN
BERNARD FREDENDALL                             21 MARY STREET                                                                                       AUBURN            NY    13021
BERNARD FREEDMAN & MISS ELAINE FREEDMAN JT TEN 1116 WOODLAWN AVE                                                                                    ANNARBOR          MI    48104‐3957

BERNARD FRIEDMAN                                1247 SUMTER ST                           STE 300                                                    COLUMBIA          SC    29201‐3350
BERNARD G BUKOSKEY                              11 HIGHLAND AVE                                                                                     TONAWANDA         NY    14150‐3901
BERNARD G BURLEY & DOROTHY A BURLEY JT TEN      5271 E ATHERTON RD                                                                                  BURTON            MI    48519‐1529
BERNARD G DELONEY                               2184 W DODGE RD                                                                                     CLIO              MI    48420‐1665
BERNARD G EDDY JR                               8500 N GENESEE ROAD                                                                                 MT MORRIS         MI    48458‐8945
BERNARD G ELAM                                  8044 MANOR                                                                                          DETROIT           MI    48204‐3154
BERNARD G JOSEPH                                15885 HURON RIVER DR                                                                                ROMULUS           MI    48174‐3668
BERNARD G KORTE & LAVERNE KORTE TR KORTE FAMILY 330 PELTON AVE                                                                                      SANTA CRUZ        CA    95060‐6158
TRUST UA 04/11/97
BERNARD G LANIVICH & VERONICA E LANIVICH JT TEN 21507 WILLOW WISP                                                                                   SAINT CLAIR SHORES MI   48082‐2268

BERNARD G LOCKE                                  20040 ORANGE TREE                                                                                  ESTERO            FL    33928‐4012
BERNARD G LORCH                                  3701 CLARKS LANE APT A                                                                             BALTIMORE         MD    21215‐2742
BERNARD G MADDOX                                 3161 BALL RD                                                                                       ANAHEIM           CA    92804‐3887
BERNARD G MAURER                                 7761 BURT HWY                                                                                      LANSING           MI    48917‐9642
BERNARD G MCGARRY III                            C/O K MC GARRY GILLIS                   110 DILLINGHAM AVE # 224                                   FALMOUTH          MA    02540‐2347
BERNARD G PETERS CUST JARED A PETERS UTMA IL     622 TIMBER LANE                                                                                    LAKE FOREST       IL    60045‐3118

BERNARD G SKONIECZNY                             1473 MCCOY ST                                                                                      COMMERCE TWP      MI    48390‐2254
BERNARD G STEFFEL                                1400 BELGROVE DRIVE                                                                                SAINT LOUIS       MO    63137‐3004
BERNARD G WALNY                                  13925 MASONIC                                                                                      WARREN            MI    48093‐1484
BERNARD GERSHEN & SHIRLEY GERSHEN JT TEN         9 HIGHLAND DR                                                                                      CENTERPORT        NY    11721‐1511
BERNARD GLETTEN                                  829 LAKE TERRACE DR                                                                                NASHVILLE         TN    37217‐4274
BERNARD GOLDSTONE TR EDYTHE LOUISE               ONE EAST STATE STREET                   PO BOX 91                                                  SHARON            PA    16146‐0091
GREENBERGER U/DECL OF TR 11/16/65
BERNARD GOROWITZ                                 28 GARNET DR                                                                                       LITTLE FALLS      NJ    07424
BERNARD GROSS                                    996 BETTY LN                                                                                       LAS VEGAS         NV    89110‐2520
BERNARD GROSS                                    1146 RUSH ST                                                                                       GARY              IN    46403‐1484
BERNARD GUAY                                     95 CHEMIN NORD                          RR 3                       SHEFFORD QC   J2M 1H3 CANADA
BERNARD H DEFAZIO                                46387 HAWKINS CT                        SHELBYTOWNSHIP                                             UTICA             MI    48315
BERNARD H EVENSON                                1711 N 85TH ST                                                                                     KANSAS CITY       KS    66112‐1720
BERNARD H GONTOVNICK                             206 CARTER COURT                                                                                   NORTHBROOK        IL    60062‐5642
BERNARD H GROVES                                 16751 TURNER RD #72                                                                                LANSING           MI    48906‐2361
BERNARD H HANNAH                                 2428 NED DR                                                                                        DAYTON            OH    45439‐2824
BERNARD H JENKINS                                PO BOX 245                                                                                         WINDHAM           OH    44288‐0245
BERNARD H KOITHAHN                               C/O KEVIN KEITH KOITHAHN                215 W VINE                 PO BOX 132                      SHERWOOD          OH    43556‐0132
BERNARD H KRAMPE                                 512 LENAPE PATH                                                                                    COLUMBIA          TN    38401‐2298
BERNARD H MARX TR ERNEST W MARX TESTAMENTARY     20 LESLIE PL                                                                                       NEW ROCHELLE      NY    10804‐1215
TRUST UA 11/21/96
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 375 of 850
Name                                                Address1                             Address2                   Address3    Address4          City            State Zip

BERNARD H MC FARLANE                                4331 REDDING CIR                                                                              GRAND BLANC     MI    48439‐8091
BERNARD H NEWMAN & MARY ELLEN OLIVERIO              106 MORNINGSIDE DR APT 98                                                                     NEW YORK        NY    10027‐6011
NEWMAN JT TEN
BERNARD H WHIPPLE                                   116 N CORBIN                                                                                  HOLLY           MI    48442‐1431
BERNARD HARRISON                                    309 3RD AVE                                                                                   WILMINGTON      DE    19804‐2232
BERNARD HEILWEIL                                    200 EAST 84TH ST                     6H                                                       NEW YORK        NY    10028
BERNARD HERRINGER & MRS CAROL HERRINGER JT TEN      827 CARILLON DR                      UNIT 413                                                 BARTLETT        IL    60103‐4690

BERNARD HEYWARD                                     141 DORCHESTER MANOR BLVD                                                                     N CHARLESTON    SC    29420‐8102
BERNARD HIRSHBERG EX UW HELEN HIRSHBERG             4507 OAKVIEW DR APT D                                                                         SAVANNAH        GA    31405‐5186
BERNARD HOFFMAN                                     468 PRINCETON AVE                                                                             BAYVILLE        NJ    08721‐3458
BERNARD HUNT & BARRY HUNT JT TEN                    5523 SHERINGHAM BLVD                                                                          CLARKSTON       MI    48346‐3056
BERNARD I BROWN III                                 438 W SARATOGA AVE                                                                            YOUNGSTOWN      OH    44515‐4070
BERNARD I CARLSON TR CARLSON FAM TRUST UA           C/O GAY L CARLSON                    5729 DAVIS CIRCLE                                        ROHNERT PARK    CA    94928‐1740
04/28/95
BERNARD I RUBIN & RHODA RUBIN JT TEN                516 E 80TH ST NO C                                                                            NEW YORK        NY    10021
BERNARD I SEWELL                                    5545 W BERTHA ST                                                                              INDIANAPOLIS    IN    46241‐0659
BERNARD J ANDRES                                    8217 NEW LOTHROP RD                                                                           NEW LOTHROP     MI    48460‐9701
BERNARD J BECKER JR & BABETTA A BECKER JT TEN       18311 BUCKHANNON                                                                              ROSEVILLE       MI    48066‐4944

BERNARD J BRAUNSCHEIDEL JR                          286 IRVINGTON DR                                                                              TONAWANDA       NY    14150‐1412
BERNARD J BRODA                                     8590 BRANDYWINE RD                                                                            NORTHFIELD      OH    44067‐2816
BERNARD J BRUYERE                                   145 WEBSTER ST                                                                                MALONE          NY    12953‐2226
BERNARD J BYRNES                                    357 SUNSET ST                                                                                 ROCHESTER       NY    14606‐2720
BERNARD J CARPENTER                                 5906 PARK AVE                                                                                 BERKELEY        IL    60163‐1023
BERNARD J CARR                                      3520 FOX CHASE DR                                                                             IMPERIAL        PA    15126‐9600
BERNARD J CASEY                                     116 EDINBURGH DR                                                                              CANTON          GA    30115‐1887
BERNARD J CETLINSKI & FLORETTE J CETLINSKI JT TEN   234 W SHORE LINE DR                                                                           PORT SANILAC    MI    48469‐9770

BERNARD J CHOINSKI                              5167 SEVERANCE RD                                                                                 DECKER          MI    48426‐9790
BERNARD J DONIEK TR BERNARD J DONIEK TRUST UA   7305 W ARCHER AVE                                                                                 SUMMIT          IL    60501‐1273
03/17/03
BERNARD J DONOVAN & MRS FLORENCE F DONOVAN JT 7360 BEAR RIDGE RD                                                                                  NORTH           NY    14120‐9520
TEN                                                                                                                                               TONAWANDA
BERNARD J DOYLE                                 32 FARNSWORTH DRIVE                                                                               NEW HARTFORD    CT    06057‐4116
BERNARD J DRESEL & MARILYN J DRESEL JT TEN      517 RICHMOND DR                                                                                   SHARON          PA    16146‐3813
BERNARD J DZBANSKI                              1652 JACKSON DR                                                                                   TROY            MI    48083‐2041
BERNARD J FECTEAU                               6847 CRANBERRY DR                                                                                 NEW PRT RCHY    FL    34653‐4500
BERNARD J FLYNN                                 3441 N 31ST STREET                                                                                PHOENIX         AZ    85016‐8805
BERNARD J FLYNN JR                              14 STONEYBROOK AVENUE                                                                             STONEYBROOK     NY    11790‐1726
BERNARD J GARCIA                                2809 FLINT AVE                                                                                    SAN JOSE        CA    95148‐2123
BERNARD J GASPER                                2471 CLAYWARD ST                                                                                  BURTON          MI    48509‐1057
BERNARD J GROSS JR                              PO BOX 757                                                                                        XENIA           OH    45385‐0757
BERNARD J GRYSEN & MRS JANE E GRYSEN JT TEN     5999 ELMWOOD LAKE DR                                                                              HUDSONVILLE     MI    49426‐1162
BERNARD J HASEMAN                               4791 WESTLINCOLN RD                                                                               ANDERSON        IN    46011‐1417
BERNARD J HEALY                                 405 N BELNORD AVE                                                                                 BALTIMORE       MD    21224‐1204
BERNARD J HEITJAN & DEANNA L HEITJAN JT TEN     31435 ROSSLYN AVE                                                                                 GARDEN CITY     MI    48135‐1345
BERNARD J HOLVA & JOANNE HOLVA JT TEN           303 1ST ST                                                                                        ADAH            PA    15410‐1127
BERNARD J HOY                                   7206 PINEHURST LN                                                                                 GRAND BLANC     MI    48439‐2618
BERNARD J JOURNEY                               6922 APPLETON COURT                                                                               MENTOR          OH    44060‐8404
BERNARD J JUREK CUST CHERILYN SUE JUREK UGMA MI C/O MRS CHERILYN LARSON                  15391 BLUE SKIES COURT W                                 LIVONIA         MI    48154‐1515

BERNARD J JUREK CUST CONNIE LOUISE JUREK UGMA       ATTN CONNIE LOUISE DOA               5336 WYNDAM LANE                                         BRIGHTON        MI    48116‐4704
MI
BERNARD J JUREK CUST THOMAS JON JUREK UGMA MI       35675 CONGRESS RD                                                                             FARMINGTON      MI    48335‐1221

BERNARD J JUREK CUST WILLIAM ROBERT JUREK UGMA 35675 CONGRESS RD                                                                                  FARMINGTON HILLS MI   48335‐1221
MI
BERNARD J KARWOWICZ                            28536 SUTHERLAND                                                                                   WARREN          MI    48093‐4336
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 376 of 850
Name                                               Address1                                Address2             Address3          Address4          City            State Zip

BERNARD J KEAN                                     PO BOX 74                                                                                        TREVOR          WI    53179‐0074
BERNARD J KELLER                                   66 OVERLOOK TERRACE                                                                              NEW YORK        NY    10040‐3824
BERNARD J KOCAJ & GENEVIEVE A KOCAJ JT TEN         38640 NINE MILE                                                                                  NORTHVILLE      MI    48167‐8900
BERNARD J KORTZ                                    112 LAURELWOOD DR                                                                                PITTSBURGH      PA    15237‐4069
BERNARD J KRUPNIK                                  32 AMHERST ROAD                                                                                  RIVERSIDE       CT    06878‐1532
BERNARD J LA CROIX                                 8256 PINE LAKE DR                                                                                DAVISBURG       MI    48350‐2046
BERNARD J LA CROIX JR                              8256 PINE LAKE DR                                                                                DAVISBURG       MI    48350‐2046
BERNARD J LA ROCHELLE                              244 SHERBROOKE ST APT 115               MONTREAL QC CAN QC                     H2X 1E1 CANADA
BERNARD J LAYO                                     624 A RILEY BLVD                                                                                 BEDFORD         IN    47421‐9600
BERNARD J MATUSZAK                                 116 UNIVERSITY BLVD                                                                              DEPEW           NY    14043‐2874
BERNARD J MELASKY                                  90 APPLEGATE                            UNIT 2                                                   SOUTHINGTON     CT    06489
BERNARD J MICHALAK                                 33059 CHIEF LANE                                                                                 WESTLAND        MI    48185‐2380
BERNARD J MICHALAK & DELPHINE L MICHALAK JT TEN    33059 CHIEF LANE                                                                                 WESTLAND        MI    48185‐2380

BERNARD J MURPHY                                   APT 5                                   1ST ST BLDG 5                                            NANUET          NY    10954‐2809
BERNARD J MURPHY                                   21532 DUNBAR RD                                                                                  SHERIDAN        IN    46069‐9726
BERNARD J MURPHY JR                                5 NORMANDY VLG APT 5                    NAUET                                                    NANUET          NY    10954‐2813
BERNARD J O'BRIEN & BARBARA F O'BRIEN JT TEN       501 ADMIRALS CIRCLE                                                                              PINE BEACH      NJ    08741‐1413
BERNARD J PISACICH CUST KAREN ELIZABETH PISACICH   76 COLONIAL DR                                                                                   WATERFORD       CT    06385‐3331
UGMA CT
BERNARD J PODCASY & MRS JANE M PODCASY JT TEN      120 RIVERSIDE DRIVE                                                                              WILKES‐BARRE    PA    18702‐2320

BERNARD J PYRA                                     93 WHITBURN STREET                      WHITBY ON                              L1R 2N1 CANADA
BERNARD J RICHARD & DEBORAH A MITTS & SUSAN M      3301 COUNTRYSIDE VIEW DRIVE                                                                      SAINT CLOUD     FL    34772
WIECZOREK JT TEN
BERNARD J ROSSER                                   PO BOX 29252                                                                                     LAUGHLIN        NV    89028‐9252
BERNARD J SALEMI & LOUISE D SALEMI JT TEN          112 BERDAN ST                                                                                    ROCHELLE PARK   NJ    07662‐3218
BERNARD J SKOMRA                                   9405 TRINITY CHURCH RD                                                                           LISBON          OH    44432‐8710
BERNARD J SKOPP & MARY ANN M SKOPP JT TEN          38 JAY CIR                                                                                       FAIRFIELD       CT    06432‐2450
BERNARD J SMYTH                                    80 PARK ST                                                                                       SOUTH HADLEY    MA    01075‐1510
BERNARD J ST CLAIR                                 PO BOX 387                                                                                       MENDON          MA    01756‐0387
BERNARD J STEC JR & DOLORES J STEC JT TEN          14 ALTON RD                                                                                      TRENTON         NJ    08619‐1546
BERNARD J SWEENEY                                  30 OCEAN BLVD                                                                                    ATLANTIC        NJ    07716‐1275
                                                                                                                                                    HIGHLANDS
BERNARD J THOMPSON                                 433 N SPRUCE                                                                                     TRAVERS CITY    MI    49684‐2154
BERNARD J TIMMER & DOROTHY A TIMMER JT TEN         1518 N WASHINGTON BLVD                                                                           CAMANCHE        IA    52730‐1106

BERNARD J VACEK JR & SHEILA FREDERICKSON JT TEN    4308 S 39TH                                                                                      OMAHA           NE    68107

BERNARD J VACEK SR SHEILA C VACEK & BERNARD J 4308 S 39TH ST                                                                                        OMAHA           NE    68107‐1241
VACEK JR JT TEN
BERNARD JOSEPH                                10747 PARK VILLAGE PL                                                                                 DALLAS          TX    75230‐3908
BERNARD JOSEPH BACH                           1128 RARITAN AVE                                                                                      HIGHLAND PARK   NJ    08904‐3606
BERNARD JOSEPH FLYNN                          1016 N 7TH ST                                                                                         ROCHELLE        IL    61068‐1533
BERNARD K MACDONALD & CAROLYN S MACDONALD JT N2322 EVERGREEN COURT                                                                                  WAUTOMA         WI    54982
TEN
BERNARD K MARVIN                              315 S 7TH ST                                                                                          CEDAR SPRINGS   MI    49319‐9482
BERNARD K SAYDLOWSKI                          7 BROOKLET DRIVE                                                                                      WILMINGTON      DE    19810‐2229
BERNARD KASZOVITZ                             9055 SW 73RD CT                              APT 1906                                                 MIAMI           FL    33156‐2957
BERNARD KELTER                                S10398 COUNTRY RD C                                                                                   SPRING GREEN    WI    53588
BERNARD KLUZ & CLARA KLUZ JT TEN              44666 CRESTMONT DR                                                                                    CANTON          MI    48187‐1818
BERNARD KNOPER & RUTH KNOPER JT TEN           6069 72ND AVE                                                                                         HUDSONVILLE     MI    49426‐9584
BERNARD KNOX & MRS ANN KNOX JT TEN            4035 CHESTATEE RD                                                                                     GAINESVILLE     GA    30506‐3488
BERNARD KURS                                  12535 AVENIDA TINEO                                                                                   SAN DIEGO       CA    92128‐3139
BERNARD L BEATTIE                             1758 ELMWOOD                                                                                          DEFIANCE        OH    43512‐2509
BERNARD L BLANCHARD                           612 COUNTRY RTE 42                                                                                    MASSENA         NY    13662‐9623
BERNARD L BLAND JR                            7442 SPRING VILLAGE DR                       APT 124                                                  SPRINGFIELD     VA    22150‐4448
BERNARD L BOOTH                               4345 NORWOOD DR                                                                                       ROSCOMMONI      MI    48653‐9535
BERNARD L BOWMAN                              RFD1                                                                                                  HILLVIEW        IL    62050‐9801
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                     Part 1 of 8 Pg 377 of 850
Name                                             Address1                             Address2              Address3             Address4          City            State Zip

BERNARD L BRANDOW                             PO BOX 165                                                                                           HOWARD CITY     MI    49329‐0165
BERNARD L COOPER                              2400 CHILDS RD                                                                                       LAKE OSWEGO     OR    97034‐7668
BERNARD L DAVIS                               2330 TITUS AVENUE                                                                                    DAYTON          OH    45414‐4140
BERNARD L DYKE & ANNE L DYKE JT TEN           6909 PINE HOLLOW DR                                                                                  WESTERVILLE     OH    43082‐8527
BERNARD L EARICK                              1512 HOME RD                                                                                         DELAWARE        OH    43015‐8924
BERNARD L ESKER                               10805 WATERFALL RD                                                                                   STRONGSVILLE    OH    44149‐2145
BERNARD L FARMER                              905 GETTYSBURG PL                                                                                    BEDFORD         TX    76022‐7621
BERNARD L FUCHS                               2104 WESTFIELD RD                                                                                    JOLIET          IL    60435‐3337
BERNARD L GRAY                                PO BOX 9059                                                                                          FORT MOHAVE     AZ    86427‐9059
BERNARD L HEBERT JR                           4237 N QUANICASSEE RD                                                                                FAIRGROVE       MI    48733‐9739
BERNARD L HIRSCH                              831 LYNCREEK DR                                                                                      DAYTON          OH    45458‐2120
BERNARD L HIRSCH & REBECCA S HIRSCH JT TEN    831 LYNCREEK DRIVE                                                                                   CENTERVILLE     OH    45458‐2120
BERNARD L HOLBROOK                            15392 OSAGE RD                                                                                       APPLE VALLEY    CA    92307‐3644
BERNARD L HOLT                                5368 BEGNIA DRIVE                                                                                    POLLACK PINES   CA    95726‐9003
BERNARD L JOHNSON & EMMA J JOHNSON TR JOHNSON 2321 DEERFIELD LN                                                                                    ONTARIO         OH    44906‐4018
FAMILY TRUST UA 05/04/00
BERNARD L KAPLAN & VIRGINIA R KAPLAN JT TEN   6001N OCEAN DR APT 4617                                                                              HOLLYWOOD       FL    33019
BERNARD L KRAMPE                              3256 GRAND RIVER DR                                                                                  GRAND RAPIDS    MI    49525‐9725
BERNARD L LUKACS JR                           1 LANDER ST                                                                                          PITTSBURGH      PA    15220‐5629
BERNARD L MARTIN                              9768 NORTHSHORE DR                                                                                   SEAFORD         DE    19973‐7819
BERNARD L MATTHEWS                            4 OCEANS W BLVD 402D                                                                                 DAYTONA BEACH   FL    32118‐5975
                                                                                                                                                   SHOR
BERNARD L PRZYBOCKI                              626 MEADOWRIDGE WA                                                                                HUDSON          OH    44236‐1183
BERNARD L SMITH                                  5296 STATE ROUTE 55                                                                               URBANA          OH    43078‐9615
BERNARD L STASIEWICZ                             15806 W LAHLUM LN                                                                                 SURPRISE        AZ    85374
BERNARD L TERPSTRA                               11232 TEBEAU DRIVE                                                                                SPARTA          MI    49345‐8445
BERNARD L TERPSTRA & SHIRLEY A TERPSTRA JT TEN   11232 TEBEAU DRIVE                                                                                SPARTA          MI    49345‐8445

BERNARD L THOMAS                                 5328 W 250 N                                                                                      MARION           IN   46952‐6797
BERNARD L WILLIAMS                               1393 MALLARD DR                                                                                   MARTINSVILLE     NJ   08836‐2134
BERNARD L WISEMAN                                5316 DEERWOOD LAKE DRIVE                                                                          SPRINGFIELD      IL   62703‐5366
BERNARD LACH & AUDREY LACH JT TEN                8115 RIVERDALE                                                                                    DEARBORN HEIGHTS MI   48127‐1574

BERNARD LARRY GERHARDT                        4105 MINERVA                                                                                         FLINT           MI    48504‐6958
BERNARD LARSON & LOIS E LARSON JT TEN         73030 BIRCH GROVE RD                                                                                 WASHBURN        WI    54891‐5833
BERNARD LEBUS WAIMAN & VIVIAN WINEMAN TR UW J 3 ROMNEY CLOSE                          LONDON NW11                                GREAT BRITAIN
WAIMNA
BERNARD LEE                                   3390 ROTHSHIRE CIRCLE CSL                                                                            NORTH VERNON    IN    47265
BERNARD LEIBMAN                               773 HAWTHORNE PL                                                                                     WEBSTER         NY    14580‐2623
BERNARD LEZELL & CAROLE LEZELL JT TEN         10937 BROWN PELICAN CIRCLE                                                                           ESTERO          FL    33928
BERNARD LISSKA CUST DANIEL LISSKA UGMA OH     3523 KENLAWN ST                                                                                      COLUMBUS        OH    43224‐3451
BERNARD LOFTON                                1442 W 111TH ST                                                                                      LOS ANGELES     CA    90047‐4921
BERNARD LONG CUST MICHAEL ANDREW LONG UTMA IL 11335 ABERDEEN RD                                                                                    BELVIDERE       IL    61008‐7992

BERNARD LOTHSCHUETZ                           ADAM OPEL AG                            IPC F4‐06             65423 RUESSELSHEIM   GERMANY
BERNARD LOUIS TCHORNI                         38 WOODMONT DR                                                                                       LAWRENCEVILLE   NJ    08648‐2115
BERNARD LUBIN & ALICE W LUBIN JT TEN          2710 CHARLOTTE ST                                                                                    KANSAS CITY     MO    64109‐1128
BERNARD LYNN CUST ANDREW LYNN UGMA IN         STE C                                   659 EMORY VALLEY RD                                          OAK RIDGE       TN    37830‐7751
BERNARD M CARROLL                             56 FLINT RD                                                                                          TOMS RIVER      NJ    08757‐5117
BERNARD M CONBOY & MRS MADELINE CONBOY JT TEN 3022 BLUETT                                                                                          ANN ARBOR       MI    48105‐1424

BERNARD M FERRERI & MARY ANN FERRERI & NICHOLAS 13425 MISTY MEADOW DR                                                                              PALOS HTS       IL    60463‐2767
C FERRERI JT TEN
BERNARD M FOX & MARILYN A FOX JT TEN            4 LION GARDINER                                                                                    CROMWELL        CT    06416‐2728
BERNARD M GOMEZ                                 5417 S HARDING AVE                                                                                 CHICAGO         IL    60632‐3726
BERNARD M MC BREEN                              19313 SURREY LANE                                                                                  NORTHVILLE      MI    48167‐3143
BERNARD M MC GRAW & MAXINE M MC GRAW JT TEN 12081 N MC KINLEY RD                                                                                   MONTROSE        MI    48457‐9728

BERNARD M MCGRAW                                 12081 N MCKINLEY RD                                                                               MONTROSE        MI    48457‐9728
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 378 of 850
Name                                             Address1                              Address2                Address3       Address4          City            State Zip

BERNARD M MURPHY & MARY ELLEN MURPHY JT TEN      7780 KLUSMAN AVE                                                                               RANCHO          CA    91730‐2712
                                                                                                                                                CUCAMONGA
BERNARD M REEN                                   925 DELEWARE AVE #4B                                                                           BUFFALO         NY    14209‐1843
BERNARD M SCHUMAN                                9668 BARNES RD                                                                                 BIRCH RUN       MI    48415‐9601
BERNARD M STONE                                  619 GOODHILL RD                                                                                KENTFIELD       CA    94904‐2642
BERNARD M TASSELMYER                             455 WEST LANE                                                                                  LEWISTON        NY    14092‐1347
BERNARD M ZOST                                   251 ROLLING GREENE DR NW                                                                       WALKER          MI    49544‐5890
BERNARD MADOFF & PAUL KONIGSBERG TR UA           34 PHEASANT RUN                                                                                OLD WESTBURY    NY    11568‐1703
02/21/92 SHANA DIANE MADOFF
BERNARD MARKOWITZ & MRS THELMA MARKOWITZ JT      27 KIRKLAND DR                                                                                 GREENLAWN       NY    11740‐2135
TEN
BERNARD MAZUREK                                  1514 VERMILYA AVE                                                                              FLINT           MI    48507‐1592
BERNARD MEYER & MRS DORIS S MEYER JT TEN         230 SW 194 PLACE                                                                               NORMANDY PARK   WA    98166‐4059
BERNARD MICALLEF                                 17246 OPORTO AVE                                                                               LIVONIA         MI    48152‐4508
BERNARD MILLER & HELENE L MILLER JT TEN          1738 CHICAGO AVE 905                                                                           EVANSTON        IL    60201‐6008
BERNARD MITROVICH & JUDITH M MITROVICH JT TEN    720 FIRST ST NW                                                                                NAPLES          FL    34120‐2005

BERNARD MURPHY JR & NANCY MURPHY TEN ENT         3103 RUSSELL RD                                                                                ALEXANDRIA      VA    22305‐1721
BERNARD N BUSH                                   400 MARWOOD DR SE                                                                              WARREN          OH    44484‐4644
BERNARD N CAIN & MERIANNE CAIN JT TEN            513 ACORN WAY                                                                                  MOUNT JULIET    TN    37122‐4024
BERNARD N LAPIERRE                               214 RAILROAD ST                                                                                MANVILLE        RI    02838
BERNARD N MILLER                                 29181 MALVINA DR                                                                               WARREN          MI    48088‐5138
BERNARD N SEKMAN                                 80 BOEHMHURST AVE                                                                              SAYREVILLE      NJ    08872‐1320
BERNARD N VOYTON                                 1615 LINWOOD AVE                                                                               NIAGARA FALLS   NY    14305‐2905
BERNARD NAGLE                                    3110 ARBOUR GREEN CT                                                                           HATFIELD        PA    19440
BERNARD O ELLIOTT                                19101 EASTWOOD DRIVE                                                                           HARPER WOODS    MI    48225‐2042
BERNARD OCONNELL                                 556GRIER AVE                                                                                   ELIZABETH       NJ    07202‐3105
BERNARD OLIVIO                                   ATTN JOHN OLIVIO                      4930 OXFORD AVE NORTH                                    ST PETERSBURG   FL    33710‐6059
BERNARD OWENS                                    1715 DOANE DR                                                                                  ST LOUIS        MO    63136‐2209
BERNARD P CONCANNON                              6272 GOFF RD                                                                                   CANANDAIGUA     NY    14424
BERNARD P COPELAND                               3911 PRATT LAKE RD                                                                             GLADWIN         MI    48624‐8249
BERNARD P DOLE                                   4274 S WAYSIDE DR                                                                              SAGINAW         MI    48603‐3058
BERNARD P EDWARDS                                193 VANCE MOUNTAIN FARM RD            ROAD 892                                                 HAYSI           VA    24256
BERNARD P KNASIAK                                1257 HEATHERWOOD LN                                                                            ANN ARBOR       MI    48108‐2811
BERNARD P LUCAS                                  PO BOX 21856                                                                                   EL CAJON        CA    92021‐0967
BERNARD P MALNEKOFF & JOYCE MALNEKOFF JT TEN     338 GLENVIEW RD                                                                                GLENVIEW        IL    60025‐3363

BERNARD P MASTERS & CORAL C MASTERS JT TEN       218 WHISPERING OAKS ST                                                                         SAN ANTONIO     TX    78233‐2555
BERNARD P MINICHILLI & CHARMAINE M MINICHILLI JT 5697 GREEN CIRCLE DR #112                                                                      MINNETONKA      MN    55343‐9642
TEN
BERNARD P MOSS                                   7059 MARYMOUNT DR                                                                              GOLETA          CA    93117‐2986
BERNARD P PFEFFERLE                              3913 BARDSHAR RD                                                                               CASTALIA        OH    44824‐9728
BERNARD P SOJA                                   1001 NORTH O ST                                                                                LAKEWORTH       FL    33460‐2345
BERNARD PARKER JR                                9220 APPOLINE ST                                                                               DETROIT         MI    48228‐2626
BERNARD PECHTER & HARRIET PECHTER JT TEN         2917 FRANKEL BLVD                                                                              MERRICK         NY    11566‐5435
BERNARD PERREAULT                                19 WINGATE DRIVE                                                                               ROCHESTER       NY    14624‐2643
BERNARD PETERS                                   118 SMITH ST                                                                                   MANLIUS         NY    13104‐1822
BERNARD PHILLIPS                                 1215 S PLYMOUTH CRT                                                                            CHICAGO         IL    60605
BERNARD Q PHELAN                                 403 PRARIE HILLS DR                                                                            CHEYENNE        WY    82009‐3458
BERNARD QUICCI                                   4258 W CAMINO ACEQUIA                                                                          PHOENIX         AZ    85051‐1042
BERNARD R BAENSCH                                50591 TOP OF HILL CRT                                                                          PLYMOUTH        MI    48170‐6345
BERNARD R BRIDGFORD                              255 COURTYARD BLVD                    APT 214                                                  SUN CITY CTR    FL    33573‐5798
BERNARD R CHURCHILL                              2879 44TH STREET SW                                                                            NAPLES          FL    34116‐7923
BERNARD R COOK                                                                                                                                  WARREN CENTER   PA    18851
BERNARD R DORAN                                  851 N HIGHLAND AVE                                                                             GIRARD          OH    44420‐2023
BERNARD R GISSLER & MRS EVELYN K GISSLER JT TEN  ROUTE 2 BOX 89                                                                                 STROMSBURG      NE    68666‐9646

BERNARD R KAUFMAN CUST MATTHEW A KAUFMAN         29130 FOUNTAINWOOD ST                                                                          AGOURA HILLS    CA    91301‐1615
UGMA CA
                                              09-50026-mg                Doc 7123-43     Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 379 of 850
Name                                              Address1                               Address2               Address3        Address4          City             State Zip

BERNARD R KLINE                                   34243 RICHLAND                                                                                  LIVONIA          MI    48150‐5617
BERNARD R LANE                                    17243 BONSTELLE AVE                                                                             SOUTHFIELD       MI    48075‐3471
BERNARD R LOAFMAN                                 5314 HARDY RD                                                                                   VASSAR           MI    48768‐9752
BERNARD R MCKONE                                  4103 PINE GLENN XING                                                                            FLUSHING         MI    48433‐3109
BERNARD R NICHOLS                                 9786 HWY 67W                                                                                    BUTLER           TN    37640‐7121
BERNARD R RUBAL                                   1932 LIBERTY RD                                                                                 STOW             OH    44224‐3426
BERNARD R SALMON & GAYLE S SALMON JT TEN          1891 WISTERIA ST                                                                                SARASOTA         FL    34239‐3827
BERNARD R SCHNEIDER                               4217 TEMPLAR RD                                                                                 TOLEDO           OH    43613‐3932
BERNARD R SHEPLEY                                 APT 204                                1717 MIDWESTERN PKWY                                     WICHITA FALLS    TX    76302‐1941
BERNARD R SHOAF                                   95 FERN CT                                                                                      STOCKBRIDGE      GA    30281‐2111
BERNARD R SPAULDING                               2800 OAKVIEW DRIVE                                                                              DRYDEN           MI    48428‐9740
BERNARD R STOLTZ                                  32581/2HESS RD                                                                                  LOCKPORT         NY    14094
BERNARD R TRAPHAN & ELIZABETH TRAPHAN JT TEN      14 SILVER BEECH RD                                                                              RIVERSIDE        CT    06878‐1229

BERNARD R VERNON                                  65 CEDAR LANE                                                                                   OSSINING         NY    10562‐2436
BERNARD R WALTHER                                 5846 PRESCOTT DR                                                                                TAWAS CITY       MI    48763‐9454
BERNARD RAU                                       12900 CLYDE RD                                                                                  FENTON           MI    48430‐9426
BERNARD RAYSOR JR                                 154 FAIRVIEW RD                                                                                 LONOKE           AR    72086‐8910
BERNARD RENFER                                    67 HUYLER ROAD                                                                                  BRANCHBURG       NJ    08876‐3705
BERNARD REVETTE                                   24 WOODWORTH DRIVE                                                                              CENTRAL SQUARE   NY    13036‐2174
BERNARD ROBERT PIOTROWSKI                         6796 E URMEYVILLE RD                                                                            FRANKLIN         IN    46131‐7207
BERNARD ROSENBLOOM & MRS CAROL ROSENBLOOM         4 SKINNER DR                                                                                    BLOOMFIELD       CT    06002‐2612
JT TEN
BERNARD ROSS                                      1853 MISSION HILLS LANE                                                                         NORTHBROOK       IL    60062‐5760
BERNARD S BLATT CUST DREW BOTWINICK UTMA NY       7053 BENT MENORCA DR                                                                            DELRAY BEACH     FL    33446‐5601

BERNARD S BODO                                    30 W 60TH ST APT 4M                                                                             NEW YORK         NY    10023‐7908
BERNARD S KALISKI & MARY L KALISKI JT TEN         BOX 1884                                                                                        DEMING           NM    88031
BERNARD S LIANG                                   90 SWEETWATER AVE                                                                               BEDFORD          MA    01730‐1106
BERNARD S LIVINGSTON                              2 HAMILTON AVE                                                                                  NEW ROCHELLE     NY    10801‐3516
BERNARD S MORGAN III & LARK A MORGAN JT TEN       4034 MENLO WAY                                                                                  ATLANTA          GA    30340‐4708

BERNARD S NOVOTNEY                                17 OVERLOOK DR                                                                                  FEEDING HILLS    MA    01030‐2007
BERNARD S ORSZEWSKI                               34 BARKALOW ST                                                                                  SO AMBOY         NJ    08879‐1331
BERNARD S PORTELL                                 14228 STATE RTE 21                                                                              DE SOTO          MO    63020
BERNARD S SHAPIRO & WILLIAM G SHAPIRO & DEAN E    3910 CODY RD                                                                                    SHERMAN OAKS     CA    91403‐5021
SHAPIRO JT TEN
BERNARD S SKOLARUS & SALLY L SKOLARUS JT TEN      175 ELOKWA WAY                                                                                  LOUDON           TN    37774‐3007

BERNARD S VASQUEZ                                  10023 W 55                                                                                     SHAWNEE          KS    66203‐1952
BERNARD S ZIENTARSKI & EARLENE L ZIENTARSKI JT TEN 1326 FALLA DR                                                                                  BETHEL PARK      PA    15102‐3604

BERNARD SAMUEL WHITE                              PO BOX 50731                                                                                    PHOENIX          AZ    85076‐0731
BERNARD SCHNEIDER                                 9517 FAREWELL RD                                                                                COLUMBIA         MD    21045‐4327
BERNARD SCHULMAN                                  160 TUTTLE ROAD                                                                                 BRIARCLIFF MANOR NY    10510‐2240

BERNARD SCHULTE                                   4813 BYRON DR                                                                                   VASSAR           MI    48768‐1553
BERNARD SCHUSTER                                  75 HILLSIDE DRIVE                                                                               WAYLAND          MA    01778‐3826
BERNARD SEDER CUST DREW L SEDER UGMA MA           1 COMMERCIAL WHARF #68B                                                                         NEWPORT          RI    02840‐3043
BERNARD SEDER CUST ERIC J SEDER UGMA MA           1 COMMERCIAL WHARF H68                                                                          NEWPORT          RI    02840‐3043
BERNARD SHEA & KATHLEEN SHEA JT TEN               6059 FIELDSTON RD                                                                               BRONX            NY    10471‐1803
BERNARD SHELDON ARMEL                             77 WEST WASHINGTON STREET SUITE 613                                                             CHICAGO          IL    60602
BERNARD SHENKMAN & ANA LACOMBE JT TEN             8521 SW 106 ST                                                                                  MIAMI            FL    33156‐3571
BERNARD SHIMSHAK                                  70 WEST 34TH ST                                                                                 BAYONNE          NJ    07002‐2818
BERNARD SHRAGO CUST DYLAN SHRAGO UTMA FL          20205 HIGHLAND LAKES BLVD                                                                       MIAMI            FL    33179‐2815

BERNARD SHROYER                                   1765 COMP'S RD                                                                                  HYNDMAN          PA    15545
BERNARD SIMS                                      229 SAWYER                                                                                      LA GRANGE        IL    60525‐2541
BERNARD SITNICK & JORDAN SITNICK JT TEN           40 OLD LANCASTER RD                                                                             MERION           PA    19066‐1752
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 380 of 850
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

BERNARD SLAUGHTER                                1409 HOME AVE                                                                                 DAYTON          OH    45407‐3204
BERNARD SMIAROWSKI & MRS JUNA SMIAROWSKI JT      794 WEBBER CT                                                                                 LINDEN          MI    48451‐8603
TEN
BERNARD SOBOL & EVELYN SOBOL JT TEN              5851 WILKINS AVE                                                                              PITTSBURGH      PA    15217‐1256
BERNARD SOLOMON                                  37 MCADAMS RD                        APT R                                                    FRAMINGHAM      MA    01701‐3862
BERNARD SPIEGEL                                  8025 CRANES POINTE WAY                                                                        WEST PALM BCH   FL    33412
BERNARD SPIETH & ROSEANN SPIETH JT TEN           189 S 200E                                                                                    ALBION          IN    46701‐9511
BERNARD STONE & MRS MARY STONE JT TEN            619 GOODHILL ROAD                                                                             KENTFIELD       CA    94904‐2642
BERNARD SULLIVAN & BRIDGET E SULLIVAN JT TEN     343 VINE ST                                                                                   ELIZABETH       NJ    07202‐1817

BERNARD SUMIEC                                   APT 4                                1433 W MEMORIAL DR                                       JANESVILLE      WI    53545‐1570
BERNARD SWEENEY                                  30 OCEAN BLVD                                                                                 ATLANTIC        NJ    07716‐1275
                                                                                                                                               HIGHLANDS
BERNARD T BOYLE                                  129 W END AVE                                                                                 NEWTON          NJ    07860‐1547
BERNARD T BREEN & NANCY L BREEN JT TEN           3381 TURNBURY DR                                                                              RICHFIELD       OH    44286‐9316
BERNARD T BUTRIM                                 7604 DUNMAN WAY                                                                               BALTIMORE       MD    21222‐5434
BERNARD T CHAMPAGNE                              1401 LORING ST                                                                                HAYSVILLE       KS    67060‐1918
BERNARD T CUNNINGHAM                             60 S MAPLE AVE                                                                                SPRINGFIELD     NJ    07081‐1906
BERNARD T CUNNINGHAM CUST PATRICK CORBETT        60 S MAPLE AVE                                                                                SPRINGFIELD     NJ    07081‐1906
UGMA NJ
BERNARD T DAILEY                                 8626 MCKENNA RD                                                                               HUBBARDSTON     MI    48845‐9522
BERNARD T DE BAETS                               7964 S WILDWOOD DRIVE                                                                         OAK CREEK       WI    53154‐7456
BERNARD T FERRIO & MARYLITA FERRIO JT TEN        255 MIDLAND RD                                                                                BAY CITY        MI    48706‐9717
BERNARD T FOX                                    919 BONNIE BLUE LN                                                                            COLUMBIA        TN    38401‐6703
BERNARD T HIBBARD JR                             3635 RIVERVIEW DR                                                                             HERSEY          MI    49639‐8587
BERNARD T HIBBARD JR & ANNA M HIBBARD JT TEN     3635 RIVERVIEW DR                                                                             HERSEY          MI    49639‐8587

BERNARD T KARTHEISER & GRACE ANN KARTHEISER JT   9801 S HOYNE AVE                                                                              CHICAGO         IL    60643‐1728
TEN
BERNARD T KRUSE CUST KENNETH KRUSE UGMA OH       1031 ORCHARD LN                                                                               CLEVELAND       OH    44147‐3613

BERNARD T KRUSE CUST STEVEN KRUSE UGMA OH        312 E 324TH ST                                                                                WILLOUGHBY HILLS OH   44095‐3243

BERNARD T LATZY                                  8069 OHARA DRIVE                                                                              DAVISON         MI    48423‐9531
BERNARD T LATZY & JUDITH C LATZY JT TEN          8069 O HARA DRIVE                                                                             DAVISON         MI    48423‐9531
BERNARD T MARSHALL & LOIS I MARSHALL JT TEN      3801 MARINER                                                                                  WATERFORD       MI    48329‐2274
BERNARD T NOVY                                   306 FLORENCE CT                                                                               BAY VILLAGE     OH    44140‐1213
BERNARD T NOVY CUST BERNARDETTE E NOVY UGMA      306 FLORENCE CT                                                                               BAY VILLAGE     OH    44140‐1213
OH
BERNARD T PHEILSHIFTER                           160 BRANDY BROOK LANE                                                                         ROCHESTER       NY    14612‐3064
BERNARD T SHERRY & NANCY C SHERRY JT TEN         50 MELROSE TERR                                                                               LINDEN          NJ    07036
BERNARD THOMAS                                   406 PERSHING DR                                                                               FARRELL         PA    16121‐1523
BERNARD TOWNSELL                                 1228 BIXBY RD                                                                                 KALAMAZOO       MI    49048‐1614
BERNARD V BOSSIO                                 1113 WINDSOR AVE                                                                              MORGANTOWN      WV    26505‐3327
BERNARD V DOZEK                                  6335 ORANGE COVE DRIVE                                                                        ORLANDO         FL    32819
BERNARD V QUINLAN CUST JESSICA A QUINLAN UGMA    4712 PIER DR                                                                                  TROY            MI    48098‐4179
MI
BERNARD V VASHER                                 19554 HARDY                                                                                   LIVONIA         MI    48152‐1587
BERNARD VANSON                                   30501 KEYSTONE ROAD                  MISSION BC                             V2V 4H9 CANADA
BERNARD W ARCHER CUST KELLI SUZANNA ARCHER       605 CASTLEBAR DRIVE                                                                           ROCHESTER       MI    48309‐2408
UGMA MI
BERNARD W BAIR                                   16431 W BOULDER VISTA DRIVE                                                                   SURPRISE        AZ    85374‐5113
BERNARD W BLAKE                                  3921 DEVONSHIRE                                                                               LANSING         MI    48910‐4723
BERNARD W BOSCHERT                               28 SOUTH ELM ST                                                                               HICKSVILLE      NY    11801‐4364
BERNARD W CLARK & PHYLLIS E CLARK JT TEN         11380 CAMBRIA RD                                                                              CAMDEN          MI    49232
BERNARD W HOLMBRAKER                             BOX 101                                                                                       WATERFORD       VA    20197‐0101
BERNARD W LAMBERG                                732 SUMMIT AVE                                                                                WESTFIELD       NJ    07090‐3232
BERNARD W LOOK & MARLENE E LOOK JT TEN           300 BRIDGE ST                                                                                 EAST TAWAS      MI    48730‐1203
BERNARD W LOWTHIAN                               1618 COUNTY ROAD 18                                                                           NEWVILLE        AL    36353‐8102
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 381 of 850
Name                                            Address1                              Address2                  Address3     Address4          City             State Zip

BERNARD W ORLOSKY                               4115 ASHVILLE FAIRFIELD RD                                                                     ASHVILLE         OH    43103‐9773
BERNARD W PARKER SR TR BERNARD W PARKER TRUST   2811 EAST PERKINS AVE                                                                          SANDUSKY         OH    44870
UA 3/10/97
BERNARD W REED CUST COREY REED UTMA OR          30500 SW KENSINGTON PL                                                                         WILSONVILLE      OR    97070‐7500
BERNARD W REED CUST MONICA REED UTMA OR         30500 SW KENSINGTON PL                                                                         WILSONVILLE      OR    97070‐7500
BERNARD W REED CUST UNDER THE LAWS OF OREGON    30500 SW KENSINGTON PL                                                                         WILSONVILLE      OR    97070‐7500
FOR COREY REED A MINOR
BERNARD W REED CUST UNDER THE LAWS OF OREGON    30500 SW KENSINGTON PL                                                                         WILSONVILLE      OR    97070‐7500
FOR MONICA REED A MINOR
BERNARD W RICHARDS                              2011 NORTH HARRISON STREET                                                                     WILMINGTON       DE    19802‐3834
BERNARD W SHAENFIELD                            11614 WHISPER VALLEY                                                                           SAN ANTONIO      TX    78230‐3738
BERNARD W THIELEN                               1110 WOLFF ST                                                                                  RACINE           WI    53402‐4168
BERNARD W THIEN                                 40827 CALIDO PLACE                                                                             FREMONT          CA    94539‐3633
BERNARD W THOMAS                                1045 GENESEE DRIVE                                                                             YOUNGSTOWN       OH    44511‐1406
BERNARD W WIELGOSZ                              184 OAKWOOD DRIVE                     DORCHESTER ON                          N0L 1G0 CANADA
BERNARD WARD                                    23970 GLENBROOK BLVD                                                                           EUCLID           OH    44117‐1967
BERNARD WAYNE CLARK & LINDA RUTH CLARK JT TEN   1138 AIRWAY                                                                                    WATERFORD        MI    48327

BERNARD WEICHSEL                                33 SHERMAN BRIDGE RD                                                                           WAYLAND CENTER   MA    01778‐1200

BERNARD WERBLOW CUST STEVEN MARK WERBLOW        319 SCENIC DR                                                                                  ASHLAND          OR    97520‐2623
UGMA NY
BERNARD WONG                                    19858 NOB HILL DR                                                                              MACOMB           MI    48044‐5923
BERNARD Y BIBB                                  13953 COUNTY RD 60                                                                             PISGAH           AL    35765‐9435
BERNARD ZAGATA                                  64400 CAMP GROUND RD                                                                           WASHINGTON       MI    48095‐2408
BERNARD ZAMBUTO                                 2829 SANTA PAULA COURT                                                                         SACRAMENTO       CA    95821‐6007
BERNARD ZINITZ                                  4727 QUEEN ANNE AVE                                                                            LORAIN           OH    44052‐5637
BERNARD ZUCKER & GILDA ZUCKER JT TEN            2764 BAYVIEW AVE                                                                               WANTAGH          NY    11793‐4312
BERNARDINE E EAVES TR BERNARDINE E EAVES        5295 ALDORAN                                                                                   SAGINAW          MI    48638‐5533
REVOCABLE TRUST UA 10/15/03
BERNARDINE M VERDUN                             2090 FIR DR                                                                                    THORNTON         CO    80229‐4611
BERNARDINE YOSCHAK                              29 CHARLES ST                                                                                  METUCHEN         NJ    08840‐2701
BERNARDINO J SISTA                              1695 HENDERSON WAY                                                                             LAWRENCEVILLE    GA    30043‐6654
BERNARDO A SORIANO TOD BERNARDO SORIANO JR      917 KEOLU DRIVE                                                                                KAILUA           HI    96734‐3843
SUBJECT TO STA RULES
BERNARDO CRESPO JR                              480 COVENT AVENUE                     APT 2                                                    NEW YORK         NY    10051
BERNARDO ECHEVERRI                              5462 ADA SE DR                                                                                 ADA              MI    49301‐7822
BERNARDO NAVARRO                                27 NEPERAN ROAD                                                                                TARRYTOWN        NY    10591‐3443
BERNARDO R ESCAMILLA                            14421 CORUNNA RD                                                                               CHESANING        MI    48616‐9495
BERNARDO SALAZAR                                412 W OLD US HIGHWAY 80               APT B                                                    WHITE OAK        TX    75693‐2038
BERNARDUS J KOUW                                6507 RIVERTON AVE                                                                              N HOLLYWOOD      CA    91606‐2737
BERNARDUS M KORTEKAAS                           R R #1                                ORONO ON                               L0B 1M0 CANADA
BERNARR PAUL BALDWIN                            2423 WILDWOOD CIRCLE                                                                           GRAND BLANC      MI    48439‐4346
BERND CUYPERS                                   HEHLER 232                            4056 SCHWALMTAL 1                      GERMANY
BERND HOMANN & ELISABETH J HOMANN JT TEN        1435 WATER SHINE WAY                                                                           SNELLVILLE       GA    30078‐7385
BERND HOMBORG                                   DRINGENBERGER STR 89                  33014 BAD DRIBURG                      GERMANY
BERND KESSNER                                   AUF DER SCHLOSSWEIDE 47               55271 STADECKEN‐ELSHEIM                GERMANY
BERND KRUKENBERG                                HINTERSTR 15                          DUDERSTADT                             37115 GERMANY
BERND LIENHARD                                  FUELLER STRASSE 26A                   OBERURSEL                              61440 GERMANY
BERND R KRONBERGER                              15665 N W TELSHIRE LANE                                                                        BEAVERTON        OR    97006‐5386
BERND SCHRECKENBERG                             DUEPPELSTR 4                          D‐45711 DATTELN                        GERMANY
BERND W FRISTER                                 4194 ORLANDO ROAD                                                                              CANFIELD         OH    44406‐9358
BERND W SANDT                                   900 DEERFIELD CT                                                                               MIDLAND          MI    48640‐2709
BERND W SANDT & NANCY T SANDT JT TEN            900 DEERFIELD CT                                                                               MIDLAND          MI    48640‐2709
BERNDT D WIESENHUETTER                          GOLDBACHER STR 56                     D 88662 UEBERLINGEN                    GERMANY
BERNEARD MCADAMS                                2050 WINANS                                                                                    FLINT            MI    48503‐4218
BERNEASE MOORE BUTTS                            PO BOX 710                                                                                     COCHRAN          GA    31014‐0710
BERNEDA G WEDDINGTON TR BERNEDA G               2040 CRYSTALWOOD TRAIL                                                                         FLUSHING         MI    48433‐3512
WEDDINGTON TRUST UA 06/07/99
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 382 of 850
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

BERNEDA G WEDDINTON TR BERNEDA G WEDDINGTON 2040 CRYSTALWOOD TR                                                                                    FLUSHING         MI    48433‐3512
TRUST UA 6/7/99
BERNEETA PEDLOW                               745 TOURAINE AVE                                                                                     EAST LANSING     MI    48823‐3042
BERNEICE L DAYTON & DONNA JEAN GIBBONS JT TEN 12170 W GREENFIELD RD                                                                                LANSING          MI    48917‐9708

BERNEICE M CRAWFORD                               3721 COLLEGE BLUFF                                                                               OLIVE BRANCH     MS    38654‐5818
BERNELL MC GLORY                                  110 N HILLSIDE APT 116                                                                           MARKSVILLE       LA    71351‐2303
BERNELLO B LAKE                                   921 N SHORE DR                                                                                   SPRINGPORT       MI    49284‐9414
BERNET S SWANSON TR BERNET S SWANSON TRUST UA     1137 WESLEY AVENUE                                                                               OAK PARK         IL    60314
11/11/98
BERNETTA B HARDY                                  7328 N IRVINGTON AVE                                                                             INDIANAPOLIS     IN    46250‐2681
BERNETTA L HILL                                   1457 N 18TH                                                                                      MILWAUKEE        WI    53205
BERNETTA LEVI DAVIS                               3730 BURTON PL                                                                                   ANDERSON         IN    46013‐5248
BERNEY A BRZOZOWSKI & EVELYN BRZOZOWSKI           736 STATE HWY 111                                                                                YOAKUM           TX    77995‐6459
COMMUNITY PROPERTY
BERNEY G MOORE                                    280 N MAIN ST                                                                                    SOUTH LEBANON    OH    45065‐1229
BERNHARD A BRAKKE & NORMA A BRAKKE JT TEN         2468 MARY BRIGGS COURT                                                                           DORAVILLE        GA    30360‐1656
BERNHARD ECKERT                                   157‐12 WILLETS POINT BLVD                                                                        WHITESTONE       NY    11357‐3901
BERNHARD ECKERT & MRS VICTORIA ECKERT JT TEN      157‐12 WILLETS POINT BLVD                                                                        WHITESTONE       NY    11357‐3901

BERNHARD G ULFERS & KAY S ULFERS JT TEN           3734 E COUNTY RD 500 S                                                                           LOGANSPORT       IN    46947
BERNHARD J KAMMANN                                79‐75 77TH AVE                                                                                   GLENDALE         NY    11385‐7522
BERNHARD ROEHL JR                                 1120 BOYNTON COURT                                                                               JANESVILLE       WI    53545‐1927
BERNHARD ROTTGES                                  CYRIAKUSSTR 17                          4040 NEUSS                             GERMANY
BERNHARD T BROWN                                  4213 TWILIGHT TRL                                                                                PLANO            TX    75093‐3838
BERNHILT S MORRIS                                 268 HILL AND DALE LN                                                                             BERRYVILLE       VA    22611‐4034
BERNICA HANCOCK                                   902 CHIMNEY HILL PARKWAY                                                                         VIRGINIA BEACH   VA    23462‐6938
BERNICE A BEGLEY                                  3735 SOURWOOD TRAIL N W                                                                          CLEVELAND        TN    37312‐2034
BERNICE A BUSUTTIL                                756 PINE SHORES CIR                                                                              NEW SMYRNA       FL    32168
BERNICE A COUTON                                  2673 SOUTH PRESTON STREET #304                                                                   SALT LAKE CITY   UT    84106‐4189
BERNICE A EVARTS                                  121 PAYNE AVENUE                                                                                 N TONAWANDA      NY    14120‐5409
BERNICE A FALENSKI & JOAN F TRAFFORD JT TEN       98 WEST WASHINGTON ST                                                                            FORESTVILLE      CT    06010‐5444
BERNICE A FEDEWA                                  8390 AIRPORT RD                                                                                  DEWITT           MI    48820‐9103
BERNICE A FEDEWA & STANLEY A FEDEWA JT TEN        8390 AIRPORT RD                                                                                  DE WITT          MI    48820‐9103
BERNICE A FORTINI & ROBERT R FORTINI JT TEN       1277 EAST THACKER STREET                UNIT 402                                                 DES PLAINES      IL    60016‐8616
BERNICE A HENRY                                   37 BORDER ROCK RD                                                                                LEVITTOWN        PA    19057‐3003
BERNICE A LEE                                     1029 N W 2ND                                                                                     MOORE            OK    73160‐2159
BERNICE A MCCROSSEN                               56 WORRELL DRIVE                                                                                 SPRINGFIELD      PA    19064‐3325
BERNICE A PARSONS & GORDON B PARSONS JT TEN       13965 SEMINOLE RD                                                                                APPLE VALLEY     CA    92307‐7407

BERNICE A SYRETT & CHERYL L SYRETT & STEVEN F     5295 NORTH SHORE DRIVE                                                                           DULUTH           MN    55804‐2922
SYRETT JT TEN
BERNICE A WILLIAMS & HAROLD L WILLIAMS JT TEN     521 GARNETT CIRCEL                                                                               WHITMORE LAKE    MI    48189‐8280

BERNICE A WOODFORK CUST ALAM JAVIAR           3803 VINEWOOD                                                                                        DETROIT          MI    48208‐2318
MUHADDATH UGMA MI
BERNICE A WOODFORK CUST BENNETT LEWIS TAYLOR 15843 ADDSION STREET                                                                                  SOUTHFIELD       MI    48075‐3053
11 UGMA MI
BERNICE A WOODFORK CUST CARLA SIMONE YERGER   15843 ADDISON ST                                                                                     SOUTHFIELD       MI    48075‐3053
UGMA MI
BERNICE A WOODFORK CUST DOUGLAS SAMUEL ONEIL 15843 ADDISON STREET                                                                                  SOUTHFIELD       MI    48075‐3053
ANDERSON UGMA MI
BERNICE A WOODFORK CUST LATOYA JANICE EDWARDS 15843 ADDISON STREET                                                                                 SOUTHFIELD       MI    48075‐3053
UGMA MI
BERNICE A WOODFORK CUST MAKEDA AMINA TAYLOR 15843 ADDISON STREET                                                                                   SOUTHFIELD       MI    48075‐3053
UGMA MI
BERNICE A WOODFORK CUST MEAGHAN ELIZA THOMAS 3803 VINEWOOD                                                                                         DETROIT          MI    48208‐2318
UGMA MI
BERNICE ABNER                                 1259 HIGHLAND AVE                                                                                    DAYTON           OH    45410‐2323
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                     Exhibit E
                                                                                         Part 1 of 8 Pg 383 of 850
Name                                                 Address1                             Address2                  Address3                     Address4              City            State Zip

BERNICE AIKMAN                                       7819 BOHMS RD                                                                                                     IMLEY CITY      MI    48444‐8947
BERNICE ALLEN                                        5950 EASTLAWN                                                                                                     DETROIT         MI    48213‐3614
BERNICE ANN SWAM & CHARLES JACOB SWAM JT TEN         2916 ROCKKDALE ROAD                                                                                               FREELAND        MD    21053‐9751

BERNICE B BASSIN                                     567A HERITAGE HILLS                                                                                               SOMERS          NY    10589
BERNICE B BUBON                                      935 MAPLE AVE                                                                                                     HOMEWOOD        IL    60430‐2050
BERNICE B GUZZARDO                                   28666 PALM BEACH DRIVE                                                                                            WARREN          MI    48093‐2628
BERNICE B NIEMIEC TR BERNICE B NIEMIEC TRUST UA      1908 KENSINGTON AVE                                                                                               WESTCHESTER     IL    60154‐4215
1/24/01
BERNICE B REMFREY                                    3 PETER SCOTT DR                                                                                                  CORNWALL        NY    12518‐1327
BERNICE B WOOD                                       2121 STONEHEDGE DR                                                                                                ONTARIO         NY    14519‐9718
BERNICE BOWMAN                                       APT 8N                               775 CONCOURSE VILLAGE E                                                      BRONX           NY    10451‐3945
BERNICE BRODOWAY                                     C/O MCNAUGHT PONTIAC BUICK           CADILLAC LTD              1717 WAVERLEY ST UNIT 1000   WINNIPEG MB R3T 6A9
                                                                                                                                                 CANADA
BERNICE BRUNGARD                                     225 BUTTERCUP DR                                                                                                  PAGOSA SPGS     CO    81147‐7799
BERNICE BURNARD                                      1564 WINDSOR ST                      CALGARY AB                                             T2N 3X3 CANADA
BERNICE BUTLER                                       PO BOX 251                                                                                                        BROOKSIDE       AL    35036‐0251
BERNICE C FRAZIER                                    3487 YARNEY                                                                                                       WATERFORD       MI    48329
BERNICE C HEADY                                      1435 HARTWIG                                                                                                      TROY            MI    48098‐1253
BERNICE C HILL TR BERNICE C HILL TRUST UA 04/07/95   PO BOX 92                                                                                                         DANA POINT      CA    92629

BERNICE C LINES & DENISE L LINES JT TEN              4385 SE 59TH ST                                                                                                   OCALA           FL    34480
BERNICE C MC ADAM                                    508 ELLEN ST                                                                                                      UNION           NJ    07083‐8835
BERNICE C MCADAM                                     508 ELLEN ST                                                                                                      UNION           NJ    07083‐8835
BERNICE C ROSS & RACHELLE M BOWMAN JT TEN            1298 LONG FORK RD                                                                                                 PIKETON         OH    45661‐9788
BERNICE C TUREK                                      20 ROBIN HILL ROAD                                                                                                MERIDEN         CT    06450‐2477
BERNICE C WATSON & SANDRALEA B WATSON JT TEN         PO BOX 102                                                                                                        KINGSTON        MI    48741‐0102

BERNICE C WEST & MARY JANE YOUNG JT TEN              621 N LIBERTY ST                                                                                                  GALION          OH    44833‐1852
BERNICE C WEST & PHYLLIS GOORLEY JT TEN              621 N LIBERTY ST                                                                                                  GALION          OH    44833‐1852
BERNICE CANEL                                        6101 SHERIDAN RD E                   UNIT 23B                                                                     CHICAGO         IL    60660‐6810
BERNICE CHRISTINE KOWALSKI                           5252 WERTH RD                                                                                                     ALPENA          MI    49707‐9598
BERNICE CLARA GUTKA                                  4007 DAWNSHIRE DR                                                                                                 PARMA           OH    44134‐3337
BERNICE COLEMAN                                      5418 WINTHROP BLVD                                                                                                FLINT           MI    48505‐5167
BERNICE CONLEY                                       18110 MAGNOLIA                                                                                                    SOUTH FIELD     MI    48075‐4108
BERNICE COSTELLO TR BERNICE COSTELLO TRUST UA        15325 APPLE ST                                                                                                    GRAND HAVEN     MI    49417‐9504
12/17/97
BERNICE D MOOD                                       16612 NORTH 1ST LANE                 SPACE 140                                                                    PHOENIX         AZ    85023‐7455
BERNICE D SMITH                                      218 MISSIONARY RIDGE                                                                                              LOGANVILLE      GA    30052‐4084
BERNICE DESOMER & KRISTIE M KLOEPPER JT TEN          1559 W PRATT                                                                                                      CHICAGO         IL    60626‐4228
BERNICE DIX                                          1600 S OUTER DR                                                                                                   SAGINAW         MI    48601‐6635
BERNICE DORRIS                                       4401 TRUMBULL DR                                                                                                  FLINT           MI    48504‐3757
BERNICE DUDKA                                        216 PENN PL                                                                                                       LINDEN          NJ    07036
BERNICE DUNCAN                                       329 W JACKSON ST                                                                                                  TIPTON          IN    46072‐2034
BERNICE E ANNIS                                      1403 KELLOGG ST                                                                                                   ALDEN           NY    14004‐1320
BERNICE E BOYD                                       16822 TAMMAMY MANOR RD                                                                                            WILLIAMSPORT    MD    21795‐1356
BERNICE E DOMINY                                     9047 LARAMIE ST                                                                                                   GRAND BLANC     MI    48439‐8324
BERNICE E HUDDLESTON                                 13297 ROSLING CT                                                                                                  MANASSAS        VA    20112‐3681
BERNICE E LANG TOD DENNIS M LANG SUZANNE K           16300 SILVER PKWY                    APT 209                                                                      FENTON          MI    48430‐4421
WILLIAMS
BERNICE E LARGE                                      935 N 66                                                                                                          LINCOLN         NE    68505‐2214
BERNICE E LEVALL TOD BRUCE M LEVALL                  1700 BOYD                                                                                                         DESOTO          MO    63020‐1071
BERNICE E PETTI                                      10447 TIFFANY DR                                                                                                  PAINESVILLE     OH    44077‐2223
BERNICE E POTTER & ROBERT M POTTER JT TEN            11 STEVENS ST                                                                                                     TURNERS FALLS   MA    01376‐1714
BERNICE E RUMIERZ                                    144 DEVONSHIRE                                                                                                    DEARBORN        MI    48124‐1025
BERNICE E RUMPF                                      165 BENJAMIN AVE                                                                                                  ROCHESTER       NY    14616
BERNICE E SIFLING                                    16113 MUNN RD                                                                                                     CLEVELAND       OH    44111‐2009
BERNICE ELEANOR MAHON                                12370 COUNTRY OAKS TRAIL                                                                                          CHARDON         OH    44024‐9096
BERNICE ERDELY                                       1618 HARBOR POINT                                                                                                 TINTON FALLS    NJ    07753
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 384 of 850
Name                                               Address1                               Address2                Address3       Address4          City               State Zip

BERNICE F FERENCY                                  170 PONDVIEW DRIVE                                                                              SOUTHINGTON        CT    06489‐3937
BERNICE F HUYSER TR UA 03/16/95 BERNICE F HUYSER   1321 WINDWARD CIR                                                                               NICEVILLE          FL    32578
REV TRUST
BERNICE F KOBUS & JOSEPH KOBUS JT TEN              2841 NORWICH ROAD                                                                               LANSING            MI    48911‐1572
BERNICE F LA COMBE & THOMAS LA COMBE JT TEN        321 JUNIPER CT                                                                                  DELAFIELD          WI    53018‐1100

BERNICE FIALKOWSKI & CONSTANCE LUCIDO JT TEN       14735 PATTERSON DR                                                                              SHELBY TWP         MI    48315‐4934

BERNICE FREDIANI TR FAMILY TRUST UA 01/01/04       17 MENDON LANE                                                                                  SCHAUMBURG         IL    60193‐1074

BERNICE G BLOUNT                                   14889 WARWICK                                                                                   DETROIT            MI    48223‐2248
BERNICE G JOHNS TR BERNICE G JOHNS REV LIVING      3631 E MCEWEN DR                                                                                FRANKLIN           TN    37067‐5796
TRUSTUA 02/09/96
BERNICE G LINDLEY                                  BOX 1384                                                                                        KILLEEN            TX    76540‐1384
BERNICE G MUNIE                                    9950 CLEARWATER DR                                                                              ST LOUIS           MO    63123‐4965
BERNICE GIRMA                                      312 HACKETT BLVD                                                                                ALBANY             NY    12208‐1961
BERNICE GISSEN CUST MALCOLM GISSEN UGMA NY         1845 LAGUNA STREET                                                                              SAN FRANCISCO      CA    94115

BERNICE GREEN                                      273 HIRLIMAN RD                                                                                 ENGLEWOOD          NJ    07631‐3821
BERNICE H RECORD                                   6179 EAST 175 SOUTH                                                                             WALTON             IN    46994‐9802
BERNICE HALL                                       548 COURT ST                                                                                    ELIZABETH          NJ    07206‐1353
BERNICE HERRMANN & CHARLES HERRMANN & HEIDI        319 ROWLAND AVE                                                                                 CARNEGIE           PA    15106‐4105
LYSAGHT TEN COM
BERNICE HUNLEY                                     3217 MALLERY ST                                                                                 FLINT              MI    48504‐2929
BERNICE HURLEY & AGNES GRICH JT TEN                33836 ORBAN DR                                                                                  STERLING HEIGHTS   MI    48310‐6353

BERNICE I LA VINESS                             2280 N GLENWOOD AVE                                                                                LIMA               OH    45805
BERNICE IONE GRAYDON                            C/O TERESA BAKER                          3821 CRAIG DR                                            FLINT              MI    48506‐2681
BERNICE J ANDERSON & CYNTHIA JEAN PATROSSO JT   30668 ROAN                                                                                         WARREN             MI    48093
TEN
BERNICE J ANDERSON & DONNA LYNN PATROSSO JT TEN C/O DONNA L FONTANA                       43613 BUCKTHORN COURT                                    STERLINH HEIGHTS   MI    48314‐1882

BERNICE J ANDERSON & SUSAN MARIE PATROSSO JT       31447 SHAW DRIVE                                                                                WARREN             MI    48093‐7935
TEN
BERNICE J BONIFACE                                 85 MOHAWK TRAIL                                                                                 WAYNE              NJ    07470‐5029
BERNICE J GERLT & CAROLE G MCCORMICK JT TEN        5555 SHERIDAN RD APT 704                                                                        CHICAO             IL    60640‐1646
BERNICE J MYERS                                    PO BOX 803                             409 MERRICK                                              ADRIAN             MI    49221
BERNICE J OLSZOWSKI                                348 MAPLE ST                                                                                    CROWN POINT        IN    46307‐2615
BERNICE J PARSONS                                  68622 CAMPGROUND                                                                                WASHINGTON         MI    48095‐1220
BERNICE J REYNOLDS                                 1201 ELM CREEK RD                                                                               NEW BRAUNFELS      TX    78132‐3056
BERNICE JAMPOLSKY CUST ELYSSA LEIGH JAMPOLSKY      APT 26R                                555 N AVE                                                FORT LEE           NJ    07024‐2422
UNDER NJ U‐T‐M‐A
BERNICE JOHNS & FERRELL DAMONE JOHNS JT TEN        24518 FM 1431 #BX‐2                                                                             MARBLE FALLS       TX    78654‐4096

BERNICE JOHNSON                                   5151 BELVIDERE                                                                                   DETROIT            MI    48213‐3071
BERNICE JONES                                     45 MULLIGAN                                                                                      MT CLEMENS         MI    48043‐2432
BERNICE K MARKEY                                  C/O PAULA K FIELD                       10 OUTLOOK HILL                                          SALEM              MA    01970‐1946
BERNICE K SUOMINEN & LUCILLE BELLE SUOMINEN TEN 224 PUMPING STATION ROAD                                                                           QUARRYVILLE        PA    17566
ENT
BERNICE KAHL                                      1509 S ORCHARD ST                                                                                JANESVILLE         WI    53546‐5466
BERNICE KALATA                                    11774 DOROTHY LN                                                                                 WARREN             MI    48093‐8917
BERNICE KOOPMAN & KATHY L SLENK & BARBARA J       5700 36TH ST                                                                                     HUDSONVILLE        MI    49426‐1042
MCCARTY JT TEN
BERNICE KOTKIN TR UA 01/01/92 KOTKIN FAMILY TRUST 10110 EMPYREAN WAY #204                                                                          LOS ANGELES        CA    90067‐3810

BERNICE KOTKIN TR UA 01/01/92 KOTKIN FAMILY TRUST 10110 EMPYREAN WAY                      APT 204                                                  LOS ANGELOS        CA    90067‐3810
SHARE C
BERNICE KWOLEK TR UA 07/17/91 THE BERNICE         32001 CHERRY HILL ROAD                  APT 916                                                  WESTLAND           MI    48186‐7901
KWOLEK TRUST
                                               09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 1 of 8 Pg 385 of 850
Name                                                 Address1                                Address2             Address3          Address4          City              State Zip

BERNICE L ANDREWS                                    1120 N EVERETT RD                                                                                HARRISVILLE       MI    48740‐9747
BERNICE L BAKER                                      3531 GINGERSNAP LN                                                                               LANSING           MI    48911‐1517
BERNICE L BENEDICT                                   2518 TULIP LANE                                                                                  CREST HILL        IL    60435‐8594
BERNICE L CAMPBELL                                   1295 WISSMAN RD                                                                                  GEORGETOWN        IN    47122‐9415
BERNICE LANG TR UA 01/22/93 BERNICE LANG             908 Q RHONDA SEVILLA                                                                             LAGUNA HILLS      CA    92653‐4759
REVOCABLE LIVING TRUST
BERNICE LEVALL TOD CHARLOTTE M SHAFFER               1700 BOYD ST                                                                                     DESOTO            MO    63020‐1071
BERNICE LEVALL TOD CHARLOTTE M SHAFFER               1700 BOYD ST                                                                                     DESOTO            MO    63020‐1071
BERNICE LEWIS                                        8300 NORTHLAWN                                                                                   DETROIT           MI    48204‐3287
BERNICE LYONS                                        17275 WESTLAND                                                                                   SOUTHFIELD        MI    48075‐4248
BERNICE M ALLMAN TR UA 11/21/06 BERNICE M            8913 S ALBANY                                                                                    EVERGREEN PK      IL    60805
ALLMAN LIVING TRUST
BERNICE M AVEL                                       928 NORTH HAMLIN RD                                                                              HILTON            NY    14468
BERNICE M BEHLER                                     62 THORPE DRIVE                                                                                  DAYTON            OH    45420‐1824
BERNICE M ELROD                                      18567 NUCLEAR PLANT RD                                                                           ATHENS            AL    35611‐5833
BERNICE M EWING                                      1869 GRASMERE RD                                                                                 E CLEVELAND       OH    44112‐3411
BERNICE M HEARD & BARBARA LIEBERMAN JT TEN           2498 SCHRAMM RD                                                                                  INDIAN RIVER      MI    49749‐9521
BERNICE M HEURING                                    216 LOGANBERRY CT                                                                                AUSTIN            TX    76745‐6557
BERNICE M HUBBARD                                    PO BOX 176                                                                                       ISOM              KY    41824‐0176
BERNICE M JOHNSTON                                   9015 ARGENTINE ROAD                                                                              LINDEN            MI    48451‐9619
BERNICE M KLEBBA                                     26566 ANCHORAGE CT                                                                               NOVI              MI    48374‐2125
BERNICE M KONFEDERAK & THEODORE J KONFEDERAK         9933 SOUTH COOK AVE                                                                              OAK LAWN          IL    60453‐3830
JR JT TEN
BERNICE M LENIC                                      3145 W MOUNT HOPE AVE                   # 19                                                     LANSING           MI    48911‐1665
BERNICE M MIDDLETON                                  569 CAMP RD                                                                                      SANFORD           MI    48657‐9432
BERNICE M PHILBIN & JANICE HALL JT TEN               2857 HELEN LN                                                                                    LANCASTER         CA    93536‐5873
BERNICE M ROBINSON                                   25630 SHIAWASSEE RD                     APT 156                                                  SOUTHFIELD        MI    48033‐3732
BERNICE M ROSZAK                                     4037 ALICE AVE                                                                                   BRUNSWICK         OH    44212‐2705
BERNICE M ROWDEN                                     110 HILLCROFT ST                        OSHAWA ON                              L1G 2L4 CANADA
BERNICE M SMITH TR SMITH FAM TRUST UA 09/02/99       213 EUCLID AVE                                                                                   LYNN              MA    01904‐2300

BERNICE M SOUZA                                      433 HOLLY LANE                                                                                   HAYWARD           CA    94541‐7424
BERNICE M STURGILL                                   203 MAPLE ST                                                                                     YPSILANTI         MI    48198‐3024
BERNICE MARY CLAPSADDLE                              45W052 RAMM RD                                                                                   MAPLE PARK        IL    60151‐8659
BERNICE MASTROIANNI                                  37843 COLEMAN AVE                                                                                DADE CITY         FL    33525
BERNICE MUELLER                                      9085 SNA JOSE                                                                                    REDFORD           MI    48329‐2386
BERNICE N BONAREK & MARTIN S BONAREK JT TEN          1020 PINEWOOD CT                                                                                 BRIGHTON          MI    48116‐2427

BERNICE NMI ONEY                                     7172 BIGGER LANE                                                                                 CENTERVILLE       OH    45459‐4908
BERNICE O CHIASSON & GERARD L CHIASSON & LEON A      60 OLD KEENE ROAD                                                                                ATHOL             MA    01331
LOZIER JT TEN
BERNICE O COLE                                       3535 BROOKSIDE PKWY SOUTH               DRIVE                                                    INDIANAPOLIS      IN    46201‐1470
BERNICE O COLE & KACIE LYNN COLE JT TEN              3535 BROOKSIDE PKWY SO DR                                                                        INDIANAPOLIS      IN    46201‐1470
BERNICE O CRUMBSY                                    PO BOX 7009                                                                                      MERIDIAN          MS    39304‐7009
BERNICE O WALKER                                     54 MC KAY AVE                                                                                    EAST ORANGE       NJ    07018‐1004
BERNICE O'NEAL                                       2205 PRESCOTT AVE                                                                                SAGINAW           MI    48601‐3516
BERNICE P BASEN & KELLY A GOMEZ JT TEN               2926 ALICE DR                                                                                    WEST PALM BEACH   FL    33461‐2100

BERNICE P ZALZAL TR THE DAVID J ZALZAL TR 09/27/78   4001 N MAIN ST APT 624                                                                           FALL RIVER        MA    02720‐1646

BERNICE PARCHMENT                                    2403 XANADU LN                                                                                   WALL TOWNSHIP     NJ    07719‐5506
BERNICE POTTS                                        713 PARK TRAIL LN                                                                                CLOVER            SC    29710‐6308
BERNICE PRUITT                                       9423 S PALMER RD                                                                                 HUGERT HEIGHT     OH    45424‐1623
BERNICE R AVEY                                       135 ASBURY ST                                                                                    PENDLETON         IN    46064‐8721
BERNICE R BROWN                                      10244 NARDIN                                                                                     DETROIT           MI    48204‐1402
BERNICE R CASSIDY                                    649 1/2 E DIVISION ST                                                                            SYRACUSE          NY    13208‐2739
BERNICE R DUDLEY TR BERNICE R DUDLEY TRUST UA        21 SOUTH TRAIL                                                                                   ST PETERS         MO    63376‐1742
10/26/95
BERNICE R ROMANIK                                    11718 N W 38TH PLACE                                                                             SUNRISE           FL    33323‐2689
                                               09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 386 of 850
Name                                                Address1                                Address2             Address3          Address4          City            State Zip

BERNICE R SLOAN                                     PO BOX 2005                                                                                      VENTNOR CITY    NJ    08406‐0005
BERNICE RAPPOPORT                                   117 WILSON ROAD                                                                                  TURNERSVILLE    NJ    08012‐1473
BERNICE ROBERTS                                     84 MAPLERIDGE AVE                                                                                BUFFALO         NY    14215‐3130
BERNICE S AVILA                                     5349 BLACKMER RD                                                                                 RAVENNA         MI    49451‐9417
BERNICE S BASHAM                                    660 GORDON DRIVE                                                                                 CHARLESTON      WV    25314‐1762
BERNICE S COUTURE                                   ROUTE 51 RD 1 BOX 80‐A                                                                           HANNACROIX      NY    12087
BERNICE S FINE TR UA 08/01/88 THE FINE 1988 TRUST   595 E CHANNEL RD                                                                                 SANTA MONICA    CA    90402‐1343

BERNICE S KELLY PERS REP EST ROBERT LEE KELLY     1084 WILLISTON RD                                                                                  AIKEN           SC    29803‐6982
BERNICE S KESSLER                                 33 HEMLOCK CIR                                                                                     CRANFORD        NJ    07016‐2045
BERNICE S MENAKO TR LOUIS & BERNICE S MENAKO      2843 S HERMAN ST                                                                                   MILWAUKEE       WI    53207‐2270
FAMILY TRUST UA 12/16/96
BERNICE S WALTER                                  3517 N STRINGTOWN RD                                                                               TROY            OH    45373‐9793
BERNICE SANDERS                                   4950 N 47TH ST                                                                                     MILWAUKEE       WI    53218‐4416
BERNICE SANDLER TOD JODY L SANDLER SUBJECT TO     3327 JOG PARK DR                                                                                   GREENACRES      FL    33467‐2076
STA TOD RULES
BERNICE SANDLER TOD NEIL S SANDLER SUBJECT TO STA 3327 JOG PARK DR                                                                                   LAKE WORTH      FL    33467‐2076
TOD RULES
BERNICE SCHMERBAUCH                               8351 ETON PL                                                                                       JENNINGS        MO    63136‐2531
BERNICE SELK                                      24712 SPRING LN                                                                                    HARRISON TWP    MI    48045‐2315
BERNICE SHANLEY                                   1675 37TH AVENUE                                                                                   SAN FRANCISCO   CA    94122‐3127
BERNICE SLAUGHTER                                 4917 NE 49TH DR                                                                                    TAMARAC         FL    33319‐3214
BERNICE SMITH                                     6809 GAMMER ST                                                                                     FORT WORTH      TX    76116‐7903
BERNICE SMITH LAND                                2002 HERITAGE PARK DR                     APT 21                                                   FORT WAYNE      IN    46805‐5810
BERNICE STEVENS                                   C/O BERNICE BROWN                         3642 BRITTON AVE                                         COLUMBUS        OH    43204‐1601
BERNICE T ANDERSON                                2601 COLUMBUS WAY S                                                                                ST PETERSBURG   FL    33712‐3906
BERNICE T GERACI                                  W 124 S 6850 SKYLARK LANE                                                                          MUSKEGO         WI    53150‐3546
BERNICE T JEFFERSON                               133 R L JEFFERSON RD                                                                               CANTON          MS    39046‐8836
BERNICE T MOLESKI & KAREN KINASZ JT TEN           6940 INKSTER RD #210                                                                               DEARBORN HGTS   MI    48127‐1868
BERNICE TARNOW CUST AARON LEWICKI UGMA MI         7517 HORGER STREET                                                                                 DEARBORN        MI    48126‐1403

BERNICE TARNOW CUST CHRISTOPHER LEWICKI UGMA        7517 HORGER STREET                                                                               DEARBORN        MI    48126‐1403
MI
BERNICE TARNOW CUST MICHAEL ANDREW PRINCE           7517 HORGER ST                                                                                   DEARBORN        MI    48126‐1403
UGMA TX
BERNICE TINGLER                                     431 BIRCH HILL DRIVE                                                                             MEDINA          OH    44256‐1410
BERNICE URTON                                       919 W 14TH                                                                                       PORTALES        NM    88130‐6739
BERNICE V PHILLIPS                                  1945 EVALINE                                                                                     HAMTRAMCK       MI    48212‐3209
BERNICE W ABSTON                                    1127 KENNEBEC RD                                                                                 GRAND BLANC     MI    48439
BERNICE WARD TOD BERNICE S MITCHELL                 PO BOX 754                                                                                       IDYLLWILD       CA    92549‐0754
BERNICE WILKINS                                     142 ALGER SE                                                                                     GRAND RAPIDS    MI    49507‐3407
BERNICE WRIGHT                                      20121 HUBBELL AVE                                                                                DETROIT         MI    48235‐1637
BERNICE Y OKAZAKI                                   15400 SE BEVINGTON                                                                               MILWAUKIE       OR    97267‐3351
BERNICE YORE                                        621 PINE ST                                                                                      GOODING         ID    83330‐1755
BERNIE D SEE & MRS ELIZABETH JEAN SEE JT TEN        PO BOX 6117                                                                                      PORTSMOUTH      VA    23703‐0117
BERNIE D WORRELL                                    8095 EAST 725 NORTH                                                                              BROWNSBURG      IN    46112
BERNIE E SIMMONS                                    HC 65 BOX 5                                                                                      PRESTON         MO    65732‐9401
BERNIE FRYE                                         3612 21ST                                                                                        WYANDOTTE       MI    48192‐6341
BERNIE H SANDERS                                    8155 DAVISON RD                                                                                  DAVISON         MI    48423‐2035
BERNIE L CLINE                                      3456 W CR 875 SOUTH                                                                              REELSVILLE      IN    46171‐9453
BERNIE L DONATHAN                                   PO BOX 2142                                                                                      PRESTON         KY    40366‐2142
BERNIE L HARRIS                                     465 TRUMAN RD                                                                                    FRANKLIN        TN    37064‐8322
BERNIE MELVIN CONANT & MRS GLENNIS MARTIN           16 VILLAGE DR                                                                                    TURNER          ME    04282‐3550
CONANT JT TEN
BERNIE P SAJDAK                                     C/O FRANCINE ALTIERI                    195 FALMOUTH RD      UNIT 14 C                           MASHPEE         MA    02649‐2686
BERNIE ROSE                                         10262 N UNION ROAD                                                                               HILLSBORO       OH    45133‐8632
BERNIE SHEPARD                                      7126 THORNCREST DR SE                                                                            GRAND RAPIDS    MI    49546‐7357
BERNIE W FRALEY                                     103 DAMRON AVENUE                                                                                BRANCHLAND      WV    25506‐9789
BERNIE WASHINGTON                                   2411 64TH AVE                                                                                    OAKLAND         CA    94605‐1944
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 387 of 850
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

BERNIECE BOLLER KEENE & BETTY LOU WEBER JT TEN   442 NORTH ADAMS                                                                                  MARION            IN    46952

BERNIECE F VAILLANCOURT & MARGARET DEREZINSKI JT 9802 CENTER LANE                                                                                 STANWOOD          MI    49346‐9612
TEN
BERNIECE L HUNT                                  6232 LAKEVIEW PARK DR                                                                            LINDEN            MI    48451‐9099
BERNIECE M BAKER                                 1603 CARTER'S CREEK DR                                                                           COLUMBIA          TN    38401‐1318
BERNIECE M BROWN                                 4131 FOREST TERRACE CT                                                                           ANDERSON          IN    46013‐5607
BERNIECE M MULCAHY & MARY S CLEVINGER JT TEN     4435 LAKEVIEW DR                                                                                 BEAVERTON         MI    48612‐8752

BERNIECE T MCQUARTER                             4978 EIGHT MILE RD                                                                               PINCONNING        MI    48650‐8924
BERNIS M CASSELL                                 2802 REDRIVER WESTGROVE RD                                                                       ARCANUM           OH    45304‐9637
BERNIS N TRAVIS CUST DAVID A TRAVIS UGMA MI      29670 PLEASANT TRL                                                                               SOUTHFIELD        MI    48076‐1827
BERNITA A BENWAY                                 1228 S GENESEE RD                                                                                BURTON            MI    48509‐1824
BERNITA COUGHLIN                                 309 WEST OLIVER ST                                                                               CORUNNA           MI    48817
BERNITA J STEGEWANS                              2548 EDEN                                                                                        WYOMING PARK      MI    49509‐6828
BERNITA JOHNSTON                                 5646 KNOX                                                                                        SHAWNEE MISSION   KS    66203‐2470

BERNITA K FRIERSON                               3919 ILLINOIS SW                                                                                 WYOMING           MI    49509‐3974
BERNITA M FISHER                                 PO BOX 3190                                                                                      SAINT CHARLES     IL    60174‐9096
BERNITA M MAYFIELD                               #1 LEE COURT                                                                                     ST CHARLES        MO    63301‐0566
BERNITA R SCHOENFELD & JOY S GOODFELLOW JT TEN   1756 JULHO ST                                                                                    SANDY             UT    84093‐6846

BERNITA R SCHOENFELD & ROBERT G SCHOENFELD JT    1756 JULHO ST                                                                                    SANDY             UT    84093‐6846
TEN
BERNITA S BAUM                                   6908 CRESTHILL RD                                                                                KNOXVILLE         TN    37919‐5906
BERNYLDA ANN REED                                2118 15TH ST                                                                                     SF                CA    94114‐1213
BEROTH G CLAYTON                                 10533 KESTREL ST                                                                                 PLANTATION        FL    33324‐2155
BERRY C PASSANO                                  PO BOX 27                                                                                        OXFORD            MD    21654‐0027
BERRY FLETCHER JR                                222 03 LUJON                                                                                     NORTHVILLE        MI    48167
BERRY G SWART CUST RONALD W SWART UGMA OH        1428 D'ANGELO DR                                                                                 N TONAWANDA       NY    14120

BERRY GIST JR                                1995 GROVE                                                                                           DETROIT           MI    48203‐2518
BERRY GORDY CUST RHONDA SUZANNE ROSS UGMA CT 1925 7TH AVE                                APT 3B                                                   NEW YORK          NY    10026‐2206

BERRY L BASILE                                   683 HANDWERG DR                                                                                  RIVER VALE        NJ    07675‐6410
BERRY L BEECHBOARD                               2352 E 500 N                                                                                     GREENFIELD        IN    46140‐8955
BERRY L BEEDLE & JOANN BEEDLE JT TEN             11250 SAINT AUGUSTINE RD STE 15                                                                  JACKSONVILLE      FL    32257‐1147
BERRY L HOLBROOK                                 4482 LAWRENCEVILLE RD                                                                            TUCKER            GA    30084‐3703
BERRY O ROBERTS                                  437 HYPATHIA AVENUE                                                                              DAYTON            OH    45404‐2340
BERRY O ROBERTS JR                               1571 ST RT 380                                                                                   WILMINGTON        OH    45177‐9171
BERRY R LAWSON                                   2289 WEEPING OAK DR                                                                              BRASELTON         GA    30517
BERRY SAMUEL JR                                  9375 E OUTER DRIVE                                                                               DETROIT           MI    48213‐1507
BERRY SLOCUM                                     RR 3 BOX 206                                                                                     MARTIN            GA    30557‐9591
BERRY TEMPLE METHODIST CHURCH                    73 TAFT AVENUE                                                                                   ASHEVILLE         NC    28803‐1750
BERRY THOMAS                                     617‐A THOMAS STREET                                                                              ORANGE            NJ    07050‐4216
BERRY V ABNEY                                    1822 EAST FIFTH STREET                                                                           DAYTON            OH    45403‐2308
BERRY WEBB JR                                    5588 VICTORY BLVD                                                                                MORROW            GA    30260‐3937
BERRYMAN P MINAH JR                              120 OAKRIDGE AVE                                                                                 NORTH ATTLEBORO   MA    02760‐4174

BERT A HANSON JR                                 11310 36TH ST SE                                                                                 LOWELL            MI    49331‐8935
BERT ALLEN III                                   2414 SEDGEWICK DR                                                                                VIRGINIA BEACH    VA    23454‐3463
BERT BENDER CUST JUSTIN MARRIE BENDER UGMA ID    BOX 3180                                                                                         KETCHUM           ID    83340‐3180

BERT BESS                                        C/O ROSA B SHEPPERSON                   3116 SECOND AVENUE                                       RICHMOND          VA    23222‐3304
BERT BLACK JR                                    2101 PLEASANT GROVE RD                                                                           LANSING           MI    48910‐2438
BERT BURKEL                                      1748 SUNRISE DR                                                                                  CARO              MI    48723‐9318
BERT C VAN GIESEN                                1600 MC MANUS                                                                                    TROY              MI    48084‐1551
BERT CEPHUS JR                                   543 LENOIR STREET                                                                                RIVER ROUGE       MI    48218‐1167
BERT D KING                                      1520 S JAMES ROAD                                                                                COLUMBUS          OH    43227‐3404
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 388 of 850
Name                                               Address1                               Address2                 Address3      Address4          City             State Zip

BERT E ANDERSON                                   1150 WOLF RUN DRIVE                                                                              LANSING          MI    48917‐9780
BERT E CUNNINGHAM                                 655 GLENWOOD                                                                                     OWOSSO           MI    48867‐4615
BERT E CUNNINGHAM & MAXINE A CUNNINGHAM JT        655 GLENWOOD                                                                                     OWOSSO           MI    48867‐4615
TEN
BERT E FORBES                                     C/O VERONICA CIARI SEILLER LLP          PO BOX 8038                                              REDWOOD CITY     CA    94063
BERT E GOTTS JR & BERNADINE W GOTTS JT TEN        MC BRITE MANOR                          2825 WIENEKE RD APT 95                                   SAGINAW          MI    48603‐2609
BERT E PRITT                                      2227 TUNNEL HILL RD                                                                              MILLBORO         VA    24460‐3039
BERT E STEHLE                                     10049 CLIO RD                                                                                    CLIO             MI    48420‐1942
BERT EVANS & MRS MARIE EVANS JT TEN               801 W LOCUST ST                                                                                  SCRANTON         PA    18504‐3532
BERT F SARVER                                     3763 WESTMONT DR                        APT 1                                                    CINCINNATI       OH    45205‐1262
BERT G COLLINI                                    1541 MISSOURI AVE                                                                                BRIDGEVILLE      PA    15017‐2645
BERT G SMIDDY                                     1530 WESTGATE DR                                                                                 DEFIANCE         OH    43512‐3710
BERT H CARLSON TR UA 01/07/96 BERT CARLSON LIVING PO BOX 819                                                                                       SCOTTSVILLE      VA    24590‐0819
TRUST
BERT H HIGLEY                                     1245 FARNSWORTH ROAD                                                                             LAPEER           MI    48446‐1527
BERT H VANGIESEN                                  1600 MCMANUS                                                                                     TROY             MI    48084‐1551
BERT HERBERT JR & BEATRICE J HERBERT JT TEN       7421 SW 112TH PL                                                                                 OCALA            FL    34476‐8705
BERT HOSKINS                                      4208 23 MILE RD                                                                                  SHELBY TWP       MI    48316‐4010
BERT J BERRY                                      4424 DUFFIELD RD                                                                                 LENNON           MI    48449‐9419
BERT J CROSS                                      253 NEWELL                                                                                       TONAWANDA        NY    14150‐6209
BERT J THIBODAUX                                  3632 WEST LARK                                                                                   ORANGE           TX    77630‐2924
BERT J WALDMAN                                    7480 BEECHNUT #219                                                                               HOUSTON          TX    77074‐4505
BERT JAMES DUCKWALL III                           10908 S TRIPP AVE                                                                                OAK LAWN         IL    60453‐5755
BERT KIDNER                                       2325 W 120TH                                                                                     GRANT            MI    49327‐9621
BERT L CARLSON                                    BOX #246                                                                                         WALKER           MN    56484‐0246
BERT L CLIBON                                     7525 GILLEN ROAD                                                                                 COLORADO SPRINGS CO    80919‐2601

BERT L ERICKSON & LORIS JEAN ERICKSON JT TEN      806 ZINNIA CIRCLE                                                                                HENDERSON        NV    89015‐2733
BERT L HAMMOCK JR                                 3106 WINDRUSH LN                                                                                 ALPHARETTA       GA    30009‐2399
BERT L LAKES                                      151 WALNUT AVE                                                                                   CARLISLE         OH    45005‐5814
BERT L MORGAN                                     1956 PINEWOOD DR                                                                                 BRUNSWICK        OH    44212‐4058
BERT L STUART & ELEANOR HENDERSON JT TEN          4459 FIRST ST                                                                                    PORT HOPE        MI    48468‐0107
BERT L STUART & ROBERT L STUART JT TEN            4459 FIRST ST                                                                                    PORT HOPE        MI    48468‐0107
BERT LANE TR RICHARD LANE U/DECL OF TRUST 2/28/56 2011 N COLLINS 601                                                                               RICHARDSON       TX    75080‐2645

BERT LEWIS                                         447 B J BLVD                                                                                    BEDFORD          IN    47421‐9142
BERT M CHARTER                                     4507 THOMAS RD                                                                                  METAMORA         MI    48455‐9220
BERT M HOLLENBECK                                  440 PRIMROSE LANE                                                                               FLUSHING         MI    48433‐2610
BERT MERTES & DOLORES F MERTES JT TEN              37486 N TERRACE LANE                                                                            SPRING GROVE     IL    60081‐9648
BERT N BROOKENS                                    306 GOEDE RD                                                                                    EDGERTON         WI    53534‐9367
BERT N POWELL & CAROLYN S POWELL JT TEN            RR 1 BOX 135                                                                                    BROWNSTOWN       IL    62418‐9735
BERT NOACK & PATRICIA A NOACK TR B P NOACK REV     4750 THISTLE MILL CRT                                                                           KALAMAZOO        MI    49006
LIVING TRUST UA 2/14/01
BERT O'NEAL HARDY                                  120 OLD VANCEBORO RD                                                                            NEW BERN         NC    28560‐9226
BERT R ARDOLINE & MRS KATHERINE ARDOLINE JT TEN    192 BROAD ST                                                                                    PITTSTON         PA    18640‐2506

BERT R FERRIS                                      130 FRIAR RD                                                                                    BLOOMSBURG       PA    17815‐3054
BERT R WANLASS & BARBARA P WANLASS JT TEN          35 WEST VALLEY VIEW WY                                                                          WOODLAND HILLS   UT    84653‐2029

BERT RAINES TAUNTON                                331 CLAIRMONT DRIVE                                                                             WARNER ROBINS    GA    31088‐5365
BERT S HOBSON & JOYCE D HOBSON JT TEN              12273 NORTH OAKS DR                                                                             ASHLAND          VA    23005‐7839
BERT SANTUCCI                                      15 CARLISLE PL                                                                                  NEWTON           MA    02459‐2310
BERT SOLOWAY                                       5231 EULACE RD                                                                                  JACKSONVILLE     FL    32210‐7926
BERT STOWERS CUST DANIEL STOWERS UTMA CA           4461 65TH ST                                                                                    SACRAMENTO       CA    95820‐3323
BERT STUART & FRANCES STUART JT TEN                4459 FIRST ST                                                                                   PORT HOPE        MI    48468‐0107
BERT T SHAFFNER & PATRICIA J SHAFFNER JT TEN       PO BOX 232                                                                                      OWINGS           MD    20736‐0232
BERT T SJOSTROM                                    4471 S GRIFFIN AVE                                                                              MILWAUKEE        WI    53207‐5027
BERT U SHUBERT                                     104 MARLBORO PL                                                                                 DAYTON           OH    45420‐2423
BERT VAN GIESEN & MARJORIE VAN GIESEN JT TEN       1600 MC MANUS                                                                                   TROY             MI    48084‐1551
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                   Part 1 of 8 Pg 389 of 850
Name                                           Address1                             Address2                      Address3   Address4          City               State Zip

BERT VAN ZYL                                   6668 S MARION ST                                                                                LITTLETON          CO    80121‐2555
BERT VOGEL                                     300 E 74TH ST                                                                                   NEW YORK           NY    10021‐3712
BERT W CARRIER SR                              6540 N 37 RD                                                                                    MANTON             MI    49663‐9735
BERT W LIEF                                    1530 PALISADE AVE                    APT 4D                                                     FORT LEE           NJ    07024‐5400
BERT W SMITH                                   307 78TH AVE                                                                                    ST PETE BEACH      FL    33706‐1709
BERT W WALSH                                   210 JEWEL ST NW                                                                                 NEW ELLENTON       SC    29809‐1143
BERT W WEBSTER                                 9048 GATESTONE RD                                                                               N RIDGEVILLE       OH    44039
BERT WASSERMAN                                 PO BOX 1019                                                                                     MANHASSET          NY    11030‐8019
BERTA ARIZOLA                                  4570 BEKENSHIRE NW                                                                              COMSTOCK PARK      MI    49321‐9332
BERTA EASTMAN TR BERTA EASTMAN REVOCABLE       1150 KELLOGG ROAD                                                                               HOWELL             MI    48843‐8041
LIVING TRUST UA 04/14/94
BERTA L HACKNEY                                210 W 7TH ST                                                                                    HUBBARD            TX    76648
BERTA L PETERSON                               4613 MERRYDALE AVE                                                                              DAYTON             OH    45431‐1821
BERTA M OWEN                                   2052 BERNICE AVE                                                                                FLINT              MI    48532‐3911
BERTA S HAMILLA                                1416 DITCH RD                                                                                   NEW LOTHROP        MI    48460‐9625
BERTA S VORE                                   3334 CORDES DR                                                                                  SAINT LOUIS        MO    63125‐4430
BERTE A MUSLOW                                 4747 DIXIE GARDEN                                                                               SHREVEPORT         LA    71105
BERTE ALCUS MUSLOW                             4747 DIXIE GARDEN                                                                               SHREVEPORT         LA    71105
BERTEL BLUMBERG & ABRAHAM BLUMBERG JT TEN      98 COUNTISBURY AVE                                                                              VALLEY STREAM      NY    11580‐1748

BERTH A NORBACK                                817 AMITY RD                                                                                    BETHANY            CT    06524‐3062
BERTHA A CAIL                                  15 BELMONT ST                                                                                   READING            MA    01867‐2626
BERTHA A GONZALES                              812 WESTMORELAND AVE                                                                            LANSING            MI    48915‐2025
BERTHA A GRIMM TR BERTHA A GRIMM TRUST UA      2408 16TH ST                                                                                    CUYHOGA FALLS      OH    44223‐2046
04/12/96
BERTHA A KINGSLEY                              46 CESSNA STREET                                                                                SAYRE              PA    18840
BERTHA A NYE & GARY A NYE JT TEN               4165 WEISS STREET                                                                               SAGINAW            MI    48603‐4145
BERTHA A PEAK                                  841 BEECH ST                                                                                    LAKE ODESSA        MI    48849‐9431
BERTHA A THOMPSON TOD JEFFREY G THOMPSON       PO BOX 44                            14211 MAIN                                                 RODNEY             MI    49342
SUBJECT TO STA TOD RULES
BERTHA ANN WALL                                1976 SANTA CROCE CT                                                                             LIVERMORE          CA    94550
BERTHA B ANTHONY                               4728 FOX SEDGE LN                                                                               DENTON             TX    76208‐6836
BERTHA B ANTOL                                 2770 DOUGLAS LN                                                                                 THOMPSONS STN      TN    37179‐5001
BERTHA B BARBER                                PO BOX 3072                                                                                     WARREN             OH    44485‐0072
BERTHA B CHILDRESS                             8215 DIANE LN                                                                                   RICHMOND           VA    23227‐1634
BERTHA B ORLANG                                16191 GRANDMONT CT APT 504                                                                      ROSEVILLE          MI    48066‐3294
BERTHA BAS                                     721 WALTHAM                                                                                     EL PASO            TX    79922‐2128
BERTHA BEAMAN                                  1131 HATHAWAY DRIVE                                                                             INDIANAPOLIS       IN    46229‐2321
BERTHA BEASLEY                                 4308 VANDERFORD DRIVE                                                                           DALLAS             TX    75216
BERTHA BECTON                                  4635 DRUM POINT LANE                                                                            CHESAPEAKE         VA    23321‐6143
BERTHA BROWN                                   10916 HIGHPOINT DRIVE                                                                           PITTSBURGH         PA    15235
BERTHA C ANDERKIN                              2911 CARDINAL LANDING DRIVE                                                                     MONROE             NC    28110‐8810
BERTHA C CUNNINGHAM                            700 E COURT ST                       APT 209                                                    FLINT              MI    48503‐6222
BERTHA CARNES                                  C/O GERALDINE DICKENS                12111 SUNSET DRIVE                                         GARFIELD HEIGHTS   OH    44125‐4947

BERTHA CLASEN                                  ATTN MARK ARROLL                     125 10 QUEENS BLVD APT 2307                                KEW GARDENS        NY    11415‐1512
BERTHA E BEASLEY                               6511 INNSDALE PL                                                                                DAYTON             OH    45424‐3538
BERTHA E JACOBS & MARK M JACOBS JT TEN         2041 E MIDLAND ROAD                                                                             BAY CITY           MI    48706‐9455
BERTHA E JOHNSON EX EST EDWARD M ERNEST        PO BOX 423                                                                                      LANDIS             NC    28088
BERTHA E MALONE                                1810 BRENTWOOD DR                                                                               ANDERSON           IN    46011‐4039
BERTHA E PACIOREK                              13287 MCCUMSEY RD                                                                               CLIO               MI    48420‐7914
BERTHA E SIMON                                 6134 ROLLING VIEW DRIVE                                                                         SYKESVILLE         MD    21784‐6526
BERTHA E THURKETTLE                            336 E EMMONS                                                                                    CALEDONIA          MI    49316‐9401
BERTHA F CEPPA                                 271 FARMINGTON AVE                   STE 1                                                      BRISTOL            CT    06010‐3962
BERTHA F FAIR                                  380 HULSE ST                                                                                    SABINA             OH    45169‐1035
BERTHA F KINSKI & KAREN M DEFLUITER JT TEN     3394 JUNE ST                                                                                    SAN BERNARDINO     CA    92407‐6208
BERTHA F TINNEY & NANCY L TIERNEY JT TEN       3310 STAUNTON AVE SE                                                                            CHARLESTON         WV    25304‐1325
BERTHA G HASTING                               1835 E CRABTREE RD                                                                              HIXSON             TN    37343‐1545
BERTHA GOURDINE                                305 FOX HOUND CT                                                                                MIDDLETOWN         DE    19709‐8611
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 390 of 850
Name                                             Address1                             Address2             Address3          Address4          City             State Zip

BERTHA GRAHAM LEON TR JS & BERTHA GRAHAM LEON 210 W 7TH ST                                                                                     HUBBARD          TX    76648
FAM TRUST UA 07/09/91
BERTHA GUFFIN                                 226 E THIRD ST                                                                                   RUSHVILLE        IN    46173‐1842
BERTHA H OLENIK                               3644 WOODBRIDGE AVE                                                                              CLEVELAND        OH    44109‐2156
BERTHA H WILSON & MARLIN N WILSON JT TEN      8053 BLACKMAR RD                                                                                 BIRCH RUN        MI    48415‐9006
BERTHA HARRISON                               6614 TRINITY DR                                                                                  KNOXVILLE        TN    37918‐6251
BERTHA HERZOG                                 C/O IRA HERZOG                          431 HARMONY WAY                                          MONROE TWNSHP    NJ    08831‐3774

BERTHA HICKS                                     201 W LAWNDALE AVE                                                                            LEBANON          OH    45036‐1331
BERTHA HOESLY                                    2306 10TH AVE                                                                                 CHETEK           WI    54728‐9772
BERTHA I BOYER                                   15262 HOYLE ROAD                                                                              BERLIN CENTER    OH    44401
BERTHA ISABELLE TORREY                           14144 EASTVIEW                                                                                FENTON           MI    48430‐1304
BERTHA IVY                                       35 ASCOTT LANE                                                                                WEBSTER          NY    14580‐3805
BERTHA J ASHLEY                                  1459 PALMWOOD DRIVE                                                                           MELBOURNE        FL    32935‐5443
BERTHA J BRANSON                                 1972 ROCK SPRINGS ROAD                                                                        COLUMBIA         TN    38401‐7420
BERTHA J DOSS TR BERTHA J DOSS DECLARATION TRUST 2108 CARRARA CT                                                                               VIRGINIA BEACH   VA    23456‐7729
UA 08/26/05
BERTHA J FERGUSON                                2 QUAILS RUN BLVD UNIT 6                                                                      ENGLEWOOD        FL    34223
BERTHA J LINDSAY                                 118 DOGWOOD LANE                                                                              NEWBURGH         NY    12550‐2016
BERTHA J MULVEY                                  63 ROSE LN                                                                                    LANSDOWNE        PA    19050‐1818
BERTHA J UKHUN                                   2918 GLYNN COURT                                                                              DETROIT          MI    48206‐1620
BERTHA JAMES                                     3308 TIMBERFIELD LANE                                                                         BALTIMORE        MD    21208‐4424
BERTHA JOHNSON                                   236 MUNSEL CREEK LOOP                                                                         FLORENCE         OR    97439‐9280
BERTHA JONES                                     17398 GALLAGHER                                                                               DETROIT          MI    48212‐1028
BERTHA JOYCE JOHNS                               226 N JANE STREET                                                                             MIDDLETON        MI    48856
BERTHA K MC ELHINNY                              3529 VALEWOOD DRIVE                                                                           MUNHALL          PA    15120‐3533
BERTHA KIRBY GDN FOR DEBORAH BROOKE KIRBY        411 CRESSWELL RD                                                                              BALTIMORE        MD    21225‐3913
BERTHA L BELAND & SCOTT T BELAND JT TEN          8216 W CRENSHAW ST                                                                            TAMPA            FL    33615‐2119
BERTHA L BERRY                                   81 CHAUNCEY AVE                                                                               NEW ROCHELLE     NY    10801‐2514
BERTHA L BIDDLES                                 14459 RUTHERFORD                                                                              DETROIT          MI    48227‐1872
BERTHA L BULLUCK                                 34 MONTCLAIR LANE                                                                             WILLINGBORO      NJ    08046‐2802
BERTHA L CAMPBELL                                1710 HENDRICKS                                                                                ANDERSON         IN    46016‐4029
BERTHA L DAMMEYER                                743 SPARROW AVE                                                                               INDIANAPOLIS     IN    46227‐1357
BERTHA L FREEMAN                                 20520 ASBURY PK                                                                               DETROIT          MI    48235‐2106
BERTHA L HUMPHREY ADM UW WILLIE GOFORTH JR       46 GAIL AVE                                                                                   BUFFALO          NY    14215‐2902

BERTHA L LAMSON                                  9835 TOWNSQUARE BLVD                                                                          FENTON           MI    48430‐8219
BERTHA L MARACLE                                 117 FAIRWAY DR                                                                                NEW HARTFORD     NY    13413‐1035
BERTHA L MORRIS                                  6423 WALTON ST                                                                                DETROIT          MI    48210‐3406
BERTHA L OSIUS & JUDITH ANN KIRK JT TEN          36750 JOY ROAD                                                                                LIVONIA          MI    48150‐3566
BERTHA L SANDERS                                 1313 BERTEN STREET                                                                            LANSING          MI    48910‐1217
BERTHA L STANIULIS                               8025 DIVISION AVE                                                                             COMSTOCK PARK    MI    49321‐9520
BERTHA L THOMAS                                  865 38TH STREET                                                                               BOULDER          CO    80303‐2508
BERTHA L VANHECKER                               2122 CEDAR PT                                                                                 JANESVILLE       WI    53546‐5333
BERTHA L WHITE                                   18091 CHERRYLAWN                                                                              DETROIT          MI    48221‐2509
BERTHA LAWRENCE                                  8319 STOUT                                                                                    DETROIT          MI    48228‐2856
BERTHA LEE                                       3002 N CHEVROLET                                                                              FLINT            MI    48504‐2602
BERTHA LOUISE STITES                             3000 N APPERSON WAY TRLR 380                                                                  KOKOMO           IN    46901‐1302
BERTHA LYNN RORER                                1725 CARRIAGE LANE                                                                            LAPEER           MI    48446‐1276
BERTHA M DRAYTON CUST THOMAS L DRAYTON JR        16 ADMIRAL RD                                                                                 BUFFALO          NY    14216‐2510
UGMA NY
BERTHA M DRAYTON CUST TREVOR L DRAYTON UGMA      16 ADMIRAL RD                                                                                 BUFFALO          NY    14216‐2510
NY
BERTHA M HANSON                                  11310 36TH ST SE                                                                              LOWELL           MI    49331‐8935
BERTHA M HOGAN                                   36 COSGROVE ST                                                                                LOWELL           MA    01852‐5305
BERTHA M HUFFMAN                                 19700 HOLIDAY LANE                                                                            WARRENSVILLE     OH    44122‐6944
BERTHA M JOHNSON                                 G6417 N HARVARD                                                                               MT MORRIS        MI    48458
BERTHA M JOKINEN                                 801 BRITTEN AVE                                                                               LANSING          MI    48910‐1323
BERTHA M LAGINESS                                10053 COLWELL AVE                                                                             ALLEN PARK       MI    48101‐1316
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 391 of 850
Name                                            Address1                               Address2             Address3          Address4          City             State Zip

BERTHA M LONG                                   128 LAMBERT DR                                                                                  NEWPORT NEWS     VA    23602‐6532
BERTHA M LUBA & MARY T KONECNY JT TEN           69 WOODRIDGE CIR                                                                                TRUMBULL         CT    06611‐3713
BERTHA M SMITH                                  30 REDWOOD DR                                                                                   SAGINAW          MI    48601‐4137
BERTHA M SMITH                                  7222 BRAY ROAD                                                                                  MT MORRIS        MI    48458‐8989
BERTHA M WAY CUST BRITTNEY WAY UTMA FL          2816 MONCRIEF RD                                                                                JACKSONVILLE     FL    32209‐5081
BERTHA MAE JONES                                4604 MEAD ST                                                                                    DEARBORN         MI    48126‐3095
BERTHA MAE JONES                                3966 12TH ST                                                                                    ECORSE           MI    48229‐1306
BERTHA MARY MC GOWAN                            103 MAYFLOWER HILL DR                                                                           WATERVILLE       ME    04901‐4723
BERTHA MAY HILLER                               10124 44 AVENUE SOUTH                                                                           BOYNTON BEACH    FL    33436‐4236
BERTHA MAY SEABURN & CHARLES L SEABURN JT TEN   113 PLUM ST                                                                                     ANDERSON         IN    46012‐2514

BERTHA MCMILLIAN                                2133 ADAMS AVE                                                                                  FLINT            MI    48505‐5007
BERTHA O FARRIS                                 6760 GREENFIELD DR                                                                              CINCINNATI       OH    45224‐1643
BERTHA P RAINS                                  3327 TOWNSHIPLINE RD                                                                            LEBANON          OH    45036‐9730
BERTHA POKRAJAC                                 2772 OHIO STREET                                                                                BETHEL PARK      PA    15102‐2742
BERTHA PRATHER TR BERTHA PRATHER REVOCABLE      1153 QUEENER LN                                                                                 PRINCETON        ID    83857‐9748
TRUST UA 05/10/05
BERTHA R CALHOUN                                1219 GLENNELLE DR                                                                               DAYTON           OH    45408‐2435
BERTHA R CALHOUN & CYNTHIA C CALHOUN JT TEN     1219 GLENNELLE DR                                                                               DAYTON           OH    45408‐2435

BERTHA R DAVIS                                  55 GLEN EDEN                                                                                    JACKSON          TN    38301‐3317
BERTHA R FAJKOWSKI & LEO S FAJKOWSKI JT TEN     C/O CHRISTINE KRILEY                   6288 AIMONT DR                                           SPRING HILL      FL    34606
BERTHA R LOGAN                                  2251 CLEARVIEW NW                                                                               WARREN           OH    44483‐1335
BERTHA R PARKER                                 628B LISBON ST                                                                                  CLINTON          NC    28328
BERTHA R SALAZAR                                22 SANTA MARINA ST                                                                              SAN FRANCISCO    CA    94110‐5432
BERTHA S BALLARD                                2112 W 12TH ST                                                                                  ANDERSON         IN    46016‐3011
BERTHA S CASSENS                                ATTN PAUL CUNNIFF                      82 PINE ST                                               WOBURN           MA    01801‐3254
BERTHA S COTTRELL                               237 BLAND DR NE                                                                                 CLEVELAND        TN    37312‐6614
BERTHA S MAY                                    17 CASEY DR                                                                                     WILLOW STREET    PA    17584
BERTHA S RODRIGUEZ                              8038 DEER PATH                                                                                  JUSTICE          IL    60458‐1360
BERTHA SCHEMPP TR UA 01/09/92 BERTHA SCHEMPP    5050 N KENNETH AVE                                                                              CHICAGO          IL    60630‐2621
LOVING TRUST
BERTHA SIMPSON                                  1125 LANSING                                                                                    DETROIT          MI    48209‐3811
BERTHA STAATS                                   1919 BEACON ST                                                                                  WASHINGTON C H   OH    43160‐1727

BERTHA STERLING                                 1032 24TH ST                                                                                    BEDFORD          IN    47421‐5006
BERTHA STROJNY                                  65 POST AVE                                                                                     HILTON           NY    14468‐8977
BERTHA T TOPP & KAREN LEE LAVAN JT TEN          7080 SE LILLIAN CT                                                                              STUART           FL    34997‐2223
BERTHA T TOPP & KENNETH J TOPP JT TEN           7080 SE LILLIAN CT                                                                              STUART           FL    34997‐2223
BERTHA TRAMMELL                                 17615 COOLEY ST                                                                                 DETROIT          MI    48219‐2371
BERTHA V TROUTMAN                               5461 ROCKSPRAY CIRCLE                                                                           INDIANAPOLIS     IN    46254‐9631
BERTHA WOZNIAK                                  716 PINEWOOD ROAD                                                                               UNION            NJ    07083‐6415
BERTHA Z ERAZMUS                                36 LONGMEADOW DR                                                                                MERIDEN          CT    06450
BERTHIER J MARTIN                               609 ELLSWORTH WAY                                                                               THE VILLAGES     FL    32162‐7617
BERTHILDE HOROWITZ & TED HOROWITZ JT TEN        1021 N MCKNIGHT RD                     APT 3G                                                   SAINT LOUIS      MO    63132
BERTHINA WOODALL                                3617 FAIR LANE                                                                                  DAYTON           OH    45416‐1209
BERTHOLD I MENHARDT & MRS SHIRLEY A MENHARDT 203 S LAKE CORTEZ DR                                                                               APOPKA           FL    32703‐4827
JT TEN
BERTHOLD L MENHARDT CUST BARBARA A MENHARDT 203 S LAKE CORTEZ DR                                                                                APOPKA           FL    32703‐4827
UGMA WI
BERTIE E ANDERSON                               1615 FLOUNDER LN                                                                                WILMINGTON       NC    28409‐4577
BERTIE E LEAK ROGERS                            17256 STAHELIN                                                                                  DETROIT          MI    48219‐3597
BERTIE M SMITH                                  17282 BENTLER ST                       APT 15                                                   DETROIT          MI    48219‐4704
BERTIE MAE ARNOLD & AMES E ARNOLD JT TEN        1546 GRISSON PARK DR                                                                            FULLERTON        CA    92833‐1332
BERTIE R YOUNG                                  304 SW DIVISION RD                                                                              CENTERVIEW       MO    64019‐8117
BERTIE W DAVIDSON                               10288 N TALL COTTON DR                                                                          MARANA           AZ    85653
BERTIL A BERGSTROM & MARILYN E BERGSTROM JT TEN 130 APTOS AVE                                                                                   SAN FRANCISCO    CA    94127‐2521

BERTILLE THIELEN                                1230 ‐ 110 TH ST                                                                                MANNING          IA    51455‐7503
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 392 of 850
Name                                            Address1                            Address2              Address3         Address4          City            State Zip

BERTLEN F TURNER                               PO BOX 266                                                                                    WHITEHALL       NY    12887‐0266
BERTON P GRASLEY                               6730 SLEEPER AVE                                                                              FREMONT         MI    49412‐9245
BERTRAM A GARNER                               46 LINCOLIN SHORE ESTATES                                                                     LINCOLIN CITY   OR    97367‐5092
BERTRAM B MCCUISTON JR                         6848 MORTENVIEW DRIVE                                                                         TAYLOR          MI    48180‐1808
BERTRAM C ALLEN                                6350 HIGHWAY 638                                                                              MANCHESTER      KY    40962‐7215
BERTRAM C HARRISON JR                          PO BOX 209                                                                                    LEESBURG        VA    20178‐0209
BERTRAM C SHLENSKY & JUDITH SHLENSKY JT TEN    67 ROLLING WAY                                                                                NEW ROCHELLE    NY    10804‐2405
BERTRAM COLLINS                                C/O CLAIRE COLLINS                   595 MAIN ST APT 716                                      NEW YORK        NY    10044‐0046
BERTRAM D BECKER TR BERTRAM D BECKER REVOCABLE 133 FEDERAL HILL RD                                                                           MILFORD         NH    03055‐3519
TRUSTUA 07/07/98
BERTRAM E LEVINSON                             35 DAVID RD                                                                                   CEDAR GROVE     NJ    07009‐2137
BERTRAM E THORNE                               12 PURITAN RD                                                                                 SALEM           MA    01970‐1249
BERTRAM F PATTERSON                            12 TURNWOOD COURT                                                                             HEMPSTEAD       NY    11550‐3527
BERTRAM G DISCHER                              141 BROAD MEADOW RD                  BLDG#A APT 12                                            MARLBOROUGH     MA    01752‐3401
BERTRAM GOLDBERG & ESTHER GOLDBERG JT TEN      1055 BLOOMFIELD AVE                                                                           PHILADELPHIA    PA    19115‐4830

BERTRAM H STAHL CUST JONATHAN OBER STAHL U/THE 10 PARK DR                                                                                    NEWTON HLDS     MA    02461‐2122
MASSU‐G‐M‐A
BERTRAM I PENA                                 PO BOX 668                                                                                    LA MADERA       NM    87539‐0668
BERTRAM J ZOSLAW & MRS BERNICE ZOSLAW JT TEN   1593 WILLIAMS ROAD                   BRENTWOOD MANOR                                          ABINGTON        PA    19001‐1908

BERTRAM K MILLER                               4289 WAYNESVILLE JAMESTOWN RD                                                                 JAMESTOWN       OH    45335‐9744
BERTRAM M CRAVEN                               9470 BELSAY ROAD                                                                              MILLINGTON      MI    48746‐9587
BERTRAM R MURLICK                              3791 CHURCH                                                                                   SAGINAW         MI    48604‐1732
BERTRAM R STIER TOD RICK J STIER               1448 BROWN CITY RD                                                                            IMLAY CITY      MI    48444‐9445
BERTRAM S RESNICK                              3022 VALWOOD PARKWAY                                                                          DALLAS          TX    75234‐3604
BERTRAM W LIVINGSTON                           2600 CR 265                                                                                   FREMONT         OH    43420‐9419
BERTRAN MCCLINTON                              819 W ALMA AVE                                                                                FLINT           MI    48505‐1971
BERTRAND E COBB & DORIS M COBB JT TEN          4429 E RIVERSIDE DR                                                                           FORT MYERS      FL    33905‐2910
BERTRAND J GIRIGORIE                           134 BLUE HERON DR                                                                             SECAUCUS        NJ    07094‐2931
BERTRAND J GRAY                                4672 E 173RD ST                                                                               CLEVELAND       OH    44128‐3904
BERTRAND J JONES & WALLY JONES JT TEN          3924 LYMAN RD                                                                                 OAKLAND         CA    94602‐1847
BERTRAND LEVASSEUR & MRS MARY ANN LEVASSEUR JT 73 FORREST PL                                                                                 AMITYVILLE      NY    11701‐3307
TEN
BERTRAND N HARDY                               UNIT 19                              14201 FOOTHILL BLVD                                      SYLMAR          CA    91342‐1576
BERTRAND TERRY GUNDERSEN                       3420 STONE HALL DR                                                                            BELTSVILLE      MD    20705‐1028
BERTRAND W OCHS                                1703 N HIHGLAND ROAD                                                                          PITTSBURGH      PA    15241‐1357
BERTUS H WIERENGA                              870 AMBER VEIW DR                                                                             BYRON CENTER    MI    49315‐9740
BERTUS W VANDERHEYDE                           3755 CONCESSION RD #3                NEWCASTLE ON                           L1B 1L9 CANADA
BERTUS W VANDERHEYDE                           3755 CONCESSION ROAD #3              NEWCASTLE ON                           L1B 1L9 CANADA
BERTUS W VANDERHEYDEN                          3755 CONCESSION RD 3                 NEWCASTLE ON                           L1B 1L9 CANADA
BERTUS W VANDERHEYDEN                          3755 CONCESSION ROAD #3              NEWCASTLE ON                           L1B 1L9 CANADA
BERVIN L CLINE                                 617 DOGWOOD TRL                                                                               JASPER          TN    37347‐4102
BERWYN ARMSTRONG                               2844 DEBORAH DRIVE                                                                            PUNTA GORDA     FL    33950‐8130
BERY M SMITHOUSER                              312 WINCHESTER DR                                                                             BRICKTOWN       NJ    08724‐3754
BERYL A WILSON                                 419 RANKIN DR                                                                                 ENGLEWOOD       OH    45322‐1141
BERYL B SEYMOUR                                11411 GREEN PLAZA DR                 APT 2703                                                 HOUSTON         TX    77038‐1431
BERYL BEBE COGGINS                             ATTN B C KENNEDY                     PO BOX 495                                               HOMERVILLE      GA    31634‐0495
BERYL E BROOKER                                BOX 12                               BRIDGETOWN                             BARBADOS
BERYL E COOK                                   8030 PINE RIDGE DR                                                                            CLARKSTON       MI    48346‐1141
BERYL E STEWART                                508 LINDLEY RD                                                                                GLENSIDE        PA    19038‐2802
BERYL FRYMAN                                   52241 TWIN LAKEVIEW                                                                           DOWAGIAC        MI    49047‐9419
BERYL GRAHAM MOSER                             410 WILLIAMS RD                                                                               LEWISVILLE      NC    27023‐9726
BERYL HARPER                                   99 MARSDALE                          ST CATHARINES ON                       L2T 3T2 CANADA
BERYL HENRY                                    10430 REXFORD CT                                                                              CYPRESS         CA    90630‐4633
BERYL J DOOLEY & EDWARD L DOOLEY & KATHERINE J 11588 FARMHILL DR                                                                             FENTON          MI    48430‐2532
HOWARD JT TEN
BERYL L EVANS                                  11871S 171E                                                                                   FAIRMOUNT       IN    46928
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 393 of 850
Name                                           Address1                             Address2             Address3          Address4          City               State Zip

BERYL M OSER                                   1885 EDGEMOUNT RD                                                                             UPPER ARLINGTON    OH    43212

BERYL R WOODMAN JR                               #7                                 216 S GRANTS LN                                          FORT WORTH         TX    76108‐2557
BESONDY E HAGEN & MARGARET H HAGEN JT TEN        1307 WINSTON DR                                                                             JACKSON            MI    49203‐5026
BESS CLARK                                       39077 HARVEY AVE                                                                            LISBON             OH    44432‐9549
BESS F TRAX USUFRUCTUARY JOHN F TRAX NAKED       6025 NAVAHO TRL                                                                             ALEXANDERIA        LA    71301‐2736
OWNER
BESS N LEVY                                      PO BOX 22706                                                                                ALEXANDRIA         VA    22304‐9270
BESSIE A DAVIS                                   3919 AZALEA CT                                                                              CLARKSTON          MI    48348‐1407
BESSIE A SUDLIK                                  11 S 104 S JACKSON                                                                          BURR RIDGE         IL    60527
BESSIE BROOKS DUNSON                             4121 GREENFIELD DR                                                                          ANDERSON           IN    46013‐5032
BESSIE C THORP                                   2476 NORTHVIEW DR                                                                           CORTLAND           OH    44410‐1744
BESSIE CHABOT CARL A CHABOT & DONALD J CHABOT JT 43318 CHIANTI CT                                                                            STERLING HEIGHTS   MI    48314‐1933
TEN
BESSIE COSELMAN                                  11670 PLAZA DR                     APT 1                                                    CLIO               MI    48420‐1792
BESSIE D KEESLING                                3703 IRONWOOD WAY                                                                           ANDERSON           IN    46011
BESSIE E FRANK                                   558 N SIWELL ROAD                                                                           JACKSON            MS    39209‐9214
BESSIE E JONES                                   PO BOX 822                                                                                  WILSON             NY    14172‐0822
BESSIE G GREER & MYRTLE M GUYNES JT TEN          1509 W 8TH ST                                                                               MARION             IN    46953‐1348
BESSIE H MRVA                                    10529 WOODLAWN DRIVE                                                                        PORTAGE            MI    49002‐7227
BESSIE I HENDRICKSON                             388 GRISCOM DR                                                                              SALEM              NJ    08079
BESSIE IRENE MYERS & WILLARD F MYERS JT TEN      ROUTE 2 6054 MARSHALL RD                                                                    NASHVILLE          MI    49073‐9537
BESSIE J PITCHER & RONALD A PITCHER JT TEN       3677 MAHONING RD                                                                            LAKE MILTON        OH    44429‐9403
BESSIE J TYLER                                   13725 JOHN R ST                    APT 225                                                  HIGHLAND PARK      MI    48203‐3178
BESSIE JONES                                     243 CRESTWOOD                                                                               PONTIAC            MI    48341‐2732
BESSIE K KING                                    1200 SMITH                                                                                  BAY CITY           MI    48706‐4034
BESSIE KONTOS & JEAN A SAVOPOULOS JT TEN         201 WILLARD AVE N E                                                                         WARREN             OH    44483‐5527
BESSIE L BAUGH                                   3468 RIVERCHASE DR                                                                          DECATUR            GA    30034‐4862
BESSIE L BEARD                                   758 E HOLBROOK AVE                                                                          FLINT              MI    48505‐2237
BESSIE L BELL                                    3315 ORCHARD AVE                                                                            INDIANAPOLIS       IN    46218‐1938
BESSIE L BRITT                                   405 WELCH BLVD                                                                              FLINT              MI    48503‐1165
BESSIE L CORNELIUS                               2065 N NEW JERSEY                                                                           INDIANAPOLIS       IN    46202‐1645
BESSIE L DIXON                                   19429 SUSSEX                                                                                DETROIT            MI    48235‐2052
BESSIE L FARMER                                  1615 W HOME AVE                                                                             FLINT              MI    48504‐1617
BESSIE L GLADNEY                                 464 COUNTRY RD 308                                                                          HOULKA             MS    38850‐8676
BESSIE L HARRELL                                 426 MEASELS RD                                                                              MORTON             MS    39117‐8506
BESSIE L MORGAN                                  C/O DIANA MORGAN HOSKINS           142 OSBORNE RD                                           LONDON             KY    40741‐9768
BESSIE L OTT                                     806 N 6TH ST                                                                                FESTUS             MO    63028‐1406
BESSIE L SPRINGER                                4741 N APACHIE TR                                                                           HERNANDO           FL    34442‐3905
BESSIE L WOMACK                                  2360 HWY 90 E                                                                               VIDOR              TX    77662‐8527
BESSIE L YOUNG                                   3455 FM 1960 RD W                  APT 2403                                                 HUMBLE             TX    77338‐3205
BESSIE LEA GRIFFIN PERLITZ                       PO BOX 1499                                                                                 BOERNE             TX    78006
BESSIE LEE WILLIAMS                              74 LONGTOWN RD                                                                              LUGOFF             SC    29078‐9469
BESSIE M GROMELSKI                               319 HILLTOP LN E                                                                            COLUMBUS           NJ    08022‐1015
BESSIE M HANCOCK                                 827 ALBERTA                                                                                 AUBURN HILLS       MI    48326‐1119
BESSIE M HANNA                                   112 TWO LIGHTS RD                                                                           CAPE ELIZABETH     ME    04107‐9510
BESSIE M HUDSON & LAURA M HUDSON‐HENRY &         325 W CARPENTER RD                                                                          FLINT              MI    48505‐2084
COLEEN D FERGUSON JT TEN
BESSIE M LEGG                                    321 LEE LN                                                                                  MANSFIELD          OH    44905‐2719
BESSIE M LIGGONS TOD DEMARIO J LIGGON SUBJECT TO 2368 JOE BROWN RD                                                                           SRPING HILL        TN    37174‐2577
STA TOD RULES
BESSIE M MALLETT                                 5402 PENNSWOOD AVE                                                                          LAKEWOOD           CA    90712‐1852
BESSIE M SEDLARIK                                4459 TRAPANI LANE                                                                           SWARTZ CREEK       MI    48473‐8827
BESSIE M YARBROUGH                               503 SOUTH DIXIE DRIVE                                                                       HOWEY IN THE HILLS FL    34737‐4313

BESSIE MAE CARSON                              BON AIRE TR CT LOT 1                                                                          KOKOMO             IN    46901
BESSIE MAE ONDROVICH                           1005 WESTVIEW AVENUE                                                                          HAMILTON           OH    45013‐2447
BESSIE MUTTERPERL & NATALIE BACA JT TEN        2444 TIMBER RUN                                                                               VIRGINIA BCH       VA    23456‐7507
BESSIE R AVERETTE                              515 SOUTH PAUL L DUNBAR                                                                       DAYTON             OH    45407‐2237
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 394 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

BESSIE R TOOGOOD                                 88 ST GEORGE PL                                                                                GOLETA             CA    93117‐1908
BESSIE RAINEY                                    2 AUDIE CT                            APT 4                                                    MICHIGAN CITY      IN    46360‐1568
BESSIE S HARVEY                                  900 CREEKSIDE STREET                                                                           DAYTON             OH    45427‐2728
BESSIE SAMMONS                                   4297 COUNTY RD 107                                                                             FT PAYNE           AL    35967‐6556
BESSIE SMITH                                     71 ASHBROOK RD                                                                                 DAYTON             OH    45415‐2209
BESSIE T HAMPTON TR BESSIE T HAMPTON             1061 W 108TH PL                                                                                CHICAGO            IL    60643‐3724
DECLATATION OF TRUST UA 10/06/98
BESSIE W BURTON                                  2598 WOODWARDUA ROAD N E                                                                       ATLANTA            GA    30345‐3511
BESSIE W SMITH                                   4551 HERNER COUNTY LINE RD                                                                     SOUTHINGTON        OH    44470‐9523
BETA PAVLOVIC                                    36682 VALLEY RIDGE DR                                                                          EASTLAKE           OH    44095‐2368
BETH A B MC KEOWN                                28814 JOHNSON DR                                                                               WICKLIFFE          OH    44092‐2654
BETH A BEDFORD                                   7 DAVISON ROAD                                                                                 LOCKPORT           NY    14094‐3318
BETH A BIEDENHOLZ                                340 CRAMPTON DR                                                                                MONROE             MI    48162‐3518
BETH A BOYCE CUST HILLARY E BOYCE UGMA MI        15448 LOBDELL RD                                                                               LINDEN             MI    48451
BETH A BOYCE CUST LISA A BOYCE UGMA MI           15448 LOBDELL RD                                                                               LINDEN             MI    48451
BETH A BROADWATER                                19 CHERRY STREET                                                                               JERSEY CITY        NJ    07305
BETH A BRYANT                                    6281 MARTEL AVE                                                                                DALLAS             TX    75214‐3097
BETH A CARBUTT & SUSAN A GRAHAM EX EST           C/O J ABBOTT                          108 CHESLEY DR                                           MEDIA              PA    19063
ELIZABETH A SMITH
BETH A COLESCOTT                                 6781 W MAY APPLE DRIVE                                                                         MC CORDSVILLE      IN    46055
BETH A DALRYMPLE                                 9909 HARTEL CT                                                                                 LIVONIA            MI    48150‐3115
BETH A DUSIK                                     PO BOX 273                                                                                     COAL CITY          IL    60416‐0273
BETH A FISCHER                                   4202 BRADSHIRE CT                                                                              SEABROOK           TX    77586‐4201
BETH A FISHBURN                                  2048 BRYTON DR                                                                                 POWELL             OH    43065‐9196
BETH A FRECKMAN                                  ATTN BETH A MANOS                     1641 HORLACHER AVE                                       KETTERING          OH    45420‐3234
BETH A GILLEN                                    3842 OAKCREST                                                                                  SHREVEPORT         LA    71109‐4731
BETH A GLEASON TR UA 01/28/08 DARLENE RUPRIGHT   8709 PINE COURT                                                                                CLIO               MI    48420
SPECIAL NEEDS TRUST
BETH A JOHNS                                     4076 CO ROAD 55                                                                                BELLE FONTAINE     OH    43311‐9225
BETH A LYON                                      35 RIDGE AVE                                                                                   MILL VALLEY        CA    94941‐1792
BETH A MARSH                                     4029 E COUNTY RD 67                                                                            ANDERSON           IN    46017‐9548
BETH A MEEKER                                    6004 HARVARD DRIVE                                                                             KOKOMO             IN    46902‐5234
BETH A MEYER                                     110 BOWERMAN ROAD                                                                              FARMINGTON         NY    14425‐7021
BETH A MILLER CUST ZACKERY V CHUNKO UGMA PA      409 WILLIAM ST                                                                                 PEN ARGYL          PA    18072‐1769

BETH A PIPOLY                                    C/O BETH BEIDLEMAN                    75 OVERLOOK DR                                           HOLLISTON          MA    01746‐2464
BETH A PRITCHETT                                 2108 WILLOW SPRINGS ROAD                                                                       KOKOMO             IN    46902‐7801
BETH A ROGLER                                    9367 BEECHER RD                                                                                FLUSHING           MI    48433‐9727
BETH A ROSASCHI                                  11 HUNTER LANE                                                                                 PAWLING            NY    12564‐2224
BETH A SLUSSER EX EST FRANCIS LEO STEPHEN        412 TANGUY STREET                                                                              LOGANSPORT         IN    46947
BETH A SZKUDLAREK                                PO BOX 1886                                                                                    CRYSTAL RIVER      FL    34423‐1886
BETH A THOMPSON                                  13448 ALABAMA AVE S                                                                            SAVAGE             MN    55378‐2491
BETH A WEBB                                      1524 AMY ST                                                                                    BURTON             MI    48509‐1802
BETH A WHETSTONE                                 ATTN BETH A SPENCER                   3636 RUSHLAND                                            TOEDO              OH    43613‐4817
BETH AMY RASKIN                                  5 HICKORY HILL RD                                                                              DIX HILLS          NY    11746‐6309
BETH ANN AMSTERDAM                               1204 MORGAN AVE                                                                                DREXEL HILL        PA    19026‐3331
BETH ANN BERRIE                                  4144 HALLTOWN DR                                                                               HARTLY             DE    19953‐2601
BETH ANN BESAW                                   25017 BOWMAN ROAD                                                                              DEFIANCE           OH    43512‐8401
BETH ANN CZAPOR                                  30940 HICKORY LN                                                                               FRANKLIN VILLAGE   MI    48025‐1541

BETH ANN FORTUNA                                 3008 N 38TH ST                                                                                 BOISE              ID    83703‐4822
BETH ANN HICKEY                                  4037 HEDGEWOOD DR                                                                              MEDINA             OH    44256‐6503
BETH ANN HUTCHINSON CUST SAMUEL H HUTCHINSON     1909 LEON DR                                                                                   PLANO              TX    75074‐3820
UGMA TX
BETH ANN JEVNIKAR                                318 5TH STREET                                                                                 OAKMONT            PA    15139‐1707
BETH ANN JONES SELLERS                           12 GRANADA BUILDING                                                                            HERSHEY            PA    17033‐2220
BETH ANN KWIATKOWSKI                             90 DORSET LN                                                                                   MADISON            CT    06443‐8107
BETH ANN POLING                                  5266 SCHUETTE DR                                                                               POWELL             OH    43065‐7251
BETH ANN SCHIMMEL                                PO BOX 141                                                                                     BURLINGTON         IN    46915‐0141
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 395 of 850
Name                                           Address1                             Address2                Address3       Address4          City             State Zip

BETH ANN SCHLEGEL                              1132 BELLERIVE BLVD                                                                           ST LOUIS         MO    63111‐2133
BETH ANN SOUTHBY                               12481 CENTER RD                                                                               FENTON           MI    48430
BETH ANN WANLASS                               4473 LAKESHIRE DR                                                                             HOWELL           MI    48843‐8692
BETH ANN WILSON                                251 S OLD MIDDLETOWN ROAD                                                                     MEDIA            PA    19063‐4854
BETH ANNA RAITER & JOHN M RAITER JT TEN        18497 BENNETT RD                                                                              NORTH ROYALTON   OH    44133‐6044

BETH ANNE BADER                              61 WALDO AVE                                                                                    ROCHESTER        NY    14609‐4307
BETH ARNE                                    1109 8TH S ST 2                                                                                 LA CROSSE        WI    54601‐5481
BETH B KASPER                                635 E ROCKWELL                                                                                  ARLINGTON HTS    IL    60005‐2737
BETH BENEDICT CUST PAUL BENEDICT UGMA MI     2030 12TH STREET                                                                                WYANDOTTE        MI    48192‐3848
BETH BERGMAN                                 150 W END AVE                          APT 18‐P                                                 NEW YORK         NY    10023
BETH BICKHAM MOUTON CUST ROSS E MUTON UGMA 209 GENERAL GARDNER AVENUE                                                                        LAFAYETTE        LA    70501‐7823
AR
BETH BRENNER JOSEF CUST MAX JARED JOSEF UTMA 144 PRINCE ROYAL DR                                                                             CORTE MADERA     CA    94925‐2031
MA
BETH BRUNT                                   2671 ACORN AVE NE                                                                               ATLANTA          GA    30305‐3703
BETH C NEUMANN CUST DUSTIN E NEUMANN UTMA PA 101 GERANIUM CURT                                                                               NEW HOLLAND      PA    17557

BETH CARRIE LANGERMAN                          248 S MAPLETON DR                                                                             LOS ANGELES      CA    90024‐1805
BETH D COE                                     4362 E POPLAR DR                                                                              TERRE HAUTE      IN    47803‐2397
BETH DOUGLASS                                  1216 ASHLAND AVE                                                                              WILMETTE         IL    60091‐1606
BETH E LOOP                                    351 YORK DR                                                                                   BAY CITY         MI    48706
BETH E MC GAW                                  25029 N 43RD DR                                                                               GLENDALE         AZ    85310‐2430
BETH E STIVER                                  123 CORLL ST                                                                                  HUBBARD          OH    44425‐2110
BETH ELLEN KERR                                RD#1 BOX 311‐A                                                                                HARVEYS LAKE     PA    18618‐9761
BETH ELLEN SPIEGEL                             3342 NE 166TH ST                                                                              NORTH MIAMI      FL    33160‐3844
                                                                                                                                             BEACH
BETH EVANS                                     SMITH NORTH                          EDENVIEW ROAD APT 385                                    ELIZABETH TOWN   PA    17022‐3114
BETH FELDER CUST RYAN C FELDER UGMA TX         814 TORREY PINES                                                                              GARLAND          TX    75044‐4130
BETH FILIPPONI                                 265 W CALIFORNIA BLVD #4                                                                      PASADENA         CA    91105‐2922
BETH FRIEDMAN                                  2576 CANDYTUFT DR                                                                             JAMISON          PA    18929‐1760
BETH G GOHDE                                   101 NARRAMORE                                                                                 PHILADELPHIA     TN    37846
BETH GAIL KJERRUMGAARD                         30012 CLARK AVE                                                                               NEW HAVEN        MI    48048‐1804
BETH GEARHART                                  14361 RICHARDS RUN LN                                                                         PURCELLVILLE     VA    20132‐3655
BETH GOLDBERG & BRIAN BENDER TR 08/01/94 BETH  9825 MALVERN DRIVE                                                                            TAMARAC          FL    33321‐1996
GOLDBERG REVOCABLETRUST
BETH GOLL & JAMES BINGHAM TR WILLIAM A BINGHAM 9843 W ALPINE DR                                                                              KIRTLAND         OH    44094‐9339
TRUST UA 01/09/89
BETH H MARSH                                   4029 E COUNTY ROAD 67                                                                         ANDERSON         IN    46017‐9548
BETH H WOOLLARD                                3289 W HOBSON AVE                                                                             FLINT            MI    48504‐1470
BETH HICKMAN CLARKE                            304 SHERIDAN AVE                                                                              WINCHESTER       VA    22601‐3134
BETH HILL GREENOUGH                            102 MUNICIPAL DR                                                                              MILLERSVILLE     PA    17551‐1408
BETH HOCKING                                   5521 PARVIEW DR                      APT 108                                                  CLARKSTON        MI    48346‐2826
BETH I BERTOLOTTO                              3414 EAST AVE SO                                                                              LA CROSSE        WI    54601‐7209
BETH IRENE FEDOR                               15750 DAWSON CREEK DR                                                                         MONUMENT         CO    80132‐6013
BETH J CARTER                                  20230 ARDMORE                                                                                 DETROIT          MI    48235‐1575
BETH J GRAHAM CUST ROBERT J GRAHAM UGMA PA     3901 GLENSHIRE CT                                                                             MURRYSVILLE      PA    15668‐1023

BETH J VOGT                                    810 EAST 4TH ST                                                                               DELL RAPIDS      SD    57022‐2016
BETH JEHUDAH HEBREW SCHOOL                     3259 N 51ST BLVD                                                                              MILWAUKEE        WI    53216‐3235
BETH K SEEVERS                                 PO BOX 72                                                                                     NEWAYGO          MI    49337‐0072
BETH KAISER JONES                              93 SAINT PAUL ST                                                                              BROOKLINE        MA    02446‐5103
BETH KOLOSKI                                   3721 ELIOT ST                                                                                 DENVER           CO    80211‐2844
BETH KOROTKIN CUST NEIL KORTKIN UGMA NY        75 LOOKOUT CIRCLE                                                                             LARCHMONT        NY    10538‐2211
BETH L CAFARO                                  6131 MISSION DR                                                                               ORCHARD LAKE     MI    48324‐1395
BETH L CARLISLE                                6725 CENTER RD                                                                                ASHTABULA        OH    44004‐8946
BETH L FISHER                                  898 BUCKSKIN LN                                                                               CASTLE ROCK      CO    80104‐9301
BETH L KARR                                    1031 MARIANNA DR                     C/O BETH L WOODRUFF                                      MANSFIELD        OH    44903‐8872
BETH L SPON                                    3500 ORANGEVILLE RD                                                                           SHARPSVILLE      PA    16150
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 396 of 850
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

BETH L STEVENS                                     102 SUNBURST CRCL                                                                               CEDAR POINT      NC    28584‐9294
BETH L WARD TR BETH L WARD TRUST UA 10/06/03       6313 SQUIRE LAKE ROAD                                                                           FLUSHING         MI    48433‐2382

BETH LYNN SZALKOWSKI                               ATTN BETH LYNN FRENCH                  7128 GRANGER DRIVE                                       HOWELL           MI    48843
BETH M ANGUS                                       110 BOWERMAN RD                                                                                 FARMINGTON       NY    14425‐7021
BETH M BERGMANS                                    1100 COLLEGE ST                                                                                 NORTHFIELD       MN    55057‐2835
BETH M EGAN CUST LAURA M EGAN UTMA PA              1110 BOALSBURG RD                                                                               BOALSBURG        PA    16827‐1007
BETH M EGAN CUST MEGAN M EGAN UTMA PA              1110 BOALSBURG RD                                                                               BOALSBURG        PA    16827‐1007
BETH M HUBBELL                                     1158 WOODSIDE DR                                                                                HASLETT          MI    48840‐9780
BETH M PUND                                        4964 W ENON ROAD                                                                                FAIRBORN         OH    45324
BETH M PUNTINI CUST ANDREW D PUNTINI UTMA IL       202 KINGS CT                                                                                    LAGRANGE PK      IL    60526‐5307

BETH M PUNTINI CUST CHRISTOPHER L PUNTINI UTMA IL 202 KINGS CT                                                                                     LAGRANGE PK      IL    60526‐5307

BETH M PUNTINI CUST GINA L PUNTINI UTMA IL         202 KINGS CT                                                                                    LAGRANGE PK      IL    60526‐5307
BETH M STONE                                       1997 QUEENSBERRY RD                                                                             PASADENA         CA    91104‐3351
BETH MAGEE SMITH                                   3830 GREENTREE PL                                                                               JACKSON          MS    39211‐6736
BETH MARIE BUTLER                                  361 WEST CENTER ST                                                                              KAYSVILLE        UT    84037
BETH MUSGRAVE SEIFERT                              506 MEADOWFIELD RD                                                                              YORKTOWN         VA    23692‐4637
BETH O VANDERHURST TR REVOCABLE TRUST 04/05/90     290 EUCALYPTUS AVE                                                                              HILLSBOROUGH     CA    94010‐6604
U‐A BETH O VANDERHURST
BETH P ROTHMAN                                     15 TULIP LN                                                                                     NEW ROCHELLE     NY    10804‐1914
BETH PALAUSKY SPENCER                              RT 2 BOX 303                                                                                    ST GEORGE        WV    26287‐9306
BETH PENNINGTON                                    6 PACIFIC AVENUE                                                                                PIEDMONT         CA    94611
BETH PENNINGTON TR BETH PENNINGTON SEPARATE        22 E DELAWARE AVE                                                                               PENNINGTON       NJ    08534‐2301
PROPERTY TRUST UA 12/31/93
BETH PHYLIS SINGER                                 11 RENNES ST                                                                                    PINE BROOK       NJ    07058‐9444
BETH R KAYE                                        14L MADISON PARK GDNS                                                                           PRT WASHINGTN    NY    11050‐3204
BETH ROBIN WOLOVNICK                               16 HEATHER LANE                                                                                 MUTTONTOWN       NY    11753‐1302
BETH ROBINSON HARTPENCE & ROBERT K HARTPENCE       74129 LONDON RD                                                                                 COTTAGE GROVE    OR    97424‐9276
JT TEN
BETH ROY                                           120 STRTHAM HEIGHTS ROAD                                                                        STRTHAM          NH    03885‐2500
BETH ROY CUST KYLE D ROY UGMA NY                   120 STRATHAM HEIGHTS ROAD                                                                       STRATHAM         NH    03885‐2500
BETH S BUNNELL & JESSICA A LEAR & ADAM S BUNNELL   44385 TELEGRAPH RD                                                                              ELYRIA           OH    44035
JT TEN
BETH S BUNNELL TOD JASON LOVANO SUBJECT TO STA     44385 TELEGRAPH RD                                                                              ELYRIA           OH    44035
TOD RULES
BETH S CAISTER                                     RR 1 BOX 703                                                                                    ROSELAND         VA    22967‐9211
BETH S MAXWELL                                     11852 JUNIPER ST                                                                                LAFAYETTE        CO    80026‐9632
BETH S SKYLIS                                      ATTN BETH STONE                        18581 GAMBLIN RD                                         ATLANTA          MI    49709
BETH SKOLNIK & BARRY SKOLNIK JT TEN                542 SUMAC                                                                                       HIGHLAND PARK    IL    60035‐4452
BETH STAMEN CRANMER                                920 CAITLIN DR                                                                                  UNION            KY    41091‐8009
BETH STEUBER                                       256 FRISBEE HILL RD                                                                             HILTON           NY    14468‐8936
BETH SWOPE WILLIAMS                                514 ROSE ST                                                                                     WEST LAFAYETTE   IN    47906‐3044
BETH THOMAS LANGE                                  2115 BUFFALO HEIGHTS DR                                                                         GARDEN CITY      KS    67846‐3512
BETH W FOX                                         BOX 49B                                                                                         GOLDEN EAGLE     IL    62036
BETH WARD ANDERSON                                 1025 W STATE ST                                                                                 JACKSONVILLE     IL    62650‐1967
BETH WARSHAW                                       720 TASKER ST                          #2                                                       PHILADELPHIA     PA    19148‐1251
BETH WEHRLY                                        915 EDGEHILL LANE                                                                               ANDERSON         IN    46012‐9709
BETH‐ANN J STEGELAND                               461 PROSPECT AVE                                                                                NORTH            NJ    07748‐5479
                                                                                                                                                   MIDDLETOWN
BETHANIE J CUGINI                                  32 VERANDA AVE                                                                                  SWANSEA          MA    02777‐1822
BETHANN M SCHIFFLER                                500 SCHULTZ RD                                                                                  ELMA             NY    14059‐9259
BETHANNE SIMPSON                                   724 DENHAM                                                                                      ROCHESTER        MI    48307‐3330
BETHANY A BUTT & ROBERT K BUTT JT TEN              720 MARS HILL RD                                                                                FLORENCE         AL    35630‐1341
BETHANY A COFFEY                                   713 CRESCENT AVE                                                                                AU GRES          MI    48703‐9302
BETHANY A MATUS                                    2394 PLAINVIEW DR                                                                               FLUSHING         MI    48433‐9440
BETHANY A SANFORD                                  10135 LAPEER RD APT 109                                                                         DAVIDSON         MI    48423‐8171
BETHANY E GENDRON                                  5144 HARRISON                                                                                   WAYNE            MI    48184‐2272
                                              09-50026-mg                     Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 1 of 8 Pg 397 of 850
Name                                                Address1                                 Address2             Address3          Address4          City              State Zip

BETHANY HAWKINS                                     5888 SEVILLE CIRCLE                                                                               ORCHARD LAKE      MI    48324
BETHANY HUNT WHETSTONE                              3135 W SHIAWASSEE AVE                                                                             FENTON            MI    48430‐1763
BETHANY I BRANDNER                                  12765 LITTLE RIVER BLVD                                                         N8N 3P9 CANADA
BETHANY J BAKER                                     9293 CLARIDGE                                                                                     DAVISON           MI    48423‐8708
BETHANY J DALEY                                     8343 IRONSIDE CT                                                                                  WEST CHESTER      OH    45069‐2576
BETHANY J KRAUSS                                    216 PARK ST                                                                                       TECUMSEH          MI    49286‐1728
BETHANY J KRAUSS & MICHAEL DAVID KRAUSS JT TEN      216 PARK ST                                                                                       TECUMSEH          MI    49286‐1728

BETHANY J PORTER                                    4285 ST MARTINS DRIVE                                                                             FLINT             MI    48507‐3771
BETHANY K ADAMS                                     2106 MORRIS AVENUE                                                                                BURTON            MI    48529‐2105
BETHANY L PORTER                                    8506 LAVERNE DRIVE                                                                                HYATTSVILLE       MD    20783
BETHANY LOCKETT BOHN                                114 DICKINSON LANE                                                                                WILMINGTON        DE    19807‐3138
BETHANY M TIEDT                                     4249 W HOWE RD                                                                                    DEWITT            MI    48820‐9201
BETHANY M WALLACE                                   3492 W 113TH AVE                                                                                  WESTMINISTER      CO    80030‐7169
BETHANY SUE BOSTROM                                 3147 SW MEADOW LN                                                                                 REDMOND           OR    97756‐8603
BETHANY THOMAS                                      131 LONGFELLOW RD                                                                                 SUDBURY           MA    01776‐1217
BETHEL E CYPHER                                     380 FRAUNFELTER RD S                                                                              LIMA              OH    45807‐9405
BETHEL E PHILLIPS                                   1915 PINEHURST AVE                                                                                EVERETT           WA    98203‐4731
BETHEL J KING                                       2334 IMPALA DR                                                                                    ANDERSON          IN    46012‐4732
BETHEL K SPENCER                                    4500 TAMMY LANE                                                                                   MEMPHIS           TN    38116‐2036
BETHEL ROBERTSON                                    5572 COLUMBIA RD                                                                                  BEDFORD HEIGHTS   OH    44146‐2444

BETHEL UNITED BRETHREN CHURCH                       RTE 590                                  2920 S ST                                                ELMORE            OH    43416
BETHEL V LEDBETTER                                  32 E BURTON AVE                                                                                   DAYTON            OH    45405‐4129
BETHIE D MURPHY                                     20041 HELEN ST                                                                                    DETROIT           MI    48234‐3054
BETHINE S WHITNEY II                                44 PINE CT                                                                                        GROSSE POINTE     MI    48236‐3717
                                                                                                                                                      FARM
BETHUNE TEENS IN ACTION                             2955 MCGOUGAN MILL POND ROAD                                                                      BETHUNE           SC    29009‐9620
BETINA C KING                                       PO BOX 196 17 PHEASANT HOLLOW RUN                                                                 PRINCETON         MA    01541
BETSABE GIRONZA                                     4636 VINCENT DRIVE                                                                                HOLLY             MI    48442‐9005
BETSEY CORRIGAN                                     1410 RIVERVIEW AVE                                                                                WILMINGTON        DE    19806‐1325
BETSEY H OSHEA                                      15 N HILLSIDE AVE                                                                                 CHATHAM           NJ    07928‐2515
BETSEY L GRIFFITH                                   298 BAILEY ST                                                                                     WOODSTOWN         NJ    08098‐1011
BETSEY LAPERRIERE                                   6098 S BOREGO RD                         APT 1                                                    GOLD CANYON       AZ    85218‐4660
BETSEY M GAGNEBIN                                   31 HIGH ROCK ROAD                                                                                 WAYLAND           MA    01778‐3607
BETSEY SHIMKUS & FRANK R SHIMKUS JT TEN             3408 BRIARS RD                                                                                    BROOKEVILLE       MD    20833‐2731
BETSY A FUCHS CUST EMIL WILLIAM FUCHS UGMA MA       52 NORTH ST                                                                                       MATTAPOISETT      MA    02739‐1615

BETSY A MORRIS                                      45 DEERFOOT RD                                                                                    SOUTHBOROUGH      MA    01772‐1409
BETSY A PARSLEY CUST ZACHERY B PARMER UTMA NC       1690 N WACCAMAN DR                       BOX 6 UNIT 501                                           MURRELLS INLT     SC    29576

BETSY ANCKER‐JOHNSON & HAROLD H JOHNSON JT TEN 3502 MT BONNELL RD                                                                                     AUSTIN            TX    78731‐5829

BETSY ANNE ELLEN                                    3510 GRAVELLY BEACH LOOP NW                                                                       OLYMPIA           WA    98502‐8849
BETSY B ESHBAUGH & VERNON L ESHBAUGH JT TEN         216 GRANITEVILLE RD                                                                               CHELMSFORD        MA    01824‐1100

BETSY B FEHSENFELD                                  905 JUNIPER AVE                                                                                   BOULDER           CO    80304‐1725
BETSY B LAMBERT                                     430 COBBLESTONE LN                                                                                LANCASTER         PA    17601‐3359
BETSY B RICHARDS                                    1171 MOHICAN TRL                                                                                  STONE MTN         GA    30083‐5225
BETSY BARNES SIMPSON                                503 KEMP RD W                                                                                     GREENSBORO        NC    27410‐5539
BETSY BEARD                                         PO BOX 781                                                                                        TUCSON            AZ    85702
BETSY BURNS                                         29 TALL PINE CT                                                                                   MEDFORD           NJ    08055‐8336
BETSY BUTLER                                        6840 WAYNECOURSE                                                                                  ROMULUS           MI    48174‐1753
BETSY C DUPONT                                      451 CLEVELAND AVE                                                                                 NORTH HORNELL     NY    14843‐1021
BETSY C KNOX TR UW GRACE E BICE UA 12/07/98 BETSY   8 HILLSPRING RD                                                                                   CHADDS FORD       PA    19317‐9357
CARLO KNOX
BETSY CAROL STEKETEE TR BETSY CAROL STEKETEE        200 MAYS MILLS DR                                                                                 CRAMERTON         NC    28032‐1625
REVOCABLE TRUST UA 8/5/99
BETSY COOK                                          318 TOWN HILL RD                                                                                  NASHVILLE         IN    47448‐9360
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 398 of 850
Name                                             Address1                                 Address2                   Address3    Address4          City              State Zip

BETSY D MITCHELL                                 3305 E 18TH AVE                                                                                   SHEFFIELD         AL    35660‐7607
BETSY E HENDERSON                                162 WINDY ACRES CIR                                                                               AFTON             VA    22920‐2723
BETSY ELLIOTT BELL                               11 SPUR LANE                                                                                      EUREKA SPRINGS    AR    72632‐9714
BETSY G COLLETTE                                 710 CONVERSE ROAD                                                                                 NICHOLVILLE       NY    12965‐9635
BETSY G MIREE                                    9050 ESPER BLVD                                                                                   DETROIT           MI    48204‐2766
BETSY G READY CUST JOHN CHARLES READY UGMA MI    155 STEEPHILL ROAD                                                                                WESTON            CT    06883‐1922

BETSY GAMBLE HANSEN‐PRUSS                         915 CLUB STATION DR                                                                              ATLANTA           GA    30319‐1155
BETSY H GIST                                      6266 KY 142                                                                                      PHILPOT           KY    42366
BETSY H KNELLER                                   74 KINDERHOOK STREET                                                                             CHATHAM           NY    12037‐1217
BETSY H STOVER                                    35 JESSON PKWY                                                                                   LOCKPORT          NY    14094‐5024
BETSY HUGG                                        27352 WEST COUNTY GLEN                                                                           AUGORA            CA    91301‐3604
BETSY J BLOOMER                                   409 BURROUGHS                                                                                    FLINT             MI    48507‐2710
BETSY J DODGE                                     6803 EAST TOWNLINE ROAD                                                                          WILLIAMSON        NY    14589‐9707
BETSY J GAY CUST TIMOTHY SCOTT GAY UTMA MA        14 MYSTIC RD                                                                                     MARBLEHEAD        MA    01945‐1060
BETSY J MARTIN                                    C/O B SMITH                             6537 ROLLING FORK DR                                     NASHVILLE         TN    37205‐3954
BETSY J MONTROSS‐BURGER                           3700 N LAKESHORE DR APT 311                                                                      CHICAGO           IL    60613
BETSY J WOLFE                                     ATTN BETSY J PETRI                      9502 FALCON RIDGE DR                                     LENEXA            KS    66220‐3639
BETSY JANE BROWN                                  1219 CHARLES ST                                                                                  SPEARFISH         SD    57783‐1603
BETSY KIP UZZELL CUST DAVID THOMAS UZZELL UTMA IL 1110 SEWARD ST                                                                                   EVANSTON          IL    60202‐2168

BETSY L MARCUS                                 2805 FOUNTAIN GROVE TERR                                                                            OLNEY             MD    20832‐3037
BETSY L ROSS                                   62 DEER VALLEY                                                                                      MORIARTY          NM    87035‐5281
BETSY L SANGER                                 630 MARSHALL CT                                                                                     CHICO             CA    95973‐8773
BETSY L STRONG                                 745 CHRISTY AVE                                                                                     JACKSON           MI    49203‐1673
BETSY LEE BRUBAKER                             7457 SHAKER LN                             APT C                                                    MAINEVILLE        OH    45039‐8777
BETSY LINDA BABSON                             71 SANDPIPER CIRCLE                                                                                 CORTE MADERA      CA    94925‐1085
BETSY LOU WILLET                               2303 SOCIETY PL                            NEWTOWN GRANT                                            NEWTOWN           PA    18940‐3232
BETSY LOU WILLETS                              2303 SOCIETY PL                            NEWTON GRANT                                             NEWTON            PA    18940‐3232
BETSY M FERGUSON TR BETSY M FERGUSON REVOCABLE PO BOX 596                                                                                          LESLIE            AR    72645‐0596
TRUSTUA 09/13/99
BETSY M FOXWELL                                522 NORTH HOME AVE                                                                                  PARK RIDGE        IL    60068‐3036
BETSY M RUTH                                   1127 LINDBERG                                                                                       LAPEER            MI    48446‐9675
BETSY M SUTHERLAND                             2901 MCCOMAS AVE                                                                                    KENSINGTON        MD    20895
BETSY MALONE CUST CHARLES I MALONE UGMA TN     3718 WIMBLEDON RD                                                                                   NASHVILLE         TN    37215‐1819

BETSY MALONE CUST GEORGE E MALONE UGMA TN        3718 WIMBLEDON RD                                                                                 NASHVILLE         TN    37215‐1819

BETSY METROPOLE                                  419 LAKE FOREST DR                                                                                ROCHESTER HILLS   MI    48309‐2237
BETSY OWENS LOMBARDO                             1152 JACKSON RD                                                                                   WEBSTER           NY    14580‐8778
BETSY P AZARIAH TR AZARIAH FAMILY TRUST UA       19017 JEFFREY AVE                                                                                 CERRITOS          CA    90703‐7330
7/12/05
BETSY P SIDERIS & GARY SIDERIS JT TEN            2226 26TH ST                                                                                      ASTORIA           NY    11105‐3152
BETSY R BUSBEE                                   62 DEER VALLEY                                                                                    MORIARTY          NM    87035‐5281
BETSY R TAYLOR                                   1101 BRITTANY HILLS DR                                                                            DAYTON            OH    45459‐1415
BETSY REYNOLDS KUSTER                            HILLSIDEFARM                             1165 NORTH MIDDLETOWN RD                                 PARIS             KY    40361‐9763
BETSY S MACK                                     1900 RIVIERA DR                                                                                   LINCOLN           NE    68506‐2346
BETSY S MORTON                                   712 FLAGSTONE WAY                                                                                 DURHAM            NC    27712
BETSY STANLEY NISBET                             1334 ARLINGTON                                                                                    ANN ARBOR         MI    48104‐4028
BETSY STEFANY                                    9831 SUNRISE DRIVE P‐26                                                                           NORTH ROYALTON    OH    44133‐3482

BETSY T RAWLEY & JOHN T RAWLEY JT TEN            144 OTTER CLIFFS RD                                                                               BAR HARBOR        ME    04609
BETSY W M MORRISON                               3080 VALLEY VIEW COURT                                                                            CLINTON           IA    52732
BETSY WESTERVELT BOWEN                           6128 ALLWOOD CT APT 422                                                                           BALTIMORE         MD    21210‐1139
BETSY WILLIAMS CUST JOSHUS L GOODE UNIF TRANS    6339 COFFEY ST                                                                                    CINCINNATI        OH    45230‐1406
MINA CT MA
BETSY WILLSON MESSER                             137 LINDEN DR                                                                                     DANVILLE          VA    24541‐3521
BETSYE M ALEXANDER                               1301 N ROOSEVELT ST                                                                               ARLINGTON         VA    22205‐1845
BETTE A JAMES                                    9380 EL VALLE                                                                                     FOUNTAIN VALLY    CA    92708‐4533
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 399 of 850
Name                                               Address1                                Address2              Address3         Address4          City               State Zip

BETTE ANN BALKUS CUST JOHN KUCHAR III UTMA NJ      26 NEWPORT ST                                                                                    OCEAN ISL BCH      NC    28469‐7626

BETTE ANN HERNAN                                   ATTN PITZER                             23381 FOXTAIL CRK                                        BONITA SPRINGS     FL    34135‐8416
BETTE ANN MC CULLOUGH                              2710 SIR PATRICE LN                                                                              LEWISVILLE         TX    75056‐5817
BETTE B BULGERIN                                   407 BUMPY RIDGE DR                                                                               BURNET             TX    78611‐4007
BETTE B JAGER                                      ATTN BETTE CARRIE                       8861 LAKESIDE CIR                                        VERO BEACH         FL    32963‐4050
BETTE C STEADHAM                                   6808 NORTHOAKS DR                                                                                N RICHLAND HILLS   TX    76180‐4355

BETTE COX                                          RR 1 BOX 146                                                                                     HOUGHTON        MI       49931‐9801
BETTE D GILFORD & DANIEL J GILFORD JT TEN          2513 AVE B                                                                                       BRADENTON BEACH FL       34217‐2227

BETTE D GILFORD TR REVOCABLE TRUST 05/12/90 U‐A 2513 AVE B                                                                                          BRADENTON BEACH FL       34217‐2227
BETTE D GILFORD
BETTE D GODBEY                                     7461 S WOODROW DR                                                                                PENDLETON          IN    46064
BETTE FELDMAN & GARY LEONARD JT TEN                2530 MARINE PLACE                                                                                BELLEMORE          NY    11710‐5108
BETTE H COLLEY & WILLIAM E COLLEY JT TEN           1106 COLUMBIANA RDAD                                                                             BIRMINGHAM         AL    35209‐7008
BETTE H PLUMACHER & KIM E PLUMACHER JT TEN         5 SPRING POND DR                                                                                 OSSINING           NY    10562‐2024
BETTE J BATCHELOR                                  277 N CEDAR ST                                                                                   COLVILLE           WA    99114‐2935
BETTE J FLANDERS                                   15720 E 256TH ST                                                                                 ARCADIA            IN    46030‐9614
BETTE J GOMEZ                                      230 SHERMAN ST                                                                                   HIGHLAND           MI    48357‐2739
BETTE J GRAY                                       14228 CYNTHEANNE RD                                                                              NOBLESVILLE        IN    46060‐9790
BETTE J HONECK                                     110 NE OAK DR                                                                                    ANKENY             IA    50021‐1814
BETTE J KNEDGEN                                    3355 OAK KNOLL COURT                                                                             BRIGHTON           MI    48114‐8909
BETTE J MASCITTI                                   143 S MAIN ST                                                                                    PITTSFORD          NY    14534‐2123
BETTE J PASTELAK                                   3953 S MIELKE WAY RD                                                                             LEWISTON           MI    49756‐7923
BETTE JEAN MC CARTHY                               8 JEFFERSON AVE                                                                                  PENNSVILLE         NJ    08070‐1310
BETTE JEAN MCELWEE                                 427 STATION AVE                                                                                  HADDONFIELD        NJ    08033‐4016
BETTE JEAN PEDERSON                                678 OLD MILL RD                                                                                  MESQUITE           NV    89027‐4157
BETTE JO SEMIG                                     33909 NOKOMIS DR                                                                                 FRASER             MI    48026‐4322
BETTE JUNE CRIPE                                   106 WEST 3RD ST                                                                                  FOWLER             IN    47944‐1046
BETTE L COFFYN TR FAMILY TRUST 07/08/90 U‐A F‐B‐O 40 LAGUNITA                                                                                       LAGUNA BEACH       CA    92651‐4239
BETTY COFFYN
BETTE L COFFYN TR UA 07/08/80 BETTY L COFFYN TRUST 40 LAGUNITA                                                                                      LAGUNA BEACH       CA    92651‐4239

BETTE L JOHNSON                                    502 SHARPLESS DR                                                                                 WILMINGTON         DE    19803‐2328
BETTE L SERENDI                                    114 CANDLEWYCK DR                                                                                NEWINGTON          CT    06111‐5244
BETTE L SGARLATA                                   158 ALHAN PARKWAY                                                                                LAKELAND           NY    13209‐1302
BETTE M MC ANANY                                   114 MAYFIELD DR                                                                                  BUTLER             PA    16001‐1639
BETTE M WOLF & JACK A WOLF TR UA 01/12/07 JACK A   18926 SUPERIOR ST                                                                                NORTHRIDGE         CA    91324
& BETTE M WOLF
BETTE MOTT                                         285 BELMONT CRT E                                                                                N TONAWANDA        NY    14120‐4863
BETTE NAGELBERG                                    C/O BETTE ZIMMERMAN                     1139 ASHBOURNE ROAD                                      CHELTENHAM         PA    19012‐1108
BETTE POLKINGHORN                                  6 TAMARACK WAY                                                                                   SHARON             MA    02067‐2356
BETTE R BUXMAN                                     7512 KESSLER LN                                                                                  OVERLAND PARK      KS    66204‐2347
BETTE R TRIPLETT                                   126 PHOENIX DR                                                                                   EATONTON           GA    31024‐5635
BETTE RAY CALLOW                                   1629 EASTMORELAND AVE                                                                            MEMPHIS            TN    38104‐3805
BETTE S QUINN                                      1481 MARBACH DR                         APT 104                                                  WASHINGTON         MO    63090‐4637
BETTE S WEST                                       660 E EDGEWOOD DR                                                                                DANVILLE           IN    46122‐8446
BETTE WALKER CUST SONJA KRETSCHMAR UGMA MI         28 MAIN STREET UNIT 92                                                                           MASHPEE            MA    02649‐2285

BETTE WILTON NASHOLM                               2288 CHILDS LAKE ROAD                                                                            MILFORD            MI    48381‐3014
BETTE WITTMER & KEITH E WITTMER JT TEN             1512 E CENTRAL AVE                                                                               PONCA CITY         OK    74604‐5203
BETTEJANE S LUGARI                                 93 IRVING AVE                                                                                    TARRYTOWN          NY    10591‐3709
BETTI ANN DUNCAN                                   3274 SHEFFIELD RD                                                                                W CARROLLTON       OH    45449‐2766
BETTI LYNN ROTHBERG                                6223 COSTELLO AVE                                                                                VAN NUYS           CA    91401‐2251
BETTIE A BATTLE                                    4617 SUMMER OAK AVE E                   APT 813                                                  SARASOTA           FL    34243
BETTIE A COLEMAN & NATE COLEMAN JT TEN             4957 NAN LINN DR                                                                                 RICHMOND           OH    44143‐1431
                                                                                                                                                    HEIGHTS
BETTIE A HARRISON                                  3100 E PARK ROW APT 89                                                                           ARLINGTON          TX    76010
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 400 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

BETTIE B LEE                                     6037 CLARKSVILLE HWY                                                                           JOELTON          TN    37080‐8997
BETTIE B TEHAS                                   2376 S FOSTER ROAD                                                                             SAN ANTONIO      TX    78220
BETTIE C ADAMS                                   1541 WALTON ST                                                                                 WESTLAND         MI    48186‐8218
BETTIE DON ROOT                                  7901 40TH AVE N                       LOT 94                                                   ST PETERSBURG    FL    33709‐4250
BETTIE DOUGLAS TR UA 02/13/92 BETTIE DOUGLAS     1727 E 59TH PL                                                                                 TULSA            OK    74105‐7073
REVOCABLE TRUST
BETTIE E NEUMAN TR UA 03/12/92 HAROLD E NEUMAN   7369 WEST GRANT ROAD                                                                           SHELBY           MI    49455‐9589
LIVING TRUST
BETTIE E VOYTUSH & DONNA M VOYTUSH JT TEN        17621 EGO                                                                                      EAST DETROIT     MI    48021‐3171
BETTIE EASTWOOD                                  5155 NO HIGH STREET                   APT 104VG                                                COLUMBUS         OH    43214‐1525
BETTIE F CANELLAS                                13509 N SLIDE‐OFF RD                                                                           CAMBY            IN    46113
BETTIE G SHANAHAN                                1201 HICKORY HOLLOW RD                                                                         COX MILLS        WV    26342‐8245
BETTIE GORDON                                    2090 LACBUMONT                                                                                 HASLETT          MI    48840
BETTIE J BLANDEN                                 12022 MARLOWE                                                                                  DETROIT          MI    48227‐2741
BETTIE J BLANDEN & HENRY WILLIAMS JT TEN         12022 MARLOWE                                                                                  DETROIT          MI    48227‐2741
BETTIE J JACKMAN                                 6533 ARTESIAN ST                                                                               DETROIT          MI    48228‐4909
BETTIE J LARSEN                                  BOX 749                                                                                        ROSWELL          GA    30077‐0749
BETTIE J PEABODY & ALFORD E PEABODY JT TEN       3214 GINGER SNAP LANE                                                                          LANSING          MI    48911‐1510
BETTIE J PLACE & RICHARD C PLACE JT TEN          135 PINECREST DR                                                                               SANFORD          FL    32773‐5453
BETTIE J SEVERT                                  3618 N C HWY 163                                                                               WEST JEFFERSON   NC    28694
BETTIE J TOLES & LYNDA J ZECHAR JT TEN           3281 WARRINGHAM AVE                                                                            WATERFORD        MI    48329‐3049
BETTIE JANE AUTRY TR BETTIE JANE AUTRY LIVING    3043 HUNTINGTON PARK DR                                                                        WATERFORD        MI    48329‐4530
TRUST UA 05/12/95
BETTIE JEAN JOHNSON                              APT B                                 726 S LINCOLN ST                                         DENVER           CO    80209‐4083
BETTIE KYLE GILBERT FEAZEL                       419 E NORTH ST                                                                                 DUQUOIN          IL    62832‐2125
BETTIE L GREENWAY                                750 MICHAEL DR                                                                                 MORRIS           IL    60450‐3001
BETTIE L GREENWAY & CHARLES T GREENWAY JT TEN    750 MICHAEL DR                                                                                 MORRIS           IL    60450‐3001

BETTIE L HARDEN                                   2649 CLIO RD                                                                                  FLINT            MI    48504‐7164
BETTIE L HERRING                                  1123 TODDINGTON DR                                                                            MURFREESBORO     TN    37130‐5627
BETTIE L HERRON                                   ATTN BETTIE L HUNTER                 2707 WALTER ST                                           FLINT            MI    48504‐2779
BETTIE L LYLE                                     2121 MCEWAN                                                                                   SAGINAW          MI    48602‐3739
BETTIE LYNN GREENWAY & CHARLES T GREENWAY JT      750 MICHAEL DR                                                                                MORRIS           IL    60450‐3001
TEN
BETTIE M AHLES & WARREN L AHLES JT TEN            1415 PINEHILL RD                                                                              PINEVILLE        MO    64856‐9757
BETTIE M BELL                                     4219 CIMMARON TR                                                                              GRANBURY         TX    76049‐5204
BETTIE M GAY                                      49118 HAWKSBURRY ROAD                                                                         CANTON           MI    48188
BETTIE M PETRILA                                  11186 WOODWORTH ROAD                                                                          NORTH LIMA       OH    44452‐9762
BETTIE N MYERS                                    2002 EDEN ROAD                       GRAYLYN CREST 111                                        WILMINGTON       DE    19810‐3812
BETTIE RAMSEY RIVERS TR UA 09/17/81 BETTIE RAMSEY 4020 SUMAC DR                                                                                 SHERMAN OAKS     CA    91403‐4640
RIVERS
BETTIE SKELLENGER FISHER                          3353 GRAND BLANC RD                                                                           SWARTZ CREEK     MI    48473‐8881
BETTIE SOUTHERLAND                                PO BOX 702                                                                                    PRUDENVILLE      MI    48651‐0702
BETTIE T SORENSEN & RICHARD C G SORENSEN JT TEN 106 AURORA STREET                                                                               HUDSON           OH    44236‐2945

BETTIJEAN GUTHIER                                15515 AUBURN ROAD                                                                              FORT WAYNE       IN    46845‐9739
BETTINA A HARNED                                 49 CALHOUN DR                                                                                  GREENWICH        CT    06831‐4435
BETTINA ASSELTA                                  110 MORNINGSIDE ST                                                                             LEOMINSTER       MA    01453‐1689
BETTINA C LOWE                                   156 WESTON DRIVE                                                                               CHERRY HILL      NJ    08003‐2132
BETTINA GIANGARRA & CHARLES GIANGARRA JT TEN     22‐73 28TH ST                                                                                  ASTORIA          NY    11105‐2701

BETTINA H ANDERSON                               155 HILLSIDE BLVD                                                                              NEW HYDE PARK    NY    11040‐2909
BETTINA MITTERBAUER                              GARTENG 2                             3281 OBERNDORF                         AUSTRIA
BETTINA R GIANGARRA                              22‐73 28TH ST                                                                                  ASTORIA          NY    11105‐2701
BETTINA R RADFORD                                3308 CAROLINA PL                                                                               ALEXANDRIA       VA    22305‐1706
BETTINA SIGNORI                                  22260 AUDETTE                                                                                  DEARBORN         MI    48124
BETTINA STOERI                                   45738 SHASTA LN                                                                                TEMECULA         CA    92592‐1383
BETTINA TRACEY DOWNEY                            2308 EDWIN                                                                                     FORT WORTH       TX    76110
BETTIS W BRYANT                                  590 BREWTON NE                                                                                 ORANGEBURG       SC    29115‐4220
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 401 of 850
Name                                              Address1                             Address2                  Address3     Address4          City            State Zip

BETTTY L SMITH                                   2122 N FAIRFIELD DR                                                                            MARION          IN    46953‐1269
BETTY A ANTRIM TR BETTY A ANTRIM REVOCABLE TRUST 34 GLEN CREST DR                                                                               ARDEN           NC    28704‐3026
UA 04/02/98
BETTY A BARNES                                   C/O BETTY A LINDSTROM                 12880 CARDINAL CREST DR                                  BROOKFIELD      WI    53005‐6584
BETTY A BEAVERS                                  14659 HURON RIVER DR                                                                           ROMULUS         MI    48174‐3624
BETTY A BELANGEE                                 1617 CHARLES ST                                                                                ANDERSON        IN    46013
BETTY A BIRKLE & THOMAS A BIRKLE JT TEN          6430 WATERFORD HILL TER                                                                        CLARKSTON       MI    48346‐4515
BETTY A BLOOM                                    7183 SANTA FE DRIVE                                                                            DENVER          CO    80221‐3068
BETTY A BOCK                                     1302 QUINCY DRIVE                                                                              WILMINGTON      DE    19803‐5132
BETTY A BOLER                                    30824 LA MIRANDA                      UNIT 111                                                 RCHO STA MARG   CA    92688‐5810
BETTY A BORGULA                                  46574 SCOTTIA CT                                                                               CANTON          MI    48187‐3049
BETTY A BOWIE                                    4805 VIA BENSA                                                                                 AGOURA HILLS    CA    91377‐5531
BETTY A CAMERON                                  85 E LONGFELLOW AVE                                                                            PONTIAC         MI    48340‐2743
BETTY A CAMPANY                                  5843 SUTTON DRIVE RD #3                                                                        CLAY            NY    13039‐9582
BETTY A CARPENTER                                927 SUNDAY                                                                                     FLINT           MI    48532‐5070
BETTY A CASTLE                                   4901 SOUTHFIELD DR                                                                             ORIENT          OH    43146‐9149
BETTY A DANISH                                   4909 HAMDEN WAY                                                                                COLUMBUS        OH    43228‐1345
BETTY A DASHER                                   36 GILBERT AVE                                                                                 HAMDEN          CT    06514
BETTY A DE VUONO                                 904 SINCLAIR ST                       WINNIPEG MB                            R2V 2X9 CANADA
BETTY A DITTRICH                                 7378 JUSTIN'S RIDGE ROAD                                                                       NASHVILLE       IN    47448‐9660
BETTY A DYKOWSKI                                 16568 PARKLANE                                                                                 LIVONIA         MI    48154‐2166
BETTY A EMBERTON & LUTHER L EMBERTON JT TEN      3026 PEACH TREE DRIVE                                                                          LAKE PLACID     FL    33852‐9292

BETTY A FORD                                       2500 MANN RD                        LOT 84                                                   CLARKSTON       MI    48346‐4265
BETTY A FOWLER                                     450 MILLEDGE CIR                                                                             ATHENS          GA    30606‐4336
BETTY A FOX TR BETTY A FOX LIVING TRUST UA 2/18/99 10300 FOREST RD                                                                              MARION          MI    49665‐9528

BETTY A GARDINER                                  518 POINSETTIA AVE                                                                            INVERNESS       FL    34452‐4549
BETTY A GRIDLEY                                   238 VILLA DRIVE                                                                               BROOKVILLE      OH    45309‐1317
BETTY A GUIDO                                     34 RIDGE CASTLE DR                                                                            ROCHESTER       NY    14622‐2348
BETTY A HAGIE                                     ATTN BETTY COBLE                     810 OXBOW LN                                             LEWISTON        NY    14092‐1437
BETTY A HIGGS                                     160 SPRING VALLEY DR                                                                          ANDERSON        IN    46011‐1960
BETTY A HOFMAN                                    1603 STATE                                                                                    SAGINAW         MI    48602‐5245
BETTY A HOWLETT                                   C/O DEAN A & JAN M WAGNER            2354 E FRANCES RD                                        CLIO            MI    48420‐9769
BETTY A HULL                                      1768 QUEENSBRIDGE DR                                                                          INDIANAPOLIS    IN    46219‐2405
BETTY A HUNT                                      6647 ROAD 24                                                                                  CONTINENTAL     OH    45831‐8916
BETTY A HYSLOP                                    3335 GLENVIEW DR                                                                              AIKEN           SC    29803
BETTY A KAZA & KATHLEEN A HOLDERMAN JT TEN        40358 NEWPORT DR                                                                              PLYMOUTH        MI    48170‐4736
BETTY A KAZA & PHYLLIS K FRASE JT TEN             40358 NEWPORT DR                                                                              PLYMOUTH        MI    48170‐4736
BETTY A KITCHEN                                   20824 N E 172ND STREET                                                                        HOLT            MO    64048‐8731
BETTY A KLINGER                                   460 TAMARACK LANE                                                                             NOBLESVILLE     IN    46060‐9131
BETTY A KNOWLES                                   707 CANNON                                                                                    EULESS          TX    76040‐5310
BETTY A KOEPPEL                                   212 BOYMEL PAVILION                                                                           MIDDLETOWN      OH    45044‐7800
BETTY A LEE & JOYCE C UYENO JT TEN                4241 BANYAN AVE                                                                               SEAL BEACH      CA    90740‐2806
BETTY A LEMBKE                                    C/O BETTY A WRIGHT                   8625 MESKILL ROAD                                        COLUMBUS        MI    48063‐1900
BETTY A LINDSTROM                                 12880 CARDINAL CREST DRIVE                                                                    BROOKFIELD      WI    53005‐6584
BETTY A LITZA                                     8723 S PENNSYLVANIA AVE                                                                       OAK CREEK       WI    53154‐4009
BETTY A LIVINGSTON                                315 DEVON DR                                                                                  CHESTERTOWN     MD    21620‐3366
BETTY A LUCKETT                                   649 BROOKSIDE LN                                                                              PLAINFIELD      IN    46168‐2109
BETTY A LUTE TR BETTY A LUTE REVOCABLE LIVING     2375 E ERIE AVENUE                                                                            LORAIN          OH    44052‐2319
TRUST UA 04/16/01
BETTY A LYDIC                                     4142 AUMBREY CT                                                                               NEW ALBANY      OH    43054‐8188
BETTY A MACHEN                                    12320 BRISTOW RD                                                                              BRISTOW         VA    20136‐1617
BETTY A MARQUESS TR BETTY A MARQUESS TRUST UA     3249 38TH AVE                                                                                 ROCK ISLAND     IL    61201‐6459
03/31/94
BETTY A MARSH                                     1765 N HICKORY RIDGE TRAIL                                                                    MILFORD         MI    48380‐3137
BETTY A MC ALHANEY CUST KEVIN W MC ALHANEY        3731 BLUEBIRD LANE                                                                            ROLLING MEADOWS IL    60008‐2815
UGMA IL
BETTY A MCCOLLUM                                  130 E MADISON                                                                                 PETERSBURG      MI    49270‐9762
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 402 of 850
Name                                               Address1                              Address2                    Address3   Address4          City               State Zip

BETTY A MOUZON                                     14 HOPETON DR                                                                                  ROCHESTER         NY     14624‐5210
BETTY A MOWERY                                     2273 N OAK RD                                                                                  DAVISON           MI     48423‐8170
BETTY A NEGUS                                      1011 N GLENWOOD DR                                                                             HASTINGS          MI     49058‐1117
BETTY A NEWMAN                                     10 NORTH CENTENNIAL                                                                            HOLLAND           OH     43528‐8951
BETTY A NEWMAN & ROBERT E NEWMAN JT TEN            10 N CENTENNIAL ROAD                                                                           HOLLAND           OH     43528‐8951
BETTY A O'DELL                                     3000 SWIFT APT 219                                                                             NORTH KANSAS CITY MO     64116

BETTY A PADULO                                     7225 LANE RD                                                                                   VICTOR             NY    14564‐9701
BETTY A PARHAM                                     3933 NORTHSTRAND DR                                                                            DECATUR            GA    30035‐2369
BETTY A PELTON TR BETTY A PELTON TRUST UA          6130 WESTMINISTER DR                                                                           PARMA              OH    44129‐4924
09/02/93
BETTY A PETRIGALLA                                 2165 NORTH PARK AVE N W                                                                        WARREN             OH    44483‐3420
BETTY A POTTER & NANCY C POTTER JT TEN             3416 SOUTHGATE DR                                                                              FLINT              MI    48507‐3223
BETTY A REZENDES                                   4114 WALTHAM FORREST DRIVE                                                                     TAVARES            FL    32778
BETTY A ROGERS                                     514 WEST ENGLEWOOD AVE                                                                         TEANECK            NJ    07666‐2946
BETTY A SALISBURY & CONNIE B SHUTES JT TEN         8665 MASON RD                                                                                  BROWN CITY         MI    48416‐8659
BETTY A SEARS                                      1 GILLIAN DR                                                                                   LAKEVILLE          MA    02347
BETTY A SMITH                                      PO BOX 803                                                                                     INKSTER            MI    48141
BETTY A SNYDER                                     19 HANCOCK ST                                                                                  CLINTON            NJ    08809‐1201
BETTY A SNYDER                                     11866 S STRAWTOWN PIKE                                                                         KOKOMO             IN    46901‐7557
BETTY A SOUTHWORTH                                 10550 SOUTH FOURTH AVE                                                                         OAK CREEK          WI    53154‐6718
BETTY A STRADER                                    8 HAYWOOD FARM                                                                                 LYNNFIELD          MA    01940
BETTY A TAPAK                                      1238 TIOGA TRL                                                                                 WILLOUGHBY HILLS   OH    44094‐7363

BETTY A TATE                                       3732 PROVIDENCE ST                                                                             FLINT              MI    48503‐4549
BETTY A TATMAN                                     110 PILGRAM                                                                                    PORTLAND           IN    47371‐1252
BETTY A TUCICH                                     228 KING ST                                                                                    LITTLE ELM         TX    75068‐4303
BETTY A ULBRICH                                    3203 MCDOWELL                                                                                  FERNDALE           MI    48220‐1138
BETTY A WRIGHT                                     8625 MESKILL RD                                                                                COLUMBUS           MI    48063‐1900
BETTY A WRIGHT                                     8625 MESKILL ROAD                                                                              COLUMBUS           MI    48063‐1900
BETTY ALICE DICKEY                                 2636 E GLENWOOD                                                                                SPRINGFIELD        MO    65804‐3422
BETTY ANN BIRKLE                                   6430 WATERFORD HILL TERRACE                                                                    CLARKSTON          MI    48346‐4515
BETTY ANN BROOKS                                   385 RIPPLEWOOD DRIVE                                                                           ROCHESTER          NY    14616‐1551
BETTY ANN FRISCH                                   21 COUNTRY CLUB PL                                                                             BLOOMINGTON        IL    61701‐3486
BETTY ANN HALL TR UA 07/28/89 M‐B BETTY ANN HALL   1326 CEDAR DRIVE                                                                               BIRMINGHAM         MI    48009‐1780

BETTY ANN HARDESTY & GEORGE R HARDESTY JR JT TEN 301 WALNUT STREET                                                                                BRIDGEVILLE        DE    19933‐1241

BETTY ANN HARKIN                                   1012 W DEERBROOK DRIVE                                                                         PEORIA             IL    61615‐1017
BETTY ANN HOFFMAN                                  2714 LATONIA AVE                                                                               DAYTON             OH    45439‐2925
BETTY ANN KILDAY DROGULA                           3306 FESSENDEN ST NW                                                                           WASHINGTON         DC    20008‐2033
BETTY ANN LONG                                     510 NORTH FOURTH ST                                                                            SILSBEE            TX    77656‐4134
BETTY ANN LOPEZ                                    6395 S VASSAR RD                                                                               VASSAR             MI    48768
BETTY ANN MARSH                                    7540 SUNSHINE SKYWAY LN S             APT 218                                                  ST PETERSBURG      FL    33711
BETTY ANN MC GEE                                   2126 W CARSON RD                                                                               PHOENIX            AZ    85041‐6528
BETTY ANN MOHR                                     33 WINDING WAY                                                                                 FRT THOMAS         KY    41075‐1247
BETTY ANN P CRAMER                                 922 OAKRIDGE DR                                                                                MORRISVILLE        NC    28115‐2765
BETTY ANN PRESCOTT                                 C/O BETTY ANN PRESCOTT AGUIRRE        1400 HUNTERS RIDGE DR #60                                GENOA NEWARD       WI    53128‐2537
                                                                                                                                                  CITY
BETTY ANN SCHULTZ MUTH                          43 JARVIS PL                                                                                      LYNBROOK           NY    11563‐3701
BETTY ANN SCOFIELD                              32625 W CHICAGO                                                                                   LIVONIA            MI    48150‐3734
BETTY ANN SMITH TOD BARRY RICHARD SMITH SUBJECT 205 WESTON RD                                                                                     ROCHESTER          NY    14612
TO STA TOD RULES
BETTY ANN SMITH TOD KAREN ANN VANDERBURGH       205 WESTON RD                                                                                     ROCHESTER          NY    14612
SUBJECT TO STA TOD RULES
BETTY ANN WALKER                                2130 FAYETTE DR                                                                                   RICHMOND           KY    40475‐3220
BETTY ANN WOLF                                  1102 SUNNYSLOPE DR                                                                                CINCINNATI         OH    45229‐1126
BETTY ANNE DERICCO                              11721 OLD REDWOOD HIGHWAY                                                                         HEALDSBURG         CA    95448‐9504
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 403 of 850
Name                                               Address1                              Address2                  Address3     Address4          City             State Zip

BETTY ANNE HANCOCK & JENNIFER JO BIRDSONG JT TEN 5105 S INDIAN RIVER DR                                                                           FORT PIERCE      FL    34982‐7726

BETTY ANNE MOAK                                    94 UNIVERSITY AVE                                                                              BRIDGETON        NJ    08302‐3242
BETTY ARENA                                        6 KRISTEN CT                                                                                   TOWACO           NJ    07082‐1011
BETTY B ALLEN                                      360 N HAWKINS                                                                                  AKRON            OH    44313‐6160
BETTY B BAKER TR BETTY BUDGE BAKER TRUST UA        5201 ROMA AVENUE NE APT 319                                                                    ALBUQUERQUE      NM    87108
07/05/05
BETTY B BOGUSCH                                    2759 NEWCASTLE DR                                                                              ORANGE PARK      FL    32065‐5829
BETTY B CHAZAL                                     122 SE WENONA AVE                                                                              OCALA            FL    34471‐2221
BETTY B COGHILL                                    1822 ENCINO RIO                                                                                SAN ANTONIO      TX    78259‐1812
BETTY B GLASCOCK                                   207 WENTWORTH DRIVE                                                                            GREENSBORO       NC    27408‐6519
BETTY B GOLASZEWSKI & JAN GOLASZEWSKI JT TEN       632 LOCUSTFIELD RD                                                                             E FALMOUTH       MA    02536‐5059

BETTY B HORNBECK                                   PO BOX 1191                                                                                    LONGVIEW         TX    75606‐1191
BETTY B JOHNSON                                    4010 GREENFIELD DRIVE                                                                          ANDERSON         IN    46013‐5029
BETTY B KELMAN                                     PO BOX 5436                                                                                    SAGINAW          MI    48603‐0436
BETTY B KIRBY                                      3407 MADISON AVE                                                                               FAYETTEVILLE     NC    28304‐1508
BETTY B LEVIN TR UA 01/25/89 BETTY B LEVIN         250 HAMMOND POND PKWY                 APT 206N                                                 CHESTNUT HILL    MA    02467
REVOCABLE TRUST
BETTY B LITTELL                                    2260 OVERLAND AVE NE                                                                           WARREN           OH    44483‐2815
BETTY B MOORE                                      301 WOODCROFT AVE                                                                              WILMINGTON       DE    19809‐2738
BETTY B MORGAN                                     3437 DERBY LANDING CIRCLE                                                                      LEXINGTON        KY    40513‐1151
BETTY B PHELPS                                     1871 ELBERT DR                                                                                 ROANOKE          VA    24018‐2751
BETTY B SCHNEIDER                                  11577 PLEASANT SHORE DR                                                                        MANCHESTER       MI    48158‐9792
BETTY B SCOTT                                      104 N JAMALEE WAY                                                                              PENDLETON        IN    46064‐9148
BETTY B WRIGHT                                     PO BOX 447                                                                                     MIDDLESEX        NC    27557‐0447
BETTY BAILEY                                       2318 S HAMILTON ST                                                                             SAGINAW          MI    48602‐1209
BETTY BELL MILLER                                  R D 1 BOX 324                         HARDSCRABBLE ROAD                                        BERNARDSVILLE    NJ    07924‐9801
BETTY BENEFIEL DUCKWORTH                           507 WALNUT ST BOX 78                                                                           FRANKTON         IN    46044‐0078
BETTY BEROTH & ARNOLD BEROTH JT TEN                420 N CLERMONT AVE                                                                             MARGATE CITY     NJ    08402‐2032
BETTY BIDELMAN                                     311 HUNTSFORD DR                                                                               MACEDONIA        OH    44056‐1744
BETTY BLAKEY HARLAN                                8705 SHADOW LANE                                                                               RICHMOND         VA    23229‐7920
BETTY BOOTHBY                                      110 WEST POINT PLACE                                                                           MOUNT ORAB       OH    45154
BETTY BOSSART SPLENDORE & WILLIAM SPLENDORE        219 HITCHMAN ST                                                                                MOUNT PLEASANT   PA    15666‐2411
TEN ENT
BETTY BROOKE MC CORD                               427 CLUB LANE                                                                                  LOUISVILLE       KY    40207‐1801
BETTY BROWN MASON                                  9000 BELVOIR WOODS PKY APT 210                                                                 FORT BELVOIR     VA    22060
BETTY BROWN SUTTON                                 913 ARCADE                                                                                     GOODLAND         KS    67735‐3421
BETTY BRYANT BROWN                                 427 BRITTANY DOWNS                                                                             MACON            GA    31210
BETTY BUBEN                                        210 ZIMMERMAN RD                                                                               HAMPSHIRE        TN    38461
BETTY C AUGUSTA                                    314 ANN ST                                                                                     NILES            OH    44446‐3004
BETTY C BOULDIN & BILLY G BOULDIN JT TEN           67 FOSSETT LANE                                                                                ALBERTVILLE      AL    35951‐3347
BETTY C BRASHER                                    5580 VEGA DRIVE                                                                                MILTON           FL    32570‐3763
BETTY C COFFEY                                     6545 HAVEN ST                                                                                  UNION CITY       GA    30291‐1844
BETTY C CONLEY TR BETTY C CONLEY LIVING TRUST UA   3500 HILLSTONE COURT                                                                           ATLANTA          GA    30319‐1919
7/24/98
BETTY C FRANKLIN                                   10909 BORNEDALE DR                                                                             ADELPHI          MD    20783‐1010
BETTY C FRAZEE                                     ATTN BETTY C HOLLAND                  10875 N COUNTY RD 900 E                                  BROWNSBURG       IN    46112‐9642
BETTY C FRAZEE                                     10875 N CO RD #900E                                                                            BROWNSBURG       IN    46112‐9642
BETTY C GALLO                                      3100 CARLISLE DR                                                                               AUSTIN           TX    78757‐4308
BETTY C GIESE                                      3311 SQUIRREL HOLLOW                                                                           AUSTIN           TX    78748‐1857
BETTY C GOSS                                       12222 CHAPIN RD                                                                                BERLIN HTS       OH    44814‐9536
BETTY C GUMMERUS‐GLEN & PAUL W GUMMERUS JT         200 5TH ST                                                                                     LOTHIAN          MD    20711‐9521
TEN
BETTY C HAMADA                                     8315 PALAIS ROAD                                                                               STANTON          CA    90680‐1716
BETTY C HIGGINS                                    1076 NEW HAVEN DR                                                                              MARIETTA         GA    30064‐1924
BETTY C HOTT & GEORGE A HOTT JT TEN                215 SPRING AVE                                                                                 MOOREFIELD       WV    26836‐1032
BETTY C HUTCHESON                                  3932 LAIRD LANE                                                                                CHATTANOOGA      TN    37415‐3620
BETTY C LYNCH                                      732 N 12TH ST                                                                                  MIAMISBURG       OH    45342‐1964
                                              09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 404 of 850
Name                                                 Address1                               Address2             Address3          Address4          City            State Zip

BETTY C MANUS                                        1005 KENTWOOD DRIVE                                                                             BLACKSBURG      VA    24060‐5320
BETTY C MAYESKE                                      7155 CANE LEAF DRIVE                                                                            FAIRBURN        GA    30213‐2623
BETTY C MCMILLAN                                     129 ELMWOOD AVE EAST                                                                            DAYTON          OH    45405‐3534
BETTY C MOORE                                        23253 S BROOKSIDE DR                                                                            DEARBORN HTS    MI    48125‐2320
BETTY C PRINCE                                       459 GIZZARD PT RD                                                                               SCOTTSBORO      AL    35768
BETTY C RIGGS                                        PO BOX 235                                                                                      TIPTON          IN    46072‐0235
BETTY C SCHACHER                                     19 SCHWEID CT                                                                                   FAIR LAWN       NJ    07410‐2739
BETTY C STAINES                                      10380 S 1000 E                                                                                  UPLAND          IN    46989‐9736
BETTY C WILSON                                       25760 LAKE RD                                                                                   BAY VILLAGE     OH    44140‐2558
BETTY CALCAGNO                                       100 ALLIE LANE                                                                                  LULING          LA    70070
BETTY CAMPBELL & LEWIS CAMPBELL JT TEN               PO BOX 29339                                                                                    LAUGHLIN        NV    89029‐9339
BETTY CAROL MORRIS                                   1513 PHILOMENE BLVD                                                                             LINCOLN PARK    MI    48146‐2316
BETTY CARVER & STEVEN K STAHLBERGER JT TEN           32900 GRAND RIVER AVE                  APT 528                                                  FARMINGTON      MI    48336‐3178
BETTY CHAGRIN                                        4306 SCOTCH ROSE                                                                                PIKESVILLE      MD    21208
BETTY CHARTIER                                       13643 IRENE CT                                                                                  WARREN          MI    48093‐3706
BETTY CHILDRESS                                      2072 NANCY WAY SW                                                                               LOGANVILLE      GA    30052‐3826
BETTY CLARK                                          34 W BIRCH                                                                                      MEDWAY          OH    45341‐1308
BETTY CONRAD JR                                      15 W RUSSELL ST BOX 184                                                                         KINGMAN         IN    47952‐0184
BETTY CROCKETT SAMUEL                                344 CHARLESTON PL                                                                               HURST           TX    76054‐3538
BETTY D BERTHOLF                                     1800 MONTGOMERY AVE                                                                             BAKERSFIELD     CA    93304‐4963
BETTY D COOPER                                       5163 SOUTHMINSTER RD                                                                            COLUMBUS        OH    43221‐5252
BETTY D COSTANZA                                     8138 CHERRY HILL DR N E                                                                         WARREN          OH    44484‐1560
BETTY D DAUFFENBACH                                  112 ROSALIE AVE                                                                                 FLORENCE        MS    39073‐8841
BETTY D DECKER & CHERYL TOUROO & KAREN PRUETER       120 GRANDVIEW BLVD APT E114                                                                     GAYLORD         MI    49735
JT TEN
BETTY D EVANS                                        1102 WEIGHTMAN                                                                                  GREENWOOD       MS    38930‐2440
BETTY D EVERETT                                      7052 SUGARPLUM RD                                                                               NASHVILLE       TN    37211‐8562
BETTY D FESMIRE                                      2603 E 900 S                                                                                    MARKLEVILLE     IN    46056‐9720
BETTY D GREENE                                       171 MARTIN RD                                                                                   ROCKMART        GA    30153‐4130
BETTY D KEPLEY                                       4801 S WADSWORTH BLVD                  APT 12‐102                                               LITTLETON       CO    80123‐2436
BETTY D KIZALA                                       PO BOX 1325                                                                                     LIBERTY         MO    64069‐1325
BETTY D LEIDIG TR EUGENE J LEIDIG FAMILY TRUST UA    279 TURNBERRY DR                                                                                VALPARAISO      IN    46385‐9273
08/20/06
BETTY D MOWERY & WILLIAM S MOWERY JT TEN             PO BOX 310                                                                                      KEY WEST        FL    33041‐0310
BETTY D POLING & RALPH L POLING JT TEN               1627 S ELLAMONT ST                                                                              BALTIMORE       MD    21230‐1005
BETTY D SCHMITT                                      2949 HILLTOP CT                                                                                 ANDERSON        IN    46013‐9753
BETTY D STEELE TR UA 01/10/90 BETTY D STEELE TRUST   307 CRESTWOOD LANE                                                                              LARGO           FL    33770‐4608

BETTY D VENTIMIGLIA                                  5901 DIXIE HWY                         APT 105                                                  CLARKSTON       MI    48346‐3330
BETTY D WEESE                                        17823 N 34TH DR                                                                                 PHOENIX         AZ    85053‐1614
BETTY DAMRON                                         443 W MAIN ST                                                                                   PLAIN CITY      OH    43064‐1036
BETTY DAVIS ALLEN                                    1980 PARKHILL DR                                                                                DAYTON          OH    45406‐2714
BETTY DEAN LUEKEN & LEONARD J LUEKEN JT TEN          527 SUNNINGWELL DR                                                                              SAINT LOUIS     MO    63119‐4840
BETTY DEAN PARMENTER TR BETTY DEAN PARMENTER         7105 MISSION RD                        APT 360                                                  PRAIRIE VLG     KS    66208‐3098
TRUST UA 06/17/94
BETTY DEXTER                                         7 CAYUGA CIR                                                                                    PLYMOUTH         MA   02360‐4818
BETTY DICKASON                                       201 FRED TAYLOR RD                                                                              SILETZ           OR   97380‐9708
BETTY DOWNEY & WILLIAM DOWNEY JT TEN                 107 HALLS HARBOR RD                                                                             HARBINGER        NC   27941‐9736
BETTY E AGUILAR                                      10109 EAST 83RD TERRACE                                                                         RAYTOWN          MO   64138‐3410
BETTY E ALKIRE                                       267 HUME DR                                                                                     LONDON           OH   43140‐9277
BETTY E ALLEN                                        17296 HAMPTON BLVD                                                                              BOCA RATON       FL   33496‐3013
BETTY E BAILEY                                       1041 SAVANNAH DRIVE                                                                             COLUMBUS         OH   43228‐3583
BETTY E BARRETT                                      4437 SUNSET BLVD                                                                                GRAND BLANC      MI   48439‐9055
BETTY E BOYLAN TR BETTY E BOYLAN TRUST UA 5/6/98     5845 WILLIAMSBURG DR                                                                            HIGHLAND HEIGHTS OH   44143‐2021

BETTY E CLAUDE                                       8900 GINGER WAY DRIVE                                                                           RICHMOND        VA    23229‐7066
BETTY E DAVIS                                        1115 CLAY ROAD                                                                                  MABLETON        GA    30126‐2113
BETTY E FAIST                                        831 LACEY RD                                                                                    HENAGAR         AL    35978
BETTY E FERGUSON & JAMES E FERGUSON JT TEN           2106 FORD COURT                                                                                 ROCHESTER       IN    46975‐9767
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 405 of 850
Name                                               Address1                             Address2               Address3        Address4          City              State Zip

BETTY E GROLL & WILLIAM J GROLL JR JT TEN          5200 TOWN CENTER CIR                 STE 500                                                  BOCA RATON        FL    33486‐1024
BETTY E GRONEMEYER                                 12701 ST ANDREW DR                                                                            KANSAS CITY       MO    64145‐1146
BETTY E MARTIN & RUSSELL MARTIN SR JT TEN          8 N BENTON AVE                                                                                YOUNGSTOWN        OH    44515‐1722
BETTY E MILLER                                     419 EVAN AVE                                                                                  ANDERSON          IN    46016‐5094
BETTY E PETTY                                      1511 CRESTHAVEN DR                                                                            ARLINGTON         TX    76013‐3230
BETTY E RINEHART                                   12 CLIVE AVE                                                                                  MOUNDSVILLE       WV    26041‐1874
BETTY E ROE                                        PO BOX 734                                                                                    ORTONVILLE        MI    48462‐0734
BETTY E SCHWARTZ                                   29 FAIRWAY DR                                                                                 MANHASSET         NY    11030‐3906
BETTY E SMITH                                      450 BURNS RD                                                                                  VINCENT           AL    35178‐9101
BETTY E SNELL                                      1876 NILES CORTLAND RD NE                                                                     WARREN            OH    44484‐1057
BETTY E SZABO & BERT LESLIE SZABO JT TEN           730 W CURRY STREET                                                                            CHANDLER          AZ    85225
BETTY E SZABO & RICHARD MICHAEL SZABO JT TEN       3858 RED ARROW RD                                                                             FLINT             MI    48507‐5402

BETTY E SZABO & RONALD LEE SZABO JT TEN            3858 RED ARROW RD                                                                             FLINT             MI    48507‐5402
BETTY E WICKHAM                                    10643 E DESERT COVE AVE                                                                       SCOTTSDALE        AZ    85259
BETTY E WOOD                                       690 RUTGERS ROAD                                                                              ROCHESTER HILLS   MI    48309‐2543
BETTY E WOOD & HENRY R WOOD JT TEN                 690 RUTGERS RD                                                                                ROCHESTER HILLS   MI    48309‐2543
BETTY E ZAIMES                                     90 ANCHOR DR                                                                                  INDN HBR BCH      FL    32937‐3561
BETTY EASTMAN                                      6518 RIVERSIDE AVE                                                                            LEAVITTSBURG      OH    44430‐9745
BETTY ELAINE THOMAS                                4496 MARKET SQ                                                                                FLINT             MI    48506‐1597
BETTY EMBERTON                                     3026 PEACH TREE DRIVE                                                                         LAKE PLACID       FL    33852‐9292
BETTY EMERY MINER                                  915 NW ELIZABETH DR                                                                           CORVALLIS         OR    97330‐2307
BETTY EPPERSON                                     122 MOTON DR                                                                                  SAGINAW           MI    48601‐1464
BETTY ERICKSON                                     713 WILLOW VALLEY LAKES DRIVE                                                                 WILLOW STREET     PA    17584‐9401
BETTY EUNICE BAKER                                 128 COLONIAL CIR                                                                              GERMANTOWN        OH    45327‐7301
BETTY F BATTEE                                     2204 MILTON ST S E                                                                            WARREN            OH    44484‐5245
BETTY F BENDER TOD NEAL A BENDER                   1920 HILLENDALE RD                                                                            CHADDS FORD       PA    19317
BETTY F BOWERSOCK                                  ATTN BETTY B ZINN                    2602 RIVER RD                                            VIENNA            WV    26105‐1544
BETTY F COLSON                                     112 WEST AVONDALE DRIVE                                                                       GREENSBORO        NC    27403‐1415
BETTY F DEWITT                                     C/O STEVE A DEWITT POA               4309 SPRINGMOOR DR E                                     JACKSONVILLE      FL    32225
BETTY F EDWARDS                                    2516 BRYAN DR                                                                                 WILM              DE    19808‐3704
BETTY F GLEISLE                                    440 THOMAR DR                                                                                 WEBSTER           NY    14580‐1737
BETTY F GLICK                                      4100 MOORES LN                       APT 138                                                  TEXARKANA         TX    75503‐5109
BETTY F HAESELIN                                   39 QUAKEROAK ROAD                                                                             LEVITTOWN         PA    19057‐2033
BETTY F HAY                                        13398 IRVING                                                                                  ALDEN             NY    14004‐1112
BETTY F HAYES                                      416 HUNTCLIFF POINT                                                                           AIKEN             SC    29803‐9282
BETTY F KELLER                                     9940 S WAGSTAFF CIRCLE                                                                        RICHMOND          VA    23236‐3814
BETTY F LUTHANEN                                   550 HEMLOCK RD                                                                                CHAGRIN FALLS     OH    44022‐3990
BETTY F MILLER                                     8649 CHALMETTE DR                                                                             SHREVEPORT        LA    71115
BETTY F SIMMONS                                    1527 OAK KNOLL AVE SE                                                                         WARREN            OH    44484‐4954
BETTY FABRYKANT                                    29 DAWSON LN                                                                                  MONROE TWP        NJ    08831‐2660
BETTY FAHSELD TR BETTY FAHSELT TRUST UA 08/24/95   1252 N PLANK RD                                                                               TAWAS CITY        MI    48763‐9758

BETTY FAREKAS                                      1947 E CHARLES ST                                                                             SOUTH BEND        IN    46637‐5602
BETTY FAYE FLETCHER                                21487 HWY‐278                                                                                 WILLISTON         SC    29853‐3801
BETTY FAYE W FLECTCHER                             21487 HWY 278                                                                                 WILLISTON         SC    29853‐3801
BETTY FEDOR NEUMANN                                466 I ST                                                                                      CHULA VISTA       CA    91910‐5438
BETTY FESNAK SCHERRY                               6712 THOREAU DRIVE                                                                            PARMA             OH    44129‐6348
BETTY FRANCES ROGERS & THOMAS CARL ROGERS JT       7319 S 150 W                                                                                  PENDLETON         IN    46064‐9138
TEN
BETTY FRANCES TAYLOR                               5807 SHANNON CREEK RD                                                                         GOOD SPRING       TN    38460‐5262
BETTY G CRITCHLEY                                  49 OSBORNE DR                        MT MARTHA VIC                          3934 AUSTRALIA
BETTY G DURHAM                                     129 WILLOW DRIVE                     LASALLE ON                             N9J 1W7 CANADA
BETTY G GAGEN                                      CONCORD VILLAGE APT E‐223            6723 S ANTHONY BLVD                                      FORT WAYNE        IN    46816‐2045
BETTY G HARDENBURG                                 7894 GLACIER CLUB DRIVE                                                                       WASHINGTON        MI    48094‐2222
BETTY G HEALY                                      1650 THE CHASE                       MISSISSAUGA ON                         L5M 5A2 CANADA
BETTY G HEALY                                      1650 THE CHASE                       MISSISSAUGA ON                         L5M 5A2 CANADA
BETTY G HOUSTON                                    448 LAKEWOOD DR                                                                               BIRMINGHAM        AL    35209‐5537
BETTY G JONES & HAROLD V JONES JT TEN              9401 NIVER                                                                                    ALLEN PARK        MI    48101‐1541
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 406 of 850
Name                                            Address1                               Address2             Address3          Address4          City               State Zip

BETTY G LINDSAY                                 207 IRON BRIDGE RD                                                                              FREEPORT        PA       16229‐1717
BETTY G MC DEARMOND                             1153 WEST PLUM VALLEY RD                                                                        MASONLONA       MI       49659‐9589
BETTY G REEVES                                  900 KINGSTON DR                                                                                 HAMILTON        OH       45013
BETTY G ROBINSON                                16164 VERONICA AV                                                                               EASTPOINTE      MI       48021‐3642
BETTY G VAN DYKE                                3068 SANTA MARIA AVE                                                                            CLERMONT        FL       34715‐8025
BETTY G WILLIAMS                                3100 E HENDERSON ROAD                                                                           OWOSSO          MI       48867‐9664
BETTY G WILLIS                                  2942 BELAIRE CIRCLE                                                                             DORAVILLE       GA       30340‐3237
BETTY GAIL BASS                                 3544 GALAXY BLVD                                                                                STERLING HTS    MI       48314
BETTY GARDNER EASLEY                            1039 20TH AVENUE LN NW                                                                          HICKORY         NC       28601‐1765
BETTY GENEVIEVE ELKINS                          2008 NEBRASKA AVE                                                                               FLINT           MI       48506‐3736
BETTY GIBBONS PARKER                            6800 OAKHURST DR                                                                                OCEAN SPRINGS   MS       39564‐8449
BETTY GILGER                                    8265 MALONE RD                                                                                  SHILOH          OH       44878‐8983
BETTY GINSBERG HUT                              920 FOREST AVE                                                                                  RYE             NY       10580‐3106
BETTY GLASGO LITTLE                             297 LITTLE ROAD                                                                                 HAMPTON         GA       30228‐1832
BETTY GOLDBERG & SOL GOLDBERG JT TEN            2170 E 17TH ST                                                                                  BROOKLYN        NY       11229‐4404
BETTY GOVINSKY                                  11 REEDS RD                                                                                     TINTON FALLS    NJ       07724‐3125
BETTY GRAESSLIN                                 1248 TERRACE ST                                                                                 JANESVILLE      WI       53546‐5537
BETTY H ADGERS                                  9902 MARINA CT                                                                                  FORT WASHINGTON MD       20744‐6920

BETTY H ADGERS & HILLARD S ADGERS JT TEN        9902 MARINACT                                                                                   FORT WASHINGTON MD       20744

BETTY H ALEXANDER                               3932 LAIRD LANE                                                                                 CHATTANOOGA        TN    37415‐3620
BETTY H ARMSTRONG TR UA 01/30/85 BETTY H        8523 S MARITIME PLACE                                                                           TUCSON             AZ    85756
ARMSTRONG AS GRANTOR
BETTY H BRADSHAW                                600 SC R142                                                                                     MORTON             MS    39117
BETTY H BUTCHER                                 1308 N STOCKTON HILL RD                STE A                                                    KINGMAN            AZ    86401‐5190
BETTY H CAMPBELL & JANE H MOORE EX UW DORIS W   2917 STONEWALL AVE                                                                              RICHMOND           VA    23225‐3554
HARLOW
BETTY H CARTER                                  C/O BETTY C HUTCHESON                  3932 LAIRD LANE                                          CHATTANOOGA        TN    37415‐3620
BETTY H CONLEY                                  HC 81 BOX 94B                                                                                   TUNNELTON          WV    26444‐9514
BETTY H COOMBS                                  2107 BURNS LANE                                                                                 CAMDEN             SC    29020‐1705
BETTY H DAVIS                                   2498 TUTTLE RD                                                                                  WALNUT COVE        NC    27052‐7902
BETTY H DUBICK                                  3525 ROYAL PALM AVE                                                                             COCONUT GROVE      FL    33133‐6224
BETTY H DUCKWORTH                               6527 OCALA COURT                                                                                CENTERVILLE        OH    45459‐1941
BETTY H EASTWOOD                                13345 MERCER DRIVE                                                                              ALDEN              NY    14004‐1115
BETTY H GOLDMAN                                 4422 DELEN DRIVE                                                                                PANAMA CITY        FL    32404
BETTY H HARDMAN & GERALD HARDMAN JT TEN         1501 SUTTON DR                                                                                  KINSTON            NC    28501‐2611
BETTY H JONES                                   110 BLUE RIDGE DR                                                                               BLUE RIDGE         VA    24064‐1013
BETTY H LOUGH                                   108 HICKORY RD                                                                                  GREENVILLE         PA    16125‐9229
BETTY H MATTHEWS                                2902 LAKESHORE DRIVE                                                                            COLLEGE PARK       GA    30337‐4418
BETTY H MCNULTY                                 222 ALDEN RD                           APT B                                                    ROCHESTER          NY    14626‐2453
BETTY H MUELLER                                 141 WEDGEWOOD DR                                                                                PITTSBURGH         PA    15229‐1086
BETTY H QUEENER                                 9647 DAYTON CINCINNATI PIKE                                                                     MIAMISBURG         OH    45342
BETTY H RAY                                     45 W MAIN ST                                                                                    SEVILLE            OH    44273‐9576
BETTY H SEBASTIAN                               1200 SPRING VALLEY ROAD                                                                         LONDON             OH    43140‐8985
BETTY H SHIPMAN                                 43 SHADYWOOD DRIVE                                                                              ROCHESTER          NY    14606‐4941
BETTY H SIMMERMON                               1237 S 925W                                                                                     LAPEL              IN    46051‐9759
BETTY H SWINDALL                                3033 DEBRA DR                                                                                   FULTONDALE         AL    35068‐1028
BETTY H TIDWELL                                 7181 2ND W AV                                                                                   ONEONTA            AL    35121‐3247
BETTY H YOUNGBLOOD                              236 KEY WEST BLVD                                                                               CARLISLE           PA    17015‐8546
BETTY H ZAHNLEITER                              63 SOUTH ST                                                                                     CASTLETON          VT    05735‐9256
BETTY HAGOPIAN & JOHN L HAGOPIAN JT TEN         39350 ROLAND DR                                                                                 STERLING HEIGHTS   MI    48310‐2769

BETTY HAMPTON                                   22146 BRITTANY                                                                                  EAST DETROIT       MI    48021‐4022
BETTY HANSON WILSON                             P O DRAWER 99                                                                                   BRAZORIA           TX    77422‐0099
BETTY HAWKINS TR BETTY R HAWKINS REVOCABLE      PO BOX 606                                                                                      ALMA               MI    48801‐0606
TRUST UA 08/31/98
BETTY HAYS HAZLIP                               HC 61 BOX 40                                                                                    WATERPROOF         LA    71375‐9702
BETTY HENNESSEE                                 2548 PACES LANDING DR                                                                           CONYERS            GA    30012‐2910
                                                09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 407 of 850
Name                                                  Address1                              Address2             Address3          Address4          City            State Zip

BETTY HIGGINS                                         2135 W MALLORY AVE                                                                             MILWAUKEE       WI    53221‐4260
BETTY HILLMAN                                         1138 STAFFORD PL                                                                               DETROIT         MI    48207‐4963
BETTY HISEY DALTON                                    5165 SIERRA CIR                                                                                DAYTON          OH    45414‐3696
BETTY HOPKINS WITTY                                   1053 CEDAR HILL DR                                                                             JACKSON         MS    39206‐6118
BETTY HUGHES & WILLIAM HUGHES TEN ENT                 223 FAIRVIEW AVE                                                                               BUTLER          PA    16001‐6449
BETTY HUGHES PERS REP EST RAYMOND HUGHES              10 HOLLYBERRY LN                                                                               BREVARD         NC    28712‐3787
BETTY HUNT KNAPP                                      8233 PUSHAW STATION RD                                                                         OWINGS          MD    20736‐9323
BETTY I BUSH                                          108 W MAY                                                                                      BELDING         MI    48809‐1146
BETTY I CHAPPELEAR                                    390 GRAND AVE                                                                                  CINCINNATI      OH    45205‐2805
BETTY I DAVIS                                         15 LYNNHURST RD                                                                                NEW CASTLE      IN    47362
BETTY I HENRY                                         774 ORCHARD ST                                                                                 COOKEVILLE      TN    38501‐3843
BETTY I KOOP                                          8990 GRASSMERE ROAD                                                                            CASS CITY       MI    48726‐9675
BETTY I NEAL                                          17 FORT ST                            BOX 58                                                   MARKLEVILLE     IN    46056‐0058
BETTY I PAGE                                          5 INDIAN DR                                                                                    LUCASVILLE      OH    45648‐8488
BETTY I SCOTT TR UA 11/28/06 BETTY I SCOTT TRUST      45201 DORY LN                                                                                  PINEY POINT     MD    20674‐3005

BETTY I TAYLOR                                        1225 PARKER PL                                                                                 BRENTWOOD       TN    37027‐7006
BETTY I VOELKER & CAROL KERNOSCHAK JT TEN             PO BOX 305                            417 BLAIRSTOWN RD                                        HOPE            NJ    07844‐0305
BETTY I WHITNEY                                       26 MAPLE AVENUE                                                                                MIDDLEPORT      NY    14105‐1338
BETTY J AKERS                                         5401 W VERMONT STREET                                                                          INDIANAPOLIS    IN    46224‐8897
BETTY J ALEXANDER                                     140 WAGON TRAIL                                                                                MOORESVILLE     IN    46158‐1047
BETTY J ALEXIS                                        1841 CENTRAL PARK AVENUE #17B                                                                  YONKERS         NY    10710‐2916
BETTY J ALT                                           6115 N GREENVALE DR                                                                            MILTON          WI    53563‐9490
BETTY J AMBOY                                         9076 SPRING BROOK CIRCLE                                                                       DAVISON         MI    48423
BETTY J AMBROSE                                       3339 HARDING                                                                                   DEARBORN        MI    48124‐3729
BETTY J ANDERSON                                      2955 AHINES RD                                                                                 LAPEER          MI    48446‐8307
BETTY J ANTHONY                                       2869 MAPLE WALK CT                                                                             LAWRENCEVILLE   GA    30044‐6712
BETTY J ARNETT                                        13555 S S H 19                                                                                 ELKHART         TX    75839
BETTY J ARROYO & ANTONIO ARROYO JT TEN                URB LA ESTRELLA                       CALLE CADIZ 16       41907 VALENCINA   SEVILLA SPAIN
BETTY J ATTENWEILER EX UW WILLIAM ATTENWEILER         1954 EDGEWORTH AVE                                                                             DAYTON          OH    45414‐5504

BETTY J BAIRD                                         2473 MCKENSIE CT                                                                               GRAND PRAIRIE   TX    75052‐3923
BETTY J BALDWIN TR BETTY J BALDWIN REV LIV TRUST      5720 HOLLISTER DR                                                                              INDIANAPOLIS    IN    46224
UA 06/15/04
BETTY J BARDON & ROBERT J BARDON JT TEN               1325 PLACITA PARASOL                                                                           GREEN VALLEY    AZ    85614‐3642
BETTY J BARGER                                        704 STATE ROUTE 133                                                                            FELICITY        OH    45120‐9550
BETTY J BARKER                                        5208 S E 58TH PLACE                                                                            OKLAHOMA CITY   OK    73135‐4508
BETTY J BARKER & FRED S BARKER JT TEN                 PO BOX 7033                                                                                    FLINT           MI    48507‐0033
BETTY J BATLEY                                        2 MANCHESTER BLVD                                                                              OWEGO           NY    13827‐1226
BETTY J BEARD                                         5006 E STATE ROAD 56                                                                           WINSLOW         IN    47598‐8425
BETTY J BECTON                                        5970 MIMIKA AVE                                                                                ST LOUIS        MO    63147‐1110
BETTY J BELL JENNIFER L BALLARD & RENITA L SMITH JT   663 E PULASKI                                                                                  FLINT           MI    48505‐3382
TEN
BETTY J BESAW                                         2 MAPLE ST                                                                                     NORWOOD         NY    13668‐1303
BETTY J BIERWAG                                       2224 E VISTA DR                                                                                MISSOULA        MT    59803‐2620
BETTY J BLOOM & CHRISTINE M BLOOM JT TEN              218 W OAK ORCHARD ST                                                                           MEDINA          NY    14103‐1548
BETTY J BOONE TR BETTY J BOONE REVOCABLE LIVING       43 SOUTH PARK DR                                                                               ANDERSON        IN    46011‐1747
TRUST UA 07/15/04
BETTY J BOWDEN & BRENDA L BOWDEN JT TEN               6100 SHATTUCK ROAD                                                                             SAGINAW         MI    48603‐2616
BETTY J BOWERS                                        1139 S ARMSTRONG                                                                               KOKOMO          IN    46902‐6304
BETTY J BREWER                                        1917 GILSAM AVE                                                                                ROCHESTER HLS   MI    48309‐4217
BETTY J BROOKS                                        237 E GRACELAWN                                                                                FLINT           MI    48505‐2707
BETTY J BROWN                                         6087 DETROIT ST                                                                                M T MORRIS      MI    48458‐2751
BETTY J BROWN                                         1021 BEAVER RU                                                                                 TAVARES         FL    32778‐5621
BETTY J BULLOCK                                       C/O LINDA S THOMPSON                  4059 MINK ST                                             MOUNT VERNON    OH    43050‐9422
BETTY J BURR                                          3739 MARINER                                                                                   WATERFORD       MI    48329‐2273
BETTY J BYNUM                                         4119 HAVERHILL DR                                                                              ANDERSON        IN    46013‐4361
BETTY J BYRD                                          1285 MEADOWBROOK DR                                                                            KING            NC    27021
BETTY J CAIN                                          21530 KELLY RD APT 106                EASTPOINT                                                EASTPOINTE      MI    48021
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 408 of 850
Name                                               Address1                              Address2             Address3          Address4          City               State Zip

BETTY J CALVERT TR CALVERT FAMILY TRUST UA         WHISPERING HILLS #62                                                                           LINN CREEK         MO    65052‐9739
05/22/92
BETTY J CANNON                                     32701 FLORENCE                                                                                 GARDEN CITY        MI    48135‐3217
BETTY J CARAWAY                                    11007 CHANERA AVE                                                                              INGLEWOOD          CA    90303‐2426
BETTY J CAROTHERS                                  513 SUNSET DRIVE BOX 312                                                                       CLINTON            MI    49236‐9585
BETTY J CARR                                       7591 DOVER RIDGE CT                                                                            BLACKLICK          OH    43004‐9702
BETTY J CARR                                       1104 PARKWOOD AVE                                                                              YPSILANTI          MI    48198‐5839
BETTY J CARR                                       5282 FOWLER CREEK RD                                                                           INDEPENDENCE       KY    41051‐8401
BETTY J CARTER                                     3521 MANCHESTER ROAD                                                                           ANDERSON           IN    46012‐3920
BETTY J CARTER & ROBERT C CARTER JT TEN            3521 MANCHESTER ROAD                                                                           ANDERSON           IN    46012‐3920
BETTY J CERNIK                                     131 MAIN ROAD                         P O BOX 439                                              TYRINGHAM          MA    01264
BETTY J CERNIK                                     131 MAIN ROAD                                                                                  TYRINGHAM          MA    01264
BETTY J CHAPKO                                     4102 E STANFORD DRIVE                                                                          PHOENIX            AZ    85018‐1658
BETTY J CHARTER                                    2602 LANSDOWNE                                                                                 WATERFORD          MI    48329‐2940
BETTY J CHRISTENSEN                                PO BOX 423                                                                                     FREMONT            NE    68026‐0423
BETTY J CLARK                                      801 PENNSYLVANIA AVE NW (PH 23)                                                                WASHINGTON         DC    20004‐2615
BETTY J CLARK                                      558 WESTMORELAND AVE                                                                           SYRACUSE           NY    13210‐2226
BETTY J CLAYBORNE                                  1012 17TH ST NW                                                                                ALICEVILLE         AL    35442‐1431
BETTY J CLEGG & LYNDA CLEGG JT TEN                 316 BLACK OAK CT                                                                               FLINT              MI    48506‐5343
BETTY J CLOUD & KAREN LEA CLOUD JT TEN             2310 WALNUT                                                                                    AUBURN HILLS       MI    48326‐2554
BETTY J COLEMAN                                    5020 LINSDALE                                                                                  DETROIT            MI    48204‐3660
BETTY J COMBS                                      1101 PRINCEWOOD AVE                                                                            DAYTON             OH    45429‐5856
BETTY J COMPTON                                    3586 DOYLE STREET                                                                              TOLEDO             OH    43608‐1436
BETTY J COOK                                       42799 LILLEY POINTE DR                                                                         CANTON             MI    48187‐5315
BETTY J CORN                                       1023 N PHILLIPS                                                                                KOKOMO             IN    46901‐2651
BETTY J CRANE                                      8810 WALTHER BLVD APT 2426                                                                     BALTIMORE          MD    21234‐0027
BETTY J CRISP                                      1166 KEY ROAD SE                                                                               ATLANTA            GA    30316‐4558
BETTY J DAFFRON                                    1708 CEDAR LN                                                                                  KNOXVILLE          TN    37918‐6715
BETTY J DAFFRON                                    1708 CEDAR LN                                                                                  KNOXVILLE          TN    37918‐6715
BETTY J DANIEL                                     22625 OAKLANE                                                                                  WARREN             MI    48089‐5451
BETTY J DANIELS                                    9334 E 10TH ST                                                                                 INDIANAPOLIS       IN    46229‐2505
BETTY J DANLEY                                     W161 N 10515 BROOKHOLLOW DR                                                                    GERMANTOWN         WI    53022‐5707
BETTY J DAVIS                                      12000 AMERICAN                                                                                 DETROIT            MI    48204‐1127
BETTY J DAVIS                                      5116 GOLDEN LANE                                                                               FORT WORTH         TX    76123‐1946
BETTY J DAVIS & MICHAEL C DAVIS JT TEN             735 SILVERHEDGE DRIVE                                                                          CINCINNATI         OH    45231‐3953
BETTY J DAY                                        207 CHERRY ST                                                                                  CHARDON            OH    44024‐1116
BETTY J DOEBLER                                    343 TIMBERLAKE DR E                                                                            HOLLAND            MI    49424‐5303
BETTY J DRISCOLL                                   15450 RUTHERFORD                                                                               DETROIT            MI    48227‐1922
BETTY J DUTTON                                     49 HUBBARD DR                                                                                  N CHILE            NY    14514‐1003
BETTY J DYKSTRA                                    7166 GEORGETOWN AVE                                                                            HUDSONVILLE        MI    49426‐9129
BETTY J EDWARDS                                    218 MYAKKA LOOP                                                                                RIVERVIEW          FL    33569‐5907
BETTY J ELDRED                                     29200 JONES LOOP RD                   LOT 445                                                  PUNTA GORDA        FL    33950‐9312
BETTY J ELLINGTON                                  6351 CARPENTER RD                                                                              FLUSHING           MI    48433‐9053
BETTY J ENGLISH                                    PO BOX 13043                                                                                   LAS VEGAS          NV    89112‐1043
BETTY J ENTREKIN                                   245 MARVINS WAY                                                                                REMLAP             AL    35133
BETTY J ERWIN CUST DAVID MARSHALL POTTER UGMA      BOX 593                                                                                        MT PLEASANT        TX    75456‐0593
TX
BETTY J ESNAULT                                    1021 OAK TREE LN                                                                               BLOOMFIELD HILLS   MI    48304‐1177

BETTY J EVANS                                      407 RICHARDS RD                                                                                ROFERSVILLE        TN    37857‐6245
BETTY J FABER TR BETTY J FABER TRUST NO 1 UA       10430 E M‐21                                                                                   LENNON             MI    48449‐9644
10/13/99
BETTY J FAULKNER TOD DEBORAH M DALE SUBJECT TO     10115 ZIGLER AVENUE                                                                            HASTINGS           FL    32145
STA TOD RULES
BETTY J FIELDS                                     88 CANAL ROAD                                                                                  PHOENIX            NY    13135
BETTY J FIORITA                                    7228 BROOKMEADOW DR                                                                            DAYTON             OH    45459‐5181
BETTY J FITZGERALD                                 28 KING ST APT 1                                                                               LOCKPORT           NY    14094‐4137
BETTY J FLANEGIN TOD KELLY S FLANEGIN SUBJECT TO   1304 DEER RUN TRAIL                                                                            BLUE SPRINGS       MO    64015
STA TOD RULES
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 409 of 850
Name                                                Address1                              Address2             Address3          Address4          City               State Zip

BETTY J FOISTER                                     416 BUTTERCUP AVE                                                                              VANDALIA           OH    45377‐1819
BETTY J FORD                                        862 FITCHLAND DR                                                                               VANDALIA           OH    45377‐1326
BETTY J FRANKLIN                                    36733 BROOK RD                                                                                 FRUITLAND PK       FL    34731‐5743
BETTY J FRY                                         112 WEST AVONDALE DRIVE                                                                        GREENSBORO         NC    27403‐1415
BETTY J GALLAGHER                                   25 HALLS GAP ESTATES RD                                                                        STANFORD           KY    40484‐9457
BETTY J GALYEAN                                     9313 R J WOOD ROAD                                                                             EL PASO            TX    79924
BETTY J GANT                                        215 W HIGH ST                                                                                  JACKSON            MI    49203‐3115
BETTY J GARDELS & EDWARD A GARDELS JT TEN           6208 FOX RUN                                                                                   ARLINGTON          TX    76016‐2624
BETTY J GARDNER & MARY LYNN GARDNER JT TEN          714 HOLECEK AVE                                                                                ELMIRA             NY    14904‐1045
BETTY J GASTON                                      #30                                   60 COUNTY RD                                             CLIFFWOOD          NJ    07721‐1078
BETTY J GASTON                                      5760 BELLE SUMPTER RD                                                                          ADGER              AL    35006‐3015
BETTY J GELLISE                                     2713 N VANBUREN ST                                                                             BAY CITY           MI    48708‐5448
BETTY J GIESECKE                                    R R 2 TANGLEWOOD DR 398                                                                        SHARPSVILLE        IN    46068‐9802
BETTY J GOLDBERG                                    719 CRESTVIEW DR                                                                               BENNETTSVILLE      SC    29512‐2219
BETTY J GONDA                                       912 LISBON ST                                                                                  MORRIS             IL    60450‐1315
BETTY J GORDON                                      6915 LAKEVIEW BLVD                    APT 3213                                                 WESTLAND           MI    48185‐2292
BETTY J GOUCHER TR UA 11/27/02 BETTY J GOUCHER      567 STERLING DR                                                                                DIMONDALE          MI    48821‐8709
LIVING TRUST
BETTY J GRACAN                                      136 WILPS DRIVE                                                                                HERMINIE           PA    15637‐1373
BETTY J GRAVELLE                                    3731 BLUEBERRY                                                                                 ST JAMES CITY      FL    33956‐2287
BETTY J GREGORY                                     881 O GRADY DR                                                                                 CHATTANOOGA        TN    37419
BETTY J GREGUREK                                    11063 HUMMINGBIRD LN                                                                           HEARNE             TX    77859
BETTY J GROH TR BETTY J GROH LIVING TRUST UA        410 DARBEE CRT                                                                                 CLAWSON            MI    48017‐1425
04/06/95
BETTY J GRONER                                      38531 LONG STREET                                                                              HARRISON TWP       MI    48045‐3590
BETTY J GUIDRY                                      4514 W 30TH ST                                                                                 INDIANAPOLIS       IN    46222‐1504
BETTY J GUNN                                        G3042 DODGE RD                                                                                 CLIO               MI    48420
BETTY J GUSTAFSON                                   115 MILLWOOD                                                                                   TOWN OF            NY    14150‐5513
                                                                                                                                                   TONAWANDA
BETTY J HADL                                        449 SHADY LN                                                                                   WISCONSIN RAPIDS   WI    54494‐6271

BETTY J HALE & DERWIN D HALE JT TEN                 2510 ALDINGHAM DR SW                                                                           DECATUR            AL    35603
BETTY J HAMEL TR UA 07/28/98                        2561 THOMAN                                                                                    TOLEDO             OH    43613‐3840
BETTY J HAMPTON                                     314 W BERRY STREET                                                                             ALEXANDRIA         IN    46001‐1906
BETTY J HARMON                                      16925 HIERBA DR                       APT 219                                                  SAN DIEGO          CA    92128‐2660
BETTY J HARRISON                                    1207 CLOVERLAWN DR                                                                             PONTIAC            MI    48340‐1617
BETTY J HAYES                                       5725 WEST PARADISE LANE                                                                        GLENDALE           AZ    85306‐2419
BETTY J HAYES & DONALD L HAYES JT TEN               5725 WEST PARADISE LANE                                                                        GLENDALE           AZ    85306‐2419
BETTY J HAYS                                        1234 OBANNON CREEK LN                                                                          LOVELAND           OH    45140‐6023
BETTY J HAYSLIP                                     20 CLINCHFIELD COURT                                                                           NEW LEBANON        OH    45345‐1523
BETTY J HAZEK                                       1502 SILVERTON CT                                                                              FLINT              MI    48532‐2075
BETTY J HECKMAN & NORMAN E HECKMAN JT TEN           537 EVERETT TRAIL                                                                              HALE               MI    48739
BETTY J HENIZE TR BETTY J HENIZE REVOCABLE LIVING   4457 POND MEADOW CT                                                                            MASON              OH    45040‐2927
TRUST UA 08/09/02
BETTY J HENN                                        78824 PUTTING GREEN DR                                                                         PALM DESERT        CA    92211
BETTY J HILBIG                                      1953 BANCROFT AVE                                                                              YOUNGSTOWN         OH    44514‐1051
BETTY J HILL                                        2375 RUGBY ROAD                                                                                DAYTON             OH    45406‐2127
BETTY J HILL                                        2283 TAYLOR                                                                                    DETROIT            MI    48206‐2061
BETTY J HOESCHEN                                    239 51 DECORO DR                      #204                                                     VALENCIA           CA    91354
BETTY J HOTCHKISS TR BETTY J HOTCHKISS FAMILY       1956 S LINCOLN AVE                    UNIT 4                                                   SALEM              OH    44460‐5333
TRUST NO 1 UA 06/02/99
BETTY J HOWE                                        827 BALTIC DR                                                                                  FLORISSANT         MO    63031‐1405
BETTY J HUGHES                                      11787 ELKWOOD DR                                                                               CINCINNATI         OH    45240‐2055
BETTY J HUNTER                                      12436 GOULBURN ST                                                                              DETROIT            MI    48205‐3855
BETTY J JAMES                                       475 VALENCIA                                                                                   PONTIAC            MI    48342‐1770
BETTY J JESSUP                                      415 N JAY ST                                                                                   KOKOMO             IN    46901‐4731
BETTY J JOHNSON                                     15971 74 ST N                                                                                  LOXAHATCHEE        FL    33470‐3160
BETTY J JONES                                       102 CARRIE MARIE LN                                                                            HILTON             NY    14468‐9406
                                                 09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 410 of 850
Name                                                Address1                                Address2                Address3       Address4          City               State Zip

BETTY J JONES & DAVID A JONES & DANIEL A JONES JT   1535S HUBBARD ST                                                                                 WESTLAND           MI    48186‐4935
TEN
BETTY J KEEN                                        PO BOX 371                                                                                       MANGHAM          LA      71259‐0371
BETTY J KEENE                                       823 CEDAR AVE                                                                                    HADDONFIELD      NJ      08033‐1013
BETTY J KELLY                                       9200 E PRAIRIE RD APT 202                                                                        EVANSTON         IL      60203‐1640
BETTY J KERNER                                      55 ADAMS CT                                                                                      CORTLAND         OH      44410
BETTY J KETCHAM                                     11300 RIVEREDGE DR                                                                               CLEVELAND        OH      44130‐1259
BETTY J KINSER                                      7641 MONTGY ROAD #6                                                                              CINCINNATI       OH      45236
BETTY J KINSER                                      #6                                      7641 MONTGY RD                                           CINCINNATI       OH      45236
BETTY J KNAUF                                       17591 48TH AVE                                                                                   COOPERSVILLE     MI      49404‐9684
BETTY J KOCHAN                                      APT 22                                  5015 S WASHINGTON                                        SAGINAW          MI      48601‐7214
BETTY J KONESKO                                     5850 SHERIDAN                                                                                    SAGINAW          MI      48601‐9356
BETTY J KOSCO                                       353A METUCHEN DR                                                                                 MONROE TWP       NJ      08831‐3907
BETTY J KRUEGER                                     4704 N LAURA DR                                                                                  JANESVILLE       WI      53548‐8688
BETTY J LABA                                        27147 SIMONE                                                                                     DEARBORN HEIGHTS MI      48127‐3339

BETTY J LANE TR BETTY J LANE TRUST UA 02/19/05      728 E EMERSON AVE                                                                                LOMBARD            IL    60148‐2909
BETTY J LANFOND                                     50 COUNTRY RD                                                                                    WOONSOCKET         RI    02875
BETTY J LAUR                                        1420 PERRY RD APT 87‐18                                                                          GRAND BLANC        MI    48439‐1791
BETTY J LEACH                                       27 LARKIN RD                                                                                     BURLINGTON         NJ    08016‐2927
BETTY J LEAKE                                       5517 ELDER ST                                                                                    FREDERICKSBURG     VA    22407‐1207
BETTY J LEMONDS                                     402 ROBERTSON DRIVE                                                                              SMYRNA             TN    37167‐4817
BETTY J LIEBEL                                      1 CEDAR VIEW VILLAGE                                                                             PLAINFIELD         CT    06374
BETTY J LIGHTSTONE TOD MICHAEL LIGHTSTONE           2327 MEADE AVE                                                                                   SAN DIEGO          CA    92116‐4113
SUBJECT TO STA TOD RULES
BETTY J LOOS                                        RR1                                                                                              CRETE              NE    68333‐9801
BETTY J LOPEZ                                       735 LAKEWOOD RD                                                                                  BONNER SPRING      KS    66012‐1805
BETTY J LORENTZEN                                   4403 DAVISON RD LOT 15                                                                           BURTON             MI    48509‐1409
BETTY J LOUNEY                                      5941 MARBLE COURT                                                                                TROY               MI    48098‐3900
BETTY J LUCAS & JAN S STONECIPHER JT TEN            394 EILEEN DR                                                                                    BLOOMFIELD HILLS   MI    48302‐0429

BETTY J LUMAN                                       5316 SPAULDING ST                                                                                BOISE              ID    83705‐2741
BETTY J LUTZ & HOMER H LUTZ JT TEN                  10129                                   INDIAN LAKE BLVD N DR                                    OAKLANDON          IN    46236
BETTY J MABIN                                       1070 APPLEWOOD NE                                                                                GRAND RAPIDS       MI    49505‐5906
BETTY J MAJORS                                      5141 JOANGAY                                                                                     WATERFORD          MI    48327‐2450
BETTY J MALLORY                                     25405 CATALINA                                                                                   SOUTHFIELD         MI    48075‐1792
BETTY J MANN                                        1372 DOMINION ROAD                                                                               GERRARDSTOWN       WV    25420
BETTY J MANN CUST SHIRLEY MANN UGMA WV              1372 DOMINION RD                                                                                 GERRARDSTOWN       WV    25420‐4183
BETTY J MANN CUST SHIRLEY R MANN UGMA WV            1372 DOMINION RD                                                                                 GERRARDSTOWN       WV    25420‐4183
BETTY J MARSHALL                                    215 IRVINGTON AVENUE                                                                             SOMERSET           NJ    08873‐3021
BETTY J MASEY                                       208 FREEDOM RD                                                                                   HAYNEVILLE         AL    36040‐4412
BETTY J MC GREGOR                                   129 SCUGOG ST                           BOWMANVILLE ON                         L1C 3J7 CANADA
BETTY J MCCOMBS                                     3209 WILLIAMS DR                                                                                 KOKOMO             IN    46902‐7502
BETTY J MCCULLOUGH                                  26 LASALLE AVE                                                                                   KENMORE            NY    14217‐2628
BETTY J MCNICHOLS                                   944 BRIGHT AVE                                                                                   VANDALIA           OH    45377‐1521
BETTY J MEADE & MICHAEL P MEADE TR BETTY JUNE       298 EATON RD                                                                                     NASHVILLE          MI    49073‐9752
MEADE TRUST UA 07/26/06
BETTY J MEADOW                                      1722 REDBUD LN                                                                                   LANSING            MI    48917‐7635
BETTY J MEIRING                                     3612 S ALBRIGHT RD                                                                               KOKOMO             IN    46902‐4454
BETTY J MERROW & DIANE M MERROW JT TEN              PO BOX 243                                                                                       EATON RAPIDS       MI    48827‐0243
BETTY J MILES                                       5407 GRANVILLE                                                                                   FLINT              MI    48505‐2657
BETTY J MILLER                                      720 VIRGINIA DR NW                                                                               WARREN             OH    44483‐1635
BETTY J MILLER                                      706 NE MAPLE DR                                                                                  KANSAS CITY        MO    64118‐4730
BETTY J MILLER                                      2822 ALVARADO NE                                                                                 ALBUQUERQUE        NM    87110‐3230
BETTY J MILLER TOD GLENDA F MCDOWELL SUBJECT TO     2615 OAK GROVE                                                                                   KANSAS CITY        KS    66106‐4244
STA TOD RULES
BETTY J MISHION                                     1613 N E 39TH                                                                                    OKLAHOMA CITY      OK    73111‐5208
BETTY J MLINEK & NANCY A WHEELER & SUSAN P          4875 FAIRWAYS DRIVE                                                                              BRIGHTON           MI    48116
SCHRADER TR UA 10/05/1999
                                              09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 411 of 850
Name                                                 Address1                               Address2             Address3          Address4          City               State Zip

BETTY J MOREHOUSE                                    12625 FIVE MILE RD                                                                              FREDERICKSBRG      VA    22407‐6685
BETTY J MORRIS                                       5932 COLORADO                                                                                   ROMULUS            MI    48174‐1816
BETTY J MOTT                                         151 WESTBORO RD                                                                                 UPTON              MA    01568‐1005
BETTY J MULL                                         4019 HWY 136                                                                                    CLINTON            IA    52732‐8805
BETTY J MUMA & BARBARA D WEBSTER JT TEN              813 WALDMAN AVE                                                                                 FLINT              MI    48507‐1769
BETTY J NOELLE                                       1428 TIMBERLAKE LANE                                                                            EVANSVILLE         IN    47710‐4131
BETTY J NOONAN                                       4985 S MENARD DR                                                                                NEW BERLIN         WI    53151‐7544
BETTY J NORTHOUSE                                    6155 88TH AVENUE                                                                                ZEELAND            MI    49464‐9535
BETTY J NUNNERY                                      3113 ULMER RD                                                                                   COLUMBIA           SC    29209‐4142
BETTY J O HARE                                       121 OLD SETTLERS DR                                                                             BASTROP            TX    78602‐3572
BETTY J OLIVER & SANDRA L MEYERS & MARK H OLIVER     #188                                   1701 COMMERCE LOT                                        HAINES CITY        FL    33844‐3284
JT TEN
BETTY J OWENS                                        7350 E BOWERS LAKE RD                                                                           MILTON             WI    53563‐9739
BETTY J PAINTER                                      22780 VALLEY ST                                                                                 PERRIS             CA    92570‐9066
BETTY J PARKS                                        148 MARWOOD RD                         APT 1112                                                 CABOT              PA    16023‐2236
BETTY J PAUL                                         2126 TRESCOTT DRIVE                                                                             TALLAHASSEE        FL    32308‐0732
BETTY J PERICH                                       1001 SANTA MONICA DR                                                                            PORT VUE           PA    15133‐3709
BETTY J PETERS                                       7432 STATE ROUTE 35 E                                                                           WEST ALEXANDRIA    OH    45381‐9503

BETTY J PHILLIPS                                     4715 WALNUT GROVE LN N                                                                          MINNEAPOLIS        MN    55446‐2911
BETTY J PLIZGA                                       46386 HAMPTON DR                                                                                SHELBY TWP         MI    48315‐5632
BETTY J POTTER & TINA KLUCZYNSKI JT TEN              26840 D N AVE OF THE OAKS                                                                       SANTA CLARITA      CA    91321‐4851
BETTY J PRCHAL & ROBERT A PRCHAL JT TEN              82 MARY LN                                                                                      CRYSTAL LAKE       IL    60014‐7219
BETTY J PRESSON                                      2163 CLAYTON AVE                                                                                SPRING HILL        FL    34609‐3823
BETTY J PURCELL & JAMES R PURCELL JT TEN             43282 GAINSLEY                                                                                  STERLING HEIGHTS   MI    48313‐1847

BETTY J QUILLIN & DAVID L QUILLIN JT TEN             RR 1 BOX 88                                                                                     DEER CREEK         OK    74636‐9563
BETTY J RADKE TR BETTY J RADKE LIVING TRUST UA       4152 FOUR LAKES AVE                                                                             LINDEN             MI    48451‐9445
06/17/03
BETTY J RAINES                                       1620 GRANDVIEW AVE                                                                              COLUMBUS           OH    43212‐2458
BETTY J RAMSEY                                       4520 ELMWOOD                                                                                    KANSAS CITY        MO    64130‐2245
BETTY J RASMUSSEN                                    4909 WAUKESHA STREET                                                                            MADISON            WI    53705‐4846
BETTY J RAWLS                                        180 MOHAWK                                                                                      PONTIAC            MI    48341‐1128
BETTY J RAY                                          3525 GREYSTONE DR                                                                               SPRING HILL        TN    37174‐2195
BETTY J REED                                         1730 S CEDAR ST                                                                                 LANSING            MI    48910‐1511
BETTY J REESE                                        #174                                   2700 SHIMMONS RD                                         AUBURN HILLS       MI    48326‐2049
BETTY J REPENNING                                    PO BOX 571                                                                                      MOKENA             IL    60448
BETTY J RERKO                                        168 SHULTZ ROAD                                                                                 MT PLEASANT        PA    15666‐3515
BETTY J REYNOLDS                                     511 W WITHERBEE ST                                                                              FLINT              MI    48503‐5132
BETTY J RICHARDSON                                   26 SUNNYBROOK DR                                                                                NEW CASTLE         PA    16105‐1834
BETTY J RICHARDSON TR BETTY J RICHARDSON TRUST       3 GEAR ST                                                                                       GALENA             IL    61036‐2611
UA 08/29/03
BETTY J RICKENBERG                                   RT 6 28353 HAGY RD                                                                              DEFIANCE           OH    43512‐8940
BETTY J RILEY                                        455 CHESTNUT DR                                                                                 BEREA              OH    44017‐1335
BETTY J ROBERTSON                                    590 TURNER ASHBY ROAD                                                                           MARTINSVILLE       VA    24112‐0641
BETTY J ROBINSON                                     231 DEPEW ST                                                                                    ROCHESTER          NY    14611‐2905
BETTY J ROBINSON                                     PO BX 546                                                                                       JEFFERSON CY       MO    65101
BETTY J ROBISHAW                                     9050 KOTCHVILLE RD                                                                              FREELAND           MI    48623
BETTY J ROE                                          602 SOUTH ANDERSON                     PO BOX 154                                               ELWOOD             IN    46036‐0154
BETTY J ROSSER TR BETTY J ROSSER TRUST UA 04/08/98   515 W 5TH ST                                                                                    EVART              MI    49631‐9303

BETTY J ROTTMAN                                      2433 WOODTHRUSH PL                                                                              MELBOURNE          FL    32904‐8023
BETTY J ROTTMAN & CHERYL A REYNOLDS JT TEN           2433 WOODTHRUSH PL                                                                              MELBOURNE          FL    32904‐8023
BETTY J RUTHERFORD                                   15242 CICOTTE                                                                                   ALLEN PARK         MI    48101‐3006
BETTY J SAGRAVES                                     415 S MURRAY HILL ROAD                                                                          COLUMBUS           OH    43228‐1949
BETTY J SALMONS                                      734 ROUND HILL RD                                                                               INDIANAPOLIS       IN    46260‐2918
BETTY J SAMONS                                       6161 FOXTAIL DR                                                                                 GAHANNA            OH    43230‐1921
BETTY J SANGER                                       PO BOX 932                                                                                      HARRISON           TN    37341‐0932
BETTY J SATCHFIELD                                   4141 CANYON GLEN CIR                                                                            AUSTIN             TX    78732‐2183
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 412 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

BETTY J SAUERS                                    11705 E 211TH ST                                                                                NOBLESVILLE      IN    46060‐9655
BETTY J SCHILLING                                 110 VERNON DRIVE                                                                                BELLE VERNON     PA    15012
BETTY J SCHLOSSER                                 PO BOX 425                                                                                      CEDARVILLE       MI    49719‐0425
BETTY J SCHOLZ & LAWRENCE J SCHOLZ JT TEN         2232 AUTUMN OAK LN                                                                              POWHATAN         VA    23139‐6216
BETTY J SCHWENDENER                               313 CANTERBERRY LANE                                                                            OAK BROOK        IL    60523‐2306
BETTY J SCOTT                                     R R #4 BOX 428                         1147 W 550 SOUTH                                         ANDERSON         IN    46013‐9775
BETTY J SCOTT                                     17328 BENTLER ST                       APT 209                                                  DETROIT          MI    48219‐3989
BETTY J SEASONGOOD TR BETTY J SEASONGOOD TRUST    2407 SOUTH ST RD 1                                                                              CONNERSVILLE     IN    47331‐8922
UA 07/18/97
BETTY J SEIFRED                                   395 STATE ROAD                                                                                  WEST GROVE       PA    19390‐8952
BETTY J SEITSINGER                                53 NW 12TH ST                                                                                   GRESHAM          OR    97030‐3801
BETTY J SHANNON                                   4233 N STATE RD                                                                                 DAVISON          MI    48423‐8511
BETTY J SHEA                                      27380 COOK RD # 74                                                                              OLMSTED FALLS    OH    44138‐1098
BETTY J SHIELDS                                   420 KEWANNA DRIVE                                                                               JEFFERSONVILLE   IN    47130‐4808
BETTY J SHINN                                     77 POPLAR DR                                                                                    GRANGEVILLE      ID    83530‐5347
BETTY J SKINNER                                   1212 BARNEY AV                                                                                  FLINT            MI    48503‐3203
BETTY J SMILEY                                    17 EAST CHURCH ST                                                                               FAIRCHANCE       PA    15436‐1149
BETTY J SMITH                                     132 WILDERNESS CAY                                                                              NAPLES           FL    34114‐9617
BETTY J SMITH                                     9394 VALLEY RD                                                                                  NEW TRIPOLI      PA    18066‐3009
BETTY J SMITH                                     613 S WALNUT ST                                                                                 FAIRMOUNT        IN    46928‐2052
BETTY J SPARLING                                  1313 ROLLINS STREET                                                                             GRAND BLANC      MI    48439‐5119
BETTY J SPECK                                     2989 RARIDEN HILL                                                                               MITCHELL         IN    47446‐5337
BETTY J SPICER                                    1903 N REDWOOD DRIVE                                                                            INDEPENDENCE     MO    64058‐1573
BETTY J SPRINKLE                                  800 E SOUTH B STREET APT 6                                                                      GAS CITY         IN    46933‐2111
BETTY J STACEY                                    5397 AFAF                                                                                       FLINT            MI    48505‐1022
BETTY J STARK & GEORGE A STARK TR BETTY J STARK   10339 E RIVERSHORE DR                                                                           ALTO             MI    49302‐9243
TRUST UA 05/01/92
BETTY J STARKEY                                   410 NORTH RUSH ST                                                                               FAIRMOUNT        IN    46928‐1643
BETTY J STEMMER                                   4240 LESHER DR APT 1                                                                            KETTERING        OH    45429‐3042
BETTY J STIFF & KEELEY ANN STIFF JT TEN           PO BOX 9                                                                                        LINDEN           MI    48451‐0009
BETTY J STILES                                    1120 S ANN                                                                                      INDEPENDENCE     MO    64056‐2411
BETTY J STOCKER                                   1820 PARKMAN RD NW                                                                              WARREN           OH    44485‐1742
BETTY J STONE                                     709 ORION RD                                                                                    LAKE ORION       MI    48362‐3561
BETTY J STRAHAM                                   5556 EISEN HOWER DR                                                                             FT WORTH         TX    76112‐7621
BETTY J SZABO                                     2603 NORTH EUCLID AVE                                                                           BAY CITY         MI    48706‐1188
BETTY J TANCIAR & JOHN R TANCIAR & RONALD C       1420 SHADOW RUN                                                                                 WEATHERFORD      TX    76086‐3934
TANCIAR JT TEN
BETTY J TANN & GREGORY C TANN JT TEN              7272 W NEBRASKA ST                                                                              CLAYPOOL         IN    46510‐9784
BETTY J TARTER                                    3113 ULMER ROAD                                                                                 COLUMBIA         SC    29209‐4142
BETTY J TERHUNE BRUSH                             6550 MOYINA WAY                                                                                 KLAMATH FALLS    OR    97603‐4152
BETTY J THOMAS                                    712 BRENTWOOD PL                                                                                NASHVILLE        TN    37211‐6289
BETTY J TIPTON                                    1304 ASH STREET                                                                                 HUNTINGTON       IN    46750‐4111
BETTY J TRICKLEBANK                               26 NIHILL CRESCENT                     MISSION BAY          AUCKLAND 5        NEW ZEALAND
BETTY J TRIMMER & CHRISTOPHER A TRIMMER JT TEN    18437 PELLETT DR                                                                                FENTON           MI    48430‐8508

BETTY J TRIMMER & TINA R KOON JT TEN              18437 PELLETT DR                                                                                FENTON           MI    48430‐8508
BETTY J TURNER                                    4108 LARKSPUR DR                                                                                DAYTON           OH    45406‐3421
BETTY J VANDERWALL                                17359 B                                NC 210                                                   ANGIER           NC    27501
BETTY J VERDOUW                                   51 CHRISTIAN AVE                                                                                ROCHESTER        NY    14615‐2222
BETTY J VICTOR                                    3847 HIGHLAND AVE S W                                                                           MINERAL RIDGE    OH    44440‐8700
BETTY J VIEU                                      14935 MAPLE ST                                                                                  POSEN            MI    49776‐9783
BETTY J VRUBLE                                    1216 47TH AVENUE CT                                                                             EAST MOLINE      IL    61244‐4451
BETTY J VRUBLE & SHIRLEY A LANTZ JT TEN           1216 47 AVE CRT                                                                                 EAST MOLINE      IL    61244‐4451
BETTY J WAISNER                                   900 PINOAK DR                                                                                   KOKOMO           IN    46901‐6435
BETTY J WARE                                      34 E CORNELL                                                                                    PONTIAC          MI    48340‐2628
BETTY J WEBB                                      102 WESTOVER CT                                                                                 KOKOMO           IN    46902‐5963
BETTY J WEBSTER                                   228 MALIBU DR                                                                                   ROMEOVILLE       IL    60446‐3703
BETTY J WEIGL                                     1064 BELL AVE                                                                                   ELYRIA           OH    44035‐3104
BETTY J WEST                                      312 WILLOW RD                                                                                   MUNCIE           IN    47304‐4266
                                                   09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 413 of 850
Name                                                 Address1                              Address2             Address3          Address4          City              State Zip

BETTY J WEST                                         PO BOX 278                                                                                     SHIRLEY           IN    47384‐0278
BETTY J WHERLEY                                      1898 SALTWELL ROAD NW                                                                          DOVER             OH    44622‐7469
BETTY J WILKEN                                       W2893 MAIL RTE RD                                                                              PRENTICE          WI    54556‐9713
BETTY J WILLIAMS                                     5622 KNOLLCREST DR                                                                             SHREVEPORT        LA    71129
BETTY J WILLIS                                       2579 QUEENSWAY DR                                                                              GROVE CITY        OH    43123‐3346
BETTY J WILSON & DAVID W GRIDER JT TEN               9417 CRIMSON KING CT                                                                           DAVISON           MI    48423‐1187
BETTY J WINTERS                                      ATTN BETTY J                          806 E AVE K‐7                                            LANCASTER         CA    93535‐4796
BETTY J WOODROW & JAMES P WOODROW JT TEN             11091 SEYMOUR RD                                                                               MONTROSE          MI    48457‐9127

BETTY J WOOTON                                       9711 CHURCH RD                                                                                 HURON             OH    44839‐9301
BETTY J WORKMAN                                      422 WATERFORD LN                                                                               AVON              IN    46123
BETTY J ZYCH                                         2809 N 58TH ST                                                                                 KANSAS CITY       KS    66104‐2020
BETTY JAMES                                          550 WOODLAWN                                                                                   YPSILANTI         MI    48198‐6137
BETTY JANE ADEN                                      28545 BLANCHARD RD                                                                             DEFIANCE          OH    43512‐8082
BETTY JANE BAILEY                                    891 HOMEWOOD                                                                                   SALEM             OH    44460‐3813
BETTY JANE BECK                                      2827 WOODFORD CIRCLE                                                                           ROCHESTER HILLS   MI    48306‐3067
BETTY JANE BERGSTROM                                 1861 COLLEGE PLACE                                                                             LONG BEACH        CA    90815‐4506
BETTY JANE BLANKENSHIP                               487 KATHY'S WAY                                                                                XENIA             OH    45385‐4885
BETTY JANE CHESTER                                   APT 1                                 2920 SAN RAE DR                                          KETTERING         OH    45419‐1853
BETTY JANE COSTELLO                                  26 NORCROSS LN                                                                                 SYLVA             NC    28779
BETTY JANE CRIDDLE                                   141 CR 1741                                                                                    LONGBRANCH        TX    75669‐3805
BETTY JANE CULLEN                                    17490 W CREST HILL DR UNIT 12                                                                  BROOKFIELD        WI    53045
BETTY JANE DAVID                                     35 SUTTON PL                                                                                   NEW YORK          NY    10022‐2464
BETTY JANE DOAK                                      9313 SARASOTA DR                                                                               KNOXVILLE         TN    37923‐2743
BETTY JANE FINE                                      5977 SOUTH YAMPA STREET                                                                        AURORA            CO    80016‐1182
BETTY JANE FOLSE                                     1001 TRAILWOOD DR                                                                              HURST             TX    76053‐4915
BETTY JANE GELETZKE & MARY STEFFIK JT TEN            12626 BIRCHBROOK CT                                                                            POWAY             CA    92064‐1509
BETTY JANE GREEN                                     1025 DUSTIN DR                                                                                 LADY LAKE         FL    32159‐2409
BETTY JANE GRIESING                                  4313 VAN SLYKE RD                                                                              FLINT             MI    48507
BETTY JANE HAUPT                                     1923 MAXWELL AVE                                                                               DUNDALK           MD    21222‐2916
BETTY JANE HEFFNER                                   BOX 107                                                                                        WASHINGTONVILLE   PA    17884‐0107

BETTY JANE JOHNSON                                   2616 CONNEMARA DR                                                                              MATTHEWS          NC    28105‐4039
BETTY JANE JONES                                     1144 STONEWOOD CT                                                                              SAN PEDRO         CA    90732‐1521
BETTY JANE KINCAID                                   723 FAIRVIEW AVE                                                                               WOODBURY          NJ    08097‐1501
                                                                                                                                                    HEIGHTS
BETTY JANE MARR & RANDALL G MARR JT TEN              617 S CHARLES ST                                                                               SAGINAW           MI    48602
BETTY JANE MATTOON                                   54 LUCAS PARK DRIVE                                                                            SAN RAFAEL        CA    94903
BETTY JANE MILLER                                    30 GAP NEWPORT PIKE                                                                            AVONDALE          PA    19311
BETTY JANE OMARA ROSS                                7912 LYNNHAVEN                                                                                 LUBBOCK           TX    79423‐1733
BETTY JANE PUSEY                                     5370 VINEYARD DRIVE                                                                            CLAY              NY    13041
BETTY JANE RISDON                                    1519 W RIDGEVIEW DR                                                                            LAPEER            MI    48446‐1482
BETTY JANE RUSSELL & JOHN W RUSSELL JT TEN           10275 COURTLAND NE                                                                             ROCKFORD          MI    49341‐8436
BETTY JANE SHERIDAN                                  58 INDIAN HILL ROAD                   PO BOX 316                                               WINNETKA          IL    60093‐0316
BETTY JANE SOUTHWICK                                 2177 GARDEN DR                                                                                 WICKLIFFE         OH    44092‐1114
BETTY JANE SQUIRES & ALBERT L SQUIRES III JT TEN     5496 CHALFONTE PASS                                                                            GRAND BLANC       MI    48439‐9145

BETTY JANE STAHL                                     2015 W JEFFERSON ST                                                                            KOKOMO            IN    46901‐4125
BETTY JANE TRISSELL TOD JAMES LEE SZEKELY JR         PO BOX 601                                                                                     SMYRNA            TN    37167‐0601
SUBJECT TO STA TOD RULES
BETTY JANE TROESTLER                                 W407 DUNPHY RD                                                                                 ALBANY            WI    53502‐9761
BETTY JANE WILLIAMS TR BETTY JANE WILLIAMS TRUST     425 DAVIS ST                          UNIT 426                                                 EVANSTON          IL    60201‐4828
UA 03/11/97
BETTY JANE WOJCIK                                    95 ITALY ST                                                                                    MOCANAQUA         PA    18655
BETTY JAYNE HOTALING                                 1 OCEANS WEST BLVD                    APT 22 B 1                                               DAYTONA BEACH     FL    32118
BETTY JEAN BROWNING                                  3890 N 650 W                                                                                   OGDEN             UT    84414‐1471
BETTY JEAN BUCKLES                                   4624 DE ROME DR                                                                                FORT WAYNE        IN    46835‐1538
BETTY JEAN BURRITT TR UA 08/28/89 BETTY JEAN         PO BOX 2966                                                                                    VENTURA           CA    93002‐2966
BURRITT TRUST 1989
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 414 of 850
Name                                               Address1                              Address2             Address3          Address4          City               State Zip

BETTY JEAN CHAMBERS                                7515 SHARON LEE DR                                                                             MENTOR             OH    44060‐5735
BETTY JEAN CONANT                                  9773 HUNTINGTON PK                                                                             STRONGSVILLE       OH    44136‐2511
BETTY JEAN COUGILL                                 8444 W 500 S                                                                                   MODOC              IN    47358‐9535
BETTY JEAN DENVER                                  205 FLORENCE AVE                                                                               WILMINGTON         DE    19803‐2339
BETTY JEAN FARLEY                                  3825 KENT DR                                                                                   TROY               MI    48084‐1071
BETTY JEAN HARMEIER                                5206 DUPONT STREET                                                                             FLINT              MI    48505‐2647
BETTY JEAN HOCKENBURY                              835 LANTERN LANE                                                                               BLUE BELL          PA    19422‐1613
BETTY JEAN HUNNICUTT                               2975 WILLOWSTONE DR                                                                            LIZELLA            GA    31052‐1742
BETTY JEAN JACINTO                                 77663 EDINBOROUGH ST                                                                           PALM DESERT        CA    92211‐8837
BETTY JEAN KELLEY                                  7 BEECH COURT S                                                                                HOMOSASSA          FL    34446
BETTY JEAN KOVARIK                                 25141 AULT RD                                                                                  PERRYSBURG         OH    43551‐9674
BETTY JEAN LAUX & BENJAMIN GREGORY LAUX JT TEN     PO BOX 5548                                                                                    FRISCO             TX    75035‐0217

BETTY JEAN MARIE RUMBLE & ORVILLE H RUMBLE JT     37884 MAPLE HILL                                                                                HARRISON           MI    48045‐2735
TEN                                                                                                                                               TOWNSHIP
BETTY JEAN MEYERS                                 832 N WILLOW ST                                                                                 RUSHVILLE          IN    46173‐1432
BETTY JEAN MOXLEY                                 PO BOX 357                                                                                      BETHANY BEACH      DE    19930‐0357
BETTY JEAN PARRISH & VICKY P MOLNAR JT TEN        270 SCHAEFFER LOOP                                                                              EADS               TN    38028
BETTY JEAN PROWSE                                 9 HARBOUR DRIVE                                                                                 CHEEKTOWAGA        NY    14225‐3707
BETTY JEAN RANDOLPH                               13641 GRACKLE DR                                                                                FORT MYERS         FL    33908‐5817
BETTY JEAN SCHULTZ                                110 WILLOW DRIVE                                                                                GREENVILLE         OH    45358
BETTY JEAN SCOTT                                  114 ELLIS ST                                                                                    MARTINSBURG        WV    25404‐4748
BETTY JEAN SIMPSON                                5807 MANCHESTER DR E                                                                            LAKELAND           FL    33810‐6245
BETTY JEAN SMITH                                  347 GREENE ROAD 154                                                                             PARAGOULD          AR    72450‐7621
BETTY JEAN TAYLOR                                 6675 TIFTON GREEN TRAIL                                                                         CENTERVILLE        OH    45459‐5810
BETTY JEANNE FITZGERALD & STEVEN RILEY FITZGERALD 15150 CHANNEL DR                                                                                LACONNER           WA    98257‐4736
JT TEN
BETTY JEANNE HICKS                                2033 BELFORD DRIVE                                                                              WALNUT CREEK       CA    94598
BETTY JEANNE MARSH & GERALD K MARSH JT TEN        2765 MOREL DRIVE                                                                                HIGHLAND           MI    48356‐2770
BETTY JEANNIE WILCHER                             10505 GLENWOOD DR                                                                               TACOMA             WA    98498‐4325
BETTY JENNINGS                                    17044 LOUIS CT                                                                                  SOUTH HOLLAND      IL    60473‐3343
BETTY JENSEN                                      2352 RED HILL RD                                                                                LEWISTOWN          MT    59457‐8861
BETTY JO BRESNICK CUST GAREN M BRESNICK UGMA      39 LARCRIDGE LANE                                                                               ASHLAND            MA    01721‐2256
MA
BETTY JO CHERRY                                   6 CHIPPEWA CT                                                                                   SAGINAW            MI    48602‐2808
BETTY JO CHILCOTT                                 2035 ALTON DR                                                                                   KOKOMO             IN    46901
BETTY JO CHISLER & CLIFTON L CHISLER JT TEN       822 WHISPERING WAY                                                                              SOUTH              WV    25303‐2727
                                                                                                                                                  CHARLESTON
BETTY JO GARLING                                   11564 RAVENSBERG CT                                                                            CINCINNATI         OH    45240‐2020
BETTY JO HORN                                      564 PAOPUA LO                                                                                  KAILUA             HI    96734‐3532
BETTY JO HULMES                                    77 BRUNSWICK AVENUE                                                                            LEBANON            NJ    08833‐2142
BETTY JO KING                                      40262 RIVERBEND DR                                                                             STERLING HEIGHTS   MI    48310‐7804

BETTY JO KOHARSKI                                  P O BOX 24867                                                                                  FEDERAL WAY        WA    98093
BETTY JO L BUTLER                                  748 TIDEWATER TRAIL                                                                            SUPPLY             VA    22436‐2311
BETTY JO LICATA                                    92 TOPAZ CIRCLE                                                                                CANFIELD           OH    44406‐9674
BETTY JO LYONS                                     8529 N 9 MILE RD                                                                               STANDISH           MI    48658‐9304
BETTY JO PARHAM                                    909 SOUTH HAYNES                                                                               FORT WORTH         TX    76103‐3520
BETTY JO PENNINGTON                                7311 THRUSH GARDEN                                                                             SAN ANTONIO        TX    78209‐3538
BETTY JO POTEET TR 05/03/01 BETTY JO POTEET 2001   45463 LAURI LN                                                                                 OAKHURST           CA    93644‐9545
TRUST U T A
BETTY JO RUTHERFORD                                15242 CICOTTE                                                                                  ALLEN PARK         MI    48101‐3006
BETTY JO RUTHERFORD                                17584 OLD STATE ROAD                                                                           MIDDLEFIELD        OH    44062‐8219
BETTY JO RYSTED TR BETTY JO RYSTED LVG TRUST UA    4608 N W32 PL                                                                                  OKLAHOMA CITY      OK    73122‐1324
4/8/98
BETTY JO SHROCK EX UW CHARLES E SHROCK             106W 1000S                                                                                     BUNKER HILL        IN    46914
BETTY JO SPICER & JOSEPH E SPICER JT TEN           1903 N REDWOOD DRIVE                                                                           INDEPENDENCE       MO    64058‐1573
BETTY JO VYDRA                                     6274 FAIRWAY DR W                                                                              FAYETTEVILLE       PA    17222‐9237
BETTY JO WRAY                                      2236 E BUDER                                                                                   BURTON             MI    48529‐1736
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 415 of 850
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

BETTY JOAN GAMMONS                                 4623 CREPE MYRTLE CIR                                                                           MARIETTA          GA    30067‐4621
BETTY JOAN SUNDERHAUS                              8842 NABIDA DRIVE                                                                               CINCINNATI        OH    45247‐2629
BETTY JOYCE THORNTON                               7 KINGSBRIDGE WAY                                                                               LITTLE ROCK       AR    72212‐3667
BETTY JUNE DUNCAN                                  1412 BALSAM DR                                                                                  DAYTON            OH    45432‐3232
BETTY JUNE MCBROOM & DALE MCBROOM JT TEN           2394 COVERT ROAD                                                                                BURTON            MI    48509‐1061
BETTY JUNE TOMAN                                   1157 OVERLOOK CT                                                                                PICHERINGTON      OH    43147‐8238
BETTY K ANDERSON                                   403 MILLERS RUN                                                                                 GLEN MILLS        PA    19342
BETTY K CALVI                                      52 HILLSIDE ST                                                                                  SOUTH MERIDEN     CT    06451‐5226
BETTY K CROSS                                      155 NOTHE ANA                                                                                   SAINT MARYS       OH    45885‐9556
BETTY K DIEUGENIO                                  3160 MEADOW LANE N E                                                                            WARREN            OH    44483‐2634
BETTY K KIRKWOOD                                   1264 BRISTOL CHAMPION TL                                                                        BRISTOLVILLE      OH    44402
BETTY K MALYS                                      3367 BAZETTA ROAD                                                                               CORTLAND          OH    44410‐9398
BETTY K MC LAUGHLIN                                152 MAYFAIR DRIVE                                                                               PITTSBURG         PA    15228‐1145
BETTY K MORE & JOHN M MORE & DAVID M MORE JT       7430 LAKE BREEZE DR UNIT 207                                                                    FORT MYERS        FL    33907‐8058
TEN
BETTY K NELSON                                     7614 NORRIS FREEWAY                                                                             KNOXVILLE         TN    37938‐4223
BETTY K OBRIEN                                     5426 DUNBAR DR                                                                                  GRAND BLANC       MI    48439‐9152
BETTY K SCHNEIDER                                  329 MELWOOD ST                                                                                  HOT SPRINGS       AR    71901
BETTY K SPENCER & ALICE ISOM JT TEN                642 VILLAGE DR                                                                                  BLOOMINGTON       IN    47403‐1912
BETTY K WEBBER                                     2304 PERRY AVE                                                                                  EDGEWOOD          MD    21040‐2808
BETTY KINNARD                                      PO BOX 693                                                                                      LINDALE           TX    75771‐0693
BETTY KIRK                                         4247 STATE ROUTE 123                                                                            FRANKLIN          OH    45005‐9757
BETTY KUNKEL                                       0661E 300 NORTH                                                                                 BLUFFTON          IN    46714‐9714
BETTY L ADAM                                       8501 E HEFNER RD                                                                                JONES             OK    73049‐8500
BETTY L ALDRIDGE                                   1007 BEATRICE DR                                                                                DAYTON            OH    45404‐1418
BETTY L ALOISIO                                    162 LEGACY PARK CIR                                                                             DEARBORN HTS      MI    48127‐3485
BETTY L ANDERSON                                   1131 FULTON STREET                                                                              ELKHART           IN    46514‐2430
BETTY L ANDREWS                                    930 SANDRA LEE DRIVE                                                                            TOLEDO            OH    43612‐3131
BETTY L BACCHUS                                    3002 BRANCH RD                                                                                  FLINT             MI    48506‐2902
BETTY L BALL                                       3982 HAMPSHIRE AVE                                                                              POWELL            OH    43065‐7766
BETTY L BANKS                                      256 WEST 5TH ST                                                                                 MANSFIELD         OH    44903‐1578
BETTY L BLANKENSHIP                                13220 US HWY 441 SE                                                                             OKEECHOBEE        FL    34974‐2032
BETTY L BREEDLOVE                                  160 DELPHIA DRIVE                                                                               BREVARD           NC    28712
BETTY L BRICKERT                                   PO BOX 161                                                                                      CLAYTON           IN    46118‐0161
BETTY L BRITTON                                    201 MONTEGO KY                                                                                  NOVATO            CA    94949‐5326
BETTY L BRUNS & LESTER A BRUNS JT TEN              202 SUN BLVD                                                                                    EASLEY            SC    29642
BETTY L BUNTON TR BETTY L BUNTON LIVING TRUST UA   7237 HAWTHORNE CIR                                                                              GOODRICH          MI    48438‐9239
08/18/92
BETTY L CAMERON                                    3005 LISA LANE                                                                                  ARLINGTON         TX    76013‐2039
BETTY L CARTER                                     337 DEVONSHIRE RD                                                                               HAGERSTOWN        MD    21740‐4507
BETTY L CASKEY                                     219 COUNTRY CLUB DR                                                                             MOUNT PLEASANT    TX    75455‐6725

BETTY L CASSEL                                     1016 TURNER STREET                                                                              DEWITT            MI    48820‐9606
BETTY L CHORNOBY                                   8014 REDWOOD COURT                                                                              FOX LAKE          IL    60020‐1045
BETTY L COLLIN                                     4012 GETTYSBURG DR                                                                              KOKOMO            IN    46902‐4914
BETTY L CONLEY                                     628 W JESSAMINE AVE                                                                             ST PAUL           MN    55117‐5614
BETTY L CONWAY                                     3729 S DEARBORN                                                                                 INDPLS            IN    46237‐1238
BETTY L COOK                                       4751 W VERNON RD                                                                                WEIDMAN           MI    48893‐9728
BETTY L COOK                                       ATTN BETTY L BLAIR                     392 BRIDLE LN S                                          WEST CARROLLTON   OH    45449‐2118

BETTY L CRISP                                      24683 BOWMAN RD                                                                                 DEFIANCE         OH     43512‐8994
BETTY L CUDJOE                                     26142 PILLSBURY ST                                                                              FARMINGTON HILLS MI     48334‐4346

BETTY L CURTIS TOD SUZETTE CURTIS & DENNIS CURTIS PO BOX 1383                                                                                      CROSSVILLE        TN    38557

BETTY L DAVIES                                     3607 WILLOWDALE DR                                                                              SPARKS            NV    89434‐1785
BETTY L DAVIS & LEROY C DAVIS JR JT TEN            2009 NEWPORT PIKE                                                                               WILM              DE    19804‐3750
BETTY L DAVISSON                                   1750 ROSE CREST COURT                                                                           HAZELWOOD         MO    63042‐1590
BETTY L DONELSON                                   1004 E GERHART ST                                                                               KOKOMO            IN    46901‐1531
                                               09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 416 of 850
Name                                                 Address1                               Address2                 Address3      Address4          City             State Zip

BETTY L DUNN                                         814 FAIRWAY CT                                                                                  MIAMISBURG       OH    45342‐3316
BETTY L ELLIS & R MICHAEL ELLIS & DREMA A BRAUN JT   146 LAKESHORE DR                                                                                CLARKSTON        MI    48348‐1480
TEN
BETTY L EMARINE                                      2843 SO VRAIN ST                                                                                DENVER           CO    80236‐2114
BETTY L EVERLING                                     5700 GARRETSON LANE                                                                             OXFORD           MI    48371‐2844
BETTY L FARR                                         3352 WHITE LK RD                                                                                HIGHLAND         MI    48356‐1426
BETTY L FARRIS                                       5021 SKYLINE LN                                                                                 WASHINGTON TWP   MI    48094‐4237

BETTY L FELS                                         1300 OLD MISSION RD                    LOT 401                                                  NEW SMYRNA       FL    32168‐8642
                                                                                                                                                     BEACH
BETTY L FESS TR BETTY L FESS 2002 TRUST UA 06/07/02 1441 THACKER UNIT 403                                                                            DES PLAINES      IL    60016‐6449

BETTY L FINLEY                                       PO BOX 182                                                                                      ORLEANS          IN    47452‐0182
BETTY L FLIGER                                       773 PIPER RD                                                                                    MANSFIELD        OH    44905‐1328
BETTY L FORCE JASON                                  3301 DEXTER TRAIL                      APT R#1                                                  STOCKBRIDGE      MI    49285
BETTY L GAINES                                       49 STEELE CIR                                                                                   NIAGARA FALLS    NY    14304‐1111
BETTY L GERUGHTY & BARBARA E LANTZ JT TEN            420 WHITE PINE BLVD                                                                             LANSING          MI    48917‐8820
BETTY L GILLESPIE                                    506 WESTMORELAND RD                                                                             CHARLESTON       WV    25302‐4041
BETTY L GLENDY                                       9839 S 775 E                                                                                    CARBON           IN    47837‐8556
BETTY L GRANGER                                      3813 BROWN ST                                                                                   FLINT            MI    48532‐5223
BETTY L GRESSLEY                                     210 MEIRS RD                                                                                    MINERAL POINT    PA    15942‐5224
BETTY L GUFFY                                        C/O BETTY G NICHOLSON                  8066 GREENBRIER ROAD                                     JOELTON          TN    37080‐8857
BETTY L HARPER                                       135 SULLIVAN ROAD                                                                               DICKSON          TN    37055‐4038
BETTY L HARTWICK                                     C/O DOUGLAS S SMITH                    25106 ALDENSHIRE COURT                                   KATY             TX    77494
BETTY L HENDERSON                                    4323 FAIRFAX DR EAST                                                                            BRADENTON        FL    34203‐4049
BETTY L HOBSON‐ROSBOROUGH                            3433 BRIMFIELD                                                                                  FLINT            MI    48503‐2944
BETTY L HOLMES                                       1314 NORTHBEND RD                                                                               JARRETTSVILLE    MD    21084‐1338
BETTY L HOLMES                                       3701 COUNTY ROAD F                                                                              SWANTON          OH    43558‐9776
BETTY L HOPPER                                       2131 N OHIO                                                                                     KOKOMO           IN    46901‐1661
BETTY L HOSKINS                                      603 MAUMEE DRIVE                                                                                KOKOMO           IN    46902‐5521
BETTY L HUMPHREYS & EARLY L HUMPHREYS JT TEN         HC 77 BOX 226                                                                                   BALLARD          WV    24918‐9621

BETTY L JACQUES                                      21245 EVERGREEN COURT                                                                           MOUNT DORA       FL    32757‐9754
BETTY L JEWETT & MATHEW W JEWETT JT TEN              57 ROBERT DELL COVE                                                                             MEMPHIS          TN    38117‐2716
BETTY L JONES TOD BETTY JEAN BERTI SUBJECT TO STA    4265 CONNECTICUT                                                                                ST LOUIS         MO    63116‐1903
TOD RULES
BETTY L JONES TR BETTY L JONES TRUST UA 09/19/96     3900 HAMMERBERG ROAD                   APT 110                                                  FLINT            MI    48507‐6023

BETTY L KARLINGER                                    811 NE 41ST ST                                                                                  KANSAS CITY      MO    64116‐5215
BETTY L KINDER                                       13375 STATE RT 69                                                                               REYNOLDS STATION KY    42368‐6006

BETTY L KIRBY                                        4808 BLACK RIVER                                                                                BLACK RIVER      MI    48721‐9726
BETTY L KNIGHT                                       3950 HAZEL AVE                                                                                  NORWOOD          OH    45212‐3828
BETTY L KOTZIAN & CARL T KOTZIAN JT TEN              8780 W SHELBY RD                                                                                SHELBY           MI    49455‐8043
BETTY L KOZUH                                        1140 WOLLENHAUPT DRIVE                                                                          VANDALIA         OH    45377‐3238
BETTY L LANDRUM & JANICE K LANDRUM JT TEN            327 NORMANDY RD                                                                                 ROYAL OAK        MI    48073‐5111
BETTY L LEWIS                                        4282 WEST 155TH ST                                                                              CLEVELAND        OH    44135‐1318
BETTY L LIPP                                         503 FUGATE DR                                                                                   DEFIANCE         OH    43512
BETTY L LITSCHER                                     300 STARKWEATHER DRIVE                                                                          BEAVER DAM       WI    53916
BETTY L LOWRY                                        61 NIGHTHAWK KNOLL                                                                              FAIRVIEW         NC    28730‐9113
BETTY L LUKEFAHR                                     179 FM 457                                                                                      BAY CITY         TX    77414‐1475
BETTY L LUNDAHL                                      BOX 498                                                                                         IRON RIVER       MI    49935‐0498
BETTY L LYNCH                                        425A MISSION VALLEY ACRES RD                                                                    VICTORIA         TX    77905‐2615
BETTY L MASSIE                                       3116 WARREN BURTON ROAD                                                                         SOUTHINGTON      OH    44470‐9581
BETTY L MAY & CHERYL MAY ATTAWAY JT TEN              17406 E 43RD TERRACE CT S                                                                       INDEPENDENCE     MO    64055‐7663
BETTY L MAY & KIRK R MAY JT TEN                      17406 E 43RD TERRACE CT S                                                                       INDEPENDENCE     MO    64055‐7663
BETTY L MC CLOSKEY                                   C/O BETTY L BENNER                     1202 N SMILEY ST                                         O FALLON         IL    62269‐1244
BETTY L MCFARLIN                                     O‐1526 LEONARD ST NW                                                                            GRAND RAPIDS     MI    49534‐9537
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 417 of 850
Name                                               Address1                            Address2              Address3         Address4          City           State Zip

BETTY L MCMULLEN TR MCMULLEN FAMILY TRUST UA       PO BOX 274                                                                                   LUCASVILLE     OH    45648‐0274
03/09/01
BETTY L MERVYN                                     32836 WINONA                                                                                 WESTLAND       MI    48185‐9446
BETTY L MILLER                                     6064 TOPHER TRL                                                                              MULBERRY       FL    33860‐8538
BETTY L MILLER                                     24044 HIGHWAY 157                                                                            SPRINGHILL     LA    71075‐4521
BETTY L MITCHELL                                   1801 E MILWAUKEE ST #209                                                                     JANESVILLE     WI    53545‐2645
BETTY L MITCHELL & LOUIS L MITCHELL JT TEN         5771 W WHITELAND RD                                                                          BARGERSVILLE   IN    46106‐9084
BETTY L MORRIS                                     ATTN BETTY L BLOCHER                1605 E HARRISON AVE                                      WHEATON        IL    60187
BETTY L MYERS & RONALD L MYERS JT TEN              2268 JONI LANE                                                                               STEVENSVILLE   MI    49127
BETTY L NAPOLEON                                   12210 MONICA                                                                                 DETROIT        MI    48204‐5302
BETTY L NEWCOMER                                   2646 20TH AVE                                                                                MONROE         WI    53566‐3616
BETTY L NORRIS & DAVID D NORRIS SR JT TEN          1046 SALMON ISLE                                                                             GREENACRES     FL    33413‐3018
BETTY L PARKER                                     PO BOX 2601                                                                                  ANDERSON       IN    46018‐2601
BETTY L PEARSON                                    4077 S 450 WEST                                                                              RUSSIAVILLE    IN    46979‐9473
BETTY L PEERCY                                     2635 SEARS RD                                                                                STOW           OH    44224
BETTY L PORTER                                     817 E HOLLAND AVE                                                                            SAGINAW        MI    48601‐2621
BETTY L PURCIFUL & KEVIN L PURCIFUL JT TEN         1834 RAVENSWOOD DR                                                                           ANDERSON       IN    46012‐3197
BETTY L REZEK                                      129 ERIE ST                                                                                  WELLINGTON     OH    44090‐1206
BETTY L RICHARDS                                   3333 PARIS DRIVE                                                                             DAYTON         OH    45439‐1219
BETTY L ROBINSON                                   112 EUNICE ST                                                                                MARTIN         TN    38237‐2410
BETTY L ROBINSON                                   1716 LATROY AVE                                                                              MT PLEASANT    SC    29464‐9205
BETTY L ROSS                                       6651 GLENGARRY AVE NW                                                                        CANTON         OH    44718‐2294
BETTY L ROSS & JAMES H ROSS JT TEN                 1609 FRANKLIN DR                                                                             PLAINFIELD     IN    46168‐1933
BETTY L RUMBLE                                     2918 BENTON BLVD                                                                             KANSAS CITY    MO    64128‐1141
BETTY L SAWYER                                     4860 NAFF STREET                                                                             BASTROP        LA    71220‐7452
BETTY L SCOTT                                      16 WEST 201 97TH ST                                                                          HINSDALE       IL    60521
BETTY L SCURLOCK TOD KEITH A SCURLOCK SUBJECT TO   156 CANDLE CT                                                                                ENGLEWOOD      OH    45322‐2742
STA TOD RULES
BETTY L SEWELL                                     2089 S 410 W                                                                                 RUSSIAVILLE    IN    46979‐9453
BETTY L SEWELL                                     4627 S MICHELLE                                                                              SAGINAW        MI    48601‐6632
BETTY L SHEID                                      2790 CARSON HWY                                                                              ADRIAN         MI    49221‐1111
BETTY L SIDENER                                    10808 E 66TH ST                                                                              RAYTOWN        MO    64133‐5341
BETTY L SIGMAN JR                                  3452 CHASE BRIDGE RD                                                                         GRAYLING       MI    49738‐9245
BETTY L SITES & JACK R SITES JT TEN                12260 S COUNTY RD 950E                                                                       GALVESTON      IN    46932‐8806
BETTY L SNYDER                                     1008 S CENTRAL AVE                                                                           FAIRBORN       OH    45324‐3702
BETTY L ST MARY                                    548 PIONEER TRL                                                                              SAGINAW        MI    48604‐2219
BETTY L SULLIVAN                                   4811 GRISWOLD RD                                                                             KIMBALL        MI    48074‐2110
BETTY L THAMES                                     PO BOX 313                                                                                   LENA           MS    39094‐0313
BETTY L THOMAS                                     2422 E WASHINGTON ST                STE 103                                                  BLOOMINGTON    IL    61704‐1611
BETTY L THOMAS                                     7821 S SUN MOR DR                                                                            MUNCIE         IN    47302‐9505
BETTY L TRACY                                      903 S MAIN ST APT 6                                                                          HOMER          IL    61849‐1527
BETTY L TUBBINS                                    6112 N 12TH WAY                                                                              PHOENIX        AZ    85014
BETTY L TURNER                                     1307 BRAMBLES                                                                                WATERFORD      MI    48328‐4737
BETTY L VAN GORDON                                 20200 HIBMA RD                                                                               TUSTIN         MI    49688‐8107
BETTY L VAN SLYCK                                  8524 S W K‐4 HIGHWAY                                                                         TOPEKA         KS    66614
BETTY L VASQUEZ                                    6666 HUFFER RD                                                                               ELIDA          OH    45807‐9766
BETTY L VIETH                                      624 SHAWNEE RD                                                                               BANNER ELK     NC    28604‐9224
BETTY L WALKER                                     826 OAK ST                                                                                   PORT HURON     MI    48060‐6315
BETTY L WALLACE                                    4022 LOST OAK DR                                                                             OOLTEWAH       TN    37363‐9025
BETTY L WHITEHORN                                  12571 SE 178TH PL                                                                            SUMMERFIELD    FL    34491‐8074
BETTY L WILLIAMS                                   1425 W CENTERLINE RD                                                                         ST JOHNS       MI    48879‐8150
BETTY L WILLIAMSON                                 1318 SCARLETT DR                                                                             ANDERSON       IN    46013‐2857
BETTY L WILLIFORD                                  2492 NORTHLAKE COURT NE                                                                      ATLANTA        GA    30345‐2226
BETTY L WITHERS                                    1617 MERILINE AVENUE                                                                         OBETZ          OH    43207‐4462
BETTY L WOODWARD                                   22 COWART STREET                                                                             DAYTON         OH    45417‐2124
BETTY L WOOTEN                                     STE 404                             302 CHERRY                                               HELENA         AR    72342‐3531
BETTY L WYMAN                                      551 ALESSANDRA CIRCLE               APT 2205                                                 ORANGE CITY    FL    32763
BETTY L YAKAITIS                                   38172 BEECHER DR                                                                             STERLING HTS   MI    48312‐1406
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                    Part 1 of 8 Pg 418 of 850
Name                                           Address1                              Address2               Address3          Address4          City              State Zip

BETTY L YARRINGTON UA 08/07/1990 BETTY L      2777 SW PASS AVE                                                                                  TOPEKA            KS    66611
YARRINGTON LIVING TRUST
BETTY L YOUNG                                 PO BOX 1285                                                                                       CAMDEN            NJ    08105‐0285
BETTY L YUNKER                                1346 BRIARFIELD DR                                                                                LANSING           MI    48910
BETTY LAWTON HARTWICK & DOUGLAS DARRELL SMITH 25106 ALDENSHIRE CT                                                                               KATY              TX    77494
JT TEN
BETTY LEAGUE                                  139 TWIN OAKS DR                                                                                  NASHVILLE         TN    37211‐2766
BETTY LEE                                     247 87TH ST                                                                                       BROOKLYN          NY    11209‐4911
BETTY LEE COX                                 9254 S RIVER RD                                                                                   MAIMISBURG        OH    45342‐4232
BETTY LEE GOETZKE                             8800 WALTHER BLVD                      APT 2317                                                   PARKVILLE         MD    21234‐9929
BETTY LEE PHILLIPS                            1918 DOORIDGE DR                                                                                  TWINSBURG         OH    44087‐1611
BETTY LEE S DULANY                            12310 ROSSLARE RIDGE RD                UNIT 407                                                   LUTHERVILLE       MD    21093‐8215
BETTY LEE WORKMAN & LEEANN LYNEA BONT JT TEN  3650 84TH STREET S E                                                                              CALEDONIA         MI    49316‐8347

BETTY LEE WORKMAN & RANDY LEE WORKMAN JT TEN   3650 84TH STREET S E                                                                             CALEDONIA         MI    49316‐8347

BETTY LEE WORKMAN & RICKEY EDWARD WORKMAN JT 3650 84TH STREET S E                                                                               CALEDONIA         MI    49316‐8347
TEN
BETTY LEIGHTON                                 5785 COBB CREEK RD                                                                               ROCHESTER         MI    48306‐2420
BETTY LEONARD MC KEVETT                        KILKERLEY HOUSE                       DUNDALK COUNTY LOUTH                     IRELAND
BETTY LEVAND                                   287 E EATON AVE                                                                                  TRACY             CA    95376‐3124
BETTY LEVOSKY                                  20 ROCKLEDGE RD                                                                                  NEWTON            MA    02461‐1800
BETTY LEVOSKY & CAROLYN J LEVOSKY JT TEN       20 ROCKLEDGE RD                                                                                  NEWTON            MA    02461‐1800
BETTY LINDE & DAVID E MACARTHUR TR LINDE TRUST 5563 ADAMS ST                                                                                    CHINO             CA    91710‐1930
SUB TRUST B UA 02/28/90
BETTY LOU ARMANTROUT                           PO BOX 1296                                                                                      WINTER PARK       FL    32790‐1296
BETTY LOU COOLMAN                              1812 COKER CT                                                                                    VIRGINIA BEACH    VA    23464‐7506
BETTY LOU CRAVALHO                             7415 DEFOREST COURT                                                                              HUGHSON           CA    95326
BETTY LOU F CORBO & LUANNE C FIRLIK JT TEN     2 FEDERAL STREET                                                                                 MINEVILLE         NY    12956‐1064
BETTY LOU FINNANCE                             14 KEITHLEY RD                                                                                   MANITOU SPRINGS   CO    80829

BETTY LOU FROUNFELTER                            7060 LITTLE TWIN LAKE RD NE                                                                    MANCELONA         MI    49659‐9516
BETTY LOU GIBSON                                 11687 W JOLLY RD                                                                               LANSING           MI    48911‐3022
BETTY LOU GRIESS                                 4401 H ST                                                                                      AMANA             IA    52203‐8004
BETTY LOU GRISWOLD                               920 SHANE ST                                                                                   CLEWISTON         FL    33440‐8417
BETTY LOU GROSS                                  64 WESTLINE STREET                                                                             PENNS GROVE       NJ    08069‐1268
BETTY LOU HAWKINS                                610 W OTTAWA #1005                                                                             LANSING           MI    48933‐1060
BETTY LOU HEISLER                                10 WALLACE AVE                                                                                 NORTHEAST         MD    21901‐3934
BETTY LOU INNIS                                  21 JOHN ST                          BOX 184                PORT LAMBTON ON   N0P 2B0 CANADA
BETTY LOU JONES                                  3140 LUDLOW RD                                                                                 SHAKER HEIGHTS    OH    44120‐2860
BETTY LOU KINNEY                                 1943 WEST 34TH ST                                                                              ERIE              PA    16508‐2007
BETTY LOU KISOR                                  4525 STEAMBOAT ISLAND RD NW                                                                    OLYMPIA           WA    98502‐8812
BETTY LOU MALLORY                                620 J ST                                                                                       SALT LAKE CITY    UT    84103‐3256
BETTY LOU MALLORY & PIERCE MALLORY JT TEN        620 J ST                                                                                       SALT LAKE CITY    UT    84103‐3256
BETTY LOU OTT                                    3078 KINGSWOOD CT                                                                              GREEN BAY         WI    54313‐9001
BETTY LOU PARDEE                                 5980 BRIARDALE LANE                                                                            SOLON             OH    44139‐2302
BETTY LOU PEISTER                                PO BOX 341                                                                                     CAMBRIA           CA    93428‐0341
BETTY LOU RUDOLPH                                705‐F SUNNY PINE WAY                                                                           W PALM BCH        FL    33415‐8961
BETTY LOU SANFORD                                87 SUNNYSIDE DR                                                                                DALTON            MA    01226‐1043
BETTY LOU SCHNAUFER & NORMAN L SCHNAUFER JT      APT B‐305                           111 ACACIA DR                                              INDIANHEAD PK     IL    60525‐4487
TEN
BETTY LOU SMITH                                  111 WEST PARK AVE                   APT 116                                                    AURORA            IL    60506‐4079
BETTY LOU SMITH TR BETTY LOU SMITH REV LIV TRUST 18435 CONESTOGA DR                                                                             SUN CITY          AZ    85373‐1766
UA 06/09/93
BETTY LOU STANGE                                 4177 S VASSAR ROAD                                                                             VASSAR            MI    48768‐9001
BETTY LOU W RITCHIE                              6238 LODI LANE                                                                                 SALINE            MI    48176‐8801
BETTY LOU WILKES                                 3705 GREYSTONE DR                                                                              AUSTIN            TX    78731‐1503
BETTY LOU WIMMER & CHRISTOPHER E WIMMER JT TEN PO BOX 2401                                                                                      SOUTHFIELD        MI    48037‐2401
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 419 of 850
Name                                             Address1                             Address2             Address3          Address4          City             State Zip

BETTY LOU WOLF                                    2253 LARCH DR                                                                                JEFFERSONVILLE   IN    47129‐1103
BETTY LOUISE FORD                                 1375 GARWOOD DR                                                                              MELBOURNE        FL    32904‐1946
BETTY LOUISE KELLY                                1108 SUNSET ST                                                                               IOWA CITY        IA    52246‐4939
BETTY LOVE                                        HRAUNTEIG 16                        REYKJAVIK                              ICELAND
BETTY LUALLIN                                     3331 W KELTON LANE                                                                           PHOENIX          AZ    85053‐2934
BETTY LUBUS                                       40 CLAPBOARD RIDGE                                                                           DANBURY          CT    06811‐4543
BETTY M AHLERS                                    6107 WILLOW HWY                                                                              GRAND LEDGE      MI    48837‐8981
BETTY M ALBOSTA & EDWARD J ALBOSTA JT TEN         5360 FORT ROAD                                                                               SAGINAW          MI    48601‐9312
BETTY M BAKER                                     1307 HARPSTER AVENUE                                                                         AKRON            OH    44314‐2215
BETTY M BENFORD TR ROLAND BENFORD & BETTY         360 NORBERT LANE                                                                             HEMLOCK          MI    48626‐8769
BENFORD TRUST 01/10/00
BETTY M BILLS & LISA A BILLS JT TEN               1812 SUMMERVIEW COURT                                                                        WOODSTOCK        GA    30189‐1554
BETTY M BILLS & LISA A LANE JT TEN                1812 SUMMERVIEW COURT                                                                        WOODSTOCK        GA    30189‐1554
BETTY M BILLS CUST SARAH L BILLS UGMA MI          4099 BEN HOGAN                                                                               FLINT            MI    48506‐1401
BETTY M BRACIK TOD LINDA PRITCHETT SUBJECT TO STA 42886 DELLEFIELD RD                                                                          ELYRIA           OH    44035
TOD RULES
BETTY M BROWN                                     2884 BARDER ST NE                                                                            WARREN           OH    44484‐3507
BETTY M CLARK                                     2139 FISCHER                                                                                 DETROIT          MI    48214‐2852
BETTY M COOPER                                    11895 N 75 W                                                                                 ALEXANDRIA       IN    46001‐8469
BETTY M DEATON                                    418 W HARRISON                                                                               CARRIER MILLS    IL    62917‐1214
BETTY M DOBBS                                     4107 NICHOLAS ROY CRT                                                                        PROSPECT         KY    40059
BETTY M EDGAR TR BETTY M EDGAR TRUST UA 12/9/97 100 TIMBER RIDGE WAY N W              APT 3208                                                 ISSAQUAH         WA    98027

BETTY M ELLIOTT                                  2791 HAWTHORNE WAY                                                                            SALINE           MI    48176‐1666
BETTY M FINN                                     PO BOX 185                                                                                    DAVISON          MI    48423‐0185
BETTY M FINN & JAMES B FINN JT TEN               PO BOX 185                                                                                    DAVISON          MI    48423‐0185
BETTY M GARRETT                                  1156 W SAN JOSE                                                                               FRESNO           CA    93711‐3111
BETTY M GEISLER & SARAH A GEISLER JT TEN         1651 34TH ST NW                                                                               WASH             DC    20007‐2742
BETTY M GREEN                                    1212 INFIRMARY RD                                                                             DAYTON           OH    45418‐1422
BETTY M GREEN & HAROLD GREEN JT TEN              2136 SHELMIRE AVENUE                                                                          PHILADELPHIA     PA    19152‐4211
BETTY M HARTMANN                                 182 AMEREN WAY APT 741                                                                        BALLWIN          MO    63021‐3317
BETTY M HIGGINS                                  2135 W MALLORY AVE                                                                            MILWAUKEE        WI    53221‐4260
BETTY M HILL                                     2205 JOHNSARBOR DR WEST                                                                       ROCHESTER        NY    14620‐3623
BETTY M HOLLIDAY                                 5757 W CHANDLER BLVD                                                                          CHANDLER         AZ    85226‐3602
BETTY M HOPKINS                                  461 LOCKERIDGE LANE                                                                           LAWRENCEVILLE    GA    30245‐6136
BETTY M HOUSEL                                   728 LANGTREE ROAD                                                                             MOORESVILLE      NC    28117‐7576
BETTY M HOWARD                                   2329 PARK AVENUE                                                                              CINCINNATI       OH    45212‐3309
BETTY M JACOBSEN                                 5107 N MAJOR                                                                                  CHICAGO          IL    60630‐4662
BETTY M JAMISON                                  4398 STONNYBROOK DR                                                                           WARREN           OH    44484‐2234
BETTY M JESENSKY                                 6006 BROWNFIELD DR                                                                            PARMA            OH    44129‐4002
BETTY M JONE TR BETTY M JONES LIVING TRUST UA    1405 E HAWTHORNE BL                                                                           WHEATON          IL    60187‐3750
11/17/95
BETTY M JONES                                    G‐3444 MACKIN RD                                                                              FLINT            MI    48504‐3283
BETTY M KETZEL                                   617 OBERLIN COURT                                                                             LADY LAKE        FL    32162
BETTY M LEITCH & RICHARD L LEITCH TEN COM        8880 SW 27TH AVE                     LOT B20                                                  OCALA            FL    34476‐6791
BETTY M LYNN                                     4705 WARREN SHARON RD NE                                                                      VIENNA           OH    44473‐9637
BETTY M MAAS                                     802 N SABAL PALM WAY                                                                          INVERNESS        FL    34453‐1502
BETTY M MAAS & FRANK A MAAS JT TEN               802 N SABAL PALM WAY                                                                          INVERNESS        FL    34453‐1502
BETTY M MACRI                                    43JOSEPH ST                                                                                   MERIDEN          CT    06451‐2010
BETTY M MAERKLE TR MAERKLE FAMILY TRUST UA       5032 TIERRA DEL ORO                                                                           CARLSBAD         CA    92018‐4150
02/11/98
BETTY M MARTIN TR UA 04/30/2004 BETTY M MARTIN   614 NW 18TH STREET                                                                            OKLAHOMA CITY    OK    73103
LIVING TRUST
BETTY M MENZEL                                   7821 MILL RD                                                                                  GASPORT          NY    14067‐9276
BETTY M MILLS                                    940 AUGUSTA WAY                      #213                                                     HIGHLAND PARK    IL    60035‐1840
BETTY M MINELLI                                  19 SAND POINT RD                                                                              WARETOWN         NJ    08758‐1644
BETTY M MOLINATTO                                351 CLEVELAND AVE E                                                                           WARREN           OH    44483‐1904
BETTY M MOORE                                    18727 NADOL DR                                                                                SOUTHFIELD       MI    48075‐5886
BETTY M MOORE                                    2133 N ARMSTRONG ST                                                                           KOKOMO           IN    46901‐5802
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 420 of 850
Name                                             Address1                                Address2             Address3          Address4          City              State Zip

BETTY M NASH                                     3057 INNSBROOK DRIVE                                                                             OWOSSO            MI    48867‐9299
BETTY M NOHL                                     822 3RD AVE W                                                                                    ASHLAND           WI    54806
BETTY M PARKER                                   197 WEST ST                                                                                      BEREA             OH    44017‐2354
BETTY M PATRICK                                  3123 GATESVILLE RD                                                                               CRYSTAL SPRINGS   MS    39259
BETTY M PULLIAM                                  119 KIRBY ROAD                                                                                   KING              NC    27021‐9491
BETTY M RUTHVEN                                  1372 WHITE RD                                                                                    PHELPS            NY    14532‐9502
BETTY M SABO                                     1123 HAVANA AVE                                                                                  JOHNSTOWN         PA    15904‐1014
BETTY M SIMS                                     372 W YERBY                                                                                      MARSHALL          MO    65340‐2533
BETTY M SPURLOCK                                 39 WYNDEMERE DR                                                                                  FRANKLIN          OH    45005‐2436
BETTY M STAHL TR BETTY M STAHL REVOCABLE TRUST   34 WINDFLOWER DR                                                                                 NEWARK            DE    19711‐7240
UA 09/03/99
BETTY M STRATTON                                 37 DAUNTON DR                                                                                    ROCHESTER         NY    14624‐4231
BETTY M TAGGART                                  1404 BREWSTER CR                                                                                 BIRMINGHAM        AL    35235‐2806
BETTY M THOMPSON                                 5914 COULSON CT                                                                                  LANSING           MI    48911‐5022
BETTY M TOLLANDER                                9411 BRENTWOOD DR                       APT 18                                                   LA VISTA          NE    68128‐8217
BETTY M TOLLANDER & ROBERT L TOLLANDER JT TEN    9411 BRENTWOOD DR APT 18                                                                         LA VISTA          NE    68128

BETTY M VAN GENDEREN                             41 TILLOU RD W                                                                                   SOUTH ORANGE      NJ    07079‐1357
BETTY M WADDELL & DONALD R TOMICHEK JT TEN       102 PARMA DR                                                                                     PITTSBURGH        PA    15209‐1528

BETTY M WARREN                                   189 MOODY AVE                                                                                    CANDLER           NC    28715‐9603
BETTY M WESTON                                   9411 BRENTWOOD DR 18                                                                             LA VISTA          NE    68128‐8217
BETTY M WINTER & CANDACE WINTER JT TEN           29790 PIERCE                                                                                     SOUTHFIELD        MI    48076‐2061
BETTY M WINTER & DOUGLAS E WINTER JT TEN         29790 PIERCE                                                                                     SOUTHFIELD        MI    48076‐2061
BETTY M WIRTH                                    PO BOX 107                                                                                       WAUKAU            WI    54980‐0107
BETTY MAE BLEDSOE                                2112 TRELLIS PL                                                                                  RICHARDSON        TX    75081
BETTY MAE FOLTZ                                  271 STANLEY AVE                                                                                  SHENANDOAH        VA    22849‐4211
BETTY MAE TOWNSEND                               643 PARK AVE                                                                                     HUNTINGTON        NY    11743‐3756
BETTY MANGIAGLI                                  199 ZANDHOCK RD                                                                                  HURLEY            NY    12443‐5710
BETTY MARIE LUNDIE & ALFRED J LUNDIE JT TEN      20519 CEDAR                                                                                      ST CLAIR SHORES   MI    48081‐1793
BETTY MARSHA BOWDLE                              453 HIGHWAY 29 SOUTH                                                                             DELIGHT           AR    71940‐8263
BETTY MASTANDREA                                 128 PARK AVENUE                                                                                  NUTLEY            NJ    07110‐3509
BETTY MAXINE BOWEN                               5187 ELK RIVER RD N                                                                              ELKVIEW           WV    25071‐9728
BETTY MAYER & SUSAN A KAPLAN JT TEN              6684 BOCA PINES TRL APT B                                                                        BOCA RATON        FL    33433‐7723
BETTY MCNAUGHTON                                 1480 US HIGHWAY 46                      APT 111A                                                 PARSIPPANY        NJ    07054‐1945
BETTY MEDLEY                                     626 E WEISHEIMER RD                                                                              COLUMBUS          OH    43214
BETTY MERCHANT                                   511 CADY AVENUE                                                                                  TOMAH             WI    54660‐1422
BETTY MERRITT                                    3212 BURLEITH AVENUE                                                                             BALTIMORE         MD    21215‐7908
BETTY MIDDLETON                                  PO BOX 493                                                                                       GREENVILLE        PA    16125‐0493
BETTY MILLS                                      2625 OME AVENUE                                                                                  DAYTON            OH    45414‐5114
BETTY MILLS MONTGOMERY                           5830 LYMAN AVE                                                                                   DOWNERS GROVE     IL    60516‐1403
BETTY MIRANDA                                    6604 WILLOW WAY                                                                                  AUSTIN            TX    78744
BETTY MONNETT                                    1715 E CO ROAD 1050 S                                                                            CLOVERDALE        IN    46120‐9133
BETTY MURRAY CUST SEAN MURRAY UTMA CA            1428 HILLMONT                                                                                    MODESTO           CA    95355‐1109
BETTY N BENJAMIN                                 1652 US 52                                                                                       MOSCOW            OH    45153‐9702
BETTY N KOUNS TTE SURVIVOR TRUST OF KOUNS        18735 WITHEY ROAD                                                                                MONTE SERENO      CA    95030‐4152
FAMILY TRUST DTD 12‐14‐90
BETTY N MELTON                                   54 WINTER VALLEY DRIVE                                                                           FENTON            MO    63026
BETTY N SCHEIE                                   PO BOX 30367                                                                                     LONG BEACH        CA    90853‐0367
BETTY N VANN TR UA 10/03/07 THE BENJAMIN TRUST   8414 EDGEMOOR DR                                                                                 HOUSTON           TX    77036‐5519

BETTY N VANN TR UA 10/03/2007 BENJAMIN TRUST     8414 EDGEMOOR DRIVE                                                                              HOUSTON           TX    77036‐5519

BETTY N WEST TOD DAVID B WEST SUBJECT TO STA TOD 212 BENTLEY DR                                                                                   NAPLES            FL    34110‐8626
RULES
BETTY N WEST TOD HOWARD J WEST SUBJECT TO STA    212 BENTLEY DR                                                                                   NAPLES            FL    34110‐8626
TOD RULES
BETTY N WEST TOD NANCY SELEMENT SUBJEC TTO STA 212 BENTLEY DR                                                                                     NAPLES            FL    34110‐8626
TOD RULES
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 421 of 850
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

BETTY N WILTZ                                     103 VILLAGE COURT                                                                             NATCHITOCHES    LA    71457
BETTY NASH                                        5031 BAKMAN AVE                      APT 3                                                    N HOLLYWOOD     CA    91601‐4266
BETTY NEWBERRY                                    18889 RIVERSIDE DR                                                                            BEVERLY HILLS   MI    48025‐3062
BETTY O CROWTHERS                                 7925 RUMKCAY AVE                                                                              ORLANDO         FL    32822
BETTY O DISMUKE                                   2998 ROSS CLARK CIR                  APT H‐43                                                 DOTHAN          AL    36301‐1135
BETTY O HUNT & JACQUELYN N FARWELL JT TEN         PO BOX 2184                                                                                   MURPHYS         CA    95247
BETTY O HUTMAN                                    505 E 79TH ST                                                                                 NEW YORK        NY    10021‐0709
BETTY O KNOBLOCH                                  503 ROSELAWN BLVD                                                                             LAFAYETTE       LA    70503‐4011
BETTY O PEARSON                                   5176 CAPRI LANE                                                                               FLINT           MI    48507‐4006
BETTY P ABELE                                     1769 GONDERT AVENUE                                                                           DAYTON          OH    45403‐3416
BETTY P BOYD                                      3050 ASHLEY AVENUE                                                                            MONTGOMERY      AL    36109‐2125
BETTY P CHRIST                                    S‐5450 COUNTRY CLUB LANE                                                                      HAMBURG         NY    14075‐5837
BETTY P DITULLIO                                  961 ADRIAN CIRCLE                                                                             GIRARD          OH    44420‐2134
BETTY P ENGLE                                     910 HILLSIDE DR                                                                               ANDERSON        IN    46011‐2034
BETTY P FARRIS                                    685 HIFNER RD                                                                                 VERSAILLES      KY    40383‐9685
BETTY P FERGUSON & RICHARD R ANDERSON JT TEN      1717 BELLEVUE AVE                    # 528C                                                   RICHMOND        VA    23227‐3961

BETTY P FLEURY                                    11021 SPEEDWAY                                                                                UTICA           MI    48317‐3548
BETTY P FLEURY & WILLIAM FRED FLEURY JT TEN       11021 SPEEDWAY                                                                                UTICA           MI    48317‐3548
BETTY P FOTIS                                     7668 EAST DAY VIEW CIRCLE                                                                     TUCSON          AZ    85750‐6474
BETTY P HARMAN                                    305 CHICKASAW COURT                                                                           ASHLAND         KY    41102‐4309
BETTY P JOSEPH                                    852 FREDERICK AVE                                                                             NILES           OH    44446‐2720
BETTY P LA PORTE TR BETTY P LA PORTE REVOCABLE    1001 MIDDLEFORD RD                   APT 308                                                  SEAFORD         DE    19973‐3638
TRUSTUA 09/12/97
BETTY P SUDDATH                                   1 B OAK HILL APTS                                                                             EUFAULA         AL    36027
BETTY PARDON                                      11999 SE HWY 69                                                                               BAXTER SPGS     KS    66713‐1494
BETTY PEDERSEN BELL & HEIDI ANN BELL JT TEN       915 SUNSET DR                                                                                 SPEARFISH       SD    57783‐1632
BETTY PEDERSEN BELL & KERRY SKAK BELL JT TEN      915 SUNSET DR                                                                                 SPEARFISH       SD    57783‐1632
BETTY PEDERSEN BELL & WENDY ROSEDA BELL JT TEN    915 SUNSET DR                                                                                 SPEARFISH       SD    57783‐1632

BETTY PERAINO                                      17551 FAIRFIELD                                                                              LIVONIA         MI    48152‐4411
BETTY PERFETTO & MARIO PERFETTO JT TEN             8000 MANVILLE DR                                                                             PITTSBURGH      PA    15237‐5664
BETTY PICKERING TR BETTY PICKERING LIVING TRUST UA 2200 CLEVLAND APT 302                                                                        MIDLANDA        MI    48640‐5506
6/16/98
BETTY PINGREY SULHOFF                              10806 YOLANDA AVE                                                                            NORTHRIDGE      CA    91326‐2722
BETTY PLANK                                        PO BOX 121                                                                                   CHATSWORTH      IL    60921‐0121
BETTY PRESCOTT                                     349 BELLARMINE DR                                                                            ROCHESTER       MI    48309‐1208
BETTY PREVO                                        2155 LONE BIRCH DR                                                                           WATERFORD       MI    48329‐4728
BETTY R ANDERSON                                   14673 ABINGTON                                                                               DETROIT         MI    48227‐1409
BETTY R ANDERSON                                   14529 REEDER ST                                                                              OVERLAND PARK   KS    66221‐8160
BETTY R ANELLO                                     3655 CHILI AVE                                                                               ROCHESTER       NY    14624‐5235
BETTY R BLAIR                                      PO BOX 1536                                                                                  NEWTOWN         PA    18940‐0896
BETTY R BROWN                                      135 ROBIN                                                                                    COMMERCE TWP    MI    48382‐4064
BETTY R BUTLER & ROBERT K BUTLER JT TEN            13229 WEST SERENADE CIR                                                                      SUN CITY WEST   AZ    85375‐1707
BETTY R ELLISON                                    200 RAWSON DR                                                                                NEW CARLISLE    OH    45344‐1223
BETTY R ERSKINE‐JONG                               4226 TRAPPER CRESCENT               MISSISSAUGA ON                         L5L 3A9 CANADA
BETTY R GOSS                                       10515 LAKESHORE RD                                                                           WILLIAMSBURG    MI    49690‐9420
BETTY R GRAY                                       2117 ARTHUR AVENUE                                                                           DAYTON          OH    45414‐3103
BETTY R HOLBIN                                     5045 DODGE RD W                                                                              CLIO            MI    48420‐8503
BETTY R HOLLENDER                                  PO BOX 2724                                                                                  MERRIFIELD      VA    22116‐2724
BETTY R LEE & LEONARD H LEE JT TEN                 2604 CARMAN                                                                                  ROYAL OAK       MI    48073‐3722
BETTY R LESLIE                                     7134 CURTIS DR                                                                               OFALLON         MO    63366‐9600
BETTY R LINDSEY                                    1083 CENTER GROVE RD                                                                         LA FAYETTE      GA    30728‐6983
BETTY R LONG                                       166 CHOTA CIR                                                                                LAFAYETTE       GA    30728‐3413
BETTY R LOWE & IRA D DEAN JT TEN                   1001 SW 18 ST                                                                                BLUE SPRINGS    MO    64015
BETTY R LUSTER                                     5813 BALDWIN BLVD                                                                            FLINT           MI    48505‐5113
BETTY R LYONS                                      4175 WEST MAPLE ROAD                                                                         FLINT           MI    48507‐3121
BETTY R MOODY                                      150 ANGLEWOOD DR                                                                             CROSSVILLE      TN    38558‐4015
BETTY R NOLL                                       3232 PINE BLUFFS DR                                                                          ELLICOTT CITY   MD    21042‐2274
                                                 09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 422 of 850
Name                                               Address1                            Address2             Address3          Address4          City             State Zip

BETTY R OAKLEY                                     1200 CALDWELL ST                                                                             MANSFIELD        OH    44906‐1963
BETTY R PARRISH                                    118 N 8TH                                                                                    MIDDLETOWN       IN    47356‐1306
BETTY R PARSONS                                    123 MEADOWVIEW DR                                                                            FAIRFIELDGLADE   TN    38558‐9015
BETTY R PONTIOUS                                   1107 N MCLEAN RD                                                                             PAYSON           AZ    85441‐2637
BETTY R SCHAFFER                                   806 FALESKY ST                                                                               RAHWAY           NJ    07065‐1820
BETTY R SCHLEICHER                                 C/O ERNEST D SCHLEICHER             9 ORANGE SW                                              WARREN           OH    44485‐4217
BETTY R SHEEHY                                     1231 CROOKED LAKE RD                                                                         FENTON           MI    48430‐1215
BETTY R TANASON                                    9680 DIXBORO RD                                                                              SOUTH LYON       MI    48178‐7011
BETTY R ZOMBAR                                     9330 CAIN DR N E                                                                             WARREN           OH    44484‐1711
BETTY RAE ANZACK                                   4733 TORRANCE BLVD #265                                                                      TORRANCE         CA    90503‐4100
BETTY RAE PASTOOR                                  3062 E 3200 N                                                                                TWIN FALLS       ID    83301‐0518
BETTY RANDALL                                      1318 EVANS AVE                                                                               NOBLESVILLE      IN    46060‐1822
BETTY RANDLE                                       20882 HAWTHORNE ST                                                                           HARPER WOODS     MI    48225‐1134
BETTY RAUB                                         PO BOX 2002                                                                                  GARDEN CITY      MI    48136‐2002
BETTY RAY CAMPBELL                                 C/O BETTY RAY LUSTER                5813 BALDWIN BLVD                                        FLINT            MI    48505‐5113
BETTY RAY D WANNAMAKER                             2225 BROUGHTON ST                                                                            ORANGEBURG       SC    29115‐4676
BETTY RAY LUSTER                                   5813 BALDWIN BL                                                                              FLINT            MI    48505‐5113
BETTY RENDER & JOHN A RENDER JT TEN                3731 WOODMAN DR                                                                              TROY             MI    48084‐1113
BETTY REYES                                        22484 SANTA CLARA ST                                                                         HAYWARD          CA    94541‐6232
BETTY ROBERTS                                      2860 SW RALEIGHVIEW DR                                                                       PORTLAND         OR    97225‐3145
BETTY ROBINSON                                     1716 LATROY AVE                                                                              MOUNT PLEASANT   SC    29464‐9205

BETTY ROBINSON                                     16164 VERONICA                                                                               EAST POINTE      MI    48021‐3642
BETTY ROSE KELLER                                  37936 SEAWAY CT                                                                              HARRISON TWP     MI    48045‐6201
BETTY ROSE SHAFER                                  BOX 297                                                                                      SHARPSVILLE      IN    46068‐0297
BETTY ROSENBERG & KAREN ROSENBERG JT TEN           995 FURNACE BROOK PKWY                                                                       QUINCY           MA    02169‐1617
BETTY RUSHBROOK                                    748 HILLSIDE DRIVE                                                                           LIGONIER         PA    15658‐8736
BETTY RUTH BASTIEN                                 1410 MINTOLA ST                                                                              FLINT            MI    48532‐4045
BETTY RUTH STARLAND TR UA 06/30/2008 BETTY R       2175 W LINWOOD RD                                                                            LINWOOD          MI    48634
STARLAND REVOCABLE TRUST
BETTY RYAN                                         2780 MARISSA WAY                                                                             SHELBY TWNSHP    MI    48316‐1297
BETTY S AMON                                       RD1                                                                                          ADAMSVILLE       PA    16110‐9801
BETTY S APPICH                                     103 RAVEN ROCK RD                                                                            RICHMOND         VA    23229‐7820
BETTY S AUTEN                                      RR1                                 531 W WASHINGTON                                         GALVESTON        IN    46932‐9491
BETTY S BELL                                       PO BOX 163                                                                                   ROWLESBURG       WV    26425‐0163
BETTY S BLICK TR INTERVIVOS TRUST 11/20/89 U‐A     10102 S OCEAN DR                    APT 602A                                                 JENSEN BEACH     FL    34957‐2562
BETTY S BLICK
BETTY S BRAZELLE                                   2082 VERNOR RD                                                                               LAPEER           MI    48446‐8315
BETTY S BRYANT                                     1004 RICHARD CIR                                                                             PALESTINE        TX    75803‐8574
BETTY S CATHER                                     17156 WILSON GAP RD                                                                          ROUND HILL       VA    20141‐2243
BETTY S COZBY                                      17211 N 130TH AVE                                                                            SUN CITY WEST    AZ    85375‐5025
BETTY S DAVIDSON & WILLIAM J DAVIDSON JT TEN       3711 VALLEYBROOK DRIVE              OAKWOOD HILLS                                            WILMINGTON       DE    19808‐1342

BETTY S EADES                                      PO BOX 1154                                                                                  ABINGDON         VA    24212‐1154
BETTY S FENNELL TR UW GREGG C BURNS                1124 WATERWAY LN                                                                             MYRTLE BEACH     SC    29572‐5776
BETTY S GEORGE & WILBURN E GEORGE JT TEN           83 DYERSBURG HWY                                                                             TRENTON          TN    38382‐5904
BETTY S GRANDPRE                                   RR #2 BOX 66                                                                                 ASHKUM           IL    60911‐9633
BETTY S GREENWOOD                                  509 CENTRAL WAY                                                                              ANDERSON         IN    46011‐1803
BETTY S HAFFNER                                    228 WARING AVENUE                                                                            STATE COLLEGE    PA    16801‐6109
BETTY S HARRIS                                     1792 PINEY CREEK RD                                                                          CHILLICOTHE      OH    45601‐8930
BETTY S HARRIS                                     2521 SHERWOOD DR                                                                             DECATUR          AL    35601‐5337
BETTY S HINTZ                                      45 SAND HILL SCHOOL RD                                                                       ASHEVILLE        NC    28806‐1036
BETTY S HOUCHENS                                   2542 N ARMSTRONG                                                                             KOKOMO           IN    46901‐5807
BETTY S KELLAR                                     1718 BENNETT ST                                                                              KOKOMO           IN    46901‐5118
BETTY S KELLOW                                     3590 S COUNTY RD 900 W                                                                       DALEVILLE        IN    47334‐9695
BETTY S KEYES                                      1252 OLD FARM CIR                                                                            WEBSTER          NY    14580‐9546
BETTY S LARSON                                     1210 PARK AVE                                                                                SHEPARDSVILLE    KY    40165‐9290
BETTY S LEWIS & NANCY L JAMES JT TEN               110 ELECTION HOUSE RD               PO BOX 0002                                              BUFFALO MILLS    PA    15534‐0002
BETTY S LISLES                                     2 NORTH DAVISON                                                                              JOLIET           IL    60433‐1322
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 423 of 850
Name                                             Address1                               Address2               Address3        Address4          City            State Zip

BETTY S MCGEHEE TR UA 12/18/92 BETTY S MCGEHEE   152 MCGEHEE ROAD                                                                                NATCHEZ         MS    39120‐8991
LIVING TRUST
BETTY S NEAL                                     775 BILTMORE PLACE                                                                              DAYTON          OH    45431‐2716
BETTY S PAFFORD                                  10357 E WILSON                                                                                  OTISVILLE       MI    48463‐9732
BETTY S REED TR BETTY S REED TRUST UA 08/07/01   7693 WHEATLAND RD N                                                                             KEIZER          OR    97303‐3456

BETTY S ROSE                                     3955 LANCASTER CT                                                                               YPSILANTI       MI    48197‐7400
BETTY S RUSSELL                                  103 MALSON ST                                                                                   JACKSON         SC    29831‐3327
BETTY S SANDLIN                                  1908 BUNDY AVE                         #B                                                       NEW CASTLE      IN    47362‐2918
BETTY S SHEARS                                   3524 W JOHNSON CIR                                                                              MUNCIE          IN    47304‐2522
BETTY S STRAIN                                   4016 BOBBIN LN                                                                                  ADDISON         TX    75001‐3103
BETTY S THARP                                    C/O KNOLL                              2825 LYDIA STREET SW                                     WARREN          OH    44481‐9619
BETTY S WALKER                                   ATTN ELIZABETH SUSAN WALKER            PO BOX 43143                                             CINCINNATI      OH    45243‐0143
BETTY S WHITE                                    225 WARDEN AVE                                                                                  ELYRIA          OH    44035‐2649
BETTY SALISBURY & KATHY E SALISBURY JT TEN       8665 MASON RD                                                                                   BROWN CITY      MI    48416‐8659
BETTY SCHILLER                                   110 COUNTRY VIEW LAKE                                                                           BRIGHTON        IL    62012
BETTY SCHWARZ                                    14 AMY DR                                                                                       WESTFIELD       NJ    07090‐2619
BETTY SELDIN                                     C/O KEITH A SELDIN                     1934 COMMERCE LANE     STE 2                             JUPITER         FL    33458‐5559
BETTY SEMINERIO                                  5 STUART LN                                                                                     OAK RIDGE       NJ    07438‐9154
BETTY SHERMAN & STANLEY SHERMAN JT TEN           3711 NE 88TH ST                                                                                 VANCOUVER       WA    98665‐1071
BETTY SHUCK                                      3337 PUNTA ALTA                        UNIT 1C                                                  LAGUNA WOODS    CA    92637‐2846
BETTY SIDLARIK                                   5316 WINSHALL                                                                                   SWARTZ CREEK    MI    48473‐1108
BETTY SIMMONDS                                   1170 DAY RD                                                                                     UNION CITY      MI    49094‐9725
BETTY SIMMONS                                    1996 SWAZEY DRIVE                                                                               DECATUR         GA    30032‐3906
BETTY SMITH                                      2406 CAPE HORN ROAD                    APT E12                                                  RED LION        PA    17356
BETTY SMITH                                      15826 KENTUCKY ST                                                                               DETROIT         MI    48238‐1130
BETTY SMOTHERS                                   1222 CALUMET AVE                                                                                NIAGRA FALLS    NY    14305‐2009
BETTY SOBOTTA & RUDOLPH R SOBOTTA JT TEN         W24065 CYRIL SOBUTTA LANE                                                                       ARCADIA         WI    54612‐8207
BETTY SPIES SANDERS                              BOX 885                                                                                         FAYETTE         AL    35555‐0885
BETTY STERLING CUST ROBERT STERLING UTMA IL      423 MARAWOOD                                                                                    WOODSTOCK       IL    60098‐9661
BETTY STEWART                                    5516 HIAWATHA CT                                                                                FAIRFIELD       OH    45014‐3320
BETTY STOKES JONES                               3937 N C 102 E                                                                                  AYDEN           NC    28513‐9529
BETTY SUE AKERS                                  ATTN ELIZABETH SUSAN WALKER            PO BOX 43143                                             CINCINNATI      OH    45243‐0143
BETTY SUE JONES                                  6206 LEDWIN DRIVE                                                                               TROY            MI    48098‐2047
BETTY SUE JONES                                  6206 LEDWIN DRIVE                                                                               TROY            MI    48098‐2047
BETTY SUE THOMPSON                               10132 HUMPHREY ROAD                                                                             CINCINNATI      OH    45242‐4651
BETTY SUE TOLLEY & CHARLOTTE S HUBER JT TEN      PO BOX 424                                                                                      CARDWELL        MO    63829‐0424
BETTY SULLIVAN                                   5909 ARROWHEAD BLVD                                                                             KOKOMO          IN    46902‐5506
BETTY SUZANNE LANGER TR LANGER FAMILY TRUST UA   1030 DEANA PLACE                                                                                ESCONDIDO       CA    92025
2/13/00
BETTY T BRADFORD                                 ATTN BETTY T LUCK                      101 FOX CREEK DRIVE                                      GOODE           VA    24556‐2101
BETTY T ECKDAHL TR UA 10/09/91 BETTY T ECKDAHL   2225 SHYROCK FERRY RD                                                                           VERSAILLES      KY    40383‐9055
TRUST
BETTY T FORD                                     4528 LACARMEN CT                                                                                TAMPA           FL    33611‐2337
BETTY T GREGORY                                  28 MARATHON AVE                                                                                 DAYTON          OH    45405‐3612
BETTY T HARDEE                                   735 KASIMIR DRIVE                                                                               JACKSONVILLE    FL    32211‐7269
BETTY T MC NALLY & STEPHEN D MC NALLY JT TEN     4 HIGHLAND TER                         APT 403                                                  PLYMOUTH        MA    02360‐6367
BETTY T SMITH                                    1030 HELEN DR                                                                                   HURRICANE       WV    25526‐9527
BETTY T WIKAR                                    2663 COLVIN BLVD                                                                                TONAWANDA       NY    14150‐4406
BETTY T WOODYARD                                 3171 WARREN RAVENNA ROAD S W                                                                    NEWTON FALLS    OH    44444‐8734
BETTY TAYLOR & RONALD TAYLOR JT TEN              29129 LAUREL WOODS #102                                                                         SOUTHFIELD      MI    48034‐4640
BETTY THOMAS CUST KIRK THOMAS UGMA NY            990 CHAPEL HILL DR                                                                              LAWRENCEVILLE   GA    30045‐2372
BETTY THOMPSON DOWNEY & BROWN L DOWNEY JT        4247 SHEPHERDSTOWN RD                                                                           MARTINSBURG     WV    25401‐0308
TEN
BETTY THORNTON MESKER & DOUGLASS C MESKER JT     6423 RENWICK CT                                                                                 TAMPA           FL    33647‐1173
TEN
BETTY TICHNELL                                   242 HILLTOP RD                                                                                  ELKTON          MD    21921‐2410
BETTY TUCKER BOYD & JAMES GLENN BOYD JT TEN      203 S GARNETT ST                                                                                HENDERSON       NC    27536‐4643
                                          09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 424 of 850
Name                                            Address1                             Address2                    Address3   Address4          City             State Zip

BETTY TYSON                                     119 UNION AVE                                                                                 IRVINGTON        NJ    07111‐3210
BETTY V ANDERSON                                79 FLAMINGO DRIVE                    HALIFAX NS                             B3M 1T2 CANADA
BETTY V HAYWARD TR UA 02/13/91 HAYWARD FAMILY   837 MUIRFIELD DR                                                                              OCEANSIDE        CA    92054‐7015
TRUST
BETTY V NAGY                                    7503 TIMKEN                                                                                   WARREN           MI    48091‐2032
BETTY V SCHROEDER                               5060 RIVES ROAD                                                                               ELMORE           AL    36025‐1920
BETTY V SHANGLE                                 5655 RAMSDELL NE                                                                              ROCKFORD         MI    49341‐9009
BETTY VROMAN                                    38 APPLE HILL DRIVE                                                                           BLUE MOUNDS      WI    53517‐9656
BETTY W ARNOLD                                  806 EAST MADISON                                                                              MOUNT PLEASANT   IA    52641‐1728

BETTY W BATES                                   227 VINCENZA LN                                                                               SCHENECTADY      NY    12303‐5646
BETTY W BELL                                    335 SKYRIDGE DR                                                                               DUNWOODY         GA    30350‐4515
BETTY W BRANDENBURG                             190 NORTHAMPTON RD                                                                            LEESBURG         GA    31763‐4530
BETTY W COOGLER                                 13101 STARBOARD CT                                                                            HUDSON           FL    34667‐1725
BETTY W DELPH                                   8751 N NASHVILLE RD                                                                           WILKINSON        IN    46186‐9735
BETTY W GATHERCOLE                              4557 ZUNI                                                                                     DENVER           CO    80211‐1518
BETTY W HASUL                                   5801 DELORA AVE                                                                               CLEVELAND        OH    44144‐4217
BETTY W JONES                                   8025 HILLRISE CT                                                                              ELKRIDGE         MD    21075‐6465
BETTY W KARRAS TR BETTY W KARRAS REV TRUST UA   309 BURTMAN                                                                                   TROY             MI    48083‐1002
10/17/83
BETTY W MC GRATH                                11432 LAUREL VIEW DRIVE                                                                       CHARLOTTE        NC    28273‐6695
BETTY W MINNICK                                 745 S HICKORY #116                                                                            OTTAWA           KS    66067‐2942
BETTY W SCHNEIDER                               PO BOX 5009                                                                                   KETCHUM          ID    83340‐5009
BETTY W STEFAN & JOHN G STEFAN JR JT TEN        81 PENNSYLVANIA AVE REAR                                                                      UNIONTOWN        PA    15401‐3622
BETTY WALDMAN                                   C/O BERT J WALDMAN                   7480 BEECHNUT ST            APT 219                      HOUSTON          TX    77074‐4505
BETTY WALSMITH                                  4333 SNOWBIRD AVE                                                                             BROOMFIELD       CO    80020‐7950
BETTY WARREN & BETTY D WARREN JT TEN            16571 LEXINGTON                                                                               REDFORD          MI    48240‐2434
BETTY WATTENDORF                                341 CHESTNUT HILL RD                                                                          CHEPACHET        RI    02814‐1946
BETTY WELLMAN & GLENN W WELLMAN JT TEN          3123 FRONTAGE CRT                                                                             HAZELWOOD        MO    63043
BETTY WESTON MC KNIGHT                          3085 GENESEE RD APT 222                                                                       FLINT            MI    48506
BETTY WHEELER                                   7005 WHITE OAK RD                                                                             JUNCTION CITY    KY    40440‐9530
BETTY WHITELEY FELDMAN                          7078 GAIN DR                                                                                  SAN DIEGO        CA    92119‐1923
BETTY WILBUR & MARY BEATY & ANN ZIMMERMAN JT    205 E PARK ST                                                                                 ST JOHN'S        MI    48879‐1851
TEN
BETTY WILLIAMS GALLO TR BETTY WILLIAMS GALLO    8805 CLEARVIEW DR                                                                             ORLAND PARK      IL    60462‐2771
TRUST UA 02/10/99
BETTY WILLIAMS PEGUES                           PO BOX 404                                                                                    MINEOLA          TX    75773‐0404
BETTY WILSON                                    2145 BRADFORD ST                                                                              CLEARWATER       FL    33760‐1922
BETTY WOLFE                                     4030 JACKSON PIKE                                                                             GROVE CITY       OH    43123‐8990
BETTY WRAY                                      PO BOX 315                                                                                    N SALEM          IN    46165‐0315
BETTY WRIGHT                                    4418 W 139TH ST                                                                               CLEVELAND        OH    44135‐2108
BETTY YUHASZ TOD DANIEL YUHASZ                  7901 SEAPINES ROAD                                                                            ORLAND PARK      IL    60462
BETTY ZEMANEK                                   7430 INDIAN CREEK RD                                                                          CINCINNATI       OH    45255‐3933
BETTY ZOLDEY                                    20711 FM 3009                                                                                 SAN ANTONIO      TX    78266‐2320
BETTY‐ANN BERTA                                 24 MARIGOLD LN                                                                                TUCKERTON        NJ    08087‐4014
BETTYANN F MANCINI                              11 W PATRICIA DRIVE                                                                           TRANSFER         PA    16154‐2819
BETTYE BUBENZER RHEA                            256 WEDGEWOOD DR                                                                              SHREVEPORT       LA    71105‐4116
BETTYE C SEWELL                                 DRAWER 9                                                                                      COLDSPRING       TX    77331‐0009
BETTYE C YERTON                                 2200 BARRINGTON                                                                               LAVACA           AR    72941‐3049
BETTYE H GRADY                                  2283 CREEK RD                                                                                 YORKLYN          DE    19736‐9705
BETTYE J BUSH                                   2024 GREENBRIER STREET                                                                        PLANO            TX    75074‐4655
BETTYE J EADDY                                  29 JULIANE DR                                                                                 ROCHESTER        NY    14624‐1406
BETTYE J ECHOLS                                 6058 DAVID BERGER                                                                             MT MORRIS        MI    48458‐2708
BETTYE J LAWSON                                 21 WYOMING AVE                                                                                BUFFALO          NY    14215‐4021
BETTYE J MCGEE                                  1016 MESQUITE HOLLOW PLACE                                                                    ROUND ROCK       TX    78665
BETTYE J MOORE & LEVI B MOORE SR JT TEN         C/O LEVI B MOORE JR                  540 N LAKE SHORE DR # 603                                CHICAGO          IL    60611‐7413
BETTYE J WOODLEE                                4509‐31ST STREET                                                                              DETROIT          MI    48210‐2575
BETTYE JANE WILLIAMS                            19446 SAINT MARYS ST                                                                          DETROIT          MI    48235‐2325
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 425 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

BETTYE JOURDAN BROWN & ROBERT L BROWN 3RD JT     PO BOX 100                                                                                     IUKA            MS    38852‐0100
TEN
BETTYE L MORRISON                                3829 MAPLE DR                                                                                  YPSILANTI        MI   48197‐3743
BETTYE L ROBERTS                                 6320 MEDGAR EVERS BLVD                                                                         JACKSON          MS   39213‐2501
BETTYE L STILLS                                  4477 PARKTON DR                                                                                WARRENSVILLE HTS OH   44128‐3531

BETTYE L WELLS                                   2400 WEST CHICAGO BLVD                                                                         DETROIT         MI    48206‐1741
BETTYE M RAMSEY‐GRAY                             39098 AL HIGHWAY 69                                                                            MOUNDVILLE      AL    35474‐1800
BETTYE NEWTON & REGINALD NEWTON & DEBORAH        2677 BURNS AVE                                                                                 MEMPHIS         TN    38114
DAVIS JT TEN
BETTYE P REDENBAUGH                              3249 S 380E                                                                                    ANDERSON        IN    46017‐9712
BETTYE R CYFERS                                  9868 MCKINLEY                                                                                  TAYLOR          MI    48180‐3686
BETTYE SPEAKS VEATER                             2060 MADISON ST                                                                                COMER           GA    30629‐3464
BETTYE W CHATHAM                                 651 BRANDY OAKS LOOP                                                                           WINTER GARDEN   FL    34787
BETTYE W DORRIS                                  810 COUNTRY PLACE BLVD                                                                         PEARLAND        TX    77584
BETTYE W HUNT                                    8630 W NEVSO DR 117                                                                            LAS VEGAS       NV    89147‐0409
BETTYLOU MILLER                                  318 ARCADE                                                                                     ELKHART         IN    46514‐2463
BETTYLOU WOODZELL                                PO BOX 524                                                                                     DAYTON          OH    45404‐0524
BEULAH A NOBLE                                   BOX 316                                                                                        NEWPORT         WA    99156‐0316
BEULAH A PAYNE                                   210 FLORIDA ST                                                                                 BUFFALO         NY    14208‐1205
BEULAH B CARMINE & FLORENCE M HATFIELD JT TEN    9900 VAN TASSEL LN                                                                             BALTIMORE       MD    21220‐1441

BEULAH BURNS MAHAN                               PO BOX 61                                                                                      LONDON          OH    43140‐0061
BEULAH C STEPHENSON CUST HARRIETT STEPHENSON     1833 WILSHIRE AVE                                                                              RALEIGH         NC    27608‐2131
UTMA NC
BEULAH C WEAVER                                  426 W MORGAN ST                                                                                CHURCH HILL     TN    37642‐3408
BEULAH C WITHERELL                               107 HIGHLAND DR A                                                                              GRAYLING        MI    49738‐7847
BEULAH CLEORA ADAMS                              6146 SARATOGA LN                                                                               FLINT           MI    48506‐1666
BEULAH D DIXON                                   4428 BUSY BEE LANE                                                                             INDIANAPOLIS    IN    46237‐2807
BEULAH E APPLEWHITE                              109 N VICKERY LN                                                                               MARION          IN    46952‐3008
BEULAH E LIND                                    26 W GRENADIER RD                                                                              SCOTTSVILLE     NY    14546‐1146
BEULAH E NULL                                    7310 S MEADOW DR                                                                               TIPP CITY       OH    45371‐9635
BEULAH E SAUERLAND                               3476 RIGGS RD                                                                                  OXFORD          OH    45056‐9245
BEULAH E WATTS                                   9470 POSTTOWN RD                                                                               DAYTON          OH    45426‐4347
BEULAH F ANDERSON                                49 ALLISON DR                         #L                                                       BUFFALO         NY    14225‐2502
BEULAH F BENARD                                  10384 COUNTY ROAD 8 50                                                                         MONTPELIER      OH    43543‐9680
BEULAH F DYE                                     BOX 85                                                                                         LOONEYVILLE     WV    25259
BEULAH F HARRIS & SHARON H HINCHMAN JT TEN       PO BOX 3329                                                                                    DANVILLE        CA    94526‐9529

BEULAH F TAULBEE                                  APT 304                              5620 N MAIN ST                                           DAYTON          OH    45415‐3413
BEULAH F THORNSBERRY                              6476 N BECK RD                                                                                CANTON          MI    48187
BEULAH F WEBB                                     1662 KAUFFMAN AVE                                                                             FAIRBORN        OH    45324‐3110
BEULAH G WELLS                                    17551 COULTER CREEK RD                                                                        LEAVENWORTH     WA    98826‐9231
BEULAH H DOTSON                                   14830 NARANJA LAKES BLVD APT 2R                                                               NARANJA         FL    33032‐8315
BEULAH HOLMAN                                     110 MILL LN                                                                                   STAFFORD        VA    22556‐1116
BEULAH HUTTON                                     4400 W MARKET ST                                                                              LOUISVILLE      KY    40212‐2549
BEULAH I HAWLEY                                   12726 S WESTGATE DR                                                                           PALOS HEIGHTS   IL    60463‐2235
BEULAH I SIERS                                    78 LUCKY LN                                                                                   WALKER          WV    26180
BEULAH J HAVERSTICK                               2301 BLACK MORE                                                                               MAYVILLE        MI    48744‐9766
BEULAH J HUGHES                                   4482 KIRK RD                                                                                  VASSAR          MI    48768‐9789
BEULAH L SCHNETTLER                               4495 CALKINS ROAD                    #216                                                     FLINT           MI    48532‐3575
BEULAH L SCOTT                                    12534 WADE                                                                                    DETROIT         MI    48213‐1802
BEULAH L SMITH & FREDRICA S MAVEETY TR L/BL SMITH 111 CHRISTINE CIRCLE                                                                          HORSESHOE BAY   TX    78657‐6033
TRUST A UA 07/11/91
BEULAH M COPP                                     3006 MATTHEW DR #F                                                                            KOKOMO          IN    46902‐4060
BEULAH M DOHNER                                   511 E BROADWAY                                                                                ASTORIA         IL    61501‐8524
BEULAH M GLASSCOCK                                PO BOX 434                                                                                    HAZEL GREEN     KY    41332‐0434
BEULAH M LETT                                     846 HARRIET ST                                                                                YPSILANTI       MI    48197‐5239
                                                  09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                             Part 1 of 8 Pg 426 of 850
Name                                                    Address1                              Address2                   Address3    Address4          City              State Zip

BEULAH M LOUDERMILK & BRANDY R PARKER JT TEN            23716 OLD FOLEY RD                                                                             ELBERTA           AL    36530‐2516

BEULAH M NEUMANN                                        2909 S MAIN ST                                                                                 SAPULPA           OK    74066‐7102
BEULAH M SLIGER & BETTY L MONK JT TEN                   12518 CLOVER LN                                                                                SOUTH LYON        MI    48178‐9139
BEULAH M STROHM TR UA 03/16/89 BEULAH M                 2613 S NORTHERN BLVD                                                                           INDEPENDENCE      MO    64052‐3346
STROHM TRUST
BEULAH MURPHY                                           209 ASTORIA PL                                                                                 UNION             NJ    07083‐4207
BEULAH PLUMMER                                          11367 SUFFOLK DR                                                                               SOUTHGATE         MI    48195‐3356
BEULAH R RICHARDSON                                     4322 KINLOCH ROAD                                                                              LOUISVILLE        KY    40207‐2854
BEULAH SAXON                                            85 S CENTRE AVE APT A20                                                                        ROCKVILLE CTR     NY    11570
BEULAH SCHAFER                                          14625 HIGHWAY 22 WEST                                                                          PONCHATOULA       LA    70454‐6637
BEULAH SEXTON SMITH                                     ATTN BEULAH SEXTON ETCHISON           12676 N 175 E                                            ALEXANDRIA        IN    46001‐8813
BEULAH V DYE                                            3528 SHATTUCK AVE                                                                              COLUMBUS          OH    43220‐5040
BEULAH V JENKS                                          15181 E LEE RD                                                                                 ALBION            NY    14411‐9546
BEV CARROLL                                             26401 COLUMBUS DRIVE                  SUNCITY                                                  SUN CITY          CA    92586
BEVALIE C PRITCHARD                                     BOX 444                                                                                        NORWICH           VT    05055‐0444
BEVELINE J RAATZ                                        17200 W BELL RD                       #1114                                                    SURPRISE          AZ    85374‐9738
BEVERLEE A BORLAND                                      1060 OUTER DR                                                                                  FENTON            MI    48430‐2257
BEVERLEE ELLEN NIX                                      PO BOX 365                                                                                     WEIR              TX    78674‐0365
BEVERLEE F MAROTTO                                      88 WEST ST                                                                                     PLANTSVILLE       CT    06479‐1141
BEVERLEE I CLARK                                        51 CUMNER ST                                                                                   HYANNIS           MA    02601‐4813
BEVERLEE L LYTLE                                        5723 LANGHORN DR                                                                               COLUMBUS          OH    43235‐7281
BEVERLEY A DISNARD                                      4540 OAKWOOD DR                                                                                LEWISTON          MI    49756‐8532
BEVERLEY A DISNARD & LAWRENCE J DISNARD JT TEN          4540 OAKWOOD DR                                                                                LEWISTON          MI    49756‐8532

BEVERLEY A MERZ                                         6808 SNOW APPLE DR                                                                             CLARKSTON         MI    48346‐1634
BEVERLEY A RAHAL                                        44 BROADFIELD DR                      ETOBICOKE ON                           M9C 1L7 CANADA
BEVERLEY ANN STEVENSON                                  13604 ANNDYKE PLACE                                                                            GERMANTOWN        MD    20874‐2806
BEVERLEY BLOUT CONRAD                                   1390 HAYNE RD                                                                                  HILLSBOROUGH      CA    94010‐6752
BEVERLEY BRADLEY WALTER                                 89 EAST QUINCY                                                                                 RIVERSIDE         IL    60546‐2128
BEVERLEY D HOOKER & DONALD L GERAN JT TEN               4470 JENA LN                                                                                   FLINT             MI    48507‐6219
BEVERLEY G HARDY                                        3050 DILLON ROAD                                                                               FLUSHING          MI    48433‐9704
BEVERLEY G HARDY & MARJORIE A HARDY JT TEN              3050 DILLON RD                                                                                 FLUSHING          MI    48433‐9704
BEVERLEY G HARDY & MARJORIE HARDY JT TEN                3050 DILLON RD                                                                                 FLUSHING          MI    48433‐9704
BEVERLEY H MINOR CUST ALICE A UGMA DE                   3217 FORDHAM RD                                                                                WILMINGTON        DE    19807‐3117
BEVERLEY H MINOR CUST ELLEN P UGMA DE                   3217 FORDHAM RD                                                                                WILMINGTON        DE    19807‐3117
BEVERLEY H STREETER                                     2 WOODS WITCH LANE                                                                             CHAPPAQUA         NY    10514‐1223
BEVERLEY J HILL & DAVID R HILL & COLLEEN L HILL JT      23753 MEDINA                                                                                   CLINTON TWP       MI    48035‐1927
TEN
BEVERLEY J HILL & DAVID R HILL & TRICIA L HILL JT TEN   23753 MEDINA                                                                                   CLINTON TWP       MI    48035‐1927

BEVERLEY J HILL & DAVID R HILL JT TEN                   23753 MEDINA                                                                                   CLINTON TWP       MI    48035‐1927
BEVERLEY J LLOYD                                        4810 W GRAND RIVER                                                                             OWOSSO            MI    48867‐9292
BEVERLEY J TAYLOR                                       84 CENTRAL AVE                                                                                 OCEAN VIEW        DE    19970‐9715
BEVERLEY J WILLIAMSON & THOMAS A WILLIAMSON JT          355 BALMORAL CASTLE DR                                                                         WENTZVILLE        MO    63385‐4399
TEN
BEVERLEY K TRUITT                                       15919 SHILLING ROAD                                                                            BERLIN CENTER     OH    44401‐9727
BEVERLEY KNIGHT COOPER                                  4408 ROSEBUD ROAD                                                                              LOGANVILLE        GA    30052‐4606
BEVERLEY N PAYNE                                        1642 WAGON WHEEL LANE                                                                          GRAND BLANC       MI    48439‐4872
BEVERLEY S CAMPBELL                                     404 FARMEADOW DR                                                                               WESTERVILLE       OH    43082‐8857
BEVERLEY W BARRY                                        85 SAMAC TR                           OSHAWA ON                              L1G 7W1 CANADA
BEVERLY A ALLEN                                         1685 MURDOCK ROAD                                                                              MARIETTA          GA    30062‐4871
BEVERLY A ALLEN & KENNETH ALLEN JT TEN                  1685 MURDOCK ROAD                                                                              MARIETTA          GA    30062‐4871
BEVERLY A AMMON                                         600 N KENNEDY STREET APT 124                                                                   MADRID            IA    50156
BEVERLY A ANGEL                                         1917 ECHO WOODS COURT                                                                          KETTERING         OH    45429‐4311
BEVERLY A BALL                                          371 E 326 ST                                                                                   WILLOWICK         OH    44095‐3316
BEVERLY A BANCROFT                                      1830 E YOSEMITE AVE #257                                                                       MANTECA           CA    95336‐5018
BEVERLY A BARKER                                        C/O BEVERLY B JAGER                   W240 N2160 DORCHESTER DR                                 PEWAUKEE          WI    53072‐4688
BEVERLY A BEAUFORD                                      32729 ROBESON                                                                                  ST CLAIR SHORES   MI    48082‐1053
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 427 of 850
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

BEVERLY A BECK                                    2438 WESTVIEW TRL                                                                                PARK CITY        UT      84098
BEVERLY A BILLINGS                                ATTN BEVERLY A KEMP                     227 OAKRIDGE AVE                                         TONAWANDA        NY      14217‐1166
BEVERLY A BOUSSON                                 1431 SE WHISPERING PINE DR                                                                       ARCADIA          FL      34266‐8001
BEVERLY A BURCHELL                                861 EGRET LANE                                                                                   TARPON SPGS      FL      34689
BEVERLY A BURR‐ABEL                               11348 HERON PASS                                                                                 FISHERS          IN      46037‐8689
BEVERLY A BURTON                                  2741 RIDGE AVE                                                                                   COLUMBUS         OH      43204‐3366
BEVERLY A CANNON                                  45 MADELINE STREET                                                                               BRIGHTON         MA      02135‐2145
BEVERLY A CARPENTER                               2899 BARCLAY MESSERLY RD                                                                         SOUTHINGTON      OH      44470‐9719
BEVERLY A CELANO                                  189 N END AVE APT 4D                                                                             BUFFALO          NY      14217‐1653
BEVERLY A CHISHOLM                                14988 EASTBURN                                                                                   DETROIT          MI      48205‐1311
BEVERLY A CIFELLI                                 318 SANDPIPER AVE                                                                                ROYAL PALM BEACH FL      33411‐2941

BEVERLY A CRAIN                                   PO BOX 114                                                                                       OLATHE             KS    66051‐0114
BEVERLY A CUMPTON                                 3122 CAMELOT DR                         APT 51                                                   BRYAN              TX    77802‐2853
BEVERLY A DAVIDSON                                5301 HORIZON DRIVE N E                                                                           MINNEAPOLIS        MN    55421‐1154
BEVERLY A DE WITT                                 406 RICHARD LANE                                                                                 MARSHALLTOWN       IA    50158‐4450
BEVERLY A DEAN                                    780 PHILLIPS SCHOOL RD                                                                           NEW WILMNGTN       PA    16142‐4418
BEVERLY A DEBERTOLIS TR WINTERS FAM IRREVOCABLE   1033 ST LUCCILLE DR                                                                              SCHENECTADY        NY    12306‐1022
TRUST UA 06/30/97
BEVERLY A DECATO                                  3011 BAINBRIDGE AVE                                                                              YOUNGSTOWN         OH    44511‐1915
BEVERLY A DUNBAR                                  1699 W CREEK RD                                                                                  BURT               NY    14028‐9726
BEVERLY A DUNLEAVY                                6754 ROGERS AVE                                                                                  PENNSAUKEN         NJ    08109
BEVERLY A ENGLISH                                 1160 CLAIRMOUNT                                                                                  DETROIT            MI    48202‐1532
BEVERLY A EPPICH & RICHARD J EPPICH JT TEN        1501 E WINDJAMMER WAY                                                                            TEMPE              AZ    85283‐2150
BEVERLY A ERICKSON                                3611 HICKORY WOOD LANE                                                                           STOUGHTON          WI    53589‐3703
BEVERLY A FEHR                                    5619 MAIN ST                                                                                     ONEIDA             NY    13421‐3405
BEVERLY A FELDMAN                                 10 NOBILITY COURT                       APT B                                                    OWINGS MILLS       MD    21117
BEVERLY A FETZNER                                 2633 E 33RD ST                                                                                   ERIE               PA    16510‐2763
BEVERLY A FRASER TR BEVERLY FRASER REVOCABLE      15476 REVERE                                                                                     CLINTON TWP        MI    48038
TRUST UA 5/31/01
BEVERLY A GILCHRIST                               APT 106 BLDG I                          4300 18TH STREET W                                       BRADENTON          FL    34205‐9177
BEVERLY A GOODEN                                  15405 STOUT                                                                                      DETROIT            MI    48223‐1630
BEVERLY A GORTHY                                  5709 W 163 TERR                                                                                  STILWELL           KS    66085‐9167
BEVERLY A HACKMAN                                 2889 CENTENNIAL ST                                                                               INDIANAPOLIS       IN    46222‐2234
BEVERLY A HAGEN                                   6752 N EUCLID                                                                                    GLADSTONE          MO    64118‐3665
BEVERLY A HANSON                                  C/O BEVERLEY LARSON                     6413 SE QUEEN RD                                         PORTLAND           OR    97222‐2843
BEVERLY A HARM & SHELLY A HARM JT TEN             47529 NORTH AVE                                                                                  MACOMB             MI    48042
BEVERLY A HARRIS                                  37 FENMORE DR                                                                                    WAPPINGUS FALLS    NY    12590‐3833

BEVERLY A HARTMAN                                 35638 KENSINGTON AVE                                                                             STERLING HEIGHTS   MI    48312‐3739

BEVERLY A HARVEY                                  2511 N 84TH TER                                                                                  KANSAS CITY        KS    66109‐2007
BEVERLY A HAZELTINE                               1006 21ST ST LOT #94                                                                             BRODHEAD           WI    53520‐2082
BEVERLY A HEALY                                   304 W RIVERMONT LN                                                                               EAGLE              ID    83616‐5784
BEVERLY A HENDERSON                               5640 FLEMING RD                                                                                  FOWLERVILLE        MI    48836‐8521
BEVERLY A HILLIARD & GORDON C HILLIARD JT TEN     BOX 135                                                                                          REEDERS            PA    18352‐0135

BEVERLY A HOLUB                                   160 CAMBRIDGE LN                                                                                 NEWTOWN            PA    18940‐3327
BEVERLY A HOWARD TOD ROBERT L COOMER JR           5975 ST RTE 124                                                                                  HILLSBORO          OH    45133
BEVERLY A JOHNSTON                                217 CHAMBERLAINS XING                                                                            O FALLON           IL    62269‐6634
BEVERLY A KING                                    688 SEYMOUR LAKE RD                                                                              OXFORD             MI    48371‐4651
BEVERLY A KING                                    5843 MCGRANDY ROAD                                                                               BRIDGEPORT         MI    48722‐9779
BEVERLY A KISS                                    78 COUNTY ROUTE 518                                                                              PRINCETON          NJ    08540
BEVERLY A KOEHLER                                 1481 BEACHLAND                                                                                   KEEGO HARBOR       MI    48320‐1002
BEVERLY A KUEHN                                   1440 MCGREW LANE                                                                                 WHITE LAKE         MI    48383‐2763
BEVERLY A KUNS & LARRY A KUNS JT TEN              1845 REEDS COURT TRAIL                                                                           WESTLAKE           OH    44145‐2075
BEVERLY A LANCASTER                               1509 N DELPHOS                                                                                   KOKOMO             IN    46901‐2535
BEVERLY A LANCTO                                  8541 EAST HOUGHTON LK DR                                                                         HOUGHTON LK        MI    48629‐9310
BEVERLY A MARCUM                                  495 E SACRAMENTO AVE                                                                             CHICO              CA    95926‐3931
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 428 of 850
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

BEVERLY A MEEKINS                                  12105 ARMENTROUT ROAD                                                                          FREDERICKTOWN    OH   43019‐9708
BEVERLY A MERCER                                   5175 LEIX RD                                                                                   MAYVILLE         MI   48744‐9777
BEVERLY A MILLER                                   67 BIRCH WOOD DR                                                                               TRANSFER         PA   16154‐2405
BEVERLY A MITCHELL                                 4931 REBEL TRAIL                                                                               ATLANTA          GA   30327‐4644
BEVERLY A MORROW                                   29508 LINCOLN RD                                                                               BAYVILLAGE       OH   44140‐1951
BEVERLY A MOSELEY                                  5590 NOTTINGHAM CT                    APT 206                                                  DEARBORN         MI   48126‐2673
BEVERLY A MURRISON                                 109 W FERGUSON RD                                                                              FT WAYNE         IN   46819‐2601
BEVERLY A MUSE                                     8070 E ROSINA ST                                                                               LONG BEACH       CA   90808‐3256
BEVERLY A NATT                                     350 N MACKINAW RD                                                                              LINWOOD          MI   48634‐9549
BEVERLY A NELSON TOD JEFFREY H NELSON              11533 S WILTON PLACE                                                                           HAWTHORNE        CA   90250
BEVERLY A OUELLETTE                                14 EVERETT STREET                                                                              BRUNSWICK        ME   04011‐2404
BEVERLY A PATTERSON                                20505 SANTA CLARA                                                                              DETROIT          MI   48219‐2503
BEVERLY A PAVLIK                                   1640 PINNACLE RIDGE LN                                                                         COLORADO SPRINGS CO   80919‐3451

BEVERLY A PENDERGRASS                              10575 WILKINSON RD                                                                             LENNON           MI   48449‐9612
BEVERLY A PERRY                                    8122 W STANLEY ROAD                                                                            FLUSHING         MI   48433‐1110
BEVERLY A PHILLIPS                                 4440 MERRICK                                                                                   DEARBORN HGTS    MI   48125‐2856
BEVERLY A PINKE                                    15584 ROSE DR                                                                                  ALLEN PARK       MI   48101‐1137
BEVERLY A POMERANZ                                 32204 LAKE PORT DR                                                                             WESTLAKE VLG     CA   91361‐4230
BEVERLY A POSEDEL                                  100 RIVERBEND RD #31                                                                           REEDSPORT        OR   97467‐1387
BEVERLY A POVEC                                    242 ROSEMONT AVENUE                                                                            YOUNGSTOWN       OH   44515‐3221
BEVERLY A QUINCE                                   1857 LUDGATE LN                                                                                ROCHESTER HILLS  MI   48309‐2965
BEVERLY A REDMOND                                  69 PEACE ST                                                                                    BUFFALO          NY   14211‐2034
BEVERLY A ROBERTSON                                ATTN B R PLACHTA                      20590 NANTICOKE DR                                       NANTICOKE        MD   21840‐2006
BEVERLY A SARTAIN                                  407 N WASHINGTON                                                                               GREENTOWN        IN   46936‐1154
BEVERLY A SAYLOR & RICHARD J SAYLOR TEN COM        2010 MAIN STREET                                                                               WHITEHALL        PA   18052‐4818
BEVERLY A SCHINDLER                                3363 INES                                                                                      DURAND           MI   48429‐9742
BEVERLY A SCHULZ                                   4665 WEDDEL                                                                                    DEARBORN HEIGHTS MI   48125‐3033

BEVERLY A SCHUSTER & MICHAEL A SCHUSTER JT TEN     2151 N SLICKROCK DR                                                                            COLUMBIA        MO    65202

BEVERLY A SCOTT CUST CUST JASON M SCOTT UTMA       8720 SW 52ND CT                                                                                OCALA           FL    34476‐3961

BEVERLY A SITAR                                    1401 GRANDVIEW                                                                                 NEW LENOX       IL    60451‐2350
BEVERLY A SMITH                                    3441 SURRY RIDGE WAY                                                                           DAYTON          OH    45424
BEVERLY A STEARNS                                  17834 WINDWARD RD                                                                              CLEVELAND       OH    44119‐1323
BEVERLY A STIERHOFF                                4415 S HAYES AVE                                                                               SANDUSKY        OH    44870‐7219
BEVERLY A STRNAD                                   6105 CLUBHOUSE CT                                                                              GURNEE          IL    60031‐4723
BEVERLY A TALCOTT                                  121 HARRELL DR                                                                                 COPPERAS COVE   TX    76522
BEVERLY A TAYLOR                                   12800 FRONTIER LANE                                                                            LAKE RIDGE      VA    22192
BEVERLY A TERRY & STANLEY TERRY JT TEN             7032 CLEMENTS                                                                                  W BLOOMFIELD    MI    48322‐2624
BEVERLY A THACKER                                  1703 CIMMARON LN                                                                               DEFIANCE        OH    43512‐3658
BEVERLY A TOOLE                                    544 N SAGINAW ST                      APT 606                                                  LAPEER          MI    48446‐2342
BEVERLY A ULLRICH TR BEVERLY A ULLRICH REVOCABLE   23201 SCOTCH PINE LANE                                                                         MACOMB          MI    48042‐5371
TRUST UA 8/14/01
BEVERLY A UNGERLEIDER                              1056 E LYTLE FIVE POINTS RD                                                                    CENTERVILLE     OH    45458‐5008
BEVERLY A VENTIMIGLIA                              99 JASMINE LANE                                                                                CALISTOGA       CA    94515‐9785
BEVERLY A VISSER                                   2025 N GENESEE RD                                                                              BURTON          MI    48509
BEVERLY A VITELLO & ANGELO A VITELLO JT TEN        5287 ASHBROOK DR                                                                               NOBLEVILLE      IN    46060‐9682
BEVERLY A WALKER & SHIRLEE A WALKER JT TEN         178 FALCON ST                                                                                  EAST BOSTON     MA    02128
BEVERLY A WASHINGTON                               12 IZLAR STREET                                                                                BLACKVILLE      SC    29817‐2628
BEVERLY A WEISS                                    723 S COCHRAN                                                                                  CHARLOTTE       MI    48813
BEVERLY A WILSON TR WILSON FAMILY TRUST UA         2140 SPRING ST                                                                                 MEDFORD         OR    97504‐6352
03/29/93
BEVERLY A WOOTON                                   74 NORTHFIELD DR                                                                               BERGEN          NY    14416
BEVERLY ANDERSON                                   1229 OAKLAND AVENUE                                                                            UNION           NJ    07083‐3701
BEVERLY ANDREWS VALLIERE                           1574 JIMMY DODD RD                                                                             BUFORD          GA    30518‐2214
BEVERLY ANN AKERS                                  3413 S WEBSTER ST                                                                              KOKOMO          IN    46902‐3467
BEVERLY ANN BAXTER WASNER                          1507 HOLIDAY PLACE                                                                             BOSSIER CITY    LA    71112‐3646
                                          09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 429 of 850
Name                                           Address1                             Address2             Address3          Address4          City               State Zip

BEVERLY ANN GREYNOLDS MOORE                    C/O MRS H L MOORE                    BOX 324                                                  MADISON            FL    32341‐0324
BEVERLY ANN GRUNHEID                           7109 FARLEY RD                                                                                PINCKNEY           MI    48169‐8545
BEVERLY ANN MATHEW                             505 WALL STREET                                                                               ELMIRA             NY    14905‐2146
BEVERLY ANN NOEL                               924 W SCHAAF                                                                                  CLEVELAND          OH    44109‐4646
BEVERLY ANN PALM                               3294 SHANNON RD                                                                               BURTON             MI    48529‐1801
BEVERLY ANN WHITBREAD                          5744 E SENECA TURNPIKE                                                                        JAMESVILLE         NY    13078‐9565
BEVERLY ANNE BRAUN                             400 N LAKE PARK AVE #52N                                                                      HOBART             IN    46342‐3020
BEVERLY ANNE KING                              RD 3 BOX 56                                                                                   NEW ALEXANDRIA     PA    15670‐9728

BEVERLY ANNETTE ROBINSON                        517‐A ROBINHOOD DR                                                                           SENECA             SC    29678‐4419
BEVERLY AURES                                   242 ELMSFORD DR                                                                              WEST SENECA        NY    14224‐3344
BEVERLY B AUSTIN                                7843 HUBBARD BEDFORD ROAD                                                                    HUBBARD            OH    44425‐9761
BEVERLY B BLECKLEY                              PO BOX 781                                                                                   CLAYTON            GA    30525‐0781
BEVERLY B CASEY                                 37946 SKEET DR                                                                               TECUMSEH           OK    74873‐5139
BEVERLY B DAVIS                                 2683 W POWERLINE RD                                                                          HELTONVILLE        IN    47436‐8537
BEVERLY B FETNER                                405 GLENWOOD AVE SE                                                                          ATLANTA            GA    30312‐3201
BEVERLY B KENNEDY                               2025 ENGLEMAN COURT                                                                          BURLINGTON         NC    27215
BEVERLY B KENNEDY TOD MICHAEL B KENNEDY SUBJECT 2025 ENGLEMAN CRT                                                                            BURLINGTON         NC    27215
TO STA TOD RULES
BEVERLY B KRONEN                                2 CONNEL DR                                                                                  WEST ORANGE        NJ    07052‐1330
BEVERLY B PLOTKOWSKI                            33246 LINSDALE COURT                                                                         STERLING HTS       MI    48310‐6032
BEVERLY B SESNIE                                190 CHIPPEWA CIR                                                                             HENRIETTA          NY    14467‐9534
BEVERLY B SHIRLEY                               134 MEADOW LN                                                                                RANGER             GA    30734‐6009
BEVERLY B WALSH                                 ATTN BEVERLY W DORAN                409 S WALNUT                                             MILFORD            DE    19963‐1828
BEVERLY BAIR CUMMINS                            RR 1 BOX 149                                                                                 GASTON             IN    47342‐8995
BEVERLY BAKER                                   6970 NORTH WACOUSTA ROAD                                                                     FOWLER             MI    48835‐9797
BEVERLY BAKER                                   409 EAST PHILADELPHIA BLVD                                                                   FLINT              MI    48505
BEVERLY BARNEY INGLE                            1750 YARDLEY CIRCLE                                                                          DAYTON             OH    45459
BEVERLY BARTELL                                 38111 BALMORAL                                                                               CLINTON TWP        MI    48036‐2600
BEVERLY BARTELL & MATTHEW J BARTELL JT TEN      38111 BALMORAL DR                                                                            CLINTON TWP        MI    48036‐2600
BEVERLY BATHKE                                  5647 NORTH 79 ST                                                                             MILWAUKEE          WI    53218‐2104
BEVERLY BEATON                                  30 BUTTERFIELD DR                                                                            GREENLAWN          NY    11740‐2012
BEVERLY BECKER                                  216 STATE ROUTE 31                                                                           FLEMINGTON         NJ    08822‐5736
BEVERLY BILLINGSLEY & RAYMOND BILLINGSLEY       21832 FERNCUKO                                                                               TEHACHAPI          CA    93561‐8154
COMMUNITY PROPERTY
BEVERLY BLAM CUST NEIL BLAM U/THE NEW YORK      74 DANBURY ST                                                                                BAY SHORE          NY    11706‐5820
UNIFORM GIFTS TO MINORS ACT
BEVERLY BOLES HASBROOK                          4081 REEDLAND CIRCLE                                                                         SAN RAMON          CA    94583‐5580
BEVERLY BRASCOM                                 19 GENEVA CT                                                                                 SAGINAW            MI    48601‐1237
BEVERLY BURGER & GARY BURGER JT TEN             3605 CONTRARY CREEK RD              STE 100                                                  GRANBURY           TX    76048‐6761
BEVERLY C BUECHNER                              PO BOX 63                                                                                    MOUNT HOREB        WI    53572‐0063
BEVERLY C EDWARDS                               203 05 42ND AVE                                                                              BAYSIDE            NY    11361‐1805
BEVERLY C GORDON                                PO BOX 400                                                                                   GREENVILLE         GA    30222‐0400
BEVERLY C JOHNSON                               805 ST RT 96                                                                                 SHILOH             OH    44878‐8858
BEVERLY C KITCHEN & RANDY D KITCHEN JT TEN      PO BOX 381                                                                                   PRATT              WV    25162‐0381
BEVERLY C KOLODZIEJ                             8863 BIRKHILL DR                                                                             STERLING HEIGHTS   MI    48314‐2506

BEVERLY C YEAGER                               1031 LITTLE ROCK RD                                                                           WESSON             MS    39191‐6800
BEVERLY CANDELA CUST REBECCA CANDELA UGMA CT   33 RAELIN RD                                                                                  HAMDEN             CT    06514‐1108

BEVERLY CARTIEST                              8604 S BENNETT AVE                                                                             CHICAGO            IL    60617‐2948
BEVERLY CHROSTOWSKI & MARIANNE CHROSTOWSKI JT 201 CONNECTICUT                                                                                WESTVILLE          IL    61883‐1813
TEN
BEVERLY COHEN                                 APT 209                               2200 NEVADA AVE S                                        ST LOUIS PARK      MN    55426‐2635
BEVERLY COUNTER CUST JOEL B COUNTER UGMA CA   515 W MARBURY                                                                                  COVINA             CA    91723‐3330

BEVERLY D ANGELO                               60 BEACHMONT DR                                                                               SAN FRANCISCO      CA    94132‐1608
BEVERLY D CHILES                               9600 HAMMILL ROAD                                                                             OTISVILLE          MI    48463
BEVERLY D GRIFFITH                             16311 LINDSAY RD                                                                              TANNER             AL    35671‐4236
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 430 of 850
Name                                              Address1                            Address2             Address3          Address4          City               State Zip

BEVERLY D KOEHN & RAYMOND E KOEHN JT TEN          1000 E BASSE RD 120                                                                          SAN ANTONIO        TX    78209‐3204
BEVERLY D KONICOV                                 4000 WINDING WAY                                                                             CINCINNATI         OH    45229‐1919
BEVERLY D KURLANSKY                               18 WASHINGTON ST SUITE36                                                                     CANTON             MA    02021
BEVERLY D OGANS                                   5736 MARYSUE                                                                                 CLARKSTON          MI    48346‐3249
BEVERLY DAVIS                                     4 TAVISTOCK                                                                                  CROMWELL           CT    06416‐2727
BEVERLY DAVIS CAHILL                              4 TRAVISTOCK                                                                                 CROMWELL           CT    06416‐2727
BEVERLY DE LA MARE NOCAS                          197 WEST MONTECITO WAY                                                                       SIERRA MADRE       CA    91024‐1822
BEVERLY DICKSON PHILBECK                          2517 GODDARD                                                                                 MIDLAND            TX    79705‐3308
BEVERLY DITTMAN                                   745 MAPLE DR                                                                                 WEBSTER            NY    14580‐4021
BEVERLY DREFFS                                    306 QUAIL RIDGE CT                                                                           HELENA             AL    35080‐7643
BEVERLY E ARNSON                                  9063 COOK ST                                                                                 MONTAGUE           MI    49437‐1002
BEVERLY E BERKEY & LEROY L BERKEY JT TEN          16772 CHURCH DR                                                                              FORT MYERS         FL    33917‐2639
BEVERLY E GRUBB                                   60 ALBERT AVE                                                                                ALDAN              PA    19018‐3801
BEVERLY E KNOLL                                   3522 W MORGAN AVE                                                                            MILWAUKEE          WI    53221‐1018
BEVERLY E NEALIS & JOHN M NEALIS JT TEN           6007 N SHERIDAN APT 37C                                                                      CHICAGO            IL    60660‐3011
BEVERLY E SAMPLE                                  1920 E 23RD ST                                                                               MISSION            TX    78574‐7918
BEVERLY E SAUNDERS                                53 GATE MANOR DRIVE                                                                          ROCHESTER          NY    14606‐4801
BEVERLY E SIMMONS                                 7 BUNKER ST                                                                                  ROCKLAND           ME    04841‐3103
BEVERLY EVANS CUST ELIJAH TORO UTMA NY            1444 CLINTON AVE S                                                                           ROCHESTER          NY    14620‐2063
BEVERLY F GERAK                                   9 CREAMER DRIVE                                                                              SAYREVILLE         NJ    08872‐1955
BEVERLY F SCOTT                                   1601 BIG TREE ROAD                  UNIT 1203                                                DAYTONA BEACH      FL    32119‐8645
BEVERLY F WENDT                                   13245 IOWA                                                                                   WARREN             MI    48093‐3140
BEVERLY FARIA & CARL A FARIA JT TEN               43610 EUCLID DRIVE                                                                           FREMONT            CA    94539‐5975
BEVERLY FARRELL                                   890 W TREE DR                                                                                COLLIERVILLE       TN    38017‐1325
BEVERLY FEAZEL                                    5565 NICHOLS RD                                                                              MASON              MI    48854‐9521
BEVERLY FELDBERG                                  ATTN ARNOLD COHEN                   11729 NIEHAUS LANE                                       SAINT LOUIS        MO    63146‐5322
BEVERLY FLAHERTY                                  C/O BEVERLY MACKE                   31232 W CHELTON                                          BEVERLY HILLS      MI    48025‐5147
BEVERLY FROST                                     PO BOX 162                                                                                   SHEFFIELD          VT    05866‐0162
BEVERLY G CRAWLEY                                 9501 W BETHEL                                                                                MUNCIE             IN    47304‐9022
BEVERLY G DUNLAP                                  PO BOX 604                                                                                   NEWBURY            OH    44065‐0604
BEVERLY G HALL                                    1504 LINCOLN WAY                    UNIT 102                                                 MC LEAN            VA    22102‐5851
BEVERLY G HENDERSON                               3879 CO RD 217                                                                               TRINITY            AL    35673‐3518
BEVERLY G HENDERSON & DONALD RAY HENDERSON JT     3879 CO RD 217                                                                               TRINITY            AL    35673‐3518
TEN
BEVERLY G MC CARLEY                               2124 LABERDEE RD                                                                             ADRIAN             MI    49221‐9613
BEVERLY G POSTLETHWAIT                            PO BOX 1972                                                                                  WARREN             OH    44482‐1972
BEVERLY G RIGGIN                                  38021 PLEASANT VALLEY ROAD                                                                   WILLOUGHBY         OH    44094‐9439
BEVERLY G TERWILLIGER & DENNIS W TERWILLIGER JT   10406 DODGE RD                                                                               OTISVILLE          MI    48463‐9766
TEN
BEVERLY GENE TATE CUST JABARI AMANI TATE UGMA     24251 PEMBROKE                                                                               DETROIT            MI    48219‐1049
MI
BEVERLY GOLDEN                                    22525 BIAK COURT                                                                             TORRANCE           CA    90505‐2116
BEVERLY GORMAN                                    1875 SE LANGDALE LN                                                                          WAUKEE             IA    50263‐8637
BEVERLY GULA BALLEW                               31 WEBBER PL                                                                                 GROSSE POINTE      MI    48236‐2628
BEVERLY H LANOUE                                  359 HITCHING POST DR                                                                         MC KINNEY          TX    75069‐4191
BEVERLY H LINDENLAUF                              1410 BLACK RIVER RD                                                                          CAMDEN             SC    29020‐8969
BEVERLY H MULLIGAN                                3495 RANKLIN DR                                                                              CARLETON           MI    48117‐9366
BEVERLY HALL RAMIREZ                              2701 WESTHEIMER RD                  UNIT 2F                                                  HOUSTON            TX    77098‐1238
BEVERLY HARRIS                                    PO BOX 811                                                                                   TRENTON            NJ    08605‐0811
BEVERLY HUARD                                     11435 BEACONSFIELD RD                                                                        WASHINGTON         MI    48094‐3002
BEVERLY I CRAWFORD                                2873 TALLMAN STREET                                                                          SANBORN            NY    14132‐9205
BEVERLY I GLASPIE                                 2458 SE ELSTON STREET                                                                        PORT SAINT LUCIE   FL    34952‐5567
BEVERLY I LEWELLEN                                6607 BLUE HILLS ROAD                                                                         HOUSTON            TX    77069‐2412
BEVERLY I PAUL CUST MICHAEL J PAUL UGMA MI        PO BX 185                                                                                    ATLANTA            MI    49709‐0185
BEVERLY IRENE MCGRATH                             11900 BARRYKNOLL LANE               APT 7310                                                 HOUSTON            TX    77024‐4373
BEVERLY J ACHA                                    2156 S RIVER RD                                                                              SAGINAW            MI    48609‐5325
BEVERLY J ALLEN                                   ATTN BEVERLY J JOHNSON              6321 SEAFORD DRIVE                                       HOLIDAY            FL    34690‐2409
BEVERLY J BAKER                                   9058 TWIN OAKS CT                                                                            FLUSHING           MI    48433‐1188
BEVERLY J BECKWITH                                7176 NORTHLAND DR NE                                                                         ROCKFORD           MI    49341‐8800
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                        Part 1 of 8 Pg 431 of 850
Name                                               Address1                              Address2                Address3        Address4          City              State Zip

BEVERLY J BEEKMAN                                  319 NOTCH LANE                                                                                  DELAND            FL    32724‐6257
BEVERLY J BEHRNDT & EDWARD J BEHRNDT JT TEN        11778 WILLOW COVE DR                                                                            DOWLING           MI    49050‐8804

BEVERLY J BESS                                      1424 LAKESIDE DR                                                                               JACKSBORO         TN    37757‐3041
BEVERLY J BOOKER                                    23356 PARK LANE DRIVE                                                                          SOUTHFIELD        MI    48033
BEVERLY J BOVEE                                     421 LINCOLN ST                                                                                 MORENCI           MI    49256‐1017
BEVERLY J BRIGHT & MICHAEL G MUMA JT TEN            2635 BIRWOOD                                                                                   GLADWIN           MI    48624
BEVERLY J BROWN TR BEVERLY J BROWN REVOCABLE        8446 APPLE BLOSSOM LANE                                                                        FLUSHING          MI    48433‐1190
TRUST UA 05/06/03
BEVERLY J BRUNDAGE                                  100 HICKORY ST                       APTWEST 205                                               GREENVILLE        NC    27858‐1674
BEVERLY J CARR                                      1901 SPRUCE LN                                                                                 YPSILANTI         MI    48198‐9508
BEVERLY J CONNELL                                   38 WESTVIEW COURT                                                                              SAGINAW           MI    48602‐3331
BEVERLY J CORNELIUS                                 4683 SUNSET DR                                                                                 LOCKPORT          NY    14094‐1231
BEVERLY J COWLING                                   ATTN BEVERLY J LABBATE               234 APPLEWOOD RD        KINGSVILLE ON   N9Y 3P3 CANADA
BEVERLY J COWLING                                   ATTN BEVERLY J LABBATE               234 APPLEWOOD RD        KINGSVILLE ON   N9Y 3P3 CANADA
BEVERLY J CRUMMEL                                   7726 N 41ST ST                                                                                 AUGUSTA           MI    49012‐9240
BEVERLY J DAILEY                                    15803 HARRIS RIDGE COURT                                                                       CHESTERFIELD      MO    63017‐8725
BEVERLY J DAILEY & TIMOTHY R DAILEY & KAREN S BELLE 15803 HARRIS RIDGE COURT                                                                       CHESTERFIELD      MO    63017‐8725
JT TEN
BEVERLY J DEMCHUK                                   ATTN BEVERLY DEMCHUK‐BURKE           1203 IROQUOIS                                             ANN ARBOR         MI    48104‐4633
BEVERLY J DRAKE                                     2109 SIBLEY DR                                                                                 KOKOMO            IN    46902‐4598
BEVERLY J EWLES                                     2025 KAPREE CT                                                                                 WINTER HAVEN      FL    33884‐3143
BEVERLY J FARRELL                                   C/O BEVERLY J FRISBIE                4467 PEPPER CREEK WAY                                     ANAHEIM HILLS     CA    92807‐3552
BEVERLY J FISHER                                    35391 VISTA MONTANA CT                                                                         CATHEDRAL CITY    CA    92234‐1600
BEVERLY J FOX                                       7622 EAGLE VALLEY PASS                                                                         INDIANAPOLIS      IN    46214‐1553
BEVERLY J FURIAN                                    424 8TH AVE                                                                                    SEASIDE HEIGHTS   NJ    08751‐1314
BEVERLY J GARNER & PAUL E GARNER JT TEN             19100 GENITO ROAD                                                                              MOSELEY           VA    23120‐1024
BEVERLY J GAVETTE & CHARLES E GAVETTE JT TEN        6816 BLUEGRASS                                                                                 CLARKSTON         MI    48346‐1401
BEVERLY J GLAZIER                                   BOX 6                                                                                          WARSAW            OH    43844‐0006
BEVERLY J GRAY                                      333 SOUTH DIVISION                                                                             JANESVILLE        WI    53545‐3903
BEVERLY J GRIFFIN & MACKENZIE B LESTER JT TEN       PO BOX 346                                                                                     TERRA CRIA        FL    34250‐0346
BEVERLY J GRIFFIN & SPENCER MCCLOSKEY JT TEN        27 VIOLET LANE                                                                                 CABOT             AR    72023‐8759
BEVERLY J GRIFFIN & TRAVIS J MCCLOSKEY JT TEN       27 VIOLET LANE                                                                                 CABOT             AR    72023‐8759
BEVERLY J GRUICH                                    29499 WESTFIELD                                                                                LIVONIA           MI    48150‐4041
BEVERLY J HANNON                                    172 JACKSON AVE                                                                                BRADFORD          PA    16701‐1316
BEVERLY J HARRIS                                    4463 S COUNTY ROAD 00 EW             TRLR 113                                                  KOKOMO            IN    46902‐5159
BEVERLY J HAWS                                      10211 OXFORDSHIRE ROAD                                                                         GREAT FALLS       VA    22066
BEVERLY J HEFT TR UA 02/06/1998 BEVERLY J HEFT      22641 GLENMOOR HEIGHTS                                                                         FARMINGTN HLS     MI    48336
TRUST
BEVERLY J HEMMETER & ALFRED D HEMMETER JT TEN 6855 BRANDYWINE RD                                                                                   PARMA HEIGHTS     OH    44130‐4607

BEVERLY J HESSLER                                  2922 BOTSFORD PL NE                                                                             GRAND RAPIDS      MI    49505‐3308
BEVERLY J HILGENDORF                               830 OAK ST #150                                                                                 MARINE CITY       MI    48039‐2231
BEVERLY J HILL                                     23753 MEDINA                                                                                    CLINTON TWP       MI    48035‐1927
BEVERLY J HONEYCUTT                                S‐1817 LINDA LANE                                                                               SPOKANE           WA    99206‐5787
BEVERLY J HORNBECK                                 865 CRYSTAL LN                                                                                  MARYSVILLE        MI    48040‐1569
BEVERLY J HUNT                                     6415 N DENVER AVE                                                                               PORTLAND          OR    97217‐4920
BEVERLY J JAMES                                    6295 NEWCASTLE AVENUE                                                                           GOLETA            CA    93117‐2032
BEVERLY J JOHNSON                                  28437 FRANKLIN RD                     APT 353                                                   SOUTHFIELD        MI    48034‐1625
BEVERLY J JORDAN                                   1423 E HILLSBORO BLVD                 UNIT # 418                                                DEERFIELD BEACH   FL    33441‐4218
BEVERLY J JUVE                                     212 APACHE DR                                                                                   JANESVILLE        WI    53545‐4302
BEVERLY J KING‐HALL                                9221 UPHAM WAY                                                                                  WESTMINISTER      CO    80021‐5606
BEVERLY J LOOK                                     4302 WESTERN ROAD #36                                                                           FLINT             MI    48507
BEVERLY J LUKASAVITZ                               7323 LANEWOOD DR                                                                                DAVISON           MI    48423‐9339
BEVERLY J MAITLAND                                 4876 ARBELA RD                                                                                  MILLINGTON        MI    48746‐9320
BEVERLY J MANN                                     12313 SW 9TH ST                                                                                 YUKON             OK    73099‐7150
BEVERLY J MANSFIELD                                2216 CORAL SEA DRIVE                                                                            YOUNGSTOWN        OH    44511‐2230
BEVERLY J MANSFIELD & RICHARD L MANSFIELD JT TEN   2216 CORAL SEA DRIVE                                                                            YOUNGSTOWN        OH    44511‐2230
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 432 of 850
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

BEVERLY J MARSHALL                                 150 KUHN RD                                                                                     ROCHESTER         NY    14612‐1447
BEVERLY J MCCARTHY TR MCCARTHY FAMILY LIV TRUST    24600 MOUNTAIN AVE 23                                                                           HEMET             CA    92544
UA 05/12/92
BEVERLY J MCDERMOTT                                1103 EVANS ST                                                                                   OSHKOSH         WI      54901‐3968
BEVERLY J MCINTIRE                                 4207 MONMOUTH COURT                                                                             FORT COLLINS    CO      80525‐3337
BEVERLY J MEEKS                                    14905 SW DIVISION ST                                                                            SHERWOOD        OR      97140‐8387
BEVERLY J MEYER                                    10277 1ST ST                                                                                    PLAINVIEW       AR      72857‐8903
BEVERLY J MIELKE                                   20706 ELIZABETH ST                                                                              ST CLAIR SHORES MI      48080‐3763
BEVERLY J MINTER                                   PO BOX 13364                                                                                    TUCSON          AZ      85732‐3364
BEVERLY J MOHRMAN TR BEVERLY J MOHRMAN TRUST       320 SAILOR RD                                                                                   MONTGOMERY CITY MO      63361‐4718
UA 2/3/00
BEVERLY J MORAN                                    11222 LONG LAKE                                                                                 SPARTA            MI    49345‐8411
BEVERLY J MOUNTANOS TR BEVERLY J MOUNTANOS         5440 CORBETT CIRCLE                                                                             SANTA ROSA        CA    95403‐8057
2002 REV TRUST UA 06/27/02
BEVERLY J NELSON & CLIFFORD S NELSON JT TEN        5 ASPEN TREE LANE                                                                               IRVINE            CA    92612
BEVERLY J NEWCOMER                                 208 EMERALD DR                                                                                  CHARLOTTE         MI    48813‐9015
BEVERLY J NEWELL                                   118 ANDRESS                                                                                     CHESANING         MI    48616‐1619
BEVERLY J NOFFSINGER                               3013 WISCONSIN DR                                                                               SEBRING           FL    33870‐5115
BEVERLY J NOFFSINGER                               3013 WISCONSIN DR                                                                               SEBRING           FL    33870‐5115
BEVERLY J NOVAK                                    2005 RODD ST                                                                                    MIDLAND           MI    48640‐5465
BEVERLY J NOYCE                                    100 PALM BAY BLVD                                                                               PANAMA CITY       FL    32408‐5203
BEVERLY J PATE                                     223 FARMWOOD DR                                                                                 STATESVILLE       NC    28625‐8570
BEVERLY J PETERS                                   5803 PESHEWA COURT                                                                              KOKOMO            IN    46902‐5543
BEVERLY J PHENIX                                   511 CLARENCE ST                                                                                 MOUNTAIN VIEW     AR    72560‐8441
BEVERLY J PHILLIPS                                 2731 PINE LAKES DR W                                                                            LAPEER            MI    48446‐4508
BEVERLY J PIERCE                                   1909 BILLY BARTON CIR                                                                           REISTERSTOWN      MD    21136
BEVERLY J POLLARD                                  1414 CENTRAL PARKWAY AVE SE                                                                     WARREN            OH    44484‐4457
BEVERLY J POLSINELLI & DAVID A POLSINELLI JT TEN   16230 S 24TH STREET                                                                             VICKSBURG         MI    49097

BEVERLY J POST TR DELMAR L HOLIDAY TRUST UA        306 WIMPOLE DR                                                                                  ROCHESTER HILLS   MI    48309‐2150
12/21/01
BEVERLY J POWELL                                   WASHINGTON WOODS                       821 S CAMBRIDGE      APT 272                             MIDLAND           MI    48642‐4699
BEVERLY J QUESADA                                  10282 N US 301                                                                                  OXFORD            FL    34484‐3724
BEVERLY J RAPPLEYEA                                134 N EDWARD ST                                                                                 SAYREVILLE        NJ    08872‐1151
BEVERLY J REESE                                    260 ESSEX PL                                                                                    ELLENWOOD         GA    30294‐4106
BEVERLY J RICHARDS                                 811 SW HAMMOCK HILL CIRCLE                                                                      LAKE CITY         FL    32024‐5554
BEVERLY J RUE                                      192 BLUE ROUND RD                                                                               GEORGIANA         AL    36033
BEVERLY J SAUL                                     11389 RICHFIELD RD                                                                              DAVISON           MI    48423‐8517
BEVERLY J SCHLOTTMAN                               782 ELM ST                                                                                      GRANGEVILLE       ID    83530‐2347
BEVERLY J SCHNEPP                                  9113 DEL‐RIO DRIVE                                                                              GRAND BLANC       MI    48439‐8384
BEVERLY J SHAW                                     4996 TIMBERWAY TRL                                                                              CLARKSTON         MI    48346‐4466
BEVERLY J SIZER & GLEE M MONCHAMP JT TEN           132 MAPLE RIDGE DR                                                                              DELANO            MN    55328
BEVERLY J SIZER & GLEE M MONCHAMP JT TEN           132 MAPLE RIDGE DR                                                                              DELANO            MN    55328
BEVERLY J SLYE                                     8351 S COUNTY ROAD 700 E                                                                        SELMA             IN    47383
BEVERLY J SOPKO TOD DIANE L POWELL                 3449 BRIARWOOD LANE                                                                             YOUNGSTOWN        OH    44511‐2508
BEVERLY J SOPKO TOD SUE A LEES                     3449 BRIARWOOD LANE                                                                             YOUNGSTOWN        OH    44511‐2508
BEVERLY J SPEARS                                   2902 WESTBROOK AVE                                                                              INDIANAPOLIS      IN    46241‐5977
BEVERLY J SPOON                                    2105 S 300W                                                                                     KOKOMO            IN    46902‐4672
BEVERLY J STAHLMAN CUST KELLY W STAHLMAN UGMA      250 COUNTRY CLUB DR                                                                             BULLHEAD CITY     AZ    86442
AZ
BEVERLY J STEFFEL & CARISSA J MONTOYA JT TEN       421 HAMMOND ST                         APT 104                                                  WESTERNPORT       MD    21562‐1223
BEVERLY J STILES & HARVEY STILES JT TEN            2305 E MAPLE RD                                                                                 BURTON            MI    48529‐2153
BEVERLY J STOCKWELL                                2110 CASSINO CT                                                                                 PUNTA GORDA       FL    33950‐6304
BEVERLY J STRATTON & LARRY J STRATTON JT TEN       1655 HUNT ROAD                                                                                  MAYVILLE          MI    48744‐9675
BEVERLY J SUITER                                   1112 BURBANK AVE #309                                                                           JANESVILLE        WI    53546‐6146
BEVERLY J SYPHERS                                  5670 SUGAR PINE DR                                                                              YORBA LINDA       CA    92886‐5179
BEVERLY J TAIPALE & JOHN E TAIPALE JT TEN          501 6TH ST                                                                                      FAIRPORT HARBOR   OH    44077‐5654

BEVERLY J THORPE                                   405 TIPTON SR                          PO BOX 194                                               SALIX             IA    51052‐0194
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 433 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

BEVERLY J TINSMAN & CHARLES F TINSMAN JT TEN     16073 WROTHAM CT                                                                               CLINTON TWP        MI    48038‐4092

BEVERLY J TORUK                                   118 MEADOW POND LN                                                                            MOORESVILLE        NC    28117‐4347
BEVERLY J WATSON                                  2678 PINEHURST DR                                                                             GRAPEVINE          TX    76051‐2422
BEVERLY J WEHR                                    10768 MEADOW TRAIL                                                                            STRONGSVILLE       OH    44136‐2162
BEVERLY J WILLIAMS                                PO BOX 16903                                                                                  KANSAS CITY        MO    64133‐1003
BEVERLY J WILLIAMS                                34501 BEACONSFIELD                                                                            CLINTON TWP        MI    48035‐3308
BEVERLY J WOJTASZCZYK                             6175 WAGNER RD                                                                                SPRINGVILLE        NY    14141‐9687
BEVERLY J WOOD                                    3900 HAZELWOOD AVENUE SW                                                                      WYOMING            MI    49509‐3632
BEVERLY J WOOD                                    G3064 MILLER RD                      APT 401                                                  FLINT              MI    48507‐1340
BEVERLY J ZIMNI                                   31351 PAGLES DRIVE                                                                            WARREN             MI    48092‐1728
BEVERLY JANE COOPER                               404 N ROAD 39                                                                                 PASCO              WA    99301‐3160
BEVERLY JANE HAYER HARRIS                         4812 WEST 66TH ST                                                                             MINNEAPOLIS        MN    55435‐1508
BEVERLY JANE JOHNSON                              17346 FOX                                                                                     REDFORD            MI    48240‐2308
BEVERLY JEAN ASH                                  6603 E M71                                                                                    DURAND             MI    48429‐9767
BEVERLY JEAN BRADLEY                              1703 SULLY CRT                                                                                STEPHENVILLE       TX    76401
BEVERLY JEAN COON & STEPHEN K COON DOUGLAS M 5923 ROLFE RD                                                                                      LANSING            MI    48911‐4931
COON JT TEN
BEVERLY JEAN HARMAN                               828 PILLETTE RD                      WINDSOR ON                             N8Y 3B5 CANADA
BEVERLY JEAN HOPKINS                              19041 GERONIMO CT                                                                             MT CLEMENS         MI    48036‐2118
BEVERLY JEAN LAHEY                                17823 E BERRY AVE                                                                             AURORA             CO    80015‐2601
BEVERLY JEAN LOCKE TOD SUSAN CAROLE STEMPLE       1105 E SILVER BELL                                                                            LAKE ORION         MI    48360
SUBJECT TO STA TOD RULES
BEVERLY JEAN ROBERTSON & BONNIE L ROCHE & JANET 340 CHESTERFIELD RD                                                                             BLOOMFIELD         MI    48304
L ZEIDLER JT TEN
BEVERLY JEAN SEALEY                               1217 OAKLEIGH NW                                                                              GRAND RAPIDS       MI    49504‐2547
BEVERLY JEAN WAGLE                                P O BOX 204                                                                                   WEDGEFIELD         SC    29168
BEVERLY JESBERGER                                 81 MINE HILL RD                                                                               CORNWALL           NY    12518‐1807
BEVERLY JUNE MARSH                                18 GENEVA COURT                                                                               NAPA               CA    94558‐3229
BEVERLY K CLAYBOURNE                              231 E MERRIN ST                      PO BOX 455                                               PAYNE              OH    45880‐0455
BEVERLY K COLLINS CUST JOSHUA T COLLINS UNDER THE 556 S STEPHENS ST                                                                             BOSTON             GA    31626
GA TRAN MIN ACT
BEVERLY K CROOKS                                  3933 E BURNSIDE                                                                               PORTLAND           OR    97214‐2021
BEVERLY K DIJOSEPH                                132 E 19TH ST                        APT 7F                                                   NEW YORK           NY    10003‐2482
BEVERLY K HENDRICKS                               32 HARRIS DR N                                                                                ST PETERS          MO    63376‐3523
BEVERLY K KORB                                    78 WOLCOTT AVE                                                                                ROCHESTER          NY    14606‐3999
BEVERLY K LIDHOLM                                 3371 W MENLO AV                                                                               FRESNO             CA    93711‐0917
BEVERLY K MANNERS                                 20636 LOCKWOOD ST                                                                             TAYLOR             MI    48180‐2976
BEVERLY K ONUSKANICH & JOSEPH A ONUSKANICH JT     51 E ADAMSDALE RD                                                                             SCHUYLKILL HAVEN   PA    17972‐8623
TEN
BEVERLY K SHELINE                                 621 S LOCKE ST                                                                                KOKOMO             IN    46901‐5520
BEVERLY K STEWART & JAMES R STEWART JT TEN        6583 S COUNTY ROAD 400 E                                                                      CLAYTON            IN    46118‐9441
BEVERLY K WILSON                                  5398 NASSER STREET                                                                            FLINT              MI    48505‐1065
BEVERLY KLIMKAUSKY CUST JULIA MCALEE UTMA MD      1816 BRADDOCK DR                                                                              CROFTON            MD    21114‐3256

BEVERLY KLIMKAUSKY CUST LAUREN MCALEE UTMA MD 1364 MERIDIAN PL NW                                                                               WASHINGTON         DC    20010

BEVERLY KNESHTEL                                 171 LEE ROAD 2037                                                                              SALEM              AL    36874‐2636
BEVERLY KREBS CUST BRANDON R KREBS A MINOR       3476 VILLAGE GLEN CT                                                                           SNELLVILLE         GA    30039‐4657
UNDER THE LAWS OF GEORGIA
BEVERLY KURTZ                                    4840 WOODLEY AVE                                                                               ENCINO             CA    91436‐1407
BEVERLY KUTER                                    14838 ST LOUIS AVE                                                                             MIDLOTHIAN         IL    60445‐3608
BEVERLY L ADAMS                                  4704 BELL TOWER CT                                                                             GREENSBORO         NC    27406‐8956
BEVERLY L ADAMS                                  4704 BELLTOWER CT                                                                              GREENSBORO         NC    27406‐8956
BEVERLY L APPS & RICHARD L APPS JT TEN           8929 RIVERSIDE DR                                                                              ST LOUIS           MI    48880‐9404
BEVERLY L BARNES                                 18075 GREENLAWN                                                                                DETROIT            MI    48221‐2540
BEVERLY L BELL                                   19420 LORAIN RD APT 407                                                                        FAIRVIEW PARK      OH    44126‐1930
BEVERLY L COLBRUNN                               856 WARNER RD                                                                                  BROOKFIELD         OH    44403‐9794
BEVERLY L CORY                                   17192 US HIGHWAY 27                                                                            MOORE HAVEN        FL    33471‐5533
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 434 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

BEVERLY L EDWARDS & MYLES T EDWARDS JT TEN         700 S OGDEN ST                                                                               DENVER           CO    80209‐4422
BEVERLY L GLASS                                    24 NORTH COLONIAL DR                                                                         GILBERT          AZ    85234‐5919
BEVERLY L GOEBEL                                   120 SUNRISE CANYON RD                                                                        WIMBERLEY        TX    78676‐6043
BEVERLY L GRAHAM                                   2110 N W MARKEN ST                                                                           BEND             OR    97701‐8634
BEVERLY L HAMMON                                   1288 DEER CREEK TRL                                                                          GRAND BLANC      MI    48439‐9264
BEVERLY L LAMBERT                                  21 RUSSELL ST                                                                                SAN FRANCISCO    CA    94109‐1915
BEVERLY L LAPLANT                                  31751 LAPLANT RD                                                                             GRAND RAPIDS     MN    55744
BEVERLY L LAUB                                     7303 CINCINNATI DAYTON RD                                                                    WEST CHESTER     OH    45069‐1545
BEVERLY L MEYER & STACIE L VILLARREAL JT TEN       8676 M186                                                                                    FIFE LAKE        MI    49633‐9735
BEVERLY L MOORE                                    10314 W 61ST ST                                                                              SHAWNEE          KS    66203‐3010
BEVERLY L NASH                                     16508 SIENNA CIR                                                                             CLINTON TWP      MI    48038‐7323
BEVERLY L PERRIN TR BEVERLY PERRIN REVOCABLE       19129 SPRING DRIVE                                                                           SONOMA           CA    95476‐6025
TRUST UA 05/21/04
BEVERLY L PHIPPS TR BEVERLY L PHIPPS MARITAL TRUST 1950 WEST PEARCE BLVD                                                                        WENTZVILLE       MO    63385‐3328
UA 2/9/94
BEVERLY L RICE                                     4830 N LESLEY AVE                                                                            INDIANAPOLIS     IN    46226‐2212
BEVERLY L ROBERTS                                  1809 NW 143RD ST                                                                             GAINESVILLE      FL    32606‐5233
BEVERLY L ROBINSON & JOHN B ROBINSON JT TEN        9 ROSELLE AVENUE                                                                             WILMINGTON       DE    19805‐2278
BEVERLY L ROHDE                                    W175N7853 WILDWOOD DR               APT 338                                                  MENOMONEE FLS    WI    53051‐4142
BEVERLY L ROHDE‐BERTHER                            12857 W BELOIT RD                                                                            NEW BERLIN       WI    53151‐6929
BEVERLY L SALTER                                   125 WINDING BROOK                                                                            WALLED LAKE      MI    48390‐3965
BEVERLY L SCHWARTZ                                 50 LEGEND RD                                                                                 BENBROOK         TX    76132‐1036
BEVERLY L SIMMONS                                  13928 MILLERS MILL RD                                                                        CONSTANTINE      MI    49042‐9686
BEVERLY L TUBERGEN                                 7075 KELLY LEE DR SW                                                                         BRYON CENTER     MI    49315‐8578
BEVERLY L WAGNER CUST JUSTIN PATRICK YOUNGER       1918 HIGH POINT RD                                                                           FOREST HILL      MD    21050‐2202
UGMA MD
BEVERLY L WHITE                                    15885 TRACEY                                                                                 DETROIT          MI    48227‐3347
BEVERLY LABUDA                                     46579 PALOMINO CT                                                                            MACOMB TWP       MI    48044‐5436
BEVERLY LASKIN CUST JASON LAWRENCE LASKIN UGMA 257 MERCURY STREET                                                                               EAST MEADOW      NY    11554‐1222
NY
BEVERLY LAWLEY                                     19271 EASTERN VALLEY ROAD                                                                    WOODSTOCKTON     AL    35188‐3426
BEVERLY LAWN                                       3 HAWK DRIVE                                                                                 HUNTINGTON       NY    11743‐9750
BEVERLY LYNN PAUL                                  38999 ARBOR CT                                                                               GRAFTON          OH    44044‐1062
BEVERLY LYNN TIMERDING                             3905 S 223RD CIRCLE                                                                          ELKHORN          NE    68022‐2413
BEVERLY M BEASLEY & ROBIN E BEASLEY JT TEN         1922 E SOUTHBRIDGE WY                                                                        SANDY            UT    84093‐2550
BEVERLY M BLACKSTOCK                               232 OLD HILL CITY ROAD                                                                       MAYSVILLE        KY    41056‐9063
BEVERLY M BURKE                                    ATTN BEVERLY M FLAHERTY             91 OLDE WOOD ROAD                                        GLASTONBURY      CT    06033‐4157
BEVERLY M DE MARSH                                 512 ROANOKE DR                                                                               BLOOMFIELD       MI    48301‐3337
BEVERLY M HAWKINS                                  18000 CLIFFSIDE DR                                                                           STRONGSVILLE     OH    44136‐4254
BEVERLY M JENKINS                                  834 PENNINGTON AVE                                                                           TRENTON          NJ    08618‐2912
BEVERLY M KARAKULA                                 14500 PROSPECT STREET               #211                                                     DEARBORN         MI    48126
BEVERLY M KARAKULA & HELEN KARAKULA JT TEN         14500 PROSPECT #211                                                                          DEARBORN         MI    48126‐3452
BEVERLY M KATZ CUST MARY E KATZ UTMA MI            37560 LANCASTER ST                                                                           LIVONIA          MI    48154‐1562
BEVERLY M LOTZ TR MARK A LOTZ TRUST UA 05/31/95 8824 DECIMA DR                                                                                  CINCINNATI       OH    45242‐8030

BEVERLY M MARTELLO                               5510 SW LOOP 410                                                                               SAN ANTONIO      TX    78227‐4608
BEVERLY M MASON                                  133 79TH ST                                                                                    NIAGARA FALLS    NY    14304‐4201
BEVERLY M MINTER                                 6149 RUTLEDGE HILL ROAD                                                                        COLUMBIA         SC    29206
BEVERLY M O'MEARA                                3705 FOXFORD CIR                                                                               TALLAHASSEE      FL    32309
BEVERLY M PENDER                                 3337 WEBSTER AVE                                                                               KANSAS CITY      KS    66104‐4068
BEVERLY M PETRINA                                833 OAK FORREST DRIVE                                                                          THE VILLAGES     FL    32162‐7452
BEVERLY M RICHER                                 5667 BELLEWOOD CT SE                                                                           KENTWOOD         MI    49548‐5979
BEVERLY M SHEIL EX UW ELIZABETH MORELAND         18 HIGHLAND AVE                                                                                PORTLAND         CT    06480‐1508
BEVERLY M SMITH                                  2820 MIDDLEBURY                                                                                BLOOMFIELD TWP   MI    48301‐4168

BEVERLY M STEELE                                 907 LOCKSLEY MANOR DR                                                                          LAKE ST LOUIS    MO    63367‐2576
BEVERLY M VESELSKY                               12416 S LINDEN RD                                                                              LINDEN           MI    48451‐9455
BEVERLY M WEAVER & DAVID L WEAVER JT TEN         1096 WEST SCHUMACHER                                                                           FLINT            MI    48507‐3618
BEVERLY MARIE MCKENNA                            226 W 2ND ST                                                                                   FLINT            MI    48502‐1203
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 435 of 850
Name                                               Address1                                Address2             Address3          Address4          City             State Zip

BEVERLY MC LEOD                                    ATTN BEVERLY JOKISCH                    1389 STONETREE                                           TROY             MI    48083‐5352
BEVERLY MOHANCO                                    10 WILSON WAY                                                                                    RINGOES          NJ    08551‐1811
BEVERLY MORIN                                      86 TRACY DR                                                                                      VERNON           CT    06066‐4124
BEVERLY MORLAN SPICER                              BOX 2026                                                                                         ROCK SPRINGS     WY    82902‐2026
BEVERLY MOYER                                      507 21ST AVE S APT 2                                                                             FARGO            ND    58103‐5347
BEVERLY N BRUMIT                                   300 COLES HILL CT                                                                                ALPHARETTA       GA    30022‐5634
BEVERLY N EYERLY & WILLIAM A EYERLY JT TEN         4904 CHEROKEE HILLS DR                                                                           SALEM            VA    24153‐5851
BEVERLY N GUNSENHOUSER                             3707 IRONWOOD PL                                                                                 ANDERSON         IN    46011‐1654
BEVERLY N PATTERSON                                31245 BALMORAL ST                                                                                GARDEN CITY      MI    48135‐1984
BEVERLY N WALLACE                                  243 TWIN HILLS DR                                                                                PITTSBURGH       PA    15216‐1107
BEVERLY N WELLS CUST JASON ALAN WELLS UGMA MA      BOX 145                                                                                          STOWE            VT    05672‐0145

BEVERLY N WELLS CUST NEWTON EDWARD WELLS           BOX 145                                                                                          STOWE            VT    05672‐0145
UGMA MA
BEVERLY NEFF                                       328 HEIKES AVE                                                                                   DAYTON           OH    45405‐1118
BEVERLY NEWCOMBE                                   2362 SASHA CT                                                                                    GRANTS PASS      OR    97527‐4238
BEVERLY O PORTER                                   2504 SECOND STREET                                                                               WESTLAND         MI    48186‐5457
BEVERLY O TURNER & ALLAN E TURNER & NANCY E        116 VILLAGE DR LA BAR                                                                            STROUDSBURG      PA    18360
TURNER JT TEN
BEVERLY ODENEAL                                    885 BURLINGAME                                                                                   DETROIT          MI    48202‐1006
BEVERLY P CRONE                                    5717 MASON RD                                                                                    MEMPHIS          TN    38120‐1845
BEVERLY P HOPKINS                                  212 WOODSIDE AV                         APT 2                                                    TRENTON          NJ    08618‐3433
BEVERLY P STORMER & BARBARA J BENSCOTER JT TEN     7941 ANDERSONVILLE RD                                                                            CLARKSTON        MI    48346‐2515

BEVERLY P VAN WINKLE                               41 BREEZY PT                                                                                     LITTLE SILVER    NJ    07739‐1703
BEVERLY PASCHALL                                   230 YOUNGER RD                                                                                   DIANA            TX    75640
BEVERLY PISKORSKI                                  6060 VENICE DR                                                                                   COMMERCE TWP     MI    48382‐3660
BEVERLY PRESCOTT                                   153 STAAKE SPUR                                                                                  KISSEE MILLS     MO    65680‐8357
BEVERLY R CAULEY                                   6081 JOHN DALY                                                                                   TAYLOR           MI    48180‐1057
BEVERLY R GALUPI                                   430 RUSSELL LANE                                                                                 BURLESON         TX    76028‐4334
BEVERLY R JAMISON                                  1604 W 10TH ST                                                                                   WILMINGTON       DE    19805‐2708
BEVERLY R LOTZ                                     764 DORAL LN                                                                                     NORTH AURORA     IL    60542‐9146
BEVERLY R LOTZ                                     8824 DECIMA STREET                                                                               CINCINNATI       OH    45242‐8030
BEVERLY R PETTUS                                   18262 KENTUCKY STREET                                                                            DETROIT          MI    48221‐2028
BEVERLY R SANDRACO                                 10966 GRAND LAKE HWY                                                                             POSEN            MI    49776‐9741
BEVERLY R SNYDER                                   8 PINE HILL DRIVE                                                                                PITTSFORD        NY    14534‐3952
BEVERLY R ST PIERRE                                61 POINT RD                                                                                      PORTSMOUTH       RI    02871‐4914
BEVERLY REFORMED CHURCH                            2141 PORTER ST S W                                                                               WYOMING          MI    49509‐2269
BEVERLY RICHARDS                                   601 BREW STREET                                                                                  TAMAQUA          PA    18252‐1514
BEVERLY ROBINSON                                   10854 N 60TH AVE                        APT 1145                                                 GLENDALE         AZ    85304‐3792
BEVERLY ROSS                                       105 CASHMERE DR                                                                                  THOMPSONS STN    TN    37179‐5322
BEVERLY S BISHOP                                   672 BRACEVILLE‐ROBINSON RD SW                                                                    NEWTON FALLS     OH    44444‐9506
BEVERLY S BOURQUE                                  380 WOODCROFT DR                                                                                 ROCHESTER        NY    14616‐1427
BEVERLY S BRITTAIN                                 2421 HATHAWAY RD                                                                                 DAYTON           OH    45419‐1720
BEVERLY S CLARK                                    3513 LUBBOCK DR                                                                                  RALEIGH          NC    27612‐5015
BEVERLY S FONDENBERGER                             634 HOLIDAY DR                                                                                   GREENTOWN        IN    46936‐1637
BEVERLY S HACKWORTH                                1669 HARTEL RD                                                                                   CHARLOTTE        MI    48813‐9331
BEVERLY S HOFF                                     1025 CAMBRIDGE CT NE                                                                             WARREN           OH    44484
BEVERLY S HOLZHEU                                  17524 CHERRY DRIVE                                                                               EDEN PRAIRIE     MN    55346‐1237
BEVERLY S MAGGART & TODD M CARTER & ALISON F       122 TIMBER HILLS ROAD                                                                            HENDERSONVILLE   TN    37075‐9770
CARTER JT TEN
BEVERLY S MONEY                                    649 WOODCREST DR                                                                                 MANSFIELD        OH    44905‐2318
BEVERLY S MOORE                                    208 E MARION AVE                                                                                 PROSPECT HTS     IL    60070‐1549
BEVERLY S MUGHMAW                                  4030 STONELEIGH COURT                                                                            MARION           IN    46952‐8621
BEVERLY S NAWROCKI & STEPHEN J NAWROCKI JT TEN     45 BIGELOW ST                                                                                    FALL RIVER       MA    02720‐5407

BEVERLY S SHILLING & WILBUR M SHILLING SR JT TEN   108 RAINBOW DR                                                                                   LIVINGSTON       TX    77399‐1008

BEVERLY S STEFFENS                                 11846 FOOD LANE                                                                                  KANSAS CITY      MO    64134‐3954
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 436 of 850
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

BEVERLY S WILLIAMS                                 605 N 10TH ST                                                                                  MIDDLETOWN       IN    47356
BEVERLY S WILSON                                   1002 HODSON STREET                                                                             MUNCIE           IN    47303‐3368
BEVERLY SCHAFFER TR BEVERLY SCHAFFER TRUST UA      6615 N KOSTNER AVE                                                                             LINCOLNWOOD      IL    60712‐3524
1/17/95
BEVERLY SCHILL & EUGENE SCHILL JT TEN              165 GREENDALE DRIVE                                                                            KETTERING        OH    45429‐1501
BEVERLY SCHINER                                    6 RIDGEVIEW LANE                                                                               MT ARLINGTON     NJ    07856
BEVERLY SHAPIRO                                    5349 N KIMBALL ST                                                                              CHICAGO          IL    60625‐4713
BEVERLY SIMON CUST ALLYN L SIMON U/THE ILLINOIS U‐ 3908 N CHARLES ST APT 901                                                                      BALTIMORE        MD    21218‐1752
G‐M‐A
BEVERLY SIMON KLIMKO & THOMAS KLIMKO JT TEN        6189 CELESTE ROAD                                                                              WEST BLOOMFIELD MI     48322‐1315

BEVERLY SMITH                                      6426 WINDING RIDGE WAY                                                                         LAS VEGAS        NV    89156‐7554
BEVERLY SPENCER                                    6641 SOUTH CHAMPIONSHIP DR                                                                     CHANDLER         AZ    85249‐4307
BEVERLY STEWART                                    PO BOX 1142                                                                                    LAKESIDE         CA    92040‐0905
BEVERLY STINSON & BENJAMIN STINSON JT TEN          1339 SHADOW OAK DR                                                                             EVANS            GA    30809‐5292
BEVERLY SUE GRENZKE                                7444 STATE RD                                                                                  HARBOR SPRINGS   MI    49740‐8608
BEVERLY T BATH                                     2050 RUSSELL                                                                                   DEARBORN         MI    48128‐1460
BEVERLY T BOHRER                                   202 FRANCIS DR                                                                                 SALISBURY        MD    21804‐6905
BEVERLY T CLARK                                    608 E MCMURRAY RD STE 101                                                                      MCMURRAY         PA    15317‐3440
BEVERLY T GROW                                     PO BOX 249                                                                                     MAPLE CITY       MI    49664
BEVERLY T LEE                                      1212 BEAVER RUN                                                                                ANDERSON         SC    29625‐6707
BEVERLY TANENHAUS                                  498 SAYRE DR                                                                                   PRINCETON        NJ    08540‐5855
BEVERLY TOGLIATTI & THEODORE TOGLIATTI JT TEN      6407 ARCHWOOD RD                                                                               INDEPENDENCE     OH    44131‐4908

BEVERLY TOGLIATTI CUST ANTHONY TOGLIATTI UTMA   6407 ARCWOOD RD                                                                                   INDEPENDENCE     OH    44131‐4908
OH
BEVERLY TOGLIATTI CUST KIMBERLY TOGLIATTI UGMA 6407 ARCWOOD RD                                                                                    INDEPENDENCE     OH    44131‐4908
OH
BEVERLY TOGLIATTI CUST ROBERT TOGLIATTI UTMA OH 6407 ARCHWOOD RD                                                                                  INDEPENDENCE     OH    44131‐4908

BEVERLY TOGLIATTI CUST THEODORE TOGLIATTI UTMA     6407 ARCWOOD RD                                                                                INDEPENDENCE     OH    44131‐4908
OH
BEVERLY TRAVIS                                     28555 PIERCE                                                                                   SOUTHFIELD       MI    48076
BEVERLY TROY WINN & THOMAS C WINN JT TEN           930 WATERMAN RD N                                                                              JACKSONVILLE     FL    32207‐5243
BEVERLY TWADDELL GUSTIN                            201 NICHOLS AVE                                                                                WILMINGTON       DE    19803‐2588
BEVERLY W AMLING TR UA 03/30/89 M/B BEVERLY W      25 LONG BEN LANE                                                                               NOKOMIS          FL    34275‐2214
AMLING
BEVERLY W BASSEMER                                 3307 CANADAY DR                                                                                ANDERSON         IN    46013‐2214
BEVERLY W DAVIS                                    119 S MAIN ST                                                                                  KEYSER           WV    26726‐3029
BEVERLY W GALLUS                                   30 LOCHAVEN RD                                                                                 BRISTOL          CT    06010‐2703
BEVERLY W HUTTON & ROBERT HUTTON III JT TEN        7423 RIVERSHORE DR                                                                             SEAFORD          DE    19973‐4325
BEVERLY W MC KAY                                   3390 SHERIDEN RD                                                                               MARION           NY    14505‐9426
BEVERLY W NAGLE                                    2208 MONTICELLO N W                                                                            WARREN           OH    44485‐1811
BEVERLY W PARDEE                                   1060 BROADWAY AVE SE                                                                           WARREN           OH    44484‐2604
BEVERLY W VAUGHAN                                  PO BOX 2036                                                                                    KENSINGTON       MD    20891‐2036
BEVERLY WALKER                                     19675 STOTTER                                                                                  DETROIT          MI    48234
BEVERLY WEAVER CUST ADAM WEAVER UTMA VA            3300 CAMERON MILLS ROAD                                                                        ALEXANDRIA       VA    22302‐2211
BEVERLY WEAVER CUST JEFFREY WEAVER UTMA VA         3300 CAMERON MILLS ROAD                                                                        ALEXANDRIA       VA    22302‐2211

BEVERLY WESTCOTT FUQUA                             PO BOX 20                                                                                      RAND             CO    80473‐0020
BEVERLY WILLING & JOHN WILLING JT TEN              4289 W FOUR LAKES DR                                                                           LINDEN           MI    48451‐9452
BEVERLY WILSON                                     2435 S MAIN ST                                                                                 HIGHLAND HEIGHTS KY    41076‐1210

BEVERLY WOODS                                      201 WINDING ACRES LANE                                                                         EATON RAPIDS     MI    48827‐8207
BEVERLY WRAY TR UA 03/04/92 BEVERLY WRAY TRUST     5353 BREEZE HILL PLACE                                                                         TROY             MI    48098‐2707

BEVERLY ZUCKER & ALAN ZUCKER JT TEN                230 E 15 ST (2D)                                                                               NEW YORK         NY    10003‐3941
BEVERLYANN P KROHN                                 7333 BEVERLY                                                                                   OVERLAND PARK    KS    66204‐2137
BEVERLYN A LAMB                                    488 BAY ST                                                                                     PONTIAC          MI    48342‐1912
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 437 of 850
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

BEVILEY J LANE                                     128 E JACKSON                                                                                   FLINT             MI    48505‐4961
BEVIN E SMITH                                      4881 CEDAR LAKE DR                                                                              GREENBUSH         MI    48738‐9730
BEVIS K SOUTHERN                                   5610 SAINT JAMES LANE                                                                           YORK              SC    29745‐9369
BHAGWANDAS L SUTARIA TR INDUMAIT G SACHDEV         42 GRANDVIEW AVE                                                                                LAKEWOOD          NY    14750‐1644
TRUST UA 08/12/94
BHALABHAI V PATEL                                  12449 BACALL LANE                                                                               POTOMAC           MD    20854‐1026
BHALCHANDRA S SATA                                 10000 WAYNE RD STE 2                                                                            ROMULUS           MI    48174‐3431
BHARAT K SHAH & MEENAL B SHAH JT TEN               16387 WYNNCREST FALLS WAY              PO BOX 365                                               CHESTERFIELD      MO    63006‐0365
BHAVIN B SHAH                                      6900 NASHWAY DR W                                                                               WEST BLOOMFIELD   MI    48322‐3213

BHIM CHOPRA                                  319 W ROSEVALLEY RD                                                                                   WALLINGFORD       PA    19086‐6302
BHIMSEN MUDALGIKAR & NANDA MUDALGIKAR JT TEN 4005 FOX HILL RD                                                                                      CLARKS SUMMIT     PA    18411‐8802

BHOLA N BANIK                                      171 BRISTOL DRIVE                                                                               WOODBURY          NY    11797‐3114
BHUDEV SHARMA & GIRISH C SHARMA JT TEN             165 FALLING WATERS DR                                                                           JONESBORO         GA    30236‐5487
BHUPENDRA A PATEL & ASMITA B PATEL JT TEN          3912 HOBSON GATE CT                                                                             NAPERVILLE        IL    60540‐9440
BHUPENDRA A SHAH                                   10016 39TH AVE                                                                                  CORONA            NY    11368‐4803
BHUPENDRA K PAREKH CUST MILIND B PAREKH UGMA       1124 OLD EAGLE RD                                                                               LANCASTER         PA    17601‐1533
PA
BIAGIA DI FRANCESCO                                11 HARVEST HILL                                                                                 ROCHESTER         NY    14624‐4468
BIAGIO BITONTI                                     1836 BEECH DALY                                                                                 DEARBORN HEIG     MI    48127‐3462
BIAGIO C LAPORTA                                   12 COOK ST                                                                                      MILFORD           MA    01757‐3505
BIAGIO G TARTANELLA                                33 WINCHESTER DRIVE                                                                             SCOTCH PLAINES    NJ    07076‐2731
BIAGIO RICHARD SALEMI & ELVA VIRGINIA SALEMI TEN   1209 CONSTANTINE COURT                                                                          BEL AIR           MD    21014‐6839
ENT
BIAN B WALKER JR                                   121 LANSDOWNE AVE                                                                               HADDONFIELD       NJ    08033
BIANCA A BANASH                                    18431 SECOND AVE                                                                                SONOMA            CA    95476‐3986
BIANCA A BANASH CUST MEITRA C BOZORGZADEGAN        18431 SECOND AVE                                                                                SONOMA            CA    95476‐3986
UTMA CA
BIANCA R BROGGI & AURELIA BROGGI JT TEN            618 SKINNER RD                                                                                  AUSTIN            AR    72007‐9218
BIBIANA BURGER & LISA M BURGER WARREN JT TEN       2242 E VIENNA RD                                                                                CLIO              MI    48420‐7937

BIBIANE TAILLEUR                                   3046 DES CHATELETS #4                  STE‐FOY QC                             G1V 2K2 CANADA
BIDA HENSON                                        1335 SURF WAY                                                                                   RENO              NV    89503‐1947
BIDDIE DAVIS TAYLOR                                479 COLLEGE HILL RD                                                                             LA FOLLETTE       TN    37766‐4088
BIDDIE L BARRETT                                   9487 STARK                                                                                      LIVONIA           MI    48150‐2613
BIDDLE T GUNN                                      4235 TRIPP ROAD                                                                                 JANESVILLE        WI    53545‐9244
BIDDY JANE RUF                                     4213 VERNE                                                                                      CINCINNATI        OH    45209‐1219
BIENVENIDO BRIGNONI                                286 PETERS CT                                                                                   SHAFTER           CA    93263‐3421
BIFF W DODSON                                      807 ESCONDIDO DR                                                                                UMPQUA            OR    97486‐9703
BIG FONG HUEY ENG                                  110‐14 SAULTELL AVE                                                                             CORONA            NY    11368‐4010
BIG ROCK COMMUNITY 4‐H CLUB                        ATTN PAUL CHATHAM                      36461 CO RD 23                                           SPRINGFIELD       CO    81073‐9515
BIG SPRINGS CEMETERY MANAGEMENT ASSOC INC          BOX 223                                                                                         RICHARDSON        TX    75080

BIG TALL CHIN                                      15‐54B PLAZA ROAD                                                                               FAIR LAWN         NJ    07410‐3642
BIGE F ANDERSON                                    25250 EUREKA RD                        APT 310                                                  TAYLOR            MI    48180‐6428
BIK LIN CHAN                                       1382 28TH AVE                                                                                   SAN FRANCISCO     CA    94122
BILAL KARABUBER                                    169 74TH STREET                                                                                 BROOKLYN          NY    11209‐2203
BILBO MCCARTY JR                                   757 SAINT ANTHONY ST                                                                            MOBILE            AL    36603‐5826
BILL A BENESI SR                                   1337 SKYLINE DR                                                                                 DALY CITY         CA    94015‐4732
BILL A CROSS                                       PO BOX 681                                                                                      CANFIELD          OH    44406‐0681
BILL A CROSS                                       PO BOX 681                                                                                      CANFIELD          OH    44406‐0681
BILL A PIRSCHEL JR                                 901 THE LANE                                                                                    MT STERLING       KY    40353‐8805
BILL A SABODOR                                     1446 W 183RD                                                                                    HOMEWOOD          IL    60430‐3443
BILL A SABODOR & MARY C SABODOR JT TEN             1446 W 183RD STREET                                                                             HOMEWOOD          IL    60430
BILL A SCOGGINS                                    PO BOX 303                                                                                      MONROEVILLE       OH    44847‐0303
BILL A SKAGGS                                      3201 MARYLAND AVENUE                                                                            FLINT             MI    48506‐3032
BILL ANDERAU                                       2514 WILLIAMSBURG                                                                               PASADENA          TX    77502‐4341
BILL B BARNARD                                     949 WHITEHALL DR                                                                                PLANO             TX    75023‐6736
                                                  09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 438 of 850
Name                                                Address1                             Address2             Address3          Address4          City             State Zip

BILL B BARNES                                       3460 SOUTH BRENNAN RD                                                                         HEMLOCK       MI       48626
BILL B WISNIEWSKI JR                                27192 WYATT AVE                                                                               BROWNSTWN TWP MI       48183‐4855

BILL BARWICK & DAWN M BARWICK COMMUNITY             19806 N SIXTH DR                                                                              PHOENIX          AZ    85027‐4409
PROPERTY
BILL BEATTIE                                        PO BOX 93                                                                                     BELMONT          NC    28012‐0093
BILL BIGHINATTI & CHRISTINE S BIGHINATTI JT TEN     14317 BECKNER ST                                                                              LA PUENTE        CA    91744

BILL BOWEN                                      127 SNOOFY FOX ROAD                                                                               GOODE            VA    24556
BILL BURCH & MARY BURCH JT TEN                  2721 FOREST AVE                                                                                   ASHLAND          KY    41101‐3917
BILL C CLARK CUST VIVILIA ANN CLARK UGMA TX     PO BOX 215                                                                                        DEWY ROSE        GA    30634‐0215
BILL C MAYES                                    2506 MILLWOOD CIR SE                                                                              HUNTSVILLE       AL    35803
BILL C MITCHELL                                 175 BEECHWOOD AVE                                                                                 MT VERNON        NY    10553‐1301
BILL COLLINS                                    4112 INWOOD RD                                                                                    FORT WORTH       TX    76109
BILL COULTER COULTER CADILLAC INC               1188 EAST CAMELBACK ROAD                                                                          PHOENIX          AZ    85014‐3211
BILL D ARNOLD                                   1116 ENTRADA DRIVE                                                                                DAVIS            CA    95616‐7122
BILL D BARTLETT & JUDY M BARTLETT JT TEN        2430 REDLAND MESA                                                                                 SAN ANTONIO      TX    78259‐3536
BILL D CALDWELL                                 9093 PINE GROVE LN                                                                                ATLANTA          MI    49709‐9118
BILL D CAMP                                     G4383 1/2 S SAGINAW ST                                                                            BURTON           MI    48529‐2068
BILL D CORBIN                                   2100 N 43RD ST                                                                                    KANSAS CITY      KS    66104‐3406
BILL DACHNO                                     1128 PEPPER TREE DRIVE                                                                            PALATINE         IL    60067‐2742
BILL DAILY & HAROLDINE DAILY JT TEN             610 W ST ANDREWS                                                                                  MIDLAND          MI    48640‐3354
BILL DAVID COCHRANE                             15300 ROBINSON RD                                                                                 PLAIN CITY       OH    43064‐8930
BILL DAVIDOWITZ CUST NEIL BRUCE DAVIDOWITZ UGMA 6 AVON ROAD                                                                                       LARCHMONT        NY    10538‐1442
NJ
BILL DAVIS                                      3110 WASHINGTON RD                                                                                EAST POINT       GA    30344‐5415
BILL DENNIS BRAZEAL                             7062 HICKORY ST                                                                                   FLUSHING         MI    48433‐9023
BILL DWORAK                                     3052 AUTUMNWOOD TRL                                                                               YOUNGSTOWN       OH    44514‐2886
BILL E AHLSWEDE                                 29076 STONE RIDGE ST                                                                              MENIFEE          CA    92584‐7877
BILL E ATKINS                                   10615 DOGWOOD WAY                                                                                 STANTON          CA    90680‐2310
BILL E DAVIDSON                                 5956 WILLIAMS PORT DR                                                                             FLOWERY BRANCH   GA    30542‐3958

BILL E HAMM                                         6026 CAENEN                                                                                   SHAWNEE MISSION KS     66216‐1857

BILL E LUX JR                                       2708 SW 121ST ST                                                                              OKLAHOMA CITY    OK    73170‐4736
BILL E RAE & MRS YVONNE RAE JT TEN                  1301 RIDGECREST RD                                                                            EDMOND           OK    73013‐6035
BILL E SCHOBY                                       4906 PAVALION DR                                                                              KOKOMO           IN    46901‐3655
BILL E SNEED                                        PO BOX 423                                                                                    TONGANOXIE       KS    66086‐0423
BILL E TOLLETT                                      1146 DAYTON AVENUE                                                                            CROSSVILLE       TN    38555‐5961
BILL EDDIE MEADOWS                                  2503 LAURA DR                                                                                 FLINT            MI    48507‐3241
BILL ENGEL & SUSANNE M ENGEL JT TEN                 1615 SUNNINGTON GROVE DR                                                                      DAYTON           OH    45458‐6002
BILL ESTES CHEVROLET                                4105 W 96TH ST                                                                                INDIANAPOLIS     IN    46268‐1112
BILL EVANS & KATHRON EVANS JT TEN                   6900 BRENTWOOD STAIRS RD                                                                      FT WORTH         TX    76112‐3305
BILL F ARMSTRONG                                    1101 S W WINCHESTER BLVD I‐202                                                                SAN JOSE         CA    95128‐3904
BILL F GILLETT                                      8990 LOON LN                                                                                  LACHINE          MI    49753‐9458
BILL FREAS                                          1990 AMETHYST DR                                                                              LONGMONT         CO    80504‐7782
BILL G BRAY                                         5464 COUNTRY LANE                                                                             FLINT            MI    48506‐1011
BILL G DAWSON                                       5512 LAFAYETTE ROAD                                                                           MEDINA           OH    44256‐2467
BILL G HENDRICKS                                    3299 N FRANCIS SLOCUM TR                                                                      MARION           IN    46952‐9794
BILL G HINTZ                                        13390 TODD ROAD                                                                               IDA              MI    48140‐9728
BILL G LADD                                         PO BOX 13013                                                                                  DAYTON           OH    45413‐0013
BILL G SOUTHARD                                     1351 KENNETH                                                                                  BURTON           MI    48529‐2215
BILL G SPENCER                                      1408 THACKERY DRIVE                                                                           ARLINGTON        TX    76018‐2603
BILL G TALLENT                                      3485 N TAMARIND AVE                                                                           RIALTO           CA    92377‐3643
BILL GEORGE & DONNA GEORGE TEN COM                  1716 LAKE SUPERIOR DR                                                                         HARVEY           LA    70058‐5137
BILL GILMER & ROSEMARY GILMER & LARRY GILMER JT     14545 KELLEY RD                                                                               KANSAS CITY      MO    64149‐1251
TEN
BILL GILMER & ROSEMARY GILMER JT TEN                14545 KELLEY RD                                                                               KANSAS CITY      MO    64149‐1251
BILL GREEN CUST BRANDON GREEN UTMA MA               3185 TROUT PLACE RD                                                                           CUMMINGS         GA    30041‐8260
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 439 of 850
Name                                              Address1                             Address2                Address3       Address4          City            State Zip

BILL GREEN CUST MATHEW FAULKNER UTMA GA           3185 TROUT PLACE RD                                                                           CUMMINGS         GA   30041‐8260
BILL GREEN CUST PAIGE FAULKNER UTMA GA            3185 TROUT PLACE RD                                                                           CUMMINGS         GA   30041‐8260
BILL H JOHNSON                                    28275 MARTINDALE                                                                              NEW HUDSON       MI   48165‐9412
BILL H LADD                                       1226 LINDEN AVE                                                                               DAYTON           OH   45410‐2813
BILL HILLMANN                                     11 APPLEBLOSSOM LN                                                                            VOORHEESVILLE    NY   12186
BILL J CLINGENPEEL                                BOX 128 R R 1                                                                                 FLORA            IN   46929‐9656
BILL J DUNN                                       1330 CAROL AVE                                                                                PRINCETON        IN   47670‐2810
BILL J GAY                                        3832 NW BARRY RD                     APT B                                                    KANSAS CITY      MO   64154‐3768
BILL J HENSLEY                                    1390 MARLOW RD                                                                                BELLS            TX   75414‐2431
BILL J HOPE                                       801 CAVE MILL ROAD                                                                            BOWLING GREEN    KY   42104‐4684
BILL J HOWARD & MRS MARY S HOWARD JT TEN          27281 TURRELL                                                                                 DEARBORN HEIGHTS MI   48127‐2866

BILL J KOTIS                                        7 WEST HIAWATHA TRAIL                                                                       MT PROSPECTUS   IL    60056‐3855
BILL J KUBIAK                                       2111 AVALON LANE                                                                            ARLINGTON       TX    76014‐1621
BILL J MAAG                                         270 WEST FOURTH STREET                                                                      FT JENNINGS     OH    45844‐9610
BILL J QUON                                         805 JUAREZ ST                                                                               MONTEBELLO      CA    90640‐2524
BILL J SHIPLEY                                      9444 TORREY ROAD                                                                            GRAND BLANC     MI    48439‐9324
BILL J VARIO & BIRDIE L VARIO TR VARIO FAM TRUST UA 5036 SANTA BARBARA AVE                                                                      SPARKS          NV    89436‐3609
06/10/96
BILL JOHNSON                                        39619 ENCORSE                                                                               ROMULUS         MI    48174
BILL JOSEPH                                         1768 WILMONT DR                                                                             KENTWOODPIDS    MI    49508‐6588
BILL KELSO                                          2917 OLD GREENWOOD RD              STE 7                                                    FORT SMITH      AR    72903‐4571
BILL L DELLOYD                                      360 GOLDENRAIN AVE                                                                          FREMONT         CA    94539‐7600
BILL L DEMPSEY                                      1422 N EDGEWATER DR                                                                         CHARLESTON      SC    29407‐7613
BILL L HALL                                         6525 17 MILE RD                                                                             CEDAR SPRINGS   MI    49319‐8511
BILL L HAMBLIN & THERESA M HAMBLIN JT TEN           2621 DELAVAN DR                                                                             DAYTON          OH    45459‐3547
BILL L MINNIEAR                                     2719 E BOULEVARD                                                                            KOKOMO          IN    46902‐2728
BILL L SIMS                                         971 W DESERT CANYON PL                                                                      GREEN VALLEY    AZ    85614‐1126
BILL L URIBE                                        #1                                 131 BRYNFORD AVE                                         LANSING         MI    48917‐2923
BILL L WHITTINGTON                                  8256 UPPER OLALLA RD                                                                        WINSTON         OR    97496‐4596
BILL L ZOTTO & DEBRA T ZOTTO JT TEN                 109 SHORT DRIVE                    MT JULIET                                                MOUNT JULIET    TN    37122
BILL LAM                                            2715 MARA DRIVE                    COQUITLAM BC                           V3C 5L6 CANADA
BILL LANE CUST ALEXIS C LANE UTMA CA                3553 ATLANTIC AVE                  #317                                                     LONG BEACH      CA    90807‐4515
BILL LOCKETT                                        8810 COUNTY ROAD 6                                                                          SWEET WATER     AL    36782‐4620
BILL M TAYLOR JR & CYNTHIA DAVIS JT TEN             106 S MAIN ST B                                                                             MEDFORD         WI    54451‐1841
BILL M TEER & MAYME N TEER JT TEN                   2284 COOK ROAD                                                                              GRAND BLANC     MI    48439
BILL M YAMADA & MARIE M YAMADA JT TEN               15406 S TRACY BLVD                                                                          STOCKTON        CA    95206‐9639
BILL MAYO                                           RT 1 BOX 246                                                                                BLANCHARD       OK    73010‐9731
BILL MCMURRAY                                       4936 ST 35 E                                                                                W ALEXANDRIA    OH    45381‐9803
BILL MUNCY JR                                       PO BOX 125                                                                                  FOSTORIA        MI    48435‐0125
BILL MUSSETT                                        RT 3 BOX 99                                                                                 IDABEL          OK    74745
BILL O BULL                                         2389 GOAT CREEK RD                                                                          KERRVILLE       TX    78028‐4324
BILL O BURKE                                        2422 N PARKWOOD                                                                             HARLINGEN       TX    78550‐2416
BILL O BURKE & EMMA J BURKE JT TEN                  2422 N PARKWOOD                                                                             HARLINGEN       TX    78550‐2416
BILL P TAYLOR & MARGARET E TAYLOR TEN COM           615 BAYSHORE DR APT 105                                                                     PENSACOLA       FL    32507‐3567
BILL P TAYLOR & MARGARET TAYLOR JT TEN              615 BAYSHORE DR APT 105                                                                     PENSACOLA       FL    32507‐3567
BILL R GORDON                                       10595 DREW RD                                                                               CLARKSVILLE     MI    48815‐9732
BILL R HORN                                         1815 CANADA FLATT ROAD                                                                      COOKESVILLE     TN    38506‐6839
BILL R STEPHENS                                     1616 VERONA PITTSBURGH RD                                                                   ARCANUM         OH    45304‐9616
BILL R WAGGERMAN                                    34850 MISSION BELLVIEW                                                                      LOUISBURG       KS    66053‐7175
BILL R WEIR                                         1004 HIWY F                                                                                 WRIGHT CITY     MO    63390‐4402
BILL SHIPMAN                                        C/O SHIPMAN HEATING                3444 SPRING GARDEN RD   APT 1                            PITTSBURGH      PA    15212
BILL SPANGLER                                       23920 HWY 19                                                                                SLAUGHTER       LA    70777‐9645
BILL T ADAMS                                        9718 MANDERSON                                                                              OMAHA           NE    68134‐4571
BILL T CANEPA & SHARON CANEPA JT TEN                3174 PONEMAH DR                                                                             FENTON          MI    48430‐1345
BILL T MACK & ROBERTA P MACK JT TEN                 1489 FIRWOOD DR                                                                             COLUMBUS        OH    43229‐3434
BILL T PATRICK SR                                   5920 DIANNE ST                                                                              SHREVEPORT      LA    71119‐5331
BILL T SIMMONS                                      802 NORTH SPRING ST                                                                         ALDERSON        WV    24910‐9314
BILL TERRY                                          2114 N STREET                                                                               BEDFORD         IN    47421‐4517
                                              09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 440 of 850
Name                                            Address1                            Address2             Address3          Address4          City            State Zip

BILL TOMPKINS                                   307 E STATE ST                                                                               CLARE           MI    48617
BILL W MATTHEWS                                 2845 OLD ELM LANE                                                                            GERMANTOWN      TN    38138‐7628
BILL W MCDOWELL & MERILEE MCDOWELL JT TEN       PO BOX 1045                         225 ROCK STREET                                          HEPPNER         OR    97836‐1045

BILL W NIEBURG                                  115 N PINE                                                                                   LITTLE ROCK     AR    72205‐4211
BILL W SCHOENE                                  PO BOX 1257                                                                                  LEBEC           CA    93243‐1257
BILL WILSON                                     PO BOX 24301                                                                                 WACO            TX    76702‐4301
BILL WONDERLY & AVON WONDERLY JT TEN            PO BOX 1428                                                                                  BAKERSFIELD     CA    93302‐1428
BILL WOOLLEY                                    331 CEDAR FALLS DRIVE                                                                        APOLLO BEACH    FL    33572
BILL YEE                                        6609 RAINTREE DR                                                                             CANTON          MI    48187‐3529
BILLEY F BOWMAN                                 101 W MAIN ST                                                                                NEW LEBANON     OH    45345‐1419
BILLEY F JONES                                  13350 GORSLINE RD                                                                            BATTLE CREEK    MI    49014‐8420
BILLEY M BALLARD                                3708 NEWPORT WAY DR                                                                          WATERFORD       MI    48329‐4285
BILLIE A FOSSETT                                4512 TERRACE VIEW RD                                                                         LOUISVILLE      TN    37777‐4628
BILLIE A FUSSELL                                580 SOUTHERLAND CEMETERY ROAD                                                                CHARLOTTE       TN    37036‐5618
BILLIE A GAMMILL                                237 S HUTTIG AVE                                                                             INDEPENDENCE    MO    64053‐1437
BILLIE A HURST                                  862 FRANKLIN RD                                                                              WAYNESVILLE     OH    45068‐9504
BILLIE A KNIGHT                                 C/O BILLIE A KNIGHT LEE             215 S 132                                                OMAHA           NE    68154‐2128
BILLIE A UNGER                                  277 BRAEBURN DR                                                                              MARTINSBURG     WV    25401‐7308
BILLIE ANN HURSON                               10011 KENDALE RD                                                                             POTOMAC         MD    20854‐4243
BILLIE ANN SCHMITZ                              116 PEACH GROVE CIRCLE                                                                       ELGIN           SC    29045
BILLIE ANN WALKER TR UA 10/27/89 BILLIE ANN     2802 PRICKLEY PEAR DR                                                                        HENDERSON       NV    89014‐3236
WALKER TRUST
BILLIE ANN WILLIAMSON                           6534 MIMOSA LANE                                                                             DALLAS          TX    75230‐5210
BILLIE B GREENBURY                              5313 TORREY RD                                                                               FLINT           MI    48507‐5953
BILLIE B WEHMEIR                                14411 SMART RD                                                                               GREENWOOD       MO    64034‐8926
BILLIE BRIDGES & WENDEL BRIDGES JT TEN          15211 MADISON PIKE                                                                           MORNING VIEW    KY    41063‐9670
BILLIE BROWN                                    3600 PARK RD H                                                                               CHARLOTTE       NC    28209‐4102
BILLIE C BARRETT                                2659 COUNTY ROAD 4126                                                                        NEW BOSTON      TX    75570‐7934
BILLIE C BEAVERS                                5169 W PLANO PARKWAY                                                                         PLANO           TX    75093‐5006
BILLIE C CHACE                                  6307 NORWOOD COURT                                                                           KANSAS CITY     MO    64133
BILLIE C CRAWFORD                               3064 CANE MILL RD                                                                            LANCASTER       SC    29720‐9569
BILLIE C GUNNELS                                202 MADISON LN                                                                               FOLEY           AL    36535‐2906
BILLIE C HEDRICK                                600 MARINA LN                                                                                TAVARES         FL    32778‐3837
BILLIE C OWENS                                  202 MADISON LN                                                                               FOLEY           AL    36535‐2906
BILLIE C TRAVIS                                 4123 HARBOR HILLS RD                                                                         CHATTANOOGA     TN    37416‐1716
BILLIE COLES HARLOW                             139 ESTRELLA XING                   UNIT 213                                                 GEORGETOWN      TX    78628‐7060
BILLIE D BURRIS                                 17212 CC HWY                                                                                 HOLT            MO    64048
BILLIE D DOVE                                   6299 W COUNTY RD 550 S                                                                       COATESVILLE     IN    46121‐9594
BILLIE D PHILLIPS                               8057 CRABB RD                                                                                TEMPERANCE      MI    48182‐9553
BILLIE DEVANEY                                  LON JEAN M H CRT                    LOT 16 S                                                 FRANKTON        IN    46044
BILLIE E ADLER                                  73 S LAKE GEORGE RD                                                                          ATTICA          MI    48412‐9789
BILLIE E LANGFORD                               1106 KINGSMILL DR                                                                            ANDERSON        IN    46012‐2624
BILLIE E MARTIN & ALICE M MARTIN JT TEN         1774 W STUART ST                                                                             FRESNO          CA    93711‐1811
BILLIE E THOMAS                                 3200 N 100 W                                                                                 CRAWFORDSVLLE   IN    47933‐9099
BILLIE ELLISON                                  1075 AVALON                                                                                  BEAUMONT        TX    77707‐2903
BILLIE F BLEDSOE                                1214 E REYNOLDS ST                                                                           GOSHEN          IN    46528‐4226
BILLIE F HACKLER                                1314 N PARK BLVD                                                                             RUSHVILLE       IN    46173‐1128
BILLIE F KAUHS                                  1490 BROAD VALLEY CT                                                                         BURLESON        TX    76028‐6518
BILLIE FAYE CONSTANTINE                         PO BOX 3567                                                                                  JOHNSON CITY    TN    37602‐3567
BILLIE FOSSETT REFOUR                           4512 TERRACE VIEW RD                                                                         LOUISVILLE      TN    37777‐4628
BILLIE FOSTER                                   6505 NEWBORN DRIVE                                                                           COLLEGE PARK    GA    30349‐1336
BILLIE G BARWICK                                14541 HAMILTON RD                                                                            ROANOKE         IN    46783‐9604
BILLIE G CHADWICK                               2535 BALL GROUND HWY                                                                         CANTON          GA    30114‐7437
BILLIE G HIGDON                                 1519 DORELLEN AVE                                                                            FLINT           MI    48532‐5341
BILLIE G JACKSON                                ATTN BILLIE G GEYEN                 2016 ROSE ST                                             LAKE CHARLES    LA    70601‐6570
BILLIE G KILKOIN                                1061 E SCHUMACHER ST                                                                         BURTON          MI    48529‐1547
BILLIE G MOCK                                   2181 N 100 W                                                                                 PORTLAND        IN    47371‐8052
BILLIE H WALDEN                                 204 W MAPLE                                                                                  SCOTTVILLE      MI    49454‐1053
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 441 of 850
Name                                              Address1                            Address2             Address3          Address4          City             State Zip

BILLIE HARTMAN DYE                                8321 RAYMOND LANE                                                                            POTOMAC          MD    20854‐3730
BILLIE HUDSON                                     3606 STERLING                                                                                FLINT            MI    48504‐3573
BILLIE J ACORD                                    208 S MCCANN ST                                                                              KOKOMO           IN    46901‐5266
BILLIE J ANDERSON                                 8791 W COUNTY ROAD 550 N                                                                     MIDDLETOWN       IN    47356‐9727
BILLIE J BANKSTON                                 1609 WABASH                                                                                  FLINT            MI    48504‐2946
BILLIE J BEAUCHAMP                                1005 DUNCAN AVE                                                                              CHEBOYGAN        MI    49721‐1323
BILLIE J BLEVINS                                  708 W WALTON                                                                                 PONTIAC          MI    48340‐1053
BILLIE J COPE                                     PO BOX 576                                                                                   FENTON           MI    48430‐0576
BILLIE J COPE & CAROL J COPE JT TEN               PO BOX 576                                                                                   FENTON           MI    48430‐0576
BILLIE J CRAIN                                    5139 HWY 22                                                                                  GERALD           MO    63037
BILLIE J CUNNINGHAM                               12531 MOSSYCUP DR                                                                            HOUSTON          TX    77024‐4936
BILLIE J DAVIS & ALVA A OWENS JT TEN              3423 WALLINGFORD CRT                                                                         GRAND BLANC      MI    48439
BILLIE J DAVIS JR                                 4935 PEBBLE LANE                                                                             GREENWOOD        IN    46142
BILLIE J EASTWOOD                                 3214 MEADOW POINTE DR                                                                        O FALLON         MO    63366‐2341
BILLIE J FOSTER                                   PO BOX 211                                                                                   PLEASANT GROVE   AR    72567‐0211
BILLIE J HUBBARD SR                               242 S 26TH ST DR                                                                             TERRE HAUTE      IN    47803‐1534
BILLIE J JANES                                    1859 W HENDERSON RD                                                                          HENDERSON        MI    48841‐9769
BILLIE J KEATHLEY                                 4230 COLUMBIA PIKE                                                                           FRANKLIN         TN    37064‐9680
BILLIE J LAWRENCE                                 7179 BRITTWOOD LANE                                                                          FLINT            MI    48507‐4621
BILLIE J MCINTOSH                                 6820 ORANGE LANE                                                                             FLINT            MI    48505‐1943
BILLIE J MILLER                                   1650 E GIER ROAD                                                                             ADRIAN           MI    49221‐9666
BILLIE J MILLHOUSE                                3768 GROVE CIRCLE                                                                            ZELLWOOD         FL    32798‐9780
BILLIE J MOUNTS                                   9516 KAIER                                                                                   DETROIT          MI    48209‐2566
BILLIE J PIPER                                    APT 906                             2616 COVE CAY DR                                         CLEARWATER       FL    33760‐1319
BILLIE J ROACH                                    1334 PORTER DR                                                                               CHARLOTTE        MI    48813‐3106
BILLIE J RODGERS & THOMAS A RODGERS JT TEN        822 SENECA DRIVE                                                                             BELPRE           OH    45714‐1141
BILLIE J SEWARD                                   6838 JACKSON                                                                                 ANDERSON         IN    46013‐3723
BILLIE J SIMMONS                                  5710 S I‐45                                                                                  WILMER           TX    75172‐3314
BILLIE J SPORIN                                   PO BOX 483                                                                                   HOPEWELL JCT     NY    12533‐0483
BILLIE J WEATHERFORD                              38 W MAIN ST                                                                                 BROWNSBURG       IN    46112‐1242
BILLIE J WEATHERFORD & RAYMOND E WEATHERFORD      38 W MAIN STREET                                                                             BROWNSBURG       IN    46112‐1242
JT TEN
BILLIE J WILCOX & LARRY R WILCOX JT TEN           325 SINGLETREE                                                                               HIGHLAND VILLAGE TX    75077‐6953

BILLIE JACKSON GABOUR                             8645 FREDERICKSBURG RD              APT 420                                                  SAN ANTONIO      TX    78240
BILLIE JEAN KIRBY                                 6731 W 15TH ST                                                                               INDIANAPOLIS     IN    46214‐3341
BILLIE JEAN ROWLAND CUST ELIZABETH ANNE           ATTN ELIZABETH ROWLAND MADON        215 KENTUCKY AVE                                         PINEVILLE        KY    40977
ROWLAND UTMA KY
BILLIE JEAN SNYDER                                222 PATTERSON ST                                                                             OGDENSBURG       NY    13669‐1738
BILLIE JEAN TURNER                                PO BOX 528                                                                                   MOUNT MORRIS     MI    48458‐0528
BILLIE JO WOODS                                   31 W DAWN DR                                                                                 TEMPE            AZ    85284‐3038
BILLIE K HANSON                                   1125 HILLSIDE DR                                                                             FORISTELL        MO    63348‐2405
BILLIE KEITH YARBERRY                             3907 ST RD 232                                                                               ANDERSON         IN    46017‐1856
BILLIE L BOND & SHEILA A BOND & STEVE W BOND JT   9 VALLEY COURT                                                                               LITTLE ROCK      AR    72204‐8358
TEN
BILLIE L GIBSON & ANNA M GIBSON JT TEN            7440 WASHBURN ROAD                                                                           GOODRICH         MI    48438‐9749
BILLIE L MOORE                                    2020 JENNER LN                                                                               ST LOUIS         MO    63138‐1210
BILLIE L OXLEY                                    RR 3 BOX 665                                                                                 WOODVILLE        TX    75979‐9613
BILLIE L STEVENSON & DONNA C STEVENSON JT TEN     435 E DEODAR                                                                                 ONTARIO          CA    91764‐1742

BILLIE L USREY                                    104 E SOUTH ST                                                                               NIXA             MO    65714‐8850
BILLIE LEWIS MD                                   1618 KENSINGTON                                                                              FLINT            MI    48503‐2775
BILLIE LOUISE FRYMAN                              1850 BOYERS CHAPEL ROAD                                                                      SADIEVILLE       KY    40370‐9604
BILLIE M BLOYD                                    600 TOMLINSON AVE                                                                            MOUNDSVILLE      WV    26041‐2120
BILLIE M FULTON                                   2904 PIN OAK                        CHARLESTON COMMONS                                       ANDERSON         IN    46012‐4695
BILLIE M LEAPER                                   2780 MOROCCO ROAD                                                                            IDA              MI    48140‐9533
BILLIE M THRALL                                   6285 SANILAC                                                                                 KINGSTON         MI    48741‐9743
BILLIE M WEST & JUANITA M HURST JT TEN            2525 MAIN ST APT 413                                                                         KANSAS CITY      MO    64108‐2630
BILLIE N ROSE                                     NO 4                                THE OAKS DRIVE                                           ASHLAND          KY    41101‐3662
                                                09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                             Part 1 of 8 Pg 442 of 850
Name                                                 Address1                                 Address2             Address3          Address4          City                State Zip

BILLIE NEAL WHITTAKER & KAY EVELYN WHITTAKER JT      10315 HIGHWAY 95                                                                                  PAYETTE             ID    83661
TEN
BILLIE PARKER JR                                     13219 GRAND RIVER AVE                                                                             DETROIT             MI    48227‐3507
BILLIE Q CAPLES                                      4641 FOREST                                                                                       WATERFORD           MI    48328‐1117
BILLIE R ALLEN                                       9006 CHALKSTONE ST                                                                                ARLINGTON           TX    76002
BILLIE R MORRIS                                      2504 FAIRWAY DR                                                                                   BEL AIR             MD    21015‐6328
BILLIE R SHERMAN                                     3237 CARTER                                                                                       SAGINAW             MI    48601‐4053
BILLIE RAE ABNEY                                     905 WAGON WHEEL DR                                                                                DAYTON              OH    45431‐2742
BILLIE RUTH LOWE                                     606 E JAMIESON ST                                                                                 FLINT               MI    48505‐4286
BILLIE S FAUNCE                                      527 DUTCH HILL DR                                                                                 LANSING             MI    48917‐3456
BILLIE S FERGUSON                                    4120 HISEVILLE CENTER ROAD                                                                        HORSE CAVE          KY    42749‐8600
BILLIE S MITCHELL                                    1851 W 400 S                                                                                      ANDERSON            IN    46013‐9406
BILLIE SANDERS & PHILLIP SANDERS & SCOTT SANDERS     15704 FAULKNER LAKE N                                                                             LITTLE ROCK         AR    72117‐9473
JT TEN
BILLIE SCOTT ECONOMY                                 8749 WHITE IBIS CT                                                                                ORLANDO             FL    32836‐5488
BILLIE SUE HUNTER TR ROBERT JERRY HUNTER MARITAL     217 MIDDLESBORO RD                                                                                LAFOLLETTE          TN    37766‐4861
TRUST UA 06/07/00
BILLIE SUE JOHNSON                                   2499 N 4TH ST #2                                                                                  COLUMBUS            OH    43202‐2744
BILLIE T BINGHAM                                     1880 BINGHAMS COVE                                                                                TIPTON              MI    49287‐9720
BILLIE TRAME CUST REBECCA ANN TRAME UTMA OH          945 HIDDEN RIDGE                                                                                  MILFORD             OH    45150‐5588

BILLIE V SCRUGGS                                     3534 BERKLEY HILL DRIVE                                                                           BATON ROUGE         LA    70809‐2469
BILLIE V STRAND CUST JEFFREY OSCAR STRAND UGMA       1699 N ORCHARD RD NE                                                                              BOLIVAR             OH    44612‐8603
NE
BILLIE W MOYERS & MARY E MOYERS TR MOYERS            120 RAINBOW DR 2052                                                                               LIVINGSTON          TX    77399
FAMILY TRUST UA 09/29/04
BILLIE W PORTER                                      13143 HIGHWAY 8W                                                                                  AMITY               AR    71921‐9579
BILLIE W RICHMOND                                    13901 ARCTURUS AVE                                                                                GARDENA             CA    90249‐2804
BILLIE W THRASHER                                    31814 GABLE                                                                                       LIVONIA             MI    48152‐1556
BILLIE W WILLIAMS                                    3470 EAST TOWNLINE                                                                                BIRCH RUN           MI    48415‐9075
BILLIE W WISNER                                      4413 PITT ST                                                                                      ANDERSON            IN    46013‐2445
BILLIE Z ENG TR BILLIE Z ENG REV TRUST UA 06/11/97   2905 W CANTON ST                                                                                  BROKEN ARROW        OK    74012‐0824

BILLY A GARRETT & GLORIA E GARRETT JT TEN            3747 PEACHTREE RD NE                     602                                                      ATLANTA             GA    30319
BILLY A MC LEMORE                                    2237 E PUEBLO AVE                                                                                 PHOENIX             AZ    85040‐1427
BILLY A RENT                                         5656 NORTH ILLINOIS STREET                                                                        INDIANAPOLIS        IN    46208‐1546
BILLY A SHEETS                                       520 E 21ST STREET                                                                                 ANDERSON            IN    46016‐4414
BILLY A THOMAS                                       1823 JENNYS RD                                                                                    FAIRFAX             SC    29827‐7931
BILLY B & SHIRLEY CONNER TR CORNER LIVING TRUST      37 GLAPSIE ST                                                                                     OXFORD              MI    48371
UA 07/02/99
BILLY B BRANNON                                      W7890 FIRE TOWER RD                                                                               BLACK RIVER FALLS   WI    54615‐5866

BILLY B BROCK                                        2704 S WALNUT STREET                                                                              MUNCIE              IN    47302‐5064
BILLY B BROWN JR                                     8254 LUCAYA CT                                                                                    JACKSONVILLE        FL    32221‐6677
BILLY B BUTLER                                       3401 QUEEN RIDGE DR                                                                               INDEPENDENCE        MO    64055‐3006
BILLY B CONNER                                       37 GLASPIE                                                                                        OXFORD              MI    48371
BILLY B HARRINGTON                                   49 HARRINGTON TRL                                                                                 MAYNARD             AR    72444‐9731
BILLY B MAYNARD                                      3701 KEY WEST CT                                                                                  FORT WORTH          TX    76133‐7107
BILLY B MULLINS                                      RT 3 BOX 391                                                                                      CLINTWOOD           VA    24228‐9529
BILLY B RECTOR                                       161 MC GEE LANE                                                                                   COOKEVILLE          TN    38501‐9577
BILLY B SNORGRASS                                    21431 BROOKLIN BRIDGE DRIVE                                                                       MACOMB TOWN         MI    48044‐6402
                                                                                                                                                       SHIP
BILLY B SOUTHERLAND                                  5504 PEDEN POINT RD                                                                               WILMINGTON          NC    28409‐4308
BILLY B SOUTHERLAND & WANDA F SOUTHERLAND JT         5504 PEDEN POINT RD                                                                               WILMINGTON          NC    28409‐4308
TEN
BILLY B STCLAIR                                      43655 SR 162                                                                                      SPENCER             OH    44275
BILLY BENDER                                         402 ELLINGTON DR                                                                                  FRANKLIN            TN    37064‐5010
BILLY BENTLEY                                        1141 CHILDS ST                                                                                    DAYTON              OH    45427‐3401
BILLY BONNER                                         1215 8TH STREET S W                                                                               DECATUR             AL    35601‐3743
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 443 of 850
Name                                               Address1                            Address2             Address3          Address4          City             State Zip

BILLY BRIAN BROCK & MICKIE ANN BROCK JT TEN        2704 S WALNUT STREET                SUITE B                                                  MUNCIE           IN    47302‐5064
BILLY BRITTON                                      630 MERIETTA ST                                                                              PULASKI          TN    38478‐2514
BILLY BRUMFIELD                                    RT 1 BOX 234                                                                                 HARTS            WV    25524‐9727
BILLY C BURD & DOROTHY L BURD JT TEN               819 CHIGGER VALLEY RD                                                                        MAGAZINE         AR    72943‐8551
BILLY C DAVIS                                      10415 EVELYN DR                                                                              CLIO             MI    48420‐7713
BILLY C FEATHERSTON                                17090 CORAL CAY LN                                                                           FORT MYERS       FL    33908‐5073
BILLY C GOODMAN                                    8191 NEW BOWLING GREEN RD                                                                    SMITHS GROVE     KY    42171‐8947
BILLY C GRAY                                       200 CHURCH FARM ROAD                                                                         PELL CITY        AL    35125‐4146
BILLY C GREENE                                     4254 ARROWWOOD                                                                               FT WORTH         TX    76115‐1800
BILLY C JOHNSON                                    ROUTE 1 BOX 210                                                                              EASTLAND         TX    76448‐9801
BILLY C LITTLE                                     4602 GREY OAK DRIVE                                                                          GAINESVILLE      GA    30507‐8856
BILLY C LYONS                                      2308 W OAKDALE DR                                                                            IRVING           TX    75060‐6513
BILLY C MOORE                                      25 EASTLAKE DRIVE                                                                            SANDSTON         VA    23150‐1611
BILLY C ONEAL                                      4500 47TH COURT EAST                                                                         TUSCALOOSA       AL    35405‐4774
BILLY C PETERS                                     119 FOUR OAKS DR                                                                             GRIFFIN          GA    30224‐7418
BILLY C WILLIAMS                                   1330 SOUTH HILLCREST                                                                         LAKE             MI    48632‐9021
BILLY CHARLES PERRY                                5688 MARTIN RD                                                                               NEWBURGH         IN    47630
BILLY CHOI & NANCY CHOI JT TEN                     5024 CLARK DR                                                                                ROELAND PARK     KS    66205‐1316
BILLY COX                                          403 OTTMAN ST                                                                                RICHMOND         MO    64085‐2714
BILLY CRAWFORD                                     1231 RENEE DR                                                                                DECATUR          GA    30035‐1057
BILLY D ALLEN                                      480 GRANADA DRIVE                                                                            PONTIAC          MI    48053
BILLY D ANDERSON                                   130 SPORTSMAN LN                                                                             ANDERSONVILLE    TN    37705‐2934
BILLY D ARNOLD                                     20915 W STATE HWY 47                                                                         LONEDELL         MO    63060‐9501
BILLY D BABB                                       PO BOX 88                                                                                    FORT BLACKMORE   VA    24250‐0088

BILLY D BANKS                                      887 WITTENBURG DR                   #A                                                       FAIRFIELD        OH    45014‐2957
BILLY D BATEMAN                                    3467 ATLAS RD                                                                                DAVISON          MI    48423‐8706
BILLY D BENNETT                                    1460 TOWNSHIP RD 136                                                                         MCCOMB           OH    45858‐9422
BILLY D CARUTHERS                                  3941 SCREECH OWL LN                                                                          N LAS VEGAS      NV    89084‐2494
BILLY D COLLINS JR                                 5168 E WILSON RD                                                                             CLIO             MI    48420‐9712
BILLY D DENNIS                                     201 FOREST AVE                                                                               WEST MILTON      OH    45383
BILLY D DRAUGHAN                                   6004 TRUETT ST                                                                               FOREST HILL      TX    76119‐6759
BILLY D ENOCHS                                     1430 BROAD VALLEY CT                                                                         BURLESON         TX    76028‐6504
BILLY D GAGE                                       8200 STAGHORN TRL                                                                            CLARKSTON        MI    48348‐4571
BILLY D GRAY                                       RR 03 BOX 122C                                                                               PRAGUE           OK    74864‐9626
BILLY D GRAY                                       309 E WASHINGTON ST                                                                          MARTINSVILLE     IN    46151‐1556
BILLY D HARRIS                                     1910 LOCH LOMOND TR                                                                          ATLANTA          GA    30331‐7436
BILLY D HURLESS                                    8418 W DELTON RD                                                                             DELTON           MI    49046‐9708
BILLY D MCCRICKARD                                 1602 SEALS RD                                                                                DALLAS           GA    30157‐6755
BILLY D MCKEEHAN                                   322 TURNER SUBDIVISION RD                                                                    CORBIN           KY    40701‐9586
BILLY D MURRAY JR                                  6511 GRADEN RD                                                                               PARKVILLE        MO    64152‐2639
BILLY D POWERS                                     3273 W 76TH LN                                                                               MERRILLVILLE     IN    46410‐4413
BILLY D ROE                                        3243 WABASH COURT                                                                            FORT WORTH       TX    76109‐2247
BILLY D ROE & HELEN W ROE JT TEN                   3243 WABASH AVE                                                                              FORT WORTH       TX    76109‐2247
BILLY D RUST                                       153 DEERPOINT DR                                                                             UNIONVILLE       TN    37180
BILLY D SCOTT                                      RT 1                                                                                         FORESTBURG       TX    76239‐9801
BILLY D SCOTT                                      58 LOUELM AVE                                                                                DAYTON           OH    45459‐1849
BILLY D SHAW                                       157 C HWY 79                        E                                                        BEAR CREEK       AL    35543‐9778
BILLY D SHOEMAKE & MARIE SHOEMAKE JT TEN           BOX 785                                                                                      COLLINS          MS    39428
BILLY D STAHL                                      5510 BENTGREEN                                                                               DALLAS           TX    75248‐2014
BILLY D THOMAS                                     884 KENDALE ROAD SOUTH                                                                       COLUMBUS         OH    43220‐4146
BILLY D TRUE                                       3188 S MERIDIAN RD                                                                           GREENFIELD       IN    46140‐9250
BILLY D VADEN                                      208 PEANUT RIDGE RD                                                                          MCRAE            AR    72102‐9609
BILLY D WARD                                       3421 KNOLLWOOD CT                                                                            BUFORD           GA    30519‐4070
BILLY D WELLS & MRS PATRICIA GAIL ANDERSON WELLS   5128 MELBOURNE RD                                                                            RALEIGH          NC    27606‐1748
JTTEN
BILLY D WHITE                                      678 GALE RD                                                                                  EATON RAPIDS     MI    48827‐9103
BILLY D WILLIAMS                                   7930 PATHWAY LOOP                                                                            SHREVEPORT       LA    71107
BILLY D WILSON                                     16206 MORGANTON HWY                                                                          MORGANTON        GA    30560‐4140
                                              09-50026-mg           Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 444 of 850
Name                                            Address1                           Address2               Address3        Address4          City            State Zip

BILLY DEAN COX                                  9464 UPPER LEWISBURG SALEM                                                                  BROOKVILLE      OH    45309‐9266
BILLY DEE MYERS                                 3889 E 100 N                                                                                KOKOMO          IN    46901‐3677
BILLY DELANO WHARTON                            4685 REED RD                                                                                DURAND          MI    48429‐9713
BILLY DON COLEGROVE                             530 RAINY RIVER                                                                             HOUSTON         TX    77037‐2017
BILLY E ALLEN                                   6937 TALKEETNA CT SW                                                                        ATLANTA         GA    30331
BILLY E ANDERSON                                5896 WN DR                                                                                  FRANKTON        IN    46044
BILLY E BARNES & BETTY G BREESE JT TEN          11329 CRESSON ST                                                                            NORWALK         CA    90650‐7629
BILLY E BASS                                    4375 SCOUT HILL DRIVE                                                                       LOGANVILLE      GA    30052‐4421
BILLY E BOWLING                                 3221 BRYAN RD                                                                               KODAK           TN    37764‐1522
BILLY E BOWLING JR                              3229 E COOK RD                                                                              GRAND BLANC     MI    48439‐8375
BILLY E BRINSON                                 419 GROVE HILL DRIVE                                                                        STOCKBRIDGE     GA    30281‐3056
BILLY E BURKE                                   P O P O BOX 482                                                                             FENTON          MI    48430
BILLY E BUTLER                                  101 HALL PLACE                                                                              FAYETTEVILLE    GA    30215‐5953
BILLY E COMBS                                   1374 WOODNOLL DRIVE                                                                         FLINT           MI    48507‐4718
BILLY E FESSLER                                 201 W MARKET ST                                                                             WEST MILTON     OH    45383‐1522
BILLY E HALLIDAY & LINDA K HALLIDAY JT TEN      2951 CLAYBURN ROAD                                                                          SAGINAW         MI    48603‐3191
BILLY E HARRIS                                  8708 HOMES CREEK RD                                                                         SMITHVILLE      TN    37166
BILLY E HILEMAN                                 304 MEADOW COURT                                                                            FAIRFEILD       OH    45014‐8124
BILLY E HONAKER                                 17320 BROADWING LN                                                                          OKEECHOBEE      FL    34974‐8561
BILLY E KILLEN                                  1720 NEW VAUGHN RD                                                                          COLUMBIA        TN    38401‐8194
BILLY E LANSFORD                                6363 BIRCH RUN RD                                                                           MILLINGTON      MI    48746‐9726
BILLY E MASON                                   718 S LOVELL AVE                                                                            CHATTANOOGA     TN    37412‐2942
BILLY E MCKINNEY                                30170 BALMORAL                                                                              GARDEN CITY     MI    48135‐2061
BILLY E MERRITT                                 21231 RD 128                                                                                OAKWOOD         OH    45873‐9318
BILLY E MOORE                                   9476 CALKINS RD                                                                             FLINT           MI    48532‐5525
BILLY E NICHOLS & DOLOROUS L NICHOLS JT TEN     1225 33RD ST                                                                                WICHITA FALLS   TX    76302‐1739
BILLY E PRICE                                   165 UPPER HILLSIDE DR                                                                       BELLBROOK       OH    45305‐2124
BILLY E SAMPLE                                  RTE 2 BOX 361                                                                               HONAKER         VA    24260‐9636
BILLY E SEXTON                                  281 FARM RD 1133                                                                            AQUILLA         TX    76622
BILLY E SIMPSON                                 7850 CHARRINGTON DRIVE                                                                      CANTON          MI    48187‐1814
BILLY E SMITH                                   C/O MRS ALICE SMITH                1813 PLEASANTDALE DR                                     ENCINITAS       CA    92024‐4249
BILLY E STOUT & WINONA M STOUT JT TEN           5911 N CLOUD NICE DR                                                                        GARDEN CITY     ID    83714‐1711
BILLY E TYRIA                                   23483 60TH AVE R#2                                                                          MATTAWAN        MI    49071‐9527
BILLY E WENDT                                   2494 HENDERSON RD                                                                           DAVISON         MI    48423
BILLY E WILLIAMS                                416 E BRADFORD ST                                                                           MARION          IN    46952‐2835
BILLY EARL WATERHOUSE                           1613 HOPEWELL AVE                                                                           DAYTON          OH    45418‐2242
BILLY F BRAGDON                                 21645 W DIVISION STREET                                                                     LOCKPORT        IL    60441‐9519
BILLY F DUNN                                    221 WONEWOK DR                                                                              CANTON          GA    30114‐3576
BILLY F GAY                                     1430 OWEN ST                                                                                LANSING         MI    48915‐1533
BILLY F HILL                                    101 GRAHAM RD                                                                               JASPER          TN    37347‐5402
BILLY F MORGAN                                  1508 GRAND AVE                                                                              NEW CASTLE      IN    47362‐3222
BILLY F NEAL                                    10500 E STATE ROAD 28‐67                                                                    ALBANY          IN    47320‐9137
BILLY F OSBORNE                                 1280 THREE SPRINGS RD                                                                       RUSSELLVILLE    TN    37860‐8713
BILLY F OWSLEY                                  2918 WYLIE DRIVE                                                                            FAIRBORN        OH    45324‐2240
BILLY F RICHMOND                                HC                                 ROUTE 1                BOX 68‐A                          GRANDIN         MO    63943
BILLY G BAKER                                   451 WOODSIDE DR                                                                             SOMERSET        KY    42503‐4985
BILLY G BOLDEN                                  1834 S LINVILLE                                                                             WESTLAND        MI    48186‐4215
BILLY G BRANHAM                                 6201 S BELL LN                                                                              YORKTOWN        IN    47396‐9638
BILLY G CHURCH                                  1445 POLE BRIDGE ROAD                                                                       MIDDLETOWN      DE    19709‐2167
BILLY G DAVIS & MARGARET E DAVIS JT TEN         2895 KNOB HILL DR SE                                                                        ATLANTA         GA    30339
BILLY G ELLIOTT                                 2826 ROBERT ALLEN ROAD                                                                      LANCASTER       SC    29720‐8064
BILLY G FERRELL                                 6530 N ANITA AVE                                                                            KANSAS CITY     MO    64151‐1989
BILLY G FIRSDON                                 9038 AQUA VISTA DR                                                                          INVERNESS       FL    34450
BILLY G FULTZ                                   1442 SUNSET BLVD                                                                            MONROE          MI    48161‐4377
BILLY G GRADDY                                  5775 WILLOW HWY                                                                             GRAND LEDGE     MI    48837‐8971
BILLY G HANEY                                   824 PIN OAK LN                                                                              ARLINGTON       TX    76012‐2926
BILLY G HAYNES                                  51 MICHIGAN AVE                                                                             PONTIAC         MI    48342‐2736
BILLY G HODGES                                  212 HEMLOCK AVE                    PO BOX 7272                                              ROMEOVILLE      IL    60446‐7172
BILLY G HUNTER                                  1641 STRATHCONA DR                                                                          DETROIT         MI    48203‐1467
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 445 of 850
Name                                                Address1                              Address2             Address3          Address4          City              State Zip

BILLY G HUNTER & JOHNNIE L HUNTER JT TEN            1641 STRATHCONA DR                                                                             DETROIT           MI    48203‐1467
BILLY G ISON                                        4109 STATE RD 252                                                                              BROOKVILLE        IN    47012‐9455
BILLY G JOHNSON                                     4468 WEST PLEASANT ACRES DRIVE                                                                 DECATUR           AL    35603‐5728
BILLY G JONES & JOYCE R JONES JT TEN                PO BOX 183                                                                                     CHARLESTON        TN    37310‐0183
BILLY G LEONARD JR & TONI L BAGGETT JT TEN          2106 AUGUSTA                                                                                   MCKINNEY          TX    75070‐4300
BILLY G MABE                                        118 DRAWBRIDGE PL                                                                              FAIRFIELD BAY     AR    72088‐4124
BILLY G PATRICK                                     BOX 204                                                                                        BUFORD            GA    30515‐0204
BILLY G PLYMALE                                     4609 WATERFRONT FARMS DR                                                                       DRAPER            VA    24324‐2733
BILLY G RIDGE                                       6858 S 50 W                                                                                    PENDLETON         IN    46064‐9155
BILLY G SANDERS                                     RT 4 BOX 116                                                                                   BIRCH TREE        MO    65438
BILLY G SHANK                                       315 EUCLID AVE                                                                                 PERU              IN    46970‐1424
BILLY G SKAGGS                                      3509 NORTH PARK                                                                                KANSAS CITY       MO    64116‐2868
BILLY G STANFILL                                    14855 LYONS                                                                                    LIVONIA           MI    48154‐3917
BILLY G STEGALL                                     3 P O BOX 523                                                                                  ARAGON            GA    30104‐0523
BILLY G TAYLOR & IVA I TAYLOR TR TAYLOR REV TRUST   1220 E 47TH ST                                                                                 ANDERSON          IN    46013‐2702
UA 03/18/02
BILLY G TURNER & JIMMIE L TURNER JT TEN             1260 ZEB HAYNES RD                                                                             MAIDEN            NC    28650‐9327
BILLY G WILLIAMS                                    9126 W HGWY 252                                                                                HACKETT           AR    72937‐5346
BILLY GENE ISENHOWER                                414 WINTERBROOK                                                                                OLATHE            KS    66062‐1805
BILLY GENE PRINGLE                                  6606 HILLCROFT DR                                                                              FLINT             MI    48505‐2476
BILLY H BROWN                                       8504 NARISE                                                                                    WESTLAND          MI    48185‐1333
BILLY H CREACH                                      3860 STATE RD W                                                                                MACKS CREEK       MO    65786‐9620
BILLY H EASTER                                      1153 W SALINE BURNETT STREET                                                                   CENTERPOINT       IN    47840‐8216
BILLY H FAUDREE TR UA 11/21/2005 BILLY H FAUDREE    122 WELCOME WAY BLVD W                APT 206B                                                 INDIANAPOLIS      IN    46214‐3061
LIVING TRUST
BILLY H HATFIELD                                    6645 SHAKER RD                                                                                 FRANKLIN          OH    45005‐2648
BILLY H HICKMAN                                     37 TEEL DR                                                                                     ASHLAND           AL    36251‐6604
BILLY H JONES TR BILLY H JONES REVOCABLE LIVING     1940 W SPRING CREEK PKWY              #242                                                     PLANO             TX    75023‐4270
TRUST UA 11/01/82
BILLY H MAUGHAN                                     103 WEST ST                           PO BOX 213                                               VALLEY VIEW       TX    76272‐0213
BILLY H MCCLUSKEY                                   1215 SOUTH JACKSON                                                                             TULSA             OK    74127‐9126
BILLY H NICHOLS                                     PO BOX 461                                                                                     ZEBULON           GA    30295‐0461
BILLY H PARKS                                       2622 N BOGAN RD                                                                                BUFORD            GA    30519‐3951
BILLY HERBERT ARNOLD                                4711 CAMBRIDGE DRIVE                                                                           TYLER             TX    75703‐1506
BILLY J ALLEN                                       PO BOX 941                                                                                     CALVERT CITY      KY    42029‐0941
BILLY J ANDERSON                                    4423 STORIE RD                                                                                 ARLINGTON         TX    76001‐2922
BILLY J ARNEY                                       11924 SALEM DR                                                                                 GRANADA HILLS     CA    91344‐2347
BILLY J ARNOLD & LYNNE S COLLINS JT TEN             316 ENFIELD ROAD                                                                               CENTERVILLE       OH    45459‐1728
BILLY J ARNOLD & MRS MARGARET L ARNOLD JT TEN       316 ENFIELD ROAD                                                                               CENTERVILLE       OH    45459‐1728

BILLY J BARROW                                      259 DITTO LN                                                                                   ROGERSVILLE       AL    35652‐3647
BILLY J BEAVERS                                     131 E JOLLY RD UNIT E‐1                                                                        LANSING           MI    48910‐6687
BILLY J BEAVERS                                     20486 MARLOWE ST                                                                               DETROIT           MI    48235‐1645
BILLY J BOWLING JR                                  1163 54TH AVE SOUTH                                                                            ST PETERSBURG     FL    33705‐5005
BILLY J BROADWAY                                    19895 SHADY ACRES CI                                                                           ATHENS            AL    35614‐6931
BILLY J BRUMLEY                                     13357 SHERIDAN                                                                                 MONTROSE          MI    48457‐9351
BILLY J CAPERTON                                    8698 CALIFORNIA BRANCH RD                                                                      WEST POINT        TN    38486‐5612
BILLY J CAPERTON & FRANCES R CAPERTON JT TEN        8698 CALIFORNIA BRANCH ROAD                                                                    WESTPOINT         TN    38486‐5612
BILLY J CARPENTER                                   BOX 12                                                                                         LEESBURG          TX    75451‐0012
BILLY J CLACK                                       1285 HARBINS ROAD                                                                              DACULA            GA    30019‐1926
BILLY J CLARK                                       PO BOX 554                                                                                     NEW CASTLE        DE    19720‐0554
BILLY J COOK                                        1672 DANCER DR                                                                                 ROCHESTER HILLS   MI    48307‐3311
BILLY J CORNELIUS                                   1308 W SCOTT PLACE                                                                             INDEPENDENCE      MO    64052‐3137
BILLY J COX                                         4851 MONTEREY MAPLE GR                                                                         BATAVIA           OH    45103‐9418
BILLY J CRAVEN & PORTIA E CRAVEN JT TEN             6980 SE 88TH ST                                                                                OCALA             FL    34472‐3495
BILLY J CREEL                                       8522 S 600 W                                                                                   PENDLETON         IN    46064‐9769
BILLY J CURRY                                       4585 EMMETT ROAD                                                                               EMMETT            MI    48022‐2700
BILLY J DENNIS                                      9324 SARATOGA RD                                                                               FORT WAYNE        IN    46804‐7030
BILLY J DOOLEY & MRS ANN C DOOLEY JT TEN            13350 HWY 84                                                                                   SILAS             AL    36919‐6303
                                         09-50026-mg          Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                            Part 1 of 8 Pg 446 of 850
Name                                       Address1                          Address2             Address3          Address4          City             State Zip

BILLY J DUNCAN                             1412 BALSAM DR                                                                             DAYTON           OH    45432‐3232
BILLY J EARLY                              5960 N COUNTY ROAD 800 E                                                                   TWELVE MILE      IN    46988‐9449
BILLY J ECHART                             2712 JUBILEE TRL                                                                           ARLINGTON        TX    76014‐1537
BILLY J FIFIELD                            5575 PLAINS RD                                                                             EATON RAPIDS     MI    48827‐9614
BILLY J FLETCHER                           10915 GOODALL RD #16                                                                       DURAND           MI    48429‐9775
BILLY J FORD                               4045 KRAPF RD                                                                              CASS CITY        MI    48726‐9373
BILLY J FORD                               8274 KNODELL STREET                                                                        DETROIT          MI    48213‐1060
BILLY J FOX & MRS SUZANNE C FOX JT TEN     8721 HEATHWOOD BND                                                                         KNOXVILLE        TN    37923‐5710
BILLY J FULFORD                            PO BOX 1011                                                                                MARTINSVILLE     IN    46151‐0011
BILLY J FULMER                             5524 SCOTT DRIVE                                                                           FORT WORTH       TX    76180‐6732
BILLY J GARRETT                            442 DONINGTON DR                                                                           W CARROLLTON     OH    45449‐2125
BILLY J GORE                               1640 HIGHWAY KK                                                                            FREDERICK TOWN   MO    63645‐8138
BILLY J HALLOWELL                          508 E DUDLEY ST                                                                            MAUMEE           OH    43537‐3412
BILLY J HART                               2614 PUNCHEON BRANCH ROAD                                                                  MINOR HILL       TN    38473‐5471
BILLY J HAYES                              4500 CAIN COURT                                                                            FORT WORTH       TX    76103‐2730
BILLY J HENDERSON                          BOX 10958 ASU                                                                              SAN ANGELO       TX    76909‐0001
BILLY J HENSON                             801 DAVIS                                                                                  POPLAR BLUFF     MO    63901
BILLY J HIGHT                              HCR 81 BOX 328                                                                             LONDON           TX    76854‐9606
BILLY J HOLLOWAY                           5435 OLE BANNER TRAIL                                                                      GRAND BLANC      MI    48439‐7641
BILLY J HOPKINS                            848 DAGGETT P O BOX 624                                                                    NAPOLEON         OH    43545‐0624
BILLY J HOWARD                             4956 BRADSHAW ST                                                                           SHAWNEE          KS    66216‐1429
BILLY J JOHNSON                            3660 SANDBURG DR                                                                           YOUNGSTOWN       OH    44511‐1116
BILLY J LASH                               6140 HAROLD ST                                                                             TAYLOR           MI    48180‐1175
BILLY J LEE                                509 E ADAMS ST                                                                             KOSCIUSKO        MS    39090‐3707
BILLY J LUSK & MRS BETTY J LUSK JT TEN     6808 GREENLEE                                                                              FORT WORTH       TX    76112‐5634
BILLY J MANN                               48 S MAIN ST                                                                               GERMANTOWN       OH    45327‐1328
BILLY J MATTHEWS                           600 W 4TH ST                                                                               PALMYRA          NJ    08065‐2448
BILLY J MCCLUSKEY                          6613 N WEBSTER ROAD                                                                        FLINT            MI    48505‐2461
BILLY J MCCONNAUGHHAY                      G 3324 W HOBSON                                                                            FLINT            MI    48504
BILLY J MCCORMICK                          1247 SUTTON AVE                                                                            CINCINNATI       OH    45230‐2745
BILLY J MOORE                              12309 N DOUGLAS BLVD                                                                       JONES            OK    73049‐3439
BILLY J NEWBERRY                           709 ETHRIDGE RD                                                                            HADDOCK          GA    31033‐2201
BILLY J NOLEN                              3550 DILL DR                                                                               WATERFORD        MI    48329‐2128
BILLY J OLDHAM                             3093 SHAW ST                                                                               BURTON           MI    48529‐1028
BILLY J OWENS                              77 WILLOWBROOK STREET                                                                      DECATUR          AL    35603‐6204
BILLY J PAYNE                              15 KIRKWOOD COURT                                                                          PALO ALTO        CA    94303‐1139
BILLY J PERRY                              3204 MILTON RD                                                                             MIDDLETOWN       OH    45042‐3658
BILLY J POOLE & PATSY J POOLE JT TEN       337 CATHERINE ST                                                                           BEL AIR          MD    21014‐3666
BILLY J ROBINSON                           1503 MEYER BLVD                                                                            BLUR SPRINGS     MO    64015‐6799
BILLY J SCOTT                              1428 AUTUMN LEAVES TR                                                                      DALLAS           TX    75241‐1213
BILLY J SIMPSON                            24642 SPRINGDALE RD                                                                        MC LOUTH         KS    66054‐3144
BILLY J SINGLETON                          15060 HIAWATHA DR                                                                          BYRON            MI    48418‐9073
BILLY J SLOVER                             6154 DARLENE CIRCLE                                                                        CONCORD          OH    44077‐2401
BILLY J SMITH                              11503 ROBSON RD                                                                            GRAFTON          OH    44044‐9154
BILLY J SNOW                               937 ODA ST                                                                                 DAVISON          MI    48423‐1025
BILLY J SYKES                              13 N SKYWARD DR                                                                            NEWARK           DE    19713‐2840
BILLY J TINKER                             5037 KELLY RD                                                                              FLINT            MI    48504‐1011
BILLY J TOWNSEND                           10652 OLD ABBOTT PL                                                                        WOODSTOCK        AL    35188‐9639
BILLY J TULEY                              657 E HORNETOWN RD                                                                         MORGANTOWN       IN    46160‐8649
BILLY J WARD                               3801 LANCASTER DRIVE                                                                       MUNCIE           IN    47304‐1720
BILLY J WESTMORELAND                       4512 ROBERTA CIRCLE                                                                        GAINESVILLE      GA    30506‐2660
BILLY J WHITLEY                            HC 74 BOX 303‐E                                                                            MOUNTAIN VIEW    AR    72560‐9235
BILLY J WILSON & JOHN S WILSON JT TEN      10204 W 98TH ST                                                                            OVERLAND PARK    KS    66212‐5240
BILLY J WRIGHT                             322 SHORELINE CI                                                                           LA FOLLETTE      TN    37766‐8032
BILLY JACK GEORGE                          1721 PINE LOG RD                                                                           AIKEN            SC    29803‐5724
BILLY JOE DRAKE                            7095 BEAGLE RU                                                                             FAYETTEVILLE     NC    28311‐9349
BILLY JOE HARTSELL                         HWY Z 1952                                                                                 PEVELY           MO    63070‐1317
BILLY JOE POTEETE                          15 TERRY WHITE RD                                                                          AARGON           GA    30104‐2017
BILLY JOE VANZANDT                         PO BOX 489                                                                                 DOVER            AR    72837‐0489
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 447 of 850
Name                                               Address1                             Address2                Address3       Address4          City               State Zip

BILLY JOHNSON                                      3354 STEEP CREEK RD                                                                           COVINGTON          KY    41015‐9328
BILLY K ANDERSON                                   323 E STEED DRIVE                                                                             MIDWEST CITY       OK    73110‐5019
BILLY K CARMACK                                    2885 N DIAMOND MILL ROAD                                                                      DAYTON             OH    45426‐4203
BILLY K DODSON & CYNTHIA A DODSON JT TEN           123 PORTLAND                                                                                  WILLIAMSBURG       VA    23188‐6455
BILLY K HENSON & NANCY A HENSON JT TEN             7511 MS HIGHWAY 12                                                                            ACKERMAN           MS    39735‐8905
BILLY K ROBERTS & JOAN ROBERTS JT TEN              141 TOMPKINS DR                                                                               TROY               MO    63379
BILLY K TODD JR                                    7250 MOHAWK TRAIL                                                                             DAYTON             OH    45459‐3555
BILLY KISSIAH                                      PO BOX 173                                                                                    BARNWELL           SC    29812‐0173
BILLY L APPLE                                      3662 BYRD DR                                                                                  STERLING HEIGHTS   MI    48310‐6109

BILLY L CAMPBELL                                   5844 30TH AVE                                                                                 REMUS              MI    49340‐9731
BILLY L CARPENTER                                  1300 CRESTWOOD                                                                                YPSILANTI          MI    48198‐5919
BILLY L COLLINS                                    1100 BANKS ACADMEY RD                                                                         CARNESVILLE        GA    30521‐2017
BILLY L DURRETT                                    610 E PASADENA                                                                                FLINT              MI    48505‐4275
BILLY L FREY                                       29400 STATE RTE 1                                                                             WEST HARRISON      IN    47060‐8742
BILLY L GARRETT                                    50 GILES ROAD                                                                                 WINDER             GA    30680‐4223
BILLY L GUINN                                      4989 N 150 EAST                                                                               WILKINSON          IN    46186
BILLY L HARRIS                                     1009 MC CORMICK DRIVE                                                                         FENTON             MI    48430‐1569
BILLY L HOWE                                       11289 E ATHERTON RD                                                                           DAVISON            MI    48432‐9201
BILLY L JOHNSON                                    2710 LAPEER RD                                                                                FLINT              MI    48503‐4329
BILLY L JOHNSON                                    8885 ROBSON ST                                                                                DETROIT            MI    48228‐2360
BILLY L LABROSSE                                   3777 LAKE FRONT ST                                                                            WATERFORD          MI    48328‐4333
BILLY L LUCAS                                      1004 N WASHINGTON ST                                                                          GREENFIELD         OH    45123‐9719
BILLY L MARTIN                                     205 E HOBART                                                                                  SIMS               IN    46986‐9642
BILLY L MCANINCH                                   LOT 206                              8499 M 71                                                DURAND             MI    48429‐1005
BILLY L MICHAEL                                    15 BROADWAY ST                                                                                BERKELEY SPRINGS   WV    25411‐1057

BILLY L MIINCH                                     25140 ELMER LADNER RD                                                                         PASS CHRIS         MS    39571‐9693
BILLY L SAMPSON                                    1836 S HEDGES                                                                                 INDEPENDENCE       MO    64052‐2038
BILLY L SAPPENFIELD                                321 S CLINTON STREET                                                                          SUMMITVILLE        IN    46070‐9701
BILLY L SHOOK                                      1305 RODGERS DR                                                                               GRAHAM             TX    76450‐3613
BILLY L SIMONTON                                   2863 SYKLAND DRIVE RT 2                                                                       SNELLVILLE         GA    30078‐3773
BILLY L YOCOM                                      PO BOX 144                                                                                    CASEY              IL    62420‐0144
BILLY LEE & PAULINE LEE JT TEN                     2251 19 MILE RD                                                                               STERLING HEIGHTS   MI    48314‐1714

BILLY LEE HARTLEY                                  TRI‐PAR ESTATES                      4981 PEBBLE BEACH AVE                                    SARASOTA           FL    34234‐2937
BILLY LEE MYERS JR & KELLY PASCHALL MYERS JT TEN   224 YOUNGER RD                                                                                DIANA              TX    75640

BILLY LESLEY                                       322 S PROSPECT                                                                                YPSILANTI          MI    48198‐5615
BILLY M ABBOTT                                     10554 CREEKMERE                                                                               DALLAS             TX    75218‐2341
BILLY M AIKEN                                      8212 DETROIT ST                                                                               MT MORRIS          MI    48458‐1302
BILLY M BAYNES                                     3513 GARNER                                                                                   KANSAS CITY        MO    64124‐1915
BILLY M BONNEY                                     1902 N CARRIER PKWY                                                                           GRAND PRAIRIE      TX    75050‐1801
BILLY M GOENS                                      2191 CONRAD RD                                                                                STANDISH           MI    48658‐9136
BILLY M HONNELL & EMMA JOYCE HONNELL JT TEN        2210 OLD WIRE RD                                                                              CAMDEN             AR    71701‐6051

BILLY M NEEDHAM TR UA 04/14/2009 BILLY M           631 W STATE ROAD                                                                              WEST BRANCH        MI    48661
NEEDHAM TRUST
BILLY M PIERCE                                     2880 STARLIGHT CIR NE.                                                                        PALM BAY           FL    32905‐5630
BILLY M PULLIAM                                    336 COUNTY RD 24                                                                              DOUBLE SPRINGS     AL    35553‐2501
BILLY M SHEPPERD                                   RR #5 BOX 447                                                                                 FALMOUTH           KY    41040‐9245
BILLY M TAYLOR                                     406 E 10TH ST                                                                                 KEARNEY            MO    64060‐8704
BILLY M WANSLEY                                    PO BOX 368                                                                                    BILOXI             MS    39533‐0368
BILLY M WARREN                                     604 BEACHWOOD                                                                                 MIDDLETOWN         IN    47356‐1245
BILLY MARLOW                                       335 MCDEERMAN RD                                                                              JACKSBORO          TN    37757‐4201
BILLY MUI & PENELOPE MUI JT TEN                    9330 S LARK SPARROW TRAIL                                                                     HIGHLANDS RANCH    CO    80126‐5230

BILLY MUSZYNSKI                                    29821 QUINKERT                                                                                ROSEVILLE          MI    48066‐2150
BILLY N ESCUE                                      8015 WARNER ROAD                                                                              BRENTWOOD          TN    37027‐7035
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 448 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

BILLY N HOLCOMB                                    PO BOX 378                                                                                     TIGER             GA    30576‐0378
BILLY NAPIER                                       919 S HAVENS DR                                                                                NEWPALESTINE      IN    46163‐8884
BILLY NEWTON                                       139 E CONCARDIA                                                                                MILWAUKEEE        WI    53212‐2058
BILLY NOHL                                         30175 MISSION SPRING RD                                                                        ASHLAND           WI    54806
BILLY O BARNETTE                                   813 MCCULLOCH BLVD S                                                                           LK HAVASU CTY     AZ    86406‐7340
BILLY O PARSONS                                    ROUTE 2 BOX 294                                                                                BIG STONE GAP     VA    24219‐9514
BILLY O PRICE                                      32 JEFFREY WAYNE DR                                                                            SAINT PETERS      MO    63376‐1959
BILLY P DEZARN                                     20 GRAHAM DR                                                                                   SPRINGBORO        OH    45066‐1206
BILLY P HOCKMAN                                    8550 SHEPHERDSTOWN PIKE                                                                        SHEPHERDSTOWN     WV    25443‐4570

BILLY P JENKINS                                    10090 CREEL RD                                                                                 FAIRBURN          GA    30213‐2183
BILLY P MULLICAN                                   7791 MAPLEWAY DRIVE                                                                            HOMESTEED         OH    44138‐1621
BILLY P ROBINSON                                   1413 HAMILTON AVENUE                                                                           FLINT             MI    48506‐3532
BILLY P SCHLEICHER                                 10553 CORCORAN RD                                                                              HASLETT           MI    48840‐9227
BILLY PERRY                                        145 LAKESIDE DR                                                                                ELLENWOOD         GA    30294‐2528
BILLY R ADAMS                                      2693 GROVE RD                                                                                  YPSLLLANTI        MI    48190
BILLY R ADAMS                                      5065 EAST S AVE R3                                                                             VICKSBURG         MI    49097‐9422
BILLY R ALLEN & MRS DELORES K ALLEN JT TEN         IRON MOUNTAIN ESTATES                                                                          HARTFORD          KY    42347
BILLY R ASHE                                       2952 PRESTON DR                                                                                REX               GA    30273‐2341
BILLY R ATKINSON                                   800 MALZAHN ST                                                                                 SAGINAW           MI    48602‐2967
BILLY R BROWN                                      1408 SENTINEL RIDGE DR                                                                         FLINT             MI    48532‐3749
BILLY R BRUMMETT                                   46 DARLINGTON RD                                                                               HAMILTON          OH    45011‐2428
BILLY R BUGGS                                      406 S MOORE ST                                                                                 SOUTH BELOIT      IL    61080‐1820
BILLY R CAMERON & ELIZABETH L CAMERON JT TEN       3907 TURTLE DOVE BLVD                                                                          PUNTA GORDA       FL    33950‐7611

BILLY R COLEMAN JR                                  1402 19TH ST                                                                                  PALM HARBOR       FL    34683‐3633
BILLY R COLSTON                                     9602 E BETHEL RD                                                                              NORMAN            OK    73026‐9766
BILLY R CONWAY                                      2877 SUNSET RD                                                                                HILLSBORO         KY    41049‐9121
BILLY R COPELAND                                    1136 BYRDSTOWN HWY                                                                            LIVINGSTON        TN    38570‐8428
BILLY R DUNN                                        569 HEARTH PL                                                                                 LAWRENCEVILLE     GA    30043‐3521
BILLY R EVANS                                       2301 ROBIN LN                                                                                 GOSHEN            OH    45122‐9433
BILLY R FREEMAN                                     110 RIVERSIDE RD                                                                              BALTO             MD    21221‐6627
BILLY R GIBSON                                      17221 CO RD 3440                                                                              ADA               OK    74820‐2750
BILLY R GREEN & RUTH L GREEN TR UA 11/17/92 BILLY R 1722 HUFF AVE                                                                                 WICHITA FALLS     TX    76301‐5026
GREEN & RUTHL
BILLY R GREEN CUST COURTNEY FAULKNER UTMA GA        3185 TROUT PLACE RD                                                                           CUMMINGS          GA    30041‐8260

BILLY R HAMPTON                                    1030 BOATFIELD AVE                                                                             FLINT             MI    48507‐3606
BILLY R HARRY & SHARON J HARRY JT TEN              169 CAMBRIA DRIVE                                                                              BEAVERCREEK       OH    45440‐3540
BILLY R HUDNALL                                    3850 SCHOOLHOUSE RD                                                                            RINER             VA    24149‐2240
BILLY R HUDSON                                     716 MCCAMPBELL ST                                                                              PARIS             TN    38242‐3518
BILLY R JENNINGS                                   RT 1 BOX 810                                                                                   FAYETTEVILLE      WV    25840‐9798
BILLY R KERSCHNER                                  811 S G ST                                                                                     MARION            IN    46953
BILLY R KIMMELL                                    2250 HEDGE                                                                                     WATERFORD         MI    48327‐1136
BILLY R LEWIS                                      4800 BASIN ST                                                                                  ADRIAN            MI    49221‐9352
BILLY R MARCUM                                     330 W COLFAX ST                                                                                SOUTH BEND        IN    46601
BILLY R MCCOY                                      1326 PUTNAM AVE                                                                                JANESVILLE        WI    53546‐2611
BILLY R MCDOWELL                                   2820 SYDNEY ST                                                                                 FORT WORTH        TX    76105‐4154
BILLY R MEADOWS                                    601 NORTH RIVER                                                                                YPSILANTI         MI    48198‐2820
BILLY R MIDDLETON                                  1712 HEMPHILL ST                                                                               DALLAS            TX    75216
BILLY R MOORE                                      5633 HUMBERT AVE                                                                               FT WORTH          TX    76107‐7024
BILLY R OAKLEY                                     217 LEE HOLLOW RD                                                                              SPARTA            TN    38583‐5329
BILLY R REDMON                                     1125 MORSE                                                                                     DENTON            TX    76205‐7926
BILLY R ROBERTS                                    12492 S CREST CIR                                                                              OLATHE            KS    66061‐6346
BILLY R SAULSBERRY                                 9001 S CREGIER AVE                                                                             CHICAGO           IL    60617‐3534
BILLY R SAULSBERRY & DELORES C SAULSBERRY JT TEN   9001 S CREGIER AVE                                                                             CHICAGO           IL    60617‐3534

BILLY R SHELLEY                                    230 DERBY TRL                                                                                  CORBIN            KY    40701‐8578
BILLY R SHIREY                                     2230 DEL WEBB BLVD W                                                                           SUN CITY CENTER   FL    33573‐4844
                                          09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 449 of 850
Name                                           Address1                                Address2             Address3          Address4          City             State Zip

BILLY R THOMAS                                 141 BONNAVILLA AVE                                                                               ROSELLE          NJ    07203‐2967
BILLY R THOMAS                                 22440 OKAY RD                                                                                    TECUMSEH         OK    74873‐6483
BILLY R TOMLIN                                 1633 ONEIDA TRAIL                                                                                LAKE ORION       MI    48362‐1245
BILLY R TUBERVILLE                             9253 TONNEBERGER DR                                                                              TECUMSEH         MI    49286‐9756
BILLY R VAUGHN                                 10347 BRAY RD                                                                                    CLIO             MI    48420
BILLY R WEBB & DORA F WEBB JT TEN              150 WEST YPSILANTI                                                                               PONTIAC          MI    48340‐1873
BILLY R WILLIAMS                               PO BOX 464                                                                                       LENOIR CITY      TN    37771‐0464
BILLY R WILLIS                                 2166 REDTHORN RD                                                                                 BALTIMORE        MD    21220‐4829
BILLY R WINGO                                  965 CLAY FARM RD                                                                                 TREZEVANT        TN    38258‐4545
BILLY RAWSON & CYNTHIA RAWSON JT TEN           PO BOX 3265                                                                                      MERIDIAN         MS    39303‐3265
BILLY REX SHANAHAN                             3217 UNIVERSITY DR                                                                               MODESTO          CA    95350‐1223
BILLY S BYASSEE & FERN BYASSEE JT TEN          4426 JEFF DAVIS                                                                                  MARSHALL         TX    75672‐2642
BILLY S GOFF                                   108 WOMACK ST                                                                                    MC MINNVILLE     TN    37110‐2436
BILLY S PERRY                                  43 RIDGE ROAD                                                                                    RISING SUN       MD    21911‐1545
BILLY S SINGLETON                              214 HOBBINS DR                                                                                   DUBLIN           GA    31021‐7212
BILLY SCOTT SEDAM                              7121 BUICK DRIVE                                                                                 INDIANAPOLIS     IN    46214‐3224
BILLY SHUMWAY                                  1700 BRANDONHALL DR                                                                              MIAMISBURG       OH    45342‐6343
BILLY STANLEY                                  91 DOGWOOD TRAIL CT                                                                              TARBORO          NC    27886‐4451
BILLY SWINEHART                                5610 S 600 E‐57                                                                                  CHURUBUSCO       IN    46723
BILLY T BAKER                                  145 OAK VILLAGE CIRCLE                                                                           CUMBERLAND GAP   TN    37724‐4631

BILLY T BINION                                   PO BOX 668                                                                                     DALEVILLE        IN    47334‐0668
BILLY T BYRNE & MITTIE M BYRNE TEN COM           3204 43RD ST                                                                                   LUBBOCK          TX    79413‐3122
BILLY T CUNNINGHAM                               26677 AMPALA STREET                                                                            HAYWARD          CA    94545‐3413
BILLY T STILES                                   706 CINCINNATI ST                                                                              DAYTON           OH    45408‐2010
BILLY T WOODARD                                  PO BOX 1026                                                                                    STAR             NC    27356‐1026
BILLY TORRY & MRS CHRIS ANN MC MICKENS TORRY TEN 2146 E SESAME ST                                                                               TEMPE            AZ    85283‐2453
COM
BILLY W BARRY                                    16 GREENEVIEW DR                                                                               JAMESTOWN        OH    45335‐1528
BILLY W BLAIN                                    4476 VAN VLEET RD                                                                              SWARTZ CREEK     MI    48473‐8574
BILLY W BOOTH & BRIDGET E BOOTH JT TEN           5102 N MCKINLEY RD                                                                             FLUSHING         MI    48433‐1150
BILLY W CORNETT                                  357 MOUNT DR                                                                                   SEVIERVILLE      TN    37876‐1625
BILLY W DEAVER                                   PO BOX 1506                                                                                    FRIENDSWOOD      TX    77549‐1506
BILLY W DEWITT                                   BOX 413                                                                                        WINDFALL         IN    46076‐0413
BILLY W DILLON                                   8385 FORNEY ROAD                                                                               NEW LEBANON      OH    45345‐9347
BILLY W GIRTMAN                                  448 DENNY LN                                                                                   ALGER            MI    48610‐9383
BILLY W HARTIS                                   4738 THE GREAT RD                                                                              FIELDALE         VA    24089‐3428
BILLY W LINDSAY                                  7308 DUDLEY AVE                                                                                CLEVELAND        OH    44102‐4123
BILLY W MCCANN & BETTY MCCANN JT TEN             6249 MEADOWGROVE COVE                                                                          MEMPHIS          TN    38120‐2622
BILLY W MILLER                                   4311 LINDA DR                                                                                  DOUGLASVILLE     GA    30134‐2619
BILLY W MORGAN                                   6955 W SWEET CREEK DR                                                                          NEW PALESTINE    IN    46163‐9140
BILLY W PARKER                                   2466 JUNEBERRY CIRCLE                                                                          BULLHEAD CITY    AZ    86442‐4422
BILLY W PATRICK                                  PO BOX 165                                                                                     GOOD HOPE        GA    30641‐0165
BILLY W REEVES                                   4228 TRENTON OXFORD RD                                                                         HAMILTON         OH    45011‐9662
BILLY W RING                                     11618 PEELMAN ST                                                                               LENNON           MI    48449‐9656
BILLY W SANFORD                                  9 ROYAL OAKS CIR                                                                               DENTON           TX    76210‐5575
BILLY W SLAUGHTER SR                             303 LOWRY                                                                                      TROUP            TX    75789‐2225
BILLY W SMITH                                    3945 FAIRVIEW                                                                                  DEL CITY         OK    73115‐2017
BILLY W THETFORD                                 16041 MARSALA DR                                                                               FISHERS          IN    46037‐7352
BILLY W WEBB                                     1005 SPARKS RD                                                                                 CEDAR GROVE      IN    47016‐9603
BILLY W WILLIAMS                                 4601 S CO RD 500E                                                                              PLAINFIELD       IN    46168‐8609
BILLY W WILLIAMS                                 887 N TURNER ROAD                                                                              YOUNGSTOWN       OH    44515‐1066
BILLY W WILSON                                   34954 WOOD ST                                                                                  LIVONIA          MI    48154‐2437
BILLY WADDLE                                     1917 COLONY PARK DRIVE                                                                         GREENWOOD        IN    46143
BILLY WAYNE AINSWORTH                            922 TAMARA LANE                                                                                GRAND PRAIRIE    TX    75051‐3057
BILLY WILLIAMS                                   5022 BELLCREEK LN                                                                              DAYTON           OH    45426‐4711
BILLY WILLIAMS                                   11213 RT 18                                                                                    ALBION           PA    16401
BILLYE A DUCKWORTH                               615 VICTORIA                                                                                   FLINT            MI    48507‐1730
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 450 of 850
Name                                             Address1                              Address2                  Address3     Address4          City              State Zip

BIM BURNS TR BURNS REVOCABLE TRUST UA 02/02/01   5503 WINNEQUAH TRAIL                                                                           MADISON           WI    53716‐2968

BIMAL K BISWAS & CHHABI BISWAS JT TEN            1295 POPLAR AVE                                                                                MOUNTAINSIDE   NJ       07092‐1928
BIN F CHIN & LUN MEE CHIN JT TEN                 855 E 13TH ST                                                                                  BROOKLYN       NY       11230‐2913
BIN KUE HO & DOROTHY TOM HO JT TEN               3033 SOUTH A ST                                                                                OXNARD         CA       93033‐5213
BINA K KOZAK                                     985 GARDENIA CT                                                                                SAN MARCOS     CA       92069‐6911
BINA T CLAYBROOK                                 1155 ELK CREEK                                                                                 DEEP GAP       NC       28618‐9567
BING L THREET                                    4487 SHELDON LANE                                                                              FLINT          MI       48507‐3556
BING WELCH                                       2204 PARKDALE DR                                                                               RICHMOND       IN       47374‐1642
BINH HOANG                                       3026 SALEM DRIVE                                                                               SHREVEPORT     LA       71118‐2021
BINH T QUACH                                     90 CHERRY HILL DR                                                                              DAYTON         OH       45440‐3545
BINH THAI                                        1660 STATE                                                                                     HOLLAND        MI       49423
BINH V PHAM                                      1140 N W 28TH                                                                                  OKLAHOMA CITY  OK       73106‐5410
BINH V TROUNG                                    5049 WILLOWVALE WAY                                                                            ELK GROVE      CA       95758‐4128
BINITA M SHAH & MAHENDRA SHAH JT TEN             808 LIBERTY AVE                                                                                NORTH BERGEN   NJ       07047‐1646
BINNIE B LEWIS                                   2558 ENGLAND AVE                                                                               DAYTON         OH       45406‐1324
BINNIE I DI SABATO                               200 ARDEN RD                                                                                   COLUMBUS       OH       43214‐3769
BINOD KUMAR SOMANI                               C/O MUNDRA                            8383 SCARLET GLEN COURT                                  MILLERSVILLE   MD       21108‐2437
BINU MATHEW THANKACHAN                           PO BOX 575                                                                                     NEWTOWN SQUARE PA       19073‐0575

BION K RAYBURN                                   9975 W 600 S                                                                                   REDKEY           IN     47373‐9347
BIPIN S SHAH                                     25503 RANCHWOOD                                                                                FARMINGTON HILLS MI     48335‐1163

BIRCHFIELD CEMETERY                              C/O THEODORE FULLING                  RR3 BOX 132A                                             OAKLAND CITY      IN    47660‐9337
BIRCHFIELD CEMETERY MEMORIAL FUND                C/O THEODORE FULLING                  RR3 BOX 132A                                             OAKLAND CITY      IN    47660‐9337
BIRDELL DEMPSEY WEAVER                           8204 N YOSEMITE DR                                                                             MUNCIE            IN    47303‐9054
BIRDENA A JOHNSON                                2816 WEST BLOOMFIELD OAKS DRIVE                                                                WEST BLOOMFIELD   MI    48324‐2495

BIRDIE L BOND                                    1213 NORTH BELL ST                                                                             KOKOMO            IN    46901‐3012
BIRDIE L JOINER                                  489 DEWDROP CIR                       APT C                                                    CINCINNATI        OH    45240‐3799
BIRDIE L PEARSON CUST CHAWAKA DE VAUGHN UGMA     3026 ARLINGTON AVE                    APT#536                                                  PITTSBURGH        PA    15210‐2860
PA
BIRDIE LEE BRAY                                  205 W JACKSON AVE                                                                              FLINT             MI    48505‐6613
BIRDIE LEE HUNT                                  8305 LEISURE DR                                                                                DAYTON            OH    45458‐2023
BIRDIE M LAMBERT                                 1633 STERLING ROAD                                                                             MEMPHIS           TN    38119‐6924
BIRDINE B GILMAN                                 2079 WOODLAND PASS                                                                             BURTON            MI    48519‐1323
BIRGIT C BOEHM                                   MAUERSTR 32                           D‐40476 DUESSELDORF                    GERMANY
BIRGIT FALKENHAGEN                               LIBORIUSSTR 78 A                      D‐45881 GELSENKIRCHEN                  GERMANY
BIRGIT STOKMANIS                                 1040 APPOLLO WAY                                                                               SACRAMENTO        CA    95822‐1709
BIRGIT STOKMANIS & CYRIL STOKMANIS JT TEN        1040 APPOLLO WAY                                                                               SACRAMENTO        CA    95822‐1709
BIRJILIO SALINAS                                 3731 MARMION AVE                                                                               FLINT             MI    48506‐4217
BIRNEY IMES JR                                   PO BOX 609                                                                                     COLUMBUS          MS    39703‐0609
BIRNEY STRANGE LAYSON                            29200 SW 185 CT                                                                                HOMESTEAD         FL    33030‐2401
BIRNIE D CANTY                                   3761 12TH ST                                                                                   ECORSE            MI    48229‐1316
BIRT DONELL & FAY DONELL JT TEN                  8623 HUBBELL                                                                                   DETROIT           MI    48228‐2447
BIRT T HAMPTON                                   PO BOX 2751                                                                                    ANDERSON          IN    46018‐2751
BIRUTE O ANDRUSAITIS                             4233 WALL AVE                                                                                  ALLEN PARK        MI    48101
BISHOP & BISHOP QUALITY MARKET INC               PO BOX 118                                                                                     WHITEHOUSE        NJ    08889‐0118
                                                                                                                                                STATION
BISHOP G ALUMBAUGH                               5145 MONTICELLO DR                                                                             SWARTZ CREEK      MI    48473‐8252
BISHOP W DOTSON JR                               2909 N INDIANAPOLIS AVE                                                                        INDIANAPOLIS      IN    46208‐5144
BISMARCK S MURAOKA & MARY T MURAOKA JT TEN       1526 LIHOLIHO ST                                                                               HONOLULU          HI    96822‐4061

BJOERN RINGSTAD CUST ANDREAS RINGSTAD UGMA CT 42 UNDERHILL RD                                                                                   HAMDEN            CT    06517‐1539

BJORN HOYER                                      821 HARROWOOD CT                                                                               SARASOTA          FL    34232‐2553
BJORN JOHANNESSON & CAROL JOHANNESSON JT TEN     140 HOWARD TER                                                                                 LEONIA            NJ    07605‐1240
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 451 of 850
Name                                              Address1                            Address2               Address3        Address4          City            State Zip

BLACH DISTRIBUTING CO PROFIT SHARING PLAN DTD 04‐ 131 MAIN ST                                                                                  ELKO            NV    89801‐3698
01‐78
BLACK UNITED FUND MI                              2187 W GRAND BLVD                                                                            DETROIT         MI    48208‐1115
BLACKSHEAR HAMILTON SNYDER                        PO BOX 158                                                                                   ELM GROVE       LA    71051‐0158
BLAGOJA V CVETANOVSKI                             11702 GALLAGHER                                                                              HAMTRAMCK       MI    48212‐4107
BLAGOJE MIHAJLOVSKI                               6163 COLONIAL                                                                                DEARBORN HGTS   MI    48127‐3103
BLAIN A DILLARD                                   206 POPLAR BRANCH LANE                                                                       CARY            NC    27519
BLAINE A HOWELL                                   4060 PETERS RD                                                                               COLUMBIAVILLE   MI    48421‐9304
BLAINE BAGWELL                                    503 N CARTER                                                                                 GREENTOWN       IN    46936‐1032
BLAINE C AIKEN                                    3350 1ST AVE                                                                                 RACINE          WI    53402
BLAINE C CARTWRIGHT                               375 WESTSIDE LN                                                                              TORRINGTON      CT    06790‐4326
BLAINE C SMITH                                    57440 WALKER WAY                                                                             SOUTH LYON      MI    48178‐9777
BLAINE CRANDELL                                   PO BOX 108                                                                                   GARFIELD        AR    72732‐0108
BLAINE GARY BECKMAN & LOREN S BENNETT JT TEN      1947 WINDWARD LN                                                                             NEWPORT BEACH   CA    92660‐3816

BLAINE H CLENDENIN                                HC‐81 BOX 230                                                                                RACINE           WV   25165‐9702
BLAINE L CHALKER                                  16279 STAGECOACH DRIVE                                                                       GARRETTSVILLE    OH   44231‐9519
BLAINE M POOL                                     1740 S DOUGLAS AVE                                                                           SPRINGFIELD      IL   62704‐3520
BLAINE N MARTIN                                   10017 W 700 N                                                                                THORNTOWN        IN   46071‐9137
BLAINE SOUTHER MERRITT                            11776 STRATFORD HOUSE PLACE         #609                                                     RESTON           VA   20190‐3383
BLAINE V FOGG CUST WILLIAM V FOGG UGMA NY         25 N MOORE ST                       APT 5C                                                   NEW YORK         NY   10013‐2461
BLAINE W REAMER                                   550 DAVIS LAKE RD                                                                            LAPEER           MI   48446‐7615
BLAINE YORK                                       15491 COUNTY ROAD 14‐2                                                                       LYONS            OH   43533‐9773
BLAINE Z HIBBARD JR                               3039 CRANBROOK CT                                                                            LA JOLLA         CA   92037‐2209
BLAIR A KENDALL                                   2902 HIGHLAND DRIVE                                                                          COLORADO SPRINGS CO   80909‐1030

BLAIR B CHATTLEY                                  73‐COMODORE AVE                                                                              TONAWANDA       NY    14150
BLAIR BRIGHT                                      329 METAIRIE HEIGHTS AVENUE                                                                  METAIRIE        LA    70001
BLAIR BRUNK                                       148 VERONA PITSBURG RD                                                                       ARCANUM         OH    45304‐9478
BLAIR D TAYLOR                                    3030 EAST 6TH AVE                                                                            DENVER          CO    80206‐4328
BLAIR E UPTON                                     GM OF CANADA                        86 FOREST HEIGHTS ST   WHITBY ON       L1R 1X7 CANADA
BLAIR ESTES                                       4630 CANAL                                                                                   DIMONDALE       MI    48821‐8743
BLAIR EUGENE GREGORVICH                           4511 N MILLERTON RD                                                                          MOORPARK        CA    93021‐2140
BLAIR F RORABAUGH & CLARA E RORABAUGH JT TEN      124 MARSHALL ST NW                                                                           WARREN          OH    44483‐1425

BLAIR G MILLER                                    4410 SILVER LAKE RD                                                                          LINDEN          MI    48451‐8915
BLAIR L DUVALL                                    3660 RAYMOND RD                                                                              FRANKFORT       MI    49635‐9727
BLAIR LEE                                         3500 VERNON MILLS CT                                                                         CHESAPEAKE      VA    23323‐1260
BLAIR MILLER                                      187 VIA VINCENT                                                                              WHITNEY         TX    76692‐2103
BLAIR S WITZEL                                    1181 HUGHES DR                                                                               HAMILTON        NJ    08690‐1213
BLAIR T FOSTER                                    6720 EMERALD DR                                                                              BURLINGTON      KY    41005‐9638
BLAIR TILLYER BROWN                               APT 81                              314 W 100TH ST                                           NY              NY    10025‐5341
BLAIR W SMITH                                     17 EAST 89TH ST APT 6D                                                                       NEW YORK        NY    10128‐0615
BLAKE C THORSBY                                   3395 N JENNINGS RD                                                                           FLINT           MI    48504‐1768
BLAKE E EDWARDS                                   9000 W ARCH                                                                                  YORKTOWN        IN    47396‐1302
BLAKE FRIEDT JR & WILMA F FRIEDT JT TEN           9186 NORWALK RD                                                                              LITCHFIELD      OH    44253‐9772
BLAKE J KISAMORE                                  18367 RIDGE MEADOW RD                                                                        STEWARTSTOWN    PA    17363
BLAKE JOHNSON                                     2116 SE 7TH ST                                                                               MOORE           OK    73160‐6779
BLAKE L CHARTRAU                                  2888 LEWIS CENTER RD                                                                         LEWIS CENTER    OH    43035‐9207
BLAKE L GIDDENS & MRS MARGARET R GIDDENS JT TEN   28102 TURLOCK CT                                                                             LAGUNA NIGUEL   CA    92677‐7020

BLAKE PATTERSON CUST COLBY ADAMS PATTERSON        2229 MOUNT EPHRAIM RD                                                                        ADAMSTOWN       MD    21710‐8513
UTMA MD
BLAKE PAUL TAGGET                                 10351 WAVERLY WOODS DR                                                                       ELLICOTT CITY   MD    21042‐1665
BLAKE R WALKER                                    1909 64TH ST                                                                                 WINDSOR HTS     IA    50324
BLAKE T LE COUNT                                  10341 WESTACRES DRIVE                                                                        CUPERTINO       CA    95014‐2972
BLAKE W SHERRY & CHARLENE J SHERRY JT TEN         7071 WENDY TRAIL LANE                                                                        DUBLIN          OH    43017‐3068
BLAKESLEE INVESTMENT COMPANY                      727 SHADY OAKS CIR                                                                           OXFORD          MS    38655‐5450
BLAN A BALLARD                                    729 MAGIE AVE                                                                                FAIRFIELD       OH    45014‐1719
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 452 of 850
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

BLANCA E GARCIA                                   6819 SPRING ROSE                                                                               SAN ANTONIO       TX     78249‐2944
BLANCA E SANTOS                                   1779 MARKESE                                                                                   LINCOLN PARK      MI     48146‐3254
BLANCA ESTELAV HERNANDEZ                          210 BASSWOOD DR                                                                                ELK GROVE VILLAGE IL     60007‐1720

BLANCA H CASTILLO                                 17269 LAUREL DRIVE                                                                             LIVONIA            MI    48152‐2951
BLANCA L SOLANO                                   19418 SANDY SPRINGS CIRCLE                                                                     LUTZ               FL    33558‐9735
BLANCA LYNGAAS CUST JESSICA RENE LYNGAAS UGMA     48287 TECUMSEH                                                                                 MACOMB             MI    48044‐5949
MI                                                                                                                                               TOWNSHIP
BLANCA MELENDEZ                                   2800 UNIVERSITY AVE #3 SOUTH                                                                   BRONX              NY    10468‐2654
BLANCH MORIN CUST JULIE ANN ALBRIGHT UGMA KAN     1231 WILLOW                                                                                    OTTAWA             KS    66067‐3439

BLANCHARD S MILLER & JAMES K MILLER TR MILLER     958 JUNIPER WAY                                                                                MAHWAH             NJ    07430‐3469
FAMILY TRUST UA 03/18/92
BLANCHE A BULL & ALLEN B BULL JR JT TEN           301 TURNER CROSSING RD                                                                         PARKTON            MD    21120‐9259
BLANCHE A CONKLING                                7331 N E SACRAMENTO ST                                                                         PORTLAND           OR    97213‐6036
BLANCHE A DUDA & ALEXANDER P DUDA JR & MARY L     3847 JACKSON ST                                                                                DEARBORN           MI    48124‐3863
MICHALSKI JT TEN
BLANCHE A HOLICKY & BRUCE J HOLICKY JT TEN        180 FAIRBANK RD                                                                                RIVERSIDE          IL    60546‐2234
BLANCHE A LESH TR LESH FAMILY TRUST UA 10/30/01   4700 FOX POINTE DR                    APT 139                                                  BAY CITY           MI    48706‐2841

BLANCHE A WALLACE & KEVIN R WALLACE JT TEN       2713 LINCOLN AVE                                                                                PARMA              OH    44134‐1923
BLANCHE ALBRIGHT & IRENE M ALBRIGHT JT TEN       132 3RD AVE                                                                                     RENSSELAER         NY    12144‐2410
BLANCHE B KOPP                                   C/O PHIL KOPP                          PO BOX 442                                               FRISCO             CO    80443‐0442
BLANCHE C SPITZLEY                               104 HOWELL ST                                                                                   GRAND LEDGE        MI    48837‐1627
BLANCHE CLARK                                    815 GALLAGHER                                                                                   SAGINAW            MI    48601‐3766
BLANCHE COSTANZA CUST CHRISTOPHER COSTANZA       55 LISPENARD AVE                                                                                BRONXVILLE         NY    10708‐2318
UGMA NY
BLANCHE D JOHNSON                                256 RANDOM TER                                                                                  RINGGOLD           GA    30736‐6124
BLANCHE D PIERCE                                 17A LINCOLN ST                                                                                  MORRISVILLE        VT    05661‐6082
BLANCHE D WRIGHT                                 2854 WATTS RD                                                                                   BURLINGTON         KY    41005‐8766
BLANCHE E DIAZ                                   3212 NASSAU ST                                                                                  TAMPA              FL    33607‐5145
BLANCHE E FORSBERG                               456 GROVE ISLE CIRCLE                                                                           VERO BEACH         FL    32962‐8507
BLANCHE E HARDIN                                 40 RAINBOW DR                                                                                   RIVERSIDE          CT    06878‐1013
BLANCHE E KENDALL & RICHARD JAMES KENDALL JT TEN 7548 W ALEXANDREA                                                                               PEORIA             AZ    85381‐8548

BLANCHE E NIENALTOWSKI & GARY M NIENALTOWSKI JT 2866 KIPLING                                                                                     STERLING HEIGHTS   MI    48310‐2417
TEN
BLANCHE F CONNER CUST JONATHAN LYNN CONNER      3200 SOSCOL AVE                         APT 129                                                  NAPA               CA    94558‐6536
UGMA CA
BLANCHE F GAUDREAU                              21701 EDISON ST                                                                                  DEARBORN           MI    48124‐2931
BLANCHE F GAUDREAU                              C/O JOAN RUSELOWSKI                     21701 EDISON ST                                          DEARBORN           MI    48124‐2931
BLANCHE FERNANDEZ                               62 SPANISH MOSS CT                                                                               MANDEVILLE         LA    70471‐7273
BLANCHE FRIESENHAHN                             1173 COUNTRY LANE                                                                                MARION             TX    78124‐1601
BLANCHE GIUSTO                                  1016 CLEARFIELD DRIVE                                                                            MILLBRAE           CA    94030‐2153
BLANCHE GOODLET                                 5300 E DESERT INN RD C101                                                                        LAS VEGAS          NV    89122‐4097
BLANCHE H KORMAN                                204 LAWRENCE AVE                                                                                 NORTH PLAINFIELD   NJ    07063‐1623

BLANCHE H SCHEAR                                  C/O JOHN M CLOUD                      40 N MAIN STREET     SUITE 2160                          DAYTON             OH    45423
BLANCHE H WAYMACK                                 14118 ABRAHAMS LN                                                                              MIDLOTHIAN         VA    23114
BLANCHE HELFER                                    7222 CLEVELAND CIR                                                                             MERRILLVILLE       IN    46410‐3700
BLANCHE HELFER & ALBERT HELFER JT TEN             9039 KEELER                                                                                    SKOKIE             IL    60076‐1603
BLANCHE J COLLINS & MARCIA L COLLINS JT TEN       21760 NORTH 30TH AVE                                                                           BARRYTON           MI    49305
BLANCHE J KRUEGER                                 238 SOUTH 64TH ST                                                                              MILWAUKEE          WI    53214‐1703
BLANCHE J STEMKE                                  11906 N FAIRHOLLOW                                                                             HOUSTON            TX    77043‐1004
BLANCHE KNEZ                                      PO BOX 35                                                                                      JOYCE              WA    98343‐0035
BLANCHE KRAMER                                    C/O GARY M KRAMER                     6 RISING MOON                                            SANTA FE           NM    87501‐8642
BLANCHE L PARKER                                  12355 DOLLAR LAKE CT                                                                           FENTON             MI    48430‐9745
BLANCHE L PARKER & PEGGY J FELTS & NANCY V STALEY 12355 DOLLAR LAKE CT                                                                           FENTON             MI    48430‐9745
JT TEN
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                      Exhibit E
                                                                                      Part 1 of 8 Pg 453 of 850
Name                                             Address1                              Address2                          Address3              Address4           City            State Zip

BLANCHE M ASBERRY                                2028 TITUS AVE                                                                                                   DAYTON          OH    45414‐4134
BLANCHE M BYRNE                                  % THE VILLAS                          2010 SOUTH UNION AVE              APARTMENT 412                            TACOMA          WA    98405
BLANCHE M DERAMUS                                5801 SPRINGFIELD                                                                                                 DET             MI    48213‐3443
BLANCHE M FOZ                                    16 PAGE RD                                                                                                       NEWTON          MA    02460‐1513
BLANCHE M GARLAND                                2486 SHANKS DOWNES RD                                                                                            GARRETTSVILLE   OH    44231‐9301
BLANCHE M MILES                                  4662 BIRCHWOOD ST                                                                                                ALGER           MI    48610‐9533
BLANCHE M PRATHER                                3633 N LAYMAN AVE                                                                                                INDIANAPOLIS    IN    46218‐1847
BLANCHE M ROBERTS                                500 HOMESTEAD DR                                                                                                 LEXINGTON       NC    27292‐4367
BLANCHE M THIBODEAU                              26 SUFFOLK AVE                                                                                                   HIALEAH         FL    33010‐5036
BLANCHE MC GLYNN                                 PO BOX 654                                                                                                       NEVERSINK       NY    12765‐0654
BLANCHE MCHUGH                                   2529 N FIRST ST #6                                                                                               DEKALB          IL    60115‐1063
BLANCHE MYRA SUTTON                              660 FOREST AV                                                                                                    JACKSON         MS    39206‐3306
BLANCHE N WELSH                                  3933 HARDT DR                                                                                                    GIBSONIA        PA    15044‐9301
BLANCHE P MANN                                   222 MCDANIEL GREENE                                                                                              GREENVILLE      SC    29601‐2961
BLANCHE R YOUNG                                  250 AIRLINE RD                        # 222                                                                      COLUMBUS        MS    39702‐6348
BLANCHE S BAKER & BLANCHE ELAINE BAKER JT TEN    1009 HEDY LYNN DRIVE                                                                                             N HUNTINGDON    PA    15642‐1730

BLANCHE S NORMAN                                 8960 BLAINE MEADOWS DR                                                                                           JACKSONVILLE    FL    32257
BLANCHE SIEGAL                                   525 E 86TH ST                                                                                                    NEW YORK        NY    10028‐7512
BLANCHE SIKA                                     45 BROCKWAY                                                                                                      OSWEGO          IL    60543
BLANCHE V LOVELLY                                PO BOX 545                                                                                                       LOREAUVILLE     LA    70552‐0545
BLANCHE W NOVAK                                  11180 AARON DR                                                                                                   PARMA           OH    44130‐1364
BLANCHE WIECZOREK                                1315 W DARLINGTON CIRCLE                                                                                         HOFFMAN EST     IL    60194‐2372
BLANCHE YOOKO KLIM                               92‐604 PALAILAI ST                                                                                               KAPOLEI         HI    96707‐1113
BLANCHE Z BRAY                                   30 S 26TH ST                                                                                                     WYANDANCH       NY    11798‐3704
BLANE DAVIDSON                                   RR 16 BOX 680                                                                                                    BEDFORD         IN    47421‐9431
BLANID DORLEY                                    72 EDWARD DR                                                                                                     WINCHESTER      MA    01890
BLANT F THARP                                    12865 WEGMANN TRL                                                                                                DE SOTO         MO    63020‐5289
BLASE J VITI JR                                  1365 SANFORD LANE                                                                                                GLENVIEW        IL    60025‐3146
BLAZ PESORDA                                     22404 FOSTER RD                                                                                                  WELLINGTON      OH    44090‐9693
BLAZE TOLESKI                                    10014 LAKE PARK DR                                                                                               CINCINNATI      OH    45231‐2507
BLAZENKA LOZINA                                  12 HIGHLAND TER                                                                                                  PLEASANTVILLE   NY    10570‐3306
BLENDA F LETENYEI & VAUGHN S LETENYEI JT TEN     28811 JAMISON ST                      APT 201A                                                                   LIVONIA         MI    48154
BLENDA FINDLEY                                   950 E RUTH ST                                                                                                    FLINT           MI    48505‐2288
BLIMA KRAUT                                      3 WEBSTER AENUE                                                                                                  BROOKLYN        NY    11230
BLISS R FRYE                                     4012 SW DONOVAN ST                                                                                               SEATTLE         WA    98136‐2531
BLON HOGSED TOD WADE M HOGSED SUBJECT TO STA     3635 HIGHWAY 175                                                                                                 HAYESVILLE      NC    28904
TOD RULES
BLONDEAN CARSWELL                                2140 E TREMONT AVENUE                                                                                            BRONX           NY    10462‐5757
BLONDELL J FLEMMONDS                             PO BOX 26452                                                                                                     INDIANAPOLIS    IN    46226‐0452
BLONDELL PRESCOTT JR                             710 ATHENS ST                                                                                                    SAGINAW         MI    48601‐1421
BLONDINE E WARFIELD                              7 FLAMINGO CIRCLE                                                                                                ROCHESTER       NY    14624‐2205
BLOOMVILLE METHODIST CHURCH                      C/O JOHN ROCKEFELLER                  BLOOMVILLE METHODIST CHURCH       191 SCOTCH HILL RD                       BLOOMVILLE      NY    13739‐1191
BLOSSOM MILYONER                                 1 SPIREA LN                                                                                                      NEW CITY        NY    10956‐6811
BLOSSOM S SHUMAN                                 1 TENNIS CT APT 1J                                                                                               BROOKLYN        NY    11226‐3774
BLUE MULE LLC LLC                                ATTN DAVID J HANSEN                   813 N ATLANTIC AVE                                                         NEW SMYRNA      FL    32169‐2309
BMMF INTERNATIONAL                               PO BOX 10‐244                         AUCKLAND                                                1030 NEW ZEALAND
BO EVANS                                         11 STAMBAUGH                                                                                                     SHELBY          OH    44875
BO H LEE & JUDY A LEE JT TEN                     PO BOX 1678                                                                                                      CLARKSTON       MI    48347‐1678
BOARD OF EDUCATION MOHAWK CENTRAL SCHOOL         MOHAWK CENTRAL SCHOOL DISTRICT        R P GERSTENBERG SCHOLARSHIP FND   28 GROVE ST                              MOHAWK          NY    13407‐1200

BOARD OF EDUCATION OF CAROLINE COUNTY            C/O PRINCIPAL OF THE RIDGELY          SCHOOL                            204 FRANKLIN STREET                      DENTON          MD    21629‐1210
BOARD OF EDUCATION OF CITY OF FLINT              923 E KEARSLEY ST                                                                                                FLINT           MI    48503‐1974
BOARD OF EDUCATION OF THE SCHOOL DISTRICT OF THE C/O ATTN TOM GALLANT                  923 E KEARSLEY ST                                                          FLINT           MI    48503‐1974
CITY OF FLINT
BOARD OF EDUCATION SALEM CITY SCHOOL DISTRICT OF 1226 E STATE ST                                                                                                  SALEM           OH    44460‐2222
SALEM OHIO
BOARD OF LIBRARY TR INCORPORATED TOWN OF         PO BOX 280                                                                                                       GREENE          IA    50636‐0280
GREENE IOWA
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 454 of 850
Name                                            Address1                                Address2             Address3          Address4          City             State Zip

BOARD OF REGENTS OF NEW MEXICO                  BOX 680                                                                                          SILVER CITY      NM    88062‐0680
BOARD OF TR DEARING METHODIST CHURCH                                                                                                             DEARING          GA    30808
BOARD OF TR FRATERNAL ORDER OF EAGLES AERIE 540 425 MAIN ST                                                                                      REYNOLDSVILLE    PA    15851‐1250

BOARD OF TR MARVIN MEMORIAL LIBRARY             29 W WHITNEY AVE                                                                                 SHELBY           OH    44875‐1252
BOARD OF TR METHODIST CHURCH                                                                                                                     MINERVA          OH    44657
BOAZ HASSON                                     11 PARKWOOD RD                                                                                   WESTBURY         NY    11590‐1505
BOAZ SADEH                                      PO BOX 9691                             JERUSALEM                              91090 ISRAEL
BOB A COFFEY                                    PO BOX 4255                                                                                      GEORGETOWN       CA    95634‐4255
BOB B SOUZA                                     PO BOX 5621                                                                                      SANTA ROSA       CA    95402
BOB BALL                                        226 SHIPLEY ST                                                                                   SEAFORD          DE    19973‐3125
BOB C ALLEN                                     3003 OZARK CIR                                                                                   CHATTANOOGA      TN    37415‐5103
BOB C ALLEN & JUDITH B STOLLER JT TEN           3003 OZARK CIRCLE                                                                                CHATTANOOGA      TN    37415‐5103
BOB C BOOTH                                     200 SE 28 ST                                                                                     MOORE            OK    73160‐7406
BOB CARICO                                      338 OLD GIBBLER ROAD                                                                             JEFFERSON CITY   MO    65109‐1117
BOB CRISTELLO                                   301 N HARRISON ST #212                                                                           PRINCETON        NJ    08540
BOB D BROADWORTH                                1413 INDIANA AV                                                                                  FLINT            MI    48506‐3517
BOB D SUDDATH & MRS AZILEE W SUDDATH JT TEN     8801 SW 97TH TERR                                                                                MIAMI            FL    33176‐2936

BOB DEWEESE                                     1898 CRANE POINT DR                                                                              PORT ORANGE      FL    32128‐2578
BOB E DEMOSS                                    1475 PEACHWOOD DR                                                                                FLINT            MI    48507‐5632
BOB E STARKWEATHER JR                           279 WEST NYE                                                                                     OLIVET           MI    49076‐9641
BOB E SWINDLEHURST                              510 N CATHERINE                                                                                  LANSING          MI    48917‐2932
BOB F OWSLEY                                    8644 SW REESE ST                        APT 150                                                  ARCADIA          FL    34269‐4477
BOB FEIL BOATS & MOTORS INC                     2131 SUNSET HWY                                                                                  EAST WENATCHEE   WA    98802‐4141
BOB G PEOPLES                                   RT 1 BOX 38 I                                                                                    ODESSA           MO    64076‐9414
BOB G WILLIAMS                                  3809 MAHONIA CT                                                                                  ARLINGTON        TX    76017‐4640
BOB GENE ZIEBA CUST MARK ANDREW ZIEBA UTMA IL   60 BONNIE BRAE RD                                                                                CARBONDALE       IL    62901‐5420

BOB H ALTON                                     707 LLOYD                                                                                        ROYAL OAK        MI    48073‐4014
BOB H ALTON & DORIS E ALTON JT TEN              707 LLOYD                                                                                        ROYAL OAK        MI    48073‐4014
BOB H HATMAKER                                  2555 BULL SKULL RD                                                                               LEIGHTON         AL    35646‐5113
BOB H TORKA                                     1133 E MAIN                                                                                      LANSING          MI    48912‐1654
BOB I VANCIL                                    705 SIXTH ST                                                                                     BALLINGER        TX    76821
BOB J ARMSTRONG                                 BOX 124                                                                                          LAKE JACKSON     TX    77566‐0124
BOB J BILKO & ERMA J BILKO JT TEN               1065 COLONY DR                                                                                   HIGHLAND HEIGHTS OH    44143‐3121

BOB J PIERCE                                    2106 N GERRARD                                                                                   INDIANAPOLIS     IN    46224‐5038
BOB JACK PAUL                                   PO BOX 185                                                                                       ATLANTA          MI    49709‐0185
BOB JACK PAUL                                   BOX 185                                                                                          ATLANTA          MI    49709‐0185
BOB L COPLIN & ARLENE COPLIN JT TEN             9478 WEIR ST                                                                                     OMAHA            NE    68127‐2426
BOB L ESHBAUGH                                  1240 EIGHTH ST                                                                                   MANHATTAN        CA    90266‐6014
                                                                                                                                                 BEACH
BOB L FOLKES                                    17010 HEMLOCK ROAD R 1                                                                           OAKLEY           MI    48649‐8746
BOB L GODFREY                                   BOX 3                                                                                            EAGLE            MI    48822‐0003
BOB L RIDGWAY                                   445 N ELBA ROAD                                                                                  LAPEER           MI    48446‐8077
BOB L VASIL                                     1933 N MOUNTAIN AVE                                                                              CLAREMONT        CA    91711‐2606
BOB M BROWN & MRS EILEEN J BROWN JT TEN         361 MANHATTAN RD SE                                                                              GRAND RAPIDS     MI    49506‐2018
BOB MCBEE                                       5335 STATE AVE                                                                                   SACRAMENTO       CA    95819‐1737
BOB MCCRARY                                     PO BOX 152                                                                                       SANDHILL         MS    39161‐0152
BOB O BUCK                                      1913 E CO LINE RD N                                                                              SPRINGPORT       IN    47386‐9717
BOB P CHOATE                                    9315 E 1000 N                                                                                    BROWNSBURG       IN    46112
BOB PHAM                                        1825 WIILLOWWOODS LANE                                                                           LANSING          MI    48842
BOB QUAPAW                                      9537 CRYSTAL WATER WY                                                                            ELK GROVE        CA    95747
BOB R LYNN                                      6021 KILGORE AVE                                                                                 MUNCIE           IN    47304‐4727
BOB R MCINTIRE                                  223 FAIRWAY DR                                                                                   DRY RIDGE        KY    41035‐8505
BOB R PRATT                                     1252 BOICHOT                                                                                     LANSING          MI    48906‐5912
BOB R SHAFER                                    1605 BEVERLY                                                                                     ST CHARLES       MO    63303‐4007
BOB R TAYLOR & BARBARA J TAYLOR JT TEN          107 KAREN DR                                                                                     GREENVILLE       SC    29607‐1209
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 455 of 850
Name                                               Address1                               Address2              Address3         Address4          City               State Zip

BOB RASKOVICH                                      2486 ELDER RD                                                                                   CARP LAKE          MI    49718‐9766
BOB RUFUS TWITTY                                   1850 BARKS                                                                                      FLINT              MI    48503‐4302
BOB S PRINCE & MRS DORIS J PRINCE JT TEN           RR 1 44                                                                                         MC LEANSBORO       IL    62859‐9707
BOB SCHELFHAUT                                     THEO ANDRIESSTRAAT 33                  2870 LIEZELE                           BELGIUM
BOB SHELL                                          181 CAMPBELL BR                                                                                 LONDON             KY    40744‐8864
BOB SHIRLEY CUST CASSANDRA JODY BROWN UTMA CA      11763 KINGSLAND AVE                                                                             LAS VEGAS          NV    89138‐1599

BOB SPIVEY                                         1003 ROSEMONT TERR                                                                              SMYRNA             TN    37167‐6254
BOB STELMACH & GERALDINE STELMACH JT TEN           11 STANLEY COURT UNIT 5                WHITBY ON                              L1N 8P9 CANADA
BOB T DOWD CUST MISS BEVERLY DOWD U/THE TEXAS      ATTN BEVERLY DOWD PARSONS              8839 HOLIDAY DR                                          ODESSA             TX    79765‐2039
U‐G‐M‐A
BOB VETTER & SARAH COFFIN‐VETTER JT TEN            14202 PINEWOOD DR                                                                               DEL MAR            CA    92014‐2940
BOB WESLEY SIMS                                    293 SHERRI DRIVE                                                                                UNIVERSAL CITY     TX    78148‐3425
BOB'S PLUMBING                                     PO BOX 1834                                                                                     HAVERILL           MA    01831‐2834
BOBBETTA L JONES                                   8131 GREENLAWN AVE                                                                              DETROIT            MI    48204‐3273
BOBBETTE THOMAS WELLS CUST DEREK WELLS UTMA        6128 CRATER LAKE DR                                                                             ROSEVILLE          CA    95678‐1971
CA
BOBBETTE THOMAS WELLS CUST PARKER WELLS UTMA       6128 CRATER LAKE DR                                                                             ROSEVILLE          CA    95678‐1971
CA
BOBBI C ZIMMERMAN                                  175 OAKSMERE DR                                                                                 SPRINGFIELD        OH    45503‐5446
BOBBI H CALLOWAY                                   2405 7TH STREET RD                                                                              LOUISVILLE         KY    40208‐1080
BOBBI JEAN PENA                                    9822 BETSY ROSS LN                                                                              LIBERTY            MO    64068‐8527
BOBBI L WOODS TOD CHESTER WORDEN SUBJECT TO        11616 GOLD FIELDS DR                                                                            GRAND LEDGE        MI    48837‐8180
STA RULES
BOBBIE A SMITH                                     324 HILLTOP RD                                                                                  SHELBYVILLE        TN    37160‐6885
BOBBIE A TAYLOR                                    124 HUNTINGTON RIDGE PL                                                                         MOORESVILLE        NC    28115‐9100
BOBBIE A TIGE                                      C/O BOBBIE DAVIS                       2260 NELSON SE AV D                                      GRAND RAPIDS       MI    49507‐3770
BOBBIE A VICTORY                                   3576 JESSE PULLUM RD                                                                            BUFFALO VLY        TN    38548‐5255
BOBBIE B HART                                      1090 ESTESBURG RD                                                                               EUBANK             KY    42567‐9758
BOBBIE B MULLINAX                                  2341 PENDLEY RD                                                                                 CUMMING            GA    30041‐6454
BOBBIE C BALENTINE                                 3028 LOVELL CT                                                                                  COLUMBIA           TN    38401‐5990
BOBBIE C FORD                                      964 BRIDGEGATE NE DR                                                                            MARIETTA           GA    30068‐2207
BOBBIE C FRANKLIN                                  2428 LARKIN ROAD                                                                                LEXINGTON          KY    40503‐2622
BOBBIE C HARRIS                                    1316 SETON AVENUE SE                                                                            DECATUR            AL    35601‐4454
BOBBIE D CYPRAIN SR PERS REP EST BEATRICE MELTON   16342 SCHOOL RD                                                                                 INDEPENDENCE       LA    70443‐2022

BOBBIE D SPEAKS                                  3221 E CURRY ST                                                                                   LONG BEACH         CA    90805‐3811
BOBBIE D THURMAN                                 15334 PRINCETON STREET                                                                            DETROIT            MI    48238‐2804
BOBBIE E GRAVES                                  18049 BIRWOOD ST                                                                                  DETROIT            MI    48221‐2320
BOBBIE E TACKER                                  18 E TILDEN DR                                                                                    BROWNSBURG         IN    46112‐1648
BOBBIE EDWARD WARD                               PO BOX 2885                                                                                       RICHMOND           CA    94802‐2885
BOBBIE ELLINGTON                                 11 CALHOUN LN                                                                                     EAST ST LOUIS      IL    62203‐2638
BOBBIE ELLINGTON                                 11 CALHOUN LANE                                                                                   EAST SAINT LOUIS   IL    62203‐2638
BOBBIE F MC CLINTICK                             10721 SOUTHERLAND DR                                                                              DENTON             TX    76207‐8681
BOBBIE G BEACH                                   3701 S MCCOY AVE                                                                                  INDEPENDENCE       MO    64055‐3268
BOBBIE G RIEDEL CUST STACIE LAINE GRAHAM UGMA TX BOX 56083                                                                                         HOUSTON            TX    77256‐6083

BOBBIE G WHITE                                     341 DAVISBURG RD                                                                                DAVISBURG          MI    48350‐2517
BOBBIE GENE NEAL                                   RR 1                                                                                            PARKER             IN    47368‐9801
BOBBIE I BOGGS                                     1540 DIETZEN AVE                                                                                DAYTON             OH    45408‐2635
BOBBIE J CARTER                                    ATTN BOBBIE J JOHNS                    730 VINCENT AVE                                          CENTRAL POINT      OR    97502‐3711
BOBBIE J FORTE                                     326 CHURCH ST                                                                                   DEKALB             TX    75559‐1304
BOBBIE J HOLLIDAY                                  4301 E MINNESOTA ST                                                                             INDIANAPOLIS       IN    46203‐3446
BOBBIE J HOLLIMAN                                  812 SOUTH OTTILLIA SE                                                                           GRAND RAPIDS       MI    49507‐3741
BOBBIE J HUBBS                                     2115 PRICE AVE                                                                                  KNOXVILLE          TN    37920‐3537
BOBBIE J LEWIS JR                                  45280 MIDDLEBURY LN                                                                             CANTON             MI    48188‐3209
BOBBIE J MITCHELL                                  623 ARTHUR AVE                                                                                  PONTIAC            MI    48341‐2508
BOBBIE J PADGETT                                   15560 BELLAIRE                                                                                  ALLEN PK           MI    48101‐1104
BOBBIE J RICHARDSON                                R R #1                                 PO BOX 95 A A                                            VERONA             MO    65769‐0095
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 456 of 850
Name                                           Address1                               Address2             Address3          Address4          City            State Zip

BOBBIE J SNELL                                 4198 S BRANNON STAND RD                                                                         DOTHAN           AL   36305‐9182
BOBBIE J TRIETSCH                              617 GRIBBLE SPRINGD RD                                                                          SANGER           TX   76266
BOBBIE J TURNER                                3923 BEACHWOOD                                                                                  PINE LAWN        MO   63121‐3303
BOBBIE J WALKER                                5005 MIAMI LANE                                                                                 FLINT            MI   48504‐5400
BOBBIE JANE BOLAN                              214 SO DIXON RD                                                                                 KOKOMO           IN   46901‐5073
BOBBIE JEAN PIERCE                             2733 COUNTRY CLUB BLVD                 APT 111                                                  STOCKTON         CA   95204
BOBBIE JEAN WEATHERFORD                        3084 S GENESEE ROAD                                                                             BURTON           MI   48519‐1420
BOBBIE JO SHANER                               528 MACE ST                                                                                     GREENSBURG       PA   15601
BOBBIE JOE FIGG                                RR 3 BOX 651                                                                                    LINTON           IN   47441‐9722
BOBBIE K GOSSAGE                               710 GEETING DR                                                                                  ANDERSON         IN   46012‐3913
BOBBIE K HOUSE CAMPER                          131 E GREEN VALLEY CIR                                                                          NEWARK           DE   19711‐6790
BOBBIE K TSCHIRHART                            3384 DEERFIELD LN                                                                               CLEARWATER       FL   33761‐1406
BOBBIE L BAKER                                 1353 INTERVALE AVE                                                                              BRONX            NY   10459‐1538
BOBBIE L BLACK                                 668 BRYCELAND DRIVE                                                                             RIDGELAND        MS   39157‐1208
BOBBIE L BROWN                                 12819 GEORGIANA                                                                                 WARREN           MI   48089‐4809
BOBBIE L BYRD                                  1950 US HWY 78                                                                                  MONROE           GA   30655‐5218
BOBBIE L CHATTMAN                              124 CAMBRIDGE                                                                                   DAYTON           OH   45406‐5005
BOBBIE L DOTSON                                5617 ALVINA AVE                                                                                 NORWOOD          OH   45212‐1217
BOBBIE L GOINS                                 783 REESE HARMON RIDGE                                                                          ROCK             WV   24747‐9464
BOBBIE L JACKSON                               5021 N HENDERSON ROAD                                                                           DAVISON          MI   48423‐8513
BOBBIE L LOWE                                  APT N‐5                                1910 E 7TH ST                                            ANDERSON         IN   46012‐3548
BOBBIE L MC CANN                               4520 GEN CARL W STINER HWY                                                                      LA FOLLETTE      TN   37766‐5039
BOBBIE L MOLLICE                               9119 W FM 321                                                                                   TENN COLONY      TX   75861‐2966
BOBBIE L MULLINS                               1820 MILLER RD                                                                                  MEMPHIS          MI   48041‐2212
BOBBIE L NIX                                   1740 UNIVERSITY DR                                                                              COLUMBIA         TN   38401‐6412
BOBBIE L OVERBY                                5202 N JOHNSON RD                                                                               WEIDMAN          MI   48893‐9781
BOBBIE L PACK                                  18005 U S 301 73                                                                                DADE CITY        FL   33523
BOBBIE L SALLEE                                26686 PLEASANT VALLEY RD                                                                        WELLSVILLE       KS   66092‐8477
BOBBIE L SCOTT                                 12975 W LAKE RD                                                                                 E SPRINGFIELD    PA   16411‐9339
BOBBIE L WADE                                  2714 WHITE FEATHER RD                                                                           BENTLEY          MI   48613‐9647
BOBBIE LOU NISWONGER                           3 NELLIE CT                                                                                     WEST MILTON      OH   45383‐1327
BOBBIE N HARDY                                 225 W 96TH ST                                                                                   INDIANAPOLIS     IN   46260‐1423
BOBBIE NELL BOLES                              5307 SPALDING DR                                                                                NORCROSS         GA   30092‐2606
BOBBIE P SHAW                                  PO BOX 456                                                                                      LITHIA SPRINGS   GA   30122‐0456
BOBBIE P WACK                                  6304 LAKE LUCERNE DRIVE                                                                         SAN DIEGO        CA   92119‐3036
BOBBIE R CLOER                                 4630 KIPLING DR                                                                                 CHARLOTTE        NC   28212‐5332
BOBBIE R DUNN                                  1303 LONE OAK CIRCLE                                                                            NASHVILLE        TN   37215‐3905
BOBBIE R GOSS                                  817 NW 8TH ST                                                                                   MOORE            OK   73160‐1905
BOBBIE R HATCHER                               PO BOX 2155                                                                                     MARION           IN   46952‐8555
BOBBIE R LAKE                                  5538 RIVERIA DRIVE                                                                              ZEPHRY HILLS     FL   33541‐0797
BOBBIE R PETERS                                103 KENDALL ST                                                                                  GIFFORD          IL   61847‐9793
BOBBIE R ROBERSON & MAXINE L ROBERSON JT TEN   18235 BLACK FOREST RD                                                                           COLORADO SPRINGS CO   80908‐1410

BOBBIE R RUSHING & JAMES R RUSHING JT TEN      4212 ELEANOR ST                                                                                 NORTHPORT        AL   35473‐2848
BOBBIE TAYLOR STEPHENS                         7828 LOA PL                                                                                     DIAMOND HEAD     MS   39525‐3729
BOBBIE THOMAS                                  514 E GILLESPIE ST                                                                              FLINT            MI   48505‐3824
BOBBIE V REEVES                                9607 DALTON DR                                                                                  BELLEVILLE       MI   48111‐1687
BOBBIE W MURRAY                                501 N STATE ST                                                                                  MUNCIE           IN   47303‐4373
BOBBIE W SAMPLES                               402 SMARITAN DR                                                                                 CUMMING          GA   30040‐2327
BOBBY A CRITES                                 33991 BROKAW RD                                                                                 COLUMBIA STATION OH   44028‐9780

BOBBY A GRAYSON                                PO BOX 15                                                                                       ONTARIO         OH    44862‐0015
BOBBY A RILEY                                  110 ONEIDA                                                                                      PONTIAC         MI    48341‐1625
BOBBY A SHELTON                                4 STEELE PL                            UNIT L                                                   HILLSBOROUGH    NJ    08844‐7024
BOBBY A SMITH                                  38 PECAN LAKE DR                                                                                SHARPSBURG      GA    30277‐3343
BOBBY ALLEN                                    4353 AUDUBON                                                                                    DETROIT         MI    48224‐2752
BOBBY B DALE                                   2276 UNITY CHURCH CIR                                                                           MAYSVILLE       GA    30558‐2422
BOBBY BARRICK                                  1110 SECRETARIAT DR                                                                             DANVILLE        KY    40422
BOBBY BELLERS & SHIRLEY J BELLERS JT TEN       323 HOLMES ROAD                                                                                 YPSILANTI       MI    48198‐3038
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 457 of 850
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

BOBBY BENJAMIN                                 8337 SPIVEY RD                                                                                  JONESBORO         GA    30236‐4115
BOBBY BOONE                                    3249 FM 1999                                                                                    KARNACK           TX    75661‐2437
BOBBY BURTON                                   114 E ROSEDALE ST                                                                               PARIS             AR    72855‐2443
BOBBY C COLLEY                                 1615 E 13 MILE RD 307                                                                           MADISON HEIGHTS   MI    48071‐5020

BOBBY C COWAN                                   5806 BROOKLYN                                                                                  KANSAS CITY       MO    64130‐3420
BOBBY C JACKSON                                 630 E STEWART AVE                                                                              FLINT             MI    48505‐5324
BOBBY C KNIGHTEN                                1014 S OSAGE AVE APT 20                                                                        INGLEWOOD         CA    90301‐7144
BOBBY C MILLS                                   29 TIMON ST                                                                                    BUFFALO           NY    14211‐2919
BOBBY C PERRY                                   15727 ST MARY                                                                                  DETROIT           MI    48227‐1929
BOBBY C SMITH                                   19807 LAJUANA LN                                                                               SPRING            TX    77388‐6121
BOBBY C WHEET                                   551 CONOVER LN                                                                                 COLUMBIA          KY    42728‐2126
BOBBY C WOODS                                   2929 SLICKBACK RD                                                                              BENTON            KY    42025‐5468
BOBBY CAMPBELL                                  350 W NORTHSIDE DR APT 115                                                                     JACKSON           MS    39206‐4613
BOBBY CARL VALENTINE                            4049 KENSINGTON RD                    CARROLTON                                                CARROLLTON        OH    44615
BOBBY CHADWELL                                  32 ENIGHTINGALE LN                                                                             GIRDLER           KY    40943
BOBBY COLEMAN                                   1007 BURT STREET                                                                               SAGINAW           MI    48607‐1744
BOBBY D BURRESS                                 7960 SOUTH SCARFF ROAD                                                                         NEW CARLISLE      OH    45344‐8686
BOBBY D CAUSEY                                  8992 HIGHWAY 62                                                                                PIGGOTT           AR    72454‐8549
BOBBY D CROSS                                   3024 PORTER                                                                                    INDEPENDENCE      MO    64055‐2740
BOBBY D CRUMLEY                                 770 CO ROAD 12                                                                                 PIEDMONT          AL    36272‐3657
BOBBY D DOSS & JANET M DOSS JT TEN              33300 US HWY 29                                                                                GRETNA            VA    24557‐3493
BOBBY D ELDER                                   222 HYATT LANE                                                                                 LINDEN            MI    48451‐8702
BOBBY D GARRETT                                 19315 HIPPLE                                                                                   CLEVELAND         OH    44135‐1752
BOBBY D GILLIAM                                 101 CHRYSTAL LN                                                                                BARBOURSVILLE     WV    25504‐9313
BOBBY D GOBLE                                   1789 CABERFAE HIGHWAY                                                                          WELLSTON          MI    49689‐9724
BOBBY D HEARD                                   4425 CROSBY COURT                                                                              WHITE LAKE        MI    48386‐1108
BOBBY D HOLMAN                                  8012 W 42ND CT                                                                                 LYONS             IL    60534‐1166
BOBBY D JOHNSON & SUE ELLEN JOHNSON JT TEN      HC 66 BOX 5028                                                                                 NANCY             KY    42544‐9634
BOBBY D JONES & BOBBY JUNE JONES JT TEN         1402 PARK DRIVE                                                                                HILLSBORO         TX    76645‐2626
BOBBY D KELLY                                   129 KELLY MOUNTAIN RD                                                                          SHELBY GAP        KY    41563‐8340
BOBBY D KIRBY                                   1318 PEGGY LN                                                                                  POPLAR BLUFF      MO    63901‐2540
BOBBY D MOORE                                   2849 RAMBLING WOOD LANE                                                                        DAYTON            OH    45458‐9300
BOBBY D PIERCE                                  15850 ROBSON ST                                                                                DETROIT           MI    48227‐2643
BOBBY D SESSOMS JR CUST VICTORIA DELAND SESSOMS 622 PALISADES DRIVE                                                                            MOUNT PLEASANT    SC    29464‐8122
UGMA SC
BOBBY D TRAFFANSTED                             2500 MANN RD LOT 79                                                                            CLARKSTON         MI    48346‐4245
BOBBY DAVIS                                     3501 HARVARD BLVD                                                                              DAYTON            OH    45406‐3602
BOBBY DEAN LANDERS                              RT 4 BOX 407‐D                                                                                 DECATUR           AL    35603‐9804
BOBBY E ARROWOOD                                230 SIOUX TRAIL                                                                                JACKSBORO         TN    37757‐5133
BOBBY E BLANTON                                 8802 UNION HILL RD                                                                             CANTON            GA    30115‐5735
BOBBY E BROWN                                   902 S MAIN ST                                                                                  THREE RIVERS      MI    49093‐1740
BOBBY E CHITTAM                                 1835 COUNTY RD 134                                                                             ANDERSON          AL    35610‐4523
BOBBY E DANIEL                                  605 HAMPTON WAY                                                                                RICHMOND          KY    40475‐8234
BOBBY E FENNELL & FABER C FENNELL JT TEN        4719 SAUNDERS SETERMENT RD                                                                     LOCKPORT          NY    14094‐9631
BOBBY E JONES & EDNA PAULINE JONES JT TEN       402 MOSER RD                                                                                   LOUISVILLE        KY    40223‐3333
BOBBY E MATHEWS                                 2111 WALKER CT                                                                                 PHEONIX CITY      AL    36867‐7451
BOBBY E MCKENZIE                                2321 80TH AVE                                                                                  OAKLAND           CA    94605‐3234
BOBBY E MOSLEY                                  445 LINDENWOOD ST                                                                              DAYTON            OH    45417‐1305
BOBBY E ROGERS & PATSY J ROGERS JT TEN          3828 COUNTY RD 334                                                                             DUBLIN            TX    76446
BOBBY E WEST                                    108 SEVEN HOLLYS DRIVE                                                                         GRAFTON           VA    23692‐3101
BOBBY EUGENE BINGHAM                            2478 MCCOLLUM RD                                                                               REAGAN            TN    38368‐7122
BOBBY F MCCULLOCH                               642 HAMILTON ST                                                                                RUSSELLVILLE      AL    35653‐4419
BOBBY F NEWTON                                  621 NORRIS                                                                                     YPSILANTI         MI    48198‐2823
BOBBY F PITTMAN                                 460 VALHALLA DRIVE                                                                             EDGEMONT          AR    72044‐9721
BOBBY F SLOAN & CHRISTINE A SLOAN TEN COM       BOX 265                                                                                        HAWKINSVILLE      GA    31036
BOBBY F WHARTON                                 2146 VAN VLEET RD                                                                              SWARTZ CREEK      MI    48473‐9748
BOBBY G BEDINGFIELD                             203 S CENTER AVE                                                                               PIEDMONT          AL    36272‐2039
BOBBY G BINDER                                  7169 FLORAL AVE                                                                                WEST CHESTER      OH    45069‐2252
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 458 of 850
Name                                          Address1                             Address2               Address3        Address4          City           State Zip

BOBBY G BONDS                                   331 WILDWOOD DR                                                                             DALLAS          GA   30132‐3902
BOBBY G CARMACK                                 1010 N 22ND AVE                                                                             OZARK           MO   65721‐8083
BOBBY G CLARK                                   BX 226 CHEVY CHASE                                                                          GALION          OH   44833‐0226
BOBBY G COLLINS                                 1536 1/2 CINCINNATI AV                                                                      ANDERSON        IN   46016‐1911
BOBBY G COOPER                                  RD 1 BOX 346                                                                                MONTICELLO      KY   42633‐9734
BOBBY G COX                                     2915 WERGES ST                                                                              ALTON           IL   62002‐1978
BOBBY G DUDLEY                                  38921 SUPERIOR                                                                              ROMULUS         MI   48174‐1074
BOBBY G EUBANKS                                 2074 BATTLE ROAD                                                                            AUGUSTA         GA   30904‐3586
BOBBY G GIVENS                                  1058 N WALLER                                                                               CHICAGO         IL   60651‐2611
BOBBY G GREER JR                                20100 W 220TH ST                                                                            SPRING HILL     KS   66083‐7806
BOBBY G HALLAM                                  47 SUNNY SIDE DR                                                                            ST PETERS       MO   63376‐1962
BOBBY G HARRIS                                  1174 OLD CADET ROAD                                                                         BONNE TERRE     MO   63628‐4324
BOBBY G HENLEY                                  377 OLD MIDDLESBORO HWY                                                                     LAFOLLETTE      TN   37766‐7221
BOBBY G HOPKINS                                 5500 MURLAND HOLLOW                                                                         WHITE LAKE      MI   48383‐1346
BOBBY G JOHNSON                                 PO BOX 230                                                                                  WELLBORN        TX   77881‐0230
BOBBY G JUDIE                                   1944 N 46TH TERR                                                                            KANSAS CITY     KS   66102‐1824
BOBBY G KIDD                                    100 FORD DR                        #2                                                       SOMERSET        KY   42501‐3330
BOBBY G LEMONS                                  725 JOHNSON DR                                                                              RUSKIN          FL   33570‐5513
BOBBY G MABRY                                   C/O DEBRA PUTNAM                   3455 TAGGETT LAKE CT                                     HIGHLAND        MI   48357‐2611
BOBBY G MC DURMON                               3023 S CATHERINE                                                                            LANSING         MI   48911‐1810
BOBBY G MCLAUGHLIN                              196 ALBEMARLE STREET                                                                        ERWIN           TN   37650‐1300
BOBBY G MORRIS                                  PO BOX 162                                                                                  MYSTIC          GA   31769‐0162
BOBBY G MORRIS                                  PO BOX 162                                                                                  MYSTIC          GA   31769‐0162
BOBBY G OWSLEY & MARTHA J OWSLEY JT TEN         610 E MAIN ST                                                                               CECILIA         KY   42724‐9618
BOBBY G REEVES & JOY MAY REEVES JT TEN          730 E SOUTHS T                                                                              LEBANON         IN   46052‐2669
BOBBY G SANDERS                                 BOX 431                                                                                     QUAPAW          OK   74363‐0431
BOBBY G SCOTT                                   916 UNION RD                                                                                SOMMERVILLE     AL   35607
BOBBY G SCOTT                                   1504 SAN GABRIEL                                                                            DENTON          TX   76205‐8133
BOBBY G SULLIVAN JR                             6296 WESTDALE                                                                               GRAND BLANC     MI   48439‐8529
BOBBY G SUMNER                                  2810 BOBWHITE CR                                                                            WINGATE         NC   28174‐9658
BOBBY G TIPTON                                  G1473 PROPER AVE                                                                            BURTON          MI   48529
BOBBY G TURPIN                                  190 TOM CRAWFORD RD                PO BOX 445                                               CRAW ORCHARD    KY   40419‐0445
BOBBY G VAUGHN                                  PO BOX 429                                                                                  GRAND BLANC     MI   48439‐0429
BOBBY G VOLNER                                  3766 JEFFREY COURT                                                                          ARNOLD          MO   63010‐3810
BOBBY GASTON                                    817 BOOKER ST                                                                               GRIFFIN         GA   30224‐4101
BOBBY GOINS                                     81 SPRINGHILL LANE                                                                          BEDFORD         KY   40006‐8783
BOBBY H GULLEY                                  241 SPENCER HALE RD                                                                         MORRISTOWN      TN   37813‐3140
BOBBY H STARKEY JR                              5063 DURNHAM                                                                                WATERFORD       MI   48327‐3110
BOBBY H WILLIAMS                                RT 4 BOX 958                                                                                ALBANY          KY   42602‐9374
BOBBY HEAVENER                                  PO BOX 174                                                                                  QULIN           MO   63961‐0174
BOBBY J ADLER                                   4600 HOMESITE                                                                               ORION           MI   48329
BOBBY J ALEXANDER                               3419 S EVANSTON                                                                             INDEPENDENCE    MO   64052‐1040
BOBBY J ALLEN                                   175 GOLD DUST TRL                                                                           CARROLLTON      GA   30117‐7727
BOBBY J BRITT                                   170 WEST BAGLEY RD APT                                                                      BEREA           OH   44017‐1800
BOBBY J BROWN                                   241 S QUARRY ST                                                                             BAINBRIDGE      OH   45612‐9482
BOBBY J BROWN                                   BOX 124                                                                                     COVINGTON       TX   76636‐0124
BOBBY J CHAMBERS                                805 LUKER LN                                                                                SAPULPA         OK   74066‐6043
BOBBY J CHERRY & CORA S CHERRY JT TEN           1183 REESE ALEXANDER RD                                                                     UNION CITY      TN   38261‐8063
BOBBY J DAVIDSON JR                             1320 CLOVERDALE DR                                                                          HIXSON          TN   37343‐4421
BOBBY J DEATON                                  3174 S CENTER RD                                                                            BURTON          MI   48519‐1462
BOBBY J DOWELL                                  3457 WININGS AVE                                                                            INDIANAPOLIS    IN   46221‐2277
BOBBY J DOWELL & ELIZABETH J DOWELL JT TEN      3457 WININGS AVE                                                                            INDIANAPOLIS    IN   46221‐2277
BOBBY J DUNN                                    7379 N IRISH RD                                                                             OTISVILLE       MI   48463‐9417
BOBBY J EASLER                                  481 POWELL MILL ROAD                                                                        SPARTANBURG     SC   29301‐1548
BOBBY J FAUCETT                                 3025 N STATE ROAD 39 N                                                                      LEBANON         IN   46052‐8168
BOBBY J FOREMAN TR BOBBY J FOREMAN REV TRUST UA PO BOX 1623                                                                                 WEST SACRAMENTO CA   95691‐6623
11/15/99
BOBBY J GOOLSBY                                 21670 SUSSEX                                                                                OAK PARK       MI    48237‐2612
BOBBY J GORMAN                                  500 HCR 1443                                                                                BLUM           TX    76627‐3156
                                         09-50026-mg               Doc 7123-43     Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 459 of 850
Name                                          Address1                             Address2             Address3          Address4          City              State Zip

BOBBY J GRIMES                                3857 BAXTER RD                                                                                BAXTER            TN    38544‐4503
BOBBY J HAWKINS                               704 S FERREL DR                                                                               OLATHE            KS    66061‐4110
BOBBY J HOLLINGSHED                           181 MCLEAN ST                                                                                 HIGHLAND PARK     MI    48203‐3311
BOBBY J HOPPER                                9252 SAVANNA DR                                                                               SHREVEPORT        LA    71118‐3215
BOBBY J HUTTO                                 111 CR 591                                                                                    TRINITY           AL    35673‐4138
BOBBY J JOHNSON                               PO BOX 4168                                                                                   CHAPMANVILLE      WV    25508‐4168
BOBBY J KEENE                                 4090 CORDOVA DRIVE                                                                            MILAN             MI    48160‐9772
BOBBY J KEENE & GLENDA M KEENE JT TEN         4090 CORDOVA DR                                                                               MILAN             MI    48160‐9772
BOBBY J LAWRENCE                              972 PINE TRAIL                                                                                ROCHESTER HILLS   MI    48307‐5748
BOBBY J LEE & KAREN L LEE JT TEN              17306 E LAPASADA DR                                                                           FOUNTAIN HLS      AZ    85268
BOBBY J MANN                                  90 MANN RD                                                                                    HOLLOW ROCK       TN    38342‐2416
BOBBY J MATHES                                4920 LA CHENE CT                                                                              WARREN            MI    48092‐1926
BOBBY J MCDONALD                              123 FORD ST                                                                                   MONROE            GA    30655‐2340
BOBBY J MELTON                                1436 WESTCHESTER                                                                              WESTLAND          MI    48186‐5336
BOBBY J MITCHELL                              1952 GONDERT AVE                                                                              DAYTON            OH    45403‐3441
BOBBY J PATTERSON                             497 CAMBRIDGE AVENUE                                                                          BUFFALO           NY    14215‐3123
BOBBY J PIPPIN                                1341 JUNGERMANN RD                                                                            ARNOLD            MO    63010‐4266
BOBBY J RANDOLPH                              4445 BLANTON CHAPEL RD                                                                        MANCHESTER        TN    37355‐4125
BOBBY J RAY                                   11705 FRANCIS                                                                                 PLYMOUTH          MI    48170‐4411
BOBBY J RODERICK                              BOX 276                                                                                       ARCHER CITY       TX    76351‐0276
BOBBY J ROSS                                  1120 JOT EM DOWN RD                                                                           MORRIS CHAPLE     TN    38361‐4714
BOBBY J SAVAGE                                3050 GROVELAND RD                                                                             ORTONVILLE        MI    48462‐9007
BOBBY J SCALES                                6143 DAVIDBERGER ST                                                                           MT MORRIS         MI    48458‐2709
BOBBY J SELLS                                 128 MILL ST                                                                                   PRAIRIE HOME      MO    65068‐1000
BOBBY J SMITH                                 6453 ESCOE DR SW                                                                              LOGANVILLE        GA    30052‐4631
BOBBY J SMITH & MARY B SMITH JT TEN           6453 ESCOE DR S W                                                                             LOGANVILLE        GA    30052‐4631
BOBBY J THOMAS                                PO BOX 40153                                                                                  CHARLESTOWN       SC    29423‐0153
BOBBY J VINCENT                               5716 WALCOTT RD                                                                               PARAGOULD         AR    72450‐3336
BOBBY J WARD                                  6037 BEACON HILL                                                                              FLINT             MI    48506‐1652
BOBBY J WARREN                                77 HIGHWAY Y                                                                                  JONESBURG         MO    63351‐2705
BOBBY JOE COLLINS                             222 E PARKINS MILL RD                                                                         GREENVILLE        SC    29607‐3712
BOBBY JOE GRAY                                5447 CHERRY GLEN LN                                                                           DALLAS            TX    75232‐2001
BOBBY JOE HOHN                                814 W HEMPHILL RD                                                                             FLINT             MI    48507
BOBBY JOE MOSER CUST TARA ODELE MOSER UGMA NC 331 STEELCREST RD                                                                             GRAHAM            NC    27253‐9502

BOBBY K JONES & MELBA M JONES JT TEN           7808 MONTEREY AVE                                                                            CINCINNATI        OH    45236‐2312
BOBBY K PERKINS                                4723 CAPRICE DR                                                                              MIDDLETOWN        OH    45044‐7121
BOBBY K WHITMIRE                               5381 EDGAR RD                                                                                CLARKSTON         MI    48346‐1928
BOBBY KEITH PARKER                             PO BOX 3402                                                                                  LONGVIEW          TX    75606‐3402
BOBBY KNAUS                                    5054 STONESPRING CT                                                                          ANDERSON          IN    46012‐9713
BOBBY L ASKEW                                  4216 LANTANA DR                                                                              LEBANON           OH    45036‐4022
BOBBY L BAILEY                                 1811 MOUNTAIN CREEK CHURCH RD NW                                                             MONROE            GA    30656‐4867
BOBBY L BENTLEY                                3241 N RACEWAY RD                                                                            INDIANAPOLIS      IN    46234‐1645
BOBBY L BROOKS                                 1001 S BROCKWAY                                                                              OLATHE            KS    66061‐5223
BOBBY L DAVIS                                  310 E CHERRY                                                                                 ABBEVILLE         GA    31001‐1118
BOBBY L DEBORD                                 1301 LOWER BELLBROOK RD                                                                      XENIA             OH    45385‐7318
BOBBY L DOUGLAS                                995 LA SALLE AVE                                                                             WATERFORD         MI    48328‐3745
BOBBY L EASLEY                                 8500 PLACKER PL                                                                              OKLAHOMA CITY     OK    73159‐6245
BOBBY L FULLER                                 6030 KAY CT                                                                                  DAYTON            OH    45424‐5251
BOBBY L GARDNER                                48 WEST WINSPEAR AVE                                                                         BUFFALO           NY    14214‐1116
BOBBY L GARNER                                 14361 CHATEAU LANE                                                                           HUNTINGTN BCH     CA    92647‐2231
BOBBY L GIPSON                                 1640 CARLTON NE AV                                                                           GRAND RAPIDS      MI    49505‐5412
BOBBY L GRUBB & ROSEMARY GRUBB TR GRUBB LIVING RR 3 BOX 1920                                                                                CHECOTAH          OK    74426‐9512
TRUST UA 10/14/96
BOBBY L HOSLEY                                 25 SUNDROP CRT                                                                               COVINGTON         GA    30016‐7282
BOBBY L JOBE                                   1405 W EPLER                                                                                 INDIANAPOLIS      IN    46217‐5600
BOBBY L LEE                                    8810 LATITUDES DR                   APT 817                                                  INDIANAPOLIS      IN    46237‐8398
BOBBY L LUCEAR                                 PO BOX 554                                                                                   FORSYTH           GA    31029‐0554
BOBBY L LYONS                                  BOX 22                                                                                       BEECHMONT         KY    42323‐0022
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 460 of 850
Name                                           Address1                            Address2             Address3          Address4          City           State Zip

BOBBY L MALCOM                                 628 BRADFIELD DRIVE                                                                          TROTWOOD       OH    45426‐2502
BOBBY L MAYLE                                  3670 SCHOTTEN ROAD                                                                           HUBBARD        OH    44425‐8714
BOBBY L MCCOY                                  24755 ROSS DRIVE                                                                             REDFORD        MI    48239‐3342
BOBBY L MCELROY                                6614 BUG RUN RD                                                                              GEORGETOWN     OH    45121
BOBBY L MCGREEVY                               3065 CORONET CT                                                                              SPRING HILL    FL    34609‐3624
BOBBY L MODLIN                                 5454 SKI DRIVE                                                                               LOOGOOTEE      IN    47553‐5558
BOBBY L NEWBY                                  625 ALLCUTT                                                                                  BONNER SPGS    KS    66012‐1817
BOBBY L NICHOLSON JR                           264 MAR VISTA ROAD                                                                           BAY POINT      CA    94565
BOBBY L NORRIS                                 1619 ABE MARTIN DR                                                                           NORMAN         OK    73071‐7449
BOBBY L OHARA                                  169 COUNTY ROAD 506                                                                          NEWELL         AL    36270‐4831
BOBBY L PEARSON EX EST LOUIS PERALIA SR        11402 7TH ST                                                                                 SANTA FE       TX    77510
BOBBY L ROBINSON                               GENERAL DELIVERY                                                                             JENSEN BEACH   FL    34957‐9999
BOBBY L ROBINSON                               787 PARK                                                                                     LINCOLN PARK   MI    48146‐2658
BOBBY L RUSSELL                                3707 E CAROL LN                                                                              MOORESVILLE    IN    46158
BOBBY L SIMPSON                                129 IVY COURT                                                                                NEW TAZEWELL   TN    37825‐5399
BOBBY L SMITH                                  4187 BUENA VISTA AVE                                                                         MACON          GA    31206‐2646
BOBBY L SMITH                                  117 WEST DORIS DRIVE                                                                         FAIRBORN       OH    45324‐3621
BOBBY L STINSON                                13631 ANGOLA RD                                                                              SWANTON        OH    43558‐9155
BOBBY L TEEPLES                                G6164 WEST CARPENTER ROAD                                                                    FLUSHING       MI    48433
BOBBY L VEALEY                                 4208 RAY MAR CT                                                                              ONSTED         MI    49265‐9735
BOBBY L WILLIAMS                               29506 EAST RYAN ROAD                                                                         BLUE SPRINGS   MO    64014‐4318
BOBBY L WRIGHT                                 2219 AVENUE A                                                                                FLINT          MI    48505‐4309
BOBBY LEE ROBINSON                             GENERAL DELIVERY                                                                             JENSEN BEACH   FL    34957‐9999
BOBBY LEWIS HOWARD                             1260 US ROUTE 68 S                                                                           XENIA          OH    45385‐9739
BOBBY LOFTIS                                   2726 STATE ST                                                                                NEW CASTLE     IN    47362‐3464
BOBBY M GAMMONS                                19400 INDIAN DR                                                                              PARIS          MI    49338‐9781
BOBBY M GRANT & GERTRUDE I GRANT JT TEN        2929 S WATERFORD DR APT 218                                                                  SPOKANE        WA    99203‐4402
BOBBY M HENSON                                 1303 STONEYBROOK DRIVE                                                                       TUCKER         GA    30084‐1247
BOBBY M JAMES                                  1930 OLT RD                                                                                  DAYTON         OH    45418‐1744
BOBBY MADDEN                                   921 N LAWN AVE                                                                               HAMILTON       OH    45013‐4650
BOBBY MATHIS                                   2226 GLENSIDE AVE                                                                            CINCINNATI     OH    45212‐1142
BOBBY MILAM                                    5451 N EAST RIVER RD                APT 705                                                  CHICAGO        IL    60656‐1044
BOBBY N ADKINS                                 3448 WELLSTON PLACE                                                                          CINCINNATI     OH    45208‐2548
BOBBY N DAVIS                                  RT #3 4405 DINSMORE D                                                                        TIPP CITY      OH    45371‐9803
BOBBY N QUEEN                                  0940 PANNELL RD N E                                                                          MONROE         GA    30655‐6198
BOBBY ORR                                      284 US 158 BYPASS                                                                            HENDERSON      NC    27536
BOBBY OSTROSKY CUST CUST DAVID OSTROSKY UTMA   448 HARDING DR                                                                               SOUTH ORANGE   NJ    07079‐1319
NJ
BOBBY P LUCAS JR                               6100 MORNING GLORY PL                                                                        KNOXVILLE      TN    37912‐4549
BOBBY PENLAND                                  4640 HIGHWAY 124                                                                             HOSCHTON       GA    30548‐1705
BOBBY R ACOR                                   13447 WEST ARABIAN DR                                                                        HOMER GLEN     IL    60441‐8784
BOBBY R ALLEN                                  4251 STARDUST LANE                                                                           FT WORTH       TX    76119‐3118
BOBBY R BASSHAM                                6081 BYRON ROAD                                                                              SALEM          AR    72576‐9217
BOBBY R BROWN                                  1101 CLAIRE DRIVE                                                                            SPRING HILL    TN    37174‐7350
BOBBY R CAMPBELL                               3385 W WILSON ROAD                                                                           CLIO           MI    48420‐1929
BOBBY R CHAMBERLAIN                            1131 JEANETTE DR                                                                             DAYTON         OH    45432‐1601
BOBBY R CHAMLEE                                1428 LONDON                                                                                  LINCOLN PARK   MI    48146‐3355
BOBBY R DAVIDSON JR                            15 BONNIE AVE                                                                                BEL AIR        MD    21014‐5909
BOBBY R DICKERSON                              834 W 125TH STREET                                                                           LOS ANGELES    CA    90044‐3812
BOBBY R FOWLER                                 160 APPALACHEE CHURCH RD                                                                     AUBURN         GA    30011‐3621
BOBBY R GILLIARD                               19356 CHAPEL                                                                                 DETROIT        MI    48219‐1900
BOBBY R GIPSON                                 4630 KIRK RD                                                                                 YOUNGSTOWN     OH    44515‐5401
BOBBY R GOSSETT                                ROUTE 3                                                                                      CHRISMAN       IL    61924‐9803
BOBBY R HARPER                                 4551 N FAIRWAY DR                                                                            SHREVEPORT     LA    71109‐4909
BOBBY R HOWARD                                 318 WEST 5TH ST                                                                              MONROE         MI    48161‐2354
BOBBY R HUNTER & MRS PEGGY K HUNTER TEN COM    2229 BRASSFIELD ROAD                                                                         RALEIGH        NC    27614‐9696

BOBBY R JOHNSON                                2114 S 7TH AVE                                                                               MAYWOOD        IL    60153‐3223
BOBBY R LAWSON                                 10818 LUPINE LN                                                                              FORT WAYNE     IN    46804‐4974
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 461 of 850
Name                                             Address1                              Address2                   Address3    Address4          City              State Zip

BOBBY R LEWIS                                   1806 CASPIAN DRIVE                                                                              CULLEOKA          TN    38451
BOBBY R MCAFEE & FAYE T MCAFEE JT TEN           PO BOX 522                                                                                      CENTERVILLE       AL    35042‐0522
BOBBY R MOTEN                                   9 WESTON STREET                                                                                 METUCHEN          NJ    08840‐1736
BOBBY R MOULTRY                                 2515 W WEBSTER RD                                                                               ROYAL OAK         MI    48073‐3740
BOBBY R POTTER                                  427 MARTIN LUTHER KING BLVD                                                                     PONTIAC           MI    48342
BOBBY R ROBERTS JR                              7440 MAYO BLVD                                                                                  NEW ORLEANS       LA    70126‐2044
BOBBY R ROBERTSON                               3101 ABBEY ST                                                                                   ST CHARLES        MO    63301‐1003
BOBBY R STOUT                                   1755 AYNSLEY WAY                                                                                VERO BEACH        FL    32966‐8005
BOBBY R WEBB TR UA 04/10/1992 WEBB FAMILY TRUST 5104 SHAWNEE                                                                                    OGDEN             UT    84403

BOBBY R WHEATLEY                                 1915 BALDWIN AVE                      APT 323                                                  PONTIAC           MI    48340‐1176
BOBBY RAY                                        16495 COLLINSON AVE                                                                            EASTPOINTE        MI    48021‐3023
BOBBY RAY CLARK JR                               17887 N E 10                                                                                   CHOCTAW           OK    73020‐7973
BOBBY RAY HORTON                                 8027 BENSON RD                                                                                 MT MORRIS         MI    48458‐1403
BOBBY RAY NEAL                                   7816 W FRANKIE LN                                                                              YORKTOWN          IN    47396‐9004
BOBBY RICHMOND                                   18020 HUBBELL ST                                                                               DETROIT           MI    48235‐2709
BOBBY S BESS                                     2080 GEIGER RD                                                                                 IDA               MI    48140‐9761
BOBBY STAGGS                                     10 CR 4101                                                                                     MARIETTA          MS    38856‐6245
BOBBY STANLEY BRIDGES                            49 WREN CIRCLE                                                                                 CROSSVILLE        TN    38555‐5858
BOBBY STIFLE                                     15144 N 154TH LN                                                                               SURPRISE          AZ    85379
BOBBY T BRANNON                                  1079 S ALEXANDER CREEK RD                                                                      BOWLING GREEN     KY    42101‐8323
BOBBY T HALL                                     3454 HIGHLAND PINE DRIVE                                                                       DULUTH            GA    30096‐3713
BOBBY T HALL & MARGARET B HALL JT TEN            3454 HIGHLAND PINE DR                                                                          DULUTH            GA    30096‐3713
BOBBY T TOBIN                                    PO BOX 56661                                                                                   PHOENIX           AZ    85079‐6661
BOBBY TED NEWKIRK                                150 EAST HOME AVE                                                                              FLINT             MI    48505‐2714
BOBBY TUCKER CUST JOSHUA TUCKER UGMA SC          207 TREXLER AVE                                                                                DARLINGTON        SC    29532‐2235
BOBBY V SIZEMORE                                 3005 N BARR ST                                                                                 MUNCIE            IN    47303‐2027
BOBBY W ALLISON                                  2119 S JACKSON ST                                                                              JANESVILLE        WI    53546‐3226
BOBBY W ARMSTRONG                                5925 PERRY RD                                                                                  KNOXVILLE         TN    37914‐9507
BOBBY W GOBBELL & DOROTHY J GOBBELL JT TEN       2245 E ENCANTO                                                                                 MESA              AZ    85213‐5915
BOBBY W HAYS                                     2025 WANDA AVENUE                                                                              NORWOOD           OH    45212‐3011
BOBBY W HEATH                                    7163 S JENNINGS RD                                                                             SWARTZ CREEK      MI    48473‐8887
BOBBY W HOLLOWAY                                 6924 GRIGGS ST                                                                                 FOREST HLS        TX    76140‐1446
BOBBY W HUBBELL                                  PO BOX 353                                                                                     BEGGS             OK    74421‐0353
BOBBY W HYATT                                    6365 RIDGE RD                                                                                  HIRAM             GA    30141‐5857
BOBBY W JOLLIFF                                  1923 E 45TH ST                                                                                 ANDERSON          IN    46013‐2527
BOBBY W JONES                                    42 WOODCHUCK HILL RD                                                                           SAVANNAH          GA    31405‐8144
BOBBY W JONES & MOLLY A JONES JT TEN             7211 W DIVISION RD                                                                             BARGERSVILLE      IN    46106‐8984
BOBBY W MOORE                                    39988 TWENLOW DR                                                                               CLINTON TWP       MI    48038‐5711
BOBBY W SHEETS                                   3 CHANDELLE RD                                                                                 BALTIMORE         MD    21220‐3507
BOBBY W WALRAVEN                                 4208 S COTTAGE AVE                                                                             INDEPENDENCE      MO    64055‐4505
BOBBY W YORK                                     2960 FM 895                                                                                    COOPER            TX    75432‐6892
BOBBY WINER                                      1197 N SAND LAKE RD                                                                            NATIONAL CITY     MI    48748‐9614
BOBBYE ELLIOTT & SAM A ELLIOTT JT TEN            15038 W 146TH ST                                                                               OLATHE            KS    66062‐4882
BOBETTE M DINKINS                                16134 STRICKER AVE                                                                             EASTPOINTE        MI    48021‐3629
BOBIE E ANTHONY                                  509 LAFAYETTE AVE                     APT 7                                                    BUFFALO           NY    14222‐1315
BOBIE J SMITH & DOREEN A SMITH JT TEN            6058 HOWLAND DRIVE                                                                             SWARTZ CREEK      MI    48473‐8301
BOBIE L MINGE                                    5111 WEST WILSON ROAD                                                                          CLIO              MI    48420‐9461
BOBIEJEAN D LOTT                                 3944 SUNNYBROOK DR SE                                                                          WARREN            OH    44484‐4738
BOCCACCIO BOYER & MRS MYRTLE J BOYER JT TEN      26414 MEADOWBROOK WAY                                                                          LATHRUP VILLAGE   MI    48076‐4418

BODDIE MASON SEAY & FRANCES CROSBY SEAY JT TEN   687 DOGWOOD LAKE TRL                                                                           ALPHARETTA        GA    30004‐2328

BODEN O PORTWOOD & JANE E PORTWOOD TEN COM       26 WHITAKERS MILL                                                                              WILLIAMSBURG      VA    23185‐5534

BODIL C TVEDE                                    COUNTRY FAIR                          9812A 62ND TERRACE SOUTH                                 BOYNTON BEACH     FL    33437‐2821
BODIL G SODERBERG TR UA 03/27/92 BODIL G         702 HENNEPIN                                                                                   MARQUETTE         MI    49855‐5218
SODERBERG TRUST
BOGDAN D KONDEJ & OLGA H KONDEJ JT TEN           202 RAMBLER ST                                                                                 BRISTOL           CT    06010‐3326
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 462 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

BOGDAN KWIATKOWSKI                               14045 RIGA                                                                                     LIVONIA         MI    48154‐4676
BOGDAN T KANIEWSKI                               2525 N MONITOR AVE                                                                             CHICAGO         IL    60639‐2328
BOGIE K KIM                                      2593 PINE RIDGE                                                                                W BLOOMFIELD    MI    48324‐1956
BOGUMILA BRYLO                                   1949 COUNTRYSIDE DRIVE                                                                         AUSTINTOWN      OH    44515‐5574
BOGUSLAVA ZIMNY                                  32516 LANCASTER DR                                                                             WARREN          MI    48093‐6129
BOGUSLAW MASLACH                                 5711 PATTERSON                                                                                 TROY            MI    48098‐3927
BOGUSLAW R LOTKO                                 3853 SOBIESKI                                                                                  DETROIT         MI    48212‐2345
BOHDAN I PRYJMAK & NANCY L PRYJMAK JT TEN        41433 BAYHAVEN                                                                                 MOUNT CLEMENS   MI    48045
BOHDAN KOZAK                                     29744 CITY CENTER DR                  APT 3                                                    WARREN          MI    48093‐2423
BOHDAN L UKRAINEC JR                             1830 CHESHIRE LN                                                                               COMMERCE TWP    MI    48382‐5500
BOHDAN R MOSKALCZYN                              32924 INDIANA                                                                                  LIVONIA         MI    48150‐3767
BOHDAN T SZOROBURA                               2217 SHAMROCK LN                                                                               TROY            OH    45373‐2381
BOHDAN W KOMAR                                   1283 66TH ST                                                                                   EMERYVILLE      CA    94608‐1195
BOHDAN ZEREBECKYJ                                21 PLYMOUTH DR                                                                                 MARLTON         NJ    08053‐2938
BOHUSLAV GRAEBER & MRS JANE GRAEBER JT TEN       628 ORCHARD AVE                                                                                SANTA BARBARA   CA    93108‐1523

BOJICA B BOJICIC                                 7802 MICHIGAN AVE                                                                              DETROIT         MI    48210‐2121
BOLA MAJEKODUNMI                                 78 HAUSCH BLVD                                                                                 ROOSEVELT       NY    11575‐1513
BOLDEN E JAMES                                   744 GENEVA RD                                                                                  DAYTON          OH    45417‐1215
BOLEK J DOLINSKI                                 260 ABALONE RD                                                                                 VENICE          FL    34293‐5969
BOLESLAW BOGUN                                   12965 S SILVER FOX DRIVE                                                                       LEMONT          IL    60439‐8761
BOLESLAW CWIKLINSKI                              1749 HAYES                                                                                     MARNE           MI    49435‐9754
BOLESLAW STAFIEJ                                 39427 WINDSOME RD                                                                              NORTHVILLE      MI    48167‐3940
                                                                                                                                                TOWNSHI
BOLESLAW WASKIEWICZ                              434 BEVERLY ISLAND DR                                                                          WATERFORD       MI    48328‐3602
BOLESLAWA M KELLY                                3773 WEST 134 STREET                                                                           CLEVELAND       OH    44111‐3324
BOLESTAW KARWOWSKI                               30 SAWMILL RD                                                                                  PLYMOUTH        CT    06782‐2005
BOMA B ORLUMKPO                                  345 OAKHILL CT                                                                                 HOLLAND         OH    43528‐9747
BON O DENSON                                     45 BRACKEN CT                                                                                  HOWELL          NJ    07731‐5049
BONA PETREVSKI                                   2387 KINGS CROSS                                                                               SHELBY TWP      MI    48316‐1233
BONA PUCKETT & MRS SUE S PUCKETT JT TEN          PO BOX 2155                                                                                    TUCKER          GA    30085‐2155
BONA VAN BEEK & ROBERT J VAN BEEK JT TEN         21197 CUNNINGHAM                                                                               WARREN          MI    48091‐4602
BONANZA INVESTMENT CLUB A PARTNERSHIP            C/O EBENSBURG OIL & GAS CO            E HIGH ST                                                EBENSBURG       PA    15931
BOND TABER                                       42 RAVENS NEST LN                                                                              CAMERON         NC    28326‐6624
BONDY L STACY                                    12860 LUICK DR                                                                                 CHELSEA         MI    48118‐9543
BONETA R CAMPBELL                                P O BOX 631                                                                                    MONTESANO       WA    98563
BONI PHILIP MARTINEZ & MARGARET Y MARTINEZ JT    C/O PETER C MARTINEZ                  PO BOX 7250                                              TALLEYVILLE     DE    19803‐0250
TEN
BONIDA L SCHOENECKER                             9509 RIVERVIEW LANE                                                                            CALEDONIA       WI    53108‐9625
BONIFACIO C LUCAS & WILHELMINA M LUCAS JT TEN    5564 KATHERINE CT                                                                              SAGINAW         MI    48603‐3623

BONIRAE WOJTAS                                   8044 MCCREERY RD                                                                               CLEVELAND       OH    44147‐1328
BONITA A DAMBROWSKI                              660 KENDALL RD                                                                                 CHURCHVILLE     NY    14428‐9327
BONITA A DAMBROWSKI TR DIANA L DAMBROWSKI        660 KENDALL RD                                                                                 CHURCHVILLE     NY    14428‐9327
TRUST UA 07/07/98
BONITA A ELKIN                                   17 WOODHAVEN DR                                                                                NEW CITY        NY    10956‐4438
BONITA A SHERMAN                                 BOX 236                                                                                        NEW MARKET      MD    21774
BONITA B LEWIS                                   5604 COLUMBUS AVE                                                                              ANDERSON        IN    46013‐3014
BONITA C MCCARTHY TR UNDER DECLARATION OF        6031 W 130TH PLACE                                                                             PALOS HEIGHTS   IL    60463‐2617
TRUST 08/15/93
BONITA CHIU                                      460 QUEENS QUAY W APT 603E            TORONTO ON                             M5V 2Y4 CANADA
BONITA D BAUMGRAS                                902 S MICHIGAN                                                                                 OWOSSO          MI    48867‐4417
BONITA D GORDON                                  37752 MYRNA                                                                                    LIVONIA         MI    48154‐1419
BONITA D HELFINSTINE                             1021 BURNELL DR                                                                                BEREA           KY    40403‐9040
BONITA FITTERY WOLGEMUTH                         505 WEDGEWOOD DRIVE                                                                            LEBANON         PA    17042
BONITA G RABE TR BARRY LIPSITZ GRANDCHILDREN     1807 MARCHER CRT                                                                               STREET          MD    21154‐1100
TRUST UA 07/01/91
BONITA G ROWLAND                                 1066 KENMORE AVE SOUTH EAST                                                                    WARREN          OH    44484‐4352
BONITA G TOTH                                    2193 BURBANK AVE                                                                               YOUNGSTOWN      OH    44509‐1525
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 463 of 850
Name                                            Address1                             Address2              Address3         Address4          City               State Zip

BONITA J DORSEY                                 155 GENTLE DOE DR                                                                             FAYETTEVILLE       GA    30214‐3672
BONITA J RUSSELL                                8324 18 MILE RD 103                                                                           STERLING HEIGHTS   MI    48313‐3026

BONITA JOYCE VESPIE                               314 W SPRING VALLEY PI             APT FC                                                   DAYTON             OH    45458‐3610
BONITA K VALENTINE & JAMES M VALETINE JT TEN      6395 E POTTER RD                                                                            DAVISON            MI    48423‐9566
BONITA K VALENTINE & SCOTT MAEDER & BRADLEY       6395 E POTTER RD                                                                            DAVISON            MI    48423‐9566
MAEDER JT TEN
BONITA L BELL                                     811 GILBERT HWY                                                                             FAIRFIELD          CT    06824‐1646
BONITA L MCCARLEY                                 609 E LOGAN ST                                                                              TECUMSEH           MI    49286‐1526
BONITA L TWARDOKUS                                141 BLUE RIDGE AV                                                                           CHESTER GAP        VA    22623‐2022
BONITA M CHRYSLER                                 7327 BRAMELL                                                                                DETROIT            MI    48239‐1088
BONITA M EWERT TR REVOCABLE TRUST 03/21/91 U‐A F‐ SOUTH 69 WEST14142 TESS CORNERS    APT 218                                                  MUSKEGO            WI    53150‐8167
B‐O BONITA M EWERT
BONITA M HILL                                     1149 BINGHAM N W                                                                            WARREN             OH    44485‐2415
BONITA M ILLIG                                    5607 LEETE ROAD                                                                             LOCKPORT           NY    14094‐1207
BONITA M SHERIDAN                                 1019 SIXTH STREET                                                                           CRESSON            PA    16630‐1018
BONITA MAE BRECKENRIDGE                           1032 24TH AVENUE N                                                                          SAINT CLOUD        MN    56303‐2520
BONITA MARIE KNAPP                                7465 OLIVETAS AVE                  APT 209                                                  LA JOLLA           CA    92037‐4936
BONITA POGANY CUST DAVID HOLLIDAY UTMA SD         1612 FLORMANN STREET                                                                        RAPID CITY         SD    57701‐4446
BONITA S BECCUE                                   4894 SUNSET DR                                                                              LOCKPORT           NY    14094‐1816
BONITA S KARLIN EX EST E GARY WIDEN               1829 WEDGEWOOD LN                                                                           SCHAUMBURG         IL    60193
BONITA S MORRISON                                 22 PLUMBRIDGE LANE                                                                          HILTON HEAD        SC    29928‐3360
                                                                                                                                              ISLAND
BONITA S WATKINS                                 2925 N ELGIN ST                                                                              MUNCIE             IN    47303‐2349
BONITA SNYDER                                    9339 BRACKSON BLVD                                                                           WHITE LAKE         MI    48386‐3909
BONITA SQUIRE CUST PATRICK SQUIRE TURPIN UTMA IL 623 WEST ELK ST                                                                              GENESEO            IL    61254‐1022

BONITA T MORRISON                                 2450 WAYNEWOOD DR NE                                                                        FOWLER             OH    44418‐9748
BONNA H ZION                                      3746 MULBERRY PIKE                                                                          EMINENCE           KY    40019‐7510
BONNA L WILLIS TR BONNA L WILLIS REVOCABLE LIVING 3578 E MICHIGAN AVE                                                                         AU GRES            MI    48703‐9627
TRUST UA 01/28/00
BONNA SUE WEENE                                   107 MILLER POND ROAD                                                                        THETFORD CENTER    VT    05075‐8830

BONNAR SPRING                                   PO BOX 372                                                                                    HAMPTON FALLS      NH    03844‐0372
BONNI RENEE LUDOWITZ                            4555 GREENBUSH AVE                                                                            SHERMAN OAKS       CA    91423‐3111
BONNIE A ARCHEY                                 PO BOX 2758                                                                                   ANDERSON           IN    46018‐2758
BONNIE A BRADY & CHRISTOPHER M BRADY JT TEN     30 DOUGLAS ST                                                                                 SAYREVILLE         NJ    08872‐1620

BONNIE A CARLONI                                6311 ARMOR RD                                                                                 ORCHARD PARK       NY    14127
BONNIE A WURTZ                                  115 BROOKLEA DR                                                                               ROCHESTER          NY    14624‐2703
BONNIE ABBOTT                                   1910 WILLOUGHBY                                                                               MASON              MI    48854‐9461
BONNIE ABEAR SWIGERT                            38963 LAKESHORE DR                                                                            HARRISON TWP       MI    48045‐2876
BONNIE ANN EULER                                ATTN BONNIE EULER BELSINGER          10124 BRACKEN DRIVE                                      ELLICOTT CITY      MD    21042‐1673
BONNIE ANN SMITH                                3740 N MARTIN ST                                                                              RADISSON           WI    54867‐7001
BONNIE B BUSH                                   PO BOX 638                                                                                    PIKEVILLE          TN    37367‐0638
BONNIE B BUSH                                   13399 N JENNINGS RD                                                                           CLIO               MI    48420‐8854
BONNIE B BUSICK                                 4572 N PARK                                                                                   WARREN             OH    44483‐1538
BONNIE B DAMKROGER TR BONNIE B DAMKROGER        9361 NESBITT                                                                                  BLOOMINGTON        MN    55437‐1916
TRUST UA 04/27/93
BONNIE B FOX                                    3063 CANDLESTICK LN                                                                           BAY CITY           MI    48706
BONNIE B KITCHEN & JOHN R KITCHEN JT TEN        28690 JEFFERSON                                                                               ST CLAIR SHORES    MI    48081‐2575
BONNIE B PALASEK                                90 LYNN DR                                                                                    MANSFIELD          OH    44906‐2341
BONNIE B SALE                                   175 MC GUIRE RD                                                                               ROCHESTER          NY    14616‐2332
BONNIE B TOVEY                                  4032 MCCLATCHEY CIRCLE                                                                        ATLANTA            GA    30342‐3412
BONNIE B WAITS & FRED K WAITS JT TEN            945 CLEVELAND ST                                                                              PULASKI            TN    38478‐4442
BONNIE B WOOLER                                 3330 TOD AVE NW                                                                               WARREN             OH    44485‐1359
BONNIE BEASLEY JAY                              903 ROLLING MEADOWS CT                                                                        ALLEN              TX    75013‐5467
BONNIE BERMAN GROSSMAN                          APT 6KK                              85 4TH AVE                                               NEW YORK           NY    10003‐5217
BONNIE BERRY                                    2434 DELYS ST                                                                                 COCOA              FL    32926‐5349
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 464 of 850
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

BONNIE BOCHERT                                    9216 KRISTIN LN                                                                                FAIRFAX         VA     22032‐1811
BONNIE BRACE                                      137 BROOKEDGE DR                                                                               BUFFALO         NY     14221‐4473
BONNIE C ARMIJO                                   1148 LAWTON ST                                                                                 REDLANDS        CA     92374‐3021
BONNIE C BAKER                                    1748 CENTRAL PARK                                                                              OREFIELD        PA     18069‐8907
BONNIE C KOLINEK                                  503 LAKE DR                                                                                    CHINA SPRING    TX     76633‐2631
BONNIE C PHILLIPS                                 1083 BOOT COVE RD                                                                              LUBEC           ME     04652
BONNIE C TATUM                                    6570 ROCKY FORK RD                                                                             SMYRNA          TN     37167‐6121
BONNIE CAMPBELL                                   6643 WILLOW BREAK DR                                                                           MEMPHIS         TN     38135
BONNIE CORONA                                     192 E 157TH ST                                                                                 HARVEY          IL     60426‐3764
BONNIE D BORROWS                                  C/O BONNIE D SIMON                    PO BOX 2102                                              FORT WALTON     FL     32549‐2102
                                                                                                                                                 BEACH
BONNIE D CONLEY                                   5141 LA FIESTA DR NE                                                                           ALBUQUERQUE     NM     87109‐2509
BONNIE D COULSTON                                 3367 A CRYSTAL CRT E                                                                           PALM HARBOR     FL     34685‐1240
BONNIE D HAMMAKER                                 260 KIRKWOOD RD                                                                                ROCHESTER       NY     14612‐1807
BONNIE D KENDRICK                                 2809 GENERAL MANEY CRT                                                                         LA VERGNE       TN     37086
BONNIE D KRAPE                                    649 N BRENNAN RD                                                                               HEMLOCK         MI     48626‐9638
BONNIE D MARTIN                                   1728 SUN VALLEY DR                                                                             BELOIT          WI     53511‐3242
BONNIE D POSKEY CUST THOMAS J KONING UGMA MI      101 YARROW CT                                                                                  ROLLING MEADOWS IL     60008‐2256

BONNIE DIANE TRACH                             274 VALLEY ST                                                                                     SAN FRANCISCO    CA    94131‐2370
BONNIE DILLING CUST DAULTON DILLING UTMA       4126 PLANK RD                                                                                     HOPEWELL         PA    16650
BONNIE DILLON                                  29436 HAWLEY RD                                                                                   SULLIVAN         OH    44880‐9602
BONNIE DRAEGER PIERCE                          3618 JENSON LANE                                                                                  DEERFIELD        WI    53531‐9702
BONNIE E EYRE                                  2525 N ST                                                                                         LOGANSPORT       IN    46947‐1621
BONNIE E GREEK                                 4870 NEWBERN‐ROELLEN RD                                                                           NEWBERN          TN    38059
BONNIE E HAWKINS                               3215 W MOUNT HOPE AVE                    APT 126                                                  LANSING          MI    48911‐1275
BONNIE E PORTER & AMY PORTER MCCULLOUGH JT TEN 2072 GUTHRIE RD                                                                                   BEDFORD          IN    47421‐6920

BONNIE E SEBERA & STEPHEN B MURRAY JT TEN         1162 N ARCADIA AVE                                                                             TUCSON           AZ    85712‐4702
BONNIE E STELZEL                                  3123 ELIZABETH ST                                                                              INDIANAPOLIS     IN    46234‐1618
BONNIE E THOMPSON                                 9 GRANT ST                                                                                     COVINGTON        OH    45318
BONNIE E WOLODARSKY                               ATTN R NYMAN                          88 HEMING WAY                                            STAMFORD         CT    06903‐1135
BONNIE E WOODHAM                                  ATTN BONNIE LE VERT                   6799 LIGHTSEY RD                                         CENTERVILLE      AL    35042‐6077
BONNIE EASTMAN CUST GREGORY EASTMAN UTMA IL       8601 LILLIBET TER                                                                              MORTON GROVE     IL    60053‐3123

BONNIE ERNST                                      2822 PEDIGO PL                                                                                 THOMPSONS        TN    37179‐9268
                                                                                                                                                 STATION
BONNIE F MCBEE                                    2095 S PARENT ST                                                                               WESTLAND         MI    48186‐4254
BONNIE F REES                                     16 PLYMOUTH PL                                                                                 WYOMISSING       PA    19610‐2645
BONNIE F SPENCE                                   1656 18TH STREET                                                                               WYANDOTTE        MI    48192‐3506
BONNIE FRANKEL                                    7596 BRIGHAM RD                                                                                GATES MILLS      OH    44040‐9782
BONNIE G BINDSCHATEL                              508 CHAMBERLAIN ST                    APT 13                                                   FLUSHING         MI    48433‐1661
BONNIE G DERISLEY                                 402 HERMITAGE CT                                                                               FRANKLIN         TN    37067‐5812
BONNIE G DUKE                                     PO BOX 37                                                                                      TEHUACANA        TX    76686‐0037
BONNIE G FLICKINGER                               31 NOTTINGHAM TERRACE                                                                          BUFFALO          NY    14216‐3619
BONNIE G GANCARZ                                  6089 STORM RD                                                                                  LADINGTON        MI    49431‐9661
BONNIE G MORROW                                   19 COUNTRY LIFE                                                                                OFALLON          MO    63366‐2709
BONNIE GOINS                                      804 BETHANY RD                                                                                 REIDSVILLE       NC    27320‐7469
BONNIE H BOGER                                    941 EARL OF CHATHAM LANE                                                                       VIRGINIA BEACH   VA    23454‐2904
BONNIE H MORTON                                   456 GREGORY AVE                                                                                NEW LEBANON      OH    45345‐1508
BONNIE H PERCIVAL CUST SCOTT B PERCIVAL UGMA IA   13731 HICKMAN RD                                                                               URBANDALE        IA    50323‐2193

BONNIE HAKIM                                      1975 E 24TH ST                                                                                 BROOKLYN         NY    11229‐2419
BONNIE HEIDE GDN BRENNAN HEIDE                    PO BOX 1826                           332 KING AVE         KILLARNEY MB      R0K 1G0 CANADA
BONNIE HELMS & DON HELMS JT TEN                   814 NORTH 7TH                                                                                  BELLEVUE         IA    52031‐9321
BONNIE I BOGGS                                    105 W EUCLID                                                                                   STOCKTON         CA    95204‐3122
BONNIE I EDENS                                    722 N ROYAL CREST CIRCLE                                                                       LAS VEGAS        NV    89109‐3891
BONNIE I HEFLIN                                   2207 MOHR DR                                                                                   KOKOMO           IN    46902‐2511
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 465 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

BONNIE I PHILLIPS TOD RICHARD L FOLK SUBJECT TO STA 12147 GLADSTONE RD SW                                                                         WARREN            OH    44481
TOD RULES
BONNIE J ADAMS                                      4036 HIGHWAY 31 W                                                                             COTTONTOWN        TN    37048‐4848
BONNIE J BATWAY                                     PO BOX 105                                                                                    MIKADO            MI    48745‐0105
BONNIE J BLADES                                     23 WOODBURN CIR                                                                               DOVER             DE    19904‐4368
BONNIE J BLISS                                      921 S CO RD 400 E                                                                             KOKOMO            IN    46902
BONNIE J BRAWLEY                                    3433 FOXBOROUGH CR                                                                            ST CHARLES        MO    63301‐4104
BONNIE J BRITT                                      1348 US ROUTE 224                                                                             NEW LONDON        OH    44851‐9468
BONNIE J BUTLER                                     5501 BRANCH ROAD                                                                              FLINT             MI    48506‐1304
BONNIE J CARLEY                                     13018 E C AVE                                                                                 HICKORY CORNERS   MI    49060‐9509

BONNIE J CLARK                                    PO BOX 172                                                                                      WATERPORT       NY      14571‐0172
BONNIE J CLEVELAND                                1305 CAMBRON DR                                                                                 VALRICO         FL      33594‐5613
BONNIE J CORREA                                   35570 MORLEY PL                                                                                 FREMONT         CA      94536‐3327
BONNIE J CRANE                                    2437 E RIDGE RD                                                                                 ROCHESTER       NY      14622‐2746
BONNIE J CUMMINGS                                 5225 SOUTH BROADMOOR ST                                                                         JACKSON         MI      49201
BONNIE J DIERICH                                  182 BACON                                                                                       SAGINAW         MI      48609‐5130
BONNIE J FELDMAN                                  13216 PARK LANE                                                                                 FORT WASHINGTON MD      20744‐6513

BONNIE J FISHER                                   140 MAINBRACE DR                                                                                QUEENSTOWN        MD    21658‐1230
BONNIE J FLETCHER & RONALD S PERRIN & ROBERT E    3505 WAVERLY HILLS RD                                                                           LANSING           MI    48917
PERRIN TR UA 10/17/00
BONNIE J FORET                                    1212 MORNINGSTAR DRIVE                                                                          ESSEXVILLE        MI    48732‐1500
BONNIE J GEAR                                     749 CAMPBELL ST                                                                                 FLINT             MI    48507‐2422
BONNIE J GORDON                                   206 E HAMMOND ST                                                                                DURHAM            NC    27704‐4304
BONNIE J GREENE                                   14965 STATE HIGHWAY DD                                                                          CAMPBELL          MO    63933
BONNIE J HEAVENER                                 551 CR 545                                                                                      RIPLEY            MS    38663‐8849
BONNIE J HEHRER                                   2A BLOSSOM DR                                                                                   NORWALK           OH    44857‐2614
BONNIE J LAUSTED TR BONNIE J LAUSTED TRUST UA     956 MOORE DR                                                                                    CHELSEA           MI    48118‐1360
6/02/04
BONNIE J LE MAY                                   5003 BULYEA ROAD N W                   CALGARY AB                             T2L 2H7 CANADA
BONNIE J MATHIS                                   2600 KILGORE ROAD                                                                               BUFORD            GA    30519‐4441
BONNIE J MCFARLAND & DAVID L MCFARLAND JT TEN     10404 GREENBRIAR RD                                                                             MADISONVILLE      TX    77864‐4290

BONNIE J METTIE                                   12120 LANDERS DR                                                                                PLYMOUTH          MI    48170‐3521
BONNIE J MOCEK                                    PO BOX 7471                                                                                     LAS VEGAS         NV    89125‐2471
BONNIE J MOCEK & JOHN D MOCEK JT TEN              PO BOX 7471                                                                                     LAS VEGAS         NV    89125‐2471
BONNIE J MURPHY & WILLIAM J MURPHY JT TEN         19151 SE 135TH COURT                                                                            DUNNELLON         FL    34431‐8842
BONNIE J NICHOLSON                                1036 TONI DR                                                                                    DAVISON           MI    48423‐2800
BONNIE J PIGONI                                   C/O BONNIE J TAYLOR                    1806 CRANDON                                             SCHAUMBURG        IL    60193‐2421
BONNIE J PONS                                     110 PEMBERTON PLACE                                                                             WEST NEWTON       PA    15089‐1000
BONNIE J RAWLINGS                                 5408 E CO RD 500 S                                                                              KOKOMO            IN    46901
BONNIE J READ                                     5381 E COLORADO AVE                                                                             DENVER            CO    80222‐3903
BONNIE J ROOT CUST JENNIFER S ROOT UGMA NY        180 PINE VISTA DR                                                                               PINEHURST         NC    28374‐9200
BONNIE J SCHMIT                                   4024 COUNTY RD 55                                                                               BELEFONTAINE      OH    43311‐9225
BONNIE J SINNOCK                                  60 E 9TH ST #616                                                                                NEW YORK CITY     NY    10003‐6452
BONNIE J SMITH                                    2804 FIRST ST                                                                                   WAYCAND           MI    49348‐9409
BONNIE J SNYDER                                   15 MCINTOSH DRIVE                                                                               LOCKPORT          NY    14094‐5012
BONNIE J TANASE                                   16207 WETHERBY                                                                                  BIRMINGHAM        MI    48025‐5560
BONNIE J TERRY                                    25 WARDER ST                                                                                    DAYTON            OH    45405‐4306
BONNIE J TURA                                     23380 SPY GLASS HILL N                                                                          SOUTH LYON        MI    48178‐9448
BONNIE J WACKLER                                  11598 HIGHLAND HILLS DRIVE                                                                      HILLSBORO         OH    45133‐9370
BONNIE J WALTHER & DONALD J WALTHER JT TEN        BOX 317                                                                                         BIRCH RUN         MI    48415‐0317
BONNIE J WILLIAMS                                 PO BOX 22676                                                                                    INDIANAPOLIS      IN    46222‐0676
BONNIE J WISCHMEYER                               PO BOX 80932                                                                                    LANSING           MI    48908
BONNIE J WORDEN                                   3913 MAES ROAD                                                                                  WEST BRANCH       MI    48661‐9691
BONNIE J WRIGHT & JOHN L WRIGHT JT TEN            3326 WINDBREAK COURT                                                                            SAN DIEGO         CA    92130‐1820
BONNIE JANE STROOCK                               254 LOCH LOMOND                                                                                 RANCHO MIRAGE     CA    92270‐5603
BONNIE JEAN BECKER                                9152 SE RETREAT DR                                                                              HOBE SOUND        FL    33455‐8961
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 466 of 850
Name                                           Address1                            Address2             Address3          Address4          City              State Zip

BONNIE JEAN GAMBILL                            PO BOX 205                          213 N RAILROAD                                           MILROY            IN    46156
BONNIE JEANNE BREWER                           4002 CALLE SONORA UNIT 3A                                                                    LAGUANA WOODS     CA    92653‐3258

BONNIE JILL SARAB                             144 CULEBRA LN                                                                                MOSS BEACH        CA    94038‐9767
BONNIE JO ANN PRINGLE CUST BRANDON M DROCHNER PO BOX 3337                                                                                   CHULA VISTA       CA    91909‐3337
UTMA CA
BONNIE JO ANN PRINGLE CUST BRITTANY RENEE     PO BOX 3337                                                                                   CHULA VISTA       CA    91909‐3337
EVENSON UTMA CA
BONNIE JO BAUMGARTNER                         13842 ADAMS                                                                                   WARREN            MI    48093‐1427
BONNIE JONES & PAUL E FRIEND EX UW CHARLES H  97 N SOUTH ST                                                                                 WILMINGTON        OH    45177‐1644
FRIEND
BONNIE JOUARD & STEPHEN JOUARD JT TEN         2717 MORNING GLORY RD                                                                         FT COLLINS        CO    80526‐5270
BONNIE K BURGER & GORDON E BAUM JT TEN        2206 CALVERT ST                                                                               ADELPHI           MD    20783‐2858
BONNIE K CHAMPION                             6962 W ROWEL RD                                                                               PEORIA            AZ    85383‐7041
BONNIE K CRAIG                                3262 W QUIMBY RD                                                                              HASTINGS          MI    49058‐8692
BONNIE K DAVIS                                1237 COURTRIGHT                                                                               ANAHEIM           CA    92804‐4809
BONNIE K DOWD                                 C/O B FERRAI                         4214 SKYMONT DR                                          BELMONT           CA    94002‐1255
BONNIE K FISCHER                              3421 REMEMBERANCE N W                                                                         WALKER            MI    49544‐2205
BONNIE K FORREST                              C/O CORBETT                          31 BLANDFORD LANE                                        FAIRPORT          NY    14450‐3107
BONNIE K GREENWOOD                            ATTN BONNIE K MYS                    2132 84TH ST                                             NEWAYGO           MI    49337‐9208
BONNIE K HEDGE                                38853 WINGATE DR                                                                              CLINTON TWP       MI    48038‐3247
BONNIE K JACKSON                              1408 MCLEAN AVE                                                                               BURTON            MI    48529‐1612
BONNIE K JODWAY                               31148 WINDSOR AVE                                                                             WESTLAND          MI    48185‐2973
BONNIE K LAMAR                                69 CHURCH ST                                                                                  MARTINSVILLE      IN    46151‐1324
BONNIE K PHILLIPS                             27 UNION ST                                                                                   ECORSE            MI    48229‐1726
BONNIE K VERY                                 2512 TRENTWOOD BLVD                                                                           ORLANDO           FL    32812‐4834
BONNIE KELECAVA                               13046 GLADSTONE RD                                                                            NORTH JACKSON     OH    44451
BONNIE KINNEY                                 950 COLUMBIA RD                                                                               HAMILTON          OH    45013‐3629
BONNIE KUSTNER & HAROLD R TAYLOR JT TEN       PO BOX 6075                                                                                   EVANSTON          IL    60204‐6075
BONNIE L BAUER                                2901 W FLEETWOOD LANE                                                                         PHOENIX           AZ    85017‐1114
BONNIE L BERINGER                             2808 NORTH LEXINGTON STREET                                                                   ARLINGTON         VA    22207‐1464
BONNIE L BIRKE                                9233 W SILVER LAKE RD                                                                         MEARS             MI    49436‐9643
BONNIE L BLOOMQUIST TR BLOOMQUIST TRUST UA    11318 GLANBROOK CIRCLE                                                                        PLAINFIELD        IL    60585
09/26/00
BONNIE L BOELKOW                              9217 LIMA CENTER ROAD                                                                         WHITEWATER        WI    53190‐3229
BONNIE L BOWMAN & CHARLES E BOWMAN JT TEN     4781 HAPLIN DRIVE                                                                             DAYTON            OH    45439‐2955

BONNIE L BRITTINGHAM                            1121 SOUTHWEST 19TH AVE                                                                     BOCA RATON        FL    33486‐8508
BONNIE L BUFFHAM                                45 CLINE DR                                                                                 MASSENA           NY    13662‐3133
BONNIE L BURFORD                                308 LINGER LANE                                                                             SUN CITY CENTER   FL    33573‐6258
BONNIE L BURTON                                 24976 HUNTER LANE                                                                           FLAT ROCK         MI    48134‐1844
BONNIE L CLUVER                                 C/O BONNIE ARNSON                  412 WILSON AVE                                           JANESVILLE        WI    53545‐5125
BONNIE L COLLINS                                1031 EDGEMERE CT                   #1                                                       COPLEY            OH    44321‐1686
BONNIE L DAYMUT                                 15060 ALBION ROAD                                                                           STRONGSVILLE      OH    44136‐3640
BONNIE L ESTERLINE                              8631 BYERS RD                                                                               MIAMISBURG        OH    45342‐3727
BONNIE L GIAMMARCO & GERALD J GIAMMARCO &       4150 EVANS ROAD                                                                             HOLLY             MI    48442‐9467
STEPHANIE L GIAMMARCO JT TEN
BONNIE L GRANNER                                6665 CHERBOURG CIRCLE                                                                       INDPLS            IN    46220‐6015
BONNIE L HAFFAJEE CUST ADAM MUSA HAFFAJEE       12544 CUSEWAGO BEACH ST                                                                     FENTON            MI    48430‐1106
UGMA MI
BONNIE L HAFFAJEE CUST AMEENA LEE HAFFAJEE UGMA 1506 CUSSEWAGO                                                                              FENTON            MI    48430‐1106
MI
BONNIE L JACKSON                                3026 ROSETTA BLVD                                                                           NEWTON FALLS      OH    44444
BONNIE L JANKOWSKI                              10516 HOGAN                                                                                 SWARTZ CREEK      MI    48473‐9119
BONNIE L JOHNSON                                8573 N BLACK OAK DR                                                                         EDGERTON          WI    53534‐8604
BONNIE L JOHNSON                                2945 BONN                                                                                   WICHITA           KS    67217‐1922
BONNIE L JOHNSON & BONNIE L JOHNSON JT TEN      2945 BONN                                                                                   WICHITA           KS    67217‐1922
BONNIE L JOHNSON & LEWIS A JOHNSON JT TEN       2945 BONN                                                                                   WICHITA           KS    67217‐1922
BONNIE L KELLY                                  61 E PARKWOOD DRIVE                                                                         DAYTON            OH    45405‐3424
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 467 of 850
Name                                             Address1                             Address2              Address3         Address4          City               State Zip

BONNIE L KUPEC                                   41061 MILLER RD                                                                               LEETONIA           OH    44431‐9664
BONNIE L LAMROUEX & WAYNE L LAMROUEX JT TEN      37425 DERBYSHIRE DR                                                                           ZEPHYRHILLS        FL    33542‐7003

BONNIE L LINDBERG & LATACHA DAVIS JT TEN         PO BOX 5619                                                                                   ENDICOTT           NY    13763
BONNIE L LOMBARDO                                BOX 673                                                                                       CASPER             WY    82602‐0673
BONNIE L LUTENER                                 6985 CTY RD 338                                                                               PALMYRA            MO    63461
BONNIE L MALLETT                                 ATTN BONNIE L HUFF                   PO BOX 1065                                              BOURBON            MO    65441‐1065
BONNIE L MARTIN                                  5032 MARY SUE                                                                                 CLARKSTON          MI    48346‐3920
BONNIE L MAYNARD                                 301 CONKEY DRIVE                                                                              FENWICK            MI    48834‐9681
BONNIE L MERRELL                                 PO BOX 90847                                                                                  RALEIGH            NC    27675‐0847
BONNIE L MERRITT                                 3754 EDGEWOOD DR                                                                              GOWANDA            NY    14070‐9775
BONNIE L METZ                                    1203 RIVER POINTE DR                                                                          ALBANY             GA    31701‐4769
BONNIE L MEYER TR UA DTD 05/25/2000 BONNIE L     4525 WOODLAND AVENUE                                                                          WESTERN SPRGS      IL    60558
MEYER TRUST
BONNIE L MEYERS                                  ATTN BONNIE CAPPELLANO               515 N WALNUT                                             MANTENO            IL    60950‐1132
BONNIE L MOFFETT                                 1781 W FENWICK RD                                                                             FENWICK            MI    48834‐9504
BONNIE L MORAIS                                  13 HANCOCK ST                                                                                 MILFORD            MA    01757‐2213
BONNIE L MUELLER                                 59 MILLBROOK DR                                                                               TOMS RIVER         NJ    08757‐5812
BONNIE L NORTHAM                                 2353 CHARITY LN                                                                               HAZELGREEN         AL    35750‐9023
BONNIE L ODA                                     1109 XENIA AVE                                                                                YELLOW SPRINGS     OH    45387‐1102
BONNIE L PAYTON                                  12294 RIDGESIDE RD                                                                            INDIANAPOLIS       IN    46256‐9401
BONNIE L PHILLIPS                                13085 CHURCHILL DR                                                                            STERLING HGTS      MI    48313‐1918
BONNIE L PICERNO                                 ATTN BONNE L WALLACE                 119 CREPE MYRTLE DR                                      GROVELAND          FL    34736
BONNIE L PIECERNO                                ATTN BONNIE L WALLACE                119 CREPE MYRTLE DR                                      GROVELAND          FL    34736
BONNIE L REECK                                   4461 EDGEWOOD                                                                                 DEARBORN HTS       MI    48125‐3227
BONNIE L RET                                     7692 OVERGLEN DR                                                                              WEST CHESTER       OH    45069‐9214
BONNIE L ROBEL                                   11789 FOREST HILL RD                                                                          EAGLE              MI    48822‐9722
BONNIE L SACHSE                                  20008 M‐60                                                                                    THREE RIVERS       MI    49093‐9094
BONNIE L SAMMMONS                                206 ARBUSTUS AVE                                                                              SEAFORD            DE    19973‐1314
BONNIE L SILLS                                   3253 FANCHER RD                                                                               ALBION             NY    14411‐9736
BONNIE L ST JAMES                                14545 TUSCOLA RD                                                                              CLIO               MI    48420‐8850
BONNIE L STAPLETON                               10395 STATE ROUTE 73                                                                          NEW VIENNA         OH    45159‐9650
BONNIE L THOMAS & THOMAS J THOMAS JT TEN         47270 FORTON                                                                                  CHESTERFIELD TWP   MI    48047‐3444

BONNIE L TOBIN                                  4726 WAYCROSS ST                                                                               HOUSTON            TX    77035‐3726
BONNIE L TRAUT                                  101 PEAVEY LN #103                                                                             WAYZATA            MN    55391‐1535
BONNIE L VAN DECAR                              1393 OAKCREST RD                                                                               HOWELL             MI    48843‐8431
BONNIE L WEGENER                                201 DAVIS STREET                      PO BOX 202                                               STOTTS CITY        MO    65756‐0202
BONNIE L WILLIAMSON                             5473 WESTCHESTER DR                                                                            FLINT              MI    48532‐4054
BONNIE L WOODBURY                               7929 DITCH RD                                                                                  CHESANING          MI    48616‐9783
BONNIE LARONDE                                  3215 EDISON                                                                                    TRENTON            MI    48183‐3647
BONNIE LARRIVEE                                 351 FARMINGTON AVE                                                                             BRISTOL            CT    06010‐3901
BONNIE LASSILA                                  2250 JASPER WAY NW                                                                             SALEM              OR    97304‐4333
BONNIE LEE BUZICK                               6533 N VAN NESS BLVD                                                                           FRESNO             CA    93711‐1247
BONNIE LEE DUFFNER & BERNARD ANTHONY DUFFNER 421 WIDEMAN RD                                                                                    DESOTO             MO    63020‐1083
TR UW BERNARD W DUFFNER
BONNIE LONG MCLAUGHLIN                          3254 FOXCROFT DR                                                                               LEWIS CENTER       OH    43035‐9338
BONNIE LOU TIMBS                                7090 SOUTH MAIN EXT LANE                                                                       HARRISBURG         AR    72432‐8554
BONNIE LOUISE MARIOTT & KENNETH MARRIOTT JT TEN 707 MEADOWOOD DR SW                                                                            GREEN VALLEY       MO    64029‐8129

BONNIE LYNN KOEHLER                              38 CORNFIELD LANE                                                                             MADISON          CT      06443‐1625
BONNIE LYNNE MANN CUST KIRSTEN NICOLE MANN       7889 ULTRA DR                                                                                 COLORADO SPRINGS CO      80920‐8056
UTMA CO
BONNIE M BEHAGE                                  1306 41ST AVENUE E                                                                            ELLENTON           FL    34222‐2542
BONNIE M BROWN                                   19010 HICKORY ST                                                                              SONOMA             CA    95476‐5322
BONNIE M BURNLEY                                 PO BOX 883                                                                                    ADRIAN             MI    49221‐0883
BONNIE M CORNA CUST SARAH ELIZABETH CORNA        10817 RANGE VIEW DR                                                                           AUSTIN             TX    78730‐1499
UGMA MI
BONNIE M DEASON                                  175 KENSINGTON LN                                                                             KILLEN             AL    35645‐8633
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 468 of 850
Name                                              Address1                              Address2              Address3         Address4          City              State Zip

BONNIE M ELLISON                                359 BROWNS FERRY RD                                                                              CHATTANOOGA       TN    37419‐1503
BONNIE M GATES                                  C/O BONNIE M JOHNSON                    PO BOX 40                                                GATEWAY           AR    72733‐0040
BONNIE M HOLT                                   PO BOX 267                                                                                       BELMONT           WV    26134‐0267
BONNIE M JONES                                  C/O THOMSON                             617 LAKE SHORE ROAD                                      GRAFTON           WI    53024‐9723
BONNIE M KNESEK                                 359 BOUNDARY BLVD                       UNIT 2                                                   ROTONDA WEST      FL    33947‐4120
BONNIE M LEE                                    13591 S E 127TH PL                                                                               DUNNELLON         FL    34431‐8408
BONNIE M MACPETRIE & DOUGLAS E MACPETRIE JT TEN 2920 LOLA COURT                                                                                  WATERFORD         MI    48329‐4322

BONNIE M MULLINS                                  47790 HULL RD                                                                                  BELLEVILLE        MI    48111‐2521
BONNIE M PALMER                                   9931 E CRAIN HILL RD                                                                           TRAVERSE CITY     MI    49684‐9560
BONNIE M SIBERT                                   1023 HOOVEN AVE                                                                                HAMILTON          OH    45015‐1801
BONNIE M SIBERT & BETTY J SIBERT JT TEN           1023 HOOVEN AVE                                                                                HAMILTON          OH    45015‐1801
BONNIE M STEGALL                                  522 FILDEW                                                                                     PONTIAC           MI    48341‐2631
BONNIE M TAYLOR                                   304 CHURCH ST                                                                                  LAFAYETTE         TN    37063‐1608
BONNIE M THOMSON                                  617 LAKE SHORE ROAD                                                                            GRAFTON           WI    53024‐9723
BONNIE M WUTZKE                                   1230 65TH STREET                                                                               WEST DES MOINES   IA    50266‐5750

BONNIE MAC LEOD                                   16846 EDLOYTOM WY                                                                              CLINTON TOWNSHIP MI     48038‐1708

BONNIE MAE KLOOSTERMAN                        PO BOX 4360                               0777 OLD HERRON RD                                       BASALT            CO    81621‐9192
BONNIE MAE ODELL                              PO BOX 121                                                                                         EVANS             GA    30809‐0121
BONNIE MARTIN CUST ALEXANDRA R MARTIN UTMA KY 1312 COPPERFIELD CT                                                                                LEXINGTON         KY    40514‐1267

BONNIE MARTIN CUST CHAD S MARTIN UTMA KY          1312 COPPERFIELD CT                                                                            LEXINGTON         KY    40514‐1267
BONNIE MC CRAY RICE CUST RALPH DANIEL RICE UGMA   101 SLADE ROAD                                                                                 ASHFORD           CT    06278‐1419
CT
BONNIE MICAN                                      129 SHADYSIDE DR                                                                               GREENFILD TWP     PA    18407‐3711
BONNIE MILL LEMKE                                 1829 CORNWALL ROAD                                                                             SOUTH WALES       NY    14139‐9404
BONNIE MOSS                                       20177 MCINTYRE                                                                                 DETROIT           MI    48219‐1220
BONNIE N PERKINS                                  4788 BAILEY DR                                                                                 ARLINGTON         TN    38002‐5793
BONNIE NIERMAN                                    1660 1ST ST 205                                                                                HIGHLAND PARK     IL    60035‐3595
BONNIE O WIRT                                     1180 CARRIZO ST NW                                                                             LOS LUNOS         NM    87031‐6937
BONNIE P BROWN                                    10211 BERSHIRE ST                                                                              DETROIT           MI    48224
BONNIE P BURKHOLDER TOD DEBORAH L SMITH           PO BOX 3262                                                                                    LEXINGTON         OH    44904
SUBJECT TO STA TOD RULES
BONNIE P DELAQUILA                                3986 VALACAMP S E                                                                              WARREN            OH    44484‐3315
BONNIE P RINGE                                    33761 SCHULTE                                                                                  FARMINGTON        MI    48335‐4160
BONNIE PARKER BENNETT                             ATTN BONNIE PARKER BENNETT            KEHOE                 128 E MOUNTAIN                     FAYETTEVILLE      AR    72701‐5328
BONNIE PASTORINO                                  21595 NW SAUVIE ISLAND RD                                                                      PORTLAND          OR    97231‐1319
BONNIE PROUTY CASTREY                             8522 TOPSIDE CIR                                                                               HUNTINGTON BCH    CA    92646‐2117

BONNIE Q MILLER                                1253 GRANDVIEW                                                                                    NILES             OH    44446‐1231
BONNIE R BRADEN                                4101 N LOST LAKE TRL                                                                              LINCOLN           MI    48742‐9411
BONNIE R FURLONG & JOHN L FURLONG TR FURLONG   4929 W PURDUE AVE                                                                                 GLENDALE          AZ    85302‐3529
FAMILY TRUST UA 05/02/96
BONNIE R GORDON TR UA 09/10/86 BONNIE R GORDON 1200 LINDA FLORA DR                                                                               BEL AIR           CA    90049‐1732
TRUST
BONNIE R MARTIN                                144 FOX LN                                                                                        CHESTER           WV    26034‐1600
BONNIE R ROCHELLE                              C/O BONNIE ROCHELLE BASSHAM              3952 HOPEWELL RD                                         CULLEOKA          TN    38451‐2040
BONNIE R RUMBARGER                             2669 EDGEWATER DR                                                                                 CORTLAND          OH    44410‐8602
BONNIE R SINGLETARY                            115 RYLEE DR                                                                                      LENA              MS    39094‐9331
BONNIE RAMBLE CUST RHONDA RAMBLE UGMA NY       287 WHITTIER RD                                                                                   SPENCERPORT       NY    14559‐2220

BONNIE RAMPONE CUST CHARLES RAYMOND RAMPONE PO BOX 2757                                                                                          SETAUKET          NY    11733‐0855
III UGMA NY
BONNIE RUF LYDEN                            116 CHAMBERS ST                                                                                      FEDERALSBURG      MD    21632‐1334
BONNIE S COLLINS                            690 W NORTHFIELD AVE                                                                                 PONTIAC           MI    48340‐1329
BONNIE S DERRYBERRY                         14944 RANDOLPH DRIVE                                                                                 FORT MYERS        FL    33905‐4720
BONNIE S ELTON                              719 MAIDEN CHOICE LANE APT BR424                                                                     CATONSVILLE       MD    21228
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 469 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

BONNIE S GRABITZ                                 1296 GEESEY AV A3                                                                               MIO              MI    48647‐9008
BONNIE S JONES                                   7430 COUNTRY BROOK CT                                                                           DAYTON           OH    45414‐2091
BONNIE S KANZIA & MATTHEW A KANZIA SR JT TEN     2324 SOUTH 11TH AVE                                                                             BROADVIEW        IL    60153‐4034

BONNIE S LOTYEZ                                  135 GROSS ST                                                                                    TIFFIN           OH    44883‐3522
BONNIE S MACK                                    7763 ROCHESTER RD                                                                               GASPORT          NY    14067‐9252
BONNIE S MADDEN                                  5191 WESTLAKE                                                                                   DEARBORN HGTS    MI    48125‐1848
BONNIE S MARTIN                                  2330 W WALTON BLVD                                                                              WATERFORD        MI    48329‐4432
BONNIE S MARTINDALE                              PO BOX 85                                                                                       MEHERRIN         VA    23954‐0085
BONNIE S MARTINDALE                              PO BOX 85                                                                                       MEHERRIN         VA    23954‐0085
BONNIE S POLI                                    60 E WOODBURN AVE                                                                               PINE HILL        NJ    08021‐7390
BONNIE S REFFITT                                 3925 MCINTYRE                                                                                   GRANDVILLE       MI    49418‐1738
BONNIE S SHEPLER                                 3960 EDWARDS ST                                                                                 MINERAL RIDGE    OH    44440‐9573
BONNIE S SMITH                                   1235 S CHILDRENS HOME RD                                                                        TROY             OH    45373‐9602
BONNIE SHAY & SANDRA YOUNG JT TEN                218 IVY DRIVE                                                                                   SIMPSONVILLE     SC    29680‐6125
BONNIE SOLOMON RENDA CUST TED SOLOMON RENDA      169 CAMPBELL AVE                                                                                REVERE           MA    02151‐3571
UTMA MA
BONNIE SUE DILLING CUST LOGAN REAGAN DILLING     4126 PLANK RD                                                                                   HOPEWELL         PA    16650
UTMA PA
BONNIE SUE DUCKMAN                               251 NUTHATCH CT                                                                                 THREE BRIDGES    NJ    08887‐2122
BONNIE SUSAN ANTOGNINI                           2375 SHOREWOOD ST                                                                               CARMICHAEL       CA    95608‐5216
BONNIE SUSAN ERKEL                               2375 SHOREWOOD DR                                                                               CARMICHAEL       CA    95608‐5216
BONNIE T ALEXANDER & EDWIN A ALEXANDER JT TEN    PO BOX 759                                                                                      WOODBRIDGE       CA    95258‐0759

BONNIE T POWELL                                  1015 RIDGEMONT DR                                                                               STAUNTON         VA    24401‐3513
BONNIE TAYMAN POWELL CUST FREDERICK WAYNE        1015 RIDGEMONT DR                                                                               STAUNTON         VA    24401‐3513
POWELL II UGMA VA
BONNIE W MURCHISON                               2117 CHATEAU DR                                                                                 FLINT             MI   48504‐1613
BONNIE W NEWMAN                                  2635 BUSHWICK DR                                                                                DAYTON            OH   45439‐2949
BONNIE W SMITH                                   6089 HONEY LANE                        PO BOX 218                                               JOHANNESBURG      MI   49751
BONNIE W VANHORN                                 5906 HARMESON DR                                                                                ANDERSON          IN   46013‐1659
BONNIE WATKINS                                   2926 S 350 W                                                                                    KOKOMO            IN   46902‐4769
BONNIE WHALEY ROMANO                             4560 MARQUETTE ST                                                                               MANDEVILLE        LA   70471‐6410
BONNIE WIENCEK                                   783 HIXVILLE RD                                                                                 NO DARTMOUTH      MA   02747‐1547
BONNIE WIKTOR                                    71755 ORCHARD'S END                                                                             ROMEO             MI   48065‐3628
BONNIE WOOD                                      206 GABRIEL CIR                                                                                 GAINESVILLE       GA   30501‐1422
BONNIE Y SOKOL                                   5355 10TH FAIRWAY DR                   #2                                                       DELRAY BEACH      FL   33484‐7823
BONNIE YVONNE TREASE                             1914 RED OAK DR                                                                                 MANSFIELD         OH   44904‐1759
BONNIELEE M SCHEUBEL                             7 MOUNTAIN VIEW DR                                                                              SUSSEX            NJ   07461‐3032
BONNITA J YANDRY                                 1201 ARNDT ST                                                                                   FT ATKINSON       WI   53538‐2646
BONNITA M MEGGINSON                              5057 WINTERBERRY DRIVE                                                                          INDIANAPOLIS      IN   46254‐1313
BONNY C H LAY & SHU LIN YU JT TEN                18412 MT STEWART CIRCLE                                                                         FOUNTAIN VLY      CA   92708
BONNY KATHLEEN DECASTRO                          197 HANEHAN ROAD                                                                                SCHUYLERVILLE     NY   12871‐1834
BONZELLE A BERNHOLDT                             540 EDGEWOOD LANE                                                                               ELK GROVE VILLAGE IL   60007‐1702

BOOKER BURNEY                                    C/O KENNETH A BURNEY                   3622 MIDDLEBELT RD                                       INKSTER          MI    48141‐2080
BOOKER T BREWER                                  34060 ROWLAND DR                                                                                FREMONT          CA    94555‐2218
BOOKER T BROOKS                                  1615 N 44TH                                                                                     EAST ST LOUIS    IL    62204‐1909
BOOKER T CALVIN                                  1277 DYEMEADOW LN                                                                               FLINT            MI    48532‐2319
BOOKER T FLOYD                                   169 BUCKLEY AVE                                                                                 AIKEN            SC    29803‐9360
BOOKER T HOWARD                                  1205 N KINGS HWY                                                                                SUMTER           SC    29154‐8764
BOOKER T KENNEDY                                 20113 PINEHURST                                                                                 DETROIT          MI    48221‐1059
BOOKER T MALONE                                  663 PROVINCETOWN RD                                                                             AUBURN HILLS     MI    48326‐3443
BOOKER T STROUD JR                               18099 BUFFALO ST                                                                                DETROIT          MI    48234‐2434
BOOKER T THOMAS JR                               3239 BIRCH LANE DRIVE                                                                           FLINT            MI    48504‐1203
BOOKER T WALKER JR                               990 GREENWOOD AVE                                                                               AKRON            OH    44320‐2759
BOOKER T WALKER JR                               5135 FRANKLIN                                                                                   KANSAS CITY      MO    64130‐3144
BOOKER T WASHINGTON                              2961 LAWRENCE                                                                                   DETROIT          MI    48206‐1443
BOOKER T WHITESIDE JR                            MAHRWEG 77A                            35440 LINDEN         REPL OF           GERMANY
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                   Part 1 of 8 Pg 470 of 850
Name                                           Address1                             Address2                Address3                Address4             City                State Zip

BOOKER T YOUNG                                 18 NORTH LN                                                                                               LEBANON             OH    45036‐1861
BOOKER WASHINGTON JR                           1711 E CAPITOL SE ST 201                                                                                  WASHINGTON          DC    20003‐6611
BOONCHOO SAJUANTUM                             5618 HAROLD WAY                      APT 4                                                                LOS ANGELES         CA    90028‐6730
BOONE A TURCHI & MRS JANET M TURCHI JT TEN     100 BRADLEY RD                                                                                            CHAPEL HILL         NC    27514
BOONE PHILPOT                                  49500 7 MILE ROAD                                                                                         NORTHVILLE          MI    48167‐9276
BOOTH & CO                                     C/O THE NORTHERN TRUST COMPANY       PO BOX 92303                                                         CHICAGO             IL    60690
BOOTH NEWSPAPERS INC                           NEWARK MORNING LEDGER                THE FLINT JOURNAL       200 E FIRST                                  FLINT               MI    48502‐1911
BOR CHUAN CHEN                                 35 COUNTRY LANE                                                                                           ROLLING HILLS EST   CA    90274‐4864

BORAH J YOFFA & MRS BEATRICE YOFFA JT TEN      4920 OXFORD COURT J‐10                                                                                    BENSALEM            PA    19020‐1759
BORDLEY O PALK                                 3021 MILLER RD                                                                                            TABOR CITY          NC    28463
BORGIA F BALLARD & C CECILIA BALLARD JT TEN    8394 FAIRLANE DR                                                                                          MACEDONIA           OH    44056‐1841
BORIS A SHAPIRO                                396 FRENCH RD                                                                                             ROCHESTER           NY    14618‐4806
BORIS BILTON                                   47 DAWSON CRESCENT                   GEORGETOWN ON                                   L7E 1H3 CANADA
BORIS HUNCHAK                                  1120 COBBS STREET                                                                                         DREXEL HILL         PA    19026‐1816
BORIS KOCIJAN                                  1381 LEETOWN RD                                                                                           KEARNEYSVILLE       WV    25430
BORIS KOTLER                                   4 POTTERS LANE                                                                                            ROSLYN HEIGHTS      NY    11577‐2213
BORIS M HOMENOCK                               21303 BARTH POND LN                                                                                       JOLIET              IL    60435‐1523
BORIS M LEVIN                                  7365 BEACON HILL DRIVE                                                                                    PITTSBURGH          PA    15221‐2572
BORIS MEISTER & GITA MEISTER JT TEN            1201 S OCEAN DR APT 1906S                                                                                 HOLLYWOOD           FL    33019‐2139
BORIS N NASTOFF & ESTHER M NASTOFF TR NASTOFF  320 W 56TH PLACE                                                                                          MERRILLVILLE        IN    46410‐2033
LIVING TRUST 3/9/00
BORIS P CACOVSKI                               50 HIGH PT TRL                                                                                            ROCHESTER           NY    14609‐2915
BORKA B PAPRIKIC                               16 ROCKAGE RD                                                                                             WARREN              NJ    07059‐5506
BOSE LEVERETTE                                 1521 E FISHER STREET                                                                                      PENSACOLA           FL    32503‐4154
BOSE YALAMANCHI CUST NAYEEN YALAMANCHI UNDER 5232 E LEITNER DRIVE                                                                                        CORAL SPRINGS       FL    33067‐2043
FL GIFTS TO MINORS ACT
BOSKO ABRAMOVIC                                BULEVAR AVNOJ‐A 113 ULAZ 111/3       11070 NOVI BEOGRAD      SERBIA AND MONTENEGRO   REPUBLIC OF SERBIA
BOSTON TYRCUS ADDISON & MRS JUANITA L ADDISON 5111 KENILWORTH AVE                                                                                        BALT                MD    21212‐4335
TEN ENT
BOTHILDE F CONAWAY TR BOTHILDE F CONAWAY TRUST 147 W OAK ST                                                                                              GRIFFITH            IN    46319‐2136
UA 02/13/98
BOTTOM LINE INVESTMENT CLUB OF SC              656 MARTIN SMITH RD                                                                                       GILBERT             SC    29054‐9564
BOUALIANE SOMMITH                              47070 PINECREST DR                                                                                        UTICA               MI    48317‐2844
BOUNTHANH SENGPHACHANH                         202 WARFIELD RD                                                                                           NEWARK              DE    19713‐2720
BOUNTHENE THOMPHAVONG                          251 RIVER AVE                                                                                             PROVIDENCE          RI    02908‐4210
BOW L WONG & FAUNG WONG JT TEN                 867 FLATBUSH AVE                     1ST FLOOR                                                            BROOKLYN            NY    11226‐3105
BOWEN DYKE OVERBY                              715 SULLIVAN ST                                                                                           ALEXANDRIA          IN    46001‐1421
BOWEN E KELLER & PATRICIA P KELLER JT TEN      250 CHELMSFORD RD                                                                                         ROCHESTER           NY    14618‐1748
BOWEN THAYER                                   BOX 32                                                                                                    LIBERTY LAKE        WA    99019‐0032
BOY SCOUT TROOP 971                            C/O JAY SPAULDING                    1739 RIFLE LAKE TRAIL                                                W BRANCH            MI    48661‐9222
BOYCE DALTON                                   2124 OVERLAND AVE                                                                                         WARREN              OH    44483‐2813
BOYCE E SIZEMORE                               2452 PENNYROYAL RD                                                                                        MIAMISBURG          OH    45342‐5024
BOYCE F MILLWOOD                               6630 LAWSON CIR                                                                                           GAINESVILLE         GA    30506‐4716
BOYCE J KNIGHT                                 440 E COLUMBIA AVE                                                                                        PONTIAC             MI    48340‐2860
BOYCE M LINDSEY                                2357 ORLEANS LN                                                                                           SEABROOK            TX    77586‐2860
BOYCE R SORENSEN CUST NATALIE JEAN SORENSEN    3316 W 4305 S                                                                                             SALT LAKE CITY      UT    84119‐5736
UGMA UT
BOYCE W BOWDEN & BETTY M BOWDEN JT TEN         3815 N HARDING                                                                                            WICHITA             KS    67220‐2016
BOYCE W COOK                                   4933 BUCKHORN DR                                                                                          ROANOKE             VA    24018‐8605
BOYCE W PEEPLES                                208 OLD STAGE RD                                                                                          LEESBURG            GA    31763‐3714
BOYD A BLUMER & MRS EVELYN E BLUMER JT TEN     601 MITCHELL BLVD                                                                                         MITCHELL            SD    57301‐4313
BOYD A CHRISTIE                                277 MARYLAND AVE                                                                                          PATERSON            NJ    07503‐2008
BOYD A MCFARLAND                               3451 RIVER PATH ST                                                                                        SAN ANTONIO         TX    78230‐2527
BOYD A WELLS                                   48 SCARLET MEADOWS CT                                                                                     O FALLON            MO    63366‐4182
BOYD B ASHBURN & ANTOINETTE O ASHBURN JT TEN   1630 REAMS RD                                                                                             POWHATAN            VA    23139‐7423

BOYD BASHORE & MRS JUDY BASHORE JT TEN         6510 LAKEVIEW DR                                                                                          FALLS CHURCH        VA    22041‐1102
BOYD BRANTLEY                                  PO BOX 6517                                                                                               KOKOMO              IN    46904‐6517
                                          09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                   Part 1 of 8 Pg 471 of 850
Name                                          Address1                              Address2                      Address3      Address4          City             State Zip

BOYD C JACOBS                                 3226 HILLDALE ROAD                                                                                  WEST COLUMBIA    SC    29170‐2622
BOYD C MARTIN                                 1830 E YOSEMITE AVE                   SPC 66                                                        MANTECA          CA    95336
BOYD D FERGUSON                               5428 WILLIAMSON                                                                                     CLARKSTON        MI    48346‐3561
BOYD E BELLENBAUM                             6151 CLOVER WAY N                                                                                   SAGINAW          MI    48603‐4222
BOYD E CHAPIN & ELLEN M CHAPIN JT TEN         1000 WOODBRIDGE ST                                                                                  DETROIT          MI    48207‐3108
BOYD E CHAPIN JR                              1000 WOODBRIDGE ST                                                                                  DETROIT          MI    48207
BOYD E GRAHAM & MARYLOU CHRISTIAN JT TEN      1256 W 26TH ST                                                                                      SAN PEDRO        CA    90731‐5604
BOYD E MC ELRAVY JR                           202 CONGRESS ST                                                                                     MC KEESPORT      PA    15131‐1104
BOYD EDWARD ALBRIGHT CUST CHRISTOPHER FRANCIS 1331 N MULBERRY ST                                                                                  OTTAWA           KS    66067‐1540
ALBRIGHT UGMA KAN
BOYD EDWARD ALBRIGHT CUST MICHAEL SCOTT       1331 N MULBERRY ST                                                                                  OTTAWA           KS    66067‐1540
ALBRIGHT UGMA KAN
BOYD EDWARD ALBRIGHT CUST MICHELLE PAULINE    1331 N MULBERRY ST                                                                                  OTTAWA           KS    66067‐1540
ALBRIGHT UGMA KAN
BOYD ERNA SEXTON                              310 FOX BRIAR                                                                                       SUGAR LAND       TX    77478‐3715
BOYD F WELLMAN                                4149 CANTERBURY DR                                                                                  LAMBERTVILLE     MI    48144‐9725
BOYD G DAULTON                                2027 WAYNE AVE                                                                                      DAYTON           OH    45410‐2134
BOYD G KITTENDORF                             6317 LA WITZKE RD                                                                                   PORT HOPE        MI    48468‐9787
BOYD H BUCHANAN III                           3514 CORDLEY LK ROAD                                                                                PINCKNEY         MI    48169‐9346
BOYD H GARRISON                               5073 W GAS LINE RD                                                                                  FRANKFORT        IN    46041‐7351
BOYD H UNDERWOOD                              1657 NORTH FOREST RD                                                                                WILLIAMSVILLE    NY    14221
BOYD J BUNCE                                  7220 RAPIDS ROAD                                                                                    LOCKPORT         NY    14094‐9355
BOYD K BALL                                   3831 MONTEVIDEO DR                                                                                  DAYTON           OH    45414‐5018
BOYD K PENCE & MAXINE L PENCE JT TEN          2236 DETROIT ST                                                                                     BEECH GROVE      IN    46107‐1064
BOYD L BRANTLEY                               PO BOX 6517                                                                                         KOKOMO           IN    46904‐6517
BOYD L BRANTLEY & THELMA M BRANTLEY JT TEN    PO BOX 6517                                                                                         KOKOMO           IN    46904‐6517
BOYD L JONES                                  60 BRISTLECONE WAY                                                                                  BOULDER          CO    80304‐0469
BOYD L KINZLEY CUST KIRSTEN KINZLEY U/THE     620 S ALLEN LN                                                                                      ARLINGTON        IL    60005‐2204
MICHIGANU‐G‐M‐A                                                                                                                                   HEIGHTS
BOYD L PITTS                                  20100 OLD US 12 WEST                                                                                CHELSEA          MI    48118
BOYD LEE CRAVEN III                           8244 WHITNEY RD                                                                                     GAINES           MI    48436‐9723
BOYD M FULTON JR                              152 WILSON ST                                                                                       ROCKLAND         MA    02370‐3312
BOYD PONTIAC CADILLAC AND BUICK INC           FIVE POINTS                                                                                         HENDERSONVILLE   NC    28793
BOYD R BURTON                                 3266 MURPHY LN                                                                                      COLUMBIA         TN    38401‐5740
BOYD R BUSSARD                                R1 HURON DR 30316                                                                                   BROOKFIELD       MO    64628‐9801
BOYD R PATRICK                                620 WILLOWICK DR                                                                                    NEW CARLISLE     OH    45344‐1131
BOYD R WILLETT                                PMB 103                               13501 RANCH ROAD 12 STE 103                                   WIMBERLEY        TX    78676
BOYD T DYER                                   30 STRATFORD AVE                                                                                    GREENLAWN        NY    11740‐2519
BOYD T FISHER                                 3920 FAIRWAY DR                                                                                     GRANBURY         TX    76049‐5340
BOYD VANDERBEKE CUST PATRICIA K VANDERBEKE    505 N LAKE SHORE DR                   UNIT #808                                                     CHICAGO          IL    60611‐6403
UGMA MI
BOYDEN E NORDSTROM                            20 THAYER POND DR                     UNIT 5                                                        NORTH OXFORD     MA    01537‐1146
BOYDEN E NORDSTROM & DAVID V NORDSTROM JT TEN 20 THAYER POND DR                     UNIT 5                                                        NORTH OXFORD     MA    01537‐1146

BOYDEN R OLSON                                5347 E HUBBARD LAKE ROAD                                                                            SPRUCE           MI    48762‐9764
BOYSIE JACKSON JR                             1692 HICKORY BARK LN                                                                                BLOOMFIELD       MI    48304‐1178
BOYZIE L MATHIS                               PO BOX 5757                                                                                         ALPHARETTA       GA    30023‐5757
BOYZIE L MATHIS                               10950 BRACEBRIDGE RD                                                                                ALPHARETTA       GA    30022‐6406
BOZE GUVO                                     8854 W 89TH ST                                                                                      HICKORY HILLS    IL    60457‐1203
BOZENA B STURDIK                              816 E PRINCETON AVE                                                                                 PALMERTON        PA    18071‐1413
BOZIDAR SIMONOVIC & DRAGOSLAVA SIMONOVIC JT   709 W DIVERSEY PKY                                                                                  CHICAGO          IL    60614‐1515
TEN
BOZO B SKORIC                                 8291 MOSSBORGER AVE                                                                                 NORTH PORT       FL    34287‐3618
BOZO ZDJELAR                                  93 MORNINGSIDE DR                                                                                   GRAND ISLAND     NY    14072‐1333
BPOE 1090 CORP                                ATTN H GEISLER                        629 STOOPS FERRY ROAD         PO BOX 1091                     CORAOPOLIS       PA    15108‐6091
BRAAM JOHNSON HATTINGH                        551 MEGGAN LANE                                                                                     MECHANICSBURG    PA    17055‐2537
BRACHA BRIEGER CUST SARAH BRIEGER UGMA NY     1573 41ST ST                                                                                        BROOKLYN         NY    11218‐4422
BRACHA BRIEGER CUST STEVEN BRIEGER UGMA NY    1573 41ST ST                                                                                        BROOKLYN         NY    11218‐4422
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 472 of 850
Name                                             Address1                                 Address2             Address3          Address4          City               State Zip

BRACKY F BICKERSTAFF                              866 NC HWY 18 SOUTH                                                                              SPARTA             NC    28675‐8477
BRAD A BARTON                                     555 SELLENSCHUTTER RD                                                                            MARTHASVILLE       MO    63357‐3121
BRAD A DROGOSCH                                   22250 BECK RD                                                                                    NORTHVILLE         MI    48167‐3325
BRAD A HASKELL                                    1092 WALLOON WAY                                                                                 LAKE ORION         MI    48360‐1318
BRAD ALLEN POLINKO & CHRISTINA NICOLE LONG JT TEN 1297 NANTUCKET AVE                                                                               COLUMBUS           OH    43235‐4075

BRAD BRUBAKER                                    M727 COUNTY ROAD 17D                                                                              NAPOLEON           OH    43545‐7015
BRAD BUKATY CUST BRENNAN BUKATY UTMA KS          11201 W 116TH ST                                                                                  OVERLAND PARK      KS    66210
BRAD BYERS                                       19017 ROCK MAPLE DR                                                                               HAGERSTOWN         MD    21742
BRAD C CHAPPLE                                   7420 MAJESTIC WOODS DR                                                                            LINDEN             MI    48451‐8836
BRAD C KRAMER                                    9914 ROE AVE                                                                                      SHAWNEE MISSION    KS    66207‐3648

BRAD C MERKEL                                    C/O GM DO BRASIL                         PO BOX 9022                                              WARREN             MI    48090‐9022
BRAD C MERKEL                                    C/O AMDO BRASIL                          P O BOX 9022                                             WARREN             MI    48090
BRAD CHARLTON CUST LUKE CHARLTON UTMA NY         1402 LOOMUS DR                                                                                    WATERTOWN          NY    13601
BRAD COLELLA                                     1720‐9 LIGHT HOUSE TERR                                                                           ST PETERSBURG      FL    33707‐3883
BRAD D SUSTERKA                                  9739 NABOZNY DR                                                                                   MILAN              MI    48160‐9501
BRAD D SUSTERKA & BARBARA J SUSTERKA JT TEN      9739 NABOZNY DR                                                                                   MILAN              MI    48160‐9501
BRAD DENYES                                      1713 AMELIA CRT                                                                                   NAPERVILLE         IL    60565
BRAD E MCELDOWNEY                                5815 LAPORTE                                                                                      LANSING            MI    48911‐5044
BRAD E TEREBINSKI                                1952 MILLVILLE RD                                                                                 LAPEER             MI    48446‐7618
BRAD EDWARD & DEBRA STRUTHER SLAYBAUGH JT TEN    919 DOGWOOD DR                                                                                    COLONIAL HEIGHTS   VA    23834‐2607

BRAD F TAYLOR                                    1721 DEVONDALE DR                                                                                 LOUISVILLE         KY    40222‐4153
BRAD HEMMELGARN                                  2841 HEATHFIELD LN                                                                                RICHMOND           IN    47374‐6695
BRAD HODGEN CUST ANDREW HODGEN UTMA FL           2705 OAKMONT CT                                                                                   WESTON             FL    33332‐1834
BRAD HODGEN CUST KRISTOPHER HODGEN UTMA FL       2705 OAKMONT CT                                                                                   WESTON             FL    33332‐1834

BRAD J WHALEN                                    4650 PIEHL STREET                                                                                 OTTAWA LAKE        MI    49267‐9731
BRAD J WIERSUM                                   16370 EAGLE RIDGE DR                                                                              MINNETONKA         MN    55345‐2700
BRAD JEFFREY PALMER TR THE PALMER TRUST UA       PO BOX 2306                                                                                       CANYON COUNTRY     CA    91386‐2306
05/05/93
BRAD JONES                                       611 PADE DR                                                                                       HAMPTON            VA    23669
BRAD JONES & MICHELE D JONES TEN COM             2878 GREYSTONE DR                                                                                 MILTON             FL    32571‐8456
BRAD KIDWELL                                     9743 PETERSBURG RD                                                                                HILLSBORO          OH    45133
BRAD KIRSCHENHEITER                              5336 WALKER DR                                                                                    BISMARCK           ND    58504‐3160
BRAD L BUCHANAN                                  1523 N COBB                                                                                       KALAMAZOO          MI    49007‐2455
BRAD L DIEMOND                                   10068 TWIN LAKES DR                                                                               OTISVILLE          MI    48463‐9756
BRAD L FOWLE                                     13480 W US 223                                                                                    MANITOU BEACH      MI    49253‐9742
BRAD L MUSSELMAN & SARAH MUSSELMAN JT TEN        612 E WASHINGTON ST                                                                               BLOOMINGTON        IL    61701‐4104

BRAD L SORTOR & KAREN SORTOR JT TEN              348 RUFF DR                                                                                       MONROE             MI    48162‐3525
BRAD L STOFFER & KATHY STOFFER JT TEN            01510 SW RADCLIFFE CT                                                                             PORTLAND           OR    97219‐7966
BRAD LEE ARMSTRONG                               15713 DORCHESTER CT                                                                               NORTHVILLE         MI    48167‐8478
BRAD M HUNTER                                    50444 SHENANDOAH DR                                                                               MACOMB             MI    48044‐1348
BRAD M MARKELL                                   24600 EMERSON ST                                                                                  DEARBORN           MI    48124‐1536
BRAD M PERKINS                                   4446 SKYVIEW DRIVE                                                                                JANSEVILLE         WI    53546‐3305
BRAD MILDENBERGER CUST MELISSA ANN               PO BOX 630                                                                                        HAMILTON           MT    59840‐0630
MILDENBERGER UTMA MT
BRAD MOORE                                       1051 WOODBINE WAY                                                                                 SAN JOSE           CA    95117‐2965
BRAD MORROW                                      41 SANDE LANE                                                                                     COREATH            NY    12822‐2612
BRAD N CHAZOTTE                                  105 DRAYTON COURT                                                                                 CHAPEL HILL        NC    27516‐7700
BRAD N PUCKETT                                   2699 SANDLIN RD STE A‐5                                                                           DECATUR            AL    35601‐7343
BRAD NESSLAGE                                    2760 RANDOLPH DR                                                                                  RENO               NV    89502‐4959
BRAD OSWALD                                      749 BIRCHWOOD CT                         UNIT A                                                   WILLOWBROOK        IL    60527‐7508
BRAD PHILIP WILKERSON                            2510 E LINCOLN HWY                                                                                ELIDA              OH    45807
BRAD S BURLEW                                    10936 LOSTWOOD DRIVE                                                                              SANDY              UT    84092
BRAD S LEVINE                                    4166 BAY LAUREL WAY                                                                               BOCA RATON         FL    33487‐2240
BRAD S PLEBANI                                   250 LEWISTON AVE                                                                                  WILLIMANTIC        CT    06226‐2433
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 473 of 850
Name                                               Address1                              Address2             Address3          Address4          City               State Zip

BRAD S SCHNEIDERMAN                                5716 SUNRISE HILL RD                                                                           DERWOOD            MD    20855‐1404
BRAD SEAL & SHAWN SEAL TR DANIEL J SEAL TRUST UA   7920 MEADOWLANE DR                                                                             PORTLAND           MI    48875‐1912
04/14/03
BRAD THOMPSON                                      275 S EASTERN AVE                                                                              IDAHO FALLS        ID    83402‐4163
BRAD VARGO                                         1550 S 1000 E                         APT 3503                                                 CLEARFIELD         UT    84015‐1688
BRAD VICTOR EIGENAUER                              1722 SHELL DR                                                                                  ENGLEWOOD          FL    34223‐6267
BRAD W LEASE CUST JEFFREY WARREN LEASE UTMA CA     7277 WEST LN                                                                                   GRANITE BAY        CA    95746‐7343

BRAD W PETERSON                                    114 BESS BLVD                                                                                  PENDLETON          IN    46064‐8804
BRAD W WILLIAMS                                    103 SABRA AVE                                                                                  NEW ELLENTON       SC    29809‐2911
BRAD WHITE                                         108 PAPAYA                                                                                     LAKE JACKSON       TX    77566
BRADD BISHOP BINGMAN CUST RACHEL ANISSA            13 TRAIL RIDGE RD                                                                              SAPULPA            OK    74066‐9314
BINGMAN UGMA MA
BRADD S COHEN                                      1519 4TH N                                                                                     SEATTLE            WA    98109
BRADD SCHIFFMAN CUST CORRINA HENDERSON UTMA        314 BENT OAK DRIVE                                                                             WINSTON SALEM      NC    27107
NC
BRADEN BARRETT                                     490 BLOOMFIELD AVE                                                                             BLOOMFIELD         CT    06002‐2905
BRADFORD A GOEBEL                                  5452 KELLOG CT                                                                                 WILLOUGHBY         OH    44094‐3147
BRADFORD B CONSTANCE & MRS PHYLLIS M               1946 HAMILTON RD APT H                                                                         OKEMOS             MI    48864‐2154
CONSTANCE JT TEN
BRADFORD C JACOBSEN & TERI R JACOBSEN JT TEN       508 TANVIEW                           PO BOX 250                                               OXFORD             MI    48371‐0250

BRADFORD C MATTSON                                 1723 THOMAS RD                                                                                 WAYNE              PA    19087‐1026
BRADFORD D BAKER TR BRISTOL EDWARD RUDOLPH         760 N RIVER RD                                                                                 VENICE             FL    34293‐4710
REVOCABLE TRUST UA 05/14/86
BRADFORD D FLOWERS                                 38684 PARKVIEW DRIVE                                                                           WAYNE              MI    48184‐1081
BRADFORD D KEENE                                   9821 MEMPHIS AVE                      APT 2                                                    CLEVELAND          OH    44144‐2011
BRADFORD D KELLEHER                                325 RIVERSIDE DR                                                                               NY                 NY    10025‐4162
BRADFORD D SMITH & JANICE A SMITH JT TEN           5335 BROOKDALE                                                                                 BLOOMFIELD HILLS   MI    48304‐3617

BRADFORD DAVIS & VERONICA DAVIS JT TEN             3927 HILLSIDE DR                                                                               YPSILANTI          MI    48197‐8621
BRADFORD E BLOCK CUST ALISSA E BLOCK A UGMA IL     1575 CLENDENIN LANE                                                                            RIVERWOODS         IL    60015‐1931

BRADFORD E SCHAIBLY                          PO BOX 458                                                                                           HASLETT            MI    48840‐0458
BRADFORD F FERGUSON CUST JOSHUA F FERGUSON   4346 CROSBY RD                                                                                       FLINT              MI    48506‐1416
UGMA MI
BRADFORD G ROSE                              64 CHAMBERLAIN RD                                                                                    WESTFORD           MA    01886‐2042
BRADFORD GILLESPIE                           707 FRENCH ST                                                                                        FARRELL            PA    16121‐1117
BRADFORD GIMBERT                             12606 CEDARBROOK LN                                                                                  LAUREL             MD    20708‐2446
BRADFORD J WILLIAMS                          1018 N VERMONT                                                                                       ROYAL OAK          MI    48067‐1410
BRADFORD JAMES QUERRY CUST RACHAEL MICHELLE  42259 HIGHGATE CT                                                                                    CANTON             MI    48187‐3523
QUERRY UGMA MI
BRADFORD JOHN MC CARTY                       2140 E 1ST ST                                                                                        TUCSON             AZ    85719
BRADFORD JOHN ROE CUST BRANDON JOHN ROE UTMA 11253 S E LAVENDER LANE                                                                              BORING             OR    97009‐9404
OR
BRADFORD JOHN ROE CUST HAYDEN MATTHEW ROE    11253 S E LAVENDER LANE                                                                              BORING             OR    97009‐9404
UTMA OR
BRADFORD JOHNSON                             HCR 63                                      BOX 3520                                                 BELLEVIEW          MO    63623‐9713
BRADFORD K PERRINE                           4518 COLDSTREAM CT                                                                                   WESTERVILLE        OH    43082‐8719
BRADFORD KENT MITCHELL                       117 THISTLEDOWN LANE                                                                                 MOGANTOWN          WV    26508‐2424
BRADFORD L BAKER                             4881 LEFFINGWELL RD                                                                                  CANFIELD           OH    44406‐9130
BRADFORD MARSON GREENE                       62 POTTER AVE                                                                                        STATEN ISLAND      NY    10314‐2508
BRADFORD PAUL                                117 3RD ST                                                                                           SAUSALITO          CA    94965‐2433
BRADFORD R CHAMBERS                          7333 SNOWFLAKE DR                                                                                    INDIANAPOLIS       IN    46227‐7833
BRADFORD R COOPER                            BOX 16404                                   RD #1                                                    CANADENSIS         PA    18325‐9801
BRADFORD R LORENZ                            1317 PARIS AVE NE                                                                                    GRAND RAPIDS       MI    49505‐5156
BRADFORD R STOCKER & TERESA E CAMPOS JT TEN  5771 SW 50TH TER                                                                                     MIAMI              FL    33155‐6311

BRADFORD S KINKER                                  3274 QUAIL RIDGE CIRCLE                                                                        ROCHESTER HILLS    MI    48309‐2728
                                         09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 474 of 850
Name                                           Address1                              Address2             Address3          Address4          City            State Zip

BRADFORD STAHR FAKES                           PO BOX 26                                                                                      HERMITAGE       TN    37076‐0026
BRADFORD T INGRAM CUST ANDREW J INGRAM UTMA    2220 WHIPPOORWILL LN                                                                           MANSFIELD       OH    44906‐4101
OH
BRADFORD TILLERY 3RD                           734 REMOUNT COURT                                                                              LELAND          NC    28451
BRADFORD W LEWIS & MRS ARLENE B LEWIS JT TEN   10 CRESTWOOD TRL                                                                               SPARTA          NJ    07871‐1633

BRADFORD W ORR                                 3560 GOPHER CANYON RD                                                                          VISTA           CA    92084‐1336
BRADLEE A COLLINS                              427 W RANDOLPH ST                                                                              LANSING         MI    48906‐2954
BRADLEE A WHITE                                PO BOX 5324                                                                                    BAYSHORE        NY    11706‐0228
BRADLEY A BROEKHUIZEN                          16618 ALBION ROAD                                                                              HOLLEY          NY    14470
BRADLEY A BUCZKOWSKI                           1326 AZIZ DR                                                                                   CANTON          MI    48188‐5094
BRADLEY A EDWARDS                              11169 LIBERTY SCHOOL ROAD                                                                      AZLE            TX    76020‐5545
BRADLEY A HEATH                                1638 ITHACA DRIVE                                                                              NAPERVILLE      IL    60565‐9236
BRADLEY A JONES                                1334 S 700 WEST                                                                                ANDERSON        IN    46011‐9803
BRADLEY A MODI                                 15828 HANOVER AVE                                                                              ALLEN PARK      MI    48101‐2738
BRADLEY A PRICE                                16103 COLCHESTER PALMS DR                                                                      TAMPA           FL    33647
BRADLEY A RINES                                14121 N HOLLOWELL RD                                                                           ALBANY          IN    47320‐9051
BRADLEY A RUSSELL                              3561 PEPPERMILL ROAD                                                                           ATTICA          MI    48412‐9742
BRADLEY A SHELTON                              7024 E CR1100N                                                                                 ROACHDALE       IN    46172‐9192
BRADLEY A SPIEGEL                              570 HUNTER LN                                                                                  LAKE FOREST     IL    60045‐2790
BRADLEY A SWAIN                                3359 MEMORIAL DR                                                                               MUSKEGON        MI    49445‐2129
BRADLEY A TANNER & CYNTHIA A TANNER JT TEN     10224 BACH RD                                                                                  SEBAWING        MI    48759‐9516
BRADLEY A TAYLOR                               715 TAYLOR AVE                                                                                 HURON           OH    44839‐2522
BRADLEY A WADDELL                              3405 SUE MACK DR                                                                               COLUMBUS        GA    31906‐1323
BRADLEY A WHEATON                              1102 PEACH BLOSSOM CIR                                                                         BURTON          MI    48509‐2382
BRADLEY B GRAY                                 709 FOREST LAIR                                                                                TALLAHASSEE     FL    32312‐1744
BRADLEY C AUSTIN & PAULINE B AUSTIN JT TEN     1135 CLEVELAND AVE S                                                                           ST PAUL         MN    55116‐2506
BRADLEY C BARNARD                              1267 MCMAHON ROAD                                                                              VICTOR          NY    14564‐9501
BRADLEY C BENTON                               9261 LOWER RIVER RD                                                                            GRANTS PASS     OR    97526‐9662
BRADLEY C BURNETT                              1475 RADSTONE COURT                                                                            LAWRENCEVILLE   GA    30044‐6193
BRADLEY C DUMVILLE                             2370 N BUFFUM ST                                                                               MILWAUKEE       WI    53212
BRADLEY C JACKSON                              544 MOON CLINTON RD                                                                            CORAOPOLIS      PA    15108
BRADLEY C MEISTER                              11405 FAWN CREEK CT                                                                            AUBURN          CA    95602‐7609
BRADLEY C PIROS                                5401 MUSTANG DR                                                                                NEWPORT         MI    48166‐9591
BRADLEY C RAGAN CUST TAMI R RAGAN UGMA MI      4069 SQUIRE HILL DRIVE                                                                         FLUSHING        MI    48433‐3100
BRADLEY C SIMMONS                              8846 S IDA LN                                                                                  SANDY           UT    84093‐3723
BRADLEY C TITUS                                2809 LOWER GREGG RD                                                                            SCHENECTADY     NY    12306‐7427
BRADLEY C WILSON                               7335 SELMA DR                                                                                  FENTON          MI    48430‐9015
BRADLEY C ZIKES                                11872 DOVERHILL COURT                                                                          SAINT LOUIS     MO    63128‐1520
BRADLEY CODDINGTON TURNER                      6 CONCORD CT                                                                                   YORKVILLE       IL    60560‐9636
BRADLEY D CONNER                               1810 HEMLOCK ST                                                                                MONROE          MI    48162‐4148
BRADLEY D GOBLE                                424 N RIVERSIDE DR                                                                             WINAMAC         IN    46996‐1319
BRADLEY D LAFFERTY                             2549 ELM STREET                                                                                SAINT CHARLES   MO    63301‐1442
BRADLEY D LAUMAN & LORRAINE LAUMAN MADSEN JT   1512 HARLEM BLVD                                                                               ROCKFORD        IL    61103‐6338
TEN
BRADLEY D LINVILLE                             3296 ALLISON CT                                                                                CARMEL          IN    46033‐8778
BRADLEY D ROBERT                               7333 N LANE AVE                                                                                KANSAS CITY     MO    64158‐1090
BRADLEY D SMOLEY                               8580 CASTLEMIL CIRCLE                                                                          BALTIMORE       MD    21236
BRADLEY D THOMAS                               2613 ROUND TABLE                                                                               LEWISVILLE      TX    75056‐5723
BRADLEY DALE JAMES MCNENLY                     23 LUPTON COURT                       OMEMEE ON                              K0L 2W0 CANADA
BRADLEY DAVID PETERSON                         1211 W SALTSAGE DRIVE                                                                          PHOENIX         AZ    85045
BRADLEY DAVID STOCKLAND                        28028 NANTUCKET ST                                                                             CASTAIC         CA    91384‐3535
BRADLEY E LAB & GWEN M LAB JT TEN              4752 S RUESS RD                                                                                OWOSSO          MI    48867‐9269
BRADLEY E SAUVE                                1182 WEAVER FARM LANE                                                                          SPRING HILL     TN    37174‐2185
BRADLEY E TENANT                               3123 ANDERSON CT                                                                               CLIO            MI    48420‐1085
BRADLEY EHIKIAN & PAMELA GAY EHIKIAN JT TEN    296 ATHERTON AVE                                                                               ATHERTON        CA    94027‐5437
BRADLEY ELSWICK                                224 WILLARD DR                                                                                 PIKEVILLE       KY    41501‐3876
BRADLEY EMERICK                                PO BOX 514                                                                                     NASHVILLE       MI    49073‐0514
BRADLEY FLOYD JR                               7969 E MEADOWVIEW CT                                                                           YPSILANTI       MI    48197‐7118
                                           09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                 Part 1 of 8 Pg 475 of 850
Name                                          Address1                            Address2             Address3          Address4          City            State Zip

BRADLEY G CHAMPAGNE                           3389 ANNA DR                                                                                 BAY CITY        MI    48706‐2001
BRADLEY G MCCARTY                             7147 RIGA HWY                                                                                RIGA            MI    49276‐9753
BRADLEY GILBERT                               4256 MARLOWE ST                                                                              DAYTON          OH    45416‐1817
BRADLEY GRAHAM                                44 BEACH RD                         LITTLE BRITTON ON                      K0M 2C0 CANADA
BRADLEY H ANTHONY                             PO BOX 185                                                                                   LENNON           MI   48449‐0185
BRADLEY H BELL                                1734 65TH ST N                                                                               SAINT PETERSBURG FL   33710‐5532

BRADLEY H BROWN                               8360 GULLEY                                                                                  TAYLOR          MI    48180‐2055
BRADLEY H TAYLOR                              UNITED STATES                       1812 MAYFAIR DR                                          HOMEWOOD        AL    35209‐4106
BRADLEY HALL                                  564 HOLLY AVENUE                                                                             OXNARD          CA    93036
BRADLEY HIRN                                  9390 HADLEY DR                                                                               WESTCHESTER     OH    45069‐4055
BRADLEY I ANDERSON                            438 E J F TOWNLINE RD                                                                        JANESVILLE      WI    53545‐9595
BRADLEY J ALLEN                               285 FORDHAM RD                                                                               VENICE          FL    34293‐6561
BRADLEY J AU & JAMES T H AU JT TEN            2936 W 234TH ST                                                                              TORRANCE        CA    90505‐4104
BRADLEY J DUGGAN                              PO BOX 930                                                                                   ORTONVILLE      MI    48462‐0930
BRADLEY J DUTCHER                             9147 NORTH KLUG ROAD                                                                         MILTON          WI    53563‐9326
BRADLEY J GROSEL                              7511 ESSEN AVE                                                                               PARMA           OH    44129‐3122
BRADLEY J HART                                1483 HAINES RD                                                                               LAPEER          MI    48446‐8704
BRADLEY J LANG                                4304 92ND CIR                                                                                CIRCLE PINES    MN    55014‐1791
BRADLEY J MC DONALD                           6480 PEYTONSVILLE ARNO                                                                       COLLEGE GROVE   TN    37046‐9133
BRADLEY J MCKIBBEN                            3305 N DUSTIN AVE                                                                            FARMINGTON      NM    87401‐9231
BRADLEY J MITCHELL                            2392 PINE HURST DR                                                                           STATE COLLEGE   PA    16803‐3385
BRADLEY J NIPPLE                              323 APACHE DR                                                                                JANESVILLE      WI    53545‐1377
BRADLEY J POLLOCK                             5760 WOODLAND DR NE                                                                          KALKASKA        MI    49646‐8714
BRADLEY J THOMPSON                            333 PORTLOCK ST                                                                              KENAI           AK    99611
BRADLEY J WAGNER                              820 HANOVER RD                                                                               GETTYSBURG      PA    17325
BRADLEY J WEBER                               4015 W DODGE RD                                                                              CLIO            MI    48420‐8525
BRADLEY J WILLIAMS                            6938 CLAREMORE                                                                               VELDA VILLAGE   MO    63121‐5202
BRADLEY JAMES COOK                            PO BOX 80188                                                                                 ROCHESTER       MI    48308‐0188
BRADLEY JAMES DIEHL                           5019 ECHO FALLS DR                                                                           KINGWOOD        TX    77345
BRADLEY JAMES PETERS                          5139 NELLIES LN                                                                              CHARLOTTE       MI    48813‐7333
BRADLEY JAMES POULOS                          1128 BEACH ST                                                                                FLINT           MI    48502‐1407
BRADLEY JAY DENSON CUST KATHRYN ELIZABETH     1433 N MORNINGSIDE DR NE                                                                     ATLANTA         GA    30306‐3239
DENSON UTMA GA
BRADLEY JOHN NORMAN                           6736 S 19TH ST                                                                               MILWAUKEE       WI    53221‐5221
BRADLEY JOHN OHM                              11333 GROVELAND                                                                              WHITTIER        CA    90604‐3525
BRADLEY JOHN SHANNON                          199 COBBLESTONE LN                                                                           SOMERSET        PA    15501‐3720
BRADLEY JON HOLLAND                           58 AFTEGLOW AVENUE                                                                           VERONA          NJ    07044
BRADLEY JOSEPH PAQUIN                         43922 CATAWBA                                                                                CLINTON TWP     MI    48038‐1313
BRADLEY K AUST                                20999 RAGAINS ROAD                                                                           LACYGNE         KS    66040
BRADLEY K CLEMENS                             15462 RD 125                                                                                 PAULDING        OH    45879‐9640
BRADLEY K TYGAR                               46 SHABER RD                                                                                 PATCHOGUE       NY    11772‐1126
BRADLEY K WILSON                              17216 GREEENVIEW                                                                             DETROIT         MI    48219‐3582
BRADLEY KIMMELMAN                             1738 NORTHAMPTON RD                 APT 201                                                  AKRON           OH    44313‐8596
BRADLEY KING                                  8016 SIERRA ESTATES                                                                          MANSFIELD       TX    76063‐7129
BRADLEY KIRK THOMPSON                         909 N GRANADA AVE                                                                            ALHAMBRA        CA    91801‐1112
BRADLEY KIRK THOMPSON TOD CARL DAVID THOMPSON 909 N GRANADA AVE                                                                            ALHAMBRA        CA    91801‐1112

BRADLEY KIRK THOMPSON TOD CATHLEEN DIANE      909 N GRANADA AVE                                                                            ALHAMBRA        CA    91801‐1112
THOMPSON
BRADLEY KLINE                                 1178 ATWATER AVE                                                                             CIRCLEVILLE     OH    43113
BRADLEY KUCZINSKI                             564 LAKEVILLE RD                                                                             NEW HYDE PARK   NY    11040
BRADLEY KYLE RHODES                           222 S JEFFERSON STREET                                                                       KNIGHTSTOWN     IN    46148‐1325
BRADLEY L ARRINGTON                           8751 MARTZ PAULIN RD                                                                         FRANKLIN        OH    45005‐4025
BRADLEY L DISBROW                             6388 E COOMBS RD                                                                             MOORSETOWN      MI    49651
BRADLEY L MANNING & JANE MANNING JT TEN       2944 GREENWOOD ACRES DR                                                                      DEKALB          IL    60115
BRADLEY L MCCAFFERTY                          544 NUTHATCH DR                                                                              ZIONSVILLE      IN    46077‐9562
BRADLEY L STINE                               2815 FRANKLIN DR                                                                             COLUMBUS        IN    47201‐2909
BRADLEY L WILLIAMS                            9028 RIDGECREEK DR                                                                           INDIANAPOLIS    IN    46256
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 476 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

BRADLEY L WILTSE                                 3717 LIVE OAK BLVD                                                                             FORT WAYNE      IN    46804‐3935
BRADLEY LEWIS                                    5037 NORTHLAND                                                                                 ST LOUIS        MO    63113‐1014
BRADLEY M BRITTON                                828 HATTIE DR                                                                                  ANDERSON        IN    46013‐1634
BRADLEY M CLARK                                  6635 PLUM DR                                                                                   MILWAUKIE       OR    97222‐2811
BRADLEY M COCHRAN                                1405 CAPITOL AVE                                                                               LINCOLN PARK    MI    48146‐3329
BRADLEY M GOFFENA                                818 ASHOKAN RD                                                                                 ENGLEWOOD       OH    45322‐2801
BRADLEY M JOSEPH                                 98 HIGHLAND AVE                                                                                MANHATTAN       CA    90266‐6537
                                                                                                                                                BEACH
BRADLEY M PUCKETT                                1944 ELM ST                                                                                    EMINENCE        KY    40019‐6551
BRADLEY M TEAGAN SR TR BRADLEY M TEAGAN JR UA    39512 VENETIAN                                                                                 HARRISON        MI    48045‐5717
3/21/52                                                                                                                                         TOWNSHIP
BRADLEY MAKOVEC GDN EST NATHAN MAKOVEC           29 MCLELLAN ST                        ARARAT VICORIA                         3377 AUSTRALIA
BRADLEY MICHAEL JOHN WEISS                       5170 PALMETTO DR                                                                               MELBOURNE BEACH FL    32951‐3244

BRADLEY MOORE                                    1432 MEREDITH DRIVE                                                                            CINCINNATI      OH    45231‐3216
BRADLEY NETTEKOVEN                               W5042 CTY HWY S                                                                                BLACK CREEK     WI    54106
BRADLEY NEWMAN CUST NICOLE MARIE NEWMAN          709 JEFFREY ST                                                                                 HERKIMER        NY    13350‐1612
UGMA NY
BRADLEY P BLESHENSKI                             3483 SAGATOO RD                                                                                STANDISH        MI    48658‐9475
BRADLEY P BURNS                                  2216 N 153RD ST                                                                                BASEHOR         KS    66007‐9382
BRADLEY P HUMPHREY                               4016 ALICE DR                                                                                  BRUNSWICK       OH    44212‐2706
BRADLEY PETERSON                                 5022 HWY 71                                                                                    REMBRANT        IA    50576‐7538
BRADLEY R BROWN & SHARON T BROWN JT TEN          238 HWY 85 CONN                                                                                BROOKS          GA    30205
BRADLEY R DIXON TOD SANDRA A DIXON SUBJECT TO    1208 RISECLIFF                                                                                 GRAND BLANC     MI    48439
STA TOD RULES
BRADLEY R GUENTHER                               2112 DIAMOND PEAK COURT                                                                        LAS VEGAS       NV    89117
BRADLEY R JENKINS                                15616 GIBSON MILL RD                                                                           CULPEPER        VA    22701‐1965
BRADLEY R LEVINSKY                               1040 FAIRGROUND                                                                                PLYMOUTH        MI    48170‐1967
BRADLEY R LOWE                                   9197 BROOKS ROAD                                                                               LENNON          MI    48449‐9639
BRADLEY R UPTON EX EST ROBERT L UPTON            N20810 SOUTH GABER RD                                                                          PERRONVILLE     MI    49873
BRADLEY R WORLAND                                4011 KELSEY WAY                                                                                SPRING HILL     TN    37174‐9270
BRADLEY RICHARD MC DONALD                        12563 CARA CARA LOOP                                                                           BRADENTON       FL    34212‐2949
BRADLEY ROBERT FRISTOE                           719 LANCASTER DRIVE                                                                            FAIRBANKS       AK    99712‐1117
BRADLEY ROBERT FRISTOE                           719 LANCASTER DR                                                                               FAIRBANKS       AK    99712
BRADLEY ROBERT KIMMEL                            2660 REYNOLDS CIRCLE                                                                           COLUMBIAVILLE   MI    48421‐8935
BRADLEY ROSS HOTCHNER                            12949 CLUB DR                                                                                  REDLANDS        CA    92373‐7417
BRADLEY S LOTSPEICH                              34400 S CANTRELL RD                                                                            ARCHIE          MO    64725‐7111
BRADLEY S RAINWATER                              5100 ATLAS RD                                                                                  GRAND BLANC     MI    48439‐9707
BRADLEY S SVEE                                   56 W DEXTER WAY                                                                                QUEEN CREEK     AZ    85243
BRADLEY SHANBURN                                 30038 PLEASANT TRAIL                                                                           SOUTHFIELD      MI    48076
BRADLEY T BERG                                   11708 HOOVER LN                                                                                FREDERICKSBRG   VA    22407‐6769
BRADLEY T COOPER                                 35 SADDLE RANCH LANE                                                                           HILLSDALE       NJ    07642‐1318
BRADLEY T LEDDEN                                 399 E MIMOSA LN                                                                                FAYETTEVILLE    AR    72703
BRADLEY T WILLIAMS                               441 MEADOW LANE                                                                                BARNWELL        SC    29812‐8160
BRADLEY TEAGAN JR CUST BRADLEY TEAGAN III UGMA   38461 RIVERSIDE DRIVE                                                                          CLINTON TWP     MI    48036‐2849
MI
BRADLEY TEAGAN JR CUST MARK A TEAGAN UGMA MI     25175 CROCKER BLVD                                                                             HARRISON TWP    MI    48045‐3435

BRADLEY THURMAN                                  2646 W LIBERTY AVE                                                                             BELOIT          WI    53511‐8543
BRADLEY V DICAIRANO                              501 LAKE SHORE RD                                                                              PUTNAM VALLEY   NY    10579‐1321
BRADLEY V ROEHL                                  2613 ELIZABETH ST                                                                              JANESVILLE      WI    53545‐6719
BRADLEY W AUERNHAMER                             5152 COTTRELL RD                                                                               VASSAR          MI    48768‐9499
BRADLEY W CASH                                   1524 TRAMPE                                                                                    ST LOUIS        MO    63138‐2542
BRADLEY W DARR                                   7500 BEACON LOOP                                                                               BISMARCK        ND    58501‐8647
BRADLEY W FREEMAN                                235 1/2 E WESLEY RD                                                                            ATLANTA         GA    30305‐3774
BRADLEY W GUTHRIE                                614 CAMP BROOKLYN RD                                                                           FITZGERALD      GA    31750‐7510
BRADLEY W HANSON                                 1800 E SALZBURG RD                                                                             BAY CITY        MI    48706‐9781
BRADLEY W WEESE                                  531 MC INTYRE RD                                                                               CALEDONIA       NY    14423‐9506
BRADLEY WADE REYNOLDS                            2524 BOOT HILL LN                                                                              FORT WORTH      TX    76177‐2137
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 477 of 850
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

BRADLEY WHITTEMORE ST ONGE U/GDNSHP OF ALFRED BOX 276‐A                                                                                           NORTH CLARENDON VT       05759‐0276
R ST ONGE
BRADLEY WILLIAM HULYK                            21343 PARK TREE                                                                                  KATY               TX    77450‐4031
BRADLY LUHRS                                     11686 DAKOTA ST                                                                                  NORWALK            IA    50211‐9159
BRADY A KARNS                                    1425 MEADOW LANE                                                                                 YELLOW SPRINGS     OH    45387‐1221
BRADY A WILLIAMS                                 12440 BENCK DRIVE                                                                                ALSIP              IL    60803
BRADY C ENOS                                     952 DARLING ST                                                                                   FLINT              MI    48532‐5030
BRADY C SMITH                                    3820 TRADITIONS BLVD N                                                                           WINTER HAVEN       FL    33884
BRADY D SMITH                                    8245 BENNETT LAKE RD                                                                             FENTON             MI    48430‐9088
BRADY EDWARD PEDLER                              7656 HARRINGTON LN                                                                               BRADENTON          FL    34202‐4085
BRADY KNIGHT JR & PATRICIA KNIGHT JT TEN         2445 DEPOT ST                                                                                    SPRING HILL        TN    37174‐2421
BRADY L PEARSON                                  18661 JOANN ST                                                                                   DETROIT            MI    48205‐2747
BRADY MCQUINN                                    16119 E PRINTICE LN                                                                              CENTENNIAL         CO    80015‐4170
BRADY R KIRBY                                    217 SANTA FE PIKE                                                                                COLUMBIA           TN    38401‐2335
BRADY R NELSON                                   4555 W 6100 N                           BOX 145                                                  BEAR RIVER         UT    84301‐0145
BRADY S HARRIS                                   2110 HINSON RD                                                                                   DOVER              FL    33527‐6300
BRADY STANLEY HARRIS                             2110 HINSON ROAD                                                                                 DOVER              FL    33527‐6300
BRADY STANLEY HARRIS CUST MICHAEL STANLEY HARRIS 2110 HINSON ROAD                                                                                 DOVER              FL    33527‐6300
UTMA FL
BRADY W STECKERT                                 4647 MIDLAND                                                                                     SAGINAW            MI    48603‐4902
BRADY WOO                                        10704 57TH AVE SO                                                                                SEATTLE            WA    98178‐2232
BRAEDEN STARRS                                   84 PARKWAY DR                           ST CATHARINES ON                       L2M 4J3 CANADA
BRAHM P ROCKWOOD                                 29 EMERSON PLACE                                                                                 NEEDHAM            MA    02492‐2828
BRAIN L DURAND                                   11195 CATALINA DR                                                                                FISHERS            IN    46038‐5342
BRAINARD R WILLIAMS                              9245 BEACH HAVEN CT                                                                              ELK GROVE          CA    95758‐7611
BRAINERD DISPATCH NEWSPAPER CO                   PO BOX 974                                                                                       BRAINERD           MN    56401‐0974
BRAMBLE E HURLEY                                 13722 BIRRELL                                                                                    SOUTHGATE          MI    48195‐1789
BRANCE H BEAMON                                  5332 HWY 43 N                                                                                    CAMDEN             MS    39045‐9736
BRANCH D CARLYLE                                 3136 DRESDEN ST                                                                                  COLUMBUS           OH    43224‐4268
BRANCH E CARPENTER                               11418 EDGELAKE CT                                                                                GLEN ALLEN         VA    23059‐1550
BRANCH R JONES                                   225 HICKORY POINT RD                                                                             PASADENA           MD    21122‐5955
BRANCHVILLE METHODIST CHURCH                     PO BOX 87                                                                                        BRANCHVILLE        SC    29432‐0087
BRANCY D RUBEN‐CARTER                            908 SOMMERSET DR                                                                                 TROY               MO    63379‐1662
BRANDEE LANE                                     PO BOX 1162                                                                                      MEDICAL LAKE       WA    99022‐1162
BRANDEN A BRICKLES                               4006 SHADOW OAK CT                                                                               FENTON             MI    48430‐9122
BRANDEN BLUM                                     6 CLOVERBROOKE COURT                                                                             POTOMAC            MD    20854‐6369
BRANDEN D OTTO                                   22872 EDCERTON RD                                                                                EDGERTON           KS    66021‐9247
BRANDEN PHILIPS DE BUHR                          812 GAMBLE DR                                                                                    LISLE              IL    60532‐2307
BRANDI J WILLIAMS                                916 MISTY HARBOR RD                                                                              CHAPIN             SC    29036‐9473
BRANDI M CALVERT & JARRED E CALVERT JT TEN       349 6TH ST APT G                                                                                 FT RICHARDSON      AK    99505
BRANDI N ANGELL                                  C/O DONNA M ANGELL                      9310 BAYON BLUFF                                         SPRING             TX    77379‐4449
BRANDI OLDT                                      9302 MEADOWHEATH DR                                                                              AUSTIN             TX    78729‐2826
BRANDIE ANDERSON                                 739 FOSTER AVENUE                                                                                HAMILTON           OH    45015‐2157
BRANDO SACHET                                    114 N 1ST STREET                                                                                 JEANNETTE          PA    15644‐3328
BRANDON A CLARK                                  14050 15 MILE RD                        APT 207                                                  STERLING HEIGHTS   MI    48312

BRANDON A MERZ CUST ROBERT H MERZ UTMA IL        6620 WESTCHESTER ST                                                                              HOUSTON            TX    77005‐3756
BRANDON AIRTH                                    2588 B DAVIDSONVILLE RD                                                                          GAMBRILLS          MD    21054‐2110
BRANDON ARDOIN                                   1045 WALTERS ST APT 110                                                                          LAKE CHARLES       LA    70605
BRANDON C LOKKEN                                 5068 CEDARDALE LANE                                                                              FLUSHING           MI    48433‐1073
BRANDON D WAGSTAFF                               303 BRIDGER RD                                                                                   EVANSTON           WY    82930‐4738
BRANDON DERUBEIS                                 27 EDENWOOD AVE                                                                                  BILLERICA          MA    01821
BRANDON DODSON                                   6424 W 62ND ST                                                                                   INDIANAPOLIS       IN    46278‐1907
BRANDON ELEK                                     911 MC KINLEY ST                                                                                 BAY CITY           MI    48706‐1805
BRANDON FIEDLER CUST KYLE FIEDLER UTMA KS        607 E 2ND                                                                                        NEWTON             KS    67114
BRANDON HAYS                                     12401 BERRY RIDGE                                                                                GUTHRIE            OK    73044
BRANDON J GIVINSKY                               7411 BILBY RD                                                                                    JEROME             MI    49249‐9726
BRANDON K MINNIS & SHEILA R MINNIS JT TEN        2010 W GILA BUTTE DR                                                                             QUEEN CREEK        AZ    85242
BRANDON KEITH BURNS                              10 PARK AVENUE CT                                                                                ELDRIDGE           IA    52748‐9662
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 478 of 850
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

BRANDON L POST & DAVID L POST JT TEN             3925 POIT DR                                                                                    LAPEER          MI    48446‐2824
BRANDON L SMITH                                  51325 PORTLAND RD                                                                               RACINE          OH    45771‐9706
BRANDON LEE BOWYER & LISA RENE BOWYER JT TEN     195 HERCULES                                                                                    SPARKS          NV    89436‐8503

BRANDON LEE LESTER                               3509 SAN BENITO CT                                                                              AUSTIN          TX    78738‐5470
BRANDON M BURTON & SANDRA L BURTON JT TEN        8170 HOLCOMB                                                                                    CLARKSTON       MI    48348‐4312

BRANDON O RIPPEON                                14931 SPRINGFIELD RD                                                                            DARNESTOWN      MD    20874‐3417
BRANDON P GACAYAN                                691 SCIROCCO DR                                                                                 YUBA CITY       CA    95991‐7574
BRANDON P GALE                                   1714 WESSEX CIRCLE                                                                              RICHARDSON      TX    75082‐3110
BRANDON RICHARD CHAMBERLIN                       15205 10TH CONCESSION                  SCHOMBERG ON                           L0G 1T0 CANADA
BRANDON ROTH                                     764 N WESTRIDGE AVENUE                                                                          GLENDORA        CA    91741‐2074
BRANDON STROUSE                                  3280 PEARL STREET                                                                               BOULDER         CO    80301
BRANDON WESTERFELD                               218 SKYVIEW CIR                                                                                 DALTON          OH    44618‐9070
BRANDON WILLIAM DEFORD                           4675 MERIT DR                                                                                   HILLIARD        OH    43026‐7491
BRANDON WILSON CUST DANNY WILSON UTMA IL         830 SPRINGMEADOW LANE                                                                           MALTA           IL    60150‐2005

BRANDY COLLINS                                   26 GLENWOOD AVE                                                                                 DAVENPORT       IA    52803‐3725
BRANDY DOLLINGER CUST ROBERT SCHRADER III UTMA   9467 PERE MARQUETTE DR                                                                          GRAND BLANC     MI    48439‐8316
MI
BRANDY M WILEY                                   913 SWALLOWS CHAPEL RD                                                                          COOKEVILLE      TN    38506
BRANDY MARIE MITCHELL                            9756 BELLBROOK RD                                                                               WAYNESVILLE     OH    45068‐9041
BRANDYWINE SECURITIES INC                        PO BOX 1489                                                                                     WILMINGTON      DE    19899‐1489
BRANHAM B BAUGHMAN                               5 WEEHAWKEN LANE                                                                                FRANKFORT       KY    40601‐3862
BRANISLAV SMETANA                                1023 CLAREMONT DR                                                                               DOWNERS GROVE   IL    60516
BRANKO J SPAHICH                                 8330 MOON ROAD                                                                                  SALINE          MI    48176‐9409
BRANKO MIHALOVIC TR MIHALOVIC LIVING TRUST UA    1814 SE 5TH ST                                                                                  CAPE CORAL      FL    33990‐1601
01/17/85
BRANKO MITKOSKI                                  2578 ORMSBY DR                                                                                  STERLING HTS    MI    48310‐6971
BRANKO S VINSKI & JOYCE B KELNER JT TEN          1710 BRIARWOOD                                                                                  MADISON HTS     MI    48071‐2274
BRANKO STIMAC                                    19 HUNTER ST                                                                                    BERGEN          NY    14416‐9527
BRANNER M WATSON                                 7237 DAYTON LIBERTY ROAD                                                                        DAYTON          OH    45418‐1144
BRANSON E JACOBS & KATHLEEN M JACOBS JT TEN      12571 FRANK DR S                                                                                SEMINOLE        FL    33776‐1723

BRANT KENNEDY                                    47363 MCCARTHYS ISLAND CT                                                                       POTOMAC FALLS   VA    20165‐3119
BRANT R EMARD                                    1959 MORRISON BLVD                                                                              CANTON          MI    48187
BRASIE T CASTRO                                  13053 ARBORWALK LN                                                                              TUSTIN          CA    92782‐8042
BRATCHER CHEEK                                   910 NORTHFIELD                                                                                  PONTIAC         MI    48340‐1455
BRAULIO A DASILVA                                56 WOLDEN RD                                                                                    OSSINING        NY    10562‐5302
BRAXTON D SELF                                   9993 BRADFORD TRAFFORD ROAD                                                                     WARRIOR         AL    35180‐2421
BRAXTON ELWOOD SMITH                             3273 PERRY BLIZZARD ROAD                                                                        DEEP RUN        NC    28525‐9633
BRAXTON ROWE                                     215 PENDLETON DR                                                                                ATHENS          GA    30606‐1646
BRAYFORD BOBO                                    842 E CANYON ROCK RD                                                                            QUEEN CREEK     AZ    85243‐6248
BRAYTON D JONES TR UA 10/29/90 BRAYTON D JONES   7705 SMITH RD                                                                                   ROME            NY    13440‐1523

BREANNA M PFEIFER                                HC‐1 BOX 148                                                                                    EAGLE HARBOR    MI    49950‐9737
BREATHEL THOMAS                                  5525 GRANGE HALL RD                                                                             HOLLY           MI    48442‐8803
BREATHEL THOMAS                                  5525 GRANGE HALL RD                                                                             HOLLY           MI    48442‐8803
BREAVIOUS M GREEN                                1809 ARTHUR ST                                                                                  SAGINAW         MI    48602‐1005
BREENA LUBOW KAPLAN                              148 W WATERVIEW ST                                                                              NORTHPORT       NY    11768‐1241
BRENDA A AMPY                                    2710 MAGNOLIA TREE LN                                                                           DURHAM          NC    27703‐6252
BRENDA A BOONE EX EST BEATRICE A BOONE           23 BEECH STREET                                                                                 EAST ORANGE     NJ    07018
BRENDA A CAMERON                                 5375 TAYLOR LN                                                                                  CLARKSTON       MI    48346‐1746
BRENDA A CHILDS                                  19766 RD 1038                                                                                   OAKWOOD         OH    45873‐9074
BRENDA A DE PINA                                 401 BEDFORD ST                                                                                  WHITMAN         MA    02382‐1821
BRENDA A GARDNER                                 2333 HAMMERSLEA                                                                                 ORION           MI    48359‐1625
BRENDA A HARMON                                  48 WOODHAVEN LANE                                                                               WILLINGBORO     NJ    08046‐3417
BRENDA A HUSKEY                                  1033 CR 910                                                                                     JOSHUA          TX    76058‐4657
BRENDA A JOHNSON                                 2150 LAKEVIEW DR                       APT 246                                                  YPSILANTI       MI    48198‐6736
                                          09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 479 of 850
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

BRENDA A KIMBROUGH                              22040 STUDIO                                                                                  TAYLOR           MI    48180‐2443
BRENDA A LEACH                                  7832 LAKESHORE RD                                                                             LAKEPORT         MI    48059‐1631
BRENDA A LEE PERSONAL REPRESENTATIVE U/W OF     25 N CAPE COURT                                                                               BELLEVILLE       IL    62226‐4811
MARGUERITE LEE
BRENDA A LLOYD                                  18283 BILTMORE ST                                                                             DETROIT          MI    48235‐3223
BRENDA A MAULL                                  12661 STANLEY                                                                                 BELLEVILLE       MI    48111‐2280
BRENDA A MCCALLUM                               5620 DARBY RD                                                                                 SARANAC          MI    48881
BRENDA A MILLER                                 760 CAMPBELL LN                      STE 106                                                  BOWLING GREEN    KY    42104‐1086
BRENDA A PANDZIC                                27408 BLOSSOM BLVD                                                                            NORTH OLMSTED    OH    44070‐1714
BRENDA A PRICKETT                               PO BOX 47423                                                                                  INDIANAPOLIS     IN    46247‐0423
BRENDA A REISER                                 ATTN BRENDA JACKS                    2544 CEDAR KEY DR                                        LAKE ORION       MI    48360‐1824
BRENDA A SHEARER CUST ANN D PODLICH UGMA WI     1411 KENSINGTON RD                   APT C1                                                   HENDERSONVLLE    NC    28791‐2356

BRENDA A SHINABARGER                            2608 HANSFORD DR                                                                              THOMPSONS        TN    37179‐9716
                                                                                                                                              STATION
BRENDA A THOMPSON                               9316 CHAMBERLAIN                                                                              ROMULUS          MI    48174‐1538
BRENDA A WARNER                                 2707 LAWRENCE RD                     APT 160                                                  ARLINGTON        TX    76006‐3783
BRENDA ALELIA SPENCER                           39729 WALDORF DR                                                                              CLINTON TWP      MI    48038‐2890
BRENDA ANN JENSEN                               6923 CADMAR LANE NW                                                                           SEABECK          WA    98380
BRENDA ARENS                                    231 WOODLAWN CT                                                                               ZEELAND          MI    49464‐1929
BRENDA ASHLEY                                   112 PINE OAK LANE                                                                             FLORENCE         MS    39073
BRENDA AYOUB & IONA KISOR JT TEN                10852 E FANFOL LANE                                                                           SCOTTSDALE       AZ    85259‐5705
BRENDA B ADKINS                                 10388 DOUBLE ISLAND RD                                                                        GREEN MOUNTAIN   NC    28740‐6028

BRENDA B BURNETT                                3921 TANGLE LN                                                                                WINSTON‐SALEM    NC    27106‐2929
BRENDA B DINSMORE                               609 RAVENWOODS DR                                                                             CHESAPEAKE       VA    23322‐2756
BRENDA B FISHER                                 PO BOX 3231                                                                                   WARREN           OH    44485‐0231
BRENDA B LEE                                    RTE 2 BOX 871                                                                                 GREEN MOUNTAIN   NC    28740‐9216

BRENDA B MC MILLAN                              109 GUILFORD DR                                                                               EASLEY           SC    29642‐8626
BRENDA B PONSARD                                2508 CRAIG RD                                                                                 COLUMBIA         SC    29204‐2635
BRENDA B REBER                                  2148 MARTINDALE S W                                                                           WYOMING          MI    49509‐1838
BRENDA B SMUKE                                  220 PAWNEE COURT                                                                              GIRARD           OH    44420‐3656
BRENDA B ZAHARES                                204 ALEWIVE RD                                                                                KENNEBUNK        ME    04043‐6110
BRENDA BAKER                                    2165 KENT RD                                                                                  KENT             NY    14477
BRENDA BALON                                    26 GREENWOOD LANE                                                                             LINCOLN          RI    02865‐4727
BRENDA BEARD                                    163 S AIRPORT RD                                                                              SAGINAW          MI    48601‐9459
BRENDA BENNETT BOOKS & LAWRENCE JAMES BOOKS     PO BOX 151                                                                                    CHASE            MD    21027‐0151
JT TEN
BRENDA BERNAT TOD CHRIS BERNAT SUBJECT TO STA   255 NE 43RD STREET                                                                            POMPANO BEACH    FL    33064
TOD RULES
BRENDA BRAMS TR REVOCABLE TRUST 12/26/89 U‐A    9724 LOCKFORD ST                                                                              LOS ANGELES      CA    90035‐2923
BRENDA BRAMS
BRENDA BREEDLOVE                                7715 ABINGTON                                                                                 DETROIT          MI    48228‐3516
BRENDA BROOKS WHITE CUST KENAN A WHITE UGMA     2800 ADMIRAL #14                                                                              ORANGE           TX    77630‐6100
TX
BRENDA BROWN                                    ATTN BRENDA MCDOWELL                 4029 MARION WAY                                          LONG BEACH       CA    90807‐3113
BRENDA C BURRUS                                 6185 GOLFVIEW DR                                                                              BURTON           MI    48509‐1312
BRENDA C GRAHAM                                 4390 N IRISH RD                                                                               DAVISON          MI    48423‐8946
BRENDA C GRIFFIN                                PO BOX 1236                                                                                   WINTERVILLE      NC    28590‐1236
BRENDA C HIPSKIND                               319 E 2ND                                                                                     FAIRMOUNT        IN    46928‐1714
BRENDA C KELLY                                  7172 N JENNINGS RD                                                                            MOUNT MORRIS     MI    48458‐9482
BRENDA C NANOSKI                                10013 W 52 ST                                                                                 MERRIAM          KS    66203‐2079
BRENDA C RAUPP                                  2441 EATON GATE                                                                               LAKE ORION       MI    48360‐1846
BRENDA C REIS                                   19 TILL ROCK LANE                                                                             NORWELL          MA    02061‐2807
BRENDA C WATSON                                 1858 CHARLES DR                                                                               AVON             IN    46123‐8529
BRENDA C WEHNER                                 3000 KENMORE AVENUE                                                                           DAYTON           OH    45420‐2236
BRENDA CAROL BARKER                             718 CONIFER TRL                                                                               LAKE ALMANOR     CA    96137‐9512
BRENDA CAROL COULTER                            106 CRESTWOOD COVE                                                                            CLINTON          MS    39056
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 480 of 850
Name                                               Address1                                Address2             Address3          Address4          City              State Zip

BRENDA CAROLE SMITH                             23376 KIM AVE                                                                                       PORT CHARLOTTE    FL    33954‐3655
BRENDA CARROLL                                  C/O BRENDA CARROLL HUEBNER                 303 CHEROKEE RD                                          GREENWOOD         MS    38930‐2911
BRENDA CHANEY                                   6150 MEADOWGREENE DRIVE                                                                             WATERFORD         MI    48327‐2944
BRENDA CHARLES SWEENEY                          HCI BOX 148                                                                                         EAGLE HARBOR      MI    49950‐0148
BRENDA CHURTON                                  114 GOLF LINKS DR                          BADEN ON                               W3A 3P1 CANADA
BRENDA COBB                                     3224 TULLAMORE RD                                                                                   CLEVELAND HTS     OH    44118‐2915
BRENDA COE CARLON                               13735 BECKWITH DR NE                                                                                LOWELL            MI    49331‐9366
BRENDA COLEMAN                                  341 DORCHESTER                                                                                      CINCINNATI        OH    45219‐3013
BRENDA CROUSORE                                 5749 SOUTH 950 EAST                                                                                 WALTON            IN    46994‐9515
BRENDA CURE                                     C/O MRS B DAY                              W 8311 TAYLOR RD                                         NEW LISBON        WI    53950‐9740
BRENDA D BLACK                                  4110 NW 7 ST                                                                                        COCONUT CREEK     FL    33066‐1619
BRENDA D CHAMBERS                               13501 VILLAGE SQUARE DR                                                                             SOUTHGATE         MI    48195‐3420
BRENDA D COOK                                   34175 KEYSTONE DR                                                                                   SOLDOTNA          AK    99669‐8536
BRENDA D DAVIS                                  6 WHIRLAWAY CT                                                                                      GREENVILLE        SC    29615‐4050
BRENDA D FASONE                                 14108 WAINWRIGHT CT                                                                                 BOWIE             MD    20715‐1738
BRENDA D GILBERT CUST MARCISS A GILBERT UTMA MD 12400 WHEELING AVE                                                                                  UPPR MARLBORO     MD    20772

BRENDA D JACKSON                                   C/O SCOTT 920 S GEORGE RD               PO BX 270                                                CLARKSVILLE       OH    45713
BRENDA D LAMB                                      34200 HWY 17                                                                                     BRINKLEY          AR    72021‐7127
BRENDA D LUCAS                                     5785 N ADRIAN HWY                                                                                ADRIAN            MI    49221‐9305
BRENDA D PETRIE                                    12561 MURRAY                                                                                     TAYLOR            MI    48180‐4294
BRENDA D SHAPARD                                   7010 CLUB HOUSE CIR                                                                              NEW MARKET        MD    21774‐6730
BRENDA D SIMS                                      814 W HURON                                                                                      PONTIAC           MI    48341‐1531
BRENDA D SMITH                                     2721 LYNTZ TOWNLINE RD SW                                                                        WARREN            OH    44481‐9728
BRENDA D'ANNANZIO                                  21 KERR DR                                                                                       TRENTON           NJ    08610‐1009
BRENDA DALE                                        552 WEST 111TH PLACE                                                                             LOS ANGELES       CA    90044‐4236
BRENDA DARLENE FLUSTY                              6107 BERRYMOOR DR                                                                                GRAND BLANC       MI    48439
BRENDA DEGROOT                                     W4587 KRUEGER RD                                                                                 BLACK CREEK       WI    54106‐8122
BRENDA DIANNE GREEN                                2700 PEACEBURG RD                                                                                JACKSONVILLE      AL    36265‐7711
BRENDA E BOYD                                      25709 ETON                                                                                       DEARBORN HTS      MI    48125‐1520
BRENDA E GOYETTE & DOMINIC T GOYETTE JT TEN        6089 PLANTATION DRIVE                                                                            GRAND BLANC       MI    48439‐9525
BRENDA E JONES                                     RR 2 BOX 664                                                                                     JERSEY SHORE      PA    17740‐9521
BRENDA E KIMBLE                                    619 ASHLEY CIRCLE                                                                                ROCHESTER HILLS   MI    48307‐4506
BRENDA E KIMBLE & DALTON L KIMBLE JT TEN           619 ASHLEY CIRCLE                                                                                ROCHESTER HILLS   MI    48307‐4506
BRENDA E KINSEY                                    6117 ROYAL BIRKDALE                                                                              JAMESVILLE        NY    13078‐9712
BRENDA E MARSHALL & STANLEY O MARSHALL II JT TEN   11956 WASHBURN RD                                                                                COLUMBIAVILLE     MI    48421‐9324

BRENDA E METCALFE                                  3015 STATE ROUTE 97 W                                                                            LEXINGTON         OH    44904‐8717
BRENDA E MILES                                     4916 GLENCROSS DR                                                                                DAYTON            OH    45406‐1126
BRENDA E SCOTT                                     2224 MCGUFFEY RD                                                                                 YOUNGSTOWN        OH    44505‐3866
BRENDA E SMITH                                     5522 KESSLER BLVD N DR                                                                           INDIANAPOLIS      IN    46228‐2072
BRENDA F BELL                                      61 ROLLING HILLS LANE                                                                            MURPHY            NC    28906‐3873
BRENDA F BROCK                                     327 OXFORD DR                                                                                    MARTINSVILLE      VA    24112‐0061
BRENDA F BRYAN                                     9526 GODFREY                                                                                     BANCROFT          MI    48414‐9757
BRENDA F CRISWELL & RONALD L CRISWELL JT TEN       9509 FAIR OAKS DR                                                                                GOODRICH          MI    48438‐9474

BRENDA F GILLESPIE                                 7986 WALNUT DR                                                                                   AVON              IN    46123‐8413
BRENDA F HODGES                                    2804 KNOLLVIEW DR                                                                                DECATUR           GA    30034‐3215
BRENDA F NANCE                                     2211 MARSHALL AVE                                                                                HUNTSVILLE        AL    35810‐1586
BRENDA F NANCE & EDNA C NANCE JT TEN               2211 MARSHALL AVE                                                                                HUNTSVILLE        AL    35810‐1586
BRENDA F NEWELL                                    720 PINE ST                                                                                      LAKE CHARLES      LA    70601‐4333
BRENDA F SHARP                                     1850 SHARPS CHAPEL RD                                                                            SHARPS CHAPEL     TN    37866‐1903
BRENDA F WILLIAMS                                  256 CROSSPLAIN WAY                                                                               BOWLING GREEN     KY    42104‐7728
BRENDA FEASEL                                      1124 PAULINE AVE                                                                                 COLUMBUS          OH    43224‐3363
BRENDA G ANDERSON                                  213 WINDSOR CIRCLE                                                                               BOWLING GREEN     KY    42101‐7333
BRENDA G BROTT                                     1013 COURTNEY NW                                                                                 GRAND RAPIDS      MI    49504‐3052
BRENDA G CRAFT                                     C/O BRENDA G GRUMWALD                   30611 PRESCOTT                                           HURON TWP         MI    48174‐9711
BRENDA G FLEMING                                   8381 POST ROAD                                                                                   ALLISON PARK      PA    15101‐3242
BRENDA G FORD                                      109 NW 81ST                                                                                      OKLAHOMA CITY     OK    73114‐3201
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 481 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

BRENDA G HEDDY                                   5336 DUFFIELD RD                                                                               FLUSHING          MI    48433
BRENDA G HOLLOWAY                                436 MCGUERIN ST                                                                                DAYTON            OH    45431‐1945
BRENDA G KRAVEC                                  8250 KENYON DR SE                                                                              WARREN            OH    44484‐3021
BRENDA G POLSTON                                 600 BENBOW CIRCLE                                                                              NEW LEBANON       OH    45345‐1665
BRENDA G SANDERS & RICHARD W SANDERS JT TEN      5313 TORREY RD                                                                                 FLINT             MI    48507‐5953

BRENDA G SELF                                    4048 WOODBINE CT                                                                               SHELBY TWP        MI    48316‐1345
BRENDA G SELF & JERRY B SELF JT TEN              4048 WOODBINE CT                                                                               SHELBY TOWNSHIP   MI    48316‐1345

BRENDA G STEWART                                 4116 SMITH RD                                                                                  NORWOOD           OH    45212‐4116
BRENDA G TOPP                                    21149 DUNDEE DR                                                                                NOVI              MI    48375‐4743
BRENDA GAIL CROWDER                              13916 MANOR                                                                                    DETROIT           MI    48238‐2252
BRENDA GAY MITCHELL                              302 SE WINBURN TRAIL                                                                           LEES SUMMIT       MO    64063‐3344
BRENDA GAYE BERRY                                5622 FLEETWING DR                                                                              LEVITTOWN         PA    19057‐4121
BRENDA GEORGE                                    ATTN BRENDA MIDDLEBROOKS              3921 N FORDHAM PL                                        CINCINNATI        OH    45213‐2326
BRENDA GERECKE                                   512 NEWBERRY LANE                                                                              HOWELL            MI    48843‐9558
BRENDA GREEN                                     7403 KATHYDALE RD                                                                              BALTIMORE         MD    21208‐5704
BRENDA H CROOM & JESSE J CROOM JT TEN            8516 RIVER RD                                                                                  PETERSBURG        VA    23803‐3132
BRENDA H RICH                                    202 LONGBROOK DR                                                                               ELON COLLEGE      NC    27244‐9316
BRENDA H SEEFLUTH                                97 VIVANTE BLVD                       UNIT 9732                                                PUNTA GORDA       FL    33950‐2027
BRENDA H SEEFLUTH & THEODORE A SEEFLUTH JT TEN   97 VIVANTE BLVD                       UNIT 9732                                                PUNTA GORDA       FL    33950‐2027

BRENDA H SERIO                                  8308 LEWIS MORRISON RD                                                                          PINSON            AL    35126‐3817
BRENDA HANSEN                                   163 WA SEH                                                                                      ST IGNACE         MI    49781‐9433
BRENDA HAWKINS                                  642 LAKESIDE DR                                                                                 N PALM BEACH      FL    33408
BRENDA HORNE                                    39676 CLOS DU VAL                                                                               MURRIETA          CA    92563‐4846
BRENDA HUDGINS                                  108 PAPAYA ST                                                                                   LAKE JACKSON      TX    77566
BRENDA HUDGINS                                  108 PAPAYA                                                                                      LAKE JACKSON      TX    77566
BRENDA I CLAUSEN TOD WENDY B FORRESTER SUBJECT 5286 WOODCREST DR                                                                                SALT LAKE CTY     UT    84117
TO STA TOD RULES
BRENDA I GREENE                                 4905 10TH COURT EAST                                                                            TUSCALOSSA        AL    35405‐5113
BRENDA J AKRIDGE                                ATTN BRENDA J MAGERS                   3505 HUON DR                                             LOUISVILLE        KY    40218‐2129
BRENDA J AMMERMAN                               1200 CHRISTEL AVENUE                                                                            OANAMA CITY       FL    32401‐2030
BRENDA J AMOS                                   23142 TRIPLE CROWN DR                                                                           RUTHER GLEN       VA    22546‐3481
BRENDA J ANDERSON                               2651 PARASOL DR                                                                                 TROY              MI    48083‐2454
BRENDA J BAILEY                                 2100 PROBASCO WAY                                                                               SPARKS            NV    89431‐3343
BRENDA J BOYD                                   10740 FELLOWS CREEK                                                                             PLYMOUTH          MI    48170‐6348
BRENDA J BROWN                                  4938 PINEBROOK DR                                                                               FORT WAYNE        IN    46804‐1780
BRENDA J BRYANT                                 1409 SOLDIERS HOME RD                                                                           DAYTON            OH    45418‐2143
BRENDA J BURNS                                  RR 2 BOX 2690                                                                                   PIEDMONT          MO    63957‐9633
BRENDA J CAMPBELL                               3119 COLUMBUS AVE                                                                               ANDERSON          IN    46016‐5441
BRENDA J CAPLIS                                 4620 FIELDVIEW DR                                                                               GRAND LEDGE       MI    48837‐8144
BRENDA J CARDWELL                               5295 MILLWOOD DR                                                                                FLINT             MI    48504‐1127
BRENDA J CHRONISTER CUST KATE E CHRONISTER UTMA 1138 TWP RD 296                                                                                 HAMMONDSVILLE     OH    43930‐7934
OH
BRENDA J CHRONISTER CUST SARAH L CHRONISTER     1138 TOWNSHIP HIGHWAY 296                                                                       HAMMONDSVILLE     OH    43930‐7934
UTMA OH
BRENDA J CORNELL                                1500 STARLIGHT                                                                                  SAINT LOUIS       MO    63135‐1414
BRENDA J CROXTON                                10550 CHALKLEY RD                                                                               RICHMOND          VA    23237‐4149
BRENDA J DANIEL                                 20166 LESURE                                                                                    DETROIT           MI    48235‐1536
BRENDA J DAVIS                                  5375 HEDGEWICK WAY                                                                              CUMMINGS          GA    30045
BRENDA J DUNN                                   13452 MARSHALL RD                                                                               MONTROSE          MI    48457‐9716
BRENDA J ECTON CUST SAVANNAH K ECTON UTMA FL    1212 LUCAS AVE                                                                                  LOVELAND          CO    80537‐8616

BRENDA J ECTON CUST SCARLETT B ECTON UTMA FL     1212 LUCAS AVE                                                                                 LOVELAND          CO    80537‐8616

BRENDA J EWING                                   2520 HARTFORD DR                                                                               ELLENWOOD         GA    30294‐3944
BRENDA J FAIRBANKS                               1210 BYRON AVENUE SW                                                                           DECATUR           AL    35601‐3624
BRENDA J FLUKER                                  1411 BARBARA DRIVE                                                                             FLINT             MI    48505‐2534
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 482 of 850
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

BRENDA J FLUKER                                   1411 BARBARA DRIVE                                                                            FLINT           MI    48505‐2534
BRENDA J GIVENS                                   RT 2 BOX 230                                                                                  WANETTE         OK    74878‐9769
BRENDA J GRAY                                     8583 WAHRMAN                                                                                  ROMULUS         MI    48174‐4138
BRENDA J GULLETTE                                 532 LISCUM DR                                                                                 DAYTON          OH    45427‐2703
BRENDA J HARRIS                                   10755 S WENTWORTH                                                                             CHICAGO         IL    60628‐3342
BRENDA J HEIL                                     1719 GUMMER AVE                                                                               DAYTON          OH    45403‐3433
BRENDA J HENRY                                    860 W THOMAS L PKWY                                                                           LANSING         MI    48917‐2120
BRENDA J HERRON                                   2100 BRITTANY OAKS TRL NE                                                                     WARREN          OH    44484‐3900
BRENDA J HOARD                                    PO BOX 128                                                                                    VERMONTVILLE    MI    49096
BRENDA J HOLLOWAY                                 2006 SPAULDING ROAD                                                                           DOTHAN          AL    36301‐6021
BRENDA J HOWERY                                   4330 WEST 300 NORTH                                                                           KOKOMO          IN    46901
BRENDA J ISABELL                                  7119 SHULL RD                                                                                 DAYTON          OH    45424‐1232
BRENDA J JACKSON                                  8024 SUNSET CIRCLE                                                                            GRANDVIEW       MO    64030‐1462
BRENDA J KENNEDY                                  4226 GOLFWAY DR                                                                               EIGHT MILE      AL    36613‐3705
BRENDA J KINGSBURY                                16374 GENEVA DR                                                                               LINDEN          MI    48451‐8725
BRENDA J LENFORD                                  2203 GEMINI DR                                                                                BASTROP         LA    71220‐3469
BRENDA J MC MANUS                                 6031 73RD ST                                                                                  LUBBOCK         TX    79424‐1910
BRENDA J MCFARLANE                                4 AVALON ST                          DIEPPE NB                              E1A 1J9 CANADA
BRENDA J MCGEE                                    10300 DARTMOUTH ST                                                                            OAK PARK        MI    48237‐1706
BRENDA J MCKEE                                    8063 N OAK RD                                                                                 DAVISON         MI    48423‐9346
BRENDA J NATION                                   5 1/2 WEST LANE                                                                               DEARBORN        MI    48124‐1193
BRENDA J O'CONNOR                                 13955 RATTALEE LAKE RD                                                                        DAVISBURG       MI    48350‐1245
BRENDA J ORLOWSKI                                 8066 SOUTH 79TH ST                                                                            FRANKLIN        WI    53132‐8926
BRENDA J PERKINS                                  1589 SHERIDAN RD                                                                              CARO            MI    48723‐9628
BRENDA J PERKS                                    3221 EAGLE CREEK RD                                                                           LEAVITTSBURG    OH    44430‐9413
BRENDA J POBANZ                                   2529 BULLOCK RD                                                                               BAY CITY        MI    48708‐8409
BRENDA J RICKETTS                                 PO BOX 177                                                                                    FLOVILLA        GA    30216‐0177
BRENDA J SEDER                                    R D #2 BOX 2697                                                                               RUSSELL         PA    16345‐9541
BRENDA J SENESAC                                  70 SANDHILL RD                                                                                BRISTOL         CT    06010‐2932
BRENDA J SESSION                                  3201 W MICHIGAN ST                                                                            INDIANAPOLIS    IN    46222‐3559
BRENDA J SHAUGHNESSY                              3722 NW 59TH ST                                                                               COCONUT CREEK   FL    33073‐4110
BRENDA J SHIFLET                                  1203 E WHEELER                                                                                KOKOMO          IN    46902‐2324
BRENDA J SHUMPERT                                 8451 S MARSHFIELD AVE                                                                         CHICAGO         IL    60620‐4716
BRENDA J SMITH                                    14506 PUTNAM ROAD RR31               SPRINGFIELD ON                         N0L 2J0 CANADA
BRENDA J STAFFORD                                 48 SUMMIT DR                                                                                  ATKINSON        NH    03811
BRENDA J STEARNS & JAMES R STEARNS JT TEN         6362 STURBRIDGE CT                                                                            SARASOTA        FL    34238‐2780
BRENDA J SWAFFORD CUST BRE'ANN JONES UTMA TN      148 MONZA LANE                                                                                CLEVELAND       TN    37312‐6451

BRENDA J SWAFFORD CUST JODI SWAFFORD UTMA TN      148 MONZA LANE                                                                                CLEVELAND       TN    37312‐6451

BRENDA J SWAFFORD CUST MARCUS W JONES UTMA TN 148 MONZA LANE                                                                                    CLEVELAND       TN    37312‐6451

BRENDA J TAYLOR                                   3658 ROUND HILL AVE                                                                           ROANOKE         VA    24012‐3320
BRENDA J TAYLOR                                   1891 RICHTREE RD                                                                              COLUMBUS        OH    43219‐1650
BRENDA J TEW POLZIN                               3451 E SCOTTWOOD AVE                                                                          BURTON          MI    48529‐1851
BRENDA J THOMAS                                   4423 SPINKS CREEK LN                                                                          SPRING          TX    77388‐3949
BRENDA J TWYMAN                                   5835 SHADY COVE LN                                                                            DAYTON          OH    45426‐2117
BRENDA J WALKER & JACK L WALKER JT TEN            534 E PALFREY                                                                                 SAN ANTONIO     TX    78223‐3452
BRENDA J WARD                                     500 N WALNUT ST APT 8F                                                                        WILMINGTON      DE    19801‐3844
BRENDA J WEBB                                     23003 CHANDLERS LN                   APT 231                                                  OLMSTED FALLS   OH    44138‐3268
BRENDA J WEBER CUST ERICA J WEBER UTMA PA         5186 BIG RUN‐PRESCOTTVILLE RD                                                                 REYNOLDSVILLE   PA    15851
BRENDA J WILLIAMS                                 6740 MERRIMAN RD 131                                                                          ROMULUS         MI    48174‐1971
BRENDA J WITTCOP                                  7393 RIDGE ROAD                                                                               LOCKPORT        NY    14094‐9458
BRENDA J ZELLNER                                  10740 FELLOWS CREEK DR                                                                        PLYMOUTH        MI    48170‐6348
BRENDA JANE LEDFORD                               1728 BENWOOD DR                                                                               LEXINGTON       KY    40505‐4020
BRENDA JOY LAUTZ CUST EMILY PRIDE LAUTZ UGMA PA   2236 E DEERFIELD DR                                                                           MEDIA           PA    19063‐1834

BRENDA JOYCE ALLEN                                6230 DANA WAY                                                                                 CUMMING         GA    30040‐4298
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 483 of 850
Name                                            Address1                               Address2               Address3        Address4          City            State Zip

BRENDA JOYCE OVERMAN & WILLIAM ROBERT           8059 E POTTER                                                                                   DAVISON         MI    48423‐8112
OVERMAN JT TEN
BRENDA JOYCE THOMPSON                           2529 E WEAVER ST                                                                                DURHAM          NC    27707‐3067
BRENDA K BELL                                   356 RUTLAND AVENUE                                                                              AUSTINTOWN      OH    44515‐1834
BRENDA K BROOKS & DEBRA S HILSON JT TEN         134 S HOME ROAD                                                                                 MANSFIELD       OH    44906
BRENDA K BRYANS                                 340 PINE & 11 1/2 ST APT 2                                                                      WAYNESBORO      VA    22980
BRENDA K BYERS                                  3171 E 600 N                                                                                    WINDFALL        IN    46076‐9359
BRENDA K COOTS                                  107 LENOX DR                                                                                    COLUMBIA        TN    38401‐7203
BRENDA K DURA & SUSAN M TOMPKINS JT TEN         3111 SCHOOL HOUSE DR                                                                            WATERFORD       MI    48329‐4328
BRENDA K ENGELI                                 W4243 EAST SARGENT ROAD                                                                         SOUTH WAYNE     WI    53587
BRENDA K ENTREKIN                               ATTN BRENDA ENTREKIN ANDERSON          14624 EASTFIELD ROAD                                     HUNTERSVILLE    NC    28078‐6638
BRENDA K GARCIA                                 8720 CADMUS RD                                                                                  CLAYTON         MI    49235‐9699
BRENDA K GIBSON                                 9051 W 1300 N                                                                                   ELWOOD          IN    46036‐8648
BRENDA K GUSEILA                                856 E HURON RIVER DR                                                                            BELLEVILLE      MI    48111‐2872
BRENDA K HAMER                                  26440 FISHERMANS RD                                                                             PAISLEY         FL    32767‐9397
BRENDA K HARRISON                               RT11 BOX 286                                                                                    BEDFORD         IN    47421‐9718
BRENDA K KALUSH                                 9935 NORMAN ROAD                                                                                CLARKSTON       MI    48348‐2441
BRENDA K LAWSON                                 358 STATE ROUTE#127                                                                             W MANCHESTER    OH    45382
BRENDA K LIPPINCOTT TR UA 04/22/2009 BRENDA K   1227 HASLETT ROAD                                                                               HASLETT         MI    48840
LIPPINCOTT LIVING TRUST
BRENDA K LYTLE                                  5781 LANGHORN DR                                                                                COLUMBUS        OH    43235‐7282
BRENDA K MARSH                                  PO BOX 1264                                                                                     CALERA          AL    35040‐1264
BRENDA K MCCONNER                               1691 VALDOSTA CIR                                                                               PONTIAC         MI    48340‐1083
BRENDA K RAASCH                                 7168 S HIGHWAY 1680                                                                             JAMESTOWN       KY    42629‐7934
BRENDA K RICE & ROBERT E RICE JT TEN            2109 CHICKADEE CT                                                                               ST PAUL         MO    63366‐4542
BRENDA K RING                                   353 WINTER RIDGE BLVD                                                                           WINTER HAVEN    FL    33881‐5804
BRENDA K ROSS                                   1207 E RD 200 NORTH                                                                             DANVILLE        IN    46122
BRENDA K SAMPSON BYRDWELL                       924 MILLER AVE                                                                                  SHELBYVILLE     KY    40065‐1621
BRENDA K SMITH                                  552 SHERMAN DR                                                                                  FRANKLIN        OH    45005‐7101
BRENDA K WAGNER                                 3956 PETTY LANE                                                                                 COLUMBIA        TN    38401‐7316
BRENDA K WEBB                                   8060 CAMDEN SUGAR VALLEY RD                                                                     CAMDEN          OH    45311‐8534
BRENDA K WEIR                                   108 MARYETTE ST                                                                                 DURAND          MI    48429‐1126
BRENDA K WYATT                                  9 VICTOR DR                                                                                     MOORESVILLE     IN    46158‐1061
BRENDA KAY CASTILLO & ROLAND CASTILLO JT TEN    2625 WILSON WAY                                                                                 BLAIRSVILLE     GA    30512‐5461

BRENDA KAY LINDSEY                              12 GUADALUPE DRIVE                                                                              ATHENS           TX   75751‐3525
BRENDA KAY SCOTT                                2445 HOYT ST                                                                                    MUSKEGON         MI   49444‐1540
BRENDA KINDER                                   1566 BAUER RD                                                                                   JENISON          MI   49428‐9449
BRENDA L ALLEN                                  10045 RUTLAND                                                                                   DETROIT          MI   48227‐4503
BRENDA L BABCOCK & HARRY G BABCOCK JT TEN       815 E ALLEN CT                                                                                  AU GRES          MI   48703‐9705
BRENDA L BEISEL                                 95 FAIR STREET                                                                                  MERIDEN          CT   06451‐2005
BRENDA L BLOCK                                  6398 CENTRAL                                                                                    ROMULUS          MI   48174‐4216
BRENDA L BLUM                                   1011 JAN LEE                                                                                    BURKBURNETT      TX   76354‐2915
BRENDA L BRADLEY                                1754 RUSTIC RUN RD                                                                              LORDSTOWN        OH   44481‐9786
BRENDA L BURRIS                                 3665 HERMOSA DR                                                                                 DAYTON           OH   45416‐1146
BRENDA L CARTER                                 980 WILD CHERRY DR                                                                              DAYTON           OH   45414‐1925
BRENDA L COLEMAN                                111 VIRGINIA AV                        APT 1                                                    RICHLANDS        VA   24641‐2945
BRENDA L DAVIS                                  6378 SOUTHLAND TRCE                                                                             STONE MTN        GA   30087‐4970
BRENDA L DIETZ                                  7270 CREEKSIDE CT                                                                               RAVENNA          OH   44266
BRENDA L DUKES                                  28418 W 8 MILE RD #B4                                                                           FARMINGTON HILLS MI   48336‐5943

BRENDA L GIBBS‐HUBBARD                          8222 DAVIS ST                                                                                   MASURY          OH    44438‐1112
BRENDA L GLENN                                  2150 SANDY RIDGE RD                                                                             CAHOKIA         IL    62206‐2531
BRENDA L HAMMONS                                2914 RED MAPLES                                                                                 KINGWOOD        TX    77339‐2424
BRENDA L HAYES                                  102 CLOVERDALE AVENUE                                                                           BUFFALO         NY    14215‐3237
BRENDA L HILL                                   3518 KIRKLEES RD                                                                                WINSTON‐SALEM   NC    27104
BRENDA L HUDSON                                 647 LINCOLN AVE                                                                                 FLINT           MI    48507
BRENDA L KELLEY                                 1531 E PALM AVE                                                                                 EL SEGUNDO      CA    90245‐3329
BRENDA L LANDIS                                 1324 WELSH ROAD RD #1                                                                           AMBLER          PA    19002‐1415
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 484 of 850
Name                                           Address1                               Address2             Address3          Address4          City             State Zip

BRENDA L LEUDKE                                62 LAKE TEMAGAMI                       ISLAND 212           TEMAGAMI ON       P0H 2H0 CANADA
BRENDA L LEUDKE                                62 LAKE TEMAGAMI ISLAND 212            TEMAGAMI ON                            P0H 2H0 CANADA
BRENDA L LIST                                  556 PINEWOOD                                                                                    YPSILANTI        MI    48198‐6108
BRENDA L MAGOON CUST SCOTT R MAGOON UGMA VT    BOX 25                                                                                          NORTH THETFORD   VT    05054‐0025

BRENDA L MALONE                                1014 CANTERBURY                                                                                 PONTIAC          MI    48341‐2336
BRENDA L MATTHEWS                              35370                                  FIRDALE AVE          ABBOTSFORD BC     V3G 3A7 CANADA
BRENDA L MEADOWS                               3722 VERNA CRT                                                                                  LAKELAND         FL    33812
BRENDA L MILAM                                 2602 CEDAR ELM LN                                                                               GARLAND          TX    75043‐6025
BRENDA L MILIKEN                               9359 BIRWOOD ST                                                                                 DETROIT          MI    48204‐2642
BRENDA L MILLER                                1089 OLD COLUMBIA RD                                                                            CHAPEL HILL      TN    37034‐8412
BRENDA L MITCHELL                              85 BOLIVAR ST                                                                                   CANTON           MA    02021‐3142
BRENDA L OSWALD                                101 E COLLEGE                                                                                   SUMMERTOWN       TN    38483‐7553
BRENDA L PANK                                  33 BURCHARD LANE N                                                                              ROWAYTON         CT    06853‐1104
BRENDA L REEDY                                 12524 MARSTELLER DR                                                                             NOKESVILLE       VA    20181‐2207
BRENDA L RITCHIE                               1011 JAN LEE                                                                                    BURKBURNETT      TX    76354‐2915
BRENDA L ROBINSON                              ATTN BRENDA LEE LEACH                  19645 MACKAY                                             DETROIT          MI    48234‐1444
BRENDA L ROGERS                                PO BOX 604                                                                                      FLINT            MI    48501‐0604
BRENDA L ROLLER & MARK ROLLER JT TEN           2171 CENTER AVE                                                                                 ALLIANCE         OH    44601‐4516
BRENDA L SANTORO                               19935 SHERWOOD RD                                                                               BELLEVILLE       MI    48111‐9376
BRENDA L SCHUBERT                              170 MEADOW LARK LANE                                                                            FITZGERALD       GA    31750‐8637
BRENDA L SCHWEIZER                             1302 VALLEY VIEW AVE                                                                            WHEELING         WV    26003‐1434
BRENDA L SMILEY                                1624 GLENMORE                                                                                   LANSING          MI    48915‐1519
BRENDA L STEVENSON & KIMBERLY A STEVENSON JT   7655 WHITE PINE PLACE                                                                           PALOS HEIGHTS    IL    60463‐1942
TEN
BRENDA L SWECKER                               1833 BRENTWOOD DR                                                                               TROY             MI    48098‐2633
BRENDA L THURLBY                               PO BOX 329                                                                                      MORRICE          MI    48857‐0329
BRENDA L TILLEY                                1119 CARRINGTON DRIVE                                                                           SAINT PETERS     MO    63376‐5503
BRENDA L TIPLER                                PO BOX 1994                                                                                     MARION           IN    46952‐8394
BRENDA L TRUSTY ADMINISTRATOR ESTATE OF ZOLA   1577 N 400 W                                                                                    KOKOMO           IN    46901‐9101
ELLEN MILLS
BRENDA L UPCHURCH                              4040 N STATE RD 267                                                                             BROWNSBURG       IN    46112‐9708
BRENDA L VALUET                                6398 CENTRAL                                                                                    ROMULUS          MI    48174‐4216
BRENDA L VON LINSOWE                           7995 THORNHILL DRIVE                                                                            YPSILANTI        MI    48197‐6159
BRENDA L WILEY                                 4731 PIERPONT DRIVE                                                                             TROTWOOD         OH    45426‐1946
BRENDA L WILSON                                11441 JONES MILL RD                                                                             ORANGE           VA    22960‐2423
BRENDA L WYRICK                                84 RUSHING CREEK CHURCH RD                                                                      CAMDEN           TN    38320‐6100
BRENDA LACH                                    31530 BENNETT ST                                                                                LIVONIA          MI    48152
BRENDA LEE WARDEN                              11360 BIGELOW RD                                                                                DAVISBURG        MI    48350‐1807
BRENDA LYNELL BYRD CUST KAITLYNN MARIE BYRD    328 RUCKEL DR                                                                                   NICEVILLE        FL    32578
UTMA FL
BRENDA M CELEPHANE                             761 NORTH INDIANA STREET                                                                        MOORSEVILLE      IN    46158‐1265
BRENDA M FARLEY EX UW GERALDINE G NAUSEDA      2188 RUSH LAKE ROAD                                                                             PINCKNEY         MI    48169‐9103

BRENDA M FLOCK                                 6432 HENRY AVE                                                                                  PHILADELPHIA     PA    19128‐1507
BRENDA M FOSTER                                301 ALTA TREE BLVD                                                                              JOHNSON CITY     TN    37604
BRENDA M GOODWIN                               113 LENOX DR                                                                                    COLUMBIA         TN    38401‐7203
BRENDA M GOULD                                 11 ESTEY WAY                                                                                    CANTON           MA    02021‐3434
BRENDA M JOHNSON                               5209 WINSTON DR                                                                                 INDIANAPOLIS     IN    46226‐2267
BRENDA M JOHNSON & REBECCA L JOHNSON JT TEN    5209 WINSTON DR                                                                                 INDIANAPOLIS     IN    46226‐2267

BRENDA M JONES                                 15317 PREVOST                                                                                   DETROIT          MI    48227‐1960
BRENDA M KING                                  P O BOX 138                            44 TURNER ST                                             MAYVILLE         MI    48744
BRENDA M LEBRETON                              116 WASHAGO BAY LANE                   JANETVILLE ON                          L0B 1K0 CANADA
BRENDA M LEBRETON                              116 WASHAGO BAY LANE                   JANETVILLE ON                          L0B 1K0 CANADA
BRENDA M LEWIS                                 4432 MOONLITE LN NE                                                                             ROCKFORD         MI    49341‐7406
BRENDA M MACDOUGALL                            2717 AUTUMN LEAVES DR                                                                           DAYTONA BEACH    FL    32124‐7151
BRENDA M MARKWELL                              1301 AMES AVE                                                                                   DAYTON           OH    45432‐1504
BRENDA M MC CAINE                              25930 VALE                                                                                      INKSTER          MI    48141
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 485 of 850
Name                                           Address1                            Address2             Address3          Address4          City            State Zip

BRENDA M MC CRARY                              1314 LIDDESDALE                                                                              DETROIT         MI    48217‐1270
BRENDA M MITTAL                                7360 VAN NESS RD                                                                             HUBBARD         OH    44425‐9755
BRENDA M SAGEAR                                10028 SAWTOOTH CT                                                                            FT WAYNE        IN    46804‐3915
BRENDA M SWEELY                                447 NEW YORK AVE                                                                             SEBRING         OH    44672‐1928
BRENDA M TAYLOR                                300 SOUTH WASHINGTON                LOT 225                                                  FORT MEADE      FL    33841‐1909
BRENDA M WHITEYE                               PO BOX 674                                                                                   SUTTONS BAY     MI    49682‐0674
BRENDA M WILLIAMS CUST NATALIE M WILLIAMS UTMA 1117 DUXBURY LANE                                                                            SCHAUMBURG      IL    60193‐2619
IL
BRENDA M WILLIAMS CUST NICHOLAS JOSEPH         1117 DUXBURY LANE                                                                            SCHAUMBURG      IL    60193‐2619
WILLIAMS UTMA IL
BRENDA MAKULSKI                                19338 DEAN                                                                                   DETROIT         MI    48234‐2004
BRENDA MARIE WILLIAMS CUST NICHOLAS J WILLIAMS 1117 DUXBURY LANE                                                                            SCHAUMBURG      IL    60193‐2619
UTMA IL
BRENDA MC INTYRE                               15520 LANGSIDE ST                                                                            COLESVILLE      MD    20905‐4132
BRENDA MERRILL                                 PO BOX 124                                                                                   VERSAILLES      NY    14168‐0124
BRENDA MITCHELL                                85 BOLIVAR ST                                                                                CANTON          MA    02021‐3142
BRENDA MUMBOWER                                2856 LEE ST SW                                                                               GRANDVILLE      MI    49418‐1141
BRENDA N BIONDO                                809 W ROSAL PL                                                                               CHANDLER        AZ    85225
BRENDA O HOLLOWAY                              3809 HEATHERMERE LNDG                                                                        DECATUR         GA    30034‐7311
BRENDA OKAFOR & EVEREST OKAFOR JT TEN          133 PAINTED TR                                                                               FORNEY          TX    75126‐4772
BRENDA P BLOOMFIELD                            4795 STATE ROUTE 571 W                                                                       WEST MILTON     OH    45383‐9702
BRENDA P BRANDENBURG                           515 LINTON CT                                                                                BEAVERCREEK     OH    45430‐1544
BRENDA P CLARK                                 231 LAKEWAY LN                                                                               APOLLO BEACH    FL    33572
BRENDA P MURRAY                                533 N NOBLE ST                                                                               GREENFIELD      IN    46140‐1423
BRENDA PASCIUTO                                32 FITTS FARM DR                                                                             DURHAM          NH    03824‐2122
BRENDA PAYNE                                   1317 GEORGIA                                                                                 KANSAS CITY     KS    66104‐5416
BRENDA POPE                                    340ERAL DELIVERY                    HANGING MOSS RD                                          RICHLAND        MS    39218
BRENDA PRITCHETT                               1037 N 8TH STREET                                                                            SAGINAW         MI    48601‐1125
BRENDA R CALDERON                              1136 S HUDSON AVE                                                                            LOS ANGELES     CA    90019‐1806
BRENDA R CASSANESE                             12 MC CARTER AVE                                                                             FAIR HAVEN      NJ    07704‐3409
BRENDA R PHILLABAUM                            354 APPLE RD                                                                                 SAINT PARIS     OH    43072‐9791
BRENDA R RHINE & CRAIG G RHINE JT TEN          14290 SW BARLOW CT                                                                           BEAVENTON       OR    97008‐5518
BRENDA REIDY                                   3701 SACRAMENTO ST #386                                                                      SAN FRANCISCO   CA    94118
BRENDA RICHARDSON                              3124 S SR 349                                                                                BRANFORD        FL    32008
BRENDA ROBERTS                                 3016 MIDVALE DR                                                                              INDIANAPOLIS    IN    46222‐1546
BRENDA S AMBERS                                14007 WOODWORTH                                                                              CLEVELAND       OH    44112‐1921
BRENDA S BOYER                                 12171 HAVERMALE RD                                                                           FARMERSVILLE    OH    45325‐9233
BRENDA S BRADSHAW                              2907 TANGLEWOOD DR                                                                           WAYNE           MI    48184‐2816
BRENDA S CLAYPOOL‐CLOVER                       4312 WEST BUTLER DRIVE                                                                       GLENDALE        AZ    85302‐5304
BRENDA S COMPO                                 17949 N 300W                                                                                 SUMMITVILLE     IN    46070‐9654
BRENDA S CROWDER & GERALD E CROWDER JT TEN     192 ASHFORD DR                                                                               MOUNT           KY    40047‐6206
                                                                                                                                            WASHINGTON
BRENDA S DAVIS                                 2024 ANCHOR WAY                                                                              BUFORD          GA    30518‐2057
BRENDA S FARNER                                7215 GRAND RIVER RD                                                                          BANCROFT        MI    48414‐9766
BRENDA S FORD                                  1100 SUNNYVALE DR                                                                            ARLINGTON       TX    76010‐2940
BRENDA S FRISCH EX EST JACK TZORFAS            86 PERRINE PIKE                                                                              HILLSBOROUGH    NJ    08844
BRENDA S GORDON                                6223 ROPLEY CT                                                                               CHARLOTTE       NC    28211‐5691
BRENDA S HOERLER                               BOX 452                                                                                      FOOTVILLE       WI    53537‐0452
BRENDA S HOUGHTALING                           7163 SHERWOOD DR                                                                             DAVISON         MI    48423‐2369
BRENDA S JEZOWSKI                              ATTN BRENDA S CRUMP                 40332 TESORO LN                                          PALMDALE        CA    93551‐4831
BRENDA S JOHNSON                               27166 ABERDEEN                                                                               SOUTHFIELD      MI    48076‐5121
BRENDA S LUND                                  2500 MANN #400                                                                               CLARKSTON       MI    48346‐4294
BRENDA S LURVEY                                7090 HICKORY ST                                                                              FLUSHING        MI    48433‐9064
BRENDA S MATHERSON                             1144 GREENS RD                                                                               CHATTANOOGA     TN    37421‐3207
BRENDA S MCCLANAHAN                            204 MAY LANE                                                                                 GREERS FERRY    AR    72067
BRENDA S MEDELLIN                              252 KINGWAY                                                                                  CANTON          MI    48188‐1129
BRENDA S MINTZ                                 3654 CHRISTMAS PALM PL                                                                       OVIEDO          FL    32765‐7656
BRENDA S MOBLEY & GLENDA L OLIN JT TEN         9770 PAWNEE PASS                                                                             CENTERVILLE     OH    45458
BRENDA S ROY                                   4049 KEELSON                                                                                 W BLOOMFLD      MI    48033
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 486 of 850
Name                                           Address1                             Address2             Address3          Address4          City            State Zip

BRENDA S SCHLOSSER                             11991 ELY RD                                                                                  DAVISBURG       MI    48350‐1712
BRENDA S VAN DYKE                              12232 S COUNTY LINE RD W                                                                      ROANOKE         IN    46783‐9611
BRENDA S WAGNER                                PO BOX 45                                                                                     GIRDLER         KY    40943‐0045
BRENDA S WARD                                  104 E STOP 13 ROAD                                                                            INDIANAPOLIS    IN    46227‐2836
BRENDA S WHITMER                               1122 SYCAMORE PLACE                                                                           O'FALLON        IL    62269‐3724
BRENDA SAFFOLD                                 29216 HAZELWOOD ST                                                                            INKSTER         MI    48141‐3900
BRENDA SCHEURICH                               6288 WOODLAND DR                                                                              CANTON          MI    48187‐5626
BRENDA SHIVELY                                 10341 W STANLEY RD                                                                            FLUSHING        MI    48433‐9247
BRENDA SPENCER & W JAY SPENCER JR TR SPENCER   41 HERMOSA                                                                                    IRVINE          CA    92620‐1853
FAMILY TRUST UA 5/4/00
BRENDA STEPHENSON                              9 CRESTWOOD DR                                                                                MIDDLETOWN      IN    47356‐9300
BRENDA SUE EDGEMON                             129 CHESTNUT DR                                                                               ANDERSONVILLE   TN    37705‐2117
BRENDA SUE EDGEMON & CLYDE E EDGEMON JT TEN    129 CHESTNUT DR                                                                               ANDERSONVILLE   TN    37705‐2117

BRENDA SUE MILNES                              1435 TURTLE CREEK LN                                                                          OAKLAND         MI    48363‐1266
BRENDA T LANE                                  8919 WINGED FOOT DR                                                                           TALLAHASSE      FL    32312‐4010
BRENDA TELLES                                  5610 PEACOCK RDG                                                                              SAN ANTONIO     TX    78228‐1023
BRENDA THOMASON MANGUM                         1410 GRAND                                                                                    BENTON          AR    72015‐6537
BRENDA TURNER & ANDY TURNER JT TEN             308 BEVERLY HILLS CIR                                                                         ROCKY MOUNT     VA    24151‐5453
BRENDA W DONNELLY                              240 WROE AVE                                                                                  DAYTON          OH    45406‐5251
BRENDA W E EDWARDS                             9000 E JEFFERSON AVE                 APT 27‐9                                                 DETROIT         MI    48214‐5606
BRENDA W TOMBERLIN                             6206 STOCKTON DRIVE                                                                           CHATTANOOGA     TN    37416
BRENDA WEBB                                    1501 N CAROLINE ST                                                                            BALTIMORE       MD    21213‐2803
BRENDA Y HAMMONDS                              388 BRANDING IRON DR                 PO BOX 13                                                GALLOWAY        OH    43119‐0013
BRENDA Y STEEN                                 PO BOX 3153                                                                                   ANDERSON        IN    46018‐3153
BRENDA Y UNDERWOOD                             831 MIAMI AVE                                                                                 YOUNGSTOWN      OH    44505‐3741
BRENDAN B RIPLEY                               4184 CHURCHHILL DR                                                                            NEWBURY PARK    CA    91320‐4926
BRENDAN C MCCARTHY                             1421 OAK BLUFF RD                                                                             EDGEWATER       MD    21037‐2133
BRENDAN CULLEN                                 4234 BAYARD                                                                                   SOUTH EUCLID    OH    44121‐3120
BRENDAN J HILYARD                              9461 CAPE WRATH DR                                                                            DUBLIN          OH    43017‐7630
BRENDAN J SHEEHAN                              106 TRAPPER RD                                                                                BOWLING GREEN   KY    42103‐7059
BRENDAN K SCOTT                                7130 N OLNEY                                                                                  INDIANAPOLIS    IN    46240‐3531
BRENDAN MULHOLLAND                             15 KEMP AVE                                                                                   RUMSON          NJ    07760‐1043
BRENDAN P LEWIS                                13093 MAYFLOWER DR                                                                            NEVADA CITY     CA    95959‐8975
BRENDAN T MURPHY                               28 ALEXANDER AVE                                                                              YONKERS         NY    10704‐4202
BRENDEN J DAILEY                               420 BRADLEY PL UNIT 1                                                                         NORTH LIBERTY   IA    52317‐9060
BRENDEN JONATHAN JONES                         6053 TAMARACK DRIVE                                                                           KINGSTON        MI    48741‐9750
BRENDEN MICHAEL PRICE                          7799 MEADOW HILL DR                                                                           FRISCO          TX    75034
BRENDEN P FRIDAY                               ON010 ELMWOOD ST                                                                              WINFIELD        IL    60190
BRENDEN RUDOLF MALESBRANCHE                    2731 KINGSLAND AVE                                                                            BRONX           NY    10469‐6113
BRENDON KEITH WELLS                            4868 E SHORELINE DR                                                                           POST FALLS      ID    83854
BRENETTA LEWIS                                 3706 BRYANT CIR                                                                               KANSAS CITY     KS    66102
BRENNAN FAMILY HOLDINGS LP                     65 EAST AVE                                                                                   AKRON           NY    14001‐1408
BRENNIS D FOLKS                                45761 HARRIS RD                                                                               BELLEVILLE      MI    48111‐8911
BRENT A CARLSON                                15173 AQUILLE AVE SOUTH                                                                       SAVAGE          MN    55378‐2365
BRENT A CHAPMAN & ROBIN P CHAPMAN JT TEN       25 CRABAPPLE DR                                                                               ROSLYN          NY    11576‐2300
BRENT A DUROY                                  42 WALLNUT                                                                                    NEWALLA         OK    74857‐8071
BRENT A HARRIS                                 3754 E 500 N                                                                                  ALEXANDRIA      IN    46001‐8707
BRENT A HUGHES                                 9110 MARINERS RIDGE DR                                                                        FORT WAYNE      IN    46819‐2412
BRENT A LOGGIE                                 1 ST JOHN'S DR UNIT 25               ARVA ONTARIO ON                        N0M 1C0 CANADA
BRENT A NEWMAN                                 PO BOX 111                                                                                    DEWITT          MI    48820‐0111
BRENT A ROBERTS                                30196 DEEP WOOD DR                                                                            WARSAW          MO    65355
BRENT A THOMAS                                 1155 AMERICAN ELM ST                                                                          LAKE ORION      MI    48360‐1450
BRENT A TUCKER                                 13 SHANNON LN                                                                                 BURTON          SC    29906‐8019
BRENT A WATERS                                 2402 WILKINSON PIKE                                                                           MARYVILLE       TN    37803‐4135
BRENT ALAN SIEBENTHAL                          7220 JOSIAH COURT                                                                             INDIANAPOLIS    IN    46259‐5752
BRENT ALLEN BALLARD                            5820 PLAINS ROAD                                                                              EATON RAPIDS    MI    48827‐9653
BRENT C ARQUETTE                               3645 KAWKAWLIN RIVER DR                                                                       BAY CITY        MI    48706‐1773
                                          09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 487 of 850
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

BRENT C MASICH                                  1012 HIGHLAND AVE                                                                             TOWN            NY    14223‐1835
                                                                                                                                              TONAWANDA
BRENT C MCCULLOUGH                              6431 N OXFORD ST                                                                              INDIANAPOLIS    IN    46220‐2244
BRENT CARIVEAU CUST DEAN BRENT CARIVEAU UTMA IL 2304 GRAYHAWK DR                                                                              PLAINFIELD      IL    60544‐6566

BRENT CHARLES CLARK                             4567 ARRIBA DR                                                                                TARZANA         CA    91356
BRENT D CARR                                    6207 KINGS SHIRE                                                                              GRAND BLANC     MI    48439‐8603
BRENT D FALIS & MICHAEL D FALIS JT TEN          25 ALANBY DRIVE                                                                               MERIDEN         CT    06451
BRENT D JONES                                   ROUTE 3                              3500 OLD FIELD RD                                        COLUMBIA        MO    65203‐9484
BRENT D KELLEY                                  5096 OLD HAVER HILL DRIVE                                                                     GRAND BLANC     MI    48439‐8769
BRENT D MILLER                                  7332 E CYPRESS ST                                                                             SCOTTSDALE      AZ    85257‐1453
BRENT D MOWRY                                   5748 N UNIONVILLE RD                                                                          UNIONVILLE      MI    48767‐9703
BRENT D STRONG                                  4214 SUNDANCE MEADOWS CIR                                                                     HOWELL          MI    48843‐6960
BRENT E BROWN                                   4908 WANDA DR                                                                                 JACKSON         MI    49201‐8431
BRENT E STEELE                                  C/O BANK ONE                         1602 I ST                                                BEDFORD         IN    47421‐3859
BRENT E TENNIS                                  1329 COUNTY RD 3250                                                                           QUITMAN         TX    75783‐7143
BRENT EVAN RHODES                               30880 HICKORY HILL RD                                                                         MILLSBORO       DE    19966‐3505
BRENT F BEACHER                                 5542 LIBERTY WOODS DR                                                                         HAMILTON        OH    45011‐9743
BRENT GOODRICH                                  5666 CORRELL DR #106                                                                          FERNDALE        WA    98248
BRENT HATCH & MYRIA CRAWFORD JT TEN             3026 SHOSHONE TRAIL                                                                           LAFAYETTE       CO    80026
BRENT HENRY BOUNDS A MINOR U/GDNSHP OF DALE F   385 E BAIRD CIR                                                                               SALT LAKE CTY   UT    84115
BOUNDS
BRENT HOEVELMANN                                1012 PITMAN                                                                                   WENTZVILLE      MO    63385‐1821
BRENT HOOVER                                    881 MEMORIAL HIGHWAY                                                                          OLEY            PA    19547
BRENT HORBATT                                   807 LEE AVE                                                                                   ALPHA           NJ    08865‐4237
BRENT HOWARD                                    2617 QUAIL VALLEY                                                                             IRVING          TX    75060
BRENT J BUJOUVES                                2422 PLAINVIEW DR                                                                             SAGINAW         MI    48603‐2536
BRENT J FECTEAU                                 5565 CELESTIAL CT                                                                             SHELBY TWNSHP   MI    48316‐1713
BRENT J HOESMAN CUST BENJAMIN J HOESMAN UTMA    34501 VIA VERDE                                                                               CAPO BEACH      CA    92624‐1329
CA
BRENT J MC CLELLAN                              1850 E WELLMAN LINE RD                                                                        YALE            MI    48097‐4787
BRENT J STOECKLE                                11251 SEBEWAING RD                                                                            SEBEWAING       MI    48759‐9705
BRENT K ACTON                                   443 W 900 S                                                                                   CRAWFORDSVLLE   IN    47933‐6324
BRENT K WILLIAMS                                823 W 1450 N                                                                                  SUMMITVILLE     IN    46070‐9388
BRENT L JONES                                   42723 LANCELOT CT                                                                             NOVI            MI    48377‐2036
BRENT L KRONK                                   9250 ROBBINS RD                                                                               CLARKSVILLE     MI    48815
BRENT M DAVIES                                  10257 ASHLEY PARK DRIVE                                                                       SANDY           UT    84092‐7238
BRENT M TAYLOR                                  1015 DAIGLE RD                                                                                BREAUX BRIDGE   LA    70517‐7704
BRENT N MILBURN                                 29435 MALIBU VIEW CT                                                                          AGOURA HILLS    CA    91301‐6237
BRENT P WILSON                                  805 BEDFORD RD                                                                                GROSSE POINTE   MI    48230‐1804
BRENT PAYNE                                     PO BOX 4243                          WANGANUI                               NEW ZEALAND
BRENT PESKIN                                    18607 HILLSBORO ROAD                                                                          NORTHRIDGE      CA    91326
BRENT PHILLIPS                                  8581 PQ AV                                                                                    MATTAWAN        MI    49071‐9419
BRENT R BAIRD                                   818 S 126TH AVE                                                                               AVONDALE        AZ    85323
BRENT R CLARK                                   199 LINCOLN DRIVE                                                                             VENTURA         CA    93001‐2369
BRENT R HAWKINS                                 1052 W 84TH PL                                                                                LOS ANGELES     CA    90044
BRENT R RIMMKE                                  1115 HARVEST DRIVE                                                                            SHOREWOOD       IL    60431‐8614
BRENT S MASENGALE                               PO BOX 320                                                                                    IONIA           MI    48846‐0320
BRENT SEBOLD                                    295 INWOOD BLVD                                                                               AVON LAKE       OH    44012‐1553
BRENT SEPPANEN & PATRICIA STRANG SEPPANEN JT    4414 OXBOW CIRCLE S                                                                           AFTON           MN    55001‐9655
TEN
BRENT SKINNER                                   1008 E 108TH ST                                                                               KANSAS CITY     MO    64131‐3420
BRENT T WOOLERY                                 465 WHISPERING PINES                                                                          SPRINGBORO      OH    45066‐9301
BRENT W ANDERSON                                17 THUNDER MOUNTAIN RD                                                                        EDGEWOOD        NM    87015‐9555
BRENT W BOST                                    4770 DUNLEITH ST                                                                              BEAUMONT        TX    77706‐7704
BRENT W GOODSON                                 4499 CONGRESS TWP RD 77                                                                       MT GILEDO       OH    43338
BRENT W HULLS & CHERYL W HULLS JT TEN           8080 N COLT DR                                                                                FLAGSTAFF       AZ    86004‐3233
BRENT W MOULTON                                 15 PARTRIDGE ST                      LONDON ON                              N5Y 3R5 CANADA
BRENT W PANKEY                                  8767 EL DORADO DR                                                                             BRIGHTON        MI    48116‐2049
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 488 of 850
Name                                            Address1                                Address2             Address3          Address4          City             State Zip

BRENTON A BAGLEY                                601 NICHOLS ROAD                                                                                 SUWANEE          GA    30024‐1159
BRENTON HATCHER                                 12080 WYOMING                                                                                    DETROIT          MI    48204‐1050
BRENTON J NELSON                                1 STEVENS ROAD                                                                                   GLEN BURNIE      MD    21060‐7340
BRENTT DUFF                                     PO BOX 74901                                                                                     ROMULUS          MI    48174‐0901
BRET A BEAN                                     342 MARY DR                                                                                      BAY CITY         MI    48708‐8490
BRET A SCOTT                                    PO BOX 435                                                                                       SOUTHFIELD       MI    48037‐0435
BRET A SHELTON                                  1717 ROLLIN ST                                                                                   S PASADENA       CA    91030‐3837
BRET ALAN MURPHY                                3213 OSELOT WAY                                                                                  RANCHO CORDOVA   CA    95670‐6951

BRET ANTHONY & DIANE ANTHONY JT TEN              3822 GREENMONT                                                                                  SOUTH BEND       IN    46628‐3861
BRET CHANCE                                      8770 WEST 49TH CIRCLE                                                                           ARVADA           CO    80002
BRET E PHILLIPS                                  264 28 RD                                                                                       GRAND JCT        CO    81503‐2145
BRET J MILLER                                    2620 HARLSTONE DR                                                                               AURORA           IL    60504‐9028
BRET L BAILEY                                    10966 E GLADYS DR                                                                               EDGERTON         WI    53534‐9098
BRET L MORROW                                    3765 EDWARDS RD                                                                                 ALANSON          MI    49706‐9750
BRET M STEVENS                                   PO BOX 175                                                                                      OCCOQUAN         VA    22125
BRET W MANNING                                   1509 RYDALMOUNT RD                     CLEV HTS                                                 CLEVELAND        OH    44118‐1349
BRETON HOWARD SCALES                             7539 TENDRING TRAIL                                                                             MANASSAS         VA    20111‐1781
BRETT A AHLERS                                   1108 W G TALLEY RD                                                                              ALVATON          KY    42122‐8711
BRETT A ATWOOD                                   1311 DONNA AVE SE                                                                               DECATUR          AL    35601‐4439
BRETT A BALAS                                    3116 W ROCKPORT PARK DR                                                                         JANESVILLE       WI    53548‐7603
BRETT A KORNOWSKI                                11195 ROLSTON RD                                                                                BYRON            MI    48418‐9018
BRETT A LOCKE                                    232 E WILLOW ST                                                                                 PERRY            MI    48872
BRETT A NUNNALLY                                 24766 DRACACA                                                                                   MORENO VALLEY    CA    92553‐3768
BRETT A SEIDLE                                   RR 11 BOX 740                                                                                   BEDFORD          IN    47421‐9708
BRETT ALAN JOHNSON                               7510 ALLISONVILLE ROAD                                                                          INDIANAPOLIS     IN    46250‐2354
BRETT ALAN VAUGHT                                7630 MESKER PARK DR                                                                             EVANSVILLE       IN    47720‐7732
BRETT ALLEN KING                                 50879 SHERWOOD DR                                                                               GRANGER          IN    46530‐8900
BRETT ANTHONY                                    6343 ALLANTE COURT                                                                              ORANGEVALE       CA    95662‐4200
BRETT B SHERBERT CUST BAY RILEY SHERBERT UTMA CO 8728 S ABERDEEN CIRCLE                                                                          LITTLETON        CO    80126‐3966

BRETT B SHERBERT CUST RONALD SHERBERT UTMA CO   8728 S ABERDEEN CIRCLE                                                                           LITTLETON        CO    80126

BRETT BAILEY                                    2800 CEDARWOOD AVE                                                                               BELLINGHAM       WA    98225
BRETT BONNET CLARKE                             C/O KIT HANSEN CLARKE                   7171 9TH ST S                                            ST PETERSBURG    FL    33705‐6218
BRETT BRYON SHERBERT CUST ELLIE SUTTON SHERBERT 8728 S ABERDEEN CIRCLE                                                                           LITLETON         CO    80126
UTMA CO
BRETT C GRAY                                    2820 LAURELGATE DR                                                                               DECATUR          GA    30033‐1463
BRETT CALDWELL                                  6239 W MORGAN CT                                                                                 NEW PALESTINE    IN    46163‐8760
BRETT CHRISTOPHER ZION                          1421 KENSINGTON DR                                                                               KNOXVILLE        TN    37922‐6039
BRETT CRANE RAFFERTY                            425 WINDGATE CT                                                                                  JOHNSTOWN        CO    80534‐8373
BRETT D EVANS                                   7558 PETE AVE                                                                                    JENISON          MI    49428‐9717
BRETT D GRIFFIN                                 8004 SCOTTS STORE RD                                                                             GREENWOOD        DE    19950‐4634
BRETT D RUEHRUP                                 9319 SIEVERS ROAD                                                                                STAUNTON         IL    62088‐2619
BRETT DAVID LANTZ                               1404 GRANITE RIDGE DR                                                                            SAINT PETERS     MO    63303‐1621
BRETT E BURNS                                   612 N ELM ST                                                                                     HINSDALE         IL    60521‐3504
BRETT EDWARD JACKSON                            242 SOUTHWEST 6TH ST                                                                             DANIA            FL    33004‐3944
BRETT FJOSER                                    903 NE 115TH TERR                                                                                KANSAS CITY      MO    64155
BRETT FORD                                      1150 E 500 S                                                                                     ANDERSON         IN    46013‐9640
BRETT HOOKE                                     18 WOOLMERS CRES                        MARDI NSW                              2259 AUSTRALIA
BRETT HORN                                      800 MEADOWLARK DR                                                                                WASHINGTON       MO    63090‐4214
BRETT J COURTNEY                                603 AMBROSE LANE                                                                                 PEACHTREE CITY   GA    30269‐2858
BRETT J HARRISON                                15989 HIGHWAY O                                                                                  LEXINGTON        MO    64067‐8199
BRETT J KING                                    PO BOX 33011                                                                                     NORTHGLENN       CO    80233‐0011
BRETT L COOKINGHAM & HELEN L COOKINGHAM JT TEN 2630 PEWANAGA PLACE                                                                               FLINT            MI    48507‐1841

BRETT L STEVENSON                               129 BANK STREET                                                                                  BATAVIA          NY    14020‐2215
BRETT L WILLIAMS                                3226 GROVE                                                                                       YPSILANTI        MI    48198‐9302
BRETT LAWRENCE LEVINE                           2403 FOREST EDGE CT UNIT 302B                                                                    ODENTON          MD    21113‐2538
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 489 of 850
Name                                             Address1                              Address2             Address3          Address4          City           State Zip

BRETT M CANTER                                   8577 NEWELLS LN                                                                                PORTAGE        MI    49002
BRETT M DORR & JEAN E DORR JT TEN                618 CLEVELAND RD                                                                               LINTHICUM      MD    21090‐2837
BRETT M LOWRY CUST MICHAEL LOWRY UGMA NY         HANCOCK PL                                                                                     IRVINGTON      NY    10533

BRETT MEEKS                                      904 TATESVILLE RD                                                                              PALMER         TN    37365‐2514
BRETT OBERMAN                                    611 FAIRMONT AVE                                                                               WESTFIELD      NJ    07090‐1360
BRETT P MULHOLLAND                               214 BERWICK DR                                                                                 BRIDGE CITY    TX    77611
BRETT PHILIP MOFFATT                             1521 TULANE DR                                                                                 DAVIS          CA    95616‐2428
BRETT PURDOM                                     1184 S VINE ST                                                                                 DENVER         CO    80210‐1831
BRETT R WATERS                                   2720 GLADSSTONE ST                                                                             MORAINE        OH    45439‐1626
BRETT SMITH                                      10 RIVER VILLAGE DR                                                                            MILFORD        ME    04461‐3632
BRETT STEVEN PAPELL                              20539 WAHL LN                                                                                  GARDEN RIDGE   TX    78266‐2550
BRETT T RODDA                                    14136 HOUGHTON ST                                                                              LIVONIA        MI    48154‐5900
BRETT T SPEAR & MARTHA L PETERSON JT TEN         507 CHINOE RD                                                                                  LEXINGTON      KY    40502‐2401
BRETT W BLACK                                    1710 22ND ST W                                                                                 WILLISTON      ND    58801‐2526
BRETT W BUCK                                     10201 W 700 S                                                                                  MIDDLETOWN     IN    47356
BRETT W MCDONALD                                 708 AMBER DR                                                                                   SAGINAW        TX    76179‐0948
BRETT WARREN                                     1708 EDWARDS                                                                                   HOUSTON        TX    77007
BREWSTER S REVELS                                1151 E CHURCH ST                      APT 4B                                                   MARTINSVILLE   VA    24112‐3258
BRIAN A ANSELMO                                  658 S SEIGEL                                                                                   DECATUR        IL    62522‐3261
BRIAN A BIRD                                     97 LEBANON ST                                                                                  MELROSE        MA    02176‐6314
BRIAN A BOLDUC                                   3845 WRENS NEST BLVD                                                                           MAUMEE         OH    43537‐8911
BRIAN A BRIDGES                                  3780 PACKARD                                                                                   KINGMAN        AZ    86401‐0822
BRIAN A BUSS & SUSAN DENNIS BUSS JT TEN          9713 ZEMBRISKI DRIVE                                                                           PLANO          TX    75025‐6503
BRIAN A CLARKE                                   31 TULIP DRIVE                                                                                 BREWSTER       NY    10509‐2822
BRIAN A COLE                                     1353 E 500 S                                                                                   SPANISH FORK   UT    84660‐2605
BRIAN A DAY                                      794 ST RT 5035                                                                                 W ALEXANDRIA   OH    45381
BRIAN A FAHLE                                    11118 BLUEBIRD CT                                                                              FISHERS        IN    46037‐8875
BRIAN A FITZGERALD                               59035 TRELAWNEY RD                                                                             NEW HUDSON     MI    48165‐9739
BRIAN A HAINES CUST BRIDGET A HAINES UGMA NY     46 PERRINE ST                                                                                  AUBURN         NY    13021

BRIAN A HOLBROOK                                 20752 IVY CIRCLE                                                                               YORBA LINDA    CA    92887‐3323
BRIAN A HOLLANDER & JUDITH D HOLLANDER JT TEN    7799 SW SCHOLLS FERRY RD              APT 145                                                  BEAVERTON      OR    97008‐6542

BRIAN A INGRAHAM                              5944 S HOGENSON RD                                                                                SCOTTVILLE     MI    49454‐9734
BRIAN A JOHNS                                 909 1/2 W BROAD ST                                                                                LINDEN         MI    48451‐8767
BRIAN A KEUTZER                               1926 N FAIRVIEW LN                                                                                ROCHESTER      MI    48306‐4026
BRIAN A LANIUS                                10 FAIRVIEW AVE                                                                                   MONDALE        NJ    07645‐2511
BRIAN A LEVITT CUST ALEX J LEVITT UTMA GA     7810 N SPALDING LAKE DR                                                                           ATLANTA        GA    30350‐1093
BRIAN A LEWANDOWSKI                           3759 S BALDWIN RD 179                                                                             LAKE ORION     MI    48359‐1507
BRIAN A LEWIS                                 157 EAST 85TH STREET                     APT 2B                                                   NEW YORK       NY    10028‐2323
BRIAN A LISOWSKI                              3322 N AVERS AVE                                                                                  CHICAGO        IL    60618‐5204
BRIAN A MAGUIRE                               18 OAK KNOLL RD                                                                                   NATICK         MA    01760‐1134
BRIAN A MCDONALD CUST WYATT E THESING UTMA OH 9061 WEST ROAD                                                                                    CLEVES         OH    45002‐9716

BRIAN A OCONNELL & PATRICIA M OCONNELL JT TEN    792 KIMBALL AVE                                                                                PALATINE       IL    60067‐6776

BRIAN A ORR & DIANE M ORR JT TEN                 104 S PINE ST                                                                                  WASHINGTON     IL    61571‐2640
BRIAN A PHELPS                                   3622 SHAY LAKE RD                                                                              KINGSTON       MI    48741‐9508
BRIAN A PHILLIPS                                 175 WESTBOURNE CT                                                                              FAIRFIELD      OH    45011‐8066
BRIAN A PRATT                                    1 GILBERTI LN                                                                                  NEWARK         DE    19711‐5592
BRIAN A QUINNAN                                  5430 MARY CT                                                                                   SAGINAW        MI    48603‐3638
BRIAN A SAMPSON                                  531 LINCOLN AVE                                                                                OWATONNA       MN    55060‐3405
BRIAN A SCHULTZ                                  4521 ADAM RD                                                                                   SIMI VALLEY    CA    93063‐2427
BRIAN A SHARKEY                                  3 JARRELL FARMS DR                                                                             NEWARK         DE    19711‐3060
BRIAN A SIRIANNI                                 1034 RTE 146A                                                                                  CLIFTON PARK   NY    12065
BRIAN A SMITH                                    172 HOWDEN RD E LOT 11 RR 1           CON 8 OSHAWA ON                        L1H 7K4 CANADA
BRIAN A SOVIS                                    2418 MAYFAIR DR                                                                                WHITE LAKE     MI    48383‐3941
BRIAN A SWAIM & LIZ R SWAIM JT TEN               13121 W JEWELL CIRCLE                                                                          LAKEWOOD       CO    80228‐4214
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 490 of 850
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

BRIAN A SZPUNAR                                   4947 NW 57TH LN                                                                                CORAL SPRINGS    FL    33067‐2187
BRIAN A UNDERLEAK                                 PO BOX 23178                                                                                   RICHFIELD        MN    55423‐0178
BRIAN A WILSON                                    188 RIVERGATE DR                                                                               FRANKLIN         TN    37064‐5541
BRIAN A WIMS                                      1360 ROBERT BRADBY DRIVE                                                                       DETROIT          MI    48207
BRIAN A YOUNG                                     81 MEECH AVE                          PO BOX 364           NORTH SYDNEY NS   B2A 3M4 CANADA
BRIAN AARON WEISENBERG                            ATTN MRS SUSAN SMITH                  5245 VIA BRUMOSA                                         YORBA LINDA      CA    92886‐4553
BRIAN ALBANO                                      69 PICCADILLY DOWNS                                                                            LYNBROOK         NY    11563‐3113
BRIAN ANDERSON HARRINGTON                         2486 SADDLEWOOD LN                                                                             PALM HARBOR      FL    34685‐2512
BRIAN ANTHONY                                     3930 CURTIS ROAD                                                                               BIRCH RUN        MI    48415‐9083
BRIAN APPLEBY                                     PO BOX 1300                           FORT LANGLEY BC                        V1M 2S7 CANADA
BRIAN B KOHLMEIER                                 3852 PROSPECT AVE                     APT A                                                    CULVER CITY      CA    90232‐3831
BRIAN B OTLEY                                     231 MOUNTAINS EDGE                                                                             CHARLOTTE        VT    05445‐9046
BRIAN B RAVENELLE                                 197 PROVIDENCE ST                                                                              WOONSOCKET       RI    02895‐5171
BRIAN B SIMPSON                                   5337 WOODLAWN                                                                                  FLINT            MI    48506‐1158
BRIAN B WILLIAMSON & LISA M WILLIAMSON JT TEN     17804 MARINE VIEW DR SW                                                                        SEATTLE          WA    98166‐3624

BRIAN BAKER A MINOR U/GDNSHIP OF JEAN BAKER       1734 BONNIE VIEW DR                                                                            ROYAL OAK        MI    48073‐3808

BRIAN BALDWIN CUST KATELYN MARGARET BALDWIN       44734 HUNTINGTON                                                                               NOVI             MI    48375
UGMA MI
BRIAN BAUERSFELD                                  7229 OWASCO RD                                                                                 AUBURN           NY    13021‐5132
BRIAN BENNETT & LAURIE BENNETT JT TEN             4133 FIELDS DR                                                                                 LAFAYETTE HILL   PA    19444‐1631
BRIAN BENNINGTON                                  BOX 1681                              HOLLAND LANDING ON                     L9N 1P2 CANADA
BRIAN BERNARD ODONOHUE                            43 POPLAR TRAIL/PO BOX 465                                                                     WURTSBORO        NY    12790‐0465
BRIAN BLANCHE                                     #6 BUGLE RIDGE DRIVE                                                                           VICKSBURG        MS    39180‐4314
BRIAN BLUM                                        344 CENTRAL PARK AVE                  APT B14                                                  SCARSDALE        NY    10583‐1353
BRIAN BONNER                                      1055 WOODRUFF ST                                                                               ISELIN           NJ    08830‐2257
BRIAN BRADFORD                                    58 S BANNOCK ST                                                                                DENVER           CO    80223‐1628
BRIAN BRADWAY                                     612 4TH ST                                                                                     ELK RIVER        MN    55330‐1430
BRIAN BRATT                                       145 S CLIFF DR                                                                                 FINDLAY          OH    45840
BRIAN BUSS CUST COURTNEY BUSS UTMA WI             5780 ENCHANTED VALLEY RD              APT R                                                    CROSS PLAINS     WI    53528‐9399
BRIAN C AGUIAR                                    421 SANFORD RD                                                                                 WESTPORT         MA    02790
BRIAN C BAILEY                                    1191 DOW DR                                                                                    ALPENA           MI    49707‐1203
BRIAN C BAKER                                     22157 METAMORA LN                                                                              BEVERLY HILLS    MI    48025‐3609
BRIAN C BEARD                                     14826 VICTORY CT                                                                               CARMEL           IN    46032‐5098
BRIAN C BIDWELL                                   4355 ALVIN                                                                                     SAGINAW          MI    48603‐3011
BRIAN C BLAHNIK                                   9 E SPYGLASS CT                                                                                MADISON          WI    53717‐1143
BRIAN C CHEEK & CAROLYN CHEEK JT TEN              528 AMHERST CIRCLE                                                                             PERKASIE         PA    18944‐1890
BRIAN C CHUBB                                     17878 CEDARLAWN DRIVE                                                                          CLINTON TWNSHP   MI    48035‐2415

BRIAN C CLARK                                     2700 SE 5 ST                                                                                   POMPANO BEACH    FL    33062‐6106
BRIAN C CLAUS                                     240 PERU CENTER RD                                                                             MONROEVILLE      OH    44847‐9500
BRIAN C DANIEL                                    289 BRIAN DANIEL LN                                                                            TAZEWELL         TN    37879‐5553
BRIAN C DAVIS                                     2050 E CLINTON TRL                                                                             CHARLOTTE        MI    48813‐9303
BRIAN C GRIMMEL                                   6549 WHITSETT AVENUE                                                                           N HOLLYWOOD      CA    91606
BRIAN C HENDERSON                                 11236 MEGWOOD DR                                                                               CHARLOTTE        NC    28277‐0163
BRIAN C HENDRICHS                                 505 CAPITAL AVE                                                                                MISHAWAKA        IN    46544‐3467
BRIAN C HUGHES & RAMONA W HUGHES JT TEN           3810 CLAIRMONT ST                                                                              FLINT            MI    48532‐5226
BRIAN C IDDINGS                                   4845 W FENNER ROAD                                                                             TROY             OH    45373‐9470
BRIAN C JACQUIN                                   115 BERNDHARDT BLVD                                                                            COLUMBIA         TN    38401‐2601
BRIAN C JOHNSON                                   16815 HEYDEN                                                                                   DETROIT          MI    48219‐3314
BRIAN C JONES                                     34596 BLUE HERON DR                                                                            CLEVELAND        OH    44139‐5644
BRIAN C LEONG                                     75‐15 185 STREET                                                                               FLUSHING         NY    11366‐1718
BRIAN C MOECKEL & ROLF E MOECKEL JT TEN           3313 HARTLEY DRIVE                                                                             ADRIAN           MI    49221‐9200
BRIAN C NOBLE                                     4 DELTA COURT                                                                                  FRANKLIN         MA    02038‐2468
BRIAN C NOBLE                                     4 DELTA CRT                                                                                    FRANKLIN         MA    02038‐2468
BRIAN C O'BRIEN TR ANN T TAYLOR FAMILY TRUST UA   PO BOX 67                                                                                      MCHENRY          MD    21541‐0067
01/10/05
BRIAN C PEASE                                     5870 N CO RD 700 W                                                                             MIDDLETOWN       IN    47356‐9741
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 491 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

BRIAN C SEMERARO                                 150 HUMBERT AVE                                                                                 SYRACUSE         NY    13224‐2260
BRIAN C SEMERARO II                              150 HUMBERT AVENUE                                                                              SYRACUSE         NY    13224‐2260
BRIAN C SPITZER                                  117 CREEKSIDE COURT WEST                                                                        HUNTERTOWN       IN    46748
BRIAN C STITT                                    8301 NW 111 TERR                                                                                OKLAHOMA CITY    OK    73162‐2103
BRIAN C SULLIVAN                                 311 W 24 ST 5F                                                                                  NEW YORK         NY    10011‐1562
BRIAN C TARRANCE                                 2116 STOUTS RD                                                                                  BIRMINGHAM       AL    35234‐1759
BRIAN C WALTER                                   11 2ND AVE                                                                                      EATONTOWN        NJ    07724‐1629
BRIAN C WILCHER                                  3323 GREENVIEW DR                                                                               NEW ALBANY       IN    47150‐4226
BRIAN C YOUNG                                    855 SARBROOK DR                                                                                 CINCINNATI       OH    45231‐3715
BRIAN CAMPION HOGAN                              3702 EASTSIDE ST                       APT 17205                                                HOUSTON          TX    77098‐3042
BRIAN CHANDLER                                   62 WINDING WAY                                                                                  PLYMOUTH         MA    02360‐2055
BRIAN CHAPUT                                     2704 KNOLLWOOD CT                                                                               PLANO            TX    75075‐6424
BRIAN CHARLES SCHENK                             4537 VALLEYRIDGE AVE SW                                                                         WYOMING          MI    49519‐4513
BRIAN CHRISTOPHER SHIRLEY                        16 GREEN CLOVER DR                                                                              HENRIETTA        NY    14467‐9209
BRIAN CIARLONE CUST ALEXANDER ROBERT CIARLONE    810 S APPLE HILL RD                                                                             WEST CHESTER     PA    19380
UTMA PA
BRIAN CONLON                                     RD 1 BOX 50                            FERGERSON RD                                             FAIRFAX          VT    05454‐9801
BRIAN CRAIG & WENDY CRAIG JT TEN                 606 CHANDLER ST                                                                                 FLINT            MI    48503‐6904
BRIAN CRAMER CUST PATRICK CRAMER UTMA IL         800 LINCOLN LN                         LAGRANGE HIGHLANDS                                       LA GRANGE        IL    60525
BRIAN CROCKETT                                   316 N PINE APT#2‐B                                                                              CHICAGO          IL    60644‐2315
BRIAN CULWELL CUST GRAYSON CULWELL UTMA TX       6614 WOOD PLACE CT                                                                              SPRING           TX    77379‐2753

BRIAN CUOMO                                      362 MIRALESTE DR #359                                                                           SAN PEDRO        CA    90732‐6092
BRIAN D AGUIAR                                   1020 BRANDYWINE BLVD                                                                            WILMINGTON       DE    19809‐2530
BRIAN D ALDRIDGE                                 2600 S 60HT APT 18                                                                              LINCOLN          NE    68506‐3523
BRIAN D ALEXANDER                                15183 RESTWOOD DR                                                                               LINDEN           MI    48451‐8771
BRIAN D ALLEN                                    53 SANTALINA TRL                                                                                BATTLE CREEK     MI    49014‐8374
BRIAN D BENNETT                                  501 ALLISON DR                                                                                  ALMONT           MI    48003‐8711
BRIAN D BLACKWELL                                220 EASTLAKE DR                                                                                 BEDFORD          IN    47421‐3427
BRIAN D BLACKWELL & JAMIE L BLACKWELL JT TEN     220 EASTLAKE DR                                                                                 BEDFORD          IN    47421‐3427

BRIAN D BODARY                                   8260 TORREY RD                                                                                  GRAND BLANC      MI    48439‐9331
BRIAN D BODARY & NORMA J BODARY JT TEN           8260 TORREY RD                                                                                  GRAND BLANC      MI    48439‐9331
BRIAN D BROWN                                    2291 HILL HOUSE RD                                                                              CHESTERFIELD     MO    63017‐7270
BRIAN D BUCY                                     210 W 5TH ST                           #2                                                       IMLAY CITY       MI    48444‐1037
BRIAN D CASEY                                    10 TAUNTON STREET                                                                               SOUTHINGTON      CT    06489‐3724
BRIAN D CHEEVER & GORDON D CHEEVER JT TEN        7053 PERSHING                                                                                   WATERFORD        MI    48327‐3927
BRIAN D CLARK                                    12955 S PLOWMAN RD                                                                              EMPIRE           MI    49630‐9763
BRIAN D COOPER                                   4748 CECILIA & AVENUE                                                                           CLARKSTON        MI    48348
BRIAN D DEMPSEY                                  1019 CORNER KETCH RD                                                                            NEWARK           DE    19711
BRIAN D DOTTERER                                 46726 LAKEPOINT CT                                                                              SHELBY TWP       MI    48315‐5149
BRIAN D EAKIN                                    2646 STOLL                                                                                      LANSING          MI    48906
BRIAN D EASTERLING                               6201 TOWNLINE RD                                                                                SHILOH           OH    44878‐8967
BRIAN D EBNER                                    23 HARBOR HILL RD                                                                               GROSSE POINTE    MI    48236‐3747
BRIAN D EMERICK                                  2707 ZION RD                                                                                    RIVES JUNCTION   MI    49277‐9725
BRIAN D FOGLE                                    206 FRESH MEADOW                                                                                ROANOKE          TX    76262‐5524
BRIAN D FOGLE                                    PO BOX 34                                                                                       MONTEZUMA        OH    45866‐0034
BRIAN D FOREE                                    526 BUCKHORN CT                                                                                 TROY             IL    62294‐2302
BRIAN D FRAKES                                   2416 S LOGAN AVE                       APT 8                                                    MILWAUKEE        WI    53207‐1758
BRIAN D GIRDLEY                                  19381 SHADOWOODS                                                                                ROSEVILLE        MI    48066‐1228
BRIAN D HALL                                     13911 W WILD CHERRY LN                                                                          DALEVILLE        IN    47334‐9628
BRIAN D HAMILL                                   1947 CELESTIAL DR NE                                                                            WARREN           OH    44484‐3982
BRIAN D HARRISON                                 12 LELAND ROAD                                                                                  BREWSTER         MA    02631‐2333
BRIAN D HENRY                                    1514 MELTON ROAD                                                                                LUTHERVILLE      MD    21093‐5800
BRIAN D HOWE                                     932 S LAKE PLEASANT RD                                                                          ATTICA           MI    48412‐9768
BRIAN D HOWLAND & JOANNE T PRYOR JT TEN          4591 HILLWOOD DR                                                                                SHINGLE SPGS     CA    95682‐8381
BRIAN D HUIZENGA                                 5131 RICHARDSON DR                                                                              FAIRFAX          VA    22032‐2810
BRIAN D ISSING                                   1364 CREEK VALLEY DR                                                                            COLLIERVILLE     TN    38017‐1372
BRIAN D JONES                                    4315 WHITE CLIFF LN                                                                             DURHAM           NC    27712‐9557
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 492 of 850
Name                                              Address1                                 Address2             Address3          Address4          City               State Zip

BRIAN D KAMINSKI                                  3007 VOORHEIS LAKE CT                                                                             LAKE ORION         MI    48360‐1868
BRIAN D KELSEY                                    10209 N IRISH RD                                                                                  OTISVILLE          MI    48463‐9425
BRIAN D KENDALL                                   1132 EAGLE NEST DR                                                                                ROCHESTER          MI    48306‐1214
BRIAN D KLUGER CUST ROBERT M KLUGER UTMA OH       6914 ROYAL GREEN                                                                                  CINCINNATI         OH    45244‐4004

BRIAN D KOEHL                                     3729 ENGLISH AVE                                                                                  MORRISVILLE        NY    13408‐9661
BRIAN D LAMBERT                                   21 W 107TH ST #1                                                                                  CHICAGO            IL    60628‐3419
BRIAN D LORENZ                                    53425 MARIAN DRIVE                                                                                SHELBY TOWNSHIP    MI    48315‐1913

BRIAN D MASTERSON CUST PHILLIP MASTERSON UTMA     2328 ARRIVISTA WAY                                                                                PENSACOLA          FL    32504‐5901
FL
BRIAN D MC CRAY                                   2050 ROCK SPRINGS RD                                                                              COLUMBIA           TN    38401‐7421
BRIAN D MC KEON                                   PO BOX 5824                                                                                       ARLINGTON          VA    22205‐0824
BRIAN D MCLEAN                                    26 BEMERSYDE                             ETOBICOKE ONT ON                       M9A 2S8 CANADA
BRIAN D MITCHELL & VITA A MITCHELL JT TEN         1871 RIDGEWAY DR                                                                                  ARNOLD             MO    63010
BRIAN D NAGLE                                     25671 OSBORNE RD                                                                                  COLUMBIA STA       OH    44028‐9569
BRIAN D PATTERSON                                 2141 NEWPORT ST SW                                                                                WYOMING            MI    49509‐2363
BRIAN D PFEIFLE                                   222 E ORCHARD P O BOX 174                                                                         PERRY              MI    48872‐0174
BRIAN D RODERICK                                  2793 DARWIN ST                                                                                    HAYWARD            CA    94545
BRIAN D ROSE                                      9016 S GUSTAFSON RD                                                                               CLINTON            WI    53525‐9271
BRIAN D SADEK                                     1318 WHITTIER DRIVE                                                                               CANTON             MI    48187‐2936
BRIAN D SANDERSON                                 1701 HERMAN STREET                                                                                OWOSSO             MI    48867‐4089
BRIAN D SCHMIDT                                   99 MERCER AVE                                                                                     ROCHESTER          NY    14606
BRIAN D SHAW                                      8132 FRUITWOOD CT                                                                                 MANASSAS           VA    20111‐2591
BRIAN D SLAUGHTER                                 4857 BARNHART AVE                                                                                 DAYTON             OH    45432‐3305
BRIAN D SMITH                                     17269 SHILLINGS RD                                                                                BERLIN CENTER      OH    44401‐9728
BRIAN D ST JOHN                                   163 PINE VALLEY DR UNIT 29               LONDON ON                              N6J 4R4 CANADA
BRIAN D SUTORIUS                                  6006 WAHL RD                                                                                      VICKERY            OH    43464‐9603
BRIAN D TODD                                      1439 VALLEY VIEW DR                      APT B                                                    CORALVILLE         IA    52241‐1020
BRIAN D VIEAU                                     4303 CAHILL ST                                                                                    FREMONT            CA    94538‐2847
BRIAN D WALKER                                    7215 FINNER ROAD                                                                                  LAINGSBURG         MI    48848‐9711
BRIAN D WALLACE                                   APT 15                                   614 S ANDRE ST                                           SAGINAW            MI    48602‐2466
BRIAN D ZEMACH                                    434 CIRCLE CT                                                                                     DEERFIELD          IL    60015‐4037
BRIAN DALESSANDRO                                 25 TUDOR CITY PLACE 310                                                                           NEW YORK           NY    10017
BRIAN DAVID AMUNDSON                              12940 SUNRISE DR                                                                                  LEMONT             IL    60439‐4564
BRIAN DAVID CHEEVER & JULIE ANN CHEEVER JT TEN    7053 PERSHING ST                                                                                  WATERFORD          MI    48327‐3927

BRIAN DAVID GIBSON IN TRUST FOR KYLE J E GIBSON   3030 BALMORA AVE                         BURLINGTON ON                          L7N 1E2 CANADA

BRIAN DAWSON CUST KYLE JEFFREY DAWSON UTMA OH 6974 ABINGTON GREEN COURT                                                                             CENTERVILLE        OH    45459‐7506

BRIAN DE BENEDITTIS                               5 REDAN DRIVE                                                                                     SMITHTOWN          NY    11767‐4408
BRIAN DELMAR MARSHALL                             2834 ROGER DR                                                                                     STERLING HEIGHTS   MI    48310‐2449

BRIAN DELORME                                  493‐3 STOWELL DR                                                                                     ROCHESTER          NY    14616
BRIAN DENNIS MARAONE & DENNIS J MARAONE JT TEN 5731 KIRKRIDGE TRL                                                                                   ROCHESTER HILLS    MI    48306‐2262

BRIAN DIFEO                                       121 LORRAINE AVE                                                                                  SPRING LAKE        NJ    07762‐1712
BRIAN DOUGLAS BAIRD CUST BRIAN WILLIAM BAIRD      9318 WILSON BLVD                                                                                  WAUWATOSA          WI    53226‐1731
UTMA WI
BRIAN DUNHAM                                      134 CHARLESFORT WAY                                                                               MONCKS CORNER      SC    29461‐8883
BRIAN E AGAR                                      2705 COURVILLE DR                                                                                 BLOOMFIELD HILLS   MI    48302‐1018

BRIAN E BARENTS                                   405 E PRAIRIE POINT CIR                                                                           ANDOVER            KS    67002‐8844
BRIAN E BELL                                      C/O LANGDON D BELL                       33 S GRANT AVE                                           COLUMBUS           OH    43215‐3927
BRIAN E BEST & MARILYN R BEST JT TEN              3115 HOFFMAN CT                                                                                   DYER               IN    46311‐1470
BRIAN E BOWDEN                                    273 KIRKSWAY LN                                                                                   LAKE ORION         MI    48362‐2278
BRIAN E BOWER                                     2710 SCHEID RD                                                                                    HURON              OH    44839‐9379
BRIAN E BRUNETTE                                  309 CHESTNUT TER                                                                                  SPRING HILL        TN    37174‐2598
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 493 of 850
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

BRIAN E CRAIG                                   443 E EAGLE PASS RD.                                                                           ELIZABETHTOWN   KY    42701
BRIAN E CROLEY                                  4438 NORTH OAK RD                                                                              DAVISON         MI    48423‐9301
BRIAN E DAVIS                                   3350 SUNNY BROOK RD                                                                            KENT            OH    44240‐7452
BRIAN E DEYOE                                   1593 N HILLS DR                                                                                ROCKWALL        TX    75087‐3238
BRIAN E EDWARDS                                 2909 CARTERTON CT                                                                              FLOWER MOUND    TX    75022‐5170
BRIAN E EHLERS                                  1803 SE 85TH ST RD                                                                             OCALA           FL    34480‐5715
BRIAN E FISHER & STACIE M FISHER JT TEN         1121 GRANT AVE                                                                                 ERIE            PA    16505‐1518
BRIAN E FITZPATRICK                             38 SUMMIT TRAIL                                                                                SPARTA          NJ    07871‐1431
BRIAN E FRANZ                                   140 HARROGATE PLACE                                                                            LONGWOOD        FL    32779‐4569
BRIAN E HOPPES                                  8086 DIANE DR                                                                                  PORTLAND        MI    48875‐9720
BRIAN E KENNELLY & STACY A KENNELLY JT TEN      14305 FINCH CT                                                                                 CARMEL          IN    46033‐8346
BRIAN E KERWIN                                  185 JAMES ST                                                                                   ELIZABETHVLE    PA    17023‐8623
BRIAN E LOVE                                    219 KENDALL COURT                                                                              GREENVILLE      NC    27858‐5618
BRIAN E MILLER                                  309 KIMBERLY DR                                                                                COLUMBIA        TN    38401‐6909
BRIAN E MOORE                                   299 COTTONWOOD DR                                                                              LAPEER          MI    48446‐8648
BRIAN E MORRIS                                  13952 MANSARDE AVE                                                                             HERNDON         VA    20171‐6320
BRIAN E RING CUST ANDREW WALLACE RING UTMA CA   27317 PARK VISTA RD                                                                            AGOURA HILLS    CA    91301‐3638

BRIAN E RING CUST KEVIN DANIEL RING UTMA CA    27317 PARK VISTA RD                                                                             AGOURA HILLS    CA    91301‐3638
BRIAN E RUTT                                   1699 SWITCH COURT                                                                               SPARKS          NV    89434‐8870
BRIAN E SHORES                                 15132 FRENCH DR N                                                                               HUGO            MN    55038‐6300
BRIAN E SMILEY                                 937 DEBBIE CT                                                                                   DAYTON          OH    45415‐2120
BRIAN E SMITH CUST KATELYN A SMITH UTMA NY     P O BOX 444                                                                                     OCEAN BEACH     NY    11770
BRIAN E STAPLES                                141 CHERRYWOOD DR                                                                               FISHKILL        NY    12524‐2809
BRIAN E SWANSON                                6101 IRISH RD                                                                                   GRAND BLANC     MI    48439‐9703
BRIAN E TAVARES                                19 MONICA CT                           WOODBRIDGE ON                          L4L 7N5 CANADA
BRIAN E TERRELL                                1132 ROSNER DR                                                                                  SPEEDWAY        IN    46224‐6946
BRIAN E WALKER                                 4530 SMITHVILLE RD                                                                              EATON RAPIDS    MI    48827‐9743
BRIAN E WAYMASTER                              2419 SHAKELEY LN                                                                                OXFORD          MI    48371‐4474
BRIAN E WIECK                                  3514 GATESHEAD N E                                                                              ROCKFORD        MI    49341‐8560
BRIAN E WITTLER                                14704 VICTORY CT                                                                                CARMEL          IN    46032‐5099
BRIAN E WORTHLEY                               104 S 10TH AVE                                                                                  ABSECON         NJ    08201‐9705
BRIAN E ZIELINSKI & CYNTHIA A ZIELINSKI JT TEN 3520 SHADY LANE                                                                                 ORTONVILLE      MI    48462‐9279
BRIAN EDWARD GOODBY                            4545 WHEATON DR                        UNIT E250                                                FORT COLLINS    CO    80525‐7404
BRIAN EDWARD HACKERT                           4676 KISTLER RD                                                                                 LUDINGTON       MI    49431‐9728
BRIAN EDWARD PETERSON                          1211 W SALTSAGE DRIVE                                                                           PHOENIX         AZ    85045
BRIAN EGENTON                                  379 LINCOLN AVE E                                                                               CRANFORD        NJ    07016‐3156
BRIAN ELISCU SULKIS                            3926 LINWOOD AVE                                                                                OAKLAND         CA    94602‐1628
BRIAN EMILE BERNOU                             PO BOX 378                                                                                      BROWNS VALLEY   CA    95918‐0378
BRIAN ESCHEN                                   3551 ST PETERS RD                                                                               MARION          IA    52302
BRIAN EUGENE WELCH                             121 E MAPLE ST                                                                                  CHEROKEE        IA    51012‐1814
BRIAN EVAN MC DONALD                           12563 CARA CARA LOOP                                                                            BRADENTON       FL    34212‐2949
BRIAN F BARRETT                                39325 LYNDON                                                                                    LIVONIA         MI    48154‐4784
BRIAN F BECK                                   421 W HURON ST                         APT 1002                                                 CHICAGO         IL    60610‐3401
BRIAN F BRUMMER                                202 OAK BEND DRIVE                                                                              LAVERNIA        TX    78121‐4500
BRIAN F CHRISTENSEN                            13671 PLASTER CIR                                                                               BROOMFIELD      CO    80020
BRIAN F HASKE                                  54715 MAHOGANY DR                                                                               MACOMB          MI    48042‐2215
BRIAN F HOLMES                                 PO BOX 624                                                                                      PURCELL         OK    73080‐0624
BRIAN F HOLMES CUST MATTHEW SCOT HOLMES UGMA 6 CEDAR LAKE LN                                                                                   GOLDSBY         OK    73093‐9223
OH
BRIAN F KELLY                                  8 KINGSWOOD DRIVE                                                                               ORCHARD PARK    NY    14127‐1104
BRIAN F KELLY & EDITH H KELLY JT TEN           8 KINGSWOOD DR                                                                                  ORCHARD PARK    NY    14127‐1104
BRIAN F KOOIMAN                                504 COLONY CREEK DR                                                                             VICTORIA        TX    77904‐3804
BRIAN F MCKENNA                                1500 SANBORN DR                                                                                 DEWITT          MI    48820‐8159
BRIAN F NIXON                                  3080 E MT MORRIS ROAD                                                                           MT MORRIS       MI    48458‐8991
BRIAN F SCHULTZ & CHARLES F SCHULTZ & BEVERLY  8983 SOUTH COMMONS CIRCLE              APT.D                                                    WASHINGTON      MI    48094
SCHULTZ JT TEN
BRIAN F SMITH CUST JACQUELINE ELIZABETH SMITH  115 MAIN ST                                                                                     COTUIT          MA    02635‐2528
UTMA MA
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 494 of 850
Name                                            Address1                              Address2             Address3          Address4          City               State Zip

BRIAN F WRIGHT                                  3937 WAYAH RD                                                                                  FRANKLIN           NC    28734‐8126
BRIAN FINNECY HACKMAN                           2335 MARENGO RD                                                                                WARRIORS MARK      PA    16877‐6803
BRIAN FISCHER                                   117 GLENEAGLE DR                                                                               CORTLAND           OH    44410
BRIAN FISCHER CUST MARK BRIAN FISCHER UTMA OH   117 GLENEAGLE DR                                                                               CORTLAND           OH    44410

BRIAN FISHER                                    PO BOX 207                                                                                     MECCA              IN    47860‐0207
BRIAN FOLEY & MRS ANN FOLEY JT TEN              41 HIGHLAND CIRCLE                                                                             BRONXVILLE         NY    10708‐5908
BRIAN FRIEDMAN                                  20547 MIRANDA PLACE                                                                            WOODLAND HILLS     CA    91367

BRIAN G ENRIGHT                                 19 MELISSA CIR                                                                                 GRIFFIN            GA    30224‐7952
BRIAN G GOODENOUGH                              308 WINDYRUSH                                                                                  DEWITT             MI    48820‐8745
BRIAN G GOURLEY                                 170 WYATT RD                                                                                   CAMPOBELLO         SC    29322‐9431
BRIAN G HUBER                                   5172 N HARMONY TOWN HALL RD                                                                    JANESVILLE         WI    53546
BRIAN G IVINS                                   3323 CREAMERY RD                                                                               NEW HOPE           PA    18938
BRIAN G KURE                                    11008 JOLLYVILLE RD                   APT 229                                                  AUSTIN             TX    78759‐4857
BRIAN G MCCLELLAND                              3434 S CENTURY OAKS                                                                            OAKLAND            MI    48363‐2642
                                                                                                                                               TOWNSHIP
BRIAN G OLERICH                                 7807 FOUNTAIN HILLS LN                                                                         DAVISBURG          MI    48350
BRIAN G OWENS                                   239 S EAGLE STREET                                                                             GENEVA             OH    44041‐1550
BRIAN G RUTH                                    158 WISPERING OAK WOODS                                                                        WRIGHT CITY        MO    63390‐1737
BRIAN G STEFFENS                                4073 DOMENICO CT                                                                               BRIDGETON          MO    63044‐3422
BRIAN G SWANSON                                 5980 UPPER STRAITS BLVD                                                                        WEST BLOOMFIELD    MI    48324‐2864

BRIAN G SWIFT                                   4 N DREXEL AVE                                                                                 HAVERTOWN          PA    19083‐4912
BRIAN G WHITESIDE CUST CANDACE RUTH LOLLEY UTMA 8030 GOODWIN DRIVE                                                                             TALLAHASSEE        FL    32311‐8726
FL
BRIAN G WHITESIDE CUST JAREK RYAN WHITESIDE     8030 GOODWIN DRIVE                                                                             TALLAHASSEE        FL    32311‐8726
UTMA FL
BRIAN G WOOLCOCK & VICKI S WOOLCOCK JT TEN      740 S BROGAN RD                                                                                STOCKBRIDGE        MI    49285‐9755

BRIAN GARDINER                                  408 BARNETT DR                                                                                 EDWARDSVILLE       IL    62025‐2480
BRIAN GEORGE RALPH                              478 HUGER ST                                                                                   CHARLESTON         SC    29403‐4343
BRIAN GEORGE WHITESIDE                          8030 GOODWIN DRIVE                                                                             TALLAHASSEE        FL    32311‐8726
BRIAN GIBONEY & GRAYSON GIBONEY JT TEN          26812 15TH AVENUE SOUTH                                                                        DES MOINES         WA    98198
BRIAN GILBERT                                   213 6TH ST                                                                                     OOLITIC            IN    47451‐9767
BRIAN GOKEY                                     5908 CHERRY OAK DRIVE                                                                          VALRICO            FL    33594
BRIAN GOLDMAN                                   83 CORNELL DR                                                                                  VOORHEES           NJ    08043‐4936
BRIAN GRACE                                     65 FARM HILL RD                                                                                WRENTHAM           MA    02093‐1834
BRIAN GRAFTON LOVE                              8719 DAYTON DR                                                                                 LANTANA            TX    76226‐6558
BRIAN GREEN & JOHN GREEN EX EST MARGUERITE      17 CASTLE RD                                                                                   NORFOLK            MA    02056
GREEN
BRIAN GRIMSFED & MARGY GRIMFED JT TEN           3616 NE 98TH AVE                                                                               VANCOUVER          WA    98662‐7529
BRIAN GUSTAFSON                                 4106 HANOVER DR                                                                                GARLAND            TX    75042
BRIAN H BOUZAS CUST ANNIKA C BOUZAS UTMA MA     451 SHERWOOD FOREST RD                                                                         WINSTON SALEM      NC    27104‐1848

BRIAN H CONSTANCE                               777 S MATHILDA AVE                    APT 274                                                  SUNNYVALE          CA    94087‐1330
BRIAN H DOOLAN                                  31910 SAGINAW CT                                                                               WESTLAND           MI    48186‐4736
BRIAN H FABINSKI                                36857 PERRY STREET                                                                             ROMULUS            MI    48174‐3933
BRIAN H JOHNSON CUST BRETT H JOHNSON A MINOR    5785 SUNSET MAPLE DR                                                                           ALPHARETTA         GA    30005‐7276
UNDER THE LAWS OF GA
BRIAN H KRAFT                                   44047 MERRILL ROAD                                                                             STERLING HEIGHTS   MI    48314‐1441

BRIAN H KUNDINGER                               8265 JO MARCY DR                                                                               LAS VEGAS          NV    89131‐4625
BRIAN H MACLEOD                                 310 ARLINGTON COURT                                                                            DANVILLE           CA    94526‐5501
BRIAN H MCCORD                                  103 N M ST                                                                                     INDIANOLA          IA    50125‐2157
BRIAN H MEYER                                   100 E ROOSEVELT RD SUITE 19                                                                    VILLA PARK         IL    60181‐3529
BRIAN H NARLOCH                                 39334 BELLA VISTA DRIVE                                                                        STERLING HGT       MI    48078
BRIAN H NARLOCH & DARLENE M NARLOCH JT TEN      5243 MATTAWA DR                                                                                CLARKSTON          MI    48348‐3127
                                               09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 495 of 850
Name                                                 Address1                               Address2             Address3          Address4          City               State Zip

BRIAN H ROBERTSON                                    12 TRINE AVENUE                                                                                 MNT HOLLY          PA    17065‐1143
                                                                                                                                                     SPRINGS
BRIAN H SULC                                         3509 WELLSPRING DR 1                                                                            AUSTIN             TX    78738
BRIAN H TURNER                                       7188 WAGONWHEEL TR                                                                              HILLSBORO          OH    45133‐8491
BRIAN H VAN OVERLOOP & DONNA C LICHTENTHAL JT        19 SOUTH PRINCE DRIVE                                                                           DEPEW              NY    14043‐4743
TEN
BRIAN HAKE                                           10944 LAITALA RD                                                                                CHISHOLM           MN    55719‐8417
BRIAN HARVEY CUST MICHAEL KEENAN HARVEY UGMA         958 BIRD BAY WAY                                                                                VENICE             FL    34285‐6116
NY
BRIAN HERBERT SMITH                                  1516 W LUNAH AVE                                                                                SIOUX CITY         IA    51103‐1429
BRIAN HUBBARD                                        585 BAY LN                                                                                      CENTERVILLE        MA    02632‐3315
BRIAN HUNTER PARRISH                                 5306 BURDOCK CREEK                                                                              ACWORTH            GA    30101‐7873
BRIAN I JACOBSON                                     611 E CHURCH ST                                                                                 ORFORDVILLE        WI    53576‐9622
BRIAN I JOHNSON                                      BOX 3019                                                                                        GRETNA             LA    70054‐3019
BRIAN J AHERN                                        2936 ADAM KEELING RD                                                                            VIRGINIA BEACH     VA    23454‐1001
BRIAN J ALLEN CUST BRIDGETT ALLEN UTMA NJ            1724 H ST                                                                                       WALL TWP           NJ    07719‐3140
BRIAN J ALLEN CUST EMILY ALLEN UTMA NJ               1724 H STREET                                                                                   WALL TWNSHP        NJ    07719‐3140
BRIAN J BADER                                        212 OAKWOOD ST                                                                                  LEAGUE CITY        TX    77573‐3626
BRIAN J BARBERA & JOANNE BARBERA JT TEN              6468 HEATHERFIELD WAY                                                                           HARRISBURG         PA    17112‐3211
BRIAN J BARBRET                                      3857 HOLLOW CORNERS RD                                                                          DRYDEN             MI    48428‐9727
BRIAN J BERGIN                                       61 INDIAN TRAIL                                                                                 WATERBURY          CT    06705‐3606
BRIAN J BEYER & JOANNE M BEYER JT TEN                9417 S MILLARD                                                                                  EVERGREEN PARK     IL    60805‐2118
BRIAN J BIENIAS                                      3084 SHERRY LN                                                                                  MIDLAND            MI    48642‐8258
BRIAN J BOYCE                                        2128 WESLEYAN DRIVE                                                                             COLUMBUS           OH    43221
BRIAN J BRADLEY                                      2755 DURHAM CT                                                                                  THOMPSON           TN    37179‐5296
                                                                                                                                                     STATION
BRIAN J CASSIDY & LINDA M CASSIDY JT TEN             57 RAMBLING DR                                                                                  SCOTCH PLAINS      NJ    07076‐2957
BRIAN J CLARK                                        3531 60TH                                                                                       HAMILTON           MI    49419‐9620
BRIAN J CONNOLLY & PAMELA M CONNOLLY JT TEN          PO BOX 1557                            3 WEETAMOO WAY                                           WESTFORD           MA    01886

BRIAN J COPELAND                                     43 REDTAIL RUN                                                                                  ROCHESTER          NY    14612‐3369
BRIAN J DAGOSTINO                                    2421 RIDGECREST RD                                                                              FORT COLLINS       CO    80524‐1547
BRIAN J DREW                                         448 CUNNINGHAM AVE                     OSHAWA ON                              L1J 3C2 CANADA
BRIAN J EAST                                         12505 SW 99TH AVE                                                                               MIAMI              FL    33176‐4917
BRIAN J FALLOON                                      7324 WITLING BLVD                                                                               ROANOKE            IN    46783‐9311
BRIAN J FRANKS                                       7642 NORTH RIVER RD                                                                             FREELAND           MI    48623‐9256
BRIAN J GRAY                                         105 W SEIDLERS RD                                                                               KAWKAWLIN          MI    48631‐9728
BRIAN J GUEST                                        19301 DEER POINTE ESTATES DR                                                                    GLENCOE            MO    63038‐1147
BRIAN J HALL                                         14326 PERNELL                                                                                   STERLING HEIGHTS   MI    48313‐5453

BRIAN J HANNON & MARY JO HANNON JT TEN               154 JERVIS AVE                                                                                  FARMINGDALE        NY    11735‐2426
BRIAN J HARROD                                       1389 QUAKER ROAD                                                                                BARKER             NY    14012‐9605
BRIAN J HAVER                                        2065 HUNTINGDON DR                                                                              WIXOM              MI    48393‐1165
BRIAN J HEMPHILL                                     22 CENTURY COURT                       SUMMERSIDE PE                          C1N 2H8 CANADA
BRIAN J HUNYADY                                      6291 N VASSAR RD                                                                                FLINT              MI    48506‐1257
BRIAN J JORDAN                                       2085 BAYBERRY LANE                                                                              UNION              KY    41091‐7628
BRIAN J KALBFLEISCH & ELIZABETH KALBFLEISCH JT TEN   8809 MALVERN HILL RD                                                                            LOUISVILLE         KY    40242‐3115

BRIAN J KASSON                                       10296 GENTLEWIND DR                                                                             CINCINNATI         OH    45242‐5813
BRIAN J KASSON CUST CONNER DRAKE KASSON UTMA         10296 GENTLEWIND DR                                                                             CINCINATTI         OH    45242‐5813
OH
BRIAN J KELLY                                        5665 W RIVERSIDE DR                                                                             SARANAC            MI    48881‐9746
BRIAN J KING                                         23628 FILMORE                                                                                   TAYLOR             MI    48180‐2375
BRIAN J KOSWICK CUST ADAM J KOSWICK UNMA‐MI          2 RUM CHERRY RD                                                                                 MALTA              NY    12020‐4312

BRIAN J KOSWICK CUST KELLIE J KOSWICK UGMA NY        2 RUM CHERRY RD                                                                                 MALTA              NY    12020‐4312

BRIAN J KOZUMPLIK                                    9130 MCWAIN RD                                                                                  GRAND BLANC        MI    48439‐8005
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 496 of 850
Name                                           Address1                               Address2             Address3          Address4          City               State Zip

BRIAN J LITTLESON                              42223 STANBERRY DRIVE                                                                           STERLING HEIGHTS   MI    48313‐2513

BRIAN J LONGUEFOSSE                            99 CLOUDCREST                                                                                   ALISO VIEJO        CA    92656‐1323
BRIAN J MC NAMARA                              220 GEORGE STREET                                                                               SOUTH AMBOY        NJ    08879‐1738
BRIAN J MCCARVILLE                             3914 WINTERFIELD RUN                                                                            FORT WAYNE         IN    46804‐2665
BRIAN J MCQUISTON                              540 S GLEANER RD                                                                                SAGINAW            MI    48609‐9604
BRIAN J MERCEREAU                              153 NORTH LOVETT AVE                                                                            LITTLE SILVER      NJ    07739‐1402
BRIAN J MOLDENHAUER                            9893 WOODWORTH CT                                                                               WEST PALM BCH      FL    33414‐6409
BRIAN J MOSHER                                 910 GARFIELD                                                                                    LANSING            MI    48917‐9248
BRIAN J MULVIHILL                              22915 MAPLE                                                                                     FARMINGTON         MI    48336‐3956
BRIAN J O'DONOHUE                              2145 CAVALIER                                                                                   CANTON             MI    48188‐1830
BRIAN J OWEN & KATHERINE I OWEN JT TEN         17075 GARNET DR                                                                                 RENO               NV    89506‐6820
BRIAN J REID                                   RR1                                    ODESSA ON                              K0H 2H0 CANADA
BRIAN J RICH                                   41 BOND ST                                                                                      MARLBORO           MA    01752‐4515
BRIAN J RICKETTS                               9375 VARODELL DR                                                                                DAVISON            MI    48423‐8608
BRIAN J SCHMIDT                                32 12TH                                                                                         CARLE PLACE        NY    11514‐1317
BRIAN J SCHULTE                                73 MUSKOKA RD                                                                                   GROSS POINTE       MI    48236‐3009
                                                                                                                                               FARMS
BRIAN J SEMICH                                 829 PIONEER WOODS DR                                                                            INDIANAPOLIS       IN    46224‐6157
BRIAN J SHERMAN                                4584 CHARDONNAY CT                                                                              ATLANTA            GA    30338‐5516
BRIAN J STEPHENSON                             3520 QUESADA STREET N W                                                                         WASHINGTON         DC    20015‐2508
BRIAN J STOWELL                                PO BOX 1462                                                                                     SANDY              UT    84091‐1462
BRIAN J TERKOVITZ                              10952 S LAWNDALE AVE                                                                            CHICAGO            IL    60655‐3313
BRIAN J TURNER                                 RR 2 BOX 533                                                                                    IRONTON            MO    63650
BRIAN J WAZLAW & ROXANNE R WAZLAW JT TEN       89 SAGAMORE AVE                                                                                 PORTSMOUTH         NH    03801‐5526
BRIAN J WOOD                                   97 JOHN AVE                                                                                     BRISTOL            CT    06010‐4451
BRIAN JAMES BODEMULLER                         7035 E REDFIELD RD                                                                              SCOTTSDALE         AZ    85254‐3430
BRIAN JAMES KALUPA                             184 85 W EVERGREEN PL                                                                           NEW BERLIN         WI    53146‐2710
BRIAN JAMES PADDON                             69 JEFFERSON DRIVE                     ST CATHARINES ON                       L2N 3V5 CANADA
BRIAN JANESHEK                                 PO BOX 349                                                                                      NEENAH             WI    54957‐0349
BRIAN JAY DUNN                                 182 WOODSHRE DRIVE                                                                              PITTSBURGH         PA    15215‐1714
BRIAN JEFFERY TAIT                             126 HUDSON CRES                        BRADFORD ON                            L3Z 2Y7 CANADA
BRIAN JOHN PERRY                               695 A1A N                              UNIT 32                                                  PONTE VEDRA        FL    32082‐2751
BRIAN JOSEPH BYSTRYK                           44 RUSKIN RD                                                                                    AMHERST            NY    14226‐4254
BRIAN K ADAMS                                  9374 N OAK ROAD                                                                                 OTISVILLE          MI    48463‐9745
BRIAN K ADLER                                  1987 BOBCAT CIRCLE                                                                              MYRTLE BEACH       SC    29575‐5315
BRIAN K ALLSTON                                176 GREGORY HILL RD                                                                             ROCHESTER          NY    14620‐2404
BRIAN K BELCHER                                3905 YAUPON DR                                                                                  PLANO              TX    75074‐7794
BRIAN K BLANKENSHIP                            1241 RED BLUFF DR                                                                               DAYTON             OH    45449‐3703
BRIAN K BRODOCK                                G6394 FLUSHING RD                                                                               FLUSHING           MI    48433
BRIAN K BROWN                                  18 WINDING CREEK DRIVE                                                                          ENGLISHTOWN        NJ    07726‐8058
BRIAN K CECE                                   G5178 W CARPENTER RD                                                                            FLINT              MI    48504
BRIAN K DELORE                                 746 NICHOLS                                                                                     AUBURN HILLS       MI    48326‐3826
BRIAN K DENNIS                                 126 WEST 40TH ST                                                                                WILMINGTON         DE    19802‐2120
BRIAN K DOAK                                   13817 BLACK CANYON CT                                                                           FISHERS            IN    46038‐5358
BRIAN K DOOLITTLE                              651 BURKLEY RD                                                                                  MASON              MI    48854‐9644
BRIAN K ELLIS                                  19000 EASTWOOD                                                                                  HARPER HEIGHTS     MI    48225‐2080
BRIAN K GODDESS                                3109 ROLLING ACRES PLACE                                                                        VALRICO            FL    33594‐5654
BRIAN K HITCHCOCK & MARY E STARRETT JT TEN     1 MUGFORD ST                                                                                    MARBLEHEAD         MA    01945‐3415
BRIAN K HOWARD                                 115 JANNA LN                                                                                    UNIONVILLE         TN    37180‐8690
BRIAN K HUNT                                   5690 CROSS VILLAGE DR                                                                           GRAND BLANC        MI    48439‐9011
BRIAN K JAMES                                  4049 ORCHARD CREST DR                                                                           WEST BLOOMFIELD    MI    48322‐1704

BRIAN K KLINGE                                 977 KAY ST                                                                                      MILAN              MI    48160‐1463
BRIAN K KOWALCZYK                              8412 THORN HILL DR                                                                              HOWELL             MI    48843‐6158
BRIAN K LANGENBERG & EWA B LANGENBERG JT TEN   344 SHADY LN                                                                                    DOWNERS GROVE      IL    60515‐2201

BRIAN K LYNCH                                  11736 VILLAGE GARDEN CT                                                                         CHESTER            VA    23831‐1961
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 497 of 850
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

BRIAN K MC MANUS & THELMA W MC MANUS JT TEN     2604 HEIGHTS AVE                                                                                LANSING           MI    48912‐4526

BRIAN K MILLINGTON & BLYTHE K TOMILSON JT TEN   6154 RANGER LAKE RD                                                                             GAYLORD           MI    49735

BRIAN K NAFTEL                                  20 CAMBRIDGE CIRCLE                                                                             HARRISONBURG      VA    22801
BRIAN K OWENS                                   2920 THREE ACRES LN                                                                             SAINT LOUIS       MO    63125‐3930
BRIAN K PELLERIN                                2086 ANOKA STREET                                                                               FLINT             MI    48532‐4511
BRIAN K POWLESS                                 4740 INDUSTRIAL DRIVE                                                                           MILLINGTON        MI    48746‐9300
BRIAN K REGLING                                 7099 DUBLIN RD                                                                                  APPLETON          NY    14008‐9697
BRIAN K ROBERTSON                               37 PAUL LN                                                                                      ALEXANDRIA        KY    41001‐1123
BRIAN K RUSCH                                   33756 W DEER LAKE RD                                                                            DEER RIVER        MN    56636‐3138
BRIAN K SHIPLEY                                 196 SONJA ELLEN DR                                                                              JACKSONVILLE      FL    32234‐3000
BRIAN K SMITH                                   6766 SALINE                                                                                     WATERFORD         MI    48329‐1254
BRIAN K SPENCER                                 2184 LOUDENSLAGER DR                                                                            THOMPSONS STN     TN    37179‐5312
BRIAN K SWEENEY                                 3664 BLUE HERON LANE                                                                            ROCHESTER HILLS   MI    48309‐4513
BRIAN K TINDAL                                  PO BOX 266                                                                                      ARGYLE            NY    12809‐0266
BRIAN K WHITE                                   22106 GAUKLER                                                                                   ST CLAIR SHORES   MI    48080‐3533
BRIAN KACZINSKI                                 1115 DEEP RUN RD                                                                                OTTSVILLE         PA    18942‐9516
BRIAN KARPERIEN                                 224 CHEECHAM DR                        ANZAC AB                               T0P 1J0 CANADA
BRIAN KASSON CUST LUCAS BRIAN KASSON UTMA OH    10296 GENTLEWIND DR                                                                             CINCINNATI        OH    45242‐5813

BRIAN KAWALER                                   315 W UTICA ST                                                                                  BUFFALO           NY    14222‐1907
BRIAN KEITH NEMCIK                              801 TORRINGFORD EAST ST                                                                         TORRINGTON        CT    06790‐4281
BRIAN KEITH RINGWOOD                            16709 STEURY LN                                                                                 GRABILL           IN    46741
BRIAN KENNETH OESTERLE                          1940 N OKEMOS RD                                                                                MASON             MI    48854‐9401
BRIAN KENNY CUST SHANNON V KENNY UGMA NY        1184 WARBURTON AVE                     APT 4W                                                   YONKERS           NY    10701‐1023
BRIAN KIMBLE                                    3019 JACKSON LIBERTY DR NW                                                                      WESSON            MS    39191
BRIAN KOOP                                      11339 RACINE RD                                                                                 WARREN            MI    48093‐2517
BRIAN KOPPELMAN                                 333 W END AVE APT 11B                                                                           NEW YORK          NY    10023‐8131
BRIAN KRAVITZ                                   159 MARSHALL AVE                                                                                CUMBERLAND        RI    02864‐6407
BRIAN L ANDERSON                                1985 PINEWOOD RD                                                                                VISTA             CA    92081‐7378
BRIAN L BARTEN                                  7030 ARROWHEAD DR                                                                               LOCKPORT          NY    14094‐7933
BRIAN L BARTSCHER                               1747 OHLTOWN MCDONALD RD                                                                        NILES             OH    44446‐1361
BRIAN L BATES                                   12325 N LEWIS RD                                                                                CLIO              MI    48420‐9156
BRIAN L BRAGLIA                                 16426 S PAW PAW AVE                                                                             ORLAND PARK       IL    60467‐5363
BRIAN L BREWER                                  3553 N STATE RD                                                                                 OWOSSO            MI    48867‐9097
BRIAN L CHIVERS                                 2585 DOUGLAS LN                                                                                 THOMPSON          TN    37179‐5030
                                                                                                                                                STATION
BRIAN L CONTRERAS                               9852 DIXIE HWY                                                                                  CLARKSTON         MI    48348‐2459
BRIAN L GIGUERE                                 4849 S FOREST RIDGE DR                                                                          CADILLAC          MI    49601‐9596
BRIAN L HENRY                                   24937 GAZELLE ST                                                                                EXCELLO           MO    65247‐2042
BRIAN L JUDD                                    3511 N DURAND RD                                                                                CORUNNA           MI    48817‐9759
BRIAN L KOZLOWSKI                               47955 MIDDLE RIDGE ROAD                                                                         AMHERST           OH    44001‐9707
BRIAN L LAUER                                   797 TYRONE                                                                                      WATERFORD         MI    48328‐2664
BRIAN L MARTIN                                  3112 N BRADLEY RD                                                                               CHARLOTTE         MI    48813‐9559
BRIAN L MC MURRAY                               1600 MORGANTON RD LOT Y‐72                                                                      PINEHURST         NC    28374‐6606
BRIAN L MC NETT                                 5043 OAK BLUFF CT                                                                               HOWELL            MI    48843‐7861
BRIAN L MEEK                                    405 BELO COURT                                                                                  FORT MILL         SC    29715
BRIAN L MILLIGAN                                749 ELLSWORTH BAILEY RD SW                                                                      WARREN            OH    44481‐9724
BRIAN L MILLIGAN                                2406 ILLINOIS                                                                                   FLINT             MI    48506‐3728
BRIAN L NOLLEY                                  3424 S IRISH RD                                                                                 DAVISON           MI    48423‐2440
BRIAN L NYQUIST                                 29614 E RIVER RD                                                                                PERRYSBURG        OH    43551‐3475
BRIAN L PUVALOWSKI & MARY KAY PUVALOWSKI JT TEN 54368 NICHOLAS                                                                                  MACOMB            MI    48042‐2249

BRIAN L RUTHERFORD                              2675 ELIZAVILLE RD                                                                              LEBANON           IN    46052‐1282
BRIAN L SHATTER                                 630 N DENWOOD                                                                                   DEARBORN          MI    48128‐1566
BRIAN L SMITH                                   6901 HESS RD                                                                                    VASSAR            MI    48768‐9283
BRIAN L STRICKLIN                               501 BAYS FORK RD                                                                                BOWLING GREEN     KY    42103‐9033
BRIAN L VALENTINE                               52 SOWAMS RD                                                                                    BARRINGTON        RI    02806‐4633
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 498 of 850
Name                                             Address1                                 Address2                Address3       Address4                 City             State Zip

BRIAN L VANDER WEELE                               3517 GIDDINGS SE                                                                                       GRAND RAPIDS     MI    49508‐2574
BRIAN L WADE                                       218 W TANSEY CROSSING                                                                                  WESTFIELD        IN    46074‐9744
BRIAN L WAGNER                                     2883 HARTLAND RD                                                                                       GASPORT          NY    14067‐9421
BRIAN L WOOD                                       389 DUBORD ST                          ST EUSTACHE QC                         J7P 2B8 CANADA
BRIAN L WORTMAN                                    8087 TEAKWOOD DR                                                                                       JENISON          MI    49428‐7766
BRIAN LADDY                                        26 BRIAR LANE                                                                                          JERICHO          NY    11753‐2212
BRIAN LEE BEACH                                    6595 JOYER LN                                                                                          LINO LAKES       MN    55038‐9746
BRIAN LEE CRITTENDEN                               54 5464 W FLETCHER RD                                                                                  ROSCOMMON        MI    48653
BRIAN LEE STOFFLET & MICHELLE LYNN STOFFLET JT TEN 100 WILLOW RD                                                                                          GUILDFORD        CT    06437‐1718

BRIAN LEE WILSON                               3625 CRAZYHORSE TRAIL                                                                                      ST AUGUSTINE     FL    32086‐5313
BRIAN LEIGH DUNNIGAN                           4531 MAUTE RD                                                                                              GRASS LAKE       MI    49240‐9280
BRIAN LERNER CUST ALEXANDER LOUIS LERNER UTMA 3011 SUSAN COURT                                                                                            OWINGS MILLS     MD    21117
MD
BRIAN LOGIE                                    10331 W ELLSWORTH RD                                                                                       ANN ARBOR        MI    48103‐9613
BRIAN M BUSSIERE                               1010 MOUNTVIEW CRT                         OSHAWA ON                              L1K 2M1 CANADA
BRIAN M CAMPBELL                               253 WEST 15TH ST APT 34                                                                                    NEW YORK         NY    10011‐6480
BRIAN M CHAMBERLIN & MARY L CHAMBERLIN & SCOTT 4156 SYRACUSE                                                                                              DEARBORN HEIGHTS MI    48125‐2119
CHAMBERLIN JT TEN
BRIAN M COMEY                                  4125 BEAUFORT PL                           N VANCOUVER BC                         V7G 2N5 CANADA
BRIAN M CRANNY                                 3 ALBERT PLACE                             AMPTHILL BEDFORDSHIRE                  MK45 2RZ GREAT BRITAIN
BRIAN M DAY                                    6343 ALMONT DRIVE                                                                                          BROOKPARK        OH    44142‐3652
BRIAN M DOYLE                                  1000 C GOLDEN SPRINGS DR                                                                                   DIAMOND BAR      CA    91765‐1187
BRIAN M GELB                                   240 E MONTGOMERY AVE                       UNIT 5                                                          ARDMORE          PA    19003‐3322
BRIAN M HANLEY                                 3650 BRENT DR                                                                                              HOWELL           MI    48843‐9679
BRIAN M KELLEY                                 2270 GRAND CENTRAL AVE                                                                                     HORSEHEADS       NY    14845‐2504
BRIAN M KRAKOWER                               11307 RIDGE MIST TER                                                                                       POTOMAC          MD    20854‐7000
BRIAN M KUHN                                   126 SOUTHFIELD ST                                                                                          KINGSTON         NY    12401‐1928
BRIAN M LAVIOLETTE                             12110 HILL ROAD                                                                                            SWARTZ CREEK     MI    48473‐8580
BRIAN M LIBERMAN                               PO BOX 351                                                                                                 MT PROSPECT      IL    60056
BRIAN M MC CARTY                               24441 RIVER RD                                                                                             PERRYSBURG       OH    43551‐9798
BRIAN M NEY                                    3075 RIPPLE WAY                                                                                            WHITE LAKE       MI    48383‐3270
BRIAN M ORTLIEB                                2195 FRANCISCO ST                                                                                          FLUSHING         MI    48433‐2574
BRIAN M RICHMOND                               8545 S 79TH CT                                                                                             JUSTICE          IL    60458‐2325
BRIAN M SEDLOCK                                1061 SIERK RD                                                                                              ATTICA           NY    14011‐9554
BRIAN M SILPOCH & MICHAEL J SILPOCH JT TEN     6438 LAURA LANE                                                                                            FLINT            MI    48507‐4632
BRIAN M SMALL                                  177 WAKEFIELD ST                                                                                           READING          MA    01867‐1856
BRIAN M WOOD                                   7777 ROSSMAN HWY                                                                                           EATON RAPIDS     MI    48827‐9364
BRIAN MAGHRAN                                  28545 SOUTH POINTE DRIVE                                                                                   GROSSE ILE       MI    48138‐2047
BRIAN MARTIN                                   1044 CRYSTAL COURT                                                                                         GLENVIEW         IL    60025‐2682
BRIAN MARX                                     45 ALBION ST                                                                                               SCOTIA           NY    12302
BRIAN MARYANSKY                                PO BOX 1193                                                                                                COOPER STATION   NY    10276‐1193
BRIAN MASTERSON CUST ERIC MASTERSON UTMA FL    2328 ARRIVISTA WAY                                                                                         PENSACOLA        FL    32504‐5901

BRIAN MCGLYNN & MEGAN MCGLYNN JT TEN             1152 PHEASANT DR                                                                                         PITTSBURG        CA    94565
BRIAN MCGUIRE                                    106 MONIQUE CRESCENT                     BARRIE ON                              L4M 6Y5 CANADA
BRIAN MCMORROW                                   104 SYCAMORE DR                                                                                          MAULDIN          SC    29662
BRIAN MCMURPHY CUST KRYSTAL ROSEMARIE            BOX 326                                                                                                  VENICE           FL    34284‐0326
MCMURPHY UTMA FL
BRIAN MICHAEL ARTT                               9967 MERCEDES                                                                                            REDFORD          MI    48239‐2341
                                                                                                                                                          TOWNSHIP
BRIAN MICHAEL BOSTON                             1029 N JACKSON ST                        APT 207                                                         MILWAUKEE        WI    53202
BRIAN MICHAEL LOWER                              597 COUNTRY CLUB ESTATES DR SE                                                                           CORYDON          IN    47112
BRIAN MINTON                                     308 ELMWOOD RD                                                                                           HURON            OH    44839‐1320
BRIAN MORRISON                                   1833 FOLEYET CRES                        PICKERING ON                           L1V 2X8 CANADA
BRIAN MOSS                                       3784 CRABTREE CRESCENT                   MISSISSAUGA ON                         L4T 1S6 CANADA
BRIAN MUIR                                       7585 SEQUOIA RD                          BURNABY BC                             V3M 4W9 CANADA
BRIAN N DAVIS                                    13317 SW 2ND ST                                                                                          YUKON            OK    73099
BRIAN N DOWNING                                  373 FENNER RD                                                                                            LANSING          NY    14882‐8851
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 499 of 850
Name                                           Address1                            Address2             Address3          Address4          City           State Zip

BRIAN N HOGLUND                                20750 MAYBURY PARK DR                                                                        NORTHVILLE     MI    48167‐0139
BRIAN N KUNDINGER CUST BRIAN N KUNDINGER II    625 FIRST ST                                                                                 ROCHESTER      MI    48307‐2609
UGMA MI
BRIAN N KUNDINGER CUST HEATHER M KUNDINGER     2822 EAGLE EYE CT                                                                            KISSIMMEE      FL    34746‐4511
UGMA MI
BRIAN N MCCARTHY                               49 ROUNDTREE CIR                                                                             BRANDON        MS    39042‐2619
BRIAN N ROBERTS                                3220 ALLEN ROAD                                                                              ORTONVILLE     MI    48462‐8434
BRIAN N RUDOLPH                                16 PLEASANT OAK CT                                                                           OREGON         WI    53575‐3225
BRIAN N SMITH & CHRISTINE A SMITH JT TEN       4749 CENTURY DR                                                                              SAGINAW        MI    48603‐5613
BRIAN N TEED                                   12363 BURT RD                                                                                BIRCH RUN      MI    48415‐9320
BRIAN NEMETH                                   344 PAVONIA AVE                     APT 8                                                    JERSEY CITY    NJ    07302
BRIAN NESTOR                                   6226 FAIRWAY BAY BLVD S                                                                      GULFPORT       FL    33707‐3974
BRIAN NEWMAN                                   11‐03 MAXWELL PL                                                                             FAIR LAWN      NJ    07410‐4155
BRIAN NICHOLS                                  BOX 2483                                                                                     FLORISSANT     MO    63032‐2479
BRIAN NICKELS                                  410 FAIRVIEW AVE                                                                             YORKTOWN       NY    10598‐1704
BRIAN O DAHMEN                                 2104 S PEARL STREET                                                                          JANESVILLE     WI    53546‐6148
BRIAN O EARLE                                  618 W DRYDEN RD                                                                              FREEVILLE      NY    13068‐9746
BRIAN O HARGENS & KRISTIN J HARGENS JT TEN     PO BOX 693                                                                                   HUDSON         IA    50643‐0693
BRIAN O SMITH                                  1211 S KERBY RD                                                                              CORUNNA        MI    48817‐9545
BRIAN O SULLIVAN                               195 HIGH ST                                                                                  NEWBURYPORT    MA    01950
BRIAN O'CONNELL                                1909 SPRUCE ST                                                                               BOULDER        CO    80302‐4408
BRIAN O'CONNOR                                 1641 CEDAR STREET                                                                            SAN CARLOS     CA    94070‐4760
BRIAN P BEACH                                  38262 HENDEN DR                                                                              PALMDALE       CA    93550‐4544
BRIAN P BOYD                                   2554 ESTRADA DR                                                                              LEAGUE CITY    TX    77573‐2073
BRIAN P BROOKS                                 6300 MONTGOMERY BLVD NE             APT 301                                                  ALBUQUERQUE    NM    87109‐1431
BRIAN P COOK                                   312 E FRANKLIN                                                                               FISHER         IL    61843‐9440
BRIAN P COOPER                                 PO BOX 55681                                                                                 SHERMAN OAKS   CA    91413‐0681
BRIAN P CORCORAN                               561 YORKTON LN                                                                               BLOOMFIELD     MI    48304‐3673
BRIAN P COSBY                                  211 WASHINGTON ST                                                                            BERLIN         MD    21811‐1442
BRIAN P COUNTER                                1513 LUDWIG PARK DR                                                                          FORT WAYNE     IN    46825‐4031
BRIAN P CUNNINGHAM                             1580 HAMPSHIRE CRESCENT             MISSAUGA ON                            L5G 4S9 CANADA
BRIAN P DOTSON                                 3624 LAKESHORE DR                                                                            NEWPORT        MI    48166‐9696
BRIAN P DUNHAM                                 317 BUCKSKIN RD                                                                              SAGLE          ID    83860
BRIAN P DWYER                                  3 WINNECONNETT RD                                                                            WORCESTER      MA    01605‐2340
BRIAN P GARCIA                                 4490 PEBBLE BEACH DR                                                                         OCEANSIDE      CA    92057
BRIAN P HALVERSON                              297 SENATOR STREET                  PICKERING ON                           L1V 6J4 CANADA
BRIAN P HARMSEN                                3220 28TH STREET                                                                             SLAYTON        MN    56172‐1543
BRIAN P JENACK                                 28 SHERWOOD DR                                                                               MASSENA        NY    13662‐1752
BRIAN P MAC DONALD                             1431 COLTON RD                                                                               GLADWYNE       PA    19035‐1105
BRIAN P MACDONALD                              1431 COLTON RD                                                                               GLADWYNE       PA    19035‐1105
BRIAN P MANNING CUST BRIAN P MANNING JR UTMA   1219 CANDLEWOOD LN                                                                           SEA GIRT       NJ    08750‐1718
NJ
BRIAN P MCKEON                                 32600 COLONYHILL                                                                             FRANKLIN       MI    48025‐1016
BRIAN P MCKEON & LINDA U MCKEON TEN COM        32600 COLONY HILL                                                                            FRANKLIN       MI    48025‐1016
BRIAN P MINION                                 100 CLINTON AVE APT 3A                                                                       MINEOLA        NY    11501‐2840
BRIAN P MURPHY                                 109 STEPHEN CT                                                                               MIDDLETOWN     DE    19709‐9466
BRIAN P NAGY                                   1601 KING AVE                                                                                NAPA           CA    94559‐1563
BRIAN P PICKERING                              8 CASTAGNARO WAY                                                                             BLACKSTONE     MA    01504‐1354
BRIAN P RADIGAN & JULL A RADIGAN JT TEN        12 TERRACE                                                                                   IONIA          MI    48846‐1733
BRIAN P RILEY                                  8642 SUPERIOR                                                                                CENTER LINE    MI    48015‐1716
BRIAN P RILEY                                  10201 GROSVENOR PL APT 1520                                                                  ROCKVILLE      MD    20852‐4622
BRIAN P ROYCROFT                               11331 CHEVY CHASE DR                                                                         HOUSTON        TX    77077‐6401
BRIAN P SCHILLING                              145 PARMELEE AVE                                                                             HAWTHORNE      NJ    07506
BRIAN P SOLON                                  2800 BALDWIN                                                                                 LAPEER         MI    48446‐9769
BRIAN P TABOR EX UW JESSE W SIMMONS            811 ADAM CT                                                                                  HIGHLAND       MI    48356‐2947
BRIAN P WIGMAN                                 3200 LORIENT                                                                                 MCHENRY        IL    60050‐6115
BRIAN P WOEHLKE & LAURA A WOEHLKE TR UA        979 DEL SHER DR                                                                              BRIGHTON       MI    48114
01/19/98
BRIAN PARENT                                   279 LINDEN ST                       OSHAWA ON                              L1H 6R3 CANADA
                                              09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                   Part 1 of 8 Pg 500 of 850
Name                                            Address1                            Address2                  Address3        Address4           City               State Zip

BRIAN PATRICK CLARKE CUST CARY RYAN CLARKE UGMA 4293 FAIR AVE                                                                                    NORTH            CA      91602‐3022
CA                                                                                                                                               HOLLYWOOD
BRIAN PATTERSON                                 1032 ABBEY CT                                                                                    NORTHVILLE       MI      48167‐1057
BRIAN PATTON                                    14697 LARKFIELD                                                                                  BROOK PARK       OH      44142‐3002
BRIAN PAUL WESTCOTT                             PO BOX 65                                                                                        CASTALIA         OH      44824‐0065
BRIAN PEIRCE                                    16298 TOURAINE DR                                                                                CLINTON TOWNSHIP MI      48038‐4515

BRIAN PENCE & MERRY PENCE JT TEN                7736 WATERFORD ST                                                                                NEW PORT RICHEY    FL    34653‐1050

BRIAN PETER WOOLDRIDGE                          15 OSBORNE CLOSE                    ST ALBERT AB                              T8N 6T1 CANADA
BRIAN PLUMMER                                   2420 S 18TH ST                                                                                   SAINT LOUIS        MO    63104‐4303
BRIAN POHLI                                     33 TAI TAM RD                       2F MANHATTAN                              HONG KONG, CHINA
BRIAN PRUEHS                                    38500 SHEFFIELD                                                                                  MT CLEMENS         MI    48036‐2862
BRIAN PUN                                       185 CANAL ST                                                                                     NEW YORK           NY    10013‐4537
BRIAN R ANSEL                                   152 NEMOCOLIN WOODLANDS R                                                                        FARMINGTON         PA    15437
BRIAN R BARKWELL                                RR 1 598 LARMER 7TH LINE            FRASERVILLE ON                            K0L 1V0 CANADA
BRIAN R BAUER                                   5174 BRONCO DR                                                                                   CLARKSTON         MI     48346‐2601
BRIAN R BENNETT                                 7656 MEADOW VIOLET DR                                                                            AVON              IN     46123‐7632
BRIAN R BOYLES                                  43299 FIROE ST                                                                                   INDIO             CA     92203
BRIAN R BRITTON                                 1182 LITTLETON RANCH RD                                                                          CASTALIAN SPRINGS TN     37031‐4832

BRIAN R DREWNIAK                                 857 SUNNYSIDE AVE                                                                               ORCUTT             CA    93455‐3361
BRIAN R DUGGER                                   315 W SIBLEY                                                                                    HOWELL             MI    48843‐2131
BRIAN R DUNN                                     14345 BROOKINGS COURT                                                                           STERLING HTS       MI    48313
BRIAN R DURBROW                                  1609 TURQUOISE DR                                                                               CINCINNATI         OH    45255‐2520
BRIAN R GRIFFIS                                  3961 N COUNTY LINE RD                                                                           SUNBURY            OH    43074‐9729
BRIAN R HAY                                      8026 DUNFIELD AVE                                                                               LOS ANGELES        CA    90045‐1424
BRIAN R HELMS                                    20025 CORDILL LN                                                                                SPICEWOOD          TX    78669‐6470
BRIAN R HENRY                                    5646 WALMORE RD                                                                                 LEWISTON           NY    14092‐9774
BRIAN R HERVEY                                   863 PROVINCETOWN RD                                                                             AUBURN HILLS       MI    48326‐3448
BRIAN R HOCHSTATTER & JOYCE E HOCHSTATTER JT TEN 18549 COACHLIGHT LANE                                                                           STERLING           IL    61081‐9566

BRIAN R HOLLIS                                  5830 PLUM HOLLOW DR                 APT 12                                                       YPSILANTI          MI    48197‐8805
BRIAN R ISAACS                                  PO BOX 9022                                                                                      WARREN             MI    48090‐9022
BRIAN R ISAACS                                  PO BOX 9022                                                                                      WARREN             MI    48090‐9022
BRIAN R KEACH                                   341 ELM ST                                                                                       TRENTON            MI    48183‐2843
BRIAN R KEENER                                  18060 OTTIEWAY CT                                                                                HOLLY              MI    48442‐8684
BRIAN R KENNEDY                                 512 PORTAGE RD                                                                                   NIAGARA FALLS      NY    14301‐1936
BRIAN R KLAMM                                   PO BOX 352                                                                                       BELLFLOWER         CA    90707‐0352
BRIAN R KNAPP                                   4850 HARDING AVE                                                                                 CLARKSTON          MI    48346‐3425
BRIAN R LESLIE                                  3128 WALTON BLVD                    SUITE #118                                                   ROCHESTER HILLS    MI    48309‐1265
BRIAN R MAC KAY & RODERICK C MAC KAY JT TEN     PO BOX 3966                                                                                      CLEARWATER         FL    33767‐8966
BRIAN R MYNOTT                                  GMHA                                241 SALMON PT MELBOURNE   3207 VICTORIA   AUSTRALIA
BRIAN R MYNOTT HOLDEN NEW ZEALAND LTD           26 CUNNINGHAM DR                    BELLBRAE                  VICTORIA        3228 AUSTRALIA
BRIAN R NAKKULA                                 PO BOX 628                                                                                       HARTLAND           MI    48353‐0628
BRIAN R OKEN                                    3151 COOLIDGE AVE                                                                                LOS ANGELES        CA    90066
BRIAN R PETTITT                                 755 LOUNSBURY                                                                                    ROCHESTER          MI    48307‐2216
BRIAN R SOCOLOW                                 210 CROTON AVENUE                                                                                MT KISCO           NY    10549‐4033
BRIAN R URLAUB                                  143 MARIE CT                                                                                     LAKE ORION         MI    48360‐2299
BRIAN R VAN ATTA                                10706 CARDINGTON WAY APT T4                                                                      COCKEYSVILLE       MD    21030
BRIAN R VAN ATTA                                1590 ROSSANNE PL                                                                                 ENGLEWOOD          FL    34223
BRIAN R WHITE                                   8443 SAILING LOOP                                                                                BRADENTON          FL    34202‐2233
BRIAN R WRIGHT                                  11172 FIELDCREST MEADOWS CT                                                                      WHITE LAKE         MI    48386‐3666
BRIAN RESCH                                     4345 DUPONT AVE S                                                                                MINNEAPOLIS        MN    55409‐1716
BRIAN REYES                                     74 WHYSALL LN                                                                                    BLOOMFIELD HILLS   MI    48304‐2761

BRIAN RICHARD HARRIS                            16638 CLYMER ST                                                                                  GRANADA HILLS      CA    91344‐6613
BRIAN RICHARD LANGHORST                         3360 MERROW LN                                                                                   HOWELL             MI    48843‐8858
BRIAN RINGFIELD                                 4416 BOSTON AVE                                                                                  SAN DIEGO          CA    92113‐3425
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 501 of 850
Name                                             Address1                               Address2              Address3         Address4          City             State Zip

BRIAN ROBBINS                                    522 SWANK ST                                                                                    GALVA            IL    61434
BRIAN ROBERT HANSON                              1404 FOREST PARK CT                                                                             SWEENY           TX    77480‐1008
BRIAN ROBIE                                      16 TEMPLE STREET                                                                                MEDWAY           MA    02053‐2117
BRIAN ROSS KATZ                                  66 TARA DR                                                                                      ROSLYN           NY    11576‐2724
BRIAN S BIESMAN                                  303 BOWLING AVE                                                                                 NASHVILLE        TN    37205‐2519
BRIAN S CLAUSS                                   99 TIDE MILL LN                        APT 136                                                  HAMPTON          VA    23666‐2751
BRIAN S DE PUEY                                  1427 GRISWOLD                                                                                   PORT HURON       MI    48060‐5749
BRIAN S GASEK                                    402 W FRANKLIN ST                                                                               LIBERTY          MO    64068‐1534
BRIAN S HAMMOCK                                  5434 KEITH DR                                                                                   DAYTON           OH    45449‐2949
BRIAN S HELSTROM                                 1902 VILLAGE GREEN                     BURLINGTON ON                          L7P 2X9 CANADA
BRIAN S HOLDER                                   15734 SUSSEX ST                                                                                 LIVONIA          MI    48154‐1836
BRIAN S HOWARD                                   5182 N CANYON RISE PL                                                                           TUCSON           AZ    85749‐7156
BRIAN S KELLER                                   701 EAGLE COVE DR                                                                               ORANGE PARK      FL    32003‐3239
BRIAN S KNOTT                                    646 RATON PASS                                                                                  MIAMISBURG       OH    45342‐2227
BRIAN S MAC DONALD                               459 ALGENE ST                                                                                   LAKE ORION       MI    48362‐2701
BRIAN S MCGUANE                                  20 MACDOUGALD DR                                                                                WRENTHAM         MA    02093
BRIAN S MCSWEEN                                  7521 BERWICK COURT                                                                              ALEXANDRIA       VA    22315
BRIAN S NIEMI & SUSANNE M NIEMI JT TEN           340 PAINT RIVER RD                                                                              CRYSTAL FALLS    MI    49920‐9446
BRIAN S PETERSON                                 25734 18 1/2 AVE                                                                                MADERA           CA    93638‐0185
BRIAN S SHANNON                                  841 RIVERCHASE DR                                                                               BRANDON          MS    39047‐8705
BRIAN S SHAPIRO                                  2200 SILVER FOX LN NE                                                                           WARREN           OH    44484‐1143
BRIAN S WHITE                                    146 3RD ST                                                                                      METAMORA         MI    48455‐9784
BRIAN S ZIMMERMAN                                2661 S KEARNEY ST                                                                               DENVER           CO    80222‐6327
BRIAN S ZUHLKE A MINOR                           1506 W SUTTON RD                                                                                METAMORA         MI    48455‐9616
BRIAN SCHAFFER                                   69 MELISSA RD                                                                                   KINGSTON         NY    12401‐7437
BRIAN SCHAIBLE                                   2250 DEAN LAKE NE                                                                               GRAND RAPIDS     MI    49505‐4445
BRIAN SCHAN                                      507 FISHERS RD                                                                                  BRYN MAWR        PA    19010‐3623
BRIAN SCHISLER                                   226 TURNER CRESENT                     AMHERSTBURG ON                         N9V 3T3 CANADA
BRIAN SCOTT ENGEL & CAROLYN A ENGEL JT TEN       1301 DALLWOOD DR                                                                                ST LOUIS         MO    63126
BRIAN SCOTT HAYES                                518 OPAL SKY COURT                                                                              LEAGUE CITY      TX    77573‐2272
BRIAN SCOTT NELSON                               2567 NIXON ST                                                                                   EUGENE           OR    97403‐1693
BRIAN SCOTT TERRY CUST KEMPER ARJUN TERRY UTMA   825 SW 318TH PLACE                                                                              FEDERAL WAY      WA    98023‐4744
WA
BRIAN SEARS                                      268 MONROE BLVD                                                                                 HARSENS ISLAND   MI    48028‐9720
BRIAN SEELINGER                                  5457 CIDER MILL ROAD                                                                            ERIE             PA    16509‐3949
BRIAN SHEPPARD                                   42 FOX HILL CREASENT                   SAINT CATHERINES ON                    L2S 3V1 CANADA
BRIAN SHIPMAN                                    1933 CATLIN DR                                                                                  ROCHESTER        MI    48306‐4594
BRIAN SHOEMAKER                                  199 NEEDHAM ST                                                                                  DEDHAM           MA    02026‐7036
BRIAN SIEROTY                                    638 SARTORI AVE                                                                                 TORRANCE         CA    90501‐1406
BRIAN SIMONIS                                    7967 SHADOW LAKE DRIVE                                                                          PAPILLION        NE    68046
BRIAN SIMPSON                                    240 KILMER LN                                                                                   MOORESVILLE      NC    28115
BRIAN SITKO                                      1819 CRANDON LN                                                                                 SCHAUMBURG       IL    60193
BRIAN SMITH CUST LILA MARIE SMITH UNDER THE OH   370 BEECHER RD                                                                                  GAHANNA          OH    43230
TRAN MIN ACT
BRIAN SMITH CUST LILA MARIE SMITH UTMA OH        370 BEECHER RD                                                                                  GAHANNA          OH    43230‐4537
BRIAN SMITH CUST OLIVIA LEE SMITH UNDER THE OH   370 BEECHER RD                                                                                  GAHANNA          OH    43230
TRAN MIN ACT
BRIAN SMITH CUST OLIVIA LEE SMITH UTMA OH        370 BEECHER RD                                                                                  GAHANNA          OH    43230‐4537
BRIAN SMITH CUST TARA KATHLEEN SMITH UNDER THE   370 BEECHER RD                                                                                  GAHANNA          OH    43230
OH TRAN MIN ACT
BRIAN SMITH CUST TARA KATHLEEN SMITH UTMA OH     370 BEECHER RD                                                                                  GAHANNA          OH    43230‐4537

BRIAN SNYDER                                     40 E 83RD ST                           APT 3S                                                   NEW YORK         NY    10028‐0843
BRIAN STANEK                                     2261 EL FELIZ WAY                                                                               SACRAMENTO       CA    95825‐1053
BRIAN STERLING                                   PO BOX 2203                            SAINT JOHN NB                          E2L 3V1 CANADA
BRIAN STUCK                                      2990 E LITCHFIELD RD                                                                            JONESVILLE       MI    49250‐9632
BRIAN SWEET & ELIZABETH MANWELL JT TEN           6565 CARRIAGE LN                                                                                OTTAWA LAKE      MI    49267
BRIAN T BEIMLER                                  107 SO PRINCE DRIVE                                                                             DEPEW            NY    14043‐4735
BRIAN T CANTY                                    29 HICKORY DR                                                                                   DUDLEY           MA    01571‐6254
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 502 of 850
Name                                            Address1                             Address2             Address3          Address4                City             State Zip

BRIAN T COFFMAN                                 2582 S EAGLE CIRCLE                                                                                 AURORA           CO    80014‐2428
BRIAN T COOPER                                  840 BURROAK DR                                                                                      LAKE ZURICH      IL    60047‐2566
BRIAN T DALY                                    24078 LEQUINNE CT                                                                                   FARMINGTON       MI    48024
BRIAN T DALY & MARY L DALY JT TEN               24078 LE QUINNE CT                                                                                  FARMINGTON       MI    48336‐2330
BRIAN T DORSEY                                  P O BOX 84                                                                                          SHENDOAH JCT     WV    25442
BRIAN T DUNKER                                  138 10TH ST                                                                                         HICKSVILLE       NY    11801‐5508
BRIAN T FEHRMAN                                 1635 VANCOUVER DR                                                                                   SAGINAW          MI    48603‐4772
BRIAN T FRABEL CUST JULIANNA M FRABEL UTMA MN   11802 99TH PL N                                                                                     MAPLE GROVE      MN    55369

BRIAN T FRABEL CUST SAMUEL E FRABEL UTMA MN     11802 99TH PL N                                                                                     MAPLE GROVE      MN    55369

BRIAN T HANLEY                                  7142 BRIDLE PATH                                                                                    MECHANICSVILLE   VA    23111‐1935
BRIAN T HAYES                                   3131 MEETINGHOUSE RD APT J4                                                                         BOOTHWYN         PA    19061‐2943
BRIAN T HUFFMAN                                 22 OLD CHAPEL CLOSE KIDLINGTON       KIDLINGTON                             OX5 1DG GREAT BRITAIN
BRIAN T LOIK                                    88 BRIGHT AUTUMN LN                                                                                 ROCHESTER        NY    14626‐1279
BRIAN T MANNING CUST ROWAN J MANNING UTMA CA    18776 FAVRE RIDGE RD                                                                                LOS GATOS        CA    95033‐9405

BRIAN T MC INTYRE                               61 NESTLING WOOD DRIVE                                                                              LONG VALLEY      NJ    07853‐3528
BRIAN T MC QUEENEY                              3 PARK LN                                                                                           HOOKSETT         NH    03106‐2140
BRIAN T MILAS                                   160 WHITE ST                                                                                        BELMONT          MA    02478‐4721
BRIAN T MULVEY                                  10120 GLORIA AVE                                                                                    NORTH HILLS      CA    91343‐1408
BRIAN T NELSON                                  411 E SHORT AV                                                                                      INDEPENDENCE     MO    64050‐3954
BRIAN T PLEAS                                   2827 ARLINGTON                       APT 2 NORTH                                                    ST LOUIS         MO    63120‐2000
BRIAN T SMITH                                   1300 WILMINGTON WAY                                                                                 GRAYSON          GA    30017‐1900
BRIAN T STEWART                                 91 COLEWOOD LANE                                                                                    RISING SUN       MD    21911‐2723
BRIAN T WALKER                                  3504 RIDGEFIELD RD                                                                                  LANSING          MI    48906‐3547
BRIAN THISE & LARA THISE JT TEN                 BOX #3                               301 MC SHIRLEY DR                                              SULPHUR SPGS     IN    47388‐0003
BRIAN THOMAS HAFNER                             5424 ASHCROFT PL                                                                                    MINNETONKA       MN    55345‐4010
BRIAN TILLSON                                   1072 HILDRETH ST                                                                                    DRACUT           MA    01826‐2512
BRIAN TUCKER                                    219 CEDARCROFT RD                                                                                   BALTIMORE        MD    21212
BRIAN V HEALY                                   621 BROADACRE AVE                                                                                   CLAWSON          MI    48017‐2703
BRIAN V MORONY                                  32105 DENSMORE RD                                                                                   WILLOWICK        OH    44095‐3846
BRIAN W ARNETT                                  20799 HOGAN RD                                                                                      MANCHESTER       MI    48158‐8545
BRIAN W BAKER                                   1608 N KEY BLVD                                                                                     ARLINGTON        VA    22209‐1504
BRIAN W BEATTY                                  315 GADUSI LN                                                                                       LOUDON           TN    37774‐6821
BRIAN W BELLHORN                                1091 BOLD FORBES CT                                                                                 UNION            KY    41091‐7931
BRIAN W BLAKE                                   3432 ROWLAND                                                                                        TROY             MI    48083‐5677
BRIAN W BOYCHUK                                 10 MAYFAIR COURT                     ST CATHARINES ON                       L2M 7K5 CANADA
BRIAN W CODD                                    7017 RAPIDS ROAD                                                                                    LOCKPORT         NY    14094‐9522
BRIAN W DAVIS                                   547 GENEVA ST                        ST CATHARINES ON                       L2N 2J1 CANADA
BRIAN W DICKIE                                  17 DES HETRES                        STE‐JULIE QC                           J0L 2S0 CANADA
BRIAN W GEIB                                    586 SHELLBOURNE DR                                                                                  ROCHESTER        MI    48309‐1027
BRIAN W GEIB & KATHRYN A GEIB JT TEN            586 SHELLBOURNE DR                                                                                  ROCHESTER        MI    48309‐1027
BRIAN W GILCHRIST                               74 PARKWAY AVE                       MARKHAM ON                             L3P 2H2 CANADA
BRIAN W HOFFACKER & MRS JUDITH A HOFFACKER JT   1609 ARCADIA AVE                                                                                    SOUTH BEND       IN    46635‐1913
TEN
BRIAN W JOHNSON                                 2732 PRESIDENT LANE                                                                                 KOKOMO           IN    46902‐3065
BRIAN W JOHNSON TR UA 12/26/84 JEFFREY CHAD     4757 CHERRYVALE AVE                                                                                 SOQUEL           CA    95073‐9553
JOHNSON TRUST
BRIAN W JOHNSON TR UA 12/26/84 JENNIFER LEIGH   4757 CHERRYVALE AVE                                                                                 SOQUEL           CA    95073‐9553
JOHNSON TRUST
BRIAN W JONES                                   409 GEDDES STREET                                                                                   WILMINGTON       DE    19805‐3716
BRIAN W LEIGH                                   6816 BERRY POINTE DRIVE                                                                             CLARKSTON        MI    48348‐4574
BRIAN W MC LEAN                                 104 BRYAN ST                                                                                        PRATTVILLE       AL    36066‐5339
BRIAN W MCANDREW                                2 BERWICK RD                                                                                        KENDALL PARK     NJ    08824‐1114
BRIAN W PEABODY                                 1108 LOCHMOOR                                                                                       GROSSE POINTE    MI    48236‐1759
BRIAN W PETERSEN                                708 W 5TH ST                                                                                        PORT ANGELES     WA    98363‐2248
BRIAN W SCHWENK                                 3552 CHURCH RD                                                                                      ELLICOTT CITY    MD    21043‐4402
BRIAN W SHANKS                                  416 LOTIS WAY                                                                                       LOUISVILLE       KY    40207‐1911
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 503 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

BRIAN W STEBBINS                                 9744 E RIVER RD                                                                                MT PLEASANT    MI       48858‐9842
BRIAN W STILES                                   1413 1/2 SCOTT ST                                                                              OTTAWA         IL       61350‐2417
BRIAN WALDMAN                                    75 EDGEMERE AVE                                                                                GREENWOOD LAKE NY       10925

BRIAN WALTON CUST ERIC MICHAEL WALTON UTMA OH 1575 MCMILLEN RD                                                                                  SHILOH            OH    44878‐9136

BRIAN WALTON CUST MARC DOUGLAS WALTON UTMA       1575 MCMILLEN RD                                                                               SHILOH            OH    44878‐9136
OH
BRIAN WAYNE PETERS                               1570 EARL DRIVE                                                                                DUBUQUE           IA    52001‐5302
BRIAN WEILER                                     1478 S CLAYTON ST                                                                              DENVER            CO    80210‐2415
BRIAN WILLIAM BLAESSER                           75 WESTLAND RD                                                                                 WESTON            MA    02493‐1327
BRIAN WILLIAM HAUSER                             9007 WOODLARK TER                                                                              BOYNTON BEACH     FL    33437‐1240
BRIAN WILLIAM MCCORD                             42 N LANSDOWN WAY                                                                              ANDERSON          IN    46012
BRIAN WOOD                                       13231 FRENCH LN                                                                                DAVISBURG         MI    48350
BRIAN WRIGHT                                     2953 REMINGTON OAKS LN                                                                         WEST BLOOMFIELD   MI    48324‐4787

BRIAN ZABLOTNY                                   7258 GREEN MEADOW LN                                                                           CANTON            MI    48187‐2484
BRIAN ZACKEY CUST ABIGAIL IRENE ZACKEY UGMA NY   357 GROVER CLEVELAND HIGHWAY                                                                   AMHERST           NY    14226‐3239

BRIAN ZIELINSKI                                  3748 JUNGLE PLUM DR E                                                                          NAPLES            FL    34114
BRIANA CHARMAINE DAHL                            841 FAIRVIEW AV                       APT G                                                    ARCADIA           CA    91007
BRIANNA COLLEEN SEGERSON                         895 HUNTER RIDGE                                                                               FAIRLAWN          OH    44333‐3275
BRIAR TODD                                       ATTN BRIAR TODD YONG                  2961 FOOTHILL ROAD                                       SANTA BARBARA     CA    93105‐2905
BRICE B HENDERSON                                1201 NORTH POWHATAN ST                                                                         ARLINGTON         VA    22205‐1733
BRICE D MCBRIDE                                  1942 HOSLER ST                                                                                 FLINT             MI    48503‐4416
BRICE EDWARD LOVE                                2390 BRANDON RD                                                                                UPPER ARLINGTON   OH    43221‐3805

BRICE G GAMBLE                               17731 ELK ESTATES RD                                                                               ATHENS            AL    35614
BRICE GORDON GAMBLE CUST LEAH GAMBLE UGMA VA 1612 SCOTTSDALE DR                                                                                 PLANO             TX    75023‐7473

BRICE T NIGHSWANDER & MILDRED E NIGHSWANDER JT 3861 NORTHWOODS CT                      APT 1                                                    WARREN            OH    44483‐4589
TEN
BRICE W KARSH                                  2 INVERNESS DR E                        STE 103                                                  CENTENNIAL        CO    80112‐5508
BRICK A MACLAREN                               6301 CONCORD ST                                                                                  SEBRING           FL    33876‐7625
BRIDE OS FRASER                                117 BUENA VISTA AVE #3                                                                           YONKERS           NY    10701‐3528
BRIDGET A COUGHLIN                             8414 OLD PLANK RD                                                                                GRAND BLANC       MI    48439‐2043
BRIDGET A GRAHAM                               867 HAMPTON                                                                                      GROSSE PTE WD     MI    48236‐1341
BRIDGET A SCOTT                                2004 SPAULDING AVE                                                                               SUITLAND          MD    20746‐1050
BRIDGET A SLADE                                PO BOX 1071                                                                                      CLARKSTON         MI    48347‐1071
BRIDGET AMBLE                                  1916 LAKE CASITAS CT                                                                             BAKERSFIELD       CA    93312‐8460
BRIDGET ARNE                                   1640 MELUGINS GROVE RD                                                                           STEWARD           IL    60553‐9713
BRIDGET BRENNAN HURLEY & THOMAS W HURLEY JT    25682 DEBORAH                                                                                    REDFORD           MI    48239‐1745
TEN
BRIDGET BROGGY & NOEL BROGGY JT TEN            DERRY MORE MEELICK CO                   CLARE                                  IRELAND
BRIDGET CHAMPAGNE                              64 ROLAND ST                                                                                     WOONSOCKET        RI    02895‐1251
BRIDGET CULLEN                                 4234 BAYARD                                                                                      SOUTH EUCLID      OH    44121‐3120
BRIDGET D KEOGH                                110 MEREDITH LN                                                                                  OAKDALE           NY    11769‐1008
BRIDGET EDWARDS CUST KEVIN VALLELY UTMA NV     1535 SANDRA DR                                                                                   BOULDER CITY      NV    89005

BRIDGET EDWARDS CUST PATRICK VALLELY UTMA NV     1535 SANDRA DR                                                                                 BOULDER CITY      NV    89005

BRIDGET G GALLAGHER                              3921 MC KINLEY                                                                                 DEARBORN HEIGHTS MI     48125‐2504

BRIDGET H HAWLEY                                 13954 E 117TH ST                                                                               FISHERS           IN    46037‐9724
BRIDGET K TAYLOR                                 1007 E KNOLLWOOD CIR                                                                           BLOOMINGTON       IN    47401‐4560
BRIDGET L EDWARDS                                1535 SANDRA DR                                                                                 BOULDER CITY      NV    89005
BRIDGET L LUTZ                                   5616 BERGAMOT COURT                                                                            NAPPERVILLE       IL    60564‐4989
BRIDGET LYNN TRELOAR                             924 DEAN WAY                                                                                   FT MYERS          FL    33919‐3208
                                                09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 504 of 850
Name                                              Address1                            Address2               Address3        Address4          City            State Zip

BRIDGET M BAYLOCK                                 930 COURT HOUSE DENNIS RD                                                                    CAPE MAY CRT     NJ   08210
                                                                                                                                               HOUSE
BRIDGET M BRINCKERHOFF                            761 HAMPTON PLACE                                                                            MAREITA          GA   30064‐3325
BRIDGET M CONVERY                                 525 W DEMING PLACE #229                                                                      CHICAGO          IL   60614
BRIDGET M HALLIDEN                                3150 WINDINGWAY ROAD                                                                         KETTERING        OH   45419‐1246
BRIDGET M RENO & GEORGE L RENO JT TEN             26226 DUNDALK LANE                                                                           FARMINGTON HILLS MI   48334‐4810

BRIDGET M SMITH                                   4378 CROW CREEK DR                                                                           COLORADO SPRINGS CO   80922‐2453

BRIDGET MANSELL                                   801 PORDON LN                                                                                HEALDSBURG      CA    95448‐3730
BRIDGET P SWEENEY                                 269 NASTO TERR BLDG 12                                                                       BRICK           NJ    08724‐7715
BRIDGET PHILP                                     749 E COLUMBIA                                                                               PONTIAC         MI    48340‐2048
BRIDGET RUEHL                                     143 FLUSHING AVE                                                                             FAIRFIELD       CT    06432‐1416
BRIDGETT ANNE BUSH                                7851 GLENEAGLE DR                                                                            KALAMAZOO       MI    49001‐8627
BRIDGETT DEE BIOZ                                 1305 JOY ST                                                                                  PAPILLION       NE    68046‐8214
BRIDGETT L WARD                                   6211 PECAN WOOD DR                                                                           HOUSTON         TX    77088‐4019
BRIDGETTE BERNARD                                 12 HIGHLAND AVE                                                                              HULL            MA    02045‐1106
BRIE J GALLAGHER                                  PO BOX 191                          42 MONTGOMERY STREET                                     TIVOLI          NY    12583‐5715
BRIEN OCONNOR DUNN                                PO BOX 99                                                                                    BAYSIDE         TX    78340‐0099
BRIENNE CLIADAKIS                                 28‐16 34TH ST                       APT 5A                                                   ASTORIA         NY    11103‐5016
BRIGETTE L BAILEY                                 1036 HANSOM DR                                                                               ST LOUIS        MO    63137‐1814
BRIGETTE P CARTER                                 17930 BONSTELLE AVE                                                                          SOUTHFIELD      MI    48075‐3478
BRIGETTE T MACKO                                  15 GROVE AVE                                                                                 LOCKPORT        NY    14094‐2509
BRIGHT M JUDSON                                   149 WEST NORTHWESTERN AVE                                                                    PHILADELPHIA    PA    19118‐4504
BRIGID DOOLEY DUTILE                              18517 SPRING MIST CT                                                                         SOUTH BEND      IN    46637‐4637
BRIGID FOWLER                                     7967 GULFSTREAM BLVD                                                                         MARATHON        FL    33050‐2819
BRIGID P FLYNN                                    6830 MIAMI HILLS DR                                                                          CINCINNATI      OH    45243‐2011
BRIGID R MCGLYNN                                  16 TAFT LANE                                                                                 ARDSLEY         NY    10502‐2411
BRIGID SMITH                                      127 MEADOWLANDS                     ANTRIM BT41 4E4                        GREAT BRITAIN
BRIGID T JESELSON                                 116 NORTH ISLAND AVE                                                                         RAMSEY          NJ    07446‐1534
BRIGIDO C RODRIGUEZ                               322 RAEBURN ST                                                                               PONTIAC         MI    48341‐3050
BRIGIDO M CAPILI JR & ARACELI A CAPILI JT TEN     2171 BOMBER AVE                                                                              YPSILANTI       MI    48198‐9232
BRIGITA N CROOK                                   3615 CRANE BLVD                                                                              JACKSON         MS    39216‐3604
BRIGITTA G GRUENTHER                              5859 GLEN FOREST DRIVE                                                                       FALLS CHURCH    VA    22041‐2531
BRIGITTA R ROMANOV                                28981 NEWTON CANYON RD                                                                       MALIBU          CA    90265
BRIGITTE H DODD                                   29 RINGWOOD WAY                                                                              ANDERSON        IN    46013
BRIGITTE MUTHIG & REIMUND MUTHIG JT TEN           2008 SUFFOLK                                                                                 ANN ARBOR       MI    48103‐5022
BRIGITTE PETERS                                   460 CALIFORNIA ST                                                                            RIPON           CA    95366‐2112
BRIGITTE T BRIER                                  15 GROVE AV                                                                                  LOCKPORT        NY    14094‐2509
BRIJ M LAL                                        1043 FLORIDA LANE                                                                            ELK GROVE VIL   IL    60007‐2927
BRIJDEO SHIVNARAIN                                305 EASTERN BLVD                                                                             BALTIMORE       MD    21221‐6921
BRINCA S PETERS                                   8 DOGWOOD DR                                                                                 CAPE MAY CH     NJ    08210
BRINDA S IRVIN                                    PO BOX 14478                                                                                 SAGINAW         MI    48601‐0478
BRINDA S PRITCHETT                                125 CRISCOE RD                                                                               UNION GROVE     AL    35175‐5101
BRION DE PIETRO                                   261 N COLONIAL DRIVE                                                                         CORTLAND        OH    44410‐1144
BRIT A REED                                       13124 ROBINS DR                                                                              DENVER          CO    80239‐3720
BRITAIN H CEARLEY                                 3007 S SEMORAN BLVD 128                                                                      ORLANDO         FL    32822
BRITAIN W PIERCE                                  513 HICKORY GLN                                                                              WOODSTOCK       GA    30188‐1923
BRITNEY J SMELTZER                                99 W CHERRY ST 20                                                                            NORMAL          IL    61761‐4590
BRITNEY WARE                                      18436 PENNINGTON                                                                             DETROIT         MI    48221‐2144
BRITON A ROCKAFELLOW                              418 CMR 410                                                                                  APO             AE    09049‐0005
BRITT BONNIE BENJAMIN                             9937 CEDAR ST                                                                                OVERLAND PARK   KS    66207‐3440
BRITT L HUNLEY                                    2870 STANTON ROAD                                                                            OXFORD          MI    48371‐5826
BRITT LAMBERT                                     3800 SW BLVD                                                                                 FORT WORTH      TX    76116
BRITTA ANDERSON                                   1556 W 145 ST                                                                                GARDENA         CA    90247‐2307
BRITTA D CAUCHI                                   PO BOX 604                                                                                   OSHTEMO         MI    49077‐0604
BRITTA SCHESNACK                                  7401 DALLAS DRIVE                                                                            LA PALMA        CA    90623‐1305
BRITTANY A WOOD                                   222 NICHOLSON RD                                                                             ETHEL           WA    98542‐9707
BRITTANY ALEXANDRA KOVACS                         718 GLENGROVE STREET                OSHAWA ON                              L1J 5C4 CANADA
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 505 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

BRITTANY ALEXANDRA KOVACS                        ATTN RONALD COX                       718 GLENGROVE ST     OSHAWA ON         L1J 5C4 CANADA
BRITTANY E SEKORA                                1700 ALTA DR 2109                                                                              LAS VEGAS         NV    89106‐4157
BRITTANY E VOGEL & RODGER R VOGEL JT TEN         100 GARDNER AVE                       UNIT 234                                                 CLAWSON           MI    48017‐2091
BRITTANY E VOGEL & RODGER R VOGEL JT TEN         21600 MAYFIELD                                                                                 FARMINGTON        MI    48336
BRITTANY JOY LAUTZ & BRENDA JOY LAUTZ JT TEN     2236 E DEERFIELD DR                                                                            MEDIA             PA    19063‐1834
BRITTIN CEMETERY AN ILLINOIS CORPORATION         C/O M MITTS                           6760 MITTS ROAD                                          SPRINGFIELD       IL    62707‐4605
BRITTNEY MICHELE BROWN                           1142 JACKIE LANE                                                                               MAYFIELD HTS      OH    44124‐1823
BRITTNEY SKAGGS                                  670 B ST                                                                                       LEMOORE           CA    93245
BRITTON L BURRELL                                145 WOODHAVEN LN                                                                               LA FOLLETTE       TN    37766‐7071
BROADDUS HOSPITAL                                PO BOX 930                                                                                     PHILIPPI          WV    26416‐0930
BROADUS E HILL JR                                PO BOX 3596                                                                                    TOPSAIL BEACH     NC    28445‐9831
BROC A YOCOM                                     2510 BELLWOOD COURT                                                                            WICHITA           KS    67205‐1462
BROCK A CUMMINGS                                 2969 E STATE RD 32                                                                             CRAWFORDSVL       IN    47933‐9612
BROCK B WALKER                                   6115 SHALIMAR PL                                                                               FLORISSANT        MO    63033‐7839
BROCK BAKER                                      549 N NEWELL RD                                                                                PEABODY           KS    66866
BROCK FREDERICK MERCK                            6832 N WILDWOOD AVE                                                                            CHICAGO           IL    60646‐1309
BROCK RICHARDSON                                 17 WAUGHBROOK LN                                                                               UNDERHILL         VT    05489‐9740
BROCK T JUMP                                     307 S PLUM ST                                                                                  HAVANA            IL    62644‐1319
BRODERICK W HUNTER                               6820 S OGLESBY ST                     APT 402                                                  CHICAGO           IL    60649‐1390
BRON M TAMULIS                                   109 SPRING ST                                                                                  MARLBORO          MA    01752‐4530
BRONE MIKLIUS & AUKSE J VAICAITIS & RUTA A       51 STONELEIGH DR                                                                               RIVERHEAD         NY    11901‐3200
PUZAUSKAS JT TEN
BRONEK DROZDOWICZ CUST RACHEL ANNA               119 SPRINGWOOD DR                                                                              ALLENTOWN         PA    18104
DROZDOWICZ UGMA OH
BRONEK SZYDLOWSKI                                413 OAK HAVEN DRIVE                                                                            ALTAMONTE         FL    32701‐6317
                                                                                                                                                SPRINGS
BRONELL HENDRICKSON                              312 LONGMAN RD                                                                                 EATON             OH    45320‐9357
BRONETTA M SHEEN                                 1220 STAGECOACH RD                                                                             HENDERSON         NC    27537‐7024
BRONI STANLIS                                    206 MAIN ST                                                                                    HAMPTON           NJ    08827‐4226
BRONIK RONCHKA                                   1240 MULMUR COURT                     PICKERING ON                           L1V 3L7 CANADA
BRONISLAUS B TOMCZYK JR                          2942 WALCK DRIVE                                                                               N TONAWANDA       NY    14120‐1128
BRONISLAW BELECKI                                7328 SAINT JOHN ST 1                                                                           DETROIT           MI    48210‐2758
BRONISLAW K BURZYNSKI                            51400 FORSTER                                                                                  SHELBY TOWNSHIP   MI    48316‐3879

BRONISLAW KONOPKA                                52 PLEASANT PLACE                                                                              KEARNY           NJ     07032‐1833
BRONISLAW LENKIEWICZ                             8101 MARIAN AVE                                                                                WARREN           MI     48093‐7120
BRONISLAW RUDNY                                  3406 OAK GARDENS DR                                                                            KINGWOOD         TX     77339‐1826
BRONISTA A HOLZER                                3173 BRYANT                                                                                    PALO ALTO        CA     94306‐2911
BRONSON E ANDREWS                                18665 LAMONT                                                                                   DETROIT          MI     48234‐2230
BRONWYN ANN SAUNDERS                             33920 SCHULTE                                                                                  FARMINGTON HILLS MI     48335‐4159

BRONWYN ANN SAUNDERS & ELLEN T SAUNDERS JT TEN 33920 SCHULTE                                                                                    FARMINGTON HILLS MI     48335‐4159

BRONWYN G CAMPBELL                               701 OAK ST                                                                                     MERKEI            TX    79536‐6417
BROOK D JENNINGS                                 3280 SPRUCE DR                                                                                 DOYLESTOWN        PA    18902‐1469
BROOK HILTON                                     94‐712 LUMIAUAU ST                    # LL102                                                  WAIPAHU           HI    96797‐5081
BROOK JOHNSON                                    1435 SEDWICK RD                                                                                DURHAM            NC    27713‐2644
BROOKE CEMETERY COMPANY                          PO BOX 451                                                                                     WELLSBURG         WV    26070‐0451
BROOKE D ASPERGREN JR                            2502 N 5TH ST                                                                                  KALAMAZOO         MI    49009‐8510
BROOKE E CUNNINGHAM                              1692 APACHE TRAIL                                                                              XENIA             OH    45385‐9378
BROOKE FARRELL                                   5530 MAIN ST                                                                                   TRUMBULL          CT    06611‐2932
BROOKE K MULLERY                                 273 CANAL DR                                                                                   TAPPAHANNOCK      VA    22560‐5014
BROOKE MCKNIGHT                                  3354 GENEVIEVE ST                                                                              SAN BERNADINO     CA    92405‐2516
BROOKE MYERS                                     4141 FLORA PL                                                                                  ST LOUIS          MO    63110‐3605
BROOKE NICOLE SMITH                              1550 DERBY DR                                                                                  HENDERSON         NV    89015‐8753
BROOKE PROSSER                                   20 MALIBU COURT                                                                                CLAYTON           CA    94517‐1710
BROOKE SUZANNE HARI                              56724 M‐40                                                                                     MARCELLUS         MI    49067‐9416
BROOKIE M MILLS                                  878 GLENDOWER AVE                                                                              COLUMBUS          OH    43207‐3142
BROOKIE S REGISTER                               BOX 533                                                                                        FOUR OAKS         NC    27524‐0533
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 506 of 850
Name                                              Address1                             Address2              Address3         Address4          City            State Zip

BROOKINGS LANGE                                   7560 CENTRAL AVE                                                                              INDIANAPOLIS    IN    46240‐2855
BROOKLYN MEMORIAL UNITED METHODIST CHURCH         2607 ARCHWOOD AVE                                                                             CLEVELAND       OH    44109‐2515

BROOKS C GERMAINE                                 7017 NORMANDY CT                                                                              FLINT           MI    48506‐1757
BROOKS C GETTY                                    201 BROOKS AVENUE                                                                             VESTAL          NY    13850‐2667
BROOKS D SIMPSON                                  1258 E CLARK DR                                                                               GILBERT         AZ    85297‐6880
BROOKS E HALE                                     23000 O HARA RD                                                                               MERRILL         MI    48637‐9748
BROOKS E LANHAM & SANDRA K LANHAM JT TEN          36740 VALLEY FORGE DRIVE                                                                      SOLON           OH    44139‐2635
BROOKS H HAIRSTON                                 PO BOX 2132                                                                                   E ST LOUISE     IL    62201
BROOKS R ELLIOTT                                  PMB 251                              5100 B‐1 CLAYTON RD                                      CONCORD         CA    94521
BROOKS WHITE & JOAN WHITE JT TEN                  12420 E SUMMER TRAIL                                                                          TUCSON          AZ    85749‐8827
BROOKSIE J WENZ                                   ATTN BROOKSIE JILL POLLACK           1500 LOCKWOOD                                            ORTONVILLE      MI    48462‐9121
BROOKSIE KING                                     267 COOLWATER DR                                                                              SAN DIEGO       CA    92114
BROR W NORBERG                                    19 OTIS ST                                                                                    AUBURN          MA    01501‐3419
BROSSIE A GIARDINA & ROSINA G GIARDINA JT TEN     314 W PARK AVE                                                                                GREENWOOD       MS    38930‐2902

BROWARD CO 4‐H FOUNDATION                         ATTN TOM DEVEREAUX                   3245 COLLEGE AVE                                         DAVIE           FL    33314‐7719
BROWN AND BROWN                                   ATT HENRY E BROWN                    145 E MAIN ST                                            MESA            AZ    85201‐7407
BROWN D CROSSNOE                                  2380 E REID RD                                                                                GRAND BLANC     MI    48439‐8535
BROWN D CROSSNOE & BARBARA JEAN CROSSNOE JT       2380 E REID ROAD                                                                              GRAND BLANC     MI    48439‐8535
TEN
BROWN L DOWNEY & MRS BETTY T DOWNEY JT TEN        4247 SHEPHERDSTOWN ROAD                                                                       MARTINSBURG     WV    25401‐0308

BROWN THORP INVESTMENTS                           ATTN MICHELLE B KOPECKY              404 S NYSSA AVE                                          BROKEN ARROW    OK    74012‐3225
BROWNIE R JOHNSON JR                              174 CASA DEL LAGO WAY                                                                         LENOIR CITY     TN    37772
BROWNLEE A BURRIS                                 1435 N ALABAMA AVE                                                                            DELAND          FL    32724‐2335
BROXIE KNOX JR                                    11252 S PEORIA ST                                                                             CHICAGO         IL    60643‐4610
BROZIE REED                                       528 NEVADA                                                                                    PONTIAC         MI    48341‐2553
BRUCE A ACRE                                      6355 ORIOLE DR                                                                                FLINT           MI    48506‐1746
BRUCE A ATKINS                                    5707 LOOKOUT MTN DR                                                                           HOUSTON         TX    77069
BRUCE A BAILEY CUST KRISTOPHER A BAILEY UGMA TX   8204 RED WILLOW DR                                                                            AUSTIN          TX    78736‐1779

BRUCE A BAKER                                    3250 WELCH RD                                                                                  WALLED LAKE     MI    48390‐1568
BRUCE A BARTH                                    8872 THORNAPPLE DR                                                                             PICKNEY         MI    48169‐9268
BRUCE A BELL                                     1806 SHANNON DR                                                                                JANESVILLE      WI    53546‐1498
BRUCE A BILLER                                   858 BURRITT RD                                                                                 HILTON          NY    14468‐9725
BRUCE A BIRDWELL                                 P O BOX169                                                                                     DEWEYVILLE      TX    77614‐0169
BRUCE A BLACKWELL                                1520 SOUTH F ST                                                                                ELWOOD          IN    46036‐2305
BRUCE A BROOKS CUST AMY SUZANNE BROOKS UTMA PO BOX 782                                                                                          ST CROIX FLS    WI    54024‐0782
MI
BRUCE A BROWN & SUSAN K BROWN JT TEN             408 DEER MEADOW CIRCLE                                                                         GEORGETOWN      TX    78628‐4691
BRUCE A BRUYERE                                  8002 KATHRYN DR                                                                                AKRON           NY    14001‐9602
BRUCE A BURGERMASTER                             28 PIERMONT RD                                                                                 ROCKLEIGH       NJ    07647‐2712
BRUCE A BUTLER                                   11565 GATES RD                                                                                 MULLIKEN        MI    48861‐9624
BRUCE A CAMPBELL                                 2105 BRIARHILL                                                                                 LANSING         MI    48917‐8641
BRUCE A CANTER                                   2791 52ND WAY N                                                                                ST PETERSBURG   FL    33710
BRUCE A CHAMBERLAIN                              492 W NORTH AVE                                                                                E PALESTINE     OH    44413‐1650
BRUCE A CHRISTENSON & SUSAN Y CHRISTENSON JT TEN 42153 WESTMEATH CT                                                                             NORTHVILLE      MI    48167‐2056

BRUCE A COLE                                      3445 TAMARIND                                                                                 NORTHBROOK    IL      60062‐2232
BRUCE A CONDER                                    72 MARBLEHEAD HARBOR                                                                          BRADFORDWOODS PA      15015‐1307

BRUCE A COTTON                                    2604 COLLENDALE DR                                                                            COMMERCETOWNS   MI    48382‐2022
                                                                                                                                                HIPS
BRUCE A CRAIG CUST TRAVIS C CRAIG UTMA WA         1580 VIA SANTIAGO                    APT 3                                                    CORONA          CA    92882‐3879
BRUCE A DAVIS                                     3877 E STATE RD 236                                                                           ANDERSON        IN    46017‐9788
BRUCE A DEMAREE & JENNIFER S DEMAREE JT TEN       83 PARK ST                                                                                    PLEASANTVILLE   NY    10570‐3724
BRUCE A DETTLOFF                                  12639 SCHLEWEIS                                                                               MANCHESTER      MI    48158‐9611
BRUCE A DIDION                                    9040 NORTHEASTERN AVE                                                                         INDIANAPOLIS    IN    46239‐1444
                                                09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 1 of 8 Pg 507 of 850
Name                                                  Address1                               Address2             Address3          Address4          City              State Zip

BRUCE A EUGENE                                        3203 PARKLANE DR                                                                                PARMA             OH    44134‐3425
BRUCE A EVOY                                          140 FALLING LEAF DR                                                                             LAPEER            MI    48446‐3139
BRUCE A FADER                                         463 BLUERIDGE DR                                                                                DAYTON            OH    45415‐3419
BRUCE A FAERBER                                       9907 BUSCH RD                                                                                   BIRCH RUN         MI    48415‐8473
BRUCE A FEIERTAG                                      3201 BROOKHOLLOW RD                                                                             OKLAHOMA CITY     OK    73120‐5201
BRUCE A FORDE & CAMILLE L FORDE JT TEN                506 PINE CREST DR                                                                               DECORAH           IA    52101‐1116
BRUCE A FREDRICK                                      15929 BLACKWATER CT                                                                             TINLEY PARK       IL    60477‐6757
BRUCE A GARDNER                                       5725 OPALINE DR                                                                                 WATERFORD         MI    48327‐2642
BRUCE A GLASSFORD                                     11169 JERRYSON                                                                                  GRAND LEDGE       MI    48837‐9181
BRUCE A GOODWIN                                       1371 WEST STEVENSON LAKE ROAD                                                                   FARWELL           MI    48622‐9229
BRUCE A GREENE                                        1330 BROOKEDGE DR                                                                               HAMLIN            NY    14464‐9360
BRUCE A GULLIVER                                      4107 BROCKWAY                                                                                   SAGINAW           MI    48603‐4776
BRUCE A GWYN CUST NICHOLAS J GWYN UTMA LA             220 HECTOR AVE                                                                                  METAIRIE          LA    70005‐4118

BRUCE A HABERICHTER                                   6819 WOODRIDGE DR                                                                               WOODRIDGE         IL    60517‐1913
BRUCE A HAEUSSLER                                     9351 WEBER RD                                                                                   MANCHESTER        MI    48158‐9737
BRUCE A HAMLIN & SHARON HAMLIN TEN COM                5304 BATON ROUGE BLVD                                                                           FRISCO            TX    75035
BRUCE A HARRIS                                        5972 FARMERSVILLE‐W CARR RD                                                                     MIAMISBURG        OH    45342‐1224
BRUCE A HARTLEY                                       9100 E 19TH AVE                                                                                 STILLWATER        OK    74074‐7060
BRUCE A HAYNES                                        5507 CAMPBELL ST                                                                                SANDUSKY          OH    44870
BRUCE A HEDRICK                                       7800 TAMRA DR                                                                                   RENO              NV    89506‐8641
BRUCE A HERSEY                                        269 EDINBURGH ROAD                                                                              SAN ANGELO        TX    76901‐9505
BRUCE A HERSHLINE & DOLORES HERSHLINE JT TEN          2780 BENEDICT LANE                                                                              SHELBY TWP        MI    48316‐2010

BRUCE A HILES & ROSA HILES TR HILES JOINT LIV TRUST   1308 WHITE OAK CIRCLE                                                                           EGG HARBOR CITY   NJ    08215‐4156
UA 06/15/93
BRUCE A HORN                                          5242 N CANAL ROAD                                                                               DIMONDALE         MI    48821‐8742
BRUCE A HUTTON                                        3450 ONONDAGA RD                                                                                EATON RAPIDS      MI    48827‐9608
BRUCE A KAHAN                                         1331 DEERBOURNE DR                                                                              WESLEY CHAPEL     FL    33543‐6754
BRUCE A KATZ                                          5216 COLD SPRING LANE                                                                           WEST BLOOMFIELD   MI    48322‐4208

BRUCE A KATZ CUST CARLY I KATZ UGMA NY                5216 COLD SPRING LANE                                                                           WEST BLOOMFIELD MI      48322‐4208

BRUCE A KATZ CUST EMILY B KATZ UGMA NY                5216 COLD SPRING LANE                                                                           WEST BLOOMFIELD MI      48322‐4208

BRUCE A KLIMIUK                                       534 DUNMORELAND DR                                                                              SHREVEPORT        LA    71106‐6104
BRUCE A KOIS                                          1015 ST CHARLES PLACE                                                                           THOUSAND OAKS     CA    91360‐4061
BRUCE A KUTNEY & DAWN T KUTNEY JT TEN                 531 RILEY AVE                                                                                   LANSING           MI    48910‐3229
BRUCE A LABNO                                         12401 QUEENS WAY N                                                                              STILLWATER        MN    55082‐9215
BRUCE A LANGE                                         1429 LONG LAKE DRIVE                                                                            BRIGHTON          MI    48114‐9637
BRUCE A LEE TR UA 10/05/91 THE BRUCE A LEE LIVING     3083 EGLESTON AVE                                                                               FLINT             MI    48506‐2149
TRUST
BRUCE A LEWANDOWSKI                                   243 WESTMINISTER                                                                                AUSTINTOWN        OH    44515‐2823
BRUCE A LOUWAERT                                      23737 EASTERLING AVE                                                                            HAZEL PARK        MI    48030‐1434
BRUCE A MACDONALD & ANITA J MACDONALD JT TEN          29 EBERLE RD                                                                                    LATHAM            NY    12110‐4737

BRUCE A MAJOR                                         7 SPENCER CROSSING                                                                              ST PETERS         MO    63376‐2625
BRUCE A MC COY                                        PO BOX 394                                                                                      NORMAN            OK    73070‐0394
BRUCE A MCGRATH                                       7444 WILSON ROAD                                                                                MONTROSE          MI    48457‐9171
BRUCE A MCMAHON                                       320 HUNTINGTON COURT                                                                            WEST CHESTER      PA    19380‐1778
BRUCE A MESSING & JEANNE MARIE MESSING JT TEN         297 LENTZ LANDING LANE                                                                          NEBO              NC    28761

BRUCE A MICHELS                                       308 SKY VIEW DR                                                                                 LOMPOC            CA    93436‐7449
BRUCE A MIDLER                                        1700 CENTRAL PARK AVE                                                                           YONKERS           NY    10710‐4908
BRUCE A MILLER                                        645 N FRANKLIN ST                      APT 2                                                    VAN WERT          OH    45891‐1394
BRUCE A MILLER                                        700 SOUTH ST                                                                                    OWOSSO            MI    48867‐8908
BRUCE A MITNICK & MICHELE MITNICK JT TEN              17 STURGES COMMONS                                                                              WESTPORT          CT    06880‐2835
BRUCE A MORGAN                                        PO BOX 181                                                                                      POLLOCK PINES     CA    95726
BRUCE A MOSSNER                                       9961 MARLYN                                                                                     REESE             MI    48757‐9548
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 508 of 850
Name                                            Address1                                Address2             Address3          Address4          City             State Zip

BRUCE A NEWTON                                  13983 BELL ROAD                                                                                  LAKE ODESSA      MI    48849
BRUCE A NICKERSON & ELSA NICKERSON JT TEN       9349 NAVAJO PL                                                                                   SUNLAKES         AZ    85248‐7022
BRUCE A NORRIS & DIONE B NORRIS JT TEN          173 BENNETT AVE                         APT 3320                                                 COUNCIL BLUFFS   IA    51503‐5166
BRUCE A OLMSTEAD CUST HILLARY A OLMSTEAD UTMA   11804 5TH AVE S                                                                                  SEATTLE          WA    98168‐2082
WA
BRUCE A OLMSTEAD CUST JAMIN T OLMSTEAD UTMA     11804 5TH AVE S                                                                                  SEATTLE          WA    98168‐2082
WA
BRUCE A OLMSTEAD CUST JOSHUA N OLMSTEAD UTMA    11804 5TH AVE S                                                                                  SEATTLE          WA    98168‐2082
WA
BRUCE A PEABODY & ALFORD E PEABODY JT TEN       7220 MOUNT HOPE HIGHWAY                 BOX 138‐A                                                MULLIKEN         MI    48861‐0138
BRUCE A PEARSON                                 1675 W OAKWOOD                                                                                   OXFORD           MI    48371‐2119
BRUCE A PHELPS                                  1299 YROKLEIGH                                                                                   LANSING          MI    48906‐1381
BRUCE A PHILLIPS                                9444 WHITTAKER RD                                                                                YPSILANTI        MI    48197‐8917
BRUCE A PHILLIPS & KAREN K PHILLIPS JT TEN      875 MIRCOS ST                                                                                    ERIE             CO    80516‐5411
BRUCE A POTTS                                   40 CROSS CREEK BLVD                                                                              ROCHESTER HLS    MI    48306‐4303
BRUCE A R EVERETT & BRUCE H EVERETT JT TEN      3416 CLAYTON                                                                                     WATERFORD        MI    48329‐3206
BRUCE A R EVERETT & JOHN B EVERETT JT TEN       3416 CLAYTON                                                                                     WATERFORD        MI    48329‐3206
BRUCE A RAFF                                    5167 DEL MORENO DR                                                                               WOODLAND HILLS   CA    91364‐2427

BRUCE A RHOADS                                  439 S WOLF CREEK PIKE                                                                            BROOKVILLE       OH    45309‐9337
BRUCE A RUNDLE                                  1075 WADSWORTH RD                                                                                MEDINA           OH    44256‐3214
BRUCE A SERVISS                                 15 ROSEBRIER ST                                                                                  MASSENA          NY    13662‐1762
BRUCE A SHIRHART                                10444 E RIVER RD                                                                                 COLUMBIA STA     OH    44028
BRUCE A SMITH                                   520 PARTRIDGE LANE                                                                               ALBANY           GA    31707‐3040
BRUCE A SMITH                                   7512 KIRKVILLE RD                                                                                EAST SYRACUSE    NY    13057‐9420
BRUCE A STRICKER                                94 SOUTH HANOVER ST                                                                              MINSTER          OH    45865
BRUCE A SULLIVAN                                14505 CENTRAL COURT                     #PH4                                                     OAK FOREST       IL    60452‐1064
BRUCE A SWAIM TR BRUCE A SWAIM TRUST UA         PO BOX 1026                                                                                      DELTA            AK    99737‐1026
10/30/02
BRUCE A TARTAGLIA                               40 VALLEYWOOD RD                                                                                 COS COB          CT    06807‐2329
BRUCE A TERRY                                   50 ALLEN PL                             APT A9                                                   HARTFORD         CT    06106‐3249
BRUCE A TICHENOR & GAIL B MARTIN JT TEN         33‐27 MURRAY LN                                                                                  FLUSHING         NY    11354‐3210
BRUCE A TREADWAY                                7396 SOUTH MORRISH ROAD                                                                          SWARTZ CREEK     MI    48473‐7624
BRUCE A TRIM                                    31 ELDA COURT P O BOX 311               SHARON ON                              L0G 1V0 CANADA
BRUCE A TURCO & SHIRLEY C TURCO JT TEN          PO BOX 131                                                                                       MOUNT HOLLY      VT    05758‐0131
BRUCE A WALEWSKI                                3472 HADLEY RD                                                                                   ORIONVILLE       MI    48462‐9284
BRUCE A WALKER CUST BRAD A WALKER UGMA IN       1108 N SCATTERFIELD RD                                                                           ANDERSON         IN    46012‐1843

BRUCE A WALKER CUST KEVIN L WALKER UGMA IN      1108 N SCATTERFIELD RD                                                                           ANDERSON         IN    46012‐1843

BRUCE A WARD                                    321 E CHILLICOTHE AVE                                                                            BELLEFONTAINE    OH    43311‐1905
BRUCE A WARNER                                  3442 HANFORD DR                                                                                  WATERFORD        MI    48329‐3020
BRUCE A WEBSTER                                 4865 CAVITT STALLMAN ROAD                                                                        GRANITE BAY      CA    95746
BRUCE A WEISSEND                                716 MORRIS AVE                                                                                   LANSING          MI    48917‐2323
BRUCE A WHITE                                   8515 MAIN ST 3H                                                                                  JAMAICA          NY    11435‐1831
BRUCE A WILLIS & LUCY K WILLIS JT TEN           6165 NABLEY HILL                                                                                 FENTON           MI    48430
BRUCE A WILLSEY                                 1033 IRON WOOD COURT APT 004                                                                     ROCHESTER        MI    48307‐1250
BRUCE A WINTERS                                 724 N SANDUSKY ST                                                                                BELLEVUE         OH    44811‐1128
BRUCE A WORLEY                                  13691 GAVINA AVE #470                                                                            SYLMAR           CA    91342‐2663
BRUCE ALAN FREDRICK                             15929 BLACKWATER CT                                                                              TINLEY PARK      IL    60477‐6757
BRUCE ALAN HEIMLICH                             26175 PIERCE RD                                                                                  LOS GATOS        CA    95033‐8528
BRUCE ALDEWERELD                                69 FORESTER ST                                                                                   LONG BEACH       NY    11561‐2436
BRUCE ALLAN BOYKO                               143 ASHLEY ROAD                                                                                  BRISTOL          CT    06010‐2606
BRUCE ALLEN KIRCHEN                             702 HASTAY BLVD                                                                                  EATON RAPIDS     MI    48827‐2007
BRUCE ANTHONY                                   6436 ST RT 305 N E                                                                               FOWLER           OH    44418‐9716
BRUCE ANTHONY FULLER                            4512 HUGHES                                                                                      FORT WORTH       TX    76119‐4028
BRUCE ARTHUR ROWE                               2503 CUTTY SARK DR                                                                               KALAMAZOO        MI    49009‐9152
BRUCE ATLAS                                     157‐33 22ND AVE                                                                                  WHITESTONE       NY    11357‐3910
BRUCE AVERY FRENCH                              5708 MATILIJA AVE                                                                                VAN NUYS         CA    91401‐4423
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 509 of 850
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

BRUCE AW ROBERTS                                9055 LAKE SHORE BLVD                                                                            MENTOR            OH    44060‐1510
BRUCE B BISHOP SR & TERRI D BISHOP JT TEN       7050 EHRHARDT RD                                                                                EHRHARDT          SC    29081
BRUCE B CADIEU                                  6636 HEMSWORTH TER                                                                              CHARLOTTE         NC    28227‐3213
BRUCE B CAMPBELL                                1707 CAMINO LA VISTA                                                                            FULLERTON         CA    92833‐1918
BRUCE B EGGERS                                  3535 S WISE RD                                                                                  MOUNT PLEASANT    MI    48858‐8100

BRUCE B FORBUSH                                 ATTN C ALLEN                           954 W PINE TREE ST                                       LAKE ORION        MI    48362‐2564
BRUCE B JUNOR & YVONNE L JUNOR JT TEN           1342 APSLEY ROAD                                                                                SANTA ANA         CA    92705‐2330
BRUCE B KEMP                                    2450 W RIVER ROAD                                                                               NEWTON FALLS      OH    44444‐9499
BRUCE B KNIGHT                                  161 EMBERGLOW LANE                                                                              ROCHESTER         NY    14612‐1425
BRUCE B PIERCE                                  PO BOX 4006                                                                                     CHARLOTTESVILLE   VA    22903‐0841

BRUCE B ROBERTS                                 82 BURBANK LANE                                                                                 YARMOUTH          ME    04096‐5926
BRUCE B ROBERTS                                 C/O JOAN P ROBERTS                     457 BURLINGTON LN                                        CARMEL            IN    46032‐9162
BRUCE B ROBERTS & JOAN P ROBERTS JT TEN         457 BURLINGTON LN                                                                               CARMEL            IN    46032‐9162
BRUCE B SHEAVES                                 104 BARRINGTON HILL RD                                                                          CHAPEL HILL       NC    27516‐8710
BRUCE B SMITH                                   PO BOX 14                                                                                       LAGRANGE          GA    30241‐0001
BRUCE BARRIE                                    5807 WEST 29TH STREET RD                                                                        GREELEY           CO    80634‐8504
BRUCE BLUMBERG                                  3147 WALLER STREET                                                                              JACKSONVILLE      FL    32254‐4213
BRUCE BODINGER                                  PO BOX 472                                                                                      EAST BRUNSWICK    NJ    08816‐0472
BRUCE BOLTUCH                                   88 WILLOW DR                                                                                    OLD TAPPAN        NJ    07675‐6831
BRUCE BRANDELL                                  457 BIRCH CRESCENT                     SASKATOON SK                           S7N 2K2 CANADA
BRUCE BRUNGARD & DEBORAH BRUNGARD JT TEN        2253 INWOOD DR                                                                                  YOUNGSTOWN        OH    44515‐5149

BRUCE BURRY                                     39045 GARDENSIDE DR                                                                             WILLOUGHBY        OH    44094‐7909
BRUCE BUTTERWEICH                               134 FRIENDS LANE                                                                                WESTBURY          NY    11590‐6506
BRUCE C AMBLER                                  304 E ELLEN                                                                                     FENTON            MI    48430‐2119
BRUCE C ANDERSON                                322 LAKE ST 105                                                                                 EXCELSIOR         MN    55331‐1831
BRUCE C BADE                                    1642 E‐SR 26E                                                                                   HARTFORD CITY     IN    47348‐9084
BRUCE C BROCKWAY                                7350 EAST Y AVE                                                                                 VICKSBURG         MI    49097‐9555
BRUCE C BURKEY                                  37 BERKSHIRE                                                                                    ROCHESTER         NY    14626‐3814
BRUCE C CAMPBELL                                1512 CEDAR TER                                                                                  COLUMBIA          SC    29209‐1620
BRUCE C CRAFTS                                  334 EAST SOUTH STREET                                                                           DAVISON           MI    48423‐1620
BRUCE C DAVIDSON                                2568 N 124TH #427                                                                               WAUWATOSA         WI    53226‐1052
BRUCE C DOLIN TRADING FOR DOLIN INSURANCE       BOX 1730                                                                                        RUTHERFORD        NJ    07070‐0730
BRUCE C DUDLEY                                  RFD 1 LAKE ST                                                                                   NORTH SALEM       NY    10560‐9801
BRUCE C DUDLEY & MRS MONICA F DUDLEY JT TEN     305 TEXKNOLL DR                                                                                 BRIGHTON          MI    48116‐2448

BRUCE C DURST                                   3160 BAZETTA RD                                                                                 CORTLAND          OH    44410‐9228
BRUCE C EBERSOLE                                660 CRAGMOOR ROAD                                                                               YORK HAVEN        PA    17370‐9617
BRUCE C FOGG                                    375 W CENTER ST                                                                                 SOUTHINGTON       CT    06489
BRUCE C FRANCKOWIAK                             521 HAMPTON CT                                                                                  WIXOM             MI    48393‐4511
BRUCE C HATHAWAY                                787 WILLIAMS HILL RD                                                                            RICHMOND          VT    05477‐9466
BRUCE C HOLEMAN                                 792 NW 1621ST RD                                                                                BATES CITY        MO    64011‐8395
BRUCE C HUNT                                    8123 PINEFIELD DR                                                                               ANTELOPE          CA    95843‐4512
BRUCE C LABUDDE                                 4316 FAWN LANE S E                                                                              SMYRNA            GA    30082‐3951
BRUCE C MILLER                                  6189 DUBLIN ROAD                                                                                DUBLIN            OH    43017‐1407
BRUCE C MITCHELL                                3432 PAUL ANKA DRIVE                   OTTAWA ON                              K1V 9K6 CANADA
BRUCE C NELSON & CATHERINE L NELSON JT TEN      469 N 30TH RD                                                                                   LA SALLE          IL    61301‐9758
BRUCE C PAULUS                                  3125 HIDDEN TIMBER DR                                                                           LAKE ORION        MI    48359
BRUCE C PROPER                                  1550 RATTALEE LAKE RD                                                                           HOLLY             MI    48442‐8544
BRUCE C ROBERTS                                 8360 ILENE DR                                                                                   CLIO              MI    48420‐8518
BRUCE C SANFT                                   845 HAWTHORNE DR                                                                                CINCINNATI        OH    45245‐1829
BRUCE C TYRA                                    98 MCNOMEE ST                                                                                   OAKLAND           NJ    07436‐2636
BRUCE C VEIT                                    649 AGUA CALIENTE DR                                                                            EL PASO           TX    79912‐2226
BRUCE C WALKER                                  2065 CLEARWOOD CT                                                                               SHELBY TWP        MI    48316‐1015
BRUCE C WATSON                                  542 STONEBROOK DR                                                                               GRAND BLANC       MI    48439‐1108
BRUCE C WELLS                                   PO BOX 304                                                                                      BRASHER FALLS     NY    13613‐0304
BRUCE CALABRESE                                 792 WINTER COURT                                                                                CARMEL            IN    46032‐5273
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 510 of 850
Name                                            Address1                               Address2             Address3          Address4          City               State Zip

BRUCE CAMPBELL                                  42264 GAINSLEY                                                                                  STERLING HEIGHTS   MI    48313‐2560

BRUCE CARMICHAEL                                7901 W CO RD 950 N                                                                              GASTON             IN    47342‐9066
BRUCE CARSWELL                                  16 HIGHLAND WAY                                                                                 SCARSDALE          NY    10583‐1610
BRUCE CECIL CLYMER                              1808 WOODBINE PL                                                                                OCEANSIDE          CA    92054‐5651
BRUCE CHARLES DANSKIN                           5121 MELBOURNE RD                                                                               RALEIGH            NC    27606‐1747
BRUCE CHERKSEY                                  59 WILLOW TER                                                                                   HOBOKEN            NJ    07030‐2812
BRUCE CHRISTO                                   38 AVENUE ROAD 512                     TORONTO ON                             M5R 2G2 CANADA
BRUCE CHRISTO                                   512 ‐ 38 AVENUE RD                     TORONTO ON                             M5R 2G2 CANADA
BRUCE CLARK                                     BOX 879                                                                                         CRAIGSVILLE        VA    24430‐0879
BRUCE CLARK HEPP                                1586 S WRIGHT CT                                                                                LAKEWOOD           CO    80228‐3867
BRUCE CLAYBAUGH                                 5795 W COUNTY RD 650 N                                                                          WEST BADEN         IN    47469‐9614
                                                                                                                                                SPRINGS
BRUCE COLEMAN                                   C/O STACIA COBB COOPER                 35 SUMMIT ST                                             NYACK              NY    10960‐3723
BRUCE CORNISH                                   6315 MOCCASIN BEND                                                                              SPRING             TX    77379‐4216
BRUCE CRITTENDON                                7161 CUESTA WAY DR NE                                                                           ROCKFORD           MI    49341‐8579
BRUCE D BAKER                                   241 BETHANY RD                                                                                  BEACON FALLS       CT    06403‐1401
BRUCE D BARBER                                  7399 BEAR RIDGE RD                                                                              NORTH              NY    14120‐9520
                                                                                                                                                TONAWANDA
BRUCE D BENTLEY                                 318 GILBERT STREET                                                                              OWOSSO             MI    48867‐2432
BRUCE D BEST                                    202 TONKIN ST                                                                                   BEAVERTON          MI    48612‐8142
BRUCE D BISCHOFF                                9007 CORIANDER CIRCLE                                                                           MANASSAS           VA    20110‐5966
BRUCE D BURGLASS JR                             530 HECTOR AVE                                                                                  METAIRIE           LA    70005
BRUCE D CARLSON                                 18247 CENTRALIA                                                                                 REDFORD            MI    48240‐1818
BRUCE D GEAR                                    BOX 445                                                                                         SAWYER             MI    49125‐0445
BRUCE D GEISENDORFER                            1518 BELLE MEAD                                                                                 COPLEY             OH    44321‐1808
BRUCE D GOODMAN                                 4375 E COURT ST                                                                                 BURTON             MI    48509‐1815
BRUCE D GOODWILLIE                              4616 MASSACHUSETTS ST                                                                           SAN DIEGO          CA    92116‐1035
BRUCE D GUITE                                   142 WOODHAVEN CIRCLE EAST                                                                       ORMOND BEACH       FL    32174‐8081
BRUCE D HAGESTAD & MRS JANICE HAGESTAD JT TEN   814 S LEWIS ST                                                                                  DENVER             CO    80226‐3926

BRUCE D HERRICK                                 103 COUNTRY CLUB RD 3                                                                           SANFORD          ME      04073
BRUCE D HOFFMAN                                 5030 PIERCE RD NW                                                                               WARREN           OH      44481‐9309
BRUCE D JACKSON                                 38853 LANCASTER DR                                                                              FARMINGTON HILLS MI      48331‐1623

BRUCE D KERSHAW & PAULA J KERSHAW JT TEN        205 PARSONS RD                                                                                  LANDENBERG         PA    19350‐9650
BRUCE D KOLKMAN                                 6489 CLOVER LANE                                                                                JENISON            MI    49428‐9218
BRUCE D LARKIN                                  4075 E BURT RD                                                                                  MONTROSE           MI    48457‐9602
BRUCE D LONG                                    13204 S BRANDON AVE                                                                             CHICAGO            IL    60633‐1453
BRUCE D LOWE CUST COURTNEY LOWE UGMA NJ         P O BOX 321                                                                                     RUMSON             NJ    07760
BRUCE D LOWE CUST DEREK LOWE UGMA NJ            PO BOX 321                                                                                      RUMSON             NJ    07760
BRUCE D MACFARLANE                              402 HACIENDA CIRCLE                                                                             HAUGHTON           LA    71037‐9529
BRUCE D MELLENDORF                              5196 PARK DR                                                                                    FAIRGROVE          MI    48733‐9701
BRUCE D MOSSER                                  537 DUFFEY ST                                                                                   PLAINFIELD         IN    46168‐1619
BRUCE D MUENSTERMANN                            PO BOX 28                                                                                       WEBBERVILLE        MI    48892‐0028
BRUCE D NACHMAN                                 ATTN CHARLES P NACHMAN                 1510 FLOYD AVE                                           RICHMOND           VA    23220‐4620
BRUCE D OGLETREE                                507 STRANGE ROAD                                                                                TAYLORS            SC    29687‐3974
BRUCE D PETERS                                  C/O SHANGHAI                           PO BOX 9022                                              WARREN             MI    48090‐9022
BRUCE D PIERSON                                 2101 STONE THROW DR                                                                             LAPEER             MI    48446‐9026
BRUCE D POTTER                                  2460 OVERGLEN CT                                                                                EAST LANDSING      MI    48823‐9475
BRUCE D RADLOFF                                 8248 INTERLAKEN BEACH RD                                                                        INTERLAKEN         NY    14847‐9616
BRUCE D SEWELL                                  4015 CUSTER                                                                                     ROYAL OAK          MI    48073‐2432
BRUCE D SEXTON                                  434 W 4TH ST                           APT 717                                                  RED WING           MN    55066‐2549
BRUCE D SMITH JR                                1051 FARM VIEW DRIVE                                                                            WEST CHESTER       PA    19382‐7470
BRUCE D STUBBLEFIELD                            1168 HIGHWAY 3 N                                                                                HAMPTON            GA    30228‐2052
BRUCE D TAUB                                    1501 BEACON ST                         APT 501                                                  BROOKLINE          MA    02446‐4604
BRUCE D TERLAND                                 PO BOX 75                                                                                       AVALON             WI    53505‐0075
BRUCE D VAIR                                    23 CANFIELD PL                                                                                  ROCHESTER          NY    14607‐1807
BRUCE D VOSS                                    12314 ST ANDREWS WAY                                                                            FENTON             MI    48430‐8887
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 511 of 850
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

BRUCE D WALLACE                                    9455 SALEM CHURCH RD                                                                           CANL WINCHSTR   OH    43110‐8982
BRUCE D WAYLAND                                    584 WENDEMERE DR                                                                               HUBBARD         OH    44425‐2624
BRUCE D WIMMER & LUCILE I WIMMER JT TEN            8288 MICHCON AVE                                                                               BALDWIN         MI    49304‐8158
BRUCE D WINANS                                     4 MEADOWVIEW DRIVE                                                                             MINERAL WELLS   WV    26150‐9482
BRUCE D ZELLER                                     7118 TAILWINDS DR                                                                              HARRISON        TN    37341‐7684
BRUCE DAVID GLADDEN JR                             5119 SECRETARIAT LN                                                                            BAKERSFIELD     CA    93312‐4163
BRUCE DAVID GRIBBEN                                348 W 7TH STREET                                                                               ANDERSON        IN    46016
BRUCE DONALD ELLSWORTH III                         340 PROVINCETOWN RD                                                                            CHERRY HILL     NJ    08034‐3655
BRUCE DRUCKER                                      4000 W ISLAND BLVD                    APT 1505                                                 AVENTURA        FL    33160‐2539
BRUCE E ACKLEY                                     8055 E 9TH AVE                                                                                 DENVER          CO    80230
BRUCE E ADAMS                                      407 JACKSON                                                                                    KANSAS CITY     MO    64124‐2003
BRUCE E ANDACHTER                                  405 VASSAR ST                                                                                  INDEPENDENCE    MO    64054‐1551
BRUCE E ARTERBRIDGE                                28 FORESTAL CIR                                                                                NEWARK          DE    19711‐2986
BRUCE E BEAUCHAMP                                  550 E SAGE BRUSH ST                                                                            GILBERT         AZ    85296‐2327
BRUCE E BISHOP TR BRUCE E BISHOP LIVING TRUST UA   1256 N RACE AVE                                                                                ARLINGTON HTS   IL    60004‐4457
09/18/96
BRUCE E BOWHAY                                     7032 W 40TH STREET                                                                             STICKNEY        IL    60402‐4121
BRUCE E BURZYNSKI                                  1408 SOUTH MONROE                                                                              BAY CITY        MI    48708‐8074
BRUCE E BUSFIELD                                   17 CRAWFORD RD                                                                                 MIDDLETOWN      NJ    07748‐3205
BRUCE E COE                                        3012 ST BARTHOLOMEW DR                                                                         MANSFIELD       TX    76036
BRUCE E COLLINS                                    #501                                  16100 VAN AKEN                                           CLEVELAND       OH    44120‐5303
BRUCE E DEAKYNE                                    309 IRONBRIDGE RD                                                                              CICERO          IN    46034‐9437
BRUCE E DUGUID                                     809 N SHELDON ST                                                                               CHARLOTTE       MI    48813‐1201
BRUCE E DUNGEY                                     27 HYLAND COURT                       KINGSTON ON                            K7N 1H1 CANADA
BRUCE E EILER                                      PO BOX 1451                                                                                    PILOT MTN       NC    27041‐1451
BRUCE E FLEMING & EDWIN M FLEMING JT TEN           31155 PORTSIDE DR                     APT 7302                                                 NOVI            MI    48377‐4214
BRUCE E GILEWSKI                                   770 GEER RD                                                                                    ARCADE          NY    14009‐9737
BRUCE E GOETTMAN                                   114 FOREST DR                                                                                  MARS            PA    16046‐7802
BRUCE E GOSSELIN                                   123 BELLWOOD CIR                                                                               BELLINGHAM      MA    02019‐1572
BRUCE E GOTTLIEB                                   1808 JOLIET                                                                                    BOULDER         CO    80303‐7101
BRUCE E HASELEY                                    2495 STOELTING ST                                                                              NIAGARA FALLS   NY    14304‐2043
BRUCE E HAYNAM TR BRUCE E HAYNAM REV TRUST OF      10851 GULF SHORE DR APT 302                                                                    NAPLES          FL    34108‐3025
1999 UA 11/19/99
BRUCE E HORNING                                    2839 DANBURY LANE                                                                              TOMS RIVER      NJ    08755‐2574
BRUCE E JONES                                      12083 STONE POINT CT                                                                           LOVELAND        OH    45140‐5420
BRUCE E KEHR                                       1728 STENGEL AVE                                                                               BALTIMORE       MD    21222‐1816
BRUCE E KILE & SHARALENE A KILE JT TEN             2492 LORRIE DR                                                                                 MARIETTA        GA    30066‐5720
BRUCE E LIVINGSTON TR BRUCE E LIVINGSTON INTER‐    5926 MACKINAW RD                                                                               SAGINAW         MI    48604‐9765
VIVOS TRUST UA 01/28/00
BRUCE E MARSHALL                                   1805 W 145TH ST                                                                                COMPTON         CA    90220‐1434
BRUCE E MASTNY                                     56821 FEATHER COURT                                                                            THREE RIVERS    MI    49093‐9653
BRUCE E MCMASTER                                   5165 CAMBRIA RD                                                                                SANBORN         NY    14132‐9412
BRUCE E MEYER                                      7625 GILLCREST RD                                                                              SYLVANIA        OH    43560‐3736
BRUCE E MITCHELL & EMILY M MITCHELL JT TEN         PO BOX 0118                                                                                    ARDSLEY‐ON‐     NY    10503‐0118
                                                                                                                                                  HUDSON
BRUCE E MOHAGEN CUST TRISTAN K MOHAGEN UTMA        1070 JASMINE WAY                                                                               EL SOBRANTE     CA    94803‐1347
CA
BRUCE E NEVEAU                                     640 W WHIDDEN ST                                                                               ARCADIA         FL    34266‐3545
BRUCE E NEWVINE                                    4439 S FENMORE                                                                                 MERRILL         MI    48637‐9727
BRUCE E OWEN                                       9298 PARK COURT                                                                                SWARTZ CREEK    MI    48473‐8537
BRUCE E PERSIN                                     1223 EVERETT HULL RD                                                                           CORTLAND        OH    44410‐9313
BRUCE E PERSIN & MARIE T PERSIN JT TEN             1223 EVERETT HULL RD                                                                           CORTLAND        OH    44410‐9313
BRUCE E PETERSON                                   901 E MOUNTAIN VIEW TER                                                                        ALHAMBRA        CA    91801‐4137
BRUCE E PIEPIORA & MRS SHARON ANN PIEPIORA JT      11060 W JANESVILLE RD APT 2                                                                    HALES CORNERS   WI    53130‐2544
TEN
BRUCE E PIKE                                       881 STIRLING                                                                                   PONTIAC         MI    48340‐3166
BRUCE E PRYOR                                      1004 INDIAN RIDGE DR                                                                           DENTON          TX    76205‐8041
BRUCE E QUISENBERRY                                22532 LINDA DR                                                                                 TORRANCE        CA    90505‐3206
BRUCE E SAUNDERS                                   1276 IVA                                                                                       BURTON          MI    48509‐1525
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 512 of 850
Name                                             Address1                              Address2             Address3          Address4          City           State Zip

BRUCE E SCHONDELMEYER                            30 WINDING STAIR WAY                                                                           O'FALLON       MO    63366‐8223
BRUCE E SHADRACH                                 8 CARTWRIGHT PL                                                                                KETTERING      OH    45420‐2909
BRUCE E SING & JANICE K HARRELL JT TEN           1467 WOOD POND S ROUNDABOUT                                                                    CARMEL         IN    46033‐8679
BRUCE E SMITH                                    8945 MICHIGAMME                                                                                CLARKSTON      MI    48348‐3439
BRUCE E SMITH                                    3513 MILLIGAN RD                                                                               MANSFIELD      OH    44906‐1020
BRUCE E SMITH & CLAUDETTE I SMITH JT TEN         3513 MILLIGAN ROAD                                                                             MANSFIELD      OH    44906‐1020
BRUCE E STEWART & MRS WENDY L STEWART JT TEN     18415 PARK GROVE LN                                                                            DALLAS         TX    75287‐5126

BRUCE E TERHUNE                                  3669 ANCIENT OAKS CIR                                                                          GULF SHORES    AL    36542‐9089
BRUCE E THOMAS                                   1062 N CORNELL                                                                                 FLINT          MI    48505‐1345
BRUCE E THORLEY                                  8397 CARRIAGE LN                                                                               PORTLAND       MI    48875‐9778
BRUCE E TOMASZEWSKI & SUSAN A TOMASZEWSKI JT     1933 SPRUCE CREEK LANDING                                                                      DAYTON BEACH   FL    32124‐6870
TEN
BRUCE E TRUMBO                                   27047 BELFAST LANE                                                                             HAYWARD        CA    94542‐2432
BRUCE E UNDERWOOD                                74 STATE HIGHWAY 180                                                                           HIAWASSEE      GA    30546‐5404
BRUCE E WARD                                     4833 LANTERN DR                                                                                GREENWOOD      IN    46142‐7457
BRUCE E WILLIAMS                                 104 50TH AVENUE TER E                                                                          BRADENTON      FL    34203‐4517
BRUCE E WILLIAMS                                 8057 HIGHWAY 80                                                                                PRINCETON      LA    71067‐8506
BRUCE E WINKLER & NANCY J WINKLER JT TEN         48055 BASSWOOD COURT                                                                           PLYMOUTH       MI    48170‐3301
BRUCE E ZEMKE                                    PO BOX 218                                                                                     KNIERIM        IA    50552‐0218
BRUCE EARL NELSON CUST MELISSA ELAINE NELSON     8905 LA ENTRADA AVE                                                                            WHITTIER       CA    90605‐1711
UTMA CA
BRUCE EDWARD DIETZEL                             2199 FLAJOLE RD                                                                                RHODES         MI    48652‐9504
BRUCE EDWARD QUANDT                              660 EAST K ST                                                                                  BENICIA        CA    94510‐3509
BRUCE EDWARD WATKINS                             1306 COTTAGE COURT DR                                                                          FAIRBORN       OH    45324‐5748
BRUCE EDWARDS                                    1407 HARVARD N E                                                                               ALBUQUERQUE    NM    87106‐3713
BRUCE ELESHEWICH CUST GEORGE ELESHEWICH UTMA     81 LOQUAT TREE DR                                                                              LANTANA        FL    33462‐5115
FL
BRUCE ELMORE JR                                  169 WINDSOR ROAD                                                                               ASHEVILLE      NC    28804‐1610
BRUCE ENGL                                       3114 N FRATNEY ST                                                                              MILWAUKEE      WI    53212‐2223
BRUCE ERLIN & JANICE ERLIN JT TEN                3 DAVID LANE                          APT 7Q                                                   YONKERS        NY    10701‐1122
BRUCE ESTES                                      849 BEECH STREET                                                                               LAKE ODESSA    MI    48849‐9431
BRUCE EVASHEVSKI CUST KEITH EVASHEVSKI UGMA AZ   70 GREYSTONE TRL                                                                               EVERGREEN      CO    80439‐4368

BRUCE F BECKER                                   3160 DUKE DR                                                                                   PRESCOTT       AZ    86301‐4132
BRUCE F BLACK                                    7 KAREN PLACE                                                                                  BUDD LAKE      NJ    07828‐1013
BRUCE F COX                                      3986 E 188 ST                                                                                  CLEVELAND      OH    44122‐6761
BRUCE F CULLEN & ELIZABETH A CULLEN JT TEN       13532 SE HARRISON CT                                                                           PORTLAND       OR    97233‐2020
BRUCE F DAVIS & MARJEAN A DAVIS JT TEN           5350 COLUMBIA                                                                                  CLARKSTON      MI    48346‐3117
BRUCE F FREATHY & DONNA L FREATHY JT TEN         9140 MC WAIN RD                                                                                GRAND BLANC    MI    48439‐8005
BRUCE F KAWIN                                    4393 13TH ST                                                                                   BOULDER        CO    80304‐0848
BRUCE F KEENE                                    23 AARON DRIVE                                                                                 DECATUR        AL    35603‐3912
BRUCE F LANZL                                    428 THIRD ST                                                                                   ENCINITAS      CA    92024‐3508
BRUCE F LUNDAHL                                  3282 N SQUIRREL                                                                                AUBURN HILLS   MI    48326‐3931
BRUCE F MEYER & ILDIKO MEYER JT TEN              1009 LAKEVIEW DR                                                                               WESTCHESTER    PA    19382‐8044
BRUCE F OKUN                                     13064 N 136TH PL                                                                               SCOTTSDALE     AZ    85259‐2250
BRUCE F PELACCIO                                 30 ELIZABETH ST                                                                                BETHEL         CT    06801‐2110
BRUCE F PROVIN                                   PO BOX 2456                                                                                    BERKELEY       CA    94702‐0456
BRUCE F RANDALL & MARGARET W RANDALL JT TEN      PO BOX 535                                                                                     NOVI           MI    48376‐0535

BRUCE F SIEFKEN                                  1804 EL RANCO TR                                                                               KNOXVILLE      TN    37932‐2313
BRUCE F TITUS                                    1521 ARROW LANE                                                                                FLINT          MI    48507‐1882
BRUCE FAHNESTOCK                                 20 NUTMEG LANE                                                                                 LEVITTOWN      PA    19054‐3412
BRUCE FAIRCLOTH                                  24 FOREST PINE DRIVE                                                                           STATESBORO     GA    30458‐9147
BRUCE FISCHBERG CUST DANIEL J FISCHBERG U/THE    1224 MAPUANA STREET                                                                            KAILUA         HI    96734‐3745
MASS U‐G‐M‐A
BRUCE FLETCHER                                   SHORE RD BOX 1135                                                                              SAG HARBOR     NY    11963‐0035
BRUCE FLETCHER GAMBLE                            229 WAY AVE                                                                                    KIRKWOOD       MO    63122‐3918
BRUCE FRAESNER                                   5431 N 36TH COURT                                                                              HOLLYWOOD      FL    33021‐2327
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 513 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

BRUCE FRANKEL CUST JAY AARON FRANKEL UTMA IL     1106 GALWAY CT                                                                                  NORTHBROOK       IL    60062‐4325

BRUCE FREEDMAN                                   BOX 1304                                                                                        RICHLANDS        VA    24641
BRUCE FREEDMAN                                   PO BOX 1304                                                                                     RICHLANDS        VA    24641‐1304
BRUCE FREEDMAN CUST JENNIFER CALLIE FREEDMAN     303 E FINCASTLE ST                                                                              TAZEWELL         VA    24651‐1327
UGMA VA
BRUCE FREEDMAN CUST MATTHEW CHASE FREEDMAN       303 E FINCASTLE ST                                                                              TAZEWELL         VA    24651‐1327
UGMA VA
BRUCE G ANDREWS                                  2805 GRAY CI                                                                                    COLUMBIA        TN     38401‐5196
BRUCE G ATWOOD                                   155 PLYMPTON ST                                                                                 MIDDLEBORO      MA     02346‐2611
BRUCE G BERANT                                   PO BOX 846                                                                                      GRAND HAVEN     MI     49417‐0846
BRUCE G BRUNGARD                                 2253 INNWOOD DRIVE                                                                              YOUNGSTOWN      OH     44515‐5149
BRUCE G BURLEY                                   709 MOSE WARE RD                                                                                OZARK           AL     36360‐8454
BRUCE G CAMPANELLA                               12869 E OREGON DR                                                                               AURORA          CO     80012‐5363
BRUCE G CONN                                     39174 DEVONSHIRE COURT                                                                          HARRISON        MI     48045
                                                                                                                                                 TOWNSHIP
BRUCE G DIFFIN                                   13885 LINCOLN RD                                                                                MONTROSE        MI     48457‐9342
BRUCE G DUFF                                     11625 GATES RD                                                                                  MULLIKEN        MI     48861‐9623
BRUCE G ERDMANN & CAROL D ERDMANN JT TEN         W 163 N 7787 TAMARACK TRAIL                                                                     MENOMONEE FALLS WI     53051‐7420

BRUCE G GILL                                     2532 S FREEDOM AVE                                                                              ALLIANCE         OH    44601
BRUCE G HANSEN                                   6475 BENTON RD                                                                                  CHARLOTTE        MI    48813‐8616
BRUCE G HERSCHLEB                                3176 JEFFERSON ST                                                                               GOBLES           MI    49055‐1118
BRUCE G HOLDEN                                   5514 JEROME LANE                                                                                GRAND BLANC      MI    48439‐5114
BRUCE G HOLDEN & DIANE L HOLDEN JT TEN           5514 JEROME LANE                                                                                GRAND BLANC      MI    48439‐5114
BRUCE G ISAACSON & MILLICENT E ISAACSON JT TEN   1224 BLACKTHORN PL                                                                              DEERFIELD        IL    60015‐3104

BRUCE G KOPLEN                                   10915 GOODALL RD                       APT 89                                                   DURAND            MI   48429‐9775
BRUCE G MCCUTCHEON                               163 S MAIN ST                                                                                   SAINT GEORGE      UT   84770‐3417
BRUCE G NURENBERG                                3338 DIVINE HIGHWAY                                                                             PEWAMO            MI   48873‐9763
BRUCE G PIERCE & GAIL PIERCE JT TEN              87 1ST ST                                                                                       OXFORD            MI   48371‐4602
BRUCE G POWELL                                   124 5TH ST                                                                                      CRESSKILL         NJ   07626‐2002
BRUCE G STONE                                    119 JUNIPER ST                                                                                  BURLINGTON        NJ   08016‐1403
BRUCE G TURNAGE                                  2541 ATHENA DR                                                                                  TROY              MI   48083‐2410
BRUCE G WALZER                                   118 WELLINGTON DR                      PO BOX 2231                                              MIDDLESBORO       KY   40965‐4231
BRUCE GEERNAERT                                  605 PALOS VERDES DR W                                                                           PALOS VERDES ESTS CA   90274‐1215

BRUCE GERALD WOLDMAN                        2048 WATKINS WAY                                                                                     MOUNT AIRY       MD    21771‐3744
BRUCE GEZON                                 3309 HERMAR CT                                                                                       MURRYSVILLE      PA    15668‐1602
BRUCE GOLDMAN                               1540 GRANT ROAD                                                                                      NORTHBROOK       IL    60062‐4719
BRUCE GORDON EDSALL JR                      57 DAVIS RD                                                                                          FRANKLIN         NJ    07416‐1106
BRUCE GORDON LEWIS JR                       117 FULLER ST                                                                                        WHITEVILLE       NC    28472‐2713
BRUCE GRUNDY                                314 WILLOWBEND RD                                                                                    PEACHTREE CITY   GA    30269‐1600
BRUCE H ALDERINK                            PO BOX 202                                                                                           CLARKSVILLE      MI    48815‐0202
BRUCE H AMSTUTZ & JEANETTE E AMSTUTZ JT TEN 4008 HAMLIN RD                                                                                       MCHENRY          IL    60050‐1062
BRUCE H BODEIS                              5749 LEIX RD                                                                                         MAYVILLE         MI    48744‐9639
BRUCE H BOWDEN                              2302 SECOND STREET                                                                                   TUCKER           GA    30084‐4453
BRUCE H BOYD                                1980 W LEONARD                                                                                       LEONARD          MI    48367‐1636
BRUCE H BOYLE                               4026 SCHOOL CIRCLE                                                                                   LA BELLE         FL    33935‐5502
BRUCE H CUMMINGS                            4012 LORD LYON DR                                                                                    GIBSONIA         PA    15044‐9722
BRUCE H DAWSON                              6662 SCHOONER BAY CIRCLE                                                                             SARASOTA         FL    34231‐8854
BRUCE H EDLER                               8479 ATWOOD ST                              PO BOX 199                                               MILLINGTON       MI    48746‐0199
BRUCE H EMERY                               PO BOX 102                                                                                           GRAY             ME    04039‐0102
BRUCE H GOLDSTONE CUST MANDY GOLDSTONE UGMA 29 HUDSON WATCH                                                                                      OSSINING         NY    10562‐2441
NY
BRUCE H HILTZ                               6400 46TH AVE N                             APT 36                                                   KENNETH CITY     FL    33709‐3153
BRUCE H KEEL                                2047 AMSTERDAM RD                                                                                    LUDLOW           KY    41017‐5313
BRUCE H KLEMESRUD & LYNN H KLEMESRUD JT TEN 1936 HYTHE ROAD                                                                                      COLUMBUS         OH    43220‐4815
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 514 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

BRUCE H MC CLOY                                  1518 DORRELL TERRACE                                                                            MIDLOTHIAN       VA    23113‐4558
BRUCE H MC GINNIS & MISS KRISTINE A MC GINNIS JT PO BOX 13601                                                                                    TUCSON           AZ    85732‐3601
TEN
BRUCE H MC GINNIS & MISS MARY K MC GINNIS JT TEN 6845 EAST CALLE CERCA                  TUCZON                                                   TUCSON           AZ    85715

BRUCE H MC GINNIS & MISS SUSAN M MC GINNIS JT TEN 30826 RIVER BEND DR                                                                            WATERFORD        WI    53185‐3384

BRUCE H MEDNICK                                  198 HEYWOOD CT                                                                                  MATAWAN          NJ    07747‐3570
BRUCE H METZGER CUST JAMES D METZGER UTMA IN     141 SYLVAN GLEN                                                                                 SOUTH BEND       IN    46615‐3114

BRUCE H NEVEL                                    9366 KIRK RD                                                                                    NORTH JACKSON    OH    44451
BRUCE H REED                                     BOX 34                                                                                          OAKWOOD          GA    30566‐0001
BRUCE H ROBERSON & MARY A ROBERSON JT TEN        10702 CARROLLAKE DR                                                                             TAMPA            FL    33618‐4004
BRUCE H ROBERSON & MARY A ROBERSON TEN ENT       10702 CARROLLAKE DRIVE                                                                          TAMPA            FL    33618‐4004

BRUCE H THOMAS                                   918 CUYAMA RD                                                                                   OJAI             CA    93023‐2420
BRUCE H THOMS                                    24 DUFFIELD DR                                                                                  TRENTON          NJ    08628‐2008
BRUCE H WILLIAMS                                 6448 KELLY RD                                                                                   FLUSHING         MI    48433‐9056
BRUCE H WILLSON                                  66340 16TH AVE                                                                                  SOUTH HAVEN      MI    49090‐8705
BRUCE H YOUNG & JUDY M YOUNG JT TEN              1880 WOODLAND BLVD                                                                              OWOSSO           MI    48867‐8902
BRUCE HALL JENNINGS                              635 EUCLID AVE                                                                                  BERKELEY         CA    94708‐1331
BRUCE HAMLIN & PAT HAMLIN JT TEN                 2420 NANTUCKET FIELD WAY                                                                        SUN CITY CTR     FL    33573‐7116
BRUCE HANY CUST AMBER L HANY UTMA IL             1 DORCHESTER CT                                                                                 BLOOMINGTON      IL    61704‐8230
BRUCE HANY CUST BRITTANY C HANY UTMA IL          1 DORCHESTER CT                                                                                 BLOOMINGTON      IL    61704‐8230
BRUCE HAROLD ROSSMAN                             00311 WINCHUCK RIVER RD                                                                         BROOKINGS        OR    97415‐8311
BRUCE HART                                       309 LAKESIDE DRIVE                                                                              AIKEN            SC    29803‐7506
BRUCE HERSCHENSOHN & VIOLET S LOGAN JT TEN       7135 HOLLYWOOD BLVD                                                                             LOS ANGELES      CA    90046‐3212
BRUCE HOGGAN ROGERS                              856 HILLTOP RD                                                                                  SALT LAKE CITY   UT    84103‐3325
BRUCE HONSBERGER                                 8405 BURDICK ROAD                                                                               AKRON            NY    14001‐9731
BRUCE HOWARD FRANKEL                             700 ARDMOOR                                                                                     BLOOMFIELD TWP   MI    48301‐2416

BRUCE I FORRESTER TR HELEN B FORRESTER UA 1/19/74 11174 SNIDER RD                                                                                CINCINNATI       OH    43249‐2218

BRUCE I SMITH                                    ATTN DOLORES D SMITH                   73 LEUTY AVE         TORONTO ON        M4E 2R2 CANADA
BRUCE I SOBLE                                    30300 W 12 MILE RD                     APT 203                                                  FARMINGTN HLS    MI    48334‐3879
BRUCE J BARRISH                                  130 CHESTER AVE                                                                                 WEST BERLIN      NJ    08091‐1849
BRUCE J BAUMGARDNER                              138 MCCLUER DRIVE                      OFALLON                                                  O FALLON         MO    63368
BRUCE J BRANCH TR UA 09/24/93 BRUCE J BRANCH     150 FRONTENAC FOREST                                                                            ST LOUIS         MO    63131‐3223
TRUST
BRUCE J CARPENTER                                2899 BARCLAY MESSERLY RD                                                                        SOUTHINGTON      OH    44470‐9719
BRUCE J DAVIDSON                                 2164 RUSHMORE DR                                                                                RIVER FALLS      WI    54022‐5785
BRUCE J DOBBS                                    39967 DULUTH                                                                                    HARRISON         MI    48045‐1513
                                                                                                                                                 TOWNSHIP
BRUCE J DONNELLY                                 1203 GLENDORA RD N                                                                              KISSIMMEE        FL    34759‐3641
BRUCE J DUNLOP                                   1274 CRYSTAL POINT CIR                                                                          FENTON           MI    48430‐2054
BRUCE J FELTON                                   17190 HILTON STREET                                                                             SOUTHFIELD       MI    48075‐7015
BRUCE J FRIEDRICH & SUSAN E FRIEDRICH JT TEN     505 GARVER DRIVE                                                                                YOUNGSTOWN       OH    44512‐6515
BRUCE J GARDNER                                  3360 INEZ DR                                                                                    DURAND           MI    48429‐9742
BRUCE J GERHARDT                                 3370 ARDRETH                                                                                    WATERFORD        MI    48329‐3200
BRUCE J GIELINSKI                                47150 DENTON RD                                                                                 BELLEVILLE       MI    48111‐2263
BRUCE J HOEKSTRA                                 359 MEADOW LN                                                                                   BROOKLYN         MI    49230‐8002
BRUCE J JOHNSON                                  460 AMBERIDGE TRAIL NW                                                                          ATLANTA          GA    30328‐2861
BRUCE J KEIDEL                                   1529 WILDER RD                                                                                  AUBURN           MI    48611‐8525
BRUCE J MATUS SR                                 356 SUNFLOWER DR                                                                                EGG HBR TWP      NJ    08234
BRUCE J MCSURDY                                  120 ANTONAZZO LN                                                                                JOHNSTOWN        PA    15902‐1503
BRUCE J MOODY                                    1824 N PHILIDELPHIA AVE                                                                         SHAWNEE          OK    74804‐3865
BRUCE J NEWMAN                                   8053 NEW WOODMAN                                                                                PANORAMA CITY    CA    91402
BRUCE J NORTH                                    4350 BLACK RIVER RD                                                                             CROSWELL         MI    48422‐9470
BRUCE J PATTERSON                                11482 NORA DRIVE                                                                                FENTON           MI    48430‐8702
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 515 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

BRUCE J RENAUD & JANE W RENAUD JT TEN            1443 SEMINOLE AVE                                                                              DETROIT           MI    48214‐2708
BRUCE J SCROXTON & KAREN J SCROXTON JT TEN       3990 N CLIFFORD AVE                                                                            BEMUS POINT       NY    14712‐9614
BRUCE J SEGER                                    6800 OMEGA CT                                                                                  FREDERICKSBURG    VA    22407‐2556
BRUCE J TOBIN & ROSEMARY M TOBIN JT TEN          17378 SIERRA PL                                                                                BROOKSVILLE       FL    34614
BRUCE J WARGIN                                   4903 N 72ND ST                                                                                 MILWAUKEE         WI    53218‐3843
BRUCE J WENDELL                                  12 HUNTINGTON PL                                                                               DAYTON            OH    45420‐2923
BRUCE J WILBERDING                               3762 BOULDER                                                                                   TROY              MI    48084‐1119
BRUCE JACOBSON CUST SCOTT MARTIN JACOBSON        PO BOX 40857                                                                                   INDIANAPOLIS      IN    46240‐0857
UGMA IN
BRUCE JAGIELSKI                                  354 CASINO DR                                                                                  FARMINGDALE     NJ      07727‐3573
BRUCE JAMES RHOTON                               4235 N BANK RD                                                                                 MILLERSPORT     OH      43046
BRUCE JONES JR                                   4732 MALLOW ST                                                                                 HOUSTON         TX      77033‐4004
BRUCE K CONOVER III                              5400 DAVISON RD                                                                                CLARENCE        NY      14031‐1349
BRUCE K EDGECOMB                                 569 CLOVERDALE                                                                                 SPRINGDALE      OH      45246‐2245
BRUCE K GABLE                                    24 TAFT AV                                                                                     LEXINGTON       MA      02421‐4130
BRUCE K HOWELL                                   109 GRAYLYN CT                                                                                 ANDERSON        SC      29621‐1986
BRUCE K HOWELL & JANET P HOWELL JT TEN           109 GRAYLYN CT                                                                                 ANDERSON        SC      29621‐1986
BRUCE K KANTNER                                  2918 WOODBRIAR DR                                                                              NORMAN          OK      73071‐7048
BRUCE K LEIBEE                                   2410 CANEY ROAD                                                                                WILMINGTON      DE      19810‐3808
BRUCE K PUMMELL                                  234 JUDD RD                                                                                    MILAN           MI      48160‐9585
BRUCE K SCHROEDER                                7706 LINDEN AVE                                                                                DARIEN          IL      60561‐4531
BRUCE K SHIBUYA                                  1029 CACTUS CT                                                                                 THOUSAND OAKS   CA      91320‐5907
BRUCE KARASH                                     22453 LAKECREST                                                                                ST CLAIR SHORES MI      48081‐2457
BRUCE KAUPPILA                                   FIAT/TURIN                            PO BOX 9022                                              WARREN          MI      48090‐9022
BRUCE KIBORT                                     44 HOLDCRAFT RD                                                                                PITTSGROVE      NJ      08318‐3410
BRUCE KLANG                                      66 HUNGRY HARBOR ROAD                                                                          NORTH WOODMERE NY       11581‐2513

BRUCE KRAYNEK                                 13461 FOUR SEASONS CT                                                                             MT AINY           MD    21771
BRUCE L BELL                                  10617 CORA DR                                                                                     PORTAGE           MI    49002‐7320
BRUCE L BOOTH CUST ROBERT KLASS BOOTH UGMA DE RD 4 WARPATH RD                                                                                   WEST CHESTER      PA    19382‐9804

BRUCE L BOURGET                                  97 MASON RD                                                                                    BROOKLYN          CT    06234‐2424
BRUCE L BOURGET                                  97 MASON RD                                                                                    BROOKLYN          CT    06234‐2424
BRUCE L BOWMAN                                   3904 LOCKPORT‐OLCOTT RD               LOT 55                                                   LOCKPORT          NY    14094‐1191
BRUCE L BREEDLOVE                                PO BOX 102                                                                                     ROCKWOOD          TN    37854‐0102
BRUCE L BURDGE                                   18 CRICKET CT                                                                                  NORTH HAVEN       CT    06473‐2703
BRUCE L CAUPP                                    12171 HEMPLE R0AD                                                                              FARMERSVILLE      OH    45325‐9217
BRUCE L COLLINS JR                               241 MONTCLAIR DR                                                                               CORPUS CHRISTI    TX    78412‐2702
BRUCE L CRAIG                                    1751 TRAFALGAR SQUARE                                                                          ROCHESTER HILLS   MI    48309‐2963
BRUCE L DOKE                                     4908 W 50 SOUTH                                                                                KOKOMO            IN    46901‐9530
BRUCE L DUGAN                                    143 EDGEWATER DR                                                                               NOBLESVILLE       IN    46060‐9190
BRUCE L DUNBAR                                   451 PERALTA AVE                                                                                LONG BEACH        CA    90803‐2219
BRUCE L DURRETT & KAREN L DURRETT JT TEN         2320 SW 54TH LANE                                                                              CAPE CORAL        FL    33914‐6666
BRUCE L EBELT                                    7680 WHITE OAK RD                                                                              KERRVILLE         TX    78028
BRUCE L EBELT                                    7680 WHITE OAK RD                                                                              KERRVILLE         TX    78028
BRUCE L FAGAN                                    11500 FISHLAKE ROAD                                                                            HOLLY             MI    48442‐8530
BRUCE L FAUST                                    21 SPRUCE LN                                                                                   WEST MONROE       NY    13167‐3215
BRUCE L FISHER                                   PO BOX 367                                                                                     ANDERSON          IN    46015‐0367
BRUCE L FRAPPIER & MRS JANET M FRAPPIER JT TEN   4143 WEASEL TRAIL                                                                              LINCOLN           MI    48742‐9653

BRUCE L FRYMAN                                   35 GAINES ST                                                                                   BROOKVILLE        OH    45309‐1756
BRUCE L GREGORY                                  4763 HARVEST DR                                                                                MYRTLE BEACH      SC    29579‐1765
BRUCE L HUDDLESTON                               5781 FAIRVIEW DRIVE                                                                            FRANKLIN          OH    45005‐3048
BRUCE L JENKINS                                  2515 ROCK SPRINGS RD                                                                           BUFORD            GA    30519‐5144
BRUCE L JENNINGS                                 7044 LENNON RD                                                                                 SWARTZ CREEK      MI    48473‐9727
BRUCE L KIDDER                                   178 CANYON VIEW DR                                                                             LANSING           KS    66043‐6254
BRUCE L KING                                     3999 BALL                                                                                      CARO              MI    48723‐9672
BRUCE L KIPLINGER                                5534 N AINGER RD                                                                               CHARLOTTE         MI    48813‐8864
BRUCE L LINK CUST ROBERT O LINK UGMA MI          3410 SPRINGBROOK AVE                                                                           KALAMAZOO         MI    49004‐9660
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 516 of 850
Name                                             Address1                              Address2             Address3          Address4                 City              State Zip

BRUCE L LUFT                                     8161 VAN VLEET RD                                                                                     GAINES            MI    48436‐9789
BRUCE L MEYER                                    1245 5TH AVE E                                                                                        KALISPELL         MT    59901‐5824
BRUCE L MORT                                     46869 MARY ST                                                                                         E LIVERPOOL       OH    43920‐9765
BRUCE L ODENBACH & PATRICIA W ODENBACH JT TEN    10019 MAPLE RIDGE RD                                                                                  GARRISON          MN    56450‐9705

BRUCE L OLIVER & ROBERTA P OLIVER JT TEN         4213 OAKRIDGE DR                                                                                      MIDLAND           MI    48640‐2152
BRUCE L ORR                                      502 W 36TH STREET                                                                                     WILMINGTON        DE    19802‐2013
BRUCE L OTIS & ANNE W OTIS JT TEN                17300 FRONDELL CT                                                                                     EDEN PRAIRIE      MN    55347‐3415
BRUCE L RAYMOND                                  ATTN MARCIA K RAYMOND                 3570 HADDEN                                                     ROCHESTER         MI    48306‐1139
BRUCE L REAL & MARIJANE REAL JT TEN              1902 EKIN AVE                                                                                         NEW ALBANY        IN    47150‐1750
BRUCE L SOULE                                    3341 GALE RD                                                                                          EATON RAPIDS      MI    48827‐9633
BRUCE L STERN                                    21 EAST LAKE AVENUE                                                                                   BLACKWOOD         NJ    08012‐2968
BRUCE L ULRICH                                   210 W FAIRFIELD AVE                                                                                   LANSING           MI    48906‐3116
BRUCE L VAN BUSKIRK                              1901 NORTH E ST                                                                                       ELWOOD            IN    46036‐1334
BRUCE L WALKER                                   1518 SAGO PALM DR                                                                                     HARLINGEN         TX    78552‐2063
BRUCE L WEAVER                                   11647 NORTH U S 27                                                                                    DE WITT           MI    48820‐9730
BRUCE L WHITCOMB & DEBORAH L WHITCOMB JT TEN     21365 IVERSON AVE NORTH                                                                               FOREST LAKE       MN    55025‐9557

BRUCE LEE CUST MICHAEL HONAKER UTMA CA           6648 LOGAN AVE                                                                                        FONTANA           CA    92336‐4126
BRUCE LEE STURM TR BRUCE LEE STURM TRUST UA      300 JUNIPER PKWY                                                                                      LIBERTYVILLE      IL    60048‐3527
01/10/05
BRUCE LEHMAN CUST JAMES LEHMAN UGMA CT           5 EASTLAND RD                                                                                         HAMDEN            CT    06517‐1604
BRUCE LEHMAN CUST MICHAEL LEHMAN UGMA CT         56 MAIN ST APT 302                                                                                    NORTHAMPTON       MA    01060‐3129

BRUCE LEVINE                                     647 CHELTEN HILLS DR                                                                                  ELRINS PARK       PA    19027‐1319
BRUCE LINHART                                    89 BEATRICE AVE                                                                                       WEST ISLIP        NY    11795‐1504
BRUCE LINN                                       39460 N PARK AVE                                                                                      LAKE VILLA        IL    60046‐9767
BRUCE LIPPART                                    1059 HWY M                                                                                            ADAMS             WI    53910
BRUCE LYONS                                      175 WALLINGFORD CRESENT               WINNIPEG MB                            R3P 1K9 CANADA
BRUCE M ACKERMAN                                 10383 W DODGE RD                                                                                      MONTROSE          MI    48457‐9121
BRUCE M ALGER                                    14340 SEYMOUR ROAD                                                                                    LINDEN            MI    48451‐9744
BRUCE M BARLOW & GLENDA L BARLOW JT TEN          7071 S LINDEN ROAD                                                                                    SWARTZ CREEK      MI    48473‐9432
BRUCE M BARNES & MRS JOSEPHINE R BARNES JT TEN   17 LATIUM DR                                                                                          PITTSFORD         NY    14534‐1649

BRUCE M CAMERON                                11440 BAY OF FIRTH                                                                                      FENTON            MI    48430‐8743
BRUCE M CORSTANGE                              9050 CROOKED CROW DR NE                                                                                 ADA               MI    49301‐9719
BRUCE M CRAWFORD                               2081 KANSAS AVE NE                                                                                      ST PETERSBURG     FL    33703‐3431
BRUCE M CREIGHTON & MRS DEBORAH J CREIGHTON JT 7 COUNTRY DOWNS CIRCLE                                                                                  FAIRPORT          NY    14450‐9116
TEN
BRUCE M CZAPLICKI                              1704 SNYDER ROAD                                                                                        WILLARD           OH    44890‐9030
BRUCE M HAFFNER                                15527 LEXINGTON SALEM RD                                                                                WEST ALEXANDRIA   OH    45381‐9603

BRUCE M HEFNER                                   11856 MEADOWBROOK LN                                                                                  HARTLAND          MI    48353‐2021
BRUCE M ITO TR UW HELEN K ITO REVOCABLE TRUST    350 PAHOA AVE                                                                                         HONOLULU          HI    96816

BRUCE M LONG                                     2375 SUMMERFORD RD                                                                                    SOUTH             OH    45368‐9314
                                                                                                                                                       CHARLESTON
BRUCE M MADREN                                 2620 W 750 N                                                                                            WEST LAFAYETTE    IN    47906‐9643
BRUCE M MURPHY TR BRUCE M MURPHY TRUST UA      PO BOX 181                              238 CHASE ST                                                    N DIGHTON         MA    02764‐1334
02/14/95
BRUCE M PELVAS                                 15938 ROSE LANE                                                                                         WOLVERINE         MI    49799‐9501
BRUCE M PORTER & CHRISTY DEE PORTER JT TEN     6094 S KRAMERIA ST                                                                                      ENGLEWOOD         CO    80111‐4274
BRUCE M RUPNOW                                 5566 N SABLE DR                                                                                         MILTON            WI    53563‐8812
BRUCE M SCHAFER                                330 SOUTH ST                                                                                            CADILLAC          MI    49601‐2458
BRUCE M SCHMUL & AVIS T SCHMUL TR SCHMUL TRUST 1420 SANTO DOMINGO AV                                                                                   DUARTE            CA    91010‐2632
UA 06/26/96
BRUCE M SUBLER                                 256 E STAR RD                                                                                           ROSSBURG          OH    45362‐9798
BRUCE M THOMAS                                 8871 LATHAM COURT                                                                                       REYNOLDSBURG      OH    43068‐6704
BRUCE M WARMAN                                 16 PARK RD                              HAMPTON HILL         MIDDA             TW12 1HB GREAT BRITAIN
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 517 of 850
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

BRUCE M WHITE                                    7525 S UTICA DR #126                                                                             LITTLETON        CO    80128
BRUCE M ZAUCHA                                   7330 NORFOLK DRIVE                                                                               ONSTED           MI    49265
BRUCE M ZAUCHA CUST KRISTIN ZAUCHA UTMA MI       7330 NORFOLK DRIVE                                                                               ONSTED           MI    49265

BRUCE M ZAUCHA CUST SAMANTHA ZAUCHA UTMA MI 7330 NORFOLK DRIVE                                                                                    ONSTED           MI    49265

BRUCE MACARTHUR II                               1744 CLUB HEIGHTS LN                                                                             VISTA            CA    92081‐8720
BRUCE MARSHALL                                   3817 COLONGE CT                                                                                  INDIANAPOLIS     IN    46228‐6746
BRUCE MARSHALL SCHMUL                            1420 SANTO DOMINGO AVE                  36B                                                      DUARTE           CA    91010‐2632
BRUCE MARTIN                                     482 GRANGER DR                                                                                   BEAR             DE    19701‐2177
BRUCE MARTIN SCOTT                               20005 N 98TH LN                                                                                  PEORIA           AZ    85382‐4133
BRUCE MASON                                      PO BOX 766                                                                                       NEW SMYRNA       FL    32170‐0766
                                                                                                                                                  BEACH
BRUCE MASON COHEN                                1072 CARRARA PL                                                                                  LOS ANGELES      CA    90049‐1300
BRUCE MATHENY ADM EST STEVE E MATHENY            2918 BLANTON BRANCH RD                                                                           SYLVA            NC    28779‐9103
BRUCE MCCRARY                                    16585 NUCLEAR PLANT RD                                                                           ATHENS           AL    35611‐5920
BRUCE MCELRATH                                   8411 S WINCHESTER AVE                                                                            CHICAGO          IL    60620
BRUCE MCGONNIGAL                                 PO BOX 18423                                                                                     TAMPA            FL    33679‐8423
BRUCE MEYER CARPMAN                              818 MAGNOLIA AVE                                                                                 ROYAL OAK        MI    48073‐5301
BRUCE MICHAEL ECKARD & MARILYN F ECKARD JT TEN   17863 MIRASOL DR                                                                                 SAN DIEGO        CA    92128‐1218

BRUCE MILAVEC                                    165 CLOVER HILL RD                                                                               ONEONTA          NY    13820‐3125
BRUCE N BROWN                                    311 E MAIN ST                                                                                    THORNTOWN        IN    46071‐1125
BRUCE N EBERLIN & CHARLES F KELLEY JT TEN        707 SOUTH GULFSTREAM AVE                UNIT # 804                                               SARASOTA         FL    34236‐7702
BRUCE N FLORENCE TR UA 02/11/93 BRUCE N FLORENCE 14629 N WINSTON LANE                                                                             FOUNTAIN HILLS   AZ    85268‐2338
FAMILY TRUST
BRUCE N KIRSTEN                                  20850 22 MILE ROAD                                                                               MT CLEMENS      MI     48044‐1801
BRUCE N MAC CONNELL                              1022 ATTWOOD DR                                                                                  LANSING         MI     48911‐4825
BRUCE N PFEIFFER                                 15408 WEST 79TH ST                                                                               LENEXA          KS     66219‐1578
BRUCE NEAL PHELPS                                BOX 271                                                                                          RUSSELL SPRINGS KY     42642‐0271
BRUCE NORMAN BARTH                               1079 BALLARD AVE                        UNIT B                                                   SILT            CO     81652‐8512
BRUCE O BALLARD                                  1208 EVERGREEN AVE                                                                               NAPERVILLE      IL     60540‐5110
BRUCE O BOYD                                     22742 SPRING HAVEN DR                                                                            CENTREVILLE     MI     49032‐9799
BRUCE O DELAND                                   10564 SHAYTOWN RD                                                                                MULLIKEN        MI     48861‐9733
BRUCE O GWYN                                     379 MARSH RD                                                                                     LAWRENCEVILLE   PA     16929‐8473
BRUCE O SHORT                                    6919 APPLETON CT                                                                                 MENTOR          OH     44060‐8404
BRUCE OSENBERG                                   5378 N BUCKHORN DR                                                                               TUCSON          AZ     85750‐9600
BRUCE OVIND                                      RT 1 BOX 17                                                                                      EMERADO         ND     58228‐9603
BRUCE OWEN BRADY                                 1706 HARRISON ST                                                                                 SANTA CLARA     CA     95050‐4656
BRUCE P ANDERMAN                                 746 CAMPBELL ST                                                                                  FLINT           MI     48507‐2423
BRUCE P ASMAN                                    356 N BYRON RD                                                                                   LENNON          MI     48449‐9614
BRUCE P BANNERMAN                                PO BOX 257                                                                                       CULLODEN        WV     25510‐0257
BRUCE P BRISTOL                                  1605 OAK OPENINGS RD                                                                             AVON            NY     14414‐9515
BRUCE P BRISTOL & ANNE W BRISTOL JT TEN          1605 OAK OPENINGS                                                                                AVON            NY     14414‐9515
BRUCE P CHEVALIER & ERIKA CHEVALIER JT TEN       92 HIGHGATE RD                                                                                   MARLBORO        MA     01752‐1659
BRUCE P HASLEHURST                               26 POWERS LN                                                                                     ATTLEBORO       MA     02703‐1071
BRUCE P KUBERNUK                                 135 WINDNG WAY                                                                                   MORRISVILLE     PA     19067‐4852
BRUCE P LANGFORD                                 1710 BALTIMORE PIKE                                                                              OXFORD          PA     19363
BRUCE P MILLER & KATHERINE S MILLER JT TEN       9695 RIVERSIDE DR                                                                                GRAND LEDGE     MI     48837‐9298
BRUCE P PIROTTE                                  1318 VALLEY OAK WAY                                                                              BEL AIR         MD     21014‐1863
BRUCE P SAUTKULIS                                20 ORCHARD ST                                                                                    PORT WASHINGTON NY     11050‐2464

BRUCE P WADLIN                                   601 32ND ST W                                                                                    BRADENTON        FL    34205‐3329
BRUCE P WALKER                                   35960 ANN ARBOR TRL                                                                              LIVONIA          MI    48150‐3558
BRUCE P WYSE                                     1 WHIPPANY RD                                                                                    MORRISTOWN       NJ    07960‐4634
BRUCE PAPP & TRACY PAPP JT TEN                   16543 ARMINTA STREET                                                                             VAN NUYS         CA    91406
BRUCE PASTERNAK                                  24588 INDIAN HILL LANE                                                                           WEST HILLS       CA    91307‐3841
BRUCE PAULONE & A BRUCE PAULONE JT TEN           404 HENRY ST                                                                                     JEANNETTE        PA    15644‐2532
BRUCE PEATTIE & JANE PEATTIE JT TEN              5980 6TH AVE S                                                                                   ST PETERSBURG    FL    33707‐1624
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 518 of 850
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

BRUCE PIELET                                      1980 BERTRAM                                                                                  HIGHLAND PARK   IL    60035‐4300
BRUCE PIERCE HALSTED                              5163 DORWIN PL                                                                                ORLANDO         FL    32814‐6723
BRUCE PINSOF CUST JAKE PINSOF UTMA IL             290 LAUREL AVE                                                                                HIGHLAND PARK   IL    60035‐2620
BRUCE PORTELA                                     5056 TIMBER RIDGE TRL                                                                         CLARKSTON       MI    48346‐3864
BRUCE PORTER                                      710 2ND AVE                                                                                   BRUNSWICK       MD    21716‐1435
BRUCE POTES & BARBARA L POTES JT TEN              6604 LAKEVIEW BLVD                                                                            SAINT HELEN     MI    48656‐9552
BRUCE R ALLARD                                    217 N HAZELTON                                                                                FLUSHING        MI    48433‐1632
BRUCE R ARMSTRONG                                 7200 KALKASKA DR                                                                              DAVISON         MI    48423‐2386
BRUCE R BEHNCKE & PATRICIA A BEHNCKE JT TEN       5245 W BROWN PL                                                                               DENVER          CO    80227‐4137
BRUCE R BLUE                                      301 GREENACRES BLVD                                                                           BOSSIER CITY    LA    71111‐6013
BRUCE R BOGART                                    656 W WRIGHTWOOD AVE                 APT 408                                                  CHICAGO         IL    60614‐2563
BRUCE R BOYD                                      18223 RIVER OAKS DR                                                                           JUPITER         FL    33458‐3330
BRUCE R BURROW                                    21913 O'CONNELL ROAD                                                                          MARENGO         IL    60152‐2926
BRUCE R CARPENTER                                 1500 S COCHRAN AVE                                                                            CHARLOTTE       MI    48813‐9702
BRUCE R CHANNELL                                  21 PARK AVE                                                                                   NATICK          MA    01760‐2704
BRUCE R DE WOLF                                   3509 83RD AVENUE N                                                                            BROOKLYN PARK   MN    55443‐2705
BRUCE R DELBECQ                                   3841 OLD CREEK ROAD                                                                           TROY            MI    48084‐1659
BRUCE R DOUGLAS & MARLENE F DOUGLAS JT TEN        1717 MARTHA LN                                                                                MT PROSPECT     IL    60056‐3540

BRUCE R DROSTE                                    459 S MAIN ST                                                                                 FOWLER          MI    48835‐9780
BRUCE R GAMIERE & VIVIAN LEIGH GAMIERE JT TEN     409 NICHOLAS STREET                                                                           DEFIANCE        OH    43512‐1543

BRUCE R GEMPP                                     104 GINGER ST                                                                                 WARWICK         RI    02886‐8505
BRUCE R GOFF                                      268 DUNCAN STREET                                                                             MONTICELLO      KY    42633‐1927
BRUCE R GRENDELL                                  1981 VERMEL AVE                                                                               ESCONDIDO       CA    92029
BRUCE R HARTNEY & DENISE M HARTNEY JT TEN         635 N HARVEY AVENUE                                                                           OAK PARK        IL    60302‐1739
BRUCE R HARVEY                                    2 PAPER MILL RD                                                                               KILLINGWORTH    CT    06419‐1349
BRUCE R HEMINGWAY                                 5490 MILLINGTON RD                                                                            MILLINGTON      MI    48746‐8700
BRUCE R HENNI                                     1336 PAGEL AVE                                                                                LINCOLN PARK    MI    48146‐3361
BRUCE R HENRY                                     988 PRENTICE RD N W                                                                           WARREN          OH    44481‐9414
BRUCE R HERR                                      785 COUNTY LINE RD                                                                            MONUMENT        CO    80132‐8082
BRUCE R HOGG JR & CLAIRE F HOGG JT TEN            30314 BLOSSOM RD                                                                              ROSEVILLE       MI    48066‐4042
BRUCE R HOPKINS CUST GRANT LESLIE HOPKINS II UGMA 4353 WEST CHERRY PLACE                                                                        MEMPHIS         TN    38117‐3520
TN
BRUCE R KIME                                      414 WESTLANE                                                                                  MARION          MI    49665‐9707
BRUCE R KNIGHT                                    9380 N LEWIS RD                                                                               CLIO            MI    48420‐9780
BRUCE R LEPPIEN                                   1200 EARHART RD                      # 253                                                    ANN ARBOR       MI    48105‐2768
BRUCE R LOWSTUTER                                 3605 ALBION RD                                                                                CONCORD         MI    49237‐9501
BRUCE R MC HENRY                                  1385 BRIDLEBROOK DRIVE                                                                        CASSELBERRY     FL    32707‐5857
BRUCE R MCQUEEN                                   382 CENTRAL PARK W                   APT 16U                                                  NEW YORK        NY    10025‐6035
BRUCE R PEACE                                     50 BATTLE GREEN DRIVE                                                                         ROCHESTER       NY    14624‐4952
BRUCE R PEASE                                     2781 PARKER RD                                                                                PALMYRA         NY    14522‐9316
BRUCE R PFAFF                                     5160 DELIVERANCE AVE                                                                          MARION          NY    14505‐9543
BRUCE R PRATT TR BRUCE R PRATT TRUST UA 12/27/95 375 ELM                                                                                        GLEN ELLYN      IL    60137‐3803

BRUCE R PRICE                                     836 HOOK ST                                                                                   CLERMONT        FL    34711‐3504
BRUCE R RALEY                                     6515 S 250TH E AVE                                                                            BROKEN ARROW    OK    74014‐2242
BRUCE R ROSATO                                    238 MARLETTE DR                                                                               FARMINGTON      NY    14425‐9584
BRUCE R SAVAGE & RANZIE G SAVAGE JT TEN           143 HARDY RD                                                                                  RINCON          GA    31326‐9736
BRUCE R SIMMONS                                   STAR RT 1 BOX 86                                                                              GREENVILLE      MO    63944‐9509
BRUCE R SIMPSON                                   13129 WHITE LAKE RD                                                                           FENTON          MI    48430‐8421
BRUCE R SPURWAY                                   24‐1845 LYSANDER CRES SE             CALGARY AB                             T2C 1X9 CANADA
BRUCE R TALLEY                                    2501 N WILDER ROAD                                                                            CHATTANOOGA     TN    37406‐1122
BRUCE R TREWARTHA                                 11519 WILLOW RIDGE DR                                                                         ZIONSVILLE      IN    46077‐7824
BRUCE R WAGNER                                    20917 RIVERBEND DR SOUTH                                                                      CLINTON TWP     MI    48038
BRUCE R WILSON                                    412 DONNELLY ST                                                                               MOUNTAIN CITY   TN    37683‐1512
BRUCE R WILSON                                    PO BOX 1622                                                                                   WARREN          OH    44483‐5041
BRUCE R WOODRUFF                                  7208 RICHARDSON RD                                                                            HOWELL          MI    48843‐9444
BRUCE R YATES                                     2862 GENES                                                                                    AUBURN HILLS    MI    48326‐2106
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 519 of 850
Name                                             Address1                               Address2             Address3          Address4           City            State Zip

BRUCE REARDON HOWARD KURKAMP                     810 MANOR COURT                                                                                  JOLIET          IL    60436‐1508
BRUCE ROBERT COLLINS                             767 SOREL DR                                                                                     CANTON          MI    48188
BRUCE RODNEY CARLSON                             12197 E POTTER ROAD                                                                              DAVISON         MI    48423‐8147
BRUCE ROGER SALZER                               8333 SEMINOLE BLVD APT 241                                                                       SEMINOLE        FL    33772
BRUCE RUMAGE                                     6201 FREDERICA RD                                                                                ST SIMONS IS    GA    31522‐9719
BRUCE S BATIE                                    14631 EVANSTON                                                                                   DETROIT         MI    48224‐2820
BRUCE S BEAVER                                   750 LIDO BLVD APT 42A                                                                            LIDO BEACH      NY    11561
BRUCE S BENSEN                                   1547 HOLLY STREET                                                                                WEST LINN       OR    97068‐3326
BRUCE S BENTON                                   106 NW F ST #259                                                                                 GRANTS PASS     OR    97526‐2012
BRUCE S COBBETT                                  14 RUE DU FAUBOURG POISSONNIERE        75010 PARIS                            FRANCE
BRUCE S EGGLESTON                                315 SOUTH MAIN STREET                                                                            NEW CARLISLE    OH    45344‐1929
BRUCE S ELENBOGEN                                3950 KIPLING                                                                                     ANN ARBOR       MI    48105‐2834
BRUCE S HOWARD                                   788 HERNANDO DR                                                                                  MARCO ISLAND    FL    34145‐1958
BRUCE S LEE                                      4999 MONTAUK                                                                                     COMSTOCK PARK   MI    49321‐9350
BRUCE S MARSH                                    PO BOX 265                                                                                       VENETA          OR    97487‐0265
BRUCE S SCHAEFFER                                5308 FAIRWAY DRIVE W                                                                             FAYETTEVILLE    PA    17222‐9230
BRUCE S SOSEBEE JR                               6872 GRAND RIVER RD                                                                              BANCROFT        MI    48414‐9445
BRUCE SAKAE MORI & FRANCES Y MORI TR UA 10/05/87 2386 CALLE BIENVENIDA                                                                            CHINO HILLS     CA    91709‐5091
MORI FAMILY TRUST
BRUCE SAMUELS & MRS PATRICIA SAMUELS TEN ENT     416 BLACKWATER RD                                                                                DOVER           NH    03820‐8704

BRUCE SCHERER                                    5090 SMITHS CREEK RD                                                                             KIMBALL         MI    48074‐3805
BRUCE SEDBERRY                                   114 SUNSET DR                                                                                    ANNAPOLIS       MD    21403‐4116
BRUCE SHAFFER                                    482 BUFFALO RD                                                                                   EAST AURORA     NY    14052
BRUCE SHAMBLIN                                   HC68 BOX 56A                                                                                     BIG SPRINGS     WV    26137‐9605
BRUCE SHAPIRO CUST JOSHUA S SHAPIRO UTMA IL      103 PROSPECT AVENUE                                                                              HIGHLAND PARK   IL    60035‐3328

BRUCE SIMPSON & JEANNE SIMPSON JT TEN            3911 KINGS POINTE                                                                                TROY            MI    48083‐5381
BRUCE SKORNIA                                    313 N BREAKER COVE DR                                                                            BAY CITY        MI    48708‐8811
BRUCE SMILEY                                     11 GREENBRIAR DRIVE                                                                              CHAPPAQUA       NY    10514‐3035
BRUCE SMITH                                      17917 FLEMING                                                                                    DETROIT         MI    48212‐1099
BRUCE SOPPE                                      716 OAKRIDGE DR                                                                                  ROCHESTER       NY    14617‐2003
BRUCE STERLING MUCHMORE                          35 DECKER POND RD                                                                                SUSSEX          NJ    07461‐4454
BRUCE STUART MC MILLAN C/‐NZ GURADIAN RUST CO    BOX 1934 AUKLAND                                                              1015 NEW ZEALAND
LTD
BRUCE T ALLAN                                    15224 SHIAWASSEE                                                                                 BRYON           MI    48418‐9025
BRUCE T CHAPMAN                                  18 KESTREL CT                                                                                    CHICO           CA    95928‐7368
BRUCE T CHAPMAN & CONSTANCE A CHAPMAN JT TEN     18 KESTRAL COURT                                                                                 CHICO           CA    95928‐7368

BRUCE T CROIX                                    915 PHEASANT DR                                                                                  BRADLEY         IL    60915‐1328
BRUCE T DEBRUHL                                  1960 L GABRIELS CREEK RD                                                                         MARS HILLS      NC    28754‐6197
BRUCE T DIXON & SALLY A DIXON JT TEN             3658 WHEELER ROAD                                                                                BAY CITY        MI    48706‐1729
BRUCE T JENSEN CUST BRANDON REUBEN JENSEN        2104 SCHEID ROAD                                                                                 HURON           OH    44839‐9385
UGMA MI
BRUCE T LAWSON                                   16823 STODOLA RD                                                                                 MINNETONKA      MN    55345‐5246
BRUCE T MANTZ                                    401 MIDLAND AVE                                                                                  METUCHEN        NJ    08840‐1329
BRUCE T ROSEN                                    27 EDGEWOOD DR                                                                                   OIL CITY        PA    16301‐2051
BRUCE TAIT                                       11283 WAYBURN                                                                                    DETROIT         MI    48224‐1633
BRUCE TAYLOR                                     173 COLERIDGE AVE                      TORONTO ON                             M4C 4H8 CANADA
BRUCE TAYLOR                                     3805 RIDGE RD                                                                                    CORTLAND        OH    44410‐9703
BRUCE TEVIS                                                                                                                                       HORNICK         IA    51026
BRUCE TODD SPECTOR                               150 EAST 69TH STREET APT 4P                                                                      NEW YORK CITY   NY    10021‐5704
BRUCE UMEDA & KAREN UMEDA JT TEN                 98‐695 AUPUNIMOI PL                                                                              AIEA            HI    96701‐2727
BRUCE V ALLEN                                    335 E MAGNOLIA AVE                                                                               BRIELLE         NJ    08730
BRUCE V ANDERSEN                                 38340 S ROLLING HILLS DR                                                                         TUCSON          AZ    85739‐3010
BRUCE V CHAPPELL CUST COLIN D CHAPPELL UTMA FL   PO BOX 204                                                                                       HILLSDALE       MI    49242‐0204

BRUCE V KIEFER & LINDA S KIEFER JT TEN           17 TERRIE LN                                                                                     HOLDEN          MA    01520‐1637
BRUCE V PENWELL JR                               6712 LAURDANE RD                                                                                 RALEIGH         NC    27613‐5904
                                          09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 520 of 850
Name                                          Address1                              Address2             Address3          Address4          City               State Zip

BRUCE V WILK                                  1204 GREENTREE RD                                                                              WEST BEND          WI    53090‐1785
BRUCE VANKEUREN                               653 MT CARMEL RD                                                                               PARIS              VA    20130‐3009
BRUCE W ANCA                                  6536 TELLEA ST                                                                                 DAYTON             OH    45424‐3360
BRUCE W ANGELBECK                             604 CHARLES ST                                                                                 RICHMOND           MO    64085‐2002
BRUCE W BALDWIN                               1321 NORTH 178TH ST                                                                            SEATTLE            WA    98133‐5005
BRUCE W BARNETT                               1181 W WILLIAMSON                                                                              FLINT              MI    48507‐3647
BRUCE W BASTIEN                               833 LINCOLN AVE                                                                                FLINT              MI    48507‐1753
BRUCE W BOTT                                  45516 COLUMBIANA‐WATERFORD                                                                     NEW WATERFORD      OH    44445

BRUCE W BROWN TR BRUCE & BARBARA BROWN LIVING 2649 SW DAVENPORT CT                                                                           PORTLAND           OR    97201‐2233
TRUST UA 9/29/90
BRUCE W CASHMAN CUST GRACE ELAINE CASHMAN     19 NIXON AVE                                                                                   PLYMOUTH           MA    02360‐2163
UGMA MA
BRUCE W CORDRAY                               6210 ALTER ROAD                                                                                DAYTON             OH    45424‐3546
BRUCE W CREED                                 4379 S DYE RD                                                                                  SWARTZ CREEK       MI    48473‐8226
BRUCE W CUMMINGS                              2439 39TH STREET                                                                               BEDFORD            IN    47421‐5607
BRUCE W DEBOSE                                3415 S BELSAY RD                                                                               BURTON             MI    48519‐1630
BRUCE W FAULKNER & ANGELINE L FAULKNER JT TEN 4180 BERKSHIRE                                                                                 EL PASO            TX    79902‐1734

BRUCE W FIELDS                                7 MARY ST                                                                                      CARTERSVILLE       GA    30120‐2723
BRUCE W FOUND                                 BOX 84                                                                                         HEBRON             ME    04238‐0084
BRUCE W FRANKLIN TOD NORMA JEAN FRANKLIN      C/O NORMA JEAN FRANKLIN               3357 KEYS LN                                             ANAHEIM            CA    92804‐3017
SUBJECT TO TOD STA RULES
BRUCE W GEMMILL                               204 MELLEN RD                                                                                  NEW BERN           NC    28562‐8772
BRUCE W GENTZ                                 8120 ROUGET                                                                                    PALMYRA            MI    49268‐9703
BRUCE W GIBBY                                 139 CARROLL AVE                                                                                GLENSIDE           PA    19038‐2112
BRUCE W HAMILTON                              127 WYNWARD POINTE DR                                                                          SALEM              SC    29676‐4635
BRUCE W HARRISON                              4 BLAKE FARM ROAD                                                                              DERRY              NH    03038‐4864
BRUCE W HARRISON CUST STEPHEN D HARRISON UTMA 4 BLAKE FARM RD                                                                                DERRY              NH    03038‐4864
CT
BRUCE W HEFFELBOWER                           5025 DORIAN AVE                                                                                ORLANDO            FL    32812‐1116
BRUCE W HOSTLER & VIOLA S HOSTLER TEN ENT     853 PARK ROAD                                                                                  BLANOON            PA    19510
BRUCE W HULBERT & MARGARET A HULBERT JT TEN   20868 CHANNEL COURT                                                                            POTOMAC FALLS      VA    20165‐7415

BRUCE W MACLARY                               902 W 20TH ST                                                                                  WILMINGTON         DE    19802‐3836
BRUCE W NELSON                                916 N PINE AVE                                                                                 MIDWEST CITY       OK    73130‐2920
BRUCE W RAB                                   666 WESTRIDGE RD                                                                               AKRON              OH    44333‐1568
BRUCE W REDMON                                3475 OLIVER AVE                                                                                INDIANAPOLIS       IN    46241‐1609
BRUCE W REYNOLDS                              RD #2                                                                                          PLEASANTVILLE      PA    16341‐9802
BRUCE W RITCHEY                               318 FIRTH ST                                                                                   S PLAINFIELD       NJ    07080‐3726
BRUCE W SAINSBURY & YVONNE STARR JT TEN       8137 W 45TH ST                                                                                 LYONS              IL    60534‐1807
BRUCE W SHAW                                  13017 LANSDOWNE DR                                                                             FISHERS            IN    46038‐1065
BRUCE W SIELAFF                               130 COTTAGE STREET                                                                             NEW HAVEN          CT    06511‐2406
BRUCE W SPEIRS                                502 SOMERSET ST                                                                                NORTH PLAINFIELD   NJ    07060‐4059

BRUCE W SWAIN                                 61 DRIFTWOOD DRIVE                                                                             GRAND ISLAND       NY    14072‐1812
BRUCE W SWEET & JOYCE A SWEET JT TEN          4706 PINE ST                                                                                   COLUMBIAVILLE      MI    48421‐9301
BRUCE W TANNER                                621 LAKEWAY                                                                                    EL PASO            TX    79932‐3118
BRUCE W THOMPSON                              5331 CHANDLEY FARM CIR                                                                         CENTREVILLE        VA    20120‐1238
BRUCE W TIMM & HELEN E TIMM JT TEN            N407 E 2ND AVE                                                                                 BRODHEAD           WI    53520‐1090
BRUCE W TOUGAS                                732 BROOKS RD                                                                                  W HENRIETTA        NY    14586‐9641
BRUCE W VANCE                                 2301 NW SUMMERFIELD                                                                            LEES SUMMIT        MO    64081‐1921
BRUCE W WHITE                                 1166 21ST                                                                                      WYANDOTTE          MI    48192‐3038
BRUCE WADE MC MEANS                           303 RIVER RD                                                                                   LA VERNIA          TX    78121‐5868
BRUCE WAKEFIELD JR                            9411 ROSE DALE                                                                                 ALLEN PARK         MI    48101‐1649
BRUCE WARDWELL                                13044 CHURCHILL                                                                                STERLING HEIGHTS   MI    48313‐1917

BRUCE WASHINGTON                              2165 CAMP GROUND RD                                                                            ATLANTA            GA    30331‐5043
BRUCE WAYNE BARNES                            147 CRESCENT DR                                                                                AKRON              OH    44301‐2016
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 521 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

BRUCE WAYNE CAVANAUGH                            137 FARRINGDON CIRCLE                                                                          SAVANNAH           GA    31410‐3184
BRUCE WELCH                                      4225 NEUHAUS DRIVE                                                                             MC ALLEN           TX    78503‐8218
BRUCE WHITE                                      2286 OCTAVIA CT                                                                                TRACY              CA    95377‐7922
BRUCE WILHELM                                    414 19TH ST                                                                                    MENDOTA            IL    61342‐1240
BRUCE WILLIAM KOPP                               1182 S‐ALBRIGHT‐MCKAY RD SE                                                                    HUBBARD            OH    44425‐2848
BRUCE WILLIAM WOLFF                              314 BELMONT PLACE SOUTHWEST                                                                    LEESBURG           VA    20175‐3511
BRUCE WILLIAMSON                                 6236 PARKMEADOW LN                                                                             HILLIARD           OH    43026‐7023
BRUCE WOLTMAN                                    625 WATERBURY BLVD                                                                             GAHANNA            OH    43230‐3344
BRUCE ZOBRISKY & SHERRI ZOBRISKY JT TEN          12409 LINGANORE RIDGE DR                                                                       MONROVIA           MD    21770‐9301
BRUNA A PANELLA                                  5980 AIRPORT RD                                                                                MT PLEASANT        MI    48858‐7931
BRUNA L RONGONE                                  5640 SHARON DR                                                                                 YOUNGSTOWN         OH    44512‐3722
BRUNA WATTS                                      4418 42ND ST N W                                                                               WASHINGTON         DC    20016‐2104
BRUNELLE FLOWERS                                 272 TURKEY RUN DR                                                                              BOWLING GREEN      KY    42101
BRUNHILDE N KOLM                                 1404 DOWNEY ST                                                                                 FLINT              MI    48503‐3550
BRUNHILDE THOMAS TR BRUNHILDE THOMAS             1577 PEPPERMILL RD                                                                             LAPEER             MI    48446‐3243
REVOCABLE TR UA 09/15/78
BRUNILDE EVANGELISTA                             34 HILLTOP DRIVE                                                                               PITTSFORD          NY    14534‐2246
BRUNNER F ORR                                    20200 WESTBROOK STREET                                                                         DETROIT            MI    48219‐1321
BRUNNY A GONSECKI                                213 LISTON AVE                        KIAMENSI GARDENS                                         WILMINGTON         DE    19804‐3811
BRUNNY A GONSECKI & JEFFERY G GONSECKI JT TEN    213 LISTON AVE                                                                                 WILM               DE    19804‐3811

BRUNNY A GONSECKI & MRS STELLA P GONSECKI JT TEN 213 LISTON AVE KIAMENSI               GARDENS                                                  WILMINGTON         DE    19804‐3811

BRUNNY A GONSECKI CUST GERALD GONSECKI UGMA      4 COHANSEY CIRCLE                                                                              NEWARK             DE    19702‐2701
DE
BRUNO & HELEN ZANNESE TR ZANNESE FAMILY TRUST    155 W BROWN RD                        APT 252                                                  MESA               AZ    85201
UA 09/30/98
BRUNO A DIMAMBRO                                 32616 JUDY DRIVE                                                                               WESTLAND           MI    48185‐9200
BRUNO A LITWINSKI                                621 CHEROKEE CR                                                                                AVON PARK          FL    33825‐4239
BRUNO A NIWA                                     15234 KINGSBURY ST                                                                             MISSION HILLS      CA    91345‐2028
BRUNO A PACITTO                                  16306 HOWARD DR                                                                                MACOMB             MI    48042‐5782
BRUNO A SCRUFARI III                             PO BOX 986                                                                                     LEWISTON           NY    14092‐0986
BRUNO ARENTOVWICZ                                465 DRAKESTOWN ROAD                                                                            LONG VALLEY        NJ    07853‐3292
BRUNO BERNAVA & DINO BERNAVA JT TEN              23241 WESTBURY                                                                                 ST CLAIR SHORES    MI    48080‐2536
BRUNO BUTZ & CYNTHIA S BUTZ JT TEN               8501 S TRIPP                                                                                   CHICAGO            IL    60652‐3621
BRUNO C KWASNY                                   3415 SECTION RD                                                                                CINCINNATI         OH    45237‐2415
BRUNO C WALTHER                                  71 AVALON DR                                                                                   DALY CITY          CA    94015‐4552
BRUNO CECCONI                                    BOX 805                               158 FRONT ST         S PORCUPINE ON    P0N 1H0 CANADA
BRUNO CHERUBIN                                   55 LAURIE SHEPWAY                     WILLOWDALE ON                          M2J 1X7 CANADA
BRUNO DAMIOLI & MRS MADELYN G DAMIOLI JT TEN     7247 ST AUBURN DR                                                                              BLOOMFIELD TWP     MI    48301‐3710

BRUNO E BANDOLA                                  124 FRANKS ROAD                                                                                CRYSTAL FALLS      MI    49920‐8409
BRUNO F ROBERT                                   12162 BLACKHALL DR                                                                             SAINT LOUIS        MO    63128‐1624
BRUNO FERRETTI & DAVIDICA FERRETTI JT TEN        353 OLD COUNTRY ROAD                                                                           FAIRFIELD          NJ    07004‐1319
BRUNO FRANCIS DOMZALSKI JR                       1009 AUDUBON RD                                                                                GROSSE POINTE      MI    48230‐1406
                                                                                                                                                PARK
BRUNO GEMSA                                      BARON DE HIRSCH ROAD                  PO BOX 392                                               CROMPOND           NY    10517‐0392
BRUNO GORA                                       2106 STONEHEATHER RD                                                                           RICHMOND           VA    23238‐5816
BRUNO H BLONKOWSKI & JACQUELINE V BLONKOWSKI     2022 OLD TANEYTOWN RD                                                                          WESTMINSTER        MD    21158‐3511
JT TEN
BRUNO HEMPEL & CARL ALLEN HEMPEL JT TEN          20933 MADA AVE                                                                                 SOUTHFIELD         MI    48075‐3844
BRUNO HEMPEL & CONRAD P HEMPEL JT TEN            20933 MADA AVE                                                                                 SOUTHFIELD         MI    48075‐3844
BRUNO J CHIESA & PATRICIA S CHIESA JT TEN        2 OAKWOOD CIRCLE                                                                               CAMP HILL          PA    17011‐4135
BRUNO J DROZDOWICZ & MERCEDES J DROZDOWICZ JT    38496 WESTCHESTER ROAD                                                                         STERLING HEIGHTS   MI    48310‐3478
TEN
BRUNO KIELBASA                                   864 FORBES AVE                                                                                 PERTH AMBOY        NJ    08861‐1614
BRUNO KOTOWSKI                                   112 W PRYOR ST                                                                                 ATHENS             AL    35611‐1850
BRUNO L SCOCCIA                                  67 QUEENSLAND ST                                                                               SPENCERPORT        NY    14559‐2065
BRUNO MAZUR & KAREN J KLESKO JT TEN              2323 QUEENSBERRY LANE                                                                          SHELBY TWP         MI    48316
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 522 of 850
Name                                            Address1                             Address2             Address3          Address4          City             State Zip

BRUNO MORUZZI                                   83 ABBOTT                                                                                     RIVER ROUGE      MI    48218‐1556
BRUNO MUSCALO                                   PO BOX 379                                                                                    MOORE            SC    29369‐0379
BRUNO O G SCHUELER                              1125 HEATHER LANE                                                                             LONGVIEW         TX    75604
BRUNO PAVLOVSKI                                 397 FERRELL RD                                                                                MULLICA HILL     NJ    08062‐4515
BRUNO PAVLOVSKI & JENNY A PAVLOVSKI JT TEN      397 FERRELL RD                                                                                MULLICA HILL     NJ    08062‐4515
BRUNO ROSATI                                    4307 DOVER DR                                                                                 MORRISVILLE      PA    19067‐6117
BRUNO S PALAZZO                                 287 LEE AVENUE                                                                                YONKERS          NY    10705‐2719
BRUNO SUTLEY                                    1628 CLOWER CREEK DR                 APT GR125                                                SARASOTA         FL    34231‐8955
BRUNO V GURAK                                   11624 S KOLMAR AVE                                                                            ALSIP            IL    60803‐2212
BRUNO VALENTE                                   520 PEACH TREE LANE                                                                           MILFORD          MI    48381‐2578
BRUNO VEGGIAN                                   2155 TUCKER                                                                                   TROY             MI    48098‐4076
BRUNO VINCENT GIOFFRE                           245 KING ST                          APT 2D                                                   PORT CHESTER     NY    10573‐4140
BRUNON R KEPCZYNSKI                             5420 HAVEN                                                                                    DRYDEN           MI    48428‐9326
BRUNT‐WARD CHEVROLET‐OLDS INC                   BOX 271                                                                                       LOUISVILLE       MS    39339‐0271
BRUSENHAN FAMILY PARTNERS LTD                   200 PATTERSON AVE 400                                                                         SAN ANTONIO      TX    78209‐6266
BRUSH CO                                        C/O FARMERS STATE BANK OF            BRUSH CO             BOX 324                             BRUSH            CO    80723‐0324
BRUZELL S BROOK                                 ATTN GLORIA J WIGGINS                28962 DOUG ROAD                                          ANDALUSIA        AL    36421‐5832
BRYAN A APT                                     1017 BURNETT AVE                                                                              AMES             IA    50010‐5763
BRYAN A ATKINSON                                13115 JOBIN                                                                                   SOUTHGATE        MI    48195‐1157
BRYAN A HARTON                                  3782 ASH RD                                                                                   HARRISON         MI    48625‐9722
BRYAN A ORR                                     1692 WHITE ASH DR                                                                             CARMEL           IN    46033‐9737
BRYAN A PIANE                                   703 W 22ND ST                                                                                 WILMINGTON       DE    19802‐3928
BRYAN A SCHWARTZ                                18623 TWIGSWORTH LANE                                                                         HUMBLE           TX    77346‐2656
BRYAN BALDWIN                                   3520 BRANCH MILL RD                                                                           BIRMINGHAM       AL    35223‐1608
BRYAN BALOY & JENNIFER S BALOY JT TEN           3105 VANDERPOOL CT                                                                            VIRGINIA BEACH   VA    23456‐5546
BRYAN BLANKENSHIP                               C/O BANK OF WESTERN INDIANA          PO BOX 208                                               COVINGTON        IN    47932‐0208
BRYAN C CRAVEN                                  4320 WOODBRIAR DR                                                                             MARIANNA         FL    32446‐1605
BRYAN C WEST III                                22126 JOHNSON LN                                                                              CARROLLTON       VA    23314‐3913
BRYAN CARL SWILER                               305 NORTH MILL ST PO #147                                                                     MARION           MI    49665‐0147
BRYAN CLEMENTS                                  17301 SUNSET MAPLE LN                APT 1712                                                 WESTFIELD        IN    46074‐5068
BRYAN CLINGER                                   2143 WHITE OWL WAY                                                                            OKEMOS           MI    48864‐5206
BRYAN D BECKER                                  80 W QUASSET RD                                                                               WOODSTOCK        CT    06281‐3219
BRYAN D BERTHOT                                 4871 MT ALMAGOSA DR                                                                           SAN DIEGO        CA    92111‐3829
BRYAN D CASTLEBERRY                             2702 N CONNECTICUT AVE                                                                        ROYAL OAK        MI    48073‐4288
BRYAN D CRICK                                   12405 POPLAR VIEW DR                                                                          BOWIE            MD    20720‐3304
BRYAN D GOULD & KAREN E SAUER JT TEN            2310 LITTLELEAF LN                                                                            COLUMBUS         OH    43235‐4231
BRYAN D KELLEY CUST CASSIDY KELLEY UTMA TX      1814 FOREST GATE CIRCLE                                                                       SUGAR LAND       TX    77479‐6182
BRYAN D KENNEDY                                 4019 PRIMAVERA RD UNIT B                                                                      SANTA BARBARA    CA    93110‐1493
BRYAN D RICH                                    3684 E SPRINGFIELD AVE                                                                        FRESNO           CA    93725
BRYAN D RILEY                                   3203 TURNBERRY                                                                                JANESVILLE       WI    53545‐9233
BRYAN DAVIDSON                                  4301 N JENNINGS RD                                                                            FLINT            MI    48504‐1311
BRYAN DIEM                                      14030 KINGSTON                                                                                OAK PARK         MI    48237‐1140
BRYAN E BABCOCK CUST BRYAN C BABCOCK UGMA MA    47 WASHINGTON ST                                                                              NEWPORT          RI    02840‐1526

BRYAN E BISHOP                                   11735 SCHAVEY RD                                                                             DEWITT           MI    48820‐8721
BRYAN E BROCK                                    341 CAMINO SANTA CRUZ                                                                        ESPANOLA         NM    87532
BRYAN E COMBS                                    17 SOUTH RIDGE PLACE                                                                         ARDEN            NC    28704
BRYAN E EWALD                                    35961 PERTH                                                                                  LIVONIA          MI    48154‐5259
BRYAN E MONROE                                   2801 WASHINGTON ST                                                                           MIDLAND          MI    48642‐4614
BRYAN E NESBITT                                  6940 OAKHURST RIDGE RD                                                                       CLARKSTON        MI    48348
BRYAN EDWARD JOHNSON                             2205 BROWN ST                                                                                FLINT            MI    48503‐3378
BRYAN F DAVIS                                    715 S WASHINGTON ST                                                                          KOKOMO           IN    46901‐5309
BRYAN F MANSFIELD & STEPHANIE M MANSFIELD JT TEN 36 KATIE DRIVE                                                                               RAYNHAM          MA    02767

BRYAN F OWENS                                   5480 HAM RICHMOND RD                                                                          HAMILTON         OH    45013
BRYAN F VAN DUBE                                7500 LONGACRE ST                                                                              DETROIT          MI    48228‐3539
BRYAN FLORES                                    15865 MCQUEEN ST                                                                              SYLMAR           CA    91342‐1151
BRYAN FUNK & JOSEPH M FUNK JT TEN               2 GREENWOOD PL                                                                                INDIAN HEAD      MD    20640
BRYAN G JOHNS                                   8281 WOODCREST DR 2                                                                           WESTLAND         MI    48185‐1238
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 523 of 850
Name                                           Address1                              Address2             Address3          Address4          City            State Zip

BRYAN H BAKER JR                               1725 LYNBROOK                                                                                  FLINT           MI    48507‐2229
BRYAN H BURKE                                  3261 TURQUOIS WAY                                                                              NORMAL          IL    61761‐9385
BRYAN HEMMELGARN                               6417 MATCUMBE WAY                                                                              PLAINFIELD      IN    46168
BRYAN HOLLEY                                   6005 ELEOS CIR                                                                                 AUSTIN          TX    78735
BRYAN HOWARD BAUGHMAN                          2630 SHADY ACRES CT                                                                            HOUSTON         TX    77008‐1774
BRYAN I PUKOFF                                 1829 WILLOWICKE DR                                                                             WIXOM           MI    48393
BRYAN ISAY                                     5795 CLEARWATER DR                                                                             MASON           OH    45040
BRYAN J BOLDEN                                 2424 N BRITT RD                                                                                JANESVILLE      WI    53548
BRYAN J ENGLISH                                12035 LEWIS AVE                                                                                TEMPERANCE      MI    48182‐9651
BRYAN J HARRIS                                 48611 CHAURMONT COURT                                                                          SHELBY TWP      MI    48315
BRYAN J JUDGE                                  3191 CRIMSON CT                                                                                ANN ARBOR       MI    48108‐9123
BRYAN J SMITH                                  89 NEPONSET ST                                                                                 NORWOOD         MA    02062‐1563
BRYAN J TAYLOR                                 18265 SHARON RD                                                                                OAKLEY          MI    48649‐8708
BRYAN JAMES MAAT & ALISON JOY MAAT JT TEN      8766 SUNBURST LN                                                                               ZEELAND         MI    49464‐8305
BRYAN JAY DOUGLASS                             13927 W MAIN ST                                                                                DALEVILLE       IN    47334‐9757
BRYAN K BASTIN                                 1598 FRONTAGE RD                                                                               PITTSBORO       IN    46167‐9771
BRYAN K BLOCK & JANE E BLOCK JT TEN            S66W25230 SKYLINE AVE                                                                          WAUKESHA        WI    53189
BRYAN K BOYD                                   105 AUSTIN ST                                                                                  BRISTOL         TN    37620‐6201
BRYAN K BURR & DORIS J ANDERSON JT TEN         14192 SW 112TH CR                                                                              DUNNELLON       FL    34432‐8777
BRYAN K HARRIS                                 82 AMHERST RD                                                                                  PLEASANT RDG    MI    48069‐1206
BRYAN K PENICK                                 2021 STAYMAN DR                                                                                DAYTON          OH    45440‐1632
BRYAN K POLIHONKI                              5285 HOUSTON RD                                                                                EATON RAPIDS    MI    48827‐8538
BRYAN K SPURLIN                                2400 BLUFF CITY RD                                                                             SUMMERVILLE     AL    35670‐3108
BRYAN K WALKER                                 24565 LOIS LN                                                                                  SOUTHFIELD      MI    48075‐1044
BRYAN K WIGGINS                                533 QUAKER RD                                                                                  SCOTTSVILLE     NY    14546‐9710
BRYAN KAUFMAN                                  4809 CLAIREMOMT DRIVE 204                                                                      SAN DIEGO       CA    92117
BRYAN KEITH POSS                               220 CABRINI BLVD                      6B                                                       NEW YORK        NY    10033
BRYAN KJELLMAN                                 10824 DEERPOINT DR                                                                             ORLAND PARK     IL    60467
BRYAN KOLASA                                   8517 FENTON DR                                                                                 AUSTIN          TX    78736‐3301
BRYAN L AUGUSTINE                              6444 VELENCIA DR NE                                                                            ROCKFORD        MI    49341‐9570
BRYAN L BOSTICK                                1237 BRENTWOOD DR                                                                              DAYTON          OH    45406‐5714
BRYAN L BRADFORD                               4242 N CORNELIUS AVE                                                                           INDIANAPOLIS    IN    46208‐3714
BRYAN L BROWN                                  PO BOX 781                                                                                     PAYSON          AZ    85547‐0781
BRYAN L DEANE                                  8281 TORREY RD                                                                                 GRAND BLANC     MI    48439‐9331
BRYAN L FORBES                                 902 EDGEWOOD DR                                                                                MAHOMET         IL    61853‐8988
BRYAN L MURRAY EX UW NANCY M MURRAY            1821 MIDDLEVALE TERRACE                                                                        SILVER SPRING   MD    20906‐3350
BRYAN L OSBO                                   3923 WILLOW RIDGE DR                                                                           HOLT            MI    48842‐9711
BRYAN L PATTERSON                              1230 WEST MARKET ST                                                                            ATHENS          AL    35611
BRYAN L SHANKS                                 2079 CARRIER DR                                                                                MT MORRIS       MI    48458‐1203
BRYAN L SIERPINSKI                             141 SPRING BROOK DR                                                                            MIDDLETOWN      CT    06457‐2176
BRYAN L SPITZLEY                               13623 SUNFIELD HWY                                                                             LAKE ODESSA     MI    48849‐9529
BRYAN L SUOJA                                  1213 ECHO SUMMIT ST                                                                            LIVERMORE       CA    94551
BRYAN L WELCH                                  1124 CANARY DR                                                                                 DAVISON         MI    48423‐3610
BRYAN LESHER                                   5406 WILLOW FOREST CT                                                                          CLIFTON         VA    20124
BRYAN M GORNEY                                 100 COLUMBIA BLVD                                                                              KENMORE         NY    14217‐1730
BRYAN M GORNEY                                 100 COLUMBIA BLVD                                                                              KENMORE         NY    14217‐1730
BRYAN M GORNEY CUST EMILY R GORNEY UGMA NY     100 COLUMBIA BLVD                                                                              KENMORE         NY    14217‐1730

BRYAN M HOBROW                                 8674 WOODHAVEN DR SW                                                                           BYRON CENTER    MI    49315‐8640
BRYAN M LOCASCIO                               11184 NORTH LINDEN ROAD                                                                        LINDEN          MI    48451‐9466
BRYAN M MCCLOSKEY & KAREN L MCCLOSKEY JT TEN   12810 CHARTREUSE                                                                               DEWITT          MI    48820

BRYAN MAIN CUST SABINA K MAIN UTMA MD          6 MIDLINE RD                                                                                   GAITHERSBURG    MD    20878‐1910
BRYAN MC GOWAN                                 2606 ESSEX                                                                                     ANN ARBOR       MI    48104‐6554
BRYAN MCGRATH                                  11 NOD BROOK RD                                                                                WALLINGFORD     CT    06492
BRYAN NOBORU YAMAGUCHI                         1528 KALEILANI ST                                                                              PEARL CITY      HI    96782‐2040
BRYAN P BAUGH                                  963 CURTIS PL                                                                                  N BRUNSWICK     NJ    08902‐3204
BRYAN P LAUZON                                 202 D MP GROUP (CID)                  UNIT 29201                                               APO             AE    09102
BRYAN P LILLIS                                 2417 SINCLAIR NE                                                                               GRAND RAPIDS    MI    49505‐3602
                                                09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                            Part 1 of 8 Pg 524 of 850
Name                                                  Address1                               Address2               Address3         Address4          City            State Zip

BRYAN P MC GUAN                                       951 N KELLOGG AVE                                                                                SANTA BARBARA   CA    93111‐1022
BRYAN P VAN ITALLIE & JENNIFER S VAN ITALLIE JT TEN   2903 LORTON CT                                                                                   DAVENPORT       IA    52803‐2141

BRYAN PAUL KELLEY                                     ATTN BRIAN PAUL KELLY                  442 CENTRE ISLAND RD                                      CENTRE ISLAND   NY    11771‐5013
BRYAN PETER DAVEY                                     2906 BELKNAP BEACH RD                                                                            PROSPECT        KY    40059‐8013
BRYAN PIERCE                                          10642 PLOUNBONO ST                                                                               LAS VEGAS       NV    89141
BRYAN R DESOTELL                                      2441 ORCHARD LN                                                                                  WHITE LAKE      MI    48386‐1550
BRYAN R GALLAWAY                                      590 STONEHAM ST                                                                                  SAGINAW         MI    48603‐6225
BRYAN R JESSUP & KATHLEEN A JESSUP JT TEN             61324 CANDLELIGHT DRIVE                                                                          STURGIS         MI    49091‐9394
BRYAN R K GALLAWAY CUST CHADDRICK D GALLAWAY          590 STONEHAM RD                                                                                  SAGINAW         MI    48603‐6225
UTMA TN
BRYAN R K GALLAWAY CUST NATHAN K O GALLAWAY           590 STONEHAM RD                                                                                  SAGINAW         MI    48603‐6225
UTMA TN
BRYAN R SWECKER                                       4166 SHERMAN RD                                                                                  KENT            OH    44240‐6800
BRYAN ROBERT BOYINGTON CUST MATT BLAIR                18305 30TH PL N                                                                                  PLYMOUTH        MN    55447‐1662
BOYINGTON UGMA MN
BRYAN ROBERT FUNK                                     503 WATERCOURSE ROW                                                                              ROCKY HILL      CT    06067‐3268
BRYAN RUSSEL KITTLESON                                8223 NEW HAVEN WAY                                                                               CANTON          MI    48187‐8210
BRYAN S LAWVER                                        407 EL CAPITAN                                                                                   DANVILLE        CA    94526‐4921
BRYAN S SLUSHER                                       8949 CHAFFEE‐DODGEVILLE RD                                                                       N BLOOMFIELD    OH    44450‐9752
BRYAN SAVICKI                                         1534 FAWNVISTA LN                                                                                CINCINNATI      OH    45246‐2038
BRYAN SCOTT JUDGE                                     1629 LOOKOUT FARM DRIVE                                                                          ADA             MI    49301‐8124
BRYAN SNAPP                                           5368 STATE ROUTE 718                                                                             TROY            OH    45373‐8798
BRYAN STAUB                                           16979 SAINT ANDREWS CT                                                                           POWAY           CA    92064‐1206
BRYAN STREET                                          11044 STONEFIELD CT                                                                              MECHANICSVLLE   VA    23116‐5844
BRYAN T HENRY                                         6087 E HILL ROAD                                                                                 GRAND BLANC     MI    48439‐9103
BRYAN T TERVO                                         6970 HIDDEN RIDGE DR                                                                             WEST CHESTER    OH    45069‐1564
BRYAN THURMOND                                        5311 ALGONQUIN TRAIL                                                                             KOKOMO          IN    46901
BRYAN TSUI                                            APT 801                                19 ROSEBANK DR         SCARBOROUGH ON   M1B 5Z2 CANADA
BRYAN V KLOCKO                                        10235 CALKINS RD                                                                                 SWARTZ CREEK    MI    48473‐9725
BRYAN V NELSON                                        21631 BAYSIDE ST                                                                                 ST CLR SHORES   MI    48081‐2743
BRYAN W CUNNINGHAM                                    6880 POPLAR AVE                                                                                  GERMANTOWN      TN    38138‐3663
BRYAN W MURPHY                                        6990 HUBBARD RD                                                                                  CLARKSTON       MI    48348‐2826
BRYAN W RHEAVES                                       6805 DARYLL DRIVE                                                                                FLINT           MI    48505‐1967
BRYAN W SWIFT                                         203 BLUE HERON DRIVE                   OSHAWA ON                               L1G 6X7 CANADA
BRYAN W WAGNER                                        8687 N LAKE RD                                                                                   MILLINGTON      MI    48746
BRYAN WROBEL                                          24 PENSION ROAD                                                                                  ENGLISHTWON     NJ    07726‐5018
BRYANA M NUGENT                                       90 NORTHOAK CRT                                                                                  DANVILLE        CA    94506‐1328
BRYANT BRUNSON TR BRYANT BRUNSON LIVING TRUST         3300 FULLERTON ST                                                                                DETROIT         MI    48238‐3317
UA 2/5/01
BRYANT C WILLIAMS                                     2425 NORTHGLEN DR                                                                                FORT WORTH      TX    76119‐2747
BRYANT D SEYMOUR & WANDA M SEYMOUR TR                 3071 WYNSTONE DR                                                                                 SEBRING         FL    33875‐4745
SEYMOUR FAMILY TRUST UA 03/23/92
BRYANT E MUNSON                                       107 CARRIAGE DR                                                                                  NORTH HAVEN     CT    06473‐1508
BRYANT F STEWART III & JEAN F CHERRY JT TEN           R#2 BOX 641                                                                                      CAMPBELL        MO    63933‐9678
BRYANT H DAVIES & ALLEN L DAVIES SR JT TEN            7124 DATE PALM AVE S                                                                             ST PETERSBURG   FL    33707‐2014
BRYANT H FUQUA                                        1008 HORSEHOE DR                                                                                 NASHVILLE       TN    37216‐2424
BRYANT K CLARY                                        14626 FLAMINGO                                                                                   LIVONIA         MI    48154‐3608
BRYANT L MADDEN                                       101 VERNON                                                                                       PONTIAC         MI    48342‐2559
BRYANT P NATIVIDAD                                    91‐1371 KEONEULA BLVD                  UNIT 1103                                                 EWA BEACH       HI    96706‐6446
BRYANT R DUTCH                                        217 WATERVILLE ROAD                                                                              BELFAST         ME    04915‐7615
BRYANT W THOMPSON                                     PO BOX 425                                                                                       CROWELL         TX    79227‐0425
BRYANT WREZA SR                                       3000 NW 43RD PL                                                                                  CAPE CORAL      FL    33993‐8052
BRYCE A CLEAVER                                       5384 LAWNWOOD DR                                                                                 BRIGHTON        MI    48114‐9004
BRYCE ALLEN                                           1954 LAKEMONT DR                                                                                 BIRMINGHAM      AL    35244‐6732
BRYCE ALLEN ROBBINS                                   ATTN CAREN T ROBBINS                   8415 THORGESON AVE                                        CORDOVA         TN    38018‐7316
BRYCE ARTHUR MILLEVILLE                               8 PHEASANT DRIVE                                                                                 NEW FAIRFIELD   CT    06812‐2212
BRYCE C GEELE                                         41 GREEN ST                                                                                      THOMASTON       ME    04861‐3732
BRYCE C JOHNSON                                       35451 STERLING HWY                                                                               ANCHOR POINT    AK    99556‐9507
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 525 of 850
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

BRYCE C SHINER                                   1100 E 15TH AVE                                                                                 BROOMFIELD        CO    80020‐1304
BRYCE D SHENEMAN                                 543 WALNUT ST NE                                                                                GRAND RAPIDS      MI    49503‐1759
BRYCE DOSTER & RHONDA R DOSTER JT TEN            6025 MATZDORF ST                                                                                ANACORTES         WA    98221‐8488
BRYCE GREVEMEYER                                 49815 ANN ARBOR RD                                                                              PLYMOUTH          MI    48170‐3208
                                                                                                                                                 TOWNSHIP
BRYCE HUFFMAN                                    12815 ALLISON FERRY RD                                                                          HUNTERSVILLE      NC    28078‐6310
BRYCE J SPINDLER                                 2700 EATON RAPIDS RD                   LOT 260                                                  LANSING           MI    48911‐6329
BRYCE JA'NELL HURLEY                             767 2ND AVE                                                                                     HACKLEBURG        AL    35564
BRYCE K VOHWINKLE                                4254 CROSBY RD                                                                                  FLINT             MI    48506‐1463
BRYCE KASPAR                                     5115 N FRANKLINTOWN ROAD                                                                        BALTIMORE         MD    21207‐6510
BRYCE M HYATT                                    2122 SANDALWOOD                                                                                 BURTON            MI    48519‐1113
BRYCE M WHITAKER & MARY M WHITAKER JT TEN        117 GREENHILL DRIVE                                                                             WHITE LAKE        MI    48386‐1945
BRYCE N GILLIAM                                  17355 SAN QUENTIN DR                                                                            SOUTHFIELD        MI    48076‐3593
BRYCE R LARSON                                   2693 W ST RD #58                                                                                SEYMOUR           IN    47274
BRYN WIDMARK                                     HJALMAR BRANTINGSGATAN 7‐A             UPPSALA                                SWEDEN
BRYNEE HUDSON                                    2416 MERRYWOOD                                                                                  POMONA            CA    91767‐2522
BRYON C MCKIE SR                                 647 ROCK LAKE GLEN                                                                              FORT MILL         SC    29715‐6454
BRYON CHRISTOPHER YODER                          125 PENN ST                                                                                     CAMDEN            NJ    08102‐1636
BRYON D HOTCHKISS                                93 W SCHERRY RD                                                                                 AU GRES           MI    48703
BRYON E ZUK                                      441 INWOOD ROAD                                                                                 LINDEN            NJ    07036‐5323
BRYON G ELLSWORTH                                286 OTTAWA DR                                                                                   PONTIAC           MI    48341‐2046
BRYON G PADERA & MARIE ELIZABETH PADERA JT TEN   469 ELKHURST PLACE                                                                              HENDERSON         NV    89012‐4566

BRYON GRAGG CUST EASTON CLAY GRAGG UTMA NC       9 E MARION ST                                                                                   SHELBY            NC    28150

BRYON K SMITH                                    5455 SYLMAR AVE                        APT 2301                                                 SHERMAN OAKS       CA   91401‐5156
BRYON L SCHAEFER & PAMELA G SCHAEFER JT TEN      N4715 CTH M                                                                                     PLYMOUTH           WI   53073
BRYON YOUNG                                      117 OAK MANOR CRES                                                                              PITTSFORD          NY   14534‐1411
BUBBLE SMITH                                     16845 LESURE                                                                                    DETROIT            MI   48235‐4012
BUCK H MILLER                                    13357 NORTH 26TH ST                                                                             GOBLES             MI   49055‐9211
BUCK H MILLER & SANDRA J MILLER JT TEN           13357 NORTH 26TH STREET                                                                         GOBLES             MI   49055‐9211
BUCK LINDSEY                                     ATTN DIANA LINDSEY                     RR 1 BOX 214                                             MURRAYVILLE        IL   62668‐9801
BUCKNER G WEBB JR                                1815 MARENGO DR                                                                                 DEMOPOLIS          AL   36732‐3453
BUD BOWEN                                        4890 WOOD STREET                                                                                WATERFORD          MI   48329‐3477
BUD CORTEZ DUNN                                  32401 LARKMOOR ST                                                                               SAINT CLAIR SHORES MI   48082‐1324

BUD H RILEY                                      22357 RIVER VIEW DR                    PO BOX 5524                                              COTTONWOOD        CA    96022‐5524
BUD J BARANEK & JOAN A BARANEK JT TEN            6233 WEXFORD CT                                                                                 MAUMEE            OH    43537‐3909
BUD T CAHOON & MYRTLE G CAHOON TR CAHOON         3722 S SENTILLY LANE                                                                            TEMPE             AZ    85282
FAMILY TRUST UA 03/27/00
BUD WACKEEN                                      5615 SEASIDE HEIGHTS DR                                                                         RANCHO PALOS      CA    90275‐4934
                                                                                                                                                 VERDE
BUDD BURDEN YOUNG                                BOX 303                                                                                         SOUTHOLD          NY    11971‐0303
BUDD F DEYO                                      105 E RICHMOND ROAD                                                                             E SYRACUSE        NY    13057‐9579
BUDD HANSEN                                      13 WILD OLIVE CT                                                                                HOMOSASSA         FL    34446‐4539
BUDDHADEV ROYCHOUDHURY                           6658 ASHTON CIRCLE                                                                              SHAKOPEE          MN    55379‐7009
BUDDIE F TAYLOR                                  4145 CLINTONVILLE RD                                                                            WATERFORD         MI    48329‐2378
BUDDIE F TAYLOR & THELMA TAYLOR JT TEN           4145 CLINTONVILLE ROAD                                                                          WATERFORD         MI    48329‐2378
BUDDY BUIE & GLORIA BUIE JT TEN                  729 DOCTORS POINT RD                                                                            ABBVILLE          AL    36310‐5772
BUDDY C MANSELL                                  14 CAROLINA LN                                                                                  BEAUFORT          SC    29907‐1776
BUDDY C WEDDINGTON TR TRUST AGREEMENT OF         11 10 ALTON ROAD                                                                                GALLOWAY          OH    43119
BUDDY C WEDDINGTON UA 2/11/94
BUDDY D MCCOMAS & AILEEN MCCOMAS JT TEN          903 SW 19TH                                                                                     BLUE SPRINGS      MO    64015‐4021
BUDDY DORRIS                                     5694 CARROLL LAKE RD                                                                            COMMERCE TWP      MI    48382‐3124
BUDDY E COLEMAN                                  6132 E MAPLE RD                                                                                 GRAND BLANC       MI    48439‐9005
BUDDY EUGENE DYER                                1514 MONTALBAN                                                                                  SAN JOSE          CA    95120‐4829
BUDDY F BURTON                                   2314 BUXTON AVE                                                                                 CINCINNATI        OH    45212‐2204
BUDDY J MANOS                                    1595 KALE ADAMS                                                                                 WARREN            OH    44481‐9716
BUDDY L SHEETS                                   6837 HEATHERIDGE BLVD                                                                           SAGINAW           MI    48603‐9695
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 526 of 850
Name                                           Address1                                Address2             Address3          Address4          City           State Zip

BUDDY R SADLER                                 837 BEVERLY DR                                                                                   TERRELL        TX    75160‐1514
BUDDY STEVENS                                  108 WILKSHIRE BLVD                                                                               HOT SPRINGS    AR    71913‐5605
BUEAL C BRYANT                                 7400 CRYSTAL LAKE DR                    APT 9                                                    SWARTZ CREEK   MI    48473‐8943
BUEFORD A HUEY                                 6642 BISON                                                                                       WESTLAND       MI    48185‐2804
BUEFORD D REYNOLDS                             RT 1 BOX 177                                                                                     NEWBERRY       MI    49868‐9357
BUEL D BROWN                                   2162 KILDARE AVE                                                                                 INDIANAPOLIS   IN    46218‐3969
BUEL M HELM                                    HIGHWAY 206 #BOX 269                                                                             LIBERTY        KY    42539
BUEL T COSBY                                   7444 SHARP RD                                                                                    SWARTZ CREEK   MI    48473‐9409
BUEL V BALES                                   4946 HALSEY                                                                                      SHAWNEE        KS    66216‐2030
BUEL WHITT                                     3422 COZY CAMP RD                                                                                DAYTON         OH    45439‐1126
BUENA H CHINN                                  818 WALDSMITH WAY                                                                                VANDALIA       OH    45377‐9670
BUENA N PLANT                                  19411 ARCHER                                                                                     DETROIT        MI    48219‐1710
BUENA S BOUCHIER                               300 W MAIN ST                                                                                    POST           TX    79356‐3210
BUFF PALM                                      11522 NIWOT RD                                                                                   LONGMONT       CO    80501‐8412
BUFFORD D STRINGER                             1290 N SAGINAW ST                                                                                LAPEER         MI    48446‐1542
BUFFORD MERIDA                                 PO BOX 74                                                                                        PINEVILLE      KY    40977‐0074
BUFORD A GIBSON                                636 TRADE BRANCH RD                                                                              LYNNVILLE      TN    38472‐5060
BUFORD A MILLER                                2055 E GIER RD                                                                                   ADRIAN         MI    49221‐9667
BUFORD ALLEN SHORT JR                          3312 E 10TH ST                                                                                   OWENSBORO      KY    42303‐0659
BUFORD C ROBINSON                              1206 KINGSTON AVE                                                                                FLINT          MI    48507‐4744
BUFORD E MAUCK                                 3273 W 300 N                                                                                     ANDERSON       IN    46011‐9256
BUFORD F BASS                                  17125 STRATHMOOR                                                                                 DETROIT        MI    48235‐3919
BUFORD F KIDD                                  30013 KIDD DR                                                                                    AMORY          MS    38821
BUFORD F LANDS                                 364 HOLLY GLEN                                                                                   MONROE         MI    48161‐5762
BUFORD FULCHER                                 5323 WEXFORD ROAD                                                                                LANSING        MI    48911‐3315
BUFORD I CHAMPION                              1221 E NEW YORK ST                                                                               INDIANAPOLIS   IN    46202‐3756
BUFORD L BOST JR                               5314 MARILYN DR                                                                                  NORTH          SC    29418‐5810
                                                                                                                                                CHARLESTON
BUFORD O HARRIS                                4709 ANDOVER                                                                                     LORAIN         OH    44055‐3522
BUFORD S BURKS & SUSIE E BURKS JT TEN          ATTN DENIS J MC CARTHY                  ADMINISTRATOR        PO BOX 610                          BLACKSTONE     VA    23824‐0610
BUFORD T ROSE                                  29719 BIRCHWOOD                                                                                  INKSTER        MI    48141‐1087
BUFORD V GAITER JR                             1610 ALLENDALE DR                                                                                SAGINAW        MI    48638‐4400
BUILDING FUND                                  PO BOX 98                                                                                        OSSIAN         IA    52161‐0098
BULA F NEELEY                                  2890 GENESIS DR                                                                                  BOYNE CITY     MI    49712‐9213
BULAH LEE GRANT                                3702 KELLAR                                                                                      FLINT          MI    48504‐2150
BUNA JOE WILDER JR                             5929 NW 83RD TERR                                                                                GAINESVILLE    FL    32653‐3810
BUNIA P HAWTHORNE                              1841 SPRINGFIELD ST                                                                              FLINT          MI    48503‐4579
BUNNEY LEWIS JR                                27450 SUTHERLAND                                                                                 SOUTHFIELD     MI    48076‐7433
BUNNIE GRIFFITH                                HC 60 BOX 41B                                                                                    SALTFLAT       TX    79847‐9029
BUNNY C CLARK                                  2051 HIGHLAND VIEW DR                                                                            POWELL         OH    43065‐9307
BURCHARD ROARK                                 9404 E ROCKCREST LN                                                                              SPOKANE        WA    99206‐8205
BURCHELL T OLENICK                             3387 RIPPLING LAKE CT                                                                            HAMILTON       OH    45011‐8192
BURCHELL W NAIK                                63 CHANCERY CIRCLE                      ST CATHERINES ON                       L2M 7R3 CANADA
BURDE A DUNCAN JR                              497 WALLACE STREET                                                                               NORTHUMBERLAND PA    17857‐1146

BURDETTE D POMBIER SR                          127 GRAND ST BOX #211                                                                            SPRINGPORT     MI    49284‐0211
BURDETTE L COOPER                              1645 MEADOWAY                                                                                    DEFIANCE       OH    43512‐3628
BURDETTE M MOSS                                5303 NASSER                                                                                      FLINT          MI    48505‐1064
BURDINE ALIDA BROGNIEZ                         3223 SINGLE PEAK                                                                                 SAN ANTONIO    TX    78261‐1818
BURDINE D THORNBERRY                           7368 BLANCHARD DR                                                                                N RIDGEVILLE   OH    44039‐4103
BUREN SPAULDING                                3265 WEST 50 SOUTH                                                                               LEBANON        IN    46052‐8961
BUREN SPAULDING & JANET I SPAULDING JT TEN     3265 WEST 50 SOUTH                                                                               LEBANON        IN    46052‐8961
BURGESS A YOUNG                                603 MIDLAND                                                                                      ROYAL OAK      MI    48073‐2884
BURGESS G WILSON JR                            19735 HUNTINGTON AVE                                                                             HARPER WOODS   MI    48225‐1829
BURGESS W LOAR                                 1823 TEBO                                                                                        FLINT          MI    48503‐4433
BURGIN DOSSETT                                 403 HARBOR APPROACH                                                                              JOHNSON CITY   TN    37601‐3149
BURGOYNE HARRIS                                7134 MANDRAKE DRIVE                                                                              DAYTON         OH    45424‐3135
BURIEL D HIGGINS                               7737 NESTLE AVE                                                                                  RESEDA         CA    91335‐2053
BURK W GREENWALD                               1413 N RICKEY RD                                                                                 SHAWNEE        OK    74801‐5415
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 527 of 850
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

BURKE TUBBS FUNERAL HOME                          306 W GALENA AVE                                                                               FREEPORT         IL    61032‐3908
BURKHARD G J KAMMERER                             V KETTELERSTR 40                      PADERBORN                              33106 GERMANY
BURKLEY I NEFF                                    353 4TH STREET                                                                                 FILLMORE         CA    93015‐1421
BURL A HILES & SUE ASHLEY HILES JT TEN            203 FLOWER LN DR                                                                               ESTILL SPRINGS   TN    37330‐3103
BURL COLLINS JR                                   14510 FREELAND                                                                                 DETROIT          MI    48227‐2802
BURL E JOHNSON                                    800 CABLE RD                                                                                   WALESKA          GA    30183‐3156
BURL E LEMONDS & MANUELINE LEMONDS TEN ENT        42 KIMBERLY COURT SOUTHWEST                                                                    WINTER HAVEN     FL    33880‐1192

BURL EUGENE STEPHENS                              1306 N 22ND ST                                                                                 PARAGOULD        AR    72450‐2272
BURL F LANDERS                                    3111 VICKSBURG DR SW                                                                           DECATUR          AL    35603‐3174
BURL G BURLESON                                   329 MAE COURT                                                                                  ROMEO            MI    48065‐5034
BURL G ELLIOTT                                    18119 BONNIE LANE                                                                              STRONGSVILLE     OH    44136‐4213
BURL HOLBERT KIZER                                14745 MERRILTOWN DR #5914                                                                      AUSTIN           TX    78728‐5770
BURL KEESEE                                       37 MOUNTAIR DR                                                                                 VANDALIA         OH    45377‐2952
BURL L GULLETT                                    6057 SOUTHERN OAKS DRIVE SE                                                                    WINTER HAVEN     FL    33884‐2749
BURL L SMITH                                      140 BENNETT VILLAGE TERRACE                                                                    BUFFALO          NY    14214‐2204
BURL LEWTER                                       ATTN NICKIE B ADAMSON                 110 BERKELEY COURT                                       FAIRBANKS        AK    99709‐3027
BURL LUCIUS                                       16555 INDIAN RIDGE DRIVE                                                                       BULLARD          TX    75757‐8809
BURL LUCIUS & ERMA L LUCIUS JT TEN                16555 INDIAN RIDGE DR                                                                          BULLARD          TX    75757‐8809
BURL OSBORN JR                                    2621 JONES AVE                                                                                 NASHVILLE        TN    37207‐4618
BURL PLUNKETT & JUNEIUA PLUNKETT JT TEN           18882 CR 1546                                                                                  ADA              OK    74820
BURL R WHITE                                      5708 KEITH                                                                                     HIGH RIDGE       MO    63049‐1619
BURL TRENTHAM                                     4340 OAK STREET BOX 317                                                                        LUNA PIER        MI    48157‐0317
BURLDINA E COTHRON & WAYLAND K COTHRON JT TEN     4500 POST RD C‐35                                                                              NASHVILLE        TN    37205‐1500

BURLEAN SAMPSON                                   1000 NORTH SWEET HOME RD                                                                       PEARL            MS    39208‐9625
BURLER MOORE                                      2301 SYCAMORE DR                      APT 46                                                   ANTIOCH          CA    94509‐2916
BURLESON E HUGHES                                 PO BOX 126                                                                                     HENDERSON        AR    72544‐0126
BURLEY BAILEY JR                                  2240 LAKE SILVER RD                                                                            CRESTVIEW        FL    32536‐9344
BURLEY C BYINGTON                                 RT 4 BOX 293                                                                                   JONESVILLE       VA    24263‐9232
BURLEY H GILLETTE                                 266 W BARNS LAKE RD                                                                            COLUMBIAVILLE    MI    48421‐9720
BURLEY J RODGERS                                  2205 ELM AVE                                                                                   GRANITE CITY     IL    62040‐6110
BURLEY L BONNER & JOYCE BONNER JT TEN             8011 THRAILKILL                                                                                JONESBORO        GA    30236‐3390
BURLEY MASSEY JR                                  18436 MANSFIELD                                                                                DETROIT          MI    48235‐2930
BURLIA VERNON BRASHIER                            7051 KESSLING ST                                                                               DAVISON          MI    48423‐2443
BURLIN BARNETT                                    14707 NANTUCKET RD                                                                             N FT MYERS       FL    33917‐9039
BURLON L RUSSELL                                  1145 GOFORTH RD                                                                                LITTLE ROCK      MS    39337‐9220
BURNAL C BENNETT                                  713 AVIATION                                                                                   SCHERTZ          TX    78154‐1605
BURNARD M BARGER                                  11510 CUTLER RD                                                                                EAGLE            MI    48822‐9749
BURNDINE A BRODERICK                              234 E OAK ST                                                                                   ANDERSON         IN    46012‐2511
BURNEDINE HAYES                                   8520 ELMORE AVE                                                                                SAINT LOUIS      MO    63132‐2812
BURNELL B GILLESPIE                               108 WEST WASHINGTON STREET                                                                     GRAFTON          WV    26354‐1308
BURNELL H DE VOS JR TR BURNELL H DE VOS 3RD UA    373 WEST BELLEVUE DR                                                                           PASADENA         CA    91105‐1833
12/30/64
BURNELL H DE VOS JR TR DOUGLAS E DE VOS UA        373 WEST BELLEVUE DR                                                                           PASADENA         CA    91105‐1833
12/30/64
BURNELL W BORTON                                  11196 N ELMS RD                                                                                CLIO             MI    48420‐9447
BURNELLE G REYNOLDS                               1505 W OAK                                                                                     EL DORADO        AR    71730‐5345
BURNETT C BAUER CUST MATTHEW J BAUER UGMA IN      2510 MAYFLOWER ROAD                                                                            NILES            MI    49120‐8783

BURNETT ELKINS                                    2039 MORAN                                                                                     LINCOLN PK       MI    48146‐3733
BURNETT HARRIS                                    122 E 2ND ST #1                                                                                MANSFIELD        OH    44902‐2008
BURNETT M HERSEY II CUST BURNETT M HERSEY III     487 KENOWA RD                                                                                  CASNOVIA         MI    49318‐9705
UGMA MI
BURNETT N HULL                                    215 N SPRINGS CT NW                                                                            ATLANTA          GA    30328‐2057
BURNETT NEWSOME                                   9540 PLANK RD                                                                                  MAYBEE           MI    48159‐9790
BURNETTA J LAWTON                                 28 BROOKDALE AVE                                                                               ROCHESTER        NY    14619‐2208
BURNETTA WILLIAMS                                 12234 FIELDING ST                                                                              DETROIT          MI    48228‐1017
BURNETTE E DANIELS                                201 LYNN ST APT 1                                                                              PEABODY          MA    01960‐6556
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 528 of 850
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

BURNETTE I NOBLE JR CUST JENNIFER LEIGH NOBLE     3716 COTTONWOOD SPRINGS DR                                                                      THE COLONY      TX    75056‐3683
UGMA TX
BURNEY L DECAMP                                   38455 FITZGERALD CIRCLE                                                                         FREMONT         CA    94536
BURNICE C SLAUGHTER                               121 E MAIN STREET                                                                               MIDDLETOWN      DE    19709‐1446
BURNICE C SLAUGHTER & JEAN O SLAUGHTER JT TEN     121 EAST MAIN STREET                                                                            MIDDLETOWN      DE    19709‐1446

BURNICE GRIGSBY                                   458 W MAIN ST                                                                                   MOUNT ORAB      OH    45154‐9452
BURNICE ROBEY                                     1203 W 550 SOUTH                                                                                ANDERSON        IN    46013‐9775
BURNICE W HUGHES                                  2202 SOUTH K ST                                                                                 ELWOOD          IN    46036‐3031
BURNIE HENRY                                      10192 MONICA ST                                                                                 DETROIT         MI    48204‐1299
BURNIE HUNT                                       25450 AUDREY                                                                                    WARREN          MI    48091‐1543
BURNIE SMITH                                      3440 RIVER RD W                        DELTA BC                               V4K 3N2 CANADA
BURNIS TURNER                                     3118 BRANDON ST                                                                                 FLINT           MI    48503‐3455
BURNON LYONS                                      8363 BINGHAM                                                                                    DETROIT         MI    48228‐2730
BURNS E LOCKWOOD                                  BOX 38                                                                                          HOLBROOK        AZ    86025‐0038
BURNS O SEVERSON III                              26 WHITE OAK DR                                                                                 MARQUETTE       MI    49855‐9450
BURR GOOD                                         28412 FERNWOOD AVE                                                                              ANCKSTER        MI    48141‐1130
BURREL H ELMORE                                   1416 BROADWAY                                                                                   JOLIET          IL    60435‐2600
BURRELL G SPARKS                                  R 3 COOKTON GRANGE ROAD                                                                         MANSFIELD       OH    44903‐9803
BURRIS B VAN WEY                                  108 WEST 12TH STREET                                                                            LYNDON          KS    66451‐9674
BURRITT LARSON                                    78 RTE 140                                                                                      TIMMOUTH        VT    05773
BURROUGHS W TIMBERMAN                             200 SALEM ST                                                                                    ELMER           NJ    08318‐2272
BURT B BUNDGUS                                    1819 FOOTHILL BLVD                                                                              CALISTOGA       CA    94515
BURT F VERONESI                                   BOX 328                                                                                         CANAAN          CT    06018‐0328
BURT FREDERICK STONEX                             1432 SO 38TH COURT                                                                              RIDGEFIELD      WA    98642‐8387
BURT J MAYBORNE                                   N7682 PEEBLES LN                                                                                FOND DU LAC     WI    54935
BURT RICHARD COHEN                                3372 SIERRA OAKS DRIVE                                                                          SACRAMENTO      CA    95864‐5729
BURT W MANN                                       10708 E DOVER RD                                                                                CLARE           MI    48617‐9633
BURT WILLIAMS                                     909 W RAY AVE                                                                                   HIGH POINT      NC    27262
BURTIS R PRITCHETT                                330 SHEFFIELD DR                                                                                ROSCOMMON       MI    48653‐8544
BURTON A DEYOUNG JR                               10100 S GRAHAM RD                                                                               SAINT CHARLES   MI    48655‐9592
BURTON A LYONS                                    6031 SYLVARENA RD                                                                               WESSON          MS    39191‐9702
BURTON B ROBBINS & MRS LOIS ROBBINS JT TEN        62 JOSEPH ST                                                                                    NEW HYDE PARK   NY    11040‐1703
BURTON C HODGES SR                                406 BURT RD                                                                                     FRENCH CAMP     MS    39745‐9510
BURTON C MATHEWS & DWIGHT J MATHEWS JT TEN        2020 JOLIET ST                                                                                  FLINT           MI    48504‐4893

BURTON CAMPBELL                                   4419 E KITRIDGE RD                                                                              DAYTON          OH    45424‐1721
BURTON COHEN & MISS MINDY COHEN JT TEN            166 25 POWELLS COVE BLVD               APT 20D                                                  BEECHHURST      NY    11357‐1527
BURTON D BISHOP & RUTH H BISHOP JT TEN            20737 COVE RD                                                                                   BIVALVE         MD    21814‐2004
BURTON D JONES & SHIRLEY A JONES JT TEN           57588 GEARHART LANDING RD                                                                       THREE RIVERS    MI    49093
BURTON D TYLER                                    3 LIGHTHOUSE POINTE                                                                             FENTON          MI    48430‐3239
BURTON E HARRIS & KATHLEEN F HARRIS JT TEN        2202 SEARLES RD                                                                                 BALTIMORE       MD    21222‐3215
BURTON E KLATT & MARY KLATT JT TEN                545 S VALLEYVIEW # 73                                                                           ST GEORGE       UT    84770‐4492
BURTON FARBMAN & SUSAN FARBMAN JT TEN             27272 W FOURTEEN MILE RD                                                                        FRANKLIN        MI    48025‐1773
BURTON G DEKETT & MRS ALICE RUTH DEKETT JT TEN    9021 CR 622                                                                                     BUSHNELL        FL    33513‐7823

BURTON G EHMKE & JUDITH E EHMKE JT TEN            4038 CHAPMAN RD                                                                                 SHELBY TWP      MI    48316‐1408
BURTON G GREENBLATT                               163 MERRISON ST                                                                                 TEANECK         NJ    07666‐4648
BURTON GERALD MCCRUMB                             1955 SCRIBNER RD                                                                                WEST BRANCH     MI    48661‐9412
BURTON H BILBREY & GERALDINE M BILBREY JT TEN     1010 PARKVIEW STREET                                                                            FENTON          MI    48430‐4148

BURTON H BOESSNECK                                1920 E DAWN DR                                                                                  TEMPE           AZ    85284‐3428
BURTON H JONES III                                PO BOX 10324                                                                                    AUSTIN          TX    78766‐1324
BURTON H LENHART                                  5270 IRISH RD                                                                                   LOCKPORT        NY    14094‐9211
BURTON H POPPENGA                                 5614 STANTON AVE                                                                                HIGHLAND        CA    92346‐1641
BURTON HAWLEY                                     6731 ALHELI                                                                                     FT PIERCE       FL    34951‐4368
BURTON J FIELD                                    2020 ROYAL RIDGE DR                                                                             NORTHBROOK      IL    60062
BURTON J LAVANA                                   773 CHARRINGTON WAY                                                                             TIPP CITY       OH    45371‐9352
BURTON J NEWMAN                                   193 PRATER'S CREEK RD                                                                           PICKENS         SC    29671‐9673
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 529 of 850
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

BURTON J NEWMAN & BARBARA A NEWMAN JT TEN       193 PRATER'S CREEK RD                                                                           PICKENS         SC    29671‐9673

BURTON J WESTVELD                             4035 PINEVIEW                                                                                     GRANDVILLE      MI    49418‐1750
BURTON J ZUNG                                 2109 CHISHOLM TRAIL                                                                               GRAND PRAIRIE   TX    75052‐1724
BURTON K HAIMES CUST SPENCER W HAIMES UGMA NY 33 HIGH POINT CIR                                                                                 RYE BROOK       NY    10573‐1092

BURTON KLIEN CUST FREDERIC NEAL KLIEN UGMA NY   29 CLARIDGE CIR                                                                                 MANHASSET       NY    11030‐3928

BURTON KROUNER CUST RICHARD MICHAEL KROUNER     21923 ARRIBA REAL                                                                               BOCA RATON      FL    33433‐3143
UGMA NY
BURTON L GROVES & MRS RUTH A GROVES JT TEN      114 LANCASTER LN                                                                                LANSING         MI    48906‐1631
BURTON L HOPKINS                                8984 CHAMPIONSHIP DR                                                                            DAVISON         MI    48423‐8656
BURTON L WATSON                                 10025 KING RD                                                                                   DAVISBURG       MI    48350‐1901
BURTON LAHN                                     10114 HURLINGHAM DR                                                                             BAKERSFIELD     CA    93312‐5343
BURTON LUSTINE                                  8520 CONNECTICUT AVE                   SUITE 215                                                CHEVY CHASE     MD    20815
BURTON MORGAN SICKELSMITH                       2355 WEDGEFIELD RD                                                                              SUMTER          SC    29154‐4644
BURTON O DILLARD JR                             901 SW SALLY CIRCLE                                                                             LEES SUMMIT     MO    64081‐2374
BURTON R JACKSON JR & ELAINE R JACKSON JT TEN   5460 FERN AVE                                                                                   GRAND BLANC     MI    48439‐4320

BURTON REYER & STEPHANIE REYER JT TEN           9 DEEP WOODS CT                                                                                 GLEN COVE       NY    11542‐1223
BURTON S AUGUST                                 11 WOODBURY PLACE                                                                               ROCHESTER       NY    14618‐3436
BURTON S BOHNETT                                9978 W STOLL                                                                                    HASLETT         MI    48840‐9323
BURTON SHLENSKY CUST WENDY SHLENSKY UGMA WI     67 ROLLING WAY                                                                                  NEW ROCHELLE    NY    10804‐2405

BURTON SOLED                                    6209 TEWKESBURY WAY                                                                             WILLIAMSBURG    VA    23188‐1783
BURTON TUDOR & MRS BARBARA TUDOR JT TEN         281 GARTH RD                                                                                    SCARSDALE       NY    10583
BURWELL K MARSHALL III                          2307 CROSS HILL RD                                                                              LOUISVILLE      KY    40206‐2809
BURWELL K MARSHALL III TR UA 1/20/71            2307 CROSS HILL RD                                                                              LOUISVILLE      KY    40206‐2809
BURWELL S PALMER & MRS JOAN S PALMER JT TEN     2702 CANARY DR                                                                                  COSTA MESA      CA    92626‐4748

BURWIN L BRANSCOMB                              649 N LAFONTAINE ST                                                                             HUNTINGTON      IN    46750‐2008
BURYL L BURGESS                                 1208 RIVERSIDE DR                                                                               OWOSSO          MI    48867‐4942
BUSTER ADAMS                                    RT 6 BOX 1802                                                                                   LOUISA          KY    41230‐9046
BUSTER DEROSETT                                 1857 WEST 50 ST                                                                                 CLEVELAND       OH    44102‐3309
BUSTER HALE                                     3926 TOMA HAWK DR                                                                               MIDWAY          OH    45341‐9735
BUSTER RAY DAVIS                                612 FIFE ST                                                                                     CHESAPEAKE      VA    23321‐2314
BUTLER B DI GILIO                               8781 BIRCH PARK LN                                                                              GERMANTOWN      TN    38139‐6555
BUTLER COLEMAN JR                               21024 LOCKWOOD                                                                                  TAYLOR          MI    48180‐2909
BUTLER H LUKE                                   PO BOX 575                                                                                      WILLACOOCHEE    GA    31650‐0575
BUTLER HALL JR                                  4390 E Y AVENUE                                                                                 VICKSBURG       MI    49097‐9706
BYERS M HOWELL                                  3193 E COOK RD                                                                                  GRAND BLANC     MI    48439‐8375
BYERS M HOWELL & PATRICIA A HOWELL JT TEN       3193 E COOK RD                                                                                  GRAND BLANC     MI    48439‐8375
BYFORD K BORGMAN                                2698W 600N                                                                                      GREENFIELD      IN    46140‐8678
BYON BROCK                                      947 S RIDGE TR                                                                                  CLARKSVILLE     TN    37043‐8273
BYONG S CHA                                     3504 HEATHER GLEN DR                                                                            FLOWER MOUND    TX    75028
BYOUNG EUN KOH                                  1855 CONSTITUTION AVE                  APT 608                                                  WOODLYN         PA    19094‐1430
BYRCH E WILLIAMS                                1808 RITA DR NE                                                                                 ALBUQUERQUE     NM    87106‐1132
BYRD ANN BURGER & THOMAS E BURGER JT TEN        600 N CLEAR LAKE RD                                                                             WEST BRANCH     MI    48661‐9470
BYRD L MOUNT                                    1601 HOLLY COURT N W                                                                            LENOIR          NC    28645‐4831
BYRDEAN PRIDE                                   22406 EASTER FERRY RD                                                                           ELKMONT         AL    35620‐6504
BYRL C RABREN                                   2 DACUS DR                                                                                      GREENVILLE      SC    29605
BYRL D NELSON                                   460 STATION RD                                                                                  VALLEY CITY     OH    44280‐9578
BYRLE M RANKIN                                  261 E MAIN ST                                                                                   NEW LEBANON     OH    45345‐1226
BYRNECE L MORAN & MICHELE MORAN SPRINGER JT     PO BOX 102                                                                                      BIG BAY         MI    49808‐0102
TEN
BYRNINA O ENGLISH                               810 CHESTNUT ST                                                                                 WILMINGTON      NC    28401
BYRON A GRIFFIN                                 488 SECOND AVE                                                                                  LONG BRANCH     NJ    07740‐5620
BYRON A PERKINS III                             3312 MEADOW BROOK LANE                                                                          CHESAPEAKE      VA    23321
BYRON A PETERS                                  1203 BROWN COURT                                                                                TAYLORVILLE     IL    62568‐1201
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 530 of 850
Name                                             Address1                               Address2                   Address3    Address4          City           State Zip

BYRON A TURNQUIST & JUDITH M TURNQUIST JT TEN    1579 E HARBOUR TOWNE CIR                                                                        MUSKEGON       MI    49441‐6408

BYRON A WHITE TR BYRON A WHITE REVOCABLE LIVING 11401 FAIRFIELD                                                                                  LIVONIA        MI    48150‐2778
TRUST UA 04/16/03
BYRON ASA HUFF                                  RR 1 BOX 194                            4054 WEST COUNTY RD 950N                                 DALEVILLE      IN    47334‐9504
BYRON B ASHBROOK III CUST ANASTASIA M ASHBROOK 106 MONTREUX LN                                                                                   NEW BERN       NC    28562‐8979
UGMA PA
BYRON B BOWER III                               BOX 996                                                                                          FLORENCE       AL    35631‐0996
BYRON B WEBB III                                2241 CALLE TIARA                                                                                 LA JOLLA       CA    92037‐6902
BYRON B WEBB INC                                DRAWER B                                                                                         LA JOLLA       CA    92038‐3484
BYRON C GIBBS                                   5748 TIPPERARY CIRCLE                                                                            ANN ARBOR      MI    48105‐9540
BYRON C GWINN 2ND & JEAN ELLEN GWINN JT TEN     1460 MORENCI ST                                                                                  SAN DIEGO      CA    92110‐3640

BYRON C MILLER                                   1680 MARTINIQUE DR                                                                              TROY           MI    48084
BYRON C RUTLEDGE                                 655 CIRCLE RD                                                                                   DAYTON         OH    45417‐1208
BYRON C WATKINS & MARTHA S WATKINS JT TEN        400 SYCAMORE LANE                                                                               MADISONVILLE   KY    42431‐8752
BYRON D CANINE & BARBARA J CANINE TR UA CANINE   940 AND‐FRANKTON RD                                                                             ANDERSON       IN    46011
FAMILY TRUST 06/27/90
BYRON D CHAMBERS                                 121 BEARDEN DR SE                      LOT 5                                                    MARIETTA       GA    30060‐8705
BYRON D HALL                                     2439 SUNNYBREEZE AVE                                                                            LARGO          FL    33770‐4351
BYRON D JESSUP & BEVERLY M JESSUP JT TEN         1125 VICTORY LANE                                                                               CONCORD        CA    94520‐4330
BYRON D MUSSER                                   2 SE ALFALFA DR                                                                                 SAINT JOSEPH   MO    64507‐8485
BYRON D QUANDT CUST TIMOTHY O QUANDT UTMA IA     2934 AVATAR CT                                                                                  TOLEDO         OH    43615‐2162

BYRON DALE LOUDERMILK                            23716 OLD FOLEY RD                                                                              EL BERTA       AL    36530‐2516
BYRON DAVIS                                      45667 LARCHMONT DR                                                                              CANTON         MI    48187‐4722
BYRON DONALD MC CARTER                           1310 S SHORE DR                                                                                 MARTINSVILLE   IN    46151‐8875
BYRON E BISHOP                                   8 912 2 AVE                            COLD LAKE AB                           T9M 1K4 CANADA
BYRON E BLACKLOCK                                7844 N HALL RD                                                                                  MONROVIA       IN    46157‐9251
BYRON E BYARS                                    4289 SWEET                                                                                      HOWELL         MI    48843‐8817
BYRON E BYARS & MARY A BYARS JT TEN              4289 SWEET                                                                                      HOWELL         MI    48843‐8817
BYRON E CLARK                                    8068 ANDREW FRANKLIN DR                                                                         DENVER         NC    28037
BYRON E ELLIOTT                                  1309 S CHERRY ST                                                                                MARTINSVILLE   IN    46151‐2704
BYRON E FORBES                                   18 RED SABLE PT                                                                                 SPRING         TX    77380‐2671
BYRON E LIVINGSTON                               109 HUGHES SHORE RD                                                                             BALTIMORE      MD    21220‐2814
BYRON E PEARCE                                   3179 SANTIAGO DR                                                                                FLORISSANT     MO    63033‐2620
BYRON EDWARD ALEXANDER                           2696 W 1300N                                                                                    ALEXANDRIA     IN    46001‐8506
BYRON F CARTER                                   3270 RAMADA DR                                                                                  HIGHLAND       MI    48356‐1866
BYRON FRIGA CUST BRIANNE K P FRIGA UTMA CA       21015 TIMBER RIDGE RD                                                                           YORBA LINDA    CA    92886‐6939
BYRON FRIGA CUST TIFFANY Y D FRIGA UTMA CA       21015 TIMBER RIDGE RD                                                                           YORBA LINDA    CA    92886‐6939
BYRON GENE KALIA                                 25235 ANCHORAGE                                                                                 HARRISON       MI    48045
                                                                                                                                                 TOWNSHIP
BYRON H BARCLAY                                  56 OGLE RD                                                                                      OLD TAPPAN     NJ    07675‐7022
BYRON H ROMIG                                    814 N 16TH ST                                                                                   ELWOOD         IN    46036‐1315
BYRON HANEY                                      444 RISING DR                                                                                   FAIRBORN       OH    45324
BYRON HILL                                       3018 MOODYVILLE RD                                                                              BYRDSTOWN      TN    38549‐4226
BYRON J COTTON                                   1501 MULBERRY LN                                                                                FLINT          MI    48507‐5360
BYRON J GALL                                     111 S MAUMEE                                                                                    TECUMSEH       MI    49286‐2003
BYRON J GOULD                                    2932 E LAKE DR                                                                                  LUPTON         MI    48635‐9753
BYRON J SLADE & RUTH L SLADE JT TEN              2217 TAYLOR RD                                                                                  INDEPENDENCE   KS    67301‐5407
BYRON J WOODS                                    2217 ANNETTE ST                                                                                 NEW ORLEANS    LA    70119‐1525
BYRON JAMES DAVENPORT                            4739 BUCKHEAD CT                                                                                TALLAHASSEE    FL    32309‐8983
BYRON K KINCAID JR                               10674 E GRAND RIVER                                                                             PORTLAND       MI    48875‐9449
BYRON K WOODY                                    8253 TAUROMEE                                                                                   KANSAS CITY    KS    66112‐1950
BYRON L ARNOLD                                   1659 HOPPE ROAD                                                                                 UNIONVILLE     MI    48767
BYRON L BEAVER                                   155 BROODSIDE AVE                                                                               HERSEHEY       PA    17033‐1802
BYRON L BRADFORD                                 5345 CLINTON RIVER DR                                                                           WATERFORD      MI    48327‐2516
BYRON L DALKERT SR                               22310 AUDREY                                                                                    WARREN         MI    48091‐2502
BYRON L DOEPKER                                  2444 E BRADBURY AVE                                                                             INDIANAPOLIS   IN    46203‐4501
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 531 of 850
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

BYRON L GETTLE                                   9816 N 107TH AVE                                                                                SUN CITY          AZ    85351‐4602
BYRON L MAYS                                     7000 TRENTON‐FRANKLIN                                                                           MIDDLETOWN        OH    45042‐1338
BYRON L MEAD                                     8420 PHOENIX AVE                       APT 327                                                  FORT SMITH        AR    72903‐6246
BYRON L NEWELL                                   19314 CHIWAWA LOOP                                                                              LEAVENWORTH       WA    98826‐9550
BYRON L WHITE                                    12470 9TH ST NORTH                                                                              LAKE ELMO         MN    55042‐7605
BYRON L WILLIAMS JR                              10004 DESOTO COURT                                                                              GAITHERSBURG      MD    20886‐1346
BYRON LAFAYETTE THAYER                           1475 HUNTLEY DR                                                                                 GRAND BLANC       MI    48439‐5153
BYRON M CHONG                                    22 LOS LAURELES                                                                                 SALINAS           CA    93901‐4128
BYRON MACMILLAN                                  PO BOX 46050                                                                                    LAS VEGAS         NV    89114‐6050
BYRON MCCORD JR                                  PO BOX 158                                                                                      DALEVILLE         IN    47334‐0158
BYRON N LIVENGOOD                                208 N 1ST ST                                                                                    RIDGE FARM        IL    61870‐6098
BYRON N LORD & RONNA K LORD JT TEN               1713 GLASTONBERRY RD                                                                            POTOMAC           MD    20854‐2642
BYRON NEWSON                                     3344 WADSWORTH                                                                                  SAGINAW           MI    48601‐6249
BYRON P HARRISON & RICHARD C HARRISON JT TEN     435 4TH ST                                                                                      DONORA            PA    15033‐1823

BYRON PARKER COLGROVE II                         3923 DEMERY DRIVE EAST                                                                          JACKSONVILLE      FL    32250‐1927
BYRON R KOSTE                                    2222 WILLOW CREEK DR                                                                            BOULDER           CO    80301
BYRON R LAVAN                                    531 EVERGREEN LANE                                                                              LAFAYETTE HILL    PA    19444‐2307
BYRON R LEMAY                                    17762 REMINGTON DR                                                                              ATHENS            AL    35611‐4641
BYRON R NELLIS                                   28110 E 24 HWY                                                                                  BUCKNER           MO    64016
BYRON R THOMAS                                   720 HAWTHORNE AVE                                                                               ST CHARLES        MO    63301‐1410
BYRON R THOMAS                                   720 HAWTHORNE                                                                                   ST CHARLES        MO    63301‐1410
BYRON R WALTER                                   308 EAST 3RD STREET                                                                             HARTFORD CITY     IN    47348‐2813
BYRON REED                                       56 CABOT AVE                                                                                    ELMSFORD          NY    10523‐2108
BYRON ROBERTS & SARAH T ROBERTS JT TEN           454 S ROXBURY DR                                                                                BEVERLY HILLS     CA    90212‐4114
BYRON SHIH WONG & MARTHA SHIH WONG JT TEN        127 BREWSTER RD                                                                                 SCARSDALE         NY    10583‐2003

BYRON T FOX                                      5354 WEST 62ND STREET                                                                           INDIANAPOLIS      IN    46268
BYRON TIMOTHY BALZ & SANDRA LOU BALZ JT TEN      9675 KELLER RD                                                                                  CLARENCE CENTER   NY    14032‐9742

BYRON W BURDITT                                  3733 STATE STREET                                                                               SAGINAW           MI    48602‐3264
BYRON W CATRETT                                  678 S 4TH ST                                                                                    ORLEANS           IN    47452‐1907
BYRON W COTTON                                   1501 MULBERRY LN                                                                                FLINT             MI    48507‐5360
BYRON W HOURTIENNE                               13451 TAYLOR ROAD                                                                               MILLINGTON        MI    48746
BYRON W KNOX                                     203 EL SHADDAI DR                                                                               LAFAYETTE         LA    70508‐7438
BYRON W STEELE                                   319 THE WOODS                                                                                   BEDFORD           IN    47421‐9379
BYRON W TAULTON                                  2954 SPIELMAN RD                                                                                ADRIAN            MI    49221‐9272
BYUNG M CHO                                      31519 W 13 MILE RD                                                                              FARMINGTN HLS     MI    48334‐2103
C & C CAPITAL PARTNERS LLC                       2711 N SEPULVEDA BLVD                  339                                                      MANHATTAN BCH     CA    90266
C A ABRANTES                                     9 CHESTNUT STREET                                                                               N TARRYTOWN       NY    10591‐2612
C A ANDERSON                                     300 SOUTH RATH AVE                     UNIT #5                                                  LUDINGTON         MI    49431‐2077
C A BALLANCE                                     PO BOX 11                                                                                       DECATUR           IL    62525‐0011
C A CARLESON                                     2135 OAKWOOD CT                                                                                 TWIN FALLS        ID    83301‐4957
C A COVERT                                       215 SADONIA                                                                                     ST LOUIS          MO    63135‐1038
C A CRUZ                                         BOX 210                                FAJARDO                                PUERTO RICO
C A FELICIANO                                    503 PARKRIDGE DR                                                                                CHOWCHILLA        CA    93610
C A GOGOLA                                       202 COOK AVENUE                                                                                 YONKERS           NY    10701‐5214
C A LATIMER & MARGIREE C LATIMER JT TEN          1413 CHERRY ST EX                                                                               PENDLETON         SC    29670‐9347
C A MALCOM & MARTHA MALCOM JT TEN                PO BOX 37                                                                                       GOOD HOPE         GA    30641‐0037
C A MOSES                                        1601 N TRUTT RD                                                                                 MUNCIE            IN    47303‐9223
C A PERCH                                        21 GLEN ROCK DR                                                                                 KINNELON          NJ    07405‐3144
C A PULIDO                                       5051 FREEMAN RD                                                                                 EATON RAPIDS      MI    48827‐9051
C A ROBINSON                                     9651 S WINCHESTER                                                                               CHICAGO           IL    60643‐1613
C A TEESDALE                                     14379 ROSEMONT                                                                                  DETROIT           MI    48223‐3555
C A WILDER & NETTI L WILDER JT TEN               1837 NUECES DR                                                                                  ALLEN             TX    75013‐4747
C AGNES MITCHELL                                 330 DIAMOND HILL RD                                                                             WARWICK           RI    02886‐6810
C ALAN CARL                                      120 ENSWORTH AVE                                                                                NASHVILLE         TN    37205‐2002
C ALLEN FAVROT                                   2600 ST CHARLES AVE                                                                             NEW ORLEANS       LA    70130
C ALLEN WALLACE                                  PO BOX 10744                                                                                    GOLDSBORO         NC    27532‐0744
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 532 of 850
Name                                                Address1                               Address2                Address3       Address4          City            State Zip

C ALLEN WALLACE & LOUISE W WALLACE JT TEN           PO BOX 10744                                                                                    GOLDSBORO       NC    27532‐0744
C ANDREW NOFTSGER & NANCY L NOFTSGER JT TEN         627 6TH AVE                                                                                     SIDNEY          OH    45365‐1046

C ASHBY                                             45 RANDAL HEIGHTS                                                                               MIDDLETOWN      NY    10940
C B NOEL                                            PO BOX 51252                                                                                    CHICAGO         IL    60651‐0252
C BARRACK EVANS                                     687 W 204TH ST                         #3D                                                      NEW YORK        NY    10034‐3009
C BARROW SWENSON TR GREEN VALLEY CORP PROF          777 N FIRST STREET 5TH FL                                                                       SAN JOSE        CA    95112‐6350
SHAR TR UA 6/15/77
C BARRY BARNHORN                                    351 CIRCLEWOOD LANE                                                                             CINCINNATI      OH    45215‐4108
C BARTON THOMPSON JR CUST ELIZABETH A               1803‐B W PARK ROW DR                                                                            ARLINGTON       TX    76013‐3505
THOMPSON UGMA TX
C BERT ANDREN & CAROLYN R ANDREN TR UA              439 REDDING RD                                                                                  FAIRFIELD       CT    06824
04/17/2009 ANDREN LIVING TRUST
C BLAIR IVES JR                                     77 MIDDLE RD APT 160                                                                            BRYN MAWR       PA    19010‐1761
C BLAIR MILLER & PATRICIA G MILLER HIS WIFE TEN ENT 95 E OAK ST                                                                                     INDIANA         PA    15701‐2281

C BONNIE PITTMAN                                    10 HELMAN DR                                                                                    LAVALE          MD    21502‐7417
C BRADLEY HUFF JR & STEPHANIE G HUFF JT TEN         527 LOWER TOWER RD                                                                              NEWLAND         NC    28657
C BREWSTER PRENTISS III                             PO BOX 218                                                                                      MAGGIE VALLEY   NC    28751‐0218
C BRONSON DOYLE                                     1820 JENNA ST                                                                                   NEW ORLEANS     LA    70115‐5536
C BRUCE ALLISON                                     322 HUFFER RD                                                                                   HILTON          NY    14468‐9574
C BRUCE MARTIN                                      8217 SPRINGDALE DRIVE                                                                           WHITE LAKE      MI    48386‐4544
C BRUCE PARKER                                      16 FOUNTAIN ST                                                                                  CLINTON         NY    13323‐1704
C BURKES                                            2216 S 23RD ST                                                                                  SAGINAW         MI    48601‐4152
C C BOSWELL                                         4348 FORREST TERRACE                                                                            ANDERSON        IN    46013‐2438
C C COY                                             492 KREIDER DR                                                                                  FAIRBORN        OH    45324‐2149
C C FOUNTAIN & MARTHA D FOUNTAIN JT TEN             803 WATTS DR SE                                                                                 HUNTSVILLE      AL    35801‐2057
C C STAHL & COMPANY                                 ATTN C CLIFFORD STAHL                  4199 SHAYLER CREEK DR                                    BATAVIA         OH    45103
C C TYLER                                           4208 OTIS ST                                                                                    LANSING         MI    48917‐3530
C C YOUNG                                           18509 HEYDEN                                                                                    DETROIT         MI    48219‐3487
C CHRISTOPHER LUECK                                 6009 SHEPPARD CT                                                                                CHARLOTTE       NC    28211‐4356
C CLEVELAND ASHCRAFT                                710 MCCAULEY RD                                                                                 KINGSTON        ID    83839‐9742
C CLINTON RILA & WILLANNA S RILA JT TEN             506 VINE                                                                                        MT PLEASANT     IA    52641‐2845
C COULTER                                           815 WESTBRICK DRIVE                                                                             NEWTON          NC    28658
C CRAIG HEFLEBOWER                                  601 S POPLAR                                                                                    SALLISAW        OK    74955
C CRAIG OLIVER & BERNICE K OLIVER JT TEN            210 WEST 7TH                                                                                    FULTON          MO    65251‐2606
C CRAIG OTTO                                        45 N HARRISON AVE                                                                               BELLEVUE        PA    15202‐3311
C CURTIS PARKER TR KENNETH T ELLIS SUPPLEMENTAL     26 JENKINS PLACE                                                                                SCITUATE        MA    02066
TRUST UA 08/31/96
C D CAMPBELL                                        PO BOX 2739                                                                                     EDWARDS         CO    81632‐2739
C D DIXON JR                                        387 WALDEN AVE                                                                                  BUFFALO         NY    14211‐2332
C D HOFFMAN                                         9914 LEWIS & CLARK BLVD                                                                         ST LOUIS        MO    63136‐5323
C D HOLDEN                                          34820 MUNGER DRIVE                                                                              LIVONIA         MI    48154‐2457
C D HOLDEN CUST ELIZABETH HOLDEN GLASER UGMA        34820 MUNGER DRIVE                                                                              LIVONIA         MI    48154‐2457
MI
C D HOLDEN CUST TIMOTHY HOLDEN GLASER UGMA MI       34820 MUNGER DRIVE                                                                              LIVONIA         MI    48154‐2457

C D MCKENZIE                                        PO BOX 352                                                                                      FRANKLIN        GA    30217‐0352
C D PRUITT                                          12383 SANTIAGO DR                                                                               VICTORVILLE     CA    92392‐7445
C DALE MURPHY & MRS EMMA C MURPHY JT TEN            1193 DEAN MURPHY RD                                                                             BOURBON         MO    65441‐7126
C DAVID BITNER                                      413 GOLDLEAF AVE                                                                                VANDALIA        OH    45377‐2529
C DAVID THOMPSON                                    570 GROVE STREET                                                                                NORWELL         MA    02061‐1102
C DAVIS                                             810 KENSINGTON AVENUE                                                                           PLAINFIELD      NJ    07060‐2602
C DEAL MOORE                                        PO BOX 52878                                                                                    HOUSTON         TX    77052‐2878
C DEAN LEE & JEANNINE A LEE JT TEN                  1750 BIRCHWOOD LOOP                                                                             LAKELAND        FL    33811‐2921
C DEAN MC CORMICK & ELAINE MC CORMICK JT TEN        306 BURNS ST                                                                                    IDA GROVE       IA    51445‐1316

C DENISE BAER                                       3109 E 48 STREET                                                                                TULSA           OK    74105‐5312
C DIANE BARTH                                       6083 FAWNWOOD DR                                                                                GREENWOOD       IN    46143‐9143
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 533 of 850
Name                                              Address1                               Address2              Address3         Address4          City             State Zip

C DIANE BARTH & PHILIP W BARTH JT TEN             6083 FAWNWOOD DR                                                                                GREENWOOD        IN    46143‐9143
C DIANE RAY                                       19085 SYCAMORE GLEN DR                                                                          TRABUCO CANYON   CA    92679‐1082

C DIANNE RUSS                                     8601 ALMAHURST TRL                     APT C                                                    FLORENCE         KY    41042‐7330
C DONALD BROHAWN & SARA LEE BROHAWN JT TEN        PO BOX 42                                                                                       TYASKIN          MD    21865‐0042

C DORIS GONCH                                     41 JONES AVE                                                                                    NEW BRUNSWICK    NJ    08901‐2850
C DOUGLAS ACORD & ROSE MARIE ACORD JT TEN         50126 SCOTT COURT                                                                               SHELBY TWP       MI    48317‐6344
C DOUGLAS CROUCH                                  PO BOX 13855                                                                                    DENVER           CO    80201‐3855
C DOUGLAS DUNLAP                                  PO BOX 444                                                                                      CHRISTMAS        FL    32709‐0444
C DUANE ROUSE                                     1396 N US HIGHWAY 23                                                                            EAST TAWAS       MI    48730‐9441
C E CARSON                                        18551 CAPITOL                                                                                   SOUTHFIELD       MI    48075‐2608
C E DOBBINS                                       17642 WRIGHTWOOD                                                                                HUNTINGTON BE    CA    92649‐4954
C E ECK                                           11001 EDGEBROOK LN                                                                              IND HEAD PARK    IL    60525
C E FREAS JR                                      1990 AMETHYST DR                                                                                LONGMONT         CO    80504‐7782
C E FREEMAN                                       512 W 2ND ST                                                                                    FAIRMOUNT        IN    46928‐1612
C E GILMORE                                       10331 VARNUM DR                                                                                 ST LOUIS         MO    63136‐2340
C E MATAYA                                        9800 DEBBIE DR                                                                                  DITTMER          MO    63023‐1932
C E MC NEILL                                      1016 EAST BLANCKE STREET                                                                        LINDEN           NJ    07036‐2254
C E MILLS                                         575 SCRABBLE RD                                                                                 MARTINSBURG      WV    25401‐8972
C E THOMAS HOUSER                                 5046 E CALLE DEL SOL                                                                            CAVE CREEK       AZ    85331‐5505
C E TRICK                                         7 N FRONT ST                                                                                    YAKIMA           WA    98901‐2609
C EARL COLOMB III                                 3802 RUIDOSA                                                                                    DALLAS           TX    75228‐1724
C EDMUNDS RHOAD & RUTH M RHOAD JT TEN             285 67TH ST                                                                                     AVALON           NJ    08202‐1110
C EDWARD JOHNSON & RUTH JOHNSON JT TEN            18 BOGLE AVE                                                                                    N ARLINGTON      NJ    07031‐4726
C EDWARD JONES                                    806 KENT RD                                                                                     WAYNESBORO       VA    22980‐3418
C EDWARD WATTS                                    4916 FORGE RD                                                                                   PERRY HALL       MD    21128‐9577
C EDWARD WATTS & JACQUELINE L WATTS JT TEN        4916 FORGE ROAD                                                                                 PERRY HALL       MD    21128‐9577
C EDWIN POWL                                      131 WATERCRESS LANE                                                                             ELIZABETHTOWN    PA    17022‐1666
C ELIZABETH YOUNG & JILL S HAMMOND JT TEN         390 HERITAGE DR                                                                                 MILFORD          MI    48381‐2815
C ELWOOD JOHNSON & GAYLEN R JOHNSON JT TEN        303 N ORLANDO AVE                      MURRAY ESTATES 15‐B                                      OCEAN VIEW       DE    19970‐9760

C ERIC MASTERS                                 3725 IRVING ST                            APT A                                                    DENVER           CO    80211‐2781
C ERIK NIELSEN                                 22391 BALD MOUNTAIN                                                                                SONORA           CA    95370‐8561
C ERNEST CRAIG                                 PO BOX 2565                                                                                        ACTON            MA    01720‐6565
C ESTER THOMPSON                               3621 WESLEY ST                                                                                     FLINT            MI    48505‐3887
C EUGENE RIFFLE & MRS NANCY J RIFFLE JT TEN    1878 YORK ROAD                                                                                     GETTYSBURG       PA    17325‐8287
C EUGENE SUTTON                                6097 STOKESTOWN‐ST JOHNS RD                                                                        AYDEN            NC    28513‐8541
C EWING MC DOWELL & DEBORAH J MC DOWELL JT TEN 186 MC GRADY RD                                                                                    RISING SUN       MD    21911‐2538

C F MODISETT TR MODISETT LIVING TRUST UA 09/10/01 1309 N EVERGREEN RD #5                                                                          SPOKANE VALLEY   WA    99216‐3714

C F QUALIA TR UA QUALIA LIVING TRUST 12/17/90     PO BOX 7221                                                                                     MIDLAND          TX    79708‐7221

C F STERLING                                      PO BOX 90258                                                                                    BURTON           MI    48509‐0258
C FONTAINE CARTER                                 600 S CHERRY ST                                                                                 KERNERSVILLE     NC    27284‐2718
C FRANK KERN & DARLENE L KERN JT TEN              1114 DILLION CIR                                                                                LANSING          MI    48917‐4059
C FRANK OOMEN                                     PO BOX 719                                                                                      TRENTON          FL    32693‐0719
C FREDERICK HINSON                                6032 SPALDING PARK PL                                                                           NORCROSS         GA    30092‐7624
C FREDERICK KRAYBILL                              30 TICEHURST LANE                                                                               MARBLEHEAD       MA    01945‐2837
C GARY BLOUGH & SUSAN L BLOUGH JT TEN             6201 HAGAR SHORE RD                                                                             COLONA           MI    49038‐9302
C GILBERT ADAMS JR & ANN ADAMS JT TEN             TYRONE RD                              BOX 6440                                                 VERSAILLES       KY    40383
C GLEN HUFF                                       2593 LAKEVIEW ROAD                                                                              AMERICAN FALLS   ID    83211‐5241
C GOODE JR                                        327 FREEMAN FOREST DR                                                                           NEWNEN           GA    30265‐3397
C GORDON HAMMANN JR                               13713 HARCUM RD                                                                                 PHOENIX          MD    21131‐1607
C GREG MC CARTNEY                                 838 STRATFORD DR                                                                                LAKELAND         FL    33813‐4701
C GUS FANTINE & ELIZABETH FANTINE JT TEN          136 CAMBON AVE                                                                                  ST JAMES         NY    11780‐3042
C GUS GLASSCOCK JR                                PO BOX 519                                                                                      COLUMBUS         TX    78934‐0519
C H BUSH & S R BUSH JT TEN                        PO BOX 137                                                                                      GRAIN VALLEY     MO    64029‐0137
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 534 of 850
Name                                              Address1                            Address2                Address3       Address4          City             State Zip

C H HUGHLEY                                       6995 BEAVER TRAIL                                                                            RIVERDALE        GA    30296‐1929
C H MECHAM                                        9800 YANK GULCH ROAD                                                                         TALENT           OR    97540‐7780
C HARLAN HURLOCK III                              9 DUBLIN DR                                                                                  LUTHERVILLE      MD    21093‐5405
C HARNESS                                         521 WEST HOLBROOK ST                                                                         FLINT            MI    48505‐5908
C HASSEL OSBORNE                                  1101 DORSET ROAD                                                                             POWHATAN         VA    23139‐7810
C HENRY                                           5426 KENWOOD DR                                                                              NORTH PORT       FL    34287‐3009
C HENRY JONES JR                                  24 FALKIRK AVENUE                   PO BOX 453                                               CENTRAL VALLEY   NY    10917‐0453
C HIRAM UPSON                                     141 SHEARER RD                                                                               WASHINGTON       CT    06793‐1012
C HOWARD JOHNSON                                  COVENANT VILLAGE OF CRONWELL        52 MISSIONARY RD 4214                                    CRONWELL         CT    06416‐2134
C HUNT THOMAS TR UA 04/17/92 C HUNT THOMAS        431 E COURT AVE                                                                              JEFFERSONVILLE   IN    47131‐0148
REVOCABLE TRUST
C I THOMAS                                        4433 MAPLE CREEK DR                                                                          GRAND BLANC      MI    48439‐9054
C J ANASIS CUST STEVEN ANASIS UTMA CA             18462 SERRANO AVE                                                                            VILLA PARK       CA    92861‐2712
C J BAXTER                                        6024 F M 3136                                                                                ALVARADO         TX    76009‐9638
C J GREEN                                         2720 HEDGEWOOD DRIVE NW                                                                      ATLANTA          GA    30311‐1204
C J HANSROTE JR                                   305 PAULETTE CIR                                                                             LYNCHBURG        VA    24502
C J HARRIS                                        0610 E SECOND ST                                                                             FLINT            MI    48503‐1933
C J JACOB                                         119 PATERSON RD                                                                              FANWOOD          NJ    07023‐1040
C J MURPHY III CUST COLLEEM JOHN MURPHY UTMA LA   517 WYCLIFF WAY                                                                              ALEX             LA    71303‐2943

C J MURPHY III CUST COLLEEN JON MURPHY UTMA LA    517 WYCLIFFE WY                                                                              ALEXANDRIA       LA    71303‐2943

C J MURPHY III CUST ERIN ELIZABETH MURPHY UTMA LA 517 WYCLIFF WAY                                                                              ALEX             LA    71303‐2943

C J MURPHY III CUST ERIN ELIZABETH MURPHY UTMA LA 517 WYCLIFFE WY                                                                              ALEXANDRIA       LA    71303‐2943

C J PELLECCHIA                                    505 NEW JERSEY AVENUE                                                                        BRICK            NJ    08724‐1413
C J SOLIK                                         3607 GLOSGOW                                                                                 LANSING          MI    48911‐1325
C J THOMAS                                        G7183 N CENTER RD                                                                            MT MORRIS        MI    48458
C J TURNER                                        HOLDEN LTD LOCKED BAG 2008          NORTH RYDE NSW                         1670 AUSTRALIA
C J VANDERWILT                                    1208 UPPER RIDGEWAY ROAD                                                                     CHARLESTON       WV    25314‐1428
C JACK SAVAGE                                     1766 NATIONAL ROAD                                                                           WHEELING         WV    26003‐5519
C JACKSON DARNALL                                 136 S CUYLER                                                                                 OAK PARK         IL    60302‐2916
C JEROME MANGAS & PATRICIA J MANGAS JT TEN        4428 PINEVIEW DR                                                                             MOHNTON          PA    19540
C JEROME MANGAS & PATRICIA MANGAS JT TEN          5044 PINE VIEW DR                                                                            MOHNTON          PA    19540‐8734
C JOAN JANNEY LEAF & JOHN M LEAF JT TEN           732 N W 6 STREET                                                                             BOCA RATON       FL    33486
C JOHN BRANNON                                    6572 SENECA RD                                                                               SHARPSVILLE      PA    16150‐8414
C JOHN BRANNON & MRS GLADYS E BRANNON JT TEN      6572 SENECA RD                                                                               SHARPSVILLE      PA    16150‐8414

C JOHN MURPHY III & NECHA O MURPHY TEN COM        PO BOX 8503                                                                                  ALEXANDRIA       LA    71306‐1503

C JOHN MURPHY III CUST NICOLE MARIE SCROGGS     517 WYCLIFFE WY                                                                                ALEXANDRIA       LA    71303‐2943
UTMA LA
C JONES                                         1191 GOD FILY LANE                                                                             SCHANECTADY      NY    12309
C JOSEPH RANIERI                                20 MARKIE DRIVE WEST                                                                           ROCHESTER        NY    14606‐4555
C JOSEPHINE MANN                                812 BOULDER RD                                                                                 INDIANAPOLIS     IN    46217‐3912
C JUNE DROZ & KATHY DROZ AMSTOCK TR DROZ FAMILY 12053 CREST COURT                                                                              BEVERLY HILLS    CA    90210‐1349
TRUST UA 03/31/86
C K LAM                                         PO BOX 9022                                                                                    WARREN           MI    48090‐9022
C K VENKATESWARAN                               6419 HICKORY HOLLOW CT                                                                         FLINT            MI    48532‐2055
C K VENKATESWARAN & LAKSHMI VENKATESWARAN JT 6419 HICKORY HOLLOW CT                                                                            FLINT            MI    48532‐2055
TEN
C KEATING BOWIE JR                              6898 EDGE CREEK RD                                                                             EASTON           MD    21601
C KENNETH DIVERS                                161 IDLEWOOD BLVD                                                                              BALDWINSVILLE    NY    13027‐3259
C KEVING JACKSON TR PSHIDE TRUST UA 12/23/94    410 W JAMESTOWN ST                                                                             ANDOVER          KS    67002‐8810

C KING                                            22335 HEATHERBRAE WAY S                                                                      NOVI             MI    48375‐4931
C L BROWN III                                     PO BOX 1001                                                                                  CORSICANA        TX    75151
C L GAUNT                                         PO BOX 405                                                                                   GIBSON           NC    28343‐0405
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 535 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

C L GILSTRAP                                         148 DOE MOUNTAIN DR                                                                         DAHLONEGA         GA    30533‐5379
C L NEUNER                                           4243 TERRA GRANDA 3B                                                                        WALNUT CREEK      CA    94595‐4024
C L ODE JR                                           133 LOCK DR                                                                                 BALLWIN           MO    63011‐3710
C L SMITH                                            1407 STAGE RD                                                                               HARTSELLE         AL    35640‐3508
C L WALTERS                                          391 E CATALINA DR                                                                           PHOENIX           AZ    85012‐3003
C L WESTBROOK                                        10660 DE HAVEN                                                                              PACOIMA           CA    91331‐2055
C LANCE MARSHALL III                                 8750 FREDERICK PIKE                                                                         DAYTON            OH    45414
C LAVERNE LANDT                                      PO BOX 253                                                                                  MONONA            IA    52159‐0253
C LEO ROBERTSON                                      37‐04 PARSONS BLVD                                                                          FLUSHING          NY    11354‐5836
C LEWIS                                              52 WHITE PLAINS AVE                                                                         ELMSFORD          NY    10523‐2723
C LEWIS                                              129 CABOT ST                                                                                ELMSFORD          NY    10523‐2130
C LUTHER RABUN                                       3290 NORMANDY CIR                                                                           MARIETTA          GA    30062‐5325
C LYNN SMITH                                         22 DANBURY RD                                                                               SWEDESBORO        NJ    08085‐2512
C LYNNE DAILEY                                       13914 FRENCH PARK                                                                           HELOTES           TX    78023‐4522
C M BLANCH                                           105 OAK DRIVE                                                                               CATONSVILLE       MD    21228‐5137
C M CLARKE                                           218 CHUMA MONKA AVE                                                                         TRINIDAD          WI    0ZZZZ
C M KOPF                                             14431 BLUE SKY CT                                                                           CARMEL            IN    46032‐1198
C M SWANSON                                          81 MORTIS CT                       UNIT 9134                                                ELLIJAY           GA    30540‐5368
C M TAYLOR                                           11808 BEACON HILL DR                                                                        PLYMOUTH          MI    48170‐3604
C M YOUNG                                            5535 NORWAY DR                                                                              SAINT LOUIS       MO    63121‐1439
C MARGARET SMITH & STANLEY A SMITH JT TEN            1848 MIRABEAU                                                                               OKEMIS            MI    48864‐2944
C MARIE WINBURN                                      1373 MULBERRY PIKE                                                                          EMINENCE          KY    40019‐1457
C MARK STOPPELS & MARTHA S STOPPELS JT TEN           2019 BRETON SE                                                                              GRAND RAPIDS      MI    49546‐5555
C MARLIN HESS                                        736 WOODFIELD DRIVE                                                                         LITITZ            PA    17543
C MARTIN STRYKER & CAROLYN A STRYKER JT TEN          50403 FELLOWS HILL DR                                                                       PLYMOUTH          MI    48170‐6351
C MAYNARD NEAL                                       816 FAIRGROVE WAY                                                                           TROTWOOD          OH    45426‐2213
C MAZZOCHETTI                                        5 A CHURCH LANE                                                                             VALLEY COTTAG     NY    10989‐1944
C MCGHEE SR                                          684 27TH ST                                                                                 OAKLAND           CA    94612‐1108
C MICHAEL BUONO CUST ZACHARY HUNTER BUONO            3139 GULLANE CT                                                                             POWHATAN          VA    23139
UTMA MD
C MICHAEL BUTTS & LYNN M BUTTS JT TEN                5204 ANGLER LN                                                                              GREENSBORO        NC    27455
C MICHAEL KIMBER & DONNA C KIMBER JT TEN             34216 JEFFERSON AVE                                                                         ST CLAIR SHORES   MI    48082‐1164
C MICHAEL ROSE CUST JESSE ROSE UTMA CA               15207 CLYDELLE AVE                                                                          SAN JOSE          CA    95124‐5304
C MICHAEL TAYLOR                                     11808 BEACON HILL DR                                                                        PLYMOUTH          MI    48170‐3604
C MILFORD HUNTER JR                                  1825 ST JULIAN PL 6‐L                                                                       COLUMBIA          SC    29204‐2421
C MILTON JACKSON                                     404 BROAD ST                                                                                STARKVILLE        MS    39759‐2614
C MORRIS DAVIS                                       3607 PINNACLE ROAD 1                                                                        AUSTIN            TX    78746‐7416
C MORTON THOMPSON TR UA 07/02/2008 THOMPSON 115 CEDAR DR                                                                                         CLINTON           IL    61727
FAMILY TRUST
C N MACFADDEN                                        1401 SHADY LANE DR                                                                          OWOSSO            MI    48867‐1431
C NELSON                                             1460 VIENNA RD                                                                              NILES             OH    44446‐3531
C OLEN GUNNIN                                        185 CREEK VIEW TRL                                                                          FAYETTEVILLE      GA    30214‐7229
C ORVAL & ALICE I SELDERS T TR UA 09/02/81 C ORVAL & 261 MICHELLE RD                                                                             PALM SPRINGS      CA    92262‐6814
ALICE I SELDERS
C OWEN MCQUADE TR CATHERINE F MCQUADE LIVING 41203 SOUTHWIND                                                                                     CANTON            MI    48188‐1346
TRUSTUA 08/10/98
C PARADELA                                           1208 FAIRMOUNT AVENUE                                                                       ELIZABETH         NJ    07208‐3305
C PATRICK ALLEN                                      335 SKYLINE PKWY                                                                            ATHENS            GA    30606‐3852
C PAUL LITTLEFIELD                                   EAST SHORE DRIVE                   PO BOX 4                                                 SILVER LAKE       NH    03875‐0004
C PAUL P MCLAUGHLIN                                  705 SIMCOE ST N                    OSHAWA ON                              L1G 4V6 CANADA
C PAYNE LUCAS JR                                     299 LAKE ROYALE                                                                             LOUISBURG         NC    27549‐9517
C PERRY LACEY                                        5601 N A1A UNIT 109 SO                                                                      VERO BEACH        FL    32963‐1043
C R BANKS                                            BOX 82                                                                                      ST MATTHEWS       SC    29135‐0082
C R BURGESS JR                                       409 N EUCLID ST                                                                             MARISSA           IL    62257‐1339
C R MC DONALD JR                                     5700 WILLIAMSBURG LANDING DR       APT 34                                                   WILLIAMSBURG      VA    23185‐3779
C RALPH SCHWAB & LINDA M SCHWAB JT TEN               4301 S RIDGEVIEW RD                                                                         ANDERSON          IN    46013‐9703
C RICHARD BOBEAR                                     1 ROLLING BROOK CT                                                                          CLIFTON PARK      NY    12065‐2201
C RICHARD FRIEDRICH TR C RICHARD FRIEDRICH TRUST 65 WOODBRIDGE TERRACE                                                                           S HADLEY          MA    01075‐1135
UA 07/27/87
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 536 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

C RICHARD MORSE JR                                 12420 WOODPECKER LN                                                                            LAURINBURG        NC    28352
C RICHARD NYE CUST DERICK E NYE UTMA PA            1201 MOUNTAIN RD                                                                               NEWBURG           PA    17240‐9139
C RICHARD NYE CUST KATHERINE E NYE UTMA PA         1201 MOUNTAIN RD                                                                               NEWBURG           PA    17240‐9139
C RICHARD SILVERMAN & LEE SILVERMAN JT TEN         47 E 88TH STREET #80                                                                           NEW YORK          NY    10128‐1152
C RICHARDSON                                       2610 S 27TH                                                                                    SAGINAW           MI    48601‐6755
C RITA DEVILBISS CUST ETHAN L DEVILBISS UTMA TX    PO BOX 733                                                                                     CARRIZO SPRINGS   TX    78834‐6733

C ROBERT FRANCIS                                   PO BOX 449                                                                                     PLYMOUTH          NH    03264‐0449
C ROBERT LESSIG                                    50 MEADOWCREST DR                                                                              PARKERSBURG       WV    26101‐9394
C ROBERT MAXFIELD JR & SARA ANN MAXFIELD JT TEN    26530 DUNDEE ROAD                                                                              HUNTINGTON        MI    48070‐1321
                                                                                                                                                  WOODS
C ROBERT SHINGLETON & PEARL M SHINGLETON JT TEN 23 ALLMAN AVE                                                                                     BUCKHANNON        WV    26201‐2003

C ROBERT YELLIN                                    BOX 158                                                                                        CHICAGO           IL    60690‐0158
C ROBERTS MULLOY III                               200 N BAYVIEW AVE                                                                              SEASIDE PARK      NJ    08752‐1633
C ROMAYNE YOUNG                                    315 LOUISA ST                                                                                  WILLIAMSPORT      PA    17701‐3220
C ROSS COOK JR                                     32 PILGRIM DR                                                                                  WINCHESTER        MA    01890‐3371
C ROSS KELL & REBA L KELL JT TEN                   10 KENGREY DRIVE                                                                               CARLISLE          PA    17013‐7442
C RUSSELL MILLER                                   270 DINNERBELL RD                                                                              BUTLER            PA    16002‐8862
C S LOCK                                           492 KOPP RD                                                                                    WATERLOO          IL    62298‐1908
C SCOTT LANGLEY                                    44933 MIDDLEBURY CT                                                                            CANTON            MI    48188‐3208
C SCOTT SIPHERD                                    6149 S 81ST ST                                                                                 LINCOLN           NE    68516‐3871
C STEVEN CROSBY & TINA P CROSBY JT TEN             2 WHEELER GATE                                                                                 WESTPORT          CT    06880‐5072
C SUE RAINEY                                       308 STATE ROAD 58 E                                                                            BEDFORD           IN    47421‐7671
C SUE VANBLARICUM                                  904 FORREST CIRCLE                                                                             LAFAYETTE         TN    37083‐2108
C SUE VANBLARICUM & RICHARD A VANBLARICUM JT       412 COLLEGE ST                                                                                 LAFAYETTE         TN    37083‐1705
TEN
C SUZANNE BUECHNER                                 96 LONGVIEW LN                                                                                 NEWTOWN SQ      PA      19073‐1068
C T FOWLER                                         401 PINE ST D                                                                                  MILL VALLEY     CA      94941‐4039
C T SULLIVAN                                       2113 RUDY LN                                                                                   LOUISVILLE      KY      40207‐1280
C T THOMAS & ELIZABETH THOMAS JT TEN               8976 RUTH AVE                                                                                  ALLEN PARK      MI      48101‐1551
C TAYLOR NICHOLS                                   853 N OGDEN DR                                                                                 LOS ANGELES     CA      90046‐7307
C THEODORE AKERS CUST DANIELA A AKERS              849 DEBORAH LANE                                                                               ELK GROVE       IL      60007‐3041
C THOMAS GALLAGHER 3RD                             PO BOX 10550                                                                                   TALLAHASSEE     FL      32302‐2550
C THOMAS MILLS                                     6513 PAIGE CT                                                                                  SNOW HILL       MD      21863
C THOMAS TERRY                                     PO BOX 301                                                                                     BOYNE CITY      MI      49712‐0301
C THOMPSON & STELLA THOMPSON JT TEN                C/O CKE                               1175 JACKLING DR                                         HILLSBOROUGH    CA      94010‐6131
C THRESA BOWIE                                     20188 LITTLEFIELD                                                                              DETROIT         MI      48235‐1163
C VALENTE                                          111 BLACKFORD AVENUE                                                                           STATEN ISLAND   NY      10302‐1618
C VICTOR ARMSTRONG                                 1031 PERSIMMON CREEK DR                                                                        BISHOP          GA      30621‐1372
C VICTORIA LANDIS                                  41925 SOUTH DR                                                                                 CANTON TOWNSHIP MI      48188‐2620

C W BIDDY                                          3801 PACIFIC DR                                                                                AUSTELL           GA    30106‐1422
C W CLEATON                                        411 CHAPTICO RD                                                                                SOUTH HILL        VA    23970‐1609
C W HODGE                                          PO BOX 452                                                                                     PERRY             MI    48872‐0452
C W MARTIN                                         122 AVERY PLACE                                                                                CHEEKTOWAGA       NY    14225‐3965
C W MOELLER                                        1322 EDGEWOOD ROAD                                                                             BIRMINGHAM        MI    48009
C W OWENS                                          119 CATALINA CR                                                                                PORTLAND          TX    78374‐2627
C W PRICE & MRS DIANE LAI‐SIN CHUNG PRICE JT TEN   35 PERRY ST                                                                                    LAMBERTVILLE      NJ    08530‐1641

C W SEITZINGER                               105 WELLINGTON COVE                                                                                  DANVILLE          KY    40422‐2700
C W SHELTON                                  2228 WAKITA DRIVE                                                                                    MARIETTA          GA    30060‐5522
C W SUMPTER                                  5505 LAURENE                                                                                         FLINT             MI    48505‐2558
C W TAYLOR                                   226 BLYMYER AVENUE                                                                                   MANSFIELD         OH    44903‐2306
C WARD SKINNER & JAMES E SKINNER JT TEN      4444 W COURT ST                                                                                      FLINT             MI    48532‐4329
C WARE MADDEN & MAZIE ANDERSON MADDEN JT TEN 1798 HUNTINGTON DR                                                                                   CHARLESTON        SC    29407‐3119

C WAYNE FRY                                        6340 RED ROCK DR                                                                               IDAHO FALLS       ID    83401
C WAYNE FRY & VIRGINIA E FRY JT TEN                6340 RED ROCK DR                                                                               IDAHO FALLS       ID    83401
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                        Part 1 of 8 Pg 537 of 850
Name                                              Address1                               Address2                 Address3      Address4             City              State Zip

C WAYNE LAPP                                      1067 CLOVERLEAF CI                                                                                 BROOKSVILLE       FL    34601‐8304
C WESLEY LOGAN JR & SHERRI J LOGAN JT TEN         435 BARLEY DRIVE                                                                                   NEWARK            DE    19702‐3725
C WESTON SANDIFER JR                              240 LINDEN DRIVE                                                                                   BOULDER           CO    80304‐0471
C WHEELER BEGGS & MRS THERESA G BEGGS JT TEN      3 SPAULDING ROAD                                                                                   GEORGETOWN        MA    01833‐2215

C WILLIAM COUNTESS                                360 COHAWKIN RD                                                                                    SEWELL            NJ    08080‐4328
C WILLIAM FISHER                                  19563 TOWNLINE RD                                                                                  TREMONT           IL    61568‐8883
C WILLIAM GEISSEL & JEAN CAROL GEISSEL JT TEN     1646 ROCKCRESS DR                                                                                  JAMESON           PA    18929‐1645
C WILLIAM HALL                                    16 STANNARD DR                                                                                     ESSEX JUNCTION    VT    05452‐3420
C WILLIAM SCHLUCKEBIER                            13010 N 3RD AVE                                                                                    DONNELLSON        IL    62019‐2130
C Y WOO CHEN TR JIA JIUN CHEN UA 10/25/61         121 W WINNIE WAY                                                                                   ARCADIA           CA    91007‐8050
C ZARAFONITIS                                     PO BOX 102                                                                                         BORREGO SPRINGS   CA    92004‐0102

C&C JOINER FAMILY LIMITED PARTNERSHIP            1225 KIPP AVE                                                                                       KEMAH             TX    77565‐3032
CACHUA M RANDALL                                 8110 VALLEY VIEW CIR                    APT 80                                                      WESTLAND          MI    48185
CACIANO PIRES                                    27 UNION ST                                                                                         MILFORD           MA    01757‐2309
CADAR B HELMS                                    148 SUN VALLEY LN                                                                                   WEATHERFORD       TX    76087‐5318
CADIJAH PATTERSON                                ATTN R E PATTERSON                      PO BOX 52610                                                TULSA             OK    74152‐0610
CADLE BURRELL JR                                 PO BOX 447                                                                                          GRAYLING          MI    49738‐0447
CAESAR D CONEY                                   887 EVANS AVE                                                                                       MANSFIELD         OH    44907‐1901
CAETANO FALCONE‐FILHO                            RUA DUARTE LERTE 251                    04720 O70 SAO PAULO SP   BRASIL        BRAZIL
CAHTERINE M KASEL TR CATHERINE M KASEL           5911 MIDNIGHT PASS ROAD #308                                                                        SARASOTA          FL    34242‐8768
REVOCABLE TRUST UA 02/02/04
CAILEN JEAN SCHMIEDER & JEAN MARIE SCHMIEDER JT 3313 S STATE RD                                                                                      DAVISON           MI    48423‐8751
TEN
CAILIN F KENNEDY                                 11366 E WILSON RD                                                                                   OTISVILLE         MI    48463‐9733
CAITLIN J GOODRICH                               3337 AINSLIE ST                                                                                     PHILADELPHIA      PA    19129‐1423
CAITLIN M ODONNELL                               5 ANCIENT RUBBLY WAY                                                                                BEVERLY           MA    01915‐1566
CAITLIN N STORINGE                               6377 E SENECA TURNPIKE                                                                              JAMESVILLE        NY    13078
CAITLIN WADLER                                   100 BELLE MARSH RD                                                                                  BERWICK           ME    03908‐2171
CAL D FERGUSON                                   3305 BUICK ST                           APT 69                                                      FLINT             MI    48505‐4297
CAL L DAVIDSON TR CAL L DAVIDSON REVOCABLE TRUST 220 N 22ND PLACE UNIT 1098                                                                          MESA              AZ    85213‐8375
UA 11/13/04
CALBERT E WELLIVER & BETTE JANE WELLIVER JT TEN  293 HAMILTON AVE                                                                                    PENNSVILLE        NJ    08070‐1303

CALCEDONIO NICOLOSI                               534 LINDEN AVE                                                                                     ELIZABETH         NJ    07202‐1711
CALDONIA PORTER                                   PO BOX 23162                                                                                       BELLEVILLE        IL    62223‐0162
CALDWELL FERGUSON                                 876 ONTARIO STREET NW                                                                              PALM BAY          FL    32907
CALE ENGLE JR                                     60 COACH DR                                                                                        TIPP CITY         OH    45371‐2210
CALE N YOUNG                                      5490 W OUTER DR                                                                                    DETROIT           MI    48235‐1459
CALEB ADLER                                       3438 MIDDLETON AVE                     #2                                                          CINCINNATI        OH    45220‐1627
CALEB BUSCH                                       11 SALINE RIDGE RD                                                                                 ELDON             MO    65026‐4935
CALEB D LONGENBERGER                              16737 COLFAX LN                                                                                    WESTFIELD         IN    46074‐8211
CALEB D RATCLIFF JR                               631 SHEFFIELD RD                                                                                   AUBURN HILLS      MI    48326‐3528
CALEB J MELAMED                                   3324 ASHLEY LANE                                                                                   SPRINGFIELD       IL    62707‐8257
CALEB JAMES BITZER                                3 WOLF CRES                            REDWOOD MEADOWS AB B                   T3Z 1A3 CANADA
CALEB R PEMBERTON                                 4602 FENIMORE DR                                                                                   COLUMBIA          MO    65202‐3479
CALEB R QUINOY                                    44 DEPEYSTER ST                                                                                    SLEEPY HOLLOW     NY    10591‐2704
CALEB S HENDERSON                                 1799 HIMROD RD                                                                                     PENN YAN          NY    14527‐8740
CALEB STOKES                                      5812 LAKEVIEW DRIVE                                                                                HANAHAN           SC    29406‐2428
CALEB THURMAN                                     630 WHITNEY AVE                                                                                    AKRON             OH    44306‐2037
CALEB TOWNSEND                                    7048 SEA OATS LN                                                                                   INDIANAPOLIS      IN    46250
CALEB V KOEPPEN CUST NOEL KOEPPEN UTMA (IA)       4680 MISSION AVE                                                                                   MARION            IA    52302‐6022

CALEB Y WINSHIP                                   384 STATE ST                                                                                       BROOKLYN          NY    11217‐1707
CALENTHE E GIBSON                                 6725 BUNCOMBE RD 199                                                                               SHREVEPORT        LA    71129‐9457
CALHOUN COUNTY                                    ATTN TRENT BARNETT                     PO BOX 118                                                  PITTSBORO         MS    38951‐0118
CALIFORNIA ANIMAL DEFENSE & ANTI VIVISECTION      PO BOX 3047                                                                                        GARDENA           CA    90247‐1247
LEAGUE INC
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                       Part 1 of 8 Pg 538 of 850
Name                                              Address1                              Address2                     Address3   Address4          City               State Zip

CALIFORNIA JESUIT MISSIONARIES                    284 STANYAN ST                                                                                  SAN FRANCISCO      CA    94118‐4230
CALINE GOTTWALD                                   4173 E WALNUT RD                                                                                GILBERT            AZ    85297‐8616
CALISTA JANE COOK                                 2241 W JEFFERSON STREET APT 142D                                                                KOKOMO             IN    46901‐4148
CALISTRO G PEREZ                                  33412 14TH STREET                                                                               UNION CITY         CA    94587‐2221
CALLEY M LAWSON                                   20410 GARDENDALE                                                                                DETROIT            MI    48221‐1306
CALLEY R DOBECK                                   5731 E OWENS AVE                                                                                LAS VEGAS          NV    89110‐1716
CALLIE B LANGFORD                                 11419 TUSCORA AVE                                                                               CLEVELAND          OH    44108‐3151
CALLIE D MOORE                                    1815 19TH AVE SW                                                                                DECATUR            AL    35601‐4605
CALLIE K GANTT                                    216 JOHNSON CIRCLE                                                                              DEFIANCE           OH    43512‐1766
CALLIE M BOND                                     1011 BEAL RD                                                                                    MANSFIELD          OH    44905‐1609
CALLIE M BROWN                                    420 WYNDHAM CT                                                                                  WILLIAMSPORT       PA    17701‐3932
CALLIE M POPLAR                                   1917 MARLOWE DR                                                                                 FLINT              MI    48504‐7000
CALLIE M POPLAR & BRENDA J POPLAR JT TEN          1917 MARLOWE DRIVE                                                                              FLINT              MI    48504‐7000
CALLIE M POPLAR & TWANIA RENEE POPLAR JT TEN      1917 MARLOWE DR                                                                                 FLINT              MI    48504‐7000

CALLIE M SECHMAN                                  5300 E RAYMOND ST                                                                               INDIANAPOLIS       IN    46203‐4925
CALLIE P WILLIAMS                                 PO BOX 28416                                                                                    JACKSONVILLE       FL    32226‐8416
CALLOWAY LIVESAY                                  2502 WARRENDALE AVE                                                                             DAYTON             OH    45404‐2661
CALLY HENDRICK & JUDY HENDRICK JT TEN             129 W CLOVERBROOK DR                                                                            OWOSSO             MI    48867‐1078
CALMP F BAILEY & KITA S BAILEY JT TEN             3531 WILLOW RUN DR                                                                              TOLEDO             OH    43607‐2644
CALMUS D LEAGUE                                   331 CO RD 1290                                                                                  CULLMAN            AL    35058‐0341
CALOGERO FIRETTO                                  171 SOUTHWOOD DR                                                                                OLD BRIDGE         NJ    08857
CALOGERO RUSSO                                    52 EMERALD POINT                                                                                ROCHESTER          NY    14624‐3702
CALTON B SPIVEY                                   2038 BRIARGROVE DR                                                                              TROY               MI    48098‐4235
CALTRICK SIMONE                                   5717 NEVADA AVE NW                                                                              WASHINGTON         DC    20015‐2545
CALVARY MEMORIAL EPISCOPAL CHURCH                 C/O SALLY HUEBLER                     2002 N MORSON                                             SAGINAW            MI    48602‐3447
CALVERT F RUTH                                    3890 FALLING WATER DR                                                                           RENO               NV    89509‐2100
CALVERT T HASLER                                  20192 LINDEN RD NW                                                                              SOAP LAKE          WA    98851‐9600
CALVERT W SMITH                                   13332 N NORFORK                                                                                 DETROIT            MI    48235‐1039
CALVERY METHODIST CHURCH                          ATTN REV JARQUELIN R SMOTHERS         1471 RALPH DAVID ABERNATHY   BLVD S W                     ATLANTA            GA    30310‐1645
CALVIN A CORVIN                                   3811 WOODROW AVE                                                                                PARMA              OH    44134‐3829
CALVIN A GILMER                                   2712 APPLEBROOK LN                                                                              CHATTANOOGA        TN    37421‐1150
CALVIN A HILL JR                                  PO BOX 769                                                                                      RYE                NH    03870‐0769
CALVIN A MAAS                                     11622 LANCER DR                                                                                 STERLING HEIGHTS   MI    48313‐5145

CALVIN A SEAL                                     4650 SHAW RD                                                                                    GLADWIN            MI    48624‐8910
CALVIN A STARKS                                   67 OBRIEN DR                                                                                    LOCKPORT           NY    14094‐5112
CALVIN ADAMS                                      4 OCEANS WEST BLVD APT 307D                                                                     DAYTONA BEACH      FL    32118‐5973
CALVIN ADAMS                                      9581 APPOLINE ST                                                                                DETROIT            MI    48227‐3713
CALVIN AKERS                                      2113 DR ROBINSON RD                                                                             SPRING HILL        TN    37174
CALVIN AND ROBERTA HUNT LLC                       9585 WADES MILL ROAD                                                                            MOUNT STERLING     KY    40353‐9645
CALVIN ANDERSON                                   BOX 450                                                                                         DECORAH            IA    52101‐0450
CALVIN B DUNWOODY                                 22 WIGGINS POND LANE                                                                            KENNEBUNK          ME    04043‐6701
CALVIN B ORR JR CUST CAROLINE ELISE ORR UGMA SC   1911 BRIGADOONE LN                                                                              FLORENCE           SC    29505‐3241

CALVIN BAKER                                      6311 SHEARWATER DR                                                                              FAIRFIELD          OH    45014‐4925
CALVIN BIRDIETT                                   2915 BROOKSIDE                        APT 105                                                   LAKE ORION         MI    48360‐2601
CALVIN BRADFORD                                   3011 N BETTY JEAN LN                  # 127                                                     NEW CASTLE         IN    47362‐9042
CALVIN BREGGER JR & CATHY ARLENE BREGGER JT TEN   20 PERRYDALE                                                                                    ROCHESTER HILLS    MI    48306‐3443

CALVIN BROWN                                      10743 HELLMAN ST                                                                                OAKLAND            CA    94605‐5313
CALVIN BROWN                                      1912 W GRAND BLVD                                                                               DETROIT            MI    48208‐1008
CALVIN C ADKINS                                   205 W 15TH                                                                                      GEORGETOWN         IL    61846‐1030
CALVIN C BANKS                                    BOX 85                                                                                          SETH               WV    25181‐0085
CALVIN C BANKS & SERREDA M BANKS JT TEN           BOX 85                                                                                          SETH               WV    25181‐0085
CALVIN C CANBY JR & IMOGENE B CANBY JT TEN        4681 POORHOUSE ROAD                                                                             MARTINSBURG        WV    25401‐1243
CALVIN C COLLINS                                  5335 HICKORY VALLEY ROAD                                                                        HEISKELL           TN    37754‐3315
CALVIN C CONTE                                    731 ROEBLING AVENUE                                                                             TRENTON            NJ    08611‐1021
CALVIN C ELLER CUST ANDREA N ELLER UTMA OH        2703 WATERS LAKE LN                                                                             MISSOURI CITY      TX    77459‐7074
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 539 of 850
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

CALVIN C FUJITA & ARLEEN A FUJITA JT TEN          196 LULO RD                                                                                   KAPAA             HI    96746‐1243
CALVIN C HAUSMAN & ROXANA R HAUSMAN JT TEN        807 EAST 2200 RD                                                                              EUDORA            KS    66025‐8107

CALVIN C JOHNSON                                10341 E CREEK RD                                                                                CLINTON           WI    53525‐8735
CALVIN C PAULSON & BARB A PAULSON JT TEN        5705 KOEMER RD                                                                                  FORT WAYNE        IN    46818‐9328
CALVIN C SKINNER                                2715 OVERLAND                                                                                   BALTIMORE         MD    21214‐2850
CALVIN C WILCOX                                 108 COFFEE ST                                                                                   FITZGERALD        GA    31750‐7162
CALVIN C WOEHLKE & SANDRA A NUBER JT TEN        4775 DEXTER PINCKNEY RD                                                                         DEXTER            MI    48130‐8536
CALVIN C WOEHLKE & SUSAN C ENGLISH JT TEN       4775 DEXTER PINKNEY ROAD                                                                        DEXTER            MI    48130‐8536
CALVIN CARROLL                                  3327 S MADISON ST                                                                               MUNCIE            IN    47302‐5749
CALVIN CHAN                                     1384 28TH AVE                                                                                   SAN FRANCISCO     CA    94122
CALVIN CHILDERS                                 3883 CASTANO DRIVE                                                                              DAYTON            OH    45416‐1109
CALVIN CHITTY                                   420 S 21ST AVE                                                                                  MAYWOOD           IL    60153‐1474
CALVIN CLARK                                    406 RIDGETOP DRIVE                                                                              SMYRNA            TN    37167‐5109
CALVIN CRAIN                                    6131 TITAN RD                                                                                   MOUNT MORRIS      MI    48458‐2615
CALVIN D BADGLEY                                6667 BILLWOOD HWY                                                                               POTTERVILLE       MI    48876‐8729
CALVIN D BIGELOW                                3878 S 7 MILE RD                                                                                WHEELER           MI    48662‐9612
CALVIN D BROWN                                  517 LAKEHURST RD GL                                                                             WAUKEGAN          IL    60085‐6662
CALVIN D DALRYMPLE                              1 GASPER CRT                                                                                    DURHAM            NC    27713‐8665
CALVIN D EARL                                   2527 NEBRASKA AVE                                                                               KANSAS CITY       KS    66102‐2511
CALVIN D HEARD                                  5360 NORTHFORD RD                                                                               TROTWOOD          OH    45426‐1104
CALVIN D KUNNEN                                 1683 BROADVIEW DRIVE                                                                            JENISON           MI    49428‐8507
CALVIN D MC ALISTER                             804 S 2                                                                                         ODESSA            MO    64076‐1368
CALVIN D REDMAN                                 C/O WILMA P REDMAN                     1508 FOLLIS AVE                                          JOHNSTON CITY     IL    62951‐1940
CALVIN D SEAL                                   7332 OAK RD                                                                                     VASSAR            MI    48768‐9292
CALVIN D WOELKE                                 BOX 626                                                                                         ST CLAIR SHORES   MI    48080‐0626
CALVIN E COLBERT                                13566 PENROD                                                                                    DETROIT           MI    48223‐3516
CALVIN E CRIM                                   BOX 72                                                                                          SPRINGFIELD       SC    29146‐0072
CALVIN E DOMENGET & ELIZABETH J DOMENGET JT TEN 2305 E CAPRI DR                                                                                 PEARLAND          TX    77581‐5276

CALVIN E DUNCAN TR CALVIN E DUNCAN REVOCABLE      1090 TEE CEE DR                                                                               WATERFORD         MI    48328‐2045
LIVING TRUST UA 5/08/00
CALVIN E EVANS                                    6504 MELINDA DR                                                                               FOREST HILL       TX    76119‐7669
CALVIN E FOLAND                                   16116 GARDNER AVE                                                                             RIVERSIDE         CA    92504‐5904
CALVIN E FOLAND                                   16116 GARDNER AV                                                                              RIVERSIDE         CA    92504‐5904
CALVIN E GILLISPIE                                14435 LEMONT ROAD                                                                             LOCKPORT          IL    60441‐7562
CALVIN E MITCHELL                                 PO BOX 1481                                                                                   LA VERGNE         TN    37086‐1481
CALVIN E PINNIX                                   C/O I A KHATEEB                      1429 ZEB ROAD                                            GIBSONVILLE       NC    27249‐9336
CALVIN E PORCHER                                  4844 OVERTON AVE                                                                              FORT WORTH        TX    76133‐1326
CALVIN E ROLLYSON                                 4101 PAXTON WOOD RD                                                                           CINCINNATI        OH    45209
CALVIN E ROUILLARD & MRS PHYLLIS V ROUILLARD JT   19542 WALLACE ST                                                                              ROSEVILLE         MI    48066‐1717
TEN
CALVIN E SCHMIER                                  13329 OLD ANNAPOLIS RD                                                                        MOUNT AIRY        MD    21771‐7734
CALVIN E SCOTT                                    6470N GLENWAY AVE UNIT C                                                                      CINCINNATI        OH    45211
CALVIN E SHANE                                    1649 HILLTOP PLACE APT 4                                                                      FREEPORT          IL    61032
CALVIN E STARLIN                                  1101 STUDEBAKER                                                                               YPSILANTI         MI    48198‐6265
CALVIN E STURDIVANT                               1919 TAMARISK DR                                                                              EAST LANSING      MI    48823‐1453
CALVIN EDWARD COATES                              975 E HILLSDALE RD                                                                            EVANSVILLE        IN    47711‐1214
CALVIN ERNEST NELSON                              76 LECLERC AVE                                                                                RIVERVALE         NJ    07675‐6617
CALVIN EVANS                                      749 E AUSTIN ST                                                                               FLINT             MI    48505‐2213
CALVIN F ELAM                                     654 BAGLEY                                                                                    PONTIAC           MI    48341‐2611
CALVIN F STAFFORD                                 1070 SW 20TH TER APT 124                                                                      DELRAY BEACH      FL    33445‐6033
CALVIN FREDERICK GREEN                            18309 SORRENTO                                                                                DETROIT           MI    48235‐1441
CALVIN G BARR                                     861 N LONG LAKE BLVD                                                                          LAKE ORION        MI    48362‐1867
CALVIN G DONLY                                    131 PERRY ST 7A                                                                               NEW YORK          NY    10014‐6209
CALVIN G SMITH                                    723 BYRD PARK CT                                                                              RICHMOND          VA    23220‐6305
CALVIN G SMITH                                    15660 TERRY RD                                                                                BERLIN            MI    48002‐1107
CALVIN H BURKES                                   13142 MIAMI DRIVE                                                                             HUDSON            FL    34667‐1838
                                              09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 540 of 850
Name                                                Address1                                Address2                 Address3      Address4          City             State Zip

CALVIN H COMPE & JEANNE E COMPE TR UA 06/02/97      9336 COUNTY ROAD Z                                                                               POUND            WI    54161‐8647

CALVIN H GLOVER                                     725 LUCERNE DR                                                                                   SPARTANBURG      SC    29302‐4006
CALVIN H GREENHILL                                  120 CROTON AVE                                                                                   OSSINING         NY    10562‐4204
CALVIN H JACKSON                                    210 PINEHURST DR                                                                                 COLUMBIA         TN    38401‐6126
CALVIN H KAUFFMAN                                   3103 MARICOTTE DRIVE                                                                             PALMDALE         CA    93550‐2438
CALVIN H LAYLAND CUST COBI CHRISTOPHER LAYLAND      99 VENETO CIRCLE                                                                                 CHICO            CA    95926
UTMA CA
CALVIN H MACK                                       3359 CROISSANT                                                                                   DEARBORN         MI    48124‐4383
CALVIN H MARTIN                                     10701 OAKVILLE ROAD                                                                              GLADSTONE        VA    24553‐3334
CALVIN H SCHULTZ                                    PO BOX 77                                                                                        SILVERWOOD       MI    48760‐0077
CALVIN H SPENCE                                     9100 WALKER RD                                                                                   SHEWEPOA         LA    71118‐2902
CALVIN H THOMAS                                     15018 KINGSFORD AVE                                                                              CLEVELAND        OH    44128‐1146
CALVIN H WILLIAMS JR                                1401 BROUGHAM CT                                                                                 SOUTH LYON       MI    48178‐8711
CALVIN HAYES                                        3633 CARPENTER RD                                                                                MT ORAB          OH    45154‐9491
CALVIN HEARD                                        6105 N MAIN ST APT 232                                                                           DAYTON           OH    45415
CALVIN HILL                                         2404 LOSANTIVILLE AVE                   APT 2                                                    CINCINNATI       OH    45237‐4549
CALVIN J BADER                                      1532 N SAGINAW RD                                                                                LAPEER           MI    48446‐1534
CALVIN J BOWERS                                     302 SOUTH CONKLING ST                                                                            BALTIMORE        MD    21224‐2401
CALVIN J CASTLE                                     7800 E C RD 100N                                                                                 HAGERSTOWN       IN    47346
CALVIN J HALLER                                     235 WESTFALL DR                                                                                  TONAWANDA        NY    14150‐7136
CALVIN J HOLT                                       645 BYLAND DR                                                                                    BEECH GROVE      IN    46107‐2042
CALVIN J JARRETT                                    1764 LITTRELL LN                                                                                 MCKINNEY         TX    75071‐7982
CALVIN J KAHL & BEVERLY I KAHL TR KAHL FAM LIVING   7267 COLOSSEUM DR                                                                                ROCKFORD         IL    61107‐5231
TRUST UA 02/28/95
CALVIN J KEEN JR                                    8114 MADISON                                                                                     KANSAS CITY      MO    64114‐2232
CALVIN J PETERSON                                   12949 GRATIOT                                                                                    SAGINAW          MI    48609‐9657
CALVIN J PETERSON & MRS CARLETTA F PETERSON JT      808 DULLOS DRIVE                                                                                 LAFAYETTE        LA    70506‐3908
TEN
CALVIN J SHRUM                                      3494 LACON ROAD                                                                                  HILLIARD         OH    43026‐1842
CALVIN J WESSON                                     46848 BRIARMOOR CT                                                                               CHESTERFIELD     MI    48051‐2882
CALVIN J WOODS                                      PO BOX 1131                                                                                      RUSSELLVILLE     AL    35653‐1131
CALVIN JACKSON                                      15323 NATION RD                                                                                  KEARNEY          MO    64060‐7107
CALVIN K CUSHMAN                                    1951 FLORA LN                                                                                    VERO BEACH       FL    32966‐1033
CALVIN K FURNISS                                    1100 SPRINGLAWN AVE                                                                              HARRISBURG       OH    43126
CALVIN K ROBINSON                                   22022 42ND AVE S                        UNIT 104                                                 KENT             WA    98032‐2383
CALVIN K ROBINSON & JUDITH A ROBINSON JT TEN        22022 42ND AVE SOUTH #104                                                                        KENT             WA    98032‐2383

CALVIN KOOISTRA                                    13431 HILLTOP TERRACE                                                                             VALLEY CENTER    CA    92082
CALVIN L BARTELS                                   4676 BEECH                                                                                        HOLLAND          MI    49423‐8924
CALVIN L BARTLEY & OLGA Z BARTLEY JT TEN           4851 ESPLANADE                                                                                    BONITA SPRINGS   FL    34134‐3920
CALVIN L BELKOV DDS LTD RET TRUST U‐A DTD 03‐21‐72 SUITE 113                                1020 INDEPENDENCE BLVD                                   VIRGINIA BEACH   VA    23455‐5541

CALVIN L BELL                                       1945 SANDRINGHAM DR SW                                                                           ATLANTA          GA    30311‐4409
CALVIN L BENJAMIN                                   2264 WOLF CREEK                                                                                  ADRIAN           MI    49221‐9284
CALVIN L BURNS                                      5056 BLISS LN                                                                                    NEWAYGO          MI    49337‐9776
CALVIN L DESHIELDS                                  70 COURT DR APT                                                                                  WILMINGTON       DE    19805‐5525
CALVIN L DEWEESE                                    1525 W SHORE DRIVE                                                                               MARTINSVILLE     IN    46151‐6383
CALVIN L DODGE                                      6096 N ESSEX CENTER RD                                                                           ST JOHNS         MI    48879‐9735
CALVIN L GRANT                                      3840 KING JAMES DR                                                                               ATLANTA          GA    30331‐4926
CALVIN L HILL                                       1405 S 7TH ST                                                                                    CLINTON          MO    64735‐3022
CALVIN L JESSOME                                    35 NEPTUNE DRIVE                        ST CATHERINES ON                       L2M 2S4 CANADA
CALVIN L JOHNSON                                    6175 CHERRYWOOD DR                                                                               YPSILANTI        MI    48197‐6216
CALVIN L MARKS JR                                   406 PRINCE CIR                                                                                   BELLE VERNON     PA    15012
CALVIN L MURRY                                      322 SOUTH 4TH ST                                                                                 ODESSA           MO    64076‐1420
CALVIN L OETJEN                                     18 B AND B LN                                                                                    MC MINNVILLE     TN    37110‐5254
CALVIN L PEPPER                                     1917 FREMONT DR                                                                                  TROY             MI    48098‐2520
CALVIN L SMITH                                      1449 DEN HERTOG ST SW                                                                            WYOMING          MI    49509
CALVIN L TAPERT                                     633 W LINCOLN AVENUE                                                                             MADISON HTS      MI    48071‐3911
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 541 of 850
Name                                              Address1                             Address2             Address3          Address4          City             State Zip

CALVIN L THOMAS                                2294 WHITE ROCK RD                                                                               FLOYD            VA    24091
CALVIN L THOMAS CUST AMIE LEIGH THOMAS UTMA VA 2294 WHITE ROCK ROAD                                                                             FLOYD            VA    24091

CALVIN L THOMPSON                                  9200 WHITCOMB                                                                                DETROIT          MI    48228‐2274
CALVIN L WADSWORTH                                 BOX 94                                                                                       NEW HAVEN        OH    44850‐0094
CALVIN L WALTON                                    2013 N PAGE AVE                                                                              OKLAHOMA CITY    OK    73111‐1851
CALVIN M CONWAY                                    1040 S KRAMERIA ST                                                                           DENVER           CO    80224‐1432
CALVIN M JOHNSON                                   211 SLADE ST                                                                                 BELMONT          MA    02478‐2321
CALVIN M WHITESELL JR & BEVERLY R WHITESELL JT TEN 1249 WOODS CIRCLE                                                                            ATLANTA          GA    30324‐2725

CALVIN MABERRY SR & EUNICE MABERRY JT TEN          4407 WEST CARPENTER RD                                                                       FLINT            MI    48504
CALVIN MC QUEEN                                    PO BOX 13091                                                                                 FLINT            MI    48501‐3091
CALVIN MUNERLYN                                    PO BOX 42                                                                                    DODDRIDGE        AR    71834‐0042
CALVIN NORMAN                                      PO BOX 3706                                                                                  WINTER HAVEN     FL    33885‐3706
CALVIN O CRAIG                                     9711 HADLEY RD                                                                               CLARKSTON        MI    48348‐1909
CALVIN O WADDELL                                   BOX 134                                                                                      LUTSEN           MN    55612
CALVIN OUTEN JR                                    29 LEWIS ST                                                                                  PONTIAC          MI    48342‐1447
CALVIN P DIENES                                    6783 MINOCK                                                                                  DETROIT          MI    48228‐3922
CALVIN POON & MAGGIE POON JT TEN                   3 BURGESS RD                                                                                 SCARSDALE        NY    10583‐4409
CALVIN R DAY                                       6720 HOGBACK LAKE RD                                                                         DAVISBURG        MI    48350‐3109
CALVIN R DEITZ                                     PO BOX 5387                                                                                  PRINCETON        WV    24740‐5387
CALVIN R EVANS & CATHERINE B EVANS JT TEN          11775 SW 11TH ST                                                                             BEAVERTON        OR    97005‐4097
CALVIN R FAIRBOURN                                 13036 HAWKINS CIR                                                                            HAGERSTOWN       MD    21742‐2557
CALVIN R GRIM                                      8313 W GREENVEIW DR                                                                          MUNCIE           IN    47304
CALVIN R HOOPER                                    54 SAND CREEK RD                                                                             TIFTON           GA    31794‐6935
CALVIN R MC NUTT 6681 N CALLE LOMITA                                                                                                            TUCSON           AZ    85704‐6927
CALVIN R MULLEN                                    192 LUTHER ST                                                                                PONTIAC          MI    48053
CALVIN R WILHOIT                                   577 PEACEFUL CT                                                                              ANDERSON         IN    46013‐1175
CALVIN ROBERTS                                     676 KINGS GATE RIDGE                                                                         STONE MNT        GA    30088‐1822
CALVIN S CLONINGER                                 4229 HAULOVER DRIVE                                                                          JOHN ISLAND      SC    29455‐4116
CALVIN S HARRIS                                    555 MARY ST                                                                                  FLINT            MI    48503‐1564
CALVIN S MARTIN & MARY K MARTIN JT TEN             2726 CANADA HILL RD                                                                          MYERSVILLE       MD    21773‐8608
CALVIN S MCLAUGHLIN III & CHIN HELEN MCLAUGHLIN 544 SEAWARD ROAD                                                                                CORONA DEL MAR   CA    92625‐2620
JT TEN
CALVIN SANGSTER JR                                 PO BOX 376                                                                                   FLORISSANT       MO    63032‐0376
CALVIN SCHOLTEN                                    8530 PEACH RIDGE AVE                                                                         SPARTA           MI    49345‐8710
CALVIN SHRADER                                     1084 HILLCREST RD                                                                            CINCINNATI       OH    45224‐3228
CALVIN SIMS                                        4630 WARRINGSTON                                                                             FLINT            MI    48504‐2035
CALVIN SMITH                                       15465 FORRER                                                                                 DETROIT          MI    48227‐2330
CALVIN T FOSTER                                    605 SE SHERMAN DR                                                                            ANKENY           IA    50021‐3436
CALVIN T GARDNER                                   400 WHITTEMORE LOOP                                                                          JASPER           AL    35503‐5333
CALVIN T PATTERSON                                 3551 MARIE DR                                                                                TRAVERSE CITY    MI    49684‐9307
CALVIN T VALENTINE                                 104 HOLT AVE                                                                                 BARBOURVILLE     KY    40906‐1826
CALVIN THOMAS RICHTER                              1052 SADDLE RIDGE                                                                            PORTAGE          WI    53901‐9781
CALVIN TILLEY                                      3155 ST RT #133                                                                              BETHEL           OH    45106‐9309
CALVIN TURNER                                      PO BOX 622                                                                                   MAUMEE           OH    43537‐0622
CALVIN UNDERWOOD                                   4221 NEWPORT                                                                                 DETROIT          MI    48215‐2342
CALVIN V FLAUGHER                                  3436 GREER DR                                                                                DAYTON           OH    45430‐1416
CALVIN W BAILEY & SHIRLEY A BAILEY JT TEN          654 WASHINGTON DR                                                                            ARNOLD           MO    63010‐1626
CALVIN W COOK                                      1462 NW CHERRY DR                                                                            ROSEBURG         OR    97470‐1822
CALVIN W EMERSON & DIANA M EMERSON JT TEN          200 MAC ARTHUR RD                                                                            ROCHESTER        NY    14615‐2020
CALVIN W KALTE TOD LYLE A KALTE SUBJECT TO STA TOD 30198 VIEWCREST DRIVE                                                                        NOVI             MI    48377
RULES
CALVIN W LANE                                      2119 N WOODBRIDGE ST                APT 2                                                    SAGINAW          MI    48602‐5200
CALVIN W LARKIN                                    23 PARK BOULEVARD                   WANAMASSA                                                ASBURY PARK      NJ    07712‐4273
CALVIN W LARKIN JR                                 23 PARK BLVD                                                                                 WANAMASSA        NJ    07712‐4273
CALVIN W LITTLETON                                 NORTH SUNSET DRIVE                  PO BOX 11                                                TYASKIN          MD    21865‐0011
CALVIN W ROGLER & DONNA ROGLER JT TEN              237 DEAN ROAD                                                                                TEMPERANCE       MI    48182
CALVIN W SHERWOOD                                  8239 WARREN BLVD                                                                             CENTER LINE      MI    48015‐1464
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 542 of 850
Name                                            Address1                               Address2               Address3        Address4          City              State Zip

CALVIN W WOHLFORD SR                            2604 WILDWOOD LN                                                                                NEW RICHMOND      OH    45157‐9649
CALVIN WADE                                     7126 SELKIRK DR                                                                                 FT WAYNE          IN    46816‐2206
CALVIN WEST                                     30339 JULIUS BLVD                                                                               WESTLAND          MI    48186
CALVIN WILLIAMS                                 1901 STEVENSON                                                                                  FLINT             MI    48504‐4003
CALVIN WILLIAMSON & DENISE WILLIAMSON JT TEN    PO BOX 29704                                                                                    CHICAGO           IL    60629‐0704

CALVIN YELTON                                   207 BRENTWOOD CIR                                                                               MORGANTON         NC    28655‐8467
CAMBRIDGE F GLENN II                            4032 NOTTAWAY ROAD                                                                              DURHAM            NC    27707‐5425
CAMDEN E HUMBLE                                 720 NORTON DR                                                                                   TALLMADGE         OH    44278‐2936
CAMELIA D BUFFUM                                1137 ISLINGTON #4                                                                               PORTSMOUTH        NH    03801‐4260
CAMERAN OBRIEN HAIRE                            4138 LETHRAM COURT                                                                              PLEASANTON        CA    94588‐2607
CAMERON & BARKLEY CO INC                        C/O HAGEMEYER NORTH AMERICA            11680 GREAT OAKS WAY                                     ALPHARETTA        GA    30022‐2457
CAMERON A WILLIAMS                              333 COMMISSIONERS RD W APT 204         LONDON ON                              N6J 4X7 CANADA
CAMERON B BARR & MARCIA C BARR TEN COM          8 BRETTON WAY                                                                                   MANDEVILLE        LA    70471‐3337
CAMERON C CHUTE                                 PO BOX 22283                                                                                    SAINT PAUL        MN    55122‐0283
CAMERON C COLLINS                               1655 COUNTY ROAD 243                                                                            FREMONT           OH    43420‐9581
CAMERON C GAMBLE TR LOUISE MEYER TR             212 VETERANS MEMORIAL BLVD STE 201                                                              METAIRIE          LA    70005‐3047
CAMERON C TRENOR JR                             1123 DECATUR ST                                                                                 NEW ORLEANS       LA    70116
CAMERON CURTIS                                  3396 THORNBERRY TRAIL                                                                           HIGHLAND VILL     TX    75077
CAMERON E MARTIN                                5915 BEAUDRY                                                                                    HOUSTON           TX    77035‐2305
CAMERON F PRIEBE                                9707 KATHRINE                                                                                   TAYLOR            MI    48180‐3609
CAMERON FRANKLIN MORRIS                         319 EXPOSITION BLVD                                                                             NEW ORLEANS       LA    70118‐5718
CAMERON JACKSON                                 1 GUELISTEN PL                                                                                  RYE               NY    10580‐3932
CAMERON KHAVARIAN                               17 SUNRISE CIR                                                                                  HOLMDEL           NJ    07733‐1114
CAMERON L SINCLAIR                              7105 UNDERWOOD ARBOR PLACE                                                                      CARY              NC    27518
CAMERON M DEAN                                  2612 W LIBBIE DR                                                                                LANSING           MI    48917‐4419
CAMERON M LUDWIG                                3988 W QUAIL HILL CT                                                                            BOISE             ID    83703‐3856
CAMERON MATTHEWS                                112 BARRINGTON CT                                                                               ROCKY MOUNT       NC    27803‐2244
CAMERON R MULLINS CUST JONATHAN R MULLINS       3112 GONEAWAY RD                                                                                CHARLOTTE         NC    28210‐6122
UTMA NC
CAMERON S BLACK & AMY D BLACK JT TEN            930 SHIRLEY BLVD                                                                                ARCATA            CA    95521
CAMI I ROSINE                                   5174 FERN AVE                                                                                   GRAND BLANC       MI    48439‐4210
CAMIELLE L BRADLEY                              1 MYRTLEWOOD DR                        APT C                                                    HENRIETTA         NY    14467‐8801
CAMIELLE L CWIKLINSKI                           5186 CORTLAND                                                                                   FLINT             MI    48507‐4507
CAMILA B GILSENAN CUST DANIEL CONNOR GILSENAN   PO BOX 707                                                                                      MT PLEASANT       SC    29465‐0707
UGMA SC
CAMILA B GILSENAN CUST DANIEL CONNOR GILSENAN   BOX 707                                                                                         MT PLEASANT       SC    29465‐0707
UGMA SC
CAMILLA A NIELSEN                               13 GLENHURON DRIVE                     BARRIE ON                              L4M 6T4 CANADA
CAMILLA B HEROD                                 1081 JULIE DR                                                                                   DAVISON           MI    48423‐2830
CAMILLA C CONFORTI                              9 RONNA DR                                                                                      WILMINGTON        DE    19808‐4724
CAMILLA DANIEL SIMRALL GUSTAVSON                7206 CAMELBACK DR                                                                               SHREVEPORT        LA    71105‐5006
CAMILLA PARHAM                                  840 CATALPA DRIVE                                                                               DAYTON            OH    45407
CAMILLA R PONCE DE LEON                         330 CONNOR AV                                                                                   LOCKPORT          IL    60441‐4709
CAMILLA S COMANICH                              8026 TERRACE DR                                                                                 EL CERRITO        CA    94530‐3055
CAMILLA SCIAMANNA                               646 COLLINDALE NW                                                                               GRAND RAPIDS      MI    49504
CAMILLA V MADDOX                                7012 WATER OAK RD                                                                               ELKRIDGE          MD    21075‐6525
CAMILLE A KOSTNER                               PO BOX 51                                                                                       WITTER            AR    72776
CAMILLE A WALEK & RONALD P WALEK JT TEN         8346 BASALISK CRT                                                                               NEW PORT RICHEY   FL    34653‐6758

CAMILLE AGRO                                    APT 9‐D                                100 BEEKMAN ST                                           NY                NY    10038‐1813
CAMILLE ANN LEVY                                24520 BORDER HILL                                                                               NOVI              MI    48375‐2940
CAMILLE BAILEY                                  1210 COUNTRY CLUB DR                                                                            UNION POINT       GA    30669‐1421
CAMILLE BLUME                                   6685 KEYSTONE                                                                                   OSAGE BEACH       MO    65065‐4908
CAMILLE CARDWELL                                21357 REIMANVILLE AVE                                                                           FERNDALE          MI    48220‐2231
CAMILLE E THOMPSON                              46 HARDING RD                                                                                   RED BANK          NJ    07701‐2007
CAMILLE FERDINANDO                              11 JAMES DR                                                                                     WARETOWN          NJ    08758
CAMILLE GAGNON                                  628 DIAMOND HILL RD                                                                             WOONSOCKET        RI    02895‐1456
CAMILLE GUDINO                                  2058 PAKEBERRY CT                                                                               VALPARAISO        IN    46385‐6127
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 543 of 850
Name                                             Address1                             Address2              Address3         Address4          City            State Zip

CAMILLE J LALIBERTE                               8062 CATALPA DR                                                                              NINEVEH         IN    46164‐9558
CAMILLE JEFFREY OSSENKOP                          3808 DANBURY DR                                                                              ARLINGTON       TX    76016‐3020
CAMILLE LEVI LUSCHER                              8 HOLLAND PARK                                                                               MOBILE          AL    36608‐1840
CAMILLE LITTLE CUST TODD LITTLE UTMA IN           820 FOREST DR                                                                                ANDERSON        IN    46011‐1234
CAMILLE M CASTLEBERRY                             HC 1 BOX 6099X1                                                                              PALMER          AK    99645‐9694
CAMILLE M GARISON                                 315 PEARSALL AVENUE                                                                          JERSEY CITY     NJ    07305‐1814
CAMILLE M SWASEY                                  28468 HALECREEK ST                                                                           ROMULUS         MI    48174‐3042
CAMILLE M TOMCZAK                                 385 S CROWN CT                                                                               PALATINE        IL    60074
CAMILLE NOWAK ROSIER                              3107 W SPUR DR                                                                               PHOENIX         AZ    85083‐5800
CAMILLE R ROY                                     5758 N CALDWELL AV                                                                           CHICAGO         IL    60646‐6648
CAMILLE REGISTER                                  PO BOX 3053                                                                                  SOUTHFIELD      MI    48037‐3053
CAMILLE STONE GEORGE                              PO BOX 226                                                                                   ARTESIA         NM    88211
CAMILLE V MILLER                                  2112 CENTURY PARK LANE #106                                                                  LOS ANGELES     CA    90067‐3308
CAMILLE VITALE                                    C/O FERNICOLA                       237 WESTFIELD AVE                                        PISCATAWAY      NJ    08854‐5539
CAMILLE WASIK TR UA 06/06/06 CAMILLE WASIK LIVING 32402 LANCASTER                                                                              WARREN          MI    48093‐1371
TRUST
CAMILLE Y HILL                                    1153 VININGS PLACE WAY                                                                       MABLETON        GA    30126‐5671
CAMILLO J NARDELLI                                110 EAST END AVE APT 6K                                                                      NEW YORK        NY    10028‐7414
CAMMI MISNER CUST CARSON MISNER UTMA OK           PO BOX 1572                                                                                  SAPULPA         OK    74067‐1572
CAMMIE EDWARD CHILDRESS                           1205 E 6TH ST                                                                                MUNCIE          IN    47302‐3512
CAMMIE WYNN JR                                    1818 OWEN ST                                                                                 FLINT           MI    48503‐4359
CAMMILA COSTICH BARNES                            23 SOUTHWOOD DR                                                                              BALLSTON LAKE   NY    12019‐1303
CAMOLETA FOLEY                                    4199 ROLSTON ROAD                                                                            LINDEN          MI    48451
CAMPBELL C BUCHANAN                               6013 UNITY PASS                                                                              GROVELAND       FL    34736‐9641
CAMPBELL CEMETERY ASSOCIATION                     ATTN JOHN ROGERS                    10339 DEVEREAUX RD                                       PARMA           MI    49269‐9647
CAMPBELL GODFREY TR UA 09/23/93 CAMPBELL          111 CHERRY ST                                                                                GARDNER         MA    01440‐2360
GODFREY LIVING TRUST
CAMPBELL MURDIE CUST KATHRYN AILEEN MURDIE        21805L TARTAN ST                                                                             LEESBURG        FL    34748‐7968
UGMA CO
CAMPELL L HUNTER                                  PO BOX 24                                                                                    QUITMAN         MS    39355‐0024
CAMPS BERGAY CAMPS BERGAY LIVING TRUST UA         9054 E AUTUMN SAGE ST                                                                        TUCSON          AZ    85747‐5335
11/25/98
CAMPSA J DOTSON                                   643 KILLARNEY DR                                                                             MORGANTOWN      WV    26505‐2427
CAN M MC FALL                                     19942 INKSTER RD                                                                             REDFORD         MI    48240‐1615
CANBY ALLEN RIGSBY JR                             7563 N 600 W                                                                                 FRANKTON        IN    46044‐9566
CANCER RESEARCH FUND OF THE DAMON RUNYON‐         675 THIRD AVE 25TH FLOOR                                                                     NEW YORK        NY    10017‐5704
WALTER WINCHELL FOUNDATION
CANDACE A BERTMEYER                               103 VICTOR AVE                                                                               NILES           OH    44446‐1636
CANDACE A KUBCZAK                                 5436 W MIDLAND DRIVE                                                                         MILWAUKEE       WI    53220‐1421
CANDACE A TAYLOR                                  187 TEMI ROAD                                                                                BELLINGHAM      MA    02019‐1393
CANDACE ANN NOVAK CUST PAUL S NOVAK UGMA WI N 52 W 21834 VIRGINIA LANE                                                                         MENOMONEE FALLS WI    53051‐6225

CANDACE ANN P FARRELL                            5217 NE 56TH AVE                                                                              VANCOUVER       WA    98661‐2121
CANDACE B FRALIX & DEAN H FRALIX JT TEN          8166 EHRHARDT RD                                                                              EHRHARDT        SC    29081
CANDACE C HAZAMA                                 1114 WILDER AVE APT 805                                                                       HONOLULU        HI    96822‐2744
CANDACE CATES                                    1831 SPRINGHILL DR                   KAMLOOPS BC                            V2E 1H9 CANADA
CANDACE CAVE TR GUCHES & CAVE LIVING TRUST UA    1314B CENTER DR # 206                                                                         MEDFORD         OR    97501‐7941
09/14/99
CANDACE CRONAN MCGOVERN                          782 OCEAN AVE                                                                                 WEST HAVEN      CT    06516‐6842
CANDACE E STRACHAN                               626 RIVERSIDE DR                     APT 9J                                                   NEW YORK        NY    10031‐7212
CANDACE E WAGNER & JAMES L WAGNER SR JT TEN      4745 HARRIS HILL RD                                                                           WILLIAMSVILLE   NY    14221‐6227

CANDACE FAIRBANKS                           ATTN CANDACE MC VITTIE                    2031 ISLAND HIGHWAY                                      CHARLOTTE       MI    48813‐9304
CANDACE G MOORE                             1934 TAWNEY LN                                                                                     AVON            IN    46123‐9595
CANDACE H YASHIRO                           245 NANILOA DR                            WAILUKU                                                  MAUI            HI    96793‐2415
CANDACE J THOMAS CUST SHANNON K THOMAS UGMA 30599 WASHINGTON                                                                                   WARREN          MI    48093‐2199
MI
CANDACE JEAN MESO                           11321 MCCAUGHNA RD                                                                                 BYRON           MI    48418‐9181
                                          09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 544 of 850
Name                                            Address1                                Address2             Address3          Address4          City             State Zip

CANDACE JO THOMAS CUST CARA MEAGHAN THOMAS      30599 WASHINGTON BLVD                                                                            WARREN           MI    48093‐2199
UGMA MI
CANDACE KAISER FRUCHTER & MICHAEL FRUCHTER JT   6903 NW 73RD ST                                                                                  TAMARAC          FL    33321‐5461
TEN
CANDACE KAY YOUNG TOD JAMES EDWARD YOUNG        3070 COLUMBIAVILLE RD                                                                            COLUMBIAVILLE    MI    48421

CANDACE KAYE ROBINETT                           2100 DEER TRAIL                                                                                  JEFFERSON CITY   MO    65101‐5504
CANDACE L FETTES                                4774 WALTON ROAD                                                                                 KINGSLEY         MI    49649‐9302
CANDACE L HANLEY                                7734 W 173RD PL                                                                                  TINLEY PARK      IL    60477‐3210
CANDACE L HENDRICHS                             2814 SOUTHEAST DRIVE                                                                             SOUTH BEND       IN    46614‐1533
CANDACE L SABEL                                 24 W JENNINGS ST                                                                                 NEWBURGH         IN    47630‐1212
CANDACE LUDWIG                                  1436 MCANDREWS RD W                                                                              BURNSVILLE       MN    55337‐4470
CANDACE M CUNNINGHAM PERS REP EST LUCY J        2044 MEADOW VIEW LANE                                                                            COSTA MESA       CA    92627‐4052
MCENROE
CANDACE M NORDER                                901 SHAWMUT CT NW                                                                                GRAND RAPIDS     MI    49504‐3789
CANDACE M ROBBINS                               246 LAKEVIEW ST                                                                                  LAKE ORION       MI    48362‐2777
CANDACE MITCHELL CUST MARTIN THOMAS MITCHELL    1980 CANOE CREEK RD                                                                              SPRINGVILLE      AL    35146‐6701
UTMA AL
CANDACE N HARRINGTON                            506 N 160 E                                                                                      MENDON           UT    84325‐9773
CANDACE R SURIANO                               295 CHERRYLAND                                                                                   AUBURN HILLS     MI    48326‐3350
CANDACE RIEMER HUBER                            460 E STARK RD                                                                                   MILTON           WI    53563‐9440
CANDACE SIMON                                   2650 VERO DR                                                                                     HIGHLAND         MI    48356‐2254
CANDACE SUE KENNEDY                             3208 S CHIPPEWA LN                                                                               MUNCIE           IN    47302‐5590
CANDACE TWINGSTROM                              6210 STARK RD                                                                                    HARRIS           MN    55032‐3340
CANDANCE A GRASS                                285 BEECHWOOD LANE                                                                               ZIONSVILLE       IN    46077‐1213
CANDEE SUE ALLEN                                5238 WEST COLDWATER RD                                                                           FLINT            MI    48504‐1003
CANDELARIAC DIAZ                                102 MANGROVE AVE                                                                                 KEY LARGO        FL    33037‐2032
CANDELARIAC DIAZ & ORLANDO DIAZ JT TEN          102 MANGROVE AVE                                                                                 KEY LARGO        FL    33037‐2032
CANDELARIO C LOPEZ                              4101 ARROWHEAD LN                                                                                COLUMBIA         TN    38401‐7378
CANDELARIO G RAMON                              9311 DOWNING RD                                                                                  BIRCH RUN        MI    48415‐9734
CANDELARIO L ESTRADA                            1580 WEST 23RD                                                                                   LONG BEACH       CA    90810‐3501
CANDELORO DONATO & FRANCES DONATO JT TEN        8407 12TH AVE                                                                                    BROOKLYN         NY    11228‐3314
CANDICE A CARABELLI                             925 INLET CIR                                                                                    VENICE           FL    34285‐1008
CANDICE JOANN SIEFKEN                           PO BOX 1054                                                                                      KREMMLING        CO    80459‐1054
CANDICE L MCREE                                 107 POINT OF ROCKS RD                                                                            FALLS VILLAGE    CT    06031
CANDICE M WALTER                                890 E SCRIBNER RD                                                                                ROSE CITY        MI    48651
CANDICE S ROBINSON                              103 NICKERSON PARKWAY                                                                            LAFAYETTE        LA    70501‐6509
CANDICE SMITH & TERRY LEE SMITH JT TEN          1706 BARLOW LN                                                                                   SEBASTOPOL       CA    95472‐2513
CANDICE SPERKO                                  18982 PROSPECT                                                                                   STRONGSVILLE     OH    44136‐6738
CANDICE VESPER GOODALE                          4720 ASHWELL LANE                                                                                SUWANEE          GA    30024‐3308
CANDIDA A MATZ                                  16040 E STATE FAIR ST                                                                            DETROIT          MI    48205‐2035
CANDIDA C SALMON                                644 LINCOLN ST                          APT 1                                                    SANTA CLARA      CA    95050‐5383
CANDIDE PAYEUR BOOTH TR CANDIDE PAYEUR BOOTH    100 SUNRISE AVE #605                                                                             PALM BEACH       FL    33480‐3967
LIVING TRUST UA 08/01/97
CANDIDO PEREZ                                   212 PROSPECT AVE                                                                                 AVENEL           NJ    07001
CANDIDO VAZQUEZ JR                              654 NORTH EAST 56TH ST                                                                           MIAMI            FL    33137‐2318
CANDIDO ZAMUDIO                                 939 ONTARIO DR                                                                                   ROMEOVILLE       IL    60446‐3964
CANDIS L MCGOUGH                                6376 W FRANCES RD                                                                                CLIO             MI    48420‐8549
CANDIS L SMART                                  648 7TH AVE SE                                                                                   HICKORY          NC    28602‐3925
CANDIS TRIVETTE                                 ROUTE 1 BOX 188                                                                                  EAST LYNN        WV    25512‐9710
CANDISE L MULLEN                                712 ROCK HARBOUR CT                                                                              NASHVILLE        TN    37221‐3335
CANDRA L SWANSON                                527 GREENWICH LANE                                                                               GRAND BLANC      MI    48439
CANDY AGLIOTTA CUST CHRISTOPHER AGLIOTTA UGMA   41 BALDWIN TERR                                                                                  FAIRFIELD        CT    06430‐6901
CT
CANDY C WALL                                    7020 PINCH HWY RT #3                                                                             CHARLOTTE        MI    48813‐9344
CANDY J TODD                                    934 EAST DRIVE                                                                                   OKLAHOMA CITY    OK    73105‐8419
CANDY JONES JR                                  6160 PENWOOD DR                                                                                  MT MORRIS        MI    48458‐2732
CANDY MARCH CUST PETER LINDSEY MARCH UGMA CA    108 YALE DRIVE                                                                                   RANCHO MIRAGE    CA    92270‐3073
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                   Part 1 of 8 Pg 545 of 850
Name                                           Address1                             Address2                  Address3       Address4                    City           State Zip

CANDY P JONES                                  BOX 76                                                                                                    OAKFORD        IN    46965‐0076
CANDY SCHNEIDER                                3377 KATMAI DR                                                                                            LAS VEGAS      NV    89122‐4033
CANDY YOUNG                                    PO BOX 324                                                                                                LITTLE MTN     SC    29075‐0324
CANNIE S LEACH                                 15361 WOODSTONE CIR                                                                                       BRISTOL        VA    24202‐4023
CAPCO ENERGY SUPPLY                            10 INDUSTRIAL PKWY                                                                                        WOBURN         MA    01801‐2465
CAPE GIRARDEAU COUNTY 4‐H COUNCIL              C/O ROGER WILCOXSON                  BOX 408                                                              JACKSON        MO    63755‐0408
CAPERS C FUNNYE JR                             10519 S CHURCH ST                                                                                         CHICAGO        IL    60643‐2907
CAPITAL ASSET MANAGEMENT                       PO BOX 5                                                                                                  NEWTONVILLE    NY    12128‐0005
CAPITAL BANK AND TRUST CUST FBO DARLENE        13073 N BRAY RD                                                                                           CLIO           MI    48420
DUVERNOIS IRA
CAPPAERT HOLDINGS LPC                          C/O TODD BOOLOS CPA                  1007 MISSION PARK DRIVE                                              VICKSBURG      MS    39180
CARA CHRISTINE SION                            825 GRANDVIEW DR                                                                                          ELM GROVE      WI    53122
CARA G OLDANI & MICHAEL OLDANI JT TEN          28569 WALES DR                                                                                            CHESTERFIELD   MI    48047‐1786
CARA J KOPEC                                   ATTN CARA PROCTOR                    3461 GREENS MILL RD                                                  SPRINGHILL     TN    37174‐2125
CARA JAMIE MONTAGUE                            590 FLATBUSH AVE                     APT 11L                                                              BROOKLYN       NY    11225‐4990
CARA L DUERKOP                                 811 VINE AVE                                                                                              PARK RIDGE     IL    60068‐4803
CARA L DUERKOP & SCOTT S DUERKOP JT TEN        811 VINE AVE                                                                                              PARK RIDGE     IL    60068‐4803
CARA L JEFFRIES                                2600 FLINTWOOD DR                                                                                         COLUMBUS       IN    47203‐3252
CARA L WARD                                    13544 BERWYN                                                                                              REDFORD        MI    48239
CARA M LARY                                    10422 GLOWING COVE AVE                                                                                    LAS VEGAS      NV    89129‐3243
CARA M MOORE                                   14322 WESTMAN DRIVE                                                                                       FENTON         MI    48430‐1482
CARA MEEKHOF                                   9039 56TH AVE                                                                                             HUDSONVILLE    MI    49426‐9715
CARA S WILSON                                  9570 TAORMINA ST                                                                                          LAKE WORTH     FL    33467‐6144
CARA TANYA LASHEA LOWRY CUST SAYLOR JOHN       8759 EVANGELINE DR                                                                                        N CHARLESTON   SC    29420‐7115
FREEMAN LOWRY UTMA TX
CARA TRAYNOR                                   TIME CENTER BUILDING 4600 ESTATE     CHARLOTE AMALIE           ST THOMAS VI   802 VIRGIN ISLANDS OF THE
                                                                                                                             USA
CARABEE INVESTMENTS INC                         11 HOLTHAM RD                       MONTREAL QC                              H3X 3N2 CANADA
CARADO A BAILEY                                 26132 BUSTER DR                                                                                          WARREN         MI    48091‐1041
CARCENE WRIGHT                                  44109 WILLOW RD                                                                                          BELLEVILLE     MI    48111‐9143
CARDELL BOUIE                                   30 BEDFORD ST                                                                                            ROCHESTER      NY    14609‐4124
CARDELL E BUNCH                                 525 SOUTH BELTINE BLVD                                                                                   COLUMBIA       SC    29205
CARDELL ROBINSON                                3017 VALENTINE ST                                                                                        DALLAS         TX    75215‐5335
CARDELL TAYLOR                                  25494 ANDREW                                                                                             WARREN         MI    48091‐1543
CARDINALS MANITOWISH LODGE                      AV 3730 TROUT LAKE ROAD                                                                                  WOODRUFF       WI    54568
CARDIOLOGY ASSOCIATES OF JOHNSTOWN PENSION      C/O M S MITAL                       909 PARKVIEW DR                                                      JOHNSTOWN      PA    15905‐1741
PLAN B
CAREL S SHIVELEY                                55 BROOKWOOD DR                                                                                          BELLBROOK      OH    45305‐1924
CAREL SCOTT SHIVELEY                            55 BROOKWOOD DR                                                                                          BELLBROOK      OH    45305‐1924
CARELENE M MORRIS                               5781 PAT RD                                                                                              HIAWASSEE      GA    30546‐5045
CARELTON R BUTCHART                             6357 HORATIO ST                                                                                          DETROIT        MI    48210‐2368
CAREN CARSON PELTIER                            344 BRACKEN CT                                                                                           TROY           MI    48040‐4691
CAREN E PARKER                                  C/O CAREN E CHOPP                   7903 NORTH KIMLOUGH DR                                               INDIANAPOLIS   IN    46240‐2622
CAREN J WALKUP                                  1127 COLUMBUS ST                                                                                         HARRISBURG     OH    43126
CAREN K MASINO                                  316 NORWOOD AV                                                                                           BEACH HAVEN    NJ    08008‐1558
CAREN K WEAVER                                  4205 OVERLOOK CT                                                                                         KOKOMO         IN    46902
CAREN L FICKBOHM                                ATTN CAREN F BRISCOE                65 COUNTY RD 327                                                     OXFORD         MS    38655‐5919
CAREN L VANZANT                                 1894 UNION LAKE RD                                                                                       COMMERCE TWP   MI    48382‐2245
CAREN M HALL CUST ALEJANDRA NADIA MARIE HALL‐   174 NORTH ST                                                                                             CLIFTON        OH    45316
GALLEGOS UTMA OH
CAREN M HALL CUST AURELIA LOUISE TRIGUEROS‐HALL 174 NORTH ST                                                                                             CLIFTON        OH    45316
UTMA OH
CAREN M HALL CUST EMMA MARIE SUMMER CLARK       174 NORTH ST                                                                                             CLIFTON        OH    45316
UTMA OH
CAREN M HALL CUST GABRIELA ELIZABETH RENEE      HALL‐GALLEGOS UTMA OH               174 NORTH ST                                                         CLIFTON        OH    45316
CAREN M HALL CUST JACOB CHARLES LUIS HALL‐      174 NORTH ST                                                                                             CLIFTON        OH    45316
GALLEGOS UTMA OH
CAREN M HALL CUST JUAN CONRADO JESUS HALL UTMA 174 NORTH ST                                                                                              CLIFTON        OH    45316
OH
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 546 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

CAREN M HALL CUST LILIA ADELA HALL‐SANTIZO UTMA   174 NORTH ST                                                                                    CLIFTON          OH    45316
OH
CAREN M HALL CUST MAYELI FLORECITA TRIGUEROS‐     174 NORTH ST                                                                                    CLIFTON          OH    45316
HALL UTMA OH
CAREN M HALL CUST YAHIR ALBERTO VENTURA‐          174 NORTH ST                                                                                    CLIFTON          OH    45316
VELAZQUEZ UTMA OH
CAREN N RASMUSSEN                                 18632 CLOVERCREST CIR                                                                           OLNEY            MD    20832‐3057
CAREN SANDLER CUST JOSEPH W SANDLER UTMA MA       44 RIDGEWOOD TERRACE                                                                            NORTHAMPTON      MA    01060‐1632

CAREN SOULE MORTON CUST ANA MORTON UTMA TX        3302 ALDWYCHE DR                                                                                AUSTIN           TX    78704‐5924

CAREN STRULOWITZ EISENSTAER                    5‐14 LORI LANE                                                                                     FAIRLAWN         NJ    07410‐1624
CAREN SUE ZWEIFLER                             2665 HOMECREST AVE                                                                                 BROOKLYN         NY    11235‐4560
CARETHA E JACKSON                              270 CHEROKEE                                                                                       PONTIAC          MI    48341‐2004
CARETTA L COMBS                                6166 ROOT RD                                                                                       SPENCER          OH    44275‐9773
CAREY A BARRESE & FRANK BARRESE JT TEN         30170 CORTE COELHO                                                                                 TEMECULA         CA    92591‐1688
CAREY C GUPTON & PAULA H GUPTON JT TEN         611 COUNTRY CLUB DRIVE                                                                             STATE ROAD       NC    28676‐8910
CAREY E HOBART                                 3756 OAKHILL ROAD                                                                                  MARIETTA         NY    13110‐9731
CAREY H BANKSTON JR TR UA 03/19/2007 CAREY H   2967 BEAUMONT COVE                                                                                 PEARL            MS    39208
BANKSTON JR REV TRUST
CAREY J MOORE                                  185SO 9TH ST                                                                                       NEWARK           NJ    07107‐1403
CAREY JONES                                    23 GREENFIELD DR                                                                                   MONROE           LA    71202‐5914
CAREY K GREENE                                 203 BUMPHEAD RD                                                                                    AMERICUS         GA    31719‐8148
CAREY L SOMMERDYKE                             1011 GRANDVILLE AVE S W                                                                            GRAND RAPIDS     MI    49503‐5025
CAREY L VANOUS                                 W4610 COUNTY E                                                                                     CHILTON          WI    53014‐9799
CAREY M KOKOT                                  2220 AVALON AVE                                                                                    KETTERING        OH    45409‐1925
CAREY M NEE                                    PO BOX 3942                                                                                        WILMINGTON       DE    19807‐0942
CAREY M WHITFIELD JR                           838 SPRING VALLEY DR                                                                               FREDERICKSBURG   VA    22405‐1909
CAREY N LANE                                   1300 ELI LN                                                                                        LAWRENCEVILLE    GA    30045‐5410
CAREY O'KELLEY HAMMETT                         35 PELHAM DRIVE                                                                                    METAIRIE         LA    70005‐4453
CAREY R MILLER 3RD                             901 S WILLOW AVE                                                                                   TAMPA            FL    33606‐2944
CAREY R SNOW                                   2307 20TH ST                                                                                       NORTHPORT        AL    35476‐4205
CAREY R TOKIRIO & KAZUE VICKI TOKIRIO JT TEN   11711 LAGRANGE AVE                                                                                 LOS ANGELES      CA    90025‐1807
CAREY TUNE                                     2204 BEVERLY HEIGHTS                                                                               ALTAVISTA        VA    24517‐2004
CARGYLE G KISER                                2049 ELIZABETH PIKE                                                                                MINERAL WELLS    WV    26150
CARI A WARDER & TERESA C WARDER JT TEN         24838 AEROPOLIS DR                                                                                 MISSION VIEJO    CA    92691
CARIDAD E RODRIGUEZ CUST TRAVIS PAUL RODRIGUEZ 2733 CARLMONT PL                                                                                   SIMI VALLEY      CA    93065‐1421
UTMA CA
CARIDAD ZAMBRANO CUST NATASHA N MENENDEZ       8627 GLENCARIN TER                                                                                 MIAMI LAKES      FL    33016
UTMA FL
CARIN FOULKS                                   671 WEST LUPIN STREET                                                                              PAHRUMP          NV    89048‐3533
CARIN L TOLAND                                 3788 CANOSIA RD                                                                                    CLOQUET          MN    55720‐9264
CARIN LYNN BOOKE                               5004 BENEDICT CT                                                                                   AGOURA HILLS     CA    91377‐4773
CARIN SHAUGHNESSY                              9002 CHARNWOOD CT                                                                                  AUSTIN           TX    78729‐4615
CARINA M BAUCHIERO                             340 LOFTS DRIVE                                                                                    MELBOURNE        FL    32940
CARISSA RUFF                                   7387 DOVER DR                                                                                      YPSILANTI        MI    48197‐2926
CARL A ANDERSON                                300 SOUTH RATH AVE                        UNIT #5                                                  LUDINGTON        MI    49431‐2077
CARL A BLOOMBERG                               1450 NEW SCOTLAND ROAD                                                                             SLINGERLANDS     NY    12159‐9224
CARL A BOLAN                                   202 MILL ST                               APT C                                                    KOKOMO           IN    46902‐5164
CARL A BOWEN & TRENA K BOWEN JT TEN            1008 E 600 N                                                                                       ALEXANDRIA       IN    46001‐8791
CARL A BRANDENBURG & CONSTANCE F BRANDENBURG 41 HERMAN THAU RD                                                                                    ANNANDALE        NJ    08801‐3004
JT TEN
CARL A BROWN                                   7721 W CR 500 NORTH                                                                                MUNCIE           IN    47304‐9195
CARL A BUTLER                                  1777 S BUCHANAN ST                                                                                 GILBERT          AZ    85233‐8617
CARL A CASSIOL                                 413 NORTH‐CREEK DR                                                                                 DEPEW            NY    14043‐1950
CARL A CECILIA                                 45 HARPER RD                                                                                       SNYDER           NY    14226‐4047
CARL A CLAXTON                                 19520 SHREWSBURY                                                                                   DETROIT          MI    48221‐1844
CARL A CLAXTON & LEONA C CLAXTON JT TEN        19520 SHREWSBURY                                                                                   DETROIT          MI    48221‐1844
CARL A COPP JR                                 4261 NIGHTINGALE CT                                                                                LEBANON          OH    45036‐8173
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 547 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

CARL A CROWSON                                  55‐77 TALLENT RD                                                                                OOLTEWAH          TN    37363‐8117
CARL A D AMBROSIA                               872 DEBORAH DR                                                                                  WILLOWICK         OH    44095‐4317
CARL A FERCH                                    1055 N ZEEB RD                                                                                  ANN ARBOR         MI    48106
CARL A FLATHMANN JR                             550 ORAN WAY                                                                                    JESUP             GA    31545‐0115
CARL A GAROFALO JR                              134 SIMPSON ROAD                                                                                BROWNSVILLE       PA    15417‐9625
CARL A GENTILE JR                               2467 AMBERLY DR                                                                                 YOUNGSTOWN        OH    44511‐1901
CARL A GRADEL                                   3298 HILARY DR                                                                                  SAN JOSE          CA    95124‐2215
CARL A GRAU JR & ELIZABETH J GRAU JT TEN        29237 SCHWARTZ RD                                                                               WESTLAKE          OH    44145‐3816
CARL A HABERSTROH & MRS ARVILLA D HABERSTROH JT 3834 STERLING WAY                                                                               COLUMBIA          PA    17512‐9029
TEN
CARL A HANSEN JR                                2318 TURNER LANE                                                                                BEL AIR           MD    21015‐6113
CARL A HIGHTOWER                                5548 CANDLEWICK TRL                                                                             GASTONIA          NC    28056‐8922
CARL A HIGHTOWER & JACQUELYN S HIGHTOWER JT     5548 CANDLEWICK TRL                                                                             GASTONIA          NC    28056‐8922
TEN
CARL A HOMSHER                                  6233 W RIDGE DR                                                                                 FREMONT           MI    49412‐9234
CARL A HORTON                                   10073 E COLE RD                                                                                 DURAND            MI    48429‐9417
CARL A JAGGER & ALBERT E JAGGER & DOROTHY M     4691 W MONTGOMERY RD                                                                            CAMDEN            MI    49232‐9606
JAGGER JT TEN
CARL A JOHNSON & MRS MARGARET A JOHNSON JT TEN PO BOX 53                                                                                        CHESTERFIELD      NH    03443‐0053

CARL A LE VANDER & GRACE M LE VANDER JT TEN      150 BUTTERNUT LANE                                                                             STAMFORD          CT    06903‐3833
CARL A LENZ & MRS MARY LENZ JT TEN               136 CONDA LN                                                                                   OXFORD            MI    48371‐4622
CARL A LEPERA & BARBARA A LEPERA JT TEN          3095 ORCHARD RIDGE CIR                                                                         DULUTH            GA    30096‐7422
CARL A MC COMB & MRS ALICE L MC COMB JT TEN      2444 CARPENTER RD                                                                              LAPEER            MI    48446‐9106

CARL A MERRIWETHER                               2030 MCAVOY                                                                                    FLINT             MI    48503‐4248
CARL A MILLER                                    1684 WEST MAIN ST                                                                              NEWARK            OH    43055
CARL A MILLER & MRS SUSAN E MILLER JT TEN        168 RIVER RIDGE WAY                                                                            FOLSOM            CA    95630‐1840
CARL A O SHENSKY                                 30 PORTER HILL RD                                                                              ITHACA            NY    14850‐9342
CARL A OLSON                                     2213 S OAKHILL                                                                                 JANESVILLE        WI    53546‐9050
CARL A PETERSON                                  15 POTTER DR                                                                                   BELLINGHAM        MA    02019‐1645
CARL A PETRELLO                                  PO BOX 15046                                                                                   LAS VEGAS         NV    89114‐5046
CARL A PROUTY                                    PO BOX 31                                                                                      WEST BLOOMFIELD   NY    14585‐0031

CARL A QUATTROCCHI & ANTOINETTE QUATTROCCHI JT   156 BUFFALO ST                                                                                 STATEN ISLAND     NY    10306‐3854
TEN
CARL A REAL                                      76 POLARIS COURT                                                                               MILPITAS          CA    95035‐6230
CARL A RICHARDSON                                3306 E HANNA AVE                                                                               INDIANAPOLIS      IN    46237‐1225
CARL A ROEDELL                                   39 SMOKE STREET                                                                                NOTTINGHAM        NH    03290‐5637
CARL A RYAN                                      332 EVERGREEN DRIVE                                                                            TONAWANDA         NY    14150‐6436
CARL A SACHS JR CUST KRISTIN V SACHS UTMA IL     388 DU PAHZE ST                                                                                NAPERVILLE        IL    60565‐3048
CARL A SCHILLING                                 4915 BRANCH RD                                                                                 FLINT             MI    48506‐2087
CARL A SHEM & JUDITH C SHEM JT TEN               15575 W ROCKLAND RD                                                                            LIBERTYVILLE      IL    60048‐9674
CARL A SPINNLER JR                               261 SE 5TH AVENUE                                                                              POMPANO BEACH     FL    33060‐8023
CARL A STAUB CUST CHRISTINE D STAUB UGMA PA      137 BRYN MAWR AVE                                                                              NEWTOWN SQ        PA    19073‐4224

CARL A SZWARC                                    9981 OYSTER PEARL ST                                                                           LAS VEGAS         NV    89183‐6263
CARL A TEDFORD                                   PO BOX 1162                                                                                    FLINT             MI    48501‐1162
CARL A THOMAS                                    4610 BAILEY DR                                                                                 WILMINGTON        DE    19808‐4129
CARL A USHER                                     42 ABBE RD                                                                                     ENFIELD           CT    06082‐5205
CARL A VEREEN                                    4809 EAGLE SPRINGS CT                                                                          CLARKSTON         MI    48348‐5044
CARL A WEAVER                                    2223 CANFIELD                                                                                  DETROIT           MI    48207‐1158
CARL A WEBB                                      4280 TEMPLETON ROAD N W                                                                        WARREN            OH    44481‐9180
CARL A WEBER                                     727 CANYON GARDEN DR                                                                           KATY              TX    77450‐3207
CARL A WELLENKOTTER CUST KURT ALFRED             184 SHAGBARK DR                                                                                ROCHESTER         MI    48309‐1815
WELLENKOTTER UGMA MI
CARL A WEST 2ND                                  306 KIRKWOOD LN                                                                                CAMDEN            SC    29020‐2439
CARL A WRIGHT                                    6254 BENNETT LAKE RD                                                                           FENTON            MI    48430‐9079
CARL ALEXANDER JR                                8729 KINGSLEY DR                                                                               REYNOLDSBURG      OH    43068‐4787
                                                09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 548 of 850
Name                                                  Address1                              Address2              Address3         Address4          City               State Zip

CARL ALTHEIM                                          1455 9TH STREET #12                                                                            SANTA MONICA       CA    90401‐2701
CARL ALVIN PLACE & EDREY ELMERNA PLACE JT TEN         10072 ODESSA CEMETARY ROAD                                                                     ODESSA             MO    64076‐6211

CARL ANDLER                                           9078 N IRISH RD                                                                                MOUNT MORRIS       MI    48458‐9743
CARL ANDREW WILLIAMS                                  2077 PLEASANT VALLEY RD                                                                        MOUNTAIN CITY      TN    37683
CARL ANTHONY YOUNG                                    212 WALKER BUNGALOW RD                                                                         PORTSMOUTH         NH    03801‐5564
CARL APFEL                                            274 WILLIAM ST                                                                                 TONAWANDA          NY    14150‐3504
CARL ARIETTA                                          1191 MANCHESTER DRIVE                                                                          EL DORADO HLS      CA    95762
CARL ARTHUR BENDIX                                    RD 1 4749 FRENCH RD                                                                            CLINTON            NY    13323‐3714
CARL B BANNER                                         34 JOPHPURS RD                                                                                 KEARNEYSVILLE      WV    25430‐4738
CARL B BEAN & IDA J BEAN JT TEN                       251 GREAT RD                                                                                   MAPLE SHADE        NJ    08052‐3044
CARL B BULLOCK                                        5446 OLD SMITH VALLEY RD                                                                       GREENWOOD          IN    46143‐8820
CARL B CORNETT                                        2545 WILLIAMS AVE                                                                              CAMDEN             AR    71701‐6542
CARL B CRISTY & GORDON L CRISTY JT TEN                81 LAKESIDE DR                                                                                 SHREWSBURY         MA    01545‐4546
CARL B DAVIS CUST LAURA B DAVIS UGMA NY               1345 AVE OF AMERICAS                  INSTL SALES 46TH FL                                      NEW YORK           NY    10105‐0302
CARL B ECKSTROM                                       5413‐38TH AVE                                                                                  KENOSHA            WI    53144‐2719
CARL B GAGNE                                          7195 JOHNSON RD                                                                                FLUSHING           MI    48433‐9048
CARL B HORTON                                         217 WOFFORD WAY                                                                                SAGINAW            TX    76179‐1562
CARL B KRASKA                                         2796 TUPPER DR                                                                                 BAY CITY           MI    48706‐1534
CARL B KRISTOFF                                       40504 BOYER COURT                                                                              STERLING HEIGHTS   MI    48310‐6996

CARL B LINDSEY                                        3623 PATTERSON AV                                                                              GWYNN OAK          MD    21207‐6317
CARL B MILLS                                          199 FLORAL DR                                                                                  BATTLE CREEK       MI    49015‐4944
CARL B NELSON                                         988 MEMORIAL DRIVE U386                                                                        CAMBRIDGE          MA    02138‐5784
CARL B RAMSAY                                         4743 JASPER DR                        APT 107                                                  NEW PRT RCHY       FL    34652‐3641
CARL B RUDD                                           2462 GRACES RUN RD                                                                             WINCHESTER         OH    45697‐9404
CARL B SECHAN                                         10565 RUNYAN LK PT                                                                             FENTON             MI    48430‐2441
CARL B SHIVELEY                                       5701 MALLARD DR                                                                                HUBER HEIGHTS      OH    45424‐4147
CARL B SMITH                                          2647 W GRAND                                                                                   DETROIT            MI    48238‐2709
CARL B VARONE                                         4525 RITA AVE                                                                                  YOUNGSTOWN         OH    44515‐3829
CARL B WEBB II                                        200 CRESCENT COURT SUITE 1350                                                                  DALLAS             TX    75201‐6988
CARL B WILSON                                         8322 S BUTTER ST                                                                               GERMANTOWN         OH    45327‐8716
CARL BAER & ANNE BAER JT TEN                          361 BLAUVELT ROAD                                                                              BLAUVELT           NY    10913‐1530
CARL BAHOR CUST CHARLES BAHOR UTMA IN                 PO BOX 2672                                                                                    SAN RAMON          CA    94583‐7672
CARL BALZER JR                                        8996 BAUMHART ROAD                    RD #1                                                    AMHERST            OH    44001‐9750
CARL BARNETT CUST CARL BARNETT JR UGMA MI             19200 SPACE CENTER BLVD               APT 426                                                  HOUSTON            TX    77058‐3840
CARL BATZINGER U/GDNSHIP OF JOSEPH BATZINGER          419 SARATOGA RD                                                                                SCOTIA             NY    12302‐5216

CARL BAUER JR & TROY S HILL & CRYSTAL L HILL JT TEN   30797 ARMADA RIDGE RD                                                                          RICHMOND           MI    48062‐4611

CARL BEDFORD                                          5136 MELVIN DR                                                                                 CARMICHAEL         CA    95608‐5031
CARL BEECHER BALDWIN                                  1264 CRESTWOOD ROAD                                                                            TOLEDO             OH    43612‐2712
CARL BENFIELD                                         3404 ALEXANDRIA PIKE                                                                           ANDERSON           IN    46012‐9208
CARL BENNICE                                          15 STEPHENS AVE                                                                                MIDDLETOWN         NY    10941‐1137
CARL BERQUIST CUST KRISTEN BERQUIST UTMA VA           956 LAKESHORE DR                                                                               GROSSE POINTE SH   MI    48236‐1174

CARL BERQUIST CUST SEAN BERQUIST UTMA VA              956 LAKESHORE DR                                                                               GROSSE POINTE SH MI      48236‐1174

CARL BLANDING                                         PO BOX 1783                                                                                    SUN CITY           AZ    85372‐1783
CARL BOAL                                             4170 N IRONWOOD DR                                                                             APACHE JCT         AZ    85220
CARL BOONE                                            375 BUNKER HILL RD                                                                             COLUMBIA           MS    39429‐7829
CARL BOOS                                             70 BISCAY DR                                                                                   FLANDERS           NJ    07836‐9523
CARL BOUNDS JR                                        626 LASALLE AVE                                                                                BUFFALO            NY    14215‐1248
CARL BREWER                                           1123 ROSS AVE                                                                                  HAMILTON           OH    45013‐2542
CARL BRITTAIN CAWOOD                                  12075 SW 70 COURT                                                                              MIAMI              FL    33156‐5437
CARL C BRIM & PHYLLIS BRIM JT TEN                     17 MERRIWEATHER DR 11                                                                          ELWOOD             NE    68937‐2230
CARL C BULAK                                          38255 WINKLER ST                                                                               HARRISON TWP       MI    48045‐5365
CARL C HENKE                                          7068 FAIRGROVE DR                                                                              SWARTZ CREEK       MI    48473‐9408
CARL C JOHNSTON JR                                    910 CEDAR DR                                                                                   PURCELL            OK    73080‐2101
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 549 of 850
Name                                              Address1                            Address2             Address3          Address4          City             State Zip

CARL C LANCE                                      504 WOODLAND CIRCLE                                                                          DAWSONVILLE      GA    30534‐7242
CARL C MC CLELLAN                                 822 PARKERSBURG TURNPIKE                                                                     STAUNTON         VA    24401‐6120
CARL C MCMILLAN                                   2312 CHATFIELD DR                                                                            LAS VEGAS        NV    89128‐6865
CARL C MINOR                                      608 FAIRFIELD RD                                                                             MOUNT VERNON     IL    62864‐5046
CARL C MULLINS                                    611 LAPERALL RD                                                                              CHEBOYGAN        MI    49721‐8854
CARL C MUNIR                                      40101 KOPPERNICK RD                                                                          CANTON           MI    48187‐4278
CARL C PATRICK                                    4501 WASHINGTON AVE S E                                                                      CHARLESTON       WV    25304‐1827
CARL C PEDERSEN                                   RR1 BOX 1763 EL DO LAKE                                                                      KUNKLETOWN       PA    18058
CARL C PETTY CUST GREG M COLEMAN UGMA MO          2354 CHARTERWOOD CRT                                                                         MARYLAND HGTS    MO    63043‐1405
CARL C RUBINO & LUISA N RUBINO JT TEN             3596 TIMBERBROOKE TRL                                                                        POLAND           OH    44514‐5321
CARL C RYTLEWSKI                                  PO BOX 2049                                                                                  MIDLAND          MI    48641‐2049
CARL C SCHINDLER & MRS DIANA A SCHINDLER JT TEN   35 WEST MAIN AVE                                                                             MORGAN HILL      CA    95037‐4525

CARL C SMITH                                      17476 PARK                                                                                   MELVINDALE       MI    48122‐1263
CARL C SMITH                                      PO BOX 464                                                                                   WYNNEWOOD        OK    73098‐0464
CARL C TINSTMAN JR                                6898 HAMILTON MIDDLETOWN RD         APT 320                                                  MIDDLETOWN       OH    45044
CARL C TRITTIPO                                   616 CHAPEL HILL ROAD                                                                         INDIANAPOLIS     IN    46214‐3736
CARL C UPTEGRAFT                                  8386 W NATIONAL ROAD                                                                         NEW CARLISLE     OH    45344‐9285
CARL CALKINS CARVER                               9692 DELAFIELD CIR                                                                           HUNTINGTN BCH    CA    92646‐3610
CARL CHESTER                                      PO BOX 206                          549 EAST SIDE ROAD                                       ADDISON          ME    04606‐3205
CARL CLARENCE STOEHR III                          26462 AVENIDA DESEO                                                                          MISSION VIEJO    CA    92691‐3302
CARL CLORE JR                                                                                                                                  CRESTWOOD        KY    40014
CARL COLE                                         1205 ASH ST                                                                                  MUSKOGEE         OK    74403‐2102
CARL COLEMAN                                      1647 NEOME DRIVE                                                                             FLINT            MI    48503‐1126
CARL CREIGH SCHINDLER CUST LISA ANN SCHINDLER     1896 SWINTON DR                                                                              FOLSOM           CA    95630‐6126
UGMA CA
CARL CULOTTA                                      116 STATE ST                                                                                 MEDINA           NY    14103‐1336
CARL D ALEXANDER                                  243 ARROWHGAD TRAIL                                                                          KINGSTON         TN    37763
CARL D ASMUS                                      742 CAMPBELL ST                                                                              FLINT            MI    48507‐2423
CARL D BALCH                                      119 HEDGESTONE DR                                                                            HUNTSVILLE       AL    35806
CARL D BOGGS                                      PO BOX 28                                                                                    WAYNESVILLE      OH    45068‐0028
CARL D BREWER & ARLENE D BREWER JT TEN            105 HILLSIDE RD                                                                              OAK RIDGE        TN    37830‐6318
CARL D BROWNLEE JR                                745 POPLAR ST NE                                                                             MONROE           GA    30655‐6167
CARL D CLARK                                      1137 DUTCH RIDGE RD                                                                          PARKERSBURG      WV    26104‐7033
CARL D DANTZER                                    G1154 W KURTZ AVE                                                                            FLINT            MI    48505
CARL D DELAMAR                                    720 MARTHA'S CHAPEL RD                                                                       APEX             NC    27502‐5651
CARL D DELONG                                     5875 SPEEDWAY DR                                                                             SPEEDWAY         IN    46224‐5358
CARL D FANNING                                    703 SE 100TH LN                                                                              GOLDEN CITY      MO    64748‐8121
CARL D FIFIELD                                    3170 NIGHT HERON LN                                                                          VENICE           FL    34293‐1483
CARL D FRANKLIN                                   35474 ORANGELAWN                                                                             LIVONIA          MI    48150‐2539
CARL D GIUFFRE & ANN C GIUFFRE JT TEN             1500 CHESAPEAKE CT                                                                           MELBOURNE        FL    32940‐6845
CARL D GLADDEN                                    11501 SILVERLEAF LN                                                                          FREDERICKSBURG   VA    22407‐7427
CARL D GLADDEN & MRS DEBORAH A GLADDEN JT TEN     11501 SILVERLEAF LN                                                                          FREDERICKSBURG   VA    22407‐7427

CARL D HALL                                       RR 11 BOX 944                                                                                BEDFORD          IN    47421‐9710
CARL D HERMAN & DIANNE H HERMAN JT TEN            3116 LUPINE DR                                                                               ARNOLD           MO    63010‐5802
CARL D HOKE                                       511 N 600 E                                                                                  MARION           IN    46952‐9142
CARL D HULSE                                      RR1                                                                                          PALESTINE        IL    62451‐9801
CARL D JERMEAY                                    11495 W CARLETON RD                                                                          CLAYTON          MI    49235‐9731
CARL D KAMPE                                      607 S 3RD ST                                                                                 CLINTON          MO    64735‐2811
CARL D KERN                                       2484 NE RAINTREE DR                                                                          NEW CASTLE       IN    47362‐5030
CARL D KING                                       10318 W COUNTY LINE RD                                                                       BARRYTON         MI    49305‐9627
CARL D KISSINGER                                  6035 W 223 ST                                                                                BUEYRUR          KS    66013‐9050
CARL D KUTSKO                                     11105 PALMYRA RD                                                                             NORTH JACKSON    OH    44451‐9725
CARL D LADE                                       206 BUCHANAN DR                                                                              MIDLAND          MI    48642‐3316
CARL D LYONS & CAROLYN A LYONS JT TEN             2620 W CEDAR LAKE RD                                                                         GREENBUSH        MI    48738‐9661
CARL D MATNEY                                     1014 STEVENSON RD                                                                            XENIA            OH    45385‐7001
CARL D PURNELL & JEANNETTE W PURNELL JT TEN       901 W 37TH                                                                                   PINE BLUFF       AR    71603‐6439
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 550 of 850
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

CARL D ROLL                                        124 E BRITTON RD                                                                               MORRICE          MI    48857‐9708
CARL D SNYDER                                      509 HOMER RD                                                                                   MARSHALL         MI    49068‐1911
CARL D SOLIDAY                                     2812 ESTES CT                                                                                  NEW CASTLE       IN    47362‐1870
CARL D SPARKMAN                                    802 UPPER CANE CREEK                                                                           STANTON          KY    40380‐9757
CARL D STEPHENS                                    240 FAIRBROOK                                                                                  NORTHVILLE       MI    48167‐1504
CARL D STONE TR LE ROY C STONE TRUST UA 10/07/94   16 NO NAME RD                                                                                  STOW             MA    01775‐1618

CARL D TYLER U/GDNSHP OF CARL D ARNOLD             335 POPLAR AVE                                                                                 MILLBRAE         CA    94030‐2450
CARL D VARNEY & GENEVIEVE VARNEY JT TEN            33462 STONEWOOD DRIVE                                                                          STERLING HTS     MI    48312
CARL D WENTLER                                     1716 TAMARACK LANE                                                                             JANESVILLE       WI    53545‐0952
CARL D YOUNG                                       408 N WHEELING                                                                                 KANSAS CITY      MO    64123‐1548
CARL D'ANCONA & PHILIP D'ANCONA JT TEN             PO BOX 547                                                                                     LARCHMONT        NY    10538
CARL DAN JUBAR                                     814 E KEARSLEY ST                     APT 121                                                  FLINT            MI    48503‐1957
CARL DAVID EIGENAUER                               3940 HARBOR POINT DR                                                                           MUSKEGON         MI    49441‐4682
CARL DAVID ENGLE & MRS HERMINE PADEN TEN COM       835 MILFORD MILL RD                                                                            BALT             MD    21208‐4634

CARL DAVID HOBSON & CARL R L HOBSON JT TEN         2465 CEDAR KEY DRIVE                                                                           LAKE ORION       MI    48360‐1823
CARL DEAN KRETZLER & ESTHER M KRETZLER JT TEN      4806 W 1525 S                                                                                  CEDAR CITY       UT    84720‐4660

CARL DEAN KRETZLER & ESTHER M KRETZLER JT TEN      5455 KIRN RD                                                                                   FALLEN           NV    89406‐7134

CARL DELBERT EVANS                                 4689 66TH LN N #2                                                                              SAINT PETERSBURG FL    33709‐2921

CARL DERRY                                         63 BRUCE PK DR                                                                                 TRENTON          NJ    08618‐5109
CARL DI LALLO & FLORENCE DI LALLO JT TEN           3916 DEER TRAIL AVE                                                                            MINERAL RIDGE    OH    44440‐9046
CARL DOHN JR                                       5111 OLD PLUM GROVE RD                                                                         PALATINE         IL    60067‐7319
CARL DOMINIK                                       11746 CHISHOLM TRAIL                                                                           VICTORVILLE      CA    92392
CARL DONATO JR TR CAROL DONATO JR TRUST UA         5730 KINGFISHER                                                                                CLARKSTON        MI    48346‐2939
07/02/98
CARL DORRANCE                                      575 WILMARTH ST                                                                                ATTLEBORO        MA    02703‐5419
CARL DU BOIS & HELENE DU BOIS HOFFMAN JT TEN       ATT HELENE MEIDL                      286 BEACHVIEW # 32                                       PACIFICA         CA    94044‐1555

CARL DZAPO                                        7490 MCGUIRE RD                                                                                 FENTON           MI    48430‐8974
CARL E ANDERSON                                   4707 ELM PL                                                                                     TOLEDO           OH    43613‐3030
CARL E BAKER & BARBARA A BAKER TEN COM            174 DUNLEITH DR                                                                                 DESTREHAN        LA    70047‐2118
CARL E BALDWIN                                    583 EASTWOOD RD                                                                                 HINCKLEY         OH    44233‐9496
CARL E BAREFOOT & SHIRLEY BAREFOOT TEN ENT        3 ALTA VITA DR                         APT 502                                                  GREENSBURG       PA    15601‐9726
CARL E BAUER & BARBARA L BAUER TEN ENT            117 GOODRICH                                                                                    VASSAR           MI    48768‐1729
CARL E BEAUVAIS & HILDA M BEAUVAIS JT TEN         6715 CHURCH RD                                                                                  IRA              MI    48023‐1905
CARL E BERGKVIST                                  1391 FIRETHORN AVE                                                                              RIVERSIDE        CA    92504‐5603
CARL E BIGELOW & JUDY RETTKOWSKI JT TEN           CARL E BIGELOW                         7769 OSPREY RIDGE                                        WATERFORD        MI    48327‐1479
CARL E BLEIL                                      132 CHALMERS DR                                                                                 ROCHESTER        MI    48309‐1844
CARL E BOWLING                                    6943 EVANGELINE                                                                                 DEARBORN HTS     MI    48127‐2031
CARL E BROWN                                      15340 KENTUCKY ST                                                                               DETROIT          MI    48238‐1713
CARL E BROWN                                      3360 WEAVER RD                                                                                  BATAVIA          OH    45103‐6201
CARL E BUSCH & TAMMY J BUSCH JT TEN               5157 CORDOY LN                                                                                  SAN JOSE         CA    95124‐5604
CARL E CARLBERT                                   38 EAST STREET                                                                                  SOUTHINGTON      CT    06489‐3910
CARL E CARPENTER                                  163 S GRANT CITY RD                                                                             SHIRLEY          IN    47384‐9639
CARL E CASSEL                                     4762 CUMMINGS RD                                                                                RHODES           MI    48652‐9702
CARL E CHRISTMAN                                  128 DOUBLE EAGLE DR                                                                             DAYTONA BEACH    FL    32119
CARL E COBB TR UA 04/18/2007 THE CARL ELBERT COBB 3982 TROUGH SPRINGS COURT                                                                       ADAMS            TN    37010
REVOCABLE TRUST
CARL E CRIPPEN                                    12736 DUCHESS ST                                                                                DETROIT          MI    48224‐1087
CARL E CURRENT                                    7445 DAYTON RD                                                                                  ENON             OH    45323‐1464
CARL E DEETER                                     3614 LAUREL RD                                                                                  BRUNSWICK        OH    44212‐3683
CARL E DICKERSON & ASONDRA J DICKERSON JT TEN     9764 S 525 E                                                                                    JONESBORO        IN    46938‐9742

CARL E DUNLAP                                      11900 WEST 143 TERR                                                                            OLATHE           KS    66062‐9413
CARL E ENGLEHARDT                                  1063 W RIDGE RD                                                                                ESSEXVILLE       MI    48732‐9694
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 551 of 850
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

CARL E FLETCHER & MRS LILA R FLETCHER JT TEN       5016 N CALLE BUJIA                                                                             TUCSON           AZ    85718‐6171
CARL E FLORA                                       6045 N MAIN ST                        APT 220                                                  DAYTON           OH    45415‐3197
CARL E FRANCY                                      PO BOX 1011                                                                                    HARRISONVILLE    MO    64701‐1011
CARL E FRAZIER                                     149 BURNHAM E ST 10                                                                            BATTLE CREEK     MI    49015‐2597
CARL E GIBSON JR                                   25 HAGOOD CT                                                                                   SPARTANBURG      SC    29307‐2626
CARL E GIERMAN                                     5661 IMLAY CITY RD                                                                             ATTICA           MI    48412‐9790
CARL E GLASSCOCK                                   4315 SOUTH ARLINGTON AVENUE                                                                    INDIANAPOLIS     IN    46237‐3504
CARL E GRANFORS & VERA L GRANFORS TEN COM          6901 WILDWOOD LANE NE                                                                          ALBUQUERQUE      NM    87111‐1081
CARL E GROSE                                       5757 ELLSWORTH COURT                                                                           MERRILLVILLE     IN    46410‐2162
CARL E GROSE & MARY K GROSE JT TEN                 5757 ELLSWORTH CT                                                                              MERRILLVILLE     IN    46410‐2162
CARL E HART                                        1227 W ARCH                                                                                    PORTLAND         IN    47371‐3001
CARL E HENNING                                     1256 PRIESTLY DR                      APT 305                                                  ROCK HILL        SC    29732‐2562
CARL E HENNING & SHEILA G ADKINS‐HENNING JT TEN    1256 PRIESTLY DR                      APT 305                                                  ROCK HILL        SC    29732‐2562

CARL E HERMISON                                    2809 NORTH ROAD N E                                                                            WARREN           OH    44483‐3046
CARL E HICKS                                       12256 KNAPP HWY                                                                                BROOKLYN         MI    49230‐9251
CARL E HOLIDAY                                     2102 WALNUT                                                                                    SAGINAW          MI    48601‐2033
CARL E JAYNE & ELIZABETH W JAYNE JT TEN            23 ORCHARD STREET                                                                              NEW LONDON       CT    06320
CARL E JOHNSON                                     6510 COVINGTON RD                     APT 111              FT WAYNE                            FORT WAYNE       IN    46804‐7332
CARL E JOHNSON                                     9880 OAK HILL RD                                                                               HOLLY            MI    48442‐8786
CARL E JONES                                       7205 INDEPENDENCE LN                                                                           FORT WORTH       TX    76140‐1907
CARL E JONES                                       29455 E TRANCAS DR                                                                             CATHEDRAL CITY   CA    92234‐7400
CARL E JUERGENS                                    1504 N LIMESTONE ST                                                                            SPRINGFIELD      OH    45503‐3332
CARL E JURRUS JR                                   8375 EAGLE ROAD                                                                                KIRTLAND         OH    44094‐9354
CARL E KIGER                                       RR1                                                                                            KINGMAN          IN    47952‐9801
CARL E KIMBLE JR & FRANKIE BARBARA KIMBLE JT TEN   4587 ALPINE DR                                                                                 LILBURN          GA    30047‐4601

CARL E KOEPPEN                                     430 BROAD                                                                                      OMER             MI    48749‐9605
CARL E KORTE & SUSAN K REGETZ JT TEN               19 CRYSTAL CT                                                                                  BLOOMINGTON      IL    61704‐4594
CARL E LAYNE                                       111 HILLSIDE DR                                                                                ELKINS           WV    26241‐9583
CARL E LEE                                         2218 HILLSDALE DRIVE                                                                           AIKEN            SC    29803‐5234
CARL E LIBBY                                       5702 ROSSMORE DRIVE                                                                            BETHESDA         MD    20814‐2228
CARL E LINDENMAYER JR                              1189 SCOTLAND LANDING ROAD                                                                     WEST POINT       VA    23181‐3921
CARL E LINDSEY                                     405 S HIGH ST                                                                                  MT ORAB          OH    45154‐9042
CARL E LINK & HELEN L LINK JT TEN                  30 WATERFORD CIR                                                                               ROCHESTER        NY    14618‐5421
CARL E LITTLE                                      210 HOLLYHOCK DR                                                                               FRANKLIN         OH    45005‐2119
CARL E LYKINS                                      PO BOX 7                                                                                       SELMA            IN    47383‐0007
CARL E MASON & IDA M MASON JT TEN                  1738 WALNUT CREEK DRIVE                                                                        FLINT            MI    48507‐2287
CARL E MAYFIELD                                    PO BOX 596                                                                                     ARIZONA CITY     AZ    85223‐0596
CARL E MC LAUGHLIN JR                              2207 FITZHUGH ST                                                                               BAY CITY         MI    48708‐8666
CARL E MCKONE                                      8003 N BYRON RD                                                                                NEW LOTHROP      MI    48460‐9712
CARL E MEADWELL JR                                 246 RATTEDGE RD                                                                                TOWNSEND         DE    19734
CARL E MILLS                                       801 BRYANT RIDGE RD                                                                            BAXTER           TN    38544‐3902
CARL E MOBLEY                                      4440 HUPPEL AVE                                                                                ORLANDO          FL    32811‐3876
CARL E MORRISON JR                                 1113 MAIN ST                                                                                   EARLE            AR    72331‐1618
CARL E MORTON                                      515 REBECCA STREET                                                                             LAWRENCEVILLE    GA    30045‐4765
CARL E MYERS                                       374 DEVON PL                                                                                   LAKE MARY        FL    32746‐5038
CARL E NICKEL & JEAN H NICKEL JT TEN               110 HIGHLANDER HEIGHTS DR                                                                      GLENSHAW         PA    15116‐2534
CARL E NICOL                                       4272 SOUTH 550 WEST                                                                            NEW PALESTINE    IN    46163‐9512
CARL E NOMANN & MRS FREDA NOMANN JT TEN            313 N 7TH ST                                                                                   MONTEBELLO       CA    90640‐4209
CARL E OSLUND JR & MRS CYNTHIA A OSLUND JT TEN     405 W BROAD ST                                                                                 GREENSBORO       GA    30642‐1049

CARL E OVERTON & RUTHANNA V OVERTON JT TEN         3920 TODD RD                                                                                   INDIANAPOLIS     IN    46237‐9371

CARL E PANNELL                                     3170 BUFFALO RD                                                                                LONG ISLAND      VA    24569‐5018
CARL E PARTAIN                                     3801 CRAIG DR                                                                                  FLINT            MI    48506‐2681
CARL E PILGRIM                                     30 CHURCHILL AVE                      APT 510                                                  CAMBRIDGE        MA    02140‐1134
CARL E RAGUSE & JANICE RAGUSE JT TEN               114 NORTH BEN                                                                                  PLANO            IL    60545‐1415
CARL E RICHMOND                                    10123 WENGERLAWN RD                                                                            BROOKVILLE       OH    45309‐9626
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 552 of 850
Name                                               Address1                              Address2                 Address3      Address4          City               State Zip

CARL E RIDDLE                                      5114 4TH STREET                                                                                BALTIMORE          MD    21225‐3102
CARL E ROBINSON                                    3714 COMANCHE ST                                                                               FLINT              MI    48507‐4305
CARL E ROSS                                        3171 HURON PLACE                                                                               LIMA               OH    45806
CARL E RUSH                                        RR#2 POST OFFICE BOX 383                                                                       ORLEANS            IN    47452‐9802
CARL E RUTH                                        4901 STATE ROUTE 181                                                                           CRESTLINE          OH    44827‐9623
CARL E RYNKOWSKI                                   3692 PROUTY RD                                                                                 TRAVERSE CITY      MI    49686‐9110
CARL E RYNKOWSKI & MARY J RYNKOWSKI JT TEN         3692 PROUTY RD                                                                                 TRAVERSE CITY      MI    49686‐9110
CARL E SABO JR                                     11166 NICHOLS RD                                                                               MONTROSE           MI    48457‐9113
CARL E SALLEY                                      BOX 488                                                                                        SPRINGFIELD        SC    29146‐0488
CARL E SCHROEDER                                   5397 LAKE DR                                                                                   CELINA             OH    45822‐8133
CARL E SCHULZ TR CARL E SCHULZ TRUST UA 12/22/97   1501 INDIAN RIDGE TRL                                                                          NEW RICHMOND       OH    45157‐9127

CARL E SCHUNKE                                     8836 EAST COUNTY RD 100 N                                                                      AVON               IN    46123
CARL E SCHUNKE & VIRGINIA A SCHUNKE JT TEN         8836 EAST COUNTY RD 100 N                                                                      AVON               IN    46123
CARL E SHEPARD & MRS JOAN B SHEPARD JT TEN         105 PERRY ST                                                                                   MOUNT CARMEL       IL    62863‐2579
CARL E SMITH                                       RR 2 BOX # 1501‐3                                                                              SILEX              MO    63377‐9802
CARL E STANEK                                      72650 FAYE CT                                                                                  SOUTH HAVEN        MI    49090‐6711
CARL E STUMP                                       314 HICKORY LANE                                                                               SEAFORD            DE    19973‐2020
CARL E SWANSON CUST MARIAH J MIKLUSAK UTMA MI      15494 EASTWOOD DR                                                                              MONROE             MI    48161‐3906

CARL E SYKES JR                                    720 SHIRLEY AVE                                                                                NORFOLK            VA    23517‐2006
CARL E TALASKI                                     555 TRACY LANE                                                                                 MILFORD            MI    48381‐1575
CARL E THOMAS                                      14867 HUBBELL                                                                                  DETROIT            MI    48227‐2927
CARL E TINKHAM JR                                  900 S LEXINGTON SPRINGMILL RD                                                                  MANSFIELD          OH    44903‐8651
CARL E TOUCHSTONE                                  PO BOX 962                                                                                     SALEM              NJ    08079‐0962
CARL E TUFFORD JR                                  7272 YOUNESS DR                                                                                GRAND BLANC        MI    48439‐9658
CARL E VAN LAAN                                    7150 CLYDE PARK S W                                                                            BYRON CENTER       MI    49315
CARL E VANALSTINE                                  1625 WATERSTONE DR                                                                             LAFAYETTE          IN    47909‐7205
CARL E VANNATTA                                    6888 E COUNTY ROAD 600 S                                                                       STRAUGHN           IN    47387‐9705
CARL E VONTHRON                                    424 SHAWNEE PLACE                                                                              HURON              OH    44839‐1848
CARL E WAMPOLE & MARGENE B WAMPOLE JT TEN          1343 S RIDGE LAKE CIR                                                                          LONGWOOD           FL    32750‐2877

CARL E WARNER                                      805 BELLOWS DR                                                                                 NEW CARLISLE       OH    45344‐2404
CARL E WELSH & MARY A WELSH JT TEN                 4500 RL SHOEMAKER DR                                                                           EL PASO            TX    79924‐6802
CARL E WEST JR                                     519 E CHURCH‐PO BOX 204                                                                        SPARTA             IL    62286‐0204
CARL E WILFONG                                     RR2 BOX 230                                                                                    PATTON             MO    63662‐9753
CARL E WILL                                        417 ANCHORAGE CIR                                                                              HURON              OH    44839‐1902
CARL E WINSKY                                      3777 TRYELL RD                                                                                 OWOSSO             MI    48867‐9281
CARL E YOUNG                                       635 S KENSINGTON AVE                                                                           LA GRANGE          IL    60525‐2706
CARL EDWARD BUMEN                                  40 QUAIL RD                                                                                    CHILLICOTHE        OH    45601‐9524
CARL EDWARD KIZER JR                               1423 SOUTH EBRIGHT ST                                                                          MUNCIE             IN    47302‐3545
CARL ELLABARGER                                    703 MENDOTA COURT                                                                              KOKOMO             IN    46902‐5529
CARL EMANUEL                                       25 DAVENPORT AVE                                                                               NEW ROCHELLE       NY    10805‐3446
CARL EMS TR UA 10/08/1992 CARL F EMS TRUST         3102 SMITH ROAD                                                                                BORDEN             IN    47106
CARL EUGENE TAYLOR                                 PO BOX 444                                                                                     BURLINGTON         IN    46915‐0444
CARL EVANS                                         11370 AZALEA LN                                                                                FT MYER BEACH      FL    33931‐3199
CARL EVANS                                         C/O LUCILLE EVANS                     11034 COUNTRY ROAD 624                                   DUDLEY             MO    63936
CARL F ANDERSON                                    1000 S 61ST ST                                                                                 WEST ALLIS         WI    53214‐3203
CARL F BRAKMAN & CYNTHIA D BRAKMAN JT TEN          208 SELDEN ROAD                                                                                NEWPORT NEWS       VA    23606‐3656
CARL F BROWN & BETTY J BROWN JT TEN                1128 PROSPECT ST                                                                               WESTFIELD          NJ    07090‐4242
CARL F CRONEBERGER                                 42 HAMILTON TERRACE                                                                            BERKELEY HEIGHTS   NJ    07922‐2055

CARL F DENNER                                      8028 LANSDALE RD                                                                               BALTIMORE          MD    21224‐2130
CARL F DIETZ                                       8360 W 81ST DR                                                                                 ARVADA             CO    80005‐2401
CARL F DORSETT                                     510 N HOWARD                                                                                   NEWMAN             IL    61942‐9742
CARL F ELBERGER II TOD JAMES L ELBERGER SUBJECT TO 14330 FAIRVIEW LN                                                                              GOLDEN             CO    80401
STA TOD RULES
CARL F ELIASON                                     11842 COASTAL LANE W                                                                           JACKSONVILLE       FL    32258‐5336
CARL F FUNKE                                       2754 W FRANKLIN ST                                                                             EVANSVILLE         IN    47712‐5627
                                                09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 553 of 850
Name                                                  Address1                             Address2             Address3          Address4          City              State Zip

CARL F GEERTZ TR UA 08/17/2007 CARL F GEERTZ          1726 HWY 6                                                                                    WEST LIBERTY      IA    52776
REVOCABLE TRUST
CARL F GEIBEL JR                                      65 MAIN ST                                                                                    LANDISVILLE       PA    17538‐1124
CARL F GORAN                                          24147 CHICAGO                                                                                 DEARBORN          MI    48124‐3263
CARL F GRAFTON                                        128 EDWARDS N W                                                                               WARREN            OH    44483‐1118
CARL F GREER                                          2125 W HWY 42                                                                                 LA GRANGE         KY    40031
CARL F HAUSMANN                                       30 DEER CREEK WOODS                                                                           LADUE             MO    63124‐1411
CARL F HENDRY & SHIRLIE A HENDRY JT TEN               7177 EVENTRAIL DR                                                                             POWELL            OH    43065‐7342
CARL F HENSLEY                                        PO BOX 103                                                                                    SNELLVILLE        GA    30078‐0103
CARL F HOLZINGER                                      422 VALLEYCREST DR                                                                            DAYTON            OH    45404‐2223
CARL F HUFF                                           8708 CHAMBLEE CT                                                                              CHARLESTON        SC    29420‐6862
CARL F HYSOM                                          313 CLEARVIEW DRIVE                                                                           PLEASANT HILL     MO    64080‐1801
CARL F JARBOE & ELIZABETH B JARBOE JT TEN             1134 BUCKINGHAM                                                                               GROSSE PTE CITY   MI    48230‐1463
CARL F KEHR                                           7202 MIRAMIST CIR                                                                             MIDLAND           MI    48642‐8285
CARL F KOZLOWSKI                                      24906 S SYLBERT                                                                               REDFORD           MI    48239‐1642
CARL F LAUBE & KAREN LAUBE TEN COM                    18242 CIDER MILL ST                                                                           MACOMB            MI    48044‐4137
CARL F LAUBE & KAREN M LAUBE JT TEN                   18242 CIDER MILL ST                                                                           MACOMB TWP        MI    48044‐4137
CARL F MARTIN                                         3501 S STATE RT 4                                                                             ATTICA            OH    44807‐9597
CARL F NELSON                                         15402 E ARIZONA AVE                  UNIT 306                                                 AURORA            CO    80017‐4095
CARL F OLSON & HELEN K OLSON JT TEN                   #1746 WILLIAM HARRISON DRIVE                                                                  BILOXI            MS    39531
CARL F ROGHAN                                         112 1/2 W BROADWAY                                                                            SCOTTVILLE        MI    49454‐1017
CARL F SCHAENING & ALICE M QUICK JT TEN               15894 19 MILE RD                     APT 337                                                  CLINTON TWP       MI    48038‐6353
CARL F SCHAENING & NANCY JO RYSZTAK JT TEN            15894 19 MILE RD                     APT 337                                                  CLINTON TWP       MI    48038‐6353
CARL F SCHNEIDER                                      11800 BLACK PIKE                                                                              NEW CARLISLE      OH    45344‐9122
CARL F SCHRADER                                       5710 S 108TH ST                      APT 232                                                  OMAHA             NE    68137‐3984
CARL F SCHUNKE                                        794 PINE LAKE DR                                                                              GREENWOOD         IN    46143‐7512
CARL F SEAVER                                         2038 MEADOW RIDGE DRIVE                                                                       WALLED LAKE       MI    48390‐2657
CARL F SEPMEYER JR                                    PO BOX 523                                                                                    MOREHEAD CITY     NC    28557‐0523
CARL F SHEFFERD                                       361 CHARLES ST                                                                                BELLEVILLE        MI    48111‐2623
CARL F SIMPSON                                        500 SCHOOL LANE                                                                               NEW CASTLE        DE    19720‐4210
CARL F STIEFEL ELIZABETH C STIEFEL & CARL FREDERICK   PO BOX148                            807 3RD ST                                               VICTOR            IA    52347‐0148
STIEFEL II JT TEN
CARL F TIMEUS JR                                      430 SW 206TH ST                                                                               NORMANDY PARK     WA    98166
CARL F WILLIAMS                                       1330 WILLIAMSON RD                   LOT 432                                                  GOODLETTSVILLE    TN    37072‐8946
CARL FINGER & MRS MARGARET FINGER JT TEN              660 PRESTWICK LN UNIT 408                                                                     WHEELING          IL    60090‐6252
CARL FISHER                                           1901 PINE TREE ST                                                                             SAINT PETERS      MO    63376‐6625
CARL FREEMAN JR                                       308 HARRISON AVE                                                                              LANCASTER         OH    43130‐2903
CARL G A OLSEN & FLORENCE I OLSEN JT TEN              3354 S 114TH ST                                                                               OMAHA             NE    68144‐4654
CARL G ALBRIGHT                                       1318 BAYVIEW RD                                                                               BATH              NC    27808‐9464
CARL G BAILEY                                         309 BRISBANE AVE                                                                              WESTERVILLE       OH    43081‐3427
CARL G BARKER                                         801 S SQUIRREL                                                                                AUBURN HEIGHTS    MI    48057
CARL G BARNETT                                        5701 EAST 46TH ST                                                                             INDIANAPOLIS      IN    46226‐3313
CARL G BOGGS                                          3333 SPRUCE APT 3201                                                                          ORION             MI    48359‐1048
CARL G BROWN & ROBERT G BROWN JR JT TEN               804 MINEBANK RD                                                                               MIDDLETOWN        VA    22645‐2143
CARL G BUBOLZ                                         3706 LIDO DR                                                                                  HIGHLAND          MI    48356‐1743
CARL G DAHLGREN                                       516 S PINE ST                                                                                 MT PROSPECT       IL    60056
CARL G FAHLSTROM CUST ERIC A NASH UTMA MA             53 HUNNEWELL ST                                                                               NEEDHAM           MA    02494‐1809
CARL G HABERBOSCH                                     9518 SCOTTSDALE DR                                                                            BROADVIEW HTS     OH    44147‐2364
CARL G HURST & ELLA J HURST JT TEN                    5173 FRANKWILL                                                                                CLARKSTON         MI    48346‐3719
CARL G JOHNSON                                        PO BOX 392                                                                                    FOOTVILLE         WI    53537‐0392
CARL G KARLSTROM                                      9990 SASHABAW                                                                                 CLARKSTON         MI    48348‐2035
CARL G MCVICKER III & GAYLE T MCVICKER JT TEN         9004 BLUFFWOOD CT                                                                             BURKE             VA    22015‐3606
CARL G MOORE                                          1913 OAK LANE RD                                                                              WILMINGTON        DE    19803‐5237
CARL G NEAL                                           3551 15TH STREET                                                                              DETROIT           MI    48208‐2643
CARL G RASMUSSEN & BEATRICE L RASMUSSEN JT TEN        8089 STANLEY                                                                                  WARREN            MI    48093‐2733

CARL G RAUSCH CUST JOHN T RAUSCH UTMA CA              347 GLENGARRY DR                                                                              AURORA            OH    44202‐8585
CARL G SPEAKS JR                                      43340 ALVA                                                                                    BELLEVILLE        MI    48111‐2802
CARL G STARCHER                                       6872 LOVE WARNER RD                                                                           CORTLAND          OH    44410‐9661
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 554 of 850
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

CARL G STEIBER                                     19316 LISADELL DR                                                                               TINLEY PARK       IL    60477‐4489
CARL G STRAND                                      1565 DOUGLAS DR                                                                                 TAWAS CITY        MI    48763‐9440
CARL G STRONG                                      3100 EWALD CIRCLE                                                                               DETROIT           MI    48238‐3119
CARL G TELBAN CUST CARL TELBAN JR UGMA NY          28 ROSEMERE RD                                                                                  BALLSTON LAKE     NY    12019
CARL G THURSTON SR                                 10401 N 79TH AVE                       APT 107                                                  PEORIA            AZ    85345‐0743
CARL G YATES                                       33 MOSS ST                                                                                      HIGHLAND PARK     MI    48203‐3750
CARL GAMBURD TR CARL GAMBURD LIVING TRUST UA       9825 FAIRFIELD                                                                                  LIVONIA           MI    48150‐2774
09/04/95
CARL GEORGE OLA JR                                 7 RIVER PARKE DR                                                                                ROCKY RIVER       OH    44116‐2000
CARL GERROS CUST CARLA C GERROS UGMA               PO BOX 74                                                                                       HOUSATONIC        MA    01236‐0074
CARL GISONNI                                       200 WINSTON DRIVE                      CONDOR#2118                                              CLIFFSIDE PARK    NJ    07010‐3235
CARL GISONNI JR                                    640 SHERMAN AVE                                                                                 THORNWOOD         NY    10594‐1431
CARL GLYN MATHEWS                                  1801 LOEHR ROAD                                                                                 LA GRANGE         TX    78945‐6043
CARL GRAF                                          139 SMALLEY AVE                                                                                 MIDDLESEX         NJ    08846‐2230
CARL GRAF & HILDA GRAF JT TEN                      10917 VALLEY FORGE CIRCLE                                                                       KING OF PRUSSIA   PA    19406‐1127
CARL GRUNO PERS REP EST BEATRICE E JOHNSON         C/O ARTHUR DECAMP                      680 BUCK BLVD                                            CALHOUN           GA    30701‐4353
CARL GUSSIE                                        5738 LOGAN ARMS DR                                                                              GIRARD            OH    44420‐1642
CARL H AUERSCH                                     6410 S LACROSSE AVE                                                                             CHICAGO           IL    60638‐5820
CARL H BALSBAUGH                                   3 FIELDCREST CIR                                                                                MYERSTOWN         PA    17067‐1708
CARL H BRICKNER                                    188 PAGO PAGO LN                                                                                ENGLEWOOD         FL    34223‐6226
CARL H BROWN                                       1416 SOUTHWOOD DR                                                                               MYRTLE BEACH      SC    29575‐5364
CARL H BURNS                                       1404 CHERRY STREET                                                                              JACKSON           MI    49202‐2524
CARL H CARTER                                      2239 E PRESTON ST                                                                               BALTIMORE         MD    21213‐3417
CARL H CHRISTOPHER                                 12815 PROVIDENCE RD                                                                             ALPHARETTA        GA    30004‐1239
CARL H COULTER                                     6681 TRANSPARENT DR                                                                             CLARKSTON         MI    48346‐2169
CARL H DE WITT & RUTH CAROLYN DE WITT JT TEN       139 OLDBURY DR                                                                                  WILMINGTON        DE    19808‐1432

CARL H DEISTER                                     3117 KISTER                                                                                     ST CHARLES        MO    63301‐0018
CARL H DIETERLE                                    7205 N BARNETT LANE                                                                             MILWAUKEE         WI    53217‐3610
CARL H DOBOZIN & ALICE L DOBOZIN JT TEN            150 OLD ORCHARD                                                                                 AMHERST           NY    14221‐2160
CARL H DODERER                                     83 WINTERGREEN AVE                                                                              NEWBURGH          NY    12550‐3028
CARL H GREEN & JEAN K GREEN JT TEN                 225 SCENIC VIEW DRIVE                                                                           FORT THOMAS       KY    41075‐1245
CARL H GRIEVE & SARA J GRIEVE TR UA 05/30/90 THE   689 GILBERT PL                                                                                  CHULA VISTA       CA    91910‐6411
GRIEVE TRUST
CARL H HANSELMAN                                   4931 SKYLARK AVE                                                                                WEST MIFFLYN      PA    15122‐1357
CARL H HARTLIEB                                    R D #2 BOX 178                                                                                  VALLEY GROVE      WV    26060‐8932
CARL H HENDERSON                                   11031 S JENNINGS RD                                                                             FENTON            MI    48430‐9784
CARL H KEVWITCH                                    6770 FORREST RD                                                                                 KINGSLEY          MI    49649‐9358
CARL H KUJAWA                                      10056 MCCARTNEY LANE                                                                            ST LOUIS          MO    63137‐3428
CARL H LANG                                        2433 JESSICA CR                                                                                 ESCALON           CA    95320‐2077
CARL H LUNG                                        4047 GREENBRAIR RD                                                                              BATAVIA           OH    45103‐8408
CARL H MAY JR                                      7119 W SAGINAW                                                                                  GRAND LEDGE       MI    48837‐9107
CARL H MIKOLOWSKI                                  3137 BOOKHAM CIR                                                                                AUBURN HILLS      MI    48326‐2301
CARL H MOORE                                       6024 W GRAND BLANC RD                                                                           SWARTZ CREEK      MI    48473‐9441
CARL H OECHSNER JR                                 108 OLD POST RD S                                                                               CROTON‐ON‐        NY    10520‐2429
                                                                                                                                                   HUDSON
CARL H OLSEN                                       3352 BLOSSOM LANE                                                                               N TONAWANDA       NY    14120‐1272
CARL H PEDERSEN                                    42701 TURNBERRY CT                                                                              BELLEVILLE        MI    48111‐4373
CARL H PETERSEN                                    178 DANIELS DRIVE                                                                               NAPIER FIELD      AL    36303‐7055
CARL H REUTER                                      14608 KILDARE LN                                                                                CEMENT CITY       MI    49233‐9061
CARL H ROSS                                        1742 W 500 N                                                                                    LINDON            UT    84042‐2084
CARL H SANDEFUR                                    147 SANDEFUR LANE                                                                               TAZEWELL          TN    37879‐6705
CARL H SCHMIDT & SHIRLEY M SCHMIDT JT TEN          1059 N SYCAMORE                                                                                 WHITE CLOUD       MI    49349‐9408
CARL H SELLARS                                     6180 KLINES DR                                                                                  GIRARD            OH    44420‐1228
CARL H SHAW                                        1275 BRIDLESPUR DR                                                                              WENTZVILLE        MO    63385‐2731
CARL H STEFFEN                                     3075 BIRCH ROW DR                                                                               E LANSING         MI    48823‐2249
CARL H STEILING JR                                 68 MOORE ST                                                                                     CHELMSFORD        MA    01824‐3247
CARL H WALKER                                      252 W STRATHMORE ST                                                                             PONTIAC           MI    48340‐2778
CARL H WALTER                                      4411 HARRISON RD                                                                                KENOSHA           WI    53142‐3861
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 555 of 850
Name                                              Address1                               Address2                  Address3     Address4          City            State Zip

CARL H WHISMAN                                    321 MAGIE                                                                                       FAIRFIELD       OH    45014‐1627
CARL H WITTEN & SHEILA M WITTEN JT TEN            C/O ADM OF ESTATES                     250 DECLARATION LANE                                     FLINT           MI    48507‐5918
CARL H ZAHN & SUSAN ZAHN JT TEN                   45803 TURTLEHEAD DR                                                                             PLYMOUTH        MI    48170‐3655
CARL H ZIRKLE                                     C/O ETHELEEN V ZIRKLE                  61058 US HIGHWAY 231                                     ONEONTA         AL    35121‐4353
CARL HALE                                         5206 PACKARD DR                                                                                 DAYTON          OH    45424‐6039
CARL HAMMARSTROM                                  201 SUE LN                                                                                      AUBURN          GA    30011‐3000
CARL HARRIS                                       207 SOUTH 8TH                                                                                   MITCHELL        IN    47446‐1718
CARL HAYS                                         1819 EBBTIDE LANE                                                                               DALLAS          TX    75224‐4113
CARL HEBREW CEPHAS                                C/O GEORGE CEPHAS EXEC                 1608 W 4TH ST                                            WILMINGTON      DE    19805‐3546
CARL HORAK TR IRREVOCABLE FAMILY TRUST 06/05/92   2453 SANCTUARY CIR                                                                              CINCINNATI      OH    45230‐2452
U‐A ALFRED HORAK
CARL HUGH COOK JR                                 1211 GRAIN ELEVATOR RD                                                                          LUCEDALE        MS    39452
CARL I BERRY & LOIS M BERRY JT TEN                12425 N SAGINAW                                                                                 CLIO            MI    48420‐2200
CARL I MUROAKA                                    361 OOMANO PL                                                                                   HONOLULU        HI    96825‐1842
CARL IVENS CUST DAVID M IVENS UGMA TN             6334 CLEARVIEW DR                                                                               MURFREESBORO    TN    37129‐8110
CARL IVENS CUST STEPHEN IVENS UGMA TN             106 ELBERTA ST                                                                                  NASHVILLE       TN    37210
CARL J AARNS                                      BX 7                                                                                            BECKEMEYER      IL    62219‐0007
CARL J ALESSANDRO TRUST U‐A DTD 01‐21‐91 CARL J   15852 INGLEWOOD COURT                                                                           STRONGSVILLE    OH    44136‐2567
ALESSANDRO TRUST
CARL J ARNOLD                                     544 EASTERN AV                                                                                  INDIANAPOLIS    IN    46201‐2112
CARL J ARNOLD & MRS PAULINE I ARNOLD JT TEN       3116 BROOKSIDE PARKWAY N DR                                                                     INDIANAPOLIS    IN    46218‐4452
CARL J BELLAVIA                                   55 LUDDINGTON LANE                                                                              ROCHESTER       NY    14612‐3329
CARL J BENNETT                                    8722 LITZINGER                                                                                  BRENTWOOD       MO    63144‐2306
CARL J BERGER                                     250 2ND ST                                                                                      MORROW          OH    45152
CARL J BICKNELL                                   1741 CARL RD                                                                                    RESCUE          CA    95672‐9604
CARL J CHAMBERLAIN                                13903 SABLE CI                                                                                  WARSAW          MO    65355‐3652
CARL J COOK                                       9 WESTCHESTER DR                                                                                BRISTOL         CT    06010‐4574
CARL J DALLIGAN                                   624 COOK ROAD                                                                                   GROSSE POINTE   MI    48236‐2710
                                                                                                                                                  WOOD
CARL J DALLIGAN & ALICE DALLIGAN JT TEN           624 COOK ROAD                                                                                   GROSSE POINTE   MI    48236‐2710
                                                                                                                                                  WOOD
CARL J DELLASANTINA                               229 ARTHUR ST                                                                                   SANDUSKY        OH    44870‐4105
CARL J EIGENAUER                                  435 N PUTNAM ST                                                                                 WILLIAMSTON     MI    48895‐1136
CARL J EIGENAUER & BETTY J EIGENAUER JT TEN       435 N PUTNAM ST                                                                                 WILLIAMSON      MI    48895‐1136
CARL J ELLIS                                      #5 LAKE MERAMEC DRIVE                                                                           ST PETERS       MO    63376‐3244
CARL J FARNO                                      863 CAMDEN RD                                                                                   EATON           OH    45320‐9587
CARL J FRYE                                       7855 NORMANDIE BLVD                    APT E71                                                  CLEVELAND       OH    44130‐6935
CARL J GIACALONE                                  4068 W DODGE                                                                                    CLIO            MI    48420‐8525
CARL J GLESNER                                    PO BOX 2026                                                                                     NATICK          MA    01760‐0015
CARL J GOHM & ROSEMARY GOHM TR CARL J GOHM JR     4112 MACKINAW ST                                                                                SAGINAW         MI    48602‐3320
UA 12/07/94
CARL J GOLDMAN                                    13070 BEARDSLEE RD                                                                              PERRY           MI    48872‐9119
CARL J GORDULIC                                   4082 SAINT ANDREWS CT                  UNIT 3                                                   CANFIELD        OH    44406
CARL J HANES                                      19 JACKSON ST                                                                                   HOLLEY          NY    14470‐1105
CARL J HARTZ                                      THE WOODS                              34464 CARPENTERS CIRCLE                                  LEWES           DE    19958‐3300
CARL J HOBLIT                                     19 ROCKLEIGH                                                                                    WEST MILTON     OH    45383‐1421
CARL J HOLMIK                                     320 WESTGATE RD                                                                                 KENMORE         NY    14217‐2212
CARL J HULSHOFF                                   836 GASSAWAY SCHOOL RD                                                                          LIBERTY         TN    37095‐9655
CARL J HULSHOFF & MARJORIE M HULSHOFF JT TEN      836 GASSAWAY SCHOOL RD                                                                          LIBERTY         TN    37095‐9655

CARL J HULTQUIST                                  602 S FRANKLIN AVE                                                                              FLINT           MI    48503‐5385
CARL J JAHNES & MARION FAIRCHILD JAHNES JT TEN    732 CASTLE ROCK FARM RD                                                                         PITTSBORO       NC    27312‐8259

CARL J JANES                                      907 CHARLESTON PIKE                                                                             CHILLICOTHE     OH    45601‐9312
CARL J JARRETT                                    818 MITWEEDE ST                                                                                 HARTSELLE       AL    35640‐3504
CARL J JORDAN JR                                  6235 WILLOWDALE COURT                                                                           BURTON          MI    48509‐2602
CARL J KUBIS                                      26 W 13TH STREET                                                                                BAYONNE         NJ    07002‐1436
CARL J KUNZ & VIVIAN J KUNZ JT TEN                324 HAND DRIVE                                                                                  GODFREY         IL    62035‐1915
CARL J KUZMICH                                    5975 E PACIFIC COAST HWY                                                                        LOGN BEACH      CA    90803‐4989
                                                 09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 556 of 850
Name                                               Address1                                Address2             Address3          Address4          City            State Zip

CARL J LAVIE                                    6211 BELLAIRE DR                                                                                    NEW ORLEANS     LA    70124‐1304
CARL J LAYER                                    71 SAXTON STREET                                                                                    LOCKPORT        NY    14094‐4345
CARL J MARSHALL CUST C STEPHEN MARSHALL UGMA TX BOX 418                                                                                             HALE CENTER     TX    79041‐0418

CARL J MCKALIP                                     3454 FOUNTAIN CITY RD                                                                            DE SOTO          MO   63020
CARL J MCNEILL                                     860 SAINT LAWRENCE ST                                                                            MARYSVILLE       MI   48040‐1335
CARL J NIEDENTHAL                                  2210 REDFERN DR                                                                                  INDIANAPOLIS     IN   46227‐4342
CARL J OLSON                                       40914 GROVELAND                                                                                  CLINTON TOWNSHIP MI   48038‐2914

CARL J PANZARELLA                                  22429 KIDD CEMETERY RD                                                                           NEW CANEY       TX    77357‐4119
CARL J PAYNE                                       569 #20 MINE RD                                                                                  MC CAYSVILLE    GA    30555‐9998
CARL J PERROUD                                     PO BOX 21                                                                                        FOWLERVILLE     MI    48836
CARL J PETITT                                      5770 FALKENBURG ROAD                                                                             NORTH BRANCH    MI    48461‐9734
CARL J PINKLEY                                     3929 WEST 5TH ST 118                                                                             SANTA ANA       CA    92703
CARL J POPOUR                                      730 BISHOP RD                                                                                    LEAVITTSBURG    OH    44430
CARL J PRONLEY                                     4585 NORTH 145TH ST                                                                              BROOKFIELD      WI    53005‐1605
CARL J RAUEN                                       4334 FLORAL AVE                                                                                  NORWOOD         OH    45212‐3254
CARL J ROBERT JR                                   6312 GROVENBERG RD                                                                               LANSING         MI    48911‐5410
CARL J ROMANO                                      APT 1905                                1225 NW 21ST ST                                          STUART          FL    34994‐9336
CARL J SCARINGELLI & JANE P SCARINGELLI JT TEN     2304 WINDSONG CT                                                                                 FORT WAYNE      IN    46804‐7754

CARL J SCHILLEMAN TR UA 09/20/02 CARL J SCHILLEMAN 18940 N FRUITPORT RD                                                                             SPRING LAKE     MI    49456‐1161
TRUST
CARL J SCHNAUTZ                                    RR1                                     135 HICKORY AVE                                          LEMONT          IL    60439‐9801
CARL J SCHNICK                                     1110 SIX MILE CREEK ROAD                                                                         OWOSSO          MI    48867‐9653
CARL J SHURTLEFF & ELIZABETH A WOODHEAD JT TEN     4735 MEDALLION WAY                                                                               MASON           OH    45040‐3833

CARL J SINKULE                                     2618 GREEN                                                                                       CHICAGO         IL    60608‐5903
CARL J STIELER                                     1885 ROSEDALE                                                                                    WEST BLOOMFIELD MI    48324‐1281

CARL J STUDER                                      8 TANYARD LANE                                                                                   HUNTINGTON      NY    11743‐2553
CARL J SWEDINE                                     630 CURWOOD ROAD                                                                                 OWOSSO          MI    48867‐2172
CARL J TACKETT                                     BOX 56                                                                                           SCHOOLCRAFT     MI    49087‐0056
CARL J TALLMADGE                                   8575 EAGLE RIDGE DRIVE                                                                           WEST CHESTER    OH    45069‐4506
CARL J THAME                                       3355 MCDANIEL RD                        APT 11305                                                DULUTH          GA    30096‐8656
CARL J THOMPSON                                    124 CAMPBELL ST                                                                                  CLIO            MI    48420‐1124
CARL J THOMPSON & BONNIE J THOMPSON TEN COM        506 VINE ST                                                                                      EULESS          TX    76040‐4575

CARL J TOMASZEWSKI                              30482 DOVER                                                                                         FLAT ROCK       MI    48134‐1473
CARL J VANNATTER                                9740 N PLATT RD                                                                                     MILAN           MI    48160‐9571
CARL J VANNATTER                                9740 N PLATT RD                                                                                     MILAN           MI    48160‐9571
CARL J WEIERMAN & JUNE C WEIERMAN JT TEN        5832 HARVEY CIR                                                                                     CINCINNATI      OH    45233‐1675
CARL J WEIS JR                                  721 TWIN FAWNS                             ST LOUIS                                                 SAINT LOUIS     MO    63131
CARL J WEISENBURG JR                            PO BOX 96                                                                                           SOUTH WALES     NY    14139‐0096
CARL J YOUNG                                    709 E STATE ST                                                                                      EAST TAWAS      MI    48730‐1518
CARL J ZAJICEK                                  1320 CRAIG ST                                                                                       MC KEESPORT     PA    15132‐5407
CARL J ZKIAB                                    6508 RIDGEWOOD LAKES DRIVE                                                                          PARMA           OH    44129‐5011
CARL JOE KING                                   175 SCRANTON CT                                                                                     ZIONSVILLE      IN    46077‐1059
CARL JOHN SHURTLEFF CUST BAILEY ELIZABETH       4735 MEDALLION WAY                                                                                  MASON           OH    45040‐3833
SHURTLEFF UTMA NY
CARL JOHN SHURTLEFF CUST GRANT PARKER SHURTLEFF 4735 MEDALLION WAY                                                                                  MASON           OH    45040‐3833
UTMA NJ
CARL JOHNSON                                    1480 PICARD ROAD                                                                                    COLUMBUS        OH    43227‐3236
CARL JOSEPH MASON & DOLORES Y MASON JT TEN      8832 PECKINS ROAD                                                                                   LYONS           MI    48851‐9745

CARL JOSEPH RUSSELL                                3508 E CARMEL DR                                                                                 CARMEL          IN    46033‐4331
CARL JUNCTION CEMETERY ASSN                                                                                                                         CARL JUNCTION   MO    64834
CARL JW MUNDELL                                    4073 ELIZABETH STREET                                                                            RICHAMOND       IN    47374‐4576
CARL K DELL & THERESA V DELL JT TEN                64 BUTTLES RD                                                                                    GRANBY          CT    06035‐2811
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 557 of 850
Name                                                Address1                               Address2             Address3          Address4          City            State Zip

CARL K FETTIG & ELEANA FETTIG JT TEN                215 BENJAMIN                                                                                    ROMEO           MI    48065‐5103
CARL K GANO                                         1073 LAKE PARK CIRCLE                                                                           GRAND BLANC     MI    48439‐8039
CARL K GREENE                                       6080 FORDHAM DRIVE                                                                              SHELBY          MI    48316‐2529
CARL K WHITE & JUDY A HETHERINGTON JT TEN           3303 W FARRAND ROAD                                                                             CLIO            MI    48420‐8827
CARL KAISERMAN CUST SAUL KAISERMAN UGMA NY          514 12TH ST                                                                                     BROOKLYN        NY    11215‐5205

CARL KANTOR                                         2852 GRETCHEN DRIVE N E                                                                         WARREN          OH    44483‐2926
CARL KUERBITZ JR                                    751 MELROSE ST                                                                                  PONTIAC         MI    48340‐3122
CARL L AMMERMAN                                     7182 BURNING BUSH LN                                                                            FLUSHING        MI    48433‐2292
CARL L ARMENT                                       1057 HEATHERFIELD AVE                                                                           ROSAMOND        CA    93560‐6636
CARL L BAILEY                                       2129 SEDALIA CT                                                                                 MARIETTA        GA    30067‐7349
CARL L BIXBY JR                                     RIVER GLEN HOUSE                       55 RIVER GLEN LANE                                       LITTLETON       NH    03561‐5735
CARL L BRANDON                                      G 3413 HAMMERBURG                                                                               FLINT           MI    48507
CARL L BROWN                                        425 1/2 SUMMIT ST                                                                               DEFIANCE        OH    43512‐2238
CARL L CRENNO                                       10338 LOVERS LANE                                                                               GRAND RAPIDS    MI    49544‐9600
CARL L DANNER                                       11521 PENINSULA PARK DR                                                                         BAKERSFIELD     CA    93311‐9201
CARL L DARBY                                        1625 EDGEMERE WAY                                                                               DAYTON          OH    45414
CARL L DAVIS & WILMA E DAVIS TR DAVIS JOINT TRUST   10307 SW LETTUCE LK AVE M240                                                                    ARCADIA         FL    34269‐9502
UA 2/20/01
CARL L DURHAM                                       129 WILLOW DRIVE                       LA SALLE ON                            N9J 1W7 CANADA
CARL L FALLOW                                       7932 RUSSELLHURST DRIVE                                                                         WILLOUGHBY      OH    44094‐8505
CARL L FEENAUGHTY & LISA R BRIDGES JT TEN           275 JEMMA DR                                                                                    LEXINGTON       TN    38351‐1359
CARL L FLIPPO                                       7879 BEACH RD                                                                                   WADSWORTH       OH    44281‐9291
CARL L FREDRICKSEN JR                               11313 NORTH 79TH AVE                                                                            PEORIA          AZ    85345‐1020
CARL L GARIETY                                      115 VERSAILLES RD                                                                               RUSSIA          OH    45363‐9616
CARL L GEHLHAUSEN JR                                74 FOREST HOLLOW DRIVE                                                                          CICERO          IN    46034‐9665
CARL L GERHARDT                                     4503 S DIXIE DR                                                                                 DAYTON          OH    45439‐2111
CARL L GETTMANN & SIMONE S GETTMANN JT TEN          15 HONEYFLOWER LANE                                                                             WEST WINDSOR    NJ    08550‐2418

CARL L GOBER                                        1117 WISCONSIN BLVD                                                                             DAYTON          OH    45408‐1944
CARL L GOTTSCHALK                                   16030 SQUIRREL HOLLOW LN                                                                        STRONGSVILLE    OH    44136‐6254
CARL L HAMPTON                                      PO BOX 808                                                                                      MERIDIAN        MS    39302‐0808
CARL L HARCHICK                                     5709 SUBURBAN CT                                                                                FLINT           MI    48505‐2645
CARL L HAWN                                         100 SILVER BEACH AVE                   APT 412                                                  DAYTONA BEACH   FL    32118‐4857
CARL L HAZLETT                                      402 W ROLLING HILLS                                                                             CONROE          TX    77304‐1209
CARL L HAZLETT                                      402 W ROLLING HILLS                                                                             CONROE          TX    77304‐1209
CARL L HUDSON                                       8157 BEECHER ROAD                                                                               CLAYTON         MI    49235‐9650
CARL L HUNTINGTON                                   9715 RIDGE ROAD                                                                                 MIDDLEPORT      NY    14105‐9709
CARL L KING                                         3403 E 600 N                                                                                    ANDERSON        IN    46012‐9529
CARL L LINZA                                        511 E WHEEL RD                                                                                  BEL AIR         MD    21015‐6118
CARL L LIVINGSTON                                   4801 E COUNTY RD 67                    LOT 265                                                  ANDERSON        IN    46017‐9112
CARL L LUCISANO                                     17 BOBBIE DR                                                                                    ROCHESTER       NY    14606‐3647
CARL L MABRY                                        559 ARNOLD ST                                                                                   MANSFIELD       OH    44906
CARL L MILLER & HEATHER E MILLER JT TEN             6734 CHURCH RD                                                                                  FAIR HAVEN      MI    48023
CARL L MITCHELL                                     3546 STONEFIELD CT                                                                              REX             GA    30273‐1187
CARL L NEWCOMER JR                                  9104 REID ROAD                                                                                  SWARTZ CREEK    MI    48473‐7618
CARL L PAYNE                                        1409 WESTPORT                                                                                   LANSING         MI    48917‐1417
CARL L SILVEY                                       P O BOX 27                                                                                      SUMMITVILLE     IN    46070
CARL L SMITH                                        5724 CLINTON RIVER DRIVE                                                                        WATERFORD       MI    48327‐2527
CARL L SMITH                                        2812 MOSSBERG COURT                                                                             ST CHARLES      MO    63303‐1114
CARL L SMITH                                        PO BOX 9022                                                                                     WARREN          MI    48090‐9022
CARL L STEVENS                                      1306 HILLSIDE DR                                                                                COLUMBIAVILLE   MI    48421‐9741
CARL L STRNAD                                       R#1 WILSON ROAD                                                                                 BANNISTER       MI    48807‐9801
CARL L SZCZYGIEL                                    9678 ROLLING GREENS DR                                                                          PINCKNEY        MI    48169‐8132
CARL L THOMPSON                                     9814 SUNNYWOOD DR                                                                               KALAMAZOO       MI    49009‐7967
CARL L TOBIAS                                       260 FULLER ST RT 1                                                                              NASHVILLE       MI    49073‐9769
CARL L WATSON                                       915 HIGHFALL DR                                                                                 DALLAS          TX    75232‐3513
CARL L WHITE                                        PO BOX 278                                                                                      HOGANSBURG      NY    13655‐0278
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 558 of 850
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

CARL L WIANT                                    1135 NE 17TH WAY                                                                                FORT LAUDERDALE   FL    33304‐2431

CARL L WINNINGHAM                               12760 INDIAN ROCK RD                   APT 552                                                  LARGO             FL    33774
CARL L WOODARD & JUDITH G WOODARD JT TEN        125 HILLFIELD                                                                                   AUBURN HILLS      MI    48326‐2936
CARL LASHBROOK                                  1237 E 24TH AVE                                                                                 NKC               MO    64116
CARL LAUTH                                      BUTTGENER STR 37                       4044 KAARST 1                          GERMANY
CARL LEE WOODARD & JUDITH G WOODARD TEN COM     125 HILLFIELD                                                                                   AUBURN HILLS      MI    48326‐2936

CARL LEMUEL LOWE                                5359 TEFT                                                                                       ST CHARLES        MI    48655‐8542
CARL LEWIS WILSON                               724 ARCADIA CT #B                                                                               KENDALLVILLE      IN    46755‐1265
CARL LIPOMI                                     6 WILL CURL WHY                                                                                 EAST HAMPTON      NY    11937‐4501
CARL LOUIS HOLM & LOU ANN M HOLM JT TEN         721 OAKLEY AVENUE                                                                               JOLIET            IL    60436‐2638
CARL M ALEXANDER & JUNE E ALEXANDER JT TEN      17036 PARKER RD                                                                                 ATHENS            AL    35611‐8504
CARL M BANCINO                                  3943 BRUCE DR SW                                                                                GRANDVILLE        MI    49418‐2433
CARL M BEASON & ELIZABETH BEASON JT TEN         605 CASSEL HILLS CT                                                                             VANDALIA          OH    45377‐3158
CARL M BERGQUIST & THELMA C BERGQUIST JT TEN    63 NETTLECREEK RD                                                                               FAIRPORT          NY    14450‐3043

CARL M BOYER                                    17562 RUTHERFORD                                                                                DETROIT           MI    48235‐3154
CARL M BURDE                                    443 MEADOWBROOK LANE                                                                            WATERLOO          IA    50701‐3856
CARL M BURGESS                                  8005 MANNING ROAD                                                                               GERMANTOWN        OH    45327‐9338
CARL M CAMPBELL                                 5286 STATE RD                                                                                   HILLSDALE         MI    49242‐8726
CARL M CHODYNIECKI                              4146 WOODSTOCK RD                                                                               WATERFORD         MI    48328‐2155
CARL M ELLIOTT                                  2932 WEST LAKESIDE DRIVE                                                                        WEST BRANCH       MI    48661‐9681
CARL M ERMAN CUST NEAL ERMAN UGMA NJ            362 W BROADWAY APT 2                                                                            NEW YORK          NY    10013‐5305
CARL M ERWIN CUST KEVIN MAC ERWIN UTMA CA       1671 CASTLE HILL RD                                                                             WALNUT CREEK      CA    94595‐2338
CARL M ERWIN CUST LINDSEY KAY ERWIN UTMA CA     1671 CASTLE HILL RD                                                                             WALNUT CREEK      CA    94595‐2338

CARL M ERWIN CUST MEGAN CYNTHIA ERWIN UTMA CA 1671 CASTLE HILL RD                                                                               WALNUT CREEK      CA    94595‐2338

CARL M GINDER                                   8146 BENTLEY FARMS PL                                                                           INDIANAPOLIS      IN    46259‐5707
CARL M GOLDEN                                   401 PROSPECT AVE                       CONCORD MANOR                                            WILMINGTON        DE    19803‐1828
CARL M HARRIS                                   14351 9 MILE RD                                                                                 KALEVA            MI    49645‐9347
CARL M KOREEN                                   273 CUMMINGS AVE                                                                                ELBERON           NJ    07740‐4854
CARL M MARTEL                                   221 N GOLDEN BEACH DR                                                                           KEWADIN           MI    49648‐9217
CARL M MC CLEARN JR                             80 CHAPEL ST                                                                                    KINGSTON          NY    12401‐6746
CARL M MESKANICK                                304 HENRY DR                                                                                    NORTH             PA    15642‐1220
                                                                                                                                                HUNTINGDON
CARL M MILLER                                   797 WESTDALE ST                        OSHAWA ON                              L1J 5C1 CANADA
CARL M MILLER                                   797 WESTDALE ST                        OSHAWA ON                              L1J 5C1 CANADA
CARL M NAGATA                                   PO BOX 1784                                                                                     UNION CITY        CA    94587‐6784
CARL M NAGATA CUST BRIAN K NAGATA UTMA CA       4440 PINEWOOD CT                                                                                UNION CITY        CA    94587‐4825
CARL M NAGATA CUST KENNETH K NAGATA UTMA CA     4440 PINEWOOD CT                                                                                UNION CITY        CA    94587‐4825

CARL M NAGATA CUST MATTHEW K NAGATA UTMA CA     4440 PINEWOOD CT                                                                                UNION CITY        CA    94587‐4825

CARL M PACINO                                   26128 PETTIBONE RD                                                                              OAKWOOD VILLAGE OH      44146‐6451

CARL M PEREZ                                    14436 E WILLIS RD                                                                               GILBERT           AZ    85296‐7204
CARL M PHILPOTT                                 21105 BROOKLAWN DR                                                                              DEARBORN HTS      MI    48127‐2637
CARL M REED                                     8772 Q AVE                                                                                      MATTAWAN          MI    49071‐9417
CARL M RICE                                     3605 CLARENCE                                                                                   MELVINDALE        MI    48122‐1175
CARL M RODAK & ELISA RODAK JT TEN               6 MOORE AVE                                                                                     SARATOGA SPRING   NY    12866‐9235

CARL M ROSS                                     13628 MATILDA                                                                                   WARREN            MI    48093‐3729
CARL M RYLANDER JR                              35 PAYSON HEIGHTS                                                                               QUINCY            IL    62301
CARL M SAURBER                                  1958 BELTWAY SO                                                                                 ABILENE           TX    79606‐5830
CARL M STEPPS                                   1763 VANCOUVER                                                                                  DAYTON            OH    45406‐4622
CARL M STREET                                   11225 RIDGEHAVEN DR                                                                             KEITHVILLE        LA    71047
CARL M TRIPLETT                                 6918 HENDRICKS ST                                                                               ANDERSON          IN    46013‐3608
                                          09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 559 of 850
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

CARL M URTON                                   105 E CHESTNUT                                                                                  RICH HILL         MO    64779
CARL M VIGLIANCO                               4211 BRIARCLIFFE RD                                                                             WINSTON‐SALEM     NC    27106‐2908
CARL M WIGET III                               4225 ELMDORF                                                                                    FLINT             MI    48504‐1330
CARL M WILEY                                   334 OLD CARROLLTON RD                                                                           ROOPVILLE         GA    30170‐2131
CARL M WILLIAMS                                2346 PEALE DR                                                                                   SAGINAW           MI    48602
CARL M WRIGHT                                  882 BRIDGE AVE                                                                                  FOREST PARK       GA    30297‐2369
CARL M YERRINGTON                              9133 ARUNDEL WAY                                                                                JACKSONVILLE      FL    32257‐5080
CARL M ZEMLA                                   2146 W WILKINSON                                                                                OWOSSO            MI    48867‐9408
CARL MARKS & ANNA IRENE MARKS TR CARL & ANNA   1018 WEATHERBOARD                                                                               HENDERSON         NV    89015‐3121
MARKS TRUST UA 08/01/00
CARL MATTHEW LAWRENCE                          1 DARTMOUTH CT                                                                                  EAST NORTHPORT    NY    11731‐1403
CARL MC CRAY                                   246 JEFFERSON TERR                                                                              ROCHESTER         NY    14611‐3338
CARL MICHAEL HOWARD                            1021 OAK HILLS DR                                                                               COLORADO SPGS     CO    80919‐1433
CARL MICHAUD                                   2194 VANCE RD                                                                                   DELTONA           FL    32738‐5036
CARL MIENTKIEWICZ                              23015 LAFFERTY CT                                                                               ROMULUS           MI    48174‐9768
CARL MILLER                                    2965 WOODLAWN                                                                                   WALLED LAKE       MI    48390‐1489
CARL MOHOWITSCH PER REP EST HAROLD             509 S ELM ST                                                                                    SAGINAW           MI    48602‐1759
MOHOWITSCH
CARL MONROE BARTON                             144 N 7TH ST                                                                                    MIDDLETOWN        IN    47356‐1302
CARL MOORE                                     1030 RAPID AVE APT 3                                                                            CINCINNATI        OH    45205‐1701
CARL MOORE                                     6201 LEO DRIVE                                                                                  BELLEVILLE        IL    62223‐4518
CARL MOSHER                                    15549 CORTEZ BLVD                                                                               BROOKSVILLE       FL    34613‐6117
CARL MOYER JR & ELEANOR D MOYER JT TEN         432 BOREALIS LANE                                                                               EL PASO           TX    79912‐3302
CARL MUSICK                                    3012 E KENDALL LN                                                                               MUNCIE            IN    47303‐9292
CARL N CHAFFEE                                 14696 ROBSON RD                                                                                 BATH              MI    48808‐9711
CARL N CIMINO                                  1817 CLOVERFIELD LN                                                                             MANAKIN SABOT     VA    23103‐2435
CARL N HENSON                                  1414 HAYES AVENUE                                                                               SANDUSKY          OH    44870‐3304
CARL N JOHNSON JR                              17 BOLTON RD                                                                                    WAYNE             NJ    07470‐5942
CARL N MOLNER                                  29394 MILTON ST                                                                                 MADISON HEIGHTS   MI    48071‐2515

CARL N SHADIX                                   2928 SADDLEBACK DR                                                                             CINCINNATI        OH    45244‐3819
CARL NAPIER                                     25 EAVES RD                                                                                    LAKE PLACID       FL    33852‐5462
CARL NICHOLS                                    1004 GROVE HILL DR                                                                             BEAVERCREEK       OH    45434‐5906
CARL NOSANCHUK CUST DANIEL S NOSANCHUK UGMA 2125 MOOREVILLE RD                                                                                 MILAN             MI    48160‐9519
MI
CARL O BARTLETT                                 1701 O'BRIG AVE                                                                                GUNTERSVILLE      AL    35976‐1829
CARL O BENSON                                   2791 BEAL N W                                                                                  WARREN            OH    44485‐1207
CARL O BERGSTROM JR                             N8260 DEADWOOD POINT BEACH RD                                                                  FOND DU LAC       WI    54935‐9598
CARL O BERGSTROM JR & PETRANELLA C BERGSTROM JT N8260 DEADWOOD POINT BEACH RD                                                                  FON DU LAC        WI    54935‐9598
TEN
CARL O BLACKMAN                                 3667 S 90TH ST                                                                                 MILWAUKEE         WI    53228‐1535
CARL O BRUDIN JR                                6571 MINK HOLLOW ROAD                                                                          HIGHLAND          MD    20777‐9761
CARL O HERZIG                                   8016 MANN RD                                                                                   INDIANAPOLIS      IN    46221‐9640
CARL O RADTKE & VIRGINIA D RADTKE JT TEN        1365 ABERCROMBIE WAY                                                                           THE VILLAGES      FL    32162‐7700
CARL O WASSMANN & ELIZABETH A WASSMANN JT TEN 36533 ACTON DR                                                                                   CLINTON TWP       MI    48035‐1410

CARL OBERDIEK                                  23905 OBERDIEK LN                                                                               PLATTE CITY       MO    64079‐8236
CARL OLEN LEWIS                                1301 MC CORD DR                                                                                 MANCHESTER        TN    37355‐2447
CARL OLIVER PEAVEY                             PO BOX 236                                                                                      WELLS             NV    89835‐0236
CARL OLLIVIER & INGRID OLLIVIER JT TEN         290 W MAIN ST APT 224                                                                           HYANNIS           MA    02601
CARL OWEN BLACK                                4112 BRIGADE TRL                                                                                KENNESAW          GA    30152‐5489
CARL P BERLINGER                               803 EDGEHILL RD                                                                                 GLENSIDE          PA    19038‐3821
CARL P BRODHUN 2ND                             136 WINDING RIVER DR                                                                            MURRELLS INLET    SC    29576‐9786
CARL P CACACE JR & TAMI CACACE JT TEN          2 RIDGEWOOD TERR                                                                                POUGHKEEPSIE      NY    12603‐5832
CARL P ECKSTINE                                6292 LITTLE COVE RD                                                                             MERCERSBURG       PA    17236‐9435
CARL P EGNATOWSKI                              329 SHAMROCK BLVD                                                                               VENICE            FL    34293‐1718
CARL P ELSON                                   334 MACKEY RD                                                                                   VIENNA            OH    44473‐9641
CARL P FLORIAN                                 PO BOX 59                                                                                       NEWPORT           MI    48166‐0059
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 560 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

CARL P HILLMER CUST NAOMI ANNE HILLMER UTMA CO 2016 N TEJON ST                                                                                 COLORADO SPGS     CO    80907‐6936

CARL P JACOBS & BEVERLY R JACOBS COMMUNITY       420 N LAS PALMAS                                                                              LOS ANGELES       CA    90004‐1016
PROPERTY
CARL P MC CLURE                                  579 LILY CREEK RESOURT RD                                                                     JAMESTOWN         KY    42629‐7911
CARL P NEUVIRTH                                  122 BERNARD AVE                                                                               EDISON            NJ    08837‐3063
CARL P OBERLEE                                   69 PLUM CREEK RD                                                                              LAPEER            MI    48446‐7740
CARL P PALMA                                     861 LONE CREEK RD                                                                             DEPERE            WI    54115
CARL P SATTLER                                   1974 NEWMAN DRIVE                                                                             TRENTON           MI    48183‐1733
CARL P SATTLER & NORMA LEE SATTLER JT TEN        1974 NEWMAN DR                                                                                TRENTON           MI    48183‐1733
CARL P SMALL                                     568 GEORGETON AVE                                                                             ELYRIA            OH    44052
CARL P TISON                                     3040 STARRAT RD                                                                               JACKSONVILLE      FL    32226‐1313
CARL P WELCHNER                                  10311 CEDAR ISLAND RD                                                                         WHITE LAKE        MI    48386‐2915
CARL PARDI                                       165 LOS ROBLES ST                                                                             WILLIAMSVILLE     NY    14221‐6720
CARL PATTERSON                                   PO BOX 84                                                                                     FAYETTEVILLE      PA    17222‐0084
CARL PELIKAN                                     1438 S MORRISH RD                                                                             FLINT             MI    48532‐3038
CARL PETERS CUST KAREN M SORNSON UTMA IA         618 REDWOOD RD                                                                                HARLAN            IA    51537‐6404
CARL PETERSEN & OLGA E PETERSEN JT TEN           20535 CEDAR ST                                                                                ST CLAIR SHORES   MI    48081‐1793
CARL PICAZIO                                     70 LOWER NOTCH RD                                                                             LITTLE FALLS      NJ    07424‐1806
CARL POPP                                        1213 VISTA DR                                                                                 SOCORRO           NM    87801‐4445
CARL POTTER                                      48 CREST VIEW DRIVE                                                                           HINDMAN           KY    41822‐9100
CARL PRESCOTT                                    1 ASHGROVE ST                        GARSON ON                              P3L 1W4 CANADA
CARL PURNELL                                     901 W 37TH                                                                                    PINE BLUFF        AR    71603‐6439
CARL Q MILLARD                                   BOX 5881 GSW STA                                                                              ARLINGTON         TX    76005‐5881
CARL R BEAVER                                    2604 PATRICK AVE                                                                              MARYVILLE         TN    37804‐2840
CARL R BEVINGTON & JUDY E BEVINGTON JT TEN       18674 LINCOLN HWY                                                                             MIDDLE POINT      OH    45863
CARL R BISIGNANO & NORA T BISIGNANO JT TEN       STAR RIDGE RD                                                                                 NORTH SALEM       NY    10560
CARL R BRYANT                                    7204 SOUTH BROOK DR                                                                           AUSTIN            TX    78736‐1947
CARL R BRYANT & TESSIE D BRYANT JT TEN           7204 S BROOK DR                                                                               AUSTIN            TX    78736‐1947
CARL R CARLSON & MRS JUNE S CARLSON JT TEN       184 PROVIDENCE ROAD                                                                           MENDON            MA    01756‐1321
CARL R CLEMENT                                   19280 AL HIGHWAY 24                                                                           MOULTON           AL    35650‐7321
CARL R CORP JR & MARILYN G CORP JT TEN           322 AUSTRALIAN DRIVE                                                                          ROTONDA WEST      FL    33947
CARL R COX JR                                    423 LAUREL RD                                                                                 FITZGERALD        GA    31750‐6416
CARL R CURRY                                     5189 N 500 W                                                                                  FAIRLAND          IN    46126‐9711
CARL R DENLINGER & NANCY E DENLINGER TEN ENT     2001 HARRISBURG PIKE                                                                          LANCASTER         PA    17601‐2641

CARL R DICKENS                                   9 WAYS LANE                                                                                   KENNETT SQ        PA    19348‐3344
CARL R DILLON                                    2937 U S 35 EAST                                                                              W ALEXANDRIA      OH    45381‐9305
CARL R DYSINGER                                  ATT LORRAINE DYSINGER                7368 E CREER RD                                          LOCKPORT          NY    14094
CARL R ELEY                                      PO BOX 404                                                                                    SELMA             IN    47383‐0404
CARL R FAULMAN                                   632 HOWARD                                                                                    ALGONAC           MI    48001‐1512
CARL R FRITZ                                     242 BARNES RD                                                                                 FOSTORIA          MI    48435
CARL R GRAF                                      10917 VALLEY FORGE CR                                                                         KING OF PRUSSIA   PA    19406‐1127
CARL R GUTHALS                                   1457 S SALEM WAY                                                                              AURORA            CO    80012
CARL R HARRINGTON                                17912 3RD CALLYON                                                                             BARRYTON          MI    49305‐9575
CARL R HAYES                                     16630 SW 80TH AVE                                                                             MIAMI             FL    33157‐3755
CARL R HERTER JR                                 9028 PINE HILL TRAIL                                                                          FENTON            MI    48430‐9217
CARL R HERTER JR & JEANETTE D HERTER JT TEN      9028 PINE HILL TRAIL                                                                          FENTON            MI    48430‐9217
CARL R HINKLE                                    133 MOREY HARDER RD                                                                           JOHNSON CITY      TN    37601‐6251
CARL R HOGAN                                     1058 STONEHENGE RD                                                                            FLINT             MI    48532‐3221
CARL R HOGAN & DOROTHY A HOGAN JT TEN            1058 STONEHENGE RD                                                                            FLINT             MI    48532‐3221
CARL R HOLBROOK                                  180 ROSE WOOD DR                                                                              COCOA             FL    32926‐3151
CARL R HUGHES                                    3954 YOUNGSTOWN‐KINGSVILLE                                                                    CORTLAND          OH    44410‐8711
CARL R INMAN                                     368 COUNTY ROAD 3255                                                                          SALEM             MO    65560‐8369
CARL R JACOBSON & JEAN E JACOBSON JT TEN         522 NORTH M‐37 HIGHWAY                                                                        HASTINGS          MI    49058‐9778
CARL R JACOBSON TR CARL R JACOBSON REVOCABLE     522 N M37 HWY                                                                                 HASTINGS          MI    49058‐9744
LIVING TRUST UA 2/20/95
CARL R KEENAN                                    4004 HIGHWAY 80 E                                                                             PEARL             MS    39208‐4227
CARL R KELLGREN                                  7669 E PARKSIDE DR                                                                            BOARDMAN          OH    44512‐5309
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                          Part 1 of 8 Pg 561 of 850
Name                                               Address1                                Address2              Address3            Address4                    City               State Zip

CARL R KUCHTA                                      2349 WEST RIVER RD                                                                                            NEWTON FALLS       OH    44444‐9413
CARL R LEACH                                       PO BOX 748                              8511 ADAMS ST                                                         PORT AUSTIN        MI    48467‐9392
CARL R LIVINGSTON                                  1351 SHOAL CREEK RD                                                                                           DECATUR            AL    35603‐6511
CARL R MCEVERS                                     2773 ARMSTRONG DR                                                                                             LAKE ORION         MI    48360‐1705
CARL R MCMILLIN                                    6099 WARBLERS ROOST                                                                                           BRECKSVILLE        OH    44141‐1751
CARL R MOORE                                       6501 RED HOOK PLAZA #15                 ST THOMAS             US VIRGIN ISLANDS   802 VIRGIN ISLANDS OF THE
                                                                                                                                     USA
CARL R NEFF                                        2612 JACKSON                                                                                                  ANDERSON           IN    46016‐5234
CARL R NELSON                                      ATTN HELEN A NELSON                     10896 SUTTER CIR                                                      SUTTER CREEK       CA    95685‐9644
CARL R NILES JR                                    G5251 E CARPENTER RD                                                                                          FLINT              MI    48506
CARL R NISSEN & JENNIE NISSEN JT TEN               661 CLARA VISTA AVE                                                                                           SANTA CLARA        CA    95050‐5150
CARL R OLSON                                       30 POPLAR CIRCLE                                                                                              PEEKSKILL          NY    10566‐4124
CARL R PAGELLA                                     140 WATERWAY CT                         UNIT 18B                                                              LEXINGTON          SC    29072‐6817
CARL R PARRISH                                     14075 W 141ST TER                                                                                             OLATHE             KS    66062‐5869
CARL R PINKSTON                                    2739 EDGEFIELD                                                                                                WATERFORD          MI    48328‐3205
CARL R PINKSTON CUST SCOTT D PINKSTON UGMA MI      2739 EDGEFIELD                                                                                                WATERFORD          MI    48328‐3205

CARL R PORTER                                      5860 RED LION 5 PTS RD                                                                                        SPRINGBORO         OH    45066‐7418
CARL R PULVER JR                                   1264 PADDOCK LOOP                       WASHINGTON CRTHOUSE                                                   WSHNGTN CT HS      OH    43160
CARL R RACHAL                                      20061 BILTMORE                                                                                                DETROIT            MI    48235‐2430
CARL R REID                                        2744 NW 32ND AVE                                                                                              CAMAS              WA    98607‐7355
CARL R ROBINSON                                    19804 SHAKERWOOD RD                                                                                           WARRENSVILLE HTS   OH    44122‐6618

CARL R ROHR                                        PO BOX 71                                                                                                     EMIGSVILLE         PA    17318‐0071
CARL R ROZATTI                                     9952 DEL MAR                                                                                                  MONTCLAIR          CA    91763‐3442
CARL R SAYLOR                                      5001 EASTWOOD WAY                                                                                             ANDERSON           IN    46017‐9634
CARL R SCHULTZ & SHARON A SCHULTZ JT TEN           406 TIMBERWOOD COURT                                                                                          ST CHARLES         MO    63303‐6517
CARL R SHEFFIELD                                   38788 DERBY                                                                                                   STERLING HEIGHTS   MI    48312‐1231

CARL R SHEMWELL                                    7282 CLINTON/MACON RD                                                                                         CLINTON            MI    49236‐9526
CARL R SOMRAK                                      12852 KINLOCH                                                                                                 REDFORD            MI    48239‐2764
CARL R SPALENY                                     382 FEATHER COURT                                                                                             WATERFORD          MI    48327
CARL R STEMPLE                                     6463 BLUEJAY DR                                                                                               FLINT              MI    48506‐1766
CARL R STEMPLE JR                                  1422 IUA ST                                                                                                   BURTON             MI    48509‐1529
CARL R STERE                                       369 STEWART ST                                                                                                HUBBARD            OH    44425‐1514
CARL R STRICKLAND                                  900 NIPP AVE                                                                                                  LANSING            MI    48915‐1024
CARL R STROTE & MARY ANN STROTE JT TEN             1711 NOTRE DAME RD                                                                                            ROCKFORD           IL    61103‐1647
CARL R THOMPSON                                    PO BOX 2454                                                                                                   ABINGDON           VA    24212‐2454
CARL R THOMPSON & DORIS J THOMPSON JT TEN          1159 COUNTY RT 47                                                                                             WINTHROP           NY    13697‐3121
CARL R TUCHALSKI & GLADYS E TUCHALSKI & DENNIS C   2205 MORNING STAR DR                                                                                          ALTON              IL    62002‐5622
TUCHALSKI JT TEN
CARL R WEAVER                                      5252 S CLARENDON                                                                                              DETROIT            MI    48204‐2921
CARL R WEIRAUCH                                    8864 BIRKHILL DR                                                                                              STERLING HEIGHTS   MI    48314‐2501

CARL R WEIRAUCH & TINCY L WEIRAUCH JT TEN          8864 BIRKHILL DR                                                                                              STERLING HEIGHTS   MI    48314‐2501

CARL R WHEELER                                     1055 MARGO ST                                                                                                 TAWAS CITY         MI    48763‐9307
CARL R WILSON                                      9203 KESSLER ST                                                                                               OVERLAND PARK      KS    66212‐3946
CARL R YORKS JR                                    4189 SWALLOW DR                                                                                               FLINT              MI    48506‐1604
CARL RALPH MOORE                                   25020 S MAGDALENA ST                                                                                          HARRISON TWP       MI    48045
CARL RALPH RIEGE & BEULAH HILMA RIEGE JT TEN       28275 WINDSOR DR                                                                                              SUN CITY           CA    92586

CARL RANDOLPH                                      1755 PARKER                                                                                                   DETROIT            MI    48214‐2601
CARL RAY IVENS                                     4741 CRYSTAL BROOK DR                                                                                         ANTIOCH            TN    37013‐5382
CARL RHODES & DEBORAH A RHODES JT TEN              3605 ABERNATHY DR                                                                                             FAYETTEVILLE       NC    28311‐7659
CARL RICHARD COLEMAN                               10230 ASHTON CLOSE                                                                                            POWELL             OH    43065
CARL RICHARD RITTER TR CARL RICHARD RITTER TRUST   4308 CRYSTAL RIDGE DRIVE WEST                                                                                 MAUMEE             OH    43537‐9274
UA 05/29/97
CARL ROBERT HAAS                                   10966 W TEXAS AVE                                                                                             LAKEWOOD           CO    80232‐4950
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 562 of 850
Name                                              Address1                               Address2                Address3       Address4          City              State Zip

CARL ROBERT YOUNG                                 PO BOX 12463                                                                                    GRAND FORKS       ND    58208‐2463
CARL ROHWETTER                                    511 W NORTH ST                                                                                  SAINT CHARLES     MI    48655‐1130
CARL ROLOFF & DEBBY ROLOFF TR ROLOFF FAMILY       1438 GRACE AVE                                                                                  LAKEWOOD          OH    44107‐4913
TRUST UA 06/25/03
CARL ROTH                                         29 RICHLAWN AVE                                                                                 BUFFALO           NY    14215‐2127
CARL S BRAYN & VERA L BRAYN JT TEN                11841 CURWOOD DRIVE                                                                             GRAND BLANC       MI    48439‐1104
CARL S BROADSTOCK                                 6 WETZ LN                                                                                       GERMANTOWN        OH    45327‐1047
CARL S BROCK & LINDA L BROCK JT TEN               ATTN LINDA L BROCK                     6230 N HELTON RD                                         VILLA RICA        GA    30180‐3901
CARL S COEN & JEAN LEE JT TEN                     610 MADISON AVE                                                                                 GLENDALE          WV    26038‐1329
CARL S GOOD & VITA M GOOD JT TEN                  47643 MANORWOOD DR                                                                              NORTHVILLE        MI    48168
CARL S GOTTLIEB & SHIRLEY GOTTLIEB JT TEN         1797 CYNTHIA LANE                                                                               MERRICK           NY    11566‐5107
CARL S GRANFORS                                   128 SUNSET DR                                                                                   GALLUP            NM    87301‐4936
CARL S HUTMAN                                     3265 NW 62ND LANE                                                                               BOCA RATON        FL    33496‐3395
CARL S HUTTO & CAROL HUTTO JT TEN                 2005 SABER LN                                                                                   WEATHERFORD       OK    73096‐2747
CARL S KRAHLING                                   4106 MAIN ST                                                                                    BUFFALO           NY    14226‐3408
CARL S MABSON                                     352 BROOX LEA CV                                                                                LAWRENCEVILLE     GA    30044‐3451
CARL S MCGINTY & CONNIE J GOGGINS JT TEN          1250 STONEHENGE RD                                                                              FLINT             MI    48532‐3224
CARL S MEHALICK                                   54 COLUMBUS AVE                                                                                 EDISON            NJ    08817‐5208
CARL S MOSHER                                     PSC 80 BOX 16386                                                                                APO               AP    96367‐0064
CARL S SAPHOS JR                                  9012 LAKE CHARITY DR                                                                            MAITLAND          FL    32751
CARL S SCHANZENBACH                               8036 BROWNING                          VILLE LASALLE QC                       H8N 2G1 CANADA
CARL S TREADWAY                                   236 KINTYRE DRIVE                                                                               OXFORD            MI    48371‐6024
CARL S VEIHL                                      5926 SINROLL                                                                                    ORTONVILLE        MI    48462‐9509
CARL SCARNIAC                                     4606 FENN RD                                                                                    MEDINA            OH    44256‐7605
CARL SCHARWATH                                    3440 MARY LANE                                                                                  MOUNT DORA        FL    32757‐2322
CARL SCOTT BURDEN                                 PO BOX 1331                                                                                     MOUNT LAUREL      NJ    08054‐7331
CARL SMITH                                        3872 CHARFIELD LN                                                                               HAMILTON          OH    45011‐6522
CARL SROUFE                                       1375 GLENBROOK DR                                                                               HAMILTON          OH    45013‐2330
CARL STRIEVSKI                                    14 CARRINGTON DRIVE                                                                             EAST NORTHPORT    NY    11731
CARL SZCZYGIEL CUST DUSTIN SZCZYGIEL UTMA MI      9678 ROLLING GREEN DR                                                                           PINCKNEY          MI    48169‐8132

CARL SZCZYGIEL CUST LINDSEY SZCZYGIEL UTMA MI     9678 ROLLING GREEN DR                                                                           PINCKNEY          MI    48169‐8132

CARL SZCZYGIEL CUST TAYLOR SZCZYGIEL UTMA MI      9678 ROLLING GREEN DR                                                                           PINCKNEY          MI    48169‐8132

CARL T BISHOP                                     3831 ELSMERE AVE                                                                                CINCINNATI        OH    45212‐3819
CARL T COOK & BETSY H COOK JT TEN                 111 SOUTHPOINT CT                                                                               MOORE             SC    29369‐9708
CARL T FRASHER & MRS JUANITA J FRASHER JT TEN     10295 S STATE RD                                                                                GOODRICH          MI    48438‐9472

CARL T HETZEL                                     PO BOX 132                                                                                      IBERIA            OH    43325‐0132
CARL T JACKSON                                    3611 AUGER AVE                                                                                  WHITE BEAR LAKE   MN    55110‐4685
CARL T KELLY                                      2994 PRATT RD                                                                                   METAMORA          MI    48455‐8921
CARL T KIRK                                       4100 CHERRY RIDGE WALK                                                                          SUWANEE           GA    30024‐2378
CARL T LINDER                                     1977 STRONG ROAD                                                                                VICTOR            NY    14564‐9111
CARL T SIMPSON                                    PO BOX 166                                                                                      BURKBURNETT       TX    76354‐0166
CARL T WIMBERLEY                                  5306 INDIGO ST                                                                                  HOUSTON           TX    77096‐1208
CARL T YORK                                       3201 PEBBLEBROOK DR                                                                             ELWOOD            IN    46036‐8649
CARL THOMAS & NORMA J WOLF JT TEN                 954 MILL ST                                                                                     LINCOLN PARK      MI    48146‐2740
CARL THOMAS BUSH                                  #2                                     542 S UNIVERSITY BLVD                                    NORMAN            OK    73069‐5743
CARL TIPTON JR                                    4418 SKYLARK DRIVE                                                                              ENGLEWOOD         OH    45322‐3740
CARL V BOOTS                                      2653 PORCUPINE TRAIL                                                                            LAPEER            MI    48446‐8324
CARL V CARLSON JR                                 577 JOHNS PASS AVE                                                                              MADEIRA BEACH     FL    33708‐2368
CARL V FITTANTE                                   7246 SOUTHFORK DRIVE                                                                            SWARTZ CREEK      MI    48473‐9759
CARL V FRANDSEN                                   PO BOX 186                                                                                      DRIFTWOOD         TX    78619‐0186
CARL V HOSKINS                                    BOX 35                                                                                          ADVANCE           IN    46102‐0035
CARL V KELK                                       8800 DU BOIS RD                                                                                 CHARLOTTE HALL    MD    20622‐3655
CARL V KLING & MRS MAE L KLING JT TEN             3720 DAUPHIN ST #221                                                                            MOBILE            AL    36608
CARL V MILLER                                     3619 RIDGEDALE AVE                                                                              SAINT LOUIS       MO    63121‐5338
CARL V WILLIAMS                                   3643 OHIO AVE                                                                                   KANSAS CITY       KS    66102‐4598
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 563 of 850
Name                                           Address1                               Address2             Address3          Address4          City             State Zip

CARL VIERS & BETTY R VIERS JT TEN              44856 HARRIS RD                                                                                 BELLEVILLE       MI    48111‐8938
CARL VINCIGUERRA & MARY VINCIGUERRA JT TEN     87‐80 98TH ST                                                                                   WOODHAVEN        NY    11421‐2206
CARL W ALLEN                                   3455 LAKESHORE DR                                                                               GLADWIN          MI    48624‐8364
CARL W ANDERSON                                10992 MAIDENS RD                                                                                BEAR LAKE        MI    49614‐9734
CARL W ANDERSON & MARY THORN ANDERSON & A      603‐37TH STREET                                                                                 VIENNA           WV    26105‐2523
KATHLEEN ANDERSON JT TEN
CARL W ANDERSON & MARY THORN ANDERSON &        603‐37TH ST                                                                                     VIENNA           WV    26105‐2523
ROBERT C ANDERSON JT TEN
CARL W BARKER JR                               13441 MOREHEAD ROAD                                                                             WALLENINGFORD    KY    41093‐8745
CARL W BARNETT                                 254 BLUFF DRIVE                                                                                 ROGERSVILLE      AL    35652
CARL W BAUMAN                                  225 W CHEROKEE CIR                                                                              FOX POINT        WI    53217‐2719
CARL W BAXTER                                  8084 STONEBRANCH EAST DR                                                                        INDIANAPOLIS     IN    46256‐4607
CARL W BLANKSTROM                              7013 CRESTWOOD DR                                                                               DEARBORN HTS     MI    48127‐4600
CARL W BORCZ                                   9055 LEDGEMONT DRIVE                                                                            BROADVIEW        OH    44147‐4023
                                                                                                                                               HEIGHTS
CARL W BOWMAN                                  427 WALNUT ST                                                                                   MOUND CITY       KS    66056‐5271
CARL W BROWN                                   1410 E CENTENNIAL AVE                                                                           MUNCIE           IN    47303‐3148
CARL W BROWN                                   396 E LIBBY                                                                                     SPRINGFIELD      MO    65803‐4561
CARL W CASE                                    179 SYLVIA DR                                                                                   CORUNNA          MI    48817‐1156
CARL W CHANDLER                                605 CAMPBELL MILL RD                                                                            MASON            NH    03048‐4903
CARL W DAHMER                                  C/O HOLDEN                             MAIL POINT H102B     PO BOX 9022                         WARREN           MI    48090‐9022
CARL W DETTMER JR                              1925 ASH AVE                                                                                    LAS CRUCES       NM    88001‐2063
CARL W ERICKSON                                370 MARSH ROAD                                                                                  BRISTOL          CT    06010‐2214
CARL W ERICKSON CUST DANA C ERICKSON UGMA CT   370 MARSH RD                                                                                    BRISTOL          CT    06010‐2214

CARL W FASTZKIE JR                             442 COUNTRY MEADOWS DR                                                                          OAK HARBOR       OH    43449‐1553
CARL W FELTS                                   686 COUNTRY ROAD 355                                                                            HARVIELL         MO    63945‐9113
CARL W FERRIS                                  22738 COLONEL LEONARD RD                                                                        ROCK HALL        MD    21661‐2029
CARL W FOX                                     1300 TWIN LAKES ROAD                                                                            ATHEN            GA    30606‐6221
CARL W FRENCH                                  3655 RAVENSWOOD RD                                                                              MARYSVILLE       MI    48040‐1119
CARL W FREY                                    7910 PIERCE RD                                                                                  MANCHESTER       MI    48158
CARL W GAMBLE                                  3378 KINGSWAY DRIVE                                                                             HIGHLAND         MI    48356
CARL W HAGMANN                                 3610 OLD COBBLE RD                                                                              SAN DIEGO        CA    92111‐4048
CARL W HAMILTON                                7255 CONFEDERATE LANE                                                                           VILLA RICA       GA    30180‐3911
CARL W HEYN                                    PO BOX 5394                                                                                     FAIRLAWN         OH    44334‐0394
CARL W HOPKINS                                 547 CAT TRACK ROAD                                                                              WEATHERFORD      TX    76085‐8117
CARL W HOPPER                                  5505 S 850 W                                                                                    LEXINGTON        IN    47138
CARL W HURLEY                                  3285 SOMERVILLE RD                                                                              SOMERVILLE       OH    45064‐9706
CARL W JENKINS                                 227 TRAMMEL LANE                                                                                FALLING WATERS   WV    25419‐6916
CARL W JOHNSON                                 RR 1 BOX 200                                                                                    REELSVILLE       IN    46171‐9755
CARL W JOHNSON & VIRGINIA B JOHNSON JT TEN     54188 STONE WAY                                                                                 ELKHART          IN    46514‐4884
CARL W JONES                                   5274 FREESTONE CIR                                                                              DALLAS           TX    75227‐1807
CARL W KOORS                                   9987 BAUGHMAN ROAD                                                                              HARRISON         OH    45030‐1792
CARL W LEWIN                                   141 W RIVER RD                         APT 219                                                  WATERVILLE       ME    04901‐5186
CARL W LOVEALL                                 9791 MAPLEGROVE RD                                                                              NASHVILLE        MI    49073‐9510
CARL W MCLEMORE                                180 HOPEWELL SPRINGS RD                                                                         MADISONVILLE     TN    37354‐6556
CARL W MCLEMORE & REBA J MCLEMORE JT TEN       180 HOPEWELL SPRINGS RD                                                                         MADISONVILLE     TN    37354‐6556
CARL W MEDINA                                  20613 MISSION BLVD                                                                              HAYWARD          CA    94541‐1816
CARL W MEYERS & JOSEPHINE ANNE MEYERS JT TEN   3419 G AVE                                                                                      ANACORTES        WA    98221

CARL W MEYERS JR                               1004 MILL ST                                                                                    QUAKERTOWN       PA    18951
CARL W NICHOL                                  4044 SAGINAW TRAIL                                                                              WATERFORD        MI    48329‐4249
CARL W NORRIS & CHARLOTTE L NORRIS JT TEN      325 MICHIGAN AVE                                                                                ELYRIA           OH    44035‐7137
CARL W NORTON                                  1807 CUMBERLAND AVE SW                                                                          DECATUR          AL    35603‐1010
CARL W ORECKLIN                                310 S SALTAIR AVE                                                                               LOS ANGELES      CA    90049‐4129
CARL W ORECKLIN & JAMES R ORECKLIN JT TEN      310 S SALTAIR AVE                                                                               LOS ANGELES      CA    90049‐4129
CARL W PACKARD                                 708 NORTH CENTRAL AVENUE                                                                        CRANDON          WI    54520‐1134
CARL W PARRISH JR                              3745 FENNER RD                                                                                  MUSKEGON         MI    49445‐1831
CARL W PENTICOFF JR                            43708 RATLIFF RD                                                                                CALLAHAN         FL    32011‐7250
                                          09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                      Part 1 of 8 Pg 564 of 850
Name                                            Address1                               Address2                  Address3              Address4            City             State Zip

CARL W ROBBINS JR                               3515 COUNTY ROAD 40                                                                                        CENTRE           AL    35960‐5338
CARL W ROWLAND                                  4360 LINDA DR                                                                                              VERMILION        OH    44089‐3404
CARL W ROWLAND & MARYANN ROWLAND JT TEN         4360 LINDA DR                                                                                              VERMILION        OH    44089‐3404

CARL W SCHELL                                   717 ASTOR AVE                                                                                              MORGANTOWN       WV    26501‐6844
CARL W SCHULTE                                  27815 LAUREN ST SOUTH                                                                                      HARRISON TWP     MI    48045
CARL W SCHULTE & MARY L SCHULTE JT TEN          27815 LAUREN ST S                                                                                          HARRISON         MI    48045
                                                                                                                                                           TOWNSHIP
CARL W SHIELDS & ELFRIEDA M SHIELDS JT TEN      177 MATTHEWS ST                                                                                            BRISTOL          CT    06010‐2954
CARL W SHOOK                                    83 GOLDWATER LN                                                                                            REED SPRINGS     MO    65737‐8581
CARL W SIGLER                                   78 MILLBROOK RD                                                                                            WASHINGTON       NJ    07882‐3550
CARL W SMITH                                    6052 TAHITI DR                                                                                             CINCINNATI       OH    45224
CARL W SNARSKY                                  11922 TUCSON DRIVE                                                                                         PARMA            OH    44130‐1843
CARL W SODERSTROM JR TR VIRGINIA M SODERSTROM   1 SOUTH STREAM                                                                                             MORTON           IL    61550‐1170
TRUST UA 11/27/93
CARL W SOINE                                    4937 OLD HANOVER RD                                                                                        WESTMINSTER      MD    21158‐1338
CARL W SPRINGER                                 5909 ROBERT ROAD                                                                                           MUNCIE           IN    47303‐4444
CARL W STAMPER & ALENE STAMPER JT TEN           775 SUNSET                                                                                                 PLYMOUTH         MI    48170‐1076
CARL W SWENSON                                  36 ASH TERRACE                                                                                             PARLIN           NJ    08859‐1102
CARL W TARRANT                                  1428 SIOUX TRL                                                                                             NILES            MI    49120
CARL W TESTERMAN                                5180 KAREN ISLE                                                                                            WILLOUGHBY       OH    44094‐4350
CARL W VAN HORN                                 213 PARSHALL ST                                                                                            OAKLEY           MI    48649‐8782
CARL W VANDEBOGART                              5385 WILLIS RD                                                                                             YPSILANTI        MI    48197‐8922
CARL W VANDIVER                                 7610 VAN ROTH CROSSING                                                                                     BLOOMSDALE       MO    63627‐9046
CARL W VINSON                                   904 CLEARVIEW ST S W                                                                                       DECATUR          AL    35601‐6210
CARL W WEBER & CLAIRE E WEBER JT TEN            1770 N CENTER RD                                                                                           SAGINAW          MI    48603‐5579
CARL W WELLBORN                                 1720 STRATHCONA DRIVE                                                                                      DETROIT          MI    48203‐1423
CARL W WERNER JR                                PO BOX 1174                                                                                                LA GRANGE PARK   IL    60526‐9274
CARL W WHITEHEAD                                7 CROSBY AVE                                                                                               LOCKPORT         NY    14094‐4105
CARL W WILLIAMSON                               1009 CRAWFORD DR                                                                                           ROCKVILLE        MD    20851‐1606
CARL W WOLFE                                    3531 WASHINGTON                                                                                            STANDISH         MI    48658‐9482
CARL W WOLFE JR                                 6906 W TOWER RD                                                                                            CURRAN           MI    48728‐9733
CARL W YEARY                                    22367 CLARK RD                                                                                             BELLEVILLE       MI    48111‐9646
CARL W ZEH                                      615 STANTON DRIVE                                                                                          NORTH AUGUSTA    SC    29841‐3262
CARL W ZOBEL JR                                 5120 PLEASANT DRIVE                                                                                        BEAVERTON        MI    48612‐8543
CARL WATERS CUST LISA A WATERS UGMA MA          5853 SUNSWEPT LN                                                                                           BOYNTON BEACH    FL    33437‐3446
CARL WATERS CUST VICKI L WATERS UGMA MA         5853 SUNSWEPT LN                                                                                           BOYNTON BEACH    FL    33437‐3446
CARL WHITE                                      PO BOX 791                                                                                                 CORSICANA        TX    75151‐0791
CARL WILLIAM LANGE IV                           PO BOX 88                                                                                                  CUBA             MO    65453‐0088
CARL WILLS                                      7531 LATHERS STREET                                                                                        WESTLAND         MI    48185‐2633
CARL WINTER & MRS SOPHIA E WINTER JT TEN        910 N TAWAS LAKE RD #C28                                                                                   EAST TAWAS       MI    48730‐9772
CARL ZAMON                                      C/O RITA D ZAMON                       30739 MARROCCO DR                                                   WARREN           MI    48088‐5939
CARL ZOCCOLA                                    BOX 66                                                                                                     ROUND TOP        NY    12473‐0066
CARL ZUIDEMA                                    2108 JEFFERSON ST                                                                                          HOLT             MI    48842‐1345
CARL‐AXEL BLOM                                  LUNDAGATAN 18 C 33                     06100 BORGA 10                                  FINLAND
CARL‐FREDRIK SCHULERUD                          362/1‐10 SOI TAPIA                     SOI WAD DAN SAMRONG NUA   SAMRONG NUA A MUANG   SAMUTPRAKAN 10270
                                                                                                                                       THAILAND
CARL‐PETER FORSTER                              KARL‐THEODOR‐STRASSE 25                80803 MUENICH                                   GERMANY
CARLA A BROWN                                   5512 SHIREWICK LANE                                                                                        LITHONIA         GA    30058‐3874
CARLA A CAMPOLIETO CUST ALEXA M CAMPOLIETO      3 DOMIANO DR                                                                                               EYNON            PA    18403‐1002
UTMA PA
CARLA A CAMPOLIETO CUST JOSEPH M CAMPOLIETO     3 DOMIANO DRIVE                                                                                            EYNON            PA    18403‐1002
UTMA PA
CARLA A COE                                     2346 HOLLIDAY DR SW                                                                                        WYOMING          MI    49519‐4241
CARLA A KELLEY                                  2195 BEECHNUT TRAIL                                                                                        HOLT             MI    48842‐8761
CARLA A SOKOL GRISSOM                           600 MERRIMON AVE                       APT 19A                                                             ASHEVILLE        NC    28804‐3445
CARLA ANN BROWN                                 538 THERESA LANE                                                                                           MOODY            TX    76557‐4013
CARLA ANN GREGORY                               208 E 35TH ST                                                                                              ANDERSON         IN    46013‐4622
CARLA ANN MARTINUCCI                            5440 NORTH PARIS                                                                                           CHICAGO          IL    60656‐1548
                                            09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 565 of 850
Name                                           Address1                             Address2                 Address3      Address4          City               State Zip

CARLA ANN SLOAN & PATRICK M MULROY JT TEN      1416 BRAIDED MANE CIRCLE                                                                      HENDERSON          NV    89014
CARLA B ZOLTOWSKI                              154 GIBSON CT                                                                                 WEST LAFAYETTE     IN    47906‐1198
CARLA BABCOCK                                  1088 WEST PINE                                                                                MOUNT MORRIS       MI    48458
CARLA C MORITA                                 16458 CANELONES DR                                                                            HACIENDA HEIGHTS   CA    91745‐4956

CARLA CALARCO                                  PO BOX 16507                                                                                  SEATTLE            WA    98116‐0507
CARLA CARBONI                                  4011 KENLEY WAY                                                                               BIRMINGHAM         AL    35242‐8022
CARLA COLETTE BRADSHAW TR TWELVE WILD HORSES   PO BOX 9228                                                                                   SAN DIEGO          CA    92169‐0228
TRUST UA 10/29/97
CARLA D DUNCAN                                 2200 GAYWOOD PL                                                                               DAYTON             OH    45414‐2814
CARLA D EDWARDS                                4918 WATER FOWL LN                                                                            MEMPHIS            TN    38141‐8435
CARLA D MARTIN & JASON W MARTIN JT TEN         8921 GARDEN STONE LANE                                                                        FAIRFAX            VA    22031‐1457
CARLA D MCGUIRE                                4545 W CONTINENTAL DRIVE                                                                      GLENDALE           AZ    85308‐3443
CARLA D MYERS                                  11200 BOX RD                                                                                  LEXINGTON          OK    73051‐6705
CARLA DEAN GALLIPOLI TR CARLA DEAN GALLIPOLI   10901 CORONA AVE NE                                                                           ALBUQUERQUE        NM    87122‐3119
TRUST UA 6/24/97
CARLA F JOHNSON                                BOX 2600                                                                                      CHESTERTOWN        MD    21620‐2600
CARLA FRANCES FALKENBERG                       2730 EDINBURG DR                                                                              WINSTON SALEM      NC    27103‐5743
CARLA G DEWENT                                 3170 LOCKE S W                                                                                GRANDVILLE         MI    49418‐1421
CARLA GENEROSE                                 1103 W AUTUMN CRT                                                                             COLLEGEVILLE       PA    19426‐3369
CARLA H LUZIO                                  8847 VINEYARD HAVEN DR                                                                        DUBLIN             OH    43016‐7368
CARLA H MORRISON                               6 BASKIN RD                                                                                   LEXINGTON          MA    02421‐6902
CARLA H VALDEZ                                 2 FELLOWSHIP CIRCLE                                                                           SANTA BARBARA      CA    93109‐1209
CARLA IACOBONI CUST DANIELA IACOBONI UGMA MI   8403 WESLEY DR                                                                                FLUSHING           MI    48433‐1164

CARLA IACOBONI CUST MICHAEL ANTHONY IACOBONI   8403 WESLEY DR                                                                                FLUSHING           MI    48433‐1164
UGMA MI
CARLA J BROWNING                               1400 SUNNYSIDE DRIVE                                                                          COLUMBIA           TN    38401‐5231
CARLA J CARTER & BARRY R CARTER JT TEN         PO BOX 42                                                                                     ALDER              MT    59710‐0042
CARLA J DINKINS                                50255 HEDGEWAY DR                                                                             SHELBY TWP         MI    48317
CARLA J DOMBROSKI                              4436 BLACKBERRY LN                                                                            LANSING            MI    48917‐1633
CARLA J HARRIS                                 3535 DEAN LK NE                                                                               GRAND RAPIDS       MI    49525‐2846
CARLA J HEFLIN                                 100 TAHOE CT                                                                                  DAYTONA BEACH      FL    32114‐6727
CARLA J KALINOFF FISHER                        8523 MEADOW BLUFF CT                                                                          CINCINNATI         OH    45249‐1755
CARLA J KIRKWOOD                               RT 2 BOX 637                                                                                  MULDROW            OK    74948‐9646
CARLA J RICE                                   1135 EAGLE CREEK DRIVE                                                                        FLORESVILLE        TX    78114‐9214
CARLA J RUSSELL                                C/O CARLA J FREDERICK                11754 WILLOW CREEK WAY                                   GREENTOP           MO    63546‐2224
CARLA J STEWART                                314 GREENWOOD DRIVE                                                                           PETERSBURG         VA    23805‐2048
CARLA J SWARTZ                                 2473 CREW CIR                                                                                 DAYTON             OH    45439‐3265
CARLA J TOMASO                                 194 SEQUOIA DRIVE                                                                             PASADENA           CA    91105‐1356
CARLA J VAN LANDINGHAM                         331 KENTUCKY LN                                                                               FAIRVIEW           TX    75069‐1269
CARLA J ZODY                                   351 ABBEYFEALE ROAD                                                                           MANSFIELD          OH    44907‐1012
CARLA JANE SPEAR                               316 PLEASANT DR                                                                               WARREN             PA    16365‐3352
CARLA JEAN KITCHEN                             PO BOX 1835                                                                                   FALLING WATERS     WV    25419‐1835
CARLA JEAN STEWART                             10382 SHADYBROOK DRIVE                                                                        BOISE              ID    83704‐3942
CARLA JEANELLE WILKINSON                       2118 NORTH SEVENTH AVE                                                                        LAUREL             MS    39440‐2282
CARLA JO EIGENAUER                             1840 LAWRENCE RD                                                                              ELLENSBURG         WA    98926‐8684
CARLA K ELEY                                   8111 TALLIHO DR                                                                               INDIANAPOLIS       IN    46256‐4816
CARLA L AUSTIN                                 1000 W WILSHIRE BLVD SUITE 205                                                                OKLAHOMA CITY      OK    73116
CARLA L FINE                                   1000 W WILSHIRE BLVD SUITE 205                                                                OKLAHOMA CITY      OK    73116
CARLA L GRABITS                                1013 THIRD ST                                                                                 BRILLIANT          OH    43913‐1051
CARLA L JACKSON                                10000 SPRING LANE NW APT E                                                                    NORCROSS           GA    30092‐4116
CARLA L POWELL                                 18804 34TH AVENUE SE                                                                          BOTHELL            WA    98012‐8836
CARLA L POWERS                                 PO BOX 27                                                                                     BETHEL             VT    05032‐0027
CARLA LEE GODFREY                              250 WORKMAN DR                                                                                WOODRUFF           SC    29388‐8286
CARLA M BARANAUCKAS & MOLLY A BARANAUCKAS JT   PO BOX 5145                                                                                   WEEHAWKEN          NJ    07087‐7803
TEN
CARLA M CHAPMAN                                1653 WINCHESTER ST                                                                            LINCOLN PARK       MI    48146‐3844
CARLA M CRANE‐BUDDE                            5490 STONE RD                                                                                 LOCKPORT           NY    14094‐9466
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 566 of 850
Name                                               Address1                              Address2              Address3         Address4          City            State Zip

CARLA M HOPKINS                               C/O CARLA M MCINTOSH                       2241 TALL OAKS LANE                                      YORK            PA    17402‐8905
CARLA M KESSLER                               115 E 87TH ST                              APT 25F                                                  NEW YORK        NY    10128‐1171
CARLA M LOCHNER                               14546 MULLEN                                                                                        OLATHE          KS    66062‐6563
CARLA M LOCKARD                               3355 NOTTINGHILL DR W                                                                               PLAINFIELD      IN    46168‐8306
CARLA M MCINTOSH CUST QUINN M MCINTOSH UTMA 2241 TALL OAKS LN                                                                                     YORK            PA    17402‐8905
PA
CARLA M MCINTOSH CUST THOMAS H MCINTOSH UTMA 2241 TALL OAKS LN                                                                                    YORK            PA    17402‐8905
PA
CARLA M NELSON                                18 WALDRON AVE APT 3A                                                                               NYACK           NY    10960‐2955
CARLA M REDDICK                               1351 SHEPHERDSTOWN ROAD                                                                             MARTINSBURG     WV    25401‐0732
CARLA M THISSE                                2390 VENEZIA DR                                                                                     DAVISON         MI    48423‐8774
CARLA M TRIVINO                               114 23RD ST                                                                                         GULFPORT        MS    39507‐1772
CARLA MARCHIONI                               1637 HILLSIDE LN                                                                                    ROCHESTER       MI    48307‐3438
CARLA POLK PITA PERS REP EST HILDRA POLK SR   1022 TARFORD PL                                                                                     KNIGHTDALE      NC    27545‐9249
CARLA POLK‐PITA                               1022 TARFORD PL                                                                                     KNIGHTDALE      NC    27545‐9249
CARLA R ALLEN                                 4010 N GUILFORD AVE                                                                                 INDIANAPOLIS    IN    46205‐2723
CARLA R BOST                                  1530 QUEENS RD                             APT 502                                                  CHARLOTTE       NC    28207‐2575
CARLA R HAMILTON                              3925 KIOWA COURT                                                                                    GRANDVILLE      MI    49418‐1841
CARLA R MCINTOSH & JOHN R MCINTOSH JT TEN     4001 FOX AVE NE                                                                                     MINERVA         OH    44657
CARLA R WOODRUFF CUST JACE P WOODRUFF UTMA MI 5034 WAKEFIELD RD                                                                                   GRAND BLANC     MI    48439‐9111

CARLA RUSNICA CUST DEBORAH RUSNICA UGMA PA         26 DEERFIELD DR                                                                                GREENSBURG      PA    15601‐1010

CARLA RUSNICA CUST EDWARD RUSNICA UGMA PA          26 DEERFIELD DR                                                                                GREENSBURG      PA    15601‐1010

CARLA S SANDERS                                    37 LAWRENCE PL                                                                                 ASHEVILLE       NC    28801‐1428
CARLA SUE ERKE                                     516 NE 94TH CT                                                                                 KANSAS CITY     MO    64155‐3394
CARLA T RICHARDSON                                 451 W 500S                                                                                     ANDERSON        IN    46013‐5409
CARLA WAGNER                                       118 HANNAHSTORM RD                                                                             BUTLER          PA    16002
CARLAN D RIKER & WILLIAM L JOHNSON & THOMAS A      PO BOX 461                                                                                     UNION LAKE      MI    48387‐0461
JOHNSON JT TEN
CARLAN J RAY                                       1122 PINEHURST ST                                                                              FLINT           MI    48507‐2338
CARLAS R QUINNEY                                   819 BRITTEN AVE                                                                                LANSING         MI    48910‐1323
CARLAUS D ADDO                                     BOX 30182                                                                                      MIDWEST CITY    OK    73140‐3182
CARLE C CONWAY III                                 1305 E VIA ENTRADA                                                                             TUCSON          AZ    85718‐4804
CARLE COBB TR UA 04/18/2007 THE CARL ELBERT COBB   3982 TROUGH SPRINGS COURT                                                                      ADAMS           TN    37010
REVOCABLE TRUST
CARLE J ENELOW                                     401 CARNEGIE DR                                                                                PITTSBURGH      PA    15243‐2041
CARLEAN BOYD                                       C /O MRS MARBLEY                      919 CHESLEY DR                                           LANSING         MI    48917
CARLEE FISHBURN                                    101 HOPI ST                                                                                    HOT SPRINGS     AR    71913‐9533
CARLEE H DIAZ                                      2504 CHUCHURA DRIVE                                                                            BIRMINGHAM      AL    35244‐2270
CARLEEN A CHRISTNER                                130 HUNTINGTON TRAIL                                                                           CORTLAND        OH    44410‐1600
CARLEEN A CHRISTNER & DAVID W CHRISTNER JT TEN     130 HUNTINGTON TRAIL                                                                           CORTLAND        OH    44410‐1600

CARLEEN M KEMMERLING CUST CHRISTIAN M              33310 TULE OAK DR                                                                              SPRINGVILLE     CA    93265‐9687
KEMMERLING UTMA IL
CARLEEN W CALDWELL                                 2202 MISSION DR                                                                                SOLVANG         CA    93463‐2224
CARLEN P HARLOW                                    7811 CALVARY STAGE                                                                             SAN ANTONIO     TX    78255‐2189
CARLENE C BOLLINGER                                2290 FISHER TRAIL                                                                              ATLANTA         GA    30345‐3433
CARLENE CARLBERT GALLIGAN                          2 ALLAN WAY                                                                                    BETHEL          CT    06801‐1611
CARLENE D CAGE                                     1354 CENTER ST W                                                                               WARREN          OH    44481‐9456
CARLENE E HESS                                     36 N FOURTH STREET                                                                             HUGHESVILLE     PA    17737‐1906
CARLENE HALL                                       5501 RHONE DR                                                                                  WICHITA FALLS   TX    76306‐1005
CARLENE HATCHER                                    2905 LA QUINTA DRIVE                                                                           PLANO           TX    75023‐5419
CARLENE HATCHER & RICHARD HATCHER JT TEN           2905 LA QUINTA DRIVE                                                                           PLANO           TX    75023‐5419
CARLENE M MUNRO                                    3700 TOWSLEY CT                                                                                GLADWIN         MI    48624‐9791
CARLENE R HENRY                                    5229 RIDGETOP DRIVE                                                                            WATERFORD       MI    48327‐1349
CARLENE R ZOLLNER                                  83 N MINGES RD                                                                                 BATTLE CREEK    MI    49015‐7909
CARLENE TACKETT                                    807 S BONHAM                                                                                   MEXIA           TX    76667‐3720
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 567 of 850
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

CARLENE TOM & DENISE T TOM JT TEN               2632 LA HONDA AVE                                                                               EL CERRITO        CA    94530‐1533
CARLENER F DAVIS                                135 SAWYER                                                                                      LA GRANGE         IL    60525‐2539
CARLETON A SPERATI                              407 N PLUM ST                                                                                   VERMILLION        SD    57069‐2410
CARLETON E MARTIN                               PO BOX 96                                                                                       CHARLESTON        ME    04422‐0096
CARLETON L GARRETT & MRS MARTHA M GARRETT JT    925 CRESTWOOD AVE                                                                               EL DORADO         AR    71730‐3637
TEN
CARLETON L THOMAS                               16545 GREENLAWN                                                                                 DETROIT           MI    48221‐2936
CARLETON LETT                                   9580 BRYDEN                                                                                     DETROIT           MI    48204‐2034
CARLETON M RINEHART JR                          360 ROSELAKE DRIVE                                                                              CENTERVILLE       OH    45458‐4013
CARLETON V MATZELLE                             5345 IROQUOIS COURT                                                                             CLARKSTON         MI    48348‐3015
CARLETTA A WOODWARD                             1905 EAST SOUTHWAY BOULEVARD                                                                    KOKOMO            IN    46902‐4535
CARLETTA L RIGHTLER & DAVID E RIGHTLER JT TEN   17 CHELTEHAM LANE                                                                               FAIRFIELD BLADE   TN    38558‐2643

CARLETTA M NORTH                                7820 CALVIN LEE RD                                                                              GROVELAND         FL    34736‐9496
CARLETTE B PICKARD                              632 WILLIS AVE                                                                                  YOUNGSTOWN        OH    44511‐1526
CARLETTE MARIE ANDERSON                         2451 NIGHT STAR COURT                                                                           ALPINE            CA    91901
CARLIE BURNETT                                  2 CLOVERWOOD CT                        APT 302                                                  ESSEX             MD    21221‐7366
CARLIE CHRISTENSEN                              2870 OAKHURST DR                                                                                SALT LAKE CITY    UT    84108‐2030
CARLIE E WILLETT                                5424 HOLOPAW ST                                                                                 ST CLOUD          FL    34773‐9460
CARLIE EARL SMITH                               2430 HWY 1545                                                                                   RUSSELL SPGS      KY    42642‐9536
CARLIE FINK                                     602 GRAHAM COURT                                                                                LAURENBERG        NC    28352
CARLIE H WHITE                                  530 SPRING ST                                                                                   NEW KENSINGTON    PA    15068‐5832

CARLIE LEE TOMPKINS                             PO BOX 174                                                                                      KENNARD           IN    47351‐0174
CARLIE R ROGERS & VERNELL V ROGERS JT TEN       552 COUNTY ROAD 4925                                                                            QUITMAN           TX    75783
CARLIN DALE JACKSON                             1102 MARION DR                                                                                  HOLLY             MI    48442‐1040
CARLIN J PATTON                                 11310 MENDEN                                                                                    DETROIT           MI    48205‐4719
CARLIN S CANADY                                 413 DUGGINS DRIVE                                                                               KINGSTON          NC    28501‐8211
CARLIN S LONG CUST Z EVAN DAVID CONOR LONG      1745 LOCUST                                                                                     DENVER            CO    80220‐1631
UTMA CO
CARLIS D HERRINGTON                             25072 PAMELA ST                                                                                 TAYLOR            MI    48180‐4522
CARLIS E WILLIAMS                               4465 WOOD DUCK CT                                                                               LINDEN            MI    48451‐8410
CARLIS F BROWN                                  18076 KEYSTONE                                                                                  DETROIT           MI    48234‐2327
CARLIS N RAGLAND                                1 SUSAN CT APT D4                                                                               W ORANGE          NJ    07052‐6244
CARLIS R COMER                                  734 SPRING LAKE BLVD NW                                                                         PT CHARLOTTE      FL    33952‐6435
CARLISE J COBB                                  172 WALLACE                                                                                     GRIFFIN           GA    30223‐6016
CARLISLE MOORE                                  270 ROCKLICK RD                                                                                 BEATTYVILLE       KY    41311‐9409
CARLITO DIAZ & YING K DIAZ JT TEN               24421 ST JAMES DR                                                                               MORENO VALLEY     CA    92553‐3571
CARLITO M KONG                                  7208 MEEKER CREEK DR                                                                            DAYTON            OH    45414‐2075
CARLITO M KONG & MARIA L KONG JT TEN            7208 MEEKER CREEK DR                                                                            DAYTON            OH    45414‐2075
CARLO A ROSSI                                   8529 MAIN AVE                                                                                   PASADENA          MD    21122‐3149
CARLO ARINI                                     3571 CLEAR STREAM DR                                                                            ORLANDO           FL    32822‐3080
CARLO D ALESIO                                  282 PENN‐WASH CR RD                                                                             TITUSVILLE        NJ    08560
CARLO DE SANTIS                                 13828 BIRCH TREE WAY                                                                            SHELBY TWP        MI    48315‐6002
CARLO FINAZZO                                   703 N SHORE DR                                                                                  MILFORD           DE    19963‐1089
CARLO G TRIPI & GIOVANNINA TRIPI JT TEN         123 LISA ANN DR                                                                                 ROCHESTER         NY    14606‐5619
CARLO GILBERT                                   85 SHORT LANE                                                                                   CORBIN            KY    40701‐5068
CARLO GOFFI & DEBBIE GOFFI JT TEN               1620 ALBION RD                         APT 112              TORONTO ON        M9V 4B4 CANADA
CARLO HAMMONS                                   4199 FENTON RD                                                                                  HAMILTON         OH     45013‐9223
CARLO INGLESE                                   25 GRANADA CIR                                                                                  ROCHESTER        NY     14609‐1957
CARLO ISABELLI                                  1408 PHOENIX LN                                                                                 JOLIET           IL     60431‐8415
CARLO JOHNSON                                   2280 WREN ST                                                                                    FAIRFIELD        OH     45014‐5772
CARLO L ADAMO & ANTOINETTE J ADAMO JT TEN       5127 ELPINE WAY                                                                                 PALM BEACH       FL     33418‐7850
                                                                                                                                                GARDENS
CARLO LOPICCOLO                                 38452 AMMERST DR                                                                                CLINTON TOWNSHIP MI     48038‐3201

CARLO M CIMINO & DOROTHY A CIMINO JT TEN        10 FAIRWIND LANE EXT                                                                            CUMBERLAND        ME    04110‐1130
                                                                                                                                                FORESID
                                                09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                     Part 1 of 8 Pg 568 of 850
Name                                              Address1                            Address2                  Address3             Address4             City            State Zip

CARLO MARCHIOLI & FILOMENA MARCHIOLI JT TEN       11 FRANK ST                                                                                             FAIRPORT        NY    14450‐1411

CARLO MICOZZI                                     530 NEW SALEM ROAD                                                                                      UNIONTOWN       PA    15401‐9014
CARLO P POLIDORI JR & JOANN L POLIDORI JT TEN     2032 CARLTON COURT                                                                                      WHITE LAKE      MI    48383‐3362
                                                                                                                                                          TWNSHP
CARLO PICCININO                                 2643 RUTH AVE                                                                                             BRENTWOOD       MO    63144‐2416
CARLON A STAPPER CUST LANNA JOY STAPPER UTMA TX PO BOX 1647                                                                                               OZONA           TX    76943‐1647

CARLON A STAPPER CUST LINDA LEE STAPPER UGMA TX PO BOX 1647                                                                                               OZONA           TX    76943‐1647

CARLOS A BURGOS                                   4902 INDIAN WELLS CT                                                                                    ARLINGTON       TX    76017‐2431
CARLOS A CRAWFORD                                 62 HAMILTON                                                                                             BUFFALO         NY    14207‐2744
CARLOS A GARCIA                                   6540 W 91ST ST                      APT 100                                                             OVERLAND PARK   KS    66212‐6019
CARLOS A HARRIS                                   143 SHERRY CIR                                                                                          GALLATIN        TN    37066‐2435
CARLOS A MARTORELLI                               GM DO BRASIL AV GM 1959             SAO JOSE DOS CAMPOS       SAO PAULO BRAZIL12   BRAZIL
CARLOS A PEREZ                                    710 E SAN YSIDRO BLV                SUITE 4 PMB 749                                                     SAN ISIDRO      CA    92173‐3123
CARLOS A PEREZ                                    7955 S KALROV ST                                                                                        CHICAGO         IL    60652‐2307
CARLOS A QUINCE                                   373 TROY DEL WAY                                                                                        BUFFALO         NY    14221‐3333
CARLOS A RAMIREZ                                  2506 QUINCY                                                                                             KANSAS CITY     MO    64127‐4755
CARLOS A RECIO & FRANCISCA M RECIO JT TEN         11612 PARKEDGE DRIVE                                                                                    ROCKVILLE       MD    20852‐3731
CARLOS A ROSSI PAZ                                C/O G M ARGENTINA SA                ARENALES 1391 9TH FLOOR   BUENOS AIRES         ARGENTINA
CARLOS A SALAZAR                                  3006 CALIFORNIA ST                                                                                      HUNTINGTON PARK CA    90255‐5912

CARLOS A SCHWANTES                                620 SPRING MEADOWS DRIVE                                                                                BALLWIN         MO    63011‐3451
CARLOS A SHANNON                                  1955 UNION PL APT D75                                                                                   COLUMBIA        TN    38401‐5907
CARLOS A SULZER                                   GM DO BRASIL AV GOIAS 1805          SAO CAETANO DO SUL        SAO PAULO BRASIL0    BRAZIL
CARLOS A VIEGAS                                   639 AMBOY AVENUE                                                                                        PERTH AMBOY     NJ    08861‐2536
CARLOS ACEVEDO                                    1878 STARR ST                                                                                           RIDGEWOOD       NY    11385‐1117
CARLOS ALVAREZ                                    3950 JOHNSON AVE                                                                                        HAMMOND         IN    46327‐1138
CARLOS ANTONIO GARCIA                             173 4 MILE EXTENSION                                                                                    ANNISTON        AL    36206
CARLOS ANTUNES                                    OPEL PORTUGAL LDA                   APARTADO 25               2050 AZAMBUJA POR    PORTUGAL
CARLOS ANTUNES                                    CASA DA LOMBA CALCADA S ROQUE       S ROQUE                   SANTO ANTAO TOJAL    LOURES PORTUGAL
CARLOS ARNOLD & ALBERTA C ARNOLD JT TEN           145 MICHAEL LN                                                                                          JACKSBORO       TN    37757‐2332
CARLOS AYALA                                      3332 STONYBROOK CT                                                                                      OKLAHOMA CITY   OK    73120‐5324
CARLOS B GUERRERO                                 1511 HIGATE DR                                                                                          SAN JOSE        CA    95122‐1155
CARLOS B HART CUST DANIEL L HART UGMA VA          645 BOON ST                                                                                             SALEM           VA    24153‐3436
CARLOS BARBA                                      GM DO BRASIL AVE GOIAS 1805         SAO CAETANO DO SUL        SAO PAULO BRASIL09   BRAZIL
CARLOS C ESTRADA                                  2221 WEST 19TH STREET                                                                                   YUMA            AZ    85364‐5106
CARLOS C LEVITT                                   1101 S ELLSWORTH #69                                                                                    MEASE           AZ    85208‐2927
CARLOS CAMACHO                                    2578 CEDAR LAKE ROAD                                                                                    HOWELL          MI    48843‐9673
CARLOS CHANG KOO CUST CHI CHI SHANE KOO UTMA      359 AUSTIN AVE                                                                                          ATHERTON        CA    94027‐4007
CA
CARLOS CHANG KOO CUST LYN LYN CHRISTINA KOO       359 AUSTIN AVENUE                                                                                       ATHERTON        CA    94027‐4007
UGMA CA
CARLOS D CHAVEZ                                   216 M‐100                                                                                               POTTERVILLE     MI    48876
CARLOS D DESOUSA                                  724 JACKSON AVENUE                                                                                      ELIZABETH       NJ    07201‐1619
CARLOS D DOEBLER                                  228 SPRUCE ST                                                                                           SUNBURY         PA    17801‐3142
CARLOS D FERRER                                   10861 KINGSLAND HWY                                                                                     EATON RAPIDS    MI    48827‐9325
CARLOS D MEANS                                    303 MARKET ST                                                                                           HERMANN         MO    65041‐1057
CARLOS D WARD                                     10280 EATON PIKE R 1                                                                                    NEW LEBANON     OH    45345‐9630
CARLOS DIAZ                                       5153 CANYON OAKS DR                                                                                     BRIGHTON        MI    48114‐7506
CARLOS E ALMEIDA JR                               45 W 67 ST                          APT 22E                                                             NEW YORK        NY    10023‐6265
CARLOS E ARMENGOL JR                              941 GRAYSON LN                                                                                          CHARLOTTESVLE   VA    22903‐9774
CARLOS E CORDOVA                                  2808 WILLING                                                                                            FORT WORTH      TX    76110‐3036
CARLOS E SANTOS                                   83 TAMAQUES WAY                                                                                         WESTFIELD       NJ    07090‐3623
CARLOS E SMITH                                    2680 WEST STATE ROAD 124                                                                                WABASH          IN    46992‐7772
CARLOS F BROWNING                                 7221 LAFAYETTE RD                                                                                       MEDINA          OH    44256‐8518
CARLOS F LECUMBERRI PANDO                         GM DE MEXICO SA DE                  AV EJERCITO NACL 843      PISO 3 GRANADA MEX   MEXICO
CARLOS F NOA                                      1797 LYNKIRK LN                                                                                         SAINT LOUIS     MO    63122‐2250
                                          09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                         Exhibit E
                                                                                   Part 1 of 8 Pg 569 of 850
Name                                            Address1                            Address2                              Address3             Address4               City            State Zip

CARLOS F RIDDLE                                 6959 U S 35 SOUTH                                                                                                     LOS ANTVILLE    IN    47354
CARLOS G BADILLO                                HC‐57                               BOX 9651                              AGUADA               00602 PUERTO RICO                            ‐9710
CARLOS G QUINTEROS                              18234 CHATSWORTH ST                                                                                                   NORTHRIDGE      CA    91326‐3208
CARLOS G RODON                                  6270 WINDCHIME PL                                                                                                     BOYNTON BEACH   FL    33437‐5115
CARLOS G TELLEZ                                 13213 WOODCOCK AVE                                                                                                    SYLMAR          CA    91342‐2763
CARLOS GALINDO‐ELVIRA                           6527 S 16TH AV                                                                                                        PHOENIX         AZ    85041‐5811
CARLOS GARCIA                                   24 NEW BROADWAY #1                                                                                                    SLEEPY HOLLOW   NY    10591‐1725
CARLOS GARCIA HERNANDEZ                         GM DE MEXICO COMP MANUF TOLUCA      AV INDUSTRIA AUTOMTRZ SN              TOLUCA MEXICOCP      MEXICO
CARLOS GELISTA                                  61 ESCARCHA                         JARD PEDREGAL A OBREGON MEXICO CITY   DF                   1900 MEXICO

CARLOS GELISTA                                  61 ESCARCHA                         JARD PEDREGAL A OBREGON               DF 01900             MEXICO CITY MEXICO
CARLOS GOTAY                                    123 STELLING AVE                                                                                                      MAYWOOD         NJ    07607‐2134
CARLOS GUAJARDO                                 4831 GILBO                                                                                                            WATERFORD       MI    48328‐2848
CARLOS H PYLE                                   309 S CLINTON                                                                                                         SUMMITVILLE     IN    46070‐9701
CARLOS HARRIS                                   272 W STROOP RD                                                                                                       DAYTON          OH    45429‐1614
CARLOS HERNANDEZ                                1407 E ROMNEYA DR                                                                                                     ANAHEIM         CA    92805‐1212
CARLOS HOSKINS                                  115 F HUBBARD RD                                                                                                      LONDON          KY    40741‐7681
CARLOS I GAITAN                                 3001 N TROY ST                                                                                                        CHICAGO         IL    60618‐6908
CARLOS I MARISCAL                               132 BAY SHORE RD                                                                                                      HYANNIS         MA    02601‐4704
CARLOS IGLESIAS                                 GENERAL MOTORS ESPANA SL            PERSONNEL DEPARTMENT                  APARTADO 375         50080 ZARAGOZA SPAIN
CARLOS IGLESIAS YURREB                          GENERAL MOTORS ESPANA SL            PERSONNEL DEPARTMENT                  APARTADO 375         50080 ZARAGOZA SPAIN
CARLOS J ALONSO                                 2718 LINWOOD AVENUE                                                                                                   PARKVILLE       MD    21234‐5629
CARLOS J DOMINGUEZ                              2811 EXTERIOR ST                    APT 9                                                                             BRONX           NY    10463‐7121
CARLOS J GUTIERREZ & DAISY GUTIERREZ JT TEN     119B OAK AVENUE                                                                                                       SHELTON         CT    06484‐3034
CARLOS J MATHIS                                 2381 WYMORE PL                                                                                                        DAYTON          OH    45459‐3658
CARLOS J NEWMAN                                 15116 W DAYBREAK DR                                                                                                   SUPRISE         AZ    85374‐2046
CARLOS J TAYLOR                                 5321 ST LOUIS                                                                                                         ST LOUIS        MO    63120‐2015
CARLOS JIMENEZ PRADO                            CARR CUOTA SILAO‐GTO KM 3 8         SILAO GTO                                                  36100 MEXICO
CARLOS JORGE                                    214 ROBERTS AVE                                                                                                       YONKERS         NY    10703‐1511
CARLOS K BARTON & MARIETTA L BARTON TR BARTON   555 SELLENSCHUETTER ROAD                                                                                              MARTHASVILLE    MO    63357‐3121
LIVING TRUST UA 10/30/00
CARLOS KAPLAN                                   408 E PIASANO DR                                                                                                      EL PASO         TX    79901‐2820
CARLOS L ANTON                                  313 MAIN ST                                                                                                           AUGUSTA         WI    54722‐9094
CARLOS L CASTILLO                               2706 DOUBLE TREE WAY                                                                                                  SPRING HILL     TN    37174‐8219
CARLOS L FLORES                                 5690 HUNT RD                                                                                                          ADRIAN          MI    49221‐9116
CARLOS L GARCIA                                 29950 TRUMAN AVE                                                                                                      WICKLIFFE       OH    44092‐1722
CARLOS L GONZALEZ                               3032 BOUCK AVENUE                                                                                                     NEW YORK        NY    10469‐5101
CARLOS L PAUTZ & MAURICE E PAUTZ JT TEN         3068 S PITKIN WAY                                                                                                     AURORA          CO    80013‐2249
CARLOS LOPEZ                                    2427 W AVENUE 136TH                                                                                                   SAN LEANDRO     CA    94577‐4150
CARLOS LUNA                                     2442 RIO GRANDE DR                                                                                                    GRAND PRAIRIE   TX    75052
CARLOS M COLON                                  248 GLADYS DR                                                                                                         BRUNSWICK       OH    44212‐1433
CARLOS M DASILVA                                985 OLD LOGANVILLE RD                                                                                                 LOGANVILLE      GA    30052‐2502
CARLOS M PENABAD                                84 AVE B                                                                                                              LODI            NJ    07644‐1814
CARLOS M RIVERA                                 192 BEACH ST                                                                                                          PONTIAC         MI    48342‐1400
CARLOS M VEGA                                   820 BUCKINGHAM ST SW                                                                                                  WYOMING         MI    49509‐2827
CARLOS M VELEZ                                  PO BOX 2451                                                                                                           ARLINGTON       TX    76004‐2451
CARLOS M VIDAL                                  32 HARVARD ST                                                                                                         MONTCLAIR       NJ    07042
CARLOS MACKLIN                                  8200 KENSINGTON BLVD APT 721                                                                                          DAVISON         MI    48423‐3151
CARLOS MARRERO                                  6055 W 19TH AVE                     APT 419                                                                           HIALEAH         FL    33012‐6067
CARLOS MARTINS                                  40 WATSON AVENUE                                                                                                      OSSINING        NY    10562‐5114
CARLOS MEDRANO                                  LAFAYETTE 13‐403                    ANZURES C P 11590                     MEXICO CITY MEXICO   MEXICO
CARLOS MIRANDA                                  210 BRAKEFIELD DRIVE                                                                                                  JAMESVILLE      WI    53546‐2241
CARLOS N EDGERTON                               7753 MCGROARTY ST                                                                                                     TUJUNGA         CA    91042‐2611
CARLOS NIEVES                                   3165 KRAMER LN                                                                                                        MALABAR         FL    32950‐3811
CARLOS O BONDS                                  3144 BARKSIDE CT NE                                                                                                   ATLANTA         GA    30341‐4202
CARLOS O BONDS & DORIS P BONDS JT TEN           3144 BARKSIDE CT NE                                                                                                   ATLANTA         GA    30341‐4202
CARLOS O BONDS & DORIS P BONDS TEN COM          3144 BARKSIDE CT NE                                                                                                   ATLANTA         GA    30341‐4202
CARLOS OLIVEIRA                                 71 APPLE D'OR RD                                                                                                      FRAMINGHAM      MA    01701‐3154
CARLOS ORTIZ                                    9466 WOODALE AVE                                                                                                      ARLETA          CA    91331‐5545
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 570 of 850
Name                                           Address1                             Address2             Address3          Address4          City            State Zip

CARLOS P GALLEGOS                              PO BOX 2278                                                                                   EDGEWOOD        NM    87015‐2278
CARLOS P MARTINEZ & ALICIA I MARTINEZ JT TEN   200 WEBER DR BOX 411                                                                          EUREKA          MO    63025‐2011
CARLOS PEREZ                                   207 N AUSTIN ST                                                                               MISSION         TX    78574‐3822
CARLOS PULIDO                                  4401 VICO WAY                                                                                 SACRAMENTO      CA    95864
CARLOS Q EMERSON                               3372 COUNTY RD 426                                                                            POPLAR BLUFFS   MO    63901‐1756
CARLOS R CODNER                                3231 SHAWNEE TRAIL                                                                            RAVENNA         OH    44266‐9041
CARLOS R GOBER                                 6015 OLD BURNT HICKORY R                                                                      POWDER SPRING   GA    30073
CARLOS R GOMEZ                                 1802 S MAPLE AVE                                                                              BERWYN          IL    60402‐1548
CARLOS R HAYES                                 PO BOX 1092                                                                                   WAXAHACHIE      TX    75168‐1092
CARLOS R RASH                                  3590 KIVETT LN                                                                                MARTINSVILLE    IN    46151‐8937
CARLOS R THOMPSON                              120 N EDITH ST 303                                                                            PONTIAC         MI    48342
CARLOS RAMIREZ JR                              3455 WOODLEIGH LN                                                                             CAMERON PARK    CA    95682‐9033
CARLOS RODRIGUEZ                               394 FERNBARRY ST                                                                              WATERFORD       MI    48328‐2506
CARLOS RODRIGUEZ                               1211 SAN DARIO #243                                                                           LAREDO          TX    78040
CARLOS ROSA                                    PO BOX 1044                          LUQUILLO PR                            PUERTO RICO
CARLOS S BUFORD                                APT 15                               22 TOWNSHIP LINE                                         ELKINS PARK     PA    19027‐2246
CARLOS S MARTINEZ                              431 CLAY ST                                                                                   FILLMORE        CA    93015‐1517
CARLOS S RIOS                                  1607 ANNIE LN                                                                                 COLUMBIA        TN    38401‐5423
CARLOS SAAVEDRA                                808 PALM STREET                                                                               SAN JOSE        CA    95110‐3030
CARLOS SANTIAGO                                14367 SANDY BEACH RD                                                                          MANITOU BEACH   MI    49253‐9778
CARLOS T TEJEDA                                13646 PAXTON ST                                                                               PACOIMA         CA    91331‐2858
CARLOS TAPIA                                   15680 SPRIG ST                                                                                CHINO HILLS     CA    91709‐2854
CARLOS VERDEJO                                 51 JAMES ST                                                                                   OSSINING        NY    10562‐5514
CARLOS WISNER                                  4413 PITT ST                                                                                  ANDERSON        IN    46013‐2445
CARLOSB NASSY                                  40 MIDWOOD ST                                                                                 BROOKLYN        NY    11225‐5004
CARLOTTA CALTON                                3349 S FISHMARKET RD                                                                          MCLOUD          OK    74851‐8093
CARLOTTA EDMONDS                               4038 WOODROW ST                                                                               BURTON          MI    48509
CARLOTTA K SWEET                               1097 N STATE ST                      SPC 94                                                   HEMET           CA    92543‐1526
CARLOTTA R BUBEN CUST JULIET R BUBEN U/THE NEW 489 NE SPANISH CT                                                                             BOCA RATON      FL    33432‐4129
YORK U‐G‐M‐A
CARLOTTA R GARCIA                              11157 MAIDSTONE AVE                                                                           NORWALK         CA    90650‐1633
CARLOTTA S CROSBY                              139 WALLACE MANOR ROAD                                                                        EDGEWATER       MD    21037‐1205
CARLOTTA WEEKS                                 21535 PEMBROKE                                                                                DETROIT         MI    48219‐1332
CARLOTTA YOUNG                                 1919 W LAFAYETTE AVE                                                                          BALTIMORE       MD    21217
CARLOYN L MCGETTIGAN                           1160 HILLVIEW DRIVE                                                                           WASHINGTON      MO    63090‐1744
CARLSON F SIELERT                              10065 SHADYBROOK LANE                                                                         GRAND BLANC     MI    48439‐8358
CARLSON G K CHUN                               1025 ALA LILIKOI ST #E206                                                                     HONOLULU        HI    96818‐2321
CARLTON A HUGHES                               1006 WALKER ST                                                                                JANESVILLE      WI    53545‐2563
CARLTON B WILLIAMSON                           146 BELKNAP AVE                                                                               YONKERS         NY    10710‐5433
CARLTON BLAND                                  12807 WOODSIDE AVE                                                                            CLEVELAND       OH    44108‐2532
CARLTON C GIBSON                               13791 KATHLEEN DR                                                                             BROOK PARK      OH    44142‐4031
CARLTON C KAMMERER & MRS PATRICIA M KAMMERER 6941 BROOKS RD                                                                                  HIGHLAND        MD    20777‐9540
JT TEN
CARLTON CRENSHAW JR                            203 TAYLOR ST                                                                                 WARNER ROBINS   GA    31093‐2932
CARLTON E MILLER                               230 COLGATE AVE                                                                               DAYTON          OH    45427‐2847
CARLTON E PREISCH                              PO BOX 131                                                                                    BARKER          NY    14012‐0131
CARLTON EDEN JR                                29060 WELLINGTON RD W                                                                         SOUTHFIELD      MI    48034‐4502
CARLTON G HAMILTON                             4611 35TH AVE SW                     APT 213                                                  SEATTLE         WA    98126‐2762
CARLTON G JOHNSON                              1309 LAKE WHEELER RD                                                                          RALEIGH         NC    27603‐2231
CARLTON G LEE & BETTY A LEE JT TEN             402 MADISON AVE                                                                               NEW ALBANY      MS    38652
CARLTON H COOPER                               38 SUN VALLEY CRT                                                                             NO TONAWANDO    NY    14120‐1928
CARLTON H WELLS                                3 ALPINE ST                                                                                   RENSSELAER      NY    12144‐4302
CARLTON H WOOD & MRS LUCILLE M WOOD JT TEN     16735 SE KNOLL CT                                                                             PORTLAND        OR    97267‐6372

CARLTON J BALLIETT III                         PO BOX 654                                                                                    ROCKPORT        TX    78381‐0654
CARLTON J CHADWICK                             7293 EDGEWORTH RD                                                                             MECHANICSVLLE   VA    23111‐1226
CARLTON J COOK                                 3338 GLENBROOK DR                                                                             BAY CITY        MI    48706‐2425
CARLTON J ERTEL & JOANN ERTEL JT TEN           1495 COMO PARK BLVD                                                                           DEPEW           NY    14043‐4463
CARLTON J KUCZKOWSKI                           372 CRESCENT AVE                                                                              BUFFALO         NY    14214‐1909
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 571 of 850
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

CARLTON J TOBIAS & JOAN TOBIAS JT TEN            303 WOODS RD                                                                                     ORLEANS            MI    48865‐9614
CARLTON J WITKOWSKI                              47358 JUNIPER                                                                                    MACOMB             MI    48044‐2433
CARLTON J WITKOWSKI & JOYCE A WITKOWSKI JT TEN   47358 JUNIPER                                                                                    MACOMB             MI    48044‐2433

CARLTON J WITKOWSKI & JOYCE A WITKOWSKI TEN      47358 JUNIPER RD                                                                                 MACOMB             MI    48044‐2433
COM
CARLTON JONES JR                                 805 LIBERTY PIKE                                                                                 FRANKLIN           TN    37064‐2375
CARLTON K DETTMAN & GLORIA M DETTMAN JT TEN      PO BOX 38                                                                                        MONTROSE           MI    48457‐0038

CARLTON KELLEY                                   30417 64TH AVE                                                                                   LAWTON             MI    49065‐9407
CARLTON KING ASKEW                               9 OAKMONT DR SW                                                                                  ROME               GA    30161‐9595
CARLTON L BURFORD                                121 WALTERS                                                                                      FRANKLIN           TN    37067
CARLTON L RAGLAND                                9464 MACOMBER LANE                                                                               COLUMBIA           MD    21045‐3912
CARLTON L SMITH                                  54 GERARD RD                                                                                     TRENTON            NJ    08620‐1552
CARLTON M SYDNOR                                 302 CANNERY LANE                                                                                 FOREST HILL        MD    21050
CARLTON MARTIN                                   23174 MCBURNEY AVE                                                                               PORT CHARLOTTE     FL    33980‐5871
CARLTON NORRIS MC KENNEY JR                      2436 SPRING LAKE DRIVE                                                                           MARIETTA           GA    30062‐2536
CARLTON P DETTLOFF                               35225 BEACONHILL ST                                                                              HARRISON           MI    48045‐3109
                                                                                                                                                  TOWNSHIP
CARLTON P OSTDIEK                                5120 DORSETFIELD CT                                                                              CLARKSTON          MI    48348‐5038
CARLTON PADGETT                                  2273 STACEY ROAD                                                                                 CANTONMENT         FL    32533‐8074
CARLTON R DUSINA                                 PO BOX 623                                                                                       BARLOWVILLE        KY    40906‐0623
CARLTON R JOERIN & EFFIE J JOERIN JT TEN         3680 HICKORY RIDGE RD                                                                            HIGHLAND           MI    48357‐2509
CARLTON R TAFT                                   2381 MOUNTAIN RUN RD                                                                             BERKELEY SPRINGS   WV    25411‐6047

CARLTON ROBERT GREGORY & JOYCE F GREGORY JT TEN 11483 BARNUM LAKE RD                                                                              FENTON             MI    48430‐9720

CARLTON S ASHBY CUST CAROLYN S ASHBY UGMA NC     7711 FIESTA WAY                                                                                  RALEIGH            NC    27615‐3319

CARLTON S FROST                                  4611 DORIS DR                                                                                    NEW SMYRNA         FL    32169‐4301
                                                                                                                                                  BEACH
CARLTON S INGRAM                                  1529 IVY LN                                                                                     MOULTRIE           GA    31768‐5802
CARLTON SPENCER                                   420 E OLIVE                                                                                     MCPHERSON          KS    67460‐3534
CARLTON STEPHEN ASHBY JR                          6912 PENNY RD                                                                                   RALEIGH            NC    27606
CARLTON T RINK                                    5250 S 29TH STREET                                                                              KALAMAZOO          MI    49001‐9737
CARLTON W MC CRINDLE & MARY LYNN MC CRINDLE JT 729 WILCOX                                                                                         ROCHESTER          MI    48307‐1445
TEN
CARLTON W SAGE                                    5059 HIGHPOINT DR                                                                               SWARTZ CREEK       MI    48473‐8914
CARLTON W WASHINGTON                              321 KERBY RD                                                                                    GROSSE POINTE      MI    48236‐3145
CARLUS W RUTLEDGE                                 273 HOLLY DR                                                                                    WINDER             GA    30680‐1750
CARLWYN C HOWELL                                  487 EARLY RD                                                                                    YOUNGSTOWN         OH    44505‐3950
CARLY A KELLY CUST THOMAS J KELLY UTMA (NE)       5805 SOUTH 174TH AVE                                                                            OMAHA              NE    68135‐2878
CARLY J PAZZ                                      655 MAPLE ST                                                                                    MT MORRIS          MI    48458‐1926
CARLY MAKIE                                       1038 PHEASANT COURT                                                                             SAN MARCOS         CA    92069‐4934
CARLYLE A GELINAS JR                              301 BROOKSHORE AVE                                                                              BOWLING GREEN      KY    42101‐3990
CARLYLE BUTLER                                    403 MCCOY RD                                                                                    REIDSVILLE         NC    27320‐6735
CARLYLE D HAMMOND                                 3634 MARINER ST                                                                                 WATERFORD          MI    48329‐2268
CARLYLE D STEEDE                                  13295 HARBOR VIEW DRIVE                BOX 74                                                   LINDEN             MI    48451‐0074
CARLYLE E BARNES                                  6545 S US 27                                                                                    ST JOHNS           MI    48879‐9125
CARLYLE G GAULIN                                  41408 HARVARD                                                                                   STERLING HGTS      MI    48313‐3634
CARLYLE H STONE & CAROL E STONE CO TR UA 10/25/89 526 CHERRYWOOD DR                                                                               FLUSHING           MI    48433‐3300
LEE H STONE
CARLYLE K HOFFMAN                                 710 N 1ST ST                                                                                    FAIRFIELD          IL    62837‐2448
CARLYLE MASEY                                     3847 18TH ST                                                                                    WYANDOTTE          MI    48192‐6327
CARLYLE R WIMBISH JR                              PO BOX 4                                                                                        SOUTH BOSTON       VA    24592‐0004
CARLYLE T BURNS                                   510 BELLEVUE                                                                                    MILFORD            MI    48381‐2203
CARLYLE T BURNS & BETTY J BURNS JT TEN            510 BELLEVUE                                                                                    MILFORD            MI    48381‐2203
CARLYLE W MC CORMICK                              48471 HUDSON BAY CT                                                                             SHELBY TWP         MI    48315‐4273
CARLYN D REEVE                                    3062 LENOX NEW LYME RD                                                                          JEFFERSON          OH    44047‐8593
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 572 of 850
Name                                            Address1                              Address2               Address3        Address4          City               State Zip

CARLYN F OBENDORFER                             19885 DETROIT RD PMB 293                                                                       ROCKY RIVER        OH    44116‐1815
CARLYN MAKINSON                                 1589 N ENDICOTT PT                                                                             CRYSTAL RIVER      FL    34429‐2676
CARLYN WILLIAM RICE                             1070 FELTIS RD                                                                                 TEMPERANCE         MI    48182‐9209
CARMA J MOODY                                   3284 COUNTY ROAD 17                                                                            BRYAN              OH    43506‐9786
CARMA NETA MORRIS & LESLIE GENE MORRIS JT TEN   910 S WILSON AVE                                                                               EL RENO            OK    73036‐5261

CARMA P EDWARDS                                315 SOUTH MAPLE ST                                                                              HOHENWALD          TN    38462‐1817
CARMAN BUSCEMI                                 1327 LARBOARD CT                                                                                UNIONDALE          NY    11553‐1317
CARMAN E MOTT                                  109 FRANCIS ST                         INGERSOLL ON                           N5C 2H2 CANADA
CARMAN R CARTER                                2609 STONY SPRINGS TRL                                                                          BUFORD             GA    30519‐6474
CARMEL BORG                                    4875 MAPLE                                                                                      DEARBORN           MI    48126‐3211
CARMEL C KIBLER                                6042 HEMINGWAY RD                                                                               HUBER HEIGHTS      OH    45424‐3525
CARMEL COUCH                                   836 CLOVER DR                                                                                   NORTH WALES        PA    19454‐2748
CARMEL F CASILIO                               47 ROSECROFT DR                                                                                 ROCHESTER          NY    14616‐4803
CARMEL M NAPLES                                4408 ELVENA AVE                                                                                 PENNSAUKEN         NJ    08109‐1607
CARMEL M NAPLES & MARY M NAPLES JT TEN         4408 ELVENA AVE                                                                                 PENNSAUKEN         NJ    08109‐1607
CARMEL N BROWN                                 2385 DOLLY RIDGE RD. 311W                                                                       BIRMINGHAM         AL    35243
CARMELA A GARFOLE                              PO BOX 55444                                                                                    VIRGINIA BCH       VA    23471‐9444
CARMELA A GUILIANO                             2401 64TH ST N                                                                                  ST PETERSBURG      FL    33710‐4011
CARMELA B SCHELL                               2017 BROOKLINE AVE                                                                              DAYTON             OH    45420‐2442
CARMELA BARONE                                 3250 S TOWN CENTER DR                  UNIT 2050                                                LAS VEGAS          NV    89135‐2263
CARMELA BERNARDI TR PETER BERNARDI TRUST NO 1  36733 MARLER ST                                                                                 LIVONIA            MI    48154‐1926
UA 02/08/96
CARMELA C IOPPOLO                              APT 1                                  5844 AUBURN BLVD                                         UTICA              MI    48317‐4202
CARMELA C IOPPOLO & ANN P CROWE JT TEN         5844 AUBURN RD                                                                                  UTICA              MI    48317‐4202
CARMELA C LAWRENCE                             RD 1                                   72 NOBLE ROAD                                            SHILOH             OH    44878
CARMELA C MARTIN                               1194 SHANGRILA DRIVE                                                                            CINCINNATI         OH    45230‐4107
CARMELA C NICKELS                              13 DOREEN RD                                                                                    TRENTON            NJ    08690‐2007
CARMELA C ZOLTOSKI TOD MAMIE S NOVAKOVICH SUBJ 3898 SALISBURY RD                                                                               SOUTH EUCLID       OH    44121‐1951
TO STA TOD RULES
CARMELA CHAU                                   60 ‐ 11 BROADWAY APT 6B                                                                         WOODSIDE           NY    11377
CARMELA CIANFRANI                              C/O TIMOTHY J GORBEY ESQUIRE           8 WEST SECOND STREET   PO BOX 199                        MEDIA              PA    19063‐0199
CARMELA LA MANTIA & ANGELO LA MANTIA JT TEN    165 FOXWOOD ROAD                                                                                WEST NYACK         NY    10994‐2516

CARMELA LIVOLSI & PATRICIA LIVOLSI & MICHELE    1144 LANGDON ST                                                                                FRANKLIN SQUARE    NY    11010‐1424
JAEGER JT TEN
CARMELA LOMBARDO & FRANK C LOMBARDO & JOHN      767 LAKE ST                                                                                    ANGOLA             NY    14006‐9630
LOMBARDO JT TEN
CARMELA M GABRIEL                               16 VALLEYWOOD DRIVE                                                                            HUNTINGTON         NY    11746‐1327
CARMELA M GULLETT                               518 MAIN STREET                                                                                CROYDON            PA    19021‐6037
CARMELA M KENEY                                 PO BOX 315                                                                                     NEWTON FALLS       OH    44444
CARMELA OLIVERI                                 170 JUDY ANN DR                                                                                ROCHESTER          NY    14616‐1942
CARMELA PULEO                                   6 CHANDA COURT                                                                                 CLIFTON            NJ    07012‐1936
CARMELA ROTS & GEORGE ROTS JT TEN               40310 LEXINGTON PARK DR                                                                        STERLING HEIGHTS   MI    48313‐3837

CARMELA SPANO                                   656 HAZELWOOD RD                                                                               ARDMORE          PA      19003‐1828
CARMELA T RAMOS                                 186 OAK WOOD DR                                                                                MANDEVILLE       LA      70448‐3572
CARMELA VIVIANN HAWKINS                         22552 PONTCHARTRAIN                                                                            SOUTHFIELD       MI      48034‐6203
CARMELETA V DEISINGER                           51672 COUNTY ROAD 109                                                                          ELKHART          IN      46514‐5915
CARMELITA A BADIA                               39426 LADRONE CT                                                                               STERLING HTS     MI      48313‐5576
CARMELITA A YERO                                25982 MATILDA AVE                                                                              FLAT ROCK        MI      48134‐1070
CARMELITA BUCHANAN                              683 WETHERBY LANE                                                                              DEVON            PA      19333‐1856
CARMELITA BULRISS                               1720 ALA MOANA BLVD                   APT PH1B                                                 HONOLULU         HI      96815‐1302
CARMELITA E PENIX                               39348 NOTTINGHAM DR                                                                            ROMULUS          MI      48174‐6316
CARMELITA M MURPHY                              247 LAKESIDE DR NE                                                                             GRAND RAPIDS     MI      49503‐3813
CARMELITA MORA                                  44001 RIVERGATE DR                                                                             CLINTON TOWNSHIP MI      48038‐1366

CARMELLA A PRICE                                177 HIGH POINT DRIVE                  CEDERVILLE                                               CEDARVILLE         WV    26611‐7419
CARMELLA A SCHNEIDER                            1829 STONEY HILL DR                                                                            HUDSON             OH    44236‐3843
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 573 of 850
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

CARMELLA A VANCE                                  22976 MAPLERIDGE                                                                               N OLM            OH    44070‐1473
CARMELLA A VELLELA                                90 BEECHCROFT STREET                                                                           BRIGHTON         MA    02135‐2519
CARMELLA C PANKOWSKI                              119 FLORENCE AVE                                                                               WILM             DE    19803‐2337
CARMELLA D SICKLER                                16 STATE ST                                                                                    PENNS GROVE      NJ    08069‐1620
CARMELLA DELUCIA                                  46 POTOMAC ST                                                                                  ROCHESTER        NY    14611‐1638
CARMELLA FALZONE                                  20420 FOX                                                                                      REDFORD          MI    48240‐1206
                                                                                                                                                 TOWNSHIP
CARMELLA FARINA                                   5 BARRETT RD                                                                                   ENFIELD          CT    06082‐5015
CARMELLA H BEATTIE                                636 MONTGOMERY WOODS DR                                                                        HOCKESSIN        DE    19707‐9654
CARMELLA HARRISON                                 ATTN CARMELLA HARRISON ANTHONY        PO BOX 110                                               DAYTON           OH    45405‐0110
CARMELLA L SCIRROTTA                              13053 STEVENS RD                                                                               PHILADELPHIA     PA    19116‐1334
CARMELLA M AGNELLO                                PO BOX 4454                                                                                    PANORAMA         CA    91412‐4454
CARMELLA M GIANNELLI & FRANK R GIANNELLI JT TEN   69 BUCKINGHAM DR N                                                                             MANCHESTER TW    NJ    08759

CARMELLA M INFANDE                                1187 DOLORES ST                                                                                SAN FRANCISCO    CA    94110‐3612
CARMELLA MATTHEWS                                 2549 SKIF DR                                                                                   ORLANDO          FL    32812‐7813
CARMELLA MINNELLA                                 179 MARIETTA AVE                                                                               HAWTHORNE        NY    10532‐2342
CARMELLA PERRINO                                  1108 E HIGHLAND AVE                   APT 201                                                  PHOENIX          AZ    85014‐6106
CARMELLA R GRESKO                                 5187 KARNE ISLE DR                                                                             WILLOUGHBY       OH    44094‐4349
CARMELLA T BOWDEN                                 401 BOXWOOD LN                        EVERGREEN ACRES                                          MIDDLETOWN       DE    19709
CARMELLA T WYNNE                                  13 IRONWOOD DR                                                                                 PENNELLVILLE     NY    13132‐3142
CARMELO A OLIVERI & ROBIN L OLIVERI JT TEN        202 LEGIONAIRE DR                                                                              ROCHESTER        NY    14617‐2464
CARMELO D SAMPIERI                                149 ROUND HILL RD                                                                              MIDDLETOWN       CT    06457‐6135
CARMELO J MINESSALE & MRS ROBERTA A MINESSALE     21105 HIGHLAND PASS                                                                            BROOKFIELD       WI    53045‐4547
JT TEN
CARMELO MARABELLA                                 55 PRESTON ROAD                                                                                COLONIA          NJ    07067‐2420
CARMELO MIRANDA                                   4151 WESTERN ST                                                                                DETROIT          MI    48210‐3509
CARMELO NICITA                                    25 PLUM RIDGE DR                                                                               NEW EGYPT        NJ    08533‐2759
CARMELO ROLDAN                                    76 KOHLMAN ST                                                                                  ROCHESTER        NY    14621‐3326
CARMELO SALVO                                     5862 WEST 130 ST                                                                               BROOKPARK        OH    44142‐2601
CARMELO TERRANOVA & MRS MARIE E TERRANOVA JT      306 HIGH VISTA DRIVE                                                                           DAVENPORT        FL    33837‐5585
TEN
CARMELO XUEREB USUFRUCTUARY U‐W LORETO            25 CONCEPTION STREET                  QALA GOZO                              MALTA
XUEREB
CARMEN A BROWN                                    3239 W 190TH ST APT D                                                                          TORRANCE         CA    90504
CARMEN A FRATTO MD                                407 WESTSIDE BLVD                                                                              BALTIMORE        MD    21228‐4062
CARMEN A MARTINEZ                                 201 E 79TH ST                         APT 16D                                                  NY               NY    10021‐0839
CARMEN A MISALE                                   220 PARK AVE                                                                                   WEST HARRISON    NY    10604‐2026
CARMEN A OSBORNE                                  606 LA FONDA DR                                                                                ROSWELL          NM    88201‐6656
CARMEN A SMITH                                    595 N EL CAMINO REAL #58                                                                       SALINAS          CA    93907
CARMEN A STRACHAN                                 7309 ARVERNE MEWS                     UNIT 34B             BOX #7                              ARVERNE          NY    11692‐0007
CARMEN APONTE                                     2060 ISLAND DRIVE                                                                              MIRAMAR          FL    33023‐2406
CARMEN B LIPSCHUTZ                                2440 NAPOLEON BLVD                                                                             LOUISVILLE       KY    40205‐2011
CARMEN B PERONI & BEATRICE FUSI JT TEN            1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & CHARLES ROSSIO JT TEN           1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & DANIEL PERONI JT TEN            1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & FRANK SINACOLA JT TEN           1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & JAMES ROSSIO JT TEN             1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & KEVIN HARDICK JT TEN            1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & RICHARD ROSSIO JT TEN           1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & RICHARD SINACOLA JT TEN         1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & RONALD SINACOLA JT TEN          1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & SCOTT HARDICK JT TEN            1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN B PERONI & TODD HARDICK JT TEN             1100 NEW YORK AVE                     APT E107                                                 MARYSVILLE       MI    48040‐1478
CARMEN C ESPOSITO                                 332 S INGLEWOOD AVE                                                                            YOUNGSTOWN       OH    44515‐3936
CARMEN C KINSEY                                   PO BOX 2357                                                                                    PINEHURST        NC    28370‐2357
CARMEN C LOPEZ                                    614 ALICE ST                                                                                   SAGINAW          MI    48602‐2708
CARMEN C RUSIGNOLA                                103 LINCOLN AVE                                                                                N ARLINGTON      NJ    07031
CARMEN CIRRINCIONE                                208 HAYWOOD KNOLLS DRIVE                                                                       HENDERSONVILLE   NC    28791‐8717
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 574 of 850
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

CARMEN CLAES                                     2111 LANCASTER                                                                                   GROSSE POINTE   MI    48236‐1652
                                                                                                                                                  WDS
CARMEN COMAS                                     3231 LORIMAR LANE                                                                                ST CLOUD        FL    34772‐6505
CARMEN D ALGUIRE                                 683 HOBBS HWY S                                                                                  TRAVERSE CITY   MI    49686‐8912
CARMEN D HILL                                    3021 LINGER LN                                                                                   SAGINAW         MI    48601‐5617
CARMEN D MARRANCO                                28 COLUMBIA AVE                                                                                  TRENTON         NJ    08618‐5815
CARMEN DESIREE HAMPTON                           3316 WINWOOD DR                                                                                  FLINT           MI    48504‐1251
CARMEN DIDOMENICO                                117 WEST 21ST STREET                                                                             BAYONNE         NJ    07002‐1625
CARMEN E SOTO                                    208 ROMEO DR                                                                                     NEW CASTLE      DE    19720‐7630
CARMEN ELIZABETH M SAMPOGNARO                    427 HECTOR AVE                                                                                   METAIRIE        LA    70005‐4411
CARMEN ESTUDILLO                                 AVENIDA ENSENADA #933                   COL CACHO            TIJUANA B C       MEXICO
CARMEN F ESPOSITO                                1501 PARKSIDE AVE                       APT 5J                                                   EWING           NJ    08638‐2608
CARMEN F ZEOLLA                                  5077 STAGECOACH RD                                                                               CAMILLUS        NY    13031‐9794
CARMEN FALCONERO                                 1935 ARROWHEAD CT                                                                                ELM GROVE       WI    53122‐1306
CARMEN FATICA                                    915 KING GEORGE                                                                                  SO EUCLID       OH    44121‐3407
CARMEN FATICA & MRS DAWN FATICA JT TEN           915 KING GEORGE BLVD                                                                             SOUTH EUCLID    OH    44121‐3407
CARMEN FRATTAROLLI CUST JAIME E FRATTAROLLI      14 BEAVER POND                                                                                   BEVERLY         MA    01915‐1203
UTMA MA
CARMEN G HUGHES TOD RICHARD RYALS SUBJECT TO     62050 E ZUMWALT RD                                                                               HARTSBURG       MO    65039
STA TOD RULES
CARMEN GALDINI & ANNA BELLE GALDINI JT TEN       687 COLES STREET                                                                                 MAYWOOD         NJ    07607‐2001
CARMEN GALNARES                                  354 MERICK STREET                                                                                ADRIAN          MI    49221‐3217
CARMEN H GUERRA                                  86 HOLLY ST                                                                                      CARTERET        NJ    07008‐2452
CARMEN H SNYDER TR CARMEN H SNYDER TRUST UA      181 PARNASSUS CIRCLE                                                                             OCEANSIDE       CA    92054‐4566
10/11/04
CARMEN HERNANDEZ                                 67822 MARILYN CIR                                                                                CATHEDRAL CTY   CA    92234‐5800
CARMEN I BUTTACCIO                               C/O RICHARD J SANTELLI                  52 PEARL ST                                              LYONS           NY    14489
CARMEN I POULSEN & MARK D ROBERTSON JT TEN       6401 FOX FARM RD                                                                                 GREAT FALLS     MT    59404‐6474

CARMEN ISOLA & MABEL W ISOLA JT TEN              BOX 124                                                                                          PETERSTOWN      WV    24963‐0124
CARMEN J BRUNO III                               4 HEMLOCK DR                                                                                     BUDD LAKE       NJ    07828‐1032
CARMEN J DANESE                                  41 HAWTHORNE RD                                                                                  ASHLAND         MA    01721‐1760
CARMEN J FINOCCHI JR                             325 HARTFORD AVE                                                                                 KENMORE         NY    14223‐2314
CARMEN J LACKEY CUST AIDAN G BEST UTMA MI        2795 RAVEN GLASS RD                                                                              WATERFORD       MI    48329
CARMEN J MANDATO                                 2645 EAST 112 STREET                                                                             CLEVELAND       OH    44104‐2665
CARMEN J MARQUIS                                 5925 GILMAN                                                                                      GARDEN CITY     MI    48135‐2512
CARMEN J MONTONE                                 29689 ASPEN DR                                                                                   FLAT ROCK       MI    48134‐1330
CARMEN J ROCCHIO JR & PENNY C ROCCHIO JT TEN     44 ROBIN DR                                                                                      MIDDLE ISLAND   NY    11953‐2666

CARMEN J SEVERINO                                42 LONGWOOD DR                                                                                   GROVEVILLE      NJ    08620‐2415
CARMEN K TRUJILLO                                32271 ITHACA PL                                                                                  HAYWARD         CA    94544‐8147
CARMEN L BRINKER                                 4844 DOYLESTOWN RD                                                                               CRESTON         OH    44217‐9615
CARMEN L DETTORE                                 8500 S JENNINGS RD                                                                               SWARTZ CREEK    MI    48473‐9140
CARMEN L HENRY                                   17536 GREENLAWN                                                                                  DETROIT         MI    48221‐2539
CARMEN L RUIZ                                    PO BOX 1239                             HATILLO                                PUERTO RICO
CARMEN L RUNYON                                  ATTN CARMEN BEARD                       24 SILVER ELM                                            WOODLANDS       TX    77381‐4038
CARMEN LOZADA                                    3990 RANDOLPH DR                                                                                 LORAIN          OH    44053‐4426
CARMEN M ADKINS                                  15600 CURTIS                                                                                     DETROIT         MI    48235‐3132
CARMEN M BENAVIDES                               15619 KIRKSHIRE AV                                                                               BEVERLY HILLS   MI    48025‐3353
CARMEN M BENAVIDES & MARIA JOVITA BENAVIDES JT   15619 KIRKSHIRE                                                                                  FRANKLIN        MI    48025
TEN
CARMEN M BRESLIN & CLAUDETTE M ZARRA &           501 SCHUYLKILL AVE                                                                               TAMAQUA         PA    18252‐1523
JEANNINE M RYAN JT TEN
CARMEN M BROWN                                   1221 CADMUS DR                                                                                   TROY            MI    48085‐1216
CARMEN M BUEHLER                                 932 S KISNER DR                                                                                  INDEPENDENCE    MO    64056‐3053
CARMEN M CORBIN                                  30 N WOODLANE DR                                                                                 FREEPORT        IL    61032
CARMEN M DOWLING                                 14448 VIA ROCA                                                                                   VICTORVILLE     CA    92392‐7616
CARMEN M MARTINEZ                                345 PLANET STREET                                                                                ROCHESTER       NY    14606‐3044
CARMEN M MARTINEZ                                10515 BLUCHER AVENUE                                                                             GRANADA HILLS   CA    91344‐7210
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 575 of 850
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

CARMEN M MINK TR CARMEN M MINK TRUST UA          7252 RIVERSIDE DR                                                                             ALGANAC         MI    48001‐4248
3/9/01
CARMEN M URRABAZO                                6399 BISHOP RD                                                                                LANSING         MI    48911‐6212
CARMEN M VALDES                                  BOX 202                                                                                       WESTON          VT    05161‐0202
CARMEN MARIA SALCEDO                             14478 HERRON ST                                                                               SYLMAR          CA    91342‐5145
CARMEN N CONEY                                   2027 LANGDON ROAD                                                                             RANSOMVILLE     NY    14131‐9704
CARMEN N MILLER                                  1105 W ELMIRA ST                                                                              BROKEN ARROW    OK    74012‐0870
CARMEN OLVERA                                    4188 BARNEY DR                                                                                FAIRGROVE       MI    48733‐9748
CARMEN P CASTRO                                  3952 JAMES AVE                                                                                FREMONT         CA    94538‐3414
CARMEN P JACKSON                                 10034 KINGSTON                                                                                HUNTINGWOODS    MI    48070‐1112
CARMEN PETRELLA                                  3547 OLD SOUTH RD                                                                             MARFREESBORO    TN    37128‐4728
CARMEN PRICE                                     7991 ASHBROOK DR                                                                              HASLETT         MI    48840‐8853
CARMEN PROBANSKI                                 52 NANCY CT                                                                                   STATEN ISLAND   NY    10306‐6126
CARMEN R MARTINO & PATRICIA A MARTINO JT TEN     4044 SANDVIEW DRIVE                                                                           MEDINA          OH    44256‐7229

CARMEN R SABLAN & A P SABLAN JR JT TEN           12887 PINE MEADOW COURT                                                                       SAN DIEGO       CA    92130‐2438
CARMEN RAY MYATT & SUE A MYATT JT TEN            447 RIVER ROAD                                                                                ELIOT           ME    03903‐1363
CARMEN RODRIQUEZ                                 2733 MILES AVE                                                                                BRONX           NY    10465‐3007
CARMEN S CORDARO                                 96 OLD ENGLISH DRIVE                                                                          ROCHESTER       NY    14616‐1950
CARMEN S MANDUJANO                               3260 SW 31ST STREET                                                                           GRESHAM         OR    97080
CARMEN SAUVE CUST MARC RAUL SAUVE UGMA NY        512 N WINDSOR AVE                                                                             BRIGHTWATERS    NY    11718

CARMEN SIEIRA                                    17351 ROUGEWAY DRIVE                                                                          LIVONIA         MI    48152‐3830
CARMEN TENTILUCCI                                312 ORCHARD CREEK LANE                                                                        ROCHESTER       NY    14612‐3516
CARMEN V CURTIS                                  812 UPSON DR                                                                                  EL PASO         TX    79902‐3733
CARMEN V GREEN                                   271 FOSTER DR                                                                                 OSWEGO          IL    60543
CARMEN V MARCHIOLE                               48 LEVAN AVE                         #1                                                       LOCKPORT        NY    14094‐3114
CARMEN V TIJERINA                                1621 GODFREY AVE SW                                                                           GRAND RAPIDS    MI    49509‐1303
CARMEN VELLANOWETH TR VELLANOWETH FAMILY         11229 E LIGGETT ST                                                                            NORWALK         CA    90650‐4767
TRUST UA 07/20/98
CARMEN VENIERO JR                                3611 CREAMERY ROAD                                                                            BENSALEM        PA    19020‐4705
CARMEN Y SPRADLIN                                816 FALLVIEW AVE                                                                              ENGLEWOOD       OH    45322‐1814
CARMET N YOUNG                                   550 BISHOP ST #D                                                                              AKRON           OH    44307‐2107
CARMETA G BROWN                                  10249 COACHELLA CANAL RD 313                                                                  NILAND          CA    92257‐9700
CARMI JAY NEIGER                                 1033 HEATHERFIELD LN                                                                          GLENVIEW        IL    60025‐3330
CARMINE A MANNO & JOAN R MANNO JT TEN            290 JESSAMINE AVE                                                                             YONKERS         NY    10701‐5620
CARMINE A VACCARO                                19 CAMBRIDGE WAY                                                                              OCEAN           NJ    07712‐3231
CARMINE ANTHONY BATTISTA                         135 ELMWOOD DR                                                                                ELMWOOD PARK    NJ    07407‐1713
CARMINE CRINCOLI                                 15 CARDINAL DRIVE                                                                             TOMS RIVER      NJ    08755‐8030
CARMINE D MC HALE                                58 PRINCETON CT                                                                               CHEEKTOWAGA     NY    14225‐1919
CARMINE DIMATTEO & MRS ELIZABETH DIMATTEO JT     17 HANOVER ST                                                                                 PEMBERTON       NJ    08068‐1105
TEN
CARMINE FAVETTA                                  128 RANDOLPH LANE                                                                             WEST ORANGE     NJ    07052‐4853
CARMINE FILICE                                   265 JUDITH DR                                                                                 BRUNSWICK       OH    44212‐1626
CARMINE IANNACE                                  15 STANDISH RD                                                                                WAYLAND         MA    01778‐2135
CARMINE J BEVILACQUA & AUDREY J BEVILACQUA JT    23 CHELSEA COURT                                                                              GLEN MILLS      PA    19342‐1786
TEN
CARMINE J MOTTOLA & MRS NANCY MOTTOLA JT TEN     9260 SW 210 CIR                                                                               DUNNELLON       FL    34431‐5737

CARMINE J VITO CUST BRYAN VITO RAMIREZ UTMA CA   24112 LAPWING LANE                                                                            LAGUNA NIGUEL   CA    92677‐1381

CARMINE MINDAUGAS IANNACE                        15 STANDISH RD                                                                                WAYLAND         MA    01778‐2135
CARMINE P GALLO                                  140 DANIEL ST                                                                                 SOUTH PLAINFI   NJ    07080‐4615
CARMINE PICCIANO                                 1 MAGNOLIA DR N                                                                               ORMOND BEACH    FL    32174‐9249
CARMINE RANDAZZO                                 182 MEADOW RD                                                                                 RUTTERFORD      NJ    07070‐2527
CARMINE ROBERTO                                  355 PHELHAM ROAD #409                                                                         NEW ROCHELLE    NY    10805‐2248
CARMINE T SANTORO                                6801 RHINEVIEW COURT                                                                          DAYTON          OH    45459‐1228
CARMINO CARL DE PASQUALE & MRS CARMELA DE        700 SMITH ST APT 210A                                                                         PROVIDENCE      RI    02908‐3548
PASQUALE JT TEN
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                         Part 1 of 8 Pg 576 of 850
Name                                              Address1                                Address2              Address3             Address4          City              State Zip

CARMON W FLATT                                    7642 MINOCK                                                                                          DETROIT           MI    48228‐3326
CARNEGIE G GRIFFITH                               4059 FRANKFORT HIGHWAY                  PO BOX 642                                                   FRANKFORT         MI    49635‐0642
CARNEL D BROWN                                    6139 STEM LANE                                                                                       MT MORRIS         MI    48458‐2653
CARNELIOUS NICHOLS                                1611 CROMWELL AVE                                                                                    FLINT             MI    48503‐2058
CARNELL J KIKKERT                                 820 MAYHEW WOOD DRIVE S E                                                                            GRAND RAPIDS      MI    49507‐3608
CARNELL SMITH                                     1254 RIVER FOREST                                                                                    FLINT             MI    48532
CARNELLA RUSS                                     310 JESSES RUN RD                                                                                    FAIRVIEW          WV    26570‐9306
CARNETHA J LOCKETT                                C/O VENABLE‐BRYANT                      3735 RENWICK LN                                              COLUMBUS          OH    43230‐8385
CARNEY REYNOLDS                                   ATTN GERALD R WALTON                    SUITE 500             2800 EUCLID AVENUE                     CLEVELAND         OH    44115‐2418
CARNOT C LECKINGTON                               22413 SE 36TH LN                                                                                     ISSAQUAH          WA    98029‐6252
CAROL A ABBEY                                     7240 WILSON ROAD                                                                                     MONTROSE          MI    48457‐9196
CAROL A ADAMS                                     956 ORCHID ST                                                                                        LADY LAKE         FL    32159‐2148
CAROL A ALBERS                                    APT 111                                 215 VALENCIA BLVD                                            BELLEAIR BLUFFS   FL    33770‐2751
CAROL A ALDEN TR JOHN L & CAROL ANN ALDEN TR UA   4101 S SHERIDAN RD                      LOT 66                                                       LENNON            MI    48449‐9413
09/16/99
CAROL A ALPIN                                     11739 SW PINE AVE                                                                                    ARCADIA           FL    34269‐7099
CAROL A AMATO                                     13753 FOREST HILL ROAD                                                                               GRAND LEDGE       MI    48837
CAROL A AMOS                                      5829 SPOKANE                                                                                         KANSAS CITY       MO    64119‐3030
CAROL A ANDERSON                                  859 KEYSTONE WAY                                                                                     LIVERMORE         CA    94550‐5830
CAROL A ANDRESKI                                  12 PENN DR                                                                                           DIX HILLS         NY    11746‐8529
CAROL A ANDRESKI & WARREN P ANDRESKI JT TEN       12 PENN DR                                                                                           DIX HILLS         NY    11746‐8529

CAROL A ANDRESKI CUST KEITH WARREN ANDRESKI       12 PENN DR                                                                                           DIX HILLS         NY    11746‐8529
UGMA NY
CAROL A ANGELL & TIFFANY E ANGELL JT TEN          PO BOX 103                                                                                           CONWAY            MA    01341‐0103
CAROL A APPLEGATE                                 11 MIDDLE RD                                                                                         LEVITTOWN         PA    19056‐3612
CAROL A ARCOUETTE                                 7736 RIDGE RD W                                                                                      BROCKPORT         NY    14420‐1725
CAROL A AREND TR UA 09/05/90 AREND REVOCABLE      300 ENTERPRISE DRIVE APT 427                                                                         ROHNERT PARK      CA    94928
TRUST
CAROL A ATTILIO                                   ATTN CAROL A LAWRENCE                   22106 CHERRYWOOD RD                                          WOODHAVEN       MI      48183‐1146
CAROL A ATWOOD                                    925 W BAY CITY FORESTVILLE RD                                                                        UNIONVILLE      MI      48767‐9682
CAROL A ATWOOD & COLEMAN ATWOOD JT TEN            3415 DELTA RIVER DRIVE                                                                               LANSING         MI      48906‐3459
CAROL A BALL                                      2127 SOUTH CHATHAM                                                                                   JANESVILLE      WI      53546‐6114
CAROL A BARON                                     62 RICHARD PL                                                                                        MASSAPEQUA PARK NY      11762‐3527

CAROL A BARONE                                    154 RAMUNNO CIR                                                                                      HOCKESSIN         DE    19707‐2065
CAROL A BARRETT                                   3016 DOVECOTE DR                                                                                     QUAKERTOWN        PA    18951
CAROL A BARRETT                                   1150 NOBLE RD                                                                                        LEONARD           MI    48367‐1645
CAROL A BARTZ                                     1274 BATEMAN PONDS WAY                                                                               W JORDAN          UT    84084‐2571
CAROL A BASHISTA                                  307 DAVIS DRIVE                                                                                      COLUMBIA          TN    38401‐9351
CAROL A BATCHELDER                                3159 IVY HILL CIR                       UNIT C                                                       CORTLAND          OH    44410‐9370
CAROL A BATISTICH & ANDREW F BATISTICH JT TEN     9 MOLLY LN                                                                                           BRICK             NJ    08723‐7956

CAROL A BAUGHMAN                                  18 JUNIPER ST                                                                                        BROOKLINE         MA    02445‐7150
CAROL A BECK                                      4142 DRY LAKE RD                                                                                     ALGER             MI    48610‐9377
CAROL A BERLIN                                    9313 MAYPARK DR                                                                                      OKLAHOMA CITY     OK    73159‐6545
CAROL A BEST                                      9312 NW FINZER CT                                                                                    PORTLAND          OR    97229‐8035
CAROL A BIEHL                                     5180 KAREN ISLE DR                                                                                   WILLOUGHBY        OH    44094‐4350
CAROL A BILACIC                                   350 BRYANT AVENUE                                                                                    WORTHINGTON       OH    43085‐3081
CAROL A BIRX                                      7057 STATE ROUTE 5 AND 20                                                                            BLOOMFIELD        NY    14469‐9322
CAROL A BLEDSOE                                   4956 VIA DIEGO                                                                                       YORBA LINDA       CA    92887‐2445
CAROL A BOGDANSKI                                 14718 PECK                                                                                           WARREN            MI    48093‐1529
CAROL A BONDURANT & BRANDI L BONDURANT JT TEN     12200 W CAMEO MARY LANE                                                                              TUCSON            AZ    85743‐7729

CAROL A BOWLING & GARY E BOWLING JT TEN           117 DOGWOOD LANE                                                                                     LITTLE MTN        SC    29075‐9637
CAROL A BRADSHER                                  7050 BLUE LK RD NE                                                                                   KALKASKA          MI    49646‐8548
CAROL A BRANTLEY                                  4200 EDMORE                                                                                          WATERFORD         MI    48329‐3816
CAROL A BROCKETT & TERRY E BROCKETT JT TEN        PO BOX 195                                                                                           CURTICE           OH    43412‐0195
CAROL A BROOKS                                    C/O NICKOLE NESBY                       513 COCHRAN ST                                               DUQUESNE          PA    15110‐1300
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 577 of 850
Name                                            Address1                               Address2               Address3        Address4          City              State Zip

CAROL A BROWN                                   750 PARKER RD                                                                                   AURORA            OH    44202‐9738
CAROL A BROWN                                   15430 TRACEY ST                                                                                 DETROIT           MI    48227‐3262
CAROL A BUERKERT                                13750 ONEIDA DR #109 A‐1                                                                        DELRAY BEACH      FL    33446‐3306
CAROL A BUERKERT & ROSE T BUERKERT JT TEN       13750 ONEIDA WAY #109 A‐1                                                                       DELRAY BEACH      FL    33446‐3306
CAROL A BURGER TR UA 03/30/93 CAROL A BURGER    11496 APPLEWOOD                                                                                 WARREN            MI    48093‐2663
LIVING TRUST
CAROL A BURNS                                   118 CAROL VILLA DR                                                                              MONTGOMERY        AL    36109‐4204
CAROL A BUSBY                                   2988 OLD RANCH CIRCLE                                                                           STOCKTON          CA    95209
CAROL A CALDWELL                                7216 WELLAND DR                                                                                 MENTOR            OH    44060
CAROL A CANCRO                                  219 HILLSIDE AVE                                                                                WHITE PLAINS      NY    10603‐2803
CAROL A CARLIN                                  244 CHAPEL ST                                                                                   LINCOLNAND        RI    02865‐2152
CAROL A CARR                                    PO BOX 5493                                                                                     SCOTTSDALE        AZ    85261‐5493
CAROL A CASSIE                                  PO BOX 1236                                                                                     FOWLERVILLE       MI    48836‐1236
CAROL A CATAURO                                 132 PICADILLY ST                                                                                CAMPBELL          OH    44405‐1917
CAROL A CHATHAM                                 1004 HARDING ST                                                                                 DEFIANCE          OH    43512‐1852
CAROL A CHELI CUST RONALD L CHELI JR UTMA MA    107 E MOUNTAIN ST                                                                               WORCESTER         MA    01606‐1401

CAROL A CHILDERS                                824 TERRY LN                                                                                    URBANA            OH    43078‐1252
CAROL A CLAY                                    10502 E MICHIGAN AVE                                                                            SUN LAKES         AZ    85248‐8804
CAROL A CLAYTON                                 5612 LIZ LN                                                                                     ANDERSON          IN    46017‐9742
CAROL A CLEMENT                                 1166 RISECLIFF DR                                                                               GRAND BLANC       MI    48439‐8940
CAROL A COCHRAN                                 ROUTE 2 5875 N WILLIAMSTON RD                                                                   WILLIAMSTON       MI    48895‐9644
CAROL A CODDINGTON & ERNEST A CODDINGTON JT     1604 ELLIOTT                                                                                    MADISON HEIGHTS   MI    48071‐4816
TEN
CAROL A COFFEY                                  713 CRESCENT AVE                                                                                AU GRES           MI    48703‐9302
CAROL A COLEMAN                                 320 WINRY DRIVE                                                                                 ROCHESTER         MI    48307‐1157
CAROL A CONNER                                  420 S KIRKWOOD RD                      APT 406                                                  SAINT LOUIS       MO    63122
CAROL A CORBETT                                 CAROL HAWLEY                           936 CARPI ISLES BLVD   #106                              VENICE            FL    34291
CAROL A CORNELL & R JAMES CORNELL JT TEN        7424 ELK CREEK DR                                                                               LINCOLN           NE    68516‐7014
CAROL A DAGGETT                                 310 KENILWORTH LANE                                                                             GALVESTON         IN    46932‐9489
CAROL A DEAL                                    4 KNIGHTS CRESCENT                                                                              RANDOLPH          MA    02368‐3116
CAROL A DELLATTE & DAVID A DELLATTE JT TEN      106 HAMPTON PLACE                                                                               STATEN ISLAND     NY    10309‐1643
CAROL A DERSCHUG                                4170 THORNWOOD LANE                                                                             WILLIAMSVILLE     NY    14221‐7362
CAROL A DEVLIN                                  PO BOX 944                                                                                      BILLERICA         MA    01821‐0944
CAROL A DIDZBALIS                               122 MICHAEL STREET                                                                              ISELIN            NJ    08830
CAROL A DINGWALL                                5946 GARLOW ROAD                                                                                NIAGARA FALLS     NY    14304‐1052
CAROL A DONALDSON                               308 BALDWIN RD                                                                                  HEMPSTEAD         NY    11550‐7425
CAROL A DRAKE                                   1016 NELSON                                                                                     FLINT             MI    48503‐1841
CAROL A DZIUDA                                  302 W PARK                                                                                      GREENVILLE        OH    45331‐2373
CAROL A EASTER                                  10644 S WENTWORTH                                                                               CHICAGO           IL    60628‐2545
CAROL A EDWARDS & MILDRED A HERRON JT TEN       10644 S WENTWORTH                                                                               CHICAGO           IL    60628‐2545
CAROL A ESQUINA                                 3913 TRAILWOOD                                                                                  OKEMOS            MI    48864‐3742
CAROL A FAIRCLOTH & SHEILA FAIRCLOTH JT TEN     349 OLD PETERSBURG PIKE                                                                         PETERSBURG        TN    37144
CAROL A FAORO                                   531 W ROAD 25                                                                                   CHINO VALLEY      AZ    86323
CAROL A FARMER                                  1625 BRAEBURN RD                                                                                ALTADENA          CA    91001‐2705
CAROL A FARQUHAR                                1731 LADERA TRAIL                                                                               CENTERVILLE       OH    45459
CAROL A FAWCETT                                 302 15TH AVE SE                                                                                 DEVILS LAKE       ND    58301‐7000
CAROL A FIELDS & EUGENE W FIELDS JT TEN         5564 ECHO RD                                                                                    GAHANNA           OH    43230‐1105
CAROL A FISHER                                  324 GATHERING HOUSE DR                                                                          BENTON            AR    72015‐9628
CAROL A FISHER                                  107 GORDON RD                                                                                   ESSEX FELLS       NJ    07021‐1619
CAROL A FITCHETTE‐ASPREY & THOMAS A ASPREY JT   1441 BLUEBELL AVE                                                                               BOULDER           CO    80302‐7833
TEN
CAROL A FOLLETT                                 APT 3905                               1130 S MICHIGAN AVE                                      CHICAGO           IL    60605‐2324
CAROL A FORTUNE & JAMES FORTUNE JT TEN          3974 TAHOE DR                                                                                   WARREN            MI    48091‐6115
CAROL A FOSTER                                  4835 FISHBURG                                                                                   HUBER HEIGHTS     OH    45424‐5304
CAROL A FOWLER                                  8300 ELM PARK DR #728                                                                           ORLANDO           FL    32821
CAROL A FREED                                   23463 SYLVAN ST                                                                                 WOODLAND HILLS    CA    91367‐1355

CAROL A FURMAN & KELLY LYNN FURMAN JT TEN       3852 COOK RD                                                                                    ROOTSTOWN         OH    44272‐9655
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 578 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

CAROL A FURMAN & KENNETH LEE FURMAN JT TEN       9543 SUSAN LANE                                                                                CLARKSTON         MI    48348‐2447

CAROL A GAHM                                    5994 CHURCH RD                                                                                  FERNDALE          WA    98248‐9677
CAROL A GAMBINO & BRIAN A GAMBINO JT TEN        4836 FOREST LN                                                                                  TRENTON           MI    48183
CAROL A GAMMICCHIA                              11380 GREENWOOD                                                                                 SHELBY TWP        MI    48316‐3754
CAROL A GAMMICCHIA & GASPER J GAMMICCHIA JT TEN 11380 GREENWOOD                                                                                 SHELBY TOWNSHIP   MI    48316‐3754

CAROL A GARNER & RICHARD A FREEL JT TEN          2670 NORTH 700W                                                                                GREENFIELD        IN    46140
CAROL A GARRETT                                  410 PORT DRIVE                                                                                 MADISON           TN    37115‐3427
CAROL A GIEHLER                                  38 GARDEN AVE                                                                                  MILLER PLACE      NY    11764
CAROL A GILLETTE                                 851 ANGEL WING DR                                                                              SANIBEL           FL    33957
CAROL A GOECKEL                                  1024 LAKE DRIVE CLEAR LK                                                                       FREMONT           IN    46737‐9566
CAROL A GOODMAN                                  206 TUNBRIDGE RD                                                                               BALTIMORE         MD    21212‐3422
CAROL A GORNEAULT                                715 SUNNY PINE WAY                    APT E2                                                   GREENACRES        FL    33415‐8973
CAROL A GRAU                                     130 POKANOKET LN                                                                               MARSHFIELD        MA    02050
CAROL A GRIGSBY                                  2101 COURTLAND AVE                                                                             DAYTON            OH    45420‐2150
CAROL A GRIPPO                                   PO BOX 295                                                                                     HAINES FALLS      NY    12436‐0295
CAROL A GROH                                     257 MARBROOK DR                                                                                DAYTON            OH    45429‐5438
CAROL A HALL                                     PO BOX 262                                                                                     GIRARD            OH    44420
CAROL A HANNON & LANE W HANNON JT TEN            824 N W COUNTY LINE RD                                                                         BENTO             KS    67017‐9282
CAROL A HANRAHAN TR CAROL A HANRAHAN LIVING      6768 DESMOND                                                                                   WATERFORD         MI    48329‐2804
TRUST UA 10/22/97
CAROL A HARP                                     918 EVERGREEN ST                                                                               BAREFOOT BAY      FL    32976‐7320
CAROL A HARPER CUST CHRISTOPHER SEAN HARPER      109 REBA DRIVE                                                                                 WEST LAFAYETTE    IN    47906‐1615
UGMA IN
CAROL A HARPER CUST MICHAEL LEE HARPER UGMA IN   109 REBA DRIVE                                                                                 WEST LAFAYETTE    IN    47906‐1615

CAROL A HARTMANN TOD CHRISTINE I NIZNI SUBJECT P O BOX 314                             297 CARDENTER LN                                         WEST HICKORY      PA    16370
TO STA TOD RULES
CAROL A HATMAKER                               502 E MASON ST                                                                                   OWOSSO            MI    48867‐3036
CAROL A HAVEMANN LYNCH & JOSEPH G LYNCH JT TEN 14102 LAKE SCENE TRAIL                                                                           HOUSTON           TX    77059‐4409

CAROL A HAWLEY                                   936 CAPRI ISLES BLVD                  #106                                                     VENICE            FL    34292‐4413
CAROL A HENSLEY                                  1520 SAINT ANTHONY STREET                                                                      FLORISSANT        MO    63033‐6232
CAROL A HERRMANN                                 5992 ROYAL CT                                                                                  LOCKPORT          NY    14094‐9530
CAROL A HIMES                                    505 WOODHAVEN DRIVE                                                                            LANSING           MI    48917‐3546
CAROL A HORNER                                   810 WEYBRIDGE DR                                                                               SPRINGFIELD       OH    45503‐1919
CAROL A HOUSEHOLDER                              455 PELICAN COVE                                                                               WINDSOR           CO    80550‐6125
CAROL A HUBBS                                    18359 WAGON WHEEL LN                                                                           STERLING          IL    61081‐9564
CAROL A HULSEMANN                                609 HAMPTON RIDGE                                                                              AKRON             OH    44313‐5044
CAROL A HURD                                     2673 PASADENA                                                                                  BAY CITY          MI    48706‐2631
CAROL A HYVONEN                                  247 TEGGERDINE                                                                                 WHITE LAKE        MI    48386‐2168
CAROL A IDEMA                                    6299 TUTTLE HILL ROAD                                                                          YPSILANTI         MI    48197‐9723
CAROL A IVES                                     1786 E OAK STREET                                                                              FLORA             IN    46929‐1447
CAROL A IVES & ROBERT T IVES JT TEN              1786 E OAK STREET                                                                              FLORA             IN    46929‐1447
CAROL A JACKSON                                  577 N OXFORD LANE                                                                              CHANDLER          AZ    85225‐4808
CAROL A JOHNSON                                  16807 QUAIL CREST COURT                                                                        MISSOURI CITY     TX    77489‐5383
CAROL A JOYCE                                    6715 DARTBROOK DRIVE                                                                           DALLAS            TX    75254‐7921
CAROL A KEHRER                                   2535 YELLOWSTONE                                                                               SAGINAW           MI    48603‐3354
CAROL A KELLY                                    2 FERN ROAD                                                                                    TURNERSVILLE      NJ    08012‐1811
CAROL A KIM                                      12410 FERDEN                                                                                   OAKLEY            MI    48649‐8720
CAROL A KING                                     1440 WILLIAMSBURG RD                                                                           ROCKFORD          IL    61107‐2440
CAROL A KINSEY & RONALD G KINSEY JT TEN          8815 IRMA CT                                                                                   BOONSBORO         MD    21713‐1723
CAROL A KISSEL                                   41 CHRISTINE DR                                                                                GROSSE POINT      MI    48236‐3722
                                                                                                                                                FARMS
CAROL A KMETZ                                    811 WYNFIELD TRACE                                                                             NORCROSS          GA    30092‐4557
CAROL A KNOTTS                                   9925 ULMERTON RD                      LOT 224                                                  LARGO             FL    33771‐4232
CAROL A KOSHY                                    44211 VILLAGE CT                                                                               CANTON            MI    48187‐2130
CAROL A KROKSTROM                                11925 E 45TH TERR                                                                              KANSAS CITY       MO    64133‐2014
                                                 09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                        Part 1 of 8 Pg 579 of 850
Name                                               Address1                              Address2                      Address3   Address4          City            State Zip

CAROL A KROLL                                      28863 IRONWOOD                                                                                   WARREN          MI    48093
CAROL A KROSKA                                     5135 N SEYMOUR ROAD                   PO BOX 207                                                 FLUSHING        MI    48433‐0207
CAROL A KULINA                                     24919 BOVINGTON DR                                                                               SPRING          TX    77389‐3327
CAROL A KUSKY                                      5272 WYNDEMERE SQ                                                                                SWARTZ CREEK    MI    48473‐8895
CAROL A LAKE                                       2541 PALMETTO HALL BLVD                                                                          MT PLEASANT     SC    29466‐8073
CAROL A LANE & KENNETH S LANE JT TEN               7797 GLACIER CLUB DRIVE                                                                          WASHINGTON      MI    48094‐2230
CAROL A LAWSON                                     ATTN CAROL A TOMASELLI                186 BERKELY ST                                             METHUEN         MA    01844‐4944
CAROL A LEBARRON                                   112 DREXHALL LANE                                                                                ROCHESTER       NY    14612‐3108
CAROL A LEHMAN                                     1043 AUDUBON DRIVE                                                                               WATERFORD       MI    48328‐4705
CAROL A LEMIERE TR CAROL A LEMIERE REVOCABLE       19531 DARTMOUTH                                                                                  NORTHVILLE      MI    48167‐2512
TRUST UA 06/03/04
CAROL A LEROUE TR CAROL A LEROUE TRUST UA          9254 BALL ST                                                                                     PLYMOUTH        MI    48170‐4006
04/26/05
CAROL A LEWIS                                      4501 ROUTE 176                        2ND FLOOR                                                  CRYSTAL LAKE     IL   60014
CAROL A LEWIS                                      17659 IDA EAST                                                                                   CLINTON TOWNSHIP MI   48038‐1745

CAROL A LINDISH                                    5000 W 122ND STREET                                                                              ALSIP           IL    60803‐3154
CAROL A LITTLE                                     13022 S MORROW CIR                                                                               DEARBORN        MI    48126‐1543
CAROL A LLOYD                                      6 PARKVIEW CT                                                                                    FRANKENMUTH     MI    48734‐1222
CAROL A LUCAS                                      6737 PINE                                                                                        TAYLOR          MI    48180‐1730
CAROL A LYNCH                                      301 LOWELL AVE                                                                                   MERCERVILLE     NJ    08619‐2529
CAROL A MANCINE                                    57 ELMONT RD                                                                                     TRENTON         NJ    08610‐1214
CAROL A MASON                                      100 WEST BROWN ST                                                                                NORRISTOWN      PA    19401
CAROL A MASON                                      621 BEAR TAVERN ROAD                                                                             TRENTON         NJ    08628
CAROL A MC EVILLY                                  210 MORTIMER AVE                                                                                 RUTHERFORD      NJ    07070‐1918
CAROL A MC KEE                                     1410 WALTERBORO LN                                                                               THE VILLAGES    FL    32162
CAROL A MCDOLE                                     16488 OAKDALE RD                                                                                 ATHENS          AL    35613‐7054
CAROL A MCDONELL & MICHAEL S MCDONELL JT TEN       47276 MALBURG WAY DR                                                                             MACOMB          MI    48044‐3028

CAROL A MCNALLY                                    ATTN CAROL MCNALLY QUICK              802 SOUTH WASHINGTON STREET                                HINSDALE        IL    60521‐4531
CAROL A MCPHEETERS                                 13765 W NATIONAL AVE                  APT 132                                                    NEW BERLIN      WI    53151‐4543
CAROL A MEANS                                      344 E 5TH AVENUE                                                                                 WARREN          PA    16365‐4375
CAROL A MIKOLIN                                    559 ROYCROFT BLVD                                                                                CHEEKTOWAGA     NY    14225‐1051
CAROL A MILES                                      5644 N OLIVIA DR                                                                                 ALEXANDRIA      IN    46001
CAROL A MILLER                                     119 BERWYCK DRIVE                                                                                AKRON           OH    44312‐1146
CAROL A MILLER                                     24826 APPLE CREST                                                                                NOVI            MI    48375‐2602
CAROL A MILLER                                     54590 LAKELAND DR                                                                                SENECAVILLE     OH    43780‐9418
CAROL A MILLS                                      8407 WAKEFIELD ST                                                                                OKLAHOMA CITY   OK    73149‐1906
CAROL A MINCH                                      RD #2 BOX 179                                                                                    VALLEY GROVE    WV    26060‐8932
CAROL A MISIASZEK & DONNA J MISIASZEK JT TEN       245 OXFORD RD                         APT 24D                                                    NEW HARTFORD    NY    13413‐4317
CAROL A MOORE & CHARLES L MOORE JT TEN             10210 ANTHONY DR                                                                                 JACKSON         MI    49201‐8574
CAROL A MORISON & CHARLES T MORISON JR JT TEN      3534 MADONNA LN                                                                                  BOWIE           MD    20715‐2907

CAROL A MOROCCO                                    3231 WILDWOOD DR                                                                                 MCDONALD        OH    44437‐1356
CAROL A MUSZYNSKI                                  6639 BRYNWOOD WAY                                                                                SAN DIEGO       CA    92120‐3809
CAROL A NASH                                       40 ALDER BUSH LN                                                                                 HAMLIN          NY    14464‐9326
CAROL A NEAL‐SHANDS                                7254 PONDEROSA DR                                                                                SWARTZ CREEK    MI    48473‐9426
CAROL A NEWHOUSE                                   101 DOVE ST                                                                                      ELSMERE         KY    41018‐1901
CAROL A NICELY CUST ELIZABETH J NICELY UTMA PA     126 B SHULTZ LANE                                                                                LATROBE         PA    15650‐9058

CAROL A NICELY CUST MEGAN C NICELY UTMA PA         126 B SHULTZ LANE                                                                                LATROBE         PA    15650‐9058
CAROL A NICELY CUST MICHAEL D NICELY UTMA PA       126 B SHULTZ LANE                                                                                LATROBE         PA    15650‐9058

CAROL A NORBERG                                    5912 CLOUSE                                                                                      GLENNIE         MI    48737‐9587
CAROL A NULTON                                     6013 PANTHERWOOD DR                                                                              MYRTLE BEACH    SC    29579
CAROL A OLEARY                                     37 WACHUSETT RD                                                                                  N WEYMOUTH      MA    02191‐1121
CAROL A ORIANS JR                                  15 LAURA CIR                                                                                     LAURA           OH    45337‐8815
CAROL A PAGNOTTO & LOUIS A PAGNOTTO JT TEN         11 SPARKS PL                                                                                     PENNSVILLE      NJ    08070‐1214
CAROL A PAHL                                       128 BOISEDARK CIRCLE                                                                             GILBERTSVILLE   KY    42044‐9321
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 580 of 850
Name                                             Address1                                Address2             Address3          Address4          City               State Zip

CAROL A PAUKSTIS                                 6035 LANCASTER DR                                                                                FLINT              MI    48532‐3214
CAROL A PEARSALL CUST CHASE L PEARSALL UTMA MI   3094 BEACH LK E                                                                                  MILFORD            MI    48380‐2863

CAROL A PEARSON                                  5715 PRIORY LN                                                                                   BLOOMFIELD HILLS   MI    48301‐1101

CAROL A PENCE & JERRY P PENCE JT TEN             302 W PARK                                                                                       GREENVILLE         OH    45331‐2373
CAROL A PENCE CUST ERIC J PENCE                  302 WEST APRK                                                                                    GREENVILLE         OH    45331
CAROL A PENCE CUST MITCHELL L PENCE              302 WEST PARK                                                                                    GREENVILLE         OH    45331‐2373
CAROL A PETERS                                   1083 OSHAWA BLVD N                      OSHAWA ON                              L1G 5V7 CANADA
CAROL A PETERS                                   1083 OSHAWA BLVD N                      OSHAWA ON                              L1G 5V7 CANADA
CAROL A PHILLIPS                                 95 MAYNARD AVE                                                                                   MANCHESTER         NH    03103‐3092
CAROL A PIERCE & RUSSELL W PIERCE JT TEN         2135 GANNON ROAD                                                                                 HOWELL             MI    48843‐9354
CAROL A PIETZ                                    4280 EASTLAWN                                                                                    WAYNE              MI    48184‐1817
CAROL A PRZYBYLA                                 450 W ONTARIO AVENUE                                                                             ROGERS CITY        MI    49779‐2038
CAROL A RACE EX UW BONNA L RACE                  151 STAWBERRY LANE                                                                               AUGUSTA            WV    26704‐3501
CAROL A RACEY                                    40 ALEXANDER PKWY                                                                                N TONAWANDA        NY    14120‐9588
CAROL A RAHE                                     18112 ADAMS DRIVE                                                                                STRONGSVILLE       OH    44136‐1606
CAROL A REBA                                     6383 ROBT E LEE DR                                                                               FAIRFIELD          OH    45014‐4629
CAROL A REYNOLDS                                 1170 FERNSHIRE DR                                                                                CENTERVILLE        OH    45459‐2316
CAROL A RICHARDS                                 680 ELLICOTT CIR NW                                                                              PT CHARLOTTE       FL    33952‐3938
CAROL A RIGGS                                    1407 S WINDING WAY                                                                               ANDERSON           IN    46011‐3062
CAROL A RINES                                    1840 S WINN RD                                                                                   MT PLEASANT        MI    48858‐9648
CAROL A RIVAS                                    101 DALE CT                                                                                      COLUMBIA           TN    38401‐5568
CAROL A RONOLER                                  9419 TRENKLE RD                                                                                  CUBA               NY    14727‐9213
CAROL A RZEMPALA                                 22637 E ELEVEN MILE RD                                                                           ST CLAIR SHORES    MI    48081‐2536
CAROL A SAMORAJ & FRANCIS S SAMORAJ JT TEN       11139 PROSPECT PL                                                                                ORLAND PARK        IL    60467‐9345
CAROL A SANTANDER & JUDITH O SANTANDER JT TEN    316 N MATANZAS AVE                                                                               TAMPA              FL    33609‐1537

CAROL A SAUER                                    C/O CAROL ANN BURTON                    RR 1 BOX 108 T                                           CLIFTON            TX    76634‐9711
CAROL A SCHNEIDER                                PO BOX 83                                                                                        ARCADIA            MI    49613‐0083
CAROL A SHAMLEY                                  40441 LEXINGTON PARK DR                                                                          STERLING HEIGHTS   MI    48313‐3840

CAROL A SHANNON                                  7517 HIGHLAND DRIVE                                                                              BALDWINSVILLE      NY    13027‐9426
CAROL A SHAW                                     238 N INDEPENDENCEST APT 9                                                                       TIPTON             IN    46072‐1747
CAROL A SHORTELL                                 3 RANDOLPH CT                                                                                    WEST WINDSOR       NJ    08550‐2927
CAROL A SIEGERT                                  3005 STONEHENGE LANE                                                                             CARROLLTON         TX    75006‐5211
CAROL A SIERZAN & HARRY F SIERZAN JT TEN         40432 COLONY                                                                                     STERLING HGTS      MI    48313‐3806
CAROL A SILVERS                                  9151 S COUNTY RD 461 E                                                                           MUNCIE             IN    47302‐8458
CAROL A SKOG                                     1115 DEGROFF                                                                                     GRAND LEDGE        MI    48837‐2150
CAROL A SMITH                                    324 SASSAFRAS RD                                                                                 ESSEX              MD    21221‐3023
CAROL A SPITZ                                    8 BLACKFOOT RD                                                                                   PENNINGTON         NJ    08534‐5104
CAROL A SPRAGA                                   47016 LAUREN CT                                                                                  BELLEVILLE         MI    48111‐4295
CAROL A STASZUK                                  5840 DALTON STREET                      LASALLE ON                             N9H 1N1 CANADA
CAROL A STRUNK                                   425 25TH AVE                                                                                     VERO BEACH         FL    32962‐1382
CAROL A SUDZIAK                                  5 E SHERIDAN AVE                                                                                 NEW CASTLE         PA    16105‐2556
CAROL A SUITS                                    236 SKYCREST DR                                                                                  LANDENBERG         PA    19350‐9662
CAROL A SWAIN                                    34328 BARTON                                                                                     WESTLAND           MI    48185‐3573
CAROL A TECKMEYER                                PO BOX 50851                                                                                     IDAHO FALLS        ID    83405‐0851
CAROL A THOME                                    15102 COUNTY RD Y                                                                                NEW BAVARIA        OH    43548
CAROL A TONNOS                                   1590 HILLSIDE DR                                                                                 OKEMOS             MI    48864‐2346
CAROL A TOSKEY                                   20 HUNDLEY DRIVE                                                                                 DAVENPORT          FL    33837‐2700
CAROL A TRACY                                    660 CRESENT AVE                                                                                  BUFFALO            NY    14216‐3403
CAROL A TROY                                     177 GREENMEADOW DR                                                                               ROCHESTER          NY    14617‐5132
CAROL A TURNER                                   10862 W WIKIEUP LN                                                                               SUN CITY           AZ    85373‐3369
CAROL A UPPGAARD TR CAROL A UPPGAARD             5601 DEWEY HILL RD                      APT 213                                                  EDINA              MN    55439‐1925
REVOCABLE TRUSTUA 07/02/97
CAROL A URIDIL & JOSEPH F URIDIL JT TEN          10818 E PLACITA MERENGUE                                                                         TUCSON             AZ    85730‐5828
CAROL A URNESS                                   455 GRANDVIEW CIRCLE                                                                             ADELL              WI    53001‐1164
CAROL A VAN SICKLE                               270 HAWTHORNE RANCH RD                                                                           PRUDENVILLE        MI    48651‐9442
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 581 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

CAROL A VARNAU                                   32822 HOMESTEAD                                                                                WICKENBURG      AZ    85390‐3108
CAROL A VENARDOS                                 1831 CELESTE CIRCLE                                                                            AUSTINTOWN      OH    44511‐1007
CAROL A VYVERBERG                                117 CENTERWOOD DRIVE                                                                           ROCHESTER       NY    14616‐2409
CAROL A WEBER                                    1943 KISKER                                                                                    ST CHARLES      MO    63301‐6331
CAROL A WERLING                                  11175 SUMMERFIELD RD                                                                           PETERSBURG      MI    49270‐9406
CAROL A WHIPP                                    3905 GATEWAY DR                                                                                CLAYTON         OH    45315‐8715
CAROL A WIGHTMAN                                 119 DUNLOP DRIVE                                                                               ROSCOMMON       MI    48653‐8156
CAROL A WIGNER TR UA 08/25/1999 CAROL A WIGNER   6819 WILLIAMS LK RD                                                                            WATERFORD       MI    48329
REVOCABLE LIVING TRUST
CAROL A WINSLOW                                  614 DOGWOOD AV                                                                                 MYRTLE BEACH    SC    29577‐2418
CAROL A WISE                                     2675 S SUNFLOWER DRIVE                                                                         BLOOMINGTON     IN    47403
CAROL A WRIGHT                                   261 SELDON ST                         THAMESFORD ON                          N0M 2M0 CANADA
CAROL A WRIGHT                                   14508 KILDARE LN                                                                               CEMENT CITY     MI    49233‐9747
CAROL A WRIGHT                                   261 SELDON STREET                     THAMESFORD ON                          N0M 2M0 CANADA
CAROL A ZELTNER                                  8311 HERON COURT                                                                               INDIANAPOLIS    IN    46256‐1707
CAROL ALPERS CUST ROBIN LOUISE ALPERS UGMA MA    1945 NE 119TH RD                                                                               N MIAMI         FL    33181‐3305

CAROL ANN ALCOCK                                 812 RAMONA WAY                                                                                 GILROY          CA    95020‐4013
CAROL ANN ALLEE TR 2006 CAROL ANN ALLEE          318 15TH ST                                                                                    SEAL BEACH      CA    90740‐6513
REVOCABLE TRUST UA 4/17/06
CAROL ANN BAEHREN                                1134 SE 7TH ST                                                                                 STUART          FL    34996‐3637
CAROL ANN BARDEN                                                                                                                                OTISVILLE       MI    48463
CAROL ANN BENNER                                 69 JOHN E BUSCH AVENUE                                                                         SOMERSET        NJ    08873
CAROL ANN BLAINE                                 4 HEATHER LANE RR2                                                                             HACKETTSTOWN    NJ    07840‐4801
CAROL ANN BLEEZARDE                              C/O CAROL DZIURA                      187 PROSPECT ST                                          NUTLEY          NJ    07110‐2625
CAROL ANN BOROTA                                 1609 GETTYSBURG PLACE                                                                          ATLANTA         GA    30350‐3043
CAROL ANN BOYLAN                                 621 CROTON FALLS RD                                                                            CARMEL          NY    10512‐3907
CAROL ANN BRIGGS RICHARDI                        916 BROADWAY                                                                                   HANOVER         MA    02339‐2749
CAROL ANN BRITT                                  90 ROSELAWN AVE                                                                                FAIRPORT        NY    14450‐1341
CAROL ANN BROWNGARDT                             48 WASHINGTON ST                                                                               ROCKY HILL      CT    06067‐1527
CAROL ANN BUCKINGHAM                             529 DAVENTRY LANE                                                                              GAHANNA         OH    43230‐2367
CAROL ANN C SMELA                                2231 TIMBERWOOD CT                                                                             DAVISON         MI    48423‐9532
CAROL ANN CARBONARO                              8D MILLHOLLAND DRIVE                                                                           FISHKILL        NY    12524‐1557
CAROL ANN CARMICHAEL                             4463 JANINE COURT                                                                              HUBER HEIGHTS   OH    45424‐6826
CAROL ANN CHASE                                  25005 LEWIS & CLARK RD                                                                         HIDDEN HILLS    CA    91302‐1137
CAROL ANN CLASE                                  6426 POTTER RD                                                                                 BURTON          MI    48509‐1394
CAROL ANN CORY                                   3605 S SUNDERLAND DR                                                                           SPOKANE         WA    99206
CAROL ANN COUSINO TOD ROBERT ALLAN COUSINO       2958 BALDWIN HWY                                                                               ADRIAN          MI    49221
SUBJECT TO STA TOD RULES
CAROL ANN DANEFF & ROSE MARIE DANEFF JT TEN      3435 S 14TH ST                                                                                 OMAHA           NE    68108‐2002

CAROL ANN DAVIS                                  16665 CAPRI                                                                                    ROSEVILLE       MI    48066‐3766
CAROL ANN DAVIS                                  7087 S GEECK RD                                                                                DURAND          MI    48429
CAROL ANN DELBRIDGE                              5315 WYNDEMERE COMMON SQ                                                                       SWARTZ CREEK    MI    48473‐8911
CAROL ANN DIMARE                                 124 ADAMS ST                                                                                   MALDEN          MA    02148‐6334
CAROL ANN DROGOSZ                                10010 HARNEW ROAD WEST                                                                         OAK LAWN        IL    60453‐3967
CAROL ANN DUNCAN & ALAN JOSEPH DUNCAN JT TEN     284 PENNYVALLE CEMETARY RD                                                                     PARSONS         TN    38363

CAROL ANN FISHER                                 408 GREENBRIAR DR                                                                              AVON LAKE       OH    44012‐2185
CAROL ANN FONS                                   4650 EDINBURGH                                                                                 HOWELL          MI    48843‐8635
CAROL ANN GALBERT TR CAROL ANN GALBERT LIVING    13820 TAMARACK LN                                                                              ORLAND PARK     IL    60462‐1657
TRUST UA 11/10/95
CAROL ANN GARGARO TR MARENDA TRUST UA            33625 YORK RIDGE                                                                               FARMINGTON HILLS MI   48331‐1548
07/30/86
CAROL ANN GOODWIN                                200 GOODWIN LN                                                                                 ALBANY          NY    12203
CAROL ANN HANNER                                 246 ARCHER RD                                                                                  MAHOPAC RIDGE   NY    10541‐2018
CAROL ANN HARDY & SANDY ANN HARDY JT TEN         5811 N SWEDE ROAD                                                                              MIDLAND         MI    48642‐8439
CAROL ANN HECKER                                 10057 CASANES AVE                                                                              DOWNEY          CA    90240‐3502
CAROL ANN HECKMAN KELLEY                         915 MILLER ST                                                                                  ALLENTOWN       PA    18103‐4627
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 582 of 850
Name                                             Address1                               Address2                  Address3     Address4          City               State Zip

CAROL ANN HERB                                   306 WEST MAIN RD                                                                                CONNEAUT           OH    44030‐2043
CAROL ANN HUNDLEY                                ATTN CAROLE A CATLETT                  20935 ISLAND FOREST DR                                   CORNELIUS          NC    28031‐7101
CAROL ANN JACOBS                                 614 NW 8TH AVE                                                                                  DELRAY BEACH       FL    33444‐1704
CAROL ANN JACOBS PERSONAL REP E‐O FRIEDA J       614 NW 8TH AVE                                                                                  DELRAY BEACH       FL    33444‐1704
MCALLISTER
CAROL ANN JENKS                                  12977 RT 31                                                                                     ALBION             NY    14411‐9132
CAROL ANN JOHNSON                                6644 NEWLAND ST                                                                                 ARVADA             CO    80003‐4032
CAROL ANN KELLEY                                 3804 GLOVER DR                                                                                  PLANO              TX    75074‐4023
CAROL ANN KELLY                                  6300 NE 181ST ST APT 4                                                                          KENMORE            WA    98028‐9420
CAROL ANN KENNEDY                                103 00 SHORE FRONT PKWY                                                                         ROCKAWAY BEACH     NY    11693

CAROL ANN KESSLER                                PO BOX 321                                                                                      SHELBYVILLE        IL    62565‐0321
CAROL ANN KILBY                                  3061 E ANDERSON DR                                                                              LITHIA SPRINGS     GA    30122‐2502
CAROL ANN LABERGE                                2060 CRYSTALWOOD TRAIL                                                                          FLUSHING           MI    48433‐3512
CAROL ANN LAMPMAN                                2625 KNOLLWOOD DR                                                                               INDIANAPOLIS       IN    46228‐2164
CAROL ANN LEWIS                                  34 CENTRE AVE                                                                                   BELMONT            MA    02478‐1512
CAROL ANN LEWIS & DEAN S LEWIS JT TEN            PO BOX 1395                                                                                     JACKSON            WY    83001‐1395
CAROL ANN LOMBARDO                               ATTN CAROL L DOWNING                   685 TANNERS LANE                                         EARLYSVILLE        VA    22936‐9679
CAROL ANN LUEDEKE                                C/O GEORGE LUEDEKE JR                  1501 VALLEDA LANE                                        ENCINITAS          CA    92024‐2413
CAROL ANN MAGRETA                                14482 HIX                                                                                       LIVONIA            MI    48154‐4907
CAROL ANN MAJKA CUST JEFFREY PAUL MAJKA UGMA     175 ARGUS DR                                                                                    DEPEW              NY    14043
NY
CAROL ANN MALEITZKE                              19789 HOLIDAY RD                                                                                GROSSE POINTE      MI    48236‐2515
CAROL ANN MARKESINO & TERRENCE BRUCE             4148 CASS ELIZABETH                                                                             WATERFORD          MI    48328
MARKESINO JT TEN
CAROL ANN MAYASICH                               PO BOX 605                                                                                      GILBERT            MN    55741‐0605
CAROL ANN MAZALEWSKI                             BOX 1225                                                                                        MANOMET            MA    02345‐1225
CAROL ANN MC BURNEY                              C/O CAROL M BOGGS                      65 BETHEL RD                                             CENTERVILLE        OH    45458‐2464
CAROL ANN MCINNIS & JOHN ROBERT MCINNIS JT TEN   1731 DUNWOODIE ST                                                                               ORTONVILLE         MI    48462

CAROL ANN MELL                                   419 MIRAMAR DR                                                                                  REDONDO BEACH      CA    90277‐3833
CAROL ANN MIDILI                                 53219 SKYLARK COURT                                                                             SOUTH BEND         IN    46635‐1375
CAROL ANN MOORE                                  20 BUGBEE RD                                                                                    ONEONTO            NY    13820‐4629
CAROL ANN MOULTRUP & JAMES T MOULTRUP JT TEN     117 THE MASTERS CIR                                                                             COSTA MESA         CA    92627‐4640

CAROL ANN MUDRA                                  11780 68TH AVE                                                                                  SEMINOLE           FL    33772‐6103
CAROL ANN MURRAY DORSEY                          1495 NEWPORT ST                        UNIT #6                                                  TRAVERSE CITY      MI    49686‐2318
CAROL ANN NOLAN                                  500 HARRISON DR                                                                                 CENTERPORT         NY    11721‐1217
CAROL ANN NOVAK                                  5790 WHETHERSFIELD LN APT 8A                                                                    BLOOMFIELD HILLS   MI    48301‐1827

CAROL ANN PALMER                              2201 W CARPENTER RD APT 321A                                                                       FLINT              MI    48505
CAROL ANN PAULUS & LOIS L PAULUS JT TEN       PO BOX 159 RR2 BOX 159                                                                             FLORA              IL    62839‐9438
CAROL ANN RADER                               C/O KLEMKO                                4727 WEEPING WILLOW WAY                                  TRAVERSE CITY      MI    49684‐6880
CAROL ANN RATERMANN CUST MICHAEL R RATERMANN 6495 BETHELVILLE DR                                                                                 NEW CARLISLE       OH    45344‐8831
UTMA MA
CAROL ANN RILEY                               166 FAIRFIELD WAY                                                                                  BLOOMINGDALE       IL    60108‐1540
CAROL ANN ROBINSON                            120 S DEWEY                                                                                        VICTOR             CO    80860
CAROL ANN SAYLOR                              835 HAWKS CREST LANE                                                                               BLACKLICK          OH    43004‐8310
CAROL ANN SIEMENS                             104 SCENERY DR                                                                                     MORGANTOWN         WV    26505‐2523
CAROL ANN SLENZAK                             28649 LOS OLAS                                                                                     WARREN             MI    48093‐2704
CAROL ANN STEPHANITSES                        234 UNION AVE                                                                                      HARRISON           NY    10528‐1605
CAROL ANN STIGLER                             4211 REDTAIL PASS                                                                                  MIDDLETON          WI    53562‐5203
CAROL ANN STONE                               217 HOOD AVE                                                                                       WINCHESTER         KY    40391‐2347
CAROL ANN T NAGEL TR CAROL ANN T NAGEL LIVING 3977 TIMBERLAND DR SE                                                                              GRAND RAPIDS       MI    49508‐8888
TRUST UA 04/03/97
CAROL ANN VAN SCOIK                           4400 GRAND CENTRAL AVE APT 24                                                                      VIENNA             WV    26105
CAROL ANN VAYNE                               4105 ALACHUA AVE                                                                                   TITUSVILLE         FL    32796‐1806
CAROL ANN VOYDANOFF                           4070 OAKRIDGE DR                                                                                   HARRISON           MI    48625‐9017
CAROL ANN WAHLSTROM                           325 3RD AVE S #303                                                                                 EDMONDS            WA    98020‐8428
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 583 of 850
Name                                              Address1                              Address2                Address3       Address4          City              State Zip

CAROL ANN WESTFORT                                543 ALLEN AVE                                                                                  MERIDEN           CT    06451‐3607
CAROL ANN WILKS                                   40 SOUTH SEA AVE                      BURNABY BC                             V5B 3W6 CANADA
CAROL ANN ZIMA                                    22784 GORDON SWITCH ST                                                                         ST CLAIR SHORES   MI    48081‐1308
CAROL ANN ZUCKERMAN                               2311 MORNING BREEZE DR                                                                         FINKSBURG         MD    21048‐3001
CAROL ANNA KROGER                                 785 ZYCH RD                                                                                    BLOOMVILLE        NY    13739‐1211
CAROL ANNE BICHER                                 7509 PALOMAS PARK                     NE                                                       ALBUQUERQUE       NM    87109‐5358
CAROL ANNE BRUDNAK                                3611 W HAVEN COURT                                                                             MEQUON            WI    53092‐4905
CAROL ANNE CUSTER & DONALD M CUSTER JR JT TEN     1552 SANTA MONICA DR                                                                           DUNEDIN           FL    34698‐4437

CAROL ANNE MILLER                               20800 TRUAX LN                                                                                   CLINTON TWP       MI    48038
CAROL ANNE NICKELSON                            10325 DURHAM RD                                                                                  CLARKSTON         MI    48348‐2195
CAROL ANNE RICHARDSON‐PELCIS CUST JAMES RUSSELL 1319 KENNEDY ROAD                                                                                LUGOFF            SC    29078‐8753
PELCIS UGMA SC
CAROL ANNE RYAN                                 9031 FORT HAMILTON PKWY                 APT 1C                                                   BROOKLYN          NY    11209‐6425
CAROL ARDEN UPTON                               4180 KILT CIRCLE                                                                                 EL DORADO HILLS   CA    95762‐5632
CAROL ASENATH BROKAMP                           7803 SWAILS STREET                                                                               INDIANAPOLIS      IN    46259‐1541
CAROL AUDREY HIGHT                              3263 E PEBBLE CREEK DR                                                                           AVON PARK         FL    33825‐6039
CAROL AXEL                                      205 E 10TH ST #4B                                                                                NEW YORK          NY    10003‐7651
CAROL AXEL CUST JEFFREY L AXEL UGMA NY          55 DAVIS LANE                                                                                    ROSLYN            NY    11576‐2158
CAROL AYRES SUMMERS                             26 MC CURDY RD                                                                                   NEW BOSTON        NH    03070‐4303
CAROL B ALEXANDER                               PMB 202                                 3152 PARKWAY STE # 13                                    PIGEON FORGE      TN    37863‐3325
CAROL B BEHM TR UA 03/03/92 CAROL B BEHM TRUST 2601 ARBOR GLEN DR APT 305                                                                        TWINSBURG         OH    44087‐3058

CAROL B BRECKENFELD                               1333 TOMIKE                                                                                    LAKE GENEVA       WI    53147‐1142
CAROL B CHACOSKY                                  528 FOX DEN CT                                                                                 GLEN MILLS        PA    19342‐2225
CAROL B COLEN                                     53 SHADY BROOKE LANE                                                                           SWEDEBORO         NJ    08085‐1582
CAROL B DAUGHERTY                                 874 MAPLEWOOD AVE                                                                              NEWBURY PARK      CA    91320‐5563
CAROL B GAGE TR UA 01‐09‐07 CAROL B GAGE TRUST    640 WAVERLY DRIVE                                                                              ELGIN             IL    60120
NO 1
CAROL B HAUGEN                                    9600 PORTLAND AVENUE #116                                                                      BLOOMINGTON       MN    55420‐4555
CAROL B HUMRICKHOUSE                              PO BOX 512                                                                                     CHANCELLOR        AL    36316‐0512
CAROL B JOSEPH                                    1300 BRIANNA COURT                                                                             CEDAR PARK        TX    78613‐3224
CAROL B KILLE                                     43 EAST PITMAN ST                                                                              PENNS GROVE       NJ    08069‐1440
CAROL B KOHL                                      E PLYMOUTH RD                                                                                  TERRYVILLE        CT    06786
CAROL B KOLESNIKOFF                               PO BOX 609                                                                                     INDIAN HILLS      CO    80454‐0609
CAROL B MASTERS                                   5723 ARCTURUS DRIVE                                                                            ROANOKE           VA    24018‐4801
CAROL B MOODY                                     1330 INDIA HOOK RD                    # 221                                                    ROCK HILL         SC    29732‐2412
CAROL B REEVES                                    2144 BRAMPTON CT                                                                               WALNUT CREEK      CA    94598‐2316
CAROL B SHARON TR UA 12/06/89 UNDER THE CAROL B   710 IRONWOOD RD                                                                                ALAMEDA           CA    94502‐6616
SHARON TRUST
CAROL B STROUGH                                   3621 E LYNN                                                                                    ANDERSON          IN    46013‐5377
CAROL B TIPPETT                                   61284 SPENCER RD                                                                               CASSOPOLIS        MI    49031‐9739
CAROL BARKANN                                     442 SAYRE DRIVE                                                                                PRINCETON         NJ    08540‐5845
CAROL BARLABAS                                    6633 E GREENWAY PARKWAY               APT 1115                                                 SCOTTDALE         AZ    85254‐2033
CAROL BEAM                                        5918 REIGER AVENUE                                                                             DALLAS            TX    75214‐4723
CAROL BEAUVAIS & JACK CORBETT JT TEN              1121 S GENEVA AVENUE                                                                           MARION            IN    46952
CAROL BEDDOW BEENICK                              848 DEERWOOD CT                                                                                ANNAPOLIS         MD    21401‐6903
CAROL BEECHER CUST CARLYLE ROGER BEECHER UGMA     2798 RICHARDSON STREET                                                                         MADISON           WI    53711‐5292
WI
CAROL BEECHER CUST JENNIE MARIE BEECHER UGMA      2798 RICHARDSON ST                                                                             MADISON           WI    53711‐5292
WI
CAROL BENNETT                                     3160 SHED RD                          APT 306                                                  BOSSIER CITY      LA    71111
CAROL BETH BLAGG CROSSLEY                         303 STOREYWOOD                                                                                 SAN ANTONIO       TX    78213‐2917
CAROL BIEHL                                       7002 9TH AVE SE                                                                                LACEY             WA    98503‐1463
CAROL BOGARD MC MORROW                            2 POWDER HORN HILL RD                                                                          WILTON            CT    06897‐3119
CAROL BOULWARE                                    1525 AVIATION BLVD #200                                                                        REDONDO BEACH     CA    90278‐2800
CAROL BRANDT WILSON                               284 WEST G ST                                                                                  BRAWLEY           CA    92227‐2226
CAROL BROCK                                       41221 TIFFANY LANE                                                                             HEMET             CA    92544‐6330
CAROL BROWN                                       411 16TH AVE                                                                                   LAKE COMO         NJ    07719‐3003
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 584 of 850
Name                                              Address1                               Address2                  Address3     Address4          City               State Zip

CAROL BROWNING                                    445 S TIAGO DR                                                                                  GILBERT            AZ    85233‐6737
CAROL BUCK                                        11 DRAKE KNOLL                                                                                  LEWES              DE    19958‐1782
CAROL BURGESS                                     54 ALBERTA ST                                                                                   ROCHESTER          NY    14619‐1002
CAROL BURKE                                       603 SHASTA CT                                                                                   LEWISVILLE         TX    75077‐7056
CAROL BUSHMAN                                     1955 RIVER RD                                                                                   JUNCTION CITY      WI    54443‐9601
CAROL C BASINGER‐CRIDDLE & ROBERT K CRIDDLE JT    5130 LORENZO LANE                                                                               SPARKS             NV    89436
TEN
CAROL C BIGIONI & BRADFORD R BIGIONI & DONALD A   19 CRESTWOOD DR                                                                                 BURLINGTON         NJ    08016‐3111
BIGIONI JT TEN
CAROL C BONNECAZE                                 3321 RIDGEFIELD ST                                                                              IRVING             TX    75062
CAROL C BOVE                                      20792 RAINSBORO DR                                                                              ASHBURN            VA    20147‐2832
CAROL C BURNHAM                                   1923 WILLOW ST                                                                                  PORT HURON         MI    48060‐3150
CAROL C CAMPBELL                                  10067 ROMAINE                                                                                   ROMULUS            MI    48174‐3965
CAROL C CHARLES‐MORRISON                          1097 LESLIE LN                                                                                  GIRARD             OH    44420‐1441
CAROL C ETHERTON                                  6350 E CADILLAC ROAD                                                                            FALMOUTH           MI    49632‐9735
CAROL C GORDON                                    6659 N PARK EXT                                                                                 CORTLAND           OH    44410‐9509
CAROL C HAROWSKI                                  215 DEEDS AVE                                                                                   DAYTON             OH    45404
CAROL C HENDRIX                                   1319 LAKEFIELD DR                                                                               HUDDLESTON         VA    24104‐3570
CAROL C HOOD                                      24 WESTOVER DRIVE                                                                               ROME               GA    30165
CAROL C LORD                                      3458 MOSS BROOK LANE                                                                            BIRMINGHAM         AL    35243‐4950
CAROL C MATTES CUST STEPHEN C MATTES UTMA PA      108 LINE DR                                                                                     TELFORD            PA    18969‐2254

CAROL C MILES                                     5644 N OLIVIA DR                                                                                ALEXANDRIA         IN    46001‐8605
CAROL C MORRIS                                    803 MASSEY CHURCH RD                                                                            SMYMA              DE    19977‐9451
CAROL C MYERS                                     5384 DRAYTON RD                                                                                 CLARKSTON          MI    48346‐3710
CAROL C ODRISCOLL                                 8317 E WILSHIRE DR                                                                              SCOTTSDALE         AZ    85257‐2352
CAROL C ROMANOWSKI                                1700 LITTLESTONE                                                                                GROSSE POINTE      MI    48236‐1955
                                                                                                                                                  WOOD
CAROL C SEMENUK                                   10411 W BUNZEL AVE                                                                              HALES CORNERS      WI    53130‐2121
CAROL C TAYLOR                                    1302 WRIGHT AVE                                                                                 LAPORTE            IN    46350‐6033
CAROL C WHEATON                                   523 W HICKORY ST                                                                                EAST ROCHESTER     NY    14445‐2111
CAROL C WOOD                                      3100 PINCH HIGHWAY                                                                              POTTERVILLE        MI    48876‐9718
CAROL CAMBRIDGE WEST                              PO BOX 949                                                                                      WARREN             OH    44482‐0949
CAROL CAMPODONICA                                 506 W DONNA DR                                                                                  MERCED             CA    95348‐2816
CAROL CAPUTO                                      24 THOMPSON PL                                                                                  STATEN ISLAND      NY    10305‐2913
CAROL CARLTON                                     5244 W OUTER DR                                                                                 DETROIT            MI    48235‐1355
CAROL CENTANNI & JOHN CENTANNI JT TEN             19 GOLF CLUB DRIVE                                                                              LANG HORNE         PA    19047‐2162
CAROL CHARTRAND CUST EMILY CHARTRAND UTMA PA      5286 WINFIELD PLACE                                                                             BUCKINGHAM         PA    18912

CAROL CHARTRAND CUST ETHAN CHARTRAND UTMA PA 5286 WINFIELD PLACE                                                                                  BUCKINGHAM         PA    18912

CAROL CLARK                                       4400 IRVING CT                                                                                  RALEIGH            NC    27609‐6029
CAROL CLEMENTS                                    1081 TUSCANY BLVD                                                                               VENICE             FL    34292‐6631
CAROL CONNOR & LOUIS CONNOR JT TEN                4508 DEMBY DR                                                                                   FAIRFAX            VA    22032‐1706
CAROL CONTI & GEORGE CONTI JT TEN                 2293 S CHANTICLEER CT                                                                           TOMS RIVER         NJ    08755‐1820
CAROL CONTI & GEORGE CONTI JT TEN                 2293 SOUTH CHANTICLEER COURT                                                                    TOMS RIVER         NJ    08755‐1820
CAROL COOPER                                      ATTN CAROL COOPER AIGNER               26038 SOUTH CHESTNUT RD                                  MONEE              IL    60449‐8088
CAROL COOPER                                      895 BLAINE ST                                                                                   DETROIT            MI    48202‐1937
CAROL COWAN CULP                                  949 BUTLER RD                                                                                   KITTANNING         PA    16201
CAROL COX KIRCHNER                                3956 LILAC RD                                                                                   ALLENTOWN          PA    18103‐9750
CAROL CRAFTON                                     1869 CHIPPING WAY                                                                               BLOOMFIELD HILLS   MI    48302‐1711

CAROL CRAIG FALK                                  13 MOULTON RD                                                                                   WEST PEABODY       MA    01960‐3752
CAROL CRAMER SHELTON                              3501 SODOM‐HUTCHINS RD                                                                          CORTLAND           OH    44410‐8708
CAROL CRAMER SHELTON & SHANNON SHELTON            3501 SODOM HOTCHINS RD                                                                          CORTLAND           OH    44410‐8708
ADKINS JT TEN
CAROL CRATIN ZIDEK                                27W625 BEECHER AVE                                                                              WINFIELD           IL    60190‐1251
CAROL CRAYTON EDWARDS                             1290 GRANGER RD                                                                                 ORTONVILLE         MI    48462‐9223
CAROL CRYSTLE                                     1122 NORTH CLARK #910                                                                           CHICAGO            IL    60610‐2860
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 1 of 8 Pg 585 of 850
Name                                             Address1                               Address2                 Address3        Address4          City             State Zip

CAROL CUFF CUST MICHELLE L CUFF UGMA NY          81 SOUTHFIELD ST                                                                                  KINGSTON         NY    12401‐1913
CAROL D BARNES                                   213 WILLOW GLEN CI                                                                                BLYTHEWOOD       SC    29016‐8322
CAROL D BARRETT                                  320 AFTON DR                                                                                      BRANDON          MS    39042‐3651
CAROL D BECK                                     1810 GRAND CIR                                                                                    ROCK HILL        SC    29730‐9660
CAROL D BIRCH                                    ATTN CAROL D GYORGY                    7 PRIMROSE DRIVE         KINGSVILLE ON   N9Y 0A4 CANADA
CAROL D BURWELL                                  ATTN CAROL D BELLAVER                  3341 WYMMS MILL                                            METAMORA         MI    48455
CAROL D DEC                                      4475 SASHABAW RD                                                                                  WATERFORD        MI    48329‐1961
CAROL D HEAGNEY                                  3916 MASON RD                                                                                     MONROEVILLE      OH    44847‐9302
CAROL D KNOTT                                    1001 BOYCE AVENUE                                                                                 BALTIMORE        MD    21204‐3602
CAROL D LENTZ                                    605 WINTERFIELD DR                     APT 3733                                                   HUTTO            TX    78634‐5660
CAROL D LOISELLE                                 180 WEDGEWOOD DR                                                                                  GIBSONIA         PA    15044‐9794
CAROL D LOMONACO                                 ATTN CAROL D MASON                     2 ARBOR COURT                                              HAMTPON BAYS     NY    11946‐1862
CAROL D MINES TR CAROL D MINES TRUST UA 07/29/97 5304 HANCOCK ST                                                                                   MONTAGUE         MI    49437‐2502

CAROL D ROGERSON                                 12802 CADDINGTON MEWS                                                                             MIDLOTHIAN       VA    23113
CAROL D ROOT                                     1521 GLEN EAGLES DR                                                                               KOKOMO           IN    46902‐3192
CAROL D STEPHENS                                 5 RIVER ROAD                                                                                      NEWFANE          VT    05345
CAROL D TANKSLEY                                 732 BLUE FATHOM DR                                                                                RUNAWAY BAY      TX    76426‐4532
CAROL D WAPLE                                    16 CALDER COURT                                                                                   MARLBORO         NJ    07746‐2232
CAROL D WELCH                                    2423 GALAHAD WAY                                                                                  JANESVILLE       WI    53545‐1408
CAROL D'ANDREA                                   363 GREENMONT AVE                                                                                 CLIFFSIDE PARK   NJ    07010
CAROL DAMPIER                                    214 W BURBANK AVE                                                                                 JANESVILLE       WI    53546‐3247
CAROL DANGELO                                    3 NOTTINGHAM CIR                                                                                  PEEKSKILL        NY    10566‐2559
CAROL DAVIS PARKER                               7336 GOLD RING TERRACE                                                                            DERWOOD          MD    20855
CAROL DE LELLIS                                  C/O CAROL DE LELLIS KUREY              2130 LA ROCHELLE COURT                                     BROOKFIELD       WI    53045‐4919
CAROL DEAN MC READY                              4 PRIMROSE ST                                                                                     CHEVY CHASE      MD    20815‐4229
CAROL DEGUSIPE & ERIC DEGUSIPE JT TEN            107 WEIR DR                                                                                       PITTSBURGH       PA    15215‐1445
CAROL DEGUSIPE & JASON DEGUSIPE JT TEN           107 WEIR DR                                                                                       PITTSBURGH       PA    15215‐1445
CAROL DIANE EHMANN CUST CAMDEN H RAINWATER       77 POWERHOUSE RD                                                                                  CHITTENDEN       VT    05737‐9869
UTMA VT
CAROL DIANE GOETZ                                12140 REGENCY RUN CT                   APT 6                    CINCINATTI                        CINCINNATI       OH    45240
CAROL DICERTO                                    5909 FERRELL ST                                                                                   N LAS VEGAS      NV    89031‐3550
CAROL DILL POE                                   222 VIA GRAZIANA                                                                                  NEWPORT BEACH    CA    92663‐4904
CAROL DUDECK                                     1163 CORDOBA WAY                                                                                  VISTA            CA    92081‐9089
CAROL E BADGER                                   5513 NEW MEADOW DR                                                                                YPSILANTI        MI    48197‐6725
CAROL E BAMERT                                   4826 N CONNOR RD                                                                                  JANESVILLE       WI    53548
CAROL E BARBUTO                                  10452 NW 48TH MNR                                                                                 CORAL SPRINGS    FL    33076‐1730
CAROL E BOBB & ROGER T BOBB JT TEN               7440 ROGER THOMAS DR                                                                              GENESEE          MI    48437
CAROL E BRACEY                                   3051 EWINGS ROAD                                                                                  NEWFANE          NY    14108‐9672
CAROL E BROWN                                    32A BARRY CT                                                                                      SELKIRK          NY    12158‐9760
CAROL E CHAMBERLAIN                              5191 SANDLEWOOD CIR                                                                               GRAND BLANC      MI    48439‐4267
CAROL E CHRISTENSEN ERGENBRIGHT                  2715 RAMBLING ROAD                                                                                MARYVILLE        TN    37801‐9512
CAROL E COWDRICK EX EST G ELWOOD POWERS          303 FAIRFIELD STATION RD                                                                          FAIRFIELD        PA    17320
CAROL E EICHE                                    68‐15 64TH ST                                                                                     GLENDALE         NY    11385‐5245
CAROL E FAGGELLO                                 380 WOODS RD                                                                                      TEANECK          NJ    07666‐2631
CAROL E FAZIO                                    83 04 PARISONS BLVD                                                                               JAMAICA          NY    11432
CAROL E FORD                                     2 DUNSTER PATH                                                                                    WEST YARMOUTH    MA    02673‐1513
CAROL E FORKER CUST DAVID HENRY FORKER UTMA AZ   4810 E WHITTON AVE                                                                                PHOENIX          AZ    85018‐5546

CAROL E FOWLER & DOUGLAS W FOWLER & RODNEY A     33642 PIERCE ST                                                                                   GARDEN CITY      MI    48135‐1179
FOWLER JT TEN
CAROL E GARRETT DONOHUE                          16401 OLD MARSHALL HALL RD                                                                        ACCOKEEK         MD    20607‐9692
CAROL E GOLD                                     7 SHADY HILL SQ                                                                                   CAMBRIDGE        MA    02138‐2035
CAROL E GRIMMETTE CUST MARY JO GRIMMETTE         8415 LAWRENCE                                                                                     YPSILANTI        MI    48197‐9396
UGMA MI
CAROL E HAMMER TR CAROL E HAMMER LIVING TRUST    11421 W OREGON TRAIL ROAD                                                                         POLO             IL    61064‐9202
UA 03/25/98
CAROL E HARRY                                    2738 LINDALE AVE                                                                                  DAYTON           OH    45414
CAROL E HAWKINS                                  PO BOX 163                                                                                        GALVESTON        IN    46932‐0163
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 586 of 850
Name                                            Address1                             Address2                  Address3     Address4                 City               State Zip

CAROL E HAYES                                   PO BOX 13674                                                                                         COLUMBUS           OH    43213‐0674
CAROL E JANUSZEWSKI                             92 HERON BAY DR                                                                                      FENTON             MI    48430‐8753
CAROL E KAYYALI                                 6710 AIRFIELD COURT                                                                                  BYRON CENTER       MI    49315‐9495
CAROL E KOHUT TR CAROL E KOHUT LIV TRUST UA     6940 CHILSON RD                                                                                      HOWELL             MI    48843‐7423
10/24/96
CAROL E LONGAN                                  40 POIRIER ST                                                                                        BELLINGHAM         MA    02019
CAROL E LORD                                    1406 MARGARETTE AVE                                                                                  TOWSON             MD    21286‐1549
CAROL E LUDWIG                                  906 RENWOOD DR                                                                                       DAYTON             OH    45429‐4630
CAROL E MATTEY & JAMES E MATTEY JT TEN          5904 DEVONSHIRE DRIVE                                                                                BETHESDA           MD    20816‐3416
CAROL E MC MAHAN                                383 STEWART ST N W                                                                                   WARREN             OH    44483‐2135
CAROL E MCDONALD                                31770 IVY LANE                                                                                       WARREN             MI    48093‐5599
CAROL E MEAGHER                                 1615 SCHEFFER                                                                                        ST PAUL            MN    55116‐1427
CAROL E MILTON                                  1172 MAURER                                                                                          PONTIAC            MI    48342‐1959
CAROL E MORRIS                                  5559 CLOVER LANE                                                                                     TOLEDO             OH    43623‐1666
CAROL E OWENS                                   5414 KEESPORT DR APT 5                                                                               PITTSBURGH         PA    15236‐3040
CAROL E PIPER                                   34 WEST MAIN ST                                                                                      MARCELLUS          NY    13108‐1132
CAROL E RAIRIE                                  3856 ROOT ROAD                                                                                       GASPORT            NY    14067‐9402
CAROL E SCIANNA                                 3212 N HAWTHORNE STREET                                                                              FRANKLIN OARK      IL    60131‐1917
CAROL E SMITH                                   4619 E 10TH                                                                                          KANSAS CITY        MO    64127‐1709
CAROL E STOKER                                  977 WEST 1000 SOUTH                                                                                  WOODS CROSS        UT    84087‐2069
CAROL E THOMPSON                                2701 BLACK LOCUST CT                                                                                 NORMAN             OK    73071‐1740
CAROL E WALLEN & DEWEY WALLEN JT TEN            5563 GREENSBORO WAY                                                                                  GLADWIN            MI    48624‐8115
CAROL E WEBSTER                                 ATTN CAROL CADWELL                   6056 SOUTHBROOK AVE                                             LANSING            MI    48911‐4844
CAROL E WINFIELD & SUSAN W PRICE JT TEN         309 FAIRFIELD                                                                                        STARKVILLE         MS    39759‐4320
CAROL E ZIPAY                                   2280 YO‐CONNEAUT RD                                                                                  FOWLER             OH    44418
CAROL EHLERS STANDISH                           1306 W BYRON                                                                                         CHICAGO            IL    60613‐2819
CAROL ELIZABETH BOAGEY                          409 SALT WIND CT W                                                                                   PONTE VEDRA        FL    32082‐4556
                                                                                                                                                     BEACH
CAROL ELIZABETH HARE                            ATTN CAROL BEEHLER                   6421 BROAD STREET                                               BETHESDA           MD    20816‐2607
CAROL ELIZABETH HELPER                          3704 6TH STREET WEST                                                                                 LEHIGH ACRES       FL    33971
CAROL ELIZABETH SMITH                           ATTN CAROL ELIZABETH S BEASLEY       1830 SAGAMORE DR                                                EUCLID             OH    44117‐2366
CAROL ELIZABETH SYKES                           43 FITZHARDING ROAD HAM GREEN        BRISTOL                                BS20 0EH GREAT BRITAIN
CAROL ELLIS                                     13656 AVE 224                                                                                        TULARE             CA    93274‐9304
CAROL ESKINA                                    983 COUNTY STREET 2976                                                                               BLANCHARD          OK    73010
CAROL F BELL                                    149 BRIDGEWATER CIRCLE                                                                               MIDLAND            TX    79707‐6109
CAROL F BURRIS & JOHN D BURRIS JT TEN           105 COROT DR                                                                                         NOKOMIS            FL    34275‐4226
CAROL F CLARK                                   2026 FLORAL DR                                                                                       WILMINGTON         DE    19810‐3878
CAROL F DUNN                                    987 WEST SHORE RD                                                                                    BRISTOL            NH    03222‐6329
CAROL F GAULT                                   RR 1 BOX 212D                                                                                        LAMONI             IA    50140‐9531
CAROL F GAULT & HOLLY M GAULT JT TEN            C/O MARGARET GAULT KOLESIK           RR1 BOX 212 D                                                   LAMONI             IA    50140‐9531
CAROL F GOLDY                                   C/O CAROL G JONES                    6071 PILGRIMS REST ROAD                                         BROAD RUN          VA    20137‐2317
CAROL F GROVES                                  3428 KUSHOG LAKE RD RR2              MINDEN ON                              K0M 2K0 CANADA
CAROL F HARRIS                                  3486 AUSTIN STREET                                                                                   SARASOTA           FL    34231
CAROL F HOUCHEN                                 719 SOUTH ROBBINS AVE                                                                                FALMOUTH           KY    41040‐1517
CAROL F KENDRICK                                3708 MILLBRAE RD                                                                                     CAMERON PARK       CA    95682‐7728
CAROL F LEWIS                                   24593 HOLT RD                                                                                        ELKMONT            AL    35620‐3851
CAROL F LULL                                    15340 VIVIAN ST                                                                                      TAYLOR             MI    48180‐5022
CAROL F MC CORMACK CUST BENJAMIN A NIEMIERA     7 JENSEN RD                                                                                          SAYREVILLE         NJ    08872
UTMA MA
CAROL F MC CORMACK CUST HEATHER D OLIVERIA      7 JENSEN RD                                                                                          SAYREVILLE         NJ    08872
UTMA MA
CAROL F MC CORMACK CUST LEON M NIEMIERA UTMA    7 JENSEN RD                                                                                          SAYREVILLE         NJ    08872
MA
CAROL F NEUPERT                                 C/O CAROL D CLAYMAN                  3372 MARCELLA AVE                                               STOW               OH    44224‐4639
CAROL F PORTO                                   322 RIDGEWOOD DR                                                                                     SNYDER             NY    14226‐4942
CAROL F RUSSELL                                 4412 MILLARD                                                                                         FREMONT            CA    94538‐2831
CAROL F WHITE                                   1670 SHANNON DRIVE                                                                                   LEWISVILLE         TX    75077‐2430
CAROL F WILLETT                                 26 MAGNIFICO WAY                                                                                     HOT SPRINGS VILL   AR    71909‐7907
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 587 of 850
Name                                             Address1                                 Address2             Address3          Address4          City              State Zip

CAROL FAIRLEY & MARY FAIRLEY JT TEN              1309 W 3RD ST                                                                                     NORTH PLATTE      NE    69101‐3662
CAROL FAUST & KELLY P FAUST JT TEN               2715 MERIWETHER DR                                                                                CHARLOTTESVILLE   VA    22901‐9506

CAROL FAUST & MARK B FAUST JT TEN                2715 MERIWETHER DR                                                                                CHARLOTTESVILLE   VA    22901‐9506

CAROL FRANTZ                                     740 HEATHERIDGE CT                                                                                BRIGHTON          MI    48116‐6715
CAROL FRONTIER & JOHN FRONTIER JT TEN            305 S WELLESLEY LANE                                                                              SCHAUMBURG        IL    60193‐1146
CAROL FROWNFELTER JENSEN                         340 LONG RD                                                                                       PITTSBURGH        PA    15235‐3147
CAROL G ADGIE                                    7216 URSULA AVE                                                                                   BROOKSVILLE       FL    34601
CAROL G BLOCK & ROBIN C BLOCK SHULTZ JT TEN      2431 ROUNDUP RD                                                                                   NORCO             CA    91760
CAROL G ELKINS TR UA 09/08/92 CAROL G ELKINS     6721 N GARFIELD                                                                                   GLADSTONE         MO    64118‐3749
REVOCABLE TRUST
CAROL G FINNEY                                   8160 ENGLEWOOD N E                                                                                WARREN            OH    44484‐1967
CAROL G HOLLEY                                   14830 OXFORD RD                                                                                   GERMANTOWN        OH    45327‐9738
CAROL G HOLLEY & THOMAS W HOLLEY JT TEN          14830 OXFORD RAOD                                                                                 GERMANTOWN        OH    45327‐9738
CAROL G HOPKINS                                  509 SHEALY RD                                                                                     LEESVILLE         SC    29070
CAROL G IMPERI                                   PO BOX 248                                                                                        BELMONT           MI    49306
CAROL G MOORE                                    PO BOX 37                                                                                         PERKINSTON        MS    39573‐0001
CAROL G PAGE                                     114 QUEEN MARY RD                        KINGSTON ON                            K7M 2A5 CANADA
CAROL G SACKETT & CHARLES E SACKETT JT TEN       1481 MAGELLAN CIR                                                                                 ORLANDO           FL    32818‐6738
CAROL G TOLOMEO                                  3318 GERRYVILLE PIKE                                                                              PENNSBURG         PA    18073‐2613
CAROL GALLO CUST DEBRA ANNE GALLO UGMA MA        34 WILDER LANE                                                                                    LEOMINSTER        MA    01453‐6640

CAROL GALLO CUST LAURA ANNE GALLO UGMA MA        34 WILDER LANE                                                                                    LEOMINSTER        MA    01453‐6640

CAROL GALLO CUST LAURA GALLO UGMA NY             34 WILDER LANE                                                                                    LEOMINSTER        MA    01453‐6640
CAROL GALLO CUST LISA GALLO UGMA MA              34 WILDER LANE                                                                                    LEOMINSTER        MA    01453‐6640
CAROL GALLO CUST LISA GALLO UGMA NY              34 WILDER LANE                                                                                    LEOMINSTER        MA    01453‐6640
CAROL GAY OLSON                                  1037 LOS ARABIS LANE                                                                              LAFAYETTE         CA    94549‐2817
CAROL GENSE                                      1644 WEXFORD CT                                                                                   WOODBURY          MN    55125‐3347
CAROL GERALYN MCMILLAN                           326 EDISON BLVD                                                                                   PORT HURON        MI    48060‐2229
CAROL GIBBONS                                    13221 MEADOW LARK                                                                                 ORLAND PARK       IL    60462‐1850
CAROL GILBERT                                    345 EAST 80TH ST APT 7C                                                                           NEW YORK          NY    10021‐0663
CAROL GILLEN & JAMES GILLEN JT TEN               3561 INDIAN SPRINGS RD                                                                            DOYLESTOWN        PA    18902‐1407
CAROL GILLEN CUST STEPHANIE GILLEN UGMA PA       3561 INDIAN SPRINGS RD                                                                            DOYLESTOWN        PA    18902‐1407
CAROL GLASSER                                    48794 KINGS DR                                                                                    SHELBY TOWNSHIP   MI    48315‐4038

CAROL GONSOLIN EDELMANN                          PO BOX 123                                                                                        LOOMIS            CA    95650‐0123
CAROL GORDON                                     209 WIND HOLLOW CT                                                                                MAHWAH            NJ    07430‐2314
CAROL GOWER                                      111 RIDGE AV                                                                                      DAYTON            OH    45405‐3846
CAROL GRAY CURRY WARTENBERG                      35 CONRAD HILLS ROAD                                                                              HAVANA            FL    32333‐3838
CAROL GREEN                                      439 WADE HAMPTON DR                                                                               CHARLESTON        SC    29412‐9147
CAROL GRIBBLE                                    1754 REDWOOD DR                                                                                   VINELAND          NJ    08361‐6749
CAROL GURLIACCI                                  155 MIDDLESEX RD                                                                                  DARIEN            CT    06820‐3912
CAROL H BEAM                                     267 IVY DRIVE                                                                                     BRISTOL           CT    06010‐3308
CAROL H BEAM & DONALD W BEAM JT TEN              267 IVY DRIVE                                                                                     BRISTOL           CT    06010‐3308
CAROL H BEHRMAN TR CAROL H BEHRMAN REVOCABLE     422 HARBORLIGHTS                                                                                  TINTON FALLS      NJ    07753
TRUST UA 01/24/97
CAROL H BJANKINI                                 1615 EAST CENTRAL RD # 315B                                                                       ARLINGTON         IL    60005‐3350
                                                                                                                                                   HEIGHTS
CAROL H CATANZARO & ANDREW C CATANZARO JT TEN 157 GOLDEN SHADOW CIR                                                                                THE WOODLANDS     TX    77381‐4161

CAROL H FICK                                     19 WILSHIRE TER                                                                                   SAINT LOUIS       MO    63119‐4603
CAROL H GIBBS                                    7304 HARDING RD                                                                                   ELGIN             IA    52141‐9680
CAROL H HANSON                                   150 KELTON RD                                                                                     WEST GROVE        PA    19390‐9439
CAROL H HERRMANN                                 205 WASHBURN DR                                                                                   EAST SYRACUSE     NY    13057‐1633
CAROL H HORN                                     ATTN JEROLD I HORN                       STE 515              124 SW ADAMS                        PEORIA            IL    61602‐1320
CAROL H JEWETT                                   2324 SHANNON                                                                                      HOUSTON           TX    77027‐3921
CAROL H LESNEK‐COOPER                            12922 SUTHERLAND                                                                                  BRIGHTON          MI    48116‐8515
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 588 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

CAROL H LYNCH                                   1277 FRUIT COVE DR                                                                              JACKSONVILLE     FL    32259
CAROL H MADDOX                                  1821 ALBANS RD                                                                                  HOUSTON          TX    77005‐1705
CAROL H MALEYKO                                 2253 HOLMES CRESCENT                   TECUMSEH ON                            N8N 4R1 CANADA
CAROL H MCLAUGHLIN TR LIVING TRUST 11/07/89 U‐A 39718 DUN ROVIN DR                                                                              NORTHVILLE       MI    48168‐3478
CAROL H MCLAUGHLIN
CAROL H ORLUCK                                  5300 ZEBULON RD                        UNIT 64                                                  MACON            GA    31210‐9150
CAROL H ROGERS TR COTTRELL J ROGERS U‐W FRANCES 75 W TUSKEENA ST                                                                                HAYNEVILLE       AL    36040‐2072
R ROBINSON
CAROL H RUSSELL                                 392 FAIRGROUND BLVD                    APT 202                                                  CANFIELD         OH    44406
CAROL H SELLA                                   156 EVERETT RD                         PO BOX #190                                              HARRISVILLE      MI    48740‐0190
CAROL H SELMEYER                                PO BOX 21                                                                                       MARKLEVILLE      IN    46056‐0021
CAROL H WOLOSKY                                 73 FAIRMONT RD                                                                                  PARSIPPANY       NJ    07054‐3914
CAROL HAHN                                      1108 E CARTER DR                                                                                TEMPE            AZ    85282‐7108
CAROL HAMILTON CUST YASSAMIN DAVOODI UTMA MD 4618 BURLINGTON RD                                                                                 HYATTSVILLE      MD    20781‐2214

CAROL HANNA BARNARD & JOHN Q BARNARD JR JT TEN 645 NEIL AVE                            APT 711                                                  COLUMBUS         OH    43215‐1648

CAROL HARRIS KANN                                64 BISHOPSGATE RD                                                                              NEWTON           MA    02459‐2031
CAROL HARUE YAMAMURA                             1556 PIIKOI ST #1002                                                                           HONOLULU         HI    96822‐4011
CAROL HELEN PASTOR                               3613 HAWAII CT                                                                                 PLEASANTON       CA    94588‐4915
CAROL HELEN PERTA                                1195 HALLINAN ST                                                                               LAKE OSWEGO      OR    97034‐4933
CAROL HERRON & BOBBY J HERRON JT TEN             5544 HAUSERMAN RD                                                                              PARMA            OH    44130‐1270
CAROL HEUERMAN & BOB HEUERMAN JT TEN             3275 PARKHILL DR                                                                               CINCINNATI       OH    45248‐2839
CAROL HEUERMAN & BOB HEUERMAN JT TEN             3275 PARKHILL DR                                                                               CINCINNATI       OH    45248‐2839
CAROL HILBERT ELLIS                              1103 LORE AVE                                                                                  WILM             DE    19809‐2718
CAROL HODNETT & STEPHANIE L KIMBALL & ROBERT H   8024 ARCHER AVE                                                                                FAIR OAKS        CA    95628‐5907
KIMBALL TEN COM
CAROL HOLZMAN CUST ERIC HOLZMAN UGMA NY          5 TULANE COURT                                                                                 FORT SALONGA     NY    11768‐2556
CAROL HOOPER MC KELVIE                           1744 SEVERN FOREST DRIVE                                                                       ANNAPOLIS        MD    21401‐2946
CAROL HULETT                                     PO BOX 3407                                                                                    SIERRA VISTA     AZ    85636‐3407
CAROL I ELLIOTT                                  1 LORRAINE COURT                      BOWMANVILLE ON                         L1C 3L5 CANADA
CAROL I ELMORE & CARY M ELMORE JT TEN            10617 S KOLIN                                                                                  OAK LAWN         IL    60453‐5307
CAROL I HAWKINS                                  5110 EXETER                                                                                    SHREWSBURY       MO    63119‐4340
CAROL I NELSON                                   8643 FRAN DOR LANE                                                                             NORTHVILLE       MI    48168
CAROL I POLLOCK                                  580 E MOUNT HOPE AVE                                                                           LANSING          MI    48910‐9146
CAROL I WILLIAMS                                 315 ST CLAIR STREET #206                                                                       FRANKFORT        KY    40514
CAROL IRMA CHAPMAN CUST DAVID CHARLES            8630 FERRIS AVENUE                    UNIT 401                                                 MORTON GROVE     IL    60053‐2835
CHAPMAN UGMA IL
CAROL J ADAMS                                    49 KEATING DR                                                                                  ROCHESTER        NY    14622‐1521
CAROL J ALLEN                                    4151 BYRUM RD                                                                                  ONONDAGA         MI    49264‐9767
CAROL J ALTORFER                                 157 BROOKSIDE AVE                                                                              RIVER VALE       NJ    07675‐6209
CAROL J ANDERSON                                 ATTN CAROL ANDERSON LESCH             238 MERION RD                                            MERION STATION   PA    19066‐1751
CAROL J ANDREWS                                  405 DAWNVIEW AVE                                                                               DAYTON           OH    45431‐1806
CAROL J BACKMAN                                  100 N FRANKLIN ST                     APT 308                                                  JANESVILLE       WI    53548‐2966
CAROL J BALL & SUSAN E BALL JT TEN               14 ROSEHILL AVE                                                                                SMETHPORT        PA    16749‐1512
CAROL J BARTLEY                                  950W 2611S                                                                                     RUSSIAVILLE      IN    46979
CAROL J BELL CUST MATTHEW W BELL UTMA WI         637 N 23RD STREET                                                                              LACROSSE         WI    54601‐3853
CAROL J BENNETT                                  12286 GIRDLED RD                                                                               PAINESVILLE      OH    44077‐8809
CAROL J BOND                                     1570 ST ANTHONY DR                                                                             FT WRIGHT        KY    41011‐3753
CAROL J BOTMA                                    3253 EASTERN AVE NE                                                                            GRAND RAPIDS     MI    49525‐2526
CAROL J BOULRIS                                  203 COUNTRY WAY                                                                                NEEDHAM          MA    02492‐1419
CAROL J BOWMAN                                   4994 DEQUINCEY DR                                                                              FAIRFAX          VA    22032‐2508
CAROL J BOWMAN & SUSAN L B HICKS JT TEN          4334 WOODROW                                                                                   BURTON           MI    48509‐1126
CAROL J BRUCE                                    2712 HALLMARK LANE                                                                             CENTERVILLE      OH    45440‐2213
CAROL J BURNS                                    510 CHURCH ST                                                                                  ST JOHNS         MI    48879‐2114
CAROL J CAZEE                                    PO BOX 113                                                                                     ALLISON          TX    79003‐0113
CAROL J COLWELL                                  1666 SANDPOINTE RD                                                                             MUNISING         MI    49862‐1411
CAROL J CONWAY                                   3825 NE 140TH TERRACE CIRCLE                                                                   EDMOND           OK    73013‐7219
CAROL J COUNCELLER                               101 NORTH 8TH AVE                                                                              BEACH GROVE      IN    46107‐1207
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 589 of 850
Name                                              Address1                                Address2                  Address3     Address4          City               State Zip

CAROL J CRAVEIRO                                  2E                                      1030 DUNLOP                                              FOREST PARK        IL    60130‐2200
CAROL J CRISMON                                   6715 S 110TH EAST AVE                                                                            TULSA              OK    74133‐2678
CAROL J DAVEY & DONALD E DAVEY JT TEN             13115 W 55TH ST                                                                                  SHAWNEE            KS    66216
CAROL J DE POINTE                                 305 MYAKKA LOOP                                                                                  RIVERVIEW          FL    33569‐5908
CAROL J DEBLASIO                                  54 BERKELEY SQUARE                                                                               SUFFERN            NY    10901‐4423
CAROL J DEVAULT                                   3966 DONLEY RD                                                                                   ROCHESTER HILLS    MI    48309‐4106
CAROL J DEZELL                                    1510 WOODLAND DR                                                                                 PITTSBURG          CA    94565‐5634
CAROL J DICE                                      3330 E CO RD 100 SO                                                                              KOKOMO             IN    46902
CAROL J DUGGER                                    147 NICOLE CIRCLE                                                                                ROCKMART           GA    30153
CAROL J EBERT                                     5007 FLOWER CT                                                                                   PRESCOTT           AZ    86301‐5857
CAROL J ERTEL                                     1717 YORKTOWN PL                                                                                 PITTSBURGH         PA    15235‐4927
CAROL J FLOEN                                     1107 W SOUTH ST                                                                                  BLUFFTON           IN    46714‐2229
CAROL J FOBES & PAUL G FOBES JT TEN               3123 HARTS RUN RD                                                                                ALLISON PARK       PA    15101‐1507
CAROL J FOKINE                                    1715 NE 60TH AV                                                                                  PORTLAND           OR    97213‐4125
CAROL J FRIAR                                     661 DURHAM ROAD                                                                                  WRIGHTSTOWN        PA    18940‐9679
CAROL J GAREY                                     10231 E SADDLE HORN TRL                                                                          SCOTTSDALE         AZ    85255‐2353
CAROL J GARNONS                                   394 E 308TH ST                                                                                   WILLOWICK          OH    44095‐3718
CAROL J GAST & BRADLEY S GAST & LANCE R GAST JT   5702 ISAIAH ST                                                                                   WESTON             WI    54476‐1692
TEN
CAROL J GATES                                     1626 MASON ST                                                                                    FLINT              MI    48503‐1111
CAROL J GIBBS                                     27283 TERRYTOWN RD                                                                               SUN CITY           CA    92586‐3210
CAROL J GOGA                                      3380 CARDINAL DR                                                                                 SHARPSVILLE        PA    16150‐9235
CAROL J GORDON                                    95 TAW JEFCOAT RD                                                                                SOSO               MS    39480‐5023
CAROL J GRAF                                      410 HYMAN AVE                                                                                    W ISLIP            NY    11795‐4107
CAROL J GREGORY                                   1421 STATE ST                                                                                    WASHINGTON         IN    47501‐3754
CAROL J GRIFFIN                                   600 NE 44TH ST                                                                                   KANSAS CITY        MO    64116
CAROL J HAIG                                      C/O CAROL J SWANSON                     1908 PIPE ST                                             SANDUSKY           OH    44870‐5043
CAROL J HARRIS                                    698 RADAR ST                                                                                     XENIA              OH    45385‐2034
CAROL J HEPTING                                   1770 HEPTING TRAIL                                                                               BARTON CITY        MI    48705‐9797
CAROL J HOFFMEYER                                 ATTN CAROL J HOFFMEYER POWERS           1060 HOMEWOOD BLVD J202                                  DELRAY BEACH       FL    33445‐5508
CAROL J HUGHES                                    16 FARM RIDGE COURT                                                                              BALDWIN            MD    21013‐9781
CAROL J HUNTLEY                                   11420 WEST CENTRAL                                                                               SWANTON            OH    43558‐8521
CAROL J JENKINS                                   6721 E HIGH STREET                                                                               LOCKPORT           NY    14094‐5306
CAROL J JOBERT                                    1570 ST ANTHONY DR                                                                               FORT WRIGHT        KY    41011‐3753
CAROL J KANTANY                                   ATTN CAROL K CASARTELLO                 118 DUXBURY LANE                                         LONGMEADOW         MA    01106‐2008
CAROL J KEITH & DAVID P KEITH JT TEN              9080 PICKEREL LAKE ROAD                                                                          PETOSKEY           MI    49770‐9643
CAROL J KEITH & KRISTIN J KEITH JT TEN            9080 PICKEREL LAKE ROAD                                                                          PETOSICEY          MI    49770‐9643
CAROL J KINCAID                                   PO BOX 175                                                                                       GENESEE            MI    48437
CAROL J KINSELLA                                  725 LORETTA DR                                                                                   O'FALLON           MO    63366‐2162
CAROL J KIRBY                                     19 MENLO PARK DR                                                                                 BELLEVILLE         MI    48111‐2918
CAROL J KLENOW & WADE L KLENOW & MICHELLE J       10500 COOLIDGE RD                                                                                GOODRICH           MI    48438‐9026
WILLIAMS JT TEN
CAROL J KOZLOWSKI                                 19001 STATE RD                                                                                   N ROVALTON         OH    44133‐6434
CAROL J KRAFT                                     100 SERENCE CT                                                                                   CARY               NC    27518‐9184
CAROL J LAMBERT & KENNETH E LAMBERT JT TEN        593 SEA SHELL LANE                                                                               LAS VEGAS          NV    89110‐3040
CAROL J LAPPIN                                    6419 E REYNOLDS                                                                                  HASLETT            MI    48840‐8933
CAROL J LIGUORI                                   24 PEACHTREE LANE                                                                                HUNTINGTON         NY    11746‐7426
                                                                                                                                                   STATION
CAROL J LUCAS                                     55 HARBOR HILL DRIVE                                                                             ROCHESTER          NY    14617‐1467
CAROL J LYTLE                                     3129 E GOLDFINCH WAY                                                                             CHANDLER           AZ    85286‐5731
CAROL J MACEY                                     12329 MAIR DRIVE                                                                                 STERLING HEIGHTS   MI    48313‐2573

CAROL J MARTALOCK                                 7016 E RYAN RD                                                                                   MILTON             WI    53563‐9705
CAROL J MCCORMICK TOD JOE BOVACONTI & DON         1384 JUSTERINI DR                                                                                BALLWIN            MO    63011‐4243
BOVACONTI
CAROL J MCNUTT                                    124 GARLAND ST                                                                                   DAVISON            MI    48423‐1357
CAROL J MELLOTT                                   48 BITTERSWEET DRIVE                                                                             COLUMBIANA         OH    44408‐1618
CAROL J MILLER                                    5416 CRESTED BUTTE CIR                                                                           ARLINGTON          TX    76017‐1955
CAROL J MOSES                                     1472 CANAL                                                                                       KALAMAZOO          MI    49002‐7504
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 590 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

CAROL J NANCE                                    3137 INDEPENDENCE DR SO              LOT #76                                                  ELWOOD            IN    46036‐8999
CAROL J NEWTON                                   196 LAURA LN                                                                                  LINDEN            MI    48451‐8446
CAROL J NICHOLS & GEORGE C NICHOLS JR JT TEN     1727 E 35 AVE                                                                                 SPOKANE           WA    99203‐4023
CAROL J O'BRIEN                                  411 E MONTERAY AVE                                                                            DAYTON            OH    45419‐2654
CAROL J ORTO                                     29 BERRY LA                                                                                   N CHILI           NY    14514‐1101
CAROL J PAGE                                     1901 W 16TH ST                                                                                SAULT STE MARIE   MI    49783‐1396
CAROL J PARKER                                   4024 CHISHOLM TRL                                                                             DRYDEN            MI    48428‐9629
CAROL J PATT                                     2141 VALPARAISO BLVD                                                                          NO FORT MEYERS    FL    33917‐6789
CAROL J PELKEY                                   2010 CRESCENT LK RD                                                                           WATERFORD         MI    48329‐3729
CAROL J PETERMAN                                 530 EATON STREET                                                                              LONDON            OH    43140
CAROL J POLANCIC                                 76‐08 269TH ST                                                                                NEW HYDE PARK     NY    11040‐1414
CAROL J ROBERTS                                  2275 N MILFORD RD                                                                             HIGHLAND          MI    48357‐3863
CAROL J RUSSELL                                  9311 BRYANT AVE S                                                                             BLOOMINGTON       MN    55420‐3403
CAROL J SAMANEN                                  400 BROOKS POND RD                   #302                                                     LEOMINSTER        MA    01453‐4890
CAROL J SCHANK                                   4408 CROSBY ROAD                                                                              FLINT             MI    48506‐1418
CAROL J SCHWICHTENBERG                           1905 COTTAGE AVE                                                                              BELOIT            WI    53511‐2921
CAROL J SHUTTLEWORTH                             2725 EMBASSY ROW                     APT 423                                                  INDIANAPOLIS      IN    46224‐2986
CAROL J SIMMONS                                  613 FRANK ST                                                                                  ADRIAN            MI    49221‐3016
CAROL J SKAROSI                                  PO BOX 214                                                                                    MIMS              FL    32754‐0214
CAROL J SKUSE                                    6437 AMETHYST ST                                                                              RCH CUCAMONGA     CA    91737‐3511

CAROL J SLOANE                                  9067 BROADLEDGE                                                                                MACEDONIA         OH    44056‐1303
CAROL J SNIDER                                  5460 STREEFKERK DR                                                                             WARREN            MI    48092‐3120
CAROL J SPRANZ & WILLIAM S SPRANZ JT TEN        273 GARDEN PL                                                                                  ORADELL           NJ    07649‐2217
CAROL J STANDING                                5878 JAMIAH DRIVE                                                                              SALT LAKE CITY    UT    84123‐5101
CAROL J STOFKA TOD DIANE MUSSEY SUBJECT TO STA  22182 MEADOWNORTH COURT                                                                        STRONGSVILLE      OH    44149
TOD RULES
CAROL J SULLIVAN                                ATTN CAROL J FEIS                     250 MCGUIRE RD                                           ROCHESTER         NY    14616‐2139
CAROL J SWENSON                                 1332 SIENNA CROSSING                                                                           JANESVILLE        WI    53546‐3746
CAROL J TARADOINA                               C/O CAROL J COSTA                     36 MARGARET ST                                           TIVERTON          RI    02878‐3823
CAROL J TAYLOR                                  3196 MAPLE RD                                                                                  WIXOM             MI    48393‐1817
CAROL J THOMAS                                  790 BOYLSTON STREET APT 15G                                                                    BOSTON            MA    02199‐7915
CAROL J THOMAS                                  5125 COUNTY ROAD 2                                                                             EDGERTON          OH    43517‐9774
CAROL J TRACEY                                  8409 VILLA MANOR DR                                                                            GREENTOWN         IN    46936‐1448
CAROL J VERACOECHEA & JOHN F VERACOECHEA JT TEN 82‐31 61ST DR                                                                                  MIDDLE VILLAGE    NY    11379‐1418

CAROL J WALKER                                   813 LAKE SHORE DR                                                                             MITCHELLVILLE     MD    20721‐2911
CAROL J WALKER & WINFRED E WALKER JT TEN         508 RODNEY AVE                                                                                FLUSHING          MI    48433‐1325
CAROL J WATSON                                   18535 MAPLE AVE                                                                               COUNTRY CLUB      IL    60478‐5694
                                                                                                                                               HILLS
CAROL J WESSON REYNOLDS                          67 SCOTT ST                          WHITBY ON                              L1N 3L2 CANADA
CAROL J WHITAKER                                 7069 LAVENDER LN                                                                              WATERFORD         MI    48327‐4416
CAROL J WILCOX                                   20 FAIRMONT ST                                                                                WETHERSFIELD      CT    06109‐2211
CAROL J WILLIAMS                                 PO BOX 43                                                                                     ASHER             OK    74826‐0043
CAROL J WISNIEWSKI                               ATTN CAROL JEAN JOHNSON              950 N LAKE DR                                            WATERTOWN         SD    57201‐5522
CAROL J YOUNTS                                   2006 VINEWOOD                                                                                 BRYAN             TX    77802‐1845
CAROL J ZARZECK                                  898 SUSCON ROAD                                                                               PITTSTON          PA    18640‐9539
CAROL J ZEEK                                     13077 GOLFSIDE CT                                                                             CLIO              MI    48420‐8281
CAROL J ZINK                                     8685 EDGEWOOD                                                                                 COMMERCE TWP      MI    48382‐4442
CAROL JAEGER CUST ERIN MICHELLE JAEGER UGMA MI   3143 CRANSTON DRIVE                                                                           DUBLIN            OH    43017‐1717

CAROL JAEGER CUST ZACHARY JAEGER UGMA MI         3143 CRANSTON DRIVE                                                                           DUBLIN            OH    43017‐1717
CAROL JANE AMANO                                 1829 ORIOLE DRIVE                                                                             COSTA MESA        CA    92626‐4749
CAROL JANE BATMAN                                5318 OCHS AVE                                                                                 INDIANAPOLIS      IN    46254‐3568
CAROL JEAN BEVERLY                               504 SOUTH 6TH AVE                                                                             WEST BEND         WI    53095‐3912
CAROL JEAN CLARK & GARY DONALD CLARK JT TEN      6748 CROSS CREEK DR                                                                           WASHINGTON TWP    MI    48094‐2813

CAROL JEAN CRESS                                 214 BUDD FAIRMONT                                                                             FAIRMONT          MN    56031
CAROL JEAN FUELLING                              160 COVENTRY AVE                                                                              ALBERTSON         NY    11507‐2036
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 591 of 850
Name                                           Address1                               Address2             Address3          Address4          City             State Zip

CAROL JEAN KISSANE                              70 QUEEN ANNE DR                                                                               BASKING RIDGE    NJ    07920
CAROL JEAN MARTIN TR CAROL JEAN MARTIN TRUST UA 1824 W OCEANFRONT                                                                              NEWPORT BCH      CA    92663‐4520
12/21/62
CAROL JEAN MC INNIS                             1032 POST RD                                                                                   BOWDOINHAM       ME    04008‐6020
CAROL JEAN RUSSELL                              20 NEAR WATER LANE                                                                             RIVERSIDE        CT    06878‐1105
CAROL JEAN W THOMPSON                           5037 N BELSAY RD                                                                               FLINT            MI    48506‐1669
CAROL JEAN WERBACHOWSKI & EDWARD MARTIN         3224‐83RD AVE N                                                                                BROOKLYN PARK    MN    55443‐2731
WERBACHOWSKI SR JT TEN
CAROL JEAN WINER                                6092 W MYRTLE                                                                                  FLUSHING         MI    48433‐2326
CAROL JEAN WORDEN                               12495 CHURCH ST                                                                                BIRCH RUN        MI    48415
CAROL JEFFAY CUST KEITH JEFFAY UGMA IL          5810 DENA DR                                                                                   HILLIARD         OH    43026
CAROL JOAN FREEDMAN                             804 SOUTH 2ND AVENUE                                                                           HIGHLAND PARK    NJ    08904‐2237
CAROL JOHNSON BRODERSON                         3919 RIVERSIDE DR                                                                              INDEPENDENCE     VA    24348‐4808
CAROL JOHNSTON                                  15650 INKSTER RD                                                                               ROMULUS          MI    48174‐2919
CAROL JONES                                     311 N 4TH ST                                                                                   W BRACH          IA    52358‐9658
CAROL JONES COLLINS                             92 GREENWOOD DR                                                                                MILLBURN         NJ    07041‐1428
CAROL JUDITH NOYE                               12234 MACINTOSH DR                                                                             FENTON           MI    48430‐3531
CAROL K BRADDOCK                                1704 RIDGE RD                                                                                  IOWA CITY        IA    52245‐1630
CAROL K BROCKMAN                                2805 STATE RD TT                                                                               NEW BLOOMFIELD   MO    65063‐1643

CAROL K CARTER                                 15 BOARDMAN ROAD                                                                                BRISTOL          CT    06010
CAROL K DEHAMER                                PO BOX 175                                                                                      BELMONT          MI    49306‐0175
CAROL K GREENHALGH & SHARON L GREENHALGH JT    3233 CIRCLE DRIVE                                                                               PGH              PA    15227‐4201
TEN
CAROL K NECKEL & ROBERT K NECKEL JT TEN        4479 NAMBE ARC                                                                                  LAS CRUCES       NM    88011
CAROL K NOGA                                   4740 PARKMAN RD N W                                                                             WARREN           OH    44481‐9138
CAROL K SABOL                                  1983 OLD FORGE ROAD                                                                             KENT             OH    44240‐6780
CAROL K SOVERN CUST WILLIAM SCHANGBORN GAUS    2409 HAWTHORNE LN                                                                               FLOSSMOOR        IL    60422‐1505
UGMA IA
CAROL K SZALACH                                6903 LAURA ST                                                                                   LYONS FALLS      NY    13368‐1802
CAROL K VOGELMAN & BERNARD VOGELMAN JT TEN     894 IRIS DR                                                                                     NORTH BELLMORE   NY    11710‐1031

CAROL KAMADA                                   5364 HIDDEN GLEN DR                                                                             ROCKLIN          CA    95677‐3227
CAROL KAYE                                     365 WEST END AVENUE                                                                             NEW YORK         NY    10024‐6511
CAROL KELESKE                                  6221 LINCOLNSHIRE DR                                                                            RACINE           WI    53403‐9734
CAROL KELLEY                                   120 S AVENA                                                                                     LODI             CA    95240‐3307
CAROL KELLEY CUST ROBERT KELLEY UGMA MA        8 LEXINGTON ST                                                                                  CANTON           MA    02021‐3641
CAROL KELLEY CUST STEPHEN KELLEY UGMA MA       2154 CANYON CT                                                                                  HEBRON           KY    41048‐8499
CAROL KELLEY CUST SUSAN KELLEY UGMA MA         8 LEXINGTON ST                                                                                  CANTON           MA    02021
CAROL KELLY                                    PO BOX 6748                                                                                     SAGINAW          MI    48608‐6748
CAROL KOHLMANN                                 7647 LANDAU LANE                                                                                INDIANAPOLIS     IN    46227‐2516
CAROL KOWALCZYK ADM UW SYLVIA KOWALCZYK        2306 W 18 PL                                                                                    CHICAGO          IL    60608‐2509

CAROL KRAMER                                   506 WICKHAM WAY                                                                                 GAHANNA          OH    43230‐2233
CAROL KRAMER                                   9 JAY ST                                                                                        OLD TAPPAN       NJ    07675‐6910
CAROL KURZWEIL                                 650 SOUTH RANCHO SANTE FE RD 329                                                                SAN MARCOS       CA    92078
CAROL L AVERY                                  1456 S VAUGHN CIRCLE                                                                            AURORA           CO    80012‐4362
CAROL L BARENDT                                10798 WEST 68TH WAY                                                                             ARVADA           CO    80004‐1412
CAROL L BARNES                                 13580 DONNYBROOK DR                                                                             HAGERSTOWN       MD    21742‐2503
CAROL L BAUM                                   430 SALT SPRINGS RD                                                                             SYRACUSE         NY    13224‐1527
CAROL L BAUMGARDNER                            627 WAYNE ST                                                                                    JACKSON          MI    49202‐3066
CAROL L BECK                                   5805 HARPER RD                                                                                  HOLT             MI    48842‐8617
CAROL L BOHL CUST AMANDA BOHL UGMA MI          25430 FOURTH ST                                                                                 GROSSE ILE       MI    48138‐1802
CAROL L BOOTH                                  6N 111 KEENEY ROAD                                                                              KEENEVILLE       IL    60172‐3202
CAROL L BORLAND                                11095 BEECHWOOD DR                                                                              KEWADIN          MI    49648‐8945
CAROL L BRAY                                   3335 WEIGL RD                                                                                   SAGINAW          MI    48609‐9792
CAROL L BRESLIN EX EST MARY L BRESLIN          327 OAK GLEN COURT                                                                              MARTINEZ         CA    94553
CAROL L BROWN                                  10195 HOLT HWY                                                                                  DIMONDALE        MI    48821‐9667
CAROL L BROWN                                  1621 E BIG BEAR BLVD                                                                            BIG BEAR CITY    CA    92314
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 592 of 850
Name                                            Address1                             Address2             Address3          Address4          City              State Zip

CAROL L BROWN                                   8050 PEPPERWOOD DR                                                                            GRAND BLANC       MI    48439‐1879
CAROL L BURKE                                   3320 MADELON CT                                                                               FLINT             MI    48506‐2125
CAROL L BURKE & DAVID A BURKE JT TEN            18691 GLENMORE                                                                                REDFORD           MI    48240‐1740
CAROL L BURKE & RICHARD E BURKE JT TEN          3320 MADELON CT                                                                               FLINT             MI    48506‐2125
CAROL L CASEY                                   PO BOX 2061                                                                                   WARREN            OH    44484‐0061
CAROL L COOPER                                  1686 N COLLEGE RD                                                                             MASON             MI    48854‐9319
CAROL L CORNWELL                                54 EAST ROAD                                                                                  CHESTERTON        IN    46304‐1035
CAROL L CORNWELL CUST MICHAEL ANDREW            54 EAST RD                                                                                    CHESTERTON        IN    46304‐1035
CORNWELL UTMA IN
CAROL L CROSS                                   16532 MILLWOOD PL                                                                             TYLER             TX    75703
CAROL L CROSSNOE                                5381 GENESEE RD                                                                               FLINT             MI    48506‐4528
CAROL L DAVIDSON                                470 WINFIELD SCOTT DRIVE                                                                      WINFIELD          IL    60190
CAROL L DEL CARLO                               874 OPHIR PEAK                                                                                INCLINE VILLAGE   NV    89451‐9520
CAROL L DEW                                     12380 COOLIDGE RD                                                                             GOODRICH          MI    48438‐9748
CAROL L DISALVO                                 2901 COUNTY LINE RD                  APT I                                                    DAYTON            OH    45430‐1972
CAROL L DREHER                                  2548                                 LAKERIDGE DR                                             COLUMBIA          TN    38401‐7426
CAROL L DUDLEY                                  2415 FERNDOWN DR                                                                              MIAMISBURG        OH    45342‐7419
CAROL L DULL                                    325 N DIVISION                                                                                SPRING LAKE       MI    49456‐1677
CAROL L EIFERT                                  715 N PUTMAN                                                                                  WILLIAMSTON       MI    48895‐1062
CAROL L FOSSUM                                  625 CLARK AVE                                                                                 SO MILWAUKEE      WI    53172‐4033
CAROL L FOSTER                                  2559 PETERBORO ROAD                                                                           WEST BLOOMFIELD   MI    48323‐3119

CAROL L FREEMAN                                 1408 VILLAGE CT                                                                               BUFFALO GROVE     IL    60089‐6852
CAROL L GARNECKI                                128 LAKEWOOD RD                                                                               TUNKHANNOCK       PA    18657‐6108
CAROL L GIBSON                                  4141 E 200 S                                                                                  KOKOMO            IN    46902‐4276
CAROL L GORICKI                                 5969 KENNEDY RD                                                                               LOWELLVILLE       OH    44436‐9528
CAROL L GREENE                                  48 STANTON CIRCLE                                                                             NEW ROCHELLE      NY    10804‐1217
CAROL L GRODY & RONALD L GRODY JT TEN           5906 ASHLEY AVE                                                                               BELDING           MI    48809
CAROL L GUEST                                   10015 GROH #3                                                                                 GROSSE ILE        MI    48138‐1640
CAROL L HAMILL                                  121 OCTOBER HILL ROAD                                                                         HAMDEN            CT    06518‐1161
CAROL L HOBERTY                                 1804 FRIENDSHIP DR                                                                            IDIANAPOLIS       IN    46217‐4434
CAROL L HOPKINS                                 RT 98                                1995 CREEK RD                                            ATTICA            NY    14011‐9617
CAROL L HOWARD                                  5260 N ROAD 625 W                                                                             BARGERSVILLE      IN    46106‐9179
CAROL L IDE & MARTIN F IDE JT TEN               655 VANCE DR                                                                                  LOWER BURRELL     PA    15068‐3329
CAROL L JANCE                                   13300 VILLAGE PARK DRIVE             APT 1092                                                 SOUTHGATE         MI    48195‐2739
CAROL L JOHNSON                                 2235 PARLIAMENT DR                                                                            COLORADO SPGS     CO    80920‐5303
CAROL L KILLIAN                                 PO BOX 735                                                                                    PITTSFIELD        MA    01202‐0735
CAROL L KOROGI REEVES                           7273 GORDON DR                                                                                EDEN PRAIRIE      MN    55346‐3137
CAROL L KRAFT                                   PO BOX 8251                                                                                   SOUTH             WV    25303‐0251
                                                                                                                                              CHARLESTON
CAROL L LANOUX                                  2312 EMILY'S WAY                                                                              GREEN COVE        FL    32043‐5004
                                                                                                                                              SPRINGS
CAROL L LE GANT                                 987 PORTSMITH LN                                                                              BOLINGBROOK       IL    60440‐5212
CAROL L LOCKARD                                 209 HIGH ST                                                                                   EAST HARTFORD     CT    06118‐3610
CAROL L LOMONACO                                2231 BANNER DR                                                                                WYOMING           MI    49509‐1925
CAROL L MARTOF                                  PO BOX 92                                                                                     BROOKFIELD        OH    44403‐0092
CAROL L MATUSZAK                                6 N 111 KEENEY RD                                                                             KEENEYVILLE       IL    60172
CAROL L MAZZAGLIA                               78 BELMONT AVE                                                                                HAVERHILL         MA    01830‐6602
CAROL L MC GEE                                  62 BEACHWOOD TERRACE                                                                          WELLS             ME    04090‐4003
CAROL L MC KAY                                  6204 S CRESTLINE                                                                              SPOKANE           WA    99223‐6827
CAROL L MELLON                                  855 WHISPER HOLLOW DR                                                                         CHESAPEAKE        VA    23322‐9517
CAROL L MENGELT                                 639 CHARTIER ST                                                                               JANESVILLE        WI    53546‐2445
CAROL L MEREDITH                                3591 SPENCER RD                                                                               ROCKY RIVER       OH    44116‐3857
CAROL L MESCHTER                                625 GIRALDA DR                                                                                LOS ALTOS         CA    94024‐3826
CAROL L MOHLER                                  3605 WINTER LAUREL TERRACE                                                                    OLNEY             MD    20832‐2243
CAROL L MURRAY                                  6451 SCOTT ST                                                                                 HOLLYWOOD         FL    33024‐4126
CAROL L NELSON‐BURNS & CHARLES D BURNS JT TEN   PO BOX 936                                                                                    KELLEYS ISLAND    OH    43438‐0936

CAROL L NORTH                                   172 MITCHELL ST                                                                               ROCHESTER         NY    14621‐3956
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 593 of 850
Name                                              Address1                               Address2                   Address3    Address4          City               State Zip

CAROL L NUNN & LISA A NUNN JT TEN                 3670 NE OLD HIGHWAY 13                                                                          OSCEOLA            MO    64776‐2422
CAROL L OUTTEN TR CAROL L OUTTEN REVOCABLE        17935 SE 89TH NATCHEZ AVE                                                                       THE VILLAGES       FL    32162‐4829
LIVING TRUST UA 02/22/05
CAROL L PERKINS                                   1580 MELROSE AVE                                                                                COLUMBUS           OH    43224‐4335
CAROL L POHL                                      65 DUNCAN                                                                                       TROY               MI    48098‐4612
CAROL L RAYLEAN                                   4902 KNAPP                                                                                      DIMONDALE          MI    48821‐9740
CAROL L REDMAN                                    2723 M 99 S                                                                                     HOMER              MI    49245‐9711
CAROL L REED                                      209 LANSDOWNE BLVD                                                                              YOUNGSTOWN         OH    44506‐1138
CAROL L REIMLER TR CAROL L REIMLER TRUST UA       6557 DELOR                                                                                      ST LOUIS           MO    63109‐2627
06/29/83
CAROL L REIMLER TR U‐D OF TR OF CAROL L REIMLER   6557 DELOR ST                                                                                   SAINT LOUIS        MO    63109‐2627
06/29/83
CAROL L REIMLER TR UA 06/29/83 CAROL L REIMLER    6557 DELOR                                                                                      ST LOUIS           MO    63109‐2627
TRUST
CAROL L RICHARD                                   14409 22ND AVE SW                                                                               SEATTLE            WA    98166‐1005
CAROL L RIZZO CUST DEREK C RIZZO UGMA MI          48344 REMER RD                                                                                  UTICA              MI    48317‐2641
CAROL L RIZZO CUST RYAN A RIZZO UGMA MI           48344 REMER RD                                                                                  UTICA              MI    48317‐2641
CAROL L ROBINSON                                  C/O CAROL L GAYHEART                   1330 SENTRY LN                                           FAIRBORN           OH    45324‐8519
CAROL L ROMINE                                    5760 LUM RD                                                                                     ATTICA             MI    48412‐9384
CAROL L RUDMAN                                    49 CHESTER ST                                                                                   NASHUA             NH    03060‐1945
CAROL L SCHMIDT                                   5911 TROWBRIDGE DR                                                                              CINCINNATI         OH    45241‐1715
CAROL L SHERIDAN                                  2715 CENTRE AVE                                                                                 BELLMORE           NY    11710‐3449
CAROL L SHOOLTZ                                   5637 SLEIGHT RD                                                                                 BATH               MI    48808‐9457
CAROL L SMITH                                     17 PEPPERTREE LN                                                                                TOPEKA             KS    66611‐2056
CAROL L SMITH                                     7007 WAHL RD                                                                                    VICKERY            OH    43464‐9604
CAROL L SPODNEY & STEVENSON J SPODNEY &           4288 MT VERNON PASS                                                                             SWARTZ CREEK       MI    48473‐8240
GREGORY W SPODNEY JT TEN
CAROL L SPODNEY & STEVENSON J SPODNEY JR &        4288 MT VERNON PASS                                                                             SWARTZ CREEK       MI    48473‐8240
MATTHEW T SPODNEY JT TEN
CAROL L SPRINGER                                  PO BOX 265                                                                                      OTISVILLE          MI    48463‐0265
CAROL L SWENSON                                   1928 ALSUP                                                                                      COMMERCE TWP       MI    48382‐3710
CAROL L THIEDA                                    43151 W KIRKWOOD                                                                                CLINTON TWP        MI    48038‐1225
CAROL L TUPPER                                    211 N 5TH ST                                                                                    KINGFISHER         OK    73750‐2708
CAROL L VANDERSLUIJS                              1916 ROSEMONT BLVD                                                                              DAYTON             OH    45420‐2513
CAROL L WALTERS                                   1420 HIGH POINT RD                                                                              HARTSVILLE         SC    29550‐6601
CAROL L WESLEY                                    11030 CLARA BARTON DR                                                                           FAIRFAX STA        VA    22039‐1410
CAROL L WESTBAY                                   1440 MILLERS LANDING                                                                            CORTLAND           OH    44410‐9220
CAROL L WILKEN                                    8659 ASHCROFT AVE                                                                               DALLAS             TX    75243‐7103
CAROL L WILLETT‐HOBBS                             205 AUSTELL DR                                                                                  COLOMBIA           TN    38401‐5531
CAROL L WILSON                                    BOX 235                                                                                         TURNER             OR    97392
CAROL LAUMAN                                      1630 FONORA DR                                                                                  HEMET              CA    92543
CAROL LAUSCHER                                    211 OLD MEADOW LANE                                                                             ROCKTON            IL    61072‐3203
CAROL LEA BALLIETT                                PO BOX 654                                                                                      ROCKPORT           TX    78381‐0654
CAROL LEE CALKINS                                 9514 W 121ST TERR                                                                               OVERLAND PARK      KS    66213‐4237
CAROL LEE CHALLENGER                              10128 BEECHWOOD                                                                                 PINCKNEY           MI    48169‐8943
CAROL LEE CHAPMAN                                 15582 YOKEKO DR                                                                                 ANACORTES          WA    98221‐8754
CAROL LEE FRASCA                                  C/O C L BOUDROT                        31220 LA BAYA DR ATE 110                                 WESTLAKE VILLAGE   CA    91362‐6366

CAROL LEE HEVENER                                 5573 MOUNTAIN TURNPIKE                                                                          HIGHTOWN           VA    24465
CAROL LEE R TILGHMAN                              957 COULSON LANE                                                                                BLUEMONT           VA    20135‐2054
CAROL LEE STEFFEY                                 206 N 18TH AVE                                                                                  BEECH GROVE        IN    46107‐1002
CAROL LEE UNGERLEIDER                             3186 66TH TER S APT B                                                                           ST PETERSBURG      FL    33712‐5446
CAROL LEHMAN CUST RANDALL THORDEN LEHMAN          3757 TRENERY DR                                                                                 PLEASANTON         CA    94588‐4115
UTMA CA
CAROL LEITAO                                      6500 NW 2ND AVE APT 310                                                                         BOCA RATON         FL    33487‐3034
CAROL LENHART                                     828 TARRSON BLVD                                                                                LADY LAKE          FL    32159‐2365
CAROL LESNEK‐COOPER & RAYMOND H COOPER JR JT      12922 SUTHERLAND                                                                                BRIGHTON           MI    48116‐8515
TEN
CAROL LESSER MOSS CUST ISAAC MOSS UTMA MA         93 EVANS RD                                                                                     BROOKLINE          MA    02445
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 594 of 850
Name                                             Address1                              Address2                  Address3     Address4          City                State Zip

CAROL LESSER MOSS CUST MAX MOSS UTMA MA          93 EVANS RD                                                                                    BROOKLINE           MA    02445
CAROL LESSER MOSS CUST SAMUEL MOSS UTMA MA       93 EVANS RD                                                                                    BROOKLINE           MA    02445

CAROL LEVINE                                     4 EQUESTRIAN CT                                                                                UPPER BROOKVILLE NY       11545‐2638

CAROL LEWTON CUST JASON W LEWTON UGMA MI         23144 CUSHING                                                                                  E POINT             MI    48021‐4118

CAROL LIGUORI CUST COLE F LIGUORI UTMA NJ        22 CAPTAINS DR                                                                                 TOMS RIVER          NJ    08753‐4715
CAROL LORENE MOSHIER                             1121 ROSELAND AVE                                                                              KALAMAZOO           MI    49001‐4385
CAROL LORRAINE SOMMER                            ATTN CAROL L LEIDER                   800 MAYBERRY CT                                          LAKE IN THE HILLS   IL    60102‐4604
CAROL LOUISE LAPORTE                             596 OLIVER ST                         #1                                                       N TONAWANDA         NY    14120‐4347
CAROL LOUISE PROCTOR                             701 OCEAN AVE #303                                                                             SANTA MONICA        CA    90402‐2656
CAROL LOUISE SCOTT                               6825 STEMEN RD                                                                                 PICKERINGTON        OH    43147‐9424
CAROL LYN STADLBERGER                            ATTN CAROL LYN KNEESHAW               6319 MC KINLEY RD                                        FLUSHING            MI    48433‐2900
CAROL LYNN BARRANCE                              74 BURNETT ROAD                                                                                SAUGERTIES          NY    12477‐3604
CAROL LYNN CROWLEY                               2811 CATHEDRAL AVENUE N W                                                                      WASHINGTON          DC    20008‐4121
CAROL LYNN DAKIN HASTINGS                        14 SOMERSET CT                                                                                 WILLIAMSBURG        VA    23188‐1539
CAROL LYNN FRAME                                 9415 STATE RTE 202                                                                             TIPP CITY           OH    45371
CAROL LYNN HEMMYE                                4326 MONTAGE DR                                                                                PENSACOLA           FL    32504‐8580
CAROL LYNN KAYE                                  ATTN KAROL PICKER                     5030 SPRUCE BLUFF DRIVE                                  ATLANTA             GA    30350‐1091
CAROL LYNN NELSON                                1528 MARTINEZ DR                                                                               THE VILLAGES        FL    32159
CAROL LYNN PAGNI & COLETTE M PAGNI JT TEN        4148 SUNNYSIDE AVE                                                                             BROOKFIELD          IL    60513‐2011
CAROL LYNN SEXTON                                3275 HARDWOOD HOLLOW RD                                                                        MEDINA              OH    44256‐9696
CAROL LYNN WALLWORK                              3323 GRANGE HALL RD APT 201                                                                    HOLLY               MI    48442
CAROL LYNN WIDMAN                                1179 LONE PINE LANE                                                                            SAN JOSE            CA    95120‐5521
CAROL LYNNE AUTMAN ERBACH                        2 WINDING LANE PENNY ACRES                                                                     WILMINGTON          DE    19809
CAROL LYNNE JOHNSON                              151 BURLINGTON BEACH RD                                                                        VALPARAISO          IN    46383‐1316
CAROL M ALBRO                                    47518 COLD SPRING PL                                                                           STERLING            VA    20165‐7411
CAROL M AUER                                     2194 WAYWARD DR                                                                                ROCHESTER HLS       MI    48309‐2131
CAROL M BAK‐COLAMONICO & ANTHONY F               7210 W SEMINOLE ST                                                                             CHICAGO             IL    60631
COLAMONICO JT TEN
CAROL M BATES                                    1915 BEDFORD RD                                                                                LOWELLVILLE         OH    44436‐9753
CAROL M BEDELL                                   2140 N YASIMIN COURT                                                                           MIDLAND             MI    48642‐8897
CAROL M BODIYA                                   2300 34 MILE RD                                                                                ROMEO               MI    48065‐2804
CAROL M BRENNAN                                  1330 MAPLE RD #7                                                                               WILLIAMSVILLE       NY    14221‐3536
CAROL M BURKE CUST ANN MARGARET BURKE UGMA       7555 DORWICK DR                                                                                NORTHFIELD          OH    44067‐2632
MI
CAROL M CAHALANE                                 PO BOX 793                                                                                     FRASEIR             CO    80442‐0793
CAROL M CISLAK DESMUL                            25 CRESCENT PL                                                                                 WILMETTE            IL    60091‐3337
CAROL M COTE & LUCIEN R COTE JT TEN              7 FIRST ST                                                                                     STURBRIDGE          MA    01566‐1428
CAROL M DRISCOLL                                 5703 CATHERINE                                                                                 COUNTRYSIDE         IL    60525‐3517
CAROL M EMMONS                                   1801 STONEY POINT DRIVE                                                                        LANSING             MI    48917‐1413
CAROL M ENDICOTT & THEODORE F ENDICOTT JT TEN    1009 S 14TH ST                                                                                 AU GRES             MI    48703

CAROL M FABRIZIO & JAMES A DAVIS JT TEN          5256 JAIME LANE                                                                                FLUSHING        MI        48433‐2907
CAROL M FOSTER                                   547 WILD FLOWER COURT                                                                          ANDERSON        IN        46013‐1167
CAROL M GALLMANN                                 37 SOUTH ST                           PO BOX 263                                               ANGELICA        NY        14709‐0263
CAROL M GARNER                                   ATTN: JOHN CHRISTOPHER GARNER         1143 WILLARD SE                                          WARREN          OH        44484
CAROL M GILBERT                                  270 LAKE DESTINY TRL                                                                           ALTAMONTE       FL        32714‐3403
                                                                                                                                                SPRINGS
CAROL M GREGG                                    915 SW BENNINGTON PL                                                                           LEE'S SUMMIT    MO        64081‐3700
CAROL M GRUSZCYNSKI                              305 HEMLOCK COURT                                                                              SOUTH MILWAUKEE WI        53172‐1009

CAROL M HAYES & OSCAR E PETERSON JT TEN          BOX 241                                                                                        SOUTH LYON          MI    48178‐0241
CAROL M HEMMETER & JENNIFER L STADLER & RUTH E   231 BLOSSOM COURT                                                                              BUFFALO GROVE       IL    60089‐2404
HEMMETER JT TEN
CAROL M HENDERSON                                12943 16TH AVE APT 4                  SURREY BC                              V4A 1N8 CANADA
CAROL M HOFF                                     2104 N HUGHSON ST                                                                              OKLAHOMA CITY       OK    73141‐1046
CAROL M HOLUB                                    34505 W SHARONDALE DR                                                                          SOLON               OH    44139‐3046
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                     Part 1 of 8 Pg 595 of 850
Name                                              Address1                            Address2                      Address3   Address4          City            State Zip

CAROL M HUFF                                      151 BRICKMILL RD                                                                               ATGLEN          PA    19310‐9307
CAROL M JOHN                                      4207 PRESERVE PLACE                                                                            PALM HARBOR     FL    34685‐4033
CAROL M JOHNSON & DWAIN O JOHNSON JT TEN          1016 COURT MERRILL                                                                             MITCHELL        SD    57301‐4323
CAROL M KEGANS                                    1909 HOLLYGLEN DRIVE                                                                           TYLER           TX    75703‐3395
CAROL M KNAPP                                     7 RIVER WOODS DRIVE F205                                                                       EXETER          NH    03833‐5304
CAROL M KOPKA                                     4538 N ELEVATOR RD RT 1                                                                        PINCONNING      MI    48650
CAROL M KOSFELNIK                                 94 EAGLES ST                                                                                   BUFFALO         NY    14207
CAROL M KRUMSIEK                                  27 CARLETON ROAD                                                                               MILLBURY        MA    01527‐1410
CAROL M LADD                                      631 ANN AVENUE                                                                                 NILES           OH    44446‐2965
CAROL M LOGAN                                     9530 W DEBBIE LN                                                                               MILWAUKEE       WI    53224‐4616
CAROL M LOKKEN                                    6311 MAYWICK DRIVE                                                                             MADISON         WI    53718‐3502
CAROL M LUSE TOD JOHN H LUSE SUBJECT TO STA TOD   4440 MISTY LANE                                                                                MYRTLE BEACH    SC    29588
RULES
CAROL M MUHL CUST MARY E MUHL UGMA MI             4290 BOB WHITE                                                                                 FLINT           MI    48506‐1705
CAROL M MUNSON                                    C/O CAROL M BOYD                    8593 HENRY HARRIS RD                                       FORT MILL       SC    29715‐7619
CAROL M NYMAN                                     1234 8TH AVE                                                                                   SACRAMENTO      CA    95818‐4005
CAROL M RILEY                                     2849 ANDERSON ANTHONY RD                                                                       WARREN          OH    44481‐9426
CAROL M RIZZUTO & CANDANCE L RIZZUTO JT TEN       6080 SCHOFIELD DR                                                                              PENSACOLA       FL    32506‐5292
CAROL M ROSSIGNOL                                 497 NE JEFFERSON #A                                                                            CHEHALIS        WA    98532‐2718
CAROL M SANDROCK                                  5756 ST RT 88 N E R D 1                                                                        KINSMAN         OH    44428‐9742
CAROL M SCHLIEPP                                  W4819 COUNTY ROAD W                                                                            REDGRANITE      WI    54970‐7095
CAROL M SCHMIEDICKER                              62 CLINTON ST                                                                                  ALDEN           NY    14004‐8901
CAROL M SCHWARTZ                                  12950 WADSWORTH RD                                                                             REESE           MI    48757
CAROL M SMITH                                     8318 DAISY LN                                                                                  RIVERSIDE       CA    92508‐7101
CAROL M SMITH & JOHN R SMITH JT TEN               BOX 303                                                                                        NEWTOWN         CT    06470‐0303
CAROL M THOMPSON                                  6243 DENTON RD                                                                                 BELLEVILLE      MI    48111‐1012
CAROL M THOMPSON                                  241 CARPENTER AVE                   APT 1B                                                     MOUNT KISCO     NY    10549‐1645
CAROL M TIRRELL                                   6 WICKLOW CT                                                                                   CHERRY HILL     NJ    08003‐2116
CAROL M TIRRELL                                   6 WICKLOW COURT                                                                                CHERRY HILL     NJ    08003‐2116
CAROL M TIRRELL & THOMAS E TIRRELL JT TEN         6 WICKLOW COURT                                                                                CHERRY HILL     NJ    08003‐2116
CAROL M TITCOMB CUST JOSHUA H TITCOMB UGMA FL     9761 NICKELS BLVD                   APT 304                                                    BOYNTON BEACH   FL    33436‐3950

CAROL M VAN VLECK                            3265 FLORENCE RD                                                                                    WOODBINE        MD    21797‐7830
CAROL M VANGURA                              3748 DAWES AVE                                                                                      CLINTON         NY    13323‐4021
CAROL M VANOVER & THOMAS L VANOVER JT TEN    28478 STOUT RD                                                                                      WEST HARRISON   IN    47060‐9721
CAROL M VAUGHAN                              23397 ADAMS RD                                                                                      COPEMISH        MI    49625
CAROL M WADE                                 4400 LORRAINE                                                                                       SAGINAW         MI    48604‐1642
CAROL M WEATHERSPOON                         4860 E MAIN ST E76                                                                                  MESA            AZ    85205‐8046
CAROL M WILCOX                               7651 VAMOCO DR                                                                                      WATERFORD       MI    48327‐3699
CAROL M WILLIAMS & FRED A WILLIAMS JT TEN    3816 TIFFANY DRIVE                                                                                  EASTON          PA    18045‐3047
CAROL M WILLIS                               11081 15 MILE RD                                                                                    STERLING HTS    MI    48312‐3613
CAROL M WINKLER                              406‐A S CROSKEY ST                                                                                  PHILADELPHIA    PA    19146‐1104
CAROL M WINPENNY                             PO BOX 234                                                                                          PINE FORGE      PA    19548‐0234
CAROL M ZOBITZ                               50 EVANS ST                                                                                         NILES           OH    44446‐2632
CAROL MACGAMWELL YANNUZZI                    8955 HARMONY DR                                                                                     PITTSBURGH      PA    15237‐4523
CAROL MAE GERHARD                            PO BOX 335                                                                                          PIQUA           OH    45356‐0335
CAROL MAHONEY                                234 DEER DR                                                                                         RUCKERSVILLE    VA    22968‐3161
CAROL MARCUS                                 69‐14 170TH ST                                                                                      FLUSHING        NY    11365
CAROL MARCUS CUST ACF SARAH C MARCUS UTMA MD 5408 PARKVALE TER                                                                                   ROCKVILLE       MD    20853‐2532

CAROL MARIAN FINGER                               #312                                25912 HAYWARD BLVD                                         HAYWARD          CA   94542‐1649
CAROL MARIE COLLINS                               ATTN CAROL MARIE COLLINS HOGAN      4950 SOUTH CHICAGO BEACH DR                                CHICAGO          IL   60015
CAROL MARIE HENNESSY                              715 HILL AVE NW                                                                                GRAND RAPIDS     MI   49504‐4847
CAROL MARIE LISZEWSKI                             22147 HARSDALE DR                                                                              FARMINGTON HILLS MI   48335‐5439

CAROL MARIE MUHL & JAMES WILLIAM ANDERSON JT      4290 BOBWHITE DR                                                                               FLINT           MI    48506
TEN
CAROL MARRERO                                     1749 ETHAN LANE                                                                                BRENTWOOD       TN    37027‐2618
CAROL MARTIN CUST CARRIE MARTIN UTMA IL           1044 CRYSTAL COURT                                                                             GLENVIEW        IL    60025‐2682
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 596 of 850
Name                                               Address1                               Address2               Address3        Address4          City              State Zip

CAROL MASTRIAN                                     C/O C MASTROIANNI                      1106 COLUMBUS AVE                                        WESTFIELD         NJ    07090‐1660
CAROL MAY DOWNEY                                   6209 CLAUSSEN WAY                                                                               N HIGHLANDS       CA    95660‐4105
CAROL MC COY                                       2303 GEORGETOWN RD                                                                              BRADENTON         FL    34207‐5138
CAROL MC NICHOLOS                                  9433 LAWNDALE AV                                                                                EVANSTON          IL    60203‐1306
CAROL MC TAMNEY                                    330 OXFORD ROAD                                                                                 PLYMOUTH          PA    19462‐7169
                                                                                                                                                   MEETING
CAROL MCMAHAN CUST MATTHEW D MCMAHAN UTMA 1679 PENNS CHAPEL RD                                                                                     BOWLING GREEN     KY    42101‐8619
IN
CAROL MERZ SIM CUST HEATHER NICOLE SIM UGMA MI 1202 NORTH STREAMWOOD LANE                                                                          VERNON HILLS      IL    60061‐1223

CAROL MERZ SIM‐CAMPBELL                            1202 N STREAMWOOD LN                                                                            VERNON HILLS      IL    60061‐1223
CAROL MONICA NOSBISCH                              3108 NE 40 CT                                                                                   FORT LAUDERDALE   FL    33308‐6414

CAROL MOSER                                        145 W 71ST ST APT 4C                                                                            NEW YORK          NY    10023‐3818
CAROL MOSSOR CUST AMANDA GRACE MOSSOR UTMA         79 HONEYSUCKLE DR                                                                               MECHANICSBURG     PA    17050
PA
CAROL MULLANE                                      14926 NW 128TH ST                                                                               MADRID            IA    50156‐7442
CAROL MURRAY‐CRUZEN                                C/O CAROL MURRAY                       1495 NEWPORT #6                                          TRAVERSE CITY     MI    49686‐2318
CAROL MURZYNSKI                                    2 YALE RD                                                                                       WILMINGTON        DE    19805‐4624
CAROL N LEAHY                                      230 EAST GREEN STREET                                                                           ENGLEWOOD         FL    34223‐3451
CAROL N SOPER TR REVOCABLE LIVING TRUST 05/19/92   5001 E MAIN ST #1666                                                                            MESA              AZ    85205‐8051
U‐A CAROL N SOPER
CAROL N VINCENT CUST J MARITA VAN DYKE UTMA IN     16608 EAST 54TH ST SOUTH                                                                        INDEPENDENCE      MO    64055

CAROL N VINCENT CUST JENNA M VAN DYKE UTMA IN      16608 EAST 54TH ST SOUTH                                                                        INDEPENDENCE      MO    64055

CAROL N VINCENT CUST MADELINE E WADDELL UTMA 16608 EAST 54TH ST SOUTH                                                                              INDEPENDENCE      MO    64055
IN
CAROL N VINCENT CUST MORGAN B VAN DYKE UTMA IN 16608 EAST 54TH ST SOUTH                                                                            INDEPENDENCE      MO    64055

CAROL N ZIMMERMAN                                  7209 WOODHAVEN DR                                                                               LOCKPORT          NY    14094‐6242
CAROL NATALIE                                      687 W BROADWAY                                                                                  CEDARHURST        NY    11516‐1713
CAROL NELSON CONNOLLY                              2751 HALLMARK DR                                                                                BELMONT           CA    94002‐2913
CAROL NICHOFF TR CAROL NICHOFF TRUST UA 3/16/00    7750 ADMIRALTY DRIVE                                                                            CANTON            MI    48187‐1514

CAROL NICKERSON                                    1223 BROOKLINE DRIVE                                                                            CANTON            MI    48188
CAROL NORDQUEST                                    C/O CAROL HUMMEL                       11304 STATE            ROUTE #44                         MANTUA            OH    44255
CAROL NORMENT THOMPSON                             13410 SW 115 PLACE                                                                              MIAMI             FL    33176
CAROL NORR                                         8 TORY LANE                                                                                     SCARSDALE         NY    10583‐2315
CAROL NORRIS                                       9200 N PARK RD                                                                                  ROGERS            AR    72756‐8607
CAROL NYSTROM                                      3812 DUTCH CREEK LANE                                                                           JOHNSBURG         IL    60050‐1024
CAROL O DAVIS                                      3184 BROAD ST                                                                                   PORT HENRY        NY    12974‐1030
CAROL ODENHEIMER CAPLAN                            2319 CALHOUN ST                                                                                 NEW ORLEANS       LA    70118‐6351
CAROL ORIANS                                       BOX 13315                              LAURA CIRCLE                                             LAURA             OH    45337
CAROL P BAUGH & EDDIE R BAUGH JT TEN               1389 TOWN HALL RD                                                                               BEAVERCREEK       OH    45432‐2646
CAROL P BURDON                                     7880 BROOKWOOD NE                                                                               WARREN            OH    44484‐1543
CAROL P CORBIN & STEPHEN P PETERSON JT TEN         809 SEABROOKE PT                                                                                CHESAPEAKE        VA    23322‐7040
CAROL P DOOLITTLE                                  11 PEARL ST                                                                                     FARMINGTON        CT    06032
CAROL P DOWDEN                                     2737 APACHE DR                                                                                  ANDERSON          IN    46012‐1401
CAROL P GARDNER                                    BOX 431                                                                                         BLACK MOUNTAIN    NC    28711‐0431

CAROL P GUMTO                                      1036 MERIDIAN RD                                                                                RENFREW           PA    16053‐9712
CAROL P HOWELL                                     455 W 21ST                                                                                      NEW YORK          NY    10011
CAROL P LIOYD                                      1306 PAMPAS DRIVE                                                                               MONTGOMERY        AL    36117‐2308
CAROL P MAKARA                                     89 MATHEWSON MILL RD                                                                            LEDYARD           CT    06339‐1114
CAROL P MC MURTRY                                  618 WARDELL AVE                                                                                 NORTH             NY    14120‐1709
                                                                                                                                                   TONAWANDA
CAROL P RICHMAN                                    APT 5 E                                317 WEST 89TH STREET                                     NEW YORK          NY    10024‐2143
CAROL P STAFFANSON                                 8488 S TERRACE DR                                                                               SALT LAKE CITY    UT    84093‐6955
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 597 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

CAROL P TAYLOR                                   3638 HIGHTREE SE                                                                               WARREN             OH    44484‐3730
CAROL P THATCHER                                 4710 ECHO VALLEY NW                                                                            NORTH CANTON       OH    44720‐7504
CAROL PARINA                                     32134 DICKERSON                                                                                WILLOWICK          OH    44095‐3832
CAROL PARKER                                     460 CEDAR STREET                                                                               WEST BARNSTABLE    MA    02668‐1328

CAROL PARKS CLANCY & PATRICK R CLANCY JT TEN     17 HERIATGE LANE                                                                               SCOTCH PLAINS      NJ    07076‐2413

CAROL PASQUA                                     1234 KEARNEY AVE                                                                               BRONX              NY    10465‐1427
CAROL PATTERSON RUITER                           1428 WINGFOOT LOOP                                                                             LAREDO             TX    78045‐1912
CAROL PAUL MILLER                                4410 FOREST HILL AVE                                                                           RICHMOND           VA    23225‐3242
CAROL PEPPER & ALBERT PEPPER JT TEN              3420 HANOVER RD                                                                                COLUMBIA           IL    62236
CAROL PER LEE PLUMB                              6836 AMBOY RD                                                                                  STATEN ISLAND      NY    10309‐3127
CAROL PETERS                                     502 CHERRY HILL RD                                                                             NAZARETH           PA    18064‐8850
CAROL PLANCE                                     4800 WALDEN LANE                                                                               KETTERING          OH    45429‐5527
CAROL POWERS                                     3545 N GALESTON AVE                                                                            INDIANAPOLIS       IN    46235
CAROL PRICE HUSTEN                               230 BALTIC ST                                                                                  BROOKLYN           NY    11201‐6516
CAROL PRIETO                                     727 SOUTH BLVD                                                                                 EVANSTON           IL    60202‐2907
CAROL R ANDERSON                                 BOX 1060                                                                                       FORNEY             TX    75126‐1060
CAROL R BATOFF CUST JUSTIN A BATOFF UTMA MD      11 WESTCROFT CT                                                                                COCKEYSVILLE       MD    21030‐1100

CAROL R BEARDEN                                  44409 SAVERY DR                                                                                CANTON             MI    48187‐2929
CAROL R BRANDON                                  PO BOX 334                                                                                     ARLINGTON          VT    05250‐0334
CAROL R CHEEVER                                  187 W 500 N                                                                                    ANDERSON           IN    46012‐9500
CAROL R GAMBA TR GAMBA FAMILY REV TRUST UA       244 VERANO DR                                                                                  DALY CITY          CA    94015‐2168
2/24/93
CAROL R HOELTER                                  333 EAST UNION                                                                                 WHEATON            IL    60187‐4229
CAROL R LARSON                                   5232 E GLENEAGLES DR                                                                           TUCSON             AZ    85718‐1802
CAROL R MARRA CUST PETER S MARRA UGMA NY         4121 VIA ARAGON                                                                                N FT MYERS         FL    33903‐1307
CAROL R MEEK                                     213 SIMPSON RD                                                                                 ROCHESTER          NY    14617‐4647
CAROL R MURRAY                                   8 JOSEPH COURT                                                                                 NEW EGYPT          NJ    08533‐1816
CAROL R PETIT                                    51 SPERRY LN                                                                                   MERIDEN            CT    06451‐2750
CAROL R SEIDLER                                  PO BOX 200                                                                                     DANNER             WY    82832‐0200
CAROL R SERRINE                                  301 OPPER ST                                                                                   GRANVILLE          IL    61326
CAROL R THOMAS                                   08217 INDEPENDENCE RD                                                                          DEFIANCE           OH    43512‐9032
CAROL R THOMPKINS                                3320 ST CHARLES ROAD                                                                           BELLWOOD           IL    60104‐1470
CAROL R YELLIN                                   BOX 158                                                                                        CHICAGO            IL    60690‐0158
CAROL RAE ANDERSON                               865 CLIFFS DR APT 101B                                                                         YPSILANTI          MI    48198‐7335
CAROL RAIFSNIDER                                 931 GRANDVIEW AVE                                                                              MARTINEZ           CA    94553‐1313
CAROL RATH                                       596 DALEVIEW DRIVE                                                                             AURORA             OH    44202‐7304
CAROL REA SMITH                                  266 MELROSE AVE                                                                                ENCINITAS          CA    92024‐2514
CAROL REID JACOT                                 6939 RINK DRIVE                                                                                BRIGHTON           MI    48114‐9440
CAROL RERICK                                     PO BOX 807                                                                                     LITCHFIELD         AZ    85340‐0807
CAROL RIFFLE                                     2303 BODETTE STREET                                                                            TOLEDO             OH    43613‐2144
CAROL RIZZO & ROBERT MARCHWINSKI JT TEN          48344 REMER                                                                                    UTICA              MI    48317‐2641
CAROL ROBINSON CUST ANDREW ROBINSON UGMA IL      1908 BEVERLY LANE                                                                              BUFFALO GROVE      IL    60089‐8002

CAROL ROBINSON CUST JORDAN DANIEL ROBINSON       1908 BEVERLY LANE                                                                              BUFF GROVE         IL    60089‐8002
UTMA IL
CAROL ROGERS HILLIARD                            6104 STONE RIDGE CIR                                                                           BEREA              OH    44017‐3116
CAROL ROSENBERRY                                 222 HARBEL DRIVE                                                                               ST CLAIRSVILLE     OH    43950‐1008
CAROL ROSENFELT                                  40 BAID HILL RD                                                                                HOLLISTON          MA    01746‐1101
CAROL ROUXEL                                     635 BARRON AVE                                                                                 WOODBRIDGE         NJ    07095
CAROL RUNKLE CUST ELIZABETH RUNKLE UGMA MI       1165 IVYGLEEN CIRCLE                                                                           BLOOMFIELD HILLS   MI    48304

CAROL S ALGRA                                    335 E RICHLAND AVE                                                                             ORANGE         CA        92865‐1157
CAROL S BARHOOVER                                2107 TIMBER CREEK DR NE                                                                        CORTLAND       OH        44410‐1766
CAROL S BOWERS                                   2066 DUTTON MILL RD                                                                            NEWTOWN SQUARE PA        19073‐1003

CAROL S BOWLING                                  1174 NW 11TH ST                                                                                BOYNTON BEACH      FL    33426‐2956
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 598 of 850
Name                                             Address1                               Address2              Address3         Address4          City            State Zip

CAROL S BROWN                                    6337 BROOKVIEW LN                                                                               WEST BLOOMFIELD MI    48322‐1053

CAROL S BUTTS                                    1835 W WARDLOW                                                                                  HIGHLAND        MI    48357‐4324
CAROL S CLARK & PETER D CLARK JT TEN             1071 OLD LYNCHBURG ROAD                                                                         CHARLOTTESVLE   VA    22903
CAROL S CPREK                                    5081 PRENTIS                                                                                    TROY            MI    48098‐3455
CAROL S DAVIDSON                                 ATTN CAROL S GRECO                     171 LINCOLN ROAD                                         WESTFIELD       NJ    07090‐3930
CAROL S ESKRIDGE                                 4006 WOODLAND                                                                                   INDEPENDENCE    MO    64052‐2457
CAROL S FAMILO                                   45 MULLEN ROAD                                                                                  FULTON          NY    13069
CAROL S FIALKOSKY                                47 RANDLETT PARK                                                                                WEST NEWTON     MA    02465‐1718
CAROL S FLEMING                                  8150 SAN JOSE BLVD                                                                              JACKSONVILLE    FL    32217‐3518
CAROL S FRANKLIN                                 ATTN CAROL F JOULLIAN                  1713 PENNINGTON WAY                                      OKLAHOMA CITY   OK    73116‐5117
CAROL S GAUVIN & ELMER M GAUVIN JT TEN           4234 8TH ST                                                                                     ECORSE          MI    48229‐1204
CAROL S GIBSON                                   7354 GERALDINE CIR                                                                              SWARTZ CREEK    MI    48473‐7647
CAROL S GIBSON                                   3 MILKY WAY COURT                                                                               FAIRFIELD       OH    45014
CAROL S GOODALE TR CAROL S GOODALE TRUST UA      1400 N DRAKE RD                        APT 264                                                  KALAMAZOO       MI    49006‐3919
03/06/90
CAROL S HAMELINE                                 BOX 243                                                                                         BARNEVELD        NY   13304‐0243
CAROL S HAZELWOOD                                14673 BELL COURT                                                                                CONROE           TX   77302‐5325
CAROL S HERIAN                                   234 BEACHWOOD DRIVE                                                                             YOUNGSTOWN       OH   44505‐4282
CAROL S HOMMELL                                  835 W SMITH VALLEY RD                                                                           GREENWOOD        IN   46142‐2058
CAROL S HOWARD                                   BOX 550                                                                                         LAKE HARMONY     PA   18624‐0550
CAROL S IACONA & JOHN A IACONA JT TEN            35292 RHOADES DR                                                                                CLINTON TOWNSHIP MI   48035‐2257

CAROL S JOHNSON DYE TR UA 05/30/2001 CAROL       35495 SEVERN DRIVE                                                                              NEWARK          CA    94560
JOHNSON DYE FAMILY TRUST
CAROL S LA FRANCE                                68 LAMSON ST                                                                                    WEST HAVEN      CT    06516‐2823
CAROL S MCCOLL & S MARK WEEKS JT TEN             1389 S 500 E                                                                                    SALT LAKE CTY   UT    84105‐2043
CAROL S MCLAUGHLIN                               C/O CAROL S FRYMARK                    12553 MARGARET DR                                        FENTON          MI    48430‐8857
CAROL S MORALES                                  950 W LAUREL ST                                                                                 COLTON          CA    92324‐1528
CAROL S MUNN                                     220 TYNEBRAE PL                                                                                 ROSWELL         GA    30075‐3261
CAROL S NOBLE                                    119 DRAPER                                                                                      WATERFORD       MI    48328‐3803
CAROL S POLLOCK                                  19568 E LONG LN                                                                                 AURORA          CO    80016‐1912
CAROL S REGAN                                    1384 ORANGE HILL LANE                                                                           PENRYN          CA    95663‐9630
CAROL S REID                                     8410 OLD HBR                                                                                    GRAND BLANC     MI    48439‐8061
CAROL S ROACH                                    4560 N LAKE SHORE DR                                                                            HARBOR SPGS     MI    49740‐9123
CAROL S RODRIQUEZ                                616 NE 5TH ST                          APT D                                                    BLUE SPRINGS    MO    64014‐5956
CAROL S ROSENFELT & DAVID M ROSENFELT JT TEN     40 BALD HILL RD                                                                                 HOLLISTON       MA    01746‐1101

CAROL S SCHUMACHER                               2220 LYTHAM RD                                                                                  COLUMBUS        OH    43220‐4636
CAROL S SHORT                                    3144 HARROW ROAD                                                                                SPRING HILL     FL    34606‐3025
CAROL S TAYLOR                                   4038 S MEADOW LANE                                                                              MT MORRIS       MI    48458‐9310
CAROL S TAYLOR                                   28150 GRIX RD                                                                                   NEW BOSTON      MI    48164‐9719
CAROL S WEAVER                                   4918 PARK RD                                                                                    ANDERSON        IN    46011‐9428
CAROL S WISNER                                   8250 E HERBISON RD                                                                              BATH            MI    48808‐9473
CAROL SACCO MANHEIMER CUST JEFFREY DAVID         95 FAR MILL DRIVE                                                                               STRATFORD       CT    06614‐1420
MANHEIMER UGMA NY
CAROL SANER MIHALY                               20 W 86TH ST                                                                                    NEW YORK        NY    10024‐3604
CAROL SARACENI                                   593 WOOLF RD                                                                                    MILFORD         NJ    08848‐2150
CAROL SCHAENGOLD                                 #1 EVERGREEN CIRCLE                                                                             WYOMING         OH    45215‐1368
CAROL SCHIERL                                    1815 RAINBOW DR                                                                                 DE PERE         WI    54115‐1721
CAROL SCHLEGALMICH & ROY SCHLEGALMICH JT TEN     337 BROMPTON RD                                                                                 SOUTH GARDEN    NY    11530‐5416
                                                                                                                                                 CITY
CAROL SCHULER                                    70 EAST 10TH ST #4K                                                                             NEW YORK        NY    10003‐5107
CAROL SHEEHAN                                    111 WINNEBAGO TRAIL                                                                             EDENTON         NC    27932‐9025
CAROL SHINKLE                                    PO BOX 834                                                                                      FELICITY        OH    45120‐0834
CAROL SIMONETTI                                  277 ABBEY RD                                                                                    MANHASSET       NY    11030‐2701
CAROL SIREFMAN                                   7 WALNUT ST                                                                                     GLEN HEAD       NY    11545‐1625
CAROL SLOCOMB STRUKELT                           PO BOX 11570                                                                                    WILMINGTON      DE    19850‐1570
CAROL SMITH                                      576 12TH ST NW                                                                                  CARROLLTON      OH    44615‐9413
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 599 of 850
Name                                               Address1                             Address2                  Address3     Address4          City            State Zip

CAROL SMITH                                        162 DOVE HILL DR                                                                              MANHASSET       NY    11030‐4029
CAROL SOBER                                        50 BROADVIEW AVE                                                                              NEW ROCHELLE    NY    10804‐4143
CAROL STAAR                                        12706 BOXWOOD CT                                                                              POWAY           CA    92064‐2643
CAROL STABILE                                      80 WILLOWBROOK CT                                                                             PARAMUS         NJ    07652‐1833
CAROL STARNES RUSSELL                              PO BOX 1146                                                                                   HENDERSONVLLE   NC    28793
CAROL STASZAK                                      ATTN CAROL S HLADYCZ                 597 THOMAS RD                                            EIGHTY FOUR     PA    15330‐2581
CAROL STEJANKO                                     12370 EVERARD DR                                                                              SPRING HILL     FL    34609‐9063
CAROL STOCKSLAGER                                  1748 LAKESHORE DR                                                                             TROY            OH    45373‐8716
CAROL STREEP                                       4 IVES CT                                                                                     FAR ROCKAWAY    NY    11691‐2414
CAROL SUE EGAN                                     ATTN CAROL S EGAN‐THORN              6621 MERRINGER AVE                                       REYNOLDSBURG    OH    43068‐1028
CAROL SUE HARBERT & BRIAN D HARBERT JT TEN         2867 UPPER MOUNTAIN ROAD                                                                      SANBORN         NY    14132
CAROL SUE HICKS TOD MELYNDA HICKS UNDER STA        1537 MILL DAM RD                     APT 307                                                  VIRGINIA BCH    VA    23454‐1358
GUIDELINES
CAROL SUE JOHNSON                                  409 CREEKMEADOW LN                                                                            LEWISVILLE      TX    75067‐6587
CAROL SUE MCKENZIE TR UA 06/22/1990 DOROTHY L      701 SHERRI ST                                                                                 RIDGECREST      CA    93555
VAN BROCKLIN IRREV TRUST
CAROL SUE PIGGUSH & DONALD A PIGGUSH JT TEN        13853 CONNER KNOLL PKWY                                                                       FISHER          IN    46038‐3492

CAROL SUE THELEN                                   REGENCY SQUARE                       7222 BELLERIVE APT 1616                                  HOUSTON         TX    77036‐3131
CAROL SUSAN DENEVE                                 1122 PARMA HILTON ROAD                                                                        HILTON          NY    14468
CAROL SUSAN KING                                   124 CRAZY HORSE CANYON ROAD                                                                   SALINAS         CA    93907‐8404
CAROL SWENSEN                                      157 EAT 7660 SOUTH                                                                            MIDVALE         UT    84047
CAROL T COUNCILOR TR CAROL T COUNCILOR LIV TR UA   16293 COUNTY RD 1113                                                                          FLINT           TX    75762
01/31/00
CAROL T HAND                                       3411 ABINGDON RD                                                                              COLUMBIA        SC    29203‐5504
CAROL T JABRO                                      2715 LOVINGTON                                                                                TROY            MI    48093‐4479
CAROL T PERRY                                      54882 PENZIEN DRIVE                                                                           MACOMB          MI    48042‐2368
CAROL T YUREK                                      54882 PENZIEN DRIVE                                                                           MACOMB          MI    48042‐2368
CAROL TARANTINO NOVELLI CUST JOSEPH TARANTINO      PO BOX 1304                                                                                   ALAMO           CA    94507‐7304
NOVELLI UGMA CA
CAROL TAYLOR                                       718 CONVERS                                                                                   ZANESVILLE      OH    43701‐3007
CAROL TERVEN CROWELL                               128 PINE ST                                                                                   SALINAS         CA    93901‐3223
CAROL THIELE                                       5635 SPRINGBROOK ROAD                                                                         KENOSHA         WI    53158
CAROL THOMPSON KINSLEY                             10599 WILKINSON DR                                                                            SEAFORD         DE    19973‐7927
CAROL TROTTER                                      9890 ELMAR AVE                                                                                OAKLAND         CA    94603‐2840
CAROL U YARWICK                                    1459 SPRINGWOOD TRACE                                                                         WARREN          OH    44484‐3145
CAROL V BATEMAN                                    PO BOX 675                                                                                    ABBEVILLE       SC    29620‐0675
CAROL V CHURCH                                     12949 MELODY LANE                                                                             GRAND LEDGE     MI    48837
CAROL V COOK                                       RD#2 BOX 422                                                                                  ROME            PA    18837‐9565
CAROL V DECAMP & GERALD L DECAMP JT TEN            7376 HERBERT RD                                                                               CANFIELD        OH    44406‐9781
CAROL V PHILBIN                                    27905 WHITE RD                                                                                PERRYSBURG      OH    43551‐2945
CAROL VAN DYKE                                     757 PENINSULA COURT                                                                           ANN ARBOR       MI    48105‐2507
CAROL VAUGHAN                                      10026 MASTIN                                                                                  OVERLAND PARK   KS    66212‐5414
CAROL VIGNONE                                      2487 PASEO CISNE                                                                              BULLHEAD CITY   AZ    86442‐7450
CAROL VITULLO                                      5981 ELLA CT                                                                                  COLUMBUS        OH    43231‐2320
CAROL VIZENA                                       1345 MAAS ST                                                                                  NEGAUNEE        MI    49866
CAROL W BACON                                      317 GALWAY RD                                                                                 LUTHVLE TIMON   MD    21093‐2908
CAROL W BLECHMAN                                   5777 GEMSTONE COURT                  #102                                                     BOYTON BEACH    FL    33437‐7246
CAROL W CONRAD                                     2680 BEAUMONT CT                                                                              CLEARWATER      FL    33761‐1201
CAROL W CROSS & LOIS CAMPF CROSS JT TEN            12 LAKEWOOD DRIVE                                                                             PARIS           IL    61944‐2407
CAROL W DORSTEN                                    5033 ROLLING WOOD TRAIL                                                                       KETTERING       OH    45429‐1110
CAROL W HAUF                                       8619 VIRGINIA CIRCLE S                                                                        ST LOUIS PARK   MN    55426‐2465
CAROL W TAYLOR                                     533A VILLAGE GREEN DR                                                                         MOREHEAD CITY   NC    28557‐9635
CAROL W WAINWRIGHT                                 BOX 87                                                                                        STANTONSBURG    NC    27883‐0087
CAROL WAGNER KORTEKAMP                             6997 QUEENSWAY LANE                                                                           CINCINNATI      OH    45230‐2133
CAROL WALTER                                       304 EUCLID AVE                                                                                SOMERS POINT    NJ    08244‐2206
CAROL WALTZ                                        34 HOBBS RD                                                                                   MERCERVILLE     NJ    08619‐3638
CAROL WARDACH                                      504 RIDGEVIEW CIR                                                                             CLARKS SUMMIT   PA    18411‐9375
CAROL WASSERMAN                                    2166 BROADWAY APT 11F                                                                         NEW YORK        NY    10024‐6671
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 600 of 850
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

CAROL WENK BELLISIO CUST CARLA J BELLISIO UTMA NJ 5224 MEGILL RD RD 2                                                                            FARMINGDALE        NJ    07727‐3685

CAROL WILKINS                                     63 WEEQUAHIC AVENUE                                                                            NEWARK             NJ    07112‐2401
CAROL WILLIAMS TENER                              619 TREMONT AVE                                                                                WESTFIELD          NJ    07090‐1357
CAROL WILLIS                                      8653 C SW 96TH ST                                                                              OCALA              FL    34481‐6625
CAROL Y STRYKER                                   106 ROCKAWAY RD                                                                                LEBANON            NJ    08833‐4408
CAROL ZATZ                                        57‐28 260 STREET                                                                               LITTLE NECK        NY    11362‐2238
CAROLA HAMANN                                     119 SHAWNEE AVE                                                                                SAN FRANCISCO      CA    94112‐3306
CAROLA HAWKS                                      9 REFLECTION DR                       UNIT 302                                                 HUDSON             NH    03051
CAROLAN E MAGNOLI                                 880 RIVER VAL RD                                                                               RIVER VAL          NJ    07675‐6123
CAROLAND HAGAN                                    5112 PHILLIP CT                                                                                MIDDLETOWN         OH    45044‐5404
CAROLANN B FOLEY CUST COLIN JOSEPH FOLEY UTMA     PO BOX 115                                                                                     PAXTON             MA    01612‐0115
MA
CAROLANN OLIVEIRA EX EST MARIETA G HOWARD         162 MINEARL SPRING AVE                                                                         PAWTUCKET          RI    02860
CAROLANN PALUMBO                                  15 LEXINGTON HILLS                    UNIT 11                                                  HARRIMAN           NY    10926‐3400
CAROLD A DEAN                                     2302 16TH AVE N                                                                                CLEAR LAKE         IA    50428‐2003
CAROLE A BENDER & JAMES E BENDER JT TEN           46721 LARCHMONT                                                                                CANTON             MI    48187‐4726
CAROLE A BRAMBLE & TIMOTHY W BRAMBLE JT TEN       220 COYOTE RUN                                                                                 HOLLY              MI    48442

CAROLE A CAMPBELL & MICHAEL J CAMPBELL JT TEN     4117 SHERWOOD RD                                                                               ORTENVILLE         MI    48462‐9207

CAROLE A CHANDLER                                 2179 WRENS WAY                                                                                 CLEARWATER       FL      33764‐6432
CAROLE A DAVIS                                    201 S HYATT                                                                                    TIPP CITY        OH      45371‐1251
CAROLE A DECARLO                                  1146 LYNETTE DRIVE                                                                             LAKE FOREST      IL      60045‐4601
CAROLE A DOBSON                                   3000 FAIRHOPE RD                                                                               WILMINGTON       DE      19810‐1626
CAROLE A DUKE                                     10417 WEMBERLEY HILL BLVD                                                                      LOUISVILLE       KY      40241‐3417
CAROLE A FALOTICO                                 18 FIVE BRIDGES CT                                                                             BARNEGAT         NJ      08005‐5579
CAROLE A FLINT                                    16 CRESCENT LANE                                                                               COLORADO SPRINGS CO      80904‐1809

CAROLE A GLOWACKI                                 11210 OLD CARRIAGE ROAD                                                                        GLEN ARM           MD    21057‐9415
CAROLE A HALE                                     34 NORMANDY DR                                                                                 LK ST LOUIS        MO    63367‐1502
CAROLE A HAMILTON                                 7300 AKRON RD                                                                                  LOCKPORT           NY    14094‐6263
CAROLE A HOWARD TOD JEFFREY B HOWARD SUBJECT      5188 OAKVIEW DR                                                                                SWARTZ CREEK       MI    48473
TO STA TOD RULES
CAROLE A HUNT                                     1018 CARMEN DR                                                                                 WEIDMAN            MI    48893‐8828
CAROLE A KANE                                     14819 RIVERCREST                                                                               STERLING HEIGHTS   MI    48312‐4456

CAROLE A KIRCHER TR CAROLE A KIRCHER TRUST UA     110 HAWTHORNE AVE                                                                              NEPTUNE CITY       NJ    07753‐6353
01/06/03
CAROLE A KUHN                                     432 WILDWOOD AVE                                                                               PITMAN             NJ    08071
CAROLE A MANIMBO CUST DANIEL THOMAS MANIMBO       719 PONUS RIDGE                                                                                NEW CANAAN         CT    06840‐3411
UGMA CT
CAROLE A MARCROFT                                 7021 FALLEN OAK TRCE                                                                           DAYTON             OH    45459‐4857
CAROLE A MARCROFT & KENNETH M MARCROFT JT TEN     7021 FALLEN OAK TRCE                                                                           DAYTON             OH    45459‐4857

CAROLE A MARSHALEK TR CAROLE A MARSHALEK TRUST 10377 CHAMPIONS CIRCLE                                                                            GRAND BLANC        MI    48439‐9442
UA 03/12/99
CAROLE A MCCONVILLE                            C/O CAROLE A SPATARO                     400 SIMON PL                                             BRICK TOWN         NJ    08724‐1592
CAROLE A MUNGER                                1140 EMERALD FOREST LN                                                                            DAVISON            MI    48423‐9022
CAROLE A NELSON                                539 BYLAND DR                                                                                     BEECH GROVE        IN    46107‐2040
CAROLE A NEWRONES & RAYMOND NEWRONES JT TEN 1415 RICHMOND RD                                                                                     LYNDHURST          OH    44124‐2449

CAROLE A PIFER                                    313 SILVERTHORN DR                                                                             MARIETTA           GA    30064‐1061
CAROLE A RISTOFF                                  C/O C A R HOLTJE                      229 PARK AVE                                             HAUPPAUGE          NY    11788‐2963
CAROLE A SALUS                                    12850 VALE BLVD                                                                                FLORIS             IA    52560
CAROLE A SERGOTT                                  4698 WOLFF DRIVE                                                                               BRUNSWICK          OH    44212‐2549
CAROLE A SHIELDS                                  2333 SE MOHAWK DR                                                                              LATHROP            MO    64465‐8425
CAROLE A SHINE                                    69 BONHAM ROAD                                                                                 DEDHAM             MA    02026‐5323
CAROLE A SHINE & GERTRUDE E COTTER JT TEN         69 BONHAM ROAD                                                                                 DEDHAM             MA    02026‐5323
                                            09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 601 of 850
Name                                           Address1                            Address2             Address3          Address4          City            State Zip

CAROLE A SLIWA                                 POB 723                                                                                      HOUGHTON LAKE   MI    48629
CAROLE A SPENCER                               8354 CHAMBERSBURG ROAD                                                                       DAYTON          OH    45424‐3940
CAROLE A VASELANEY                             4773 EDENWOOD ROAD                                                                           SOUTH EUCLID    OH    44121‐3843
CAROLE A VIZZO                                 167A THAYER ST                                                                               MILLVILLE       MA    01529‐1623
CAROLE A WACHTEL                               6612 ENGLISH OAK CT                                                                          MONTGOMERY      AL    36117‐6831
CAROLE A WALDINGER                             4799 BENNETTS CORNERS RD                                                                     HOLLEY          NY    14470‐9503
CAROLE A WRUBEL                                555 BRUSH ST                        APT 3301                                                 DETROIT         MI    48226‐4357
CAROLE A YOUNG                                 1365 INVERNESS FARMS RD                                                                      MARTINSVILLE    IN    46151‐7250
CAROLE ALEXANDER                               2515 LOCKHEED DR                                                                             MIDLAND         TX    79701
CAROLE ANN BROWN & WILLIAM C BROWN JT TEN      4195 SW 185TH                                                                                ALOHA           OR    97007‐1565

CAROLE ANN COLEMAN                              18908 E CRESTWOOD LN                                                                        OTIS ORCHARDS   WA    99027
CAROLE ANN GUTTERIDGE & PHILLIP J GUTTERIDGE JT 11039 HALSEY ROAD                                                                           GRAND BLANC     MI    48439‐8201
TEN
CAROLE ANN H BARTH                              10602 LOCKRIDGE DR                                                                          SILVER SPRING   MD    20901‐1605
CAROLE ANN LATHEM                               247 GLENKAREN DR                                                                            DILLARD         GA    30537‐9727
CAROLE ANN NEELEY                               7295 LATHAM CT                                                                              HUGHESVILLE     MD    20637‐2508
CAROLE ANN ROSS & ARTHUR E ROSS JT TEN          2405 LOFTON CT                                                                              LAWRENCEVILLE   GA    30044
CAROLE ANN SHACKELFORD                          4115 BURKE STATION ROAD                                                                     FAIRFAX         VA    22032‐1006
CAROLE ANN STODDARD & KAREN LYNNE STODDARD JT 130 LITTONDALE CT                                                                             MIDDLETOWN      DE    19709‐1396
TEN
CAROLE ANN TAGGART                              6230 JOYCE WAY                                                                              DALLAS          TX    75225‐2113
CAROLE ANN VALDEZ                               949 E ALAMEDA ST                                                                            MANTECA         CA    95336‐4035
CAROLE B AIKENS                                 101 QUEENS CT                                                                               AIKEN           SC    29803‐6576
CAROLE B FISHMAN                                315 MONTANA AVE APT 412                                                                     SANTA MONICA    CA    90403‐1255
CAROLE B ROUTMAN CUST KEVIN JON ROUTMAN UTMA 1320 WILLEO CREEK DR                                                                           ROSWELL         GA    30075‐3243
GA
CAROLE B VAUGHAN                                791 STALLION RD SE                                                                          RIO RANCHO      NM    87124
CAROLE BAIR CUST MICHELLE SUZANNE BAIR UGMA IL 885 SOUTHFIELD LN                                                                            ALPHARETTA      GA    30004‐4260

CAROLE BANKS                                  139 D RIDGEROAD                                                                               CEDAR GROVE     NJ    07009‐2062
CAROLE BLLUHM & C JAMES BLUHM TR CAROLE BLUHM 31954 LAKE RD                                                                                 AVON LAKE       OH    44012‐2021
LVG TRUST UA 5/1/00
CAROLE BOLSTAD                                30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & AMANDA BOLSTAD JT TEN        30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & ANNABELLE BOLSTAD JT TEN     30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & ANNE BOLSTAD JT TEN          30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91351‐4625
CAROLE BOLSTAD & BETTY BOLSTAD JT TEN         30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91351‐4625
CAROLE BOLSTAD & DAKOTA BOLSTAD JT TEN        30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & DON BOLSTAD JT TEN           30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & FRANK BOLSTAD JT TEN         30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & JANE BOLSTAD JT TEN          30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & JENNY BOLSTAD JT TEN         30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & JOHN BOLSTAD JT TEN          30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & JOSEPH C BOLSTAD JT TEN      30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361
CAROLE BOLSTAD & JOSHUA BOLSTAD JT TEN        30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & KATELIN BOLSTAD JT TEN       30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & LAUREN BOLSTAD JT TEN        30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & PAT BOLSTAD JT TEN           30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & PAUL BOLSTAD JT TEN          30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & PETER BOLSTAD JT TEN         30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & ROBERT BOLSTAD JT TEN        30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BOLSTAD & TOM BOLSTAD JT TEN           30992 LEXINGTON WAY                                                                           WESTLAKE VLG    CA    91361‐4625
CAROLE BURROWS                                1120 OXFORD                                                                                   DOWNERS GROVE   IL    60516‐2807
CAROLE C ANSTEAD & JOHN ANSTEAD JT TEN        1925 HOLDEN'S ARBOR CIRCLE                                                                    WESTLAKE        OH    44145‐2076
CAROLE C DORMAN                               ATTN CAROLE C UNIATOWSKI             207 LENA DRIVE                                           WILMINGTON      DE    19711‐3784
CAROLE CARTER ANDERSON & JOSEPH CARL ANDERSON 1025 WILLIAM BROWN LANE                                                                       KERNERSVILLE    NC    27284‐2387
JT TEN
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 602 of 850
Name                                              Address1                             Address2             Address3          Address4          City               State Zip

CAROLE CARTER ANDERSON CUST SETH WILLIAM          1025 WILLIAM BROWN LANE                                                                       KERNERSVILLE       NC    27284‐2387
ANDERSON UTMA VA
CAROLE CARTER ANDERSON CUST TARA KRISTINE         1025 WILLIAM BROWN LANE                                                                       KERNERSVILLE       NC    27284‐2387
ANDERSON UTMA VA
CAROLE CHRISTOPHERSON                             6038 PATRICK HENRY                                                                            SAN ANTONIO        TX    78233‐5221
CAROLE D BRANDT & GLENN A BRANDT JT TEN           1907 BENTWOOD COURT                                                                           CHESTERFIELD       MO    63005‐4752
CAROLE D KELLER TR REVOCABLE TRUST 08/19/92 U‐A   1824 CRAGIN DRIVE                                                                             BLOOMFIELD HILLS   MI    48302‐2229
CAROLE D KELLER
CAROLE D PUGH & ROY C PUGH JT TEN                 17130 PUGH LN                                                                                 CONROE             TX    77306‐7568
CAROLE D STIELER                                  1189 BELLE RIVER RD                                                                           EAST CHINA         MI    48054‐4708
CAROLE D STOVER                                   9097 76TH AVE N                                                                               SEMINOLE           FL    33777‐4151
CAROLE D VINCENT & R THOMAS VINCENT SR JT TEN     12487 SALT BARN RD                                                                            LAUREL             DE    19956‐3337

CAROLE D WALTON                                   343 PAUL STREET                                                                               ENDICOTT           NY    13760‐1221
CAROLE DRZEWIECKI                                 S70W15281 HONEYSUCKLE LN                                                                      MUSKEGO            WI    53150‐7944
CAROLE DYE DE CANTO                               C/O JOHN T DYE                       509 N BROAD STREET                                       LANCASTER          OH    43130‐3032
CAROLE E CROWL & WENDY G CROWL JT TEN             412 WILDWOOD ROAD                                                                             NORTHVALE          NJ    07647‐1215
CAROLE E HANCOCK                                  16 ADELPHI DR                                                                                 GREENLAWN          NY    11740‐1802
CAROLE E ROTHERMEL                                204 JACKSON                                                                                   PERU               IN    46970‐1128
CAROLE E STROBEL                                  627 FRANKLIN AVE                                                                              UNION              OH    45322‐3214
CAROLE F MOORE                                    56‐47 196TH ST                                                                                FLUSHING           NY    11365‐2330
CAROLE F ZOOK                                     85 PLEASANT HILL DRIVE                                                                        ELKTON             MD    21921‐2427
CAROLE FALVO                                      252 WALNUT STREET NW                                                                          WASHINGTON         DC    20012‐2157
CAROLE FELDMAN                                    1500 BAY BLVD                                                                                 ATLANTIC BCH       NY    11509
CAROLE G BURR                                     PO BOX 1883                                                                                   ELLICOTT CITY      MD    21041‐1883
CAROLE G COHN                                     20 EVERGREEN PLACE                                                                            MAPLEWOOD          NJ    07040‐1023
CAROLE G EVERETT & TONY D EVERETT JT TEN          8850 MORRISON                                                                                 PLYMOUTH           MI    48170
CAROLE G HUTZLER                                  1485 TRIPODI CIR                                                                              NILES              OH    44446‐3564
CAROLE GEORGE                                     1218 BRADBURY                                                                                 TROY               MI    48098‐6311
CAROLE GUERTIN                                    48620 GOLDEN OAKS LN                                                                          SHELBY TWP         MI    48317‐2614
CAROLE H BRUNHUBER                                140 GREYSTONE LANE #1                                                                         ROCHESTER          NY    14618‐4946
CAROLE HARMEL                                     4728 N VIRGINIA AVE                                                                           CHICAGO            IL    60625‐3708
CAROLE HARRIS                                     15 EAST KIRBY                        APT 611                                                  DETROIT            MI    48202
CAROLE HELSTROM                                   4775 DEL MONTE AVE                                                                            SAN DIEGO          CA    92107‐3501
CAROLE I WILDE                                    230 MCKINLEY AVE                                                                              KENMORE            NY    14217‐2438
CAROLE J ADAMS                                    2012 RIVER BASIN TER                                                                          PUNTA GORDA        FL    33982‐1105
CAROLE J BARANOWSKI                               1890 WENTWORTH DR                                                                             CANTON             MI    48188‐3093
CAROLE J BAUDINO                                  2500 SYCAMORE DR                                                                              MORRIS             IL    60450‐3306
CAROLE J BRAYTON                                  848 OLD MILL DR                                                                               LOVELAND           OH    45140‐8077
CAROLE J BRYAN                                    819 11TH ST                                                                                   SNIDER             OK    73566‐2414
CAROLE J DELONG                                   1668 LILLIAN COURT                                                                            COLUMBIA           TN    38401‐5419
CAROLE J DILLON                                   139 NORTHGATE DR NE                                                                           WARREN             OH    44484‐5535
CAROLE J FLETCHER                                 6512 NW MELODY LANE                                                                           KANSAS CITY        MO    64152‐2783
CAROLE J FORTENBACH                               PO BOX 624                                                                                    HIGHLAND LAKES     NJ    07422‐0624
CAROLE J FOX CUST KERRY E FOX UGMA NY             66‐03 73RD PL                                                                                 MIDDLE VILLAGE     NY    11379‐2227
CAROLE J HENNING                                  210 S DORCHESTER                                                                              WHEATON            IL    60187‐4712
CAROLE J HUTCHINSON                               1203 HOLLENBECK AVE                                                                           SUNNYVALE          CA    94087‐2409
CAROLE J LEE                                      4427 LOUELLA DR                                                                               WATERFORD          MI    48329‐4027
CAROLE J MCPHEARSON                               10600 N 600 W                                                                                 ELWOOD             IN    46036‐8924
CAROLE J MENELLE                                  1806 ARTHUR N W                                                                               WARREN             OH    44485‐1807
CAROLE J MILLER                                   235 GARFIELD AVE                                                                              SYRACUSE           NY    13205‐1117
CAROLE J PHILLIPS                                 BOX 127 76 FOCH CIRCLE                                                                        NEMACOLIN          PA    15351‐0127
CAROLE J PLANTAMURO                               4 BIRCHWOOD TER                      # 41                                                     BRISTOL            CT    06010‐9125
CAROLE J SANDSTROM                                7401 PALOMINO CIRCLE                                                                          FLOWER MOUND       TX    75022‐6085
CAROLE J SCHOETTLE                                8610 MILLMAN PL                                                                               PHILADELPHIA       PA    19118‐3717
CAROLE J SCHWABE                                  440 MERWINS LANE                                                                              FAIRFIELD          CT    06430‐1974
CAROLE J SHUTT                                    4580 SOUTH 200 WEST                                                                           KOKOMO             IN    46902‐9105
CAROLE J SIMON                                    114 SOUTH BERLIN RD                                                                           LINDENWOLD         NJ    08021‐1704
CAROLE J SZABO TR UA 09/01/95 CAROLE J SZABO      7072 SPANISH MOSS LN                                                                          BROOKSUILLE        FL    34601‐6801
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 603 of 850
Name                                              Address1                             Address2                Address3       Address4          City               State Zip

CAROLE J VOGUE                                    825 RIDGEVIEW DRIVE                                                                           PITTSBURGH       PA      15228‐1707
CAROLE J WEATHERFORD                              26309 HOLLY HILL                                                                              FARMINGTON HILLS MI      48334‐4518

CAROLE JACOBSON                                   2539 SW BROOKWOOD LN                                                                          PALM CITY          FL    34990‐4752
CAROLE JEAN BRYAN                                 819 11TH ST                                                                                   SNIDER             OK    73566‐2414
CAROLE JEAN HALSEY                                9671 SPRINGPORT RD                                                                            SPRINGPORT         MI    49284‐9323
CAROLE JEAN SHANBERG                              APT 315                              3600 LAKE SHORE DRIVE                                    CHICAGO            IL    60613‐4655
CAROLE JOAN HOFFMAN                               25 MCCANN DR                                                                                  OTTSVILLE          PA    18942‐1767
CAROLE JONES CUST STEVEN M JONES UGMA MI          175 DEVON RD                                                                                  BLOOMFIELD HILLS   MI    48302‐1125

CAROLE K BRIESACHER                               4307 LEMONWOOD CIR                                                                            BRADENTON          FL    34208‐8046
CAROLE K LUNG                                     15792 TULLOW LANE                                                                             HUNGTINTON         CA    92647‐3145
                                                                                                                                                BEACH
CAROLE KELLER & EILEEN FLAHERTY JT TEN            515 BEACH 124TH STREET                                                                        ROCKAWAY PARK      NY    11694‐1845
CAROLE KELLY CUST RICK KELLY UTMA CA              444 YALE AVE                                                                                  REXBURG            ID    83440‐2529
CAROLE KENDALL                                    1347 S PASEO DE MARCIA                                                                        PALM SPRINGS       CA    92264‐8535
CAROLE L BRINKERT                                 1412 TAMARACK NW                                                                              GRAND RAPIDS       MI    49504‐3039
CAROLE L CRAIG & NEAL A CRAIG JT TEN              11371 SW TORCH LAKE DR                                                                        RAPID CITY         MI    49676‐9610
CAROLE L DEMARCO                                  6667 WINDMILL LN                                                                              WEST BLOOMFIELD    MI    48324‐3754

CAROLE L GARAVAGLIA                               1800 GREENWAY                                                                                 PLANO              TX    75075‐6651
CAROLE L HYSELL                                   8725 ELDORADO                                                                                 WHITE LAKE         MI    48386‐3407
CAROLE L LAPHAM                                   1540 MIDDLE RD                                                                                HIGHLAND           MI    48357‐3408
CAROLE L LOUDAT                                   730 GRANGE CT                                                                                 WHEATON            IL    60187‐8051
CAROLE L MOUZON                                   5216 CADE RD                                                                                  CADES              SC    29518‐3052
CAROLE L PASSIGLIA                                400 18TH ST                          APT V5                                                   VERO BEACH         FL    32960‐0857
CAROLE L SCHROEDER                                12465 BURTLEY                                                                                 STELINGHIGHTS      MI    48313‐1809
CAROLE L SLACK                                    236 BAUCOM PARK DR                                                                            GREER              SC    29650‐2972
CAROLE L STACY                                    825 DAYTON YELLOW SPRINGS RD                                                                  FAIRBORN           OH    45324
CAROLE L STANLEY                                  7517 W WOODLAWN DRIVE                                                                         FRANKFORT          IL    60423‐8921
CAROLE L WEAVER                                   190 MULBERRY DR                                                                               FARMINGTON         NY    14425‐7055
CAROLE L WOOLSEY                                  3793 N ADAMS                                                                                  BLOOMFIELD HILLS   MI    48304‐3710

CAROLE LEACH                                      5274 CHAPMAN ROAD # 1                                                                         CORTLAND           NY    13045
CAROLE LEE WALCHER                                311 YONDER HILL LANE                                                                          WEXFORD            PA    15090‐9440
CAROLE LUTZ                                       53 ALEXANDER AVE                                                                              HICKSVILLE         NY    11801‐6357
CAROLE M ARMENANTE                                35 ELIZABETH AVE                                                                              HAMILTON           NJ    08610‐6519
CAROLE M CARTER                                   4934D S CORNELL AVE                                                                           CHICAGO            IL    60615‐3014
CAROLE M CHARLES                                  3948 TIMBERCREST CIRCLE                                                                       HOLT               MI    48842‐9761
CAROLE M CONWAY                                   6006 W DORSET DR                                                                              CRYSTAL RIVER      FL    34429‐7542
CAROLE M CORSTANGE                                166 CENTER ST                                                                                 ASHBURNHAM         MA    01430‐1613
CAROLE M DUFFY                                    29 E CROSS ST                                                                                 NORWOOD            MA    02062‐4803
CAROLE M GEMUENDEN                                5311 SITKA ST                                                                                 BURTON             MI    48519‐1521
CAROLE M GLENN & JAMES H MCCUSKER JT TEN          8322 WHITAKER #18                                                                             BUENA PARK         CA    90621‐3143
CAROLE M ROBINSON                                 8995 EDGAR RD NE                                                                              BREMERTON          WA    98311
CAROLE M ROSE                                     1810 SUNRISE DRIVE                                                                            BIG PINE KEY       FL    33043
CAROLE M SCHNEIDER                                7 AVENUE DE LA MER                   UNIT 606                                                 PALM COAST         FL    32137‐2257
CAROLE M SUNDQUIST                                1023 HAMPSTEAD                                                                                ESSEXVILLE         MI    48732‐1907
CAROLE M VETOVITZ                                 6514 AYLESWORTH DR                                                                            CLEVELAND          OH    44130‐3109
CAROLE MC KINNEY                                  426 OVERLOOK DR                                                                               WATERVILLE         OH    43566‐1519
CAROLE MOLINE RECORD                              809 S PURDUM                                                                                  KOKOMO             IN    46901‐5545
CAROLE MOLINE RECORD & AMY ANN HILDRETH JT TEN    809 S PURDUM ST                                                                               KOKOMO             IN    46901

CAROLE N LARBERG                                  12425 HARRIET ROAD                                                                            SWANTON            OH    43558‐9102
CAROLE N SCHAAB                                   7476 CASE AVE                                                                                 MENTOR             OH    44060‐5721
CAROLE P DIETZ                                    36 OLIVE ST                                                                                   CLOSTER            NJ    07624‐1029
CAROLE PEPPLE TOD TIM PEPPLE SUBJECT TO STA TOD   6659 7 ST SE                                                                                  CARRINGTON         ND    58421‐9013
RULES
CAROLE PREBLICK                                   PO BOX 506                                                                                    SOUTH ORANGE       NJ    07079‐0506
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 604 of 850
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

CAROLE R HICKMAN                                  BOX 221                                                                                         ROSE CITY          MI    48654‐0221
CAROLE R MOORE                                    280 PROSPECT AVE                       APT 2B                                                   HACKENSACK         NJ    07601‐2537
CAROLE R ROSEN                                    75 HENRY APT 10A                                                                                BROOKLYN           NY    11201‐1752
CAROLE R SMALL                                    2121 LEWTON PLACE                                                                               LANSING            MI    48911‐1654
CAROLE RADER CUST MICHAEL RADER UGMA PA           702 BEVERLY HILLS CT                                                                            RED LION           PA    17356‐9186
CAROLE RENEE LERMAN                               ATTN CAROLE RENEE PROFFITT             2105 S BRINK AVE                                         SARASOTA           FL    34239‐4204
CAROLE RICH BARNETTE                              PO BOX 423                                                                                      HOLLY RIDGE        NC    28445
CAROLE RIDENOUR                                   10611 SHARON VALLEY RD                                                                          BROOKLYN           MI    49230‐8521
CAROLE ROSE STORY                                 23347 GILMORE STREET                                                                            WEST HILLS         CA    91307‐3312
CAROLE RUDY                                       PO BOX 88213                                                                                    CLORADO SPRINGS    CO    80908‐8213

CAROLE S JENNINGS                                525 WINNEPOGE DR                                                                                 FAIRFIELD          CT    06432‐2562
CAROLE S MARINO                                  2525 BROKEN HILL CT                                                                              WAUKESHA           WI    53188‐1559
CAROLE S MARINO & JOHN A MARINO JT TEN           2525 BROKEN HILL CT                                                                              WAUKESHA           WI    53188‐1559
CAROLE S MENCIN                                  4466 MICHAEL AVE                                                                                 NORTH OLMSTED      OH    44070‐2915
CAROLE S SUTTON                                  407 KAELIN DR                                                                                    LOUISVILLE         KY    40207
CAROLE S VANSACH                                 405 COLLAR PRICE RD                                                                              BROOKFIELD         OH    44403‐9708
CAROLE S VILARDO                                 983 CENTENNIAL DR                                                                                W CHESTER          PA    19382‐2352
CAROLE S WACHOWSKI                               6745 S EUCLID                                                                                    BAY CITY           MI    48706‐9373
CAROLE SCHULER                                   6639 WETHEROLE ST                                                                                REGO PARK          NY    11374
CAROLE SHAULL TR CAROLE SHAULL TRUST UA 01/09/98 5117 STEVENSON ST                                                                                RICHMOND           OH    44143‐2761
                                                                                                                                                  HEIGHTS
CAROLE SMITH                                      1432 MOULTRIE DR                                                                                AIKEN              SC    29803‐7512
CAROLE SPRINGER                                   8610 MILLMAN PL                                                                                 PHILADELPHIA       PA    19118‐3717
CAROLE SUSAN INGRATTA                             9117 MIDNIGHT PASS RD #C                                                                        SARASOTA           FL    34242‐2990
CAROLE T ELMORE                                   2422 DOVER ST                                                                                   ANDERSON           IN    46013‐3128
CAROLE TRAVIS                                     5300 SOUTH SHORE DRIVE                 APT 121                                                  CHICAGO            IL    60615‐5727
CAROLE W CALLIHAN                                 577 CENTER ST WEST                                                                              WARREN             OH    44481‐9384
CAROLE W KILLALEA                                 17 DEERCREST SQUARE                                                                             INDIAN HEAD PARK   IL    60525‐4433

CAROLE W WALKER                                   809 BERQUIST DRIVE                                                                              BALLWIN            MO    63011
CAROLE WAGNER                                     208 SOUTH DIVISION ST                                                                           LELIENAPLE         PA    16063‐1209
CAROLE WLODYKA & JOHN H WLODYKA JR JT TEN         2302 GRING DR                                                                                   READING            PA    19609‐1143
CAROLE WLODYKA & JUDIE LAROSA JT TEN              2302 GRING DR                                                                                   READING            PA    19609‐1143
CAROLE ZEUSCHEL GROVER                            9 BROADVIEW FARM RD                    ST LOUIS                                                 SAINT LOUIS        MO    63141
CAROLEAN ROBERSON                                 3635 SEAWAY DR                                                                                  LANSING            MI    48911‐1912
CAROLEE A PRESLEY                                 2820 PLAYERS DRIVE                                                                              JONESBORO          GA    30236‐4165
CAROLEE A SMITH                                   538 STANTON                                                                                     NILES              OH    44446‐1462
CAROLEE SMITH TOD LANA SUE SMITH SUBJECT TO STA   6704 ASHBROOK DR                                                                                FORT WORTH         TX    76132
TOD RULES
CAROLEE WARREN                                    1108 EASTSIDE DR D                                                                              KILLEEN            TX    76543‐4222
CAROLENE B WETZEL CUST MARCIA LYNN WETZEL         4857 OAKWOOD COURT                                                                              LOGANVILLE         GA    30052‐5212
UGMA NC
CAROLENE B WETZEL CUST PATRICIA ANN WETZEL        4609 HUNTINGTON CT                                                                              RALEIGH            NC    27609‐5215
UGMA NC
CAROLENE MARTIN                                   13151 ELMDALE ST                                                                                DETROIT            MI    48213‐1900
CAROLETTE F MALONE                                5829 ROWLEY                                                                                     DETROIT            MI    48212‐2408
CAROLIN M GAZARATO                                1159 LAKEPOINTE                                                                                 GROSSE POINTE      MI    48230‐1319
CAROLINA ALVAREZ ROBLES                           27860 MOUNT HOOD WAY                                                                            YORBA LINDA        CA    92887‐4243
CAROLINA D BOGUE                                  231 WOOD RUN                                                                                    ROCHESTER          NY    14612‐2264
CAROLINA HOSIERY MILLS INC                        PO BOX 850                                                                                      BURLINGTON         NC    27216‐0850
CAROLINA K WHITFIELD SMITH                        2349 WILD VALLEY DR                                                                             JACKSON            MS    39211‐6222
CAROLINA L HARRIS                                 RR 2 BOX 156B                                                                                   WAURIKA            OK    73573
CAROLINE A ADAMS                                  BOX 307                                106 W 1ST N                                              LAINGSBURG         MI    48848‐0307
CAROLINE A BEACH                                  6632 ALBION RD                                                                                  OAKFIELD           NY    14125‐9764
CAROLINE A BUCK                                   204 CHESWOLD LN                                                                                 HAVERFORD          PA    19041‐1804
CAROLINE A DIETZ                                  3899 NOBLIN CREEK DR                                                                            DULUTH             GA    30097‐7900
CAROLINE A DUDLEY                                 1402 W MOORE ST                                                                                 FLINT              MI    48504‐3548
CAROLINE A EDMONDS                                387 WALNUT ST                                                                                   MT MORRIS          MI    48458‐1948
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                        Part 1 of 8 Pg 605 of 850
Name                                              Address1                               Address2             Address3          Address4            City             State Zip

CAROLINE A ELLIS                                   PO BOX 368                                                                                       SIASCONSET       MA    02564‐0368
CAROLINE A GOOD TOD EMILY C GOOD SUBJECT TO STA 30129 ROBERT ST                                                                                     WICKLIFFE        OH    44092
TOD RULES
CAROLINE A HALL                                    5131 PINE RIVER TRL                                                                              CASTLE ROCK      CO    80108‐8839
CAROLINE A KUZMA                                   108 EVERGREEN TRAIL                                                                              LAKE ORION       MI    48362‐3378
CAROLINE A PAPROCKI                                5429 S 20TH ST                                                                                   MILWAUKEE        WI    53221‐4369
CAROLINE A PHILLIPS                                5194 WINSHALL DR                                                                                 SWARTZ CREEK     MI    48473‐1223
CAROLINE A PIERCE TR UA 02/01/01 CAROLINE A PIERCE 26040 OAKLAND                                                                                    ROSEVILLE        MI    48066
LIV TRUST
CAROLINE A PLIZGA                                  26070 SHELL CT                                                                                   WARREN           MI    48091‐1136
CAROLINE A TITSWORTH                               3902 DOUGLAS AVE                                                                                 FLINT            MI    48506‐2428
CAROLINE ALLRUTZ                                   177 BEACON HILL BLVD                                                                             NORTHFIELD       OH    44067‐2625
CAROLINE ANN O'CONNELL                             12 MUIRFIELD BLVD                                                                                MONROE TWP       NJ    08831
CAROLINE B GROTZ                                   2 YEGER ROAD                                                                                     PRINCETON        NJ    08550‐2809
                                                                                                                                                    JUNCTION
CAROLINE B HASLAM                                 2 DAKOTA AVE                                                                                      WILMINGTON       DE    19803‐3214
CAROLINE B JACOB                                  62170 MT VERNON                                                                                   WASHINGTON       MI    48094‐1024
CAROLINE B MACK & ROBERTA K PETER JT TEN          2702 SUNNER AVE APT 3A                                                                            SPIRIT LAKE      IA    51360
CAROLINE B SCHAFFER                               2419 BROTHERS DRIVE                                                                               TUSKEGEE         AL    36083‐2945
CAROLINE BARRETT TR CAROLINE BARRETT DECL OF      3939 N NORDICA AVE                                                                                CHICAGO          IL    60634‐2381
TRUST 11/18/91
CAROLINE BEAN                                     6100 W 3725 S                                                                                     SALT LAKE CITY   UT    84128‐2549
CAROLINE BEATTIE                                  27222 KAREN MARIE                                                                                 CHESTERFIELD     MI    48051‐2533
CAROLINE BERGER                                   30 E DILIDO DR                                                                                    MIAMI BEACH      FL    33139‐1226
CAROLINE BRODY TR ROSLYN BRODY A MINOR U/DECL     7700 LISTER ST LEXINGTON PARK                                                                     PHILADELPHIA     PA    19152‐3915
OF TRUST 12/9/55
CAROLINE BUFFALOE HILL                            258 PROSPECT #A                                                                                   LONG BEACH       CA    90803
CAROLINE BUNKER                                   8625 N 27 AVE                                                                                     PHOENIX          AZ    85051‐4014
CAROLINE BURNETT COOK                             4933 BUCKHORN DR                                                                                  ROANOKE          VA    24014‐5705
CAROLINE BUZZARD                                  1461 PEN ARGYL ROAD                                                                               PEN ARGYL        PA    18072‐9692
CAROLINE C BROOKS                                 105 E SUMMIT ST                                                                                   DURAND           MI    48429‐1272
CAROLINE C GUIDA                                  1140 LAWRENCE AVE                                                                                 PT PLEASANT      NJ    08742‐2342
CAROLINE C HIGHT                                  PO BOX 379                                                                                        ELDORADO         TX    76936‐0379
CAROLINE C MILLER                                 2737 WHITNEY AVE                                                                                  NIAGARA FALLS    NY    14301‐1431
CAROLINE C NIEDOWICZ & KENNETH M NIEDOWICZ JT     6498 MONTCLAIR DR                                                                                 TROY             MI    48085‐1615
TEN
CAROLINE C POTTER                                 6960 HAWORTH ST                                                                                   SAN DIEGO        CA    92122‐2715
CAROLINE C RONCHINI                               VIA GREGORIO VII 221                   00165 ROME                             ITALY
CAROLINE C SCHWARTZMANN                           187 STONEHEDGE DR                                                                                 NEWINGTON        CT    06111‐4921
CAROLINE CARROLL                                  8 ROSE HILL AVE                                                                                   ARMONK           NY    10504‐1922
CAROLINE CARVELLI                                 702 4TH ST                                                                                        ASPINWALL        PA    15215
CAROLINE COFFEY                                   619 BARNES AVE                                                                                    ENDICOTT         NY    13760‐4120
CAROLINE COTTON & DENNIS POWERS JT TEN            104 WINIFRED AVE                                                                                  WORCESTER        MA    01602‐1553
CAROLINE D CASCINI                                325 MARYLAND NE                                                                                   GRAND RAPIDS     MI    49503‐3939
CAROLINE D STIGLIANO                              1078 BONAIR DR                                                                                    SHARON           PA    16146‐3514
CAROLINE DAY CUST ROBERT NEILL DAY UGMA           3005 WINDERMERE RD                                                                                LEXINGTON        KY    40502‐2950
CAROLINE E ABRAHAM                                13541 ARNOLD                                                                                      REDFORD          MI    48239‐2672
CAROLINE E BABBITT & KATLEEN LIVINGSTON JT TEN    BOX 282                                                                                           SCHOHAIRE        NY    12157‐0282

CAROLINE E CAMBRIDGE                              335 COLLIER AVE                                                                                   TRENTON          NJ    08619‐2803
CAROLINE E CARVER                                 12 SHERMAN AVE                                                                                    MORRIS PLANS     NJ    07950‐1723
CAROLINE E DONOVAN                                8294 W 100 N                                                                                      KOKOMO           IN    46901‐8747
CAROLINE E FONSECA & RAUL A FONSECA JT TEN        7503 DANEHILL DR                                                                                  SPRING           TX    77389‐3497
CAROLINE E HENRY                                  8294 W 100 N                                                                                      KOKOMO           IN    46901‐8747
CAROLINE E HENRY & LAUREN C DONOVAN JT TEN        8294W 100N                                                                                        KOKOMO           IN    46901‐8747
CAROLINE E JOBB & BELA JOBB JT TEN                1820 DELAWARE AVE                                                                                 FLINT            MI    48506‐3394
CAROLINE E TOLER                                  8102 WOODCREEK DR                                                                                 INDIANAPOLIS     IN    46256‐2184
CAROLINE EVANS                                    216 SOUTH 10TH ST                                                                                 GAS CITY         IN    46933‐2120
CAROLINE F TOLLEFSON                              6342 ADAMS                                                                                        GROVES           TX    77619‐5307
                                            09-50026-mg                     Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 606 of 850
Name                                               Address1                                Address2             Address3          Address4          City             State Zip

CAROLINE FLACHSMANN                                16284 WYSONG                                                                                     CLINTON TWP      MI    48035‐2288
CAROLINE FLAHERTY GOLDSMITH                        709 HIGH STREET                                                                                  HACKETTSTOWN     NJ    07840‐1528
CAROLINE FOBARE & LARRY FOBARE JR JT TEN           18401 FRAZHO RD                                                                                  ROSEVILLE        MI    48066‐4903
CAROLINE FORCELLI                                  16 RIDGECREST RD                                                                                 LK PEEKSKILL     NY    10537‐1000
CAROLINE FREID                                     1406 RANGEWOOD BLVD                                                                              ORLANDO          FL    32818‐5681
CAROLINE FURANO                                    709 CHERRY TREE WAY                                                                              CRANBERRY        PA    16066‐2813
                                                                                                                                                    TWNSHIP
CAROLINE G THOMPSON                              1184 MEACHAM RD                                                                                    RAY              OH    45672‐9610
CAROLINE G WOOLFOLK                              304 SOMSET AVE                                                                                     CAMBRIDGE        MD    21613
CAROLINE H CHENEY                                496 CENTER RD                             PO BOX 149                                               WOODSTOCK        CT    06281‐0149
CAROLINE H NUCKOLLS CUST ELIZABETH LILLY UTMA WV 331 CLEAR SPRINGS COURT                                                                            MARIETTA         GA    30068‐3410

CAROLINE H NUCKOLLS CUST MICHAEL H LILLY JR UTMA   331 CLEAR SPRINGS COURT                                                                          MARIETTA         GA    30068‐3410
WV
CAROLINE HARRIS                                    1785 PENWORTH DRIVE                                                                              COLUMBUS         OH    43229‐5216
CAROLINE I HART                                    251 E OHIO ST                           STE 830                                                  INDIANAPOLIS     IN    46204‐2133
CAROLINE J BOLTON                                  1356 COLLEGE RD                                                                                  MASON            MI    48854
CAROLINE J GILLIAM                                 9649 MUSKETBALL CIRCLE #5                                                                        ANCHORAGE        AK    99507‐5389
CAROLINE J HARDIN                                  934 MARNAN DR NE                                                                                 FT WALTON BCH    FL    32547‐1355
CAROLINE J LUKINGBEAL                              2420 CRAIG COVE                                                                                  KNOXVILLE        TN    37919‐9313
CAROLINE J STOPHEL                                 1959 OLIVER AVE                                                                                  MEMPHIS          TN    38104‐5622
CAROLINE J WALLACE                                 2566 FOREST SPRINGS DR SE                                                                        WARREN           OH    44484‐5615
CAROLINE JONES GROVES                              718 13TH AVE                                                                                     HUNTINGTON       WV    25701‐3230
CAROLINE L O'CONNER EX U‐W LOUIS F CHAMPOUX        14 TALBOT AVE                                                                                    N BILLERICA      MA    01862‐1415

CAROLINE L RICHARD                                 515 8TH ST                                                                                       ELIZABETH        PA    15037‐1329
CAROLINE L SCHMITT                                 345 LUHMANN DR                                                                                   NEW MILFORD      NJ    07646‐1513
CAROLINE LOUISE MORGAN                             8559 RED OAK CT                         APT D                                                    INDIANAPOLIS     IN    46227‐0942
CAROLINE M ANDERSON                                1604 CRAIG STREET                                                                                RALEIGH          NC    27608
CAROLINE M BALL                                    2940 SEEBALDT                                                                                    WATERFORD        MI    48329‐4143
CAROLINE M BARCZEWSKI TOD RONALD J BARCZEWSKI      2090 GREEN ACRES DR                                                                              LAPEER           MI    48446‐9453
SUBJECT TO STA TOD RULES
CAROLINE M BONISZEWSKI CUST JUSTIN M               10 BEATRIX CIR                                                                                   LANCASTER        NY    14086‐9390
BONISZEWSKI UGMA NY
CAROLINE M BORDEN                                  6033 CRUXTON                                                                                     HUBER HEIGHTS    OH    45424‐3702
CAROLINE M CONSIDINE                               111 CAYMAN ST                                                                                    IOWA CITY        IA    52245‐3957
CAROLINE M DICKEY                                  4345 YORK RD                                                                                     COLLEGE PARK     GA    30337‐4837
CAROLINE M DUNCAN                                  68 N CROSS RD                                                                                    LAGRANGEVILLE    NY    12540‐5202
CAROLINE M EBEN                                    10185 W COLDSPRING RD #                                                                          MILWAUKEE        WI    53228‐2668
CAROLINE M GRANT                                   113 E BENSON ST                                                                                  DECATUR          GA    30030‐4307
CAROLINE M HART                                    24 PALISADE RD                                                                                   LINDEN           NJ    07036‐3829
CAROLINE M LASWELL                                 3272 GRAND FALLS BLVD                                                                            MAINEVILLE       OH    45039‐8144
CAROLINE M PERRY                                   2707 MARTIN LUTHER KING AVE                                                                      FLINT            MI    48505‐4959
CAROLINE M SCIGEL & MICHAEL A SCIGEL JT TEN        2250 W SNOVER RD                                                                                 MAYVILLE         MI    48744‐9773
CAROLINE M SHORT                                   112 MARSH ROAD                                                                                   REHOBOTH BEACH   DE    19971‐9770

CAROLINE M STRAYHORN                               1904 TILEY CIR                                                                                   COMMERCE TWP     MI    48382‐2175
CAROLINE M ZELTWANGER                              2311 S PALM SPRINGS DR                                                                           TUCSON           AZ    85710‐7932
CAROLINE MANN                                      4841 SWEETBIRCH DR                                                                               ROCKVILLE        MD    20853‐1485
CAROLINE MARY BONISZEWSKI                          10 BEATRIX CIR                                                                                   LANCASTER        NY    14086‐9390
CAROLINE MARY BONISZEWSKI & MICHAEL                10 BEATRIX CIR                                                                                   LANCASTER        NY    14086‐9390
BONISZEWSKI JT TEN
CAROLINE MCDOWELL CUST LAND ON MC DOWELL           5111 RUSTIC TRL                                                                                  KAUFMAN          TX    75142‐7672
UGMA TX
CAROLINE MCMURTHY                                  67 CRESTHAVE DR                         WILLOWADALE ON                         M2H 1M2 CANADA
CAROLINE MILDRED THOMPSON                          3849 ARUNDEL DRIVE                                                                               BIRMINGHAM       AL    35243‐5523
CAROLINE O HEBERLE                                 53 MILDORF STREET                                                                                ROCHESTER        NY    14609‐7229
CAROLINE OCHENSKI                                  4538 LINVILLE                                                                                    WARREN           MI    48092‐5120
CAROLINE P COON                                    501 OAK AVE                             APT AL                                                   WAYNESBORO       VA    22980‐4464
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 607 of 850
Name                                             Address1                              Address2              Address3         Address4          City            State Zip

CAROLINE P PETERSON & DAVID R PETERSON JT TEN    PO BOX 11389                                                                                   SPRING          TX    77391‐1389

CAROLINE P WILLIS BRUBAKER                       3 LORETO CLOSE                        BOONDALL QUEENSLAND                    4034 AUSTRALIA
CAROLINE PASQUARELLA                             PO BOX 864                            109 OAKDALE PLACE                                        CORTLAND        OH    44410
CAROLINE PEDOWITZ                                645 E CHAMPLAIN DR APT 114                                                                     FRESNO          CA    93720‐1292
CAROLINE PERRY HOMES                             331 CLEAR SPRINGS COURT                                                                        MARIETTA        GA    30068‐3410
CAROLINE PITTARI                                 60 COLUMBUS AVE                                                                                STATEN ISLAND   NY    10304
CAROLINE R DOUTHIT                               3917 N UPLAND ST                                                                               ARLINGTON       VA    22207‐4641
CAROLINE R SCHLESINGER                           178 MEADOW RD                                                                                  PASADENA        MD    21122‐2867
CAROLINE RILEY                                   1513 KEY ST                                                                                    MAUMEE          OH    43537‐2417
CAROLINE S BARBER CUST KATHERINE F BARBER UGMA   ATTN CAROLINE S TROOBOFF              PO BOX 957                                               FRANCONIA       NH    03580‐0957
FL
CAROLINE S BARKER CUST KATHERINE E BARKER UGMA   C/O CAROLINE S TROOBOFF               PO BOX 957                                               FRANCONIA       NH    03580‐0957
NJ
CAROLINE S DE WILDE                              14 GLEN DR                                                                                     GOSHEN          NY    10924‐1006
CAROLINE S HELMUTH                               1067 KERWOOD RD                                                                                WEST CHESTER    PA    19382‐7438
CAROLINE S HUMPHREY TR CAROLINE S HUMPHREY       AGAPE DMG 13426                       100 AIRPORT AVE                                          VENICE          FL    34285
TRUST UA 08/06/98
CAROLINE S MOORE                                 106 PANTHER MOUTNAIN DR                                                                        ZIRCONIA        NC    28790
CAROLINE SCHOFIELD                               262 ELM ST                                                                                     MARLBOROUGH     MA    01752‐1108
CAROLINE SEMLER KORNBERG                         4803 SW FAIRHAVEN DR                                                                           PORTLAND        OR    97221‐2615
CAROLINE SMITH HEAD                              16200 DRAGONNADE TRL                                                                           MIDLOTHIAN      VA    23113‐7200
CAROLINE SOWDER CUST RANDALL B SOWDER UGMA       2140 POGUE AVE                                                                                 CINCINNATI      OH    45208‐3234
OH
CAROLINE T DAU                                   2918 WATERCREST RD                                                                             FOREST GROVE    OR    97116‐1034
CAROLINE T DONOHUE                               9 BRIAN DR                                                                                     BRIDGEWATER     NJ    08807‐2016
CAROLINE T RANDOLPH                              BOX 17124                                                                                      RICHMOND        VA    23226‐7124
CAROLINE T SCHOFIELD                             262 ELM ST                                                                                     MARLBOROUGH     MA    01752‐1108
CAROLINE TROISE                                  634 LOVE LANE                                                                                  WARWICK         RI    02818‐4004
CAROLINE V BENNETT                               570 SW 831                                                                                     HOLDEN          MO    64040‐8249
CAROLINE V MOERY                                 619 EAST PREDA                                                                                 WATERFORD       MI    48328‐2026
CAROLINE V SLATER                                PO BOX 5608                                                                                    RIVER FOREST    IL    60305‐5608
CAROLINE WALKER ZORN                             1227 STONECREEK RD C                                                                           SANTA BARBARA   CA    93105‐4655
CAROLINE WARFIELD FLEMING                        2636 10TH ST                                                                                   MOLINE          IL    61265‐5126
CAROLINE WARNER WESSELS                          1401 CORNELL RD                                                                                ATLANTA         GA    30306‐2403
CAROLINE WILLIAMS LAMB                           1793 HUNTINGTON DR                                                                             CHARLESTON      SC    29407‐3118
CAROLINE Y XAVERIUS TR XAVERIUS SURVIVOR TRUST   1200 QUEEN EMMA ST                    APT 1811                                                 HONOLULU        HI    96813‐6310
UA 08/12/03
CAROLINE YEUNG                                   43 SADDLETREE DRIVE                   WILLOWDALE ON                          M2H 3L2 CANADA
CAROLINE ZUREK                                   1321 PEPPERTREE RD                                                                             DERBY           NY    14047‐9564
CAROLL C VAGTS                                   9206 BIG LAKE RD                                                                               CLARKSTON       MI    48346‐1050
CAROLL G ARMS                                    2540 VERNOR RD                                                                                 LAPEER          MI    48446‐8329
CAROLL H GREGG                                   1243 HWY 69 S                                                                                  GRAND RIDGE     FL    32442‐3411
CAROLL RAY BARGER                                1956 FRANKLIN LAUREL RD                                                                        NEW RICHMOND    OH    45157‐9516
CAROLL STANKS ELFLAND                            11 KATHRYN LANE                                                                                LADERA RANCH    CA    92694
CAROLYN A BALLARD                                19212 GLASTONBURY ROAD                                                                         DETROIT         MI    48219‐2172
CAROLYN A BARNES                                 2020 WILLOW BAY DR                                                                             DEFIANCE        OH    43512
CAROLYN A BARRETT                                5620 NOYES AVE                                                                                 CHARLESTON      WV    25304‐2318
CAROLYN A BECKMAN                                2513 FOULKWOODS RD                                                                             WILMINGTON      DE    19810‐3636
CAROLYN A BEDICH                                 12 RIDGEWOOD DR                                                                                HOCKESSIN       DE    19707‐1413
CAROLYN A BOWIE                                  742 BOUTELL DR                                                                                 GRAND BLANC     MI    48439‐1923
CAROLYN A BREATHED                               1618 BERLINO DRIVE                                                                             PEARLAND        TX    77581
CAROLYN A CASARELLA                              1943 STARFIRE DR NE                                                                            ATLANTA         GA    30345‐3959
CAROLYN A CLARK                                  4415 ROLLING PINE DR                                                                           W BLOOMFIELD    MI    48323‐1445
CAROLYN A COLLINS & MICHAEL K COLLINS JT TEN     4251 VALLEY CT N                                                                               BARTON CITY     MI    48705‐9603

CAROLYN A CONDON                                3221 GLASGOW                                                                                    LANSING         MI    48911‐1353
CAROLYN A DAMIC TR CAROLYN A DAMIC LIVING TRUST 3169 CARLETON ROCKWOOD RD                                                                       CARLETON        MI    48117‐9760
UA 02/11/95
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 608 of 850
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

CAROLYN A ELLIOTT                               4333 RUNNING DEER TRAIL                                                                          PIGEON            MI    48755‐9700
CAROLYN A ENGELHARD                             5008 SOUTHGATE                                                                                   LANSING           MI    48910‐5482
CAROLYN A ERTEL                                 568 N 10TH STREET                                                                                MIDDLETOWN        IN    47356‐9758
CAROLYN A FLICKER                               535 TOTAVI                                                                                       LOS ALAMOS        NM    87544‐2641
CAROLYN A FRIES                                 6524 SE AUTUM CIR                                                                                BARTLESVILLE      OK    74006‐8101
CAROLYN A GOETZMAN                              5823 SOUTH POLLARD PKWY                                                                          BATON ROUGE       LA    70808
CAROLYN A HALL                                  4665 POND RUN                                                                                    CANTON            MI    48188‐2197
CAROLYN A HARTGROVE & SUE A BALL JT TEN         37784 S CAPITOL CT                                                                               LIVONIA           MI    48150‐5006
CAROLYN A HAYNALI                               7579 HIDDEN TRACE DR                                                                             WEST CHESTER      OH    45069
CAROLYN A HEBERT                                20 EVERETT ST                                                                                    MANCHESTER        NH    03104‐2462
CAROLYN A HENRY                                 2709 WILD RIVER DR                                                                               ROSEBURG          OR    97470‐7996
CAROLYN A HERBERT                               793 SUGAR CANE LANE                                                                              PORT ORANGE       FL    32129‐3732
CAROLYN A HERBERT                               1015 FOREST TRL DRIVE                                                                            NEW BRAUNFELS     TX    78132‐4626
CAROLYN A JACKSON                               2326 BROWN BARK DR                                                                               BEAVERCREEK       OH    45431‐2617
CAROLYN A KELLEY                                8004 SADDLE OAK DR                                                                               ARLINGTON         TX    76001
CAROLYN A KELLY                                 7273 PRINCETON                                                                                   LA MESA           CA    91941‐4715
CAROLYN A KENNAN                                670 BARRYMORE LN                                                                                 MAMARONECK        NY    10543‐4235
CAROLYN A KOBAK                                 33147 MAZARA                                                                                     FRASER            MI    48026‐5069
CAROLYN A KOERSELMAN                            1716 CYPRESS WAY                                                                                 WEST FARGO        ND    58078
CAROLYN A KOVAC & JAMES M KOVAC JT TEN          9282 SW 91ST CIRCLE                                                                              OCALA             FL    34481‐8406
CAROLYN A KOZLOWICZ & RONALD L KOZLOWICZ JT TEN 7940 WINDSOR CRT                                                                                 DARIEN            IL    60561‐1501

CAROLYN A LEE                                   725 9TH CT S                                                                                     BIRMINGHAM        AL    35205‐4513
CAROLYN A LENZ                                  7228 SHARP ROAD                                                                                  SWARTZ CREEK      MI    48473‐9429
CAROLYN A LLOYD                                 2450 SUN VIEW TER                                                                                CONCORD           CA    94520‐1341
CAROLYN A LYNCH                                 25 QUAIL LN                                                                                      BISHOP            CA    93514‐7078
CAROLYN A MACINTYRE & DOUGAL A MACINTYRE & IDA 16 MUSTANG ACRES                                                                                  PARKERSBURG       WV    26104‐8039
M HICKMAN JT TEN
CAROLYN A MAR                                   4815 S ALASKA ST                                                                                 SEATTLE           WA    98118‐1850
CAROLYN A MC COMMIS                             105 E HARWOOD RD                        APT 301                                                  EULESS            TX    76039‐3481
CAROLYN A MCADORY                               16557 BRAILE                                                                                     DETROIT           MI    48219‐3912
CAROLYN A MCCAHAN                               3671 DURHAM ROAD                                                                                 NORTON            OH    44203‐6338
CAROLYN A MCCLOSKEY TR UA 03/08/2006 JUANITA H 3146 BARBARA LN                                                                                   FAIRFAX           VA    22031
ANDERSON SURVIVOR TRUST
CAROLYN A MCCORMICK                             ATTN CAROLYN A HELTON                   8680 HEILMAN DRIVE                                       NEW CARLISLE      OH    45344‐7610
CAROLYN A MIDDLETON & ROBERT C MIDDLETON TEN 728 SOUTH ST                                                                                        GENEVA            IL    60134‐2512
COM
CAROLYN A MORGAN CUST DEBORAH E MORGAN          819 W DAHLIA DR                                                                                  PHOENIX           AZ    85029‐2815
UGMA AZ
CAROLYN A OATES                                 375 E WENTWORTH CIR                                                                              ENGLEWOOD         FL    34223‐3045
CAROLYN A PARKS & ARLIN J PARKS JT TEN          1319 MUSKEGON BANKS RD                                                                           MARION            MI    49665‐9505
CAROLYN A PARKS & JAMES J PARKS JT TEN          1319 N MUSKEGON BANKS RD                                                                         MARION            MI    49665
CAROLYN A PARSONS & WILLIAM D PARSONS JR JT TEN 35744 ROBIN HOOD RD                                                                              DELMAR            DE    19940

CAROLYN A POPE                                   2336 BOURGOGNE DR                                                                               TALLAHASSEE       FL    32308
CAROLYN A ROBINSON                               5662 YOUNG RD                                                                                   LOCKPORT          NY    14094‐1228
CAROLYN A ROYAL                                  2408 89TH AVE                                                                                   OAKLAND           CA    94605‐3930
CAROLYN A SADLER                                 3504 S WEBSTER                                                                                  KOKOMO            IN    46902‐3663
CAROLYN A SCHANZ                                 6575 VONNIE VALE CT                                                                             INDIAN SPRINGS    OH    45011‐5093
CAROLYN A SCHRAM                                 5174 BLOSSOM AVE                                                                                FLUSHING          MI    48433‐9024
CAROLYN A SCHRETTER                              3113 SPRINGWOOD RD                                                                              FLOWER MOUND      TX    75028
CAROLYN A SCHWAB & GARRISON V SCHWAB JT TEN      31236 DORCHESTER                                                                                MADISON HEIGHTS   MI    48071‐1074

CAROLYN A SEAGRAVES                              3815 N CHERRY LANE                     APT 101                                                  KANSAS CITY       MO    64116‐2763
CAROLYN A SEGBERS                                125 W MAIN ST                                                                                   SHORTSVILLE       NY    14548‐9722
CAROLYN A SIEFERT                                1419 VIA SAN JUAN                                                                               SAN LORENZO       CA    94580‐2245
CAROLYN A SMITH                                  W 1971 BELLE MAPPS CT                                                                           GREEN LAKE        WI    54941‐9525
CAROLYN A SMITH TR UA 04/30/91 CAROLYN A SMITH   13 WEDGEWOOD DR                                                                                 WILLARD           OH    44890‐1684
LIVING TRUST
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 609 of 850
Name                                              Address1                            Address2             Address3          Address4          City            State Zip

CAROLYN A SOMMER                                  66 N RIDGE DR                                                                                MARTINS FERRY   OH    43935‐1028
CAROLYN A ST ONGE                                 2715 HUNTINGTON PARK DR                                                                      WATERFORD       MI    48329‐4524
CAROLYN A THOMPSON                                3136 ARIS DRIVE                                                                              WARREN          OH    44485‐1603
CAROLYN A TUCKERMAN                               661 KOREYS CIR                                                                               BLISSFIELD      MI    49228‐8605
CAROLYN A WANDERSKI                               138 SHADOW WOOD                                                                              SUGAR LAND      TX    77478‐2665
CAROLYN A WILHELM                                 35305 WAGNAR ROAD                                                                            GARDEN CITY     MO    64747‐9547
CAROLYN A WOODBURY                                20 PINEFIELD LANE                                                                            SOUTH DENNIS    MA    02660‐3509
CAROLYN A WOODSON                                 1522 VERONICA                                                                                ST LOUIS        MO    63147‐1422
CAROLYN A WRIGHT & DENNIS K WRIGHT JT TEN         2588 WOODLAND DR                                                                             HALE            MI    48739‐9216
CAROLYN ALLEY                                     31849 BLANCO RD                                                                              BULVERDE        TX    78163‐3847
CAROLYN ANDREWS                                   2658 75TH AVENUE                                                                             OAKLAND         CA    94605‐2804
CAROLYN ANN CREASY                                1235 MULBERRY RD                                                                             MARTINSVILLE    VA    24112‐5509
CAROLYN ANN ERICKSON TR CAROLYN ANN ERICKSON      2165 REGENT PK DR                                                                            BELLBROOK       OH    45305‐1844
LIVING TRUST UA 06/27/96
CAROLYN ANN HENRY                                 2314 KALISTE SALOOM RD              # 909                                                    LAFAYETTE       LA    70508
CAROLYN ANN KERR                                  3246 PIERCE ST                                                                               HOLLYWOOD       FL    33021‐6134
CAROLYN ANN PFLEGHAAR                             1800 LIME RD                                                                                 GENOA           OH    43430‐9303
CAROLYN ANN POWELL                                495 EAST VALLEY VIEW DR                                                                      MT WASHINGTON   KY    40047‐7365
CAROLYN ANN TRODDEN                               2214 BROOKDALE AVE                                                                           PARMA           OH    44134‐1506
CAROLYN ANN TURCO                                 47 MOHAWK RD                                                                                 DANVERS         MA    01923‐1110
CAROLYN ANNE CLEASBY                              12115 SE 19TH AVE                                                                            MILWAUKIE       OR    97222
CAROLYN ARNFIELD                                  36707 HUNTER CAMP RD                                                                         LISBON          OH    44432‐9461
CAROLYN B BARROW                                  832 FORK MOUNTAIN ROAD                                                                       BASSETT         VA    24055‐4507
CAROLYN B BLACK                                   30 KING STREET                                                                               SACO            ME    04072‐2821
CAROLYN B CALKINS                                 C/O C B SMITH                       17 HICKORY DR                                            DOYLESTOWN      PA    18901‐4746
CAROLYN B CONTE                                   PO BOX 478                                                                                   EAST DORSET     VT    05253‐0478
CAROLYN B COWARDIN                                2211 HUGUENOT SPRIGS RD                                                                      MIDLOTHIAN      VA    23113‐7226
CAROLYN B DEGROFF                                 4197 MAKYES RD                                                                               SYRACUSE        NY    13215‐8685
CAROLYN B GILLIAM                                 790 WOOD AVE E                                                                               BIG STONE GAP   VA    24219
CAROLYN B HICKS                                   151 JENNIFER LANE                                                                            CARROLLTON      GA    30116‐9774
CAROLYN B JACKSON                                 3606 SEQUOIA AVE 2ND FLR                                                                     BALTIMORE       MD    21215‐7142
CAROLYN B KELLEHER                                91 CEDAR ELM DRIVE                                                                           SAFETY HARBOR   FL    34695‐4622
CAROLYN B LUSIGNAN & HENRY T LUSIGNAN JT TEN      78 GAMWELL AVE                                                                               PITTSFIELD      MA    01201‐8112

CAROLYN B MAGUIRE                                 54 LONDON LANE                                                                               STAMFORD         CT   06902‐1618
CAROLYN B MILLER                                  638 FRANKLIN BLVD                                                                            ABSECON          NJ   08201‐2717
CAROLYN B MUELLER                                 UNIT 310                            3901 DIXIE HWY NE                                        PALM BAY         FL   32905‐3692
CAROLYN B NELSON                                  212 COUNTY ROAD 3470 N                                                                       CLEVELAND        TX   77327‐8728
CAROLYN B PECK                                    28851 MILLBROOK                                                                              FARMINGTON HILLS MI   48334‐3117

CAROLYN B REDMOND                                 93 CHASE POINT RD                                                                            MIRROR LAKE     NH    03853‐6152
CAROLYN B RYSEFF                                  109 GREENBRIAR                                                                               BELLEVILLE      IL    62221‐4318
CAROLYN B SANDERS                                 3025 NERI RD                                                                                 GRANBURY        TX    76048‐6822
CAROLYN B SERVIDIO & JAMES R BRIDGES JT TEN       42 LADDINS ROCK RD                                                                           OLD GREENWICH   CT    06870‐1434
CAROLYN BANKS                                     2846 SANTA BARBARA DRIVE                                                                     DECATUR         GA    30032‐3552
CAROLYN BARR                                      APT 3 H                             340 W 57TH ST                                            NEW YORK        NY    10019‐3732
CAROLYN BEACH BOGGS                               3181 RILMAN RD                                                                               ATLANTA         GA    30327‐1503
CAROLYN BENNETT                                   PO BOX 25                                                                                    BRYANTS STORE   KY    40921‐0025
CAROLYN BLESSING                                  89 GOODWILL AVE                                                                              MERIDEN         CT    06451‐3014
CAROLYN BONSER                                    3588 MICHIGAN CT                                                                             BETHLEHEM       PA    18020‐2021
CAROLYN BOYCE BILBARY & CLAY DONALD BILBARY TEN   BOX #34                                                                                      MACKS CREEK     MO    65786‐0034
ENT
CAROLYN BROWN LEIBY                               15 HAYNES RD                                                                                 FALMOUTH        MA    02540‐2312
CAROLYN BYRDE BIGGER PECK                         4556 BORDEAUX AVE                                                                            DALLAS          TX    75205‐3609
CAROLYN C ADAMS                                   540 BILTMORE WAY                                                                             CORAL GABLES    FL    33134‐5720
CAROLYN C BURRELL                                 102 TIMBERLANE DR                                                                            HARTWELL        GA    30643‐7082
CAROLYN C BUSH                                    9535 RIVERTON                                                                                DALLAS          TX    75218‐2755
CAROLYN C CLIFT                                   6402 HAMPTON DR                                                                              ANCHORAGE       AK    99504‐4534
CAROLYN C COOK                                    9841 KINGSTON POINTE DR                                                                      CLARKSTON       MI    48348‐4195
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 610 of 850
Name                                             Address1                            Address2             Address3          Address4          City            State Zip

CAROLYN C DOUGHERTY                              2658 COUNTY RD 22                                                                            ANDOVER         NY    14806‐9644
CAROLYN C EICKEL                                 3566 PRATT ROAD                                                                              METAMORA        MI    48455‐9713
CAROLYN C GLASS                                  186 PALMER DR                                                                                CEDARVILLE      OH    45314‐9582
CAROLYN C HADDOCK TR UA 04/21/94 THE CAROLYN C   18626 SPANISH GARDEN DRIVE          APT 363                                                  SUN CITY WEST   AZ    85375‐4736
HADDOCK REVOCABLE TRUST
CAROLYN C HOCH                                   113 BROOKSIDE LN                                                                             MOON TOWNSHIP   PA    15108‐9785

CAROLYN C HOLMES                                 1054 69TH AVE                                                                                OAKLAND         CA    94621‐3208
CAROLYN C KELLIHAN                               2801 BISHOP ESTATES RD                                                                       MANDARIN        FL    32259‐3005
CAROLYN C MARLOWE                                7943 COUNTRY CLUB DR                                                                         TRUSSVILLE      AL    35173‐5153
CAROLYN C MILLER                                 1512 BARNEY AVE                                                                              KETTERING       OH    45420‐3213
CAROLYN C REISNER                                39311 FERRIS                                                                                 CLINTON TWSP    MI    48036‐2046
CAROLYN C TAKACH                                 25 BROOKEDGE DR                                                                              WILLIAMSVILLE   NY    14221‐4412
CAROLYN C THOMPSON                               3 WHITE OAK DRIVE                                                                            NORTH AUGUSTA   SC    29860
CAROLYN C WOFFORD                                PO BOX 157                                                                                   EDINA           MO    63537‐0157
CAROLYN CARLSON                                  1093 WEST 150 SOUTH                                                                          LAYTON          UT    84041‐5214
CAROLYN CARSON                                   3150 DUDLEY RIMES ROAD                                                                       MAGNOLIA        MS    39652‐9168
CAROLYN CHEHY                                    133 GRAND VIEW DRIVE                                                                         WARWICK         RI    02886‐8800
CAROLYN CHRISTIE                                 5940 S WEED ROAD                                                                             PLYMOUTH TWP    MI    48170‐5054
CAROLYN CLARK GILBERT & EUGENE GILBERT JT TEN    83 CORONADO DR                                                                               NEWINGTON       CT    06111‐5009

CAROLYN CLAVERIE                               10506 INDIAN WALK RD                                                                           JACKSONVILLE    FL    32257‐6449
CAROLYN COFFMAN                                4 GRANADA CIRCLE                                                                               MANSFIELD       MA    02048‐1550
CAROLYN COLE                                   2739 LARNED                                                                                    DETROIT         MI    48207‐3908
CAROLYN CONWAY                                 512 STRATFORD RD                                                                               S HEMPSTEAD     NY    11550‐8043
CAROLYN CORNWELL                               13744 SW 111TH AVE                                                                             DUNNELLON       FL    34432‐8797
CAROLYN CRAMER CUST CHRISTOPHER CLIFTON        112 BUNKERS COVE RD                                                                            PANAMA CITY     FL    32401‐3908
CRAMER UTMA FL
CAROLYN CRAMER CUST EMILY SCOTT CRAMER UTMA FL 112 BUNKERS COVE RD                                                                            PANAMA CITY     FL    32401‐3908

CAROLYN CRAMER CUST WILLIAM CATO CRAMER III   112 BUNKERS COVE ROAD                                                                           PANAMA CITY     FL    32401‐3908
UTMA FL
CAROLYN CRAMER CUST WILLIAM CATO CRAMER UTMA 112 BUNKERS COVE RD                                                                              PANAMA CITY     FL    32401‐3908
FL
CAROLYN CRMER CUST CHRISTOPHER CLIFTON CRAMER 112 BUNKERS COVE RD                                                                             PANAMA CITY     FL    32401‐3908
UTMA FL
CAROLYN CROSBY SHEA                           25 RESERVOIR RD #C8                                                                             PEMBROKE        MA    02359‐2848
CAROLYN CROSS                                 2540 VANYEA RD                                                                                  CHEBOYGAN       MI    49721‐8901
CAROLYN CUMMINGS TR CAROLYN CUMMINGS TRUST 13335 W EDGEMONT AVE                                                                               GOODYEAR        AZ    85395‐2205
UA 12/11/98
CAROLYN D ADAMS                               9 ANDREA RD                                                                                     NEWARK          DE    19702
CAROLYN D BROWN                               178 DICKINSON RD                                                                                WEBSTER         NY    14580‐1349
CAROLYN D CARNELL                             209 OAK TRL                                                                                     HARTSELLE       AL    35640‐4336
CAROLYN D GOLDEN                              3606 PROCTOR                                                                                    FLINT           MI    48504‐3563
CAROLYN D GOODRICH                            4134 KAZAK                                                                                      GARLAND         TX    75041‐5417
CAROLYN D GWIN                                232 HURST DR                                                                                    OLD HICKORY     TN    37138‐2802
CAROLYN D HAFNER                              467 WEIDEL RD                                                                                   WEBSTER         NY    14580‐1219
CAROLYN D MC ENTYRE                           110 PINE TREE DR                                                                                FORT MILL       SC    29715‐9767
CAROLYN D MENARD TR THE CAROLYN D MENARD REV 295 POTTERS AVENUE                                                                               WARWICK         RI    02886‐2033
LIVING TRUST UA 04/28/00
CAROLYN D PETROUS                             19926 WEYBRIDGE ST                     APT 301                                                  CLINTON TWP     MI    48036‐2467
CAROLYN D PIERSON                             22 WYNNWOOD DR                                                                                  CRANBURY        NJ    08512‐2806
CAROLYN D RAVESI                              940 RIVER RD                                                                                    WEARE           NH    03281‐5216
CAROLYN D SANDERS                             1092 GOULDS LANDING RD NE                                                                       TOWNSEND        GA    31331‐8521
CAROLYN D TAYLOR                              4836 CLAYBURY AVE                                                                               BALTIMORE       MD    21206‐7024
CAROLYN D TOPCIK                              2401 COLONY CT                                                                                  NORTHBROOK      IL    60062‐5203
CAROLYN D WILLIAMS                            18637 JAMES COUZENS FWY                APT 204A                                                 DETROIT         MI    48235‐2598
CAROLYN DACEY BERGEN & JOHN G BERGEN JT TEN   106 HAWKTREE DR                                                                                 WESTWOOD        MA    02090‐2029
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 611 of 850
Name                                             Address1                             Address2              Address3         Address4          City             State Zip

CAROLYN DACEY BERGEN & WILLIAM J BERGEN JT TEN   3316 DENVERSHIRE DRIVE                                                                        BELLEVILLE       IL    62221‐6610

CAROLYN DAUM                                     2362 WOODBROOK CIR N                 APT D                                                    COLUMBUS         OH    43223‐3165
CAROLYN DAVIS                                    2909 RAGUET ST                                                                                NACOGDOCHES      TX    75961‐2855
CAROLYN DAVIS                                    300 N 4TH ST APT 410                                                                          ST LOUIS         MO    63102‐1939
CAROLYN DAVIS MILLER                             210 PEIFFER                                                                                   BORGER           TX    79007‐6622
CAROLYN DEBORAH FITERMAN                         2100 SPRUCE TRL                                                                               GOLDEN VALLEY    MN    55422‐4140
CAROLYN DELANEY CORDOVA                          3060 N RIDGECREST # 111                                                                       MESA             AZ    85207‐1087
CAROLYN DELELEE CUST LOUIS DELELEE UTMA OR       10377 NW ALPENGLOW WAY                                                                        PORTLAND         OR    97229
CAROLYN DEMAREST EX EST GEORGE P SEITZ JR        57 CLEARLAND AVE                                                                              CARLE PLACE      NY    11514‐1410
CAROLYN DEVENDORF                                814 ORANGE ST                                                                                 HUDSON           WI    54016‐1761
CAROLYN DIANA WELCH                              333 HIGH ST                                                                                   HARRISVILLE      WV    26362‐1018
CAROLYN DODDS FIELDS                             75 FORREST LANE                                                                               GREENVILLE       SC    29605‐1916
CAROLYN DUKE WIRTH                               129 IONA ST                                                                                   METAIRIE         LA    70005‐4135
CAROLYN DUVAL LOW                                1691 LIPSCOMB ROAD SE                                                                         SOCIAL CIRCLE    GA    30025‐3609
CAROLYN E BLANTON                                5626 WOODLAND DRIVE                                                                           DOUGLASVILLE     GA    30135‐2457
CAROLYN E BLANTON & DOUGLAS H BLANTON JT TEN     5626 WOODLAND DRIVE                                                                           DOUGLASVILLE     GA    30135‐2457

CAROLYN E BRADY                                  C/O C FERANEC                        526 WARREN STREET                                        HACKETTSTOWN     NJ    07840‐2224
CAROLYN E BROWN                                  5961 SUNRIDGE DR                                                                              CINCINNATI       OH    45224‐2737
CAROLYN E BUCCHINO                               23 CENTRAL ST                                                                                 MARLBORO         MA    01752‐2229
CAROLYN E COFELL                                 1085 TASMAN DR SP 43                                                                          SUNNYVALE        CA    94089‐5142
CAROLYN E COYNER                                 11 COLLYER DR                                                                                 OSSINING         NY    10562‐2607
CAROLYN E CRONK & SHIRLEY SMITH JT TEN           4811 BEARD RD                                                                                 BYRON            MI    48418‐9755
CAROLYN E FINNEY                                 397 DELANEY ST                                                                                PORT CHARLOTTE   FL    33954‐3413
CAROLYN E HEASLEY                                1206 KEY DR                                                                                   ALEXANDRIA       VA    22302‐3408
CAROLYN E HILL                                   3820 KIRKWOOD ROAD                                                                            COLUMBUS         OH    43227‐3321
CAROLYN E ISE'                                   1010 MEMORIAL DR                                                                              CAMBRIDGE        MA    02138‐4859
CAROLYN E JETT                                   1238 OLD STATE ROUTE 74                                                                       BATAVIA          OH    45103‐1537
CAROLYN E LAUSCH                                 4248 WASHINGTON BLVD                                                                          INDPLS           IN    46205‐2619
CAROLYN E LEWIS                                  3929 KIMBLE ROAD                                                                              BALTIMORE        MD    21218‐2033
CAROLYN E MAJOR                                  312 MAPLE LANE                                                                                SMITHVILLE       MO    64089‐8732
CAROLYN E MC KINNEY                              78 WILLIAM PRICE PKWY                                                                         BUFFALO          NY    14214‐1400
CAROLYN E NAU CUST SARA ELIZABETH NAU UGMA NJ    5 WELDON RD                                                                                   MATAWAN          NJ    07747‐3025

CAROLYN E NICOL                                  1659 LIHOLIHO ST #6                                                                           HONOLULU         HI    96822‐2955
CAROLYN E PARSONS                                6068 DELMAR RD                                                                                DELMAR           DE    19940‐3149
CAROLYN E SANGSTER                               2641 S FRANKLIN STREET RD                                                                     DECATUR          IL    62521‐5329
CAROLYN E SCHWER TR CAROLYN E SCHWER TRUST UA    333 MEADOWBROOK DR                                                                            BALLWIN          MO    63011‐2414
05/14/84
CAROLYN E SHETTLER                               592 MADISON ST                                                                                BIRMINGHAM       MI    48009‐5778
CAROLYN E SMITH                                  5008 SOUTHGATE                                                                                LANSING          MI    48910‐5482
CAROLYN E SMITH & LOUIS H SMITH JT TEN           5008 SOUTHGATE                                                                                LANSING          MI    48910‐5482
CAROLYN E WARNER                                 11 KINGS POINT CIRCLE SOUTH                                                                   OWEGO            NY    13827‐1147
CAROLYN EKSTROM                                  ROUTE 1 BOX 212                                                                               BILLINGS         MT    59102
CAROLYN ELIZABETH WILDER                         ATTN CAROLYN W ROSE                  808 QUAIL HOLLOW CR                                      AVON LAKE        OH    44012‐2522
CAROLYN ELLIOTT HAZARD JONES                     2716 ROBIN DR                                                                                 VIRGINIA BCH     VA    23454‐1814
CAROLYN EVELYN RHINEHART                         17509 VIRGINA AVE                                                                             HAGERSTOWN       MD    21740‐7726
CAROLYN F BERKS                                  497 GLENWOOD LANE                                                                             EAST MEADOW      NY    11554‐3719
CAROLYN F DUKE                                   700 ERMAC DR                                                                                  NASHVILLE        TN    37214‐5007
CAROLYN F FOSTER                                 125 WREN WOOD CT                                                                              ENGLEWOOD        OH    45322‐2352
CAROLYN F GILLESPIE                              1775 MELODY LANE                                                                              BROOKFIELD       WI    53005‐5140
CAROLYN F KENWORTHY                              646 WEST OLD YORK RD                                                                          CARLISLE         PA    17015
CAROLYN F KING                                   1046 TRUXELL DRIVE                                                                            MANSFIELD        OH    44906‐1529
CAROLYN F MONTEVALDO                             606 SOMERSET                                                                                  FOSTER CITY      CA    94404‐3730
CAROLYN F QUALICH                                32 WINDEMERE RD                                                                               ROCHESTER        NY    14610‐1343
CAROLYN F ROUNTREE                               141 N BROWN SCHOOL RD                                                                         VANDALIA         OH    45377‐2840
CAROLYN F SINNOTT                                822 W 10TH ST                                                                                 GREENSBURG       IN    47240‐8256
CAROLYN F STILLWELL                              1005 CORNELIA CIR                                                                             ATTALIA          AL    35954‐9368
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 612 of 850
Name                                             Address1                              Address2              Address3         Address4          City              State Zip

CAROLYN F STRATTON & CAROL L STRATTON JT TEN     729 N CUYLER                                                                                   OAK PARK          IL    60302‐1704

CAROLYN F SYPNIAK                                239 SWEET BIRCH LANE                                                                           ROCHESTER         NY    14615‐1217
CAROLYN F THOMAS                                 3312 HILLTOP LN                                                                                PLANO             TX    75023‐8039
CAROLYN F WHEELER                                148 IRONWOOD CT                                                                                DAYTON            OH    45440‐3560
CAROLYN FAYE CONNOLLY                            9616 QUAIL RUN ROAD                                                                            DENTON            MD    21629‐1735
CAROLYN FINGERLE                                 520 NW FOX HOLLOW LN                                                                           BLUE SPRINGS      MO    64015‐3497
CAROLYN FORD & HELEN FORD JT TEN                 ATTN CAROLYN RUSHING                  7542 TUTTLE HILL RD                                      YOSILANTI TWP     MI    48197‐9429
CAROLYN FORREST                                  4380 DEPOT DR                                                                                  SWARTZ CREEK      MI    48473‐1404
CAROLYN FRANKLIN                                 968 HOLDERNESS WY                                                                              CINCINNATI        OH    45240‐1831
CAROLYN G ADAMS                                  10475 DUNSFORD DR                                                                              LONE TREE         CO    80124‐9795
CAROLYN G BAGWELL                                ATTN CLAUDE E BAGWELL                 232 NORTH GREEN ST                                       CARPENTERSVILLE   IL    60110‐1809

CAROLYN G BROWN                                  724 GOLDENROD DR                                                                               ELKO              NV    89815‐5432
CAROLYN G COPE                                   4121 EWING AVE S                                                                               MINNEAPOLIS       MN    55410‐1022
CAROLYN G DAFFIN                                 104 BROAD ST                                                                                   GROVE HILL        AL    36451‐3214
CAROLYN G FETZEK                                 15 INDIAN CREEK DR                                                                             RUDOLPH           OH    43462‐9721
CAROLYN G HAMMONS                                22481 LOUISE                                                                                   ST CLAIR SHORES   MI    48081‐2034
CAROLYN G HICKS CUST KIRA L HICKS UTMA CO        390 RANGEVIEW CT RR 6                                                                          GOLDEN            CO    80403‐8770
CAROLYN G HILL JONES EX EST ELMER JONES          308 MILL CREEK                                                                                 POMPTON PLNS      NJ    07444
CAROLYN G HORNE                                  PO BOX 2967                                                                                    PORT ANGELES      WA    98362‐0336
CAROLYN G LEWIS                                  7650 SE 27TH ST 619                                                                            MERCER ISLAND     WA    98040‐3068
CAROLYN G WESTLAKE                               808 LUTTRELL ST                                                                                KNOXVILLE         TN    37917‐7240
CAROLYN GLOVER                                   78 HILLMAN AVENUE                                                                              EWING TWP         NJ    08638‐2874
CAROLYN GOLDING                                  603 QUEEN ST NO 2                                                                              ALEXANDRIA        VA    22314‐2558
CAROLYN GOOD CUST MEGHAN GOOD UGMA MD            1025 4TH ST                                                                                    GLEN BURNIE       MD    21060‐6744
CAROLYN GRACE                                    543 ARMSTRONG ROAD                                                                             LANSING           MI    48911‐3812
CAROLYN GRAHAM                                   4430 WOODSTREAM DR                                                                             YPSILANTI         MI    48197
CAROLYN GRANTHAM                                 2462 THREE OAKS LN                                                                             MAIDENS           VA    23102‐2033
CAROLYN GREEN                                    18093 JUSTINE                                                                                  DETROIT           MI    48234‐2113
CAROLYN GREEN                                    70 ANDERSON ST                        APT 3A                                                   HACKENSACK        NJ    07601‐4430
CAROLYN GREEN                                    4332 GLENWAY AVE                                                                               CINCINNATI        OH    45236‐3634
CAROLYN GREEN TR GREEN FAMILY TRUST UA 8/24/93   28 VILLAGE OF GLEN FALLS                                                                       GOFFSTOWN         NH    03045‐6213

CAROLYN GRIFFIN                                  4768 STRATHMOOR                                                                                SAGINAW           MI    48601‐6939
CAROLYN H BESSER                                 PO BOX 214                                                                                     HURON             IN    47437‐0214
CAROLYN H CORMIER                                2505 ROSEWOOD ST                                                                               HOUSTON           TX    77004
CAROLYN H EDWARDS & CAROLYN E ENGSTROM JT TEN    4297 BURGUNDY RD                                                                               MEMPHIS           TN    38111‐8131

CAROLYN H GARRETT                                1412 PERKINS RD                                                                                WINDER            GA    30680‐4487
CAROLYN H HALKIAS CUST IRENE N HALKIAS UGMA PA   1330 QUAIL HOLLOW RD                                                                           HARRISBURG        PA    17112‐1939

CAROLYN H HALL                                   HCR 60 BOX 31 BASS RT                                                                          STEVENSON         AL    35772‐9802
CAROLYN H KRAUS                                  PO BOX 14                                                                                      OCALA             FL    34478‐0014
CAROLYN H LUCAS                                  6422 NORCROSS TUCKER RD NW                                                                     TUCKER            GA    30084‐1251
CAROLYN H MAYS                                   PO BOX 865                                                                                     FORSYTH           GA    31029‐0865
CAROLYN H PAPPAS                                 1531 FOREST LANE                                                                               MCLEAN            VA    22101‐3317
CAROLYN H TAYLOR                                 147 CLEARVIEW DR                                                                               PITTSFORD         NY    14534‐2745
CAROLYN H WAZELLE                                1971 NORTHFIELD N W                                                                            WARREN            OH    44485‐1734
CAROLYN HADDOCK                                  12151 NW 20 CT                                                                                 PLANTATION        FL    33323‐1910
CAROLYN HAGER & LOISANNA VEEDER TR UW JOHN       2434 CODDINGTON RD                                                                             BROOKTONDALE      NY    14817
HAGER
CAROLYN HALFERTY                                 9863 TOMAHAWK TRAILE                                                                           WEXFORD           PA    15090
CAROLYN HALL                                     2020 WILLOW BAY DR                                                                             DEFIANCE          OH    43512‐3714
CAROLYN HALLER                                   1018 LEE ST                                                                                    FENTON            MI    48430‐1568
CAROLYN HALTEMAN                                 11993 CLUBHOUSE DR                                                                             FISHERS           IN    46038‐2745
CAROLYN HART IRVINE                              10 BAYBERRY PL                                                                                 HILLSBOROUGH      CA    94010‐6406
CAROLYN HAYES                                    105 JACKSON CREEK DR                                                                           JACKSONVILLE      OR    97530‐9701
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 613 of 850
Name                                              Address1                               Address2               Address3        Address4          City               State Zip

CAROLYN HOLMBERG                                  3103 CRATER DRIVE                                                                               LAKE HAVASU CITY   AZ    86404‐1445

CAROLYN HOOPER                                    1050 SAINT CLAIR ST                                                                             HAGERSTOWN         MD    21742‐3135
CAROLYN HUNTER                                    3455 N LAYMAN                                                                                   INDIANAPOLIS       IN    46218‐1843
CAROLYN I COHEN & HARRIS L COHEN JT TEN           46 WENDY WAY                                                                                    RICHBORO           PA    18954‐1047
CAROLYN I COHEN & ROSS E COHEN JT TEN             46 WENDY WAY                                                                                    RICHBORO           PA    18954‐1047
CAROLYN I DIMMIG                                  344 N FOUNDERS CT                                                                               WARRINGTON         PA    18976
CAROLYN I FOUTS & MERLIN L FOUTS JT TEN           5635 YORK RD                                                                                    MONTAGUE           CA    96064‐9229
CAROLYN I ISAAC                                   23182 MORNINGSIDE                                                                               SOUTHFIELD         MI    48034‐2047
CAROLYN J ADAMS TR HAROLD T & CAROLYN J ADAMS     2253 EIFERT RD                                                                                  HOLT               MI    48842‐1025
TRUST UA 4/11/89
CAROLYN J ADEN                                    PO BOX 398                                                                                      ODESSA             FL    33556‐0398
CAROLYN J AMBROSOLI                               2104 ANGLING RD                                                                                 CORFU              NY    14036‐9652
CAROLYN J ANSLEM                                  10923 MAYFIELD RD                                                                               HOUSTON            TX    77043
CAROLYN J BAKER                                   311 HENRIETTA MT RD                                                                             SAXTON             PA    16678‐8171
CAROLYN J BENSON                                  7187 VALLEY DR                                                                                  BARNHART           MO    63012‐1518
CAROLYN J BJORKMAN                                12808 CIMARRON WAY                                                                              VICTORVILLE        CA    92392‐8058
CAROLYN J BLANCHARD                               506 CHAMBERLAIN ST                                                                              EDGERTON           WI    53534‐1510
CAROLYN J BROWER & ROSS D BROWER JT TEN           1535 COUNTY RD 2200 E                                                                           SAINT JOSEPH       IL    61873‐9701
CAROLYN J BUTLER                                  7481 COUNTY RD 91                      APT 15                                                   ROGERSVILLE        AL    35652
CAROLYN J CAMPBELL & TRACI D CAMPBELL JT TEN      2978 ELMWOOD CT                                                                                 LAKE ORION         MI    48360‐1714

CAROLYN J CASTOR                                  C/O MICHAEL CASTOR                     1558 RIVERSIDE DRIVE                                     ANDERSON           IN    46016‐1972
CAROLYN J CHRZASTEK                               22231 DOXTATOR                                                                                  DEARBORN           MI    48128‐1410
CAROLYN J COE                                     9443 NE 14TH                                                                                    BELLEVUE           WA    98004‐3438
CAROLYN J COE & HOWARD B COE JT TEN               9443 NE 14TH ST                                                                                 BELLEVUE           WA    98004‐3438
CAROLYN J COLE                                    424 E 52ND ST #5E                                                                               NEW YORK           NY    10022‐6444
CAROLYN J COLE                                    30208 SOUTHFIELD RD                    APT 217                                                  SOUTHFIELD         MI    48076‐1322
CAROLYN J GWINN                                   2022 E WILLARD RD                                                                               CLIO               MI    48420‐7905
CAROLYN J HANEY                                   7429 WEST POINT DR                                                                              NORTH RIDGEVILLE   OH    44039‐4051

CAROLYN J HANNUM TOD 11/25/08                     1520 HATCHER CRES                                                                               ANN ARBOR          MI    48103
CAROLYN J HARRIS                                  3195 LYLE RD                                                                                    LEWISTON           MI    49756‐8500
CAROLYN J HARRISON                                3461 WALDON RD                                                                                  LAKE ORION         MI    48360‐1624
CAROLYN J HAYES                                   324 VILLAGE WALK CIRCLE                                                                         SPENCERPORT        NY    14559‐1431
CAROLYN J HUNTER                                  2418 N KENWOOD                                                                                  INDIANAPOLIS       IN    46208‐5726
CAROLYN J INGRAM                                  BOX 92                                                                                          MIAMI              IN    46959‐0092
CAROLYN J IRWIN                                   1303 BAGLEY DR                                                                                  KOKOMO             IN    46902‐3282
CAROLYN J JAMISON & DON C JAMISON JT TEN          2206 WESTGATE DR                                                                                LOGANSPORT         IN    46947‐1255
CAROLYN J JERNIGAN & RHONALD E JERNIGAN JT TEN    8056 MORGAN BRANCH DRIVE                                                                        SEAFORD            DE    19973‐5922

CAROLYN J JOYNER                                  PO BOX 43558                                                                                    JACKSONVILLE       FL    32203‐3558
CAROLYN J KARBOWSKI                               3 CRESTWOOD DR                                                                                  EAST HAVEN         CT    06513‐2009
CAROLYN J KEEFE                                   1814 AUBURN TRAILS                                                                              SUGAR LAND         TX    77479‐6333
CAROLYN J KIRK                                    1555 EUCLID AVE                                                                                 KANSAS CITY        MO    64127‐2532
CAROLYN J KLEMKE                                  561 CHAPARRAL                                                                                   GRAND JUNCTION     CO    81503‐9513

CAROLYN J KOHLNHOFER                              N 10625 STATE HWY 73                                                                            GREENWOOD          WI    54437‐8377
CAROLYN J LANG & JOHN L LANG JT TEN               38974 DOVER                                                                                     LIVONIA            MI    48150‐3349
CAROLYN J LEWIS                                   10295 JUDD RD                                                                                   WILLIS             MI    48191‐9624
CAROLYN J LILLY                                   4707 JETTY ST                                                                                   ORLANDO            FL    32817‐3184
CAROLYN J LUCAS                                   315 ELM GROVE                                                                                   LAPEER             MI    48446‐3548
CAROLYN J MILLER & ARNOLD M MILLER JT TEN         1579 WALNUT AVE                                                                                 DES PLAINES        IL    60016‐6623
CAROLYN J MITCHELL                                14857 E ST R 16                                                                                 ROYAL CENTER       IN    46978‐9501
CAROLYN J MITCHELL & ROBERT L MITCHELL JT TEN     14857 E ST RD 16                                                                                ROYAL CENTER       IN    46978‐9508

CAROLYN J MORTON                                  625 S MAIN ST                          APT A                                                    FRANKLIN           OH    45005
CAROLYN J NADWODNIK                               332 CUMMINGS NW                                                                                 GRAND RAPIDS       MI    49544‐5713
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 614 of 850
Name                                            Address1                               Address2                Address3       Address4          City            State Zip

CAROLYN J NORMANDIN                             4269 SOMERVILLE DR                                                                              WEST BLOOMFIELD MI    48323‐2764

CAROLYN J PETERSON                              105 ELM CRT                                                                                     MONETA          VA    24121
CAROLYN J SEARFOSS                              4640 ORACLE LN                                                                                  HILLIARD        OH    43026‐7488
CAROLYN J SHAW                                  231 MULBERRY ST                                                                                 CHESTERFIELD    IN    46017‐1720
CAROLYN J SHAW                                  91 CHURCHILL RD                                                                                 AUBURN HILLS    MI    48326‐2901
CAROLYN J SHERWIN                               347 MT ROUALL DR                                                                                MT PLEASANT     SC    29464‐6254
CAROLYN J SMYTH                                 6708 HOLLY MILL COURT                                                                           RALEIGH         NC    27613‐3341
CAROLYN J SUMMERS                               118 COUNTY RD 33                       33 HEATHERWOOD VILLAS                                    GUNNISON        CO    81230‐9792
CAROLYN J TINGSTAD                              2910 GOLDFINCH ST                                                                               ROCHESTER HLS   MI    48309‐3435
CAROLYN J TOOMEY                                5555 VALLEYSIDE LANE                                                                            MEHLVILLE       MO    63128‐3749
CAROLYN J VANSKYOCK                             2405 S MULBERRY ST                                                                              MUNCIE          IN    47302‐4138
CAROLYN J VARGO & LARRY E VARGO JT TEN          2278 COVERT RD                                                                                  BURTON          MI    48509‐1062
CAROLYN J WASHINGTON                            28016 ROSEWOOD                                                                                  INKSTER         MI    48141‐1793
CAROLYN J WHITCOMB                              INDIAN CREEK                           111D BENT ARROW DRIVE                                    JUPITER         FL    33458‐8693
CAROLYN J WHITMARSH                             PO BOX 41                                                                                       HARMONY         IN    47853‐0041
CAROLYN J WILLIAMS                              1302 COLUMBIA LANE                                                                              FLINT           MI    48503‐5234
CAROLYN J WILLIAMS                              2444 WEST 6TH STREET                                                                            ANDERSON        IN    46011‐1942
CAROLYN J WILLIAMS & CORA L EDWARDS JT TEN      2007 PARK AVE                                                                                   ANDERSON        IN    46016‐3857
CAROLYN J WILSON                                510 WEST 12TH STREET                                                                            JONESBORO       IN    46938‐1333
CAROLYN J WORTMAN                               414 RIDGEVIEW DR                                                                                PRUDENVILLE     MI    48651‐9780
CAROLYN J ZINK & LEMAR B ZINK JT TEN            2955 LAMBERT DR                                                                                 TOLEDO          OH    43613‐3133
CAROLYN JANE LEWIS                              4416 NORTH RACINE UNIT 3                                                                        CHICAGO         IL    60640
CAROLYN JANE MESLER & CRAIG ROULSTONE MESLER JT 737 POND MEADOW ROAD                                                                            WESTBROOK       CT    06498‐1494
TEN
CAROLYN JEAN HINES & DEAN CARTER HINES JT TEN   3413 HARWOOD CT NE                                                                              ALBUQUERQUE     NM    87110‐2215

CAROLYN JEAN KRICHKO                          22 ST IVES LANE                                                                                   WINDER          GA    30680‐3775
CAROLYN JEAN SMITH                            19571 GENTLE STREAM CIR                                                                           GOSHEN          IN    46528
CAROLYN JEAN SMYERS                           6227 S EDGEWOOD LN                                                                                LAGRANGE        IL    60525‐3851
CAROLYN JEAN WINSON EX EST JOHN THOMAS WINSON 108 WINDGATE DR                                                                                   ELYRIA          OH    44035

CAROLYN JOAN TOLLIVER & ANDREW E TOLLIVER JT TEN 5452 N CLEVELAND AVE                                                                           KANSAS CITY     MO    64119

CAROLYN JOHNSON                                 243 GARFIELD ST                                                                                 ROCHESTER       NY    14611‐2917
CAROLYN JUNE KING                               6 W 10TH ST                                                                                     NEW CASTLE      DE    19720‐6013
CAROLYN K BRANDENBURG                           2373 LAKEVIEW DR                                                                                YPSILANTI       MI    48198‐9289
CAROLYN K CHOO                                  C/O LEROY E TIRRELL                    165 MIDDLSEX TURNPIKE                                    BEDFORD         MA    01730‐1424
CAROLYN K CROSS                                 256 MARAIS CT W                                                                                 ROCHESTER HLS   MI    48307‐2453
CAROLYN K EATON                                 22510 IVERSON DRIVE                    #501                                                     GREAT MILLS     MD    20634‐2601
CAROLYN K GEROU                                 5391 WYMAN RD                                                                                   BLANCHARD       MI    49310‐9705
CAROLYN K HANCHETT                              2277 PARK LANE                                                                                  HOLT            MI    48842‐1248
CAROLYN K HAYS                                  PO BOX 341                                                                                      ARDMORE         TN    38449‐0341
CAROLYN K HULL CUST KIMBERLY A HULL UGMA MI     3244 GENTRY RD                                                                                  HOWELL          MI    48843‐9732

CAROLYN K KLENDER TR CAROLYN K KLENDER REV      6761 9 MILE POINTE DR                                                                           CHARLEVOIX      MI    49720‐9123
TRUST UA 02/20/96
CAROLYN K LAURENZ                               860 W LA PORTE ROAD ROUTE 1                                                                     WHEELER         MI    48662‐9801
CAROLYN K MARTENSON                             50 LEDGE RD                            APT 244                                                  DARIEN          CT    06820‐4445
CAROLYN K MCCRACKEN                             119 JOAN AVE                                                                                    HILLSBORO       OH    45133‐1220
CAROLYN K MIODRAG                               R D #1                                                                                          TRANSFER        PA    16154‐9801
CAROLYN K MUELLER & FRANK W MUELLER JT TEN      8228 E GALINDA DRIVE                                                                            TUCSON          AZ    85750‐2421

CAROLYN K OWENS & CHARLES D OWENS JT TEN        2001 SEELEY RD                                                                                  WEST HARRISON   IN    47060‐9611
CAROLYN K STROUTS                               5980 WILLOW CREEK PATH                                                                          STEVENSVILLE    MI    49127‐1339
CAROLYN K SWANSON CUST GREGORY JAMES            1648 DENISON DR                                                                                 SPRINGFIELD     IL    62704‐4416
SWANSON UTMA IL
CAROLYN K SWANSON CUST MERIDITH SWANSON         1648 DENISON DR                                                                                 SPRINGFIELD     IL    62704‐4416
UTMA IL
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 615 of 850
Name                                             Address1                               Address2              Address3         Address4          City            State Zip

CAROLYN K WADE & DIONE WADE SCAIFE JT TEN        6151 EMMA AVE                                                                                   ST LOUIS        MO    63136‐4855
CAROLYN K WEM                                    17401 BRYNWOOD LN                                                                               OKEECHOBEE      FL    34974‐8556
CAROLYN KARRON                                   118 RICHBELL ROAD                                                                               MAMARONECK      NY    10543‐3214
CAROLYN KAY NADING                               1708 N 4TH ST                                                                                   MANCHESTER      IA    52057‐1058
CAROLYN KAY WATSON                               3209 INMAN                                                                                      FERNDALE        MI    48220‐1028
CAROLYN KELPERIS & GUS GEORGE KELPERIS TR UA     1615 MAIN ST                                                                                    ST HELENA       CA    94574‐1047
01/06/92 C KELPERIS
CAROLYN KING                                     119 CHARLES BOX 635                                                                             HIGGINS LAKE    MI    48627‐0635
CAROLYN KIRCHNER FREEMAN                         R D 1 BOX 360A                                                                                  WELLSBURG       WV    26070‐9743
CAROLYN KLINE                                    540 JUDY AVE                                                                                    FRANKLINVILLE   NJ    08322‐3910
CAROLYN KNAPP & ROSS H MILLER & KEITH R MILLER   C/O KEITH R MILLER                     BOX 517                                                  WOODVILLE       MS    39669‐0517
TEN COM
CAROLYN KOHLER                                   36801 TURTLE CREEK CT                                                                           FARMINGTON HILLS MI   48331‐1260

CAROLYN KRUMANOCKER                              9617 HARMONY DR                                                                                 MIDWEST CITY    OK    73130‐6403
CAROLYN KUHLS TAYLOR                             1508 GUILFORD LN                                                                                NICHOLS HILLS   OK    73120‐1209
CAROLYN KUTCHENRITER                             180 ROSEMONT DRIVE                                                                              CORAOPOLIS      PA    15108‐2410
CAROLYN L ALTENE                                 PO BOX 7104                                                                                     FLINT           MI    48507‐0104
CAROLYN L BAIN                                   326 TRUMAN AVE                                                                                  KEY WEST        FL    33040‐7343
CAROLYN L BALDRIDGE                              205 WABASH AVE                                                                                  DEFIANCE        OH    43512‐1635
CAROLYN L BALL                                   5798 S MALTA ST                                                                                 CENTENNIAL      CO    80015‐3318
CAROLYN L BOOSE                                  123 W DIVINA DR                                                                                 GRANT           MI    49327‐8508
CAROLYN L BRELAND                                ATTN CAROLYN B PHILLIPS                2206 13TH STREET SE                                      DECATUR         AL    35601‐4528
CAROLYN L BROWN                                  2013 WESTRIDGE DRIVE                                                                            ONTARIO         OR    97914‐1351
CAROLYN L BURGESS TOD BRUCE BURGESS              1664 WAGAR AVE                                                                                  LAKEWOOD        OH    44107‐3646
CAROLYN L CARR                                   615 N ROSEVERE AVE                                                                              DEARBORN        MI    48128‐1739
CAROLYN L CLARK                                  3989 MIDLAND RD E                                                                               WATERFORD       MI    48329‐2035
CAROLYN L CONWAY                                 572 SEXTON ST                                                                                   STRUTHERS       OH    44471‐1147
CAROLYN L DRUMHELLER                             113 COOL CREEK MANOR DR                                                                         WRIGHTSVILLE    PA    17368‐9687
CAROLYN L DUFRENE                                106 TUDOR ST                                                                                    PINEVILLE       LA    71360‐5118
CAROLYN L FIESTER                                59 ELMAR DR                                                                                     FEEDING HILLS   MA    01030‐2401
CAROLYN L FISCHER                                2794 GOLDWOOD DR                                                                                ROCKY RIVER     OH    44116‐3015
CAROLYN L FOSTER                                 54 CAMBRIAN WAY                                                                                 ST CHARLES      MO    63301‐8731
CAROLYN L FREEMAN                                19 BRIERWOOD LN                                                                                 PONTIAC         MI    48340‐1401
CAROLYN L GEDA                                   10 WESTBURY CT                                                                                  ANN ARBOR       MI    48105‐1411
CAROLYN L HALL                                   1945 UPPER LAKES DR                                                                             RESTON          VA    20191‐3619
CAROLYN L HITT                                   503 A SOUTH ENGLAND STREET                                                                      WILLIAMSBURG    VA    23185‐4210
CAROLYN L HOLZ                                   801 HOLZ ROAD                                                                                   NEW ALBANY      IN    47150‐5467
CAROLYN L HYRNE                                  1497 DAVISTA AVE                                                                                MADISON         OH    44057‐1303
CAROLYN L JACKSON                                18 HALCYON DR                                                                                   NEW CASTLE      DE    19720‐1239
CAROLYN L JACKSON                                7847 LOIS CIR                          APT 125                                                  DAYTON          OH    45459
CAROLYN L JONES                                  841 NOTRE DAME RD                                                                               MODESTO         CA    94350
CAROLYN L KOHEN                                  C/O CAROLYN L NAGY                     9788 SCOTCH PINE DR                                      SPRINGBOROE     OH    45066
CAROLYN L LAUMER                                 2048 MORELAND RD                                                                                ABINGTON        PA    19001‐1112
CAROLYN L LEWIS                                  CLAIM 20752‐60                         184 SHIRLEY AVE                                          BUFFALO         NY    14215‐1022
CAROLYN L MART                                   236                                    9030 W ST RD                                             MIDDLETOWN      IN    47356‐9336
CAROLYN L MCCALISTER                             2000 MOUND ST                                                                                   BELOIT          WI    53511‐2944
CAROLYN L MILAM                                  1774 FERN ST                                                                                    ORANGE          CA    92867‐4014
CAROLYN L MILLER                                 422 OLD RICHBURG ROAD                                                                           PURVIS          MS    39475
CAROLYN L MONIES TR CAROLYN L MONIES REV TRUST   304 RALEIGH RD                                                                                  JACKSONVILLE    FL    32225‐6557
UA 6/13/00
CAROLYN L MURRAY                                 3170 ORCHARD LAKE RD 88                                                                         KEEGO HARBOR    MI    48320‐1257
CAROLYN L NIX                                    3689 SARDIS CHURCH RD                                                                           BUFORD          GA    30519‐4127
CAROLYN L PURCHASE & RODNEY A PURCHASE JT TEN    8707 PARSHALLVILLE RD                                                                           FENTON          MI    48430‐9327

CAROLYN L REGISTER                               1959 US HIGHWAY 220 ALT N                                                                       STAR            NC    27356‐7440
CAROLYN L RUSSELL                                2641 TIMBER LANE DR                                                                             FLUSHING        MI    48433‐3506
CAROLYN L SHAW                                   2810 BEN LOMOND DR                                                                              SANTA BARBARA   CA    93105‐2205
CAROLYN L SHIRLEY                                23 PEACEFUL DR                                                                                  EDGEWOOD        NM    87015‐8705
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 616 of 850
Name                                             Address1                               Address2              Address3         Address4          City             State Zip

CAROLYN L SIMMONS                                PO BOX 652                                                                                      AMITE            LA    70422‐0652
CAROLYN L THOMAS                                 240 NEW SALEM RD                                                                                GRIFFIN          GA    30223‐6275
CAROLYN L TRIPP                                  202 NE EASTRIDGE ST                                                                             LEES SUMMIT      MO    64063‐2610
CAROLYN L VAUGHAN                                109 GALAX LANE                                                                                  DURHAM           NC    27703
CAROLYN L WATERMAN EX EST LUCINA S WATERMAN      P O BOX 97                                                                                      MARTVILLE        NY    13111

CAROLYN L WILSON                                 5751 SOMERSET                                                                                   DETROIT          MI    48224‐3118
CAROLYN LAMPKIN                                  5652 S WINCHESTER AVE                                                                           CHICAGO          IL    60636
CAROLYN LANE                                     25035 5 MILE RD                                                                                 REDFORD          MI    48239‐3761
CAROLYN LAUGHTER                                 2905 BRIAN LANE                                                                                 MADISON          WI    53711‐6420
CAROLYN LEE GREGORY                              1808 BELLEWOOD RD                                                                               WILMINGTON       DE    19803‐3941
CAROLYN LEHMANN                                  C/O CAROLYN KARESH                     5531 RUTHERGLENN DR                                      HOUSTON          TX    77096
CAROLYN LENORE MC CONNELEE                       5322 E GABRIELLE LN                                                                             ORANGE           CA    92867‐8613
CAROLYN LEWIS TR U‐W‐O GLADYS HILLS              PO BOX 477                                                                                      LUMPKIN          GA    31815‐0477
CAROLYN LILLIAN WILSON                           406 ETON DR                                                                                     BURBANK          CA    91504‐2942
CAROLYN LINDEKUGEL MANLOVE                       PO BOX 7                                                                                        CUSTER           SD    57730‐0007
CAROLYN LOGAN PENTA                              24 SCARLET OAK DR                                                                               DOYLESTOWN       PA    18901‐2912
CAROLYN LOU VERLA                                2256 BROOKFIELD                                                                                 CANTON           MI    48188‐1819
CAROLYN LUNO                                     PO BOX 1545                            UNITY SK                               S0K 4L0 CANADA
CAROLYN LURTON BELL CUST HARRY LURTON BELL       3440 DUNWOODY DRIVE                                                                             PENSACOLA        FL    32503‐3248
UTMA IL
CAROLYN M ARNOLD                                 334 FOSTER AVE                                                                                  ELYRIA           OH    44035‐3567
CAROLYN M BOOMERSHINE                            720 HILE LANE                                                                                   ENGLEWOOD        OH    45322‐1734
CAROLYN M BOWERS WELLS & JUDY LYNN WELLS &       124 BRIAR RIDGE                                                                                 COLLINSVILLE     IL    62234
THOMAS JOSEPH WELLS JT TEN
CAROLYN M BROWN                                  421 WESTFIELD DR                                                                                EXTON            PA    19341‐2032
CAROLYN M BRUNING & NICOLE L BRUNING JT TEN      1002 WORTHINGTON DR                                                                             WARRENTON        MO    63383

CAROLYN M CLAY                                   7714 CARLETON                                                                                   ST LOUIS         MO    63130‐1505
CAROLYN M CONNER                                 945 ST MARIE ST                                                                                 FLORISSANT       MO    63031‐5721
CAROLYN M CRAIG                                  2979 KALAKAUA AVE 801                                                                           HONOLULU         HI    96815‐4631
CAROLYN M DECKINGER                              221 ALBEMARLE ROAD                                                                              WHITE PLAINS     NY    10605‐3701
CAROLYN M EGGLESTON                              RD 3 BOX 3391                                                                                   FACTORYVILLE     PA    18419‐9324
CAROLYN M ENGH                                   27756 TIRANTE                                                                                   MISSION VIESO    CA    92692‐2733
CAROLYN M FISHER & EUGENE O FISHER JR JT TEN     3411 NORTH TRAIL WAY                                                                            BALTIMORE        MD    21234‐1247
CAROLYN M GREEN TR GREEN FAM TRUST UA 08/02/93   86 DONALD DR                                                                                    GOFFSTOWN        NH    03045

CAROLYN M HEET                                   5985 JUDITH DR                                                                                  HAMILTON         OH    45011‐2205
CAROLYN M HOLLOWAY                               3051 N OAK COURT                                                                                DECATUR          GA    30034‐6967
CAROLYN M JOHNSON                                1085 FOX HILL DR                                                                                INDIANAPOLIS     IN    46228‐1328
CAROLYN M JOUGHIN                                5815 LYONS HWY                                                                                  ADRIAN           MI    49221‐9764
CAROLYN M LAWSON & VIRGINIA C PERRY JT TEN       3565 IDLEWOOD DR                                                                                KELSEYVILLE      CA    95451‐9047
CAROLYN M LUNDEEN                                41 W 770 ESTHER LANE                                                                            ST CHARLES       IL    60175
CAROLYN M MARCOTTE & JEAN D WORRALL JT TEN       12213 STRETT AVE                                                                                PORT CHARLOTTE   FL    33981‐1463

CAROLYN M MCPHERSON                              892 SHOOTINGSTAR RD                                                                             GRAYSLAKE        IL    60030‐3562
CAROLYN M NICOTRA                                1339 5TH AVE                                                                                    FORD CITY        PA    16226‐1317
CAROLYN M NIEMIEC                                1630 NATHANS TRL                                                                                CHELSEA          MI    48118‐9212
CAROLYN M OLSEN                                  5652 BLACK AVENUE                                                                               PLEASANTON       CA    94566‐5804
CAROLYN M PARYLO‐BRAFMAN                         52408 WALNUT DR                                                                                 NEW BALTIMORE    MI    48047
CAROLYN M PASSMORE                               26021 FISHERMANS RD                                                                             PAISLEY          FL    32767‐9273
CAROLYN M PIPAN                                  11438 STONE MILL CT                                                                             OAKTON           VA    22124‐2031
CAROLYN M RASHOTTE                               10235 RAY ROAD                                                                                  ORTONVILLE       MI    48462‐8901
CAROLYN M SACKETT & DAVID R SACKETT JT TEN       3616 BOWMAN RD                                                                                  ALANSON          MI    49706‐9618
CAROLYN M SCHERBARTH                             56661 HWY 136                                                                                   FAIRBURY         NE    68352‐5070
CAROLYN M SELLERS TOD CATHERINE HARRISON         7198 S LINCOLN WAY                                                                              LITTLETON        CO    80122‐1144
SUBJECT TO STA TOD RULES
CAROLYN M SERACKA                                1208 SUNNYFIELD LN                                                                              SCOTCH PLAINS    NJ    07076
CAROLYN M SHERK                                  PO BOX 161                                                                                      ELLSWORTH        MI    49729‐0161
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 617 of 850
Name                                            Address1                              Address2              Address3         Address4          City            State Zip

CAROLYN M STAINFIELD                            2980 POND LANE                                                                                 WARREN          OH    44481‐9279
CAROLYN M STANEK                                7367 W LANGE RD                                                                                FOWLERVILLE     MI    48836‐8210
CAROLYN M THOMAS                                23061 HARDING ST                                                                               OAK PARK        MI    48237‐2446
CAROLYN M THOMAS & CLIFFORD J THOMAS JT TEN     23061 HARDING ST                                                                               OAK PARK        MI    48237‐2446

CAROLYN M THORNTON                              11633 9TH RD                                                                                   PLYMOUTH        IN    46563‐8348
CAROLYN M VEEDER                                APT 2                                 233 JACKSON AVE                                          SCHENECTADY     NY    12304‐3568
CAROLYN M VIA CUST BRANDON VIA UTMA VA          13668 STONEHENCE CIRCLE                                                                        PICKERINGTON    OH    43147‐9717
CAROLYN M VIA CUST CHARLES DARRIN UTMA VA       13668 STONEHENGE CIRCLE                                                                        PICKERINGTON    OH    43147‐9717
CAROLYN M VIA CUST DEREK MICKLEM VIA UTMA VA    13668 STONEHENGE CIRCLE                                                                        PICKERINGTON    OH    43147‐9717

CAROLYN M WRIGHT                                C/O CAROLYN WRIGHT CAMPBELL           138 CR 4041                                              CARTHAGE        TX    75633
CAROLYN MACDONALD                               12560 LONGLEAF DR                                                                              LAURINBURG      NC    28352‐9591
CAROLYN MAE PARKS & HOWARD PARKS JT TEN         1808 ROSEMARY                                                                                  HIGHLAND PRK    IL    60035‐4353
CAROLYN MAREK                                   BOX 34512                                                                                      CHICAGO         IL    60634‐0512
CAROLYN MARIE LAMBERSON                         3116 SW 110TH TER                                                                              OKLAHOMA CITY   OK    73170‐2556
CAROLYN MARIE TEATS & F GALE TEATS TR TEATS     673 VISTA DR                                                                                   OSWEGO          IL    60543‐8129
FAMILY TRUST UA 01/29/00
CAROLYN MARKWARDT                               1949 UPPER CRESTVIEW                                                                           PRESCOTT        AZ    86305‐5101
CAROLYN MARTIN                                  1310 BARBARA DRIVE                                                                             FLINT           MI    48505‐2594
CAROLYN MARY JOHNSON                            ATTN CAROLYN M BOIK                   330 HURST BOURNE LN                                      DULUTH          GA    30097‐7824
CAROLYN MCCABE & EDWARD MCCABE JT TEN           4137 E CO RD P                                                                                 BELOIT          WI    53511‐9740
CAROLYN MCNAHON                                 2 PARK DRIVE NORTH                                                                             WEST ORANGE     NJ    07052‐5711
CAROLYN MCVEY                                   642 W SOPER RD                                                                                 BAD AXE         MI    48413‐9411
CAROLYN MERCER EISENBART                        4739 GREENWOOD                                                                                 SKOKIE          IL    60076‐1816
CAROLYN MILLER CUST PETER A SMITH UTMA NC       750 CRESTVIEW DR                                                                               BREVARD         NC    28712‐8888
CAROLYN MILLER CUST RACHEL H MILLER UTMA IL     1579 WALNUT AVE                                                                                DES PLAINES     IL    60016‐6623

CAROLYN MILLER CUST ZACHARY M SMITH UTMA NC     750 CRESTVIEW DR                                                                               BREVARD         NC    28712‐8888

CAROLYN MOSS                                    10533 STRATHMORE DR                                                                            WEST LOS ANGELES CA   90024‐2540

CAROLYN N ITTER                                 1795 HOWELL HWY                                                                                ADRIAN          MI    49221
CAROLYN N JOHNS                                 397 MOON RD                                                                                    OXFORD          MI    48371‐6139
CAROLYN N LIPKOWITZ                             930 LAKEVIEW DRIVE                                                                             LAKEWOOD        NJ    08701‐3020
CAROLYN N MAINOR                                BX 163 MOSSY OAKS                                                                              SYLVESTER       GA    31791‐0163
CAROLYN N SCERBO                                1510 TAFT ST                                                                                   NILES           OH    44446‐3832
CAROLYN N SEXTON                                2104 PINEHILL DR W                                                                             PEARLAND        TX    77581‐5520
CAROLYN N TRAYLOR                               4013 PROCTOR WOODS LN                                                                          CARY            NC    27518‐9243
CAROLYN NELSON                                  15 THOMPSON DR UNIT 16                                                                         RANDOLPH        MA    02368‐5078
CAROLYN O HOBBS                                 808 RAY ANDRA                                                                                  DE SOTO         TX    75115‐4408
CAROLYN O KEITH                                 5557 DORAL DR                                                                                  WILMINGTON      DE    19808‐2628
CAROLYN O SHAFFER                               8450 DEPOT RD                                                                                  LISBON          OH    44432‐9763
CAROLYN P BOWER & MARVIN D BOWER JT TEN         8650 EAST STAGHORN LN                                                                          SCOTTSDALE      AZ    85262
CAROLYN P BUBB                                  C/O JEFFREY V PUFF                    122 DELAWARE STREET                                      WOODBURY        NJ    08096
CAROLYN P GORGA & JOSEPH L GORGA JT TEN         4102 BRAMBLETYE DR                                                                             GREENSBORO      NC    27407‐7772
CAROLYN P JARRELL                               1995 WESTMINSTER WAY N E                                                                       ATLANTA         GA    30307‐1136
CAROLYN P MCMILLIN                              800 PALMER AVENUE                                                                              WINTER PARK     FL    32789‐2639
CAROLYN P MOBLEY                                1614 WESTONA DRIVE                                                                             DAYTON          OH    45410‐3340
CAROLYN P OKANO                                 95 1047 HALEMALU STREET                                                                        MILILANI        HI    96789
CAROLYN P SCATCHELL                             5875 N LINCOLN AVE STE 251                                                                     CHICAGO         IL    60659
CAROLYN P SCATCHELL & JOHN M SCATCHELL JT TEN   5875 N LINCOLN AVE STE 251                                                                     CHICAGO         IL    60659

CAROLYN P SKAGGS                                5577 SYCAMORE GROVE LN                                                                         MEMPHIS         TN    38120‐2247
CAROLYN P SKAGGS & MARVIN SKAGGS JT TEN         5577 SYCAMORE GROVE LANE                                                                       MEMPHIS         TN    38120‐2247
CAROLYN P WEMP                                  ATTN CAROLYN P JACKSON                R ROUTE 4             TOTTENHAM ON     L0G 1W0 CANADA
CAROLYN PARKER EARHART‐LEEDS                    9833 BRANCHLEIGH RD                                                                            RANDALLSTOWN    MD    21133‐2003
CAROLYN PARKER LEEDS                            9833 BRANCHLEIGH RD                                                                            RANDALLSTOWN    MD    21133‐2003
                                             09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                  Part 1 of 8 Pg 618 of 850
Name                                           Address1                            Address2             Address3          Address4          City            State Zip

CAROLYN PENNELLO SMITH & CAROLINE L GRONEMANN 2032 SUNSET PT                                                                                VIRGINIA BCH    VA    23454‐1444
HITCHENS JT TEN
CAROLYN PENNELLO SMITH & JOHN PATRICK         2032 SUNSET PT                                                                                VIRGINIA BCH    VA    23454‐1444
GRONEMANN JT TEN
CAROLYN PIERCE HAWKS                          989 OLD APPALACHIAN TRAIL                                                                     FANCY GAP       VA    24328‐2779
CAROLYN POYNOR                                7913 CR 333                                                                                   JONESBORO       AR    72401‐0354
CAROLYN PROKUP                                106 HARRIS GROVE LN                                                                           YORKTOWN        VA    23692‐4009
CAROLYN R ACUFF                               10103 WOODIRON DR                                                                             DULUTH          GA    30097‐3761
CAROLYN R ADAMS                               6135 ELAINE ST                                                                                SPEEDWAY        IN    46224‐3034
CAROLYN R ANTONACCIO                          PO BOX 86                                                                                     GREEN VILLAGE   NJ    07935‐0086
CAROLYN R BANKS                               6417 SPARTA ST                                                                                DETROIT         MI    48210‐3404
CAROLYN R BARDONNER & JOHN E BARDONNER JT TEN 26270 STATE ROAD 19                                                                           ARCADIA         IN    46030‐9703

CAROLYN R BARDONNER & JOHN E BARDONNER JT TEN 26270 STATE ROAD 19                                                                           ARCADIA         IN    46030‐9703

CAROLYN R BELL & ALKA P BELL JT TEN            3940 SETONHURST ROAD                                                                         PIKESVILLE      MD    21208‐2033
CAROLYN R CHAPMAN                              1344 N W 8TH                                                                                 MOORE           OK    73170‐1014
CAROLYN R CUMMINGS                             837 KIMBALL AVE                                                                              WESTFIELD       NJ    07090‐1953
CAROLYN R DAWSON                               3306 MAE DRIVE SW                                                                            WARREN          OH    44481‐9210
CAROLYN R EDGEWORTH                            145 INLAND CIRCLE                                                                            NEWNAN          GA    30263‐5956
CAROLYN R FRICKEL                              1626 DEMPSEY ST                                                                              MC LEAN         VA    22101‐4601
CAROLYN R FRICKEL & DAVID SAFFEL JT TEN        1626 DEMPSEY ST                                                                              MCLEAN          VA    22101‐4601
CAROLYN R GEISEL                               1509 PROSPECT TERRACE                                                                        PEEKSKILL       NY    10566‐4830
CAROLYN R LEVINE                               210 3RD AVE NORTH                                                                            NASHVILLE       TN    37201‐1604
CAROLYN R MARY                                 133 MARONDE WAY                                                                              MONTEREY PARK   CA    91754‐3936
CAROLYN R MEDOSCH                              973 SUMMIT AVENUE                                                                            CINCINNATI      OH    45246‐4324
CAROLYN R MICOU                                3787 HILLSIDE DR                                                                             YPSILANTI       MI    48197‐3735
CAROLYN R NOSKY                                38 W SECOND ST                                                                               DEPEW           NY    14043‐2855
CAROLYN R REMBUSCH CUST PETER ELLISON REMBUSCH 1001 E 58TH ST                                                                               INDIANAPOLIS    IN    46220‐2607
UTMA IN
CAROLYN R RUTLAND                              2683 DEER TRL                                                                                NILES           OH    44446‐4472
CAROLYN R SCHMEISSER                           231 MONOMOY CIRCLE                                                                           CENTERVILLE     MA    02632‐2226
CAROLYN R SIMMONDS                             #34                                 15 CULVER ST                                             PLAISTOW        NH    03865‐2752
CAROLYN R SPROUSE                              115 W 4TH ST                                                                                 WESTON          WV    26452‐1628
CAROLYN R STOFFEL                              23 AVONDALE ROAD                                                                             DENVILLE        NJ    07834‐1724
CAROLYN R SUCH                                 1601 CREST COURT                                                                             INDIANAPOLIS    IN    46214‐3347
CAROLYN R THORP                                11049 WAKEFIELD ST                                                                           WESTCHESTER     IL    60154‐4964
CAROLYN R WEBSTER                              219 HILLVIEW TERR                                                                            FENTON          MI    48430‐3525
CAROLYN RAGLIN                                 721 DENNISON AVE                                                                             DAYTON          OH    45408‐1220
CAROLYN RICHARDSON VENABLE WHITMAN             122 CLEAR LAKE ROAD                                                                          RAYVILLE        LA    71269‐7522
CAROLYN ROBERTS                                12810 CHATHAM ST                                                                             DETROIT         MI    48223‐3100
CAROLYN ROSENFELD                              2130 LAKEVIEW DR                                                                             ST LOUIS        MO    63131‐3203
CAROLYN ROSS                                   3446 W COLDWATER RD                                                                          MT MORRIS       MI    48458‐9400
CAROLYN ROY & MICHAEL IRWIN HUGHES II JT TEN   90 SOUTH HOSPITAL ROAD                                                                       WATERFORD       MI    48327‐3814

CAROLYN S BENNETT TR UA 10/13/00 CAROLYN S     22295 OLD STONE FORT ROAD                                                                    ALTA VISTA      KS    66834
BENNETT TRUST
CAROLYN S BRENDEL                              3707 WEST ENGEL DR                                                                           VALPARAISO      IN    46383‐8365
CAROLYN S BROWN                                2810 LANCELOT DRIVE                                                                          ANDERSON        IN    46011‐9096
CAROLYN S BURKS                                1005 SKYLINE DR                                                                              GRANDVIEW       MO    64030‐1711
CAROLYN S BURT                                 3919 GUN BARN RD                                                                             ANDERSON        IN    46011‐8795
CAROLYN S BYERS                                PO BOX 395                                                                                   ARCADIA         MO    63621‐0395
CAROLYN S CHINN                                194 S 500 W                                                                                  ANDERSON        IN    46011
CAROLYN S CONAWAY                              5769 W 100 NORTH                                                                             TIPTON          IN    46072‐8503
CAROLYN S COOPER                               1502 SO PERSHING DRIVE                                                                       MUNCIE          IN    47302‐3454
CAROLYN S CUMMINGS                             7327 S IRELAND WAY                                                                           CENTENNIAL      CO    80016‐1762
CAROLYN S DELL                                 7781 W GRAND RIVER #236                                                                      GRAND LEDGE     MI    48837‐9241
CAROLYN S ECK                                  909 WEST 9TH ST                                                                              JONESBORO       IN    46938‐1227
CAROLYN S ERMEL                                8172 FAIRWAY DR                                                                              BROWNSBURG      IN    46112‐7764
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 619 of 850
Name                                              Address1                            Address2                    Address3   Address4          City             State Zip

CAROLYN S GRAY                                    2611 BUNNY TRL                                                                               PONCE DE LEON    FL    32455‐6511
CAROLYN S HANSON                                  ATTN CAROLYN ROBERTS                6157 NO SHERIDAN ROAD #9G                                CHICAGO          IL    60660‐5807
CAROLYN S HARVEY                                  3831 AACHEN ST                                                                               SARASOTA         FL    34234‐5407
CAROLYN S HOLCOMB                                 345 PARK DR                                                                                  HAMILTON         IL    62341‐1055
CAROLYN S KAUFMAN                                 142 MERION LANE                     FLYING HILLS                                             READING          PA    19607‐3405
CAROLYN S KELSEY                                  7198 PORTER RD                                                                               GRAND BLANC      MI    48439‐8500
CAROLYN S KENDALL                                 6978 COOK JONES RD                                                                           WAYNESVILLE      OH    45068
CAROLYN S KNACKSTEDT                              1232 TIMBER HAWK TRAIL                                                                       CENTERVILLE      OH    45458‐9633
CAROLYN S LANGE                                   7011 OAK GROVE RD                                                                            HOWELL           MI    48855‐9361
CAROLYN S LICHT                                   PO BOX 62                                                                                    SHELBY           OH    44875‐0062
CAROLYN S LINGENFELTER                            226 LEXINGTON AVE                                                                            ELYRIA           OH    44035‐6220
CAROLYN S LUTES TOD MARK C LUTES SUBJECT TO STA   1935 PERSIMMON GROVE DR                                                                      INDIANAPOLIS     IN    46234
TOD RULES
CAROLYN S MANONI                                  28 WHEELER DR                                                                                CLIFTON PARK     NY    12065‐1814
CAROLYN S MARQUIS                                 131 E 26TH ST                                                                                HOLLAND          MI    49423‐5103
CAROLYN S MATTHEWS                                11329 MINOCK                                                                                 DETROIT          MI    48228‐1309
CAROLYN S MILLS                                   5702 S WEBSTER ST                                                                            KOKOMO           IN    46902‐5252
CAROLYN S MONTGOMERY                              6885 MICHEL RD                                                                               SANGER           TX    76266
CAROLYN S MUSIC                                   1010 THOMPKINS DR                                                                            CEMENT CITY      MI    49233‐9706
CAROLYN S OLSEN                                   PO BOX 1171                                                                                  SEBRING          FL    33871‐1171
CAROLYN S ORNING                                  6875 KNAUF ROAD                                                                              CANFIELD         OH    44406‐9762
CAROLYN S OSWALD TR UA 11/23/93 THE CAROLYN S     1229 ALIMA TERRACE                                                                           LAGRANGE PARK    IL    60526‐1328
OSWALD TRUST
CAROLYN S PARRISH                                 262 KNOB HILL RD                                                                             S MERIDEN        CT    06451‐4969
CAROLYN S RICE                                    38635 MONMOUTH ST                                                                            WESTLAND         MI    48186‐8074
CAROLYN S ROYAL                                   4025 MT MORIAH CHURCH RD                                                                     CLINTON          NC    28328‐8821
CAROLYN S ROYAL & JOHN O ROYAL JT TEN             4025 MT MORIAH CH RD                                                                         CLINTON          NC    28328‐9146
CAROLYN S SIMS                                    25886 PEBBLECREEK DR                                                                         BONITA SPRINGS   FL    34135‐7803
CAROLYN S SOLAN                                   5747 CAMBRIDGE BAY DR                                                                        CHARLOTTE        NC    28269‐6119
CAROLYN S SPARKS                                  5349 SW 186TH CT                                                                             DUNNELLON        FL    34432‐2030
CAROLYN S SPICE                                   51 WILLOW AVE                                                                                ISLIP            NY    11751‐3915
CAROLYN S SPRY                                    2640 SOUTH 5TH STREET                                                                        COLUMBUS         OH    43207‐2906
CAROLYN S STUCKEY                                 1410 BERNWALD LANE                                                                           DAYTON           OH    45432‐3222
CAROLYN S WELLS & ROBERT L SEAMSTER JT TEN        9506 EGRET LANE                                                                              CHESTERFIELD     VA    23838‐8948
CAROLYN S WHALEN                                  10 BRATER COURT                                                                              HAMILTON         OH    45013‐9524
CAROLYN S WIMMER                                  7865 W 400 S                                                                                 RUSSIAVILLE      IN    46979‐9775
CAROLYN S WISE                                    3158 COUNTRY CLUB DRIVE                                                                      MEDINA           OH    44256‐8714
CAROLYN S WOODY                                   5377 MILO WAY                                                                                FAYETTEVILLE     AR    72701‐0820
CAROLYN S YURK                                    1261 NUGENT ST                                                                               JENA             LA    71342‐4411
CAROLYN SANPHILLIP                                5372 PENNOCK POINT RD                                                                        JUPITER          FL    33458‐3478
CAROLYN SCOTHORN HOWARD                           8872 W CO RD 550N                                                                            MIDDLETOWN       IN    47356‐9727
CAROLYN SCOTT                                     PO BOX 37462                                                                                 CINCINNATI       OH    45222‐0462
CAROLYN SCUDDER & WARREN SCUDDER JT TEN           4915 BEACH 49TH ST                                                                           BROOKLYN         NY    11224‐1105
CAROLYN SEABOLT                                   152 HARMENING DR                                                                             HUNTSVILLE       AL    35811‐8759
CAROLYN SJOGREN                                   PO BOX 376                                                                                   GRAFTON          MA    01519‐0376
CAROLYN SOLANO ROSSETTI                           75 MOHAWK ROAD                                                                               YONKERS          NY    10710‐5027
CAROLYN STEWART                                   7139 RIGERVIEWE DR PO BOX542                                                                 GENESEE          MI    48437‐0542
CAROLYN STRANGE DRIGGERS                          2509 FALKIRK DR                                                                              RICHMOND         VA    23236‐1622
CAROLYN SUE CAMERON                               5132 FAIRFAX AVE                                                                             OAKLAND          CA    94601‐5409
CAROLYN SUE CHARLSON                              C/O C C BURRELL                     102 TIMBERLANE                                           HARTWELL         GA    30643‐7082
CAROLYN SUE HILL & ALLEN C HILL JT TEN            1502 AVONDALE AVE                                                                            HAINES CITY      FL    33844‐2602
CAROLYN SUE JONES                                 611 22ND ST                                                                                  CARLYLE          IL    62231‐1620
CAROLYN SUE LUSK                                  258 MEADOWVIEW DR APT 2                                                                      FRANKFORT        KY    40601‐6537
CAROLYN SUE SMITH                                 314 LYNWOOD DR                                                                               HOUMA            LA    70360‐6228
CAROLYN SUE ZAGGY                                 10770 ROEDEL RD                                                                              FRANKENMUTH      MI    48734‐9130
CAROLYN T CONNELLY                                188 W GREENE ST                                                                              WAYNESBURG       PA    15370‐2028
CAROLYN T GREGORY                                 720 PELHAM ROAD                                                                              NEW ROCHELLE     NY    10805‐1042
CAROLYN T HICKS                                   2505 SHADY LANE                                                                              WILMINGTON       NC    28409
CAROLYN T LAPISH                                  2409 PURSER RUSHING ROAD                                                                     MONROE           NC    28110‐9752
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 620 of 850
Name                                               Address1                            Address2                Address3       Address4          City              State Zip

CAROLYN T LAPISH & BOBBY R LAPISH JT TEN           2409 PURSER RUSHING ROAD                                                                     MONROE            NC    28110‐9752
CAROLYN T PADALINO & TIMOTHY E TORP JT TEN         17467 ROSEVILLE BLVD                                                                         ROSEVILLE         MI    48066‐2865
CAROLYN T TELFER                                   25 KUHN COURT                                                                                SADDLEBROOK       NJ    07663‐4520
CAROLYN T YOUNG                                    1007 WINDSONG WAY                                                                            LOUISVILLE        KY    40207‐2273
CAROLYN T ZURBUCH                                  203 SYLVESTER DR                                                                             ELKINS            WV    26241‐3043
CAROLYN THOMPKINS                                  3304 LEMOYNE CT                                                                              TALLAHASSEE       FL    32312‐2020
CAROLYN THOMPSON                                   729 W GRAND AV 314                                                                           DAYTON            OH    45406‐5330
CAROLYN TIDLER MILTON                              C/O C T ROBERTSON                   PO BOX 3267                                              WILMINGTON        NC    28406‐0267
CAROLYN TIPPERREITER & JERRY TIPPERREITER JT TEN   644 FOSTER                                                                                   ROSELLE           IL    60172‐3033

CAROLYN TURK                                       30050 W 9 MILE RD                   APT 207                                                  FARMINGTN HLS     MI    48336‐4868
CAROLYN V ANDERSON                                 8010 STOCKBRIDGE                                                                             MENTOR            OH    44060‐7631
CAROLYN V BLEISH TR CAROLYN B BLEISH TRUST UA      8209 CHEROKEE CIR                                                                            LEAWOOD           KS    66206‐1129
10/04/91
CAROLYN V GILBERT                                  506 E WASHINGTON ST                                                                          CHRISTOPHER       IL    62822‐1940
CAROLYN V GUSS & DONALD GUSS JT TEN                3476 TREMONT RD                                                                              ARLINGTON         OH    43221‐1556
CAROLYN V JAMES                                    14836 PRAIRIE LAKE DR                                                                        PERRYSBURG        OH    43551‐8852
CAROLYN V KLEMM                                    PO BOX 1490                                                                                  WASHINGTON        CT    06793‐0490
CAROLYN V PISCOPO                                  121 ARTHUR LANE                                                                              HENDERSONVLLE     NC    28791
CAROLYN V WIRTH                                    6229 EAGLEBROOK AVENUE                                                                       TAMPA             FL    33625‐1513
CAROLYN VAN DEL HARPER                             1543 SE 74TH AVENUE                                                                          HILLSBORO         OR    97123‐6135
CAROLYN VERSEN PARK                                14703 SILVER SANDS                                                                           HOUSTON           TX    77095‐2822
CAROLYN W BOWEN                                    9242 GARLAND DR                                                                              SAVANNAH          GA    31406‐6948
CAROLYN W BROWN                                    14 MCKELVEY CT NW                                                                            CARTERSVILLE      GA    30121‐4986
CAROLYN W BURLEW                                   312 HERON CT                                                                                 GLEN MILLS        PA    19342‐3367
CAROLYN W COMPTON                                  3833 COBBLE CIR                                                                              NORMAN            OK    73072‐4000
CAROLYN W DOOMAN                                   259 CHESTNUT AVE                                                                             JAMAICA PLAIN     MA    02130‐4403
CAROLYN W DRABEN                                   4215 STUART AVE                                                                              RICHMOND          VA    23221‐1942
CAROLYN W GUERTIN                                  5309 W GRACE ST                                                                              RICHMOND          VA    23226‐1113
CAROLYN W HANNA & THOMAS J HANNA JR JT TEN         3603 N CLEARWATER LANE                                                                       BROOKHAVEN        PA    19015

CAROLYN W HAZELTON                                 52 TERRACE ROAD                                                                              WAYNE             NJ    07470‐3484
CAROLYN W HEDRICK TR CAROLYN W HEDRICK REVOC       11404 WOODSON AVE                                                                            KENSINGTON        MD    20895‐1432
TRUST UA 09/17/97
CAROLYN W KOPCHO EX EST PHILLIP L WALKER           18140 LAKE HARBOR LN                                                                         PRAIRIEVILLE      LA    70769
CAROLYN W LE BAUER                                 C/O CHARLES L WEILL JR              PO BOX 9475                                              GREENSBORO        NC    27429‐0475
CAROLYN W MCGHEE & JOHN R MCGHEE JT TEN            1154 PINE MT RD                                                                              LOCK HAVEN        PA    17745
CAROLYN W STOUT                                    14472‐2 TRAMORE DRIVE                                                                        CHESTERFIELD      MO    63017‐8174
CAROLYN WEAVER SAXMAN                              8922 MT PATAPSCO COURT                                                                       ELLICOTT CITY     MD    21042‐1856
CAROLYN WEBER BUSS                                 2668 S NEWCOMBE ST                                                                           DENVER            CO    80227‐2764
CAROLYN WEST                                       65 KENYON ST                                                                                 HARTFORD          CT    06105‐2506
CAROLYN WILSON                                     20117 STATE HIGHWAY 51                                                                       PUXICO            MO    63960‐8429
CAROLYN WOLF                                       153 ETTA AVE                                                                                 HARRISON          OH    45030‐1470
CAROLYN Y FINCH                                    C/O CAROLYN WILLIAMS                3202 BOULDER BROAK DR                                    LITHONIA          GA    30038‐3003
CAROLYN YAGEL CRUTCHER TR UA 08/06/92 THE          5947 CLUBSIDE DR                                                                             SARASOTA          FL    34243
CAROLYN YAGEL CRUTCHER TRUST
CAROLYN ZMITKO                                     PO BOX 28                                                                                    CORUNNA           MI    48817‐0028
CAROLYN ZUZICH                                     3229 CHESNUT DRIVE                                                                           FLOSSMOOR         IL    60422‐1758
CAROLYNE A FOSTER                                  375 W NORTHFIELD CHURCH RD                                                                   ANN ARBOR         MI    48105‐9645
CAROLYNE L CHORAK                                  4110 PIERCE STREET                                                                           HOLLYWOOD         FL    33021
CAROLYNE M WATTS                                   1551 CROOKS RD                                                                               ROCHESTER HILLS   MI    48309‐2939
CAROLYNE RITZ                                      811 TEN EYCK COURT                                                                           HILLSBOROUGH      NJ    08844
CAROLYNN C SPARKS                                  3211 S PEACH HOLLOW CIR                                                                      PEARLAND          TX    77584‐2038
CAROLYNN JEAN GREEN                                48713 MEDORA CT                                                                              SHELBY TOWNSHIP   MI    48315‐4276

CAROLYNN M ELMORE & SHARON A HOSIER JT TEN         3549 CHRISTY WAY N                                                                           SAGINAW           MI    48603‐7223

CAROLYNN R GRIGBE                                  6340 APACHE DR                                                                               INDIANAPOLIS      IN    46254
CAROLYNN TURNER & WILLIAM F TURNER JT TEN          4302 EAGLE LN                                                                                BURTON            MI    48519‐1489
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 621 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

CAROLYNNE SHOULTS & ROBERT SHOULTS TEN ENT         125 E ALBANY ST                                                                                OSWEGO            NY    13126‐3437

CARON A COBB                                       432 SOUTHWOOD DR                                                                               ELYRIA            OH    44035‐8346
CARON CONNOLLY                                     12208 WELCOME DR                                                                               SAN ANTONIO       TX    78233‐2828
CARON D VEYNAR                                     4919 BRISTOW DR                                                                                ANNANDALE         VA    22003‐5457
CARON H SPRAGUE                                    186 HILLCREST DR                                                                               GREENVILLE        NH    03048‐3336
CARON M KARNER                                     4456 HICKORY LN                                                                                MUSKEGON          MI    49441‐5643
CARPET BROKERS INC                                 PO BOX 16222                                                                                   PANAMA CITY       FL    32406‐6222
CARRANZA WATSON CUST ELLIS WATSON UGMA PA          1639 BRODHEAD ST                                                                               PITTSBURGH        PA    15206‐1904

CARRELL DOUGLAS                                  1908 E 15TH ST                                                                                   KANSAS CITY       MO    64127‐1940
CARRELL W LIVINGSTON                             1324 SHOAL CREEK RD                                                                              DECATUR           AL    35603‐6510
CARREN L YOUNG                                   1975 BROOK PARK DR                                                                               MERRICK           NY    11566‐4607
CARRIE A CALKINS                                 255 BRIDGE ST                                                                                    CORNING           NY    14830‐1949
CARRIE A MAIER                                   555 CANTERBURY RD                                                                                BAY VILLAGE       OH    44140‐2409
CARRIE A SAVILLE                                 10516 HALSEY RD                                                                                  GRAND BLANC       MI    48439‐8323
CARRIE A WADE                                    708 RETREAT DR                                                                                   DACULA            GA    30019
CARRIE ARNOLD                                    112 PORTLAND                                                                                     WILLIAMSBURG      VA    23188‐6455
CARRIE BARRON                                    1101 HERSCHEL AVENUE                                                                             CINCINNATI        OH    45208‐3112
CARRIE BETH ALLAN                                513 OCEAN DR                                                                                     MANHATTAN BCH     CA    90266‐5765
CARRIE BLOOM                                     915 E 17TH ST                           APT 416                                                  BROOKLYN          NY    11230‐3773
CARRIE C MARSHALL                                1421 SEGUNDO                                                                                     IRVING            TX    75060‐2617
CARRIE C MARSHALL & MARIE BAILEY JT TEN          1421 SEGUNDO                                                                                     IRVING            TX    75060‐2617
CARRIE C PARKER                                  8691 MINOCK                                                                                      DETROIT           MI    48228‐3040
CARRIE CEDERNA                                   3584 10TH RD                                                                                     BARK RIVER        MI    49807‐9734
CARRIE CHETCUTI TOD CONNIE REEDER SUBJECT TO STA 1864 MAPLE PARK DR W                                                                             CANTON            MI    48188‐4828
TOD RULES
CARRIE D CLARK CUST CASEY DILLON CLARK UTMA IN   14379 COUNTY ROAD 146                                                                            GOSHEN            IN    46526‐9304

CARRIE D FINNER                                    20170 COOLEY                                                                                   DETROIT           MI    48219‐1271
CARRIE E CANNIZZARO                                346 E MILLSTREAM RD                                                                            CREAM RIDGE       NJ    08514
CARRIE E FOSTER                                    17510 WESTLAND                                                                                 SOUTHFIELD        MI    48075‐7630
CARRIE E HILL                                      9 DANIELS RD                                                                                   MENDON            MA    01756‐1336
CARRIE E MCDOWELL                                  102 W POOS DR                                                                                  NEW BADEN         IL    62265‐1026
CARRIE ELIZABETH BRANDES                           2901 MONKTON RD                                                                                MONKTON           MD    21111‐2115
CARRIE G MILLER                                    1016 N PROGRESS ST                                                                             WEST POINT        MS    39773‐2244
CARRIE G MILLER & MILDRED PATRICIA MILLER JT TEN   ATTN MILDRED HUBBARD                  724 6TH AVE SOUTH                                        COLUMBUS          MS    39701‐6504

CARRIE I MORGAN                                    20 BORDER AVE                                                                                  HEDGESVILLE       WV    25427‐5809
CARRIE ISCH                                        49 E MARKET ST                                                                                 MARSHALLVILLE     OH    44645‐9468
CARRIE J GAY                                       23783 RUTLAND AVE                                                                              SOUTHFIELD        MI    48075‐8013
CARRIE J JOHNSON                                   918 4TH ST                                                                                     THREE RIVERS      MI    49093‐1804
CARRIE J NICOLOFF                                  1824 NEW ROOSEVELT AVE                                                                         JANESVILLE        WI    53546
CARRIE J RUSHING                                   3022 DEARBORN STREET                                                                           YOUNGSTOWN        OH    44510‐1018
CARRIE J SIMPSON                                   110 SYCAMORE CT                                                                                SANFORD           FL    32773‐5619
CARRIE JEAN RAY                                    PO BOX 236                                                                                     PORTLAND          TX    78374‐0236
CARRIE JULIAN                                      28 LOCUST LANE                                                                                 EAST RUTHERFORD   NJ    07073‐1014

CARRIE L ATWOOD CUST SEAMUS L ATWOOD UTMA WA 24209 NE 7TH PL                                                                                      SAMMAMISH         WA    98074‐3627

CARRIE L BARTHLE                                   15310 SWIFT RD                                                                                 DADE CITY         FL    33525
CARRIE L CLAYTON                                   9736 S PRINCETON AVE HOUSE                                                                     CHICAGO           IL    60628‐1209
CARRIE L DUDAS                                     153 LYNNE TRAIL                                                                                OREGON            WI    53575‐3421
CARRIE L FERRIS                                    4036 N HERRINGTON RD                                                                           WEBBERVILLE       MI    48892‐9765
CARRIE L HANSON                                    4670 SW 13 ST                                                                                  DEERFIELD BCH     FL    33442‐8228
CARRIE L JAQUES                                    1931 RIO VISTA DR                                                                              FORT WAYNE        IN    46815‐8119
CARRIE L JOHNSON                                   24209 NE 7TH PL                                                                                SAMMAMISH         WA    98074‐3627
CARRIE L MANGHAM                                   130 N FAYETTE CT                                                                               FAYETTEVILLE      GA    30214‐3426
CARRIE L MILLER                                    4335 S LYNHURST DR                                                                             INDIANAPOLIS      IN    46221‐3226
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 622 of 850
Name                                               Address1                               Address2              Address3         Address4          City              State Zip

CARRIE L PARSONS                                   10725 STARGATE LN                                                                               CINCINNATI        OH    45240‐3531
CARRIE L POUNDS                                    23881 PINAFORE CIRCLE                                                                           LAGUNA NIGUEL     CA    92677
CARRIE L RAUPACH                                   1614 CHATTANOOGA AVE                                                                            YOUNGSTOWN        OH    44514‐1155
CARRIE L STEARNS                                   372 PLYMOUTH PL                                                                                 SALEM             OH    44460‐3683
CARRIE L STEVENSON                                 61 RUTLEDGE DR                                                                                  YOUNGSTOWN        OH    44505‐4921
CARRIE L TALBOT TR CARRIE L TALBOT TRUST UA        2210 E GRAND BLANC RD                                                                           GRAND BLANC       MI    48439‐8113
06/18/99
CARRIE L TOUROO                                    1190 SOUTH DAWN DRIVE                                                                           FREELAND          MI    48623‐9066
CARRIE L WELSH                                     2258 VALLEY ROAD                                                                                OCEANSIDE         CA    92056‐3107
CARRIE L WELSH REHN                                2258 VALLEY RD                                                                                  OCEANSIDE         CA    92056‐3107
CARRIE L WILLIAMS                                  875 OLYMPIC DRIVE                                                                               WATERLOO          IA    50701‐4855
CARRIE LANDERS                                     3564 ORANGEPORT RD                                                                              GASPORT           NY    14067‐9381
CARRIE LEE GERTZ                                   609 STONE CANYON DR                                                                             IRVING            TX    75063‐4584
CARRIE LEE LINK                                    296 BAYOU BANK ROAD                                                                             MONROE            LA    71203‐2448
CARRIE LOUISE PINSON                               3147 JUSTICE MILL CT NW                                                                         KENNESAW          GA    30144‐2384
CARRIE LOVELY                                      18716 MONTE VISTA                                                                               DETROIT           MI    48221‐1989
CARRIE LYNN LEWIS                                  134 BANGOR LN                                                                                   MILTON            DE    19968‐2568
CARRIE LYNN LITTLE                                 5953 CARLTON AVE                       NIAGARA FALLS ON                       L2G 5J6 CANADA
CARRIE LYNN LOFGREN & MARK LOFGREN JT TEN          C/O H STURZ                            728 HAWTHORN CIRCLE                                      LOMBARD           IL    60148‐3635
CARRIE M CAFFEE                                    PO BOX 145                                                                                      NIAGARA FALLS     NY    14305‐0145
CARRIE M FIELDS                                    2930 BENJAMIN E MAID DRIVE                                                                      ATLANTA           GA    30311‐2000
CARRIE M HUGGINS                                   201 WILLIAM HARDIN STREET                                                                       COLUMBIA          SC    29223‐7820
CARRIE M LEPINE CUST VALERIE J LEPINE UNDER FL     1747 INLET DR                                                                                   N FT MYERS        FL    33903
TRANSFERS TO MINORS ACT
CARRIE M LIPSEY                                    13459 CROSLEY                                                                                   REDFORD           MI    48239‐4520
CARRIE M MINOR                                     14815 ASHLAND PINES LN                                                                          HUMBLE            TX    77396‐4123
CARRIE M PERRY                                     7317 SHEPHERD OAKS CIR                 APT 522                                                  FORT WORTH        TX    76112‐4775
CARRIE M PORTER                                    14843 CORRIDON AV                                                                               MAPLE HEIGHTS     OH    44137‐3240
CARRIE M SAUNDERS                                  1 ST MARY'S PL                                                                                  WHITE PLAINS      NY    10603‐1130
CARRIE M TURNER                                    17152 FLEMING ST                                                                                DETROIT           MI    48212‐1538
CARRIE M WIDMER TR UA 06/16/2009 CARRIE M          6314 CLEARAIR DRIVE                                                                             MENTOR            OH    44060
WIDMER TRUST
CARRIE M WOODWARD                                  C/O IRENE E BIDDLE                     19 POWDEROCK PLACE                                       BALTIMORE         MD    21236‐4764
CARRIE MARIE GALDES                                6303 PLEASANT RIVER DR                                                                          DIMONDALE         MI    48821‐9739
CARRIE MIDDLETON                                   63 ROCKLEDGE DR                                                                                 WEST HARTFORD     CT    06107‐3737
CARRIE MOLLER                                      1497 MEREDITH DRIVE                                                                             CINCINNATI        OH    45231‐3238
CARRIE MONROE                                      12045 HAZY HILLS DR                                                                             PARKER            CO    80138‐8798
CARRIE MOORE CUST KJIA HERR UGMA MI                1784 KILBURN ROAD N                                                                             ROCHESTER HILLS   MI    48306‐3034
CARRIE O'DELL                                      5480 BAKER                                                                                      BRIDGEPORT        MI    48722‐9593
CARRIE P EVANS                                     44 HERITAGE HILL RD                                                                             NEW CANAAN        CT    06840‐4604
CARRIE P GOOD & ROBERT E GOOD                      12113 HOFFMAN COURT                                                                             CHARLOTTE         NC    28269‐7101
CARRIE P ROWAN                                     DRAWER 40747                           EAST STATION                                             TUSCALOOSA        AL    35404‐0747
CARRIE R TOMASIK & RONALD T TOMASIK JT TEN         3610 OGEMA AVE                                                                                  FLINT             MI    48507‐1839
CARRIE ROSENBAUM EX UW EMMI ERRICO                 9666 VIAGRANDEZZA EAST                                                                          WELLINGTON        FL    33411
CARRIE RUTH ARELLANO                               3972 MILL LAKE                                                                                  LAKE ORION        MI    48360
CARRIE STEWART                                     1292 S BELVOIR BLVD                                                                             S EUCLID          OH    44121‐2964
CARRIE SUE NICHOLSON                               10908 WEST MAPLE RAPIDS ROAD                                                                    FOWLER            MI    48835‐9604
CARRIE TURNER DAVISON TR UA 09/10/84 CARRIE        118 EL RANCHO WAY                                                                               SAN ANTONIO       TX    78209‐2116
NEWTON ROBIN TRUST
CARRIE V HOWALTER                                  2742 PINE GROVE DR                                                                              DAYTON            OH    45449‐3349
CARRIE V JACK                                      7437 WEST LANE                                                                                  GRANITE BAY       CA    95746‐7344
CARRIE W LITTMAN                                   3210 DREXEL DRIVE                                                                               WILMINGTON        DE    19810‐3455
CARRIE W WATERMAN                                  582 LEXINGTON ROAD                                                                              CONCORD           MA    01742‐3715
CARRIERES UNIES DE PORPHYRE                        RUE DE BELLE‐VUE 64                    B 1000 BRUSSELS                        BELGIUM
CARROL CHANCE EX UW GERALD GENE HEBERT             2532 CRESTVIEW AVE                                                                              PALMDALE          CA    93551‐4601
CARROL E MORRISON                                  1928 GREENFIELD AVE                                                                             FORT WORTH        TX    76102‐1517
CARROL G MORRIS                                    19106 RAVINE RIDGE RD                                                                           SPRING LAKE       MI    49456‐3005
CARROL HALE                                        215 MAYNARD AVE                                                                                 CRESTLINE         OH    44827‐1962
CARROL J BURKHOLDER                                3718 17TH ST                                                                                    GREAT BEND        KS    67530‐7403
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                    Part 1 of 8 Pg 623 of 850
Name                                             Address1                            Address2                     Address3           Address4          City             State Zip

CARROL J CASTLES                                 4223 MOULTON DRIVE                                                                                    FLINT            MI    48507‐5544
CARROL L DABBS                                   2620 BRIDGEWAY DR                                                                                     COOKEVILLE       TN    38506‐7400
CARROL L JOHNSON                                 2803 COBBS WAY                                                                                        ANDERSON         SC    29621‐4257
CARROL L MASTERS TOD                             HARVEY R CORNETT JR                 SUBJECT TO STA TOD RULES\I   4921 CASSCITY RD                     CASS CITY        MI    48726
CARROL L MASTERS TOD DENICE F CORNETT SUBJECT TO 4921 CASSCITY RD                                                                                      CASS CITY        MI    48726
STA TOD RULES
CARROL L MASTERS TOD DONALD R CORNETT SUBJECT 4921 CASSCITY RD                                                                                         CASS CITY        MI    48726
TO STA TOD RULES
CARROL L MASTERS TOD GREGORY L CORNETT SUBJECT 4921 CASSCITY RD                                                                                        CASS CITY        MI    48726
TO STA TOD RULES
CARROL L MASTERS TOD STEVEN A CORNETT SUBJECT    4921 CASSCITY RD                                                                                      CASS CITY        MI    48726
TO STA TOD RULES
CARROL L TATUM                                   2401 PERKINS                                                                                          SAGINAW          MI    48601‐1519
CARROL R HIGGINS                                 5424 HUNTER ST                                                                                        RAYTOWN          MO    64133‐2737
CARROLL A LEWIS & EVELYN H LEWIS TR U‐DECL OF    7401 NW 8TH CT                                                                                        PLANTATION       FL    33317‐1015
TRUST 02/24/92
CARROLL A SCHUMAKER                              13804 BLAZEY RD                                                                                       STRONGSVILLE     OH    44136‐3752
CARROLL A WOODBURY                               3419 DAKOTA                                                                                           FLINT            MI    48506‐3153
CARROLL A YOUNG & ISABELLA R YOUNG TEN ENT       6 HILLTOP ST                                                                                          BERKELEY SPGS    WV    25411‐4580
CARROLL B EARGLE JR                              2920 PRENTICE ST                                                                                      COLUMBIA         SC    29205‐3851
CARROLL C CANNON JR CUST CARROLL C CANNON III    950 VENETIAN WAY                                                                                      COLUMBUS         OH    43230‐1870
UGMA AR
CARROLL C KELLUM                                 323 HAWKS NEST DR                                                                                     EAST CHINA       MI    48054‐2227
CARROLL C LYERLA                                 1326 HILLSIDE DR                                                                                      COLUMBIAVILLE    MI    48421‐9741
CARROLL C MAUDLIN                                PO BOX 2                                                                                              PIPER CITY       IL    60959‐0002
CARROLL C STANDER JR                             145 S KENNETH CT                                                                                      MERRITT ISLAND   FL    32952‐2603
CARROLL C TRAIL & OMI C TRAIL JT TEN             7777 GLEN AMERICA DR APT 124                                                                          DALLAS           TX    75225
CARROLL C TRAIL TOD ANN TRAIL SUBJECT TO STA TOD 7777 GLEN AMERICA DR #124                                                                             DALLAS           TX    75225
RULES
CARROLL C TRAIL TOD FRANCES TRAIL SUBJECT TO STA 7777 GLEN AMERICA DR #124                                                                             DALLAS           TX    75225
TOD RULES
CARROLL C TRAIL TOD WAYNE K TRAIL SUBJECT TO STA 7777 GLEN AMERICA DR #124                                                                             DALLAS           TX    75225
TOD RULES
CARROLL D BENGE                                  481 PINE MOUNTAIN RD                                                                                  HUDSON           NC    28638
CARROLL D CLOUD                                  3689 JONESBORO RD                                                                                     HAMPTON          GA    30228‐1746
CARROLL D DAVIS                                  1815 LONGFELLOW ST                                                                                    HYATTSVILLE      MD    20782‐3563
CARROLL D SEEDORF CUST DANIEL V SEEDORF UGMA CO 2505 CO ROAD 38                                                                                        YUMA             CO    80759‐9023

CARROLL D SEEDORF CUST STEVEN L SEEDORF UGMA CO 2505 CO ROAD 38                                                                                        YUMA             CO    80759‐9023

CARROLL E BURKE                                  405 EAST ST                                                                                           PENDLETON        IN    46064‐1215
CARROLL E GOSSAGE                                718 S ROSE ST                                                                                         BALTIMORE        MD    21224‐3737
CARROLL E GREEN & MRS WANDA GREEN JT TEN         1219 N ECHO RIDGE                                                                                     EAST PEORIA      IL    61611‐5416
CARROLL E THOMAS                                 2485 MEWVILLE RD                                                                                      YEMASSEE         SC    29945‐3812
CARROLL F COGAN                                  3001 HAYFIELD DR                                                                                      LOUISVILLE       KY    40205‐2809
CARROLL F DUNCAN                                 12098 REED ROAD                                                                                       BYRON            MI    48418‐9708
CARROLL F MARKOWSKI                              3050 WAYLAND AVE                                                                                      DAYTON           OH    45420‐2143
CARROLL G ANDERSON & PHYLLIS A ANDERSON JT TEN   8414 N LINDEN RD                    MT MORRIS                                                         MOUNT MORRIS     MI    48458

CARROLL G BURCH                                  1001 SCOTTS HIDEAWAY RD                                                                               FARMERVILLE      LA    71241‐7517
CARROLL G STRANGE                                581 N MIAMI ST                                                                                        WABASH           IN    46992‐1705
CARROLL G TURNER                                 12709 W C R 700 N                                                                                     PARKER CITY      IN    47368‐9802
CARROLL GENE HARRIS                              312 WANATAH CIR                                                                                       WESTFIELD        IN    46074‐8102
CARROLL H DENSMORE JR                            121 VALLEY DRIVE                                                                                      HARMONY          PA    16037‐9507
CARROLL H JORDAN                                 8520 KENTLAND COURT                                                                                   CINCINNATI       OH    45236‐1312
CARROLL HOWDERSHELT                              6795 PALMYRA RD                                                                                       WARREN           OH    44481‐9226
CARROLL HUTCHINS                                 ATTN WILLIM                         BOX 53                       HAMILTON           BERMUDA
CARROLL K WEBBER                                 67 PHYLLIS DR                                                                                         MARTINSBURG      WV    25404‐0761
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 624 of 850
Name                                             Address1                               Address2             Address3          Address4          City           State Zip

CARROLL L CROCKER TR CARROLL LIVING TRUST UA     3424 OVERTON RD                                                                                 BIRMINGHAM     AL    35223‐2125
09/15/98
CARROLL L HINE                                   2867 DAYTON PIKE                                                                                LEBANON        OH    45036
CARROLL L HOUSEMEYER                             9792 CENTRAL AVE                                                                                DILLSBORO      IN    47018‐7414
CARROLL L LOCKHART                               750W                                   9430 SO CO RD                                            DALEVILLE      IN    47334‐9720
CARROLL M ANDERSON & MRS LILLIAN E ANDERSON JT   307 NARROW LANE                                                                                 BEDFORD        PA    15522‐5561
TEN
CARROLL M BALL                                   33 N ADGERS WHARF                                                                               CHARLESTON     SC    29401
CARROLL M CASEY & MARCELLA J CASEY JT TEN        16 LAMBOURN DRIVE                                                                               BELLA VISTA    AR    72714‐3137
CARROLL M LACHNIT                                3963 GAVIOTA AVE                                                                                LONG BEACH     CA    90807‐3739
CARROLL M VOWELS & MRS SANDRA S VOWELS JT TEN    1323 NIXON AVE                                                                                  EAU CLAIRE     WI    54701‐6574

CARROLL N LUFKIN                                 188 MEDWAY RD                                                                                   MATTAWAMKEAG   ME    04459
CARROLL N MUMFORD                                4444 E PARADISE VILAGE PKWY N          UNIT 244                                                 PHOENIX        AZ    85032
CARROLL O DORSHA                                 2336 ASPEN ST                                                                                   JANESVILLE     WI    53546‐6149
CARROLL R DOTY & MARCIA G DOTY TR DOTY           PO BOX 7221                                                                                     STOCKTON       CA    95267‐0221
REVOCABLE TRUST UA 03/28/80
CARROLL R FISHER                                 58180 COVERED BRIDGE RD                                                                         CENTERVILLE    MI    49032‐9752
CARROLL R JENSEN                                 1005 MAPLE AVE                                                                                  NORFOLK        NE    68701‐3842
CARROLL R ROGERS                                 14100 INWOOD RD                                                                                 DALLAS         TX    75244‐3917
CARROLL R WILTSE                                 909 HINFORD                                                                                     LAKE ORION     MI    48362‐2647
CARROLL S BARTON & PATRICIA BARTON TEN ENT       936 JANET AVENUE                                                                                LANCASTER      PA    17601‐5118
CARROLL S RAMSAY                                 1694 TAFT RD R#4                                                                                ST JOHNS       MI    48879
CARROLL V PEEPER                                 1579 SUNFIELD ST                                                                                SUN PRAIRIE    WI    53590‐2651
CARROLL W ATCHLEY                                14480 NORTH RD                                                                                  FENTON         MI    48430‐1339
CARROLL W BARRETT                                9404 EAST COUNTY ROAD 25 SOUTH                                                                  SELMA          IN    47383‐9438
CARROLL W BARRETT & JAUNITA M BARRETT JT TEN     9404 E CR 25 S                                                                                  SELMA          IN    47383‐9438

CARROLL W BURGESS                                2147 VOIGHT RD                                                                                  ST HELEN       MI    48656‐9426
CARROLL W HAWKINS                                PO BOX 57                                                                                       COVE CITY      NC    28523‐0057
CARROLL W UTTLEY                                 1703 S CHICAGO STREET TRLR 22                                                                   JOLIET         IL    60436‐3197
CARROLLEE DEVAULT                                2592 HOWE ST                                                                                    SHELBY TWP     MI    48317‐3658
CARROLLTON UNITED METHODIST CHURCH               921 S CARROLLTON AVE                                                                            NEW ORLEANS    LA    70118‐1143
CARROLYN M WUTKA A MINOR                         22227 85TH AVENUE SUITE E                                                                       GRAHAM         WA    98338‐8419
CARRY BAUMANN                                    NEPTUNISTIGEN 44                       16571 HASSELBY                         SWEDEN
CARSELL BORNER                                   APT 1                                  4182 BURNS                                               DETROIT        MI    48214‐1270
CARSIE THOMAS                                    351 PILGRIM                                                                                     HIGHLAND PK    MI    48203‐2723
CARSLIE L LONGSTREET                             18181 MARX                                                                                      DETROIT        MI    48203‐5401
CARSON B SHOLIN                                  4251 WRIGHT AVE                                                                                 CHARLOTTE      NC    28211‐2405
CARSON B STANTON                                 2489 NICKELSVILLE ROAD                                                                          RESACA         GA    30735‐6415
CARSON D MASCOLL                                 16 THOMAS ST                                                                                    HEMPSTEAD      NY    11550‐2917
CARSON DEAN EVANS CUST CINDY EVANS UTMA OK       PO BOX 68                                                                                       CHANDLER       OK    74834

CARSON E GOTHAM & MRS EVALYN A GOTHAM JT TEN     W4449 HWY 168                                                                                   BLACK CREEK    WI    54106‐9205

CARSON F OREAR                                   2108 DUKE DRIVE                                                                                 BAKERSFIELD    CA    93305‐1632
CARSON F RICHARDS                                118 S HANOVER AVE                                                                               LEXINGTON      KY    40502
CARSON FALLQUIST                                 5234 W EL CORTEZ TRL                                                                            PHOENIX        AZ    85083‐1859
CARSON H HERRING                                 824 PITTY PAT DR                                                                                FLORENCE       SC    29505‐7129
CARSON H VARNER JR & IRIS I VARNER JT TEN        303 DWYER COURT                                                                                 NORMAL         IL    61761‐4304
CARSON LIPSCOMB JR                               609 CALIFORNIA BLVD                                                                             TOLEDO         OH    43612‐2436
CARSON M POLK                                    1901 CHENE CT 101                                                                               DETROIT        MI    48207‐4904
CARTELL BULLOCK                                  7510 EAST STOPLL ROAD                                                                           INDIANAPOLIS   IN    46259
CARTER B BURNET                                  27 MARYLAND AVE                                                                                 MIDDLETOWN     NY    10940‐6109
CARTER B HIGGINS                                 PO BOX 183                                                                                      DANVILLE       IN    46122‐0183
CARTER B TATUM JR                                80 NORTH STAR TRAIL                                                                             ATLANTA        GA    30331‐7862
CARTER D PARRISH JR                              PO BOX 2210                                                                                     OCKLAWAHA      FL    32183‐9210
CARTER DAVIS GDN EUGENIA WRIGHT DAVIS            572 ROANOKE DR                                                                                  CONROE         TX    77302
CARTER G WELLS CUST LISA L WELLS UGMA VA         PO BOX 198                                                                                      LOTTSBURG      VA    22511‐0198
                                                 09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 625 of 850
Name                                                 Address1                               Address2             Address3          Address4          City             State Zip

CARTER H SANDLIN                                5721 ANGIE DRIVE                                                                                     HILLARD          OH    43026‐9622
CARTER HARRISON                                 PO BOX 325                                                                                           RYE              NH    03870
CARTER HARRISON TR UA 11/08/2002 GEORGE E MOREL 10036 BENTWOOD PEAK COVE                                                                             COLLIERVILLE     TN    38017
REVOCABLE LIV TRUST
CARTER MARTIN                                   1700 HOMET RD                                                                                        PASADENA         CA    91106‐3541
CARTER MORRISON                                 15 WHEELER CT                                                                                        PUTNAM           IL    61560‐9501
CARTER MUDGE CUST PARKER MUDGE UTMA CA          26662 CALLE JUANITA                                                                                  CAPISTRANO BEACH CA    92624‐1405

CARTER R HANNA                                       248 BLUE MOUNTAIN WAY                                                                           CLAREMONT        CA    91711‐2825
CARTER RANDALL SMITH                                 105 REGENT LANE                                                                                 FLORENCE         AL    35630‐1055
CARTER T PEEK                                        2529 PEYTON WOODS TR SW                                                                         ATLANTA          GA    30311‐2137
CARTER W CROMPTON & AUDREY J CROMPTON JT TEN         5390 W WILSON RD                                                                                CLIO             MI    48420‐9443

CARTHUL CARYLE JOHNSON                               26 KRISTY DRIVE                                                                                 CABOT            AR    72023‐8621
CARTREEN ROSS                                        12145 MARTINDALE                                                                                DETROIT          MI    48204‐1560
CARVER BOWEN & ALICE BOWEN TR TRUST NO 01‐U‐A        STAR ROUTE BOX 2                                                                                GLENNVILLE       CA    93226
11/30/67
CARVER M LAWHORNE                                    1448 MYRTLE AVENUE                                                                              PLAINFIELD       NJ    07063‐1049
CARVIN L CHAPMAN                                     4819 EDGEWOOD                                                                                   CLARKSTON        MI    48346‐4003
CARWON R JONES JR                                    2417 HENDRICKS ST                                                                               ANDERSON         IN    46016‐4928
CARY A SCHNEIDER                                     8473 KIRKWOOD DR                                                                                LOS ANGELES      CA    90046‐1927
CARY B WAGNER                                        2105 HACIENDA ST                                                                                REDDING          CA    96003‐9048
CARY BENN COCHRELL                                   307 DE SOTO DR                                                                                  LOS GATOS        CA    95032‐2403
CARY BROWN                                           400 TROON CHASE                                                                                 VIRGINIA BEACH   VA    23462‐4476
CARY C BAKER                                         2304 TABLE ROCK ROAD                                                                            ARLINGTON        TX    76006‐2760
CARY C CARGILL                                       3926 SANDLEHURST DR                                                                             PASADENA         TX    77504‐3026
CARY D FRANKS                                        404 OLD TIPTON SCHOOL ROAD                                                                      SHERMAN          IL    62684‐9615
CARY GADZINSKI                                       900 RIVARD BLVD                                                                                 GROSSE POINTE    MI    48230‐1298
CARY GRIFFIN                                         5582 KLEMENTS LN                                                                                FLORENCE         MT    59833‐6609
CARY H BONHAM                                        39780 ALSACE COURT                                                                              SOLON            OH    44139‐6702
CARY H SIMPSON & BETTY F SIMPSON TEN ENT             601 5TH ST                                                                                      TYRONE           PA    16686‐1223
CARY HOSTA                                           244 LEISURE LANE                                                                                HOLLAND          MI    49424‐2440
CARY L CZARNIECKI                                    903 FOREST DRIVE                                                                                ANDERSON         IN    46011‐1235
CARY L DYE                                           118 S GRACE                                                                                     LANSING          MI    48917‐3817
CARY L FISCHER                                       1943 BURTON ST                                                                                  BELOIT           WI    53511‐2802
CARY L MEREDITH JR                                   219 MILL HARBOR DR                                                                              ARNOLD           MD    21012‐1033
CARY M COCHRELL                                      307 DE SOTO DR                                                                                  LOS GATOS        CA    95032‐2403
CARY M ELMORE & CAROL I ELMORE JT TEN                10617 S KOLIN AVE                                                                               OAK LAWN         IL    60453‐5307
CARY M HART                                          10648 STEWARD COURT                                                                             FORTVILLE        IN    46040‐9465
CARY M HUETTNER                                      4105 MEADOW RIDGE SW                                                                            ROCHESTER        MN    55902‐6638
CARY M SHERMAN                                       1620 ANITA PL                                                                                   ATLANTA          GA    30306‐2204
CARY MEAD MERIWETHER                                 4550 POMONA AVE                                                                                 LA MESA          CA    91941‐4714
CARY METZ                                            92 BAILEY LOOP RD                                                                               RUSSELLVILLE     AR    72802
CARY N CARPENDER                                     31 OVERHILLS                                                                                    PUTNEY           VT    05346‐8896
CARY P MCEVERS                                       55 DANWOOD                                                                                      OXFORD           MI    48371
CARY PRYOR CUST TAELOR JACKSON PRYOR UGMA SC         3513 OLD FERRY RD                                                                               JOHNS ISLAND     SC    29455‐7844

CARY R FENWICK                                       12880 W CRD 500 S                                                                               DALEVILLE        IN    47334
CARY R ROYCE & CAROLYN J ROYCE JT TEN                PO BOX 218                                                                                      LA FONTAINE      IN    46940‐0218
CARY S BLACKMER                                      6626 DOLPHIN COVE DR                                                                            APOLLO BEACH     FL    33572‐3044
CARY STEVENSON                                       6520 FALKIRK RD APT F                                                                           BALTO            MD    21239‐2081
CARY T ISLEY JR                                      9460 TANAGER AVE                                                                                FOUNTAIN VLY     CA    92708‐6559
CARY T ISLEY JR TR CARY T ISLEY JR LIVING TRUST UA   9460 TANAGER AVE                                                                                FOUNTAIN VLY     CA    92708‐6559
9/10/01
CARY T PRITCHETT                                     3965 EAST JOAN LANE                                                                             INVERNESS        FL    34453‐0472
CARY WRIGHT DOUGHTY                                  233 PORK POINT RD                                                                               BOWDOINHAM       ME    04008‐5035
CARYL A BRUNNER                                      905 RIVERVIEW BLVD                                                                              TONAWANDA        NY    14150‐7866
CARYL A SANTEE                                       13 BASSETT ST                          PO BOX 142                                               RUSHVILLE        NY    14544‐0142
CARYL ADAMS                                          202 SOUTH HOOPES AVE                                                                            AUBURN           NY    13021‐4261
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                     Part 1 of 8 Pg 626 of 850
Name                                            Address1                              Address2              Address3         Address4                 City             State Zip

CARYL ANN HAYES                                 109 COLLINS AVENUE                                                                                    BALBOA ISLAND    CA    92662‐1107
CARYL C KINGHORN TR CARYL C KINGHORN TRUST UA   4204 REFLECTION PARK WAY                                                                              SARASOTA         FL    34233
10/08/97
CARYL G BANGS                                   312 N MANLIUS ST                                                                                      FAYETTEVILLE     NY    13066‐1434
CARYL G NEWMAN                                  1608 POPPY CIR                                                                                        ROCKLIN          CA    95765‐5430
CARYL GEE                                       8623 ROMA RD                                                                                          PALOS PARK       IL    60464‐1873
CARYL J HOLLERAN                                1002 CRESCENT                                                                                         CLINTON          IA    52732‐4740
CARYL J POLANSKY TR POLANSKY FAMILY TRUST UA    7919 RENWOOD DRIVE                                                                                    PARMA            OH    44129‐4462
09/11/97
CARYL L STIMSON                                 9155 DODGE RD                                                                                         OTISVILLE        MI    48463‐9403
CARYL L WOJCIK                                  7642 S DAVIS PEAK                                                                                     LITTLETON        CO    80127‐3825
CARYL R SPENCER                                 294 BILLMAN ROAD                                                                                      NEW PARIS        OH    45347‐9101
CARYL R VANDERWERF & MINNIE VANDERWERF JT TEN   1037 KINNEY AVE NW                                                                                    GRAND RAPIDS     MI    49534‐3466

CARYL SILVERSMITH & ANN SILVERSMITH JT TEN      8300 FAIRMOUNT DRIVE                  QQ‐101                                                          DENVER           CO    80247‐6527
CARYL STRUNK ASHLEY                             112 TRENTON ST                                                                                        JAMESTOWN        NY    14701‐6131
CARYLE O NESS                                   14621 S W 91 STREET                                                                                   ARCHER           FL    32618
CARYN FELD                                      1270 SEALE DR                                                                                         ALFERETTA        GA    30022‐6138
CARYN M SNERSON & BRIAN R SNERSON JT TEN        4 ROBINHILL RD                                                                                        NORTH CALDWELL   NJ    07006‐4218

CARYN MC CORMICK CUST LAUREN MC CORMICK UGMA PO BOX 16522                                                                                             CLEARWATER       FL    33766‐6522
NY
CARYN MCCORMICK & PAUL F MCCORMICK JT TEN    PO BOX 16522                                                                                             CLEARWATER       FL    33766‐6522

CARYN PAULOVICH                                 5 MAPLE DR                                                                                            COLTS NECK       NJ    07722‐1184
CARYN R KRISHA                                  1417 PATRICK PL                                                                                       THE VILLAGES     FL    32162‐3783
CARYN R SHAYE CUST DAVID SHAYE UGMA MI          32500 SCENIC LANE                                                                                     FRANKLIN         MI    48025‐1752
CARYN RAGIN                                     1945 WILLOWAY CIRCLE NORTH                                                                            COLUMBUS         OH    43220
CAS W NEAL                                      9 STILLWELL DR                                                                                        DAYTON           OH    45431‐1313
CASA SOLLIEVO DELLA SOFFERENZA                  71013 SAN GIOVANNI ROTONDO            C/C POSTALE 13/4596   FOGGIA           ITALY
CASANDRA FOUNTAIN                               18998 KENTFIELD STREET                                                                                DETROIT          MI    48219‐3449
CASANDRA J ANDERSON                             95 WETMORE PARK                                                                                       ROCHESTER        NY    14606‐1421
CASANDRA L O'BRIEN                              201 PIEDMONT LN                                                                                       GEORGETOWN       TX    78633‐5158
CASANDRA LAVERNE COSTLEY                        8900 GREENS LN                                                                                        RANDALLSTOWN     MD    21133‐4208
CASANDRA R CLARK                                PO BOX 40271                                                                                          JACKSONVILLE     FL    32203‐0271
CASAUNDRA J CHRISTENSEN                         5524 JORDAN COURT                                                                                     JOHNSTON         IA    50131
CASBERT TAYLOR                                  1036 GREYTON ROAD                                                                                     CLEVE HTS        OH    44112‐3021
CASEY C DICKSON                                 2475 REEVES RD NE                                                                                     WARREN           OH    44483‐4333
CASEY CAMPBELL KIMES                            26/ 13‐23 MARGRET STREET              REDFERN NSW                            2016 AUSTRALIA
CASEY E MOUBRAY                                 1516 CENTENNIAL                                                                                       LANSING          MI    48911
CASEY E TIEMANN                                 374 PARK AVE                                                                                          EUGENE           OR    97404‐3025
CASEY HARRY                                     360 WOODLARK                                                                                          GALESBURG        MI    49053‐9610
CASEY J BARTH & ELIZABETH K BARTH JT TEN        529 S RUNNYMEADE AVE                                                                                  EVANSVILLE       IN    47714‐1591
CASEY J GORDON JR                               213 SCHENCK                                                                                           NO TONAWANDA     NY    14120‐7208
CASEY J WALES                                   21657 SE 281ST ST                                                                                     MAPLE VALLEY     WA    98038‐3316
CASEY JEAN SMITH                                1600 N MARSHFIELD AVE                 202                                                             CHICAGO          IL    60622
CASEY JEAN SMITH                                1600 N MARSHFIELD AVE                 202                                                             CHICAGO          IL    60622
CASEY JO FLECK                                  84 PARK AVE STE G210B                                                                                 FLEMINGTON       NJ    08822
CASEY KERWIN                                    2425 S SUPERIOR ST                                                                                    MILWAUKEE        WI    53207‐1929
CASEY L CLEMOENS                                1959 N HALLOCK ST                                                                                     KANSAS CITY      KS    66101‐1712
CASEY L SEEBON                                  400 MEADOWVIEW DRIVE                                                                                  COLUMBUS         OH    43065‐9423
CASEY LANG                                      6064 LENNON RD                                                                                        SWARTZ CREEK     MI    48473‐7904
CASEY MARQUIS                                   25 RAILROAD AVE                                                                                       PINE BUSH        NY    12566‐6001
CASEY R GLASS                                   10336 E BEARD RD                                                                                      BYRON            MI    48418‐9791
CASEY'S HEATING & REFRIG                        271 E TERRACE                                                                                         LAKEWOOD         NY    14750‐1530
CASH GAYLORD JR                                 5627 CEDAR LAKE RD                                                                                    OSCODA           MI    48750‐9497
CASIE BARBARA MCGEE                             C/O GARY MCGEE                        7162 GALLAGHER ROAD   RURAL ROUTE 2    NORTH GOWER ON K0A 2T0
                                                                                                                             CANADA
CASILDA R PARDO & AVELINA I PARDO JT TEN        40 GEORGE RD                                                                                          GLEN ROCK        NJ    07452‐3507
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 627 of 850
Name                                             Address1                                Address2             Address3          Address4          City            State Zip

CASILDA R PARDO & BARBARA PARDO JT TEN           40 GEORGE RD                                                                                     GLEN ROCK       NJ    07452‐3507
CASILDA R PARDO & CASILDA M PARDO JT TEN         40 GEORGE RD                                                                                     GLEN ROCK       NJ    07452‐3507
CASILDA R PARDO & MARGARITA A PARDO JT TEN       40 GEORGE RD                                                                                     GLEN ROCK       NJ    07452‐3507
CASIMER C RYGWELSKI                              6695 SILVER LAKE DRIVE                                                                           LAKE            MI    48632‐9170
CASIMER F PLUCINSKI                              2351 SPRINGHILL ROAD                                                                             GREENVILLE      NC    27858‐8515
CASIMER HENDZEL                                  662 ASPEN DR                                                                                     ROMEOVILLE      IL    60446‐3982
CASIMER J DRAUS                                  4860 CURTIS                                                                                      DEARBORN        MI    48126‐4125
CASIMER J KOWAL                                  82 RUSSELL ST                                                                                    CLIFTON         NJ    07011‐2326
CASIMER J STRYESKI                               24946 N SYLBERT DR                                                                               REDFORD         MI    48239‐1640
CASIMER KLIMECKI                                 21351 RYAN                                                                                       WARREN          MI    48091‐2742
CASIMER LARYS                                    7854 CALHOUN                                                                                     DEARBORN        MI    48126
CASIMER P POGODA & LORI J POGODA JT TEN          15818 MACARTHUR                                                                                  REDFORD         MI    48239
CASIMER R ZIARKO                                 7935 W 163RD PL                                                                                  TINLEY PARK     IL    60477‐1443
CASIMER ROBAKEWICZ                               7459 FENTON RD                                                                                   N BLOOMFIELD    OH    44450‐9784
CASIMER SZOPINSKI                                PO BOX 15                                                                                        CLAY            NY    13041‐0015
CASIMER WALESKA                                  2551 MAYFAIR AVE                                                                                 WESTCHESTER     IL    60154‐5005
CASIMER WISTOCKI                                 9030 HAWTHORN DR                                                                                 HICKORY HILLS   IL    60457‐3206
CASIMIER WESOLOWSKI CUST DEBRA WESOLOWSKI        22 WESTCHESTER CT                                                                                COTO DE CAZA    CA    92679‐4956
UGMA CA
CASIMIER WESOLOWSKI CUST LORI WESOLOWSKI UGMA 14275 HACIENDA LANE                                                                                 POWAY           CA    92064‐2737
CA
CASIMIR A CHRABASZEWSKI                          10390 OVERHILL DR                                                                                BRIGHTON        MI    48114‐7577
CASIMIR A KOZA                                   104 HARVEST CIR                                                                                  VENETIA         PA    15367‐1180
CASIMIR A TOMKALSKI                              3341 BRADLEY RD                                                                                  WESTLAKE        OH    44145‐3707
CASIMIR C KILYANEK                               11539 BARNSLEY                                                                                   LOWELL          MI    49331‐8661
CASIMIR C KILYANEK & MRS HELEN C KILYANEK JT TEN 11539 BARNSLEY                                                                                   LOWELL          MI    49331‐8661

CASIMIR C PLEVA                                  3347 W 95                                                                                        CLEVELAND       OH    44102‐4703
CASIMIR C SOBUS                                  17224 CLOVERLEAF RD                                                                              HAGERSTOWN      MD    21740‐7615
CASIMIR E OBUCHOWSKI                             241 ST LOUIS                                                                                     FERNDALE        MI    48220‐2434
CASIMIR FITUCH                                   1565 HELEN ST                                                                                    GARDEN CITY     MI    48135‐3025
CASIMIR G DZIERZANOWSKI                          2745 EDGEMERE DR                                                                                 ROCHESTER       NY    14612‐1152
CASIMIR GOLEMA                                   PO BOX 335                                                                                       S WILMINGTON    IL    60474‐0335
CASIMIR H TRELA                                  6872 NIGHTINGALE                                                                                 DEARBORN        MI    48127‐2133
CASIMIR I CHMIELEWSKI                            PO BOX 192                                                                                       CALEDONIA       WI    53108‐0192
CASIMIR J BIANOWICZ JR                           830 HOWARD AVE APT 7C                                                                            STATEN ISLAND   NY    10301‐4448
CASIMIR J KAMINSKI                               604 TIDEWATER LN                                                                                 MIDDLE RIVER    MD    21220‐2363
CASIMIR J KSIAZEK JR                             8606 HUNTINGTON CT                                                                               JUSTICE         IL    60458‐1155
CASIMIR J MAY & DEBORAH M DECRAENE JT TEN        31253 WELLSTON                                                                                   WARREN          MI    48093‐7642
CASIMIR J MAY & GREGORY C MAY JT TEN             31253 WELLSTON                                                                                   WARREN          MI    48093‐7642
CASIMIR J MAY & MONICA A KEHOE JT TEN            31253 WELLSTON                                                                                   WARREN          MI    48093‐7642
CASIMIR M SWIDERSKI                              PO BOX 124                                                                                       APPLETON CITY   MO    64724‐0024
CASIMIR M SZUBSKI                                8221 BERTHA AVE                                                                                  PARMA           OH    44129‐3117
CASIMIR R KOGUT & GLORIA M KOGUT JT TEN          720 QUINLAN CT                                                                                   CROWN POINT     IN    46307‐9823
CASIMIR S PRANCKUNAS                             7500 HIGH PINES CT                                                                               PORT RICHEY     FL    34668‐5825
CASIMIR W COOK                                   28645 SUMMIT COURT                                                                               NOVI            MI    48377‐2944
CASIMIR W SAK                                    32 OSWEGO DR NW                                                                                  GRAND RAPIDS    MI    49504‐6046
CASIMIRO V RUIZ                                  2001 GUINEVERE ST                                                                                ARLINGTON       TX    76014‐1611
CASMERE FRANK JABLONSKI                          7665 BUCKINGHAM                                                                                  ALLEN PK        MI    48101‐2231
CASMERE WIECZOREK                                10468 PUTTYGUT                                                                                   RICHMOND        MI    48064‐1609
CASMIR A MANTYK                                  33160 KING RD                                                                                    NEW BOSTON      MI    48164‐9442
CASMIR L SWINCICKI                               1961 W YOUNGSDITCH ROAD                                                                          BAY CITY        MI    48708‐6968
CASMIR M CURRAN                                  G 3370 WEST DODGE ROAD                                                                           CLIO            MI    48420
CASMIR MICHALAK                                  3929 W 38TH STREET                      APT 303                                                  ERIE            PA    16506‐4094
CASMIRE S ZABOROSKI                              644                                     LAKESHORE DR                                             LEXINGTON       KY    40502
CASPER F YENS JR                                 5124 HURDS CORNER RD                                                                             SILVERWOOD      MI    48760‐9769
CASPER J LONGO & MRS HAZEL C LONGO JT TEN        701 W ELM STREET                                                                                 SCRANTON        PA    18504‐3519
CASPER J MORSELLO                                281 2ND ST                                                                                       GREENPORT       NY    11944‐1618
CASPER M DRAGO & MRS NANCY DRAGO JT TEN          33 KURT LN                                                                                       HAUPPAUGE       NY    11788‐4705
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 628 of 850
Name                                           Address1                                Address2                 Address3      Address4          City            State Zip

CASPER M TARCHALSKI TR CASPER M TARCHALSKI     7270 ELIZABETH LAKE RD                                                                           WATERFORD       MI    48327‐3727
REVOCABLE TRUST UA 05/26/92
CASPER MEYER & IDA MEYER JT TEN                517 US 27 N #25                                                                                  LAKE PLACID     FL    33852‐7937
CASPER R RABITO                                56 WYNNEWOOD RD                                                                                  LIVINGSTON      NJ    07039‐2631
CASS C SULLIVAN                                10641 N 100 E                           APT 100                                                  ALEXANDRIA      IN    46001‐9032
CASS SULEK                                     11014 MAE                                                                                        WARREN          MI    48089‐1036
CASSANDRA A LAWSON                             8212 NW STONEBRIDGE CT                                                                           LAWTON          OK    73505‐4136
CASSANDRA ANDREWS                              8867 ARTESIAN ST                                                                                 DETROIT         MI    48228‐3048
CASSANDRA ANTOINETE HALL CUST MICHAEL MARIO    18474 EDNINBOROUGH                                                                               DETROIT         MI    48219
HALL UTMA MI
CASSANDRA BILLOW                               40 BERRYHILL CT                                                                                  SPRINGBORO      OH    45066‐8945
CASSANDRA CARMAN                               ATTN CASSANDRA WALKER                   181 WHITE PINES CIRCLE                                   DECATUR         IL    62521‐5631
CASSANDRA CLEARY                               2106 MAURITANIA COURT                                                                            PT CHARLOTTE    FL    33950
CASSANDRA D LEE                                3406 PLEASANTVALLEY ROAD                                                                         NASHVILLE       TN    37204‐3417
CASSANDRA DE'LYNN BODELL                       127 FIRST AVE                                                                                    NOKOMIS         FL    34275‐4242
CASSANDRA G GRAY                               16170 STRATHMOOR                                                                                 DETROIT         MI    48235‐4067
CASSANDRA HUGHES                               2451 FRANKLIN RD                                                                                 BERKLEY         MI    48072‐3304
CASSANDRA I GRIFFIN                            26763 W CARNEGIE DR                                                                              SOUTHFIELD      MI    48034
CASSANDRA J PATTERSON                          3511 KRIEGER LANE                                                                                YOUNGSTOWN      OH    44502‐3101
CASSANDRA L DORAZIO                            919 NORTH MINTER ST APT E                                                                        SANTA ANA       CA    92701‐3836
CASSANDRA R KELLEHER                           3110 MARMORE AVE                                                                                 CLEVELAND       OH    44134‐1325
CASSANDRA S NERIA                              95 N SNYDER RD                                                                                   DAYTON          OH    45427‐1417
CASSANDRA V BRANCH                             118 E LORADO AVE                                                                                 FLINT           MI    48505‐2161
CASSANDRA Y FARLEY                             29066 CHATEAU CT                                                                                 FARMINGTN HLS   MI    48334
CASSANDRA Y JONES                              956 BECKY DRIVE                                                                                  MANSFIELD       OH    44905‐2326
CASSEL HOOKER                                  12 DIGNITY CIR                                                                                   BUFFALO         NY    14211‐1002
CASSELL ROGERS                                 456 W 123RD STREET                                                                               CHICAGO         IL    60628‐6444
CASSIDY CLAYTON MULLEN                         303 HOOT OWL LN                                                                                  CHAPEL HILL     NC    27514‐2744
CASSIDY R ALBONE                               121 ROSELAND AVE                                                                                 MEDINA          NY    14103‐1331
CASSIE E PORCHIA                               16500 N PARK DR                         APT 1104                                                 SOUTHFIELD      MI    48075‐4765
CASSIE J MALOY                                 3377 GLENVIEW CIRCLE S W                                                                         ATLANTA         GA    30331‐2407
CASSIE L SOSSAMON                              PO BOX 409                                                                                       MULBERRY        AR    72947‐0409
CASSIE M MC CONNELL                            2078 SCENIC N HW 215                                                                             SNELLVILLE      GA    30078‐2681
CASSIE PITTS                                   9367 NAVARRE                                                                                     DETROIT         MI    48214‐3037
CASSIM GINWALA                                 15921 BEGONIA AVE                                                                                CHINO           CA    91708
CASSINE MARIE WALKER                           4319 OWENS DR                                                                                    DAYTON          OH    45406‐1424
CASSMER J KRAUS                                100 SADDLE HORN LN                                                                               PIEDMONT        SC    29673‐9184
CASSVILLE CEMETERY ASSOCIATION                                                                                                                  CASSVILLE       PA    16623
CASTELLA CURRY                                 1032 DEACON                                                                                      DETROIT         MI    48217‐1611
CASTER WOODEN JR                               1135 POMANDER PL                                                                                 INDIANAPOLIS    IN    46208‐4158
CASTER Y DAVIDSON                              19357 MURRAY HILL                                                                                DETROIT         MI    48235‐2424
CASTULO ARIAS                                  144 CHARTER CIRCLE                                                                               OSSINING        NY    10562‐6005
CATALINA J CORCORAN                            1360 WILLOW ST                                                                                   SANTA YNEZ      CA    93460‐9666
CATALINO E ZAPATA                              6085 E POTTER ROAD                                                                               DAVISON         MI    48423‐9585
CATALINO E ZAPATA & SADIE R ZAPATA JT TEN      6085 E POTTER RD                                                                                 DAVISON         MI    48423‐9585
CATALINO R CATALAN                             1303 KINGSPATH                                                                                   ROCHESTER       MI    48306‐3728
CATARINA BENAVIDES                             2772 CHARTER BLVD                       APT 111                                                  TROY            MI    48083‐1377
CATARINO G NEVAREZ                             4215 WATERLOO                                                                                    WATERFORD       MI    48329‐1465
CATERINA CERON                                 PO BOX 602                                                                                       TAFTON          PA    18464‐0602
CATERINA LA TONA                               344 SERENITY COURT                                                                               TROY            MI    48098‐1745
CATHALEEN JACKSON                              13706 TYLER AVE                                                                                  CLEVELAND       OH    44111‐4946
CATHARINA H E MATHEWS                          4516 HORSESHOE CIRCLE                                                                            ANTIOCH         CA    94509‐8124
CATHARINE BLAKEMORE & RUNDLET BLAKEMORE TR     WINDELS MARX ET AL                      11 MAPLE AVENUE                                          LARCHMONT       NY    10538‐4114
UW ARTHUR H BLAKEMORE
CATHARINE D CLAYTON                            1431 W BLUEMONT DR                                                                               MURRAY          UT    84123‐6610
CATHARINE E RAMSEY                             33 SOUTH ST                             PORT HOPE ON                           L1A 1R9 CANADA
CATHARINE E STOCKSLAGER & CHARLES WILLIAM      374 PANGBORN BLVD                                                                                HAGERSTOWN      MD    21742‐4104
STOCKSLAGER JR JT TEN
CATHARINE J LARSON PER REP EST ALVIN LIPPERT   3419 PALMER DR                                                                                   JANESVILLE      WI    53546
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 629 of 850
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

CATHARINE JEAN CROCKETT                           1930 E CROXTON AVE                                                                               BLOOMINGTON     IL    61701‐5702
CATHARINE L RHOADES                               7511 E CANNON DR                                                                                 SCOTTSDALE      AZ    85258‐1111
CATHARINE M WOODROME                              220 PINEDALE DR                                                                                  ELON            NC    27244‐9368
CATHARINE MARGARET TROYER                         10 ORCHARD STREET                       MARKHAM ON                             L3P 2T1 CANADA
CATHARINE MARY WOLFE                              RR 2 BOX 57                                                                                      MOATSVILLE       WV   26405‐9708
CATHARINE MC KEE                                  29296 WOODS EDGE DR                                                                              OCEAN VIEW       DE   19970
CATHARINE NEILSON STEADMAN BALL                   62 N LEVERETT RD                                                                                 LEVERETT         MA   01054‐9730
CATHARINE O STEVENS TR CATHARINE O STEVENS        35154 GARY DR                                                                                    FARMINGTON HILLS MI   48331‐2616
REVOCABLE TRUST UA 04/03/97
CATHARINE R BROOKES & CHARLES F BROOKES JR JT TEN 7501 RIVER FALLS DRIVE                                                                           POTOMAC         MD    20854‐3879

CATHARINE RANDOLPH LITTLE                         921 WOODVINE RD                                                                                  ASHEVILLE       NC    28803‐1946
CATHARINE STILES BRANCH                           11 WONPOSET PASSWAY                                                                              MORRIS          CT    06763
CATHARINE W CLEVELAND                             498 LEXINGTON RD                                                                                 VERSAILLES      KY    40383‐1625
CATHARINE W FASANELLO                             109 MELROSE ROAD                                                                                 WILLIAMSVILLE   NY    14221‐6846
CATHAY R CARTER MILLER                            1215 CHATHAM DR                                                                                  FLINT           MI    48505‐2583
CATHAY R MILLER                                   1215 CHATHAM DRIVE                                                                               FLINT           MI    48505‐2583
CATHE C ECHTERHOFF                                1900 NORTH AKIN DRIVE N E                                                                        ATLANTA         GA    30345‐3952
CATHEDRAL WOODRUFF                                2390 S NORRELL RD                                                                                BOLTON          MS    39041‐9339
CATHEIRNE WHITE                                   251 CURTICE PARK                                                                                 WEBSTER         NY    14580‐3448
CATHERINE A ADAMS COHEN                           117 ROSSITER RD                                                                                  ROCHESTER       NY    14620‐4127
CATHERINE A ANGLIN                                2345 MOUNTAIN ROAD                                                                               ALPHARETTA      GA    30004‐2722
CATHERINE A AZZARELLI                             301 CORNWALL AVE                                                                                 TONAWANDA       NY    14150‐7039
CATHERINE A BARRY                                 515 COACHOUSE CRT                                                                                LOUISVILLE      KY    40223‐3464
CATHERINE A BARTON                                121 6TH AVE                                                                                      BROOKLYN        NY    11217‐3522
CATHERINE A BRIDGE                                433 GREENBRIAR DR                                                                                CORTLAND        OH    44410‐1655
CATHERINE A CARMACK                               75 E SOUTHVIEW DRIVE                                                                             MARTINSVILLE    IN    46151‐3348
CATHERINE A CHRISTELLER                           4445 NORTH WHIPPLE                                                                               CHICAGO         IL    60625‐3835
CATHERINE A COLLINS & MARY J KANKULA JT TEN       91 FRANKLIN ST                                                                                   NORTHPORT       NY    11768‐3060
CATHERINE A COSGROVE                              210 EAST 55TH ST                                                                                 HINSDALE        IL    60521‐4559
CATHERINE A DANGLER & ANGELA R DANGLER JT TEN     215 RED ROCK ROAD                                                                                BERWICK         PA    18603

CATHERINE A DOUGLAS                              7465 PINEHURST CIR                                                                                BLOOMFIELD      MI    48301‐4034
CATHERINE A DOUGLAS & ALFRED D DOUGLAS JR JT TEN 7465 PINEHURST CIR                                                                                BLOOMFIELD      MI    48301‐4034

CATHERINE A EATON                                 2115‐9TH AVE W #3A                                                                               BRADENTON       FL    34205‐5844
CATHERINE A ERNST                                 53 BROOKSIDE DR                                                                                  SAINT CHARLES   MO    63301‐8014
CATHERINE A FANTIGROSSI CUST ANTHONY S            18 STARCREST LN                                                                                  WEBSTER         NY    14580‐4703
FANTIGROSSI UGMA NY
CATHERINE A GENICOLA                              400 LATONA AVENUE                                                                                EWING           NJ    08618‐2754
CATHERINE A GREENE                                3535 29TH ST                                                                                     SAN DIEGO       CA    92104‐4115
CATHERINE A GRUNZ TR JOHN F GRUNZ TRUST UA        14080 CALCUTTA                                                                                   CHESTERFIELD    MO    63017‐3304
12/26/85
CATHERINE A HART                                  2685 LOVE ROAD                                                                                   GRAND ISLAND    NY    14072‐2414
CATHERINE A HENDERSON                             2 FURMAN PLACE                                                                                   DELMAR          NY    12054‐3220
CATHERINE A HESTER                                1336 STRAKA TERR                                                                                 OKLAHOMA CITY   OK    73159‐5315
CATHERINE A HINCHEY                               14246A STATE ROUTE 550                                                                           ATHENS          OH    45701
CATHERINE A HOATS                                 123 EDGEWOOD TERRACE                                                                             SOUTH BOUND     NJ    08880‐1263
                                                                                                                                                   BROOK
CATHERINE A HOBART                                6905 CASPER MT RD                                                                                CASPER          WY    82601‐3727
CATHERINE A KELLY                                 6647 EAST GRETA AVE                                                                              POST FALLS      ID    83854
CATHERINE A KINDER                                4951 11 MILE RD NE                      # 11                                                     ROCKFORD        MI    49341‐8477
CATHERINE A KOMES                                 15298 CRICKET LN                                                                                 FORT MYERS      FL    33919‐8317
CATHERINE A KURCZEWSKI                            817 POLLOCK ST                                                                                   NEW BERN        NC    28562
CATHERINE A LAWTON                                630 CENTRAL AVE                                                                                  DOVER           NH    03820‐3414
CATHERINE A LOOS                                  2025 E GREENWICH AVE                    BOX 205                                                  MILWAUKEE       WI    53211‐4449
CATHERINE A LUTZ & EDWARD C LUTZ JR TR LUTZ       11195 MOHRLE RD                                                                                  WEBBERVILLE     MI    48892‐9553
FAMILY TRUST UA 10/05/99
CATHERINE A LYKE                                  3911 DEVEREAUX DR                                                                                JANESVILLE      WI    53546‐1497
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 630 of 850
Name                                             Address1                               Address2                 Address3      Address4          City              State Zip

CATHERINE A MAHONEY TR UA 01/31/2008 CATHERINE   551‐34TH AVE                                                                                    SAN FRANCISCO     CA    94121
A MAHONEY TRUST
CATHERINE A MC CLOUD                             116 TERRY AVE APT A‐4                                                                           JAMESTOWN         TN    38556‐3742
CATHERINE A MCCATHARN                            304 BELVIDERE AVE                                                                               WASHINGTON        NJ    07882‐1002
CATHERINE A MODIC                                1080 EAST 174TH ST                                                                              CLEVELAND         OH    44119‐3106
CATHERINE A MUNNS                                1 PELICAN PL                                                                                    THOROSARE         NJ    08086‐2242
CATHERINE A NALESNIK                             PO BOX 154                                                                                      PALMERTON         PA    18071‐0154
CATHERINE A OSULLIVAN                            264 OVERLOOK RD                                                                                 MORGANTOWN        PA    19543‐9789
CATHERINE A PETRY                                285 NEWLAND ST                                                                                  LAKEWOOD          CO    80226‐1760
CATHERINE A PETZ                                 971 MEADOWBROOK WAY                                                                             MILFORD           MI    48381‐2674
CATHERINE A PURDY                                130 WINTHROP ROAD                                                                               EDISON            NJ    08817‐3834
CATHERINE A REDOVIAN                             4342 RISEDORPH ST                                                                               BURTON            MI    48509‐1118
CATHERINE A REICHEL                              3395 W 130                                                                                      CLEVELAND         OH    44111‐2615
CATHERINE A RHUE                                 4005 ISLAND PARK DRIVE                                                                          WATERFORD         MI    48329
CATHERINE A RIDER                                4629 YO‐CANFIELD ROAD                                                                           CANFIELD          OH    44406‐9350
CATHERINE A RITTER                               9024 MAGNOLIA LANE                                                                              TINLEY PARK       IL    60477‐7693
CATHERINE A RUSCO                                16383 WARNER ST                                                                                 GRAND HAVEN       MI    49417‐9628
CATHERINE A RYAN                                 813 KAIBAB CT                                                                                   FREMONT           CA    94536‐1824
CATHERINE A SAMNIK                               3245 STUART LN                                                                                  DEARBORN          MI    48120‐1332
CATHERINE A SCOZZAFAVE                           4777 SAWMILL POINT RD                                                                           BRIMLEY           MI    49715
CATHERINE A SHIEBLER                             6216 RUSSET LANDING CIRCLE                                                                      BIRMINGHAM        AL    35244‐4633
CATHERINE A SKOTZKE                              44442 PENNEY COURT                                                                              CANTON            MI    48187‐1726
CATHERINE A STRUBECK SMEAK & DOLAN C SMEAK JT    6725 SPRINGHILL DR                                                                              FREDERICK         MD    21702‐2997
TEN
CATHERINE A SZELL                                435 WOODSIDE DR                                                                                 SAGAMORE HILLS    OH    44067‐3281
CATHERINE A THOMAS & SANDRA N THOMAS JT TEN      339 PITMAN AVE                                                                                  PITMAN            NJ    08071‐1645

CATHERINE A URIG                                 7857 OBERLIN RD                                                                                 ELYRIA            OH    44035‐1909
CATHERINE A VAN RIETTE                           24946 RAVENS WOOD                                                                               LAKE FOREST       CA    92630‐3238
CATHERINE A VANDEVELDE & ANDREA A VANDEVELDE     4089 CHAPMAN RD                                                                                 SHELBY TOWNSHIP   MI    48316‐1410
JT TEN
CATHERINE A VAUGHN                               PO BOX 429                                                                                      GRAND BLANC       MI    48439‐0429
CATHERINE A WENHAM                               2428 W STATE ST                                                                                 JANESVILLE        WI    53546‐5358
CATHERINE A WHITBREAD                            53 BILLINGS AVE                        TORONTO ON                             M4L 2S3 CANADA
CATHERINE A WHITESIDES                           8713 E EIGHT MILE ROAD                                                                          STOCKTON          CA    95212‐9301
CATHERINE A WICH                                 1765 SETTINDOWN DRIVE                                                                           ROSWELL           GA    30075‐6824
CATHERINE A WOLTERS                              6391 CLOVER FOUR                                                                                CELINA            OH    45822‐9522
CATHERINE A ZINDA                                BOX 207                                                                                         KERKHOVEN         MN    56252‐0207
CATHERINE ABBANANTI                              15752 GREY OAKS ST                                                                              WESTMINSTER       CA    92683‐6981
CATHERINE AHLERS                                 42 LAUREL PL                                                                                    YONKERS           NY    10704‐3139
CATHERINE ALEX                                   21028 EHLERT AV                                                                                 WARREN            MI    48089‐3438
CATHERINE ALICE FULTON CUST GEORGE ANDREW        10907 WINDSOR DR                                                                                WESTCHESTER       IL    60154‐4942
FULTON UGMA IL
CATHERINE ALICE FULTON CUST MARIE THERESE        10907 WINDSOR DR                                                                                WESTCHESTER       IL    60154‐4942
FULTON UGMA IL
CATHERINE ALIFF                                  7160 W PARKVIEW DRIVE                                                                           PARMA             OH    44134‐4759
CATHERINE ALLEN                                  4117 GUILFORD ST                                                                                DETROIT           MI    48224‐2243
CATHERINE ANDRESS                                2304 EDGEMERE DR                                                                                ROCHESTER         NY    14612‐1105
CATHERINE ANN BELSKI                             PO BOX 407                                                                                      PRUDENVILLE       MI    48651‐0407
CATHERINE ANN BOURGEOIS                          3504 KING ARTHUR RD                                                                             ANNADALE          VA    22003‐1314
CATHERINE ANN BUCHOVECKY                         147 GARFIELD ST                                                                                 JOHNSTOWN         PA    15906‐2105
CATHERINE ANN BURTON SMART                       139 FRIENDSHIP LN                                                                               PATRICK SPRINGS   VA    24133‐3716
CATHERINE ANN CASSIDY                            122 BEDFORD AVE                                                                                 ISELIN            NJ    08830‐2443
CATHERINE ANN CHIN                               261 PAYSON ROAD                                                                                 BELMONT           MA    02478‐3426
CATHERINE ANN HANLEY                             2006 ORANGEWOOD RD                                                                              RICHMOND          VA    23235‐3544
CATHERINE ANN KORN                               25311 EAGLE VIEW DR                                                                             WATERFORD         WI    53185‐4735
CATHERINE ANN MAIBERGER                          C/O CATHERINE A RADER                  3015 FOREST HILL DRIVE                                   COLUMBUS          OH    43221‐2315
CATHERINE ANN RAMSAY                             9631 E 27 ST                                                                                    TULSA             OK    74129
CATHERINE ANN SOMMERS                            870 CHATHAM DR                                                                                  MILFORD           MI    48381‐2783
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 631 of 850
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

CATHERINE ANN THOMSON                            123 MAREATETTE DR                    RR# 1                BELLE RIVER ON    N0R 1A0 CANADA
CATHERINE ANN WETZEL                             14822 SW 143 TER                                                                              MIAMI           FL    33196‐5666
CATHERINE ANN WOEPPEL SHEEDY                     121 WESTWARD HO                                                                               WILLIAMSBURG    VA    23188‐7474
CATHERINE ANNA SIMONS                            821 CAMBRIDGE ST                     APT 370                                                  MIDLAND         MI    48642‐4930
CATHERINE ANNE BECKSTEAD                         9230 MULLER ST                                                                                DOWNEY          CA    90241‐2838
CATHERINE ANNE CONNER                            C/O CATHERINE ANNE CAMERON           7 SADIV LANE                                             HOPKINTON       MA    01480
CATHERINE ANNE HALE TR UA 02/12/2007 CATHERINE   499 S MOORLAND DRIVE                                                                          BATTLE CREEK    MI    49015
ANNE HALE TRUST
CATHERINE ANNE MC CARTY TOD LISA LYNN BORDEN     1232 E FM 628                                                                                 RIVIERA         TX    78379‐3689

CATHERINE ANNE SIMMONS                           2054 UPPER RIDGE RD                                                                           PRT WASHINGTN   WI    53074‐9660
CATHERINE B BOE                                  2016 E MAIN ST                                                                                PAHOKEE         FL    33476‐1128
CATHERINE B BURKE TR UA 11/23/90 CATHERINE B     3570 JULIAN AVE                                                                               LONG BEACH      CA    90808‐3110
BURKE LIVING TRUST
CATHERINE B KELSO                                176 MIFFLIN RD                                                                                JACKSON         TN    38301‐0912
CATHERINE B LAWSON & RICHARD I LAWSON JT TEN     911 JACKSON DITCH ROAD                                                                        HARRINGTON      DE    19952

CATHERINE B NORDYKE & SANDRA R WELLING JT TEN    23117 MONTCLAIR ST                                                                            FARMINGTN HLS   MI    48336‐3545

CATHERINE B RICE TR CATHERINE B RICE NOMINEE      24 BELAIR RD                                                                                 WELLESLEY       MA    02482‐6915
TRUST UA 05/01/97
CATHERINE B SPENCER                               1701 SAXTON RD                                                                               SAXTON          PA    16678
CATHERINE B SPICER TOD JAMES M SSPICER SUBJECT TO 7250 COUNTRY ROUTE 75                                                                        WOODVILLE       NY    13650
STA TOD RULES
CATHERINE B TAYLOR                                313 COLONIAL DRIVE                                                                           BUTLER          AL    36904‐2483
CATHERINE B WEST TR HOWARD P WEST JR TRUST UA 1113 BRANTIN RD                                                                                  WILMINGTON      DE    19803‐2703
07/21/96
CATHERINE BALL TR UA 05/07/93 CATHERINE BALL      558 BOYER RD                                                                                 GRANTS PASS     OR    97526‐9785
LIVING TRUST
CATHERINE BASHAKES                                1525 NORTHWOOD BLVD                                                                          ROYAL OAK       MI    48073‐3124
CATHERINE BEALE WHITTLESEY                        BOX 562                                                                                      WINNETKA        IL    60093‐0562
CATHERINE BEDNARIK                                3842 WEST 136 ST                                                                             CLEVELAND       OH    44111
CATHERINE BEDNARZ                                 6111 RUBEN LN                                                                                ALBANY          GA    31705‐4903
CATHERINE BEITER                                  27 TENNYSON ST                                                                               CARTERET        NJ    07008‐2310
CATHERINE BJARNGARD                               18 WILLARD RD                                                                                READING         MA    01867‐1307
CATHERINE BOINES                                  14008 WARWICK                                                                                DETROIT         MI    48223‐2938
CATHERINE BONEBRAKE                               425 S AURORA                                                                                 COLLINSVILLE    IL    62234‐2814
CATHERINE BURTON                                  968 EDDY ROAD                                                                                CLEVELAND       OH    44108‐2362
CATHERINE C AARON                                 350 EVERETT AARON LANE                                                                       JASPER          AL    35504
CATHERINE C BRUEN                                 4810 PARK NEWPORT                   APT 102                                                  NEWPORT BEACH   CA    92660‐6058
CATHERINE C GARDNER                               C/O CATHERINE G MORRISON            542 TURNPIKE RD                                          NORWICH         VT    05055‐9570
CATHERINE C HINES & ESTHER W CHARLES JT TEN       28 TIOGA WALK                                                                                BREEEZYPOINT    NY    11697‐1508
CATHERINE C JOYCE                                 46 RED CEDAR CIR                                                                             ORANGE          CT    06477‐3542
CATHERINE C KUBELKA & EUGENE J KUBELKA JT TEN     2115 CLIFTON ST                                                                              AUSTIN          TX    78704

CATHERINE C MACCOLL                              7953 PIERSON WAY                                                                              ARVADA          CO    80005‐3453
CATHERINE C MOON & JAMES F MOON JT TEN           836 OSPREY LANE                                                                               FORT PIERCE     FL    34949‐8457
CATHERINE C PEGUES                               214 NICHOLSON DRIVE                                                                           MOORESTOWN      NJ    08057‐2910
CATHERINE C POSTAR                               11537 BRADDOCK DR                                                                             CULVER CITY     CA    90230‐5138
CATHERINE C SCHLEEPER                            1022 S SIXTH ST                                                                               ST CHARLES      MO    63301‐2423
CATHERINE C SEAMAN ROCKFORD                      16997 THOMAS NELSON HWY                                                                       FABER           VA    22938‐2659
CATHERINE C SHIELDS & CYNTHIA A HARTMAN JT TEN   6724 REYNOLDS RD                                                                              MENTOR          OH    44060‐3957

CATHERINE C SPIKA                                2335 PATRIOT HTS APT 2206                                                                     COLORADO SPGS   CO    80904‐5118
CATHERINE C TACIAK                               117 N SCHANCK AVENUE                                                                          PEN ARGYL       PA    18072‐1522
CATHERINE C TAXIARCHIS                           61 GROVEVILLE RD                                                                              BUXTON          ME    04093‐3209
CATHERINE C TAXIARCHIS CUST JOHN COOPER          61 GROVEVILLE                                                                                 BUXTON          ME    04093‐3209
TAXIARCHIS UGMA ME
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 632 of 850
Name                                            Address1                               Address2                Address3       Address4          City               State Zip

CATHERINE C TAXIARCHIS CUST NICHOLAS NELSON     61 GROVEVILLE                                                                                   BUXTON             ME    04093‐3209
TAXIARCHIS UGMA ME
CATHERINE C WENZEL                              920 DAVIS BEND                                                                                  ALPHARETTA         GA    30004‐1158
CATHERINE CANESTRINI                            207 DICKSON ST                                                                                  ROCK SPRINGS       WY    82901‐6623
CATHERINE CAPRIOTTI                             64N CHURCH ST                                                                                   HAZLETON           PA    18201‐7801
CATHERINE CARDENAS                              2 BEACON BLVD                                                                                   KEANSBURG          NJ    07734‐1804
CATHERINE CARLSON                               36587 LODGE DR                                                                                  STERLING HEIGHTS   MI    48312‐3319

CATHERINE CHANEY                                1427 AUDREY LN                                                                                  HORN LAKE          MS    38637‐2456
CATHERINE CLARE HAND BAILEY                     1442 WHITMAN                                                                                    LARAMIE            WY    82070
CATHERINE CLARE WADBROOK                        1721 CRICKET HOLLOW DR                                                                          AUSTIN             TX    78758‐4222
CATHERINE CLARK BOROWY                          20 WEST LAKESHORE DRIVE                                                                         HOPE               MI    48628‐9728
CATHERINE CLOWNEY BROOKS                        620 HAWTHORNE PL                                                                                FAYETTEVILLE       GA    30214‐1218
CATHERINE COELHO & PATRICK GANNON JT TEN        76 STENDAHL DR                                                                                  SHELTON            CT    06484‐1635
CATHERINE COLISTA & MARYANN CHARON JT TEN       432 OCEAN AVE                                                                                   BEACHWOOD          NJ    08722‐3712
CATHERINE COLISTA & MARYANN CHARON JT TEN       432 OCEAN AVENUE                                                                                BEACHWOOD          NJ    08722‐3712
CATHERINE CONROY & ANN V CONROY JT TEN          158 ELTON RD                                                                                    STEWART MANOR      NY    11530‐5006
CATHERINE COVELL                                7 WILLOWBROOK DR                                                                                LYNDONVILLE        NY    14098‐9765
CATHERINE CRAIG COWAN                           PO BOX 30                                                                                       HANOVER            IN    47243‐0030
CATHERINE CULLEN SMITH CUST CAMERON CULLEN      10 REGENT DRIVE                                                                                 DANVERS            MA    01923‐1617
SMITH UGMA MA
CATHERINE D BOUIE                               345 BROOKWOOD HGTS                                                                              FORSYTH            GA    31029
CATHERINE D BROWN                               29 SHERWOOD ROAD                                                                                PARLIN             NJ    08859‐1640
CATHERINE D BUSUITO & PATRICIA A APEL JT TEN    46415 DONAHUE                                                                                   MACOMB             MI    48044
CATHERINE D DION                                106 RIVER RIDGE DRIVE                                                                           MOORE              SC    29369
CATHERINE D GENTZLER                            308 CHARLES ST                                                                                  HANOVER            PA    17331‐1815
CATHERINE D GILLIGAN                            356 FRANKLIN AVE                                                                                RIDGEWOOD          NJ    07450‐3317
CATHERINE D HAUCK                               PO BOX 141                                                                                      ABITA SPRINGS      LA    70420‐0141
CATHERINE D HAYS CUST DARREN W HAYS UGMA MI     707 E MONROE RD                                                                                 MIDLAND            MI    48642‐9411

CATHERINE D HOLMES                              P O BOX37213                                                                                    SHREVEPORT         LA    71133‐7213
CATHERINE D SHARP                               C/O TIMOTHY SHARP                      13841 GOLD COUNTRY DR                                    PENN VALLEY        CA    95946‐9014
CATHERINE D TAYLOR                              14327 BRAMELL                                                                                   DETROIT            MI    48223‐2580
CATHERINE D VILLA                               784 SCOTTWOOD                                                                                   PONTIAC            MI    48340‐3151
CATHERINE D WALLACK                             8 CLARKS LN                                                                                     NIANTIC            CT    06357‐1532
CATHERINE DAVIS                                 11389 KARY LN                                                                                   CINCINNATI         OH    45240‐2332
CATHERINE DENIL                                 508 ERINDALE COURT                                                                              AIKEN              SC    29803‐8060
CATHERINE DEUS                                  21 OAKMONT CT                                                                                   LINCROFT           NJ    07738‐1217
CATHERINE DIEFENBACH                            2722 DUNBAR RD                                                                                  CROSSVILLE         TN    38572‐3599
CATHERINE DONOGHUE RUBSAM                       8 W WILLETS DR                                                                                  RED HOOK           NY    12571‐2426
CATHERINE DONOVAN                               2500 ADAMS AVE                                                                                  SCRANTON           PA    18509‐1515
CATHERINE DOYLE                                 673 OLIVE STREET                                                                                PITTSBURGH         PA    15237‐4819
CATHERINE E BAUER‐BROWN                         71 PAYER LANE                                                                                   MYSTIC             CT    06355‐1648
CATHERINE E BLAND                               602 WASHINGTON AVE                                                                              DEFIANCE           OH    43512‐2623
CATHERINE E BLAND                               602 WASHINGTON ST                                                                               DEFIANCE           OH    43512‐2623
CATHERINE E BRUYNEEL                            13846 HOUGH ROAD                                                                                ALLENTON           MI    48002
CATHERINE E BRYNZAN                             536 REYNOLDS ST                        WHITBY ON                              L1N 6H5 CANADA
CATHERINE E BRYNZAN                             536 REYNOLD ST                         WHITBY ON                              L1N 6H5 CANADA
CATHERINE E CHANNELL                            79 DUNCAN                                                                                       WARWICK            RI    02886
CATHERINE E COLLINS                             10088 SETTLEMENT HOUSE RD                                                                       DAYTON             OH    45458‐9668
CATHERINE E COMEAU                              20 CHESTNUT AVE                                                                                 BURLINGTON         MA    01803‐1708
CATHERINE E DEMKO                               1225 SKYLINE DR                                                                                 NAPLES             FL    34114‐8290
CATHERINE E DI GIACINTO                         30 VAN HORN ST                                                                                  DEMAREST           NJ    07627‐1918
CATHERINE E DUSENBURY & DOROTHY L LALONE JT TEN 92 EXMOOR                                                                                       WATERFORD          MI    48328‐3410

CATHERINE E FIGUN                               8 SAULSBURY ST                                                                                  DEWEY BEACH        DE    19971
CATHERINE E FLYNN                               24 AVALON RD                                                                                    WEST ROXBURY       MA    02132‐1716
CATHERINE E GAGLIARDI                           20 STONEWYCK DR                                                                                 HILLSBOROUGH       NJ    08844‐2614
CATHERINE E HINYTZ                              806 NORTH 63RD STREET                                                                           WAUWATOSA          WI    53213‐3214
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 633 of 850
Name                                             Address1                           Address2             Address3          Address4                City             State Zip

CATHERINE E HOWLEY                               UNIT 12B                           36 WILLIS STREET                                               BRISTOL          CT    06010‐6847
CATHERINE E JOHNSON                              11454 N MASSACHUSETTS                                                                             ALEXANDRIA       IN    46001‐8143
CATHERINE E KING                                 142 MAGENS WAY                     MAGENS BAY                                                     SWANSBORO        NC    28584‐8043
CATHERINE E MARRA                                33210 BLUE FIN DRIVE                                                                              DANA POINT       CA    92629‐1415
CATHERINE E MILLER TR MILLER TRUST UA 06/02/00   7622 KATELLA AVE                   APT 112                                                        STANTON          CA    90680

CATHERINE E MORRISON                            121 SUNRISE CT                                                                                     NAPLES           FL    34119‐2521
CATHERINE E NELSON                              20305 BRENTWOOD RD                                                                                 LIVONIA          MI    48152‐2069
CATHERINE E REES                                916 GREENHEART RD                                                                                  NEW CARLISLE     OH    45344
CATHERINE E RICHARDSON                          BOX 206                                                                                            RAYVILLE         LA    71269‐0206
CATHERINE E ROBART                              11 INGLESIDE AVE                                                                                   NORWALK          CT    06850
CATHERINE E ROBERTS                             63 FARMERSVILLE PK                                                                                 GERMANTOWN       OH    45327‐1026
CATHERINE E ROBERTS                             6421 W VIENNA RD                                                                                   CLIO             MI    48420‐9457
CATHERINE E SEYB                                4 FAIRWAY CRT                                                                                      DONNELLSON       IA    52625‐9506
CATHERINE E SHEW                                506 MONTE CARLO DR                  # 16                                                           ALTOONA          PA    16601‐9652
CATHERINE E SPANIER                             1136 SAXON COURT                                                                                   THE VILLAGES     FL    32162
CATHERINE E WHITE & DAVID T WHITE JT TEN        251 CURTICE PARK                                                                                   WEBSTER          NY    14580‐3448
CATHERINE ECKHOFF                               1852 HONE AVE                                                                                      BRONX            NY    10461‐1407
CATHERINE EDISON                                19828 HAZELHURST                                                                                   SOUTHFIELD       MI    48075‐7307
CATHERINE EDOFF CUST ERIK EDOFF UTMA FL         2384 NIAGARA                                                                                       TROY             MI    48083‐5935
CATHERINE ELAINE THOMAS                         3080 BEECHTREE LN                                                                                  FLUSHING         MI    48433‐1941
CATHERINE ELEANOR YOUNG                         347 NEWCASTLE DR                                                                                   LAREDO           TX    78045‐7740
CATHERINE ELIZABETH HICKS                       6 EDGEWATER LANE                    KEY ALLEGRO ISLE                                               ROCKPORT         TX    78382‐3715
CATHERINE ELLIOTT KRAUSE                        92 WAYLAND AVE                                                                                     CRANSTON         RI    02920‐4124
CATHERINE ENGEL                                 409 E SCHUBERT                                                                                     FREDERICKSBURG   TX    78624‐4339
CATHERINE F HANNON                              7 HECLA ST                                                                                         UXBRIDGE         MA    01569‐1309
CATHERINE F KITTLES                             1500 LORRAINE DRIVE                                                                                WATERFORD        MI    48327‐2934
CATHERINE F KRIEG                               4510 W EVA STREET                                                                                  GLENDALE         AZ    85302‐3716
CATHERINE F WYMAR                               200 WINSTEAD ROAD                                                                                  ROCHESTER        NY    14609‐7724
CATHERINE FARRIS FISHER                         135 GILLIS RD                                                                                      HATTIESBURG      MS    39401‐9231
CATHERINE FERGUSON                              2004 WEST 16TH STREET                                                                              WILMINGTON       DE    19806‐2414
CATHERINE FERRALLI                              10580 LAKE RD                                                                                      NORTH EAST       PA    16428‐2969
CATHERINE FINK                                  602 GRAHAM COURT                                                                                   LAURENBERG       NC    28352
CATHERINE FORCIEA CUST GRACE LAWRENCE FORCIEA 4932 FREMONT AVE S                                                                                   MINNEAPOLIS      MN    55409‐2211
UTMA MN
CATHERINE FORD                                  225 OCEAN DR W                                                                                     STAMFORD         CT    06902‐8005
CATHERINE FOX                                   26 BITTACY RISE                     MILL HILL            LONDON            NW7 2HG GREAT BRITAIN
CATHERINE FOX MADSEN                            2648 COVINGTON CIR                                                                                 SEVIERVILLE      TN    37876‐5401
CATHERINE FURLOW BOLES                          3012 RIVER OAKS DR                                                                                 MONROE           LA    71201‐2030
CATHERINE G BURBEY                              3225 S LENOX ST                                                                                    MILWAUKEE        WI    53207‐2807
CATHERINE G DAVIS                               1518 E 33RD ST                                                                                     BALTIMORE        MD    21218‐3705
CATHERINE G DEWIT                               1805 RONDO ST S E                                                                                  GRAND RAPIDS     MI    49508‐4903
CATHERINE G GREEN                               318 FAIRFIELD ROAD                                                                                 FAYETTEVILLE     NC    28303
CATHERINE G JANNONE                             230 SLEEPY HOLLOW DRIVE                                                                            CANFIELD         OH    44406‐1059
CATHERINE G MC QUILLAN                          233 COON RIDGE RD                                                                                  JOHNSTOWN        PA    15905‐5301
CATHERINE G ROBINSON                            7174 JAMAICA RD                                                                                    MIAMISBURG       OH    45342‐2104
CATHERINE G WHITE                               53 YALE AVE                                                                                        NEW CASTLE       DE    19720‐4350
CATHERINE G WHITE                               561 RIDGEWOOD RD                                                                                   MAPLECREST       NJ    07040‐2113
CATHERINE G WOOD TR CATHERINE G WOOD TRUST UA 3225 ATWELL AVE                                                                                      THE VILLAGES     FL    32162‐7415
09/05/06
CATHERINE GALLAGHER                             7561 BROADCLOTH WAY                                                                                COLUMBIA         MD    21046‐2446
CATHERINE GAY JUSTICE                           PO BOX 294                                                                                         ROGUE RIVER      OR    97537‐0294
CATHERINE GLASSER TR UA 03/19/92 GLASSER FAMILY 6755 OLEANDER WAY                                                                                  CARLSBAD         CA    92009‐3329
TRUST
CATHERINE GLUCK CUST ANDREW PAUL GLUCK UGMA 9 CUSHMAN RD                                                                                           WHITE PLAINS     NY    10606‐3705
NY
CATHERINE GLUCK CUST ELIZABETH CATHERINE GLUCK 9 CUSHMAN RD                                                                                        WHITE PLAINS     NY    10606‐3705
UGMA NY
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 634 of 850
Name                                              Address1                              Address2              Address3         Address4          City            State Zip

CATHERINE GODBOLD TR UA 05/06/93 NORMAN &     2340 W SELTICE WAY                        APT 328                                                  COEUR D ALENE   ID    83814‐8990
CATHERINE GODBOLD
CATHERINE GREESON TAYLOR                      1144 TUSCAN RDG                                                                                    NEW BRAUNFELS   TX    78130‐4030
CATHERINE GROCHOWSKI                          65 STREAMVIEW DR                                                                                   TROY            MI    48085‐4750
CATHERINE GUNN CUST JOHN CHARLES GUNN UGMA MI 5 ASHGROVE LAWNS                          LATHLURCAN MONAGHAN   CO MONAGHAN      IRELAND

CATHERINE H CAMPBELL                              144 DU PONT BLVD                                                                               WAYNESBORO      VA    22980‐5032
CATHERINE H CAMPBELL & GAIL R CAMPBELL JT TEN     144 DUPONT BLVD                                                                                WAYNESBORO      VA    22980‐5032

CATHERINE H CYPHER                               75 ORCHARD LANE                                                                                 RYE             NY    10580‐3620
CATHERINE H DAVIS                                BOX 544                                                                                         MILL RIFT       PA    18340‐0544
CATHERINE H DICKIE & JOSEPH F DICKIE JT TEN      6622 AMY DR                                                                                     CLARKSTON       MI    48348‐4506
CATHERINE H DUGGER                               PO BOX 4223                                                                                     WICHITA FALLS   TX    76308‐0223
CATHERINE H KELLEY                               PO BOX 2608                                                                                     APACHE JCT      AZ    85217‐2608
CATHERINE H MALIN TR UA 11/22/93 CATHERINE H     2315 W 112TH PL                        APT 1212                                                 CHICAGO         IL    60643‐4163
MALIN LIVING TRUST
CATHERINE H MILLIGAN CUST NICOLE C MILLIGAN UTMA 516 SCOFIELD RD                                                                                 CHARLOTTE       NC    28209‐3634
FL
CATHERINE H MITCHELL                             11800 W BETHEL AVE                                                                              MUNCIE          IN    47304‐9753
CATHERINE H NIEBERDING                           7645 COLDSTREAM DR                                                                              CINCINNATI      OH    45255‐3932
CATHERINE H SCHNARS CUST KRISTEN ROSE SCHNARS    11617 FARM CREEK AVE NW                                                                         UNIONTOWN       OH    44685‐6874

CATHERINE H SMITH                                 536 S HIGHLAND AVE                                                                             ARLINGTON HTS    IL   60005‐1833
CATHERINE H SOUSA                                 115 W CHEYENNE MT BLVD                                                                         COLORADO SPRINGS CO   80906‐2511

CATHERINE H STEPHENSON                            15 WHITE RD                                                                                    ELLINGTON       CT    06029‐3035
CATHERINE H STONER TR UA 02/09/78 CATHERINE H     BOX 50401                                                                                      TICE            FL    33994‐0401
STONER
CATHERINE H TAYLOR                                8464 TERRI                                                                                     WESTLAND        MI    48185‐1670
CATHERINE H WARREN                                143 MARSHALL E #7                                                                              WARREN          OH    44483
CATHERINE H WILLEMS & RICARDO WILLEMS JT TEN      11809 SHANDON CIRCLE                                                                           CHARLOTTE       NC    28226‐3815

CATHERINE HALL                                3800 W WILSON ST SPC# 175                                                                          BANNING         CA    92220‐3426
CATHERINE HARBOURT                            35 WEST 9TH ST                                                                                     NEW YORK        NY    10011‐8901
CATHERINE HARRINGTON                          446 CR 2615                                                                                        RIO MEDINA      TX    78066
CATHERINE HARRINGTON‐POLITI                   466 CHARLES LANE                                                                                   WANTAGH         NY    11793‐1408
CATHERINE HESS WILLIAMS                       13778 NW 19TH ST                                                                                   PEMBROKE PNES   FL    33028
CATHERINE HOGG                                5108 E EXCHANGE                                                                                    BANCROFT        MI    48414‐9716
CATHERINE HOLLANDSWOCLH GUARDIAN OF MICHAEL J 5852 CLEVELAND RD LOT 5                                                                            WOOSTER         OH    44691‐1179
KOCZAN A MINOR
CATHERINE HURD                                20354 FORESTWOOD DR                                                                                SOUTHFIELD      MI    48076‐1799
CATHERINE I DAILEY                            PO BOX 485                                                                                         ALLENWOOD       NJ    08720‐0485
CATHERINE I FISHER                            21939 OLD FARM RD                                                                                  DEER PARK       IL    60010‐2488
CATHERINE I MADDEN                            C/O WILLIAM HICKEY                        20445 BRIARCLIFF RD                                      DETROIT         MI    48221‐1327
CATHERINE I WOODWORTH                         7020 SHIPMAN RD                                                                                    CORUNNA         MI    48817‐9535
CATHERINE I ZINCHAK                           13 W SCENIC DRIVE                                                                                  CROTON ON       NY    10520‐1515
                                                                                                                                                 HUDSON
CATHERINE J BACKUS                                3495 BURSLEY HWY                                                                               CHARLOTTE       MI    48813‐8646
CATHERINE J CHUPEK                                11411 PINEHAVEN AVE                                                                            BAKERSFIELD     CA    93312‐3652
CATHERINE J COULTER                               C/O PAUL COULTER                      4396 GLADDEN PLACE                                       MEDINA          OH    44256‐6914
CATHERINE J COULTER                               C/O PAUL D COULTER                    4396 GLADDEN PLACE                                       MEDINA TOWNSHIP OH    44256‐6914

CATHERINE J DELL                                  3627 HUNTER AVE                                                                                ROYAL OAK       MI    48073‐2136
CATHERINE J FARNAN TR UA 02/14/01 JOHN L FARNAN   1550 GROVANIA AVE                                                                              ABINGTON        PA    19001
TRUST
CATHERINE J FLAGG                                 5442 LUCKNOW DR                                                                                CLAY            NY    13041‐9709
CATHERINE J GEARHART TR LEWIS FAMILY TRUST UA     6115 RYAN ROAD                                                                                 MEDINA          OH    44256‐7800
07/18/02
CATHERINE J GONZALEZ                              2713 RAINIER DR                                                                                SPRINGFIELD     IL    62704‐6503
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 635 of 850
Name                                                Address1                               Address2               Address3        Address4          City               State Zip

CATHERINE J HAYWARD                                 8020 GOLF CLUB RD                                                                               MOUNT PLEASANT     TN    38474‐2020

CATHERINE J HELMICK                                 571 FELGAR RD                                                                                   SOMERSET           PA    15501‐7208
CATHERINE J HUGHES                                  1946 RUSH MENDON RD                                                                             RUSH               NY    14543
CATHERINE J KANSKI‐CHANEY & BRIAN C CHANEY TEN      1511 W 46TH PL                                                                                  DAVENPORT          IA    52806‐3614
COM
CATHERINE J KLOSOWSKI TR CATHERINE J KLOSOWSKI      1725 NORTH SILVERY LN                                                                           DEARBORN           MI    48128‐1018
LIV TRUST UA 07/10/98
CATHERINE J KRISTOFFERSEN                           9 N 400 TAMARA DR                                                                               ELGIN              IL    60123
CATHERINE J PETTIT                                  4170 CAPE HAZE DR                                                                               PLACIDA            FL    33946‐2308
CATHERINE J RAY                                     1409 NW 8TH ST                                                                                  DANIA              FL    33004‐2327
CATHERINE J WELLS                                   17 OAKWOOD ST                                                                                   ASHEVILLE          NC    28806‐3118
CATHERINE J WYTZKA                                  1220 VILLAGE DR APT 301C                                                                        ARLINGTON HTS      IL    60004
CATHERINE JAGOE LAIDLAW                             1916 17TH ST NW                        APT 214                                                  WASHINGTON         DC    20009‐6204
CATHERINE JANE JOBLING                              7402 WEATHER WORN WAY                                                                           COLUMBIA           MD    21046‐1480
CATHERINE JEDRZEJCZYK                               1927 S CLINTON AVE                                                                              TRENTON            NJ    08610‐6201
CATHERINE JENKINSON                                 404 MEADHILL DR                                                                                 BENBROOK           TX    76126
CATHERINE JOYCE SCHMIDHOFER                         3916 WOOLBRIDGE WAY                                                                             MARIETTA           GA    30062‐7405
CATHERINE K ABBOTT                                  24 DINSMORE AVE                                                                                 PITTSBURGH         PA    15205‐3111
CATHERINE K GLODDE                                  2677 MAHAN DENMAN RD NW                                                                         BRISTOLVILLE       OH    44402‐9712
CATHERINE K HARRIS                                  1855 TRIBBLE WALK DRIVE                                                                         LAWRENCEVILLE      GA    30045
CATHERINE K SIGURDSON TR SIGURDSON FAM TRUST        3 BRUCE RD                                                                                      DANVERS            MA    01923‐1603
UA 05/07/99
CATHERINE K WILSON                                  6543 SAINT JAMES DR                                                                             INDIANAPOLIS       IN    46217‐3901
CATHERINE KARASINSKI CUST JOHN VICTOR KARASINSKI    19488 BAINBRIDGE                                                                                LIVONIA            MI    48152‐1787
UGMA MI
CATHERINE KEENAN                                    119 SUTTON RD                                                                                   ARDMORE            PA    19003‐3116
CATHERINE KELLER SWEENEY                            15 MARVIN RD                                                                                    MONMOUTH JCT       NJ    08852‐2929
CATHERINE KENNEDY                                   487 GARDEN PL                                                                                   KEYPORT            NJ    07735‐5010
CATHERINE KETTENMANN                                704 HOLLY LANE                                                                                  CEDAR GROVE        NJ    07009‐3207
CATHERINE KEY TR CATHERINE KEY TRUST 1 UA           7322 N COUNTY RD 1850E                                                                          CHARLESTON         IL    61920‐8508
03/07/91
CATHERINE KILLEBREW                                 11 BURTON HILLS BLVD                   APT S354                                                 NASHVILLE          TN    37215
CATHERINE KING                                      43474 ST 255                                                                                    WOODSFIELD         OH    43793‐9428
CATHERINE KOLONICH                                  31 KREGER DR                                                                                    WYANDOTTE          MI    48192‐6258
CATHERINE KOPP                                      1720 GRENADE AVE                                                                                LOUISVILLE         KY    40213‐1536
CATHERINE KREITZER                                  2127 AUTUMN TRAIL HAZE                                                                          MIAMISBURG         OH    45342‐1948
CATHERINE KRYSKA                                    11247 MANDALE                                                                                   STERLING HEIGHTS   MI    48312‐4973

CATHERINE L ARNOLD                                  3 CYPRESS WAY                                                                                   WATERFORD          CT    06385‐1225
CATHERINE L AUBREY                                  5214 SPRINGVIEW CR                                                                              DAYTON             OH    45426‐2356
CATHERINE L AXTELL                                  70 WOODBRIAR DR                                                                                 ROCHESTER          NY    14616‐2313
CATHERINE L BADGER                                  ATTN CATHERINE L HERNANDEZ             4116 RED BANDANA WAY                                     ELLICOTT CITY      MD    21042‐5914
CATHERINE L BIGGIO TR CATHERINE L BIGGIO TRUST UA   34 AMICITA AVE                                                                                  MILL VALLEY        CA    94941‐2101
06/17/96
CATHERINE L BIZEK                                   2726 S CLARENCE AVE                                                                             BERWYN             IL    60402‐2778
CATHERINE L BOSTON                                  450 WESTWOOD DR                                                                                 BLOOMFIELD         MI    48301‐2651
CATHERINE L CLIFTON                                 9685 GRISSOM DR                                                                                 MIDWEST CITY       OK    73130‐3531
CATHERINE L CRAIG                                   ATTN CATHERINE L DONAHUE               2907 TRACY LYNN LN                                       SACHSE             TX    75048‐5410
CATHERINE L CRUSE                                   309 NORTH 17                                                                                    KANSAS CITY        KS    66102‐4914
CATHERINE L DONAHUE                                 2907 TRACY LYNN LN                                                                              SACHSE             TX    75048‐6410
CATHERINE L DOYLE                                   3911 RUSSIAN OLIVE LN                                                                           ZEPHYHRILLS        FL    33541‐4664
CATHERINE L ESANNASON                               19460 HUBBELL                                                                                   DETROIT            MI    48235‐1907
CATHERINE L EVANETICH                               11251 LAKE FOREST DR                                                                            CHESTER            OH    44026‐1334
CATHERINE L FINLAYSON CLEGG                         530 W 3RD ST                                                                                    ROCHESTER          MI    48307‐1914
CATHERINE L GATES                                   7930 S EBERHART AVE                                                                             CHICAGO            IL    60619‐3816
CATHERINE L GILLES TOD ROBERT A LUTZ                715 BEVERSREDE TRL                                                                              KENNET SQ          PA    19348‐1501
CATHERINE L GINTHER                                 11 MAC ARTHUR BLVD E503                                                                         WESTMONT           NJ    08108‐3649
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 636 of 850
Name                                                Address1                               Address2              Address3         Address4          City              State Zip

CATHERINE L HALPIN & ROSEMARY A HALPIN JT TEN       109 FLINTLOCK RD                                                                                DREXEL HILL       PA    19026‐4905

CATHERINE L HARPER                                  132 GOSLING DR                                                                                  FRANKLIN          TN    37064‐5048
CATHERINE L HUNT                                    5840 N CALLE GRANDEZA                                                                           TUSCON            AZ    85718‐3223
CATHERINE L KELLY                                   5138 8TH ST NE                                                                                  WASHINGTON        DC    20011‐2671
CATHERINE L LEWIS                                   23 SPRING ST                                                                                    RIVERSIDE         CT    06878
CATHERINE L LONG                                    6005 HAVERHILL DR                                                                               LANSING           MI    48911‐4813
CATHERINE L MCLAUGHLIN & DALE D MCLAUGHLIN JT       19109 E BALDWIN LN                                                                              SPOKANE VALLEY    WA    99016‐8724
TEN
CATHERINE L MEBANE                                  3221 VILLAGE PARK DR                                                                            WACO              TX    76708‐1581
CATHERINE L MELVIN                                  38 ALLISON                                                                                      PONTIAC           MI    48342‐1000
CATHERINE L RICE                                    75 OAK HILL RD                                                                                  HOOKSETT          NH    03106
CATHERINE L SAAR                                    30 SHORT HILLS DR                                                                               HILTON            NY    14468‐1121
CATHERINE L SCHWARZ                                 ATTN CATHERINE L REYNOLDS              553 E 32ND STREET                                        DURANGO           CO    81301‐6015
CATHERINE L SMITH                                   986 HIGHWAY 36                                                                                  HAZLET            NJ    07730‐1700
CATHERINE L STITELER CUST ALLISON L STITELER UGMA   631 STATE ST                                                                                    OXFORD            MI    48371
MI
CATHERINE L STOCK CUST ALLAN M STOCK UGMA MI        25915 W RIVER                                                                                   GROSSE ILE        MI    48138‐1613

CATHERINE L TATEM                                   724 HUNTER HILL                                                                                 BRANDON           MS    39047‐8678
CATHERINE L VAKIENER                                2 JAMES HILL DR                                                                                 KEENE             NH    03431‐4900
CATHERINE L WANAT                                   142 THORPE AVE                                                                                  MERIDEN           CT    06450‐4842
CATHERINE L WATKINS & JOHN R WATKINS JT TEN         288 NELSON ST                                                                                   PROVIDENCE        RI    02908‐2126
CATHERINE L WATKINS & STEPHEN D WATKINS JT TEN      841 N CROOKED LAKE DR                                                                           LAKE              MI    48632‐9045

CATHERINE L WOODS‐WILD PER REP EST ROY G WILD       1247 TAMARA CIRCLE                                                                              PENSACOLA         FL    32504

CATHERINE L WRIGHT                               107 LENNOX AVE                                                                                     AMHERST           NY    14226‐4266
CATHERINE L YOUNKER & BONNIE J CANTERBURY JT TEN 8008 CORONA AVE                                                                                    KANSAS CITY       KS    66112

CATHERINE LAMENDOLA                                 3298 GREENWAY DR                                                                                JUPITER           FL    33458
CATHERINE LAURA LUSCO                               6128 NORTH EMERSON STREET                                                                       ROSEMONT          IL    60018‐4422
CATHERINE LEES & DONALD LEES JT TEN                 2062 VISTA DR                                                                                   LEWISVILLE        TX    75067‐7485
CATHERINE LESNIAK                                   2045 SHADY DR                                                                                   WARREN            MI    48093
CATHERINE LEWIS LORD                                APT L2204                              1600 BEACH AVE        VANCOUVER BC     V6G 1Y6 CANADA
CATHERINE LICHTMAN                                  5258 WHISPERING OAK                                                                             WEST BLOOMFIELD MI      48322‐3931

CATHERINE LORIA                                     7 ARMETALE LUSTER                                                                               WEBSTER           NY    14580‐2484
CATHERINE LORRAINE WHITE                            814 SUGAR MAPLE DR                                                                              KOKOMO            IN    46901‐3814
CATHERINE LOUISE HAGSTROM                           6 GREEN AVE                                                                                     NEWINGTON         CT    06111‐2705
CATHERINE LOUISE MARTIN                             37 TREMONT ST                                                                                   MANSFIELD         MA    02048‐1715
CATHERINE LUBCHENKO                                 8606 W BRUNEAU AVE                                                                              KENNEWICK         WA    99336‐5089
CATHERINE LYNN                                      PO BOX 515                                                                                      ROMULUS           MI    48174
CATHERINE M ADAMS TR UA 08/21/2007 CATHERINE M      210 S IRIS ST                                                                                   CARSON CITY       NV    89703‐4517
ADAMS FAMILY TRUST
CATHERINE M ALLOCCO                                 4526 SUMMIT PARKWAY                                                                             CANANDAIGUA       NY    14424‐9631
CATHERINE M APTACY & FRANK A APTACY TEN ENT         427 ABRAMS MILL RD                                                                              KING OF PRUSSIA   PA    19406‐1551

CATHERINE M BEACHAM                                 9419 GROFFS MILL DR                                                                             OWINGS MILLS      MD    21117
CATHERINE M BEHM                                    6042 WAKEFIELD DR                                                                               SYLVANIA          OH    43560‐3650
CATHERINE M BENNETT                                 2290 STRADELLA RD                                                                               LOS ANGELES       CA    90077‐2331
CATHERINE M BENSON & GORDON R BENSON JT TEN         PMB 42                                 3700 S WESTPORT AVE                                      SIOUX FALLS       SD    57106‐6344

CATHERINE M BERISH CUST ERIC A BERISH UGMA MI       878 SO FAIRWAY VILLAGE DR                                                                       GREENFIELD        IN    46140‐7100

CATHERINE M BROWN                                   830 BOYCE AVENUE                                                                                PALO ALTO         CA    94301‐3003
CATHERINE M BROWN                                   245 HOLLYWOOD DR                                                                                HAMILTON          NJ    08609‐1803
                                                                                                                                                    TOWNSHIP
CATHERINE M BUCKLEY                                 1201 WEST VALERIO STREET                                                                        SANTA BARBARA     CA    93101‐4950
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 637 of 850
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

CATHERINE M BUTLER                              4570 ELIZABETH LN                                                                                BROOMFIELD        CO    80020‐9580
CATHERINE M CAFFERTY                            195 12TH ST                                                                                      BROOKLYN          NY    11215
CATHERINE M CAMPBELL & JEROLD A CAMPBELL JT TEN 503 PINE GROVE DR                                                                                COLLIERVILLE      TN    38017

CATHERINE M CHAPMAN                              7912 UPPER 139TH CT                                                                             SAINT PAUL        MN    55124‐7351
CATHERINE M CLEVENGER                            4362 N 200 E                                                                                    ANDERSON          IN    46012‐9517
CATHERINE M CORGAN                               PO BOX 123                                                                                      MOUNTAIN TOP      PA    18707‐0123
CATHERINE M COTO                                 29 RAMAPO RD                                                                                    OSSINING          NY    10562‐4511
CATHERINE M CRAWFORD EXECUTOR U‐W WILLIAM R      BOX 216                                                                                         WILCOE            WV    24895‐0216
CRAWFORD
CATHERINE M DELONEY                              1083 E FRANCES RD                                                                               MT MORRIS         MI    48458‐1101
CATHERINE M DENNIS & RICHARD P MEYERS JT TEN     4330 ONONDAGA BLVD                     # 19                                                     SYRACUSE          NY    13219‐3030

CATHERINE M FEMIA                                39‐36 44TH ST                                                                                   SUNNYSIDE        NY     11104‐2108
CATHERINE M FERMAN                               25524 ORCHARD LAKE RD                                                                           FARMINGTON HILLS MI     48336‐1240

CATHERINE M FERRY & WARREN J FERRY JT TEN         2 CHAPEL COURT                                                                                 CINNAMINSON       NJ    08077‐3901
CATHERINE M FISHER                                33‐51 80 STREET                       APT 1                                                    JACKSON HGHTS     NY    11372‐1312
CATHERINE M FITZGERALD                            1105 GRANDEUR CRES                    OAKVILLE ON                            L6H 4B4 CANADA
CATHERINE M FLEMING                               3304 COUNTRY CLUB DR                                                                           ST CLR SHORES     MI    48082‐1095
CATHERINE M FORD                                  2059 CEZANNE RD                                                                                WEST PALM BCH     FL    33409‐7532
CATHERINE M GADZINSKI                             20 NICOLE CT                                                                                   NEW CASTLE        DE    19720‐3762
CATHERINE M GARANZINI & JOSEPH L GARANZINI JT TEN 2390 ETHEL DR                                                                                  WALLED LAKE       MI    48390‐2139

CATHERINE M GARRIS                               PO BOX 274                                                                                      BURNSVILLE        NC    28714‐0274
CATHERINE M GISSING                              1401 7TH AVE                                                                                    BRODHEAD          WI    53520
CATHERINE M HARTEL                               164‐03 27TH AVENUE                                                                              FLUSHING          NY    11358‐1014
CATHERINE M HAYES                                144 GLENWOOD DR                                                                                 MADISON           MS    39110‐8308
CATHERINE M HEDGES                               33 EAGLEWOOD CIRCLE                                                                             PITTSFORD         NY    14534‐1081
CATHERINE M HUETTEMAN                            19 BRIDGE ROAD                                                                                  BERKELEY          CA    94705‐1514
CATHERINE M JOHNSTON                             112 EMERALD LANE NE                                                                             CORTLAND          OH    44410‐1382
CATHERINE M JONES                                1003 SHORELAND DR                                                                               GLEN BURNIE       MD    21060‐6741
CATHERINE M KARASINSKI CUST LAURA M KARASINSKI   19488 BAINBRIDGE                                                                                LIVONIA           MI    48152‐1787
UGMA MI
CATHERINE M KAROL                                25871 CONCORD                                                                                   HUNTINGTON WD     MI    48070‐1636

CATHERINE M KATULIC                           1388 GRAHAM ROAD                                                                                   FLINT             MI    48532‐3537
CATHERINE M KEITZ                             28700 NORWOOD AVE                                                                                  WARREN            MI    48092‐5632
CATHERINE M KINNEY                            1058 ROUNDSTONE PL                                                                                 PALM HARBOR       FL    34683‐1461
CATHERINE M KIRLEY                            ATTN CATHERINE M WAWRZON                  4944 RIEDY PL                                            LISLE             IL    60532‐2297
CATHERINE M KOBAK‐HAGGERTY                    19943 RIVERWOODS CT                                                                                MACOMB            MI    48044‐5762
CATHERINE M KRAYOWSKI                         9357 OURTIME LANE                                                                                  COLUMBIA          MD    21045‐4419
CATHERINE M LEE & CATHY L HENRY JT TEN        1957 FANTERO AVE                                                                                   ESCONDIDO         CA    92029‐4217
CATHERINE M LOUKS & JACK D LOUKS & MAUREEN E  1411 84TH STREET                                                                                   KENOSHA           WI    53143‐6312
SANDERS JT TEN
CATHERINE M MALICKI                           8903 EVERGREEN DR                                                                                  WONDERLAKE        IL    60097‐9473
CATHERINE M MARTONE                           105 BRUCE ST                                                                                       SCOTIA            NY    12302‐2302
CATHERINE M MC ALYNN                          2352 6TH ST                                                                                        EAST MEADOW       NY    11554‐3135
CATHERINE M MC KINLEY                         47 2 GLADES BLVD                                                                                   NAPLES            FL    34112‐5039
CATHERINE M MC PARTLIN                        29 WASHINGTON AVE                                                                                  ANDOVER           MA    01810‐1723
CATHERINE M MCAVOY                            10522 DUFFIELD ROAD                                                                                MONTROSE          MI    48457‐9183
CATHERINE M MCGOVERN                          MEADOW STREET                                                                                      EAST MATUNUCK     RI    02879
CATHERINE M NEWMAN & PATRICIA A NEWMAN JT TEN 5814 SUNRISE                                                                                       CLARENDON HILLS   IL    60514‐1726

CATHERINE M NICHOLS                              431 NORTHDALE RD                                                                                LAWRENCEVILLE     GA    30045
CATHERINE M OLEARY                               15 BENSON RD                                                                                    WILMINGTON        MA    01887‐1602
CATHERINE M OLMEDA                               3597 CARYN ST                                                                                   MELVINDALE        MI    48122‐1107
CATHERINE M OSTROWSKI‐JONES                      5427 ARAPAHO PASS                                                                               PINCKNEY          MI    48169‐8728
CATHERINE M PAPENFUS                             2855 THERESA LANE                                                                               SAN JOSE          CA    95124‐1429
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 638 of 850
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

CATHERINE M PARZIANELLO                           1745 NIGHTINGALE ST                                                                              DEARBORN         MI    48128‐1008
CATHERINE M PEREZ                                 2046‐19TH                                                                                        WYANDOTTE        MI    48192‐3832
CATHERINE M POPOVICH                              242 MALBRANC RD                                                                                  JOHNSTOWN        PA    15905‐9540
CATHERINE M PRIESKORN                             17999 COLE ROAD                                                                                  ADDISON          MI    49220‐9762
CATHERINE M REISING                               255 W 14 MILE APT 1114                                                                           CLAWSON          MI    48017‐1952
CATHERINE M REYNOLDS                              7 CAWDOR LN                                                                                      NEW CASTLE       DE    19720‐2330
CATHERINE M RICE                                  326 RILLA ST                                                                                     ELMIRA HEIGHTS   NY    14903‐1060
CATHERINE M RIVERA                                6903 NORVARA TRL                                                                                 SPRING           TX    77379‐4179
CATHERINE M ROBILLARD                             89 OSSIPEE RD                                                                                    NEWTON UPPER     MA    02464‐1437
                                                                                                                                                   FALLS
CATHERINE M ROTH                                  108 W PROSPECT                                                                                   ST LOUIS         MI    48880‐1668
CATHERINE M SCALLY                                43 LUTHER JACOBS WAY                                                                             SPENCERPORT      NY    14559
CATHERINE M SIMARD                                #1 STUDEBAKER CT                                                                                 CHARLESTON       SC    29414‐6952
CATHERINE M SVINARICH                             8380 E COURT ST                                                                                  DAVISON          MI    48423‐3396
CATHERINE M THOMPSON                              2281 MICKANIN RD                                                                                 NORTH            PA    15642‐8713
                                                                                                                                                   HUNTINGDON
CATHERINE M TRACEY                             16514 GLORIETTA TURN                                                                                HOUSTON          TX    77068‐1452
CATHERINE M UHLIG                              2516 SUNNYHURST CLOSE                      OAKVILLE ON                            L6H 7K5 CANADA
CATHERINE M WAGENER & DARLENE SILVERMAN JT TEN 10309 CLARK RD                                                                                      MYERSVILLE       MD    21773‐8515

CATHERINE M WANGEROW                              2063 LAKE SHORE DR                                                                               LONG BEACH       IN    46360‐1449
CATHERINE M WEBB                                  3222 INDEPENDENCE DR ROOM 221                                                                    DANVILLE         IL    61832‐7919
CATHERINE M WHEELER                               135 RIVERMEAD RD                                                                                 PETERSBOROUGH    NH    03458‐1739
CATHERINE M WHITE                                 60 GREENHEDGE CI 60                                                                              DELAWARE         OH    43015‐8388
CATHERINE M WILKES                                322 ALLEGHENY DR                                                                                 YORK             PA    17402‐5001
CATHERINE M WILKIN TR LIVING TRUST 02/28/76 U‐A   6431 RICHARD RUN                                                                                 W BLOOMFIELD     MI    48322
CATHERINE M WILKIN
CATHERINE M WINDSORKUNTZI                         2746 PEARSON CORNER RD                                                                           DOVER            DE    19904‐5104
CATHERINE MACK                                    5240 MARSHALL RD                                                                                 CENTERVILLE      OH    45429‐5816
CATHERINE MACKAY                                  851 MAHINA ST                           OSHAWA ON                              L1J 7R7 CANADA
CATHERINE MACKAY                                  851 MAHINA ST                           OSHAWA ON                              L1J 7R7 CANADA
CATHERINE MAE MASTRO                              132 WEST HILL RD                                                                                 SHERBURNE        NY    13460‐4300
CATHERINE MARIE BORRICO                           610 OCEAN VIEW AVE                                                                               ROCKAWAY PT      NY    11697
CATHERINE MARIE FELDMANN                          1002 COVENTRY LANE                                                                               SOMERSET         NJ    08873
CATHERINE MARIE MINTO                             9007 E COLDWATER RD                                                                              DAVISON          MI    48423‐8936
CATHERINE MARJORIE BASSETT CUST ANDREW WILL       25368 FAIRWAY DR                                                                                 QUANTICO         MD    21856‐2012
BASSETT UTMA DC
CATHERINE MARKUT                                  61 CENTER DR                                                                                     DEPEW            NY    14043‐1705
CATHERINE MARY WYATT                              239 CARDINAL DR                                                                                  DAHLONEGA        GA    30533‐5257
CATHERINE MATTEN                                  918 CONTINENTAL                                                                                  TOLEDO           OH    43607‐2255
CATHERINE MATTHEWS                                30 STANFORD RD E                                                                                 PENNINGTON       NJ    08534‐5162
CATHERINE MC GARRY                                182 COLDSPRING RD                                                                                SYOSSET          NY    11791‐2201
CATHERINE MCINTIRE WILEY CUST CAREN ELISE WILEY   800 KAREN DR                                                                                     KINGSVILLE       MD    21087‐1024
UTMA MD
CATHERINE MOHRHARDT HEATER                        PO BOX 315                                                                                       CAZADERO         CA    95421‐0315
CATHERINE MOLINARI & GEORGE MOLINARI JT TEN       1847 N NASH VILLE                                                                                CHICAGO          IL    60707‐3911

CATHERINE MOLITERNI TOD CAROL ROGERS SUBJECT TO 468 ROBINSON AVE                                                                                   STATEN ISLAND    NY    10312‐5130
STA TOD RULES
CATHERINE MOLITERNI TOD DAVID F MOLITERNI       468 ROBINSON AVE                                                                                   STATEN ISLAND    NY    10312‐5130
SUBJECT TO STA TOD RULES
CATHERINE MORAN                                 141 BERTRAM AVE                                                                                    SOUTH AMBOY      NJ    08879‐1421
CATHERINE MORASON KORN                          6132 SUNRISE CIRCLE                                                                                SYLVANIA         OH    43560‐1593
CATHERINE MORELLO                               235 44TH ST NW                                                                                     CANTON           OH    44709‐1403
CATHERINE MURILLO                               8439 W CATHERINE AVE                      APT 625                                                  CHICAGO          IL    60656‐1381
CATHERINE N BRESLIN                             41 SOMERVILLE ST                                                                                   ROCHELLE PARK    NJ    07662‐3512
CATHERINE N STAFF                               802 PENSACOLA AVE                                                                                  ATMORE           AL    36502‐2960
CATHERINE NAJDUCH RODEN                         93 COLLINS AVE                                                                                     MERIDEN          CT    06450‐4449
CATHERINE NAUGHTON                              58‐35 LIEBIG AVENUE                                                                                BRONX            NY    10471‐2111
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 639 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

CATHERINE NAUGHTON                               3669 ACADEMY RD                                                                                PHILADELPHIA     PA    19154‐2039
CATHERINE O DRAPER                               4003 GETTYSBURG DR                    PO BOX 2802                                              KOKOMO           IN    46902‐4915
CATHERINE O ROWLAND                              1406 W CARPENTER ST                                                                            MIDLAND          MI    48640‐4810
CATHERINE O'BRIEN & GERALD O'BRIEN JT TEN        15 LAWRENCE STREET                                                                             HICKSVILLE       NY    11801‐5833
CATHERINE O'KEEFFE                               47‐02 59TH PL                                                                                  WOODSIDE         NY    11377‐5653
CATHERINE OCONNELL                               178 RUTLEDGE RD                                                                                BELMONT          MA    02478‐2634
CATHERINE P ACCORDO                              2192 RUSH MENDON RD NS                                                                         RUSH             NY    14543‐9402
CATHERINE P BELLANCA                             30134 COUSINO DR                                                                               WARREN           MI    48092‐1972
CATHERINE P BELLANCA                             30134 COUSINO DRIVE                                                                            WARREN           MI    48092‐1972
CATHERINE P CECCHINI CUST MARK A CECCHINI UGMA   15615 WINDMILL POINTE                                                                          GROSSE POINTE    MI    48230‐1858
MI                                                                                                                                              PARK
CATHERINE P DOYLE                                105 COOLIDGE ST                                                                                LINDEN           NJ    07036‐4301
CATHERINE P DUKE                                 3034 RICHMOND HILL RD                                                                          AUGUSTA          GA    30906‐3354
CATHERINE P FITZSIMMONS                          75 PARK ST                                                                                     MELROSE          MA    02176‐4805
CATHERINE P FLOOD                                5797 GRASSYKNOLL ROAD                                                                          BLAIRSVILLE      GA    30512‐7300
CATHERINE P GILLIKIN                             110 AMELIA LN                                                                                  NEW BERN         NC    28560‐7501
CATHERINE P KANE                                 3539 S ST NW                                                                                   WASHINGTON       DC    20007
CATHERINE P KELLY & CORTEZ N KELLY JT TEN        592 NEVADA                                                                                     PONTIAC          MI    48341‐2553
CATHERINE P LANKFORD                             139 J B DALTON RD                                                                              RIDGEWAY         VA    24148‐3255
CATHERINE P LEWIS                                C/O DOROTHY A NEIDIG                  BOX 129                                                  HAVERFORD        PA    19041‐0129
CATHERINE P PARASCHOS                            3626 ASH GLEN DR                                                                               SPRING           TX    77388‐4540
CATHERINE P SHELBY                               5811 CROWBERRY TRAIL N                                                                         SAGINAW          MI    48603‐1668
CATHERINE P SIZEMORE                             604 BRANTNER LN                                                                                CINCINNATI       OH    45244‐1506
CATHERINE P TOOMEY                               75 PARK ST                                                                                     MELROSE          MA    02176‐4805
CATHERINE P WELCH                                114 ATWATER ST                                                                                 NEW HAVEN        CT    06513‐3107
CATHERINE PASQUALE                               104 COOLIDGE AVE                                                                               PARLIN           NJ    08859‐1545
CATHERINE PATRICIA CORGAN                        1770 HIDDEN LANE                                                                               LANCASTER        PA    17603‐2346
CATHERINE POFFENBARG GOLDSMITH                   411 N WALNUT ST                                                                                ALEXANDRIA       IN    46001‐1614
CATHERINE POPE & MARGARET POPE JT TEN            31165 MORLOCK #509                                                                             LIVONIA          MI    48152‐1667
CATHERINE POPEK & JOHN G POPEK TR UA 05/21/01    1343 W BALTIMORE PIKE C408                                                                     MEDIA            PA    19063
POPEK FAMILY TRUST
CATHERINE QUERNS                                 8 CRUMITIE RD                                                                                  LOUDONVILLE      NY    12211‐1610
CATHERINE R ANDERS                               11 SOUTH HARLEY AVE                                                                            GLOUCESTER       NJ    08030‐2435
CATHERINE R CARDINAL                             14608 WATERSIDE DR                                                                             CHARLOTTE        NC    28278‐7355
CATHERINE R CONDIE CUST ALEXANDER G CONDIE       4187 REILAND LANE                                                                              SHOREVIEW        MN    55126‐3120
UTMA MN
CATHERINE R FISHER                               1172 WILLOW ST                                                                                 DENVER           CO    80220‐3460
CATHERINE R GESME TR LIVING TRUST 05/08/92 U‐A   1905 HONEYSUCKLE                                                                               MOUNTAIN HOME    AR    72653‐5236
CATHERINE R GESME
CATHERINE R HAWKINS                              5235 HAYES                                                                                     WAYNE            MI    48184‐2294
CATHERINE R KNIGHT                               201 SOWELL RD                                                                                  MCDONOUGH        GA    30252‐6966
CATHERINE R STIERMAN CUST VERONICA N STIERMAN    11563 SANDERS LN                                                                               DUBUQUE          IA    52001‐9734
UGMA SC
CATHERINE R TAHAN                                2825 NAPLES DR                                                                                 HURST            TX    76054‐2262
CATHERINE R W CADDELL                            313 EASTERN DRIVE                                                                              CHESTERFIELD     IN    46107
CATHERINE RABIDIS                                PO BOX 400                                                                                     BUDD LAKE        NJ    07828‐0400
CATHERINE REKTENWALD                             475 WEYMOUTH DRIVE                                                                             WYCKOFF          NJ    07481‐1809
CATHERINE RICHFORD CUST DANIEL PAUL RICHFORD     99 EATON LANE                                                                                  WEST ISLIP       NY    11795‐4501
UTMA NY
CATHERINE RIORDAN                                1993 N MAHONIA PL                                                                              BELLINGHAM       WA    98229‐6939
CATHERINE RIVERS                                 24 STEELE CIR                                                                                  NIAGARA FALLS    NY    14304‐1112
CATHERINE RODRIGO                                604 APPLETON CT                                                                                KENNETT SQUARE   PA    19348‐2287
CATHERINE ROWE                                   2786 DESERT STARS LN                                                                           BULLHEAD CITY    AZ    86429‐5953
CATHERINE RUSCO CUST RACHEL O RUSCO UTMA MI      16383 WARNER ST                                                                                GRAND HAVEN      MI    49417‐9628

CATHERINE RYAN LAWSON                            BOX 33‐1008                           BAYOU TO BAYOU RD                                        LOREAUVILLE      LA    70552
CATHERINE S ANDERSON & ROBERT E ANDERSON JR JT   201 NEELY RD                                                                                   FAYETTEVILLE     GA    30214‐3813
TEN
CATHERINE S BORTZ                                PO BOX 1726                                                                                    WARREN           OH    44482‐1726
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 640 of 850
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

CATHERINE S BUHA                                  11561 RAN                                                                                      TAYLOR             MI    48180‐4104
CATHERINE S CHESTON                               37 HICKORY CT                                                                                  JAMESBURG          NJ    08831‐2507
CATHERINE S CLARK                                 7122 MACK RD                                                                                   HOWELL             MI    48855‐9240
CATHERINE S FEDER                                 168 NORTH DUFFY ROAD                                                                           BUTLER             PA    16001‐2432
CATHERINE S HARDMAN                               2405 ADIRONDACK TR                                                                             KETTERING          OH    45409‐1906
CATHERINE S KNECHT                                438 SHENANDOAH                                                                                 CLAWSON            MI    48017‐1300
CATHERINE S MASON & MARY PENNY WOZNIAK JT TEN     13096 FEDDE                           PO BOX 356                                               NEW BUFFALO        MI    49117‐0356

CATHERINE S MILLER                                1802 OXLEY DR                                                                                  FLINT              MI    48504‐7098
CATHERINE S RICOTTA                               6776 SWARTZ RD                                                                                 DANSVILLE          NY    14437
CATHERINE S SIROIS                                PO BOX 90                             5 STACEY LANE                                            HOPKINTON          RI    02833‐1136
CATHERINE S STOHLER                               724 WESTBOURNE DR                                                                              BLOOMFIELD HILLS   MI    48301‐3455

CATHERINE S SULLIVAN                              2597 PATRICK HENRY ST                                                                          AUBURN HILLS       MI    48326‐2328
CATHERINE S WEIL                                  2816 SIXTH AVE                                                                                 FORT WORTH         TX    76110‐3011
CATHERINE S WILLIAMS                              11010 TRAVIS DR                                                                                JONESTOWN          TX    78645‐3258
CATHERINE S WILLS                                 2019 VICTORA DR                                                                                STAFFORD           VA    22554‐2324
CATHERINE SARCHIAPONE                             19 PLEASANT ST                                                                                 KATONAH            NY    10536‐2007
CATHERINE SCANNELL                                4 SKUNKS HOLLOW RD                                                                             ST JAMES           NY    11780‐1325
CATHERINE SCHAUSS & PETER J SCHAUSS JT TEN        13728 JACK PINE LANE                                                                           SHELBY TWNSHP      MI    48315‐1454
CATHERINE SCHREIBER                               14120 PECK                                                                                     WARREN             MI    48093‐1405
CATHERINE SCHUTH                                  51 ROCKROSE DR                                                                                 E GREENBUSH        NY    12061‐1673
CATHERINE SHANAHAN                                1 SCENIC LN                                                                                    YONKERS            NY    10710‐2318
CATHERINE SILVY MC BRYDE                          203 SCHUELE AVE                                                                                BUFFALO            NY    14215‐3732
CATHERINE SIMMONS                                 5061 GARDNER LINE                                                                              CROSWELL           MI    48422‐9128
CATHERINE SKAE                                    205 N MAYFLOWER RD                                                                             LAKE FOREST        IL    60045
CATHERINE SMITH                                   1612 CLIFTVIEW AVENUE                                                                          BALTIMORE          MD    21213‐1310
CATHERINE SMITH                                   1261 NELSON AVE                                                                                BRONX              NY    10452‐3002
CATHERINE STAFF TIMS                              802 PENSACOLA AVE                                                                              ATMORE             AL    36502‐2960
CATHERINE STANCOVEN & CHRISTOPHER PAUL            436 JONES ST                                                                                   WHEELING           WV    26003‐5117
STANCOVEN JT TEN
CATHERINE STARK                                   2525 S SHORE DRIVE UNIT 21E                                                                    MILWAUKEE          WI    53207‐1965
CATHERINE STEFANIV & MARSHA QUINN JT TEN          2510 STANFIELD DR                                                                              PARMA              OH    44134‐5004
CATHERINE STORDEUR                                113 SPENGLER RD                                                                                RICHLAND           WA    99352‐1947
CATHERINE STORM NUGENT                            6824 W 100TH ST                                                                                OVERLAND PARK      KS    66212‐1619
CATHERINE STRINGER                                222 STAWFORD RD                                                                                HAGERSTOWN         MD    21742‐4527
CATHERINE SUE TRANT HILL                          6014 WESTWOOD TERR                                                                             NORFOLK            VA    23508‐1139
CATHERINE SUE TURNER                              13161 LEA ANNA LN                                                                              DABNEYS            VA    23102‐2808
CATHERINE SUGARS & PAUL J SUGARS JT TEN           10781 CHARRING CROSS                                                                           WHITMORE LAKE      MI    48189
CATHERINE SZYSZKA                                 1817 PROGRESS STREET                                                                           LINCOLN PARK       MI    48146‐3230
CATHERINE T BARNETT                               1838 GREEN VALLEY DR                                                                           JANESVILLE         WI    53546‐1223
CATHERINE T BOBEL                                 11 MORNINGSIDE AVE                                                                             CRESSKILL          NJ    07626‐1511
CATHERINE T BYRNE                                 6 TULIP LANE                                                                                   MONROE             NY    10950‐1017
CATHERINE T COLLINS                               47‐16 215TH ST                                                                                 BAYSIDE            NY    11361‐3348
CATHERINE T CONROY                                158 ELTON RD                                                                                   STEWART MANOR      NY    11530‐5006
CATHERINE T CORCORAN                              732 N IRVING AVE                                                                               SCRANTON           PA    18510‐1823
CATHERINE T DENNIS TR CATHERINE T DENNIS TRUST UA 12772 WESTSHORE DR                                                                             HOUGHTON LAKE      MI    48629‐8651
03/24/97
CATHERINE T ELKING                                1825 PRIMROSE LN                                                                               FAIRBORN           OH    45324‐9796
CATHERINE T KEHNAST                               C/O CATHERINE SAHM                    201 STONECROP RD                                         WILMINGTON         DE    19810‐1319
CATHERINE T MASHBURN                              1710 RIO VISTA DR                                                                              DALTON             GA    30720‐5148
CATHERINE T MC EVOY CLIFFORD                      386 THIRD ST                                                                                   ALBANY             NY    12206‐2732
CATHERINE T MC NALLY                              159 FOSTER ROAD                       1ST FLOOR                                                STATEN ISLAND      NY    10309‐3040
CATHERINE T MOLICK                                42495 ELDON CIR                                                                                CLINTON TWP        MI    48038‐1721
CATHERINE T MURPHY                                44 SILVER CHARM RD                                                                             MANALAPAN          NJ    07726
CATHERINE T TURNER                                704 MENDOTA CT                                                                                 KOKOMO             IN    46902‐5529
CATHERINE T ZIELKE                                8820 S 85TH CT                                                                                 HICKORY HILLS      IL    60457‐1327
CATHERINE TAYLOR                                  2411 OAKWOOD                                                                                   SAGINAW            MI    48601‐3546
CATHERINE THOMSON                                 2816 COVENTRY CT                                                                               BLOOMINGTON        IL    61704‐6266
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 641 of 850
Name                                            Address1                             Address2                Address3       Address4          City            State Zip

CATHERINE TYTLER                                  1639 CREEK STREET                                                                           ROCHESTER       NY    14625‐1158
CATHERINE UFFERFILGE CUST BRIAN W UFFERFILGE      10 CLEM CT                                                                                  DURHAM          CT    06422‐2501
UGMA IL
CATHERINE UFFERFILGE CUST DEAN K UFFERFILGE       10 CLEM CT                                                                                  DURHAM          CT    06422‐2501
UGMA IL
CATHERINE V HANUSCHIK                             87 EATON RD                                                                                 BORDENTOWN      NJ    08505
CATHERINE V HELTUNEN RALPH E HELTUNEN & KEVIN L 19388 WOODWORTH                                                                               REDFORD         MI    48240‐2612
HELTUNEN JT TEN
CATHERINE V LUVISI                                422 WAVERLY OAKS ROAD                                                                       WALTHAM         MA    02452
CATHERINE V MORGAN                                7474 BELLFLOWER RD                                                                          MENTOR          OH    44060‐3947
CATHERINE V SHERMAN                               30004 SE 392ND                                                                              ENUMCLAW        WA    98022‐7745
CATHERINE V STRASSER TR UA 08/08/2008 CATHERINE V 7120 FOXMOORE CRT                                                                           JACKSON         MI    49201
STRASSER REV TRUST
CATHERINE VIVIENNE MERRILL                        604 W ELM ST                                                                                LINDEN          NJ    07036‐5014
CATHERINE W BOWE                                  204 ALDER LANE WILLOWBROOK                                                                  LEWISBURG       PA    17837‐9360
CATHERINE W BRANDT                                320 SYCAMORE GROVE ST                                                                       SIMI VALLEY     CA    93065
CATHERINE W BRENNAN                               280 WOLCOTT HILL RD                                                                         WETHERFIELD     CT    06109‐2034
CATHERINE W FRANK                                 2512 KESWICK RD                                                                             FLORENCE        SC    29501‐1931
CATHERINE W HERRON                                206 WILLIAMS DR                                                                             BONAIRE         GA    31005‐3825
CATHERINE W SHIRES                                165 JOHN REDD BLVD                                                                          COLLINSVILLE    VA    24078‐1351
CATHERINE W SIMMONS & JOHN M SIMMONS JT TEN       14 N PUTNAM ST                                                                              MC ADOO         PA    18237‐2251

CATHERINE W SMITH                               518 CONFERDERATE AVE                                                                          SALISBURY       NC    28144‐2819
CATHERINE W TUPPER                              3525 YOUNGSTOWN                      KINGSVILLE ROAD                                          CORTLAND        OH    44410
CATHERINE WARNER                                C/O MS BRANNON                       105 ROCK MEADOW TRAIL                                    MANSFIELD       TX    76063‐4845
CATHERINE WASH & LAVERN BOND & LILLIE MAE DOVER 3708 KENT                                                                                     FLINT           MI    48503‐4560
TEN COM
CATHERINE WAUFLE                                3308 SHERWOOD CIRCLE                                                                          GASTONIA        NC    28056‐6636
CATHERINE WAYS YOWELL                           1505 COPPER CREEK                                                                             PLANO           TX    75075‐2213
CATHERINE WIDDICOMBE                            C/O ABBOTT WIDDICOMBE                PO BOX 1055                                              W MEMPHIS       AR    72303‐1055
CATHERINE WILLIAMS LEEGE                        45665 DENIZEN HTS RD                                                                          HEMET           CA    92544‐6700
CATHERINE WILLINGHAM                            5720 COLLINWOOD CT                                                                            ANTIOCH         TN    37013‐5115
CATHERINE WOOD PARKER                           6545 36TH LANE                                                                                VERO BEACH      FL    32966‐7811
CATHERINE Y RITTER                              4741 SANFORD RD                                                                               HOUSTON         TX    77035
CATHERINE YACCARINO                             48 REVERE RD                                                                                  MANHASSET       NY    11030‐2647
CATHERINE ZOLEZZI & ROBERT ZOLEZZI JT TEN       7927 STATE ROAD 52                   APT 207                                                  HUDSON          FL    34667‐6753
CATHEY M GALVAS                                 3715 SUNRIDGE                                                                                 FLINT           MI    48506‐2558
CATHI M CALLAHAN & DAVID B CALLAHAN JT TEN      2814 ARBOR SPRINGS TRACE                                                                      TUCKER          GA    30084‐2373
CATHIE A LAIRD                                  858 OLD NATIONAL PIKE                                                                         CLAYSVILLE      PA    15323‐1264
CATHIE C RICKMAN                                527 W 600 N                                                                                   ALEXANDRIA      IN    46001‐8210
CATHIE E PETERSON CUST QUINN S PETERSON UTMA IL 944 N OAK PARK AVE                                                                            OAK PARK        IL    60302‐1324

CATHIE LYNN                                     6214 HAWKINS RD                                                                               SARASOTA        FL    34241‐9369
CATHIE M DEULLEY                                PO BOX 57513                                                                                  WEBSTER         TX    77598‐7513
CATHIE MELISSA SCHERMER                         6100 CITY AVE                        APT PH301                                                PHILADELPHIA    PA    19131‐1239
CATHLEEN A PITTS                                1 PEBBLE HILL                                                                                 FAIRPORT        NY    14450‐2651
CATHLEEN ANN AUGUSTINE                          PO BOX 108                                                                                    SHEPHERD        MI    48883‐0108
CATHLEEN BREESE                                 161 CHADSEY RD                                                                                NO KINGSTON     RI    02852‐1962
CATHLEEN C PERKINS                              11220 BRIDGER CANYON                                                                          BOZEMAN         MT    59715‐8609
CATHLEEN CARMODY                                ATTN CATHLEEN MASTERSON              713 PHILADELPHIA BLVD                                    SEA GIRT        NJ    08750‐2514
CATHLEEN CASSIDY                                50 CORTLAND ST                                                                                WALDWICK        NJ    07463
CATHLEEN CORRY                                  15 VAIL RD                                                                                    POUGHKEEPSIE    NY    12603‐2623
CATHLEEN E BROWN                                2278 E WILLOW LEAF DR                                                                         MOHAVE VALLEY   AZ    86440‐8902
CATHLEEN E HALE                                 6047 HOPKINS ROAD                                                                             FLINT           MI    48506‐1655
CATHLEEN E KALT                                 6900 TUBSPRING RD 143                                                                         ALMONT          MI    48003
CATHLEEN EBNER                                  21895 ELKINS TER #300                                                                         STERLING        VA    20166‐6813
CATHLEEN G PERDOK                               4600 HICKORY RIDGE                                                                            BRUNSWICK       OH    44212‐2532
CATHLEEN HOFFMAN                                914 BILL HUNTER RD                                                                            CELINA          TN    38551‐5537
                                                 09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 642 of 850
Name                                               Address1                              Address2                Address3       Address4          City               State Zip

CATHLEEN J ABBOTT                                  10784 KINGSTON AVE                                                                             HUNTINGTON         MI    48070‐1116
                                                                                                                                                  WOODS
CATHLEEN J KOTAS                                   25 TYLER ST                                                                                    BUFFALO            NY    14214‐1111
CATHLEEN L DANKER                                  C/O CATHLEEN L ROZBORIL               2508 BROCKTON CIR                                        NAPERVILLE         IL    60565‐3194
CATHLEEN M BUCOLO                                  7181 PENDALE CIRCLE                                                                            N TONAWANDA        NY    14120‐9716
CATHLEEN M HOFFMAN                                 914 BILL HUNTER RD                                                                             CELINA             TN    38551‐5537
CATHLEEN M LAUNDRIE                                25 BRIAR CIR                                                                                   WEST SAYVILLE      NY    11796‐1608
CATHLEEN M YOUNG & JAMES E YOUNG JT TEN            2994 TES DR                                                                                    HIGHLAND           MI    48356‐2354
CATHLEEN P SHERRILL                                726 ESTES COURT                                                                                WATERFORD          MI    48327
CATHLEEN POWELL CUST MATTHEW J LITKE UTMA OH       1112 BRISTOL CHAMPION TOWNLINE        RD                                                       BRISTOLVILLE       OH    44402

CATHLEEN R STEPPE                                  1 FOREST ST                                                                                    DUXBURY            MA    02332‐2955
CATHLENE L HALTOM                                  6117 S FAIRGROUNDS                                                                             STILLWATER         OK    74074
CATHLYNN H CANNON                                  2616 RED BLUFF CT                                                                              PLANO              TX    75093‐3566
CATHOLIC CHARITIES OF BUFFALO INC                  C/O REV MSGR JOSEPH J SICARI          525 WASHINGTON STREET                                    BUFFALO            NY    14203
CATHOLIC CHILDRENS AID SOCIETY OF METROPOLITAN     26 MAITLAND ST                        TORONTO ON                             M4Y 1C6 CANADA
TORONTO
CATHOLIC DAUGHTER RETIREMENT HOME                  1335 BYRON DR                                                                                  SALINAS            CA    93901‐2102
CATHRINE FAULKNER                                  6445 ZADDOCK WOODS                                                                             AUSTIN             TX    78735
CATHRINE M BERISH CUST THOMAS A BERISH JR UGMA     878 SO FAIRWAY VILLAGE DR                                                                      GREENFIELD         IN    46140‐7100
MI
CATHRYN A SNIDER                                   PO BOX 366                                                                                     WESTVILLE          IL    61883‐0366
CATHRYN C ANDERSON                                 13414 N STATE RD                                                                               OTISVILLE          MI    48462‐9787
CATHRYN D WILLIAMS                                 8070 KNOX ST                          APT 705                                                  OVERLAND PARK      KS    66204‐1198
CATHRYN E JAMES                                    137 BROOKSIDE DRIVE                                                                            FLUSHING           MI    48433‐2658
CATHRYN E KLUMP & AMY J KLUMP JT TEN               5225 NO MCKINLEY RD                                                                            FLUSHING           MI    48433‐1115
CATHRYN E KLUMP & BETHANY A MAURER JT TEN          5225 NO MCKINLEY RD                                                                            FLUSHING           MI    48433‐1115
CATHRYN E KLUMP & TIMOTHY E KLUMP JT TEN           5225 NO MCKINLEY RD                                                                            FLUSHING           MI    48433‐1115
CATHRYN E SAVOCA                                   121 SKYMEADOW LN                                                                               LEOLA              PA    17540‐9739
CATHRYN F ROSCHE                                   4610 CRIMSON ROCKWAY                                                                           N LAS VEGAS        NV    89031‐3244
CATHRYN G PATTON                                   732 RANCH OAK DR                                                                               YUKON              OK    73099‐4220
CATHRYN GEENE                                      3006 PERLEY RD                                                                                 ENOSBURG FLS       VT    05450‐5426
CATHRYN J JENKINS                                  25404 E 273RD ST                                                                               HARRISONVILLE      MO    64701‐3366
CATHRYN J JENKINS & JENNIFER ANN JENKINS JT TEN    25404 E 273RD ST                                                                               HARRISONVILLE      MO    64701‐3366

CATHRYN J JENKINS & ROBERT B JENKINS SR JT TEN     25404 E 273RD ST                                                                               HARRISONVILLE      MO    64701‐3366

CATHRYN L BILLETT                                  512 LEXINGTON BLVD                                                                             ROYAL OAK          MI    48073‐2599
CATHRYN MICHELLE BRIDGES                           4503 BROKEN ROCK LN                                                                            SUGAR LAND         TX    77479‐4503
CATHRYN PATRICIA DUPREY                            4335 LOMBARD AVE                                                                               FREMONT            CA    94536‐4929
CATHRYN PETTIT                                     781 SCOTT RD                                                                                   RIVERDALE          GA    30296‐1551
CATHRYN R STEWART                                  400 S LAFAYETTE #703                                                                           DENVER             CO    80209‐5501
CATHRYN S GANZMAN & GEORGE A GANZMAN JT TEN        101 CAPITOL PL                                                                                 NEWARK             DE    19711‐4705

CATHRYN SUE EAGLOSKI                               2413 WINTER STREET                                                                             SAINT ALBANS       WV    25177‐3311
CATHRYNE A DE VITA                                 3810 OAKHILL TRL                                                                               CLARKSTON          MI    48348‐1447
CATHY A ALVIS                                      20138 CATALANO ST                                                                              CLINTON TWP        MI    48035‐3441
CATHY A BEAGLE                                     1554 TEMPLE AVE                                                                                CLEVELAND          OH    44124‐3012
CATHY A FINDLATER & WILLIAM J FINDLATER JT TEN     222 SILVER LAKE RD                                                                             LINDEN             MI    48451‐9131

CATHY A FOLZ                                       319 E GOEBEL DRIVE                                                                             LOMBARD            IL    60148‐1737
CATHY A FRAELICH                                   4561 COVENTRY PKWY                                                                             FORT WAYNE         IN    46804‐7109
CATHY A GUZOWSKI                                   42756 FREEPORT                                                                                 STERLING HEIGHTS   MI    48313‐2832

CATHY A GUZOWSKI & WAYNE A GUZOWSKI JT TEN         42756 FREEPORT                                                                                 STERLING HEIGHTS   MI    48313‐2832

CATHY A JOLLY                                      19297 LOONEY RD                                                                                ATHENS             AL    35613‐5144
CATHY A LYDAY                                      1166 E SLEEPYHOLLOW DRIVE                                                                      OLATHE             KS    66062‐2228
CATHY A MACPHERSON                                 6290 RAILROAD AVENUE                                                                           CANESUS            NY    14435‐9501
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 643 of 850
Name                                             Address1                             Address2             Address3          Address4          City               State Zip

CATHY A MAHLE                                    1136 BONNIEBROOK DR                                                                           MIAMISBURG         OH    45342‐6405
CATHY A POULOS                                   ATTN CATHY A DUKAS                   55 VINE STREET                                           READING            MA    01867‐2449
CATHY A RAMEY                                    3363 COUNTY ROAD 400 E                                                                        FISHER             IL    61843‐9715
CATHY A REEVES                                   3424 REDCEDAR COURT                                                                           GROVE CITY         OH    43123‐9790
CATHY A REEVES & WILLIAM F REEVES JT TEN         3424 REDCEDAR COURT                                                                           GROVE CITY         OH    43123‐9790
CATHY A RIEBESEHL CUST NICHOLAS D RIEBESEHL UTMA 8 MAURY LN                                                                                    SHREWSBURY         MA    01545
MA
CATHY A SAUNDERS                                 306 BELVIDERE AVENUR                                                                          COLUMBUS           OH    43223
CATHY A SHERLOCK                                 419 E PINEHURST                                                                               SIDNEY             OH    45365‐1616
CATHY A STEUART                                  1016 S RADDANT ROAD                                                                           BATAVIA            IL    60510‐3349
CATHY A TANTILLO                                 22 LANGFORD RD                                                                                ROCHESTER          NY    14615‐2214
CATHY A TUCKER                                   5930 LIBRARY RD                                                                               BETHEL PARK        PA    15102‐3312
CATHY A VASERIS                                  3424 STONEHOLLOW LN SW                                                                        WYOMING            MI    49509‐3199
CATHY A VIDIKAN                                  85 NORTH RANCH RD                                                                             LITTLETON          CO    80127‐5752
CATHY A WARMINGTON                               15200 PARK TER                                                                                NEW BERLIN         WI    53151‐2954
CATHY ANDERSON                                   43248 DONLEY                                                                                  STERLING HEIGHTS   MI    48314‐3521

CATHY ANN BAKER                                  3016 NE 19TH AVE                                                                              PORTLAND           OR    97212‐3360
CATHY ANN OCHS                                   17171 FOOTE TRAIL CIR                                                                         NOBLESVILLE        IN    46060
CATHY ANNE SCHWARTZ KOPPEL                       49 EAST 96TH ST                      APT 2B                                                   NEW YORK           NY    10128
CATHY AUSTIN                                     49193 LEHR DR                                                                                 MACOMB             MI    48044‐1748
CATHY BONTEMPS                                   BOX 2963                                                                                      KILL DEVIL HILLS   NC    27948‐2963
CATHY C EIKEL                                    702 ST PAUL LN                                                                                OFALLON            MO    63366‐1724
CATHY C MONROE                                   4094 RISEDORPH ST                                                                             BURTON             MI    48509‐1040
CATHY C WRASMAN                                  12016 RUNNING CREEK RD                                                                        LOUISVILLE         KY    40243‐1933
CATHY COLE                                       PO BOX 376                                                                                    LUCKEY             OH    43443
CATHY D AARON                                    10734 GORMAN AVE                                                                              LOS ANGELES        CA    90059‐1312
CATHY D BRYA                                     2644 WOODCREEK CT                                                                             CANTON             MI    48188‐2642
CATHY D CUMMINGS                                 1332 S OHIO ST                                                                                KOKOMO             IN    46902‐1862
CATHY D FERRELL                                  210 COLFAX ST                                                                                 FENTON             MI    48430‐2024
CATHY D GRIFFITH & SHAUN J GRIFFITH JT TEN       2778 N E EVELYN                                                                               GRESHAM            OR    97030‐3038
CATHY D RAY                                      2512 TRENTWOOD BLVD                                                                           ORLANDO            FL    32812‐4834
CATHY DAWN STANCHICK                             6660 MANCHESTER FARMS RD                                                                      FAIRVIEW           PA    16415‐1648
CATHY DENNIS                                     136 PINE STREET                                                                               LEWISBURG          PA    17837
CATHY E ADAMSON                                  PO BOX 43                                                                                     WHITE HOUSE        TN    37188‐0043
CATHY E RADNER & RUSSELL LINDEN JT TEN           210 FAIRFAX                                                                                   BIRMINGHAM         MI    48009
CATHY EASTON                                     1011 GRASSMERE AVE                                                                            OCEAN              NJ    07712‐4227
CATHY EILEEN SHAW                                5451 DUNBAR DR                                                                                GRAND BLANC        MI    48439‐9152
CATHY EILEEN SHAW CUST AARIN JAMES STEELE UTMA   6231 SUGARLOAF DR                                                                             GRAND BLANC        MI    48439
MI
CATHY FOLEY                                      1100 BOXWOOD                         APT 103                                                  DELRAY BEACH       FL    33445‐6108
CATHY FORD                                       5896 AUGUSTA LN                                                                               GRAND BLANC        MI    48439‐9472
CATHY FREEDLAND                                  4355 CEDAR HURST CIRCLE                                                                       LOS ANGELES        CA    90027‐2106
CATHY G BANNING                                  7939 KINSMAN ORANGEVILLE                                                                      KINSMAN            OH    44428
CATHY G HUNTLEY                                  ATTN CATHY HUNTLEY BARKER            5130 BILLY LANE                                          DUNCAN             OK    73533‐7914
CATHY G SOFFOS                                   2801 PALMYRA RD SW                                                                            WARREN             OH    44481‐9169
CATHY GROPPER                                    110 LYONS PLAIN ROAD                                                                          WESTON             CT    06883‐3000
CATHY H BRADY                                    48 TIFFANY DRIVE                                                                              REHOBOTH BEACH     DE    19971‐9729

CATHY J BAILEY                                   2001 LELAND AVE                                                                               BALTIMORE          MD    21220‐3927
CATHY J BARDEN CUST ERIC SCOTT BARDEN UGMA MI    402 E HURON AVE                                                                               VASSAR             MI    48768‐1739

CATHY J BARDEN CUST KARA LYN BARDEN UGMA MI      402 E HURON AVE                                                                               VASSAR             MI    48768‐1739

CATHY J BENTLEY                                  2208 W HIGHLAND AVE                  #2                                                       CHICAGO            IL    60659‐2112
CATHY J DIXON                                    4450 PRINCETON RD                                                                             HAMILTON           OH    45011‐9751
CATHY J LONE                                     7105 CAPTIVA DR                                                                               LANSING            MI    48917‐8860
CATHY J MAVRICK                                  1609 FAIRWAY DR                                                                               KOKOMO             IN    46901‐8734
                                              09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 644 of 850
Name                                                Address1                                Address2             Address3          Address4          City               State Zip

CATHY J NEELY                                       1270 LAKE VISTA DRIVE                                                                            CRAWFORDSVILLE     IN    47933‐8940

CATHY J REID                                        1909 55TH PLACE                                                                                  LA GRANGE          IL    60525
CATHY J RYAN                                        2902 ARIZONA AVE                                                                                 FLINT              MI    48506‐2440
CATHY J SADOWSKI                                    543 E OAKLAND                                                                                    TOLEDO             OH    43608‐1222
CATHY J SHEMBER                                     18154 DONCASTER CT                                                                               BROWNSTOWN         MI    48192‐8219
CATHY J TAFT                                        2250 ABBY COURT                                                                                  DAVISON            MI    48423‐8386
CATHY J VITHA                                       464 SUMMIT AVE                                                                                   ORADELL            NJ    07649‐1353
CATHY J WARJU                                       1217 17TH ST                                                                                     BAY CITY           MI    48708
CATHY L ADAMS                                       1231 DARR DR                                                                                     BELLEFONTAINENEI   MO    63137‐2238
                                                                                                                                                     GH
CATHY L BURTT                                       2668 PENSACOLA COURT                                                                             LAPEER             MI    48446‐3291
CATHY L CONLON                                      7872 COLLIN COURT                                                                                YPSILANTI          MI    48197
CATHY L DOUGHTY & GLENN A DOUGHTY JT TEN            975 S MELITA RD                                                                                  STERLING           MI    48659‐9533
CATHY L FROMMA                                      6359 RANGEVIEW DRIVE                                                                             DAYTON             OH    45415‐1929
CATHY L HARRIS TR REVOCABLE LIVING TRUST 05/07/91   966 STANFORD CIRCLE                                                                              ROCHESTER HILLS    MI    48309‐2334
U‐A CATHY L HARRIS
CATHY L HELMELT                                     7920 HELMART DRIVE                                                                               LAUREL             MD    20723‐1135
CATHY L MANNIX                                      146 WYNGATE DR                                                                                   KETTERING          OH    45429‐1529
CATHY L NOVAK                                       43419 APPLEWOOD                                                                                  CANTON             MI    48188‐1836
CATHY L RHODEY                                      2120 PLEASENT KNOLL LN                                                                           MONROE             NC    28112‐6179
CATHY L SMITH                                       706 EAST ELM ST                                                                                  MONROE             MI    48162‐2517
CATHY L SULLIVAN                                    3819 HOPE LN                            #2                                                       ERLANGER           KY    41018
CATHY L TAMMER                                      9167 STATE ROUTE 19                                                                              GALION             OH    44833‐9672
CATHY L WOZNEY CUST BRYANT R WOZNEY UTMA WI         N30434 N CREEK RD                                                                                ARCADIA            WI    54612‐8289

CATHY L WOZNEY CUST CHAYSE COREY WOZNEY UTMA N30434 N CREEK RD                                                                                       ARCADIA            WI    54612‐8289
WI
CATHY L WOZNEY CUST TANNOR J WOZNEY UTMA WI  N30434 N CREEK RD                                                                                       ARCADIA            WI    54612‐8289

CATHY LETTENMAIER CUST CHRISTOPHER CAREY            322 SWAN RIDGE PL                                                                                DUNCANVILLE        TX    75137‐3124
LETTENMAIER UGMA TX
CATHY LOU YPSILANTIS & LANOR C YPSILANTIS JT TEN    PO BOX 5392                                                                                      EL DORADO HILLS    CA    95762‐0007

CATHY LYNN DRIES                                    10889 CORY LAKE DR                                                                               TAMPA              FL    33647‐2992
CATHY LYNN GUTZEIT                                  570 NAPOLEAN WAY                                                                                 TRAVERSE CITY      MI    49686‐8649
CATHY LYNN QUENNEVILLE                              23730 MAUDE LEA ST                                                                               NOVI               MI    48375‐3539
CATHY LYNN SPRAGUE                                  1449 RIDGE MEADOW DR                                                                             PLANO              TX    75074‐4038
CATHY M GLENN                                       6250 N VASSAR ROAD                                                                               FLINT              MI    48506‐1240
CATHY M KUBICINA                                    4501 KIRK RD 18                                                                                  YOUNGSTOWN         OH    44515‐5368
CATHY M LAMBERT                                     125 EAST SHORE NORTH                                                                             GRAND ISLE         VT    05458‐2316
CATHY M MILLS                                       5671 WAYNICK MEADOW RD                                                                           ASHEBORO           NC    27205‐1777
CATHY M RIDDLE                                      4029 TRENTON                                                                                     DETROIT            MI    48210‐2092
CATHY M WEGRZYN                                     3130 MILLVILLE RD                                                                                LAPEER             MI    48446‐9084
CATHY MALONE                                        11507 LANDSDOWNE                                                                                 HOUSTON            TX    77035‐2419
CATHY MARIE LOGUE                                   1664 HARDY HIL RD                                                                                SAINT MARYS        WV    26170
CATHY NASH CUST JACOB NASH UTMA IL                  41 EASTFIELD                                                                                     MONTGOMERY         IL    60538
CATHY NASH CUST JOSHUA NASH UTMA IL                 41 EASTFIELD                                                                                     MONTGOMERY         IL    60538
CATHY O'BRYAN‐GOODWIN                               1311 ST GEORGE                                                                                   SAN DIMAS          CA    91773‐2323
CATHY QUINTANA                                      2154 LONE BIRCH                                                                                  WATERFORD          MI    48329‐4727
CATHY R LARSON                                      BOX 75                                                                                           LANSE              PA    16849‐0075
CATHY R SHARKEY                                     6331 S KENDALL ST                                                                                LITTLETON          CO    80123‐3854
CATHY RETZ                                          3000 N COUNTY RD                        425 W                                                    NEW CASTLE         IN    47362
CATHY S HENLEY                                      PO BOX 1835                                                                                      PICAYUNE           MS    39466‐1835
CATHY S NOFFSINGER                                  PO BOX 324                                                                                       FOREST KNOLLS      CA    94933‐0324
CATHY S PAYTON                                      102 VIA MARIA                                                                                    ALEXANDRIA         IN    46001‐1245
CATHY S WIRE                                        5640 N MULLIGAN AVE                                                                              CHICAGO            IL    60646‐6129
CATHY SELTZER                                       7605 JORDAN HOLLOW CT                                                                            MANASSAS           VA    20109‐6413
CATHY SINOWSKI                                      3918 HILLSMAN LN                                                                                 MARIETTA           GA    30062‐8724
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32           Exhibit E
                                                                                         Part 1 of 8 Pg 645 of 850
Name                                                Address1                              Address2                        Address3     Address4          City              State Zip

CATHY SKINNER                                       515 SPRING LN                                                                                        FLUSHING          MI    48433‐1928
CATHY STOCKWELL BANNISTER                           8008 INDIAN CREEK DRIVE                                                                              ORANGEVALE        CA    95662‐2136
CATHY STRONG                                        BOX 611                                                                                              GREENLAND         NH    03840‐0611
CATHY SUE RALPH                                     9589 HUNT CLUB NE TR                                                                                 WARREN            OH    44484‐1725
CATHY T STRAWBRIDGE                                 2398 FAIRWAY DR                                                                                      DYERSBURG         TN    38024‐8936
CATHY W COBLE                                       BOX 68                                                                                               PULASKI           VA    24301‐0068
CATHY WEIRICH                                       9422 MAIDSTONE MILL DRIVE EAST                                                                       JACKSONVILLE      FL    32244
CATHY WHELPLEY                                      C/O FLEMING                           2009 CAP ROCK DR                                               RICHARDSON        TX    75080‐3450
CATHY‐JO A KLADIVA                                  8473 COLONIAL LANE                                                                                   ST LOUIS          MO    63124‐2004
CATILINA PLISH                                      9223 MORRISON                                                                                        CLEMENT           MI    48170‐4125
CATRINA LOGAN BOISSON                               3031 LAWRENCEVILLE RD                                                                                LAWRENCEVILLE     NJ    08648‐1104
CATS ARE PEOPLE TOO CLUB INC                        PO BOX 1947                                                                                          WARREN            OH    44482‐1947
CAULINE M YATES II                                  25 CANTERBURY ROAD                                                                                   CHARLOTTESVILLE   VA    22903‐4700

CAUSBY L JOHNSON                               109 KINGS WAY                                                                                             W JEFFERSON       OH    43162‐1479
CAUSEY C QUILLIAN                              610 NORTH FAIR LANE DR                                                                                    KARNES CITY       TX    78118‐2607
CAVIN E NICEWANDER                             13 BELMONT DR                                                                                             STAUNTON          VA    24401‐2304
CAY RANDALL MAY                                13013 N 23RD PL                                                                                           PHOENIX           AZ    85022‐5126
CAYCE A WHALEY                                 122 CAYCE WHALEY RD SE                                                                                    CLEVELAND         TN    37323
CAYCE A WHALEY & EDNA R WHALEY JT TEN          122 CAYCE WHALEY RD SE                                                                                    CLEVELAND         TN    37323
CAYCE MULLEN CULBERTSON                        30747                                      GILMOURST ROAD                                                 CASTAIC           CA    91384‐3450
CAYETANO F RODRIGUEZ                           2402 MONTERREY AVE                                                                                        LAREDO            TX    78040‐3229
CDS & CO                                       85 RICHMOND STREET WEST                    THIRD FLOOR ATTN RUTH TRAYNOR   TORONTO ON   M5H 2C9 CANADA
CEARL C ALFORD                                 10805 SE 51ST AVE                                                                                         BELLEVIEW         FL    34420‐8302
CEASAR T WRIGHT JR                             111 N PAUL LAURENCE DUNBAR ST                                                                             DAYTON            OH    45402‐6712
CEBREN G BROWN                                 25549 STILL POND NECK RD                                                                                  WORTON            MD    21678‐1426
CECELIA A BURDETTE                             266 GLENSIDE CT                                                                                           DAYTON            OH    45426‐2734
CECELIA A CLAIR                                1513 MAPLEWOOD AVE N E                                                                                    WARREN            OH    44483‐4167
CECELIA A GALLO                                15 RUSSELL AVE                                                                                            ELMONT            NY    11003‐4532
CECELIA A GORHAN                               PO BOX 388                                 3709 RANSOMVILLE RD                                            RANSOMVILLE       NY    14131‐9768
CECELIA A HERMAN                               100 ANDALUSIA AVE                          UNIT 312                                                       CORAL GABLES      FL    33134
CECELIA A WILLIAMS                             8508 GRAND VIEW DR                                                                                        GRAND BLANC       MI    48439‐7373
CECELIA ANN CLASH                              122 JUNIPER LN                                                                                            BALTIMORE         MD    21222‐6238
CECELIA ANN REBELE                             623 TRENTON WAY                                                                                           BURLINGAME        CA    94010‐2736
CECELIA B LITTLEFIELD                          224 W GRANT VLG                                                                                           HINSDALE          IL    60521‐4913
CECELIA B TOCHA                                6964 TOAD HOLLOW ROAD                                                                                     LITTLE VALLEY     NY    14755‐9728
CECELIA C BARTALO                              98 WILLOWEN DRIVE                                                                                         ROCHESTER         NY    14609‐3237
CECELIA C JUSZCZEC                             9924 MANORFORD DR                                                                                         PARMA HEIGHTS     OH    44130‐3131
CECELIA C MALINOWSKI CUST CAROL ANN MALINOWSKI 55 MONTICELLO DR                                                                                          WETHERSFIELD      CT    06109‐3934
UGMA CT
CECELIA DALESSANDRO & VINCENT J LANDERS JT TEN 6 BEACH AVE                                                                                               NORTHPORT         NY    11768‐2803

CECELIA DE CASTONGRENE & RUSSELL DE                 PO BOX 66396                                                                                         SEATTLE           WA    98166‐0396
CASTONGRENE JT TEN
CECELIA DENISE ROBBINS                              4014 ELFIN AV                                                                                        LOUISVILLE        KY    40207‐2024
CECELIA E BELK                                      223 BEECHTREE CIRCLE                                                                                 MOUNT AIRY        NC    27030
CECELIA E HARRIS                                    3000 N PEEBLY                                                                                        MIDWEST CITY      OK    73110‐1508
CECELIA E RINALDI CUST ARTHUR RINALDI III UTMA PA   110 BROOK DR RD2                                                                                     MOSCOW            PA    18444‐9675

CECELIA F MICHELA                                   1925 PALOMAR OAKS WAY                 SUITE 300                                                      CARLSBAD          CA    92008‐6526
CECELIA F PALIWODA                                  636 VINCENT                           PO BOX 955                                                     PICKNEY           MI    48169‐0955
CECELIA G DEMAURO                                   320 COLONY ST                                                                                        MERIDEN           CT    06451‐2053
CECELIA G GRAYSON & JACQUELINE KAY FRITTS JT TEN    3644 HAVEN DRIVE                                                                                     NEW PORT RICHEY   FL    34652‐5720

CECELIA G SIEMINSKI                                 32448 MEADOWBROOK ST                                                                                 LIVONIA           MI    48154‐3034
CECELIA GENSLER                                     258 E BROAD ST                                                                                       NEWTON FALLS      OH    44444‐1709
CECELIA HARAN‐SHARP                                 732 CLOSE CIR                                                                                        WEBSTER           NY    14580‐9174
CECELIA J BURBINE                                   1 ELIZABETH DR                                                                                       PAWCATUCK         CT    06379‐1953
CECELIA J JOHNSON                                   9526 MANOR ST                                                                                        DETROIT           MI    48204‐2536
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 646 of 850
Name                                                Address1                               Address2             Address3          Address4          City             State Zip

CECELIA J THUMANN                                   3286 KENNEDY BLVD                                                                               JERSEY CITY      NJ    07307‐4212
CECELIA J WALSH & MARGARET M SPAUDE JT TEN          1638 LAKEVIEW AVE                                                                               ROCKY RIVER      OH    44116‐2409
CECELIA L COOPER & JUANITA COOPER JT TEN            PO BOX 27611                                                                                    LANSING          MI    48909‐0611
CECELIA LEE                                         2833 MOUNTAIN RIDGE RD                                                                          WEST COVINA      CA    91791‐3759
CECELIA M BOTT & CATHERINE FAY JT TEN               437 NORTH GROVE ST                                                                              VALLEY STREAM    NY    11580‐2018
CECELIA M COLOMBO & ROBERT A COLOMBO JT TEN         909 CASSIE DRIVE                                                                                JOLIET           IL    60435‐2937

CECELIA M GAVIN                                     262 GROVE                                                                                       HIGHLAND PARK    MI    48203‐2567
CECELIA M KIZER                                     3302 56TH AVE #201                                                                              KENOSHA          WI    53144
CECELIA M TUCKER                                    11408 N MERRILLVILLE RD                                                                         IRONS            MI    49644‐8882
CECELIA MARIE ULANSKI                               4469 STACY CT                                                                                   CLIO             MI    48420‐9408
CECELIA NOVAJOSKY                                   1280 MOTICHKA RD                                                                                MADISON TWP      PA    18444‐7046
CECELIA O BENDER                                    413 PENWOOD RD                                                                                  SILVER SPRINGS   MD    20901‐2719
CECELIA R BURGWALD                                  21880 ROCCA RD                                                                                  IRONTON          MN    56455‐2029
CECELIA R HOWARD                                    11203 E GOODALL RD                                                                              DURAND           MI    48429‐9741
CECELIA R PEELE                                     3751 S RANGELINE RD                                                                             W MILTON         OH    45383‐9617
CECELIA RECHLIN                                     C/O CECELIA JONES                      701 TREETOP TRAIL                                        CHARLOTTE        MI    48813
CECELIA ROSE AGABIT                                 2 HOLLYHOCK WAY                                                                                 MERCERVILLE      NJ    08619‐1416
CECELIA S OSTRANDER                                 205 MILL OAKS LN                                                                                HOLLY            MI    48442‐8999
CECELIA SHORT SPINKS                                4368 ROCK CT                                                                                    WALDORF          MD    20602‐1529
CECELIA SILVERI                                     7840 SABAL LAKE DR                                                                              PORT ST LUCIE    FL    34986
CECELIA T FERGUSON & THOMAS J FERGUSON JT TEN       4724 POND LANDING COURT                                                                         CONCORD          NC    28025

CECELIA VELLOCCI                                    190 SCHORN                                                                                      LAKE ORION       MI    48362‐3676
CECELIA W SYLVESTER                                 1540 HWY 31                                                                                     MANDERSON        WY    82432‐9708
CECELIA W WILLIAMS                                  1612 WOODRIDGE RD                                                                               TUSCALOOSA       AL    35406‐1912
CECI G TAGLIER                                      PO BOX 59                              R D KARRVILLE RD                                         PORT MURRAY      NJ    07865‐0059
CECIL A BENGE                                       RR #1 BOX 155B                                                                                  NEW ROSS         IN    47968‐9744
CECIL A BOLLING                                     67476 HIDDEN OAK LANE                                                                           WASHINGTON       MI    48095‐1835
CECIL A BOWMAN                                      7297 LARSON RD SW                                                                               S BOARDMAN       MI    49680‐9541
CECIL A BURR JR                                     25441 OSBORNE RD                                                                                COLUMBIA STA     OH    44028‐9568
CECIL A HUGHES                                      10904 N 775W                                                                                    ELWOOD           IN    46036‐9042
CECIL A KENT & ELIZABETH J KENT JTTN                19344 STRATFORD RD                                                                              DETROIT          MI    48221‐1847
CECIL A NAYLOR                                      786 KENILWORTH AVE                                                                              SHEFFIELD LAK    OH    44054‐1233
CECIL A POTTER                                      450 HEBRON LANE                                                                                 MIDDLETON        TN    38052‐4155
CECIL A REED                                        3239 MICHINGAN RD                      RT 1                                                     DIMONDALE        MI    48821‐9801
CECIL A STRAIN                                      1331 HIGHLAND DR                                                                                DUNCANVILLE      TX    75137‐3221
CECIL A TOWERY                                      8831 TWIN CREEK DR                                                                              FRANKLIN         OH    45005‐4043
CECIL ARMSTRONG JR                                  14502 LAQUINTA                                                                                  GRANDVIEW        MO    64030‐4110
CECIL ATKINSON SHULER                               1620 ATKINSON RD                                                                                CHESTER          SC    29706‐5503
CECIL B COMMAILLE                                   PO BOX 624                                                                                      BETHEL           CT    06801‐0624
CECIL BETHANY                                       2031 W LENAWEE ST                                                                               LANSING          MI    48915‐1176
CECIL BREWER FISH                                   10200 MAGID N W                                                                                 ALBUQUERQUE      NM    87114‐4672
CECIL BROWN JR                                      300 SOUTH BOULEVARD WEST                                                                        PONTIAC          MI    48341‐2461
CECIL C ALLEN                                                                                                                                       SYCAMORE         SC    29846
CECIL C FRANCK                                      503 N ATLANTIC AVE                                                                              SOUTHPORT        NC    28461‐3503
CECIL C HILLIKER                                    208 ELM ST PO BOX 173                                                                           VERNON           MI    48476‐0173
CECIL C KINNISON                                    32 ARGO MARGARET RD                                                                             TRUSSVILLE       AL    35173‐4300
CECIL C PARKER                                      4231 LOWRY AVE                                                                                  NORWOOD          OH    45212‐2815
CECIL C PHIPPS                                      139 EMMANUEL                                                                                    FRANKLIN         NC    28734‐6926
CECIL C SELLERS & GLENDA S SELLERS TR UA 04/21/08   10229 OLD PLANK RD                                                                              JACKSONVILLE     FL    32220
SELLERS LIVING TRUST
CECIL C SPADAFORA JR                                1166 MARTIN RD                                                                                  INDIANA          PA    15701‐7433
CECIL C YOUNG                                       PO BOX 705                                                                                      CLEVELAND        GA    30528‐0012
CECIL COLE                                          1298 HWY 19 S                                                                                   RED BAY          AL    35582‐4336
CECIL COMPTON                                       2930 SEMINOLE ROAD                                                                              ANN ARBOR        MI    48104
CECIL CRAIG                                         1373 FOUR SEASONS BLVD                                                                          TAMPA            FL    33613‐2328
CECIL D BALDES                                      31 HANCOCK DR                                                                                   ROSEVILLE        CA    95678‐1101
CECIL D COMMAILLE                                   PO BOX 624                                                                                      BETHEL           CT    06801‐0624
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 647 of 850
Name                                             Address1                             Address2             Address3          Address4          City             State Zip

CECIL D HORTON JR                                4070 ITALY HILL RD                                                                            BRANCHPORT       NY    14418‐9615
CECIL D MAGARGEE                                 49 COVERT AVENUE                                                                              SHARPSVILLE      PA    16150‐1401
CECIL D MC CUTCHEON                              3007 23RD ST                                                                                  PARKERSBURG      WV    26101‐3813
CECIL D YEAGLEY                                  1060 HENSON RD                                                                                RED BLNG SPGS    TN    37150‐5325
CECIL DAVENPORT                                  PO BOX 276                                                                                    ARTEMUS          KY    40903‐0276
CECIL DONOVAN                                    623 HARVARD AVE                                                                               ELYRIA           OH    44035‐6631
CECIL DONOVAN & HELEN K DONOVAN JT TEN           623 HARVARD AVE                                                                               ELYRIA           OH    44035‐6631
CECIL E BARBAUD JR                               12608 FEE FEE RD                                                                              ST LOUIS         MO    63146‐3825
CECIL E CLEVENGER                                HC 87 BOX 94                                                                                  CAMDEN‐ON‐       WV    26208‐9706
                                                                                                                                               GAULEY
CECIL E HARMON                                   PO BOX 749                                                                                    WYLIE            TX    75098‐0749
CECIL E JUDY                                     7941 HASKELL                                                                                  KANSAS CITY      KS    66109
CECIL E LIETKE                                   1996 DOOVYS ST                                                                                AVON             OH    44011‐1114
CECIL E LONG                                     2107 WEST ROAD                                                                                KINSTON          NC    28501‐2245
CECIL E NEWTON                                   10620 WALDRON RD                                                                              JEROME           MI    49249‐9759
CECIL E NEWTON & JEANINE D NEWTON JT TEN         10620 WALDRON ROAD                                                                            JEROME           MI    49249‐9759
CECIL E REYNOLDS                                 342 W CHERRY ST                                                                               CEDAR SPRINGS    MI    49319‐9679
CECIL E SHELTON & CATHERINE L SHELTON JT TEN     7516 CRESCENT DR                                                                              RAYTOWN          MO    64138‐1638
CECIL E SWAIN JR CUST DAVID G SWAIN UGMA SC      1325 EDWARD DR                                                                                MONCKS CORNER    SC    29461‐9258
CECIL E SWAIN JR CUST EDWIN B SWAIN UGMA SC      1818 SOMERSET CI                                                                              CHARLESTON       SC    29407‐3719

CECIL E SWAIN JR CUST JOHN C SWAIN UGMA SC       1818 SOMERSET CIR                                                                             CHARLESTON       SC    29407‐3719
CECIL E VAN HORN & ANNA RUTH VAN HORN JT TEN     ATT RD                               4190 PR                                                  METAMORA         MI    48455

CECIL E VANHORN                                  4190 PRATT RD                                                                                 METAMORA         MI    48455‐9715
CECIL E WEBB                                     1584 N 1845 E                                                                                 LAYTON           UT    84040‐2220
CECIL E YANCEY SR                                10346 CONE HILL DR                                                                            SAN ANTONIO      TX    78245‐1340
CECIL E YOUNGS                                   G 4020 E PIERSON RD                                                                           FLINT            MI    48506
CECIL EDWARD BLOWE                               276 PEACH                                                                                     BUFFALO          NY    14204‐1003
CECIL F BOURNS & MARY MARGARET BOURNS JT TEN     2136 PEARSON RD                                                                               MILFORD          MI    48380‐4144

CECIL F BROWN CUST RICHARD ALLEN BROWN           3490 N C HWY 134                                                                              ASHEBORO         NC    27203‐1108
CECIL F DAY JR & SHIRLEY J DAY JT TEN            344 TURKEY RUN LN                                                                             PALMYRA          VA    22963‐5041
CECIL F PAYNE                                    15626 FRIEND AVE                                                                              MAPLE HTS        OH    44137‐2832
CECIL F PAYTON                                   1028 SUNRIDGE TRL S                                                                           PEVELY           MO    63070‐2015
CECIL F PETERS                                   312 OVERLAND TRL                                                                              MIAMISBURG       OH    45342‐2211
CECIL F PIERCE & MARILYN M PIERCE JT TEN         751 HILLTOP DR APT 32                                                                         REDDING          CA    96003
CECIL G FREED                                    118 LAURA HILL ROAD                                                                           SAINT PETERS     MO    63376‐3619
CECIL G FREED & ELIZABETH R FREED JT TEN         118 LAURA HILL RD R2                                                                          ST PETERS        MO    63376‐3619
CECIL G GRANT                                    12212 WIMBLETON STREET                                                                        UPPER MARLBORO   MD    20774‐1625

CECIL G SELVOG                                   321 PRAIRIEWOOD CIRCLE               S W #204                                                 FARGO           ND     58103‐4619
CECIL GODFREY                                    1715 WALDORF NW                                                                               WALKER          MI     49544‐1431
CECIL H BAUER & VIRGINIA M BAUER JT TEN          6811 LESLEE CREST                                                                             WEST BLOOMFIELD MI     48322‐3725

CECIL H CARR                                     1702 COUNTRY CLUB DR                                                                          MIDLAND          TX    79701‐5717
CECIL H JENKINS                                  1126 90TH AVE                                                                                 OAKLAND          CA    94603‐1306
CECIL H LUEBKE                                   6894 FOX LN                                                                                   WATERFORD        MI    48327‐3505
CECIL H MAYS                                     56 S GARLAND AVE                                                                              DAYTON           OH    45403‐2218
CECIL H PRIME JR                                 17999 OLD PALESTINE                                                                           CROFTON          KY    42217‐8354
CECIL H STITES                                   307 TAGUE STREET TRLR 17                                                                      GREENFIELD       IN    46140‐2280
CECIL H USHER & ELIZABETH M USHER JT TEN         8411 BLACK STALLION PLACE                                                                     VIENNA           VA    22182‐6007
CECIL HARPER                                     866 N STEWART ROAD                                                                            MANSFIELD        OH    44905‐1546
CECIL HOSKINS                                    PO BOX 7402                                                                                   FLINT            MI    48507‐0402
CECIL HURD & CLEYODA L HURD JT TEN               83 WILEY PLACE                                                                                BUFFALO          NY    14207‐1620
CECIL I DOBBS                                    1749 KILLDEER CT                                                                              SUNNYVALE        CA    94087‐4822
CECIL J CARRERAS                                 2374 DUFFIELD ROAD                                                                            LENNON           MI    48449‐9706
CECIL J CLAY                                     327 E KLINE RD                                                                                GIRARD           OH    44420‐2625
CECIL J COSTELLO                                 13330 NORTH STATE ROAD                                                                        OTISVILLE        MI    48463‐9787
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 648 of 850
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

CECIL J FARIST                                   1788 HAMMOND WOODS CIR                                                                        MARIETTA        GA    30008‐4483
CECIL J HURD JR                                  83 WILEY PLACE                                                                                BUFFALO         NY    14207‐1620
CECIL J PETERS                                   525 EAST SQUARE LAKE ROAD                                                                     TROY            MI    48085‐3143
CECIL J WAKEFIELD                                4 84 ADAMS RD                                                                                 DBL SPRINGS     AL    35553‐9413
CECIL J WESTFALL & DORIS G WESTFALL JT TEN       PO BOX 1402                                                                                   CASSELBERRY     FL    32707
CECIL J WHITEMAN                                 10162 CREEKWOOD TRAIL                                                                         DAVISBURG       MI    48350‐2059
CECIL JOHN TAYLOR                                MONAVEEN LODGE                       ISLE OF SEIL         BY OBAN ARGYLL    GREAT BRITAIN
CECIL K BROCK                                    3515 BROCK LANE                                                                               BEDFORD         IN    47421‐9799
CECIL K COX                                      354 SO BRINKER AVE                                                                            COLUMBUS        OH    43204‐1954
CECIL KISSELBURG                                 1459 RUSSELL ST                      APT 5                                                    YPSILANTI       MI    48198‐5992
CECIL L BRYANT                                   316 W YPSILANTI AVE                                                                           PONTIAC         MI    48340‐1667
CECIL L CONNALLY                                 3117 SPRING LAKE DR                                                                           BEDFORD         TX    76021‐3323
CECIL L CONNER                                   8735 NORRIS RD R 1                                                                            DELTON          MI    49046‐9711
CECIL L GARMON                                   8327 BUCHANAN AVE                                                                             SAINT LOUIS     MO    63114‐6213
CECIL L JOHNROE                                  6196 WEST PLAINS HWY                                                                          EATON RAPIDS    MI    48827
CECIL L KNOX                                     ATTN GEORGIA MAE KNOX                PO BOX 208                                               HODGE           LA    71247‐0208
CECIL L MARCKEL                                  13800 BLUEPOINT DR                                                                            KALKASKA        MI    49646‐8552
CECIL L MARCKEL & MARCIA A MARCKEL JT TEN        13800 BLUEPOINT DR                                                                            KALKASKA        MI    49646‐8552
CECIL L MCSHURLEY                                12118 S KERNWOOD DR                                                                           MUNCIE          IN    47302‐8715
CECIL L NORONHA                                  1410 E COURT ST                                                                               FLINT           MI    48503‐2039
CECIL L POWELL                                   4571 MOUNTAIN VIEW TRAIL                                                                      CLARKSTON       MI    48348‐2348
CECIL L ROGERS                                   10389 CLINTON TRAIL                                                                           MULLIKEN        MI    48861‐9735
CECIL L SHANAFELT                                12080 N STATE ROAD 15                                                                         N MANCHESTER    IN    46962‐8602
CECIL L SMITH JR                                 2034 POLLARD PARKWAY                                                                          BATON ROUGE     LA    70808‐8857
CECIL L STILLWELL                                29933 CARLYSLE                                                                                INKSTER         MI    48141‐2759
CECIL L TRUSSELL                                 2310 S DYE RD                                                                                 FLINT           MI    48532‐4126
CECIL LILLY                                      7053 CAMDEN COURT                                                                             U CITY          MO    63130‐1914
CECIL LORANCE                                    3001 N KENT DR                                                                                MUNCIE          IN    47304‐9532
CECIL M BROOKS                                   1540 CHARLOTTE DRIVE                                                                          FERGUSON        MO    63135‐1234
CECIL M FARMER                                   23 EVA LANE                                                                                   STOCKBRIDGE     GA    30281‐5177
CECIL M HOCKER                                   3218 PECAN DRAW CT                                                                            SUGAR LAND      TX    77479‐1922
CECIL M PURCELL                                  3437 US HIGHWAY 52                                                                            BROWN COUNTY    OH    45121‐8782
CECIL M ROTHWELL JR                              PO BOX 322                                                                                    WARSAW          MO    65355‐0322
CECIL M SMITH                                    3929 GOVERNORS CIR                                                                            LOGANVILLE      GA    30052‐2902
CECIL M SUTHERLAND                               3502 STALLION DR                                                                              KILLEEN         TX    76549‐4407
CECIL M VANSICKLE                                10594 E BARNUM RD R1                                                                          WOODLAND        MI    48897
CECIL MAGGARD                                    1208 W 16TH ST                                                                                MUNCIE          IN    47302‐3081
CECIL MEADE                                      15916 LINCOLN LAKE TRAILS                                                                     CEDAR SPRINGS   MI    49319
CECIL MORGAN BARBOUR                             405 GRAFTON AVE                                                                               DAYTON          OH    45406‐5202
CECIL N HAMMONDS TR UA 05/14/87 THE CECIL N      9820 PEMBROKE LANE                                                                            LEAWOOD         KS    66206‐2321
HAMMONDS TRUST
CECIL N SCHULBACH                                301 MESQUITE HILL DR                                                                          ARLINGTON       TX    76002‐4479
CECIL N SCHULBACH                                301 MESQUITE HILL                                                                             ARLINGTON       TX    76002‐4479
CECIL O BEWLEY                                   753 HUTCHERSON RD                                                                             RUSSELLVILLE    AR    72802‐2086
CECIL O HAMILTON                                 PO BOX 753                                                                                    DARDANELLE      AR    72834‐0753
CECIL O HARDIN                                   1545 SAINT JULIAN ST                                                                          SUWANEE         GA    30024‐3684
CECIL R BAILEY                                   1910 STOCKTON WALK LN                                                                         SNELLVILLE      GA    30078‐2372
CECIL R BELL & CAROLYN H BELL JT TEN             10121 COUNTY ROAD 44                                                                          LEESBURG        FL    34788‐2407
CECIL R DANIELS                                  PO BOX 324                                                                                    MERRILLRIDGE    MI    48637‐0324
CECIL R FAVEL                                    16326 HUNT RD D                                                                               HILLMAN         MI    49746‐8459
CECIL R KERLEY                                   19861 E RIVER RD                                                                              COLUMBIA STA    OH    44028‐9496
CECIL R LUTZ                                     5645 SOM CENTER ROAD                                                                          WILLOUGHBY      OH    44094‐3011
CECIL R MARTIN JR                                4083 LOTUS DR                                                                                 WATERFORD       MI    48329‐1231
CECIL R MARTIN SR & CAROLIN H MARTIN TR MARTIN   122 EUCLID                                                                                    PONTIAC         MI    48342‐1113
FAM TRUST UA 06/10/98
CECIL R MCREYNOLDS                               3151 SOUTH UTICA STREET                                                                       DENVER          CO    80236‐2108
CECIL R POOLE III                                6208 WINTHROP DR                                                                              RALEIGH         NC    27612‐2146
CECIL R RAINES                                   1784 KENNERLY RD                                                                              ORANGEBURG      SC    29118‐9160
CECIL REX ARD & SUZANNE ARD JT TEN               BOX 144                                                                                       WEBB            AL    36376‐0144
                                            09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 649 of 850
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

CECIL RHODES                                     125 SPRING ST                                                                                     BARBOURVILLE       KY    40906‐1350
CECIL ROBBINS                                    4750 THOMAS RD                                                                                    TRENTON            OH    45067‐9719
CECIL ROBERT PHILLIPS                            11447 CADIZ RD                                                                                    CAMBRIDGE          OH    43725‐8753
CECIL ROSS                                       469 MILLARD DR                                                                                    FRANKLIN           OH    45005‐2069
CECIL S ROBB                                     5327 SE 89TH STREET                                                                               BERRYTON           KS    66409‐9615
CECIL SIMPSON                                    3907 FLORAL AVE                                                                                   NORWOOD            OH    45212‐3924
CECIL T DRIVER                                   RR 3 BOX 349                                                                                      JACKSONVILLE       TX    75766‐9558
CECIL T EDDY                                     504 HAPPY HOLLOW RD                                                                               BEE BRANCH         AR    72013‐9380
CECIL T EWERS                                    15102 CAULFIELD AVE                                                                               NORWALK            CA    90650‐6809
CECIL T JOHNSON                                  319 MILL BRANCH RD                                                                                WARWICK            GA    31796‐5405
CECIL T PARKER                                   PO BOX 1578                                                                                       RICHLANDS          NC    28578
CECIL T RICHARDSON                               5971 BEATY LANE                                                                                   HAMILTON           OH    45011‐2201
CECIL T RICHARDSON & JUANITA M RICHARDSON JT TEN 5971 BEATY LANE                                                                                   HAMILTON           OH    45011‐2201

CECIL T ROBINSON                                   13619 DORNOCH DR                                                                                ORLANDO            FL    32828‐8807
CECIL TERREL                                       4101 BINGHAM DR                                                                                 HARRAH             OK    73045‐5967
CECIL THOMPSON                                     PO BOX 96                                                                                       CLIO               MI    48420‐0096
CECIL W ELLIOTT                                    6480 S 200 E                                                                                    MARKLEVILLE        IN    46056‐9776
CECIL W GUFFEY JR                                  900 BILLICKS LANE                                                                               ELIZABETH          PA    15037‐2105
CECIL W HARDEN                                     8508 E 93RD TERRACE                                                                             KANSAS CITY        MO    64138‐4623
CECIL W HELVEY                                     9318 S HUDSON AV                                                                                OKLAHOMA CITY      OK    73139‐8643
CECIL W KNARR                                      19546 MOSSY OAK CT                                                                              BROOKSVILLE        FL    34601‐6645
CECIL W LIVERETT                                   501 PINE CIR                                                                                    WHITMAN            MA    02382‐2356
CECIL W MURPHY                                     PO BOX 261                                                                                      FAIRBORN           OH    45324‐0261
CECIL W SPENCER                                    685 E SR 28                                                                                     ALEXANDRIA         IN    46001‐8915
CECIL W TIBBS                                      9402 CHEYENNE                                                                                   DETROIT            MI    48228‐2602
CECIL W TRENT                                      512 N VALENCIA CIR SW                                                                           VERO BEACH         FL    32968‐6000
CECIL WARD                                         PO BOX 09663                                                                                    DETROIT            MI    48209‐0661
CECIL WAYNE WILLIAMS                               PO BOX 627                                                                                      FRASER             CO    80442‐0627
CECIL WILLIAMS                                     18013 MANSFIELD                                                                                 DETROIT            MI    48235‐3145
CECIL WOODMAN                                      165 BLOOMFIELD BLVD                                                                             BLOOMFIELD HILLS   MI    48302‐0509

CECILE A GRANT                                     89‐83 VANDERVEER ST                                                                             QUEENS VILLAGE     NY    11427‐2411
CECILE B FROST                                     8455 LINELEY AVE APT 214                                                                        NORTHRIDGE         CA    91325
CECILE B KERWIN TR CECILE B KERWIN TRUST UA        1721 N 75TH CT                                                                                  ELMWOOD PARK       IL    60707‐4132
09/24/98
CECILE BALDWIN MOSES                               511 MAC ARTHUR AVE                                                                              GREENWOOD          MS    38930‐2451
CECILE BOUCHER TR CECILE BOUCHER LIVING TRUST UA   206 BARONNE CRT                                                                                 WHITE LAKE         MI    48383
05/27/97
CECILE C PERRIN                                    9800 MONROE RD                                                                                  DURAND             MI    48429‐1318
CECILE C TAYLOR                                    13617 N IVEY MILL RD                                                                            CHESTERFEILD       VA    23838‐3304
CECILE COLE JANSSEN                                807 CHARLESTON DR                                                                               VICTORIA           TX    77904‐3823
CECILE D BOYLE                                     5620 MARTUS RD                                                                                  NORTH BRANCH       MI    48461‐8991
CECILE DAVIS RICHARDS                              4153 S NEW HAVEN PL                                                                             TULSA              OK    74135‐2729
CECILE E LAUDERMAN                                 4871 GIBSON WY                                                                                  SHARPSVILLE        PA    16150‐9003
CECILE GILMER                                      5143 ST LAWRENCE                                                                                DETROIT            MI    48210‐2162
CECILE I KOLE                                      5711 S SAGOLA                                                                                   NEW ERA            MI    49446‐8908
CECILE J SULLIVAN                                  10 SEABEE ST                                                                                    BEDFORD            NH    03110‐6457
CECILE L GRISEZ                                    1213 WAR EAGLE DRIVE                                                                            CROSSVILLE         TN    38572‐9009
CECILE M BROWN CUST BRIDGIT A BROWN UGMA MI        205 CHERRYLAND                                                                                  AUBURN HILLS       MI    48326‐3350

CECILE M CLOUTIER                                  77 MAIN ST                                                                                      STURBRIDGE         MA    01566‐1203
CECILE M CYR TOD LINDA M CYR                       PO BOX 315                                                                                      MADAWASKA          ME    04756‐0315
CECILE M DAVIS                                     PO BOX 2275                                                                                     CAROL CITY         FL    33055
CECILE M GANDOLINI                                 1404 GARDENIA DR                                                                                METAIRIE           LA    70005‐1155
CECILE M RATHOF                                    PO BOX 41                                                                                       SAINT GEORGES      DE    19733‐0041
CECILE MARIE SWEENEY                               38075 FAIRMOUNT BL                                                                              CHAGRIN FALLS      OH    44022‐6619
CECILE MEZGER                                      146 MOROSS                                                                                      MT CLEMENS         MI    48043‐2246
CECILE P BOUCHER                                   PO BOX 236                                                                                      FOSTER             RI    02825‐0236
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 650 of 850
Name                                           Address1                              Address2             Address3          Address4          City              State Zip

CECILE PLETCHER & HARVEY PLETCHER JT TEN        231 DARLA DR NE                                                                               NEWARK            OH    43055‐8938
CECILE V MYRICK & CELENA L MYRICK JT TEN        1326 GOOSE NECK RD                                                                            BALTIMORE         MD    21220‐4027
CECILIA A CABOS                                 26123 TWAIN PL                                                                                STEVENSON RNH     CA    91381‐1117
CECILIA A CONDEFER                              122 SUMERFIELD RD                                                                             WOOLWICH          NJ    08085‐2504
CECILIA A GRIFFIN                               19225 STANTON AVENUE                                                                          CASTRO VALLEY     CA    94546‐3228
CECILIA A INOSENCIO                             7887 MCCLURE ROAD                                                                             EATON RAPIDS      MI    48827
CECILIA A RAK                                   29302 YORKSHIRE LANE                                                                          WARREN            MI    48093‐5113
CECILIA A WALLAERT                              2507 N CAROLINA                                                                               SAGINAW           MI    48602‐3810
CECILIA A WAMPLER                               1003 MARGHERITA CT                                                                            RED LION          PA    17356‐8660
CECILIA AGUILA                                  3105 OLD FARM COURT                                                                           FLINT             MI    48507‐1245
CECILIA B CONNORS & LORRAINE T CONNORS COYLE JT 8525 CRESTVIEW                                                                                STERLING HGTS     MI    48312‐6026
TEN
CECILIA B GLICKFIELD                            4330 PENNSWOOD DR                                                                             MIDDLETOWN        OH    45042‐2932
CECILIA B PROZORIS                              8256 N OSCEOLA AVE                                                                            NILES             IL    60714‐2522
CECILIA BIELAK                                  5 IDLEWILD AVE                                                                                SAYREVILLE        NJ    08872‐1515
CECILIA BRIERTON                                W2922 COUNTY RD D                                                                             BIRCHWOOD         WI    54817‐8905
CECILIA C ALLOR THOMAS J ALLOR & PATRICIA ANN   34 MILLPOND TRAIL                                                                             SAGINAW           MI    48603
ALLOR JT TEN
CECILIA C JADCZAK                               292 WASHINGTON ROAD                                                                           SAYREVILLE        NJ    08872‐1829
CECILIA C LEE                                   3298 LAGO DE COMO PL                                                                          SAN JOSE          CA    95136‐1211
CECILIA C PAINO TR CECILIA C PAINO REV TR UA    6324 LANSDOWNE AVE                                                                            ST LOUIS          MO    63109‐2217
03/17/99
CECILIA CRUZ                                    2413 TWILIGHT DR                                                                              ORLANDO           FL    32825‐7416
CECILIA DEPRIMA                                 6912‐21ST AVE                                                                                 BROOKLYN          NY    11204
CECILIA DOBRIN                                  11811 TAPESTRY LN                                                                             MINNETONKA        MN    55305
CECILIA DUDLEY                                  166 MORRISSEY ROAD                                                                            NEW CASTLE        WY    82701‐9400
CECILIA E DELOUGHARY                            425 N PLATTEN ST                                                                              GREEN BAY         WI    54303‐4339
CECILIA E QUESENBERRY                           ATTN CECILA QUESENBERRY              ROEBERG              202 E BUCK RD                       WILMINGTON        DE    19807‐2147
CECILIA FRANK                                   4617 INDEPENDANCE DR                                                                          BRADENTON         FL    34210‐1902
CECILIA G BROOKS                                3178 BERTHA AVE                                                                               FLINT             MI    48504
CECILIA G KRAUSE & JEFFREY A KRAUSE JT TEN      2511 PALOMINO                                                                                 WARREN            MI    48089
CECILIA GALLAGHER                               1708 N LINCOLN STREET                                                                         WILMINGTON        DE    19806‐2310
CECILIA GARCIA                                  313 MAY DRIVE                                                                                 ADRIAN            MI    49221‐4444
CECILIA H WARPOLE                               10 PEACH RD                                                                                   ELKTON            MD    21921‐4106
CECILIA H ZABINSKI                              47 ATLANTIC AVE                                                                               STATEN ISLAND     NY    10304‐4001
CECILIA JEGLINSKI & MARY ELLEN DAVEY JT TEN     15 CALENDULA CT E                                                                             HOMOSASSA         FL    34446‐5934
CECILIA JOYCE BOYLE COE                         1648 WELCH ROAD                                                                               WALLED LAKE       MI    48390‐2763
CECILIA L ZEBRE                                 4928 TOPAZ DR                                                                                 CHEYENNE          WY    82009‐5698
CECILIA M BARKER                                2505 E MARY LUE ST                                                                            INVERNESS         FL    34453‐9575
CECILIA M EBERLE                                9 SWITZERLAND ROAD                                                                            HICKSVILLE        NY    11801‐1623
CECILIA M JOHNSON                               5560 NORTH WIND CT                                                                            VENTURA           CA    93003‐0240
CECILIA M MARKOWSKI                             247 PARKVIEW DR                                                                               ROCHESTER         NY    14625‐1043
CECILIA M MILLER                                801 STATE ST                                                                                  EMMETSBURG        IA    50536
CECILIA M MITCHELL                              33703 HAZELWOOD ST                                                                            WESTLAND          MI    48186‐4525
CECILIA M MYER                                  5616 W SPRING KNOLL DR                                                                        BAY CITY          MI    48706‐5614
CECILIA M WALCZAK TR CECILIA M WALCZAK TRUST UA 16601 GOLFVIEW DR                                                                             LIVONIA           MI    48154‐2139
05/13/98
CECILIA MARCHIANDO & ANDREW MARCHIANDO JT TEN 2764 N 4201 STATE ROAD                                                                          SHERIDAN          IL    60551

CECILIA MARX                                   3 LOCUST PL                                                                                    WAYNE             NJ    07470‐4015
CECILIA MCDADE EX UW KENNETH MCDADE            223 GRANGE RD                         RATHFARNHAM          DUBLIN            16 IRELAND
CECILIA R RABESS                               3 BURNHAM CT                                                                                   SCOTCH PLAINS     NJ    07076‐3151
CECILIA R TAYLOR                               5482 S CAMARGO RD                                                                              LITTLETON         CO    80123‐2924
CECILIA SAARIO                                 444 PARKS FARM RD                                                                              CRYSTAL FALLS     MI    49920‐8619
CECILIA V TIERNEY                              200 EAST VILLAGE RD APT 332                                                                    NEWARK            DE    19713
CECILIA VINT                                   3612 SAN PABLO LN                                                                              SANTA BARBARA     CA    93105‐3222
CECILIA WALSH                                  1108 OAK LANE                                                                                  WESTERN SPRINGS   IL    60558‐2114

CECILIA Y BURRELL                              13341 S NORFOLK                       APT 13252                                                DETROIT           MI    48235‐4317
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32               Exhibit E
                                                                                      Part 1 of 8 Pg 651 of 850
Name                                              Address1                             Address2                   Address3              Address4          City               State Zip

CECILIE A GOODRICH                                304 DELANCEY ST                                                                                         PHILADELPHIA       PA    19106‐4209
CECILIE HAIMERL                                   3104 THEALL RD                                                                                          RYE                NY    10580
CECILLE A REEVES                                  1167 SALT MARSH CIR                                                                                     PONTE VEDRA        FL    32082‐2543
CECILY A HOOGERHYDE & DAVID W HOOGERHYDE JT       2110 MEANDER DR                                                                                         ANCHORAGE          AK    99516‐7311
TEN
CECILY A SPITZER                                  17 MCINTYRE STREET                                                                                      BRONXVILLE         NY    10708‐1305
CECILY JANE HAMMOND                               6747 FULTON COURT                                                                                       TROY               MI    48098‐1768
CECLIA A SWICKLAS & JAMES D SWICKLAS JT TEN       333 BROOK ST                                                                                            BRISTOL            CT    06010‐4504
CECLIA L POWERS                                   1414 GREENVIEW AVE                                                                                      JANESVILLE         WI    53548‐2819
CED L SMITH                                       11412 CLARIDON TROY RD                                                                                  CHARDON            OH    44024‐9470
CEDAR INCORPORATED                                ATTN W M WELLS                       62116 WINSTON DR                                                   BETHESDA           MD    20817
CEDE & CO                                         DEPOSITORY TRUST COMPANY             ATTN STOCK DIVIDEND DEPT   55 WATER ST 50TH FL                     NEW YORK           NY    10041‐0004
CEDE & CO                                         PO BOX 20                            BOWLING GREEN STN                                                  NEW YORK           NY    10274
CEDOLA F SMITH                                    1211 BOYNTON DR                                                                                         LANSING            MI    48917‐5707
CEDRIC A BALL                                     PO BOX 3354                                                                                             DUBLIN             OH    43016‐0165
CEDRIC A BARNES                                   1244 JUNE AV                                                                                            SAINT LOUIS        MO    63138‐2910
CEDRIC A JACKSON                                  3603 BOSTONS FARM DR                                                                                    BRIDGETON          MO    63044‐3169
CEDRIC B RAGSDALE                                 1501 CONDO CANDINA REEF              CONDADO                                          907 PUERTO RICO
CEDRIC D COX                                      43424 ARBORVIEW LN                                                                                      BELLEVILLE         MI    48111‐3347
CEDRIC E BEEGLE                                   8706 CHAMBERSBURG RD                                                                                    DAYTON             OH    45424‐3949
CEDRIC G GOULD & CLARA B GOULD JT TEN             1130 SUSSEX LANE                                                                                        FLINT              MI    48532‐2656
CEDRIC J JAMES                                    1306 ROGERS AVE                                                                                         BROOKLYN           NY    11210‐1432
CEDRIC M WARREN & BONITA B WARREN JT TEN          BOX 982                                                                                                 GAMBIER            OH    43022‐0982
CEIL S MC DANIEL TR UA 08/09/95                   4040 N W 4TH CRT                                                                                        COCONUT CREEK      FL    33066‐1808
CEILING INVESTMENT CLUB                           1445 E SYCAMORE                                                                                         CANTON             IL    61520‐1526
CELEBRATION ON THE LAKE CHURCH                    PO BOX 1401                                                                                             MABANK             TX    75147‐1401
CELEDONIO G ROMERO                                2529 PINEWOOD ST                                                                                        DEL MAR            CA    92014‐2938
CELESLIE E EPPS                                   PO BOX 802                                                                                              LAURINBURG         NC    28353‐0802
CELEST A CONKLIN                                  89 OLD BETHLEHEM ROAD                                                                                   PERKASIE           PA    18944‐3801
CELESTA LYNNE DETCHWORTH                          320 WEST MAIN STREET                                                                                    PARAGOULD          AR    72450
CELESTA Y HERIOT                                  3403 GRANTLEY RD                                                                                        BALTIMORE          MD    21215‐7337
CELESTE A PUGLIESI                                17 SALEM DRIVE                                                                                          STONY BROOK        NY    11790‐1322
CELESTE A SCANLON                                 3902 MACALPINE ROAD                                                                                     ELLICOTT CITY      MD    21042‐5323
CELESTE B GROSVENOR                               41252 TARRAGON DR                                                                                       STERLING HEIGHTS   MI    48314‐4061

CELESTE C KNOX                                    8627 MILLET DR                                                                                          OVERLAND           MO    63114‐5803
CELESTE DE MARTINI                                768 N MAYFAIR AVE                                                                                       DALY CITY          CA    94015‐3044
CELESTE E MIZEROCK CUST CELESTE L MIZEROCK UGMA   ATTN CELESTE L MIZEROCK BROWN        4412 OLIVE TREE CIR                                                LAS VEGAS          NV    89129‐5949
PA
CELESTE F BOWEN                                   BOX 1008                                                                                                TIFTON             GA    31793‐1008
CELESTE GIBSON                                    1029 E HORTTER ST                                                                                       PHILADELPHIA       PA    19150‐3103
CELESTE HERNDON                                   732 E 6TH ST                                                                                            PLAINFIELD         NJ    07062‐1802
CELESTE I LOMBARDO & JOSEPH R LOMBARDO JT TEN     32036 KELLY RD                                                                                          ROSEVILLE          MI    48066‐1026

CELESTE K FERNANDES                            835 BLOSSOM WAY                                                                                            HAYWARD            CA    94541‐2003
CELESTE L REQUARTH                             203 VINE ST                                                                                                PANA               IL    62557‐1649
CELESTE L TALLEY                               APT 6                                   215 NORTH AVE                                                      SYCAMORE           IL    60178‐1229
CELESTE M FRIONI                               6186 MCCANDLISH RD                                                                                         GRAND BLANC        MI    48439‐7431
CELESTE M NELLIS                               PO BOX 844                                                                                                 OAK LAWN           IL    60454‐0844
CELESTE M STIGLIANI                            15A W 64TH ST                                                                                              NEW YORK           NY    10023‐6702
CELESTE R HERMAN                               18217 MANORWOOD CIRCLE                                                                                     CLINTON TWP        MI    48038‐1285
CELESTE R MULCRONE & MARY ELLEN MULCRONE JT    10850 MONTICELLO                                                                                           PINCKNEY           MI    48169‐9326
TEN
CELESTE ROSE MULCRONE & JOHN W MULCRONE JT TEN 10850 MONTICELLO                                                                                           PINCKNEY           MI    48169‐9326

CELESTE S CHERNENKOFF                             30830 GREENLAND                                                                                         LIVONIA            MI    48154‐3230
CELESTE TUSCANO & NATALIE L CORDA & ALBERT        139 PARK PLACE                                                                                          CHESHIRE           CT    06410‐2147
LAUDANO JT TEN
CELESTE VANESSA POLLMAN                           198 ORCHARDALE DR                                                                                       ROCHESTER HILLS    MI    48309‐2241
                                                  09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 652 of 850
Name                                                Address1                               Address2             Address3          Address4          City              State Zip

CELESTE Y KAPALLA                                   14616 BROWN RD                                                                                  SUNFIELD          MI    48890‐9770
CELESTIA A CUPAL CUST CASSANDRA UHAL UTMA IL        8614 PLAINFIELD RD                                                                              LYONS             IL    60534‐1048

CELESTIA ANN STEWART                                848 EISENHOWER DRIVE                                                                            MOUNT LEBANON     PA    15228‐1786
CELESTINA GARCIA                                    1540 NEW YORK                                                                                   LANSING           MI    48906‐4540
CELESTINA REYES                                     3052 OLEARY RD                                                                                  FLINT             MI    48504‐1710
CELESTINE FINNEY                                    6 ASPEN COURT                                                                                   HIGHLAND MILLS    NY    10930‐2814
CELESTINE H CLYDE                                   307 MICA CIR                                                                                    CARSON CITY       NV    89706‐7057
CELESTINE M CAMPOLI                                 230 COLUMBUS AVE                                                                                PITTSFIELD        MA    01201‐5002
CELESTINE MC ALLISTER                               710 COSTMARY LN                                                                                 KNIGHTDALE        NC    27545‐7626
CELESTINE MURRAY                                    555 E HAZELWOOD AVE                    APT 422                                                  RAHWAY            NJ    07065‐5431
CELESTINE REEVES                                    27475 FRANKLIN RD                      APT 201                                                  SOUTHFIELD        MI    48034‐8278
CELESTINE S KNOTT                                   1044 WINDIG OAK                                                                                 CEDAR HILL        TX    75104‐6212
CELESTINE SCUNGIO                                   2960 BETHEL CHURCH RD                  APT 106                                                  BETHEL PARK       PA    15102‐1678
CELESTINO A FRANCO                                  404 SECOND                                                                                      PONTIAC           MI    48340‐2823
CELESTINO DEOLIVEIRA                                APT 506                                1750 NE 191 ST                                           NORTH MIAMI       FL    33179‐4249
                                                                                                                                                    BEACH
CELESTINO GARCIA JR                                 3415 N BREMEN                                                                                   MILWAUKEE         WI    53212‐1720
CELESTINO P CHAMARRO                                5441 OAK PARK DR                                                                                CLARKSTON         MI    48346‐3949
CELESTYNE BROOKS                                    5515 MADISON RD                        APT 4A                                                   CINCINNATI        OH    45227‐1679
CELIA A BARBIERI                                    6350 E OSBORN RD                                                                                SCOTTSDALE        AZ    85251
CELIA A HUDSON                                      7245 HAWTHORNE CIRCLE                                                                           GOODRICH          MI    48438‐9239
CELIA A JASINISKI TR CELIA A JASINSKI REVOCABLE     1500 EAGLE TRAIL                                                                                OXFORD            MI    48371‐6063
TRUSTUA 11/25/02
CELIA ASHE BATCHELOR                                1502 GROVE STREET                                                                               WILSON            NC    27893‐2344
CELIA B JAQUEZ                                      1611 KNOX ST                                                                                    SAN FERNANDO      CA    91340‐1135
CELIA C SANTAYANA                                   9018 AVEBURY STONE CIR                                                                          MISSOURI CITY     TX    77459‐2432
CELIA CHILCUTT INMAN                                415 MIDENHALL WAY                                                                               CARY              NC    27513‐5584
CELIA CHILDRESS REMBERT                             1415 MARTINS POINT RD                                                                           WADMALAW          SC    29487‐6927
                                                                                                                                                    ISLAND
CELIA E WILKINSON                                   2 BAYLIS COURT                                                                                  TARRYTOWN         NY    10591‐3602
CELIA FEIGENBAUM                                    1651 E 7TH ST                                                                                   BROOKLYN          NY    11230‐7002
CELIA GOLDBERG & HILARY FINKEL JT TEN               RR 4 BOX 43                                                                                     DALTON            PA    18414‐9719
CELIA HELLER                                        15 W 72ND ST 10‐F                                                                               NEW YORK          NY    10023‐3442
CELIA J KOTCHOUNIAN                                 3420 WEYGANT                                                                                    ROCHESTER         MI    48306‐1263
CELIA M BATTISTE                                    6235 PONTIAC LAKE RD                                                                            WATERFORD         MI    48327‐1853
CELIA M ROBERTSON                                   PO BOX 554                                                                                      GRAPEVIEW         WA    98546‐0554
CELIA MAURI                                         4208 WEST 56 STREET                                                                             CLEVELAND         OH    44144‐1848
CELIA N BAUSS                                       103 LAKEWINDS COURT                                                                             INMAN             SC    29349‐8274
CELIA PLATZELMAN CUST BRENDA PLATZELMAN U/THE       C/O BRENDA TANNENBAUM                  852 HAVERTON                                             SAINT LOUIS       MO    63141‐6235
MISSOURI U‐G‐M‐A
CELIA RUTH MARDEN                                   ATTN CELIA MARDEN LITMAN               43 SARATOGA LN                                           HARLEYSVILLE     PA     19438‐2978
CELIA SIEGEL CUST DINA SIEGEL UGMA NY               158 ORCHARD ROAD                                                                                DEMAREST         NJ     07627‐1718
CELIA SUGARMAN                                      160 WINSLOW CIRCLE                                                                              WALLED LAKE      MI     48390‐4502
CELIA T CICALESE                                    10132 ARMANI DR                                                                                 BOYNTON BEACH    FL     33437‐3742
CELIA T LASEK & BARBARA J OBRIEN TEN COM            156 PARKEDGE DRIVE                                                                              CHEEKTOWAGA      NY     14225‐4028
CELIA THOMAS                                        5441 36TH AVE S W                                                                               SEATLE           WA     98126‐2825
CELIA VIRGO & SAM R VIRGO JT TEN                    6062 UNIVERSITY DR                                                                              DEARBORN HEIGHTS MI     48127‐2578

CELIA W HOSHAL                                      3615 AUTUMNWOOD LN                                                                              OKEMOS             MI   48864‐5972
CELIA WARREN CUST MICHAEL DAVID WARREN UGMA         21817 MADISON                                                                                   SAINT CLAIR SHORES MI   48081‐3721
NV
CELIABELLE A GUERIN                                 2308 VILLAGE WOODS DR                                                                           GRAND BLANC       MI    48439‐2515
CELICE N TARBUTTON & KENT S TARBUTTON JT TEN        11292 31ST ST N                                                                                 LAKE ELMO         MN    55042‐9459

CELIDEA SPIZZO TR CELIDEA SPIZZO TRUST UA 7/15/93   710 N RUSSELL                                                                                   MT PROSPECT       IL    60056‐2030

CELINA A AUCLAIR                                    35 DEERBROOK WAY                                                                                CUMBERLAND        RI    02864
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                 Exhibit E
                                                                                        Part 1 of 8 Pg 653 of 850
Name                                                Address1                             Address2                     Address3            Address4                 City              State Zip

CELINA Z PERKINS TR CELINA Z PERKINS FAM TRUST UA   2739 SOSCOL AVE                                                                                                NAPA              CA    94558‐3592
01/04/96
CELINE L'HEUREUX & RICHARD L'HEUREUX JT TEN         10 COVENTRY CT                                                                                                 WALLINGFORD       CT    06492‐6004
CELINE R KRAEUTER                                   5141 CEDAR HILLS BLVD                                                                                          BELLE VERNON      PA    15012‐3883
CELINE S KINGSLEY                                   524 UNIVERSITY AVE                                                                                             BUFFALO           NY    14223‐2646
CELINIA ANN ONDECK                                  358 BROAD ST EXTENDED                                                                                          DELTA             PA    17314‐8501
CELITA CHAMBLISS                                    1459 CHATEAU VERT #UNIT‐A                                                                                      YPSILANTI         MI    48197‐1292
CELLESTINA GUZMAN                                   100 ERDMAN PLACE                     APT 14A                                                                   BRONX             NY    10475‐5357
CELLIE M HARRIS                                     2310 ADAMS AVE                                                                                                 FLINT             MI    48505‐4902
CELSO C CARDANO                                     8024 WILLIS AVE                                                                                                PANORAMA CITY     CA    91402‐5806
CELSO DUQUE                                         239 LUTHER                                                                                                     DETROIT           MI    48217‐1440
CELSO E LOPEZ                                       BOX 500                              SAN SEBASTIAN                                    685 PUERTO RICO
CELSO E NAVARRO                                     GM DO BRASIL AVNIDA GOIAS 1805       SAO CAETANO DO SUL           SAO PAULO BRASIL0   BRAZIL
CELSO W GARCIA                                      21711 SCHOENBORN ST                                                                                            CANOGA PARK       CA    91304‐3436
CENTER FOR AUTO SAFETY                              SUITE 410                            2001 S STREET N W                                                         WASHINGTON        DC    20009‐1125
CENTER FOR CLINICAL & BIOLOGICAL RESEARCH INC       C/O MICHAEL SULLIVAN MD              1835 EL CAJON BLVD SUITE B                                                SAN DIEGO         CA    92103‐2501

CENTER FOR STUDY OF RESPONSIVE LAW                  PO BOX 19367                                                                                                   WASHINGTON        DC    20036‐9367
CENTORIA J BYAS                                     G‐6398 E COLDWATER ROAD                                                                                        FLINT             MI    48506
CENTRAL BAPTIST CHURCH                              3301 LAKIN                                                                                                     GREAT BEND        KS    67530‐3600
CENTRAL UNITED METHODIST CHURCH                     801 S HAYNE ST                                                                                                 MONROE            NC    28112‐6016
CENTURY INVESTMENT CLUB                             827 WYANDOTTE                                                                                                  ROYAL OAK         MI    48067‐3367
CEOLA L SMITH                                       1501 BEACH ST                                                                                                  FLINT             MI    48503‐3751
CEPHIS E LUCAS                                      2032 RADCLIFFE AVE                                                                                             INDIANAPOLIS      IN    46227‐8647
CEPHUS A JOHNSON                                    PO BOX 463                                                                                                     HAYWARD           CA    94557‐0463
CERENA MANGUM                                       1957 HILTON RD                       #2                                                                        CLEVELAND         OH    44112‐1525
CERENA MANGUM U/GDNSHP OF EARLENE YOUNG &           1957 HILTON ROAD                                                                                               CLEVELAND         OH    44112‐1525
WILLA M MANGUM
CERESSIA GRESHAM                                    12508 REXFORD                                                                                                  CLEVELAND         OH    44105‐2670
CERETHA L JOHNSON                                   3920 N WINTHROP AVE                                                                                            INDIANAPOLIS      IN    46205‐2832
CERON E PAINTER                                     11 DEWEY STREET                                                                                                WEST ALEXANDRIA   OH    45381‐1237

CERRY COKE SLOAN                                    103 NORTHCASTLE                                                                                                LONGVIEW          TX    75604‐3544
CESAR A G GARCIA VERDOUS                            GM ESPANA SA                         APARTADO 375                 50080 ZARAGOZA SP   SPAIN
CESAR A GARCIA VERDOUS                              PASEO REYES DE ARAGON 18             CASA C 2DO IZQ               ZARAGOZA            SPAIN
CESAR CEDENO                                        1255 LENDL LN                                                                                                  LAURENCEVILLE     GA    30044‐6969
CESAR E MILLAN                                      19 RIDGEMONT DR                                                                                                LANOKA HARBOR     NJ    08734‐1634
CESAR FERNANDES & DOMITILIA FERNANDES JT TEN        16 FRANKLIN AVE                                                                                                YONKERS           NY    10705‐2805

CESAR OBARTI SEGRERA                                GENERAL MOTORS ESPANA S L            APARTADO 375                 50 080 ZARAGOZA     SPAIN
CESAR Q CASTANEDA & TERESITA A CASTANEDA            10619 NE 123RD ST                                                                                              KIRKLAND          WA    98034‐3971
COMMUNITY PROPERTY
CESARE ANTONELLI                                    1000 E MARKET                                                                                                  WARREN            OH    44483‐6602
CESARE PRATI                                        VIA N PICCOLOMINI 34                 ROME                                             165 ITALY
CESARE PRATI                                        VIA N PICCOLOMINI 34                 ROME                                             ITALY
CESAREO A CABAN                                     HC 4 44001                           LARES                                            00669 PUERTO RICO                                ‐9431
CESAREO QUINTANA                                    13630 BOMBAY ST                                                                                                SYLMAR            CA    91340‐1004
CESARIO D BRITO                                     352 N BROADWAY                                                                                                 YONKERS           NY    10701‐2001
CESARIO HUERTA JR                                   1610 WHEELER                                                                                                   SAGINAW           MI    48602‐1152
CESIDIO C CERCONE                                   5955 SE CONGRESSIONAL PLACE                                                                                    STUART            FL    34997‐8692
CETHA JANE WALKINGTON                               2461 SILVERSTRAND                                                                                              HERMOSA BEACH     CA    90254‐2664
CEYRON C CRAN                                       400 WEST 38TH STREET                                                                                           WILMINGTON        DE    19802‐2102
CEZAR AZAR                                          4470 FIRETHORN CT                                                                                              WARREN            MI    48092‐4194
CGM CUST FBO HEATHER SHOREK IRA                     2103 GRAMERCY AVE                                                                                              TORRANCE          CA    90501
CGM TR FBO D'ARCY SCHROEDER IRA UA 04/15/03         144 NORTH LINCOLN PLACE                                                                                        MONROVIA          CA    91016

CH MANAGEMENT CONSULTANTS                           ATTN DEREK HARDING                   6‐10 FORSTAL ROAD            AYLESFORD KENT      ME20 7AU GREAT BRITAIN
CHA SANG KU                                         339 UPTON PYNE DR                                                                                              BRENTWOOD         CA    94513‐6458
CHACE T CARPENTER                                   3498 HAMPTON AVE                                                                                               NASHVILLE         TN    37215‐1408
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 654 of 850
Name                                           Address1                               Address2             Address3          Address4          City             State Zip

CHAD A DUNNIGAN                                PO BOX 276                                                                                      WEST BRANCH      MI    48661‐0276
CHAD A SETZER                                  PO BOX 31                                                                                       INTERCESSION     FL    33848‐0031
CHAD A STEVENSON                               PO BOX 3201                                                                                     ALTON            IL    62002‐9301
CHAD AM ROBERTSON & BARBARA E ROBERTSON JT TEN 625 CANE CREEK MTN RD                                                                           TELLICO PLAINS   TN    37385‐5878

CHAD B WHITE                                   9 COLLIER LANE                                                                                  ATLANTA          GA    30305‐3901
CHAD DALE                                      4414 UNION CHURCH RD                                                                            FLOWERY BRANCH   GA    30542‐3654

CHAD DUIS                                      56312 S 364 RD                                                                                  JENNINGS         OK    74038‐5408
CHAD E HIPSHIER                                437 E 24TH ST                                                                                   BALDWIN          MI    49304‐8638
CHAD EASTON CUST MICHAEL EASTON UTMA WI        9149 W TOPP RD                                                                                  EVANSVILLE       WI    53536‐8733
CHAD EDWARD POYNOR                             305 FOREST DR                                                                                   COLUMBIA         TN    38401‐6512
CHAD G CHAMBERLIN                              15205 10TH CONCESSION                  SCHOMBERG ON                           L0G 1T0 CANADA
CHAD G HEMMER                                  10027 AGORA PL                                                                                  FORT WAYNE       IN    46804
CHAD H JACKSON                                 2091 N 500 E                                                                                    MARION           IN    46952‐8557
CHAD HART & MRS CHERYL HART JT TEN             18704 CO RD GG 7/10                                                                             LAMAR            CO    81052‐9400
CHAD HOLLAND PHILLIPS                          830 W MARKET ST                        APT 3                                                    GREENSBORO       NC    27401‐1845
CHAD JEREL DONLEY                              1512 JENNIFER DR                                                                                LITTLE ROCK      AR    72212‐3826
CHAD K OTOSHI                                  1233 7TH AVENUE                                                                                 HONOLULU         HI    96816‐2643
CHAD KROUT                                     347 MILL ST                                                                                     BOYERTOWN        PA    19512‐8435
CHAD KULLY                                     13409 43 T                             EDMONTON AB                            T5A 2Y7 CANADA
CHAD L CAGLE                                   323 E SURREY RD                                                                                 FARWELL          MI    48622‐9707
CHAD M HILL                                    508 E SWIHART ST                                                                                COLUMBIA CITY    IN    46725‐2706
CHAD M JOHNSON                                 1014 N LAFAYETTE AVE                                                                            ROYAL OAK        MI    48067‐1216
CHAD M SANGSTER                                3645 RIDGEVIEW BLVD                                                                             WENATCHEE        WA    98801‐9096
CHAD M ZUDEL & DEBRA S ZUDEL JT TEN            3162 N HENDERSON RD                                                                             DAVISON          MI    48423‐8113
CHAD MICHAEL KOPF                              501 PATRICIA FAYE CT                                                                            BROOKVILLE       OH    45309‐8691
CHAD MOORE                                     1777 STONY TERRACE DR                                                                           ST LOUIS         MO    63021‐7783
CHAD R MULLIGAN                                935 S 19TH ST                                                                                   FORT DODGE       IA    50501‐5934
CHAD RYAN JABER                                18427 FOCH                                                                                      LIVONIA          MI    48152‐3812
CHAD S HARDIN                                  5169 WITHERSPOON WA                                                                             HOLT             MI    48842‐9578
CHAD STAHL                                     1446 STARLING LANE                                                                              CHERRY HILL      NJ    08003‐2719
CHAD VACHA                                     4328 E BROOMSAGE DR                                                                             FAYETTEVILLE     AR    72701‐7757
CHAD VERNON ROMMERDALE                         14 PEBBLE HILL DR                                                                               BRANDON          MS    39042‐2141
CHAD W FRANKLIN                                25 LEILA LANE                                                                                   ASHVILLE         NC    28806‐8479
CHAD WIRZ                                      6003 FOX CREST CIRCLE                                                                           MIDLOTHIAN       VA    23112‐6353
CHADRICK ALLEN STANLEY CUST MEREDITH ROSE      27 CROSSWIND ROAD                                                                               FRIES            VA    24330‐3662
STANLEY UTMA VA
CHADWICK A BIBLE                               2029 ASHBROOK XING                                                                              LELAND         NC      28451‐7689
CHADWICK A GOETZ                               1006 HEMLOCK FARMS                                                                              HAWLEY         PA      18428‐9066
CHADWICK B WILLIAMS                            999 N DOHENY DR 802                                                                             WEST HOLLYWOOD CA      90069

CHADWICK FULTON                                19624 MARINE VIEW DR SW                                                                         NORMANDY PARK    WA    98166‐4118
CHADWICK JIMEDD BERRYMAN & MARGARET SOLECKI    17045 KIYONA CT                                                                                 EAGLE RIVER      AK    99577
BERRYMAN JT TEN
CHADWICK NANNEY                                910 W MARION ST                                                                                 SHELBY        NC       28150‐5046
CHADWICK T BROWN                               82 MYSTIC HARBOR                                                                                BRADFORDWOODS PA       15015‐1313

CHAE HAK YI                                    40 CALLE ARAGON                        UNIT A                                                   LAGUNA WOODS     CA    92637‐3903
CHAE Y PHILLIPS                                201 WISTOWA TRAIL                                                                               DAYTON           OH    45430‐2015
CHAI JOTIKASTHIRA                              28304 MT STEPHEN                                                                                CANYON CNTRY     CA    91351‐3141
CHAI SUM TONG                                  21712 SENECA AYR DR                                                                             BOYDS            MD    20841‐2006
CHAIM DYM & MOLLIE DYM JT TEN                  54 MARINER WAY                                                                                  MONSEY           NY    10952‐1653
CHAIM M EHRMAN                                 6735 N RICHMOND                                                                                 CHICAGO          IL    60645‐4220
CHAIN S SANDHU                                 10313‐7 MILE ROAD                                                                               NORTHVILLE       MI    48167
CHAIN S SANDHU & SATWANT K SANDHU JT TEN       10313 7 MILE RD                                                                                 NORTHVILLE       MI    48167‐9116
CHALERMKIA PUMKLIN                             6081 CALKINS RD                                                                                 FLINT            MI    48532‐3202
CHALLAINE M EMERSON                            7006B BOWNESS RD NW                    CALGARY AB                             T3B 0G4 CANADA
CHALLIS B BAKER                                PO BOX 396                                                                                      EAST LYNN        WV    25512‐0396
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 655 of 850
Name                                            Address1                              Address2                  Address3     Address4          City              State Zip

CHALLIS M DIETZ                                 5758 BOWMILLER RD                                                                              LOCKPORT          NY    14094‐9051
CHALMER G KARNES & SHIRLEY E KARNES JT TEN      745 PAULA STREET                                                                               VANDALIA          OH    45377‐1134
CHALMER J LALE                                  5201 WOODHAVEN COURT                  APT# 213                                                 FLINT             MI    48532‐4171
CHALOTTE M PFEIFER                              13406 TERRA SANTA DR                                                                           STERLING HGHT     MI    48312‐4165
CHAMP SIMS                                      1005 RUTH ST                                                                                   FLINT             MI    48505‐2252
CHAMPION W MUHAMMAD                             3258 BRICK CHURCH PIKE                APT F118                                                 NASHVILLE         TN    37207‐2835
CHAMPIONS 4‐H CLUB                              ATTN LOU SCHRAM                       12711 SOUTH 68TH AVENUE                                  PAPILLION         NE    68133‐2613
CHAN F LAM                                      1097 COTTINGHAM DR                                                                             MOUNT PLEASANT    SC    29464‐3551

CHAN KIRKPATRICK                                2453 STATE ROUTE 39                                                                            PERRYSVILLE       OH    44864‐9746
CHANA KIRSCHENBAUM                              1232 E 7 ST                                                                                    BROOKLYN          NY    11230‐4004
CHANA NAPARSTEK                                 102‐18 64TH AVE                                                                                FOREST HILLS      NY    11375‐1548
CHANCENI T HAMILTON                             2220 NOLEN DRIVE                                                                               FLINT             MI    48504‐4885
CHANCEY H DORN                                  7900 WILSON RD                                                                                 KALEVA            MI    49645‐9645
CHANCEY W CALDWELL                              3009 PACIFICA                                                                                  CARROLLTON        TX    75007‐5622
CHANCHAI GARIGARN                               8947 NOBLE AVE                                                                                 NORTH HILLS       CA    91343‐5520
CHANCY A SHAW                                   RT 1 BOX 186A                                                                                  CRESTON           WV    26141‐9700
CHANDIS B MACDONALD TR CHANDIS B MACDONALD      4200 FRUITLAND RD                                                                              MARYSVILLE        CA    95901‐9570
REVOCABLE TRUST UA 09/28/01
CHANDLER B LEE                                  12865 FOLLY QUARTER RD                                                                         ELLICOTT CITY    MD     21042‐1273
CHANDLER WONDERLY                               3411 STATE RD                                                                                  BAKERSFIELD      CA     93308‐4537
CHANDON W DAVIS                                 6600 CONWAY RD                                                                                 HARRISBURG       PA     17111‐4601
CHANDORIAN L PORTIS                             2870 LAFEUILLE AVE APT D                                                                       CINCINNATI       OH     45211‐7609
CHANDOS L BAILEY III                            24 PEARL STREET                                                                                EAST BRIDGEWATER MA     02333‐1742

CHANDRA A GRANGER                               PSC 473 BOX 864                                                                                FPO               AP    96349‐5555
CHANDRA KAHN                                    3892 GREEN AVE                        APT B                                                    LOS ALAMITOS      CA    90720‐3321
CHANDRA L FANT                                  1320 BUCHANAN STREET                                                                           SANDUSKY          OH    44870‐4608
CHANDRA SOOKNANAN                               10 DREWBROOK COURT                    WHITBY ON                              L1N 8M9 CANADA
CHANDRAKANT PAREKH                              6529 GERMANTOWN AVENUE                APT 2R                                                   PHILADELPHIA      PA    19119
CHANDRAKANT RAMANLAL GANDHI CUST SEJAL          2611 HWY 31 S                                                                                  DECATUR           AL    35603‐1505
GANDHI UTMA AL
CHANDRAN B SANTANAM                             817 LAKEWOOD DR                                                                                ROCHESTER HILLS   MI    48309‐1010
CHANDRAN N KYMAL                                4301 ANN ARBOR SALINE RD                                                                       ANN ARBOR         MI    48103‐9780
CHANEL BRUNDIDGE                                8904 MINOCK                                                                                    DETROIT           MI    48228‐3067
CHANEL D WATKINS                                26 NONA                                                                                        TROTWOOD          OH    45426‐3011
CHANEL M MCGEE                                  G1268 E HARVARD AVENUE                                                                         FLINT             MI    48505
CHANG J LEE                                     4164 TREEMONT LN                                                                               SUWANEE           GA    30024‐2368
CHANG WANG                                      60 ST REMY ST                         NEPEAN ON                              K2J 1H6 CANADA
CHANG Y LEE                                     2408 W YAHOO TRAIL                                                                             PHOENIX           AZ    85085‐5002
CHANH M BUI                                     1332 ROCHELLE AVE                                                                              DAYTON            OH    45429‐5122
CHANKA K BALDEOSINGH                            8969 CEDARGATE PLACE                                                                           HUBER HEIGHTS     OH    45424‐1178
CHANNIE B LAWSON                                2970 WOODHILL                                                                                  MEMPHIS           TN    38128‐5462
CHANNING L YOUNG                                2571 PENDLETON DR                                                                              EL DORADO HILLS   CA    95762‐4005
CHANTAL E MICHAUD                               2194 VANCE RD                                                                                  DELTONA           FL    32738‐5036
CHANTAL MALEBRANCHE & ALIX MALEBRANCHE JT TEN   4963 PALEMETTO DUNES COURT                                                                     SAN JOSE          CA    95138‐2131

CHANTELLE A OSMAN                               5923 E NORTH LANE                                                                              SCOTTSDALE        AZ    85253‐1109
CHAO‐LIN LOU & MRS KO‐WEI LOU JT TEN            1380 E JACARANDA CIRCLE                                                                        ARCADIA           CA    91006
CHAOUKI A ZEGHIR                                7443 HORGER                                                                                    DEARBORN          MI    48126‐1403
CHAOYANG ZENG                                   2126 BRISTOL PARK CIR                                                                          TURLOCK           CA    95382
CHAP T KING II                                  233 N REISNER ST                                                                               INDIANAPOLIS      IN    46222‐4348
CHAPIN GILMORE STRICKLAND                       109 PLAIN ROAD WEST                                                                            S DEERFIELD       MA    01373
CHAPIN R BRACKETT & FAY W BRACKETT JT TEN       8324 WASHBURN AVE SOUTH                                                                        BLOOMINGTON       MN    55431‐1664
CHAPMAN D SWEAT                                 PO BOX 1144                                                                                    BLACKSHEAR        GA    31516‐3644
CHAPMAN M HALE JR & MABEL B HALE JT TEN         1540 LAKESTONE DR                                                                              TRINITY           FL    34655‐7191
CHAPMAN MARSHALL TR CHAPMAN MARSHALL TRUST      7440 S W 117 ST                                                                                MIAMI             FL    33156‐4558
UA 10/23/98
CHAPMANS POINT OAK GROVE CEMETERY INC           ATTN BRENDA OXLEY                     35210 TRIGGER RD                                         MODESTO           IL    62667‐7045
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 656 of 850
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

CHARBIL N SMITH                                    435 SENECA ST                                                                                  BETHLEHEM       PA    18015‐1437
CHARETTE C BONKOWSKI                               8675 VICKIE LYNN LN                   APT 8                                                    BRIGHTON        MI    48116
CHARICE MARIE TOMS                                 24 GREATWOOD WAY                                                                               POOLER          GA    31322
CHARIS S FRIER                                     ATTN CONNELL                          BOX 866                                                  SIASCONSET      MA    02564‐0866
CHARISE BUNDESEN                                   4559 WATERFORD RD                                                                              CLARKSTON       MI    48346‐3448
CHARISSA B DAVID                                   12571 SANFORD ST                                                                               LOS ANGELES     CA    90066‐6934
CHARISSA D ELLIS                                   4701 STAGGERBRUSH RD                  APT 225                                                  AUSTIN          TX    78749‐1040
CHARISSA D WIELAND                                 1230 MOUNT AETNA RD                                                                            HAGERSTOWN      MD    21742‐6540
CHARISSE HERRON ROBINSON EX EST CHARLES HERRON     14317 OXFORD DR                                                                                LAUREL          MD    20707

CHARISSE WAKELAND                                  4721 PALMYRA STREET                                                                            NEW ORLEANS     LA    70119‐5825
CHARISTINE DYE                                     6649 FOX MEAD COURT                                                                            FREDERICK       MD    21702
CHARITA D ROBINSON                                 4102 GRAMMONT ST                                                                               MONROE          LA    71203‐4434
CHARITY A FELIX                                    254 EDGEBROOK ROAD                                                                             ROBBINSVILLE    NJ    08691‐3730
CHARITY A RICHIE                                   1494 LASALLE                                                                                   BURTON          MI    48509‐2408
CHARITY M HENDERSON                                1799 HIMROD RD                                                                                 PENNYAN         NY    14527‐8740
CHARITY MARCY WERTZ                                10601 WOODPECKER ROAD                                                                          CHESTERFIELD    VA    23838‐4308
CHARLA E RHODES                                    6605 NW 130TH ST                                                                               OKLAHOMA CITY   OK    73142‐6023
CHARLA F THOMPSON                                  7125 S FILLMORE ROAD                                                                           COLEMAN         OK    73432
CHARLA M CORNISH                                   C/O CHARLA HOLDER                     602 HANSON AV                                            PISCATAWAY      NJ    08854‐4916
CHARLA M RITTENHOUSE                               2019 ROBBINS AVE                                                                               NILES           OH    44446‐3949
CHARLAIN M WEBSTER                                 ATTN CHARLAIN M INSCHO                2110 LAUREL LANE                                         MIDLAND         MI    48642‐3821
CHARLAINE MORABITO CUST NICHOLAS D MORABITO        10297 GLOBE DRIVE                                                                              ELLICOTT CITY   MD    21042‐2111
UGMA MD
CHARLCEY M BRABEC                                  4622 W LAURIE LANE                                                                             GLENDALE        AZ    85302‐6518
CHARLDEEN L BOZANEK                                753 MATTISON AVE                                                                               SUMTER          SC    29150‐3145
CHARLEAN A KIRKLAND                                PO BOX 175                                                                                     ORANGEVILLE     OH    44453‐0175
CHARLEAN L PRICE                                   6433 HICKORY HOLLOW CT                                                                         FLINT           MI    48532‐2055
CHARLEEN A BOWMAN                                  77 BROADVIEW DRIVE                    PASSWORD                                                 OSWEGO          NY    13126‐6075
CHARLEEN D HAYES‐JOSEPH                            10194 S 186TH LANE                                                                             GOODYEAR        AZ    85338‐4908
CHARLEEN E RUPPRECHT                               1840 BYRON AVE                                                                                 SAN MATEO       CA    94401‐3404
CHARLEEN G DAILEY & CANDICE J HEWITT JT TEN        4747 E SUMMERHAVEN DRIVE                                                                       PHOENIX         AZ    85044‐4809
CHARLEEN K COOK                                    4247 WHISPERING OAK DR                                                                         FLINT           MI    48507‐5541
CHARLEEN K MIRABAL                                 6046 LEMON AVE                                                                                 LONG BEACH      CA    90805‐3054
CHARLEEN S MCGLONE                                 422 EASY ST                                                                                    SEBASTIAN       FL    32958‐4328
CHARLEEN THOMPSON                                  5253 WEST H AVE                                                                                KALAMAZOO       MI    49009‐8501
CHARLENE A ADLER                                   912 ALDEN BRIDGE DR                                                                            CARY            NC    27519‐8321
CHARLENE A ATKINS                                  13080 MANDARIN ROAD                                                                            JACKSONVILLE    FL    32223‐1768
CHARLENE A BRAGA TR BRAGA FAMILY TRUST UA          12982 STOCKHOLM WAY                                                                            TRUCKEE         CA    96161‐6943
08/31/93
CHARLENE A CURRY                                   10367 E VERBENA LN                                                                             SCOTTSDALE      AZ    85255‐8690
CHARLENE A HAAS                                    8112 IRISH RD                                                                                  MILLINGTON      MI    48746‐8718
CHARLENE A HYLTON                                  908 EZ HWY                                                                                     BATES CITY      MO    64011‐9764
CHARLENE A KOWALSKI                                640 POTTER RD                                                                                  BURTON          MI    48509‐1384
CHARLENE A KUHN                                    1486 HAMILTON SW ST                                                                            WARREN          OH    44485‐3523
CHARLENE A LEBEAU & ROBERT T LEBEAU JT TEN         77 HOWE RD                                                                                     NEW BRITAIN     CT    06053‐1314
CHARLENE A MEHLHAFF                                1655 WOODS WAY                                                                                 LAKE GENEVA     WI    53147
CHARLENE A WUTKE CUST DAVID E WUTKE UGMA MI        5503 SILVERTON DR                                                                              GRAND BLANC     MI    48439‐4306

CHARLENE A YARNO & JERRY G YARNO JT TEN            3595 BLUECREST DR                                                                              LK HAVASU CTY   AZ    86406‐7226
CHARLENE ADKINS                                    2508 E 26TH ST                                                                                 MUNCIE          IN    47302‐5545
CHARLENE B WATSON                                  4920 MAL PASO                                                                                  LANSING         MI    48917‐1552
CHARLENE BERYL SWEET                               1625 WEST BARNES ROAD                                                                          FOSTORIA        MI    48435‐9751
CHARLENE BURNETT                                   211 BANCROFT AVE                                                                               SAN LEANDRO     CA    94577‐1915
CHARLENE BURNS                                     2073 VICTORY WAY LN                                                                            SAINT LOUIS     MO    63138‐1318
CHARLENE C CAWOOD                                  4371 E 15TH ST                                                                                 TUCSON          AZ    85711‐4217
CHARLENE C MILLS TOD TODD K MILLS SUBJECT TO STA   1471 W GRAND HAVEN RD                                                                          ROMEOVILLE      IL    60446
TOD RULES
CHARLENE C TAYLOR                                  7224 VINELAND PL                                                                               YOUNGSTOWN      OH    44512‐4846
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 657 of 850
Name                                             Address1                               Address2              Address3         Address4          City               State Zip

CHARLENE COGSWELL CONS THEDA R BUNKER            6041 HILLIARD RD                                                                                LANSING            MI    48911‐4928
CHARLENE CROSBY                                  3404 STABLER STREET                                                                             LANSING            MI    48910‐4437
CHARLENE D GENDREAU                              29 STROUT ST                                                                                    S PORTLAND         ME    04106‐5620
CHARLENE D JONES                                 1803 RANDOLPH WAY                                                                               WALL               NJ    07719‐4734
CHARLENE D SMITH                                 1106 N BIRNEY ST                                                                                BAY CITY           MI    48708‐6152
CHARLENE D WHEATLEY                              141 FULTON AV 303                                                                               POUGHKEEPSIE       NY    12603‐2841
CHARLENE DANIELS                                 5110 PATTERSON LAKE RD                                                                          PINCKNEY           MI    48169‐9742
CHARLENE E HANFORD TOD KATHLEEN H WROBLE &       8073 MIZNER LN                                                                                  BOCA RATON         FL    33433‐1126
EDWARD G HANFORD JR
CHARLENE E JARVIS                                5743 SW 59TH LN                                                                                 OCALA              FL    34474‐7635
CHARLENE E SLAYBAUGH                             14 TENA PLACE                                                                                   VALLEY COTTAGE     NY    10989‐2214
CHARLENE E SOBOL                                 20737 PARKPLACE LN                                                                              CLINTON TWP        MI    48036‐3830
CHARLENE E WOOD                                  892 17 MILE RD                                                                                  ARAPAHOE           WY    82510‐9141
CHARLENE EDWARDS                                 1604 AUBURN DR                                                                                  LEXINGTON          KY    40505‐2510
CHARLENE F ARTIS                                 PO BOX 1083                                                                                     KOKOMO             IN    46903‐1083
CHARLENE F CHU                                   940 SYLVA LANE #A                                                                               SONORA             CA    95370‐5969
CHARLENE F FUGITT                                349 S MARKET ST                                                                                 GALION             OH    44833‐2608
CHARLENE F RESTIVO                               N1724 COUNTY ROAD G                                                                             BRODHEAD           WI    53520‐9546
CHARLENE F REUSS                                 ATTN CHARLENE GRANDELIUS               3747 THORNBRIER WAY                                      BLOOMFIELD HILLS   MI    48302‐1570

CHARLENE FINKLEA                                 9137 STEEL                                                                                      DETROIT            MI    48228‐2679
CHARLENE FOSTER HUTCHERSON                       107 PRINCESS TRAIL                                                                              LOOKOUT            TN    37350
                                                                                                                                                 MOUNTAIN
CHARLENE FRANKLIN & WILLA LOUISE CARTER JT TEN   3205 POINT CEDAR                                                                                WEST COVINA        CA    91791

CHARLENE G OSBORNE                               19732 VISTA HERMOSA DR                                                                          WALNUT             CA    91789‐1733
CHARLENE GRANDELIUS                              3747 THORNBRIER WAY                                                                             BLOOMFIELD HILLS   MI    48302‐1570

CHARLENE H MATIA                                 3429 ROSEDALE RD                                                                                CLEVELAND          OH    44112‐3010
CHARLENE HARRIS                                  5600 ST ROUTE 303                                                                               WINDHAM            OH    44288‐9604
CHARLENE HOLLAND                                 5405 LANCASTER HILLS DR                APT 39                                                   CLARKSTON          MI    48346‐4426
CHARLENE I UNDERHILL & ERIC O UNDERHILL JT TEN   16 BEAUMONT ST                                                                                  RUMFORD            RI    02916‐1910

CHARLENE I UNDERHILL & ERIC O UNDERHILL JT TEN   16 BEAUMONT ST                                                                                  RUMFORD            RI    02916‐1910

CHARLENE J BURLAKOS                              291 W GIRARD BL 2                                                                               BUFFALO            NY    14217‐1836
CHARLENE J CASTLEBERRY                           1551 OLD CHATHAM DRIVE                                                                          BLOOMFIELD HILLS   MI    48304‐1041

CHARLENE J EVES                                  36837 GODDARD RD                                                                                ROMULUS            MI    48174‐1228
CHARLENE J LISOSKI                               5940 NE 21 CIR                                                                                  FORT LAUDERDALE    FL    33308‐2508

CHARLENE J TREVORROW                             4448 ROSETHORN CIRCLE                                                                           BURTON             MI    48509‐1217
CHARLENE J WALDEN                                15488 NE 237TH PL                                                                               FORT MC COY        FL    32134
CHARLENE JANE TREVORROW & DWAYNE A HARRISON      4448 ROSETHORN CIRCLE                                                                           BURTON             MI    48509‐1217
JT TEN
CHARLENE JANE TREVORROW & HOWARD E HARRISON      4448 ROSETHORN CIRCLE                                                                           BURTON             MI    48509‐1217
II JT TEN
CHARLENE JOHNSON                                 1600 ANTIETAM                                                                                   DETROIT            MI    48207‐2739
CHARLENE JOHNSON                                 10763 RUCKLE ST                                                                                 INDIANAPOLIS       IN    46280‐1077
CHARLENE K CARLSON                               ATTN CHARLENE FORMAN                   9033 W BRISTOL RD                                        SWARTZ CREEK       MI    48473‐8502
CHARLENE K GARCIA                                6776 OVERHILL DR                                                                                ROSCOMMON          MI    48653‐9666
CHARLENE K KEENEY                                5244 DOC BAILEY ROAD                                                                            CROSS LANES        WV    25313‐1650
CHARLENE K LADISKY                               8891 KENT ST                                                                                    PORTLAND           MI    48875‐1986
CHARLENE K LUTES                                 3353 MILLINGTON RD                                                                              CLIFFORD           MI    48727‐9714
CHARLENE KOLUPSKI                                2725 ASBURY RD                                                                                  ERIE               PA    16506‐1443
CHARLENE L ATWOOD                                226 ALLENHURST RD                                                                               BUFFALO            NY    14226‐3006
CHARLENE L BETTS                                 PO BOX 1274                                                                                     FOLSON             LA    70437‐1274
CHARLENE L JENKINS                               2233 MOUNT ELLIOTT AVE                                                                          FLINT              MI    48504
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 658 of 850
Name                                              Address1                            Address2             Address3          Address4          City            State Zip

CHARLENE L MC GEE                                 1014 WALL RD H2                                                                              SPRING LAKE     NJ    07762‐2349
                                                                                                                                               HEIGHT
CHARLENE L PENNETTE CUST ANTHONY PENNETTE         10769 WESTMINISTER AVE                                                                       LOS ANGELES     CA    90034‐5515
UTMA WI
CHARLENE M BARBER                                 367 HALF MILE ROAD                                                                           CENTRAL ISLIP   NY    11722‐2524
CHARLENE M BARBER & SPENCER R BARBER III JT TEN   367 HALF MILE ROAD                                                                           CENTRAL ISLIP   NY    11722‐2524

CHARLENE M DESCH TR CHARLENE M DESCH TRUST UA 6348 JASON LN                                                                                    CENTERVILLE     OH    45459‐2537
04/23/98
CHARLENE M HIGGINS                               21090 GENTNER                                                                                 WARREN          MI    48089‐5113
CHARLENE M JORDAN                                9026 HOUMAS CT                                                                                SHREVEPORT      LA    71115‐3749
CHARLENE M KELLER                                107 E 12 ST                                                                                   OAK GROVE       MO    64075
CHARLENE M KOTOWSKI                              UNIT 203                             55 W 64TH STREET                                         WESTMONT        IL    60559‐3115
CHARLENE M MAJEED                                12 INVERNESS CT                                                                               MONROE          NJ    08831‐2700
CHARLENE M MAKOWSKI                              13952 AUBURN                                                                                  DETROIT         MI    48223‐2802
CHARLENE M MUENCH                                2807 OLD TUSCUMBIA RD                                                                         ELDON           MO    65026
CHARLENE M PASSMORE                              190 S BOLDEN HILL RD                                                                          GREENBRIER      AR    72058‐9022
CHARLENE M PETERSON                              2136 S 85TH ST                                                                                WEST ALLIS      WI    53227‐1746
CHARLENE M ROMERO                                C/O FORD                             6114 MYRTLE AVENUE                                       FLUSHING        MI    48433‐2326
CHARLENE M STIMAC                                35591 CECIL COURT                                                                             CLINTON TWP     MI    48035‐2219
CHARLENE M TREUBERT                              909 RED SAIL RD                                                                               NEW BERN        NC    28560
CHARLENE M WARNKES                               301 W STATE ST                                                                                WASHBURN        IL    61570
CHARLENE MOORE                                   2800 OAKLAND LOCUST RDG RD                                                                    BETHEL          OH    45106
CHARLENE N FOSTER                                2050 EDGEMERE DR                                                                              ROCHESTER       NY    14612‐1524
CHARLENE O BENNE                                 1717 BELLEVUE AVE                    APT A504                                                 RICHMOND        VA    23227‐5151
CHARLENE OGILVIE                                 1431 WASHINGTON BLVD #1206                                                                    DETROIT         MI    48226‐1723
CHARLENE P MENDOZA                               6641 CLARK ST                                                                                 HUDSON          FL    34667‐1354
CHARLENE P OLSON                                 202 S MINNISOTA                                                                               MUSCODA         WI    53573
CHARLENE R GILBERT                               6702 BARRIE DR                                                                                CANTON          MI    48187‐5257
CHARLENE R GORANITES & DOUCAS J GORANITES JT TEN PO BOX 264                                                                                    N BRIDGTON      ME    04057‐0264

CHARLENE R NORMAN                                 5258 WILLNET DRIVE                                                                           CINCINNATI      OH    45238‐4372
CHARLENE R SCHWARTZ                               440 KUNTZ DR                                                                                 MAPLE PLAIN     MN    55359‐9550
CHARLENE R WILSON & JENNIE LEE WILSON JT TEN      RR 2 BOX 367                                                                                 FLEMINGTON      MO    65650‐9620

CHARLENE RICHARDS                                 4352 SOUTH US HWY 27                                                                         SAINT JOHNS     MI    48879
CHARLENE S DILLON                                 1527 WOODBURY LANE                                                                           DULUTH          MN    55803‐2156
CHARLENE S SENIA                                  23 ROXBURY LN                                                                                BRIDGEPORT      CT    06606‐2658
CHARLENE SACZYK                                   6347 WILLOW CREEK                                                                            CANTON          MI    48187‐3366
CHARLENE SEELBACH                                 25292 TIMBER RIDGE TRL                                                                       BROWNSTOWN      MI    48134
CHARLENE TODD                                     1662 CANDELERO COURT                                                                         WALNUT CREEK    CA    94598‐1020
CHARLENE TUCKER                                   3760 YORK DR                                                                                 SAGINAW         MI    48601‐5166
CHARLENE V HALL                                   2045 CRESTLINE DR                                                                            BURTON          MI    48509‐1339
CHARLENE W KENNY & ROBERT E KENNY JT TEN          6101 34TH ST W 15F                                                                           BRADENTON       FL    34210‐3704
CHARLENE W THURMAN                                5316 FAIRFIELD W                                                                             DUNWOODY        GA    30338‐3227
CHARLENE W VARDEMAN                               2110 JUANITA DR                                                                              ARLINGTON       TX    76013‐3463
CHARLENE WILE                                     38 FISHER ST                                                                                 WESTBOROUGH     MA    01581‐1833
CHARLENE Y CHANEY                                 1837 KNOLLWOOD DR                                                                            CANTON          MI    48188‐2250
CHARLES A ADAMS                                   1257 WILD GOOSE COURT                                                                        CENTERVILLE     OH    45458‐2776
CHARLES A ADAMS TR CHARLES A ADAMS TRUST UA       1257 WILD GOOSE                                                                              DAYTON          OH    45458
06/02/92
CHARLES A ADAMS TR CHARLES ADAMS TRUST UA         6265 SW 110 ST                                                                               MIAMI           FL    33156‐4063
03/31/96
CHARLES A ALLISON                                 49562 LAUREL HEIGHTS COURT                                                                   SHELBY TWP      MI    48315
CHARLES A ANDERSON                                3691 SAND STONE DR                                                                           WELLINGTON      NV    89444‐9434
CHARLES A ANDREWS                                 20096 MC INTYRE                                                                              DETROIT         MI    48219‐1261
CHARLES A ANZALONE                                9493 ASPEN VIEW                                                                              GRAND BLANC     MI    48439‐8037
CHARLES A ARNOLD                                  PO BOX 264                                                                                   ADRIAN          MO    64720‐0264
CHARLES A BAILS                                   82 LONG DR                                                                                   EIGHTY FOUR     PA    15330‐9751
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 659 of 850
Name                                                Address1                               Address2              Address3         Address4          City               State Zip

CHARLES A BAKER                                     8 DEER STREET                                                                                   HAZLET             NJ    07730‐1407
CHARLES A BALL JR                                   4612 S W LEWIS DRIVE                                                                            BAY CITY           MI    48706
CHARLES A BANISTER                                  103 PIRKLEWOOD CIR                                                                              CUMMING            GA    30040‐2131
CHARLES A BANKSTON & MRS LELIA BANKSTON JT TEN      1316 LYNDHURST CIRCLE                                                                           BRYAN              TX    77802‐1157

CHARLES A BARAN JR A MINOR                          50 OWL HOLLOW DR                       APT SR                                                   SAYLORSBURG        PA    18353‐9769
CHARLES A BARRY                                     PO BOX 338                                                                                      FORT CALHOUN       NE    68023‐0338
CHARLES A BATEMAN                                   1602 GREER ST                                                                                   CORDELE            GA    31015‐2021
CHARLES A BAUDOUINE                                 724 RIVER ST                                                                                    MAMARONECK         NY    10543‐1730
CHARLES A BEHRENS                                   6230 ROUND OAK LANE                                                                             JACKSONVILLE       FL    32277‐3520
CHARLES A BEHYMER                                   4171 TOBASCO MT CARM                                                                            CINCINNATI         OH    45255
CHARLES A BELTZ                                     1675 ALICIA DR                                                                                  YUBA CITY          CA    95993‐8214
CHARLES A BENINATI                                  10 OLD SCHAUBER ROAD                                                                            BALLSTON LAKE      NY    12019‐2308
CHARLES A BENIZIO                                   8 WINDSONG PL                                                                                   WHISPER PNES       NC    28327‐9040
CHARLES A BENNETT                                   2708 WAYLAND AVE                                                                                DAYTON             OH    45420‐3053
CHARLES A BERLUCCHI                                 8902 MEADOW FARM                                                                                BRIGHTON           MI    48116‐2067
CHARLES A BESANCON                                  8179 SHERBROOKE LN                                                                              N CHARLESTON       SC    29418‐2045
CHARLES A BINGER & MARTHA E BINGER TEN COM          5305 N ELMS RD                                                                                  FLUSHING           MI    48433‐9027

CHARLES A BISHOP                                    10707 E JEFFERSON RD                                                                            WHEELER            MI    48662‐9719
CHARLES A BRANDEL & THEONA BRANDEL JT TEN           8348 SOUTHWIND BAY CIR                                                                          FORT MYERS         FL    33908‐6028
CHARLES A BRIESKE                                   9317 N FULTON ST                                                                                EDGERTON           WI    53534‐9786
CHARLES A BROTHERTON                                6995 KINGS MILLS RD                                                                             MAINEVILLE         OH    45039‐9786
CHARLES A BROWN                                     3861 E MELTON AVE                                                                               TERA NORTH         IN    47805‐1923
CHARLES A BRUEGGEMAN & MARY T BRUEGGEMAN JT         10110 WINCHESTER GRADE RD                                                                       BERKELEY SPRINGS   WV    25411‐3914
TEN
CHARLES A BURGE                                     74 NW 215TH RD                                                                                  WARRENSBURG        MO    64093‐7910
CHARLES A BURKE                                     8508 STARK DR                                                                                   INDIANAPOLIS       IN    46216‐2045
CHARLES A BUTTS JR                                  22 SPACKENKILL RD                                                                               POUGHKEEPSIE       NY    12603‐5335
CHARLES A BYKKONEN                                  12096 LEVERNE                                                                                   REDFORD            MI    48239‐2539
CHARLES A CACHA & MRS FRANCES B CACHA JT TEN        6408 SOMBRERO AVE                                                                               CYPRESS            CA    90630‐5328

CHARLES A CALLAHAN                                  1507 DIFFORD DRIVE                                                                              NILES              OH    44446‐2831
CHARLES A CAMPBELL                                  C/O EMMA CAMPBELL                      438 EAST WASHINGTON                                      DIMONDALE          MI    48821‐8726
CHARLES A CARLINO                                   3026 LIVINGSTON AVE                                                                             NIAGARA FALLS      NY    14303‐2022
CHARLES A CAVENDER & LINDA CAVENDER JT TEN          1010 NORTHERN VISTA PLACE                                                                       TUCSON             AZ    85748‐3529
CHARLES A CAVENDER & THOMAS M CAVENDER JT TEN       1010 N NORTHERN VISTA PLACE                                                                     TUCSON             AZ    85748‐3529

CHARLES A CICIULLA & RUBY J CICIULLA JT TEN    824 N 88TH AVENUE                                                                                    OMAHA            NE      68114‐2720
CHARLES A CIFRA                                252 SHOTWELL PARK                                                                                    SYRACUSE         NY      13206‐3259
CHARLES A CLOSSON CUST PETER A CLOSSON UGMA CO 2529 BENNETT                                                                                         COLORADO SPRINGS CO      80909‐1209

CHARLES A CLUFF                                     40 NORTH 5TH ST                                                                                 ZIONSVILLE         IN    46077‐1320
CHARLES A COGLIANDRO                                3441 BEECH DRIVE                                                                                DECATOR            GA    30032‐2556
CHARLES A COLLINS TR CHARLES A COLLINS 2006 TRUST   150 S OAK PARK AVE                                                                              OAK PARK           IL    60302‐2984
UA 09/01/06
CHARLES A COLVIN                                    436 ADAMWOOD DR                                                                                 NASHVILLE          TN    37211‐5209
CHARLES A COOPER                                    186 RIVERSIDE DR                                                                                NEW YORK           NY    10024‐1007
CHARLES A COOPER                                    4002 FINCH RD SW                                                                                HIRAM              GA    30141‐6320
CHARLES A COVERT                                    102 CONNOLLY                                                                                    ST LOUIS           MO    63135‐1021
CHARLES A CRAIG                                     9713 HAZELWOOD AVE                                                                              STRONGSVILLE       OH    44136‐2303
CHARLES A CREACH JR                                 RT 3 BOX 164                                                                                    ODESSA             MO    64076‐9533
CHARLES A DENNY                                     1486 DENNY RD                                                                                   WILMINGTON         OH    45177‐8552
CHARLES A DESTIVAL                                  16 HIDDEN MEADOW RD                                                                             SHARON             CT    06069
CHARLES A DIANA                                     2259 PENNY LANE AVENUE                                                                          AUSTINTOWN         OH    44515‐4938
CHARLES A DICKERSON                                 1445 W MILLEDGEVILLE AVE                                                                        LEBANON            IN    46052‐9717
CHARLES A DINGMAN JR                                PO BOX 471                                                                                      MOUNT MORRIS       MI    48458‐0471
CHARLES A DOVE                                      1261 RINGWALT DR                                                                                DAYTON             OH    45432‐1738
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 660 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

CHARLES A DUCHARME & MARY KATHRYN DUCHARME        1096 GRAYTON RD                                                                                 GROSSE POINTE    MI    48230‐1425
JT TEN                                                                                                                                            PARK
CHARLES A DUNCAN                                  13129 W COUNCIL RD                                                                              YORKTOWN         IN    47396‐9784
CHARLES A EDENS                                   605 LEGGETT RD                                                                                  SALE CREEK       TN    37373‐9506
CHARLES A ERNST                                   3635 JULIE DR                                                                                   FRANKLIN         OH    45005‐5015
CHARLES A ESTES                                   7825 SHAFTESBURY DR                                                                             SYLVANIA         OH    43560‐1034
CHARLES A EVANS                                   130 WEST PINEWOOD                                                                               DEFIANCE         OH    43512‐3571
CHARLES A FAZIO                                   831 NE PIEDMONT AVE                                                                             GRANTS PASS      OR    97526‐3566
CHARLES A FEDUCCIA JR                             252 FOXFIRE LN                                                                                  ALEXANDRIA       LA    71302‐8600
CHARLES A FERRIS                                  524 W 3RD STREET                                                                                PORT ANGELES     WA    98362‐2217
CHARLES A FIELDS JR                               1685 MILLER AVE                                                                                 NEWTON FALLS     OH    44444‐1021
CHARLES A FINCH                                   8812 HANNAN ROAD                                                                                WAYNE            MI    48184‐1557
CHARLES A FINFROCK                                37251 BOOTH ST                                                                                  WESTLAND         MI    48186‐3928
CHARLES A FISHER                                  2570 BONBRIGHT ST                                                                               FLINT            MI    48505‐4950
CHARLES A FOOR & MARIAN D FOOR TR FOOR FAM        9030 TAYLORSVILLE RD                                                                            HUBER HEIGHTS    OH    45424‐6340
JOINT TRUST UA 09/16/97
CHARLES A FOX                                     37 FIFTH AVE                                                                                    CHAMBERSBURG     PA    17201‐1752
CHARLES A FRAISER                                 68 EGGERT RD                                                                                    CHEEKTOWAGA      NY    14225
CHARLES A FUHR                                    80 EAST HIGH ST                                                                                 NEW FREEDOM      PA    17349‐9664
CHARLES A GABERT                                  4821 MINDY DR                                                                                   INDIANAPOLIS     IN    46235‐4308
CHARLES A GAETH                                   115 S FOURTH ST                                                                                 SEBEWAING        MI    48759‐1503
CHARLES A GAMMAL JR                               12 CAPTAIN SAMUEL FORBUSH ROAD                                                                  WESTBOROUGH      MA    01581‐3556
CHARLES A GARBARINO                               4 PRISCILLA PARK                                                                                HOPKINTON        MA    01748‐2115
CHARLES A GARRETT                                 915 E COURT ST                         APT 104                                                  FLINT            MI    48503‐2077
CHARLES A GILLESPIE & LESLIE C GILLESPIE JT TEN   7606 HIGHLAND OAKS DR                                                                           YOUNG HARRIS     GA    30582‐2082
CHARLES A GILLETTE & MARGARET F GILLETTE JT TEN   1822 SEAFAN CIR                                                                                 N FT MYERS       FL    33903‐5037

CHARLES A GLISSENDORF                             132 FOREST PARK BLVD                                                                            JANESVILLE       WI    53545‐4104
CHARLES A GOODRICH                                9365 ROSSMAN HWY                                                                                EATON RAPIDS     MI    48827‐8333
CHARLES A GORDON                                  9435 PONDER RD                                                                                  JACKSONVILLE     FL    32257‐4903
CHARLES A GRAPPERHAUS                             812 NORTH 11TH STREET                                                                           BREESE           IL    62230‐1068
CHARLES A GRAU CUST CARL GRAU UGMA NJ             53 GATHERING RD                                                                                 PINE BROOK       NJ    07058‐9542
CHARLES A GRAU CUST JEFFREY GRAU UGMA NJ          9386 MARLBOURNE WAY                                                                             MECHANICSVILLE   VA    23116‐5100
CHARLES A GRAU CUST KIMBERLEY GRAU UGMA NJ        53 GATHERING RD                                                                                 PINE BROOK       NJ    07058‐9542

CHARLES A GREEN                                   14900 CORBETT                                                                                   DETROIT          MI    48213‐1961
CHARLES A GREEN                                   837 N MAIN ST                                                                                   FARMERVILLE      LA    71241‐2217
CHARLES A GREIDER JR                              11 DEER RUN RD                                                                                  WALLINGFORD      CT    06492‐3306
CHARLES A GRETHER                                 4721 PASO DEL PUMA NE                                                                           ALBUQUERQUE      NM    87111‐3076
CHARLES A GRIFFIN                                 6122 SHERRY                                                                                     ST LOUIS         MO    63136‐4749
CHARLES A GRIFFITH                                561 MORNINGSTAR DR                                                                              MOORESVILLE      IN    46158‐1230
CHARLES A GRIMES JR                               3590 SOUTH 675 EAST                                                                             BRIHGHURST       IN    46913‐9689
CHARLES A HAISLEY                                 1171W 800S                                                                                      FAIRMOUNT        IN    46928‐9722
CHARLES A HALL                                    73 THATCH PALM ST W                                                                             LARGO            FL    33770‐7438
CHARLES A HALL & AMBER L HALL JT TEN              9168 LINDEN RD                                                                                  SWARTZ CREEK     MI    48473‐9152
CHARLES A HAMILTON & BURNESS S HAMILTON JT TEN    8221 BURNELL LN                                                                                 KNOXVILLE        TN    37920‐9138

CHARLES A HANSEN                                  4857 HEPBURN                                                                                    SAGINAW          MI    48603‐2924
CHARLES A HARDAKER                                9208 E VIENNA ROAD                                                                              OTISVILLE        MI    48463‐9783
CHARLES A HASTY                                   17518 N 300 WEST                                                                                SUMMITVILLE      IN    46070‐9655
CHARLES A HAYNES                                  3825 BELL STATION RD                                                                            CIRCLEVILLE      OH    43113‐9518
CHARLES A HENDRIXSON                              144 SOLACE DRIVE                                                                                HOWELL           MI    48843‐9203
CHARLES A HIGGINS JR & VESTA W HIGGINS JT TEN     212 LENNI ROAD                                                                                  GLEN RIDDLE      PA    19063‐5721

CHARLES A HILLMAN & ROSE S HILLMAN JT TEN         10902 WESTMORE CT                                                                               FORT WAYNE       IN    46845‐6618
CHARLES A HINTERBERGER                            20 CHATSWORTH AVENUE                   APT 3                                                    KENMORE          NY    14217‐1433
CHARLES A HOBSON                                  324 S DIXON RD                                                                                  KOKOMO           IN    46901‐5041
CHARLES A HOFFMAN JR                              6087 18TH ST S                                                                                  ST PETERSBURG    FL    33712‐4909
                                                 09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 661 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

CHARLES A HOFFMANN TR CHARLES A HOFFMANN           2541 MILLVILLE RD                                                                              HAMILTON          OH    45013‐4211
TRUST UA 07/12/00
CHARLES A HOOD                                     5336 CROCKETT HWY                     #2                                                       BLISSFIELD        MI    49228‐9663
CHARLES A HOWELL                                   2044 PANSTONE COURT                                                                            MARIETTA          GA    30060‐4836
CHARLES A HUNTER                                   PO BOX 20211                                                                                   LANSING           MI    48901‐0811
CHARLES A HYNNEK                                   908 S 57TH ST                                                                                  WEST ALLIS        WI    53214‐3334
CHARLES A JACKSON                                  4255 CHARTER OAK DRIVE                                                                         FLINT             MI    48507‐5511
CHARLES A JANES                                    425 N CHIPMAN ST                      APT 29                                                   OWOSSO            MI    48867‐2169
CHARLES A JENSEN                                   6825 E EAGLEHAVEN LANE                                                                         AGOURA            CA    91377‐3950
CHARLES A JESEO                                    513 5TH ST                                                                                     WATERVLIET        NY    12189‐3713
CHARLES A JOHNS & MRS MARY MEYER JOHNS TEN ENT     137 FIRWOOD DR                                                                                 BRIDGEVILLE       PA    15017‐1255

CHARLES A JOHNSON JR                               37708 E PINK HILL RD                                                                           OAK GROVE         MO    64075‐7127
CHARLES A JONES                                    7371 MARKEL                                                                                    MARINE CITY       MI    48039‐1806
CHARLES A JUPREE                                   609 W ALMA                                                                                     FLINT             MI    48505‐2021
CHARLES A KAY                                      35 FIELD ST                                                                                    SEEKONK           MA    02771‐4802
CHARLES A KAZA & EVELYN M KOVL JT TEN              12251 MORRISH RD                                                                               CLIO              MI    48420‐9423
CHARLES A KEITH                                    4414 SHAWNRAY DRIVE                                                                            MIDDLETOWN        OH    45044‐6740
CHARLES A KELLY                                    PO BOX 216                                                                                     AGRA              OK    74824‐0216
CHARLES A KILE                                     2112 RD 146                                                                                    LUSK              WY    82225
CHARLES A KILLIAN TR KILLIAN FAMILY TRUST UA       1947 9TH ST SE                                                                                 WINTER HAVEN      FL    33880‐4733
1/15/91
CHARLES A KIMPTON                                  5938 ROUTE 412                                                                                 RIEGELSVILLE      PA    18077‐9739
CHARLES A KINGSLEY                                 14580 IVANHOE DRIVE                                                                            SHELBY TOWNSHIP   MI    48315‐1507

CHARLES A KIRK II                                  1503 WINCHESTER                                                                                LAKEWOOD          OH    44107
CHARLES A KLEEH                                    3000 S CLARCONA ROAD #232                                                                      APOPKA            FL    32703‐8732
CHARLES A KNIGHT                                   PO BOX 2124                                                                                    HILLSBORO         NH    03244‐2124
CHARLES A KNIGHT                                   9711 CENTER DR                                                                                 VILLA PARK        CA    92861‐2736
CHARLES A KNOEPFLER                                501 BUCKWALTER DR                                                                              SIOUX CITY        IA    51104‐1132
CHARLES A KOOTZ                                    325 N KENYON STREET                                                                            INDIANAPOLIS      IN    46219‐6109
CHARLES A KOSSUTH                                  1596 DIANA DR                                                                                  BRUNSWICK         OH    44212‐3921
CHARLES A KRAUSS III                               141 HART AVE                                                                                   DOYLESTOWN        PA    18901‐5723
CHARLES A KRAUSS III & DEBORAH K KRAUSS JT TEN     141 HART AVE                                                                                   DOYLESTOWN        PA    18901‐5723

CHARLES A KRAUSS III & DEBORAH KRAUSS JT TEN       141 HART AVE                                                                                   DOYLESTOWN        PA    18901‐5723
CHARLES A KRAUSS III & DEBORAH S KRAUSS JT TEN     141 HART AVE                                                                                   DOYLESTOWN        PA    18901‐5723

CHARLES A KRAUSS III CUST KAY CULVER KRAUSS UGMA 141 HART AVE                                                                                     DOYLESTOWN        PA    18901‐5723
PA
CHARLES A KRAUSS III CUST MARGARET L KRAUSS UGMA 141 HART AVE                                                                                     DOYLESTOWN        PA    18901‐5723
PA
CHARLES A LABOVE                                 78 PROSPECT STREET                                                                               SHREWSBURY        MA    01545
CHARLES A LACIJAN & MRS EILEEN LACIJAN JT TEN    632 BAYGREEN DR                                                                                  ARNOLD            MD    21012‐2010
CHARLES A LACY                                   1 BOB O LINK RD                                                                                  PINEHURST         NC    28374‐8764
CHARLES A LAKEY & PATRICIA LAKEY TR LAKEY LIVING 9491 SOUTH C R 900 W                                                                             DALEVILLE         IN    47334‐9703
TRUST UA 08/21/96
CHARLES A LASKE TR LASKE SURVIVOR TRUST UA       4060 WOOLHOUSE RD                                                                                CANANDAIGUA       NY    14424‐9009
08/22/96
CHARLES A LEDYARD                                36362 DERBY DOWNS DR                                                                             SOLON             OH    44139‐2654
CHARLES A LETNER                                 4040 ST MICHELLE LANE                                                                            ALPHARETTA        GA    30004‐7156
CHARLES A LEWIS                                  PO BOX 516                                                                                       LICKING           MO    65542‐0516
CHARLES A LIGHTWINE                              11310 W 70TH TERR                                                                                SHAWNEE           KS    66203‐4040
CHARLES A LINDBERG                               PO BOX 623                                                                                       SHREWSBURY        MA    01545‐8623
CHARLES A LINZ                                   30 TEAROSE DR                                                                                    MIDDLE RIVER      MD    21220‐1638
CHARLES A LION & HIDEKO LION JT TEN              7109 SHERICE CT                                                                                  SACRAMENTO        CA    95831‐3041
CHARLES A LIPINSKY                               4375 BERRYWICK TERR                                                                              ST LOUIS          MO    63128‐1907
CHARLES A LITTLE                                 1379 HERITAGE LANDING                                                                            ST CHARLES        MO    63303‐6175
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 662 of 850
Name                                            Address1                               Address2               Address3        Address4          City              State Zip

CHARLES A LOCHTE & MAUREEN E KUZNIAR & KAREN G 32 156TH PL                                                                                      CALUMET CITY      IL    60409‐4632
LOCHTE JT TEN
CHARLES A LOFTUS & REBECCA A LOFTUS COMMUNITY BOX 83345                                                                                         PHOENIX           AZ    85071‐3345
PROPERTY
CHARLES A LOTT JR                               5364 KINGS HWY                                                                                  DOUGLASVILLE      GA    30135‐5416
CHARLES A MAAHS                                 69 SANDY POND INLET                                                                             SANDY CREEK       NY    13145‐3165
CHARLES A MACK & RUTH V MACK JT TEN             6140 W 108 AVE                                                                                  WESTMINNISTER     CO    80020‐3195
CHARLES A MAGGI & ROSE M MAGGI & ANGELA ELENA 3630 CHICAGO RD                                                                                   WARREN            MI    48092‐1368
KLIMIS JT TEN
CHARLES A MAGGI & ROSE M MAGGI & ANTHONY S      3630 CHICAGO RD                                                                                 WARREN            MI    48092‐1368
BRINKER JT TEN
CHARLES A MAGGI & ROSE M MAGGI & GINA M MAGGI 3630 CHICAGO RD                                                                                   WARREN            MI    48092‐1368
JT TEN
CHARLES A MAGGI & ROSE M MAGGI & RODNEY C       3630 CHICAGO RD                                                                                 WARREN            MI    48092‐1368
BRINKER JT TEN
CHARLES A MAGGI & ROSE M MAGGI & TIA MARIA      3630 CHICAGO RD                                                                                 WARREN            MI    48092‐1368
MAGGI JT TEN
CHARLES A MAGGI & ROSE M MAGGI & TODD F BRINKER 3630 CHICAGO RD                                                                                 WARREN            MI    48092‐1368
JT TEN
CHARLES A MAGGI & ROSE MAGGI & ATHENA R KLIMIS 3630 CHICAGO RD                                                                                  WARREN            MI    48092‐1368
JT TEN
CHARLES A MAHAN JR                              14 WESTFIELD ST                                                                                 WEST HARTFORD     CT    06119‐1533
CHARLES A MAHLER                                PO BOX 803                                                                                      BARNEGAT          NJ    08005‐0803
CHARLES A MALINOWSKI                            4180 CLIPPERT                                                                                   DEARBORN HGTS     MI    48125‐2733
CHARLES A MARCUM                                10259 STATE RT 774                                                                              HAMERSVILLE       OH    45130‐8702
CHARLES A MARCUM & SHIRLEY A MARCUM JT TEN      10259 STATE ROUTE 774                                                                           HAMERSVILLE       OH    45130‐8702

CHARLES A MARTELLI                              1202 KAREN AVE                                                                                  CROYDON           PA    19021‐6257
CHARLES A MAYS & SUZANNE T MAYS JT TEN          4151 SOUTH 1075 EAST                                                                            WALTON            IN    46994‐9043
CHARLES A MC KANE & MRS ANNA MC KANE JT TEN     12 KNAPP AVE                                                                                    MIDDLETOWN        NY    10940‐5604

CHARLES A MCCULLERS & KATHLEEN MCCULLERS JT TEN 210 WELLESLEY CT                                                                                WOODSTOCK         GA    30189‐6713

CHARLES A MCGAHA                                1530 N 41‐1/2 ROAD                                                                              MANTON            MI    49663‐9461
CHARLES A MCGILL                                24875 REEDS POINTE DR                                                                           NOVI              MI    48374‐2538
CHARLES A MCKNIGHT                              2450 KROUSE RD                         BOX 529                                                  OWOSSO            MI    48867‐0529
CHARLES A MCWILLIAMS                            860 N LAKE DR LOOP                                                                              DUBLIN            GA    31027‐2590
CHARLES A MIESCH                                11818 BARRY KNOLL                                                                               HOUSTON           TX    77024‐4457
CHARLES A MILLER                                12320 CORBETT STREET                                                                            DETROIT           MI    48213‐1782
CHARLES A MILLER                                4837 CARROLLTON AVE                                                                             INDIANAPOLIS      IN    46205‐1951
CHARLES A MONTGOMERY                            345 MOORFIELD DR                                                                                TALLADEGA         AL    35160‐2729
CHARLES A MOORE                                 APT A‐205                              2427 ELIZABETH LK RD                                     WATERFORD         MI    48328‐3352
CHARLES A MOORE                                 32905 ROBESON                                                                                   ST CLAIR SHOR     MI    48082‐2916
CHARLES A MOORE & EDITH L MOORE JT TEN          799 CHRYSLER AVE                                                                                NEWARK            DE    19711‐4959
CHARLES A MURSON                                601 BIDDLE ST                                                                                   CHESAPEAKE CITY   MD    21915‐1032
CHARLES A NAGY                                  3838 N LAPEER RD                                                                                LAPEER            MI    48446‐8775
CHARLES A NASH                                  2507 OAK                                                                                        NORTHBROOK        IL    60062‐5223
CHARLES A NEAD                                  2550 STATE RD 580                      UNIT 477                                                 CLEARWATER        FL    33761‐2981
CHARLES A NITTIS                                67850 DEQUINDRE RD                                                                              ROMEO             MI    48065
CHARLES A NITTIS & BARBARA NITTIS JT TEN        67850 DEQUINDRE RD                                                                              WASHINGTON        MI    48095‐1036
CHARLES A NORMAN                                62 ROCHESTER CT                                                                                 BRASELTON         GA    30517‐5014
CHARLES A NOVAK                                 146 LANIGAN CRES                       STITTSVILLE ON                         K2S 1G9 CANADA
CHARLES A NULL                                  491 DRY RUN RD                                                                                  PARKERSBURG       WV    26104‐7193
CHARLES A NUNNALLY                              19724 LAKE PARK DR                                                                              LYNWOOD           IL    60411‐1557
CHARLES A OLIVER JR                             214 SMALLWOOD DR                                                                                BUFFALO           NY    14226‐4065
CHARLES A ONEIL                                 4226 E N00S                                                                                     MARION            IN    46952‐8617
CHARLES A OWENS                                 145 CIRCLE DRIVE                                                                                LEWISBURG         WV    24901‐8952
CHARLES A PAGEL                                 RURAL ROUTE 1                          BOX 680                                                  SPRINGVILLE       IN    47462‐9608
CHARLES A PAPALIA                               61 COACHMANS LANE                                                                               NORTH ANDOVER     MA    01845‐2013
                                                 09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 663 of 850
Name                                               Address1                              Address2               Address3        Address4          City             State Zip

CHARLES A PATTERSON                                331 LAMAR DRIVE                                                                                BEECH ISLAND     SC    29842‐9502
CHARLES A PEPLINSKI                                32612 ROSSLYN                                                                                  GARDEN CITY      MI    48135‐3220
CHARLES A PERKINS JR                               1608 TICKANETLY ROAD                                                                           ELLIJAY          GA    30540‐6413
CHARLES A PETERS                                   86‐59 MUSKET ST                                                                                QUEENS VILLAGE   NY    11427‐2717
CHARLES A PETERS                                   660N 850E                                                                                      GREENFIELD       IN    46140‐9433
CHARLES A PETRILLO JR                              420 GOLDEN GATE PT                    UNIT 400                                                 SARASOTA         FL    34236‐6726
CHARLES A PETRISHE                                 3628 RAYMOND AVE                                                                               BROOKFIELD       IL    60513‐1564
CHARLES A PFROMM                                   2930 ENGELSON RD                                                                               MARION           NY    14505‐9739
CHARLES A PIMPERL                                  3109 RIVER RIDGE PLACE                                                                         ST CHARLES       MO    63303‐6068
CHARLES A PITTS                                    19 BIRDIE LANE                                                                                 SHAWNEE          OK    74804‐1020
CHARLES A PORTER                                   9945 BELLETERRE                                                                                DETROIT          MI    48204‐1305
CHARLES A PULASKI                                  4741 N COUNTY RD 500E                                                                          PITTSBORO        IN    46167‐9368
CHARLES A RAINES JR                                10975 NICKLE PLATE ROAD                                                                        PEWAMO           MI    48873‐9739
CHARLES A REAVIS                                   1043 SAVAGE RD                                                                                 BELLEVILLE       MI    48111‐4915
CHARLES A REID III & TERESA KEENAN REID JT TEN     PO BOX 716                                                                                     GLADSTONE        NJ    07934‐0716
CHARLES A RHODIG                                   18536 SW 41ST ST                                                                               MIRAMAR          FL    33029‐2779
CHARLES A RIEDELL                                  5614 CAVE SPRING RD SW                                                                         CAVE SPRING      GA    30124‐2510
CHARLES A RILEY                                    4314 GATEWOOD LANE                                                                             FRANKLIN         OH    45005‐4959
CHARLES A RITCHEY                                  PO BOX 266                                                                                     CHALK HILL       PA    15421‐0266
CHARLES A ROBERTSON JR                             4367 MUIRFIELD WAY                                                                             WESTLAKE         OH    44145‐5088
CHARLES A ROCCO                                    2639 FINI DRIVE                                                                                MILFORD          MI    48380‐3960
CHARLES A ROHDE                                    5730 HESS RD                                                                                   SAGINAW          MI    48601‐9417
CHARLES A ROSE                                     5442 HOLLY GROVE RD                                                                            BRIGHTON         TN    38011‐6234
CHARLES A ROSZCZEWSKI                              2976 FARNSWORTH RD                                                                             LAPEER           MI    48446‐8719
CHARLES A RUSSLER                                  4451 WILLIAMSPORT PIKE                                                                         MARTINSBURG      WV    25404
CHARLES A RYNO                                     5370 E CAMINO CIELO RD                                                                         SANTA BARBARA    CA    93105‐9705
CHARLES A SALIBA                                   1829 KELLOGG                                                                                   BRIGHTON         MI    48114‐8771
CHARLES A SANDUSKY                                 3567 LIGHTHOUSE DR                                                                             PALM BEACH       FL    33410‐5621
                                                                                                                                                  GARDENS
CHARLES A SANGER                                   BOX 745                                                                                        SARATOGA         WY    82331‐0745
CHARLES A SCHAEFER                                 7564 GLENCOE DR                                                                                CEDARBURG        WI    53012‐9786
CHARLES A SCHERBAUER                               2042 S BREIEL BLVD                                                                             MIDDLETOWN       OH    45044
CHARLES A SCHNEIDER III                            457 EAST SPUR AVE                                                                              GILBERT          AZ    85296‐2345
CHARLES A SEIFERT                                  1996 TIFFANY COURT                                                                             HOLLAND          MI    49424‐6278
CHARLES A SENDELBACH                               479 BETH PAGE CIRCLE                                                                           CENTERVILLE      OH    45458‐3684
CHARLES A SHEA III TR CAROLYN SHEA TRUST UA        PO BOX 2274                                                                                    GEARHART         OR    97138‐2274
11/04/94
CHARLES A SHUCK & JUDITH JOY SHUCK JT TEN          12042 BROWN ST                                                                                 FENTON           MI    48430‐8814
CHARLES A SIEGENTHALER                             36061 GRAND RIVER #104                                                                         FARMINGTON       MI    48335‐3033
CHARLES A SIMONS                                   1045 HOFFMAN WY                                                                                KINGMAN          AZ    86401‐1015
CHARLES A SIMS                                     C/O YVONNE SIMS                       2062 MURPHY GROVE RD                                     HALIFAX          VA    24558‐2834
CHARLES A SINSEL                                   511 N RIDGEWOOD AVE                                                                            ORMOND BEACH     FL    32174‐5339
CHARLES A SMITH                                    200 RICH ST                                                                                    VENICE           FL    34292‐3145
CHARLES A SMITH                                    709 S MICKLEY AVE                                                                              INDIANAPOLIS     IN    46241‐2011
CHARLES A SMITH                                    127 KENSINGTON PARK DR                                                                         DAVENPORT        FL    33897
CHARLES A SMITH                                    11623 VILLAGE LN                                                                               JACKSONVILLE     FL    32223‐1843
CHARLES A SOLGA                                    10504 ARVILLA NE                                                                               ALBUQUERQUE      NM    87111‐5004
CHARLES A STANDIFORD                               6306 DEWHIRST DR                                                                               SAGINAW          MI    48603‐7369
CHARLES A STANSFIELD JR & MRS DIANE G STANSFIELD   512 ALBERTA AVE                                                                                PITMAN           NJ    08071‐1001
JT TEN
CHARLES A STARR CUST JOHN T STARR U/THE PA         342 GOLF VIEW LANE                                                                             ELK RAPIDS       MI    49629‐9566
UNIFORM GIFTS TO MINORS ACT
CHARLES A STEBBINS                                 267 VLY ROAD                                                                                   SCHENECTADY      NY    12309‐2031
CHARLES A STEWARD                                  PO BOX 171                            LOYD ST                                                  SHEPPTON         PA    18248‐0171
CHARLES A STODDARD & CYNTHIA L STODDARD JT TEN     BOX 390                                                                                        NOVELTY          OH    44072‐0390

CHARLES A STUMPF                                   2849 ELLEN LN                                                                                  DAYTON           OH    45430‐1928
CHARLES A SURDYK                                   1302 VANDERBILT AV                                                                             NORTH            NY    14120‐2313
                                                                                                                                                  TONAWANDA
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 664 of 850
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

CHARLES A SWANSON & MRS RUTH G SWANSON JT TEN 6655 S KARLOV AVE                                                                                   CHICAGO          IL    60629‐5125

CHARLES A SYMS III & MAUREEN D SYMS JT TEN         301 PRIMERA DR                                                                                 SAN ANTONIO      TX    78212‐2056
CHARLES A SZALAY                                   9360 CALIFORNIA                                                                                LIVONIA          MI    48150‐3702
CHARLES A TARPLEY                                  3776 ALTA VISTA LANE                                                                           DALLAS           TX    75229‐2726
CHARLES A TAYLOR                                   7219 RIEGLER                                                                                   GRAND BLANC      MI    48439‐8516
CHARLES A TAYLOR                                   4631 BAILEY DR                                                                                 COLORADO SPRINGS CO    80916‐3328

CHARLES A TAYLOR & PEARL M TAYLOR JT TEN           4631 BAILEY DR                                                                                 COLORADO SPRINGS CO    80916‐3328

CHARLES A TEATOR & PATRICIA M TEATOR JT TEN      299 PARK AVE                                                                                     OLD BRIDGE       NJ    08857‐1142
CHARLES A TESCHKER JR                            2752 TIPSICO LAKE RD                                                                             HARTLAND         MI    48353‐3251
CHARLES A THOME                                  6171 SANTA CATALINA AVE                                                                          GARDEN GROVE     CA    92845‐1221
CHARLES A THOMPSON                               11709 N BETHESDA RD                                                                              MOORESVILLE      IN    46158‐7141
CHARLES A TOBIAS                                 4775 OTTER LAKE RD                                                                               OTTER LAKE       MI    48464‐9746
CHARLES A TOWNS                                  4140 ATLAS RD                                                                                    DAVISON          MI    48423‐8635
CHARLES A TRAYER                                 8672 BUTTERFLY LANE                                                                              WHITE CLOUD      MI    49349
CHARLES A TROSTLE                                6735 MILLSIDE DR                        APT C                                                    INDIANAPOLIS     IN    46221‐9661
CHARLES A TURNAGE                                416 W BOSTON AV                                                                                  YOUNGSTOWN       OH    44511‐3120
CHARLES A TYRRELL                                1209 COLUMBIA                                                                                    BERKLEY          MI    48072‐1970
CHARLES A VANDERLIP & BARBARA B VANDERLIP JT TEN 1221 KENILWORTH RD                                                                               HILLSBOROUGH     CA    94010‐7183

CHARLES A VAT                                      8590 WILCOX RD                                                                                 BROWN CITY       MI    48416‐9647
CHARLES A WADERLOW                                 12043 FULMAR RD                                                                                BROOKSVILLE      FL    34614‐3316
CHARLES A WALTER                                   3051 STAPLETON DR                                                                              KEEGO HARBOR     MI    48320‐1055
CHARLES A WARREN                                   PO BOX 944                                                                                     LEWISTON         MI    49756‐0944
CHARLES A WEIR                                     897 N LAKE GEORGE RD                                                                           ATTICA           MI    48412‐9663
CHARLES A WHEELER                                  148 IRONWOOD CT                                                                                DAYTON           OH    45440‐3560
CHARLES A WHITE                                    1137 VAN WAY                                                                                   PIQUA            OH    45356‐9792
CHARLES A WHITEHEAD                                235 STONE HILL RD                                                                              POUND RIDGE      NY    10576‐1424
CHARLES A WHITNEY                                  PO BOX 883                                                                                     AU GRES          MI    48703‐0883
CHARLES A WILLIAMS & MICHAEL C WILLIAMS JT TEN     7812 W 66TH ST                                                                                 BEDFORD PARK     IL    60501‐1906

CHARLES A WILSON                                   5541 CONSTITUTION CT                                                                           COLORADO SPRINGS CO    80915‐1135

CHARLES A WITHER                                   16280 CYNTHIA DR                                                                               BROOKPARK        OH    44142‐2712
CHARLES A WOODWORTH                                PO BOX 88                                                                                      BABCOCK          WI    54413‐0088
CHARLES A WOOTEN                                   3445 PEYTON RANDOLPH COVE                                                                      BARTLETT         TN    38134‐3032
CHARLES A ZALENTY JR                               36 BARBERIE AVE                                                                                HIGHLANDS        NJ    07732
CHARLES ABDO JR & CHRISTINE MULLAHY JT TEN         820 N 23 STREET                                                                                PHILADELPHIA     PA    19130‐1904
CHARLES ACCIVATTI SR                               15821 SIGWALT                                                                                  CLINTON TWNSHP   MI    48038‐3634

CHARLES ADAMSKI & HELEN M ADMASKI JT TEN           4640 MERRICK                                                                                   DEARBORN HTS    MI     48125‐2860
CHARLES ADSIDE                                     30724 SORREL AVE                                                                               CHESTERFIELD    MI     48051‐1782
CHARLES AGNELLO                                    140 JACKMAN LN                                                                                 ELMA            NY     14059‐9444
CHARLES AINSLEY                                    9102 S PAXTON AVE                                                                              CHICAGO         IL     60617‐3857
CHARLES AKMAKJIAN                                  C/O EG&G SEALOL CO                    606 LAFAYETTE ROAD                                       NORTH KINGSTOWN RI     02852‐5323

CHARLES ALAN GRADY                                 15902 LARKFIELD DR                                                                             HOUSTON          TX    77059‐5907
CHARLES ALAN SMITH                                 3439 ANGELAS CV                                                                                FRANKLIN         OH    45005‐9490
CHARLES ALAN YOUMANS                               8522 MOMS DR                                                                                   BELLEVILLE       MI    48111‐1337
CHARLES ALBERT FETZEK SR CUST CHARLES ALBERT       15 INDIAN CREEK DR                                                                             RUDOLPH          OH    43462‐9721
FETZEK JR UGMA OH
CHARLES ALFRED FINNEY & CHARLES ALFRED FINNEY JR   427 TEMPLE ROAD                                                                                SOUTHAMPTON      PA    18966
JT TEN
CHARLES ALFRED OSBORNE                             125 DALHOUSIE ST                      OTTAWA                                 K1N 7C2 CANADA
CHARLES ALKEVICIUS                                 1216 RICHMOND ST NW                                                                            GRAND RAPIDS    MI     49504‐2742
CHARLES ALLEN PITTMAN                              111 MICHAEL AVE                                                                                FT WALTON BEACH FL     32547‐2475
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 665 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

CHARLES AMICO                                    711 KNOX ROAD                                                                                 EAST AURORA       NY    14052‐9444
CHARLES AMOS HOWELL                              2044 PANSTONE COURT                                                                           MARIETTA          GA    30060‐4836
CHARLES ANDERSON JR                              1327 NICHOL                                                                                   ANDERSON          IN    46016‐3354
CHARLES ANDREW BLALOCK                           103 MERT CIRCLE                                                                               GOLDSBORO         NC    27530‐7606
CHARLES ANDREW POWELL                            72 FAIRCREST RD                                                                               MONTOURSVILLE     PA    17754‐8442
CHARLES ANTHONY ADELIZZI                         5 E KATHARINE AVE                                                                             OCEAN VIEW        NJ    08230‐1136
CHARLES ANTHONY BEARD                            816 MEMORIAL DR                                                                               CHICAGO HEIGHTS   IL    60411‐2027

CHARLES ANTHONY BRINGAS                          931 GRAND AVE                        STE J                                                    SAN DIEGO         CA    92109‐4056
CHARLES ANTHONY CHRISTY                          3102 MEADOW LANE                                                                              TAYLOR            TX    76574
CHARLES ANTHONY CROOK                            974 JOHNSON AVE                                                                               OREGON            WI    53575‐2866
CHARLES ANTHONY VASIS                            5640 N ROGERS                                                                                 CHICAGO           IL    60646‐6631
CHARLES ANTOL                                    2770 DOUGLAS LN                                                                               THOMPSONS STN     TN    37179‐5001
CHARLES ANTOL & BERTHA B ANTOL JT TEN            2770 DOUGLAS LN                                                                               THOMPSONS STN     TN    37179‐5001
CHARLES APPEL                                    373 PINE LN                                                                                   LOS ALTOS         CA    94022‐1648
CHARLES APPLEBY EST MARGARET APPLEBY             3018 NORMANNA ROAD                                                                            DULUTH            MN    55804
CHARLES ARMINGTON                                270 CHAGRIN BLVD                                                                              CHAGRIN FALLS     OH    44022‐2739
CHARLES ARNHOLS JR & CONSTANCE ARNHOLS JT TEN    11600 SW 69TH COURT                                                                           MIAMI             FL    33156‐4736

CHARLES ARTHUR FUHRMAN                           23061 BROOKSIDE                                                                               DEARBORN HEIGHTS MI     48125

CHARLES ARTHUR MARSH                         206 SPARROW DR                           APT 2                                                    ROYAL PLM BCH     FL    33411‐1346
CHARLES ATWATER THORNTON & SUSAN THORNTON JT 474 W EASTER AVE                                                                                  LETTLETON         CO    80120‐4229
TEN
CHARLES AUGUSTINI                            PO BOX 420                                                                                        BELLINGHAM        MA    02019‐0420
CHARLES AUSTIN DUNLOP                        2723 MOCKINGBIRD LANE                                                                             NEW CANEY         TX    77357‐3126
CHARLES B BAKER                              121 MAGNOLIA AVE                                                                                  PITMAN            NJ    08071‐1229
CHARLES B BEASLEY                            230 SAYRE LN                                                                                      MURFREESBORO      TN    37127‐8332
CHARLES B BECKER CUST CHRISTOPHER DAMION     756 FOOTHILL                                                                                      CANTON            MI    48188‐1565
BECKER UGMA MI
CHARLES B BOYD                               1200 PINEMEADOW TRAIL                                                                             HENDERSON         NC    27537‐7185
CHARLES B BRANDON & DOROTHY F BRANDON JT TEN 3911 PRESERVE WAY                                                                                 ESTERO            FL    33928‐3304

CHARLES B BRIDGHAM                               PO BOX 334                                                                                    FORT PECK         MT    59223‐0334
CHARLES B BROEG                                  1655 S GEORGETOWN ST                 APT 311                                                  WICHITA           KS    67218‐4125
CHARLES B BUTTS                                  3228 E TULIP DRIVE                                                                            INDIANAPOLIS      IN    46227‐7724
CHARLES B BUTTS & MARGARET J BUTTS JT TEN        3228 E TULIP DR                                                                               INDIANAPOLIS      IN    46227‐7724
CHARLES B CAMPBELL 3RD                           3625 NAAMANS DRIVE                                                                            CLAYMONT          DE    19703‐2123
CHARLES B COBB                                   26400 COUNTY ROAD 3618                                                                        STONEWALL         OK    74871‐6456
CHARLES B COLLINS                                1800 VALLEY LN                                                                                FLINT             MI    48503‐4553
CHARLES B COPLEY                                 2343 MAUZY ATHLONE ROAD                                                                       BROADWAY          VA    22815‐3745
CHARLES B CRONE & LINDA L CRONE JT TEN           PO BOX 472                                                                                    KNOX              PA    16232‐0472
CHARLES B CUMMINGS JR                            10101 HEROLD HWY                                                                              ADDISON           MI    49220‐9302
CHARLES B CUSHMAN & RUTHANN L CUSHMAN JT TEN     2729 WIND RIVER RD                                                                            ELCAJON           CA    92019‐4245

CHARLES B DAWSON JR & DIANE W DAWSON JT TEN      506 LIBERTY ST                                                                                WATSONTOWN        PA    17777‐1134

CHARLES B FERGUSON                               31766 ALVIN                                                                                   GARDEN CITY       MI    48135‐1323
CHARLES B FORAKER                                409 E 5TH ST                                                                                  LORDSBURG         NM    88045‐2033
CHARLES B GARSON                                 1715 6TH ST                                                                                   BAY CITY          MI    48708‐6718
CHARLES B GATEWOOD                               4019 28TH AVE                                                                                 PHENIX CITY       AL    36867‐2005
CHARLES B GREENWOOD                              418 FRASER APT 1                                                                              BAY CITY          MI    48708‐7123
CHARLES B GREY                                   2884 S WHEELING WAY                                                                           AURORA            CO    80014‐3450
CHARLES B HAGEN                                  15321 NE 1ST ST                                                                               BELLEVUE          WA    98007‐5001
CHARLES B HANEY                                  16859 COUNTRY RIDGE LN                                                                        MACOMB            MI    48044‐5209
CHARLES B HARRIS & CAROLYN E HARRIS JT TEN       35 ACTON STATION ROAD                                                                         SALEM             NJ    08079‐9533
CHARLES B HEFREN CUST JUDITH ELLEN HEFREN UGMA   2021 DOOMAR DR                                                                                TALLAHASSEE       FL    32308‐4807
OH
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 666 of 850
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

CHARLES B HEPPNER & MADELINE HEPPNER JT TEN       5125 S MULLIGAN AVE                                                                            CHICAGO         IL    60638‐1315

CHARLES B HICKS                                     803 CANNON ST                                                                                CUMBERLAND      KY    40823‐1001
CHARLES B HOLLIDAY                                  7846 HOFFMAN DR                                                                              WATERFORD       MI    48327‐4402
CHARLES B HUNTER                                    5588 CIDER MILL XING                                                                         YOUNGSTOWN      OH    44515‐4272
CHARLES B IVERSON                                   PO BOX 1246                                                                                  NASH            TX    75569‐1246
CHARLES B JIGGETTS                                  6136 MOUNTAIN SPRINGS LANE                                                                   CLIFTON         VA    20124‐2338
CHARLES B JONES                                     C/O KAREN GREEN‐ADMINISTRIX         RT 1 BOX 309‐3                                           VIAN            OK    74962‐9331
CHARLES B JONES                                     19406‐B COKER RD                                                                             SHAWNEE         OK    74801‐8760
CHARLES B JUVENAL                                   109 CHIMNEY ROCK CT                                                                          WEATHERFORD     TX    76086‐4676
CHARLES B KALEMJIAN                                 83 GLENDALE RD                                                                               EXTON           PA    19341‐1539
CHARLES B KELLETT                                   430 PARADISE AVE                                                                             MIDDLETOWN      RI    02842‐5780
CHARLES B KELLEY                                    3057 GEHRING DRIVE                                                                           FLINT           MI    48506‐2259
CHARLES B KELLEY & LEONA J KELLEY JT TEN            3057 GEHRING DR                                                                              FLINT           MI    48506‐2259
CHARLES B KENNING & CAROL M KENNING JT TEN          48 STONINGTON DR                                                                             PITTSFORD       NY    14534‐2924
CHARLES B KETLER                                    20721 N BENTON WEST RD                                                                       NORTH BENTON    OH    44449‐9614
CHARLES B KRAUS                                     159 OAK HAVEN PL                                                                             CONCORD         NC    28027‐5596
CHARLES B LEFFERT                                   1302 WRENWOOD                                                                                TROY            MI    48084‐2688
CHARLES B LEWIS                                     607 WAVERLY AVE                                                                              TOLEDO          OH    43607‐3837
CHARLES B LIGHT                                     5979 GLEN EAGLE TRL                                                                          HUDSONVILLE     MI    49426‐8764
CHARLES B LINGENFELTER                              2118 CROSSMAN DR                                                                             INDIANAPOLIS    IN    46227‐5930
CHARLES B LONSINGER                                 139 E LIBERTY ST                                                                             ASHLAND         OH    44805‐3359
CHARLES B LOUDNER                                   473 KOLIC HELMEY RD                                                                          GUYTON          GA    31312‐6220
CHARLES B MEIL                                      1328 CAPSTAN DR                                                                              ALLEN           TX    75013‐3410
CHARLES B MILLER JR TR CHARLES B MILLER JR TRUST UA 2508 EATON ROAD                     CHALTONTE                                                WILMINGTON      DE    19810‐3504
12/07/94
CHARLES B MITCHELL & MRS HELEN K MITCHELL JT TEN 10200 LAWYERS ROAD                                                                              VIENNA          VA    22181‐2942

CHARLES B NEAD                                    3011 AZALEA TER                                                                                PLYMOUTH        PA    19462‐7105
                                                                                                                                                 MEETING
CHARLES B NOTTINGHAM                               167 MEADOW WOOD LN                                                                            MONROE          GA    30656‐7029
CHARLES B OGLE & SANDRA P OGLE JT TEN              2448 W US 36                                                                                  PENDLETON       IN    46064‐9383
CHARLES B PEAK                                     1431 S US 421                                                                                 FRANKFORT       IN    46041‐9498
CHARLES B PERCY III & CHARLES B PERCY IV & SHANNON 12011 MILLER RD                                                                               LENNON          MI    48449‐9406
K PERCY JT TEN
CHARLES B POWELL                                   1018 SHAWHAN RD                                                                               MORROW          OH    45152‐8362
CHARLES B RENN                                     436 FOXEN DR                                                                                  SANTA BARBARA   CA    93105‐2511
CHARLES B RITZ                                     2525 ANNECY DR                                                                                MATTHEWS        NC    28105‐2324
CHARLES B ROGERS                                   RR #2 BOX 152A                                                                                MINCO           OK    73059‐9319
CHARLES B ROGERS & MRS JACQUELINE S ROGERS JT      BOX 7                                                                                         SONORA          KY    42776‐0007
TEN
CHARLES B SLAUGHTER                                PO BOX 17‐1092                                                                                KANSAS CITY     KS    66117‐0092
CHARLES B SNOOKS & ELIZABETH D SNOOKS JT TEN       419 WINDMILL POINTE                                                                           FLUSHING        MI    48433‐2156

CHARLES B SORRELLS                                180 TOWNLEY ROAD                                                                               OXFORD          GA    30054‐3840
CHARLES B STEGER                                  816 DUBLIN AVE                                                                                 ENGLEWOOD       OH    45322‐2840
CHARLES B STELL & GRACE M STELL JT TEN            3374 SOL VISTA                                                                                 FALLBROOK       CA    92028‐2600
CHARLES B SUTTON                                  RR 1 BOX 98                                                                                    KEYSER          WV    26726‐9111
CHARLES B SWANSON                                 9743 N E MASON                                                                                 PORTLAND        OR    97220‐3506
CHARLES B THOMAS & PEARLINE THOMAS JT TEN         1130 TANGLEBROOK DRIVE                                                                         ATHENS          GA    30606‐5772
CHARLES B THOMAS JR                               2305 MORTON AVENUE                                                                             FLINT           MI    48507‐4445
CHARLES B THOMPSON                                26863 YALE                                                                                     INKSTER         MI    48141‐2547
CHARLES B TUMBLIN                                 PO BOX 56                                                                                      HILLSBORO       MD    21641‐0056
CHARLES B ULLMANN                                 731 CHERRYWOOD RD                                                                              SALEM           VA    24153
CHARLES B WALTE                                   3470 N WILLOW COURT APT 1                                                                      BETTENDORF      IA    52722‐2872
CHARLES B WATTS                                   181 ELDERBERRY CIR                                                                             ATHENS          GA    30605‐4954
CHARLES B WERTH                                   1350 NO CENTER                                                                                 SAGINAW         MI    48603‐5510
CHARLES B WILSON                                  305 WASHINGTON ST                                                                              WRIGHTSTOWN     WI    54180‐1101
CHARLES B WIRTH                                   RR #2 RUSSELL DRIVE                                                                            WADING RIVER    NY    11792‐9500
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 667 of 850
Name                                            Address1                                Address2             Address3          Address4          City             State Zip

CHARLES B YOUNG                                 165 PONDEROSA DR                                                                                 WILLIAMSVILLE    NY    14221‐2422
CHARLES BAAS                                    601 PARKLAND                                                                                     CLAWSON          MI    48017‐2507
CHARLES BAGLEY IV                               1418 SIR WILLIAM WAY                                                                             CROWNSVILLE      MD    21032‐2036
CHARLES BAKER JR                                2006 BECKWITH CT                                                                                 FLINT            MI    48503‐5403
CHARLES BALAZSIN                                10610 NE 10TH CT                                                                                 MIAMI SHORES     FL    33138‐2102
CHARLES BALL                                    46111 VILLAGE GREEN LN                  APT A244                                                 BELLEVILLE       MI    48111‐3121
CHARLES BANNISTER                               210 OLD TIMEY TRL                                                                                MOULTRIE         GA    31768‐7091
CHARLES BARNELL                                 PO BOX 425                                                                                       GLEN ARBOR       MI    49636‐0425
CHARLES BARNETT                                 12800 SPRUCE TREE WAY                   APT 411                                                  RALEIGH          NC    27614‐8285
CHARLES BARNEY NOKES                            6812 AUMOAE CT                                                                                   DIAMONDHEAD      MS    39525
CHARLES BARTON ACKERMAN                         2334 COLUMBINE RD                                                                                WEED             CA    96094‐9631
CHARLES BASEL                                   2150 E HILL RD                          APT 37                                                   GRAND BLANC      MI    48439‐5142
CHARLES BATTISTIN JR                            71 LAUREL AVE                                                                                    BLOOMFIELD       NJ    07003‐2228
CHARLES BAUDOUINE & JOAN BAUDOUINE JT TEN       724 RIVER ST                                                                                     MAMARONECK       NY    10543‐1730
CHARLES BAUMGARDNER                             2371 CHRISTINE DR                                                                                TITUSVILLE L     FL    32796‐4522
CHARLES BEARDSLEY                               144 ARVEY LANE                                                                                   FOND DU LAC      WI    54935‐6208
CHARLES BEARHORST                               PO BOX 278                                                                                       BELLE            MO    65013‐0278
CHARLES BEASLEY                                 6908 FERRIS ST                                                                                   BELLAIRE         TX    77401‐3920
CHARLES BELFIORE                                268 VENETO DR                           WOODBRIDGE ON                          L4L 8X7 CANADA
CHARLES BELL CUST ANDREW CHARLES BELL UGMA MA   1 SPINNAKER CIR                                                                                  HAVERHILL        MA    01830‐2066

CHARLES BELLAVIA                                69‐07 242ND ST APT 41A                                                                           LITTLE NECK      NY    11362‐1966
CHARLES BENARD                                  279 CEDARDALE                                                                                    PONTIAC          MI    48341‐2727
CHARLES BENESH TOD DIANA E GOOCH SUBJECT TO STA 7797 S JAY RD                                                                                    WEST MILTON      OH    45383
TOD RULES
CHARLES BENTON PERKINS                          3 ST REGIS DRIVE                                                                                 NEWARK           DE    19711‐3883
CHARLES BERGGREEN                               6238 E CHOLLA LN                                                                                 PARADISE VLY     AZ    85253‐6974
CHARLES BERNARD BUZZETT                         102 YAUPON ST                                                                                    PORT SAINT JOE   FL    32456‐2360
CHARLES BERTRAM                                 1928 W WHITE RD W                                                                                NEW ERA          MI    49446‐8126
CHARLES BIEHL JR                                380 SPRINGFIELD AVE                                                                              PENNS GROVE      NJ    08069‐2907
CHARLES BLACKBURN                               224 ILENE DR                                                                                     SOUTH LEBANON    OH    45065‐1102
CHARLES BLAIR SHERMAN & PATRICIA A SHERMAN JT   1103 BRABEC STREET                                                                               PITTSBURG        PA    15212‐5104
TEN
CHARLES BLANCH & MRS EILEEN G BLANCH JT TEN     6663 HIDDEN LAKE TRL                                                                             BRECKSVILLE      OH    44141‐3173

CHARLES BLATTBERG                               180‐19 69TH AVE                                                                                  FRESH MEADOWS    NY    11365‐3521
CHARLES BLAZEJOWSKI                             354 BALDWIN DR                                                                                   BRISTOL          CT    06010‐3082
CHARLES BLOSTEN                                 PO BOX 388                                                                                       LITTLETON        CO    80160‐0388
CHARLES BORCHARDT JR                            2078 W WOODCRAFT RD                                                                              BENNINGTON       OK    74723‐2006
CHARLES BOUMA                                   220 DURST ROAD                                                                                   IRWIN            PA    15642‐9102
CHARLES BOUTON                                  17 OAK DR                                                                                        HOPEWELL JCT     NY    12533‐5733
CHARLES BOYKIN BOYCE                            823 TULIP ST                                                                                     EARLE            AR    72331‐1527
CHARLES BRACK FORD                              5188 BUCKEYE GROVE                                                                               COLUMBUS         OH    43214‐1866
CHARLES BRANDY                                  2611 CUBA BLVD                                                                                   MONROE           LA    71201‐2009
CHARLES BRANT III & BARBARA H BRANT JT TEN      727 AMBLESIDE DR                        WESTMINSTER                                              WILMINGTON       DE    19808‐1502
CHARLES BRELLENTHIN                             N92W7040 EVERGREEN CT                   APT 203                                                  CEDARBURG        WI    53012‐3253
CHARLES BROMLEY JR                              16564 BEACH DR NE                                                                                SEATTLE          WA    98155‐5622
CHARLES BROWN                                   4227 CLEVELAND AVENUE                                                                            DAYTON           OH    45410‐3405
CHARLES BROWN JR                                2839 BEARD RD NE                                                                                 WESSON           MS    39191‐9418
CHARLES BRUCE SCHNAREL JR                       22321 NE 157TH ST                                                                                WOODINVILLE      WA    98072‐7459
CHARLES BRUCE TODD                              1017 GRASSMERE AVENUE                                                                            OCEAN            NJ    07712‐4227
CHARLES BRUCE WAMSLEY                           BOX 397                                 TEESWATER ON                           N0G 2S0 CANADA
CHARLES BUCHANAN & ABIGAIL BUCHANAN JT TEN      8 EDENFIELD CV                                                                                   LITTLE ROCK      AR    72212‐2667

CHARLES BUESENER & MRS JOAN BUESENER JT TEN     34 TROUT LAKE DR                                                                                 WESTBROOK        CT    06498

CHARLES BURANDT & KATHLEEN F BURANDT JT TEN     IN720 GOODRICH AVE                                                                               GLEN ELLYN       IL    60137

CHARLES BURKHARDT JR                            220 S HOME AVE                                                                                   TOPTON           PA    19562‐1228
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 668 of 850
Name                                             Address1                              Address2                  Address3     Address4          City              State Zip

CHARLES BUSTA JR & ANN E BUSTA JT TEN            7612 SOUTHINGTON DRIVE                                                                         PARMA            OH     44129‐4926
CHARLES BYRD FEE                                 210 13TH ST                                                                                    BLOOMFIELD       IN     47424‐8724
CHARLES BYRON KORNS III                          168 W UNION ST                                                                                 SOMERSET         PA     15501‐1454
CHARLES BYRON PEASE                              301 AVON ON THE GRN                                                                            AVON             NY     14414‐1064
CHARLES C ADAMS JR                               5220 ROCKWOOD DRIVE                                                                            CASTALIA         OH     44824‐9463
CHARLES C AGNELLO JR                             5642 MATTHEWS ROAD                                                                             OLIVET           MI     49076‐9681
CHARLES C ANDREWS                                1264 OLD MANCHESTER ROAD                                                                       WESTMINISTER     MD     21157‐3830
CHARLES C ANTHONY                                36600 SAXONY                                                                                   FARMINGTON HILLS MI     48335‐2940

CHARLES C BAKER                                  610 TIMBER RIDGE DR                                                                            HIXSON            TN    37343‐3853
CHARLES C BEAVERS & LAVERNE E BEAVERS JT TEN     1555 KING ARTHUR CT                                                                            SMYRNA            GA    30080‐5823
CHARLES C BERRY                                  411 W RACE ST                                                                                  LESLIE            MI    49251‐9412
CHARLES C BIRD                                   5400 BARBERRY CIRCLE                                                                           CRESTWOOD         KY    40014‐9210
CHARLES C BONNICI                                9217 COLORADO                                                                                  LIVONIA           MI    48150‐3771
CHARLES C BONNICI & THERESA BONNICI JT TEN       9217 COLORADO                                                                                  LIVONIA           MI    48150‐3771
CHARLES C BORNEMAN                               2608 E JACKSON BLVD                                                                            ELKHART           IN    46516‐5054
CHARLES C BREEDEN                                1401 PAGE ROAD                                                                                 MIDLOTHIAN        VA    23113‐9300
CHARLES C CANTRELL & SACHIKO M CANTRELL JT TEN   PO BOX 1030                                                                                    MOUNTAIN VIEW     MO    65548‐1030

CHARLES C CARLILE                                800 FERN ST                                                                                    MARIETTA          GA    30067‐6734
CHARLES C CARLSON                                37250 BURDOCK DR                                                                               ZEPHYRHILLS       FL    33541‐5351
CHARLES C CAVOLT & JEAN CAVOLT TR THE CAVOLT     2010 SAN MARCOS BLVD #166                                                                      SAN MARCOS        CA    92078‐3984
FAMILY TRUST UA 10/13/04
CHARLES C CHAMBERLAIN & PEGGY L CHAMBERLAIN JT   21635 GROSSEDALE                                                                               ST CLAIR SHORES   MI    48082‐1660
TEN
CHARLES C CHEN AND CAROL A CHEN CUST JOSEPH Y    3297 W 250S                                                                                    KOKOMO            IN    46902‐4662
CHEN A UGMA IN
CHARLES C CLARK                                  BOX 668                                                                                        FLOWERY BRANC     GA    30542‐0012
CHARLES C COLE                                   3951 KINCAID EAST NW                                                                           WARREN            OH    44481‐9128
CHARLES C COMANICH                               3115 KNIGHT LANE                                                                               BAYTOWN           TX    77521
CHARLES C COMERIO                                C/O ATTY THEODORE MONOLIDIS           645 GRISWOLD SUITE 1766                                  DETROIT           MI    48226‐4109
CHARLES C CONDON                                 92 SEAGULL RD                                                                                  SELBYVILLE        DE    19975
CHARLES C COOK                                   9425 WOOD VALLEY LN                                                                            CHARLOTTE         NC    28270‐4406
CHARLES C COOK                                   PO BOX 172                                                                                     LANDISVILLE       PA    17538‐0172
CHARLES C COOLIDGE                               40 MAPLE DELL                                                                                  HOLLISTON         MA    01746
CHARLES C CORBETT                                10836 INGLEWOOD AVE                                                                            PORT RICHEY       FL    34668‐2509
CHARLES C CROWLEY                                171 LEWIS TATE RD                                                                              MERRIDIANVILLE    AL    35759‐2411
CHARLES C CUNNINGHAM                             308 SUGAR RIDGE RD                                                                             OTTAWA            OH    45875
CHARLES C CUNNINGHAM                             6413 REMINGTON PARKWAY                                                                         COLLEYVILLE       TX    76034
CHARLES C CUNNINGHAM ADM EST C E CUNNINGHAM      6413 REMINGTON PARKWAY                                                                         COLLEYVILLE       TX    76034

CHARLES C CUPPY                                  1703 LAKE ROAD                                                                                 MEDWAY            OH    45341‐1239
CHARLES C DAY                                    119 PENNY PACKER DR                                                                            WILLINGBORO       NJ    08046‐2646
CHARLES C ESTERLINE                              8354 CROWN POINT RD                                                                            INDIANAPOLIS      IN    46278‐9770
CHARLES C EVANS                                  34 GOOSETOWN DR                                                                                CLINTON           NJ    08809‐2603
CHARLES C EVANS & BLANCHE W EVANS TR UA 09/06/90 2200 INDIAN CREEK BLVD W #P202                                                                 VERO BEACH        FL    32966
CHARLES C EVANS TRUST
CHARLES C EVERSOLE                               11217 NASHVILLE HWY                                                                            MC MINNVILLE      TN    37110‐5154
CHARLES C FREIHOFER III                          PO BOX 552                                                                                     LAKE GEORGE       NY    12845‐0552
CHARLES C GARDNER 4TH                            4974 MONTESSA STREET                                                                           SAN DIEGO         CA    92124‐1509
CHARLES C GAU                                    5010 MARCY AVENUE                                                                              W CARROLLTON      OH    45449‐2747
CHARLES C GERHAUSER                              511 DELTA ROAD                                                                                 FREELAND          MI    48623‐9311
CHARLES C GILBERT 3RD                            3909 HOBBS ROAD                                                                                NASHVILLE         TN    37215‐2224
CHARLES C GOODENOUGH & ANNETTE F GOODENOUGH 1657 GOLD OAKS RD                                                                                   DELTONA           FL    32725‐4314
JT TEN
CHARLES C HALE JR                                3615 CASON                                                                                     HOUSTON           TX    77005‐3727
CHARLES C HAMILTON                               11949 PURDY ROAD                                                                               SARDINIA          OH    45171‐9131
CHARLES C HANOCH JR                              4112 W WACKERLY STREET                                                                         MIDLAND           MI    48640‐2118
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 669 of 850
Name                                               Address1                            Address2             Address3          Address4          City               State Zip

CHARLES C HARROLD III CUST MAY IOLA ALSTON UGMA    3077 FARMINGTON LN                                                                           ATLANTA            GA    30339‐4710
IL
CHARLES C HAYNIE & SANDRA E HAYNIE JT TEN          PO BOX 1065                                                                                  HOOD RIVER         OR    97031‐0036
CHARLES C HOIG                                     564 W VICTORY WAY                   # 114                                                    NEWBERRY           MI    49868‐1738
CHARLES C HOLME                                    PO BOX 3566                                                                                  FULLERTON          CA    92834‐3566
CHARLES C JORDAN                                   4409 WINDSOR PARKWAY                                                                         DALLAS             TX    75205‐1648
CHARLES C JULIAN                                   403 NORTHRIDGE DR                                                                            BRANDON            MS    39042‐4103
CHARLES C KIRK                                     P. O. BOX 886                                                                                PASADENA           MD    21123
CHARLES C LICARI & ROSLYN K LICARI JT TEN          38633 BRAMHAM DR                                                                             CLINTON TWP        MI    48038‐3103
CHARLES C LINDBERG                                 BOX 843                                                                                      DETROIT LAKES      MN    56502‐0843
CHARLES C LYON                                     409 SWAN DR                                                                                  WINSTON SALEM      NC    27106‐4509
CHARLES C MARR                                     2728 BRUCE DR                                                                                GAINESVILLE        GA    30504
CHARLES C MATTSON                                  RTE 2                               10169 S BOW RD                                           MAPLE CITY         MI    49664‐9619
CHARLES C MC CARTHA                                216 MIDDLETON PL                                                                             GRAYSON            GA    30017‐4116
CHARLES C MCCARTHA                                 216 MIDDLETON PL                                                                             GRAYSON            GA    30017‐4116
CHARLES C MCDERMITT                                9658 BARKLEY RD                                                                              MILLINGTON         MI    48746‐9761
CHARLES C MCDOWELL                                 1216 CHAUCER CIR                                                                             AKRON              OH    44312‐6001
CHARLES C MENTZER & JANE A MENTZER JT TEN          9 POCONO POINT RD                                                                            DANBURY            CT    06811‐3325
CHARLES C MORGAN                                   114 RIVERVIEW BL                                                                             FLUSHING           MI    48433
CHARLES C MORROW                                   28 BEACON ST                                                                                 MARBLEHEAD         MA    01945‐2668
CHARLES C NANCE                                    1000 SOMERSET LANE                                                                           NEWPORT BEACH      CA    92660‐5627
CHARLES C NEWLAND                                  ATTN SHARON LEE NEWLAND             62 BASS CR                                               NANCY              KY    42544‐4418
CHARLES C NICHOLLS & MARGIE J NICHOLLS JT TEN      552 N 4TH                                                                                    MONTPELIER         ID    83254‐1017

CHARLES C NIEDRINGHAUS JR                          2248 SANTA FE PIKE                                                                           COLUMBIA           TN    38401‐2393
CHARLES C PACE III                                 57 DORSMAN DR                                                                                CLIFTON PARK       NY    12065‐7203
CHARLES C PARRISH SR                               2124 RIDGELINE DRIVE                                                                         LANSING            MI    48912‐3428
CHARLES C PEEVY & BETTIE E PEEVY JT TEN            1344 E SAN REMO AVE                                                                          GILBERT            AZ    85234‐8715
CHARLES C QUARLES                                  726 LOVEVILLE RD APT 48                                                                      HOCKESSIN          DE    19707‐1522
CHARLES C RAGAINS & KAY M RAGAINS JT TEN           3753 BURNING TREE DRIVE                                                                      BLOOMFIELD HILLS   MI    48302‐1534

CHARLES C REED                                     3306 W 52ND ST                                                                               CLEVELAND          OH    44102‐5846
CHARLES C REID                                     81 CLAPBOARD HILL ROAD                                                                       GREENS FARMS       CT    06436
CHARLES C REMAGEN                                  1433 N HICKORY                                                                               BALD KNOB          AR    72010‐9524
CHARLES C RENWICK & SHIRLEY K RENWICK JT TEN       427 W MAPLE ST                                                                               MASON              MI    48854‐1519

CHARLES C RICE JR CUST KELLY MARIE RICE UGMA MA    31459 ORCHARD LN                                                                             MURRIETA           CA    92563‐6241

CHARLES C RICHARDSONJ                              1580 BEL‐AIR                                                                                 SAGINAW            MI    48604‐1628
CHARLES C ROBINSON                                 101 W MAIN ST                                                                                NEW LEBANON        OH    45345‐1419
CHARLES C ROBINSON                                 6 VALLECITO LANE                                                                             WATSONVILLE        CA    95076
CHARLES C ROSS                                     1104 N X ST                                                                                  LOMPOC             CA    93436‐3158
CHARLES C SHINLEVER & MRS MARY JO L SHINLEVER JT   2201 LLOYD                                                                                   KNOXVILLE          TN    37920‐3518
TEN
CHARLES C SKILES                                   209 WESTWOOD AVENUE                                                                          MANSFIELD          OH    44903
CHARLES C SLEEMAN                                  114 MCLAUGHLIN RD RM #218           LINDSAY ON                             K9V 6L1 CANADA
CHARLES C SMITH                                    208 WAVERLY                                                                                  HIGHLAND PARK      MI    48203‐3271
CHARLES C SMITH                                    5711 GRISWOLD RD                                                                             KIMBALL            MI    48074
CHARLES C SOVICK JR                                105 JEFFERSON PL                                                                             COLUMBIA           SC    29212‐3135
CHARLES C SOVICK SR                                303 NORTH BAYSHORE DRIVE                                                                     COLUMBIANA         OH    44408‐9358
CHARLES C TATE                                     2521 PENNINGTON DR                                                                           WILMINGTON         DE    19810‐4709
CHARLES C THAMES                                   18699 NORTH FORK FARM ROAD                                                                   WARRENTON          MO    63383
CHARLES C THOMAS & DORIS L THOMAS JT TEN           5165 NORTH JENNINGS RD                                                                       FLINT              MI    48504‐1138
CHARLES C THOMPSON                                 224 HOUGHTON                                                                                 MILFORD            MI    48381
CHARLES C TOOLE                                    714 HICKMAN ROAD                                                                             AUGUSTA            GA    30904‐4229
CHARLES C TURNER                                   1606 LANTANA DR                                                                              THOMPSONS STN      TN    37179‐9767
CHARLES C VARNEY                                   1776 VICTOR ST                                                                               YPSILANTI          MI    48198‐6639
CHARLES C WEBB                                     101 CHATHAM PLACE                   WINDYBUSH                                                WILMINGTON         DE    19810‐4403
CHARLES C WEISS                                    1225 COLLINGTON DR                                                                           CORY               NC    27511‐5839
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                        Part 1 of 8 Pg 670 of 850
Name                                               Address1                              Address2             Address3             Address4          City            State Zip

CHARLES C WELLS                                    6616 WESTERN AVE                                                                                  CHEVY CHASE     MD    20815‐3211
CHARLES C WHISTLER III CUST CAROLYN MARIE          760 FAIRFORD ROAD                                                                                 GROSSE POINTE   MI    48236‐2433
WHISTLER UGMA MI
CHARLES C WHISTLER III CUST LAURIE ANNE WHISTLER   760 FAIRFORD                                                                                      GROSSE POINTE   MI    48236‐2433
UGMA MI                                                                                                                                              WOOD
CHARLES C WILLIAMS JR                              3551 KESSLER BLVD N DR                                                                            INDIANAPOLIS    IN    46222‐1831
CHARLES C WILLIAMS JR                              8508 GRAND VIEW DR                                                                                GRAND BLANC     MI    48439‐7373
CHARLES C WININGER                                 802 ALPINE DRIVE                                                                                  ANDERSON        IN    46013‐5002
CHARLES C WU & MRS ANNE L WU JT TEN                302 WATKINS POND BLVD                                                                             ROCKVILLE       MD    20850‐5621
CHARLES C WYNKOOP                                  15900 CHATSWORTH ST                                                                               GRANADA HILLS   CA    91344‐7128
CHARLES C YOUNG                                    2278 FAIRGREEN ST                                                                                 WARREN          OH    44483
CHARLES C YOUNG                                    1272 EAST BLOOD RD                                                                                COWLESVILLE     NY    14037‐9735
CHARLES CACHO                                      8578 AVENIDA COSTA BLANCA 101                                                                     SAN DIEGO       CA    92154
CHARLES CAMPBELL                                   BOX 67                                                                                            MARKLEVILLE     IN    46056‐0067
CHARLES CARBAJAL                                   3654 COMMON RD                                                                                    WARREN          MI    48092‐3358
CHARLES CARROLL MORGAN JR                          2255 REVERDY FARM RD                                                                              INDIAN HEAD     MD    20640‐3699
CHARLES CARROLL MURPHY JR                          6733 PINE DR                                                                                      COLUMBIA        MD    21046‐1114
CHARLES CARUSO                                     49 MORTON ST APT 7C                                                                               NEW YORK        NY    10014
CHARLES CASKEY                                     67 WESTPORT DRIVE                                                                                 FAIRBORN        OH    45324‐4243
CHARLES CASTRO CUST ISABELLA CASTRO UTMA IL        395 FULTON ST                                                                                     SOUTH ELGIN     IL    60177‐2013

CHARLES CESNIK                                    4651 STANSBURY COURT                                                                               INDIANAPOLIS    IN    46254‐9660
CHARLES CHAPMAN HIGGINS                           151 EAST 83RD STREET                   APT 10C                                                     NEW YORK        NY    10028‐1957
CHARLES CHARTERS WYNN                             123 SANTA MARGARITA DRIVE                                                                          SAN RAFAEL      CA    94901‐1635
CHARLES CHASE JR & CHARLENE A CHASE JT TEN        44458 MIDWAY DRIVE                                                                                 NOVI            MI    48375‐3948
CHARLES CHAUNCEY SAVAGE                           127 W 26TH ST                                                                                      NY              NY    10001‐6808
CHARLES CHAVERS & EULA CHAVERS JT TEN             981 FORD CHAPEL RD                                                                                 HARVEST         AL    35749
CHARLES CHAVEZ                                    37904 CANYON HEIGHTS DR                                                                            FREMONT         CA    94536‐1808
CHARLES CHIAPPETTA CUST CHARLES RICHARD           4327 BENSON PIKE                                                                                   SHELBYVILLE     KY    40065‐7504
CHIAPPETTA UGMA WI
CHARLES CHRISTOFORO JR & JULIE CHRISTOFORO JT TEN 678 MIDDLETOWN AVE                                                                                 NORTH HAVEN     CT    06473‐3513

CHARLES CHRISTOPHER MAXWELL                        6606 VALLEY MILLS AVENUE                                                                          INDIANAPOLIS    IN    46241‐9629
CHARLES CHURCHILL CUST JENNIFER D CHURCHILL        409 HORN                                                                                          LAS VEGAS       NV    89107‐2121
UGMA NEB
CHARLES CIANCIA                                    9 DOGWOOD TR                                                                                      RANDOLPH        NJ    07869‐1059
CHARLES CINDRIC                                    1405 82ND AVE                         #33                                                         VERO BEACH      FL    32966‐6929
CHARLES CLANCY                                     906 COOPER RIDGE PLACE                                                                            VALRICO         FL    33594‐4041
CHARLES CLARENCE FETTERS                           5406 MARSHALL RD                                                                                  DAYTON          OH    45429‐5917
CHARLES CLARENCE RILEY                             BOX 53                                                                                            SULPHUR SPG     IN    47388‐0053
CHARLES CLARKE                                     1280 HONAN DR                                                                                     SOUTH BEND      IN    46614‐2172
CHARLES CLAYTON SMITH & KEITH N SMITH JT TEN       5711 GRISWOLD RD                                                                                  SMITHS CREEK    MI    48074

CHARLES COBB                                       3600 VIRGINIA AVE SE                                                                              CHARLESTON      WV    25304‐1408
CHARLES COCHRAN                                    3525 WILEY RD                                                                                     CHARLESTON      WV    25306‐6611
CHARLES COCKRELL                                   4908 LOIS ST                                                                                      BIRMINGHAM      AL    35207‐1222
CHARLES COLLINS                                    C/O SHARON E RILEY                    1606 GARLAND ST                                             FLINT           MI    48503
CHARLES COLLITON                                                                                                                                     GRAND GORGE     NY    12434
CHARLES COMLY SHACKELFORD                          PO BOX 4623                                                                                       LOUISVILLE      KY    40204‐0623
CHARLES CONLEY                                     6695 MAID MARION CLOSE                                                                            ALPHARETTA      GA    30005
CHARLES CONOVER TALBOT JR                          2912 SAINT PAUL ST                                                                                BALTIMORE       MD    21218‐4123
CHARLES CONTRINO                                   425 HIGHLAND AVENUE                                                                               KENMORE         NY    14223‐1528
CHARLES COOK                                       4210 SEIPPES RD                                                                                   FEDERALSBURG    MD    21632
CHARLES CORRALLO                                   567 WALNUT ST                                                                                     LOCKPORT        NY    14094‐3126
CHARLES COTTON                                     421 SOUTH ROBERTS                                                                                 LIMA            OH    45804‐3065
CHARLES COUCH                                      8004 RT 4 MANNING RD                                                                              GERMANTOWN      OH    45327‐9342
CHARLES COUNTY 4‐H PROGRAM                         ATTN ROBERT B OWEN                    #119                 9375 CHESAPEAKE ST                     LA PLATA        MD    20646‐3646
CHARLES COWARD                                     7818 HANOVER PKWY APT 301                                                                         GREENBELT       MD    20770‐2611
CHARLES COX JR                                     4857 LEFFINGWELL RD                                                                               CANFIELD        OH    44406‐9130
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 671 of 850
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

CHARLES CRIPPEN BARNETT 3RD                       4787 LAKESHORE LOOP                                                                           OLDSMAR         FL    34677‐6315
CHARLES CROSS                                     1219 MARTIN                                                                                   INDIANAPOLIS    IN    46227‐3137
CHARLES CURRY LATHAM                              5010 WAINWRIGHT AVE                                                                           HUNTSVILLE      AL    35802‐1853
CHARLES CURTISS CATES                             BOX 146                                                                                       PARKTON         NC    28371‐0146
CHARLES CUYLEAR                                   19 CHI‐MAR DR                                                                                 ROCHESTER       NY    14624‐4055
CHARLES CYRIEL BOLLAERT                           368 TOWER ST                                                                                  WHITE LAKE      MI    48386‐3067
CHARLES D ADAMS                                   1632 WOODS DR                                                                                 DAYTON          OH    45432‐2125
CHARLES D ALVEY                                   11120 HARBOR YATCH COURT             # 24E                                                    FORT MYERS      FL    33908
CHARLES D ATHEY                                   123 STARHILL AVE                                                                              FAYETTEVILLE    NC    28303
CHARLES D BAKER                                   131 NEWINGTON CIR                                                                             ANDERSON        SC    29621‐3646
CHARLES D BALDERSON                               1765 ERIC DR                                                                                  DAYTON          OH    45414‐3917
CHARLES D BALDINGER                               3182 DETROIT RD                                                                               NILES           MI    49120‐9453
CHARLES D BATTS & MARILYN L BATTS JT TEN          PO BOX 8460                                                                                   SANTA FE        NM    87504‐8460
CHARLES D BELL                                    501 UBER STREET                                                                               NEW CASTLE      PA    16101‐4564
CHARLES D BELL                                    2600 BURGESS DR                      APT 105                                                  ZELIENOPLE      PA    16063‐2516
CHARLES D BELL                                    3582 CARTER RD                                                                                BUFORD          GA    30518‐1602
CHARLES D BENESTA                                 10345 PATRICIA DR                                                                             BATON ROUGE     LA    70816‐2067
CHARLES D BERRY                                   2114 ELKTON PIKE                                                                              PULASKI         TN    38478‐8762
CHARLES D BIRCH & MARY ANN BIRCH JT TEN           8320 LOGAN BAY                                                                                KALAMAZOO       MI    49009‐5981
CHARLES D BOGGESS                                 PO BOX 1256                                                                                   LAFALLETTE      TN    37766‐1256
CHARLES D BORDEMAN                                25‐94 42ND ST                                                                                 ASTORIA         NY    11103‐2846
CHARLES D BOTT TOD JAMES H HUGHES‐BOTT            8845 LONG RD                                                                                  OSTRANDER       OH    43061‐9518
CHARLES D BOULTON                                 12942 IROQUOIS                                                                                BIRCH RUN       MI    48415‐9316
CHARLES D BOWLING                                 2433 N RIVERSIDE DR                                                                           BELIOT          WI    53511‐2498
CHARLES D BRADY                                   5741 HERBERT RD                                                                               CANFIELD        OH    44406‐9610
CHARLES D BRADY JR                                12402 N JENNINGS RD                                                                           CLIO            MI    48420‐8245
CHARLES D BRANSON & BERTHA J BRANSON JT TEN       1972 ROCKS SPRINGS RD                                                                         COLUMBIA        TN    38401‐7420

CHARLES D BRENNAN                                  3600 UP MOUNTAIN RD                                                                          SANBORN         NY    14132
CHARLES D BROWN                                    2102 HANGING LIMB HWY                                                                        CRAWFORD        TN    38554‐3925
CHARLES D BROWN                                    BOX 655                                                                                      GAINESVILLE     TX    76241‐0655
CHARLES D BURDEN                                   25875 HURON                                                                                  ROSEVILLE       MI    48066‐4938
CHARLES D BURGESS                                  7616 S MISSION LANE                                                                          MUNCIE          IN    47302‐8960
CHARLES D BURLESON                                 3332 JARVIS                                                                                  WARREN          MI    48091‐3466
CHARLES D BUTTS & ALICE M BUTTS JT TEN             1629 N PLACITA TUBERIA                                                                       TUCSON          AZ    85745‐8833
CHARLES D CAIN                                     7364 N 300 W 5                                                                               MARION          IN    46952‐6829
CHARLES D CAMILLERI                                45877 MORCEAU DR                                                                             MACOMB          MI    48044‐6034
CHARLES D CAMPBELL                                 20001 PREVOST                                                                                DETROIT         MI    48235‐2344
CHARLES D CAREY                                    209 STATE STREET                                                                             CHARLOTTE       MI    48813‐1733
CHARLES D CATO                                     8285 30TH AVE N                                                                              ST PETERSBURG   FL    33710‐2256
CHARLES D CHASE JR                                 3743 RIATA DR                                                                                BAY CITY        MI    48706‐2198
CHARLES D CLARK                                    9608 N ALICE LN                                                                              MUNCIE          IN    47303‐9156
CHARLES D COBB                                     116 DEERFIELD DR                                                                             COLUMBIA        TN    38401‐5252
CHARLES D COLEMAN                                  5545 TWP RD 173 RR #3                                                                        CARDINGTON      OH    43315‐9368
CHARLES D COLLINS                                  416 JACKSON ST                                                                               DANVILLE        IL    61832‐4618
CHARLES D COLLINS & PAULA L COLLINS JT TEN         416 JACKSON ST                                                                               DANVILLE        IL    61832‐4618
CHARLES D COLLINS HANS R COLLINS & PAULA L COLLINS 416 JACKSON ST                                                                               DANVILLE        IL    61832‐4618
JT TEN
CHARLES D COLLINS PAULA L COLLINS & HANS R COLLINS 416 JACKSON ST                                                                               DANVILLE        IL    61832‐4618
JT TEN
CHARLES D COMSTOCK                                 199 ESSEX RD                                                                                 LEXINGTON       OH    44904‐1007
CHARLES D CONGER                                   3641 LK SHORE DR                                                                             LAPEER          MI    48446‐2945
CHARLES D COPPAGE                                  PO BOX 1806                                                                                  MANTEO          NC    27954‐1806
CHARLES D CORK                                     116 PICTURESQUE DRIVE                                                                        ROCHESTER       NY    14616‐1052
CHARLES D CROSS JR & EMMA E CROSS JT TEN           954 BAY VISTA BLVD                                                                           ENGLEWOOD       FL    34223‐2406
CHARLES D D'ORIA & LINDA D'ORIA JT TEN             10 APPLE LANE                                                                                COMMACK         NY    11725‐3604
CHARLES D DAVIS                                    8883 DARTMOUTH AVE                                                                           DENVER          CO    80231‐4253
CHARLES D DEATON                                   HC 86 BOX 380                                                                                PINEVILLE       KY    40977‐9514
CHARLES D DECKER                                   9161 ARLINGTON DR                                                                            YPSILANTI       MI    48198‐9410
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 672 of 850
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

CHARLES D DELONG                                   921 IMY LN                                                                                     ANDERSON        IN    46013‐3867
CHARLES D DELORGE                                  2450 PRIVATE DRIVE                                                                             WATEFORD        MI    48329‐4458
CHARLES D DEVNEW                                   691 PENNELL RD                                                                                 MORAVIAN FLS    NC    28654‐9786
CHARLES D DIRCKX                                   4701 RENWOOD DRIVE                                                                             KETTERING       OH    45429‐5521
CHARLES D DIVENERE JR                              54 SCHROWBACK RD                                                                               PLYMOUTH        CT    06782‐2001
CHARLES D DOBBS                                    276 SIMPSON                           PO BOX 333                                               GRASS LAKE      MI    49240‐0333
CHARLES D DUKE                                     4105 LEAFSTONE DR                                                                              COVINGTON       GA    30014‐3325
CHARLES D DUNCAN                                   9600 HUBBELL                                                                                   DETROIT         MI    48227‐2702
CHARLES D EBERHARDT                                9917 MARAH AVE                                                                                 CLEVELAND       OH    44104‐5441
CHARLES D EDWARDS                                  668 JACKSON RD                                                                                 GALION          OH    44833‐9702
CHARLES D EWEN                                     PO BOX 95‐H                                                                                    SCARSDALE       NY    10583‐8595
CHARLES D FAIR                                     7644 STATE ROUTE 36                                                                            BRADFORD        OH    45308‐9514
CHARLES D FAIR & RUTHA V FAIR JT TEN               7644 US 36                                                                                     BRADFORD        OH    45308
CHARLES D FERGUSON                                 32426 PARDO ST                                                                                 GARDEN CITY     MI    48135‐1244
CHARLES D FISCUS                                   RR #2 BOX 141                                                                                  CORINTH         KY    41010‐9804
CHARLES D FRANTZ                                   31200 WESTFIELD                                                                                LIVONIA         MI    48150‐5907
CHARLES D FRAZIER                                  1601 QUAKER RD                                                                                 QUINTON         VA    23141‐2022
CHARLES D FRAZIER & CAROLYN C FRAZIER JT TEN       1601 QUAKER RD                                                                                 QUINTON         VA    23141‐2022
CHARLES D FREY                                     765 MCADOO WAY                                                                                 WASILLA         AK    99654‐1623
CHARLES D FRIER & CHARIS S FRIER JT TEN            PO BOX 866                                                                                     SIASCONSETT     MA    02564‐0866
CHARLES D FUGATE                                   2264 DODY CIRCLE                                                                               DAYTON          OH    45440‐2706
CHARLES D FURNEY                                   15190 CLASSIC DR                                                                               BATH            MI    48808‐8762
CHARLES D GAFNEY                                   5196 DAVEL DR                                                                                  SWARTZ CREEK    MI    48473‐1241
CHARLES D GALLAS                                   3389 FARTHING RD                                                                               ODIN            IL    62870‐2037
CHARLES D GALLOWAY                                 4012 LAKE FOREST DR                                                                            KINGSPORT       TN    37663‐3772
CHARLES D GARDINER & CAROL L GARDINER JT TEN       25 SAGA RD                                                                                     SOUTH DENNIS    MA    02660‐2952

CHARLES D GARNER                                   1151 DOWNING CREEK CT                                                                          WINSTON SALEM    NC   27106‐9837
CHARLES D GEARING                                  505 SAINT REGIS DR                                                                             ALPHARETTA       GA   30022‐1649
CHARLES D GEER                                     476 NORTH JUNIPER AVE                                                                          HIGHLAND SPRINGS VA   23075‐1920

CHARLES D GIBSON                                   4902 NICHOLSON DR                                                                              CELINA          OH    45822‐2845
CHARLES D GIBSON & THERESA E GIBSON JT TEN         4902 NICHOLSON DR                                                                              CELINA          OH    45822‐2845
CHARLES D GIFFORD                                  23052 SMITH HULSE RD                                                                           CIRCLEVILLE     OH    43113‐9648
CHARLES D GLASS                                    93 GLENWOOD AVENUE                                                                             LEONIA          NJ    07605‐1303
CHARLES D GOLDEN                                   PO BOX 774                                                                                     MABLETON        GA    30126‐0774
CHARLES D GOODWIN                                  PO BOX 2042                                                                                    MUNCIE          IN    47307‐0042
CHARLES D HAMMOND                                  400 N LINWOOD AVE                                                                              BALTIMORE       MD    21224‐1214
CHARLES D HANS & R C PAULA L HANS & B COLLINS &    416 JACKSON ST                                                                                 DANVILLE        IL    61832‐4618
CHARLES D COLLINS &
CHARLES D HARDEN                                   1515 LAKEWOOD AVE                                                                              LAKEWOOD        OH    44107‐4926
CHARLES D HARDY JR                                 3 CHILTON PLACE BARRINGTON PK                                                                  GREER           SC    29651
CHARLES D HARPER                                   155 BURBANK DR N W                                                                             ATLANTA         GA    30314‐2307
CHARLES D HEICHEL                                  5951 W SEYMOUR LK RD                                                                           OXFORD          MI    48371‐4153
CHARLES D HIGHTOWER                                1010 UNIVERSITY AVENUE                                                                         TROY            AL    36081‐4624
CHARLES D HILL TR CHARLES D HILL REVOCABLE TRUST   6445 FAR HILLS AVE                                                                             DAYTON          OH    45459‐2725
UA 8/5/99
CHARLES D HINKLE                                   1229 HYDE SHAFFER RD                                                                           BRISTOLVILLE    OH    44402‐9718
CHARLES D HIPP                                     5030 GREATWOOD LN                                                                              ALPHARETTA      GA    30005‐7466
CHARLES D HOFFMAN                                  328 25TH AVE                                                                                   SAN FRANCISCO   CA    94121‐1912
CHARLES D HOWKINSON                                14517 PARRISH ST                                                                               CEDAR LAKE      IN    46303‐9369
CHARLES D HULSEY                                   4312 ELEANOR ST                                                                                NORTHPORT       AL    35473‐2831
CHARLES D HUMPHRIES                                5208 KENTWOOD RD                                                                               DAYTON          OH    45427‐2219
CHARLES D HURT                                     2110 NEW HARMONY RD                                                                            HARTSVILLE      TN    37074‐5181
CHARLES D JAMES                                    13326 WEST RD                                                                                  WESTFIELD       IN    46074‐9514
CHARLES D JAMES                                    13326 WEST RD                                                                                  WESTFIELD       IN    46074‐9514
CHARLES D JAMES                                    13326 WEST RD                                                                                  WESTFIELD       IN    46074‐9514
CHARLES D JAMES & SANDRA J JAMES JT TEN            13326 WEST RD                                                                                  WESTFIELD       IN    46074‐9514
CHARLES D JAUREGUI                                 4524 E 1100 N                                                                                  DECATUR         IN    46733‐8182
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 673 of 850
Name                                             Address1                            Address2              Address3         Address4          City            State Zip

CHARLES D JENKINS                                922 RYE BEACH RD                                                                             HURON           OH    44839‐9790
CHARLES D JENNER                                 147 COTTONWOOD CIR S                                                                         COLLIERVILLE    TN    38017‐1232
CHARLES D JOHNSON                                5721 CRESTWOOD CIR W                                                                         FT WORTH        TX    76180‐6425
CHARLES D JOHNSON                                3422 SOUTH LEAVITT                                                                           CHICAGO         IL    60608‐6021
CHARLES D JONES                                  438 N WALCOTT ST                                                                             INDIANAPOLIS    IN    46201‐3057
CHARLES D K JENNINGS                             6189 LENNON RD                                                                               SWARTZ CREEK    MI    48473
CHARLES D KELLOGG JR                             7240 COOPER POINT RDN W                                                                      OLYMPIA         WA    98502‐3345
CHARLES D KEYES                                  5487 FOREST DR                                                                               ORANGE PARK     FL    32065‐7232
CHARLES D KNEZEK                                 12342 PINECREST DR                                                                           PLYMOUTH        MI    48170‐3061
CHARLES D KNEZEK & KATHLEEN L KNEZEK JT TEN      12342 PINECREST DR                                                                           PLYMOUTH        MI    48170‐3061
CHARLES D KNOPP                                  9469 PITCH PINE DR                                                                           SSHREVE PORT    LA    71118‐3950
CHARLES D KNUCKLES                               2141 SPRINGDALE RD SW APT 913                                                                ATLANTA         GA    30315‐6124
CHARLES D KUNEFF & KATHRYN A KUNEFF JT TEN       213 MORGANTOWN AVE                                                                           FAIRMONT        WV    26554‐4007
CHARLES D LAY                                    1903 RAULSTON ROAD                                                                           MARYVILLE       TN    37803‐2907
CHARLES D LEGGETTE & JOYCE E HUNT JT TEN         105 WILDWOOD CT                                                                              BRANDON         MS    39047‐6689
CHARLES D LEGGETTE & LARRY D YOUNG JT TEN        405 4TH ST                                                                                   GREENPORT       NY    11944‐1807
CHARLES D LIEB                                   20355 H C L JACKSON DR                                                                       GROSSE ILE      MI    48138
CHARLES D LININGER                               8915 STODDARD HAYES RD                                                                       KINSMAN         OH    44428‐9608
CHARLES D LITTLETON                              3770 SEYMOOR LK RD                                                                           ORTONVILLE      MI    48462‐9155
CHARLES D MACLEAN                                2022 E COOK RD                                                                               GRAND BLANC     MI    48439‐8330
CHARLES D MARTIN                                 19015 ELSMERE AVE                                                                            EASTPOINTE      MI    48021‐2016
CHARLES D MARTIN                                 1701 RIDGE ROAD                                                                              LIBRARY         PA    15129‐8958
CHARLES D MC CARTHY                              8238 EDEN LANE                                                                               BALDWINSVILLE   NY    13027‐1012
CHARLES D MC GUIRE                               2202 GUILDMORE RD                                                                            RESTON          VA    20191‐4902
CHARLES D MC KENNON                              219 WADE HERROD RD                                                                           SMYRNA          TN    37167‐4532
CHARLES D MCAFEE JR                              C/O JEANETTE MCAFEE                 16403 ROYAL MILE LN                                      HOUSTON         TX    77084‐2835
CHARLES D MCINTYRE & BARBARA B MCINTYRE JT TEN   708 SPARTAN DR                                                                               ROCHESTER       MI    48309

CHARLES D MCLEMORE                               7250 AL HWY 36                                                                               DANVILLE        AL    35619‐9802
CHARLES D MCNEIL                                 4932 W SCHOOL RD                                                                             ROSCOMMON       MI    48653‐9216
CHARLES D MEDELIS                                15948 COUNTY ROAD 402                                                                        NEWBERRY        MI    49868‐7984
CHARLES D MEYER                                  13000 E 49TH TERRACE                                                                         INDEPENDENCE    MO    64055‐5514
CHARLES D MIDDLESTETTER                          106 TIMBERWOLF WAY                                                                           BROOKVILLE      OH    45309‐9342
CHARLES D MOORE                                  844 BRYONAIRE DR                                                                             MANSFIELD       OH    44903‐9111
CHARLES D MORAT JR                               1623 DICKENS ST                                                                              CHARLESTON      SC    29407‐3953
CHARLES D MORGANTE                               PO BOX 664                                                                                   HILTON          NY    14468‐0664
CHARLES D MULL                                   144 HEIGHTS AVE                                                                              NORTHFIELD      OH    44067‐1327
CHARLES D NAPIER                                 25 SEMINARY AVENUE                                                                           DAYTON          OH    45403‐3026
CHARLES D NEWLIN                                 610 FLETCHER LN                                                                              BEECH GROVE     IN    46107‐2057
CHARLES D PAULEY                                 5208 SPRINGVIEW CIR                                                                          DAYTON          OH    45426‐2356
CHARLES D PERRY                                  6054 W HILL RD                                                                               SWARTZ CREEK    MI    48473‐8203
CHARLES D PHILLIPS                               109 WOODYCREEK DR                                                                            SPRINGTOWN      TX    76082‐6622
CHARLES D PIERSON                                5509 MALLARD CROSSING                                                                        GAINESVILLE     GA    30504‐9015
CHARLES D PILCHER & WILLODEAN E PILCHER JT TEN   8215 DANBURY DRIVE                                                                           NORFOLK         VA    23518‐3110

CHARLES D PINKARD SR                             331 PAUL STREET                                                                              COLLINSVILLE    VA    24078
CHARLES D POWELL III                             2604 SW 138TH ST                                                                             OKLAHOMA CITY   OK    73170‐5777
CHARLES D PRESTON                                12089 ERDMAN RD                                                                              SUNFIELD        MI    48890‐9753
CHARLES D PRICE                                  205 MIDDLE ROAD                                                                              COLCHESTER      VT    05446‐1121
CHARLES D RAMSEY                                 165 HW KINGSCOTE                                                                             CROSBY          TX    77532‐7630
CHARLES D RAMSEY                                 8060 ST ANNES CT                                                                             ALEXANDRIA      VA    22309‐1230
CHARLES D REES                                   950 SAINT FELIX DR                                                                           HUNTINGTON      IN    46750‐1765
CHARLES D RITTER                                 1138 E MAHALASVILLE RD                                                                       MARTINSVILLE    IN    46151‐6573
CHARLES D ROGERS                                 10141 STONEHEDGE DRIVE                                                                       SHREVEPORT      LA    71106‐7734
CHARLES D ROPER                                  4696 FOUR LAKES DR                                                                           MELBOURNE       FL    32940‐1251
CHARLES D SANQUNETTI                             601 S INDIANA AVE                                                                            ALEXANDRIA      IN    46001‐2250
CHARLES D SAVAGE                                 921 GARFIELD AVE                                                                             CAMBRIDGE       OH    43725‐2863
CHARLES D SAYE                                   117 CROWE SPRINGS RD N W                                                                     CARTERSVILLE    GA    30121‐4502
CHARLES D SCHERICK                               133 DOWNING DR APT 201                                                                       CHARDON         OH    44024‐1060
                                          09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                  Part 1 of 8 Pg 674 of 850
Name                                           Address1                            Address2                        Address3   Address4          City            State Zip

CHARLES D SCHLITT TR CHARLES D SCHLITT          5680 N SEELEY RD                                                                                MANTON          MI    49663‐9001
DECLARATION OF TRUST UA 6/22/99
CHARLES D SHARP                                 10708 SE 51ST ST                                                                                OKLAHOMA CITY   OK    73150‐4221
CHARLES D SHERLOCK                              30660 ISLAND DRIVE                                                                              GIBRALATAR      MI    48173‐9545
CHARLES D SIMONS                                5434 FIELDSTONE DR SW                                                                           GRANDVILLE      MI    49418‐9306
CHARLES D SMITH                                 17147 DODSON BRANCH HWY                                                                         COOKEVILLE      TN    38501‐9536
CHARLES D SMITH                                 921 GEORGIA AVE                                                                                 MARYSVILLE      MI    48040‐1277
CHARLES D SNIDER                                316 OAK ST                                                                                      GEORGETOWN      IL    61846‐1941
CHARLES D STRUCK & DAWN M STRUCK JT TEN         13105 WEST PEET ROAD                                                                            OAKLEY          MI    48649‐8762
CHARLES D SWARTZ                                8373 EDERER ROAD                                                                                SAGINAW         MI    48609‐9504
CHARLES D TAYLOR                                14617 LOGIS LN                                                                                  FLORISSANT      MO    63034‐2311
CHARLES D THAYER                                94 PARKER ST                                                                                    FREEHOLD        NJ    07728‐2343
CHARLES D TOWSON                                16001 S LONG                                                                                    OAK FOREST      IL    60452‐3826
CHARLES D TROUT                                 1624 JERRY'S ROAD                                                                               STREET          MD    21154‐1025
CHARLES D TURNER                                119 ECHO HILLS                                                                                  ROGERSVILLE     TN    37857‐3156
CHARLES D TURNER & JANICE A TURNER JT TEN       2151 RD 70                                                                                      HARTFORD        KS    66854‐9243
CHARLES D VANDEVENTER                           5481 RED HAWK LN                                                                                GREENWOOD       IN    46142‐7721
CHARLES D WAGNER                                9013 MILL ST                                                                                    GASPORT         NY    14067‐9480
CHARLES D WANTZ                                 A704                               114 MOORINGS PARK DR                                         NAPLES          FL    34105‐2151
CHARLES D WENDE                                 5804 NW 103RD STREET                                                                            OKLAHOMA CITY   OK    73162‐6954
CHARLES D WHITLEY TOD STEPHEN C WHITLEY SUBJECT 2246 BROTHAN DR                                                                                 TOLEDO          OH    43614
TO STA TOD RULES
CHARLES D WHITLEY TOD SUSAN W MARTIS SUBJECT TO 2246 BROTHAN DR                                                                                 TOLEDO          OH    43614
STA TOD RULES
CHARLES D WICK                                  150 WAMPONOAG RD                                                                                E GREENWICH     RI    02818‐4621
CHARLES D WIER                                  17650 SW MEADOWBROOK WAY                                                                        ALOHA           OR    97007‐1741
CHARLES D WINTERSTEEN & MARY B WINTERSTEEN JT 106 AKRON ST                                                                                      LOCKPORT        NY    14094‐5147
TEN
CHARLES D WOLF & EILEEN M WOLF JT TEN           5912 W FILLMORE DR                                                                              W ALLIS         WI    53219‐2222
CHARLES D WOOLERY                               100 KNOLLWOOD DR                   # 127                                                        OXFORD          OH    45056‐8785
CHARLES D WRIGHT                                ROUTE 3                            PO BOX 628                                                   JACKSONVILLE    TX    75766‐9483
CHARLES D ZINK & MRS CLARICE R ZINK JT TEN      7800 CLOVERFIELD CIRCLE                                                                         BOCA RATON      FL    33433‐3049
CHARLES DALE GRIFFIN                            PO BOX 1034                        CRESTWOOD DRIVE                                              BREVARD         NC    28712
CHARLES DANIEL SOOY                             326 MATHESON ST                                                                                 HEALDSBURG      CA    95448‐4206
CHARLES DARR & JOANNE DARR JT TEN               8668 N CHRISTINE                                                                                BRIGHTON        MI    48114‐8933
CHARLES DAVANT                                  378 CHESTNUT CIRCLE                                                                             BLOWING ROCK    NC    28605‐9319
CHARLES DAVID NICHOLAS CUST CHRISTINA M         4516 CHEWS VINEYARD                                                                             ELLICOTT CITY   MD    21043‐6654
NICHOLAS UGMA MI
CHARLES DAVID SLAYBAUGH & SHIRLEY ANN           15504 DAVIS ROAD                                                                                CHURCH ROAD     VA    23833‐2732
SLAYBAUGH JT TEN
CHARLES DAVIS                                   14261 SW 45TH CIR                                                                               OCALA           FL    34473‐2347
CHARLES DEAN                                    631 AVENUE H                                                                                    BOLDER CITY     NV    89005‐2725
CHARLES DEMLY                                   C/O CLARIDON HTNG & COOLING        12732 OLD STATE ROAD                                         CHARDON         OH    44024‐8818
CHARLES DENNIS AMANO                            1829 ORIOLE DRIVE                                                                               COSTA MESA      CA    92626‐4749
CHARLES DENNIS CROESSMAN & ALLISON KAY          35 MAHON RD                                                                                     EDGEWOOD        NM    87015‐9439
CROESSMAN JT TEN
CHARLES DENNIS DAVENPORT                        2841 BRIARCLIFF                                                                                 ANN ARBOR       MI    48105‐1430
CHARLES DEWEESE                                 PO BOX 6207                                                                                     COLUMBUS        OH    43206‐0207
CHARLES DIMINO TR CHARLES DIMINO REVOCABLE      26 MILFORD DR                                                                                   CENTRAL ISLIP   NY    11722‐1221
TRUST UA 04/27/00
CHARLES DIMITRY                                 47 PINEWARBLER DRIVE               HAMILTON ON                                L9A 4Z8 CANADA
CHARLES DISILVESTRE JR                          61 HILLSIDE AVE                                                                                 SAINT JAMES     NY    11780‐3109
CHARLES DOMENICI                                7008 LAS ANIMAS AVE NE                                                                          ALBUQUERQUE     NM    87110‐3528
CHARLES DONALD MATTINGLY SR & ANNE LIVING TR UA 3064 MATTINGLY LN                  LOIS MATTINGLY TTEE MATTINGLY   FAM                          EVERTON         AR    72633‐8152
09/25/96
CHARLES DONALD SCHOONMAKER                      251 SANTA SUSANA                                                                                SAN LEANDRO     CA    94579‐1957
CHARLES DOTSON                                  11197 OAK DR                                                                                    DELTON          MI    49046‐9440
CHARLES DOTSON                                  7947 APPLETON RD RD 4                                                                           CLAY            NY    13039‐9075
CHARLES DOUGLAS MACLEAN JR                      2022 E COOK RD                                                                                  GRAND BLANC     MI    48439‐8330
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 675 of 850
Name                                            Address1                               Address2             Address3          Address4          City              State Zip

CHARLES DOYLE                                   5901 HAMILTON RD                                                                                JORDAN            NY    13080‐4500
CHARLES DRAGO                                   9 KENMORE ROAD                                                                                  MELROSE           MA    02176‐2017
CHARLES DRAGO & BARBARA DRAGO JT TEN            9 KENMORE ROAD                                                                                  MELROSE           MA    02176‐2017
CHARLES DREYER CUST STEPHEN E DRYER UTMA TX     17811 WINTER HILL                                                                               SAN ANTONTIO      TX    78258‐3423

CHARLES DUPREE CUST COULTER DUPREE UTMA MI      7 WILDWOOD TRL                                                                                  BETTENDORF        IA    52722‐3871

CHARLES DUPREE CUST MAXWELL DUPREE UTMA MI      7 WILDWOOD TRL                                                                                  BETTENDORF        IA    52722‐3871

CHARLES DUPREE CUST SAMUEL DUPREE UTMA MI       7 WILDWOOD TRL                                                                                  BETTENDORF        IA    52722‐3871

CHARLES DURHAM                                  7348 E VIENNA RD                                                                                OTISVILLE         MI    48463‐9475
CHARLES DUTTON                                  8201 AUTO DRIVE                                                                                 RIVERSIDE         CA    92504‐4105
CHARLES DVORAK                                  4369 WINDEMERE DRIVE                                                                            SAGINAW           MI    48603‐1271
CHARLES DYLAN MANNING                           29991 CANYON HILLS RD                  STE 1711                                                 LAKE ELSINORE     CA    92532‐2580
CHARLES E ABATE CUST ALEX ABATE UTMA IL         3012 ROYAL QUEENS                                                                               SAINT CHARLES     IL    60174‐8713
CHARLES E ABATE CUST ERIN MARIE ABATE UTMA IL   3012 ROYAL QUEENS                                                                               SAINT CHARLES     IL    60174‐8713

CHARLES E ACKERMAN                              668 S LINDSEY RD                                                                                OLD MONROE        MO    63369‐2029
CHARLES E ADAMS                                 1119 CLIFTON AVE                                                                                ASHLAND           OH    44805‐1104
CHARLES E ADAMS                                 13970 CLAVELL                                                                                   FORT PIERCE       FL    34951‐4210
CHARLES E ADAMS CUST CHARLES EDWARD ADAMS JR    217 SWANSEA                                                                                     SPARTANBURG       SC    29307‐3826
UGMA SC
CHARLES E AEMMER                                8801 WHIPPOORWILL                                                                               DIAMOND           OH    44412‐9708
CHARLES E ALBRECHT                              2611 BRADFORD DR                                                                                SAGINAW           MI    48603‐2979
CHARLES E ALEXANDER                             3590 ROUND BOTTOM RD #F‐14245                                                                   CINCINNATI        OH    45244‐3026
CHARLES E ALLEN                                 11618 E HACKETT                                                                                 SUGAR CREEK       MO    64054‐1326
CHARLES E ALTON                                 4271 E MICHIGAN RD                                                                              SHELBYVILLE       IN    46176‐9242
CHARLES E ANDERSON                              1723 RAINBOW DR                                                                                 LONGVIEW          TX    75604‐2437
CHARLES E ARMBURST                              120 ASHEMOOR COURT                                                                              MCDONOUGH         GA    30253‐5427
CHARLES E ATCHLEY                               14782 HWY 10 NORTH                                                                              BUTLER            KY    41006
CHARLES E AULL                                  UNIVERSITY CLUB                                                                                 BLACKSBURG        VA    24061
CHARLES E AYERS                                 9195 CAMELOT ST                                                                                 WHITE LAKE        MI    48386‐1530
CHARLES E BAILEY                                7913 DELLA ROSA CT                                                                              PASADENA          MD    21122‐7001
CHARLES E BAIRD                                 5050 BOLLA RD                                                                                   YPSILANTI         MI    48197‐9337
CHARLES E BAKER                                 4146 RIDGEWAY DR                                                                                INDIANAPOLIS      IN    46221‐3442
CHARLES E BAKER                                 108 E WASHINGTON ST                                                                             ROUND LAKE PARK   IL    60073‐3060

CHARLES E BAKER III                             5680 FARLEY                                                                                     CLARKSTON         MI    48346‐1739
CHARLES E BALL                                  3719 MATTERHORN DR                                                                              LANSING           MI    48906‐9275
CHARLES E BALL JR                               9777 CARPENTER                                                                                  MILAN             MI    48160
CHARLES E BANKS                                 3952 VINE ST                                                                                    CINCINNATI        OH    45217‐1964
CHARLES E BARNES                                11490 EATON RAPIDS RD                                                                           SPRINGPORT        MI    49284‐9739
CHARLES E BARNETT                               24627 DELPHINIUM AVENUE                                                                         MORENO VALLY      CA    92553‐5815
CHARLES E BARNETT & SHIRLEY R BARNETT JT TEN    159 EAST ST NE                                                                                  VIENNA            VA    22180‐3615
CHARLES E BARNHILL                              947 HOMBERG AVE                                                                                 BALTIMORE         MD    21221‐5214
CHARLES E BARRETT                               2516 PINE GROVE AVENUE                                                                          PORT HUDSON       MI    48060‐2869
CHARLES E BARRETT CUST GERALD CAWOOD BARRETT    2516 PINE GROVE AVE                                                                             PORT HURON        MI    48060‐2869
UGMA MI
CHARLES E BARTLETT                              1089 UNION CITY ROAD                                                                            UNION CITY        MI    49094‐9328
CHARLES E BATCH JR                              461 22ND ST                                                                                     DUNBAR            WV    25064‐1725
CHARLES E BEAVERS                               2725 TAOS DR                                                                                    MIAMISBURG        OH    45342‐6800
CHARLES E BELL                                  1489 DEVON MILL WAY                                                                             AUSTEL            GA    30168‐5925
CHARLES E BELLINGER                             301 FLAT HILLS RD                                                                               AMHERST           MA    01002‐1217
CHARLES E BENION                                2532 PATRICK                                                                                    AUBURN HILLS      MI    48326‐1810
CHARLES E BENNETT                               R R #1 2213 MEADW WY                                                                            ANDERSON          IN    46012‐9452
CHARLES E BENSON & MARGARET E BENSON JT TEN     9494 SASHABAW RD                                                                                CLARKSTON         MI    48348‐2026
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 676 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

CHARLES E BERES & MRS KATHLEEN M BERES JT TEN     4720 DUFFER LANE                                                                                PFAFFTOWN         NC    27040‐9718

CHARLES E BERKOBIEN TR CHARLES E BERKOBIEN REV    PO BOX 406                                                                                      SPRING LAKE       MI    49456‐0406
LIV TRUST UA 05/25/99
CHARLES E BIERWIRTH & HELEN MARIE BIERWIRTH JT    1110 N LINDEN RD                                                                                FLINT             MI    48532‐2369
TEN
CHARLES E BIGGS                                   515 CONNIE LN                                                                                   MANCHESTER        MO    63021‐5330
CHARLES E BILLUPS                                 732EAST 6TH ST                                                                                  PLAINFIELD        NJ    07062‐1802
CHARLES E BINGAMON                                PO BOX 922                                                                                      FRANKLIN          OH    45005
CHARLES E BISH                                    3476 MOREFIELD DR                                                                               HERMITAGE         PA    16148‐3611
CHARLES E BLACK                                   9071 PROSPERITY WAY                                                                             FORT MYERS        FL    33913‐7094
CHARLES E BLACK                                   919 ALVORD AVE                                                                                  FLINT             MI    48507‐2525
CHARLES E BLAKE                                   5231 LANSING DR                                                                                 CHARLOTTE         NC    28270‐6031
CHARLES E BLANTON                                 848 S ALCONY CONOVER RD                                                                         TROY              OH    45373‐9644
CHARLES E BLOSSOM                                 2415 TWIST LANE                        LIMESTONE GARDENS                                        WILMINGTON        DE    19808‐4240
CHARLES E BLUNT & HELEN G BLUNT TR BLUNT LIV      77 TULARE ST                                                                                    BRISBANE          CA    94005‐1742
TRUST UA 08/04/99
CHARLES E BOESL                                   9927 HEATH RD                                                                                   COLDEN            NY    14033‐9634
CHARLES E BOLLET                                  900 MELODY LANE                                                                                 KOKOMO            IN    46902‐3940
CHARLES E BONNER                                  7125 POTTERTOWN RD                                                                              MURRAY            KY    42071‐5439
CHARLES E BOOKER                                  3035 HAMPSHIRE DR                                                                               FLORISSANT        MO    63033‐1423
CHARLES E BORDNER                                 5100 N TWIN LAKES RD                                                                            CHEBOYGAN         MI    49721‐9553
CHARLES E BOWLING                                 47727 JEFFERSON                                                                                 NEW BALTIMORE     MI    48047‐2230
CHARLES E BOWMAN                                  296 GLENBROOK LANE                                                                              AVON              IN    46123‐4032
CHARLES E BOWMAN JR                               114 PYRACANTHA LN                                                                               LEESBURG          FL    34748‐8667
CHARLES E BOYER                                   5247 HEGEL                                                                                      GOODRICH          MI    48438‐9616
CHARLES E BRADDOCK                                723 S WARREN                                                                                    SAGINAW           MI    48607‐1729
CHARLES E BRADY                                   871 DR MILLER ROAD                                                                              NORTHEAST         MD    21901
CHARLES E BRAMMER                                 1992 WIMBLEDON ST                                                                               XENIA             OH    45385‐4035
CHARLES E BRENNER                                 8437 WETHERFIELD LN                                                                             CINCINNATI        OH    45236‐2284
CHARLES E BREWER                                  9126 THORNTON BLVD                                                                              JONESBORO         GA    30236‐5142
CHARLES E BRICKER                                 1010 AXEMANN RD                                                                                 BELLEFONTE        PA    16823‐8105
CHARLES E BRIGGS JR                               1201 MOONDALE                                                                                   VALRICO           FL    33594‐7056
CHARLES E BRIGGS JR & MRS LINDA L BRIGGS JT TEN   1201 MOONDALE                                                                                   VALRICO           FL    33594‐7056

CHARLES E BRILL                                   4000 STATE ROUTE 743                                                                            MOSCOW            OH    45153‐7313
CHARLES E BROME                                   195 QUINTARD ST #BX13                                                                           STATEN ISLAND     NY    10305‐2527
CHARLES E BROOKS & CATHI ANN BROOKS JT TEN        3819 ANTHONY LN                                                                                 FRANKLIN          OH    45005‐4505
CHARLES E BROWN                                   13959 GREEN VIEW                                                                                DETROIT           MI    48223‐2909
CHARLES E BROZ                                    8039 SUPERIOR ST NE                                                                             MASURY            OH    44438‐9748
CHARLES E BRUBAKER & DOROTHY E BRUBAKER JT TEN    BOX 276                                                                                         TOMBSTONE         AZ    85638‐0276

CHARLES E BRYAN                                   1404 MYERS CIR                                                                                  WEST POINT        MS    39773‐3350
CHARLES E BRYANT                                  2600 NUNNALLY SHOALS RD                                                                         GOOD HOPE         GA    30641‐2430
CHARLES E BUNN                                    14310 RUSH WOOD                                                                                 SAN ANTONIO       TX    78232‐5486
CHARLES E BURDICK & MRS JOANNE M BURDICK JT TEN   PAINE HOLLOW RD BOX 66                                                                          SOUTH WELLFLEET   MA    02663‐0066

CHARLES E BURGE                                                                                                                                   ODESSA            MO    64076
CHARLES E BURK TR UA 02/21/90 BURK 1990 FAM       14136 ALDER LN                                                                                  SONORA            CA    95370
TRUST
CHARLES E BURKE                                   2628 GUERNSEY DELL AVE                                                                          DAYTON            OH    45404‐2305
CHARLES E BURKS                                   1133 AUBREY ST                                                                                  TUNICA            MS    38676‐9235
CHARLES E BURSEY                                  809 WESTLEDGE DRIVE                                                                             DAYTON            OH    45426‐2242
CHARLES E BUSCH                                   124 BENEDICT ROAD                                                                               PITTSFORD         NY    14534‐3404
CHARLES E BUSCH & BARBARA B BUSCH JT TEN          124 BENEDICT RD                                                                                 PITTSFORD         NY    14534‐3404
CHARLES E CALCATERA                               21044 ST GERTRUDE                                                                               ST CLAIR SHRS     MI    48081‐1170
CHARLES E CALDWELL                                3221 BULAH AVENUE                                                                               KETTERING         OH    45429‐4011
CHARLES E CALKINS                                 4215 LANCASHIRE                                                                                 MILFORD           MI    48380‐1126
CHARLES E CAMPBELL                                303 PEACHTREE ST NE STE 5300                                                                    ATLANTA           GA    30308‐3264
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 677 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

CHARLES E CANADY                                  1215 WABASH AVE                                                                                 KANSAS CITY      MO    64127‐2019
CHARLES E CANNON                                  49 WICK ST                                                                                      BUFFALOL         NY    14212‐1833
CHARLES E CARMONY                                 1777 CIRCLE LAKE DR                                                                             DANDRIDGE        TN    37725‐5103
CHARLES E CARROLL                                 3725 N BERKELEY LAKE RD NW                                                                      DULUTH           GA    30096‐3009
CHARLES E CATHER TR UW JAMES D CATHER             PO BOX 13639                                                                                    ARLINGTON        TX    76094‐0639
CHARLES E CAVANAH CUST JOANN CAVANAH UGMA MI      5022 MARINER POINT DR                                                                           JACKSONVILLE     FL    32225‐1110

CHARLES E CAVANAH CUST MISS SUE ANN CAVANAH       5022 MARINERS POINT DR                                                                          JACKSONVILLE     FL    32225‐1110
UGMA MI
CHARLES E CHALTRON & CAROL M CHALTRON JT TEN      28352 ALGER                                                                                     MADISON HEIGHTS MI     48071‐4526

CHARLES E CHAMBERS                                5885 S 960 E                                                                                    WOLCOTTVILLE     IN    46795‐9713
CHARLES E CHANEY                                  1 WESTHAMPTON DR                                                                                ROCKY RIVER      OH    44116‐2300
CHARLES E CHATMAN                                 19974 DERBY                                                                                     DETROIT          MI    48203‐1166
CHARLES E CHILBERG                                3040 LAKE SHORE DR                     APT 902                                                  WEST PALM BCH    FL    33404‐4635
CHARLES E CLANCY                                  6438 W LEXINGTON DR                                                                             CRYSTAL RIVER    FL    34429‐9357
CHARLES E CLARK JR                                11414 PARDEE                                                                                    TAYLOR           MI    48180‐4227
CHARLES E CLAYTON                                 50720 M43 HWY                                                                                   BANGOR           MI    49013‐9737
CHARLES E CLEAR                                   6641 CLEAR COURT                                                                                DAVISBURG        MI    48350‐1003
CHARLES E CLEMENTS                                3510 6TH AVE E                                                                                  INDIANAPOLIS     IN    46221‐2112
CHARLES E COCHRAN                                 129 BAYVIEW DRIVE                                                                               ST LOUIS         MO    63135‐2803
CHARLES E COCHRAN & BONNIE B COCHRAN JT TEN       129 BAYVIEW DRIVE                                                                               SAINT LOUIS      MO    63135‐2803

CHARLES E COCKING                                PO BOX 861                                                                                       CORONA           CA    92878‐0861
CHARLES E CODY                                   PO BOX 303                                                                                       ENGLEWOOD        OH    45322‐0303
CHARLES E COLE III                               PO BOX 697                                                                                       CUERO            TX    77954
CHARLES E COLEMAN                                PO BOX 2256                                                                                      STOCKBRIDGE      GA    30281‐8919
CHARLES E COLLEY                                 7431 RORY ST                                                                                     GRAND BLANC      MI    48439‐9349
CHARLES E COLLIS                                 722 BALDWIN                                                                                      ROYAL OAK        MI    48067‐1956
CHARLES E COMBS                                  26 INDIANA AVE                                                                                   FORT THOMAS      KY    41075‐1513
CHARLES E CONN                                   8580 WESTCHESTER                                                                                 CANTON           MI    48187‐1936
CHARLES E CONNALY SR                             2318 INGERSOL                                                                                    PASADENA         TX    77506‐2914
CHARLES E CONNOLLY JR                            7 FOX HUNT LN                                                                                    WINCHESTER       MA    01890‐3607
CHARLES E CONNOLLY JR & CAROLE A CONNOLLY JT TEN 7 FOX HUNT LN                                                                                    WINCHESTER       MA    01890‐3607

CHARLES E CONOVER & DEBORAH ANN CRAWFORD JT       9510 ROCKY RIDGE RD                                                                             ROCKY RIDGE      MD    21778‐8902
TEN
CHARLES E CONSTABLE                               3573 GRAFTON ST                                                                                 LAKE ORION       MI    48359‐1539
CHARLES E COOK                                    PO BOX 52230                                                                                    MESA             AZ    85208‐0112
CHARLES E COOK                                    412 WILLIAMS STREET                                                                             CINCINNATI       OH    45215‐4608
CHARLES E COON                                    108 MAPLE ROAD                                                                                  BELLE            WV    25015‐1549
CHARLES E COONEY & JEANNETTE M COONEY JT TEN      5490 S BRENTWOOD                                                                                GRAWN            MI    49637‐9405

CHARLES E COOPER                                  910 MITCHELL AVENUE                                                                             ALBANY           GA    31705‐3141
CHARLES E COOPER                                  11895 N 75 W                                                                                    ALEXANDRIA       IN    46001‐8469
CHARLES E COOPER & PRISCILLA M COOPER JT TEN      1914 PICKENS STORE RD                                                                           MASON            TN    38049‐6586

CHARLES E COPELAND                                BOX 11716                                                                                       MARINA DEL REY   CA    90295‐7716
CHARLES E CORN                                    507 NORTH 8TH STREET                                                                            MIDDLETOWN       IN    47356‐1026
CHARLES E COTE                                    6850 S WILLIAMS RD                                                                              SAINT JOHNS      MI    48879‐9127
CHARLES E CRAIG                                   17643 RUTH ST                                                                                   MELVINDALE       MI    48122‐1144
CHARLES E CRANSTON JR & ALEXA S CRANSTON JT TEN   24 BARLEY RUN OLDE MILL                                                                         SEAFORD          DE    19973‐9764

CHARLES E CRAVEN                                  213 HONEY BEE CIRCLE                                                                            UNION            SC    29379‐7940
CHARLES E CRAWFORD                                2060 RIVER PLATE                                                                                PAHRUMP          NV    89048‐6111
CHARLES E CREIGHTON EX UW GUIDO J BARBIERI        678 GREENSTONE WAY                                                                              ANGELS CAMP      CA    95222‐9555
CHARLES E CRIDDLE                                 141 CR 1741                                                                                     LONGBRANCH       TX    75669‐3805
CHARLES E CROISANT & JODY M CROISANT TEN COM      64261 E ECHO CANYON CT                                                                          TUCSON           AZ    85739‐2018
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 678 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

CHARLES E CROSS                                  1193 LEMPI DR                                                                                  DAVISON         MI    48423‐2880
CHARLES E CUTTS & JANE B CUTTS JT TEN            4599 OTTAWA DRIVE                                                                              OKEMOS          MI    48864‐2028
CHARLES E DAENZER                                PO BOX 305                                                                                     OTISVILLE       MI    48463‐0305
CHARLES E DALE                                   3315 E 490S                                                                                    ANDERSON        IN    46017‐9507
CHARLES E DALTON                                 APT 70‐03                             2500 KNIGHTS ROAD                                        BENSALEM        PA    19020‐3417
CHARLES E DANIELS                                C/O ARLENE J DANIELS                  3475 BOY SCOUT RD                                        BAY CITY        MI    48706‐1268
CHARLES E DAVIS                                  705 BIG NOSE DRIVE                                                                             CENTRE          AL    35960‐2438
CHARLES E DAVIS                                  4620 NE SEABROOK LN                                                                            LEES SUMMIT     MO    64064‐1183
CHARLES E DAVIS                                  493 WHITFIELD WALK                                                                             ZEBULON         GA    30295‐6508
CHARLES E DAVIS                                  BOX 45                                                                                         SHIRLEY         ME    04485‐0045
CHARLES E DAVIS                                  5449 WILSON SHARPSVILLE NE                                                                     FOWLER          OH    44418‐9779
CHARLES E DAVIS & BARBARA A DAVIS TR THE DAVIS   2661 BROADVIEW DR                                                                              SPRINGFIELD     OH    45505‐3401
TRUST UA 04/11/95
CHARLES E DAVIS TOD SHIRLEY DAVIS UNDER STA      4939 COUNTY LANE 105                                                                           CARTHAGE        MO    64836
GUIDELINES
CHARLES E DEAN                                   919 LENTON AVE                                                                                 BALTIMORE       MD    21212‐3210
CHARLES E DEATON                                 2867 BRISBANE AVE                                                                              WALLED LAKE     MI    48390‐1113
CHARLES E DENNING                                305 BROOKS AVE                                                                                 RALEIGH         NC    27607‐7130
CHARLES E DENOSKEY                               WATSONTOWN 1202 P O BOX 248                                                                    WATSONTOWN      PA    17777‐0248
CHARLES E DIBELLO                                93 COUNTRYGATE LANE                                                                            TONAWANDA       NY    14150‐6200
CHARLES E DILL & DEBRA LEE DILL JT TEN           9315 LEAR CT                                                                                   HUNTERSVILLE    NC    28078‐5682
CHARLES E DILLIN                                 5622 MILLS HWY                                                                                 EATON RAPIDS    MI    48827‐9024
CHARLES E DIXON JR                               870 ALFONSO RD                                                                                 LANCASTER       VA    22503‐2905
CHARLES E DOGGETT                                1906 KERRY DRIVE                                                                               ARLINGTON       TX    76013‐4931
CHARLES E DOGGETT & CLYDENE J DOGGETT JT TEN     1906 KERRY DR                                                                                  ARLINGTON       TX    76013‐4931

CHARLES E DOWNEY & PATRICIA L DOWNEY JT TEN      5845 DOXMERE DRIVE                                                                             PARMA           OH    44130‐1746

CHARLES E DOWNING                                PO BOX 618                                                                                     WHITEHOUSE      TX    75791‐0618
CHARLES E DRACE                                  12030 SILVER ST                                                                                CONNEAUT LAKE   PA    16316‐3850
CHARLES E DRENTH                                 PO BOX 203                                                                                     DECATUR         MI    49045‐0203
CHARLES E DUKES JR TR CHARLES E DUKES JR         6200 LAKESHORE DR                                                                              COLUMBIA        SC    29206‐4334
REVOCABLE TRUST UA 05/23/00
CHARLES E DUNN & CARMEN M DUNN TR DUNN LIVING    1733 E 725 N                                                                                   W LAFAYETTE     IN    47906‐9011
TRUST UA 01/03/95
CHARLES E EADDY                                  20030 BURT RD                                                                                  DETROIT         MI    48219‐1303
CHARLES E EAHEART                                206 N MAPLE ST RR3                                                                             FRANKFORT       IL    60423‐1229
CHARLES E EDQUEST & LINDA EDQUEST JT TEN         8 CLOVERVIEW                                                                                   HELENA          MT    59601‐0251
CHARLES E EDWARDS                                19225 N CAVE CREEK RD LOT 6                                                                    PHOENIX         AZ    85024‐2418
CHARLES E EIDENIRE                               137 LAKESHORE DR                                                                               CORDELE         GA    31015‐8829
CHARLES E ELZEY                                  4511 W 123RD ST                                                                                ALSIP           IL    60803‐2520
CHARLES E ENGLISH & BYRNINA D ENGLISH JT TEN     810 CHESTNUT ST                                                                                WILMINGTON      NC    28401‐4240
CHARLES E ERVIN                                  PO BOX 1103                                                                                    KODAK           TN    37764‐7103
CHARLES E ESSEX JR                               32 MOELLER ST                                                                                  HICKSVILLE      NY    11801‐1938
CHARLES E ESTEP                                  2645 DAVENPORT RD                                                                              DULUTH          GA    30096‐4143
CHARLES E FAULKNER                               67 CASTLEWOOD DRIVE                                                                            BUFFALO         NY    14227‐2614
CHARLES E FELKEL JR                              264 MCGREGOR CIR                                                                               LEXINGTON       SC    29072‐8788
CHARLES E FERGUSON                               805 BEACH BLVD                        APT 604                                                  BILOXI          MS    39530‐4249
CHARLES E FISHER                                 212 WINFIELD ST                                                                                JACKSON         MS    39212‐5021
CHARLES E FISHER                                 2189 HIGH ST NW                                                                                WARREN          OH    44483‐1201
CHARLES E FITZGERALD                             226 UPLAND AVE                                                                                 YOUNGSTOWN      OH    44504‐1849
CHARLES E FLETCHER                               8 CUNARD STREET                                                                                WILMINGTON      DE    19804‐2808
CHARLES E FLIPPO                                 119 W BAILEY SPRINGS DR                                                                        FLORENCE        AL    35634‐2523
CHARLES E FLYNN                                  BOX 141 BEND RD                                                                                WACO            KY    40385‐0141
CHARLES E FOOR                                   5790 ROUTE 16                                                                                  ISCHUA          NY    14743‐9772
CHARLES E FREBURGER                              1309 WASHINGTON IRVING LANE                                                                    BALTIMORE       MD    21220‐1427
CHARLES E FREEZE                                 7545 JAGUAR DRIVE                                                                              BOARDMAN        OH    44512‐5307
CHARLES E FROST                                  6568 WESTOVER CIR                                                                              CINCINNATI      OH    45236‐2204
CHARLES E FUGGETT                                14040 CLOVERDALE                                                                               OAK PARK        MI    48237‐2732
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 679 of 850
Name                                              Address1                             Address2              Address3         Address4          City            State Zip

CHARLES E FULKERSON                              16636 SE 15TH                                                                                  BELLEVUE        WA    98008‐5114
CHARLES E GAINES JR                              8320 BENNINGTON ROAD                                                                           DURAND          MI    48429‐9765
CHARLES E GARDINIER & CHARLOTTE GARDINIER JT TEN 74 HIGBY DR                                                                                    MERIDEN         CT    06450‐3515

CHARLES E GARDNER                                 PO BOX 431                                                                                    TRACY CITY      TN    37387
CHARLES E GARLAND                                 12288 HEMPLE ROAD                                                                             FARMERSVILLE    OH    45325‐9272
CHARLES E GARNER                                  8496 ALTON                                                                                    CANTON          MI    48187‐4228
CHARLES E GARRETT                                 1500 BRADSHAW DRIVE                                                                           COLUMBIA        TN    38401‐8646
CHARLES E GARRISON                                3129 CROOKS RD                                                                                ROCHESTER       MI    48309‐4150
CHARLES E GATES                                   10278 EDGEWOOD DR                                                                             GRAND BLANC     MI    48439‐9482
CHARLES E GATES & KAREN K GATES JT TEN            10278 EDGEWOOD DR                                                                             GRAND BLANC     MI    48439‐9482
CHARLES E GATEWOOD                                C/O MARGARET H GATEWOOD              9158 SPEARSVILLE RD                                      MORGANTOWN      IN    46160‐8525
CHARLES E GELM                                    1333 WILLOWDALE AVE                                                                           DAYTON          OH    45429‐5147
CHARLES E GETCHELL                                10957 W GLADYS DR                                                                             EDGERTON        WI    53534‐9099
CHARLES E GIESE JR                                11901 WAYCROSS                                                                                BRIGHTON        MI    48114‐9257
CHARLES E GILBERT                                 2283 LA SALLE GARDEN SOU                                                                      DETROIT         MI    48206‐2656
CHARLES E GLAZIER                                 11744 SE 174TH LOOP                                                                           SUMMERFIELD     FL    34491
CHARLES E GOINES & SUSAN LEE GOINES JT TEN        6731 TROY                                                                                     TAYLOR          MI    48180‐1634
CHARLES E GOODNEY                                 245 LAKEMONT LANE                                                                             CARYVILLE       TN    37714‐3273
CHARLES E GOOLSBY                                 553 W DWAIN VILLAGE                                                                           SHELBYVILLE     IN    46176‐9724
CHARLES E GRAHAM                                  3055 SPECK WRIGHT RD                                                                          MANNFORD        OK    74044‐2876
CHARLES E GRAHAM & REGINA A GRAHAM JT TEN         3055 SPEC WRIGHT RD                                                                           MANNFORD        OK    74044
CHARLES E GRAYSON                                 2910 WOODCLIFF CIR SE                                                                         GRAND RAPIDS    MI    49506‐3157
CHARLES E GRAZIANO & MRS BETTY JEAN GRAZIANO JT   519 E 86TH ST 6‐B                                                                             NY              NY    10028‐7551
TEN
CHARLES E GREEN                                   1025 N TURNER                                                                                 MUNCIE          IN    47303‐4046
CHARLES E GREER                                   833 STATE HIGHWAY 32                                                                          BUFFALO         MO    65622‐7465
CHARLES E GREGG                                   121 TROTTER WAY                                                                               WILMORE         KY    40390
CHARLES E GREGG                                   121 TROTTER WAY                                                                               WILMORE         KY    40390
CHARLES E GRIFFIN                                 21730 CHURCH ST                                                                               OAK PARK        MI    48237‐2692
CHARLES E GRIFFITH                                744 CHERRY HILL CT                                                                            COLUMBIAVILLE   MI    48421‐9704
CHARLES E HADLEY & BETTY J HADLEY JT TEN          225 SUDBURY DRIVE                                                                             ATLINTIS        FL    33462‐1125
CHARLES E HAGEN JR                                G 819 SR 108                                                                                  HOLGATE         OH    43527
CHARLES E HAGLUND                                 655 HARVEY LAKE DR                                                                            HIGHLAND        MI    48357‐2912
CHARLES E HAINES                                  960 WESLEY MOUNTAIN DRIVE                                                                     BLAIRSVILLE     GA    30512
CHARLES E HANLEY                                  LINDEN LANE                                                                                   GLEN HEAD       NY    11545
CHARLES E HANNAN                                  1149 TUCKERTON RD                                                                             READING         PA    19605
CHARLES E HARDAWAY & MRS MARGARET A               21505 SE 255TH CT                                                                             MAPLE VALLEY    WA    98038‐7517
HARDAWAY JT TEN
CHARLES E HARDIN                                  1570 JAN LAN BLVD                                                                             ST CLOUD        FL    34772‐8417
CHARLES E HARGIS                                  8610 ROYAL MEADOW DR                                                                          INDIANAPOLIS    IN    46217‐4869
CHARLES E HARPER                                  0514 E WITHERBEE ST                                                                           FLINT           MI    48505‐4762
CHARLES E HARRELL                                 2358 TIFFANY CIRCLE                                                                           DECATUR         GA    30035‐3315
CHARLES E HARRIS                                  3142 MARTIN AVE                                                                               MELROSE PARK    IL    60164‐1055
CHARLES E HARRISON                                25715 BEECH CT                                                                                REDFORD         MI    48239‐1703
CHARLES E HAUFF                                   5219 PEARL ST                                                                                 ANDERSON        IN    46013‐4867
CHARLES E HAVENS & DIANN L HAVENS JT TEN          2662 STONEGATE DR                                                                             JACKSONVILLE    FL    32223‐0702
CHARLES E HAYDEN                                  18086 BIRWOOD                                                                                 DETROIT         MI    48221‐2321
CHARLES E HAYTON JR                               10207 W FRANCES ROAD                                                                          FLUSHING        MI    48433‐9221
CHARLES E HEATH                                   2238 KNAPP ST                                                                                 YOUNGSTOWN      OH    44505‐4314
CHARLES E HEBERT                                  151 MAC LEAN AVE                     TORONTO ON                             M4E 3A5 CANADA
CHARLES E HEIM                                    240 S MEADOW DR                                                                               NORTH           NY    14120‐4859
                                                                                                                                                TONAWANDA
CHARLES E HEIM & HELEN G HEIM JT TEN              240 SOUTH MEADOW DRIVE                                                                        N TONAWANDA     NY    14120‐4859
CHARLES E HENRY                                   4615 CHARLES ST                                                                               EASTON          PA    18045‐4811
CHARLES E HENRY & EDNA E HENRY JT TEN             9900 DUERSON LN                                                                               PARTLOW         VA    22534‐9534
CHARLES E HESS                                    8299 FENTON ROAD                                                                              GRAND BLANC     MI    48439‐8881
CHARLES E HIDAY                                   319 S MAPLE ST                                                                                GREENTOWN       IN    46936‐1569
CHARLES E HIGNITE                                 220 DAVIS ST                         PO BOX 397                                               SWEETSER        IN    46987‐0397
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 680 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

CHARLES E HILL & DAWN M HILL JT TEN              26132 SE 39TH WAY                                                                              ISSAQUAH        WA    98029‐7744
CHARLES E HILLS                                  1647 TOMLINSON RD                                                                              MASON           MI    48854‐9257
CHARLES E HOLMES                                 1600 N 77 TERRACE                                                                              KANSAS CITY     KS    66112‐2290
CHARLES E HOLZER 3RD                             41 W DANSBY DRIVE                                                                              GALVESTON       TX    77551‐1745
CHARLES E HOOD                                   39137 LEDGATE DR                                                                               STERLING HTS    MI    48310‐2337
CHARLES E HOOVER                                 2035 FRONT ST                                                                                  FENTON          MI    48430‐1124
CHARLES E HOWE                                   1856 W ANDERSON RD                                                                             LINWOOD         MI    48634‐9744
CHARLES E HOWELL JR                              655 PARKVIEW AV                                                                                CUMBERLAND      MD    21502‐3200
CHARLES E HRZIC                                  2407 HANSON RD                                                                                 EDGEWOOD        MD    21040‐2603
CHARLES E HUEY                                   1535 NOTTOWAY PLACE                                                                            BOSSIER CITY    LA    71112‐5030
CHARLES E HUGHES & ROSE HUGHES JT TEN            10 ARISTA LANE                        HOT SPRINGS                                              NATIONAL PARK   AR    71909‐7772
CHARLES E HULL                                   440 MILLS DRIVE                                                                                BENICIA         CA    94510‐1435
CHARLES E HUMES & ERNESTINE HUMES JT TEN         5964 LITTLE TURTLE TRAIL                                                                       WATERVILLE      OH    43566‐9741
CHARLES E HUNT                                   205 AUBUBON PARK                                                                               DAYTON          OH    45407‐1741
CHARLES E HUTCHISON                              7105 EDWARDS RD                                                                                BELLEVILLE      MI    48111‐1190
CHARLES E IGLINSKI                               3629 S CENTRAL AVE                                                                             CICERO          IL    60804‐4356
CHARLES E INABINET                               225 COPPER RIDGE RD                                                                            COLUMBIA        SC    29212‐8247
CHARLES E INABINET & BETTY S INABINET JT TEN     225 COPPER RIDGE RD                                                                            COLUMBIA        SC    29212‐8247
CHARLES E ISER                                   3833 E 200 S                                                                                   MARKLE          IN    46770‐9073
CHARLES E JACOBS                                 139 ORIOLE TRCE                                                                                JASPER          GA    30143‐6351
CHARLES E JACOBS                                 16122 E GLENN VALLEY DR                                                                        ATHENS          AL    35611‐3915
CHARLES E JACOBS                                 RR 4 BOX 245‐1                                                                                 EL DORADO       MO    64744‐9804
                                                                                                                                                SPRINGS
CHARLES E JANNEY & MARY E JANNEY TEN COM         224 SCARED HEART LN                                                                            REISTERSTOWN    MD    21136‐1414
CHARLES E JANZER                                 815 LOMBARD AVE                                                                                RACINE          WI    53402‐4056
CHARLES E JESSAMY                                1836 S SHENANDOAH ST                                                                           LOS ANGELOS     CA    90035‐4327
CHARLES E JESSEE                                 4803 VALLEY STATION ROAD                                                                       LOUISVILLE      KY    40272‐3144
CHARLES E JOHNSON                                4240 WASHBURN                                                                                  BASSER          MI    48768‐8937
CHARLES E JOHNSON                                22011 MARLOW                                                                                   OAK PARK        MI    48237‐3518
CHARLES E JOHNSON                                6117 WALROND AVE                                                                               KANSAS CITY     MO    64130‐3968
CHARLES E JOHNSON & GLADYS JOHNSON JT TEN        5601 E ROCKTON RD #7E                                                                          ROSCOE          IL    61073
CHARLES E JOHNSTON                               244 GLEBEHOLME BLVD                   TORONTO ON                             M4J 1T2 CANADA
CHARLES E JOHNSTON & ELAINE A JOHNSTON JT TEN    329 22ND ST CT NE                                                                              BRADENTON       FL    34208‐1759

CHARLES E JONES                                  5767 FLOYD AVE                                                                                 ST LOUIS        MO    63136
CHARLES E JONES                                  1101 BARRIE AVE                                                                                FLINT           MI    48507‐4809
CHARLES E JONES                                  6 W SANDPIPER ST                                                                               APOPKA          FL    32712‐2704
CHARLES E JORDAN                                 1442 BORDER ST                                                                                 BUFORD          GA    30518‐3401
CHARLES E JOSEPHSON & BRENDA JOSEPHSON JT TEN    7 HILLCREST DRIVE                                                                              BUSHNESS        IL    61422‐9740

CHARLES E JUDKINS                                2265 GRATE OAK CIR                                                                             DAVISON         MI    48423‐2017
CHARLES E KAISER                                 306 CAMBORNE DR                                                                                ENGLEWOOD       OH    45322‐1210
CHARLES E KARNES                                 12146 COOLIDGE RD                                                                              GOODRICH        MI    48438‐9709
CHARLES E KARTRUDE                               3605 SUMMIT                                                                                    KANSAS CITY     MO    64111‐2824
CHARLES E KEATON                                 PO BOX 5                                                                                       GENOA           OH    43430‐0005
CHARLES E KEENAN                                 ROUTE 4 BOX 1146                                                                               PIEDMONT        MO    63957‐9401
CHARLES E KEITH & MRS JANE A KEITH JT TEN        4521 W KENN DRIVE                                                                              MUNCIE          IN    47302‐8959
CHARLES E KENDRICK                               1634 MEADOWGLEN LANE                                                                           MESQUITE        TX    75150
CHARLES E KIDD                                   6115 MERKLE AVE #1                                                                             PARMA           OH    44129‐1520
CHARLES E KIER JR                                9451 RIVERSIDE                                                                                 GRAND LEDGE     MI    48837‐9294
CHARLES E KING                                   2755 EDDIE PL                                                                                  FT WORTH        TX    76140‐2415
CHARLES E KING & MRS DORIS B KING JT TEN         200 DOOR DRIVE                                                                                 BIRMINGHAM      AL    35215‐7708
CHARLES E KINNAIRD                               538 RISEN STAR DR                                                                              CREST VIEW      FL    32539‐6070
CHARLES E KIRBY JR                               77 BRANCH ST                                                                                   MEDFORD         NJ    08055‐2714
CHARLES E KLABUNDE                               219 E VANDERBILT DRIVE                                                                         OAK RIDGE       TN    37830‐6183
CHARLES E KNOWLTON                               16278 SHILLING RD APT 18                                                                       BERLIN CENTER   OH    44401‐9790
CHARLES E KOCH                                   40 RIDGECREST RD                                                                               JAFFREY         NH    03452‐5760
CHARLES E KOSKI                                  9330 SUNVIEW N E                                                                               WARREN          OH    44484‐1159
CHARLES E KRAMPF                                 5583 RURAL EDGE DR                                                                             ROSCOE          IL    61073‐9439
                                                 09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 681 of 850
Name                                               Address1                              Address2             Address3          Address4          City             State Zip

CHARLES E KRIECH JR                                360 N KELLOGG AVE                                                                              SANTA BARBARA    CA    93111‐1652
CHARLES E KYSER                                    13991 ADELINE DR                                                                               LANSING          MI    48906‐9397
CHARLES E LAND                                     401 N W 41ST STREET                                                                            OKLAHOMA CITY    OK    73118‐8425
CHARLES E LANGSTON                                 5203 JOY RD                                                                                    DETROIT          MI    48204‐2152
CHARLES E LASLEY                                   5191 SILVERDOME DR                                                                             DAYTON           OH    45414‐3678
CHARLES E LAWRENCE                                 PO BOX 1063                                                                                    WESTMINSTER      SC    29693‐0706
CHARLES E LEAHY                                    226 MORAN RD                                                                                   GROSSE POINTE    MI    48236‐3536
CHARLES E LEE                                      3545 COL VANDERHERST CIRCLE                                                                    MOUNT PLEASANT   SC    29466‐8032

CHARLES E LEE                                      18859 RUSSELL                                                                                  DETROIT          MI    48203‐2115
CHARLES E LEGGETT                                  675 E GRADLEY AVE                                                                              EL CAJON         CA    92021
CHARLES E LEMASTER JR                              5248 ROSSITER AVE                                                                              WATERFORD        MI    48329‐1759
CHARLES E LESSIG & MRS DOLORES J LESSIG JT TEN     2841 LANDON DR                                                                                 SILVER LAKE      OH    44224‐3713

CHARLES E LETHANDER                                525 COCHISE CT                                                                                 CINCINNATI       OH    45215‐2519
CHARLES E LEWIS                                    4234 FLORAL AVE                                                                                NORWOOD          OH    45212‐3256
CHARLES E LEWIS                                    2905 NE 63RD TERRACE                                                                           KANSAS CITY      MO    64119‐1809
CHARLES E LEWIS & JUNE A LEWIS JT TEN              8180 GALE                                                                                      GOODICH          MI    48438‐9259
CHARLES E LEWIS JR                                 1331 JERRY                                                                                     MADISON HTS      MI    48071‐2994
CHARLES E LEWIS TR UA 02/04/93 CHARLES E LEWIS     6411 WINSTON DR                                                                                BETHESDA         MD    20817‐5821

CHARLES E LINDSAY                                 2610 FLOTILLA TERRACE                                                                           FT PIERCE        FL    34949‐1532
CHARLES E LINDSAY & MYRTLE B LINDSAY JT TEN       2610 FLOTILLA TER                                                                               FT PIERCE        FL    34949‐1532
CHARLES E LINGG                                   812 SOUTHVIEW DR                                                                                ENGLEWOOD        OH    45322‐2213
CHARLES E LIVESAY                                 9706 MARION MARTIN RD                                                                           CHARLESTOWN      IN    47111‐9232
CHARLES E LOBBESTAEL & AUDREY S LOBBESTAEL JT TEN 427 PARAGON                                                                                     TROY             MI    48098‐4684

CHARLES E LOCKE SR                                 2 FAIRVIEW RD                                                                                  NORTH CAPE MAY   NJ    08204‐2118
CHARLES E LOGGINS                                  PO BOX 29667                                                                                   CHICAGO          IL    60629‐0667
CHARLES E LONICKI                                  73 HILL TOP DR                                                                                 SOUTHINGTON      CT    06489‐2419
CHARLES E LOVETT                                   10119 US HIGHWAY 50 EAST                                                                       HILLSBORO        OH    45133‐8311
CHARLES E LUND                                     1082 AIRPORT ROAD                                                                              WATERFORD        MI    48327‐1800
CHARLES E LYLES                                    15024 ROCHELLE                                                                                 DETROIT          MI    48205‐4153
CHARLES E LYNCH                                    42 FRONT STREET                                                                                NYACK            NY    10960‐1803
CHARLES E LYNN                                     1014 GUNSMITH SCHOOL RD                                                                        BEDFORD          IN    47421‐8728
CHARLES E MADSEN                                   PO BOX 391                                                                                     ONEKAMA          MI    49675‐0391
CHARLES E MALIN                                    155 BENTLEY                                                                                    HUBBARD          OH    44425‐2005
CHARLES E MALLON                                   3350 W 111TH DRIVE                                                                             WESTMINSTER      CO    80030‐6836
CHARLES E MANIX                                    7765 FOREST HILL LN                                                                            PALOS HEIGHTS    IL    60463‐2599
CHARLES E MARINGO                                  1736 BLAIR ST                                                                                  LANSING          MI    48910‐1101
CHARLES E MARRS                                    174 RIVERSIDE DR                                                                               DETROIT          MI    48215‐3009
CHARLES E MARTEL                                   223 S FEDERAL HWY                     PO BOX 248                                               TEMPLETON        MA    01468‐0248
CHARLES E MARTIN                                   90 APPLEGATE ST                                                                                RED BANK         NJ    07701‐5538
CHARLES E MARTIN                                   PO BOX 124                                                                                     N BLOOMFIELD     OH    44450‐0124
CHARLES E MASON                                    440 HESS RD                                                                                    MARTINSVILLE     IN    46151‐7806
CHARLES E MASON                                    416 NAUGHRIGHT RD                                                                              LONG VALLEY      NJ    07853
CHARLES E MATHAY                                   1687 EVERGREEN PK                                                                              COSHOCTON        OH    43812‐3130
CHARLES E MATKOVICH                                20404 SANDSFIELD TERRACE                                                                       GERMANTOWN       MD    20876
CHARLES E MATTA                                    14321 RIDGE RD                                                                                 N HUNTINGDON     PA    15642‐6102
CHARLES E MATTA & DOROTHY L MATTA TEN ENT          14321 RIDGE RD                                                                                 NORTH            PA    15642‐6102
                                                                                                                                                  HUNTINGDON
CHARLES E MATTA & MRS DOROTHY L MATTA JT TEN       14321 RIDGE RD                                                                                 NORTH            PA    15642‐6102
                                                                                                                                                  HUNTINGDON
CHARLES E MAURER & MRS ELEANOR M MAURER JT TEN 1341 MAJESTIC OAK DR                                                                               APOPKA           FL    32712‐2511

CHARLES E MC GINNIS                                15714 STRATHMOOR ST                                                                            DETROIT          MI    48227‐2963
CHARLES E MC MICHAEL                               158 FREEPORT ROAD                                                                              BUTLER           PA    16002‐3628
CHARLES E MCCORKLE JR                              60 CLUB HOUSE LN                                                                               GREENEVILLE      TN    37743‐8968
CHARLES E MCDANIEL                                 BOX 163                                                                                        KEEGO HARBOR     MI    48320‐0163
                                               09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 682 of 850
Name                                                  Address1                              Address2                 Address3      Address4          City              State Zip

CHARLES E MCDANIEL JR                                 95 RIVERWOOD COVE                                                                              OAKLAND           TN    38060
CHARLES E MCDONALD                                    17531 OAKDALE RD                                                                               ATHENS            AL    35613‐5933
CHARLES E MCEWEN                                      754 DENISE RD                                                                                  ROCHESTER         NY    14616‐2728
CHARLES E MCNALLY                                     9445 OAK RD                                                                                    OTISVILLE         MI    48463‐9789
CHARLES E MELDRUM JR                                  22231 FAIRVIEW BEND DR                                                                         BONITA SPGS       FL    34135‐2005
CHARLES E MELVIN                                      1739 BARNETT RD                                                                                BRODHEAD          KY    40409‐8538
CHARLES E MESAROSH                                    4342 WASHBURN RD                                                                               HILLSBORO         OH    45133‐7087
CHARLES E MILLEN & MRS JEAN MILLEN JT TEN             62650 BAYOU ROAD                                                                               PLAQUEMINE        LA    70764‐5919
CHARLES E MILLER                                      1114 ALICE                                                                                     LAPEER            MI    48446‐3001
CHARLES E MILLER                                      772 ROYAL CIR                                                                                  HOWARD            OH    43028‐8302
CHARLES E MILLHOUSE                                   18435 WESTMORELAND                                                                             DETROIT           MI    48219‐2831
CHARLES E MONHOLLEN                                   5070 RHUDE LANE                                                                                MORROW            OH    45152‐9702
CHARLES E MONTEYNE                                    15340 FRAZHO RD                                                                                ROSEVILLE         MI    48066‐5022
CHARLES E MORESHEAD                                   31 E GRAND AVE                                                                                 OLD ORCHD BCH     ME    04064
CHARLES E MORGAN                                      4970 HWY 371                                                                                   HEFLIN            LA    71039‐5318
CHARLES E MORTON                                      6020 CR 508A                                                                                   SALEM             MO    65560‐7703
CHARLES E MOYERS                                      RT 3 BOX 30                                                                                    BOONEVILLE        KY    41314‐9405
CHARLES E MULDREW                                     1325 ELDORADO DRIVE                                                                            FLINT             MI    48504‐3238
CHARLES E MULLEN                                      243 ANDROMEDA DR                                                                               PADUCAH MALL      KY    42001‐6102
CHARLES E MURPHREE                                    16182 S HIGHWAY 170                                                                            WEST FORK         AR    72774‐9258
CHARLES E MYERS                                       186 CLAYBURN ST                                                                                WATERFORD         MI    48327‐2612
CHARLES E MYERS                                       16780 STALLION SHORES COURT                                                                    LINDALE           TX    75771
CHARLES E MYLES                                       2122 CHERRY                                                                                    SAGINAW           MI    48601‐2039
CHARLES E NEDDERMANN                                  49 DRIFTWOOD ROAD                                                                              BRISTOL           CT    06010‐2529
CHARLES E NESBIT                                      1549 NORTHBOURNE RD                                                                            BALTIMORE         MD    21239‐3541
CHARLES E NIELSEN & EMERY H NIELSEN JT TEN            PO BOX 427                                                                                     COLDWATER         KS    67029‐0427
CHARLES E NODDIN                                      35‐16 76TH ST                                                                                  JACKSON HEIGHTS   NY    11372‐4548

CHARLES E NOLEN JR                                    8971 BRIDGE LAKE RD                                                                            CLARKSTON         MI    48348‐2568
CHARLES E NUCKOLLS                                    391 GRAND VISTA DR                                                                             SYLVA             NC    28779‐9617
CHARLES E NUCKOLLS & MRS VIRGINIA J NUCKOLLS JT       391 GRAND VISTA DR                                                                             SYLVA             NC    28779‐9617
TEN
CHARLES E OLINGER JR                                  LOCKMAR ESTATES                       886 RIPLEY TERRACE N E                                   PALM BAY          FL    32907‐1651
CHARLES E OPELA                                       5701 RED HAW LANE                                                                              PLATTE WOODS      MO    64151‐1417
CHARLES E PACE                                        PO BOX 310                                                                                     CHALLIS           ID    83226‐0310
CHARLES E PAGE                                        7715 S MAY                                                                                     CHICAGO           IL    60620‐2938
CHARLES E PARMER                                      35 HILLCREST DRIVE                                                                             MANHEIM           PA    17545‐2309
CHARLES E PATTERSON                                   1562 WEST 111TH ST                                                                             LOS ANGELES       CA    90047‐4923
CHARLES E PATTON                                      604 N HARDING ST                      APT A                                                    OAK GROVE         MO    64075‐6149
CHARLES E PAULSEN & JEAN E PAULSEN JT TEN             4622 RIDGE CREST RD                   UNIT NO 2                                                STURGEON BAY      WI    54235
CHARLES E PAYNE                                       PO BOX 1281                                                                                    CLYDE             NC    28721‐1281
CHARLES E PEARSALL                                    818 S MILTON AVENUE                                                                            BALTIMORE         MD    21224‐3735
CHARLES E PETERS                                      1960 S BUNN RD                                                                                 HILLSDALE         MI    49242‐9379
CHARLES E PETREE                                      306 S BARBER AVE                                                                               POLO              IL    61064‐1612
CHARLES E PHILLIPS TOD BONNIE I PHILLIPS SUBJECT TO   12147 GLADSTONE RD SW                                                                          WARREN            OH    44481‐9503
STA TOD RULES
CHARLES E PIGMAN                                      21347 HAMMERSMITH RD                                                                           DEFIANCE          OH    43512‐8612
CHARLES E PITT & MARY O PITT JT TEN                   200 WILSON RD                                                                                  PORTLAND          TN    37148‐4869
CHARLES E PLANT TOD CYNTHIA C FREUNDSCHUH             22 MOHAWK ST                                                                                   WEBSTER           NY    14580
SUBJECT TO STA TOD RULES
CHARLES E PLANT TOD THEODORE C PLANT SUBJECT TO       22 MOHAWK ST                                                                                   WEBSTER           NY    14580
STA TOD RULES
CHARLES E PORTER                                      18180 MARYLAND                                                                                 SOUTHFIELD        MI    48075‐2802
CHARLES E PORTER                                      1347 TUDOR DR                                                                                  MONTGOMERY        AL    36117‐2319
CHARLES E PORTER & JUANITA M PORTER JT TEN            1347 TUDOR DR                                                                                  MONTGOMERY        AL    36117‐2319
CHARLES E PORTER JR & SUSAN J PORTER JT TEN           1435 WYOMING AVE                                                                               NIAGARA FALLS     NY    14305‐1172
CHARLES E POTTER                                      PH 7                                  2206 CYPRESS BEND DR S                                   POMPANO BEACH     FL    33069‐5631
CHARLES E POTTER                                      10211 CARIBBEAN BLVD                                                                           MIAMI             FL    33189
CHARLES E POWELL                                      3411 W 50 S                                                                                    KOKOMO            IN    46902‐5834
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 683 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

CHARLES E POWELL                                  PO BOX 221                                                                                      NEY              OH    43549‐0221
CHARLES E POWERS                                  6421 ROLLING GLEN DRIVE                                                                         DAYTON           OH    45424‐1384
CHARLES E PRUITT                                  206 SOUTH ROSEMARY ST                                                                           LANSING          MI    48917‐3854
CHARLES E QUARTIER                                312 WALNUT                                                                                      WESTVILLE        IL    61883‐1666
CHARLES E QUICK                                   PO BOX 43                                                                                       OXFORD           WI    53952‐0043
CHARLES E RAINES                                  30685 ISLAND DR                                                                                 GIBRALTOR        MI    48173‐9545
CHARLES E RAINS                                   1307 HENRY HALL DR                                                                              MURFREESBORO     TN    37129‐6465
CHARLES E READ                                    424 DOVERDALE DR                                                                                MONROE           OH    45050‐1056
CHARLES E REASON                                  5806 COMMON CIR                                                                                 INDIANAPOLIS     IN    46220‐5399
CHARLES E RECESKI                                 120 GREENVIEW DR                                                                                INDIANA          PA    15701‐1332
CHARLES E REED                                    1420 REISIG                                                                                     SAGINAW          MI    48604‐9719
CHARLES E REED JR                                 109 BRAD N CRIS DR                                                                              HOUGHTON LAKE    MI    48629‐9793
CHARLES E REES                                    21051 NICHOLAS AVE                                                                              EUCLID           OH    44123‐3024
CHARLES E REEVES                                  9405 MARLOWE                                                                                    PLYMOUTH         MI    48170‐4039
CHARLES E REIGRUT                                 282 FOREST PARK DR                                                                              BOARDMAN         OH    44512‐1452
CHARLES E RHOADS                                  706 CYNTHIA LANE                                                                                WEST CHESTER     PA    19380‐1889
CHARLES E RICHARD                                 810 N 83RD DR                                                                                   KANSAS CITY      KS    66112‐1916
CHARLES E RICHARDSON                              3919 HAVERHILL DRIVE                                                                            ANDERSON         IN    46013‐4357
CHARLES E RIVERS                                  1441 MARINA POINTE BLVD                                                                         LAKE ORION       MI    48362‐3906
CHARLES E ROACH                                   821 LAIRD                                                                                       LAKE ORION       MI    48362‐2038
CHARLES E ROARK                                   3805 HAYNES RD                                                                                  STOCKBRIDGE      MI    49285‐9521
CHARLES E ROBERT                                  2616 SW 52 TERRACE                                                                              CAPE CORAL       FL    33914‐6658
CHARLES E ROBERTSON & KENT R ROBERTSON JT TEN     22457 OLD MILL CT                                                                               WOODHAVEN        MI    48183‐1424

CHARLES E ROBINSON & PATTY HOLT ROBINSON JT TEN 1266 S MAIN                                                                                       DYER             TN    38330‐2214

CHARLES E ROBISON                                 19654 DRAKE RD                                                                                  STRONGSVILLE     OH    44136‐6830
CHARLES E ROBISON                                 2505 SOUTH F ST                                                                                 ELWOOD           IN    46036‐2634
CHARLES E ROGERS                                  PO BOX 1213                            15 SPRINGLINE DR                                         WELLFLEET        MA    02667‐6924
CHARLES E ROSSIO & JANE ROSSIO JT TEN             1578 MONROE ST                                                                                  CARLETON         MI    48117‐9373
CHARLES E ROWLAND                                 303 N MECCA ST                         APT 306                                                  CORTLAND         OH    44410‐1084
CHARLES E RUTHER & BILLIE IRENE OBERMIRE JT TEN   618 DOGWOOD CIR                                                                                 NORCROSS         GA    30071‐2118

CHARLES E SABO                                    6520 N SAND HILL AVE                                                                            SHREVEPORT       LA    71107‐8108
CHARLES E SAIN                                    4365 LINDA ST                                                                                   BURTON           MI    48509‐1113
CHARLES E SALIZZONI                               225 MOON STONE LN                                                                               GREENSBURG       PA    15601‐4968
CHARLES E SANDERS & JUDITH A SANDERS JT TEN       8950 NATURE DR N                                                                                INDIANAPOLIS     IN    46278‐1054
CHARLES E SASSER                                  PO BOX 18688                                                                                    FAIRFIELD        OH    45018‐0688
CHARLES E SCHMELZER JR                            88 OLD POST RD                                                                                  LANCASTER        NY    14086‐3263
CHARLES E SCHMIDT                                 380 MOUNDS CT                                                                                   CARMEL           IN    46032‐9301
CHARLES E SCHNELL                                 700 N ROCKY RIVER DR                                                                            BEREA            OH    44017‐1630
CHARLES E SCROGGY                                 218 W BOGART RD                                                                                 SANDUSKY         OH    44870‐5801
CHARLES E SEABAUGH                                RT #1 BOX 117                                                                                   MARBLE HILL      MO    63764‐9704
CHARLES E SEALS                                   6036 WOODROW                                                                                    DETROIT          MI    48210‐1455
CHARLES E SEXTON                                  8411 S 900 W                                                                                    FAIRMOUNT        IN    46928‐9366
CHARLES E SHANER                                  4640 SUMMERFIELD RD                                                                             PETERSBURG       MI    49270‐9707
CHARLES E SHANER & MRS DEBORAH R SHANER JT TEN    4640 SUMMERFIELD RD 1                                                                           PETERSBURG       MI    49270‐9707

CHARLES E SHELBURNE & MRS P SANDRA SHELBURNE JT 9481 HURON RAPIDS DR                                                                              WHITMORE LAKE    MI    48189‐9383
TEN
CHARLES E SHEMWELL                              PO BOX 50161                                                                                      RALEIGH          NC    27650‐6161
CHARLES E SHERIDAN                              PO BOX 351                                                                                        SUMMERFIELD      FL    34492‐0351
CHARLES E SHORT                                 9305 BROCK RD                                                                                     SPOTSYLVANIA     VA    22553‐3707
CHARLES E SIDICK                                20190 GARDEN CT                                                                                   ROSEVILLE        MI    48066‐2214
CHARLES E SIMPSON                               17324 CROCKER AV                                                                                  CARSON           CA    90746‐1145
CHARLES E SIMPSON SR                            7305 EXMORE ST                                                                                    SPRINGFIELD      VA    22150‐4025
CHARLES E SINGER                                375 ERIEVIEW BLVD                                                                                 SHEFFIELD LAKE   OH    44054‐1910
CHARLES E SISSON                                15515 COLUMBIA HWY                                                                                LYNNVILLE        TN    38472‐5211
CHARLES E SITTNER                               508 W ST CLAIR                                                                                    FREEBURG         IL    62243‐1038
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 684 of 850
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

CHARLES E SMIESKA                                 5230 OLD PLANK RD                                                                                ONONDAGA          MI    49264‐9707
CHARLES E SMITH                                   1314 LILLIAN DR                                                                                  FLINT             MI    48505‐2580
CHARLES E SMITH                                   222 HILLCREST                                                                                    HOUSTON           MS    38851‐2405
CHARLES E SMITH                                   3201 MONTANA                                                                                     FLINT             MI    48506‐2552
CHARLES E SMITH                                   4414 GARFIELD                                                                                    KANSAS CITY       KS    66102‐1830
CHARLES E SMITH                                   6035 FOREST                                                                                      KASNAS CITY       MO    64110‐3141
CHARLES E SMITH & JULIE A SMITH JT TEN            1508 INDIAN HILLS ROAD                                                                           COUNCIL BLUFFS    IA    51503‐4849
CHARLES E SMITH & MARTHA S SMITH JT TEN           222 HILLCREST DR                                                                                 HOUSTON           MS    38851‐2405
CHARLES E SPROWLS                                 452 WESTVIEW RD                                                                                  BEDFORD           OH    44146‐2214
CHARLES E STACEY                                  14700 GULLEY                                                                                     TAYLOR            MI    48180‐4591
CHARLES E STAFFORD                                29228 NYS ROUTE 3                                                                                BLACK RIVER       NY    13612‐2146
CHARLES E STAPLES                                 9141 WARD                                                                                        DETROIT           MI    48228‐2646
CHARLES E STATON                                  1824 S TOWN LAKE RD                                                                              AKRON             IN    46910‐9741
CHARLES E STEFANICK                               248 CONNELLSVILLE ST                                                                             DUNBAR            PA    15431‐1610
CHARLES E STEPHENS                                4755 STEPHENS RD                                                                                 GAINESVILLE       GA    30504‐8250
CHARLES E STEPHENS                                7945 SCARFF ROAD                                                                                 NEW CARLISLE      OH    45344‐7682
CHARLES E STEPHENS & JUDITH A STEPHENS JT TEN     7945 S SCARFF RD                                                                                 NEW CARLISLE      OH    45344‐7682

CHARLES E STEVENS JR                              1210 LITTLEPAGE ST                                                                               FREDERICKBURG     VA    22401‐4729
CHARLES E STRAKA                                  34052 MONICA DRIVE                                                                               N RIDGEVILLE      OH    44039‐2130
CHARLES E SUDBERRY                                1727 W 15TH AVE                                                                                  ANCHORAGE         AK    99501‐4911
CHARLES E SULLIVAN                                837 CONSERVATION DR                                                                              HEDGESVILLE       WV    25427‐5441
CHARLES E SUMPTER                                 6061 W ELDON RD                                                                                  MT MORRIS         MI    48458‐2713
CHARLES E TAYLOR                                  158 ALAN DR #H                                                                                   NEWPORT NEWS      VA    23602‐4100
CHARLES E TAYLOR                                  BOX 443                                                                                          HARVARD           IL    60033‐0443
CHARLES E TAYLOR III                              7873 W BECKETT AVE                                                                               MILWAUKEE         WI    53218‐5320
CHARLES E THOMAS                                  PO BOX 15004                                                                                     CINCINNATI        OH    45215‐0004
CHARLES E THOMAS                                  600 IDLEWOOD RD                                                                                  HARDY             VA    24101‐2866
CHARLES E THOMAS                                  16550 GREENVIEW                                                                                  DETROIT           MI    48219‐4156
CHARLES E THOMAS JR                               PO BOX 4239                                                                                      SOUTHFIELD        MI    48037‐4239
CHARLES E THOMAS JR TOD GAIL JEAN THOMAS          PO BOX 763                                                                                       ROSS              OH    45061‐0763
SUBJECT TO STA TOD RULES
CHARLES E THOMASON & ELMETTA S THOMASON JT        104 BLANCHE ST                                                                                   INVERNESS         FL    34452‐5853
TEN
CHARLES E THOMPSON                                441 GRANT CT                                                                                     AVON             IN     46123‐6822
CHARLES E THOMPSON                                1020 RIDGELINE CT                                                                                LAKE ORION       MI     48860‐2628
CHARLES E THRASH                                  3191 FENNER ST                                                                                   MARLETTE         MI     48453‐1223
CHARLES E TIEDEMAN                                8822 OAK HILL RD                                                                                 CLARKSTON        MI     48348‐1041
CHARLES E TOLAND                                  8354 E LANTZ                                                                                     DETROIT          MI     48234‐3305
CHARLES E TOUNDAS                                 429 JONES AVE                                                                                    YORKVILLE        OH     43971‐1020
CHARLES E TOWELL                                  10175 ELKTON                                                                                     NASHVILLE        IL     62263‐4526
CHARLES E TUCKER                                  18686 NORBORNE AVE                                                                               REDFORD          MI     48240‐1835
CHARLES E TUCKER                                  1117 WINSTANLEY                                                                                  E ST LOUIS       IL     62201‐2027
CHARLES E TYSON                                   7907 E 118TH ST                                                                                  KANSAS CITY      MO     64134‐4048
CHARLES E VANDERWALKER                            1014 COUNTY RTE 17                                                                               MOIRA            NY     12957‐1904
CHARLES E VANHORN                                 7273 GALLIA PIKE                                                                                 FRANKLIN FURNACE OH     45629‐8988

CHARLES E VANITVELT                               130 FOXBORO DR                                                                                   ROCHESTER HILLS   MI    48309‐1430
CHARLES E VARNEY                                  1776 VICTOR ST                                                                                   YPSILANTI         MI    48198‐6639
CHARLES E VESTER II                               5405 W ST ROAD 234                                                                               MCCORDSVILLE      IN    46055‐9547
CHARLES E VILLANUEVA & MRS MYRA B VILLANUEVA JT   127 STEWART ROAD                                                                                 SHORT HILLS       NJ    07078‐3237
TEN
CHARLES E VINSON PC                               6044 GATEWAY BLVD E STE 301                                                                      EL PASO           TX    79905‐2016
CHARLES E VOGAN                                   3100 SHORE DR APT 1106                                                                           VIRGINIA BEACH    VA    23451‐1163
CHARLES E VOYTEK                                  275 LANCELOT LANE                                                                                ORTONVILLE        MI    48462‐8946
CHARLES E WAGNER                                  7427 TRAYMORE AVE                                                                                BROOKLYN          OH    44144‐3239
CHARLES E WALDER                                  9240 MUSIC ST                                                                                    NOVELTY           OH    44072
CHARLES E WALDER & PATRICIA E WALDER JT TEN       9240 MUSIC ST                                                                                    NOVELTY           OH    44072
CHARLES E WALKER                                  3416 GARLAND                                                                                     DETROIT           MI    48214‐2128
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                     Part 1 of 8 Pg 685 of 850
Name                                             Address1                             Address2                       Address3   Address4          City               State Zip

CHARLES E WALKER                                 10541 AERONICA LN                                                                                MC CORDSVILLE      IN    46055‐9621
CHARLES E WALL                                   101 GRATTAN RD                                                                                   RICHMOND           VA    23229‐8407
CHARLES E WARBURTON JR & VESNA I WARBURTON JT    915 DENSTON DR                                                                                   AMBLER             PA    19002‐3901
TEN
CHARLES E WARE                                   823 GLENSTON CT                                                                                  TROTWOOD           OH    45426‐2258
CHARLES E WARREN                                 7143 ROBINSON AVE                                                                                ALLEN PARK         MI    48101‐2245
CHARLES E WATKINS                                2409 NED DRIVE                                                                                   DAYTON             OH    45439‐2823
CHARLES E WATKINS & CAROLYN M WATKINS JT TEN     G‐6208 FINCH LANE                                                                                FLINT              MI    48506

CHARLES E WEBB                                   1076 WINCHESTER DRIVE                                                                            ROCK HILL          SC    29730‐8522
CHARLES E WEED                                   1206 GREENDALE ROAD                                                                              ANDERSON           IN    46011‐2817
CHARLES E WEED & DOROTHY M WEED JT TEN           1206 GREENDALE ROAD                                                                              ANDERSON           IN    46011‐2817
CHARLES E WELLS                                  12708 W SPRING VALLEY RD                                                                         BRODHEAD           WI    53520‐9722
CHARLES E WERT                                   22 SHELL TURN                                                                                    TRENTON            NJ    08690‐2310
CHARLES E WESTBROOKS                             PO BOX 1104                                                                                      GARDENA            CA    90249‐0104
CHARLES E WHEAT                                  3484 STICKS RD                                                                                   GLEN ROCK          PA    17327‐7828
CHARLES E WHEELER                                5654 S MERIDIAN                                                                                  INDIANAPOLIS       IN    46217‐2715
CHARLES E WHISNANT                               16594 CURTIS ST                                                                                  ROSEVILLE          MI    48066‐3758
CHARLES E WHITE                                  6026 BOHDE TRL                                                                                   FORT WAYNE         IN    46835‐3702
CHARLES E WHITE                                  PO BOX 1049                                                                                      WOODBURY           CT    06798‐1049
CHARLES E WIENHOLD                               6811 BESSEMER AVE                                                                                BALTO              MD    21222‐1115
CHARLES E WILLIAMS                               756 WEYBRIDGE DR                                                                                 BLOOMFIELD HILLS   MI    48304‐1084

CHARLES E WILLIAMS                               9285 N STATE RD                                                                                  OTISVILLE          MI    48463‐9456
CHARLES E WILLIAMS                               20 AVENUE A                          APT 5B                                                      NEW YORK           NY    10009‐7935
CHARLES E WILLIAMS                               2439 PARLIAMENT SQ                                                                               TOLEDO             OH    43617‐1281
CHARLES E WILLIS                                 6208 ECHO SUMMIT LANE                                                                            ARLINGTON          TX    76017‐1906
CHARLES E WILLS JR                               9340 E MOGOLLON TR                                                                               GOLD CAUN YON      AZ    85219
CHARLES E WILSON                                 427 E LAKE RD                                                                                    HONEOYE            NY    14471‐9506
CHARLES E WINEBOLD JR                            4205 SELKIRK AVE                                                                                 YOUNGSTOWN         OH    44511‐1048
CHARLES E WINN II                                1502 COLUMBINE AVE                                                                               BOULDER            CO    80302‐7943
CHARLES E WINTERMANTEL                           446 E 1100 RD                                                                                    BALDWIN CITY       KS    66006‐7289
CHARLES E WITHEE                                 28 PARK AVE                                                                                      WEBSTER            NY    14580‐3222
CHARLES E WORD & MARIANNE WORD JT TEN            403 ANDOVER                                                                                      ST LOUIS           MO    63011‐2502
CHARLES E WRIGHT                                 917 CORNELL AVE                                                                                  CLERMONT           FL    34711
CHARLES E WYATT                                  5104 MACKLYN DRIVE                                                                               TOLEDO             OH    43615‐2974
CHARLES E YANCY                                  1825 STONEHENGE AVE                                                                              WARREN             OH    44483‐2947
CHARLES E YANCY                                  1825 STONEHENGE AVE NE                                                                           WARREN             OH    44483‐2947
CHARLES E YEO                                    937 NE DEVON DR                                                                                  LEES SUMMIT        MO    64064
CHARLES E YOUNG TOD MICHELLE D YOUNG             5061 ROBINSROCK WAY                                                                              INDIANAPOLIS       IN    46268
CHARLES E ZARB                                   2515 WOODBOURNE DR                                                                               WATERFORD          MI    48329‐2475
CHARLES E ZERWEKH JR                             3221 BLOOMFIELD PARK DR                                                                          WEST BLOOMFIELD    MI    48323‐3515

CHARLES E ZIMMERMAN                              3620 RD 23                                                                                       CONTINENTAL        OH    45831‐9208
CHARLES EALLONARDO                               2833 MANLEY DR                                                                                   LANSING            MI    48910‐3722
CHARLES EARL BECK                                405 MOODY RD                                                                                     RUSTON             LA    71270‐3071
CHARLES ECONOMOUS                                BOX 429                                                                                          KNOX               PA    16232‐0429
CHARLES EDGAR BEARDSLEY & DIANA LYNN BEARDSLEY   10305 KIMBARK AVE                                                                                WHITTIER           CA    90601‐1717
JT TEN
CHARLES EDWARD ADKINS                            652 KELLY DR                                                                                     WILMINGTON         OH    45177‐1472
CHARLES EDWARD BEEKER                            202 BROADWAY ST                                                                                  NEW VIRGINIA       IA    50210
CHARLES EDWARD BRYNER                            10 N FIFTH ST                                                                                    MIFFLINTOWN        PA    17059‐1207
CHARLES EDWARD MC GEEHAN                         ATTN MAUREEN A MCGEEHAN              201 W PONCE DE LEON AVE‐#308   DECATUER                     DECATUR            GA    30030
CHARLES EDWARD NORTH III                         1063 EKONK HILL RD                                                                               VOLUNTOWN          CT    06384‐1002
CHARLES EDWARD PORTER                            5146 W BLOOMFIELD LAKE RD                                                                        W BLOOMFIELD       MI    48323‐2407
CHARLES EDWARD PUTZ CUST AUDREY MICHELLE PUTZ    405 SWEETWATER RD                                                                                GREER              SC    29650‐3036
UGMA SC
CHARLES EDWARD PUTZ CUST ERIC RYAN PUTZ UGMA     405 SWEETWATER RD                                                                                GREER              SC    29650‐3036
SC
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 686 of 850
Name                                             Address1                               Address2              Address3         Address4          City              State Zip

CHARLES EDWARD SMITH                             5320 PLAIN CENTER NE                                                                            CANTON            OH    44714‐1166
CHARLES EDWARD STEELE & MARIE M STEELE JT TEN    1 SOUTH STAPT 2                                                                                 GREAT NECK        NY    11023‐1118

CHARLES EDWARD WHITE                             4300 S WHITNEY ROAD                                                                             SELMA             IN    47383‐9691
CHARLES EDWARDS                                  APT 205                                6000 W 70TH                                              SHREVEPORT        LA    71129‐2528
CHARLES EDWIN HOUGH                              7430 ‐ 37 MILE RD                                                                               ROMEO             MI    48065‐1205
CHARLES EDWIN TURNER                             1826 LAWNDALE AVE                                                                               FLINT             MI    48504
CHARLES EDWIN WHITE                              3730 DERBYSHIRE ROAD                                                                            WINSTON SALEM     NC    27104‐1603
CHARLES EDWIN WILLIAMS                           14326 STONEHOUSE                                                                                LIVONIA           MI    48154‐4943
CHARLES EISER                                    240 BOREL AVE                                                                                   SAN MATEO         CA    94402‐3103
CHARLES ELLIOT MILLER JR                         327 CEDAR ST                                                                                    LAPEER            MI    48446‐2203
CHARLES ELLIOTT                                  1119 SW HOKE DR                                                                                 LEES SUMMIT       MO    64081‐2692
CHARLES ELLISE O RILEY                           62 BENWOOD AVE                                                                                  BUFFALO           NY    14214‐1814
CHARLES ELSWORTH PETERSON                        PO BOX 93                              14506 N LINDEN ROAD                                      BIRCH RUN         MI    48415‐8602
CHARLES EMAL BELTER                              279 DEAN RD                                                                                     DEPEW             NY    14043‐1309
CHARLES EQUIARTA                                 3335 GLEN HOLLY DR                                                                              ANAHEIM           CA    92804‐3736
CHARLES EUGENE HAMILTON                          4658 NORTHWOOD TER                                                                              SARASOTA          FL    34234‐5051
CHARLES EUGENE HAUCK                             4002 KITTYHAWK DR                                                                               DAYTON            OH    45403‐2844
CHARLES EVANS                                    475 MAIN ST                                                                                     WADSWORTH         OH    44281‐1354
CHARLES F ALBRECHT & CHRISTY L ALBRECHT JT TEN   53 GROVE ST                                                                                     COOPERSVILLE      MI    49404‐1101

CHARLES F ALES                                 456 ROLLING GREEN CIR S                                                                           ROCHESTER HILLS   MI    48309‐1258
CHARLES F AMBIO                                123 JOHNSON AVE                                                                                   STATEN ISLAND     NY    10307‐1222
CHARLES F ASHFORD                              15787 ST MARY                                                                                     DETROIT           MI    48227‐1929
CHARLES F BABCOCK                              19337 65TH AVE                                                                                    BARRYTON          MI    49305‐9745
CHARLES F BARLOW                               3726 DANTON RD                                                                                    HALE              MI    48739‐9003
CHARLES F BATEMAN                              74444 MAD RIVER ROAD                                                                              DAYTON            OH    45459
CHARLES F BATT & PATRICIA S BATT JT TEN        9620 PARMETER NE                                                                                  ROCKFORD          MI    49341‐9325
CHARLES F BATT & S P BATT JT TEN               9620 PARMETER NE                                                                                  ROCKFORD          MI    49341‐9325
CHARLES F BECK                                 6719 S KOLMAN                                                                                     CHICAGO           IL    60629‐5724
CHARLES F BEIHL                                126 HOWARD ST                                                                                     PORT JEFF STA     NY    11776‐2520
CHARLES F BELLAVIA                             4166 SONIA ST                                                                                     LIVERMORE         CA    94550
CHARLES F BENSON                               2831 ADY RD                                                                                       FOREST HILL       MD    21050‐1803
CHARLES F BEZEMEK                              10701 S FAIRFIELD                                                                                 CHICAGO           IL    60655‐1720
CHARLES F BIGGS JR                             1131 OTTER AVE                                                                                    WATERFORD         MI    48328‐4756
CHARLES F BIMMERLE & MARLENA M BIMMERLE JT TEN 211 CROSS TIMBERS DRIVE                                                                           DOUBLE OAK        TX    75077‐8446

CHARLES F BOURNS                                 2136 PEARSON RD                                                                                 MILFORD           MI    48380‐4144
CHARLES F BREWER JR                              108 OXMOOR CIRCLE                                                                               AIKEN             SC    29803‐6648
CHARLES F BROWN                                  11344 HADLEY                                                                                    OVERLAND PARK     KS    66210‐2460
CHARLES F BROWN                                  7317 DEER LAKE RD                                                                               CLARKSTON         MI    48346‐1214
CHARLES F BRUNO & CAROL M BRUNO JT TEN           11 WESTWOOD RD                                                                                  EAST BRUNSWICK    NJ    08816‐1311
CHARLES F BUFFINGTON                             2414 WINDIMERE                                                                                  FLINT             MI    48503‐2203
CHARLES F BUNDY                                  422 M ST                                                                                        BEDFORD           IN    47421‐1819
CHARLES F CASS                                   2220 EAGLECREST RD                                                                              CAPE FAIR         MO    65624‐4237
CHARLES F CHAMBERS                               1304 PATTERSON DR                                                                               GAINESVILLE       GA    30501‐7000
CHARLES F CHURCH                                 6954 S STATE RD                                                                                 BANCROFT          MI    48414‐9421
CHARLES F CLARK                                  5501 N CR775W                                                                                   MUNCIE            IN    47304‐9668
CHARLES F CLARK JR                               845 MONMOUTH ST                                                                                 ST ALBANS         WV    25177‐3269
CHARLES F COLE                                   400 N IRVING ST                                                                                 PONCA CITY        OK    74601‐3527
CHARLES F COMBS                                  2215 SUPERIOR AVE                                                                               MIDDLETOWN        OH    45042
CHARLES F CONNER                                 9105 HIGHLAND DR                                                                                COVINGTON         GA    30014‐3484
CHARLES F CORDER                                 1893 HWY 62                                                                                     CORNING           AR    72422‐7755
CHARLES F COTTRELL                               21 CRAIG PLACE                                                                                  PENNSVILLE        NJ    08070‐2309
CHARLES F COUCH                                  903 WALNUT STREET                                                                               FRANKTON          IN    46044
CHARLES F COVELL                                 4840 DOVER RD                                                                                   BLF HILLS         MI    48013
CHARLES F CRAMER                                 403 LLANGOLLEN BLVD                                                                             NEW CASTLE        DE    19720‐4751
CHARLES F CRONHEIM                               1200 NASH ST #534                                                                               ARLINGTON         VA    22209‐3644
CHARLES F CURTIS & DOLORES A CURTIS JT TEN       8102 PHIRNE ROAD EAST                                                                           GLEN BURNIE       MD    21061‐5323
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 687 of 850
Name                                                 Address1                              Address2             Address3          Address4          City            State Zip

CHARLES F DAILY & MRS ALMA M DAILY JT TEN            1313 LOST CREEK BLVD                                                                           AUSTIN          TX    78746
CHARLES F DAILY JR                                   1313 LOST CREEK BLVD                                                                           AUSTIN          TX    78746
CHARLES F DALE                                       BOX 83                                                                                         JAMESTOWN       IN    46147‐0083
CHARLES F DAVIS & ELIZABETH W DAVIS JT TEN           170 HARDENBURGH AVE                                                                            DEMAREST        NJ    07627‐1620
CHARLES F DIGNEY                                     350 WEST CREEK AVE                                                                             CUTCHOGUE       NY    11935‐2436
CHARLES F DITTMER                                    708 N ELMHURSTAVE                                                                              MT PROSPECT     IL    60056‐2018
CHARLES F DONATO                                     44 SHARON AVE                                                                                  PAWTUCKET       RI    02860‐5536
CHARLES F DOWDY                                      2906 S ELIZABETH STREET                                                                        INDIANAPOLIS    IN    46203‐5809
CHARLES F DUNN JR                                    180 COUNTY FARM CROSS RD                                                                       DOVER           NH    03820
CHARLES F DYE III                                    2651 REGALIA WAY                                                                               HOLLYWOOD       FL    33026
CHARLES F EARLEY                                     ROUTE 2 BOX 285‐B                                                                              UNIONTOWN       AL    36786‐9360
CHARLES F EHSER                                      10303 RUSSELL AVE                                                                              GARFIELD HTS    OH    44125‐1618
CHARLES F EHSER & CAROL M EHSER JT TEN               10303 RUSSELL AVE                                                                              GARFIELD HTS    OH    44125‐1618
CHARLES F EILER & ANNE M EILER JT TEN                2700 STONEBURY                                                                                 ROCHESTER       MI    48307‐4563
CHARLES F EVANS                                      PO BOX 29                                                                                      FOWLER          OH    44418‐0029
CHARLES F FENTON JR                                  197 W MARKET ST STE 2                                                                          WARREN          OH    44481‐1024
CHARLES F FICK                                       119 VERNOR LN                                                                                  GRAYLING        MI    49738‐6723
CHARLES F FISHBURN                                   161 DUBONNET RD                                                                                TAVERNIER       FL    33070‐2730
CHARLES F FISHBURN JR                                161 DUBONNET RD                                                                                TAVERNIER       FL    33070‐2730
CHARLES F FITZPATRICK & VIRGINIA F FITZPATRICK TEN   214 CREAMERY RD                                                                                HAMBURG         PA    19526‐8007
ENT
CHARLES F FORD                                       12755 ARCHER AV                                                                                LEMONT          IL    60439‐7427
CHARLES F FOWLER JR & MARTHA H FOWLER JT TEN         2906 DOWNING ST                                                                                PEARLAND        TX    77581‐4621

CHARLES F FROST 3RD                                  115 RED OAK DRIVE                                                                              MANKATO         MN    56001‐8996
CHARLES F GAST                                       502 GRAND PASS                                                                                 SANDUSKY        OH    44870‐6135
CHARLES F GILLESPIE                                  1413 BELASCO AVE                                                                               PITTSBURGH      PA    15216‐3349
CHARLES F GILMORE & MRS BETTY JEAN GILMORE JT        249 CARRIAGE HILL DR                                                                           AURORA          IL    60506‐4405
TEN
CHARLES F GRAY                                       10097 JANN CT                                                                                  CULPEPER        VA    22701‐8079
CHARLES F HAAG                                       8185 S PINE TREE LANE                                                                          CEDAR           MI    49621‐9527
CHARLES F HALL                                       S7221 CAMP LAKE WISCONSIN RD                                                                   MERRIMAC        WI    53561‐9575
CHARLES F HATFIELD                                   PO BOX 225                                                                                     BLUFFS          IL    62621‐0225
CHARLES F HEITZLER                                   2916 EL TESORO ESCONDIDO                                                                       ALBUQUERQUE     NM    87120‐1577
CHARLES F HENDERSON                                  PO BOX 46541                                                                                   OAKWOOD VIL     OH    44146‐0541
CHARLES F HENRY                                      1416 GRAND AVE                                                                                 WELLSBURG       WV    26070‐1329
CHARLES F HILLMAN III                                2188 SYLVAN ROAD                                                                               CHELSEA         MI    48118‐9304
CHARLES F HINCHEY TOD AARON M PARRISH SUBJECT        21320 HIGHWAY 65                                                                               CHILLICOTHE     MO    64601‐8101
TO STA TOD RULES
CHARLES F HINELINE                                   900 LONG BLVD                         APT 284                                                  LANSING          MI   48911
CHARLES F HITZEL                                     120 SHERWIN DRIVE                                                                              TONAWANDA        NY   14150‐4717
CHARLES F HODGE                                      901 ARLINGTON ST                                                                               INKSTER          MI   48141‐4014
CHARLES F HOFFMAN & GAE HOFFMAN JT TEN               2973 DUKE OF WINDSOR                                                                           EAST POINT       GA   30344‐5606
CHARLES F HOLBROOK                                   38187 LITTLE MACK                                                                              CLINTON TOWNSHIP MI   48036‐2324

CHARLES F HORTON & RITA J HORTON TR HORTON           4450 SOUTH ONONDAGE RD                                                                         NEDROW          NY    13120‐9766
LIVING TRUST UA 02/27/02
CHARLES F HOSLEY                                     81‐6652 MAMALAHOA HWY                                                                          KEALAKEKUA      HI    96750‐8129
CHARLES F HOTCHKISS & MARY LOU HOTCHKISS JT TEN      11665 ROSEMEADE DR                                                                             CARMEL          IN    46032‐2593

CHARLES F HOWARD                                 277 N EAST STREET                                                                                  SPENCER         IN    47460‐1405
CHARLES F HUDDLESTON & JULIA V HUDDLESTON JT TEN 10644 REGIS COURT                                                                                  INDIANAPOLIS    IN    46239‐8825

CHARLES F IPAVEC                                     2924 FAIRMOUNT BLVD                                                                            CLEVELAND       OH    44118‐4022
                                                                                                                                                    HEIGHTS
CHARLES F IVEY JR                                    4505 LUERSSEN AVE                                                                              BALTIMORE       MD    21206‐5509
CHARLES F JAMISON                                    2633 SOUTH STREET SE APT A                                                                     WARREN          OH    44483‐6249
CHARLES F JENKINS                                    34220 EAST CAPEL ROAD                                                                          COLUMBIA STA    OH    44028‐9755
CHARLES F JOLLY                                      5393 BOLAND DR                                                                                 GRAND BLANC     MI    48439‐5101
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 688 of 850
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

CHARLES F KANE                                     PO BOX 1121                                                                                     NEW LONDON        NH    03257‐1121
CHARLES F KANE JR                                  BOX 241                                                                                         DUXBURY           MA    02331‐0241
CHARLES F KELLY JR                                 1708 NORFOLK                                                                                    SPEEDWAY          IN    46224‐5527
CHARLES F KIESLING                                 36097 ROLF                                                                                      WESTLAND          MI    48186‐8230
CHARLES F KIESLING & MARY A KIESLING JT TEN        36097 ROLF                                                                                      WESTLAND          MI    48186‐8230
CHARLES F KOLLER & MRS LYNNE A KOLLER JT TEN       85 COVE CREEK RUN                                                                               WEST SENECA       NY    14224‐3946
CHARLES F KOVAL                                    95 BEEKMAN AVE 217H                                                                             SLEEPY HOLLOW     NY    10591‐7729
CHARLES F LABENZ TR UA 01/01/2005 CHARLES F        7470 E MONTEBELLO AVE                                                                           SCOTTSDALE        AZ    85250
LABENZ PENSION TRUST
CHARLES F LANDIS & MRS PATRICIA S LANDIS TEN ENT   237 W MAIN ST                                                                                   MOUNTVILLE        PA    17554‐1903

CHARLES F LONG                                     3518 N LASALLE                                                                                  INDIANAPOLIS      IN    46218‐1313
CHARLES F LONGAKER                                 6993 ROOSEVELT DRIVE                                                                            MENTOR            OH    44060‐5047
CHARLES F LOWRY & MISS ANN E LOWRY JT TEN          65 WOODCREST DR                                                                                 WAKEFIELD         MA    01880
CHARLES F MADDI                                    417 DOGWOOD DR                                                                                  S ABINGTN TWP     PA    18411‐1342
CHARLES F MAHONEY JR & JANET H MAHONEY JT TEN      10 MORNINGSIDE CT                                                                               WEST GROVE        PA    19390‐8939

CHARLES F MARSHALL                                 1907 PRO AM PLACE                                                                               INDIANAPOLIS      IN    46229‐4322
CHARLES F MASEK II & CARLA E KNIGHT JT TEN         5827 BUTLER ROAD                                                                                GIBSONVILLE       NC    27249‐8837
CHARLES F MASON                                    413 APPLETON CT                                                                                 INDIANAPOLIS      IN    46234‐2603
CHARLES F MC INTOSH                                                                                                                                BOVINA CENTER     NY    13740
CHARLES F MC MICHAEL                               1528 47TH AVE DR E                                                                              ELLENTON          FL    34222‐2658
CHARLES F MCMICHAEL & PATRICIA F MCMICHAEL JT      1528 47TH AVE DRIVE EAST                                                                        ELLENTON          FL    34222‐2658
TEN
CHARLES F MICHALEK                                 207 S GRANT AVE                                                                                 CLARENDON HILLS   IL    60514‐1326

CHARLES F MICKETT                                  1540 COPPER CREEK DR                                                                            MUSTANG           OK    73064‐2947
CHARLES F MITCHELL                                 2753 KIRKLEIGH RD                                                                               DUNDALK           MD    21222‐4613
CHARLES F MITCHELL                                 1467 HAMPSHIRE DR                                                                               CANTON            MI    48188‐1211
CHARLES F MOREIRA & FRANCES Z MOREIRA JT TEN       14 LONGWOOD DR                                                                                  SICKLERVILLE      NJ    08081

CHARLES F MORRISON JR                              811 J HWY                                                                                       PECULIAR          MO    64078‐9580
CHARLES F MORT & MARY W MORT TR MORT LIVING        3450 JONATHON DR                                                                                BEAVERCREEK       OH    45434‐5912
TRUST UA 06/25/01
CHARLES F MOZINA & MRS GERALDINE M MOZINA JT       1430 N MAY ST                                                                                   JOLIET            IL    60435‐4050
TEN
CHARLES F MULVEY & CECILIA F MULVEY JT TEN         208 HUNTLEIGH AVE                                                                               FAYETTEVILLE      NY    13066
CHARLES F MYLAND JR                                2857 YAGERVILLE RD                                                                              LASALLE           MI    48145‐9790
CHARLES F NAGLER                                   N3185 0 1 DR                                                                                    MENOMINEE         MI    49858
CHARLES F NAUMAN JR                                1693 EMERY DRIVE                                                                                ALLISON PARK      PA    15101‐1749
CHARLES F NAUMAN JR & HELEN R NAUMAN JT TEN        1693 EMERY DRIVE                                                                                ALLISON PARK      PA    15101‐1749

CHARLES F NESER                                  7986 AMBLESIDE WAY                                                                                LAKE WORTH        FL    33467‐7352
CHARLES F NETHERTON                              6846 SPRINGBORN RD                                                                                CHINA             MI    48054‐3706
CHARLES F NICHOLLS & MRS GWEN H NICHOLLS TEN ENT 35 OVID RD                                                                                        OVID              ID    83254‐4928

CHARLES F NOKES JR & CHARLES B NOKES JT TEN        210 LINKSIDE DRIVE                                                                              TULLAHOMA         TN    37388‐4857
CHARLES F OLSON JR                                 8226 CHAPP                                                                                      WARREN            MI    48089‐1640
CHARLES F ORIBELLO                                 15026 ELLEN DR                                                                                  LAVONIA           MI    48154‐5149
CHARLES F ORTHMANN & MRS SHIRLEY IONE              7632 ROZA HILL DR                                                                               YAKIMA            WA    98901‐8031
ORTHMANN JT TEN
CHARLES F PAYNE JR                                 16901 GENITO RD                                                                                 MOSELEY           VA    23120‐1033
CHARLES F PECK                                     500 TOURNAMENT TR                                                                               CORTLAND          OH    44410‐9751
CHARLES F PHELPS                                   20611 FAIRWAY MEADOW LANE                                                                       SPRING            TX    77379‐2701
CHARLES F PIOTRASCH                                531 RIVER COURT                                                                                 LINCOLN PARK      MI    48146
CHARLES F PLUMMER & CHARLES K PLUMMER JT TEN       1291 LEMCKE ROAD                                                                                BEAVERCREEK       OH    45434‐6756

CHARLES F PRESCOTT                                 558 SWAINS LAKE DR                                                                              CONCORD           MI    49237‐9539
CHARLES F PRESSER                                  3621 RITA LANE                                                                                  ST JAMES CITY     FL    33956‐2203
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 689 of 850
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

CHARLES F QUEFFENNE                                1715 COUNTY RD 223                                                                              DELTA              AL    36258‐9120
CHARLES F QUIMBY & VIRGINIA S QUIMBY JT TEN        ONE WATER STREET APT 712                                                                        HAVERHILL          MA    01830‐6243
CHARLES F QUINN 3RD                                1603 E WAYNE ST                                                                                 SOUTH BEND         IN    46615‐1333
CHARLES F QUINN III                                1603 E WAYNE                                                                                    SOUTH BEND         IN    46615‐1333
CHARLES F REILLY                                   22 BOXWOOD AVE                         BOXWOOD                                                  WILMINGTON         DE    19804‐1821
CHARLES F REIP                                     32 LOCH LOMA                                                                                    MT MORRIS          MI    48458‐8928
CHARLES F ROBERTSON                                1281 NW 43RD AVE APT 107 BLD 17                                                                 LAUDERHILL         FL    33313
CHARLES F ROBERTSON & CICELY M ROBERTSON JT TEN    1281 NW 43RD AVE APT 107 BLD 17                                                                 LAUDERHILL         FL    33313

CHARLES F ROBINSON                                 PO BOX 91508                                                                                    MOBILE             AL    36691‐1508
CHARLES F RODMAN                                   46 ALGONQUIAN DRIVE                                                                             NATICK             MA    01760
CHARLES F ROESER                                   500 S TRANSIT ST                                                                                LOCKPORT           NY    14094‐5917
CHARLES F ROSE                                     45318 GENOA AVE                                                                                 LANCHASTER         CA    93534‐1904
CHARLES F ROSE                                     633 NEW JERSEY AVE                                                                              BALTIMORE          MD    21221‐4902
CHARLES F ROSS                                     4224 CARLOS CT                                                                                  SPRINGS HILL       FL    34607‐3311
CHARLES F RYBERG                                   210 W 6TH ST                           APT 309                                                  ERIE               PA    16507‐1349
CHARLES F SAMMS JR                                 1750 PLEASANT VALLEY RD                                                                         APTOS              CA    95003‐9573
CHARLES F SCHEDLBOWER                              8264 HURON CT                                                                                   WHITE LAKE         MI    48386
CHARLES F SCHEDLBOWER & ELEANOR JANE               8264 HURON CT                                                                                   WHITE LAKE         MI    48386
SCHEDLBOWER JT TEN
CHARLES F SCHOFILL                                 1715 N COUNTY LINE RD                                                                           LITHIA SPRINGS  GA       30122‐2201
CHARLES F SCOTT & ELIZABETH C SCOTT JT TEN         2019 WELBECK                                                                                    WEST BLOOMFIELD MI       48324‐3952

CHARLES F SEELOFF                                  111 UPTON RD                                                                                    CAMDEN             NC    27921‐6921
CHARLES F SEIBEL                                   1771 MAUMEE AVE                                                                                 DEFIANCE           OH    43512‐2548
CHARLES F SEIBEL & BETTY J SEIBEL JT TEN           1771 MAUMEE DR                                                                                  DEFIANCE           OH    43512‐2548
CHARLES F SHOEMAKER                                7 CHAMPAGNE DR                                                                                  LAKE SAINT LOUIS   MO    63367‐1628
CHARLES F SICKLES CUST TIMOTHY J SICKLES UTMA CA   31045 CHALDON CIRCLE                                                                            TEMECULA           CA    92591‐6923

CHARLES F SIMMONS                                  4418 ROLAND AVE                                                                                 BALTIMORE        MD      21210‐2705
CHARLES F SMILEY                                   RD #1 WEST COLLINS R                                                                            COLLINS          OH      44826‐9801
CHARLES F SMITH                                    14940 ARTESIAN                                                                                  DETROIT          MI      48223‐2280
CHARLES F SMITH                                    619 W JEFFERSON ST                                                                              NEW CARLISLE     OH      45344‐1617
CHARLES F SNYDER                                   2901 ONTARIO AVE                                                                                BALTIMORE        MD      21234‐1112
CHARLES F SOBOLESKY JR                             11202 MAIN RD                                                                                   FENTON           MI      48430‐9717
CHARLES F SORENSEN                                 5882 COUNTY RD A                                                                                OSHKOSH          WI      54901‐9761
CHARLES F STARK                                    1593 NOTTINGHAM RD                                                                              CHARLESTON       WV      25314‐2452
CHARLES F STATHAM                                  27800 E HWY 24                                                                                  BUCKNER          MO      64016
CHARLES F STEPHENS                                 287 NOAH AVE                                                                                    AKRON            OH      44320
CHARLES F STOETZER                                 32538 SUNNY LN                                                                                  WARREN           MI      48092‐3193
CHARLES F STOETZER & EMILY L STOETZER JT TEN       #3A                                    24331 S GRANGE                                           CLINTON TOWNSHIP MI      48036‐3060

CHARLES F SULLIVAN                                 1520 ROSCOE ST                                                                                  LA PORTE           TX    77571‐5850
CHARLES F SULSER JR                                9191 FLETCHER'S CHAPEL RD                                                                       KING GEORGE        VA    22485‐6711
CHARLES F SUNDERMAN JR                             630 ADELAIDE NE                                                                                 WARREN             OH    44483‐5508
CHARLES F SUPSINSKAS                               90 WOODFIELD RD                                                                                 SOUTHINGTON        CT    06489‐2019
CHARLES F SWARTZ                                   122 COUNTRY CLUB CIRCLE                                                                         WINCHESTER         VA    22602‐6002
CHARLES F TAKACS                                   100 CHURCH RD                                                                                   TITUSVILLE         NJ    08560
CHARLES F TALBOT JR TR CHARLES F TALBOT JR TRUST   827 TUCKER PLACE WAY                                                                            DANDRIDGE          TN    37725‐5339
UA 11/11/94
CHARLES F TANCK                                    175 EASTGATE DR                                                                                 ROCHESTER          NY    14617‐4104
CHARLES F TANCK & ANN S TANCK JT TEN               175 EASTGATE DR                                                                                 ROCHESTER          NY    14617‐4104
CHARLES F TARZIAN                                  50 KELLOGG HILL RD                                                                              WESTON             CT    06883‐2638
CHARLES F TAYLOR                                   6295 SIERRA SIENA RD                                                                            IRVINE             CA    92612‐3925
CHARLES F TAYLOR & ALLISON O TAYLOR JT TEN         6295 SIERRA SIENA RD                                                                            IRVINE             CA    92612‐3925
CHARLES F THOMAS                                   11666 ELM ST                                                                                    LYNWOOD            CA    90262‐3847
CHARLES F THOMPSON                                 184 E HILLENDALE RD                                                                             KENNETT SQ         PA    19348‐2602
CHARLES F THOMPSON & HELEN F THOMPSON JT TEN       26 EMERSON RD                                                                                   WESTWOOD           NJ    07675
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 690 of 850
Name                                            Address1                             Address2             Address3          Address4                 City               State Zip

CHARLES F THOMPSON SR & GAILANN I THOMPSON JT   448 DREAMA DR                                                                                        DAVENPORT          FL    33897‐9451
TEN
CHARLES F TICHACEK                              90 BLACKWELL LANE                                                                                    HENRIETTA          NY    14467‐9752
CHARLES F TOOTHACKER                            379 W ST CLAIR ST                                                                                    ROMEO              MI    48065‐4666
CHARLES F USSERY                                4532 CHARLES STREET                                                                                  DETROIT            MI    48212‐2422
CHARLES F VERCH                                 PO BOX 294                           15 PINEWOOD RD                                                  GUILDERLAND        NY    12084‐9756
CHARLES F VOJAK                                 7520 S CRONIN AVE                                                                                    JUSTICE            IL    60458‐1324
CHARLES F WADDELL                               2265 LEE ST                                                                                          BURLINGTON         NC    27215‐5346
CHARLES F WADDELL TR CHARLES F WADDELL          2265 LEE DRIVE                                                                                       BURLINGTON         NC    27215‐5346
REVOCABLE TRUST UA 05/08/03                                                                                                                          NORTH
CHARLES F WEST                                  14 MATTHEWS ROAD                                                                                     NEWARK             DE    19713‐2557
CHARLES F WHEELER                               915 MORGAN AVE                                                                                       CHATTAHOOCHEE      FL    32324‐1622
CHARLES F WIGGERLY                              PO BOX 6457                                                                                          MOORE              OK    73153‐0457
CHARLES F WILLIAMS                              398 STRINGER RD                                                                                      ROCKMART           GA    30153‐4379
CHARLES F WINTER                                11353 W SAN JUAN RANGE RD                                                                            LITTLETON          CO    80127‐4035
CHARLES F WISLER JR                             PO BOX 126                                                                                           ELLERSLIE          MD    21529‐0126
CHARLES F WRIGHT                                11800 BROOKPARK ROAD H‐60                                                                            CLEVELAND          OH    44130‐1184
CHARLES F YONTZ                                 28611 TH 245                                                                                         SOMERFIELD         OH    43788
CHARLES F ZIOTS                                 748 WOODSTOCK AVE                                                                                    TONAWANDA          NY    14150‐6418
CHARLES FAGG                                    5021 KING WILLIAM RD                                                                                 RICHMOND           VA    23225
CHARLES FAIRFIELD POPE 2ND                      19 ARNOLD LANE                                                                                       ROWAYTON           CT    06853‐1902
CHARLES FAY STEBBINS                            1107 OAK CIRCLE                                                                                      SEABROOK           TX    77586‐4706
CHARLES FELIX MEAUX                             32 NOTTOWAY DR                                                                                       MARRERO            LA    70072
CHARLES FERGUSON JR                             C/O CONNIE ANDERSON                  930 OLD HWY 431                                                 WEDOWEE            AL    36278‐4612
CHARLES FIELDS LP                               535 S LAKEVIEW                                                                                       DERBY              KS    67037‐1312
CHARLES FINEGOLD                                ATTN C EASTERMAN                     42 LENNOX GDNS       LONDON            SW1X 0DH GREAT BRITAIN
CHARLES FLAMMER & SUZANNE FLAMMER TEN COM       20 RAMAR ST                                                                                          FLANDEMS           NJ    07836‐9607

CHARLES FLORIO                                  147 RARITAN ROAD                                                                                     LINDEN             NJ    07036‐4829
CHARLES FONTAINE MACON                          4343 QUARTON RD                                                                                      BLOOMFIELD HILLS   MI    48302‐2777

CHARLES FORGO                                   219 FLANAGAN DR                                                                                      WINCHESTER         VA    22602‐4336
CHARLES FOSTER                                  4820 PIERPONT DR                                                                                     DAYTON             OH    45426‐1949
CHARLES FOSTER                                  1 FRIEND'S DRIVE                     APT 825                                                         WOODSTOWN          NJ    08098‐1326
CHARLES FRANCIS                                 1003 RECTORY LANE                                                                                    BALTIMORE          MD    21211‐1819
CHARLES FRANCIS VAN LOAN                        203 WHITE PARK ROAD                                                                                  ITHACA             NY    14850‐2260
CHARLES FRANK BROUKER                           11841 ELMHURST CIRCLE                                                                                BIRCH RUN          MI    48415‐9290
CHARLES FRANK GORSON                            2601 S COURSE DR                     # 23‐105                                                        POMPANO BEACH      FL    33069‐3986
CHARLES FRANK LABENZ & JOANNE LABENZ JT TEN     7470 EAST MONTEBELLO AVE                                                                             SCOTTSDALE         AZ    85250‐6028

CHARLES FRANKLIN BEAVER                         145 KINROSS DR                                                                                       WINCHESTER         VA    22602‐6736
CHARLES FRANKLIN WILLIAMS                       PO BOX 1926                                                                                          ARDMORE            OK    73402‐1926
CHARLES FREDERICK BRUSH                         1102 PAGET DR                                                                                        MIAMISBURG         OH    45342‐3246
CHARLES FREDERICK LEOBOLD                       105 DEWBERRY DR                                                                                      WINCHESTER         VA    22602‐6818
CHARLES FREDERICK OWSLEY II                     98 ERIE ST                           UNIT 16                                                         CAMBRIDGE          MA    02139‐4551
CHARLES FREDERICK TUPPER JR                     1154 NORTH WINDOMERE                                                                                 DALLAS             TX    75208‐3505
CHARLES FRIEDLANDER                             7943 N KEDVALE                                                                                       SKOKIE             IL    60076
CHARLES FURST                                   3138 HARVEST SW                                                                                      GRANDVILLE         MI    49418‐1413
CHARLES G ALLEN                                 2532 FLAKES FORD RD                                                                                  WASHINGTON CT      OH    43160‐0596
                                                                                                                                                     HOUS
CHARLES G ANDEL & MRS DOROTHY ANDEL JT TEN      850 SHERILIN DR                                                                                      ST LOUIS           MO    63122‐2356

CHARLES G AWWILLER                            8531 E 121ST ST S                                                                                      BIXBY              OK    74008‐2708
CHARLES G BAILEY                              700 E PRYOR STREET                                                                                     ATHENS             AL    35611‐2133
CHARLES G BASSLER                             2112 41ST ST CT W                                                                                      BRADENTON          FL    34205‐1368
CHARLES G BAUMANN                             204 ARBOR STREET                                                                                       CRANFORD           NJ    07016‐2004
CHARLES G BAUMANN JR & CAROL M BAUMANN JT TEN 6903 CENTERVILLE RD                                                                                    CENTERVILLE        MN    55038‐9756

CHARLES G BERGEY                                5543 NEW LOTHROP RD                                                                                  CORUNNA            MI    48817‐9750
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 691 of 850
Name                                               Address1                             Address2             Address3          Address4          City             State Zip

CHARLES G BRIDGES                                  3784 RUMSEY DR                                                                                TRAPPE           MD    21673‐1721
CHARLES G BROWN                                    12368 E P AVE                                                                                 CLIMAX           MI    49034‐9725
CHARLES G BRUNNQUELL                               506 KINGSLAND ST                                                                              NUTLEY           NJ    07110‐1046
CHARLES G BULLARD                                  1549 E MOORE RD                                                                               HILLSDALE        MI    49242‐9323
CHARLES G BURRIS & JANICE D BURRIS JT TEN          8205 ROOSEVELT DR                                                                             SHREVEPORT       LA    71129‐4322
CHARLES G CARISCH & MRS CATHERINE R CARISCH JT     7 JOBS LANE                                                                                   NEWARK           DE    19711‐2314
TEN
CHARLES G CASEY & ELIZABETH CASEY TR UA 05/22/90   8439 S NEWCOMBE ST                                                                            LITTLETON        CO    80127‐4260
CASEY TRUST
CHARLES G COON                                     6133 N CHIPMAN RD                                                                             HENDERSON        MI    48841‐9703
CHARLES G CROSKEY                                  16 TAPADERO LANE                                                                              LAS VEGAS        NV    89135
CHARLES G DARDEN                                   698 W MAIN ST                                                                                 DRESDEN          TN    38225‐3134
CHARLES G DELOS                                    1812 POST OAK TRAIL                                                                           RESTON           VA    20191‐5212
CHARLES G DELOS & PATRICIA CHEN JT TEN             1812 POST OAK TRAIL                                                                           RESTON           VA    20191‐5212
CHARLES G DOLL                                     255 FOLIAGE LN                                                                                SPRINGBORO       OH    45066‐9313
CHARLES G DOLL & ROSE MARIE DOLL JT TEN            255 FOLIAGE LN                                                                                SPRINGBORO       OH    45066‐9313
CHARLES G DUIMSTRA                                 2836 BLUEWATER LANE                                                                           GRANDVILLE       MI    49418‐1113
CHARLES G DUNIGAN                                  3330 KIVETT LANE                                                                              MARTINSVILLE     IN    46151‐9515
CHARLES G ELLSWORTH                                47 HEAVENLY ACRES                                                                             MILAN            NH    03588‐3452
CHARLES G FLORIO JR                                147 RARITAN ROAD                                                                              LINDEN           NJ    07036‐4829
CHARLES G FOUCHE                                   3049 WEST 116 ST                                                                              CLEVELAND        OH    44111‐1854
CHARLES G FRANCOS JR                               600 N SCHOOL LANE                                                                             LANCASTER        PA    17603‐2505
CHARLES G FRANK                                    1025 HANLEY ROAD                                                                              LYNDHURST        OH    44124‐1137
CHARLES G FRANK TOD WILLIAM E FRANK SUBJECT TO     1025 HANLEY RD                                                                                LYNDHURST        OH    44124‐1137
STA TOD RULES
CHARLES G FRANKE                                   6515 N TERRITORIAL RD                                                                         PLYMOUTH         MI    48170‐5039
CHARLES G FRUSCIONE                                16 PARK LANE CIRCLE                                                                           LOCKPORT         NY    14094‐4709
CHARLES G GARVER                                   16944 ROSMAN HIGHWAY                                                                          LAKE TOXAWAY     NC    28747
CHARLES G GLACKMAN                                 4624 W 500 N                                                                                  FAIRLAND         IN    46126‐9710
CHARLES G GRACE & MRS EVELYN G GRACE JT TEN        916 RING FACTORY RD                                                                           JOPPA            MD    21085‐1210
CHARLES G GRAUPMAN                                 188 ELMGROVE RD                                                                               ROCHESTER        NY    14626‐4247
CHARLES G HACKLEY                                  1017 LOIS PL                         APT 305                                                  JOLIET           IL    60435‐3531
CHARLES G HALL                                     28197 ROAN                                                                                    WARREN           MI    48093‐7838
CHARLES G HARPER                                   744 JOHNSON PLANK RD                                                                          WARREN           OH    44481‐9326
CHARLES G HARPER                                   3885 DURST‐CLAGG RD                                                                           COURTLAND        OH    44410‐9547
CHARLES G HARRIS                                   2955 PLEASANT WAY                                                                             BRIGHTON         MI    48114‐9217
CHARLES G HASLACH                                  71‐17 PENELOPE AVENUE                                                                         MIDDLE VILLAGE   NY    11379‐1810
CHARLES G HEATH                                    100 LOBLOLLY STREET                                                                           EMERALD ISLE     NC    28594‐2827
CHARLES G HERRING                                  8445 HALLET ST                                                                                LENEXA           KS    66215‐6002
CHARLES G HODGSON                                  5566 CIDERBERRY DR                                                                            BRIGHTON         MI    48116‐9300
CHARLES G HOLDREN                                  1255 BARCELONA DR                                                                             AKRON            OH    44313‐5201
CHARLES G HOLLON                                   1012 MAGNOLIA LN                                                                              ERMINE           KY    41815‐9071
CHARLES G JENKS                                    2088 S STATE ROAD                                                                             DAVISON          MI    48423‐8632
CHARLES G JENSEN                                   8428 MORGANTOWN ROAD                                                                          INDIANAPOLIS     IN    46217‐5423
CHARLES G JENSEN & ILLENE M JENSEN JT TEN          8428 MORGANTOWN RD                                                                            INDIANAPOLIS     IN    46217‐5423
CHARLES G JOHNSON                                  500 COLORADO DRIVE                                                                            XENIA            OH    45385‐4510
CHARLES G JONES                                    4822 38TH SW AV                                                                               SEATTLE          WA    98126‐2729
CHARLES G KASZA                                    4164 S 72ND ST                                                                                GREENFIELD       WI    53220‐2908
CHARLES G KAUL                                     1182 CHURCHILL CIR                                                                            ROCHESTER        MI    48307‐6057
CHARLES G KENTROS                                  204 SPRINGHILL DR                                                                             WHITE LAKE       MI    48386‐1964
CHARLES G KERBER                                   4665 HOBSON DR                                                                                COLUMBUS         OH    43228‐6483
CHARLES G KROUSE                                   1009 GROVER STREET                                                                            JOHNSON CITY     TN    37601‐6927
CHARLES G LANCASTER                                2031 M 65 N                                                                                   LACHINE          MI    49753‐9329
CHARLES G LATIMER                                  106 ASHLEY DR                                                                                 GOODLETTSVILLE   TN    37072‐3473
CHARLES G LINDSAY                                  972 SARVER ROAD                                                                               SARVER           PA    16055‐8607
CHARLES G LINQUIST                                 7285 W MAPLE DR                                                                               LAKEWOOD         CO    80226‐2027
CHARLES G LOWE & MILDRED B LOWE JT TEN             RR #3 BOX L‐18                                                                                LACYGNE          KS    66040‐9303
CHARLES G LUKITSCH                                 5008 VALERIE DR                                                                               CRYSTAL LAKE     IL    60014‐6346
CHARLES G MACLEOD                                  3820 VALLEY DR                                                                                METAMORA         MI    48455‐9714
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 692 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

CHARLES G MACLEOD & NILA MACLEOD JT TEN          3820 VALLEY DR                                                                                 METAMORA          MI    48455‐9714
CHARLES G MANNIX                                 301 BOSTON POST RD                                                                             GUILFORD          CT    06437‐2942
CHARLES G MARGOLIN                               6092 ROSEMONT DR                                                                               HUNTINGTON        CA    92647‐5521
                                                                                                                                                BEACH
CHARLES G MARION                               13195 SE 48TH TERRACE                                                                            BELLEVIEW         FL    34420‐5063
CHARLES G MATTHAI SR                           5113 WAPITI DRIVE                                                                                FT WAYNE          IN    46804
CHARLES G MCKINNEY                             PO BOX 312                                                                                       WAVERLY           MO    64096‐0312
CHARLES G MICHNA CUST MICHAEL G MICHNA UGMA IN 11420 E 75TH ST                                                                                  INDIANAPOLIS      IN    46236

CHARLES G MIOTTEL                                14944 JENNY DR                                                                                 WARREN            MI    48093‐6256
CHARLES G MONDY                                  1553 HOLCOMB BRIDGE RD                APT B                                                    NORCROSS          GA    30092‐3281
CHARLES G MOSER                                  2532 BRANDON LN                                                                                BURLESON          TX    76028‐1416
CHARLES G MULFORD                                5211 FERRIS RD                                                                                 EATON RAPIDS      MI    48827‐9666
CHARLES G MYRICKS                                505 W MERCER AVE                                                                               ALBANY            GA    31701‐3115
CHARLES G NEARHOS & NANCY ML NEARHOS JT TEN      49 BRADBURY AVE                                                                                MEDFORD           MA    02155‐5012

CHARLES G NEELY                                1601 COUNTRY CLUB PLACE                                                                          COOKEVILLE        TN    38501‐2007
CHARLES G NELSON                               10177 CLARKSHIRE CT                                                                              SOUTH LYON        MI    48178‐9824
CHARLES G NOSS                                 BOX 188                                                                                          STANTON           KY    40380‐0188
CHARLES G NUSBAUM JR                           1430 DETROIT ST                                                                                  DENVER            CO    80206‐2415
CHARLES G PECSOK                               1354 RONDA AVE                                                                                   ESCONDIDO         CA    92027‐1662
CHARLES G PETROSSI JR                          1440 CHEROKEE AVE                                                                                METAIRIE          LA    70005‐1212
CHARLES G PORRECA CUST MARY JO PORRECA UGMA NY 150 EDGEMOOR RD                                                                                  ROCHESTER         NY    14618‐1208

CHARLES G PRESEAU                                400 WALNUT ST                         STE 1001                                                 DES MOINES        IA    50309‐2400
CHARLES G PRINDLE                                188 BELMEADE ROAD                                                                              ROCHESTER         NY    14617‐3624
CHARLES G PUGNO                                  CIMS 583 00 04                        1000 CHRYS DR                                            AUBURN HILLS      MI    48326‐2766
CHARLES G QUICK                                  175 COUNTY RD 1244                                                                             CULLMAN           AL    35057‐6730
CHARLES G RAVETTO                                8009 S NATCHEZ                                                                                 BURBANK           IL    60459‐1739
CHARLES G RHODES                                 13303 GENESEE RD                                                                               CLIO              MI    48420‐9164
CHARLES G ROGERS                                 2772 S IRELAND WAY                                                                             AURORA            CO    80013‐8994
CHARLES G ROUSE                                  8428 PAIGE                                                                                     WARREN            MI    48089‐1726
CHARLES G SAWCZYN                                1606 W 4TH ST                                                                                  IRVING            TX    75060‐2508
CHARLES G SERAPHIN                               243‐07 136TH AVE                                                                               ROSEDALE          NY    11422‐1613
CHARLES G SHOEMAKER                              553 HIGHWAY 468                                                                                BRANDON           MS    39042‐7777
CHARLES G SIMON                                  PO BOX 263                                                                                     CLEARFIELD        UT    84089‐0263
CHARLES G SLAYBAUGH & CAROL A SLAYBAUGH JT TEN   1084 SEVILLE DR                                                                                PALM HARBOR       FL    34684‐2839

CHARLES G SMITH JR                              PO BOX 333                                                                                      HUMPHREY          AR    72073‐0333
CHARLES G SPANGLER & MARGARET D SPANGLER JT TEN 9414 RUBIO AVE                                                                                  SEPULVEDA         CA    91343‐3620

CHARLES G STALKER                                1729 OLD HOMESTEAD DR                                                                          ROCHESTER HILLS   MI    48306‐3651
CHARLES G STEELE                                 2947 N COUNTY RD 50E                                                                           GREENCASTLE       IN    46135‐8589
CHARLES G SUMMERS 3RD                            43793 BUCKSKIN RD                                                                              PARKER            CO    80138‐4446
CHARLES G SUNSTRUM                               4810 E ST JOE HWY                                                                              GRAND LEDGE       MI    48837
CHARLES G TRIVETT                                24621 URSULINE                                                                                 ST CLAIR SHRS     MI    48080‐3194
CHARLES G TURPIN                                 8328 BUTTER ST                                                                                 GERMANTOWN        OH    45327‐8716
CHARLES G TUSCIUK                                9043 FORREST PINES DR                                                                          CLIO              MI    48420‐8513
CHARLES G ULACCO                                 368 SIMPLY ASHLEY CT                                                                           HEDGESVILLE       WV    25427‐3089
CHARLES G VAN AUSDALL & MRS BARBARA W VAN        241 MAIN ST                                                                                    GREAT             MA    01230‐1606
AUSDALL JT TEN                                                                                                                                  BARRINGTON
CHARLES G WALDON                                 4905 BROWNSVILLE RD                                                                            POWDER SPRINGS    GA    30127‐3047

CHARLES G WALL                                   C/O R ISENBERG EXECUTOR               COZEN & O'CONNOR     PO BOX 800                          WEST              PA    19428‐0800
                                                                                                                                                CONSHOHOCKEN
CHARLES G WALL                                   4233 MOLANE ST                                                                                 DAYTON            OH    45416‐1824
CHARLES G WATSON                                 198 TALL PINES PASS                                                                            KISSIMMEE         FL    34759‐3204
CHARLES G WILSON                                 6396 ROOKERY CIR                                                                               BRADENTON         FL    34203‐7105
CHARLES G WINTERS & SARA L WINTERS JT TEN        16919 HIGHLAND PINES                  PO BOX 33                                                PRESQUE ISLE      MI    49777‐0033
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32              Exhibit E
                                                                                      Part 1 of 8 Pg 693 of 850
Name                                              Address1                             Address2                   Address3             Address4          City             State Zip

CHARLES G WOLF                                    8832 GREENHILL LANE                                                                                    GREENDALE        WI    53129‐1547
CHARLES GARABEDIAN                                3296 BERTHA DRIVE                                                                                      BALDWIN HARBOR   NY    11510‐5001

CHARLES GARDNER MALLONEE II & BARBARA C         2402 W ROGERS AVENUE                                                                                     BALTIMORE        MD    21209‐4322
MALLONEE TEN ENT
CHARLES GEORGE JR                               5614 SANDBURN RD                                                                                         UTICA            MI    48087
CHARLES GEORGE SCHMIDT                          22 JOSEPH STREET                                                                                         NEW HYDE PARK    NY    11040‐1703
CHARLES GERALD JONES JR & CHARLOTTE L JONES TEN PO BOX 94                                                                                                MILTON           DE    19968‐0094
COM
CHARLES GILBERT CUST CHARLES HENRY GILBERT UGMA 220 ROBIN HILL RD                                                                                        NASHVILLE        TN    37205‐3535
TN
CHARLES GILBERT JR                              2052 EVERGREEN DR                                                                                        AUSTELL          GA    30106
CHARLES GILKER                                  15506 TODDSBURY LN                                                                                       MANASSAS         VA    20112‐5418
CHARLES GILLENS                                 902 SOUTH 17TH STREET                                                                                    NEWARK           NJ    07108‐1135
CHARLES GIOIA & MRS HELEN GIOIA JT TEN          102 JAMLIN ST                                                                                            POMPTON LAKES    NJ    07442‐1533
CHARLES GNIZAK                                  1720 FELTEN DR                                                                                           HAYS             KS    67601
CHARLES GOLDBERG & HARRIET W GOLDBERG JT TEN    494 LEYDEN ST                                                                                            DENVER           CO    80220

CHARLES GOOD                                      465 AVE E                                                                                              BAYONNE          NJ    07002‐4713
CHARLES GOODMAN JR                                1009 CORSAIRE ST                                                                                       LAKEWAY          TX    78734‐4413
CHARLES GORDON CHICKERING III                     3905 PINE LAKE DRIVE                                                                                   MYRTLE BEACH     SC    29577‐0874
CHARLES GORDON HODSON                             9443 SOUTH LAZY LANE                                                                                   BALDWIN          MI    49304
CHARLES GORDON WINTER                             7 PYEATT CIR                                                                                           LITTLE ROCK      AR    72205‐2217
CHARLES GOULES                                    181 CANDY LANE                                                                                         BROCKTON         MA    02301‐2811
CHARLES GRAHAM                                    130 NW 165TH ST                                                                                        MIAMI            FL    33169‐6012
CHARLES GRAY STRUM                                4615 LANCELOT LANE                                                                                     JACKSONVILLE     FL    32210‐8131
CHARLES GREEN                                     1382 E JULIAH AVE                                                                                      FLINT            MI    48505‐1734
CHARLES GREEN                                     1179 OAKLAWN DRIVE                                                                                     PONTIAC          MI    48341‐3601
CHARLES GREGG QUINLAN JR                          ATT CUMMINGS CUMMINGS &              DUDENHEGER ALLISON HOUSE   416 GRAVIER STREET                     NEW ORLEANS      LA    70130‐2419
CHARLES GRUVER III                                561 HORSESHOE HILL RD                                                                                  HOCKESSIN        DE    19707‐9360
CHARLES GUAY                                      22 COWAN DR                          THOROLD ON                                      L2V 4Y8 CANADA
CHARLES H ADAMS JR                                C/O CAROL M ADAMS                    3014 BLITHEWOOD DR                                                RICHMOND         VA    23225‐1804
CHARLES H ADKINS                                  10323 SUNBURY DR                                                                                       PORT CHARLOTTE   FL    33981‐5170
CHARLES H ADKINS                                  20842 HUGO                                                                                             FARMINGTON       MI    48336‐5136
CHARLES H ANDERSON                                1694 POLES RD                                                                                          BALTO            MD    21221‐2915
CHARLES H ANDERTON                                5734 PICKBOURNE                                                                                        COMMERCE TWP     MI    48382‐3052
CHARLES H APT III                                 PO BOX 328                                                                                             IOLA             KS    66749‐0328
CHARLES H ARNOLD                                  PO BOX 5436                                                                                            ONEIDA           TN    37841‐5436
CHARLES H ASTON                                   1432 LINVILLE AVENUE                                                                                   WESTLAND         MI    48185‐4156
CHARLES H AYERS                                   201 N REDBUD LANE                                                                                      MUNCIE           IN    47304‐9332
CHARLES H BAILEY                                  14 STOW RD                                                                                             MARLBORO         MA    01752‐1538
CHARLES H BAIN                                    28114 VAN BORN                                                                                         WESTLAND         MI    48186‐5159
CHARLES H BAKER                                   3505 RAINTREE RD                                                                                       YORK             PA    17404‐8333
CHARLES H BANKS JR                                1318 SAN JUAN DR                                                                                       FLINT            MI    48504‐3289
CHARLES H BATTLE                                  2197 BATES RD                                                                                          MT MORRIS        MI    48458‐2601
CHARLES H BAXLEY                                  2624 WILSON AVE                                                                                        CINCINNATI       OH    45231‐1334
CHARLES H BEAN                                    PO BOX 247                                                                                             OCEAN CITY       MD    21843‐0247
CHARLES H BECK & MARIA P BECK JT TEN              1808 PUGH ST                                                                                           FAYETTEVILLE     NC    28305‐5063
CHARLES H BEELBY                                  P 0 BOX 153                                                                                            MARSTONS MILLS   MA    02648‐0153
CHARLES H BEELBY JR & GWENDOLYN H BEELBY JT TEN   PO BOX 153                                                                                             MARSTONS MILLS   MA    02648‐0153

CHARLES H BENNETT                                331 NORTHWOOD DR                                                                                        WALHALLA         SC    29691
CHARLES H BJERKE                                 17954 FOXHOUND LN                                                                                       MOKENA           IL    60448‐8584
CHARLES H BLACK                                  5434 ERNEST ROAD                                                                                        LOCKPORT         NY    14094‐5415
CHARLES H BLACKMON                               6324 GEORGELAND                                                                                         DETROIT          MI    48204‐1211
CHARLES H BOHIN TOD DAVID C BOHIN SUBJECT TO STA 899 SENECA CREEK RD                                                                                     WEST SENECA      NY    14224‐2435
TOD RULES
CHARLES H BOWER SR                               808 ADCOCK STREET                                                                                       MONROE           LA    71201‐2611
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 694 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

CHARLES H BRANDT TR CHARLES H BRANDT LIVING      7 S 52 THURLOW                                                                                HINSDALE          IL    60521
TRUST UA03/09/92
CHARLES H BREZZELL                               4450 N JENNINGS RD                                                                            FLINT             MI    48504‐1312
CHARLES H BROOKS                                 20211 DERBY ST                                                                                DETROIT           MI    48203‐1188
CHARLES H BROWNELL & DENNISE G BROWNELL JT TEN   1612 EAGLE TRAIL                                                                              OXFORD            MI    48371‐6064

CHARLES H BRUMIT                                 4601 RIVERSIDE DR                                                                             LYONS             MI    48851‐9729
CHARLES H BURCH & CAROL M BOWLES & HEATHER B     3290 MCCORMICK                                                                                WATERFORD         MI    48350
ALEXANDER JT TEN
CHARLES H BURT                                   2004 BROOKMEADE SE RD                                                                         DECATUR           AL    35601‐6612
CHARLES H BYRD                                   133 RAINBOW DR                       PMB #3385                                                LIVINGSTON        TX    77399‐1033
CHARLES H CALVIN                                 ATTN JOAN BAYUK                      11 HILLSIDE DR                                           ANNANDALE         NJ    08801‐3205
CHARLES H CAMACHO & LILLIAN J CAMACHO JT TEN     1979 S URBAN ST                                                                               LAKEWOOD          CO    80228‐4448

CHARLES H CAMPBELL                               422 PARKSIDE                                                                                  TROY              IL    62294‐1322
CHARLES H CANOLL TR UA 04/04/84 M‐B CHARLES H    RD 2 BOX 465                                                                                  ATHENS            PA    18810‐9501
CANOLL
CHARLES H CARSCALLEN & KAY ANN KAEP TEN COM      53 N SUNSET DR                                                                                COLDWATER         MI    49036‐9721

CHARLES H CARTER                                 1402 LYON ST                                                                                  SAGINAW        MI       48602‐2435
CHARLES H CARTER & ANN S CARTER JT TEN           108 RENFROE ROAD                                                                              KOSCIUSKO      MS       39090
CHARLES H CHICHESTER JR                          3419 CHEROKEE ROAD                                                                            MOUNTAIN BROOK AL       35223‐1315

CHARLES H COLEMAN                                2243 COMPTON ST                                                                               SAGINAW           MI    48602‐3535
CHARLES H COLLIER 3RD                            716 HARVARD LANE                                                                              NEWARK            DE    19711‐3135
CHARLES H COOK                                   2265 BRITTAINY OAKS TRL NE                                                                    WARREN            OH    44484‐3954
CHARLES H COTTAM                                 2206 HOLIDAYN DR                                                                              JONESVILLE        WI    53545
CHARLES H COX JR                                 YELLOW SPRINGS ROAD                  PO BOX 266                                               PAOLI             PA    19301‐0266
CHARLES H CROMBEZ                                340 ARIZONA                                                                                   ROCHESTER HILLS   MI    48309‐1562
CHARLES H CROMBEZ & NATALIE F CROMBEZ JT TEN     340 ARIZONA                                                                                   ROCHESTER HILLS   MI    48309‐1562

CHARLES H CROZIER                                 4271 E TOWNLINE                                                                              BIRCH RUN         MI    48415‐8931
CHARLES H CUTTING JR & MRS DEBORA M CUTTING JT 1122 TRACTON LANE                                                                               AUSTIN            TX    78739
TEN
CHARLES H DANFORTH                                1013 ARBORETUM DR                                                                            WILMINGTON        NC    28405‐5233
CHARLES H DAVIS                                   2310 LAFAYETTE AVE                                                                           RICHMOND          VA    23228‐4513
CHARLES H DAVISON                                 110 ORCHARD AVE                                                                              HIGHTSTOWN        NJ    08520‐3414
CHARLES H DELLING                                 2398 SILVER CIRCLE                                                                           WATERFORD         MI    48328‐1742
CHARLES H DELWAIDE JR                             2701 LANDMARK CT                                                                             GRANBURY          TX    76048‐2826
CHARLES H DEPPENSCHMIDT                           93 VILLAGE LANE                                                                              LEVITTOWN         PA    19054‐1213
CHARLES H DESJARDINS                              PO BOX 50566                                                                                 NEW BEDFORD       MA    02745
CHARLES H DEYOUNG                                 20450 SEDALIA RD                                                                             WAYNESVILLE       MO    65583‐3184
CHARLES H DIANA                                   1738 WARNER AVENUE #1                                                                        MINERAL RIDGE     OH    44440‐9564
CHARLES H DICKENS                                 110 CRESTVIEW DRIVE                                                                          LEWISBURG         TN    37091‐4610
CHARLES H DOUGLAS JR                              329 W GENESEE ST                                                                             FLINT             MI    48505‐4037
CHARLES H DOWD                                    3400 STAHLHEBER RD                                                                           HAMILTON          OH    45013‐1952
CHARLES H DYSART                                  1515 COBB AVE                                                                                KALAMAZOO         MI    49007‐2455
CHARLES H EATON                                   423 BROOK DR                                                                                 FRANKLIN          IN    46131‐7688
CHARLES H F BLUMELING 3RD & CAROL E BLUMELING JT 44 E BROAD ST                                                                                 BERGENFIELD       NJ    07621‐3004
TEN
CHARLES H F BLUMELING III CUST GLEN A F BLUMELING 44 E BROAD ST                                                                                BERGENFIELD       NJ    07621‐3004
UGMA NJ
CHARLES H FARINA                                  36 COUNTY CLAIR LANE                                                                         NISKAGANA         NY    12309‐1449
CHARLES H FAUNTLEROY                              1508 MAIN ST                                                                                 ALTAVISTA         VA    24517‐1132
CHARLES H FELDMAN                                 1649 HANOVER ST                                                                              TEANECK           NJ    07666‐2222
CHARLES H FHANER                                  1926 E CLINTON TRAIL                                                                         CHARLOTTE         MI    48813‐8302
CHARLES H FIELD & MRS JEAN T FIELD JT TEN         24 YALE ROAD                                                                                 NASHUA            NH    03064‐1733
CHARLES H FISCHER                                 7088 WITMER RD                                                                               N TONAWANDA       NY    14120‐1012
CHARLES H FLOYD & CAROLYN FLOYD JT TEN            2400 PENNS CHAPEL RD                                                                         BOWLING GREEN     KY    42101‐8684
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                         Part 1 of 8 Pg 695 of 850
Name                                             Address1                                 Address2              Address3            Address4          City               State Zip

CHARLES H FOREE                                  415 WILLOW STONE WAY                                                                                 LOUISVILLE         KY    40223‐2648
CHARLES H FORTSON                                1195 NAPA RIDGE                                                                                      CENTERVILLE        OH    45458‐6019
CHARLES H FOURNIER                               4146 N WAYSIDE DR                                                                                    SAGINAW            MI    48603‐3054
CHARLES H FOX & ALBERTA A FOX JT TEN             62072 YORKTOWN DR APT 2                                                                              SOUTH LYON         MI    48178‐1714
CHARLES H FRY & MRS SANDRA P FRY JT TEN          2330 CASTLEBRIDGE RD                                                                                 MIDLOTHIAN         VA    23113‐4011
CHARLES H GARCIA & SANTA I GARCIA JT TEN         1622 TAMARRON CRT                                                                                    KELLER             TX    76248
CHARLES H GERTH                                  516 SEELEY                                                                                           ADRIAN             MI    49221‐2258
CHARLES H GIFFORD                                102 OLD WELL ROAD                                                                                    ROCHESTER          NY    14626‐3718
CHARLES H GIPPS                                  140 MAYNARD RD                           APT 201C                                                    FRAMINGHAM         MA    01701‐2509
CHARLES H GLASS                                  2933 W RIDGE LN                                                                                      ANDERSON           IN    46013‐9616
CHARLES H GLEDHILL                               1175 WESTMOOR DRIVE                                                                                  GALION             OH    44833‐1052
CHARLES H GOSS                                   2323 WILLARD ST                                                                                      SAGINAW            MI    48602‐3426
CHARLES H GOYETTE III                            1110 GREENTREE ROAD                                                                                  PITTSBURGH         PA    15220‐3115
CHARLES H GRAY CUST CHARLES H GRAY III UGMA IL   PO BOX 309                                                                                           QUINCY             FL    32353‐0309

CHARLES H HAGGERTY                               APT 232P                                 95 BEEKMAN AVE                                              SLEEPY HOLLOW      NY    10591‐7735
CHARLES H HALPERT                                1276 GREENGLEN CT                                                                                    BLOOMFIELD HILLS   MI    48304‐1231

CHARLES H HAMM                                   6884 LANCASTER DRIVE                                                                                 FRANKLIN           OH    45005‐3949
CHARLES H HAUT & DONNA J HAUT JT TEN             17750 JACQUELINE DR                                                                                  NEW BERLIN         WI    53146‐4619
CHARLES H HELSEL                                 3540 BEE LN                                                                                          LUPTON             MI    48635‐9614
CHARLES H HENNEMANN                              3869 MAPLELEAF                                                                                       WATERFORD          MI    48328‐4056
CHARLES H HERINGTON                              51 E CASTLE VIEW DR                                                                                  BRASELTON          GA    30517
CHARLES H HESSLING                               PO BOX 48                                                                                            PORT AUSTIN        MI    48467‐0048
CHARLES H HIGDON                                 88 CLAMPIT COVE RD                                                                                   FRANKLIN           NC    28734‐6386
CHARLES H HOLMAN & JEANNE VAIL HOLMAN JT TEN     ATTN NATIONSBANK NA                      ATTN W S LECOUNT VP   5480 BROOKWOOD DR                     ACWORTH            GA    30102‐2211

CHARLES H HOPPE                                  309 W THOMAS ST                                                                                      BAY CITY           MI    48706‐4378
CHARLES H HOSUTT                                 7784 BROOKSIDE DR                                                                                    OLMSTED FALLS      OH    44138‐1602
CHARLES H HOSUTT III & RUTH E HOSUTT TR HOSUTT   7784 BROOKSIDE DRIVE                                                                                 OLMSTED FALLS      OH    44138‐1602
FAM TRUST UA 11/18/99
CHARLES H HOUPT & MARJORIE M HOUPT JT TEN        148 APPLEWOOD LANE                                                                                   SLIPPERY ROCK      PA    16057‐2907
CHARLES H HOWARD & GENEVIEVE HOWARD JT TEN       1532 VIA BRISA DEL LAGO                                                                              LAKE SAN MARCOS    CA    92069‐5271

CHARLES H HOWELL                                 6339 LUCAS RD                                                                                        FLINT              MI    48506‐1225
CHARLES H HULTBERG & JOSEPHINE M HULTBERG JT     2300 MOUSLEY PL                                                                                      WILMINGTON         DE    19810‐2426
TEN
CHARLES H JENKINS                                684 DERIVAN RD                                                                                       NEW VIENNA         OH    45159‐9733
CHARLES H JESSOP JR                              10255 WOODSLEE DR                                                                                    CARLETON           MI    48117‐9079
CHARLES H JOHNSON & MARLYN J JOHNSON TR          420 Q ST                                                                                             BEDFORD            IN    47421‐2019
JOHNSON TRUST UA 05/21/02
CHARLES H JONES                                  200 HOMESTEAD LN                                                                                     AIKEN              SC    29801‐4928
CHARLES H KEPHART                                6425 SHERMAN DRIVE                                                                                   LOCKPORT           NY    14094‐6533
CHARLES H KEPHART & ELEANOR R KEPHART JT TEN     6425 SHERMAN DRIVE                                                                                   LOCKPORT           NY    14094‐6533

CHARLES H KIEHNLE & ELMA T KIEHNLE TR UA 06/14/90 C/O ROBERT KIEHNLE                      2808 PURDUE AVE                                             DALLAS             TX    75225‐7911
KIEHNLE 1990 TRUST
CHARLES H KING                                    92 NORTHMONT                                                                                        GREENSBURG         PA    15601‐1770
CHARLES H LADD JR                                 2001 HOLBROOK ST                                                                                    OAKHURST           NJ    07755‐2720
CHARLES H LAMON                                   804 WARREN STREET                                                                                   TUSCUMBIA          AL    35674‐3129
CHARLES H LEHMAN                                  8241 ADAMS RIDGE RD                                                                                 DEFIANCE           OH    43512‐9173
CHARLES H LINHOFF TR CHARLES H LINHOFF REVOCABLE 1010 WADE ST                                                                                         HIGHLAND PARK      IL    60035‐4154
TRUST UA 07/18/96
CHARLES H LORENSBERG                              BOX 403                                                                                             WINDFALL           IN    46076‐0403
CHARLES H LUCAS                                   3189 TOTH                                                                                           SAGINAW            MI    48601‐5750
CHARLES H LUCAS & EARLINE J LUCAS JT TEN          3189 TOTH                                                                                           SAGINAW            MI    48601‐5750
CHARLES H LUDORF                                  C/O RONALD C LUDORF                     4208 E SAN ANGELO                                           HIGLEY             AZ    85236‐3356
CHARLES H MAC CONNELL                             1927 21ST AVE                                                                                       VERO BEACH         FL    32960‐3091
CHARLES H MAC DONALD                              22745 SCHROEDER                                                                                     EAST DETROIT       MI    48021‐1812
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 696 of 850
Name                                                Address1                              Address2               Address3        Address4          City             State Zip

CHARLES H MADDOX JR                                 66 WOODCREEK DRIVE                                                                             WIMBERLEY         TX   78676‐3340
CHARLES H MANSFIELD                                 505 FOREST HILLS DR                   APT C                                                    INDIANAPOLIS      IN   46224‐8122
CHARLES H MATTHEWS                                  975 CENTER RD                                                                                  LYNDEBOROUGH      NH   03082‐6101
CHARLES H MC MILLAN III                             880 BROOKGLEN AVE                                                                              ROSWELL           GA   30075‐1364
CHARLES H MCDONALD                                  5507 WINONA ROAD                                                                               TOLEDO            OH   43613‐2156
CHARLES H MEIER                                     2729 BOSTON SE                                                                                 EAST GRAND RAPIDS MI   49506‐4717

CHARLES H MITCHELL & MRS CHRISTINE F MITCHELL JT    C/O OLD HOBSON FARM                   101 WILLOW SPRING RD                                     WILMINGTON       DE    19807‐2433
TEN
CHARLES H MOERY & ROSE M MOERY JT TEN               6091 MONROVIA                                                                                  WATERFORD        MI    48329‐3154
CHARLES H MOORE                                     2465 N COURT ST                                                                                CIRCLEVILLE      OH    43113‐9338
CHARLES H MOORE II & LISA M MOORE JT TEN            222 ALDRICH AVE                                                                                ALTOONA          PA    16602‐3204
CHARLES H MOSBY JR                                  5 RAYNOR CIR                                                                                   BOSTON           MA    02120‐2406
CHARLES H MUELLER                                   4240 N 135TH ST                                                                                BROOKFIELD       WI    53005‐1712
CHARLES H MYERS                                     3357 A ST                                                                                      SAN DIEGO        CA    92102‐2420
CHARLES H NETTING                                   16720 FAULMAN RD                                                                               CLINTON TOWNSHIP MI    48035‐2223

CHARLES H NICHOLL                                   376 CHALFONTE                                                                                  GROSSE POINTE    MI    48236‐2910
                                                                                                                                                   FARM
CHARLES H NICHOLS & DELORES E NICHOLS JT TEN        2468 POWDERHORN LANE                                                                           BOULDER          CO    80303‐6821

CHARLES H NICHOLS III & LORRAINE M NICHOLS JT TEN   565 KENWOOD DR SW                                                                              VERO BEACH       FL    32968‐4021

CHARLES H O'CONNOR JR & RITA A O'CONNOR JT TEN      11365 S WESTERN AVE                   APT A2                                                   CHICAGO          IL    60643‐4152

CHARLES H OLK                                       1928 VAN BLVD                                                                                  LEONARD         MI     48367‐3328
CHARLES H OVERY                                     1939 CAMBRIDGE ROAD                                                                            BERKLEY         MI     48072‐1735
CHARLES H PATILLO JR                                117 N 25TH                                                                                     SAGINAW         MI     48601‐6304
CHARLES H PAXTON                                    PO BOX 81313                                                                                   ROCHESTER       MI     48308‐1313
CHARLES H PEABODY                                   4775 VILLAGE DR APT 120                                                                        GRAND LEDGE     MI     48837
CHARLES H PENSEL JR                                 237 S LANDING DR                                                                               MILFORD         DE     19963‐5390
CHARLES H PERIN JR                                  1875 W FIRST AVE                                                                               GRANDVIEW HGHTS OH     43212‐3219

CHARLES H PETERS                                    1590 W MASON ROAD                                                                              OWOSSO           MI    48867‐1361
CHARLES H PORTER                                    3225 E 60TH ST                                                                                 KANSAS CITY      MO    64130‐3929
CHARLES H PRATT                                     970 BEECHWOOD DR                                                                               GIRARD           OH    44420‐2137
CHARLES H RAYNOR TR UA 11/18/2009 MARJORIE H        306 NORTH SHORE                                                                                TINTON FALLS     NJ    07753
RAYNOR 2009 TRUST
CHARLES H REAH                                      3504 CENTER RD                                                                                 HIGHLAND         MI    48357‐3574
CHARLES H RICE & ELINOR J RICE JT TEN               3953 BATAVIA ELBA TOWNLINE RD                                                                  OAKFIELD         NY    14125‐9787
CHARLES H RICHARD                                   1449 JAMES                                                                                     BURTON           MI    48529‐1233
                                                                                                                                                   SOUTHEAST
CHARLES H RIEBERT JR                                1416 LANCELOT DRIVE                                                                            BALTIMORE        MD    21237‐1531
CHARLES H RIECK III                                 1485 WALWORTH‐PENFIELD RD                                                                      WALWORTH         NY    14568‐9730
CHARLES H ROGERS & MRS LEONA K ROGERS JT TEN        3304 36TH ST                                                                                   COLUMBUS         NE    68601‐1626

CHARLES H RUSSELL                                   PO BOX 1403                                                                                    PAONIA           CO    81428
CHARLES H SAMPIER                                   2427 COMPASS COURT                                                                             FORT COLLINS     CO    80526‐1359
CHARLES H SCHAUB & SALLY A SCHAUB & MICHAEL C       31934 CLAEYS DR                                                                                WARREN           MI    48093‐1245
SCHAUB JT TEN
CHARLES H SCHMITT                                   1502 REGENT DR                                                                                 MOUNT KISCO      NY    10549‐2540
CHARLES H SHARP                                     PO BOX 45                                                                                      VALLEY HEAD      WV    26294‐0045
CHARLES H SHARP                                     3433 SE OLD BARN RD                                                                            HOLT             MO    64048‐8376
CHARLES H SHEPARD JR                                11065 CLARK RD                                                                                 DAVISBURG        MI    48350‐2727
CHARLES H SIMS JR                                   PO BOX 1512                                                                                    LOUISA           VA    23093‐1512
CHARLES H SMITH                                     1345 CLAIRWOOD DRIVE                                                                           BURTON           MI    48509‐1507
CHARLES H SMITH                                     18283 ALOIS LANE                                                                               LAKE MILTON      OH    44429‐9505
CHARLES H SMITH                                     111 MISKELL BLVD                                                                               CAHOKIA          IL    62206‐2135
CHARLES H SNYDER JR                                 2303 S ELMS ROAD                                                                               SWARTZ CREEK     MI    48473‐9730
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 697 of 850
Name                                             Address1                              Address2                  Address3     Address4          City               State Zip

CHARLES H SOUTHWICK                              RD #3 WHITMAN RD                                                                               CANASTOTA          NY    13032‐9803
CHARLES H SPENCER                                4991A HICKORY WOOD DR                                                                          NAPLES             FL    34119‐1415
CHARLES H STANLEY JR                             133 MONICA DR                                                                                  SHELBYVILLE        KY    40065‐8911
CHARLES H STRAUS                                 W268N1947A SHOOTING STAR RD                                                                    PEWAUKEE           WI    53072
CHARLES H STUKINS                                211 SCOTT DR                                                                                   ENGLEWOOD          OH    45322‐1145
CHARLES H SWEETMAN                               238 ELM AVE                                                                                    RAHWAY             NJ    07065‐3241
CHARLES H THOMPSON                               69 MARIVA                                                                                      PONTIAC            MI    48342‐2819
CHARLES H THORSEN                                814 ORIOLE ST                                                                                  METAIRIE           LA    70003‐4244
CHARLES H TROYAN                                 PO BOX 356                                                                                     FLINT              MI    48501‐0356
CHARLES H TYLER & EDITH J TYLER JT TEN           80 LAWRENCE DR                                                                                 N WHITE PLAIN      NY    10603‐1518
CHARLES H TYNES & JOY L TYNES TEN COM            180 LUCKY DR SE                                                                                MARIETTA           GA    30068‐3657
CHARLES H UPDEGRAFF JR                           28 PROSSER HOLLOW RD                                                                           COUDERSPORT        PA    16915‐8127
CHARLES H WAKEFIELD JR                           1211 E 650 S                                                                                   MARKLEVILLE        IN    46056‐9616
CHARLES H WALKER                                 2831 N E 46TH                                                                                  PORTLAND           OR    97213‐1803
CHARLES H WARD                                   6542 HEATHER DR                                                                                LOCKPORT           NY    14094‐1153
CHARLES H WATERS                                 5329 SAFFRON DR                                                                                DUNWOODY           GA    30338‐3113
CHARLES H WATSON                                 6468 ODESSA COURT                                                                              WEST BLOOMFIELD    MI    48324‐1349

CHARLES H WEBER                                  5632 RIVERBLUFF DR                                                                             SUFFOLK            VA    23435‐1630
CHARLES H WEILER                                 APT 8                                 2403 IMLAY CITY RD                                       LAPEER             MI    48446‐3200
CHARLES H WHITE                                  9328 N IRISH RD                                                                                MT MORRIS          MI    48458‐9715
CHARLES H WHITT                                  79 REDMOND ROAD                                                                                COLUMBUS           OH    43228‐1819
CHARLES H WIELAND                                4454 E PARK DRIVE                                                                              BAY CITY           MI    48706‐2550
CHARLES H WILSON & SUE ANN WILSON JT TEN         4478 HILL RD                                                                                   SWARTZ CREEK       MI    48473‐8846
CHARLES H WINDSCHIEGL                            609 S HILLSIDE AVE                                                                             ELMHURST           IL    60126‐4245
CHARLES H WINGATE & CHARLES L WINGATE JT TEN     2225 MANCHESTER BLVD                                                                           HARRISBURG         PA    17112‐1031

CHARLES H WINTERS                                3320 COUNTY LINE RD                                                                            WEST FARMINGTON OH       44491‐9772

CHARLES H WISE                                  334 EVERETT PL                                                                                  TONAWANDA          NY    14150
CHARLES H WOODRUFF                              281 OZORA RD                                                                                    LOGANVILLE         GA    30052‐2160
CHARLES H WOODS                                 9690 TAREYTON ST                                                                                SAN RAMON          CA    94583‐3434
CHARLES H YARBOROUGH JR CUST ELIZABETH          PO BOX 565                                                                                      LOUISBURG          NC    27549‐0565
YARBOROUGH UTMA NC
CHARLES H ZIMMERMAN                             2066 E BRISTOL ROAD                                                                             BURTON             MI    48529‐1319
CHARLES H ZIMMERMAN & DOLORES A ZIMMERMAN JT 2066 E BRISTOL RD                                                                                  BURTON             MI    48529
TEN
CHARLES HACHIKIAN & MRS BRENDA HACHIKIAN JT TEN 278 RAMAPO AVE                                                                                  STATLEN ISLAND     NY    10309‐2108

CHARLES HAGAN                                    PO BOX 74                                                                                      BLOOMFIELD         KY    40008‐0074
CHARLES HAIDA                                    8462 WHITEWOOD RD                                                                              CLEVELAND          OH    44141‐1530
CHARLES HAIGHT SPRATT                            625 W OAK ST                                                                                   PONCHATOULA        LA    70454‐3766
CHARLES HAPP                                     21 HORSESHOE LANE NORTH                                                                        COLUMBUS           NJ    08022‐1057
CHARLES HARKIN                                   MONKSTOWN AVE THE LODGE               MONKSTOWN COUNTY DUBLIN                IRELAND
CHARLES HARRIS                                   ROUTE 3                               BOX 1691                                                 MARION             LA    71260‐9803
CHARLES HARVEY                                   43944 GILLAN AVE                                                                               LANCASTER          CA    93535‐4414
CHARLES HARVEY JONES                             BOX 476                                                                                        BYRON              MI    48418‐0476
CHARLES HARVEY OATHOUT                           BOX 358                                                                                        CISSNA PARK        IL    60924‐0358
CHARLES HATHAWAY STENIUS                         4620 CHARINS CROSS                                                                             BLOOMFIELD HILLS   MI    48304‐3205

CHARLES HAUSER JR                                4653 ZELLA DRIVE                                                                               HALE               MI    48739‐9571
CHARLES HAWARD SHIVELEY                          255 MENDENHALL ROAD                                                                            PEEBLES            OH    45660‐8936
CHARLES HAYES COONEY                             36 CONCORD PARK EAST                                                                           NASHVILLE          TN    37205‐4705
CHARLES HAYNES                                   13550 WASHINGTON ST                   UNIT 4A                                                  THORNTON           CO    80241‐1009
CHARLES HEISS JR & MRS VIRGINIA HEISS JT TEN     7107 LA COSA DRIVE                                                                             DALLAS             TX    75248‐5224
CHARLES HENRY BROUSSARD SR                       PO BOX 243                                                                                     CLEVELAND          TX    77328‐0243
CHARLES HENRY DIXON                              1101 W CARPENTER RD                                                                            FLINT              MI    48505‐1040
CHARLES HENRY HARRIS                             641 W HOLBROOK AVE                                                                             FLINT              MI    48505‐2057
CHARLES HENRY LAKE                               3203 BELLEVIEW AV                                                                              CHEVERLY           MD    20785‐1227
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 698 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

CHARLES HENRY STRALEY & BONNIE W STRALEY TEN     558 BROWN AVE                                                                                 TURTLE CREEK      PA    15145‐1318
ENT
CHARLES HENRY STREAVEL                           10800 E 400 ST                                                                                GREENTOWN       IN      46936‐8958
CHARLES HERBERT CAVANAGH                         PO BOX 903                                                                                    MOSS BEACH      CA      94038‐0903
CHARLES HERBERT SUMNER                           2‐A COTTON MOUTH DR                                                                           LAKE PLACID     FL      33852‐7151
CHARLES HERRHOLTZ                                2659 ANDERSON‐MORRIS RD                                                                       NILES           OH      44446‐4325
CHARLES HEWITT                                   2384 GRANDVIEW ROAD                                                                           LAKE MILTON     OH      44429‐9773
CHARLES HIGHTOWER                                1227 CONNIE AVE                                                                               JACKSON         MI      49203‐6082
CHARLES HILDEBRANDT                              1056 N US HIGHWAY 421                                                                         DELPHI          IN      46923‐8721
CHARLES HILL                                     3568 RIPPLEGROVE DR                                                                           CINCINNATI      OH      45251‐2416
CHARLES HITE EBINGER                             4433 WOODLAND AVE                                                                             ROYAL OAK       MI      48073‐1750
CHARLES HODGES                                   19541 MACINTYRE ST                                                                            DETROIT         MI      48219‐5511
CHARLES HOEF                                     6654 FISHER WOODS ROAD               ROUTE #2                                                 INDIAN RIVER    MI      49749‐9319
CHARLES HOLDGRAFER                               119 E MAIN ST                                                                                 SPRAGNEVILLE    IA      52074‐9611
CHARLES HOLMES JR                                377 98TH AVE                                                                                  OAKLAND         CA      94603‐2101
CHARLES HORVATH                                  2512 AVENUE A                                                                                 BRADENTON BEACH FL      34217‐2211

CHARLES HUDAK                                    8036 OSAGE DR                                                                                 STRONGSVILLE      OH    44149‐1511
CHARLES HUNT III                                 8703 N CHESTNUT AVE                  APT 304                                                  KANSAS CITY       MO    64156‐2981
CHARLES HURMAN JOHNSON                           1025 E RUSSELL ST                                                                             FLINT             MI    48505‐2201
CHARLES I BLAIR                                  5538 W CISCO ST                                                                               BEVERLY HILLS     FL    34465‐2748
CHARLES I BOWER & ROSE ANN E BOWER JT TEN        114 E SHAWNEE TRAIL                                                                           SANDUSKY          OH    44870
CHARLES I CALKINS & CAROL A CALKINS JT TEN       PO BOX 1809                                                                                   QUINLAN           TX    75474‐0031
CHARLES I DAVIDSON                               587 BETH COURT                                                                                LILBURN           GA    30047‐3024
CHARLES I FAY                                    8603 EMERALD HILL DR                                                                          AUSTIN            TX    78759‐8014
CHARLES I JOHNSON & SHIRLEY A JOHNSON JT TEN     4033 PLEASANT CAPE LANE                                                                       COLUMBIA          TN    38401‐7389

CHARLES I KOOS                                   RT 3 PRAY RD                                                                                  CHARLOTTE         MI    48813‐9803
CHARLES I MARTIN                                 6525 ORCHID CIR                                                                               DAYTON            OH    45459‐2864
CHARLES I MCKEAN                                 162 EAST GARDEN GATE WAY                                                                      CARSON CITY       NV    89706‐0977
CHARLES I MODZELEWSKI                            1930 LAKE RD                                                                                  HAMLIN            NY    14464‐9567
CHARLES I NANSTAD                                2222 COMMONS AVE                                                                              JANESVILLE        WI    53546‐5966
CHARLES I SCHWOMEYER                             POBOX 191                                                                                     BEECH GROVE       IN    46107
CHARLES I SHORT                                  6206 TUTTLEHILL ROAD                                                                          YPSILANTI         MI    48197‐9428
CHARLES I SHREVE                                 111 E HOLMES RD                                                                               LANSING           MI    48910‐4664
CHARLES I SNOOK                                  4544 S HULBERTON RD BOX 156                                                                   CLARENDON         NY    14429‐0156
CHARLES I WALKER & MRS JANE C WALKER JT TEN      612 REGENCY CIRCLE                                                                            ANDERSON          SC    29625‐2543
CHARLES INTELLI                                  PO BOX 1661                                                                                   S HACKENSACK      NJ    07606
CHARLES IRA CITRON                               2146 VINE DR                                                                                  MERRICK           NY    11566‐5512
CHARLES ISRAELIAN & ROSITA ISRAELIAN JT TEN      819 PLEASANT ST                                                                               ROCHDALE          MA    01542‐1128
CHARLES ITZIG JR                                 621 NARROWS LANE                                                                              FLIPPIN           AR    72634‐9530
CHARLES J ABDELLA                                9481 HEDDY DR                                                                                 FLUSHING          MI    48433‐1051
CHARLES J ADAMS                                  4631 MOCKINGBIRD CIRCLE                                                                       FARWELL           MI    48622‐9664
CHARLES J ALFORD                                 ATTN THELMA F ALFORD                 BOX #496                                                 MACKINAC ISLAND   MI    49757‐0496

CHARLES J ALLEN & CAROL A ALLEN JT TEN          3827 VAN DYKE RD                                                                               MINOOKA           IL    60447‐9689
CHARLES J ALLERA                                42207 ASHBURY DR                                                                               CANTON            MI    48187‐3601
CHARLES J AMENO                                 1618 COLQUITT STREET                                                                           HOUSTON           TX    77006
CHARLES J ANDERSON & MRS JUNE E ANDERSON JT TEN 3328 CONGRESS                                                                                  SAGINAW           MI    48602‐3108

CHARLES J ARMISTEAD JR                           759 COLEEN DRIVE                                                                              WINDER            GA    30680‐7202
CHARLES J ARO                                    276 BRIARWOOD DR                                                                              HIGHLAND          MI    48357‐4964
CHARLES J AUSTIN                                 10595 STROUP ROAD                                                                             FESTUS            MO    63028‐2920
CHARLES J BAKER                                  2431 SHADY LN                                                                                 ANDERSON          IN    46011‐2813
CHARLES J BARNOSKY                               6154 MANCHESTER RD                                                                            PARMA             OH    44129
CHARLES J BARONE III                             532 BUTLER AVE                                                                                WYOMING           PA    18644‐1904
CHARLES J BARRANCO                               32 N MAIN ST                                                                                  FAIRPORT          NY    14450‐1540
CHARLES J BARRETT                                PO BOX 52                                                                                     BROOKVILLE        OH    45309‐0052
CHARLES J BAUER                                  2555 BANYON DR                                                                                DAYTON            OH    45431‐2637
                                                  09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 699 of 850
Name                                                Address1                             Address2             Address3          Address4          City             State Zip

CHARLES J BEHYMER                                   2548 BANTAM RD                                                                                BETHEL           OH    45106‐9331
CHARLES J BELBOT                                    92‐1171 PALAHIA ST #G101                                                                      KAPOLEI          HI    96707‐2326
CHARLES J BENES JR                                  8513 CREEK ROAD                                                                               WILLIAMSFIELD    OH    44093‐9712
CHARLES J BIFULCO                                   403 S MAIN ST                                                                                 SCOTTVILLE       MI    49454‐1226
CHARLES J BILLINGS                                  3175 FLINT RIVER ROAD                                                                         COLUMBIAVILLE    MI    48421‐9310
CHARLES J BINNING                                   5033 BISHOP RD                                                                                DRYDEN           MI    48428‐9335
CHARLES J BOKUNIEWICZ                               407 MACON AVE                                                                                 ROMEOVILLE       IL    60446‐1410
CHARLES J BOOSE                                     101 WEST PINEWOOD AVE                                                                         DEFIANCE         OH    43512‐3553
CHARLES J BOVE CUST STEPHEN N BOVE UGMA MD          539 WILSON RD                                                                                 CROWNSVILLE      MD    21032‐1630

CHARLES J BRANCATO                                  170 CANTON STREET                                                                             TONAWANDA        NY    14150‐5404
CHARLES J BRODTMANN                                 4607 LAFAYE ST                                                                                NEW ORLEANS      LA    70122‐6133
CHARLES J BROWN                                     9571 BENJI DR                                                                                 MURRELLS INLT    SC    29576‐7213
CHARLES J BRYANT                                    5347 DURWOOD DR                                                                               SWARTZ CREEK     MI    48473‐1172
CHARLES J BUSHWAY & ROSE MARIE BUSHWAY JT TEN       9865 FOX HILL RD                                                                              BAXTER           TN    38544‐1801

CHARLES J CALANDRA & SUSAN M CALANDRA JT TEN        94 IROQOUIS DR                                                                                ORCHARD PARK     NY    14127‐1118

CHARLES J CALVERT                                   2173 S SALFORD BL                                                                             NORTH PORT       FL    34287‐3990
CHARLES J CANTRELL                                  32021 CLAEYS DR                                                                               WARREN           MI    48093‐6116
CHARLES J CAPUTO & AILEEN W CAPUTO JT TEN           14835 S CHESHIRE                                                                              BURTON           OH    44021‐9630
CHARLES J CARTER                                    R 2 BX 197                                                                                    GREENTOWN        IN    46936‐9802
CHARLES J CARUANA                                   6513 N CENTENARY RD                                                                           WILLIAMSON       NY    14589‐9716
CHARLES J CASEY & MRS CATHERINE CASEY JT TEN        20 GAZEBO VIEW DR                                                                             WARWICK          RI    02886‐0179
CHARLES J CASTILLO                                  22350 MARTIN ROAD                                                                             ST CLAIR SHRS    MI    48081‐2582
CHARLES J CETINSKE                                  PO BOX 18                                                                                     MONTEZUMA        OH    45866‐0018
CHARLES J CHAPLAR                                   980 STONE STREET                                                                              RAHWAY           NJ    07065‐1915
CHARLES J CHIDDIX & MRS BESSIE V CHIDDIX JT TEN     8711 LAFAYETTE CT                                                                             KANSAS CITY      KS    66109‐1961

CHARLES J CLYMER                                    825 ELM STREET                                                                                ADRIAN           MI    49221‐2330
CHARLES J COPPINGER                                 2765 SAINT CLAIR ST                                                                           ROCHESTER HLS    MI    48309‐3125
CHARLES J CORETTO JR                                73 ALTYRE ST                                                                                  WATERBURY        CT    06705‐1211
CHARLES J CROSS                                     308 FRANKLIN RD                                                                               PONTIAC          MI    48341
CHARLES J CULLUM                                    2745 CARDINAL DR                                                                              COSTA MESA       CA    92626‐4715
CHARLES J DEACON                                    8D STATION LANE                      UNIONVILLE ON                          L3R 1R3 CANADA
CHARLES J DEMYANOVICH                               1535 GARFIELD                                                                                 LINCOLN PARK     MI    48146‐2307
CHARLES J DI PAOLA                                  199 CANDY LN                                                                                  ROCHESTER        NY    14615‐1238
CHARLES J DOLLENMAYER                               7160 NODDING WAY                                                                              CINCINNATI       OH    45243‐2030
CHARLES J DORSEY                                    155 MARSHALL AVE N W                                                                          WARREN           OH    44483‐1657
CHARLES J DRANGINUS                                 5140 W 80TH PL                                                                                BURBANK          IL    60459‐2106
CHARLES J EMERSON                                   9220 KANSAS AVE                                                                               KANSAS CITY      KS    66111‐1628
CHARLES J ENOS                                      5690 W M‐55                                                                                   WHITTEMORE       MI    48770‐9467
CHARLES J ERNST                                     18 HARRETON RD                                                                                ALLENDALE        NJ    07401‐1318
CHARLES J EVANS                                     144 PASADENA AV                                                                               ELYRIA           OH    44035‐3938
CHARLES J EVERSOLE                                  1194 BRUNES BLVD                                                                              BROWNSBURG       IN    46112‐7899
CHARLES J EVERSOLE & MARY E EVERSOLE JT TEN         1194 BRUNES BLVD                                                                              BROWNSBURG       IN    46112‐7899
CHARLES J FAIR                                      10961 W SMITHVILLE‐WESTERN R2                                                                 JEROMESVILLE     OH    44840‐9502
CHARLES J FARBER                                    6913 VALLEY VIEW RD                                                                           DOWNERS GROVE    IL    60516‐3512
CHARLES J FINK                                      3870 MOUNTAIN RD                                                                              HAYMARKET        VA    20169‐1718
CHARLES J FIRST                                     6 PICKWICK WAY                                                                                WAYLAND          MA    01778‐3800
CHARLES J FLEMING                                   25 STAMBAUGH ST                                                                               GIRARD           OH    44420‐1731
CHARLES J FORD                                      PO BOX 217                                                                                    GOODRICH         MI    48438‐0217
CHARLES J FOUST                                     10475 MAPLE                          PO BOX 35                                                HARTLAND         MI    48353‐0035
CHARLES J FOWLER CUST KEVIN J FOWLER UGMA MI        874 LUCILLE DR                                                                                WOLVERINE LAKE   MI    48390‐2329

CHARLES J FOWLER JR                            109 WYNHAVEN DR                                                                                    KINGSPORT        TN    37663‐2043
CHARLES J FUHRMANN & PAULINE E FUHRMANN JT TEN 3914 EAST GATE CT                                                                                  NO FT MYERS      FL    33917‐7235

CHARLES J FULGER                                    6435 CEDARHURST                                                                               LAKE             MI    48632‐9252
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 700 of 850
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

CHARLES J FUNCHESS                                 7691 CHAPEL HILL ROAD                                                                           UTICA            MS    39175‐9342
CHARLES J GAFFNEY                                  639 KENTUCKY                                                                                    ROCHESTER        MI    48307‐3737
CHARLES J GALLO                                    29 WEST 12TH STREET                                                                             LINDEN           NJ    07036‐4601
CHARLES J GARRETT & MARGARITE GARRETT JT TEN       76 SLOOP DR                                                                                     ORIENTAL         NC    28571‐9740

CHARLES J GERK TR CHARLES J GERK TR UA 01/27/84    6895 MILL POND CIR                                                                              NAPLES           FL    34109‐1712

CHARLES J GHESQUIERE                               938 WESTWOOD                                                                                    BIRMINGHAM       MI    48009‐1162
CHARLES J GILMORE                                  6016 BRADFORD HILLS DRIVE                                                                       NASHVILLE        TN    37211‐6831
CHARLES J GOETZ JR & DOROTHY A GOETZ JT TEN        105 BRANDON COURT                                                                               PITTSBURGH       PA    15237‐3604
CHARLES J GOETZE                                   RD 2                                                                                            LYNDONVILLE      NY    14098
CHARLES J GOWING & SAVILLA F GOWING JT TEN         10 PLANTATION AVE                                                                               CARROLLTON       GA    30117‐8862
CHARLES J GREEN                                    7255 MAYVILLE RD                                                                                MARLETTE         MI    48453‐9604
CHARLES J GRIGAITIS SR                             32 HOUGHTON STREET                                                                              WORCESTER        MA    01604‐3838
CHARLES J GRISWOLD JR                              25779 PINE VIEW AVE                                                                             WARREN           MI    48091‐3892
CHARLES J GROSJEAN                                 BOX 52 WASHINGTON ST                                                                            TONTOGANY        OH    43565‐0052
CHARLES J GUOAN                                    1510 FREMONT AVE                                                                                BAY CITY         MI    48708‐8052
CHARLES J HAGER                                    28 BARBARA AVE                                                                                  SPOTSWOOD        NJ    08884‐1127
CHARLES J HAMILL                                   11155 BIG LAKE RD                                                                               DAVISBURG        MI    48350‐3635
CHARLES J HANNA                                    9 STONERIDGE LANE                                                                               MEDIA            PA    19063‐5327
CHARLES J HARMON                                   PO BOX 158                                                                                      MATTAWAN         MI    49071‐0158
CHARLES J HARPENAU JR & CANDACE L HARPENAU JT      3335 MELBOURNE ROAD SOUTH DR                                                                    INDIANAPOLIS     IN    46228‐2790
TEN
CHARLES J HASHIMURA                                3285 W LANDBERG AVE                                                                             LAS VEGAS        NV    89141‐8804
CHARLES J HAWKEN                                   300 HAHNEMANN TRL                      APT 48                                                   PITTSFORD        NY    14534‐2359
CHARLES J HEILER                                   177 E DANSVILLE RD                                                                              DANSVILLE        MI    48819‐9712
CHARLES J HERBER & JOAN M HERBER JT TEN            6515 NORTH 26TH ROAD                                                                            ARLINGTON        VA    22213‐1201
CHARLES J HINTON & BARBARA F HINTON JT TEN         646 ARDEN LANE                                                                                  PITTSBURGH       PA    15243‐1132
CHARLES J HITT & JUDITH A HITT JT TEN              2780 STEAMBOAT SPRINGS                                                                          ROCHESTER        MI    48309
CHARLES J HODGE                                    3890 WALBRIDGE RD                                                                               NORTHWOOD        OH    43619‐2330
CHARLES J HOFFMAN                                  12 EUSTIS PARKWAY                                                                               WATERVILLE       ME    04901‐4902
CHARLES J HOLLEY                                   9000 WOODWARD                                                                                   DETROIT          MI    48202‐1823
CHARLES J HOUSTON                                  1700 21ST ST                                                                                    ZION             IL    60099
CHARLES J IMO                                      3400 MOROCCO ROAD                                                                               PETERSBURG       MI    49270‐9730
CHARLES J INMAN                                    13066 SEYMOUR RD                                                                                MONTROSE         MI    48457‐9772
CHARLES J JACOBY                                   9688 E OBERLIN WAY                                                                              SCOTTSDALE       AZ    85262‐8448
CHARLES J JAMESON                                  6246 N 750 W                                                                                    FRANKTON         IN    46044‐9692
CHARLES J JETTER JR                                3624 ROCKFORD ST                                                                                ROCKFORD         TN    37853
CHARLES J JONES TR CHARLES J JONES TRUST UA        11728 ASPENWOOD DR                                                                              NEWPORT RICHEY   FL    34654‐1703
11/06/91
CHARLES J JURGELEWICZ                              11 ROXANA ST                                                                                    NORWOOD          MA    02062‐1316
CHARLES J KASSLEY                                  54688 LAUREL DR                                                                                 MACOMB           MI    48042‐2221
CHARLES J KATALENAS                                16935 MOUSETRAP DR                                                                              ROUND ROCK       TX    78681‐5409
CHARLES J KIDD                                     1790 PINE CREEK CIRCLE                                                                          HASLETT          MI    48840‐8211
CHARLES J KING                                     5680 STEWART MILL RD                                                                            DOUGLASVILLE     GA    30135‐3434
CHARLES J KING JR                                  3795 WESTWICK CT NW                                                                             KENNESAW         GA    30152‐3193
CHARLES J KIRBY JR                                 PO BOX 844                                                                                      BUTLER           NJ    07405‐0844
CHARLES J KNOTEK                                   3048 N WISCONSIN ST                                                                             RACINE           WI    53402‐4073
CHARLES J KORSAN                                   SPACE 103                              340 OLD MILL ROAD                                        SANTA BARBARA    CA    93110‐3764
CHARLES J KOVACH & BARBARA J KOVACH JT TEN         23125 HOLLANDER                                                                                 DEARBORN         MI    48128
CHARLES J KRAYCH                                   1904 CENTRAL VILLA CT CT                                                                        ESSEXVILLE       MI    48732‐1828
CHARLES J KRIZEK                                   7253 EAST ISLE DR                      EMBASSY HALL                                             PORT RICHEY      FL    34668‐5728
CHARLES J KUKAN                                    5016 BLUFF ST                                                                                   PITTSBURGH       PA    15236‐2254
CHARLES J LA BELLE                                 221 FAIRMEADOW CIRCLE                                                                           HOUSTON          PA    15342‐1069
CHARLES J LACHER                                   2751 NE 183RD STREET APT #1515                                                                  AVENTURA         FL    33160
CHARLES J LEE                                      4223 HIGDON DR                                                                                  MURFREESBORO     TN    37128‐4750
CHARLES J LICK CUST MICHAEL CHARLES LICK UTMA MN   6 FLETCHER PL                                                                                   HOPKINS          MN    55305‐4427

CHARLES J LICK CUST SARAH J LICK UTMA MN           6 FLETCHER PL                                                                                   HOPKINS          MN    55305‐4427
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 701 of 850
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

CHARLES J LIVINGSTON                              302 BELLVIEW RD                                                                                CONNELLSVILLE     PA    15425‐6168
CHARLES J LOCHTEFELD TR UA 06/24/81 THE CHARLES J 1995 CAMINO LOS CERROS                                                                         MENLO PARK        CA    94025‐5959
LOCHTEFELD TRUST
CHARLES J LONG JR                                 755 MAIN STREET                                                                                HUNGTINGTON       CA    92648‐3401
                                                                                                                                                 BEACH
CHARLES J LOONEY & PATSY A BURD‐LOONEY JT TEN    413 ROOSEVELT WOODS CT                                                                          FENTON            MO    63026‐3982

CHARLES J LOUGHRAN                               91‐38 222ND STREET                                                                              QUEENS VILLAGE    NY    11428‐1447
CHARLES J LOZEN                                  4641 JACKSON                                                                                    DEARBORN HTS      MI    48125‐3013
CHARLES J LUKE                                   7390 W DEAD CREEK RD                                                                            BALDINSVILLE      NY    13027‐7700
CHARLES J LUNA & KATHERINE S LUNA JT TEN         2982 HUDSON DR                                                                                  LOVELAND          CO    80538‐4948
CHARLES J MAGGI CUST GINA M MAGGI UGMA MI        PO BOX 303                                                                                      NEW BALTIMORE     MI    48047‐0303
CHARLES J MAHONEY & MRS MARION L MAHONEY JT      409 BOSTON RD                                                                                   BILLERICA         MA    01821‐2704
TEN
CHARLES J MARABLE                                29610 ARMADA RIDGE RD                                                                           RICHMOND          MI    48062
CHARLES J MAREK                                  818 DAVIS ST                                                                                    CRESTLINE         OH    44827‐1311
CHARLES J MARION                                 743 60TH ST                                                                                     BROOKLYN          NY    11220‐4209
CHARLES J MARK                                   10308 AMBERWOOD CT                                                                              CINCINNATI        OH    45241‐1087
CHARLES J MARTIN JR                              PO BOX 1592                                                                                     SUTTER CREEK      CA    95685‐1592
CHARLES J MATHEWS                                9975 ELLIS                                                                                      CLARKSTOWN        MI    48348‐1711
CHARLES J MATTHEWS & ELIZABETH M MATTHEWS JT     9975 ELLIS ROAD                                                                                 CLARKSTON         MI    48348‐1711
TEN
CHARLES J MATUSZEWSKI                            57 WOODELL AVE                                                                                  BUFFALO           NY    14211‐2734
CHARLES J MAZUR                                  11400 KENSINGTON                                                                                CLEVELAND         OH    44111‐5252
CHARLES J MC BRIDE JR                            38081 HERMAN                                                                                    ROMULUS           MI    48174‐1365
CHARLES J MC CLAFFERTY                           2208 ELDER AVE                                                                                  MORTON            PA    19070‐1215
CHARLES J MC DONALD                              136‐25 58TH AVENUE                                                                              FLUSHING          NY    11355‐5230
CHARLES J MC PHAIL                               13509 MERCIER                                                                                   SOUTHGATE         MI    48195‐1225
CHARLES J MCCALL & DENISE M MCCALL JT TEN        7770 BARNSBURY                                                                                  WEST BLOOMFIELD   MI    48324‐3616

CHARLES J MCCARTHY                               129 S WALNUT ST                                                                                 HUMMELSTOWN       PA    17036‐2506
CHARLES J MCCLUSKY                               370 SHUMMARD BR                                                                                 OXFORD            MI    48371‐6365
CHARLES J MCCURDY                                1320 YANKEE RUN RD                                                                              MASURY            OH    44438‐8723
CHARLES J MEAD                                   9415 BIVENS RD                                                                                  NASHVILLE         MI    49073‐9701
CHARLES J MESSENGER                              70A BRANDYWYNE E                                                                                BRIELLE           NJ    08730
CHARLES J MEYER                                  BOX 244                                                                                         COLEMAN           WI    54112‐0244
CHARLES J MIGLIORE & TINA MIGLIORE JT TEN        1932 W LAUREL                                                                                   FREEPORT          IL    61032
CHARLES J MILLER                                 3210 PINE LAKE RD                                                                               W BLOOMFIELD      MI    48324‐1951
CHARLES J MILLS                                  3604 CARLYLE AVENUE                                                                             CLEVELAND         OH    44109‐1406
CHARLES J MITRANO & MRS MARY MITRANO JT TEN      72 CHRISTYNE MARIE DR                                                                           ROCHESTER         NY    14626‐1735

CHARLES J MOORE                                  15611 MORNING DR                                                                                LUTZ              FL    33559‐3281
CHARLES J MOORE                                  7357 PINE                                                                                       TAYLOR            MI    48180‐2205
CHARLES J MUSCATO                                250 MEADOW LN                                                                                   SPRINGFIELD       OH    45505‐1655
CHARLES J MUSCATO & THERESA O MUSCATO JT TEN     250 MEADOW LN                                                                                   SPRINGFIELD       OH    45505‐1655

CHARLES J MYRBECK                                BOX 1325                                                                                        DENNISPORT        MA    02639‐5325
CHARLES J NEMETZ                                 PO BOX 430                                                                                      REDDING RIDGE     CT    06876‐0430
CHARLES J NEUROHR                                2228 WILLARD                                                                                    CLIO              MI    48420
CHARLES J OLESON CUST WILLIAM STETSON OLESON     11 GEDNEY ESPLANADE                                                                             WHITE PLAINS      NY    10605‐3535
UGMA NY
CHARLES J OLSON                                  8714 SOUTH 81ST AVENUE                                                                          HICKORY HILLS     IL    60457‐1436
CHARLES J ORMSBY & RUTH L ORMSBY JT TEN          1124 N WEBSTER                                                                                  KOKOMO            IN    46901‐2706
CHARLES J OTT CUST GREGORY C OTT UTMA PA         306 MARGARETTA AVE                                                                              HUNTINGDON        PA    19006‐8714
                                                                                                                                                 VALLEY
CHARLES J OTT CUST KIMBERLY N OTT UTMA PA        306 MARGARETTA AVE                                                                              HUNTINGDON        PA    19006‐8714
                                                                                                                                                 VALLEY
CHARLES J PEACOCK                                5000 SAMPSON DR                                                                                 YOUNGSTOWN        OH    44505‐1252
CHARLES J PEARCE                                 1006 CHRISTINE PL                                                                               BETHEL PARK       PA    15102‐2448
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 702 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

CHARLES J PETERKA                                 1217 ALBERT CIRCLE                                                                              OXFORD            OH    45056‐2001
CHARLES J POLITSCH & SUZANNE K POLITSCH JT TEN    716 TWEED 310                                                                                   WINFIELD          KS    67156‐1595

CHARLES J PRIOR                                   123 LAKEVIEW DR                                                                                 FAIRFIELD GLADE   TN    38558‐7045
CHARLES J PUNG & INGE O PUNG JT TEN               4301 CAPER CT                                                                                   TITUSVILLE        FL    32796‐1419
CHARLES J RADLEY                                  67 NELSON AVE                                                                                   GHENT             NY    12075‐1210
CHARLES J RANDAZZO                                305 SOMERVILLE                                                                                  TONAWANDA         NY    14150‐8751
CHARLES J RAPTIS                                  5643 S BLACKMOOR DRIVE                                                                          MURRELLS INLT     SC    29576
CHARLES J RAYMOND & EVA RAYMOND JT TEN            634 OCEAN AVE                                                                                   MASSAPEQUA        NY    11758‐4222
CHARLES J REBOTTARO                               4788 BILLMYER HIGHWAY                                                                           BRITTON           MI    49229‐9722
CHARLES J REIGHARD                                4743 STATE RTE 7 NE                                                                             BURGHILL          OH    44404‐9762
CHARLES J RENO & SALLY ANN RENO JT TEN            1764 KAPEL DRIVE                                                                                EUCLID            OH    44117‐1826
CHARLES J RIGOULOT                                7724 GILLCREST ROAD                                                                             SYLVANIA          OH    43560‐3773
CHARLES J ROMANEK                                 43 GARDEN LANE                                                                                  LEVITTOWN         PA    19055‐1901
CHARLES J ROOSE & WILMA J ROOSE TEN ENT           3060 MERTZ RD                                                                                   CARO              MI    48723‐8918
CHARLES J ROSE                                    11196 DAVISON RD                                                                                DAVISON           MI    48423‐8102
CHARLES J ROTH JR                                 2608 TANAGER DR                                                                                 WILMINGTON        DE    19808‐1620
CHARLES J ROTH JR & MARGARET DUFFY ROTH JT TEN    2608 TANAGER DR                                                                                 WILMINGTON        DE    19808‐1620

CHARLES J SAJEWSKI TR UA 08/09/96 CHARLES J       3176 TOPVIEW CRT                                                                                ROCHESTER HLS     MI    48309
SAJEWSKI TRUST
CHARLES J SALSKY                                  4202 JOYCE BLVD                                                                                 HOUSTON           TX    77084‐2414
CHARLES J SCHNEIDER                               13037 E HAKE ROAD                                                                               WHITEWATER        WI    53190‐3549
CHARLES J SCHUSTER                                3904 JAMES AVE                                                                                  HURON             OH    44839‐2176
CHARLES J SCRIVANICH                              49 MAYER DR                                                                                     CLIFTON           NJ    07012‐1652
CHARLES J SEAL & MARGENE SEAL JT TEN              989 GOLDEN GROVE LN                                                                             FLORENCE          KY    41042‐9361
CHARLES J SHIBILSKI                               2618 MCCRADY RD                                                                                 PITTSBURGH        PA    15235
CHARLES J SIEMEN & NORMA G SIEMEN JT TEN          10912 HIBNER                                                                                    HARTLAND          MI    48353‐1126
CHARLES J SIETSEMA                                3211 TOTH                                                                                       SAGINAW           MI    48601‐5767
CHARLES J SINCLAIR                                32129 RUSH ST                                                                                   GARDEN CITY       MI    48135‐1761
CHARLES J SLAVIS                                  68 SEMINOLE DR                                                                                  LAKEWOOD          NJ    08701‐1152
CHARLES J SMITH                                   208 LINCOLN AVE                                                                                 RUTLAND           VT    05701‐2404
CHARLES J SNYDER                                  72 BLACK LANTERN LN                                                                             S BURLINGTON      VT    05403‐7323
CHARLES J SNYDER JR                               244 HIGHLAND AVE                                                                                RIDGEWOOD         NJ    07450‐4004
CHARLES J STADELMAYER JR                          3119 E KOENIG AVE                                                                               ST FRANCIS        WI    53235‐4235
CHARLES J STAHL                                   2663 MANSFIELD                                                                                  E LANSING         MI    48823‐3860
CHARLES J STANDISH                                397 RATHBUN HILL ROAD                                                                           GREENE            NY    13778‐2031
CHARLES J STATZ                                   PO BOX 295                                                                                      WAUSAU            WI    54402‐0295
CHARLES J STECKEL                                 11407 INGRAM                                                                                    LIVONIA           MI    48150‐2871
CHARLES J STEELE                                  1568 33RD ST NW                                                                                 WASHINGTON        DC    20007
CHARLES J STONE                                   2213 YEWPON                                                                                     CARROLLTON        TX    75007‐5758
CHARLES J STONER & MRS JANE DICE STONER TEN ENT   1127 OAK HILL AVE                                                                               HAGERSTOWN        MD    21742‐3216

CHARLES J STRAIN                                  140 CORVETTE DR                                                                                 MARIETTA          GA    30066‐5906
CHARLES J STUCKY JR                               152 BELLEVUE                                                                                    LAKE ORION        MI    48362‐2704
CHARLES J THOMAS                                  570 AVIATION AVE NE                                                                             PALM BAY          FL    32907‐1932
CHARLES J THOMPSON                                5275 MURPHY LAKE RD                                                                             MILLINGTON        MI    48746‐8720
CHARLES J TRAPP                                   320 BRIERCLIFF DR                                                                               COLUMBIA          SC    29203‐9532
CHARLES J TROTT JR                                4922 MC PHERSON DR                                                                              ROSWELL           GA    30075‐4019
CHARLES J TROTT JR & BARBARA ANN TROTT JT TEN     4922 MC PHERSON DR                                                                              ROSWELL           GA    30075‐4019

CHARLES J TURNER JR                               900 NORTH ISLAND DR NW                                                                          ATLANTA           GA    30327‐4624
CHARLES J UTTARO                                  38 ABBY LANE                                                                                    ROCHESTER         NY    14606
CHARLES J VALENTINI                               360 BUTTERFIELD DR                                                                              ABINGDON          MD    21009‐1514
CHARLES J VALLEY                                  PO BOX 65                                                                                       EAST TAWAS        MI    48730‐0065
CHARLES J VESELSKY JR                             521 TICKNER ST                                                                                  LINDEN            MI    48451‐9008
CHARLES J VINCENT TR UA 11/20/97 ANNE VINCENT     6760 WHEELER DR                                                                                 CHARLOTTE         NC    28211
TRUST
CHARLES J VITELLO                                 12 AMBERWOOD DR                                                                                 AMHERST           NY    14228‐2834
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 703 of 850
Name                                              Address1                             Address2             Address3          Address4          City              State Zip

CHARLES J VLACH                                   2537 S 3RD AVE                                                                                NO RIVERSIDE      IL    60546‐1207
CHARLES J VOIGHT                                  6176 KINGS SHIRE                                                                              GRAND BLANC       MI    48439‐8712
CHARLES J VULLO                                   446 LYN BROOK AVE                                                                             TONAWANDA         NY    14150‐8213
CHARLES J VULLO & MRS GLORIA T VULLO JT TEN       446 LYNBROOK AVE                                                                              TONAWANDA         NY    14150‐8213
CHARLES J WARDACH JR                              509 SKYLINE DR S                                                                              CLARKS SUMMIT     PA    18411‐9147
CHARLES J WATT                                    808 W BATH RD                                                                                 CUYAHOGA FLS      OH    44223‐3007
CHARLES J WELLER & MRS LINDA J WELLER JT TEN      1026 BENT GRASS                                                                               DAYTON            OH    45458‐3989
CHARLES J WENDLING                                5618 TONAWANDA CREEK RD              #1                                                       LOCKPORT          NY    14094‐9541
CHARLES J WERSTINE & CAROLYN WERSTINE JT TEN      1352 OLD DOMINION RD                                                                          NAPERVILLE        IL    60540‐7018

CHARLES J WHITMER                                 90 QUARTON LN                                                                                 BLOOMFIELD        MI    48304‐3456
CHARLES J WIESECKEL                               14172 BARTON DR                                                                               SHELBY TOWNSHIP   MI    48315‐5413

CHARLES J WILLIAMS                               1563 CHENOWETH CIRCLE                                                                          BOWLING GREEN     KY    42104‐6357
CHARLES J WILLIAMSON CUST MARK WILLIAMSON        527 PINEWOOD FOREST DRIVE                                                                      ASHEBORO          NC    27203‐0998
UGMA NC
CHARLES J WILLIAMSON JR & MRS HAZEL S WILLIAMSON 314 FOXBORO CT                                                                                 LAKE MARY         FL    32746‐3495
JT TEN
CHARLES J WILLIS                                 7710 CEDARBROOK DR                                                                             INDIANAPOLIS      IN    46227‐5830
CHARLES J WILSON                                 791 E 156TH ST                                                                                 CLEVELAND         OH    44110‐3069
CHARLES J WRIGHT JR & PATRICIA R WRIGHT JT TEN   110 DANBURY DRIVE                                                                              CHEEKTOWAGA       NY    14225‐2003

CHARLES J YATES                                   547 DOGWOOD DR NE                                                                             PELHAM            GA    31779‐1121
CHARLES J ZAPPIA                                  301 GOLD ST                                                                                   BUFFALO           NY    14206‐1205
CHARLES J ZEBROWSKI                               PO BOX 1002                                                                                   DOVER PLAINS      NY    12522‐1002
CHARLES J ZELE                                    104 WEDGEWOOD CIRCLE                                                                          EATONTOWN         NJ    07724
CHARLES J ZENNS                                   5574 CENTERPOINTE BLVD               APT 4                                                    CANANDAIGUA       NY    14424‐7861
CHARLES J ZETTEL                                  24 RAMPART RD                                                                                 WAYNE             PA    19087‐5843
CHARLES JACKSON                                   4395 REID RD                                                                                  KINGSTON          MI    48741‐9507
CHARLES JACKSON & NANCY JACKSON JT TEN            4 BIRCH PARKWAY                                                                               SPARTA            NJ    07871‐1205
CHARLES JACKSON SMITH                             105 E VINEYARD                                                                                ANDERSON          IN    46012‐2520
CHARLES JACOBSEN                                  420 HALL ST                                                                                   WEST UNION        IA    52175‐1037
CHARLES JAFFE                                     1016 GREENLEAF ST                                                                             EVANSTON          IL    60202‐1236
CHARLES JAKUBONIS                                 7947 THELMA                          LA SALLE QC                            H8P 1W9 CANADA
CHARLES JAMES DAVIS                               2107 POPLAR ST                                                                                ANDERSON          IN    46012‐1735
CHARLES JAMES DOLCE                               365 MAYNARD DR                                                                                AMHERST           NY    14226‐2928
CHARLES JAMES RAINEY                              9590 RANGE LINE RD                                                                            RIVER HILLS       WI    53217‐1019
CHARLES JANTELLE                                  100 OAKLAND RD                                                                                MAPLEWOOD         NJ    07040‐2306
CHARLES JARVIS JOHNSON                            726 SUMMIT CREEK LN                                                                           PLEASANTON        CA    94566‐3847
CHARLES JASON STREHL                              3708 WESTOVER CIRCLE                                                                          LEESBURG          FL    34748
CHARLES JEFFERY                                   PO BOX 96                                                                                     GALLUPVILLE       NY    12073‐0096
CHARLES JEFFREY CUST KRISTIN JEFFREY UGMA NY      PO BOX 96                                                                                     GALLUPVILLE       NY    12073‐0096

CHARLES JEFFREY MYERS                             1338 OAKDALE RD                                                                               WAYNESVILLE       NC    28786‐5184
CHARLES JEFFRIES JR                               6878 STRATHAM RD                                                                              TEMPERANCE        MI    48182‐2214
CHARLES JENNY                                     32 BRIDGE ST                                                                                  HACKENSACK        NJ    07601‐7030
CHARLES JENSEN KEEN                               19 VINTAGE LN                                                                                 SOUTH WINDSOR     CT    06074‐1611
CHARLES JEROME BAILEY & BONNIE H BAILEY JT TEN    149 HIGHLAND DR                                                                               MT STERLING       KY    40353‐8213

CHARLES JOHN BUELOW                               2151 OVERBROOK                                                                                LAKEWOOD          OH    44107‐5311
CHARLES JOHN EKPARIAN CUST CHRISTOPHER J FIERRO   1076 DECATUR ST                                                                               ORANGEBURG        SC    29118‐2506
UTMA TX
CHARLES JOHN FORTINO                              1004 N MAGNOLIA AVE                                                                           LANSING           MI    48912‐3235
CHARLES JOHN MURRAY                               219 42ND ST                                                                                   SANDUSKY          OH    44870‐4855
CHARLES JOHN SKOLNY                               19 RED CEDAR DRIVE                                                                            ROCHESTER         NY    14616‐1667
CHARLES JOHN THOMAS HALL JR                       3336 CIRCLE BROOK DR APT#1‐D                                                                  ROANOKE           VA    24014‐2023
CHARLES JOHNSON                                   2034 COUNTY RD 162                                                                            HENAGAR           AL    35978‐7017
CHARLES JOHNSON WETHERINGTON II & PAULA T         3352 CONLEY DOWNS DR                                                                          POWDER SPRINGS    GA    30127‐1196
WETHERINGTON JT TEN
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 704 of 850
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

CHARLES JONES                                     119 S HIGHLAND AVE                                                                               OSSINING         NY    10562‐5861
CHARLES JONES                                     789 LINDY COURT                                                                                  EAST ST LOUIS    IL    62205‐2172
CHARLES JONES & ANN MARIE JONES JT TEN            1656 WESTCHESTER AVE                                                                             PEEKSKILL        NY    10566
CHARLES JONES JR                                  4016 WINONA ST                                                                                   FLINT            MI    48504‐2117
CHARLES JOSEPH ADOMITIS                           1491 BOTTOMWOOD DR                                                                               HEBRON           KY    41048‐7979
CHARLES JOSEPH BARRON                             16 CAPE FLATTERY COURT                                                                           IRMO             SC    29063‐2914
CHARLES JOSEPH BRENNAN                            121 S SPRUCE AVE 204                                                                             WOOD DALE        IL    60194
CHARLES JOSEPH BRUGGEMAN                          2394 PATRICK BLVD                                                                                DAYTON           OH    45431‐8484
CHARLES JOSEPH FRAGO & FRANK C FRAGO JT TEN       1 AMY LN                                                                                         CROMWELL         CT    06416‐1441

CHARLES JOSEPH LIBERTO                            809 PASADENA RD                                                                                  PASADENA         MD    21122‐4002
CHARLES JOSEPH OHOTNICKY                          516 WHEATON RD                                                                                   SAN ANTONIO      TX    78234‐2619
CHARLES JUDGE                                     PO BOX 43164                                                                                     DETROIT          MI    48243‐0164
CHARLES JUDSON RIX                                703 SCENIC RANCH CIR                                                                             MCKINNEY         TX    75069‐1911
CHARLES JUSTICE & CLARE M JUSTICE JT TEN          5265 E COLONVILLE RD                                                                             CLARE            MI    48617‐9791
CHARLES K ALLEN                                   814 LYON                                                                                         FLINT            MI    48503‐1315
CHARLES K ASBURY                                  9954 FOREST RIDGE DR                                                                             CLARKSTON        MI    48348‐4164
CHARLES K BACON                                   502 MONETTE DR                                                                                   CRP CHRISTI      TX    78412‐3023
CHARLES K BALD & MRS MARIAN L BALD JT TEN         1878 VOSHAGE ST                                                                                  BALDWIN          NY    11510‐2421
CHARLES K BIERNBAUM                               765 STEBBINS DR                                                                                  CHARLESTON       SC    29412
CHARLES K BOLTON & MARY M BOLTON JT TEN           1014 HAYNES ST                                                                                   RALEIGH          NC    27604‐1464
CHARLES K BOOKMILLER                              120W 480S                                                                                        CUTLER           IN    46920‐9604
CHARLES K BOWEN JR                                6217 GOLDEN RING RD                                                                              ROSEDALE         MD    21237‐1917
CHARLES K BURNS                                   41 COUNTRY HILLS DR                                                                              NEWARK           DE    19711‐2517
CHARLES K COATS & JOYCE E COATS JT TEN            8932 COATS RD                                                                                    SPRINGPORT       MI    49284‐9309
CHARLES K DICKSON                                 23535 GLORIA DR                                                                                  BROWNSTOWN       MI    48183‐5457
CHARLES K DRIGGERS                                2509 FALKIRK DR                                                                                  RICHMOND         VA    23236‐1622
CHARLES K FRANKEL                                 15 WOODWIND LANE                                                                                 SPRING VALLEY    NY    10977‐1615
CHARLES K GAIGE & CAROLYN J GAIGE JT TEN          130 WOODLAND DR                                                                                  PINEHURST        NC    28374‐8201
CHARLES K HARRIS                                  2010 MANSFIELD AVENUE                                                                            INDIANAPOLIS     IN    46202‐1048
CHARLES K HARRIS JR                               2427 S IRISH RD                                                                                  DAVISON          MI    48423‐8362
CHARLES K HAZLETT                                 441 EISENHOWER ROAD                                                                              WINTERSVILLE     OH    43953‐3831
CHARLES K HENRY & THELMA Y HENRY JT TEN           920 HALSTEAD BLVD                                                                                JACKSON          MI    49203‐2608
CHARLES K HUGHES                                  1440 NORTON AVE                                                                                  KETTERING        OH    45420‐3338
CHARLES K IVEY                                    2915 SILVERSTONE LN                                                                              WATERFORD        MI    48329‐4538
CHARLES K KARBON                                  6005 EAST GRAND RIVER AVENUE                                                                     HOWELL           MI    48843‐9141
CHARLES K LAMB                                    418 S 7TH STREET                                                                                 MARQUETTE        MI    49855‐4508
CHARLES K LATHAM III                              2520 WOODSTREAM RD                                                                               MOUNT PLEASANT   SC    29466‐7604

CHARLES K MCDOWELL                                4672 N PINE LOG DR                                                                               IRONS            MI    49644‐8797
CHARLES K MOORE                                   204 WESTFIELD RD                                                                                 RIDGELAND        MS    39157‐9752
CHARLES K MURPHY                                  16069 WHITEHEAD DRIVE                                                                            LINDEN           MI    48451‐8713
CHARLES K POINDEXTER JR & CAROL A PINDEXTER JT    7614 HAYENGA                                                                                     DARIEN           IL    60561‐4518
TEN
CHARLES K POWERS                                  3625 BRICKYARD CT                                                                                EVANSVILLE       IN    47720
CHARLES K SHORT                                   PO BOX 125                                                                                       FLAT ROCK        MI    48134‐0125
CHARLES K SKINNER                                 711 W NOTTINGHAM RD                                                                              NEWARK           DE    19711‐7406
CHARLES K STEVENS JR                              4111 STONEBRIDGE                                                                                 HOLLY            MI    48442‐9531
CHARLES K STEVENS JR & MRS SUZANNE M STEVENS JT   4111 STONEBRIDGE                                                                                 HOLLY            MI    48442‐9531
TEN
CHARLES K STROH                                   4937 NORMANDY COURT                                                                              CAPE CORAL       FL    33904‐5673
CHARLES K SWAN JR                                 7812 CORTELAND DR                                                                                KNOXVILLE        TN    37909‐2321
CHARLES K TALAGA                                  6190 COGSWELL                                                                                    ROMULUS          MI    48174‐4040
CHARLES K THURMAN                                 7859 E 400 N                                                                                     VAN BUREN        IN    46991‐9710
CHARLES K TOOMEY                                  115 COCHISE STREET S E                                                                           CLEVELAND        TN    37323‐8129
CHARLES K WALKER                                  716 STANLEY                                                                                      PONTIAC          MI    48340‐2471
CHARLES K WILLIAMSON                              8621 CHALMETTE                                                                                   SHREVEPORT       LA    71115‐2717
CHARLES K WRIGHT & LAQUAETI M WRIGHT JT TEN       411 W NORTH ST                                                                                   GREENFIELD       IN    46140‐2028
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 705 of 850
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

CHARLES KALISH                                    1 COMPASS LANE                                                                                MASSAPEQUA      NY    11758‐6502
CHARLES KALWINSKY                                 38 CEDAR INN DRIVE                                                                            TOMS RIVER      NJ    08755‐5166
CHARLES KAMENAS                                   246E WARREN ST                                                                                ISELIN          NJ    08830‐1256
CHARLES KAPALA CUST JOHN ANTHONY KAPALA UGMA      4236 BUCKINGHAM                                                                               ROYAL OAK       MI    48073‐6218
CO
CHARLES KAVALESKI                                 11 OMORE AVE                                                                                  MAYNARD         MA    01754‐1904
CHARLES KAYSON                                    35431 ERIE DRIVE                                                                              ROCKWOOD        MI    48173‐9672
CHARLES KAZMIERCZAK                               30211 WAGNER DR                                                                               WARREN          MI    48093‐3008
CHARLES KAZMIERCZAK & SHIRLEY ANN KAZMIERCZAK     30211 WAGNER DR                                                                               WARREN          MI    48093‐3008
JT TEN
CHARLES KEELER                                    16843 GASPER RD                                                                               CHESANING       MI    48616‐9753
CHARLES KEITEL                                    207 NW ASH DR                                                                                 LAKE CITY       FL    32055‐5145
CHARLES KENNEDY                                   PO BOX 44                                                                                     DATIL           NM    87821‐0044
CHARLES KENNETH KOHR                              3005 OGDEN DR                                                                                 MIDDLETOWN      OH    45044‐7537
CHARLES KENNETH SHORT                             PO BOX 125                                                                                    FLAT ROCK       MI    48134‐0125
CHARLES KILEY & MRS MARIE MORSON KILEY JT TEN     1871 S LAPEER RD                                                                              LAPEER          MI    48446‐9314

CHARLES KLINE ABLES                                4940 PARK DR                                                                                 CARLSBAD        CA    92008‐3812
CHARLES KNOX JR                                    PO BOX 1884                                                                                  ANTIOCH         TN    37011‐1884
CHARLES KOLARIK                                    794 FOX MOUNT ROAD                                                                           LIVINGSTN MNR   NY    12758‐9802
CHARLES KOTELES & MARY KOTELES JT TEN              21629 WOODVIEW DR                                                                            WOODHAVEN       MI    48183‐1675
CHARLES KOUVELAS                                   5064 WYANDOTTE EAST                 UNIT 803             WINDSOR ON        N8Y 4Z7 CANADA
CHARLES KRAMAR                                     468 HIGH STREET                                                                              ELYRIA          OH    44035‐3146
CHARLES KRUEGER                                    3 S 686 WEST AVE                                                                             WARRENVILLE     IL    60555
CHARLES KUDEL & CLAIRE KUDEL JT TEN                1234 E 73RD ST                                                                               BROOKLYN        NY    11234
CHARLES L AKERS II                                 26120 STANCREST DRIVE                                                                        SOUTH LYON      MI    48178‐9735
CHARLES L ALBANY                                   17675 RUTH                                                                                   MELVINDALE      MI    48122‐1144
CHARLES L ALBERS                                   1103 FRANKFURT LN                                                                            GERMANTOWN      IL    62245‐1912
CHARLES L ALDINI                                   9343 S HAZELTON                                                                              TEMPE           AZ    85284‐3419
CHARLES L ALLEN                                    BOX 248                                                                                      LACON           IL    61540‐0248
CHARLES L ANDERSON                                 1106 EASON AVE                      #A                                                       MUSCLE SHOALS   AL    35661‐1716
CHARLES L ANDREWS                                  38707 ROYCROFT ST                                                                            LIVONIA         MI    48154‐1321
CHARLES L ANSLOW                                   222 E JEFFERSON ST                                                                           GERMANTOWN      OH    45327‐1461
CHARLES L ARNOLD                                   405 MAYFAIR CT                                                                               HURST           TX    76054‐3534
CHARLES L ASHLEY                                   2136 POPLAR SPRINGS RD                                                                       HAZLEHURST      MS    39083‐9132
CHARLES L BAKER TR UA 11/19/99 THE CHARLES L BAKER 5327 FRIEDA DRIVE                                                                            FAIRFIELD       OH    45014‐3313
TRUST
CHARLES L BARNES                                   1071 GRANVILLE PARK                                                                          LANCASTER        OH   43130‐1028
CHARLES L BATTLEY                                  1176 N MASON RD                                                                              MERRILL          MI   48637
CHARLES L BATTLEY & CONSULO BATTLEY JT TEN         7176 N MASON RD                                                                              MERRILL          MI   48637‐9620
CHARLES L BAUM                                     6908 CRESTHILL DR                                                                            KNOXVILLE        TN   37919‐5906
CHARLES L BEAVERS                                  3233 RAVINE HOLLOW COURT                                                                     LAMBERTVILLE     MI   48144‐9693
CHARLES L BEDFORD                                  3477 HAZZARD WAY                                                                             SOQUEL           CA   95073‐2751
CHARLES L BERBERICH                                1600 BRISTOL                                                                                 KANSAS CITY      MO   64126‐2718
CHARLES L BICKEL                                   522 N SPRUCE ST                                                                              TRAVERSE CITY    MI   49684‐1442
CHARLES L BILLETT                                  8207 FENTON                                                                                  DEARBORN HEIGHTS MI   48127‐1323

CHARLES L BLACKER                                 503 W LINCOLN ST                                                                              CHARLEVOIX      MI    49720‐1224
CHARLES L BOALES JR                               2625 TUOLUMNE DRIVE                                                                           CHICO           CA    95973‐7665
CHARLES L BOLLINGER & SANDRA A BOLLINGER JT TEN   BOX 227                              209 MAIN ST                                              LAURENS         NY    13796‐0227

CHARLES L BORKES                                418 DAVID DRIVE                                                                                 GREENWOOD       IN    46142‐9691
CHARLES L BOYD                                  PO BOX 5045                                                                                     WILMINGTON      DE    19808
CHARLES L BREMER                                29422 BANNER SCHOOL RD                 RTE 4                                                    DEFIANCE        OH    43512‐8009
CHARLES L BROCK                                 765 PARK AVE                                                                                    NEW YORK        NY    10021‐4254
CHARLES L BROWN                                 21 SIGNAL DR                                                                                    LANCASTER       NY    14086‐9560
CHARLES L BURCHFIELD & KATHERINE ANN BURCHFIELD 4220 NE 125TH PL                                                                                PORTLAND        OR    97230‐1342
JT TEN
CHARLES L BURGAN                                26725 LOWER RD                                                                                  ARCADIA         IN    46030‐9443
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 706 of 850
Name                                                Address1                               Address2             Address3          Address4          City             State Zip

CHARLES L BURKETT                                   1069 HYDE‐OAKFIELD                                                                              NORTH            OH    44450‐9720
                                                                                                                                                    BLOOMFIELD
CHARLES L BURKHALTER                                1144 UNION DR                                                                                   SAGINAW          TX    76131‐4816
CHARLES L CALDWELL                                  BOX 5                                                                                           MAPAVILLE        MO    63065‐0005
CHARLES L CALLAHAN                                  PO BOX 185                                                                                      ELLENDALE        DE    19941‐0185
CHARLES L CARLINO                                   19 S KERN O'FALLON HILLS                                                                        O'FALLON         MO    63366
CHARLES L CARTE                                     1669 RIPPLEBROOK RD                                                                             COLUMBUS         OH    43223‐3420
CHARLES L CARTWRIGHT                                13437 WOODLAND DRIVE                                                                            ASTATULA         FL    34705‐9504
CHARLES L CASE                                      5798 THORNTON HWY                                                                               CHARLOTTE        MI    48813‐8538
CHARLES L CASEY JR TR UA 01/23/03 CHARLES L CASEY   110 CARLTON DR                                                                                  DEL REY OAKS     CA    93940
JR REV TRUST
CHARLES L CATRON                                    2298 S 410 W RR2                                                                                RUSSIAVILLE      IN    46979‐9453
CHARLES L CHAPLAR JR                                31 READINGTON RD                                                                                WHITEHOUSE STA   NJ    08889‐3550
CHARLES L CHRISTOPH & KATHEY S CHRISTOPH JT TEN     8641 PADDOCK RD                                                                                 CAMBY            IN    46113‐9421

CHARLES L CLARK                                     2240 COX ROAD                                                                                   COCOA            FL    32926‐3522
CHARLES L COMMON                                    5804 BABCOCK RD APT 371                                                                         SAN ANTONIO      TX    78240
CHARLES L CONNAWAY & HILDA C CONNAWAY JT TEN        18335 REATA WAY                                                                                 SAN DIEGO        CA    92128‐1253

CHARLES L CONNER & MRS THELMA O CONNER JT TEN       70 ALLSTON ST                                                                                   ALLSTON          MA    02134‐5001

CHARLES L CORBETT                                   2401 MCDONALD ST                                                                                SIOUX CITY       IA    51104
CHARLES L CORBETT TR STANLEY M CORBETT TRUST UA     2401 MCDONALD ST                                                                                SIOUX CITY       IA    51104‐3739
12/21/04
CHARLES L CORN & CHERYL P CORN JT TEN               PO BOX 48073                                                                                    PHOENIX          AZ    85075
CHARLES L CORN CUST PAUL J MAIDENBAUM UGMA NY       2440 EAST 29TH STREET                                                                           BROOKLYN         NY    11235‐1950

CHARLES L COX                                  2416 E 4TH ST                                                                                        ANDERSON         IN    46012‐3615
CHARLES L CROOKSHANK & BARBARA L CROOKSHANK JT 3128 HARVARD RD                                                                                      ROYAL OAK        MI    48073‐6605
TEN
CHARLES L CROSSON                              557 CLARK RD                                                                                         EOLIA            MO    63344‐2317
CHARLES L CROWDER                              4095 WELCOME ALL TER                                                                                 COLLEGE PK       GA    30349‐1923
CHARLES L CRUES                                1014 HINCHEY RD                                                                                      ROCHESTER        NY    14624‐2741
CHARLES L D PARKHILL III                       PO BOX 362                                                                                           SANFORD          FL    32772‐0362
CHARLES L DARONE & CAROL J DARONE JT TEN       4591 N ORAIBI PL                                                                                     TUCSON           AZ    85749‐9386
CHARLES L DAUGHERTY                            9993 CHILD HOME BRADFORD RD                                                                          BRADFORD         OH    45308
CHARLES L DAVIS II                             15474 WORMER                                                                                         REDFORD          MI    48239‐3543
                                                                                                                                                    TOWNSHIP
CHARLES L DAWSON                                    934 SHERWOOD DR                                                                                 FORT WAYNE       IN    46819‐2276
CHARLES L DE LLOWE                                  2638 SIMPSON DR                                                                                 ROCHESTER        MI    48309‐3842
CHARLES L DEHART                                    943 N 12TH ST                                                                                   ELWOOD           IN    46036‐1110
CHARLES L DIBELLO                                   124 SOUND SHORE DRIVE                                                                           CURRITUCK        NC    27929‐9606
CHARLES L DINSMORE                                  BOX 2368                                                                                        ANNISTON         AL    36202‐2368
CHARLES L DIVICO                                    3400 N SHELLEY ST                                                                               MOHEGAN LAKE     NY    10547‐1441
CHARLES L DOWELL                                    5255 W STONES CROSSING RD                                                                       GREENWOOD        IN    46143‐9115
CHARLES L DUBOSE                                    701 BELL RD SE                                                                                  CONYERS          GA    30094‐4517
CHARLES L EAGER                                     105 LAKEVIEW DR                                                                                 ALMA             MO    64001‐8181
CHARLES L EATON                                     17551 ELLSWORTH ROAD                                                                            LAKE MILTON      OH    44429‐9572
CHARLES L ELLIS                                     3154 HIGHWAY 166 NORTH                                                                          MAYNARD          AR    72444‐9750
CHARLES L ELLWANGER JR TR UW CHARLES L              11640 KNIFE BOX RD                                                                              GREENSBORO       MD    21639‐1201
ELLWANGER
CHARLES L EMERSON                                   1410 BEAR CORBITT RD                                                                            BEAR             DE    19701‐1535
CHARLES L EPHRAIM                                   2130 SHERIDAN ROAD                                                                              HIGHLAND PARK    IL    60035‐2404
CHARLES L EVANS                                     10120 SALINAS                                                                                   SHREVEPORT       LA    71115‐3446
CHARLES L EWEN                                      5385 STAGECOACH RD                                                                              PORTAGE          IN    46368‐1129
CHARLES L FARBER & ALFREDA FARBER JT TEN            5823 W 89TH PL                                                                                  OAKLAWN          IL    60453‐1227
CHARLES L FERRELL                                   31081 IRON CIRCLE                                                                               TEMECULA         CA    92591‐4996
CHARLES L FERRELL & MARY R FERRELL JT TEN           31081 IRON CIRCLE                                                                               TEMECULA         CA    92591‐4996
CHARLES L FINNEY                                    18981 NORTH DAWN ST                                                                             DETROIT          MI    48221
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 707 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

CHARLES L FISHBURNE                               513 PRINCETON AVE                                                                               TRENTON          NJ    08618‐3813
CHARLES L FLETCHER                                200 LINCOLN RD                                                                                  FITZGERALD       GA    31750‐6058
CHARLES L FOURNIER                                2937 LACOTA ROAD                                                                                WATERFORD        MI    48328‐3128
CHARLES L FREEMAN                                 PO BOX 147                                                                                      JERSEY           GA    30018‐0147
CHARLES L FREEMAN III                             C/O CHARLES LLOYD FREEMAN IV           213 RICHMOND DR                                          SOCIAL CIRCLE    GA    30025‐4352
CHARLES L FRENCH                                  709 E LEVITT PL                                                                                 CINCINNATI       OH    45245‐2442
CHARLES L FRIEND                                  1422 CENTRAL AVE                                                                                ANDERSON         IN    46016‐1810
CHARLES L FRITZ & LAURENCE L FRITZ JT TEN         157 MATTSON RD                                                                                  BOOTHWYN         PA    19061‐1408
CHARLES L GARAVAGLIA TR CHARLES L GARAVAGLIA      145 KNOBBY VIEW DR                                                                              HIGHLAND         MI    48357‐2352
LIVING TRUST UA 08/12/92
CHARLES L GARNER & BETTY J GARNER JT TEN          419 W PINE ST                                                                                   CARSON CITY      MI    48811‐9582
CHARLES L GARTEE                                  2832 SPIELMAN HGTS DRIVE                                                                        ADRIAN           MI    49221‐9228
CHARLES L GILLILAND                               3657 HUBBARD MIDDLESEX RD                                                                       WEST MIDDLESEX   PA    16159‐2213
CHARLES L GRAY                                    3018 NORMAN PL                                                                                  BOSSIER CITY     LA    71112‐3011
CHARLES L GRESS TR CHARLES L GRESS TRUST UA       201 CENTERBURY CT                                                                               CINCINNATI       OH    45246‐4904
11/22/95
CHARLES L GRUNDY                                  20049 KEYSTONE                                                                                  DETROIT          MI    48234‐2312
CHARLES L GUILBAULT                               1956 HOOKER OAK AVENUE                                                                          CHICO            CA    95926‐1741
CHARLES L HAGER & MRS MARY E HAGER JT TEN         607 CENTRAL AVENUE                                                                              BINE GROVE       KY    40175‐1543
CHARLES L HAHN                                    217 CHATHAM DR                                                                                  DAYTON           OH    45429‐1407
CHARLES L HALL CUST JAMES CHARLES WATKINS UTMA    1337 FERGIE CT                                                                                  CLARKSVILLE      TN    37042‐1565
TX
CHARLES L HALLER                                  #23 COUNTRY LANE                                                                                WARRENTON        MO    63383‐2722
CHARLES L HAMILTON JR & DOTTY L HAMILTON JT TEN   6363 S TWIN VIEW DR                                                                             IDLEWILD         MI    49642‐9672

CHARLES L HAMLIN                                  38853 SAGE TREE                                                                                 PALMDALE         CA    93551‐3845
CHARLES L HAMMOND                                 6968 S LADYS THUMB LN                                                                           TUCSON           AZ    85706‐5129
CHARLES L HANSARD                                 795 SANDERS RD                                                                                  CUMMINGS         GA    30041‐5307
CHARLES L HARDING                                 3253 HUMMEL RD                                                                                  SHELBY           OH    44875‐9097
CHARLES L HARGRAVES & HELEN H DONALDSON JT TEN    1959 KINGSTOWN RD                      APT 203                                                  WAKEFIELD        RI    02879‐1609

CHARLES L HARVEL                                  1281 DEER CREEK TRL                                                                             GRAND BLANC      MI    48439‐9264
CHARLES L HAWLEY                                  6513 CHELTENHAM DR                                                                              TEMPERANCE       MI    48182‐1142
CHARLES L HEATH                                   1653 MIAMI CHAPEL RD                                                                            DAYTON           OH    45408‐2527
CHARLES L HERON & MRS LAVERNE HERON JT TEN        317 4TH ST                                                                                      MC DONALD        PA    15057‐1116
CHARLES L HICKS                                   2489 PARLIN DR                                                                                  GROVE CITY       OH    43123‐1827
CHARLES L HIERDAHL                                2020 DAVIS DR                                                                                   NORRISTOWN       PA    19403‐2850
CHARLES L HIGEL & BONNIE L HIGEL JT TEN           PO BOX 935                                                                                      EVART            MI    49631‐0935
CHARLES L HIGGINS                                 1741 MYRON                                                                                      LINCOLN PK       MI    48146‐3831
CHARLES L HIGHLANDER                              1219 OLD STATE RD                                                                               WILMINGTON       OH    45122
CHARLES L HILL                                    103 SKIATOOK WAY                                                                                LOUDON           TN    37774‐2109
CHARLES L HILL CUST MARY ASHLEY HILL UGMA MA      130 TOPSFIELD RD                                                                                IPSWICH          MA    01938‐1651

CHARLES L HILLER                                  66 CHOPIN                                                                                       TROY             MI    48083‐1713
CHARLES L HINTON                                  3765 WEST BRANCH ROAD                                                                           ALLEGANY         NY    14706‐9721
CHARLES L HOFFMASTER                              412 UNION ST                                                                                    COLUMBIANA       OH    44408‐1260
CHARLES L HOLMES                                  13534 KING HENRY AVE                                                                            BATON ROUGE      LA    70816‐1130
CHARLES L HOLSTON                                 735 HUNTCLUB BLVD                                                                               AUBURN HILLS     MI    48326‐3682
CHARLES L HOLTZ                                   515 OAKLAND AVE                                                                                 BIRMINGHAM       MI    48009‐5752
CHARLES L HOLTZ & AUDREY M HOLTZ JT TEN           515 OAKLAND                                                                                     BIRMINGHAM       MI    48009‐5752
CHARLES L HOOTEN                                  1112‐E US HWY 69                                                                                POINT            TX    75472‐5876
CHARLES L HOSKINS                                 2722 EAST MICHIGAN TOWN ROAD                                                                    FRANKFORT        IN    46041‐8219
CHARLES L HOWARD                                  PO BOX 233                                                                                      FRANKENMUTH      MI    48734‐0233
CHARLES L HOWE                                    PO BOX 15038                                                                                    DETROIT          MI    48215‐0038
CHARLES L HRLIC                                   28675 JAMES ST                                                                                  GARDEN CITY      MI    48135‐2123
CHARLES L HUDSON SR                               115 CASTLE ROCK DRIVE                                                                           LIBERTY          KY    42539‐8144
CHARLES L HUMPHREY                                9715 W BUCHANAN ROAD                                                                            SUMNER           MI    48889‐9799
CHARLES L HUNZE JR                                722 N FLORISSANT ROAD                                                                           FERGUSON         MO    63135‐1647
CHARLES L HUTCHINS JR                             10153 E MAPLE AVE                                                                               DAVISON          MI    48423‐8723
                                                 09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 708 of 850
Name                                               Address1                            Address2             Address3          Address4          City            State Zip

CHARLES L HYDE                                     1924 HASLER LK RD                                                                            LAPEER          MI    48446‐9732
CHARLES L IRWIN                                    479 STRAITS HWY                                                                              INDIAN RIVER    MI    49749‐9715
CHARLES L JACKSON                                  147 WINDER ROAD                                                                              NEW CASTLE      DE    19720‐1214
CHARLES L JACKSON                                  8275 WEST COUNTY RD 600S                                                                     FRENCH LICK     IN    47432‐9332
CHARLES L JACKSON                                  218 STOUTENBURGH LN                                                                          PITTSFORD       NY    14534‐2366
CHARLES L JOHNS                                    331 EAST VIENNA ROAD                                                                         CLIO            MI    48420‐1424
CHARLES L JOHNSON                                  PO BOX 7343                                                                                  COLUMBIA        MO    65205‐7343
CHARLES L JOHNSTON III                             BOX 658                                                                                      NAPA            CA    94559‐0658
CHARLES L JOYCE & MARGOT J JOYCE JT TEN            7630 AL HWY #9                                                                               ANNISTON        AL    36207
CHARLES L KING                                     127 POINTS WEST DR                                                                           ASHEVILLE       NC    28804‐4404
CHARLES L KING                                     21128 PECKHAM AVE                                                                            MOUNT DORA      FL    32757‐9752
CHARLES L KISSICK                                  943 MOHAWK TRAIL                                                                             MILFORD         OH    45150‐1713
CHARLES L KLINSKY                                  14 12TH ST                                                                                   W KEANSBURG     NJ    07734‐3053
CHARLES L KNEISLEY & MARILYN S KNEISLEY JT TEN     37 MARKFIELD DR                                                                              CHARLESTON      SC    29407‐6965

CHARLES L KNOTT                                    6397 HAZLETT                                                                                 DETROIT         MI    48210‐1211
CHARLES L KNOX                                     11815 MESA BLANCO TRL                                                                        HASLET          TX    76052‐3284
CHARLES L KOEHLER & PATRICIA KOEHLER JT TEN        2 OXFORD AVE                                                                                 MASSAPEQUA      NY    11758‐2431
CHARLES L KOHLER                                   38 S GOLFWOOD                                                                                PENNS GROVE     NJ    08069‐9601
CHARLES L KOPEL & BETTY J KOPEL JT TEN             14800 W 81ST PL                                                                              LENEXA          KS    66215‐4291
CHARLES L KREGGER                                  0601 W MAIN                                                                                  DURAND          MI    48429‐1537
CHARLES L KRUSENSTJERNA                            1139 HIGHLAND AVE                                                                            ROCHESTER       NY    14620‐1869
CHARLES L LAINE & CHARLYNE M LAINE JT TEN          21806 BLUE SHIMMERING TRAIL                                                                  CYPRESS         TX    77433
CHARLES L LANDERS                                  624 DAVIS ST                                                                                 CRESTLINE       OH    44827‐1307
CHARLES L LE VEY                                   14 WEST CHURCH STREET                                                                        BLACKWOOD       NJ    08012‐3965
CHARLES L LEHMAN                                   6637 KARYN DR                                                                                AVON            IN    46123‐8593
CHARLES L LEHMAN & JEANNETTE A LEHMAN JT TEN       6637 KARYN DR                                                                                AVON            IN    46123‐8593

CHARLES L LEICY                                    2974 MABEE ROAD                                                                              MANSFIELD       OH    44903‐9116
CHARLES L LINGUA JR & ROSE ANN LINGUA JT TEN       12384 SANTA MARIA DR                                                                         ST LOUIS        MO    63138‐2651
CHARLES L LONG                                     5675 HIDDEN LAKE DR                                                                          LACK PORT       NY    14094‐6282
CHARLES L LOVERIDGE                                15 CROWS NEST LN                                                                             MARSHFIELD      MA    02050‐3161
CHARLES L LOW                                      4517 BIG TANK ROAD                                                                           LAKE WALES      FL    33898‐7130
CHARLES L LOWE                                     7034 CHAPPELL CIRCLE NW                                                                      DORAVILLE       GA    30360‐2404
CHARLES L LYNCH                                    9140 BALSPACH RD RT2                                                                         CANAL WNCHSTR   OH    43110‐9802
CHARLES L MADDEN & MARY T MADDEN JT TEN            21 CONWELL DR                                                                                MAPLE GLEN      PA    19002‐3310
CHARLES L MANIER                                   8035 OAK                                                                                     TAYLOR          MI    48180‐2259
CHARLES L MANION III                               4 ROCKYCLIFF DRIVE                                                                           LINCOLN         RI    02865‐5030
CHARLES L MARDIS                                   1847 W DESERT LN                                                                             GILBERT         AZ    85233‐1741
CHARLES L MATHEWS                                  117 W MADISON AVE PO BOX 103                                                                 MILTON          WI    53563‐0103
CHARLES L MATTHEWS                                 PO BOX 15021                                                                                 DETROIT         MI    48215‐0021
CHARLES L MAY                                      8975 CAIN DRIVE NE                                                                           WARREN          OH    44484‐1704
CHARLES L MC ANELLY                                5059 BLAIR DR                                                                                TROY            MI    48098‐4022
CHARLES L MCKINSTRY                                2519 N 45TH ST                                                                               MILWAUKEE       WI    53210‐2915
CHARLES L MILLER                                   11549 DAYTON‐GREENVILLE PIKE                                                                 BROOKVILLE      OH    45309‐9647
CHARLES L MILLER                                   11217 HARTLAND RD                                                                            FENTON          MI    48430‐2578
CHARLES L MILLER                                   2136 E BATAAN DR                                                                             KETTERING       OH    45420‐3610
CHARLES L MOORE                                    3120 INDEPENDENCE ST                # 10                                                     CPE GIRARDEAU   MO    63703‐5043
CHARLES L MOORE & CAROL A MOORE JT TEN             10210 ANTHONY DR                                                                             JACKSON         MI    49201‐8574
CHARLES L MOORER                                   2221 DENTON                                                                                  HAMTRAMCK       MI    48212‐3615
CHARLES L MORSE & FRANCES E MORSE JT TEN           20480 VETERANS BLVD                 UNIT 222                                                 PT CHARLOTTE    FL    33954‐2261
CHARLES L MOTTON                                   18378 BRICK MILL RUN                                                                         STRONGSVILLE    OH    44136‐7149
CHARLES L MOYLAN                                   20 ACORN LN                                                                                  PEMBROKE        MA    02359‐2627
CHARLES L MULLINS                                  815 TROY RD                                                                                  COLLINSVILLE    IL    62234‐5560
CHARLES L NARTKER & SANDRA L NARTKER JT TEN        2567 CELIA DRIVE                                                                             BEAVERCREEK     OH    45434‐6815
CHARLES L NELSON                                   1750 HALBERT DR                                                                              POLAND          OH    44514‐1316
CHARLES L NELSON                                   1707 DORCHESTER DR                                                                           NICHOLS HILLS   OK    73120‐1005
CHARLES L NILES & MAXINE S NILES JT TEN            4643 WEBBER ST                                                                               SARASOTA        FL    34232‐5259
CHARLES L NOBLE                                    2407 FOREST OAKS LN 167                                                                      ARLINGTON       TX    76006‐6048
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 709 of 850
Name                                              Address1                                Address2             Address3          Address4          City            State Zip

CHARLES L NOBLE & KATHLEEN NOBLE JT TEN           2407 FOREST OAKS LN 167                                                                          ARLINGTON       TX    76006‐6048
CHARLES L O'HERRON                                8825 HYNE RD                                                                                     BRIGHTON        MI    48114
CHARLES L OAKLEY                                  PO BOX 96                                                                                        WOODHULL        NY    14898‐0096
CHARLES L ODOMS                                   2092 GREENFIELD RD                                                                               BERKLEY         MI    48072‐1025
CHARLES L OLIVER JR & BETTY M R OLIVER JT TEN     15705 KINGS DR                                                                                   ATHENS          AL    35611‐5667
CHARLES L PAGE II                                 5257 FARM RD                                                                                     WATERFORD       MI    48327‐2421
CHARLES L PANTINO & CHARLES A PANTINO JT TEN      5454 LEE STREET                                                                                  FERNANDINA      FL    32034‐4921

CHARLES L PEARSON                                 3826 OLD US 41 N                                                                                 VALDOSTA        GA    31602‐6818
CHARLES L PENSON                                  29208 W CHANTICLEER DR                                                                           SOUTHFIELD      MI    48034‐6904
CHARLES L PETERS                                  1236 WOODSIDE DR                                                                                 ANDERSON        IN    46011‐2462
CHARLES L PFISTER                                 723 ENSLEN ST SW                                                                                 HARTSELLE       AL    35640‐3613
CHARLES L PHILLIPS                                14220 S SUNNYLANE                                                                                OKLAHOMA CITY   OK    73160‐9609
CHARLES L PREMO                                   3457 MURPHY LANE                                                                                 COLUMBIA        TN    38401
CHARLES L PUGSLEY                                 8621 S 800 W                                                                                     DALEVILLE       IN    47334‐9801
CHARLES L PURVES JR                               3200 E FARRAND RD                                                                                CLIO            MI    48420‐9162
CHARLES L QUINN                                   412 HIGHWAY 583 N                                                                                TYLERTOWN       MS    39667‐6604
CHARLES L RAPPLEY                                 7607 N OLD CHANNEL TRL                                                                           MONTAGUE        MI    49437‐9281
CHARLES L RASMER                                  1018 22ND ST                                                                                     BAY CITY        MI    48708‐7939
CHARLES L REED JR                                 8603 RIVER ROAD‐REDESDALE                                                                        RICHMOND        VA    23229‐8301
CHARLES L RESETAR TR CHARLES L RESETAR LIVING     18761 MOORE                                                                                      ALLEN PK        MI    48101‐1569
TRUST UA 6/30/93
CHARLES L REYNOLDS & JACQUELINE P REYNOLDS JT TEN 11 ROWE RD                                                                                       RED HOOK        NY    12571‐4745

CHARLES L RHEAUME JR                              16978 W RIVER RD                                                                                 COLUMBIA STA    OH    44028‐9012
CHARLES L RHODES JR & ROBERTA A RHODES JT TEN     1447 CHANEL LOOP                                                                                 BILLINGS        MT    59101‐8951

CHARLES L ROACH                                   7085 N 35TH AVENUE                                                                               PAWNEE          IL    62558‐8206
CHARLES L ROBBINS & ELLEN KING ROBBINS JT TEN     1610 HAZELWOOD COURT WST                                                                         GREENWOOD       IN    46143‐7852

CHARLES L RODGERS                                 8737 INDIGO LN                                                                                   YPSILANTI       MI    48197
CHARLES L ROGERS                                  4140 CADLE CREEK RD                                                                              EDGEWATER       MD    21037‐4529
CHARLES L ROGERS                                  2700 OLD HICKORY DRIVE                                                                           MARIETTA        GA    30064‐1848
CHARLES L ROITER                                  2215 SPICERVILLE HW                                                                              CHARLOTTE       MI    48813
CHARLES L ROMINES                                 H C 77 BOX 552                                                                                   PITTSBURGH      MO    65724‐9715
CHARLES L ROOD                                    959 PERKINS/JONES RD                                                                             WARREN          OH    44483‐1853
CHARLES L ROSE                                    711 BERKSHIRE CT                                                                                 DOWNERS GROVE   IL    60516‐4920
CHARLES L ROSE III                                4789 RIVERVIEW DR                                                                                BRIDGEPORT      MI    48722‐9761
CHARLES L ROSS II                                 255 SKYLINE DRIVE                                                                                ROSCOMMON       MI    48653‐9679
CHARLES L ROSS II & SUE A ROSS JT TEN             255 SKYLINE DRIVE                                                                                ROSCOMMON       MI    48653‐9679
CHARLES L ROWE                                    PO BOX 3399                                                                                      RIVERVIEW       FL    33568‐3399
CHARLES L ROY                                     4021 E 52ND ST                                                                                   MT MORRIS       MI    48458‐9456
CHARLES L SANDERS                                 928 RINGWOOD AVE                                                                                 HASKELL         NJ    07420‐1312
CHARLES L SATER                                   4433 GIFFORD ROAD                                                                                BLOOMINGTON     IN    47403‐9262
CHARLES L SAYLOR                                  324 HERR ST                                                                                      ENGLEWOOD       OH    45322‐1220
CHARLES L SCHMELTER                               PO BOX 581                                                                                       HOBART          IN    46342‐0581
CHARLES L SCHNOBLEN                               15971 ‐ 30 MILE RD                                                                               RAY TWP         MI    48096‐1007
CHARLES L SCHWARTING & HELEN R SCHWARTING JT      190 RED MILLS RD                                                                                 PINE BUSH       NY    12566‐6218
TEN
CHARLES L SCOTT JR                                3610 N GLENWOOD AVE                                                                              MUNCIE          IN    47304‐1815
CHARLES L SEKRENES                                2405 N VASSAR RD                                                                                 BURTON          MI    48509‐1383
CHARLES L SETZLER & ELIZABETH A SETZLER JT TEN    47 RUTH AVE                                                                                      PHOENIXVILLE    PA    19460‐1917
CHARLES L SMITH & CHARLOTTE B SMITH JT TEN        RD 4 BOX 4181                                                                                    STROUDSBURG     PA    18360‐9145
CHARLES L SMITH & NADA K SMITH JT TEN             4817 NE 18TH PLACE                                                                               OCALA           FL    34470‐1187
CHARLES L SMITH JR                                7359 RIVERBY DR                                                                                  CINCINNATI      OH    45255‐3918
CHARLES L SOVERNS                                 6146 SR 67 SOUTH                                                                                 PENDLETON       IN    46064‐9308
CHARLES L SPANGLER                                4636 BELAIR CIR                                                                                  PLAINFIELD      IN    46168‐9099
CHARLES L SPENCER                                 45 S SECOND ST                                                                                   CAMDEN          OH    45311‐1047
CHARLES L SPRINGER                                10575 LANGE RD                                                                                   BIRCH RUN       MI    48415‐9797
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 710 of 850
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

CHARLES L SPRINGER                              PO BOX 706                                                                                     OAK GROVE       MO    64075‐0706
CHARLES L STACEY                                2716 SURFSIDE DR                                                                               VILLA HILLS     KY    41017‐1073
CHARLES L STALEY                                20528 CARLYLE DR                                                                               STRONGSVILLE    OH    44136‐4004
CHARLES L STEFFY                                G3421 W HOME AVE                                                                               FLINT           MI    48504
CHARLES L STIFFLER                              PO BOX 852                                                                                     ANDERSON        IN    46015‐0852
CHARLES L STIGLER JR                            2503 TIGANI DR                                                                                 WILMINGTON      DE    19808‐4130
CHARLES L STOTLER JR                            5343 E RIVER RD                                                                                FAIRFIELD       OH    45014‐2427
CHARLES L SUGGS                                 1053 WINCHESTER                                                                                LINCOLN PARK    MI    48146‐4248
CHARLES L SULDA                                 5 HOBSON CT                                                                                    WOODRIDGE       IL    60517‐1516
CHARLES L SWANK                                 5 HATHAWAY COMMONS                                                                             LEBANON         OH    45036‐3833
CHARLES L SWIFT                                 294 BROOKS SCHOOL HOUSE RD                                                                     CALHOUN         KY    42327‐9702
CHARLES L TANGALAN                              #608                                  1122 E PIKE ST                                           SEATTLE         WA    98122‐3916
CHARLES L TANNER                                22360 RATTLESNAKE RD                                                                           COWGILL         MO    64637‐9642
CHARLES L TAR                                   30130 CARMEL RD                                                                                SUN CITY        CA    92586‐5207
CHARLES L THATCHER                              4629 NW 30TH PL                                                                                OCALA           FL    34482‐8396
CHARLES L TILLERY                               3330 EAST 48TH ST                                                                              INDIANAPOLIS    IN    46205‐1627
CHARLES L TOLBERT                               5739 FLEMING AVENUE                                                                            OAKLAND         CA    94605‐1129
CHARLES L TOWNSEND                              5420 GEORGIA                                                                                   KANSAS CITY     KS    66104‐3059
CHARLES L TROTTER                               17741 S COUNTRY CLUB LN                                                                        CNTRY CLB HLS   IL    60478‐4920
CHARLES L TROUPE JR                             6 N MAIN STREET                                                                                SIMS            IN    46986‐9666
CHARLES L TROUT                                 12820 W ASH STREET                                                                             EL MIRAGE       AZ    85335
CHARLES L TURNER                                774 S SQUIRREL                                                                                 AUBURN HILLS    MI    48326‐3865
CHARLES L VINCENT                               14436 GREENWICH                       SITE 213‐B                                               UTICA           MI    48315‐3755
CHARLES L VOSS & TERESA VOSS JT TEN             1352 ROLLING OAKS RD                                                                           CAROL STREAM    IL    60188‐4606
CHARLES L WADE & CHARLES A WADE JT TEN          6291 E PIERSON                                                                                 FLINT           MI    48506‐2253
CHARLES L WARWICK                               PO BOX 294                                                                                     BRONSON         FL    32621‐0294
CHARLES L WAWRO                                 27862 REO RD                                                                                   GROSSE ILE      MI    48138‐2080
CHARLES L WAWRO & SHARON L WAWRO JT TEN         27862 REO RD                                                                                   GROSSE ILE      MI    48138‐2080
CHARLES L WEBBER                                1525 ALSTON STREET                                                                             SHREVEPORT      LA    71101‐2435
CHARLES L WHITAKER JR                           198 SOUTH KANE ROAD                                                                            WEBBEVILLE      MI    48892‐9015
CHARLES L WHITE                                 161 FALSON POINT DRIVE                                                                         CANTON          GA    30114‐9528
CHARLES L WHITTED                               6821 S CALLAWAY DR                                                                             CHANDLER        AZ    85249‐4488
CHARLES L WILBANKS                              3478 DALLAS HWY                                                                                ACWORTH         GA    30101‐7657
CHARLES L WILLIAMS                              PO BOX 3745                                                                                    HIGHLAND PARK   MI    48203‐0745
CHARLES L WILLIAMS                              381B UNION AVE                                                                                 STATEN ISLAND   NY    10303
CHARLES L WILSON                                4123 N CAPITAL                                                                                 INDIANAPOLIS    IN    46208‐3812
CHARLES L WINGLE                                26 AVENAL RD                                                                                   BALTIMORE       MD    21221‐7005
CHARLES L WOLFRAM & VIOLET F WOLFRAM JT TEN     69625 US 31                                                                                    LAKEVILLE       IN    46536‐9735

CHARLES L WU & MRS ROSE Q WU JT TEN             30 SHELLEY RD                                                                                  BRICK           NJ    08724‐0745
CHARLES L YEO                                   937 NE DEVON DR                                                                                LEE'S SUMMIT    MO    64064
CHARLES L YOUNG                                 27600 E STATE RTE P                                                                            PLEASANT HILL   MO    64080‐8199
CHARLES L YOUNG JR                              200 WEST POLK                                                                                  HARRISONVILLE   MO    64701‐2339
CHARLES L ZOLLA                                 100 SPRING GARDEN DR                                                                           BOARDMAN        OH    44512‐6527
CHARLES LAMBRECHT RUIFROK                       69 WEBBER PLACE                                                                                GROSSE POINTE   MI    48236
CHARLES LAMONTAGNE                              75189 VAN DYKE                                                                                 BRUCE           MI    48065
CHARLES LANA & DIANE LANA JT TEN                89 UREELAND AVE                                                                                HAWTHORNE       NJ    07506
CHARLES LANE MC CARDELL                         1030 SOUTH BARTON STREET              #278                                                     ARLINGTON       VA    22204‐4858
CHARLES LAPOINTE                                28779 MERCURY LN                                                                               CHESTERFIELD    MI    48047‐4837
CHARLES LE PAGE                                 36 HILLSDALE ST                                                                                WOONSOCKET      RI    02895‐3616
CHARLES LEARMOUTH & MATTHEW VASICHEK JT TEN     8838 AUTUMN HILL                                                                               RANCHO          CA    91730‐3337
                                                                                                                                               CUCAMONG
CHARLES LECUYER                                 724 FORESTBROOK ROAD                                                                           MYRTLE BEACH    SC    29579‐7966
CHARLES LEDBETTER JR                            PO BOX 592                                                                                     ANDERSON        IN    46015‐0592
CHARLES LEE                                     3650 LINCOLN ST                                                                                DETROIT         MI    48208‐2956
CHARLES LEE MCMAHAN                             124 ABRAMS ST                                                                                  SILVERSTREET    SC    29145
CHARLES LEE NELSON                              1302 ELM ST                                                                                    BELOIT          WI    53511‐4222
CHARLES LEE WHITETREE                           PO BOX 1343                                                                                    CHEROKEE        NC    28719‐1343
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 711 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

CHARLES LEFKOWITZ & MIRIAM LEFKOWITZ JT TEN      1913 AVE R                                                                                     BROOKLYN        NY    11229‐3001

CHARLES LEGREE DYSON                          746 ADGER RD                                                                                      COLUMBIA        SC    29205‐1910
CHARLES LELAND BROWN & MARY JEAN BROWN JT TEN 17729 ASH DR                                                                                      STRONGSVILLE    OH    44149‐6803

CHARLES LENARD ANDERSON                          74 MURRAY TERR                                                                                 TONAWANDA       NY    14150‐5224
CHARLES LENGJAK                                  520 E WARREN                                                                                   ROCKTON         IL    61072‐2255
CHARLES LEO PILZER                               7425 BUFFALO AVENUE                                                                            TAKOMA PARK     MD    20912‐4144
CHARLES LESLIE HENSEL                            9085 MERRILL COURT                                                                             FISHERS         IN    46038‐3734
CHARLES LESTER JR                                410 EAST COLUMBUS DRIVE                                                                        TAMPA           FL    33602‐1609
CHARLES LESTER PUTNAM JR                         3120 MILL CREEK RD                                                                             MILLBORO        VA    24460
CHARLES LEVINE & HELENE LEVINE JT TEN            9443 N KILBOURN                                                                                SKOKIE          IL    60076‐1364
CHARLES LEWIS                                    251 N HIGHLAND AVE                                                                             AKRON           OH    44303‐1536
CHARLES LEWIS JR                                 6512 PARAMOUNT SPRINGS DR                                                                      ANDERSON        IN    46013‐9410
CHARLES LIEB CUST ANDREW MITCHEL LIEB UGMA IL    660 BENT CREEK RDG                                                                             DEERFIELD       IL    60015‐4529

CHARLES LIECHTUNG                                55 CAUSEWAY                                                                                    LAWRENCE        NY    11559‐1513
CHARLES LINCK & MARILYN LINCK JT TEN             1710 NW O'BRIEN 204                                                                            LEES SUMMIT     MO    64081‐1537
CHARLES LINDZY                                   1331 E VICTORIA                                                                                SOUTH BEND      IN    46614‐1477
CHARLES LIONEL ARMSTRONG                         3416 RYAN AVE                                                                                  FORT WORTH      TX    76110‐3827
CHARLES LITTLETON                                310 LITTLETON DRIVE                                                                            SALEM           SC    29676‐3701
CHARLES LLOYD                                    15334 LAWTON                                                                                   DETROIT         MI    48238‐2803
CHARLES LLOYD FREEMAN IV EX UW CHARLES LLOYD     891 FORRESTER CEMETERY RD                                                                      COVINGTON       GA    30014‐8585
FREEMAN III
CHARLES LOPATKA & LORETTA M LOPATKA JT TEN       4510 SHARON DR                                                                                 WILMINGTON      DE    19808‐5612
CHARLES LOUIS ARIDA 2ND                          17354 LOUISE                                                                                   SOUTHFIELD      MI    48075‐3481
CHARLES LOUIS DUBIN & ANDREW KNACKSTEDT JT TEN   1062 ARROYO GRANDE DR                                                                          NAPA            CA    94558

CHARLES LOVE                                     48540 CELEBRITY WOODS CT                                                                       SHELBY TWSP     MI    48317‐2608
CHARLES LUDIE BETHAY                             6331 WILLENA DR                                                                                MOUNT MORRIS    MI    48458‐2737
CHARLES LUEDTKE                                  710 S 5TH AVE                                                                                  WAUSAU          WI    54401‐5304
CHARLES LYNN DROSTE                              4357 E VIENNA ROAD                                                                             CLIO            MI    48420‐9753
CHARLES LYNN FRANCISCO                           1828 MURRAY ST                                                                                 PHILADELPHIA    PA    19115‐3820
CHARLES M ALLINSON                               2753 N W 122 AVE                                                                               CORAL SPRINGS   FL    33065‐3239
CHARLES M ALWINE                                 1610 JAQUES DR                                                                                 LEBANON         IN    46052‐9021
CHARLES M ANDREAN CUST CHARLES SO ANDREAN        8777 TULARE DR                        410D                                                     HUNTINGTN BCH   CA    92646
UGMA TX
CHARLES M ARMISTEAD                              PO BOX 4585                                                                                    EATONTON        GA    31024‐4585
CHARLES M ATHA                                   6120 COUNTY ROAD 551                                                                           BROWNWOOD       TX    76801‐0030
CHARLES M BAIN                                   6049 GULLEY                                                                                    TAYLOR          MI    48180‐1273
CHARLES M BAUMANN & DONNA BAUMANN JT TEN         3520 ANGORA TRL                                                                                SCHERTZ         TX    78154‐2507

CHARLES M BEAN & MARGARET E BEAN JT TEN          NEW BUNKER HILL                       6 W CENTER ST                                            LEBANON         PA    17046‐9338
CHARLES M BECK                                   28525 JOAN                                                                                     ST CLAIR SHRS   MI    48081‐1033
CHARLES M BEDENKO & PATRICIA L BEDENKO JT TEN    26132 VIRGINIA                                                                                 WARREN          MI    48091‐3975

CHARLES M BERK                                   2601 W WILLOW LAKE DR                                                                          PEORIA          IL    61614‐1159
CHARLES M BLACKBURN                              12464 MADONNA R 1                                                                              LANSING         MI    48917‐8617
CHARLES M BONE                                   5822 EAST AVE                                                                                  BALTIMORE       MD    21206‐1413
CHARLES M BORG                                   7411 CLINTONVILLE RD                                                                           CLARKSTON       MI    48348‐4929
CHARLES M BOURN & ANN BOURN JT TEN               ROUTE 1                                                                                        GORIN           MO    63543‐9801
CHARLES M BRAUCHER                               3337 MAE DR                                                                                    WARREN          OH    44481‐9210
CHARLES M BRECHTING                              919 E ROSS AVE                                                                                 PHOENIX         AZ    85024‐4140
CHARLES M BRIGHAM                                2292 PARKWOOD DR N                                                                             WARREN          OH    44485‐2329
CHARLES M BROWN                                  2089 PLEASANT VALLEY RD                                                                        NEWARK          DE    19702‐2101
CHARLES M BUCKERIDGE                             C/O BUCKERIDGE DOOR CO INC            15 E UNIVERSITY                                          ARLINGTON HTS   IL    60004‐1801
CHARLES M BUTLER                                 3347 CASPIAN DRIVE                                                                             PALMDALE        CA    93551‐4894
CHARLES M BUYRN                                  3214 CAMELLIA DR                                                                               PORTSMOUTH      VA    23703‐3704
CHARLES M BYRON                                  22 ROBIN RD                                                                                    READING         MA    01867‐3810
                                                09-50026-mg           Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 712 of 850
Name                                              Address1                           Address2             Address3          Address4          City             State Zip

CHARLES M CALDWELL                             97 POPLAR WAY                                                                                  YODER            IN    46798‐9417
CHARLES M CAMPBELL TR CHARLES M CAMPBELL CO    4190 TELEGRAPH RD STE 2100                                                                     BLOOMFIELD       MI    48302
EMP PRF SHR TR 03/23/64
CHARLES M CAPPA                                3357 HILLSDALE DR                                                                              SALT LAKE CITY   UT    84119‐2809
CHARLES M CARNEVALE                            BOX 1182                                                                                       PITTSFIELD       MA    01202‐1182
CHARLES M CARR                                 7208 N FLORA AVE                                                                               GLADSTONE        MO    64118‐2235
CHARLES M CHATFIELD                            1111 GLEN DALE ST                                                                              BURTON           MI    48509‐1937
CHARLES M CHESHER                              2923 BUCKNER LN                                                                                SPRING HILL      TN    37174‐8242
CHARLES M CLATANOFF                            4172 36TH ST S                                                                                 ARLINGTON        VA    22206‐1806
CHARLES M COOKE                                671 ST PAUL AVE                                                                                DAYTON           OH    45410‐1934
CHARLES M CULVER                               897 SE 69TH PLACE                                                                              OCALA            FL    34480‐6643
CHARLES M DALMON                               27350 GRANDVIEW AVENUE                                                                         HAYWARD          CA    94542
CHARLES M DAVIS                                1734 W CAROLINA AVENUE                                                                         HARTSVILLE       SC    29550‐4812
CHARLES M DAVIS JR                             2718 MCDOWELL RD                                                                               DURHAM           NC    27705‐5716
CHARLES M DONNELLY                             2 POST BROOK RD S                                                                              WEST MILFORD     NJ    07480‐4519
CHARLES M DOSS                                 131 KEOWN RD SE                                                                                ROME             GA    30161‐8508
CHARLES M DRESOW                               PO BOX 679                                                                                     TIBURON          CA    94920‐0679
CHARLES M ELLIOTT                              309 CENTRAL ST                                                                                 JOHNSON CITY     TN    37604‐1634
CHARLES M ERDMAN                               653 7TH AVE MILLCRK TRL PK                                                                     WILMINGTON       DE    19808‐4919
CHARLES M FAULKNER                             939 E 101ST ST                                                                                 INDIANAPOLIS     IN    46280
CHARLES M FOSS                                 4 FREEMAN LN                                                                                   ORLEANS          MA    02653‐2010
CHARLES M GAULT JR                             9443 W 500 S                                                                                   LAPEL            IN    46051‐9722
CHARLES M GERWIN                               1809 LATIMER                                                                                   TROY             MI    48083‐6300
CHARLES M GLAVE                                136 HONEYSUCKLE DRIVE                                                                          WHITE HOUSE      TN    37188‐8050
CHARLES M GOODEN                               PO BOX 53                                                                                      HAMILTON         OH    45012‐0053
CHARLES M GOODMAN                              72 LINCOLN RD                                                                                  SHARON           MA    02067‐1546
CHARLES M GOODMAN                              178 GOODMAN ROAD                                                                               PELAHATCHIE      MS    39145‐2961
CHARLES M GRADDY                               4310 S MADISON                                                                                 ANDERSON         IN    46013‐1439
CHARLES M GRATE & MILDRED A GRATE JT TEN       135 FOGGY RIVER RD                                                                             HOLLISTER        MO    65672‐5387
CHARLES M GRATE JR                             135 FOGGY RIVER RD                                                                             HOLLISTER        MO    65672‐5387
CHARLES M HAAR                                 300 GRISWOLD HALL                     HARVARD LAW SCHOOL                                       CAMBRIDGE        MA    02138
CHARLES M HAAS                                 11412 HUMMINGBIRD LN                                                                           MOKENA           IL    60448‐9245
CHARLES M HAGEN                                1418 W 11‐MILE                                                                                 BERKLEY          MI    48072‐3043
CHARLES M HAGGARTY                             4 GERMANTOWN ROAD                                                                              DERRY            NH    03038‐5828
CHARLES M HALE                                 5412 GENESEE RD                                                                                LAPEER           MI    48446‐2746
CHARLES M HAMBY                                110 BREAKWATER CIR NW                                                                          ATLANTA          GA    30328‐1804
CHARLES M HAMILTON                             102 W BROADWAY HWY                                                                             CHARLOTTE        MI    48813‐9532
CHARLES M HAMILTON & ELEANOR M HAMILTON JT TEN 4757 FOREST RD                                                                                 LEONARD          MI    48367‐1813

CHARLES M HANKS                                   12254 JENNINGS RD                                                                           LINDEN           MI    48451‐9477
CHARLES M HARRIS & CHRISTINE K HARRIS TEN ENT     2046 LIMESTONE RD                                                                           COCHRANVILLE     PA    19330‐9795

CHARLES M HARRIS JR                               492 MATURE RD                                                                               COCHRANVILLE     PA    19330‐1832
CHARLES M HARWOOD                                 844 CRESCENT DR                                                                             AUGRES           MI    48703‐9574
CHARLES M HEISER                                  1457 VALLEY DR                                                                              LAPEER           MI    48446‐1464
CHARLES M HENDRICKS III                           4040 COLT MNR                                                                               CUMMING          GA    30040‐1723
CHARLES M HOBBS                                   3950 S GLADBURY RD                                                                          HARTFORD CITY    IN    47348‐9740
CHARLES M HOGLE                                   1712 CORCORAN ST NW                APT 3                                                    WASHINGTON       DC    20009‐2415
CHARLES M HORNICK & PATRICIA C HORNICK JT TEN     123 NOTTINGHAM COURT                                                                        TROY             MI    48085‐3238

CHARLES M HOSEY                                   103 ARNETT DR                                                                               EULESS           TX    76040‐4647
CHARLES M HOUCHINS                                228 BAILEY RD                                                                               SMITHS GROVE     KY    42171‐8844
CHARLES M HUBINSKY                                505 GLACIER VIEW                                                                            YOUNGSTOWN       OH    44509‐1930
CHARLES M HUGHES                                  6842 CLEVELAND RD                                                                           WOOSTER          OH    44691‐9692
CHARLES M HUTTON                                  210 GREENWOOD                      CUT OFF ROAD                                             WEATHERFORD      TX    76086
CHARLES M JOHNSON & PATRICIA P JOHNSON JT TEN     405 RIVER ST SW                                                                             CHATFIELD        MN    55923‐1349

CHARLES M JOHNSTON TR UA 04/30/82 WITH CHARLES 6101 PLANTATION DR                                                                             GRAND BLANC      MI    48439‐9525
M JOHNSTON
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 713 of 850
Name                                                Address1                              Address2             Address3          Address4          City           State Zip

CHARLES M KAUSCH TR CHARLES M KAUSCH TRUST UA       4312 COBBLESTONE DR                                                                            COPLEY         OH    44321‐2927
04/03/02
CHARLES M KELLER                                    200 NW PECAN VALLEY RD                                                                         PAULS VALLEY   OK    73075‐9115
CHARLES M KIDD                                      12668 STOEPEL                                                                                  DETROIT        MI    48238‐3115
CHARLES M KING                                      4478 BAILEY RD                                                                                 DIMONDALE      MI    48821‐9705
CHARLES M KOHLER                                    7821 S MC VICKER                                                                               BURBANK        IL    60459‐1226
CHARLES M KOSKI                                     1557 SANDRA ST                                                                                 OWOSSO         MI    48867‐1354
CHARLES M KRONENWETTER                              16790 W MELODY DRIVE                                                                           NEW BERLIN     WI    53151‐6570
CHARLES M KUNIK                                     8393 W WILSON RD                                                                               MONTROSE       MI    48457‐9198
CHARLES M LAWRENCE                                  8628 TRUMBELL AVE                                                                              ST LOUIS       MO    63121‐4114
CHARLES M LEUSNER & CARLA J LEUSNER JT TEN          12 TIMBERLEA LANE                                                                              CAPE MAY       NJ    08210‐1936
                                                                                                                                                   COURTHSE
CHARLES M LEWIS                                     813 DESOTA WAY                                                                                 MARTINSBURG    WV    25401‐0079
CHARLES M LINTON JR                                 8018 CLARK STATION RD                                                                          SEVERN         MD    21144‐2730
CHARLES M LIZZA & SHARON A LIZZA JT TEN             72 PROSPECT STREET                                                                             SUMMIT         NJ    07901‐2471
CHARLES M LOKEY JR                                  822 LONGWOOD DR NW                                                                             ATLANTA        GA    30305‐3908
CHARLES M LONGWORTH                                 3220 TREEBARK LN                                                                               FORT WAYNE     IN    46804‐2447
CHARLES M MACALUSO                                  1445 ALLEN RD                                                                                  WEBSTER        NY    14580‐9313
CHARLES M MACLAY                                    367 DUPREE DR                                                                                  HUNTSVILLE     AL    35806‐1075
CHARLES M MACLAY                                    367 DUPREE DRIVE                                                                               HUNTSVILLE     AL    35806‐1075
CHARLES M MANLEY                                    ROUTE #3 BOX 39                                                                                ARDMORE        OK    73401‐9527
CHARLES M MARTIN                                    38 STUDIO DR                                                                                   WABASH         IN    46992‐7600
CHARLES M MAU                                       APT 202                               12884 HERITAGE DR                                        PLYMOUTH       MI    48170‐2927
CHARLES M MAYLE                                     2817 E BLUEWATER HWY RT#1                                                                      IONIA          MI    48846‐9729
CHARLES M MCCRAY                                    2825 MOHAWK AVE                                                                                BALTIMORE      MD    21207‐7473
CHARLES M MCFARLAND                                 3400 HWY 219                                                                                   HUNTINGDON     TN    38344‐5214
CHARLES M MCKINNON                                  111 WEST VELMA AVE                                                                             LEMAY          MO    63125
CHARLES M MEREDITH III                              203 JUNIPER ST                                                                                 QUAKERTOWN     PA    18951‐1601
CHARLES M MICKEN                                    9 ANSLEY DR                                                                                    DOWNINGTOWN    PA    19335‐3272
CHARLES M MITCHELL JR                               4742 FREDERICK ROAD                                                                            DAYTON         OH    45414‐3923
CHARLES M MORIARTY                                  PO BOX 654                                                                                     HIGHLAND       MI    48357‐0654
CHARLES M MYERS & MRS JANET K MYERS JT TEN          93 GREENSBORO RD                                                                               DEDHAM         MA    02026‐5219
CHARLES M NOBLE III                                 2785 HWY 132                                                                                   RAYVILLE       LA    71269
CHARLES M NOBLE III EX UW EUGENIA A WHITEHURST      2785 HWY 132                                                                                   RAYVILLE       LA    71269‐5752

CHARLES M NORTHROP TR UA 12/22/89 CHARLES M   3000 GRADN AVENUE #614                                                                               DES MOINES     IA    50312
NORTHROP TRUST
CHARLES M NOTT                                5323 GREENSPRINGS DR                                                                                 HOUSTON        TX    77066‐2856
CHARLES M OTT                                 1691 N MICHIGAN RD                                                                                   EATON RAPIDS   MI    48827‐9220
CHARLES M PARRISH                             276 CYPRESS COVE                                                                                     MIDDLETON      TN    38052‐4499
CHARLES M PASTOVICH                           5492 CALLAWAY CIR                                                                                    AUSTINTOWN     OH    44515‐4196
CHARLES M PHILLIPS                            2245 SETTLERS PARK LOOP                                                                              ROUND ROCK     TX    78665
CHARLES M POND                                5802 S FENTON AVENUE                                                                                 INDIANAPOLIS   IN    46239‐9556
CHARLES M PORTER                              15225 ANNE AVENUE                                                                                    ALLEN PARK     MI    48101‐2613
CHARLES M PORTER                              49550 JUDD ROAD                                                                                      BELLEVILLE     MI    48111‐8618
CHARLES M PRATHER                             7147 HOLLY SQ                                                                                        TYLER          TX    75703‐5763
CHARLES M PRICE JR                            7 HICKORY LANE                                                                                       NORTHBROOK     IL    60062‐3805
CHARLES M RELIFORD                            3537 KENSINGTON                                                                                      KANSAS CITY    MO    64128‐2763
CHARLES M ROTHERMEL & MARY M ROTHERMEL JT TEN PO BOX 938                                                                                           BOLINGBROOK    IL    60440

CHARLES M RUCKER                                    RR 2 BOX 83C                                                                                   DUNCAN         OK    73533‐9614
CHARLES M SALERNO & PATRICIA A SALERNO JT TEN       11467 DENTON HILL RD                                                                           FENTON         MI    48430‐2525

CHARLES M SHROBA                                    10 ULSTER RD                                                                                   BREWSTER       NY    10509‐5816
CHARLES M SMITH                                     8646 TOWNER RD                                                                                 PORTLAND       MI    48875‐9474
CHARLES M SPANGLER III                              1342 2ND AVE                                                                                   CHAMBERSBURG   PA    17201‐9723
CHARLES M SPANGLER III & AMY JO B SPANGLER JT TEN   1342 2ND AVENUE                                                                                CHAMBERSBURG   PA    17202

CHARLES M SPRADLEY                                  1304 TAFT PARK                                                                                 METAIRIE       LA    70001‐3759
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 714 of 850
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

CHARLES M STALNAKER                              BOX 260                                                                                          WILBAUX          MT    59353‐0260
CHARLES M STAPLETON                              13830 STATE ROUTE 41                                                                             WEST UNION       OH    45693‐9751
CHARLES M STRAUB                                 12920 LINCOLN HILLS DR                                                                           LOWELL           MI    49331‐9790
CHARLES M STUART                                 4507 SPARKMAN DR NW                                                                              HUNTSVILLE       AL    35810‐3942
CHARLES M SUMMERS                                210 CAMBRIDGE DR                                                                                 CHARLOTTE        MI    48813‐2116
CHARLES M TAYLOR CUST DUANE J TAYLOR UGMA OH     14419 ONAWAY                                                                                     SHAKER HEIGHTS   OH    44120‐2840

CHARLES M TEETERS                                5122 WEST 8TH ST RD                                                                              ANDERSON         IN    46011‐9101
CHARLES M THORP                                  108 SILVIEW AVENUE                                                                               WILMINGTON       DE    19804‐3320
CHARLES M TOPCIK CUST CAROLYN D TOPCIK UGMA      2401 COLONY CT                                                                                   NORTHBROOK       IL    60062‐5203

CHARLES M TRUITT                                 200 HANTWERKER DR                                                                                DELMAR           DE    19940‐1312
CHARLES M TULEY & VALERIE D TULEY JT TEN         PO BOX 333                                                                                       ATCHISON         KS    66002‐0333
CHARLES M TVARDEK                                25343 BULL RIDGE DR                                                                              PORTER           TX    77365‐6505
CHARLES M VAUGHN                                 1980 S ANNABELLE                                                                                 DETROIT          MI    48217‐1192
CHARLES M WAITS                                  554 HARLEM RD                                                                                    WEST SENECA      NY    14224‐1151
CHARLES M WALL                                   BOX 193                                                                                          STATHAM          GA    30666‐0193
CHARLES M WALL                                   805 NORTH DANVILLE ST                                                                            ARLINGTON        VA    22201‐1919
CHARLES M WALTHER                                4035 DREAM ACRES DR                                                                              NORTH BRANCH     MI    48461‐8923
CHARLES M WARD                                   100 LAVENDER LN                                                                                  ROCKY HILL       CT    06067‐4219
CHARLES M WENZEL                                 652 ASTON GREENS BLVD                                                                            LEHIGH ACRES     FL    33974‐9564
CHARLES M WEST                                   1855 MICHAEL DR                                                                                  MARION           IN    46952‐8600
CHARLES M WHEDBEE                                2527 GLENWOOD AVE                                                                                RALEIGH          NC    27608‐1001
CHARLES M WHITTINGTON                            14427 WILLIAM CARR LANE                                                                          CENTREVILLE      VA    20120‐2834
CHARLES M WILLIAMSON                             2140 PARMALEE                                                                                    BRIGHTON         MI    48114‐9229
CHARLES M WOODALL                                2003 HAWTHORNE WAY                                                                               WOODSTOCK        GA    30189‐6284
CHARLES M WYNN                                   16644 WARD                                                                                       DETROIT          MI    48235‐4284
CHARLES M WYSE                                   1413 IROQUOIS                                                                                    ANN ARBOR        MI    48104‐4637
CHARLES M YARBROUGH                              1388 YARBROUGH RD                                                                                CASSATT          SC    29032‐9624
CHARLES MADDOX                                   512 W 13TH ST                                                                                    ANNISTON         AL    36201‐4512
CHARLES MALEK                                    1060 SYRACUSE CT                                                                                 DENVER           CO    80230‐7096
CHARLES MALINAUSKAS                              62480 RT 48                                                                                      GREENPORT        NY    11944‐2207
CHARLES MANTELL                                  2690 MORRIS AVE                         APT 4H                                                   BRONX            NY    10468
CHARLES MARION STARR                             116 KYFIELDS                                                                                     WEAVERVILLE      NC    28787‐9469
CHARLES MARK GORDON                              1504 GREYSTONE PARK CIRCLE                                                                       BIRMINGHAM       AL    35242‐7284
CHARLES MARK NOBLE                               2785 HWY 132                                                                                     RAYVILLE         LA    71269‐5752
CHARLES MARSHALL                                 5333 W GLADYS AV                        APT 1                                                    CHICAGO          IL    60644‐4710
CHARLES MARTIN KULP & ROSALIE MARY KULP JT TEN   4170 S 67TH STREET                                                                               GREENFIELD       WI    53220

CHARLES MASH JR                                  309 NORTH JOHATHAN STREET                                                                        HAGERSTOWN       MD    21740‐3767
CHARLES MASON                                    6247 EAGLE LAKE CT                                                                               KIMBALL          MI    48074‐1378
CHARLES MAURICE CHERRY                           9 STARSDALE CIR                                                                                  GREENVILLE       SC    29609‐1219
CHARLES MC DANIEL                                206 N 2ND ST                                                                                     PULASKI          IA    52584‐0114
CHARLES MC DOWELL GILLAN III                     411 WEST COLD SPRING LANE                                                                        BALTIMORE        MD    21210‐2845
CHARLES MCCLOUD                                  4420 VALLEY BROOK LANE                                                                           COLLEGE PARK     GA    30349‐1964
CHARLES MCCLURE JR                               50 CHARLIE LANE                                                                                  MURPHY           NC    28906‐4035
CHARLES MCKAY JR                                 100 S REYNOLDS ST                                                                                ALEXANDRIA       VA    22304
CHARLES MCKEE & FREDRIC D MCKEE JT TEN           11‐1 PARKSIDE CIRCLE                                                                             CANFIELD         OH    44406
CHARLES MCKINSTER                                2519 N 45TH ST                                                                                   MILWAUKEE        WI    53210‐2915
CHARLES MCKNIGHT                                 1246 E WALTON BLVD                      APT 226                                                  PONTIAC          MI    48340‐1581
CHARLES MCLAUGHLIN                               13359 WALNUT ST                                                                                  SOUTHGATE        MI    48195‐1143
CHARLES MCMILLAN JR                              440 S 10TH ST                                                                                    SAGINAW          MI    48601‐1943
CHARLES MERRILEES                                7432 HYACINTH DR                                                                                 AVON             IN    46123‐7135
CHARLES MESHULAM                                 23130 INGOMAR STREET                                                                             WEST HILLS       CA    91304‐4556
CHARLES MESSING                                  1470 SHERIDAN ST                        #16C                                                     HOLLYWOOD        FL    33020‐2287
CHARLES MICHAEL DAVIES                           1882 PEPPERWOOD PL                                                                               COMMERCE         MI    48390‐3970
                                                                                                                                                  TOWNSHIP
CHARLES MICHAEL KADLECIK                         179 ELIZABETH HEARTH ROAD                                                                        MOORESVILLE      NC    28115‐5776
CHARLES MICHAEL TEENIER                          6220 MORELAND LN                                                                                 SAGINAW          MI    48603
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 715 of 850
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

CHARLES MICHAEL WOODEN                            360 WILLOW BOUGH LN                                                                            OLD HICKORY     TN    37138‐1922
CHARLES MIKULSKI                                  2941 DOGWOOD                                                                                   VENICE          FL    34293‐3017
CHARLES MILAZZO                                   600 LINDEN AVENUE                                                                              BUFFALO         NY    14216‐2717
CHARLES MILES SCHMIDT                             2280 S GREENLAWN DR                                                                            TROY            OH    45373‐4312
CHARLES MILLARD                                   4202 GREGOR                                                                                    MT MORRIS       MI    48458‐8976
CHARLES MILLER                                    1205 E 33RD                                                                                    TEXARKANA       AR    71854‐2867
CHARLES MILLER UNGER                              30 BELDEN AVENUE                                                                               DOBBS FERRY     NY    10522‐1102
CHARLES MILLS & DONNA MILLS JT TEN                2414 HANOVER DRIVE                                                                             LANSING         MI    48911‐1690
CHARLES MINEMYER II EX UW CHARLES R MINEMYER      140 WALKER XING                                                                                BELLEFONTE      PA    16823‐8253

CHARLES MINTER                                    7649 PEPPER ST                                                                                 RCH CUCAMONGA   CA    91730

CHARLES MIOTTEL & CAROL MIOTTEL JT TEN            14944 JENNY DRIVE                                                                              WARREN          MI    48093‐6256
CHARLES MIRACLE                                   7937 ESTON                                                                                     CLARKSTON       MI    48348‐4012
CHARLES MITCHEL HANES                             927 SO RIVER STREET                                                                            FRANKLIN        OH    45005‐2746
CHARLES MITCHELL                                  4330 HIDDEN VALLEY DR                                                                          COLLEGE PK      GA    30349‐1839
CHARLES MITCHELL III                              PO BOX 867                                                                                     WESTLAKE        LA    70669‐0867
CHARLES MOLE 3RD                                  63 MAIN                                                                                        BOVINA CENTER   NY    13740
CHARLES MOLESSO                                   27 CORNELL STREET                                                                              STATEN ISLAND   NY    10302
CHARLES MOLL & JOHN S CLARK TR AMY E KIRCHER TR   BOYNE MOUNTAIN LODGE                                                                           BOYNE FALLS     MI    49713
UA 10/21/77
CHARLES MONTGOMERY                                421 PARIS S E                                                                                  GRAND RAPIDS    MI    49503‐5401
CHARLES MONTGOMERY NICELY CUST ELLEN MARIE        6846 DULUTH AVE                                                                                BALTIMORE       MD    21222‐1110
NICELY UTMA MD
CHARLES MORGAN WATKINS                            5804 N 37TH ST                                                                                 ARLINGTON       VA    22207‐1316
CHARLES MORRIS                                    100 SANDLEWOOD DR                                                                              MORROW          GA    30260‐2151
CHARLES MOSELEY & SONIA MOSELEY JT TEN            426 PIEDMONT AVE                                                                               GLENDALE        CA    91206‐3448
CHARLES MOSSER                                    58 PATRICIA LN                                                                                 MOUNT LAUREL    NJ    08054‐4407
CHARLES MUNERLYN                                  1710 BARBARA DRIVE                                                                             FLINT           MI    48504‐3621
CHARLES MUNSEY                                    7301 BENT GRASS LOOP                                                                           WINTER HAVEN    FL    33884‐4832
CHARLES MURPHY JR                                 233 EMS T 13 LN                                                                                LEESBURG        IN    46538‐9406
CHARLES MURRY RASH                                PO BOX 172                                                                                     CLARKSTON       MI    48347‐0172
CHARLES N & MARION M HOVDEN TR HOVDEN FAMILY      55 BROADMOOR DR                                                                                SAN FRANCISCO   CA    94132‐2008
TRUST UA 10/17/91
CHARLES N ABERNETHY III                           3 LANDS END WAY                                                                                ASHLAND         MA    01721‐1818
CHARLES N BELLINGER                               1018 JUNIPER ST                                                                                SUN PRAIRIE     WI    53590‐1135
CHARLES N BENNETT                                 246 HERITAGE DRIVE                                                                             ROCHESTER       NY    14615‐1156
CHARLES N BREWER                                  PO BOX 491                                                                                     ALLENDALE       SC    29810‐0491
CHARLES N BROOKS                                  68 WILSHIRE DRIVE                                                                              ASHEVILLE       NC    28806‐2737
CHARLES N BROWN JR                                3455 SEELEY RD                                                                                 CADILLAC        MI    49601‐9584
CHARLES N CHAMPAGNE                               421 N HURON ROAD                                                                               HARRISVILLE     MI    48740‐9791
CHARLES N CHYNOWETH                               22 CAYMAN PL                                                                                   PALM BCH GDNS   FL    33418‐8047
CHARLES N CHYNOWETH CUST CHRISTOPHER              224 ISLAND SHORES DR                                                                           GREENACRES      FL    33413‐2103
CHYNOWETH UGMA FL
CHARLES N CHYNOWETH CUST CHRISTOPHER              224 ISLAND SHORES DR                                                                           GREENACRES      FL    33413‐2103
CHYNOWETH UTMA FL
CHARLES N CHYNOWETH CUST CHRISTOPHER              224 ISLAND SHORES DR                                                                           GREENACRES      FL    33413‐2103
CHYNOWETH UTMA FL
CHARLES N CHYNOWETH CUST COOPER N CHYNOWETH       22 CAYMAN PL                                                                                   PALM BCH GDNS   FL    33418‐8047
UTMA FL
CHARLES N CLARK                                   5200 MASON RD                                                                                  MERRILL         MI    48637‐9611
CHARLES N ENTSMINGER                              12223 COVINGTON MANOR FARMS RD                                                                 FORT WAYNE      IN    46814‐9132
CHARLES N FALLON                                  619 WILDWOOD RD W                                                                              NORTHVALE       NJ    07647‐1125
CHARLES N FERGUSON                                6655 HANCOCK RIDGE                                                                             MARTINSVILLE    IN    46151‐7005
CHARLES N HALE                                    15712 STARE                                                                                    MISSION HILLS   CA    91343‐1524
CHARLES N HARRIS                                  1924 S FLORENCE AVE                                                                            TULSA           OK    74104‐6108
CHARLES N HICKOK                                  250 HIDDEN VALLEY LANE                                                                         HARRISBURG      PA    17112‐9279
CHARLES N LANE                                    5384 CURTIS RD                                                                                 NASHVILLE       MI    49073‐9684
CHARLES N LEEK                                    905 WEST ST                                                                                    LANSING         MI    48915‐1040
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 716 of 850
Name                                             Address1                               Address2             Address3          Address4          City            State Zip

CHARLES N LYLE II                                203 LAKE MARIAM CT                                                                              WINTER HAVEN    FL    33884‐3816
CHARLES N MASSIE                                 275 PARK PLACE DR                                                                               WADSWORTH       OH    44281‐8788
CHARLES N MASTEN                                 6211 EW WEST MIRAMAR DR                                                                         TUCSON          AZ    85715
CHARLES N MAY                                    5095 BAY ST NE                         APT 106                                                  ST PETERSBURG   FL    33703‐4069
CHARLES N MC CLATCHY JR                          314 N MC ARTHUR CIR                                                                             INDIANOLA       MS    38751‐2239
CHARLES N MCDADE                                 432 LINCOLN AVE                                                                                 TROY            OH    45373‐3132
CHARLES N MOHN                                   13724 S E 128TH ST                                                                              CLACKAMAS       OR    97015‐9371
CHARLES N NOHEL                                  7950 S RUESS RD                                                                                 OWOSSO          MI    48867‐9239
CHARLES N POLITO CUST MICHAEL H NELEMS UTMA GA   3878 VALLEY PARK DR SW                                                                          LILBURN         GA    30047‐2239

CHARLES N RAAB                                   200 MAPLE ST                                                                                    TUSTIN          MI    49688‐9250
CHARLES N RICH JR                                901 MITCHELL BRANCH                                                                             MORGANTON       GA    30560‐3047
CHARLES N ROSE III & MARIE L ROSE JT TEN         PO BOX 9214                                                                                     BOLTON          CT    06043
CHARLES N RUNKLE                                 11200 W STATE ROAD 32                                                                           YORKTOWN        IN    47396‐9797
CHARLES N STEPHENS & EVELYN D STEPHENS JT TEN    713 TIMBERHILL DR                                                                               HURST           TX    76053‐4325

CHARLES N VICKERMAN                              434 COUNTRYSIDE DR                                                                              NAPLES          FL    34104‐6722
CHARLES N WILLIAMSON JR                          BOX 1601                                                                                        ROSWELL         GA    30077‐1601
CHARLES NALBANDIAN                               3015 BROCKMAN BVLD                                                                              ANN ARBOR       MI    48104‐4716
CHARLES NARDONI CUST DAVID C NARDONI UTMA CA     335 S REESE                                                                                     BURBANK         CA    91506‐2723

CHARLES NARDONI CUST EMILY M NARDONI UTMA CA     335 S REESE                                                                                     BURBANK         CA    91506‐2723

CHARLES NARDONI CUST JENNIFER A NARDONI UTMA     335 S REESE PL                                                                                  BURBANK         CA    91506‐2723
CA
CHARLES NATHAN WILKES                            310 SCHOOL ST                                                                                   HUDSON          MI    49247‐1426
CHARLES NEUSTADT                                 25 DURLAND ROAD                                                                                 FLORIDA         NY    10921‐1039
CHARLES NEWVINE & MARY NEWVINE TEN ENT           229 HANCHETT ST                                                                                 SAINT CHARLES   MI    48655‐1827
CHARLES NG PING CHEUN                            53 DRAKE LANDING COMMON                OKOTOKS AB                             T1S 2M5 CANADA
CHARLES NICOLAS & CLARA P NICOLAS JT TEN         184 ASPEN ST                                                                                    SWAMPSCOTT      MA    01907‐2156
CHARLES NICOLOFF                                 242 MUIRFIELD AVE SE                                                                            SALEM           OR    97306
CHARLES NIEBERGALL                               3412 PALOMA DRIVE                                                                               HOLIDAY         FL    34690‐2431
CHARLES NOBLES JR                                14075 S CARLISLE ST                                                                             TERRE HAUTE     IN    47802‐9639
CHARLES NOORIAN & ALICE NOORIAN JT TEN           31242 SCENIC VIEW CIRCLE                                                                        FARMINGTN HLS   MI    48334‐4524
CHARLES NORDSTROM & CHARLEEN L NORDSTROM JT      3375 E TOMPKINSAVE #161                                                                         LAS VEGAS       NV    89121‐5781
TEN
CHARLES NORMAN HICKS                             3429 CHALMERS DR                                                                                WILM            NC    28409‐6909
CHARLES NORMAN KNOTT JR                          101 SHEWSBURY DR                                                                                WILMINGTON      DE    19810‐1400
CHARLES NOTHSTINE & CYNTHYA G NOTHSTINE JT TEN   244 TUTTERS NCK                                                                                 WILLIAMSBURG    VA    23185

CHARLES NOTLEY & MRS THERESA NOTLEY JT TEN       163‐43 25TH DRIVE                                                                               FLUSHING        NY    11358‐1005
CHARLES O BASHAM                                 17143 E RIVER RD                                                                                COLUMBIA STA    OH    44028‐9484
CHARLES O BICKELHAUPT                            15789 US HIGHWAY 52                                                                             MT CARROLL      IL    61053‐9012
CHARLES O BRATTON                                1223 MCKENNANS CHURCH RD                                                                        WILMINGTON      DE    19808‐2130
CHARLES O CAMBRIDGE                              8243 SHADY CT                                                                                   INDIANAPOLIS    IN    46217‐4955
CHARLES O CLARK                                  11500 N 200 WEST                                                                                ALEXANDRIA      IN    46001‐8503
CHARLES O CLARK                                  11500 N 200 WEST                                                                                ALEXANDRIA      IN    46001‐8503
CHARLES O DAHME TR CHARLES O DAHME TRUST UA      455 VALLE VISTA                                                                                 VALLEJO         CA    94590‐3438
04/04/97
CHARLES O DYE                                    598 KUHL ROAD                                                                                   BAY PORT        MI    48720‐9708
CHARLES O EVERHART                               7 TISHA LN                                                                                      HENDERSONVLLE   NC    28739‐5583
CHARLES O GRAVES TR GRAVES FAMILY TRUST UA       268 N LAKE GEORGE RD                                                                            ATTICA          MI    48412‐9743
8/13/04
CHARLES O HARVEY                                 83 SARDIS ROAD                                                                                  ASHEVILLE       NC    28806‐9545
CHARLES O HOLT JR                                2311 FOREST GROVE ESTATES RD                                                                    ALLEN           TX    75002‐8317
CHARLES O HOWEY TR CHARLES O HOWEY REV TRUST     22333 ALLEN ROAD                                                                                WOODHAVEN       MI    48183‐2274
UA 03/09/79
CHARLES O HUFF                                   517 S ORCHID                                                                                    CLINTON         MO    64735
CHARLES O JENRETTE                               1625 CLIFFS LNDG                       APT 201                                                  YPSILANTI       MI    48198‐7307
                                               09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 717 of 850
Name                                                Address1                                Address2             Address3          Address4          City             State Zip

CHARLES O JONES & JOANN J JONES JT TEN              22522 CO RD 25                                                                                   LAJUNTA          CO    81050‐9603
CHARLES O KIRK                                      3251 N WAGGONER RD                                                                               BLACKLICK        OH    43004‐9709
CHARLES O KISTNER                                   4 MEADOWOOD LANE                                                                                 FORT SALONGA     NY    11768‐2702
CHARLES O LEE & WILMA E LEE JT TEN                  14508 GABLEWOOD PL                                                                               LOUISVILLE       KY    40245‐4165
CHARLES O LEONARD JR                                4814 MIRROR LAKES DR                                                                             POWDER SPRINGS   GA    30127‐4910

CHARLES O MALEDON                                   7050 GRENADIER                                                                                   UTICA            MI    48317‐4222
CHARLES O MALEDON & DONALD MALEDON JT TEN           7050 GRENADIER                                                                                   UTICA            MI    48317‐4222

CHARLES O MC COMISH CUST ROBERT J MC COMISH         8055 OAK MEADOW CT                                                                               CITRUS HEIGHTS   CA    95610‐4613
UGMA OH
CHARLES O MILLER & THERESA M MILLER TR MILLER       PO BOX 760                                                                                       SUNSET BEACH     CA    90742‐0760
FAM TRUST UA 05/11/00
CHARLES O MULL                                      HC66 BOX 625                                                                                     MOYERS           OK    74557
CHARLES O NEELY                                     137 COBBLESTONE COURT                                                                            BEREA            OH    44017‐1079
CHARLES O PENNEY                                    619 BARNARD AV                                                                                   MANSFIELD        OH    44903‐1827
CHARLES O PION                                      17480 HOOVER ROAD                                                                                BIG RAPIDS       MI    49307‐9364
CHARLES O RATCLIFF                                  1113 N LEEDS                                                                                     KOKOMO           IN    46901‐2627
CHARLES O RATCLIFF & BEVERLEY A RATCLIFF JT TEN     1113 N LEEDS                                                                                     KOKOMO           IN    46901‐2627

CHARLES O REICHL                                    2919 COLLEGE AVE                                                                                 STEVENS POINT    WI    54481‐3228
CHARLES O RIDDLE                                    BOX 218                                                                                          CARLISLE         AR    72024‐0218
CHARLES O SAUNDERS                                  6644 BRYNWOOD DR                                                                                 CHARLOTTE        NC    28226‐7528
CHARLES O SHULTZ                                    13780 BRITTLE RD                                                                                 ALPHARETTA       GA    30004‐3505
CHARLES O SMITH                                     249 BESSEMER SUPER HWY                                                                           MIDFIELD         AL    35228‐2103
CHARLES O STAFFORD                                  8815 MADISON ROAD                                                                                MONTVILLE        OH    44064‐8716
CHARLES O STYLES JR                                 5215 MARTINGALE AVE                                                                              LAS VEGAS        NV    89119‐7716
CHARLES O SUCHSLAND & SHARON LEE SUCHSLAND JT       4142 S OAK ST                                                                                    BROOKFIELD       IL    60513‐2002
TEN
CHARLES O VAUGHAN & MRS EVA C VAUGHAN JT TEN        19242 MCINTOSH                                                                                   CLINTON TWSP     MI    48036‐1855

CHARLES O VEZINA & STELLA VEZINA JT TEN             209 ST IVES N                                                                                    LANSING          MI    48906‐1528
CHARLES O VIAR                                      6215 ANAVISTA DR                                                                                 FLINT            MI    48507‐3882
CHARLES O WARNER                                    3335 WISE CREEK LN                      APT 208                                                  AIKEN            SC    29801‐2514
CHARLES O WATSON & NELLIE E WATSON JT TEN           414 BUCKINGHAM LN                                                                                ANDERSON         IN    46013‐4421
CHARLES O WILKINS                                   PO BOX 83                                                                                        HASLETT          MI    48840‐0083
CHARLES O'HARA                                      3874 16TH ST                                                                                     ECORSE           MI    48229‐1338
CHARLES OKEEFE & MARIE OKEEFE JT TEN                19216 FAIRMONT LN                                                                                MOKENA           IL    60448‐8225
CHARLES OLAN SKIPPER & JANICE LIPE SKIPPER JT TEN   PO BOX 1228                                                                                      FOLLY BEACH      SC    29439

CHARLES OLIN GRADDY                                 1008 RAINBOW BLVD                                                                                ANDERSON         IN    46012‐1517
CHARLES OSKANIAN                                    4042 THREE OAKS BLVD                    APT 3A                                                   TROY             MI    48098‐4547
CHARLES OSKANIAN & VASILIKI OSKANIAN JT TEN         4042 THREE OAKS BLVD                    APT 3A                                                   TROY             MI    48098‐4547
CHARLES OSTER                                       1844 NACHUSA ROAD                                                                                FRANKLIN GROVE   IL    61031‐9578
CHARLES OTT & MRS CAROL OTT JT TEN                  306 MARGARETTA AVE                                                                               HUNTINGDON       PA    19006‐8714
                                                                                                                                                     VALLEY
CHARLES P AMANN                                     5539 BROADWAY ST                                                                                 LANCASTER        NY    14086‐2223
CHARLES P AMATO JR                                  441 E ERIE ST APT 1513                                                                           CHICAGO          IL    60611‐7115
CHARLES P AMES                                      109 WARD ST                                                                                      CROSWELL         MI    48422‐1136
CHARLES P ATTAWAY                                   571 LAKE PARADISE RD                                                                             OAK GROVE        MO    64075‐5441
CHARLES P BARLETTA                                  37 EMERALD POINT                                                                                 ROCHESTER        NY    14624‐3751
CHARLES P BARRETT & MICHAEL P BARRETT JT TEN        44843 GLENGARRY RD                                                                               CANTON           MI    48188‐1066

CHARLES P BECK                                      166 DAKE AVE                                                                                     ROCHESTER        NY    14617‐2818
CHARLES P BOYD                                      230 EAST LIBERTY ST                                                                              YORK             SC    29745‐1551
CHARLES P BURR                                      7255 SURFWOOD DRIVE                                                                              FENTON           MI    48430‐9353
CHARLES P BYERS                                     6932 DAKOTA DRIVE                                                                                TROY             MI    48098‐7202
CHARLES P CAUFIELD TR UA 10/21/93 CHARLES F         134 N LA SALLE STREET                   ROOM 600                                                 CHICAGO          IL    60602‐1004
CAUFIELD TRUST
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 718 of 850
Name                                               Address1                              Address2              Address3         Address4          City            State Zip

CHARLES P CHAFEE                                   319 BAILEY ROAD                                                                                ROSEMONT        PA    19010‐1201
CHARLES P CHRISTENSEN                              986 WATTLES RD                                                                                 SHERWOOD        MI    49089‐9754
CHARLES P COLLITON & MARIE F COLLITON JT TEN                                                                                                      GRAND GORGE     NY    12434
CHARLES P COOKE                                    940 HALE AVE                                                                                   ASHLAND         OH    44805‐4231
CHARLES P CORLEY                                   5172 PINE AVE                                                                                  ORANGE PARK     FL    32073‐7832
CHARLES P COSTELLO CUST CARRIE LYNN COSTELLO       1947 EASTWOOD AVE                                                                              JANESVILLE      WI    53545‐2607
UGMA WI
CHARLES P COSTELLO CUST CHERYL T COSTELLO U/THE    ATTN CHERYL T COSTELLO HAHN           3910 BRIAR CREST DR                                      JANESVILLE      WI    53546‐4240
WISC U‐G‐M‐A
CHARLES P COSTELLO CUST KRISTIN SUZETTE COSTELLO   1947 EASTWOOD AVE                                                                              JANESVILLE      WI    53545‐2607
UGMA WI
CHARLES P COSTELLO CUST MICHAEL JOHN COSTELLO      4314 SOUTHWYCK DR                                                                              JANESVILLE      WI    53546‐2117
UGMA WI
CHARLES P DAUPHINAIS                               3419 LOMAR DR                                                                                  FORT GRATIOT    MI    48059‐4209
CHARLES P DEHLER                                   17 GALDWYN DR                                                                                  MILLSTADT       IL    62260‐2274
CHARLES P DOHERTY                                  152 SYLVAN LAKE BLVD                                                                           BAYVILLE        NJ    08721‐1970
CHARLES P DOWNING                                  10 MARJORIE DRIVE                                                                              KENMORE         NY    14223‐2420
CHARLES P DRIGGINS                                 1123 KERLIN ST                                                                                 CHESTER         PA    19013‐4016
CHARLES P DUNCAN                                   2162 SCOTTWOOD DR                                                                              GASTONIA        NC    28054‐4854
CHARLES P DZIAK JR & THERESA D DZIAK JT TEN        147 WINDOVER HILL LANE                                                                         LATROBE         PA    15650‐3712
CHARLES P EDDY                                     375 BELLEVUE AVE APT 203                                                                       OAKLAND         CA    94610
CHARLES P EDWARDS                                  14178 WASHBURN                                                                                 DETROIT         MI    48238‐2328
CHARLES P ENRIGHT                                  4 MARINA DRIVE APT H4                                                                          MAHOPAC         NY    10541‐1613
CHARLES P GARABEDIAN                               45 KEITH PLACE                                                                                 BRIDGEWATER     MA    02324‐3003
CHARLES P GARTLER                                  34 WILLIAMSTOWNE CT                   APT 10                                                   BUFFALO         NY    14227‐2101
CHARLES P GAULDEN & DOROTHEA E GAULDEN JT TEN      5412 EARLE RD                                                                                  RALEIGH         NC    27606‐9200

CHARLES P GAUVIN                                   55531 PARK PLACE                                                                               NEW HUDSON      MI    48165‐9708
CHARLES P GEDNEY                                   1903 S CRESCENT BLVD                                                                           YARDLEY         PA    19067‐3117
CHARLES P GEORGE                                   1444 6TH AVENUE                                                                                CHARLESTON      WV    25312‐2420
CHARLES P GIGNOUX                                  12 ROSEMARY ST                                                                                 JAMAICA PLAIN   MA    02130‐3207
CHARLES P GRAHAM                                   PO BOX 302                                                                                     ODEN            MI    49764‐0302
CHARLES P HARRIS & FLO B HARRIS JT TEN             1345 AYERS RD                                                                                  MONETA          VA    24121‐3513
CHARLES P HEARN & JULIA M HEARN TEN COM            648 FOSTER RD                                                                                  MACON           GA    31210‐7917
CHARLES P HOBBS                                    189 WASHINGTON ST                                                                              STANTON         KY    40380‐3013
CHARLES P HOLLYFIELD                               5880 SWEET BIRCH DR                                                                            BEDFORD         OH    44146‐3070
CHARLES P HOLTON & BETH A HOLTON JT TEN            1538 GRANT ST                                                                                  LOGANSPORT      IN    46947
CHARLES P HOURIGAN & ARDITH A HOURIGAN JT TEN      46140 CONCORD DR                                                                               PLYMOUTH        MI    48170‐3046

CHARLES P IALENTI                                  677 WESLEY                                                                                     YOUNGSTOWN      OH    44509‐1836
CHARLES P JANNETTO                                 1845 HOME AVENUE                                                                               BERWYN          IL    60402‐1669
CHARLES P KEERY                                    18868 SCHREWSBURY DR                                                                           LIVONIA         MI    48152‐3391
CHARLES P KELLER                                   8612 W EUCALYPTUS AVENUE                                                                       MUNCIE          IN    47304‐9382
CHARLES P KELLER & BONNIE L KELLER JT TEN          8612 W EUCALYPTUS AVE                                                                          MUNCIE          IN    47304‐9382
CHARLES P KELLY                                    26702 HUMBER                                                                                   HUNTINGTON      MI    48070‐1258
                                                                                                                                                  WOODS
CHARLES P KINDLER                                  450 SHORE RD APT 2D                                                                            LONG BEACH      NY    11561
CHARLES P KING                                     246 STATE PARK DRIVE                                                                           BAY CITY        MI    48706‐1761
CHARLES P LAZZARO CUST KRISTEN M MCCARTY UTMA      5926 JAMAR DR                                                                                  SAN DIEGO       CA    92117‐3332
CA
CHARLES P LEGGETT JR                               215 LYNNWOOD CIRCLE                                                                            HATTIESBURG     MS    39402‐2425
CHARLES P LLOYD                                    3570 WALDORF DRIVE                                                                             DALLAS          TX    75229‐3826
CHARLES P LUSHER & ANN M LUSHER JT TEN             1334 STATE PARK RD                                                                             ORTONVILLE      MI    48462‐9775
CHARLES P MACDONALD CUST KATHRYN ANN               227 ROCK CREEK DR                                                                              LINCOLNTON      NC    28092‐3629
MACDONALD UGMA NC
CHARLES P MAULICK                                  225 NORWAY AVE                                                                                 STATEN ISLAND   NY    10305‐3522
CHARLES P MCCORMICK                                8809 MARION                                                                                    REDFORD         MI    48239‐1733
CHARLES P MCGARRY                                  7334 JOHN WHITE RD                                                                             HUBBARD         OH    44425‐9738
CHARLES P MOORE                                    3505 BREEZE KNOLL DRIVE                                                                        YOUNGSTOWN      OH    44505‐1917
                                                09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 719 of 850
Name                                              Address1                                Address2             Address3          Address4          City             State Zip

CHARLES P MORRIS                                  8558 HWY T                                                                                       RICHMOND         MO    64085‐8548
CHARLES P O'CONNOR                                PO BOX 263                                                                                       OAKFIELD         NY    14125‐0263
CHARLES P OLSEN                                   4201 PARK AVE                                                                                    FORT SMITH       AR    72903‐1909
CHARLES P PETERS                                  1809 PAN RD                                                                                      WILMINGTON       DE    19803‐3324
CHARLES P POWELL                                  9342 E BOWERS LAKE RD                                                                            MILTON           WI    53563‐8731
CHARLES P PROULX                                  344 HICKORY LANE                                                                                 WATERFORD        MI    48327‐2571
CHARLES P PRYDE                                   11295 ENGLEMAN                                                                                   WARREN           MI    48089‐1077
CHARLES P PUZEMIS                                 9890 DALEVIEW DR                                                                                 SOUTH LYON       MI    48178‐9113
CHARLES P RAUSCHERT                               18 GLENWOOD LANE                                                                                 STOCKTON         NJ    08559‐2115
CHARLES P REDMOND                                 322 GIBSON                                                                                       GEORGETOWN       IL    61846‐1920
CHARLES P REILLY                                  339 CARLSON                                                                                      WESTLAND         MI    48186‐4057
CHARLES P RENNWALD                                17612 E KIRKWOOD DR                                                                              CLINTON TWP      MI    48038‐1209
CHARLES P RINGO                                   8583 ST RT 219                                                                                   CELINA           OH    45822‐8138
CHARLES P ROLPH JR                                413 ELM DRIVE                           WESTVIEW                                                 SEAFORD          DE    19973‐2011
CHARLES P ROMANO                                  2825 W OAKLAND DR                                                                                WILMINGTON       DE    19808‐2422
CHARLES P ROWLAND                                 608 N BAYBERRY                                                                                   MIAMISBURG       OH    45342‐2773
CHARLES P SCHRAMER & SHIRLEY M SCHRAMER JT TEN    1 N 435 INGALTON AVE                                                                             WEST CHICAGO     IL    60185‐2054

CHARLES P SCHULKE                                 1963 OCEANRIDGE CIRCLE                                                                           VERO BEACH       FL    32963‐2731
CHARLES P SHOWMAN                                 125 W ARRELLAGA ST                                                                               SANTA BARBARA    CA    93101‐2915
CHARLES P SIEGEL & MARY V SIEGEL JT TEN           752 BAYSIDE DR A302                                                                              CAPE CANAVERAL   FL    32920‐3580
CHARLES P SPOTANSKI & JUDY F SPOTANSKI JT TEN     560 EAST SALISBURY ROAD                                                                          ASHLEY           IL    62808‐3006

CHARLES P STEWARD                                 205 BISHOP PL                                                                                    JACKSON          TN    38301‐5311
CHARLES P SYRACUSE                                715 DICK RD APT 2                                                                                CHEEKTOWAGA      NY    14225‐3856
CHARLES P THOMPSON                                2502 S LAKESHORE DRIVE                                                                           BROWNS MILLS     NJ    08015‐4339
CHARLES P TRAVIS                                  1465 50TH ST SW                                                                                  WYOMING          MI    49509‐5001
CHARLES P TRINOSKEY                               2130 NORTH ST                                                                                    LOGANSPORT       IN    46947‐1612
CHARLES P VILLANO                                 900 FRANK                                                                                        BAY CITY         MI    48706‐5500
CHARLES P VOLKENAND                               1679 O TOOLE DR                                                                                  XENIA            OH    45385‐4323
CHARLES P WALNUT JR                               12TH ST                                 PO BOX 245                                               BARNEGAT LIGHT   NJ    08006‐0245
CHARLES P WEHMAN                                  911 BRYNWOOD TERRACE                                                                             CHATTANOOGA      TN    37415‐3006
CHARLES P WOOD III                                PSC 37 5091                                                                                      APO              AE    09459‐0051
CHARLES P WOODS & CHARLENE G WOODS JT TEN         9348 SARAH CT                                                                                    TWINSBURG        OH    44087‐3340

CHARLES P ZINS                                    2235 SHETLAND LN                                                                                 YOUNGSTOWN       OH    44514‐1552
CHARLES PAGE                                      395 BUENA VISTA                                                                                  COLUMBUS         OH    43228‐1189
CHARLES PAGE SR                                   1067 EPWORTH RD                                                                                  AYLETT           VA    23009
CHARLES PANDUREN                                  46249 CAVALIER DR                                                                                MACOMB           MI    48044‐5217
CHARLES PAPADINES                                 PO BOX 101                                                                                       GARDEN CITY      MI    48136‐0101
CHARLES PARKHURST                                 335 TABER HILL RD                                                                                VASSALBORO       ME    04989‐3064
CHARLES PARTRIDGE                                 316 VALLEY HIGH DR                                                                               PLEASANT HILL    CA    94523‐1080
CHARLES PASLEY                                    PO BOX 25014                                                                                     LANSING          MI    48909‐5014
CHARLES PAUL BARRETT & CONNIE SUE CRAWFORD JT     44843 GLENGARRY RD                                                                               CANTON           MI    48188‐1066
TEN
CHARLES PAUL BUSBY                                2415 BURKE ST                                                                                    GULFPORT         MS    39507‐2206
CHARLES PAUL FOLGER                               500 DAWNS PEAK                                                                                   LAMPASAS         TX    76550
CHARLES PAUL JONES                                407 S HOLLY RD                                                                                   FENTON           MI    48430‐2979
CHARLES PEARSON                                   3870 PONTEVEDRA PL                                                                               COLLEGE PK       GA    30349‐1461
CHARLES PEARSON FLETCHER                          121 ASHLAND RD                                                                                   SUMMIT           NJ    07901‐3239
CHARLES PEARSON JR                                2089 LAKEVIEW PKWY                                                                               VILLA RICA       GA    30180‐8069
CHARLES PELLAM                                    301 MULBERRY ST                                                                                  BUFFALO          NY    14204‐1031
CHARLES PETERS & ELIZABETH PETERS JT TEN          5025 V ST NW                                                                                     WASHINGTON       DC    20007‐1551
CHARLES PHAM                                      1123 LA PALOMA DR SW                                                                             WYOMING          MI    49509
CHARLES PHETTEPLACE                               27 SOUTH FULTON                                                                                  SANDUSKY         MI    48471‐1301
CHARLES PHILLIPS                                  7110 NE 27TH AVE                                                                                 GAINESVILLE      FL    32609‐2745
CHARLES PHILLIPS                                  4705 AL HIGHWAY 51                                                                               OPELIKA          AL    36804‐8274
CHARLES PHILLIPS                                  3355 MCDANIEL RD                        APT 12204                                                DULUTH           GA    30096‐8659
CHARLES PICERNO                                   31 STEEPLE RIDGE COURT                                                                           OAK BROOK        IL    60523‐2623
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 720 of 850
Name                                              Address1                              Address2                  Address3     Address4          City              State Zip

CHARLES PIPKIN CUST BENJAMIN FRANKLIN MCKAY       6511 GIANT OAKS ROAD                                                                           WONDER LAKE       IL    60097‐8942
UTMA IL
CHARLES PIWOWAR                                   3236 CRESCENT AVE                                                                              FORT WAYNE        IN    46805‐1502
CHARLES PODOLSKI & MRS STELLA PODOLSKI JT TEN     4031 ROGER                                                                                     ALLEN PARK        MI    48101‐3059

CHARLES PODOLSKI & STELLA AGNES PODOLSKI JT TEN   4031 ROGER                                                                                     ALLEN PARK        MI    48101‐3059

CHARLES POLGLAZE                                  545 S CLARK ST                                                                                 WHITEWATER        WI    53190‐1838
CHARLES POMEROY                                   8806 HASELEY RD                                                                                GASPORT           NY    14067‐9362
CHARLES PORCASI & JEAN PORCASI JT TEN             82 14TH ST                                                                                     HICKSVILLE        NY    11801‐1142
CHARLES POTTER                                    843 BEAVER HEAD RD                                                                             GUILFORD          CT    06437‐1048
CHARLES PRONIK & STELLA PRONIK JT TEN             APT C‐223                             23371 BLUE WATER CIRCLE                                  BOCA RATON        FL    33433‐7087
CHARLES PULLARD                                   111 KENNETH                                                                                    DE QUINCY         LA    70633‐4137
CHARLES PUZAK                                     394 COLONIAL ST                                                                                OAKVILLE          CT    06779‐2010
CHARLES Q PATTERSON                               305 WAVERLY DR                                                                                 NORMAL            IL    61761‐1825
CHARLES QUAIVER                                   1511 W TALCOTT                                                                                 PARK RIDGE        IL    60068‐4462
CHARLES QUENTIN JANES                             151 TREMONT ST APT 20E                                                                         BOSTON            MA    02111‐1125
CHARLES R ADAMS                                   930 OGATA RD BUILDING 9 APT 68                                                                 LINCOLN PARK      MI    48146‐3971
CHARLES R ADKERSON                                PO BOX 342                                                                                     EXPERIMENT        GA    30212‐0342
CHARLES R ALDERMAN                                PO BOX 507                                                                                     JANESVILLE        WI    53547‐0507
CHARLES R AMOS                                    1208 GILBERT AVE                                                                               WILMINGTON        DE    19808‐5718
CHARLES R ANDERSON                                2318 LOST CREEK DRIVE                                                                          FLUSHING          MI    48433‐9468
CHARLES R ANDERSON & JUNE A ANDERSON JT TEN       206 PRIMROSE LN                                                                                FLUSHING          MI    48433‐2654

CHARLES R ANGIN & MRS CARMELITA ANGIN JT TEN      290 QUINNHILL AVE                                                                              LOS ALTOS         CA    94024‐4736

CHARLES R ARMSTRONG                                7282 LINN RD                                                                                  MIDDLETON         OH    45044‐9434
CHARLES R ASHMAN                                   1715 EMMA CI                                                                                  SPRING HILL       TN    37174‐6139
CHARLES R AUSTIN                                   2465 PARLIAMENT                                                                               STERLING HTS      MI    48310
CHARLES R BADZMIEROWSKI                            59 MAPLE ST                                                                                   BELLINGHAM        MA    02019‐3012
CHARLES R BAKER JR                                 4183 FAIRWAY DR                                                                               LITTLE RIVER      SC    29566‐8091
CHARLES R BARNHILL                                 1824 BELLVIEW DR                                                                              BELLBROOK         OH    45305‐1306
CHARLES R BELL & NANCY L BELL JT TEN               802 SOUTH 15TH ST 1869                                                                        SEBRING           OH    44672
CHARLES R BELLARS                                  51 ZINNIA DRIVE                                                                               GLENWOOD          NJ    07418‐1634
CHARLES R BENNETT                                  11449 DAYTON‐FARMERSVILLE RD                                                                  FARMERSVILLE      OH    45325‐9221
CHARLES R BENTLEY                                  10514 MURRAY RIDGE RD                                                                         ELYRIA            OH    44035‐6969
CHARLES R BETZ TR CHARLES R BETZ TRUST UA 09/15/89 4334 MAMMOTH AVE #10                                                                          SHERMAN OAKS      CA    91423‐3643

CHARLES R BINDER                                 200 W NORTH STREET                                                                              HARRISVILLE       WV    26362‐1047
CHARLES R BLACKWELDER JR                         1110 WEBSTER DRIVE                                                                              WILMINGTON        DE    19803‐3421
CHARLES R BLAKE                                  3911 S WEST COUNTY LINE RD                                                                      GOWEN             MI    49326‐9802
CHARLES R BOAL                                   7825 E LILLY CANYON DR                                                                          PRESCOTT VLY      AZ    86314‐6817
CHARLES R BOCCIO                                 57‐67‐79TH STREET                                                                               MIDDLE VILLAGE    NY    11379‐5309
CHARLES R BONNER                                 403 S E BENT TREE COURT                                                                         BLUE SPRINGS      MO    64014‐3113
CHARLES R BOOMHOWER                              1844 ILLINOIS ST                                                                                VALLEJO           CA    94590‐4779
CHARLES R BOOTS SR                               26 RANSOM AVENUE                                                                                MASSENA           NY    13662‐1735
CHARLES R BOVENSIEP TR CHARLES R BOVENSIEP TRUST 22800 SHOREVIEW CT                                                                              ST CLAIR SHORES   MI    48082‐2491
UA 09/01/99
CHARLES R BOWEN                                  4195 SWAN RD                                                                                    FARMINGTON        KY    42040‐9449
CHARLES R BRAINARD                               1712 EAST DOROTHY LANE                                                                          DAYTON            OH    45429‐3858
CHARLES R BRAMMER                                1693 FAIRFIELD CIR                                                                              GREENFIELD        IN    46140
CHARLES R BROWN                                  3351 VIRGIL H GOODE HWY                                                                         ROCKY MOUNT       VA    24151‐3814
CHARLES R BROWN                                  1731 HANCOCK AVE                                                                                NORFOLK           VA    23509‐1025
CHARLES R BROWN & JERRINE M BROWN JT TEN         414 LAKESIDE DR                                                                                 MACKINAC CITY     MI    49701
CHARLES R BULLOCK                                RD 3 BOX 76A                                                                                    MESHOPPEN         PA    18630‐9223
CHARLES R BUNIN                                  1123 PUDDINGSTONE RD                                                                            MOUNTAINSIDE      NJ    07092‐2009
CHARLES R BUSKIRK                                600 N BOUNDARY AVE                     APT 111B                                                 DELAND            FL    32720‐3124
CHARLES R CAIN                                   #2 FOREST HAVEN                                                                                 WRIGHT CITY       MO    63390‐5750
CHARLES R CARAPEZZA                              722 EAST BROOK LANE                                                                             ROCHESTER         NY    14618‐5232
                                              09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 721 of 850
Name                                                Address1                                Address2             Address3          Address4          City             State Zip

CHARLES R CARLTON TR CHARLES R CARLTON LIV TRUST 2635 SECOND AVE                            APT 107                                                  SAN DIEGO        CA    92103‐6554
UA 11/09/00
CHARLES R CARRIER                                5829 N KLINE RD                                                                                     LEWISTON         NY    14092‐9714
CHARLES R CASTO                                  602 HALL ST                                                                                         CHARLESTON       WV    25302‐1908
CHARLES R CHAMBERS                               158 DRIFTWOOD LN                                                                                    NAPLES           FL    34112‐3200
CHARLES R CHAMBERS                               405 WINDING WAY                                                                                     FRANKTON         IN    46044‐9631
CHARLES R CHAMBERS & BEULAH F CHAMBERS JT TEN 158 DRIFTWOOD LN                                                                                       NAPLES           FL    34112‐3200

CHARLES R CHAMBERS II                               1513 CLARENDON STREET                                                                            FORT WORTH       TX    76134‐8431
CHARLES R CHAPPELL                                  5523 LEATHER STOCKING LANE                                                                       STONE MOUNTAIN   GA    30087‐1628

CHARLES R CHITTICK                                  2231 EAST ONTARIO AVENUE                                                                         DAYTON          OH     45414‐5633
CHARLES R CHRIST                                    #117                                    720 W 4TH ST                                             LONG BEACH      CA     90802‐2184
CHARLES R CHURCH                                    #304                                    375 N THIRD ST                                           WEST FARMINGTON OH     44491‐9764

CHARLES R CLEVELAND & BARBARA A CLEVELAND JT TEN 24 PICARD WAY                                                                                       CHARLESTON       SC    29412

CHARLES R COKER                                     5117 E LOTAN ROAD                                                                                FALMOUTH         MI    49632‐9741
CHARLES R COLETTI                                   1224 N RAIBLE AVE                                                                                ANDERSON         IN    46011‐9273
CHARLES R COLIP                                     2046 LORA ST                                                                                     ANDERSON         IN    46013‐2748
CHARLES R CONNELL                                   167 KING STREET                                                                                  REDWOOD CITY     CA    94062‐1939
CHARLES R CONNELL                                   34 YOUNGS VALLEY RD                                                                              BUCHANAN         GA    30113‐2100
CHARLES R COOK                                      3960 OLD FRIENDSHIP RD                                                                           BUFORD           GA    30519‐5467
CHARLES R COOK                                      1069 MEECH RD                                                                                    WILLIAMSTON      MI    48895‐9694
CHARLES R COOK                                      5 LYNDA DRIVE                                                                                    DENVER           PA    17517‐9354
CHARLES R CORNWELL                                  802 SONGBIRD ST                                                                                  ELYRIA           OH    44035
CHARLES R COTTON                                    8439 W 850 N                                                                                     ELWOOD           IN    46036‐8629
CHARLES R COTTON JR & BETTY L COTTON TEN COM        201 PHILADELPHIA RD                                                                              JODDA            MD    21085‐3319

CHARLES R COTTONGIM                                 5421 MILLIKIN RD                                                                                 HAMILTON         OH    45011‐8424
CHARLES R COUNCILOR                                 5950 WELLINGTON ROAD                                                                             CLARKSTON        MI    48346‐3465
CHARLES R CRAWFORD                                  1624 ST ROUTE 97                                                                                 BUTLER           OH    44822‐9790
CHARLES R CREGO                                     5690 KENSINGTON LOOP                                                                             FORT MYERS       FL    33912
CHARLES R CUNDIFF                                   1765 ROCKLEDGE DRIVE                                                                             ROCKLEDGE        FL    32955‐4908
CHARLES R CUNNINGHAM                                9910 N HIGHLAND PL                                                                               KANSAS CITY      MO    64155‐3785
CHARLES R CUSTER & ARLENE H CUSTER JT TEN           237 SUNRISE CAY 103                                                                              NAPLES           FL    34114
CHARLES R DANIEL                                    12432 MAPLE                                                                                      GOODRICH         MI    48438‐9710
CHARLES R DE CARLO                                  22196 SHERWOOD LN                                                                                BROWNSTOWNS      MI    48134‐9272
CHARLES R DE LEEUW                                  24865 PETERSBURG                                                                                 EAST DETROIT     MI    48021‐1451
CHARLES R DEIS TR CHARLES R DEIS TRUST UA 5/05/81   6105 NE JUDSON                                                                                   KANSAS CITY      MO    64118‐5106
AMENDED 9/10/90
CHARLES R DELL                                      1510 SIX MILE CREEK RD                                                                           OWOSSO           MI    48867‐9089
CHARLES R DICKERSON & CAROL Y DICKERSON JT TEN      3255 OTIS ST                                                                                     WHEAT RIDGE      CO    80033‐6358

CHARLES R DILLER & SARAH L DILLER TEN ENT           90 B MENNO VILLAGE                                                                               CHAMBERSBURG     PA    17201‐4040
CHARLES R DOMHOFF                                   3304 TRAPPERS TRAIL                     UNIT C                                                   CORTLAND         OH    44410‐9143
CHARLES R DRIVER                                    115 PRIMOSE CT                                                                                   FAYETTEVILLE     GA    30214‐1273
CHARLES R DZIADZIO                                  9694 SUNNYWOOD TRL                                                                               SOUTH LYON       MI    48178‐8154
CHARLES R EBERHARD                                  1621 EAST MARTHA DRIVE                                                                           MARION           IN    46952‐9065
CHARLES R ECKEL                                     7456 DORR STREET                                                                                 TOLEDO           OH    43615‐4145
CHARLES R EMERY & DOROTHY JANE EMERY JT TEN         4326 GANNON RD                                                                                   FOWLERVILLE      MI    48836‐9302

CHARLES R ENGLE II                                  5989 ST CATHERINES LN                                                                            LORTON           VA    22079‐4013
CHARLES R ERNST                                     12855 KENYON DRIVE                                                                               CHESTERLAND      OH    44026
CHARLES R ETHERIDGE III                             29005 MITCHELL DRIVE                                                                             PARKSLEY         VA    23421‐3267
CHARLES R FARRAND                                   1401 TANGLEWOOD DR                                                                               LAPEER           MI    48446‐3170
CHARLES R FAULKNER                                  435 WASSAW RD                                                                                    OSCEOLA          MO    64776
CHARLES R FEARER & JOANNE M FEARER JT TEN           7563 CAMDEN HARBOUR DR                                                                           BRADENTON        FL    34212‐9304
CHARLES R FELLOWS                                   6127 NW 24TH LN                                                                                  GAINESVILLE      FL    32606‐8526
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 722 of 850
Name                                               Address1                               Address2             Address3          Address4          City              State Zip

CHARLES R FLOYD                                    C/O DEBRA M WALTERS                    261 OAK RIDGE LANE                                       DEFIANCE          OH    43512‐9207
CHARLES R FOX                                      1460 PATERSON AVE                                                                               MANCHESTER        NJ    08759
CHARLES R FOX & ELIZABETH A FOX JT TEN             1460 PATERSON AVE                                                                               MANCHESTER        NJ    08759
CHARLES R FOX & MRS ELIZABETH A FOX TEN ENT        1460 PATERSON AVENUE                                                                            MANCHESTER TW     NJ    08759
CHARLES R FRAZIER                                  12070 INNSBRUCK PLACE                                                                           CLIO              MI    48420
CHARLES R FREMAULT JR                              24 WOODLAWN AVE                                                                                 WALTHAM           MA    02451‐1810
CHARLES R FRITH                                    5321 PAMELA WOOD WAY                                                                            SARASOTA          FL    34233‐3715
CHARLES R FRITZKE                                  1319 MENARD ST                                                                                  JANESVILLE        WI    53546
CHARLES R FROELKE                                  31821 PAWTON LANE                                                                               PAW PAW           MI    49079‐9239
CHARLES R FRONZEK                                  6304 E SPRAGUE ROAD                                                                             BROADVIEW         OH    44147‐1562
                                                                                                                                                   HEIGHTS
CHARLES R FRY                                      627 BRIDLE WAY                                                                                  BEAR              DE    19701‐3119
CHARLES R FULLER                                   621 S COUNTRY LINE RD                                                                           ST JOHNS          MI    48879
CHARLES R GEARRIN                                  604 MATTHEW ST                                                                                  ROSSVILLE         GA    30741‐1559
CHARLES R GENTILE                                  4 HEMLOCK CI                                                                                    PAWLING           NY    12564‐1502
CHARLES R GENTRY                                   4472 W GRAND BLANC RD                                                                           SWARTZ CREEK      MI    48473‐9136
CHARLES R GIARRIZZO                                8 KETTERING DR                                                                                  ROCHESTER         NY    14612‐3085
CHARLES R GIARRIZZO & BEVERLY S GIARRIZZO JT TEN   8 KETTERING DRIVE                                                                               ROCHESTER         NY    14612

CHARLES R GIDEON                                   8147 BRITTANY DRIVE                                                                             DUBLIN           CA     94568‐3504
CHARLES R GILBREATH                                1620 STEWART ST                                                                                 BROWNWOOD        TX     76801‐6520
CHARLES R GIPSON                                   21414 PIERCE                                                                                    SOUTHFIELD       MI     48075‐4231
CHARLES R GOAD                                     6101 COVINGTON TERRACE                                                                          MINNETONKA       MN     55345‐6223
CHARLES R GOEBEL                                   9710 DAUGHERTY RD                                                                               BROOKLYN         MI     49230‐9111
CHARLES R GOLDMAN                                  3105 NORTHFIELD CT                                                                              DAVIS            CA     95616‐5729
CHARLES R GOODMAN                                  257 SUBURBAN AVE NE                                                                             CONCORD          NC     28025‐3033
CHARLES R GRANSTON                                 171 CHILI AVE                                                                                   ROCHESTER        NY     14611‐2625
CHARLES R GRIDER                                   2424‐S‐MAIN ST                                                                                  NEW CASTLE       IN     47362‐1919
CHARLES R GRIES                                    333 OLD GREENHILL RD                                                                            ALVATON          KY     42122‐9704
CHARLES R GRIWATSCH                                6397 LENNON ROAD                                                                                SWARTZ CREEK     MI     48473‐7916
CHARLES R GROSSHOLZ                                3 WINDSOR DR                                                                                    NEW WINDSOR      NY     12553‐6618
CHARLES R GRUVER                                   15 BOHDAN STREET                                                                                PISCATAWAY       NJ     08854‐3821
CHARLES R GUE JR                                   1062 WILTSHIRE RD                                                                               COLUMBUS         OH     43204‐2343
CHARLES R HACKLER                                  43801 EUREKA DR                                                                                 CLINTON TOWNSHIP MI     48036‐1290

CHARLES R HACKLER JR                               CRESCENT RANCH                         9614 W HWY 24                                            DIVIDE            CO    80814
CHARLES R HAGOPIAN & RONALD R HAGOPIAN TR RCR      3 CIRCLE DRIVE                                                                                  DOVER             MA    02030‐2107
FAMILY TR UA 09/25/02
CHARLES R HALL                                     874 HERITAGE COURT                                                                              YORKTOWN HGTS     NY    10598‐1105
CHARLES R HARGROVE                                 PO BOX 112                                                                                      MINOR HILL        TN    38473‐0112
CHARLES R HARTLEY & MEREDYTH A HARTLEY JT TEN      5419 GRAHAM HIGHWAY                                                                             ADRIAN            MI    49221‐9732

CHARLES R HASTINGS                                 300 OLD ORCHARD LANE                                                                            YORK              PA    17403‐4054
CHARLES R HEBARD                                   PO BOX 1945                                                                                     SANTA MARIA       CA    93456
CHARLES R HECKER                                   4327 WALBRIDGE TRAIL                                                                            DAYTON            OH    45430‐1828
CHARLES R HELM                                     BOX 35061                                                                                       SAINT LOUIS       MO    63135‐0561
CHARLES R HERMAN                                   28 HARPER AVE                                                                                   MONTROSE          NY    10548‐1107
CHARLES R HINESLEY                                 PO BOX 7009                                                                                     DEFIANCE          OH    43512‐7009
CHARLES R HINTERMAN                                3084 LIBERTY HILLS DR                                                                           FRANKLIN          TN    37067‐5632
CHARLES R HITESHEW                                 5104 W BALDWIN                                                                                  SWARTZ CREEK      MI    48473‐9116
CHARLES R HOFFMAN                                  1854 APPLEBROOK DR                                                                              COMMERCE TWP      MI    48382‐1489
CHARLES R HOFMAN & SUE E HOFMAN JT TEN             1904 N 39TH AVE                                                                                 HOLLYWOOD         FL    33021‐4841
CHARLES R HOLMES                                   8141 AMERICAN                                                                                   DETROIT           MI    48204‐3416
CHARLES R HORTER                                   907 CARHART ST                                                                                  PHILLIPSBURG      NJ    08865‐3401
CHARLES R HORWITZ & MARJORIE E HORWITZ JT TEN      1716‐E WILDBERRY                                                                                GLENVIEW          IL    60025‐1749

CHARLES R HOUCHINS                                 2454 MADISON AVE                                                                                INDIANAPOLIS       IN   46225‐2107
CHARLES R HOVIS                                    22317 EUCLID                                                                                    SAINT CLAIR SHORES MI   48082‐1415
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 723 of 850
Name                                             Address1                               Address2             Address3          Address4          City              State Zip

CHARLES R HOVIS & BARBARA JOYCE HOVIS JT TEN     22317 EUCLID                                                                                    ST CLAIR SHORES   MI    48082‐1415

CHARLES R HOWARD                                 17938 W MISSION LN                                                                              WADDELL           AZ    85355‐4110
CHARLES R HUGHES                                 12501 WANDA AVE                                                                                 CLEVELAND         OH    44135‐4719
CHARLES R HURST                                  PO BOX 327                                                                                      WHITTIER          NC    28789‐0327
CHARLES R HUTSON II                              6501 72ND AVE                                                                                   PINELLAS PARK     FL    33781‐4062
CHARLES R INABNITT                               7495 SKUNK HOLLOW ROAD                                                                          MARTINSVILLE      IN    46151‐9128
CHARLES R JACKSON                                314 CENTRAL                                                                                     UNION             MO    63084‐1206
CHARLES R JAMES                                  7104 MARTINSVILLE RD                                                                            WESSON            MS    39191‐9379
CHARLES R JELICKS                                50 SPRINGDALE AVE                                                                               MASSAPEQUA        NY    11758‐6749
CHARLES R JOHNSON                                10495 E COUNTY RD 600 S                                                                         KIRKLIN           IN    46050‐9189
CHARLES R JOHNSON & HELEN A JOHNSON JT TEN       505 HOLLY HILL DR                                                                               EVANSVILLE        IN    47710‐4963
CHARLES R JOHNSON TR UA 1/5/1995 CHARLES R       7221 WILD HAVEN PARK                                                                            LAMBERTVILLE      MI    48144
JOHNSON TRUST
CHARLES R JOHNSTON EX EST MARY J HARWELL         4090 OXFORD GLEN DR                                                                             FRANKLIN          TN    37067
CHARLES R JONCKHEERE                             6655 CREYTS RD                                                                                  DIMONDALE         MI    48821‐9408
CHARLES R JONES                                  254 OAK ST                                                                                      DAYTON            OH    45410‐1334
CHARLES R JONES                                  5343 TALLGRASS WAY                                                                              KENNESAW          GA    30152‐2832
CHARLES R JONES                                  206 E HENDRICKS                                                                                 SHELBYVILLE       IN    46176‐2129
CHARLES R KADAR                                  2218 PROVIDENCE CIR                                                                             ROCHESTER         NY    14616‐4351
CHARLES R KELL                                   8851 SR 88 RD #2                                                                                RAVENNA           OH    44266‐9199
CHARLES R KELLEY                                 67 NORTHGATE MANOR RD                                                                           NEW CUMBERLND     WV    26047‐4024

CHARLES R KELLY                                 1013 FOXWOOD LANE                                                                                BALTIMORE         MD    21221‐5931
CHARLES R KINDER & MARY A KINDER JT TEN         RR 1 58 BENNETS NECK                                                                             POCASSET          MA    02559‐1903
CHARLES R KINNAMAN & VICTORIA L KINNAMAN JT TEN 312 E WALNUT ST                                                                                  ROSELLE           IL    60172‐3059

CHARLES R KIRKBRIDE 3RD & DOROTHY KIRKBRIDE JT   821 FLORIDA CT                                                                                  BAY CITY          MI    48706‐4209
TEN
CHARLES R KLENK                                  10645 E GARRISON ROAD                                                                           DURAND            MI    48429‐1814
CHARLES R KNOX                                   11 SCENIC DR                                                                                    NEW SALEM         PA    15468‐1311
CHARLES R KOBANE                                 9145 LAMONT                                                                                     LIVONIA           MI    48150‐3449
CHARLES R KOLAR                                  7069 SE CONGRESS ST                                                                             HUBE SOUND        FL    33455‐6015
CHARLES R KREHER                                 1725 E 6525 SOUTH                                                                               SALT LAKE CITY    UT    84121‐2552
CHARLES R KRONTZ JR                              PO BOX 153                                                                                      BURR OAK          MI    49030‐0153
CHARLES R KUKRAL JR                              10 LOCUST DR                                                                                    BLENHEIM          NJ    08012‐3132
CHARLES R LACK                                   4347 BRAYAN                                                                                     SWARTZ CREEK      MI    48473‐8823
CHARLES R LACK & DONNA M LACK JT TEN             4347 BRAYAN DRIVE                                                                               SWARTZ CREEK      MI    48473‐8823
CHARLES R LASALLE & MARCILE L LASALLE JT TEN     3241 LUCE RD                                                                                    FLUSHING          MI    48433‐2372
CHARLES R LAWSON                                 301 E PENNSYLVANIA                                                                              AMBOY             IN    46911
CHARLES R LEECH JR                               20285 ZION RD                                                                                   GAMBIER           OH    43022‐9643
CHARLES R LEGO                                   16410 RICHARD DR                                                                                BROOKPARK         OH    44142‐3615
CHARLES R LEIBY                                  9545 OLD AIRPORT HWY                                                                            MONCLOVA          OH    43542‐9558
CHARLES R LENESCHMIDT                            109 BIRCH SPRING LANE                                                                           LAKE LURE         NC    28746‐9416
CHARLES R LEWIS                                  2301 BURNING TREE DR SE                                                                         GRAND RAPIDS      MI    49546‐5514
CHARLES R LEWIS & MARGUERITE S LEWIS JT TEN      2301 BURNING TREE DR SE                                                                         GRAND RAPIDS      MI    49546‐5514
CHARLES R LINDER                                 10593 OAKFIELD DR                                                                               KEITHVILLE        LA    71047‐9569
CHARLES R LINDOW & DARLENE M LINDOW JT TEN       315 E GENESEE                                                                                   FRANKENMUTH       MI    48734‐1137

CHARLES R LOTT                                   2504 E 139TH                                                                                    KANSAS CITY       MO    64146‐1925
CHARLES R LOVELADY                               503 SOUTH WEST 5TH                                                                              WALNUT RIDGE      AR    72476‐2622
CHARLES R LOVELADY & GLENNA S LOVELADY JT TEN    503 S W 5TH                                                                                     WALNUT RIDGE      AR    72476‐2622

CHARLES R LOWE                                   7599 N CO RD 500 W                                                                              MIDDLETOWN        IN    47356‐9479
CHARLES R LUEBKE                                 14713 W SENTINEL DR                                                                             SUN CITY WEST     AZ    85375‐6108
CHARLES R LUTZ                                   7435 W CARROLL DR                                                                               WEST MILTON       OH    45383‐9730
CHARLES R LYNCH & CATHERINE E LYNCH JT TEN       3734 BLANCHAN AVE                                                                               BROOKFIELD        IL    60513‐1504
CHARLES R MAGEE & MRS ROSEMOND J MAGEE JT TEN    11030 PRESBYTERIAN DR                                                                           INDIANAPOLIS      IN    46236‐2963
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 724 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

CHARLES R MANGIAPANE                              28851 BORDMAN RD                                                                               RILEY             MI    48041‐4101
CHARLES R MARADO                                  3946 SOUTHWOOD DR SE                                                                           WARREN            OH    44484‐2654
CHARLES R MARSHALL                                446 RICHMOND PARK E                   APT 618                                                  CLEVELAND         OH    44143‐1869
CHARLES R MARTIN                                  7941 CANNONSBURG                                                                               ROCKFORD          MI    49341‐9003
CHARLES R MARTIS                                  4653 BROWN RD                                                                                  RAVENNA           OH    44266‐9314
CHARLES R MASON & PHYLIS C MASON JT TEN           15 RODCRIS DR                                                                                  MAHOPAC           NY    10541‐2924
CHARLES R MATTISON                                41011 RUSSET                                                                                   PLYMOUTH TWSP     MI    48170‐2630
CHARLES R MATTOX JR                               6829 N W CROSSROAD                                                                             KANSAS CITY       MO    64152‐2613
CHARLES R MAUSSHARDT                              448 WILDWOOD PKWY                                                                              BALLWIN           MO    63011‐2632
CHARLES R MAUSSHARDT & DENISE A MAUSSHARDT JT     448 WILDWOOD PKWY                                                                              BALLWIN           MO    63011‐2632
TEN
CHARLES R MAYS                                    5675 E TOWNLINE                                                                                BIRCH RUN         MI    48415‐9005
CHARLES R MC CAFFERTY                             2175 STATE ROUTE 131                                                                           FAYETTEVILLE      OH    45118‐9208
CHARLES R MC CULLOCH                              1438 HUMBOLT                                                                                   YOUNGSTOWN        OH    44502‐2776
CHARLES R MC DOWELL                               518 N OXFORD                                                                                   INDIANAPOLIS      IN    46201‐2458
CHARLES R MC DOWELL & HELEN G MC DOWELL JT TEN    518 N OXFORD                                                                                   INDIANAPOLIS      IN    46201‐2458

CHARLES R MC FATRIDGE                             2501 W IRVINGTON PL                                                                            TUCSON            AZ    85746‐4212
CHARLES R MC PHAIL                                215 FAIRGROUND ST                                                                              WINONA            MS    38967‐2103
CHARLES R MCCAFFERTY & ROSALIND L MCCAFFERTY JT   2175 STATE ROUTE 131                                                                           FAYETTEVILLE      OH    45118‐9208
TEN
CHARLES R MCCLOUD JR                              660 KAREN STREET                                                                               DAYTON            TN    37321‐5662
CHARLES R MCCOY & LETHA J MCCOY JT TEN            BOX 59                                                                                         SOUTH SHORE       KY    41175‐0059
CHARLES R MCFADDEN                                3005 RUBY AVE                                                                                  CLEVELAND         OH    44109‐4351
CHARLES R MCLAURIN                                1705 WEBSTER ROAD                                                                              FLINT             MI    48505‐2451
CHARLES R MCLEAN CUST BRITTANY E MCLEAN UTMA      PO BOX 217                                                                                     KAILUA KONA       HI    96745‐0217
OH
CHARLES R MCNAMARA                                82 30 218TH ST                                                                                 HOLLIS HILLS      NY    11427‐1416
CHARLES R MCSLOY                                  80 KENNEDY DR                                                                                  FAIRLESS HLS      PA    19030‐2009
CHARLES R MEGAUGHEY & BARBARA B MEGAUGHEY JT      10779 CARROL LANE                                                                              NORTHGLENN        CO    80233‐4160
TEN
CHARLES R MELTON                                  1007 COTTAGE                                                                                   MIDDLETOWN        IN    47356‐1714
CHARLES R MEYER & VIRGINIA T MEYER JT TEN         C/O NATIONAL SOIL EROSION LAB         PURDUE UNIVERSITY    SOIL BLDG                           WEST LAFAYETTE    IN    47907
CHARLES R MIKULEC                                 6770 YORK RD                                                                                   PARMA HTS         OH    44130‐4568
CHARLES R MILLER                                  315 FAIRWAY DRIVE                                                                              SPRINGBORO        OH    45066‐1080
CHARLES R MILLER                                  5715 RIVER RD                                                                                  EAST CHINA        MI    48054‐4733
CHARLES R MILLER & PATRICIA S MILLER JT TEN       315 FAIRWAY DR                                                                                 SPRINGBORO        OH    45066‐1080
CHARLES R MITCHELL                                2 CRICKLEWOOD LN                                                                               NORWALK           CT    06851‐1721
CHARLES R MOLNAR & DOLORES L MOLNAR JT TEN        4722 WHISPERING PINES                                                                          SHELBY TOWNSHIP   MI    48316‐1558

CHARLES R MORGAN                                  11316 WALNUT SHADE RD                                                                          HILLSBORO         OH    45133‐8641
CHARLES R MORRIS JR                               4045 EVANS RD                                                                                  HOLLY             MI    48442‐9415
CHARLES R MUELLER                                 203 COTTAGE DRIVE                                                                              PRUDENVILLE       MI    48651‐9744
CHARLES R MURPHY                                  812 BERNE ST SE                                                                                ATLANTA           GA    30316‐1804
CHARLES R MURPHY & RITA A MURPHY TR UA            2736 COUNTY ROUTE 6                                                                            FULTON            NY    13069
04/11/2008 MURPHY LIVING TRUST
CHARLES R MYERS                                   300 HICKORY LANE                                                                               WESTPHALIA        MI    48894
CHARLES R MYERS & KAREN H MYERS TEN ENT           114 LONGVIEW DRIVE                                                                             IRWIN             PA    15642‐4719
CHARLES R NANCE                                   9100 S THOROUGHBRED PT                                                                         INVERNESS         FL    34452‐9523
CHARLES R NARA & GAIL E NARA JT TEN               6721 GLENWILLOW DR                                                                             N ROYALTON        OH    44133‐1923
CHARLES R NAYLOR                                  PO BOX 7372                                                                                    BLOOMFIELD        MI    48302‐7372
CHARLES R NEAL                                    12859 WOODGROVE DR                                                                             SOUTH LYON        MI    48178
CHARLES R NEWMAN JR                               6481 COACH HOUSE RD                                                                            LISLE             IL    60532
CHARLES R NOLES & BRUNHILDE M NOLES JT TEN        140 CAMBRIDGE COURT                                                                            FRANKFORT         IL    60423‐1308
CHARLES R NORTHRUP                                450 NORTH MAIN ST                                                                              PENN YAN          NY    14527‐1013
CHARLES R PALMER                                  6607 WEBSTER                                                                                   KANSAS CITY       KS    66104‐1859
CHARLES R PARKER                                  1612 SKYVIEW DR                                                                                PASO ROBLES       CA    93446‐1853
CHARLES R PASTOR                                  1720 W MOODY LANE                                                                              LA GRANGE         KY    40031‐9439
CHARLES R PATTERSON                               140 RIVER BERCH DRIVE                                                                          OXFORD            GA    30054‐3859
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 725 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

CHARLES R PATTON                                 3520 FITCH ST                                                                                  JACKSONVILLE       FL    32205‐7707
CHARLES R PEARCE                                 547 CROSSFIRE CIRCLE                                                                           NAPLES             FL    34104
CHARLES R PEGG                                   8426 S 1250 W                                                                                  ALBANY             IN    47320‐9402
CHARLES R PERKINS                                3928 VANNETER ROAD                                                                             WILLIAMSTON        MI    48895‐9571
CHARLES R PERRY                                  29280 MANCHESTER ST                                                                            WESTLAND           MI    48185‐1889
CHARLES R PERRY                                  33 KELLY AVE                                                                                   MIDDLEPORT         NY    14105‐1219
CHARLES R PETERSON                               2302 COLORADO                                                                                  ROCHESTER          MI    48309‐1444
CHARLES R PETERSON EST LOIS E PETERSON           56670 JEWELL ROAD                                                                              SHELBY TWP         MI    48315
CHARLES R PETESCH EXECUTOR U‐W OF MARGARET       751 LEE AVE                                                                                    SAN LEANDRO        CA    94577‐2931
MOELL
CHARLES R PILAR                                  18441 PELLETT DR                                                                               FENTON             MI    48430‐8508
CHARLES R POSEY                                  7088 HILL GAIL DR                                                                              NEW ALBANY         OH    43054‐8043
CHARLES R PRICE & PATRICIA PRICE JT TEN          25 N TRANQUIL TR                                                                               CRAWFORDSVILLE     IN    47933‐2163

CHARLES R PRICE JR                               PO BOX 33                                                                                      PORT DEPOSIT       MD    21904‐0033
CHARLES R PRIDGEN                                12780 BLASINGAME RD                                                                            CALHAN             CO    80808
CHARLES R PROKOP JR                              5907 MORNINGSIDE DR                                                                            PARMA              OH    44129‐3835
CHARLES R RALPH                                  7 BOGUS HILL RD                                                                                NEW FAIRFIELD      CT    06812‐2801
CHARLES R RASKE                                  3320 S COCONUT ISLAND DRIVE           #202                                                     BONITA SPRINGS     FL    34134‐9141
CHARLES R RENNER                                 512 ELM ST                                                                                     LUDLOW             KY    41016‐1305
CHARLES R REYNOLDS                               4363 NATHAN                                                                                    STERLING HEIGHTS   MI    48310‐2654

CHARLES R RHODES                                 RR 3 BOX 3620                                                                                  MARBLE HILL        MO    63764‐9204
CHARLES R RIDENOUR                               53 PINEWOOD DRIVE                                                                              SHELBY             OH    44875
CHARLES R RIGGS                                  3712 HIGHLAND AVE W                                                                            BRADENTON          FL    34205‐2033
CHARLES R RIGGS                                  323 STEARMAN ROAD                                                                              BRICKTOWN          NJ    08723‐6819
CHARLES R RILEY                                  4415 MARATHON DR                                                                               COLUMBIAVILLE      MI    48421‐8923
CHARLES R RITTENHOUSE                            1307 PLUM ST                                                                                   PARKERSBURG        WV    26101‐4163
CHARLES R ROBBINS                                1772 NW L ST                                                                                   RICHMOND           IN    47374‐1415
CHARLES R ROHDE & LOIS R ROHDE JT TEN            906 SNIDER LANE                                                                                SILVER SPRING      MD    20905‐4170
CHARLES R RUBENKING & JOANN S RUBENKING JT TEN   6811 HENDRICKS ST                                                                              ANDERSON           IN    46013‐3605

CHARLES R RUNNELLS                               115 SHEPHERD ST                                                                                CONVOY             OH    45832‐0261
CHARLES R SANDERSON                              391 WOODSTOCK RD                                                                               EASTLAKE           OH    44095‐2749
CHARLES R SCHILLER                               2129 BENNOCH RD                                                                                OLD TOWN           ME    04468‐5612
CHARLES R SCHLEGEL & MARY LOU SCHLEGEL JT TEN    BOX 13                                                                                         BOZEMAN            MT    59771‐0013

CHARLES R SCOTT                                    310 ASTILBE DR                                                                               KENNET SQ          PA    19348‐1565
CHARLES R SCRUGGS                                  707 MIKE STREET                                                                              FRUITLAND PARK     FL    34731‐2050
CHARLES R SEIPELT & MARY C SEIPLET JT TEN          878 BRADBURY RD                                                                              CINCINNATI         OH    45245‐2838
CHARLES R SELLARS                                  721 SOUTH AVENIDA DEL MONTE                                                                  TUCSON             AZ    85748‐6830
CHARLES R SEXTON                                   G‐3415 ARLENE DR                                                                             FLINT              MI    48532
CHARLES R SHERBURNE                                12 OAK VILLAGE DR                                                                            ORMOND BEACH       FL    32174‐9030
CHARLES R SIEBERT JR & TINA SIEBERT JT TEN         16352 CHERRY ORCHARD DR                                                                      WILDWOOD           MO    63040‐1654
CHARLES R SILBEREISEN                              PO BOX 80306                                                                                 ATHENS             GA    30608‐0306
CHARLES R SILER                                    1088 BELVOIR LANE                                                                            CINCINNATI         OH    45238‐4431
CHARLES R SIMEC & JEANETTE L SIMEC TR SIMEC FAMILY 2210 DELANEY DRIVE                                                                           OTTAWA             IL    61350‐1200
TRUST UA 6/29/00
CHARLES R SIMPSON                                  11004 W 72 STREET                                                                            SHAWNEE            KS    66203‐4406
CHARLES R SIRACUSE                                 9038 JOYCE LANE                                                                              ANGOLA             NY    14006‐1208
CHARLES R SKINNER JR & JOYCE A SKINNER JT TEN      22 EMS B61 LN                                                                                WARSAW             IN    46580‐6650
CHARLES R SLIGER                                   1325 DENVER ST                                                                               WATERLOO           IA    50702‐3821
CHARLES R SLOVAK                                   11140 W PIERSON RD                                                                           FLUSHING           MI    48433‐9740
CHARLES R SMITH                                    3485 YORK                                                                                    ROCHESTER HLS      MI    48309‐3950
CHARLES R SMITH                                    2051 WOODS RD                                                                                IONIA              MI    48846‐9628
CHARLES R SMITH                                    8774 RIDGE RD                                                                                GASPORT            NY    14067‐9414
CHARLES R STARRY                                   53 WERNER RD                                                                                 GREENVILLE         PA    16125‐9434
CHARLES R STEPP                                    6528 WINONA AVE                                                                              ALLEN PARK         MI    48101‐2324
                                                09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 726 of 850
Name                                                Address1                               Address2                Address3       Address4          City             State Zip

CHARLES R SUMMERS & FRANCES WEIERSHAUSER JT         103 W 1ST                                                                                       NEWTON           KS    67114‐3650
TEN
CHARLES R TAYLOR & LOUANN S TAYLOR JT TEN           1021 MELROSE DRIVE                                                                              ANDERSON         IN    46011‐2346
CHARLES R TEACHWORTH                                15280 MURRAY ROAD                                                                               BYRON            MI    48418‐9006
CHARLES R THOMAS & JOAN Y THOMAS JT TEN             7320 N SHAKER DRIVE                                                                             WATERFORD        MI    48327‐1029
CHARLES R THOMPSON                                  257 WEST MAIN ST                                                                                OAKDALE          IL    62268‐2611
CHARLES R THOMPSON                                  128 STUBB AVE                                                                                   FITZGERALD       GA    31750‐8145
CHARLES R THOMPSON & ELOUISE J THOMPSON JT TEN      128 STUBB AVE                                                                                   FITZGERALD       GA    31750‐8145

CHARLES R TIDD & OLGA T TIDD TR THE 1995 TIDD FAM   1071 BOUNTIFUL WAY                                                                              BRENTWOOD        CA    94513‐6925
TRUST UA 11/29/95
CHARLES R TRENT                                     1226 MCKINLEY CT                                                                                MIAMISBURG       OH    45342‐4064
CHARLES R TRIPP & ANNA M TRIPP JT TEN               1914 RIDGEVIEW RD                                                                               COLUMBUS         OH    43221‐2805
CHARLES R TURNER                                    3650 BUSCH                                                                                      BIRCH RUN        MI    48415‐9081
CHARLES R TURNER                                    17808 TERI DR                                                                                   DERWOOD          MD    20855‐1343
CHARLES R VALENTINE                                 9551 CYPRESS CHASE CT                                                                           FORT MYERS       FL    33967‐4847
CHARLES R VALSECHI                                  41900 LILLIAN LANE                                                                              WEIRSDALE        FL    32195‐5218
CHARLES R VANNATTER                                 464 N CO RD 980 W                                                                               KOKOMO           IN    46901
CHARLES R VIK                                       1322 ALSTOTT                                                                                    HOWELL           MI    48843
CHARLES R WALDRON & VIVIAN V WALDRON JT TEN         3615 BETSY ROSS DR                                                                              ROYAL OAK        MI    48073‐6401

CHARLES R WALKER                                    802 S CLAY ST                                                                                   GALLATIN         MO    64640‐1439
CHARLES R WALKER                                    17349 PINEHURST                                                                                 DETROIT          MI    48221‐2312
CHARLES R WALL & HELEN B WALL JT TEN                508 CEDARBROOKE LN                                                                              RICHMOND         VA    23229‐7222
CHARLES R WARD                                      3900 CLIFTONDALE PL R1                                                                          COLLEGE PARK     GA    30349‐1318
CHARLES R WATSON                                    9661 SMART RD                                                                                   HILLSBORO        OH    45133‐8669
CHARLES R WATSON JR                                 8419 FLOWERING CHERRY LN                                                                        LAUREL           MD    20723‐1084
CHARLES R WATTS                                     323 S ROSEMARY AVE                                                                              LANSING          MI    48917‐3857
CHARLES R WELLMAN & DOROTHY J WELLMAN JT TEN        PO BOX 190                                                                                      WRIGHTWOOD       CA    92397‐0190

CHARLES R WENSTROM JR & GERYL L HALL JT TEN         2120 DELCY DR                                                                                   ROCKFORD         IL    61107‐1506
CHARLES R WHITE                                     3043 WINTHROP AVENUE                                                                            INDIANAPOLIS     IN    46205‐4042
CHARLES R WHITESELL                                 12612 TANFIELD DR                                                                               LAMIRADA         CA    90638‐2147
CHARLES R WILLIAMS                                  8669 BAY COLONY DR                                                                              INDIANAPOLIS     IN    46234‐2912
CHARLES R WILLIAMS & GEORGIA L WILLIAM JT TEN       2148 STATE HWY 178 EAST                                                                         BLUE SPRINGS     MS    38829

CHARLES R WITMER & JULIA T WITMER                   4 BIRMINGHAM DRIVE                                                                              ROCHESTER        NY    14618‐4002
CHARLES R WOODSON & MRS HELEN K WOODSON TEN         5108 BRITTANY DR S                     APT 108                                                  ST PETERSBURG    FL    33715‐1514
ENT
CHARLES R WYMAN                                     7513 SHADYWOOD RD                                                                               BETHESDA         MD    20817‐2065
CHARLES R YOUNG                                     ROUTE 9                                337 A MILL CREEK ROAD                                    CHARLESTON       WV    25311‐9615
CHARLES R YOUNG                                     1715 CARLA AVE                                                                                  ARLINGTON        TX    76014‐1509
CHARLES RABINOWITZ                                  3 FALCON CT                                                                                     SPRING VALLEY    NY    10977‐6103
CHARLES RALPH WILBURN JR                            4507 E PAGES LN                                                                                 LOUISVILLE       KY    40272‐2633
CHARLES RAPLEY HOOFF III                            1707 DUKE ST                                                                                    ALEXANDRIA       VA    22314‐3408
CHARLES RAY                                         1721 N STREET                                                                                   BEDFORD          IN    47421‐4113
CHARLES RAY BROWN PERS REP EST TROY D BROWN         12050 COUNTY ROAD 8                                                                             FLORENCE         AL    35633‐2811

CHARLES RAY GILLMORE                                PO BOX 272                                                                                      MARION           MI    49665‐0272
CHARLES RAY HANNUM                                  335 LITTLE ROCK CT                                                                              LAWRENCEVILLE    GA    30045‐4379
CHARLES RAY PRIBLE                                  2205 HAVERSHAM CLOSE                                                                            VIRGINIA BEACH   VA    23454‐1152
CHARLES RAYMOND RAMPONE CUST CHRISTOPHER            BOX 2757                                                                                        SETAUKET         NY    11733‐0855
JAMES RAMPONE UGMA NY
CHARLES RAYMOND REEVES                              879 SHORELINE                                                                                   CICERO           IN    46034‐9443
CHARLES REARDON                                     36 MYSTIC ST                                                                                    METHUEN          MA    01844‐2417
CHARLES REICHART CUST CHRISTOPHER REICHART          2441 RIDGEWOOD RD NW                                                                            ATLANTA          GA    30318
UTMA NJ
CHARLES REID TENNEY                                 5469 N CEDAR AVE APT 114                                                                        FRESNO           CA    93710
CHARLES REITHEL                                     P O BOX 13                                                                                      ATHENS           NY    12015
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 727 of 850
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

CHARLES REUEL SUTTON JR                            76‐A RIVER ST                                                                                   OLD SAYBROOK       CT    06475‐1513
CHARLES REYNOLDS                                   BOX 152                                                                                         SECO               KY    41849‐0152
CHARLES RICHARD JONES TR UA 11/25/96 THE CHARLES   14760 SW 79 COURT                                                                               PALMETTO BAY       FL    33158‐2024
RICHARD JONES TRUST
CHARLES RICHARD LIEWALD & LOIS ANN LIEWALD JT      1650 1ST W AV 107B                                                                              BRADENTON          FL    34205‐6841
TEN
CHARLES RICHARD MOORE JR                           BOX 1140                                                                                        CLANTON            AL    35046‐1140
CHARLES RICHARD MOUSER                             8332 SOUTH SATINWOOD DRIVE                                                                      GREENWOOD          LA    71033‐3227
CHARLES RILEY PIERSON                              12207 N BRAY RD                                                                                 MOORESVILLE        IN    46158‐6983
CHARLES RITTNER BARBER                             24 RAMBLETON DR                                                                                 NEW CASTLE         DE    19720‐4042
CHARLES ROBBINS BRADSHAW                           PO BOX 278                                                                                      HULLS COVE         ME    04644‐0278
CHARLES ROBERT CUMMINGS                            1651 N COUNTY ROAD 650 W                                                                        YORKTOWN           IN    47396‐9106
CHARLES ROBERT ERLER                               312 ELWOOD AVE                                                                                  HAWTHORNE          NY    10532‐1218
CHARLES ROBERT FRICKE                              436 BRAKEL POINT DRIVE                                                                          TRAVERSE CITY      MI    49684‐9341
CHARLES ROBERT FRONZEK                             6304 E SPRAGUE RD                                                                               BROADVIEW HTS      OH    44147‐1562
CHARLES ROBERT HETTERICK                           104 VILLAGE GREEN DRIVE                                                                         NEWPORT            KY    41076
CHARLES ROBERT MAJOR                               15568 THOMAS ST                                                                                 ALLEN PARK         MI    48101‐1948
CHARLES ROBERT MAYNARD                             17157 N 100W                                                                                    SUMMITVILLE        IN    46070‐9358
CHARLES ROBERT MOXLEY JR                           PO BOX 1385                                                                                     ORANGE             TX    77631‐1385
CHARLES ROBERT ROBERTS                             528 MECHANIC ST                                                                                 FITCHBURG          MA    01420‐2085
CHARLES ROBERT SCHARF                              4235 W 38 ST                                                                                    CLEVELAND          OH    44109‐3286
CHARLES ROBERTS                                    3325 17TH STREET N W                                                                            WASHINGTON         DC    20010‐1801
CHARLES ROCKE FAGG III                             5021 KING WILLIAM RD                                                                            RICHMOND           VA    23225‐3129
CHARLES RODEN TERRY III                            3233 BROOKWOOD RD                                                                               BIRMINGHAM         AL    35223‐2018
CHARLES RODNEY TRUELSON III CUST CHARLES RODNEY    18 REEDY PL                                                                                     BLUFFTON           SC    29909‐7126
TRUELSON IV UTMA ME
CHARLES ROGALO                                     9945 HILLTOP DR                                                                                 NEW PRT RCHY       FL    34654‐3438
CHARLES ROGERS JR                                  PO BOX 0661                                                                                     INKSTER            MI    48141‐0661
CHARLES ROMANO                                     7 VICKI S PLACE                                                                                 MILLINGTON         NJ    07946‐1364
CHARLES RONALD STURZ                               3 FROG ROCK RD                                                                                  ARMONK             NY    10504‐1013
CHARLES RONALD TOMKINSON                           BOX 366                                9 PEARL AVE                                              ONSET              MA    02558‐0366
CHARLES ROSENMAN                                   7926 WILSON TERRACE                                                                             MORTON GROVE       IL    60053‐1077
CHARLES ROSENSTOCK & GOLDIE ROSENSTOCK JT TEN      9301 SUNRISE LKS BLVD                  APT 103                                                  SUNRISE            FL    33322‐2137

CHARLES ROSENTHAL & CLARA ROSENTHAL JT TEN         366 N LA JOLLA AVE                                                                              LOS ANGELES        CA    90048‐2231

CHARLES ROSICH                                     1169 KINGS CHAPEL RD                                                                            NEW CASTLE         PA    16105‐4723
CHARLES ROSS                                       313 E CHERRY ST                                                                                 CLEARFIELD         PA    16830‐2318
CHARLES ROWE                                       113 STATION RD                                                                                  CAMPBELL HALL      NY    10916‐3431
CHARLES ROY SEMONES                                4616 TIMBER RIDGE DR                                                                            MONTCLAIR          VA    22026‐1057
CHARLES RUSSELL LAUTZ JR & ELEANOR MARGARET        31732 MIDDLEBORO                                                                                LIVONIA            MI    48154‐4279
LAUTZ JT TEN
CHARLES RUSSELL SNYDER                             301 HIGHLAND DRIVE                                                                              BELLINGHAM         WA    98225‐5415
CHARLES RUSSELL WADDELL                            #6‐1151 RIVERSIDE DR                   LONDON ON                              N6H 2T7 CANADA
CHARLES RUST & DOROTHY RUST JT TEN                 7444 S DUVAL ISLAND DR                                                                          FLORAL CITY        FL    34436‐2420
CHARLES S ADAMS JR                                 PO BOX 291                                                                                      MARATHON           NY    13803‐0291
CHARLES S ALTEMUS JR                               207 MERIDEN AVE                                                                                 SOUTHINGTON        CT    06489‐3673
CHARLES S BARTLETT                                 952 HIGHPOINT DR                                                                                CAPE ST CLAIRE     MD    21401‐4721
CHARLES S BELLAMY                                  C/O EUGENIA H BELLAMY                  PO BOX 245                                               BAMBERG            SC    29003‐0245
CHARLES S BERMAN                                   PO BOX 1338                                                                                     SANTA MONICA       CA    90406‐1338
CHARLES S BRODBENT                                 ATTN PATRICK S BRODBENT                11539 E GRANT RD                                         FRANKTOWN          CO    80116‐9219
CHARLES S BUHRMAN CUST SHERIDAN J BUHRMAN          80 MORSE RD                                                                                     PLYMOUTH           NH    03264‐3513
UGMA MA
CHARLES S BUTIN                                    10 BOXWOOD DRIVE                                                                                GREAT NECK         NY    11021‐2801
CHARLES S CALCATERRA                               29557 WALKER DRIVE                                                                              WARREN             MI    48092‐2286
CHARLES S CAMPBELL                                 4010 CANTEBURY DRIVE                                                                            CULLEOKA           TN    38451‐2051
CHARLES S CHMELAR                                  3506 S JERRY SMITH RD                                                                           DOVER              FL    33527‐5462
CHARLES S COLE JR                                  33859 COACHWOOD DR                                                                              STERLING HEIGHTS   MI    48312‐6515
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 728 of 850
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

CHARLES S CUSICK JR                               PO BOX 5137                                                                                     NEW CASTLE         PA    16105‐0137
CHARLES S D WITTEN                                10009 CONNECTICUT AVE                                                                           KENSINGTON         MD    20895‐3838
CHARLES S DONALDSON                               240 BLOOMFIELD BLVD                                                                             BLOOMFIELD HILLS   MI    48302‐0510

CHARLES S DUERR                                   290 E WINCHESTER AV                    APT 267‐W                                                LANGHORNE          PA    19047‐2227
CHARLES S ELLIOTT                                 16657 SO 34TH WAY                                                                               PHOENIX            AZ    85044‐7876
CHARLES S FEILHARDT                               2829 ELDORA DR #2                                                                               TOLEDO             OH    43613‐5323
CHARLES S FINNEY                                  9204 HOMER                                                                                      DETROIT            MI    48209‐1765
CHARLES S FOX                                     1209 BOHEMIA MILL RD                                                                            MIDDLETOWN         DE    19709
CHARLES S FOX                                     37 FIFTH AVE                                                                                    CHAMBERSBURG       PA    17201‐1752
CHARLES S GETZ                                    4465 E HARRINGTON ROAD                                                                          CROSWELL           MI    48422‐9311
CHARLES S GOLDBERG                                19 PINEWOOD FARM CT                                                                             OWINGS MILLS       MD    21117‐2338
CHARLES S GREANOFF                                1536 ARTHUR AVENUE                                                                              LAKEWOOD           OH    44107‐3804
CHARLES S GROSCHE TR UA 03/23/90 MARY JUNE        944 S PENINSULA DR                                                                              DAYTONA BEACH      FL    32118
GROSCHE FAMILY TRUST
CHARLES S GRUNDER                                 5 COBB HILL RD                                                                                  CAMDEN             ME    04843‐4339
CHARLES S HAGEN & GEORGIANA V HAGEN JT TEN        507 BARTLETT AVENUE                                                                             RIDLEY PARK        PA    19078‐2604
CHARLES S HARRIS JR & DOROTHY J HARRIS JT TEN     2985 DANA POINTE DRIVE                                                                          PINCKNEY           MI    48169‐8511

CHARLES S HAWKINS                                 PO BOX 4655                                                                                     PITTSBURGH         PA    15221‐9998
CHARLES S HELBLING                                103 DUPER DRIVE                                                                                 WOODSFIELD         OH    43793
CHARLES S HELBLING & CYNTHIA K WILLIS JT TEN      103 DUPER DRIVE                                                                                 WOODSFIELD         OH    43793
CHARLES S HOPKINS & DOLORES P HOPKINS JT TEN      202 THAMES WAY                         APT B                                                    BEL AIR            MD    21014‐4210

CHARLES S HOPSON                                  R 1 MCBRIDE AVE                                                                                 DUPO               IL    62239‐9801
CHARLES S HUNT                                    6893 HAMPTON DR                                                                                 SAN JOSE           CA    95120‐4742
CHARLES S HUNT JR                                 3502 WEDGE WAY                                                                                  NEW PRT RCHY       FL    34655‐1821
CHARLES S HUNTER III                              1850 CHURCHVILLE AVE                                                                            STAUNTON           VA    24401‐1702
CHARLES S JOHNSON                                 520 POWER                                                                                       HELENA             MT    59601‐6114
CHARLES S JONES                                   3537 SANDY WOODS LA                                                                             STONE MOUNTAIN     GA    30083‐4048

CHARLES S KNAPP & FRIEDA M KNAPP JT TEN           1828 PARK AVE                                                                                   LANSING            MI    48910‐1263
CHARLES S KNIGHTS                                 723 N OAKLEY                                                                                    SAGINAW            MI    48602‐4582
CHARLES S KROPOG                                  106 TAMMY DR                                                                                    LA PLACE           LA    70068‐6473
CHARLES S LAMBERT JR                              342 LUX RD                                                                                      HATTIESBURG        MS    39401‐8472
CHARLES S LEONARD JR                              6817 RANNOCH ROAD                                                                               BETHESDA           MD    20817‐5426
CHARLES S MATTINA                                 6648 BEAR RIDGE ROAD                                                                            LOCKPORT           NY    14094‐9212
CHARLES S MC CALL TR REVOCABLE TRUST 04/18/90 U‐A 526 GROVE LANE                                                                                  CHINO VALLEY       AZ    86323‐6901
CHARLES S MC CALL
CHARLES S MC DERMOTT                              930 AUBURNDALE                                                                                  YPSILANTI          MI    48198‐6105
CHARLES S MILLER                                  1 EAST TRAIL                                                                                    DARIEN             CT    06820‐5513
CHARLES S MILLER                                  15240 SILVER PKWY                      APT 210                                                  FENTON             MI    48430‐3486
CHARLES S MILLER & THERESA R MILLER JT TEN        245 POND DR                                                                                     HOCKESSIN          DE    19707‐9241
CHARLES S MILLER CUST BENSON E MILLER UGMA NY     111 MUNSON RD                                                                                   MIDDLEBURY         CT    06762‐1320

CHARLES S MINNICK                                 BOX 115                                                                                         FREEDOM            IN    47431‐0115
CHARLES S MORSE & GLORIA D MORSE JT TEN           STATE RD                                                                                        RICHMOND           MA    01254
CHARLES S NUSBAUM                                 1321 CLONCURRY RD                                                                               NORFOLK            VA    23505‐1711
CHARLES S ORLANDO                                 498 PORTER AVENUE                                                                               CAMPBELL           OH    44405‐1466
CHARLES S PARK                                    6650 GREEN MEADOW LN                                                                            MORROW             GA    30260‐2808
CHARLES S PEMBERTON                               51134 CAPITOL DR                                                                                BELLEVILLE         MI    48111‐4246
CHARLES S PENNINGTON                              1504 BURBANK DR                                                                                 DAYTON             OH    45406‐4518
CHARLES S PIONTKEWICZ                             135PULASKI ST                                                                                   TORRINGTON         CT    06790‐4638
CHARLES S POLLUM                                  14829 MAYVIEW CT                                                                                SHELBY TOWNSHIP    MI    48315‐4450

CHARLES S PONCE                                   610 RIVER ST APT 5                                                                              FILLMORE           CA    93015‐1900
CHARLES S RALL                                    111 ASHLAND RD                                                                                  SUMMIT             NJ    07901‐3239
CHARLES S RAMBALDO                                1528 HELEN                                                                                      GARDEN CITY        MI    48135‐3024
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 729 of 850
Name                                               Address1                              Address2             Address3          Address4          City            State Zip

CHARLES S RANDONE & MRS ANNE L RANDONE JT TEN      27 BUSWELL AVE                                                                                 METHUEN         MA    01844‐5164

CHARLES S SABALA                                   PO BOX 4878                                                                                    FOSTER CITY     CA    94404‐0878
CHARLES S SALLEE & MARCELENE A KNIGHT JT TEN       805 SEBREEZE TER                                                                               COOS BAY        OR    97420‐3472

CHARLES S SANDERS                                  5331 KIMBERLY WOODS CIR                                                                        FLINT           MI    48504‐1109
CHARLES S SAXON                                    1715 BALDWIN                                                                                   ANN ARBOR       MI    48104
CHARLES S SHRADER                                  7700 NEMCO WAY                        APT 322                                                  BRIGHTON        MI    48116‐9469
CHARLES S SLONAKER & JOAN R SLONAKER JT TEN        302 TIMBERCREST TRL                                                                            VALENCIA        PA    16059‐4703
CHARLES S SONA & MARY ANNE SONA JT TEN             658 ADELPHIA RD                                                                                FREEHOLD        NJ    07728‐8820
CHARLES S STANDART & LINDA H STANDART JT TEN       101 WHITE OAK CT RD                                                                            EASLEY          SC    29640‐7763

CHARLES S STEWART                                  3260 TWINLEAF                                                                                  COMMERCE        MI    48382‐4262
                                                                                                                                                  TOWNSHIP
CHARLES S SULLIVAN                                 51456 NICOLETTE DR                                                                             CHESTERFIELD    MI    48047‐4525
CHARLES S THORNTON & MARIAN E THORNTON JT TEN      6803 NORTH OLEANDER                                                                            CHICAGO         IL    60631‐1131

CHARLES S TORBERT SR                               56 CO RD 43N                                                                                   OPELIKA         AL    36804‐1622
CHARLES S TOY & CAROL A TOY JT TEN                 13850 CHERRY BLOSSOM LANE                                                                      MILFORD         MI    48380
CHARLES S WELLS                                    2300 LYNDHURST DRIVE                  OAKVILLE ON                            L6H 7V5 CANADA
CHARLES S WELLS CUST GARRETT WELLS UGMA PA         2300 LYNDHURST DRIVE                  OAKVILLE ON                            L6H 7V5 CANADA

CHARLES S WELLS CUST JESSE WELLS UGMA PA           2300 LYNDHURST DRIVE                  OAKVILLE ON                            L6H 7V5 CANADA
CHARLES S WENDERSKI                                11448 KLINGER                                                                                  HAMTRAMCK       MI    48212‐3158
CHARLES S WHITE                                    857 COTHRAN RD                                                                                 COLUMBIA        TN    38401‐6756
CHARLES S WILCOX TR UA 06/12/92 CHARLES S WILCOX   2015 LOVERS LANE                                                                               ST JOSEPH       MO    64505‐2243
TRUST
CHARLES S WILLCOX JR                               3024 RYECROFT RD                                                                               BIRMINGHAM      AL    35223‐2714
CHARLES S YATES                                    1823 RIVERVIEW DR                                                                              MURFREESBORO    TN    37129‐6020
CHARLES SACCO EX EST ANNA SACCO BELL               647 BOEZENKILL RD                                                                              ALTAMONT        NY    12009
CHARLES SALGUERO                                   4106 KIMLIE CT                                                                                 DECATUR         GA    30035‐1029
CHARLES SANATORE TR UA 06/11/85 CHARLES            6136 WHISKEY CREEK DR APT 513                                                                  FORT MYERS      FL    33919
SANATORE TRUST
CHARLES SANFILIPPO                                 25 HOLIDAY DR                                                                                  WEST CALDWELL   NJ    07006‐7416
CHARLES SANTORO                                    2319 96TH ST                                                                                   E ELMHURST      NY    11369‐1211
CHARLES SAULMON                                    119B E BOB WHITE RD                                                                            KATHLEEN        GA    31047‐2726
CHARLES SAXON & MRS MARGARET SAXON JT TEN          1715 BALDWIN                                                                                   ANN ARBOR       MI    48104
CHARLES SCALIA                                     2 LILLANE LANE                                                                                 UPPER SADDLE    NJ    07458
                                                                                                                                                  RIVER
CHARLES SCHAFFROTH                                 HCR 1 BOX 289                                                                                  SCIOTA          PA    18354‐9734
CHARLES SCHIEBEL & LORRAINE M SCHIEBEL JT TEN      3525 SW 106TH                                                                                  BEAVERTON       OR    97005‐1930

CHARLES SCHIRG & MRS NINA LEE SCHIRG JT TEN     705 HASTINGS TERR                                                                                 VALPARAISO      IN    46383‐2015
CHARLES SCHLEGEL & MRS MARY LOU SCHLEGEL JT TEN PO BOX 13                                                                                         BOZEMAN         MT    59771‐0013

CHARLES SCHNEIDER & CATHERINE A SCHNEIDER JT TEN 90‐4 B CLUBHOUSE RD                                                                              SUNSET BEACH    NC    28468

CHARLES SCHNELL                                   6850 GARDEN VALLEY RD                                                                           ROSEBURG        OR    97470‐9515
CHARLES SCHUYLER KEISTER & VIOLET HOPE KEISTER JT 533 GRAND AVE                                                                                   HACKETTSTOWN    NJ    07840‐1119
TEN
CHARLES SCHWAB & CO CUST RHONDA GUARD IRA         PO BOX 92005                                                                                    SOUTHLAKE       TX    76092

CHARLES SCHWAB & CO INC CUST DAVID J RATLIFF IRA   9711 REVERE WAY                                                                                INDIANAPOLIS    IN    46250‐3102

CHARLES SCHWAB & CO TR CUST FBO TONYA R DIXON      1250 E 58TH ST                                                                                 KANAS CITY      MO    64110‐3236
IRA
CHARLES SCHWAB & CO TR JAMES D BLACKBURN IRA       84 RAILROAD MILLS RD                                                                           PITTSFORD       NY    14534‐4026
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 730 of 850
Name                                            Address1                               Address2             Address3          Address4          City            State Zip

CHARLES SCHWAB & CO TR JOE W LARSON IRA UA      245 E 80TH STREET APT 6 J                                                                       NEW YORK        NY    10021‐0508
08/27/98
CHARLES SCHWAB & CO TR MAE J HESTER IRA         10425 BALLENTINE                                                                                OVERLAND PARK   KS    66214‐3046
CHARLES SCHWAB CUST RICHARD S POPE UTMA CA      ATTN SECURITIES OPERATIONS             2423 E LINCOLN DR                                        PHOENIX         AZ    85016

CHARLES SCHWAB TR KEVIN A CALLOWAY IRA          20658 BENSLEY AVE                                                                               LYNWOOD        IL     60411‐1541
CHARLES SCOTT                                   118 MICA DRIVE                                                                                  VALLEJO        CA     94589‐3802
CHARLES SCOTT                                   268 W FORES AVENUE                                                                              ENGLEWOOD      NJ     07631‐3804
CHARLES SCOTT                                   PO BOX 84                                                                                       WEST BRANCH    MI     48661‐0084
CHARLES SCOTT YATES                             8280 SOFT WIND DR                                                                               MECHANICSVILLE VA     23111‐5651
CHARLES SCULFIELD                               1525 LEE BLVD                                                                                   BERKELEY       IL     60163‐1317
CHARLES SEAMAN                                  160 BARNHART RD                                                                                 MCCLELLANDTOWN PA     15458‐1126

CHARLES SEPIC                                   6104 HIGHLAND RD                                                                                HIGHLAND HTS    OH    44143‐2016
CHARLES SEVERS                                  64 UNION ST                                                                                     CLARK           NJ    07066‐1541
CHARLES SIMMONS                                 8352 S THROOP                                                                                   CHICAGO         IL    60620‐3937
CHARLES SINOWAY                                 6126 PINE MEADOWS DR                                                                            LOVELAND        OH    45140‐6537
CHARLES SKERLAK                                 984 HERMAN RD                                                                                   N BRUNSWICK     NJ    08902‐2345
CHARLES SLADE                                   1061 ABLETT COURT RR1                  HALIBURTON ON                          K0M 1S0 CANADA
CHARLES SMITH                                   2967 SEATON CIRCUIT N                                                                           WARREN          MI    48091‐1680
CHARLES SMITH JR                                115 OLD LOG ROAD                                                                                LINDEN          VA    22642‐5222
CHARLES SMOLAREK & ARLENE SMOLAREK JT TEN       1705 W DAVIS                                                                                    MC HENRY        IL    60050‐8136
CHARLES SODORA                                  526 HOBSON AVE                                                                                  SADDLE BROOK    NJ    07663‐5908
CHARLES SPEER JOHNSON III                       215 E CARLISLE RD                                                                               LAKELAND        FL    33813‐1610
CHARLES SPILLAR CUST RACHEL SPILLAR UTMA CA     6625 CLIFFORD                                                                                   CUPERTINO       CA    95014

CHARLES SPILLER CUST RACHEL SPILLER UTMA CA     6625 CLIFFORD                                                                                   CUPERTINO       CA    95014
CHARLES SPINA EX EST FRED SPINA                 81 FERNDALE AVENUE                                                                              GLEN ROCK       NJ    07452‐2733
CHARLES SPRAWKA & KATHRYN A SPRAWKA JT TEN      13794 EDGEWATER DR                                                                              GREGORY         MI    48137‐9629

CHARLES SPUCHES                                 14402 N 10TH PL                                                                                 PHOENIX         AZ    85022‐4315
CHARLES STAHL                                   198 UNION AVE                                                                                   SHARPSVILLE     PA    16150
CHARLES STARR JR & NORMA STARR JT TEN           511 UNION STREET                                                                                NORTH ADAMS     MA    01247‐3563
CHARLES STEPANIAN                               1830 WARDLOW                                                                                    HIGHLAND        MI    48357‐4323
CHARLES STEPHEN ANDREWS                         3505 WOOD ST                                                                                    ELKHART         IN    46516
CHARLES STEVEN FRANK                            2235 MILLVALE RD                                                                                LOUISVILLE      KY    40205‐1715
CHARLES STEVEN TOMLINSON                        1302 CHADWICK LAKE DR                                                                           LAWRENCEVILLE   GA    30043‐7028
CHARLES STEVEN WEIR                             12996 PIPILO COURT                                                                              SAN DIEGO       CA    92129‐3561
CHARLES STEWARD                                 18303 MARLOWE ST                                                                                DETROIT         MI    48235‐2763
CHARLES STILWELL                                12940 VON SCHEBEN DR                                                                            ANCHORAGE       AK    99516‐3267
CHARLES STRINGFELLOW                            401 E 74TH ST                          APT 5L                                                   NEW YORK        NY    10021‐3931
CHARLES STRITTMATTER                            2677 PTE TREMBLE RD                                                                             ALGONAC         MI    48001‐1685
CHARLES STUART LEE                              HC 04 BOX 9058                                                                                  PALMER          AK    99645‐9501
CHARLES SUDDARDS STROH                          300 RIVER PLACE DR                     APT 5000                                                 DETROIT         MI    48207‐5068
CHARLES SWITGAL STANDER                         533 PORTLAND AVE                                                                                SAINT PAUL      MN    55102‐2218
CHARLES SYKES CUST GREG SYKES UTMA PA           12663 HATCH HILL RD                                                                             MEADVILLE       PA    16335‐5947
CHARLES T AMOS                                  13800 ELWELL RD                                                                                 BELLEVILLE      MI    48111‐2549
CHARLES T BARRY                                 8442 IMPERIAL CIR                                                                               PALMETTO        FL    34221‐9507
CHARLES T BLACK                                 30 RIDINGS WAY                                                                                  CHADDS FORD     PA    19317‐9164
CHARLES T BLINSKY                               5580 JOHNSON RD                                                                                 LOWELLVILLE     OH    44436‐9738
CHARLES T BOND                                  336 W 9TH ST                                                                                    ANDERSON        IN    46016‐1316
CHARLES T BRANTLEY                              4450 CHALICE DRIVE                                                                              SOUTHAVEN       MS    38671
CHARLES T BRESSLER                              W296 N2060 GLENCOVE                                                                             PEWAUKEE        WI    53072‐4831
CHARLES T BRISSETTE                             521 N LINCOLN ST                                                                                BAY CITY        MI    48708‐6614
CHARLES T BROWN                                 40 LEEDLE CIR                                                                                   RISING SUN      MD    21911‐1834
CHARLES T BROWNLOW                              139 KELSAN WAY                                                                                  FAIRBANKS       AK    99709‐2929
CHARLES T BUERS                                 11066 WOOD RUN CIRCLE                                                                           SOUTH LYON      MI    48178‐6654
CHARLES T BURNS III                             6445 GOLDEN OAK DR                                                                              LINTHICUM       MD    21090‐2717
CHARLES T BURNS JR                              354 CHERRY RUN RD                                                                               HEDGESVILLE     WV    25427‐5711
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 731 of 850
Name                                              Address1                              Address2              Address3         Address4          City            State Zip

CHARLES T BUTLER                                     3665 WINCHESTER AVENUE                                                                      MARTINSBURG     WV    25405
CHARLES T CARMAN JR                                  203 HICKORY HILL DR                                                                         DOVER           TN    37058‐3416
CHARLES T CATHEY JR                                  3330 BRIARLAKE RD                                                                           DECATUR         GA    30033‐1013
CHARLES T CLARK                                      2203 VANDALIA                                                                               COLLINSVILLE    IL    62234‐4855
CHARLES T CLAYWELL                                   PO BOX 23                                                                                   CANEYVILLE      KY    42721‐0023
CHARLES T CONN                                       568 HAL COR LANE                                                                            CINCINNATI      OH    45255‐5010
CHARLES T DALE & LOUISE F DALE JT TEN                745 RENAISSANCE DRIVE              APT E301                                                 WILLIAMSVILLE   NY    14221‐8048
CHARLES T DEHART                                     11178 SUGDEN LAKE RD                                                                        WHITE LAKE      MI    48386‐3659
CHARLES T DERRY JR & LOUISE S DERRY JT TEN           95 PLEASANTVIEW AV                                                                          WEYMOUTH        MA    02188‐3137
CHARLES T ECKERT                                     4412 CHERRY TREE LN                                                                         FLINT           MI    48507‐3723
CHARLES T ELLIS TR CHARLES T ELLIS TRUST UA 03/12/96 8346 CHINABERRY PL                                                                          HUBER HGTS      OH    45424‐6508

CHARLES T FLEMING                                 1316 APPOMATTOX DR                                                                             COLONIAL HEIGHTS VA   23834‐2745

CHARLES T FLETT                                   3741 W PLACITA GRACIOSA                                                                        TUCSON          AZ    85745‐9533
CHARLES T FREEMAN                                 PO BOX 13                                                                                      LYNNVILLE       TN    38472‐0013
CHARLES T GARWOOD                                 410 SAMARITAN DR                                                                               CUMMING         GA    30040‐2327
CHARLES T GOODNOW                                 APT 4                                 23 CUSACK ROAD                                           HAMPTON         NH    03842‐1455
CHARLES T GREENWAY                                750 MICHAEL DR                                                                                 MORRIS          IL    60450‐3001
CHARLES T GREENWAY & BETTIE L GREENWAY JT TEN     750 MICHAEL DRIVE                                                                              MORRIS          IL    60450‐3001

CHARLES T GREENWAY CUST DEBRA L GREENWAY          1661 STONEY BROOK LN                                                                           MORRIS          IL    60450‐6856
UGMA IL
CHARLES T GREENWAY CUST PATRICK T GREENWAY        750 MICHAEL DR                                                                                 MORRIS          IL    60450‐3001
UGMA IL
CHARLES T GREGORY JR                              1744 BROOKSIDE AVE                                                                             INDIANAPOLIS    IN    46201‐1018
CHARLES T HALL                                    809 OLD HOG MTN RD                                                                             HOSCHTON        GA    30548‐3715
CHARLES T HARRISON                                460 WEST VIENTO STREET                MOUNTAINHOUSE                                            TRACY           CA    95391
CHARLES T HARTHER III                             600 PELHAMDALE                                                                                 PELHAM MANOR    NY    10803‐2808
CHARLES T HENWOOD                                 5911 KINGS ARMS                                                                                WATERFORD       MI    48327‐3071
CHARLES T HILL                                    1910 S WALNUT ST                                                                               JANESVILLE      WI    53546‐6067
CHARLES T HOPKINS                                 2073 FOX GLEN CT                                                                               BLOOMFIELD      MI    48304‐1007
CHARLES T HOUSER                                  5067 TYLER DR                                                                                  TROY            MI    48098‐3409
CHARLES T HOWARD                                  PO BOX 251                                                                                     HARLAN          KY    40831‐0251
CHARLES T JACOBS                                  5932 DONNELLY RD                                                                               TOLEDO          OH    43623‐1408
CHARLES T JOHNSON                                 3261 BOWMAN RD                                                                                 BAY CITY        MI    48706‐1766
CHARLES T JONES                                   11187 LUCAS FERRY RD                                                                           ATHENS          AL    35611‐6002
CHARLES T KALAL 3RD                               246 SCHOOL HOUSE RD                                                                            OLD SAYBROOK    CT    06475‐1053
CHARLES T KANZAWA JR                              821 WOODLAWN DR                                                                                ANDERSON        IN    46012‐4563
CHARLES T KENDRICK                                19639 FLEMING                                                                                  DETROIT         MI    48234‐1362
CHARLES T KIAH                                    24409 HANOVER                                                                                  DEARBORN        MI    48125‐2005
CHARLES T KING                                    6182 COURTLAND                                                                                 CANTON          MI    48187‐3604
CHARLES T KIRKSEY                                 5030 SMILEY RD                                                                                 CHAPEL HILL     TN    37034‐2561
CHARLES T KNIGHT                                  1955 MURIFIELD AVE                                                                             ROCKWALL        TX    75087‐3129
CHARLES T KUBASIAK                                10795 BATTLE CREEK HWY                                                                         BELLEVUE        MI    49021‐9748
CHARLES T LACY                                    C/O CATHY BYERLY                      1489 FOREST HILL SE                                      GRAND RAPIDS    MI    49546‐6262
CHARLES T LAIRD                                   1176 LITTLE VINE CH RD                                                                         VILLA RICA      GA    30180‐4054
CHARLES T LINDSEY                                 7848 ROBBINS CIR                                                                               DORA            AL    35062‐1926
CHARLES T MAGHES                                  2094 MAPLEWOOD ROAD                                                                            STOW            OH    44224‐2643
CHARLES T MARGOTTA & DAVID MARGOTTA JT TEN        201 WIDGEON CNTR                                                                               HAMPSTEAD       NC    28443

CHARLES T MARGOTTA & MISS CHERYL MARGOTTA JT      201 WIDGEON CNTR                                                                               HAMPSTEAD       NC    28443
TEN
CHARLES T MASON                                   5914 OAKLAND GARDENS CT                                                                        HAMILTON        OH    45011‐9367
CHARLES T MC CLOSKEY                              1366 SCIENICVIEW CT                                                                            CENTERVILLE     OH    45459‐4940
CHARLES T MCMAHON                                 5200 HAMPDEN AVE                                                                               ROCKVALE        TN    37153‐4490
CHARLES T MILLER JR                               4915 CLARKSTON RD                                                                              CLARKSTON       MI    48348‐3800
CHARLES T MOORE                                   1895 CR 3330                          PO BOX 1111                                              OMAHA           TX    75571
CHARLES T MORICAL                                 1498 TAMARACK LANE                                                                             OAKLAND         MI    48363‐1253
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 732 of 850
Name                                             Address1                              Address2               Address3        Address4          City                State Zip

CHARLES T PASCALE & MRS THERESA A PASCALE JT TEN 1060 E 52ND ST                                                                                 BROOKLYN            NY    11234‐1617

CHARLES T PATIN & LEOLA T PATIN TR PATIN LIVING 110 MELROSE DR                                                                                  LAFAYETTE           LA    70506‐5419
1997 TRUST UA 04/09/97
CHARLES T PEARCE                                5539 NICHOLS RD                                                                                 SWARTZ CREEK        MI    48473‐8524
CHARLES T RANDOLPH                              5100 STRATFORD CRESCENT                                                                         RICHMOND            VA    23226‐1616
CHARLES T REED                                  7824 HICKORY RD                                                                                 BROWNSBURG          IN    46112‐8584
CHARLES T REID                                  760 MOFF DR                                                                                     COLUMBIAVILLE       MI    48421‐9735
CHARLES T REVOLT JR                             714 S FRANKLIN ST                                                                               DUNKIRK             IN    47336‐1410
CHARLES T RICE                                  107 REBEL RUN RD                                                                                FAIRFIELD GLADE     TN    38558‐2904
CHARLES T ROBERTSON SR                          415 SHUFORD CIRCLE DR                                                                           NEWTON E            NC    28658‐9646
CHARLES T ROGERS                                38 COUNTY ROAD 1529                                                                             LOUIN               MS    39338‐4765
CHARLES T RUBY                                  3188 STATE RD                                                                                   NEW CASTLE          PA    16105‐6230
CHARLES T SANDERS                               2827 MALLERY                                                                                    FLINT               MI    48504‐3053
CHARLES T SEEVERS                               RD#2                                                                                            LISBON              OH    44432
CHARLES T SHARBAUGH & DONNA P SHARBAUGH JT TEN ATTN CHARLES T SHARBAUGH                1101 SPRINGDALE ROAD                                     ATLANTA             GA    30306‐2629

CHARLES T SHEDD                                  6590 FOREST RIDGE CT                                                                           CLARKSTON           MI    48346‐3480
CHARLES T SHICK                                  2728 MERCURY CT                                                                                INDIANAPOLIS        IN    46229‐1128
CHARLES T SNEDEN                                 18909 WOOD                                                                                     MELVINDALE          MI    48122‐1473
CHARLES T SONLITNER                              1991 RANDI DR                                                                                  AURORA              IL    60504‐4757
CHARLES T SORRELL                                1713 LENNOX WAY                                                                                BOWLING GREEN       KY    42104‐4541
CHARLES T STEWART                                20285 FERGUSON ST                                                                              DETROIT             MI    48235‐2113
CHARLES T STRAND                                 7691 ALPHA RD                                                                                  PRINCETON           MN    55371‐6047
CHARLES T SULLIVAN                               2113 RUDY LN                                                                                   LOUISVILLE          KY    40207‐1280
CHARLES T THIEDE                                 9820 WHITEROCK RD                                                                              HARBOR BEACH        MI    48441‐8925
CHARLES T THOMPSON                               9808 TECUMSEH                                                                                  DETROIT             MI    48239‐2278
CHARLES T TORPEY                                 9150 BALDWIN ROAD                                                                              GAINES              MI    48436‐9764
CHARLES T URIAN                                  2010 GREENDALE RD                                                                              NORTH PORT          FL    34287
CHARLES T VAN VLIET JR                           536 NW 4TH AVE                                                                                 DELRAY BEACH        FL    33444‐2802
CHARLES T VENTIMIGLIA                            23079 BLACKETT                                                                                 WARREN              MI    48089‐2269
CHARLES T WAGNER                                 1117 FAIRWAYS BLVD                                                                             TROY                MI    48098‐6109
CHARLES T WARREN                                 136 N MADISON AVE                                                                              UPPER DARBY         PA    19082‐1312
CHARLES T WESTCOTT JR                            8 W VINE ST                                                                                    PROVINCETOWN        MA    02657‐1922
CHARLES T WOLLASTON                              STAR ROUTE                                                                                     TOUGHKENAMON        PA    19374
CHARLES T WORLEY                                 4185 N U S HWY 31                                                                              SHARPSVILLE         IN    46068‐9122
CHARLES TEAGUE GILLETTE                          472 FERN ST                                                                                    WEST HARTFORD       CT    06107
CHARLES TEKEYAN                                  72 SEAMAN AVE                                                                                  NEW YORK            NY    10034‐2822
CHARLES TERRELL                                  20492 YACAMA AVENUE                                                                            DETROIT             MI    48203‐1123
CHARLES THALER                                   APT 10                                31 STONEHENGE CIR                                        BALTIMORE           MD    21208‐3250
CHARLES THOMAS                                   2320 ST PAULS SQ                                                                               RALEIGH             NC    27614‐7050
CHARLES THOMAS ADAMS                             602 BLANTON PLACE                                                                              GREENSBORO          NC    27408‐3173
CHARLES THOMAS BAROOSHIAN                        16875 SUNSET BLVD                                                                              PACIFIC PALISADES   CA    90272‐3206

CHARLES THOMAS HIGGINS                           30 GLENBROOKE CIRCLE W                                                                         RICHMOND            VA    23229‐8035
CHARLES THOMAS RIGGS II                          PO BOX 822                                                                                     BARDSTOWN           KY    40004‐0822
CHARLES THOMASON                                 3861 MAPLEVIEW COURT                                                                           LASVEGAS            NV    89147‐4385
CHARLES THOMPSON                                 2 RIVER TER                           APT 18F                                                  NEW YORK            NY    10282‐1253
CHARLES TOMMY VINEYARD JR                        1717 HUGHES RD                                                                                 DICKINSON           TX    77539‐7412
CHARLES TRIANTAFILLES                            304 NEWTONVILLE AVE                                                                            NEWTONVILLE         MA    02460‐2012
CHARLES TRIANTAFILLES CUST GEORGIA ZOE           304 NEWTONVILLE AVE                                                                            NEWTONVILLE         MA    02460‐2012
TRIANTAFILLES UGMA MA
CHARLES TRIANTAFILLES CUST HARRY TRIANTAFILLES   304 NEWTONVILLE AVE                                                                            NEWTONVILLE         MA    02460‐2012
UGMA MA
CHARLES TRIMBLE                                  23 HOFSTRA DR                                                                                  SMITHTOWN           NY    11787‐2018
CHARLES TRUNDLE                                  53066 JUDAY CREEK BLVD                                                                         GRANGE              TN    46530‐9131
CHARLES TSERPELIS                                21816 HORACE HARDING EXPY                                                                      OAKLAND GDNS        NY    11364‐2225
CHARLES U RODKEY                                 2821 OLD TANEYTOWN RD                                                                          WESTMINSTER         MD    21158‐3535
CHARLES V ALLEN                                  3705 LONE TREE RD                                                                              MILFORD             MI    48380‐1939
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 733 of 850
Name                                               Address1                              Address2             Address3          Address4          City               State Zip

CHARLES V BAILEY                                   11078 W HOLT RD                                                                                DIMONDALE          MI    48821‐9704
CHARLES V BEAN                                     5960 DEATSVILLE ROAD                                                                           LENORE             KY    40013‐7603
CHARLES V CARISSIMI                                1876 BASIL AVE                                                                                 YOUNGSTOWN         OH    44514‐1314
CHARLES V CIMINO SR TR CHARLES V CIMINO TRUST UA   1300 BONITA DR                                                                                 PARK RIDGE         IL    60068‐5020
5/08/96
CHARLES V COLOMBO                                  361 THORNTOWN ROAD                                                                             MIDDLETOWN         DE    19709
CHARLES V COMBS                                    6091 HANKINS RD                                                                                MIDDLETOWN         OH    45044‐9117
CHARLES V CZERKAWSKI CUST CHARLES E CZERKAWSKI     57 OLD COACH RD                                                                                COHASSET           MA    02025‐1135
UTMA MA
CHARLES V CZERKAWSKI CUST DANIEL L CZERKAWSKI      57 OLD COACH RD                                                                                COHASSET           MA    02025‐1135
UTMA MA
CHARLES V DAY                                      395 VERBENA ROAD                                                                               LAKE OZARK         MO    65049
CHARLES V DENNINGS                                 192 TROY LN                                                                                    HOHENWALD          TN    38462‐4013
CHARLES V DRAKE & PEGGY L DRAKE JT TEN             33 MICHELLE LANE                                                                               SILVER CITY        NM    88061‐9160
CHARLES V FIRTION                                  14 FAIRVIEW AVE                                                                                SECAUCUS           NJ    07094‐3807
CHARLES V FLOWERS & ANITA D FLOWERS JT TEN         1460 WISTERIA DR                                                                               FLORENCE           SC    29501‐5647
CHARLES V FOREMAN                                  PO BOX 4207                                                                                    TEQUESTA           FL    33469‐1019
CHARLES V GRISHAM                                  14338 BU7CK ST                                                                                 TAYLOR             MI    48180‐4506
CHARLES V HOLLIS                                   812 E 21ST AVE                                                                                 KANSAS CITY        MO    64116‐3310
CHARLES V INGWERSON                                507 E 4TH                                                                                      CREIGHTON          MO    64739‐9106
CHARLES V KOPP                                     87 JOHN ST                                                                                     AKRON              NY    14001‐1021
CHARLES V KURICA JR                                30 MAJESTIC AVE                                                                                LINCROFT           NJ    07738‐1729
CHARLES V LUNSFORD                                 4812 BRENTRIDGE PKWY                                                                           GREENWOOD          IN    46143‐9367
CHARLES V LUNSFORD & KAREN J LUNSFORD JT TEN       4812 BRENTRIDGE PKWY                                                                           GREENWOOD          IN    46143‐9367

CHARLES V MAUPIN                                   2700 CONAMACKEY RD                                                                             MARTINSVILLE       IN    46151‐8813
CHARLES V MICHELS                                  636 FERNDALE NW                                                                                GRAND RAPIDS       MI    49544‐3532
CHARLES V MOORE & DOLLY M MOORE TEN ENT            PO BOX B                                                                                       DENTON             MD    21629‐0060
CHARLES V MORAN                                    2863 SHAKESPEARE DR                                                                            SAN MARINO         CA    91108‐2230
CHARLES V MORGAN                                   4281 E 160TH ST                                                                                CLEVELAND          OH    44128‐2464
CHARLES V OSBURN JR & DAWN M OSBURN JT TEN         205 ANSLEY COURT                                                                               W SENECA           NY    14224‐2138

CHARLES V OSTROM                                   3919 LOTUS DRIVE                                                                               WATERFORD          MI    48329‐1391
CHARLES V PERKINS                                  2510 S WADWORTH DR                                                                             LANSING            MI    48911‐2454
CHARLES V ROBERTS 3RD                              44421 MALTESE FALCON SQ                                                                        ASHBURN            VA    20147
CHARLES V ROWLOFF                                  21707 DEXTER CT                                                                                WARREN             MI    48089‐2826
CHARLES V SHADIX                                   4172 RED OAK DRIVE                                                                             WINSTON            GA    30187‐1011
CHARLES V SIGLER                                   115 GREENWOOD DR                                                                               RITTMAN            OH    44270‐1242
CHARLES V SMALLMAN & PHYLLIS J SMALLMAN JT TEN     1162 PARKSIDE CIR                                                                              GRAND BLANC        MI    48439‐8052

CHARLES V SNYDER                                   PO BOX 583                                                                                     CARNELIAN BAY      CA    96140‐0583
CHARLES V SPALDING                                 1815 ABELIA RD                                                                                 FALLSTOWN          MD    21047‐1749
CHARLES V WEBB JR                                  3008 CLAYTON DR                                                                                WALL TOWNSHIP      NJ    07719‐4406
CHARLES V WEBER MACHINE SHOP INC                   2 CAMPBELL AVE                                                                                 TROY               NY    12180‐6004
CHARLES VAN CUREN                                  64 MOUNTAIN AVE                                                                                MIDDLETOWN         NY    10940‐6246
CHARLES VAN NIEL                                   199 HADDON RD                                                                                  ROCHESTER          NY    14626‐2133
CHARLES VAN VALKENBURG & ANNA PATRICIA VAN         43076 HYDE PARK                                                                                STERLING HEIGHTS   MI    48313‐1935
VALKENBURG TEN COM
CHARLES VANBSKIRK                                  5344 POWHATTAN ST                                                                              ZEPHYRHILLS        FL    33542‐3050
CHARLES VASSALLO                                   18406 LIVINGSTON AVE                                                                           LUTZ               FL    33559‐5857
CHARLES VASSALLO & MRS SHARON VASSALLO JT TEN      18406 LIVINGSTON AVE                                                                           LUTZ               FL    33559‐5857

CHARLES VICARI                                     8756 15TH AVE                                                                                  BROOKLYN           NY    11228‐3715
CHARLES VILLAREAL & KATHLEEN D VILLAREAL JT TEN    14211 WHITE ROCK DR                                                                            SUN CITY WEST      AZ    85375‐5644

CHARLES VONDERHEID                                 18003 W 163RD ST                                                                               OLATHE             KS    66062‐7018
CHARLES VOSICKA                                    4027 FARQUHAR AVENUE                                                                           LOS ALAMITOS       CA    90720
CHARLES VOSICKA CUST ADAM VOSICKA UTMA CA          4027 FARQUHAR AVE                                                                              LOS ALAMITOS       CA    90720‐3794
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 734 of 850
Name                                              Address1                             Address2              Address3         Address4          City             State Zip

CHARLES VOSICKA CUST CAROLINE VOSICKA UTMA CA     4027 FARQUHAR AVE                                                                             LOS ALAMITOS     CA    90720‐3794

CHARLES W ADAMS                                   C/O CAROL SOVEREIGN                  4174 FIR ST                                              CLARKSTON        MI    48348‐1421
CHARLES W ADKINS                                  400 SILO DR                                                                                   NEW CASTLE       DE    19720‐5614
CHARLES W AILING                                  4479 BEACH RIDGE RD                                                                           LOCKPORT         NY    14094‐9619
CHARLES W ALCORN                                  2873 OAKBRIAR TRAIL                                                                           FORT WORTH       TX    76109‐5556
CHARLES W ALCORN JR                               2873 OAKBRIAR TRAIL                                                                           FORT WORTH       TX    76109‐5556
CHARLES W ALCORN JR & MARY ANN ALCORN JT TEN      2873 OAKBRIAR TRAIL                                                                           FORT WORTH       TX    76109‐5556

CHARLES W ALLEN                                   1503 THURBER ST                                                                               HERNDEN          VA    20170‐2567
CHARLES W ALLPORT                                 1599 BEAVER VALLEY RD                                                                         BEAVERCREEK      OH    45434‐6974
CHARLES W APPICH IV                               14321 WINTER RIDGE LANE                                                                       MIDLOTHIAN       VA    23113‐6710
CHARLES W APPICH JR CUST CHARLES W APPICH III     14321 WINTERRIDGE LANE                                                                        MIDLOTHIAN       VA    23113‐6710
UGMA VA
CHARLES W APPICH JR CUST MARY C APPICH UGMA VA    ATTN MARY A GRAY                     107 RAVEN ROCK ROAD                                      RICHMOND         VA    23229‐7839

CHARLES W APPLEBEE                            117 N RAILROAD ST                                                                                 READSTOWN        WI    54652‐0124
CHARLES W ARCHABALD JR                        8128 DUNCAN PLAINS RD                                                                             ALEXANDRIA       OH    43001‐9785
CHARLES W ATMORE                              700 SE MADISON AVE                                                                                STUART           FL    34996‐3261
CHARLES W BANDY                               28240 GILSON‐KING RD                                                                              SALEM            OH    44460
CHARLES W BARKLEY JR                          22709 JENNING RD                                                                                  WARRENSVILLE     OH    44128‐4748
CHARLES W BASS                                27 ROCK CREST DR                                                                                  CAPE ELIZABETH   ME    04107‐1656
CHARLES W BAULT                               1191 KIRBY RD                                                                                     GOSPORT          IN    47433‐7900
CHARLES W BAYLOR                              2265 N STATE RD 101                                                                               MILAN            IN    47031‐9054
CHARLES W BECKMAN                             1761 TOMLINSON RD                                                                                 MASON            MI    48854‐9237
CHARLES W BENNETT                             1295 N CLINTON TRAIL RT 6                                                                         CHARLOTTE        MI    48813‐8686
CHARLES W BERG JR CUST CAMERON D BERG UTMA MD 13657 PLEASANT VALLEY ROAD                                                                        GLEN ROCK        PA    17327‐7907

CHARLES W BINGHAM                                 3168 N EUCLID                                                                                 BAY CITY         MI    48706‐1310
CHARLES W BIRCHENOUGH                             408 S MONTANA                                                                                 MORTON           IL    61550‐2732
CHARLES W BISHOP                                  1361 MOSS ST                                                                                  NEW ORLEANS      LA    70119‐2921
CHARLES W BOOTH                                   38132 BY STATE BLVD                                                                           DELMAR           DE    19940
CHARLES W BOYCE                                   3615 SAND HILL DR                                                                             CONYERS          GA    30094‐3733
CHARLES W BRANNAM                                 9364 MONICA DR                                                                                DAVISON          MI    48423‐2865
CHARLES W BRAZNELL                                1210 PALLISTER LANE                                                                           HEATHROW         FL    32746‐1952
CHARLES W BRENNEISEN JR                           11001 PARKVIEW AVE                                                                            KANSAS CITY      KS    66109‐3457
CHARLES W BRIER                                   4584 W 180 SOUTH                                                                              RUSSIAVILLE      IN    46979‐9443
CHARLES W BROCK                                   2608 W KEMPER RD                                                                              CINCINNATI       OH    45231‐1141
CHARLES W BROWN                                   2371 ONONDAGA ROAD                                                                            EATON RAPIDS     MI    48827‐9649
CHARLES W BRUAN JR                                1921 BEATTY RD                                                                                HILLSBORO        OH    45133‐7251
CHARLES W BRUCE                                   BOX 94                                                                                        NEW BRIGHTON     PA    15066‐0094
CHARLES W BUEDEL                                  5121 PATHVIEW DRIVE                                                                           HUBER HEIGHTS    OH    45424‐2562
CHARLES W BULPIN JR                               2225 REVERE AVE                                                                               DAYTON           OH    45420‐1819
CHARLES W CALIFF & AILEEN B CALIFF & RANDAL D     HERON WOODS #212                     2110 LEONARD NE                                          GRAND RAPIDS     MI    49505‐5883
CALIFF JT TEN
CHARLES W CALLAIS                                 4408 CHELSEA                                                                                  LISLE            IL    60532‐1313
CHARLES W CASSIDY JR & BETTY LOU CASSIDY JT TEN   58 MARSHALL DRIVE                                                                             EGG HARBOR TWP   NJ    08234‐6002

CHARLES W CATRON                                  130 MC CRAW DRIVE                                                                             UNION            OH    45322‐3221
CHARLES W CHAGNOT                                 5544 YOUNGSTOWN KINGSVILLE RD                                                                 CORTLAND         OH    44410‐9717
CHARLES W CHAPMAN                                 13801 EAST YALE AVE UNIT 406                                                                  AURORA           CO    80014
CHARLES W CHAPPLE                                 16209 SILVERCREST DR                                                                          FENTON           MI    48430‐9155
CHARLES W CHERRY                                  8943 CANADA GOOSE COURT                                                                       OAIC HARBOR      OH    43449‐9161
CHARLES W CLEMENT JR                              4718 WILLIS GAP ROAD                                                                          ARARAT           VA    24053‐3468
CHARLES W CLEVENGER                               859 WALNUT STREET                                                                             ELYRIA           OH    44035‐3352
CHARLES W CONIGLIO                                69‐A WOODSIDE AVE                                                                             ROSELLE PARK     NJ    07204‐1007
CHARLES W COOK                                    62 APRIL VILLAGE                                                                              MONTGOMERY       TX    77356‐5810
CHARLES W COOLEY                                  865 WOODLAND TRACE LANE                                                                       CARDOZA          TN    38018‐6610
CHARLES W COOPER                                  370 SILVER LANE                                                                               MURRAY           KY    42071‐7036
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 735 of 850
Name                                               Address1                               Address2             Address3          Address4          City            State Zip

CHARLES W CORNISH                                  79 RHONDA BLVD                         BOWMANVILLE ON                         L1C 3W3 CANADA
CHARLES W CORNISH                                  79 RHONDA BLVD                         BOWMANVILLE ON                         L1C 3W3 CANADA
CHARLES W CORNISH                                  79 RHONDA BLVD                         BOWMANVILLE ON                         L1C 3W3 CANADA
CHARLES W COZAD JR                                 545 WYOMING AVE                                                                                 NILES           OH    44446‐1051
CHARLES W CRAFT                                    1117 N BLUFF RD                                                                                 GREENWOOD       IN    46142‐7746
CHARLES W CRAIG & KENDRA ANN COLE JT TEN           119 BRIARWOOD CIR                                                                               AMERICUS        GA    31709‐7942
CHARLES W CRAWFORD                                 C/O CCMS INC 200 S ALISTER ST          STE C                                                    PORT ARKANSAS   TX    78373‐0420
CHARLES W CRESSLER & ELIZABETH B CRESSLER JT TEN   PO BOX 1107                                                                                     CROSSVILLE      TN    38557‐1107

CHARLES W CREW & NANCY B CREW JT TEN               5305 RICHLAND DRIVE                                                                             RALEIGH         NC    27612‐3582
CHARLES W CROSS                                    7406 LIBERTY WOODS LN                                                                           DAYTON          OH    45459‐3912
CHARLES W CROWDER                                  1245 FLAMINGO DR                                                                                MT MORRIS       MI    48458‐2841
CHARLES W CUDNEY JR                                252 ROYCEFIELD RD                                                                               HILLSBOROUGH    NJ    08844‐4011
CHARLES W CURRIE                                   432 COUNTY ROUTE 11                                                                             ANCRAM          NY    12502‐5247
CHARLES W DAVENPORT                                9517 FLICKINGER RD                                                                              DEFIANCE        OH    43512‐9771
CHARLES W DEBORD                                   12794 S R 122                                                                                   SOMERSVILLE     OH    45064‐9623
CHARLES W DELANEY                                  10723 S SHAFTSBURG RD                                                                           LAINGSBURG      MI    48848‐8775
CHARLES W DENNEHY                                  74 STEWART AVE                                                                                  NEWBURGH        NY    12550‐6617
CHARLES W DIBLER                                   539 MADERA ST                                                                                   LODI            OH    44254‐1119
CHARLES W DICKENS JR                               PO BOX #393                                                                                     ELON COLLEGE    NC    27244‐0393
CHARLES W DIVINE                                   512 N COLLETT ST                                                                                DANVILLE        IL    61832‐4811
CHARLES W DODSON                                   BOX 327                                                                                         GARRETTSVILLE   OH    44231‐0327
CHARLES W DOERING & ADELE S DOERING JT TEN         114 ROCK GARDEN DR                                                                              CANTON          NC    28716‐8767
CHARLES W DOOLIN                                   209 E DORIS DRIVE                                                                               FAIRBORN        OH    45324‐4228
CHARLES W DOUGLASS                                 21405 ELMWOOD AVE                                                                               WILMINGTON      IL    60481‐9613
CHARLES W DRAKE                                    8215 HARDY                                                                                      OVERLAND PARK   KS    66204‐3617
CHARLES W EASTERLA                                 3950 SW LINDEN LN                                                                               LEES SUMMIT     MO    64082‐4655
CHARLES W EATON                                    7828 PARTRIDGE RD                                                                               INDIANAPOLIS    IN    46227‐5868
CHARLES W EDDY TR UA 5/8/97 THE EDDY FAMILY        4831 W BERYL AVE                                                                                GLENDALE        AZ    85302‐1810
LIVINGTRUST
CHARLES W EDWARDS                                  2917 HARRISON ST                                                                                SAGINAW         MI    48604‐2316
CHARLES W EGGERT                                   PO BOX 288                                                                                      LAKELAND        MI    48143‐0288
CHARLES W EILAND                                   1669 LILAC ST                                                                                   STARKVILLE      MS    39759‐9591
CHARLES W ESCH                                     7260 DEXTER‐PINCKNEY RD                                                                         DEXTER          MI    48130‐9608
CHARLES W ESSIG                                    96 PATRICIAN DRIVE                                                                              TOMS RIVER      NJ    08753‐4281
CHARLES W EYMAN JR                                 4309 SILLMAN PLACE                                                                              DAYTON          OH    45440‐1140
CHARLES W FARRELL                                  7850 4 MILE RD NE                                                                               ADA             MI    49301‐9717
CHARLES W FETZER                                   PO BOX 4                                                                                        BYESVILLE       OH    43723‐0004
CHARLES W FIRESTONE                                1948 ST ROAD 32 W                                                                               WESTFIELD       IN    46074‐9348
CHARLES W FLORANCE                                 802 S IRONWOOD DR                                                                               SOUTH BEND      IN    46615‐2135
CHARLES W FOSTER                                   4575 ATLANTA HWY                                                                                ALPHARETTA      GA    30004‐2987
CHARLES W FRALEY & MICHELL J FRALEY JT TEN         7510 PEACH BLOSSOM PL                                                                           INDIANAPOLIS    IN    46254‐9403
CHARLES W FRYE                                     9031 WILSON RD                                                                                  WAYNESVILLE     OH    45068‐8655
CHARLES W GARDNER                                  15905 GODDARD RD                       APT 203                                                  SOUTHGATE       MI    48195‐4499
CHARLES W GEORGE                                   18059 CLOVER DALE                                                                               CLINTON TWP     MI    48035‐2422
CHARLES W GILBERT                                  4250 S STATE RD R#1                                                                             DURAND          MI    48429‐9152
CHARLES W GLEISNER                                 1265 LAKE RD                                                                                    WEBSTER         NY    14580‐9001
CHARLES W GODDARD                                  8480 W WADORA NW                                                                                N CANTON        OH    44720‐5064
CHARLES W GRAFTON                                  5388 WINCHESTER                                                                                 TROY            MI    48098‐3249
CHARLES W GRAY                                     1516 RIVERBEND RD                                                                               SCOTTSVILLE     KY    42164‐9434
CHARLES W GRAY                                     PO BOX 397                                                                                      ALEXANDRIA      KY    41001‐0397
CHARLES W GRICE                                    1195 N MAIN ST                                                                                  CANTON          IL    61520‐1119
CHARLES W GWYNN                                    234 PHEASANT RD                                                                                 MATTESON        IL    60443‐1025
CHARLES W HAAS TR UA 03/28/06 CHARLES W HAAS       BOX 1905                                                                                        CHILLICOTHE     OH    45601
INTER VIVOS TRUST
CHARLES W HAFNER & DOROTHY A HAFNER JT TEN         12370 PRARIE DR                                                                                 STERLING HGTS   MI    48312‐5230

CHARLES W HALL                                     3765 N 200 E                                                                                    LAGRANGE        IN    46761‐9122
CHARLES W HALLAGAN                                 508 EAST AVE                                                                                    NEWARK          NY    14513‐1737
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 736 of 850
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

CHARLES W HARDIN                                  3139 E STAT R 56                                                                              SCOTTSBURG      IN    47170‐9804
CHARLES W HARPER                                  312 KINGS MILLS RD                                                                            MASON           OH    45040‐1853
CHARLES W HARRY                                   7253 WOOD HAVEN DRIVE                                                                         LOCKPORT        NY    14094‐6242
CHARLES W HARRY & JOANNE M HARRY JT TEN           7253 WOOD HAVEN DRIVE                                                                         LOCKPORT        NY    14094‐6242
CHARLES W HART                                    1105 INDIANA AVE                                                                              ANDERSON        IN    46012‐2323
CHARLES W HARTSON                                 81 BUCKTON RD                                                                                 WINTHROP        NY    13697‐3160
CHARLES W HASCHETS JR                             318 CYPRESS ST                                                                                WEST NEWTON     PA    15089‐1244
CHARLES W HATMAKER                                5051 PHEASANT ROAD                                                                            WATERFORD       MI    48327‐2464
CHARLES W HAWES                                   340 S BROADWAY                                                                                DAYTON          OH    45407‐3212
CHARLES W HEADY                                   335 WIXON POND RD                                                                             MAHOPAC         NY    10541‐3520
CHARLES W HEARIT JR                               4784 DOREY DR                                                                                 BAY CITY        MI    48706‐2661
CHARLES W HEBERER JR                              1923 PRESWOOD DR                                                                              HIXSON          TN    37343‐4125
CHARLES W HENDERSON                               1747 W 16TH ST                                                                                MARION          IN    46953‐1521
CHARLES W HENRY                                   8731 HYDE RD                                                                                  ST JOHNS        MI    48879‐9737
CHARLES W HERNDON                                 969 MATHEWS AVE                                                                               CHARLESTON      WV    25302‐2722
CHARLES W HIBNER                                  245 GLENBROOKE ST                    APT 11209                                                WATERFORD       MI    48327‐2125
CHARLES W HILTNER JR                              2951 MILLSTOWN RD                                                                             PARK CITY       KY    42160‐7811
CHARLES W HISEY                                   8500 E KEATING PARK ST               LOT C3                                                   FLORAL CITY     FL    34436‐2881
CHARLES W HITSCHLER JR                            571 E GATES ST                                                                                PHILADELPHIA    PA    19128
CHARLES W HOFSESS                                 6145 NOLLAR                                                                                   WHITMORE LAKE   MI    48189‐9541
CHARLES W HOLBROOK                                2099 POPE RD                                                                                  IVANHOE         VA    24350
CHARLES W HOLBROOK                                4165 OAKWOOD TRL                                                                              CUMMING         GA    30040‐5162
CHARLES W HOLMES                                  504 DEPEW ST                                                                                  PEEKSKILL       NY    10566‐4608
CHARLES W HOMENICK                                127 PINE AVE                                                                                  BLACKWOOD       NJ    08012‐2912
CHARLES W HOOKER                                  4470 JENA LN                                                                                  FLINT           MI    48507‐6219
CHARLES W HORTON                                  2039 MCDIVITT CT                                                                              MILFORD         MI    48381‐4181
CHARLES W HUB                                     PO BOX 812                                                                                    TRENTON         NJ    08625‐0812
CHARLES W HUCKABAY                                1806 BRADFORD                                                                                 IRVING          TX    75061‐1908
CHARLES W HUFF                                    1343 W 41ST ST                                                                                BALTO           MD    21211‐1550
CHARLES W HUFF                                    1145 22ND CT                                                                                  VERO BEACH      FL    32960‐3939
CHARLES W HUMPHREY                                3079A OLD 8TH STREET RD N                                                                     MERIDIAN        MS    39307
CHARLES W HUTCHINS & MARJORIE R HUTCHINS JT TEN   22418 CROSS RD                                                                                CHESTERTOWN     MD    21620‐4465

CHARLES W HUTCHINSON                              6360 RICHPOND RD                                                                              BOWLING GREEN   KY    42104‐7869
CHARLES W IRWIN & MARJORY B IRWIN JT TEN          1413 RUSSELL AVENUE                                                                           PORT NICHES     TX    77651‐5538
CHARLES W IVY                                     10350 SPRINKLE RD                                                                             VICKSBURG       MI    49097
CHARLES W JACKSON & NORMA P JACKSON JT TEN        15200 S E 103RD ST ROAD                                                                       OCKLAWAHA       FL    32179‐4204

CHARLES W JAMES                                   8901 SIOUX                                                                                    REDFORD         MI    48239‐1905
CHARLES W JETER                                   1936 ELMWOOD DR                                                                               LENNON          MI    48449‐9713
CHARLES W JOHNDRO                                 48A WHITAKER PL                                                                               STATEN ISLAND   NY    10304‐4120
CHARLES W JOHNSON                                 608 HIGHLAND AVE                     APT 1S                                                   OAK PARK        IL    60304‐1500
CHARLES W JONES                                   123 OHIO ST                                                                                   ELYRIA          OH    44035‐5116
CHARLES W KEHL                                    11466 IRVINGTON                                                                               WARREN          MI    48093‐2611
CHARLES W KELLEY                                  52 SUNDALE CIR                                                                                PARAGOULD       AR    72450‐4051
CHARLES W KING                                    29318 60TH ST                                                                                 LAWTON          MI    49065‐9605
CHARLES W KING                                    9341 CINNEBAR DR                                                                              INDIANAPOLIS    IN    46268‐3249
CHARLES W KNAKAL                                  8663 CADILLAC DR                                                                              GROSSEILE       MI    48138‐2217
CHARLES W KNAPP EX EST MADELINE R LAIRD           202 CORNELL BLVD                                                                              SOMERVILLE      NJ    08876
CHARLES W KOVACEVICH                              3360 NORTH EAST 150TH AVENUE                                                                  CAMBRIDGE       IA    50046‐1053
CHARLES W KROMER                                  2136 CHEROKEE DR                                                                              MARYVILLE       TN    37801‐3655
CHARLES W LAMB SR                                 500 BAYONNE DRIVE                                                                             VANDALIA        OH    45377‐2506
CHARLES W LANCASTER                               11501 N COUNTY RD 100 W                                                                       MUNCIE          IN    47303‐9364
CHARLES W LANGE                                   6226 ST RT 722                                                                                ARCANUM         OH    45304‐8408
CHARLES W LATREILLE TR UA 08/23/94 CHARLES W      60733 MT VERNON                                                                               ROCHESTER       MI    48306‐2045
LATREILLE TRUST
CHARLES W LAYOU                                   PO BOX 159                                                                                    HAZEL PARK      MI    48030‐0159
CHARLES W LAYOU JR                                PO BOX 146                                                                                    ROYAL OAK       MI    48068‐0146
CHARLES W LEACH                                   308 MARILYN DR                                                                                ARNOLD          MO    63010‐3844
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 737 of 850
Name                                             Address1                              Address2             Address3          Address4          City              State Zip

CHARLES W LEADINGHAM                             3656 SPANGLER ROAD                                                                             MEDWAY            OH    45341‐9752
CHARLES W LEGREE                                 6460 BUCKINGHAM DRIVE                                                                          PARMA             OH    44129‐5044
CHARLES W LENTZ JR                               3027 TURNER AVE                                                                                ROSLYN            PA    19001‐3513
CHARLES W LEONARD                                RAVENSWOOD FARM                                                                                BUNCETON          MO    65237
CHARLES W LETTAU                                 10270 BRADLEY RD                                                                               FRANKENMUTH       MI    48734‐9739
CHARLES W LEWIS                                  225 FERRIS HILLS                                                                               CANANDAIGUA       NY    14424
CHARLES W LEWIS 1V                               586 MIDDLETON PLACE                                                                            GRAYSON           GA    30017‐4053
CHARLES W LIGHTFOOT                              10869 PARCHMENT CT                                                                             WALDORF           MD    20603‐3912
CHARLES W LIPPINCOTT & DOROTHY W LIPPINCOTT JT   10292 WASHBURN RD                                                                              GOODRICH          MI    48438‐9727
TEN
CHARLES W LOCKE                                  5908 DEREK ST                                                                                  ARLINGTON         TX    76016‐2775
CHARLES W LOCKWOOD                               4963 WESTRIDGE DRIVE                                                                           WILLIAMSBURG      MI    49690
CHARLES W LOWE                                   6156 HECLA ST                                                                                  DETROIT           MI    48208‐1336
CHARLES W LUTZ & HELEN LUTZ JT TEN               160 HENDEL AVE                                                                                 NORHT ARLINGTON   NJ    07031‐5924

CHARLES W LYTTLE & BRENDA LYTTLE JT TEN          2502 LYDIA ST                                                                                  ORANGE            TX    77632‐3132
CHARLES W MAC QUEEN                              2212 SHILLELAGH RD                                                                             CHESAPEAKE        VA    23323‐6537
CHARLES W MAIN                                   PO BOX 1504                                                                                    HOCKESSIN         DE    19707‐5504
CHARLES W MAJOR                                  20296 M‐86                                                                                     CENTREVILLE       MI    49032‐9604
CHARLES W MAROTSKE                               5406 SOMERSET LANE S                                                                           GREENFIELD        WI    53221‐3247
CHARLES W MARQUIS & BETTY J MARQUIS JT TEN       7450 STONEBROOK PKWY                  APT 5212                                                 FRISCO            TX    75034‐5764
CHARLES W MAY                                    127 FANTASY LN                                                                                 MOORESVILLE       NC    28117‐8114
CHARLES W MC GOWAN                               12 EXETER PLACE                                                                                ROCHESTER         NY    14623‐4108
CHARLES W MC GUANE                               40 POINT ROK DR                                                                                WORCESTER         MA    01604‐1464
CHARLES W MC GUIGON                              208 WELCOME AVE                                                                                NORWOOD           PA    19074‐1725
CHARLES W MC QUISTON                             816 CARSON ST                                                                                  NEW CASTLE        PA    16101‐1950
CHARLES W MCGEE                                  5408 SPRING HILL LOOP                                                                          MERIDIAN          MS    39301‐8627
CHARLES W MCGOWAN & ANNETTE M MCGOWAN JT         12 EXTER PLACE                                                                                 ROCHESTER         NY    14623‐4108
TEN
CHARLES W MCLEOD & JENNIE M MCLEOD JT TEN        52251 FISH CREEK DR                                                                            MACOMB            MI    48042‐5694
CHARLES W MEAD                                   104 GRANT 4664                                                                                 SHREIDAN          AR    72150‐8634
CHARLES W MEEK                                   10077 BEERS RD                                                                                 SWARTZ CREEK      MI    48473‐9159
CHARLES W MENDELL                                6126 FANWOOD ST                                                                                LAKEWOOD          CA    90713‐1108
CHARLES W MEYKA                                  801 SOUTH LONGLAKE RD N                                                                        TRAVERSE CITY     MI    49684‐9078
CHARLES W MICK JR                                1132 HANSFORD RD                                                                               LYNDHURST         OH    44124‐1437
CHARLES W MINNELEY                               3695 STATE ROUTE 7                                                                             BURGHILL          OH    44404‐9734
CHARLES W MOEHRING                               609 BEACON AVE                                                                                 PAULSBORO         NJ    08066‐1210
CHARLES W MONTGOMERY                             101 KILBRECK DRIVE                                                                             CARY              NC    27511
CHARLES W MOORE                                  101 EASTVIEW DR                                                                                MEDINA            NY    14105‐1661
CHARLES W MOORE                                  2111 MOUNT OLIVE CEMETERY RD                                                                   LYNNVILLE         TN    38472‐5539
CHARLES W MOORE                                  PO BOX 190                                                                                     PLEASANT LAKE     IN    46779‐0190
CHARLES W MOORE & DORIS I MOORE JT TEN           101 EAST VIEW DR                                                                               MEDINA            NY    14103‐1661
CHARLES W MOORE JR                               3800 SW BLVD                                                                                   FORT WORTH        TX    76116
CHARLES W MOSSER                                 58 PATRICIA LANE                                                                               MT LAUREL         NJ    08054‐4407
CHARLES W MUNCH & ELIZABETH MUNCH JT TEN         131 NORTH ST                                                                                   STAMFORD          CT    06901‐1016
CHARLES W MUSSETT                                BOX 8555                                                                                       MIDLAND           TX    79708‐8555
CHARLES W NICHOL                                 9502 TRAILHILL DR                                                                              DALLAS            TX    75238‐1440
CHARLES W NICHOLS                                6 MALLARD COVE W                                                                               SAGINAW           MI    48603‐9639
CHARLES W O'SHEA & CATHY L BEATTY JT TEN         PO BOX 385                                                                                     PORT TOWNSEND     WA    98368‐0385
CHARLES W ORR                                    6104 DOWNS AVE                                                                                 BALTIMORE         MD    21075‐5301
CHARLES W OWENS                                  7174 JOHNSON RD                                                                                FLUSHING          MI    48433‐9048
CHARLES W PALMER                                 9170 COUNTY RD 527                                                                             SENATH            MO    63876
CHARLES W PARDEE TOD BEVERLY A MONROE            1560 E LUDINGTON DR                                                                            FARWELL           MI    48622‐8402
CHARLES W PARZYCH JR & CONSTANCE L PARZYCH JT    8906 RUSSELL                                                                                   UTICA             MI    48317‐5363
TEN
CHARLES W PATTAN                                 11057 HOGAN RD                                                                                 GAINES          MI      48436‐9729
CHARLES W PATTERSON                              1420 SWAFFORD RD SW                                                                            CULLMAN         AL      35055‐5212
CHARLES W PELTON & BARBARA J PELTON JT TEN       4984 LEROY CT                                                                                  WEST BLOOMFIELD MI      48324‐2230
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 738 of 850
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

CHARLES W PELTON CUST DEBORAH L PELTON UGMA MI 4984 LEROY CT                                                                                      W BLOOMFIELD    MI    48324‐2230

CHARLES W PENDLETON                               PO BOX 255 HEWES POINT RD                                                                       ISLESBORO       ME    04848‐0255
CHARLES W PERRY                                   3333 OLD WINCHESTER TRAIL                                                                       XENIA           OH    45385‐8734
CHARLES W PITZER                                  203 LAKEWOOD RD                                                                                 NEW CASTLE      PA    16101‐2733
CHARLES W POORE                                   939 SANDRALEE DRIVE                                                                             TOLEDO          OH    43612‐3130
CHARLES W POORE & MARILYN J POORE JT TEN          939 SANDRALEE                                                                                   TOLEDO          OH    43612‐3130
CHARLES W PORTER                                  16076 EGBERT RD                                                                                 WALTON HILLS    OH    44146‐4128
CHARLES W PORTER JR                               138 W SAVANNA DR                                                                                BEAR            DE    19701‐1639
CHARLES W POUND                                   291 WOOD RISE LN                                                                                WINCHESTER      VA    22602‐6563
CHARLES W PRATER                                  13717 W COUNTY LINE RD S                                                                        ROANOKE         IN    46783‐8902
CHARLES W PRESTON                                 28 MARSHALL AVE                                                                                 GERMANTOWN      OH    45327‐1468
CHARLES W PRIESTLEY                               9664 23 MILE RD                                                                                 MARION          MI    49665‐8021
CHARLES W RATCHFORD                               2602 OLD BUTTERMILK PIKE                                                                        VILLA HILLS     KY    41017‐1157
CHARLES W RAY & MARIE A RAY JT TEN                106 PUTNAM ST                                                                                   BENNIGTON       VT    05201‐2348
CHARLES W REDMAN                                  1830 BALLA WAY                                                                                  GRAND PRAIRIE   TX    75051‐3902
CHARLES W REDMOND                                 PO BOX 73                                                                                       WARTRACE        TN    37183‐0073
CHARLES W REED JR                                 3606 PLUM BROOK CIR                                                                             SANDUSKY        OH    44870‐6052
CHARLES W REEDY                                   6785 COLLEEN DRIVE                                                                              YOUNGSTOWN      OH    44512‐3832
CHARLES W REID                                    510 WESTERHAM COURT                                                                             LOUISVILLE      KY    40222
CHARLES W REIGELSPERGER                           2121 RHOADES ROAD                                                                               FARMERSVILLE    OH    45325‐9227
CHARLES W REYBURN                                 1 FOREST ST                                                                                     WATERFORD       CT    06385‐3903
CHARLES W REYNOLDS                                11956 14 MILE RD                                                                                WARREN          MI    48093‐1075
CHARLES W RICHARDS                                4245 GRAYTON ST                                                                                 WATERFORD       MI    48328‐3428
CHARLES W RICHARDS JR & BARBARA L RICHARDS JT TEN 8 FRANK AVE                                                                                     FARMINGDALE     NY    11735‐5335

CHARLES W RITCHIE                                 535 LONG BEACH RD                                                                               ISLAND PARK     NY    11558‐1045
CHARLES W ROBBINS                                 RR 5                                                                                            FREDERICKTOWN   OH    43019‐9805
CHARLES W ROBERTS                                 43553 RIVERBEND DR N                                                                            CLINTON TWP     MI    48038‐2483
CHARLES W ROSS                                    404 BOHLAND                                                                                     BELLWOOD        IL    60104‐1404
CHARLES W ROTHFUSS                                2697 HANCE RD                                                                                   MACEDON         NY    14502‐9376
CHARLES W SALYER & PAT SALYER JT TEN              7457 ADAMS ST                                                                                   VENTURA         CA    93003‐2573
CHARLES W SAMPSON                                 801 NEGAUNEE LAKE DR                                                                            EVART           MI    49631‐8730
CHARLES W SARVER TR CHARLES W SARVER TRUST UA     151 LANTERN LANE                                                                                CAMENTON        MO    65020‐4365
04/03/98
CHARLES W SARVER TR CHARLES W SARVER UA 12/3/73   151 LANTERN LANE                                                                                CAMENTON        MO    65020‐4365

CHARLES W SAUTER                                  3372 KIRKHAM                                                                                    COLUMBUS        OH    43221‐1368
CHARLES W SCHECTER IV                             8475 RIDGE RD                                                                                   GOODRICH        MI    48838
CHARLES W SCHMIDT & JUDY K SCHMIDT JT TEN         60 0AKWOOD DRIVE                                                                                NAPERVILLE      IL    60540
CHARLES W SCHREIBER & IRENE M SCHREIBER JT TEN    935 UNION LAKE RD                      APT 209                                                  WHITE LAKE      MI    48386‐4532

CHARLES W SHANNON                                 940 SOUTHGATE TRAIL SE                                                                          BOGUE CHITTO    MS    39629‐4279
CHARLES W SHICK                                   PO BOX 372                                                                                      MONTROSE        MI    48457‐0372
CHARLES W SHIPLEY                                 603 E 600 N                                                                                     GREENFIELD      IN    46140‐9058
CHARLES W SIMINGTON                               811 SO 49TH STREET                                                                              RICHMOND        CA    94804‐4428
CHARLES W SLAUGHTER                               359 MILLBROOK RD                                                                                THORNTON        NH    03223‐6345
CHARLES W SMITH                                   14048 WINCHESTER ST                                                                             OAK PARK        MI    48237‐1362
CHARLES W SMITH                                   44 CREEK VIEW DRIVE                                                                             BROOKHAVEN      MS    39601‐9573
CHARLES W SMITH                                   3176 HIDDEN TRAIL                                                                               WATERFORD       MI    48328‐2556
CHARLES W SMITH                                   3054 S 700 W                                                                                    RUSSIAVILLE     IN    46979‐9714
CHARLES W SMITH                                   7255 LAHRING RD                                                                                 GAINES          MI    48436‐9730
CHARLES W SMITH                                   22765 FOUNTAIN LAKES BLVD                                                                       ESTERO          FL    33928‐2389
CHARLES W SMITH & MARY C SMITH JT TEN             8211 ROOSEVELT RD SE                                                                            BEMIDJI         MN    56601‐7370
CHARLES W SPICER & CHARLES R SPICER JT TEN        11723 CHILCOATE LANE                                                                            BELTSVILLE      MD    20705‐1554
CHARLES W STABLES & EVELYN F STABLES JT TEN       5 BIRCH ST                                                                                      BARTONVILLE     IL    61607‐1812
CHARLES W STARKS & MRS GEORGIE BELL STARKS JT     2495 SO QUEBEC #12                                                                              DENVER          CO    80231‐6067
TEN
CHARLES W STREET & TRICIA D STREET JT TEN         2933 LAFAYETTE CIRCLE                                                                           LANSING         MI    48906‐2413
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                     Part 1 of 8 Pg 739 of 850
Name                                           Address1                               Address2                      Address3   Address4          City               State Zip

CHARLES W SWAN                                 1080 RICHARDS RD                                                                                  OWOSSO             MI    48867‐9706
CHARLES W SWAN SR                              1080 RICHARDS RD                                                                                  OWOSSO             MI    48867‐9706
CHARLES W TAYLOR TOD ETHEL E TAYLOR            4931 NETTLETON RD                                                                                 MEDINA             OH    44256‐5353
CHARLES W TENNEY                               27 MAY ST                                                                                         MARBLEHEAD         MA    01945‐1707
CHARLES W THOMAS II                            514 S MAIN STREET                                                                                 WEST HARTFORD      CT    06110‐1775
CHARLES W THOMAS JR                            PO BOX 281                                                                                        ZEBULON            GA    30295‐0281
CHARLES W TIBBELS                              817 HIGHWAY 717                                                                                   RANGER             TX    76470
CHARLES W TOBERMANN & MARY B TOBERMANN JT      1212 SOUTH GRAND AVE W                 APT 224                                                    SPRINGFIELD        IL    62704‐3575
TEN
CHARLES W TYE                                  4978 24TH AVENUE                                                                                  HUDSONVILLE        MI    49426‐8409
CHARLES W VICE                                 150 DELTA PINE DR                                                                                 HUNTSVILLE         AL    35811‐7803
CHARLES W WADLOW & JOANN D WADLOW JT TEN       7209 N STATE HWY 123                                                                              WILLARD            MO    65781‐8114

CHARLES W WALKER & MRS MACYL L WALKER JT TEN   3011 HILLANDALE DR SW                                                                             ROANOKE            VA    24018‐2612

CHARLES W WASKEY III                           6230 FM 1830                                                                                      ARGYLE             TX    76226‐5052
CHARLES W WATTS                                7622 OAK HILL SCHOOL ROAD                                                                         OAK GROVE          MO    64075‐7224
CHARLES W WEISENFELS & MRS MARTHA JANE         9301 WATERFOWL FLYWAY                                                                             CHESTERFIELD       VA    23838‐5284
WEISENFELS JT TEN
CHARLES W WELLS                                2839 CHURCH ROAD                                                                                  NO TONAWANDA       NY    14120‐1001
CHARLES W WELLS                                5569 JONES ROAD                                                                                   NORTH BRANCH       MI    48461‐9740
CHARLES W WENDT & JEAN A WENDT JT TEN          613 LAUREL COURT                                                                                  NORTH PALM         FL    33408‐4019
                                                                                                                                                 BEACH
CHARLES W WHITE                                38773 WOODMONT DRIVE                                                                              STERLING HEIGHTS   MI    48310‐3238

CHARLES W WHITE & ANITA K WHITE JT TEN         38773 WOODMONT DR                                                                                 STERLING HTS       MI    48310‐3238
CHARLES W WILLENBORG                           4659 BROOKDALE                                                                                    WICHITA FALLS      TX    76310‐2529
CHARLES W WILLIAMS                             501 W JEFFERSON ST                                                                                SPENCER            IN    47460‐1620
CHARLES W WILLIAMSON                           844 S PENDLETON AVE                                                                               PENDLETON          IN    46064‐1354
CHARLES W WINSLOW                              4208 GREENLAWN                                                                                    FLINT              MI    48504‐2044
CHARLES W WOODRUFF                             7873 WOOD RD                                                                                      KINGSLEY           MI    49649‐9619
CHARLES W WORKMAN                              6351 S LANSDALE CIR                                                                               TAMPA              FL    33616‐1405
CHARLES W WRIGHT                               6121 CANTON                                                                                       DETROIT            MI    48211‐2444
CHARLES W WRIGHT                               1616 MOUND ST                                                                                     WINFIELD           KS    67156‐5258
CHARLES W WRIGHT & ELEANOR S WRIGHT JT TEN     PO BOX 330                                                                                        SWEETSER           IN    46987‐0330

CHARLES W WYNN                                 9 WILDERNESS                                                                                      DEFIANCE           MO    63341‐2401
CHARLES W WYNN                                 C/O HELEN R WYNN                       3186 BIG RIDGE RD                                          SPENCERPORT        NY    14559
CHARLES W ZEEH                                 36875 WILDERNEST RD                    PRAIRE DU CHIEN                                            PR DU CHIEN        WI    53821
CHARLES W ZIMMER                               826 PERU AVENUE                                                                                   SAN FRANCISCO      CA    94112‐2153
CHARLES WAGONER                                6560 STATE ROUTE 46                                                                               CORTLAND           OH    44410‐9667
CHARLES WALKER JR                              1300 N FRANKLIN ST                                                                                WILMINGTON         DE    19806‐4212
CHARLES WALKER JR                              821 E WASHINGTON                                                                                  FAIRMOUNT          IN    46928‐1856
CHARLES WALTERS                                3678 WORTH RD                                                                                     PINCONNING         MI    48650‐8311
CHARLES WALTON                                 PO BOX 6592                                                                                       SAGINAW            MI    48608‐6592
CHARLES WARNER TOOR                            32 YELLOWSTONE DR                                                                                 WEST HENRIETTA     NY    14586‐9706
CHARLES WARREN CANTONI                         PO BOX 444                             87 WALLACE LAKE DRIVE SOUTH                                WALLACE            CA    95254‐0444
CHARLES WARREN SMALE                           12851 BROWN BARK TRL                                                                              CLERMONT           FL    34711‐7648
CHARLES WASSERMAN                              221 RIDGEMEDE ROAD #104                                                                           BALTIMORE          MD    21210‐2955
CHARLES WASSERMAN CUST EDWARD P WASSERMAN      99 JANE STREET APT 6F                                                                             NEW YORK           NY    10014
UTMA FL
CHARLES WASSERMAN CUST EMILY J WASSERMAN       212 NORTHFIELD PL                                                                                 BALTO              MD    21210‐2816
UTMA FL
CHARLES WATKINS                                222 W HOLLYWOOD                                                                                   DETROIT            MI    48203‐4545
CHARLES WATKINS                                745 CASEY DR                                                                                      ROSSVILLE          TN    38066
CHARLES WATSON & CHRISTINE A WATSON JT TEN     5980 JACILLE AV                                                                                   KALAMAZOO          MI    49048‐9263

CHARLES WAY HUNTER                             PO BOX 653                                                                                        BELLOWS FALLS      VT    05101‐0653
CHARLES WAYNE BUDD                             1420 LULING                                                                                       NEDERLAND          TX    77627‐3718
                                              09-50026-mg                     Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32            Exhibit E
                                                                                            Part 1 of 8 Pg 740 of 850
Name                                                 Address1                                Address2             Address3                 Address4          City             State Zip

CHARLES WAYNE DAVENPORT                         4530 FERGUSON RD                                                                                             INDIANAPOLIS     IN    46239‐1540
CHARLES WAYNE HOLSWORTH & MARGIT LARSEN         1651 N VALLEY AVE                                                                                            VINELAND         NJ    08360‐2432
HOLSWORTH JT TEN
CHARLES WAYNE PHILLIPS                          7110 NE 27TH AVE                                                                                             GAINESVILLE      FL    32609‐2745
CHARLES WEBB                                    730 SCENERY DRIVE                                                                                            ELIZABETH        PA    15037‐2208
CHARLES WEBB DORT                               185 VILLAGE HAVEN CIRCLE                                                                                     CLEMMONS         NC    27012
CHARLES WEBER                                   36 ROBERT CIRCLE                                                                                             SYOSSET          NY    11791‐3828
CHARLES WEHKING & RUTH WEHKING JT TEN           10531 KENNERLY RD                                                                                            ST LOUIS         MO    63128‐2111
CHARLES WEISCOPF                                6275 CHABLIS DR                                                                                              SHINGLE SPGS     CA    95682‐8355
CHARLES WEISSFELD & MRS SUSAN WEISSFELD TEN ENT 2 LAMPLIGHTER CT                                                                                             PIKESVILLE       MD    21208‐6368

CHARLES WELLMAN DANIELS                              775 HARPETH TRACE DR                                                                                    NASHVILLE        TN    37221‐3154
CHARLES WELLS                                        826 WHITE OAK DR                        APT 5                                                           O FALLON         IL    62269‐7328
CHARLES WELLS & TAMELA WELLS JT TEN                  989 SOMMERLOT HOFFMAN RD                                                                                MARION           OH    43302
CHARLES WENDELL KOENIG                               345 W RIDGE PIKE                                                                                        LIMERICK         PA    19468‐1732
CHARLES WESLEY MCKINLEY IV CUST CHRISTOPHER          6270 COOLIDGE ST                                                                                        HOLLYWOOD        FL    33024‐4236
WESLEY MCKINLEY UGMA FL
CHARLES WESLEY SANDERS & EDITH SANDERS JT TEN        3 CIRCLE DR                                                                                             WILMINGTON       DE    19804‐2925

CHARLES WIDMER                                       5861 SPRINGWOOD DR                                                                                      MENTOR           OH    44060‐2815
CHARLES WIECZOREK                                    236 TURNPIKE ROAD                                                                                       SOUTH RIVER      NJ    08882
CHARLES WILLIAM CASSIDY                              1302 CEDAR VILLAGE BLVD                                                                                 EAST BRUSWICK    NJ    08816‐1383
CHARLES WILLIAM CHILDERS                             379 STUMP RD                                                                                            LAPEER           MI    48446‐8763
CHARLES WILLIAM CURTIN                               25 GARDNER AVE                                                                                          NEW LONDON       CT    06320‐4312
CHARLES WILLIAM DYESS                                SUBURBAN YMCA                           SENIOR HOUSING       178 E 155TH ST APT 103                     HARVEY           IL    60426‐3665
CHARLES WILLIAM HENSON & ANNA MARIE HENSON JT        14107 HWY 31                                                                                            MEMPHIS          IN    47143‐9714
TEN
CHARLES WILLIAM JACKETT                              110 CAMBRIDGE DR APT 135                                                                                DAVISON          MI    48423‐1769
CHARLES WILLIAM MAPLE                                3112 SUSAN DR                                                                                           KOKOMO           IN    46902‐7508
CHARLES WILLIAM MOSELEY & SONIA JUNE MOSELEY JT      426 PIEDMONT AVE                                                                                        GLENDALE         CA    91206‐3448
TEN
CHARLES WILLIAM NEAL                                 2225 GLENOBY RD                                                                                         JAMESTOWN        TN    38556‐6509
CHARLES WILLIAM PACE III                             220 CLEARWATER                                                                                          CARBONDALE       CO    81623‐1809
CHARLES WILLIAM RANDALL JR                           1594 HANNIBAL ST                                                                                        NOBLESVILLE      IN    46060‐2938
CHARLES WILLIAM RICE II & JOANNE MARIE RICE JT TEN   215 WAKEFIELD PLACE                                                                                     HARRISONBURG     VA    22801‐2854

CHARLES WILLIAM STAPLES                              270 N W 36TH ST                                                                                         BOCA RATON       FL    33431‐5812
CHARLES WILLIAM THORPE                               238 SUSSEX RD                                                                                           SWEDESBORO       NJ    08085‐1596
CHARLES WILLIAMS                                     801‐24 TILDEN ST APT 24A                                                                                BRONX            NY    10467‐6026
CHARLES WITMER                                       2690 FENTON RD                                                                                          HARTLAND         MI    48353‐3112
CHARLES WM PRISER                                    17615 BULLA ROAD                                                                                        SOUTH BEND       IN    46635‐1709
CHARLES WOODBURY KENNEDY                             1158 FIFTH AVENUE                       APT 7C                                                          NEW YORK         NY    10029‐6917
CHARLES WOODS                                        7180 BULLSKIN ROAD                                                                                      ONEIDA           KY    40972
CHARLES WRIGHT                                       206 ADAMS ST                                                                                            BUFFALO          NY    14206‐1506
CHARLES WRIGHT                                       2227 BEECHER RD SW                                                                                      ATLANTA          GA    30311‐2509
CHARLES WRIGHT JR                                    16360 BRANCUSI LANE                                                                                     CHINO HILLS      CA    91709
CHARLES WYATT & WENDY WYATT JT TEN                   5070 OAKDALE                                                                                            WOODLAND HILLS   CA    91364‐3629

CHARLES Y ASADA & MRS LESLIE C ASADA JT TEN          12415 E VIARNA ST                                                                                       CERRITOS         CA    90703‐7731
CHARLES Y LIMBOCKER                                  2095 STAHLHEBER RD                                                                                      HAMILTON         OH    45013‐1927
CHARLES YEARY & BRIDGETT YEARY JT TEN                8830 SUMMER ESTATES DR                                                                                  INDIANAPOLIS     IN    46256‐1550
CHARLES YEKSIGIAN TR CHARLES YEKSIGIAN TRUST UA      5N 546 LAKEVIEW CIR                                                                                     ST CHARLES       IL    60175
12/19/96
CHARLES ZALEWSKI                                     1844 CROSS BEND ST NE                                                                                   GRAND RAPIDS     MI    49505‐7135
CHARLES ZIEGLER                                      10 HAMPTON RD                                                                                           HOWELL           NJ    07731‐1810
CHARLESTTA CLAYBORNE                                 1812 S DEARBORN ST #19                                                                                  CHICAGO          IL    60616‐1626
CHARLETTE A CLARK                                    8247 TEACHOUT ROAD                                                                                      OTISVILLE        MI    48463‐9418
CHARLETTE BENTON                                     9179 BRANDI CT                                                                                          JACKSONVILLE     FL    32222‐1923
CHARLETTE L STINNETT                                 2 BOONE                                                                                                 IRVINE           CA    92620
                                               09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 741 of 850
Name                                                 Address1                              Address2             Address3          Address4          City            State Zip

CHARLEY BAITY TOD BEATHENE M BAITY SUBJECT TO        3644 43RD AVE N                                                                                BIRMINGHAM      AL    35207
STA TOD RULES
CHARLEY BURNS JR                                     108 CROSS CREEK WAY                                                                            ALVATON         KY    42122‐8725
CHARLEY CAIN                                         4685 JULIUS BLVD                                                                               WESTLAND        MI    48186‐5126
CHARLEY E ISHAM                                      4801 WALKER RD RT 1                                                                            LESLIE          MI    49251‐9787
CHARLEY E SHEARER                                    381 WILLOW                                                                                     MILAN           MI    48160‐9542
CHARLEY H BOYKIN                                     208 5TH STREET P O BOX 121                                                                     DOCENA          AL    35060‐0121
CHARLEY H HESTER                                     6164 ROBERTS LN                                                                                FARMINGTON      MO    63640‐8566
CHARLEY HARRIS                                       1421 GUNNINK DR SE                                                                             KENTWOOD        MI    49508‐8619
CHARLEY HEMPHILL                                     22401 VIRGINIA                                                                                 EAST DETROIT    MI    48021‐2346
CHARLEY L PERKINS                                    29632 THOMAS CIRCLE                                                                            INKSTER         MI    48141‐2813
CHARLEY L SHERWOOD CUST CALE SHERWOOD UGMA           5098 S FARM ROAD 115                                                                           BROOKLINE       MO    65619‐9147
OK                                                                                                                                                  STATION
CHARLEY P GILLESPIE & GERALDINE M GILLESPIE JT TEN   5184 JAMESWOOD CIR                                                                             BIRMINGHAM      AL    35244‐1967

CHARLEY SWETNAM                                   ATTN ELIZABETH P WHITE                   5125 RINEHART AVE                                        INDIANAPOLIS    IN    46241‐0749
CHARLEY T ODOM                                    1323 HUNTINGTON RD                                                                                KNOXVILLE       TN    37919‐8496
CHARLEY W KOERS                                   427 S CHURCH STREET                                                                               BRIGHTON        MI    48116‐1811
CHARLIE A HUDSON & PEGGY B HUDSON JT TEN          14999 WUNDERLICH #127                                                                             HOUSTON         TX    77069‐2049
CHARLIE ARNOLD                                    BOX 354 HCR 61                                                                                    BRINKTOWN       MO    65443‐9704
CHARLIE B HARRIS                                  5116 ELDRED ST                                                                                    FLINT           MI    48504‐1258
CHARLIE B MATHIS JR                               1716 FOREST DR                                                                                    CAMDEN          SC    29020‐2018
CHARLIE B STEPHENSON                              2721 BURTZ DRIVE                                                                                  MARIETTA        GA    30068‐3606
CHARLIE B STEPHENSON & CHARLIE B STEPHENSON JR JT 2721 BURTZ DR                                                                                     MARIETTA        GA    30068‐3606
TEN
CHARLIE B WALKER                                  6191 SANDY CREEK RD                                                                               MADISON         GA    30650‐2609
CHARLIE BANKS JR                                  7317 SHAW CHAPEL RD                                                                               BROWNSVILLE     TN    38012‐6939
CHARLIE BENT                                      6533 SUSON OAKS DR                                                                                ST LOUIS        MO    63128‐4516
CHARLIE BRYDIE                                    7015 CARNATION ST                        APT 409                                                  RICHMOND        VA    23225‐5234
CHARLIE BUTLER JR                                 206 RIVERSIDE DR                                                                                  DETROIT         MI    48215‐3011
CHARLIE BYERLEY GOODMAN                           16221 POOR HOUSE RD                                                                               AMELIA CT HSE   VA    23002‐2430
CHARLIE C CARTER                                  682 WATERLOO RD                                                                                   WESTPOINT       TN    38486‐5030
CHARLIE C GLOSUP                                  9 CHISOS CT                                                                                       ROANOKE         TX    76262‐5204
CHARLIE C THOMAS                                  5165 NORTH JENNINGS RD                                                                            FLINT           MI    48504‐1138
CHARLIE CALDWELL WHITE                            PO BOX 75                                                                                         EDWARDS         MS    39066‐0075
CHARLIE CLAY BROWN                                718 EGGERT RD                                                                                     BUFFALO         NY    14215‐1243
CHARLIE COCHRANE & EVA COCHRANE JT TEN            400 NEWGATE AVE                          OSHAWA ON                              L1G 2X8 CANADA
CHARLIE CROSKEY                                   239 O RILEY CT                                                                                    PONTIAC         MI    48058
CHARLIE CUTAJAR                                   525 SHAMROCK BLVD                                                                                 VENICE          FL    34293‐1727
CHARLIE D HAWKINS                                 24304 OLD KENT RD N                                                                               WARREN          MI    48091‐3371
CHARLIE D SANDERS & BARBARA D SANDERS JT TEN      4740 SPARROW DR                                                                                   SAINT CLOUD     FL    34772‐8339

CHARLIE D ZOOK                                       12092 EAGLE RD                                                                                 NEW LEBANON     OH    45345‐9121
CHARLIE DAVIS                                        3962 EAST 176TH                                                                                CLEVELAND       OH    44128‐1749
CHARLIE DIXON                                        2231 MINDY CT                                                                                  ANDERSON        IN    46017‐9673
CHARLIE DUNCAN                                       2347 CHEROKEE DRIVE NW                CALGARY AB                             T2L 0X6 CANADA
CHARLIE E MAYO JR                                    3016 POSSUM TRACK RD                                                                           CHOCOWINITY     NC    27817‐9228
CHARLIE F ANDERSON                                   19240 HEALY                                                                                    DETROIT         MI    48234‐4218
CHARLIE F BYRD                                       121 W BISHOP                                                                                   FLINT           MI    48505‐3225
CHARLIE F HEATH                                      16554 FAIRFIELD ST                                                                             DETROIT         MI    48221‐3005
CHARLIE F MILLER & WILLIAM K MILLER JT TEN           1104 PARKWOOD PL                                                                               IRVING          TX    75060‐3885
CHARLIE F MITCHELL JR                                PO BOX 38569                                                                                   DETROIT         MI    48238‐0569
CHARLIE F SHORT                                      3544 E DIAMONDALE                                                                              SAGINAW         MI    48601‐5805
CHARLIE F TIMMONS                                    2581 HEMMETER                                                                                  SAGINAW         MI    48603‐3019
CHARLIE F WOODWARD                                   916 W GENESEE                                                                                  FLINT           MI    48504‐2610
CHARLIE FLEWELEN                                     8024 S LAFLIN ST                                                                               CHICAGO         IL    60620‐4325
CHARLIE FRYER                                        615 WOODLAWN AVE                                                                               BUFFALO         NY    14211‐1234
CHARLIE G HARRIS                                     10730 ST RT 122                                                                                CAMDEN          OH    45311‐8876
CHARLIE G NEWSON                                     101 AIRLINE TERRACE                                                                            PEARL           MS    39208‐4202
                                          09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                               Part 1 of 8 Pg 742 of 850
Name                                        Address1                            Address2             Address3          Address4          City            State Zip

CHARLIE G SHAW                              664 SHANNON GREEN CIRCLE                                                                     MABLETON        GA    30126‐1638
CHARLIE G SNIPES                            PO BOX 23346                                                                                 MACON           GA    31212‐3346
CHARLIE GRAYS                               1019 FOXHILL DR                                                                              INDIANAPOLIS    IN    46228‐1306
CHARLIE GREEN WATSON                        6263 MOSES ROAD                                                                              W ALEXANDRIA    OH    45381‐9521
CHARLIE H FENN                              512 S 11TH ST                                                                                SAGINAW         MI    48601‐1905
CHARLIE H HILL JR                           1646 COUNTY ROAD 439                                                                         HILLSBORO       AL    35643‐4132
CHARLIE H JONES                             2021 SUNSWEET CT                                                                             LAWRENCEVILLE   GA    30043‐2611
CHARLIE H MARTIN                            PO BOX 354                                                                                   BOLTON          MS    39041‐0354
CHARLIE H MCGRAW                            ROUTE 2 BOX 610                                                                              MARION          LA    71260‐9625
CHARLIE HANSEN                              4026 BOWEN                                                                                   TOLEDO          OH    43613‐3802
CHARLIE HARP                                1332 MONTE VISTA DR                                                                          GADSDEN         AL    35904‐3642
CHARLIE HARRIS JR                           3486 PENNSYLVANIA                                                                            DETROIT         MI    48214‐2008
CHARLIE HARRIS SR                           1693 70TH AVE                                                                                OAKLAND         CA    94621‐3462
CHARLIE HOLMES                              14810 NORTHLAWN                                                                              DETROIT         MI    48238‐1850
CHARLIE HOLT CONKLIN                        5420 W LOCKE RD                                                                              PERRY           MI    48872‐8509
CHARLIE HUDGINS                             1498 WILLIAMS ST                                                                             GARY            IN    46404‐1668
CHARLIE I GOULD                             12401 ST JOHN AVE                                                                            CLEVELAND       OH    44111‐5143
CHARLIE J BROWN                             4435 WEXFORD RD                                                                              INDIANAPOLIS    IN    46226‐3263
CHARLIE J EDWARDS                           9131 APPOLINE                                                                                DETROIT         MI    48228‐2658
CHARLIE J JONES                             5322 KRISTA ALETHES ST                                                                       LAS VEGAS       NV    89031‐7811
CHARLIE J KIELER & AGNES KIELER TEN COM     6712 FM 2919                                                                                 EAST BERNARD    TX    77435‐8439
CHARLIE J MURPHY                            5491 STANTON DR                                                                              ORANGE          TX    77630
CHARLIE J TURNER                            1751 DARWIN WAY                                                                              SAN JOSE        CA    95122‐2034
CHARLIE J WOODY                             240 CAMELIA DR                                                                               DALEVILLE       VA    24083‐3504
CHARLIE JEFFRY STEWART                      2041 BURR BLVD                                                                               FLINT           MI    48503‐4209
CHARLIE JORDAN                              5520 CARRY AVE #DN                                                                           CLEVELAND       OH    44103‐1031
CHARLIE K KINTNER                           12377 NORTH NEFF ROAD                                                                        CLIO            MI    48420‐1808
CHARLIE L DY                                6300 STEVENSON AVE #714                                                                      ALEXANDRIA      VA    22304‐3572
CHARLIE L FOWZER                            11151 TAMARACK AVE                                                                           PACOIMA         CA    91331‐2733
CHARLIE L GARDNER                           652 EAST 131 ST                                                                              CLEVELAND       OH    44108‐2035
CHARLIE L GILLMAN                           30 STONEHEDGE HOLLOW                MARKHAM ON                             L3R 3Y9 CANADA
CHARLIE L GROSS                             6499 LAHRING RD                                                                              HOLLY           MI    48442‐9602
CHARLIE L HICKS                             634 E STEWART AVE                                                                            FLINT           MI    48505‐5324
CHARLIE L HOGANS                            16902 MONTE VISTA                                                                            DETROIT         MI    48221‐2896
CHARLIE L HUNTER JR                         PO BOX 1115                                                                                  JACKSON         GA    30233‐0023
CHARLIE L MCBRIDE                           3848 CHERRY ST                                                                               CLARKSTON       MI    48348‐1418
CHARLIE L MULLINS                           803 LAMONT PLACE                                                                             TEMPLE TERR     FL    33617‐7845
CHARLIE L PETERS                            4138 MERRYFIELD AVENUE                                                                       DAYTON          OH    45416‐1220
CHARLIE L ROGERS JR                         555 VENTURA LN                                                                               ATLANTA         GA    30349‐2726
CHARLIE L ROSS                              219 WOODWARD AVENUE                                                                          BUFFALO         NY    14214‐2313
CHARLIE L THOMAS                            9387 WARD                                                                                    DETROIT         MI    48228‐2648
CHARLIE L WINGATE                           2912 DAVID                                                                                   ARLINGTON       TX    76013‐2026
CHARLIE LAWRENCE                            4135 GALLAGHER                                                                               SAGINAW         MI    48601‐4229
CHARLIE LOMBARD COBB                        1198 SIESTA KEY CIR                                                                          PORT ORANGE     FL    32128‐7030
CHARLIE M BRADFORD                          4321 AUBURN DR                                                                               FLOWER MOUND    TX    75028‐8708
CHARLIE M BULLUCK                           9095 S SAGINAW RD                   APT 20                                                   GRAND BLANC     MI    48439‐9580
CHARLIE M KING                              10106 HALCYON                                                                                PARMA HTS       OH    44130‐1912
CHARLIE M THOMPSON                          705 EVERGREEN AVE                                                                            FLINT           MI    48503‐4047
CHARLIE MANNING                             2204 AVALON COURT                                                                            KOKOMO          IN    46902‐3102
CHARLIE MAY                                 9557 MANDALE ST                                                                              BELLFLOWER      CA    90706‐3026
CHARLIE MAYS III                            34 STOWELL                                                                                   PONTIAC         MI    48342‐2454
CHARLIE MITCHELL                            2320 GOVERNORS RD                                                                            WINDSOR         NC    27983‐9779
CHARLIE NORMAN & CORINE NORMAN JT TEN       31041 WARREN RD APT 89                                                                       WESTLAND        MI    48185‐2953
CHARLIE O RAMSEY                            5315 RAMSEY ROAD                                                                             QUITMAN         GA    31643‐8305
CHARLIE P FARLEY                            449 CARO LN                                                                                  CHAPIN          SC    29036‐7989
CHARLIE P JACKSON                           1605 MOOREFIELD RD                                                                           AUSTINTOWN      OH    44515‐4507
CHARLIE P JONES                             10960 S C R 700 W                                                                            DALEVILLE       IN    47334‐9723
CHARLIE P POORE                             2270 RENFROE RD                                                                              HUNTINGDON      TN    38344‐5544
CHARLIE PARHAM                              536 S 9TH ST                                                                                 SAGINAW         MI    48601‐1964
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 743 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

CHARLIE PARKER JR                                 423 CAMBRIDGE AVENUE                                                                            BUFFALO          NY    14215‐3157
CHARLIE PHILLIPS                                  4029 CLOVE HITCH ST                                                                             N LAS VEGAS      NV    89032‐0272
CHARLIE PIERSON                                   3616 LAKESIDE DR                                                                                DAYTON           OH    45408‐1524
CHARLIE R ALFREY                                  7676 NEFF RD                                                                                    MEDINA           OH    44256‐9483
CHARLIE R BOUKNIGHT                               1632 SHADY GROVE ROAD                                                                           IRMO             SC    29063‐8441
CHARLIE R MATTHEWS                                PO BOX 109                                                                                      MOUNT AIRY       NC    27030‐0109
CHARLIE R NEWBERRY                                510 DEMASUS ROAD                                                                                BLUE RIDGE       GA    30513‐3122
CHARLIE R ROSS                                    12184 GREENLAWN ST                                                                              DETROIT          MI    48204‐1175
CHARLIE R STEPHENS                                10249 S COUNTY RD 10 E                                                                          CLOVERDALE       IN    46120‐9106
CHARLIE R TOWNSEND                                PO BOX 461                                                                                      OXFORD           GA    30054‐0461
CHARLIE R VELASQUEZ                               9305 1/2 S AVALON BLVD                                                                          LOS ANGELES      CA    90003‐3836
CHARLIE RALPH CUST CODY RALPH UTMA NC             105 JASON DR                                                                                    ELIZABETH CITY   NC    27909‐9272
CHARLIE RAY HULL                                  9796 W 300 S                                                                                    LAPEL            IN    46051‐9741
CHARLIE ROBERT JONES                              852 GARDEN WALK BLVD                   APT F3                                                   ATLANTA          GA    30349‐6271
CHARLIE S BURTON                                  PO BOX 263                                                                                      MIDLOTHIAN       VA    23113‐0263
CHARLIE S THOMPSON                                2866 HERMOSA DR                                                                                 DECATUR          GA    30034‐2622
CHARLIE SCOTT JR                                  3294 EAST 104 ST                                                                                CLEVELAND        OH    44104‐5646
CHARLIE SHORTER                                   3170 N MICHIGAN AVE                                                                             SAGINAW          MI    48604‐2364
CHARLIE SLONE                                     3242 BASELINE                                                                                   PLYMOUTH         OH    44865‐9661
CHARLIE SPICER                                    1905 W LINCOLN AVE                                                                              ALBANY           GA    31707‐4729
CHARLIE STAMPER                                   BOX 97                                                                                          DWARF            KY    41739‐0097
CHARLIE STRONG                                    48008 FULLER                                                                                    CHESTERFIELD     MI    48051‐2920
CHARLIE THOMAS                                    2428 MIRIAM LANE                                                                                DECATUR          GA    30032‐5722
CHARLIE TOLBERT JR                                2020 OXLEY DRIVE                                                                                FLINT            MI    48504‐7092
CHARLIE V PENDERGRASS                             10575 WILKINSON RD                                                                              LENNON           MI    48449‐9612
CHARLIE W BOSS                                    6180 ADAMS ST RT 4                                                                              COVINGTON        GA    30014‐1400
CHARLIE W GARY                                    2307 W 19TH PLACE                                                                               GARY             IN    46404‐2751
CHARLIE W GOODWIN                                 117 ELWOOD AVE                                                                                  DAYTON           OH    45407‐3016
CHARLIE W HARRIS                                  4801 KESSLER BLVD NORTH DR                                                                      INDIANAPOLIS     IN    46228‐2145
CHARLIE W HARVEY                                  5035 GRAPE ARBOR LN                                                                             LANSING          MI    48917‐1519
CHARLIE W MUNSON JR & ROSE N MUNSON JT TEN        303 N MECCA ST 300                                                                              CORTLAND         OH    44410‐1084

CHARLIE W PRICE JR                                2610 DEACON ST                                                                                  DETROIT          MI    48217‐1550
CHARLIE W TONG                                    22204 VICTORY BLVD                     APT B‐313                                                WOODLAND HILLS   CA    91367‐7624

CHARLIE W VITTETOE                                5561 WILLIAMS LAKE RD                                                                           WATERFORD        MI    48329‐3270
CHARLIE WHITFIELD JR                              PO BOX 7423                                                                                     AUGUSTA          GA    30905‐0423
CHARLIEMAE ANDERSON                               1510 N CHEVROLET AV                                                                             FLINT            MI    48504‐3122
CHARLIENE R TURNER                                PO BOX 914                                                                                      MORIARTY         NM    87035‐0914
CHARLINE J KENNEY TR CHARLINE J KENNEY TRUST UA   4970 POSEIDON WAY                                                                               OCEANSIDE        CA    92056‐7416
06/18/90
CHARLITA R MANGRUM                                500 LAKELAND DRIVE                                                                              ROCKINGHAM       NC    28379‐9403
CHARLOTE M WELLS TR WELLS FAMILY TRUST UA         140 CRESCENT AVE                                                                                BUFFALO          NY    14214
05/24/93
CHARLOTEE M WILKESON                              4715 CANFIELD NILES RD                                                                          CANFIELD         OH    44406‐8605
CHARLOTT D LIZOTTE                                ATTN CHARLOTTE D NORRIS                1189 DUDLEY                                              PONTIAC          MI    48342‐1931
CHARLOTTA S DISHMAN                               4188 CORDELL DR                                                                                 DAYTON           OH    45439‐2608
CHARLOTTE A BUTLER                                1695 MAPLE AVE                                                                                  NOBLESVILLE      IN    46060‐3015
CHARLOTTE A CAMERON TR LIV TR UA 03/03/86         C/O CHARLOTTE A CAMERON                440 CLAIRE PLACE                                         MENLO PARK       CA    94025‐5356
CHARLOTTE A CAMERON
CHARLOTTE A CONNINE TR CHARLOTTE A CONNINE        PO BOX 413                                                                                      HASLETT          MI    48840‐0413
TRUST UA 02/27/92
CHARLOTTE A CORNETT                               4390 CAMDEN WEST ELKTON RD                                                                      SOMERVILLE       OH    45064
CHARLOTTE A DONKERS                               4623 DUFFER PL                                                                                  LAKELAND         FL    33801‐0366
CHARLOTTE A FLANIGAN & LINDA J RICHETT JT TEN     11302 WASHBURN RD                                                                               OTISVILLE        MI    48463‐9601

CHARLOTTE A FLIS TR CHARLOTTE A FLIS TRUST UA     10955 N 79TH AV 170                                                                             PEORIA           AZ    85345‐5967
10/07/94
CHARLOTTE A HARRIS                                289 MAPLE ST                                                                                    BANGOR           ME    04401‐4033
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 744 of 850
Name                                              Address1                             Address2               Address3        Address4          City              State Zip

CHARLOTTE A HOLMQUIST                             36 VAILLE AVE                                                                                 LEXINGTON         MA    02421‐4300
CHARLOTTE A KROLL                                 4562 WEST 194TH STREET                                                                        CLEVELAND         OH    44135‐1741
CHARLOTTE A MAXWELL                               108 SE 21ST PLACE                                                                             CAPE CORAL        FL    33990
CHARLOTTE A MC GARRY                              1853 CAMPUS CT                                                                                ROCHESTER HILLS   MI    48309‐2159
CHARLOTTE A MCFARLIN                              1107 SUNSET PLZ                                                                               SANDUSKY          OH    44870‐6297
CHARLOTTE A MULLIKIN‐JESTER                       2200 HEARN RD                                                                                 WILMINGTON        DE    19803
CHARLOTTE A NELSON                                1500 ROBIN CIR                       UNIT 116                                                 HOFFMAN ESTATES   IL    60194‐1117

CHARLOTTE A RIDOLFO                             2672 MANGROVE STREET                                                                            ST JAMES CITY     FL    33956‐2171
CHARLOTTE A ROBINSON                            4237 COUNTY RD 489                                                                              ONAWAY            MI    49765‐9712
CHARLOTTE A RODDY                               898 EMERSON AVE                                                                                 DUNEDIN           FL    33528
CHARLOTTE A SEEGERS                             52 WHITE BIRCH LANE                                                                             PARSIPPANY        NJ    07054‐2421
CHARLOTTE A SMITH                               C/O CHARLOTTE A KARSTEN                49 WESTFALL DRIVE                                        TONAWANDA         NY    14150‐7129
CHARLOTTE A SMITH                               2880 WASHINGTON MILL RD                                                                         BELLBROOK         OH    45305‐9727
CHARLOTTE A STEHLE                              10049 CLIO RD                                                                                   CLIO              MI    48420‐1942
CHARLOTTE A STONE & BRIAN M STONE JT TEN        24001 ROSEWOOD                                                                                  OAK PARK          MI    48237‐2270
CHARLOTTE A STULTZ                              2935 SEMINOLE RD                                                                                WOODBRIDGE        VA    22192‐1811
CHARLOTTE A THOMPSON PER REP EST SHIRLEY TAYLOR 24127 TARA COURT                                                                                FARMINGTON        MI    48335

CHARLOTTE A TRUBA                                 135 ANDRESEN CT                                                                               HAZEL PARK        MI    48030‐1163
CHARLOTTE A WARNESS CUST LAURA ANNE WARNESS 2071 ARDEN LANE                                                                                     MERCED            CA    95340‐2635
UGMA CA
CHARLOTTE A WIBLE                                 4110 ARMON COURT                                                                              CARMEL            IN    46033‐3707
CHARLOTTE A WILLIAMS                              3305 BITTERNUT BLVD                                                                           YORK              PA    17404
CHARLOTTE A WILLIAMS                              3077 WHISPERING PINES CIRCLE                                                                  BIRMINGHAM        AL    35226‐3433
CHARLOTTE A YOUNKMAN                              346 SYCAMORE VALLEY                                                                           MIAMISBURG        OH    45342‐5731
CHARLOTTE ANN BOWER & CHARLES WARD BOWER JT 3120 1 WARREN BURTON RD                                                                             SOUTHINGTON       OH    44470
TEN
CHARLOTTE ANN BROWN                               36121 AURENSON ROAD                                                                           N RIDGEVILLE      OH    44039
CHARLOTTE ANN GONSECKI CUST CHRISTINE MARIE       4 COHANSEY CIRCLE                                                                             NEWARK            DE    19702‐2701
GONSECKI UTMA DE
CHARLOTTE ANN GONSECKI CUST DIANE E GONSECKI      4 COHANSEY CIRCLE                                                                             NEWARK            DE    19702‐2701
UTMA DE
CHARLOTTE ANN GONSECKI CUST MELANIE ANN           4 COHANSEY CIRCLE                                                                             NEWARK            DE    19702‐2701
GONSECKI UTMA DE
CHARLOTTE ANN KELLER                              400 E JACKSON                                                                                 DE SOTO           IL    62924‐1506
CHARLOTTE ANN MCGARRY                             1853 CAMPUS COURT                                                                             ROCHESTER HILLS   MI    48309‐2159
CHARLOTTE ANN STIERITZ                            43 W SOUTHGATE                                                                                FORT THOMAS       KY    41075‐1311
CHARLOTTE ANNE SEWARD                             4545 CONNECTICUT AVE NW              APT 308                                                  WASHINGTON        DC    20008‐6016
CHARLOTTE B BENSON                                2911 ALVARADO SQUARE                                                                          BALTIMORE         MD    21234‐7603
CHARLOTTE B COOPER & JAMES J COOPER & MARK A      3 CASTLE DR                                                                                   BATTLE CREEK      MI    49015‐1317
COOPER JT TEN
CHARLOTTE B PUPPEL & ASHLEY S ROSE TR VERED TRUST 2 S 231 IVY LANE                                                                              LOMBARD           IL    60148
1/05/87
CHARLOTTE B SCHNEIDER & WILLIAM M SCHNEIDER JT 5173 DON SHENK DR                                                                                SWARTZ CREEK      MI    48473‐1207
TEN
CHARLOTTE B TOWNSEND & SIERRA M BAUER JT TEN      690 HAWAII RD                                                                                 HUMBOLDT          KS    66748‐1482

CHARLOTTE B WALLACE                            2911 ALVARADO SQ                                                                                 BALTIMORE         MD    21234‐7603
CHARLOTTE BAKEMAN TR CHARLOTTE BAKEMAN TRUST 4205 BRAMBLERIDGE                                                                                  MIDLAND           MI    48640‐2101
UA 08/29/91
CHARLOTTE BALSAM                               2028 E 36TH ST                                                                                   BROOKLYN          NY    11234‐4907
CHARLOTTE BOROWSKI                             218 FOURTH                              C/O N MORRIS ESTATES                                     MT MORRIS         MI    48458‐1165
CHARLOTTE C BARTLETT                           8583 STARLING CIR                                                                                CARLISLE          OH    45005‐4133
CHARLOTTE C COUGHENOUR                         32 COE DRIVE                                                                                     DURHAM            NH    03824‐2206
CHARLOTTE C HAYDEN & VICKIE H BREEDLOVE JT TEN 9707 GARDENIA DR                                                                                 RICHMOND          VA    23228‐1427

CHARLOTTE C JOHNSON                               1089 HAMPSTEAD PL                                                                             MARTINEZ          GA    30907‐6206
CHARLOTTE CALLENS                                 41571 WESTMEATH CIRCLE                                                                        MT CLEMENS        MI    48038‐5814
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                      Part 1 of 8 Pg 745 of 850
Name                                             Address1                              Address2             Address3           Address4          City            State Zip

CHARLOTTE CHAMBORA                               3469 MILEAR DR                                                                                  CORTLAND        OH    44410‐9478
CHARLOTTE CLARK                                  1270 BROOKFIELD                                                                                 CHARLOTTE       MI    48813‐9193
CHARLOTTE COLEMAN                                7825 NW ROANRIDGE RD                  APT A                                                     KANSAS CITY     MO    64151‐5213
CHARLOTTE COOPER BLAIR                           PO BOX 205                                                                                      HUNTINGDON      TN    38344‐0205
CHARLOTTE D MASTERS                              7710 EVANWOOD CT                                                                                FT WAYNE        IN    46816‐2657
CHARLOTTE D MUCHA                                75 SAWYER AVE                                                                                   LANCASTER       NY    14086‐1654
CHARLOTTE D WINNINGHAM                           4419 ROUND MTN RD                                                                               JAMESTOWN       TN    38556‐6018
CHARLOTTE DE PIERNE                              3 MERWIN BROOK RD                                                                               BROOKFIELD      CT    06804‐3017
                                                                                                                                                 CENTER
CHARLOTTE DEE HOWARD                             ATTN CHARLOTTE DEE HOWARD             HOLLAND              2750 TIMPSON AVE                     LOWELL          MI    49331‐9519
CHARLOTTE DIANE WHITACRE & GEORGE A FRANCISCA 4061 BELAIR LN                                                                                     NAPLES          FL    34103‐3571
JT TEN
CHARLOTTE DURRANCE CUST JUSTIN F DURRANCE        23353 NW CR 235                                                                                 LAKE BUTLER     FL    32054
UTMA FL
CHARLOTTE E ALBRECHT TOD DAVID ALBRECHT SUBJECT 1910 WEGNER STREET                                                                               WAUSAU          WI    54401‐5261
TO STA TOD RULES
CHARLOTTE E ALBRECHT TOD DIANE JOHNS SUBJECT TO 1910 WEGNER STREET                                                                               WAUSAU          WI    54401‐5261
STA TOD RULES
CHARLOTTE E HEATHMAN                             885 S FOX HILL DR                                                                               SPANISH FORK    UT    84660
CHARLOTTE E HUSTECK                              2690 HAMPSHIRE RD                                                                               CLEVELAND       OH    44106‐2511
CHARLOTTE E IZENMAN                              8975 WEST GOLF ROAD #628                                                                        NILES           IL    60714
CHARLOTTE E MC KEE                               105 MISHAWUM RD                                                                                 WOBURN          MA    01801‐2554
CHARLOTTE E MCNALLY                              3620 S PARK AVE                                                                                 MUNCIE          IN    47302‐4939
CHARLOTTE E NORTHRUP                             319 GAYLE DR                                                                                    SHEFFIELD LK    OH    44054‐1914
CHARLOTTE E OLSON                                617 S ROYAL ST                                                                                  ALEXANDRIA      VA    22314‐4141
CHARLOTTE E ROZNER TR UA 07/28/2006 ROZNER       27 PETUNIA CIRCLE                                                                               MATTESON        IL    60443
FAMILY TRUST
CHARLOTTE E SWEENEY                              1200 MAPLE AVE APT 117                                                                          TERRE HAUTE     IN    47804‐3018
CHARLOTTE E WILEY & DONALD J WILEY JT TEN        14729 62ND AVE N                                                                                MAPLE GROVE     MN    55311‐4170
CHARLOTTE EVANS HOTCHKISS                        17824 PALATINE AVE N                                                                            SEATTLE         WA    98133
CHARLOTTE F HOCKMAN                              4712 CEDAR LANE                                                                                 BAY CITY        MI    48706‐2662
CHARLOTTE F KELLY TOD MARK KELLY SUBJECT TO STA 185 RIDGEWOOD AVE                                                                                OAKHURST        NJ    07755
TOD RULES
CHARLOTTE F LOFTSPRING TR CHARLOTTE F LOFTSPRING 8585 ARBORCREST DR                                                                              CINCINNATI      OH    45236‐1407
TRUST UA 11/04/96
CHARLOTTE F MCFARLIN & DAVID K MCFARLIN & LAURIE 15 PIERCE RD                                                                                    N SPRINGFIELD   VT    05150‐9752
M HUDSON JT TEN
CHARLOTTE F MERRILL                              PO BOX 6473                                                                                     MANCHESTER      NH    03108‐6473
CHARLOTTE F NELIGH                               201 HORTON AVE                                                                                  ENGLEWOOD       FL    34223‐3818
CHARLOTTE F WEBSTER                              954 BAY CROSSING DR                                                                             WATERFORD       MI    48327‐4601
CHARLOTTE FEIERTAG                               968 BROAD ST                                                                                    BLOOMFIELD      NJ    07003‐2805
CHARLOTTE FOX SMITH & LYNN EUGENE SMITH JT TEN 12289 SHORT DR                                                                                    MINSTER         OH    45865

CHARLOTTE FOX SMITH & LYNN EUGENE SMITH JT TEN   12289 SHORT DR                                                                                  MINSTER         OH    45865

CHARLOTTE G CARR                                 2323 WHISPERING HILLS CT C                                                                      WASHINGTON      MI    48094‐1039
CHARLOTTE G COX                                  ROUTE 7                               BOX 430                                                   OLIVE HILL      KY    41164‐9809
CHARLOTTE G COX & DONALD R COX JT TEN            ROUTE 7                               BOX 430                                                   OLIVE HILL      KY    41164‐9809
CHARLOTTE G PATRICK                              2436 OVIDIA CIR SW                                                                              ATLANTA         GA    30311‐3232
CHARLOTTE GEISER                                 274 LAUREL DR                                                                                   PATASKALA       OH    43062‐8607
CHARLOTTE GIBSON & CHARLES R GIBSON JT TEN       9912 FARMINGTON RD                                                                              LIVONIA         MI    48150‐2746
CHARLOTTE H AHNER                                3202 PRESTON POINE WAY                                                                          CUMMING         GA    30041
CHARLOTTE H BOCKES                               112 ALEXANDER AVE                                                                               MONOGAHELA      PA    15063‐1002
CHARLOTTE H CLASSEN                              2020 S MONROE ST                      APT 423                                                   DENVER          CO    80210‐3769
CHARLOTTE H FARRAR TR CHARLOTTE H FARRAR         20121 RIVER RD                                                                                  CHESTERFIELD    VA    23838‐1033
REVOCABLE TRUST UA 05/04/98
CHARLOTTE H HARTWIG                              21715 ROSLYN ROAD                                                                               HARPER WOODS    MI    48225‐1150
CHARLOTTE HARRIS                                 2306 LINCOLNWOOD                                                                                EVANSTON        IL    60201‐2049
CHARLOTTE HILL                                   400 SURREY HILL WAY                                                                             ROCHESTER       NY    14623‐3059
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 746 of 850
Name                                              Address1                              Address2              Address3         Address4          City             State Zip

CHARLOTTE HOOK STEVENS                            520 ROCK CREEK DR N                                                                            JACKSONVILLE     NC    28540‐9367
CHARLOTTE HUTCHISON                               WALRAMSTRASSE 29‐31                   65183 WIESBADEN                        GERMANY
CHARLOTTE I EDWARDS                               9045 BLUEBAY LN                                                                                PENSACOLA        FL    32506‐9557
CHARLOTTE J BABCOCK                               ATTN CHARLOTTE MOHLER                 3487 HEATH ROAD                                          HASTINGS         MI    49058‐9734
CHARLOTTE J BERNARD & DIANE J STRAND JT TEN       135 DALE AVENUE                                                                                CORTLANDT        NY    10567‐1618
                                                                                                                                                 MANOR
CHARLOTTE J BROTEN TOD KATHARINE A BROTEN         810 4TH AVE SE                                                                                 JAMESTOWN        ND    58401
SUBJECT TO STA TOD RULES
CHARLOTTE J CHASTEEN                              1623 NORTHDALE ROAD                                                                            DAYTON           OH    45432‐3509
CHARLOTTE J CRAGUN                                PO BOX 3071                                                                                    KOKOMO           IN    46904‐3071
CHARLOTTE J FISCHER                               401 ROBINSON RUN                                                                               WALTON           WV    25286‐8941
CHARLOTTE J MAPLES                                9323 HALLSTON COURT                                                                            FX STATION       VA    22039
CHARLOTTE J MARSDEN TR MARSDEN FAM TRUST UA       2133 E BEAVER LAKE DR SE                                                                       SAMMAMISH        WA    98075‐7921
01/21/95
CHARLOTTE J RIGNEY                                1135 CHATHAM HEIGHTS                                                                           MARTINSVILLE     VA    24112‐2149
CHARLOTTE J RYVER                                 5902 NIGHTINGALE                                                                               DEARBORN HGTS    MI    48127‐3045
CHARLOTTE J SMITH                                 10200 CHEROKEE RD                                                                              RICHMOND         VA    23235‐1108
CHARLOTTE J WALLACE                               117 WATERVIEW LN                                                                               DAGSBORO         DE    19939‐9600
CHARLOTTE J WALLACE & NORMAN H WALLACE JT TEN     117 WATERVIEW LN                                                                               DAGSBORO         DE    19939‐9600

CHARLOTTE JEAN DENOMY                             1006 N YAKIMA AVE                     UNIT 5                                                   TACOMA           WA    98403‐2538
CHARLOTTE JO ANN WILSON                           1202 COTTAGE ST SW                                                                             VIENNA           VA    22180‐6704
CHARLOTTE JONES                                   10030 LYNNWOOD DR                                                                              BAYTOWN          TX    77521‐4092
CHARLOTTE JONES                                   2674 FRY ROAD                                                                                  JAMESTOWN        PA    16134‐3520
CHARLOTTE K BLAND                                 PO BOX 1096                                                                                    ACWORTH          GA    30101‐8996
CHARLOTTE K BODULICH                              1361 E BOOT RD                                                                                 WEST CHESTER     PA    19380
CHARLOTTE K BRENT & MICHAEL A BRENT JR JT TEN     3276 FRIEND DR                                                                                 FLINT            MI    48507‐3260

CHARLOTTE K DUDKEWITZ                             1777 APPLETON RD                                                                               ELKTON           MD    21921‐2916
CHARLOTTE K HAGGIS                                143 LEDGEWOOD DR                                                                               GLASTONBURY      CT    06033‐4126
CHARLOTTE K HIMES                                 104 W SULLENBERGER AVE                                                                         MALVERN          AR    72104‐5140
CHARLOTTE K RICHE                                 40164 PELICAN POINT PARKWAY                                                                    GONZALES         LA    70737
CHARLOTTE KARSCH                                  85‐48 214TH ST                                                                                 QUEENS VILLAGE   NY    11427‐1345
CHARLOTTE KAY SMITH                               8610 COATS RD                                                                                  SPRINGPORT       MI    49284‐9309
CHARLOTTE KAYE TAYLOR                             4846 BEECHMONT DR                                                                              ANDERSON         IN    46012‐9541
CHARLOTTE KERR                                    117 W BLVD N                                                                                   COLUMBIA         MO    65203‐2659
CHARLOTTE KULOVANY                                168 BEACH 97 ST                                                                                ROCKAWAY BEACH   NY    11693‐1309

CHARLOTTE L BELL                                  1193 MORRIS HILL PARKWAY                                                                       MT MORRIS        MI    48458‐2581
CHARLOTTE L CONLEY                                RR 4 BOX 267C1                                                                                 MONTICELLO       KY    42633‐9435
CHARLOTTE L FREEMAN                               918 VIRGINIA LN                                                                                ESCONDIDO        CA    92027‐1759
CHARLOTTE L HENDRIX                               2929 EPPINGTON SOUTH DR                                                                        FORT MILL        SC    29715‐6949
CHARLOTTE L HOFFMAN                               2 LOCUST DR                                                                                    LEBANON          NJ    08833‐2100
CHARLOTTE L KUSCHEL                               8123 S BARNUM RD                                                                               BELOIT           WI    53511‐8414
CHARLOTTE L LAWSON                                PO BOX 32005                                                                                   P C BEACH        FL    32407‐8005
CHARLOTTE L MALONEY TR CHARLOTTE L MALONEY        421 WILLAMETTE LANE                                                                            CLAREMONT        CA    91711‐2745
TRUST UA 02/15/96
CHARLOTTE L MUMMA                                 1199 GREENVILLE RD                                                                             BRISTOLVILLE     OH    44402‐9714
CHARLOTTE L RANDOLPH                              17330 PINEHURST                                                                                DETROIT          MI    48221‐2313
CHARLOTTE L SHUTTLEWORTH                          9911 PIPPIN ST                                                                                 OAKLAND          CA    94603‐2315
CHARLOTTE L WHITE                                 18 CHATHAM CIR                                                                                 WELLESLEY        MA    02481‐2805
CHARLOTTE LAKE & HERBERT J LAKE JT TEN            16580 SCHMALLERS RD                                                                            ATLANTA          MI    49709‐8974
CHARLOTTE LERCH                                   PO BOX 2128                                                                                    OCEAN BLUFF      MA    02065‐2128
CHARLOTTE LEVEY                                   32 SEAWARD ROAD                                                                                WELLESLEY        MA    02481‐7511
CHARLOTTE LIGHTNER DUNCAN                         3279 RILEY CREEK RD                                                                            NORMANDY         TN    37360‐3027
CHARLOTTE LOPER                                   2005 STONEYBROOK COURT                                                                         FLINT            MI    48507‐2238
CHARLOTTE LOVE                                    245 INDIAN CREEK ROAD                                                                          WYNNEWOOD        PA    19096‐3405
CHARLOTTE LUCAS                                   82 LOCUST AVE                                                                                  MILLBURN         NJ    07041‐1524
CHARLOTTE M ALLEN                                 C/O SHIRLEY J PROCTOR                 FREDERICK A PROCTOR   355 3RD ST                         ROMEO            MI    48065‐4805
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 747 of 850
Name                                            Address1                               Address2                    Address3   Address4          City              State Zip

CHARLOTTE M AMPULSKI & JOHN J AMPULSKI JT TEN   2497 WALKER WOODS CT NW                                                                         GRAND RAPIDS      MI    49544‐1489

CHARLOTTE M BEHNE                               ATTN CHARLOTTE M VASARAB               874 E MEMORIAL DR                                        JANESVILLE        WI    53545‐1771
CHARLOTTE M BLACK TR CHARLOTTE M BLACK LIVING   5266 E ARTHUR ST                                                                                INVERNESS         FL    34452‐7309
TRUST UA 03/15/05
CHARLOTTE M BOWMAN                              511 E CHERRY ST                                                                                 PALMYRA           PA    17078‐2631
CHARLOTTE M CARROW PERS REP EST HAROLD J        407 FLOWERDALE ST                                                                               FERNDALE          MI    48220
CARROW
CHARLOTTE M CLAPPER                             C/O MICHAEL A CLAPPER                  1293 DARLINGTON EAST ROAD                                BELLVILLE         OH    44813
CHARLOTTE M COOKSEY                             805 OLD DOBBIN RD                                                                               LEXINGTON         KY    40502‐2853
CHARLOTTE M DIENER                              1069 RIVER HILL DRIVE                                                                           FLINT             MI    48532‐2870
CHARLOTTE M DUMAIS                              129 15TH AVENUE                                                                                 NORTH             NY    14120‐3203
                                                                                                                                                TONAWANDA
CHARLOTTE M EITEL                               6 YOLANDA DR                                                                                    LITTLE FALLS      NJ    07424‐1442
CHARLOTTE M FABIAN                              306 W 6TH ST                                                                                    LAPEL             IN    46051‐9506
CHARLOTTE M FEICHT                              209 NORMAN RD                                                                                   ROCHESTER         NY    14623‐1155
CHARLOTTE M GIBBS TR CHARLOTTE M GIBBS TRUST UA 240 KALHAVEN                                                                                    ROCHESTER HILLS   MI    48307‐3842
5/04/00
CHARLOTTE M HARRISON                            505 CLUBHOUSE RD                                                                                VESTAL            NY    13850‐3737
CHARLOTTE M HILKE                               10019 RIVERSIDE N W                                                                             ALBUQUERQUE       NM    87114
CHARLOTTE M HUMMEL                              42 QUINCY ST                           #2                                                       ALBANY            NY    12205‐3447
CHARLOTTE M HYER                                2616 W 38TH ST                                                                                  LORAIN            OH    44053
CHARLOTTE M J BARCEY                            1583 N LINCOLN AVE                                                                              SALEM             OH    44460‐1338
CHARLOTTE M LADUKE TR CHARLOTTE M LADUKE FAM 3079 LAKESHORE DR                                                                                  GLADWIN           MI    48624‐7814
TRUST UA 10/03/94
CHARLOTTE M MACK TR CHARLOTTE M MACK            1433 OLYMPIC DRIVE                                                                              WATERLOO          IA    50701‐4640
REVOCABLE TRUSTUA 03/06/00
CHARLOTTE M MARTIN TR REVOCABLE TRUST 09/13/83 3701 INTERNATIONAL DRIVE                APT 526                                                  SILVER SPRING     MD    20906‐1595
U‐A CHARLOTTE M MARTIN
CHARLOTTE M MCCORD                              PO BOX 158                                                                                      DALEVILLE         IN    47334‐0158
CHARLOTTE M POPPITT & RICHARD J POPPITT JT TEN  2401 PENNSYLVANIA AVE APT 407                                                                   WILMINGTON        DE    19806‐1405

CHARLOTTE M POWELL                            4 CIRCLE DRIVE                                                                                    WILMINGTON        DE    19804‐2926
CHARLOTTE M SCHLAEGER                         11440 E COLDWATER RD                                                                              DAVISON           MI    48423‐8590
CHARLOTTE M STEBBINS                          3799 HALF MOON LAKE DRIVE                                                                         HARRISON          MI    48625‐8840
CHARLOTTE M STRONG                            5454 LINDEN ROAD                                                                                  SWARTZ CREEK      MI    48473‐8275
CHARLOTTE M TRENKLER & RAYMOND J TRENKLER JT  25 HOLIDAY RD                                                                                     ROCHESTER         NY    14623
TEN
CHARLOTTE M WEAVER                            300 GLEN OAK DR                                                                                   GOLDSBORO         NC    27534‐1708
CHARLOTTE MARI                                3 GOLF LN                                                                                         SUCCASUNNA        NJ    07876‐2013
CHARLOTTE MARIE MURPHY                        31437 FAIRCHILD                                                                                   WESTLAND          MI    48186‐4907
CHARLOTTE MARY LERCHENMULLER                  2631 IVANHOE DR                                                                                   LA                CA    90039‐2602
CHARLOTTE MARY TOULOUSE                       1712 MORINGRISE PL SE                                                                             ALBUQUERQUE       NM    87108‐4417
CHARLOTTE MAY DUNCAN                          22002 PANAMA AVE                                                                                  WARREN            MI    48091‐5278
CHARLOTTE MC PECK                             7165 PRESTONBURG DR SW                                                                            GRAND RAPIDS      MI    49548‐7166
CHARLOTTE MCKNIGHT                            715 N NEWBURG RD                                                                                  WESTLAND          MI    48185‐3219
CHARLOTTE MCPHAIL                             2860 W LENTZ TREEFARM RD                                                                          MONROVIA          IN    46157‐9012
CHARLOTTE MILLER                              5227 INCA DR                                                                                      RICHFIELD         OH    44286‐9615
CHARLOTTE MOORE                               828 BURLINGAME                                                                                    DETROIT           MI    48202‐1007
CHARLOTTE MORLEY TAYLOR                       4206 JUNIATA ST                                                                                   ST LOUIS          MO    63116‐1908
CHARLOTTE MUESEGAES                           2299 MIDWAY BLVD                                                                                  LANCASTER         OH    43130‐1114
CHARLOTTE N BARNARD                           36 GREENVIEW LANE                                                                                 HAVERTOWN         PA    19083‐4313
CHARLOTTE NORTH CUST CHAD ALLEN NORTH UTMA OH 5333 N ALCONY CONOVER RD                                                                          CONOVER           OH    45317‐9745

CHARLOTTE O BULFORD                             3911 BRUCE DR S E                                                                               WARREN            OH    44484‐2717
CHARLOTTE PAGE                                  ATTN CHARLOTTE H HERBERT               109 LAWSON BAR ROAD                                      MYRTLE CREEK      OR    97457‐9313
CHARLOTTE PRASOL                                12400 PARK BLVD                        #126                                                     SEMINOLE          FL    33772‐4546
CHARLOTTE R COCHRANE                            4819 INDIAN HILLS RD SE                                                                         DECATUR           AL    35603‐5207
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 748 of 850
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

CHARLOTTE R HELFAND TR UA 02/05/88 CHARLOTTE R PO BOX 324                                                                                      LEEDS           MA    01053‐0324
HELFAND TRUST
CHARLOTTE R KAPILOFF TR CHARLOTTE R KAPILOFF   48 RIDGEWOOD AVE                                                                                KEENE           NH    03431‐2871
TRUST UA 02/27/98
CHARLOTTE R KIDDER                             8570 WOODFORD WAY                                                                               RIVERSIDE       CA    92504‐2956
CHARLOTTE R MAZUR & CHRISTOPHER M MAZUR JT TEN 713 PASADENA AVE                                                                                NIAGARA FALLS   NY    14304‐3541

CHARLOTTE R MULINARO                            7355 LAKESIDE DRIVE                                                                            INDIANAPOLIS     IN   46278‐1618
CHARLOTTE R NEWTON                              3175 ROLAND DR                                                                                 NEWFANE          NY   14108‐9720
CHARLOTTE R NEWTON                              3175 ROWLAND DR                                                                                NEWFANE          NY   14108
CHARLOTTE R PINKSTON                            25326 WESSEX ST                                                                                FARMINGTON HILLS MI   48336‐1459

CHARLOTTE R RATLIFF                              RR 2 BOX 9388 E 725                                                                           GERMANTOWN      OH    45327‐9802
CHARLOTTE R STAFFORD & CHESTER T STAFFORD JT TEN 15102 STATE HIGHWAY 180                                                                       GULF SHORES     AL    36542‐8269

CHARLOTTE R STROJNOWSKI                         1325 MOLL STREET                                                                               N TONAWANDA     NY    14120‐2229
CHARLOTTE R WARRENFELTZ                         15 LOCUST BLVD                                                                                 MIDDLETOWN      MD    21769‐7935
CHARLOTTE R WILLIAMS                            1501 WILLOWBROOK DR                                                                            BETHLEHEM       PA    18015‐5659
CHARLOTTE RAHAIM                                52 RIVER RD                           APT 23                                                   SUNDERLAND      MA    01375
CHARLOTTE RODRIGUEZ                             15296 SPINNING WHEEL LANE                                                                      SPRING HILL     FL    34609‐8186
CHARLOTTE S GIBSON & DAVID A GIBSON JT TEN      47 COOLIDGE AVE                                                                                SPENCERPORT     NY    14559‐1809
CHARLOTTE S PALTANI                             425 WOODSIDE DRIVE                                                                             SAGAMORE HLS    OH    44067
CHARLOTTE S PEARSON                             7 STRATFORD ROAD                                                                               WEST HARTFORD   CT    06117‐2839
CHARLOTTE S URBAN                               28 NUNES DRIVE                                                                                 NOVATO          CA    94945
CHARLOTTE S WILLIAMS                            25 SMITH DRIVE                                                                                 FAIRBORN        OH    45324‐3424
CHARLOTTE SHAW CHATFIELD                        25 W MOUNT PLEASANT AVE                                                                        PHILADELPHIA    PA    19119‐2410
CHARLOTTE SHRAGO                                1007 2ND AVE EAST                                                                              OSKALOOSA       IA    52577‐3025
CHARLOTTE SKELLON                               112 HEDLEY ST                                                                                  MEDINA          NY    14103‐1738
CHARLOTTE SPOERING                              188 COUNTY LINE                                                                                DEERFIELD       MI    49238
CHARLOTTE SUBLETTE                              1115 LAUREL HILL RD                                                                            KNOXVILLE       TN    37923‐2051
CHARLOTTE SUTTER                                BOX 854                                                                                        MINIER          IL    61759‐0854
CHARLOTTE T DILUZIO                             212 WASHINGTON AVE                                                                             WILMINGTON      DE    19803‐2353
CHARLOTTE T HENSLEY                             4527 AIRPORT RD                                                                                PINEHURST       NC    28374‐8228
CHARLOTTE T KOVACS & EUGENE G KOVACS JT TEN     18900 SHADY SIDE                                                                               LIVONIA         MI    48152‐3271

CHARLOTTE T MANCINI                             857 LINCOLN AVE                                                                                GIRARD          OH    44420‐1915
CHARLOTTE T NOEL TR CHARLOTTE T NOEL TRUST UA   2408 MUMFORD DRIVE                                                                             SILVER SPRING   MD    20906‐3259
09/07/94
CHARLOTTE T RACZKA                              3229 SANDPOINT DR                                                                              BRIGHTON        MI    48114‐7500
CHARLOTTE TAYLOR BUCK                           405 CAMINO MOJADO                                                                              SIERRA VISTA    AZ    85635‐3137
CHARLOTTE TSOU CTDN CUST FELICIA Y WANG UTMA CA 2185 BRAMBLING LN                                                                              PASADENA        CA    91107‐1057

CHARLOTTE TWITCHELL                            836 KNIGHTS COURT                                                                               LIVINGSTON      CA    95334‐9347
CHARLOTTE V ERNST                              543 GREEN HEAD CIRCLE                                                                           BRANDON         MS    39047‐7000
CHARLOTTE V GOODWIN                            3614 LORTON AVENUE                                                                              NORTH PORT      FL    34286‐8006
CHARLOTTE V SANDERS PERS REP EST RYNDAL L      2225 FOREST DR                                                                                  CAMDEN          SC    29020‐2027
SANDERS
CHARLOTTE W ARTHUR                             24 S PARK DR                                                                                    ANDERSON        IN    46011‐1748
CHARLOTTE W CAMERON                            2710 BRYANT RD                                                                                  HIXSON          TN    37343‐4016
CHARLOTTE W GRIMES                             1542 S ARLINGTON                                                                                INDIANAPOLIS    IN    46203‐2611
CHARLOTTE W MERRILL                            PO BOX 190                                                                                      QUECHEE         VT    05059‐0190
CHARLOTTE W NEWBERRY                           93 GLENALBY RD                                                                                  TONAWANDA       NY    14150‐7517
CHARLOTTE W OLKER TR CHARLOTTE W OLKER         470 BROOKSIDE RD                                                                                BARRINGTON      IL    60010‐2167
DECLARATION OF TRUST UA 2/2/80
CHARLOTTE W WAGNER                             2 GHIBERTI                                                                                      IRVINE          CA    92606‐8870
CHARLOTTE W WALL                               206 PACE ST                                                                                     SMITHFIELD      NC    27577‐3218
CHARLOTTE WALTERS                              2419 RANDOLPH RD                                                                                JANESVILLE      WI    53545‐0961
CHARLOTTE WELDY TR UA 06/03/08 CHARLOTTE WELDY 7926 E CRESTWOOD WAY                                                                            SCOTTSDALE      AZ    85250
REVOCABLE TRUST
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 749 of 850
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

CHARLOTTE WESP                                 10 SAN FRANTELLO CT                                                                             MANALAPAN         NJ    07726
CHARLOTTE WIKLE HUFFER                         1300 W 53RD ST                                                                                  ANDERSON          IN    46013‐1309
CHARLOTTE WILA COHN                            C/O 3109 W 50TH ST                     BOX 298                                                  MINNEAPOLIS       MN    55410
CHARLOTTE Y BURNETT POA JOHN L HILLMAN         5959 SIMONE DR                                                                                  STONE MOUNTAIN    GA    30087‐5138

CHARLOTTE Z OSBORNE                            633 LEWISHAM AVE                                                                                DAYTON            OH    45429‐5944
CHARLOTTESVILLE ASSOCIATION FOR RETARDED       THE ARC OF CHARLOTTEVILLE              509 PARK ST                                              CHARLOTTESVILLE   VA    22902‐4739
CHILDREN INC
CHARLSA J FRANZ                                PO BOX 2262                                                                                     BURLESON          TX    76097‐2262
CHARLTON FLOOD JR                              PO BOX 8201                                                                                     SUFFOLK           VA    23438‐0201
CHARLTON H GEKLER                              429 N WILEY ST                                                                                  CRESTLINE         OH    44827‐1359
CHARLYN E BOTTERI                              2398 RED APPLE DR                                                                               BEAVERCREEK       OH    45431‐2652
CHARLYNE GARY & EDGAR L GARY JT TEN            6006 GENTLE KNOLL                                                                               DALLAS            TX    75248‐2123
CHARLYNE K MC CUTCHEON                         155 WILLOW LAKE DR                                                                              OXFORD            MI    48371‐6376
CHARLYNE M TRUSTY                              806 PLEASANT ST                                                                                 CHARLOTTE         MI    48813‐2210
CHARLYNE M TRUSTY & KENNETH L TRUSTY JT TEN    806 PLEASANT ST                                                                                 CHARLOTTE         MI    48813‐2210
CHARLYNN M HARRIS & JOHN C HARRIS JT TEN       4084 CAGNEY LANE                                                                                HOWELL            MI    48843
CHARLYNN M MIDOCK                              4045 N LINDEN RD                                                                                FLINT             MI    48504‐1351
CHARMA J HAMILTON                              182 TIMMERMAN ROAD                                                                              MANSFIELD         OH    44903‐8976
CHARMA LEE GREEN                               12247 JUG ST                                                                                    JOHNSTOWN         OH    43031‐9552
CHARMAGNE TOWER                                683 VICKERY ST EXT                                                                              HARTWELL          GA    30643‐4077
CHARMAIN D MALTESE                             11919 SHAWNEE POINTE                                                                            UTICA             MI    48315‐1165
CHARMAIN M HOOVER                              11464 BERKSHIRE DR                                                                              CLIO              MI    48420‐1783
CHARMAINE A SAVASTEN                           220 OLD MARKET STREET                                                                           ST MARTINVLLE     LA    70582
CHARMAINE ABRAM CUST TRACY LEE ABRAM UGMA NJ   BOX 757                                                                                         NORMANDY BEACH    NJ    08739‐0757

CHARMAINE K BUGADO                             8 PAIPAI STREET                                                                                 HILO              HI    96720‐5217
CHARMAINE MARIE NEUROHR                        3245 LA LONDE ROAD                                                                              CHEBOYGAN         MI    49721‐8600
CHARMAINE T KAPTUR                             685 BEDFORD LANE                                                                                GROSSE POINTE     MI    48230‐1801
                                                                                                                                               PARK
CHARMAINE V ROGERS                             483 CARLOTTA DRIVE                                                                              YOUNGSTOWN        OH    44504‐1319
CHARMANE BUSSIE                                585 ARDEN PARK BLVD                                                                             DETROIT           MI    48202‐1303
CHARMANE D ADAMS                               5210 14TH ST W LOT 8                                                                            BRADENTON         FL    34207‐2872
CHARMANE SMITH                                 1000 WEBSTER STREET                                                                             FARRELL           PA    16121‐1230
CHARMAYNE E MC CAFFERY                         213 FOX LANE                           MOUNT HOPE                                               MIDDLETOWN        DE    19709‐9200
CHARMENE BODENHORN                             PO BOX 252                                                                                      LAPEL             IN    46051
CHAROLLET H MIXTER                             723 KINGS HIGHWAY                                                                               LINCOLN PARK      MI    48146‐4612
CHARRICE Y MILLER                              501 W 24TH PL                          APT 404                                                  CHICAGO           IL    60616‐1836
CHARU S DESAI & SURESH C DESAI JT TEN          28‐78 208 ST                                                                                    BAYSIDE           NY    11360‐2421
CHARVEL R VAUGHN                               29200 JOAN                                                                                      ROMLUS            MI    48174‐4231
CHARVEL R VAUGHN & ALICE L VAUGHN JT TEN       29200 JOAN                                                                                      ROMLUS            MI    48174‐4231
CHARYL L KERNS                                 8 FEDERAL LANE                                                                                  NEWTOWN           PA    18940‐2009
CHAS B TROXELL                                 PO BOX 94                                                                                       MIDDLETOWN        IN    47356‐0094
CHAS CHRISTOPHER BROCK                         3521 EUGENE PL                                                                                  SAN DIEGO         CA    92116‐1930
CHAS J MORAN                                   801 SOUTH EAST ST                                                                               FENTON            MI    48430‐2969
CHAS RUTLEDGE & MARY LOU RUTLEDGE JT TEN       8 BROOKHAVEN DR                                                                                 LUCAS             TX    75002‐7224
CHASE BANK CUST FBO GUY CORSETTI IRA           15834 NICOLAI AVE                                                                               EASTPOINTE        MI    48021
CHASE CUST FBO B F JONES IRA                   17393 GRANDVILLE                                                                                DETROIT           MI    48219
CHASE CUST FBO KARL VOGLRIEDER IRA             14471 TOWERING OAKS DR                                                                          UTICA             MI    48315
CHASE CUST FBO RICHARD NEFF JR IRA             7344 JAMAICA RD                                                                                 MIAMISBURG        OH    45342
CHASE D BARTON                                 101 NORTHERN PL                                                                                 MT HOPE           WV    25880
CHASE H NAGLE JR                               1703 FIELDSTONE CIR                                                                             HELENA            AL    35080‐3552
CHASE INVESTMENT CUST FBO JAMES HUGHES IRA     4505 MITCHELL BEND                     POB 1                                                    HADLEY            MI    48440‐0135

CHASE INVESTMENT CUST JEROME WESLEY IRA        3305 PALMER DR                                                                                  JANESVILLE        WI    53546
CHASE INVESTMENT SVCS CORP CUST FBO THOMAS     2541 56TH ST SW                                                                                 WYOMING           MI    49509
THOMPSON
CHASE PHILPOTTS                                2081 DENNIS LANE                                                                                BETHLEHEM         PA    18015‐5502
CHAT A PIERCE JR                               57 ONE MAIN PL                                                                                  BENBROOK          TX    76126‐2206
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                      Part 1 of 8 Pg 750 of 850
Name                                             Address1                              Address2             Address3                  Address4             City            State Zip

CHATHAPURAM S RAMANATHAN                         29220 WESTBROOK PKWY                                                                                      SOUTHFIELD      MI    48076‐5071
CHATMAN C JOHNSON                                201 BLUE JAY LANE                                                                                         MOUNT HOLLY     NJ    08060‐1012
CHAU RONG YANG                                   2009 WEST WHEELER                                                                                         ARANSAS PASS    TX    78336‐4739
CHAU T NGUYEN                                    2646 WALMAR DRIVE                                                                                         LANSING         MI    48917‐5110
CHAUNCEY B WELLS                                 119 STAFFORD DR                                                                                           CLINTON         MS    39056‐9330
CHAUNCEY BARRETT BOONE                           601 E HODGES                                                                                              PALESTINE       TX    75801‐7727
CHAUNCEY C CHU                                   43 DEERHAVEN ROAD                                                                                         LINCOLN         MA    01773‐1809
CHAUNCEY DOTHARD                                 962 MARTIN LUTHER KING JR BLVD                                                                            YOUNGSTOWN      OH    44510‐1622
CHAUNCY WILLIS                                   6911 DUPONT AVE                                                                                           FLINT           MI    48505‐2070
CHAUTAUQUA COUNTY VORTURE 446 40 ET8             C/O THOMAS D WHITE                    5354 ELLICOTT RD                                                    BROCTON         NY    14716
CHAVIS RANDALL COLWELL                           1780 GEPHART RD                                                                                           HAMILTON        OH    45011‐9601
CHAWALIT T GAWJARONE                             505 SILOAM RD                                                                                             GLASGOW         KY    42141
CHAWKI K BAZZI                                   3126 LINDENWOOD DRIVE                                                                                     DEARBORN        MI    48120‐1314
CHAYA VITA ZEILER ATTN FLOCKTEX INDUSTRIES LTD   INDUSTRIAL ZONE KIRYAT MALACHI                                                       70900 ISRAEL

CHEARY BINDER                                    3502 APEX COURT                                                                                           BAKERSFIELD     CA    93312‐6523
CHEARYLEEN WILSON‐SABIN                          129 ROOD AVE                                                                                              WINDSOR         CT    06095
CHEDDI R SARGEANT                                2 IRIS LN                                                                                                 S BURLINGTON    VT    05403‐7513
CHEE CHENG HOO                                   215 CARMEL STREET                                                                                         SAN PABLO       CA    94806‐5007
CHEE M CHEONG                                    C/O PERPETUAL TRUSTEE CO LTD          ATNN BELINDA CADDY   LEVEL 28 360 COLLINS ST   MELBOURNE VIC 3000
                                                                                                                                      AUSTRALIA
CHEIKO KONDO                                     4961 S CENTINELA AVE                                                                                      LOS ANGELES     CA    90066‐6862
CHELL K HOCH                                     35 CATHEDRAL DR                                                                                           BUFFALO         NY    14224‐2219
CHELLIS L GRAHAM                                 28969 W CHICAGO RD                                                                                        LIVONIA         MI    48150‐3189
CHELSEA E PALERMO                                1151 SW 12TH AVE                                                                                          BOCA RATON      FL    33486‐5436
CHELSEA M CORNELIOUS                             4247 PLATT AV                                                                                             LYNWOOD         CA    90262‐3820
CHELSEA METHODIST CHURCH                                                                                                                                   CHELSEA         NY    12512
CHELSEY C SANTUCCI                               26 S BENTLEY AVE                                                                                          NILES           OH    44446‐3065
CHEN CHOU NI & MRS LOUISA YANG‐NI JT TEN         1530 PATHFINDER LANE                                                                                      MC LEAN         VA    22101‐3508
CHEN LUNG CUST GERALD LUNG UGMA CA               1014 S RIDGELEY DR                                                                                        LOS ANGELES     CA    90019‐2509
CHEN YING YU CUST IRMA YU LIANG A MINOR UNDER    20 BROOKWOOD DR                                                                                           WAYNE           NJ    07470‐4249
THE LAWS OF RHODE ISLAND
CHEN YING YU CUST RAYMOND YU LIANG A MINOR       20 BROOKWOOD DR                                                                                           WAYNE           NJ    07470‐4249
U/THE LAWS OF RHODE ISLAND
CHENG C KU                                       66 COOPER WOODS                                                                                           PITTSFORD       NY    14534‐2962
CHENG SHUNG FU                                   30 TROYVIEW LN                                                                                            WILLIAMSVILLE   NY    14221‐3522
CHENG‐FU KAO                                     1048 ILLINOIS RD                                                                                          WILMETTE        IL    60091‐1308
CHENG‐YIN CHENG & MRS HUI‐TZU L CHENG JT TEN     400 QUENTIN RD                                                                                            STROUDSBURG     PA    18360‐3008

CHENITA A MORRIS                                 6106 N JENNINGS RD                                                                                        MT MORRIS       MI    48458‐9439
CHER L CHEN                                      5766 ROYALWOOD CT                                                                                         WEST BLOOMFIELD MI    48322‐2070

CHERI A LIDDELL                               ATTN C A VAN                             7595 EAST U AVE                                                     VICKSBURG       MI    49097‐9310
CHERI A MATHESON CUST DANETTE L MATHESON UTMA CMR 480 BOX 1097                                                                                             APO             AE    09128
AL
CHERI A OLNEY                                 6150 ELRO ST                                                                                                 BURTON          MI    48509‐2440
CHERI B GREGORY                               2816 MAPLEWOOD AVE                                                                                           ROYAL OAK       MI    48073‐3121
CHERI BARTOW & JIM BARTOW JT TEN              1956 GAMBELS WAY                                                                                             SANTA ROSA      CA    95403‐8951
CHERI D HOOD                                  3814 MONICA COURT                                                                                            INDIANAPOLIS    IN    46226‐5511
CHERI DANIELS & RODNEY DANIELS JT TEN         3800 N MONTEZUMA AVE                                                                                         RIMROCK         AZ    86335‐5646
CHERI K PUIG & TERRY L PUIG JT TEN            PO BOX 448                                                                                                   MONTE RIO       CA    95462‐0448
CHERI L FERGUSON                              21107 JADE BLUFF LANE                                                                                        KATY            TX    77450‐6155
CHERI L HAWKINS                               1665 CONNELL ROAD                                                                                            ORTONVILLE      MI    48462‐9767
CHERI LISKO                                   1119‐1 SOUTHAMPTON DR                                                                                        PORT ORANGE     FL    32129
CHERI LYNN FERGUSON                           9300 LITTLE SALT RD                                                                                          WAVERLY         NE    68462‐9567
CHERI LYNN MATHESON CUST DANEEN LEE MATHESON CMR 480 BOX 1097                                                                                              APO             AE    09128
UTMA CA
CHERI MACK                                    PO BOX 1906                                                                                                  IDYLLWILD       CA    92549‐1906
CHERI R PEDLEY                                1413 ROOT STREET                                                                                             FLINT           MI    48503‐1556
                                           09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 751 of 850
Name                                             Address1                              Address2               Address3        Address4          City            State Zip

CHERI SHARPE                                     1404 WOODSIDE PARKWAY                                                                          SILVER SPRING   MD    20910‐1553
CHERIE A VAN                                     ATTN M BLACK                          7595 EAST U AVE                                          VICKSBURG       MI    49097‐9310
CHERIE AMET ROUSE & JULIANNE ROUSE MCREYNOLDS    3305 WEST 97TH PLACE                                                                           SHAWNEE MISSION KS    66206‐2227
JT TEN
CHERIE CONLON & MARILYN OGRIN JT TEN             145 SHARA DR                                                                                   WEST MIFFLIN    PA    15122‐1059
CHERIE DEMCHUK                                   3741 PURCELL PLACE                                                                             COEUR D ALENE   ID    83814
CHERIE FARREL SMITH                              121 PASSAGE IS                                                                                 VERO BEACH      FL    32963‐4292
CHERIE J MORRIS                                  5638 E 98TH STREET                                                                             TULSA           OK    74137‐4924
CHERIE KEBA CUST NICHOLAS KEBA UTMA PA           1046 POWER AVE                                                                                 BENSALEM        PA    19020
CHERIE L STEVENS                                 29959 KRATKA RIDGE                                                                             SUN CITY        CA    92586‐4406
CHERIE LYNN HOWLETT                              75 ATTERBURY BLVD                     APT 205                                                  HUDSON          OH    44236‐2840
CHERIE MARIE PISK                                3159 WEST 50TH ST                                                                              CLEVELAND       OH    44102‐5835
CHERIE MARTIN SMITH                              853 DULCE TIERRA DR                                                                            EL PASO         TX    79912‐2642
CHERIE OSTRANDER & RICHARD OSTRANDER JT TEN      4802 S JOHNSON RD                                                                              GOWEN           MI    49326‐9601

CHERIE RENNE SCHREIER                            28136 BOBWHITE CIRCLE 54                                                                       SAUGUS          CA    91350‐4426
CHERIE SCUDDER                                   ELDERBERRY ACRES                                                                               E BETHANY       NY    14054
CHERIE V MURILLO & SABAS MURILLO JT TEN          3200 TURTLEMOUND ROAD                                                                          MELBOURNE       FL    32934‐8457
CHERILL HYDE JOHNSON                             24 EAST 4800 SO                                                                                PRESTON         ID    83263‐5609
CHERILYN BEITZ                                   242 ALBEMARLE ST                                                                               ROCHESTER       NY    14613‐1406
CHERILYN GRIGSBY                                 2808 SPRING MEADOW CIRCLE                                                                      YOUNGSTOWN      OH    44515‐4959
CHERILYN SUE CAVERLEY                            11610 13MILE RD                                                                                ROCKFORD        MI    49341
CHERISE MICHELLE LATHAN                          33 LE CONTE                                                                                    LAGUNA NIGUEL   CA    92677‐5434
CHERL L BIGGS CUST ERIK ANDERSON BIGGS UGMA MO   727 SIMMONS AVE                                                                                KIRKWOOD        MO    63122‐2751

CHERLY D WILLIS                                  28363 DEPLANCHE LN                                                                             INKSTER         MI    48141
CHERLYN D MITCHELL                               1038 W COLUMBIA RD                                                                             MASON           MI    48854‐9689
CHERLYN D MITCHELL & WAYNE CARLTON MITCHELL JT   1038 W COLUMBIA RD                                                                             MASON           MI    48854‐9689
TEN
CHERN P CHEN & MANDY CHEN JT TEN                 1643 BRIAR ROSE                                                                                COSTA MASA      CA    92626‐8004
CHERRAN E DANIELS                                330 AMON TER                                                                                   LINDEN          NJ    07036‐6202
CHERRELL TIER                                    4670 W CLENDENING RD                                                                           GLADWIN         MI    48624‐9658
CHERRI CHATTMAN                                  673 LA SALLE DR                                                                                DAYTON          OH    45417‐3558
CHERRIE L EVANS                                  4931 EBENSBURG DR                                                                              TAMPA           FL    33647‐1383
CHERRIE WILLSON ARRINGTON                        2103 HARVELL ST                                                                                ASHEBORO        NC    27203‐7264
CHERRIE Z MORAN                                  4030 RIBLETT RD                                                                                AUSTINTOWN      OH    44515‐1334
CHERRILL A CARROLL                               C/O CHERRILL CASEY                    7922 BENDEMEER DRIVE                                     POLAND          OH    44514‐2730
CHERRY ANN HATHAWAY BERTLES                      14216 ACORN RIDGE DRIVE                                                                        ORLANDO         FL    32828‐6122
CHERRY CHIN JAYNE                                1380 CORBIN AVE                                                                                NEW BRITAIN     CT    06053‐3844
CHERRY FRY                                       BOX 425                                                                                        BUDA            TX    78610
CHERRY HOPSON                                    PO BOX 6                                                                                       WELLS           VT    05774‐0006
CHERRY K SANDERS                                 5914 LESLIE DRIVE                                                                              FLINT           MI    48504‐5004
CHERRYL M CZECHOWSKI                             7900 MICHAEL RD                                                                                ORCHARD PARK    NY    14127
CHERRYL P MARLOW                                 7757 POPLAR SPRINGS DR                                                                         MERIDIAN        MS    39305‐8914
CHERUBINO J ROSSI                                52 PRINCETON DRIVE                                                                             DELRAN          NJ    08075‐1620
CHERYAL A HURLEY                                 C/O CHERYAL A H BLUM                  2185 FERRY RD                                            BELLBROOK       OH    45305‐9728
CHERYAL A WHIPPLE                                6406 CREEK RD                                                                                  WILDWOOD        GA    30757‐3827
CHERYL A ALEXANDER                               286 PELICAN N DR 286                                                                           OLDSMAR         FL    34677‐2417
CHERYL A ANDREWS                                 3613 RIDGE ROAD                                                                                LOCKPORT        NY    14094‐9777
CHERYL A BAEZ                                    49 LONE OAK CIR                                                                                PENFIELD        NY    14526‐9546
CHERYL A BALLARD                                 2457 GEMINI DRIVE                                                                              LAKE ORION      MI    48360‐1926
CHERYL A BARNETT                                 PO BOX 1543                                                                                    BIRMINGHAM      MI    48012‐1543
CHERYL A BIELEN CUST MATTHEW R BIELEN UTMA VA    5408 GLADE WRIGHT DR                                                                           CENTERVILLE     VA    20120‐3322

CHERYL A BIERKAMP                                14638 ELLEN DRIVE                                                                              LIVONIA         MI    48154‐5147
CHERYL A BRUECKNER                               2340 KUDU PL                                                                                   VENTURA         CA    93003
CHERYL A BRUYERE                                 11391 SHAGBARK TRAIL                                                                           STRONGVILLE     OH    44136‐2865
CHERYL A BUCKLEY                                 4296 SUNBEAM AVE                                                                               BEAVERCREEK     OH    45440‐3362
CHERYL A BUTLER                                  12490 DUNHAM RD                                                                                HARTLAND        MI    48353‐2108
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32         Exhibit E
                                                                                      Part 1 of 8 Pg 752 of 850
Name                                            Address1                               Address2               Address3            Address4          City              State Zip

CHERYL A BUXTON                                 5 PLUMER RD                                                                                         NEWTON            NJ    07860‐4929
CHERYL A CARLESON                               2135 OAKWOOD CT                                                                                     TWIN FALLS        ID    83301‐4957
CHERYL A CHAMBERS                               ATTN MRS CHERYL A WELLS                RR2                    SAINT WILLIAMS ON   N0E 1P0 CANADA
CHERYL A COLLINS & CHARLES W COLLINS JT TEN     PO BOX 190                                                                                          SCHROON LAKE      NY    12870
CHERYL A CONNOLE                                19221 SHERMAN WAY 35                                                                                RESEDA            CA    91335‐3532
CHERYL A COOK                                   16039 GLIDDEN ROAD                                                                                  HOLLEY            NY    14470‐9703
CHERYL A CORBETT & JERRY M CORBETT JT TEN       12279 NW 85TH AVE                                                                                   GRIMES            IA    50111‐8828
CHERYL A CRAGGS                                 46765 EMERALD CREEK                                                                                 SHELBY TOWNSHIP   MI    48315‐5577

CHERYL A CUMMINGS                               212 PHILLIPS PLACE                                                                                  ROYAL OAK         MI    48067‐2733
CHERYL A DAVISSON                               216 MASON                                                                                           ANN ARBOR         MI    48103‐2016
CHERYL A DE LONG                                ATTN CHERYL A GODOY                    1209 E PURDUE AVENUE                                         PHOENIX           AZ    85020‐2242
CHERYL A DEXTER                                 777 FORST ST 178                                                                                    GILROY            CA    95020
CHERYL A ERB                                    21 SOUTH FULTON ST UNIT 3                                                                           MONTAUK           NY    11954‐5258
CHERYL A FREEMAN                                11 SHATTUCK STREET                                                                                  LITTLETON         MA    01460‐1209
CHERYL A GLICK                                  784 RICHMOND DR                                                                                     SICKLERVILLE      NJ    08081‐9450
CHERYL A GROMOLL                                165 STRATFORD CIRCLE                                                                                STOCKBRIDGE       GA    30281‐7136
CHERYL A HANNA                                  PO BOX 96                                                                                           SOUTH ROYALTON    VT    05068‐0096

CHERYL A HERRING                                927 E PINE ST                                                                                       MAHANOY CITY      PA    17948‐2930
CHERYL A HESS                                   2047 EVALINE                                                                                        HAMTRAMCK         MI    48212‐3209
CHERYL A JENSEN                                 5369 PERRY ROAD                                                                                     GRAND BLANC       MI    48439‐1664
CHERYL A JOHNSON                                4411 S 0 EW 64                                                                                      KOKOMO            IN    46902
CHERYL A JOLY                                   1002 CHATEAU DR                                                                                     CONWAY            SC    29526
CHERYL A JONES                                  414 N ST                                                                                            BEDFORD           IN    47421‐2120
CHERYL A KARALIUS                               1093 ODDSTAD BLVD                                                                                   PACIFICA          CA    94044‐3802
CHERYL A KRANZ                                  C/O CHERYL A KENSINGER                 10396 OLD FORGE RD                                           WAYNESBORO        PA    17268‐8805
CHERYL A KRUSE                                  573 RENFREW                                                                                         LAKE ORION        MI    48362
CHERYL A LACY                                   412 KUWE LANE                                                                                       LAPEER            MI    48446‐8751
CHERYL A LEHNERTZ                               14612 HEMINGWAY CT                                                                                  ADDISON           TX    75001‐7970
CHERYL A LOKKEN & LEONARD C LOKKEN JT TEN       7088 QUENTIN RD NE                                                                                  OUTING            MN    56662‐6527
CHERYL A MADEJ‐ZMIJEWSKI                        54930 CHIPPEWA CT                                                                                   SHELBY            MI    48315‐1123
CHERYL A MARTIN                                 126 E FLINT PARK BLVD                                                                               FLINT             MI    48505‐3440
CHERYL A MATHERLY                               1739 S GARY AVE                                                                                     TULSA             OK    74104
CHERYL A MATHEWS                                3970 BRIGHTGOLD LN                                                                                  CANAL WNCHSTR     OH    43110‐8316
CHERYL A MC CLANNAN                             1022 N HALIFAX                                                                                      CLOVIS            CA    93611‐7144
CHERYL A MCKINNEY                               426 DAVIE AVE                                                                                       STATESVILLE       NC    28677
CHERYL A MISKELL                                589 CALIFORNIA AVE                                                                                  SHENANDOAH        PA    17976
CHERYL A MORGAN                                 1330 PARKER ROAD                                                                                    HOLLY             MI    48442‐8638
CHERYL A NEMECEK                                2728 BAKER ST                                                                                       COOLVILLE         OH    45723‐8145
CHERYL A NICOL & MICAHEL R NICOL JT TEN         4978 ARABIAN DR                                                                                     FAIRBORN          OH    45324‐9733
CHERYL A NORMAN                                 13743 RIVERWOOD                                                                                     STERLING HTS      MI    48312‐5663
CHERYL A PALACH                                 C/O CHERYL A BIANCO                    9144 LAKEVIEW DR                                             NEW PORT RICHEY   FL    34654‐3414

CHERYL A PERKINS                                3544 E DIAMONDALE DR                                                                                SAGINAW           MI    48601‐5805
CHERYL A PERRAS                                 PO BOX 686 STATION B                   ATTAWA ON                                  K1P 5P8 CANADA
CHERYL A PIETRUCHA                              279 GORGE RD                           APT 302                                                      CLIFFSIDE PK      NJ    07010‐1304
CHERYL A RAWLS                                  9244 MIDVALE                                                                                        SHREVEPORT        LA    71118‐3442
CHERYL A REDD                                   PO BOX 714                                                                                          INKSTER           MI    48141‐0714
CHERYL A RICHEY                                 13443 SHADY LN                                                                                      CHESTERLAND       OH    44026‐3563
CHERYL A ROAT & DARROL E ROAT JT TEN            6339 SHERIDAN AVE                                                                                   DURAND            MI    48429‐9311
CHERYL A ROGERS & THOMAS M ROGERS JT TEN        1924 MONTCLAIR AVE                                                                                  FLINT             MI    48503‐5335
CHERYL A ROSOLOWSKI & NICOLE M ROSOLOWSKI JT    7220 BIRCH RUN RD                                                                                   BIRCH RUN         MI    48415‐8459
TEN
CHERYL A ROUGE & PETER T PARASHES JT TEN        506 RIGHTER'S MILL RD                                                                               PENN VALLEY       PA    19072‐1425
CHERYL A SALEMME CUST CHRISTOPHER P SALEMME     PO BOX 535                                                                                          WEST WAREHAM      MA    02576‐0535
UTMA MA
CHERYL A SANDERS                                16525 ROSEMONT                                                                                      DETROIT           MI    48219‐4115
CHERYL A SCHUMM                                 821 TRUMBULL DRIVE                                                                                  NILES             OH    44446‐2125
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 753 of 850
Name                                           Address1                              Address2               Address3        Address4          City              State Zip

CHERYL A SEATON                                1759 N CENTRAL DR                                                                              DAYTON            OH    45432‐2058
CHERYL A SHICK                                 8295 MORNING DEW CT SW                                                                         BYRON CENTER      MI    49315‐8105
CHERYL A SHOCK                                 21171 BOWMAN RD                                                                                DEFIANCE          OH    43512‐8989
CHERYL A SIMMONS                               5660 BARBERRY LANE                                                                             SAGINAW           MI    48603‐2669
CHERYL A STANFIELD                             1711 APPLEBROOK DRIVE                                                                          COMMERCE TWP      MI    48382‐1488
CHERYL A STEWARD & MEREDITH D STEWARD JT TEN   200 ACORN ST                                                                                   MARSHFIELD        MA    02050‐3451

CHERYL A SWEEDEN                               ROUTE 1 BOX 51                                                                                 CARNEY            OK    74832‐9729
CHERYL A SZCEPANSKI                            340 REED CREEK RD                                                                              MOORESVILLE       NC    28117‐8046
CHERYL A THOMPSON                              RIVER CROSSING                        8315 RTE 53 B‐9                                          WOODRIDGE         IL    60517‐4402
CHERYL A THURSTON                              930 RTE 11A                                                                                    TULLY             NY    13159‐2411
CHERYL A TORBERT                               2415 KENTON PL                                                                                 TEMPLE HILLS      MD    20748‐6812
CHERYL A TURCOTTE                              PO BOX 907                                                                                     E DOUGLAS         MA    01516‐0907
CHERYL A VANDER WAL                            7424 MAPLE CIR                                                                                 HORACE            ND    58047‐4710
CHERYL A VESTER                                ATTN CHERYL A MARTIN                  23207 ERNEST CT                                          HAYWARD           CA    94541‐3554
CHERYL A WAGNER                                190 NAVY CIRCLE                       MOUNTAIN JULIET                                          MOUNT JULIET      TN    37122
CHERYL A WELLS                                 RR2                                   SAINT WILLIAMS ON                      N0E 1P0 CANADA
CHERYL A WILLIAMS                              8752 NOTTINGHAM DR                                                                             YPSILANTI         MI    48198‐3224
CHERYL A WILLIAMS                              1646 W 76TH ST                                                                                 BALDWIN           MI    49304‐9498
CHERYL A WILSON                                601 RICHARDSON ST                                                                              GREENSBORO        NC    27403‐3038
CHERYL A WOTHKE                                220 OAKWOOD DRIVE                                                                              FLUSHING          MI    48433‐1845
CHERYL A WOZNIAK & THOMAS J WOZNIAK JT TEN     8552 ODOWLING                                                                                  ONSTED            MI    49265‐9486

CHERYL A WYLUCKI & JOHN W WYLUCKI JT TEN       727 EAST ROBINSON STREET                                                                       NORTH             NY    14120‐4701
                                                                                                                                              TONAWANDA
CHERYL A YOURSTON                              277 WILCOX ST                         PO BOX 882                                               WILSON            NY    14172‐0882
CHERYL A ZYROWSKI                              C/O CHERYL MADAY                      5164 QUEEN ANNS LANE                                     BAY CITY          MI    48706
CHERYL ANDERSON REEVES & WILLIAM ANDERSON      1115 GREEN MEADOW DR                                                                           GRAND BLANC       MI    48439‐8903
BRENT JT TEN
CHERYL ANN ALONSO                              18 E STEELE ST                                                                                 ORLANDO           FL    32804‐3923
CHERYL ANN BEST                                3835 BENFIELD DR                                                                               KETTERING         OH    45429
CHERYL ANN BUCKHOLD                            58107 KERR CREEK RD                                                                            THREE RIVERS      MI    49093‐8917
CHERYL ANN DESROCHES                           C/O CHERYL ANN LEVESQUE               42 DANIEL STREET                                         FAIRHAVEN         MA    02719‐4502
CHERYL ANN HUGHES                              PO BOX 27224                                                                                   DETROIT           MI    48227‐0224
CHERYL ANN JACOBS                              225 HALVERSON WAY                                                                              DULUTH            GA    30097‐5911
CHERYL ANN KROEGER                             306 N FOURTH ST                                                                                EFFINGHAM         IL    62401
CHERYL ANN LABELLE                             9221 ST JOHNS PKWY                                                                             NIAGARA FALLS     NY    14304‐5805
CHERYL ANN LADD                                30439 MONARCH CT                                                                               EVERGREEN         CO    80439‐9411
CHERYL ANN NICHOLAS                            175 PENNS GROVE AUBURN RD             APT 410                                                  PENNS GROVE       NJ    08069‐3127
CHERYL ANN NOWAK                               151 GRANT ST UPPER                                                                             DEPEW             NY    14043‐2403
CHERYL ANN QUINN                               30615 SOUTH WOODS DRIVE                                                                        GENOA             IL    60135‐8161
CHERYL ANN REAGAN                              4842 BRIDGE LN                        APT 5                                                    MASON             OH    45040‐7960
CHERYL ANN THOMS                               2375 19TH STREET                                                                               WYANDOTTE         MI    48192
CHERYL ANNE HANSEN ROSENAUER CUST IAN BRYCE    5580 STATE RT H SE                                                                             AGENCY            MO    64401
ROSENAUER UTMA MO
CHERYL ARLINE SPARENBERG                       2919 CHENOAK AVE                                                                               BALTIMORE         MD    21234‐3029
CHERYL ASTERN                                  4702 MARTINIQUE DR                    APT B1                                                   COCONUT CREEK     FL    33066‐1415
CHERYL B BROWN                                 5065 COLUMBIA RD                                                                               COLUMBIA          MD    21044‐1668
CHERYL B EBBERS TOD DAVID R EBBERS             2455 BRAHMS BLVD                                                                               DAYTON            OH    45449‐3327
CHERYL B HAMRICK                               1001 E 4TH                                                                                     MC COOK           NE    69001‐2633
CHERYL B LAKE                                  ATTN CHERYL B BESKI                   6168 WASHBURN                                            GOODRICH          MI    48438‐9735
CHERYL BERGERON                                2206 FILLMORE ST                                                                               JANESVILLE        WI    53546‐3117
CHERYL BLATNER & JAMES F BLATNER JT TEN        4883 KNOTTINGHAM CIR                                                                           EAGAN             MN    55122‐2793
CHERYL BRIDGERS CUST JOHN T BRIDGERS UGMA MA   61 ARMSTRONG CIRCLE                                                                            BRAINTREE         MA    02184‐6820

CHERYL BRUNER                                  5205 CATHEDRAL AVE NW                                                                          WASHINGTON        DC    20016‐2664
CHERYL BUGOSH LAKE                             8165 ST RT 128                                                                                 CLEVES            OH    45002‐9712
CHERYL BUNZEL                                  2 SHERBROOKE ROAD                                                                              SCARSDALE         NY    10583
CHERYL C DECKER                                3667 SLEEPY FOX DR                                                                             ROCHESTER HILLS   MI    48309‐4518
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 754 of 850
Name                                              Address1                             Address2             Address3          Address4          City               State Zip

CHERYL C DUBOSE                                   848 MT ZION RD                                                                                OXFORD             GA    30054‐4022
CHERYL C KRUEGER                                  43 W 731 WILLOW CREEK DRIVE                                                                   ELBURN             IL    60119‐9126
CHERYL C LACOMMARE                                22011 MADISON ST                                                                              ST CLAIR SHORES    MI    48081‐3726
CHERYL C OCONNOR                                  5856 MONONGAHELA AVE                                                                          BETHEL PARK        PA    15102‐2438
CHERYL C SCHOTT                                   3560 RUEFORET                        APT 69                                                   FLINT              MI    48532‐2840
CHERYL CAMPBELL                                   618 DUNLAP ST                                                                                 LANSING            MI    48910‐2835
CHERYL CASEY                                      PO BOX 266                                                                                    PLEASANTVILLE      OH    43148‐0266
CHERYL CHRISTINE OPPERMAN & WALTER M              46750 PECK WADSWORTH RD                                                                       WELLINGTON         OH    44090‐9768
OPPERMAN JT TEN
CHERYL CLARK CUST CHRISTIAN CLARK UTMA GA         1957 WELLS DRIVE                                                                              ATLANTA            GA    30311‐3830
CHERYL CONAWAY OTTO & JEFFREY GORDON OTTO JT      38571 PLAINVIEW                                                                               STERLING HEIGHTS   MI    48312‐1442
TEN
CHERYL CONWAY GRIFFITH                            506 MABLE MASON COVE                                                                          LA VERGNE          TN    37086
CHERYL D BUSWELL‐ROBINSON                         16514 EDINBOROUGH RD                                                                          DETROIT            MI    48219‐4038
CHERYL D COOPER                                   19721 YONKA                                                                                   DETROIT            MI    48234‐1829
CHERYL D CSER                                     26880 CONSTANCE                                                                               DEARBORN HTS       MI    48127‐1011
CHERYL D DAVIS                                    5185 KENDAL CT                                                                                COLUMBUS           GA    31907‐1703
CHERYL D DAVIS & GREGORY A DAVIS JT TEN           5185 KENDAL COURT                                                                             COLUMBUS           GA    31907‐1703
CHERYL D DIDIO                                    2679 VICTORIA PARK DR                                                                         RIVERSIDE          CA    92506‐3341
CHERYL D EVANS                                    3644 N PARK                                                                                   INDIANAPOLIS       IN    46205‐3518
CHERYL D GOODWIN                                  416 DARLENE                                                                                   ARLINGTON          TX    76010‐8505
CHERYL D JOHNSON                                  4209 NORTHCROFT LN                                                                            TOLEDO             OH    43611‐1753
CHERYL D KENDRON                                  216 CHERRY HILL DRIVE                                                                         WADSWORTH          OH    44281‐8733
CHERYL D MC QUAID                                 2405 LIBBIE DR                                                                                LANSING            MI    48917‐4416
CHERYL D NOLIN                                    11517 TOWER RD                                                                                BYRON              MI    48418‐9504
CHERYL D RICCIO                                   12 DEASY DR                                                                                   NEWARK             DE    19702‐2749
CHERYL D SMITH                                    1837 ALSDORF                                                                                  ROCHESTER HILLS    MI    48309‐4224
CHERYL D SPICER                                   BOX 353                                                                                       SWEETSER           IN    46987‐0353
CHERYL D WILKER                                   2801 FARM BROOK TRAIL                                                                         OXFORD             MI    48370‐2311
CHERYL DENISE WILLIAMS                            13983 SUSSEX ST                                                                               DETROIT            MI    48227‐2121
CHERYL DIANNE BRIGGS                              124 HUMBER AVE                                                                                BUFFALO            NY    14215‐3117
CHERYL DILL                                       829 SW 154TH ST                                                                               OKLAHOMA CITY      OK    73170‐7609
CHERYL E DAVIS                                    717 EASTRIDGE PLACE                                                                           BOISE              ID    83712‐7504
CHERYL E MC INTOSH                                3034 NE 178TH                                                                                 SEATTLE            WA    98155‐4025
CHERYL E PETERSON & DONALD L PETERSON JT TEN      45050 HUNTINGCROSS DR                                                                         NOVI               MI    48375‐3938

CHERYL E STRACUZZI                                29 BAKER ST                                                                                   LANESBORO          MA    01237‐9749
CHERYL EHLERT                                     4185 MARLYN                                                                                   SAGINAW            MI    48603‐4128
CHERYL ELKINS & MEL ELKINS JT TEN                 213 CADGEWITH W                                                                               LANSING            MI    48906‐1752
CHERYL EVELEIGH CUST BENJAMIN WEED UTMA NH        5 LONG HILL RD                                                                                STRATHAM           NH    03885‐2274

CHERYL F BALTZ CUST JAMES TIMOTHY BALTZ II UGMA   6709 OWEN HILL RD                                                                             COLLEGE GROVE      TN    37046
TN
CHERYL F DEPAUW CUST CAROLINE M DEPAUW UTMA       1463 WINDSOR LN                                                                               SHAKOPEE           MN    55379‐8069
MN
CHERYL F RAYNE                                    135 WIERIMUS RD                                                                               HILLSDALE          NJ    07642‐1035
CHERYL F SCHERACK                                 1033 BERMUDA DR                                                                               MIAMISBURG         OH    45342‐3235
CHERYL FAYE ROTH WEISS                            2236 BRIGHTON PL                                                                              ARLINGTON          IL    60004‐3348
                                                                                                                                                HEIGHTS
CHERYL FORESTER WEBBER                            1559 OYSTER LANE                                                                              HOLLY              MI    48442‐8363
CHERYL FRESCO CUST YOAB FRESCO UGMA OR            HATZZI 55 APT 30                     BEER SHEVA                             84137 ISRAEL
CHERYL G ALBANESE                                 19905 CORDILL LN                                                                              SPICEWOOD          TX    78669‐6455
CHERYL G EDWARDS                                  5682 DIX DR NE                                                                                BELMONT            MI    49306‐9071
CHERYL G SANDROCK                                 4721 ALMONT DR                                                                                COLUMBUS           OH    43229‐6303
CHERYL G SCOTT                                    126 N ASTOR                                                                                   PONTIAC            MI    48342‐2502
CHERYL G WODOGAZA                                 1132 TAYLOR LN                                                                                MINERAL RIDGE      OH    44440‐9018
CHERYL GREEN                                      397 FRAZIER                                                                                   RIVER ROUGE        MI    48218‐1022
CHERYL GROGAN‐FLYNN                               3390 SANDY SHORE DR                                                                           METAMORA           MI    48455‐8973
CHERYL GUDOWITZ                                   100 KINGS POINT DR                   APT 1012                                                 SUNNY ISL BCH      FL    33160‐4729
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 755 of 850
Name                                            Address1                               Address2             Address3          Address4          City             State Zip

CHERYL H GLENN KNOWLES CUST TERRESA C KNOWLES   3275 WINTERCREEPER DR                                                                           LITHONIA         GA    30038‐2668
UTMA GA
CHERYL H MEYER                                  113 WILLIAM STREET                                                                              UVALDE           TX    78801‐4044
CHERYL H MEYER & JOHN C MEYER JT TEN            113 WILLIAM STREET                                                                              UVALDE           TX    78801‐4044
CHERYL H MOY                                    6520 BEACH SMITH RD                                                                             KINSMAN          OH    44428‐9726
CHERYL H PAUTLER                                918 S FRANKLIN ST                                                                               DENVER           CO    80209‐4507
CHERYL H RUH                                    15 REQUARDT LANE                                                                                FT MITCHELL      KY    41017‐3007
CHERYL H SOLANO                                 15311 PINE ORCHARD DRIVE APT 1K                                                                 SILVER SPRING    MD    20906
CHERYL HARRIS CUST CHRISTOPHER HARRIS UTMA WI   4921 HAHN RD                                                                                    DE FOREST        WI    53532

CHERYL HAWRYLUK                              124 CEDAR CREST CIRCLE                                                                             DAYTONA BEACH    FL    32114
CHERYL HOBERMAN CUST ASHLEY HOBERMAN UTMA IL 4201 W DAVIS                                                                                       SKOKIE           IL    60076‐1601

CHERYL HOWELL WOOD & ROBERT J WOOD JT TEN       26472 HEARTWOOD COVE                                                                            LONG NECK        DE    19966‐5917

CHERYL HUBBELL                                 13714 LOOKOUT CT                                                                                 WILLIS           TX    77378‐7403
CHERYL HURLEY                                  6392 E LAKE RD                                                                                   MILLINGTON       MI    48746‐9233
CHERYL I CAMPBELL & JACK G CAMPBELL JT TEN     512 WARRINGTON                                                                                   DANVILLE         IL    61832‐5444
CHERYL IANNELLO                                7847 E HORIZON VIEW DRIVE                                                                        ANAHEIM          CA    92808
CHERYL J BALDWIN                               ATTN CHERYL J BALDWIN TURPIN            240 CAPOT RD                                             VIRGINIA BEACH   VA    23462‐5926
CHERYL J EDDINS RICHARD P ARNESEN JR           150‐1 VALLEY BROOK LN                                                                            BLOWING ROCK     NC    28605
CHERYL J FOX TOD JOHN P FOX SUBJECT TO STA TOD 6449 MILL CREEK BLVD                                                                             BOARDMAN         OH    44512‐3226
RULES
CHERYL J HUNT                                  7162 WINDBURY LN                                                                                 FLINT            MI    48507‐0511
CHERYL J JOHNSON                               8317 W KEEFE AVE                                                                                 MILWAUKEE        WI    53222‐2956
CHERYL J JONES                                 811 MARY KNOLL RD                                                                                ALEXANDRIA       IN    46001‐8133
CHERYL J KLEPSER                               PO BOX 2086                                                                                      PURCELLVILLE     VA    20134‐2086
CHERYL J MC DANIEL                             6147 CLOVERDALE DR                                                                               GREENTOWN        IN    46936‐9708
CHERYL J MERRILL                               1616 N M 37 HWY                                                                                  HASTINGS         MI    49058‐9583
CHERYL J NORDMANN                              23429 W VAN HORN LANE                                                                            PLAINFIELD       IL    60544‐9078
CHERYL J NORMINGTON                            2868 S HEATHER GARDENS WAY #111                                                                  AURORA           CO    80014‐5631
CHERYL J PEET                                  6068 ELY AVE                                                                                     LIVONIA          NY    14487‐9601
CHERYL J ROESKE TOD JEREMY D COLMAN SUBJECT TO 2817 BROWN RD                                                                                    MILLINGTON       MI    48746
STA TOD RULES
CHERYL J ROSSELLO                              8461 SARATOGA                                                                                    HOWELL           MI    48843‐9074
CHERYL J SAUTER                                253 CHAMBER ST                                                                                   SPENCERPORT      NY    14559‐9756
CHERYL J SULLIVAN                              7616 RIVA RIDGE RD                                                                               KOKOMO           IN    46901‐3732
CHERYL J TRUITT                                20 HEDGEROW DRIVE APT 3                                                                          ORCHARD PARK     NY    14127
CHERYL J V RYAN                                333 DENROSE DR                                                                                   AMHERST          NY    14228‐2659
CHERYL J WILLIAMS                              92 ROBBINS ST                           #1                                                       AVON             MA    02322‐1433
CHERYL JOHNSON                                 3328 N 49TH ST                                                                                   MILWAUKEE        WI    53216‐3206
CHERYL JOHNSON                                 274 MC DONALD DR                                                                                 WAYNE            NJ    07470‐3851
CHERYL JONES BRANT                             ATTN CHERYL J MCCRACKEN                 5201 ABERCORN AVE                                        ATLANTA          GA    30346
CHERYL K BERRY                                 16325 SEYMOUR ROAD                                                                               LINDEN           MI    48451‐9645
CHERYL K CALDWELL                              4564 W 1000 SO                                                                                   BUNKER HILL      IN    46914‐9476
CHERYL K HERWIG                                29 WOODRIDGE LANE                                                                                PICAYUNE         MS    39466‐8834
CHERYL K WHITTINGTON                           2290 EAGLE SCHOOL RD                                                                             MARTINSBURG      WV    25401‐0622
CHERYL KEEZER                                  150 LONGWOOD DR                                                                                  EASLEY           SC    29642‐7884
CHERYL KIMM EVANS                              12917 CONIFER LN                                                                                 EULESS           TX    76040
CHERYL KLEBSCH                                 713 OAK ST                                                                                       FRANKFORT        SD    57440‐2128
CHERYL L ASHTON CUST CLAIRE ANN ASHTON UGMA OH 597 CHURCH ST                                                                                    AMHERST          OH    44001‐2207

CHERYL L BAUMGARTNER                            17810 BIRCH FOREST LANE                                                                         SPRING           TX    77379‐3984
CHERYL L BLANEY                                 857 CHAMPION AVE E                                                                              WARREN           OH    44483‐1559
CHERYL L BRANSON                                28072 FESTIVO                                                                                   MISSION VIEJO    CA    92692
CHERYL L BREWER                                 2061 DEERWOOD DR                                                                                TWIN LAKE        MI    49457‐9771
CHERYL L BRING                                  2816 57TH DRIVE EAST                                                                            BRADENTON        FL    34203‐5343
CHERYL L BROWN                                  5525 MALLARD POINTE CT                                                                          MILFORD          OH    45150
CHERYL L BUGAJSKI                               5128 CREEKMONTE DR                     APT 6                                                    ROCHESTER        MI    48306‐4793
                                               09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 756 of 850
Name                                              Address1                              Address2              Address3         Address4          City            State Zip

CHERYL L CARLOCK                                  4880 PARVIEW                                                                                   CLARKSTON        MI   48346‐2793
CHERYL L CARTER                                   ATTN CHERYL L CARTER HIGGINS          3208 20TH ST                                             COLUMBUS         NE   68601‐3106
CHERYL L CATTON                                   6499 WARREN RD                                                                                 ANN ARBOR        MI   48105‐9775
CHERYL L CHANDLER                                 33980 BRAEBURY RIDGE                                                                           FARMINGTON HILLS MI   48331‐3623

CHERYL L CHAPMAN                                 1507 LINCOLN AVE                                                                                MT MORRIS       MI    48458‐1307
CHERYL L CHASE TR CHERYL L CHASE REVOCABLE TRUST 17509 RADCLIFFE PL                                                                              WILDWOOD        MO    63025‐2368
UA 05/24/97
CHERYL L CHEYNEY & THOMAS E CHEYNEY JR JT TEN    7625 MILL STREAM CT                                                                             CUMMING         GA    30040‐4289

CHERYL L COMPTON & SALLY A KESSMANN JT TEN        4831 65TH ST                                                                                   URBANDALE       IA    50322
CHERYL L CRAHEN                                   7060 MORNING DOVE LN                                                                           OLMSTED TWP     OH    44138‐3177
CHERYL L CRAHEN & PAUL S CRAHEN JT TEN            7060 MORNING DOVE LN                                                                           OLMSTED FALLS   OH    44138
CHERYL L CRANDELL & INGRID E CRANDELL JT TEN      105 E IROQUOIS ROAD                                                                            PONTIAC         MI    48341‐2018

CHERYL L CRIM                                     2185 TARTAN TRL                                                                                LEWISVILLE      TX    75077‐3155
CHERYL L EDWARDS‐HARGROW                          16010 36TH PL N                                                                                PLYMOUTH        MN    55446‐2197
CHERYL L ELKINS                                   80 RUST ST                                                                                     HAMILTON        MA    01982‐2141
CHERYL L ELSWICK                                  21624 TULANE                                                                                   FARM HLS        MI    48024
CHERYL L FEGERT                                   3909 S PIN OAK AVE                                                                             NEW ORLEANS     LA    70131‐8447
CHERYL L FERRIER                                  2075 HARKSELL RD                                                                               FERNDALE        WA    98248‐9786
CHERYL L FOSHEE                                   2320 SW 96TH ST                                                                                OKC             OK    73159‐6862
CHERYL L GLOMSKI                                  11026 LANDES CT #203                                                                           FAIR HAVEN      MI    48023‐1640
CHERYL L GOLDSMITH                                118 SADDLE BROOK DRIVE                                                                         CAMDON          DE    19934‐4403
CHERYL L GORDON TR ROBERT LASRIS CREDIT SHELTER   PO BOX 49948                                                                                   SARASOTA        FL    34230‐6948
TRUST 02/06/91
CHERYL L GRABLE                                   ATTN CHERYL LA ROCQUE                 4362 OAK TREE TRL                                        FENTON          MI    48430‐9162
CHERYL L HAJDUN                                   32 DEER RUN DRIVE                                                                              COLCHESTER      CT    06415‐1805
CHERYL L HALL                                     1500 WASHINGTON AVE                                                                            PIQUA           OH    45356‐1464
CHERYL L JACOB                                    ATTN CHERYL L MEADOR                  5721 EAGLEMOUNT CIR                                      LITHIA          FL    33547‐3852
CHERYL L JAGOW                                    86 MOSEMAN AVE                                                                                 KATONAH         NY    10536
CHERYL L JOHNSON                                  2326 RICHWOOD                                                                                  AUBURN HGTS     MI    48057
CHERYL L JONES                                    14251 PUFFIN CT                                                                                CLEARWATER      FL    33762‐3050
CHERYL L JONES                                    2321 HAVARD OAK DR                                                                             PLANO           TX    75074‐3150
CHERYL L KARNES                                   9379 E COUNTY RD 1150 S                                                                        GALVESTON       IN    46932‐8813
CHERYL L KEMPER                                   ATTN CHERYL L CURRENS                 3805 RED BUD LANE                                        KOKOMO          IN    46902
CHERYL L KILBURG & MICHAEL T KILBURG JT TEN       15004 ANGELIQUE                                                                                ALLEN PARK      MI    48101‐1847
CHERYL L KING                                     1126 W 300 S                                                                                   TIPTON          IN    46072‐8908
CHERYL L KNECHT                                   4745 BAUSMAN ROAD                                                                              PIQUA           OH    45356‐8352
CHERYL L KNIGHT                                   11607 DEXTER RD                                                                                PINCKNEY        MI    48169
CHERYL L KRAJCIK                                  2602 MIDDLESEX                                                                                 TOLEDO          OH    43606‐3009
CHERYL L LUNDGREN                                 307 W SIMPSON                                                                                  ALLIANCE        OH    44601‐3941
CHERYL L MAKAREWICZ                               0‐12527 TALLMADGE DRIVE NW                                                                     GRAND RAPIDS    MI    49544‐9513
CHERYL L MAKHOUL TR CHERYL L MAKHOUL LIVING       1725 W PRATT RD                                                                                DEWITT          MI    48820‐9747
TRUST UA03/03/92
CHERYL L MAKO & GAYE‐STUART MAKO JT TEN           6410 MUSQUASH TRL                                                                              CLARKSTON       MI    48348‐4608
CHERYL L MC QUEEN                                 4881 MT MORRIS RD                                                                              COLUMBIAVILLE   MI    48421‐8972
CHERYL L MCKENZIE                                 710 HOGSBACK RD                                                                                MASON           MI    48854‐9541
CHERYL L PATTERSON‐BUTKOVICH                      19681 STAMFORD                                                                                 LIVONIA         MI    48152‐1242
CHERYL L PETSCH                                   4110 N MAIN STREET                                                                             LESLIE          MI    49251‐9425
CHERYL L PIERCE                                   2570 N CALLE NOVENO                                                                            HUACHUCA CITY   AZ    85616‐8245
CHERYL L PIERPONT                                 2219 HIGH COUNTRY DR                                                                           CARROLLTON      TX    75007‐1701
CHERYL L RAND                                     2145 FAIRFAX DRIVE                                                                             ALPHARETTA      GA    30004‐1478
CHERYL L REIBER                                   25702 COYOTE DR                                                                                BROWNSTOWN      MI    48134‐9067
CHERYL L RENNIE                                   13189 TIBBETS RD                                                                               MEMPHIS         MI    48041‐1072
CHERYL L RICHARDSON                               7356 E 200 S                                                                                   MARION          IN    46953‐9146
CHERYL L ROBINSON                                 115 GROVE AVE                                                                                  LYNCHBURG       VA    24502
CHERYL L ROBINSON & MAX E ROBINSON JT TEN         PO BOX 298                                                                                     LINDEN          MI    48451‐0298
CHERYL L ROCKWELL                                 423 PRESTONWOOD DR                                                                             SHREVEPORT      LA    71115‐3723
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 757 of 850
Name                                             Address1                             Address2              Address3         Address4          City            State Zip

CHERYL L RUFUS                                   556 GOODYEAR                                                                                  BUFFALO         NY    14211‐1671
CHERYL L RUSH                                    2601 MEADE CT                                                                                 ANN ARBOR       MI    48105‐1300
CHERYL L SHANNON                                 2795 SADDLERIDGE WAY                                                                          WICKENBURG      AZ    85390‐1223
CHERYL L STELLO                                  1309 TRULL PLACE                                                                              MONROE          NC    28110‐8904
CHERYL L STEWART                                 321 W 30TH ST                                                                                 WILMINGTON      DE    19802‐3132
CHERYL L SWIMS                                   9747 WILLIAM                                                                                  TAYLOR          MI    48180‐3745
CHERYL L TAYLOR                                  6733 BROOKMONT DR                                                                             BALTIMORE       MD    21207‐5302
CHERYL L VAN ORMAN                               1402 SW CHARLESTON AVE                                                                        LEES SUMMIT     MO    64081‐2471
CHERYL L WALLERICH                               1655 EDMONTON AVE                                                                             SUNNYVALE       CA    94087‐5202
CHERYL L WEAVER                                  5904 LOCH MAREE DR                                                                            PLANO           TX    75093
CHERYL L WETMORE                                 12330 JAYCIE CIR                                                                              OKLAHOMA CITY   OK    73130‐8463
CHERYL L WHEELER                                 215 CARTERS NECKS RD                                                                          WILLIAMSBURG    VA    23188‐2260
CHERYL L WHEELER & ADELBERT A WHEELER JT TEN     215 CARTERS NECK RD                                                                           WILLIAMSBURG    VA    23188‐2260

CHERYL L WHITESELL                               2582 CAMPBELL STATION ROAD                                                                    CALLEOKA        TN    38451‐2305
CHERYL L WIDHALM                                 1679 DEER CREEK RD                                                                            MONUMENT        CO    80132‐9003
CHERYL L WILLIAMS                                243 CAMPBELL STREET                                                                           BLACKVILLE      SC    29817‐2453
CHERYL L WOLVERTON & GARY WOLVERTON JT TEN       219 W PARKWOOD                                                                                SIDNEY          OH    45365‐1494

CHERYL L WOOD & JENNIFER P MERKA JT TEN          14402 MOORFIELD DRIVE                                                                         HOUSTON         TX    77083
CHERYL LAI CHAPMAN                               171 PIERRE MALFANT                   FARGES                                 1550 FRANCE
CHERYL LANE                                      11472 CREEKVIEW                                                                               GRASS VALLEY    CA    95949‐9798
CHERYL LEA TORRES                                5432 HOLLOW OAK COURT                                                                         SAINT LOUIS     MO    63129
CHERYL LEA TORRES CUST JAMES TORRES JR UTMA MO   5432 HOLLOW OAK COURT                                                                         SAINT LOUIS     MO    63129

CHERYL LEA TORRES CUST TIA LEA TORRES UTMA MO    5432 HOLLOW OAK COURT                                                                         SAINT LOUIS     MO    63129

CHERYL LEE HARTMANN                              337 S EMMA AVE                                                                                VENTURA         CA    93003‐4740
CHERYL LEE KINSEY                                337 SOUTH EMMA AVE                                                                            VENTURA         CA    93003‐4740
CHERYL LELIEVRE                                  543 SOMERS AVE                                                                                WHITEFISH       MT    59937‐2758
CHERYL LINDSEY                                   4301 13 MILE NE RD                                                                            ROCKFORD        MI    49341‐8225
CHERYL LONGWELL                                  2211 BEULAH HEIGHTS ROAD                                                                      WHITLEY CITY    KY    42653
CHERYL LORRAINE CARLSON                          7452 SUNSET RIDGE PARKWAY                                                                     INDIANAPOLIS    IN    46259‐7648
CHERYL LOU HENRY                                 50 ABERFIELD LN                                                                               MIAMISBURG      OH    45342‐6626
CHERYL LUTHER                                    9 LIONEL PLACE                                                                                ASHEVILLE       NC    28806‐2015
CHERYL LYNN ABRAHAM                              ATTN CHERYL BARKETT                  1350 BARBIE DR                                           YOUNGSTOWN      OH    44512‐3703
CHERYL LYNN ANTHONY                              8966 CHAMPIONSHIP DR                                                                          DAVISON         MI    48423‐8656
CHERYL LYNN BLANK                                30 SNODEN LANE                                                                                WATCHUNG        NJ    07069
CHERYL LYNN CHAMBERS                             PO BOX 20306                                                                                  BOULDER         CO    80308‐3306
CHERYL LYNN FURNARY                              ATTN CHERYL F DIFERDINANDO           9 STONE GATE S                                           LONGWOOD        FL    32779‐3020
CHERYL LYNN KACZYNSKI                            ATTN CHERYL LYNN GEDRAITIS           4845 S AIRPORT                                           BRIDGEPORT      MI    48722‐9790
CHERYL LYNN NAN                                  6101 SW 27TH ST                                                                               MIRAMAR         FL    33023‐3915
CHERYL LYNN RING                                 5770 HECKER PASS RD #16                                                                       GILROY          CA    95020‐9424
CHERYL LYNN SIMONS                               PO BOX 33232                                                                                  LOS GATOS       CA    95031‐3232
CHERYL LYNN SPEARMAN                             401 LELAND AVE                                                                                DAYTON          OH    45417‐1657
CHERYL M ANDERSON & JOHN F ANDERSON JT TEN       9758 SILVERSIDE DR                                                                            SOUTH LYON      MI    48178‐8811

CHERYL M BALL & WILLIAM C BALL JT TEN            3443 PINEMONT DR                                                                              DOUGLASVILLE    GA    30135‐7298
CHERYL M BARNES                                  G‐1458 W LOUIS AVE                                                                            FLINT           MI    48505
CHERYL M BAZAR                                   1086 SANCTUARY COVE DR                                                                        WEST PALM BCH   FL    33410‐4527
CHERYL M DAVIS                                   ATTN CHERYL M WOODWARD               1401 W NEWPORT PIKE                                      WILMINGTON      DE    19804‐3522
CHERYL M DELLAVALLE                              341 NIAGARA ST                                                                                TONAWANDA       NY    14150‐1907
CHERYL M GENOVESE & PETER J GENOVESE JT TEN      841 THE CIRCLE                                                                                LEWISTOWN       NY    14092‐2050
CHERYL M GENOVESE CUST JOSEPH P GENOVESE UGMA    841 THE CIRCLE                                                                                LEWISTON        NY    14092‐2050
NY
CHERYL M GENOVESE CUST KRISTEN M GENOVESE        841 THE CIRCLE                                                                                LEWISTON        NY    14092‐2050
UGMA NY
CHERYL M HOLLAND                                 13110 VERONICA                                                                                SOUTHGATE       MI    48195‐1238
CHERYL M HOOKER                                  280 PARK VIEW TER APT 304                                                                     OAKLAND         CA    94610‐4524
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 758 of 850
Name                                              Address1                              Address2                Address3       Address4          City              State Zip

CHERYL M HOPSON                                   BOX 6                                                                                          WELLS             VT    05774‐0006
CHERYL M JENKINS                                  3829 CALLIOPE AVENUE                                                                           PORT ORANGE       FL    32129
CHERYL M MELLEROWICZ                              3820 COACHWOOD LN                                                                              ROCHESTER HILLS   MI    48309‐1064
CHERYL M NEWTON                                   3620 ARBOR DR                                                                                  FENTON            MI    48430‐3115
CHERYL M PALMA                                    80 WOODLEA ROAD                                                                                MUTTONTOWN        NY    11791‐2321
CHERYL M ROTHE                                    16646 MONTICELLO                                                                               CLINTON TWP       MI    48038‐4035
CHERYL M SIRHAN CUST CHRISTOPHER JOHN SIRHAN      7785 FRAMPTON                                                                                  WASHINGTON        MI    48095‐1235
UGMA MI
CHERYL M SIRHAN CUST JORDAN ROSS SIRHAN UGMA      7785 FRAMPTON DR                                                                               WASHINGTON        MI    48095‐1235
MI
CHERYL M SMITH                                    558 E GREENLAWN AVE                                                                            LANSING           MI    48910‐3305
CHERYL M SMITH                                    558 E GREENLAWN AVE                                                                            LANSING           MI    48910‐3305
CHERYL M STOEHR                                   242 COMMODORE TER                                                                              BUFFALO           NY    14225‐1509
CHERYL MACKENZIE                                  22411 GORDON                          ST CLAIR SHORES                                          ST CLR SHORES     MI    48081‐2935
CHERYL MARIE DOHERTY                              27 W 716 GODGES WAY                                                                            WINFIELD          IL    60190
CHERYL MARIE SCOTT & PETER JAMES SCOTT JT TEN     25 AVON ST                                                                                     WAKEFIELD         MA    01880‐2310

CHERYL MCCORMICK CUST JAYDEN EZRA MCCORMICK       261 WILKES STREET                                                                              BANKS             OR    97106
UTMA OR
CHERYL MCCRAY                                     4621 FARLEY DR                                                                                 COLUMBUS          GA    31907‐6342
CHERYL MICHAUD WALSH                              5449 OLD FRANKLIN ROAD                                                                         GRAND BLANC       MI    48439‐8623
CHERYL NOBLE DEWIRE                               65 KULP RD W                                                                                   CHALFONT          PA    18914‐3740
CHERYL O'BRIEN & JERRY O'BRIEN JT TEN             137 BIG OAKS ROAD                                                                              TROUT VALLEY      IL    60013‐2428
CHERYL OCONNOR                                    140 SCHOOL ST                                                                                  CLARK             NJ    07066‐1413
CHERYL PASTUCKA                                   333 W FRACK ST                                                                                 FRACKVILLE        PA    17931‐1615
CHERYL PASTUCKA                                   333 W FRACK ST                                                                                 FRACKVILLE        PA    17963
CHERYL PHILLIPS MCDONOUGH                         2221 CYPRESS ISLAND DR APT 505                                                                 POMPANO BEACH     FL    33069‐4282
CHERYL PLONSKY                                    914 KINGS CROFT                                                                                CHERRY HILL       NJ    08034‐1112
CHERYL R BARANANO                                 151 BATRE LANE                                                                                 MOBILE            AL    36608‐5864
CHERYL R BELLE                                    PO BOX 424                                                                                     LAGRANGE          IL    60525
CHERYL R BROSEY                                   4385 N RIVERSIDE DR                                                                            COLUMBUS          IN    47203‐1124
CHERYL R GREER                                    3005 CHADBOURNE RD                                                                             SHAKER HTS        OH    44120‐2446
CHERYL R JEMISON                                  16898 SORRENTO                                                                                 DETROIT           MI    48235‐4210
CHERYL R MAIORCA                                  1660 ROOSEVELT DR                                                                              NILES             OH    44446‐4108
CHERYL R OLGAARD                                  ATTN CHERYL R WOLOHAN                 6421 DENTON                                              TROY              MI    48098
CHERYL R PONDER                                   107 ANSLEY WALK LANE                                                                           CARY              NC    27518‐5731
CHERYL REGINA COLEMAN                             1328 SILVER SIERRA ST                                                                          LAS VEGAS         NV    89128‐2158
CHERYL S BOONE                                    880 MENDES CT                                                                                  COLUMBUS          OH    43235‐3506
CHERYL S CHAPEKIS                                 5391 RESERVE DR                                                                                DUBLIN            OH    43017‐8620
CHERYL S CHASE                                    301 BRIGADIER DR                                                                               CLOVER            SC    29710‐6688
CHERYL S CUNNINGHAM                               5409 ABBEY DRIVE                                                                               MC HENRY          IL    60050‐5917
CHERYL S HOLDER                                   5281 ALEXANDRIA PIKE                                                                           ANDERSON          IN    46012‐9573
CHERYL S JACO                                     111 W QUAIL HOLLOW WAY                                                                         DICKSON           TN    37055‐2360
CHERYL S JOHNSON                                  4200 BROOKHILL LANE                                                                            DAYTON            OH    45405
CHERYL S MCPHERSON                                325 MIDLAND PKWY                      APT 1116                                                 SUMMERVILLE       SC    29485‐8473
CHERYL S ROETHER                                  24759 E US HWY 40                                                                              DENNISON          IL    62423‐2710
CHERYL S S MALONE                                 5132 FOLSE DR                                                                                  METAIRIE          LA    70006‐1048
CHERYL SCOTT                                      9677 GARDENIA DR                                                                               PALM BEACH        FL    33410‐5507
                                                                                                                                                 GARDENS
CHERYL SEIDENSPINNER                              33 CHATSWORTH COURT                                                                            OAKLAND           CA    94611‐2503
CHERYL SERENO                                     34 E FELTON ST                                                                                 N TONAWANDA       NY    14120
CHERYL SILVERS ROBINSON TR UA 11/21/83 F/B/O      12052 TANGLETREE DRIVE                                                                         SAINT LOUIS       MO    63146‐4846
CHERYL SILVERS ROBINSON
CHERYL SPENCER CUST ELEXIS DARLYCE SPENCER UTMA   8160 MANITOBA ST 308                                                                           PLAYA DEL REY     CA    90293‐8640
CA
CHERYL SPICER                                     5815 ELDERGARDENS ST                                                                           SAN DIEGO         CA    92120‐3727
CHERYL STERNLICHT                                 C/O MULDERIG                          908 DOVER CASTLE LANE                                    PFLUGERVILLE      TX    78660
CHERYL STRICKLAND                                 754 DEXTERVILLE OAK RIDGE RD                                                                   MORGANTOWN        KY    42261‐9182
CHERYL T COSTELLO                                 58 S HARMONY DR                                                                                JANESVILLE        WI    53545‐2673
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 759 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

CHERYL TAYLOR                                     3 FITCH ST                                                                                      CARTERET          NJ    07008‐3009
CHERYL TAYLOR TR CHERLY B TAYLOR TRUST UA         1631 FOLKSTONE RD                                                                               TALLAHASSEE       FL    32312‐3686
03/27/96
CHERYL TOFTEY SCHEFFLER
CHERYL TOMASSETTI                                 205 GRAND ST #1                                                                                 CROTON HDSN       NY    10520
CHERYL TURBETT                                    N4791 HWY 25 #480                                                                               MENOMONIE         WI    54751
CHERYL V AMARE & BARBARA V AMARE JT TEN           109 CONTI CT                                                                                    FAIRHOPE          AL    36532
CHERYL VOELKER                                    6710 LOUENE CIRCLE                                                                              SHREVEPORT        LA    71119
CHERYL W JONES                                    4578 NEW RD                                                                                     YOUNGSTOWN        OH    44515‐3811
CHERYL WATERS                                     3233 HAMLIN RD                                                                                  MEDINA            OH    44256‐7653
CHERYL WETHERBEE                                  663 CHARLES LN                                                                                  ROCK HILL         SC    29730‐8911
CHERYL Y CROCKETT                                 6065 SHILLINGHAM DRIVE                                                                          WEST BLOOMFIELD   MI    48322‐1560

CHERYL Y FLYNN                                    3390 SANDY SHORE DR                                                                             METAMORA          MI    48455‐8973
CHERYL Y OUTLAW                                   34305 PINEWOODS CIR                    APT 204                                                  ROMULUS           MI    48174‐8227
CHERYL YORK                                       32272 PINEHURST DRIVE                                                                           AVON LAKE         OH    44012‐2527
CHERYLE D KAUFMAN                                 850 HURON ST                                                                                    FLINT             MI    48507‐2553
CHERYLL D DAVENPORT                               12448 S 200 W                                                                                   KOKOMO            IN    46901
CHERYLL L WATSON                                  3170 GA HWY 326                                                                                 CARNESVILLE       GA    30521‐4624
CHERYLYN PATTERSON                                600 STATE HIGHWAY 495                  LOT 1204                                                 ALAMO             TX    78516‐7016
CHERYLYNNE M COLLINS                              BOX 2101                                                                                        FAIRVIEW          OR    97024
CHERYN J PAYNE CHRISTIAN E JAHN EST JOAN P JAHN   617 SUMMIT LAKE RD                                                                              BURLNGTN FLT      NY    13315‐3703

CHERYN L WALL                                     5424 EAST YUCCA ST                                                                              SCOTTSDALE        AZ    85254‐4755
CHESAPEAKE INVESTMENT CLUB                        DONALD W CLARK GEN PARTNER             110 POTOMAC AVE                                          SALISBURY         MD    21804‐4732
CHESLEY R MCREYNOLDS TR CHESLEY R MCREYNOLDS      11 DEBORAH DR                                                                                   BLOOMFIELD        IA    52537
TRUST UA 01/07/00
CHESTER A BRISBIN                                 1360 W WILSON RD                                                                                CLIO              MI    48420‐1689
CHESTER A BURRS                                   50 ADELA CIRCLE                                                                                 ROCHESTER         NY    14624‐4752
CHESTER A CARTER                                  1629 NO DUKELAND ST                                                                             BALTIMORE         MD    21216‐3503
CHESTER A FELTY                                   5441 COUNTY ROAD 52                                                                             BIG PRARIE        OH    44611‐9649
CHESTER A GILLIS                                  115 3RD ST S APT 713                                                                            JACKSONVILLE      FL    32250‐6803
                                                                                                                                                  BEACH
CHESTER A GREENE                                  14917 PRAIRIE PARK DR                                                                           HOAGLAND          IN    46745‐9760
CHESTER A HOSTETTER                               246 HUNTER CROSSING RD                                                                          GOSHEN            VA    24439‐2211
CHESTER A HUBER                                   13587 HAVEN AVE                                                                                 SPARTA            WI    54656‐8176
CHESTER A JAQUES                                  61 UNCLE STANLEY'S WAY                                                                          SOUTH DENNIS      MA    02660‐2603
CHESTER A LIVINGSTON                              206 QUINLAN AVENUE                                                                              STATEN ISLAND     NY    10314‐5110
CHESTER A MANCZAK                                 2419 KOPKA CT                                                                                   BAY CITY          MI    48708‐8167
CHESTER A MOCEK & TESS MOCEK JT TEN               23 FOXCROFT RD                         APT 135                                                  NAPERVILLE        IL    60565‐2043
CHESTER A NEDWIDEK JR                             947 MANCHESTER DR                                                                               CARY              NC    27511‐4716
CHESTER A OVERTON                                 6942 CORNELL                                                                                    TAYLOR            MI    48180‐1723
CHESTER A PAGE JR                                 7603 VIRGINIA AVE                                                                               PARMA             OH    44129‐2545
CHESTER A PICK JR                                 4500 LEAF CT                                                                                    RALEIGH           NC    27612‐3910
CHESTER A PROVO & ROSANNE M PROVO JT TEN          14228 BADE DR                                                                                   WARREN            MI    48088‐3793
CHESTER A RUBEN                                   37925 SPRING LN                                                                                 FARMINGTN HLS     MI    48331
CHESTER A SPEAGLE                                 910 GLENDALE                                                                                    TILTON            IL    61833‐7946
CHESTER A STACHOWSKI                              309 SOUTH MEADOW                                                                                N TONAWANDA       NY    14120‐4887
CHESTER A TURNBULL & GLORIA M TURNBULL TEN ENT    324 LYNN ROAD                                                                                   SPRINGFIELD       PA    19064‐3511

CHESTER A WALZ                                    19201 GENITO RD                                                                                 MOSELEY           VA    23120‐1022
CHESTER A WEESE                                   3360 W 100 ST                                                                                   CLEVELAND         OH    44111‐1228
CHESTER A WRIGHT                                  2345 CEMETARY RD                                                                                GLADWIN           MI    48624‐9255
CHESTER ALBERT NEDWIDEK III                       312 FOREST GLEN LN                                                                              POLLOCKSVILLE     NC    28573‐9367
CHESTER ARTHUR                                    102 COLLIER ST                                                                                  AIKEN             SC    29803‐5420
CHESTER B BUTTERMORE                              350 ENGLISHMAN HILL                                                                             CONNELLSVILLE     PA    15425‐9330
CHESTER B MAYBERRY                                512 GARDENS DRIVE NO #102                                                                       POMPANO BEACH     FL    33069‐6414
CHESTER B MUROSKI                                 PO BOX 252                                                                                      BEAR CREEK        PA    18602‐0252
                                                                                                                                                  VILLAGE
                                             09-50026-mg                     Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 760 of 850
Name                                                Address1                                Address2             Address3          Address4          City              State Zip

CHESTER B RAINWATER JR                              1205 CLEARVIEW ST SW                                                                             DECATUR          AL     35601‐6211
CHESTER BULDAS                                      270 SOMERVILLE AVE                                                                               TONAWANDA        NY     14150‐8708
CHESTER C BREEDLOVE                                 PO BOX 342                                                                                       PHILADELPHIA     MS     39350‐0342
CHESTER C COLE                                      1667 E 600 N                                                                                     ALEXANDRIA       IN     46001‐8785
CHESTER C KUBIK & MRS JACQUELYN A KUBIK JT TEN      643 DOVER                                                                                        DEARBORN HEIGHTS MI     48127‐4113

CHESTER C NOWAK JR                                  39 ZELMER                                                                                        BUFFALO           NY    14211‐2140
CHESTER C ROBINETTE                                 530 W KREPPS RD                                                                                  XENIA             OH    45385‐9350
CHESTER C SHELTON                                   7812 SPIETH RD                                                                                   LITCHFIELD        OH    44253‐9728
CHESTER C WALKER II                                 1811 TIMBERLANE DRIVE                                                                            FLINT             MI    48507‐1410
CHESTER COLLINS & MRS JOYCE COLLINS JT TEN          3397 KEVIN CIRCLE                                                                                WARREN            MI    48092‐2243
CHESTER D CORNETT                                   3657 BUNNELL RD                                                                                  LEBANON           OH    45036‐9309
CHESTER D JONES                                     23945 EDINBURGH                                                                                  SOUTH FIELDS      MI    48034‐4893
CHESTER D KILBOURN                                  2255 WILLARD RD                                                                                  CLIO              MI    48420
CHESTER D KOZAK                                     2373 JAKEWOOD                                                                                    WEST BLOOMFIELD   MI    48324‐3305

CHESTER DE STEFANO & MRS CECELIA DE STEFANO JT      BOX 113                                                                                          WHITEHOUSE         NJ   08889‐0113
TEN                                                                                                                                                  STATION
CHESTER DECORATING & FABRIC INC                     ATTN GARY HICKEN                        288 RTE 31 S                                             WASHINGTON         NJ   07882‐4062
CHESTER DOMBROWSKI                                  22205 ERBEN ST                                                                                   SAINT CLAIR SHORES MI   48081‐2048

CHESTER E ARNOLD                                    PO BOX 542                                                                                       ADRIAN            MO    64720‐0542
CHESTER E COLLIER                                   603 MAPLE                                                                                        WILLOWSPRINGS     IL    60480‐1365
CHESTER E CYCON                                     32 WEST CHERBOURG DR                                                                             S CHEEKTOWAGA     NY    14227‐2406
CHESTER E GAINES                                    8830 STONY CREEK RD                                                                              YPSILANTI         MI    48197‐6614
CHESTER E GILLEY JR                                 2840 S 42ND ST                                                                                   KANSAS CITY       KS    66106‐4030
CHESTER E KIRBY & MILDRED P KIRBY JT TEN            14454 SPYGLASS ST                                                                                ORLANDO           FL    32826‐5037
CHESTER E KOLODZIEJ                                 9420 TAYLORS TURN                                                                                STANWOOD          MI    49346
CHESTER E LIGOCKI CUST JOAN M LIGOCKI UGMA IN       9741 IRISHMAN'S RUN LN                                                                           ZIONSVILLE        IN    46077‐9322

CHESTER E NEWTON                                    1846 HORIZON LANE                                                                                INDIANAPOLIS      IN    46260‐6404
CHESTER F BARTOSIK II                               8351 FLAMINGO                                                                                    WESTLAND          MI    48185‐1761
CHESTER F BAUCH CUST MISS JILL LYNN BAUCH UGMA      3991 LAWRENCEVILLE DR                                                                            SPRINGFIELD       OH    45504‐4470
OH
CHESTER F BENSON                                    2428 REDSTONE RD                                                                                 BURLESON          TX    76028‐1256
CHESTER F FLORKEY JR                                8376 GROVE RD                                                                                    FORT MYERS        FL    33967
CHESTER F LA BELLA                                  5 BARCLAY CT                                                                                     TRENTON           NJ    08648‐1453
CHESTER F MUCHA & CAROLYN B MUCHA JT TEN            90 SHENFIELD ST                                                                                  NEW BRITAIN       CT    06053‐3833
CHESTER F PAWLOWSKI                                 73 CORNELL DRIVE                                                                                 DEPEW             NY    14043‐2205
CHESTER F PODLESNY                                  4 JOANNE CT                                                                                      SAYREVILLE        NJ    08872‐1241
CHESTER F RHAMSTINE                                 2714 BACON                                                                                       BERKLEY           MI    48072‐1070
CHESTER F ROBARDS JR                                ATTN NANCY M KUSHNER                    2377 N 91ST ST                                           WAUWATOSA         WI    53226‐1830
CHESTER F SHOCKLEY SR                               36 HAROLD ST                                                                                     FRANKLIN          OH    45005‐1719
CHESTER F TYSZKO & EVELYN TYSZKO TR TYSZKO LIVING   1178 VERMEER DR                                                                                  NOKOMIS           FL    34275‐4433
TRUST UA 04/10/97
CHESTER F WRIGHT                                    6513 E DECATUR ST                                                                                MESA              AZ    85205‐6816
CHESTER G GOOD JR                                   10206 AVOCADO PL                                                                                 CUPERTINO         CA    95014‐3323
CHESTER G GUPTON                                    3310 AUBURN RD                                                                                   UTICA             MI    48317‐3714
CHESTER G MARVIN                                    9639 WOODBINE                                                                                    REDFORD           MI    48239‐1695
CHESTER G SOERENS & JANE M SOERENS JT TEN           616 HERON POINT                                                                                  TINTON FALLS      NJ    07753‐7769
CHESTER G STEWART                                   5320 GARDNER AVE                        APT G                                                    FORT KNOX         KY    40121‐1954
CHESTER GAMBLE                                      2045 HOWARD AVE                                                                                  FLINT             MI    48503‐4208
CHESTER GIBBONS                                     85 E NEWPORT                                                                                     PONTIAC           MI    48340‐1254
CHESTER GILBERT                                     1834 COURTLAND AVE                                                                               NORWOOD           OH    45212‐2962
CHESTER GITT SCHULTZ                                958 MUMMASBURG RD                                                                                GETTYSBURG        PA    17325
CHESTER H ALLEN II                                  1100 CRANBROOK                                                                                   SAGINAW           MI    48603‐5437
CHESTER H BOCHNEAK & PATRICIA A BOCHNEAK JT TEN     12423 LARIMER AVE                                                                                NORTH             PA    15642‐1345
                                                                                                                                                     HUNTINGDON
CHESTER H CHIODO                                    1410 HASKIN DR                                                                                   SAN ANTONIO       TX    78209‐2323
                                                 09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 761 of 850
Name                                               Address1                               Address2             Address3          Address4          City            State Zip

CHESTER H DAMMEYER CUST NICHOLAS W DAMMEYER 1321 CELMA RD                                                                                          ST MARYS        OH    45885‐1208
U/THE OHIOU‐G‐M‐A
CHESTER H GROHS JR                           7200 HILLCREEK RD                                                                                     FULTON          MO    65251‐4600
CHESTER H LAMPMAN & BEVERLY M LAMPMAN JT TEN 7 CENTER BAY RD NO POB547                                                                             ALBURQ          VT    05440‐3003

CHESTER H MAYO                                192 FM 2692                                                                                          GORDON          TX    76453‐3800
CHESTER H MORNEAU & MRS JANE R MORNEAU JT TEN 908N LOGAN AVE                                                                                       COLORADO SPRING CO    80909‐3708

CHESTER H PHILLIPS & NORA J PHILLIPS JT TEN        1956 CHESTER AVE                                                                                WARREN          OH    44481‐9757
CHESTER H PHILLIPS JR                              1956 CHESTER AVE SW                                                                             WARREN          OH    44481‐9757
CHESTER H RYNASKI TOD CHESTER H RYNASKI JR         112 WHITNEY DR                                                                                  MRIDEN          CT    06450‐7287
SUBJECT TO STA TOD RULES
CHESTER H SARAMA                                   550 BORDEN ROAD                                                                                 CHEEKTOWAGA     NY    14227‐3274
CHESTER H SCHWERIN                                 2985 WILWOOD                                                                                    MANISTEE        MI    49660
CHESTER H WEST                                     2678 TYLERSVILLE ROAD                                                                           HAMILTON        OH    45015‐1364
CHESTER HOLMES                                     710 W EUCLID                                                                                    DETROIT         MI    48202‐2029
CHESTER J ASHTON JR                                6908 LALEMANT DR                                                                                PARMA           OH    44129‐5404
CHESTER J BILEWSKI                                 6812 HILLSIDE RD                                                                                CLEVELAND       OH    44131‐5347
CHESTER J BONGART & ELLEN T BONGART JT TEN         4593 ROYAL RIDGE LN                                                                             LAS VEGAS       NV    89103‐5038
CHESTER J DUNKERSON                                RT 1 BOX 59                                                                                     VIOLA           AR    72583‐9622
CHESTER J HOKE JR                                  501 IRON RIDGE RD                                                                               HANOVER         PA    17331‐6837
CHESTER J HOKE JR & ELIZABETH J S HOKE TEN ENT     501 IRON BRIDGE RD                                                                              HANOVER         PA    17331‐6837

CHESTER J KLISH                                  2321 GOLFVIEW LN                                                                                  FLOSSMOOR       IL    60422‐1629
CHESTER J KOKOT JR                               8218 GREENRIDGE SW                                                                                JENISON         MI    49428‐8525
CHESTER J KOWALEC                                2929 QUAIL RUN DR                                                                                 TROY            MI    48098‐4126
CHESTER J LABUS & ANNA MAE LABUS TR FAMILY TRUST 815 BROADCASTING RD                                                                               WYOMISSING      PA    19610‐1407
UA 10/10/90
CHESTER J MAJOR                                  263 PRINCETON AVE                                                                                 JERSEY CITY     NJ    07305‐4729
CHESTER J MARCHUK                                6399 MORRISH RD                                                                                   SWARTZ CREEK    MI    48473‐7634
CHESTER J MIENTKIEWICZ                           706 ROBBINS AVE                                                                                   NILES           OH    44446‐2416
CHESTER J OLIVER JR                              2805 S 125TH ST                          APT 316                                                  SEATTLE         WA    98168
CHESTER J ORZULAK                                3621 DUDLEY AVE                                                                                   NIAGARA FALLS   NY    14303‐2217
CHESTER J PHILIPCZAK                             183 WEST 32ND STREET                                                                              BAYONNE         NJ    07002‐1820
CHESTER J PITEK JR                               2127 CASALOMA CT                                                                                  FLINT           MI    48532‐2718
CHESTER J POCHOPIEN & TASSIE POCHOPIEN JT TEN    1454 SHEFFIELD DRIVE                                                                              SAGINAW         MI    48603‐5548

CHESTER J RICKER & BRENDA S RICKER JT TEN          63 STAGECOACH RD                                                                                LEOMINSTER      MA    01453‐3471
CHESTER J SCZESNY                                  1714 JEFFERSON ST                                                                               ANDERSON        IN    46016‐2015
CHESTER J SLAKTOSKI                                3122 CLYDE PARK SW                                                                              WYOMING         MI    49509‐2918
CHESTER J SUDMAN & BEVERLY J SUDMAN JT TEN         935 DENA WAY                                                                                    SANTA BARBARA   CA    93111‐1103
CHESTER J SYMEON & CAROL SYMEON JT TEN             RR 1 BOX 249L                                                                                   PITTSTON        PA    18643‐9625
CHESTER J SZATKOWSKI & MRS JOYCE A SZATKOWSKI JT   232 IROQUOIS                                                                                    LANCASTER       NY    14086‐1312
TEN
CHESTER J SZYMCZAK                                 12669 GRAYFIELD                                                                                 DETROIT         MI    48223‐3035
CHESTER J ULLOM                                    157 THIRD ST                                                                                    CARDINGTON      OH    43315‐1046
CHESTER JANISZEWSKI & ETHEL E JANISZEWSKI JT TEN   2868 BAKER RD                                                                                   DEXTER          MI    48130‐1114

CHESTER JAREMCZAK                                  118 CRAMPTON AVE                                                                                WOODBRIDGE      NJ    07095‐3715
CHESTER JASKET                                     73 STANDISH DRIVE                                                                               CLIFTON         NJ    07013‐2542
CHESTER JASON & PATRICIA LEE JASON JT TEN          182 ALHAMBRA DR                                                                                 ROCHESTER       NY    14622‐3104
CHESTER JEAN DALRYMPLE & MRS SHIRLEY C             BOX 172                                                                                         PARIS           IL    61944‐0172
DALRYMPLE JT TEN
CHESTER JOHN SIMMONS                               28815 JAMISON ST                       APT 314B                                                 LIVONIA         MI    48154
CHESTER JONES                                      43 THATCHER AVENUE                                                                              BUFFALO         NY    14215‐2233
CHESTER KUROWSKI                                   277 SUFFOLK AVE                                                                                 PAWTUCKET       RI    02861‐2217
CHESTER L ARNOLD                                   46 POND CIRCLE                                                                                  MASHPEE         MA    02649‐4905
CHESTER L CRUMP                                    1547 W 2ND ST                                                                                   DAYTON          OH    45402‐6727
CHESTER L DANIELS                                  20525 BENTLER COURT                                                                             DETROIT         MI    48219‐1268
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 762 of 850
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

CHESTER L FOX                                  9767 BOUNDARY RD                                                                                   MAYVIEW            MO    64071‐7116
CHESTER L HAMMONS                              29 PEETE ST                                                                                        CINCINNATI         OH    45210‐1113
CHESTER L JOHNSON                              10366 DRAKE RD                                                                                     HAMERSVILLE        OH    45130‐9522
CHESTER L MATTHEWS JR                          345 ALPLAUS AVE                                                                                    ALPLAUS            NY    12008‐1017
CHESTER L MOCKBEE                              1037 VICTORIA AVE                                                                                  FAIRBORN           OH    45324‐3769
CHESTER L RONEY                                4310 VAN VLEET RD                                                                                  SWARTZ CREEK       MI    48473‐8594
CHESTER L WETHINGTON & BARBARA J WETHINGTON JT 1610 E AVE                                                                                         NEW CASTLE         IN    47362‐2734
TEN
CHESTER LITTLE                                 480 LAUREL PK CIR                                                                                  COOKEVILLE         TN    38501‐3091
CHESTER LUCKENBILL & GLADYS LUCKENBILL JT TEN  14 HEATHER LANE                                                                                    PINE GROVE         PA    17963‐9568

CHESTER LUNDSTEN                                  605 PARK AVE NW                                                                                 WILLIAMS           MN    56686‐4409
CHESTER M BURT                                    2134 OAKWOOD DR                                                                                 TROY               MI    48098‐3892
CHESTER M FIRMAN JR                               738 N CLINTON TRAIL                                                                             CHARLOTTE          MI    48813‐9784
CHESTER M KEMP                                    1518 E DECKERVILLE RD                                                                           CARO               MI    48723‐9109
CHESTER M KEPHART                                 4860 SERENE SHORES DR                                                                           GAINESVILLE        GA    30504‐5242
CHESTER M MILLER & OLLIE J MILLER JT TEN          3892 CHARFIELD LN                                                                               HAMILTON           OH    45011‐6522
CHESTER M NICHOLS                                 222 HAMPTON RD                                                                                  LEXINGTON          OH    44904‐1021
CHESTER M PIERCE                                  17 PRINCE ST                                                                                    JAMAICA PLAIN      MA    02130‐2725
CHESTER M RHOADES TR UA 11/01/2007 SCHAEFER       1800 EAST WHIPP RD                                                                              DAYTON             OH    45440
FAMILY IRR TRUST
CHESTER M ROLLAND & KATHLEEN G ROLLAND JT TEN     3121 KINGSTON DR                                                                                RICHARDSON         TX    75082‐4066

CHESTER M WILLIAMS & HAZEL S WILLIAMS TEN ENT     433 S KINZER AVE #B08                                                                           NEW HOLLAND        PA    17557‐9360

CHESTER MARTLING                                  9813 BEACH MILL ROAD                                                                            GREAT FALLS        VA    22066‐3708
CHESTER MATTHEWS                                  345 ALPLAUS AVE                                                                                 ALPLAUS            NY    12008‐1017
CHESTER MEDINA                                    216 E 20TH                                                                                      TRACY              CA    95376‐2729
CHESTER MORSE & ANNA JANE MORSE JT TEN            PO BOX 1373                                                                                     DUARTE             CA    91009‐4373
CHESTER N WATSON                                  250 EAST HARBORTOWN DR                 APT 1201                                                 DETROIT            MI    48207
CHESTER N WILSON                                  251 LA HIGHWAY 720                                                                              DUSON              LA    70529
CHESTER NEWSOME                                   5194 OTSEGO                                                                                     BURTON             MI    48509‐2024
CHESTER O MATTHEWS                                2775 DUNNWOOD DR                                                                                ACWORTH            GA    30102‐5820
CHESTER O REED                                    5460 ST RT 45                                                                                   BRISTOLVILLE       OH    44402‐9601
CHESTER O STEWART & JAN F STEWART JT TEN          13514 GLEN ERICA                                                                                HOUSTON            TX    77069‐3318
CHESTER OZARSKI & THOMAS WALTER OZARSKI JT TEN    2548 IRMA ST                                                                                    WARREN             MI    48092‐3728

CHESTER P GORSKI                                  27202 AUDREY                                                                                    WARREN             MI    48092‐2675
CHESTER P SKIDD                                   7050 E MOTSINGER RD                                                                             PEKIN              IN    47165‐8346
CHESTER P SLOTA                                   3875 SLUSARIC ROAD                                                                              N TONAWANDA        NY    14120‐9507
CHESTER PAUL BATRUK                               214 JOHN ST                                                                                     SOUTH AMBOY        NJ    08879‐1742
CHESTER PIETRUSZEWSKI & CATHERINE PIETRUSZEWSKI   329 VALVERDE DR                                                                                 SO SAN FRANCISCO   CA    94080‐5624
JT TEN
CHESTER PILACZYNSKI                               16098 GLEN EAGLE                                                                                OCQUEOC            MI    49759‐9619
CHESTER R BATES                                   4326 W 79TH ST                                                                                  INDIANAPOLIS       IN    46268‐1806
CHESTER R BOZINOWSKI                              38422 CHARWOOD                                                                                  STERLING HEIG      MI    48312‐1229
CHESTER R COOLEY & PHYLLIS P COOLEY JT TEN        33 LEE RIVER RD                                                                                 JERICHO            VT    05465‐3084
CHESTER R CRONK                                   16562 SR 18                                                                                     DEFIANCE           OH    43512‐9768
CHESTER R FONTENETTE                              5527 SANDPIPER PL                                                                               PALMDALE           CA    93552‐4641
CHESTER R KOPACZ                                  611 STACEY COURT                                                                                GLADWIN            MI    48624‐8436
CHESTER R KOWALSKI                                N5743 RIVERSIDE DR                                                                              SHAWANO            WI    54166‐1075
CHESTER R LOCKWOOD JR                             803 DESOTO                                                                                      PRESCOTT           AZ    86303
CHESTER R MOORE                                   156 ENDLESS RD                                                                                  COLLINSVILLE       VA    24078‐2542
CHESTER R PARENT                                  133 TARA PL                                                                                     HENDERSONVILLE     NC    28739‐6121
CHESTER R ROBERTS & JEANETTE ROBERTS JT TEN       2613 GOLDENROD RD                                                                               NORTH NEWTON       KS    67117
CHESTER R SMITH                                   6608 CHIRREWA                                                                                   WESTLAND           MI    48185‐2807
CHESTER R VICE                                    BOX 145                                                                                         LADOGA             IN    47954‐0145
CHESTER R YANCY                                   649 N ROANOKE ST                                                                                MESA               AZ    85205
CHESTER R ZAWADZKI                                205 SOUTH COOPER ROAD                                                                           NEW LENOX          IL    60451‐1805
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 763 of 850
Name                                              Address1                             Address2             Address3          Address4          City            State Zip

CHESTER RAIMER                                    155 NORTH BRADY ST                                                                            BLAIRSVILLE     PA    15717‐1003
CHESTER RAY SR                                    18440 COCHRAN BLVD 109                                                                        PT CHARLOTTE    FL    33948‐3389
CHESTER RICHARD FRITZ                             1859 S MECHANICSBURG RD                                                                       SHIRLEY         IN    47384‐9616
CHESTER RIZZO                                     639‐74TH ST                                                                                   NIAGARA FALLS   NY    14304‐2205
CHESTER ROBINSON JR                               1713 33RD ST                                                                                  BAY CITY        MI    48708‐8712
CHESTER ROCK & CARRIE ROCK JT TEN                 3800 TANNER RD                                                                                HODGENVILLE     KY    42748‐9691
CHESTER RONAL GOYN                                58704 ME RD                                                                                   COLLBRAN        CO    81624
CHESTER ROZANSKI                                  186 WIMPOLE                                                                                   ROCHESTER       MI    48309‐2146
CHESTER S BIALORUCKI                              1301 WESTWOOD DRIVE                                                                           LORAIN          OH    44053‐3410
CHESTER S BIEGALSKI                               29465 BARTON                                                                                  GARDEN CITY     MI    48135‐2651
CHESTER S CAP                                     547 RIVERDALE AVE                                                                             LEWISTON        NY    14092‐2139
CHESTER S KILIJANEK                               6941 ROCKDALE                                                                                 DEARBORN        MI    48127‐2547
CHESTER S KOPROSKI                                34 MIRULA AVE                                                                                 ST AUGUSTINE    FL    32084‐3817
CHESTER S SMITH                                   5618 B WEST MARKET ST                                                                         GREENSBORO      NC    27409‐2413
CHESTER S VIRCHINSKI & GI JA VIRCHINSKY JT TEN    3075 ALAPOHA PL 1412                                                                          HONOLULU        HI    96818
CHESTER SCHRAM & BERNICE A SCHRAM JT TEN          2721 W BRIARWOOD                                                                              ARLINGTON HTS   IL    60005
CHESTER SIMMONS                                   39 EISEMAN AVE                                                                                BUFFALO         NY    14217‐1617
CHESTER SKUBIK & MRS MARY JO SKUBIK JT TEN        8476 WEST PARKWAY                                                                             DETROIT         MI    48239‐1158
CHESTER STALLWORTH                                PO BOX 2822                                                                                   SOUTHFIELD      MI    48037‐2822
CHESTER STANLEY SMOLAREK                          45 JESSICA LN                                                                                 DEPEW           NY    14043‐4785
CHESTER STELMACK                                  3658 SAINT CLAIR ST                                                                           RACINE          WI    53402‐3550
CHESTER SURLES                                    125 N 12TH ST                                                                                 SAGINAW         MI    48601‐1716
CHESTER T BARTLE                                  2558 CAMPBELLGATE DR                                                                          WATERFORD       MI    48329‐3118
CHESTER T BURY UNDER GUARDIANSHIP OF EUGENIE A    115 BILLINGS ROAD                                                                             QUINCY          MA    02171
BURY
CHESTER T LIPINSKI                                2421 HIDDEN CREEK CIRCLE #10                                                                  SEBRING         FL    33870‐1806
CHESTER T PAWIACZYK                               3045 PT AU GRES RD                                                                            AU GRES         MI    48703
CHESTER T PIENIOZEK                               10749 CHICKAGAMI TERRACE                                                                      BRUTUS          MI    49716‐9502
CHESTER T SADOWSKI                                22606 DALE ALLEN DRIVE                                                                        MT CLEMENS      MI    48043
CHESTER T WELDON                                  38745 PARKVIEW DR                                                                             WAYNE           MI    48184‐2811
CHESTER T WILKINSON                               6540 JENNY CT                                                                                 CEDAR HILL      MO    63016‐3003
CHESTER T WOLFE                                   2125 E CENTERVILLE RD                                                                         SPRING VALLEY   OH    45370‐9717
CHESTER TACKETTE                                  4013 RICKENBAKER ROAD                                                                         COLUMBUS        OH    43213‐2863
CHESTER TAYLOR JR                                 1871 S ETHEL                                                                                  DETROIT         MI    48217‐1652
CHESTER V GRANDSTAFF                              5201 NE 56TH ST PL                                                                            KANSAS CITY     MO    64119
CHESTER V STAFFORD                                1622 S G ST                                                                                   ELWOOD          IN    46036‐2451
CHESTER VICTOR DAESCHLER                          LOT 155                              6035 S TRANSIT RD                                        LOCKPORT        NY    14094‐6324
CHESTER W FOX JR                                  3790 HEDGESVILLE SUITE L                                                                      HEDGESVILLE     WV    25427‐6704
CHESTER W HENSLEY & VIRGINIA J HENSLEY JT TEN     RR 2 BOX 2167                                                                                 ALTON           MO    65606‐9606

CHESTER W PERRY                                   11199 SUNSET LN                                                                               HILLSBORO       OH    45133‐9793
CHESTER W POKORSKI                                13619 N 94TH DR                      APT 105                                                  PEORIA          AZ    85381‐4894
CHESTER W ROSS                                    53 HIGH VIEW TER                                                                              PLEASANTVILLE   NY    10570‐1222
CHESTER W ROSSITER JR & DIANE L ROSSITER JT TEN   33 MEADOW RD                                                                                  EDISON          NJ    08817‐5522

CHESTER W SPICER & MRS JUDITH R SPICER JT TEN     2703 MT HOLYOKE RD                                                                            COLUMBUS        OH    43221‐3424

CHESTER W SPRAGUE                                 8 SINCLAIR RD                                                                                 HAMPTON         VA    23669‐2118
CHESTER W TERHUNE                                 2629 CAMPBELL                                                                                 KANSAS CITY     MO    64108‐2731
CHESTER W YATES                                   7267 E ATHERTON ROAD                                                                          DAVISON         MI    48423‐2405
CHESTER W YATES & MRS EVELYN E YATES JT TEN       7267 E ATHERTON RD                                                                            DAVISON         MI    48423‐2405
CHESTER WHITE                                     6454 N ANGUS ST                                                                               FRESCO          CA    93710‐3803
CHESTER WICZEK & JOAN WICZEK JT TEN               8570 W 73RD PL                                                                                JUSTICE         IL    60458‐1130
CHESTER WILLIAMS                                  13535 MANSFIELD ST                                                                            DETROIT         MI    48227‐1729
CHESTER WOODMORE                                  201 BONDALE                                                                                   PONTIAC         MI    48341‐2719
CHET BATSON                                       347 WIND ROWS LAKE DR                                                                         GODDARD         KS    67052‐9408
CHET M HODGE                                      1511 GRAVEL HILL RD                                                                           COLUMBIA        TN    38401‐1345
CHET V MILLER                                     1858 WILLIAMSTOWN DR                                                                          ST PETERS       MO    63376‐8199
CHETTY B KIRBY                                    427 E 650 S                                                                                   ANDERSON        IN    46013‐9700
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                     Part 1 of 8 Pg 764 of 850
Name                                            Address1                              Address2                     Address3   Address4          City            State Zip

CHETWYN BERNARD WILLIAMS                        1530 W FOREST AVE                                                                               DETROIT         MI    48208‐2230
CHEVON BOWEN MINOR                              841 STAGHORN LN 203                                                                             NORTH AURORA    IL    60542‐1461
CHEVON KAY                                      18730 WILTSHIRE BLVD                                                                            LATHRUP VILAGE  MI    48076‐2512
CHEYENNE A JONES                                4445 CAMPBELL AVE                                                                               INDIANAPOLIS    IN    46226‐3326
CHEYENNE C NEFF                                 14830 N 61ST AVE                                                                                GLENDALE        AZ    85306‐3811
CHEYENNE CHERUBINI                              HC 1 BOX 148                                                                                    EAGLE HARBOR    MI    49950‐9737
CHHOTUBHAI PATEL                                7 DATER FARM WAY                                                                                CLIFTON PARK    NY    12065‐2631
CHI CHENG                                       391 WESTERN AVENUE                                                                              CLARENDON HLS   IL    60514‐1314
CHI D M CAT                                     328 HEDSTROM DR                                                                                 AMHERST         NY    14226
CHI K HOANG                                     3364 MIDDLEFIELD RD                                                                             PALO ALTO       CA    94306‐3048
CHI MING CHEUNG                                 2003 AVENIDA DEL CANADA                                                                         ROWLAND HEIGHTS CA    91748‐4173

CHI OMEGA HOUSE ASSOCIATION ZETA                1011 16TH STREET                                                                                BOULDER        CO     80302‐7317
CHI SHUANG SHIH                                 1 HILTON RD                                                                                     WILMINGTON     DE     19810‐4324
CHI‐HAU CHEN & MRS WANDA W CHEN JT TEN          415 BRADFORD PL                                                                                 NORTH          MA     02747‐3819
                                                                                                                                                DARTMOUTH
CHI‐HUA WANG                                    C/O FONG WANG                         140 WALDO AVE                                             PIEDMONT       CA     94611
CHI‐HUA WANG & NANCY Y WANG JT TEN              140 WALDO AVE                                                                                   OAKLAND        CA     94611
CHI‐TEH LING                                    5514 CHEENA DR                                                                                  HOUSTON        TX     77096‐5039
CHIA CHIA CHANG                                 136 ROBERTS LANE #301                                                                           ALEXANDRIA     VA     22314‐4674
CHIA HWA CHAN & KATHY W CHAN JT TEN             3015 BARCODY ROAD                                                                               HUNTSVILLE     AL     35802‐1110
CHIA M LAU & ELLEN H LAU JT TEN                 1957 WILSON                                                                                     MOUNTAIN VIEW  CA     94040
CHIA P DAY                                      36690 BLACKBERRY CIRCLE                                                                         SOLON          OH     44139‐2442
CHIA‐JENG LIU                                   BOX 128                                                                                         CRESTLINE      OH     44827‐0128
CHIANG HAI KUO & CHING FEI WU KUO JT TEN        108 W WILLIAMSBURG DR                                                                           STARKVILLE     MS     39759‐4216
CHIBONG LAU & EDNA LAU JT TEN                   2766 ESTELLA DRIVE                                                                              SANTA CLARA    CA     95051‐7003
CHIEU NGUYEN                                    927 N BRUCE PL                                                                                  ANAHEIM        CA     92801‐3210
CHIHUAHUA INVESTMENTS LP JACK C WYBENGA         2129 STONECREEK                                                                                 PLANO          TX     75075‐2937
CHILLIS W CRAWFORD                              940 SLAY RD                                                                                     SUMMIT         MS     39666‐5520
CHILOS NORRIS                                   706 W JOHN                                                                                      SPRINGFIELD    OH     45506‐3348
CHILTON M CAMMER                                PO BOX 523                                                                                      WINDHAM        NY     12496‐0523
CHIMINIELLO OIL CO INC                          360 BRIDGE STREET                                                                               NORTH WEYMOUTH MA     02191‐1141

CHIN CHEN SHEN CUST CHIA JUNG SHEN UGMA NY      17F NO 34 SECT 6 LANE 21              HSIN HAI ROAD WENSHAN DIST   TAIPEI     TAIWAN

CHIN G HING & MRS FAY YEN CHIN JT TEN           18 NEWBURY COURT                                                                                TOMS RIVER      NJ    08757‐6587
CHINBANG CHUNG                                  307 BAY RIVER WAY                                                                               SACRAMENTO      CA    95831‐2934
CHINETHA BAKER                                  3118 BATTLEMENT RD SW                                                                           DECATUR         AL    35603‐3138
CHING LEE TSANG CUST JACQUELINE TSANG UTMA NJ   8 TAYLOR RUN                                                                                    HOLMDEL         NJ    07733‐1228

CHING LEE TSANG CUST JEN JEN TSANG UTMA NJ      8 TAYLOR RUN                                                                                    HOLMDEL         NJ    07733‐1228
CHING LEE TSANG CUST JOYCE TSANG UTMA NJ        8 TAYLOR RUN                                                                                    HOLMDEL         NJ    07733‐1228
CHINH T NGUYEN                                  2157 BELDING CT                                                                                 OKEMOS          MI    48864‐3648
CHINMOY DUTTA                                   1500 YORKTOWN ST                                                                                GROSSE POINTE   MI    48236‐1038
                                                                                                                                                WOODS
CHINNIE E HILL                                  355 MIA AVE                                                                                     DAYTON          OH    45427‐2913
CHIOU‐SEN CHEN                                  2480 DARLINGTON ROW                                                                             LA JOLLA        CA    92037‐0926
CHIQUITA M MEYERS                               801 RIVERVIEW DR                                                                                KOKOMO          IN    46901
CHIQUITA V RICHARDS                             5121 PARO DR                                                                                    FLINT           MI    48506‐1525
CHIRAG SHAH                                     26 CAMELOT DR                                                                                   EDWARDSVILLE    IL    62025‐3701
CHIRSTOPHER G OPRISON                           13302 MILLTOWN ROAD                                                                             LOVETTSVILLE    VA    20180‐3550
CHISE THOMAS JR                                 4117 PROCTOR AVE                                                                                FLINT           MI    48504‐3572
CHIU S BEAKS                                    208 WEST SILVER MEADOW DRIVE                                                                    MIDWAY CITY     OK    73110‐3750
CHIUNG YU CHANG                                 44495 MIDWAY DR                                                                                 MOVI            MI    48375‐3949
CHIYOKO SHINTAKU                                2216 MENALTO                                                                                    PALO ALTO       CA    94303‐1426
CHIZUKO TSUNETA                                 1217 BALDWIN LN                                                                                 WAUCONDA        IL    60084‐3704
CHIZURU AUSTIN & MICHELE C AUSTIN JT TEN        20301 N QUEEN PALM LN                                                                           SURPRISE        AZ    85374‐5097
CHLODINE GRANT                                  1229 BROWNWOOD DRIVE                                                                            MALVERN         AR    72104‐2201
CHLOE E POLZIN                                  5580 EBRIGHT DR                                                                                 WILLIAMSTON     MI    48895‐9628
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 765 of 850
Name                                             Address1                             Address2             Address3          Address4           City            State Zip

CHLOE M GAMMON TR CHLOE M GAMMON LIVING          1493 WEST THOMPSON WAY                                                                         CHANDLER        AZ    85248
TRUST UA 03/04/98
CHLOIE M KING                                    326 PRAIRIE CIR                                                                                CARLETON        MI    48117‐9084
CHLORA M VARNUM                                  344 N SPRING CREEK CIRCLE                                                                      COBB            GA    31735‐2013
CHLORA R RUSSOM                                  6952 HWY 34 WEST                                                                               PARAGOULD       AR    72450‐7645
CHLORIS SADOCHA & HENRY S SADOCHA JT TEN         29528 DOVER                                                                                    WARREN          MI    48093‐3603
CHO S CHIN                                       1942 33RD AVE                                                                                  SAN FRANCISCO   CA    94116‐1125
CHOCRE J GIDI                                    290 EMORY CT                                                                                   CANYON LAKE     TX    78133‐4922
CHOI HEUNG LAW & KWOK W LAW JT TEN               4217 GARDEN ESTATES                                                                            TOLEDO          OH    43623‐3412
CHOI WING CHAN & YEE MEI CHUNG JT TEN            ROOM 22A BLOCK A 78A BONHAM RD                                              HONG KONG, CHINA
CHOL C CHI                                       2808 HAZEL PLACE                                                                               COSTA MESA      CA    92626‐4150
CHON T MAI                                       8855 GREENMEADOW LN                                                                            GREENDALE       WI    53129‐1550
CHONG C AN                                       3601 NORTH DONCASTER COURT                                                                     SAGINAW         MI    48603‐1896
CHONG H PARK                                     56‐45 MAIN ST WA‐200                                                                           FLUSHING        NY    11355
CHONG M MOON                                     3715 DOTY LN                                                                                   CARMEL          IN    46033‐4746
CHONG O KO                                       12916 CONIFER LN                                                                               EULESS          TX    76040‐7161
CHONG S KIM                                      14601 3RD DR SE                                                                                MILL CREEK      WA    98012‐4511
CHONG‐AE SHAH                                    8890 RHODODENDRON COURT                                                                        LORTON          VA    22079‐5689
CHONG‐NAK KIM                                    729 MUIRFIELD RD                                                                               KELLER          TX    76248‐8229
CHOR WONG                                        1367 VILLA                                                                                     BIRMINGHAM      MI    48009‐6590
CHOUCIA JACKSON                                  327 S 22ND ST                                                                                  SAGINAW         MI    48601‐1452
CHOW DON WONG                                    710 VILLAGE GREEN PARKWAY                                                                      NEWPORT NEWS    VA    23602‐7025
CHOYAN L ANG                                     6463 POWHATAM DR                                                                               HAYES           VA    23072‐3220
CHOYAN L ANG CUST JONATHAN L ANG UTMA VA         6463 POWHATAM DRIVE                                                                            HAYES           VA    23072‐3220
CHRESOULA P MC GRAW & WAYNE A MC GRAW JT TEN     2400 SCHOOL STREET                                                                             ROLLING MEADOWS IL    60008‐1510

CHRIS A ADOLF                                    5614 BATH RD                                                                                   BANCROFT        MI    48414‐9762
CHRIS A BAUER                                    3045 OAKMONT DR                                                                                LAPEL           IN    46051‐9544
CHRIS A COPPOCK                                  5926 S 400 E                                                                                   MARION          IN    46953‐9500
CHRIS A DEHETRE                                  3520 S CENTINELA AVE #6                                                                        LOS ANGELES     CA    90066‐2738
CHRIS A EDDY                                     865 RANDALL                                                                                    TROY            MI    48098‐4849
CHRIS A FITZGERALD                               726 RUFFNER                                                                                    BIRMINGHAM      MI    48009‐3661
CHRIS A GULICK                                   2418 US RTE 5 S                                                                                FAIRLEE         VT    05045‐9771
CHRIS A HOWES                                    445 MYERS RD                                                                                   LAPEER          MI    48446‐3155
CHRIS A JOHANSEN                                 321 WOODHAVEN DR                                                                               ORLAND          CA    95963‐2307
CHRIS A KORTAS                                   8525 PACTON                                                                                    UTICA           MI    48317‐3327
CHRIS A KOZLOWSKI                                24906 S SYLBERT DR                                                                             REDFORD         MI    48239‐1642
CHRIS A MARSHALL                                 9339 PEAKE RD                                                                                  PORTLAND        MI    48875‐8480
CHRIS A MAST & TENNA L MAST JT TEN               RR 1 BOX 348‐A                                                                                 FRANKTON        IN    46044‐9680
CHRIS A MCCARTY                                  4291 FOX MEADOW                                                                                BAY CITY        MI    48706‐1814
CHRIS A RUIZ                                     2130 NEW COLUMBIA HW                                                                           LEWISBURG       TN    37091‐6726
CHRIS A SCHULTZ                                  510 W MAIN ST                                                                                  DEWITT          MI    48820‐9501
CHRIS A TEBICS                                   55 MADRID AVE                                                                                  BROOKVILLE      OH    45309‐1225
CHRIS A THOROMAN                                 423 HATTIE ST                                                                                  GRAND BLANC     MI    48439‐1279
CHRIS A TURNER                                   1229 SHADY GROVE ROAD                                                                          NATCHITOCHES    LA    71457‐6941
CHRIS A WOLF                                     838 PALMS RD                                                                                   BLOOMFIELD      MI    48304‐1908
CHRIS ACCIVATTI                                  37195 ILENE DR                                                                                 CLINTON TWP     MI    48036‐2572
CHRIS ALLEN                                      5040 SOLERO WAY                                                                                SALIDA          CA    95368‐9081
CHRIS ANN ADAMS & TOMMIE LEE ADAMS JT TEN        161 DWIGHT AVE                                                                                 PONTIAC         MI    48341‐1277
CHRIS ANN HENNESSEE & LARRY HENNESSEE JT TEN     11550 ELMS RD                                                                                  BIRCH RUN       MI    48415‐8462

CHRIS ANN MC MICKENS TORRY                       2146 E SESAME ST                                                                               TEMPE           AZ    85283‐2453
CHRIS B PARGOFF TR UA 11/13/78 CHRIS B PARGOFF   PO BOX 225                                                                                     NOVI            MI    48376‐0225
TRUST
CHRIS C DANNER                                   1551 EDWARD AVE SE                                                                             GRAND RAPIDS    MI    49507‐2218
CHRIS C HUA                                      230 N GREENWOOD AVE                                                                            PARKRIDGE       IL    60068‐3229
CHRIS C MELE                                     191 LUCRETIA LN                                                                                COLUMBIANA      OH    44408‐8460
CHRIS C UNGER                                    14080 ALEXANDER RD                                                                             WALTON HILLS    OH    44146
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 766 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

CHRIS CAMPOS & MRS JUNE ADELE CAMPOS JT TEN       121 CHESTNUT ST                                                                                 ENGLEWOOD CLIFFS NJ     07632‐1918

CHRIS COLLIAS                                     730 W HURON                                                                                     PONTIAC           MI    48341‐1527
CHRIS D BEUKEMA                                   201 CRESTWOOD DRIVE                                                                             LIBERTY           SC    29657‐9136
CHRIS D KISH                                      8317 FOUNTAIN PARK DR                                                                           RALEIGH           NC    27613‐5298
CHRIS D MINTON                                    3483 E COUNTY ROAD 350 S                                                                        DANVILLE          IN    46122‐8418
CHRIS D RAFAILL & ANGELYNN V RAFAILL JT TEN       4315 CHERRY HILL DRIVE                                                                          ORCHARD LAKE      MI    48323‐1609
CHRIS D SEARS & AMANDA BARKER JT TEN              PO BOX 45                                                                                       BASCOM            OH    44809‐0045
CHRIS D SEVERSE & RENEE SEVERSE JT TEN            1721 DIEFFENBACH RD                                                                             EVANSVILLE        IN    47720‐3352
CHRIS D SHIMER                                    2773 MOUNTAIN RD                                                                                MANHEIM           PA    17545‐9563
CHRIS DEL MORONE                                  PO BOX 338                                                                                      FLINT             MI    48501‐0338
CHRIS DEMOPULOS                                   331 JANIE LANE                                                                                  SHREVEPORT        LA    71106‐6028
CHRIS E BOREN & SUSAN A BOREN JT TEN              10625 PEACH AVE                                                                                 CALIF CITY        CA    93505‐5305
CHRIS E FENIMORE                                  5816 EAGLE CREEK DR                                                                             FT WAYNE          IN    46804‐3206
CHRIS E FURDERER                                  2016 MILL RUN LN                                                                                BELLBROOK         OH    45305‐2202
CHRIS E HELZER                                    4935 MARY SUE                                                                                   CLARKSTON         MI    48346‐3919
CHRIS E WILLIS                                    2027 S FLAGLER AV                                                                               FLAGLER BEACH     FL    32136‐3953
CHRIS F ESDALE                                    631 NESTING LN                                                                                  MIDDLETOWN        DE    19709‐6129
CHRIS G WALLACE                                   4398 S R 38 W                                                                                   SHERIDAN          IN    46069‐9603
CHRIS GAGNON                                      10330 BLUE CLAWS LN                                                                             LAS VEGAS         NV    89135‐1099
CHRIS GARCIA                                      14544 INGRAM ST                                                                                 LIVONIA           MI    48154‐3556
CHRIS H BENTLEY                                   10740 MAHAN DR                                                                                  TALLAHASSEE       FL    32308‐7610
CHRIS H FELKNOR                                   98 TWILL VALLEY DR                                                                              ST PETERS         MO    63376‐6566
CHRIS H HATCH                                     3526 DEER CHASE                                                                                 WILLIAMSPORT      TN    38487‐2168
CHRIS H TAUTE                                     3376 NORTH KIRBY RD                                                                             OWOSSO            MI    48867‐9672
CHRIS HENSLEY                                     160 STEPHEN CT                                                                                  KYLE              TX    78640
CHRIS I MC CARTHY                                 2336 KALAMAZOO RIVER DR                                                                         NAPERVILLE        IL    60565‐6327
CHRIS J BALOG                                     6164 VASSAR RD                                                                                  GRAND BLANC       MI    48439‐9735
CHRIS J BREDESON CUST NICHOLAS S BREDESON UGMA    3700 LARKWOOD COURT                                                                             BLOOMFIELD        MI    48302
MI
CHRIS J COPP                                      PO BOX 253                                                                                      LUCASVILLE        OH    45648‐0253
CHRIS J KLASSEN                                   PO BOX 418                                                                                      SILVANA           WA    98287‐0418
CHRIS J KOSIRAS                                   2038 SILVERWOOD DR                                                                              NEWTON            PA    18940‐9401
CHRIS J LOBERG                                    8860 SW 171 ST AVE                                                                              BEAVERTON         OR    97007‐6455
CHRIS J NICKS                                     1302 EAST ROAD 3                                                                                EDGERTON          WI    53534‐9033
CHRIS J POULOS                                    795 THAYER BLVD                                                                                 NORTHVILLE        MI    48167‐1329
CHRIS JOHN HUTTEMAN                               1215 LAKE RD                                                                                    WEBSTER           NY    14580‐9001
CHRIS JOSEPH HAJEK & RHONDA DIANE HAJEK JT TEN    10234 ALLAN RD                                                                                  NEW LOTHROP       MI    48460‐9746

CHRIS K COCHRAN                                   53061 KYLE CT                                                                                   SHELBY TWP        MI    48315‐2017
CHRIS K HAJDUK                                    1534 OLD BRIDGE COURT                                                                           CANTON            MI    48188‐1241
CHRIS K MANTJIOS                                  3735 DEER SPRINGS DR                                                                            ROCHESTER HILLS   MI    48306‐4732
CHRIS KARAGIANNIS & VASILIKI KARAGIANNIS JT TEN   10513 LORI LN                                                                                   PALOS HILL        IL    60465‐2042

CHRIS KOSMENKO                                    10018 84 ST                            PEACE RIVER AB                         T8S 1N3 CANADA
CHRIS L ABERNATHY                                 2205 DAKOTA ST                                                                                  NORMAN            OK    73069‐6509
CHRIS L BOLGER                                    3160 WEIGL RD                                                                                   SAGINAW           MI    48609‐9791
CHRIS L BRUMM                                     4328 W VERMONTVILLE HWY                                                                         CHARLOTTE         MI    48813‐8882
CHRIS L HAWKINS CUST MARIA E HAWKINS UTMA CA      931 DALE CT                                                                                     SAN MARCOS        CA    92069‐2142

CHRIS L KELLER                                    312 CHERRY STREET                                                                               WRIGHTSVILLE      PA    17368‐1229
CHRIS L SMITH                                     PO BOX 235                                                                                      JACKSON           GA    30233‐0006
CHRIS LEDFORD                                     29 WEST BURNS AVE                                                                               AKRON             OH    44310‐1306
CHRIS LEE CARTER                                  18 FERROL CT                                                                                    SAN RAMON         CA    94583‐2134
CHRIS LEE SHELBY                                  BOX 743                                                                                         LEBANON           IN    46052‐0743
CHRIS LENT                                        7 JERRY LN                                                                                      GLEN COVE         NY    11542‐3231
CHRIS M ALTEMANN                                  430 WILLOW TREE LN                                                                              ROCHESTER         MI    48306‐4253
CHRIS M COPPOLA                                   58 KYLE DR                                                                                      PHILLIPSBURG      NJ    08865‐7313
CHRIS M DEMURO                                    16606 S 38TH PLACE                                                                              PHOENIX           AZ    85048
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 767 of 850
Name                                               Address1                               Address2             Address3          Address4          City               State Zip

CHRIS M HANDLEY                                    140 ETOWAH TRCE                                                                                 FAYETTEVILLE       GA    30214‐5902
CHRIS M HENSLEY                                    6046 SLADE RD                                                                                   NORTH PORT         FL    34287‐2234
CHRIS M VAN WYCK                                   2103 MILES                                                                                      LAPEER             MI    48446‐8080
CHRIS MARTINKOVIC & PAM MARTINKOVIC JT TEN         5930 KYLES STATION RD                                                                           HAMILTON           OH    45011‐8418

CHRIS MAVRONAS                                     1128 BUTTON BUSH CT                                                                             PORT ORANGE      FL      32129
CHRIS MAZZOLA                                      16120 WROTHAM CT                                                                                CLINTON TOWNSHIP MI      48038‐4090

CHRIS MCKINNEY                                     219 KEEFER ST                                                                                   WILLARD            OH    44890‐1162
CHRIS MICHAEL CHINNI                               1008 EMBER LN                                                                                   SPRING GROVE       IL    60081‐8292
CHRIS MIDDLETON                                    517 LINDLY                                                                                      GRAND PRAIRIE      TX    75052‐3415
CHRIS MUKDSI                                       1367 SUN TERRACE                                                                                FLINT              MI    48532‐2242
CHRIS MULLANE                                      7084 LISBON RD                         PO BOX 468                                               LISBON             OH    44432‐0468
CHRIS MURRAY                                       PO BOX 1676                                                                                     FORTSON            GA    31808‐1676
CHRIS N BOURNIAS                                   46801 PINE VALLEY DR                                                                            MACOMB             MI    48044‐5722
CHRIS N SEVERUD                                    25 FIELDSTONE DR                                                                                LONG VALLEY        NJ    07853‐3210
CHRIS N TRIVELAS                                   600 ASHLAND AVE                                                                                 RIVER FOREST       IL    60305‐1827
CHRIS NIKIAS                                       1512 PALISADE AVE APT 7H                                                                        FORT LEE           NJ    07024‐5311
CHRIS O BRIEN                                      570 LLOYD ROAD                                                                                  TOMS RIVER         NJ    08753‐6088
CHRIS O'BRIEN                                      4957 AMINA LN                                                                                   LINCOLN            CA    95648‐9701
CHRIS OPIPARI                                      107 ECKLIN LN                                                                                   CARY               NC    27519‐9520
CHRIS P LUDWICK                                    10 ANNE BOLEYN CT                                                                               MABLETON           GA    30126‐1487
CHRIS P MESTRICH & MARLENE MESTRICH JT TEN         1421 JEROME                                                                                     ASTORIA            OR    97103‐3831
CHRIS PALMIERI                                     25 REDWOOD CIRCLE                                                                               PEMBROKE           MA    02359‐3734
CHRIS PAPAS                                        196 PINEWOOD RD                                                                                 TOMS RIVER         NJ    08753‐2582
CHRIS PAPAS & ZOE PAPAS JT TEN                     7224 WOODSIDE DR                                                                                STOCKTON           CA    95207‐1551
CHRIS PFANSTIEL                                    BOX 640                                                                                         JEFFERSONVILLE     NY    12748‐0640
CHRIS PICARD                                       181 GRANDPRE CT                        NAVAN ON                               K4B 1K3 CANADA
CHRIS R CONRAD                                     5215 GRAYSTONE                                                                                  HOUSTON            TX    77069‐3319
CHRIS R CORBY                                      N75 W15222 COLONY ROAD                                                                          MENOMONEEFLS       WI    53051‐4502
CHRIS R TOMPKINS                                   714 S SEVENTH ST                                                                                ANN ARBOR          MI    48103‐4765
CHRIS RAYMOND JUNG                                 1500 E LOWDEN LANE                                                                              MT PROSPECT        IL    60056‐2710
CHRIS REISIG                                       430 EAST GRAND RIVER                                                                            WILLIAMSTON        MI    48895
CHRIS ROZYCKI                                      54 LOGANS WAY                                                                                   HOPEWELL JCT       NY    12533
CHRIS SCHRADER                                     2964 LAWRENCE DR                                                                                WANTAGH            NY    11793‐1049
CHRIS SHARMAN CUST CALEB SHARMAN UTMA VA           9607 CHAPEL HILL DR                                                                             BURKE              VA    22015

CHRIS SHERWIN                                      41 MURRAY ROAD                                                                                  CHURCHVILLE        PA    18966‐1732
CHRIS SMITH CUST CASEY JEAN SMITH UTMA OH          7509 W STATE ROUTE 95                                                                           FREDERICKTOWN      OH    43019‐9403
CHRIS SMITH CUST CASEY JEAN SMITH UTMA OH          7509 W STATE ROUTE 95                                                                           FREDERICKTOWN      OH    43019‐9560
CHRIS SOVEREIGN                                    1730 ENNEN DR                                                                                   RAPID CITY         SD    57703
CHRIS STERIOUS JR & DESPE STERIOUS TEN ENT         4 PINE DR                                                                                       CHESTER SPRINGS    PA    19425‐3122
CHRIS T CHIGARIDAS                                 971 GOLDEN CREST AVE                                                                            NEWBURY PARK       CA    91320‐5817
CHRIS T CHIGARIDAS TR UA 03/22/94 CHIGARIDAS       971 GOLDEN CREST AVE                                                                            NEWBURY PARK       CA    0ZZZZ
FAMILY TRUST
CHRIS TALIAFERRO & SLONE TALIAFERRO JT TEN         9339 FM 2451                                                                                    SCURRY             TX    75158
CHRIS TEPOOL                                       212 CALLE DEL PRADO                                                                             EVANSVILLE         IN    47712‐2733
CHRIS THOMAS                                       36 CABANA WAY                                                                                   DALLAS             GA    30132
CHRIS V BORKOWSKI TR CHRIS V BORKOWSKI LIV TRUST   1016 CIMARRON CIR                                                                               ROANOKE            TX    76262‐6886
UA 06/05/98
CHRIS VAUGHN                                       PO BOX 1537                                                                                     HAVRE              MT    59501‐1537
CHRIS VELS                                         28565 HERRERA ST                                                                                VALENCIA           CA    91354
CHRIS W RIDGELL                                    7273 DANBROOKE                                                                                  W BLOOMFIELD       MI    48322‐2929
CHRIS WHITEHURST                                   30 W 41ST ST                                                                                    ANDERSON           IN    46013‐4312
CHRIS WILLIAM KALTHOFF                             316 EAST SUNSET DR                                                                              ROSCOMMON          MI    48653
CHRISANNE PHILLIPS                                 ATTN CHRISANNE PHILLIPS DAHDUL         96 CEDAR WOODS GLN                                       WEST SPRINGFIELD   MA    01089‐1637

CHRISI A HAZELTON                                  1100 JASMINE                                                                                    DENVER             CO    80220
CHRISLYNN WINTERS                                  1813 OLD MILL RD                                                                                WALL               NJ    07719
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32       Exhibit E
                                                                                       Part 1 of 8 Pg 768 of 850
Name                                              Address1                              Address2                      Address3   Address4          City             State Zip

CHRISS A OWEN                                     139 SCHOLAR ROAD                                                                                 GUYTON           GA    31312‐6249
CHRISSANDRA SMITH                                 PO BOX 8456                                                                                      WASHINGTON DC    DC    20032‐8456
CHRIST A KALIVAS                                  34 PATRICIA RD                                                                                   PEABODY          MA    01960‐2229
CHRIST A REPPUHN                                  5014 DAVISON RD                                                                                  LAPEER           MI    48446‐3529
CHRIST CHURCH EPISCOPAL                           PO BOX 457                                                                                       TRACY CITY       TN    37387‐0457
CHRIST CHURCH MIDDLESEX                           PO BOX 15                             CHRISTIANA MANCHESTER         WI         JAMAICA
CHRIST CHURCH PRESERVATION TRUST                  20 N AMERICAN ST                                                                                 PHILADELPHIA     PA    19106
CHRIST EVANGELICAL LUTHERAN CHURCH                124 S 13TH ST                                                                                    HARRISBURG       PA    17104‐1050
CHRIST J RAPTOPLOUS                               56783 LONGHORN DR                                                                                SHELBY TWP       MI    48316
CHRIST KEMPERAS & MRS NIKI KEMPERAS JT TEN        10308 S LA CROSSE                                                                                OAKLAWN          IL    60453‐4737
CHRIST LUTHERAN CHURCH                            99 WISCONSIN AVE                                                                                 COCHRANE         WI    54622‐7352
CHRIST P STERGIOS & CHRIST M STERIOS JT TEN       11801 S CAMPBELL AVE                                                                             CHICAGO          IL    60655‐1521
CHRIST UNITED METHODIST CHURCH                    RALPH A HIGGINBOTHAM                  6000 OLD CANTON RD                                         JACKSON          MS    39211
CHRISTA A BACK                                    6924 BEATTYVILLE RD                                                                              JACKSON          KY    41339‐9115
CHRISTA A BRINSON                                 1633 N LARCHMONT DR                                                                              SANDUSKY         OH    44870‐4320
CHRISTA ANN KIEFER                                9654 DICK ROAD                                                                                   HARRISON         OH    45030‐9748
CHRISTA B ARNETT                                  1038 LOWES LN                                                                                    IRON STATION     NC    28080‐9647
CHRISTA D RICCO & JAMES M RICCO JT TEN            1322 MARTIN DR                                                                                   FRANKFORT        MI    49635‐9763
CHRISTA L KING                                    3737 MCCANDLESS RD                                                                               COLUMBIA         TN    38401‐8423
CHRISTA L KNECHTEL                                PO BOX 791                                                                                       LIBERTYVILLE     IL    60048‐0791
CHRISTA M WARD                                    PO BOX 10672                                                                                     SOUTH LAKE TAHOE CA    91358

CHRISTA MARY MINGES                               1656 MILLVILLE‐SHANDON ROAD                                                                      HAMILTON         OH    45013‐9589
CHRISTA MOELLER & KURT F W MOELLER JT TEN         23401 CANZONET ST                                                                                WOODLAND HILLS   CA    91367‐6014

CHRISTA T HUGHES CUST DYLAN S IRVINE              17 HEARTHSTONE CRESCENT               COURTICE ON                              L1E 2X7 CANADA
CHRISTA T IRVINE CUST REANNA N IRVINE A MINOR     17 HEARTHSTONE CRESCENT               COURTICE ON                              L1E 2X7 CANADA

CHRISTALYN M BEANE SIMPSON & PATRICK K SIMPSON    4200 SHOSHONI AVE                                                                                ANCHORAGE        AK    99516‐3637
JT TEN
CHRISTANNA M STEVENSON & ROBERT LEE STEVENSON     1711 S LAUREL DR                                                                                 MARION           IN    46953‐2906
JT TEN
CHRISTANNA STEVENSON                              1711 SOUTH LAUREL DRIVE                                                                          MARION           IN    46953‐2906
CHRISTANNE S TRAXLER                              6209 N 800 W                                                                                     SHARPSVILLE      IN    46068‐9236
CHRISTEEN DYSON                                   1505 PARC MAIN ST                                                                                LAWRENCEVILLE    GA    30045‐4009
CHRISTEEN M BRYANT                                597 COLORADO                                                                                     PONTIAC          MI    48341‐2522
CHRISTEEN N WILSON                                10842 61ST AVE                                                                                   SEMINOLE         FL    33772‐6831
CHRISTEEN VEJNOVICH & DAVID VEJNOVICH JT TEN      849 SEABROOKE COURT                                                                              ENGLEWOOD        FL    34223

CHRISTEL C HALPIN                                1212 RAINTREE DRIVE UNIT J 187                                                                    FORT COLLINS     CO    80526‐1871
CHRISTEL E PAWLAS                                1120 BEACON PKWY E #305                                                                           BIRMINGHAM       AL    35209
CHRISTEL E PAWLAS & VERA SINARS JT TEN           1120 BEACON PKWY E APT 305                                                                        BIRMINGHAM       AL    35209
CHRISTEL JOHNSON                                 5616 PRESTON OAKS #303                                                                            DALLAS           TX    75240‐8470
CHRISTEL K BUCHMANN                              3101 E TRENTON AVE                                                                                ORANGE           CA    92867‐4439
CHRISTEL WATSON TURNER                           3161 DOGWOOD DR                                                                                   EAST POINT       GA    30344‐3951
CHRISTELL H MITCHELL                             1990 VENETIAN DR SW                                                                               ATLANTA          GA    30311‐4042
CHRISTELLA M ANDERSON                            PO BOX 73290                                                                                      LOS ANGELES      CA    90003‐0290
CHRISTELLE H SWAEN                               4915 SAMISH WAY #31                                                                               BELLINGHAM       WA    98226‐8947
CHRISTEN A OPPERMAN                              1679 CHARTWELL DR                                                                                 CENTERVILLE      OH    45459‐1463
CHRISTEN J PECK                                  406 ADA LANE                                                                                      CLEMMONS         NC    27012
CHRISTEN J WEGENER                               C/O SCOTT R HODGES                     1550 BRYANT ST #739                                        SAN FRANCISCO    CA    94103‐4858
CHRISTEN ROBINSON                                853 LEE DR                                                                                        ORRVILLE         OH    44667‐2328
CHRISTENE MARIE FOSTER CUST ANDREW COLLINS       120 CIVITAS ST                                                                                    MT PLEASANT      SC    29464‐2668
FOSTER UTMA MD
CHRISTENE MARIE FOSTER CUST QUINN PATRICK FOSTER 120 CIVITAS ST                                                                                    MT PLEASANT      SC    29464‐2668
UTMA MD
CHRISTI E CURTISS                                ATTN CHRISTI E DEDONA                  177 JUNIPER CREEK BOULEVARD                                PINEHURST        NC    28374‐6806
CHRISTI E DEDONA                                 PO BOX 3788                                                                                       PINEHURST        NC    28374‐3788
CHRISTI E MURRELL                                6451 S BUTTE AVE                                                                                  TEMPE            AZ    85283‐3960
                                              09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                   Part 1 of 8 Pg 769 of 850
Name                                            Address1                            Address2                  Address3             Address4          City              State Zip

CHRISTI HULLS                                    1000 SOUTH SUMMIT VIEW DRIVE                                                                        FORT COLLINS      CO    80524‐8435
CHRISTI J FRAZIER                                3685 FOX                                                                                            INKSTER           MI    48141‐2022
CHRISTI L DAVIS                                  3412 WOODSIDE DR                                                                                    ARLINGTON         TX    76016‐2363
CHRISTIAN A BROWN                                5549 RIDGE ROAD                                                                                     CORTLAND          OH    44410‐9787
CHRISTIAN A KELLER                               502 CAULK ROAD                                                                                      MILFORD           DE    19963‐2902
CHRISTIAN A WEHLUS                               8136 S NEW ENGLEAND                                                                                 BURBANK           IL    60459‐1636
CHRISTIAN B KRUSE & DONALD F KRUSE JT TEN        4349 OAKDALE ST                                                                                     GENESEE           MI    48437
CHRISTIAN B OBERHOLSER & EILEEN K OBERHOLSER TEN 218 ASH RD                                                                                          COATESVILLE       PA    19320‐1190
COM
CHRISTIAN B SMITH                                2408 SHALLEY DR                                                                                     TALLAHASSEE       FL    32309
CHRISTIAN BIRKELAND                              9600 PINE                                                                                           TAYLOR            MI    48180‐3435
CHRISTIAN BRAREN                                 3871 MT VIEW DRIVE                                                                                  DANIELSVILLE      PA    18038‐9746
CHRISTIAN C LAHTI                                5794 DENALI ST                                                                                      KALAMAZOO         MI    49009‐6705
CHRISTIAN C STAWINSKI                            550 W SNELL RD                                                                                      ROCHESTER         MI    48306‐1729
CHRISTIAN C STAWINSKI & KATHERINE N STAWINSKI JT 550 W SNELL RD                                                                                      ROCHESTER         MI    48306‐1729
TEN
CHRISTIAN CAPUTO                                 166 HAMPTON VISTA DR                                                                                MANORVILLE        NY    11949‐2861
CHRISTIAN CARE CENTER INC                        C/O MADISON CHURCH OF CHRIST       106 N GALLATIN RD                                                MADISON           TN    37115‐3702
CHRISTIAN COOPER                                 5832 CREEKSIDE LANE                                                                                 ROCKFORD          IL    61114‐6466
CHRISTIAN CRONBERG                               473 N DIJON CT                                                                                      TUCSON            AZ    85748‐1946
CHRISTIAN D ANDERSON                             429 LYON COURT                                                                                      SOUTH LYON        MI    48178‐1239
CHRISTIAN D MAY                                  PO BOX 2185                                                                                         REDWAY            CA    95560‐2185
CHRISTIAN D MCCANN                               MACELROY RD 658                                                                                     BALLSTON LAKE     NY    12019‐2202
CHRISTIAN D PIERMAN                              3881 GNAT GROVE ROAD                                                                                CORNERSVILLE      TN    37047‐5245
CHRISTIAN D VANBROCKLIN                          2538 SUNSET DRIVE                                                                                   BELOIT            WI    53511‐2355
CHRISTIAN E JENSEN JR                            345 OLD RIVER RD                                                                                    MAYS LANDING      NJ    08330‐1641
CHRISTIAN E TEDSEN & KATHLEEN R TEDSEN JT TEN    46813 FOX RUN DR                                                                                    MT CLEMENS        MI    48044‐3464

CHRISTIAN F MANTZ                               80 PALACE DRIVE                                                                                      WEST CARLTON      OH    45449‐1951
CHRISTIAN F NIELSEN & MARY E NIELSEN JT TEN     VENTURE OUT #993                    5001 E MAIN ST                                                   MESA              AZ    85205‐8008
CHRISTIAN FISCHER                               1063 SCATLETT DR                                                                                     CROSSVILLE        TN    38555
CHRISTIAN FRANCO                                5691 BOXWOOD DRIVE                                                                                   LORAIN            OH    44053
CHRISTIAN FREY                                  GENERAL MOTORS EUROPE AG            PO BOX STELZENSTRASSE 4   CH 8152 GLATTBRUGG   SWITZERLAND
CHRISTIAN G BLAKE                               158 BRENTWIL BLVD                                                                                    LINN CREEK        MO    65052‐2219
CHRISTIAN G TAIT                                500 LEYLAND LN                                                                                       ANNAPOLIS         MD    21401‐5521
CHRISTIAN GIBBS GARDNER                         4412 CHIPPOKE RD                                                                                     CHESTER           VA    23831
CHRISTIAN GORM LARSEN                           9015 PRENTICE AVE                                                                                    GIG HARBOR        WA    98332‐1033
CHRISTIAN GRUPE                                 ADAM OPEL AG                        IPC A5‐02 D‐65423         RUSSELSHEIM GERMA    GERMANY
CHRISTIAN H BRANSON                             RR 2 BOX 145B                                                                                        KEYSER            WV    26726‐9232
CHRISTIAN H BURKHARD                            5234 OHIO ST                                                                                         VERMILION         OH    44089‐1337
CHRISTIAN H REDELL & MARIA W REDELL JT TEN      BOX 30803                                                                                            CHARLESTON        SC    29417‐0803
CHRISTIAN J BACH                                1722 ROMINE AVENUE                                                                                   MCKEESPORT        PA    15133‐3325
CHRISTIAN J BRANDT                              8168 PENINSULAR                                                                                      FENTON            MI    48430‐9119
CHRISTIAN J KILPATRICK                          20 WEST BEECH                                                                                        ALLIANCE          OH    44601‐5213
CHRISTIAN JONES                                 17410 91ST AVE CT E                                                                                  PUYALLUP          WA    98375
CHRISTIAN KLEMENCIC                             119 WAVERLEY RD                     BOWMANVILLE ON                                 L1C 1L2 CANADA
CHRISTIAN LEE MITCHELL                          638 S ALPHA BELLBROOK RD                                                                             BELLBROOK         OH    45305‐9709
CHRISTIAN M BROWN                               3557 IRIS STREET                                                                                     WILMINGTON        NC    28409‐3297
CHRISTIAN M CORYELL                             1136 IVY LN                                                                                          BEAUMONT          TX    77706‐6119
CHRISTIAN M KEMMERLING                          1467 SOUTH STEARNS DR                                                                                LOS ANGELES       CA    90035
CHRISTIAN M MARKWORT                            2790 WALBRIDGE DR                                                                                    ROCHESTER HILLS   MI    48307‐4456
CHRISTIAN MARTINI                               WEVERSTRASSE 8A D‐13595             BERLIN                                         GERMANY
CHRISTIAN MCGILLEN                              3220 1ST ST N                                                                                        ARLINGTON         VA    22201‐1035
CHRISTIAN MICHAEL QUAAL                         5225 OLD HWY 14                                                                                      SUNDANCE          WY    82729‐9710
CHRISTIAN MOELLER                               3773 MOUNTAIN LAUREL BLVD                                                                            OAKLAND           MI    48363
CHRISTIAN P SCHACHT                             C/O FLORENCE SCHACHT                12 BALCH AVE                                                     GROVELAND         MA    01834‐1303
CHRISTIAN PHILLIPS                              1933 SOUTH BARKSDALE ST                                                                              MEMPHIS           TN    38114‐4504
CHRISTIAN R KESSLER                             24020 TIMBERSET CT                                                                                   LUTZ              FL    33559‐6729
CHRISTIAN R MINOR CUST BREANNA R UGMA MI        1959 MORTENSON BLVD                                                                                  BERKLEY           MI    48072‐1701
                                              09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 770 of 850
Name                                                Address1                               Address2             Address3          Address4          City              State Zip

CHRISTIAN RANDEL PETERSEN                           1312 STONEY HILL DR                                                                             FORT COLLINS      CO    80525‐1298
CHRISTIAN S REDDY                                   70 ANNANDALE RD                                                                                 CHAPPAQUA         NY    10514‐1814
CHRISTIAN S RUBRICH                                 19404 ELKHART                                                                                   HARPER WOODS      MI    48225‐2163
CHRISTIAN SIZEMORE                                  3550 HOLLIGLEN DR                                                                               MARIETTA          GA    30062‐1147
CHRISTIAN STONE VANHORN                             226 THIRD ST                                                                                    DALTON            PA    18414‐9135
CHRISTIAN T NIIARYEE                                809 UTA BLVD                                                                                    ARLINGTON         TX    76013‐6933
CHRISTIAN T WEBSTER & CHERYL M JENKINS TEN COM      226 TRUMBULL SE                                                                                 WARREN            OH    44483‐6335

CHRISTIAN V HANSEN                               770 ROAD 20 NE                                                                                     MANSFIELD         WA    98830‐9724
CHRISTIANA UNITED METHODIST CHURCH               21 W MAIN ST                                                                                       CHRISTIANA        DE    19702‐1504
CHRISTIANE NASSAN & ZOUHEIR NASSAN TR UA 7/15/97 519 E MONTOYA BLVD                                                                                 GALLUP            NM    87301‐5045
THE NASSAN REV TRUST
CHRISTIE A HUCKER                                C/O CHRISTIE A ARMSTRONG                  113 E 2ND ST                                             BYRON             IL    61010‐8957
CHRISTIE A MARTIN                                8401 KINGSGATE RD                                                                                  POTOMAC           MD    20854‐1741
CHRISTIE ANN BIRCH                               27511 GRANT                                                                                        ST CLAIR SHORES   MI    48081‐1749
CHRISTIE ANN BUSSJAEGER                          3252 VINOY PLACE                                                                                   SARASOTA          FL    34239‐6631
CHRISTIE FIX                                     730 19TH AVE                                                                                       SEATTLE           WA    98122‐4722
CHRISTIE HARPER                                  4943 E RIVER ROAD                                                                                  GRAND ISLAND      NY    14072‐1134
CHRISTIE K DAVIS                                 38927 VISTA DR                                                                                     CATHEDRAL CITY    CA    92234‐2156
CHRISTIE L CHRISTENSON                           1541 SYLVESTER ST                                                                                  JANESVILLE        WI    53546‐6043
CHRISTIE M HARRIS                                171 RIVER RD                                                                                       WEST NEWBURY      MA    01985‐1103
CHRISTIE M MEDINA                                5117 GREENLEAF DR                                                                                  NASHVILLE         TN    37211‐6030
CHRISTIE MURPHY CUST JOSHUA THOMAS MURPHY        4130 HAMPTON RIDGE BLVD                                                                            HOWELL            MI    48843‐5503
UTMA MI
CHRISTIE S FIX                                   730 19TH AVE                                                                                       SEATTLE           WA    98122‐4722
CHRISTIINE M QUATELA CUST BRENNAN M QUATELA      524 SPRING MEADOW LANE                                                                             WEBSTER           NY    14580‐1788
UGMA NY
CHRISTIN LOPEZ‐JORDAN                            1863 W 47TH STREET                                                                                 CLEVELAND         OH    44102‐3411
CHRISTIN M GELHAAR                               133 ARNOLD CT                                                                                      DOUSMAN           WI    53118‐8848
CHRISTIN M KIRBY                                 3038 BRISBANE                                                                                      WALLED LAKE       MI    48390‐1116
CHRISTIN MCCLEESE                                5105 MAYBEE ROAD                                                                                   CLARKSTON         MI    48346‐4338
CHRISTIN P SIEGELE CUST ROBERT L SIEGELE UGMA MI 4088 SHOALES DR                                                                                    OKEMOS            MI    48864‐3467

CHRISTINA A GRIWACH                                 16306 EASTERN AVE                                                                               BELTON            MO    64012‐4678
CHRISTINA A NULSEN                                  274 PENROD RD                                                                                   TROY              MO    63379‐4772
CHRISTINA A SCHAFFER                                1545 NORTH HARRISON                                                                             EAST LANSING      MI    48823‐1801
CHRISTINA ANNE D'AMICO                              22 SONGBIRD LN                                                                                  ALISO VIEJO       CA    92656‐1203
CHRISTINA BORG                                      APT 8B                                 25 WEST 81 ST                                            NEW YORK          NY    10024‐6023
CHRISTINA C E NEILS                                 7 HARTER LANE                                                                                   RHINEBECK         NY    12572‐3372
CHRISTINA CACCIATORE & MARY C PASTORELLA JT TEN     100 COLE LANE APT 201                                                                           LAWRENCEVILLE     NJ    08648‐2686

CHRISTINA CARTER GILBERT & JAMES A GILBERT JT TEN   194 N HIGHLAND AVE                                                                              AKRON             OH    44303‐1504

CHRISTINA CARTER GILBERT CUST KATHERINE CLAIRE      194 N HIGHLAND                                                                                  AKRON             OH    44303‐1504
GILBERT UTMA OH
CHRISTINA CARTER GILBERT CUST QUINTON JAMES         194 N HIGHLAND                                                                                  AKRON             OH    44303‐1504
GILBERT UTMA OH
CHRISTINA CLINE GDN DIANA HOUGHTON GDN              224 NASSAU BLVD SOUTH                                                                           GARDEN CITY       NY    11530
EUGENIA JAROS
CHRISTINA CONTURSI & KENNETH CONTURSI JT TEN        19 WAGNER DRIVE                                                                                 ROCK TAVERN       NY    12575‐5204

CHRISTINA D FINSTERWALD & HARVEY M FINSTERWALD 421 S ELIZABETH                                                                                      MARINE CITY       MI    48039‐3417
JT TEN
CHRISTINA D MUSGRAVE                           5582 SNOWFLAKE WAY                                                                                   PARKER            CO    80134
CHRISTINA D SOLLENBERGER                       85 FERSFIELD RD                                                                                      CHAMBERSBURG      PA    17202
CHRISTINA DI GIACOMO                           128 TIMBERLAKE DR                                                                                    MANAHAWKIN        NJ    08050‐4603
CHRISTINA E DEVONEY                            1255 EUCLID CT                                                                                       BUFFALO GROVE     IL    60089‐6812
CHRISTINA E PHILLIPS & CARISSA L NEARY JT TEN  321 WASHINGTON AVE                                                                                   JERMYN            PA    18433
CHRISTINA ESQUIVEL JR                          224 MCKOEL AVE                                                                                       ROMEOVILLE        IL    60446‐1714
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 771 of 850
Name                                              Address1                              Address2                 Address3      Address4          City              State Zip

CHRISTINA FADDEN                                  7570 ORIEN AVE                                                                                 LA MESA           CA    91941‐6113
CHRISTINA FIELDS                                  20200 ARDMORE                                                                                  DETROIT           MI    48235‐1575
CHRISTINA G SHORT                                 12072 MILLION DOLLOR HIGHWAY                                                                   MEDINA            NY    14103‐9647
CHRISTINA GARCIA HILL                             C/O MS LOPEZ                          14050 DIAMOND AVE                                        SAN JOSE          CA    95127‐4113
CHRISTINA GONG                                    8300 SW 71ST AVE                                                                               PORTLAND          OR    97223‐9369
CHRISTINA GRAF CUST CODY MARQUETTE UTMA IL        8640 BROOKFIELD AVE 1N                                                                         BROOKFIELD        IL    60513

CHRISTINA GREER CUST CONNOR WRIGHT UTMA MD        622 CURRANT CT                                                                                 LA PLATA          MD    20646‐3274

CHRISTINA GREMONTE                                560 SILVER SANDS RD                   UNIT 102                                                 EAST HAVEN        CT    06512‐4601
CHRISTINA H THURMER                               1435 OLD TALE RD                                                                               BOULDER           CO    80303‐1323
CHRISTINA HAGLE LEVINS                            9135 COUNTY RD 32                                                                              FAIRHOPE          AL    36532‐5083
CHRISTINA HOMNER                                  14 BLUE AVACADO LN                                                                             ROCHESTER         NY    14623‐3909
CHRISTINA J DAVIDSON                              48850 PLATE RD                                                                                 OBERLIN           OH    44074‐9619
CHRISTINA J RUSSO & DONNA R HAYES JT TEN          BROOK SCHOOL ST APT D61               44 SCHOOL                                                WESTON            MA    02493‐2563
CHRISTINA JACON KLARIC                            632 HAZELTON STREET                                                                            MASURY            OH    44438‐1120
CHRISTINA JEAN HYATT                              9486 COUNTRY CLUB LN                                                                           DAVISON           MI    48423‐8367
CHRISTINA JUBENVILLE                              2465 RANKIN BLVD                      WINDSOR ON                             N9E 3B5 CANADA
CHRISTINA JUNE GREENFIELD                         210 S PARKWOOD PLACE                                                                           POST FALLS        ID    83854‐7009
CHRISTINA L BHANDARI                              17074 WHITE HAVEN DRIVE                                                                        NORTHVILLE        MI    48168‐2364
CHRISTINA L CASSEL                                13500 AIR HILL RD                                                                              BROOKVILLE        OH    45309‐9761
CHRISTINA L HAASSER                               196 N CRESCENT AVE                                                                             PALATINE          IL    60067‐0910
CHRISTINA L HATCH                                 6342 BANCROFT AVE #A                                                                           SAINT LOUIS       MO    63109‐2228
CHRISTINA L HOMER                                 18175 RAINBOW RD                                                                               FRASER            MI    48026‐4625
CHRISTINA L SMALL                                 4124 OAK ST                                                                                    KANSAS CITY       MO    64111‐1615
CHRISTINA L SPAULDING                             7060 LAKESHORE RD                                                                              LEXINGTON         MI    48450‐8887
CHRISTINA L SUTHERLIN                             2481 EAST OVERCOAT RD                                                                          CRAWFORDSVILLE    IN    47933‐8839

CHRISTINA L SYMONS                                105 BIG RUN RD                                                                                 PORTERSVILLE      PA    16051‐2029
CHRISTINA L WEGMANN                               200 N CHECKERBERRY WAY                                                                         SAINT JOHNS       FL    32259‐4464
CHRISTINA LAWSON                                  3826 CORALBERRY WA                                                                             DACULA            GA    30019‐7246
CHRISTINA LEIGH MARAONE & DENNIS J MARAONE JT     5731 KIRKRIDGE TRAIL                                                                           ROCHESTER HILLS   MI    48306‐2262
TEN
CHRISTINA LOUGHLIN                                44 GREENWOOD DR N                                                                              BERGENFIELD       NJ    07621‐3346
CHRISTINA LYNN LAMBERTSON                         30444 LEWIS GEORGETOWN HWY                                                                     LEWES             DE    19958‐4172
CHRISTINA M ANGELL                                14906 ST CLOUD                                                                                 HOUSTON           TX    77062‐2824
CHRISTINA M AXTELL                                70 WOODBRIAR DR                                                                                ROCHESTER         NY    14616‐2313
CHRISTINA M BOYNE TR CHRISTINA M BOYNE            99 N BENDROOK LOOP                                                                             CONROE            TX    77384‐4485
SURVIVORS'S TRUST UA 09/19/03
CHRISTINA M BURMEISTER                            139 NASSAU BLVD                                                                                WEST HEMPSTEAD    NY    11552‐2217

CHRISTINA M COLOMBO                            8 ROSS CT                                                                                         NEWARK            DE    19702‐6119
CHRISTINA M COOLEY                             C/O CHRISTINA COMPAGNONI                 4465 ISLAND VIEW DRIVE                                   WATERFORD         MI    48328‐4279
CHRISTINA M CUEVAS                             2692 CHEYENNE PL                                                                                  SAGINAW           MI    48603‐2915
CHRISTINA M DAWSON                             4171 DENNIS LN                                                                                    BRUNSWICK         OH    44212
CHRISTINA M DELAND CUST AARON DELAND PATRICK   174 THIRD ST                             BOX 63                                                   VERMONTVILLE      MI    49096‐0063
UGMA MI
CHRISTINA M DELAND CUST DAMON KARL PATRICK     BOX 63                                   174 THIRD ST                                             VERMONTVILLE      MI    49096‐9402
UGMA MI
CHRISTINA M DEXTER & MARY G DEXTER JT TEN      2017 DUNKELBERG RD                                                                                FORT WAYNE        IN    46819‐2124
CHRISTINA M ECKMAN                             C/O CHRISTINA M MEYERS                   5337 BIGGER RD                                           KETTERING         OH    45440
CHRISTINA M FOX                                3915 OAKVIEW DR                                                                                   BEAVERCREEK       OH    45430‐5115
CHRISTINA M GRAHAM                             10400 ROSEGATE COURT APT 104                                                                      RALEIGH           NC    27617
CHRISTINA M GRAY                               533 GREENFIELD DR                                                                                 GAYLORD           MI    49735‐8394
CHRISTINA M GREGORI CUST MIA K GREGORI UTMA WA 1714 NW 199TH ST                                                                                  SHORELINE         WA    98177

CHRISTINA M HANNAFORD                             42238 CANBERRA COURT                                                                           CLINTON TWP       MI    48038
CHRISTINA M HARRIS & JOHN W HARRIS III JT TEN     37031 KNOLL DR                                                                                 WASECA            MN    56093‐4639
CHRISTINA M HYNES                                 207 RAYMOND DR                                                                                 OFALLON           MO    63366‐1348
                                               09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 772 of 850
Name                                              Address1                                Address2             Address3          Address4          City              State Zip

CHRISTINA M JONASEN                               636 EAST 33RD STREET                                                                             ERIE              PA    16504‐1702
CHRISTINA M KULIKOWSKY                            3445 JAMES ST                                                                                    SHRUB OAK         NY    10588
CHRISTINA M LUCAS                                 19 SOUTH STONE AVENUE                   APT D1                                                   LA GRANGE         IL    60525‐2294
CHRISTINA M MYERS                                 13079 RIPLEY RD                                                                                  LINDEN            MI    48451‐9417
CHRISTINA M NORMILE & ROBERT A SMITH JT TEN       2203 HAMMOND PL E                                                                                TRAVERSE CITY     MI    49686‐8013
CHRISTINA M ROBERTS & CLARENCE N ROBERTS JT TEN   726 MADISON PL                          APT 1                                                    ANN ARBOR         MI    48103‐4774

CHRISTINA M STEAD                                 1420 BURNING HILLS RD                                                                            TEMPLETON         CA    93465‐4016
CHRISTINA M TOLUSCIAK                             2688 JORDAN AVE                                                                                  PITTSBURGH        PA    15235‐3625
CHRISTINA M WORTHY                                113 STONE CLIFFE AISLE                                                                           IRVINE            CA    92612
CHRISTINA MARIA SWEETNAM & ANNA MARIA             1727 FRUITWOOD DRIVE                                                                             GRAND RAPIDS      MI    49504‐6055
WARDROP JT TEN
CHRISTINA MARIE PASCOE & CHERI PASCOE JT TEN      71 FAIRWAYS BLVD                                                                                 WILLIAMSVILLE     NY    14221‐4343

CHRISTINA MASON                                  22030 GARDNER                                                                                     OAK PARK          MI    48237‐2648
CHRISTINA MEDEIROS CUST CHRIS R MEDEIROS JR UTMA 15524 PINEHURST PL                                                                                SAN DIEGO         CA    92131‐4310
CA
CHRISTINA MIDOCK & CAROLE A MIDOCK JT TEN        RD 3 BOX 388                                                                                      HOMER CITY        PA    15748‐9201
CHRISTINA MONDEAU                                3225 MONTANA AVE                                                                                  FLINT             MI    48506
CHRISTINA NICELY                                 4822 SADALIA                                                                                      TOLEDO            OH    43623‐2959
CHRISTINA PAGLIONE                               122 JEFFERSON AVE                                                                                 BRISTOL           PA    19007‐5237
CHRISTINA PERSEGHETTI                            168 W MAIN ST                                                                                     SPRINGVILLE       NY    14141‐1099
CHRISTINA RAE BOWLING                            3273 BATHVEST                                                                                     ROCHESTER HILLS   MI    48309
CHRISTINA RALEIGH                                29619 N CASTLEBURY PL                                                                             CASTAIC           CA    91384‐3821
CHRISTINA RICHARDS                               1338 LAIRD AVE                                                                                    SALT LAKE CTY     UT    84105‐1935
CHRISTINA S CLARK CUST BENJAMIN TYLER ADAMS      3403 HARCOURT DR                                                                                  CHATTANOOGA       TN    37411‐4417
UTMA TN
CHRISTINA S CRANE                                521 WALKER STREET                                                                                 LOOGOOTEE         IN    47553‐1122
CHRISTINA S EAST                                 191 WILLOUGHBY ST                        APT 8K                                                   BROOKLYN          NY    11201‐5445
CHRISTINA S FOLTMAN                              140 NORTHVIEW RD                                                                                  ITHACA            NY    14850‐6040
CHRISTINA SALINAS                                3523 E 60TH PLACE                                                                                 HUNTINGTON PARK   CA    90255‐3220

CHRISTINA SOLLETTI & JAMES SOLLETTI JT TEN        20 HUNT AVE                                                                                      BRAINTREE         MA    02184‐4806
CHRISTINA STACK                                   7416 I TRIWOODS DR                                                                               SHREWSBURY        MO    63119‐4459
CHRISTINA T CLINTON                               123 TROUSDALE DRIVE                                                                              HENDERSONVILLE    TN    37075‐3748
CHRISTINA T SHIPPY                                3036 SHERATON CT                                                                                 MEDFORD           OR    97504‐9201
CHRISTINA T VOBIS                                 26 ELIZABETH ST                         APT 7                                                    PORT JERVIS       NY    12771‐1945
CHRISTINA TEMPLETON RICHARDS                      312 ONONDAGA ST                                                                                  CORNING           NY    14830‐1359
CHRISTINA TERESA BROWN                            3221 SUNSET DR                                                                                   CHARLOTTE         NC    28209‐1209
CHRISTINA TRAYCOFF                                PO BOX 205 R                                                                                     DESOTO            TX    75123‐0205
CHRISTINA TREMONTE                                251 S GREEN VALLEY PK                   APT 5411                                                 HENDERSON         NV    89012‐2316
CHRISTINA V DOWEN & GARY A DOWEN JT TEN           459 LEETONIA                                                                                     TROY              MI    48098‐5518
CHRISTINA WALLACE LACK                            PO BOX 741                                                                                       ROCK HILL         NY    12775‐0741
CHRISTINA WILLIAMS                                22030 GARDNER                                                                                    OAK PARK          MI    48237‐2648
CHRISTINA WODECKI & KATHLEEN DICENZO JT TEN       951 HAWTHORNE RD                                                                                 GROSSE POINTE     MI    48236‐1441

CHRISTINA Y BROKASKI                              852 DENSMORE WAY                                                                                 FOLSOM            CA    95630‐8563
CHRISTINE A BARKIEWICZ                            9185 LAHRING RD                                                                                  GAINES            MI    48436‐9769
CHRISTINE A BRAINARD                              130 FILBERT AVENUE                                                                               WILMINGTON        DE    19805‐2538
CHRISTINE A BRANSON                               5835 COWELL RD                                                                                   BRIGHTON          MI    48116‐5111
CHRISTINE A BURKEL                                10435 OVERHILL DR                                                                                BRIGHTON          MI    48114‐7578
CHRISTINE A CEREP                                 1667 WESTMINISTER RD                                                                             WILKES BARRE      PA    18702‐9409
CHRISTINE A CHECK                                 3221 CUMBERLAND                                                                                  BERKLEY           MI    48072‐1615
CHRISTINE A CHENAIL                               93 POMFRET RD                                                                                    BROOKLYN          CT    06234‐1813
CHRISTINE A CLARY                                 2248 LOST CREEK DRIVE                                                                            FLUSHING          MI    48433‐9404
CHRISTINE A FAY                                   4802 IDE RD                                                                                      WILSON            NY    14172‐9645
CHRISTINE A GAMBLE                                37 FARMINGDALE RD                                                                                WAYNE             NJ    07470‐6472
CHRISTINE A GARRETT CUST BRANDON J GARRETT        12630 WETHERBURN                                                                                 CHARLOTTE         NC    28262‐1505
UTMA NC
                                                09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                          Part 1 of 8 Pg 773 of 850
Name                                                Address1                               Address2                   Address3       Address4          City              State Zip

CHRISTINE A GERVAIS                                 2373 N 85TH                                                                                        WAUWATOSA         WI    53226‐1909
CHRISTINE A HAMILTON                                6200 HAZARD RD                                                                                     FENTON            MI    48430‐9343
CHRISTINE A HAUSRATH                                451 MEYER RD                                                                                       AMHERST           NY    14226‐1031
CHRISTINE A HUDNELL                                 2159 RIDGECREST RD SE                  APT 4                                                       GRAND RAPIDS      MI    49546‐4381
CHRISTINE A IRWIN CUST TIMOTHY S IRWIN UGMA IL      9201 CHRISTINE CT                                                                                  ORLAND PARK       IL    60462‐2067

CHRISTINE A JOSEPH                                  7027 SAFARI DRIVE                                                                                  HUBER HEIGHTS     OH    45424‐2306
CHRISTINE A KLECZYNSKI                              1754 N DENWOOD                                                                                     DEARBORN          MI    48128‐1125
CHRISTINE A KRAFT                                   13344 MERCIER                                                                                      SOUTHGATE         MI    48195‐1224
CHRISTINE A KULIKAMP                                3664 W 72ND ST                                                                                     NEWAYGO           MI    49337‐9784
CHRISTINE A LEMAIRE                                 2359 MELODY LN                                                                                     RENO              NV    89512‐1434
CHRISTINE A LOCKE & BERNARD G LOCKE JR JT TEN       11589 BLOTT RD                                                                                     NORTH JACKSON     OH    44451‐9716

CHRISTINE A LORENZEN                                8 SUNSET DR                                                                                        MEDWAY            MA    02053‐2022
CHRISTINE A LUSK                                    UNIT D                                 148 STANHOPE DRIVE                                          WILLOWBROOK       IL    60527‐2953
CHRISTINE A MARUK                                   22 BROOKE HAVEN DR                                                                                 RUTLAND           MA    01543‐1240
CHRISTINE A MC INTIER                               10027 N 55TH PLACE                                                                                 SCOTTSDALE        AZ    85253‐1640
CHRISTINE A MONK                                    821 FRANK ST                                                                                       FLINT             MI    48504‐4858
CHRISTINE A MURTHA                                  229 HUNTING RIDGE RD                                                                               STAMFORD          CT    06903‐3224
CHRISTINE A NARLOCH                                 W 2435 KESHENA LAKE ROAD                                                                           KESHENA           WI    54135‐9527
CHRISTINE A NEVINS                                  13642 ILLINOIS ST                                                                                  WESTMINSTER       CA    92683‐2636
CHRISTINE A O BRIEN                                 6212 BRANFORD DRIVE                                                                                WEST BLOOMFIELD   MI    48322

CHRISTINE A ONDRICK                                 2047 HAMILTON RD #4                                                                                OKEMOS            MI    48864‐2104
CHRISTINE A OSTERMANN                               10222 NORTH LONE RD                                                                                LEAF RIVER        IL    61047
CHRISTINE A PARKER                                  439 GARVER RD                                                                                      MANSFIELD         OH    44903‐7553
CHRISTINE A PRICE                                   1160 WASHINGTON AVE                                                                                SCOTCH PLAINS     NJ    07076‐2326
CHRISTINE A ROBERTSON                               14033 E PARSLEY DRIVE                                                                              MADEIRA BEACH     FL    33708‐2301
CHRISTINE A ROBINSON                                28 HAMPTON CT                                                                                      LANCASTER         NY    14086‐9421
CHRISTINE A RYDZEWSKI                               48067 HILLTOP DR E                                                                                 PLYMOUTH          MI    48170‐5281
CHRISTINE A SANTORO                                 612 S WEST ST                                                                                      ROYAL OAK         MI    48067‐2541
CHRISTINE A SCARFF                                  BOX 32                                                                                             REVERE            PA    18953‐0032
CHRISTINE A SINICROPI & SAMUEL A SINICROPI JT TEN   1217 PERSHING DR                                                                                   LANSING           MI    48910‐1842

CHRISTINE A STATZER                                 1130 KRA‐NUR DR                                                                                    BURTON            MI    48509‐1629
CHRISTINE A STEVENS                                 5085 15TH AVE                                                                                      SEARS             MI    49679
CHRISTINE A TOMKIEWICZ                              1101 CRANE RD                                                                                      WAXHAW            NC    28173‐8553
CHRISTINE A UCHACZ                                  379 SPRINGBANK AVE                     PO BOX 23006               WOODSTOCK ON   N4T 1R9 CANADA
CHRISTINE A ULAKY                                   18 HAYES HART ROAD                                                                                 WINDHAM           NH    03087‐2126
CHRISTINE A VONFINTEL                               7179 LOBDELL ROAD                                                                                  LINDEN            MI    48451‐8779
CHRISTINE A WARD                                    17 GLEN CT                                                                                         E BRUNSWICK       NJ    08816‐3004
CHRISTINE AMBOS                                     3960 SATURN RD                                                                                     HILLIARD          OH    43026‐2539
CHRISTINE AN GIEZEY                                 119 MOUNTAIN TOP DR                                                                                TAMASSEE          SC    29686‐2309
CHRISTINE ANDERSON FAGNON                           5575 W DANUBE RD                                                                                   FRIDLEY           MN    55432‐5953
CHRISTINE ANDREWS                                   1446 WILSON MANOR CIR                                                                              LAWRENCEVILLE     GA    30045‐3752
CHRISTINE ANN HENRI CUST MICHAEL E HENRI UGMA       33600 PINEVIEW LN                                                                                  FRASER            MI    48026‐5045
MI
CHRISTINE ANN HERTA                                 2081 BELLECHASSE DR                                                                                DAVISON           MI    48423‐2110
CHRISTINE ANN LANGSCHWAGER                          310 S SPRUCE ST                                                                                    TRAVERSE CITY     MI    49684‐2468
CHRISTINE ANN MAHONEY TR UA 07/30/2008              1930 HIGHLAND MEADOWS DRIVE                                                                        CENTERVILLE       OH    45459
CHRISTINE A MAHONEY TRUST
CHRISTINE ANN PINE                                  35721 N 32ND AVE                                                                                   PHOENIX           AZ    85086‐2224
CHRISTINE ANN SANDERS                               17 1 FAY DR                                                                                        KENNESAW          GA    30144‐1570
CHRISTINE ANN STEFANOVICH                           ROCHESTER                              2403 GRAND SUMMIT CIRCLE                                    RICHMOND          VA    23235‐3439
CHRISTINE ASTIN                                     8 W MEETINGHOUSE RD                                                                                NEW MILFORD       CT    06776‐5114
CHRISTINE B BUZBY & BRIAN BUZBY TR CHRISTINE B      252 WELTON DR                                                                                      MADISON           AL    35757‐8621
BUZBY TR UA 12/20/00
CHRISTINE B BUZBY TR CHRISTINE B BUZBY REVOCABLE    252 WELTON DRIVE                                                                                   MADISON           AL    35757‐8621
TRUST UA 12/20/00
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 774 of 850
Name                                               Address1                              Address2             Address3          Address4          City               State Zip

CHRISTINE B COABEY                                 602 CORNWALL COURT                                                                             HILLSBOROUGH       NJ    08844‐5202
CHRISTINE B DILIBERTO                              2114 14TH STREET RD                                                                            GREELEY            CO    80631‐4520
CHRISTINE B HAUSS                                  6721 E REDFIELD                                                                                SCOTTSDALE         AZ    85254‐3342
CHRISTINE B PARSONS                                170 FELLSWAY W                        #3                                                       MEDFORD            MA    02155‐2059
CHRISTINE BAUMANN                                  1025 NO QUEENS AVENUE                                                                          LINDENHURST        NY    11757‐2215
CHRISTINE BENDORAITIS & JOHN BENDORAITIS JT TEN    370 LEVITA RD                                                                                  LEBANON            CT    06249‐2318

CHRISTINE BENNETT SKINNER                          721 OAK ST                                                                                     ANNISTON           AL    36207‐4766
CHRISTINE BISHOP                                   809 FLORENCE AVE                                                                               ROYAL OAK          MI    48067‐2246
CHRISTINE BIVONA                                   3870 W 61ST AVE                                                                                HOBART             IN    46342‐6400
CHRISTINE BOLLINGER                                C/O C KURKA                           3850 CHIPPEWA                                            SAINT LOUIS        MO    63116‐4623
CHRISTINE BREENE MARGARITE                         H C R 61                              BOX 383                                                  MILL CREEK         PA    17060‐9713
CHRISTINE BRIDGES                                  22784 BEECH ST                                                                                 DEARBORN           MI    48124‐2615
CHRISTINE BROAD                                    2807 GRIFFITH AVE                                                                              CLOVIS             CA    93611‐5553
CHRISTINE BURGERMASTER                             1 UNION PARK #1                                                                                BOSTON             MA    02118‐3701
CHRISTINE BURSON & STANLEY J BURSON JT TEN         15865 LAKESIDE DRIVE UNIT 1                                                                    SOUTHGATE          MI    48195
CHRISTINE C CARNAHAN                               3793 PARNALL ROAD                                                                              JACKSON            MI    49201‐9053
CHRISTINE C JACUS                                  412 W LINCOLN ST                                                                               BIRMINGHAM         MI    48009
CHRISTINE C STRUVE                                 2726 LAUREL DR                                                                                 VERO BEACH         FL    32960‐5063
CHRISTINE C TOWNES                                 3823 GRANADA AVE                                                                               BALTO              MD    21207‐7618
CHRISTINE C TVRDIK                                 6497 TEAL BND                                                                                  OAK HARBOR         OH    43449‐9062
CHRISTINE C WALTERS                                9803 TREE CANOPY ROAD                                                                          CHARLOTTE          NC    28277
CHRISTINE C WOODS                                  2049 STATE LINE RD                                                                             NILES              MI    49120
CHRISTINE CANNON HILL CUST ELIZABETH LOVEJOY HILL 7820 SILVER CREEK RD                                                                            DAWSONVILLE        GA    30534‐4243
UTMA GA
CHRISTINE CANNON HILL CUST JAMALYN BAILEY HILL     7820 SILVER CREEK RD                                                                           DAWSONVILLE        GA    30534‐4243
UTMA GA
CHRISTINE CANNON HILL CUST LILLIAN FRANCES HILL    7820 SILVER CREEK RD                                                                           DAWSONVILLE        GA    30534‐4243
UTMA ACT GA
CHRISTINE CANNON HILL CUST MARY CLARE HILL UTMA 7820 SILVER CREEK RD                                                                              DAWSONVILLE        GA    30534‐4243
GA
CHRISTINE CANNON HILL CUST WILLIAM MOBLEY HILL III 7820 SILVER CREEK RD                                                                           DAWSONVILLE        GA    30534‐4243
UTMA GA
CHRISTINE CARNEGIE                                 ATTN CHRISTINE SINNER                 71 INTERVALE RD                                          BOONTON            NJ    07005‐1050
CHRISTINE CAROL SEYMOUR                            C/O CHRISTINE CAROL PEREZ             809 HOPKINS WAY                                          PLEASANTON         CA    94566‐7808
CHRISTINE CIERCHACKI                               C/O CHRISTINE BAKO                    PO BOX 273                                               MITCHELLS          VA    22729‐0273
CHRISTINE CLEMONS                                  1026 GRAY                                                                                      YOUNGSTOWN         OH    44505‐3855
CHRISTINE COGO CUST ANDREA COGO UGMA MI            59510 BARKLEY                                                                                  NEW HUDSON         MI    48165‐9659
CHRISTINE COOPER                                   716 NEWBERRY AVE                                                                               LA GRANGE PK       IL    60526‐1654
CHRISTINE COVINGTON                                2211 SALEM DR E                                                                                BEAUFORT           SC    29902‐5223
CHRISTINE D BERNARDO                               7624 WHITEBRIDGE GLN                                                                           UNIVERSITY PK      FL    34201
CHRISTINE D BERRY                                  410 BOTETOURT ST                      APT 2                                                    NORFOLK            VA    23510‐1116
CHRISTINE D CONLIN                                 6330 HYTHE ROAD                                                                                INDIANAPOLIS       IN    46220‐4215
CHRISTINE D DAVLANTES                              6806 N RIDGE BLVD                                                                              CHICAGO            IL    60645‐4917
CHRISTINE D GUZMAN & RICARDO D GUZMAN JT TEN       3632 W SHALAKO PL                                                                              TUCSON             AZ    85742‐9471

CHRISTINE D JOACHIM                                1085 CHENONCEAUX DRIVE                                                                         MARION             OH    43302‐6734
CHRISTINE D JOACHIM CUST JENNIFER N JOACHIM        1085 CHENONCEAUX DR                                                                            MARION             OH    43302‐6734
UGMA OH
CHRISTINE D MCKENNA                                165 LOCK ST                                                                                    PHILLIPSBURG       NJ    08865‐3626
CHRISTINE D MORGAN                                 1597 FM 205                                                                                    GLEN ROSE          TX    76043‐5608
CHRISTINE D OLSON                                  1900 JASMINE STREET                                                                            DENVER             CO    80220‐1541
CHRISTINE D WEYER                                  65 TANGLEWOOD ST W                                                                             ORCHARD PARK       NY    14127‐3505
CHRISTINE D'AVANZO                                 220 HYDE AVE                                                                                   NILES              OH    44446‐1648
CHRISTINE DALTON & THOMAS DALTON JT TEN            21 BEACH 221ST ST                                                                              BREEZY POINT       NY    11697‐1526
CHRISTINE DAMEN                                    6764 STILLINGTON DR                                                                            LIBERTY TOWNSHIP   OH    45011‐8488

CHRISTINE DEGRAAFF                                 76 LEWISBURG RD                                                                                WANTAGE            NJ    07461‐3109
CHRISTINE DELUCIA                                  7936 OAK BROOK CIR                                                                             PITTSFORD          NY    14534‐9505
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 775 of 850
Name                                              Address1                              Address2             Address3          Address4          City              State Zip

CHRISTINE DELUCIA CUST DOMINICK M DELUCIA UGMA    7936 OAK BROOK CIR                                                                             PITTSFORD         NY    14534‐9505
NY
CHRISTINE DI GIOVANNI                             1331 BEARD STREET                                                                              FLINT             MI    48503‐5348
CHRISTINE DIGAUDIO                                4300 CIRCLE COURT                                                                              WILLIAMSVILLE     NY    14221‐7506
CHRISTINE DONATO & JOSEPH A DONATO JT TEN         30 DAILEY ST                                                                                   SOUTH RIVER       NJ    08882‐1418
CHRISTINE DOUDS                                   46 CORONATION DR                                                                               AMHERST           NY    14226‐1603
CHRISTINE DZIENIS & JOYCE WAMPLE & MICHELE        240 BASSETT AVE                                                                                NEW CASTLE        DE    19720‐1828
WAMPLE JT TEN
CHRISTINE DZIENIS & SANDRA DZIENIS JT TEN         240 BASSETT AVE                                                                                NEW CASTLE        DE    19720‐1828
CHRISTINE E ACKERMAN                              13623 APACHE PLUME NE                                                                          ALBUQUERQUE       NM    87111‐8037
CHRISTINE E BAUMAN & DAVID R MIZENER JT TEN       749 WOODLAND                                                                                   EL PASO           TX    79922‐2040
CHRISTINE E BOS & MICHAEL BOS JT TEN              1703 WOLVERINE                                                                                 HOLLAND           MI    49423‐6725
CHRISTINE E BUFFA                                 1 BORDEAUX PL                                                                                  LAKE SAINT LOUIS  MO    63367‐1516
CHRISTINE E CAIN                                  4025 SHARONDALE DR                                                                             FLOWER MOUND      TX    75022‐0955
CHRISTINE E CICCARELLI                            502 CLUBSIDE DRIVE                                                                             TANEYTOWN         MD    21787
CHRISTINE E DOSER                                 312 MOSCOW RD                                                                                  HAMLIN            NY    14464‐9709
CHRISTINE E KATHAN                                275 DOGWOOD LN                                                                                 CLARKSBORO        NJ    08020‐1108
CHRISTINE E KOSINSKI                              2923 CLYDE AVE                                                                                 SCHENECTADY       NY    12306‐1613
CHRISTINE E LARSON                                8609 E 50 TERR                                                                                 KANSAS CITY       MO    64129‐2261
CHRISTINE E LEVI                                  2854 SUNBURY ROAD                                                                              GALENA            OH    43021‐9601
CHRISTINE E LEWELLEN                              2230 CHARTER POINTE DRIVE                                                                      ARLINGTON         IL    60004‐7222
                                                                                                                                                 HEIGHTS
CHRISTINE E LOCK                                  295 KENDERTON TRAIL                                                                            BEAVER CREEK      OH    45430‐2007
CHRISTINE E LUND                                  3400 HOLIDAY VIEW DR                                                                           TRAVERSE CITY     MI    49686‐3947
CHRISTINE E MASON                                 117 SCOTTS GLEN                                                                                LINCOLN UNIVERSIT PA    19352‐1226

CHRISTINE E STANKEVICZ                            424 VAUGHN ST                                                                                  LUZERNE           PA    18709‐1426
CHRISTINE E WOODARD                               7265 DIMMICK RD                                                                                WESTCHESTER       OH    45069‐4254
CHRISTINE EASON                                   405 PLANTATION WAY                                                                             RINCON            GA    31326
CHRISTINE ELIZABETH ATKINS & JANE WARNER ATKINS   903 HANEY AV                                                                                   EL DORADO         AR    71730‐4271
JT TEN
CHRISTINE ELIZABETH MATHENA                       471 SOUTHBROOK DR                                                                              DAYTON            OH    45459‐3035
CHRISTINE ELIZABETH OTTOY                         10015 TALBOT AVE                                                                               HUNTINGTN WDS     MI    48070‐1134
CHRISTINE ELLIS BUTLER                            9000 LOMA LANE                                                                                 ALBUQUERQUE       NM    87111‐1660
CHRISTINE F ANTOSZ                                32615 N NORTH VALLEY # 364                                                                     PHOENIX           AZ    85085
CHRISTINE F WALLIS                                1821 N 5TH ST #319                                                                             CANON CITY        CO    81212‐2077
CHRISTINE F WALTHER                               33 GENE AVE                                                                                    NEW CASTLE        DE    19720‐3437
CHRISTINE FERRARI CUST MATTHEW ANTHONY TOBIN      5410 N BAY RD                                                                                  MIAMI BEACH       FL    33140‐2032
UTMA FL
CHRISTINE G INSLEY                                45 BRET CT                                                                                     NOVATO            CA    94947‐3904
CHRISTINE G MOBERG & DENNIS MOBERG JT TEN         18200 EVENER WAY                                                                               EDEN PRAIRIE      MN    55346‐4272
CHRISTINE G SMALL & KIMBERLY J S MCCLURE JT TEN   PO BOX 28                                                                                      EAST MACHIAS      ME    04630‐0028

CHRISTINE G STEPHENSON                           2932 LETA LN                                                                                    SACRAMENTO        CA    95821‐4324
CHRISTINE G STOKLOSA                             817 HAVENSHIRE RD                                                                               NAPERVILLE        IL    60565‐6188
CHRISTINE GALLAGHER CUST MEGAN E GALLAGHER       813 LIMECREST RD                                                                                NEWTON            NJ    07860‐8807
UTMA NJ
CHRISTINE GARTH                                  6147 HARWOOD ROAD                                                                               MT MORRIS         MI    48458‐2719
CHRISTINE GEBNAR                                 14375 HUBBARD ST                                                                                LIVONIA           MI    48154‐4133
CHRISTINE GELTNER TR CHRISTINE GELTNER REVOCABLE 915 KOLOA DR                                                                                    MERRITT ISLAND    FL    32953‐3248
TRUST UA 07/22/96
CHRISTINE GOCHENOUR                              667 SCHOONER LN                                                                                 ELK GROVE VILLAGE IL    60007‐6929

CHRISTINE GRANT CIMMINO                           17 ARCHER DR                                                                                   CLIFTON PARK      NY    12065‐7400
CHRISTINE GRATZ                                   1725 EIFERT RD                                                                                 HOLT              MI    48842‐1908
CHRISTINE GUALTIERI CUST ANTONIA GUALTIERI UGMA   11760 BANNISTER CT                                                                             UTICA             MI    48315‐5172
MI
CHRISTINE GULLO                                   208 GREENHAVEN TER                                                                             TONAWANDA         NY    14150
CHRISTINE H BABBYS                                69 E 54TH ST                                                                                   BROOKLYN          NY    11203
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 776 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

CHRISTINE H DIETZ                             116 MEADOW CREEK DR                                                                               ATHENS          GA    30605‐5515
CHRISTINE H KOVALCIK                          18262 CIDER MILL DR                                                                               MACOMB          MI    48044‐4137
CHRISTINE H MARCUM CUST ALLISON B MARCUM      8100 E UNION AVE                         UNIT 706                                                 DENVER          CO    80237‐2974
UGMA CO
CHRISTINE H MARCUM CUST KYLE S MARCUM UTMA CO 8100 E UNION AVE                         UNIT 706                                                 DENVER          CO    80237‐2974

CHRISTINE H WOLFF                                1917 OAKWAY PLACE                                                                              RICHMOND        VA    23233‐3509
CHRISTINE HAHN & NICOLA AMATO JT TEN             71 HAMPSHIRE DR                                                                                MENDHAM         NJ    07945‐2003
CHRISTINE HALL                                   1003 LONGFELLOW                                                                                ROYAL OAK       MI    48067‐3319
CHRISTINE HANCOCK                                15344 CHERRYLAWN                                                                               DETROIT         MI    48238‐1852
CHRISTINE HANSHAW                                30 S MELROSE DR                                                                                MIAMI SPRINGS   FL    33166‐5030
CHRISTINE HEGEMEISTER                            123 GORDON PL                                                                                  FREEPORT        NY    11520‐5617
CHRISTINE HERZOG                                 737 LOMA VERDE AVE                    APT 12                                                   PALO ALTO       CA    94303‐4164
CHRISTINE HOLT                                   4036 METRO 41A                                                                                 NORMANDY        TN    37360
CHRISTINE I GALLOWAY & SCOTT A GALLOWAY JT TEN   226 PALMER ST                                                                                  COSTA MESA      CA    92627‐3746

CHRISTINE I LOWNSBERY                            600 W VERMONTVILLE HWY                                                                         POTTERVILLE     MI    48876‐9764
CHRISTINE J BROCK CUST SARAH C BROCK UGMA TX     70379 10TH ST                                                                                  COVINGTON       LA    70433‐5383

CHRISTINE J BUKOLT                                1143 PENORA ST                                                                                DEPEW           NY    14043‐4556
CHRISTINE J CHANEL                                1217 WAKELING ST                                                                              PHILADELPHIA    PA    19124‐2511
CHRISTINE J CONQUEST                              36 MINNAMURRA PLACE                  PYMBLE                                 2073 AUSTRALIA
CHRISTINE J COSSE                                 617 MILLICENT WAY                                                                             SHREVEPORT      LA    71106‐5929
CHRISTINE J FUCCI                                 401 FULTON ST                                                                                 WESTBURY        NY    11590‐1222
CHRISTINE J HECKLER CUST PAMELA DENISE HECKLER    709 EDGEHILL DR                                                                               BEL AIR         MD    21014‐4004
UTMA MD
CHRISTINE J HYNOTE                                4860 BEDELL ROAD                                                                              ROSWELL         GA    30075‐1602
CHRISTINE J KOKALJ & GAIL F WEHMEYER & JEAN E     5000 SOUTH 107TH ST APT 240                                                                   GREENFIELD      WI    53228
ZELLMER TR UA 09/29/1998
CHRISTINE J MAGGS                                 PO BOX 404 LOT 42B DIRK DEV                                                                   TAFTON          PA    18464‐0404
CHRISTINE J MCLAUGHLIN                            19 SLOCUM ROAD                                                                                LEXINGTON       MA    02421‐5638
CHRISTINE J PALAGALLO                             511 EAST HIGHPOINT PLACE                                                                      PEORIA          IL    61614‐2235
CHRISTINE J PATTERSON                             2214 N FRANKLIN ST                                                                            DEARBORN        MI    48128‐1030
CHRISTINE J PRILL                                 2656 RAINBOW DR                                                                               TROY            MI    48083‐5730
CHRISTINE J SHUKAITIS & KAREN M HARRIS & KATHLEEN 4629 BAILEY DR                                                                                WILMINGTON      DE    19808‐4109
A HARRIS JT TEN
CHRISTINE J SPILLER & ROBERT SPILLER JT TEN       33 ROWLEY DR                                                                                  NORTHPORT        NY   11768‐3243
CHRISTINE J STONE                                 1609 KESTREL CT                                                                               VIERA            FL   32955‐6350
CHRISTINE J WILSON                                5505 HUBBARD DR                                                                               FLINT            MI   48506‐1191
CHRISTINE J ZAPP                                  6625 N CANAL RD                                                                               LOCKPORT         NY   14094‐9401
CHRISTINE JACKSON                                 1135 CAHABA DR SW                                                                             ATLANTA          GA   30311‐2711
CHRISTINE JELENIC                                 2260 CRANSTON ROAD                                                                            CLEVELAND        OH   44118‐3033
CHRISTINE JOAN NEWMAN                             5907 S CEDAR RIDGE LANE                                                                       FREDERICKSBRG    VA   22407
CHRISTINE JOHANNES                                22001 VIOLET                                                                                  ST CLAIR SHORES  MI   48082‐1981
CHRISTINE JOSEPHINE SOWKIN                        20746 FAIRVIEW DRIVE                                                                          DEARBORN HEIGHTS MI   48127‐2642

CHRISTINE JOYNER GILMORE                         130 PRINCETON OVAL                                                                             FREEHOLD        NJ    07728‐5336
CHRISTINE K ALLUM                                5300 LAKE GEORGE                                                                               LEONARD         MI    48367‐1008
CHRISTINE K GOULDIN                              215 SUNSET LN                                                                                  WARSAW          VA    22572‐4243
CHRISTINE K KENNEDY                              6545 DALZELL PL                                                                                PITTSBURGH      PA    15217‐1439
CHRISTINE K MILLER                               PO BOX 879                                                                                     VICTOR          ID    83455
CHRISTINE KALATZIS                               8142 CARRIAGE LN                                                                               PORTLAND        MI    48875‐9751
CHRISTINE KATHRYN BERK                           5547 MARTIN AVE                                                                                VERMILION       OH    44089‐1239
CHRISTINE KETCHAM                                10 SAYVILLE RD                                                                                 MASTIC BEACH    NY    11951‐5904
CHRISTINE KOECHELL                               800 GREENFIELD TRAIL                                                                           OSHKOSH         WI    54904
CHRISTINE KOZAK CUST DOUGLAS ADAMS UTMA MD       11837 GAINSBOROUGH RD                                                                          POTOMAC         MD    20854‐3355

CHRISTINE KROSKY                                 1221 ARLINGTON RD                                                                              LAKEWOOD        OH    44107‐1001
CHRISTINE KUCERA                                 738 PRESCOTT AVE                                                                               CLOVIS          CA    93619‐7578
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 777 of 850
Name                                             Address1                              Address2             Address3          Address4          City                State Zip

CHRISTINE L ADAMS                                1110 MONA DRIVE                                                                                UNIVERSITY CITY     MO    63130‐2130
CHRISTINE L ARABUCKI                             17212 MIDWAY                                                                                   ALLEN PARK          MI    48101‐1234
CHRISTINE L ARNOLD                               102 OAK LEAF DR                                                                                MIDDLETOWN          DE    19709‐9571
CHRISTINE L BUSSARD                              7622 LEXINGTON GREEN ST                                                                        MIDDLEBURG          OH    44130‐6864
                                                                                                                                                HEIGHTS
CHRISTINE L CROWELL                              5289 CLOVER DR                                                                                 SHEFFIELD VILLAGE   OH    44035‐1483

CHRISTINE L GLUSZCWSKI                            46901 SHILOH WAY                                                                              UTICA               MI    48317‐4256
CHRISTINE L GRABER                                73 POINSETTIA AVENUE                                                                          SAN MATEO           CA    94403‐2841
CHRISTINE L HENDERSON                             12498 JESSE LANE                                                                              ATHENS              AL    35613‐8434
CHRISTINE L HOFFMAN                               320 RUSSELL AVE                                                                               NILES               OH    44446‐3730
CHRISTINE L JOHNSON                               685 BRENTWOOD AVE NE                                                                          WARREN              OH    44484‐1902
CHRISTINE L KOEHLER                               PO BOX 361                                                                                    PIPERSVILLE         PA    18947‐0361
CHRISTINE L KOURETAS                              3359 N NEW CASTLE                                                                             CHICAGO             IL    60634‐3752
CHRISTINE L MARENTETTE                            108 HOLLY GLADE CI                                                                            HOLLY SPRINGS       NC    27540‐6850
CHRISTINE L MARIETTA                              5659 WEISS ST                                                                                 SAGINAW             MI    48603‐3762
CHRISTINE L MC CULLOUGH                           8515 DEER PATH DRIVE                                                                          WEST CHESTER        OH    45069‐1982
CHRISTINE L MCGLASSON                             4316 PALACIO WAY                                                                              FAIR OAKS           CA    95628‐6620
CHRISTINE L MEYERS                                604 COURTSIDE DR                                                                              NAPLES              FL    34105‐7133
CHRISTINE L NELSON                                37 DRYDEN ROAD WHITEHALL                                                                      NEW CASTLE          DE    19720‐2314
CHRISTINE L ROOT                                  ATTN CHRISTINE L KING                2018 BRADWELL CT                                         LANSING             MI    48911‐3560
CHRISTINE L ROSS                                  318 BRONCO WAY                                                                                LANSING             MI    48917‐2728
CHRISTINE L SOLTIS                                1070 BRITTANY RD                                                                              LAKE ZURICH         IL    60047‐1728
CHRISTINE L STIFF                                 PO BOX 9                                                                                      LINDEN              MI    48451‐0009
CHRISTINE L STRZYZEWSKI & DENICE A BRODERSON JT 27105 ANTONIO                                                                                   ROSEVILLE           MI    48066‐7902
TEN
CHRISTINE L WALLACE                               6607 FOREST GLEN AVE                                                                          SOLON               OH    44139‐4025
CHRISTINE L WILCOX TR CHRISTINE L WILCOX TRUST UA 30572 SOUTHFIELD RD APT 249                                                                   SOUTHFIELD          MI    48076‐1226
10/23/95
CHRISTINE L WILSON                                1141 LOCUST ST                                                                                MIDDLETOWN          IN    47356‐1722
CHRISTINE LEITOW & DON LEITOW JT TEN              1115 HIGHLAND AVE                                                                             SAINT JOSEPH        MI    49085‐2551
CHRISTINE LIDDY CUST RYAN LIDDY UNIF TRANSFER     6965 CUNNINGHAM DR                                                                            NEW ALBANY          OH    43054‐9064
MINOR ACT NJ
CHRISTINE LITTLE MC CARTER                        5611 BEAVER DAM LN                                                                            MINT HILL           NC    28227‐9354
CHRISTINE LOUISE SLATER                           4448 N WISHON                                                                                 FRESNO              CA    93704‐3732
CHRISTINE LUZAR                                   1598 MAIN ST                                                                                  LEMONT              IL    60439‐3701
CHRISTINE LYNN SMITH                              4345 TUXEDO                                                                                   WARREN              MI    48092‐4367
CHRISTINE LYNNE MANN                              2625 FARNSWORTH LANE                                                                          NORTHBROOK          IL    60062‐5920
CHRISTINE M AIELLO                                41136 GREENSPIRE DR                                                                           CLINTON TWP         MI    48038‐5859
CHRISTINE M BAILEY                                2475 S HOWE ROAD                                                                              BURTON              MI    48519‐1133
CHRISTINE M BATES                                 PO BOX 186                                                                                    ONEKAMA             MI    49675‐0186
CHRISTINE M BEHNCKE                               1414 V ST NW                         APT 307                                                  WASHINGTON          DC    20009‐5854
CHRISTINE M BEHREND TOD MILES L BEHREND SUBJECT 7436W RIVERVIEW DR                                                                              MANISTIQUE          MI    49854‐8802
TO STA TOD RULES
CHRISTINE M BODETTE                               1422 WOODCROFT                                                                                FLINT               MI    48503‐3536
CHRISTINE M BOULWARE                              16 KIRBY LN                                                                                   COMMACK             NY    11725‐2716
CHRISTINE M BREWER TR BREWER FAMILY 94 TRUST UA 4867 CASALS PL                                                                                  SAN DIEGO           CA    92124‐1502
10/25/94
CHRISTINE M CHAMPINE                              P.O BOX 72                                                                                    IMLAY CITY          MI    48444
CHRISTINE M CLAES‐RISSER                          6 RUE LERICHE                        PARIS                                  75015 FRANCE
CHRISTINE M CLINTON CALI                          10617 FAIRLANE                                                                                SOUTH LYON          MI    48178‐8819
CHRISTINE M COOK                                  ATTN CHRISTINE M SHAW                3 SHETUCKET TRL                                          OLD SAYBROOK        CT    06475‐1820
CHRISTINE M DOUGHERTY                             5006 FREMANTLE CT                                                                             SPRING HILL         TN    37174‐8539
CHRISTINE M DOWNS                                 2228 PARK RIDGE DRIVE                                                                         BLOOMFIELD HILLS    MI    48304‐1483

CHRISTINE M DUNN                                 185 SUNSET RIDGE RD                                                                            LOS GATOS           CA    95033‐9435
CHRISTINE M ESTES‐WILLIAMS                       1812 63RD AVE NE                                                                               TACOMA              WA    98422‐3630
CHRISTINE M FOX                                  9113 4TH ST                                                                                    LANHAM              MD    20706‐2732
CHRISTINE M FOX & LAWRENCE E FOX JT TEN          9113 4TH ST                                                                                    LANHAM              MD    20706‐2732
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 778 of 850
Name                                               Address1                             Address2                    Address3   Address4          City               State Zip

CHRISTINE M GABRIEL                                12068 BROUGHAM                                                                                STERLING HEIGHTS   MI    48312‐4010

CHRISTINE M GENTRY                                 1090 VINEWOOD                                                                                 DETROIT            MI    48216‐1429
CHRISTINE M GRAVLIN & MICHAEL J GRAVLIN JT TEN     9773 HERKELRATH RD                                                                            ONEKAMA            MI    49675‐9638

CHRISTINE M GRZEGORCZYK                         380 W BEAVER                                                                                     KAWKAWLIN          MI    48631‐9704
CHRISTINE M GUGGER                              15165 88TH PL NORTH                                                                              LOXAHATCHEE        FL    33470
CHRISTINE M HAGER                               3347 DILLONS FORK RD                    ROAD 609                                                 FIELDALE           VA    24089‐3247
CHRISTINE M HANEY                               368 SAGAMORE DRIVE                                                                               ROCHESTER          NY    14617‐2410
CHRISTINE M HEWITT                              PO BOX 393                                                                                       LAKE MILTON        OH    44429‐0393
CHRISTINE M HOLMES                              125 S HALL DR                                                                                    MONTGOMERY         TX    77316
CHRISTINE M JACOVONE & NICHOLAS JACOVONE JT TEN APT 709                                 100 DUNN TOWER DIRVE                                     ROCHESTER          NY    14606‐5234

CHRISTINE M KULKA                                  C/O CHRISTINE M TAYLOR               4436 HOLT STREET                                         UNION CITY      CA       94587‐5607
CHRISTINE M LEE                                    531 SUNNY SLOPE                                                                               FLUSHING        MI       48433‐2176
CHRISTINE M LEONARD                                709 WALNUT AVE                                                                                LANGHORNE       PA       19047‐3753
CHRISTINE M LISOWSKI                               N86 WI5630 SHORECREST                                                                         MENOMONEE FALLS WI       53051

CHRISTINE M MAHAFFY                                9948 TWIN SHORES DR                                                                           WILLIS            TX     77318
CHRISTINE M MALENKI EX EST EUGENE K MALENKI        637 OAKTON ST                                                                                 ELK GROVE VILLAGE IL     60007‐1730

CHRISTINE M OSIKA                              6430 DUCHESS CT                                                                                   FLUSHING           MI    48433‐3535
CHRISTINE M OUELLETTE                          1951 SAINT ANNE STREET                   TECUMSEH ON                            N8N 1V5 CANADA
CHRISTINE M PATRONE KATUBI                     212 HIGHLAND AVE                                                                                  DARBY              PA    19023
CHRISTINE M PHILLIPS                           5086 PHILLIPS RICE RD                                                                             CORTLAND           OH    44410‐9674
CHRISTINE M POWELL CUST MEGHAN C DRISCOLL UTMA 3010 LINNEY RD                                                                                    BOZEMAN            MT    59718‐8532
MT
CHRISTINE M PURTELL & PAUL J PURTELL JT TEN    111 MOUNT VERNON CT                                                                               LOCUST GROVE       VA    22508‐5227
CHRISTINE M QUATELA CUST BRENNAN M QUATELA     524 SPRING MEADOW LANE                                                                            WEBSTER            NY    14580‐1788
UGMA MI
CHRISTINE M QUATELA CUST BRENNAN MICHAEL       524 SPRING MEADOW LANE                                                                            WEBSTER            NY    14580‐4003
QUATELA UTMA NY
CHRISTINE M QUATELA CUST LAUREN E QUATELA UGMA 524 SPRING MEADOW LANE                                                                            WEBSTER            NY    14580‐1788
NY
CHRISTINE M QUATELA CUST LAUREN ELIZABETH      524 SPRING MEADOW LANE                                                                            WEBSTER            NY    14580‐4003
QUATELA UTMA NY
CHRISTINE M RODDY                              599 GREY RD                                                                                       AUBURN HILLS       MI    48326‐3813
CHRISTINE M ROLLINS                            44966 FOREST TRAIL DR                                                                             CANTON             MI    48187‐1706
CHRISTINE M RUDMAN & DONALD RUDMAN JT TEN      26 PIETY CORNER RD                                                                                WALTHAM            MA    02451‐0919

CHRISTINE M SANTRY & VIRGINIA M SANTRY JT TEN      WITNEY PLACE AT NATICK               3 VISION DR RT 9 APT 506                                 NATICK             MA    01760‐2059

CHRISTINE M SCHMIDT                                14C EDGEWATER PARK                                                                            BRONX           NY       10465‐3506
CHRISTINE M SHARUM                                 43897 BAYVIEW AVE                    APT 40312                                                CLINTON TWP     MI       48038‐7075
CHRISTINE M STEUDLE                                100 DAYTON ST B101                                                                            AURORA          CO       80010‐4433
CHRISTINE M SUTHERLAND                             108 WINDMILL TRL                                                                              ROCHESTER       NY       14624‐2457
CHRISTINE M TERRANOVA                              16‐56 201ST ST                                                                                BAYSIDE         NY       11360‐1017
CHRISTINE M YANT                                   21491 RD 178                                                                                  OAKWOOD         OH       45873
CHRISTINE MARIE ANDERSEN                           C/O CHRISTINE JOHN                   17 BELMONT ST                                            AMESBURY        MA       01913‐1705
CHRISTINE MARIE BERGMAN                            15100 WARWICK                                                                                 DETROIT         MI       48223‐2293
CHRISTINE MARIE SCHOONMAKER                        C/O CHRISTINE MARIE WEST             273 BRIDGE STREET UNIT 13                                GROTON          CT       06340‐3779
CHRISTINE MARIE VANSTRIEN                          5643 CREST CT 3                                                                               DEXTER          MI       48130‐8617
CHRISTINE MARRAZZO                                 37 MAYFAIRE CIRCLE                                                                            WESTAMPTON      NJ       08060‐4423
CHRISTINE MARY HOEFLING                            560 DUTCH VALLEY RD                  UNIT 2308                                                ATLANTA         GA       30324‐5364
CHRISTINE MARY LISOWSKI & GARY S LISOWSKI JT TEN   N86W15630 SHORECREST DR                                                                       MENOMONEE FALLS WI       53051‐2992

CHRISTINE MCCORKLE                                 2431 DEEPRIDGE CIR                                                                            AKRON              OH    44313‐4607
CHRISTINE MCGOWAN                                  18 FAIRFIELD RD                                                                               WILMINGTON         MA    01887‐1708
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 779 of 850
Name                                              Address1                               Address2                 Address3      Address4          City           State Zip

CHRISTINE MECROULES & MARY FETEKAKE & CLAIRE      198 BELMONT AVENUE                                                                              SPRINGFIELD    MA    01108‐1642
MECROULES JT TEN
CHRISTINE MEGLIOLA CUST BRIAN J MEGLIOLA UGMA     PO BOX 175                                                                                      S DEERFIELD    MA    01373‐0175
MA
CHRISTINE MERRITT                                 5124 BROOKS CIR                                                                                 CHERITON       VA    23316
CHRISTINE MICHELLE NEILL                          506 W HILLTOP CT                                                                                JACKSONVILLE   NC    28546‐7902
CHRISTINE MINSTER                                 501 CHURCHILL DR                                                                                ROCHESTER      NY    14616‐2117
CHRISTINE MONEY CUST KELLY MONEY UGMA MI          6350 E COURT SOUTH                                                                              BURTON         MI    48509‐2322
CHRISTINE MONEY CUST RACHEL MONEY UGMA MI         PO BOX 316                                                                                      COMO           CO    80432‐0316

CHRISTINE MOONEY CUST HEATHER A MOONEY UTMA       2545 DERBY DR                                                                                   DELTONA        FL    32738‐1945
FL
CHRISTINE MUELLER                                 N2996 CADIZ SPRINGS ROAD                                                                        MONROE         WI    53566‐9276
CHRISTINE NELSON                                  1126 AV E A                                                                                     FLINT          MI    48503‐1402
CHRISTINE NEUSUS                                  266 MADISON ST                         PO BOX 727                                               OSWEGO         IL    60543‐0727
CHRISTINE NORRIS                                  3350 DETROIT ST                                                                                 DEARBORN       MI    48124‐4158
CHRISTINE O OSTER                                 6911 ALDEN DRIVE                                                                                W BLOOMFIELD   MI    48324‐2015
CHRISTINE O'KELLY                                 100 BARNSDALE AVE                                                                               W SENECA       NY    14224‐1104
CHRISTINE O'SULLIVAN                              PO BOX 9022                                                                                     WARREN         MI    48090
CHRISTINE P DAWSON                                2707 ALTHEA ST                                                                                  TUSKEGEE       AL    36088‐2803
                                                                                                                                                  INSTUTUTE
CHRISTINE P GARDNER & PATRICIA H GARDNER JT TEN   41 PROSPECT ST                                                                                  SOUTH          MA    02748‐3232
                                                                                                                                                  DARTMOUTH
CHRISTINE P GILLOTT                            8437 TUTTLE AVE                           # 132                                                    SARASOTA       FL    34243‐2868
CHRISTINE P MADELINE CUST JOANNE MADELINE UTMA 322 WARD AVE                                                                                       SOUTH AMBOY    NJ    08879‐1557
NJ
CHRISTINE P WOOD                               PORTLAND HOUSE                            3808 VENICE RD APT 106                                   SANDUSKY       OH    44870
CHRISTINE PANIK                                530 TOPAZ LN                                                                                       BRUNSWICK      OH    44212‐1170
CHRISTINE PERRY CUST BLAKE PERRY UTMA GA       307 ROCK FENCE RD                                                                                  ADAIRSVILLE    GA    30103
CHRISTINE PHILLIPS                             106 CORTLAND LANE                                                                                  BEDMINISTER    NJ    07921‐2032
CHRISTINE R AUSTIN                             7323 E COLDWATER RD                                                                                DAVISON        MI    48423‐8904
CHRISTINE R CELANO                             6240 EAST MIRROR LAKE DR                  #301                                                     SEBASTIAN      FL    32958‐8478
CHRISTINE R COAPMAN                            1014 W WALNUT                                                                                      KOKOMO         IN    46901‐4302
CHRISTINE R FISHER                             207 REYNOLDS RD                                                                                    WOODSTOCK      NY    12498
CHRISTINE R FISHER                             207 REYNOLDS RD                                                                                    WOODSTOCK      NY    12498
CHRISTINE R FRANTZ                             C/O MS RINN                               45269 UTICA GREEN W                                      SHELBY TWP     MI    48317‐5153
CHRISTINE R HAGEN                              4107 KEMPF                                                                                         WATERFORD      MI    48329‐2015
CHRISTINE R JUDD                               1055 MORAN DR                                                                                      ROCHESTER      MI    48307‐6083
CHRISTINE R KELLEY CUST KEVIN R KAVANAUGH UTMA 1625 RUSSETT ROAD                                                                                  OREFIELD       PA    18069‐9087
PA
CHRISTINE R KRIEGER                            44920 BYRNE                                                                                        NORTHVILLE     MI    48167‐2107
CHRISTINE R RUSHLOW & JACOB A RUSHLOW JT TEN   6690 BISON ST                                                                                      WESTLAND       MI    48185

CHRISTINE R STACK CUST MARK R STACK UTMA WI       2870 SANTA BARBARA DR                                                                           BROOKFIELD     WI    53005‐3712

CHRISTINE R STACK CUST NATHAN R STACK UTMA WI     2870 SANTA BARBARA DR                                                                           BROOKFIELD     WI    53005‐3712

CHRISTINE R TREADWAY                              4972 NORTHAVEN AVE                                                                              SAN DIEGO      CA    92110‐2319
CHRISTINE R WINGARD & CHRIS T PRYOR JT TEN        PO BOX 26363                                                                                    TROTWOOD       OH    45426
CHRISTINE ROBINSON                                6155 PERRY RD                                                                                   GRAND BLANC    MI    48439‐9702
CHRISTINE ROBINSON & DONALD R ROBINSON JT TEN     6155 PERRY RD                                                                                   GRAND BLANC    MI    48439‐9702

CHRISTINE ROBISON                                 3126 N GREYSTONE DRIVE                                                                          MORGANTOWN     WV    26508
CHRISTINE ROSE SCHMIDT                            1616 SHANKIN DR                                                                                 WALLED LAKE    MI    48390‐2443
CHRISTINE RUTH STACK                              2870 SANTA BARBARA DR                                                                           BROOKFIELD     WI    53005‐3712
CHRISTINE S CIVILS                                5146 PO BOX                                                                                     KINSTON        NC    28503
CHRISTINE S EARLS                                 3155 ROCKY RIVER DR                                                                             CLEVELAND      OH    44111‐1027
CHRISTINE S GRAF                                  36 KINDEKERMACK ROAD                                                                            HILLSDALE      NJ    07642
CHRISTINE S HACKETT                               200A NEWCASTLE CT                                                                               RIDGE          NY    11961‐1531
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 780 of 850
Name                                             Address1                             Address2             Address3          Address4          City            State Zip

CHRISTINE S HAMAMZIS & NICHOLAS STEVENS JT TEN   506 MOORE DRIVE                                                                               CAMPBELL        OH    44405‐1222

CHRISTINE S KVASNAK                              33904 FOUNTAIN                                                                                WESTLAND        MI    48185‐9423
CHRISTINE S MATHER CUST MATTHEW G MARVELL        8409 MORGANSWAY                                                                               RALEIGH         NC    27613‐4370
UTMA NC
CHRISTINE S MISEWICH CUST JILL S MISEWICH UGMA   31883 LAKEWAY DR NE                                                                           CAMBRIDGE       MN    55008‐6748
MN
CHRISTINE S MISEWICH CUST KRISANNE S MISEWICH    31883 LAKEWAY DR NE                                                                           CAMBRIDGE       MN    55008‐6748
UGMA MN
CHRISTINE S MISEWICH CUST NICOLE C MISEWICH      31883 LAKEWAY DR NE                                                                           CAMBRIDGE       MN    55008‐6748
UGMA MN
CHRISTINE S O'CONNOR & MICHAEL J O'CONNOR JT TEN 4711 ALTON DRIVE                                                                              TROY            MI    48098‐5001

CHRISTINE S SZYNSKI & THOMAS SZYNSKI JT TEN     46971 SHILOH WAY                                                                               UTICA           MI    48317‐4256
CHRISTINE SADOWSKI                              NO 1507                               1300 CRYSTAL DR                                          ARLINGTON       VA    22202‐3234
CHRISTINE SALVATORI                             21 WOODFIELD TERRACE                                                                           TARRYTOWN       NY    10591‐5018
CHRISTINE SANCHEZ CUST NONA ANN SANCHEZ UGMA 270 BARROW STREET                                                                                 JERSEY CITY     NJ    07302‐4026
NJ
CHRISTINE SAVOY TR CHRISTINE SAVOY TRUST UA     7061 N KEDZIE APT 1108                                                                         CHICAGO         IL    60645‐2867
01/27/93
CHRISTINE SCHUYLER‐ROSSIE                       1935 CHERRY ST                                                                                 DENVER          CO    80220‐1147
CHRISTINE SCOTT                                 70240 CHAUCER DR                                                                               RICHMOND        MI    48062‐1084
CHRISTINE SHEWMAKER                             4314 SUNBURST LN                                                                               CINCINNATI      OH    45238‐5536
CHRISTINE SHUMEJKO                              30148 GLOEDE                                                                                   WARREN          MI    48093‐5923
CHRISTINE SMITH                                 4015 FARRAND RD                                                                                CLIO            MI    48420
CHRISTINE SONOFF                                5270 SOUTH COUNTY ROAD 350 EAST                                                                MIDDLETOWN      IN    47356
CHRISTINE SOSTARIC GALLAGHER CUST THOMAS JOSEPH 813 LIMECREST RD                                                                               NEWTON          NJ    07860‐8807
GALLAGHER UTMA NJ
CHRISTINE STAATS CUST ALEXA STAATS UTMA NY      57 TOTTENHAM RD                                                                                LYNBROOK        NY    11563
CHRISTINE STACK CUST KEVIN R KAVANAUGH UTMA WI 2870 SANTA BARBARA DR                                                                           BROOKFIELD      WI    53005‐3712

CHRISTINE STELMACK & BRANDI STELMACK JT TEN      2803 E 2359TH RD                                                                              MARSEILLES      IL    61341‐1294

CHRISTINE SWAIN                                  115 S VITA AVE                                                                                BEAVER DAM      WI    53916‐2454
CHRISTINE SWANS                                  79 COURTLAND AVE APT 1                                                                        BUFFALO         NY    14215‐3918
CHRISTINE T CUTTINO                              76 GRAFTON AVENUE C‐26                                                                        NEWARK          NJ    07104‐3581
CHRISTINE T DRINKWALTER                          7012 AKRON ROAD                                                                               LOCKPORT        NY    14094‐6204
CHRISTINE T EHMAN                                2204 GREYTWIG DRIVE                                                                           KOKOMO          IN    46902‐4518
CHRISTINE T LIEM                                 114 N CENTER ST                                                                               FRACKVILLE      PA    17931‐1204
CHRISTINE T LIEM & RONALD B LIEM JT TEN          114 N CENTRE ST                                                                               FRACKVILLE      PA    17931‐1204
CHRISTINE T PIERSON                              493 GEORGETOWN ST                                                                             SHARPSVILLE     PA    16150‐1428
CHRISTINE T SISMANSON                            PO BOX 46                                                                                     RIDGE           NY    11961‐0046
CHRISTINE THOMAS                                 19617 RYAN ROD                                                                                DETROIT         MI    48234‐1923
CHRISTINE TOBERGATE                              6494 CHASE DRIVE                                                                              MENTOR          OH    44060
CHRISTINE TRIESSL                                6 GATELY DR                                                                                   WOBURN          MA    01801‐4722
CHRISTINE TRITCHONIS                             38 STONEHENGE RD                                                                              WESTON          CT    06883‐2634
CHRISTINE TRUITT BEOHM IND ADM EST ROBERT M      2301 ORANGE BLOSSOM LN                                                                        ARLINGTON       TX    76014‐1667
TRUITT
CHRISTINE U GRAHAM‐HERRING                       3021 E POOKVIEW DR                                                                            LITTLETON        CO   80121‐2941
CHRISTINE VAN ALLEN                              412 S WEST ST                                                                                 WHEATON          IL   60187‐5034
CHRISTINE W BACHMANN                             BOX 486                                                                                       CENTRAL LAKE     MI   49622‐0486
CHRISTINE W BOLAN                                2030 WESTMORELAND ST APT 252                                                                  FALLS CHURCH     VA   22043‐1771
CHRISTINE W CALDARALE                            1408 ARDEN VIEW DR                                                                            ARDEN HILLS      MN   55112‐1942
CHRISTINE W DYKES                                867 FERNWOOD DRIVE                                                                            LOCKPORT         NY   14094‐9143
CHRISTINE W EARLS                                7054 EAST CAPRICE AVE                                                                         BATON ROUGE      LA   70811‐7738
CHRISTINE W NOBLE                                450 AIRPORT RD                                                                                WARREN           OH   44481‐9483
CHRISTINE W SABIN                                10774 BIVENS RD                                                                               NASHVILLE        MI   49073‐9504
CHRISTINE WALCZAK CHERYL A WALCZAK & DAWN M      15697 ORCHARD RIDGE DRIVE                                                                     CLINTON TOWNSHIP MI   48038‐1687
WALCZAK JT TEN
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 781 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

CHRISTINE WALDMANN                               1220 HIME ST                                                                                  BAY CITY          MI    48708‐8437
CHRISTINE WALTERS & JASON WALTERS TEN ENT        224 CARRANZA RD                                                                               TABERNACLE        NJ    08088‐9330
CHRISTINE WALTERS CUST JESSICA WALTERS UTMA NJ   224 CARANZA RD                                                                                TABERNACLE        NJ    08088‐9330

CHRISTINE WEBBER CUST MARTY WEBBER UTMA RI       110 HAMILTON DR                                                                               EAST GREENWICH    RI    02818‐2156

CHRISTINE WHITEAKER                              3415 MAGNOLIA DR                                                                              TROY              OH    45373‐8838
CHRISTINE WILDEROTTER                            7638 NORTHFIELD LANE                                                                          MANLIUS           NY    13104‐2314
CHRISTINE WILSON                                 16805 PATTON                                                                                  DETROIT           MI    48219‐3908
CHRISTINE WOMACK                                 6033 BEAR CREEK DR APT 326                                                                    CLEVELAND         OH    44146‐2917
CHRISTINE ZAYAS                                  309 WEST HARRISON ROAD                                                                        LOMBARD           IL    60148‐3213
CHRISTNE F REED                                  614 GLEN RIDGE DR                                                                             BRIDGEWATER       NJ    08807‐1626
CHRISTO VARDAKIS                                 81 ANDERSON AVE                                                                               FAIRVIEW          NJ    07022‐2051
CHRISTOHER J SCHMITZ                             1034 S 33RD ST                                                                                MILWAUKEE         WI    53215‐1525
CHRISTOP HARDEMAN                                1610 PRAIRIE DR                                                                               PONTIAC           MI    48340‐1084
CHRISTOP J STANTON                               6610 SQUIRREL HILL CT                                                                         CLARKSTON         MI    48346‐2457
CHRISTOPER HARVEY CAMPBELL & KATHLEEN ANN        1830 FOREST LAKE S E                                                                          GRAND RAPIDS      MI    49546‐6284
CAMPBELL JT TEN
CHRISTOPH E MICHA                                31837 MARKLAWN                                                                                FARMINGTON HILLS MI     48334‐2857

CHRISTOPH WAHNER                                 1821 PACIFIC COAST HWY #28P                                                                   HERMOSA BEACH     CA    90254‐3133
CHRISTOPHE A BAILEY                              7601 MAD RIVER RD                                                                             DAYTON            OH    45459‐3611
CHRISTOPHE A BELLANTONI                          337 MEADOWBROOK RD                                                                            FAIRFIELD         CT    06824‐5239
CHRISTOPHE A BOYD                                428 PARK DR                                                                                   CLAWSON           MI    48017‐1218
CHRISTOPHE A BRUCE                               4720 HUNTERS CREEK RD                                                                         ATTICA            MI    48412‐9620
CHRISTOPHE A BRUCE                               27901 MARIPOSA ST                                                                             VALENCIA          CA    91355‐6035
CHRISTOPHE A DIETZ                               #115                                 5679 S TRANSIT                                           LOCKPORT          NY    14094‐5842
CHRISTOPHE A DUNLAP                              22008 ALEXLAN DER                                                                             ST CLAIR SHORES   MI    48081
CHRISTOPHE A EVANS                               2468 CANTON                                                                                   DETROIT           MI    48207‐3515
CHRISTOPHE A HUSTED                              9797 W WALNUT ST                                                                              LAPEL             IN    46051‐9755
CHRISTOPHE A JOSLING                             9474 ASH STREET                                                                               NEW LOTHROP       MI    48460‐9783
CHRISTOPHE A KIEL                                3406 OVERLEA DR                                                                               LANSING           MI    48917‐2254
CHRISTOPHE A LEACU                               70 BOWEN STREET                                                                               NEWTON CENTER     MA    02459‐1820
CHRISTOPHE A MC GUIRE                            997 BENNINGTON DR                                                                             ROCHESTER         NY    14616‐3317
CHRISTOPHE A MUKLEWICZ                           28695 WESTWOOD DR                                                                             CHESTERFIELD      MI    48047‐1797
CHRISTOPHE A NOVACK                              7785 ROSE MARY                                                                                DEARBORN HTS      MI    48127‐1656
CHRISTOPHE A PERSALL                             1146 VOLKMER RD                                                                               MONTROSE          MI    48457‐9303
CHRISTOPHE A RAU                                 7338 N JENNINGS RD                                                                            MT MORRIS         MI    48458‐9305
CHRISTOPHE A SABO                                1854 PARIS                                                                                    LINCOLN PARK      MI    48146‐1332
CHRISTOPHE A SADOWSKI                            5712 SAVOY DR                                                                                 WATERFORD         MI    48327‐2667
CHRISTOPHE A TRIMMER                             16047 FISH LAKE RD                                                                            HOLLY             MI    48442‐8346
CHRISTOPHE A TYBOR                               13459 ROSE ST                                                                                 GIBRALTAR         MI    48173‐9559
CHRISTOPHE ARCATE                                712 PEARCE WAY                                                                                BOWLING GREEN     KY    42101‐1937
CHRISTOPHE B SNOW                                PO BOX 323                                                                                    MASON             MI    48854‐0323
CHRISTOPHE B WATSON                              720 WILBERFORCE DR                                                                            FLINT             MI    48503‐5235
CHRISTOPHE BRUCALE                               1351 QUAKER CHURCH RD                                                                         STREET            MD    21154‐1713
CHRISTOPHE BYAS                                  G 6398 E COLDWATER RD                                                                         FLINT             MI    48506
CHRISTOPHE BYAS & CENTORIA J BYAS JT TEN         G 6398 E COLDWATER RD                                                                         FLINT             MI    48506
CHRISTOPHE C CANNON                              10988 CUMMING HWY                                                                             CANTON            GA    30115‐8106
CHRISTOPHE C CANTRELL SR                         5343 ABBY LOOP WAY                                                                            DAYTON            OH    45414‐3849
CHRISTOPHE C CHRISTMAN                           3435 VAN BUREN ST                                                                             HUDSONVILLE       MI    49426‐1015
CHRISTOPHE C DONATO                              380 BENNETT DR                                                                                COLDWATER         MI    49036‐8814
CHRISTOPHE C HALL III                            2950 FAUSSETT RD                                                                              HOWELL            MI    48843‐8236
CHRISTOPHE C JOHNSON                             15370 MARRAYHILL                                                                              DETROIT           MI    48227‐1944
CHRISTOPHE C THOMAS                              1442 AMOY WEST ROAD                                                                           MANSFIELD         OH    44903‐8923
CHRISTOPHE C VAUGHAN                             PO BOX 12                                                                                     WOODLAND          NC    27897‐0012
CHRISTOPHE CASSIDY                               10281 BANNOCKBURN DR                                                                          LOS ANGELES       CA    90064‐4706
CHRISTOPHE CZAJKA                                2604 MCKNIGHT RD                                                                              CULLEOKA          TN    38451‐2607
CHRISTOPHE D HERRICK                             1913 MONTIETH                                                                                 FLINT             MI    48504‐5202
                           09-50026-mg           Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                               Part 1 of 8 Pg 782 of 850
Name                         Address1                           Address2             Address3           Address4          City            State Zip

CHRISTOPHE D MACK            C/O C D L WEBSTER                  PO BOX 1712                                               BURLINGAME      CA    94011‐1712
CHRISTOPHE D MILEFCHIK       3304 RODS DRIVE                                                                              SANDUSKY        OH    44870‐6702
CHRISTOPHE D MOORE           101 BRECKENRIDGE RD                                                                          FRANKLIN        TN    37067‐5805
CHRISTOPHE DAVIS             1370 ELECTRIC #706                                                                           LINCOLN PARK    MI    48146
CHRISTOPHE DOWNS             147 PARKWAY                                                                                  NORTH CHILI     NY    14514‐1216
CHRISTOPHE E ARVIDSON        1006 OAKDALE DR                                                                              COLUMBIA        TN    38401‐3020
CHRISTOPHE E FLYNN           7731 SHAGBARK CT                                                                             BROWNSBURG      IN    46112‐8499
CHRISTOPHE E GASTON          3851 HURIBUT                                                                                 DETROIT         MI    48214‐4411
CHRISTOPHE E LEROY           120 E DANSVILLE RD                                                                           DANSVILLE       MI    48819‐9712
CHRISTOPHE E PHILLIPS        11810 S HELMIG RD                                                                            LONE JACK       MO    64070‐9248
CHRISTOPHE F GRAMLICH        907 LINDBERG DR                                                                              KANSAS CITY     MO    64118‐4723
CHRISTOPHE FAURE             18 CAYUGA COURT                                                                              AVERIL PARK     NY    12018‐9671
CHRISTOPHE G HOVATTER SR     339 CAMP MEETING GROUND RD                                                                   PORT DEPOSIT    MD    21904‐1508
CHRISTOPHE G IDONI           11410 ORCHARDVIEW DR                                                                         FENTON          MI    48430‐2544
CHRISTOPHE GIGNILLIAT        PO BOX 314                                                                                   CENTERVILLE     TN    37033‐0314
CHRISTOPHE H GOTTORF         135 PATRICIA AVE                                                                             DELRAN          NJ    08075‐2106
CHRISTOPHE H ISCHAY          5351 E BAY POINTE CIR                                                                        PORT CLINTON    OH    43452‐4702
CHRISTOPHE J ALLARDING       PO BOX 413                                                                                   EASTPORT        MI    49627‐0413
CHRISTOPHE J CALHOUN         22604 SYLVAN DR                                                                              FLATROCK        MI    48134‐9209
CHRISTOPHE J CAMERON         31 SCHAFFER DR                                                                               COHOES          NY    12047‐4915
CHRISTOPHE J CARTER          12014 TOWER RD                                                                               BYRON           MI    48418‐9513
CHRISTOPHE J CAVELL          850 E GRAND RIVER AVE              APT 18                                                    BRIGHTON        MI    48116
CHRISTOPHE J DRIELICK        1133 SUNNYDALE                                                                               BURTON          MI    48509‐1941
CHRISTOPHE J FILIPIAK        23256 LIBERTY                                                                                ST CLAIR SHRS   MI    48080‐1504
CHRISTOPHE J GAYDOS          9028 TIMBERMILL RUN                                                                          FORT WAYNE      IN    46804‐3446
CHRISTOPHE J GOYETTE         2173 N VASSAR RD                                                                             BURTON          MI    48509‐1380
CHRISTOPHE J HOWARD          38 ST ANTHONY PL                                                                             MAHOPAC         NY    10541‐2762
CHRISTOPHE J LANGLEY         5853 COBBLESTONE DR                                                                          NORTH BRANCH    MI    48461‐8887
CHRISTOPHE J LASKOWSKI       149 FAWN                                                                                     WHITMORE LAKE   MI    48189‐9106
CHRISTOPHE J MEACHAM         45 MARIE ST                                                                                  MASSENA         NY    13662‐1106
CHRISTOPHE J MILLER          3514 MACKIN RD                                                                               FLINT           MI    48504‐3278
CHRISTOPHE J MILLS           283 TRIPLE CROWN CIR                                                                         SPRINGBORO      OH    45066‐9189
CHRISTOPHE J OBER            1866 MT OLIVE CEMETERY RD                                                                    LYNNVILLE       TN    38472‐5538
CHRISTOPHE J PINKERT         9806 WAGNER RD                                                                               HOLLAND         NY    14080‐9767
CHRISTOPHE J RYAN            1985 TIMUCUA TRAIL                                                                           MIDDLEBERG      FL    32068‐4230
CHRISTOPHE J STRZYZEWSKI     1470 PETTIBONE LAKE ROAD                                                                     HIGHLAND        MI    48356‐3126
CHRISTOPHE J WEST            156 PARKWOOD LN                                                                              HILTON          NY    14468‐1326
CHRISTOPHE JOHNSON           16663 SUSSEX ST                                                                              DETROIT         MI    48235‐3877
CHRISTOPHE K DENNIS          10960 HAVERHILL                                                                              DETROIT         MI    48224‐2442
CHRISTOPHE K HICKS           40 LYRIC DRIVE                                                                               NEWARK          DE    19702‐4521
CHRISTOPHE K WERNER          4243 WHITEES DR                                                                              BELLBROOK       OH    45305‐1340
CHRISTOPHE L ARMENTROUT      9941 TALLEY RD                                                                               SPOTSYLVANIA    VA    22553‐3566
CHRISTOPHE L DOGGETT         1849 BLEDSOE DRIVE                                                                           BELLBROOK       OH    45305‐1316
CHRISTOPHE L HALDEMAN        1133 MARION ROAD                                                                             BUCYRUS         OH    44820‐3162
CHRISTOPHE L JONES           1969 SECTION RD 100                                                                          CINCINNATI      OH    45236
CHRISTOPHE L KELLER          7034 T ERMIGER LANE                                                                          SOUTH LYON      MI    48178‐9600
CHRISTOPHE L PATTERSON       1686 CLAIRMOUNT                                                                              DETROIT         MI    48206‐2015
CHRISTOPHE L SAWYERS         3164 WREN DR                                                                                 BENSON          AZ    85602‐7761
CHRISTOPHE L STACKHOUSE      1175 CO RD 1475                                                                              ASHLAND         OH    44805‐9745
CHRISTOPHE LACEY             GM REG OFC BLDG C                  SZABADSAG U 117      BUDAORS HUNGARYH   HUNGARY (REP)
CHRISTOPHE LADIKOS           37598 FRENCH CREEK RD                                                                        AVON            OH    44011‐1712
CHRISTOPHE M AARON           470 STATE PARK RD                                                                            ORTONVILLE      MI    48462‐9464
CHRISTOPHE M ABBASSE         113 DILLARD ST                                                                               CARRBORO        NC    27510‐1225
CHRISTOPHE M BIELEC          1247 HEATHER LN                                                                              VICTOR          NY    14564‐8981
CHRISTOPHE M DELONEY         10351 W STANLEY RD                                                                           FLUSHING        MI    48433‐9247
CHRISTOPHE M FINDLAY         RUE DE L'AMAZONE 15                BRUSSELS                                1050 BELGIUM
CHRISTOPHE M FISHER          6476 SANDY KNOLL                                                                             LINDEN          MI    48451‐8519
CHRISTOPHE M GALLAGHER       4075 AGATE STREET                                                                            RIVERSIDE       CA    92509‐2855
CHRISTOPHE M HONDA           5740 STONEHAVEN BLVD                                                                         ROCHESTER       MI    48306‐4940
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 783 of 850
Name                                           Address1                             Address2             Address3          Address4          City               State Zip

CHRISTOPHE M KATTOU                            15874 FISHING RIVER ROAD                                                                      LAWSON             MO    64062‐8262
CHRISTOPHE M KEMPINSKI                         4535 RADNOR                                                                                   DETROIT            MI    48224‐1411
CHRISTOPHE M LATHON                            3207 MACKIN ROAD                                                                              FLINT              MI    48504‐3295
CHRISTOPHE M MEAGHER                           15675 STONEHOUSE CIR                                                                          LIVONIA            MI    48154‐1533
CHRISTOPHE M MORANO                            2145 BURNSIDE DR                                                                              DAYTON             OH    45439‐2701
CHRISTOPHE M TOMLINSON                         1360 GALE RD                                                                                  EATON RAPIDS       MI    48827‐9107
CHRISTOPHE MARTIN                              3804 FERNHILL AVE                                                                             BALTIMORE          MD    21215‐5619
CHRISTOPHE N FARLEY                            72 HILLCREST LN                                                                               HICKORY            NC    28601‐8336
CHRISTOPHE O BRIDGMAN                          3401 SUNNYSIDE DR                                                                             DAYTON             OH    45432‐2315
CHRISTOPHE O MCNAMARA                          13326 WEBSTER RD                                                                              CLIO               MI    48420‐8250
CHRISTOPHE P COMERZAN                          20439 MAPLEWOOD DR                                                                            RIVERVIEW          MI    48192‐7927
CHRISTOPHE P PETTORSSON                        747 SHORE CONCOURSE                                                                           CLIFFWOOD BCH      NJ    07735‐5443
CHRISTOPHE P WILSON                            5070 OAKMAN BLVD                                                                              DETROIT            MI    48204‐2671
CHRISTOPHE PHILLIPS                            15630 FORDLINE                                                                                SOUTHGATE          MI    48195‐2034
CHRISTOPHE R AUSTIN                            297 E 1550 N                                                                                  SUMMITVILLE        IN    46070‐9355
CHRISTOPHE R CORTNER                           5646 ROWENA DR                                                                                DAYTON             OH    45415‐2446
CHRISTOPHE R HICKEY                            1533 CHAMBERS ST                                                                              TRENTON            NJ    08610‐5809
CHRISTOPHE R J PRIEST                          23 JOHN F KENNEDY DR                                                                          STONY POINT        NY    10980‐3204
CHRISTOPHE R KONDAK                            30415 OLD STREAM CT                                                                           SOUTHFIELD         MI    48076‐5333
CHRISTOPHE R MAGIERA                           17 KENBERTON DR                                                                               PLEASANT RIDGE     MI    48069‐1015
CHRISTOPHE R MAIOLO                            5229 RANDOLPH ST                                                                              SANBORN            NY    14132‐9464
CHRISTOPHE R MOEBS                             6421 WEDDEL                                                                                   TAYLOR             MI    48180‐1926
CHRISTOPHE R MULLEN                            5324 VAN NESS DR                                                                              BLOOMFIELD HILLS   MI    48302‐2668

CHRISTOPHE RAUX                                GM COORDINATION CNTR                 NEERVELDSTRAAT 107   BRUSSELS          1200 BELGIUM
CHRISTOPHE RAYMOND                             822 BUTLER STREET                                                                             CHESTER            PA    19013‐3723
CHRISTOPHE ROSEBERRY                           3815 KINGS ROW ST                                                                             RENO               NV    89503‐1829
CHRISTOPHE S BUNCE                             207 DURANGO DR                                                                                TROPHY CLUB        TX    76262‐5294
CHRISTOPHE S FAY                               1442 YELL RD                                                                                  LEWISBURG          TN    37091‐4414
CHRISTOPHE S HAWKINS                           5507C NEW YORK AVE                                                                            ALEXANDRIA         LA    71302‐2800
CHRISTOPHE S HOLMAN                            18 EDGEWOOD DR                                                                                BATAVIA            NY    14020‐3907
CHRISTOPHE S STAVICH                           15107 HESBY STREET                                                                            SHERMAN OAKS       CA    91403‐1246
CHRISTOPHE S WAGNER                            3657 BRADFORD CT                                                                              BLOOMFIELD         MI    48301‐3352
CHRISTOPHE SHEPPARD                            4232 HOLCOMB ST                                                                               DETROIT            MI    48214‐1391
CHRISTOPHE STEVENSON                           13451 EVANSTON ST                                                                             DETROIT            MI    48213‐2008
CHRISTOPHE T ARENA                             49 PEAK HILL DR                                                                               ROCHESTER          NY    14625‐1168
CHRISTOPHE T EADS                              5460 ROYALWOOD DR                                                                             DAYTON             OH    45429‐6142
CHRISTOPHE T HUEMMER                           10822 ROESSNER AVE                                                                            HAGERSTOWN         MD    21740‐7669
CHRISTOPHE T MAJCHEROWICZ                      4145 BARBARA DRIVE                                                                            TOLEDO             OH    43623‐3401
CHRISTOPHE THIBAUT                             1308 71ST ST NW                                                                               BRADENTON          FL    34209‐1123
CHRISTOPHE THOMPSON                            60 W 142ND ST 12A                                                                             NEW YORK           NY    10037‐1112
CHRISTOPHE URBAN                               11763 PINE MOUNTAIN DR                                                                        BRIGHTON           MI    48114‐9090
CHRISTOPHE W ALLEN                             2070 CANNON DR                                                                                MANSFIELD          TX    76063‐3413
CHRISTOPHE W GASTON                            30 MURRAY RD                                                                                  PLEASANT HILL      MO    64080‐1559
CHRISTOPHE W HANSON                            15157 PINEHURST DRIVE                                                                         LANSING            MI    48906‐1326
CHRISTOPHE Z FRANCIS                           35077 BOCK ST                                                                                 WESTLAND           MI    48185‐7745
CHRISTOPHEA TUCKER                             15 LANGSTON POINT                                                                             PITTSFORD          NY    14534‐4210
CHRISTOPHEJ MARLIN                             773 N WATER ST #33                                                                            MILWAUKEE          WI    53202‐3539
CHRISTOPHEJ MARTINKOVIC                        5930 KYLES STATION ROAD                                                                       HAMILTON           OH    45011‐8418
CHRISTOPHEJ WALTZ                              1150 MOUNT ROYAL HEIGHTS                                                                      WILLIAMSPORT       PA    17701‐8218
CHRISTOPHEM KELLER                             5096 WESSELMAN WOODS DR                                                                       CLEVES             OH    45002‐9496
CHRISTOPHEP MURSCHEL                           3664 NW WISTERIA PL                                                                           CORVALLIS          OR    97330‐3331
CHRISTOPHER & MIGNONE WOOD TR WOOD 1997        140 BRECON COURT                                                                              REDWOOD CITY       CA    94062‐3203
IRREVOCABLE TRUST UA 07/07/97
CHRISTOPHER A ACQUILANO                        36 LENAPE DR                                                                                  SELLERSVILLE       PA    18960
CHRISTOPHER A CZEREW & ANN M CZEREW JT TEN     917 ROGER NW                                                                                  GRAND RAPIDS       MI    49544‐2827

CHRISTOPHER A FINK                             527 DINGHAM RUN ROAD                                                                          COUDERSPORT        PA    16915‐8239
CHRISTOPHER A FREEH                            126 CLEMONS ST                                                                                LKSID MARBLHD      OH    43440‐2211
                                                 09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 784 of 850
Name                                               Address1                              Address2             Address3          Address4                City              State Zip

CHRISTOPHER A GOW                                  3511 STOCKWOOD ST                                                                                    MECHANICSBURG     PA    17050‐2257
CHRISTOPHER A HAGER                                123 LINCOLN ST                                                                                       NORWELL           MA    02061‐1225
CHRISTOPHER A HOLMES                               3444 PARAMOUNT LANE                                                                                  AUBURN HILLS      MI    48326‐3963
CHRISTOPHER A LAFFERE & PAMELA K LAFFEL JT TEN     635 COLUMBIAVILLE RD                                                                                 COLUMBIAVILLE     MI    48421‐9702

CHRISTOPHER A LEE                                  688 SALEM ST                                                                                         TEANECK           NJ    07666‐5321
CHRISTOPHER A PAPATHEODOROU & NORREN               1735 LANDS END RD                                                                                    LANTANA           FL    33462‐4759
PAPATHEODOROU JT TEN
CHRISTOPHER A PICARD & PATRICIA A PICARD JT TEN    4350 N MICHIGAN                                                                                      SAGINAW           MI    48604‐1649

CHRISTOPHER A POOLE                                1 STONEYBROOK CIR                                                                                    ANDOVER           MA    01810‐6409
CHRISTOPHER A SMITH & NANCY L SMITH JT TEN         109 TALBERT DR                                                                                       CHITTENANGO       NY    13037‐9547
CHRISTOPHER A TRIBOLET & JOHN P LIPPITT JT TEN     26 SYCAMORE                                                                                          LARKSPUR          CA    94939‐1315

CHRISTOPHER ALAN CULLINGS                      8345 PRAIRIE VIEW DR SE                                                                                  ALTO              MI    49302‐9026
CHRISTOPHER ALEXANDER FABY                     2432 WOODCROFT ROAD                                                                                      BALTIMORE         MD    21234‐2835
CHRISTOPHER ALLEN MADDUX                       8175 WHITESAND BLVD                                                                                      NAVARRE BEACH     FL    32566‐7130
CHRISTOPHER ARNONE                             27260 LORRAINE                                                                                           WARREN            MI    48093‐4420
CHRISTOPHER B ARCEMENT                         94150 BAYOU DR                                                                                           DIAMONDHEAD       MS    39525
CHRISTOPHER B BEAN                             602 SPRINGVALE DR                                                                                        SAN ANTONIO       TX    78227‐4453
CHRISTOPHER B BOYLE                            1424 ANNAPOLIS DR                                                                                        ANCHORAGE         AK    99508‐4312
CHRISTOPHER B CARSON                           207 PENNYPACK CIR                                                                                        HATBORO           PA    19040
CHRISTOPHER B CUMMINGS & IAN W CUMMINGS TEN 779 PLASANT RIDGE                            PO BOX 286                                                     LAKE ORION        MI    48362
COM
CHRISTOPHER B DAY                              2690 BOICE RD                                                                                            LANCASTER         OH    43130‐8929
CHRISTOPHER B EVERWINE CUST LEAH EVERWINE UTMA 219 BEAUMONT LN                                                                                          BARRINGTON        IL    60010‐4804
IL
CHRISTOPHER B FENICHELL                        37 CLARENDON RD                           LONDON                                 W11 4JB GREAT BRITAIN
CHRISTOPHER B FUNK                             1661 RAVENSWOOD RD                                                                                       BEAUMONT          CA    92223
CHRISTOPHER B KORYNSKI & BARBARA E KORYNSKI JT 724 LION ST                                                                                              ROCHESTER HILLS   MI    48307‐4221
TEN
CHRISTOPHER B LOVELUND & DENNIS B LOVELUND JT  1283 NAAMANS CREEK RD                                                                                    BOOTHWYN          PA    19061‐1804
TEN
CHRISTOPHER B PIKE                             1657 WILMINGTON COURT                                                                                    ROCHESTER HILLS   MI    48309‐4280
CHRISTOPHER B ROWAN                            4123 PALM TREE CT                                                                                        LA MESA           CA    91941‐7238
CHRISTOPHER BAILEY                             29 PONTE BRAVA                                                                                           LAKE ELSINORE     CA    92532‐0233
CHRISTOPHER BAIRD & MANDY BAIRD JT TEN         10808 CAMPAIGN CT                                                                                        MANASSAS          VA    20109‐8219
CHRISTOPHER BECKER                             5313 W FALLEN LEAF LN                                                                                    GLENDALE          AZ    85310
CHRISTOPHER BEIRING                            235 WESTCHESTER BLVD                                                                                     KENMORE           NY    14217‐1313
CHRISTOPHER BENDER                             225 LAUREN HOPE LN                                                                                       MOORE             SC    29369‐8704
CHRISTOPHER BONA                               1701 STONE RIDGE LANE                                                                                    ALGONQUIN         IL    60102‐6635
CHRISTOPHER BOYD BOWERS                        1133 LITTLE ECHO LN                                                                                      BEDFORD           VA    24523‐5472
CHRISTOPHER BOYLE                              201 LOMA VERDE APT 1                                                                                     PALO ALTO         CA    94306‐2919
CHRISTOPHER BRANDT                             1739 RIDGE RD                                                                                            WHITE LAKE        MI    48383‐1787
CHRISTOPHER BREMER                             1495 MAPLEVIEW SE                                                                                        KENTWOOD          MI    49508‐4809
CHRISTOPHER BRIAN HANG & ELEANOR LEE HANG JT   ATTN HAN MAY MEAT COMPANY                 94 BAYARD ST                                                   NEW YORK          NY    10013‐4460
TEN
CHRISTOPHER BRITT THOMAS                       445 DUNDEE DR                                                                                            BLUE BELL         PA    19422‐2443
CHRISTOPHER BRODY                              1690 STONY CREEK                                                                                         ROCHESTER         MI    48307
CHRISTOPHER BRODY                              1690 STONY CREEK                                                                                         ROCHESTER         MI    48307
CHRISTOPHER BROWN                              40 FOXGRAPE RD                                                                                           PORTSMOUTH        VA    23701‐2019
CHRISTOPHER BROWN CUST JOSHUA BROWN UTMA NY 130‐09 SUTTER AVE                                                                                           ST OZONE PARK     NY    11420‐2937

CHRISTOPHER BROWN TR CHRISTOPHER BROWN LIVING 484 PEAVINE FIRETOWER RD                                                                                  CROSSVILLE        TN    38571‐0905
TRUST UA 05/04/95
CHRISTOPHER BRYAN BALDWIN                     542 VIA DE LA VALLE                        UNIT C                                                         SOLANA BEACH      CA    92075
CHRISTOPHER BURNETT                           9877 NW 2ND ST                                                                                            PLANTATION        FL    33324‐7239
CHRISTOPHER BURR                              BOX 1063                                                                                                  LOCUST GROVE      VA    22508‐1063
CHRISTOPHER C BARCLAY                         364 MOYER ROAD                                                                                            SOUDERTON         PA    18964‐2318
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 785 of 850
Name                                           Address1                               Address2             Address3          Address4          City            State Zip

CHRISTOPHER C BEHREL                            843 MAPLE AV                                                                                   DOWNERS GROVE   IL    60515‐4904
CHRISTOPHER C BIRKHOLM                          PO BOX 225                                                                                     PAHOA           HI    96778‐0225
CHRISTOPHER C BODE                              939 DEER SPRING PL                                                                             NEWBURY PARK    CA    91320‐5504
CHRISTOPHER C CHASTAIN & CYNTHIA MARIE CHASTAIN 2436 STANTON HILL RD                                                                           CAMERON         NC    28326‐7928
JT TEN
CHRISTOPHER C HARWELL & DANA R HARWELL JT TEN 932 WEDGEWOOD LANE                                                                               LAKELAND        FL    33813‐1763

CHRISTOPHER C HODGKINS                         3441 TRACY DR                                                                                   SANTA CLARA     CA    95051‐6428
CHRISTOPHER C HODGSON                          30 TYNG HILL RD                                                                                 HOLLIS          NH    03049‐5968
CHRISTOPHER C JORDAN                           1228 MADISON AVE                                                                                SAN DIEGO       CA    92116‐1031
CHRISTOPHER C OKEEFE                           APT 5‐D                                49 MELROSE ST                                            MELROSE         MA    02176‐2220
CHRISTOPHER C RUMPF                            2613 WILLOW AVE                                                                                 RAPID CITY      SD    57701‐7178
CHRISTOPHER C WARD                             501 HEATHER                                                                                     SIERRA VISTA    AZ    85635‐4755
CHRISTOPHER C WILSON                           5865 WATER ST                                                                                   POLAND          OH    44514‐1784
CHRISTOPHER CAMPS CUST JACKSON LOWELL CAMPS    61 EDGEWOOD RD                                                                                  KATONAH         NY    10536‐3417
UGMA NY
CHRISTOPHER CAPICOTTO                          1071 THOMAS FOX DR E                                                                            NORTH           NY    14120‐2956
                                                                                                                                               TONAWANDA
CHRISTOPHER CARSON                             544 COYOTE ST                                                                                   NEVADA CITY     CA    95959‐2232
CHRISTOPHER CECIL                              509 LAKES CT                                                                                    WESTMINSTER     MD    21158
CHRISTOPHER CHARLES TERRASSE                   345 WOODSPRING COURT                                                                            CANTON          GA    30115‐8297
CHRISTOPHER CHIMERA                            20306 35TH AVE                                                                                  BAYSIDE         NY    11361‐1110
CHRISTOPHER CIERECK                            318 WADSWORTH ST                                                                                SYRACUSE        NY    13208‐3032
CHRISTOPHER CLARKE CUST LANGSTON CLARKE UTMA   2769 WOODLEY PL NW                                                                              WASHINGTON      DC    20008
DC
CHRISTOPHER COLLINS                            14531 SENECA ROAD                                                                               DARNESTOWN      MD    20874
CHRISTOPHER COOK NELSON                        1627 W COLUMBIA AVE                    APT 3                                                    CHICAGO         IL    60626‐4169
CHRISTOPHER CORRIGAN                           1093 SALMA DR                                                                                   TROY            MI    48084‐1586
CHRISTOPHER CORRIGAN IN TRUST FOR BRONWYN      127 WESTVALE DR                        WATERLOO ON                            N2T 1B6 CANADA
HELEN ANN CORRIGAN
CHRISTOPHER CUSSICK                            37 FOREST DR                                                                                    HYDE PARK       NY    12538
CHRISTOPHER D BROWN                            121 PUTNAM STREET                                                                               HARTFORD        CT    06106‐1326
CHRISTOPHER D DAWSON                           PO BOX 2403                                                                                     TEMECULA        CA    92593‐2403
CHRISTOPHER D DECKER & NANCY M DECKER JT TEN   BOX 877                                                                                         UNIONTOWN       PA    15401‐0877

CHRISTOPHER D FULMER                           BOX 732                                                                                         MONTEVALLO      AL    35115‐0732
CHRISTOPHER D GAYLOR                           5300 20TH ST N                                                                                  ARLINGTON       VA    22205‐3019
CHRISTOPHER D HAM                              3841 HIGH GROVE WAY                                                                             LAKE ORION      MI    48360‐1575
CHRISTOPHER D J PAPE                           610 MAIN ST                            SUITE 310                                                RACINE          WI    53403‐1258
CHRISTOPHER D JENNINGS                         28 ROWLAND STREET                                                                               BALLSTON SPA    NY    12020‐1224
CHRISTOPHER D LINDSETH                         2801 QUEBEC ST NW                      APT 124                                                  WASHINGTON      DC    20008‐6210
CHRISTOPHER D LUX                              6802 W APPLEWOOD LANE                                                                           SPRING GROVE    IL    60081‐8089
CHRISTOPHER D MAC DONALD                       1334 RANDOLPH ST NW                                                                             WASHINGTON      DC    20011‐5528
CHRISTOPHER D MILLER                           1174 AVENIDA AZUL                                                                               SAN MARCOS      CA    92069‐8305
CHRISTOPHER D MOHLER                           1041 S HIAWASSEE RD                    APT 3013                                                 ORLANDO         FL    32835‐1747
CHRISTOPHER D RHODES                           1879 GROVEPOINTE DR                                                                             FLORENCE        KY    41042‐4310
CHRISTOPHER D SMITH                            10 GRANDE POINTE CIRCLE                                                                         INLET BEACH     FL    32413
CHRISTOPHER D TUCKER                           3917 SUNSETRIDGE RD                                                                             MOORPARK        CA    93021‐3756
CHRISTOPHER D TULLOCH                          11 AUBREY ST                                                                                    SUMMIT          NJ    07901‐1408
CHRISTOPHER D WILEY & LINDA WILEY JT TEN       1074 EAST FOREST ST                                                                             YPSILANTI       MI    48198‐3909
CHRISTOPHER DAMION BECKER                      2073 MAGELLAN DR                                                                                OAKLAND         CA    94611‐2637
CHRISTOPHER DANA STUTZMAN                      782 STONEBRIDGE DRIVE                                                                           CINCINNATI      OH    45233‐4859
CHRISTOPHER DAVID GARLICK & GORDON MARK        PO BOX 146                                                                                      CUSTER          MI    49405‐0146
GARLICK SR JT TEN
CHRISTOPHER DAVID WRIGHT                       109 MAIN ST                                                                                     BRIDGEPORT      NJ    08014‐9709
CHRISTOPHER DEGUIO                             8908 LIBERTY N E                                                                                ALBUQUERQUE     NM    87109‐5173
CHRISTOPHER DELAMAR WELCH                      1601 DENNBRIAR DRIVE                                                                            CONCORD         NC    28027‐7836
CHRISTOPHER DEMEYER CUST JORDAN C DEMEYER      1556 TURKEY RIDGE CT NW                                                                         SWISHER         IA    52338‐9451
UTMA IA
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 786 of 850
Name                                            Address1                                 Address2             Address3          Address4          City             State Zip

CHRISTOPHER DEMEYER CUST OLIVIA DEMEYER UTMA 1556 TURKEY RIDGE CT NW                                                                              SWISHER          IA    52338‐9451
IA
CHRISTOPHER DIFEO                               12 RED OAK DR                                                                                     SPRING LAKE      NJ    07762‐1620
CHRISTOPHER DOUGLAS MILLEN & PATRICIA SHURTLEFF 83 HOLYOKE ROAD                                                                                   RICHBORO         PA    18954‐1921
MILLEN JT TEN
CHRISTOPHER DUSZYNSKI                           58 KNOB HILL RD                                                                                   ORCHARD PARK     NY    14127‐3931
CHRISTOPHER DYWAN CUST MICHAEL DYWAN UTMA IN 8504 MADISONAVE                                                                                      MUNSTER          IN    46321

CHRISTOPHER E ANDREWS CUST LESLIE C ANDREWS     3881 BRECKINRIDGE DR                                                                              OKEMOS           MI    48864‐3846
UGMA MI
CHRISTOPHER E BERNDT                            994 PADUA WAY                                                                                     LIVERMORE        CA    94550‐7109
CHRISTOPHER E BORRONI‐BIRD                      4080 HOLLY LN                                                                                     OAKLAND TWP      MI    48306‐4761
CHRISTOPHER E DAYTON                            60 MILLARD ST                                                                                     FAIRFIELD        CT    06430‐6504
CHRISTOPHER E HEMPSTEAD                         18 KINGSWAY GATE                         COURTICE ON                            L1E 1X9 CANADA
CHRISTOPHER E HOEYE                             7258 EAST SPANISH BELL LN                                                                         SUPERSTITION MTN AZ    85218‐1855

CHRISTOPHER E KALMUS                             120 E OGDEN                             SUITE 200                                                HINSDALE         IL    60521‐3546
CHRISTOPHER E KUBICEK                            13501 MEADOW CREEK DR                   APT 706                                                  ORLANDO          FL    32821
CHRISTOPHER E PACK                               3428 ROLFE AVE                                                                                   DAYTON           OH    45414‐5153
CHRISTOPHER E PARADIS                            24873 WILMOT AVE                                                                                 EAST POINTE      MI    48021‐1353
CHRISTOPHER E TATE                               4796 WHITE TAIL CT                                                                               COMMERCE TWP     MI    48382‐5403
CHRISTOPHER E TEEHAN TR UA 01/02/2009 FBO DAVID PO BOX 197                                                                                        POMFRET CTR      CT    06259
ST MARTIN TRUST
CHRISTOPHER E VARGO                              14019 PONDVIEW DR                                                                                CARMEL           IN    46032‐8250
CHRISTOPHER E WAHL                               10 STEEPMAPLE GR                        WEST HILL ON                           M1E 4P5 CANADA
CHRISTOPHER EATON BAILEY & COURTENAY             5 WEBSTER AVE                                                                                    SANDWICH         MA    02563‐1818
HARRINGTON BAILEY JT TEN
CHRISTOPHER EDGETTE                              4 PARK HILL AVE                                                                                  MASSAPEQUA       NY    11758‐4431
CHRISTOPHER EDMUND WELLER CUST CHRISTOPHER       4808 HARVEST GLEN CT                                                                             FREDERICKSBURG   VA    22408‐1888
ANDREW WELLER UTMA VA
CHRISTOPHER EDWARD KIELIAN                       3465 TOWNE HILL DR                                                                               GRAND BLANC      MI    48439‐7982
CHRISTOPHER EDWIN ANDREWS CUST MICHAEL REID      3881 BRECKINRIDGE DR                                                                             OKEMOS           MI    48864‐3846
ANDREWS UGMA MI
CHRISTOPHER F BUNN                               1548 FERNWOOD DR                                                                                 OAKLAND          CA    94611‐2169
CHRISTOPHER F COPP                               581 DUCK RUN RD                                                                                  LUCASVILLE       OH    45648‐8805
CHRISTOPHER F DELONG                             PO BOX 334                                                                                       HILLSBORO        IL    62049‐0334
CHRISTOPHER F DUBAY                              2465 OAK RIDGE                                                                                   TROY             MI    48098‐5325
CHRISTOPHER F HAUSER                             1775 GREENWOOD RD                                                                                TOMS RIVER       NJ    08753
CHRISTOPHER F MESCALL CUST CHRISTOPHER F         109 CENTER AVENUE                                                                                LEONARDO         NJ    07737‐1113
MESCALL JR UGMA NY
CHRISTOPHER F MILNES                             2425 POLK AVE                           APT A                                                    SAN DIEGO        CA    92104
CHRISTOPHER F R MANNING                          5276 STEELVILLE ROAD                                                                             STEELVILLE       PA    19310‐1629
CHRISTOPHER F REDMOND                            99 CHESTNUT ST                                                                                   MASSAPEQUA       NY    11758‐5121
CHRISTOPHER F RULON                              1384 MUITZESKILL ROAD                                                                            CASTLETON        NY    12033‐9665
CHRISTOPHER F SANDELLI                           34 TREVOR PL                            LONDON ON                              N5V 4H3 CANADA
CHRISTOPHER F SANDELLI                           34 TREVOR PL                            LONDON ON                              N5V 4H3 CANADA
CHRISTOPHER FARMER                               5110 SARASOTA DR                                                                                 GARLAND          TX    75043‐2878
CHRISTOPHER FLYNN                                1669                                    PLEASANTVILLE RD     BRIARCLIFF                          BRIARCLIFF       NY    10510
CHRISTOPHER FOLTS DOOLEY                         21 SUMMIT RD                                                                                     LEXINGTON        MA    02421‐6003
CHRISTOPHER FRANK MOHR                           91‐219 LUKINI PL                                                                                 EWA BEACH        HI    96706‐4750
CHRISTOPHER FRED SMITH TR BEHN TRUST UA 08/01/90 14080 NACOGDOCHES PMB 148                                                                        SAN ANTONIO      TX    78247‐1944

CHRISTOPHER FREZZA CUST VITO FREZZA UTMA MI     14697 ANNAPOLIS                                                                                   STERLING HTS     MI    48313

CHRISTOPHER FULTON                              1929 1/2 TAPIA BLVD S W                                                                           ALBUQUERQUE      NM    87105
CHRISTOPHER G BRADY                             3736 CAPRI DR                                                                                     SANTA BARBARA    CA    93105‐2413
CHRISTOPHER G BUCK & DENNIS R BUCK JT TEN       8451 ANDERSON CRT                                                                                 MECHANICSVILLE   VA    23116‐3102
CHRISTOPHER G CALLAHAN                          194 ANSTICE STREET                                                                                OYSTER BAY       NY    11771‐3534
CHRISTOPHER G CARVER & JOAN S CARVER JT TEN     2102 CAMDEN LAKE WAY                                                                              ACWORTH          GA    30101‐7114
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                    Exhibit E
                                                                                       Part 1 of 8 Pg 787 of 850
Name                                             Address1                               Address2                        Address3              Address4          City              State Zip

CHRISTOPHER G COLLET                             3703 WHIPPOORWELL LAKE                 NORTH DRIVE                                                             MONROVIA          IN    46157
CHRISTOPHER G FALLOON                            6232 SHADY CREEK CT                                                                                            FORT WAYNE        IN    46814‐3298
CHRISTOPHER G GRAIN & HALLEY M GRAIN JT TEN      1808 REDWOOD LANE                                                                                              DAVIS             CA    95616‐1022
CHRISTOPHER G ISFORT                             1417 CHELTENHAM DRIVE                                                                                          LOVELAND          OH    45140‐8085
CHRISTOPHER G LYON                               5050 EVERGREEN LANE N                                                                                          PLYMOUTH          MN    55442‐2259
CHRISTOPHER G PRATOR                             1829 PAYNES WAY                                                                                                PARADISE          CA    95969‐5549
CHRISTOPHER G WRIGHT                             3141 SPRING CITY AVE                                                                                           N LAS VEGAS       NV    89081‐6552
CHRISTOPHER GENE MATTHEWS                        1691 S BRADFORD RD                                                                                             REESE             MI    48757‐9210
CHRISTOPHER GERARD KEPICH & CHRISTINE FRANCES    365 ARBOR PINE                                                                                                 ORTONVILLE        MI    48462‐8596
KEPICH JT TEN
CHRISTOPHER GEZA BELA HADIK                      791 CAMOIA RD                                                                                                  CHESTER           NH    03036‐4335
CHRISTOPHER GILLIS                               2409 YORK ROAD                                                                                                 PENNSAUKEN        NJ    08109‐3269
CHRISTOPHER GILLIS & BRENDA C GILLIS JT TEN      2409 YORK RD                                                                                                   PENNSUAKEN        NJ    08109‐3269
CHRISTOPHER GIVELAS                              78 MARTINDALE STREET                   OSHAWA ON                                             L1H 6W6 CANADA
CHRISTOPHER GLENN                                111 STEPHENS STREET                                                                                            LOCKPORT          NY    14094‐4231
CHRISTOPHER GRAHAM                               RR4                                    UXBRIDGE ON                                           L9P 1R4 CANADA
CHRISTOPHER GRANT CUST MICHAEL C GRANT UTMA IL   27 MOHAWK                                                                                                      CLARENDON HILLS   IL    60514‐1125

CHRISTOPHER GREATHEAD                          6545 CAMINO CASETA                                                                                               GOLETA            CA    93117
CHRISTOPHER GUDDECK                            11663 FARLEY                                                                                                     REDFORD           MI    48239‐2470
CHRISTOPHER H FAGAN CUST CHRISTOPHER KYLE      BOX 2768                                                                                                         BIG BEAR CITY     CA    92314‐2768
FAGAN UTMA CA
CHRISTOPHER H LYNCH & ROBIN M LYNCH JT TEN     3490 SHADY LANE                                                                                                  ORTONVILLE        MI    48462‐9279
CHRISTOPHER H MANSUY & MRS MERRILY R MANSUY JT 12 OLD FARM ROAD                                                                                                 CHATHAM           NJ    07928‐1510
TEN                                                                                                                                                             TOWNSHIP
CHRISTOPHER H MORRISON                         5160 BANTRY COURT                                                                                                INDIANAPOLIS      IN    46254‐9661
CHRISTOPHER H RODRIGUEZ                        896 BURR STREET                                                                                                  FAIRFIELD         CT    06430‐7111
CHRISTOPHER H ROGERS                           709 S 6TH ST                                                                                                     WILMINGTON        NC    28401
CHRISTOPHER H STOUT & CHERYL STOUT JT TEN      5 ROY COURT                              CHAPEL WOODS                                                            NEWARK            DE    19711‐6106
CHRISTOPHER H TILGHMAN                         2401 NW 55TH TER                                                                                                 OKLAHOMA CITY     OK    73112‐7724
CHRISTOPHER H TRAIN                            11 ROBIN DRIVE                                                                                                   CARMEL            NY    10512‐5056
CHRISTOPHER H WRIGHT                           140 JUG HOLLOW RD                                                                                                PHOENIXVILLE      PA    19460‐2738
CHRISTOPHER HAGER & KIMBERLY S HAGER JT TEN    8180 W 4TH AVE                           APT J 104                                                               KENNEWICK         WA    99336

CHRISTOPHER HALE                                 4002 49 AVE                            INNISFAIL                       CANADA AB             T4G 1J5 CANADA
CHRISTOPHER HATFIELD                             9267 BLACK VINE DR                                                                                             CONCORD           NC    28025
CHRISTOPHER HENNING                              3117 VENTURA LN                                                                                                MERRERO           LA    70072‐5931
CHRISTOPHER HENRY                                1234 PASSAGE WAY                                                                                               PLAINFIELD        IN    46168‐3278
CHRISTOPHER HESTER                               15 BRONCO COURT                                                                                                CARTERSVILLE      GA    30120
CHRISTOPHER HIGGINS & MARY ANN HIGGINS JT TEN    798 QUEENSTON ST                       WINNIPEG MB                                           R3N 0X7 CANADA

CHRISTOPHER HODGE                                5296 HURD ROAD                                                                                                 OXFORD            MI    48371
CHRISTOPHER HOUSE CUST THOMAS C HOUSE UTMA       28 PINNACLE DR                                                                                                 EAST WALPOLE      MA    02032‐1153
MA
CHRISTOPHER HUGHES                               112 NEVADA AVE                                                                                                 JACKSONVILLE      AR    72076
CHRISTOPHER HUGHES CUST ERIC HUGHES UGMA TX      1166 SEQUOIA RD                                                                                                NAPERVILLE        IL    60540‐6353

CHRISTOPHER HURDLE                               201 ORCHARD RD                                                                                                 NIPOMO            CA    93444‐8938
CHRISTOPHER HURSH & NORMAN C HURSH JT TEN        9 JEFFREY CIR                                                                                                  BEDFORD           MA    01730‐1519

CHRISTOPHER I M HOUSER                           DIANA RFD HOUSER TTEE                  FBO HOUSER FAM TR UA 03/05/90   340 N SUNNYSIDE AVE                     SIERRA MADRE      CA    91024‐1053
CHRISTOPHER J ARRIGO                             14 BAYLOR AVE                                                                                                  FARMINGVILLE      NY    11738‐1308
CHRISTOPHER J BARALOTO                           407 CLOVERDALE DR                                                                                              TALLAHASSEE       FL    32312‐1632
CHRISTOPHER J BERMAN                             31 PEACH TREE COURT                                                                                            CHESHIRE          CT    06410‐2367
CHRISTOPHER J BLACK                              1177 WOODWIND TRAIL                                                                                            HASLETT           MI    48840‐8956
CHRISTOPHER J BOWERS ESTATE OF BARBARA A         28 JOYCE DR                                                                                                    PISCATAWAY        NJ    08854
BOWERS
CHRISTOPHER J BROWN                              2391 BATTLE DR                                                                                                 VILLA RICA        GA    30180‐8012
CHRISTOPHER J BURKE                              353 OLD FORT RD                                                                                                KING OF PRUSSIA   PA    19406‐2243
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 788 of 850
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

CHRISTOPHER J BUZAID                             51 LAKE AVE                                                                                     TARRYTOWN       NY    10591
CHRISTOPHER J COLEMAN CUST LUCAS R COLEMAN       6809 ERICA LN                                                                                   LOCKPORT        NY    14094‐7993
UTMA NY
CHRISTOPHER J COLEMAN CUST MIQELLE E COLEMAN     6809 ERICA LN                                                                                   LOCKPORT        NY    14094‐7993
UTMA NY
CHRISTOPHER J COMBS                              10585 GREENWAY DR                                                                               FISHERS         IN    46037‐9374
CHRISTOPHER J COOK & TAMMY S COOK JT TEN         856 DUNBARTON DRIVE                                                                             SAINT CHARLES   MO    63304‐1079
CHRISTOPHER J CUTTITTA                           1015 GOLDEN PARK PL                    APT A                                                    GOLDEN          CO    80403‐2444
CHRISTOPHER J DESNOYER & CHRISTINE A DESNOYER JT 8245 S JACKSON RD                                                                               JACKSON         MI    49201‐9710
TEN
CHRISTOPHER J DUNNE                              385 S CATALINA AVE                     UNIT 113                                                 PASADENA        CA    91106
CHRISTOPHER J DYKES                              220 MT ELON CH RD                                                                               HOPKINS         SC    29061‐9029
CHRISTOPHER J EPPLER & CELESTE EPPLER JT TEN     4057 LISA DR                                                                                    HOLLADAY SLC    UT    84124‐2170
CHRISTOPHER J ESWORTHY CUST CHRISTOPHER JON      257 RIVERSIDE DR                                                                                BINGHAMTON      NY    13905‐4058
ESWORTHY II UGMA NY
CHRISTOPHER J FESMIRE                            3706 WALNUT AVE                                                                                 LONB BEACH      CA    90807‐4337
CHRISTOPHER J GALUMAN                            11804 RAMSEY DR                                                                                 WHITTIER        CA    90605‐4032
CHRISTOPHER J GIBBONS & ANNA MAY GIBBONS JT TEN 414 OLD RTE 209                                                                                  HURLEY          NY    12443‐5926

CHRISTOPHER J GREEN CUST MELISSA A GREEN UTMA     26462 BRIARWOOD LN                                                                             SAN JUAN        CA    92675‐1111
CA                                                                                                                                               CAPISTRAN
CHRISTOPHER J HENRY CUST ALEC J HENRY UTMA IN     1234 PASSAGE WAY                                                                               PLAINFIELD      IN    46168‐3278

CHRISTOPHER J HOOLEHAN                            3 FARM FIELD RIDGE ROAD                                                                        SANDY HOOK      CT    06482‐1080
CHRISTOPHER J HUGHES & MARY JO HUGHES & JOHN C    4075 HIGHCREST                                                                                 BRIGHTON        MI    48116‐7707
HUGHES JT TEN
CHRISTOPHER J JANIK                               45611 EMERALD FOREST DR                                                                        NOVI            MI    48374‐3126
CHRISTOPHER J KEMP                                10 OLD FARM RD                                                                                 KITTERY         ME    03904‐5411
CHRISTOPHER J KOHLER                              3 WEST PINE ST                                                                                 NEWTON          MA    02466‐1113
CHRISTOPHER J KRESEK TOD                          2986 JACOB                                                                                     HAMTRAMCK       MI    48212‐3704
CHRISTOPHER J LACEY                               19 FRANKLIN HUNT ROAD                                                                          ROCKLAND        MA    02370‐7211
CHRISTOPHER J LANDERDAHL                          4305 W EMERSON ST                                                                              SEATTLE         WA    98199
CHRISTOPHER J LEIDY                               10604 CARROLL BROOK LANE                                                                       TAMPA           FL    33618‐4128
CHRISTOPHER J LINSNER                             5 DONAMIRE CT                                                                                  BEAR            DE    19701‐2368
CHRISTOPHER J LUTEY                               3313 MICHAEL DR                                                                                WILLIAMSBURG    MI    49690‐9328
CHRISTOPHER J LYONS                               1136 KOLBE LN                                                                                  WEST CHESTER    PA    19382‐7201
CHRISTOPHER J MARTONE                             PO BOX 9022                                                                                    WARREN          MI    48090‐9022
CHRISTOPHER J MC NULTY                            36630 AMANDA CT                                                                                RICHMOND        MI    48062‐5911
CHRISTOPHER J MEIDL                               2515 NORTH LEFEBER AVE                                                                         WAUWATOSA       WI    53213‐1221
CHRISTOPHER J MICALLEF & JANICE MICALLEF JT TEN   310 POWER ST                                                                                   FOWLERVILLE     MI    48836‐9206

CHRISTOPHER J MUFFLY CUST CHRISTOPHER TYSON       8044 CENTREBRIDGE DR                                                                           NIWOT           CO    80503‐7120
MUFFLY UTMA CO
CHRISTOPHER J MUFFLY CUST HARRY JOSEPH MUFFLY     8044 CENTREBRIDGE DR                                                                           NIWOT           CO    80503‐7120
UGMA PA
CHRISTOPHER J MULCAHY                             1707 RIVER ROCK RD #201                                                                        CHESTER         VA    23836‐6111
CHRISTOPHER J MURRAY                              716 BOUNDRY AVE                                                                                TAKOMA PARK     MD    20910‐5204
CHRISTOPHER J MUSCARELLA                          7428 FRUITHILL LN                                                                              CINCINNATI      OH    45230‐2346
CHRISTOPHER J NIEMI & SANDRA L NIEMI JT TEN       7494 HUNTERS RIDGE DR                                                                          JACKSON         MI    49201‐8562
CHRISTOPHER J NOBLE                               17 STANDISH RD                                                                                 NEEDHAM         MA    02192‐1115
                                                                                                                                                 JUNCTION
CHRISTOPHER J PENNINGTON                        10 SOUTH PARADISE AVE                                                                            CATONSVILLE     MD    21228‐3507
CHRISTOPHER J PLYBON                            364 PARK POINTE WAY                                                                              HUNTINGTON      WV    25701‐4054
CHRISTOPHER J RAITHEL                           PO BOX 541                                                                                       HOPE VALLEY     RI    02832‐0541
CHRISTOPHER J RANEY & DONNA G RANEY JT TEN      6306 BRIDGEVISTA DRIVE                                                                           LITHIA          FL    33547‐4871
CHRISTOPHER J READING                           6573 PHELAN COURT                                                                                CLARKSTON       MI    48346‐1251
CHRISTOPHER J RIORDAN                           2836 RIVER RD                                                                                    MAUMEE          OH    43537‐3739
CHRISTOPHER J ROONEY & MARGARET E ROONEY JT TEN 18606 SHADY VIEW LANE                                                                            BROOKEVILLE     MD    20833‐2819
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 789 of 850
Name                                                Address1                               Address2              Address3         Address4          City               State Zip

CHRISTOPHER J ROUIN                            7931 ST DENNIS DRIVE                                                                                 SPRINGFIELD        VA    22153
CHRISTOPHER J RUDER CUST ADDISON JO RUDER UTMA 8112 LONGVIEW RD                                                                                     LENEXA             KS    66220‐9200
KS UNIF TRAN MIN ACT
CHRISTOPHER J SCALICI & SANTO A SCALICI JT TEN 44143 PROVIDENCE DR                                                                                  MOUNT CLEMENS      MI    48038‐1052

CHRISTOPHER J SCULLY JR CUST CHRISTOPHER P SCULLY   225 W BUTTERCUP RD                                                                              WILDWOOD           NJ    08260‐1319
III UGMA NJ
CHRISTOPHER J SOCHIN                                1605 CLEARVIEW RD                                                                               SANTA BARBARA      CA    93101‐4920
CHRISTOPHER J SWEENEY                               PO BOX 847                                                                                      MIDDLEBURY         CT    06762‐0847
CHRISTOPHER J THEODORE                              147 STRATFORD ST #1                                                                             WEST ROXBURY       MA    02132‐2137
CHRISTOPHER J THOMPSON TR UA 12/27/90 LESLIE        2138 WILMINGTON DR                                                                              WALNUT CREEK       CA    94596‐6239
EDWIN THOMPSON JR
CHRISTOPHER J VASILIU                               2805 CONCORD DR                                                                                 WALL               NJ    07719‐9574
CHRISTOPHER J VOJSAK SR                             PO BOX 20878                           3536 W HENDERSON RD                                      COLUMBUS           OH    43220‐2232
CHRISTOPHER J WADDELL                               414 REDOAK LN                                                                                   LAWRENCEVILLE      GA    30045‐6224
CHRISTOPHER J WALKER & LISA K WALKER JT TEN         PO BOX 132                                                                                      CAMBRIDGE          PA    16403‐0132
                                                                                                                                                    SPRINGS
CHRISTOPHER J WALSH                                 33 S MANNING BLVD                                                                               ALBANY             NY    12203
CHRISTOPHER J WASHCO                                31 PONDVIEW RD                                                                                  MORRIS PLAINS      NJ    07950‐2744
CHRISTOPHER J WHELAN                                92 ISLETA DRIVE                                                                                 CHEROKEE VLG       AR    72529
CHRISTOPHER J WIDDIS                                61 WERAH PL                                                                                     OCEANPORT          NJ    07757‐1538
CHRISTOPHER J WILKES                                339 CAROLYN CT                                                                                  CARMEL             IN    46032‐4632
CHRISTOPHER J ZANG                                  4617 SW ENGLEWOOD ST                                                                            SEATTLE            WA    98136‐1136
CHRISTOPHER JACOBS                                  89 N HOLCOMB RD                                                                                 CLARKSTON          MI    48346‐1435
CHRISTOPHER JAMES BERNHARD                          PO BOX 692                                                                                      OTISVILLE          NY    10963‐0692
CHRISTOPHER JAMES HOLLE                             2309 S FRANKLIN ST                                                                              DENVER             CO    80210
CHRISTOPHER JAMES STRIANSE                          32 ARROWHEAD TRAIL                                                                              RINGWOOD           NJ    07456‐1234
CHRISTOPHER JAY COLLINS                             162 ELM TREE LANE                                                                               ELMHURST           IL    60126‐3648
CHRISTOPHER JAY WILLIAMS                            ATTN CHRISTINA L OWEN                  324 BEAUMONT                                             ARDMORE            OK    73401‐9112
CHRISTOPHER JEROME                                  651 ORCHARD RIDGE RD                                                                            BLOOMFIELD HILLS   MI    48304‐2633

CHRISTOPHER JOHN DI LISI                         6348 HIGHLAND RD                                                                                   CLEVELAND          OH    44143‐2113
CHRISTOPHER JOHN HARTER                          503 BASSETT RD                                                                                     BAY VILLAGE        OH    44140‐1838
CHRISTOPHER JOHN SMITH & BRIAN JOHN SMITH JT TEN 872 TORCHWOOD DR                                                                                   DELAND             FL    32724‐9405

CHRISTOPHER JOHNSON                                 1502 CRESTLINE DR                                                                               SANTA BARBARA      CA    93105‐4611
CHRISTOPHER JOHNSON                                 14521 COUNTY RD 520                                                                             GREENWOOD          MS    38930
CHRISTOPHER JONATHAN T BAUER                        1321 IRONGATE TRL                                                                               GREENVILLE         IL    62246‐2732
CHRISTOPHER JONES                                   26602 RAPID FALLS CT                                                                            CORONA             CA    92883‐6315
CHRISTOPHER JOSEPH BELLARO                          39 WINDING BROOK DRIVE                                                                          MATAWAN            NJ    07747‐7011
CHRISTOPHER JOSEPH BIEHUNIK                         56 OLD STONE RD                                                                                 DEPEW              NY    14043‐4231
CHRISTOPHER JOSEPH IAMARINO                         4276 CORNELL RD                                                                                 OKEMOS             MI    48864‐3020
CHRISTOPHER K ADAMS                                 420 PICO BLVD                          APT 306                                                  SANTA MONICA       CA    90405‐1165
CHRISTOPHER K DAVIS                                 5209 SLOAN CIR                                                                                  ROGERS             AR    72758‐4616
CHRISTOPHER K OTOSHI                                1233 7TH AVENUE                                                                                 HONOLULU           HI    96816‐2643
CHRISTOPHER K WEATHERLY                             8814 STERLINGAME                                                                                HOUSTON            TX    77031‐3021
CHRISTOPHER K WILSON                                5951 SOUTHWICKE COURT                                                                           HUDSON             OH    44236‐4314
CHRISTOPHER KIRAGES                                 10122 PYRITE COURT                                                                              NOBLESVILLE        IN    46060‐7996
CHRISTOPHER KLUGE                                   9906 W MELINDA LN                                                                               PEORIA             AZ    85382‐0570
CHRISTOPHER KNUD‐HANSEN                             963 CHERRYVALE RD                                                                               BOULDER            CO    80303‐2914
CHRISTOPHER KOHL COFFMAN CUST ABIGAIL JEAN          59 CHRISTIANS DR                                                                                HANOVER            PA    17331
COFFMAN UTMA VA
CHRISTOPHER KOKOCZKA & ELIZABETH J KOKOCZKA JT      2251 SPRINGPORT RD APT 305                                                                      JACKSON            MI    49202‐1441
TEN
CHRISTOPHER KOWALCZYK                               BOX 1446                                                                                        MILLBROOK          NY    12545
CHRISTOPHER KREBS                                   38463 CHESTNUT LANE                                                                             WESTLAND           MI    48185‐1988
CHRISTOPHER KREULEN                                 2109A D ST                                                                                      SACRAMENTO         CA    95816‐3025
CHRISTOPHER L B KING                                766 STORY DR                                                                                    FAIRFIELD          OH    45014‐3634
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32      Exhibit E
                                                                                    Part 1 of 8 Pg 790 of 850
Name                                             Address1                            Address2             Address3           Address4                 City            State Zip

CHRISTOPHER L BANK SR & MRS PATRICIA BANKS JT TEN 5192 GLENWOOD CRK                                                                                   CLARKSTON       MI    48348‐4840

CHRISTOPHER L BEAMON                             15766 SEQUOIA AVE                   APT 3                                                            HESPERIA        CA    92345‐1766
CHRISTOPHER L CARPER                             1850 HARWOOD                                                                                         LINCOLN         NE    68502‐2724
CHRISTOPHER L CORDEK                             1117 34TH STREET CT NW                                                                               GIG HARBOR      WA    98335‐1576
CHRISTOPHER L DURHAM                             2 DUCK ST                                                                                            DANBURY         CT    06810
CHRISTOPHER L EISINGER                           PO BOX 310                                                                                           DRAPER          UT    84020
CHRISTOPHER L GOULD                              559 PROSPECT ROAD                                                                                    BEREA           OH    44017‐2738
CHRISTOPHER L HENDRICKS                          2570 RIVER RD                                                                                        MARYSVILLE      MI    48040‐2441
CHRISTOPHER L HUGAR & ELLEN L HUGAR JT TEN       844 DURKEES FERRY RD                                                                                 W TERRE HAUTE   IN    47885
CHRISTOPHER L MCCOMBS                            3101 BAKER RD                                                                                        SPRINGFIELD     OH    45504
CHRISTOPHER L MESSINA                            13 PAXWOOD ROAD                                                                                      DELMAR          NY    12054‐2917
CHRISTOPHER L PARRACK & ALETA DAGGA PARRACK JT   5517 HOLLY STREET                                                                                    HOUSTON         TX    77081
TEN
CHRISTOPHER L REYNOLDS                           2808 ROCKINGHAM DR                                                                                   AUSTIN          TX    78704‐4619
CHRISTOPHER L STERRITT                           4480 MARKET COMMONS DR UNIT 510                                                                      FAIRFAX         VA    22033
CHRISTOPHER L THORNTON                           2870 SWEETLEAF LN                                                                                    JOHNS ISLAND    SC    29455
CHRISTOPHER L WATTERS & SUSAN M WATTERS JT TEN   216 10TH ST S                                                                                        HUDSON          WI    54016‐1900

CHRISTOPHER LACEY                                GENERAL MOTORS                      BUILDING C           SZABADSAG UT 117   BUDAORS H‐2040 HUNGARY
                                                                                                                             (REP)
CHRISTOPHER LACEY                                UJEZDSKA 740                        PRUHONICE HOLE       252 43             CZECH (REP)
CHRISTOPHER LACEY                                GM REG OFC BLDG C                   SZABADSAG U 117      BUDAORS H‐204      HUNGARY (REP)
CHRISTOPHER LAMAR SNELL                          4400 HIDDEN STREAM DR                                                                                LOGANVILLE      GA    30052‐2571
CHRISTOPHER LAMOS                                PO BOX 334 RT 104                                                                                    BRISTOL         NH    03222
CHRISTOPHER LANSBURGH CUST AIDAN JAMES           8509 DOYLE DRIVE                                                                                     ALEXANDRIA      VA    22308‐2029
LANSBURGH UTMA VA
CHRISTOPHER LEE                                  3628 WELLINGTON CROSS RD                                                                             ANN ARBOR       MI    48105‐3044
CHRISTOPHER LEE BELVIN                           131 MYRTLE ST                                                                                        CLAREMONT       NH    03743‐2434
CHRISTOPHER LEE BIGSBY CUST MELISSA MAREE BIGSBY 3721 SPRUCE ST                                                                                       LINCOLN         NE    68516‐1054
UGMA NE
CHRISTOPHER LEE CARNELL                          1730 BARRINGTON PLACE                                                                                ANN ARBOR       MI    48103‐5607
CHRISTOPHER LEE GEIS                             11630 GLEASON RD                                                                                     OLATHE          KS    66061‐7786
CHRISTOPHER LEE MC CLAIN & MARTA JOLINE MC CLAIN 179 TIMBERLINE CT                                                                                    DAHINDA         IL    61428‐9536
JT TEN
CHRISTOPHER LEE ROSE                             30 WOODLAND ST                                                                                       HARTFORD        CT    06105‐2322
CHRISTOPHER LEE SHAMPLE                          806 LAIS RD                                                                                          NORWALK         OH    44857‐9577
CHRISTOPHER LEE STRAYHORN                        15058 NORMAN ST                                                                                      LIVONIA         MI    48154‐4785
CHRISTOPHER LEE WINTERS                          7903 CEDAR VIEW BLVD                                                                                 WESTERVILLE     OH    43081‐5559
CHRISTOPHER LEO WALKES                           1904 YELLOW BRICK ROAD                                                                               LATANA          FL    33462‐4051
CHRISTOPHER LEWIS                                2794 GOLDWOOD DR                                                                                     ROCKY RIVER     OH    44116‐3015
CHRISTOPHER LI GRECI                             95 ST JOHN'S PLACE                                                                                   BROOKLYN        NY    11217‐3401
CHRISTOPHER LIBERTI & KAREN LIBERTI JT TEN       77 WOODLAND RD                                                                                       RINGWOOD        NJ    07456‐2328
CHRISTOPHER LOCKHART                             17703 7 MILE RD                                                                                      REED CITY       MI    49677‐8335
CHRISTOPHER LOUIE & CHEE FONG LOUIE JT TEN       3505 NORTH RIDGE DRIVE                                                                               PUEBLO          CO    81008‐1351
CHRISTOPHER LOVERO                               238 BERRY PARKWAY                                                                                    PARK RIDGE      IL    60068
CHRISTOPHER LUKE MURPHY                          432 GRANADA PKWY                                                                                     LINDENHURST     NY    11757‐6313
CHRISTOPHER LYNN HAILEY                          3304 FONTAINE LN                                                                                     GLEN ALLEN      VA    23060‐1924
CHRISTOPHER M APPLEBY                            7435 SHEPLAND RIDGE CT                                                                               SPRINGFIELD     VA    22153
CHRISTOPHER M AUSDENMOORE                        14809 POTOMAC BRANCH DR                                                                              WOODBRIDGE      VA    22191
CHRISTOPHER M BECK                               6865 BROWNING RD                                                                                     PENNSAUKEN      NJ    08109
CHRISTOPHER M BUDZIEN                            1888 HAYMARKET ROAD #1                                                                               WAUKESHA        WI    53189‐7191
CHRISTOPHER M CATON                              1018 SAINT BRIDES RD W                                                                               CHESAPEAKE      VA    23322‐2317
CHRISTOPHER M CLEMENT                            JOHN CLEMENT                        38 OVERLOOK DRIVE                                                DANVILLE        PA    17821‐9603
CHRISTOPHER M COLEY                              241 CRAFTS RD                                                                                        BROOKLINE       MA    02167
CHRISTOPHER M DEAN                               120 NICKLAUS CIR                                                                                     SOCIAL CIRCLE   GA    30025‐5347
CHRISTOPHER M JANES                              195 HOPPER RD                                                                                        WILLIAMSTOWN    MA    01267‐3131
CHRISTOPHER M LEE                                736 SHORESIDE                                                                                        SACRAMENTO      CA    95831‐1417
CHRISTOPHER M LONG                               979 WELBECK CV                                                                                       COLLIERVILLE    TN    38017‐7363
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                        Part 1 of 8 Pg 791 of 850
Name                                              Address1                               Address2                       Address3   Address4                City              State Zip

CHRISTOPHER M LUNDGREN                        41 WILDWOOD AVE                                                                                              BRAINTREE         MA    02184‐8036
CHRISTOPHER M MC CORMACK                      10 BRADFORD DR                                                                                               TABERNACLE        NJ    08088‐8600
CHRISTOPHER M MC CORMACK A MINOR U/GDNSHP OF 10 BRADFORD DR                                                                                                TABERNACLE        NJ    08088‐8600
W F MC CORMACK
CHRISTOPHER M MCGINNIS                        1085 LAKE PARK DRIVE                                                                                         GRAND BLANC       MI    48439‐8073
CHRISTOPHER M MILNER                          33 MARINA DR                                                                                                 HULL              MA    02045‐1322
CHRISTOPHER M MOLDEN & SANDRA A MOLDEN JT TEN 145 OTTER ST                                                                                                 BRISTOL           PA    19007‐3607

CHRISTOPHER M PETERSEN & JO A PETERSEN JT TEN     16214 WAKE ST NE                                                                                         HAM LAKE          MN    55304‐6605

CHRISTOPHER M PHILLIPS                          10 MONTERY RD                                                                                              SCHENECTADY       NY    12303‐4856
CHRISTOPHER M PIAZZA CUST ANTHONY JOSEPH PIAZZA 287 COMMUNITY DRIVE                                                                                        SMITHTOWN         NY    11787‐3877
UTMA NY
CHRISTOPHER M RODGERS                           5306 TOMAS CIR                                                                                             SAN ANTONIO       TX    78240‐2076
CHRISTOPHER M RUMMEL                            405 GILMOR ROAD                                                                                            JOPPA             MD    21085‐4218
CHRISTOPHER M SHAY                              223 ROCKWOOD AVE                                                                                           DAYTON            OH    45405
CHRISTOPHER M SIEMION                           9312 CONTINENTAL DR                                                                                        TAYLOR            MI    48180‐3018
CHRISTOPHER M SIEMION & SHARON D SIEMION JT TEN 9312 CONTINENTAL DR                                                                                        TAYLOR            MI    48180‐3018

CHRISTOPHER M SMITH                               2370 DOWNING ST                                                                                          READING           PA    19605‐2824
CHRISTOPHER M STIRLING                            22731 ROCKFORD DR                                                                                        LAKE FOREST       CA    92630‐5044
CHRISTOPHER M WATIER                              13164 HANLEY DR                                                                                          SPRING HILL       FL    34609
CHRISTOPHER M WEIL                                1601 ELM ST #1900                                                                                        DALLAS            TX    75201‐4744
CHRISTOPHER MAISANO                               33221 JANET                                                                                              FRASER            MI    48026‐4304
CHRISTOPHER MANN                                  131 THURGOOD ST                                                                                          GAITHERSBURG      MD    20878‐5745
CHRISTOPHER MARR WILLIAMS                         6945 NW ILLICH RD                                                                                        SILVERDALE        WA    98383‐9748
CHRISTOPHER MARSHALL                              33 S 5TH ST                                                                                              WATERVILLE        OH    43566‐1302
CHRISTOPHER MARTIN                                PO BOX 6306                                                                                              CHARLOTTESVILLE   VA    22906‐6306

CHRISTOPHER MASON CHAFFIN                         26313 PRINCETON STREET                                                                                   SAINT CLAIR SHORES MI   48081‐3816

CHRISTOPHER MAXWELL MORGAN CUST MARK T          801 ANDOVER BLVD                                                                                           KNOXVILLE         TN    37922‐1533
MORGAN UTMA NC
CHRISTOPHER MCBRIDE                             7693 W VERMONT AVE                                                                                         GLENDALE          AZ    85303‐5670
CHRISTOPHER MCKISSICK CUST JACOB MCKISSICK UTMA 5485 ST REGIS WAY                                                                                          PORT ORANGE       FL    32128
FL
CHRISTOPHER MCNAMEE                             16107 CLEARLAKE AVE                                                                                        LAKEWOOD RCH      FL    34202‐2130
CHRISTOPHER MEAGHER                             4 BOCA PL                                                                                                  EAST AMHERST      NY    14051‐1080
CHRISTOPHER MEDAGLIA                            84 TURNPIKE ROAD                                                                                           TOWNSEND          MA    01469
CHRISTOPHER MELEDANDRI                          11931 CURRITUCK DR                                                                                         LOS ANGELES       CA    90049‐4203
CHRISTOPHER MESSENGER                           13245 N BEDFORD FALLS RD                                                                                   PLATTE CITY       MO    64079
CHRISTOPHER MICHAEL RUSSELL                     4675 MAPLEVIEW                                                                                             WEST BLOOMFIELD   MI    48324‐1249

CHRISTOPHER MILLER                                12 EDGEWATER DR                                                                                          HAINESPORT        NJ    08036
CHRISTOPHER MOLINARI                              3522 LOCUST AVE                                                                                          WANTAGH           NY    11793‐3645
CHRISTOPHER MONTROY                               993 ASHWOOD GREEN COURT                                                                                  SNELLVILLE        GA    30078
CHRISTOPHER MORSE                                 171 WEST 79TH STREET                   #124                                                              NEW YORK          NY    10024
CHRISTOPHER N ALLEN                               4251 STARDUST LANE                                                                                       FT WORTH          TX    76119‐3118
CHRISTOPHER N BREISETH & JANE BREISETH JT TEN     428 BLACK POINT RD                                                                                       TICONDEROGA       NY    12883‐2408

CHRISTOPHER N EDWARDS                             PO BOX 543                                                                                               BAKERSFIELD       CA    93302‐0543
CHRISTOPHER N GOMOKA                              27 YALE BOULEVARD                                                                                        NEW HYDE PARK     NY    11040‐3835
CHRISTOPHER N GREENE                              387 CASCADE DR SW                                                                                        LILBURN           GA    30047‐6355
CHRISTOPHER N SCHADT                              4716 NORTH FOX LN #3                                                                                     MCHENRY           IL    60050
CHRISTOPHER NEAL YOUNG                            11712 S VINE ST                                                                                          JENKS             OK    74037‐4342
CHRISTOPHER NICHOL                                42 HESKETH AVE                         BISPHAM BLACKPOOL LANCASHIRE              FY2 9JX GREAT BRITAIN
CHRISTOPHER O CARLSON                             5532 BOBBY JONES BLVD                                                                                    BILLINGS          MT    59106‐1130
CHRISTOPHER P ALLISON                             4171 BIDLE COURT                                                                                         DUBLIN            OH    43016
CHRISTOPHER P BAUM                                140 C CANDELARIO ST                                                                                      SANTA FE          NM    87501‐1598
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 792 of 850
Name                                              Address1                               Address2             Address3          Address4          City            State Zip

CHRISTOPHER P BOWEN                               8368 FARRAND ROAD                                                                               OTISVILLE        MI   48463
CHRISTOPHER P CARR                                2323 WHISPERING HILLS CT                                                                        WASHINGTON       MI   48094‐1039
CHRISTOPHER P FLECK CUST KATHLEEN R FLECK UGMA    36063 CONGRESS CT                                                                               FARMINGTON HILLS MI   48335‐1219
MI
CHRISTOPHER P JAROSZ                              1060 W 500 N                                                                                    COLUMBUS        IN    47203‐9247
CHRISTOPHER P KELLEY                              1237 N E 99TH STREET                                                                            MIAMI SHORES    FL    33138‐2642
CHRISTOPHER P LAMBERT                             26 ALCOTT WAY                                                                                   AVON            CT    06001‐5113
CHRISTOPHER P MADORMO                             21 LUKE ST                                                                                      PROSPECT        CT    06712‐1428
CHRISTOPHER P SIMON                               PO BOX 609                                                                                      MONTCHANIN      DE    19710
CHRISTOPHER PADEN                                 376 WALDEN LANE                                                                                 WILLIAMSTOWN    NJ    08094‐9703
CHRISTOPHER PASINSKI                              250 FOURTH STREET                                                                               JERSEY CITY     NJ    07302‐2408
CHRISTOPHER PATRICK MCKENNA & ERICA MARIE         11 CATTANO AVE                         APT 207                                                  MORRISTOWN      NJ    07960‐6835
MCKENNA JT TEN
CHRISTOPHER PAUL CIMINIELLO                       R F D #2                               6 MEADOW GATE                                            SAINT JAMES     NY    11780‐1334
CHRISTOPHER PAUL SCHEITHAUER                      13765 GRANDVIEW DR                                                                              SOMERSET        MI    49281
CHRISTOPHER PAUL SCHMIDT                          1611 MULBURY LANE                                                                               SAN JOSE        CA    95125‐4943
CHRISTOPHER PETERS                                1021 ISAAC JAMES AVE                                                                            CHICO           CA    95928
CHRISTOPHER PHILIP                                BOX 734                                MOOSE FACTORY ON                       P0L 1W0 CANADA
CHRISTOPHER PHILLIPS                              8119 ST JOE RD                                                                                  FT WAYNE        IN    46835‐1016
CHRISTOPHER PITKIN LONG                           2701 MEADOW WOOD DR                                                                             CLEARWATER      FL    33761‐1724
CHRISTOPHER PLEVIN                                6017 MARGARIDO DR                                                                               OAKLAND         CA    94618‐1836
CHRISTOPHER PORTER                                3795 SEABECK HWY NW                                                                             BREMERTON       WA    98312
CHRISTOPHER QUEISER                               785A WOODLAND ROAD                                                                              PITTSBURGH      PA    15237
CHRISTOPHER R BAXTER & KELLY A BAXTER JT TEN      10117 BENNINGTON DR                                                                             HUNTLEY         IL    60142
CHRISTOPHER R BREWSTER                            3905 PICARDY CT                                                                                 ALEXANDRIA      VA    22309‐2718
CHRISTOPHER R CLAYBORNE & JUDY C CLAYBORNE JT     PO BOX 2536                                                                                     SALISBURY       MD    21802‐2536
TEN
CHRISTOPHER R CROCKETT                            12620 LOCHARD RD                                                                                ANNA            OH    45302
CHRISTOPHER R DECORSE                             714 SCOTT AVE                                                                                   SYRACUSE        NY    13224‐2160
CHRISTOPHER R DEMPSEY                             727 BAYVIEW DRIVE                                                                               EL LAGO         TX    77586‐5903
CHRISTOPHER R GILES                               31103 RANCHO VIEJO RD                                                                           SAN JUAN CAPO   CA    92675‐1759
CHRISTOPHER R GLODACK                             5095 WESTWIND DR                                                                                MYRTLE BEACH    SC    29579‐1846
CHRISTOPHER R HARRISON                            820 WESTCHESTER                                                                                 GROSSE POINTE   MI    48230‐1828
CHRISTOPHER R KOLP & JILL RENEE KOLP JT TEN       PO BOX 23086                                                                                    LANSING         MI    48909‐3086
CHRISTOPHER R LINTON                              52 DAYTON ROAD                                                                                  REDDING         CT    06896‐2905
CHRISTOPHER R LUDWIG                              42 SUMMER HILL RD                                                                               MAYNARD         MA    01754‐1515
CHRISTOPHER R MAIER                               3559 CARTHAGE CT                                                                                WESTERVILLE     OH    43081‐3916
CHRISTOPHER R MCMANUS                             183 CARLISLE ST                                                                                 ROCHESTER       NY    14615
CHRISTOPHER R MORDY                               6370 CAMINITO JUANICO                                                                           SAN DIEGO       CA    92111‐7234
CHRISTOPHER R REED CUST HUNTER L REED UTMA MD     18412 GARDENIA WAY                                                                              GAITHERSBURG    MD    20879‐4641

CHRISTOPHER R WEBER                               46061 BARRINGTON ROAD                                                                           PLYMOUTH        MI    48170‐3546
CHRISTOPHER R WHITE                               65 24TH AVE SW                                                                                  CEDAR RAPIDS    IA    52404‐4148
CHRISTOPHER RANDELS                               2413 S ELLIS ST                                                                                 LAKEWOOD        CO    80228‐4845
CHRISTOPHER REED CUST NICHOLAS REED EFANTIS       9900 MERWOOD LN                                                                                 SILVER SPRING   MD    20901‐2524
UTMA MD
CHRISTOPHER REYNOLDS & DORCAS J REYNOLDS JT TEN   605 HOWARD AVE                                                                                  PITMAN          NJ    08071‐1832

CHRISTOPHER RICKS                                 117 WILLIAMS WAY                                                                                HUTTO           TX    78634
CHRISTOPHER ROBERT KIKENDALL                      385 JEFFERSON VALLEY                                                                            COATESVILLE     IN    46121‐8938
CHRISTOPHER ROBERT MANNION                        1520 SE PIONEER WAY                                                                             OAK HARBOR      WA    98277
CHRISTOPHER ROBERT MONTGOMERY                     101 DECATUR ST                                                                                  BROOKLYN        NY    11216‐2513
CHRISTOPHER ROBERT TRUDEAU                        3957 WHITE PINE DR                                                                              DEWITT          MI    48820‐9263
CHRISTOPHER ROBERTS & NICOLE ROBERTS JT TEN       668 MT TABER RD                                                                                 GARDNERS        PA    17324‐9608

CHRISTOPHER ROLAND RUTHERFORD                     7 POPLAR DR                                                                                     VIENNA          WV    26105‐3315
CHRISTOPHER ROSS LINNEROOTH                       11236 WEST LAKE JOY DRIVE N E                                                                   CARNATION       WA    98014‐6809
CHRISTOPHER ROSS SARANEC                          4170 KLUMP AVE                                                                                  STUDIO CITY     CA    91602
CHRISTOPHER RYAN                                  10400 HIGH FALLS CIR                                                                            ALPHARETTA      GA    30022‐8475
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 793 of 850
Name                                             Address1                              Address2             Address3          Address4          City               State Zip

CHRISTOPHER RYAN CLARKE                          10438 RENE DR                                                                                  CLIO               MI    48420‐1937
CHRISTOPHER RYAN WATKINS                         2405 E 138TH COURT S                                                                           BIXBY              OK    74008
CHRISTOPHER RYMAL                                34349 HEARTSWORTH LN                                                                           STERLING HEIGHTS   MI    48312‐5767

CHRISTOPHER S ADAIR‐TOTEFF                       323 MONTICELLO RD                                                                              CHARLOTTESVILLE    VA    22902‐5742

CHRISTOPHER S BROGDEN                             627 N LAUREL ST                                                                               LINCOLNTON         NC    28092‐2917
CHRISTOPHER S COMBS                               PO BOX 56                                                                                     GLENVIEW           KY    40025‐0056
CHRISTOPHER S DRESEL                              3174 EDEN RD                                                                                  GEORGETOWN         OH    45121
CHRISTOPHER S FIORE CUST MEGAN MICHELLE FIORE     PO BOX 1982                                                                                   ELYRIA             OH    44036‐1982
UGMA OH
CHRISTOPHER S GONTARZ                             32 CRESTVIEW DRIVE                                                                            PORTSMOUTH         RI    02871‐3729
CHRISTOPHER S HART                                404 E MEADOW LN                                                                               PEMBROKE           NH    03275‐3500
CHRISTOPHER S IDEN                                10145 PINE MEADOWS CT                                                                         GOODRICH           MI    48438‐9246
CHRISTOPHER S JEWETT CUST CONNOR J JEWETT UGMA 11700 WEST BURNS RD                                                                              MANTON             MI    49663‐9301
MI
CHRISTOPHER S JOHNSTON                            2408 31ST STREET SW                  CALGARY AB                             T3E 2N5 CANADA
CHRISTOPHER S KELLEY                              2270 GRAND CENTRAL AVE                                                                        HORSEHEADS         NY    14845‐2504
CHRISTOPHER S LINSKEY                             2672 N CAREFREE CIR                                                                           FLAGSTAFF          AZ    86004‐7592
CHRISTOPHER S MUDD                                285 PLANTATION ST #630                                                                        WORCESTER          MA    01604
CHRISTOPHER S ROMANYSHYN                          38 BIRDSEYE GLEN                                                                              VERONA             NJ    07044‐2303
CHRISTOPHER S SIMPSON                             518 LIMBURG LN                                                                                PELLA              IA    50219‐7544
CHRISTOPHER S WILBORN                             2646 HURRICANE COVE                                                                           PORT HUENENE       CA    93041‐1554
CHRISTOPHER SACCONE                               3 COTTONWOOD RD                                                                               MORRIS TWP         NJ    07960‐5957
CHRISTOPHER SARICKS & JOYCE SARICKS JT TEN        1116 61ST ST                                                                                  DOWNERS GROVE      IL    60516‐1819
CHRISTOPHER SCAGNETTI & PATRICIA SCAGNETTI JT TEN 43586 CANDLEWOOD DR                                                                           CANTON             MI    48187‐2010

CHRISTOPHER SCHLARMAN                            415 E BODLEY AVE                                                                               SAINT LOUIS        MO    63122‐4425
CHRISTOPHER SCOTT BROGDEN                        627 N LAUREL ST                                                                                LINCOLNTON         NC    28092‐2917
CHRISTOPHER SCOTT DAVIS                          18 JASPER DR                                                                                   CLAYTON            NC    27520‐8485
CHRISTOPHER SEAN YATES                           6417 MARY ESTHER LN                                                                            MECHANICSVLLE      VA    23111‐5030
CHRISTOPHER SERBINA A MINOR                      35 COOPER STREET                      AYR ON                                 N0B 1E0 CANADA
CHRISTOPHER SHAW                                 3360 TIMBERLAKE DR                                                                             WALLED LAKE        MI    48390‐1267
CHRISTOPHER SHAWN WATTS                          2516 MUELLER                                                                                   LAKE ORION         MI    48359‐1556
CHRISTOPHER SHEEHY CUST AIDAN THOMAS SHEEHY      94 PRINDLE AVE                                                                                 ANSONIA            CT    06401‐2526
UTMA‐CT
CHRISTOPHER SILER & BARBARA R SILER JT TEN       11501 E MOVIL LAKE RD NE                                                                       BEMIDJI            MN    56601‐8116
CHRISTOPHER STEPHEN BUTCH                        PO BOX 5252                                                                                    CHARLESTON         WV    25361‐0252
CHRISTOPHER STEWART ALSOP                        11090 STRATHMORE DR APT 4                                                                      LOS ANGELES        CA    90024‐2343
CHRISTOPHER STRUBLE                              1716 OLDE CAROLINA COURT                                                                       GRAHAM             NC    27253
CHRISTOPHER SZCZYGIEL & LARRY SZCZYGIEL JT TEN   48435 HILLTOP DR E                                                                             PLYMOUTH           MI    48170‐5289

CHRISTOPHER T BAER                                410 LANCASTER AVE                    APT 225                                                  HAVERFORD          PA    19041
CHRISTOPHER T CARROLL & NICHELLE L CARROLL JT TEN 315 E CHERRY ST                                                                               COLBY              KS    67701‐3441

CHRISTOPHER T GREGSON                           78 DOVER                                                                                        LA GRANGE          IL    60525
CHRISTOPHER T HINKEN CUST COLLEEN T HINKEN UTMA 604 WEST 67TH TERRACE                                                                           KANSAS CITY        MO    64113‐1945
KS
CHRISTOPHER T HINKEN CUST ERIN K HINKEN UGMA OK 604 W 67TH TERRACE                                                                              KANSAS CITY        MO    64113‐1945

CHRISTOPHER T HOLLY                              16831 MEADOWCREST DR                                                                           HOMER GLEN         IL    60491‐8415
CHRISTOPHER T KELLY                              1337 WOODTRAIL                                                                                 OXFORD             MI    48371‐6065
CHRISTOPHER T MARINIS                            45 HERMON AVE                                                                                  HAVERHILL          MA    01832‐3705
CHRISTOPHER T NELSON & CHARON S NELSON JT TEN    20281 HIGH PINE DR                                                                             MONUMENT           CO    80132

CHRISTOPHER T TERRY                              205 BASELINE RD                                                                                NORTHVILLE         MI    48167‐2749
CHRISTOPHER T TRAILOR CUST JONATHAN J TRAILOR    46 ACORN RIDGE RD                                                                              S GLASTONBURY      CT    06073
UTMA CT
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 794 of 850
Name                                             Address1                              Address2             Address3          Address4                  City            State Zip

CHRISTOPHER T TRAILOR CUST MATTHEW J TRAILOR     46 ACORN RIDGE RD                                                                                      S GLASTONBURY   CT    06073
UTMA CT
CHRISTOPHER T TRAILOR CUST REBECCA E TRAILOR     46 ACORN RIDGE RD                                                                                      S GLASTONBURY   CT    06073
UTMA CT
CHRISTOPHER T UEBELHOR                           7010 N 500 W                                                                                           JASPER          IN    47546‐8282
CHRISTOPHER TAYLOR                               4961 WILLOW RIDGE CT                                                                                   ZIONSVILLE      IN    46077‐9269
CHRISTOPHER TEDESCO & CAROLINE TEDESCO JT TEN    18 MARTHA ROAD                                                                                         ROSELAND        NJ    07068‐1427

CHRISTOPHER TERRILL CHESBROUGH                   901 RANDY RD                                                                                           SPARTA          WI    54656‐2275
CHRISTOPHER THOMAS                               252 BRITTANY DR                                                                                        CANTON          MI    48187‐3203
CHRISTOPHER THOMAS ALLEN & PEGGY ANN ALLEN JT    905 WHEATON DRIVE                                                                                      LAWRENCE        KS    66049‐8506
TEN
CHRISTOPHER THOMAS NADOWICH                      1302 DIAMOND ST                                                                                        SELLERSVILLE    PA    18960‐2906
CHRISTOPHER THOMAS WERTH                         1193 QUAIL RIDGE DR                                                                                    OXFORD          MI    48371‐6075
CHRISTOPHER TODD BRANNON                         963 SOUTH ALEXANDER CREEK RD                                                                           BOWLING GREEN   KY    42101‐8323
CHRISTOPHER TODD CLARK                           339 ELK INLET                                                                                          NOKOMIS         FL    34275‐1926
CHRISTOPHER TUCK                                 29 OLD SUGAR ROAD                                                                                      BOLTON          MA    01740
CHRISTOPHER V GROKE                              477 MOORES CROSSING                                                                                    ROEBUCK         SC    29376‐3531
CHRISTOPHER VERNON CONAWAY                       150 OLDFIELD RD                                                                                        TRUMBULL        CT    06611
CHRISTOPHER VRACHOS & ROBERTA GINDA JT TEN       861 WASHINGTON ST                                                                                      GLOUCESTER      MA    01930‐1241

CHRISTOPHER W BEARDSLEY                          18704 IROQUOIS LN                                                                                      LAKEVILLE       MN    55044‐4457
CHRISTOPHER W CAINE TR CHRISTOPHRE W CAINE       10333 N ORACLE RD APT 6201                                                                             TUCSON          AZ    85737
REVOCABLE TRUST UA 05/09/00
CHRISTOPHER W CRAWFORD TR UA 08/06/2008          640 EAST 4630 SOUTH                                                                                    SALT LAKE CTY   UT    84107
CHRISTOPHER W CRAWFORD TRUST
CHRISTOPHER W CUNNINGHAM                         20412 ROCA CHICA DR                                                                                    MALIBU          CA    90265‐5332
CHRISTOPHER W DODSON                             3298 ARROWHEAD RD                                                                                      HARRISONBURG    VA    22801‐8662
CHRISTOPHER W DUNN                               1665 LONG BOW LANE                                                                                     CLEARWATER      FL    33764‐6463
CHRISTOPHER W FOSHEE                             2141 CROSSGATE                                                                                         OKLAHOMA CITY   OK    73170‐3403
CHRISTOPHER W LOVDAHL                            5312 LISA LN                                                                                           HICKORY         NC    28602‐8298
CHRISTOPHER W MASSEY                             6365 E LEISURE LANE                                                                                    FLAGSTAFF       AZ    86004‐5511
CHRISTOPHER W MATHEWS                            2 N PENDLETON CT                                                                                       FREDERICK       MD    21703‐6141
CHRISTOPHER W MILLER                             128 EPWORTH DR                                                                                         JACKSONVILLE    NC    28546‐5808
CHRISTOPHER W ROBINSON                           2 BALSAM DR                                                                                            TOPSHAM         ME    04086‐1758
CHRISTOPHER W ROSEN                              13510 BATTLEWOOD COURT                                                                                 CLIFTON         VA    20124‐2313
CHRISTOPHER W SHAW                               5 TANGLE DRIVE                                                                                         GREENVILLE      RI    02828
CHRISTOPHER W SMITH                              PO BOX 283                                                                                             GREENSBURG      IN    47240‐0283
CHRISTOPHER W VIETS                              2591 WHITNEY AVE                                                                                       HAMDEN          CT    06518‐3021
CHRISTOPHER WAITS                                12018 MONTICETO LN                                                                                     STAFFORD        TX    77477‐1523
CHRISTOPHER WALL                                 21811 CANTON PASS LANE                                                                                 KATY            TX    77450
CHRISTOPHER WALSH                                73 SARATOGA APT 1F                                                                                     PLEASANTVILLE   NY    10570‐3246
CHRISTOPHER WANNER CUNNINGHAM                    20412 ROCA CHICA DR                                                                                    MALIBU          CA    90265‐5332
CHRISTOPHER WARREN                               21 VAQUERO TRL                                                                                         SANTA FE        NM    87508‐8306
CHRISTOPHER WARUNEK CUST KEVIN WARUNEK UTMA      10283 WESTWOOD CT                                                                                      MANASSAS        VA    20110‐6162
VA
CHRISTOPHER WILDE RODES                          541 MELISSA DRIVE                                                                                      AMBLER          PA    19002‐5052
CHRISTOPHER WILLIAM GREGORY                      104 SONOMA WAY                                                                                         CHAPEL HILL     NC    27516‐9415
CHRISTOPHER WILLIAM PARFITT                      THE PADDOCK                           MAIDS MORETON        BUCKINGHAM        UNITED KIMGDOM MK18 1QS
                                                                                                                              GREAT BRITAIN
CHRISTOPHER WOLF CUST GRIFFIN X WOLF UTMA CT     57 FAR VIEW CMNS                                                                                       SOUTHBURY       CT    06488‐2364

CHRISTOPHER WOLFE                                BOX 1273                                                                                               PERU            IN    46970‐4273
CHRISTOPHER WRIGHT                               19370 FROSTYVILLE RD                                                                                   CALDWELL        OH    43724‐9729
CHRISTOPHER Y MEYER & CYNTHIA C MEYER JT TEN     42 HENDRIE LANE                                                                                        GROSSE POINTE   MI    48236

CHRISTOPHER YATSKO                               825 VILLAGE CIRCLE                                                                                     BLUE BELL       PA    19422‐1638
CHRISTOPHER YOUNG                                20 CLARA ROAD                                                                                          HOLBROOK        MA    02343‐1902
CHRISTOPHERA MOORE                               1819 N E ST                                                                                            ELWOOD          IN    46036‐1332
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                       Part 1 of 8 Pg 795 of 850
Name                                             Address1                               Address2                    Address3      Address4          City              State Zip

CHRISTOPHERC RUNDELL                             521 S CORNELL AVE                                                                                  VILLA PARK        IL    60181‐2949
CHRISTOPHERG WOLF                                4081 WHITE OAK LN                                                                                  EXCELSIOR         MN    55331‐7753
CHRISTOPHERJ ADAMS                               590 CHANCELLOR                                                                                     AVON LAKE         OH    44012‐2539
CHRISTOPHERJ WUNSCH                              9809 BLACKBURN                                                                                     LIVONIA           MI    48150‐2862
CHRISTOPHERM HALL                                126 PINE VIEW DR                                                                                   LAPEER            MI    48446‐9317
CHRISTOPHERP LEEDOM                              11 BENTON RD                                                                                       SAGINAW           MI    48602‐1945
CHRISTOPHERW BLODGETT                            7460 CRORY RD                                                                                      CANFIELD          OH    44406‐8700
CHRISTOPHEW HERMAN                               5115 DURWOOD DRIVE                                                                                 SWARTZ CREEK      MI    48473‐1123
CHRISTOPHEW JONES                                4502 ROLLAND DRIVE                                                                                 KOKOMO            IN    46902‐4782
CHRISTOPHOR ROBIN TSAREFF                        6695 WIMBLEDON DR                                                                                  ZIONSVILLE        IN    46077‐9153
CHRISTOPHR LISTER                                344 BUCKINGHAM CIR                                                                                 HARLEYSVILLE      PA    19438‐1960
CHRISTOS C CARROL CUST MADISON LYN CARROLL       1778 MEADOW DOWN DR                                                                                FOREST            VA    24551‐1226
UTMA VA
CHRISTOS C CARROLL & ALLINDA K JURGESON JT TEN   1778 MEADOW DAWN DR                                                                                FOREST            VA    24551‐1226

CHRISTOS L METAXAS                               154 S 5TH AVE                                                                                      MANVILLE          NJ    08835‐1818
CHRISTOS M SAVIDES                               180 WEEPING WILLOW LANE                                                                            FAIRFIELD         CT    06825‐1035
CHRISTOS SAVIDES & DESPENA SAVIDES JT TEN        180 WEEPING WILLOW LANE                                                                            FAIRFIELD         CT    06825‐1035
CHRISTOS SOTIROPOULOS & ANGELIKI SOTIROPOULOS    61‐15 170TH ST                                                                                     FRESH MEADOWS     NY    11365‐1947
JT TEN
CHRISTOS ZARAFONITIS                             6463 CHATELAIN                         ROSEMONT                    MONTREAL QC   H1T 3X8 CANADA
CHRISTY A HOOVER CUST WILLIAM F HOOVER UTMA PA   681 WEST LOUTHER ST                                                                                CARLISLE          PA    17013‐2209

CHRISTY A HORES                                  6 MARWOOD RD S                                                                                     PRT WASHINGTN     NY    11050‐1422
CHRISTY A JOHNSON CUST MARGARET E JOHNSON        4658 O'CONNOR WAY                                                                                  MABLETON          GA    30126‐1498
UTMA GA
CHRISTY A JOHNSON CUST RACHEL E JOHNSON UTMA     4658 O'CONNOR WAY                                                                                  MABLETON          GA    30126‐1498
GA
CHRISTY ANNE DAVIS                               RR 1                                                                                               MT PULASKI        IL    62548‐9801
CHRISTY BREIER CUST ZANE BREIER UTMA CA          233 SUNRISE CIR                                                                                    VISTA             CA    92084‐5833
CHRISTY C NEWTON                                 95 HARVEY ST                           #2                                                          CAMBRIDGE         MA    02140‐1718
CHRISTY CAYTON                                   PO BOX 3395                                                                                        RANCHO SANTE FE   CA    92067‐3395

CHRISTY COJERIAN                                 1631 FITE TERRACE                                                                                  LANGHORNE         PA    19047‐1203
CHRISTY D LAMBERT                                118 SOUTHWOOD RD                                                                                   FAIRFIELD         CT    06825
CHRISTY EZELLE                                   159 MADISON AVE                        APT 6A                                                      NEW YORK          NY    10016‐5435
CHRISTY G MATHEWSON                              443 SHELL ROAD                                                                                     ANGOLA            NY    14006‐9746
CHRISTY G MOORE                                  2387 SPLITWOOD DR                                                                                  LOGANVILLE        GA    30052‐4034
CHRISTY J ANDERSON                               PO BOX 212                                                                                         PECULIAR          MO    64078‐0212
CHRISTY J VERMILLION                             55511 BIG RIVER DR                                                                                 BEND              OR    97707‐2368
CHRISTY JOHNSON                                  4658 O'CONNOR WAY                                                                                  MABLETON          GA    30126‐1498
CHRISTY L WIDMER                                 744 N MAIN ST                                                                                      TIPTON            IN    46072‐1043
CHRISTY LEE HEMMINGER                            HUNTINGTON WOODS                       31105 ROXBURY PARK DR                                       BAY VILLAGE       OH    44140‐1078
CHRISTY N LIPAPIS & THELMA LIPAPIS JT TEN        207 PICTURE DR                                                                                     PITTSBURGH        PA    15236‐4534
CHRISTY PORTERFIELD                              4341 DILLINGHAM DR                                                                                 TECUMSEH          MI    49286
CHRISTY S HOLDEN                                 1363 S JACKSON ROAD                                                                                TERRY             MS    39170‐7247
CHRISTY SUE GODINEZ                              2421 AZTEC WAY                                                                                     PALO ALTO         CA    94303‐3519
CHRISTY‐FOLTZ INC                                BOX 828                                                                                            DECATUR           IL    62525‐0828
CHRISTYANN WAGNER DAVIS                          RR 1                                                                                               MT PULASKI        IL    62548‐9801
CHRISTYNA R BOWLING                              15282 DOHONEY RD                                                                                   DEFIANCE          OH    43512‐8881
CHRYSA M THEODORE                                3725 SOUTHBROOK DR                                                                                 BEAVER CREEK      OH    45430‐1430
CHRYSANTHE KOTSIS KOHL                           22191 ANTLER DRIVE                                                                                 NOVI              MI    48375‐4800
CHRYSOSTOMOS CHATZISTAVROU                       STARTIGOU KALARI 4 B                   THESSALONIKI                              54622 GREECE
CHRYSSO C HAZIRIS                                417 PARK AVE APT 10NW                                                                              NEW YORK          NY    10022
CHRYSTAL DUNBAR                                  2016 LUNTZ RD SW                                                                                   WARREN            OH    44481
CHRYSTAL F ELEBESUNU                             PO BOX 26181                                                                                       TROTWOOD          OH    45426‐0181
CHRYSTAL H WAGNER                                C/O WALTER L WAGNER                    5001 NE 187TH ST                                            LK FOREST PK      WA    98155
CHRYSTAL RAE MC CON                              27018 SPEIDEL RD                                                                                   KENSINGTON        OH    44427‐9734
CHRYSTEEN DAIN CALDWELL                          ATTN DAIN                              158 ENGLAND CREAMERY ROAD                                   NORTH EAST        MD    21901‐1506
                                                09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 796 of 850
Name                                              Address1                             Address2                    Address3   Address4           City            State Zip

CHRYSTELLE WILLIS                                 2845 PENFOLD LN                                                                                WAKE FOREST     NC    27587‐5495
CHU HUAI CHANG                                    36 BRIARCLIFF RD                                                                               TENAFLY         NJ    07670‐2902
CHU LAP LEE TR CHU LAP LEE REVOCABLE TRUST UA     P O BOX 1208                                                                                   WINDERMERE      FL    34786
09/06/96
CHUAN ALEXANDER LIU                               44 ST HELENA AVENUE                  MT KURINGAL                 NSW        2080 AUSTRALIA
CHUCK BICKO                                       6743 HARMONSBURG RD                                                                            LINESVILLE       PA   16424‐5909
CHUCK HULETT CUST ALEX J HULETT UTMA CA           PO BOX 4303                                                                                    BIG BEAR LAKE    CA   92315‐4303
CHUCK MARTIN                                      8268 CO RD M                                                                                   OTTAWA           OH   45875‐9545
CHUCK MCCLERNON                                   1414 MOSS CREEK                                                                                BLOOMINGTON      IL   61704‐2917
CHUCK MCDONALD                                    6806 STANWOOD                                                                                  SAN ANTONIO      TX   78213‐4056
CHUCK PANG & DENISE PANG JT TEN                   38 ALOHA AVE                                                                                   SF               CA   94122‐3529
CHUCK R LUTTRELL & DIANA K LUTTRELL JT TEN        3905 N PIPER ST                                                                                MUNCIE           IN   47303‐1143
CHUCK ROUBICEK                                    419 RIVERSIDE DR                                                                               WATERLOO         NE   68069‐9791
CHUCK W FORD                                      104 SAWBRIAR CT                                                                                TRAVELERS RST    SC   29690‐9537
CHUDI OKAFOR                                      921 7TH ST                                                                                     NEVADA           IA   50201‐2103
CHUI CHUN NG LEUNG                                5112 AVE N #2                                                                                  BROOKLYN         NY   11234
CHUI‐YEE WONG & BENNETT LEE JT TEN                2720 GREENFIELD AVE                                                                            LOS ANGELES      CA   90064
CHUMPHOT CHUDABALA                                9134 NOBLE AVE                                                                                 NORTH HILLS      CA   91343‐3402
CHUN C LIN                                        APT C                                1652 MONROE ST                                            MADISON          WI   53711‐2046
CHUN CHANG                                        217 PARKLANDS DR                                                                               ROCHESTER        NY   14616‐2049
CHUN FEE MOY & PAUL Y MOY JT TEN                  2370 S GRAYLOG LN                                                                              NEW BERLIN       WI   53151
CHUN H LAM                                        637 COVE RD                          APT A10                                                   STAMFORD         CT   06902‐5401
CHUN M HAN                                        4980 DOVER CT                                                                                  MUKILTEO         WA   98275‐6020
CHUN SHING LEUNG & MO LING LEUNG JT TEN           87 COLUMBIA ST                       APT 21‐D                                                  NEW YORK         NY   10002‐1909
CHUN‐FAN MAO                                      APT 14B                              80 LA SALLE ST                                            NEW YORK         NY   10027‐4714
CHUNG C KIM                                       2224 BURCHAM DR                                                                                EAST LANSING     MI   48823‐7244
CHUNG C TSAI                                      1708 MANOR CIRCLE                                                                              EL CERRITO       CA   94530
CHUNG L FENG & MRS WEN PEI FENG JT TEN            129 ELDRIDGE AVE                                                                               MILL VALLEY      CA   94941‐1171
CHUNG M SUH & KISHYN SUH JT TEN                   25383 LIBERTY LN                                                                               FARMINGTON HILLS MI   48335‐1239

CHUNG WAH HIGH SCHOOL ALUMNI SCHOLARSHIP          4130 GEARY BLVD                                                                                SAN FRANCISCO   CA    94118‐3102
FUND A CORPORATION
CHUONG H NGUYEN                                   3412 WEST HOLMES AVE                                                                           MILWAUKEE       WI    53221‐2649
CHUONG V LUU                                      390 WOODLAND MEADOWS DRIVE                                                                     VANDALIA        OH    45377‐1571
CHURCHILL CHIA‐CHU SZE                            4201 BUTTERWORTH PLACE N W           APT 409                                                   WASHINGTON      DC    20016‐4553
CHURMEY MCCLELLAN                                 18831 BRINKER                                                                                  DETROIT         MI    48234‐1539
CHURYL D COWAN                                    7105 HOWELL                                                                                    WATERFORD       MI    48327‐1534
CHUSRI SAE‐WONG                                   8016 N MERRILL                                                                                 NILES           IL    60714‐2423
CHWAN MING YEE CUST ROBERT K YEE U/THE NEW        1‐3 BLUE POOL RD                     BLUE POOL MANSION APT 4‐C              HONG KONG, CHINA
YORK U‐G‐M‐A
CHYLLENE Q WATERS                                 815 SHERRICK CT                                                                                CHALFONT        PA    18914‐3757
CICELY N WILLIAMS                                 1435 NW 34TH                                                                                   OKLAHOMA CITY   OK    73118‐3201
CICERO LAMPLEY                                    4697 LOGAN GATE RD                                                                             YOUNGSTOWN      OH    44505‐1713
CIGARD SMITH JR                                   14865 NORTHLAWN                                                                                DETROIT         MI    48238‐1849
CINDA L CAMPBELL                                  220 CLIFF FALLS CT                                                                             COLORADO SPGS   CO    80919‐8023
CINDA L WULF                                      3775 DYESS AVE                                                                                 RAPID CITY      SD    57701‐9013
CINDE MICHAEL ROBINSON                            9043 GREENMEADOW DRIVE                                                                         BROOKVILLE      IN    47012‐9415
CINDEE L RANDLE                                   10695 WREN RIDGE ROAD                                                                          ALPHARETTA      GA    30022‐6647
CINDERELLA MC MILLAN                              PO BOX 3444                                                                                    MARTINSVILLE    VA    24115‐3444
CINDI B MCCURRY                                   444 COUNTY ROAD 436                                                                            HILLSBORO       AL    35643‐4117
CINDI L WEBSTER                                   4712 MORNINGSIDE DR                                                                            BAY CITY        MI    48706‐2722
CINDI N CADDELL                                   5304 KATHRYN BLAIR LN                                                                          CHARLOTTE       NC    28226‐4004
CINDI ROBERTS CUST AUSTIN ROBERTS UTMA GA         PO BOX 309                                                                                     HOSCHTON        GA    30548‐0309
CINDRA A KRILL                                    804 W 2ND ST                                                                                   MARION          IN    46952‐3753
CINDRA A SANDERS                                  7153 MAPLE DR                                                                                  AVON            IN    46123‐8906
CINDY A AUSTIN                                    1682 KINGSTON DR                                                                               SAGINAW         MI    48603‐5400
CINDY A BELL                                      403 LOOKOUT DR                                                                                 COLUMBIA        TN    38401‐6146
CINDY A BOHANNON                                  3121 LAKE HAVEN DR                                                                             ANN ARBOR       MI    48105‐2503
CINDY A BOYD                                      523 S PLYMOUTH BLVD                                                                            LOS ANGELES     CA    90020‐4709
                                              09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 797 of 850
Name                                            Address1                             Address2              Address3         Address4          City               State Zip

CINDY A BROWN                                   1841 PORTVIEW DRIVE                                                                           SPRING HILL        TN    37174‐8201
CINDY A GRIGGS & DOUGLAS JR & ELIZABETH &       30 CLEARVIEW DR                                                                               WALLINGFORD        CT    06492‐3351
CHRISTINA &
CINDY A ISRAEL                                  109 EAST NORTH ST                                                                             COLUMBIA           AL    36319
CINDY A LONG                                    5067 W MAPLE AVE                                                                              SWARTZ CREEK       MI    48473‐8225
CINDY A NASH                                    4609 BARNETT STREET                                                                           METAIRIE           LA    70006‐2045
CINDY A SHARPE                                  6605 KREMERS LANE                                                                             LAPORTE            CO    80535‐9586
CINDY A VESELSKY                                14083 LANDINGS WAY                                                                            FENTON             MI    48430
CINDY A YOUNG                                   3708 JOHN LUNN RD                                                                             SPRING HILL        TN    37174‐2150
CINDY ANDERSON                                  300 QUINLAND LAKE COURT              APT D5                                                   ALGOOD             TN    38506‐5181
CINDY ANN NIGEL                                 3555 TOWNE DR                                                                                 CARMEL             IN    46032‐8536
CINDY ANN TYNER                                 44310 BENSON PARK RD                                                                          SHAWNEE            OK    74801
CINDY B LEVINE                                  4 VERNON AVE                                                                                  HULL               MA    02045‐2200
CINDY BEADLE                                    2300 GRAYSTONE DR                                                                             JOLIET             IL    60431‐1629
CINDY C NELSON                                  36995 MCKINNEY AVE                   APT 101                                                  WESTLAND           MI    48185‐1169
CINDY C SIVYER                                  24 PARKVIEW DR                                                                                PAINESVILLE        OH    44077‐4414
CINDY CAGLE                                     3055 GABLE BROOK DR                                                                           CHATTANOOGA        TN    37421‐1383
CINDY CLARE MORELAND                            ROUTE 1 BOX 82B                                                                               PUMPLIN            VA    23958‐9801
CINDY CLAY CUST MORGAN CLAY UTMA CA             123 LYNDHURST                                                                                 SAN CARLOS         CA    94070
CINDY D CLARKE                                  93 BLAKE STREET                                                                               BUFFALO            NY    14211‐1813
CINDY D MUMMERT                                 2747 E 67TH ST                                                                                ANDERSON           IN    46013
CINDY D VASQUEZ                                 2966 N BALDWIN RD                                                                             OXFORD             MI    48371‐2107
CINDY DAVIDSON CUST COLLIN DAVIDSON UTMA GA     5740 BROOKSTONE WALK                                                                          ACWORTH            GA    30101‐7813

CINDY EBINGER                                   PMB 222                              406 W WASHINGTON ST                                      BRAINERD           MN    56401‐2968
CINDY ESPINOSA                                  2445 HOUGHTON HOLLOW                                                                          LANSING            MI    48911
CINDY F GARLAND                                 2341 GARLAND LN                                                                               GLEN ROCK          PA    17327‐8337
CINDY FLICK                                     9508 WEST LONE BEECH DRIVE                                                                    MUNCIE             IN    47304‐8931
CINDY HEARN                                     11720 US 35 S                                                                                 SELMA              IN    47383‐9792
CINDY HERZBERG                                  805 W PORTAGE ST                                                                              KISSIMMEE          FL    34741‐5649
CINDY HOOD CUST KELSEY OCKMAN UTMA LA           129 GLENDURGAN WAY                                                                            MADISONVILLE       LA    70447
CINDY I HOOVER                                  9450 WHITTAKER RD                                                                             YOSILANTI          MI    48197‐8917
CINDY J TREPANIER                               4012 CO RD 489                                                                                ONAWAY             MI    49765‐9712
CINDY J WILSON                                  1231 S CASS LAKE RD                                                                           WATERFORD          MI    48328‐4739
CINDY JO KEMP                                   1300 WYNNFIELD DR                                                                             ALGONQUIN          IL    60102‐6055
CINDY JONES                                     33465 ROAD 17                                                                                 LAS ANIMAS         CO    81054
CINDY K HEAZLIT                                 5672 BLUEGRASS LN                                                                             SAN JOSE           CA    95118‐3513
CINDY KURTZ CUST JOHATHAN EWING UTMA MI         2424 ROMENCE RD                                                                               PORTAGE            MI    49024‐4406
CINDY L AMSBURY                                 2663 NORTH 200 WEST                                                                           TIPTON             IN    46072‐8841
CINDY L BEKKERING                               8200 TEACHOUT RD                                                                              OTTSVILLE          MI    48463‐9418
CINDY L DEATON                                  923 LAKEVIEW ST                                                                               WATERFORD          MI    48328‐3807
CINDY L DERYLO                                  3427 BRIGGS BLVD NE                                                                           GRAND RAPIDS       MI    49525‐2505
CINDY L DOUGHERTY                               127 VERA RD                                                                                   BRISTOL            CT    06010‐4859
CINDY L DURRENBERGER                            102 ELM ST                                                                                    CHARLEVOIX         MI    49720‐1136
CINDY L GARRISON                                2233 E STOLL ROAD                                                                             LANSING            MI    48906
CINDY L JOHNSON                                 1200 LAKEVIEW CIRCLE                                                                          SMITHVILLE         MO    64089‐8763
CINDY L KETTLE‐SELLS                            423 MALIBU CANYON DR                                                                          COLUMBIA           TN    38401‐6803
CINDY L LITTLE                                  1175 OREGON BLVD                                                                              WATERFORD          MI    48327‐3365
CINDY L MATLOCK                                 4791 GOLF COURSE DR                                                                           WESTLAKE VILLAGE   CA    91362‐4734

CINDY L MESSINA                                 168 HOLLINGSWORTH MN                 APT 84                                                   ELKTON             MD    21921‐6609
CINDY L MONCZYNSKI                              4774 BUSSENDORFER RD                                                                          ORCHARD PARK       NY    14127‐4309
CINDY L MORIN                                   26 MILL RIVER ST                     #1                                                       BLACKSTONE         MA    01504‐1829
CINDY L MULLEN CUST ADAM T MULLEN UTMA FL       3330 MIDSHIP DR.                                                                              FORT MYERS         FL    33903
CINDY L NORRIS‐WHEELER                          1767 FLANDERS RD                                                                              CHARLOTTE          MI    48813‐9389
CINDY L PRINGLE                                 1015 TREASURE LN                                                                              ROSEVILLE          CA    95678‐1448
CINDY L RENN                                    ATTN CINDY L R HOEHNE                1821 ANNETTE LN                                          LINCOLN            NE    68512‐9325
CINDY L SIR                                     6372 COSTANERO RD                                                                             ST AUGUSTINE       FL    32080‐7613
CINDY L SMITH CUST MITCHELL E SMITH UTMA IL     739 CHICORY COURT                                                                             NAPERVILLE         IL    60540‐6371
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                       Part 1 of 8 Pg 798 of 850
Name                                              Address1                              Address2                       Address3   Address4          City             State Zip

CINDY L SMITH CUST SEAN M SMITH UTMA IL           739 CHICORY CT                                                                                    NAPERVILLE       IL    60540‐6371
CINDY L STRAUB                                    22161 BELL RD                                                                                     NEW BOSTON       MI    48164‐9228
CINDY L SUMMERS                                   7525 S ARLINGTON AVE                                                                              INDIANAPOLIS     IN    46237‐9357
CINDY L TULLAR                                    11 BRIXTON LN                                                                                     CROSSVILLE       TN    38558
CINDY L VENESKEY CUST DENA N VENESKEY UTMA OH     1596 DOUGLAS RD                                                                                   WICKLIFFE        OH    44092‐1002

CINDY L YOUMANS & BRICE J YOUMANS JT TEN         24535 WARD                                                                                         TAYLOR           MI    48180‐2190
CINDY LAWRENCE                                   PO BOX 2056                                                                                        DURANGO          CO    81302‐2056
CINDY LOU CARTER                                 BOX 1822                                                                                           PINE             AZ    85544‐1822
CINDY LOU GRICE                                  5510 SOUTH STATE ROAD                                                                              ITHACA           MI    48847‐9636
CINDY LOU LAUDERBACH                             ATTN CINDY LOU MACHADO                 46‐263 KAHUHIPA STREET B‐207                                KANEOHE          HI    96744‐6003
CINDY LOU SMITH                                  P O BOX 1481                           72 MARS AVE                                                 ELKTON           MD    21922
CINDY LOU TURNER                                 1506 W AUTUMNWOOD LANE                                                                             LAKE CHARLES     LA    70605‐5304
CINDY LYNN SCHWARTZ                              2587 N 1000 W                                                                                      ANDREWS          IN    46702‐9573
CINDY M ANDERSON                                 3133 NW 27 AVE                                                                                     GAINESVILLE      FL    32605
CINDY M EWING                                    16113 LUCIA DRIVE                                                                                  CHESTER          VA    23831‐7412
CINDY M MACKEY & ROBERT G MACKEY JT TEN          733 COTTONWOOD CT                                                                                  VIRGINIA BEACH   VA    23462‐4909
CINDY M MAURO                                    8111 E YALE AVE                        APT 1‐102                                                   DENVER           CO    80231‐4148
CINDY M SERVICE                                  11519 BENTON RD                                                                                    GRAND LEDGE      MI    48837‐9728
CINDY M URBINA                                   1024 CHARLES ST                                                                                    DEFIANCE         OH    43512‐1833
CINDY M WARNER                                   144 MT WHITNEY WAY                                                                                 CLAYTON          CA    94517‐1541
CINDY MARIE WIEDMANN                             11106 OHANA WAY                                                                                    LAKESIDE         CA    92040
CINDY MAURER                                     C/O H BURKHARD P&H                     207 CARPENTER ROAD                                          BAD AXE          MI    48413‐8822
CINDY MCCALLUM TITSWORTH                         49 CANTERBURY TRAIL DR                                                                             ROCHESTER HLS    MI    48309‐2002
CINDY N PELLERIN                                 2973 BUTNER RD SW                      APT 704                                                     ATLANTA          GA    30331‐7886
CINDY N PROVENSAL                                4609 BARNETT STREET                                                                                METAIRIE         LA    70006‐2045
CINDY N SANMILLAN                                59 LARKIN LANE                                                                                     GARNERVILLE      NY    10923‐1537
CINDY OSBORNE                                    1713 SE 9TH                                                                                        MOORE            OK    73160‐8353
CINDY OVERSTREET & EARL OVERSTREET JT TEN        BOX 2561                                                                                           HAMMOND          LA    70404‐2561
CINDY P ASKOWITZ LINDER                          121 SOUNDVIEW AVE                                                                                  WHITE PLAINS     NY    10606‐3612
CINDY PETTIGREW                                  2904 ESTHER LANE                                                                                   MUNCIE           IN    47302‐5518
CINDY R COX & RICHARD M COX JT TEN               2336 CHRISTNER ST                                                                                  BURTON           MI    48519‐1008
CINDY REDD                                       11619 ROLLING MEADOWS DR                                                                           GREAT FALLS      VA    22066‐1344
CINDY REEVES                                     7090 DELISLE‐FOURMAN RD                                                                            ARCANUM          OH    45304‐9784
CINDY S COY                                      3330 SMITH CROSSING RD                                                                             FREELAND         MI    48623‐9441
CINDY S GATES                                    623 SZECHUAN LANE                                                                                  HOWELL           MI    48843‐7831
CINDY S LATTER                                   7982 WOODVIEW DR                                                                                   CLARKSTON        MI    48348‐4055
CINDY S REDMON                                   PO BOX 319                                                                                         HUNTERSVILLE     NC    28070‐0319
CINDY S SCHAEFERS                                2586 J CIR                                                                                         ADEL             IA    50003‐8262
CINDY SELLS                                      423 MALIBU CANYON DR                   C/O KETTLE                                                  COLUMBIA         TN    38401‐6803
CINDY SUE KIPP                                   ATTN CINDY S DIEHL                     22285 ARMADA CENTER RD                                      ARMADA           MI    48005‐2618
CINDY SWENSON                                    8484 FAIRDALE CRESCENT                 RICHMOND BC                               V7C 1W4 CANADA
CINDY TIMPERLAKE WRIGHT                          159 W BROADWAY                                                                                     GETTYSBURG       PA    17325‐1206
CINDY W MATTSON                                  PO BOX 3148                                                                                        HAILEY           ID    83333‐3148
CINDY WIRZ                                       703 GOLDENEYE DR                                                                                   GRANBURY         TX    76049‐5510
CINDYE L MCDANIEL CUST COURTLAND ELLIOTT         5209 TIMBER CREEK CIR                                                                              N LITTLE ROCK    AR    72116‐6439
MCDANIEL UTMA AR
CINNAMON C DECATO                                56 WINONA CIRCLE                                                                                   LEBANON          NH    03766‐1180
CINSERIA PATTERSON CUST ALEXIS C VAZQUEZ UTMA IN 2722 W CARTER ST                                                                                   KOKOMO           IN    46901‐4064

CINTHIA OSTERHOUT & KENNETH OSTERHOUT JT TEN      1205 WILLIAM ST                                                                                   CORONA           CA    92879‐2546

CIOCHON RONALD                                    1331 GREEN LEAF AVE                                                                               CHICAGO          IL    60626
CIPORA KRONEN                                     817 ANITA STREET                                                                                  REDONDO BEACH    CA    90278‐4801
CIPRIANO M PINA                                   1278 SOUTH M STREET                                                                               OXNARD           CA    93033‐1515
CIPRIANO MARTINEZ JR                              5390 ROBIN DR                                                                                     GRAND BLANC      MI    48439‐7925
CIPRIANO ROMERO                                   308 NEBRASKA                                                                                      S HOUSTON        TX    77587‐3332
CIRCLE TEN FEDERAL CREDIT UNION CUST HARVEY L     2331 BOOTH CIR                                                                                    WINDER           GA    30680‐3303
CASPER IRA
                                              09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 799 of 850
Name                                               Address1                             Address2             Address3          Address4          City             State Zip

CIRIACO JASSO & CAROL L JASSO JT TEN               9963 PALMER ROAD                                                                              GREENVILLE       MI    48838‐9454
CIRILO MOLLEDA                                     3261 GERTRUDE                                                                                 DEARBORN         MI    48124‐3719
CIRO BOCCARSI                                      C/O MARIA BOCCARSI                   PO BOX 774                                               WAYNE            IL    60184‐0774
CIRO F LA CORTE                                    41 YOUNGS RD                                                                                  WILLIAMSVILLE    NY    14221‐5801
CISSIE C FAIRCHILDS                                104 CROSS RD                                                                                  SYRACUSE         NY    13224‐2128
CITIZENS BANK & TRUST CO CUST GARY GEBHARDS IRA    BOX 70                                                                                        ROCKPORT         MO    64482‐0070

CITIZENS NATIONAL BANK TR UA 10/28/1994 ROBERT E   135 CENTER ST                        PO BOX 29                                                MEYERSDALE       PA    15552
PECK JR TRUST
CITY OF ASBURY PARK                                1 MUNICIPAL PLZ                                                                               ASBURY PARK      NJ    07712‐7026
CITY OF CINCINNATI SPECIAL TRUST FUNDS             CITY HALL TREASURERS OFFICE                                                                   CINCINNATI       OH    45202
CITY OF PARKERSBURG A MUNICIPAL CORP               FINANCE DIRECTOR                     PO BOX 1627                                              PARKERSBURG      WV    26102‐1627
CIVIE CROWTHER CUST KEVIN CROWTHER UGMA MS         1324 SANDFLAT RD                                                                              MERIDIAN         MS    39301‐8017

CJ FITZGERALD                                      11959 SE 196TH ST                                                                             DUNNELLON        FL    34431
CJPM FAMILY PARTNERSHIP LTD                        620 SAND HILL RDF                    APT 218 F                                                PALO ALTO        CA    94304
CLADDIE M TERRELL                                  20438 MARK TWAIN                                                                              DETROIT          MI    48235‐1615
CLAES LINDSKOG                                     KARLAVAGEN 22                        S‐28023 HASTVEDA                       SWEDEN
CLAIBORNE E JOHNSON                                17804 DOGWOOD LN                                                                              HAZEL CREST      IL    60429‐2131
CLAIBOURNE L HARRIS                                6027 SOUTH RICE AVE                                                                           BELLAIRE         TX    77401‐2816
CLAIR A NOFTSGER                                   627 6TH AVE                                                                                   SIDNEY           OH    45365‐1046
CLAIR E ABEL                                       2180 ALGER RD                                                                                 LAKEWOOD         OH    44107‐5849
CLAIR E GRIFFIN                                    615 W FENNVILLE ST                                                                            PENNVILLE        MI    49408‐9412
CLAIR E MC MILLEN & SARA I MC MILLEN JT TEN        6215 BLAIN RD                                                                                 LOYSVILLE        PA    17047
CLAIR E SHARP                                      PO BOX 4145                                                                                   FLINT            MI    48504‐0145
CLAIR E THOMAS                                     67 WALLING AVE                                                                                BELFORD          NJ    07718‐1000
CLAIR F ALLEN                                      1915 3RD AVE NW                                                                               AUSTIN           MN    55912‐1452
CLAIR F ALLISH                                     1407 BLISS ST                                                                                 SAGINAW          MI    48602‐2622
CLAIR F ALLISH & DONNA J ALLISH JT TEN             1407 BLISS ST                                                                                 SAGINAW          MI    48602‐2622
CLAIR FERSTER & WILMA J FERSTER JT TEN             RR #1 BOX 576                                                                                 RICHFIELD        PA    17086‐9706
CLAIR FRANCIS WHEELER                              13710 GAINESWAY DRIVE                                                                         CYPRESS          TX    77429‐5125
CLAIR H BOWSER                                     G4095 N BELSEY RD                                                                             FLINT            MI    48506
CLAIR H RAU & JOAN E RAU JT TEN                    3617 CIMMERON ROAD                                                                            YORK             PA    17402‐4439
CLAIR J CAMP                                       8480 BEA LN                                                                                   GREENWOOD        LA    71033‐3302
CLAIR J KELLY                                      3700 GALT OCEAN DR                   SUITE 810                                                FT LAUDERDALE    FL    33308‐7662
CLAIR J SCHRACK                                    5619 ATTAWAY ST                                                                               CHARLESTON       SC    29406‐3254
CLAIR KNAPP                                        3781 WHITESIDE COVE RD                                                                        HIGHLANDS        NC    28741‐7718
CLAIR L KELLOGG                                    2055 S FLORAL AVE                    LOT 296                                                  BARTOW           FL    33830‐7113
CLAIR L ZIMMERMAN                                  PO BOX 107                                                                                    MECHANICSBURG    OH    43044‐0107
CLAIR M PERRY                                      225A BRANCH RD                                                                                MONROE TWP       NJ    08831‐4419
CLAIR O WATKINS                                    552 LOCUST ST                                                                                 LOCKPORT         NY    14094‐5603
CLAIR P GOEBEL                                     2900 CRC                                                                                      EDGERTON         OH    43517
CLAIR R CATHERS                                    225 MCCLAIN DRIVE                                                                             WEST MELBOURNE   FL    32904‐5104

CLAIR R CATHERS & RUTH M CATHERS TR UA             225 MCCLAIN DR                                                                                W MELBOURNE      FL    32904
02/02/2009 CATHERS FAMILY TRUST
CLAIR R FARABAUGH                                  PO BOX 160                                                                                    OSCODA           MI    48750‐0160
CLAIR R FARABAUGH & MARIE A FARABAUGH JT TEN       PO BOX 160                                                                                    OSCODA           MI    48750

CLAIR R WEISENBERGER                               18990 BISHOP RD                                                                               CHESANING        MI    48616‐9717
CLAIR S SNYDER                                     76 FERNBANK AVE                                                                               DELMAR           NY    12054‐4219
CLAIR V CORBAT                                     605 N ELEVATOR RD                                                                             LINWOOD          MI    48634‐9462
CLAIR V CORBAT & JULIA V CORBAT JT TEN             605 N ELEVATOR RD                                                                             LINWOOD          MI    48634‐9462
CLAIR V REEDY                                      894 FIFTH ST                                                                                  STRUTHERS        OH    44471‐1532
CLAIR W BLACK                                      BOX 397                                                                                       CHIPPEWA LAKE    OH    44215‐0397
CLAIR W CORNISH                                    220 BIGELOW STREET                   PORT PERRY ON                          L9L 1M2 CANADA
CLAIR W OVERLEY                                    6820 E HARBOR DR                                                                              ELK RAPIDS       MI    49629‐9777
CLAIR W WARD                                       7352 CROSS CREEK DR                                                                           SWARTZ CREEK     MI    48473‐1711
CLAIR YVONNE CANCRYN                               3129 44TH ST APT E                                                                            SAN DIEGO        CA    92105‐4337
                                                  09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 800 of 850
Name                                                Address1                               Address2             Address3          Address4          City              State Zip

CLAIR ZENTNER & JEFFREY ZENTNER JT TEN              5515 SE HARRISON ST                                                                             MILWAUKIE         OR    97222‐4312
CLAIRE A BUTCHER                                    19 WYOMA ST                                                                                     LYNN              MA    01904‐1828
CLAIRE A CONNELL & LINDA M CONNELL JT TEN           3 WALL ST COURT                                                                                 SALEM             MA    01970‐1208
CLAIRE A CULVER                                     9 CRANBERRY LANE                                                                                EASTHAMPTON       MA    01027‐1068
CLAIRE A EVANS                                      2815 SNYDERSBURG ROAD                                                                           HAMPSTEAD         MD    21074‐1528
CLAIRE A FLEMING                                    21 ROBIN PL                                                                                     PARLIN            NJ    08859‐1609
CLAIRE A GRAHAM                                     15461 HOLLEY RD                                                                                 ALBION            NY    14411‐9713
CLAIRE A LANE                                       5171 POTOMAC DR                                                                                 FAIRFIELD         OH    45014‐2423
CLAIRE A MARTINI TR UA 02/03/94 CLAIRE A MARTINI    9571 BREHM RD                                                                                   CINCINNATI        OH    45252‐2611
TRUST
CLAIRE A WIGGINS                                    2460 MAYFLOWER RD                                                                               NILES             MI    49120‐8715
CLAIRE A WIGGINS & THOMAS F WIGGINS JT TEN          2460 MAYFLOWER RD                                                                               NILES             MI    49120‐8715
CLAIRE ALBERTSON                                    544 MONROE ST                                                                                   ERWIN             TN    37650‐1031
CLAIRE ANGELA TREBER & LAWRENCE D TREBER JT TEN     313 BEECHVALE CT                                                                                SAN JOSE          CA    95119‐1736

CLAIRE ANN DELUCIA                             7936 OAK BROOK CIRCLE                                                                                PITTSFORD         NY    14534
CLAIRE ANN DELUCIA CUST ANDREA DELUCIA UTMA NV 7936 OAK BROOK CIRCLE                                                                                PITTSFORD         NY    14534

CLAIRE ANN DELUCIA CUST LAURA DELUCIA UTMA MI       7936 OAK BROOK CIRCLE                                                                           PITTSFORD         NY    14534

CLAIRE ANN DELUCIA CUST RENAE DELUCIA UTMA NV       7936 OAK BROOK CIRCLE                                                                           PITTSFORD         NY    14534

CLAIRE B ANDERSON                                   130 KINSEY AV                                                                                   CINCINNATI        OH    45219‐2731
CLAIRE B ASKINS TOD JEFFREY ASKINS & KENNETH        234 FIRESIDE DRIVE                                                                              BRANDENBURG       KY    40108‐1507
ASKINS & NANCY SIMMONS
CLAIRE B GRAHAM                                     27 MCDONALD AVE                                                                                 WATERBURY         CT    06710‐1745
CLAIRE B SPENCER                                    160 GULPH HILLS RD                                                                              WAYNE             PA    19087‐4616
CLAIRE BERGER                                       ATTN MR HARRY BERGER                   W3403 COUNTY BB RD                                       LAKE GENEVA       WI    53147
CLAIRE C JABBOUR                                    305 RANDOLPH AVENUE                                                                             EAST RUTHERFORD   NJ    07073‐1344

CLAIRE C NICHOLS                                    7022 LAMMERS RD                                                                                 DELTON            MI    49046‐9676
CLAIRE C PRATT                                      50 ELAINE DR                                                                                    BRISTOL           CT    06010‐2338
CLAIRE C RUSSAKOFF                                  842 LONGSHORE AVE                                                                               PHILADELPHIA      PA    19111‐4423
CLAIRE CANNON CHRISTOPHER                           2837 REYNOLDS DR                                                                                WINSTON SALEM     NC    27104‐1903
CLAIRE CHIZMADIA                                    465 VAN BUSSUM AVE                                                                              GARFIELD          NJ    07026‐2032
CLAIRE CORCORAN                                     20 HARLAND ROAD                                                                                 WALTHAM           MA    02453‐7614
CLAIRE COYLE                                        8004 KIAWAH TRACE                                                                               PORT ST LUCIE     FL    34986‐3023
CLAIRE D BAIAMONTE                                  142‐13 COLONIAL RIDGE CIRCLE                                                                    MOORESVILLE       NC    28117
CLAIRE D DRISCOLL                                   1026‐B HERITAGE VILLAGE                                                                         SOUTHBURY         CT    06488‐1416
CLAIRE D ECKLES                                     783 FOXHOUND DR                                                                                 PORT ORANGE       FL    32124‐6991
CLAIRE D GAUDETTE                                   1364 CHATEAU WAY                                                                                THE VILLAGES      FL    32162‐2039
CLAIRE D RICHARDSON                                 79 KNOLLWOOD DR                                                                                 BRANFORD          CT    06405‐3937
CLAIRE D RIOUX & PAUL R RIOUX JT TEN                45 LUND ST                                                                                      NASHUA            NH    03060‐4441
CLAIRE DUCOMMUN                                     417 CRESTWOOD DR                       OSHAWA ON                              L1G 2R4 CANADA
CLAIRE E BEAMIS                                     10 WOODROCK RD                                                                                  SCARBOROUGH       ME    04074‐9355
CLAIRE E BRITTAIN & GERALDINE D BRITTAIN JT TEN     5026 RAIN TREE LANE                                                                             GREENVILLE        SC    29615‐3835

CLAIRE E CRAVERO REVOCABLE TRUST UA 11/25/2007      6 LENORA DR                                                                                     WEST SIMSBURY     CT    06092

CLAIRE F KUKIELKA                             4177 KISTLER RD                                                                                       SCHNECKSVILLE     PA    18078
CLAIRE F ROBINSON                             346 CARLISLE DR                                                                                       AVONDALE          PA    19311‐1439
CLAIRE F SOLMAN CUST MONIQUE L SOLMAN UGMA MA PO BOX 61                                                                                             LINCOLN           MA    01773‐0061

CLAIRE FLOHR TR CLAIRE FLOHR LIVING TRUST UA        185 W END AVE APT 7D                                                                            NEW YORK          NY    10023‐5542
06/23/94 CLAIRE FLOHR
CLAIRE FULLING DIESTEL                              210 CASITAS AVE                                                                                 SAN FRANCISCO     CA    94127‐1604
CLAIRE G GIBBS                                      7418 SOUTH 31ST                                                                                 KALAMAZOO         MI    49001‐9759
CLAIRE H BEAULIEU                                   767 NAVIGATORS RUN                                                                              MOUNT PLEASANT    SC    29464‐6620
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 801 of 850
Name                                             Address1                             Address2                Address3       Address4          City             State Zip

CLAIRE H NAULTY                                  PO BOX 1620                                                                                   FOLLY BEACH      SC    29439‐1620
CLAIRE H QUINTAL                                 44 MERLIN COURT                                                                               WORCESTER        MA    01602‐1352
CLAIRE H WILDER                                  2202 WOODSTOCK PL                                                                             BLOOMINGTON      IN    47401‐6181
CLAIRE I MURPHY                                  5 PICKERING ST                                                                                WOBURN           MA    01801‐5515
CLAIRE J HEIL                                    81 GLASSHOUSE LN                                                                              WOODSTOWN        NJ    08098‐2041
CLAIRE J INDYK                                   595 SPOTSWOOD ENGLISHTOWN ROAD                                                                MONROE           NJ    08831‐3205
                                                                                                                                               TOWNSHIP
CLAIRE J KURZENKNABE & JOHN G KURZENKNABE JT     PO BOX 7294                                                                                   AUDUBON          PA    19407‐7294
TEN
CLAIRE J MERFELD & ALICE M MERFELD TR MERFELD    17433 BOSWELL BLVD                                                                            SUN CITY         AZ    85373‐1669
TRUST UA 0/08/97
CLAIRE J METZGER                                 91‐25 71ST AVENUE                                                                             FOREST HILLS     NY    11375‐6704
CLAIRE J OVERBECK                                3104 AUTEN AVE                                                                                CINCINNATI       OH    45213‐2406
CLAIRE J SPRAGUE                                 6266 MARCY DRIVE                                                                              BRIGHTON         MI    48116‐2113
CLAIRE JOANN ALBRYCHT                            1091 DUBOIS RD                                                                                CARLISLE         OH    45005‐3767
CLAIRE JOLIE                                     PO BOX 616                                                                                    CHESTERTON       IN    46304‐0616
CLAIRE JOLIE TR JOLIE FAMILY TRUST UA 12/06/01   PO BOX 616                                                                                    CHESTIRTON       IN    46304‐0616

CLAIRE JORDAN EDWARDS                            2805 AVONHILL DR                                                                              ARLINGTON        TX    76015‐2102
CLAIRE K DOUGLAS                                 34 OAKMONT DR                                                                                 CONCORD          NH    03301‐6915
CLAIRE K ISRAEL                                  3122 KALLIN AVE                                                                               LONG BEACH       CA    90808‐4203
CLAIRE K SCHORR                                  3147 GLENDALE AVE                                                                             PITTSBURGH       PA    15227‐2828
CLAIRE KILISZEK                                  8 HAILEY'S TRAIL                                                                              NEWARK           DE    19711‐3006
CLAIRE L BULLIS & NEIL K BULLIS JT TEN           89 MAPLE ST                                                                                   WENHAM           MA    01984‐1924
CLAIRE L DONNER                                  1299 BRIARWOOD DR 205                                                                         SN LUIS OBISP    CA    93401
CLAIRE L KELLEY                                  PO BOX 105                                                                                    ST REGIS FALLS   NY    12980‐0105
CLAIRE L LACOSTE                                 4663 SOUTH 34TH STREET                                                                        ARLINGTON        VA    22206‐1701
CLAIRE L SUSSMAN                                 1500 WESTWOOD LANE                                                                            WINWOOD          PA    19096‐3710
CLAIRE LANDSBAUM CUST ROSS GLENN LANDSBAUM       518 N ALTA DR                                                                                 BEVERLY HILLS    CA    90210‐3502
UGMA CA
CLAIRE LYNETTE TRIMBLE                           2201 FOUNTAINVIEW #8                                                                          HOUSTON          TX    77057‐3672
CLAIRE LYON ABBOTT                               139 VICTORIA FALLS LN                                                                         WILMINGTON       DE    19808‐1657
CLAIRE M BLONDEAU                                4901 NEWCOMB DR                                                                               BATON ROUGE      LA    70808‐4770
CLAIRE M CAROLAN                                 349 TILDEN COMMONS LANE                                                                       BRAINTREE        MA    02184‐8280
CLAIRE M FLYNN                                   53 PHILBRICK RD                                                                               NEWTON CENTER    MA    02459‐2735
CLAIRE M GORMAN                                  C/O R MORAN                          165 WASHINGTON STREET                                    WINCHESTER       MA    01890‐2100
CLAIRE M H GIBSON                                1350 RAHWAY ROAD                                                                              SCOTCH PLAINS    NJ    07076‐3408
CLAIRE M HARRIS TR CLAIRE M HARRIS TRUST UA      825 SUGAR MAPLE LN                                                                            CHESAPEAKE       VA    23322‐3426
04/17/95
CLAIRE M MILLER & GAYLE M JENZEN TR CLAIRE M     31175 WEST RUTLAND RD                                                                         BEVERLY HILLS    MI    48025‐5429
MILLER TRUST UA 08/19/98
CLAIRE M OUELLETTE                               C/O CLAIRE O NELSON                  20 FAIRVIEW DR                                           FARMINGTON       CT    06032‐2517
CLAIRE M PEER                                    124 W FARRELL AVE                    APT A7                                                   EWING            NJ    08618‐2211
CLAIRE MANNING KRAWCZAK                          30660 LONGCREST                                                                               SOUTHFIELD       MI    48076‐1562
CLAIRE MARIE WALOCKO & PETER J WALOCKO JT TEN    26506 HENDRIE                                                                                 HUNTINGTON       MI    48070‐1343
                                                                                                                                               WOODS
CLAIRE MAXWELL WENZEL                          PO BOX 480                                                                                      FLAGLER BEACH    FL    32136‐0480
CLAIRE MC KOWNE                                355 CEDARCROFT DR                                                                               BRICK            NJ    08724‐4401
CLAIRE N NELSON                                1524 TAMARACK LANE                                                                              JANESVILLE       WI    53545‐1259
CLAIRE N SMITH JR                              429 WISP CREEK DR                                                                               BAILEY           CO    80421‐2356
CLAIRE PEDAGNO & GRACE PEDAGNO JT TEN          59 CHANNEL VW                          UNIT 3                                                   WARWICK          RI    02889‐6555
CLAIRE PELLETIER                               37791 N CAPITOL CT                                                                              LIVONIA          MI    48150‐5003
CLAIRE R FARRELL                               37 SCOTT HILL BLVD                                                                              BELLINGHAM       MA    02019
CLAIRE R MCCLINTON                             129 W JAMIESON ST                                                                               FLINT            MI    48505‐4055
CLAIRE R MILLER & DOUGLAS S MILLER TEN COM     409 MCCOMBS RD                                                                                  VENETIA          PA    15367‐1309
CLAIRE RIORDAN KAPPLER                         155 W SUMMIT ST                                                                                 SOMERVILLE       NJ    08876‐1430
CLAIRE S SCHWARTZ CUST RUTH SARA HYMES UTMA CA 14578 BEXHILL CT                                                                                CHESTERFIELD     MO    63017‐5610

CLAIRE SOUZA                                     1465 N MAIN ST                                                                                FALL RIVER       MA    02720‐2827
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 802 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

CLAIRE SYLVESTER                                  16 HILLCREST RD                                                                                 MOUNTAIN LAKES NJ       07046‐1327
CLAIRE T GREENE                                   2001 83RD AVE N #1120                                                                           SAINT PETERSBURG FL     33702‐3963

CLAIRE V HARRIS                                   76 DEEPWOOD RD                                                                                  DARIEN            CT    06820‐3205
CLAIRE VILLA & JOHN VILLA JT TEN                  34 WOODCREEK RD                                                                                 NEW FAIRFIELD     CT    06812‐4125
CLAIRE W BUCHSBAUM                                152 E 94TH ST                                                                                   NEW YORK          NY    10128‐2510
CLAIRE WINOKUR                                    C/O CLAIRE HELLER                      310 BEACH 144TH ST                                       ROCKAWAY PARK     NY    11694‐1117
CLAIRE WISHARD HOPPENWORTH                        1025 W GEORGE ST                       APT 1                                                    CHICAGO           IL    60657‐4311
CLAIRE YEW PRICE                                  23 ASSABET HILL CIR                                                                             NORTHBOROUGH      MA    01532‐3801
CLAIRE Z VERDINI                                  188 ROCK RD WEST                                                                                GREEN BROOK       NJ    08812‐2058
CLAIRE ZIMMERMAN                                  3086 CLAIRE RD                                                                                  LEXINGTON         KY    40502‐2976
CLAIRLYN E DAVIS CUST CHADLER S DAVIS UTMA CT     185 WASHINGTON ST                                                                               NORWICH           CT    06360‐4211

CLAN H LINTON & KATHERINE L LINTON JT TEN         2283 SEABIRD DR                                                                                 BRISTOL           PA    19007‐5220
CLANTON O KEARCE                                  8678 SAN TOCCOA DR                                                                              ORLANDO           FL    32825‐7932
CLARA A BURLING                                   880 WEGMAN RD                                                                                   ROCHESTER         NY    14624
CLARA A BUSTION                                   536 SUMMER ST                                                                                   BROCKTON          MA    02302
CLARA A CREEDON                                   1320 BANNING ST                                                                                 WILMINGTON        DE    19805‐4561
CLARA A GOTHARD                                   56280 TROON N                                                                                   SHELBY TOWNSHIP   MI    48316

CLARA A JACKSON & BRIDGETT A JACKSON JT TEN       10935 SOMERSET AVE                                                                              DETROIT           MI    48224‐1749
CLARA A KASPEROWICZ                               144 PENHURST ST                                                                                 ROCHESTER         NY    14619‐1520
CLARA A KOLODNER                                  C/O JEANNE L KOLODNER                  9731 BEACON RD                                           PHILADELPHIA      PA    19115
CLARA A ROBINSON                                  3119 E 11TH ST                                                                                  ANDERSON          IN    46012‐4511
CLARA A WICK TR CLARA A WICK LIVING TRUST UA      10275 KRESS ROAD                                                                                PINCKNEY          MI    48169‐8428
11/01/01
CLARA A YAKOBIES                                  13118 CROSSBURN AVE                                                                             CLEVELAND         OH    44135‐5020
CLARA ANN NEWELL LLOYD                            107 HIGHGATE RD                                                                                 ITHACA            NY    14850‐1433
CLARA ARGINE WIELAND                              2475 BRICKELL AVE                      APT 2110                                                 MIAMI             FL    33129‐2483
CLARA B BAZINET                                   72 PHILMART DR                                                                                  NEW IPSWICH       NH    03071‐3114
CLARA B DAVIS & JESSIE L DAVIS JT TEN             8260 FINDLEY DR                                                                                 MENTOR            OH    44060‐3810
CLARA B HASKIN                                    3707 GRAPEVINE                                                                                  HOUSTON           TX    77045‐6414
CLARA B JOHNSON                                   5812 HORRELL RD                                                                                 TROTWOOD          OH    45426‐2143
CLARA B MILHOAN                                   554 LOVEMAN AVE                                                                                 WORTHINGTON       OH    43085‐3788
CLARA B SMITH                                     10952 EASTON RD                        BOX 67                                                   NEW LORTHROP      MI    48460‐0067
CLARA B STALL                                     7745 E GUNNISON PL                                                                              DENVER            CO    80231‐2622
CLARA BANASZAK & JAMES BANASZAK JT TEN            15818 WIINTERPARK DR                                                                            MACOMB            MI    48044
CLARA BERNICE STEPTER                             3618 E 140TH ST                                                                                 CLEVELAND         OH    44120‐4549
CLARA BLUMETTI                                    271 TALSMAN DR UNIT 1                                                                           CANFIELD          OH    44406‐1295
CLARA BREYER CUST MARK LEWIS BREYER U/THE         #6                                     72 KESSEL CT                                             MADISON           WI    53711‐6239
WISCONSIN U‐G‐M‐A
CLARA BROWN                                       2412 ADAMS                                                                                      FLINT             MI    48505‐4902
CLARA BUTZ                                        6647 N KOLMAR AVE                                                                               LINCOLNWOOD       IL    60712‐3331
CLARA C ALLEN                                     2306 E BRIARGATE DR                                                                             BRYAN             TX    77802‐2111
CLARA C BRIGNOLE                                  1730 HIGGINSON SQ                                                                               COLLIERVILLE      TN    38017‐9782
CLARA C NELSON TR CLARA C NELSON REVOCABLE        5721 SW 35 WAY                                                                                  GAINESVILLE       FL    32608‐5230
TRUST UA 07/09/97
CLARA C WINSTON                                   4790 OLD BRIAR TRAIL                                                                            DOUGLASVILLE     GA     30135‐2654
CLARA CARNETT                                     121 MERCURY DRIVE                                                                               ELYRIA           OH     44035
CLARA D DRESLINSKI                                26840 LA MUERA ST                                                                               FARMINGTON HILLS MI     48334‐4614

CLARA D GRAY                                      19831 SAXTON AVE                                                                                SOUTHFIELD        MI    48075‐7331
CLARA E HILL                                      472 YOUNGS MILL LN                     APT D                                                    NEWPORT NEWS      VA    23602‐9017
CLARA E PARRENT                                   811 E MUNGER RD                                                                                 MUNGER            MI    48747‐9741
CLARA E SIEBERT                                   811 N FOSTER                                                                                    LANSING           MI    48912‐4307
CLARA E SIMON                                     4236 CENTURY                                                                                    DORR              MI    49323‐9578
CLARA E SKATULER                                  13 TERN COURT                          CECILWOODS                                               ELKTON            MD    21921‐4610
CLARA E SKATULER                                  13 TERN COURT                          CECILWOODS                                               ELKTON            MD    21921‐4610
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32          Exhibit E
                                                                                          Part 1 of 8 Pg 803 of 850
Name                                               Address1                                Address2             Address3               Address4          City           State Zip

CLARA E SOLOKO TR SOLOKO FAMILY TRUST UA           51518 ROAD 426                                                                                        OAKHURST       CA    93644
06/04/99
CLARA E STADLER CUST CYNTHIA JOAN STADLER UGMA     337 WEST FIRST STREET                                                                                 MINDEN         NE    68959‐1507
NE
CLARA E STADLER CUST JOHN ROBERT STADLER UGMA      337 WEST FIRST STREET                                                                                 MINDEN         NE    68959‐1507
NE
CLARA E STRICKLAND                                 1148 OAKWOOD DRIVE                                                                                    JENISON        MI    49428‐8326
CLARA E STUTZMAN                                   5271 CARROLLTON                                                                                       INDIANAPOLIS   IN    46220‐3116
CLARA E WATSON                                     15 SEQUDYAH VIEW CT                                                                                   OAKLAND        CA    94605‐4904
CLARA E WHEATLEY                                   1627 MILWAUKEE AVE                                                                                    S MILWAUKEE    WI    53172‐1801
CLARA E WHITE                                      PO BOX 5533                                                                                           LIMA           OH    45802‐5533
CLARA ELENA HERNANDEZ                              19744 NW 59 AVENUE                                                                                    MIAMI          FL    33015‐4851
CLARA ELIZABETH WHITE & JANELLE ANN DELAY JT TEN   3085 N GENESEE RD #326                                                                                FLINT          MI    48506‐2194

CLARA ELIZABETH WILEY                           115 BAKER RD                                                                                             GRANTSVILLE    MD    21536‐3024
CLARA ELLEN BOSWELL & WILMER WILLIAM BOSWELL JT 1929 S FULTON AVE                                                                                        TULSA          OK    74112‐6931
TEN
CLARA F BURNETT                                 9721 SO CLAREMONT                                                                                        CHICAGO        IL    60643‐1716
CLARA F EATON TR CLARA F EATON REVOCABLE TRUST 120 AURORA RD                                                                                             VENICE         FL    34293‐2601
UA 01/21/99
CLARA F WAITS                                   62 UNION ST                                                                                              SABINA         OH    45169‐1051
CLARA G BEARD                                   6612 CONVENT BLVD                          APT 142                                                       SYLVANIA       OH    43560‐2887
CLARA G HICKS                                   221 MAIN ST                                                                                              THERESA        NY    13691‐2001
CLARA G LINK                                    13 CLINTON DR                                                                                            UNIONTOWN      PA    15401‐5209
CLARA GENE SCHUMACHER                           70 VALLEY LANE                                                                                           HASTINGS       MN    55033‐3332
CLARA GILGAN                                    12540 CLARK MANOR CIR                                                                                    SAINT LOUIS    MO    63141‐6379
CLARA GLEMBOCKI & RAYMOND T GLEMBOCKI JT TEN 911 SADDLEBACK CRT                                                                                          MC LEAN        VA    22102

CLARA GLEMBOCKI & RICHARD Z GLEMBOCKI TEN COM 911 SADDLEBACK CRT                                                                                         MC LEAN        VA    22102

CLARA GODFREY                                      33433 SCHOENHERR RD APT 311                                                                           STERLING HTS   MI    48312‐6367
CLARA H WOLFE                                      8889 SLAGLE ROAD                                                                                      CENTERVILLE    OH    45458‐2644
CLARA HARPER                                       18203 INDIANA                                                                                         DETROIT        MI    48221‐2023
CLARA HILLOCK COCHRAN                              PO BOX 236                                                                                            PALM HARBOR    FL    34682‐0236
CLARA HILLOCK COCHRAN & MICHAEL D COCHRAN JT       PO BOX 236                                                                                            PALM HARBOR    FL    34682‐0236
TEN
CLARA I DECLUTE TR CLARA I DECLUTE TRUST UA        5995 ORMOND ROAD                                                                                      WHITE LAKE     MI    48383
04/29/96
CLARA IAFRATE & EILEEN IAFRATE JT TEN              46512 MARINER                                                                                         MACOMB         MI    48042
CLARA J CASADY & PATRICK E CASADY JT TEN           607 THEO AVENUE                                                                                       LANCING        MI    48917‐2652
CLARA J HAYNES                                     1088 N STEWART RD                                                                                     MANSFIELD      OH    44905‐1550
CLARA J JOHNSON                                    20300 FORT ST APT 253                                                                                 RIVERVIEW      MI    48192‐4598
CLARA J KIRYCHUK                                   3 HILL PARK LANE                        ST CATHARINES ON                            L2N 1C5 CANADA
CLARA J LYONS                                      1875 LONDONCREST DR                                                                                   GROVE CITY     OH    43123‐3799
CLARA J VASICEK                                    4103 WOOD AVE                                                                                         PARMA          OH    44134‐2339
CLARA JANE CALDWELL & JOHN CALDWELL JT TEN         815 43RD ST                                                                                           ROCK ISLAND    IL    61201‐2227

CLARA JEAN MARROW & DONALD K MARROW JT TEN         P O BOX 542                                                                                           MEDINA         WA    98039

CLARA JEAN SMITH                                 224 HEATHER POINT DRIVE                                                                                 LAKELAND       FL    33809
CLARA JILL SMITH                                 2800 HALIFAX CT                                                                                         COLUMBUS       OH    43232‐5334
CLARA K FERGUSON TR UA 10/12/92 CLARA K          45069 DANBURY RD                                                                                        CANTON         MI    48188‐1054
FERGUSON
CLARA K MC GUIRE                                 ATTN MARIANNE CARROLL                     APT 211              6551 ANNIE OAKLEY DR                     HENDERSON      NV    89014‐2182
CLARA K PUMMELL                                  4305 MCNAUL RD                                                                                          MANSFIELD      OH    44903‐9764
CLARA KARFUNKEL                                  C/O AM STOCK TRANSFER                     6201 15TH AVE                                                 BROOKLYN       NY    11219‐5441
CLARA L BUERKER TR ROBERT B BUERKER FAMILY TRUST 39 S CASEVILLE RD PO BOX 854                                                                            PIGEON         MI    48755‐0854
UA 05/25/00
CLARA L CARR                                     7716 BAYSHORE DR                                                                                        ELBERTA        AL    36530‐5603
                                               09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 804 of 850
Name                                             Address1                            Address2             Address3          Address4          City             State Zip

CLARA L DUKES                                    1257 TIMBERLANE DR                                                                           LIMA             OH    45805‐3630
CLARA L FOSHEE                                   5021 PADDOCK CLUB CT APT M                                                                   MONTGOMERY       AL    36116‐4279
CLARA L HAND & WILLIAM D HAND JT TEN             211 W RIVERSIDE DR                                                                           MARKED TREE      AR    72365‐2014
CLARA L KRUMRIE                                  1253 BOICHOT RD                                                                              LANSING          MI    48906‐5908
CLARA L LADD LAMAR                               3665 THE CEDARS                                                                              MOBILE           AL    36608‐1446
CLARA L MASSMAN & JAY E MASSMAN JT TEN           6515 VIA DEL CERRITO                                                                         RANCHO MURIETA   CA    95683‐9213

CLARA L PACE                                     C/O C L CONIGLIO                    2107 S KENILWORTH                                        BERWYN           IL    60402‐1661
CLARA L RUTTKOFSKY                               4619 WYMAN RD                                                                                TIPTON           MI    49287‐9717
CLARA L VILLANUEVA                               31726 VIA BELARDES                                                                           SAN JUAN CAPO    CA    92675
CLARA L WITTMANN                                 C/O MRS CLARA LOUISE DUNBAR         1271 GONZAGA COURT                                       LIVERMORE        CA    94550‐4919
CLARA LAMBROS PURDY & JOHN D PURDY JT TEN        11 CRESTON AVENUE                                                                            TENAFLY          NJ    07670‐2905
CLARA LEE M WHITT                                2058 SR 506                                                                                  MARION           KY    42064‐8045
CLARA M BREWER                                   3058 KETZLER                                                                                 FLINT            MI    48507‐1222
CLARA M CETTA                                    23 DRAKE ST                                                                                  MALVERNE         NY    11565‐1504
CLARA M CHURN                                    14200 RIVERVIEW STREET                                                                       DETROIT          MI    48223
CLARA M GREASON                                  34348 GIANNETTI DR                                                                           STERLING HTS     MI    48312
CLARA M JEFFRIES                                 PO BOX 1923                                                                                  YOUNGSTOWN       OH    44506‐0023
CLARA M LODI TR LODI FAMILY TRUST UA 8/12/94     PO BOX 133                                                                                   FRANKLIN         MA    02038‐0133

CLARA M MAZIASZ & DONALD M MAZIASZ JT TEN        POST OFFICE BOX 17771                                                                        CLEARWATER       FL    33762‐0771
CLARA M PLAMER & G TODD PALMER JT TEN            4442 HICKMAN RD                                                                              GREENWOOD        DE    19950
CLARA M RODRIGUEZ                                10109 E 83 TERR                                                                              RAYTOWN          MO    64138‐3410
CLARA M SAGLIO                                   FERN ST                                                                                      GLASTONBURY      CT    06033
CLARA M SAMPSON                                  40 PINE TREE DRIVE                                                                           BROOMALL         PA    19008‐2739
CLARA M SMITH MULBERRY                           116 TIMBERWOOD DR                                                                            CRITTENDEN       KY    41030‐7326
CLARA M WHITACRE                                 1788 ATKINSON DRIVE                                                                          XENIA            OH    45385‐4947
CLARA M WHITE                                    165 EAST CRESTWOOD RD                                                                        TYRONE           GA    30290‐2413
CLARA M WHITE & RONALD D WALLACE JT TEN          7824 LAKE ST                                                                                 FORESTVILLE      MI    48434
CLARA M WISEMAN                                  5114 WASHINGTON BL                                                                           INDIANAPOLIS     IN    46205‐1045
CLARA MARIE BOWMAN                               27 DONAT DR                                                                                  PERU             IN    46970‐1050
CLARA MARIE HUFF                                 E 2671 PHYLANE ROAD                                                                          LONE ROCK        WI    53556
CLARA MARTIN                                     3700 WALDON RD                                                                               LAKE ORION       MI    48360‐1628
CLARA MARTIN & HEIDI MARTIN JT TEN               830 EAST 237 ST                                                                              EUCLID           OH    44123‐2502
CLARA MAYERS                                     1420 BEVERLY POINT RD                                                                        LEESBURG         FL    34748‐3506
CLARA MORALDI                                    3715 HOLLOW ROAD                                                                             NEW CASTLE       PA    16101‐6513
CLARA MOUDRY                                     212 SPRUCE DR                                                                                APPLE VALLEY     MN    55124‐9332
CLARA MOUSETTE                                   96 POPLAR ST                                                                                 CHICOPEE         MA    01013‐1442
CLARA N CORSO & JOHN CORSO JT TEN                3601 SHARON RD                                                                               MIDLAND          MI    48642‐3837
CLARA N RADICK                                   401 DELAWARE AVE                                                                             WILMINGTON       DE    19804
CLARA O BERKLEY                                  501 CAIRNS ST                                                                                TECUMSEH         MI    49286‐1662
CLARA O SEMBACH                                  241 ELIZABETH ST                                                                             NEWTON FALLS     OH    44444‐1058
CLARA P SOONG                                    70 ADAMS DRIVE                                                                               BELLE MEAD       NJ    08502‐4616
CLARA R BAILEY                                   1925 OAKRIDGE DR                                                                             DAYTON           OH    45417‐2341
CLARA R BREWER & JANET L SIERSMA JT TEN          138 BULLIT CIRCLE                                                                            ARDMORE          AL    35739
CLARA R DAVIS                                    247 EAST LEATHERWOOD DR                                                                      WALLAND          TN    37886‐2508
CLARA R KANER                                    4625 MINNETONKA BLVD APT 203                                                                 ST LOUIS PARK    MN    55416‐5420
CLARA R REDRICK                                  2521 ALLISTER CIR                                                                            MIAMISBURG       OH    45342‐5850
CLARA R REIBEL                                   5499 SOUTH RT 45                                                                             BRISTOLVILLE     OH    44402‐9601
CLARA R WADDELL                                  BOX 134                                                                                      LUTSEN           MN    55612
CLARA RAUCH                                      3935 LE SAGE STREET                                                                          LYNWOOD          CA    90262‐2823
CLARA RHOADES                                    331‐41ST STREET SW                                                                           WYOMING          MI    49548‐3009
CLARA ROSENBERG                                  1122 AVENUE N                                                                                BROOKLYN         NY    11230‐5806
CLARA RUTH SNIPPEN                               2920 17TH AVE S                                                                              MOORHEAD         MN    56560‐3914
CLARA S ANDRUS REVOCABLE LIVING TRUST            UA 01/19/2009                       6453 DALTON DR                                           FLUSHING         MI    48433
CLARA S CUNNINGHAM                               10824 FEDORA AVE                                                                             LA PLATA         MO    63549
CLARA S MARSHALL                                 2702 S E HICKLIN CT                                                                          TROUTDALE        OR    97060‐2444
CLARA S TAYLOR                                   1015 JOHN GREEN SMITH RD                                                                     KINSTON          NC    28504‐7031
CLARA SEAMAN                                     PO BOX 47                                                                                    RONCO            PA    15476‐0047
                                            09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 805 of 850
Name                                              Address1                               Address2             Address3          Address4          City              State Zip

CLARA SHEVCHINSKI                              2315 MARCOLA ROAD                                                                                  SPRINGFIELD       OR    97477‐2565
CLARA SMITH                                    3057 DEASE DR                                                                                      REX               GA    30273‐1088
CLARA SNOW                                     200 HUNTER RIDGE LN                                                                                PELL CITY         AL    35128‐7279
CLARA STOVER                                   1310 TIMBERWOOD CIR                                                                                ANDERSON          IN    46012
CLARA T LEGGETT                                3263 DEBORAH DR                                                                                    MONROE            LA    71201‐2157
CLARA T SCHLEGEL                               1231 EIGHTH STREET                                                                                 HUNTINGTON        WV    25701‐3405
CLARA T STALLS                                 BOX 456                                                                                            DEPORT            TX    75435‐0456
CLARA T WILSON                                 3263 DEBORAH DR                                                                                    MONROE            LA    71201‐2157
CLARA TACCA                                    6 KNOWLS FARM LN                                                                                   NEW MILFORD       CT    06776‐3726
CLARA TUTHILL                                  4508 ALVAH'S LN                                                                                    CUTCHOGUE         NY    11935‐1238
CLARA W FREEMAN                                1238 DOUGLAS DRIVE                                                                                 RAYMOND           MS    39154‐8798
CLARA WHITESIDE MC CRIMAGER                    3809 EASTWAY RD                                                                                    CLEVELAND         OH    44118‐2309
CLARA WILLIAMS                                 2902 GLADSTONE AVE                                                                                 INDINAPOLIS       IN    46218‐3041
CLARA WOJTANOWSKI                              622 CHESAPEAKE CT                                                                                  HERMITAGE         PA    16148‐3794
CLARA Y FABER                                  235 JOSHUA DR                                                                                      BROOKFIELD        OH    44403‐9619
CLARABELLE GUNNING TR CLARABELLE GUNNING TRUST 672 TRAMWAY DR                                                                                     MILPITAS          CA    95035
UA 12/02/98
CLARABELLE M PARKER                            4734 LYTLE ROAD                                                                                    CORUNNA           MI    48817‐9593
CLARANCE R PINES                               269 COUNTRY MEADOW DR                                                                              MANSFIELD         TX    76063‐5911
CLARANCE TIPTON                                466 S EIGHTH ST                                                                                    MIAMISBURG        OH    45342‐3306
CLARANN R MOORES                               9632 E MALLARD DR                                                                                  ROCKVILLE         IN    47872‐7958
CLARE A KINGSLEY & EDNA L KINGSLEY JT TEN      185 LAFAYETTE                                                                                      MT CLEMENS        MI    48043‐1516
CLARE A LENIHAN                                95 CHARLES AVE                                                                                     MASS PK           NY    11762‐2530
CLARE A SHOEMAKER                              10838 EAST C D AVENUE                                                                              RICHLAND          MI    49083‐9336
CLARE ANN RUTH                                 1736 RENOIR DR                                                                                     O'FALLON          MO    63366‐6964
CLARE ANN SCHULTHEIS                           3317 NATCHEZ LANE                                                                                  LOUISVILLE        KY    40206‐3029
CLARE ANNE NIELSEN                             3674 BIG FOX RD PL                                                                                 SAINT PAUL        MN    55110‐4101
CLARE ANNELIN                                  104 MALTON ROAD APT 4                                                                              NEGAUNEE          MI    49866‐2000
CLARE B BEEBE & BARBARA S BOARDMAN JT TEN      RFD #1 BOX 440                                                                                     SWANTON           VT    05488‐9718
CLARE BLOSSOM WEBB                             PO BOX 623                                                                                         EPHRAIM           WI    54211‐0623
CLARE C CANEDY                                 6429 PLEASANT RIVER DR                                                                             DIMONDALE         MI    48821‐9707
CLARE C MC VETY JR                             5200 LATIMER                                                                                       WEST BLOOMFIELD   MI    48324‐1441

CLARE CAMERON HALE                                437 8TH                                                                                         LINCOLN           IL    62656‐2561
CLARE D ST JOHN                                   736 ODA ST                                                                                      DAVISON           MI    48423‐1024
CLARE D ST JOHN & MRS MARY ANN ST JOHN JT TEN     736 ODA ST                                                                                      DAVISON           MI    48423‐1024

CLARE D WRIGHT                                    172 VICTORIA DR                        CENTRALIA ON                           N0M 1K0 CANADA
CLARE E BRENNON & SADIE M BRENNON JT TEN          8131 DOGWOOD VILLA DR                                                                           GERMANTOWN        TN    38138‐4130
CLARE E DECATOR                                   PO BOX 568                                                                                      LAKE              MI    48632‐0568
CLARE E HATFIELD CUST RACHEL A HATFIELD UGMA MI   212 BROOKSIDE DR                                                                                FLUSHING          MI    48433‐2602

CLARE EATON                                       3347 50TH ST                                                                                    GRINNELL         IA     50112‐8360
CLARE EUGENE BRECKENRIDGE                         360 S STATE RD                                                                                  OTISVILLE        MI     48463‐9444
CLARE F BETHUY                                    38208 NORTH JULIAN                                                                              CLINTON TOWNSHIP MI     48036‐2139

CLARE F BETHUY & MARILYN J BETHUY JT TEN         38208 N JULIAN DRIVE                                                                             MT CLEMENS        MI    48036‐2139
CLARE F SAGE                                     873 KENILWORTH AVENUE                                                                            PONTIAC           MI    48340‐3105
CLARE F SCHMIDT TR CLARE F SCHMIDT LIVING TRUST  20215 DUNHAM RD                                                                                  CLINTON TWP       MI    48038‐1473
UA 08/17/98
CLARE H JENNINGS                                 5146 BERNICE AVE                                                                                 CHICAGO           IL    60641‐2632
CLARE H KIRSHMAN JR                              9392 FAUSSETT RD                                                                                 FENTON            MI    48430‐9325
CLARE H KIRSHMAN JR & GRETCHEN E KIRSHMAN JT TEN 9392 FAUSSETT ROAD                                                                               FENTON            MI    48430‐9325

CLARE H MERCER                                    1544 KINNEY DR                                                                                  ESSEXVILLE        MI    48732‐1910
CLARE IGNATIA SHARP EXC EST JOHN K SHARP          C/O J C SHARP ESQ                      668 WILLIS AVE                                           WILLISTON PK      NY    11596
CLARE J ANDERSON                                  6791 DOLLAR COURT                                                                               KALAMAZOO         MI    49009‐8316
CLARE J GARABEDIAN                                2 CHRISTMAS TREE LANE                                                                           NORTH GRAFTON     MA    01536‐1616
CLARE J HOGAN                                     207 POINT O WOODS DR                                                                            PORTAGE           MI    49002‐7179
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 806 of 850
Name                                             Address1                             Address2             Address3          Address4               City              State Zip

CLARE J SCHENK                                   3590 W SAGINAW                                                                                     VASSAR            MI    48768‐9523
CLARE KLINGER                                    1576 OCEAN AVE                                                                                     BROOKLYN          NY    11230‐4588
CLARE KOWDYN                                     16397 RONNIE LANE                                                                                  LIVONIA           MI    48154‐2249
CLARE L BARTLE & WILMA J BARTLE JT TEN           6610 BAILEY RD                                                                                     BROWN CITY        MI    48416‐8653
CLARE L DESMOND                                  3965 HARVARD ROAD                                                                                  DETROIT           MI    48224‐2341
CLARE L NESBITT                                  4079 ANN CT                                                                                        DORR              MI    49323‐9416
CLARE LORRAINE HERSHMAN                          9 ABERDEEN ROAD                      LONDON                                 N5 2UG GREAT BRITAIN
CLARE M HOPKINS                                  951 LIBERTY AVE                      APT 304                                                       PITTSBURGH     PA       15222‐3768
CLARE M MORRIS                                   13100 AVENIDA SANTA TECLA            UNIT A                                                        LA MIRADA      CA       90638‐6305
CLARE M OBRIEN                                   BOX 827                                                                                            NORTH FALMOUTH MA       02556‐0827

CLARE M SLOTMAN                               6280 BURLINGAME SW                                                                                    BYRON CENTER      MI    49315‐9406
CLARE M WHITMAN                               4407 N STATE RD                                                                                       DAVISON           MI    48423‐8538
CLARE MAE BUTT                                4229 SOUTH RIDGEWOOD LANE                                                                             GREENFIELD        WI    53221‐1095
CLARE MC GINTY CANNON                         1279 PRIZER ROAD                                                                                      POTTSTOWN         PA    19465‐8911
CLARE MONTAGUE HOWARD                         2400 CPUNTY ROUTE 27                                                                                  HUDSON            NY    12534
CLARE NORDMAN                                 454 VIRGINIA TERR                                                                                     MADISON           WI    53705‐5346
CLARE NUSS GEFKE                              5521 N LYDELL AVE                                                                                     GLENDALE          WI    53217‐5042
CLARE OCONNOR MURPHY & ARNOLD J MURPHY JT TEN 25 COUTU ST                                                                                           FRANKLIN          MA    02038‐2423

CLARE P CLARK                                    105 FOREST GLEN DR                                                                                 MIDDLETOWN        OH    45042‐3703
CLARE PERFITT                                    4556 NIPGON DR                                                                                     GLADWIN           MI    48624‐9472
CLARE R MCPHERSON JR                             3644 WIEMAN RD                                                                                     BEAVERTON         MI    48612‐8865
CLARE REMMETT & MARGARET CARVILE JT TEN          304 CHERRY STREET                                                                                  DUNMORE           PA    18512‐3023
CLARE S ANDRUS & ANN MARIE ANDRUS JT TEN         6453 DALTON DR                                                                                     FLUSHING          MI    48433‐2332
CLARE S CONZELMAN CUST JAMES G CONZELMAN III     3113 BRONSON ROAD                                                                                  FAIRFIELD         CT    06824
UGMA CT
CLARE S JANIS                                    5551 PILOTS PL                                                                                     NEW PORT RICHEY   FL    34652‐3058

CLARE SELLERS                                    2135 BROOKHURST AVE                                                                                COLUMBUS          OH    43229‐1585
CLARE T CUSACK                                   310 EXMORE AVE                                                                                     WILMINGTON        DE    19805‐2322
CLARE T GASSLER TR PETER M GASSLER TRUST UA      2710 LANDO DR                                                                                      WILMINGTON        DE    19810‐2245
05/30/97
CLARE T SENDEK                                   31646 GREEN MEADOW                                                                                 WARREN            MI    48093‐5508
CLARE VESTAL HEIDISH                             174 E GILMORE AVE                                                                                  TRAFFORD          PA    15085‐1535
CLARE W BRADLEY                                  4388 LAKE SHORE DRIVE                                                                              BLACK RIVER       MI    48721‐9703
CLARE W ROSE                                     3811 BRIGGS ROAD                                                                                   OTTER LAKE        MI    48464‐9734
CLARE WESSLING WAGNER ANDERSON                   11754 WEST ZERO ROAD                                                                               CASPER            WY    82604‐9540
CLAREEN A KROLIK                                 130 ROHRER DR                                                                                      DOWNERS GROVE     IL    60516‐4402
CLARENCE A ABSHIER                               PO BOX 5027                                                                                        PROT ARTHUR       TX    77640‐0027
CLARENCE A BARRETT                               PO BOX 314                                                                                         S YARMOUTH        MA    02664‐0314
CLARENCE A BOLLMAN & TONIA OBERRY JT TEN         300 E MILLER RD                                                                                    LANSING           MI    48911‐5641
CLARENCE A BRUCE                                 32 SPRING BRANCH RD                                                                                TROY              MO    63379‐5417
CLARENCE A BURRIDGE JR                           628 MILLER                                                                                         ROCHESTER         MI    48307‐2226
CLARENCE A BUSHEY                                303 WEST AVE                                                                                       NEWARK            NY    14513‐1443
CLARENCE A CHANEY                                PO BOX 155                                                                                         IMLAY CITY        MI    48444‐0155
CLARENCE A ELDER                                 30 PINE RIDGE ROAD                                                                                 BAY CITY          MI    48706‐1845
CLARENCE A FELL                                  3824 HUNTERS RIDGE                                                                                 PRESCOTT          MI    48756‐9542
CLARENCE A GILREATH                              2606 OLD COQUINA RD                                                                                CONWAY            SC    29526‐7675
CLARENCE A GOLIGHTLY                             1071 W WHITTEMORE                                                                                  FLINT             MI    48507‐3641
CLARENCE A GRIMES                                342 BOEHNING ST                                                                                    INDIANAPOLIS      IN    46219
CLARENCE A HARPER                                24 PALMER                                                                                          KENMORE           NY    14217‐1910
CLARENCE A HERBERT                               164 W COULTER ST                     #3                                                            PHILADELPHIA      PA    19144‐3407
CLARENCE A HILL JR                               1322 MERRIE RIDGE RD                                                                               MCLEAN            VA    22101‐1827
CLARENCE A HINCHY                                9009 POOR MOUNTAIN RD                                                                              BENT MOUNTAIN     VA    24059‐2365
CLARENCE A KEILHACKER                            1099 STABLE LN                                                                                     SOUTH LYON        MI    48178‐0857
CLARENCE A MC CLOUD JR                           20483 ROSELAWN                                                                                     DETROIT           MI    48221‐1165
CLARENCE A MOREFIELD & DOROTHEA R MOREFIELD JT   734 MASTERPIECE DR                                                                                 SUN CITY CENTER   FL    33573‐6588
TEN
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 807 of 850
Name                                              Address1                              Address2               Address3        Address4          City            State Zip

CLARENCE A MOSLEY                                 2516 HOLTZ ROAD                                                                                SHELBY          OH    44875‐9337
CLARENCE A SCHARER                                5409 DURWOOD DR                                                                                SWARTZ CREEK    MI    48473‐1166
CLARENCE A SNYDER TR CLARENCE SNYDER REVOCABLE    7029 GILROY CT                                                                                 SPRING ARBOR    MI    49283‐9662
TRUST UA 05/28/92
CLARENCE A SPENCER                                65 GARDEN ST                                                                                   HYDE PARK       NY    12538‐1109
CLARENCE A STEWART II                             46 THOMAS PL                                                                                   NEW ROCHELLE    NY    10801‐2408
CLARENCE A STRATMAN & JANICE CLAIRE STRATMAN JT   16195 NW 130TH TER                                                                             PLATTE CITY     MO    64079‐7214
TEN
CLARENCE A WASHINGTON                             PO BOX 8332                                                                                    FREDERICKBURG   VA    22404‐8332
CLARENCE A WINGO & PAMELA J VLAHAKIS JT TEN       205 WOODLAND FOREST                                                                            WINFIELD        WV    25213‐9607

CLARENCE A ZACHER                                 ATTN CLARENCE ZACHER                  1100 SURREY HILLS DR                                     RICHMOND        MO    63117‐1440
                                                                                                                                                 HEIGHTS
CLARENCE A ZACHER TR UA 05/14/2008 C A ZACHER     1100 SURREY HILLS DR                                                                           SAINT LOUIS     MO    63117
TRUST
CLARENCE ADAMS                                    1544 TURNPIKE RD                                                                               DARLINGTON      SC    29532‐7521
CLARENCE ALBERT MILLER                            PO BOX 265                                                                                     ESSEX           MO    63846‐0265
CLARENCE ALEXANDER CLOUSE                         6051 W LONE CACTUS DR                                                                          GLENDALE        AZ    85308‐6265
CLARENCE ALLEN                                    22544 FARGO                                                                                    DETROIT         MI    48219‐1114
CLARENCE ANDREW GEORGE                            77 WEST 55TH ST                       APT 6A                                                   NEW YORK        NY    10019‐4921
CLARENCE ARNOLD JR & GAIL G ARNOLD JT TEN         501 CONCORD DR                                                                                 WHITE LAKE      MI    48386‐4361
CLARENCE B BREGG                                  2027 GLEN FORGE ST                                                                             BRANDON         FL    33511‐2109
CLARENCE B HARMEYER                               2149 SUNMAN RD                                                                                 BATESVILLE      IN    47006‐9320
CLARENCE B LOWE                                   5730 LONE PINE RD                                                                              RHODESDALE      MD    21659‐1209
CLARENCE B MCCOWAN                                1727 SUTTON AVE APT 3                                                                          CINCINNATI      OH    45230‐1842
CLARENCE B PAYNE                                  6890 SKEENAH GAP RD                                                                            BLAIRSVILLE     GA    30512‐5216
CLARENCE B RICHARDSON III                         888 S DIAMOND MILL RD                                                                          NEW LEBANON     OH    45345‐9150
CLARENCE B STEVENSON                              7349 BELLAMY RD NORTHWEST             PO BOX 52                                                LONGWOOD        NC    28452‐0052
CLARENCE B STURGILL                               720 BURNTWOOD DRIVE                                                                            DAYTON          OH    45430‐1655
CLARENCE B WYLAND                                 14591 SE 87TH TERRACE RO                                                                       SUMMERFIELD     FL    34491‐3408
CLARENCE BAKER                                    177 LORETTA ST                                                                                 EAST CHINA      MI    48054‐4127
CLARENCE BALDWIN                                  2009 ECKLEY AVE                                                                                FLINT           MI    48503‐4591
CLARENCE BANKS                                    630 HOLYROOD WAY                                                                               ALPHARETTA      GA    30022‐5213
CLARENCE BARRETT                                  545 MEAD ST SE                                                                                 ATLANTA         GA    30315‐2024
CLARENCE BEAL                                     13257 HWY 15                                                                                   PARIS           MO    65275‐2762
CLARENCE BEECHAM                                  4450 WOODSMILL DR NE                                                                           CEDAR RAPIDS    IA    52411‐6764
CLARENCE BERRY JR                                 6206 SALLY CT                                                                                  FLINT           MI    48505‐2527
CLARENCE BLACK                                    304 S NEWKIRK ST                                                                               BALTIMORE       MD    21224‐2631
CLARENCE BLANTON                                  16 ROSE GATE DRIVE                                                                             ATLANTA         GA    30342‐4159
CLARENCE BONEBRAKE                                C/O CATHERINE BNEBRAKE                425 SOUTH AURORA                                         COLLINSVILLE    IL    62234‐2814
CLARENCE BOWERS TR UA 09/08/93 THE CLARENCE       552 N CAROLYN DR                                                                               CHOCTAW         OK    73020‐7403
BOWERS LIVING TRUST
CLARENCE BRITZ                                    1529 LONDON                                                                                    LINCOLN PARK    MI    48146‐3521
CLARENCE BRYANT                                   30 NORTHRUP PLACE                                                                              BUFFALO         NY    14214‐1308
CLARENCE BUTTS                                    5643 OLIVE                                                                                     KANSAS CITY     MO    64130‐3506
CLARENCE C ARNOLD                                 126 LARK LANE                                                                                  BATES CITY      MO    64011‐8235
CLARENCE C BLEVINS                                20524 N BEDFORD RD                                                                             BATTLE CREEK    MI    49017‐8869
CLARENCE C CASSIDY                                336 DECCA DRIVE                                                                                WHITE LAKE      MI    48386‐2121
CLARENCE C HOOKS                                  5088 BONNIE BRAE                                                                               INDIANAPOLIS    IN    46228‐3034
CLARENCE C KATHMANN & CLARE R KATHMANN JT TEN     3081 CAMEO LANE                                                                                CINCINNATI      OH    45239‐5201

CLARENCE C ROUDEBUSH                              10804 KINGNUT DR                                                                               HARRISON        OH    45030‐1765
CLARENCE C TOLK                                   3706 TAM OSHANTER                                                                              MESQUITE        TX    75150‐1027
CLARENCE C YOUKER                                 12312 N JENNINGS RD                                                                            CLIO            MI    48420‐8245
CLARENCE CALDWELL                                 1069 TAHOE TRL                                                                                 FLINT           MI    48532‐3567
CLARENCE CALEB MORGAN                             1407 CHADMORE LN NW                                                                            CONCORD         NC    28027‐9083
CLARENCE CAMPBELL CUST ROBERT JOHN CAMPBELL       12 7TH AVENUE SE                                                                               LE MARS         IA    51031‐3722
UGMA IA
CLARENCE CARL SELIN                               C/O JOSEPH DIAZ                       14115 STONEGATE DR                                       TAMPA           FL    33624‐2508
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 808 of 850
Name                                              Address1                                Address2             Address3          Address4          City               State Zip

CLARENCE CARPENTER                                6482 WAYWIND DR                                                                                  TROTWOOD           OH    45426‐1114
CLARENCE CARTER                                   1318 N MAE TERRACE                                                                               MUSTANG            OK    73064‐4816
CLARENCE CHRIS STARK                              2895 HICKORYWOOD DRIVE                                                                           TROY               OH    45373‐4516
CLARENCE CONSTANTIN BAYSDELL                      8092 ADAIR RD                                                                                    RICHMOND           MI    48064‐1402
CLARENCE D AMES                                   122 DORNOCH ST                                                                                   CORTLAND           OH    44410‐8731
CLARENCE D ANDERSON                               23555 MARTINSVILLE ROAD                                                                          BELLEVILLE         MI    48111‐9126
CLARENCE D ATWATER                                2225 COLLEGE DR                         APT 88                                                   BATON ROUGE        LA    70808‐1871
CLARENCE D BERRY                                  4032 FOX                                                                                         INKSTER            MI    48141‐2723
CLARENCE D BOKS                                   2218 NINE MILE RD                       KAWAKAWLIN                                               KAWKAWLIN          MI    48631
CLARENCE D BOYD                                   1410 MOREWOOD DRIVE                                                                              POWHATAN           VA    23139‐7127
CLARENCE D BOYER                                  5579 ST HWY H                                                                                    DESOTO             MO    63020‐9113
CLARENCE D BUNNELL                                9369 HILDA LANE                                                                                  FLUSHING           MI    48433‐9736
CLARENCE D COOPER                                 PO BOX 1053                                                                                      PRUDENVILLE        MI    48651‐1053
CLARENCE D FLEMING JR                             PO BOX 328                                                                                       POCOMOKE CITY      MD    21851‐0328
CLARENCE D HARMON                                 5948 LIEBERMAN DRIVE                                                                             COVINGTON          KY    41015‐2341
CLARENCE D JACKSON                                7625 SYBIL                                                                                       SAGINAW            MI    48609‐4969
CLARENCE D OPPERMAN                               2045 N OAK RD                           BOX 440                                                  DAVISON            MI    48423‐0440
CLARENCE D PALMER                                 9151 MERRIMAC RD                                                                                 MANCELONA          MI    49659‐9348
CLARENCE D PENDLEY                                8472 MCCANDLISH                                                                                  GRAND BLANC        MI    48439‐7422
CLARENCE D PIERCE                                 1205 MECHELLE DR                                                                                 ST CLAIR           MO    63077‐1625
CLARENCE D RULE                                   20 SONET LN                                                                                      COLDWATER          MI    49036‐1076
CLARENCE D SHERMAN                                9411 JENNINGS RD                                                                                 GRAND BLANC        MI    48439‐9360
CLARENCE D STEELE                                 125 LOMBARD RD                                                                                   OXFORD             PA    19363‐2267
CLARENCE D STEELE & MARY N STEELE JT TEN          125 LOMBARD RD                                                                                   OXFORD             PA    19363‐2267
CLARENCE D WHEAT                                  4564 MESSING ROAD                                                                                VALLEY SPRINGS     CA    95252‐8945
CLARENCE D WINEMAN                                119 MILL ST                                                                                      OTISVILLE          MI    48463‐9489
CLARENCE DANIELS                                  19740 MITCHELL ST                                                                                DETROIT            MI    48234
CLARENCE DE VRIES JR                              11239 84TH AVE                                                                                   WEST OLIVE         MI    49460‐9640
CLARENCE DENARD                                   14005 ARCHDALE ST                                                                                DETROIT            MI    48227‐1363
CLARENCE DISON JR                                 5385 S DIXIE HWY                                                                                 FRANKLIN           OH    45005‐5343
CLARENCE DOBBS                                    1926 W THERLOW DR                                                                                MARION             IN    46952‐2306
CLARENCE DORRIS                                   512 W COLLEGE ST                                                                                 GREENBRIER         TN    37073‐5242
CLARENCE E ALVUT                                  504 NORTH ST                                                                                     BATAVIA            NY    14020‐1704
CLARENCE E ANDRADE JR TR UA 07/01/97 CLARENCE E   1800 WAIANUENUE AVE                                                                              HILO               HI    96720
ANDRADE TRUST
CLARENCE E AUKERMAN                               414 LINCOLN ST                                                                                   EATON              OH    45320‐1869
CLARENCE E BANTA                                  5962 W 1000 N                                                                                    FRANKTON           IN    46044‐9318
CLARENCE E BARNETT                                7127 BUCKINGHAM                                                                                  ALLEN PARK         MI    48101‐2229
CLARENCE E BATES JR                               2695 S PAINTED MESA TR                                                                           COTTONWOOD         AZ    86326
CLARENCE E BERNIER                                2825 MARIETTA                                                                                    WATERFORD          MI    48329‐3448
CLARENCE E BESSEY                                 1330 S MCARDLE RD                                                                                TAWAS CITY         MI    48763‐9100
CLARENCE E BOLLING                                156 NO BROADWAY                                                                                  YONKERS            NY    10701‐2706
CLARENCE E BOYER JR & MRS IRENE M BOYER JT TEN    335 SUNSET DR                                                                                    FLUSHING           MI    48433‐2153

CLARENCE E BROWN                                  PO BOX 318                                                                                       SALEM              NJ    08079‐0318
CLARENCE E BROWN                                  4241 NE KELSEY ROAD                                                                              KANSAS CITY        MO    64116
CLARENCE E BUDD                                   518 PARK LN                                                                                      BROOKLYN           MI    49230‐9031
CLARENCE E BURNETT                                5276 E COUNTY RD 550 N                                                                           PITTSBORO          IN    46167‐9385
CLARENCE E BURNETT & JOYCE J BURNETT JT TEN       5276E COUNTY RD 550N                                                                             PITTSBORO          IN    46167‐9385
CLARENCE E BUTLER                                 22674 N KANE ST                                                                                  DETROIT            MI    48223‐2560
CLARENCE E CALES                                  7485 GILLETTE RD                                                                                 FLUSHING           MI    48433‐9242
CLARENCE E DAVIS                                  502 HAVERHILL ST                                                                                 PITTSBURGH         PA    15221‐1400
CLARENCE E DEAL                                   PO BOX 561                                                                                       TALLAPOOSA         GA    30176‐0561
CLARENCE E DETROYER                               22115 WHITEHALL CT                                                                               WOODHAVEN          MI    48183‐3236
CLARENCE E DOOLIN                                 2692 FM 36 SO                                                                                    CADDO MILLS        TX    75135‐6420
CLARENCE E DUPUIS                                 10909 JOHNSTON                                                                                   SAINT HELEN        MI    48656‐9609
CLARENCE E ECKERT                                 36900 SKYLINE DR                                                                                 WILLOUGHBY HILLS   OH    44094‐9185

CLARENCE E ELICK JR                               721 TOWNE CENTER DR                                                                              JOPPA              MD    21085
                                                 09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                           Part 1 of 8 Pg 809 of 850
Name                                                Address1                                Address2               Address3        Address4          City             State Zip

CLARENCE E FAIRCHILD                                4225 SHORTSVILLE ROAD                                                                            SHORTSVILLE      NY    14548‐9759
CLARENCE E FAIRCHILD & JEAN C FAIRCHILD JT TEN      4225 SHORTSVILLE ROAD                                                                            SHORTSVILLE      NY    14548‐9759

CLARENCE E FEEMSTER                                 8212 PEPPERIDGE COURT                                                                            RALEIGH          NC    27615‐3025
CLARENCE E FLOYD                                    801 OLD ANNAPOLIS RD                                                                             SEVERA PARK      MD    21146
CLARENCE E GARDNER                                  APT 1448                                22595 NOTTINGHAM LN                                      SOUTHFIELD       MI    48034‐3323
CLARENCE E GRUSE                                    10334 BLUESTEM CT                                                                                NOBLESVILLE      IN    46060‐8393
CLARENCE E HAIDERER                                 300 KENNELY RD                          APT 140                                                  SAGINAW          MI    48609‐7703
CLARENCE E HEAD                                     10203 GRAHAM                                                                                     CLARKSTON        MI    48348‐2425
CLARENCE E HEATHCO                                  8439 W OHIO                                                                                      INDIANAPOLIS     IN    46234‐2641
CLARENCE E HINES                                    301 N OLIVER ST                                                                                  CHARLOTTE        MI    48813‐1585
CLARENCE E HUGHES                                   PO BOX 504                                                                                       RENSSELAER       NY    12144‐0504
CLARENCE E KELLY                                    42 KEER AVENUE                                                                                   NEWARK           NJ    07112‐2308
CLARENCE E KOONCE                                   1542 KINGSWAY RD                                                                                 BALTIMORE        MD    21218‐1610
CLARENCE E KRANER & MRS THELMA G KRANER JT TEN      1765 SANDY FORK CIRCLE                                                                           MOUNDVILLE       AL    35474‐2243

CLARENCE E KUHLMAN TR CLARENCE E KUHLMAN            7705 ROHRER DR                                                                                   DOWNERS GROVE    IL    60516‐4415
TRUST UA 01/24/97
CLARENCE E KWIATKOWSKI                              66700 CAMPGROUND RD                                                                              WASHINGTON       MI    48095‐1827
CLARENCE E LAWRENCE                                 1322 BATAAN DR                                                                                   BROADVIEW        IL    60155‐3114
CLARENCE E LE VAN EX CLARENCE E LEVAN FAMILY        227 EAST AMAPAMU STREET 221                                                                      SANTA BARBARA    CA    93101
TRUST UA 12/10/03
CLARENCE E MARSHALL JR                              625 SPRUCE ST                                                                                    FLORENCE         NJ    08518‐2419
CLARENCE E MC COY & MRS KATHERINE M MC COY JT       3402 LAPEER RD                                                                                   FLINT            MI    48503‐4454
TEN
CLARENCE E MCCOY                                    3402 LAPEER ST                                                                                   FLINT            MI    48503‐4454
CLARENCE E MCMILLION JR                             5409 KINGS WAY                                                                                   GLADWIN          MI    48624‐8212
CLARENCE E MILLEN                                   C/O MARIAN MILLEN                       483 ROCK BEACH RD                                        ROCHESTER        NY    14617‐1330
CLARENCE E MONFORT JR                               2692 CATAWBA DRIVE                                                                               KENNESAW         GA    30152‐6019
CLARENCE E NEALY                                    PO BOX 28244                                                                                     PROVIDENCE       RI    02908‐0244
CLARENCE E PARKS                                    1656 EARLHAM DR                                                                                  DAYTON           OH    45406‐4611
CLARENCE E PAULEY                                   954 POPLAR ST                           ST ALBANS                                                SAINT ALBANS     WV    25177
CLARENCE E PICKHINKE                                82481 HWY 15                                                                                     HOWELLS          NE    68641‐4110
CLARENCE E POLITTE & MRS DARLENE R POLITTE JT TEN   1306 SPRINGHURST                                                                                 FLORISSANT       MO    63031‐2433

CLARENCE E RAY                                      C/O RAQUEL RAY                          6649 SAN ANSELMO WAY                                     SAN JOSE         CA    95119‐1747
CLARENCE E RIDDLE                                   866 FAIRWAY DR                                                                                   ALLIANCE         OH    44601‐5103
CLARENCE E ROCKCOLE                                 747 E MANSFIELD                                                                                  PONTIAC          MI    48340‐2951
CLARENCE E ROTH                                     5407 CARLINGFORT DR                                                                              TOLEDO           OH    43623‐1523
CLARENCE E RYAN                                     7496 SIR LORDS LANE                                                                              HAZELWOOD        MO    63042‐1441
CLARENCE E SALISBURY                                3551 FLORETTA                                                                                    CLARKSTON        MI    48346‐4017
CLARENCE E SALISBURY & PEGGY L SALISBURY JT TEN     3551 FLORETTA                                                                                    CLARKSTON        MI    48346‐4017

CLARENCE E SISK                                     110 S HOCKADAY RD                                                                                GLADWIN          MI    48624‐8413
CLARENCE E SNYDER                                   3063 KERRY ST                                                                                    MT MORRIS        MI    48458‐8210
CLARENCE E SPELL JR                                 2104 WILLIAMS VENEER CT                                                                          MT PLEASANT      SC    29466‐8021
CLARENCE E STRAYHORN                                1944 EMERALD GLEN CT NE                                                                          ADA              MI    49301‐9694
CLARENCE E TURNER                                   5374 JOHNSON ROAD                                                                                FLUSHING         MI    48433‐1143
CLARENCE E VALLEY                                   25948 FAIRVIEW AV                                                                                HEMET            CA    92544‐5392
CLARENCE E WAGONER                                  1009 OWENS ROAD                                                                                  MARTINSVILLE     VA    24112‐2237
CLARENCE E WASHINGTON                               4661 JOSLYN ROAD                                                                                 ORION            MI    48359‐2235
CLARENCE E WELSH                                    541 S HEMLOCK RD                                                                                 HEMLOCK          MI    48626
CLARENCE E WENTZEL                                  5161 WILLOWBEND TRAIL                                                                            KALAMAZOO        MI    49009‐9593
CLARENCE E WILSON & RACHEL WILSON JT TEN            4732 KINGSLEY DR                                                                                 INDIANAPOLIS     IN    46205‐2128
CLARENCE E WINDSOR                                  1478 OLIVESBURG RD                                                                               MANSFIELD        OH    44905‐1319
CLARENCE E WISE                                     4332 TERRACE LN                                                                                  KENTWOOD         MI    49512‐5602
CLARENCE E YATES                                    2388 PROVIDENCE BLVD                                                                             CUYAHOGA FALLS   OH    44221‐3647
CLARENCE ECKRIDGE                                   521 SHERMAN ST                                                                                   BUFFALO          NY    14211‐3160
CLARENCE EDWARD KONDON                              3058 CLAYWARD DR                                                                                 FLINT            MI    48506‐2025
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 810 of 850
Name                                              Address1                              Address2             Address3          Address4          City             State Zip

CLARENCE EUGENE HEATON                            PO BOX 524                                                                                     NASHVILLE        MI    49073‐0524
CLARENCE EUGENE WARREN                            PO BOX 306                                                                                     SELIGMAN         AZ    86337‐0541
CLARENCE EVANS & RUTH EVANS & ORVILLE EVANS JT    5500 N MUELLER                                                                                 BETHANY          OK    73008‐2142
TEN
CLARENCE EWING                                    19134 PIHEHURST                                                                                DETROIT          MI    48221‐3222
CLARENCE F ENGLE & MRS CONSTANCE A ENGLE JT TEN   13701 LE RENTE DRIVE                                                                           LOUISVILLE       KY    40299‐8429

CLARENCE F HAISLIP                                1436 S 42ND ST                                                                                 KANSAS CITY      KS    66106‐1952
CLARENCE F KENNEDY                                7631 BRAY RD                                                                                   VASSAR           MI    48768
CLARENCE F KLUESNER                               4570 CHIPPEWA HIGHWAY                                                                          MANISTEE         MI    49660‐9747
CLARENCE F ROBINSON                               R D 3 BOX 231                                                                                  SMITHFIELD       PA    15478‐8732
CLARENCE F SCHLEY & GLORIA H SCHLEY JT TEN        39057 GREENWOOD LN                                                                             ABERDEEN         SD    57404
CLARENCE F SCHMUKE                                2840 ELK PEAK CT                                                                               ST LOUIS         MO    63129‐5706
CLARENCE F SCHREADER JR                           2126 VERMONT                                                                                   SAGINAW          MI    48602‐1933
CLARENCE F WILLIAMS                               690 BAY RD                                                                                     BAY CITY         MI    48706‐1933
CLARENCE F WORTH JR                               2540 THOMPSON DRIVE                                                                            BOWLING GREEN    KY    42104‐4375
CLARENCE FERRIS                                   7443 HOLLYHOCK LANE                                                                            MANITOU BEACH    MI    49253‐9672
CLARENCE FREEMAN                                  BOX 22331                                                                                      NASHVILLE        TN    37202‐2331
CLARENCE FULLER                                   440 W 24TH ST                         APT 16EF                                                 NEW YORK         NY    10011‐1372
CLARENCE G ATZENHOFFER JR                         1801 E LOMA VISTA                                                                              VICTORIA         TX    77901‐4219
CLARENCE G EZZARD JR                              3043 JUNE APPLE DR                                                                             DECATUR          GA    30034‐4533
CLARENCE G FUNK TR CLARENCE G & GLORIA A FUNK     2602 MAYWOOD CT                                                                                GRAYSLAKE        IL    60030‐9336
TRUST UA 10/07/03
CLARENCE G HEIM                                   3551 KELSEY LN                                                                                 N TONAWANDA       NY   14120‐3614
CLARENCE G KEMP                                   7307 BLUE SKIES DR                                                                             SPRING HILL       FL   34606‐7255
CLARENCE G LANG & MELISSA M LANG JT TEN           801 ASHBURY WAY                                                                                OTTAWA            IL   61350‐9025
CLARENCE G MERCER                                 430 SHERWOOD CT                                                                                HOLLY             MI   48442‐1228
CLARENCE G PETERS                                 8499 E M 71 35                                                                                 DURAND            MI   48429‐1005
CLARENCE G SCHULTE                                PO BOX 55703                                                                                   NORTH POLE        AK   99705‐5703
CLARENCE G STAPLES                                18622 FENMORE                                                                                  DETROIT           MI   48235‐3064
CLARENCE GRAY                                     28935 MC DONALD                                                                                WESTLAND          MI   48186‐5112
CLARENCE GREEAR                                   11429 TERRY                                                                                    DETROIT           MI   48227‐2478
CLARENCE H BENZ                                   2601 BRIMMERBROOK                                                                              WELLSVILLE        NY   14895
CLARENCE H BROWN                                  5231 W WILSON ROAD                                                                             CLIO              MI   48420‐9450
CLARENCE H BROWN                                  2039 GARDEN CT                                                                                 YPSILANTI         MI   48198‐9214
CLARENCE H CONNERLY & MARY W CONNERLY JT TEN      5205 HAMPTON RD                                                                                NORTH LITTLE ROCK AR   72116‐6889

CLARENCE H CRAIGMYLE & ANNA SUE CRAIGMYLE JT     2401 S HWY 53                                                                                   LAGRANGE         KY    40031‐8567
TEN
CLARENCE H HAYS & VERNA HAYS & JEANNETTE         22 GREEN SPRINGS COURT                                                                          SAINT CHARLES    MO    63304‐6911
BRIDWELL JT TEN
CLARENCE H HAYS VERNA HAYS & JEANNETTE BRIDWELL 22 GREEN SPRINGS COURT                                                                           SAINT CHARLES    MO    63304‐6911
JT TEN
CLARENCE H HEWETT                                3486 HILDON CIRCLE                                                                              CHAMBLEE         GA    30341‐2605
CLARENCE H HUNTER                                111 BEL ARBOR DR                                                                                CARRBORO         NC    27510‐1285
CLARENCE H JOHNSON                               3986 EAST 123 STREET                                                                            CLEVELAND        OH    44105‐4502
CLARENCE H LANE                                  PO BOX 14624                                                                                    OAKLAND          CA    94614‐2624
CLARENCE H MIDDLETON JR                          10725 REDFIELD DR                                                                               AMELIA CT HSE    VA    23002‐3832
CLARENCE H O'NEAL                                920 RED CARROUSEL CT                                                                            N LAS VEGAS      NV    89031‐7257
CLARENCE H PAQUETTE JR & MRS HELEN L PAQUETTE JT 4901 EDGE ROCK DRIVE                                                                            CHANTILLY        VA    20151
TEN
CLARENCE H PHILLIPS                              7186 NATIONAL ROAD                                                                              BROOKVILLE       OH    45309‐9217
CLARENCE H PRATT JR                              3622 S 12TH ST                         APT 1                                                    PHOENIX          AZ    85040‐1225
CLARENCE H RAMM JR CUST CURT D RAMM UGMA IL      32058 W COUNTY LINE RD                                                                          GIRARD           IL    62640‐6702

CLARENCE H RAMM JR CUST SCOT A RAMM UGMA IL       13491 KERRY LN                                                                                 EDEN PRAIRIE     MN    55346‐3150

CLARENCE H SODDY                                  1234 BOYNTON COURT                                                                             JANESVILLE       WI    53545‐1928
CLARENCE H SPOTTS                                 6951 YORK RD                          APT 117                                                  CLEVELAND        OH    44130‐4560
                                             09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 811 of 850
Name                                             Address1                             Address2             Address3          Address4          City              State Zip

CLARENCE H SPRAGUE                               1217 STOCKER AVE                                                                              FLINT             MI    48503‐3245
CLARENCE H STRANGE JR                            4149 RAYMOND DRIVE                                                                            BRUNSWICK         OH    44212‐3935
CLARENCE H STRANGE JR & BETTY J STRANGE JT TEN   4149 RAYMOND DRIVE                                                                            BRUNSWICK         OH    44212‐3935

CLARENCE H THRASH                                115 SOUTHWIND BAY DRIVE                                                                       SENECA            SC    29672‐6878
CLARENCE H WHITEAKER                             5295 PHIFER MTN RD                                                                            COOKVILLE         TN    38506‐6948
CLARENCE H WILES                                 1128 ARROWHEAD RDG                                                                            INDEPENDENCE      MO    64056‐1180
CLARENCE HALL                                    6230 JOHN CHAPMAN                                                                             SAN ANTONIO       TX    78240
CLARENCE HALL                                    2689 LIBERTY VALLEY RD                                                                        LEWISBURG         TN    37091‐7073
CLARENCE HALL JR                                 6230 JOHN CHAPMAN                                                                             SAN ANTONIO       TX    78240
CLARENCE HAMILTON                                3110 OAKBRIDGE E BL                  APT 279                                                  LAKELAND          FL    33803‐5987
CLARENCE HAMILTON                                3307 MCEVER PARK CIR                                                                          ACWORTH           GA    30101‐6651
CLARENCE HAMILTON                                9515 W MORGAN AVE                                                                             MILWAUKEE         WI    53228‐1424
CLARENCE HARDT & ELLEN HARDT JT TEN              296 LAKEVIEW DRIVE                                                                            RIDGEWOOD         NJ    07450‐4013
CLARENCE HAYES JR                                8432 E JEFFERSON                     APT 312B                                                 DETROIT           MI    48214
CLARENCE HICKS                                   823 LINDEN AVE                       APT 106                                                  LONG BEACH        CA    90813
CLARENCE HOLLIDAY                                2547 E HOLLAND                                                                                SAGINAW           MI    48601‐2232
CLARENCE HUFF                                    4698 GALAXY LANE                                                                              CINCINNATI        OH    45244‐1306
CLARENCE HUGO PATRIE                             2890 SAVONA DR                                                                                SPARKS            NV    89434‐2295
CLARENCE I DAVIS                                 1585 STRATDFORD CT                                                                            YPSILANTI         MI    48198‐3246
CLARENCE INGRAM JR                               411 FOREST ST                                                                                 BUFORD            GA    30518‐2921
CLARENCE IVERY                                   2193 HARDING                                                                                  DETROIT           MI    48214‐3126
CLARENCE J B MERKEL & EVA R MERKEL JT TEN        6008 DEERWOOD DRIVE                                                                           ST LOUIS          MO    63123‐2710
CLARENCE J BAUER                                 183 CABLE ST                                                                                  KENMORE           NY    14223‐2029
CLARENCE J BLEWITT                               905 CHIMNEYS LN 504                                                                           ALBEMARLE         NC    28001
CLARENCE J BROOKER                               6673 POPLAR CREEK RD                                                                          OXFORD            NC    27565
CLARENCE J BUTCHER                               1613 WEST 8TH ST                                                                              WILMINGTON        DE    19805‐3152
CLARENCE J CALDWELL                              1128 BURNT LEAF LN                                                                            GRAND BLANC       MI    48439‐4970
CLARENCE J CALLAGHAN                             9225 FAUSSETT RD                                                                              FENTON            MI    48430‐9325
CLARENCE J CALLARD                               17250 FOUR SECTION                                                                            HOLLEY            NY    14470‐9750
CLARENCE J CHRISTIE                              4724 E GRESHAM HWY                                                                            POTTERVILLE       MI    48876‐9739
CLARENCE J COMEAU                                C/O ALENE COMEAU P O BOX 27          SAULNIERVILLE NS                       B0W 2Z0 CANADA
CLARENCE J GILBERT                               1376 WEST CASS AVENUE                                                                         FLINT             MI    48505‐1155
CLARENCE J HELM                                  3903 N 7 MILE RD                                                                              PINCONNING        MI    48650‐8704
CLARENCE J HITTLE                                11175 SEYMOUR RD                                                                              GAINES            MI    48436‐9757
CLARENCE J HOBBY                                 3071 SPENCE RD                                                                                NEW CARLISLE      OH    45344‐8119
CLARENCE J HOCHARD                               15286 LAKE ROAD 12                                                                            GARDNER           KS    66030‐9661
CLARENCE J HOLLAS                                3911 WOOSTER RD                                                                               ROCKY RIVER       OH    44116‐4070
CLARENCE J LATHAM JR                             325 SIRIS RD                                                                                  BENTON            KY    42025‐6353
CLARENCE J NEAR                                  4625 N HEMLOCK ROAD                                                                           HEMLOCK           MI    48626‐9659
CLARENCE J NORTON & FRANCES NORTON JT TEN        10 JANET DRIVE                                                                                MINE HILL DOVER   NJ    07801
CLARENCE J O'KELLEY & BETTY S O'KELLEY JT TEN    432 PLACER PLACE                                                                              WOODLAND          CA    95695‐5442
CLARENCE J PIETSZYK                              208 GROVE AVENUE                                                                              WINTER HAVEN      FL    33884‐2645
CLARENCE J PIMENTEL & BARBARA J PIMENTEL TR      41438 PELHAM CT                                                                               FREMONT           CA    94539‐4528
PIMENTEL TRUST UA 05/03/99
CLARENCE J POTTS                                 3430 WYATT RD                                                                                 STANDISH          MI    48658‐9122
CLARENCE J ROEDER                                61241 CORALBURST DR                                                                           WASHINGTON        MI    48094‐1746
CLARENCE J SAGE                                  563 N 800 W 27                                                                                CONVERSE          IN    46919‐9325
CLARENCE J SPURGIS                               5764 CRANE                                                                                    DETROIT           MI    48213‐2921
CLARENCE J TRACY                                 35 LOCHALSH LN                                                                                RIO GRANDE        NJ    08242‐1060
CLARENCE J WILLIAMS                              318 W 7TH ST                                                                                  MONROE            MI    48161‐1502
CLARENCE J YOUNG                                 364 FAIRLAWN AVE                                                                              MANSFIELD         OH    44903‐1906
CLARENCE JACKSON SR                              2664 RAMBLING WAY                                                                             BLOOMFIELD        MI    48302‐1040
CLARENCE JEROME PLAIN & MONICA JONES PLAIN TEN   431 WEST DR                          APT A                                                    BATON ROUGE       LA    70806‐5177
COM
CLARENCE JOHN FRANZEN                            G 7315 N LINDEN RD                                                                            MT MORRIS         MI    48458
CLARENCE JOHNSON                                 1929 MARY CATHERINE ST                                                                        YPSILANTI         MI    48198‐6246
CLARENCE JOHNSON JR                              14900 ARTESIAN AVE                                                                            HARVEY            IL    60426‐1306
CLARENCE JOHNSTON                                673 S MERIDIAN RD                                                                             HUDSON            MI    49247‐9334
                                           09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 812 of 850
Name                                           Address1                             Address2                Address3       Address4          City               State Zip

CLARENCE JUDSON DE LONG                        593 MAULDIN RD                                                                                SAUTE NACOCHE      GA    30571‐3164
CLARENCE K HESS & DOLORES J HESS JT TEN        2732 MAIN ST                         BX 67                                                    BEALLSVILLE        PA    15313‐0067
CLARENCE K HESS & DOLORES JEAN HESS JT TEN     PO BOX 67                                                                                     BEALLSVILLE        PA    15313‐0067
CLARENCE K PRECOOR                             924 DEER VALLEY DR                   OSHAWA ON                              L1J 8N8 CANADA
CLARENCE KING                                  822 NORWICH RD                                                                                VANDALIA           OH    45377‐1632
CLARENCE KLINGE                                6416 N MOE RD                                                                                 MIDDLEVILLE        MI    49333‐8244
CLARENCE KUBASINSKI & DIANE M KUBASINSKI TEN   4087 ROSEMARY DR                                                                              STERLING HEIGHTS   MI    48310‐4587
COM
CLARENCE L ARNOLD JR                           501 CONCORD DR                                                                                WHITE LAKE         MI    48386‐4361
CLARENCE L ARNOLD JR & GAIL GRAHAM ARNOLD JT   501 CONCORD DR                                                                                WHITE LAKE         MI    48386‐4361
TEN
CLARENCE L BOWERS                              804 S 8TH AVE                                                                                 LA GRANGE          IL    60525‐2949
CLARENCE L CALDWELL                            114 W PHILADELPHIA                                                                            DETROIT            MI    48202‐2045
CLARENCE L COAPLEN                             103 ARCADIA SPRINGS CIRCLE                                                                    COLUMBIA           SC    29206‐1328
CLARENCE L COULLARD                            604 SUN MANOR                                                                                 FLUSHING           MI    48433‐2152
CLARENCE L CURTIS                              209 W CHAPEL ST                                                                               DODGEVILLE         WI    53533‐1351
CLARENCE L DEWITT                              3070 REGAL DR                                                                                 MCDONOUGH          GA    30253‐8610
CLARENCE L DILLON                              1301 ROODS LAKE RD                                                                            LAPEER             MI    48446‐8361
CLARENCE L DOBBS                               18 JORNADA CIRCLE                                                                             HOT SPRING         AR    71909‐6028
                                                                                                                                             VILLAGE
CLARENCE L GADSON                              1951 W 95TH ST                                                                                LOS ANGELES        CA    90047‐3718
CLARENCE L HARDENBURG & KATHLEEN E HARDENBURG 6155 CAREY RD                                                                                  COMMERCE           MI    48382‐1225
JT TEN                                                                                                                                       TOWNSHIP
CLARENCE L HARRINGTON JR                       4477 EDGEMONT SW                                                                              WYOMING            MI    49509‐4215
CLARENCE L HOFFMAN                             5372 TULIP TREE CT                                                                            FLINT              MI    48532
CLARENCE L JUNE & GERALD JUNE JT TEN           13811 N MACKINAW HWY                                                                          MACKINAW           MI    49701‐9742
CLARENCE L KELLER                              3515 SUMMIT RD                                                                                RAVENNA            OH    44266‐3520
CLARENCE L LEICY                               3417 MABEE ROAD                                                                               MANSFIELD          OH    44903‐8953
CLARENCE L MATTHEWS                            5645 MONTILLY CIRCLE                                                                          COLLEGE PARK       GA    30349‐3803
CLARENCE L MC QUEEN                            17558 ANGLIN                                                                                  DETROIT            MI    48212‐4011
CLARENCE L MUESSIG                             2840 SE SHERIDAN RD                                                                           MAYSVILLE          MO    64469‐9037
CLARENCE L NORTON                              2308 LAKEWOOD LANE                                                                            CHESAPEAKE         VA    23321‐3621
CLARENCE L POMPEY                              25684 FRIAR LN                                                                                SOUTHFIELD         MI    48034‐2769
CLARENCE L SELL                                ROUTE 3                              4225 NEW WALKERTON RD                                    WINSTON SALEM      NC    27105‐8708
CLARENCE L SHEATS                              2032 TELEGRAPH ROAD                                                                           WILMINGTON         DE    19808‐5230
CLARENCE L SHORT                               208 W COMMERCE ST                                                                             LORETTO            TN    38469‐2139
CLARENCE L SNYDER & ELAINE B SNYDER JT TEN     BOX 428                                                                                       SHENANDOAH         IA    51601‐0428
CLARENCE L SPEROW                              136 PRAIRIE DRIVE                                                                             WESTMONT           IL    60559‐1090
CLARENCE L THOMAS                              1369 DOVER AVE                                                                                AKRON              OH    44320‐4040
CLARENCE L VOORHES                             2918 CYPRESS DRIVE                                                                            HARLINGEN          TX    78550‐2205
CLARENCE L WARDWELL                            PO BOX 663                                                                                    FARWELL            MI    48622‐0663
CLARENCE L WASHINGTON                          19151 SUNSET STREET                                                                           DETROIT            MI    48234‐2047
CLARENCE L WILLIAMS                            19373 MURRAY HILL                                                                             DETROIT            MI    48235‐2424
CLARENCE LANE MULLINS CUST CLARENCE LANE       818 COVERED BRIDGE WAY                                                                        FAIRBURN           GA    30213‐9610
MULLINS JR UTMA GA CT
CLARENCE LEE                                   5407 BURNS                                                                                    DETROIT            MI    48213‐2984
CLARENCE LEE                                   1268 RAHWAY AVENUE                                                                            AVENEL             NJ    07001‐2137
CLARENCE LEON ANDERSON                         PO BOX 3005                                                                                   FLINT              MI    48502‐0005
CLARENCE LEROY SMITH                           764 NEW TRAIL                                                                                 GLADWIN            MI    48624‐8048
CLARENCE M BARBER CUST ELIZABETH D BARBER UGMA 15127 EDGEWATER DRIVE                                                                         LAKEWOOD           OH    44107‐1257
OH
CLARENCE M BARRETT                             1986 W SPINNINGWHEEL                                                                          BLMFLD HILLS       MI    48013
CLARENCE M BIELAT & DAVID M BIELAT JT TEN      4332 MONTGOMERY RD                                                                            HILLSDALE          MI    49242‐9235
CLARENCE M BIELAT & DAVID M BIELAT JT TEN      4332 MONTGOMERY RD                                                                            HILLSDALE          MI    49242‐9235
CLARENCE M BURTON                              26733 CTY D                                                                                   RICHLAND CTR       WI    53581
CLARENCE M GILLINGS                            11342 WEST PARKWAY                                                                            DETROIT            MI    48239‐1360
CLARENCE M GREENE & MICHAEL F COLOMBO JT TEN   1206 PAGE ST                                                                                  SAN FRANCISCO      CA    94117‐3026

CLARENCE M JOHNSON                             7055 MERRICK LN                                                                               SPRING HILL        FL    34606‐5857
                                           09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 813 of 850
Name                                             Address1                               Address2                 Address3      Address4          City            State Zip

CLARENCE M LEWIS                                 2924 WYOMING AVE                                                                                FLINT           MI    48506‐2464
CLARENCE M MANN III                              5740 FOXFIELD DR                                                                                EVANSVILLE      IN    47715‐7069
CLARENCE M MITCHELL                              1447 RUSKIN RD                                                                                  DAYTON          OH    45406‐4652
CLARENCE M THOMPSON                              726 GLENWOOD AVENUE                                                                             BUFFALO         NY    14211‐1336
CLARENCE MALLETT                                 3369 TOM COLLINS RD                                                                             UTICA           MS    39175‐9351
CLARENCE MARSHALL                                6932 AGNES AVE                                                                                  KANSAS CITY     MO    64132‐1541
CLARENCE MC GEE                                  8841 W OUTER DR                                                                                 DETROIT         MI    48219‐3565
CLARENCE MCCLINTON                               5505 MARJA                                                                                      FLINT           MI    48505‐2596
CLARENCE MONDY                                   1437 HALL ST S E                                                                                GRAND RAPIDS    MI    49506‐3974
CLARENCE MOODY                                   271 TODD LEVEE RD                                                                               HUMBOLDT        TN    38343
CLARENCE MOORE                                   1819 CHELAN ST                                                                                  FLINT           MI    48503‐4307
CLARENCE MOULTON                                 PO BOX 1168                                                                                     ALTOONA         FL    32702
CLARENCE MYLES                                   2122 CHERRY                                                                                     SAGINAW         MI    48601‐2039
CLARENCE N BURGETT                               4999 STONEY RIDGE RD                                                                            N RIDGEVILLE    OH    44039‐1129
CLARENCE N DASH                                  3292 BELL WICK RD                                                                               HUBBARD         OH    44425‐1381
CLARENCE N FRY                                   3581 SCHOCK RD                                                                                  BEAVERTON       MI    48612‐9161
CLARENCE N OHASHI TR OHASHI RESIDUARY TRUST UA   4411 WESTLAWN AVE                                                                               LOS ANGELES     CA    90066‐6139
05/11/99
CLARENCE N RENWICK                               5331 DARBY RD                                                                                   SARANAC          MI   48881‐9697
CLARENCE N YAROSLASKI                            1007 W NORBERRY                                                                                 LANCASTER        CA   93534‐3313
CLARENCE NELSON                                  628 HARVEY ST                                                                                   PONTIAC          MI   48053
CLARENCE NIXON JR                                33589 CADILLAC ST                                                                               FARMINGTON HILLS MI   48335‐4733

CLARENCE O FONVILLE                              13878 HWY 63 S                         BOX 121                                                  VICHY           MO    65580‐7189
CLARENCE O KING III                              12438 TUSCORA                                                                                   CLEVELAND       OH    44108‐3869
CLARENCE O LOVE                                  2922 WACOS                                                                                      SAN ANTONIO     TX    78238‐4317
CLARENCE O SEELEY TR UA 11/01/93 CLARENCE O      4078 RICHFIELD RD                                                                               FLINT           MI    48506‐2009
SEELEY REV LIV TR
CLARENCE O SOMERS CUST ANDREA KARP UTMA CA       4133 QUIET MEADOW COURT                                                                         FAIR OAKS       CA    95628‐6667

CLARENCE O SOMERS CUST ANDREA LYNN PARKER        4133 QUIET MEADOW COURT                                                                         FAIR OAKS       CA    95628‐6667
UTMA CA
CLARENCE O SOMERS CUST BRANDON JOHN              4133 QUIET MEADOW COURT                                                                         FAIR OAKS       CA    95628‐6667
ALEXANDER UTMA CA
CLARENCE O SOMERS CUST SARAH KARP UTMA CA        4133 QUIET MEADOW COURT                                                                         FAIR OAKS       CA    95628‐6667
CLARENCE O SOMERS CUST TODD LOGAN GRAVES UTMA 4133 QUIET MEADOW COURT                                                                            FAIR OAKS       CA    95628‐6667
CA
CLARENCE O TAYLOR                                17433 ANGLIN ST                                                                                 HAMTRAMCK       MI    48212‐1003
CLARENCE ONEAL                                   10097 W LISBON AVE                                                                              MILWAUKEE       WI    53222‐2441
CLARENCE P GREEN                                 9127 WESTBROOK DR                                                                               OVERLAND PARK   KS    66214‐2133
CLARENCE P MEAGHER                               2248 S 380 E                                                                                    ANDERSON        IN    46017‐9727
CLARENCE P STIEBER                               16838 COUNTRY RIDGE LANE                                                                        MACOMB          MI    48044‐5209
CLARENCE PAUL BURKHART TR UA 04/01/09 CLARENCE 3111 BURT RD                                                                                      HILLSDALE       MI    49242
PAUL BURKHART TRUST
CLARENCE PHILLIP KOERBER                         1255 S BELSAY RD                                                                                FLINT           MI    48509‐1917
CLARENCE PRICE                                   C/O RHONDA LOSEY                       11405 WINDSOR DRIVE NE                                   SPARTA          MI    49345‐8518
CLARENCE PRICE                                   1123 MORRIS ST                                                                                  SAGINAW         MI    48601‐3459
CLARENCE PRUITT                                  176 W YALE                                                                                      PONTIAC         MI    48340‐1864
CLARENCE PURCELL                                 611 DIXIE AVE                                                                                   SALYERSVILLE    KY    41465‐9437
CLARENCE R ABNER                                 9110 SW 103 LANE                                                                                OCALA           FL    34481‐9543
CLARENCE R BOYKIN                                58 HIGHWOOD AVE                                                                                 ENGLEWOOD       NJ    07631‐1717
CLARENCE R CARNAHAN                              17206 HARRIS RD                                                                                 DEFIANCE        OH    43512‐8099
CLARENCE R CAVENDER                              720 ROBBINS AVE                                                                                 NILES           OH    44446‐2416
CLARENCE R FITZ TR FITZ LIVING TRUST UA 10/28/98 292 LAUREL AVE APT 1                                                                            ST PAUL         MN    55102‐2123

CLARENCE R GARDNER JR                            2948 BERTHIAUME DRIVE                                                                           BAY CITY        MI    48706‐1504
CLARENCE R GILCHRIST                             1142 GILPARK RD                                                                                 DENDRON         VA    23839‐2007
CLARENCE R GOLDMAN                               3412 PEPPERTREE CT                                                                              ARLINGTON       TX    76014‐3139
CLARENCE R HAMROCK                               2556 JEFFERSON DR                                                                               WEST MIFFLIN    PA    15122‐3526
                                             09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                          Part 1 of 8 Pg 814 of 850
Name                                               Address1                                Address2             Address3          Address4          City             State Zip

CLARENCE R HOLLIDAY                                610 BELLFLOWER WAY                                                                               HEMET            CA    92545
CLARENCE R JOHNSON                                 147 CARPENTER ST                                                                                 WEST BRANCH      MI    48661‐1111
CLARENCE R JONES                                   16557 S WINSOR LANE                                                                              LOCKPORT         IL    60441
CLARENCE R KELLERMAN                               424 OLIVE AVE N E                                                                                WARREN           OH    44483‐5012
CLARENCE R KRAUSE & LILLIAN KRAUSE JT TEN          242 SKY VIEW                                                                                     PETOSKEY         MI    49770‐9212
CLARENCE R MAPLES                                  420 ELBERON AVE                                                                                  CINCINNATI       OH    45205‐2211
CLARENCE R MARRISON                                12950 RENEE DR                                                                                   PERRY            MI    48872‐8122
CLARENCE R MATHEWS & LAURA M GHENT TR              8030 MILLSBORO RD                                                                                GALION           OH    44833‐9711
MATHEWS FAMILY TRUST UA 05/02/00
CLARENCE R MC CLINTON                              PO BOX 16156                                                                                     SHAWNEE          KS    66203‐6156
CLARENCE R MEDEIROS                                9763 PIONEER AVE                                                                                 OAKDALE          CA    95361‐9721
CLARENCE R MELENDY                                 34 RAVENNA RD                                                                                    MANCHESTER TW    NJ    08759‐6263
CLARENCE R MOECKEL                                 3815 VIEW ST                                                                                     NEWTOWN          OH    45244‐2422
CLARENCE R POWERS                                  303 RANCHO ST                                                                                    EATON RAPIDS     MI    48827‐1932
CLARENCE R ROBINSON                                701 VICTORIAN DRIVE                                                                              MIDDLETOWN       DE    19709‐9300
CLARENCE R ROCHELEAU                               1419 STRAITS HIGHWAY                    PO BOX 353                                               TOPINABEE        MI    49791‐0353
CLARENCE R VANNIEL JR                              5269 MAIN AVENUE                                                                                 N RIDGEVILLE     OH    44039‐2219
CLARENCE R WILSON JR                               360 REVEL LANE                                                                                   HENRY            TN    38231‐3501
CLARENCE REED JR                                   19101 EUCLID AVE                        APT 249                                                  EUCLID           OH    44117‐3341
CLARENCE REGINALD HAYWARD                          6246 SPRUCE STREET                                                                               PHILADELPHIA     PA    19139‐3742
CLARENCE RHODES                                    2 SLEEPER ST                                                                                     MIDDLEPORT       NY    14105
CLARENCE RICHARD KERNS                             PO BOX 33                                                                                        COSBY            TN    37722‐0033
CLARENCE ROBERT DEWITT                             BOX 602                                                                                          GALVESTON        IN    46932‐0602
CLARENCE ROJAS WAINER                              3855 ROBLAR RD                                                                                   PETALUMA         CA    94952‐9756
CLARENCE S BAKER                                   415 TEAKWOOD LANE                                                                                SPRINGBORO       OH    45066‐8714
CLARENCE S BOOM                                    742 LELAND ST                                                                                    FLINT            MI    48507‐2432
CLARENCE S CARTER & ELOISE A CARTER JT TEN         3473 OAKMAN BLVD                                                                                 DETROIT          MI    48204‐1212
CLARENCE S HENDRIX                                 2472 MIAMI BEACH DR                                                                              FLINT            MI    48507‐1058
CLARENCE S HOOPER                                  10030 BRAILE                                                                                     DETROIT          MI    48228‐1274
CLARENCE SANDERS                                   376 W ACORN ST                                                                                   GARDNER          KS    66030‐9228
CLARENCE SCHARF                                    365 STATE HIGHWAY 11C                                                                            WINTHROP         NY    13697‐3231
CLARENCE SHEPHERD                                  234 CANDLEWOOD DR                                                                                LAKE WALES       FL    33898‐4915
CLARENCE SIMES                                     1431 HUBERT TERRACE                                                                              TEANECK          NJ    07666‐6058
CLARENCE SNYDER & VIRGINIA J SNYDER JT TEN         38 MAVERICK RD                                                                                   WOODSTOCK        NY    12498‐1720
CLARENCE SPEARS JR                                 5915 E BELDING ROAD                                                                              BELDING          MI    48809‐8502
CLARENCE STEWART NUNN & IRMA J NUNN JT TEN         120 PROVIDENT PL                                                                                 DOUGLASVILLE     GA    30134‐6308

CLARENCE T FORESTER                                3040 CARDINAL LAKE DRI                                                                           DULUTH           GA    30096‐3938
CLARENCE T HARKNESS JR & HELEN Z HARKNESS JT TEN   10 HIGH MEADOW LANE                                                                              NEWARK           DE    19711‐2445

CLARENCE T HOLT                                    14101 NELSON CT                                                                                  BASEHOR          KS    66007‐5177
CLARENCE T MANNING                                 PO BOX 155                                                                                       WESTPHALIA       MI    48894‐0155
CLARENCE T MORRIS & LILLIE MORRIS & CRAIG C        26 VESTA ROAD                                                                                    DORCHESTER       MA    02124‐1609
MORRIS JT TEN
CLARENCE T SHIELDS                                 610 PROSPECT AVE                                                                                 JANESVILLE       WI    53545‐3131
CLARENCE T SPRINGER & CAROL ANN SPRINGER JT TEN    7436 LEDGEWOOD                                                                                   FENTON           MI    48430‐9224

CLARENCE T SPRINGER II                             7436 LEDGEWOOD DRIVE                                                                             FENTON           MI    48430‐9224
CLARENCE THOMAS GREEN                              123 BREEDEN LN                                                                                   OLIVER SPRINGS   TN    37840‐2241
CLARENCE TODD                                      16249 SUSSEX                                                                                     MARKHAM          IL    60428
CLARENCE TURNER                                    4131 TIMBER TRAIL DR                                                                             ARLINGTON        TX    76016‐4620
CLARENCE TURNER JR                                 5589 SCHIERING DR                                                                                FAIRFIELD        OH    45014
CLARENCE V BRACK                                   3086 HIGHLAND CENTER ROAD                                                                        BROOKVILLE       IN    47012‐9379
CLARENCE V LONGSTREET                              99 GROVE AVE                                                                                     WOODBRIDGE       NJ    07095‐3010
CLARENCE VAN SICKLE JR                             3258 RINGLE RD                                                                                   VASSAR           MI    48768‐9735
CLARENCE VINSON ELLIS                              3357 DENLINGER ROAD                                                                              DAYTON           OH    45406‐1116
CLARENCE VOLKMAN & RUTH VOLKMAN JT TEN             C/O JANICE C VOLKMAN                    302 POWELL ROAD                                          WYNNEWOOD        PA    19096‐1706
CLARENCE W BENTHAM                                 PO BOX 20302                                                                                     DAYTON           OH    45420‐0302
CLARENCE W BROWN                                   4616 TARA WAY                                                                                    TROTWOOD         OH    45426‐2127
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 815 of 850
Name                                           Address1                              Address2             Address3          Address4          City              State Zip

CLARENCE W CLARK JR                            32 COVESIDE LANE                                                                               STONINGTON        CT    06378‐2902
CLARENCE W CLOUSE                              373 WILDWOOD LANE                                                                              SPARTA            TN    38583‐3163
CLARENCE W COFFMAN                             608 CIELO VISTA DR                                                                             GREENWOOD         IN    46143‐1713
CLARENCE W CRAWLEY                             1159 ROY SELLERS RD                                                                            COLUMBIA          TN    38401‐8886
CLARENCE W CURRY                               1822 COLLINGWOOD AVE SW                                                                        WYOMING           MI    49519
CLARENCE W DANLEY JR                           847 CARMEL RD                                                                                  MILLVILLE         NJ    08332‐9756
CLARENCE W DOAN & DWIGHT W DOAN & MARY M       1825 COLUMBUS AVE                                                                              BAY CITY          MI    48708‐6873
SPENCER JT TEN
CLARENCE W ESTES                               7313 JANEAN DRIVE                                                                              BROWNSBURG        IN    46112‐8589
CLARENCE W FETROW                              2449 WEST DR                                                                                   TAWAS CITY        MI    48763‐9432
CLARENCE W GARRISON                            1102 E CHANDLER                                                                                SHAWNEE           OK    74801‐5312
CLARENCE W HACKNEY                             52 PERRY ST                                                                                    LAMBERTVILLE      NJ    08530‐1639
CLARENCE W HAGERMAN JR                         36 AUDREY PLACE                                                                                DOVER             NJ    07801‐4844
CLARENCE W HAMILTON                            3302 TRINITY RD                                                                                LOUISVILLE        KY    40206‐3058
CLARENCE W HAWKINS                             300 W NORTH AVENUE APT 908                                                                     CHICAGO           IL    60610‐1273
CLARENCE W HICKS                               4200 N BAILEY BRIDGE RD                                                                        MIDLOTHIAN        VA    23112‐2920
CLARENCE W HUNNICUTT                           R R 3 BOX 279                                                                                  ELWOOD            IN    46036‐9803
CLARENCE W KELLER                              2841 NACOMA PLACE                                                                              KETTERING         OH    45420‐3840
CLARENCE W LUEHRS                              4316 PARKLAWN DR                                                                               DAYTON            OH    45440‐1543
CLARENCE W MARCKS                              19544 TELBIR AVE                                                                               ROCKY RIVER       OH    44116‐2622
CLARENCE W MAY & CAROL J MAY JT TEN            1177 POPLAR LOG PL                                                                             AUSTELL           GA    30168‐5903
CLARENCE W MC VEA                              5 MAPLEWOOD DR                                                                                 PARSIPPANY        NJ    07054‐1420
CLARENCE W MC VEA & MARGARET S MC VEA JT TEN   5 MAPLEWOOD DR                                                                                 PARSIPPANY        NJ    07054‐1420

CLARENCE W MEYER JR                            2136 MANCHESTER DR                                                                             SAGINAW           MI    48609‐9219
CLARENCE W MILLER                              21521 NORTHLANE AVE                                                                            BEDFORD           OH    44146‐5435
CLARENCE W MULL JR                             1637 GLORIA                                                                                    WESTLAND          MI    48186‐8926
CLARENCE W NICHOLS                             480 FAIRFIELD DRIVE                                                                            JACKSON           MS    39206‐2609
CLARENCE W POEL                                433 FULTON ST                                                                                  GRAND HAVEN       MI    49417‐1233
CLARENCE W POEL & DORIS R POEL JT TEN          433 FULTON                                                                                     GRAND HAVEN       MI    49417‐1233
CLARENCE W REIBER III                          2466 SOUTH BRANDON ST                                                                          WESTLAND          MI    48186‐3935
CLARENCE W SCHUTT                              BOX 88                                                                                         GANADO            TX    77962‐0088
CLARENCE W STANFIELD                           2956 SHAFOR BLVD                                                                               KETTERING         OH    45419‐1632
CLARENCE W TISKE                               301 MAIN ST 44N                                                                                O FALLON          IL    62269‐1802
CLARENCE W TOWNSEND                            58 HUBBARDSTON PLACE                                                                           AMHERST           NY    14228‐2833
CLARENCE WADSWORTH                             4413 OREGON STREET                                                                             PERRY             OH    44081‐9507
CLARENCE WALLS                                 1518 WYOMING WY                                                                                MADISON           WI    53704‐1838
CLARENCE WARREN                                5735 WARRENSHIRE DR                                                                            WEST BLOOMFIELD   MI    48322‐1538

CLARENCE WILLIAMS                              3688 E 110 ST                                                                                  CLEVELAND         OH    44105‐2468
CLARENCE WINIECKE                              3675 ROLLIN HILL CT                                                                            OSCODA            MI    48750‐8802
CLARENCE WOLSZON                               4386 W WHEELER                                                                                 STANDISH          MI    48658‐9226
CLARENCE Y URIU                                1537 DOMINION AV                                                                               SUNNYVALE         CA    94087‐4025
CLARENCE YOUNGS JR                             2431 DETERT ST                                                                                 LIVERMORE         CA    94550
CLARENE FRELEIGH                               212 LA PLAZA CT                                                                                ROYAL OAK         MI    48073‐4086
CLARENE V PASCHAL & JAMES ROYAL PASCHAL &      2793 CHICKADEE                                                                                 ROCHESTER HILLS   MI    48309‐3433
LYNNETTE M GRABLE JT TEN
CLARETHA A VINEGAR                             105 CARR                                                                                       PONTIAC           MI    48342‐1768
CLARETHA W BOOKER                              3807 LOGANS FERRY RD                  APT A5                                                   PITTSBURGH        PA    15239‐2978
CLARETTA HAZEL                                 PO BOX 9701                                                                                    NEWARK            NJ    07104‐0701
CLARETTA SRONCE                                RR 1 BOX 160C                         C/O MADISON SRONCE                                       PLAINVIEW         IL    62685‐9801
CLARIBEL E ANTHONY                             2524 S 92ND ST                                                                                 MILWAUKEE         WI    53227‐2312
CLARIBEL S EASTON                              70 FRANKLIN ST                                                                                 DANSVILLE         NY    14437‐1010
CLARICE A BAKER                                27037 BRETTONWOOD                                                                              MADISON HEIGHTS   MI    48071‐3207

CLARICE BOCKSERMAN TR CLARICE BOCKSERMAN       54 MORWOOD LN                                                                                  CREVE COEUR       MO    63141‐7621
REVOCABLE TRUST UA 07/09/97
CLARICE BOGGERTY                               20100 MONTEVISTA                                                                               DETROIT           MI    48221‐1054
CLARICE C MACKOON                              467 NEW ENGLAND TER                   #2                                                       ORANGE            NJ    07050‐2314
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 816 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

CLARICE D PENNY                                    476 HARMONY LN                                                                                 CAMPBELL          OH    44405‐1213
CLARICE E WALSH                                    4201 RIVERSIDE DR                                                                              SAULT S MARIE     MI    49783‐9540
CLARICE E WOLF CUST JAMES D WOLF A MINOR U/THE     4004 HILLINGHAM CT                                                                             CHADDS FORD       PA    19317‐9255
LAWS OF GEORGIA
CLARICE F BOWEN                                    619 HALDEMAN AVE                                                                               DAYTON           OH     45404
CLARICE G MADEJ                                    6157 EVERGREEN                        APT 2                                                    DEARBORN HEIGHTS MI     48127‐2748

CLARICE H ADAMS TOD LISA A CHISLETT SUBJECT TO STA 205 PARKLAND DR                                                                                DANVILLE          VA    24540‐2311
TOD RULES
CLARICE H BOND                                     PO BOX 1981                                                                                    DALTON            GA    30722‐1981
CLARICE H BOND & JAMES A BOND TR RESIDUARY TRUST PO BOX 1981                                                                                      DALTON            GA    30722‐1981
U‐W JOHN L BOND
CLARICE J DRAPER                                   25 PARK PLACE                                                                                  GREAT NECK        NY    11021‐5015
CLARICE J O'CONNOR                                 489 IVANHOE CT                                                                                 SAN JOSE          CA    95136‐2924
CLARICE J TILLERAAS                                PO BOX 191                                                                                     MAHNOMEN          MN    56557‐0191
CLARICE JACKSON                                    3413 POWHATAN AVE #1                                                                           BALTIMORE         MD    21216‐1843
CLARICE LUCILLE SEDLARIK                           13073 N BRAY RD                                                                                CLIO              MI    48420‐9111
CLARICE M MOORE                                    2450 SHERIDAN                                                                                  DETROIT           MI    48214‐1723
CLARICE R FOERSTER                                 2103 HYDE PARK DR                                                                              ASHEVILLE         NC    28806‐4820
CLARICE R GROSS                                    6140 INDEPENDENCE ST                                                                           ARVADA            CO    80004‐5376
CLARICE T SIMON                                    7370 VILLAMUER RD                                                                              W BLOOMFIELD      MI    48322‐3305
CLARICE ULVEN                                      234 EAST ROELLER                                                                               ST PAUL           MN    55118‐1559
CLARIE K SMITH                                     2954 BETSY WAY                                                                                 SAN JOSE          CA    95133‐2009
CLARIN D DAVIS                                     467 SAND GAP RD                                                                                TENNSBORO         WV    26415‐3047
CLARINE HEFFNER                                    1500 PEACHCREST DRIVE                                                                          LAWRENCEVILLE     GA    30043‐2873
CLARINE R O SHEA                                   2112 WATERBURY LN E                                                                            SYCAMORE          IL    60178‐3031
CLARION E BRYANT                                   6524 FARRALONE AVE                                                                             WOODLAND HLS      CA    91303‐2411
CLARIS A WILLIAMS                                  20215 AVON                                                                                     DETROIT           MI    48219‐1525
CLARIS O KNICELEY                                  PO BOX 143                                                                                     FLATWOODS         WV    26621‐0143
CLARIS T CASH                                      6128 LIBERTY FAIRFIELD RD                                                                      HAMILTON          OH    45011‐7129
CLARISE B WHITE                                    1393 DYE FORD RD                                                                               ALVATON           KY    42122‐8654
CLARISE M GALLAGHER & TYRINE P GALLAGHER JT TEN 1718 WETHERSFIELD CT                                                                              ROCHESTER HILLS   MI    48309‐4281

CLARISSA A BILODEAU                                PO BOX 321                                                                                     E WAKEFIELD       NH    03830‐0321
CLARISSA B JONES                                   9348 FAUST                                                                                     DETROIT           MI    48228‐1814
CLARISSA D SESSLER & AMY R BANE JT TEN             256 BRADDOCK AVE                                                                               UNION TOWN        PA    15401‐4847
CLARISSA GAYLORD ANDERSON                          22326 VOBE CT                                                                                  KATY              TX    77449‐2804
CLARISSA L JOHNSON                                 4220 IRIS BROOKE LN                                                                            SNELLVILLE        GA    30039‐8422
CLARISSA MAHIN CLARK                               629 ARDREY CIR                                                                                 DAVIDSON          NC    28036
CLARISSA OLSEN FIEBELKORN                          1025 3RD AVE SE A‐4                                                                            RUGBY             ND    58368
CLARISSA Y MCMILLON                                12207 MONICA                                                                                   DETROIT           MI    48204‐5305
CLARISSA ZOE FLOMERFELT                            3 MOUNT AIRY DRIVE                                                                             WILMINGTON        DE    19807‐1209
CLARK A POTZMANN & DOROTHY K POTZMANN JT TEN       6384 N SEYMOUR RD                                                                              FLUSHING          MI    48433‐1086

CLARK A POTZMANN CUST KRISTOPHER A POTZMANN        6384 N SEYMOUR RD                                                                              FLUSHING          MI    48433‐1086
UGMA MO
CLARK A RIDDELL JR                                 4396 W M42                                                                                     MESICK            MI    49668‐9718
CLARK A RIDDELL JR & JOANNE E RIDDELL JT TEN       4396 W M42                                                                                     MESICK            MI    49668‐9718
CLARK ALEXANDER ADDISON                            21 HIGH POINT RD                      TORONTO ON                             M3B 2A3 CANADA
CLARK ANDREWS CUST CHARLES DOUGLAS ANDREWS         53985 SUTHERLAND LN                                                                            SHELBY TWP        MI    48316‐1217
UGMA MI
CLARK ANDREWS CUST DAVID ROSS ANDREWS UGMA         53985 SUTHERLAND LN                                                                            SHELBY TWP        MI    48316‐1217
MI
CLARK ANDREWS CUST LEAH KATHERINE ANDREWS          53985 SUTHERLAND LN                                                                            SHELBY TWP        MI    48316‐1217
UGMA MI
CLARK B STEELE                                     9131 BRAY RD                                                                                   MILLINGTON        MI    48746‐9557
CLARK B TOLLIVER                                   4724 SAN FRANCISCO                                                                             ST LOUIS          MO    63115‐2029
CLARK BANE HUTCHINSON CUST FRANKLIN SCOTT          PO BOX 9048                                                                                    CORAL SPRINGS     FL    33075‐9048
HUTCHINSON UGMA DE
                                               09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 817 of 850
Name                                             Address1                                Address2             Address3          Address4          City             State Zip

CLARK BERGRUN                                    2603 LIMOGES CT                                                                                  TRACY            CA    95304
CLARK BUTTERY                                    2392 CASTLE PINE CT                                                                              HAMILTON         OH    45013‐7007
CLARK C KELLEY                                   1011 CORONET LN                                                                                  GREENSBURG       PA    15601
CLARK C KELLEY & SYLVIA F KELLEY JT TEN          1011 CORONET LN                                                                                  GREENSBURG       PA    15601
CLARK C KELLEY & SYLVIA FAYE KELLEY JT TEN       345 FLANIGAN RD                                                                                  CONFLUENCE       PA    15424‐2029
CLARK C WEKENMAN                                 1506 W SILVER PINE DR                                                                            PHOENIX          AZ    85086‐1933
CLARK CHASE & LYNNE CHASE JT TEN                 12942 RAINTREE PLACE                                                                             CHINO            CA    91710‐4634
CLARK CLIFFORD                                   4125‐B TONYA TRAIL                                                                               HAMILTON         OH    45011‐8535
CLARK D BAKER                                    4215 CARRIAGE DR                                                                                 SARASOTA         FL    34241
CLARK D CURRIE                                   1114 SANDALWOOD CT SW                                                                            ALTOONA          IA    50009‐2418
CLARK D HENSHAW                                  BOX 66                                                                                           MERRITTSTOWN     PA    15463‐0066
CLARK DOUGLAS KINNAIRD                           235 SHADY HILL DRIVE                                                                             RICHARDSON       TX    75080‐2036
CLARK DUCKWORTH & BARBARA DUCKWORTH JT TEN       605 SHORELINE RD                                                                                 BARRINGTON       IL    60010‐3875

CLARK E ADAMS                                    6135 ELAINE ST                                                                                   SPEEDWAY         IN    46224‐3034
CLARK E BENING                                   2906 SW 30TH ST                                                                                  DES MOINES       IA    50321‐1413
CLARK E CANFIELD TR CLARK CANFIELD REVOCABLE     4118 N LOST SPRINGS DR                                                                           CALABASAS        CA    91301‐5325
TRUST UA 12/16/97
CLARK E MCCALL                                   3355 YELLOWSTONE DR                                                                              ANN ARBOR        MI    48105‐1522
CLARK E MILLARD JR                               17073 HWY 10 N                                                                                   BUTLER           KY    41006‐9022
CLARK E MINOR                                    11826 TENNYSON DR                                                                                CINCINNATI       OH    45241‐2192
CLARK E VOLZ                                     6249 WALTON HEATH DR                                                                             HUDSONVILLE      MI    49426‐8914
CLARK F BERKHOUSEN                               1539 WATERFORD PKWY                                                                              SAINT JOHNS      MI    48879‐9630
CLARK G ENDAHL & GAYLA J ENDAHL JT TEN           1102 HAYES ST                                                                                    MARNE            MI    49435‐9705
CLARK G LONG                                     910 N SHIAWASSEE ST                                                                              CORUNNA          MI    48817‐1046
CLARK G SHARP & JOSEPHINE SHARP JT TEN           1305 JULIAH                                                                                      FLINT            MI    48505
CLARK G THOMAS                                   1306 GREYSTONE ROAD                                                                              UPPERVILLE       VA    20184‐1708
CLARK H BEACH                                    2571 N 5 MILE RD                                                                                 MIDLAND          MI    48642‐7940
CLARK H CAMERON                                  24154 LANCE PLACE                                                                                WEST HILLS       CA    91307‐1251
CLARK H EDWARDS                                  2716 MIRADERO DRIVE                                                                              SANTA BARBARA    CA    93105‐3022
CLARK H FISHER                                   4 PARK CT                                                                                        RUTLAND          VT    05701‐3345
CLARK H HAHNE JR                                 BOX 315                                                                                          LAKE ARROWHEAD   CA    92352‐0315

CLARK HARRY MAINS                                RIVER RD BOX 814                                                                                 PORT EWEN        NY    12466‐0814
CLARK J GROSS                                    PO BOX 23190                                                                                     LEXINGTON        KY    40523‐3190
CLARK J KING & KAREN A KING JT TEN               PO BOX 482                                                                                       BROOKSVILLE      FL    34605‐0482
CLARK J OKULSKI                                  15366 WINDMILL POINT DR                                                                          GROSSE POINTE    MI    48230‐1744
CLARK J RAYMOND                                  55590 E 315 RD                                                                                   JAY              OK    74346‐5469
CLARK J SHAW                                     3365 COUNTRY CLUB WAY                   APT 1                                                    ALBION           MI    49224‐8554
CLARK JOHNSON JR                                 393 MASON RD                                                                                     HOPE HULL        AL    36043
CLARK KENDALL                                    PO BOX 112                                                                                       MORRISTOWN       AZ    85342‐0112
CLARK L GATES                                    3531 DARYL LN                                                                                    SPENCER          OK    73084
CLARK L VEAZEY & LINDA A VEAZEY JT TEN           104 TRAVIS ST                                                                                    BIRMINGHAM       AL    35226‐1098
CLARK L WILLIAMS                                 12106 W BLUEMOUND RD APT 20                                                                      MILWAUKEE        WI    53226
CLARK L WILLIAMS                                 PO BOX 1001                                                                                      MACCLENNY        FL    32063
CLARK M HARMON                                   RR 3 947                                                                                         SALEM            MO    65560‐9358
CLARK M MARTIN                                   7722 E JEFFERSON                        BUILDING 4 APT 101                                       DETROIT          MI    48214‐2594
CLARK MACKIN ATTEBURY II                         4653 CHAMBERLAIN DR                                                                              EAST CHINA       MI    48054‐3500
CLARK MC KEEVER                                  PO BOX 1026                                                                                      ENID             OK    73702‐1026
CLARK N NELSON & MARY JANE NELSON TR NELSON      34 EAST YALE LOOP                                                                                IRVINE           CA    92604‐3333
FAM TRUST UA 07/29/99
CLARK R EWALD                                    2498 JACOB RD                                                                                    CARO             MI    48767‐9394
CLARK R GREENSHIELDS                             2670 CREEKSIDE WAY                                                                               HIGHLAND VILLAGE TX    75077‐8623

CLARK R JONES                                    894 DAW PATE RD NE                                                                               PIKEVILLE        NC    27863‐9043
CLARK R OBEL                                     204 GREENWOODS DR                                                                                LAKELAND         FL    33813‐3688
CLARK R SHAPTER                                  11717 W LUDINGTON DR                                                                             LAKE             MI    48632‐9552
CLARK R SMITH                                    49 RED ACRE RD                                                                                   STOW             MA    01775‐1108
CLARK S COFFEE                                   211 OAK RIDGE DR                                                                                 OAK HARBOR       OH    43449‐1521
                                             09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                   Part 1 of 8 Pg 818 of 850
Name                                            Address1                            Address2             Address3          Address4          City           State Zip

CLARK T MASON                                   6660 LA BLANC                                                                                WATERFORD      MI    48329‐1213
CLARK W GATES                                   3373 BENDELOW                                                                                ROCHESTER      MI    48307‐5315
CLARK W KELLER & ALICE A KELLER JT TEN          1001 FOREST AVE                                                                              BOYNE CITY     MI    49712‐1498
CLARK W KUHL CUST DAVID KUHL UGMA CA            1196 THE STRAND                                                                              TEANECK        NJ    07666‐2018
CLARK W LEMMON                                  20760 COLEMAN                                                                                MT CLEMENS     MI    48035‐4032
CLARK W MALONE                                  2120 OAKWOOD DR                                                                              BIRMINGHAM     AL    35215‐4134
CLARK W SMITH JR & SYLVIA SMITH JT TEN          6429 TORRINGTON RD                                                                           KALAMAZOO      MI    49009‐9172
CLARK WORKMAN CUST KAREN WORKMAN UGMA NY        230 E SPENCER RD                                                                             SPENCER        NY    14883‐9586

CLARKE B FEFEL                                  1842 VINTON RD                                                                               ROYAL OAK      MI    48067‐1033
CLARKE CAMPBELL & CHRISTINE C CAMPBELL JT TEN   1846 CROSS DR WOODRUFF PLACE                                                                 INDIANAPOLIS   IN    46201‐1916

CLARKE HAGEN & CATHERINE HAGEN JT TEN           316 NORTH TOWNE COMMONS BLVD                                                                 FENTON         MI    48430‐2679
CLARKE HANKEY                                   3291 ANNANDALE DR                                                                            PRESTO         PA    15142‐1055
CLARKE LINDSAY THOMPSON                         48 HERRICK RD                                                                                WEST PEABODY   MA    01960‐4549
CLARKE R HARRIS                                 110 LIBERTY STREET                                                                           SOUTH AMBOY    NJ    08879‐2208
CLARKE T DILWORTH & BARBARA P DILWORTH JT TEN   105 SO WERTZ LANE                                                                            DOWNINGTOWN    PA    19335

CLARKIE L SMOOT & PATRICIA N SMOOT JT TEN       586 N 800 W                                                                                  CONVERSE       IN    46919‐9519
CLARO V LEAL                                    3712 LOWCROFT AVE                                                                            LANSING        MI    48910‐0417
CLARON J NEWVINE                                2519 ROUTE 64                                                                                BLOOMFIELD     NY    14469
CLARYCE GAVIGAN                                 3801 N WRIGHT RD                    APT 223                                                  JANESVILLE     WI    53546‐4234
CLASSIS COLUMBIA CHRISTIAN REFORMED CHURCH      C/O RALEIGH APOL                    6830 VAN BELLE RD                                        SUNNYSIDE      WA    98944‐9765

CLATIOUS E VAUGHNS                              1738 EDISON                                                                                  DETROIT        MI    48206‐2067
CLAUD A HILER                                   1029 OAKDALE ST SE #1                                                                        GRAND RAPIDS   MI    49507‐2015
CLAUD B ALEWINE JR                              410 CEDAR ST                                                                                 LAVONIA        GA    30553‐2108
CLAUD E RILEY                                   7908 S MAPLE DRIVE                                                                           DALEVILLE      IN    47334‐9663
CLAUD FELTON JR                                 RT #2 MASON RD                                                                               ASHLEY         MI    48806‐9802
CLAUD GRAYS                                     525 S OUTER DR                                                                               SAGINAW        MI    48601‐6404
CLAUD H BELL                                    5340 IRONBRIDGE ROAD                                                                         RICHMOND       VA    23234‐4708
CLAUD J RADEMACHER                              11470 W PARKS RD R2                                                                          FOWLER         MI    48835‐9109
CLAUD K HAMMOND                                 1315 TURNER RD                                                                               CUMMINGS       GA    30041‐5365
CLAUD MINER                                     27 TANGLEWOOD DR                                                                             PISCATAWAY     NJ    08854‐3123
CLAUD ROW                                       PO BOX 128                                                                                   NEW HAVEN      OH    44850
CLAUD W RAPER                                   9840 JONICA GAP RD                                                                           MORGANTON      GA    30560‐1719
CLAUDE A BRANE & MARY E BRANE JT TEN            PO BOX 132                                                                                   LA FONTAINE    IN    46940‐0132
CLAUDE A FREEMAN                                513 MILLER ST                                                                                LEBANON        OH    45036‐1934
CLAUDE A MAY                                    6614 CRESCENT GRN                                                                            W BLOOMFIELD   MI    48322‐1323
CLAUDE A MCKILLIPS JR                           6315 PARKER RD                                                                               CASTALIA       OH    44824‐9380
CLAUDE A MOSHER                                 5314 S DATURA                                                                                LITTLETON      CO    80120‐1314
CLAUDE A STATLER                                1416 HAYS PARK                                                                               KALAMAZOO      MI    49001‐3920
CLAUDE A TANNER                                 2245 E MOORE ROAD                                                                            SAGINAW        MI    48601‐9343
CLAUDE A TANNER & NELLIE LOU TANNER JT TEN      2245 E MOORE RD                                                                              SAGINAW        MI    48601‐9343
CLAUDE A TAYLOR                                 2731 N 900 E                                                                                 MARION         IN    46952‐6604
CLAUDE ANDERSON                                 2626 CIRCLE DR                                                                               FLINT          MI    48507‐1808
CLAUDE ANTHONY SANDERS                          PO BOX 57                                                                                    FRENCHBURG     KY    40322‐0057
CLAUDE B BARBEE III                             2747 RAMSGATE COURT NW                                                                       ATLANTA        GA    30305‐2817
CLAUDE B EDWARDS                                835 S CONERSTONE DR                                                                          FRANKLIN       IN    46131
CLAUDE B GULLATT III                            BOX 1322                                                                                     TUSCALOOSA     AL    35403‐1322
CLAUDE B RODDY & HENRIETTA D RODDY JT TEN       1210 GORDON COURT                                                                            CLAWSON        MI    48017‐1785
CLAUDE BEVERLY                                  PO BOX 2483                                                                                  BERKELEY       CA    94702‐0483
CLAUDE BOLAR                                    12068 RACINE                                                                                 WARREN         MI    48093‐3501
CLAUDE BURKHEAD                                 1111 FERNGLEN PL                                                                             CARY           NC    27511
CLAUDE C COFFEY JR                              5069 OAK HILL RD                                                                             CUBA           MO    65453‐6122
CLAUDE C HAAS                                   813 RANDOLPH ST                                                                              SAGINAW        MI    48601‐3354
CLAUDE C PALMER JR                              863 CO HWY 20                                                                                EDMESTON       NY    13335‐2512
CLAUDE C SMITH                                  1562 GLENN ABBEY DRIVE                                                                       DAYTON         OH    45420‐1332
CLAUDE C VINEGAR                                108 VICTORY DR                                                                               PONTIAC        MI    48342‐2561
                                               09-50026-mg            Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                   Exhibit E
                                                                                    Part 1 of 8 Pg 819 of 850
Name                                             Address1                            Address2             Address3                        Address4          City            State Zip

CLAUDE CARROTHERS                                5130 RAYMOND AVE                                                                                           BURTON          MI    48509‐1934
CLAUDE CAYOUETTE                                 10 PELADAU                          CREASANT             NOTRE DAM DE L'ILE PARRIOT QC   J7V 7P2 CANADA
CLAUDE CHAGNON                                   333 PAPILLON                        AUTEUIL              PROVINCE OF QC                  H7K 1E4 CANADA
CLAUDE CORTY TR REVOCABLE TRUST 08/31/90 U‐A     6909 DOCTOR MLK ST SOUTH BOX 349                                                                           ST PETERSBURG   FL    33705
CLAUDE CORTY
CLAUDE D FRANTZ & LOIS E FRANTZ JT TEN           41 FOREST AVENUE                                                                                           GREENSBURG      PA    15601‐1705
CLAUDE D HEMBREE                                 2136 RICHWOOD RD                                                                                           AUBURN HILLS    MI    48326‐2526
CLAUDE D HINTON                                  1828 ROSS ST                                                                                               NEW CASTLE      IN    47362‐2913
CLAUDE D JONES                                   9570 ADELAIDE DR                                                                                           JACKSONVILLE    FL    32244
CLAUDE D ROPER                                   754 EMBASSY PKW                                                                                            MOUNTAIN HOME   AR    72653

CLAUDE D SCOTT                                   C/O GWENDOLYN F SCOTT               12101 S LAFAYETTE                                                      CHICAGO         IL    60628‐6620
CLAUDE D SIMMONS                                 4310 OKEHAMPTON DRIVE                                                                                      RICHMOND        VA    23237‐1816
CLAUDE D STURGILL                                3494 W COVERT                                                                                              LESLIE          MI    49251‐9713
CLAUDE DANIEL                                    501 BALCOM TERR SE                                                                                         PALM BAY        FL    32909‐6558
CLAUDE DAVIS & PHYLLIS DAVIS JT TEN              508 W TRILBY RD                     APT 413                                                                FORT COLLINS    CO    80525‐4002
CLAUDE DE VAN WATTS IV                           101 HIDDEN OAKS CIRCLE                                                                                     BOERNE          TX    78006‐7001
CLAUDE DENONCOURT                                33 TIMBERCREEK CRESCENT             FONTHILL ON                                          L0S 1E4 CANADA
CLAUDE DENONCOURT                                4 SHEENAN COURT                     COURTICE ON                                          L1E 3A4 CANADA
CLAUDE DOUGLAS DICKERSON JR                      3005 HARLANWOOD DR                                                                                         FT WORTH        TX    76109‐1604
CLAUDE DURHAM                                    9175 OLDTOWN ST                                                                                            DETROIT         MI    48224‐1942
CLAUDE E BARNES                                  19729 HEALY                                                                                                DETROIT         MI    48234‐4220
CLAUDE E BARNES & ESTELLE M BARNES JT TEN        19729 HEALY                                                                                                DETROIT         MI    48234‐4220
CLAUDE E EAKINS                                  1424 LIBERTY LANE                                                                                          JANESVILLE      WI    53545‐1281
CLAUDE E FELIX                                   3504 DOGWOOD DRIVE                                                                                         BLUE SPRINGS    MO    64015‐6975
CLAUDE E FRANTZ & LOIS E FRANTZ JT TEN           41 FOREST AVE                                                                                              GREENSBURG      PA    15601‐1705
CLAUDE E FRENCH JR & BARBARA J FRENCH JT TEN     17 LIVESAY RD                                                                                              HORSEHEADS      NY    14845‐1075

CLAUDE E HAWKINS                                 818 KINNARD STREET                                                                                         FLORENCE        AL    35630‐5215
CLAUDE E HEMBREE                                 3056 WOLVERINE DR                                                                                          TROY            MI    48083‐5741
CLAUDE E HENDERSON & HATTIE E HENDERSON JT TEN   409 HENERETTA DR                                                                                           HURST           TX    76054‐2245

CLAUDE E HOLCOMB & DONNA I HOLCOMB JT TEN        8451 RIVEREST DR                                                                                           PORTLAND        MI    48875‐9692

CLAUDE E HOLCOMB & DONNA I HOLCOMB JT TEN        8451 RIVEREST DR                                                                                           PORTLAND        MI    48875‐9692

CLAUDE E LONGO                                   2717 LYDIA PLACE                                                                                           THOMPSON'S      TN    37179‐5032
                                                                                                                                                            STATION
CLAUDE E MILBURN                                 18334 MANSFIELD RD                                                                                         KEEDYSVILLE     MD    21756‐1122
CLAUDE E MORRIS                                  20500 LESURE                                                                                               DETROIT         MI    48235‐1538
CLAUDE E NASH & STEPHANIE K SIMMONS JT TEN       300 ALICE ST                                                                                               EAST TAWAS      MI    48730‐1543
CLAUDE E NEWMAN                                  3206 CASE KNIFE RD                                                                                         PULASKI         VA    24301‐4552
CLAUDE E OSBORNE                                 801 GEORGIA DR                                                                                             DAYTON          OH    45404‐2335
CLAUDE E PHILLIPS                                PO BOX 168                                                                                                 SOUTHFIELD      MI    48037‐0168
CLAUDE E POWELL                                  3521 CHESTNUT ST                                                                                           DEARBORN        MI    48124‐4259
CLAUDE E RITCHEY                                 1595 AVOCA EUREKA RD                                                                                       BEDFORD         IN    47421‐8406
CLAUDE E ROSE                                    1820 CRESCENT RIDGE                                                                                        CUMMING         GA    30041‐5902
CLAUDE E STEVENSON                               C/O MRS NANNIE S CUMBER             3012 DUPONT AVE                                                        RICHMOND        VA    23234‐2505
CLAUDE E WELLS                                   75‐5572 KONA BAY DRIVE              APT 29                                                                 KAILUA KONA     HI    96740
CLAUDE ERAZOLA                                   66 RUE DE L'ERMITAGE                BLAINVILLE QC                                        J7B 1K3 CANADA
CLAUDE F ANDREWS                                 5405 TODDSBURY ROAD                                                                                        RICHMOND        VA    23226‐2130
CLAUDE F LAND                                    1000 E 14TH ST                                                                                             GEORGETOWN      IL    61846‐6046
CLAUDE F PRESSEAU                                700 HOPE HILL RD                                                                                           HOPE            KY    40334
CLAUDE F PRESSEAU & SIDNEY H PRESSEAU JT TEN     700 HOPE HILL RD                                                                                           HOPE            KY    40334
CLAUDE F PURCHASE                                64 MELODY LANE                                                                                             TONAWANDA       NY    14150‐9108
CLAUDE F PURCHASE & FLORENCE A PURCHASE JT TEN   64 MELODY LANE                                                                                             TONAWANDA       NY    14150‐9108

CLAUDE FALLS                                     BOX 1632                                                                                                   LINCOLNTON      NC    28093‐1632
                                           09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 820 of 850
Name                                           Address1                               Address2             Address3          Address4          City              State Zip

CLAUDE FONTAINE JR & MAUREEN FONTAINE JT TEN   382 CHELSAMISH DRIVE                                                                            SEQUIM            WA    98382

CLAUDE FRANKLIN KIMBLE JR                      4600 HARBOR LIGHTS DR                                                                           SAINT PETERSBURG FL     33708‐3842

CLAUDE G BURNS                                112 W RICHLAND                                                                                   SUMMERVILLE       SC    29483‐5938
CLAUDE G GRAHAM                               28437 LADY K CT                                                                                  SOUTHFIELD        MI    48034‐5620
CLAUDE G PRYOR                                1513 NORTH ELM STREET                                                                            MUNCIE            IN    47303‐3076
CLAUDE G ROBINSON                             7462 TREELINE DR SE                                                                              GRAND RAPIDS      MI    49546‐7466
CLAUDE G ROBINSON & MRS MARION J ROBINSON JT  7462 TREELINE DR SE                                                                              GRAND RAPIDS      MI    49546‐7466
TEN
CLAUDE GERARD                                 8809 BURNETTE                                                                                    DETROIT           MI    48204‐2851
CLAUDE H ENGLAND                              RT 2 BOX 183                                                                                     LOUISIANA         MO    63353‐9609
CLAUDE H LEACH                                2868 GOLD FINCH                                                                                  ROCHESTER HILLS   MI    48309‐3434
CLAUDE H LEGACY                               9021 FOREST AVE SW                                                                               TACOMA            WA    98498‐3521
CLAUDE H WEBB                                 1679 KINGTOWN RD                                                                                 WINFIELD          TN    37892‐2231
CLAUDE HALE                                   87 RAMONA DR                                                                                     FAIRBORN          OH    45324‐4317
CLAUDE HARGIS                                 5080 MINE LICK CRK RD                                                                            COOKEVILLE        TN    38506‐6559
CLAUDE HOUSEWORTH                             17216 BIRWOOD                                                                                    DETROIT           MI    48221‐2317
CLAUDE IRWIN                                  58 OAKDALE DR                           OSHAWA ON                              L1H 6X1 CANADA
CLAUDE J BRININSTOOL & NANCY M BRININSTOOL JT 1298 THOMPSON LANE                                                                               FOREST            VA    24551‐3895
TEN
CLAUDE J CLINE                                225 CLOVERLEAF DR                                                                                LONGS             SC    29568‐9250
CLAUDE J GERARD                               511 W HAMPTON RD                                                                                 ESSEXVILLE        MI    48732‐9710
CLAUDE J HUTCHISON                            12508 DEVOE                                                                                      SOUTHGATE         MI    48195‐2363
CLAUDE J MC CLELLAN                           2954 GREENLEAF RD                                                                                AKRON             OH    44312‐5026
CLAUDE J SMITH                                1584 BRIARWOOD WAY                                                                               UNIONTOWN         OH    44685‐9595
CLAUDE J STOFFLET                             2330 UNION STREET                                                                                ALLENTOWN         PA    18104‐6346
CLAUDE J TENISON                              2633 TERRI LEE CT                                                                                SAINT LOUIS       MO    63114‐1439
CLAUDE JOHNSON                                737 WARDS CORNER ROAD                                                                            LOVELAND          OH    45140‐5928
CLAUDE JOHNSON CUST ALEXANDER JOHNSON UGMA 19400 MARTINSVILLE RD                                                                               BELLEVILLE        MI    48111
MI
CLAUDE JONES                                  8001 HICKMAN ST                                                                                  CINCINNATI        OH    45231‐3313
CLAUDE JONES MEM DAY NURSERY OF FIRST BAPTIST 308 EAST BROADWAY                                                                                GAINSVILLE        TX    76240‐4013
CHURCH
CLAUDE K KRAUSE                               1600 S WESTERN AVENUE                                                                            SIOUX FALLS       SD    57105‐1304
CLAUDE K WRATHER                              200 INTERNATIONAL DR ROOM 122                                                                    RANTOOL           IL    61866‐3612
CLAUDE KING                                   5510 PILGRIM DR                                                                                  SAGINAW           MI    48603‐5760
CLAUDE KISER                                  4341 SOCIAL ROW RD                                                                               SPRING VALLEY     OH    45370‐9772
CLAUDE L CLEMSON                              4719 BALLENGER CREEK PIKE                                                                        FREDERICK         MD    21703‐7559
CLAUDE L COPELAND                             440 SKYBALL RD                                                                                   HAYDEN            AL    35079‐3535
CLAUDE L EATON                                6401 COUGAR RD                                                                                   LAKE ISABELLA     CA    93240‐9543
CLAUDE L ELKINS                               7907 TIMBER HILL COURT                                                                           INDIANAPOLIS      IN    46217‐4473
CLAUDE L JONES                                1050 LEREW WAY                                                                                   BALTIMORE         MD    21205‐3315
CLAUDE L LINSON                               5594 BERKLEY                                                                                     WATERFORD         MI    48327‐2706
CLAUDE L MUNN                                 9933 RIDGE RD                                                                                    MIDDLEPORT        NY    14105‐9716
CLAUDE L SALLIE & LILLIAN B SALLIE JT TEN     3949 KALAMAZOO SE                                                                                GRAND RAPIDS      MI    49508‐2623
CLAUDE L SMITH                                4260 VELTE RD                                                                                    WOODLAND          MI    48897‐9733
CLAUDE LAIRD                                  ROUTE 2                                                                                          MCCALL CREEK      MS    39647‐9802
CLAUDE LAMBRECHTS & WENDY JOHNZ LAMBRECHTS JT 7512 MASONVILLE DR                                                                               FALLS CHURCH      VA    22042‐3520
TEN
CLAUDE LAVERTUE                               PO BOX 155                                                                                       GRAND ISLE        ME    04746‐0155
CLAUDE LEE BLACKWELL                          94220 OVERSEAS HWY                      APT 7A                                                   TAVERNIER         FL    33070‐3007
CLAUDE LEGARDYE                               RTE 1 BOX 78                                                                                     DODDRIDGE         AR    71834‐9705
CLAUDE LEGARDYE JR                            1327 WOODKREST                                                                                   FLINT             MI    48532‐2252
CLAUDE M JONES                                6386 ARTESIAN ST                                                                                 DETROIT           MI    48228‐3933
CLAUDE M LAFFERTY & VICKI R LAFFERTY JT TEN   28616 NE 174 ST                                                                                  LAWSON            MO    64062‐8913
CLAUDE M MARTIN JR TR CLAUDE MURPHY MARTIN JR 3735 CRICKET COVE RD E                                                                           JACKSONVILLE      FL    32224‐8401
REV TRUST UA 06/28/05
CLAUDE M SHUTTERS JR                          1220 N LUETT AVE                                                                                 INDIANAPOLIS      IN    46222‐3234
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 821 of 850
Name                                              Address1                              Address2             Address3          Address4          City               State Zip

CLAUDE MARAIS                                     1129 YORKSHIRE ROAD                                                                            GROSSE PT PRK      MI    48230‐1435
CLAUDE MCCOY                                      10915 E GOODALL RD                    UNIT 350                                                 DURAND             MI    48429‐9045
CLAUDE MOORE                                      1690 DORROTHY                                                                                  YPSILANTI          MI    48198‐6578
CLAUDE MOSES JR                                   125 WESTON AVE                                                                                 BUFFALO            NY    14215‐3536
CLAUDE N STEWART                                  2050 BURR BLVD                                                                                 FLINT              MI    48503‐4234
CLAUDE O HENDERSHOT                               3115 W MOORE RD                                                                                SPENCER            IN    47460‐5662
CLAUDE O VARNEY                                   9148 FALCON ST                                                                                 DETROIT            MI    48209‐1767
CLAUDE O WIGHT & SANDRA K WIGHT JT TEN            6332 BERNER COURT                                                                              GRAND LEDGE        MI    48837‐1677
CLAUDE P CAVINESS                                 150 SOUTHWIND CIR                                                                              ST AUGUSTINE       FL    32080‐5352
CLAUDE P IMAGNA JR                                6400 CLOVERLEAF CR                                                                             E AMHERST          NY    14051‐2050
CLAUDE P PROFFIT JR                               963 BENFIELD DR                                                                                DAYTON             OH    45429‐4402
CLAUDE P SALZBERGER                               300 BAY VIEW DR                       APT 914                                                  SUNNY ISLE BEACH   FL    33160‐4745

CLAUDE PARTRIDGE                                  417 VICTORIAN LANE                                                                             BELLEVILLE         MI    48111
CLAUDE PINSON JR                                  3645 CLAY FARM RD                                                                              ATWOOD             TN    38220‐5419
CLAUDE R BOYD & SHIRLEY A BOYD JT TEN             1896 NORTH OAKS DR                                                                             MILFORD            MI    48381‐3661
CLAUDE R CAMPBELL                                 110 CARRIAGE RUN DR                                                                            LINCOLN UNIV       PA    19352‐1210
CLAUDE R CHANDLER                                 8618 ARDMORE PL                                                                                DUBLIN             CA    94568‐1114
CLAUDE R CLINE                                    12025 INSBRUCK PL                                                                              CLIO               MI    48420‐2151
CLAUDE R COCHRAN JR & LENORA J COCHRAN JT TEN     2766 LAKEWOOD DR                                                                               COLUMBUS           OH    43231‐4860

CLAUDE R GILKERSON                                11 SUNCREST CT                                                                                 CHILLICOTHE        OH    45601‐1287
CLAUDE R HINES                                    20810 W CHICAGO ST                    APT 210                                                  DETROIT            MI    48228‐1597
CLAUDE R WORKS & MILDRED E WORKS JT TEN           2025 OAK FOREST COUNTRY CLUB DR                                                                LONGVIEW           TX    75605‐1642
CLAUDE RODRIGUEZ JR                               PO BOX 340                                                                                     LITTLEROCK         CA    93543‐0340
CLAUDE ROGER BROCK                                68602 CALLE PRADO                                                                              CATHEDRAL CTY      CA    92234‐4856
CLAUDE RUDOLPH HILL                               8026 DUNGARVIN DR                                                                              GRAND BLANC        MI    48439‐8161
CLAUDE S DOLD                                     630 WASHINGTON AVE                                                                             DEPTFORD           NJ    08096‐4564
CLAUDE S PAGE                                     133 W LIBERTY ST                                                                               SPRINGFIELD        OH    45506‐2235
CLAUDE S RANKIN & MRS CATHERINE C RANKIN JT TEN   1233 W NANCY CREEK DRIVE                                                                       ATLANTA            GA    30319‐1637

CLAUDE SEGARD & LISA SEGARD JT TEN                8995 ALANADA DR                                                                                CALEDONIA          MI    49316‐8454
CLAUDE SMITH                                      300 E 26TH ST                                                                                  MUNCIE             IN    47302‐5607
CLAUDE T COMPTON                                  9315 GRANT AVE                                                                                 MANASSAS           VA    20110‐5064
CLAUDE T LEVERETTE                                24641 TEMPLAR AVENUE                                                                           SOUTHFIELD         MI    48075‐6936
CLAUDE T SECHLER & JUDITH P SECHLER JT TEN        7270 LITTLE TWIN LAKE RD                                                                       MANCELONA          MI    49659‐9272
CLAUDE T SIMPSON                                  7943 LANTERN DR                                                                                ALMONT             MI    48003‐8652
CLAUDE THOMAS SMITH                               4319 TILLIE DR                                                                                 FLINT              MI    48504‐1036
CLAUDE TRIMBLE                                    5256 BUCKNER DR                                                                                HUBER HEIGHTS      OH    45424‐6133
CLAUDE U VOILS JR                                 221 S ACADEMY ST                                                                               MOORESVILLE        NC    28115‐3110
CLAUDE UNDERWOOD                                  6705 LITTLE WY                                                                                 FORT PIERCE        FL    34951‐1107
CLAUDE W ABRAMS TR CLAUDE W ABRAMS TRUST UA       20150 SHERRI LANE                                                                              FORT DODGE         IA    50501‐8466
06/22/00
CLAUDE W BAILEY JR & JANIE E BAILEY JT TEN        4231 WYANDOTTE WOODS BLVD                                                                      DUBLIN             OH    43016‐9423
CLAUDE W BOYER                                    1605 MILL                                                                                      LINCOLN PK         MI    48146‐2360
CLAUDE W ECTOR JR                                 15689 CR 220                                                                                   TYLER              TX    75707‐5903
CLAUDE W HARRIS                                   410 SCHOOL HOUSE ROAD                                                                          GREENVILLE         VA    24440‐9614
CLAUDE W JOLY                                     802 COMTOIS AVE                       STE THERESE QC                         J7E 2N5 CANADA
CLAUDE W KILZER                                   21410 HWY 15                                                                                   FALKNER            MS    38629‐9200
CLAUDE W MORELAN                                  568 BROEKER LN                                                                                 O FALLON           MO    63366‐2111
CLAUDE W ROBINSON                                 1041 CARRINGTON DR                                                                             DOVER              DE    19904‐3816
CLAUDE W SHISLER                                  9440 NORTHERN CT                                                                               PLYMOUTH           MI    48170‐4048
CLAUDE WRIGHT                                     8354 S HERMITAGE                                                                               CHICAGO            IL    60620‐4629
CLAUDELL L CHILDS                                 1130 EAST 172ND STREET                                                                         SOUTH HOLLAND      IL    60473‐3585
CLAUDELLIA ANN HALL                               537 SOUTH KEITH                                                                                CROSBYTON          TX    79322‐3025
CLAUDETTA BEASLEY                                 1507 COUNTRYSIDE PL                                                                            CHAMPAIGN          IL    61821
CLAUDETTE ADELE WEEMS & LEONARD LEWIS WEEMS       320 CHERRY GROVE LANE                                                                          WALLED LAKE        MI    48390‐3977
JT TEN
CLAUDETTE B MAKSIMCZYK                            6 HOERLE COURT                                                                                 PLAINVILLE         CT    06062‐2128
                                                09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                            Part 1 of 8 Pg 822 of 850
Name                                                  Address1                               Address2             Address3          Address4          City               State Zip

CLAUDETTE BATTS                                       PO BOX 112                                                                                      DURANT            MS     39063‐0112
CLAUDETTE C STEVENS                                   6950 CORNELL RD                                                                                 ATHENS            OH     45701‐3546
CLAUDETTE CARAVAGGI                                   67‐43 KESSEL ST                                                                                 FOREST HILLS      NY     11375‐4142
CLAUDETTE CROSSNO                                     1725 OKMULGEE CT                                                                                NORTH LITTLE ROCK AR     72116‐4526

CLAUDETTE D ORLANDO TR UA 07/29/1995 ORLANDO          21011 HEMMINGWAY STREET                                                                         CANOGA PARK        CA    91304
FAMILY TRUST
CLAUDETTE D TOWNE                                     RT 3 BOX 231‐E                                                                                  BARNWELL           SC    29812‐9803
CLAUDETTE E MCLENDON                                  15246 PROMENADE                                                                                 DETROIT            MI    48224‐2839
CLAUDETTE GARAVENTA                                   210 LIBERTY AVE                                                                                 SI                 NY    10305‐1218
CLAUDETTE L HAYS                                      7878 CAPRI                                                                                      CANTON             MI    48187‐1808
CLAUDETTE L PENNER CUST BROOKE MAE PENNER             1176 CRANBERRY AVE                                                                              SUNNYVALE          CA    94087‐2001
UTMA CA
CLAUDETTE M HINCHCLIFFE                               21 KIMBERLY LANE                                                                                BRISTOL            CT    06010‐3320
CLAUDETTE M PERRY                                     1649 FAYETTE                                                                                    BELOIT             WI    53511‐3605
CLAUDETTE M PERRY & TAFONDA R GILLILAND JT TEN        1649 FAYETTE                                                                                    BELOIT             WI    53511‐3605

CLAUDETTE POWELL                                      12830 ROSEMARY                                                                                  DETROIT            MI    48213‐1470
CLAUDETTE R HECKEL                                    8535 AIRPORT HIGHWAY                                                                            HOLLAND            OH    43528
CLAUDETTE R WARNER TR WARNER FAMILY TRUST UA          18572 FAIRHAVEN AVE                                                                             SANTA ANA          CA    92705‐1255
04/19/06
CLAUDETTE S BEALL LEE                                 N56W6431 CENTER ST                                                                              CEDARBURG          WI    53012‐1909
CLAUDETTE S KINSMAN SCHROEDER                         505 POPLAR CREEK DR                                                                             BROOKFIELD         WI    53045‐3514
CLAUDETTE S SANFORD                                   80 NOLAN RD                                                                                     BENTON             MS    39039‐9309
CLAUDETTE SHATTUCK                                    138 ALLYN RD                                                                                    GOSHEN             CT    06756
CLAUDETTE V HERRING                                   5912 WINDERMERE DR                                                                              PALM HARBOR        FL    34685‐1737
CLAUDETTE W GANTZ                                     2631 STILLWAGON RD SE                                                                           WARREN             OH    44484‐3179
CLAUDETTE WHIPPLE                                     2161 AIRPORT RD                                                                                 ADRIAN             MI    49221‐3697
CLAUDETTE WILLIAMS & BRUCE E WILLIAMS JT TEN          450 CONCORD AVENUE                                                                              ELYRIA             OH    44035‐6532

CLAUDIA A DAVIS                                       ATTN CLAUDIA A MCKETA                  325 SCHOLL ST                                            AMERY              WI    54001‐1262
CLAUDIA A DEAN                                        2239 N BUTLER AVE                                                                               INDIANAPOLIS       IN    46218‐3908
CLAUDIA A PEELER                                      5021 BIRCH ST                                                                                   MERIDIAN           MS    39307‐9318
CLAUDIA A SWIMS                                       43087 HARTWICK                                                                                  STERLING HEIGHTS   MI    48313‐1925

CLAUDIA A WASHBURN                                    550 WAKEFIELD RD                                                                                COLETA             CA    93117‐2105
CLAUDIA A WASHBURN & BERNICE WASHBURN JT TEN          550 WAKEFIELD RD                                                                                GOLETA             CA    93117‐2105

CLAUDIA ANDERSON EX EST MAVIS COLEY                   24 DOUGLAS STREET                                                                               PONTIAC            MI    48342
CLAUDIA ANDREA HEMMERDINGER                           1235 BEDFORD RD                                                                                 PLEASANTVILLE      NY    10570‐3912
CLAUDIA ANN DAVIES                                    28583 DEPAUVILLE RD                                                                             CHAUMONT           NY    13622‐2153
CLAUDIA ANN MOORE                                     307 S GRIFFIN ST                                                                                ELIZABETH CITY     NC    27909‐4662
CLAUDIA ANN SAVAGE                                    110 CAMELOT CT                                                                                  BROOKLYN           MI    49230‐8918
CLAUDIA B RIDGEL TOD MELVILLE A KING JR III SUBJECT   16225 S WOLCOTT                                                                                 MARKHAM            IL    60428‐5717
TO STA TOD RULES
CLAUDIA B WOODHOUSE & HARRY J WOODHOUSE JT            5306 BEACHBLANKET CR                                                                            FT PIERCE          FL    34949‐8405
TEN
CLAUDIA BOWEN                                         9930 PALMOOR                                                                                    WHITE LAKE         MI    48386‐2861
CLAUDIA C OHRYN                                       5438 KEBBE DR                                                                                   STERLING HEIGHTS   MI    48310‐5161

CLAUDIA C PERSAILE                                    20 FAIRWAY DRIVE                                                                                AUBURN             NY    13021‐5528
CLAUDIA C WEBSTER                                     20454 HARNED                                                                                    DETROIT            MI    48234‐1516
CLAUDIA CARTER EGGE                                   406 BATHGATE LANE                                                                               CARY               NC    27513‐5582
CLAUDIA COLTON                                        12673 N GENTLE RAIN DRIVE                                                                       MARANA             AZ    85658
CLAUDIA D BREWER                                      3834 CIBOLA TRAIL                                                                               CARROLLTON         TX    75007‐6238
CLAUDIA D ROWLETT                                     1833 CLAY AVE                                                                                   TOLEDO             OH    43608‐2248
CLAUDIA D ROWLETT & ELSIE ROWLETT JT TEN              1833 CLAY AVE                                                                                   TOLEDO             OH    43608
CLAUDIA E MAVER                                       24721 DUNDEE DRIVE                                                                              RICHMOND           OH    44143‐1733
                                                                                                                                                      HEIGHTS
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 823 of 850
Name                                              Address1                              Address2             Address3          Address4          City            State Zip

CLAUDIA ELINORE MILLER                            PO BOX 5227                                                                                    ATLANTA         GA    31107‐0227
CLAUDIA F DOLE                                    PO BOX 463                                                                                     DORSET          VT    05251‐0463
CLAUDIA FAEDI                                     425 ASHLEY FALLS RD                                                                            CANAAN          CT    06018‐2041
CLAUDIA FOCKS                                     4105 FLORENCE WAY                                                                              GLENVIEW        IL    60025‐5631
CLAUDIA G CHARBONNEAU                             1621 NORTH PENINSULA AVE                                                                       NEW SMYRNA      FL    32169‐2129
                                                                                                                                                 BEACH
CLAUDIA G KEELEY                                  3493 GREGORY ROAD                                                                              ORION           MI    48359‐2015
CLAUDIA G UTLEY                                   1302 WEST TREMONT ST                                                                           URBANA          IL    61801‐1342
CLAUDIA GREEN                                     1242 STYER DR                                                                                  NEW CARLISLE    OH    45344‐2722
CLAUDIA H APPLE                                   1712 SWANNANOA DRIVE                                                                           GREENSBORO      NC    27410‐3932
CLAUDIA H FILLION                                 C/O ROBERTS                           154 GROVE STREET                                         LAKE ORION      MI    48362‐3040
CLAUDIA I DUGAS                                   2557 SUNNY CREEK ST SE                                                                         GRAND RAPIDS    MI    49508‐5214
CLAUDIA I LEWIS                                   2395 CAPE COURAGE WAY                                                                          SUWANEE         GA    30024‐2761
CLAUDIA I MOORE                                   7612 THARP                                                                                     WHITMORE LAKE   MI    48189‐9740
CLAUDIA I WHITAKER & PHILIP W WIMP JT TEN         212 MARION MEADOWS DRIVE                                                                       HOWELL          MI    48843
CLAUDIA IVEY                                      12109 DOVE AVE                                                                                 CLEVELAND       OH    44105‐4440
CLAUDIA J AKIN                                    1116 JOEL DR                                                                                   ALBANY          GA    31707‐5022
CLAUDIA J COX                                     316 E BRECKENRIDGE                                                                             MACON           GA    31210‐2193
CLAUDIA J DAVIS                                   1291 NOEL C CONAWAY RD                                                                         GUYTON          GA    31312‐6007
CLAUDIA J KILBANE                                 37696 NORTH DOOVY'S ST                                                                         AVON            OH    44011‐1115
CLAUDIA J MANGHAM                                 1175 E DAVISBURG RD                                                                            HOLLY           MI    48442‐8614
CLAUDIA J ROSS                                    3253 LOWER MOUNTAIN RD                                                                         SANBORN         NY    14132‐9427
CLAUDIA J RYAN                                    2H TALCOTT GLEN                                                                                FARMINGTON      CT    06032‐3521
CLAUDIA J STEPHAN                                 109 WALNUT HILL RD                                                                             BETHEL          CT    06801‐1245
CLAUDIA J SZYMANSKI & VICTOR A SZYMANSKI JT TEN   14415 GARY LANE                                                                                LIVONIA         MI    48154‐5305

CLAUDIA JAMESON COLEMAN                        3290 MARQUES STREET                                                                               PENSACOLA       FL    32505‐7832
CLAUDIA JAMESON COLEMAN & WILLIAM S JAMESON JT 3290 MARQUES STREET                                                                               PENSACOLA       FL    32505‐7832
TEN
CLAUDIA JILL MARTINIC                          4635 WINTHROP DR                                                                                  HUNTINGTN BCH   CA    92649
CLAUDIA K TEAGUE                               625 WASHINGTON COURT                                                                              ANDERSON        IN    46011‐1835
CLAUDIA K TEAGUE & BENNIE M TEAGUE JT TEN      625 WASHINGTON CT                                                                                 ANDERSON        IN    46011‐1835
CLAUDIA K WRATARIC                             519 LINCOLN AVENUE                                                                                NILES           OH    44446‐3130
CLAUDIA KINMAN                                 5411 CRUSE AVE                                                                                    WATERFORD       MI    48327
CLAUDIA KULLING                                1005 ELMWOOD                                                                                      BRIGHTON        MI    48116‐2421
CLAUDIA L CHRISTIE                             1300 TWIN OAK CT                                                                                  FORT COLLINS    CO    80525‐6202
CLAUDIA L HEAVNER                              9884 WILLIAMS RD                                                                                  DIAMOND         OH    44412‐9729
CLAUDIA L HURD                                 281 BAYBERRY LANE                                                                                 WESTPORT        CT    06880‐1618
CLAUDIA L MEADOWS                              8542 BRYDEN ST                                                                                    DETROIT         MI    48204‐3311
CLAUDIA LAMPEL CUST REBECCA LAMPEL UTMA NY     27 TOPLAND RD                                                                                     WHITE PLAINS    NY    10605‐4412

CLAUDIA LEONA SMITH                               11155 SPRING VALLEY ROAD                                                                       KANSAS CITY     MO    64134‐3420
CLAUDIA M BRAGG                                   4947 BUCKBOARD WAY                                                                             RICHMOND        CA    94803‐3805
CLAUDIA M FRISCH & LYNN R FRISCH JT TEN           14 TWIN PONDS DRIVE                                                                            SPENCERPORT     NY    14559‐1037
CLAUDIA M HAWTHORNE                               10074 TALBOT                                                                                   HUNTINGTON      MI    48070‐1135
                                                                                                                                                 WOODS
CLAUDIA M INGHAM                                  810 GAY ST                                                                                     BUCYRUS         OH    44820‐2135
CLAUDIA M LANE                                    129 MAY DRIVE                                                                                  SALISBURY       MD    21804‐7226
CLAUDIA M LENYARD                                 18091 RUTHERFORD                                                                               DETROIT         MI    48235‐3157
CLAUDIA M POAGE & DALE F POAGE JT TEN             1440 E LAGUNA PL 7                                                                             YUMA            AZ    85365‐3570
CLAUDIA M SCHWARK                                 3310 PARK DR                                                                                   PARMA           OH    44134‐4645
CLAUDIA M WILLOUGHBY                              131 JACOB DR                                                                                   PRINCETON       KY    42445‐2151
CLAUDIA MAR & JAN G MAR JT TEN                    1043 HAYES                                                                                     OAK PARK        IL    60302
CLAUDIA METRO                                     524 WHITE PINE ST                                                                              VACAVILLE       CA    95687‐8004
CLAUDIA NOBLE                                     2701 S BROADWAY                                                                                YORKTOWN        IN    47396‐1601
CLAUDIA R ABSHIRE                                 1013 VASBINDER DRIVE                                                                           CHESTERFIELD    IN    46017‐1034
CLAUDIA R BOKUNIEWICZ                             38473 WILLOWMERE ST                                                                            HARRISON        MI    48045‐5334
                                                                                                                                                 TOWNSHIP
                                             09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32             Exhibit E
                                                                                      Part 1 of 8 Pg 824 of 850
Name                                            Address1                               Address2                 Address3              Address4          City               State Zip

CLAUDIA RADECKI & MARCELLA CUNNINGHAM JT TEN    2419 COMMOR                                                                                             HAMTRAMCK          MI    48212‐2974

CLAUDIA S CHILDERS                              4404 ROLLAND DR                                                                                         KOKOMO             IN    46902‐4728
CLAUDIA S GLADYS                                4770 GENERAL SQUIER                                                                                     DRYDEN             MI    48428‐9786
CLAUDIA S SEROT                                 12 WHITE PINE LANE                                                                                      EAST SETAUKET      NY    11733‐3960
CLAUDIA SAMALIS CUST LAURA SAMALIS UGMA MA      26 PRINCESS PINE LANE                                                                                   MILFORD            MA    01757‐1350

CLAUDIA SUSAN SUNDIN                            4333 BETTY ST                                                                                           BELLAIRE           TX    77401‐5217
CLAUDIA T MOFFITT                               2740 JACQUELINE CT                                                                                      NAPA               CA    94558‐5948
CLAUDIA V MEYER CUST LEE DAVID MEYER UGMA WI    10116 W SUNSET AVE                                                                                      WAUWATOSA          WI    53222‐2347

CLAUDIA W SALMON                                166 RIVER POINT DR                                                                                      SUFFOLK            VA    23434‐3767
CLAUDIA WHITE                                   15771 88TH PLACE NORTH                                                                                  LOXAHATCHEE        FL    33470‐2849
CLAUDIA YOSELOW                                 2809 SUMMIT DR                                                                                          EDMOND             OK    73034
CLAUDIE B FUGGETT                               14040 CLOVERDALE                                                                                        OAK PARK           MI    48237‐2732
CLAUDIE L O'DELL                                CRANES MILL                            APT 115                  459 PASSAIC AVE                         WEST CALDWELL      NJ    07006‐7458
CLAUDIE M DAVIS                                 3985 ST RT 721 SO                                                                                       LAURA              OH    45337‐9710
CLAUDINE ADAMS                                  2200 ROSE ISLAND                                                                                        PROSPECT           KY    40059‐9025
CLAUDINE BONDS                                  8508 BROOKLYN                                                                                           KANSAS CITY        MO    64132‐2653
CLAUDINE BROWN                                  630 ANGLE RD                                                                                            LAPEER             MI    48446‐7728
CLAUDINE CHISLEY                                PO BOX 15263                                                                                            MONROE             LA    71207‐5263
CLAUDINE M LEBLANC                              9 HERNANI COURT BOX 13                 SAINT JOHN NB                                  E2M 5P8 CANADA
CLAUDINE MARIE GEIL                             1421 E MINERAL RD                                                                                       GILBERT            AZ    85234‐4853
CLAUDINE MCCRANEY                               5217 ROUNDSTONE WAY                    APT 105                                                          CHARLOTTE          NC    28216‐2430
CLAUDINOR SALOMAO                               1 WOODLAND DR                                                                                           HUDSON             MA    01749‐2733
CLAUDIO ANTONIO MONTROSSE                       800 COLUMBIA DR APT 40                                                                                  MYRTLE BEACH       SC    29577‐4181
CLAUDIO C GONZALES                              9416 N LYDIA                                                                                            KANSAS CITY        MO    64155‐2572
CLAUDIO C MOSCA                                 RUA VICTOR MEIRELLES 477               J SAO CAETANO            CEP 09580 SAO PAULO   DO 5UL BRAZIL
CLAUDIO EBOLI                                   GM BRASIL AV GM 1959                   SAO JOSE DOS CAMPOS      SAO PAULO BRAZIL1     BRAZIL
CLAUDIO J VACAS‐CAVIA                           279 MILLINGTON COURT                                                                                    BLOOMFIELD HILLS   MI    48304‐1706

CLAUDIO L GIROLAMI                              GM OF CANADA                           1908 COLONEL SAM DRIVE   OSHAWA ON             L1H 8P2 CANADA
CLAUDIO LEONARDO GENTILI                        RUA AMARAL GURGEL 59                   APTO 72                  SAO PAULO SP          1221 BRAZIL
CLAUDIO M TORRES                                RUA PEDRO DOLL 472 APT 91              SAO PAULO SAO PAULO      BRASIL                BRAZIL
CLAUDIO N PONCIANO                              9588 WOLF CREEK PK                                                                                      TROTWOOD           OH    45426‐4146
CLAUDIO SALINAS                                 9857 QUANDT                                                                                             ALLEN PARK         MI    48101‐1352
CLAUDIO SPADACENTA CUST NICOLE ANN SPADACENTA   7 DELAWARE TRAIL                                                                                        DENVILLE           NJ    07834‐1503
UTMA NJ
CLAUDIO VACAS                                   279 MILLINGTON COURT                                                                                    BLOOMFIELD       MI      48304‐1706
CLAUDIO VACAS‐CAVIA                             279 MILLINGTON COURT                                                                                    BLOOMFLD HLS     MI      48304‐1706
CLAUDIUS V SINGLETON                            29433 PARAMOUNT COURT                                                                                   FARMINGTON HILLS MI      48331‐1968

CLAUS A BORGMAN                                 1694 DANIELS LANE                                                                                       EL PASO            TX    79936‐5401
CLAVEN JOHNSON                                  2021 MOUNT HAMILTON DR                                                                                  ANTIOCH            CA    94531‐8331
CLAVIN JOHNSON                                  18133 MCDOUGALL STREET                                                                                  DETROIT            MI    48234‐1641
CLAWSON A WILDER JR                             1313 JOAN DR                                                                                            PALATINE           IL    60067‐5666
CLAXTON J EVERETT                               27775 ARLINGTON DR                                                                                      SOUTHFIELD         MI    48076‐3121
CLAXTON T SMITH                                 19904 MANOR                                                                                             DETROIT            MI    48221‐1040
CLAY B TURNER                                   PO BOX 72043                                                                                            NEWPORT            KY    41072‐0043
CLAY BLANCHETT & ANNE BLANCHETT JT TEN          310 N THIRD ST                                                                                          BARDSTOWN          KY    40004‐1508
CLAY CAMPBELL                                   4814 KLATTE ROAD                                                                                        CINCINNATI         OH    45244‐1336
CLAY D RASMUSSEN                                1664 LAKEWOOD DRIVE                                                                                     TROY               MI    48083‐5547
CLAY DON BILBARY JR                             PO BOX M                                                                                                NEWBURG            MO    65550‐0512
CLAY F BEARD                                    1035 LAKE SHORE DR BOX 137                                                                              COLUMBIAVILLE      MI    48421‐9799
CLAY FARMER                                     9029 E 137TH AVENUE                                                                                     HEBRON             IN    46341‐9028
CLAY GRIFFITH                                   20‐1 WOODLAND HILLS DR                                                                                  SOUTHGATE          KY    41071‐2990
CLAY HANGER                                     PO BOX 1363                                                                                             STEAMBOAT          CO    80477
                                                                                                                                                        SPRINGS
CLAY HARRY NELSON                               514 PIERREMONT CIRCLE                                                                                   SHREVEPORT         LA    71106‐2334
                                              09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 825 of 850
Name                                            Address1                              Address2             Address3          Address4          City            State Zip

CLAY HINRICHS                                   3767 WILLOWCREST AVE                                                                           STUDIO CITY     CA    91604‐3925
CLAY J BUNCH & ROSE BUNCH JT TEN                4 LINDENWOOD DR                                                                                SWANSEA         IL    62226‐4502
CLAY J BUNCH CUST CLARA MARIE BUNCH UTMA IL     4 LINDENWOOD DR                                                                                SWANSEA         IL    62226‐4502

CLAY J SMITH                                    6200 COUNTRY PINE CT SE                                                                        ALTO            MI    49302‐9565
CLAY L POOLE                                    1926 HWY 178                                                                                   SWANSEA         SC    29160
CLAY LUTHER PATRICK                             1323 E 27TH ST                                                                                 ANDERSON        IN    46016‐5515
CLAY S ARMSTRONG                                526 N CALHOUN ST                                                                               LAPEER          MI    48446‐2010
CLAY W ANDERSON                                 692 N POINTE KNOLL CT                                                                          RIVERDALE       GA    30274‐4132
CLAY WESTON FOLLETT                             24912 N GRAHAM RD                                                                              ACAMPO          CA    95220‐9493
CLAY WILSON                                     509 N OAKDALE AV                                                                               RIALTO          CA    92376‐5117
CLAYBORNE WINTERS & BRENDA WINTERS JT TEN       PO BOX 2701                                                                                    GARY            IN    46403‐0701
CLAYBOURNE M REID                               9 MATTHEWS CT                                                                                  CINCINNATI      OH    45246‐3737
CLAYE C GRAY                                    2017 FOX HILL DR                      APT 2                                                    GRAND BLANC     MI    48439‐5238
CLAYMON H MARLOW                                10340 SPUR RD                                                                                  CALIFORNIA      KY    41007‐8865
CLAYNE M CHASE CUST AARON D CHASE UTMA ME       19 WESTERN AVE                                                                                 TOPSHAM         ME    04086‐1717
CLAYTON A BAILEY                                2211 NORTH 64TH                                                                                KANSAS CITY     KS    66104
CLAYTON A DAWANG & EUNICE G DAWANG JT TEN       513 WOODGLEN DR                                                                                CHESAPEAKE      VA    23322‐4149

CLAYTON A HELVEY                                409 SO SHELLMAN                                                                                SAN DIMAS       CA    91773‐3236
CLAYTON A JOYNER & W F JOYNER JT TEN            1920 EDUCATION AVENUE                                                                          PUNTA GORDA     FL    33950‐6224
CLAYTON A SUTTER                                1940 CASTLE RD                                                                                 NORTH BRANCH    MI    48461‐9385
CLAYTON A WILLIAMS                              801 DELLA DRIVE                                                                                LEXINGTON       KY    40504‐2319
CLAYTON AINSCOUGH                               28838 KING RD                                                                                  ROMULUS         MI    48174‐9448
CLAYTON ALAN COLLINS                            1065 DETROIT ST                                                                                BEECH GROVE     IN    46107‐1154
CLAYTON ASHLEY HELVEY CUST CHRISTOPHER ALAN     409 SOUTH SHELLMAN                                                                             SAN DIMAS       CA    91773‐3236
HELVEY UTMA CA
CLAYTON B POWELL                                9354 LISA                                                                                      ROMULUS         MI    48174‐1575
CLAYTON B WIMBERLY                              216 E 9TH STE                                                                                  ROME            GA    30161‐6123
CLAYTON C BOIKE                                 14542 HAROLD                                                                                   TAYLOR          MI    48180‐4460
CLAYTON C COLEY & LINDA B COLEY JT TEN          516 PANORAMA DRIVE                                                                             LAVONIA         GA    30553‐4092
CLAYTON C CONOLY & AUDREY M CONOLY JT TEN       5847 AVALON TERRACE                                                                            SAN ANTONIO     TX    78239
CLAYTON C ELROD & JOSEPH L ELROD JT TEN         2432 N DIXIE HWY                                                                               MONROE          MI    48162‐5213
CLAYTON C HELLER                                8032 DOODLEBUG LANE                                                                            SHINGLETOWN     CA    96088‐9666
CLAYTON C HURSH JR                              409 WOODSIDE PLACE                                                                             BELLEFONTAINE   OH    43311
CLAYTON COOPER                                  7116 HICKS RD                                                                                  NINEVEH         IN    46164‐8901
CLAYTON D BROOKS                                4283 POST DR                                                                                   FLINT           MI    48532‐2648
CLAYTON D ENGLE                                 3540 CAUSEWAY DRIVE                                                                            LOWELL          MI    49331‐9414
CLAYTON D NICHOLSON                             8114 GLEN PARK ROAD R D 2                                                                      WILLOUGHBY      OH    44094‐9232
CLAYTON D PETRIE                                14547 LAGOON DR                                                                                JAX BCH         FL    32250
CLAYTON DEMPSEY COBURN                          PO BOX 179                                                                                     BARRYTON        MI    49305‐0179
CLAYTON E DYGERT                                6041 SEACREST ROAD                                                                             WOOSTER         OH    44691‐8996
CLAYTON E FOX                                   404 MARSHALL AVE                                                                               SANDUSKY        OH    44870‐5437
CLAYTON E HALL                                  10168 INDIAN MOUND RD                                                                          FORT WORTH      TX    76108‐3726
CLAYTON E HARDY                                 54 NORTH 5TH ST                                                                                NEWARK          NJ    07107‐2906
CLAYTON E KING & MRS ALMA P KING JT TEN         198 DAVENPORT CIRCLE                                                                           AKRON           OH    44312‐1613
CLAYTON E LAVRENZ                               2051 AFTON RD                                                                                  BELOIT          WI    53511‐2012
CLAYTON E MACHMER                               1423 E COSSACKS PL                                                                             GLENDORA        CA    91741‐3753
CLAYTON E RICHARDSON JR TOD LUKE C RICHARDSON   11450 W PLEASANT VALLEY ROAD                                                                   BLANCHARD       MI    49310
SUBJECT TO STA TOD RULES
CLAYTON E SIPLE                                 1588 QUINIF                                                                                    WALLED LAKE     MI    48390‐2564
CLAYTON F MALLORY JR & JILL MALLORY JT TEN      818 MICHIGAN AVE                                                                               SPEED           IN    47172‐1321
CLAYTON G ANDRICK                               1631 E 33RD ST                                                                                 MARION          IN    46953‐3840
CLAYTON G BUCK & THELMA I BUCK JT TEN           327 MAMMOTH RD                                                                                 LONDONDERRY     NH    03053‐3002
CLAYTON G CHILDERS                              19201 GREYDALE COURT                                                                           DETROIT         MI    48219‐1814
CLAYTON G JAMES                                 6634 M 65                                                                                      HALE            MI    48739‐9066
CLAYTON G MILLER                                97 MILLER ROAD                                                                                 COLCHESTER      CT    06415‐2707
CLAYTON GOHR                                    74 CLOVER CT                                                                                   ORCHARD PARK    NY    14127‐3302
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 826 of 850
Name                                            Address1                              Address2             Address3          Address4          City              State Zip

CLAYTON H MAAS TR KATHERINE F MAAS U/DEC OF     835 RIVERSIDE DR                                                                               LOS ALTOS         CA    94024‐4824
TRUST 9/15/59
CLAYTON H VICARY                                BOX 334                                                                                        MICHIGAN CTR      MI    49254‐0334
CLAYTON HENRY EVANS                             31 PARKEDGE CT                                                                                 TONAWANDA         NY    14150‐7822
CLAYTON HUGHES                                  274 SILVER DOLLAR                                                                              MAYESVILLE        GA    30558‐3905
CLAYTON I BROMWELL                              1471 EAST 69TH STREET UNIT 1                                                                   CHICAGO           IL    60637‐4863
CLAYTON ISENHATH JR                             7312 S FRANCIS RD                                                                              SAINT JOHNS       MI    48879‐9249
CLAYTON J BERTRAND                              47 EAST MAPLEDALE                                                                              HAZEL PARK        MI    48030‐1129
CLAYTON J CRAWFORD                              13459 FISH HILL ROAD                                                                           SOUTH WALES       NY    14139‐9517
CLAYTON J FAUGHT                                7900 LEONARD                                                                                   METAIRIE          LA    70003‐5634
CLAYTON J HAYES                                 70391 ROMEO ORCHARD                                                                            ROMEO             MI    48065‐5326
CLAYTON J SCOTT & MARYLEE J SCOTT JT TEN        10237 N BOYD AVE                                                                               FRESNO            CA    93720‐4512
CLAYTON KAZUO IGE                               575 COOKE ST 3310                                                                              HONOLULU          HI    96813‐5274
CLAYTON L DAMMEN                                1224 NW CATHY AVE                                                                              KANSAS CITY       MO    64118‐3114
CLAYTON L ENDER                                 6973 HUBBARD RD                                                                                CLARKSTON         MI    48348‐2825
CLAYTON L HAMPY                                 1404 PARK LANE                                                                                 LIBERTY           MO    64068‐3137
CLAYTON L HUNTER JR                             1 GREENVALE DR                                                                                 STRATHAM          NH    03885‐6536
CLAYTON L JOLLY JR                              3796 HERITAGE HW                                                                               BAMBERG           SC    29003
CLAYTON L JONES                                 PO BOX 1377                                                                                    SPRING HILL       TN    37174‐1377
CLAYTON L MEES                                  5303 IVAN APT#209                                                                              LANSING           MI    48917‐3341
CLAYTON L TRAVER III                            3811 JERSEY RIDGE ROAD                                                                         DAVENPORT         IA    52807‐1416
CLAYTON M BOUGHFMAN                             1540 E HIBBARD RD                                                                              OWOSSO            MI    48867‐9790
CLAYTON M CANBY                                 4287 MOUNTAIN LAKE RD                                                                          HEDGESVILLE       WV    25427‐6840
CLAYTON M CURTIS & MRS MAXINE M CURTIS JT TEN   28260 KAUFMAN                                                                                  ROSEVILLE         MI    48066‐2670

CLAYTON M RUND & MIRIAM A RUND JT TEN           504 COLBY ST                                                                                   BESSEMER          MI    49911‐1513
CLAYTON M STOWELL                               5867 MUNGERS MILL RD                                                                           SILVER SPGS       NY    14550‐9794
CLAYTON MONTGOMERY JR & RENEE A MONTGOMERY      2711 COOLEY DR                                                                                 LANSING           MI    48911‐1667
JT TEN
CLAYTON N BILLINGTON                            13400 NEALL ROAD                                                                               DAVISBURG        MI     48350‐3306
CLAYTON O DRIVER                                3006 OHIO AVE                                                                                  BALTIMORE        MD     21227‐3736
CLAYTON P ENGLAND                               28214 W TEN MILE RD                                                                            FARMINGTON HILLS MI     48336‐3002

CLAYTON PAZDERNIK                               9235 NORTH CHURCH DRIVE APT 121                                                                PARMA HEIGHTS     OH    44130‐4707
CLAYTON PERKINS                                 1355 COBBLESTONE ST                                                                            DAYTON            OH    45432‐3405
CLAYTON PIERCE                                  PO BOX 4353                                                                                    TROY              MI    48099‐4353
CLAYTON R ALBRIGHT                              1641 E CENTRAL STREET                                                                          SPRINGFIELD       MO    65802‐2105
CLAYTON R BURFORD                               256 BROOKSIDE TERR                                                                             TONAWANDA         NY    14150‐5902
CLAYTON R CAREY                                 7030 JENNINGS RD                                                                               SWARTZ CREEK      MI    48473‐8809
CLAYTON R CAREY & ALTA A CAREY JT TEN           7030 JENNINGS RD                                                                               SWARTZ CREEK      MI    48473‐8809
CLAYTON R LENOX                                 5000 N OCEAN BLVD                     # M207                                                   BOYNTON BEACH     FL    33435‐7341
CLAYTON R LIDEY                                 26442 TAWAS                                                                                    MADISON HGTS      MI    48071‐3750
CLAYTON R MCVICAR                               258 TREMONT ST                                                                                 CARVER            MA    02330‐1702
CLAYTON R TANNER                                20691 VIA SONRISA                                                                              YORBA LINDA       CA    92886‐4618
CLAYTON R TERRY                                 17906 AL HWY 33                                                                                MOULTON           AL    35650‐7686
CLAYTON S CAMPBELL                              306 SHORE CREST DRIVE                                                                          SENECA            SC    29672‐2139
CLAYTON S KONOSKI                               12275 S BLOCK RD                                                                               BIRCH RUN         MI    48415‐9426
CLAYTON S SWETMAN                               550 MILLSTONE CT                                                                               CHARLOTTESVILLE   VA    22901‐2845

CLAYTON SANDLIN                                 714 LELAND ST                                                                                  FLINT             MI    48507‐2432
CLAYTON SMITH                                   13409 MARLOWE                                                                                  DETROIT           MI    48227‐2880
CLAYTON SYLVESTER CLARK                         515 TREASURE LK                                                                                DU BOIS           PA    15801‐9011
CLAYTON T GLENN                                 532 DATE STREET                                                                                BOULDER CITY      NV    89005‐2418
CLAYTON TEETERS                                 56 PINEHURST RD                                                                                MUNROE FALLS      OH    44262‐1130
CLAYTON TYLER HOLMES                            6 CEDAR LAKE LANE                                                                              GOLDSBY           OK    73093‐9223
CLAYTON W BILBREY                               PO BOX 295                                                                                     GRIMSLEY          TN    38565‐0295
CLAYTON W CARGILL                               1404 E PARK LANE                                                                               PASADENA          TX    77506‐2612
CLAYTON W EICKHOFF                              1002 WARNER CT                                                                                 HOUGHTON LAKE     MI    48629‐8320
CLAYTON W LOEHN                                 359 W BROADWAY                                                                                 PLYMOUTH          OH    44865‐1085
                                            09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32        Exhibit E
                                                                                     Part 1 of 8 Pg 827 of 850
Name                                            Address1                              Address2                       Address3   Address4          City            State Zip

CLAYTON W RAY                                   29550 GRANDON                                                                                     LIVONIA         MI    48150‐4067
CLAYTON W SPRADLIN                              2840 CYPRESS WAY                                                                                  NORWOOD         OH    45212‐2446
CLEADUS R STEFFEY                               8531 BRIDGE LAKE                                                                                  CLARKSTON       MI    48348‐2560
CLEAFUS MCCOY                                   911 N BLOUNT ST                       APT 103                                                     RALEIGH         NC    27604‐1100
CLEASON L SCOTT                                 624 BRICKER FARMS LN                                                                              SALEM           OH    44460‐1174
CLEATRIE MEEKS                                  3727 CLEVELAND AVE                                                                                KANSAS CITY     MO    64128‐2636
CLEATUS B LUNSFORD                              6766 GREYSTONE TRL                                                                                BLAIRSVILLE     GA    30512‐1234
CLEATUS GARNER                                  7125 CLINTONVILLE RD                                                                              CLARKSTON       MI    48348
CLEATUS H JONES                                 12240 FLEETWOOD PL                                                                                MARYLAND HGTS   MO    63043‐1120
CLEATUS W MARSHALL                              1156 9TH AVENUE                                                                                   FRIENDSHIP      WI    53934
CLEAVE LATCHISON                                1604 W MOTT AVE                                                                                   FLINT           MI    48504‐7024
CLEAVEN SMITH                                   38 SHEPHERD AVENUE                                                                                NEWARK          NJ    07112‐2526
CLEAVER L VAUGHN JR                             2518 MILBOURNE                                                                                    FLINT           MI    48504‐2840
CLEAVON LARK                                    1713 DEWEY ST                                                                                     ANDERSON        IN    46016‐3128
CLEBERT BOSSET JR                               5753 PORTSMOUTH AVE                                                                               NEWARK          CA    94560‐1342
CLEDA D RHODES TR CLEDA D RHODES TRUST UA       2726 DALKEITH DR                                                                                  RICHMOND        VA    23233‐1631
03/24/95
CLEDA N MILLER                                  8130 VENICE HEIGHTS NE DR                                                                         WARREN          OH    44484‐1514
CLEDESTER JACKSON                               PO BOX 5271                                                                                       FLINT           MI    48505‐0271
CLEDIS L BEARD                                  P O BOX254 P L DUNBAR STA                                                                         DAYTON          OH    45417
CLEDITH EUGENE DEEL                             RR 1 BOX 111                                                                                      CLINCHCO        VA    24226‐9712
CLEDITH V WESTON                                1348 NORTH MANCHESTER DRIVE                                                                       GREENFIELD      IN    46140‐7763
CLELA LOUISE OLIVER                             11259 E VIA LINDA                     STE 100                                                     SCOTTSDALE      AZ    85259‐4076
CLELIA PERUGIA                                  9421 DALEVIEW DR                                                                                  SOUTH LYON      MI    48178‐9106
CLELL CASTLEMAN                                 PO BOX 207                                                                                        MANILA          AR    72442‐0207
CLELL D JENKINS                                 1746 CRYSTAL LAKE DR                                                                              LAKELAND        FL    33801‐5918
CLELL N ROBBINS                                 469‐A WHIG LANE ROAD                                                                              PILES GROVE     NJ    08098‐3219
CLELLA E FERGUSON                               5085 WENDWOOD RD SW                                                                               CONLYERS        GA    30094‐4833
CLELON C MILNER                                 1095 PARTRIDGE RD                                                                                 SPARTANBURG     SC    29302‐3325
CLEM ALIG                                       C/O JEAN ANDERSON                     1405 CACHARD MEADOW DR APT C                                BURLINGTON      IA    52601‐2088
CLEM DILLON                                     521 BEATRICE DR                                                                                   DAYTON          OH    45404‐1408
CLEM N KINNARD                                  2185 SOUTH BLVD                       APT 111                                                     AUBURN HILLS    MI    48326‐3472
CLEM OUJESKY JR                                 826 COLLIN DR                                                                                     EULESS          TX    76039‐3304
CLEMA LARDI                                     LEMMON ST                                                                                         SOUTH           IL    60474
                                                                                                                                                  WILMINGTON
CLEMATINE NELSON                                2908 SAGE AVE                                                                                     DAYTON          OH    45408‐2233
CLEMENCE J JANIS & HELEN G JANIS JT TEN         21245 WOODMONT AVE                                                                                HARPER WOODS    MI    48225‐1817
CLEMENCIA L STUMMER                             1404 CHERRY ST                                                                                    UNION           NJ    07083‐5327
CLEMENCIA MC MAHON                              1022 MAPLE DR                                                                                     NEW MILFORD     NJ    07646‐3105
CLEMENS A HACKETHAL                             712 CALIFORNIA AVE                                                                                NEEDLES         CA    92363‐2116
CLEMENS B GWIZDALA                              306 S WALNUT ST APT 606                                                                           BAY CITY        MI    48706
CLEMENS C MOSS TR CLEMENS C MOSS TRUST UA       700 ROMAN'S COURT                                                                                 BLOOMINGTON     IN    47401‐8676
01/19/96
CLEMENS D MANISTA JR                            PO BOX 544                            209 WASHINGTON ST                                           DELAWARE CITY   DE    19706
CLEMENS J BRAUNSCHEIDEL JR & MARY JEAN          241 HEIM RD                                                                                       WILLIAMSVILLE   NY    14221‐1351
BRAUNSCHEIDEL JT TEN
CLEMENS OLSZEWSKI                               792 SHEFFIELD DR                                                                                  GREENWOOD       IN    46143‐3137
CLEMENS R KOEPF                                 2835 DODGE ROAD                                                                                   CASS CITY       MI    48726‐9321
CLEMENT B NEWBOLD JR                            MOUNTAIN LAKE                         PO BOX 832                                                  LAKE WALES      FL    33859‐0832
CLEMENT BOROWSKI                                221 PIKE STREET                                                                                   CECIL           WI    54111‐9205
CLEMENT C FERRER                                771 1/2 BLAINE AV                                                                                 FILLMORE        CA    93015‐1206
CLEMENT D BOTTONE                               116 WELLINGTON AVE                                                                                MIDDLESEX       NJ    08846‐2061
CLEMENT DEL CORVO                               690 PINEVIEW DRIVE                                                                                ORANGE CITY     FL    32763‐8564
CLEMENT E MESERVE JR                            181 GOULD RD                                                                                      DAYTON          ME    04005‐7406
CLEMENT F KANNEY                                77 BAERMAR DR                                                                                     SHELBY          OH    44875‐1706
CLEMENT F NADOLNY & MRS KATHLINE M NADOLNY JT   457 NORTH PINE                                                                                    BAY CITY        MI    48708‐7979
TEN
CLEMENT FARBER CUST DEBRA L FARBER UGMA MI      1924 RIDGEWOOD DRIVE                                                                              EUREKA          CA    95503‐6676
                                             09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 828 of 850
Name                                              Address1                              Address2                Address3       Address4          City              State Zip

CLEMENT FARBER CUST JAMES R FARBER UGMA MI        9160 LONGCROFT ST                                                                              WHITE LAKE        MI    48386‐4057

CLEMENT FARBER CUST KIMBERLY S FARBER UGMA MI     2768 WINDSOR                                                                                   TROY              MI    48098‐3729

CLEMENT H PORTER                                  63 REDWOOD AVE                                                                                 DAYTON            OH    45405‐5111
CLEMENT J CLEVELAND                               9200B RHODE ISLAND DR                                                                          OSCODA            MI    48750‐1929
CLEMENT J DORAN JR                                1686 HIGHLAND CIRCLE                                                                           FAIRFIELD         CA    94534
CLEMENT J MAZZOLA                                 22207 ARDMORE PK DR                                                                            ST CLAIR SHORES   MI    48081‐2007
CLEMENT J WARNY                                   96 N PERRYVIEW DR                                                                              MARBLEHEAD        OH    43440‐9625
CLEMENT L KNIGHT & ANN WIRTZ JT TEN               4302 FARMINGTON LANE                                                                           RACINE            WI    53403‐4080
CLEMENT L PEARSON                                 13593 RYAN RD                                                                                  HAMTRAMCK         MI    48212‐1742
CLEMENT P MARION                                  1832 SHARON HOGUE RD NE                                                                        MASURY            OH    44438‐9785
CLEMENT R LANDANNO & ANTJE LANDANNO JT TEN        3 KENNEDY BLVD                                                                                 HOPEWELL JCT      NY    12533‐5616

CLEMENT V CAREY CUST CHRISTIAN C CAREY UTMA CA    37 WILNER RD                                                                                   SOMERS            NY    10589‐3001

CLEMENT W DE LAVALLE                              99 GASPE DRIVE                                                                                 AMHERST           NY    14228‐1956
CLEMENTE A RABELO                                 839 MANDANA BLVD                                                                               OAKLAND           CA    94610‐2428
CLEMENTE B FOLLOSO JR                             1155 WEST 34TH PLACE                                                                           CHICAGO           IL    60608‐6417
CLEMENTE G CONTRERAS                              PO BOX 81                                                                                      WALNUT            CA    91788‐0081
CLEMENTE HOLGUIN                                  5480 CENTURY PLAZA WY                                                                          SAN JOSE          CA    95111‐1820
CLEMENTE L FUENTES                                1140 E RIVERVIEW AVE #5B                                                                       NAPOLEAN          OH    43545‐5746
CLEMENTE MACIAS                                   10312 CAYUGA AVE                                                                               PACOIMA           CA    91331‐3108
CLEMENTE RODRIGUES                                11 TAFT ST                                                                                     MILFORD           MA    01757‐2222
CLEMENTINA P MILLER                               824 N NURSERY RD                                                                               ANDERSON          IN    46012‐2720
CLEMENTINE ADAMS                                  C/O STUART                            2540 HAVENSCOURT BLVD                                    OAKLAND           CA    94605‐1935
CLEMENTINE R POWERS                               1089 HREZENT VIEW LA                                                                           WEBSTER           NY    14580‐8902
CLEMENTINE ROBINSON                               6909 PARKBROOK LN                                                                              CORDOVA           TN    38018‐7935
CLEMENTINE SMITH                                  925 W 26TH ST                                                                                  INDIANAPOLIS      IN    46208‐5419
CLEMENTINE T WIENER SMITH TOD FRANK J MCHUGH      1310 MADISON LN                                                                                FLORISSANT        MO    63031‐2628
SUBJECT TO STA TOD RULES
CLEMENTINE TAYLOR                                 5349 PENNSYLVANIA ST                                                                           DETROIT           MI    48213‐3143
CLEMENTINE THORNTON                               PO BOX 318                                                                                     MCCOMB            MS    39649‐0318
CLEMERTINE H HOLT                                 12450 BISCAYNE BLVD                   #1609                                                    JACKSONVILLE      FL    32218‐8634
CLEMESTINE TANKSLEY                               524 STREAMWOOD IVY TRAIL                                                                       SWANEE            GA    30024‐6485
CLEMMIE D GREENE MCINTYRE                         926 MIDDLESEX ST                                                                               LINDEN            NJ    07036‐2151
CLEMMIE F LEE                                     3023 W MORRIS ST 42                                                                            INDIANAPOLIS      IN    46241‐2742
CLEMMIE G BULLOCK                                 562 E PATERSON ST                                                                              FLINT             MI    48505‐4726
CLEMMIE HIGHTOWER                                 2106 ROSECROFT BLVD                                                                            FT WASHINGTON     MD    20744
CLEMMIE M FOOTE                                   2976 HAMPTON ROAD                                                                              CLEVELAND         OH    44120‐2746
CLEMONT V HENDRY                                  356 GRAY RD                                                                                    MELBOURNE         FL    32904‐3507
CLENAN C MC ELROY & MRS HILDA MC ELROY JT TEN     1700 20TH ST                          N CHICAGO                                                NORTH CHICAGO     IL    60064

CLENASTINE J HAMILTON                             3506 WHITEGATE DRIVE                                                                           TOLEDO            OH    43607‐2572
CLENASTINE J HAMILTON EX EST STANLEY E HAMILTON   3506 WHITEGATE DR                                                                              TOLEDO            OH    43607‐2572

CLENDRY WILSON JR                                 PO BOX 104                                                                                     BIRCH RUN         MI    48415‐0104
CLENESTINE WILLIAMS‐BROOKS                        8051 S ESSEX AVE                      APT 2N                                                   CHICAGO           IL    60617‐1264
CLENIE B MIDGETT                                  4891 GREENTON CT                                                                               SAINT LOUIS       MO    63128‐3853
CLENNETH E MCENTYRE                               10321 FOXWOOD DRIVE                                                                            NORTH ROYALTON    OH    44133‐3361

CLENON O MORAN                                    88 WOODGLEN CT                                                                                 COLLINSVILLE      VA    24078
CLENT E DINGLER                                   3490 ESSON DR                                                                                  GRAND BLANC       MI    48439‐7935
CLENT MCCORKLE                                    40690 RIVERDALE DR                                                                             PAW PAW           MI    49079‐9537
CLENTON MATTHEWS                                  5821 EMELINE STREET                                                                            DETROIT           MI    48212‐2406
CLEO A CANNON                                     292 CEDER BLUFF LOOP                                                                           CEDAR BLUFF       MS    39741‐9534
CLEO A DAVIS                                      1514 SOLOOK DR #14                                                                             PARLIN            NJ    08859‐2260
CLEO BELL L DRABEK                                321 JOE BEAVER LANE                                                                            VICTORIA          TX    77905‐3326
CLEO BIRDSALL HACKLANDER                          PO BOX 275                                                                                     PISMO BEACH       CA    93448‐0275
                                             09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 829 of 850
Name                                             Address1                            Address2             Address3          Address4          City            State Zip

CLEO CAUDILL & CARMELITA CAUDILL JT TEN          2781 GRANT DR                                                                                ANN ARBOR       MI    48108‐1255
CLEO CRAWFORD                                    1170 CORAL WY                                                                                RIVIERA BCH     FL    33404‐2713
CLEO D FRANK & MILDRED L FRANK TR FRANK LIVING   10293 ORCHARD PARK WEST DR                                                                   INDIANAPOLIS    IN    46280‐1518
TRUST UA 08/28/01
CLEO D MYSLIWIEC                                 1112 HIDDEN BLUFF                                                                            CLERMONT        FL    34711
CLEO DALLAS REED & DELCIE J REED JT TEN          235 S MAIN STREET                                                                            WENDELL         NC    27591‐9025
CLEO E COOK                                      11236 SPURLINE DRIVE                                                                         JACKSONVILLE    FL    32257‐4511
CLEO EARLS                                       10424 EVELYN DR                                                                              CLIO            MI    48420‐7713
CLEO F COTTINGHAM                                415 RUDOLE AVE                                                                               ANDERSON        IN    46012‐3343
CLEO F ILL                                       4626 E CENTER ST                                                                             MILLINGTON      MI    48746
CLEO FOSTER                                      G2104 S CENTER ROAD                                                                          BURTON          MI    48509
CLEO FRANKLIN MOORE                              4504 KEATS ST                                                                                FLINT           MI    48507‐2629
CLEO G SEWELL JR                                 14107 BUFF RD                                                                                FESTUS          MO    63028‐5157
CLEO G SEWELL JR & DARLENE SEWELL JT TEN         14107 BUFF RD                                                                                FESTUS          MO    63028‐5157
CLEO G WALL                                      66 BONEYARD HOLLOW RD                                                                        STAMFORD        KY    40484‐9330
CLEO GENTRY                                      19975 GREENWALD DR                                                                           SOUTHFIELD      MI    48075‐3956
CLEO GOSS                                        4009 BLOCK DR #1140                                                                          IRVING          TX    75038‐4622
CLEO H ELLIS JR                                  2001 S PARKWOOD LN                                                                           WICHITA         KS    67218‐5227
CLEO H WILLIAMS                                  614 WEST LANE RD                                                                             GREENCASTLE     IN    46135‐2244
CLEO J SOLOMON                                   23115 STAUBER                                                                                HAZEL PARK      MI    48030‐2924
CLEO JOHNSON                                     3139 EAST 98TH                                                                               CLEVELAND       OH    44104‐5320
CLEO JOHNSON                                     1282 DUNCAN ST                                                                               YPSILANTI       MI    48198‐5925
CLEO L WILSON                                    1009 KIRKWOOD CIRCLE                                                                         CAMDEN          SC    29020‐2639
CLEO N BLACK TR CLEO N BLACK TRUST UA 08/16/83   2161 EAST DARTMOUTH PLACE                                                                    ENGLEWOOD       CO    80110‐3056

CLEO P FARRIS                                   22 IRVINE TURNER BLVD                                                                         NEWARK          NJ    07103‐2900
CLEO PENNINGTON                                 5252 CYRSTAL DR                                                                               FAIRFIELD       OH    45014‐3831
CLEO PHILLIPS                                   48445 ST ROUTE 303                                                                            WELLINGTON      OH    44090‐9713
CLEO RUCK JR                                    3810 KINGS CT                                                                                 OKLAHOMA CITY   OK    73121‐2045
CLEO S KEMERLY                                  832 W FOURTH ST                                                                               GREENFIELD      IN    46140‐2001
CLEO SMITH                                      2834 CITROCADO RANCH ST                                                                       CORONA          CA    92881‐3588
CLEO T EVANS                                    7010 PHOENIX NE                      APT 210                                                  ALBUQUERQUE     NM    87110‐3559
CLEO TODD                                       723 PARALLEL                                                                                  KANSAS CITY     KS    66101
CLEO V HILTS                                    6126 FALKENBURY RD                                                                            NORTH BRANCH    MI    48461‐9771
CLEO VIERS & JANET L NICHOLSON JT TEN           2439 KLEIST CT                                                                                KEEGO HARBOR    MI    48320‐1432
CLEO WYLIE                                      60 HILL                                                                                       RIVER ROUGE     MI    48218‐1537
CLEO Y BELL                                     296 LYCOMING RD                                                                               ROCHESTER       NY    14623‐4730
CLEODELL D THROWER                              3809 LYNN CT                                                                                  FLINT           MI    48503‐4543
CLEODIA MYLES                                   328 W BAKER STREET                                                                            FLINT           MI    48505‐4103
CLEON A SHORE                                   311 REAGAN DR                                                                                 LANSING         KS    66043‐1737
CLEON DEOLIVEIRA                                1905 OAK LANE ROAD                                                                            WILMINGTON      DE    19803‐5237
CLEON M FEASTER                                 4632 RAMBO LN                                                                                 TOLEDO          OH    43623‐3930
CLEON R HUBBARD                                 606 MARSHALL CT                                                                               CHICO VECINO    CA    95973‐8773
CLEONE GRACE SHAUGHENCY                         4495 N 900 EAST                                                                               BROWNSBURG      IN    46112
CLEONE K HAWORTH                                31951 CALLE CABALLOS                                                                          TEMECULA        CA    92592‐6712
CLEONICIA M TOCCO                               360 OHIO STREET                                                                               LOCKPORT        NY    14094‐4218
CLEONICIA M TOCCO & JOHN TOCCO JT TEN           360 OHIO STREET                                                                               LOCKPORT        NY    14094‐4218
CLEOPATRA BOLDS                                 3502 FLEMING RD                                                                               FLINT           MI    48504‐2109
CLEOPHAS GAY                                    1220 AVE B                                                                                    FLINT           MI    48503‐1416
CLEOPHAS JOHN LEGRAND & FREEDA V LEGRAND JT TEN 11507 COLONIAL WOODS DR                                                                       CLIO            MI    48420‐1572

CLEOPHIUS BOHLAR                                 8843 TERRY                                                                                   DETROIT         MI    48228‐2341
CLEOPHUS CLARK                                   18411 SANTA BARBARA DR                                                                       DETROIT         MI    48221‐2147
CLEOPHUS DAVIS                                   105 PAYEN CHAPEL ROAD                                                                        MORRILTON       AR    72110‐9065
CLEOPHUS HIGGINS                                 1805 W CADILLAC CT                                                                           KOKOMO          IN    46902‐2536
CLEOPHUS ROYSTER                                 1500 TAIT RD                                                                                 WARREN          OH    44481‐9644
CLEORA P INGRAM                                  10390 CARLISLE PIKE                                                                          GERMANTOWN      OH    45327‐8736
CLEORA R DICRISTINA                              15911 LEMARSH ST                                                                             NORTH HILLS     CA    91343‐1411
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 830 of 850
Name                                                Address1                              Address2             Address3          Address4          City               State Zip

CLEOTA M MISHMASH TR DECLARATION OF TRUST UA        19407 S STATE RTE Y                                                                            BELTON             MO    64012‐9617
09/19/95
CLEOTHA SMALL                                       2225 STEWART AVE                                                                               KANSAS CITY        KS    66104‐4640
CLEOTHA STEWART                                     915 S BLAINE ST                                                                                MUNCIE             IN    47302‐2628
CLEOTHA WILSON JR                                   3618 BUCKINGHAM                                                                                DETROIT            MI    48224‐3535
CLEOTHES CRAWFORD                                   4267 HWY 190 E                                                                                 PINE BLUFF         AR    71602‐8414
CLESSEN H MECHAM                                    9800 YANK GULCH RD                                                                             TALENT             OR    97540‐7780
CLESTER B HORTON                                    427 E ELM ST                                                                                   MASON              MI    48854‐1721
CLESTER BUTLER                                      903 E INDIANA AVE                                                                              SUMMITVILLE        IN    46070‐9748
CLESTER C IVORY                                     10718 E 95TH TERRACE                                                                           KANSAS CITY        MO    64134‐2303
CLESTER L PREWITT                                   13641 DEXTER AVE APT 304                                                                       DETROIT            MI    48238‐2668
CLESTER V ESTEP                                     9683 CRANSTON RD                                                                               MOREHEAD           KY    40351‐9519
CLESTON MIRACLE                                                                                                                                    KETTLE ISLAND      KY    40958
CLETA F ROBERTS                                     6355 S KARNS RD                                                                                WEST MILTON        OH    45383‐8764
CLETA MARIE MCGERVEY                                161 BROOKFIELD ROAD                                                                            AVON LAKE          OH    44012
CLETIS F SEXTON                                     14 DAISY BLVD                                                                                  BELLEVILLE         MI    48111‐2936
CLETIS K EARL                                       4555 E STATE RD #236                                                                           MIDDLETOWN         IN    47356‐9207
CLETIS L MELEAR                                     815 NORTHFIELD                                                                                 PONTIAC            MI    48340‐1334
CLETTUS HARRIS                                      1162 ECKMAN                                                                                    PONTIAC            MI    48342‐1933
CLETUS A BARGA JR                                   9243 BEAVER DAM RD                                                                             CANEYVILLE         KY    42721‐9025
CLETUS A FITZGERALD                                 50 COUNTY ROAD 586                                                                             CULLMAN            AL    35055‐9037
CLETUS A MARSHALL                                   PO BOX 89                                                                                      SOUTH VIENNA       OH    45369‐0089
CLETUS A WALDMILLER & ELIZABETH A WALDMILLER JT     4611 CHAMPAGNE DRIVE                                                                           GREENSBORO         NC    27410‐9646
TEN
CLETUS D GOODMAN                                    1793 OGLESBEE RD                                                                               WILMINGTON         OH    45177‐9487
CLETUS E CLEMENTS                                   404 17TH AVE N                                                                                 BANGOR             WI    54614‐8740
CLETUS F THORNTON                                   7011 ANTIOCH ROAD                                                                              HAZELHURST         MS    39083‐9311
CLETUS H BECK                                       111 NORTHVIEW DRIVE                                                                            COLLENSVILLE       IL    62234‐4746
CLETUS J BOARD                                      1335 GRANGER RFD 2                                                                             ORTONVILLE         MI    48462‐8943
CLETUS L PERRITT                                    1173 ZINNEA ST                                                                                 PORT CHARLOTTE     FL    33952‐1539
CLETUS MERGY JR                                     405 SOUTH D STREET                                                                             HAMILTON           OH    45013‐3332
CLETUS N NICODEMUS SR                               378 PALMETTO RD                                                                                LEWISBURG          TN    37091‐4931
CLETUS R BRACKBILL & MRS HELEN D BRACKBILL JT TEN   19 SUN RISE AVE                                                                                LANCASTER          PA    17601‐3941

CLETUS R KNIGHT                                     6104 CUTHBERT                                                                                  WHITE LAKE         MI    48386‐1006
CLETUS SKALMOWSKI                                   4850 PRESTON                                                                                   HOWELL             MI    48843‐9368
CLEVE A GRAHAM                                      613 GILL AVE                                                                                   PORT HUENEME       CA    93041‐2850
CLEVE A SKELTON & BARBARA A SKELTON JT TEN          734 ROUND HILL RD                                                                              INDIANAPOLIS       IN    46260‐2918
CLEVE ANTHONY SKELTON                               734 ROUND HILL RD                                                                              INDIANAPOLIS       IN    46260‐2918
CLEVE C NASH & ELLIS B NASH TR THE NASH TRUST UA    265 RAMETTO RD                                                                                 SANTA BARBARA      CA    93108‐2328
08/17/90
CLEVE CORNELISON                                    8360 BROWNSTONE DR                                                                             CINCINNATI         OH    45241‐1482
CLEVE G WALLACE                                     5506 STICKNEY AVE                                                                              CLEVELAND          OH    44144‐3873
CLEVE L WALLACE                                     5517 STICKNEY AVE                                                                              CLEVELAND          OH    44144‐3874
CLEVE R PURGASON                                    25021 HALL DR                                                                                  WESTLAKE           OH    44145‐4921
CLEVE S WILLIAMS III                                36773 LAMARRA DRIVE                                                                            STERLING HEIGHTS   MI    48310‐4575

CLEVE WYATT JR                                      7296 VIRGINIA DR                                                                               RAVENNA            OH    44266‐8914
CLEVELAND A ALBERTIE                                1635 CLIFFS LNDG APT 202D                                                                      YPSILANTI          MI    48198‐7308
CLEVELAND B HOLLOWAY JR                             1309 OVERLAND DR                                                                               ROCK SPRINGS       WY    82901‐4567
CLEVELAND CLARK JR                                  6643 IRONBOUND BAY AVE                                                                         LAS VEGAS          NV    89139
CLEVELAND GADDIS                                    38 RYLAND DR                                                                                   PALM COAST         FL    32164‐6471
CLEVELAND HOUSTON                                   252 ORCHARD LAKE ROAD                                                                          PONTIAC            MI    48341‐2139
CLEVELAND J FOOTE                                   306 MCKINLEY ST                                                                                LAFAYATTE          LA    70501‐8426
CLEVELAND M JACKSON                                 C/O MAYNARD LJACKSON                  PO BOX 21481                                             DETROIT            MI    48221
CLEVELAND M ROWLEY JR                               135 AMANDA COURT                                                                               STOCKBRIDGE        GA    30281
CLEVELAND MAZE                                      1236 DORROLL ST NE                                                                             GRAND RAPIDS       MI    49505‐4320
CLEVELAND MOFFETT                                   10 AV JEF LAMBEAUX                    1060 BRUSSELS                          BELGIUM
CLEVELAND PALMER                                    3513 BEATTY AVENUE                                                                             SANDUSKY           OH    44870‐8002
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 831 of 850
Name                                                Address1                              Address2              Address3         Address4          City               State Zip

CLEVELAND PENDERGRASS                               709 10TH AVE                                                                                   MIDDLETOWN         OH    45044‐5501
CLEVELAND TAYLOR                                    511 WILLIAM ST                                                                                 BUFFALO            NY    14206‐1539
CLEVELAND TERRELL & MRS ETHEL LEE TERRELL JT TEN    4033 W CULLERTON AVE                                                                           CHICAGO            IL    60623‐2845

CLEVELAND TIMES                                     268 AUBURN AVE                                                                                 PONTIAC            MI    48342‐3011
CLEVESTER FELIX RISON                               PO BOX 7                                                                                       MOUNT MORRIS       MI    48458‐0007
CLEWIS RICHARDSON                                   166 GRANDVIEW BLVD                                                                             PONTIAC            MI    48342‐2414
CLEXIE LAMPTON                                      113 VANIEL HOLMES RD                                                                           TYLERTOWN          MS    39667‐6255
CLFFORD BASSETT                                     535 E 86TH ST #6J                                                                              NEW YORK           NY    10028‐7533
CLIDE A CARTER                                      1501 COTTAGE AVE                                                                               MIDDLETOWN         IN    47356‐1119
CLIDE HOWARD                                        509 WEST BUNDYAVENUE                                                                           FLINT              MI    48505‐5904
CLIF L INGALLS                                      216 E WASHINGTON                                                                               SAINT LOUIS        MI    48880‐1776
CLIFF B CARBO                                       44 MAPLE RIDGE RD                                                                              WESTBROOK          CT    06498‐1965
CLIFF BAIRD & RYAN J LAMBERSON JT TEN               105 TATE CT                                                                                    SPRING HILL        TN    37174‐2853
CLIFF GUMEDES                                       27‐10 30TH AVE                                                                                 LONG ISLAND CITY   NY    11102‐2401

CLIFF H WARNER & MRS JANAKI WARNER JT TEN        13503 W WHITEWOOD DR                                                                              SUN CITY WEST      AZ    85375‐5842
CLIFF IRVING                                     C/O CLIFF IRVING PLUMBING &              HEATING               PO BOX 131                         E SANDWICH         MA    02537‐0131
CLIFF L MARLER                                   10109 CASA LINDA                                                                                  OKLAHOMA CITY      OK    73139‐5414
CLIFF NAUSS                                      9444 LANGE RD                                                                                     BIRCH RUN          MI    48415‐8470
CLIFF ROBERT SILVER                              314 MILL RD                                                                                       HAVERTOWN          PA    19083‐3739
CLIFF SPELKE                                     75 GRENT OAKS                                                                                     EAST HILLS         NY    11577
CLIFF WILLIAMS                                   5145 GREENWATER DR                                                                                WILLIS             TX    77318
CLIFFODEAN THOMPSON                              618 CARMACK AVE                                                                                   CARTHAGE           TN    37030‐1139
CLIFFORD A BAILEY                                24558 LINCOLN CT                         APT 126                                                  FARMINGTN HLS      MI    48335‐1634
CLIFFORD A BLACK                                 PO BOX 306                                                                                        CLAYTON            DE    19938‐0306
CLIFFORD A BOOKOUT                               438 FLAT ROCK RD                                                                                  STOCKBRIDGE        GA    30281‐4046
CLIFFORD A BUEHRER & CHRISTINE A BUEHRER TEN ENT 1270 GROSVENOR HWY                                                                                PALMYRA            MI    49268‐9732

CLIFFORD A COMFORT TR CLIFFORD A COMFORT TRUST      16271 MCNEFF RD                                                                                BOKEELIA           FL    33922‐1665
UA 05/20/92
CLIFFORD A CRATER                                   902 N ATLANTA CIRCLE                                                                           SEAFORD            DE    19973
CLIFFORD A FARGO                                    4704 POE RD                                                                                    MEDINA             OH    44256‐9745
CLIFFORD A FRAZIER                                  3971 VALACAMP S E                                                                              WARREN             OH    44484‐3316
CLIFFORD A HARLICK JR & MARILYNN E HARLICK JT TEN   5701 SW 57TH CT                                                                                OCALA              FL    34474‐7695

CLIFFORD A HEATON & MINERVA L HEATON JT TEN         400 BRYANT CIRCLE DR                                                                           PRINCETON          IL    61356‐2340

CLIFFORD A HUDSON & DOROTHY B HUDSON JT TEN         338 DAFFODIL DRIVE                                                                             FRUITLAND PARK     FL    34731‐6755

CLIFFORD A KRAUSE                                   24055 STANFORD                                                                                 DEARBORN HEIGHTS MI      48125‐1909

CLIFFORD A MAZZONI                                  11329 SCIPIO HIGHWAY                                                                           VERMONTVILLE       MI    49096‐9702
CLIFFORD A MENSCH                                   8673 E B AVE                                                                                   RICHLAND           MI    49083‐9524
CLIFFORD A MILLER                                   539 COUNTY ROUTE 1                                                                             FORT COVINGTON     NY    12937‐2805
CLIFFORD A MUELLER                                  5375 SILVER CREEK DR SW                                                                        LILBURN            GA    30047‐5360
CLIFFORD A NIXON                                    18700 BRADY RD                                                                                 OAKLEY             MI    48649‐9787
CLIFFORD A PAGE                                     4120 COVERT RD                                                                                 LESLIE             MI    49251
CLIFFORD A PENCE JR                                 2872 WHISPERING OAKS CT                                                                        BUFFALO GROVE      IL    60089‐6335
CLIFFORD A PERRY                                    13037 PORTSMOUTH XING ST                                                                       PLYMOUTH           MI    48170‐2962
CLIFFORD A PIERCE                                   9425 HOLLAND RD                                                                                TAYLOR             MI    48180‐3055
CLIFFORD A PULTZ                                    49 FISHERS MINE ROAD                                                                           PORT MURRAY        NJ    07865‐3201
CLIFFORD A SHORT TR CLIFFORD A SHORT REVOCABLE      3210 BRECKENRIDGE DR                                                                           INDIANAPOLIS       IN    46228‐2832
TRUSTUA 11//11/97
CLIFFORD A SMITH                                    5316 LINDA LN                                                                                  ANDERSON           IN    46011‐1424
CLIFFORD A STRIMPLE & RUTH STRIMPLE JT TEN          1504 CHERRY DR                                                                                 BURLINGTON         NC    27215‐3310
CLIFFORD A THOMPSON                                 5863 HAMILTON MASON RD                                                                         HAMILTON           OH    45011‐9723
CLIFFORD A ZILL                                     LOT 168                               5229 W MICHIGAN AVE                                      YPSILANTI          MI    48197‐9177
CLIFFORD ADMIRAL SKINNER III                        425 PINEWOOD DR                                                                                SAN RAFAEL         CA    94903‐1331
                                              09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 832 of 850
Name                                               Address1                              Address2             Address3          Address4          City              State Zip

CLIFFORD ANDREW GOOSTREE JR                        6605 HYACINTH LANE                                                                             DALLAS            TX    75252‐5918
CLIFFORD ATKESON                                   303 GLASSFORD                                                                                  CAPAC             MI    48014‐3014
CLIFFORD B CARLSON                                 243 DINO ROAD                                                                                  FORESTVILLE       CT    06010‐7890
CLIFFORD B FASH & JUNE FASH JT TEN                 11 HORTON ST                                                                                   MALVERNE          NY    11565‐1510
CLIFFORD B HATCH & NANCY C HATCH JT TEN            33 BARTLETT ST                                                                                 PORTLAND          ME    04103‐1703
CLIFFORD B JOHNSON                                 21 SEYMOUR ST                                                                                  EDISON            NJ    08817‐3561
CLIFFORD B LOW                                     424 AIRPORT BLVD                                                                               WATSONVILLE       CA    95076‐2002
CLIFFORD B MAC DONALD                              171 SAGEWOOD TERR                                                                              BUFFALO           NY    14221‐4717
CLIFFORD B THOMAS & MRS MYRNA V THOMAS JT TEN      1142 ARMSTRONG COURT                                                                           DERBY             KS    67037‐2804

CLIFFORD B YANKE                                   19 WELLWYN DR                                                                                  PORTLAND          CT    06480‐1728
CLIFFORD BLACK                                     17187 MARK TWAIN                                                                               DETROIT           MI    48235‐3901
CLIFFORD BOOTH                                     5466 LIPPINCOTT BLVD                                                                           BURTON            MI    48519‐1250
CLIFFORD BOWER                                                                                                                                    CURLEW            IA    50527
CLIFFORD C ARNOTT                                  125 WILLIAMS STREET                                                                            SHERRILL          NY    13461‐1048
CLIFFORD C BAIRD & BRANDON C LAMBERSON JT TEN      105 TATE CT                                                                                    SPRING HILL       TN    37174‐2853

CLIFFORD C BAIRD & KATHERINE LAMBERSON JT TEN      105 TATE COURT                                                                                 SPRING HILL       TN    37174

CLIFFORD C CASE & JANA LOU CASE JT TEN             337 N MAGNOLIA                                                                                 LANSING           MI    48912‐3120
CLIFFORD C CULBRETH                                1240 PANDORA DR SE                                                                             LOS LUNAS         NM    87031‐6178
CLIFFORD C DAVIS & PATRICIA R DAVIS JT TEN         10928 PETER AVENUE                                                                             HUDSON            FL    34667‐5833
CLIFFORD C DUFF & BARBARA J DUFF JT TEN            2942G W HIGGINS LAKE DR                                                                        ROSCOMMON         MI    48653‐9273
CLIFFORD C FARROW                                  55232 ORCHARD LANE                                                                             PAW PAW           MI    49079‐9337
CLIFFORD C JAHNER CUST SEAN CLIFFORD JAHNER        42813 CINEMA                                                                                   LANCASTER         CA    93534‐6228
UTMA CA
CLIFFORD C JORDAN JR                               C/O GAIL JORDAN THOMPSON              147 WOODLAWN DRIVE                                       AUBURN            GA    30011‐3221
CLIFFORD C LINGSCH                                 120 PICARDY CT                                                                                 NAPLES            FL    34112
CLIFFORD C MITCHELL JR                             5233 CEMETERY RD                                                                               BOWLING GREEN     KY    42103‐9744
CLIFFORD C MITCHELL JR & KAREN J MITCHELL JT TEN   5233 CEMETERY RD                                                                               BOWLING GREEN     KY    42103‐9744

CLIFFORD C MUCHOW                                 1555 W FRANCIS RD                                                                               EVANSVILLE        WI    53536
CLIFFORD C PAYNE                                  2241 E HOME RD                                                                                  SPRINGFIELD       OH    45503‐2518
CLIFFORD C PETERSON & ELIZABETH M PETERSON JT TEN 440 BOHLKEN DR                                                                                  HASTINGS          MN    55033‐3801

CLIFFORD CARSON MCCORD                             2633 S 450 E                                                                                   ANDERSON          IN    46017‐9779
CLIFFORD CARTER SR                                 14845 FREELAND                                                                                 DETROIT           MI    48227‐2906
CLIFFORD CHARLES ROGERS                            129 W MCPHERSON HW 17N                                                                         CLYDE             OH    43410
CLIFFORD CIECHOSKI EX EST JOSEPH CIECHOSKI         PO BOX 4884                                                                                    WINTER PARK       FL    32793‐4884
CLIFFORD COLLIER                                   600 TISDALE ST                        PO BOX 12                                                JACKSON           SC    29831‐0012
CLIFFORD D BAUMGARDNER                             PO BOX 91                                                                                      AU GRES           MI    48703‐0091
CLIFFORD D BROWN                                   24408 KENSINGTON                                                                               FARMINGTON HILS   MI    48335‐2187

CLIFFORD D CARTER                                  9630 CHESTNUT LANE                                                                             MUNSTER           IN    46321‐3806
CLIFFORD D CHAMBERS & ROBERT E DAVIDSON TR UW      FIRST CHRISTIAN CHURCH TREAS          760 RICHMOND RD                                          BEREA             KY    40403‐1059
RUSSELL CHARLES MOORE
CLIFFORD D COOK                                    PO BOX 747                                                                                     ARAGON            GA    30104‐0747
CLIFFORD D EDWARDS & PAMELA M EDWARDS JT TEN       58 INLET TER                                                                                   BELMAR            NJ    07719‐2150

CLIFFORD D FRANKLIN                            1696 KENMORE DR                                                                                    MANSFIELD         OH    44906‐2339
CLIFFORD D FULGIAM                             4437 WAYBURN ST                                                                                    DETROIT           MI    48224‐3223
CLIFFORD D GOOKIN JR CUST AMANDA J GOOKIN UGMA PO BOX 265                                                                                         GEORGETOWN        CT    06829‐0265
NY
CLIFFORD D HARVEY                              645 S SMITH RD                                                                                     EATON RAPIDS      MI    48827‐8340
CLIFFORD D HARWELL                             8042 DUNGARVIN                                                                                     GRAND BLANC       MI    48439‐8161
CLIFFORD D ISCH                                4250 SNODGRASS RD                                                                                  MANSFIELD         OH    44903‐8929
CLIFFORD D LIDDELL                             5455 COLUMBIAVILLE RD                                                                              COLUMBIAVILLE     MI    48421‐8710
CLIFFORD D MACDONALD                           97 LIBERTY ST                                                                                      MERIDEN           CT    06450‐5616
CLIFFORD D SMITH JR                            17607 S E 297TH PLACE                                                                              KENT              WA    98042‐5713
                                                09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 833 of 850
Name                                              Address1                              Address2             Address3          Address4          City           State Zip

CLIFFORD D STEWART TR CLIFFORD D STEWART LIVING   PO BOX 874                                                                                     EAST JORDAN    MI    49727‐0874
TRUST UA 09/20/06
CLIFFORD D STROUD                                 3499 SCENIC DRIVE                                                                              EAST POINT     GA    30344‐5835
CLIFFORD D SWANK                                  6337 E DODGE RD                                                                                MOUNT MORRIS   MI    48458‐9716
CLIFFORD D WILMOTH                                8217 BROWNVILLE LANE                                                                           BETHANY        OK    73008‐3038
CLIFFORD DANIEL                                   2744 COLLINGWOOD                                                                               DETROIT        MI    48206‐1473
CLIFFORD E ANTHONY                                593 SHUPE AVE                                                                                  AMHERST        OH    44001‐2350
CLIFFORD E BALL                                   3174 LYNWOOD DR                                                                                WARREN         OH    44485‐1307
CLIFFORD E BIDDLE                                 23385 LAMONG ROAD                                                                              SHERIDAN       IN    46069‐9108
CLIFFORD E CASE & MARILYN S CASE JT TEN           44165 CRANBERRY                                                                                CANTON         MI    48187‐1945
CLIFFORD E DAVIS                                  4503 NASHVILLE HWY                                                                             DEER LODGE     TN    37726‐3409
CLIFFORD E DILL                                   218 GROSBEAK LN                                                                                NAPLES         FL    34114‐3013
CLIFFORD E DYER                                   RR 2 89                                                                                        ALBANY         KY    42602‐9504
CLIFFORD E FAGO                                   5109 COWELL BLVD                                                                               DAVIS          CA    95618
CLIFFORD E GILCHRIST                              331 QUIMBY ST                                                                                  SHARON         PA    16146‐1952
CLIFFORD E HARDING                                8088 SPRINGER ORCHARD RD                                                                       LYLES          TN    37098‐1847
CLIFFORD E HARROD SR                              PO BOX 1144                                                                                    COEBURN        VA    24230‐1144
CLIFFORD E HARTZFELD                              250 FLETCHER ST                                                                                TONAWANDA      NY    14150‐2018
CLIFFORD E JEWELL                                 2228 MANN RD                                                                                   CHEBOYGAN      MI    49721‐9246
CLIFFORD E JONES                                  10131 ST RT 28 W                                                                               NEW VIENNA     OH    45159‐9663
CLIFFORD E JONES                                  11197 STONEY BROOK DR                                                                          GRAND LEDGE    MI    48837‐9185
CLIFFORD E KING                                   6360 MANSON DR                                                                                 WATERFORD      MI    48329‐3034
CLIFFORD E KOCH                                   367 SO WOODSIDE DR                                                                             ALDEN          NY    14004‐9550
CLIFFORD E LAFAVE                                 4559 EAST SUGAR RIVER ROAD            LEGR                                                     ALGER          MI    48610
CLIFFORD E LOEB & JANET RUTH LOEB JT TEN          130 ANTWERP                                                                                    BROOKVILLE     OH    45309‐1321
CLIFFORD E MAYS                                   644 FAIRMOOR PLACE                                                                             COLUMBUS       OH    43228‐2113
CLIFFORD E MILNER JR                              1763 WINTON RD NORTH                                                                           ROCHESTER      NY    14609‐3357
CLIFFORD E MILNER JR & MRS MARILYN A MILNER JT    1763 WINTON ROAD NORTH                                                                         ROCHESTER      NY    14609‐3357
TEN
CLIFFORD E OLSEN                                  E 1508 27TH AVE                                                                                SPOKANE        WA    99203‐3816
CLIFFORD E PIERSON                                17 PARKWOOD RD                                                                                 WINTER HAVEN   FL    33881‐2627
CLIFFORD E RAINBOLT                               PO BOX 504                                                                                     EMINENCE       MO    65466‐0504
CLIFFORD E RANDEL                                 RR1                                                                                            INDIANOLA      NE    69034‐9801
CLIFFORD E ROSSER                                 106 SANDPIPER BLVD                                                                             ST AUGUSTINE   FL    32080‐6757
CLIFFORD E SARRATT                                2008 JEBS CT NW                                                                                KENNESAW       GA    30144‐2867
CLIFFORD E SCHWEMM & HAZEL SCHWEMM JT TEN         832 VERIDIAN WAY                                                                               CARY           IL    60013‐3234

CLIFFORD E SMITH & DIANA L SMITH JT TEN           8340 W US 223                                                                                  ADRIAN         MI    49221‐9440
CLIFFORD E SOLOMON                                14404 CRAIG                                                                                    GRANDVIEW      MO    64030‐4130
CLIFFORD E SWENA                                  2331 S LAUREL AVE                                                                              SPRINGFIELD    MO    65807‐8104
CLIFFORD E WARD                                   3400 WEST COMMUNITY DR                                                                         MUNCIE         IN    47304‐5459
CLIFFORD E WARE                                   9124 W 49TH TERR                                                                               MERRIAM        KS    66203‐1744
CLIFFORD E WILCOX                                 4133 VINA VILLA AVE                                                                            DAYTON         OH    45417‐1162
CLIFFORD E WILSON                                 ROUTE 1                                                                                        KALKASKA       MI    49646‐9801
CLIFFORD EARL LEHMAN                              5737 N SR 67                                                                                   MUNCIE         IN    47303‐9520
CLIFFORD EDWARDS                                  604 S OGDEN AVE                                                                                COLUMBUS       OH    43204
CLIFFORD ELWOOD SMITH                             204 PERSHING AVE                                                                               PHILLIPSBURG   NJ    08865‐4044
CLIFFORD EUGENE BURNS                             13554 KANSAS AVE                                                                               ASTATULA       FL    34705‐9300
CLIFFORD F ADAMS & JESSICA L ADAMS JT TEN         7447 IVY HILLS PL                     APT 201                                                  CINCINNATI     OH    45244‐3072
CLIFFORD F BARBER                                 128 CHRISTIE LEA DR                                                                            OPELOUSAS      LA    70570‐6896
CLIFFORD F KING                                   118 RICHMOND TOWNHOUSE RD                                                                      CAROLINA       RI    02812‐1036
CLIFFORD F MC CARTNEY                             26600 BURG RD                         APT 442                                                  WARREN         MI    48089‐3591
CLIFFORD F MCMASTER                               5652 WEDGMONT CIR                                                                              FORT WORTH     TX    76133‐2802
CLIFFORD F MIOTKE TR UA 09/19/2007 CLIFFORD F     5595 MOUNTAIN DR                                                                               BRIGHTON       MI    48116
MIOTKE REVOCABLE TRUST
CLIFFORD FAULKS                                   2947 FULLERTON                                                                                 DETROIT        MI    48238‐3301
CLIFFORD FNDTN                                    C/O CLIFFORD L BROWN III              BOX 1001                                                 CORSICANA      TX    75151‐1001
CLIFFORD G AMBLER                                 3823 LEE STREET                                                                                ANDERSON       IN    46011‐5036
CLIFFORD G BABCOCK                                4050 EDGEWOOD DR                                                                               LORAIN         OH    44053‐2622
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 834 of 850
Name                                              Address1                               Address2             Address3          Address4          City               State Zip

CLIFFORD G BABCOCK & JOSEPHINE M BABCOCK JT TEN 4050 EDGEWOOD DRIVE                                                                               LORAIN             OH    44053‐2622

CLIFFORD G BORCHARDT                              4530 N WILSON DR                       APT 2                                                    MILWAUKEE          WI    53211‐1345
CLIFFORD G BRACKETT                               301 DOREMUS                                                                                     WATERFORD          MI    48328‐2823
CLIFFORD G COGGIN SR & GRACE J COGGIN JT TEN      916 BERWICK TRL                                                                                 MADISON            TN    37115‐4905

CLIFFORD G MOON III                           41 INDIAN SPRING RD                                                                                 WOODSTOCK          CT    06281‐2604
CLIFFORD G MOST                               PO BOX 422                                                                                          FLUSHING           MI    48433‐0422
CLIFFORD G PIKE                               PO BOX 517                                                                                          INTERLOCHEN        MI    49643‐0517
CLIFFORD G POTTER                             8 PIN OAK DR                                                                                        CONWAY             AR    72034‐3413
CLIFFORD G WALTERS                            PO BOX 116                                                                                          ATLAS              MI    48411‐0116
CLIFFORD GETER                                210 BASSEDENA CIR N                                                                                 LAKELAND           FL    33805‐2809
CLIFFORD GUIDRY                               929 LAUREL ST                                                                                       LA MARQUE          TX    77568‐5411
CLIFFORD H BENNETT                            21418 PALLISTER ST                                                                                  ST CLR SHORES      MI    48080‐1744
CLIFFORD H GILES                              3414 N BELT LINE RD                        APT 2010                                                 IRVING             TX    75062‐9044
CLIFFORD H GUENTHER & MRS MARGARET L GUENTHER 18003 N 137TH DR                                                                                    SUN CITY WEST      AZ    85375‐5272
JT TEN
CLIFFORD H HENNING                            9200 E FOREST                                                                                       DETROIT            MI    48214‐1309
CLIFFORD H KERN 3RD                           1309 RICHLAND AVENUE                                                                                METAIRIE           LA    70001‐3634
CLIFFORD H RUBLE JR                           783 SHIRLEY DRIVE                                                                                   TIPP CITY          OH    45371‐3100
CLIFFORD H SMITH                              400 SW STONEWOOD COURT                                                                              BLUE SPRINGS       MO    64014‐4563
CLIFFORD H VANNATTA                           W5385 ETIERS WAY                                                                                    NEW LISBON         WI    53950‐9697
CLIFFORD H WANTJE & BARBARA ANN WANTJE JT TEN 4949 DEER CREEK CIR 8                                                                               WASHINGTON         MI    48094‐4212

CLIFFORD H WILSON                                 3856 BASSWOOD                                                                                   HOWLAND TOWNS      OH    44483‐2312

CLIFFORD HARTER OAKLEY                            128 STAFFORD AVE                                                                                MANAHAWKIN         NJ    08050‐3153
CLIFFORD HARVEY HART                              5412 PINNACLE CT                                                                                ANN ARBOR          MI    48108‐8663
CLIFFORD HUNTER JR & PATRICIA A HUNTER JT TEN     1939 WINDY HILL CT S                                                                            LAFAYETTE          IN    47905‐5582

CLIFFORD I EATON & BEVERLY J EATON TR EATON TRUST 1912 BX 13 LAS PALMAS                                                                           LAUGHLIN           NV    89029
UA 07/27/94
CLIFFORD I OYAMA & KATHLEEN KAREN OYAMA TR        2153 W 22 PLACE                                                                                 YUMA               AZ    85364‐8860
OYAMA FAM TRUST UA 02/25/91
CLIFFORD J BANKS                                  5317 EFFINGHAM S E                                                                              KENTWOOD           MI    49508‐6307
CLIFFORD J BEAUDOIN                               1593 AUBIN RD                          WINDSOR 15 ON                          N8Y 4G1 CANADA
CLIFFORD J BILLINGSLY JR                          206 RIVER DR                                                                                    CARROLLTON         GA    30117‐2125
CLIFFORD J COLE                                   1011 S CHURCH ST                                                                                SAINT JOHNS        MI    48879‐2135
CLIFFORD J COLLINS JR                             43609 FORTNER DRIVE                                                                             STERLING HEIGHTS   MI    48313‐1744

CLIFFORD J COLWELL                                99 MEETINGHOUSE HILL RD                                                                         DURHAM             CT    06422‐2808
CLIFFORD J COLWELL & HEIDI M COLWELL JT TEN       99 MEETINGHOUSE HILL RD                                                                         DURHAM             CT    06422‐2808
CLIFFORD J CROUSE JR                              729 E 31ST                                                                                      ANDERSON           IN    46016‐5419
CLIFFORD J ELLSWORTH                              158SHUNPIKE ROAD                                                                                CROMWELL           CT    06416‐1122
CLIFFORD J FATT & DEBRA A FATT JT TEN             24732 KINGSPOINTE                                                                               NOVI               MI    48375‐2718
CLIFFORD J FITZGERALD                             255 E EL DORADO DRIVE                                                                           SCROGGINS          TX    75480
CLIFFORD J GALVIN & ELAINE H GALVIN JT TEN        449 GREGG ST                                                                                    SHILLINGTON        PA    19607‐1331
CLIFFORD J GLOTZBACH                              PO BOX 232                                                                                      ELWOOD             IN    46036‐0232
CLIFFORD J HACKER                                 509 LANDMARK CT                                                                                 CHESAPEAKE         VA    23322‐6007
CLIFFORD J HELIAS JR                              1628 FARNSWORTH                                                                                 LAPEER             MI    48446‐8600
CLIFFORD J LANNING                                11459 OREGON CIRCLE                                                                             FENTON             MI    48430‐2432
CLIFFORD J LOONEY                                 277 N ILLINOIS AVE                                                                              MANSFIELD          OH    44905‐2543
CLIFFORD J LOVELACE                               25530 WEST ST                          HCR‐1 BOX 1053A                                          MICHIGAMME         MI    49861‐9744
CLIFFORD J LOVELACE                               2 MARTEN TRL                                                                                    FAIRFIELD          PA    17320‐8047
CLIFFORD J MARSH                                  2955 W SETLAK RD                                                                                STANDISH           MI    48658‐9152
CLIFFORD J MC COLLUM                              BOX 342                                210 N MAPLE ST                                           VERNON             MI    48476‐0342
CLIFFORD J MCKINNON                               1376 W ANDERSON                                                                                 LINWOOD            MI    48634‐9730
CLIFFORD J MUELLER TR CLIFFORD J MUELLER TRUST    10066 TANAGER LANE                                                                              CINCINNATI         OH    45215‐1323
08/30/00
                                                09-50026-mg                    Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                             Part 1 of 8 Pg 835 of 850
Name                                                  Address1                                Address2              Address3         Address4          City              State Zip

CLIFFORD J RENN                                       8461 SECOR ROAD                                                                                  LAMBERTVILLE      MI    48144‐9791
CLIFFORD J RICHTER JR                                 622 HARBOUR OAK DR                                                                               EDGEWOOD          MD    21040‐2904
CLIFFORD J SHIVLEY                                    232 MAPLERIDGE ROAD                                                                              BASSETT           VA    24055‐3124
CLIFFORD J SMITH                                      1700 NE 76TH TERRACE                                                                             GLADSTONE         MO    64118‐1913
CLIFFORD J STEPHENS                                   3787 PENINSULAR DR                                                                               GLADWIN           MI    48624‐9742
CLIFFORD J TAYLOR & BEVERLY J TAYLOR JT TEN           105 CUSHING AVE                                                                                  KETTERING         OH    45429‐2603
CLIFFORD J VAN CAMP                                   38 WHITEBROOK RISE                                                                               FAIRPORT          NY    14450‐9365
CLIFFORD J WHITHAM JR & BERNADETTE WHITHAM JT         6311 GRANBY ST                          APT 333                                                  NORFOLK           VA    23505‐4456
TEN TEN COM
CLIFFORD J WILLIAMS                                   2617 CONCORD STREET                                                                              FLINT             MI    48504‐7319
CLIFFORD JACKSON                                      15363 VIA DE NINOS                                                                               MORGAN HILL       CA    95037‐7702
CLIFFORD JAMES ELKINS                                 3156 RANCHO SILVA DR                                                                             SACRAMENTO        CA    95833‐1164
CLIFFORD JAMES FRANKEL JR                             6634 BERYL                                                                                       HOUSTON           TX    77074‐6109
CLIFFORD JOHNSON                                      3804 FOLEY GLEN CIR                                                                              FENTON            MI    48430‐3434
CLIFFORD JOHNSON CUST JAY C JOHNSON UGMA MA           BOX 226                                                                                          WARREN            NH    03279‐0226

CLIFFORD JONES                                        7203 S 92ND EAST AVE                    APT 3                                                    TULSA             OK    74133‐5207
CLIFFORD JOSEPH SCHWERIN                              4940 FLAJOLE RD                                                                                  BENTLEY           MI    48613‐9649
CLIFFORD JULIUS                                       PO BOX 757                                                                                       SPEARFISH         SD    57783‐0757
CLIFFORD K JACKSON                                    3114 MCCLURE                                                                                     FLINT             MI    48506‐2536
CLIFFORD KLINCK & GARY KLINCK TR CHRISTOPHER          BOX 700                                                                                          MC ALLEN          TX    78505‐0700
JAMES KLINCK UA 12/28/77
CLIFFORD KWOK CUST KAREN KWOK UGMA NY                 10968 NW 49TH MANOR                                                                              CORAL SPRINGS     FL    33076
CLIFFORD L ANDERSON                                   5414 S CHRISTIANA AVE                                                                            CHICAGO           IL    60632‐3218
CLIFFORD L AUGUSTINE                                  1519 21ST AVE                                                                                    MELROSE PARK      IL    60160‐1915
CLIFFORD L BROWN                                      PO BOX 113                                                                                       SURVEYOR          WV    25932‐0113
CLIFFORD L BROWN                                      110 HARDIN PL                                                                                    EDGEWATER         FL    32132‐3604
CLIFFORD L BURKE                                      PO BOX 3396                                                                                      CREST LINE        CA    92325‐3396
CLIFFORD L CARLSON & CAROL M CARLSON JT TEN           21317 N VERDE RIDGE DR                                                                           SUN CITY WEST     AZ    85375‐6707

CLIFFORD L CARPENTER                                  2405 LEAMAN TRL                                                                                  LAKE              MI    48632‐8714
CLIFFORD L COOPER                                     70 CUMBERLAND ROAD                                                                               BURLINGTON        VT    05401‐2465
CLIFFORD L CRONEY                                     1249 SMOKES RD                                                                                   ARLINGTON         WA    98223
CLIFFORD L DEAN                                       2040 BERNICE                                                                                     FLINT             MI    48532‐3911
CLIFFORD L DEAN                                       2040 BERNICE AVE                                                                                 FLINT             MI    48532‐3911
CLIFFORD L EDWARDS JR                                 13338 HART                                                                                       HUNTINGTON        MI    48070‐1013
                                                                                                                                                       WOODS
CLIFFORD L ERICKSON                                   6157 NORTH US 23                                                                                 OSCODA            MI    48750‐9716
CLIFFORD L ESHELBY                                    869 S BARNES                                                                                     MASON             MI    48854‐1933
CLIFFORD L HESS                                       162 CATAWBA LANE                                                                                 HARRIMAN          TN    37748
CLIFFORD L JAY & RUTH E JAY JT TEN                    21233 YALE                                                                                       ST CLAIR SHORES   MI    48081‐1872
CLIFFORD L JONES                                      2384 ISLAND HWY                                                                                  CHARLOTTE         MI    48813‐9304
CLIFFORD L KIRKPATRICK                                905 HIGH COUNTRY                        STAR ROUTE BOX 2002                                      JACKSON           WY    83001‐9442
CLIFFORD L KIRKPATRICK & ELOIS I KIRKPATRICK JT TEN   STAR RT BOX 2002                        905 HIGH COUNTRY                                         JACKSON           WY    83001‐9442

CLIFFORD L LEWIS                                      29555 BERMUDA LN                                                                                 SOUTHFIELD        MI    48076‐5222
CLIFFORD L MILLER                                     9173 EAST W AVENUE                                                                               VICKSBURG         MI    49097‐9569
CLIFFORD L PLAVIN                                     410 E 20TH ST                           APT 6G                                                   NEW YORK          NY    10009‐8114
CLIFFORD L REID                                       1330 KING HENRY COURT                                                                            RENO              NV    89503‐3519
CLIFFORD L RICHEAL & ROBERTA RICHEAL JT TEN           10510 WESTERWALD LANE                                                                            CLARENCE          NY    14031‐2322
CLIFFORD L ROOT                                       701 W HENRY ST                                                                                   CHARLOTTE         MI    48813‐1709
CLIFFORD L SAMUELS                                    11025 SHAWNEE TRL                                                                                STANWOOD          MI    49346‐9053
CLIFFORD L SELBY                                      109 BEXHILL CT                                                                                   GREENVILLE        SC    29609‐1403
CLIFFORD L SNELLING                                   3415 GANDER DRIVE                                                                                JEFFERSONVILLE    IN    47130‐8190
CLIFFORD L STEWART                                    203 W 34TH ST                                                                                    WILMINGTON        DE    19802‐2608
CLIFFORD L TALLMAN                                    2163 NICHOLS RD                                                                                  LENNON            MI    48449‐9320
CLIFFORD L WALKER                                     809 BERQUIST DR                                                                                  BALLWIN           MO    63011
CLIFFORD L WHEELER                                    9802 E KILKENNY DRIVE                                                                            BRIGHTON          MI    48116‐6236
CLIFFORD L WORSTENHOLM                                2016 KANSAS AVE                                                                                  FLINT             MI    48506‐3714
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 836 of 850
Name                                              Address1                                Address2                Address3       Address4          City            State Zip

CLIFFORD LAWRENCE BAILEY                          2412 OHIO AVE                                                                                    FLINT           MI    48506‐3866
CLIFFORD LEONG                                    3616 GARNER PLACE                                                                                ENCINITAS       CA    92024‐5504
CLIFFORD LEROY IRWIN & JANET K IRWIN JT TEN       7039 MALLARD WAY                                                                                 PLAINFIELD      IN    46168‐7338
CLIFFORD LOUIS ABBOTT                             24410 CHERNICK                                                                                   TAYLOR          MI    48180‐2112
CLIFFORD M BACHMAN & MRS DORIS M BACHMAN JT       218 E 107TH TERRACE                                                                              KANSAS CITY     MO    64114‐5037
TEN
CLIFFORD M BROCK                                  1536 COLUMBINE DR                                                                                TUPELO          MS    38801‐8493
CLIFFORD M CARLSON                                2814 RANDOLPH ST NE                                                                              MINNEAPOLIS     MN    55418‐2624
CLIFFORD M FERRY & ANNA E FERRY JT TEN            1045 STATE HIGHWAY 64                                                                            TUNAS           MO    65764‐9148
CLIFFORD M HOFFMAN                                30 HILLSIDE DR                                                                                   WHEAT RIDGE     CO    80215
CLIFFORD M KEENER JR                              16107 SILVERCREST DR                                                                             FENTON          MI    48430‐9154
CLIFFORD M LINDAHL & KATHERINE L LINDAHL JT TEN   2830 CLARK RD R R                                                                                HARTLAND        MI    48353‐2617

CLIFFORD M LINTZ                                  534 PARADISE DR                                                                                  BEAVERTON       MI    48612‐8544
CLIFFORD M SMITH                                  12761 S EMERALD AVE                                                                              CHICAGO         IL    60628‐7027
CLIFFORD M SMITH JR                               389 ASPEN LANE                                                                                   LOGANSPORT      IN    46947‐8824
CLIFFORD M SURNCEY                                ATTN LUCILLE H SURNCEY                  809 AMHERST ST                                           BUFFALO         NY    14216‐3134
CLIFFORD M THOMAS                                 11 HIGHLAND DRIVE                                                                                LEDYARD         CT    06339‐1833
CLIFFORD M TOWERY                                 373 BROWN BRIDGE RD                                                                              AUBURN          GA    30011‐3331
CLIFFORD M WALL                                   2576 RIVERSIDE DRIVE                                                                             GREEN BAY       WI    54301‐1950
CLIFFORD M WELLMAN                                6344 PADDINGTON WAY                                                                              ANTIOCH         TN    37013‐1136
CLIFFORD MARCUM                                   3881 BETH ANN DR                                                                                 COLUMBUS        OH    43207‐5304
CLIFFORD MCCLORN                                  3336 POPLAR RIDGE DR                                                                             REX             GA    30273‐2487
CLIFFORD MURAKAMI & YURIKO MURAKAMI JT TEN        1139 S KENMORE AV 6                                                                              LOS ANGELES     CA    90006‐3333

CLIFFORD N KRIEGER                                2009 CAROL DR                                                                                    WILMINGTON      DE    19808‐4806
CLIFFORD N MCLAUGHLIN                             302 GRANT                                                                                        MCDONALD        OH    44437‐1907
CLIFFORD NEIL LATHAM                              2813 E JOPPA RD                                                                                  BALTIMORE       MD    21234
CLIFFORD O BAECHLE                                222 EUCLID AVE                          APT 220                                                  CLEVELAND       OH    44114‐2252
CLIFFORD O COLEMAN                                348 SUDDUTH CIRCLE                                                                               WALTON BEACH    FL    32548‐5125
CLIFFORD O DEERING                                5407 HOOVER AVE APT 342                                                                          DAYTON          OH    45427‐2583
CLIFFORD O DOSS & BARBARA J DOSS JT TEN           1316 ROOSEVELT BLVD                                                                              PORTSMITH       VA    23701‐3620
CLIFFORD O PERKINS                                1980 SW TT HWY                                                                                   KINGSVILLE      MO    64061‐9214
CLIFFORD P JACKSON                                8170 S MERRILL RD                                                                                SAINT CHARLES   MI    48655‐9726
CLIFFORD P JACOBS & SUZANNE JACOBS JT TEN         716 E SUGAR BAY LN                                                                               CEDAR           MI    49621‐8916
CLIFFORD P MILLER                                 106 WEST 19TH ST                                                                                 OAK GROVE       MO    64075‐9240
CLIFFORD P MILLER & IDA L MILLER JT TEN           106 WEST 19TH ST                                                                                 OAK GROVE       MO    64075‐9240
CLIFFORD P SLOAT                                  29 CEDAR ST                                                                                      MINOOKA         IL    60447‐9513
CLIFFORD P WOODRICK                               299 WEST MIDLAND PONT COURT                                                                      MORICHES        NY    11955‐1710
CLIFFORD PARK WORKMAN                             PO BOX 16                               16 OLD LONG COVE ROAD                                    NEW HARBOR      ME    04554‐0016
CLIFFORD R BAKER                                  ATTN DELPH                              1025 MARKET RD                                           TIPTON          IN    46072‐8415
CLIFFORD R CONNELL                                727 CHESTERTON                          OSHAWA ON                              L1H 3J4 CANADA
CLIFFORD R EMANUEL & MARY L EMANUEL JT TEN        230 CATALPA STREET                                                                               DADEVILLE       MO    65635
CLIFFORD R FONG                                   87 ARROYO WAY                                                                                    SAN FRANCISCO   CA    94127‐1805
CLIFFORD R FOY JR                                 68 ORANGEVILLE RD                                                                                GREENVILLE      PA    16125‐9224
CLIFFORD R GAY                                    PO BOX 67                                                                                        BUDA            TX    78610‐0067
CLIFFORD R GREEN                                  11390 N M 37                                                                                     IRONS           MI    49644
CLIFFORD R GROSS                                  PO BOX 59403                                                                                     POTOMAC         MD    20859‐9403
CLIFFORD R HARDIMAN                               285 MIDWAY                                                                                       PONTIAC         MI    48341‐3229
CLIFFORD R HITESHEW                               226 PIPERS LANE                                                                                  MT MORRIS       MI    48458‐8907
CLIFFORD R HOSLER                                 13580 FOREST DRIVE                                                                               CHARLEVOIX      MI    49720‐9294
CLIFFORD R INMAN                                  2143 BATES RD                                                                                    MT MORRIS       MI    48458‐2601
CLIFFORD R KUHL & JAN S KUHL JT TEN               PO BOX 41832                                                                                     AUSTIN          TX    78704‐0031
CLIFFORD R MOSHER                                 35 CLARKE ROAD                                                                                   NEEDHAM         MA    02492‐1333
CLIFFORD R OLMSTEAD                               221 N LAKEVIEW                                                                                   GLADWIN         MI    48624‐8450
CLIFFORD R PHEN                                   1025 CHURCH ST                                                                                   BELOIT          WI    53511‐5435
CLIFFORD R SHEAR                                  4075 GOTFREDSON RD                                                                               PLYMOUTH        MI    48170‐5144
CLIFFORD R SHELTON                                525 JIMMY JOHNSTON RD                                                                            GREENVILLE      TN    37743‐4028
CLIFFORD R WILSON                                 6139 WESTDALE DRIVE                                                                              GRAND BLANC     MI    48439‐8530
                                               09-50026-mg             Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                     Part 1 of 8 Pg 837 of 850
Name                                             Address1                             Address2             Address3          Address4          City               State Zip

CLIFFORD REDMOND & EILEEN CICCONE REDMOND JT     99 CHESTNUT ST                                                                                MASSAPEQUA         NY    11758
TEN
CLIFFORD REITHEL                                 25505 FISCHER RD                                                                              ASHLAND         WI       54806‐9296
CLIFFORD REYNOLDS                                2760 ROCKLEDGE TR                                                                             DAYTON          OH       45430‐1960
CLIFFORD RICHARD JONES                           C/O CHARLENE GLOVER HOGAN            607 SHELBY                                               DETROIT         MI       48226‐3268
CLIFFORD S BRAHM                                 541 WEDGE WAY                                                                                 MASON           OH       45040‐2019
CLIFFORD S DETAMBLE                              5318 BISHOP RD                                                                                DRYDEN TOWNSHIP MI       48428‐9335

CLIFFORD S FORTNEY & LILLIAN A FORTNEY JT TEN    1305 ROOSEVELT PL                                                                             VALPARAISO         IN    46383‐3778
CLIFFORD S GIBSON                                9725 S W 146 ST                                                                               MIAMI              FL    33176‐7828
CLIFFORD S LAWSON                                6608 JACKSON ST                                                                               TAYLOR             MI    48180‐1944
CLIFFORD S MORIYAMA                              2133 DIVINE DR                                                                                MONTEREY PARK      CA    91754‐6325
CLIFFORD S PARSONS                               625 EAST CHAPMAN ROAD                                                                         OVIEDO             FL    32765‐9015
CLIFFORD SCARBERRY                               PO BOX 372                                                                                    FENTON             MI    48430‐0372
CLIFFORD SCOTT ASKREN JR                         22231 CASS ST                                                                                 FARMINGTN HLS      MI    48335‐4749
CLIFFORD SCOTT PERLIS                            10050 CHAPEL ROAD                                                                             POTOMAC            MD    20854‐4141
CLIFFORD SMITH                                   1926 ROOT ST                                                                                  FLINT              MI    48505‐4752
CLIFFORD T BENGIS CUST STEVEN HADLEY BENGIS      4844 E ONYX                                                                                   PARADISE VALLEY    AZ    85253‐1032
UGMA AZ
CLIFFORD T GODDARD                               12 SUSSEX ST                                                                                  BRADFORD           MA    01830
CLIFFORD T NORDEEN                               3030 HEYWARD ST                                                                               COLUMBIA           SC    29205‐2631
CLIFFORD T RAMSTHALER                            43 KENMORE RD                                                                                 EDISON             NJ    08817‐4009
CLIFFORD TERRELL                                 831 RUSHMORE DR                                                                               MURFREESBORO       TN    37129‐4534
CLIFFORD THOMAS HASKELL                          6352 FLUSHING RD                                                                              FLUSHING           MI    48433‐2549
CLIFFORD THOMAS IRWIN                            172 MILLCREEK DR                                                                              CHESTERFIELD       IN    46017‐1702
CLIFFORD U FULLER                                14 CROSSLAND DR                                                                               CONYERS            GA    30012‐3136
CLIFFORD V FERGUSON & JUDITH V FERGUSON JT TEN   11730 MC CORKLE AVE                                                                           CHARLESTON         WV    25315‐1035

CLIFFORD V LONG                                  24 LITTLE JOHN DR                                                                             MEDFORD            NJ    08055‐8534
CLIFFORD V ONDRIAS                               712 NIETLING ST                                                                               CHESANING          MI    48616‐1721
CLIFFORD V TAYLOR                                1328 BETHEL RD                                                                                DECATUR            AL    35603‐5404
CLIFFORD V TIGHE                                 329 BERRY ST                                                                                  WOODBRIDGE         NJ    07095‐3345
CLIFFORD V WILSON                                6200 NW PINERIDGE RD                                                                          PARKVILLE          MO    64152‐3504
CLIFFORD W ATKINSON                              2526 MAY ST                                                                                   CINCINNATI         OH    45206‐1907
CLIFFORD W BECKFORD                              58 DELL AVE                                                                                   MELROSE            MA    02176‐3907
CLIFFORD W DAVIS                                 RR 2 BOX 67A                                                                                  SAYRE              OK    73662‐9538
CLIFFORD W DAVIS                                 3723 VIA PACIFICA WALK                                                                        OXNARD             CA    93035‐2226
CLIFFORD W DOWLER                                1202 NORTH 23RD ST                                                                            PARAGOULD          AR    72450‐2276
CLIFFORD W EICKHOFF                              307 BRECKENRIDGE DRIVE                                                                        HOUGHTON LAKE      MI    48629‐9342
CLIFFORD W GARRETT                               3674 GILLSVILLE HWY                                                                           GILLSVILLE         GA    30543‐2503
CLIFFORD W HOLMES                                2289 HIGHFIELD ROAD                                                                           WATERFORD          MI    48329‐3835
CLIFFORD W HOOD                                  305 BRAZIL DR                                                                                 HURST              TX    76054‐2412
CLIFFORD W JEX JR                                27342 GROBBEL                                                                                 WARREN             MI    48092‐2644
CLIFFORD W KRUKEMEIER & VERA E KRUKEMEIER JT TEN 1332 WICKLOW LANE                                                                             ORMOND BEACH       FL    32174‐2807

CLIFFORD W LARSON                                5477 8TH ST SE                                                                                E WENATCHEE        WA    98802‐9356
CLIFFORD W MCMILLAN                              583 FRANKLIN ST                      BEAVERTON ON                           L0K 1A0 CANADA
CLIFFORD W ROGERS                                8810 E 80TH TERR                                                                              RAYTOWN            MO    64138‐1501
CLIFFORD W SHARP                                 11953 PEAKE RD                                                                                PORTLAND           MI    48875‐8433
CLIFFORD W TURNBOUGH                             5256 SKYLINE CT                                                                               IMPERIAL           MO    63052‐1712
CLIFFORD W WICKE                                 523 ADVENT ST                                                                                 WESTBURY           NY    11590‐1308
CLIFFORD W WOODS JR                              848 VELARE ST                                                                                 ANAHEIM            CA    92804‐4049
CLIFFORD WEAVER                                  480 ELM STREET N W                                                                            ATLANTA            GA    30318‐8544
CLIFFORD WHITESELL & VIOLET WHITESELL JT TEN     101 LEATHERMAN PL                                                                             EATON              OH    45320‐1417

CLIFFORD WILDE                                   22524 DORION STREET                                                                           ST CLAIR SHORES    MI    48082‐2436
CLIFFORD WORTHY JR                               5655 S ADAMS WAY                                                                              BLOOMFIELD HILLS   MI    48302‐4004

CLIFFORD YOUNG                                   4 NORTH WOODLEIGH DRIVE                                                                       CHERRY HILL        NJ    08003‐3144
                                                09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 838 of 850
Name                                              Address1                               Address2             Address3          Address4          City             State Zip

CLIFFTON T HUBBARD                                18227 BIRWOOD                                                                                   DETROIT          MI    48221‐1931
CLIFTON A CHAMBERS                                5502 S ADAMS ST                                                                                 MARION           IN    46953‐6141
CLIFTON A HALL                                    2411 S 13TH AVENUE                                                                              BROADVIEW        IL    60153‐4701
CLIFTON A KOHN                                    1120 N DURKEE ST                                                                                APPLETON         WI    54911‐4804
CLIFTON B BETHUNE                                 401 WINTER RD UNIT 2A                                                                           NEW CASTLE       PA    16101‐1041
CLIFTON B BETHUNE & JEANNIE J BETHUNE JT TEN      401 WINTER RD UNIT 2A                                                                           NEW CASTLE       PA    16101‐1041
CLIFTON B BETHUNE & JEANNIE J BETHUNE JT TEN      401 WINTER RD UNIT 2A                                                                           NEW CASTLE       PA    16101‐1041
CLIFTON B CHANDLER                                890 BETNER DRIVE                                                                                MANSFIELD        OH    44907
CLIFTON B PURVIS                                  2202 WYOMING RD                                                                                 OWINGSVILLE      KY    40360‐8910
CLIFTON B THOMAS TR CLIFTON BRYNER THOMAS         156 BRAEWICK RD                                                                                 SALT LAKE CITY   UT    84103‐2201
LIVING TRUST UA 05/20/98
CLIFTON BRITT                                     60 ERICSON AVE                                                                                  BUFFALO          NY    14215‐3808
CLIFTON C BOYKIN                                  1310 MARIA DR                                                                                   JACKSON          MS    39204‐5123
CLIFTON C GILLESPIE JR                            17235 CATHERMAN LAKE ROAD                                                                       THREE RIVERS     MI    49093‐9034
CLIFTON C GOINS                                   2512 SW 55TH ST                                                                                 OKLAHOMA CITY    OK    73119‐5815
CLIFTON C KIMES                                   934 KENNY NELSON ROAD                                                                           LEWISBURG        TN    37091‐6676
CLIFTON C PUCKETT                                 RT 1 BOX 656                                                                                    RED OAK          OK    74563‐9759
CLIFTON C STERLING                                7103 PORTSMOUTH RD                                                                              BALTIMORE        MD    21244‐3432
CLIFTON C TOMBAUGH                                RT 5 1215 STINE ROAD                                                                            CHARLOTTE        MI    48813
CLIFTON CAMP                                      1849 MT OLIVE RD                                                                                GARDENDALE       AL    35071‐2428
CLIFTON CARR HARPER                               PO BOX 142                                                                                      CLINTON          MS    39060‐0142
CLIFTON CLARK                                     8880 N CLARENDON                                                                                DETROIT          MI    48204‐2319
CLIFTON COOK                                      HC 67 BOX 310                                                                                   KIAHSVILLE       WV    25534
CLIFTON CRAWFORD JR                               16510 HARLOW                                                                                    DETROIT          MI    48235‐3427
CLIFTON CRAWFORD JR & KARAN CRAWFORD JT TEN       16510 HARLOW                                                                                    DETROIT          MI    48235‐3427

CLIFTON D CORWIN                                  3105 ELLEN                                                                                      LANSING          MI    48910‐3412
CLIFTON D CORWIN & SHIRLEY L CORWIN JT TEN        3105 ELLEN AVE                                                                                  LANSING          MI    48910‐3412
CLIFTON D NEWTON                                  28 CARLTON ST                                                                                   WHITE PLAINS     NY    10607‐1440
CLIFTON D SMITH                                   8243 U S HIGHWAY 79N                                                                            DEBERRY          TX    75639‐0123
CLIFTON DAVIS                                     3718 COURTLEIGH DR                                                                              RAN DALLSTOWN    MD    21133‐4828
CLIFTON E SCOTT                                   573 LAKEVIEW                                                                                    GOODRICH         MI    48438
CLIFTON E SILER                                   P O BOX 2406                                                                                    CANDLER          NC    28715
CLIFTON E WOOD                                    7979 WEST GLENBROOK ROAD APT 6018                                                               MILWAUKEE        WI    53223
CLIFTON FONG & MARION L FONG JT TEN               436 HANOVER                                                                                     OAKLAND          CA    94606‐1116
CLIFTON G AVERY                                   32 A GLEN ANNIE RD                                                                              GOLETA           CA    93117
CLIFTON G VALENTINE & ERMA J VALENTINE JT TEN     BOX 345                                                                                         HARRISVILLE      WV    26362‐0345

CLIFTON G WILLIAMSON                              512 B TRACK RD                                                                                  PELION           SC    29123‐9597
CLIFTON GLENN RIGOULOT                            1004 BUCKLEY DR                                                                                 OWOSSO           MI    48867‐1406
CLIFTON H BROCK III                               C/O CLIFTON H BROCK                    BOX 100                                                  LILLINGTON       NC    27546‐0100
CLIFTON H KIZER                                   444 HOWLANDVILLE ROAD                                                                           WARRENVILLE      SC    29851‐3431
CLIFTON H LEATHERBURY & MRS CHARLENE              900 TOWLSTON RD                                                                                 MCLEAN           VA    22102‐1036
LEATHERBURY JT TEN
CLIFTON HARVEY & HELEN R HARVEY JT TEN            6814 INTERMEZZO DR                                                                              CLARKSTON        MI    48348‐4856
CLIFTON J JONES CUST ERICKA D JONES UGMA MI       2580 COUNTRYSIDE CT                                                                             AUBURN HILLS     MI    48326‐2222
CLIFTON JAMES GORDY JR                            5300 DUNTEACHIN DR                                                                              ELLICOTT CITY    MD    21043‐8204
CLIFTON L BOWLING                                 13201 S HIWASSEE RD                                                                             OKLAHOMA CITY    OK    73165‐7630
CLIFTON L GILSON JR                               12025 HIDDEN NEST CT                                                                            MIDLOTHIAN       VA    23112‐6870
CLIFTON L KINNIE                                  11315 BELLFONTAINE RD                                                                           SPANISH LAKE     MO    63138‐1040
CLIFTON L SLATER                                  114 RIDGE RD                                                                                    RACELAND         KY    41169‐1962
CLIFTON LEVER                                     9157 HAZELTON                                                                                   REDFORD          MI    48239‐1181
CLIFTON LEWIS                                     956 KETTERRING ST                                                                               PONTIAC          MI    48340‐3257
CLIFTON M ARBUCKLE                                1409 W ATHERTON RD                                                                              FLINT            MI    48507‐5325
CLIFTON M BURLESON                                132 BORDEAUX CIR                                                                                NAPLES           FL    34112‐7161
CLIFTON M RUNYON                                  24645 VICTORIA WOOD CT                                                                          LUTZ             FL    33559‐7365
CLIFTON M WHITE                                   PO BOX 5502                                                                                     FLINT            MI    48505‐0502
CLIFTON MICHAEL BODIN                             1301 DEGRAVELLE ROAD                                                                            JEANERETTE       LA    70544
CLIFTON N TRIPLETT                                90 S TRANQUIL PATH DR                                                                           SPRING           TX    77380‐2738
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 839 of 850
Name                                             Address1                              Address2             Address3          Address4          City            State Zip

CLIFTON NELSON SR                                7122 MINA RD                                                                                   BALTO           MD    21207‐4457
CLIFTON O MAYFIELD CUST AVA ROSE MAYFIELD UGMA   3003 CHERRY GROVE CT                                                                           HOUSTON         TX    77059
NY
CLIFTON R PARCUS                                 327 TEELIN DR                                                                                  OXFORD          MI    48371‐6154
CLIFTON R PETER                                  2269 N MORRISH RD                                                                              FLUSHING        MI    48433‐9409
CLIFTON R STANLEY                                4458 WOOD ST                                                                                   WILLOUGHBY      OH    44094‐5818
CLIFTON R THOMPSON                               701 17TH AVE W                                                                                 BRADENTON       FL    34205‐7665
CLIFTON R WHEELER                                28 BRECKENRIDGE TERRACE                                                                        IRVINGTON       NJ    07111‐3813
CLIFTON RHODES                                   2774 WOODLAKE RD SW                   APT 5                                                    WYOMING         MI    49519‐4641
CLIFTON RITTER                                   1000 E NETTLETON AVE                                                                           JONESBORO       AR    72401‐5109
CLIFTON RYAN                                     643 SCARBOROUGH ST                                                                             BISHOPVILLE     SC    29010‐1271
CLIFTON SMITH                                    445 VOORHEES AVE                                                                               BUFFALO         NY    14216‐2117
CLIFTON SPRINKLE & LOIS M SPRINKLE JT TEN        PO BOX 4596                                                                                    FLINT           MI    48504‐0596
CLIFTON T JONES                                  4210 WINDHAM PL S                                                                              SANDUSKY        OH    44870‐7245
CLIFTON TAYLOR                                   2378 MONTEREY                                                                                  DETROIT         MI    48206‐1252
CLIFTON TELLINGTON                               20 MOUNTAIN GREEN CI                                                                           WINDSOR MILL    MD    21244‐2601
CLIFTON TRUMAN DANIEL                            6129 N KILBOURN AVE                                                                            CHICAGO         IL    60646‐5019
CLIFTON U HAYES JR & NANCY B HAYES JT TEN        107 FAIRWAY LANE                                                                               YORKTOWN        VA    23693‐5630
CLIFTON V BELL                                   16641 TOPEKA LANE                                                                              CHOCTAW         OK    73020‐5918
CLIFTON V LEE & MRS IRENE LEE JT TEN             6411 HOLT AVENUE                                                                               LOS ANGELES     CA    90056‐2207
CLIFTON V LEE CUST MICHELE LEE UGMA CA           6411 HGLT AVENUE                                                                               LOS ANGELES     CA    90056
CLIFTON VIRES                                    935 LOCHAVEN                                                                                   WATERFORD       MI    48327‐3915
CLIFTON W PERRY & MRS MARCIA J PERRY JT TEN      724 PELICAN WAY                                                                                NORTH PALM      FL    33408‐4206
                                                                                                                                                BEACH
CLIFTON W WHITE JR                               7096 OAK RD                                                                                    VASSAR          MI    48768‐9224
CLIFTON WORD                                     2021 STANFORD                                                                                  FLINT           MI    48503‐4010
CLIFTON WRIGHT                                   125 W JAMIESON                                                                                 FLINT           MI    48505‐4055
CLIMMIE J MARTIN                                 9111 ANNAPOLIS ST                                                                              DETROIT         MI    48204‐2677
CLIMMIE L HUDDLESTON                             14852 PIEDMONT                                                                                 DETROIT         MI    48223‐2243
CLIMMIE L WARD                                   BOX NO 51                                                                                      INDIAN SPRING   GA    30216
CLIMMIE SMITH                                    525 SHELBY AV                         APT 412                                                  NASHVILLE       TN    37206‐4149
CLIMON WALKER                                    27 HAMLIN RD                                                                                   BUFFALO         NY    14208‐1537
CLINEL HAWKINS                                   7143 PUGLIESE PLACE                                                                            DAYTON          OH    45415‐1207
CLINO BORTONE                                    129 CHICKERING RD                                                                              DEDHAM          MA    02026‐6710
CLINT A WALKER                                   5532 W FALL CREEK DR                                                                           PENDLETON       IN    46064‐9770
CLINT CROXFORD                                   PO BOX 127                                                                                     SABATTUS        ME    04280
CLINT EDWARD STOCKTON CUST MATHEW CONNOR         6604 NW 135TH                                                                                  OKLAHOMA CITY   OK    73142‐5905
STOCKTON UTMA OK
CLINT K HANSON                                   5404 MARY DRIVE                                                                                BOSSIER CITY    LA    71112‐4830
CLINT L REEVES                                   35129 CORRAL RD NE                                                                             KELLIHER        MN    56650‐3137
CLINT LATHAM                                     3123 CREEKWOOD COURT                                                                           NORMAN          OK    73072‐3305
CLINT O MOLES                                    1806 N LEXINGTON                                                                               HARRISONVILLE   MO    64701‐1309
CLINT SLUSHER                                    93 NORTH MERRIMAC                                                                              PONTIAC         MI    48340‐2531
CLINT STAHL CUST JOH HUFFMAN UTMA KS             7608 SE 12TH STREET                                                                            NEWTON          KS    67114‐9670
CLINT STOCKTON CUST BRANTLY J STOCKTON UTMA OK   6604 NW 135TH ST                                                                               OKLAHOMA CITY   OK    73142‐5905

CLINT W BURGHARDT & LOIS A BURGHARDT JT TEN      PO BOX 86                                                                                      MERRILLAN       WI    54754‐0086

CLINT WISE                                       4603 MAYO DRIVE                                                                                COLUMBUS        GA    31909
CLINT YOUNGER JR                                 1145 OLD UNION ROAD                                                                            PARIS           TN    38242‐7370
CLINTA S JOHNSON                                 14905 W FIRST STREET                                                                           SANTA FE        TX    77517
CLINTIS L DUNN & BETTY J DUNN JT TEN             4325 WOODHAVEN DRIVE                                                                           LANSING         MI    48917‐3532
CLINTON A BAKER                                  703 GREEN ST                                                                                   AUBURN          AL    36830‐6219
CLINTON A HELM                                   55W RAYBOLD DR                                                                                 MIDDLETOWN      DE    19709‐1504
CLINTON A HERRON & BARBARA M HERRON JT TEN       4222 RURAL                                                                                     WATERFORD       MI    48329‐1651

CLINTON A KRISLOV                                20 N WACKER DR                        APT 1350                                                 CHICAGO         IL    60606
CLINTON A SHANAFELT                              118 S MCKINLEY RD                                                                              FLUSHING        MI    48433‐2038
CLINTON A TOWNSEND                               44 SANTA ROSA CIR                                                                              WYLIE           TX    75098
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 840 of 850
Name                                             Address1                               Address2                  Address3     Address4          City               State Zip

CLINTON B CORRY JR                                1713 CLOISTER DR                                                                               RICHMOND           VA    23233‐3408
CLINTON B GOODMAN                                 265 COLBY ST                                                                                   SPENCERPORT        NY    14559‐9760
CLINTON B STARK                                   ROUTE 2 BOX 244                                                                                KIRBYVILLE         TX    75956
CLINTON BAKER                                     398 N SECTION ST                                                                               SO LEBANON         OH    45065‐1125
CLINTON BRADLEY                                   1501 S FRANKLIN AVE                                                                            FLINT              MI    48503‐6417
CLINTON BURGHER CUST BENJAMIN W BURGHER UTMA 16 COLLEGE FARM RD                                                                                  NEW BRUNSWICK      NJ    08901‐1573
NJ
CLINTON C HALL                                    17609 HARTWELL STREET                                                                          DETROIT            MI    48235‐2639
CLINTON C HURD CUST JOHN C HURD UTMA NE           3101 SHERIDAN                                                                                  LINCOLN            NE    68502‐5232
CLINTON C HURST                                   805 W LINCOLN HWY                                                                              COATESVILLE        PA    19320‐1904
CLINTON C JENNINGS                                1900 JOHN ST                                                                                   LANSING            MI    48906‐4179
CLINTON D KEELY                                   420 JUNGERMAN                                                                                  ST PETERS          MO    63376‐2749
CLINTON DOUGLAS STAGGS                            122 S OAK ST                                                                                   SPARTA             TN    38583‐2308
CLINTON E GASTON                                  9284 E OUTER DR                                                                                DETROIT            MI    48213‐4008
CLINTON E LACY                                    11047 S DUFFIELD RD                                                                            GAINES             MI    48436‐9737
CLINTON E LAKE                                    14459 E RADCLIFF DR                                                                            AURORA             CO    80015‐1345
CLINTON E LAKE & GERTRUDE L LAKE JT TEN           14459 E RADCLIFF DR                                                                            AURORA             CO    80015‐1345
CLINTON E MATHEWS                                 646 TROYWOOD                                                                                   TROY               MI    48083‐5198
CLINTON E PETERS                                  1379 W LAKE RD                                                                                 CLIO               MI    48420‐8807
CLINTON E SHILLING                                808 WREN ST                                                                                    STAUNTON           VA    24401‐1672
CLINTON E WOLF                                    908 ALLISON                                                                                    MANHATTAN          KS    66502
CLINTON ELWOOD COCKRILL                           1093 W HARVARD                                                                                 FLINT              MI    48505‐1272
CLINTON F MILLER & LOLA M MILLER TR MILLER FAMILY ATTN LM MILLER                        7738 W VILLA THERESA DR                                  GLENDALE           AZ    85308‐8261
TRUST 09/19/87
CLINTON FRANK STIMPSON III TR UA 11/21/89 CLINTON 5626 LAKESHORE RD                                                                              FORT GRATIOT       MI    48059‐2814
F STIMPSON III
CLINTON G CARLTON                                 428 W VUELTA FRISO                                                                             SAHUARITA          AZ    85629
CLINTON G HEURING                                 1776 SCOTTS VALLEY ROAD                                                                        LAKEPORT           CA    95453
CLINTON G PRUYN & GAIL G PRUYN JT TEN             1804 NORTH FLOYD                                                                               WICHITA            KS    67212‐1476
CLINTON G ROCKWELL                                1484 E MASON ST                                                                                DANSVILLE          MI    48819‐9660
CLINTON GIPSON                                    257 FRANCISCO                                                                                  GRASS LAKE         MI    49240‐9216
CLINTON GRIGGS JR                                 5516 HARVEST LANE                                                                              TOLEDO             OH    43623‐1747
CLINTON H BURT TR FAMILY TRUST 12/15/87 U‐A       300 EAST ST                                                                                    EASTHAMPTON        MA    01027‐1214
CLINTON H BURT
CLINTON H GOODHUE & PATRICIA L GOODHUE JT TEN     17655 SOUTH EAST 159 TERRACE                                                                   WEIRSDALE          FL    32195

CLINTON H MC CRARY                               5320 NEWQUAY LN                                                                                 SALIDA             CA    95368‐8124
CLINTON H TUTTEROW                               726 BIRCHWOOD ROAD                                                                              MARIETTA           GA    30060‐5126
CLINTON H WINNE JR & CLAIRE WINNE TR WINNE       306 CARNOUSTIE ST                                                                               ST SIMONS ISLAND   GA    31522‐2492
LIVING TRUST UA 05/23/00
CLINTON HORTON JR                                149 LAMPLIGHTER WAY                                                                             O'FALLON           MO    63366‐7307
CLINTON J BAKER                                  3615 PORTREE PLACE                                                                              OCEAN SPRINGS      MS    39564‐3439
CLINTON J FILLION                                17390 OLYMPIA                                                                                   REDFORD            MI    48240‐2138
CLINTON J GAY                                    1690 LONGFELLOW AVE APT 2M                                                                      BRONX              NY    10460
CLINTON J VAN LANINGHAM CUST JACK EDWARD VAN     2095 W THORNWOOD DR                                                                             SOUTH ELGIN        IL    60177
LANINGHAM UTMA IL
CLINTON J WILLEY                                 21100 NE SANDY BLVD                    UNIT 121                                                 FAIRVIEW           OR    97024‐9778
CLINTON J WILLIAMS                               1 WALBEN DRIVE                                                                                  BRIDGETON          NJ    08302‐4420
CLINTON JOHNSON                                  14135 S PAGE AVE                                                                                DIXMOOR            IL    60426‐1172
CLINTON JUSTIN                                   6370 HARVEY RD                                                                                  PARADISE           CA    95969
CLINTON L COLLINS                                691 WEST CITRUS WAY                                                                             CHANDLER           AZ    85248‐4431
CLINTON L LOWE                                   1583 WISMER ST                                                                                  YPSILANTI          MI    48198‐7707
CLINTON L SEARS                                  794 PARADISE PARK DR                                                                            SARANAC            MI    48881‐9606
CLINTON L WARD                                   5616 RIDGE RD                                                                                   LOCKPORT           NY    14094‐9463
CLINTON LAKE TOD STEVEN E LAKE                   14459 E RADCLIFF DR                                                                             AURORA             CO    80015
CLINTON LINTON                                   115‐30 INWOOD ST                                                                                JAMAICA            NY    11436‐1145
CLINTON M EDMONDS                                875 W GRAND RIVER AVE                  LOT 37                                                   WILLIAMSTON        MI    48895‐1254
CLINTON M WHEELER                                4061 GUNNIN ROAD                                                                                NORCROSS           GA    30092‐1949
CLINTON MCDADE                                   819 LOCHRIDGE RD                                                                                CHARLOTTE          NC    28209‐4751
                                           09-50026-mg                Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                    Part 1 of 8 Pg 841 of 850
Name                                            Address1                             Address2             Address3          Address4          City            State Zip

CLINTON O FLOYD                                   3610 MAYBERRY LANDING DR                                                                    NORTHPORT       AL    35473‐1343
CLINTON O MACMILLAN                               224 WARD HILL RD                                                                            HENRIETTA       NY    14467‐9763
CLINTON PINSON                                    321 HARP ST S E                                                                             KENTWOOD        MI    49548‐7505
CLINTON R ANDERSON JR                             1658 CARLTON NE                                                                             GRAND RAPIDS    MI    49505‐5412
CLINTON R BOGEN                                   1620 OXFORD                                                                                 GROSSE PT WDS   MI    48236‐1845
CLINTON R DERRINGER                               32382 LINDERMAN                                                                             WARREN          MI    48093‐1022
CLINTON R ERVIN                                   PO BOX 217                                                                                  WOODBINE        GA    31569‐0217
CLINTON R GUSLER                                  1686 OLE CARRIAGE CR                                                                        ATHENS          AL    35613‐7218
CLINTON R HARDY                                   247 E FAIRVIEW ST                                                                           SHREVEPORT      LA    71104‐4609
CLINTON R MOSTELLER                               28 E VIRGINIA AVE                                                                           WEST CHESTER    PA    19380‐2343
CLINTON R WRAY                                    1502 GLEN MOOR COURT                                                                        KOKOMO          IN    46902‐9412
CLINTON REED                                      1801 MARLOWE DR                                                                             FLINT           MI    48504‐7097
CLINTON S BARTLETT JR                             169 S MAIN ST                                                                               NEWPORT         NH    03773‐1817
CLINTON S BECK                                    1251 VOGT AVE                                                                               BALTIMORE       MD    21227‐2648
CLINTON S MOFFATT                                 R R 2 BOX 203                                                                               MITCHELL        IN    47446‐9621
CLINTON S MOYER                                   7611 BRANCHWOOD DR                                                                          MOBILE          AL    36695‐4054
CLINTON SORRELLS                                  685 W HIGHTOWER TRAIL                                                                       SOCIAL CIRCLE   GA    30025‐3903
CLINTON T ELLENBURG                               2228 E BUDER AVE                                                                            BURTON          MI    48529‐1736
CLINTON T KUHN JR                                 6410 WHISPERING OAK                                                                         WASHINGTON      MI    48094‐3422
CLINTON V A SHELDON                               207 MALDEN BRIDGE RD                                                                        NASSAU          NY    12123‐2005
CLINTON W ACKERMAN                                9 HOMESTEAD AVE                                                                             BUTLER          NJ    07405‐1603
CLINTON W HARRINGTON JR & ELIZABETH R             15209 POWELL GROVE RD                                                                       MIDLOTHIAN      VA    23112‐6331
HARRINGTON JT TEN
CLINTON W LOHR                                    301 E DRYDEN ST                                                                             GLENDALE        CA    91207‐1917
CLINTON W MC KENZIE SR                            40 GREEN ACORN LANE                                                                         HENRIETTA       NY    14467‐9202
CLINTON W ROBINS JR                               8 DENMARK LANE                                                                              NEEDHAM         MA    02492‐2336
CLINTON W ROBINS JR                               8 DENMARK LANE                                                                              NEEDHAM         MA    02492‐2336
CLINTON W ROBINS JR & JUDITH A ROBINS JT TEN      8 DENMARK LANE                                                                              NEEDHAM         MA    02492‐2336
CLINTON W SIMMONS                                 5423 NW PLATTE PURCHASE ROAD                                                                KANSAS CITY     MO    64151‐3457
CLINTON W SOMMERFELD & ELEANOR SOMMERFELD TR 45800 JONA DR APT 101                                                                            STERLING        VA    20165‐5689
SOMMERFELD TRUST 03/28/90
CLINTON W SOO & STEPHEN H SOO & MABEL SOO JT      3543 KEPUHI ST                                                                              HONOLULU        HI    96815‐4341
TEN
CLINTON WEBB                                      1270 HWY 99 W                                                                               ORLAND          CA    95963
CLINTON WILLIAM GRIGSBY                           9137 SUNCREST DR                                                                            FLINT           MI    48504‐8140
CLISTA F GAIL                                     16056 W QUAIL CREEK LN                                                                      SURPRISE        AZ    85374‐4908
CLIVE BROWN & NANCY R BROWN JT TEN                1010 WHITCOMB                                                                               ROYAL OAK       MI    48073‐4734
CLIVE D SUMMERS                                   135 PINEWOOD DR                                                                             ELKVIEW         WV    25071‐9415
CLIVE MARTIN TR UA 07/07/06 CLIVE STANDLEE MARTIN 6318 MARINA PACIFICA DR N                                                                   LONG BEACH      CA    90803
REV TRUST
CLIVE RUSSELL CLOUTIER & MRS BRENDA B CLOUTIER    104 ETON CIRCLE                                                                             LAFAYETTE       LA    70508‐7114
TEN COM
CLIVE S CAMPBELL                                  15649 RIVERSIDE STREET                                                                      LIVONIA         MI    48154‐2337
CLIVE THOMAS HOPE                                 53 BOLTM RD                                                                                 WAYNE           NJ    07470
CLODE DISSINGER                                   30588 PARK VISTA DR                                                                         CASTAIC         CA    91384‐3793
CLOETTE STEFFENHAGEN                              4141 MACHIAS‐ASHFORD RD                                                                     MACHIAS         NY    14101
CLOIS A TATE                                      5660 E KINSEL HWY                                                                           CHARLOTTE       MI    48813‐9324
CLOIS D STEWART                                   7660 CAINSVILLE RD                                                                          LEBANON         TN    37090‐7739
CLOIS H MEDLING                                   208 EVERGREEN ST                                                                            GREENFIELD      TN    38230‐1514
CLOIS O WOOD                                      5684 PARKVIEW CT                                                                            ANN ARBOR       MI    48108‐8557
CLONDIDO PEDRI                                    39417 VAN DYKE                                                                              STERLING HTS    MI    48313‐4638
CLONSIE O JONES TR CLONSIE O JONES REVOCABLE      3062 FLEET ST SW                                                                            MARIETTA        GA    30064‐5020
TRUST UA 12/04/03
CLONZO L MAY                                      3015 AUTUMN PLS D                                                                           JACKSON         MS    39212‐2417
CLORA A PATTERSON                                 13319 ELMDALE                                                                               DETROIT         MI    48213‐1906
CLORA BROWNING                                    5408N ST RD 213                                                                             WINDFALL        IN    46076‐9789
CLORIA G CASTLEBERRY                              2152 JUANITA STREET                                                                         DECATUR         GA    30032‐5317
CLORINA MOORE                                     5930 BIXBY VILLAGE DRIVE           APT 159                                                  LONG BEACH      CA    90803‐6324
                                            09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                       Part 1 of 8 Pg 842 of 850
Name                                             Address1                               Address2             Address3          Address4          City             State Zip

CLORINDA C DOMBROSKI & ROBERT M DOMBROSKI &      46‐27 188 ST                                                                                    FLUSHING         NY    11358‐3817
DOLORES A GOLD JT TEN
CLORINDA MASTROCOLA                              1014 FLORENCE AVE                                                                               E MC KEESPORT    PA    15035‐1346
CLORMAN HOLLINGSWORTH                            9075 SOUTH TOMAHAWK TRAIL                                                                       MARKLEVILLE      IN    46056‐9735
CLORMAN OLIVER HOLLINGSWORTH                     9075 S TOMAHAWK TRS                                                                             MARKLEVILLE      IN    46056
CLORO MIRO HINOJOSA                              3308 SANTA SUSANA                                                                               MISSION          TX    78572‐7943
CLOTA D CROLEY                                   2809 PARKHAVEN DR                                                                               PLANO            TX    75075
CLOTEA BOLDEN                                    1306 BARBARA DR                                                                                 FLINT            MI    48505‐2594
CLOTEA BOLDEN & BELINDA BOLDEN BROWN JT TEN      1306 BARBARA DR                                                                                 FLINT            MI    48505‐2594

CLOTILDA A HAINES                                320 S ST JOSEPHS AVE                                                                            ARCADIA          WI    54612‐1439
CLOTILDE VALERIE WILLIAMS BROWN                  213 COVEY LANE                                                                                  MCKINNEY         TX    75071‐0328
CLOUD 9 BROADCASTING INC                         6 WILLOW PL                                                                                     NUTLEY           NJ    07110
CLOUDIS BRIDGFORTH                               2209 S ANNABELLE ST                                                                             DETROIT          MI    48217‐1194
CLOVIS MING SHEM CUST RANDALL MING SHEM UTMA 276 SHEARWATER ISLE                                                                                 FOSTER CITY      CA    94404‐1459
CA
CLOYCE A BURNETT                                 PO BOX 421                                                                                      MONROEVILLE      IN    46773‐0421
CLOYCE E BRINKERHOFF                             2478 S 400 W                                                                                    PORTLAND         IN    47371‐8356
CLOYD D CABRAL                                   PO BOX 9484                                                                                     DEDEDO           GU    96912
CLOYD H ZEITER & MARILYN ZEITER JT TEN           6845 PILLIOD RD                                                                                 HOLLAND          OH    43528‐9361
CLOYD MC FARLAND                                 348 CARMEL AVE                                                                                  GALION           OH    44833‐1423
CLOYD NELSON LONG JR                             227 HICKORY KINGDOM ROAD                                                                        BEDFORD          NY    10506
CLOYD R SIPES JR                                 1010 E WILLOW RUN DR                                                                            WILMINGTON       DE    19805‐1259
CLOYD T HUVLER                                   R 8 8996 C R 50                                                                                 LEXINGTON        OH    44904‐9608
CLUSTER RANDALL SHEWMAKER                        1027 CRAWFORD ST                                                                                FLINT            MI    48507‐5309
CLUSTER WIGGINS                                  17400 KENTUCKY                                                                                  DETROIT          MI    48221‐2465
CLYDE A ADCOCK JR                                PO BOX 62611                                                                                    LAFAYETTE        LA    70596
CLYDE A BRADY                                    285 COMMONWEALTH RD                    APT 210                                                  WAYLAND          MA    01778‐5043
CLYDE A BRUNNER & CARRIE J BRUNNER JT TEN        11400 QUIVAS WAY                                                                                DENVER           CO    80234‐2621
CLYDE A COBB & HELEN D COBB TR COBB FAM TRUST UA 140 WESTBROOK RD                                                                                FSTRVL TRVOSE    PA    19053‐2246
04/13/98
CLYDE A DARDEN                                   1812 S GENESSEE DR                                                                              LANSING          MI    48915‐1239
CLYDE A DAVIDSON                                 8637 WHITEGATE DR                                                                               MORROW           OH    45152‐9506
CLYDE A MESSNER                                  C/O LILLIAN W MESSNER                  406 FREMONT ST                                           FLINT            MI    48504‐4506
CLYDE A MIENHEARTT                               4027 MIKE HILL DRIVE                                                                            HAMILTON         OH    45014‐5938
CLYDE A POOLE                                    17 MORROW AVE                                                                                   LOCKPORT         NY    14094‐5014
CLYDE A REED                                     BOX 207                                                                                         SELMA            IN    47383‐0207
CLYDE ANDERSON & ROSEMARY ANDERSON JT TEN        N16331 TROUT POND LANE                                                                          WILSON           MI    49896

CLYDE ARTHUR GARVER & CATHERINE W GARVER JT TEN 199 FIRST AVE LYNDALIA                                                                           WILMINGTON       DE    19804‐2725

CLYDE AUSTEN JR                                  319 W DURBIN CIR                                                                                BELLVILLE        OH    44813‐1174
CLYDE AUSTEN JR & LEONA D AUSTEN JT TEN          319 W DURBIN CIR                                                                                BELLVILLE        OH    44813‐1174
CLYDE B SHAW                                     19209 SUNSET DR                                                                                 WARRENSVIL HT    OH    44122‐6651
CLYDE BARNES                                     2710 CLAIRMOUNT                                                                                 DETROIT          MI    48206‐1979
CLYDE BARRETT JR                                 5999 BEER CREEK DR                                                                              BEDFORD SHIGHT   OH    44146
CLYDE BAUMGARDNER CUST CHERYL GLANDEY UGMA       2159 HALEY ROAD                                                                                 TERRY            MS    39170‐8824
KY
CLYDE BOYKIN                                     1113 E CALDWELL                                                                                 COMPTON          CA    90221‐4341
CLYDE BRADSHAW                                   179 OLIVE ST                                                                                    RUSTON           LA    71270‐1290
CLYDE BROOKS SR & ELIZABETH BROOKS JT TEN        13864 SAINT AUBIN ST                                                                            DETROIT          MI    48212‐2120
CLYDE BROWN                                      417 KENDALL HAVEN                                                                               SMITHFIELD       VA    23430‐5838
CLYDE BUSH                                       5665 ORANGEVILLE KINSMAN RD                                                                     BURGHILL         OH    44404‐9742
CLYDE C ADAMS                                    4036 HIGHWAY 31 W                                                                               COTTONTOWN       TN    37048‐4848
CLYDE C CAMMACK JR                               6673 BARTH ROAD                                                                                 JACKSONVILLE     FL    32219‐2403
CLYDE C CARRON                                   111 DAWNRIDGE DR                                                                                HAZELWOOD        MO    63042‐2676
CLYDE C GARRISON & WILDA H GARRISON JT TEN       4726 NORTH 16TH ROAD                                                                            ARLINGTON        VA    22207‐2025
CLYDE C GUSTAFSON                                1103 WEST 3RD ST                                                                                MARION           IN    46952‐3666
CLYDE C HORNER & AUDREY P HORNER TEN COM         845 S DUKE STREET                                                                               RED LION         PA    17356‐8628
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 843 of 850
Name                                                Address1                              Address2             Address3          Address4          City             State Zip

CLYDE C KOONTZ & LYNNE C KOONTZ JT TEN              1354 STAMFORD                                                                                  UPLAND           CA    91786‐3146
CLYDE C MCINTIRE                                    1484 NORTON ST                                                                                 FLINT            MI    48529‐1264
CLYDE C NEELY & BETTY S NEELY JT TEN                1302 MOUNT VERNON PLACE                                                                        CHARLESTON       WV    25314‐2550
CLYDE C NOBLE                                       3907 EAKIN RD                                                                                  COLUMBUS         OH    43228‐3003
CLYDE C ROHR III & MARYLYN M ROHR JT TEN            640 ROLAND AVE                                                                                 BEL AIR          MD    21014‐2823
CLYDE C SACHTLEBEN & MRS MARILYNN J SACHTLEBEN      623 N SHORE DRIVE                                                                              HASTINGS         NE    68901‐2560
JT TEN
CLYDE C THOMAS & CHARLOTTE L THOMAS JT TEN          4609 NW NORMANDY LANE                                                                          KC               MO    64116‐1556
CLYDE C THRASHER                                    12807 N W PORTER ROAD                                                                          PARKVILLE        MO    64152‐1329
CLYDE CAMPBELL                                      3135 S ST RD 446                                                                               BLOOMINGTON      IN    47401‐9316
CLYDE CAMPBELL LOWSTUTER                            20 BRIDLE TRAIL RD                                                                             LAKE FOREST      IL    60045‐3413
CLYDE COLEMAN                                       35 N DECKER AVE                                                                                DAYTON           OH    45417‐1737
CLYDE CURTIS SEAGRAVES                              710 SPARTAN AVE                                                                                VANDALIA         OH    45377‐2833
CLYDE D BELL JR                                     11231 HONEYSUCKLE LN                                                                           SAGINAW          MI    48609‐9612
CLYDE D BLACK JR                                    BOX 241                               #118 BROGDON                                             MURRAYVILLE      IL    62668‐0241
CLYDE D DUNIVANT                                    45121 PARIS DR                                                                                 BELLEVILLE       MI    48111‐9154
CLYDE D FELLOWS                                     4301 ROHE ROAD                                                                                 SYRACUSE         NY    13215‐9691
CLYDE D HALE JR                                     4621 WHITE DOGWOOD LN                                                                          NORTHPORT        AL    35473‐1219
CLYDE D HERBST                                      3926 E LAUREL LANE                                                                             PHOENIX          AZ    85028‐1407
CLYDE D MATTHEWS                                    6 KENNETH AVE                                                                                  VANDALIA         OH    45377‐3004
CLYDE D RICHARDSON                                  18688 ILENE                                                                                    DETROIT          MI    48221‐1910
CLYDE D WYATT                                       3046 E 200 S                                                                                   ANDERSON         IN    46017‐9726
CLYDE DALE ZINN & MRS BETTY M ZINN TEN COM          9004 BALCONES CLUB DR                                                                          AUSTIN           TX    78750‐2906
CLYDE DOTY JR                                       1650 HWY 92                                                                                    OSKALOOSA        IA    52577‐8710
CLYDE DOWELL JR                                     3706 WHITWORTH WAY                                                                             COLUMBUS         OH    43228‐7000
CLYDE E BODELL                                      365 N BRADLEY RD                                                                               CHARLOTTE        MI    48813‐9551
CLYDE E BROOKS                                      25 TWEEDY LN                                                                                   ANDERSON         IN    46012‐1952
CLYDE E BUCHANAN                                    1624 HIGHWAY 21 BYPASS                                                                         FORT MILL        SC    29715‐7229
CLYDE E CHILDRESS                                   5 READ AVE                                                                                     WILMINGTON       DE    19804‐2033
CLYDE E COOPER                                      5665 GREENWAY                                                                                  DETROIT          MI    48204‐2176
CLYDE E DEVOE                                       9751 STEAMBURG RD                                                                              HILLSDALE        MI    49242‐9114
CLYDE E EDGEMON                                     129 CHESTNUT DR                                                                                ANDERSONVILLE    TN    37705‐2117
CLYDE E FANEUFF JR                                  PO BOX 25168                                                                                   LEXINGTON        KY    40524‐5168
CLYDE E FULLINGTON                                  1245 HWY 160                                                                                   NEWPORT          TN    37821‐4637
CLYDE E HATCH                                       3800 GLENBROOK RD                                                                              LANSING          MI    48911‐2113
CLYDE E HATCH JR                                    3800 GLENROOK DR                                                                               LANSING          MI    48911‐2113
CLYDE E HENLEY                                      16597 S RAUCHOLZ RD                                                                            OAKLEY           MI    48649‐9765
CLYDE E HUNDLEY & HELEN K HUNDLEY & JACQUELYN L     5571 NEW LOTHROP RD                                                                            CORUNNA          MI    48817‐9750
HUNDLEY JT TEN
CLYDE E JOHNSON JR                                  620 WASHINGTON ST                                                                              BUFORD           GA    30518‐2584
CLYDE E LINKER & BARBARA L LINKER JT TEN            7116 LAKE RD                                                                                   MONTROSE         MI    48457‐9719
CLYDE E LOTSPEICH                                   19378 SEYMORE LN                                                                               PARKSLEY         VA    23421‐3726
CLYDE E LUKE & JANET LUKE JT TEN                    PO BOX 3521                                                                                    MESQUITE         NV    89024
CLYDE E LYNCH                                       12641 ABINGTON                                                                                 DETROIT          MI    48227‐1201
CLYDE E MARTIN                                      690 CO RD #61                                                                                  FYFFE            AL    35971‐9709
CLYDE E MAYFIELD                                    2414 GARDEN ST                                                                                 JOLIET           IL    60435‐1417
CLYDE E MCLOSKY                                     2524 KERBY RD                                                                                  CORUNNA          MI    48817‐9510
CLYDE E MICHAEL                                     3408 POPPYPATCH DR                                                                             MODESTO          CA    95354‐3382
CLYDE E MORAN                                       24657 AUDREY AVE                                                                               WARREN           MI    48091‐1711
CLYDE E MULLINS                                     14350 IRISH RD                                                                                 MILLINGTON       MI    48746‐9216
CLYDE E PEOPLES                                     746 LIBERTY ROAD                                                                               YOUNGSTOWN       OH    44505‐3918
CLYDE E PLETCHER                                    4643 BIRCH RUN ROAD                                                                            MILLINGTON       MI    48746‐9427
CLYDE E RAGAN CUST MEGAN E DAVENPORT UGMA IN        2839 S‐1150 EAST                                                                               GREENTOWN        IN    46936

CLYDE E SCHELL & MRS BESSIE PAULINE SCHELL JT TEN   6770 W HIGHWAY 89A UNIT 168                                                                    SEDONA           AZ    86336‐9504

CLYDE E SCHMIDT                                     776 W 300 N                                                                                    ANDERSON         IN    46011‐2016
CLYDE E THOMAS                                      4230 STREET ROUTE 42                  NORTH EAST                                               WEST JEFFERSON   OH    43162
CLYDE E WALL                                        15679 CHAPEL HILL CT                                                                           ROANOKE          TX    76262‐6371
                                             09-50026-mg                   Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 844 of 850
Name                                             Address1                                 Address2             Address3          Address4          City              State Zip

CLYDE E WAMPLER                               5320 N COSMIC PL                                                                                     PAHRUMP           NV    89060
CLYDE E WELCH                                 115 PARK AVE                                                                                         SAINT PARIS       OH    43072‐9617
CLYDE E WIGGAND                               200 SHADOW DR                                                                                        SHELBYVILLE       TN    37160
CLYDE ELLIS                                   1944 WHEELER RD                                                                                      ALLENTON          MI    48002‐2507
CLYDE ELTON WARD                              5623 CLOVERLAND DR                                                                                   BRENTWOOD         TN    37027‐4715
CLYDE F ALVIS                                 609 BYERS ST                                PO BOX 175                                               KIRKLAND          IL    60146‐0175
CLYDE F BARTLETT & ROBERTA J BARTLETT JT TEN  8757 EE 25 RD                                                                                        RAPID RIVER       MI    49878‐9415
CLYDE F BRELINSKY                             10111 OSSINEKE RD                                                                                    OSSINEKE          MI    49766‐9541
CLYDE F BULLARD & STELLA BULLARD JT TEN       2408 WARD DRIVE                                                                                      LAKEWOOD          CO    80215
CLYDE F CONNER                                105 JANET ST                                                                                         LEWISBURG         WV    24901‐1247
CLYDE F KNIGGA                                7209 STATE RD 48                                                                                     AURORA            IN    47001‐8984
CLYDE F LOGAN                                 3691 NEEDHAM RD                                                                                      MANSFIELD         OH    44904‐9210
CLYDE F LYON                                  1040 WEST MAIN ST                                                                                    GRAND LEDGE       MI    48837
CLYDE FARRELL                                 3470 CAMANCHE PKWY N                                                                                 IONE              CA    95640‐9410
CLYDE G SERGENT SR & IZORA L SERGENT JT TEN   6101 ARBELA ROAD                                                                                     MILLINGTON        MI    48746‐9717
CLYDE H BARRONTON                             1886 DANIEL RD                                                                                       VILLA RICA        GA    30180‐3791
CLYDE H CULWELL                               181 HARRISON RD S W                                                                                  PATASKALA         OH    43062‐8676
CLYDE H FERRELL                               3829 DAWNING AVE                                                                                     CLEVELAND         OH    44109‐4847
CLYDE H FREIBURGER                            4350 MARCUS                                                                                          WATERFORD         MI    48329‐1428
CLYDE H KING JR                               PO BOX 489                                                                                           ABINGDON          VA    24212‐0489
CLYDE H LEDFORD JR                            9467 N MICHIGAN RD                                                                                   FAIRLAND          IN    46126‐9525
CLYDE H REED                                  204 WILL SCARLET LANE                       FOREST GROVE PARK                                        HARTLY            DE    19953‐3071
CLYDE H STRONG JR                             4416 SAINT CHARLES ST                                                                                ANDERSON          IN    46013
CLYDE HAROLD LADNER                           PO BOX 346                                                                                           GOLDENROD         FL    32733‐0346
CLYDE HUTTON & CAROL HUTTON JT TEN            1130 VIVIAN DR                                                                                       LAPEER            MI    48446‐3064
CLYDE J CAES & NANCY CAES JT TEN              4547 GANDVIEW AVE N E                                                                                CANTON            OH    44705‐2932
CLYDE J HOERNER                               342 N MAIN STREET                                                                                    FOWLER            MI    48835‐9701
CLYDE J HORNER                                4729 WILBERT RD                                                                                      HIGH RIDGE        MO    63049‐3366
CLYDE J MOORE                                 3930 RIVER ROAD UNIT 64                                                                              EAST CHINA        MI    48054‐2925
CLYDE J MULLINS                               14645 BRAGG ROAD                                                                                     MT STERLING       OH    43143‐9142
CLYDE J SMITH                                 1381 RICE RD                                                                                         ELMA              NY    14059‐9208
CLYDE J THOMPSON                              3039 CONNECTICUT                                                                                     BURTON            MI    48519‐1543
CLYDE JENNINGS                                5220 MC ANELLY DRIVE                                                                                 BEAUMONT          TX    77708‐1904
CLYDE JONES JR                                20247 REDFERN                                                                                        DETROIT           MI    48219‐1221
CLYDE JONES JR & BARBARA A JONES JT TEN       20247 REDFERN                                                                                        DETROIT           MI    48219‐1221
CLYDE K CLEMMONS & MARGARET R CLEMMONS JT TEN 917 BLUFF LANE                                                                                       GREENWOOD         IN    46143‐9028

CLYDE K PAULUS                                      C/O MILLARD COLEMAN                   21 JACOBS LN                                             GILBERTSVILLE     KY    42046
CLYDE K REEVES                                      3318 KINDER TRL SE                                                                             RUTH              MS    39662‐9450
CLYDE KELLER JR                                     7408 CALENDER DR                                                                               ARLINGTON         TX    76001‐6964
CLYDE KELLY                                         28581 RED LEAF LN                                                                              SOUTHFIELD        MI    48076‐2926
CLYDE KENNEDY                                       RR #1                                                                                          PARKER CITY       IN    47368‐9801
CLYDE KIRBOW                                        1102 CR 474                                                                                    KIRBYVILLE        TX    75956
CLYDE L BOOTH JR & JULIA Y BOOTH JT TEN             214 OAK BEND DR                                                                                MADISON           MS    39110
CLYDE L CARTER                                      9224 NORTH IRISH RD                                                                            MT MORRIS         MI    48458‐9715
CLYDE L COOK                                        1540 WIARD BOULEVARD                                                                           YPSILANTI         MI    48198‐3368
CLYDE L COWAN                                       4655 COVENTRY PKWY                                                                             FORT WAYNE        IN    46804‐7111
CLYDE L FOLDS                                       159 ROSE LANE                         ROUTE 1                                                  SOCIAL CIRCLE     GA    30025‐9704
CLYDE L FROST & JUDITH A FROST TR UA 01/12/1996 C L 4170 STANDEL LN                                                                                HARRISON          MI    48625
FROST FAMILY TRUST
CLYDE L HAMM                                        915 JERSEY RIDGE RD                                                                            MAYSVILLE         KY    41056‐9790
CLYDE L ROBERTS & VIRGINIA E ROBERTS JT TEN         415 COACH ROAD                                                                                 SATELLITE BEACH   FL    32937‐4021
CLYDE L SAWYER                                      3800 SHAMROCK DR                                                                               CHARLOTTE         NC    28215
CLYDE L WARREN                                      115 AUARTERDECK PL                                                                             ROCHESTER         NY    14612‐1432
CLYDE LAPE                                          3800 SW BLVD                                                                                   FORT WORTH        TX    76116
CLYDE LOFTON                                        494 CLEVELAND AV                                                                               DEFIANCE          OH    43512‐3517
CLYDE LONG                                          2219 VARELMAN AVE                                                                              NORWOOD           OH    45212‐1148
CLYDE M BARNES & NANCY B BARNES JT TEN              P O DRAWER 1026                                                                                HASTINGS          FL    32145‐1026
CLYDE M COFIELD & ROSEMARY E COFIELD JT TEN         2818 AUBURN DR                                                                                 SAGINAW           MI    48601‐4506
                                              09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 845 of 850
Name                                             Address1                              Address2             Address3          Address4          City             State Zip

CLYDE M DENNY                                    2297 N 300 E                                                                                   ANDERSON         IN    46012‐9404
CLYDE M DRAKE                                    93 NEWMAN STREET                                                                               SPRINGVILLE      NY    14141‐1513
CLYDE M JEFFREY & PATRICIA A JEFFERY JT TEN      12400 PINE CONE CIR                                                                            GRASS VALLEY     CA    95945‐8869
CLYDE M KELLY                                    24633 PEMBROOKE DR                                                                             SOUTHFIELD       MI    48034‐3159
CLYDE M KELLY                                    24633 PEMBROOKE DR                                                                             SOUTHFIELD       MI    48034‐3159
CLYDE M METZLER                                  1100 PRICETOWN ROAD                                                                            DIAMOND          OH    44412
CLYDE M SHAFFER                                  238 W RIVERSIDE DR                                                                             IONIA            MI    48846‐9468
CLYDE MADKIN                                     349 TAHITIAN CIRCLE                                                                            UNION CITY       CA    94587‐4213
CLYDE MAYNARD                                    293 TOWNSHIP RD 1345                                                                           SOUTH POINT      OH    45680‐7244
CLYDE MCCOY JR                                   7722 LUCERNE DR # 36                                                                           MIDDLEBURG       OH    44130‐6581
                                                                                                                                                HEIGHTS
CLYDE MCCRAY                                     128 ELM ST                                                                                     PONTIAC          MI    48341‐3005
CLYDE MORGAN                                     154 VALLEYBROOK CIR                                                                            HIXSON           TN    37343‐3022
CLYDE MULLINS                                    280 HIDDEN BROOK DR                                                                            SWEETWATER       TN    37874‐5817
CLYDE N BELL                                     21 S NEW RD                                                                                    MIDDLETOWN       DE    19709‐9143
CLYDE N BLUST & AMELIA BLUST JT TEN              252 HORIZON DRIVE                                                                              WHITE LAKE       MI    48386‐2434
CLYDE N LEWIS                                    11603 HACKETT                                                                                  INDEPENDENCE     MO    64054‐1325
CLYDE O BAILEY                                   496 BURNT HICKORY RD                                                                           DOUGLASVILLE     GA    30134‐4100
CLYDE O CARTER                                   11776 SE 72ND TERRACE ROAD                                                                     BELLEVIEW        FL    34420‐4654
CLYDE O WEBSTER JR                               269 WEST CREST DR                                                                              READING          OH    45215‐3521
CLYDE PERRY                                      3452 MILLSBORO W ROAD                                                                          MANSFIELD        OH    44903‐8646
CLYDE PETERSON                                   13 N TRIBBIT AVE                                                                               BEAR             DE    19701‐3094
CLYDE PRESTON FRANKLIN                           33 FRANKLIN LANE                                                                               MONROE           TN    38573
CLYDE PRUITT JR                                  6372 IDA STREET                                                                                INDIANAPOLIS     IN    46241‐1019
CLYDE R ANDERSON                                 1897 PHELPS ROAD                                                                               LAKE CITY        MI    49651‐9527
CLYDE R BRANT                                    G1046 S CORNELL                                                                                FLINT            MI    48505
CLYDE R FISCHER                                  1030 SAUK LN                                                                                   SAGINAW          MI    48603‐5529
CLYDE R FISCHER & DIANE M FISCHER JT TEN         1030 SAUK LANE                                                                                 SAGINAW          MI    48603‐5529
CLYDE R GREEN                                    BOX 177                                                                                        PALO PINTO       TX    76484‐0177
CLYDE R HAGGARD                                  6970 WONDER WAY                                                                                TIPP CITY        OH    45371‐8784
CLYDE R HOAGLAND                                 1613 MAPLE DR                                                                                  LORAIN           OH    44052‐2845
CLYDE R HOWSE & BARBARA J HOWSE JT TEN           32 DOCKSIDE COURT                                                                              CROSSVILLE       TN    38558‐8893
CLYDE R JUDKINS                                  2559 W EOLA DRIVE                                                                              ANAHEIM          CA    92804‐4059
CLYDE R JUDKINS & EILEEN S JUDKINS JT TEN        2559 EOLA DR                                                                                   ANAHEIM          CA    92804‐4059
CLYDE R MILLER                                   3657 SHROYER ROAD                                                                              KETTERING        OH    45429‐2733
CLYDE R MONEY                                    G3362 HOGARTH AVE                                                                              FLINT            MI    48532‐4811
CLYDE R REAVES JR                                BOX 308                                                                                        MOUNT OLIVE      NC    28365‐0308
CLYDE R ROGERS                                   PO BOX 461                                                                                     WELLINGTON       MO    64097‐0461
CLYDE R STONER                                   3275 NW 44TH CT                                                                                OCALA            FL    34482‐8340
CLYDE R WEBB & MRS MAXINE E WEBB JT TEN          1147 KETTERING                                                                                 BURTON           MI    48509‐2369
CLYDE RICHARDS                                   17515 KINZIE ST                                                                                NORTHRIDGE       CA    91325‐1816
CLYDE ROBERTSON                                  9089 TELEGRAPH RD                                                                              TEMPERANCE       MI    48182‐9524
CLYDE ROWE                                       707 E 42ND ST                                                                                  BROOKLYN         NY    11203‐6502
CLYDE S GEROME                                   3055 E BRIGHTON CIRCLE                                                                         SALT LAKE CITY   UT    84121‐5311
CLYDE S MIYASHIRO & YOLANDA J MIYASHIRO JT TEN   94‐583 KIPOU ST                                                                                WAIPAHU          HI    96797‐1335

CLYDE S NELLIS                                   12172 SEYMOUR ROAD                                                                             MONTROSE         MI    48457‐9783
CLYDE S SCHAFFER & SANDRA A SCHAFFER JT TEN      21 ELDERBERRY LANE                                                                             VALLEY STREAM    NY    11581‐1738
CLYDE SALSER & FLOSSIE D SALSER JT TEN           3007 PALMARIE DR                                                                               POLAND           OH    44514‐2104
CLYDE SALSER JR                                  3007 PALMARIE DRIVE                                                                            POLAND           OH    44514‐2104
CLYDE SCOTT MILLER                               620 SOUTH ST                                                                                   BERLIN           PA    15530‐1320
CLYDE SERGENT SR                                 6101 ARBELA RD RT 1                                                                            MILLINGTON       MI    48746‐9717
CLYDE SHEPHERD                                   530 N 73RD ST                                                                                  LINCOLN          NE    68505‐2503
CLYDE SHEPPARD                                   832 N 9TH ST                                                                                   SAINT CLAIR      MI    48079‐4855
CLYDE STANTON STEWART & ILENE SUE STEWART JT     2203 COPELAND WAY                                                                              CHAPEL HILL      NC    27517‐9492
TEN
CLYDE T CLARK                                    7261 SENECA RD RD#1                                                                            SHARPSVILLE      PA    16150‐8420
CLYDE T GOURLEY                                  2607 N 24TH ST                                                                                 OZAK             MO    65721‐5990
CLYDE T JOHNSON                                  C/O JEANNA M JOHNSON                  380 ROCKY SPRINGS                                        BLACKLICK        OH    43004
                                            09-50026-mg                 Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 846 of 850
Name                                              Address1                             Address2                   Address3    Address4          City            State Zip

CLYDE T LOY                                       12047 W 179TH ST                                                                              MOKENA          IL    60448‐9593
CLYDE T MILLER                                    103 LASALLE ST #1                                                                             MANSFIELD       OH    44906‐2429
CLYDE T TUCK                                      222 TONAWANDA CIR                                                                             MADISONVILLE    TN    37354‐5129
CLYDE TELLIER                                     34 LESTER RD                                                                                  PHELPS          NY    14532‐9771
CLYDE THOMAS GILLIAM                              3806 MIDDLEWAY DR                                                                             ANDERSON        IN    46012‐9457
CLYDE TURNER                                      6222 SWOPE PKWY                                                                               KANSAS CITY     MO    64130‐4447
CLYDE V SPEARS & DORIS E SPEARS JT TEN            1801 WESTLEA DR                                                                               MARION          IN    46952‐2407
CLYDE V STURGEON TR CLYDE V STURGEON LIVING       1540 ST DENIS                                                                                 FLORISSANT      MO    63033‐3308
TRUST UA08/15/89
CLYDE VAIL                                        4169 COUNTY RD 1400                                                                           COFFEYVILLE     KS    67337
CLYDE VANCE & BETTY J VANCE TR THE VANCE FAMILY   915 E LINDEN AVENUE                                                                           MIAMISBURG      OH    45342‐2455
TRUST UA 2/26/03
CLYDE VANKLAVEREN & DOROTHY VANKLAVEREN JT        509 6TH AVE W                                                                                 OSKALOOSA       IA    52577‐3733
TEN
CLYDE W BROCK                                     1029 S E 2ND                                                                                  GRAND PRAIRIE   TX    75051‐3214
CLYDE W DAWSON & MRS RUTH N DAWSON JT TEN         6520 E 9TH ST                                                                                 WICHITA         KS    67206

CLYDE W FLOYD                                     2531 BUCHANAN HWY                                                                             DALLAS          GA    30157
CLYDE W HOPKINS                                   680 CAMERON AVE                                                                               PONTIAC         MI    48340
CLYDE W KLAUKA                                    3521 N LAPEER RD                                                                              LAPEER          MI    48446‐8639
CLYDE W LARKINS                                   3440 COLLEGE AVE                                                                              KANSAS CITY     MO    64128‐2052
CLYDE W MCNARY & CARRIE I MCNARY JT TEN           16719 RAGSDALE RD                                                                             KARNEY          MO    64060‐9351
CLYDE W RAINS                                     43632 APPOMATTOX CT                                                                           CANTON          MI    48188‐1707
CLYDE W RICKS                                     10039 FM 2621                                                                                 BRENHAM         TX    77833‐0181
CLYDE W SHEPHERD                                  8633 ORMES RD                                                                                 VASSAR          MI    48768‐9635
CLYDE W VAUGHN                                    5380 E HIGHWAY 199                                                                            SPRINGTOWN      TX    76082‐7360
CLYDE W WILLEY                                    64 EAST 13TH S                                                                                BOUNTIFUL       UT    84010‐5110
CLYDE WARNER DUSENBURY & HELEN L DUSENBURY JT     512 E MC GEE                                                                                  SPRINGFIELD     MO    65807‐2827
TEN
CLYDE WAYNE JOYNER                                7632 BERRYWOOD CIR                                                                            HUNTERSVILLE    NC    28078‐6311
CLYDE WEBBER                                      1904 RAY AVE                                                                                  BOSSIER CITY    LA    71112‐4138
CLYDE WEBBER & REGETTA WEBBER JT TEN              1904 RAY AVE                                                                                  BOSSIER CITY    LA    71112‐4138
CLYDEAN HOFFMAN                                   6509 LEESIDE ISLE                                                                             HUDSON          FL    34667‐1904
CLYDELL MC KENNEY                                 3156 MARTHAROSE CT                                                                            FLINT           MI    48504‐1234
CLYNIECE L WATSON                                 1461 E 56TH ST                       2ND FLOOR                                                CHICAGO         IL    60637‐1865
CLYTEE R PATTERSON & JAMES T PATTERSON & GARY S   8716 FARMINGTON DR                                                                            KNOXVILLE       TN    37923‐1633
PATTERSON JT TEN
CNM PLUMBING & HEATING                            PO BOX 829                                                                                    DOUGLAS         WY    82633‐0829
CO'ORDINATION GROUP PENSION U‐A DTD 12‐31‐80      C/O JACK FISHER                      1440 N LAKE SHORE DR 22A                                 CHICAGO         IL    60610‐5918

COATIS ANDERSON                                   2940 S OUTER DR                                                                               SAGINAW         MI    48601‐6988
COBURN A NEASON                                   8834 LITTLEFIELD                                                                              DETROIT         MI    48228‐2546
COBY DENTON                                       14202 VANOWEN ST                                                                              VAN NUYS        CA    91405
COBY N M HAGEMAN                                  2313 WINDEMERE                                                                                FLINT           MI    48503‐2219
COBY S ALBONE                                     121 ROSELAND AVE                                                                              MEDINA          NY    14103‐1331
CODY GLASBRENNER                                  930 ARCHWOOD AVE                                                                              LORIAN          OH    44052‐1247
CODY GRABENHORST                                  4336 CAMELLIA DR S                                                                            SALEM           OR    97302‐2712
CODY J BUOB                                       2887 GOODWIN SCHOOLHSE                                                                        BETHEL          OH    45106‐9420
CODY L BAILEY                                     PO BOX 1044                                                                                   FORT PIERCE     FL    34954‐1044
CODY R SCHRADER                                   1025 WAGON TRAIL LN                                                                           WASHINGTON      OK    73093‐9153
CODY RYAN WASHINSKI                               57848 EMERALD                                                                                 WASHINGTON      MI    48094‐3140
CODY SHORT                                        3800 SW BLVD                                                                                  FORT WORTH      TX    76116
CODY WOHLER                                       P O BOX 1853                                                                                  GLENDORA        CA    91740
COE WEMPLE JOHNSON                                322 COTTAGE GROVE AVE                                                                         ROCKFORD        IL    61103‐4811
COHEN W TURNER                                    364 WINGFOOT STREET                                                                           ROCKMART        GA    30153‐2530
COIA RICE                                         16545 EMERALD AVE                                                                             HARVEY          IL    60426‐6121
COILAH D RICHARDS                                 3308 BOONE AVE SW                                                                             WYOMING         MI    49519‐3212
COLAN P BURNS                                     5472 KASEMEYER                                                                                BAY CITY        MI    48706‐3186
COLAND W LEGRANDE JR                              2105 E BUDER                                                                                  BURTON          MI    48529‐1733
                                            09-50026-mg               Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32                Exhibit E
                                                                                    Part 1 of 8 Pg 847 of 850
Name                                            Address1                             Address2                            Address3      Address4          City            State Zip

COLBERT D THOMPSON                              707 UNION ST                                                                                             FARRELL         PA    16121‐1138
COLBERT S MILLER JR                             7008 SHAFFER RD NW                                                                                       WARREN          OH    44481‐9408
COLBY CRANDALL                                  37 LAUREL LANE                                                                                           SHEFFIELD       MA    01257
COLBY S SHREFFLER                               6336 CREEKVIEW LN                                                                                        FISHERS         IN    46038‐2093
COLBY SAYLOR JR                                 10889 LIMING VAN THOMPSON                                                                                HAMERSVILLE     OH    45130‐9504
COLE A MILLS                                    68 LANGLEY RD                                                                                            KEENE           NH    03431
COLE D LEAVITT                                  4731 S LAKE DR                                                                                           BOYNTON BEACH   FL    33436‐5908
COLE DAWSON HARRIS                              7294 E WOODSAGE LN                                                                                       SCOTTSDALE      AZ    85258‐2075
COLE M KOEPPEN CUST ANN M KOEPPEN UTMA (IA)     4680 MISSION AVE                                                                                         MARION          IA    52302‐6022

COLE THOMAS TROVILION                            R R 1 BOX 193                                                                                           SIMPSON         IL    62985‐9611
COLE WADDELL                                     620 NORTH CATAWBA ST                                                                                    LANCASTER       SC    29720‐2016
COLEEN A BLUE                                    3660 PENNINGTON WA                                                                                      HAMILTON        OH    45011‐8824
COLEEN A MARGETSON & BRENDA N WALTER & RALPH 9254 LENNON RD                                                                                              SWARTZ CREEK    MI    48473‐9781
E MARGETSON JT TEN
COLEEN A PFEUFER TR UA 02/10/05 DONALD L PFEUFER 518 ROCK STREET                                                                                         SAINT MARYS     PA    15857
IRREVOCABLE TRUST
COLEEN A SCHLEGEL                                200 LABIAN ST                                                                                           FLUSHING        MI    48433‐1755
COLEEN A STODDARD                                16022 BEATRICE AVE                                                                                      ALLEN PARK      MI    48101
COLEEN BURUS                                     120 A CARL STREET                                                                                       SAN FRANCISCO   CA    94117‐3906
COLEEN E CHILDRESS                               2316 S W 90TH ST                                                                                        OKLAHOMA CITY   OK    73159‐6802
COLEEN E CORKE                                   14316 W BARRE RD                                                                                        ALBION          NY    14411‐9520
COLEEN EBNER                                     1101 LANDERSET DR                                                                                       HERNDON         VA    20170
COLEEN J HAJEK                                   ATTN COLEEN J STRAUSBAUGH           25130 AU LAC NORTH                                                  CHESTERFIELD    MI    48051‐2429
COLEEN M COURTER                                 14833 INDIGO LAKES CIR                                                                                  NAPLES          FL    34119‐4813
COLEEN M COX EX EST WALDO GARCIA                 1000 CONTINENTALS WAY 10G                                                                               BELMONT         CA    94002
COLEEN M KAYDEN & ROBERT S KAYDEN JT TEN         1109 LETORT ROAD                                                                                        CORESTOGA       PA    17516‐9311
COLEEN N GOOD                                    1827 W ELM TER                                                                                          OLATHE          KS    66061‐3877
COLEEN R HOEKSTRA                                91 OLD COUNTY RD                                                                                        MADISON         ME    04950‐3900
COLEEN R OTT CUST TIFFANY V OTT UTMA NJ          18 PARMLY RD                                                                                            TINTON FALLS    NJ    07724‐2818
COLEMAN A NEWLAND                                901 SAVERIEN DRIVE                                                                                      SACRAMENTO      CA    95864
COLEMAN C MC GRATH & MRS ELEANORA K MC GRATH 230 KEATS CIRCLE                                                                                            PLEASANT HILL   CA    94523‐4132
JT TEN
COLEMAN E SCOUT TOD CHERYL A SCOUT SUBJECT TO 329 OVERHILL ROAD                                                                                          WAYNE           PA    19087‐3254
STA TOD RULES
COLEMAN E SCOUT TOD KATHRYN ACONAWAY SUBJECT 329 OVERHILL ROAD                                                                                           WAYNE           PA    19087‐3254
TO STA TOD RULES
COLEMAN E SCOUT TOD MARY J GAHAGAN SUBJECT TO 329 OVERHILL ROAD                                                                                          WAYNE           PA    19087‐3254
STA TOD RULES
COLEMAN FLINT JR                                 9280 US HWY 87W                                                                                         LA VERNIA       TX    78121‐5811
COLEMAN FLINT JR & BARBARA J FLINT JT TEN        9280 US HWY 87W                                                                                         LAVERNIA        TX    78121‐5811
COLEMAN L JONES                                  106 ERICSON AVE                                                                                         BUFFALO         NY    14215‐3810
COLEMAN M MULLEN                                 411 W 3RD ST                                                                                            ANACONDA        MT    59711‐2115
COLEMAN MARIE MOBLEY NALLEY                      11810 RUE SAINT LAZARE COURT                                                                            TOMBALL         TX    77377‐2611
COLEMAN MEADE                                    7129 CAMDEN AVE                                                                                         CLEVELAND       OH    44102‐5220
COLEMAN O COOPER                                 24201 GARDNER                                                                                           OAK PARK        MI    48237‐1511
COLEMAN W HOWARD JR                              714 S IOWA                                                                                              LA PORTE        TX    77571‐5423
COLERIDGE H BENEDICT JR                          C/O AG EDWARDS & SONS INC           ATTN RALPH GROSSMAN &JAMES BENEDICT PO BOX 1986                     MORRISTOWN      NJ    07962‐1986

COLETTA A LOCANE                                2130 LIBERTY ST                                                                                          TRENTON         NJ    08629‐2021
COLETTA CURRAN                                  N7740 17TH AVE                                                                                           NEW LISBON      WI    53950‐9696
COLETTA E KASZA & PHILLIP J KASZA JT TEN        13910 LEROY AVE                                                                                          CLEVELAND       OH    44135‐1538
COLETTE ANN PIERITZ                             111 CHERRY LN                                                                                            DOYLESTOWN      PA    18901‐3125
COLETTE AURITI                                  17 DOUGHERTY DRIVE                                                                                       LINCOLN         PA    19352‐9308
                                                                                                                                                         UNIVERSITY
COLETTE B DOLAN                                 667 MONTGOMERY AVE                                                                                       JENKINTOWN      PA    19046‐4155
COLETTE BAPST                                   2‐A GULFSTREAM AVE                                                                                       WINFIELD PARK   NJ    07036‐6604
COLETTE BUCKLAND                                7556 E FARMDALE AVE                                                                                      MESA            AZ    85208‐2774
COLETTE C CUTRONE                               1127 STANFORD AVE                                                                                        REDONDO BEACH   CA    90278
                                             09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                        Part 1 of 8 Pg 848 of 850
Name                                              Address1                               Address2             Address3          Address4                 City              State Zip

COLETTE C SLEMP CUST WILLIAM DAVIS SLEMP UTMA     577 LONGTOWN RD                                                                                        LUGOFF            SC    29078‐9740
VA
COLETTE ELIZABETH ELIE                            804 WOOD LN                                                                                            GROSSE POINTE     MI    48236‐1163
                                                                                                                                                         WOOD
COLETTE G WILSON                                  PO BOX 146                                                                                             RINGWOOD          IL    60072‐0146
COLETTE GARDNER TR ILDA T COLITTI REV TRUST UA    106 WOODBROOK DRIVE                                                                                    STAMFORD          CT    06907‐1033
09/23/96
COLETTE J CASTRO                                  336 SUMATRA DRIVE                                                                                      SACRAMENTO        CA    95838‐4830
COLETTE J DETHLEFS & MARK DETHLEFS JT TEN         2532 LINWOOD SW                                                                                        CEDAR RAPIDS      IA    52404‐3551
COLETTE J DICKSON                                 8456 N 51ST ST                                                                                         BROWN BEER        WI    53223‐3002
COLETTE K ESSA & JOHN J ESSA JT TEN               2460 BANDON DR                                                                                         GRAND BLANC       MI    48439‐8152
COLETTE L BERGMAN                                 7 COTTONWOOD AVE                                                                                       CEDAR SPRINGS     MI    49319‐9669
COLETTE L HISHON & STEPHAN M HISHON JT TEN        4720 KIRKGARD TRAIL                                                                                    CHARLOTTE         NC    28269‐8985
COLETTE M DELMONTE                                5119 ARNOLD CT                                                                                         HAMBURG           NY    14075‐3919
COLETTE M DREWYOUR & JULIE A RINEHART JT TEN      1100 GRAYTON RD                                                                                        GROSSE POINTE     MI    48230‐1427
                                                                                                                                                         PARK
COLETTE M PAGNI CUST DAVE JAMES PAGNI UGMA IL     1368 S CORA ST                                                                                         DES PLAINES       IL    60018‐1633

COLETTE R BAYERS & R PATRICK BAYERS JT TEN        10717 S LONG AVE                                                                                       OAK LAWN          IL    60453‐5049
COLETTE REENAN GRDN SCOTT THOMAS REENAN           6336 STIRRUP                                                                                           CINCINNATI        OH    45244‐3923
COLETTE WHITE                                     10535 CAMBRIDGE CRT                                                                                    MONTGOMRY VLG     MD    20886

COLGATE UNIVERSITY ALUMNI CORP                      ATTN RUTHANN S LOVELESS              13 OAK DR                                                       HAMILTON          NY    13346‐1338
COLIN A DONALDSON                                   21 MORELL ST                                                                                         NO WEYMOUTH       MA    02191‐1008
COLIN A KALFAS                                      4000 NORTH PARK ST                                                                                   WESTMONT          IL    60559‐1327
COLIN A OTT                                         23 SNOWBALL CT                                                                                       LIVERMORE         CA    94551‐3971
COLIN ALEXANDER KOOPS                               916 W OAKDALE AVE                    APT 1S                                                          CHICAGO           IL    60657‐5086
COLIN ATACK                                         4907 CROYDON PL                                                                                      NEWARK            CA    94560‐1405
COLIN B STEVENSON                                   3550 CHRISTY WAY WEST                                                                                SAGINAW           MI    48603‐7226
COLIN BOWEN                                         226 KNICKERBOCKER AVE                # 31                                                            BROOKLYN          NY    11237‐2402
COLIN C CORKE                                       13843 ROOT RD                                                                                        ALBION            NY    14411‐9522
COLIN CHARLES SMITH JR CUST COLIN CHARLES SMITH III 10 REGENT DRIVE                                                                                      DANVERS           MA    01923‐1617
UGMA MA
COLIN D MAC ALPINE                                  768 SASHABAW                                                                                         ORTONVILLE        MI    48462
COLIN G ROBINSON                                    3304 NEVADA DR                                                                                       ANDERSON          IN    46012‐5521
COLIN HOLT CUST KIMBERLY D HOLT UGMA NY             106 STAFFORD WAY                                                                                     ROCHESTER         NY    14626‐1653
COLIN I WIGNEY                                      556 HIGH ST                                                                                          WORTHINGTON       OH    43085‐4104
COLIN J KOEPPEN CUST ANN M KOEPPEN UTMA (IA)        4680 MISSION AVE                                                                                     MARION            IA    52302‐6022

COLIN J LYMER                                     1450 SAINT CHARLES ST                                                                                  JASPER            IN    47546‐9213
COLIN J ROWE                                      7913 JENSEN FARM LANE                                                                                  ARLINGTON         WA    98223
COLIN J WEBB                                      9172 CHATWELL CLUB LN APT 12                                                                           DAVISON           MI    48423‐2846
COLIN J WIEST                                     13966 ORCHID ST NW                                                                                     ANDOVER           MN    55304‐7557
COLIN JOSEPH BARLAGE                              2275 CHALET                                                                                            ROCHESTER HILLS   MI    48309‐2050
COLIN K CRADDOCK                                  362 HAWTHORNE ST                                                                                       ELYRIA            OH    44035‐3735
COLIN L CUNNINGHAM & JOLENE D CUNNINGHAM JT       2779 BAILEY LN                                                                                         EUGENE            OR    97401‐5290
TEN
COLIN LEE PENDLETON                               1318 RICHARDSON ST                     VICTORIA BC                            V8S 1P5 CANADA
COLIN LYMER                                       1450 SAINT CHARLES ST                                                                                  JASPER            IN    47546‐9213
COLIN M CLARKE & MRS NORMA M CLARKE JT TEN        218 CHUMA MONKA AVE                                                                                    TRINIDAD          WI    0ZZZZ

COLIN M FORSYTH                                   743 PARKWAY AVE                                                                                        TRENTON           NJ    08618‐2729
COLIN M MCGEE                                     11 FAIRVIEW PL                                                                                         CANISTEO          NY    14823‐1201
COLIN MARSHALL                                    143 E 45TH ST                                                                                          BROOKLYN          NY    11203‐1812
COLIN MICHAEL SERNE                               19682 ALBION RD                                                                                        STRONGVILLE       OH    44136
COLIN NICHOLAS STARR                              324 PLATEAU DR                                                                                         LAFAYETTE         IN    47909‐2373
COLIN O ELLIOT                                    32‐27 82ND STREET                      JACKSON HT                                                      EAST ELMHURST     NY    11370
COLIN P KEARNS                                    1854 HIBISCUS ST                                                                                       SARASOTA          FL    34239‐3834
COLIN P SWINDALE                                  1 SWANBOURNE ROAD                      SHIPTON              WINSLOW BUCKS     MK18 3JJ GREAT BRITAIN
                                               09-50026-mg              Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                      Part 1 of 8 Pg 849 of 850
Name                                             Address1                              Address2               Address3        Address4                 City              State Zip

COLIN R LEWIS                                    LOT 2 662 NEPEAN HWY                  CARRUM VICTORIA 3197   AUST            AUSTRALIA
COLIN R SHURMER MILLBROOK PRVG GRD LTD           162 BROMHAM RD                        BEDFORD                                MK4 04BN GREAT BRITAIN
COLIN R WHITE                                    4580 WEAVER PKWY                                                                                      WARRENVILLE       IL    60555‐3927
COLIN S CRAIG                                    3935 NW 106 DRIVE                                                                                     CORAL SPRINGS     FL    33065‐2339
COLIN SHAW                                       443 WILLOW GROVE CRESCENT SE          CALGARY AB                             T2J 1N5 CANADA
COLIN SHELLEY                                    47 ELGIN CRESCENT                     LONDON                                 W11 2JD GREAT BRITAIN
COLIN T CORDELL                                  5151 N CALLE LA CIMA                                                                                  TUCSON            AZ    85718‐5814
COLIN T KRANTZ                                   2605 SUNSET BLVD                                                                                      CEDAR FALLS       IA    50613
COLIN W ROE                                      10386 HOGAN RD                                                                                        SWARTZ CREEK      MI    48473‐9119
COLINA L POOLE JR                                675 SUNRISE COURT N E                                                                                 PALM BAY          FL    32907‐2118
COLLEEN A AMEEL                                  11131 FOLEY ROAD                                                                                      FENTON            MI    48430‐9472
COLLEEN A BROPHY                                 2415 PENNSYLVANIA AVE                                                                                 FLINT             MI    48506‐3844
COLLEEN A COLGAN TR COLLEEN A COLGAN TRUST UA    1568 JEFFORDS ST                                                                                      CLEARWATER        FL    33756‐4409
06/24/96
COLLEEN A CRYSLER                                23820 HEARTWOOD                                                                                       NOVI              MI    48374‐3417
COLLEEN A DUGGAN                                 14002 CENTRALIA                                                                                       DETROIT           MI    48239‐2957
COLLEEN A GIBSON & ROBERT P GIBSON JT TEN        200 MONTMORENCY ROAD                                                                                  ROCHESTER HILLS   MI    48307‐3847
COLLEEN A GRIFFITH                               C/O COLLEEN KOHLER                    1031 FOXWOOD LANE                                               BALTIMORE         MD    21221‐5931
COLLEEN A JOHNSON & THOMAS P JOHNSON JT TEN      10405 COLECHESTER STREET                                                                              FREDERICKSBURG    VA    22408‐9553

COLLEEN A KING                                   1970 LAURIA RD                                                                                        KAWKAWLIN         MI    48631‐9159
COLLEEN A MARTIN & TODD A MARTIN JT TEN          PO BOX 4685                                                                                           PAWLEYS ISL       SC    29585‐8685
COLLEEN A RODRIGUEZ TR COLLEEN A RODRIGUEZ       148 CHERRY STONE DR                                                                                   CANTON            MI    48188
LIVING TRUSTUA 7/11/00
COLLEEN A SCARPELLI                              227 LIGHTHOUSE TER                                                                                    FRANKLIN         TN     37064‐6773
COLLEEN A STRAUSSER                              1385 RIDE LANE                                                                                        COLORADO SPRINGS CO     80916‐2128

COLLEEN A ZEIGIN                                 5945 CREEKSIDE DRIVE                                                                                  TROY              MI    48098‐6123
COLLEEN A ZELLER                                 6575 HAPPY VALLEY RD                                                                                  VERONA            NY    13478‐2509
COLLEEN AMAN CUST BRIDGET K AMAN UTMA AR         999 WATERSIDE DR STE 2100                                                                             NORFOLK           VA    23510‐3336
COLLEEN ANNE MOTT                                6853 KILLARNEY LANE                                                                                   TROY              MI    48098‐2121
COLLEEN ANNE RANNEY                              1205 EVERGREEN AVE                                                                                    PLAINFIELD        NJ    07060‐2617
COLLEEN B CAPPADONA                              1921 CUBA ROAD                                                                                        WILMINGTON        OH    45177‐9768
COLLEEN B DALY                                   357 COMMERCIAL ST                     APT 514                                                         BOSTON            MA    02109‐1238
COLLEEN B MURRAY                                 178 MIDLAND AVE                                                                                       KENMORE           NY    14223‐2539
COLLEEN B SHIPMAN                                920 FERNWOOD RD                                                                                       MOORESTOWN        NJ    08057‐1352
COLLEEN C DUNNE & TIMOTHY R DUNNE JT TEN         2019 ROSALYN CT                                                                                       SUGAR LAND        TX    77478‐4416
COLLEEN C JADER TR UNDER SELF‐DECLARATION OF     4404 VERMONT                                                                                          KANSAS CITY       MO    64133‐1958
TRUST 12/18/92
COLLEEN C MC CALL                                902 JAMES BLVD                                                                                        SIGNAL MOUNTAIN TN      37377‐2410

COLLEEN C MORRISON CUST CAMERON KELLEY           141 N COBBLE HILL RD                                                                                  WARWICK           RI    02886
MORRISON UTMA RI
COLLEEN C PERANTEAU & MICHAEL J PERANTEAU JT TEN 15 CHARLES AVE                                                                                        EGG HARBOR CY     NJ    08215

COLLEEN C WOROPAY CUST DUSTYN WARD WOROPAY       452 BERESFORD AVE                                                                                     REDWOOD CITY      CA    94061‐4203
UTMA CA
COLLEEN CARDELLINI WOROPAY CUST STEPHANIE        452 BERESFORD AVE                                                                                     REDWOOD CITY      CA    94061‐4203
LORRAINE WOROPAY UTMA CA
COLLEEN COANDLE                                  61 WARNER RD                                                                                          HUBBARD           OH    44425‐3333
COLLEEN COLE                                     74 TUDOR PL                                                                                           KENILWORTH        IL    60043‐1225
COLLEEN COLLINS TR COLLEEN COLLINS REVOCABLE     130 DUSTY LANE                                                                                        BUTLER            PA    16002‐3730
LIVING TRUST UA 03/31/05
COLLEEN COONEY HATTON                            2545 TABOR ST                                                                                         LAKEWOOD          CO    80215‐1165
COLLEEN D CURTIS                                 25720 KINYON ST                                                                                       TAYLOR            MI    48180‐3281
COLLEEN D GREENE                                 6622 RIVER RD                                                                                         FLUSHING          MI    48433‐2512
COLLEEN D KOSMAL                                 18939 RIVER WAY COURT                                                                                 MT CLEMONS        MI    48038‐1389
COLLEEN D RENAUDIN                               2009 RIVER ROAD                                                                                       NINE MILE POINT   LA    70094‐3031
COLLEEN D ROSE                                   8020 LESOURDESVILLE WEST              CHESTER RD                                                      WEST CHESTER      OH    45069‐1938
                                              09-50026-mg                  Doc 7123-43    Filed 09/24/10 Entered 09/24/10 15:05:32     Exhibit E
                                                                                         Part 1 of 8 Pg 850 of 850
Name                                               Address1                               Address2             Address3          Address4          City             State Zip

COLLEEN DOWLING                                    622 W OLIVE ST                                                                                  LONG BEACH       NY    11561‐2916
COLLEEN DOWNEY                                     1511 WALNUT ST NE                                                                               GRAND RAPIDS     MI    49503‐1360
COLLEEN E COLBERT                                  84 HARMON ST                                                                                    JERSEY CITY      NJ    07304‐2817
COLLEEN E MESSANA TOD CHRISTOPHER MESSANA          7537 CAMERON CIRCLE                                                                             FORT MYERS       FL    33912‐5664
SUBJECT TO STA TOD RULES
COLLEEN E MESSANA TOD LINDA MESSANA SUBJECT TO     7537 CAMERON CIRCLE                                                                             FORT MYERS       FL    33912‐5664
STA TOD RULES
COLLEEN E QUINN                                    25 TAILOR ST                           MARKHAM ON                             L3P 6M8 CANADA
COLLEEN EATON                                      19 SHANNON DR                                                                                   NOTTINGHAM       NH    03290‐5639
COLLEEN F GODWIN                                   5409 ENDICOTT PLACE                                                                             OVIEDO           FL    32765‐6182
COLLEEN F PUSHIES                                  222 PROSPECT                                                                                    HOWELL           MI    48843‐1435
COLLEEN F THOMPSON                                 6301 WHEATON RD                                                                                 JACKSON          MI    49201‐9221
COLLEEN FINK                                       602 GRAHAM COURT                                                                                LAURENBERG       NC    28352
COLLEEN FORTUNE CUST COLIN RICHARD FORTUNE         6809 HITCHING POST CIRC                                                                         AUSTIN           TX    78749‐2315
UGMA TX
COLLEEN G HORN                                     1818 OAK TREE LN                                                                                ARLINGTON        TX    76013
COLLEEN G WELLS                                    806 JORDAN LAKE ST                                                                              LAKE ODESSA      MI    48849‐1270
COLLEEN GRIFFIN & BYRON R COOK JT TEN              3239 BROAD ST                          APT 2A                                                   DEXTER           MI    48130‐1018
COLLEEN HAYES                                      19233 EASTLAND                                                                                  ROSEVILLE        MI    48066‐4168
COLLEEN HELFER                                     PO BOX 351                                                                                      ROCK HILL        NY    12775‐0351
COLLEEN I JACKSON                                  16755 STATE ROUTE 267                                                                           EAST LIVERPOOL   OH    43920‐3939
COLLEEN J KAMM                                     33016 26 PL SW                                                                                  FEDERAL WAY      WA    98023‐2822
COLLEEN J LEBOLT TR UA 01/07/94 COLLEEN J LEBOLT   2820 E WILDWOOD RD                                                                              SPRINGFIELD      MO    65804‐5241
REVOCABLE TRUST
COLLEEN J MATA                                     5110 BERNEDA DR                                                                                 FLINT            MI    48506‐1588
COLLEEN J NELSON                                   15503 US HWY 12 SW                     PO BOX 76                                                COKATO           MN    55321‐0076
COLLEEN JON MURPHY                                 517 WYCLIFF WAY                                                                                 ALEX             LA    71303‐2943
COLLEEN K DINNING                                  7575 SHARPE RD                                                                                  FOWLERVILLE      MI    48836‐8748
COLLEEN K ERNST CUST MAX ERNST RADL UTMA IA        414 3RD AVENUE                                                                                  IOWA CITY        IA    52245‐4611

COLLEEN K GILES                                    17800 KINROSS                                                                                   BIRMINGHAM       MI    48025‐4141
COLLEEN K GILES TR UNDER AGREEMENT 06/01/73        ATTN GILES & LUCAS PC                  17800 KINROSS                                            BIRMINGHAM       MI    48025‐4141
COLLEEN K GILES TRUST
COLLEEN K KARNEY                                   408 BOBS LN                                                                                     LINCOLN UNIV     PA    19352‐1127
COLLEEN K PATE CUST BENJAMIN A PATE UGMA VA        398 COLONY PLACE                                                                                GAHANNA          OH    43230‐2134

COLLEEN K PERRY                                    26030 SCHRADER ROAD                                                                             STURGIS          MI    49091‐9305
COLLEEN KASTELIC                                   100 CLUB DRIVE                                                                                  FAIRHOPE         AL    36532‐4864
COLLEEN KAY CHARLES                                32380 30 MILE RD                                                                                LENOX            MI    48050‐1803
COLLEEN KAY NAUAVVE READER                         311 E LIBERTY                                                                                   MILFORD          MI    48381‐1952
COLLEEN KELLY                                      408 BOBS LN                                                                                     LINCOLN UNIV     PA    19352‐1127
COLLEEN KLISTER                                    701 ROSEHILL RD                                                                                 KAUKAUNA         WI    54130
COLLEEN KN READER & RUSSELL B READER JT TEN        311 E LIBERTY                                                                                   MILFORD          MI    48381‐1952
COLLEEN L CHRISTIAN                                421 NORTHWOOD DRIVE                                                                             LEBANON          PA    17042‐8969
COLLEEN L MABE                                     250 EAST PORTAGE ST                    BOX 825                                                  PINCKNEY         MI    48169‐0825
COLLEEN L MALONE                                   308 WOODMONT DR                                                                                 CRANBERRY TWP    PA    16066‐2728
COLLEEN L MC CANN                                  1436 HOLLYWOOD                                                                                  DEARBORN         MI    48124
COLLEEN LAMPRON                                    24 HARD HILL RD S                                                                               BETHLEHEM        CT    06751‐1817
COLLEEN LANGEWISCH                                 1158 E 23RD PLACE                                                                               YUMA             AZ    85365
COLLEEN LOUISE MCDONALD                            774 MAZE BLVD 10 PMB 526                                                                        INCLINE VLG      NV    89451
COLLEEN M ABRAHAMS                                 PO BOX 281                                                                                      GRANT            MI    49327‐0281
COLLEEN M BAUER                                    43 CITY LINE                                                                                    PONTIAC          MI    48342‐1108
COLLEEN M BRAINARD                                 20060 E RIVER RD                                                                                GROSSE ILE       MI    48138
COLLEEN M CARROLL                                  38 HURON AVE                                                                                    MOUNT CLEMENS    MI    48043‐1712
COLLEEN M DIETZ                                    PO BOX 312                                                                                      WINTHROP         MN    55396‐0312
COLLEEN M DOBOS TR DOBOS FAMILY REVOCABLE          14016 HERITAGE DR                                                                               RIVERVIEW        MI    48192‐7886
TRUST UA 04/22/97
COLLEEN M DUGAN                                    3165 WESTWOOD DR                                                                                RAVENNA          OH    44266
COLLEEN M DZIAK                                    522 LINDEN AVE                                                                                  EAST AURORA      NY    14052‐2913
